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Name                                     Address1                      Address2                         Address3   Address4               City               State Zip
SABIAS, GERALDINE                        4844 APPLETREE LANE                                                                              BAY CITY            MI 48706‐9262
SABIAS, JEROME J                         6517 S EUCLID RD                                                                                 BAY CITY            MI 48706‐9302
SABIBOB BEHEER B.V. DE HEER DRS. K.D.J.N POSTBUS 613                                                               5340 AP OSS
LEGET                                                                                                              NETHERLANDS
SABIC INNOVATIVE PLASTICS                9930 KINCEY AVE                                                                                  HUNTERSVILLE       NC   28078
SABIC INNOVATIVE PLASTICS                ARJAN GERRITS                 1 PLASTICS AVE                                                     PITTSFIELD         MA   01201‐3662
SABIC POLYMERSHAPES                      4168 COLLECTION CENTER DR                                                                        CHICAGO            IL   60693‐0041
SABICH, JOHN R                           26238 INDIANA AVENUE                                                                             NOVI               MI   48374‐1432
SABIEN AND FRIEND
SABIH NAKARA                             26437 SPICER ST                                                                                  MADISON HTS        MI   48071‐4926
SABIN BLAKE                              222 W 135TH ST APT 1B                                                                            NEW YORK           NY   10030‐2875
SABIN RONALD (457257)                    BARON & BUDD                  3102 OAK LANE AVE , SUITE 1100                                     DALLAS             TX   75219
SABIN, ANGELA M                          8167 TAMI WAY                                                                                    ORLANDO            FL   32822‐2063
SABIN, CHRISTINE W                       10774 BIVENS RD                                                                                  NASHVILLE          MI   49073‐9504
SABIN, DELBERT G                         7124 GRAND BLANC RD                                                                              SWARTZ CREEK       MI   48473‐9401
SABIN, DELBERT G                         7124 GRANDBLANC RD                                                                               SWARTZ CREEK       MI   48473
SABIN, DONALD G                          519 WINNING DR                                                                                   COLUMBIA           TN   38401‐7013
SABIN, DONALD P                          4432 BASS LAKE RD                                                                                HALE               MI   48739‐9309
SABIN, GERALD J                          10774 BIVENS RD                                                                                  NASHVILLE          MI   49073‐9504
SABIN, JIMMY L                           4850 HESS RD                                                                                     VASSAR             MI   48768‐8909
SABIN, KATIE R                           10103 BLACKBERRY CRK                                                                             BURTON             MI   48519‐1951
SABIN, KIRSTEN L                         2635 COOK TRL                                                                                    ORTONVILLE         MI   48462‐9237
SABIN, LARRY D                           12 DEARWESTER DR                                                                                 MORAINE            OH   45439‐1678
SABIN, LINDA L                           2121 E JOHNSON RD                                                                                ITHACA             MI   48847‐9506
SABIN, LINWOOD C                         PO BOX 206                                                                                       MILLERSBURG        MI   49759‐0206
SABIN, MARY LOU                          18148 PORT SALEM DR                                                                              MACOMB             MI   48044‐6115
SABIN, ROBERT E                          7814 JULIE DR                                                                                    PORTAGE            MI   49024‐4920
SABIN, ROBERT JERRY                      10206 MEEKER RD                                                                                  DAYTON             OH   45414‐1222
SABIN, ROBERT JERRY                      10206 MEEKER ROAD                                                                                DAYTON             OH   45414‐1222
SABIN, RONALD                            BARON & BUDD                  3102 OAK LANE AVE, SUITE 1100                                      DALLAS             TX   75219
SABIN, ROY W                             7350 WOODVIEW                 CONDO #3                                                           WESTLAND           MI   48185
SABIN, STEVEN P                          12927 COBBLESTONE DR                                                                             STERLING HEIGHTS   MI   48313‐1158
SABIN, THELMA M                          PO BOX 206                                                                                       MILLERSBURG        MI   49759‐0206
SABIN, THOMAS S                          504 SEQUOIA DR                                                                                   DAVISON            MI   48423‐1960
SABINA AMBERG                            1214 PINEFIELD RD                                                                                NEWARK             DE   19713‐2416
SABINA BLACK                             7323 BROOKWOOD DR UNIT #3                                                                        BROOKFIELD         OH   44403
SABINA G BLACK                           7325 BROOKWOOD DR UNIT #3                                                                        BROOKFIELD         OH   44403‐9721
SABINA GIGLIO                            2842 HIGHLANDS BLVD APT D                                                                        PALM HARBOR        FL   34684‐2519
SABINA HALL                              2604 GRAND AVE                                                                                   MIDDLETOWN         OH   45044‐6044
SABINA JR, JOHN J                        6039 QUAKER LN                                                                                   WASHINGTON         MI   48094‐2869
SABINA MAYER                             371 HILLTOP BLVD                                                                                 CANFIELD           OH   44406‐1267
SABINA STANLEY                           190 SW MANATEE TER                                                                               FORT WHITE         FL   32038‐4774
SABINA WILLIAMS                          3236 HANOVER DR                                                                                  MILFORD            MI   48380‐3235
SABINA ZEZULA                            46749 HOUGHTON DRIVE                                                                             SHELBY TWP         MI   48315‐5263
SABINA, WILLIAM J                        3382 E 200 N                                                                                     MARION             IN   46952‐6719
SABINASH, RALPH                          2828 S 76TH ST                                                                                   WEST ALLIS         WI   53219‐2825
SABINE ANDREA RAPP                       MARCALISTRASSE 24                                                                                KUENZELSAU              74653
SABINE ANDREA RAPP                       MARCALISTRASSE 24             74653 K▄NZELSAU                  GERMANY
SABINE ANDREA RAPP                       MARCALISTRASSE 24             74653 KUENZELSAU                 GERMANY
SABINE BAUMGARTNER                       UNTERSTALL                    ATTENFELDER STR. 18                         BERGHEIM 86673
SABINE EBERT                             PESTALOZZISTRA▀E 34           80333 M▄NCHEN
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Name                          Address1                              Address2                       Address3   Address4                  City            State Zip
SABINE GOTTSCHALK             DOTZHEIMER STR. 178                                                             WIESBADEN D 65197
                                                                                                              GERMANY
SABINE GRUBER                 BEAUCHIEF CLOSE 24
SABINE GUENTHER               C/O AMALIENSTRASSE 11                                                           46446 EMMERICH
                                                                                                              GERMANY
SABINE HUETTEMANN             AN BECKER 40                                                                    SPROCKHOEVEL 45549
                                                                                                              GERMANY
SABINE KARLOFF‐LERCH          ADOLF‐SCHWEER‐STRASSE 7                                                         31655 STADTHAGEN
                                                                                                              GERMANY
SABINE LEHNERT                FRITZ‐BOCKIUS‐STR. 6                  55122 MAINZ
SABINE MACKPRANG              INNOCENTIA STR. 35                                                              20144 HAMBURG
SABINE MARTICKE‐PRIEN         JOSEF‐NEUBERGER‐STR 30                                                          40625 D▄SSELDORF
                                                                                                              GERMANY
SABINE PARISH                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 249                                                         MANY             LA   71449‐0249

SABINE PARISH                 PO BOX 249                            SALES AND USE TAX COMMISSION                                        MANY             LA   71449‐0249

SABINE PARISH                 PO BOX 249                                                                                                MANY             LA   71449‐0249
SABINE PARISH TAX COLLECTOR   PO BOX 1440                                                                                               MANY             LA   71449‐1440
SABINE RIEDELL                MOORKAMPSWEG 21                       25462 RELLINGEN
SABINE RIEDELL                MOORKAMPSWEG 21                                                                 25462 RELLINGEN
                                                                                                              GERMANY
SABINE SCHUST                 MARIENHOEHER WEG 9                                                              BERLIN DE 12105 GERMANY
SABINE VOIT                   HAUPTSTR 132                                                                    97320 MAINSTOCKHELM
                                                                                                              GERMANY
SABINE, KENNETH E             109 E PARK ST                                                                                             PLEASANTON      KS    66075‐4054
SABINE, ROBERT M              2258 E WILLIAMSON ST                                                                                      BURTON          MI    48529‐2449
SABINE, SCOTT                 7227 MOELLER RD LOT 39                                                                                    FORT WAYNE      IN    46806‐1679
SABINO CRUZ                   1624 W NELSON ST                                                                                          CHICAGO         IL    60657‐3027
SABINO J BERARDINO            40 EAST 88TH ST APT 5F                                                                                    NEW YORK        NY    10128‐1176
SABINO, ANNA                  20 AUGUSTA CT                                                                                             TOMS RIVER      NJ    08757
SABINO, DELORES G             100 W CHESTNUT ST APT 2902                                                                                CHICAGO         IL    60610‐3234
SABINS, JOANNA J              PO BOX 893                                                                                                EDGERTON        OH    43517‐0893
SABINS, JOANNA JEAN           PO BOX 893                                                                                                EDGERTON        OH    43517‐0893
SABINS, RONALD W              716 E NORTH ST 298                                                                                        WEST UNITY      OH    43570
SABINS, STEVEN B              633 S WALNUT ST                                                                                           BRYAN           OH    43506‐2148
SABINS, STEVEN F              8548 COUNTY ROAD C                                                                                        BRYAN           OH    43506‐9530
SABINS, STEVEN FRANCIS        8548 COUNTY ROAD C                                                                                        BRYAN           OH    43506‐9530
SABIRAI, CLARA                121 STETSON AVE                                                                                           SWAMPSCOTT      MA    01907
SABISCH JR, JAMES E           406 LYNCH AVE                                                                                             PONTIAC         MI    48342‐1952
SABISCH, BARRY D              2945 N MERIDIAN RD                                                                                        OVID            MI    48866‐9588
SABISCH, LILLIAN J            6861 SOUTH RIDGE ROAD                                                                                     SAULT S MARIE   MI    49783‐8621
SABISCH, WAVA                 1439 LYNN ST                                                                                              OWOSSO          MI    48867‐3337
SABISCH, WAVA                 1439 LYNN                                                                                                 OWOSSO          MI    48867‐3337
SABISCH, WILLIAM F            5461 COLE RD                                                                                              SAGINAW         MI    48601‐9760
SABISKY, EDWARD V             11 CORNWALL GARDENS WALK              LONDON , SW7 4BJ                          LONDON GREAT BRITAIN
SABIT, ALLAN H                15705 MILLAR RD                                                                                           CLINTON TWP     MI    48036‐1620
SABLAK, JEANNETTE L           29154 CAMPBELL DRIVE                                                                                      WARREN          MI    48093‐2466
SABLAK, THOMAS R              769 BROOKFIELD AVE.                                                                                       BOARDMAN        OH    44512‐4102
SABLAN, CARMEN R              12887 PINE MEADOW CT                                                                                      SAN DIEGO       CA    92130‐2438
SABLE CHEVROLET               910 BROWNSVILLE RD                                                                                        PITTSBURGH      PA    15210‐2350
SABLE JOHN                    9380 MOUNT VERNON CIR                                                                                     ALEXANDRIA      VA    22309‐3219
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Name                                    Address1                        Address2                        Address3                Address4                 City              State Zip
SABLE K ALLEN                           703 E SPRINGBORO RD                                                                                              SPRINGBORO         OH 45066
SABLE MOTOR COMPANY INC                 GAITENS TUCCERI & NICHOLAS PC   519 COURT PL                                                                     PITTSBURGH         PA 15219‐2002
SABLE MOTOR COMPANY INC                 SABLE, JACK                     519 COURT PL                                                                     PITTSBURGH         PA 15219‐2002
SABLE MOTOR COMPANY INC                 SABLE, MORRY                    519 COURT PL                                                                     PITTSBURGH         PA 15219‐2002
SABLE MOTOR COMPANY INC                 519 COURT PL                                                                                                     PITTSBURGH         PA 15219‐2002
SABLE, ANNA                             9784 SOUTH WEST 195TH CIRCLE                                                                                     DUNNELLON          FL 34432
SABLE, ANNA                             9784 SW 195TH CIR                                                                                                DUNNELLON          FL 34432‐4138
SABLE, CINDY A                          1726 HELEN ST                                                                                                    GARDEN CITY        MI 48135‐3026
SABLE, CRAIG M                          1063 PADDOCK CT                                                                                                  TROY               MI 48098
SABLE, CYNTHIA                          6609 ASTON LN                                                                                                    BOYNTON BEACH      FL 33437‐3931
SABLE, EDWARD C                         1954 NORTHFIELD AVE NW                                                                                           WARREN             OH 44485‐1733
SABLE, JACK                             GAITENS TUCCERI & NICHOLAS PC   519 COURT PL                                                                     PITTSBURGH         PA 15219‐2002
SABLE, JENNETTA                         13242 ROSSELO AVE                                                                                                WARREN             MI 48088‐3144
SABLE, MORRY                            GAITENS TUCCERI & NICHOLAS PC   519 COURT PL                                                                     PITTSBURGH         PA 15219‐2002
SABLE, STEVE                            10100 SW 188TH CT                                                                                                DUNNELLON          FL 34432‐4483
SABLE, WILMER G                         2251 W AUBURN RD APT 15                                                                                          ROCHESTER HILLS    MI 48309‐3662
SABLOSKY, JOSEPH P                      98 MCKENDREE DR                                                                                                  ROCHESTER          NY 14616‐4153
SABLOSKY, WILLIAM J                     364 SWEET ACRES DR                                                                                               ROCHESTER          NY 14612‐1462
SABLYAR, JACOB P                        770 BRYN MAWR AVE                                                                                                WICKLIFFE          OH 44092‐2143
SABO                                    AV SANTA MARINA 1423 A BRANCA   05036 SAN PAULO                                         BRAZIL
SABO ‐ BRAZIL                           RUA MATTEO FORTE 216 LAPA                                                               SAO PAULO, SP 05038
                                                                                                                                BRAZIL
SABO GEORGE J (ESTATE OF) (458743)  WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                                                  NEW YORK          NY 10038
SABO INDUSTRIA E COMERCIO DE AUTOPE 5820 E NEVADA ST                                                                                                     DETROIT           MI 48234‐2500

SABO INDUSTRIA E COMERCIO DE AUTOPE RUA MATEO FORTE 216                                                                         SAO PAULO, SP 05038
                                                                                                                                BRAZIL
SABO INDUSTRIA E COMERCIO DE AUTOPE RUA MATEO FORTE 216                 LAPA DE BAIXO                                           SAO PAULO SP 05038‐160
                                                                                                                                BRAZIL
SABO INDUSTRIA E COMERCIO LTDA          LUIS MOURAO                     RUE MATTEO FORTE 216 ‐ LAPA                             SAO PAULO, 05038 160
                                                                                                                                BRAZIL
SABO INDUSTRIA E COMERCIO LTDA          RUA MATTEO FORTE 216                                                                    SAO PAULO SP 05038 160
                                                                                                                                BRAZIL
SABO JEFFREY                            612 SURREY RD                                                                                                    CARBONDALE        CO   81623‐1554
SABO JR, LOUIS M                        119 WOOD ACRES DR                                                                                                EAST AMHERST      NY   14051‐1758
SABO JR, STEPHEN H                      PO BOX 334                                                                                                       GOODRICH          MI   48438‐0334
SABO MARY (ESTATE OF) (492667) ‐ SABO   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                                    NORTHFIELD        OH   44067
MARY                                                                    PROFESSIONAL BLDG
SABO PAUL                               SABO, PAUL                      30 E BUTLER AVE                                                                  AMBLER            PA 19002‐4514
SABO PAUL (447465) ‐ SABO PAUL          BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                                    NORTHFIELD        OH 44067
                                                                        PROFESSIONAL BLDG
SABO USA INC                            1001 LINCOLN COUNTY PKWY                                                                                         LINCOLNTON        NC 28092‐6134
SABO USA INC                            44099 PLYMOUTH OAKS BLVD #12                                                                                     PLYMOUTH          MI 48170
SABO USA, INC.                          12613 UNIVERSAL DR                                                                                               TAYLOR            MI 48180‐6842
SABO USA, INC.                          MARCOS SANTANNA X205            SABO LTDA                       12613 UNIVERSAL DRIVE   NEUSS GERMANY
SABO, ALLAN A                           42937 GALAXY DR                                                                                                  ELYRIA            OH   44035‐2032
SABO, ANDREW T                          6106 BELLE ST                                                                                                    JAMESTOWN         PA   16134‐7308
SABO, ANDREW T                          339 E JAMESTOWN RD #407                                                                                          GREENVILLE        PA   16125‐9206
SABO, ANN                               11742 RIVERDALE                                                                                                  REDFORD           MI   48239‐1475
SABO, ANN C                             1507 LAVACA LN                                                                                                   THE VILLAGES      FL   32159‐9106
SABO, ANNA                              27 CARLEE CT APT 7                                                                                               ROCHESTER         NY   14616‐3063
SABO, ANNA                              27 CARLEE CT. APT. 7                                                                                             ROCHESTER         NY   14616‐3063
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Name                      Address1                         Address2               Address3         Address4         City             State Zip
SABO, ANTHONY A           3192 N IRISH RD                                                                           DAVISON           MI 48423‐9582
SABO, ARLENE W            80 WOODLEIGH CT                                                                           YOUNGSTOWN        OH 44511‐1809
SABO, ARNOLD M            49285 FAIRCHILD RD                                                                        MACOMB            MI 48042‐4812
SABO, BEATRICE T          1437 BARTLEY RD                                                                           DAYTON            OH 45414‐3026
SABO, BETTY M             1123 HAVANA ST                                                                            JOHNSTOWN         PA 15904‐1014
SABO, CHARLES E           6520 SAND HILL AVE                                                                        SHREVEPORT        LA 71107‐8108
SABO, CHRISTOPHER A       1854 PARIS AVE                                                                            LINCOLN PARK      MI 48146‐1332
SABO, DAVID J             3421 LEEWOOD DR                                                                           LAKE ORION        MI 48360‐1614
SABO, DENNIS              5880 STANLEY RD                                                                           COLUMBIAVILLE     MI 48421‐8951
SABO, DOROTHY C           8917 LAURENCE AVE                                                                         ALLEN PARK        MI 48101‐1509
SABO, EDWARD A            4751 LIGHTKEEPERS WAY UNIT 16D   LIGHTKEEPERS VILLAGE                                     LITTLE RIVER      SC 29566‐7948
SABO, ELIZABETH           21841 PATRIOT BOULEVARD                                                                   BROWNSTOWN        MI 48193‐7492
SABO, ELMER T             204 GENESEE AVE NE                                                                        WARREN            OH 44483‐5404
SABO, EMMA E              1 BLUEBERRY LN                                                                            OYSTER BAY        NY 11771‐3901
SABO, EMMA E              1 BLUEBERRY LANE                                                                          OYSTER BAY        NY 11771‐3901
SABO, FRANCIS R           16745 BARDBURY AVE                                                                        CLEVELAND         OH 44130‐5336
SABO, FREDERICK W         3028 DUBLIN WAY                                                                           BOSSIER CITY      LA 71111
SABO, FREDERICK WILLIAM   3028 DUBLIN WAY                                                                           BOSSIER CITY      LA 71111
SABO, FRIEDA              4646 CULVER RD                                                                            ALBION            NY 14411‐9421
SABO, FRIEDA              4646 CULVER ROAD                                                                          ALBION            NY 14411‐9421
SABO, GARY L              3714 OUTVILLE RD                                                                          GRANVILLE         OH 43023‐9625
SABO, GARY R              108 HAMMOCK ST                                                                            DAVENPORT         FL 33897‐3622
SABO, GEORGE J            WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                          NEW YORK          NY 10038
SABO, HELEN               332 HEWITT ST                                                                             TRENTON           NJ 08611‐1126
SABO, HELEN               12100 PEET RD                                                                             CHESANING         MI 48616‐9599
SABO, IRENE M             2903 WHISPERING PINES DR                                                                  CANFIELD          OH 44406‐9649
SABO, JAMES               55 CLUBHOUSE DR                                                                           WOODBURY          CT 06798‐3205
SABO, JANICE L            3192 N IRISH RD                                                                           DAVISON           MI 48423‐9582
SABO, JENNIFER M          2963 MALIBU DR SW                                                                         WARREN            OH 44481‐9230
SABO, JIMMIE R            4420 CARMANWOOD DR                                                                        FLINT             MI 48507‐5653
SABO, JIMMY L             4536 MAHONING DR                                                                          NEWTON FALLS      OH 44444‐9755
SABO, JOHN G              400 PLYMOUTH RD APT T6                                                                    PLYMOUTH          MI 48170‐1470
SABO, JOHN L              4760 INDEPENDENCE DR                                                                      CLARKSTON         MI 48346‐3645
SABO, JOHN R              19117 E EAGLENEST DR                                                                      RIO VERDE         AZ 85263‐5212
SABO, JOSEPH              7079 SNOW APPLE DR                                                                        CLARKSTON         MI 48346‐1645
SABO, JOSEPH              2033 EAST RIVER RD               VILLA 22                                                 NEWTON FALLS      OH 44444
SABO, KATHLEEN S          2626 MILLER GRABER RD.                                                                    NEWTON FALLS      OH 44444‐9724
SABO, KEITH M             6480 BEACHDELL DR                                                                         CLEVELAND         OH 44130‐2696
SABO, KEVIN D             6480 BEACHDELL DR                                                                         CLEVELAND         OH 44130‐2696
SABO, KEVIN O             616 WEESNER DR                                                                            PLAINFIELD        IN 46168‐1273
SABO, LAURENCE J          6480 BEACHDELL DR                                                                         CLEVELAND         OH 44130‐2696
SABO, LAWRENCE A          64 LIBERTY WAY                                                                            PALM HARBOR       FL 34684‐1443
SABO, LENA A              2791 MAPLE AVE                                                                            NEWFANE           NY 14108‐1324
SABO, LORRAINE G          1545 E EL RODEO RD LOT 174                                                                FORT MOHAVE       AZ 86426‐8310
SABO, LORRAINE G          1545 EL RODEO RD                 174                                                      FORT MOHAVE       AZ 86426
SABO, LOUIS A             3080 WARREN‐BURTON RD.                                                                    SOUTHINGTON       OH 44470‐9501
SABO, LOUIS A             3080 WARREN BURTON RD                                                                     SOUTHINGTON       OH 44470‐9501
SABO, MARGARET V          2353 OAKGROVE DR                                                                          FENTON            MI 48430
SABO, MARY                24355 SOUTH OXFORD OVAL                                                                   NORTH OLMSTEAD    OH 44070
SABO, MARY E              5533 W BOX R                                                                              TUCSON            AZ 85713
SABO, MARY J              204 LEMONT CT                                                                             FAIRMONT          WV 26554‐4414
SABO, MARYANN M           11166 NICHOLS ROAD                                                                        MONTROSE          MI 48457‐9113
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Name                      Address1                              Address2                       Address3   Address4                 City              State Zip
SABO, MICHAEL C           819 FAIRVIEW ST                                                                                          LAKE ORION         MI 48362‐2335
SABO, NED                 11217 LAKE RD                                                                                            OTISVILLE          MI 48463
SABO, PATRICIA M          31756 WIXSON DRIVE                                                                                       WARREN             MI 48092‐1421
SABO, PATRICK O           1143 SECTION ST                                                                                          PLAINFIELD         IN 46168‐1742
SABO, PAUL                942 EXPRESSVIEW DR                                                                                       MANSFIELD          OH 44905‐1538
SABO, PAUL                KIMMEL & SILVERMAN                    30 E BUTLER AVE                                                    AMBLER             PA 19002‐4514
SABO, PAULA M             915 COLLINS AVE                                                                                          YOUNGSTOWN         OH 44515‐3310
SABO, ROBERT B            20311 E M‐60                                                                                             THREE RIVERS       MI 49093
SABO, ROBERT M            3893 ESTHER LANE                                                                                         HERMITAGE          PA 16148‐3740
SABO, ROBIN T             1266 LAKESIDE DR                                                                                         EAST LANSING       MI 48823‐2427
SABO, ROY L               16250 CHATHAM DR                                                                                         CLINTON TWP        MI 48035‐1118
SABO, ROY N               1807 WATKINS LAKE RD                                                                                     WATERFORD          MI 48328‐1429
SABO, RUSANDA G           4408 W WALTON BLVD                                                                                       WATERFORD          MI 48329‐4073
SABO, SARAH D             3657 RUTH DR                                                                                             BRUNSWICK          OH 44212‐2624
SABO, SHELBI J            PO BOX 3764                                                                                              ALAMOGORDO         NM 88311‐3764
SABO, STEVE W             614 N CANAL ST                                                                                           NEWTON FALLS       OH 44444‐1313
SABO, THOMAS H            1703 TIMBERLINE DR                                                                                       COLUMBIANA         OH 44408‐8450
SABO, TORI L              1312 S SEYMOUR RD                                                                                        FLINT              MI 48532‐5512
SABO, TREVOR N            1051 RALSTON AVE APT A12                                                                                 DEFIANCE           OH 43512‐1374
SABO, TRICIA L            7018 DAVISON RD                                                                                          DAVISON            MI 48423‐2006
SABO, TRICIA LYNN         7018 DAVISON RD                                                                                          DAVISON            MI 48423‐2006
SABO, VIOLA               175 E NAWAKWA RD                                                                                         ROCHESTER HILLS    MI 48307
SABO, VIOLA I             980 WILMINGTON AVE APT 131                                                                               DAYTON             OH 45420‐4600
SABO, VIRGINIA S          8050 E RICHFIELD RD                                                                                      DAVISON            MI 48423‐8586
SABO, VIRGINIA S          8050 RICHFIELD                                                                                           DAVISON            MI 48423‐8586
SABO, WENDI A             201 KING RANCH RD                                                                                        SOUTHLAKE          TX 76092‐2023
SABO, WILLIAM R           266 E COUNTY ROAD 650 N                                                                                  SPRINGPORT         IN 47386‐9519
SABO‐CANERDAY, GLADYS A   2150 N OAK RD HILL                                                                                       DAVISON            MI 48423
SABO/BRAZIL               RUA MATTEO FORTE 216 LAPA                                                       SAO PAULO SP 05038‐160
                                                                                                          BRAZIL
SABO/PLYMOUTH             44099 PLYMOUTH OAKS BLVD STE 112                                                                         PLYMOUTH          MI   48170‐6527
SABO/TAYLOR               12613 UNIVERSAL DR                                                                                       TAYLOR            MI   48180‐6842
SABODOR, BILL A           1446 183RD ST                                                                                            HOMEWOOD          IL   60430‐3443
SABOGAL, RUBEN            4807 RED BIRCH DR                                                                                        ARLINGTON         TX   76018‐5204
SABOL GEORGE P            GOLDBERG PERSKY & WHITE P.C.          1030 FIFTH AVENUE                                                  PITTSBURGH        PA   15219
SABOL GEORGE P (667477)   GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                       PITTSBURGH        PA   15219

SABOL JR, JOHN J          25 SHACKAMAXON DR                                                                                        TRENTON           NJ   08690‐1621
SABOL, AGNES L            17556 SOUTHEAST 121ST CIRCLE                                                                             SUMMERFIELD       FL   34491‐8095
SABOL, CAROL A            625 FRUIT AVE                                                                                            FARRELL           PA   16121‐1949
SABOL, CAROL A            625 FRUIT AVE.                                                                                           FARRELL           PA   16121‐1949
SABOL, DAVID A            16805 MALLET HILL DR                                                                                     LOUISVILLE        KY   40245
SABOL, HELEN B            305 WATSON AVE                                                                                           TRENTON           NJ   08610‐5105
SABOL, JOHN               4733 ROADOAN RD                                                                                          BROOKLYN          OH   44144‐3106
SABOL, JOHN T             4429 SHERATON DR                                                                                         PARMA             OH   44134‐2841
SABOL, JOSEPH J           200 STOOPS DR                         MON VALLEY CARE CENTER         #314                                MONONGAHELA       PA   15063‐3552
SABOL, KEITH A            3047 SEYMOUR LAKE RD                                                                                     OXFORD            MI   48371‐4250
SABOL, MARY F             20 CROTON TERRACE APT 219             TRINITY MANOR                                                      YONKERS           NY   10701‐6053
SABOL, MARY F             406 WALNUT ST APT 219                 TRINITY MANOR                                                      YONKERS           NY   10701‐6552
SABOL, MICHAEL G          20 BUFFALO ST                                                                                            CLARKSTON         MI   48346‐2100
SABOL, STEPHEN            15092 E 12TH AVE                                                                                         AURORA            CO   80011‐7048
SABOL, VALENTINE D        5665 LEETE RD                                                                                            LOCKPORT          NY   14094‐1207
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Name                     Address1                        Address2               Address3        Address4                City            State Zip
SABOLCHY, MARY           714 SLIPPERY ROCK DR                                                                           EDWARDSVILLE      IL 62025‐2695
SABOLIK, ANNE R          17 MCKINLEY AVE                                                                                VALHALLA         NY 10595‐2017
SABOLIK, LORRAINE        8 YOUNGSTOWN CT                                                                                STONY POINT      NY 10980‐3106
SABOLISH, VIRGINIA L     1515 HILLSIDE DR                                                                               FLINT            MI 48532‐2414
SABOO, CLIFFORD          71 N PARK ST                                                                                   CEDAR SPRINGS    MI 49319‐9793
SABOO, MARIE L           229 N MAIN                                                                                     CEDAR SPRINGS    MI 49319‐8041
SABOR, DORIS M           1114 PARK LN                                                                                   SPRING GROVE      IL 60081‐8664
SABORSE, DELORES         422 WILKINSON AVE                                                                              YOUNGSTOWN       OH 44509‐2147
SABOSIK, JANE C          25 RANDOLPH AVE                                                                                OLD BRIDGE       NJ 08857‐1114
SABOSKI, ALBERT E        7500 N BROWN RD                                                                                COLUMBIA CITY    IN 46725‐9542
SABOSKI, ALBERT EDWARD   7500 N BROWN RD                                                                                COLUMBIA CITY    IN 46725‐9542
SABOTA, THOMAS R         145 ACADEMY CT APT 180                                                                         ELYRIA           OH 44035‐8708
SABOTKA, KENNETH R       8619 SWARTZ RIVER DR                                                                           FOWLERVILLE      MI 48836‐9057
SABOTKA, SANDRA M        3975 MONTGOMERY DR                                                                             SHELBY TWP       MI 48316‐3911
SABOURIN DONALD          32666 GLEN ST                                                                                  WESTLAND         MI 48186‐4918
SABOURIN JOHN            313 S JEFFERSON ST              IUE‐CWA LOCAL #798                                             DAYTON           OH 45402‐2701
SABOURIN, ALLEN DAFOE    3916 THENDARA CT                                                                               GLADWIN          MI 48624‐7111
SABOURIN, COLEEN R       91 OLD COUNTY RD                                                                               MADISON          ME 04950‐3900
SABOURIN, CONRADE L      PO BOX 227                                                                                     BIRCH RUN        MI 48415‐0227
SABOURIN, DANIEL A       4675 ORCHARD MANOR BLVD APT 8                                                                  BAY CITY         MI 48706‐2831
SABOURIN, DANIEL ALAN    4675 ORCHARD MANOR BLVD APT 8                                                                  BAY CITY         MI 48706‐2831
SABOURIN, DAVID L        4137 RICHMARK LN                                                                               BAY CITY         MI 48706‐2260
SABOURIN, DONALD J       32666 GLEN ST                                                                                  WESTLAND         MI 48186‐4918
SABOURIN, DONALD J       3510 CHIPPEWASSEE TRL                                                                          MIDLAND          MI 48640‐6416
SABOURIN, GREGORY A      3171 DILLON RD                                                                                 FLUSHING         MI 48433‐9762
SABOURIN, JOHN A         3120 LITTLE YORK RD                                                                            DAYTON           OH 45414‐1790
SABOURIN, JOHN E         2067 JEFFREY DR                                                                                TROY             MI 48085‐3816
SABOURIN, JOHN EDWARD    2067 JEFFREY DR                                                                                TROY             MI 48085‐3816
SABOURIN, KIM ‐          8875 M 50                                                                                      ONSTED           MI 49265‐9552
SABOURIN, LAWRENCE A     31720 AVONDALE ST                                                                              WESTLAND         MI 48186‐4993
SABOURIN, LUC            370 PERRAULT                                                           BLAINVILLE QC J7C 2E4
                                                                                                CANADA
SABOURIN, NICOLE S       3120 LITTLE YORK RD                                                                            DAYTON          OH   45414‐1790
SABOURIN, REBECCA S      3916 THENDARA CT                                                                               GLADWIN         MI   48624‐7111
SABOURIN, RENAE M        8875 M 50                                                                                      ONSTED          MI   49265‐9552
SABOURIN, ROBERT P       1301 EL LOBO WAY                                                                               THE VILLAGES    FL   32159‐8784
SABOURIN, SERGE J        17 LAKS CT                                                                                     SMYRNA          DE   19977‐4852
SABOURIN, TIMOTHY L      4110 LAKEWOOD DR                                                                               WATERFORD       MI   48329‐3845
SABOURIN, TIMOTHY LEE    4110 LAKEWOOD DR                                                                               WATERFORD       MI   48329‐3845
SABOURIN,DONALD J        3510 CHIPPEWASSEE TRL                                                                          MIDLAND         MI   48640‐6416
SABOURINS PHARM          1461 S HURON RD                                                                                KAWKAWLIN       MI   48631
SABOV, MARK K            736 HOLLY RD                                                                                   CADILLAC        MI   49601‐2422
SABOW, ANDREW N          4622 S MICHELLE ST                                                                             SAGINAW         MI   48601‐6631
SABRA A DIDIER           PO BOX 413                                                                                     PLEASANT HILL   OH   45359
SABRANSKY JERRY          626 HOMEWOOD AVE APT 404                                                                       HIGHLAND PARK   IL   60035‐6110
SABRAW, DAVID A          387 SE ANASTASIA ST                                                                            LAKE CITY       FL   32025‐1733
SABRAW, RICHARD J        1501 DOUGLAS DR                                                                                HARRISON        MI   48625‐9146
SABRE EQUIPMENT, INC.    802 PENNSYLVANIA AVE                                                                           CORAOPOLIS      PA   15108‐3912
SABRE EQUIPMENT, INC.    FRANK BELLAY                    802 PENNSYLVANIA AVE                                           CORAOPOLIS      PA   15108‐3912
SABRE EQUIPMENT, INC.
SABRE FREIGHT SYSTEMS    PO BOX 2236                                                                                    SOUTHGATE       MI 48195‐4236
SABRE TOWERS             329 STRATFORD CT                                                                               AURORA          OH 44202‐8562
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SABRE TRANSPORTATION INC      ATTN: ROGER MITCHELL            5656 OPPORTUNITY DR # 121                                           TOLEDO           OH 43612‐2922
SABRE, RUTH A                 APT 101                         8935 SOUTH WOOD CREEK DRIVE                                         OAK CREEK        WI 53154‐8606
SABREE, ABDULLAH N            36 MAPLE AVE                    2ND FLOOR                                                           TRENTON          NJ 08618
SABREE, ABDULLAH N            321 CLEARFIELD AVE APT 3A                                                                           TRENTON          NJ 08618‐5870
SABREE, KARIM H               3554 FAIRLANE DR NW                                                                                 ATLANTA          GA 30331‐1516
SABREE, KARIM HASAIN          3554 FAIRLANE DR NW                                                                                 ATLANTA          GA 30331‐1516
SABREE, MUJADIH S             4963 N 69TH ST                                                                                      MILWAUKEE        WI 53218‐3910
SABRI ALGUR                   300 NE 20TH ST APT 803                                                                              BOCA RATON       FL 33431‐8150
SABRINA A FEHL                611 BILL LINDSEY RD                                                                                 BOWLING GREEN    KY 42101‐0416
SABRINA CARTER                PO BOX 8554                                                                                         PARKVILLE        MD 21234‐0554
SABRINA CLARKE                875 E GRAND BLVD                                                                                    DETROIT          MI 48207‐2551
SABRINA D LIGGINS             5333 MILLWOOD DR                                                                                    FLINT            MI 48504‐1129
SABRINA DAVIS‐JACKSON         2529 SLOAN ST                                                                                       FLINT            MI 48504
SABRINA FEHL                  611 BILL LINDSEY RD                                                                                 BOWLING GREEN    KY 42101‐0416
SABRINA FITTANTE              5121 PINEBROOK CT                                                                                   FLUSHING         MI 48433‐1389
SABRINA FORRER                5510 S WARREN RD                                                                                    WARREN           IN 46792‐9201
SABRINA FRATOCCHI             VIALE URUGUAY 14
SABRINA GARBY                 14125 STRATFORD AVE                                                                                 LATHROP         CA 95330
SABRINA GOBBO                 VIA PORTO 16/A                  35028 PIOVE DI SACCO PD       ITALY
SABRINA GOBBO                 VIA PORTO 16/A                                                            35028 PIOVE DI SACCO PD
                                                                                                        ITALY
SABRINA GROOMS                4121 VILLAGE TRACE BLVD                                                                             INDIANAPOLIS    IN   46254‐6222
SABRINA GROSHEK               50970 PARK PLACE DR                                                                                 NORTHVILLE      MI   48167‐9167
SABRINA HARRIS                G5048 CLIO RD                                                                                       FLINT           MI   48504‐1267
SABRINA HOLMES                1566 EARLHAM DR                                                                                     DAYTON          OH   45406‐4733
SABRINA HUGHES                2124 STATE ST                                                                                       SAGINAW         MI   48602‐5032
SABRINA ISOM                  3700 RUE FORET APT 236                                                                              FLINT           MI   48532‐2856
SABRINA J WILLIAMS            32 HENRY STREET                                                                                     ROCHESTER       NY   14605‐1314
SABRINA JAMES                 1725 COLEMAN AVE                                                                                    LANSING         MI   48910‐1424
SABRINA JONES                 APT 2                           20441 BEACONSFIELD STREET                                           HARPER WOODS    MI   48225‐1371
SABRINA LIGGINS               5333 MILLWOOD DR                                                                                    FLINT           MI   48504‐1129
SABRINA M GROOMS              4121 VILLAGE TRACE BLVD                                                                             INDIANAPOLIS    IN   46254‐6222
SABRINA M SANDERS             1611 W. GRAND AVE.                                                                                  DAYTON          OH   45407‐1839
SABRINA MAREE KELLEY          830 OLD NORSE DRIVE                                                                                 EATON           OH   45320
SABRINA MASON                 7678 FOX HUNT DRIVE                                                                                 OLIVEBRACH      MS   38654
SABRINA MORGAN                6412 ATLAS LAKE ROAD                                                                                GOODRICH        MI   48438‐9785
SABRINA NILAN                 1520 RICHARDSON ROAD                                                                                CRESENT CITY    CA   95531
SABRINA ONEK                  12081 WALNUT HILL DRIVE                                                                             ROCKVILLE       VA   23146
SABRINA RAINEY                9450 OLD LOVELESS VILLE ROAD                                                                        PADUCAH         KY   42001
SABRINA RICHARDSON‐WILLIAMS   247 ABERDEEN CT                                                                                     BELLEVILLE      MI   48111‐4926
SABRINA S BURNEY              2736 DELLA DR                                                                                       DAYTON          OH   45408
SABRINA SCOTT                 PO BOX 9022                     C/O ADAM OPEL R2‐07                                                 WARREN          MI   48090‐9022
SABRINA SMITH                 1523 BOSHER DR                                                                                      CEDAR HILL      TX   75104‐1302
SABRINA SPENCER               PO BOX 172053                                                                                       ARLINGTON       TX   76003‐2053
SABRINA STOCK                 STEINWEG 1                                                                D‐41564 KAARST GERMANY
SABRINA SULLIVAN              232 TANGLEWOOD CT                                                                                   NASHVILLE       TN   37211‐1443
SABRINA WILLS                 66 CRESCENT AVE                                                                                     LAKE ORION      MI   48362‐2328
SABRINSKAS, URSULA            1539 S 50TH AVE                                                                                     CICERO          IL   60804‐1545
SABRIX                        5665 MEADOWS RD STE 350                                                                             LAKE OSWEGO     OR   97035‐2105
SABRIX INC                    5665 MEADOWS RD STE 350                                                                             LAKE OSWEGO     OR   97035‐2105
SABRIX INC
SABRIX INC                    ATTN: CFO                       5665 SOUTHWEST MEADS RD.      SUITE 350                             LAKE OSWEGO     OR 97035
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Name                                  Address1                         Address2                      Address3          Address4              City               State Zip
SABRIX INC                            12647 ALCOSTA BLVD STE 155                                                                             SAN RAMON           CA 94583‐5180
SABRIX, INC.                          ATTN: CFO                        5665 SOUTHWEST MEADS RD.      SUITE 350                               LAKE OSWEGO         OR 97035
SABROFF, RICHARD R                    931 PROSPECT ST                                                                                        LAKE MILLS          WI 53551‐1215
SABROSO, EMILIO                       9671 HAWAIIAN SUMMER ST                                                                                LAS VEGAS           NV 89123‐3951
SABROWSKI, DAVID K                    PO BOX 292114                                                                                          KETTERING           OH 45429‐0114
SABTY, EMILE S                        PO BOX 626                                                                                             ELK RAPIDS          MI 49629‐0626
SABUCCO, CHRISTENA L                  PO BOX 228                                                                                             LENNON              MI 48449‐0228
SABUDA, CHRISTOPHER J                 4127 BLUE HERON DR                                                                                     AUBURN HILLS        MI 48326‐1876
SABUDA, GOLDIE H                      124 E. HENRY                                                                                           RIVER ROUGE         MI 48218‐1632
SABUDA, GOLDIE H                      124 E HENRY ST                                                                                         RIVER ROUGE         MI 48218‐1632
SABUDA, ROSEMARY                      6417 ROBINSROCK LN                                                                                     INDIANAPOLIS        IN 46268‐4063
SABULA, DANIEL                        2460 WINESAP DR                                                                                        BROADVIEW HTS       OH 44147‐3621
SABULEJ, JEROME C                     12342 BUGGY WHIP CT                                                                                    DAVISBURG           MI 48350‐1660
SABUR, IBRAHIM Y                      1017 N CHEVROLET AVE                                                                                   FLINT               MI 48504‐4625
SABYAN AUTOMOTIVE SERVICE AND         34456 97TH STREET P.O. BOX 69                                                    OLIVER BC V0H 1T0
REPAIR                                                                                                                 CANADA
SAC PRIVATE EQUITY INVESTORS LLC      72 CUMMINGS POINT RD                                                                                   STAMFORD           CT   06902‐7912
SACARIAS TORREZ JR                    3009 W VISTA CIRCLE              APT 3009                                                              FORT WORTH         TX   76133
SACARIAS TORREZ JR                    6612 SOUTH FWY APT 21                                                                                  FORT WORTH         TX   76134
SACARIAS TORREZ JR                    3009 W. VISTA CIRCLE #3009                                                                             FORT WORTH         TX   76133
SACCA, DEMETRIO B                     2 PENNSYLVANIA AVE                                                                                     LOCKPORT           NY   14094‐5726
SACCA, FREDERICK J                    60 WHITMAN RD                                                                                          NORTH BRUNSWICK    NJ   08902‐3481
SACCA, MASSIMO                        2 MONTVIEU CT                                                                                          COCKEYSVILLE       MD   21030‐2646
SACCENTE GAETANO J (342391)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA   23510
                                                                       STREET, SUITE 600
SACCENTE, GAETANO J                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA 23510‐2212
                                                                       STREET, SUITE 600
SACCENTE, MARCO V                     157 AMBERGATE CT                                                                                       DEBARY             FL   32713‐4119
SACCHETTI, ANTHONY                    10 DAWNHAVEN DR                                                                                        ROCHESTER          NY   14624‐1653
SACCHETTI, NICOLA                     201 DAHLIA DR                                                                                          MAHOPAC            NY   10541‐3738
SACCHETTI, ROSE M                     22 LINDA AVE                                                                                           WHITE PLAINS       NY   10605
SACCHITELLA SR, PHILIP N              PO BOX 513                                                                                             MENDON             NY   14506‐0513
SACCHITELLA, CAROL                    2855 CHILI AVE                                                                                         ROCHESTER          NY   14624‐4806
SACCO DAWN                            SACCO, DAWN                      MOTORIST INSURANCE GROUP      P.O. BOX 182476                         COLUMBUS           OH   43218
SACCO DOMENICO (ESTATE OF) (639391)   HESSION JAMES                    200 S SAGINAW ST                                                      SAINT CHARLES      MI   48655‐1400

SACCO, ANTHONY H                      960 AMBERLY PL                                                                                         COLUMBUS           OH 43220‐4102
SACCO, DAWN
SACCO, DAWN                           MOTORIST INSURANCE GROUP         PO BOX 182476                                                         COLUMBUS           OH   43218‐2476
SACCO, DOMENICO                       HESSION JAMES                    200 S SAGINAW ST                                                      SAINT CHARLES      MI   48655‐1400
SACCO, FRANK A                        32 SHIRE DR S 32                                                                                       EAST AMHERST       NY   14051
SACCO, JOSEPH C                       5822 6TH AVE                                                                                           BROOKLYN           NY   11220‐3806
SACCO, LISA                           5018 WORTHINGTON WAY                                                                                   FAYETTEVILLE       NY   13066‐8703
SACCO, MARGIE L                       780 MOUNT RD TRLR 6                                                                                    ASTON              PA   19014‐1146
SACCO, MARGIE L                       780 MOUNT RD LOT 6                                                                                     ASTON              PA   19014‐1146
SACCO, MARY J                         C/O JAMES SQUARE NURSING HOME    918 JAMES STREET                                                      SYRACUSE           NY   13203
SACCO, MARY J                         JAMES ST                         918 JAMES STREET                                                      SYRACUSE           NY   13203‐2464
SACCO, RONALD C                       8169 ORCHARDVIEW DR                                                                                    WASHINGTON         MI   48095‐1345
SACCONE, FILOMENA T                   2241 SW 15TH ST UNIT 197                                                                               DEERFIELD BEACH    FL   33442
SACCONE, JOSEPH G                     PO BOX 1381                                                                                            BUFFALO            NY   14205‐1381
SACCONE, JOSEPH P                     657 CINDY LN                                                                                           WEST SENECA        NY   14224‐2404
SACDALAN JR, JUANITO TABLAN           37551 ROSEBUSH ST                                                                                      STERLING HEIGHTS   MI   48310‐3813
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Name                                 Address1                             Address2                       Address3                   Address4                   City              State Zip
SACERIO, TIRSO                       555 MAPLE AVE                                                                                                             ELIZABETH          NJ 07202‐3513
SACH, ESTELLE L                      551 BERRY PATCH LN                                                                                                        WHITE LAKE         MI 48386‐2006
SACHARSKE, VIRGINIA                  3810 VALLEY FORGE DR                                                                                                      STOW               OH 44224‐3324
SACHARSKI, DONALD                    24821 WARRINGTON AVE                                                                                                      EASTPOINTE         MI 48021‐1321
SACHDEV, ANIL K                      2152 BRETTON DR S                                                                                                         ROCHESTER HILLS    MI 48309‐2952
SACHE JR, NORMAN                     PO BOX 104                                                                                                                FORESTVILLE        MI 48434‐0104
SACHELI, LIDIA F                     875 BLOSSOM RD                                                                                                            ROCHESTER          NY 14610‐1910
SACHELI, ROBERT J                    39 SAHARA DR                                                                                                              ROCHESTER          NY 14624‐2252
SACHEN, ANDREW J                     4116 N 110TH ST                                                                                                           KANSAS CITY        KS 66109
SACHET, BRANDO                       114 N 1ST ST                         (REAR)                                                                               JEANNETTE          PA 15644‐3328
SACHEV INC
SACHIDA JHA                          17720 ROLLING WOODS CIR                                                                                                   NORTHVILLE        MI    48168‐1890
SACHIKO MCKENZIE                     4570 SW 166TH COURT RD                                                                                                    OCALA             FL    34481‐8835
SACHIN DAHANUKAR                     5346 BROOKEMONTE CIRCLE              UNIT #355                                                                            ROCHESTER         MI    48306
SACHIRE, NANCY J                     4843 WESTCHESTER DR APT 207                                                                                               AUSTINTOWN        OH    44515‐2558
SACHNOFF & WEAVER LTD ATTORNEYS AT   30 S WACKER DR STE 2900                                                                                                   CHICAGO           IL    60606
LAW
SACHNOFF & WEAVER TRUST ACCT         30 S WACKER DR FL 29                 C/O ED WALSH ESQ                                                                     CHICAGO           IL    60606‐7459
SACHO, STEVEN                        2550 DEVONSHIRE RD                                                                                                        ANN ARBOR         MI    48104‐2708
SACHO,STEVEN                         2550 DEVONSHIRE RD                                                                                                        ANN ARBOR         MI    48104‐2708
SACHS AUTO/TROY                      2107 CROOKS RD                                                                                                            TROY              MI    48084‐5529
SACHS AUTOMOTIVER OF MEXICO          TONY FERRI                           ZF GROUP NORTH AMERICA OPER.   1010‐2 PARQUE INDUSTRIAL   TAEGU KOREA (REP)

SACHS BERMAN SHURE SKLARZ & GALLANT PO BOX 1960                          700 STATE ST                                                                          NEW HAVEN          CT   06509‐1960
PC
SACHS BOGE MEXICO SA DE CV          KM 3.5 CARR EL SALTO‐LA CAPILLA                                                                 EL SALTO JA 45680 MEXICO
SACHS BOGE OF AMERICA               909 CROCKER RD                                                                                                             WESTLAKE          OH 44145‐1030
SACHS CHEVROLET CADILLAC BUICK      NO ADVERSE PARTY
PONTIAC GMC INC JEFF
SACHS ELECTRIC                      STEPHEN O'SHEA                       1572 LARKIN WILLIAMS RD                                                               FENTON            MO    63026‐3009
SACHS ELECTRIC CO                   PO BOX 958890                                                                                                              SAINT LOUIS       MO    63195‐8890
SACHS ELECTRIC COMPANY              POST OFFICE BOX 96                                                                                                         ST. LOUIS         MO    63166
SACHS ELECTRIC COMPANY              (AS CONTRACTOR, DURR SYSTEMS, INC AS SACHS ELECTRIC COMPANY          ATTN: CORPORATE          PO BOX 96                    SAINT LOUIS       MO    63166‐0096
                                    SUBCONTRACTOR)                                                       OFFICER/AUTHORIZED AGENT

SACHS ELECTRIC COMPANY               ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 96                                                                            SAINT LOUIS       MO 63166‐0096
                                     AGENT
SACHS JR, CARL A                     388 DU PAHZE ST                                                                                                           NAPERVILLE        IL    60565‐3048
SACHS MEXICO SA DE CV                PAUL WALTERS                         909 CROCKER RD                 SACHS AUTOMOTIVE                                      WESTLAKE          OH    44145‐1030
SACHS MEXICO SA DE CV                PAUL WALTERS                         SACHS AUTOMOTIVE               909 CROCKER RD                                        WESTLAKE          OH    44145‐1095
SACHS NORTH AMERICA                  909 CROCKER RD                                                                                                            WESTLAKE          OH    44145‐1030
SACHS PROPERTIES INC                 PO BOX 7104                                                                                                               SAINT LOUIS       MO    63177
SACHS WALDMAN PC                     7 W SQUARE LAKE RD                                                                                                        BLOOMFIELD        MI    48302‐0462
SACHS WALDMAN PC &                   JOHN J GRECH & ASSOCIATES            1000 FARMER ST                                                                       DETROIT           MI    48226‐2834
SACHS, ANDREA                        22430 SYLVAN ST                                                                                                           WOODLAND HILLS    CA    91367‐1742
SACHS, DENIS E                       1 BABCOCK DR                                                                                                              NORTHBOROUGH      MA    01532‐1101
SACHS, DONALD J                      PO BOX 117                                                                                                                TOWER             MI    49792‐0117
SACHS, DONALD L                      11558 STATE HIGHWAY M                                                                                                     WRIGHT CITY       MO    63390‐5041
SACHS, DONALD LEE                    11558 STATE HIGHWAY M                                                                                                     WRIGHT CITY       MO    63390‐5041
SACHS, DOROTHY A                     4619 BELDING RD                                                                                                           ONAWAY            MI    49765‐8824
SACHS, EARL                          1075 SMITH ST                                                                                                             ALGONAC           MI    48001‐1291
SACHS, JAMES L                       4934 HIGH MEADOWS TER                                                                                                     RACINE            WI    53406‐2320
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Name                                  Address1                           Address2                          Address3        Address4         City            State Zip
SACHS, KIM C                          1109 16TH ST                                                                                          BAY CITY         MI 48708
SACHS, STELLA P                       7559 HWY HH                                                                                           CATAWISSA        MO 63015
SACHS, STELLA P                       7559 HIGHWAY HH                                                                                       CATAWISSA        MO 63015‐1284
SACHS, THOMAS J                       6176 DEER PARK PASS                                                                                   GRAND BLANC      MI 48439‐9611
SACHS, THOMAS JOHN                    6176 DEER PARK PASS                                                                                   GRAND BLANC      MI 48439‐9611
SACHS, THOMAS N                       12220 RAY RD                                                                                          ORTONVILLE       MI 48462‐8600
SACHS, WALDMAN, P.C.                  7 W SQUARE LAKE RD                                                                                    BLOOMFIELD       MI 48302‐0462
SACHS, WILLIAM H                      8027 GRAY HAVEN RD                                                                                    BALTIMORE        MD 21222‐3447
SACHSE MARIE "DECEASED"               C/O LARRY AND CATHY SACHSE         15 RED MILL CT                                                     SAINT PETERS     MO 63376
SACHSE, BONNIE L                      20008 M‐60 EAST                                                                                       THREE RIVERS     MI 49093
SACHSE, DELLBERTA JEAN                3945 S. ILLINOIS ST                                                                                   MARION           IN 46953‐5159
SACHSE, DELLBERTA JEAN                3945 S ILLINOIS ST                                                                                    MARION           IN 46953‐5159
SACHSE, MARIE "DECEASED" LARRY, CATHY 15 RED MILL CT                                                                                        SAINT PETERS     MO 63376
AND DAVID SACHEE
SACHSE, PAUL W                        55 SUGAR CREEK LN                                                                                     MURRAY          KY   42071‐4805
SACILOWSKI, GENEVIEVE P               APT C24                            413 WEST 11TH STREET                                               ALEXANDRIA      IN   46001‐2829
SACILOWSKI, GENEVIEVE P               413 W 11TH ST APT C24                                                                                 ALEXANDRIA      IN   46001‐2828
SACILOWSKI, GERALD J                  95 SANDY LN                                                                                           CHEEKTOWAGA     NY   14227‐1351
SACILOWSKI, JAMES LEE                 14111 HUNTINGTON STREET                                                                               RIVERVIEW       MI   48193‐7503
SACILOWSKI, MARK G                    297 COLLINS AVE                                                                                       WEST SENECA     NY   14224‐1185
SACILOWSKI, RAYMOND J                 APT C24                            413 WEST 11TH STREET                                               ALEXANDRIA      IN   46001‐2829
SACK ANTHONY VINCENT (510594)         BROOKMAN ROSENBERG BROWN &         17TH FLR, ONE PENN SQUARE WEST,                                    PHILADELPHIA    PA   19102
                                      SANDLER                            30 SOUTH 15TH STREET
SACK GOLDBLATT MITCHELL LLP           ATTN: LOUIS SOKOLOV, HEIDI RUBIN   20 DUNDAS ST W STE 1100         TORONTO ONTARIO   M5G 2G8
SACK JR, BRYAN H                      3306 EUSTON AVE                                                                                       BURTON          MI   48529‐1110
SACK PAUL                             SACK, PAUL                         55 PUBLIC SQ STE 650                                               CLEVELAND       OH   44113‐1909
SACK TERENCE                          64 DORCAR RD                                                                                          NEWTON          MA   02459‐3403
SACK, ANTHONY VINCENT                 BROOKMAN ROSENBERG BROWN &         17TH FLR, ONE PENN SQUARE WEST,                                    PHILADELPHIA    PA   19102
                                      SANDLER                            30 SOUTH 15TH STREET
SACK, ARLENE H                        2414 REID ST                                                                                          FLINT           MI   48503‐3177
SACK, DORIS                           13 HEATHER DALE CHASE              C/O CAROLE A SACK                                                  HENRIETTA       NY   14467‐9550
SACK, HAROLD                          5175 SCENICVUE DR                                                                                     FLINT           MI   48532‐2357
SACK, JOHN J                          5341 LAKEVIEW DR                                                                                      SPRUCE          MI   48762‐9511
SACK, MARTIN K                        8414 FAIRFAX CT                                                                                       DAVISON         MI   48423‐2111
SACK, PAUL                            KAHN & ASSOCIATES                  55 PUBLIC SQ STE 650                                               CLEVELAND       OH   44113‐1909
SACK, RAYMOND C                       434 BUDLONG ST                                                                                        ADRIAN          MI   49221‐1485
SACK, ROGER A                         10374 LENNON RD                                                                                       SWARTZ CREEK    MI   48473‐8507
SACK, ROGER AUGUST                    10374 LENNON RD                                                                                       SWARTZ CREEK    MI   48473‐8507
SACK, RUSSELL M                       4227 HIGH MOUNTAIN DR                                                                                 RALEIGH         NC   27603‐8504
SACK, SUSANA                          20801 DEVONSHIRE STREET            APT 174                                                            CHATSWORTH      CA   91311‐3215
SACKA, DIANE L                        40708 ORANGELAWN AVE                                                                                  PLYMOUTH        MI   48170‐4442
SACKA, DIANE LOUISE                   40708 ORANGELAWN AVE                                                                                  PLYMOUTH        MI   48170‐4442
SACKA, TERRY D                        1 OCEANS WEST BLVD APT 8A4                                                                            DAYTONA BEACH   FL   32118
SACKELA, FRANK F                      5326 S SARATOGA AVE                                                                                   YOUNGSTOWN      OH   44515‐4075
SACKELA, KIRK V                       1863 BEAVER TRL                                                                                       MINERAL RIDGE   OH   44440‐9517
SACKENHEIM, NEAL F                    4534 CAVALIER CT                                                                                      FAIRFIELD       OH   45014‐1020
SACKENHEIM, RALPH                     6610 LAKE DR                                                                                          WEST CHESTER    OH   45069‐3907
SACKENHEIM, STEPHEN V                 2241 BEVINGTON LN                                                                                     HAMILTON        OH   45013‐9350
SACKER, LARRY L                       6180 E 900 S                                                                                          COLUMBIA CITY   IN   46725‐9256
SACKERMAN, LINDA P                    413 CHARDONNAY LN                                                                                     LEWIS CENTER    OH   43035‐9127
SACKETT MARILYN                       6207 REAMER ST                                                                                        HOUSTON         TX   77074‐7545
SACKETT, CAROL A                      98 SABLE RIDGE LN                                                                                     ROCHESTER       NY   14612‐1491
                         09-50026-mg           Doc 7123-35    Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
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Name                     Address1                      Address2                Address3                 Address4              City               State Zip
SACKETT, DEAN C          PO BOX 9022                   C/O APO SINGAPORE                                                      WARREN              MI 48090‐9022
SACKETT, DEAN C          CADBURY SCHWEPPES             600 NORTH BRIDGE ROAD   #18‐01 PARKVIEW SQUARE   SINGAPORE SINGAPORE
                                                                                                        18877
SACKETT, EDWARD J        190 LAKE POINT ROAD                                                                                  FAIR PLAY          SC   29643‐2340
SACKETT, ERNEST G        9446 HAMILL ROAD                                                                                     OTISVILLE          MI   48463‐9785
SACKETT, JOHN H          4829 LYTLE RD                                                                                        WAYNESVILLE        OH   45068
SACKETT, KITTY           6142 AMBERDALE DR                                                                                    YORBA LINDA        CA   92886‐5953
SACKETT, KITTY           6142 AMERDALE DRIVE                                                                                  YORBA LINDA        CA   92886
SACKETT, LAWRENCE E      9446 HAMILL RD                                                                                       OTISVILLE          MI   48463‐9785
SACKETT, LEONARD A       1977 WILTSHIRE RD                                                                                    BERKLEY            MI   48072‐3315
SACKETT, LOUVENIA        1925 E BIRCH RUN RD                                                                                  BURT               MI   48417‐9443
SACKETT, ROBERT L        2363 VILLARET DR SW                                                                                  HUNTSVILLE         AL   35803‐2194
SACKETT, ROBERT W        7661 N DELTA PL                                                                                      MILWAUKEE          WI   53223‐4365
SACKETT, SHELEANE        4805 FAIRPORT RD                                                                                     NEWTON FALLS       OH   44444‐9589
SACKETT, SHELEANE        4805 FAIRPORT                                                                                        NEWTON FALLS       OH   44444‐9589
SACKETT, SUSAN K         1109 HANSBERRY CT                                                                                    ORMOND BEACH       FL   32174‐1014
SACKETT/BENSENVILLE      1033 BRYN MAWR AVE                                                                                   BENSENVILLE        IL   60106‐1244
SACKLE, EDWARD S         7003 NIGHTINGALE ST                                                                                  DEARBORN HTS       MI   48127‐2132
SACKMAN, JOHNNIE J       432 INDIAN RIDGE TRL                                                                                 ROSSFORD           OH   43460‐1356
SACKMAN, JOHNNIE JAMES   432 INDIAN RIDGE TRL                                                                                 ROSSFORD           OH   43460‐1356
SACKMAN, MARTIN B        2093 SNYDER RD                                                                                       BUTLER             OH   44822‐9691
SACKMANN AMANDA          10241 COUNTY ROAD FF                                                                                 MERRILL            WI   54452‐9627
SACKMARY, NICHOLAS J     BLOCHER HOMES                 135 EVANS STREET                                                       WILLIAMSVILLE      NY   14221
SACKNER PROD/STER HT     40573 BRENTWOOD DR                                                                                   STERLING HEIGHTS   MI   48310‐2210
SACKNER PRODUCTS, INC.   ELANIA DILL                   2700 PATTERSON AVE SE                                                  MUNDELEIN          IL
SACKNER PRODUCTS, INC.   ELANIA DILL                   3232 KRAFT AVE SE       STE D                                          GRAND RAPIDS       MI   49512‐2040
SACKNER/ROCHESTER HI     2573 SOUTH ROCHESTER ROAD     SUITE 100                                                              ROCHESTER HILLS    MI   48307
SACKO, LORRAINE          1315 BARTON AVE                                                                                      POINT PLEASANT     NJ   08742
SACKO, LORRAINE A        19955 GREENFIELD RD                                                                                  DETROIT            MI   48235‐1802
SACKOS, MICHEAL S        PO BOX 2525                                                                                          RUSSELL SPRINGS    KY   42642‐2525
SACKRIDER SR, JOHN F     2842 E FOX ST                                                                                        MESA               AZ   85213‐5439
SACKRIDER, CHARLES       7972 WOLVERINE RD                                                                                    WOLVERINE          MI   49799
SACKRIDER, CHARLES W     9028 TRAILS END RD                                                                                   LAKE               MI   48632‐8601
SACKRIDER, DORIS C       412 S LINE ST                                                                                        CHESANING          MI   48616‐1337
SACKRIDER, NEVA B        5774 MAIN BOX 315                                                                                    WOLVERINE          MI   49799‐9747
SACKRISON, ANGELINE      4233 64TH ST SW                                                                                      GRANDVILLE         MI   49418‐9359
SACKS JEWELERS           ATTN: SID SACKS               33 N SAGINAW ST                                                        PONTIAC            MI   48342‐2153
SACKS JOSEPH             67 GREENWICH PL                                                                                      PIKESVILLE         MD   21208‐3745
SACKS SUZANNE            11606 FLINT FOREST LN                                                                                HOUSTON            TX   77024‐5104
SACKS, EDWIN K           327 STAHL AVE                                                                                        CORTLAND           OH   44410‐1139
SACKS, FRED J            44C WAVECREST AVE                                                                                    WINFIELD PARK      NJ   07036‐7553
SACKS, LEWIS M           5120 SHERIDAN AVE SO                                                                                 MINNEAPOLIS        MN   55410
SACKS, MARY P            8396 S 475 W                                                                                         WINAMAC            IN   46996‐8321
SACKSTEDER, LEONARD G    4490 W NATIONAL RD                                                                                   VANDALIA           OH   45377‐9720
SACKUVICH, DELORIS A     159 N WIMBERLY WAY                                                                                   THE WOODLANDS      TX   77385‐3563
SACKUVICH, DELORIS A     159 NORTH WIMBERLY WAY                                                                               THE WOODLANDS      TX   77385
SACO USA, INC.           PRESIDENT                     30100 VAN DYKE                                                         WARREN             MI   48093
SACO, JOHN P             22059 ORCHARD ST                                                                                     WOODHAVEN          MI   48183‐1420
SACOFF, JOANNE
SACRAMENTO A‐1 DOOR                                    4300 JETWAY CT                                                                            CA 95660
SACRAMENTO ARD/CA        220 HARVARD STREET                                                                                   SACRAMENTO         CA 95815
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Name                                 Address1                              Address2                        Address3                  Address4             City               State Zip
SACRAMENTO CARBURETOR & ELECTRIC.    2528 TESLA WAY                                                                                                       SACRAMENTO          CA 95825‐1912

SACRAMENTO CONTROL SYSTEMS INC       11249 SUNCO DR STE 3                                                                                                 RANCHO CORDOVA     CA 95742‐7504
SACRAMENTO COUNTY                    ATTN: ACCOUNTING                      DEPT OF AGRICULTURE/WEIGHTS &   4137 BRANCH CENTER ROAD                        SACRAMENTO         CA 95827
                                                                           MEASURES
SACRAMENTO COUNTY DEPT OF FINANCE    PO BOX 508                                                                                                           SACRAMENTO         CA 95812‐0508

SACRAMENTO COUNTY TAX COLLECTOR      700 H ST STE 1710                                                                                                    SACRAMENTO         CA 95814‐1298

SACRAMENTO COUNTY TAX COLLECTOR      ATTN BANKRUPTCY                       700 H STREET ROOM 1710                                                         SACRAMENTO         CA 95814

SACRAMENTO COUNTY, CALIFORNIA        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 508                     DEPARTMENT OF FINANCE                          SACRAMENTO         CA 95812‐0508

SACRAMENTO COUNTY, CALIFORNIA        PO BOX 508                            DEPARTMENT OF FINANCE                                                          SACRAMENTO         CA 95812‐0508
SACRAMENTO JAGUAR SAAB               2052 FULTON AVE                                                                                                      SACRAMENTO         CA 95825‐1908
SACRAMENTO LONG DISTANCE             RUNNING ASSOCIATION                   120 PONDEROSA CT                                                               FOLSOM             CA 95630‐4835
SACRAMENTO MUNICIPAL COURT           ACCT OF SHERRY JOSHUA
SACRAMENTO MUNICIPAL UTILITY DIST.   P.O.BOX 15830/MS F101                                                                                                SACRAMENTO         CA 95852

SACRAMENTO RHEUMATOL                 107 SCRIPPS DR STE 100                                                                                               SACRAMENTO         CA 95825‐6300
SACRE, BEVERLEY L                    8827 OAK PARK AVE                                                                                                    NORTHRIDGE         CA 91325‐3213
SACRE, CHANTAL                       RUE ALFRED LEROY 55                                                                             B 6001 MARCINELLE
                                                                                                                                     BELGIUM
SACRED HEART MAJOR SEMINARY          BUSINESS OFFICE                       2701 W CHICAGO                                                                 DETROIT            MI 48206‐1704
SACRED HEART UNIVERSITY              5151 PARK AVENUE                                                                                                     FAIRFIELD          CT 06825
SACREMENTO MUNICIPAL UTILITY DIST.   1708 59TH ST, MAIL STOP FC 101                                                                                       SACRAMENTO         CA 95819

SACREY, ALVIN W                      11 KAREN CT                                                                                                          WALNUT CREEK       CA   94598‐4715
SACRIPANTI, LINDA ANN                2004 RIDLEY PARK COURT                                                                                               INDIAN TRAIL       NC   28079‐7100
SACRY, BRENDA K                      PO BOX 568                                                                                                           WHITEHALL          MT   59759‐0568
SACZAWA JR, JOHN S                   102 BRAE CT                                                                                                          MARYVILLE          TN   37801‐1804
SACZYK, CHARLENE                     6347 WILLOW CREEK DR                                                                                                 CANTON             MI   48187‐3366
SAD
SAD, ROBERT J                        24921 CHRISTINA LN                                                                                                   NOVI               MI   48375‐2311
SADA ANDERSON                        1350 APPLE VALLEY DR                                                                                                 O FALLON           MO   63366‐3473
SADA ENGLISH                         1014 SOUTHLAWN AVE                                                                                                   FLINT              MI   48507‐2827
SADA HENRY A                         PO BOCX 475                                                                                                          GETZVILLE          NY   14068‐0475
SADA, BALDEMAR G                     727 W FILMORE AVE                                                                                                    HARLINGEN          TX   78550‐6223
SADA, HERMOSINA                      4308 MACDOUGAL CIR                                                                                                   LANSING            MI   48911‐2529
SADAIRA D REEVES                     2722 CIRCLE DR                                                                                                       FLINT              MI   48507‐1810
SADAIRA REEVES                       2722 CIRCLE DR                                                                                                       FLINT              MI   48507‐1810
SADAJ, ALLAN S                       31673 FLYNN AVE                                                                                                      WARREN             MI   48092‐1623
SADAJ, BRIAN S                       460 N MAIN ST                                                                                                        ROMEO              MI   48065‐4624
SADAKO GEISEL                        5625 COACH DR E APT A                                                                                                KETTERING          OH   45440‐2731
SADALLIA MONTGOMERY                  1518 PEBBLE BEACH DR                                                                                                 PONTIAC            MI   48340‐1366
SADAR JR, ANTON                      31827 CHARDON RD                                                                                                     WILLOUGHBY HILLS   OH   44094‐9149
SADAR, JOSEPH                        905 ROSE BLVD                                                                                                        HIGHLAND HTS       OH   44143‐3229
SADAUSKAS, ALBINAS                   480 SAN NICOLAS WAY                                                                                                  ST AUGUSTINE       FL   32080‐7714
SADAUSKAS, GEORGE A                  3433 GARIANNE DR                                                                                                     DAYTON             OH   45414‐2221
SADAUSKAS, JOHN W                    2004 IROQUOIS TRL                                                                                                    COLUMBUS           IN   47203‐4622
SADAYAPPA, KARTHIKEYAN K             PO BOX 214164                                                                                                        AUBURN HILLS       MI   48321‐4164
SADDINGTON, JOSEPHINE                59261 MOUNTAIN ASH CT                                                                                                WASHINGTON         MI   48094‐3749
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Name                    Address1                                 Address2                       Address3   Address4            City                   State Zip
SADDLEBACK AUTOMOTIVE   27220 LA PAZ RD                                                                                        MISSION VIEJO           CA 92692
SADDLEBACK COLLEGE      28000 MARGUERITE PKWY                                                                                  MISSION VIEJO           CA 92692‐3635
SADDLEBACK PORTABLE     PO BOX 4427                                                                                            SANTA ANA               CA 92702‐4427
SADDLER, BONITA         13115 HIGHBURY VIEW COURT                                                                              HOUSTON                 TX 77047
SADDLER, CARL E         8681 CEDAR CT                                                                                          YPSILANTI               MI 48198‐3206
SADDLER, CHARLES A      5411 N MERRIMAC AVE                                                                                    KANSAS CITY             MO 64151‐3341
SADDLER, FREDDY B       2380 MILLSBORO RD                                                                                      MANSFIELD               OH 44906‐1341
SADDLER, FREDDY BRENT   2380 MILLSBORO RD                                                                                      MANSFIELD               OH 44906‐1341
SADDLER, KEROL          35200 SIMS ST                            APT # 905                                                     WAYNE                   MI 48184
SADDLER, KEROL          35200 SIMS ST APT 905                                                                                  WAYNE                   MI 48184‐1287
SADDLER, ROSCOE         225 CARTER AVE APT 2                                                                                   DEFIANCE                OH 43512
SADDLER, SWANEE         102 HILLCREST DR.                                                                                      WILLIAMSTON             SC 29697‐9455
SADDLER, THOMAS E       216 SCHOOL HOUSE LN                                                                                    CAPE MAY COURT HOUSE    NJ 08210‐3800
SADDLER, WALTER L       1406 ALHI ST                                                                                           WATERFORD               MI 48328‐1508
SADDORIS, AARON P       3740 W TEMPERANCE RD                                                                                   LAMBERTVILLE            MI 48144‐9798
SADDORIS, JOHN F        6902 DEMINGS LAKE RD                                                                                   CLAYTON                 MI 49235‐9627
SADECK CALVIN           6224 CARLETON AVE S                                                                                    SEATTLE                 WA 98108‐2726
SADECKI, DEAN D         12 WALADA AVE                                                                                          PORT MONMOUTH           NJ 07758‐1326
SADECKI, KENNETH M      59 SHORE ACRES AVE                                                                                     NORTH MIDDLETOWN        NJ 07748‐5451
SADEGH                  NO 12‐ BLV. FAKOORY ‐ BLV. HAFTE TEER‐                                                                 MASHHAD                 AK
                        MASHHAD‐IRAN
SADEHVANDI, PARVIZ      3830 N RIVER RD                                                                                        FREELAND               MI 48623‐8846
SADEK MOHAMMED FAHMY    VIA BONCOMPAGNI 6                                                                  187 ROMA RM ITALY
SADEK, BRIAN D          1318 WHITTIER DR                                                                                       CANTON                 MI   48187
SADEK, CAROLINE         214 WEST CHURCH ST.                      APMT 2                                                        LOCK HAVEN             PA   17745‐1259
SADEK, IRENE S          32813 FARGO                                                                                            LIVONIA                MI   48152‐1460
SADEK, IRENE S          32813 FARGO ST                                                                                         LIVONIA                MI   48152‐1460
SADEK, MOHAMAD H        27174 ROCHELLE ST                                                                                      DEARBORN HEIGHTS       MI   48127‐3648
SADEKAR, KISHOR M       35942 FAIR OAKS CT                                                                                     FARMINGTON HILLS       MI   48331‐3118
SADEKAR, VARSHA K       8554 BEECH DR APT E                                                                                    STERLING HEIGHTS       MI   48312‐4735
SADEWATER, COLEEN       8643 16TH AVE                                                                                          KENOSHA                WI   53143‐6405
SADF ASDF               ASDF                                     ASDF                           ASDF       ASDF                ASDF                   AK   60601
SADH, VAIBHAV           20 HILL PARK AVE APT 1D                                                                                GREAT NECK             NY   11021‐3714
SADIA, GONZALO S        5754 S PARKSIDE AVE                                                                                    CHICAGO                IL   60638‐3715
SADICK, NEIL K          33 GRANITE DR                                                                                          PENFIELD               NY   14526‐2851
SADIE ANDERSON          4231 WAYNE AVE                                                                                         KANSAS CITY            MO   64110‐1343
SADIE B POLLARD         3013 CONCORD ST                                                                                        FLINT                  MI   48504‐2923
SADIE BARENDS           2510 APT.C 102                           LAKE MICHIGAN DR. NORTH WEST                                  GRAND RAPIDS           MI   49504

SADIE BARLOW            1904 OLDS CT                                                                                           KOKOMO                 IN   46902‐2529
SADIE BARR              113 W LORADO AVE                                                                                       FLINT                  MI   48505‐2013
SADIE BEST              343 WEINLAND DR                                                                                        NEW CARLISLE           OH   45344‐2828
SADIE BILLINGSLEY       527 N HAGUE AVE                                                                                        COLUMBUS               OH   43204‐3409
SADIE BOND              11685 BURT RD                            C/O THERESA L PAYER                                           BIRCH RUN              MI   48415‐9317
SADIE BULLOCK           PO BOX 211                                                                                             GREEN BANK             WV   24944‐0211
SADIE BURGESS           204 E GRAND                                                                                            HIGHLAND PARK          MI   48203‐3137
SADIE C WILLIAMS        3460 OLIAN AVE NW                                                                                      WARREN                 OH   44485‐1319
SADIE CANNELLA          37 WESTPORT DR                                                                                         TOMS RIVER             NJ   08757‐6300
SADIE CANNON            PO BOX 103                               C/O HELEN S BATES                                             KENTWOOD               LA   70444‐0103
SADIE CARR              750 TOOLE AVE                                                                                          JACKSON                MS   39213‐6933
SADIE CHARLES           6106 W LONDON GROVEPORT RD               LOT B.4                                                       GROVE CITY             OH   43123
SADIE CHESNEY           10646 DUPONT AVE                                                                                       CLEVELAND              OH   44108‐1350
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Name                  Address1                        Address2              Address3         Address4         City              State Zip
SADIE COOK            4109 CLARA PL                                                                           SAINT LOUIS        MO 63115‐1711
SADIE COOMER          9210 W 3RD ST                                                                           DAYTON             OH 45427‐1121
SADIE COSEY           8154 MIDDLEPOINT ST                                                                     DETROIT            MI 48204‐5202
SADIE CRUMP           5805 S MARSH BANK LN APT 201                                                            CLARKSTON          MI 48345‐3092
SADIE CURLEY          828 PINE SHADOWS AVE                                                                    ROCKLEDGE          FL 32955‐3541
SADIE D DAVIS         251 ALAMEDA AVE                                                                         YOUNGSTOWN         OH 44504‐1801
SADIE DA NAVE         49 HEDDEN TER                                                                           NORTH ARLINGTON    NJ 07031‐6108
SADIE DAVIS           251 ALAMEDA AVE                                                                         YOUNGSTOWN         OH 44504‐1801
SADIE DOUGLAS         126 N HOUSTON PIKE                                                                      SOUTH VIENNA       OH 45369‐7753
SADIE E CANNON        PO BOX 103                                                                              KENTWOOD           LA 70444‐0103
SADIE ELLER           224 FEDERAL DR                                                                          ANDERSON           IN 46013‐4706
SADIE ESTEP           2645 DAVENPORT RD                                                                       DULUTH             GA 30096‐4143
SADIE FERRIER         3080 W RIDGEWAY AVE                                                                     FLINT              MI 48504‐6828
SADIE FIUMARA         3720 E LAURITE AVE APT B                                                                FRESNO             CA 93725‐1322
SADIE FOX             12510 VALENCIA DR               C/O GLADYS FOX                                          CLERMONT           FL 34711‐8840
SADIE GANZZERMILLER   143 BAYSCAPE DR                                                                         PERRYVILLE         MD 21903‐2410
SADIE GEARY           306 S MCCARTY ST                                                                        FORTVILLE          IN 46040‐1419
SADIE GLASS           VONNETTA KINNER                 1219 BALTIMORE                                          MIDDLETOWN         OH 45044
SADIE GREEN           4418 HARDING ST                                                                         DETROIT            MI 48214‐1537
SADIE GROCHOLSKI      400 S SHERIDAN ST                                                                       BAY CITY           MI 48708‐7466
SADIE H PARKS         2884 REGAL DR. N.W.                                                                     WARREN             OH 44485‐1244
SADIE HALL            14900 COYLE ST                                                                          DETROIT            MI 48227‐2684
SADIE HARRIS          305 S LESLIE ST                                                                         GOLDSBORO          NC 27530‐5013
SADIE HAYMON          364 GEHRIG CIR                                                                          BOLINGBROOK         IL 60440‐1828
SADIE HEIPLE          142 R UPPER RD                                                                          STOYSTOWN          PA 15563‐8187
SADIE HICKS           12130 E OUTER DR                                                                        DETROIT            MI 48224‐2632
SADIE HILL            2005 MARLINDALE RD                                                                      CLEVELAND HTS      OH 44118‐2512
SADIE HODGE           8249 BEERS RD                                                                           SWARTZ CREEK       MI 48473‐9101
SADIE HOLLOMON        41 BERRY ST                                                                             ROCHESTER          NY 14609‐7119
SADIE HUDSON          2813 STOCKMAN COURT                                                                     LANSING            MI 48906‐2856
SADIE HUGHES          1920 W 22ND ST                                                                          ANDERSON           IN 46016‐3715
SADIE JACKSON         1144 MIAMI ST                                                                           YOUNGSTOWN         OH 44505‐3746
SADIE JOHNSON         415 STEELE ST                                                                           MASON              MI 48854‐1743
SADIE JONES           614 W 34TH ST                                                                           MARION             IN 46953‐4253
SADIE L COSEY         8154 MIDDLEPOINT ST                                                                     DETROIT            MI 48204‐5202
SADIE LOCKETT         PO BOX 249                                                                              WINSTON            GA 30187‐0249
SADIE M CARR          750 TOOLE AVE                                                                           JACKSON            MS 39213‐6933
SADIE M LOCKETT       PO BOX 249                                                                              WINSTON            GA 30187‐0249
SADIE M TAYLOR        16165 HARTWELL ST                                                                       DETROIT            MI 48235‐4237
SADIE M THIELE        932.5 DUBLIN AVENUE                                                                     ENGLEWOOD          OH 45322‐2807
SADIE MADDOX          1138 187TH ST                                                                           HOMEWOOD            IL 60430‐4157
SADIE MAHAR           8889 LOREN RD RR=2                                                                      VASSAR             MI 48768
SADIE MAIDEN          14016 FAUST AVE                                                                         DETROIT            MI 48223‐3540
SADIE MCAFEE          950 MOUNT HEBRON RD                                                                     GREENEVILLE        TN 37743‐4161
SADIE MCAFEE          2908 LAKEHURST ST                                                                       MORAINE            OH 45439‐1407
SADIE MCNEAL          1316 BELLCREEK DR                                                                       FLINT              MI 48505‐2541
SADIE MELSON          4348 DROWFIELD DR                                                                       DAYTON             OH 45426‐1918
SADIE MONACELL        9 NOVA LN                                                                               ROCHESTER          NY 14606‐5827
SADIE MONACELL        9 NOVA LANE                                                                             ROCHESTER          NY 14606‐5827
SADIE MOORE           24605 TEMPLAR AVE                                                                       SOUTHFIELD         MI 48075‐6936
SADIE MOORE           24 REDDER AVE                                                                           DAYTON             OH 45405‐2222
SADIE MORRELL         3620 S WIGGER ST                                                                        MARION             IN 46953‐4834
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Name                      Address1                            Address2                      Address3                    Address4         City                 State Zip
SADIE NAYLOR              132 HAMPSHIRE ROAD                                                                                             WELLESLEY HLS         MA 02481‐2744
SADIE NEVELS              48 CLEARWATER DR                                                                                               WILLINGBORO           NJ 08046‐3519
SADIE PARKHURST           152 FILLMORE ST                                                                                                ROCHESTER             NY 14611‐2514
SADIE PARKS               2884 REGAL DR NW                                                                                               WARREN                OH 44485‐1244
SADIE PERDUE              334 GRANDVIEW AVE                                                                                              MANSFIELD             OH 44903‐4134
SADIE PHILLIPS            3225 HOLIDAY DR APT 6                                                                                          LANSING               MI 48912‐5060
SADIE POLLARD             3013 CONCORD ST                                                                                                FLINT                 MI 48504‐2923
SADIE PRICE               1741 S BEATRICE ST                                                                                             DETROIT               MI 48217‐1626
SADIE REYNOLDS            1575 CLEARVIEW CIR                                                                                             MANSFIELD             OH 44905‐1719
SADIE RIDLEY              518 ROSEMONT DR                                                                                                DECATUR               GA 30032
SADIE RUSSELL             9104 LEAMONT DR                                                                                                SAINT LOUIS           MO 63136‐3952
SADIE SEMBLER             6086 KINGSHIRE RD.                                                                                             GRAND BLANC           MI 48439
SADIE SHAFER              4191 MANCHESTER RD                                                                                             PERRY                 OH 44081‐9647
SADIE SMITH               1147 FAIRFIELD AVE                                                                                             NIAGARA FALLS         NY 14305‐2444
SADIE SMOOT               PO BOX 420469                                                                                                  PONTIAC               MI 48342‐0469
SADIE STAPLETON           2839 OLD YELLOW SPRINGS RD                                                                                     FAIRBORN              OH 45324‐2123
SADIE STIENE N            1355 OHMER AVE APT 7                                                                                           DAYTON                OH 45410‐2829
SADIE SWOOPE              107 RIDGEWOOD BLVD                                                                                             MANSFIELD             OH 44907‐2033
SADIE TAYLOR              16165 HARTWELL ST                                                                                              DETROIT               MI 48235‐4237
SADIE TEAL                521 MOUNT MORIAH RD                                                                                            AUBURN                GA 30011‐2521
SADIE THIELE              932.5 DUBLIN AVENUE                                                                                            ENGLEWOOD             OH 45322
SADIE TORONTO             662 GRANDVILLE AVE SW                                                                                          GRAND RAPIDS          MI 49503‐4952
SADIE TOTH                9111 SHEPARD RD                                                                                                MACEDONIA             OH 44056‐1451
SADIE TURNER              RT 1 BOX 157                                                                                                   CLINCHCO              VA 24226
SADIE TURNER              4656 31ST ST                                                                                                   DETROIT               MI 48210‐2535
SADIE TYLER               5285 FAIRTREE RD                    C/O ALFONZO TYLER                                                          BEDFORD HTS           OH 44146‐1519
SADIE VANCE               637 S 12TH ST                                                                                                  SAGINAW               MI 48601‐1912
SADIE VICKERS BUCK TTEE   SADIE VICKERS BUCK REV LIV TR       U/A 9/3/93                    15393 BELLAMAR CIRCLE APT                    FORT MYERS            FL 33908‐1313
                                                                                            524
SADIE WILLIAMS            8900 CUYAMACA STREET                                                                                           CORONA               CA   92883‐2102
SADIE WILLIAMS            673 RAINBOW DR                                                                                                 SHREVEPORT           LA   71106‐5138
SADIE WILLIAMS            3460 OLIAN AVE NW                                                                                              WARREN               OH   44485‐1319
SADIE WILLIAMS            C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS           OH   44236
SADIKU ANN                APT 522                             2701 WEST BELLFORT STREET                                                  HOUSTON              TX   77054‐5017
SADIO PATTERSON           1018 HAZEL PL                                                                                                  RAHWAY               NJ   07065‐4912
SADIQ HOUGH               4123 NEW RD                                                                                                    AUSTINTOWN           OH   44515‐4630
SADIQ, ABUBKRR I          2010 SIMS PL                                                                                                   S PLAINFIELD         NJ   07080‐2622
SADIQ, LATEEFA H          2508 25TH ST                                                                                                   SAN FRANCISCO        CA   94110‐3513
SADIS KITCHENER           BUCKLEY TOWERS CONDO‐UNIT 415W      1301 NE MIAMI GARDENS DR                                                   N MIAMI BEACH        FL   33179
SADLAK, JUDITH A          133 TECUMSEH ST                                                                                                CLAWSON              MI   48017‐2218
SADLER AMI                SADLER, AMI                         3 TRIAD CTR STE 500                                                        SALT LAKE CITY       UT   84180‐1125
SADLER COLEMAN (409481)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                NORFOLK              VA   23510
                                                              STREET, SUITE 600
SADLER I I I, WILLIAM F   506 FRANKLIN AVE                                                                                               BALTIMORE            MD   21221‐6719
SADLER JAMIE              215 BREAKWATER DR                                                                                              FISHERS              IN   46037‐3679
SADLER JR, JIMMIE         17832 MARX ST                                                                                                  DETROIT              MI   48203‐2418
SADLER MEDICAL GROUP      9100 WILSHIRE BLVD STE 245                                                                                     BEVERLY HILLS        CA   90212‐3439
SADLER MOTORS, INC.       RICKY SADLER                        3055 S MACKINAC TRL                                                        SAULT SAINTE MARIE   MI   49783‐9043
SADLER POWER TRAIN INC.                                       711 W 76TH ST                                                                                   IA   52806
SADLER RONALD R           14291 BOICHOT RD                                                                                               LANSING              MI   48906‐1088
SADLER, ALBERT D          682 LAKEVIEW DR                                                                                                LAKE ODESSA          MI   48849‐1274
SADLER, ALBERT DALE       682 LAKEVIEW DR                                                                                                LAKE ODESSA          MI   48849‐1274
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Name                       Address1                       Address2                      Address3   Address4         City                 State Zip
SADLER, ALBERTENE          902 E PASADENA                                                                           FLINT                 MI 48505‐4245
SADLER, ALICE              2019 BRIAN DR                                                                            KERRVILLE             TX 78028
SADLER, ALICE E            9365 WHITNEY RD                                                                          WILLIAMSBURG          MI 49690‐9766
SADLER, ALICE E            9365 WHITNEY ROAD                                                                        WILLIAMSBURG          MI 49690‐9766
SADLER, AMI                STRONG & HANNI                 3 TRIAD CTR STE 500                                       SALT LAKE CITY        UT 84180‐1125
SADLER, AMI                10274 S TEMPLEVIEW DR                                                                    SOUTH JORDAN          UT 84095
SADLER, ANGELA R           9058 HOBBIT CIR                                                                          KALAMAZOO             MI 49009
SADLER, ANN D              26050 FRANKLIN POINTE DR                                                                 SOUTHFIELD            MI 48034‐1563
SADLER, ARTHUR L           6909 RUBY DR                                                                             DALLAS                TX 75237‐2440
SADLER, BARBARA JEAN       520 BELL MANOR ROAD                                                                      CONOWINGO             MD 21918‐1021
SADLER, BETTY              1310 WEST OLIVER ST #17                                                                  OWOSSO                MI 48867
SADLER, BETTY A            6155 DANA CT                                                                             LITHONIA              GA 30058‐7922
SADLER, BILLY              SHAMAS MITCHELL E              7030 S YALE AVE STE 600                                   TULSA                 OK 74136‐5749
SADLER, CAROLYN A          3504 S WEBSTER ST                                                                        KOKOMO                IN 46902‐3663
SADLER, CHARLES E          3090 PARTRIDGE CT                                                                        LAKE                  MI 48632‐9153
SADLER, CLIFFORD W         5936 LINDEN AVE                                                                          NEWAYGO               MI 49337‐9063
SADLER, CLINTON P          420 BLENHEIM PL                                                                          LANSING               MI 48906‐1536
SADLER, COLEMAN            GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                          STREET, SUITE 600
SADLER, DAVID M            4124 PARTRIDGE LANE                                                                      LEWISTON             MI   49756‐9093
SADLER, DAVID M            127 LITTLE ELK CREEK RD                                                                  ELKTON               MD   21921‐2559
SADLER, DIANA              5246 ROSAMOND LN APT Q‐7                                                                 WATERFORD            MI   48327
SADLER, DIANA              APT 7                          5246 ROSAMOND LANE                                        WATERFORD            MI   48327‐3158
SADLER, DIANNE S           16165 HOEFT                                                                              BELLEVILLE           MI   48111‐4279
SADLER, DIANNE S           16165 HOEFT RD                                                                           BELLEVILLE           MI   48111‐4279
SADLER, DONALD O           10910 HAVERHILL ST                                                                       DETROIT              MI   48224‐2442
SADLER, DOUGLAS D          373 EARL DR NW                                                                           WARREN               OH   44483‐1113
SADLER, ELDRED C           5364 DUNSTER RD                                                                          GRAND BLANC          MI   48439‐9732
SADLER, FRANCES M          5936 LINDEN AVE                                                                          NEWAYGO              MI   49337‐9063
SADLER, GESELLE D          304 SANTA FE TRL                                                                         ARGYLE               TX   76226‐3936
SADLER, GESELLE DEMATTEO   304 SANTA FE TRL                                                                         ARGYLE               TX   76226‐3936
SADLER, GLYN W             9216 SHOSHONE TRL                                                                        FLUSHING             MI   48433‐1038
SADLER, HAZEL I            131 GLENVIEW ST                                                                          UPTON                MA   01568‐1219
SADLER, JAMES J            57 LEATHA'S COURT                                                                        MANCHESTER           TN   37355
SADLER, JAMES R            338 W 4TH ST                                                                             DELPHOS              OH   45833‐1404
SADLER, JERRY R            2761 GAINESBORO GRADE                                                                    COOKEVILLE           TN   38501‐7746
SADLER, JOHN A             2860 TALL PINES WAY                                                                      COMMERCE TWP         MI   48382‐2182
SADLER, JOHN ARTHUR        2860 TALL PINES WAY                                                                      COMMERCE TWP         MI   48382‐2182
SADLER, JOHN I             36767 EAGLETON RD                                                                        LISBON               OH   44432‐8328
SADLER, JOHN M             4095 DREAM ACRE DR                                                                       NORTH BRANCH         MI   48461‐8923
SADLER, JOY E              3305 SMITH ST                                                                            DEARBORN             MI   48124‐4346
SADLER, JUNIOR C           107 NASHUA RD                                                                            LIBERTY              MO   64068‐1217
SADLER, KAREN D            318 WHITE ST                                                                             FLINT                MI   48505‐4130
SADLER, KAREN T            1006 KAREN LN                                                                            WASHINGTON           MO   63090‐4908
SADLER, KENNETH C          625 SW RAND DR                                                                           BURLESON             TX   76028‐4427
SADLER, LEE M              15522 KNOBHILL DR                                                                        LINDEN               MI   48451‐8716
SADLER, LINDA J            6580 MARSHALL RD                                                                         OLIVET               MI   49076‐9445
SADLER, LINDA M            25982 JEANETTE CT                                                                        ROSEVILLE            MI   48066‐3828
SADLER, LORNA I            34 CRESTHILL AVE.                                                                        TONAWANDA            NY   14150‐7108
SADLER, MARGARET E         22518 SHOREVIEW CT                                                                       SAINT CLAIR SHORES   MI   48082‐1420
SADLER, MICHAEL E          LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                   MIAMI                FL   33143‐5163
SADLER, MICHAEL J          574 OVERVIEW LN                                                                          FRANKLIN             TN   37064‐5558
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Name                           Address1                         Address2                        Address3   Address4              City                 State Zip
SADLER, MICHAEL N              15522 KNOBHILL DR                                                                                 LINDEN                MI 48451‐8716
SADLER, MICHAEL R              6128 LOCUST TRL                                                                                   GRAND BLANC           MI 48439‐9034
SADLER, MICHAEL V              22109 FRANCIS ST                                                                                  ST CLAIR SHRS         MI 48082‐1929
SADLER, MIKE                   COLOM LAW FIRM                   605 2ND AVE N                                                    COLUMBUS              MS 39701‐4513
SADLER, MINNIE E               RT71 BOX 265                                                                                      SILVER POINT          TN 38582
SADLER, PATTI A                3504 N W RIVER ROAD                                                                               SANFORD               MI 48657‐9448
SADLER, PATTI A                3504 N WEST RIVER RD                                                                              SANFORD               MI 48657‐9448
SADLER, PAUL W                 6580 MARSHALL RD                                                                                  OLIVET                MI 49076‐9445
SADLER, RALPH D                39644 BYERS DR                                                                                    STERLING HTS          MI 48310‐2618
SADLER, RICHARD A              2655 W WOODLAWN DR                                                                                ANDERSON              IN 46013
SADLER, RICHARD H              2415 OXFORD TRENTON RD                                                                            OXFORD                OH 45056‐9519
SADLER, RICHARD H              304 SANTA FE TRL                                                                                  ARGYLE                TX 76226‐3936
SADLER, RICHARD O              SHANNON LAW FIRM                 100 W GALLATIN ST                                                HAZLEHURST            MS 39083‐3007
SADLER, RICHARD W              6836 E 1416 NORTH RD                                                                              FAIRMOUNT              IL 61841‐6363
SADLER, RIDLEY                 27174 SEYBURN AVE                                                                                 WARREN                MI 48092‐3946
SADLER, ROBERT L               6944 TERRELL ST                                                                                   WATERFORD             MI 48329‐1142
SADLER, ROBERT L               APT 1604                         1155 BRICKELL BAY DRIVE                                          MIAMI                 FL 33131‐3203
SADLER, ROBERT M               4745 ESTERO BLVD APT 303                                                                          FORT MYERS BEACH      FL 33931‐3933
SADLER, RONALD L               7650 HOLCOMB RD                                                                                   CLARKSTON             MI 48348‐4344
SADLER, RONALD R               14291 BOICHOT RD                                                                                  LANSING               MI 48906‐1088
SADLER, RONALD W               21125 PLEASANT VALLEY RD                                                                          HILLMAN               MI 49746‐9086
SADLER, RUTH A.                1189 ALTON AVE                                                                                    FLINT                 MI 48507‐6237
SADLER, SHARON R               4095 DREAM ACRE DR                                                                                NORTH BRANCH          MI 48461‐8923
SADLER, SHERMAN A              1131 HIDDEN HILLS DR                                                                              CORSICANA             TX 75110‐9565
SADLER, THOMAS W               861 W KALAMO HWY                                                                                  CHARLOTTE             MI 48813‐8583
SADLER, TWANA L                12698 BARLOW ST                                                                                   DETROIT               MI 48205‐3302
SADLER, TWANA L                5527 CHALMERS                                                                                     DETROIT               MI 48213
SADLER, VERA                   7735 MINOCK                                                                                       DETROIT               MI 48228‐4515
SADLER, VERA                   7735 MINOCK ST                                                                                    DETROIT               MI 48228‐4515
SADLER, WILLIAM C              512 BELL MANOR RD                                                                                 CONOWINGO             MD 21918‐1021
SADLER‐CRAFT, SHARON C         1715 S AINGER RD                                                                                  CHARLOTTE             MI 48813‐8520
SADLER‐HALE LORETTA (447468)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD            OH 44067
                                                                PROFESSIONAL BLDG
SADLER‐RODENROTH MOTORS        3055 S MACKINAC TRL                                                                               SAULT SAINTE MARIE   MI   49783‐9043
SADLIER, FRANCES E             8025 MAJOR AVE                                                                                    BURBANK              IL   60459‐2024
SADLIER, TERRENCE P            2151 NORMANDY DR                                                                                  TROY                 MI   48085‐1075
SADLIER, TERRENCE PATRICK      2151 NORMANDY DR                                                                                  TROY                 MI   48085‐1075
SADLIK, DANA L                 6451 BELLA VISTA DR NE                                                                            ROCKFORD             MI   49341‐9673
SADLIK, JANA A                 514 SLUNNA                                                                  RICANY U BRNA 664 8
                                                                                                           CZECH REPUBLIC
SADLO, THOMAS G                2746 COVINGTON CT                                                                                 BROADVIEW HEIGHTS    OH   44147‐3696
SADLOWSKI, EDWARD T            106 HUNTING WAY                                                                                   SMYRNA               DE   19977‐9524
SADLOWSKI, MARGARET A          118 JOAN COURT                                                                                    MARYSVILLE           MI   48040‐1378
SADLOWSKI, MARGARET A          118 JOAN CT                                                                                       MARYSVILLE           MI   48040‐1378
SADNAVITCH, FRED A             820 5TH AVE                                                                                       AURORA               IL   60505‐4907
SADO ROBERT (447469)           KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                    CLEVELAND            OH   44114
                                                                BOND COURT BUILDING
SADO, ROBERT                   KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                     CLEVELAND            OH 44114
                                                                BOND COURT BUILDING
SADOCHA, HENRY S               29528 DOVER AVE                                                                                   WARREN               MI 48088‐3603
SADOFSKY, THERESA S            8015 SAGRAMORE RD                                                                                 BALTIMORE            MD 21237‐1657
SADONER HARRIS                 1792 ALDER DR                                                                                     WEST BLOOMFIELD      MI 48324‐4001
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Name                      Address1                         Address2                        Address3                    Address4         City                 State Zip
SADOSKI, ELEANOR V        1 JOSEPH ST                                                                                                   MERIDEN               CT 06451‐2010
SADOSKI, JAN M            3615 OSBORN DR                                                                                                SANDUSKY              OH 44870
SADOUGHI MARZEYH          SADOUGHI, MARZYEH                7825 FAY AVE STE 200                                                         LA JOLLA              CA 92037‐4270
SADOWSKI MARK             SADOWSKI, MARK                   730 WOODCREST DR N                                                           HUDSON                WI 54016‐2300
SADOWSKI MARK             730 WOODCREST DR N                                                                                            HUDSON                WI 54016‐2300
SADOWSKI, ANTHONY F       39320 NORTHAMPTON ST                                                                                          WESTLAND              MI 48186‐3715
SADOWSKI, CARL B          7360 HARTEL ST                                                                                                WESTLAND              MI 48185‐2537
SADOWSKI, CARL BYRON      7360 HARTEL ST                                                                                                WESTLAND              MI 48185‐2537
SADOWSKI, CHESTER J       206 CEDAR AVE                                                                                                 MIDDLESEX             NJ 08846‐2431
SADOWSKI, CHESTER T       22606 DALE ALLEN ST                                                                                           CLINTON TWP           MI 48035‐1806
SADOWSKI, CHRISTOPHER A   5712 SAVOY DR                                                                                                 WATERFORD             MI 48327‐2667
SADOWSKI, DALE T          6354 NEW CASTLE LN                                                                                            RACINE                WI 53402‐1592
SADOWSKI, EVELYN M        5310 COOMER RD                                                                                                WATERFORD             MI 48327‐3020
SADOWSKI, GEORGE I        8 DEE TER                                                                                                     CHEEKTOWAGA           NY 14227‐3502
SADOWSKI, ILENE E         6354 NEW CASTLE LN                                                                                            RACINE                WI 53402‐1592
SADOWSKI, JAMES           14 JUDY DR                                                                                                    HERMINIE              PA 15637‐1606
SADOWSKI, JOSEPHINE Y     56 TIMBERLANE RD                                                                                              HERMINIE              PA 15637‐1019
SADOWSKI, KENNETH H       909 KINGSRIDGE CT                                                                                             WILDWOOD              MO 63021‐2026
SADOWSKI, MARIE E         1515 W BOLIVAR AVE                                                                                            MILWAUKEE             WI 53221‐2329
SADOWSKI, MARY            209 MOUNTAIN AVE                                                                                              SUMMIT                NJ 07901‐3215
SADOWSKI, MARY            4869 BERMUDA WAY N.                                                                                           MYRTLE BEACH          SC 29577‐5430
SADOWSKI, MICHAEL J       2071 REAGAN DRIVE                                                                                             ROCHESTER HLS         MI 48309‐2979
SADOWSKI, MICHAEL P       7118 S TIFTON DR                                                                                              FRANKLIN              WI 53132‐9363
SADOWSKI, NICHOLAS A      17514 AUGUSTA DR                                                                                              MACOMB                MI 48042‐1129
SADOWSKI, RAYMOND J       16991 SANDSTONE CIR                                                                                           MACOMB                MI 48042‐1124
SADOWSKI, RAYMOND J       6046 FAIRWOOD DR                                                                                              DEARBORN HTS          MI 48127‐2807
SADOWSKI, ROBERT J        1126 DODGE RD                                                                                                 GETZVILLE             NY 14068‐1385
SADOWSKI, RONALD S        675 SENECA PKWY                                                                                               ROCHESTER             NY 14613‐1021
SADRA LITTERAL N          683 BOCKTOWN CORK RD                                                                                          CLINTON               PA 15026‐1143
SADRA R LITTERAL N        683 BOCKTOWN ‐ CORK RD                                                                                        CLINTON               PA 15026
SADRNIA, HAMED            44 MILLSTONE DR                                                                                               TROY                  MI 48084‐1737
SADRO JR, LEONARD R       2081 SOULE RD                                                                                                 UBLY                  MI 48475‐8723
SADRO, DAVID M            6348 BLUEJAY DR                                                                                               FLINT                 MI 48506‐1761
SADUJEW, ANASTAZJA        125 DOVE COTE CT                                                                                              WHITEHOUSE STATION    NJ 08889‐3261
SADUJEW, ANASTAZJA        125 DOVE COTE                                                                                                 WHITEHOUSE STATION    NJ 08889‐3261
SADUSKY DAVID             EAGLE AUTO BODY INC              KIMMEL & SILVERMAN PC           1930 E MARLTON PIKE SUITE                    CHERRY HILL           NJ 08003
                                                                                           Q29
SADUSKY DAVID             SADUSKY, DAVID                   1930 E MARLTON PIKE SUITE Q29                                                CHERRY HILL          NJ   08003
SADUSKY, THOMAS B         7 MODELL CT                                                                                                   E NORTHPORT          NY   11731‐5927
SADVARY, GEORGE           30 EVANS RD.                                                                                                  CHARLEROI            PA   15022
SADYCZAK, OREST E         12917 CHIPPEWA DR                                                                                             WARREN               MI   48088‐1890
SADZINSKI, THOMAS         2371 BOTSFORD ST                                                                                              HAMTRAMCK            MI   48212‐2660
SAE                       DETROIT SECTION OFFICE           28535 ORCHARD LAKE RD STE 200                                                FARMINGTON HILLS     MI   48334‐2941
SAE                       PO BOX 79572                                                                                                  BALTIMORE            MD   21279‐0572
SAE DETROIT SECTION       28535 ORCHARD LAKE RD STE 200                                                                                 FARMINGTON HILLS     MI   48334‐2941
SAE FOUNDATION            DATABASE & DVLP COORDINATOR      400 COMMONWEALTH DR                                                          WARRENDALE           PA   15096‐0001
SAE FOUNDATION            400 COMMONWEALTH DR                                                                                           WARRENDALE           PA   15096‐0001
SAE INTERNATIONAL         CUSTOMER SERVICE                 400 COMMONWEALTH DR                                                          WARRENDALE           PA   15096‐0001
SAE INTERNATIONAL         STRATEGIC ALLIANCE               400 COMMONWEALTH DR                                                          WARRENDALE           PA   15096‐0001
SAE INTERNATIONAL         400 COMMONWEALTH DR                                                                                           WARRENDALE           PA   15096‐0001
SAE/WARRENDALE            400 COMMONWEALTH DR                                                                                           WARRENDALE           PA   15096‐0001
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Name                             Address1                           Address2              Address3         Address4         City               State Zip
SAECHSISCHE SCHRAUBENWERKE GMB   HERR ZINBER                        ESKA SAECHSISCHE      LUTHER STR 87                     CLARKSTON           MI 48016
                                                                    SCHRAUBENWERK
SAED J SAHOURI                   1020 CHARTER DR STE D                                                                      FLINT              MI   48532‐3584
SAED SAHOURI MD                  ATTN: SAED SAHOURI                 1020 CHARTER DR # D                                     FLINT              MI   48532‐3584
SAED, MUSTAFA                    8630 CANFIELD DR APT 205                                                                   DEARBORN HEIGHTS   MI   48127‐1046
SAEDLER, ERWIN W                 24364 CORTE SANINO                                                                         MURRIETA           CA   92562‐6146
SAEED NASIRI
SAEED NASSIRPOUR                 27 CLINTON ST                                                                              VALHALLA           NY   10595
SAEED, ABDUL M                   4032 STANLEY AVE                                                                           ALLEN PARK         MI   48101‐3061
SAEED, FANDA Y                   2516 HOLLY STREET                                                                          DEARBORN           MI   48120
SAEED, HAMID                     10103 SUGARBRIDGE TRL                                                                      SUGAR LAND         TX   77498‐4073
SAEED, RAYED M                   2138 PINE BLUFFS CT                                                                        HIGHLAND           MI   48357‐4328
SAEEDA QUTEJA                    2702 SPRINGTIME DR                                                                         TROY               MI   48083‐6807
SAEGER, ALAN D                   8034 S MEADOWVIEW CIR                                                                      TAMPA              FL   33625‐3742
SAEGER, ARTHUR E                 PO BOX 544                                                                                 MILLINGTON         MI   48746‐0544
SAEGER, JAYNE A                  1740 WESTWOOD                                                                              TROY               MI   48083‐1890
SAEGER, JAYNE A                  1740 WESTWOOD DR                                                                           TROY               MI   48083‐1890
SAEGER, R L                      5378 MILLINGTON RD                                                                         MILLINGTON         MI   48746‐8701
SAEGER, RALPH H                  8072 BURLEIGH RD                                                                           GRAND BLANC        MI   48439‐9749
SAEGER, RICHARD H                7876 OAK RD                                                                                MILLINGTON         MI   48746‐9046
SAEGER, RUTH D                   5096 VAN BIBBER LAKE EST                                                                   GREENCASTLE        IN   46135‐8908
SAEGER, W WYNEMIA                2100 NICHOLS RD                                                                            FLUSHING           MI   48433‐9726
SAEID
SAEJIN PARK                      4149 WENDELL RD                                                                            WEST BLOOMFIELD    MI   48323‐3146
SAELENS, GERALD M                21721 KRAMER ST                                                                            ST CLAIR SHRS      MI   48080‐3934
SAENGER, CARL R                  29 MAXWELL CT                                                                              HALESITE           NY   11743‐1331
SAENZ JR, A C                    712 OAKCREST ST SW                                                                         WYOMING            MI   49509‐4021
SAENZ JR, ARMANDO D              2303 HILLARY TRL                                                                           MANSFIELD          TX   76063‐3775
SAENZ JR, ARMANDO DELEON         2303 HILLARY TRL                                                                           MANSFIELD          TX   76063‐3775
SAENZ RICHARD                    646 N MADERA AVE                                                                           ONTARIO            CA   91764‐4414
SAENZ, ABELARDO G                2852 ALLESANDRO ST                                                                         LOS ANGELES        CA   90039‐3405
SAENZ, ALEJANDRINA               5805 WATERVIEW DR                                                                          ARLINGTON          TX   76016‐1514
SAENZ, ARNOLD                    712 OAKCREST ST SW                                                                         WYOMING            MI   49509‐4021
SAENZ, ARNOLD                    5960 E TIMBERLAKE LN SE                                                                    KENTWOOD           MI   49512
SAENZ, ARNOLDO E                 2401 N 25TH ST                                                                             MCALLEN            TX   78501‐6314
SAENZ, BELIA                     514 WRIGHT AVE APT 19                                                                      ALMA               MI   48801‐1698
SAENZ, DAVID A                   35 PARK LN                                                                                 NEW HAVEN          CT   06525‐2026
SAENZ, DAVID P                   4411 KING RD                                                                               SAGINAW            MI   48601‐7104
SAENZ, DAVID PAUL                4411 KING RD                                                                               SAGINAW            MI   48601‐7104
SAENZ, EDMUND R                  45335 DANBURY CT                                                                           CANTON             MI   48188‐1046
SAENZ, ELOY                      1817 BRIARTON LN N                                                                         ROUND ROCK         TX   78665‐7872
SAENZ, ELOY                      1817 BREARTON LANE N                                                                       ROUND ROCK         TX   78665
SAENZ, EVA
SAENZ, GALDINO R                 16233 AVALON CT                                                                            CHINO HILLS        CA   91709‐1709
SAENZ, GASPAR                    2526 S 61ST CT                                                                             CICERO             IL   60804‐3006
SAENZ, GERTRUDIS                 2921 N 25TH ST                                                                             MCALLEN            TX   78501‐6315
SAENZ, GERTRUDIS                 2921 N 25TH STREET                                                                         MCALLEN            TX   78501‐6315
SAENZ, HORACIO                   1202 CONCORD DR                                                                            MANSFIELD          TX   76063‐3323
SAENZ, HUMBERTO                  401 COMMUNITY ST                                                                           LANSING            MI   48906‐3221
SAENZ, JOEY R                    144 OLD MILL DR                                                                            BOWLING GREEN      KY   42104‐0831
SAENZ, JOEY RANDALL              144 OLD MILL DR                                                                            BOWLING GREEN      KY   42104‐0831
SAENZ, JOHN C                    616 GRANITE DR                                                                             LANSING            MI   48917‐2407
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Name                           Address1                         Address2                     Address3                  Address4                 City             State Zip
SAENZ, JUAN R                  3 COLT CT                                                                                                        MANSFIELD         TX 76063‐5170
SAENZ, JULIAN                  39900 BLACOW RD APT 40                                                                                           FREMONT           CA 94538‐1957
SAENZ, KRYSTAL
SAENZ, LOUIE E                 37463 3RD ST E                                                                                                   PALMDALE         CA    93550‐6001
SAENZ, LOUIS J                 4212 MOUNTAIN SHADOWS DR                                                                                         WHITTIER         CA    90601‐1720
SAENZ, LUCILLE                 30285 7 MILE RD                                                                                                  LIVONIA          MI    48152‐1914
SAENZ, MARIA R                 16318 DEVONSHIRE ST                                                                                              GRANADA HILLS    CA    91344‐6851
SAENZ, MARIO                   5339 SECOR RD APT 112                                                                                            TOLEDO           OH    43623‐2408
SAENZ, MARIO                   2041 TALBOT ST                                                                                                   TOLEDO           OH    43613‐5024
SAENZ, MARIO B                 28526 BRIDGE WATER LN                                                                                            MENIFEE          CA    92584‐8977
SAENZ, MARK D                  5383 CORNELL ST                                                                                                  DEARBORN HTS     MI    48125‐2115
SAENZ, MITCHELL D              6544 BERNADINE DR                                                                                                WATAUGA          TX    76148‐2801
SAENZ, OLIVIA
SAENZ, ORALIA                  6907 COUNTRY ROSE                                                                                                SAN ANTONIO      TX    78240‐4464
SAENZ, PAUL R                  203 PEMBERLY BLVD                                                                                                SUMMERVILLE      SC    29483‐7780
SAENZ, RICKY B                 1765 W STEWART RD                                                                                                MIDLAND          MI    48640‐9135
SAENZ, ROEL H                  15550 KNOLL TRAIL DR APT 4305                                                                                    DALLAS           TX    75248‐7007
SAENZ, RUBEN B                 636 PIONEER TRL                                                                                                  SAGINAW          MI    48604‐2221
SAENZ, SERGIO                  6907 COUNTRY ROSE                                                                                                SAN ANTONIO      TX    78240‐4464
SAENZ, STEVEN D                137 RAINTREE DR                                                                                                  KYLE             TX    78640
SAENZ, TERESA                  5535 ELLEN COURT                                                                                                 OAK FOREST       IL    60452‐3738
SAENZ, TERESA                  5535 ELLEN CT                                                                                                    OAK FOREST       IL    60452‐3738
SAENZ, WILLIAM J               20220 INDIANA AVE                                                                                                BROWNSTOWN TWP   MI    48183‐5019
SAEPIO TECHNOLOGIES            4601 MADISON AVENUE 4TH FLOOR                                                                                    KANSAS CITY      MO    64112
SAEPIO TECHNOLOGIES INC        4601 MADISON AVE 4TH FL                                                                                          KANSAS CITY      MO    64112
SAER MODEL/TROY                2692 AMERICAN DR                                                                                                 TROY             MI    48083‐4618
SAERI CRISTEL JIMENEZ OCANA    C/O LANGDON & EMISON             ATTN ROBERT L LANGDON        PO BOX 220 911 MAIN                                LEXINGTON        MO    64067
SAEST KARAIKUDI                ATTN SHRI N U NAYAK              SAE ELECTROCHEM SCI & TECH                             KARAIKUDI 630006 INDIA
SAETTA MICHAEL                 1764 HANCOCK AVE                                                                                                 NORFOLK          VA    23509‐1026
SAETTA, DAWN M                 601 ROOSEVELT AVE                                                                                                PEEKSKILL        NY    10566‐5403
SAETTEL, FLORENCE M            8387 SAINT FRANCIS CT                                                                                            CENTERVILLE      OH    45458‐2764
SAETTEL, VIRGINIA C            122 BUMBLE CIR                                                                                                   MAULDIN          SC    29662‐2597
SAETTELE, ROSELLA M            717 HAWTHORN AVE                                                                                                 SAINT CHARLES    MO    63301‐1409
SAETTELE, ROSELLA M            717 HAWTHORN                                                                                                     ST CHARLES       MO    63301‐1409
SAEVA JOSEPH (658203)          BELLUCK & FOX LLP                546 5TH AVE #4                                                                  NEW YORK         NY    10036‐5000
SAEVA, JOSEPH                  BELLUCK & FOX LLP                546 5TH AVE #4                                                                  NEW YORK         NY    10036‐5000
SAEVRE, RICHARD E              1235 S COON ISLAND RD                                                                                            BRODHEAD         WI    53520‐9000
SAEWERT, DAVID S               2272 W HARRISON ST                                                                                               CHANDLER         AZ    85224‐6956
SAEZ NATIVIDAD                 SAEZ, MARY JO                    PO BOX 579                                                                      LEVITTOWN        PA    19058‐0579
SAEZ NATIVIDAD                 SAEZ, NATIVIDAD                  PO BOX 579                                                                      LEVITTOWN        PA    19058‐0579
SAEZ NATIVIDAD                 SAEZ, MARY JO                    CAMPBELL, WALTER D           P O BOX 579 5729 EMILIE                            LEVITTOWN        PA    19058
                                                                                             ROAD
SAEZ, MARY JO                  CAMPBELL, WALTER D               PO BOX 579                                                                      LEVITTOWN        PA 19058‐0579
SAEZ, NATIVIDAD                CAMPBELL, WALTER D               PO BOX 579                                                                      LEVITTOWN        PA 19058‐0579
SAEZ, NATIVIDAD                565 BATH ST                                                                                                      BRISTOL          PA 19007‐3603
SAF
SAF GARD SAFETY SHOE COMPANY   2701 PATTERSON ST                                                                                                GREENSBORO       NC 27407‐2316
SAF TECHNOLOGIES INC           ATTN ACCOUNTS RECEIVABLE         PO BOX 77163                                                                    CHARLOTTE        NC 28271‐7004
SAFA LLC                       DAVID DANIELS                    ADVICS NORTH AMERICA         1621 LUKKEN IND. DRIVE    KITCHENER ON CANADA
                                                                                             WEST
SAFANOVA, ALEJANDRO            4215 JASON RD                                                                                                    SPRING HILL       FL   34608‐3622
SAFAR THOMAS                   1613 OSPREY COURT                                                                                                PT PLEASANT       NJ   08742‐4824
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Name                           Address1                          Address2                         Address3                      Address4               City             State Zip
SAFARI BOOKS ONLINE LLC        75 ARLINGTON ST                                                                                                         BOSTON            MA 02116
SAFARI LAND LTD INC            3120 E MISSION BLVD               PO BOX 51478                                                                          ONTARIO           CA 91761‐2900
SAFARI LAND LTD INC            3120 E MISSION BLVD                                                                                                     ONTARIO           CA 91761‐2900
SAFARI MOTORS C POR A          882                                                                                              SANTO DOMINGO
                                                                                                                                DOMINICAN REPUBLIC
SAFARI SUN TANNING SALON       ATTN: SUSAN WILKINSON             4251 DAVISON RD # 5                                                                   BURTON           MI    48509‐1450
SAFARI TECH BOOKS ONLINE LLC   75 ARLINGTON ST STE 300                                                                                                 BOSTON           MA    02116‐3988
SAFARILAND                     SCOTT CURRIE                      3120 E MISSION BLVD                                                                   ONTARIO          CA    91761‐2900
SAFARILAND                     SCOTT CURRIE                      3120 EAST MISSION BOULEVARD                                                           PORT HURON       MI
SAFARILAND LTD INC             3120 E MISSION BLVD                                                                                                     ONTARIO          CA    91761‐2900
SAFARILAND/CALIFORNI           3120 E MISSION BLVD                                                                                                     ONTARIO          CA    91761‐2900
SAFARILAND/ONTARIO             3120 E MISSION BLVD                                                                                                     ONTARIO          CA    91761‐2900
SAFAROWICZ, BRIDGET J          5 CLOVER PLACE                                                                                                          BUFFALO          NY    14225‐3301
SAFAROWICZ, MICHAEL            5 CLOVER PL                                                                                                             CHEEKTOWAGA      NY    14225‐3301
SAFE AIR VALVE CO INC          8766 TYLER BLVD                                                                                                         MENTOR           OH    44060‐4329
SAFE AMERICA FOUNDATION INC    2480 SANDY PLAINS RD                                                                                                    MARIETTA         GA    30066‐5776
SAFE AUTO INSURANCE COMPANY    BIRD LAW FIRM                     PO BOX 12517                                                                          COLUMBIA         SC    29211‐2517
SAFE AUTO INSURANCE COMPANY    BORTON PETRINI LLP                1320 COLUMBIA STREET SUITE 210                                                        SAN DIEGO        CA    92101

SAFE BUILDINGS CORP            844 W BUCKINGHAM PL               APT 2                                                                                 CHICAGO          IL    60657‐2390
SAFE BUILDINGS CORPORATION     844 W BUCKINGHAM PL               AT 2                                                                                  CHICAGO          IL    60657‐2390
SAFE HAVEN OF TARRANT COUNTY   401 W SANFORD SUITE 400                                                                                                 ARLINGTON        TX    76011
SAFE KIDS NEW CASTLE COUNTY    655 S BAY ROAD                    BLUE HEN STE 4H                                                                       DOVER            DE    19901
SAFE KIDS TARRANT COUNTY       1612 SUMMIT AVE STE 320                                                                                                 FORT WORTH       TX    76102‐5957
SAFE KIDS WORLDWIDE            ATTN TORINE CREPPY                1301 PENNSYLVANIA AVE NW STE                                                          WASHINGTON       DC    20004‐1731
                                                                 1000
SAFE KIDS WORLDWIDE            TORNIE CREPPY                     1301 PENNSYLVANIA AVE NW STE                                                          WASHINGTON       DC 20004‐1731
                                                                 1000
SAFE SYSTEMS                   ATTN: TIM BECK                    12100 SNOW RD # 9                                                                     CLEVELAND        OH 44130‐9319
SAFE T WAY TRUCKING INC        1465 E FRANKLIN AVE                                                                                                     POMONA           CA 91766‐5453
SAFE TECHNOLOGY                1 THE SOUTH WEST CENTRE           ARCHER ROAD SHEFFIELD S8 0JR                                   UNITED KINGDOM GREAT
                                                                                                                                BRITAIN
SAFE TECHNOLOGY LTD            UNIT 1A THE SOUTH WEST CENTRE     4 ARCHER RD                                                    SHEFFIELD SOUTH
                                                                                                                                YORKSHIRE GB S8 0JR
                                                                                                                                GREAT BRITAIN
SAFE TECHNOLOGY LTD            1 SOUTH WEST CENTRE, ARCHER RD.   SHEFFIELD                        S80JR                         UNITED KINGDOM
SAFE, JEAN F                   82 FORT COVINGTON ST APT 2                                                                                              MALONE           NY    12953
SAFE, KENNETH C                4815 S JOPLIN ST                                                                                                        AURORA           CO    80015‐1715
SAFE‐T‐QUIP CORP.              DEBBIE RALSON                     2300 W LOGAN BLVD                                                                     CHICAGO          IL    60647‐2023
SAFE2WORK                      COASTAL TRAINING TECHNOLOGIES     500 STUDIO DR                                                                         VIRGINIA BEACH   VA    23452‐1175
SAFECO
SAFECO INSURANCE               SAFECO PLZ                                                                                                              SEATTLE          WA 98185‐0001
SAFECO INSURANCE
SAFECO INSURANCE               ATTN MAGGIE DRUMMOND              1315 N HIGHWAY DR                                                                     FENTON           MO 63079
SAFECO INSURANCE COMPANY       BOLEN PARKER & BRENNER LTD        PO BOX 11590                                                                          ALEXANDRIA       LA 71315‐1590
SAFECO INSURANCE COMPANY OF
AMERICA
SAFECO INSURANCE COMPANY OF    C/O GRACE WINKLER CRANLEY         LEO & WEBER, P C                 ONE N LASALLE ST SUITE 3600                          CHICAGO           IL   60602
AMERICA
SAFECO INSURANCE COMPANY OF    C/O GRACE WINKLER CRANLEY         LEO & WEBER P C                  ONE N LASALLE ST SUITE 3600                          CHICAGO           IL   60602
AMERICA
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SAFECO INSURANCE COMPANY OF          C/O GRANT & WEBER                     ATTN: HERB ADAMS                PO BOX 8669                                             CALABASAS          CA 91372‐8669
AMERICA
SAFECO INSURANCE COMPANY OF          C/O GRACE W CRANLEY                   LEO & WEBER PC                  1 N LASALLE ST SUITE 3600                               CHICAGO            IL   60602
AMERICA
SAFECO INSURANCE COMPANY OF ILLINOIS CRAMERSTEPHEN D PLLC                  PO BOX 3767                                                                             FEDERAL WAY       WA 98063‐3767

SAFEE‐ULLAH, AMIN R                 266 E 173RD ST                                                                                                                 SOUTH HOLLAND     IL    60473‐3330
SAFEGUARD HEALTH PLANS INC          95 ENTERPRISE STE 100                                                                                                          ALISO VIEJO       CA    92656‐2605
SAFEGUARD INTERNATIONAL FUND LP     2656 24TH ST                                                                                                                   PORT HURON        MI    48060‐6419
SAFEGUARD INTERNATIONAL FUND LP     435 DEVON PARK DR STE 200                                                                                                      WAYNE             PA    19087‐1937
SAFEGUARD INTERNATIONAL FUND LP     545 BECKETT RD STE 201                                                                                                         SWEDESBORO        NJ    08085‐1512
SAFEGUARD INTERNATIONAL FUND LP     AV OMEGA 2270 COL PARQUE INDUSTRIAL SANTA MARIA                                                    RAMOS ARIZPE CH 25900
                                                                                                                                       MEXICO
SAFEGUARD INTERNATIONAL FUND LP     435 DEVON PARK DR                      STE 200                                                                                 WAYNE             PA    19087‐1937
SAFEGUARD PEST CONTROL              2518 ANTHEM VILLAGE DRIVE                                                                                                      HENDERSON         NV    89052
SAFEGUARD SCIENTIFICS INC           4605 DUKE DR                                                                                                                   MASON             OH    45040
SAFEGUARD SCIENTIFICS INC           7171 FOREST LN                                                                                                                 DALLAS            TX    75230‐2306
SAFELITE AUTO GLASS                 711 W HENRY ST                                                                                                                 INDIANAPOLIS      IN    46225‐1121
SAFELITE AUTO GLASS                 ATTN: JERMAINE WASHINGTON              2808 DR MARTIN LUTHER KING JR                                                           ANDERSON          IN    46016‐4845
SAFELITE GLASS                      2400 FARMERS DRIVE 3RD FLOOR                                                                                                   COLUMBUS          OH    43235
SAFELITE GLASS CORP                 2400 FARMERS DR                                                                                                                COLUMBUS          OH    43235‐2762
SAFELITE GLASS CORP                 SAFELITE AUTOGLASS                     2400 FARMERS DR 3RD FL                                                                  COLUMBUS          OH    43235
SAFENET INC                         4690 MILLENNIUM DRIVE                                                                                                          BELCAMP           MD    21017
SAFERIAN, MARGARET                  6330 DONALDSON                                                                                                                 TROY              MI    48085‐1532
SAFERIGHT, JAMES L                  8215 WOODLAWN DR                                                                                                               MARTINSVILLE      IN    46151‐7630
SAFERIGHT, MAXINE                   1935 MILTON NEWTON RD                                                                                                          NEWTON FALLS      OH    44444
SAFERIGHT, MAXINE                   2587 HARSHMAN RD                                                                                                               DAYTON            OH    45424‐5033
SAFERITE NORMAN                     1340 TOPAZ LN                                                                                                                  GARDNERVILLE      NV    89460‐6907
SAFETY & HEALTH DAY IN TOLEDO       C/O MERCY OCCUPATIONAL HEALTH          2213 CHERRY ST                                                                          TOLEDO            OH    43608‐2603
SAFETY AUTO CENTER INC.             7500 WILLOW RD                                                                                                                 WEST BLOOMFIELD   MI    48324‐3667
SAFETY CARRIERS INC                 2351 KENTUCKY AVE                                                                                                              INDIANAPOLIS      IN    46221
SAFETY CHECK AUTOMOTIVE             1845 WALSH AVE                                                                                                                 SANTA CLARA       CA    95050‐2505
SAFETY CONSULTING & TRAINING        PO BOX 118                                                                                                                     STOCKPORT         IA    52651‐0118
SAFETY COUNCIL OF NORTHWEST OHIO    8015 RINKER PT                                                                                                                 NORTHWOOD         OH    43619‐4200

SAFETY DESIGN INC                   PO BOX 928                                                                                                                     CENTERVILLE       TX    75833‐0928
SAFETY EQUIPMENT CORPORATION        1141 OLD COUNTY ROAD                                                                                                           BELMONT           CA    94002
SAFETY FIRST OPERATOR TRAINING      PO BOX 30686                                                                                                                   MESA              AZ    85275‐0686
SAFETY FOOTWEAR DIST LLC            2057 WEXFORD CIR                                                                                                               WHEATON           IL    60189‐6167
SAFETY INNOVATIONS LTD              35 FAIRMONT ROAD                       HARWOOD PK BROMSGROVE B60                                   UNITED KINGDOM GREAT
                                                                           2HJ                                                         BRITAIN
SAFETY INNOVATIONS LTD              UNIT 14 RECTORY FARM BUSINESS          UPPER STANDON                                               HENLOW BEDFORDSHIRE
                                                                                                                                       GB SG16 6LJ GREAT BRITAIN
SAFETY INSURANCE CO.                GARY SIMMONS                           20 CUSTOM HOUSE                                                                         BOSTON            MA    02110
SAFETY INSURANCE COMPANY            OKEEFE & GALE                          180 WEST CENTRAL STREET                                                                 NATICK            MA    01760‐3232
SAFETY INSURANCE COMPANY            OKEEFE & GALE                          180 W CENTRAL ST                                                                        NATICK            MA    01760‐3715
SAFETY INSURANCE COMPANY            FRANCIS THOMAS S LAW OFFICES OF        SEVEN LIBERTY SQUARE                                                                    BOSTON            MA    02109
SAFETY KLEEN
SAFETY KLEEN                        116 SKYLINE DR                                                                                                                 STH PLAINFIELD     NJ   07080
SAFETY KLEEN CORP                   5400 LEGACY DR CLUSTER II BUILDING 3                                                                                           PLANO              TX   75024
SAFETY KLEEN CORPORATION            390 SADLER AVE                                                                                                                 ELGIN              IL   60120‐8038
SAFETY KLEEN ENVIROSYSTEMS          1000 N RANDALL RD                                                                                                              ELGIN              IL   60123‐7895
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SAFETY KLEEN OIL RECOVERY CO          5360 LEGACY DR STE 100                                                                       PLANO               TX 75024‐3132
SAFETY KLEEN/PONTIAC                  6790 SIMS DR STE A                                                                           STERLING HEIGHTS    MI 48313‐3704
SAFETY ON SITE                        2060 N KOLMAR AVE                                                                            CHICAGO              IL 60639‐3418
SAFETY ON SITE LLC                    2060 N KOLMAR AVE                                                                            CHICAGO              IL 60639‐3418
SAFETY OUTFITTERS LLC                 1465 FULLERTON ST                                                                            SHREVEPORT          LA 71107‐7115
SAFETY PLUS INC
SAFETY SERVICES INC                   PO BOX 3539                                                                                  KALAMAZOO          MI   49003‐3539
SAFETY SHOE DIST OF O K I INC         10156 READING RD                                                                             CINCINNATI         OH   45241‐3110
SAFETY SHOE DISTRIBUTORS INC          10156 READING RD                                                                             CINCINNATI         OH   45241‐3110
SAFETY SHOE DISTRIBUTORS OF OK        10156 READING RD                                                                             CINCINNATI         OH   45241‐3110
SAFETY SHOE DISTRIBUTORS OF OKI INC   10156 READING RD                                                                             CINCINNATI         OH   45241‐3110

SAFETY SOLUTIONS INC                  6161 SHAMROCK CT                                                                             DUBLIN             OH   43016‐1275
SAFETY SOLUTIONS INC                  PO BOX 9055                                                                                  DUBLIN             OH   43017‐0955
SAFETY SOLUTIONS INC                  6161 SHAMROCK CT                 PO BOX 8100                                                 DUBLIN             OH   43016‐1275
SAFETY SOURCE                         PO BOX 365                                                                                   STEVENS POINT      WI   54481‐0365
SAFETY STORE                          2440 SCHUETTE RD                                                                             MIDLAND            MI   48642‐5974
SAFETY SYSTEMS INC                    PO BOX R                                                                                     WHITE SPRINGS      FL   32096‐0445
SAFETY SYSTEMS INC                    PO BOX R                         8838 HWY 137                                                WHITE SPRINGS      FL   32096‐0445
SAFETY THROUGH ENGINEERING INC        9363 DETRICK JORDAN PIKE                                                                     NEW CARLISLE       OH   45344‐9140
SAFETY TRAINING SEMINARS              2675 GEARY BLVD STE 203A                                                                     SAN FRANCISCO      CA   94118
SAFETY WEAR                           PO BOX 11588                     LOCKBOX Z                                                   FORT WAYNE         IN   46859‐1588
SAFETY WEAR                           PO BOX 11588                     LOCK BOX Z                                                  FORT WAYNE         IN   46859‐1588
SAFETY WEAR INC                       DBA MIDWEST LINEN & UNIFORM      370 ORCHARD LAKE RD      SERVICE                            PONTIAC            MI   48341‐2146
SAFETY WEAR/BELLEFNT                  236 N HAYES ST                                                                               BELLEFONTAINE      OH   43311‐2406
SAFETY‐KLEEN CANADA INC               300 WOOLWICH RD                  PO BOX 130                             BRESLAU ON N0B 1M0
                                                                                                              CANADA
SAFETY‐KLEEN CORP                     3899 WOLF RD                                                                                 SAGINAW            MI   48601‐9256
SAFETY‐KLEEN CORP                     10480 HARRISON                                                                               ROMULUS            MI   48174‐2640
SAFETY‐KLEEN CORP                     60 KATHERINE ST                                                                              BUFFALO            NY   14210‐2006
SAFETY‐KLEEN CORP                     5400 LEGACY DR CLUSTER 2 BLDG                                                                PLANO              TX   75024
SAFETY‐KLEEN CORP                     1525 W HENRIETTA RD              PO BOX 97                                                   AVON               NY   14414‐9409
SAFETY‐KLEEN HOLDCO INC               10480 HARRISON                                                                               ROMULUS            MI   48174‐2640
SAFETY‐KLEEN HOLDCO INC               3899 WOLF RD                                                                                 SAGINAW            MI   48601‐9256
SAFETY‐KLEEN HOLDCO INC               5400 LEGACY DR CLUSTER 2 BLDG                                                                PLANO              TX   75024
SAFETY‐KLEEN HOLDCO INC               60 KATHERINE ST                                                                              BUFFALO            NY   14210‐2006
SAFETY‐KLEEN SYSTEMS INC              7528 NEWCASTLE RD                                                                            OKLAHOMA CITY      OK   73169‐3005
SAFETY‐KLEEN SYSTEMS, INC.            5400 LEGACY DR.                  CLUSTER II, BUILDING 3                                      PLANO              TX   75024
SAFETY‐KLEEN SYSTEMS, INC.            DAVID DILLON                     5400 LEGACY DR                                              PLANO              TX   75024‐3105
SAFETY‐KLEEN SYSTEMS, INC.            6625 W. FRYE                                                                                 CHANDLER           AZ   85226
SAFETYCOM/N LITTLE R                  112 SMARTHOUSE WAY                                                                           N LITTLE ROCK      AR   72114‐5542
SAFEWAY AUTO DRIVING SCHOOL           2707 COURT ST                                                                                SYRACUSE           NY   13208‐3234
SAFEWAY CHEVROLET                     1320 US HWY 117 S                                                                            BURGAW             NC   28425
SAFEWAY COMPANY                       4TH AND JACKSON ST                                                                           OAKLAND            CA   94660‐0001
SAFEWAY OUTDOOR LIGHTING CO           46575 MAGELLAN DRIVE                                                                         NOVI               MI   48377‐2452
SAFEWAY QUICK LUBE                    ATTN: BILL CHAMI                 711 BALDWIN AVE                                             PONTIAC            MI   48342‐1320
SAFEWAY TAXI & TRANSPORTATION         1729 W NELSON ST                                                                             MARION             IN   46952‐3323
SAFEWAY TAXI SERVICE                  1729 W NELSON SON ST                                                                         MARION             IN   46952
SAFEWAY, INC.                         JANN STAPLETON                   MAIL STOP #7004                                             PHOENIX            AZ
SAFF, ROBERT E                        2621 COUNTRYSIDE DR                                                                          LEBANON            IN   46052‐8813
SAFFADY, SHIRLEY                      2224 WOOD ST                                                                                 LANSING            MI   48912‐3730
SAFFARI, KIMBERLY A                   4047 CRANDALL CIR 1                                                                          SANTA CLARA        CA   95054
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Name                              Address1                            Address2                          Address3      Address4         City              State Zip
SAFFELL, RONALD D                 GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                     SAGINAW            MI 48604‐2602
                                                                      260
SAFFER, HAROLD J                  23543 TONY ST                                                                                        WARREN            MI    48091‐1812
SAFFER, MADONNA S                 306 OLD MILL CREEK DR APT 8                                                                          ALEXANDRIA        IN    46001
SAFFLE, DON E                     7152 HUNTER DR                                                                                       CHIPPEWA LAKE     OH    44215‐9715
SAFFLE, HERBERT R                 8760 SMITH RD                                                                                        LITCHFIELD        OH    44253‐9715
SAFFLE, PAULA M                   123 N HIGH ST                                                                                        CORTLAND          OH    44410
SAFFOLD, BETTY J                  760 MAPLE ST SW                                                                                      WARREN            OH    44485‐3851
SAFFOLD, BRENDA                   29216 HAZELWOOD ST                                                                                   INKSTER           MI    48141‐3900
SAFFOLD, DALE C                   4080 MIDDLEBELT RD                                                                                   INKSTER           MI    48141‐2848
SAFFOLD, ELSIE                    4308 PASADENA ST                                                                                     DETROIT           MI    48238‐2657
SAFFOLD, ELSIE                    4308 PASADENA                                                                                        DETROIT           MI    48238‐2657
SAFFOLD, FRED J                   2092 CASALOMA CT                                                                                     FLINT             MI    48532‐2717
SAFFOLD, GWENDOLYN E              29973 OAKWOOD ST                                                                                     INKSTER           MI    48141‐1558
SAFFOLD, LONNIE J                 16877 FREELAND ST                                                                                    DETROIT           MI    48235‐4060
SAFFOLD, LONNIE JOEL              16877 FREELAND ST                                                                                    DETROIT           MI    48235‐4060
SAFFOLD, MARY                     5875 OCEAN VIEW DR.                                                                                  OAKLAND           CA    94618‐1534
SAFFOLD, ORLANDO                  740 MAPLE ST SW                                                                                      WARREN            OH    44485‐3851
SAFFOLD, ROY                      PO BOX 12013                                                                                         SAINT LOUIS       MO    63112‐0113
SAFFORD JR, NATHAN H              318 HOLIDAY DR                                                                                       SOMONAUK          IL    60552‐9698
SAFFORD, ANN                      7273 SE SEAGATE LANE                                                                                 STUART            FL    34997‐2162
SAFFORD, ELIJAH                   APT 401                             1003 LELAND STREET                                               DETROIT           MI    48207‐4710
SAFFORD, GEORGE F                 2111 TAMARACK ROAD                                                                                   ANDERSON          IN    46011‐2717
SAFFORD, MARK E                   PO BOX 2032                                                                                          ANDERSON          IN    46018
SAFFORD, ROBERT E                 11460 COMPASS POINT DR                                                                               FORT MYERS        FL    33908‐4949
SAFFORD, SCOTT
SAFFORD, STEPHEN                  100 WHISKEY RD APT 1                                                                                 GROVETOWN         GA    30813‐2828
SAFFORD, SUE                      44 COLONY RD                                                                                         ANDERSON          IN    46011‐2253
SAFFORD, TERRY L                  108 MADISON ST                                                                                       NEWARK            NY    14513‐1436
SAFFRON, BRUCE H                  10836 BUCHANAN ST                                                                                    BELLEVILLE        MI    48111‐3412
SAFFRON, KATHLEEN                 2856 MARIETTA AVE                                                                                    WATERFORD         MI    48329‐3447
SAFFRON, MICHAEL J                11413 CINDER RD                                                                                      BEULAH            MI    49617‐9739
SAFFRON, WALTER M                 127 MERIDETH LN                                                                                      LONGMONT          CO    80501‐2835
SAFIAN ROBERT D                   2905 LAKEWOODS CT                                                                                    WEST BLOOMFIELD   MI    48324‐1919
SAFIEH WILLIAM                    14221 N 51ST AVE APT 1022                                                                            GLENDALE          AZ    85306‐2540
SAFIGAN, CLEMENT E                556 VESELY CT                                                                                        EASTLAKE          OH    44095‐1238
SAFILIAN, CHARLES A               6033 GLEN EAGLES DR                                                                                  WEST BLOOMFIELD   MI    48323‐2211
SAFIRE GEORGE                     LIBERTY MUTUAL INSURANCE            10475 DOUBLE R BOULEVARD P O                                     RENO              NV    89521
                                                                      BOX 11400
SAFIRE, GEORGE
SAFIYAH D DIALLO                  PO BOX 980009                                                                                        YPSILANTI         MI 48198‐0009
SAFIYAH DIALLO                    PO BOX 980009                                                                                        YPSILANTI         MI 48198‐0009
SAFLEY Z L (ESTATE OF) (637685)   COONEY & CONWAY                     120 NORTH LASALLE STREET , 30TH                                  CHICAGO           IL 60602
                                                                      FLOOR
SAFLEY, Z L                       COONEY & CONWAY                     120 NORTH LASALLE STREET, 30TH                                   CHICAGO            IL   60602
                                                                      FLOOR
SAFLOVER, VALERIE E               2940 MC CORMICK AVENUE              APT #316                                                         BROOKFIELD        IL    60513
SAFLOVER, VALERIE E               2940 MCCORMICK AVE APT 316                                                                           BROOKFIELD        IL    60513‐1067
SAFMARINE                         EUGENE NASSER                       GIIRALDA FARMS # 7                MADISON AVE                    MADISON           NJ    07940
SAFMARINE INC                     ATTN ACCOUNTS RECEIVABLE            9300 ARROWPOINT BLVD                                             CHARLOTTE         NC    28273‐8136
SAFNER, PETER C                   1510 WINANS AVE                                                                                      LINDEN            NJ    07036‐4630
SAFO & BALTAZAR ANST              PO BOX 380910                                                                                        DUNCANVILLE       TX    75138‐0910
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SAFOS, APOSTOLOS P       3106 NORRIS DR                                                                              HOUSTON                TX 77025‐3832
SAFRAN GORDON            33845 JACKSON RD                                                                            MORELAND HILLS         OH 44022‐1821
SAFRAN, GREGORY M        2904 AVON GENESEO RD                                                                        GENESEO                NY 14454‐9752
SAFRAN, JOSEPH E         3859 LONG MEADOW LN                                                                         LAKE ORION             MI 48359‐1443
SAFRANEK, FRANCIS E      2152 TREMMMEL AVE                                                                           ANN ARBOR              NM 48104‐5102
SAFRANEK, GEORGE A       PO BOX 221                                                                                  FRANKENMUTH            MI 48734‐0221
SAFRANEK, M K
SAFRANIC, ANTHONY W      1765 OLD YOUNGSTOWN RD                                                                      EDINBURG              PA    16116‐5421
SAFRANSKI BROS.          3820 CALUMET AVE                                                                            MANITOWOC             WI    54220‐5436
SAFRANSKI, JOSEPH J      516 MANITOWOC AVE                                                                           SOUTH MILWAUKEE       WI    53172‐3330
SAFREED, ALBERT C        204 E MOUNT HOPE AVE           TRI‐COUNTY GUARDIANSHIP                                      LANSING               MI    48910‐9158
                                                        SERVICES
SAFREED, JOSEPH W        17864 SE 115TH CT                                                                           SUMMERFIELD           FL    34491‐7819
SAFREED, RICHARD         2 TANGLEWOOD AVE                                                                            PORT ORANGE           FL    32127‐5429
SAFRIET, ARTHUR          5215 S DAYTON BRANDT RD                                                                     NEW CARLISLE          OH    45344‐7629
SAFRIET, JAMES L         295 TURNER SUBDIVISION RD                                                                   CORBIN                KY    40701‐9586
SAFRIET, JOSEPHINE E     5215 S DAYTON BRANDT RD                                                                     NEW CARLISLE          OH    45344‐7629
SAFRIT, OLIVE T          1105 PARK AVE                                                                               GARNER                NC    27529‐4130
SAFT AMERICA             3 POWERED METALS DRIVE                                                                      NORTH HAVEN           CT    06473
SAFT AMERICA             107 BEAVER CT                                                                               COCKEYSVILLE          MD    21030‐2106
SAFT AMERICA INC         313 CRESCENT ST NE                                                                          VALDESE               NC    28690‐9635
SAFT AMERICA INC         107 BEAVER CT                                                                               COCKEYSVILLE          MD    21030‐2106
SAFWAN ALJUNDI           5041 BAYLEAF DR                                                                             STERLING HEIGHTS      MI    48314‐4031
SAFWAY STEEL PRODUCTS    HISCOCK & BARCLAY, LLP         PO BOX 4878                                                  SYRACUSE              NY    13221‐4878
SAG HARBOR YACHT CLUB    PO BOX 1988                                                                                 SAG HARBOR            NY    11963
SAG'S AUTOMOTIVE, INC.   2131 BANNISTER PL                                                                           HONOLULU              HI    96819
SAGA COMMUNICATIONS      EDWARD CHRISTIAN               73 KERCHEVAL AVE STE 201                                     GROSSE POINTE FARMS   MI    48236‐3559
SAGADY, DEANNA B         6335 TORREY RD                                                                              FLINT                 MI    48507‐3824
SAGADY, HARVEY S         3706 DELAWARE AVE                                                                           FLINT                 MI    48506‐3171
SAGADY, HARVEY SAMUEL    3706 DELAWARE AVE                                                                           FLINT                 MI    48506‐3171
SAGADY, JERRY P          11265 KATRINE HILLS DR.                                                                     FENTON                MI    48430
SAGADY, WILLIAM R        845 FRANK ST                                                                                FLINT                 MI    48504‐4858
SAGAERT, MARIE F         68646 VILLA DR                                                                              WASHINGTON            MI    48095‐2929
SAGAITIS, DAVID L        919 E HIGH ST                                                                               MILTON                WI    53563‐1550
SAGAL, JOHN              52144 CHARLESTON LANE                                                                       NEW BALTIMORE         MI    48047‐1191
SAGAL, JOHN N            16829 MAIN MARKET RD                                                                        WEST FARMINGTON       OH    44491‐9608
SAGAMANG, DONALD E       G3175 HOGARTH AVE                                                                           FLINT                 MI    48532‐5129
SAGAMANG, MARGERY A.     5873 SUTHERLAND DR                                                                          WATERFORD             MI    48327‐2060
SAGAMANG, TOMAS E        26174 EARL RD                                                                               BONITA SPRINGS        FL    34135‐6522
SAGAN JAMIE              SAGAN, JAMIE                   120 WEST MADISON STREET , 10TH                               CHICAGO               IL    60602
                                                        FLOOR
SAGAN, JAMIE             KROHN & MOSS ‐ WI              120 WEST MADISON STREET, 10TH                                CHICAGO                IL   44114
                                                        FLOOR
SAGAN, JULIA A           4407 EL CAMPANA WAY                                                                         LAS VEGAS             NV    89121‐6533
SAGAN, LUCILLE           4407 EL CAMPANA WAY                                                                         LAS VEGAS             NV    89121‐6533
SAGAN, MARY              2153 HAMMOND PL E                                                                           TRAVERSE CITY         MI    49686‐8012
SAGANEK, VIOLA B         121 MILL STREET                                                                             SARANAC               MI    48881‐9702
SAGANSKI, DARYL J        1705 BRITISH BLVD                                                                           GRAND PRAIRIE         TX    76060‐7036
SAGANSKI, DARYL J.       1709 MONACO DR                                                                              ARLINGTON             TX    76010‐4717
SAGANSKI, JULIA E        1546 EMERSON AVE NW                                                                         GRAND RAPIDS          MI    49504‐2957
SAGANTE, IRMGARD M       16985 LOCHERBIE AVE                                                                         BEVERLY HILLS         MI    48025‐4148
SAGANTE, RICHARD G       16043 BUCKINGHAM AVE                                                                        BEVERLY HILLS         MI    48025‐3311
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Name                      Address1                        Address2                      Address3   Address4         City               State Zip
SAGARD SAS                37162 SUGAR RIDGE RD                                                                      NORTH RIDGEVILLE    OH 44039‐3630
SAGARSEE, ALLENE E        472 COLUMBIA AVE                                                                          TIPTON              IN 46072‐1223
SAGARSEE, ANNA K          2843 BRIDGESTONE CIRCLE                                                                   KOKOMO              IN 46902‐7007
SAGARSEE, DENDRA J        811 W WALNUT ST                                                                           KOKOMO              IN 46901
SAGARSEE, DORIS M         3043 HARVEST GROVE LN                                                                     BARGERSVILLE        IN 46106
SAGARSEE, GLORIA A        903 CRESCENT DR                                                                           KOKOMO              IN 46901‐3660
SAGARSEE, NANCY A         3832 FAWN DR APT 3C                                                                       INDIANAPOLIS        IN 46254‐4615
SAGARSEE, NICKI A         2450 S COUNTY ROAD 550 APT 8                                                              PERU                IN 46970
SAGARSEE‐SMITH, NICKI A   2450 S 550 E LOT 8                                                                        PERU                IN 46970
SAGASER JONES & HAHESY    2445 CAPITOL ST 2ND FL                                                                    FRESNO              CA 93721
SAGASKIE, DANIEL A        10015 MASTERS RD                                                                          WALES               MI 48027‐2201
SAGE                      5885 S MAIN ST STE 6B                                                                     CLARKSTON           MI 48346‐2981
SAGE FRANCIS E (406035)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                          STREET, SUITE 600
SAGE I I I, EDWIN C       11030 31 RD                                                                               KINGSLEY           MI   49649‐9501
SAGE JR, DANNY R          8235 TRAVIS CT                                                                            CARLISLE           OH   45005‐4035
SAGE JR, FRED K           3303 SANDY SHORE DR                                                                       METAMORA           MI   48455‐8973
SAGE JR, GARY F           6935 NORTHWEST 29TH COURT                                                                 MARGATE            FL   33063‐2056
SAGE JR, RANNY L          8120 LITTLE RICHMOND RD                                                                   TROTWOOD           OH   45426‐4404
SAGE LINK CREDIT UNION    FOR DEPOSIT IN THE ACCOUNT OF   G3311 VAN SLYKE RD            B ELSON                     FLINT              MI   48507‐3293
SAGE SOFTWARE INC         ATTN ARGNE RANDOLPH             PO BOX 6150                                               NORCROSS           GA   30091‐6150
SAGE THOMAS               PO BOX 420269                                                                             HOUSTON            TX   77242‐0269
SAGE, AGNES J             3066 BROOKSIDE DR                                                                         WATERFORD          MI   48328‐2595
SAGE, ARLINE M            104 E JOHN ST                                                                             DURAND             MI   48429‐1603
SAGE, BERNICE V           5790 DENLINGER RD APT 285                                                                 DAYTON             OH   45426‐5426
SAGE, BRIAN M             4018 WEST TANGLEOAKS COURT                                                                PEORIA             IL   61615‐8908
SAGE, BRUCE D             5427 MCNAMARA LN                                                                          FLINT              MI   48506‐2280
SAGE, BRUCE L             5232 MISSION AVE                                                                          KALAMAZOO          MI   49048‐1074
SAGE, CAMILLE M           18031 90TH PL N                                                                           MAPLE GROVE        MN   55311‐4443
SAGE, CARLTON W           5059 HIGHPOINT DR                                                                         SWARTZ CREEK       MI   48473‐8914
SAGE, CAROL L             11030 31 RD                                                                               KINGSLEY           MI   49649‐9501
SAGE, CAROLE Y            3614 HAYMEADOW AVENUE                                                                     RAVENNA            MI   49451‐9498
SAGE, CAROLE Y            3514 HAYMEADOW AVE                                                                        REVENNA            MI   49451‐9498
SAGE, CATHERINE M         3 CLYDESDALE ST                                                                           MOUNT MORRIS       MI   48458‐8846
SAGE, CHARLES W           5561 STATE ROUTE 113                                                                      BELLEVUE           OH   44811‐8900
SAGE, CHRISTINE E.        32917 BOCK                                                                                GARDEN CITY        MI   48135‐1132
SAGE, CHRISTINE E.        32917 BOCK ST                                                                             GARDEN CITY        MI   48135‐1132
SAGE, CLARE F             873 KENILWORTH AVE                                                                        PONTIAC            MI   48340‐3105
SAGE, CLARENCE J          563 N 800 W 27                                                                            CONVERSE           IN   46919‐9325
SAGE, DANIEL E            655 PARK VW                                                                               CLIO               MI   48420‐1400
SAGE, DANNY R             1240 DAFLER RD                                                                            W ALEXANDRIA       OH   45381‐8327
SAGE, DEAN E              309 N COLUMBIAN ST                                                                        BAY CITY           MI   48706‐2803
SAGE, DOTTIE L            4231 HIGHWAY 321                                                                          BUTLER             TN   37640‐5510
SAGE, DOUGLAS E           5116 HARTWELL RD                                                                          SARANAC            MI   48881‐9761
SAGE, DOUGLAS W           4882 MYRTLE AVE NW                                                                        WARREN             OH   44483‐1328
SAGE, EDWARD M            144 S SHELLEY DR                                                                          CLAYMONT           DE   19703‐1433
SAGE, FRANCIS E           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                          STREET, SUITE 600
SAGE, GARLIN F            7780 RUSTLER CT                                                                           SPARKS             NV   89436‐8661
SAGE, GARY F              4033 GROUSEWOOD DR                                                                        MYRTLE BEACH       SC   29588‐6796
SAGE, GEORGIA E           5445 IRISH RD                                                                             GRAND BLANC        MI   48439‐9754
SAGE, GORDON H            10379 FLAT STONE LOOP                                                                     BONITA SPGS        FL   34135‐5033
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Name                    Address1                            Address2              Address3         Address4            City                State Zip
SAGE, GORDON H.         10379 FLAT STONE LOOP                                                                          BONITA SPGS          FL 34135‐5033
SAGE, GREGORY F         2710 CAMDEN CT                                                                                 THOMPSONS STATION    TN 37179‐5000
SAGE, HAROLD R          5059 HIGHPOINT DR                   C/O CARLTON W SAGE                                         SWARTZ CREEK         MI 48473‐8914
SAGE, HIRAM A           712 N LANSING ST                                                                               SAINT JOHNS          MI 48879‐1268
SAGE, IVENE M           2778 GOULD RD                                                                                  ONONDAGA             MI 49264‐9795
SAGE, JACOB A           1400 MACDADE BLVD APT D365                                                                     WOODLYN              PA 19094‐1522
SAGE, JAMES R           6293 DRAKE SETTLEMENT RD                                                                       BURT                 NY 14028‐9718
SAGE, JANET E           8197 IRISH RD                                                                                  MILLINGTON           MI 48746‐8718
SAGE, JAY               177 SOUTH ST                                                                                   DOVER FOXCROFT       ME 04426
SAGE, JERRY L           12 CARMICHAEL PL                                                                               KETTERING            OH 45420‐2908
SAGE, JESSIE L          5 FIRESIDE                                                                                     PONTIAC              MI 48340‐1630
SAGE, JOHN C            3514 LOON LAKE CT                                                                              LINDEN               MI 48451‐9440
SAGE, JOHN CLIFFORD     3514 LOON LAKE CT                                                                              LINDEN               MI 48451‐9440
SAGE, JOHN W            321 MILTON AVE                                                                                 JANESVILLE           WI 53545‐3151
SAGE, JR.,JERRY L       12 CARMICHAEL PL                                                                               KETTERING            OH 45420‐2908
SAGE, KEITH C           9461 WOODSIDE TRL                                                                              SWARTZ CREEK         MI 48473‐8589
SAGE, KEITH E           PO BOX 42                                                                                      MEDWAY               OH 45341‐0042
SAGE, KIM L             PO BOX 42                                                                                      MEDWAY               OH 45341‐0042
SAGE, KRISTOPHER J      2710 CAMDEN CT                                                                                 THOMPSONS STATION    TN 37179‐5000
SAGE, LARRY G           PO BOX 445                                                                                     CHESANING            MI 48616‐0445
SAGE, MARCY             4304 N PINE ST                                                                                 WILMINGTON           DE 19802‐1313
SAGE, MARY E            6935 NORTHWEST 29TH COURT                                                                      MARGATE              FL 33063‐2056
SAGE, PAUL R            1125 S LEROY ST                                                                                FENTON               MI 48430‐2936
SAGE, RICHARD P         14585 MARION RD                                                                                CHESANING            MI 48616‐8523
SAGE, ROBERT A          444 STATE PARK RD                                                                              ORTONVILLE           MI 48462‐9464
SAGE, ROBERT D          6068 STONEY POINT ST                                                                           FLINT                MI 48506‐1668
SAGE, ROBERT K          10933 WILDLIFE DR                                                                              GREENVILLE           MI 48838‐7138
SAGE, RONALD E          5465 GRAND RIVER AVE                                                                           SARANAC              MI 48881‐9613
SAGE, ROSE M            115 BRENNEN DR                                                                                 NEWARK               DE 19713‐3905
SAGE, RUSSELL D         11 LAKE RD                                                                                     ROCKY MOUNT          MO 65072‐3204
SAGE, SHIRLEY A         9031 HATT RD                                                                                   LINDEN               MI 48451‐9760
SAGE, STEVEN M          5826 LAPORTE DR                                                                                LANSING              MI 48911‐5043
SAGE, STEVEN N          2826 PINE HEIGHTS DR D                                                                         WEST BLOOMFIELD      MI 48324
SAGE, TAMMIE L          4709 CROFTSHIRE DR                                                                             DAYTON               OH 45440‐1706
SAGE, TAMMIE L          3413 SHARON AVE                                                                                KETTERING            OH 45429‐3629
SAGE, VICKIE            429 LAURELWOOD LN                                                                              NAPLES               FL 34112‐7210
SAGE, VIRGINIA K        1723 EDENWOOD DR.                                                          OSHAWA, ON CANADA
                                                                                                   L1G7Y5
SAGE, WAYNE R           9293 MICK RD                                                                                   CLARKSVILLE         MI   48815‐9725
SAGE‐FALES, SUSAN K     4540 E STERLING RD                                                                             STERLING            MI   48659‐9619
SAGEAR, BRENDA M        10028 SAWTOOTH CT                                                                              FORT WAYNE          IN   46804‐3915
SAGEAR, GARY R          908 ROBERT ST                                                                                  EDGERTON            WI   53534
SAGEAR, GAYLE A         100 N FRANKLIN ST APT 213                                                                      JANESVILLE          WI   53548‐2963
SAGELINK CREDIT UNION   G3311 VAN SLYKE RD                                                                             FLINT               MI   48507‐3263
SAGEM LUCAS/PO BOX      PO BOX 5755                                                                                    GREENVILLE          SC   29606‐5755
SAGEMAN, CHARLES W      2200 W MEAD RD                                                                                 SAINT JOHNS         MI   48879‐9415
SAGEMAN, JERRY W        5390 SANDY LN                                                                                  COLUMBIAVILLE       MI   48421‐8702
SAGEMAN, RUSSELL V      6191 SHERIDAN RD                                                                               SAGINAW             MI   48601‐9764
SAGEMAN, WILLIAM C      PO BOX 308                                                                                     FREELAND            MI   48623‐0308
SAGEN, BRETT R          210 MOWE ST                                                                                    ORFORDVILLE         WI   53576‐9424
SAGEN, LEONARD          7328 JORDAN RD                                                                                 YALE                MI   48097‐3701
SAGEN, SHARELL D        210 MOWE ST                         PO BOX 394                                                 ORFORDVILLE         WI   53576‐9424
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SAGEN, SHARELL D           210 N MOWE STREET                PO BOX 394                                                ORFORDVILLE         WI 53576
SAGEN, STEVE W             PO BOX 103                                                                                 FOOTVILLE           WI 53537‐0103
SAGEN, WALTER S            356 JANESVILLE ST FOOTVILLE                                                                JANESVILLE          WI 53548
SAGENDORPH, LISA A         6620 RIVER DOWNS DR APT 1A                                                                 CENTERVILLE         OH 45459‐8207
SAGENUEHL, RICHARD         719 LOOKOUT DR                                                                             LAKEHILLS           TX 78063‐6491
SAGER & SAVAGE             5152 KATELLA AVE STE 104                                                                   LOS ALAMITOS        CA 90720‐2841
SAGER EARL J (429749)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                            STREET, SUITE 600
SAGER JAMES A (494163)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                            STREET, SUITE 600
SAGER JR, DONALD L         336 SINKING CREEK RD                                                                       PETERSBURG         TN 37144‐8531
SAGER RODGER               SAGER, RODGER                    30928 FORD RD                                             GARDEN CITY        MI 48135‐1803
SAGER WILLIAM E (412878)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                            STREET, SUITE 600
SAGER, BARBARA             54 PARKSIDE CIR                                                                            CHEEKTOWAGA        NY   14227‐2358
SAGER, BETTY S             828 METZ LN                                                                                ROCKTON            IL   61072‐2175
SAGER, DALE L              1706 NAZARETH RD                                                                           KALAMAZOO          MI   49048‐1228
SAGER, DEANE H             827 WESCOTT SQ                                                                             EAGAN              MN   55123‐1228
SAGER, DONALD F            6064 W UTAH LN                                                                             LAKEWOOD           CO   80232‐6485
SAGER, DONALD J            11825 BARLOW LAKE RD                                                                       MIDDLEVILLE        MI   49333‐8319
SAGER, DONALD M            2400 GRANADA CT N                                                                          GALLOWAY           OH   43119‐9578
SAGER, DONNA L             4438 ELMWOOD AVE                                                                           ROYAL OAK          MI   48073‐1520
SAGER, EARL J              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                            STREET, SUITE 600
SAGER, EVAN E              15 SAWMILL CREEK DR W                                                                      HURON              OH 44839‐1029
SAGER, GLENNA              1010 TAYWOOD RD APT 203                                                                    ENGLEWOOD          OH 45322‐2415
SAGER, JAMES A             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                            STREET, SUITE 600
SAGER, JAMES G             2790 CLAYBURN RD                                                                           SAGINAW            MI   48603‐3118
SAGER, JANICE H            1291 CYPRESS POINT DR                                                                      BANNING            CA   92220‐5418
SAGER, JILL A              35203 KNOLLWOOD LN                                                                         FARMINGTON HILLS   MI   48335‐4697
SAGER, JOHN R              8347 CHAPEL PINES DR                                                                       INDIANAPOLIS       IN   46234‐2166
SAGER, JOHN R              9550 S PALMER RD                                                                           DAYTON             OH   45424‐1626
SAGER, JOHN W              8023 S ASTERWOOD CT                                                                        MIDDLEVILLE        MI   49333‐8906
SAGER, JOSEPH J            10 BROOKWOOD DR                                                                            BUFFALO            NY   14224
SAGER, KAREN A             11825 BARLOW LAKE RD                                                                       MIDDLEVILLE        MI   49333‐8319
SAGER, LA VERNE            859 ALDER ST                                                                               BLAINE             WA   98230‐8030
SAGER, LAVERNE L           6033 RED SPUR CT                                                                           FONTANA            CA   92336‐4548
SAGER, LOUISE D            291 S BRINKER AVE                                                                          COLUMBUS           OH   43204
SAGER, MICHAEL A           120 EXCALIBUR BLVD                                                                         TROY               MO   63379‐2542
SAGER, MICHAEL R           2549 BULLOCK RD                                                                            BAY CITY           MI   48708‐8485
SAGER, NADINE L            5765 CATAWBA DR                                                                            ADRIAN             MI   49221‐9304
SAGER, PATRICK J
SAGER, PAUL                237 ROLLING HILLS RD                                                                       RUFFS DALE         PA   15679‐1191
SAGER, PEGGY L             5720 W 700 S                                                                               WABASH             IN   46992
SAGER, ROBERT B            PO BOX 4089                                                                                DOWLING PARK       FL   32064‐1537
SAGER, ROBERT E            1504 CONNIE AVE                                                                            MADISON HTS        MI   48071‐3034
SAGER, RODGER              CONSUMER LEGAL SERVICES P.C.     30928 FORD RD                                             GARDEN CITY        MI   48135‐1803
SAGER, RUTH
SAGER, STANLEY E           7189 N 44TH ST                                                                             AUGUSTA            MI 49012‐9659
SAGER, SUSAN K             336 SINKING CREEK RD A                                                                     PETERSBURG         TN 37144
SAGER, TIMOTHY W           301 E HAZEL ST                                                                             ALBION             IN 46701‐1215
                                   09-50026-mg            Doc 7123-35    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                               Address1                       Address2                      Address3   Address4         City               State Zip
SAGER, TINA                        504 FOXVILLE RD                                                                          KELL                 IL 62853‐1602
SAGER, WILLIAM E                   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                                  STREET, SUITE 600
SAGERS, DAVID J                    7710 WARBLER WAY                                                                         INDIANAPOLIS       IN    46256‐1763
SAGERS, LARRY A                    478 CONCORD WAY                                                                          XENIA              OH    45385‐5905
SAGERT, JANET M                    14572 EMERSON DR                                                                         STERLING HEIGHTS   MI    48312‐5755
SAGERT, THERESA                    3913 FORDHAM WAY                                                                         LIVERMORE          CA    94550
SAGESER, E M                       100 ASHWOOD DR APT 3                                                                     PENDLETON          IN    46064
SAGESTER, CAROLYN L                814 SUGAR MAPLE DR 7                                                                     KOKOMO             IN    46901
SAGET, LOUIS                       VARAS & MORGAN                 PO BOX 886                                                HAZLEHURST         MS    39083‐0886
SAGGES, REICKS E                   32155 CENTER RIDGE RD                                                                    NORTH RIDGEVILLE   OH    44039‐2446
SAGGESE, JERRY                     43 COLTON RD                                                                             MAHOPAC            NY    10541‐1925
SAGGESE, NEIL E                    4816 COQUINA CROSSING DR                                                                 ELKTON             FL    32033‐4026
SAGGIOMO MICHAEL                   SAGGIOMO, MICHAEL              10 RICKLAND DR                                            SEWELL             NJ    08080
SAGHIR, SYED H                     2420 BARKDOLL RD                                                                         NAPERVILLE         IL    60565‐3340
SAGHY, RUTH                        950 E MAIN ST APT 806                                                                    CARTERSVILLE       GA    30121‐2286
SAGI FRANK J (342324)              GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA    23510
                                                                  STREET, SUITE 600
SAGI, ANGELA                       11924 LONGMEAD AVE                                                                       CLEVELAND          OH 44135‐3048
SAGI, CHARLES J                    5607 THORNY ASH RD                                                                       ROCHESTER          MI 48306‐2861
SAGI, FRANK J                      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                  STREET, SUITE 600
SAGINAW & PIKE ENTERTAINMENT       2 N SAGINAW ST                                                                           PONTIAC             MI 48342‐2110
SAGINAW (CITY OF) WTR & SWR        TREASURER                      PO BOX 5079                                               SAGINAW             MI 48605‐5079
SAGINAW (CITY OF) WTR & SWR ‐      PO BOX 5079                    PO BOX 5079                                               SAGINAW             MI 48605‐5079
TREASURER
SAGINAW ACCOUNTS PAYABLE           1315 S WASHINGTON AVE                                                                    SAGINAW             MI   48601‐2513
SAGINAW ANESTHESIA S               75 REMITTANCE DR                                                                         CHICAGO             IL   60675‐1001
SAGINAW AREA FIREWORKS INC         PO BOX 1923                                                                              SAGINAW             MI   48605‐1923
SAGINAW ART MUSEUM                 1126 N MICHIGAN AVE                                                                      SAGINAW             MI   48602‐4763
SAGINAW AUTO EMPLYS FED CR UN      ACCT OF MICHAEL HEALY
SAGINAW AUTOMOTIVE EMPL FED CU     ACCT OF THERESA CONTRERAS
SAGINAW BAY ORCHESTRA              420 SYMPHONY LN                                                                          SAGINAW             MI   48607
SAGINAW BAY SOUTHERN RAILROAD      ATTN TONIA BRENK               PO BOX 232                                                EAST TAWAS          MI   48730‐0232
SAGINAW BAY SOUTHERN RAILWAY       PO BOX 232                                                                               EAST TAWAS          MI   78730‐0232
SAGINAW BAY SYMPHONY ORCHESTRA     201 N WASHINGTON AVE                                                                     SAGINAW             MI   48607‐1209
SAGINAW BAY UNDERWRITERS           PO BOX 1928                                                                              SAGINAW             MI   48605‐1928
SAGINAW BOARD OF EDUCATION         AVERILL CAREER OPPORT CENTER   550 MILLARD ST                                            SAGINAW             MI   48607‐1140
SAGINAW BOARD OF EDUCATION         550 MILLARD ST                                                                           SAGINAW             MI   48607‐1140
SAGINAW BOARDS & COMMISSIONS       1315 S WASHINGTON AVE                                                                    SAGINAW             MI   48601‐2513
SAGINAW BUILDING MAINTENANCE       1435 S WASHINGTON AVE                                                                    SAGINAW             MI   48601‐2817
SAGINAW BUS CENTER INDIAN TRAILS   511 JOHNSON ST                                                                           SAGINAW             MI   48607‐1216
SAGINAW CENTRAL OIL CO INC         1420 COURT ST                                                                            SAGINAW             MI   48602
SAGINAW CENTRE DEVELOPMENT CO      804 S HAMILTON ST                                                                        SAGINAW             MI   48602‐1516
SAGINAW CHAMBER OF COMMERCE        515 N WASHINGTON 2ND FLOOR                                                               SAGINAW             MI   48607
SAGINAW CHARTER TWP. TREASURER     PO BOX 6400                                                                              SAGINAW             MI   48608‐6400
SAGINAW CHILDRENS ZOO              1730 S WASHINGTON AVE                                                                    SAGINAW             MI   48601‐2876
SAGINAW CITY ASSESSOR              ATTN: LORI BROWN               1315 S WASHINGTON AVE                                     SAGINAW             MI   48601‐2513
SAGINAW CITY ATTORNEY              ATTN: THOMAS FANCHER           1315 S WASHINGTON AVE # 110                               SAGINAW             MI   48601‐2513
SAGINAW CITY BUDGET OFFICE         ATTN: YOLANDA JONES            1315 S WASHINGTON AVE                                     SAGINAW             MI   48601‐2513
SAGINAW CITY CONTROLLER            1315 S WASHINGTON AVE                                                                    SAGINAW             MI   48601‐2513
SAGINAW CITY DATA PROCESSING       ATTN: JAY BEELMAN              1315 S WASHINGTON AVE                                     SAGINAW             MI   48601‐2513
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Name                                Address1                         Address2                      Address3            Address4         City      State Zip
SAGINAW CITY ENGINEERING            ATTN: PHIL KARWAT                1435 S WASHINGTON AVE                                              SAGINAW    MI 48601‐2817
SAGINAW CITY ENVIRONMENTAL          ATTN: WILLIAM G JONES            1435 S WASHINGTON AVE                                              SAGINAW    MI 48601‐2817
SAGINAW CITY FINANCE DEPT           1315 S WASHINGTON AVE                                                                               SAGINAW    MI 48601‐2513
SAGINAW CITY GIS                    ATTN: JEFFREY KLOPCIC            1435 S WASHINGTON AVE                                              SAGINAW    MI 48601‐2817
SAGINAW CITY HALL                   ATTN: WILMER JONES‐HAM           1315 S WASHINGTON AVE                                              SAGINAW    MI 48601‐2599
SAGINAW CITY HALL OFFICES           1315 S WASHINGTON AVE                                                                               SAGINAW    MI 48601‐2513
SAGINAW CITY HOUSING IMPRVMTS       ATTN: ODAIL THORNS               1315 S WASHINGTON AVE                                              SAGINAW    MI 48601‐2513
SAGINAW CITY INCOME TAX             1315 S WASHINGTON AVE                                                                               SAGINAW    MI 48601‐2599
SAGINAW CITY INSPECTIONS DIV        ATTN: JAMES HODGES               1315 S WASHINGTON AVE # 208                                        SAGINAW    MI 48601‐2513
SAGINAW CITY MANAGER                1315 S WASHINGTON AVE                                                                               SAGINAW    MI 48601‐2599
SAGINAW CITY MAYOR                  ATTN: DARNELL EARLEY             1315 S WASHINGTON AVE                                              SAGINAW    MI 48601‐2599
SAGINAW CITY MOTOR EQUIPMENT        ATTN: DON RILEY                  1435 S WASHINGTON AVE                                              SAGINAW    MI 48601‐2817
SAGINAW CITY OFFICE                 408 DEARBORN ST                                                                                     SAGINAW    MI 48602‐1304
SAGINAW CITY PROPERTY TAXES         ATTN: KENNIE KEMPTER             1315 S WASHINGTON AVE                                              SAGINAW    MI 48601‐2513
SAGINAW CITY PUBLIC WORKS           1435 S WASHINGTON AVE                                                                               SAGINAW    MI 48601‐2817
SAGINAW CITY PURCHASING             ATTN: JIM NICHOLS                1315 S WASHINGTON AVE                                              SAGINAW    MI 48601‐2513
SAGINAW CITY RESCUE MISSION         1021 BURT ST                                                                                        SAGINAW    MI 48607‐1744
SAGINAW CITY SITE PLAN REVIEW       1315 S WASHINGTON AVE                                                                               SAGINAW    MI 48601‐2513
SAGINAW CITY TREASURER              ATTN: DALE STATON                1315 S WASHINGTON AVE                                              SAGINAW    MI 48601‐2513
SAGINAW CITY TREASURER
SAGINAW CNTY FOC ACCT OF            T E GATLING SR                   615 COURT ST                                                       SAGINAW   MI 48602‐4250
SAGINAW CONTROL & ENGINEERING INC   95 MIDLAND RD                                                                                       SAGINAW   MI 48638‐5770

SAGINAW COUNTY BUSINESS &          PO BOX 1718                                                                                          SAGINAW   MI 48605‐1718
EDUCATION PARTNERSHIP
SAGINAW COUNTY C.S.E.A.            ACCT OF JAMES J HALL              615 COURT ST                                                       SAGINAW   MI 48602‐4250
SAGINAW COUNTY CHAMBER             515 N WASHINGTON AVE 2ND FL                                                                          SAGINAW   MI 48607
FOUNDATION
SAGINAW COUNTY CHAMBER OF          515 N WASHINGTON 2ND FL                                                                              SAGINAW   MI 48607
COMMERCE
SAGINAW COUNTY DRAIN COMMIISSIONER

SAGINAW COUNTY DRAIN COMMISSIONER COURT HOUSE                                                                                           SAGINAW   MI

SAGINAW COUNTY DSS ACCTG DEPT       ACCOUNT OF THOMAS ANDERSON       PO BOX 5070                   FILE #90‐39519 CZ                    SAGINAW   MI   48605‐5070
SAGINAW COUNTY F O C                ACCT OF STEVEN B GORDEN          615 COUT STREET                                                    SAGINAW   MI   36892
SAGINAW COUNTY FOC                  615 COURT ST                                                                                        SAGINAW   MI   48602‐4250
SAGINAW COUNTY FOC                  ACT T E GATLING                  615 COURT ST                                                       SAGINAW   MI   48602‐4250
SAGINAW COUNTY FOC ACT OF           C G WEST                         615 COURT ST                                                       SAGINAW   MI   48602‐4250
SAGINAW COUNTY FRIEND OF COURT      ACCT OF LAWRENCE E SLAYBAUGH     615 COURT ST                                                       SAGINAW   MI   48602‐4250
SAGINAW COUNTY FRIEND OF COURT      ACCOUNT OF JAMES W WOOLFOLK JR   615 COURT ST                                                       SAGINAW   MI   48602‐4250
SAGINAW COUNTY FRIEND OF COURT      ACCT OF MICHAEL A ANDERSON       615 COURT ST                                                       SAGINAW   MI   48602‐4250
SAGINAW COUNTY FRIEND OF COURT      ACCT OF TERRY C CRESSEY          615 COURT ST                                                       SAGINAW   MI   48602‐4250
SAGINAW COUNTY FRIEND OF COURT      ACCOUNT OF JOHNNY GAYLES         615 COURT ST                                                       SAGINAW   MI   48602‐4250
SAGINAW COUNTY FRIEND OF COURT      ACCOUNT OF BRYANT MURPHY         615 COURT ST                                                       SAGINAW   MI   48602‐4250
SAGINAW COUNTY FRIEND OF COURT      ACCOUNT OF KENT KIMMERLY         615 COURT ST                                                       SAGINAW   MI   48602‐4250
SAGINAW COUNTY FRIEND OF COURT      ACCT OF ADELITA D WOJCIK         615 COURT ST                                                       SAGINAW   MI   48602‐4250
SAGINAW COUNTY FRIEND OF COURT      ACCT OF BRUCE M USIMAKI          615 COURT ST                                                       SAGINAW   MI   48602‐4250
SAGINAW COUNTY FRIEND OF COURT      ACCT OF WAYNE R STEWART          615 COURT ST                                                       SAGINAW   MI   48602‐4250
SAGINAW COUNTY FRIEND OF COURT      ACCT OF JAMES SMITH JR           615 COURT ST                                                       SAGINAW   MI   48602‐4250
SAGINAW COUNTY FRIEND OF COURT      ACCT OF ODIE PRUITT              615 COURT ST                                                       SAGINAW   MI   48602‐4250
SAGINAW COUNTY FRIEND OF COURT      ACCT OF RUDOLPH PAYTON           615 COURT ST                                                       SAGINAW   MI   48602‐4250
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Name                                 Address1                         Address2             Address3                 Address4         City      State Zip
SAGINAW COUNTY FRIEND OF COURT       ACCT OF GARY W ALCORN            615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCOUNT OF MARK GIBBS            615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCOUNT OF SAMUEL CHERWINSKI     615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF DALE A ERDMAN            615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       FOR THE ACCOUNT OF RL MILLER J   615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       FAMILY SUPPORT FOR ACCOUNT OF    615 COURT ST         R GLOVER JR CASE #                        SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF PETER C NAVARRE          615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF JEFFERY CHAMBERS         615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF TERRY G MILLER           615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF ANDERSON POTTS II        615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF DARIUS J PULLIAM         615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF DALE F OBESHAW           615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF ELBERT MCKINNY, JR       615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF GARY M MOTLEY            615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF JOHN H MC CALL           615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF EUGENE L GUSTER JR       615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF JOSEPH A CARTER          615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF MANUEL CARDENAS          615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF PETER A PAVEGLIO         615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF ROBERT L CALHOUN         615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF BERKLEY D BATEMAN        615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       FOR ACCT OF J M CRUZ             COURT HOUSE                                                    SAGINAW    MI 00000
SAGINAW COUNTY FRIEND OF COURT       FOR ACCT OF G A GARCIA           COURT HOUSE                                                    SAGINAW    MI 00000
SAGINAW COUNTY FRIEND OF COURT       FOR ACCT OF R P HOPPE            COURT HOUSE                                                    SAGINAW    MI 37564
SAGINAW COUNTY FRIEND OF COURT       ACCT OF WILBERT LONG JR          615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       FOR ACCT OF G MCKINNEY           COURT HOUSE                                                    SAGINAW    MI 00000
SAGINAW COUNTY FRIEND OF COURT       ACCT OF DENNIS R SCHAACK         615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       FOR ACCT OF F E SHAFFER          COURT HOUSE                                                    SAGINAW    MI 00000
SAGINAW COUNTY FRIEND OF COURT       FOR ACCT OF E D SPYKER           COURT HOUSE                                                    SAGINAW    MI 00000
SAGINAW COUNTY FRIEND OF COURT       ACCT OF GARY GERRISH             615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF WALDEMAR PAETZ III       615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF SHURLY BROWN             615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF HAROLD BRUBAKER          615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF HARVEY KING              615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF THOMAS TAYLOR            615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF ROY BISHOP JR.           615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF RICHARD HARRIS           615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF TIMOTHY J BUSCARINO      615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF WILLARD J POWERS         615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF MARK D KUSHION           615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF DONALD D MILLER          615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF GARY G HAKES             615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF COURT       ACCT OF DANIEL M FAILLA          615 COURT ST                                                   SAGINAW    MI 48602‐4250
SAGINAW COUNTY FRIEND OF THE COURT   FAMILY SUPPORT ACCOUNT O         615 COURT ST         MICHAEL J STAMPER #80‐                    SAGINAW    MI 48602‐4250
                                                                                           01546DM2
SAGINAW COUNTY FRIEND OF THE COURT FOR THE ACCOUNT OF ME              615 COURT ST         MATTER CASE#                              SAGINAW   MI 48602‐4250

SAGINAW COUNTY PUBLIC SAFETY         PO BOX 1864                                                                                     SAGINAW   MI 48605‐1864
SAGINAW COUNTY PUBLIC WORKS          111 S MICHIGAN AVE                                                                              SAGINAW   MI 48602‐2019
COMMISSIONER GOVERNMENTAL CTR
SAGINAW COUNTY TREASURER             1600 N MICHIGAN AVE STE 400                                                                     SAGINAW   MI 48602‐5306
SAGINAW CTY FOC                      ACCT OF PAUL R SCHEMP            615 COURT ST                                                   SAGINAW   MI 48602‐4250
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Name                                Address1                         Address2                Address3       Address4              City       State Zip
SAGINAW CTY FRIEND OF COURT         FOR ACCOUNT OF WR HOOK           615 COURT ST                                                 SAGINAW     MI 48602‐4250
SAGINAW CTY FRIEND OF COURT         ACCOUNT OF JOSEPH STEFANKO       615 COURT ST                                                 SAGINAW     MI 48602‐4250
SAGINAW CTY FRIEND OF COURT         ACCOUNT OF MICHAEL JACKSON       615 COURT ST                                                 SAGINAW     MI 48602‐4250
SAGINAW CTY FRIEND OF COURT         ACCOUNT OF HUGH CRUMPTON         615 COURT ST                                                 SAGINAW     MI 48602‐4250
SAGINAW CTY FRIEND OF COURT         ACCT OF WAYNE M AUSTIN           615 COURT ST                                                 SAGINAW     MI 48602‐4250
SAGINAW CTY FRIEND OF COURT FO      ACCOUNT OF DALLAS SUTLIFF CASE   615 COURT ST                                                 SAGINAW     MI 48602‐4250
SAGINAW CTY FRIEND OF THE CT        FOR ACCT OF K D MCKINNON         615 COURT ST                                                 SAGINAW     MI 48602‐4250
SAGINAW CTY FRIEND OF THE CT        FOR ACCT OF F J JUILLETT         615 COURT ST                                                 SAGINAW     MI 48602‐4250
SAGINAW CTY FRIEND OF THE CT        ACCT OF MICHAEL U RUMP           615 COURT ST                                                 SAGINAW     MI 48602‐4250
SAGINAW CTY FRIEND OF THE CT        ACCT OF DAVID ALLEN SMITH        615 COURT ST                                                 SAGINAW     MI 48602‐4250
SAGINAW CTY VETERANS MEMORIAL       PO BOX 1382                                                                                   SAGINAW     MI 48605‐1382
SAGINAW DIVISION ‐ ACG ACCOUNTS     31 JUDSON ‐ MAIL CODE 3105‐04                                                                 PONTIAC     MI 48343
PAYABLE
SAGINAW EAST SIDE SOUP KITCHEN      PO BOX 330                                                                                    SAGINAW    MI   48606‐0330
SAGINAW ECONOMIC DEV OFFICE         1315 S WASHINGTON AVE                                                                         SAGINAW    MI   48601‐2513
SAGINAW FRIEND OF COURT             ACCT OF DONALD M GRIFFIN         615 COURT ST                                                 SAGINAW    MI   48602‐4250
SAGINAW FUTURE INC                  515 N WASHINGTON AVENUE          3RD FLOOR                                                    SAGINAW    MI   48607
SAGINAW GENERAL HOSPITAL            ACCT OF BERLETA BRANNON
SAGINAW GREY IRON PLANT             ATTN: GENERAL COUNSEL            1601 N 6TH AVE                                               SAGINAW    MI   48601‐1116
SAGINAW GRILL                       29 N SAGINAW ST                                                                               PONTIAC    MI   48342‐2111
SAGINAW HABITAT FOR HUMANITY        315 W HOLLAND AVE                                                                             SAGINAW    MI   48602‐4356
SAGINAW HEAT TREATING LLC           2240 VETERANS MEMORIAL PKWY                                                                   SAGINAW    MI   48601‐1268
SAGINAW HOUSING IMPROVEMENTS        ATTN: JAMES HODGES               1315 S WASHINGTON AVE                                        SAGINAW    MI   48601‐2513
SAGINAW INTERNATIONAL               MAGHOGANY MODELS                 PO BOX 1255                                                  SAGINAW    MI   48606‐1255
SAGINAW LLC                         DBA SAGINAW HEAT TREATING LLC    60 STECKLE PLACE                       KITCHENER CANADA ON
                                                                                                            N2G 4W6 CANADA
SAGINAW LLC                         2240 VETERANS MEMORIAL PKWY                                                                   SAGINAW    MI   48601‐1268
SAGINAW MACHINE SYSTEMS INC         800 N HAMILTON ST                                                                             SAGINAW    MI   48602‐4354
SAGINAW MACHINE SYSTEMS INC         800 N HAMILTON ST                ADD CHANGE 10/22/93                                          SAGINAW    MI   48602‐4354
SAGINAW MARINA INC                  ATTN: MELVIN TURNER              101 LEE ST                                                   SAGINAW    MI   48602‐1493
SAGINAW MEDICAL SERVICE INC         3960 TITTABAWASSEE RD                                                                         SAGINAW    MI   48604‐9429
SAGINAW METAL CASTING OPERATIONS    1629 N WASHINGTON AVE                                                                         SAGINAW    MI   48601‐1211

SAGINAW METAL CASTINGS OPERATIONS   1629 N WASHINGTON AVE                                                                         SAGINAW    MI 48601‐1211

SAGINAW METAL OPERATIONS            1190 KENNESTONE CIR STE 100                                                                   MARIETTA   GA   30066‐6019
SAGINAW NEWS                        203 S WASHINGTON AVE                                                                          SAGINAW    MI   48607‐1244
SAGINAW PATTERN & MACHINE INC       1662 PIERCE RD                                                                                SAGINAW    MI   48604‐9729
SAGINAW PERSONNEL DEPT              ATTN: BETH CHURCH                1315 S WASHINGTON AVE                                        SAGINAW    MI   48601‐2513
SAGINAW PLANNING COMMISSION         ATTN: ODAIL THORNS               1315 S WASHINGTON AVE                                        SAGINAW    MI   48601‐2513
SAGINAW POWDER COATING INC          1014 HESS AVE                                                                                 SAGINAW    MI   48601‐3729
SAGINAW POWERTRAIN INC              721 WASHINGTON AVE               STE 411                                                      BAY CITY   MI   48708‐5726
SAGINAW PSYCH SVC                   2100 HEMMETER RD                                                                              SAGINAW    MI   48603‐3944
SAGINAW PT & REHAB S                4450 FASHION SQUARE BLVD                                                                      SAGINAW    MI   48603‐1251
SAGINAW PUBLIC SVC ADM              ATTN: TOM DARNELL                1435 S WASHINGTON AVE                                        SAGINAW    MI   48601‐2817
SAGINAW RIVER QUALITY PROJECT       1505 OTTAWA BLVD                                                                              SAGINAW    MI   48602‐2654
SAGINAW SPIRIT                      C/O DAN WEIGL                    5789 STATE ST STE 2                                          SAGINAW    MI   48603‐3581
SAGINAW SPIRIT                      5789 STATE ST STE 2                                                                           SAGINAW    MI   48603‐3581
SAGINAW STREET MAINTENANCE          ATTN: JOHN PREMO                 1435 S WASHINGTON AVE                                        SAGINAW    MI   48601‐2817
SAGINAW SUPPLY CORPORATION          3054 E HOLLAND RD                                                                             SAGINAW    MI   48601‐6623
SAGINAW UNDERWRITERS REALTY CO      ATTN: JAMES KESSELER             1258 S WASHINGTON AVE                                        SAGINAW    MI   48601‐2509
SAGINAW VALLEY BONE                 5483 GRATIOT RD                                                                               SAGINAW    MI   48638‐6037
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Name                               Address1                        Address2                          Address3      Address4                  City                State Zip
SAGINAW VALLEY MANUFACTURERS       7400 BAY RD                                                                                               UNIVERSITY CENTER    MI 48710‐0001
ASSOCIATION
SAGINAW VALLEY NAVAL SHIP MUSEUM   3727 WILDER RD STE B                                                                                      BAY CITY            MI 48706‐2367
ANNUAL CRUISE
SAGINAW VALLEY NEURO               4677 TOWNE CENTER                                                                                         SAGINAW             MI   48604
SAGINAW VALLEY SPORT               3901 BAY RD                                                                                               SAGINAW             MI   48603‐2438
SAGINAW VALLEY STATE               UNIVERSITY CONTROLLER           7400 BAY RD                                                               UNIVERSITY CENTER   MI   48710‐0001
SAGINAW VALLEY STATE UNIV          BUS AND INDUST DEV INSTITUTE    7400 BAY RD                                                               UNIVERSITY CENTER   MI   48710‐0001
SAGINAW VALLEY STATE UNIV          C/O CASHIERS CONTROLLERS        OFFICE                            7400 BAY RD                             UNIVERSITY CENTER   MI   48710‐0001
SAGINAW VALLEY STATE UNIV OCE OF   ATTN GLORIA WAGENER             7400 BAY RD                                                               UNIVERSITY CENTER   MI   48710‐0001
SVSU
SAGINAW VALLEY STATE UNIVERSITY    166 WICKES HALL                 7400 BAY RDUPDATE 11/9/06 AM                                              SAGINAW             MI
SAGINAW WATER & SEWER MNTNC        ATTN: JOHN W PREMO              1701 S JEFFERSON AVE                                                      SAGINAW             MI 48601‐2849
SAGINAW, MI                        1315 S WASHINGTON AVE                                                                                     SAGINAW             MI 48601‐2513
SAGLE JOHN W (429750)              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                               NORFOLK             VA 23510
                                                                   STREET, SUITE 600
SAGLE, DANIEL N                    5727 W KENT RD                                                                                            SAINT LOUIS         MI 48880‐9600
SAGLE, JOHN W                      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                               NORFOLK             VA 23510‐2212
                                                                   STREET, SUITE 600
SAGMILLER, DEBORAH K               1555 TEMESCAL AVE                                                                                         NORCO               CA 92860‐3054
SAGNELLI, SHARON L                 8395 CAROLE LN                                                                                            FENTON              MI 48430‐9506
SAGNERI, JOSEPH F                  225 FAIRMOUNT AVE                                                                                         LIVERPOOL           NY 13088‐6455
SAGO KEVIN                         SAGO, KEVIN                     17295 CHESTERFIELD AIRPORT ROAD
                                                                   SUITE 200 CHESTERFIELD, MO

SAGO KEVIN                         SAGO, TAMMY                     17295 CHESTERFIELD AIRPORT ROAD
                                                                   SUITE 200 CHESTERFIELD, MO

SAGO, DELMER R                     58 SHILOH RD                                                                                              POCAHONTAS          AR   72455‐1242
SAGODIC, DOROTHY                   348 MONROE ST                                                                                             ALLEGAN             MI   49010‐1219
SAGODIC, MARY                      5615 S OAK PARK AVE                                                                                       CHICAGO             IL   60638‐3227
SAGRAVES CLARENCE JR (658449)      HUMPHREYS JAMES F               BANK ONE PLAZA STE 1113 , 707                                             CHARLESTON          WV   25301
                                                                   VIRGINIA ST E
SAGRAVES, BETTY J                  415 S MURRAY HILL RD                                                                                      COLUMBUS            OH 43228‐1949
SAGRAVES, CLARENCE                 HUMPHREYS JAMES F               BANK ONE PLAZA STE 1113, 707                                              CHARLESTON          WV 25301
                                                                   VIRGINIA ST E
SAGRAVES, ELIZABETH H              4230 WOODBINE AVE                                                                                         DAYTON              OH   45420‐2752
SAGRAVES, JAMES L                  1991 CROSSWIND COURT                                                                                      ENGLEWOOD           OH   45322‐2232
SAGRAVES, JESTINE D                1991 CROSSWIND COURT                                                                                      ENGLEWOOD           OH   45322‐2232
SAGRAVES, KASEY N                  6341 WELLINGTON PL                                                                                        DAYTON              OH   45424‐4859
SAGRAVES, MINNIE R                 45 EASTWOOD HTS                                                                                           MOREHEAD            KY   40351‐9072
SAGRAVES, MINNIE R                 45 EASTWOOD HEIGHTS                                                                                       MOREHEAD            KY   40351‐9017
SAGRAVES, RICHARD R                213 MADONNA LN                                                                                            FLEMINGSBURG        KY   41041‐7904
SAGRAVES, WAYNE H                  4014 APACHE TR                                                                                            JAMESTOWN           OH   45335‐5335
SAGRAVES, WAYNE H                  4014 APACHE TRL                                                                                           JAMESTOWN           OH   45335‐1308
SAGRAVES, WILLIAM J                4230 WOODBINE AVE.                                                                                        DAYTON              OH   45420‐2752
SAGREDO, JESUS H                   6125 VAN DYKE RD                                                                                          BROWN CITY          MI   48416‐9301
SAGRIPANTI STEFANO                 UMBRIA 61                                                                       63018 PORTO SANTELPIDIO
                                                                                                                   (FM) ITALY
SAGRIPANTI STEFANO                 VIA UMBRIA 61                                                                   63018 PORTO SANTELPIDIO
                                                                                                                   (FM) ITALY
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Name                              Address1                          Address2                            Address3               Address4                City                State Zip
SAGUN JOHN (ESTATE OF) (489220)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD           OH 44067
                                                                    PROFESSIONAL BLDG
SAGY, JOSEPH T                    1109 S GENEVA DR                                                                                                     DEWITT              MI   48820‐9537
SAH, JY‐JEN F                     1915 BLOOMFIELD OAKS DR                                                                                              WEST BLOOMFIELD     MI   48324‐4013
SAH, JY‐JEN FRANK                 1915 BLOOMFIELD OAKS DR                                                                                              WEST BLOOMFIELD     MI   48324‐4013
SAHA, MADALASA                    32509 HAVERFORD RD                                                                                                   FRANKLIN            MI   48025‐1613
SAHAGUN, TRINIDAD                 44658 FOXBORO CT                                                                                                     LANCASTER           CA   93535‐3475
SAHAI TUHIN                       APT 2‐21A                         100 MEMORIAL DRIVE                                                                 CAMBRIDGE           MA   02142‐1326
SAHAJ, ELEANORE                   1587 RAMAPO WAY                                                                                                      SCOTCH PLAINS       NJ   07076‐2315
SAHAJDACK JR, JOHN                10965 HILLMAN ROAD                                                                                                   LAKEVIEW            MI   48850‐9125
SAHAKIAN, ALICE                   4428 CICOTTE                                                                                                         DETROIT             MI   48210‐2489
SAHAKIAN, LUCY                    19972 BRENTWOOD ST                                                                                                   LIVONIA             MI   48152‐2011
SAHAKIAN, STEPAN                  19972 BRENTWOOD ST                                                                                                   LIVONIA             MI   48152‐2011
SAHAR INDUSTRIES                  1628 W 139TH ST                                                                                                      GARDENA             CA   90249‐3003
SAHARA, CHE                       3234 STATE ROUTE 13                                                                                                  MANSFIELD           OH   44904‐9395
SAHARAN, VIJAY P                  5551 WOODFIELD PKWY                                                                                                  GRAND BLANC         MI   48439‐9423
SAHAYDAK, NOREEN M                535 97TH AVE N                                                                                                       NAPLES              FL   34108‐2286
SAHHAR, NICOLA A                  13215 S LAKESHORE DR                                                                                                 OLATHE              KS   66061‐5008
SAHHAR, NICOLA A.                 13215 S LAKESHORE DR                                                                                                 OLATHE              KS   66061‐5008
SAHIE, M T                        10118 GROTRIAN RD                                                                                                    MONROEVILLE         IN   46773‐9580
SAHINKAYA SIDKI                   K─THE‐DORSCH‐RING 20                                                                         12353 BERLIN GERMANY
SAHL SADEGHI
SAHL, EMMA L.                     60 WREXHAM CT N                                                                                                      TONAWANDA           NY   14150‐8906
SAHL, EMMA L.                     60 NO WREXHAM CT                                                                                                     TONAWANDA           NY   14150‐8906
SAHL, ERIC E                      4012 CRESCENT DR                                                                                                     N TONAWANDA         NY   14120‐1365
SAHLANEY, DAVID M                 14614 FINA DR                                                                                                        WARREN              MI   48088‐3374
SAHLI ERVIN F (472156)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK             VA   23510
                                                                    STREET, SUITE 600
SAHLI, ERVIN F                    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK             VA 23510‐2212
                                                                    STREET, SUITE 600
SAHLI, HOWARD L                   418 COLUMBIA AVE                                                                                                     NEWTON FALLS        OH 44444‐1403
SAHLKE, MILANDA                   1425 S BYRON RD                                                                                                      LENNON              MI 48449‐9621
SAHLSTROM ROBERT E                LYNNE KIZIS, ESQ                  WILENTZ, GOLDMAN, AND SPITZER       90 WOODBRIDGE CENTER                           WOODBRIDGE          NJ 07095
                                                                                                        DRIVE
SAHLSTROM, ROBERT E               WILENTZ GOLDMAN & SPITZER         88 PINE STREET, WALL STREET PLAZA                                                  NEW YORK            NY 10005

SAHM, WILLIAM C                   3137 ENCLAVE CT                                                                                                      KOKOMO              IN 46902‐8128
SAHMEL, LUTZ P                    55 JEFREELIND DR                                                                                                     ROCHESTER           NY 14616‐2033
SAHNEY, SONIA K                   4802 PANORAMA CIR                                                                                                    WEST BLOOMFIELD     MI 48323‐2475
SAHNGHAI AUTOMOTIVE INDUSTRY      2119 ZHANG YANG ROAD                                                                         PUDONG SHANGHAI CHINA
CORPORATION (GROUP)                                                                                                            (PEOPLE'S REP)
SAHNGHAI GENERAL MOTORS           10TH FLOOR, JINMAO TOWER          88, CENTURY AVENUE                                         PUDONG SHANGHAI CHINA
CORPORATION LIMITED                                                                                                            (PEOPLE'S REP)
SAHOL, JAMES T                    1309 WALL AVE                                                                                                        BURLINGTON          NJ   08016‐4617
SAHOSKI, MARK                     22195 ROUGEMONT DR                                                                                                   SOUTHFIELD          MI   48033‐5959
SAHOURI                           1020 CHARTER DRIVE                                                                                                   FLINT               MI   48532
SAHOURI, RAED                     9225 ROLSTON RD                                                                                                      GAINES              MI   48436‐9734
SAHR, ARLENE J                    5366 MULBERRY LN                                                                                                     SHEFFIELD VILLAGE   OH   44035‐1475
SAHR, GENE N                      635 W RANSOM ST                                                                                                      KALAMAZOO           MI   49007‐3311
SAHR, LARRY C                     PO BOX 584                                                                                                           BRIDGEPORT          MI   48722‐0584
SAHR, LOUIS E                     2716 CORAL DR                                                                                                        TROY                MI   48085‐3908
SAHR, ROSEMARY                    121 EDGEWATER DR NW                                                                                                  CONCORD             NC   28027‐6502
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Name                                  Address1                         Address2                       Address3   Address4                 City               State Zip
SAHR, WAYNE R                         927 N BLOCK RD                                                                                      REESE               MI 48757‐9355
SAHRLE, QUENTIN L                     51 JEWELBERRY DR                                                                                    WEBSTER             NY 14580‐2479
SAHS ROGER                            7952 164TH CT                                                                                       TINLEY PARK          IL 60477‐1473
SAHTS LAW FIRM                        811 BARTON SPRINGS RD.           STE. 250                                                           AUSTIN              TX 78704‐1153
SAHUL, STEVE L                        7146 W PARKVIEW DR                                                                                  PARMA               OH 44134‐4759
SAHUTSKE, CLAUDIA J                   35329 WAGNER DR                                                                                     CLINTON TWP         MI 48035‐2274
SAHUTSKE, PHILIP J                    15035 COVINGTON DR                                                                                  SHELBY TOWNSHIP     MI 48315‐2113
SAHWANY, GIRYES T                     915 W MESQUITE ST                                                                                   GILBERT             AZ 85233‐6238
SAHWANY, TONY                         PO BOX 90241                                                                                        BURTON              MI 48509‐0241
SAI AUTOMOTIVE USA INC                DBA FAURECIA INTERIOR SYSTEMS    101 INTERNATIONAL BLVD                                             FOUNTAIN INN        SC 29644‐7033
SAI AUTOMOTIVE USA INC                101 INTERNATIONAL BLVD                                                                              FOUNTAIN INN        SC 29644‐7033
SAI BROKEN ARROW C, LLC               B. SCOTT SMITH                   2301 N ASPEN AVE                                                   BROKEN ARROW        OK 74012‐1182
SAI CHANDRAN, SWAROOP                 1716 TRAILS END LN                                                                                  BOLINGBROOK          IL 60490‐3294
SAI DIWAKAR                           5986 DONALDSON DR                                                                                   TROY                MI 48085‐3145
SAI GLOBAL US HOLDINGS INC            101 MORGAN LN STE 301                                                                               PLAINSBORO          NJ 08536‐3345
SAI GOPISETTY                         24749 BASHIAN DR                                                                                    NOVI                MI 48375‐2941
SAI MONTGOMERY BCH, LLC               B. SCOTT SMITH                   833 EASTERN BLVD                                                   MONTGOMERY          AL 36117‐1914
SAI MONTGOMERY CH, LLC                B. SCOTT SMITH                   711 EASTERN BLVD                                                   MONTGOMERY          AL 36117‐1912
SAI NASHVILLE CSH, LLC                B. SCOTT SMITH                   2121 ROSA L PARKS BLVD                                             NASHVILLE           TN 37228‐1507
SAI OKLAHOMA CITY C, LLC              B. SCOTT SMITH                   5000 W RENO AVE                                                    OKLAHOMA CITY       OK 73127‐6326
SAI ORLANDO CS, LLC                   B. SCOTT SMITH                   4241 N JOHN YOUNG PKWY                                             ORLANDO             FL 32804
SAI ORLANDO CS, LLC                   B. SCOTT SMITH                   8819 S ORANGE BLOSSOM TRL                                          ORLANDO             FL 32809‐7913
SAI RAJAGOPALAN                       34430 COASTAL DR                                                                                    STERLING HEIGHTS    MI 48310‐5565
SAI RIVERSIDE C, LLC                  B. SCOTT SMITH                   707 W 51ST ST                                                      TULSA               OK 74107‐8317
SAI/1301 W LONGLAKE                   1301 W LONGLAKE ROAD                                                                                TROY                MI 48098
SAIA BURGESS AUTOMOTIVE INC           GUS TORRES                       303 GREGSON DRIVE                                                  NEW HAVEN           MI
SAIA BURGESS ELECTRONICS LIMITED      DUKESWAY TEAM VALLEY TRADING     ESTATE GATESHEAD TYNE & WEAR              NE11 0UB ENGLAND GREAT
                                                                                                                 BRITAIN
SAIA BURGESS/GATESHE                  DUKESWAY TEAM VALLEY TRAD EST                                              GATESHEAD TYNE NE11
                                                                                                                 OUB GERMANY
SAIA MOTOR FREIGHT                    3301 ANDOVER ST                                                                                     JEFFERSON          LA    70121‐1907
SAIA MOTOR FREIGHT                    ATTN: MIKE DUREL ‐ PURCH MGR                                                                        JEFFERSON          LA    70121
SAIA MOTOR FREIGHT LINE INC           11465 JOHNS CREEK PKWY STE 400                                                                      DULUTH             GA    30097‐1572
SAIA RICHARD                          PO BOX 34020                                                                                        CHICAGO            IL    60634‐0020
SAIA, ANTHONY R                       28911 EMERALD KEY CT                                                                                MENIFEE            CA    92584‐7704
SAIA, BERTHA M                        54 ASHBURY CT                                                                                       EAST AMHERST       NY    14051‐2260
SAIA, JOSEPH                          338 HARRISON ST                                                                                     BRISTOL            PA    19007
SAIA, STEVE R                         46460 STRATHMORE CT                                                                                 PLYMOUTH           MI    48170‐3488
SAIA‐BURGESS AUTOMOTIVE ACTUATORS     755 BILL JONES INDUSTRIAL DR     FRMLY CEI CO LTD                                                   SPRINGFIELD        TN    37172‐5014

SAIA‐BURGESS AUTOMOTIVE INC           755 BILL JONES INDUSTRIAL DR                                                                        SPRINGFIELD        TN 37172‐5014
SAIA‐BURGESS ELECTRONICS              GLEN GHERKE                      1335 BARCLAY BOULEVARD                                             WARREN             MI 48089
SAIA‐BURGESS ELECTRONICS              GLEN GHERKE                      1335 BARCLAY BLVD                                                  BUFFALO GROVE      IL 60089‐4501
SAIA‐BURGESS ELECTRONICS HOLDING AG   BAHNHOFSTRASSE 18                                                          MURTEN 3280
                                                                                                                 SWITZERLAND
SAIA‐BURGESS ELECTRONICS HOLDING AG GLEN GHERKE                        1335 BARCLAY BLVD                                                  BUFFALO GROVE       IL   60089‐4501

SAIA‐BURGESS ELECTRONICS HOLDING AG GLEN GHERKE                        1335 BARCLAY BOULEVARD                                             WARREN              MI 48089

SAIA‐BURGESS ELECTRONICS HOLDING AG GUS TORRES                         303 GREGSON DRIVE                                                  NEW HAVEN           MI
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SAIA‐BURGESS ELECTRONICS HOLDING AG GUS TORRES                            DUKESWAY TEAM VALLEY TRAD EST                            GATESHEAD TYNE WEAR
                                                                                                                                   GREAT BRITAIN
SAIA‐BURGESS ELECTRONICS HOLDING AG TRACY REDFERN                         JNT VNTUR CALSONIC & DELCO        2405 A INDUSTRIAL DR                             EL PASO         TX   79936

SAIA‐BURGESS ELECTRONICS LTD         GUS TORRES                           DUKESWAY TEAM VALLEY TRAD EST                            GATESHEAD TYNE WEAR
                                                                                                                                   GREAT BRITAIN
SAIA‐BURGESS GUANGZHOU LTD           GUS TORRES                           4/F WEST 9 DONGJIANG RIVER AVE                           PENZBERG 82377
                                                                                                                                   GERMANY
SAIA‐BURGESS NORTH AMERICA        LEDEX PRODUCTS                          PO BOX 427                        801 SCHOLZ DR                                    VANDALIA       OH 45377‐0427
SAIA/CARY                         755 BILL JONES INDUSTRIAL DR                                                                                               SPRINGFIELD    TN 37172‐3014
SAIA/VANDALIA                     801 SCHOLZ DR                           PO BOX 427                                                                         VANDALIA       OH 45377‐3121
SAIC GM WULING AUTOMOBILE COMPANY 18 HEXI RD., LIUZHOU CITY, GUANGXI                                                               CHINA (PEOPLE'S REP)
LIMITED                           ZHUANG AUTONOMOUS REGION, CHINA

SAIC GM WULING AUTOMOBILE CO L       18 HEXI RD                                                                                    LIUZHOU GUANGXI CN
                                                                                                                                   545007 CHINA (PEOPLE'S
                                                                                                                                   REP)
SAIC GM WULING AUTOMOBILE CO LTD     # 18 HEXI ROAD                                                                                LIUZHOU, GUANGXIPR
                                                                                                                                   ZHUANG CHINA
SAIC GM WULING AUTOMOBILE CO LTD                                                                                                   CHINA
SAIC GM WULING AUTOMOBILE CO LTD     #18 HEXI ROAD                         LIUNAN LIUZHOU GUANGXI                                  GUANGXI CHINA
SAIC GM WULING AUTOMOBILE CO. LTD    S. LIU FORMAL CONTRACT NOT YET SIGNED 18 HEXI RD.                                             LIUZHHOU, GUANGXI, P.R.
                                                                                                                                   CHINA (PEOPLE'S REP)
SAIC GM WULING AUTOMOBILE CO. LTD.   DIRECTOR OF FINANCE                  NO. 18 HEXI ROAD LIUZHOU          GUANGXI ZHUANG         545007, CHINA
                                                                                                            AUTONOMOUS REGION
SAIC GM WULING AUTOMOBILE CO. LTD.   PRESIDENT                            NO. 18 HEXI ROAD LIUZHOU          GUANGXI ZHUANG         545007, CHINA
                                                                                                            AUTONOMOUS REGION
SAIC GM WULING AUTOMOBILE COMPANY 18 HEXI RD., LIUZHOU CITY, GUANGXI                                                               CHINA (PEOPLE'S REP)
LIMITED                           ZHUANG AUTONOMOUS REGION, CHINA

SAIC GM WULING AUTOMOBILE COMPANY 18 HEXI RD.                                                                                      LIUZHOU CITY GUANGXI
LIMITED                                                                                                                            ZHUANG AUTONOMOUS
                                                                                                                                   REGION CHINA (PEOPLE'S
                                                                                                                                   REP)
SAIC INC                             1250 N PONTIAC TRL                                                                                                      WALLED LAKE     MI 48390‐3139
SAIC MOTOR CORPORATION LIMITED       2119 ZHANG YANG ROAD                                                                          PUDONG SHANGHAI CHINA
                                                                                                                                   (PEOPLE'S REP)
SAIC MOTOR CORPORATION LIMITED       25 BIBO ROAD                         ZHANGJIANG HI TECH PARK                                  SHANGHAI CHINA
                                                                                                                                   (PEOPLE'S REP)
SAIC MOTOR CORPORATION LIMITED       2119 ZHANG YANG ROAD                                                                          PUDONG SHANGHAI CHINA
TECHNOLOGY CENTER                                                                                                                  (PEOPLE'S REP)
SAIC MOTOR CORPORATION LTD           PRESIDENT                            NO. 390 WU KANGROAD                                      SHANGHAI, CHINA, 200031
SAIC MOTOR CORPORATION LTD,          PRESIDENT                            SAIC & SAC: NO. 390 WU KANGROAD                          SHANGHAI, CHINA, 200031
SHANGHAI AUTOMOTIVE INDUSTRY
COMPANY LTD,
SAIC USA INC                         1301 W LONG LAKE RD STE 190                                                                                             TROY            MI   48098‐6336
SAID SROUR                           3935 WESTPOINT ST                                                                                                       DEARBORN HTS    MI   48125‐2124
SAID WAHED                           2100 ELLEN DR                                                                                                           MERRICK         NY   11566‐5406
SAID, FANDA YAHYA                    2645 HOLLY ST                                                                                                           DEARBORN        MI   48120‐1532
SAID, HAITHAM O                      8102 SPRINGWATER DR                                                                                                     YPSILANTI       MI   48197‐6004
SAID, JOSEF
SAID, LINDA M                        7555 N BEACON CT                                                                                                        CANTON          MI 48187‐2365
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SAID, ROSE M               7135 CRONIN DR                                                                                DEARBORN HEIGHTS    MI 48127‐1990
SAID, SAVIOUR              4620 51ST ST                                                                                  DETROIT             MI 48210‐2725
SAID, STELLA A             2135 RUTH AVE                                                                                 LINCOLN PARK        MI 48146‐1251
SAID, VALERIE M            39754 DUN ROVIN DR                                                                            NORTHVILLE          MI 48168‐3478
SAID, WANDA N              2876 S 600 W                                                                                  MARION              IN 46953‐9769
SAIDA STAR AUTO            88, BD. LALLA YACOUT                                                   CASABLANCA MOROCCO
SAIDAH GOODLOW             1193 HARBOUR COVE CT                                                                          SPARKS             NV   89434
SAIDLA, DONALD             26896 60TH AVE                                                                                MATTAWAN           MI   49071‐9511
SAIDOO, DENICE J           9081 E QUAIL RUN DR                                                                           BYRON              MI   48418‐8738
SAIDOO, DENICE JOANN       9081 E QUAIL RUN DR                                                                           BYRON              MI   48418‐8738
SAIDOO, JOEL P             2219 THISTLEWOOD DR                                                                           BURTON             MI   48509‐1241
SAIDOO, JOEL PAUL          2219 THISTLEWOOD DR                                                                           BURTON             MI   48509‐1241
SAIDOO, NICHOLAS           314 W 2ND AVE                                                                                 FLINT              MI   48503‐2512
SAIDOO, NICHOLAS           314 W SECOND AVE                                                                              FLINT              MI   48503‐2512
SAIDOO, PAUL M             9081 E QUAIL RUN DR                                                                           BYRON              MI   48418‐8738
SAIDOO, PAUL MASON         9081 E QUAIL RUN DR                                                                           BYRON              MI   48418‐8738
SAIED ABBASSPOUR           2259 E GRAND BLANC RD                                                                         GRAND BLANC        MI   48439‐8113
SAIELLI ERIO               VIALE EUROPA 34                                                        41020 RIOLUNATO (MO)
                                                                                                  ITALY
SAIENNI, ORLANDO A         303 PENNEWILL DR                                                                              NEW CASTLE         DE   19720‐1811
SAIENNI, ORLANDO ANTHONY   303 PENNEWILL DR                                                                              NEW CASTLE         DE   19720‐1811
SAIEVA, JAMIE              37 VINCE DR                                                                                   ROCHESTER          NY   14606‐3411
SAIEVA, JOSEPH             37 VINCE DR                                                                                   ROCHESTER          NY   14606‐3411
SAIEVA, MARGHERITA         25 KENCREST DR                                                                                ROCHESTER          NY   14606‐5845
SAIEVA, VINCENZO           96 ROSSMORE ST                                                                                ROCHESTER          NY   14606‐5518
SAIF, SABRI A              4012 GRAND AVE                                                                                MIDDLETOWN         OH   45044‐6126
SAIF, SABRI A              12546 PACIFIC AVE APT 5                                                                       LOS ANGELES        CA   90066‐4321
SAIFULLAH, A.K.M           528 E SOUTH BLVD                                                                              TROY               MI   48085‐1203
SAIFULLAH, A.K.M.          528 E SOUTH BLVD                                                                              TROY               MI   48085‐1203
SAIGAL, RAJ                90 KIRKSTONE PASS                                                                             ROCHESTER          NY   14626‐1743
SAIGAL, REKHA              4710 VILLAGE DR                                                                               SAGINAW            MI   48638‐6229
SAIGAL, VED B              13021 CAVENDISH COURT                                                                         FORT WAYNE         IN   46845‐2341
SAIGAL, VIRENDER K         11468 SW 138TH LN                                                                             DUNNELLON          FL   34432‐8743
SAIGARAGE S.P.A.           VIA PRINCIPE EUGENIO, 3                                                MILANO ITALY
SAIGEON RENNIE             5953 TRILLIUM TRL                                                                             WHITE LAKE         MI   48383‐4012
SAIGEON, E                 19369 LOUISVILLE RD                                                                           PARK CITY          KY   42160
SAIGEON, RENNIE M          5953 TRILLIUM TRL                                                                             WHITE LAKE         MI   48383‐4012
SAIGH JR, GEORGE J         21711 BOURNEMOUTH ST                                                                          HARPER WOODS       MI   48225‐2331
SAIGUN ISUZU MOTORS LTD.   2570, OAZA SAYADAKUMAGAYA                                              SAPPORO JAPAN
SAIKI, SCOTT J             419 W RED PINE CIR                                                                            DOUSMAN            WI   53118‐8820
SAIKISHORE NISANKARARAO    1690 ARCADIAN DR                                                                              ROCHESTER HILLS    MI   48307‐3587
SAILAJA PALADUGU           24939 BLOOMFIELD CT                                                                           NOVI               MI   48375‐5704
SAILAN, MOHAMED A          2782 ROULO ST                                                                                 DEARBORN           MI   48120‐1545
SAILAN, MOHAMED A.         2782 ROULO ST                                                                                 DEARBORN           MI   48120‐1545
SAILANI, AHMED A           10041 LAPEER ST                                                                               DEARBORN           MI   48120‐1539
SAILAS, EVELYN             1720 CAROLINE AVE                                                                             FORT LUPTON        CO   80621‐7802
SAILER MARY                PO BOX 228                                                                                    FLORISSANT         CO   80816‐0228
SAILER SR, LEO F           12300 SEMINOLE BLVD                                                                           LARGO              FL   33778
SAILER, ARLENE M           455 GLENROSE ST                                                                               VANDALIA           OH   45377‐3210
SAILER, ARLENE M           455 GLENROSE                                                                                  VANDALIA           OH   45377‐3210
SAILER, BEVERLEY J         303 SANGAMON ST.                                                                              PARK FOREST        IL   60466
SAILER, ELMER J            14 GIL LN                                                                                     DEPEW              NY   14043‐1806
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SAILER, GEORGE E                 3254 PLEASANT DR                                                                              TEMPERANCE        MI 48182‐9431
SAILER, HANS J                   119 LAKEWOOD DR                                                                               WILLIAMSBURG      VA 23185‐3176
SAILER, LUDWIG V                 114 WHEATON PL                                                                                RUTHERFORD        NJ 07070‐2742
SAILER, MARILYN A                102 DELAINA ROSE CIR                                                                          BROCKPORT         NY 14420‐9341
SAILER, RENATE                   535 W DAVISON LAKE RD                                                                         OXFORD            MI 48371‐1526
SAILER, RENATE                   535 WEST DAVISON LAKE ROAD                                                                    OXFORD            MI 48371‐1526
SAILES, BRADLEY J                3110 WINDSOR RD                                                                               WILLIAMSFIELD     OH 44093‐8739
SAILES, DOREE D                  810 RALEIGH RD                                                                                ANDERSON          IN 46012‐2644
SAILES, KIMBERLY D               810 RALEIGH RD                                                                                ANDERSON          IN 46012‐2644
SAILES, RALPH S                  PO BOX 3194                                                                                   ANDERSON          IN 46018‐3194
SAILESH RAJANI                   23116 CASS AVE                                                                                FARMINGTON        MI 48335‐4116
SAILING, RUSSEL M                12 W TURKEY PAW TRL                                                                           HENDERSONVILLE    NC 28739‐9606
SAILOR, CLIFFORD T               21650 S 1551 RD                                                                               STOCKTON          MO 65785‐8497
SAILORS, GULUMSER A              PO BOX 542872                                                                                 DALLAS            TX 75354‐2872
SAILRAIL AUTOMATED SYSTEM INC    3200 14TH AVE UNIT 6                                                     MARKHAM ON L3R 0H8
                                                                                                          CANADA
SAILRAIL AUTOMATED SYSTEMS
SAILRAIL AUTOMATED SYSTEMS INC   6 3200 14TH AVE                                                          MARKHAM CANADA ON
                                                                                                          L3R 0H8 CANADA
SAILS, LINDA                     12373 GRIGGS                                                                                  DETROIT          MI   48204‐1075
SAILS, LINDA                     12373 GRIGGS ST                                                                               DETROIT          MI   48204‐1075
SAILUS, JUDITH                   1234 S GENEVA DR                                                                              DEWITT           MI   48820‐9531
SAILUS, STEVEN R                 1200 SUNSET DR                                                                                TECUMSEH         MI   49286‐1244
SAIN JAMES F (346649)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA   23510
                                                                 STREET, SUITE 600
SAIN PETER                       92 VIEW POINT LN                                                                              MANCHESTER       TN   37355‐3007
SAIN, ADA M                      304 HARRISON ST                                                                               PONTIAC          MI   48341‐2442
SAIN, BARBARA G                  10925 W 64TH TERR                                                                             SHAWNEE          KS   66203‐3539
SAIN, BILLY E                    245 ELKHORN RD                                                                                PARIS            TN   38242‐6983
SAIN, CARL S                     PO BOX 7162                                                                                   FLINT            MI   48507‐0162
SAIN, CARL S                     3813 CHEYENNE AVE                                                                             FLINT            MI   48507‐2879
SAIN, CHARLES E                  4365 LINDA ST                                                                                 BURTON           MI   48509‐1113
SAIN, CHARLES EDWARD             4365 LINDA ST                                                                                 BURTON           MI   48509‐1113
SAIN, DERRICK A                  65 GILLESPIE AVE                                                                              PONTIAC          MI   48341‐2226
SAIN, DORIS J                    8139 FENTON RD                                                                                GRAND BLANC      MI   48439
SAIN, ELOISE                     4118 SHERIDAN MEADOWS DR                                                                      FLORISSANT       MO   63034
SAIN, GLORIA M                   24615 RIDGECROFT AVE                                                                          EASTPOINTE       MI   48021‐1437
SAIN, JAMES F                    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA   23510‐2212
                                                                 STREET, SUITE 600
SAIN, JAMES O                    4826 FISCHER ST APT 1                                                                         DETROIT          MI   48214
SAIN, KATHERINE E                245 ELKHORN RD                                                                                PARIS            TN   38242‐6983
SAIN, LARRY D                    10256 COLDWATER RD                                                                            FLUSHING         MI   48433‐9757
SAIN, LARRY DALE                 10256 COLDWATER RD                                                                            FLUSHING         MI   48433‐9757
SAIN, MARY S                     PO BOX 14                                                                                     GRANDVIEW        TX   76050‐0014
SAIN, MARY S                     HILLTOP DRIVE BOX 14                                                                          GRANDVIEW        TX   76050‐0014
SAIN, MERLE R                    1120 S STANLEY AVE                                                                            LOS ANGELES      CA   90019
SAIN, MILDRED P
SAIN, RONALD E                   5465 REID RD                                                                                  SWARTZ CREEK     MI   48473‐9430
SAIN, RONALD ESTON               5465 REID RD                                                                                  SWARTZ CREEK     MI   48473‐9430
SAIN, RONALD G                   593 FAIRMOUNT AVE NE                                                                          WARREN           OH   44483‐5242
SAIN, RUDOLPH                    211 METACUMBE LANE                                                                            NAPLES           FL   34114‐8423
SAIN, RUDOLPH                    211 MATECUMBE LN                                                                              NAPLES           FL   34114‐8423
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Name                                 Address1                          Address2                  Address3                     Address4                  City                State Zip
SAIN, SHALONDA R                     4518 JAMES WADE DR                                                                                                 SNELLVILLE           GA 30039‐2704
SAIN, TERJAUNIA D.                   4518 JAMES WADE DR                                                                                                 SNELLVILLE           GA 30039‐2704
SAIN, THOMAS G                       816 WALLBRIDGE DR                                                                                                  INDIANAPOLIS         IN 46241
SAIN, WILLIE B                       2054 FOX HILL DR                                                                                                   GRAND BLANC          MI 48439‐5219
SAIN, WILLIE BRYOD                   2054 FOX HILL DR                                                                                                   GRAND BLANC          MI 48439‐5219
SAIN, WYMON                          1111 WOODLAND DR                                                                                                   INKSTER              MI 48141‐1739
SAINAN XUE                           2337 W 236TH PL                                                                                                    TORRANCE             CA 90501‐5952
SAINATO, CHRIS P                     6603 WINONA AVE                                                                                                    ALLEN PARK           MI 48101‐2323
SAINATO, CHRIS PAUL                  6603 WINONA AVE                                                                                                    ALLEN PARK           MI 48101‐2323
SAINCOME, DAVID E                    9094 N HAMMOND WAY                                                                                                 CITRUS SPRINGS       FL 34434‐4969
SAINCOME, ROGER J                    510 KENILWORTH AVE                                                                                                 PONTIAC              MI 48342‐1844
SAINCOME, ROSELLEN M                 510 KENILWORTH AVE                                                                                                 PONTIAC              MI 48342‐1844
SAINCOME, VERA M                     3132 INDIAN VILLAGE LN                                                                                             NORTH FORT MYERS     FL 33917‐1540
SAINCOME, VIRGINIA A                 7356 ARBOR TRAIL                  APT 105                                                                          WATERFORD            MI 48327
SAINCOME, VIRGINIA A                 7356 ARBOR TRL APT 105                                                                                             WATERFORD            MI 48327‐1598
SAINDON, WILLIAM C                   5940 DANA LYNN                                                                                                     GOODRICH             MI 48438‐9647
SAINES, EDDIE H                      8421 BRIDGEWAY DR 2A                                                                                               FORT WAYNE           IN 46816
SAINES, WILLIAM S                    633 W HOME AVE                                                                                                     FLINT                MI 48505‐2666
SAINI, ROBERT                        111 W MAPLE ST APT 2401                                                                                            CHICAGO               IL 60610‐5408
SAINI, RUCHITA                       27718 W ECHO VLY UNIT 117                                                                                          FARMINGTON HILLS     MI 48334‐4455
SAINSBURY DEBORAH                    SAINSBURY, DEBORAH                STEINBERG AND STEINBERG   1402 THIRD AVENUE SUITE                                SEATTLE              WA 98101‐2160
                                                                                                 1210
SAINSBURY, BRUCE W                   8137 45TH ST                                                                                                       LYONS               IL 60534‐1807
SAINSBURY, CAROL E                   117 YORK RD                       APT 5                                                                            EDGERTON            WI 53534‐1654
SAINSBURY, DALE J                    7296 E 1000 N                                                                                                      N MANCHESTER        IN 46962‐8572
SAINSBURY, DEBORAH
SAINSBURY, DEBORAH                   STEINBERG AND STEINBERG           1402 3RD AVE STE 1210                                                            SEATTLE             WA   98101‐2160
SAINSBURY, HERBERT L                 APT 5                             117 YORK ROAD                                                                    EDGERTON            WI   53534‐1654
SAINSBURY, MAX M                     MANCHESTER PLACE                  601 SLIFER ST APT 125                                                            PORTAGE             WI   53901
SAINSBURY, PATRICIA F                7296 E 1000 N                                                                                                      N MANCHESTER        IN   46962‐8572
SAINSBURY, STEVEN W                  S339 HOFF VALLEY RD                                                                                                ONTARIO             WI   54651‐7500
SAINSBURY, STEVEN WAYNE              S339 HOFF VALLEY RD                                                                                                ONTARIO             WI   54651‐7500
SAINSBURY, WAYNE T                   1232 CHERRY ST                                                                                                     JANESVILLE          WI   53546‐2429
SAINT ANDREWS PRESBYTERIAN COLLEGE   1700 DOGWOOD MILE ST                                                                                               LAURINBURG          NC   28352‐5521

SAINT ANDREWS UNITED METH CHURCH     1201 MAXWELL DR                                                                                                    RALEIGH             NC 27603‐4266

SAINT ANN CATHOLIC FOOD PANTRY       740 E 9TH ST                                                                                                       BALDWIN             MI   49304
SAINT AUGUSTINES COLLEGE             BUSINESS OFFICE                                                                                                    RALEIGH             NC   27610
SAINT BLANCARD, GUILLERMO R          5760 BUNKERS AVE                                                                                                   BURLINGTON          KY   41005‐6538
SAINT BLANCARD, NORA DEL             5760 BUNKERS AVE                                                                                                   BURLINGTON          KY   41005
SAINT BONAVENTURE UNIVERSITY         BUSINESS OFFICE                                                                                                    SAINT BONAVENTURE   NY   14778
SAINT CAIN                           PO BOX 3                                                                                                           RED BANKS           MS   38661‐0003
SAINT CATHARINES PATTERN LTD         FOUNDRY TOOLING                   26 EXPORT AVE             CANADA                       SAINT CATHARINES ON L2M
                                                                                                                              7P2 CANADA
SAINT CHARLES COMMUNITY COLLEG       4601 MID RIVERS MALL DR                                                                                            COTTLEVILLE         MO   63376‐2865
SAINT CHARLES COUNTY EDS             5988 MID RIVERS MALL DRIVE                                                                                         SAINT PETERS        MO   63304
SAINT CHARLES COUNTY FAIR INC        5307 BLASE STATION RD                                                                                              SAINT CHARLES       MO   63301‐6323
SAINT CHARLES COUNTY GOVERNMENT      COLECTOR OF REVENUE               SAINT CHARLES COUNTY      201 NORTH 2ND STREET SUITE                             SAINT CHARLES       MO   63301
                                                                       GOVERNMENT                134
SAINT CHARLES COUNTY HISTOICAL       101 S MAIN ST                                                                                                      SAINT CHARLES       MO 63301‐2802
SOCIETY
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Name                                 Address1                             Address2                       Address3            Address4                  City                  State Zip
SAINT CHARLES COUNTY LEAGUE OF       1236 JUNGERMANN RD STE C                                                                                          SAINT PETERS           MO 63376‐6962
CHAMBERS
SAINT CLAIR PLASTICS CO              30855 TETON PL                                                                                                    CHESTERFIELD          MI 48047‐3505
SAINT CLAIR TECHNOLOGIES             PO BOX 152                                                                                                        MARINE CITY           MI 48039‐0152
SAINT CLAIR TECHNOLOGIES INC         JOE COLLITON                         845 E OHIO ST STE 103                                                        TUCSON                AZ 85714‐3313
SAINT CLAIR TECHNOLOGIES INC         JOE COLLITON                         845 E. OHIO STREET, STE 103                        SALISBURY AUSTRALIA
SAINT CLOUD STATE UNIVERSITY         BUSINESS OFFICE A S 122              720 4TH AVE S                                                                SAINT CLOUD           MN 56301‐4442
SAINT DENIS, CHRISTOPHER D           7035 REPUBLIC AVE                                                                                                 WARREN                MI 48091‐2615
SAINT DEREK (345826)                 WILENTZ GOLDMAN & SPITZER            88 PINE STREET , WALL STREET                                                 NEW YORK              NY 10005
                                                                          PLAZA
SAINT DEREK (345826) ‐ RUPPIEKO DARRYL WILENTZ GOLDMAN & SPITZER          88 PINE STREET , WALL STREET                                                 NEW YORK              NY 10005
                                                                          PLAZA
SAINT FOWLER                         1325 KUMLER AVE                                                                                                   DAYTON                OH 45406‐5930
SAINT FOWLER                         2675 N GETTYSBURG AVE APT 1                                                                                       DAYTON                OH 45406‐1717
SAINT FRANCIS CARE REGIONAL CANCER   14 WOODLAND STREET                                                                                                HARTFORD              CT 06105
CENTER
SAINT FRANCIS CENTER                 151 BUCKINGHAM AVE OFC                                                                                            REDWOOD CITY          CA 94050‐5310
SAINT GERMAIN, ERY J                 1334 E 35TH ST                                                                                                    BROOKLYN              NY 11210‐5430
SAINT GOB/WORCESTER                  1 NEW BOND ST                        GRINDING SYSTEMS SERVICES      M.S. 413‐201                                  WORCESTER             MA 01606‐2614
SAINT GOBAIN (COMPAGNIE DE)
SAINT GOBAIN (COMPAGNIE DE)          1 NEW BOND ST                                                                                                     WORCESTER             MA    01606‐2614
SAINT GOBAIN (COMPAGNIE DE)          1 NEW BOND ST                        PO BOX 15008                                                                 WORCESTER             MA    01606‐2614
SAINT GOBAIN (COMPAGNIE DE)          1199 S CHILLICOTHE RD                                                                                             AURORA                OH    44202‐8001
SAINT GOBAIN (COMPAGNIE DE)          150 DEY RD                                                                                                        WAYNE                 NJ    07470‐4670
SAINT GOBAIN (COMPAGNIE DE)          45 CURTIS AVE N                                                                         PARIS ON N3L 3T6 CANADA
SAINT GOBAIN (COMPAGNIE DE)          51010 CELESTE                                                                                                     SHELBY TOWNSHIP       MI 48315‐2954
SAINT GOBAIN (COMPAGNIE DE)          ALFREDO ANGELES                      NICOLAS BRAVO S/N PARK IND     COLONIA PARQUE      HEBI, HENAN CHINA
                                                                                                                             (PEOPLE'S REP)
SAINT GOBAIN (COMPAGNIE DE)          ANGELA LOCKE X239                    51010 CELESTE                                                                SHELBY TOWNSHIP       MI 48315‐2954
SAINT GOBAIN (COMPAGNIE DE)          ANGELA LOCKE X239                    51010 CELESTE DR                                   LUNGTAN TIAYUAN 325
                                                                                                                             TAIWAN
SAINT GOBAIN (COMPAGNIE DE)          BARBARA SURACE X322                  150 DEY RD                                                                   WAYNE                 NJ 07470‐4670
SAINT GOBAIN (COMPAGNIE DE)          BARBARA SURACE X322                  150 DEY ROAD                                                                 ROCKFORD              MI
SAINT GOBAIN (COMPAGNIE DE)          JARUYA KHAMSAP                       ESTIN INDL 64/8 MOO 4 TUMBOL   PLUAKDAENG AMPHUR                             MADISON HEIGHTS       MI 48071
                                                                                                         PLUAKDAENG
SAINT GOBAIN (COMPAGNIE DE)          MARYANN FELLOWS                      SEALANT DIVISION               2735 PALDAN DRIVE                             SPRING HILL           TN 37174
SAINT GOBAIN (COMPAGNIE DE)          NICOLAS BRAVO S/N PARK IND CUAUTLA                                                      MUNICIPIO DE AYALA
                                                                                                                             MORELOS MX 62741
                                                                                                                             MEXICO
SAINT GOBAIN (COMPAGNIE DE)          NICOLAS BRAVO S/N PARK IND CUAUTLA   COLONIA PARQUE                                     MUNICIPIO DE AYALA
                                                                                                                             MORELOS MX 62741
                                                                                                                             MEXICO
SAINT GOBAIN (COMPAGNIE DE)          OESLAUER STR 35                                                                         ROEDENTAL BY 96472
                                                                                                                             GERMANY
SAINT GOBAIN (COMPAGNIE DE)          SUSAN STRACHAN X5671                 150 DEY ROAD                                                                 NORMAL                 IL   61761
SAINT GOBAIN (COMPAGNIE DE)          18 AVE D'ALSACE LES MIROIRS                                                             COURBEVOIE HAUTS DE       COURBEVOIE HAUTS DE         92400
                                                                                                                             SEINE 92400 FRANCE        SEINE
SAINT GOBAIN ADVANCED MATERIAL       1 NEW BOND ST                                                                                                     WORCESTER             MA 01606‐2614
SAINT GOBAIN MEXICO SA DE CV         NICOLAS BRAVO S/N PARK IND CUAUTLA                                                      MUNICIPIO DE AYALA
                                                                                                                             MORELOS MX 62741
                                                                                                                             MEXICO
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SAINT GOBAIN MEXICO SA DE CV        NICOLAS BRAVO S/N PARK IND CUAUTLA   COLONIA PARQUE                                MUNICIPIO DE AYALA
                                                                                                                       MORELOS 62741 MEXICO
SAINT GOBAIN PERFORMANCE PLASTICS   1199 S CHILLICOTHE RD                                                                                       AURORA               OH 44202‐8001

SAINT GOBAIN\INDUSTRIAL             CERAMICS INC                         1 NEW BOND ST                  PO BOX 15136                            WORCESTER            MA 01606‐2614
SAINT ISLAND                        7TH FLOOR NO 248 SECTION 3           NANKING EAST RD                               TAIPEI TAIWAN
SAINT JEAN INDUSTRIES               424 INDUSTRIAL PARK RD                                                                                      HEBER SPRINGS         AR 72543‐8520
SAINT JEAN INDUSTRIES               VICKIE SKELTON                       424 INDUSTRIAL PKY                                                     CORONA                CA 91719
SAINT JEAN INDUSTRIES               ZA LES GOUCHOUX                                                                    ST JEAN D ARDIERES 69220 ST JEAN D ARDIERES       69220
                                                                                                                       FRANCE
SAINT JEAN INDUSTRIES INC           VICKIE SKELTON                       424 INDUSTRIAL PKY                                                     CORONA                CA   91719
SAINT JEAN INDUSTRIES INC           424 INDUSTRIAL PARK DR                                                                                      HEBER SPRINGS         AR   72543
SAINT JOHN CHURCH                   711 N FRANCIS ST                                                                                            JACKSON               MI   49201‐1418
SAINT JOHN THE EVANGELIST CATHOLIC  240 ARNOLD ST                                                                                               HAPEVILLE             GA   30354‐1530
SCHOOL
SAINT JOHN'S HICKEY MEMORIAL        2015 JACKSON ST                                                                                             ANDERSON              IN   46016‐4337
HOSPITAL INC
SAINT JOHN'S HOME CA                1142 RELIABLE PKWY                                                                                          CHICAGO               IL   60686‐0001
SAINT JOSEPH COLLEGE                PO BOX 889                                                                                                  RENSSELAER            IN   47978‐0889
SAINT JOSEPH'S UNIVERSITY           PO BOX 8538137                                                                                              PHILADELPHIA          PA   19171‐0001
SAINT JOSEPHS COLLEGE INDIANA       PO BOX 971                                                                                                  RENSSELAER            IN   47978‐0971
SAINT JUDE CHILDREN HOSPITAL        6729 FAIRVIEW RD STE B                                                                                      CHARLOTTE             NC   28210‐0127
SAINT JUDE CHILDRENS RESEARCH       262 DANNY THOMAS PL                                                                                         MEMPHIS               TN   38105‐3678
HOSPITAL
SAINT LAWRENCE HEALTH ALLIANCE      3 LYON PLACE                                                                                                OGDENSBURG            NY 13669
SAINT LAWRENCE NRD ESCROW ACCT      M & T INVESTMENT GROUP               ONE M & T PLAZA 8TH FLOOR IC                                           BUFFALO               NY 14203
SAINT LAWRENCE SEAWAY DEVELOPMENT 180 ANDREWS ST                                                                                                MASSENA               NY 13662
CORPORATION
SAINT LAWRENCE SEAWAY MANAGEMENT FMLY ST LAWRENCE SEAWAY AUTHOR          202 PITT ST                                   CORNWALL CANADA ON
CORPORATION                                                                                                            K6J 3P7 CANADA
SAINT LAWRENCE SUPPLY               MADRID AVENUE                                                                                               POTSDAM               NY 13676
SAINT LAWRENCE UNIVERSITY OFFICE OF 23 ROMODA DR                                                                                                CANTON                NY 13617‐1423
DEVELOPMENT
SAINT LAWRENCE VALLEY RENEWAL       3 CHAPEL ST                                                                                                 CANTON                NY 13617‐1134
HOUSE
SAINT LEO UNIVERSITY                9417 PRINCESS PALM AVE                                                                                      TAMPA                FL    33619
SAINT LEO UNIVERSITY                PO BOX 6665 MC 2097                                                                                         SAINT LEO            FL    33574
SAINT LOUIS AUTO DEALERS ASSN       13616 MANCHESTER RD                                                                                         SAINT LOUIS          MO    63131‐1615
SAINT LOUIS COUNTY                                                       433 CLIFF CAVE RD                                                                           MO    63129
SAINT LOUIS COUNTY PARKS            41 SOUTH CENTRAL AVENUE                                                                                     SAINT LOUIS          MO    63105
SAINT LOUIS CRISIS NURSERY          ATTN LAURA                           6150 OAKLAND AVE                                                       SAINT LOUIS          MO    63139‐3215
SAINT LOUIS HELICOPTER LLC          7000 AIRPORT DR STE 204                                                                                     SELLERSBURG          IN    47172‐1957
SAINT LOUIS SYMPHONY ORCHESTRA      718 N GRAND BLVD                                                                                            SAINT LOUIS          MO    63103‐1011
SAINT LOUIS TESTING LAB             2810 CLARK AVE                                                                                              SAINT LOUIS          MO    63103‐2506
SAINT LOUIS UNIVERSITY              221 N GRAND BLVD                                                                                            SAINT LOUIS          MO    63103‐2006
SAINT LOUIS WILLIAM J               1126 E FAIRVIEW LN                                                                                          ROCHESTER HILLS      MI    48306‐4124
SAINT LOUIS WOMENS SHOW             2555 S 177TH PLAZA #13                                                                                      OMAHA                NE    68130
SAINT LOUIS ZOO                     1 GOVERNMENT DR                                                                                             SAINT LOUIS          MO    63110‐1332
SAINT LUKES NORTHLAN                PO BOX 503759                                                                                               SAINT LOUIS          MO    63150‐59
SAINT MARGARET OF SCOTLAND CATHOLIC 777 NE BLACKWELL RD                                                                                         LEES SUMMIT          MO    64086‐3717
CHURCH
SAINT MARGARETS DAUGHTERS HOME      919 AMELIA ST                                                                                               GRETNA                LA   70053‐5527
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Name                                 Address1                              Address2                            Address3   Address4                  City                   State Zip
SAINT MARKS EPISCOPAL CHURCH         PO BOX 72                                                                                                      BRIDGEPORT              MI 48722‐0072
SAINT MARY COLLEGE                   4100 S 4TH ST                                                                                                  LEAVENWORTH             KS 66048‐5082
SAINT MARY OF THE WOODS COLLEGE      BUSINESS OFFICE                                                                                                ST MARY OF THE WOODS    IN 47876
SAINT MARY SCHOOL                    220 N CEDAR ST                                                                                                 WILLIAMSTON             MI 48895‐1125
SAINT MARY'S COLLEGE, NOTRE DAME,
INDIANA
SAINT MARYS COLLEGE                  ATTENTION RON TURNER                  PO BOX 4300                                                              MORAGA                 CA    94575‐4300
SAINT MARYS COLLEGE                  BUSINESS OFFICE                                                                                                NOTRE DAME             IN    46556
SAINT MARYS HEALTH S                 DEPT CH 14196                                                                                                  PALATINE               IL    60055‐96
SAINT MARYS HEALTH SERVICES‐         SMHC                                  200 JEFFERSON AVE SE                                                     GRAND RAPIDS           MI    49503‐4502
SAINT MARYS SCHOOL                   307 E WALL ST                                                                                                  JANESVILLE             WI    53545‐3014
SAINT MARYS SURGICAL                 203 NW MIZE RD                                                                                                 BLUE SPRINGS           MO    64014
SAINT MICHAELS FOUNDATION            SAINT MICHAELS HOSPITAL               900 ILLINOIS AVE                                                         STEVENS POINT          WI    54481‐3114
SAINT OLAF COLLEGE                   STUDENT FINANCIAL SERVICES            1520 SAINT OLAF AVE                                                      NORTHFIELD             MN    55057‐1574
SAINT ONGE, BARBARA J                59 TROWBRIDGE ST                                                                                               LOCKPORT               NY    14094‐2036
SAINT ONGE, CATHERINE L              11132 CAPE COD ST                                                                                              TAYLOR                 MI    48180‐3947
SAINT PAUL FESTIVAL &                75 5TH ST W                           429 LANDMARK CENTER                                                      SAINT PAUL             MN    55102‐1406
HERTIAGEFOUNDATION
SAINT PAULS CATHOLIC CHURCH BUILDING 3131 HYDE PARK RD                                                                                              PENSACOLA               FL   32503‐5842
FUND
SAINT PETERSBUG STATE UNIVERSITY OF  FORMERLY ST.PETERSBURG INST OF FINE
INFORMATION TECHNOLOGIES & OPTICS MECH & OPTICS,TECHNICAL UNIVERSITY

SAINT PETERSBURG STATE UNIVERS       MECHANICS & OPTICS 49                 KRONVERKSKIY PR                                SAINT‐PETERSBURG RU
                                                                                                                          197101 RUSSIAN
                                                                                                                          FEDERATION
SAINT PETERSBURG STATE UNIVERSITY    MECHANICS & OPTICS 49                 KRONVERKSKIY PR                                SAINT‐PETERSBURG RU
                                                                                                                          197101 RUSSIAN
                                                                                                                          FEDERATION
SAINT REED                           2164 ATKINSON LN                                                                                               LAWRENCEVILLE          GA    30043‐5507
SAINT ROMAIN JOE                     108 RUNNING DEER DR                                                                                            LAFAYETTE              LA    70503‐6602
SAINT TRUCKING INC                   PO BOX 1356                                                                                                    AMERICUS               GA    31709‐1356
SAINT VINCENT COLLEGE                BUSINESS OFFICE                                                                                                LATROBE                PA    15650
SAINT VINCENT DEPAUL SOCIETY         128 MAIN ST                                                                                                    MASSENA                NY    13662‐1906
SAINT XAVIER UNIVERSITY              BUSINESS OFFICE                       3700 W 103RD ST                                                          CHICAGO                IL    60655‐3105
SAINT, DAVID N                       3987 DALEY RD                                                                                                  ATTICA                 MI    48412‐9236
SAINT, DEREK                         WILENTZ GOLDMAN & SPITZER             88 PINE STREET, WALL STREET PLAZA                                        NEW YORK               NY    10005

SAINT, DOROTHY M                     207 S WESTGATE AVE                                                                                             COLUMBUS               OH    43204‐1980
SAINT, MARGARET H                    1341 BIELBY ST                                                                                                 WATERFORD              MI    48328‐1307
SAINT, PATRICK W                     PO BOX 666                                                                                                     CLARKSTON              MI    48347‐0666
SAINT, RANDY J                       158 COUNTY ROAD 1240                                                                                           VINEMONT               AL    35179‐8485
SAINT, SYBIL E                       726 RABBITTOWN RD                                                                                              GLENCOE                AL    35905‐7269
SAINT‐GOBAIN ABRASIVES INC           1 NEW BOND ST                         PO BOX 15008                                                             WORCESTER              MA    01606‐2614
SAINT‐GOBAIN ADVANCED CERAMICS       45 CURTIS AVE N                                                                      PARIS ON N3L 3T6 CANADA
HAMI
SAINT‐GOBAIN ADVANCED                45 CURTIS AVE NORTH                   PO BOX 551                                     PARIS CANADA ON N3L 3T6
CERAMICSHAMILTON                                                                                                          CANADA
SAINT‐GOBAIN INDUSTRIEKERAMIK        RODENTAL GMBH                         OESLAUER STR 35                                RODENTAL D‐96472
                                                                                                                          GERMANY
SAINT‐GOBAIN INDUSTRIEKERAMIK ROEDE OESLAUER STR 35                                                                       ROEDENTAL BY 96472
                                                                                                                          GERMANY
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Name                                  Address1                             Address2                       Address3            Address4              City               State Zip
SAINT‐GOBAIN PERF. PLASTICS           SUSAN STRACHAN X5671                 150 DEY ROAD                                                             NORMAL               IL 61761
SAINT‐GOBAIN PERFORMANCE PLASTICS     150 DEY RD                                                                                                    WAYNE               NJ 07470‐4670

SAINT‐GOBAIN SEKURIT                  SAINT GOBAIN FINANCE CORP            51010 CELESTE                                                            SHELBY TOWNSHIP    MI 48315‐2954
SAINT‐GOBAIN SEKURIT MEXICO           ALFREDO ANGELES                      NICOLAS BRAVO S/N PARK IND     COLONIA PARQUE      HEBI, HENAN CHINA
                                                                                                                              (PEOPLE'S REP)
SAINT‐GOBAIN SEKURIT MEXICO SADE CV   PARQUE INDUSTRIAL DE CAUATLA                                                            CUAUTLA MORELOS CP
                                                                                                                              62741 MEXICO
SAINT‐GOBAIN SEKURIT THAILAND         JARUYA KHAMSAP                       ESTIN INDL 64/8 MOO 4 TUMBOL   PLUAKDAENG AMPHUR                         MADISON HEIGHTS    MI
                                                                                                          PLUAKDAENG
SAINT‐GOBAIN SEKURIT USA              ANGELA LOCKE X239                    51010 CELESTE DR                                   LUNGTAN TIAYUAN 325
                                                                                                                              TAIWAN
SAINT‐GOBAIN SEKURIT USA              51010 CELESTE                                                                                                 SHELBY TOWNSHIP    MI 48315‐2954
SAINT‐GOBAIN SEKURIT USA              ANGELA LOCKE X239                    51010 CELESTE                                                            SHELBY TOWNSHIP    MI 48315‐2954
SAINT‐GOBAIN UNIVERSAL ABRASIV        3 BEACH RD                           PO BOX 6100 POSTAL STATION F                       TORONTO ON M8Y 2Z2
                                                                                                                              CANADA
SAINTELLUS, DUROC                     91‐27 211 STREET                                                                                              QUEENS VILLAGE     NY   11428
SAINTZ, LESLIE W                      702 HAMILTON BLVD                                                                                             SOUTH PLAINFIELD   NJ   07080‐2708
SAINZ, JUAN R                         1256 W 76TH ST                                                                                                HIALEAH            FL   33014‐3423
SAIONZ, J. S                          4318 SCHAEFER RD                                                                                              DEARBORN           MI   48126‐3695
SAIONZ, JAMES J                       1423 TREVINO DR                                                                                               TROY               MI   48085‐3322
SAIPRASAD VIDHYA                      1015 WEYBRIDGE CT APT 206                                                                                     CHARLOTTESVILLE    VA   22911
SAIRA, DEENA
SAIS DIONICO (626747)                 GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                              NORFOLK            VA 23510
                                                                           STREET, SUITE 600
SAIS, DIONICO                         GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                              NORFOLK            VA 23510‐2212
                                                                           STREET, SUITE 600
SAIS, PHILLIP L                       13654 PIERCE ST                                                                                               PACOIMA            CA   91331‐3739
SAITES, NICHOLAS L                    2461 FAYETTEVILLE HWY                                                                                         BELFAST            TN   37019‐2094
SAITES, SHARON KAY                    UNIT 48                              1901 SE MINTER BRIDGE RD                                                 HILLSBORO          OR   97123‐5170
SAITES, WILLIAM N                     336 FOLK ST                                                                                                   POTTERVILLE        MI   48876‐9548
SAITO, BRIAN                          94‐1055 KAHIMOE PL                                                                                            WAIPAHU            HI   96797‐4248
SAITTA, KAREN L                       361 SANTA PAULA                                                                                               SAN LEANDRO        CA   94579‐1951
SAITTA, MIKE                          2500 DALLAS HWY SW STE 202 PMB 214                                                                            MARIETTA           GA   30064‐7505
SAIZ EDWARDO F (494164)               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                              NORFOLK            VA   23510
                                                                           STREET, SUITE 600
SAIZ, ANTHONY                         2300 INDIANWOOD RD                   C/O KIM TEFEND                                                           LAKE ORION         MI 48362‐1100
SAIZ, ANTHONY J                       6400 ORMOND RD                                                                                                WHITE LAKE         MI 48383‐3545
SAIZ, EDWARDO F                       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                              NORFOLK            VA 23510‐2212
                                                                           STREET, SUITE 600
SAIZ, JAMES A                         9950 OAKHURST RD                                                                                              HOLLY              MI   48442‐8534
SAIZ, VIRGINIA                        2619 19TH ST APT 13                                                                                           LUBBOCK            TX   79410‐1550
SAIZA, JOE                            531 GRAPE AVE APT 27                                                                                          HOLTVILLE          CA   92250
SAIZON, LISA                          SQUITIERI & FEARON LLP               521 FIFTH AVENUE 26TH FLOOR                                              NEW YORK           NY   10175
SAJAN, ANTHONY T                      4786 OAKHURST RIDGE RD 38                                                                                     CLARKSTON          MI   48348
SAJDA, FRANCES T                      319 PARKHURST BLVD                                                                                            BUFFALO            NY   14223‐2513
SAJDAK, ALOYSIUS M                    3253 CANTERBURY DR                                                                                            BAY CITY           MI   48706‐2005
SAJDAK, ANDREW J                      603 LITCHFIELD ST                                                                                             BAY CITY           MI   48706‐4840
SAJDAK, BERNARD C                     1694 E LINWOOD RD                                                                                             LINWOOD            MI   48634‐9520
SAJDAK, BERNIE P                      195 FALMOUTH RD APT 14C                                                                                       MASHPEE            MA   02649‐2686
SAJDAK, CELIA B                       115 BROADWAY                         ST CABRINI NURSING HOME                                                  DOBBS FERRY        NY   10522‐2835
SAJDAK, CELIA B                       ST CABRINI NURSING HOME              115 BROADWAY                                                             DOBBS FERRY        NY   10522
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Name                       Address1                           Address2                       Address3   Address4         City               State Zip
SAJDAK, DAVID A            4727 RIVER'S EDGE DRIVE                                                                       TROY                MI 48098
SAJDAK, DONNA M            4727 RIVERS EDGE DR                                                                           TROY                MI 48098‐4138
SAJDAK, DOROTHY            7600 W JIM LN                                                                                 CRYSTAL RIVER       FL 34429‐5504
SAJDAK, EDWARD             45 SEYMOUR ST APT 2B                                                                          YONKERS             NY 10701‐6060
SAJDAK, HENRY B            10235 LAMBS RD                                                                                WALES               MI 48027‐2803
SAJDAK, LEONARD L          2126 MOOREVILLE RD                                                                            MILAN               MI 48160‐9519
SAJDAK, NELLIE             16 REGINA RD                                                                                  HIGHLAND FALLS      NY 10928‐2102
SAJDAK, NELLIE             16 REGINA ROAD                                                                                HIGHLAND FALLS      NY 10928‐2102
SAJDAK, THOMAS A           836 S MELITA RD                                                                               STERLING            MI 48659‐9533
SAJDYK JAMES               SAJDYK, JAMES                      120 WEST MADISON STREET 10TH                               CHICAGO              IL 60602
                                                              FLOOR
SAJDYK, JAMES              KROHN & MOSS ‐ IN                  120 WEST MADISON STREET 10TH                               CHICAGO             IL   60602
                                                              FLOOR
SAJE, LOUIS F              5700 W MONTANA ST                                                                             MILWAUKEE          WI    53219‐3165
SAJE, ROBERT N             46266 HAMPTON DR                                                                              SHELBY TOWNSHIP    MI    48315‐5608
SAJEWICZ, MARY C           53034 CLARION DRIVE                                                                           MACOMB             MI    48042‐2824
SAJEWSKI, FRANCES M        3633 KEVIN CIR                                                                                WARREN             MI    48092‐4210
SAJEWSKI, JON H            37748 BROOKWOOD DR                                                                            STERLING HTS       MI    48312‐1912
SAJEWSKI, JON HENRY        37748 BROOKWOOD DR                                                                            STERLING HTS       MI    48312‐1912
SAJEWSKI, MARGARET         3570 ORCHARD DR                                                                               METAMORA           MI    48455‐8918
SAJID SAYED                43594 HOPTREE DR                                                                              STERLING HEIGHTS   MI    48314‐4504
SAJID SYED                 1186 TREVINO DR                                                                               TROY               MI    48085‐3319
SAJNANI SUNIL              35228 MELTON ST                                                                               WESTLAND           MI    48186‐4467
SAJOVEC, LESLIE A          42904 TOMLINSON DR                                                                            CLINTON TWP        MI    48038‐2498
SAJUANTUM, BOONCHOO        1616 S 5TH ST APT G                                                                           ALHAMBRA           CA    91803‐3570
SAJUANTUM, BOONCHOO        14307 ROSCOE BLVD UNIT 101                                                                    PANORAMA CITY      CA    91402
SAK SERVICES LLC           10814 LINCOLN DR                                                                              HUNTINGTON WOODS   MI    48070‐1543
SAK SERVISES LLC           10814 LINCOLN DR                                                                              HUNTINGTON WOODS   MI    48070‐1543
SAK, JAMES P               116 LANE VIEW DR                                                                              HARRINGTON         DE    19952‐2557
SAK, JOANNE D              4001 CROCKERS LAKE BLVD APT 1014                                                              SARASOTA           FL    34238
SAK, LANOKA A              30072 WHITE HALL CT                                                                           FARMINGTON HILLS   MI    48331‐1915
SAK, ROBERT J              3172 EASTGATE ST                                                                              BURTON             MI    48519‐1553
SAK, RONALD S              2440 N RUTHERFORD AVE                                                                         CHICAGO            IL    60707‐2215
SAK, SALOME R              32 OSWEGO DRIVE N W                                                                           GRAND RAPIDS       MI    49504‐6046
SAK, SALOME R              32 OSWEGO ST NW                                                                               GRAND RAPIDS       MI    49504‐6046
SAKA, RAMI E.              31965 HARLO DR.                                                                               MADISON HEIGHTS    MI    48071
SAKAE RIKEN KOGYO CO LTD   PAUL PANDORAX211                   6251 RT 251                                                UBLY               MI    48475
SAKAI, JEAN C              8281 S 1000 E                                                                                 SANDY              UT    84094‐0736
SAKAI, LESLIE K            4395 HUNTERS CIR E                                                                            CANTON             MI    48188‐2356
SAKAL, BRIAN J             9 DUERR DR                                                                                    WEST MILTON        OH    45383‐1404
SAKAL, CAROLYN             9705 N MONTGOMERY COUNTY LINE RD                                                              UNION              OH    45322‐9616

SAKAL, EMMA S              3787 CORDELL DRIVE                                                                            DAYTON             OH    45439‐2402
SAKAL, VERA                3438 TREE LANE                                                                                NORTH OLMSTED      OH    44070‐1682
SAKAL, VERA                3438 TREE LN                                                                                  NORTH OLMSTED      OH    44070‐1682
SAKALA, DOROTHY M          81 RONALD AVE SOUTH                                                                           BAYVILLE           NJ    08721‐1402
SAKALA, MICHAEL P          81 RONALD AVE S                                                                               BAYVILLE           NJ    08721‐1402
SAKALAUKUS, DIANNE A       9 BAMBI TRAIL                                                                                 MERRIMACK          NH    03054‐2920
SAKALAUKUS, DIANNE A       9 BAMBI TRL                                                                                   MERRIMACK          NH    03054‐2920
SAKALIAN, MICHELE A        1021 OLD MILFORD FARMS                                                                        MILFORD            MI    48381‐3383
SAKALIAN, MICHELE ANN      1021 OLD MILFORD FARMS                                                                        MILFORD            MI    48381‐3383
SAKALL JR, BASIL           PO BOX 746                                                                                    MIHIGAN CTR        MI    49254‐0746
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Name                          Address1                          Address2                        Address3   Address4         City                  State Zip
SAKALL, JACK A                5967 WILLOWBRIDGE RD                                                                          YPSILANTI              MI 48197‐7131
SAKALOS, JANE M               71 GARFIELD PL                                                                                PARLIN                 NJ 08859‐1572
SAKALOS, STEPHEN              71 GARFIELD PL                                                                                PARLIN                 NJ 08859‐1572
SAKAMOTO, JACKSON             3188 W LA COSTA AVE                                                                           FRESNO                 CA 93711‐0224
SAKAMOTO, KUNIAKI             935 SUMMITRIDGE DRIVE                                                                         DIAMOND BAR            CA 91765‐4384
SAKAS, RONALD V               3921 W RIVER RD                                                                               NEWTON FALLS           OH 44444‐9426
SAKASC, JOSEPH                745 STERLING RD                                                                               WICKLIFFE              OH 44092‐2162
SAKASH, JOHN M                2033 N HAVEN DR                                                                               GLADWIN                MI 48624‐8503
SAKATA, JOHN M                3801 GREEN VALLEY RD                                                                          NEW ALBANY             IN 47150
SAKATA, YASUYO                228 HAMPDEN TERRACE                                                                           ALHAMBRA               CA 91801‐2909
SAKATIS JOHN                  WEITZ & LUXENBERG                 180 MAIDEN LANE                                             NEW YORK               NY 10038
SAKATIS, JOHN                 WEITZ & LUXENBERG                 180 MAIDEN LANE                                             NEW YORK               NY 10038
SAKCRISKA GLENN               SAKCRISKA, GLENN                  2950 SOUTH STATE STREET SUITE                               ANN ARBOR              MI 48104
                                                                400 ANN ARBOR COMMERCE BANK
                                                                BUILDING
SAKCRISKA, DALE R             1835 S LINVILLE ST                                                                            WESTLAND              MI   48186‐4262
SAKCRISKA, GLENN              108 MAPLE ST                                                                                  YPSILANTI             MI   48198
SAKCRISKA, GLENN              LOGEMAN IAFRATE & POLLARD PC      2950 S STATE ST STE 400                                     ANN ARBOR             MI   48104‐6773
SAKDINAWAT, RANGSI T          2602 MANDY WAY                                                                                ARLINGTON             TX   76017‐3742
SAKE, MARY D                  154 CHESTNUT AVE NE                                                                           WARREN                OH   44483‐5803
SAKEL, RUTH                   3387 ORO GRANDE BLVD APT B                                                                    LAKE HAVASU CITY      AZ   86406‐8773
SAKEL, RUTH                   1150 LOUISANA AVE                 APT 14                                                      PERRYSBURG            OH   43551
SAKELY ELMER (656486)         KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                               CLEVELAND             OH   44114
                                                                BOND COURT BUILDING
SAKELY, ELMER                 KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                CLEVELAND             OH 44114
                                                                BOND COURT BUILDING
SAKER, DAVID L                1603 N 8TH ST                                                                                 INDEPENDENCE          KS   67301‐2101
SAKER, NAZIH Y                1142 LILLY VUE CT                                                                             MARS                  PA   16046‐3055
SAKERKA EMERY JR              886 MOUNTS RD                                                                                 WASHINGTON            PA   15301‐8581
SAKEWICZ FRANK (435873)       ANAPOL SCHWARTZ WEISS AND COHAN   1900 DELANCEY PL                                            PHILADELPHIA          PA   19103‐6612
                              P.C.
SAKEWICZ, FRANK               ANAPOL SCHWARTZ WEISS AND COHAN   1900 DELANCEY PL                                            PHILADELPHIA          PA 19103‐6612
                              P.C.
SAKEY, ANTHONY                1120 BUTLER BLVD                                                                              HOWELL                MI   48843‐1302
SAKEY, HELEN                  1770 MORAN AVE                                                                                LINCOLN PARK          MI   48146‐3856
SAKEY, HELEN                  1770 MORAN                                                                                    LINCOLN PARK          MI   48146‐3856
SAKEY, ROBERT W               16481 S GATEHOUSE DR                                                                          WOODHAVEN             MI   48183‐1639
SAKHI FOR SOUTH ASIAN WOMEN   PO BOX 20208                      GREELEY SQUARE STATION                                      NEW YORK              NY   10001‐0006
SAKHIR KHAN                   160 CHESTNUT RIDGE RD                                                                         MONTVALE              NJ   07645‐1108
SAKHLEH, ABLA                 APT 1524                          3355 GEORGE BUSBEE PKWY NW                                  KENNESAW              GA   30144‐6859
SAKHLEH, HENRY H              17346 VACRI LN                                                                                LIVONIA               MI   48152‐3120
SAKHLEH, THEODORE H           8947 W DEBORAH CT                                                                             LIVONIA               MI   48150‐3374
SAKIA TANGERMANN              21521 AUMUEHLE
SAKIS, ANTHONY S              612 SHORELINE DR                                                                              FENTON                MI   48430‐4124
SAKJAS, HELEN                 9 GUINDOLA CIR                                                                                HOT SPRINGS VILLAGE   AR   71909‐7134
SAKKINEN, RONALD M            22358 EASTWOOD AVE                                                                            WARREN                MI   48089‐2784
SAKO, CLEMENT A               6281 WATERFORD ST                                                                             PAHRUMP               NV   89061‐7742
SAKO, EDWARD J                7291 BARTON HILLS                                                                             PARMA                 OH   44129
SAKO, STEPHEN C               15973 WEDGEWOOD LN                                                                            STRONGSVILLE          OH   44149‐5756
SAKOFSKE, ROBERT D            6757 CHESANING RD                                                                             CHESANING             MI   48616‐8418
SAKOFSKE, SANDRA M            58474 CORONADO                                                                                WASHINGTON            MI   48094‐2908
SAKOMAN, KENNETH M            1200 EDGEWOOD DR                                                                              ORTONVILLE            MI   48462‐9302
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Name                               Address1                             Address2                         Address3                Address4                 City               State Zip
SAKON, RICHARD G                   8120 COTTAGE DR                                                                                                        UNIONVILLE          MI 48767‐9764
SAKON, SALLY                       8120 COTTAGE DR                                                                                                        UNIONVILLE          MI 48767‐9764
SAKONY, MARY P                     1013 HEINZ AVE.                                                                                                        SHARON              PA 16146‐2438
SAKONY, MARY P                     1013 HEINZ AVE                                                                                                         SHARON              PA 16146‐2438
SAKONYI, DEBORAH A                 40 HILLVIEW DR                                                                                                         HUBBARD             OH 44425‐1234
SAKONYI, STEPHEN S                 106 RIVIERA CT SE                                                                                                      WARREN              OH 44484‐3189
SAKOR TECHNOLOGIES INC             2855 JOLLY RD                                                                                                          OKEMOS              MI 48864‐3547
SAKORAFOS, FRANK                   13711 COLLINS DR                                                                                                       WARREN              MI 48088‐5725
SAKORAFOS, GEORGIOS D              42236 D'HARTE CT.                                                                                                      CLINTON TOWNSHIP    MI 48038
SAKOWICZ, JOHN R                   5515 CHELTENHAM DR                                                                                                     TROY                MI 48098‐2473
SAKOWSKI ROBERT                    2906 119TH ST                                                                                                          TOLEDO              OH 43611‐2715
SAKOWSKI, BERNADINE L              312 BIRCH TRAIL DR                   PO BOX 413                                                                        PORT SANILAC        MI 48469‐9762
SAKOWSKI, FRANK S                  135 GETTMAN RD                                                                                                         SYRACUSE            NY 13209‐9734
SAKOWSKI, FRANK W                  8105 00.25 RD                                                                                                          GARDEN              MI 49835
SAKOWSKI, HELEN F                  510 MAPLE AVE                                                                                                          BRISTOL             CT 06010‐2697
SAKOWSKI, MARYANN S                310 JEROME AVE                                                                                                         BURLINGTON          CT 06013‐2425
SAKOWSKI, MARYANN S                310 JEROME AVENUE                                                                                                      BURLINGTON          CT 06013‐2425
SAKOWSKI, STANLEY J                16960 HUDSON RD                                                                                                        MILTON              DE 19968‐3630
SAKRASKA, MILDRED P                6232 EAST VERMONTVILLE HIGHWAY                                                                                         POTTERVILLE         MI 48876‐9729
SAKRY ALVIN (459309)               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                       NORFOLK             VA 23510
                                                                        STREET, SUITE 600
SAKRY, ALVIN                       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                       NORFOLK            VA 23510‐2212
                                                                        STREET, SUITE 600
SAKSA, ANTHONY D                   12321 WOODRIDGE DR                                                                                                     N ROYALTON         OH    44133‐2412
SAKSA, EDNA H                      7005 STADIUM DR. APT 400                                                                                               BRECKSVILLE        OH    44141‐1887
SAKSA, GEORGE M                    12321 WOODRIDGE DR                                                                                                     N ROYALTON         OH    44133‐2412
SAKSHAUG, TIMOTHY A                8765 TIMBER TRL                                                                                                        FREELAND           MI    48623‐9542
SAKSON, DAVID A                    207 MANNS RD                                                                                                           RUFFS DALE         PA    15679‐1199
SAKTHI AUTO COMPONENT LTD          KARNATAKA BANK LTD OVERSEAS BR       2 FIRUZ ARA MAHARISHI KARVE RD                           MUMBAI 400 021 INDIA
                                                                                                                                 INDIA
SAKTHI AUTO COMPONENT LTD          S. RATHINASAMY                       C/O CENTRAL WAREHOUSE            1825 RUST AVENUE                                 TROY               MI 48098
                                                                        COMPANY
SAKTHI AUTO COMPONENTS LTD         PALLAGOUNDENPALAYAM ERODE DISTRICT                                                            PERUNDURAI TALUK TAMIL
                                                                                                                                 NADU 638056 INDIA
SAKTHI SUGARS LTD                  PALLAGOUNDENPALAYAM ERODE DISTRICT                                                            PERUNDURAI TALUK TAMIL
                                                                                                                                 NADU IN 638056 INDIA
SAKTHI SUGARS LTD                  S. RATHINASAMY                       C/O CENTRAL WAREHOUSE            1825 RUST AVENUE                                 TROY               MI 48098
                                                                        COMPANY
SAKULICH MARK                      SAKULICH, MARK                       18 MARICREST DRIVE                                                                ROCHESTER          NY    14616
SAKULICH, JOHN A                   3841 SHERSTONE PL                                                                                                      LAKE ORION         MI    48359‐1453
SAKULICH, MARK                     18 MARICREST DR                                                                                                        ROCHESTER          NY    14616‐1243
SAKUMA, SUMIYE                     10671 KEDGE AVE                                                                                                        GARDEN GROVE       CA    92843‐5357
SAKURADA, MICHELLE R               1374 SMITH RD                                                                                                          YUBA CITY          CA    95993‐7000
SAKURAGI PATENT OFFICE             4‐25 HAMAMATSU‐CHO 2‐CHOME           MINATO‐KU                                                TOKYO 105‐0013 JAPAN
SAKURAI DAN (ESTATE OF) (639100)   GOLDENBERG, MILLER, HELLER &         PO BOX 959                                                                        EDWARDSVILLE        IL   62025‐0959
                                   ANTOGNOLI
SAKURAI, DAN                       GOLDENBERG, MILLER, HELLER &         PO BOX 959                                                                        EDWARDSVILLE        IL   62025‐0959
                                   ANTOGNOLI
SAKUTA, DALE J                     625 ARLINGTON DR                                                                                                       CARO               MI    48723‐1333
SAKUTA, ROBERT L                   197 E BEAR LAKE RD NE                                                                                                  KALKASKA           MI    49646‐9759
SAKWE BALINTULO ET AL              C/O STEIG D. OLSON                   HAUSFELD LLP                     11 BROADWAY SUITE 615                            NEW YORK           NY    10004
SAL BONAFIDE                       1112 ORIOLE CIR                                                                                                        BAREFOOT BAY       FL    32976‐7515
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Name                                  Address1                       Address2                     Address3             Address4             City             State Zip
SAL C/F BETTY V OSBORN IRA            2433 OLD PROVIDENCE ROAD                                                                              GOODWATER         AL 35072
SAL C/F BILLIE TURNER IRA             2008 CLUBVIEW DR                                                                                      ALEXANDER CITY    AL 35010
SAL C/F CURTIS G STRICKLAND R/O IRA   2301 NOLEN DRIVE                                                                                      ALEXANDER CITY    AL 35010
SAL C/F DOYT L ALFORD IRA             2098 TRUSSELL ROAD                                                                                    ALEXANDER CITY    AL 35010
SAL C/F ELIZABETH HUETT IRA           ELIZABETH HUETT                10291 HWY 22E                                                          NEW SITE          AL 36256
SAL C/F HUBERT A RODRIGUEZ R/O IRA    STERNE AGEE & LEACH C/F        HUBERT A RODRIGUEZ R/O IRA   407 PINEWAY DR                            BIRMINGHAM        AL 35226
SAL C/F JIMMY L HUETT R/O IRA         JIMMY L HUETT                  10291 HWY 22E                                                          NEW SITE          AL 36256
SAL C/F KATHI THAMES ODOM IRA         279 LAKEVIEW DRIVE                                                                                    ALEXANDER CITY    AL 35010
SAL C/F SHEILA J GRAY ROTH IRA        5525 SAINT JAMES STREET                                                                               BIRMINGHAM        AL 35235
SAL C/F SHELIA H EADY IRA             SHELIA H EADY                  7422 HIGHLAND DR                                                       TRUSSVILLE        AL 35173
SAL C/F SHEPHERD ALBERT ODOM IRA      279 LAKEVIEW DRIVE                                                                                    ALEXANDER CITY    AL 35010
SAL C/F TOM PEMBERTON R/O IRA         PO BOX 215                                                                                            DADEVILLE         AL 36853
SAL C/F VERA F. PRICE R/O IRA         1185 WATSON PLACE                                                                                     ALEXANDER CITY    AL 35010
SAL C/F VIOLET ENGLISH IRA            C/O VIOLET ENGLISH             2613 CHESTERFIELD CT                                                   MONTGOMERY        AL 36117
SAL CIF GLENDA C DANIEL R/O IRA       C/O GLENDA C DANIEL            2090 HOLMAN ST                                                         ALEXANDER CITY    AL 35010
SAL GIORDANO                          WEITZ & LUXENBERG PC           700 BROADWAY                                                           NEW YORK CITY     NY 10003
SAL LAGUARDIA                         4219 E SUNRISE DR                                                                                     PHOENIX           AZ 85044‐1012
SAL MILIO                             37 NEWHARD PL                                                                                         HOPEWELL JCT      NY 12533‐5004
SAL OPPENHEIM                         CIE FIDUCIARIA DI GENOVA       VIA SETTEMBRE 33/3           I 16121 GENOVA       ITALY
SAL RUBICCO                           68 READ AVE                                                                                           YONKERS          NY 10707‐3208
SAL'S WESTHEIMER AUTO SVC             5704 WESTHEIMER RD                                                                                    HOUSTON          TX 77057‐5720
SALA CORRADO                          LA SCALA                       STUDIO LEGALE E TRIBUTARIO   CORSO MAGENTA N 42   20123 MILANO ITALY
SALA FRANCA AMALIA                    LA SCALA                       STUDIO LEGALE E TRIBUTARIO   CORSO MAGENTA N 42   20123 MILANO ITALY
SALA, ARTHUR T                        245 CAYUGA CREEK RD                                                                                   CHEEKTOWAGA      NY   14227‐1707
SALA, DOREL M                         5039 CARDINAL DR                                                                                      TROY             MI   48098‐2484
SALA, EDWARD                          500 CATALINA RD APT 401                                                                               COCOA BEACH      FL   32931‐3065
SALA, FREDERICK C                     1743 ROYCE AVE                                                                                        BELOIT           WI   53511‐3646
SALAAM KHALID                         4306 WILLOW CREST DRIVE                                                                               ARLINGTON        TX   76017‐4062
SALAAM, ABDEL B                       38 E MOWRY ST                                                                                         CHESTER          PA   19013‐4620
SALAAM, AYAT M                        2625 LAKEVIEW AVE                                                                                     DAYTON           OH   45408‐1641
SALAAM, KHALID                        4306 WILLOW CREST DR                                                                                  ARLINGTON        TX   76017‐4062
SALAAM, LINDA WAKEELAH                20138 SPENCER ST                                                                                      DETROIT          MI   48234‐3174
SALAAM, MUHAMMAD A                    2713 RAINTREE CIR                                                                                     TALLAHASSEE      FL   32308‐3827
SALAAM, RICHARD I                     539 N WESTOVER BLVD APT 2422                                                                          ALBANY           GA   31707‐1990
SALAAM, SULAIMAN                      5402 GRINDON AVE                                                                                      BALTIMORE        MD   21214‐1935
SALAAM, WARDELL A                     121 DIDAMA ST                                                                                         SYRACUSE         NY   13224
SALABSKY, GARY D                      7856 N STATE ROUTE 66                                                                                 DEFIANCE         OH   43512‐9652
SALAC, RAYMOND M                      1498 KARL ST                                                                                          SAN JOSE         CA   95122‐1640
SALADA MCGAHEE                        1325 W MCCLELLAN ST                                                                                   FLINT            MI   48504‐2637
SALADA, DAVID A                       5916 SUNRIDGE CT                                                                                      CLARKSTON        MI   48348‐4765
SALADA, DREW P                        PMB 721                                                                                               BIG RAPIDS       MI   49307
SALADA, DREW P                        9287 RIVER RD APT 7                                                                                   CLAY             MI   48001‐4022
SALADIN, EDWARD H                     3066 EMS GLEN LN                                                                                      ARNOLD           MO   63010
SALADIN, EMERITA                      8800 10 MILE RD RR#3                                                                                  ROCKFORD         MI   49341‐8310
SALADIN, INGA M                       2039 CANNON ST SW                                                                                     WYOMING          MI   49519
SALADIN, JOHN E                       3697 LAKOLA RD.                                                                                       REED CITY        MI   49677
SALADINE, FREDILIEN T                 389 WHEELER RD                                                                                        AUBURN           MI   48611‐9745
SALADINE, MARGARET L                  8043 13 MILE RD                                                                                       PARIS            MI   49338‐9610
SALADINE, PATRICIA                    364 W GREENWOOD RD                                                                                    ALGER            MI   48610‐9360
SALADINO, FRANK T                     1536 NE NEAWANNA DR                                                                                   LEES SUMMIT      MO   64086‐5914
SALADINO, NORMA J                     4936 S PECK AVE                                                                                       INDEPENDENCE     MO   64055
SALADINO, ROBERT C                    601 S HICKORY ST                                                                                      BATES CITY       MO   64011‐9655
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Name                                 Address1                          Address2               Address3        Address4         City              State Zip
SALADNA, JOSEPH G                    1105 WADSWORTH RD                                                                         MEDINA             OH 44256‐3216
SALADYGA IAN                         281 N 7TH ST APT 1                                                                        BROOKLYN           NY 11211‐2186
SALAGAJ, JOHN C                      9056 LONG LAKE PALM DR                                                                    BOCA RATON         FL 33496‐1784
SALAGE, FRANK
SALAGE, IOSIF                        132 WATERBURY CT                                                                          WESTLAND          MI   48186‐5244
SALAGE, OUMPIA                       PO BOX 2394                                                                               ANN ARBOR         MI   48106‐2394
SALAH YAFAI                          4052 CALHOUN ST                                                                           DEARBORN          MI   48126‐3618
SALAH, SAMI B                        7209 GOLD CREEK CT                                                                        SAN JOSE          CA   95120‐4222
SALAHATTIN GUGAY                     70 PINE ST.                       APT 221                                                 TITON FALLS       NJ   07753
SALAHATTIN GUGAY                     70 PINE ST UNIT 221                                                                       TINTON FALLS      NJ   07753‐7789
SALAHUD DEEN THELMA                  26581 MONTICELLO ST                                                                       INKSTER           MI   48141‐3538
SALAHUD DEEN, THELMA                 26581 MONTICELLO ST                                                                       INKSTER           MI   48141‐3538
SALAHUD‐DEEN, SHAHEED                15244 MIDDLEBELT ROAD                                                                     LIVONIA           MI   48154‐4035
SALAHUD‐DIN, NUHA                    664 E VIRGINIA AVE                                                                        COLUMBIA CITY     IN   46725‐8999
SALAHUD‐DIN, TISA J                  6302 ILLINOIS ROAD #130                                                                   FORT WAYNE        IN   46804
SALAHUD‐DIN, TISA JOI                6302 ILLINOIS ROAD #130                                                                   FORT WAYNE        IN   46804
SALAHUDDIN SULTAN YOUSIF AL‐BAYATI

SALAHUDDIN, WALI Z                   245 LORA AVE                                                                              YOUNGSTOWN        OH   44504‐1714
SALAIM HASSIEN                       PO BOX 85432                                                                              WESTLAND          MI   48185‐0432
SALAIS, ALFONZO                      1511 INDIANA AVE                                                                          LANSING           MI   48906‐4610
SALAIS, JOSEPHINA S                  1409 MARK ST                                                                              LINCOLN PARK      MI   48146
SALAK JR, JOHN                       8229 KENSINGTON BLVD#545A                                                                 DAVISON           MI   48423
SALAK‐FRELITZ, DEBRA L               1722 MERSHON                                                                              SAGINAW           MI   48602
SALAM SHAILAL                        140 W HOPKINS AVE                                                                         PONTIAC           MI   48340‐1820
SALAM SHALLAL                        180 W HOPKINS AVE                                                                         PONTIAC           MI   48340‐1822
SALAM, ARAKI ABDEL
SALAM, JUNAID B                      PO BOX 9022                       PORT ELIZABETH (RSA)                                    WARREN            MI   48090‐9022
SALAMA                               2200 MONROE                                                                               DEARBORN          MI   48124
SALAMA,JOSEPH                        31000 LAHSER RD STE 2                                                                     BEVERLY HILLS     MI   48025‐4847
SALAMAI, MARY L                      338 CEDARWOOD TER                                                                         ROCHESTER         NY   14609‐6411
SALAMAJ, EDWARD G                    266 SPRING ST                                                                             MERIDEN           CT   06451‐5353
SALAMAJ, IRENE                       148 SLOPER LANE                                                                           CHESHIRE          CT   06410
SALAMAJ, IRENE                       148 SLOPER LN                                                                             CHESHIRE          CT   06410‐1532
SALAMAK JR, JOHN                     154 S. BELLEVUE AVENUE                                                                    PENNDEL           PA   19047
SALAMBASH YURI                       6419 GOLDEN EYE GLN                                                                       LAKEWOOD RANCH    FL   34202
SALAME, JOYCE M                      18909 HUNTINGTON                                                                          HARPER WOODS      MI   48225‐2044
SALAMEH, ALI S                       27079 SHEAHAN DR                                                                          DEARBORN HTS      MI   48127‐3649
SALAMEY, HUSSEIN A                   6500 HARTWELL ST                                                                          DEARBORN          MI   48126‐1819
SALAMEY, KRISTYNA                    4752 SCHLAFF ST                                                                           DEARBORN          MI   48126‐3134
SALAMIDO, COSMO D                    5030 WESTMINSTER DR                                                                       FORT MYERS        FL   33919‐1923
SALAMIE, PAUL A                      1773 SKYLINE DR                                                                           ROCHESTER HILLS   MI   48306‐3251
SALAMIN, CHARLES E                   3120 N POSEY LAKE HWY                                                                     HUDSON            MI   49247‐9746
SALAMIN, GAYTHA                      1915 COVINGTON                                                                            ANN ARBOR         MI   48103‐5617
SALAMINO, OLIVIA E                   702 CHERRY HOLLOW RD                                                                      COLUMBUS          OH   43228‐2789
SALAMON JR, EMERY G                  3057 ALPER AVE                                                                            LINCOLN PARK      MI   48146‐3252
SALAMON JR, EMERY G                  3057 ALPER AVE                                                                            LINCOLN PARK      MI   48146‐3252
SALAMON MICHAEL G                    668 ARDELLA RD                                                                            CUYAHOGA FALLS    OH   44223‐2722
SALAMON, ANTONETTE                   434 69TH ST                                                                               GUTTENBERG        NJ   07093‐2414
SALAMON, ANTONETTE                   434 69TH STREET                                                                           GUTTENBERG        NJ   07093‐2414
SALAMON, LOUIS                       4134 S BROAD ST APT E3                                                                    YARDVILLE         NJ   08620‐2008
SALAMON, MICHAEL G                   668 ARDELLA RD                                                                            CUYAHOGA FLS      OH   44223‐2722
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Name                            Address1                              Address2                        Address3                     Address4               City            State Zip
SALAMON, THEODORE M             51 BRITANNIA AVE                                                                                   WELLAND ON CANADA L3C‐
                                                                                                                                   7H4
SALAMONE ANTHONY                21772 CLUB VILLA TER                                                                                                      BOCA RATON       FL   33433‐3703
SALAMONE, FRANK D               1300 LARCHMONT PLACE                  APT 708                                                                             SALISBURY        NC   28144
SALAMONE, FRANK D               7128 SNOWBERRY DR                                                                                                         FORT WAYNE       IN   46814
SALAMONE, JOSEPH A              7561 HOMETOWN CT SE                                                                                                       CALEDONIA        MI   49316‐7300
SALAMONE, JOSEPH A              PO BOX 693                                                                                                                GRAND ISLAND     NY   14072‐0693
SALAMONE, LISA                  22030 ALGER ST                                                                                                            ST CLAIR SHRS    MI   48080‐2358
SALAMONE, MICHAEL               6775 STATE ROUTE 30                                                                                                       JEANNETTE        PA   15644‐3172
SALAMONE, MICHELANGELO F        46832 EDGEWATER DR                                                                                                        MACOMB           MI   48044‐3596
SALAMONE, ROBERT A              21034 N 66TH LN                                                                                                           GLENDALE         AZ   85308‐6433
SALANDER JR, GUY A              3111 SIMPSON RD                                                                                                           OWOSSO           MI   48867‐9320
SALANDER SR, GUY A              2751 W JUDDVILLE RD                                                                                                       OWOSSO           MI   48867‐9438
SALANDER, CARMEN E              2751 W JUDDVILLE RD                                                                                                       OWOSSO           MI   48867‐9438
SALANDER, RON
SALANDER, RONALD E              3955 SOUTH M‐52                                                                                                           OWOSSO          MI 48867
SALANDRA ANGELO J (481280)      KELLEY & FERRARO LLP                  1300 EAST NINTH STREET , 1901                                                       CLEVELAND       OH 44114
                                                                      BOND COURT BUILDING
SALANDRA, ANGELO J              KELLEY & FERRARO LLP                  1300 EAST NINTH STREET, 1901                                                        CLEVELAND       OH 44114
                                                                      BOND COURT BUILDING
SALANS HERTZFELD & HEILBRONN    RUE BOISSY D ANGLAS 9                                                                              PARIS 75008 FRANCE
                                                                                                                                   FRANCE
SALANSKY, MARY L                14336 GREATER PINES BLVD                                                                                                  CLERMONT        FL    34711‐6557
SALAONE, REVA                   7121 COLQUITT RD                                                                                                          KEITHVILLE      LA    71047‐5572
SALAPO, ELIZABETH P             820 CHURCHILL HUBBARD RD                                                                                                  YOUNGSTOWN      OH    44505‐1337
SALAS AUTOMOTIVE GROUP INC      9401 WILSHIRE BOULEVARD NINTH FLOOR                                                                                       BEVERLY HILLS   CA    90212

SALAS AUTOMOTIVE GROUP INC      ERVIN COHEN & JESSUP LLP              ATTN PETER JAZAYERI             9401 WILSHIRE BOULEVARD                             BEVERLY HILLS    CA 90212
                                                                                                      NINTH FLOOR
SALAS AUTOMOTIVE GROUP INC      ERVIN COHEN & JESSUP LLP              ATTN: PETER JAZAYERL            9401 WILSHIRE BOULEVARD                             BEVERLY HILLS    CA 90212
                                                                                                      NINTH FLOOR
SALAS AUTOMOTIVE GROUP, INC.    MICHAEL SALAS                         13742 POWAY RD                                                                      POWAY           CA    92064‐4706
SALAS AUTOMOTIVE GROUP, INC.    3742 POWAY ROAD                                                                                                           POWAY           CA
SALAS DAISY                     GARDINER, ROBERT                      5400 WARD ROAD, BUILDING IV                                                         ARVADA          CO    80002
SALAS DAISY                     GARDINER, ROBERT                      2014 CENTRAL AVENUE SW                                                              ALBUQUERQUE     NM    87104
SALAS DAISY                     GARDINER, SEBASTIAN ANTHONY           2014 CENTRAL AVENUE SW                                                              ALBUQUERQUE     NM    87104
SALAS DAISY                     SALAS, DAISY                          2014 CENTRAL AVENUE SW                                                              ALBUQUERQUE     NM    87104
SALAS EDE PETERSON & LAGE LLC   FL 1                                  6301 SUNSET DRIVE                                                                   MIAMI           FL    33143‐4819
SALAS FERNANDO                  400 GLENGARY CT APT 102                                                                                                   DURHAM          NC    27707‐5949
SALAS JR, LUIS C                5905 WEISS ST APT C7                                                                                                      SAGINAW         MI    48603‐2782
SALAS NANCY                     SALAS, NANCY                          1950 SAWTELLE BLVD STE 245                                                          LOS ANGELES     CA    90025‐7017
SALAS NANCY                     MENDOZA, SANDY                        CONSUMER LEGAL SERVICES         1950 SAWTELLE BLVD ‐ SUITE                          LOS ANGELES     CA    90025
                                                                                                      245
SALAS, ALBERT L                 5540 BUTANO PARK DR                                                                                                       FREMONT          CA   94538‐3200
SALAS, ALFONSO P                10286 LAFAYETTE LN                                                                                                        DIMONDALE        MI   48821‐9426
SALAS, ALISIA T                 2801 US HIGHWAY 83                                                                                                        WINTERS          TX   79567‐6417
SALAS, ALISIA T                 2801 U S HWY 83                                                                                                           WINTERS          TX   79567‐6417
SALAS, AMALIA                   11312 CECILIA ST.                                                                                                         NORWALK          CA   90650‐7658
SALAS, ANDREW                   1770 MACK RD                                                                                                              SAGINAW          MI   48601‐6836
SALAS, ANDREW J                 1129 N CHEROKEE RD                                                                                                        BENNINGTON       OK   74723
SALAS, ANNIE P                  4103 CRESTWOOD ST                                                                                                         FREMONT          CA   94538‐6059
SALAS, ARTURO                   624 WINTHROP AVE                                                                                                          SMYRNA           TN   37167‐3143
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Name                          Address1                         Address2                        Address3   Address4         City                State Zip
SALAS, CONRADO                15815 E STATE ROAD 78                                                                        OKEECHOBEE           FL 34974‐0337
SALAS, DAISY                  VIGIL LAW FIRM                   2014 CENTRAL AVENUE SW                                      ALBUQUERQUE          NM 87104
SALAS, FRANCISCO              755 CAMBRIDGE AVE                                                                            YOUNGSTOWN           OH 44502‐2520
SALAS, FRANCISCO L            11312 CECILIA ST                                                                             NORWALK              CA 90650‐7658
SALAS, FRANK                  3644 JENNY LIND AVENUE                                                                       N HIGHLANDS          CA 95660‐5653
SALAS, IGNACIO                5209 S 13TH ST UNIT F                                                                        MILWAUKEE            WI 53221‐3649
SALAS, JESSE B                10541 E CALLE DEL ESTE                                                                       TUCSON               AZ 85748‐6840
SALAS, JOHN C                 PO BOX 1178                                                                                  STERLINGTON          LA 71280‐1178
SALAS, JOSE R                 PO BOX 5597                                                                                  SALTON CITY          CA 92275‐5597
SALAS, JUAN                   5655 HANLEY                                                                                  WATERFORD            MI 48327‐2565
SALAS, JUAN L                 19785 ROAD 192                                                                               STRATHMORE           CA 93267‐9788
SALAS, LUIS
SALAS, LUIS C                 510 OVERHILL DR                                                                              SAN ANTONIO         TX 78228‐4831
SALAS, MANUEL M               1803 BROCKWAY ST                                                                             SAGINAW             MI 48602‐2650
SALAS, MARIA                  STEVENSON & AMMONS ‐ ROBERT E    3700 MONTROSE BLVD                                          HOUSTON             TX 77006‐4624
                              AMMONS
SALAS, MARIE T                9510 MANGO AVE                                                                               HESPERIA            CA   92345
SALAS, MARIE T                9510 MANGO AVENUE                                                                            HESPERIA            CA   92345‐6219
SALAS, MICHAEL P              5997 MERIDIAN RD                                                                             LAINGSBURG          MI   48848‐9671
SALAS, NANCY                  CONSUMER LEGAL SERVICES          1950 SAWTELLE BLVD STE 245                                  LOS ANGELES         CA   90025‐7017
SALAS, NOHELY                 3538 S. WINONA AVE                                                                           BERWYN              IL   60402
SALAS, NORMA J                10541 E CALLE DEL ESTE                                                                       TUCSON              AZ   85748‐6840
SALAS, PEDRO                  5816 W PINERIDGE DR                                                                          SIOUX FALLS         SD   57107‐0960
SALAS, ROBERT L               6644 SOUTHWEST PKWY                                                                          WICHITA FALLS       TX   76310‐2733
SALAS, ROBERT LEO             6644 SOUTHWEST PKWY                                                                          WICHITA FALLS       TX   76310‐2733
SALAS, RONNIE P               1185 MONITOR DR                                                                              RENO                NV   89512‐3147
SALAS, SERAFIN R              14917 POLK ST                                                                                SYLMAR              CA   91342‐5070
SALAS, STEPHEN R              212 ADAMS ST                                                                                 BAY CITY            MI   48708
SALASKE, TIMOTHY H            44370 SATURN DR                                                                              STERLING HTS        MI   48314‐3173
SALASKI, STEVEN F             27430 W 10 MILE RD                                                                           FARMINGTON          MI   48336
SALASNY, JAMES S              75 HARVINGTON RD                                                                             TONAWANDA           NY   14150‐4218
SALASOVICH RICHARD (447471)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH   44067
                                                               PROFESSIONAL BLDG
SALATA CONNIE                 465 FONRO DR                                                                                 BRIGHTON            MI   48114‐9616
SALATA, DIANNE D              5702 SUNSET TRL                                                                              YPSILANTI           MI   48197‐7129
SALATA, EDWARD J              505 REDMAPLE LN                                                                              BRIGHTON            MI   48116‐4306
SALATA, MATTHEW T             5838 LOCBURY LN R‐583                                                                        DUBLIN              OH   43016
SALATA, SANDRA L              16158 EDGEWOOD DR                                                                            LIVONIA             MI   48154‐2228
SALATA, TERRENCE              16158 EDGEWOOD DR                                                                            LIVONIA             MI   48154‐2228
SALATIN, DAVID C              391 SILVER MOSS LN                                                                           TARPON SPRINGS      FL   34688‐7428
SALATIN, GREGORY J            685 S 300 E                                                                                  ANDERSON            IN   46017‐1813
SALATIN, VIOLET               19053 FAIRFIELD BLVD                                                                         NOBLESVILLE         IN   46060
SALATINO, KAREN A             116 WILMONT CT                                                                               HOPEWELL JUNCTION   NY   12533‐6371
SALATINO, KAREN ANN           116 WILMONT CT                                                                               HOPEWELL JUNCTION   NY   12533‐6371
SALATINO, LENORE G            105 29TH ST                      C/O GLORIA DONOHUE                                          SAN FRANCISCO       CA   94110‐4902
SALATINO, LENORE G            105 29TH STREET                  C/O GLORIA DONOHUE                                          SAN FRANCISCO       CA   94110‐4902
SALATKA, GENEVA               28058 HOOVER ROAD. APT. 4                                                                    WARREN              MI   48093
SALATKA, GENEVA               28058 HOOVER RD APT 4                                                                        WARREN              MI   48093‐4162
SALATORE ANTONINI             21011 N TOTEM DR                                                                             SUN CITY WEST       AZ   85375‐2553
SALAVA, ARLENE M              612 BRADLEY ST                                                                               OWOSSO              MI   48867‐2620
SALAVA, JOSEPH G              725 HUNTINGTON DR                                                                            OWOSSO              MI   48867‐1903
SALAVADOR PENA                KELLER FISHBACK & JACKSON LLP    18425 BURBANK BLVD, STE 610                                 TARZANA             CA   91356
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Name                                  Address1                       Address2                        Address3           Address4               City              State Zip
SALAVEA, RAMONA L                     35023 42ND AVE S                                                                                         AUBURN             WA 98001‐9038
SALAVICS, GEORGE A                    5169 WINSHALL DR                                                                                         SWARTZ CREEK       MI 48473‐1222
SALAY ROBERT F                        139 FRANKIE LN                                                                                           CADILLAC           MI 49601‐9392
SALAY, DANIEL S                       PO BOX 41                      7438 ENTERPRISE DR/                                                       HAMILTON           IN 46742‐0041
SALAY, JOHN M                         1370 SAYBROOK AVE                                                                                        N TONAWANDA        NY 14120‐2359
SALAY, MICHAEL E                      1560 W PLACITA SIN PARADA                                                                                SAHUARITA          AZ 85629‐9243
SALAY, MICHAEL E                      1560 WEST PLACITA SIN PARADA                                                                             SAHUARITA          AZ 85629‐9243
SALAY, ROBERT F                       139 FRANKIE LN                                                                                           CADILLAC           MI 49601‐9392
SALAY, STEPHEN J                      10417 S 68TH EAST AVE                                                                                    TULSA              OK 74133
SALAY, THERESA                        30335 EUCLID AVE APT 44                                                                                  WICKLIFFE          OH 44092
SALAZ MARTIN, PILAR                   29984 WINDSOR                                                                                            GIBRALTAR          MI 48173‐9416
SALAZ, BETTY L                        10045 INDEPENDENCE RD                                                                                    DEFIANCE           OH 43512‐9044
SALAZ, ELIAS B                        10045 INDEPENDENCE RD                                                                                    DEFIANCE           OH 43512‐9044
SALAZ, MIGEL B                        PO BOX 842                                                                                               DEFIANCE           OH 43512‐0842
SALAZAR & ASSOC PA                    PO BOX 37380                                                                                             ALBUQUERQUE        NM 87176‐7380
SALAZAR INDUSTRIAL                    TRAINING SERVICES              851 EAGLE RIDGE DR                                 OSHAWA CANADA ON L1K
                                                                                                                        2Z9 CANADA
SALAZAR JOSE H (429751)               GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                               NORFOLK           VA 23510
                                                                     STREET, SUITE 600
SALAZAR JR, BACILIO                   5703 VALENCIA BLVD                                                                                       LANSING           MI   48911‐3557
SALAZAR JR, HERIBERTO                 9200 WINDSOR HWY                                                                                         DIMONDALE         MI   48821‐9785
SALAZAR JR, JESUS                     6844 REX DR                                                                                              ROCKFORD          MI   49341‐8620
SALAZAR JR, JOE                       1412 BLISS ST                                                                                            SAGINAW           MI   48602‐2621
SALAZAR JR, MARIO M                   4921 DELRAY DR                                                                                           LANSING           MI   48910‐5317
SALAZAR JR, ROSENDO                   1412 HUMPHREY ST                                                                                         KALAMAZOO         MI   49048‐1871
SALAZAR JUSTINO C                     SALAZAR, CAROLINA              824 SHEPPARD RD                                                           BURKBURNETT       TX   76354‐2725
SALAZAR JUSTINO C                     SALAZAR, JOSEFINA              824 SHEPPARD RD                                                           BURKBURNETT       TX   76354‐2725
SALAZAR JUSTINO C                     SALAZAR, HECTOR                824 SHEPPARD RD                                                           BURKBURNETT       TX   76354
SALAZAR JUSTINO C                     SALAZAR, ISRAEL                824 SHEPPARD RD                                                           BURKBURNETT       TX   76354
SALAZAR JUSTINO C                     SALAZAR, JUSTIN                824 SHEPPARD RD                                                           BURKBURNETT       TX   76354
SALAZAR JUSTINO C                     SALAZAR, JUSTINO C             824 SHEPHERD RD                                                           BURKBURNETT       TX   76354
SALAZAR MACARIO O (660942)            GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                               NORFOLK           VA   23510
                                                                     STREET, SUITE 600
SALAZAR MANUEL                        PO BOX 132                                                                                               OAK HARBOR        OH   43449‐0132
SALAZAR MICHELLE                      SALAZAR, MARLENE               ENRIQUE SERNA                   20985 IH 10 WEST                          SAN ANTONIO       TX   78257
SALAZAR MICHELLE                      SALAZAR, MARTIN                ENRIQUE SERNA                   20985 IH 10 WEST                          SAN ANTONIO       TX   78257
SALAZAR MICHELLE                      SALAZAR, MICHELLE              SERNA & ASSOCIATES, PC          20985 IH‐10 WEST                          SAN ANTONIO       TX   78257
SALAZAR NESTOR
SALAZAR SOPHIE (ESTATE OF) (501030)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD        OH 44067
                                                                     PROFESSIONAL BLDG
SALAZAR, ALEJANDRO G                  1735 MARY AVE                                                                                            LANSING           MI   48910‐5210
SALAZAR, ANGELA                       1065 LENDL LN                                                                                            LAWRENCEVILLE     GA   30044‐6970
SALAZAR, ARTHUR                       6625 WAKEFIELD RD                                                                                        N RICHLND HLS     TX   76180‐4424
SALAZAR, ARTURO M                     1808 MCGUFFEY RD                                                                                         YOUNGSTOWN        OH   44505
SALAZAR, AURELIO                      3334 ELIZABETH AVE                                                                                       LYNWOOD           CA   90262‐2505
SALAZAR, BERNARDO                     412 W OLD US HWY 80            APT B                                                                     WHITE OAK         TX   75693‐2038
SALAZAR, BERTHA G                     1165 SARATOGA AVE                                                                                        GROVER BEACH      CA   93433
SALAZAR, BILLIE Q                     105 TUDOR DR                                                                                             LANSING           MI   48906‐1663
SALAZAR, BILLIE Q.                    105 TUDOR DR                                                                                             LANSING           MI   48906‐1663
SALAZAR, BONIFACIO R                  2907 GREEN ACRES DR                                                                                      MULLIKEN          MI   48861‐9709
SALAZAR, CARLOS A                     11221 PARK ST                                                                                            CERRITOS          CA   90703‐1633
SALAZAR, CARLOS A                     7421 SANTA FE AVE                                                                                        HUNTINGTON PARK   CA   90255
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Name                       Address1                         Address2                      Address3   Address4         City               State Zip
SALAZAR, CAROLINA          BOOKER STEVEN R                  824 SHEPPARD RD                                           BURKBURNETT         TX 76354‐2725
SALAZAR, DANILO C          4149 MARLWOOD DR                                                                           W BLOOMFIELD        MI 48323‐2749
SALAZAR, DARIO             PO BOX 385                       10938 HIGHWAY 227                                         CROSSVILLE          AL 35962‐0385
SALAZAR, DAVID             5033 BUFFALO AVE APT 6                                                                     SHERMAN OAKS        CA 91423‐1436
SALAZAR, DAVID             32 S EASTWAY DR                                                                            PONTIAC             MI 48342‐2931
SALAZAR, DAVID             9200 WINDSOR HWY                                                                           DIMONDALE           MI 48821‐9785
SALAZAR, DAVID A           235 S 7TH ST                                                                               SANTA PAULA         CA 93060‐3601
SALAZAR, DAVID H           46732 AYRES AVE                                                                            BELLEVILLE          MI 48111‐1289
SALAZAR, DAVID L           951 BRADISH ST                                                                             ADRIAN              MI 49221
SALAZAR, DOMINGO D         5200 BALZER ST                                                                             LANSING             MI 48911‐3531
SALAZAR, EDUARDO           1901 RENEE LN                                                                              EDINBURG            TX 78539‐5969
SALAZAR, EDUARDO DELGADO   MIKAL WATTS                      815 WALKER ST STE 1600                                    HOUSTON             TX 77002‐5769
SALAZAR, EDWARD H          6200 SE 55TH ST                                                                            OKLAHOMA CITY       OK 73135‐5203
SALAZAR, EDWARD H          1645 LILLIAN CT                                                                            COLUMBIA            TN 38401‐5419
SALAZAR, FELIPE T          5913 VALENCIA BLVD                                                                         LANSING             MI 48911‐4708
SALAZAR, FLORA             1521 LEVERETTE ST                                                                          DETROIT             MI 48216‐1930
SALAZAR, GILBERT           2409 SUNSET LN                                                                             ADRIAN              MI 49221‐3644
SALAZAR, GILBERTO          1021 PYRAMID DR                                                                            CORPUS CHRISTI      TX 78412‐3733
SALAZAR, GLADYS C          RR 9 BOX 382E                                                                              WESLACO             TX 78596‐6570
SALAZAR, GLADYS C          R 9 ‐ BOX 382E                                                                             WESLACO             TX 78596‐6570
SALAZAR, GLORIA C          4581 KEMPF ST                                                                              WATERFORD           MI 48329‐1805
SALAZAR, GUADALUPE         23055 WATT DR                                                                              FARMINGTON HILLS    MI 48336‐3757
SALAZAR, HECTOR            BOOKER STEVEN R                  824 SHEPPARD RD                                           BURKBURNETT         TX 76354‐2725
SALAZAR, HILDA R.          1688 W 20TH ST                                                                             LOS ANGELES         CA 90007‐1101
SALAZAR, HILDA R.          1688 WEST 20TH ST                                                                          LOS ANGELES         CA 90007‐1101
SALAZAR, INGEBORG M        5703 VALENCIA BLVD                                                                         LANSING             MI 48911‐3557
SALAZAR, ISRAEL            901 FREMONT ST                                                                             BAY CITY            MI 48708‐7882
SALAZAR, ISRAEL            BOOKER STEVEN R                  824 SHEPPARD RD                                           BURKBURNETT         TX 76354‐2725
SALAZAR, JACINTO E         13024 AUTUMNWOOD DR                                                                        VICTORVILLE         CA 92395‐8860
SALAZAR, JAIME             1065 LENDL LN                                                                              LAWRENCEVILLE       GA 30044‐6970
SALAZAR, JESUS             3501 WALKER RD                                                                             DONNA               TX 78537‐7709
SALAZAR, JESUS BLACK
SALAZAR, JESUS BLAKE
SALAZAR, JOAN M            PO BOX 247                                                                                 NIVERVILLE         NY   12130‐0247
SALAZAR, JOHN              2329 35TH ST                                                                               BEDFORD            IN   47421‐5518
SALAZAR, JOHN J            19025 SCHICK RD                                                                            DEFIANCE           OH   43512‐8608
SALAZAR, JOHNNY            818 W CLEO AVE                                                                             PORTERVILLE        CA   93257‐7838
SALAZAR, JORGE Z           2005 E 12TH ST # A                                                                         DOUGLAS            AZ   85607‐2439
SALAZAR, JOSE AGUAYO
SALAZAR, JOSE H            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                            STREET, SUITE 600
SALAZAR, JOSE L            6857 W MAPLE GROVE RD                                                                      HUNTINGTON         IN   46750‐8926
SALAZAR, JOSEFINA          BOOKER STEVEN R                  824 SHEPPARD RD                                           BURKBURNETT        TX   76354‐2725
SALAZAR, JOSHUA            1917 NUREMBERG BLVD                                                                        PUNTA GORDA        FL   33983‐6020
SALAZAR, JUANITA           406 W IROQUOIS                                                                             PONTIAC            MI   48341‐1541
SALAZAR, JUSTA             3925 FORT BLVD                                                                             EL PASO            TX   79930‐6207
SALAZAR, JUSTIN            BOOKER STEVEN R                  824 SHEPPARD RD                                           BURKBURNETT        TX   76354‐2725
SALAZAR, JUSTINO
SALAZAR, JUSTINO C         STEVEN R. BOOKER                 824 SHEPHERD RD                                           BURKBURNETT        TX   76354
SALAZAR, KATHLEEN          1124 WASHINGTON BLVD                                                                       LAKE ODESSA        MI   48849‐1076
SALAZAR, KATHLEEN A        816 36TH AVENUE PL NW                                                                      HICKORY            NC   28601‐8084
SALAZAR, LEO A             3901 SW HIDDEN COVE DR                                                                     LEES SUMMIT        MO   64082‐4636
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Name                     Address1                           Address2                       Address3   Address4              City            State Zip
SALAZAR, LEOCADIA M      4904 DELBROOK AVENUE                                                                               LANSING          MI 48910‐5316
SALAZAR, LEONARD J       405 S 5TH ST                                                                                       SANTA PAULA      CA 93060‐3367
SALAZAR, LUIS            LOS SARGAZOS #1535                                                           RENACA VINA DEL MAR
                                                                                                      00000 CHILE
SALAZAR, LUIS E          102 COMSTOCK ST                                                                                    NEW BRUNSWICK   NJ 08901
SALAZAR, MACARIO O       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA 23510‐2212
                                                            STREET, SUITE 600
SALAZAR, MANUEL          PO BOX 6663                                                                                        ARLINGTON       TX   76005‐6663
SALAZAR, MANUEL          PO BOX 132                                                                                         OAK HARBOR      OH   43449‐0132
SALAZAR, MANUEL A        6506 FAIRWAY DR                                                                                    HOUSTON         TX   77087‐2225
SALAZAR, MANUEL P        3117 NELLBERT ST                                                                                   KALAMAZOO       MI   49001‐4581
SALAZAR, MANUEL T        5177 TOKAY DR                                                                                      FLINT           MI   48507‐2916
SALAZAR, MARGARITO R     1602 HARRISON ST                                                                                   LAKE ODESSA     MI   48849‐1123
SALAZAR, MARIA E         14507 SAYRE ST                                                                                     SYLMAR          CA   91342‐5133
SALAZAR, MARILYN G.      2451 S NORWOOD AVE                                                                                 INDEPENDENCE    MO   64052‐3542
SALAZAR, MARIO           14507 SAYRE ST                                                                                     SYLMAR          CA   91342‐5133
SALAZAR, MARIVEL         17979 UPLAND AVE                                                                                   FONTANA         CA   92335‐3733
SALAZAR, MARLEN
SALAZAR, MARTIN
SALAZAR, MERCEDES        222 N AVENUE 66 APT 18                                                                             LOS ANGELES     CA   90042‐2951
SALAZAR, MICHAEL A       6441 COOPER RD                                                                                     LANSING         MI   48911‐5558
SALAZAR, MICHELLE R      9200 WINDSOR HWY                                                                                   DIMONDALE       MI   48821‐9785
SALAZAR, MIKE            600 CORPORATE PARK DR                                                                              CLAYTON         MO   63105‐4204
SALAZAR, MIKE P          801 W COVINA BLVD SPC 17                                                                           SAN DIMAS       CA   91773‐2465
SALAZAR, MITCHEL
SALAZAR, MOISES          1020 CASGRAIN ST                                                                                   DETROIT         MI   48209‐2266
SALAZAR, NESTOR R        92 S 18TH ST                                                                                       KANSAS CITY     KS   66102‐4951
SALAZAR, NESTOR R        3308 N 54TH ST                                                                                     KANSAS CITY     KS   66104‐1646
SALAZAR, PABLO R         754 2ND AVE                                                                                        LAKE ODESSA     MI   48849‐1250
SALAZAR, PAUL C          2668 PARADISE DR                                                                                   SPRING HILL     TN   37174‐7156
SALAZAR, PEDRO           3112 KONKLE ST                                                                                     KALAMAZOO       MI   49001‐4533
SALAZAR, QUIRINO         3200 N CEDAR ST                                                                                    LANSING         MI   48906‐3210
SALAZAR, RAFAEL C        250 VALDEZ AVE                                                                                     GOLETA          CA   93117‐2015
SALAZAR, RANDOLPH        5301 COPLEY SQUARE RD                                                                              GRAND BLANC     MI   48439‐8633
SALAZAR, RICHARD J       1224 WINDY MEADOWS DR                                                                              BURLESON        TX   76028‐2571
SALAZAR, ROBERT
SALAZAR, ROBERT S        2006 W 1900 N # 69                                                                                 ST GEORGE       UT   84770
SALAZAR, ROBERTA L       6038 SOUTHBROOK                                                                                    LANSING         MI   48911‐4844
SALAZAR, ROSENDO         1412 HUMPHREY ST                                                                                   KALAMAZOO       MI   49048‐1871
SALAZAR, SOPHIE          BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                    NORTHFIELD      OH   44067
                                                            PROFESSIONAL BLDG
SALAZAR, VALENTINO       22103 DREW FALLS CT                                                                                RICHMOND        TX   77469
SALAZAR, VALENTINO       22103 DREWFALLS CT                                                                                 RICHMOND        TX   77407‐2979
SALAZAR, VIRGINIA        405 E. RIVER                                                                                       VICTORIA        TX   77901‐8223
SALAZAR, YOLANDA         201 PROVINCIAL CT UNIT 100                                                                         SAGINAW         MI   48638‐6139
SALAZAR,JUAN F           1912 SARATOGA DR                                                                                   ALPHARETTA      GA   30022‐2891
SALB, FRANCIS E          2602 WESTLEIGH DR                                                                                  INDIANAPOLIS    IN   46268‐2038
SALBENBLATT, DOROTHY G   5935 SHATTUCK ROAD                 APMT 103                                                        SAGINAW         MI   48603
SALBER, EDITH G          9219 AMSDELL AVE                                                                                   WHITTIER        CA   90605‐2502
SALBER, LINDA K          108 MCINTOSH CT                                                                                    CARY            NC   27511‐5164
SALCAU, CHRISTOPHER      PO BOX 584                                                                                         MANCHESTER      MI   48158‐0584
SALCEDO JR, SIMON R      PO BOX 370                                                                                         SOMERSET        TX   78069‐0370
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Name                                Address1                          Address2                           Address3   Address4         City               State Zip
SALCEDO JUAN (ESTATE OF) (660213)   BRAYTON PURCELL                   PO BOX 6169                                                    NOVATO              CA 94948‐6169
SALCEDO, BEATRICE                   1309 GREENWICH ST                                                                                SAGINAW             MI 48602‐1647
SALCEDO, DIONIS                     269 S BROADWAY APT 2                                                                             LAWRENCE            MA 01843‐2630
SALCEDO, ELIAS                      818 OLIVE TREE CIRCLE             APT# 818                                                       GREENACRES          FL 33413
SALCEDO, ESMERALDA                  922 LIBERTY ST                                                                                   AURORA               IL 60505‐2820
SALCEDO, FRANK H                    25 N COVINGTON DR                                                                                BUFFALO             NY 14220‐2510
SALCEDO, ISABEL                     5137 GERALDINE DR                                                                                LANSING             MI 48917‐3310
SALCEDO, JESSE R                    PO BOX 529                                                                                       BRIDGEPORT          MI 48722
SALCEDO, JESSE R                    2127 PONCIANA LOOP                                                                               AUSTIN              TX 78744
SALCEDO, JUAN                       BRAYTON PURCELL                   PO BOX 6169                                                    NOVATO              CA 94948‐6169
SALCEDO, ONEL B                     10510 OAK CREST DR                                                                               JACKSONVILLE        FL 32225‐6708
SALCEDO, REFUGIO C                  8133 THIRD STREET APT. 201                                                                       DOWNEY              CA 90241
SALCICCIOLI CONSTANCE               NORSTRANDT, AMY                   8486 HICKORY HILLS BLVD.                                       GRAND BLANC         MI 48439
SALCICCIOLI CONSTANCE               SALCICCIOLI, CONSTANCE            UNKNOWN
SALCIDO OSUNA, YADIRA ERIKA         WIGINGTON RUMLEY LLP              800 NORTH SHORELINE ‐ 14TH                                     CORPUS CHRISTI      TX   78401
                                                                      FLOOR SOUTH TOWER
SALCIDO SUSAN                       8783 VIVERO ST                                                                                   RANCHO CUCAMONGA   CA    91730‐1152
SALCIDO, BARBARA                    580 LEO DR                                                                                       HAMILTON           OH    45013‐5211
SALCIDO, JOSE                       4878 STATE ST BOX 31                                                                             GAGETOWN           MI    48735
SALCIDO, MANUEL A                   580 LEO DR                                                                                       HAMILTON           OH    45013‐5211
SALCIDO, MICHAEL                    202 BROOKHAVEN ST SOUTHWEST                                                                      DECATUR            AL    35601‐4128
SALCITI, ROSE                       485 SUWANEE EAST DR                                                                              LAWRENCEVILLE      GA    30043‐3597
SALCITO DOMINIC                     SALCITO, DOMINIC                  203 WILMINGTON PIKE , SUITE 101A                               GLEN MILLS         PA    19342

SALCITO DOMINIC                     SALCITO, ROSEMARIE                203 WILMINGTON PIKE , SUITE 101A                               GLEN MILLS          PA 19342

SALCITO, DOMINIC                    POWER AND GERBER P.C.             203 WILMINGTON PIKE, SUITE 101A                                GLENN MILLS         PA 19342

SALCITO, ROSEMARIE                  POWER AND GERBER P.C.             203 WILMINGTON PIKE, SUITE 101A                                GLENN MILLS         PA 19342

SALCO ENGINEERING & MFG             506 N MECHANIC ST                                                                                JACKSON            MI    49201‐1309
SALCO SITE INC REMEDIATION FND      C\O M KOSMALSKI BODMAN LONGLEY    100 RENAISSANCE CTR FL 34                                      DETROIT            MI    48243‐1105
SALCONE, EILEEN G                   750 ROSELAWN AVE. N.E.                                                                           WARREN             OH    44483‐5329
SALDANA ARMANDO                     SALDANA, ARMANDO                  1950 SAWTELLE BLVD STE 245                                     LOS ANGELES        CA    90025‐7017
SALDANA JR, ISRAEL C                158 W TENNYSON AVE                                                                               PONTIAC            MI    48340‐2672
SALDANA SANTIAGO                    THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD            SUITE 44                    CORAL GABLES       FL    33146
SALDANA, ABEL
SALDANA, ADAM                       61347 MIRIAM DR                                                                                  WASHINGTON         MI 48094‐1419
SALDANA, AMADO                      2607 AVENUE A                                                                                    FLINT              MI 48505
SALDANA, ANNIE LISA
SALDANA, ARMANDO                    CONSUMER LEGAL SERVICES           1950 SAWTELLE BLVD STE 245                                     LOS ANGELES        CA 90025‐7017
SALDANA, CARMEN W                   3232 THORNTON DR                                                                                 JANESVILLE         WI 53548‐9189
SALDANA, CHARLES HUMBERTO
SALDANA, DANIEL
SALDANA, DAVID                      408 S MEADOW AVE                                                                                 LAREDO             TX    78040‐7012
SALDANA, DAVID                      3260 CONGRESS AVE                                                                                SAGINAW            MI    48602‐3107
SALDANA, ENRIGUE M                  15850 ALLEN RD                                                                                   TAYLOR             MI    48180‐5355
SALDANA, ERNESTO                    8100 ARCADIAN SHORES DR                                                                          SHREVEPORT         LA    71129‐4108
SALDANA, FRANCISCA                  2520 E 13TH ST                                                                                   BROWNSVILLE        TX    78521‐3330
SALDANA, FRANK                      4172 GLORIA ST                                                                                   WAYNE              MI    48184‐2253
SALDANA, FRANK J                    4172 GLORIA STREET                                                                               WAYNE              MI    48184‐2253
SALDANA, JOANN F                    PO BOX 372                                                                                       ELWOOD             IN    46036‐0372
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Name                                 Address1                            Address2                       Address3   Address4                 City               State Zip
SALDANA, JOSE A                      30 DEBORAH DR                                                                                          SAINT PETERS        MO 63376‐1855
SALDANA, JUAN                        34991 GOLFSIDE DR                                                                                      FORISTELL           MO 63348‐2498
SALDANA, JUSTA                       1826 N TALMAN AVENUE                                                                                   CHICAGO              IL 60647
SALDANA, MARGARET                    811 S ANDRE ST                                                                                         SAGINAW             MI 48602‐2411
SALDANA, MARIA ELMA                  ALLISON DOUGLAS LAW OFFICES OF      500 N WATER ST STE 400                                             CORPUS CHRISTI      TX 78471‐0014
SALDANA, MARIA ELMA                  HUERTA LAW FIRM                     924 LEOPARD ST                                                     CORPUS CHRISTI      TX 78401‐2423
SALDANA, MARJORIE M                  4535 CLOVER WAY W                                                                                      SAGINAW             MI 48603
SALDANA, MICHAEL DANIEL
SALDANA, PEDRO C                     939 FAIRVIEW AVE                                                                                       PONTIAC            MI   48340‐2522
SALDANA, RAMIRO A                    PO BOX 372                                                                                             ELWOOD             IN   46036‐0372
SALDANA, RONDA M                     104 SALTWOOD PLACE                                                                                     HENDERSONVLLE      TN   37075‐4556
SALDANA, SEFERINO                    624 S. GRAND TRAVERSE ST.                                                                              FLINT              MI   48502
SALDANA, SHARON M                    9495 LAKE RD                                                                                           MONTROSE           MI   48457‐9715
SALDANA, SHARON MAE                  9495 LAKE RD                                                                                           MONTROSE           MI   48457‐9715
SALDANA, TOMASA R                    4915 S AIRPORT RD                                                                                      BRIDGEPORT         MI   48722‐9516
SALDANA, VITALINA                    9023 S EXCHANGE AVE                                                                                    CHICAGO            IL   60617‐4223
SALDANA, YOOMI A                     3232 THORNTON DR                                                                                       JANESVILLE         WI   53548‐9189
SALDANHA, JOHNNY                     AV WASHINGTON LUIZ, 1576            APTO 112                                  SAO PAULO 00000 BRAZIL
                                                                                                                   04662‐002
SALDARINI, LITA B                    1530 PALISADE AVE APT 20R                                                                              FORT LEE           NJ   07024‐5423
SALDARRIAGA CATALINA                 2066 MORGAN HILL DR                                                                                    LOS ANGELES        CA   90068‐3619
SALDIVAR SANDRA                      APT 101                             23230 HALSTED ROAD                                                 FARMINGTN HLS      MI   48335‐3762
SALDIVAR, ALFREDO L                  3821 RONALD ST                                                                                         LANSING            MI   48911‐2670
SALDIVAR, ARGENTINA                  PO BOX 315                                                                                             ARLINGTON          TX   76004‐0315
SALDIVAR, ERCILIA
SALDIVAR, FLORESTELA                 9026 LAGUNA FALLS                                                                                      SAN ANTONIO        TX   78251
SALDIVAR, FLORESTELA                 9026 LAGUNA FLS                                                                                        SAN ANTONIO        TX   78251‐4959
SALDIVAR, GEORGE P                   11534 LAUREL CANYON BLVD                                                                               SAN FERNANDO       CA   91340‐4124
SALDIVAR, GLORIA L                   514 BRIAN DR                                                                                           GRAND PRAIRIE      TX   75052‐6411
SALDIVAR, JOSE A                     4311 STILL MEADOW CT                                                                                   GRAND PRAIRIE      TX   75052‐4844
SALDIVAR, MISTY D                    PO BOX 466                                                                                             FORT WORTH         TX   76101‐0466
SALDIVAR, ROB 09 27 2007
SALDIVAR, SEBASTIAN JR
SALDIVAR‐VALLES, SANDRA              44650 BAYVIEW AVE APT 10201                                                                            CLINTON TOWNSHIP   MI 48038‐7022
SALDUTTO, THOMAS A                   3892 HARVARD ST                                                                                        HAMBURG            NY 14075‐2807
SALE AUTO MALL INC                   JOHNSON HEARN VINEGAR GEE & GLASS   1822 E NC HIGHWAY 54 STE 200                                       DURHAM             NC 27713
                                     PLLC
SALE AUTO MALL, INC.                 1053 US HIGHWAY 258 N                                                                                  KINSTON            NC   28504‐9105
SALE AUTO MALL, INC.                 DANIEL SALE                         1053 US HIGHWAY 258 N                                              KINSTON            NC   28504‐9105
SALE DONALD R (ESTATE OF) (667183)   GORI JULIAN & ASSOCIATES PC         156 N MAIN ST                                                      EDWARDSVILLE       IL   62025‐1972
SALE, BARBARA J                      4306 MAYA LN                                                                                           SWARTZ CREEK       MI   48473‐1593
SALE, BRENDA A                       3711 E TOWNLINE LAKE RD                                                                                HARRISON           MI   48625‐9241
SALE, DANIEL K
SALE, DAVID F                        4306 MAYA LN                                                                                           SWARTZ CREEK       MI 48473‐1593
SALE, DAVID K
SALE, DONALD R                       WISE & JULIAN                       156 N MAIN ST STOP 1                                               EDWARDSVILLE       IL   62025‐1972
SALE, GARY P                         6980 NE STATE ROUTE 6                                                                                  SAINT JOSEPH       MO   64507‐8713
SALE, GARY PAUL                      6980 NE STATE ROUTE 6                                                                                  SAINT JOSEPH       MO   64507‐8713
SALE, JERRY W                        4912 DAWN ST                                                                                           ANDERSON           IN   46013‐1312
SALE, MATTHEW D                      536 SOUTHRIDGE DR                                                                                      BEDFORD            IN   47421‐9262
SALE, MELODY A                       4482 NORTH ST                                                                                          HOLT               MI   48842
SALE, SHERMAN H                      6332 RED FOX RD                                                                                        PENDLETON          IN   46064
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Name                               Address1                           Address2                     Address3   Address4         City                State Zip
SALE, TERESA M                     2600 N ROMAN ST                                                                             TERRE HAUTE          IN 47805‐9751
SALEEBA, ANTONIO J                 113 ORANGE RD N E                                                                           LAKE PLACID          FL 33852
SALEEBA, BRETT M                   901 KREIDER CT                                                                              TRENTON              OH 45067‐9302
SALEEM EL AMIN                     2022 SLOAN ST                                                                               FLINT                MI 48504‐4017
SALEEM JASMINE                     MOHAMAD, BELVA                     2067 N MIRO ST                                           NEW ORLEANS          LA 70119‐1656
SALEEM JASMINE                     SALEEM, JASMINE                    2067 N MIRO ST                                           NEW ORLEANS          LA 70119‐1656
SALEEM JASMINE                     SALEEM, RAQUIESHA                  2067 N MIRO ST                                           NEW ORLEANS          LA 70119‐1656
SALEEM JASMINE                     SALEEM, RYAN                       2067 N MIRO ST                                           NEW ORLEANS          LA 70119‐1656
SALEEM MANNAN                      1514 MILTON ST                                                                              SAGINAW              MI 48602‐5216
SALEEM MOHAMMED                    PO BOX 9022                        C/O: GM BANGALORE                                        WARREN               MI 48090‐9022
SALEEM MUSHARBASH                  3759 CASHEEN DR                                                                             CHINO HILLS          CA 91709‐2919
SALEEM, DELROY H                   65 MANNS RD                                                                                 SEVERNA PARK         MD 21146‐1108
SALEEM, DORIS                      16546 MUIRLAND                                                                              DETROIT              MI 48221‐3013
SALEEM, ISAIAH O                   801 BROOKSIDE DR APT 105                                                                    LANSING              MI 48917
SALEEM, ISAIAH O                   APT 106                            801 BROOKSIDE DRIVE                                      LANSING              MI 48917‐9298
SALEEM, JASMINE
SALEEM, JASMINE                    PLAISANCE KENNETH                  2067 N MIRO ST                                           NEW ORLEANS         LA 70119‐1656
SALEEM, MUSTAFA A                  1504 CAROLINA AVE                                                                           CINCINNATI          OH 45237‐5618
SALEEM, RAQUIESHA                  KENNETH M. PALISANCE               2067 N MIRO ST                                           NEW ORLEANS         LA 70119‐1656
SALEEM, RAQUIESHA
SALEEM, RASHAD                     2827 MALLERY ST                                                                             FLINT               MI 48504‐3053
SALEEM, RYAN
SALEEM, RYAN                       KENNETH M. PALISANCE               2067 N MIRO ST                                           NEW ORLEANS         LA   70119‐1656
SALEEM, SHAHEED K                  315 MALDEN AVE                                                                              DAYTON              OH   45427‐2907
SALEEM, STEVEN A                   201 N SQUIRREL RD APT 1504                                                                  AUBURN HILLS        MI   48326‐4030
SALEEM, STEVEN A                   3345 ASPEN DR APT 4302                                                                      ORION               MI   48359‐2324
SALEEN                             1225 E MAPLE RD                                                                             TROY                MI   48083‐2818
SALEEN SPECIALTY VEHICLES INC      1225 E MAPLE RD                                                                             TROY                MI   48083‐2818
SALEH A ALMONSTASER                WEITZ & LUXENBERG PC               700 BROADWAY                                             NEW YORK CITY       NY   10003
SALEH KAIS                         2805 BIRD AVE NE                                                                            GRAND RAPIDS        MI   49525‐3101
SALEH MOHAMMED                     SALEH, MOHAMMED                    1234 MARKET ST STE 2040                                  PHILADELPHIA        PA   19107‐3720
SALEH SAM D                        GALLERIA FURNITURE                 3000 TOWN CENTER SUITE 698                               SOUTHFIELD          MI   48075
SALEH SAM D                        SALEH, SAM D                       3000 TOWN CENTER SUITE 698                               SOUTHFIELD          MI   48075
SALEH, DHAIF A                     7417 KENTUCKY ST                                                                            DEARBORN            MI   48126
SALEH, JEFFREY G                   5035 CHASE RD                                                                               DEARBORN            MI   48126‐5007
SALEH, MOHAMMED                    LAW OFFICES OF DAVID GORBERG &     32 PARKING PLZ STE 700                                   ARDMORE             PA   19003‐2440
                                   ASSOCIATES
SALEH, WILLIAM M                   7741 INDIANA ST                                                                             DEARBORN            MI   48126
SALEHI DARIUS (640782)             BIFFERATO GENTILOTTI & BIDEN       PO BOX 2165                                              WILMINGTON          DE   19899‐2165
SALEHI, DARIUS                     BIFFERATO GENTILOTTI & BIDEN       PO BOX 2165                                              WILMINGTON          DE   19899‐2165
SALEHI, OSCAR                      205 TROPHY CT                                                                               THOMPSONS STATION   TN   37179‐9296
SALEL ELAINE                       9129 W SEQUOIA DR                                                                           PEORIA              AZ   85382‐4616
SALEL, JERROLD D                   7522 W VERNALIS RD                                                                          TRACY               CA   95377‐9365
SALEM A HAYDOUS                    7323 HARTWELL ST                                                                            DEARBORN            MI   48126‐1571
SALEM AUTOMOTIVE CO.               648 N STATE ROAD 198                                                                        SANTAQUIN           UT   84655
SALEM BETTY LOU (436166) ‐ SALEM   PARRIS E SPENCER                   410 GLENWOOD AVE STE 200                                 RALEIGH             NC   27603‐1255
HARRY
SALEM BOLUS SALAH                  & SAMIA SALEM SALAH JT WROS        51060 WESTON DR                                          PLYMOUTH            MI   48170
SALEM CITY TREASURER               114 N BROAD ST                                                                              SALEM               VA   24153‐3734
SALEM COLLEGE                      BUSINESS OFFICE                    PO BOX 10548                                             WINSTON SALEM       NC   27108‐0548
SALEM COMMUNITY HOSP               1995 E STATE ST                                                                             SALEM               OH   44460‐2423
SALEM COUNTY AUTO REPAIR           37B N HOOK RD                                                                               PENNSVILLE          NJ   08070
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Name                               Address1                           Address2                         Address3   Address4         City              State Zip
SALEM ENVIRONMENTAL INC            28785 HAAS RD                      PER BETH                                                     WIXOM              MI 48393‐3020
SALEM EXPRESS INC                  ANYTIME EXPRESS                    400A EDWARDIA DR                                             GREENSBORO         NC 27409‐2608
SALEM GROUP INC                    209 MERCANTILE DR                                                                               WINSTON SALEM      NC 27105‐8518
SALEM GROUP INC, THE               209 MERCANTILE DR                                                                               WINSTON SALEM      NC 27105‐9610
SALEM HARRY (ESTATE OF) (500713)   MARTIN & JONES                     410 GLENWOOD AVENUE                                          RALEIGH            NC 27603
SALEM HAYDOUS                      7323 HARTWELL ST                                                                                DEARBORN           MI 48126‐1571
SALEM INTERNATIONAL UNIVERSITY     223 W MAIN ST                      P O BOX 500                                                  SALEM              WV 26426‐1227
SALEM MEZA                         37352 HACKER DR                                                                                 STERLING HTS       MI 48310‐4055
SALEM NATIONAL LEASE                                                                                                               WINSTON‐SALEM      NC 24788
SALEM RADIOLOGISTS I               2094 E STATE ST STE E                                                                           SALEM              OH 44460‐4409
SALEM SALEM                        SALEM, SALEM                       120 WEST MADISON STREET , 10TH                               CHICAGO             IL 60602
                                                                      FLOOR
SALEM SAVARD INDUSTRIES            8561 W CHICAGO                                                                                  DETROIT           MI   48204‐2623
SALEM SAVARD INDUSTRIES LLC        8561 W CHICAGO                                                                                  DETROIT           MI   48204‐2623
SALEM SERVICE CENTER ‐ P G E       4245 KALE ST NE                                                                                 SALEM             OR   97305‐2333
SALEM SPECIALTY BALL CO INC        PO BOX 145                                                                                      WEST SIMSBURY     CT   06092‐0145
SALEM SPECIALTY BALL CO INC        PO BOX 145                         24 CANAAN WAY                                                                  CT   06092‐0145
SALEM TEIKYO UNIVERSITY            OFFICE OF FISCAL AFFAIRS                                                                        SALEM             WV   26426
SALEM TRUCKING INC                 2100 YOLANDE AVE                                                                                LINCOLN           NE   68521‐1450
SALEM, CAROLYN
SALEM, HARRY                       MARTIN & JONES                     410 GLENWOOD AVENUE                                          RALEIGH           NC 27603
SALEM, HARRY                       PARRIS E SPENCER                   410 GLENWOOD AVE STE 200                                     RALEIGH           NC 27603‐1255
SALEM, HATEEM
SALEM, HERMIZ S                    6689 TORYBROOKE CIR                                                                             W BLOOMFIELD      MI   48323‐2160
SALEM, JAMES G                     634 PARK CIR                                                                                    CLIO              MI   48420‐2303
SALEM, JOSEPH W                    5241 SCENICVUE DRIVE                                                                            FLINT             MI   48532‐2357
SALEM, MARGARET M                  7173 S JENNINGS RD                                                                              SWARTZ CREEK      MI   48473‐8887
SALEM, MARGARET M                  7173 JENNINGS RD                                                                                SWARTZ CREEK      MI   48473‐8887
SALEM, MICHAEL R                   42001 HARBORTOWNE DR                                                                            SAGINAW           MI   48603‐1374
SALEM, MITCHELL M                  16179 JACOB RD                                                                                  LINDEN            MI   48451‐9027
SALEM, NANCY A                     15 MOUNTVIEW DR                                                                                 ASHLAND           MA   01721‐2245
SALEM, PATRICIA                    5241 SCENICVUE DR                                                                               FLINT             MI   48532‐2357
SALEM, ROBERT L                    9035 N ISLAND DR                                                                                FLUSHING          MI   48433‐2932
SALEM, ROBERT LAWRENCE             9035 N ISLAND DR                                                                                FLUSHING          MI   48433‐2932
SALEM, SALEM                       KROHN & MOSS ‐ IL                  120 WEST MADISON STREET, 10TH                                CHICAGO           IL   60602
                                                                      FLOOR
SALEM, SHAKER                      1614 ARENAS LN                                                                                  SAN JACINTO       CA   92583‐6856
SALEM, SOPHIE K                    13022 W FOXFIRE DR                                                                              SUN CITY WEST     AZ   85375‐5070
SALEM, TOWN OF                     MUNICIPAL OFFICE                   33 GEREMONTY DR                                              SALEM             NH   03079
SALEMI, ANNA M                     11527 IRVINGTON DR                                                                              WARREN            MI   48093‐6428
SALEMI, BIAGIO R                   1209 CONSTANTINE CT                                                                             BEL AIR           MD   21014‐6839
SALEMI, CARMELA                    37 HAZEL BARK RUN                                                                               ROCHESTER         NY   14606‐4507
SALEMI, JAMES L                    PO BOX 55                                                                                       CLARENCE CENTER   NY   14032
SALEMI, SALVATORE                  582 HAZELWOOD TERRACE                                                                           ROCHESTER         NY   14609‐5303
SALEMI, SOFIO                      25 DRAYLA DR                                                                                    BRISTOL           CT   06010‐7738
SALEMMA REGINA                     41 MILEFSKI DR APT 20                                                                           UNCASVILLE        CT   06382‐2136
SALEMME FRANK                      75 PAPERMILL ROAD                                                                               WEST WAREHAM      MA   02576‐1312
SALEN, CHARLES D                   5678 CIDER MILL XING                                                                            AUSTINTOWN        OH   44515‐4273
SALEN, DOROTHY J                   15869 BROOKRIDGE BLVD                                                                           BROOKSVILLE       FL   34613‐4923
SALEN, PATRICIA G                  9365 HUNT CLUB TRL NE                                                                           WARREN            OH   44484‐1780
SALEN, PAULA J                     5678 CIDER MILL XING                                                                            AUSTINTOWN        OH   44515‐4273
SALENA COLLINS                     506 W NOBLE AVE APT 11                                                                          BUSHNELL          FL   33513
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Name                              Address1                        Address2              Address3         Address4         City                  State Zip
SALENA THOMAS                     1903 BRUSHVIEW DR                                                                       RICHMOND HTS           OH 44143‐1242
SALENBIEN, JAMES H                5701 FORRISTER RD                                                                       ADRIAN                 MI 49221‐9422
SALENE LANDRUM                    24518 AUDREY AVE                                                                        WARREN                 MI 48091‐1778
SALENE M LANDRUM                  24518 AUDREY AVE                                                                        WARREN                 MI 48091‐1778
SALENIK JR, ROBERT E              17580 E NORTHVILLE TRL                                                                  NORTHVILLE             MI 48168‐3249
SALENIK, PATRICIA L               17580 EAST NORTHVILLE TRAIL                                                             NORTHVILLE TOWNSHIP    MI 48167
SALENS, RAYMOND J                 3829 ORION ROAD                                                                         OAKLAND                MI 48363‐3033
SALENSKI, ROBERT W                1165 BURNT LEAF LN                                                                      GRAND BLANC            MI 48439‐4969
SALENTINE, JOHN A                 1501 GOODYEAR AVE                                                                       VENTURA                CA 93003
SALERNO DUANE INC                 241 BROAD STREET                                                                        SUMMIT                 NJ 07901
SALERNO DUANE OF SUSSEX, INC.     FRANK SCHIPPERS                 20 RTE 206 N                                            NEWTON                 NJ 07860
SALERNO DUANE PONTIAC‐BUICK‐GMC   20 RTE 206 N                                                                            NEWTON                 NJ
TRU
SALERNO DUANE PONTIAC‐BUICK‐GMC   20 RTE 206 N                                                                            NEWTON                 NJ   07860
TRUCK
SALERNO MICHAEL (450815)          WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                         NEW YORK              NY    10038
SALERNO, A                        11014 POTTER RD                                                                         FLUSHING              MI    48433‐9737
SALERNO, ANN L                    3337 FIELD RD                   CONDO 9                                                 CLIO                  MI    48420‐1161
SALERNO, BARBARA A                17083 VERONICA AVENUE                                                                   EASTPOINTE            MI    48021‐3039
SALERNO, CHARLES I                68 SPRINGFIELD CT                                                                       JASPER                GA    30143‐3250
SALERNO, CHARLES M                11467 DENTON HILL RD                                                                    FENTON                MI    48430‐2525
SALERNO, DAVID                    185 ARDELLA ST                                                                          ROCHESTER             NY    14606‐5303
SALERNO, EDITH M                  2639 NILES VIENNA RD                                                                    NILES                 OH    44446‐4403
SALERNO, EDITH M                  2639 NILES‐VIENNA ROAD                                                                  NILES                 OH    44446‐4446
SALERNO, ELIZABETH                305 SHERMAN AVE APT E11                                                                 PEEKSKILL             NY    10566‐5662
SALERNO, EVA                      3685 LYELL RD                                                                           ROCHESTER             NY    14606‐4550
SALERNO, GASPER                   13852 HALLECK DR                                                                        STERLING HTS          MI    48313‐4236
SALERNO, GERALD D                 16 STEPHEN AVE                                                                          SOUTH AMBOY           NJ    08879‐1984
SALERNO, JOHN B                   9147 MORENCI RD                                                                         MORENCI               MI    49256‐9768
SALERNO, JOHN G                   432 E LIBERTY ST                                                                        GIRARD                OH    44420‐2719
SALERNO, JUDY                     9600 NOOK RD TRLR 31                                                                    CLAY                  MI    48001‐4675
SALERNO, KATHLEEN E               37117 CLUBHOUSE DR                                                                      STERLING HEIGHTS      MI    48312‐2236
SALERNO, MARY                     16216 WHITTAKER                                                                         LINDEN                MI    48451‐9096
SALERNO, MARY J                   87 BUCKINGHAM DR                                                                        ALBANY                NY    12208‐1312
SALERNO, MICHAEL                  WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                         NEW YORK              NY    10038
SALERNO, MICHAEL A                3045 S LEGACY PARK BLVD                                                                 FORT MILL             SC    29707‐7816
SALERNO, MICHAEL S                2513 DOUBLE BRANCH RD                                                                   COLUMBIA              TN    38401‐6167
SALERNO, NORMA J                  1194 GILLESPIE AVE                                                                      NORTH PORT            FL    34288‐2380
SALERNO, PHILLIP J                13424 ENID BLVD                                                                         FENTON                MI    48430‐1153
SALERNO, RONALD                   2571 S STATE RD                                                                         DAVISON               MI    48423‐8779
SALERNO, ROSE                     29699 SIERRA POINT CIR 22                                                               FARMINGTON HILLS      MI    48331
SALERNO, SAM                      49541 ISHPEMING DR                                                                      CHESTERFIELD          MI    48047‐4380
SALERNO, STEVEN                   6819 MEAD HILL RD                                                                       WAYLAND               NY    14572‐9330
SALERNO, VITO                     4417 BRISTOLWOOD DR                                                                     FLINT                 MI    48507‐3722
SALERNO, WILLIAM P                4331 REID RD                                                                            SWARTZ CREEK          MI    48473‐8879
SALERNO, WILLIAM PAUL             4331 REID RD                                                                            SWARTZ CREEK          MI    48473‐8879
SALES AND USE TAX OFFICE          ST. JOHN THE BAPTIST PARISH     PO BOX 2066                                             LA PLACE              LA    70069‐2066
SALES JR, CHARLES E               628 N GROVER ST                                                                         LIBERTY               MO    64068‐1622
SALES MARKETING GROUP INC         30707 GREENFIELD RD                                                                     SOUTHFIELD            MI    48076‐1511
SALES OPPORTUNITY SERVICES INC    1540 E PLEASANT VALLEY BLVD                                                             ALTOONA               PA    16602‐7224
SALES TAX DIVISION                VERMILION PARISH SCHOOL BOARD   PO BOX 1508                                             ABBEVILLE             LA    70511‐1508
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SALES TAX DIVISION                  ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 830725                                                       BIRMINGHAM       AL 35283‐0725

SALES TAX DIVISION ûALATAX           PO BOX 830725                                                                                             BIRMINGHAM      AL   35283‐0725
SALES, BRENDA L                      6155 TITAN RD                                                                                             MOUNT MORRIS    MI   48458‐2615
SALES, CORA C                        5182 WHALEY DR                                                                                            DAYTON          OH   45427‐2129
SALES, CORA C                        5182 WHALEN DR                                                                                            DAYTON          OH   45427‐5427
SALES, JIMMY S                       3125 NEVEL DR NW                                                                                          HUNTSVILLE      AL   35810‐3147
SALES, JOHNNY L                      508 HATFIELD ROAD                                                                                         ATHENS          AL   35611
SALES, MARVIN L                      5311 N LONDON AVE                    APT E                                                                KANSAS CITY     MO   64151‐4786
SALES, MARVIN L                      6211 N LONDON AVE                    APT E                                                                KANSAS CITY     MO   64151
SALES, MARVIN L                      6211 N LONDON AVE APT E                                                                                   KANSAS CITY     MO   64151‐4785
SALES, RICHARD R                     5030 LAKEVILLE GROVELAND RD                                                                               GENESEO         NY   14454‐9556
SALES, ROBERT                        210 CEDAR BROOK DR                                                                                        ELYRIA          OH   44035‐4721
SALES, THOMAS A                      17093 EAST SECOND ST BOX 288                                                                              WELLSTON        MI   49689
SALES, VICTORIA D                    508 HATFIELD ROAD                                                                                         ATHENS          AL   35611
SALESHAWK
SALESKE, EDWARD A                    6830 RED ROSE VILLAGE DR                                                                                  FREDERICKSBRG   VA   22407‐6290
SALESKE, ELIZABETH                   C/O THERESE FALETTI                  16720 PHILOMENE                                                      ALLEN PARK      MI   48101
SALESKE, ELIZABETH                   16720 PHILOMENE BOULEVARD                                                                                 ALLEN PARK      MI   48101‐2420
SALESKI, PETER J                     21 MAIN ST                                                                                                NEW IPSWICH     NH   03071‐3714
SALESKY, DONALD E                    1802 LEICESTER ST                                                                                         GARLAND         TX   75044‐7675
SALESKY, ROBERT D                    400 MAYFLOWER DR                                                                                          SAGINAW         MI   48638‐5747
SALESKY, STEPHEN M                   3930 HEMMETER RD                                                                                          SAGINAW         MI   48603‐2036
SALESKY, THOMAS J                    2287 HOLLY TREE DR                                                                                        DAVISON         MI   48423‐2051
SALESMANSHIP CLUB CHARITABLE GOLF OF 400 S ZANG BLVD STE 700                                                                                   DALLAS          TX   75208‐6642
DALLAS
SALESS, PETER R                      29805 LINDA ST                                                                                            LIVONIA         MI   48154‐3721
SALETE DE OLIVEIRA                   4846 MAC DONALD ST                                                                                        LAKE WALES      FL   33859‐8759
SALETRA, JOHN F                      17288 WEST AKRON CANFIELD ROAD                                                                            BERLIN CENTER   OH   44401‐9716
SALETTA, DEBRA A                     6763 MINNICK RD LOT 195                                                                                   LOCKPORT        NY   14094‐9111
SALETTA, FRANK A                     5059 UPPER MOUNTAIN RD                                                                                    LOCKPORT        NY   14094‐9634
SALETTA, FRANK ANTHONY               5059 UPPER MOUNTAIN RD                                                                                    LOCKPORT        NY   14094‐9634
SALEWSKY, DALE C                     107 EASTDALE DR                                                                                           HOWELL          MI   48843‐8609
SALEY KIMBERLY                       SALEY, KIMBERLY                      1801 E 9TH ST STE 1710                                               CLEVELAND       OH   44114‐3198
SALEY, ROBERT K                      582 BROWN CITY RD                                                                                         IMLAY CITY      MI   48444‐9464
SALEY, STEPHANIE                     41 JOSEPH ST                                                                                              CLARK           NJ   07066‐2510
SALEY, STEPHEN                       41 JOSEPH ST                                                                                              CLARK           NJ   07066‐2510
SALEY, THOMAS                        1208 KLINE PL                                                                                             RAHWAY          NJ   07065‐1947
SALFA S A C I SOC ANON COM E                                                                                            SANTIAGO CHILE
SALFI JR, JOSEPH V                   16302 HI LAND TRL                                                                                         LINDEN          MI   48451‐9025
SALFI, RUSSELL J                     10060 STATE HIGHWAY 57                                                                                    SISTER BAY      WI   54234
SALFI, THOMAS F                      571 PARK LN                                                                                               LEWISTON        NY   14092‐1468
SALFI, THOMAS F.                     571 PARK LN                                                                                               LEWISTON        NY   14092‐1468
SALFLEX POLYMERS LTD                 ROB DEL PAPA                         POLYFORM ENGINEERED PRODUCTS 1 BRYDON DRIVE   SCARBOROUGH ON
                                                                                                                        CANADA
SALGA ASSOCIATES                    161 A SNIDERCROFT RD                                                                CONCORD ON L4K 2J8
                                                                                                                        CANADA
SALGA ASSOCIATES                    161‐A SNIDERCRAFT ROAD                                                              CONCORD ON L4K 2
                                                                                                                        CANADA
SALGA ASSOCIATES                    161A SNIDERCROFT RD                                                                 CONCORD ON L4K 2J8
                                                                                                                        CANADA
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SALGA ASSOCIATES LTD & CO     161A SNIDERCROFT RD                                                                     CONCORD CANADA ON L4K
                                                                                                                      2J8 CANADA
SALGA ASSOCIATES LTD. & CO.   JOHN SCHRAM                      161A SNIDERCROFT ROAD                                  CONCORD ON L4K 2J8
                                                                                                                      CANADA
SALGA INC                     5263 SOUTHWAY ST SW                                                                                           CANTON          OH    44706‐1943
SALGA INC                     601 W WATER ST                                                                                                FREMONT         IN    46737‐2164
SALGA INC                     JOHN SCHRAM X292                 C/O DLH INDUSTRIES INC           5263 SOUTHWAY ST SW                         SHREVEPORT      LA    71108
SALGA INC.                    JOHN SCHRAM X292                 3 WATER STREET                                                               FREMONT         IN    46737
SALGA PLASTICS INC            241 ABC BLVD                                                                                                  GALLATIN        TN    37066‐3715
SALGA PLASTICS INC            GEORGE HIGGINS X280              ABC GROUP                                                                    SOUTHFIELD      MI    48075
SALGA/CONCORD                 161‐A SNIDERCRAFT ROAD                                                                  CONCORD ON L4K 2J8
                                                                                                                      CANADA
SALGA/FREMONT                 601 W WATER ST                                                                                                FREMONT         IN    46737‐2164
SALGADO BALDEMAR              SALGADO, BALDEMAR                640 S SAN VICENTE BLVD STE 230                                               LOS ANGELES     CA    90048‐4654
SALGADO JR, HENRY A           1129 CRYSTAL CREEK DR                                                                                         PORT ORANGE     FL    32128‐7393
SALGADO RUBEN                 229 WALNUT ST                                                                                                 LIBERTYVILLE    IL    60048‐1339
SALGADO, ANGELICA D           39 BAINTON ST                                                                                                 YONKERS         NY    10704‐3001
SALGADO, JORGE                7715 N POPLAR AVE                                                                                             KANSAS CITY     MO    64119‐8634
SALGADO, JUAN                 2903 W 38TH ST                                                                                                CHICAGO         IL    60632‐1717
SALGADO, OBTULIA              KARPO MARK S PC                  137 N 9TH ST                                                                 PHILADELPHIA    PA    19107‐2410
SALGADO, RICHARD F            HC 2 BOX 175                                                                                                  SQUIRES         MO    65755‐9300
SALGADO, SALVADOR LOPEZ
SALGADO, SALVATORE            1104 EAGLES ROAD                                                                                              BREWSTER        NY    10509
SALGADO, TAMI L               6070 S CATAWBA DR                                                                                             WARREN          OH    44481‐9498
SALGADO, YNES LOPEZ           DEWITT ALGORRI & ALGORRI         25 E UNION ST                                                                PASADENA        CA    91103‐3923
SALGAT, DAWN M                408 EAST FLINT STREET                                                                                         DAVISON         MI    48423‐1221
SALGAT, DEBORAH M             1578 WEDGEWOOD PL                                                                                             ESSEXVILLE      MI    48732‐3203
SALGAT, DEBRA K               PO BOX 114                                                                                                    LONG LAKE       MI    48743‐0114
SALGAT, JEROME E              PO BOX 262                                                                                                    LENNON          MI    48449‐0262
SALGAT, KATHRYN A             1001 CRESCENT DR                                                                                              KOKOMO          IN    46901‐3618
SALGAT, LINDA S               10402 E BRISTOL RD                                                                                            DAVISON         MI    48423‐8732
SALGAT, LUCEIN                4409 TRAPANI LN                                                                                               SWARTZ CREEK    MI    48473‐8824
SALGAT, LYNN C                10324 CORUNNA RD                                                                                              SWARTZ CREEK    MI    48473‐9702
SALGAT, LYNN CHARLES          10324 CORUNNA RD                                                                                              SWARTZ CREEK    MI    48473‐9702
SALGAT, MORGAN                4460 WORVIES WAY                                                                                              COLUMBIAVILLE   MI    48421‐9647
SALGAT, MORGAN D              4460 WORVIES WAY                                                                                              COLUMBIAVILLE   MI    48421‐9547
SALGAT, RICHARD T             5861 SUNNY HILL DR                                                                                            OXFORD          MI    48371‐4158
SALGAT, ROLAND R              726 W KITCHEN RD                                                                                              PINCONNING      MI    48650‐9308
SALGAT, VIRGINIA E            4409 TRAPANI LN                                                                                               SWARTZ CREEK    MI    48473‐8824
SALGAT, VIRGINIA E            4409 TRAPANI LANE                                                                                             SWARTZ CREEK    MI    48473‐8824
SALGAT, WILLIAM D             4460 WORVIES WAY                                                                                              COLUMBIAVILLE   MI    48421‐9647
SALGET, BARBARA J             4675 STILL MEADOW DR                                                                                          SAGINAW         MI    48603‐1938
SALGET, FRANK J               1720 N OAKLEY ST                                                                                              SAGINAW         MI    48602‐5365
SALGOT, JAMES H               1357 MOLL ST                                                                                                  N TONAWANDA     NY    14120‐2229
SALGOT, JAMES R               PO BOX 2034                                                                                                   PAYSON          AZ    85547‐2034
SALGOT, JOSEPH P              6001 KENNEDY RD                                                                                               MUNITH          MI    49259‐9511
SALGOT, ROSALYN M             161 PULLMAN AVE                                                                                               KENMORE         NY    14217‐1515
SALHANEY, GEORGE L            38750 GRANDON ST                                                                                              LIVONIA         MI    48150‐3380
SALI GROUP LLC                312 PAULINE BLVD STE 100                                                                                      ANN ARBOR       MI    48103
SALI GROUP LLC                314 PAULINE BLVD STE 100                                                                                      ANN ARBOR       MI    48103
SALI, BILLIE K                3080 W CLEVELAND RD                                                                                           PERRINTON       MI    48871‐9680
SALI, BILLIE K                3080 WEST CLEVELAND ROAD                                                                                      PERRINTON       MI    48871‐9680
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Name                             Address1                         Address2                   Address3    Address4              City               State Zip
SALI, MARK E                     8572 S LUCE RD                                                                                PERRINTON           MI 48871‐9725
SALI, ROBERT E                   PO BOX 211                                                                                    PERRINTON           MI 48871‐0211
SALIBA JOSEPH (408280)           DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                             BRONX               NY 10463
SALIBA, CARMEN R                 5976 ROCKLAND CT                                                                              DEARBORN HEIGHTS    MI 48127‐2912
SALIBA, CHARLES A                1829 KELLOGG RD                                                                               BRIGHTON            MI 48114
SALIBA, DAVID W                  610 S TROY ST UNIT 202                                                                        ROYAL OAK           MI 48067‐2774
SALIBA, DESMOND J                13487 GRANDVIEW DR                                                                            ROCKWOOD            MI 48173‐9719
SALIBA, DESMOND J.               13487 GRANDVIEW DR                                                                            ROCKWOOD            MI 48173‐9719
SALIBA, EDWARD P                 13052 COLUMBIA                                                                                REDFORD             MI 48239‐2717
SALIBA, JOHN M                   45184 INDIAN CREEK DR                                                                         CANTON              MI 48187‐2514
SALIBA, JOSEPH                   DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                             RIVERDALE           NY 10463
SALIBA, JOSEPH R                 1309 OAKDALE LN                                                                               REDDING             CA 96002‐0712
SALIBA, KENNETH J                13052 COLUMBIA                                                                                REDFORD             MI 48239‐2717
SALIBA, SAMUEL E                 47575 GREENVIEW                                                                               UTICA               MI 48317‐2829
SALICE, PAUL J                   5017 BIRKDALE DR                                                                              COMMERCE TWP        MI 48382‐1581
SALICK MD                        8631 W 3RD ST STE 1145E                                                                       LOS ANGELES         CA 90048‐5914
SALIDEVA ANGELA                  2124 MAPLE CREEK CIR                                                                          ANN ARBOR           MI 48108‐9606
SALIENT GROUP (THRIFTY RAC)      5776 E. HOFFNER                                                                               ORLANDO             FL 32822
SALIERS, CLAUDE K                3224 HUBAL AVE SW                                                                             WYOMING             MI 49519‐3373
SALIETA W JENKINS                760 FOX AVE                                                                                   YPSILANTI           MI 48198‐6196
SALIGA, ANTHONY J                1483 MOUNTAIN ESTATES CT                                                                      LEONARD             MI 48367‐3222
SALIGA, BERNICE L                29576 DOVER AVE                                                                               WARREN              MI 48088‐3603
SALIGRAM, CHITRA                 5560 CLEARVIEW DR                                                                             TROY                MI 48098‐2494
SALIHU, ISTREF                   4054 NEW HIGHWAY 96 W                                                                         FRANKLIN            TN 37064‐4778
SALIJ, MARY J                    5581 NORTHCREST VILLAGE DR                                                                    CLARKSTON           MI 48346‐2798
SALIJ, NICK                      5581 NORTHCREST VILLAGE DR                                                                    CLARKSTON           MI 48346‐2798
SALIK, THOMAS B                  2850 ISLAND HWY                                                                               CHARLOTTE           MI 48813‐9363
SALIM BENNIS                     1088 FAULKNER                                                                                 TROY                MI 48083‐5459
SALIM GANTOUS                    6142 PINE CREEK XING                                                                          GRAND BLANC         MI 48439‐9730
SALIM KAYNARCA                   HEIMBAU STR 43/44 143                                                   DORTMUND GERMANY
SALIM LAZAR, NORMA L             5404 MISTY CREEK CT                                                                           FLINT              MI   48532‐2258
SALIM, DENNIS M                  73 ELLWOOD AVE                                                                                TN OF TONA         NY   14223‐2803
SALIM, MARY I                    1455 LOUMILEN DR                                                                              MUSKEGON           MI   49442‐1583
SALIM, MOHAMED N                 17632 HENRY ST                                                                                MELVINDALE         MI   48122‐1041
SALIM, MUNTHER M                 227 NORTH HARVARD AVENUE                                                                      VILLA PARK         IL   60181‐2067
SALIM, MUNTHER M                 227 N HARVARD AVE                                                                             VILLA PARK         IL   60181‐2067
SALIM, NANNIE S                  6201 PARKRIDGE AVE               APT# 1003                                                    CLEVELAND          OH   44144‐1566
SALIM, NANNIE S                  6201 PARKRIDGE AVE                                                                            CLEVELAND          OH   44144‐1566
SALIM, WADIAH                    6023 COBURN AVE                                                                               INDIANAPOLIS       IN   46228‐1227
SALIMI, MANSOOR                  92 VENICE CRES                                                          THORNHILL ON CANADA
                                                                                                         L4J7T1
SALINA ALEXANDER                 4925 JOCKS LN                                                                                 AUSTELL            GA   30106‐1754
SALINA HIGHWAY DEPT              ATTN: MIKE CHINO                 601 FACTORY AVE                                              SYRACUSE           NY   13208‐1438
SALINA INDUSTRIAL POWERPARK      1 GENERAL MOTORS DR                                                                           SYRACUSE           NY   13206‐1117
SALINA INDUSTRIAL POWERPARK      PAUL MACKEY                      1 GENERAL MOTORS DR.                                         SYRACUSE           NY   13206
SALINA INDUSTRIAL POWERPARK      PAUL MACKEY                      ONE GENERAL MOTORS DRIVE                                     SYRACUSE           NY   13206
SALINARDI, MARLENE A             375‐1 ABERDEEN COURT                                                                          BARTLETT           IL   60103
SALINARDI, MARLENE A             375 ABERDEEN CT UNIT 1                                                                        BARTLETT           IL   60103‐7459
SALINARDO JOSEPH J (472745)      WEITZ & LUXENBERG                180 MAIDEN LANE                                              NEW YORK           NY   10038
SALINARDO, JOSEPH                WEITZ & LUXENBERG                180 MAIDEN LANE                                              NEW YORK           NY   10038
SALINAS BUICK PONTIAC GMC INC.   PO BOX 55                                                                                     GILROY             CA   95021‐0055
SALINAS BUICK PONTIAC GMC INC.   DON RICKARD                      PO BOX 55                                                    GILROY             CA   95021‐0055
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Name                                  Address1                          Address2                     Address3                     Address4         City              State Zip
SALINAS CHRISTINE                     SALINAS, CHRISTINE                4020 SOUTHERN BREEZE                                                       EDINBURG           TX 78541
SALINAS JEANETTE                      CANTU, DELICIA                    SICO WHITE & BRAUGH          900 FROST BANK PLAZA ‐ 802                    CORPUS CHRISTI     TX 78470
                                                                                                     N CARANCAHUA
SALINAS JEANETTE                      CANTU, JAMIE CHRISTOPHER          SICO WHITE & BRAUGH          900 FROST BANK PLAZA ‐ 802                    CORPUS CHRISTI    TX   78470
                                                                                                     N CARANCAHUA
SALINAS JEANETTE                      CANTU, SAMUEL                     SICO WHITE & BRAUGH          900 FROST BANK PLAZA ‐ 802                    CORPUS CHRISTI    TX   78470
                                                                                                     N CARANCAHUA
SALINAS JEANETTE                      JENESSA, SALINAS                  GUERRA & MOORE LTD LLP       4201 NORTH MCCOLL ROAD                        MCALLEN           TX   78504
SALINAS JEANETTE                      CANTU, JAYMI                      4201 N MCCOLL RD                                                           MCALLEN           TX   78504‐2524
SALINAS JEANETTE                      RANGEL, MARIA LUISA               4201 N MCCOLL RD                                                           MCALLEN           TX   78504‐2524
SALINAS JEANETTE                      SALINAS, JANESSE                  4201 N MCCOLL RD                                                           MCALLEN           TX   78504‐2524
SALINAS JEANETTE                      SALINAS, JEANETTE                 4201 N MCCOLL RD                                                           MCALLEN           TX   78504‐2524
SALINAS JEANETTE                      SALINAS, JORGE                    4201 N MCCOLL RD                                                           MCALLEN           TX   78504‐2524
SALINAS JR, JOSE G                    8530 NORTHFIELD BLVD                                                                                         OAK PARK          MI   48237‐1800
SALINAS JR, MAX                       2385 FERNWOOD LN                                                                                             BRENTWOOD         CA   94513‐5636
SALINAS JR, PEDRO                     460 SELKIRK DR                                                                                               MOUNT MORRIS      MI   48458‐8702
SALINAS JR., OSVALDO                  144 COLISEUM ST                                                                                              PERRIS            CA   92571‐0808
SALINAS JULIO                         SALINAS, JULIO                    3435 WILSHIRE BLVD STE 300                                                 LOS ANGELES       CA   90010‐1904
SALINAS JULIO ‐ MULTI VIN DUPLICATE   SALINAS, JULIO                    3435 WILSHIRE BLVD STE 300                                                 LOS ANGELES       CA   90010‐1904
CASE OF
SALINAS MARIA D                       1306 TANGLEWOOD TRL                                                                                          EULESS            TX   76040‐6463
SALINAS PAULETTA                      NASH, PAUL                        WILLIS & WILLIS              670 W. MARKET STREET                          AKRON             OH   00000
SALINAS PAULETTA                      SALINAS, PAULETTA                 670 W. MARKET STREET                                                       AKRON             OH   44303
SALINAS, ADOLFO G                     690 N ALVAREZ RD                                                                                             RIO GRANDE CITY   TX   78582‐6392
SALINAS, ALEJANDRO                    16907 TOWER RDG                                                                                              FRIENDSWOOD       TX   77546‐4980
SALINAS, AMELIA P                     1108 PRATT ST                                                                                                VAN WERT          OH   45891‐2427
SALINAS, AMELIA P                     1108 PRATT                                                                                                   VAN WERT          OH   45891‐2427
SALINAS, ANITA A
SALINAS, ANTONIO                      917 N 27TH 1/2 ST                                                                                            MCALLEN           TX   78501‐7405
SALINAS, ARTURO                       3731 MARMION AVE                                                                                             FLINT             MI   48506‐4217
SALINAS, BALDEMAR G                   2100 TURTLE LN                                                                                               MISSION           TX   78572‐3263
SALINAS, BALLARDO                     5105 WILLOW CREST AVE                                                                                        AUSTINTOWN        OH   44515‐3955
SALINAS, BERNARDINO A                 1009 N TOWER RD                                                                                              ALAMO             TX   78516‐7004
SALINAS, BILL M                       3169 HILLWOOD DR                                                                                             DAVISON           MI   48423‐9530
SALINAS, BIRJILIO                     3731 MARMION AVE                                                                                             FLINT             MI   48506‐4217
SALINAS, BRIAN T                      1504 CONTI LN                                                                                                KOKOMO            IN   46902‐6114
SALINAS, BRIAN TROY                   1504 CONTI LN                                                                                                KOKOMO            IN   46902‐6114
SALINAS, C A                          812 LONGFELLOW DR                                                                                            TROY              MI   48085‐4881
SALINAS, C ANDRES                     812 LONGFELLOW DR                                                                                            TROY              MI   48085‐4881
SALINAS, CESAR                        1996 LONG ST                                                                                                 SNELLVILLE        GA   30078‐2471
SALINAS, CHERIE K                     1339 1/2 N MARIPOSA AVE                                                                                      LOS ANGELES       CA   90027
SALINAS, CHRISTINE
SALINAS, CHRISTINE                    4020 SOUTHERN BREEZE                                                                                         EDINBURG          TX   78541‐1987
SALINAS, CLAUDIO                      9857 QUANDT AVE                                                                                              ALLEN PARK        MI   48101‐1352
SALINAS, DANIEL                       1681 BAIRD AVE                                                                                               GALESBURG         IL   61401‐6303
SALINAS, DEYANIRA                     1690 LONDON AVE                                                                                              LINCOLN PARK      MI   48146‐3524
SALINAS, DIANA
SALINAS, DOMINGA N                    129 CHEYENNE ST                                                                                              CORPUS CHRISTI    TX   78405‐2710
SALINAS, EDITH L                      1846 FLAGSTONE CL                                                                                            ROCHESTER         MI   48307
SALINAS, ELEAZAR G                    129 CHEYENNE ST                                                                                              CORPUS CHRISTI    TX   78405‐2710
SALINAS, ELIAZAR                      PO BOX 1056                                                                                                  ROMA              TX   78584
SALINAS, ELIAZAR
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Name                     Address1                         Address2                       Address3   Address4         City             State Zip
SALINAS, ELIAZAR J       1306 TANGLEWOOD TRL                                                                         EULESS            TX 76040‐6463
SALINAS, ELIAZAR J.      1306 TANGLEWOOD TRL                                                                         EULESS            TX 76040‐6463
SALINAS, ELSA N          5903 VERDOME LN                                                                             HOUSTON           TX 77092‐4127
SALINAS, ELSA N          5903 VERDOME LANE                                                                           HOUSTON           TX 77092‐4127
SALINAS, EMMA            13168 TERRA BELLA ST                                                                        PACOIMA           CA 91331‐3160
SALINAS, ESTHER          4213 TACKETT CT                                                                             SALIDA            CA 95368
SALINAS, FERNANDO        237 W CRAIG HILL DR                                                                         ROCHESTER         NY 14626‐3425
SALINAS, FRANK           9102 HEATHCLIFF                                                                             SAN ANTONIO       TX 78254‐2062
SALINAS, FRANK ALBERT
SALINAS, GERARDO         PO BOX 5409                                                                                 HIDALGO          TX   78557‐6654
SALINAS, GUADALUPE G     157 GREEN OAKS DR                                                                           BASTROP          TX   78602‐7667
SALINAS, HOELGA          12063 SCHONBORN PL                                                                          CLIO             MI   48420‐2145
SALINAS, HOMERO          3249 S AVERS AVE                                                                            CHICAGO          IL   60623‐4908
SALINAS, ISRAEL          2459 LANCELOT CT                                                                            CANTON           MI   48188‐1888
SALINAS, JANE F          HASTINGS STEVE                   101 N SHORELINE BLVD STE 420                               CORPUS CHRISTI   TX   78401‐2825
SALINAS, JAVIER          204 CREEKSIDE DR                                                                            GEORGETOWN       TX   78626
SALINAS, JAVIER M        3136 LARWOOD DR                                                                             LANCASTER        CA   93536‐4736
SALINAS, JEANA
SALINAS, JEANETTE        GUERRA & MOORE LTD LLP           4201 N MCCOLL RD                                           MCALLEN          TX   78504‐2524
SALINAS, JEANNE          2207 TAFT ST                                                                                SAGINAW          MI   48602
SALINAS, JEANNE          2207 TAFT STREET                                                                            SAGINAW          MI   48602‐3856
SALINAS, JESUS L         2216 W 24TH ST                                                                              CHICAGO          IL   60608‐3906
SALINAS, JIM             3329 CORTEZ ST                                                                              LAREDO           TX   78043‐4105
SALINAS, JOE             6007 KNOLLWOOD TRL                                                                          SPRING           TX   77373‐4920
SALINAS, JOE L           13811 4 MILE RD NE                                                                          LOWELL           MI   49331‐9718
SALINAS, JOE R           724 W SUGAR ST                                                                              LEIPSIC          OH   45856‐1161
SALINAS, JORGE           GUERRA & MOORE LTD LLP           4201 N MCCOLL RD                                           MCALLEN          TX   78504‐2524
SALINAS, JOSE G          32 W CHICAGO AVE                                                                            PONTIAC          MI   48340‐1129
SALINAS, JOSE G          815 CATITAL                                                                                 SAN ANTONIO      TX   78201
SALINAS, JUAN L          107 PINE CIRCLE DR                                                                          FRANKLIN         TN   37069‐4546
SALINAS, JUANA M         769 SHEFFIELD RD                                                                            AUBURN HILLS     MI   48326‐3530
SALINAS, JULIO
SALINAS, JULIO           BILAL LAW OFFICES OF KAMAL A     3435 WILSHIRE BLVD STE 300                                 LOS ANGELES      CA   90010‐1904
SALINAS, LEONEL          4445 TIMBER BLUFF CT                                                                        JACKSONVILLE     FL   32224‐8666
SALINAS, LORENA          THE GUY ALLISON LAW FIRM         920 LEOPARD ST                                             CORPUS CHRISTI   TX   78401‐2423
SALINAS, LYDIA           1551 W. CASS AVENUE RD.                                                                     BAY CITY         MI   48708‐9133
SALINAS, LYDIA           1551 CASS AVENUE RD                                                                         BAY CITY         MI   48708‐9133
SALINAS, M. LINDA        500 OXFORD LOOP                                                                             PRINCETON        TX   75407‐5509
SALINAS, MARIA           2538 PEARL ST                                                                               DETROIT          MI   48209‐1064
SALINAS, MARIA D         1306 TANGLEWOOD TRL                                                                         EULESS           TX   76040‐6463
SALINAS, MARIA D.        1306 TANGLEWOOD TRL                                                                         EULESS           TX   76040‐6463
SALINAS, MARIO A         5823 NORTHGATE LN PMB 775                                                                   LAREDO           TX   78041‐2662
SALINAS, MARTENIA L      3767 OAK VALLEY AVE SW                                                                      GRAND RAPIDS     MI   49519‐3751
SALINAS, MARY LOU        704 LUCILLE ST                                                                              HEBBRONVILLE     TX   78361‐3035
SALINAS, MARY LOU        704 W LUCILLE ST                                                                            HEBBRONVILLE     TX   78361‐3035
SALINAS, MICHAEL D       3767 SKYVIEW DR                                                                             JANESVILLE       WI   53546‐2024
SALINAS, MIGUEL ISAAC
SALINAS, MIKE            WATTS LAW FIRM                   555 N CARANCAHUA ST STE 1400                               CORPUS CHRISTI   TX   78478‐0801
SALINAS, NANCY J         16340 LOWER HARBOR RD #16                                                                   BROOKINGS        OR   97415
SALINAS, NICHOLAS A      420 CAMBRIDGE STREET                                                                        NAPOLEON         OH   43545‐2065
SALINAS, NICHOLAS ADAM   420 CAMBRIDGE STREET                                                                        NAPOLEON         OH   43545‐2065
SALINAS, OVIDIO          411 HALLER AVE                                                                              ROMEOVILLE       IL   60446‐1723
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Name                           Address1                        Address2                       Address3   Address4                City             State Zip
SALINAS, OVIDIO S              1309 N 7TH ST                                                                                     CONROE            TX 77301‐2007
SALINAS, PAULETTA              WILLIS & WILLIS                 670 W. MARKET STREET                                              AKRON             OH 44320
SALINAS, PEDRO D               HASTINGS STEVE                  101 N SHORELINE BLVD STE 420                                      CORPUS CHRISTI    TX 78401‐2825
SALINAS, RAUL C                16411 ELMER RD                                                                                    ALBION            MI 49224‐9303
SALINAS, RAUL CHRISTOPHER      16411 ELMER RD                                                                                    ALBION            MI 49224‐9303
SALINAS, REUBEN P              PO BOX 188                                                                                        WASKOM            TX 75692‐0188
SALINAS, RICARDO R             6103 VALLEY TREE                EMERALD VALLEY                                                    SAN ANTONIO       TX 78250‐6407
SALINAS, RICARDO R             27512 MILL CREEK DR                                                                               BROWNSTOWN TWP    MI 48183‐5927
SALINAS, RICHARD ADAM
SALINAS, RIGOBERTO F           441 SUMMIT DR                                                                                     BOSSIER CITY     LA    71111‐2275
SALINAS, ROBERT                1127 S BUCKEYE ST                                                                                 KOKOMO           IN    46902‐6314
SALINAS, ROBERTO               2825 S HAMLIN AVE                                                                                 CHICAGO          IL    60623‐4554
SALINAS, ROBERTO               1559 MILL ST                                                                                      LINCOLN PARK     MI    48146‐2358
SALINAS, ROQUE M               710 E CEDAR AVE APT D                                                                             BURBANK          CA    91501‐2715
SALINAS, ROSE MARIE
SALINAS, ROSEMARIE A           139 LAKEWOOD POINT DR                                                                             BOSSIER CITY      LA   71111‐2073
SALINAS, ROSEMARIE ANN         139 LAKEWOOD POINT DR                                                                             BOSSIER CITY      LA   71111‐2073
SALINAS, RUDOLPH
SALINAS, RUDOLPH A
SALINAS, VICTORINO
SALINAS, YOLANDA               30601 STATE ROUTE 281                                                                             HOLGATE          OH    43527‐9606
SALINAS‐DIAZ, NATALIE A        209 PRISM LN                                                                                      MCKINNEY         TX    75070‐5868
SALINAZ, PETER                 3300 W CLARK RD                                                                                   LANSING          MI    48906‐9365
SALINE COUNTY COLLECTOR        PO BOX 146                                                                                        MARSHALL         MO    65340‐0146
SALINE COUNTY TREASURER        300 W ASH ST                    P O BOX 5040                                                      SALINA           KS    67401‐2335
SALINE COUNTY TREASURER        PO BOX 865                                                                                        WILBER           NE    68465‐0865
SALINE METAL SYSTEMS           ALYCE MAGER                     215 S CENTER ST                                                   ROYAL OAK        MI    48067‐3809
SALINE METAL SYSTEMS           ALYCE MAGER                     905 WOODLAND DR EAST                      SAN JOSE DOS CAMPO
                                                                                                         BRAZIL
SALINE METAL SYSTEMS LLC       555 S PLATT RD                                                                                    MILAN            MI    48160‐9303
SALINE METAL SYSTEMS LLC       215 S CENTER ST                                                                                   ROYAL OAK        MI    48067‐3809
SALINE, PENNY                  PO BOX 155                                                                                        PAW PAW          MI    49079‐0155
SALINE, RONALD E               9207 VANDERBILT AVE                                                                               PORTAGE          MI    49024‐6077
SALING, EARNEST C              7221 JACKSON AVE                                                                                  HAMMOND          IN    46324‐1901
SALING, LYNN R                 PO BOX 91                                                                                         BRIDGEPORT       TX    76426‐0091
SALING, MICHAEL G              10514 N MCGEE ST                                                                                  KANSAS CITY      MO    64155
SALING, ROBERTA M              6 CAPTAIN KIDD LN                                                                                 WINTER HAVEN     FL    33880‐6506
SALING, TERRY W                4069 PINE BLUFF AVE                                                                               WATERFORD        MI    48328‐1249
SALINGER, HERMAN L             54572 MALHEUR DR                                                                                  MACOMB           MI    48042‐6129
SALINGER, JEREMY A             24417 LOIS LN                                                                                     SOUTHFIELD       MI    48075‐6149
SALINGER, JEREMY A.            24417 LOIS LN                                                                                     SOUTHFIELD       MI    48075‐6149
SALINSKI, FRANCIS J            606 S BROWNLEAF RD                                                                                NEWARK           DE    19713‐3554
SALIOLA, GERALDINE M           20 BASSET DR                                                                                      TOMS RIVER       NJ    08757‐5635
SALIOLA, GERALDINE M           20 BASSET DRIVE                                                                                   TOMS RIVER       NJ    08757
SALIS QUINTILIO                37681427                        VIA MARCONI 46                            8040 ULASSAI OG ITALY
SALISBURY CHEVROLET, INC.      PO BOX 2200                                                                                       SCOTIA           NY    12302‐0200
SALISBURY CHEVROLET, INC.      ANNA GERRITY                    PO BOX 2200                                                       SCOTIA           NY    12302‐0200
SALISBURY CITY TAX COLLECTOR   FINANCE DIRECTOR                PO BOX 4118                                                       SALISBURY        MD    21803‐4118
SALISBURY DADZIE               3798 SEVERN RD                                                                                    CLEVELAND HTS    OH    44118‐1952
SALISBURY DONALD (640589)      BRAYTON PURCELL                 PO BOX 6169                                                       NOVATO           CA    94948‐6169
SALISBURY JR, CLAUDE J         718 W GRAND RIVER AVE                                                                             WILLIAMSTON      MI    48895‐1206
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Name                            Address1                          Address2                      Address3   Address4         City                State Zip
SALISBURY LEONARD D (355009)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                                  STREET, SUITE 600
SALISBURY MICHAEL               SALISBURY, MICHAEL                30928 FORD RD                                             GARDEN CITY         MI   48135‐1803
SALISBURY MOTOR COMPANY, INC.   700 W INNES ST                                                                              SALISBURY           NC   28144‐4150
SALISBURY MOTOR COMPANY, INC.   DONALD CLEMENT                    700 W INNES ST                                            SALISBURY           NC   28144‐4150
SALISBURY ROBIN                 SALISBURY, ROBIN                  100 BEACON CENTRE, 26862                                  ROYAL OAK           MI   48067
                                                                  WOODWARD AVENUE
SALISBURY ROBIN                 WASINGER, S                       27002 WOODWARD AVE                                        ROYAL OAK           MI   48067‐0924
SALISBURY STATE UNIVERSITY      PO BOX 2195                                                                                 SALISBURY           MD   21802‐2195
SALISBURY, ALAN F               601 W. RICE RT 2                                                                            CONTINENTAL         OH   45831
SALISBURY, ANGELA S             3073 HILL RD                                                                                AUBURN HILLS        MI   48326‐1630
SALISBURY, ANGELA SUE           3073 HILL RD                                                                                AUBURN HILLS        MI   48326‐1630
SALISBURY, ARTHUR G             623 S BUCKINGHAM CT                                                                         ANDERSON            IN   46013‐4465
SALISBURY, BETTY                8664 MASON RD                                                                               BROWN CITY          MI   48416‐8262
SALISBURY, BETTY J              5415 RUE MONET                                                                              INDIANAPOLIS        IN   46220‐5670
SALISBURY, BLOSS W              1725 BENSTEIN RD                                                                            COMMERCE TOWNSHIP   MI   48390‐2212
SALISBURY, BRUCE                903 BARDWELL RD                                                                             CASTALIA            OH   44824‐9323
SALISBURY, BRYAN F              16805 TOWER DR                                                                              MACOMB              MI   48044‐2083
SALISBURY, CAROLE A             10480 SHORT CUT RD                                                                          WEEDSPORT           NY   13166‐9478
SALISBURY, CLARENCE E           3551 FLORETTA ST                                                                            CLARKSTON           MI   48346‐4017
SALISBURY, CRAIG T              PO BOX 1681                                                                                 DUNDEE              FL   33838
SALISBURY, DAMON D              1225 WOODLAWN AVE                                                                           ROYAL OAK           MI   48073‐2826
SALISBURY, DAVID L              21764 ESKRIDGE RD                                                                           BRIDGEVILLE         DE   19933‐4508
SALISBURY, DAVID L              637 BIRCHWOOD DR                                                                            LOCKPORT            NY   14094
SALISBURY, DENNIS C             10480 SHORT CUT RD                                                                          WEEDSPORT           NY   13166‐9478
SALISBURY, DENVER H             3369 WARREN SHARON RD                                                                       VIENNA              OH   44473‐9532
SALISBURY, DONALD               BRAYTON PURCELL                   PO BOX 6169                                               NOVATO              CA   94948‐6169
SALISBURY, EDWARD C             38517 GOLFVIEW DR W                                                                         CLINTON TWP         MI   48038‐3447
SALISBURY, ELIZABETH L          12364 HERMOSURA ST                                                                          NORWALK             CA   90650‐6754
SALISBURY, ELIZABETH T          3 SUMMER POND WAY                                                                           ROCHESTER           NY   14624‐4378
SALISBURY, FRANKLIN J           17043 RAILROAD ST                                                                           PETERSBURG          MI   49270‐9775
SALISBURY, FREDERICK P          2949 E WALTON BLVD                                                                          AUBURN HILLS        MI   48326‐2561
SALISBURY, GARY E               8950 W HERBISON RD                                                                          EAGLE               MI   48822‐9790
SALISBURY, GARY M               1090 VINEWOOD ST                                                                            AUBURN HILLS        MI   48326‐1643
SALISBURY, GORDON T             13 PINEGROVE PARK                                                                           HAMBURG             NY   14075‐5870
SALISBURY, GREGORY M            6195 SADDLE RIDGE COURT                                                                     KALAMAZOO           MI   49009‐3997
SALISBURY, HELEN                1015 DORNELL RD                                                                             LANSING             MI   48910‐5339
SALISBURY, HOMER K              5200 N AUSTIN DR                                                                            MUNCIE              IN   47304‐5915
SALISBURY, JACKIE L             8950 W HERBISON RD                                                                          EAGLE               MI   48822‐9790
SALISBURY, JAMES A              10595 36TH ST S                                                                             SCOTTS              MI   49088‐8311
SALISBURY, JAMES ROY            BOONE ALEXANDRA                   205 LINDA DR                                              DAINGERFIELD        TX   75638‐2107
SALISBURY, JEFF C               PO BOX 23                         8 WATER ST                                                JORDAN              NY   13080‐0023
SALISBURY, JOHN A               55 CHILDS RD                                                                                TROUT CREEK         MT   59874‐9535
SALISBURY, JOHN F               122 E DAYTON ST                   PO BOX 275                                                LEWISBURG           OH   45338‐8100
SALISBURY, JOYCE A              6195 SADDLE RIDGE CT                                                                        KALAMAZOO           MI   49009‐3997
SALISBURY, JOYCE A‐L            6195 SADDLE RIDGE CT                                                                        KALAMAZOO           MI   49009‐3997
SALISBURY, KATHRYN I            3424 MONO DR                                                                                RIVERSIDE           CA   92506‐2117
SALISBURY, LARRY Y              55 CORYELL DR                                                                               OXFORD              MI   48371‐4265
SALISBURY, LEONARD D            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                                  STREET, SUITE 600
SALISBURY, MARIE C              7497 SCHALLER RD                                                                            VERONA              WI 53593‐9337
SALISBURY, MICHAEL              3090 METAMORA RD                                                                            OXFORD              MI 48371‐1611
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Name                          Address1                        Address2              Address3         Address4                 City               State Zip
SALISBURY, MICHAEL A          PO BOX 26                                                                                       WEBBERVILLE         MI 48892‐0026
SALISBURY, MICHAEL ARNOLD     PO BOX 26                                                                                       WEBBERVILLE         MI 48892‐0026
SALISBURY, PATRICK N          12364 HERMOSURA ST                                                                              NORWALK             CA 90650‐6754
SALISBURY, PAUL G             1325 TWINSBURG RD E                                                                             MACEDONIA           OH 44056‐2212
SALISBURY, PEARL G            86 CRAWFORD STREET              APT# 4 A                                                        OXFORD              MI 48371‐1230
SALISBURY, RANDALL L          6012 W M 21                                                                                     SAINT JOHNS         MI 48879‐9509
SALISBURY, ROBERT A           888 SE 1251 PRV DR                                                                              DEEPWATER           MO 64740
SALISBURY, ROBERT E           161 POHL DR                                                                                     OTTAWA              OH 45875‐8735
SALISBURY, RONALD D           9464 UPTON RD                                                                                   LAINGSBURG          MI 48848‐9242
SALISBURY, RONALD L           1510 MEISNER RD                                                                                 EAST CHINA          MI 48054‐4140
SALISBURY, RUTH P.            371 IRONS PARK DR                                                                               WEST BRANCH         MI 48661‐9461
SALISBURY, SHIRLEY J          57680 WALNUT ST                                                                                 THREE RIVERS        MI 49093‐1398
SALISBURY, STEPHEN D          3350 YAQUI DR                                                                                   LAKE HAVASU CITY    AZ 86406‐7167
SALISBURY, STEVEN R           12100 PINE MEADOWS DR                                                                           WAYLAND             MI 49348‐9372
SALISBURY, TERRY A            17615 DEF PAULDING CO LINE RD                                                                   DEFIANCE            OH 43512‐8894
SALISBURY, THOMAS G           5415 BRUNSWICK BLVD                                                                             WATERFORD           MI 48327‐2509
SALISBURY, TIMOTHY B          32700 LONE PINE DR                                                                              WESTLAND            MI 48185‐2331
SALISBURY, TOWN COLLECTOR     PO BOX 338                                                                                      SALISBURY           CT 06068‐0338
SALISBURY, VERONICA E         6603 OLD NIAGARA RD                                                                             LOCKPORT            NY 14094‐1517
SALISBURY, WARREN K           9771 COLBY LAKE RD                                                                              PERRY               MI 48872‐9741
SALISBURY, WARREN M           6603 OLD NIAGARA RD                                                                             LOCKPORT            NY 14094‐1517
SALISBURY, WESLEY L           3796 OAK TREE ST SE                                                                             GRAND RAPIDS        MI 49546‐9214
SALISBURY, WILLIAM W          6031 BLOSS CT                                                                                   SWARTZ CREEK        MI 48473‐8877
SALISBURY, YVONNE C           1622 HILLSIDE ST                                                                                LAKE ORION          MI 48362‐2213
SALISH LODGE/SNOQUAL          PO BOX 1109                                                                                     SNOQUALMIE          WA 98065‐1109
SALISZ, ALEXANDER             2409 BARRETT AVE                                                                                ROYAL OAK           MI 48067‐3562
SALIT STEEL BOWMANVILLE LTD   222 BASELINE RD E                                                      BOWMANVILLE ON L1C 1A4
                                                                                                     CANADA
SALITSKY, JOHN M              2370 MAYBURY ST                                                                                 WEST BLOOMFIELD    MI   48324‐3651
SALITSKY, MICHAEL A           1160 UPPER MOUNTAIN RD                                                                          LEWISTON           NY   14092‐2208
SALIZZONI, CHARLES E          225 MOON STONE LN                                                                               GREENSBURG         PA   15601‐4968
SALK, EUGENE A                3687 NW 35TH ST                                                                                 COCONUT CREEK      FL   33066‐2466
SALK, FRANK C                 PO BOX 714                                                                                      CLARKSTON          MI   48347‐0714
SALK, GEORGE                  4177 SHERATON DR                                                                                FLINT              MI   48532‐3556
SALK, KIMBERLY A              9353 RIDGE RD                                                                                   GOODRICH           MI   48438‐9448
SALK, LISA C                  1052 E MESQUITE AVE                                                                             PALM SPRINGS       CA   92264‐8417
SALKA, GEORGIA M              138 ROOSEVELT ST NW                                                                             WARREN             OH   44483‐3327
SALKA, LOUIS H                1274 E MAIN ST APT D12                                                                          MERIDEN            CT   06450‐4892
SALKA, RUTH H                 511 KENSINGTON AVE UNIT 324                                                                     MERIDEN            CT   06451‐2074
SALKELD, DEBRA L              17892 COUNTRY CLUB DR                                                                           MACOMB             MI   48042‐1165
SALKELD, GILBERT R            1658 PINEWOOD DR                                                                                CLEARWATER         FL   33756‐3658
SALKELD, IAN L                12 OAK TREE DR                                                                                  TAYLORS            SC   29687‐6621
SALKEY, HERBY                 4733 SPANIEL ST                                                                                 ORLANDO            FL   32818‐8730
SALKIEWICZ, JOSEPH C          25793 HICKORY LANE                                                                              SPLENDORA          TX   77372‐5550
SALKIEWICZ, JOSEPH S          65 PUPEK RD                                                                                     SOUTH AMBOY        NJ   08879‐1328
SALKO, JEAN C                 406 PENN RD W                                                                                   LEHIGH ACRES       FL   33936‐6255
SALKO, JEAN C                 406 W PENN ROAD                                                                                 LEHIGH ACRES       FL   33936‐6255
SALKOWSKI, DONNA M            5114 SIMPSON LAKE RD                                                                            W BLOOMFIELD       MI   48323‐3433
SALLAI, ROBERT J              45007 GEDDES RD                                                                                 CANTON             MI   48188‐2413
SALLANDER, DAVE               1584 BARCLAY BLVD                                                                               BUFFALO GROVE      IL   60089‐4530
SALLANS GREG                  919 16TH ST BOX 346                                                                             AURORA             NE   68818
SALLANS, EUGENIA              25566 VIRGINIA DR                                                                               WARREN             MI   48091‐6002
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Name                                    Address1                           Address2                      Address3   Address4         City               State Zip
SALLANS, GARY                           12384 HEGEL RD                                                                               GOODRICH            MI 48438‐9721
SALLANS, GARY
SALLAS, SAMUEL R                        3008 SAND PATH RD                                                                            BONIFAY            FL   32425‐7434
SALLAZ HAROLD & TWILA                   16516 MILTON AVE                                                                             LAKE MILTON        OH   44429‐9796
SALLAZ JR, CLYDE E                      1546 WOODHILL CIR NE                                                                         WARREN             OH   44484‐3949
SALLAZ, DONALD G                        10566 N PALMYRA RD                                                                           NORTH JACKSON      OH   44451‐9724
SALLAZ, HAROLD O                        16516 MILTON AVE                                                                             LAKE MILTON        OH   44429‐9796
SALLAZ, JACQUELINE J                    PO BOX 2                           9551 OAKLAND ST                                           ANGOLA             NY   14006‐0002
SALLAZ, JAN W                           3494 IVY HILL CIR UNIT C                                                                     CORTLAND           OH   44410‐9245
SALLAZ, LAURA J                         196 AMBER ST                                                                                 BUFFALO            NY   14220‐1860
SALLAZ, MARYANN B                       1634 DESOTA AVE NW                                                                           WARREN             OH   44483‐3110
SALLAZ, VIOLA S                         135 IDAHO RD                                                                                 YOUNGSTOWN         OH   44515‐2620
SALLE ROSENBAUM                         25197 AUDREY AVE                                                                             WARREN             MI   48091‐3809
SALLE, FAYETTA P                        601 WELLINGTON CIR APT I                                                                     BROWNSBURG         IN   46112‐7655
SALLE, HARRY A                          161 HILLCREST DR                                                                             DENVILLE           NJ   07834‐1413
SALLEE ARNOLD                           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                           STREET STE 600
SALLEE JOHN H (439475)                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                           STREET, SUITE 600
SALLEE TERRY LEE (ESTATE OF) (665590)   ODOM & ELLIOTT                     PO BOX 1868                                               FAYETTEVILLE       AR 72702‐1868
SALLEE THOMAS F SR (411015)             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                           STREET, SUITE 600
SALLEE, ANTHONY M                       2196 TUMBLEWEED LN                                                                           LEBANON            OH   45036‐9071
SALLEE, BOBBIE L                        26686 PLEASANT VALLEY RD                                                                     WELLSVILLE         KS   66092‐8477
SALLEE, CHERYL A                        415 E HIGHLAND AVE                                                                           MARION             IN   46952‐2122
SALLEE, DOLORES J                       2129 LOCHNAYNE LN                                                                            DAVISON            MI   48423‐8374
SALLEE, DONALD W                        3260 S STATE ROAD 39                                                                         LEBANON            IN   46052‐9144
SALLEE, DORMAN D                        9520 KESSLER ST                                                                              OVERLAND PARK      KS   66212‐5014
SALLEE, DRU H                           3604 MARCELLA LN                                                                             INDIANAPOLIS       IN   46222‐1622
SALLEE, EDITH M                         8849 GREENHAVEN DR                                                                           FORT WORTH         TX   76179
SALLEE, EDITH M                         4533 S PARK AVE                                                                              SPRINGFIELD        MO   65810‐1405
SALLEE, ERNIE L                         27 E MAXWELL DR                                                                              SHELBY             OH   44875
SALLEE, G B                             2120 BICKMORE AVE                                                                            DAYTON             OH   45404‐2236
SALLEE, GLYDE                           502 W JACKSON ST                   MULLBERRY RETIREMENT COMMU                                MULBERRY           IN   46058‐9538

SALLEE, HALLIE BEE                      37 JOHN ST                                                                                   FRANKLIN           OH   45005‐1902
SALLEE, HALLIE BEE                      37 JOHN STREET                                                                               FRANKLIN           OH   45005‐1902
SALLEE, JACKQULYN                       3317 STONEWOOD DR                                                                            SANDUSKY           OH   44870‐5465
SALLEE, JAMES G                         4807 RIDGE ROAD                                                                              KOKOMO             IN   46901‐3640
SALLEE, JAMES P                         4456 N STATE ROAD 75                                                                         THORNTOWN          IN   46071‐9219
SALLEE, JOAN M                          9395 PENNSYLVANIA AVE APT 8                                                                  BONITA SPRINGS     FL   34135‐3503
SALLEE, JOHN H                          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                           STREET, SUITE 600
SALLEE, JOSEPH E                        9395 PENNSYLVANIA AVE APT 8                                                                  BONITA SPRINGS     FL   34135‐3503
SALLEE, JUNE                            930 BISHOP AVE                                                                               HAMILTON           OH   45015‐2112
SALLEE, KAREN V                         5 VAUGHAN XING                                                                               BLOOMFIELD HILLS   MI   48304‐2706
SALLEE, MARIANNE H                      1317 E NORTH POE DR                                                                          JONESBORO          IN   46938‐1508
SALLEE, MICHAEL R                       626 NORTH FARLOOK DRIVE                                                                      MARION             IN   46952‐2421
SALLEE, MICHAEL ROBERT                  626 NORTH FARLOOK DRIVE                                                                      MARION             IN   46952‐2421
SALLEE, NORMAN W                        1033 CEDAR GLEN NORTH DR                                                                     PLAINFIELD         IN   46168‐9201
SALLEE, PAUL A                          675 N CENTER ST                                                                              PLAINFIELD         IN   46168‐1037
SALLEE, PAUL E                          5005 E HINES ST                                                                              MUNCIE             IN   47303‐2673
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SALLEE, RITA L          2196 TUMBLEWEED LN                                                                        LEBANON            OH 45036‐9071
SALLEE, ROBERT D        50 1/2 W MAIN ST                                                                          SHILOH             OH 44878‐9728
SALLEE, ROSALIE A       9296W‐1300N                                                                               ELWOOD             IN 46036‐8704
SALLEE, ROY R           5914 HARBOUR AV                                                                           CALIFORNIA         OH 45228
SALLEE, SHIRLEY M       3528 14TH ST W LOT L2                                                                     BRADENTON          FL 34205‐6244
SALLEE, STANLEY H       232 RAINBOW DR APT 13214                                                                  LIVINGSTON         TX 77399‐2032
SALLEE, STEPHEN W       607 S WEBSTER ST                                                                          KOKOMO             IN 46901
SALLEE, TERRY LEE       ODOM & ELLIOTT                  P O DRAWER 1868                                           FAYETTEVILLE       AR 72702
SALLEE, THOMAS F        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                        STREET, SUITE 600
SALLEE, VALORIE L       2659 N SCATTERFIELD RD                                                                    ANDERSON          IN   46012‐1569
SALLEE, WILLETTA S      1141 MEDFORD AVE                                                                          INDIANAPOLIS      IN   46222‐3037
SALLEK, DAVID G         5920 HORSTMEYER RD                                                                        LANSING           MI   48911‐6407
SALLER, JAMES L         114 BAKERDALE RD                                                                          ROCHESTER         NY   14616‐3810
SALLESE, JACQUELINE A   87 DANDI VIEW RD                                                                          NORTH CONWAY      NH   03860‐5602
SALLET, DEBORAH         977 TARA OAKS DRIVE                                                                       CHESTERFIELD      MO   63005‐3656
SALLEY III, JEROME G    3396 HARDEE AVE                                                                           CHAMBLEE          GA   30341‐3328
SALLEY JR, DEAN A       6790 CHESTERFIELD                                                                         WATERFORD         MI   48327‐3527
SALLEY JR, MARION       PO BOX 1366                                                                               BUFFALO           NY   14215‐6366
SALLEY, BILL F          4620 EASTMAN AVE                                                                          KETTERING         OH   45432‐1430
SALLEY, BRUCE R         26185 POWER RD                                                                            FARMINGTN HLS     MI   48334‐4355
SALLEY, CARRIE          7094 SHAKER RD                                                                            FRANKLIN          OH   45005‐2565
SALLEY, CATHERINE M     6790 CHESTERFIELD                                                                         WATERFORD         MI   48327‐3527
SALLEY, DEMETRIA R      903 ENCLAVE CIR                                                                           NASHVILLE         TN   37211‐7453
SALLEY, JANICE G        2266 JOSHUA CIR                                                                           MIDDLETOWN        OH   45044‐8823
SALLEY, KEVIN T         6672 HIGHWAY 3015                                                                         KEATCHIE          LA   71046‐2846
SALLEY, KEVIN TODD      6672 HIGHWAY 3015                                                                         KEATCHIE          LA   71046‐2846
SALLEY, LORN E          5006 MARCY RD                                                                             WEST CARROLLTON   OH   45449‐2747
SALLEY, MARLENE R       3746 WARWICK DR                                                                           STERLING HTS      MI   48314‐2803
SALLEY, PATRICIA M      8460 WEHRLE DR                                                                            WILLIAMSVILLE     NY   14221‐7329
SALLEY, RICHARD F       91 CEMETERY RD                                                                            CANTERBURY        CT   06331‐1307
SALLEY, ROBERT J        8865 HORSESHOE BEND RD                                                                    LUDLOW FALLS      OH   45339‐8745
SALLEY, RONALD L        149 PARKRIDGE AVE                                                                         BUFFALO           NY   14215‐2211
SALLEY, ROSABELLE B     PO BOX 449                                                                                SALLEY            SC   29137‐0449
SALLI BEVAN             910 YGN KINGSVILLE RD                                                                     VIENNA            OH   44473
SALLI S BEVAN           910 YGN KINGSVILLE RD                                                                     VIENNA            OH   44473
SALLIE ALFORD           4804 EL RANCHO RD                                                                         FORT WORTH        TX   76119‐4706
SALLIE ALLEN            805 BRISTOL WAY                                                                           LITHONIA          GA   30058‐8253
SALLIE BOWLING          7246 FOXWORTH DR                                                                          DALLAS            TX   75248‐3034
SALLIE BRANCH           2030 CROCKER AVE                                                                          FLINT             MI   48503‐4019
SALLIE BUTCHER          9365 LAKE SHORE BLVD                                                                      MENTOR            OH   44060‐1609
SALLIE C POLLARD        759 MAPLE ST.                                                                             WARREN            OH   44485‐3852
SALLIE CHAMBERS         258 SETTLEMENT RD                                                                         HARTFORD          AL   36344‐5800
SALLIE CHAMBERS         1036 E DUVERNAY PARK DR APT A                                                             IDLEWILD          MI   49642‐8552
SALLIE CHAPMAN          7712 WINDSOR LN                                                                           HANOVER PARK      IL   60133‐2549
SALLIE CHARLES          6387 WADSWORTH ROAD                                                                       MEDINA            OH   44256‐9797
SALLIE CONNOR           2313 E 16TH STREET                                                                        ODESSA            TX   79761‐3003
SALLIE CONZET           47077 188TH AVE                                                                           MCGREGOR          MN   55760‐4444
SALLIE COPELAND         PO BOX 337                                                                                BULLHEAD CITY     AZ   86430‐0337
SALLIE CRAINE           1945 ASPEN LEAF PL                                                                        DRAPER            UT   84020‐5512
SALLIE DAVIS            410 E MAIN ST APT 301                                                                     MERIDEN           CT   06450‐6045
SALLIE E WASDEN         831 CLEVELAND AVE                                                                         MILLEN            GA   30442
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Name                  Address1                        Address2                     Address3                    Address4         City                 State Zip
SALLIE ERVIN          PO BOX 217                                                                                                EASTPOINTE            MI 48021‐0217
SALLIE EVANS          4542 HIGHWAY 83                                                                                           EVERGREEN             AL 36401‐5606
SALLIE FRENCH         8183 VANADIA DR                                                                                           MOUNT MORRIS          MI 48458‐9710
SALLIE FULLERMAN      1035 HARBOUR LIGHTS BLVD                                                                                  COLUMBIANA            OH 44408‐8472
SALLIE GLENN          2253 COUNTY LINE RD SW                                                                                    ATLANTA               GA 30331‐6509
SALLIE HATFIELD       607 W 10TH STREET                                                                                         RUSHVILLE             IN 46173‐1033
SALLIE HICKS          4192 LEITH ST                                                                                             BURTON                MI 48509‐1033
SALLIE HORTON         1054 MENDOZA DR                                                                                           SAINT PETERS          MO 63376‐4659
SALLIE J SNEED        4349 STAUNTON DR                                                                                          SWARTZ CREEK          MI 48473‐8278
SALLIE JAMES          8201 16TH ST APT 214W                                                                                     SILVER SPRING         MD 20910
SALLIE JOHNSON        29 GINGELL CT                                                                                             PONTIAC               MI 48342‐1432
SALLIE JOHNSON        5325 YELLOW PINE DR                                                                                       MCDONOUGH             GA 30252‐6878
SALLIE JOHNSON        7265 CONNELL RD                                                                                           FAIRBURN              GA 30213‐3121
SALLIE JONES          19196 LUMPKIN ST                                                                                          DETROIT               MI 48234‐1233
SALLIE K GLENN        2253 COUNTY LINE RD SW                                                                                    ATLANTA               GA 30331‐6509
SALLIE KAUFMAN        15380 N 100TH #2109                                                                                       SCOTTSDALE            AZ 85260
SALLIE KELLY          2014 N JAY ST                                                                                             KOKOMO                IN 46901‐2461
SALLIE KENDRICK       2313 PRESCOTT AVE                                                                                         SAGINAW               MI 48601
SALLIE KENNEDY        12271 FLANDERS ST                                                                                         DETROIT               MI 48205‐3905
SALLIE KEY            4047 CLIFFDALE ST                                                                                         MEMPHIS               TN 38127‐4046
SALLIE KRESSLEY       2213 S DIXON RD                                                                                           KOKOMO                IN 46902‐2993
SALLIE L THARP        PO BOX 4065                                                                                               MIDLAND               TX 79704‐4065
SALLIE LITTON         PO BOX 2284624                                                                                            SIOUX FALLS           SD 57186
SALLIE M DORSEY       82 RAY STREET                                                                                             SOMERSET              NJ 08873‐3234
SALLIE MALCOLM        2315 GOLDEN ST SW                                                                                         WYOMING               MI 49519‐3231
SALLIE MATHENEY       PO BOX 101                                                                                                CASTALIA              OH 44824‐0101
SALLIE MATTOX         302 TIMBER LN                                                                                             ANDERSON              IN 46017‐9693
SALLIE MC COY         3505 DUPONT ST                                                                                            FLINT                 MI 48504‐3570
SALLIE MC FARLAND     171 DREXMORE RD                                                                                           ROCHESTER             NY 14610‐1215
SALLIE MCGEE          12541 MCGEE LN                                                                                            AMELIA COURT HOUSE    VA 23002‐4929
SALLIE MCNEAL         805 10TH ST N APT 3                                                                                       COLUMBUS              MS 39701‐4069
SALLIE MORGAN         1424 CHATHAM DR                                                                                           FLINT                 MI 48505‐2584
SALLIE MORRIS         PO BOX 73                                                                                                 BELVIDERE             TN 37306‐0073
SALLIE MOSLEY         800 E COURT ST APT 226                                                                                    FLINT                 MI 48503‐6212
SALLIE OLIVER         712 15TH AVE APT 1202                                                                                     IRVINGTON             NJ 07111‐3833
SALLIE PARROTT        12919 N CRESCENT CT                                                                                       CAMBY                 IN 46113‐8423
SALLIE PEARCE         100 SAINT ANDREWS                                                                                         CORTLAND              OH 44410‐8720
SALLIE PERRY          5836 HUBERT RD                                                                                            HUBBARD LAKE          MI 49747‐9706
SALLIE PHELPS         PO BOX 2155                                                                                               BANDERA               TX 78003‐2155
SALLIE PHIPPS         1038 VANCE ST                                                                                             ROANOKE RAPIDS        NC 27870‐3602
SALLIE POLLARD        759 MAPLE ST SW                                                                                           WARREN                OH 44485‐3852
SALLIE PRETTYMAN      4114 NEWTON AVE                                                                                           BALTIMORE             MD 21215‐4321
SALLIE R DALTON       6454 CATBIN CT.                                                                                           WAYNESVILLE           OH 45068
SALLIE ROWE           BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS            OH 44236
SALLIE SANDERS        1493 CENTER STAR RD                                                                                       COLUMBIA              TN 38401‐7750
SALLIE SARGENT TTEE   SALLIE SARGENT REV TRUST        U/A DTD 03/21/05             2840 KEEWADHIN RD APT 122                    FORT GRATIOT          MI 48059

SALLIE SAVAGE         1464 BARCH RD                                                                                             MOUNT MORRIS         MI   48458‐2705
SALLIE SNEED          4349 STAUNTON DR                                                                                          SWARTZ CREEK         MI   48473‐8278
SALLIE SPOTTSVILLE    2015 CLIFFORD ST                                                                                          FLINT                MI   48503‐4005
SALLIE STEPHENS       360 GEORGETOWN CIR                                                                                        ELKTON               KY   42220‐9331
SALLIE STINSON        502 E PARKWAY AVE                                                                                         FLINT                MI   48505‐5243
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Name                                Address1                            Address2                         Address3                    Address4         City             State Zip
SALLIE STOLIPHER                    23 CROWN CT                                                                                                       MARTINSBURG       WV 25401‐5169
SALLIE SUGGS                        2018 MCAVOY ST                                                                                                    FLINT             MI 48503‐4248
SALLIE T PEARCE                     100 ST. ANDREWS                                                                                                   CORTLAND          OH 44410‐8720
SALLIE TILLEY                       4700 LANGE RD                                                                                                     BIRCH RUN         MI 48415‐8137
SALLIE WARMACK                      1601 ROBERT BRADLEY DRIVE #408                                                                                    DETROIT           MI 48207
SALLIE WARREN                       19196 CONLEY ST                                                                                                   DETROIT           MI 48234‐2248
SALLIE WILSON                       5116 OLD WELL ST                                                                                                  DURHAM            NC 27704‐1213
SALLIE, CLAUDE L                    3949 KALAMAZOO AVE SE                                                                                             GRAND RAPIDS      MI 49508‐2623
SALLIE, DIANA L                     9 BETH LN                                                                                                         MIAMISBURG        OH 45342‐3108
SALLIOTTE, ELSIE D                  9840 BIG PINE RD                                                                                                  MARSHALL          NC 28753‐6472
SALLIS JAMES                        SALLIS, LATICIA                     KROHN & MOSS ‐ IL                120 WEST MADISON STREET ,                    CHICAGO            IL 60602
                                                                                                         10TH FLOOR
SALLIS JAMES                        SALLIS, JAMES                       120 WEST MADISON STREET , 10TH                                                CHICAGO           IL   60602
                                                                        FLOOR
SALLIS, LEE B                       PO BOX 1519                                                                                                       TAHLEQUAH        OK    74465‐1519
SALLMANN, EILEEN M                  15659 MAIDEN LAKE RD                                                                                              MOUNTAIN         WI    54149‐9793
SALLMEN, FREDERICK D                941 S LINWOOD BEACH RD                                                                                            LINWOOD          MI    48634‐9433
SALLMEN, PAUL                       GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                                  SAGINAW          MI    48604‐2602
                                                                        260
SALLOME, JENNIE                     263 SUMMIT GROVE PARK                                                                                             ROCHESTER        NY    14615‐3932
SALLOME, JENNIE                     224 RAWLINSON ROAD                                                                                                ROCHESTER        NY    14617‐4640
SALLOUM MD                          4756 SQUIRREL HILL DR                                                                                             TROY             MI    48098‐6608
SALLOUM, DENISE M                   7519 CROSSCREEK DR                                                                                                TEMPERANCE       MI    48182‐9270
SALLOUM, DENISE MARIE               7519 CROSSCREEK DR                                                                                                TEMPERANCE       MI    48182‐9270
SALLOUM, EDMUND D                   7595 DOUGLAS RD                                                                                                   LAMBERTVILLE     MI    48144‐8658
SALLOUM, EDMUND DUNCAN              7595 DOUGLAS RD                                                                                                   LAMBERTVILLE     MI    48144‐8658
SALLOUM, LOU D                      1577 MAYFLOWER AVE                                                                                                LINCOLN PARK     MI    48146‐3224
SALLOUM, NAIF                       2644 MCLEMORE RD                                                                                                  FRANKLIN         TN    37064‐1150
SALLOUM, ROBERT J                   5301 CAPRI DR                                                                                                     TROY             MI    48098‐2415
SALLOWS, DALE W                     PO BOX 162                                                                                                        FENTON           MI    48430‐0162
SALLOWS, DALE W                     P O BOX 644                                                                                                       LANDER           WV    82520‐0644
SALLUSTIO, ALEXIS                   8864 SHERWOOD DR NE                                                                                               WARREN           OH    44484‐1766
SALLUSTIO, EDWARD A                 2178 HENN HYDE RD NE                                                                                              WARREN           OH    44484‐1240
SALLUSTIO, EDWARD A                 69 BEECH CT                                                                                                       DELAWARE         OH    43015‐3015
SALLY
SALLY & JOHN GABRIELSON             31 HIGH BLUFF DR                                                                                                  WEAVERVILLE      NC 28787
SALLY A COLE SAUL                   3726 NEWPORT WAY DR                                                                                               WATERFORD        MI 48329‐4285
SALLY A EASTMAN PERSONAL            C/O BRAYTON PURCELL                 222 RUSH LANDING RD                                                           NOVATO           CA 94948‐6169
REPRESENTATIVE FOR GEORGE EASTMAN

SALLY A FINNEY                      PO BOX 939                                                                                                        DECATUR          TX    76234‐0939
SALLY A GLASRUD                     11261 PT DOUGLAS DR S                                                                                             HASTINGS         MN    55033‐9144
SALLY A GOBIE                       6148 LAKE DR                                                                                                      YPSILANTI        MI    48197‐7050
SALLY A LARK                        974 BENNINGTON DR                                                                                                 ROCHESTER        NY    14616‐3319
SALLY A LOWERY                      191 W KENNETT RD APT 203                                                                                          PONTIAC          MI    48340‐2680
SALLY A MCWAIN                      9742 BROOKVILLE PHILLIPSBG RD                                                                                     BROOKVILLE       OH    45309‐9608
SALLY A MILLER                      515 FOREST GLEN                                                                                                   POMPTON PLAINS   NJ    07444
SALLY A PACK                        64 S 87TH ST                                                                                                      NIAGARA FALLS    NY    14304‐4451
SALLY A RUTHERFORD                  513 CHAMBERS                                                                                                      ROYAL OAK        MI    48067‐1951
SALLY A WARD                        6734 CASCADE CT 66                                                                                                CLARKSTON        MI    48348
SALLY A YURTIN                      1455 EDGEWOOD ST NE                                                                                               WARREN           OH    44483‐4121
SALLY ADAMS                         9464 S HILSMEYER DR                 LAKE HELMERICH VILLAGE                                                        HUNTINGBURG      IN    47542‐9256
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Name                 Address1                        Address2              Address3         Address4         City              State Zip
SALLY ADGATE         6802 BEECHWOOD DR                                                                       SARANAC            MI 48881‐9667
SALLY ANDERSON       5186 CHESANING RD RTE 3                                                                 CHESANING          MI 48616
SALLY ANKNEY         10857 FOREST HILL RD                                                                    DEWITT             MI 48820‐9135
SALLY ARMUS SHUTTS   2860 W MARION AVE                                                                       PUNTA GORDA        FL 33950
SALLY ARNOLD         PO BOX 214                                                                              MONTROSE           MI 48457‐0214
SALLY ARRINGTON      PO BOX 521                                                                              DEMING             NM 88031‐0521
SALLY ASHWORTH       820 E JUNCTION ST                                                                       APACHE JUNCTION    AZ 85219‐1527
SALLY ATTARD         28925 GRIX RD                                                                           NEW BOSTON         MI 48164‐9494
SALLY B DAKIN        5723 S.R. 45 N.W.                                                                       BRISTOLVILLE       OH 44402‐9706
SALLY B KOWALSKI     241 CLIFTON DR. N.E.                                                                    WARREN             OH 44484‐1805
SALLY B TACKETT      830 PEACH LEAF DR                                                                       CENTERVILLE        OH 45458
SALLY B YONTZ        1015 BEAVER VALLEY RD                                                                   DAYTON             OH 45434‐7011
SALLY BAGLEY         5807 SCHENK RD                                                                          SANDUSKY           OH 44870‐9314
SALLY BAKER          992 RICHWOOD CIR                                                                        HAMILTON           OH 45013‐3898
SALLY BARNETT        PO BOX 681                                                                              ELLIJAY            GA 30540‐0009
SALLY BARRETT        503 6TH ST                                                                              BEDFORD            IN 47421‐9610
SALLY BELL           2278 E 77TH ST                                                                          CLEVELAND          OH 44103
SALLY BELL           2278 E.77ST                                                                             CLEVELAND          OH 44103
SALLY BIANCO         2626 N.E. HIGHWAY 70 LOT 342                                                            ARCADIA            FL 34266
SALLY BIEBER         9435 NEW BUFFALO RD                                                                     CANFIELD           OH 44406‐9193
SALLY BIRMINGHAM     809 LAURENS RD                                                                          GREENVILLE         SC 29607‐1914
SALLY BISHOP         1028 S PEARCE ST                                                                        OWOSSO             MI 48867‐4342
SALLY BLACK          1125 TABOR AVE                                                                          DAYTON             OH 45420‐1425
SALLY BOBZIEN        659 E LIMERICK LN                                                                       BELOIT             WI 53511‐6520
SALLY BOLLE          6625 AURORA DR                                                                          TROY               MI 48098‐2079
SALLY BOODY          4665 WHEELER CREEK DR                                                                   HOSCHTON           GA 30548‐1646
SALLY BOTTKE         5940 CLAYPOOL                                                                           DAVISBURG          MI 48350‐3552
SALLY BOZUNG         7915 TRESTLEWOOD DR APT 2A                                                              LANSING            MI 48917‐8789
SALLY BROOKS         5461 NORQUEST BLVD                                                                      AUSTINTOWN         OH 44515‐1821
SALLY BROWN‐TAYLOR   5088 TOLL DUGGER RD                                                                     CULLEOKA           TN 38451‐2012
SALLY BURNHAM        9182 NICHOLS RD                                                                         GAINES             MI 48436‐9790
SALLY BUTLER         9848 BLANTON DR                                                                         WINDHAM            OH 44288‐1410
SALLY BUTLER         120 MASTERS COURT #3                                                                    WALNUT CREEK       CA 94598
SALLY C BLACK        1125 TABOR AVENUE                                                                       DAYTON             OH 45420‐1425
SALLY C BURNHAM      9182 NICHOLS RD                                                                         GAINES             MI 48436‐9790
SALLY CALDWELL       780 S PLEASANT VALLEY RD                                                                MILFORD            MI 48380‐2619
SALLY CALVETTI       280 ELM STREET                                                                          INDIANA            PA 15701‐3133
SALLY CAMPBELL       6969 W N AVE                                                                            KALAMAZOO          MI 49009‐9508
SALLY CAMPITELLI     30 PORTSMOUTH CIR                                                                       GLEN MILLS         PA 19342‐2623
SALLY CANEDY         6429 PLEASANT RIVER DRIVE                                                               DIMONDALE          MI 48821‐9707
SALLY CANUPP         1925 TULEY RD                                                                           INDIAN SPRINGS     OH 45015‐1267
SALLY CARR           195 FAIRLAWN AVE                                                                        NILES              OH 44446‐2041
SALLY CARTER         2747 NORTHWEST BLVD NW                                                                  WARREN             OH 44485‐2231
SALLY CHILDRESS      1519 S HACKLEY ST                                                                       MUNCIE             IN 47302‐3570
SALLY CIANEK         2600 22ND ST                                                                            BAY CITY           MI 48708‐7614
SALLY CLAPP          4495 CALKINS RD APT 110                                                                 FLINT              MI 48532‐3574
SALLY CLORAN         14801 BURR ST                                                                           TAYLOR             MI 48180‐4505
SALLY COFFEY
SALLY COLE‐SAUL      3726 NEWPORT WAY DR                                                                     WATERFORD         MI   48329‐4285
SALLY CONGRESS       12417 REXFORD AVE                                                                       CLEVELAND         OH   44105‐2667
SALLY COOK           2540 PARK BLVD                                                                          LYONS             MI   48851‐8620
SALLY COOPER         7767 LOCUST AVE                                                                         NEWAYGO           MI   49337‐9229
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Name                             Address1                          Address2                     Address3             Address4             City            State Zip
SALLY COPPOLA                    1319 PEPPERTREE DR                                                                                       DERBY            NY 14047‐9564
SALLY COVER                      13642 BROOKHAVEN BLVD                                                                                    BROOK PARK       OH 44142‐2645
SALLY CROSWAIT                   PO BOX 31177                                                                                             CINCINNATI       OH 45231
SALLY CRUMBLEY                   727 ANDOVER LN                                                                                           ALBANY           GA 31705‐1252
SALLY CURRY                      2759 SCOTTIES DR                                                                                         BELOIT           WI 53511‐2250
SALLY CUSACK                     3701 SANDBURG DR                                                                                         TROY             MI 48083‐5250
SALLY D ANDREA                   5925 CEDAR RD                                                                                            OCEAN SPRINGS    MS 39564‐2230
SALLY D KIEST                    2224 MAINE ST                                                                                            QUINEY            IL 62301‐4349
SALLY D KRIEGEL                  12 PEACH TREE LANE                                                                                       ROSLYN           NY 11576
SALLY DAKIN                      5723 STATE ROUTE 45                                                                                      BRISTOLVILLE     OH 44402‐9706
SALLY DAVENPORT                  3906 LIMERICK CIR                                                                                        LANSING          MI 48911‐2527
SALLY DAVIS                      508 CROSS VALLEY RD                                                                                      LA FOLLETTE      TN 37766‐4914
SALLY DEANGELO                   2033 E RIVER RD UNIT 36                                                                                  NEWTON FALLS     OH 44444‐8779
SALLY DEASY                      3305 UPPER MOUNTAIN RD                                                                                   SANBORN          NY 14132‐9105
SALLY DEGARMO                    212 EDGEWOOD DR                                                                                          WELLSVILLE       KS 66092‐8515
SALLY DEGUISE                    3725 COTTONWOOD RD                                                                                       HARRISON         AR 72601‐7673
SALLY DEMARCO                    6497 KINGSDALE BLVD                                                                                      PARMA HEIGHTS    OH 44130‐3966
SALLY DENNEY                     23817 MAIN ST                                                                                            MOSBY            MO 64024‐8051
SALLY DICK                       7369 MCCREERY DR                                                                                         PRESQUE ISLE     MI 49777‐8657
SALLY DIETRICH                   18 WESTERLY DR                                                                                           BUZZARDS BAY     MA 02532
SALLY DIMICK                     1466 S OAK RD                                                                                            DAVISON          MI 48423‐9140
SALLY DOCKERY                    4930 SUNSET DR                                                                                           LOCKPORT         NY 14094‐1827
SALLY DOVE                       413 N MARQUETTE ST                                                                                       DURAND           MI 48429‐1331
SALLY DUNN                       2303 N 350 W                                                                                             ANDERSON         IN 46011‐8772
SALLY E SCHMITZER                11141 NICHOLS RD                                                                                         MONTROSE         MI 48457‐9113
SALLY E WITTER KEUSCHER          ROBERT W PHILLIPS                 SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521           EAST ALTON        IL 62024
                                                                   ANGELIDES & BARNERD LLC
SALLY ELROD                      3200 E COUNTY ROAD 525 S                                                                                 MUNCIE          IN   47302‐9655
SALLY EMMERT                     154 CAPITOL DR APT B                                                                                     AVON            IN   46123‐4598
SALLY EVANS‐PISANO               BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                             BOSTON HTS.     OH   44236
SALLY F GREENWALD                86 ROCKLAND DR                                                                                           JERICHO         NY   11753‐1436
SALLY FASTZKIE                   442 COUNTRY MEADOWS DR                                                                                   OAK HARBOR      OH   43449‐1553
SALLY FAULISE                    194 STERLING AVE                                                                                         BUFFALO         NY   14216‐2414
SALLY FEENEY                     4420 ERIE ST                                                                                             YOUNGSTOWN      OH   44512‐1253
SALLY FETTERS                    5103 WABASH CT NE                                                                                        GRAND RAPIDS    MI   49525‐1143
SALLY FINNEY                     PO BOX 939                                                                                               DECATUR         TX   76234‐0939
SALLY FLEWELLING                 5262 CRESTWOOD DR                                                                                        GRAND BLANC     MI   48439‐4328
SALLY FOLDEN                     1312 W MICHIGAN AVE                                                                                      LANSING         MI   48915‐1726
SALLY FOLKRINGA                  1123 BOULDER CT                                                                                          LANSING         MI   48917‐4033
SALLY FORTIER                    15750 SW 16TH AVENUE RD                                                                                  OCALA           FL   34473‐8868
SALLY FOURMY AND ASSOCIATES, A   HELEN LOADER                      30 DUNCAN ST.                5TH FLOOR            TORNOTO ON M5V 2C2
DIVISION OF CINTAS CANADA LTD.                                                                                       CANADA
SALLY FOURMY AND ASSOCIATES, A   30 DUNCAN ST.                     5TH FLOOR                                         TORNOTO ON M5V 2C2
DIVISION OF CINTAS CANADA LTD.                                                                                       CANADA
SALLY FOWLE                      D21 999 BALMER RD                                                                                        YOUNGSTOWN      NY   14174
SALLY FULLER                     222 COLUMBIA ST                                                                                          HICKSVILLE      OH   43526‐1202
SALLY FURNISH                    4141 W MICHAEL DR                                                                                        MARION          IN   46952‐9318
SALLY GADDIE                     247 N CENTER ST                                                                                          PLAINFIELD      IN   46168‐1118
SALLY GAGE                       22580 W MARION RD                                                                                        BRANT           MI   48614‐8748
SALLY GATES                      18455 CHERRYLAWN ST                                                                                      DETROIT         MI   48221‐2015
SALLY GAWEL                      320 COLONY ST                     PO BOX 886                                                             MERIDEN         CT   06451‐2053
SALLY GENTRY                     1834 S BREIEL BLVD                                                                                       MIDDLETOWN      OH   45044‐6709
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Name                     Address1                        Address2                 Address3     Address4         City              State Zip
SALLY GILBERT            55 N BROAD ST                   C/O CHARLENE BURKE                                     CANFIELD           OH 44406‐1137
SALLY GILES              16442 STOCKWELL RD                                                                     LANSING            MI 48906‐1887
SALLY GLOR               21 WAVERLY AVE                                                                         BUFFALO            NY 14217‐1005
SALLY GOERKE             12357 SAGITTARIUS DR E                                                                 WILLIS             TX 77318‐5186
SALLY GOLTZ              3732 N 87TH ST                                                                         MILWAUKEE          WI 53222‐2839
SALLY GOMEZ              10590 260TH ST                                                                         BLANCHARD          OK 73010‐3219
SALLY GREEN              77 PORTLAND COURT               4                                                      ROCHESTER          NY 14621
SALLY GRUBAUGH           7691 W MEAD RD                                                                         SAINT JOHNS        MI 48879‐9729
SALLY GUBITZ             620 MINGES RD E                                                                        BATTLE CREEK       MI 49015
SALLY GUNTHER            10399 N BRAY RD                                                                        CLIO               MI 48420‐9742
SALLY GUSTIN             1078 N CENTER RD                                                                       SAGINAW            MI 48638‐5503
SALLY GUSTIN             PO BOX 121                                                                             MARKLEVILLE        IN 46056‐0121
SALLY HAIGHT             7331 N WHEATON RD                                                                      CHARLOTTE          MI 48813‐8612
SALLY HALL               228 S HINCKLEY ST                                                                      HOLDENVILLE        OK 74848‐5042
SALLY HALLENBECK         209 EXMOOR RD                                                                          WATERFORD          MI 48328‐3415
SALLY HALTERMAN          80658 WAHL RD                                                                          RICHMOND           MI 48062‐2322
SALLY HAM                PO BOX 753                                                                             MORRISTOWN         IN 46161‐0753
SALLY HANEY              1165 ONONDAGA RD                                                                       HOLT               MI 48842‐9600
SALLY HANSON             2046 SEYMOUR RD                                                                        SWARTZ CREEK       MI 48473‐9773
SALLY HARRIS             2885 RUSHMORE ST                                                                       SAGINAW            MI 48603‐3327
SALLY HARWOOD            15409 SEYMOUR RD                                                                       LINDEN             MI 48451‐8571
SALLY HAWKINS            444 N HIGH ST                                                                          MOUNT VICTORY      OH 43340‐8910
SALLY HAYWARD            PO BOX 376                                                                             BIRCH RUN          MI 48415‐0376
SALLY HAZEL              735 HAMILTON CT                                                                        ROCHESTER HILLS    MI 48307‐4536
SALLY HEIZER             PO BOX 96                                                                              FOREST             IN 46039‐0096
SALLY HELTON             3779 TUCKALEECHEE PIKE                                                                 MARYVILLE          TN 37804‐3807
SALLY HERDMAN            2172 SOUTHAMPTON LN                                                                    AVON               OH 44011‐1664
SALLY HETHERINGTON       1039 GROUSE DR                                                                         BAY CITY           MI 48706‐9748
SALLY HILL               518 E SUMMIT ST                                                                        BRECKENRIDGE       MI 48615‐9759
SALLY HILLES             824 ARLINGTON DR                                                                       GREENVILLE         PA 16125‐8219
SALLY HILLIARD           171 SCHEERER AVE                                                                       NEWARK             NJ 07112‐2113
SALLY HOFFNER            6215 CHANEY DR                                                                         TOLEDO             OH 43615‐1818
SALLY HOLFORD            3039 ALDEN NASH AVE SE                                                                 LOWELL             MI 49331‐9599
SALLY HOLM               30121 W 184TH TER                                                                      GARDNER            KS 66030‐9905
SALLY HOLTZ              211 TENNESSEE AVE                                                                      DANVILLE            IL 61832‐6542
SALLY HOPKINS            142 RIVER TRAIL DR                                                                     BAY CITY           MI 48706‐1805
SALLY HOPPER             1825 LAMBERT ST                                                                        INDIANAPOLIS       IN 46221‐1515
SALLY HREN               3435 LUKES WAY                                                                         GREENWOOD          IN 46143‐7264
SALLY HUEBLER            2002 N MORSON ST                                                                       SAGINAW            MI 48602‐3447
SALLY HUGGARD            2071 E ALMEDA BEACH RD                                                                 PINCONNING         MI 48650‐9493
SALLY I BARNEY           2843 PURDUE DRIVE                                                                      KETTERING          OH 45420‐3457
SALLY ISBELL             616 VALLEY DR                                                                          ANDERSON           IN 46011‐2036
SALLY J BROWN TRUST      SALLY J BROWN TTEE              5778 CRYSTAL SHORES DR   APT 202                       BOYNTON BEACH      FL 33437‐5691
SALLY J HAZEL            735 HAMILTON CT                                                                        ROCHESTER HILLS    MI 48307‐4536
SALLY J WEBB             1424 CONWAY ST                                                                         FLINT              MI 48532‐4307
SALLY JACKSON            2458 MERRIMONT DR                                                                      TROY               OH 45373‐4432
SALLY JACOB              456 COVE DR                                                                            SATSUMA            FL 32189‐2814
SALLY JEAN MUEHLENBECK   4438 WINTERS DR                                                                        FLINT              MI 48506‐2001
SALLY JOAN SHARRITTS     22 WOODSIDE DR.                                                                        ARCANUM            OH 45304‐1346
SALLY JOHNS              2809 PITTSBURGH AVE                                                                    MC DONALD          OH 44437‐1438
SALLY JOHNSON            2700 N WASHINGTON ST TRLR 192                                                          KOKOMO             IN 46901‐7808
SALLY JOHNSON            3628 S 17TH ST                                                                         MILWAUKEE          WI 53221‐1652
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Name                       Address1                        Address2              Address3         Address4         City              State Zip
SALLY JONES                7650 ST. RT. #46                                                                        CORTLAND           OH 44410
SALLY JONES                6935 KANE RD                                                                            TRANSFER           PA 16154‐8923
SALLY JONES                11421 RUTLAND ST                                                                        DETROIT            MI 48227‐4504
SALLY K CARTER             2747 NORTHWEST BLVD.                                                                    WARREN             OH 44485‐2231
SALLY K WHITTINGHAM        3323 TANGENT                                                                            YOUNGSTOWN         OH 44502‐3054
SALLY KEENAN               4272 SE SOMEWHERE DR                                                                    MILWAUKIE          OR 97222‐8841
SALLY KING                 HC 78 BOX 32                                                                            HARLAN             KY 40831
SALLY KLINE                6405 SHERIDAN ROAD                                                                      VASSAR             MI 48768‐9599
SALLY KOWALSKI             241 CLIFTON DR NE                                                                       WARREN             OH 44484‐1805
SALLY KUBICA               9277 DOVER LANDING CT                                                                   LAS VEGAS          NV 89123‐3720
SALLY KULHANEK             1218 HUNTINGTON GREENS DR                                                               SUN CITY CENTER    FL 33573‐8074
SALLY L DOBSON             41 CHESWOLD BLVD APT 3C                                                                 NEWARK             DE 19713‐4148
SALLY L HAINES             6476 QUINTESSA CT                                                                       DAYTON             OH 45449‐‐ 35
SALLY L JONES              7650 ST. RT. #46                                                                        CORTLAND           OH 44410‐9670
SALLY L RICHARDSON         41 CHESWOLD BLVD APT 3C                                                                 NEWARK             DE 19713‐4148
SALLY L STEELE             1013 S HAMILTON ST                                                                      SAGINAW            MI 48602‐1420
SALLY LANE                 PO BOX 2123                                                                             SAGINAW            MI 48605‐2123
SALLY LAPAK                10863 CANADA RD                                                                         BIRCH RUN          MI 48415‐9708
SALLY LASKOWSKI            PO BOX 531503                                                                           HENDERSON          NV 89053‐1503
SALLY LAVIGNE              745 CAMPBELL ST                                                                         FLINT              MI 48507‐2422
SALLY LAYFIELD             2755 PRITCHARD OHLTOWN RD SW                                                            WARREN             OH 44481‐9504
SALLY LEE                  17933 SYLVIA DR                                                                         BROOK PARK         OH 44142‐1427
SALLY LEITRICK             93 W HIGHWAY 54                                                                         SPIRIT LAKE        ID 83869‐9526
SALLY LITTLE               3058 CREEKWOOD CIR                                                                      BAY CITY           MI 48706‐5624
SALLY LIVESAY              140 SUNRISE LN                                                                          SPEEDWELL          TN 37870‐7623
SALLY LONG                 285 DETROIT ST                                                                          BUFFALO            NY 14212‐1208
SALLY LORENZ               7950 ARBELA RD                                                                          MILLINGTON         MI 48746‐9540
SALLY LOSEY                PO BOX 2134                                                                             WINCHESTER         VA 22604‐1334
SALLY LOTT                 3421 WOODHAVEN TRL                                                                      KOKOMO             IN 46902‐5063
SALLY LUCKETT              8916 MANOR ST                                                                           DETROIT            MI 48204‐2692
SALLY LUDWIG               15141 PENNSYLVANIA AVE                                                                  ALLEN PARK         MI 48101‐3700
SALLY LYSAKOWSKI           39500 CHERRY HILL RD                                                                    CANTON             MI 48187‐4325
SALLY M BAUGH              27 CITY LINE RD                                                                         PONTIAC            MI 48342‐1108
SALLY M CICOTTA            1371 HILLVIEW DR                                                                        CLERMONT           FL 34711
SALLY M EVERHART           549 HIGHLAND AVE                                                                        CHAMBERSBURG       PA 17201‐3768
SALLY M MARTINEZ           59 CR 545                                                                               ESPANOLA           NM 87532
SALLY M MCNERNEY           925 SHANNON RD.                                                                         GIRARD             OH 44420
SALLY M NIGRIN             136 ASPEN DRIVE                                                                         WARREN             OH 44483‐1175
SALLY M RYAN               19 PLANTATION DR #104                                                                   VERO BEACH         FL 32966
SALLY MADDOX               2336 KEYSTONE CT                                                                        ANDERSON           IN 46011‐9505
SALLY MAE HUTCHENS         214 EDNA LN                                                                             MCLOUD             OK 74851‐8251
SALLY MAHER                G 3354 E CARPENTER RD                                                                   FLINT              MI 48506
SALLY MALACE               3743 RINGLE RD                                                                          AKRON              MI 48701‐9608
SALLY MARTIN               4721 SUNDEW ST                                                                          COMMERCE TWP       MI 48382‐2634
SALLY MATTIX               8810 RACQUET CLUB DR                                                                    FORT WORTH         TX 76120‐2836
SALLY MAZIARZ AS SPECIAL   ESTATE OF JEROME MAZIARZ        520 HAYES ROAD                                          BOWLING GREEN,     KY 42103
ADMINISTRATRIX OF THE
SALLY MC ARTHUR            31950 CLARK ST APT 19                                                                   NEW HAVEN         MI   48048‐1938
SALLY MCCARTHY             243 PINE ST                                                                             GARDNER           MA   01440‐2727
SALLY MCCOMB               8216 DODGE RD                                                                           OTISVILLE         MI   48463‐9485
SALLY MCELROY              5695 N PARK AVE                                                                         BRISTOLVILLE      OH   44402‐9727
SALLY MCKEEVER             23754 SHUFELT RD                                                                        SEAFORD           DE   19973‐6710
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SALLY MCMAHON‐JONES     45766 TOURNAMENT DR                                                                      NORTHVILLE          MI 48168‐9631
SALLY MCNERNEY          925 SHANNON RD                                                                           GIRARD              OH 44420‐2049
SALLY MCWAIN            9742 BROOKVILLE PHILLIPSBG RD                                                            BROOKVILLE          OH 45309‐9608
SALLY MEASEL            11068 CONTINENTAL AVE                                                                    WARREN              MI 48089‐1735
SALLY MEEKER            126 STOLZ DR                                                                             MIDDLETOWN          OH 45042‐3849
SALLY MERGEL            1540 RED JACKET RD                                                                       GRAND ISLAND        NY 14072‐2329
SALLY MEYERHOLT         1174 WILFORD CT                                                                          REESE               MI 48757‐9534
SALLY MIDDLETONO        7491 AMERICAN ST                                                                         DETROIT             MI 48210‐1003
SALLY MIKULA            9100 SULLIVAN DR                                                                         SAINT HELEN         MI 48656‐9767
SALLY MILGIE            PO BOX 711                                                                               BLOOMFIELD HILLS    MI 48303‐0711
SALLY MITCHNER          1154 FAIROAKS DR                                                                         BURTON              MI 48529‐1911
SALLY MOENAERT          1206 SUBURBAN ST                                                                         PINCONNING          MI 48650‐8904
SALLY MONTE             1005 NORTHRIDGE ROAD                                                                     MOORE               OK 73160‐9533
SALLY NEIL              434 NORTHCUTT DR                                                                         ALAMO               TX 78516‐2603
SALLY NIGRIN            136 ASPEN DR NW                                                                          WARREN              OH 44483‐1175
SALLY NUGENT            58 FLOWER DALE DR                                                                        ROCHESTER           NY 14626‐1650
SALLY OBERG             6875 HITCHCOCK RD                                                                        WHITE LAKE          MI 48383‐2040
SALLY OLSEN             9162 LUEA LN                                                                             SWARTZ CREEK        MI 48473‐1076
SALLY OLSON             126 MEADOW LN                                                                            ITHACA              MI 48847‐1830
SALLY ONWELLER          1771 SAUK LN                                                                             SAGINAW             MI 48638‐4436
SALLY OROSZ             1154 5TH ST                                                                              STRUTHERS           OH 44471‐1445
SALLY ORVIS             9314 HOGAN RD                                                                            FENTON              MI 48430‐9204
SALLY P ANDERSON        789 CENTER ST E                                                                          WARREN              OH 44481
SALLY P JONES           6935 KANE RD                                                                             TRANSFER            PA 16154
SALLY PACK              64 S 87TH ST                                                                             NIAGARA FALLS       NY 14304‐4451
SALLY PEAKE             6401 S M 66 HWY                                                                          NASHVILLE           MI 49073‐9430
SALLY PENNY             4009 FAIRWAY DR                                                                          CANFIELD            OH 44406‐9055
SALLY PENNY             BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
SALLY PEREZ             6205 BAILEY ST                                                                           FLINT               MI 48532‐3906
SALLY PEYTON            300 S. JEFFERSON ST.                                                                     PITSBURG            OH 45358
SALLY PHILHOWER         1590 LOST TRAIL FARM                                                                     MILFORD             OH 45150‐9771
SALLY PIERSON           1672 MARINA LAKE DR                                                                      KISSIMMEE           FL 34744‐6460
SALLY POLMANTEER        1106 EAGLE ST NW                                                                         WALKER              MI 49544‐1814
SALLY POLOVINA          949 W 26TH ST APT 104                                                                    SAN PEDRO           CA 90731‐5745
SALLY POST              2605 25TH ST                                                                             BAY CITY            MI 48708‐7679
SALLY PRATT             409 DAISY DR                                                                             SAINT JOHNS         MI 48879‐8249
SALLY PREMO             3485 BOBENDICK ST                                                                        SAGINAW             MI 48604‐1703
SALLY PRUCHNIEWSKI      104 COLTON ST                                                                            BUFFALO             NY 14206‐2463
SALLY PURDUE            PO BOX 242                                                                               PARADISE            MI 49768‐0242
SALLY R MITCHELL TTEE   SALLY R MITCHELL                2300 IROQUOIS RD                                         WILMETTE             IL 60091
SALLY RANDALL           2113 AVALON CIRCLE                                                                       BAY CITY            MI 48708‐7621
SALLY READ BACON        355 LARCHLEA                                                                             BIRMINGHAM          MI 48009
SALLY RHUDY             32135 OLIVE BRANCH LN                                                                    DAMASCUS            VA 24236‐2603
SALLY RICHARDSON        1062 APLIN BEACH                                                                         BAY CITY            MI 48706
SALLY RICHARDSON        41 CHESWOLD BLVD APT 3C                                                                  NEWARK              DE 19713‐4148
SALLY RISNER            806 OBERLIN DR                                                                           FAIRFIELD           OH 45014‐2833
SALLY ROBERTS           PO BOX 731                                                                               DEFIANCE            OH 43512‐0731
SALLY ROBERTS‐HATCHER   4461 N COOLIDGE AVE                                                                      HARRISON            MI 48625‐9734
SALLY ROBINSON          G4240 BEECHER RD                                                                         FLINT               MI 48532‐2710
SALLY ROBINSON          5955 MACKINAW RD                                                                         SAGINAW             MI 48604‐9765
SALLY ROBINSON          751 VALLEY VIEW DR                                                                       IONIA               MI 48846
SALLY ROELOFS           15110 SHANER AVE NE                                                                      CEDAR SPRINGS       MI 49319‐8304
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Name                          Address1                      Address2              Address3         Address4               City                  State Zip
SALLY ROGERS                  615 S DIVISION ST                                                                           BUFFALO                NY 14210
SALLY ROGERS                  25303 RUTLEDGE XING                                                                         FARMINGTON HILLS       MI 48335‐1350
SALLY ROGNER                  801 KNOTT RD                                                                                LEWISTON               MI 49756‐7584
SALLY ROSE                    4357 CAMPBELL RD                                                                            ATTICA                 MI 48412‐9769
SALLY RUBINO                  3520 BERWICK DR                                                                             LANSING                MI 48911‐2117
SALLY RUEFENACHT              8831 WOODMONT LN                                                                            PORT RICHEY            FL 34668‐2467
SALLY SAKON                   8120 COTTAGE DR                                                                             UNIONVILLE             MI 48767‐9764
SALLY SANFORD                 3432 BELINDA DR                                                                             STERLING HEIGHTS       MI 48310‐1788
SALLY SANTANA                 2814 TURNBERRY DR APT 832                                                                   ARLINGTON              TX 76005‐2340
SALLY SCHARICH                5090 KENORA DR                                                                              SAGINAW                MI 48604‐9422
SALLY SCHMITZER               11141 NICHOLS RD                                                                            MONTROSE               MI 48457‐9113
SALLY SCHULZ DOB 2001/02/20   SONNENBUEHL 3                                                        73342 BAD DITZENBACH
                                                                                                   GERMANY
SALLY SCOTT                   231 HILLCLIFF DR                                                                            WATERFORD             MI   48328‐2521
SALLY SEEMUELLER              1732 BOSTWICK RD                                                                            COLUMBUS              OH   43227‐3301
SALLY SHAFFER                 32840 OAKLEY ST                                                                             LIVONIA               MI   48154‐3588
SALLY SHARRITTS               22 WOODSIDE DR                                                                              ARCANUM               OH   45304‐1346
SALLY SHAW                    672 MORNINGSIDE DR N                                                                        STOCKBRIDGE           GA   30281‐2355
SALLY SHELTON                 3201 SW BELMONT PL                                                                          PORT ST LUCIE         FL   34953‐7110
SALLY SIMPSON                 1377 DAVIS ST                                                                               YPSILANTI             MI   48198‐5960
SALLY SMITH                   2758 OLIVIA ST NW                                                                           GRAND RAPIDS          MI   49504‐5895
SALLY SMITH                   13 APPLE TREE LN 13                                                                         NAPLES                FL   34112
SALLY SORENSEN                13024 S LAKE BREEZE                                                                         SAND LAKE             MI   49343‐8993
SALLY SPIEGEL                 2380 E BRITTON RD                                                                           MORRICE               MI   48857‐9745
SALLY STALLARD                7196 GROVELAND RD                                                                           HOLLY                 MI   48442‐9424
SALLY STALNAKER               4645 MEADOWGROVE DR                                                                         CARROLL               OH   43112‐9590
SALLY STEPULKOSKI             17330 S HEMLOCK RD                                                                          OAKLEY                MI   48649‐9744
SALLY STREETER                940 PALM VIEW DR #215D                                                                      NAPLES                FL   34110
SALLY STROUD                  7875 W COUNTY ROAD 950 N                                                                    MIDDLETOWN            IN   47356‐9306
SALLY STRUKEL                 636 S 11TH ST                                                                               NEW CASTLE            IN   47362‐5216
SALLY STUS                    22763 COACHLIGHT CIR                                                                        TAYLOR                MI   48180‐6381
SALLY SUTTLE                  7391 NORTH LAKE RD                                                                          MILLINGTON            MI   48746
SALLY SWEENEY                 241 W VICTORIA ST                                                                           HALE                  MI   48739‐9201
SALLY T DAVIS                 508 CROSS VALLEY RD.                                                                        LA FOLLETTE           TN   37766
SALLY TACKETT                 830 PEACH LEAF DR                                                                           CENTERVILLE           OH   45458‐3246
SALLY TALTON                  4733 GEMINI DR N                                                                            JACKSONVILLE          FL   32217‐4509
SALLY TARONI                  31 DA VINCI DR                                                                              ROCHESTER             NY   14624‐3808
SALLY TAYLOR                  10175 ELIZABETH LAKE RD                                                                     WHITE LAKE            MI   48386‐2736
SALLY THELEN                  4831 MOHICAN TRL                                                                            OWOSSO                MI   48867‐9731
SALLY THOMAS                  3134 JEFFERSON AVE SE                                                                       WYOMING               MI   49548‐1269
SALLY TOBIN                   7 TOMPKINS AVE                                                                              OSSINING              NY   10562‐5005
SALLY TROUTNER                6705 S ROYSTON RD                                                                           EATON RAPIDS          MI   48827‐9555
SALLY TRYPUS                  11096 CROSSETO DR                                                                           LAS VEGAS             NV   89141‐3991
SALLY VALENTINE               W1794 GROS CAP RD                                                                           SAINT IGNACE          MI   49781‐9836
SALLY VAN HISE                4 SURREY CT                                                                                 TOMS RIVER            NJ   08757‐4704
SALLY VAN NESS                12560 S BEYER RD                                                                            BIRCH RUN             MI   48415‐9443
SALLY VIBBERT                 1325 W 500 S                                                                                ANDERSON              IN   46013‐9732
SALLY VLIETSTRA               33115 EDWARD ST                                                                             BROWNSTOWN TOWNSHIP   MI   48173‐9310

SALLY VOAKES                  5161 OXFORD CT                                                                              SWARTZ CREEK          MI 48473‐1253
SALLY VOGLER                  1615 TOBEN RD                                                                               CARLETON              MI 48117‐9344
SALLY VOLLENHALS              PO BOX 1134                                                                                 TOMBALL               TX 77377‐1134
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SALLY W CARR                195 FAIRLAWN AVE.                                                                             NILES              OH 44446‐2041
SALLY W MEADOWS             2119 BELLEFONTAINE AVE                                                                        DAYTON             OH 45404‐2233
SALLY WAGLE                 11203 ARMSTRONG DR S                                                                          SAGINAW            MI 48609‐9470
SALLY WALTON                2916 COIT AVE NE                                                                              GRAND RAPIDS       MI 49505‐3339
SALLY WARD                  4 TUDOR LN APT 6                                                                              LOCKPORT           NY 14094‐3990
SALLY WARD                  6734 CASCADE CT                                                                               CLARKSTON          MI 48348‐4855
SALLY WARE                  2840 E MELLINGER DR                                                                           SAGINAW            MI 48601‐9215
SALLY WATKINS               2410 BAXTER RD APT 4                                                                          KOKOMO             IN 46902
SALLY WELLS                 14387 OLD WOOLMARKET RD                                                                       BILOXI             MS 39532‐9224
SALLY WHITTINGHAM           3323 TANGENT ST                                                                               YOUNGSTOWN         OH 44502‐3054
SALLY WICKS                 1507 IROQUOIS ST                                                                              DETROIT            MI 48214‐2750
SALLY WILHELME              16831 VICTORIA LN                                                                             HOLLY              MI 48442‐8871
SALLY WILKINSON             145 COURT ST                                                                                  COLUMBIANA         OH 44408‐1134
SALLY WILLIAM JR (429752)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                STREET, SUITE 600
SALLY WILLIAMS              13305 STATE ROUTE 56 W                                                                        MT STERLING       OH   43143‐9528
SALLY WOODBECK              320 W 7TH AVE                                                                                 FLINT             MI   48503‐1354
SALLY WRONA                 717 DRESSLER LN                                                                               ROCHESTER HILLS   MI   48307‐3354
SALLY YOKLEY                2470 BROOKHAVEN RD                                                                            CANTON            MI   48188‐1690
SALLY YONTZ                 1015 BEAVER VALLEY ROAD                                                                       DAYTON            OH   45434‐7011
SALLY YURTIN                1455 EDGEWOOD ST NE                                                                           WARREN            OH   44483‐4121
SALLY ZASTROW               4179 PURDY RD                                                                                 LOCKPORT          NY   14094‐1031
SALLY ZERANTE               1879 W 300 S                        C/O JOAN MARIE ZERANTE                                    PERU              IN   46970‐7334
SALLY ZICK                  1391 WEST MUSGROVE HIGHWAY                                                                    LAKE ODESSA       MI   48849‐9546
SALLY ZINN                  2097 KENT DR                                                                                  DAVISON           MI   48423‐2349
SALLY, CHARLES J            26183 PINEHURST APT C104                                                                      ROSEVILLE         MI   48066
SALLY, JAMES W              3728 WHITNEY ST                                                                               DETROIT           MI   48206‐2320
SALLY, ROBERT S             3730 WHITNEY ST                                                                               DETROIT           MI   48206‐2320
SALLY, RUTH                 1460 E DRAHNER RD                                                                             OXFORD            MI   48371‐5328
SALLY, WILLIAM              GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                                STREET, SUITE 600
SALLYANN STRATZ             2331 KETTLE LAKE RD NE                                                                        KALKASKA          MI   49646‐9118
SALLYE BROWN                63 RICHLAWN AVE                                                                               BUFFALO           NY   14215‐2127
SALLYE E MCCULLOUGH         5090 GENESEE PARKWAY                                                                          BOKEELIA          FL   33922
SALLYE W MARTIN             121 ROWLAND PL                                                                                TYLER             TX   75701
SALLYLOU JOHNSON            4219 BURNHAM AVE                                                                              TOLEDO            OH   43612‐1915
SALM HENRY (660214)         BRAYTON PURCELL                     PO BOX 6169                                               NOVATO            CA   94948‐6169
SALM, HENRY                 BRAYTON PURCELL                     PO BOX 6169                                               NOVATO            CA   94948‐6169
SALMACI, FAY                3701 BREWSTER ST                                                                              DEARBORN          MI   48120‐1015
SALMACI, MARUF              PO BOX 7385                                                                                   DEARBORN          MI   48121‐7385
SALMAN                      3061 CHRISTY WAY                                                                              SAGINAW           MI   48603
SALMAN KHAN                 4309 FIELDBROOK RD                                                                            WEST BLOOMFIELD   MI   48323‐3213
SALMAN TOUFIE A (491692)    CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                     CLEVELAND         OH   44113‐1328
                            COONE AND ASSOCIATES
SALMAN, BEDOUR W            1837 ELLIOTT                                                                                  MADISON HEIGHTS   MI   48071‐2662
SALMAN, BEDOUR W            1837 ELLIOTT AVE                                                                              MADISON HEIGHTS   MI   48071‐2662
SALMAN, MUTASIM A           1674 SNOWDEN CIR                                                                              ROCHESTER HILLS   MI   48306‐3658
SALMAN, SUSAN R             3442 SURREY RD SE                                                                             WARREN            OH   44484‐2841
SALMAN, TOUFIE A            CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                     CLEVELAND         OH   44113‐1328
                            COONE AND ASSOCIATES
SALMER, WILLIAM A           2627 W M21 LOT 58                                                                             OWOSSO            MI 48867
SALMERI, ALMEDA A           3901 BATTLEGROUND AVE APT 222                                                                 GREENSBORO        NC 27410‐8405
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SALMERI, ALMEDA A                   3901 BATTLEGROUND AVE              APT 222                                                      GREENSBORO        NC 27410
SALMERI, CONSTANCE D                PO BOX 271                                                                                      RANSOMVILLE       NY 14131‐0271
SALMERI, CONSTANCE D                P.O. BOX 271                                                                                    RANSOMVILLE       NY 14131‐0271
SALMERI, JOSEPH                     165 DUNLOP AVE                                                                                  TONAWANDA         NY 14150‐7810
SALMERI, SALVATORE                  3786 ELEANOR DR                                                                                 MOHEGAN LAKE      NY 10547‐1024
SALMERI, SHANNON M                  2460 COOMER RD                                                                                  BURT              NY 14028
SALMERON, A. P                      2404 TULIPAN ST                                                                                 BROWNSVILLE       TX 78521‐4629
SALMERON, ANNA R                    3200 E SOUTH ST #525                                                                            LONG BEACH        CA 90805
SALMI, DAVID C                      2102 BEVERLY CT                                                                                 HAMPSTEAD         MD 21074‐2545
SALMI, MARGARET K                   2470 FLEETWOOD DR                  C/O JOAN KORSCH                                              SAN BRUNO         CA 94066‐1924
SALMI, MARILYN                      2102 BEVERLY CT                                                                                 HAMPSTEAD         MD 21074
SALMI, NIILO J                      C/O CONCORD HEALTHCARE CENTER 57                                                                CONCORD           MA 01742

SALMINEN, DALE K                     3231 MEGAN CT                                                                                  CLIO             MI   48420‐1992
SALMINEN, DENNIS A                   598 OAKBROOK CIR                                                                               FLUSHING         MI   48433‐1704
SALMINEN, DENNIS ALAN                598 OAKBROOK CIR                                                                               FLUSHING         MI   48433‐1704
SALMINEN, JASON B                    5286 ALLISON DR                                                                                TROY             MI   48085‐3460
SALMINEN, JOSEPH L                   921 MCDIARMID LN                                                                               GRAND LEDGE      MI   48837‐2059
SALMINEN, LESLIE E                   PO BOX 125                                                                                     CHATHAM          MI   49816‐0125
SALMINEN, PAUL                       BOONE ALEXANDRA                   205 LINDA DR                                                 DAINGERFIELD     TX   75638‐2107
SALMINEN, RICHARD J                  30 HICKORY DR                                                                                  WORCESTER        MA   01609‐1016
SALMINEN, SHIRLEY M                  12139 ULMER RD                                                                                 BIRCH RUN        MI   48415‐9702
SALMO SAM                            SALMO, SAM                        30928 FORD RD                                                GARDEN CITY      MI   48135‐1803
SALMON AUTOMOTIVE, INC.              269 4TH ST                                                                                     TRACY            MN   56175‐1221
SALMON AUTOMOTIVE, INC.              DEAN SALMON                       269 4TH ST                                                   TRACY            MN   56175‐1221
SALMON MOORE                         1587 MCALPINE DR                                                                               MOUNT MORRIS     MI   48458‐2309
SALMON NEVILLE ENTERPRISES INC
SALMON RIVER CENTRAL SCHOOL DISTRICT 637 COUNTY ROUTE 1                SRC ALL‐NIGHT GRADUATION PARTY                               FORT COVINGTON   NY 12937‐2807

SALMON WARREN                       44 DEVON RD                                                                                     ROCHESTER        NY   14619‐2402
SALMON, ALAN L                      606 WOODCREST BLVD 133                                                                          O FALLON         MO   63368
SALMON, BRENDA G                    584 N. LEAVITT                                                                                  LEAVITTSBURG     OH   44430‐9797
SALMON, BRENDA G                    584 N LEAVITT RD                                                                                LEAVITTSBURG     OH   44430‐9797
SALMON, CANDIDA                     510 BELLWOOD DR                                                                                 SANTA CLARA      CA   95054‐2105
SALMON, CHAD E                      3527 CANDLEWOOD DR                                                                              JANESVILLE       WI   53546‐3503
SALMON, CHARLES S                   3524 W 25TH ST                     C/O JUDY COLLINS                                             ANDERSON         IN   46011‐4511
SALMON, DAVID E                     1435 YOKLEY RD                                                                                  LYNNVILLE        TN   38472‐5346
SALMON, FLORENCE                    4469 SAILBOAT AVE                                                                               LAKELAND         FL   33805‐3592
SALMON, FREDA M                     700 LAKE DR                                                                                     LOUDON           TN   37774‐5534
SALMON, GARY O                      508 LAKE VIKING TER                                                                             GALLATIN         MO   64640‐8352
SALMON, GERALD D                    7550 STATE RD                                                                                   MILLINGTON       MI   48746‐9407
SALMON, GLENN                       909 WAKE FOREST RD                                                                              DAYTON           OH   45431‐2866
SALMON, GREGORY S                   5476 PARKSIDE DR                                                                                BRIGHTON         MI   48114‐7572
SALMON, J. R                        10443 BOGEY CT                                                                                  FORISTELL        MO   63348‐2686
SALMON, JERRY E                     516 MILLER AVE                                                                                  JANESVILLE       WI   53548‐2709
SALMON, JONATHAN N                  6312 W TAYLOR RD                                                                                MUNCIE           IN   47304‐4772
SALMON, LINDA J                     1681 CARNELIAN CT                                                                               LINCOLN          CA   95648‐8752
SALMON, LYLE G                      5405 KENOWA AVE SW                                                                              GRANDVILLE       MI   49418‐9404
SALMON, MARY E                      PO BOX 2157                                                                                     BEDFORD          IN   47421‐7157
SALMON, MICHAEL A                   1109 E FUSON RD                                                                                 MUNCIE           IN   47302‐8760
SALMON, PATRICK D                   13 NAPLES ST                                                                                    MILFORD          MA   01757
SALMON, PEGGY J                     76 ORCHARD LN                                                                                   HOLLISTON        MA   01746‐1113
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SALMON, RICHARD J    21045 GILL RD                                                                                    FARMINGTON HILLS    MI 48335‐5025
SALMON, ROBERT W     W 8438 HWY C                                                                                     NEW LISBON          WI 53950‐9798
SALMON, ROBERT W     W8438 COUNTY ROAD C                                                                              NEW LISBON          WI 53950‐9798
SALMON, STEPHEN F    182 E MAIN ST APT 2                                                                              MILFORD             MA 01757
SALMON, STEPHEN L    5474 N COUNTY ROAD 0 EW                                                                          FRANKFORT           IN 46041‐7868
SALMON, WALTER L     29192 CRAWFORD AVE                                                                               PUNTA GORDA         FL 33982‐8551
SALMON, WALTER L.    14105 GRAND RIVER DR SOUTHEAST                                                                   LOWELL              MI 49331‐9345
SALMON, WILLIAM D    7615 N G ST                                                                                      SPOKANE             WA 99208‐8598
SALMOND, JAMES K     PO BOX 323                                                                                       FAIRFAX             MO 64446
SALMOND, JAMES R     1242 W SUTTON RD                                                                                 METAMORA            MI 48455‐9632
SALMOND, ROBERT B    115 SHERMAN RD                                                                                   SOMERSET            MA 02726‐1508
SALMOND, VAN D       2777 IMLAY CITY RD                                                                               LAPEER              MI 48446‐3223
SALMOND, VERNA B     38 REDWOOD DR                                                                                    SAGINAW             MI 48601‐4137
SALMONS INEZ         322 COUNTY ROAD 409                                                                              JONESBORO           AR 72404‐8621
SALMONS KENDRA R     SALMONS, KENDRA R                PO BOX 635                                                      HAMLIN              WV 25523‐0635
SALMONS, ALVIS R     2524 TWENTY THIRD ST                                                                             CUYAHOGA FLS        OH 44223
SALMONS, JAMES A     2602 SOFTWIND ST                                                                                 NORTH BRANCH        MI 48461‐9763
SALMONS, JAMES M     734 ROUND HILL RD                                                                                INDIANAPOLIS        IN 46260‐2918
SALMONS, LAT         C/O RONALD C HALL                GOLDEN LIVING COMMUNITY ‐   553 EAST BLEDSOE                    GALLATIN            TN 37066
                                                      BRANDY
SALMONS, MARIA       415 W NORTHFIELD AVE                                                                             PONTIAC            MI   48340‐1324
SALMONS, MARVIN L    1551 CHAMPLIN DR                                                                                 SAINT LOUIS        MO   63136‐2115
SALMONS, MICHAEL S   1592 N DETROIT ST                                                                                XENIA              OH   45385‐1220
SALMONS, PAUL D      42 WATERVLIET AVE                                                                                DAYTON             OH   45420‐1828
SALMONS, PAUL H      2098 MARCIA DR                                                                                   BELLBROOK          OH   45305‐1604
SALMONS, ROGER A     2860 PANGBURN HOLLOW RD                                                                          MONONGAHELA        PA   15063
SALMONSEN, ALLEN R   3632 W MILLER RD                                                                                 SHEPHERD           MI   48883‐9653
SALNERS JAMES        3222 NEWCASTLE DR                                                                                HOUSTON            TX   77027‐5510
SALNIKOV, DENNIS L   1921 NAKOTA RD                                                                                   ROYAL OAK          MI   48073‐1917
SALO ALLAN D         8035 MERRILL RD                                                                                  NORTH BRANCH       MI   48461‐9394
SALO JR, ALVIN L     80 N ELEVATOR RD                                                                                 LINWOOD            MI   48634‐9315
SALO, ALBERT J       1869 MANORHAVEN ST                                                                               ORTONVILLE         MI   48462‐8524
SALO, ALLAN D        8035 MERRILL RD                                                                                  NORTH BRANCH       MI   48461‐9394
SALO, CHARLES D      545 N DICK AVE                                                                                   HAMILTON           OH   45013‐2613
SALO, DAVID M        2630 S BRADFORD RD                                                                               REESE              MI   48757‐9212
SALO, DAWN M         1369 KENNEBEC RD                                                                                 GRAND BLANC        MI   48439‐4977
SALO, GLENN H        2035 W BATAAN DR                                                                                 KETTERING          OH   45420‐3644
SALO, LEILA M        3280 STATE STREET RD                                                                             BAY CITY           MI   48706‐1867
SALO, MARY           2630 S BRADFORD RD                                                                               REESE              MI   48757‐9212
SALO, MARY J         15722 LEIGH ELLEN AVENUE                                                                         CLEVELAND          OH   44135‐1342
SALO, RAYMOND C      9813 KINGS VLY                                                                                   CLARKSTON          MI   48348‐4192
SALO, RONALD W       3020 HAMMAN DR                                                                                   YOUNGSTOWN         OH   44511‐1834
SALOB, PETER
SALOFF, MILDRED I    2714 KELLOGG AVE                                                                                 JANESVILLE         WI   53546‐5605
SALOGAR, BRYAN J     270 E MARSHALL ST                                                                                FERNDALE           MI   48220‐2525
SALOGAR, JUDITH R    4640 FOX POINTE DR               APT 220                                                         BAY CITY           MI   48706
SALOGAR, JUDITH R    4640 FOX POINTE DR APT 220                                                                       BAY CITY           MI   48706‐2848
SALOGAR, MATTHEW     905 LENG ST                                                                                      BAY CITY           MI   48706‐4076
SALOGAR, WILLIAM H   509 S MCLELLAN ST                                                                                BAY CITY           MI   48708‐7573
SALOIS, JOSEPH R     1161 WETTERS RD                                                                                  KAWKAWLIN          MI   48631‐9469
SALOIS, KENNETH W    3929 DILL DR                                                                                     WATERFORD          MI   48329‐2137
SALOIS, LINDA A      1519 BROOKRIDGE DR 4                                                                             WOODSTOCK          GA   30189
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Name                            Address1                          Address2              Address3          Address4               City               State Zip
SALOIS, RICHARD J               116 GREENVIEW DR                                                                                 KANNAPOLIS          NC 28081‐7141
SALOIS, VICTORIA A              2722 N. PETERSON DR.              P.O. BOX 42                                                    PINCONNING          MI 48605‐0042
SALOIS, VICTORIA A              PO BOX 42                                                                                        PINCONNING          MI 48650‐0042
SALOKA, FREDERICKA N            3347 ELMCREST RD                                                                                 STERLING HEIGHTS    MI 48310‐4958
SALOKA, JOHN A                  151 SOMERSET ST                                                                                  SWARTZ CREEK        MI 48473‐1161
SALOKA, JOSEPH J                25673 WISEMAN ST                                                                                 ROSEVILLE           MI 48066‐3631
SALOKA, MARILYN                 6815 TOWNSEND RD                                                                                 APPLEGATE           MI 48401‐9610
SALOKA, STEPHEN M               17863 CANAL RD                                                                                   CLINTON TWP         MI 48038‐2122
SALOMAO, CLAUDINOR              1 WOODLAND DR                                                                                    HUDSON              MA 01749‐2733
SALOME BEY                      14220 BLUE HERON CHASE                                                                           ROANOKE             IN 46783‐8793
SALOME SAK                      32 OSWEGO ST NW                                                                                  GRAND RAPIDS        MI 49504‐6046
SALOME VILLARREAL               123 VERMONT ST                                                                                   SAGINAW             MI 48602‐1258
SALOME WILLIAMS                 531 S ONONDAGA RD                                                                                MASON               MI 48854‐9733
SALOMEY DARABOS                 4575 CADILLAC PL                                                                                 SAGINAW             MI 48604‐1033
SALOMOM SMITH BARNEY CITIBANK   390 GREENWICH ST 1ST FL                                                                          NEW YORK            NY 10013
SALOMON BROTHERS INC.           MORGAN STANLEY                    1585 BROADWAY                                                  NEW YORK            NY 10036
SALOMON CAMPOS                  105 TIMOTHY ST                                                                                   DEFIANCE            OH 43512‐2368
SALOMON D. KAFATI S.A.          3 AVE N.O. NO. 71                                                         SAN PEDRO SULA
                                                                                                          HONDURAS
SALOMON ISLAS                   1515 W MEMORIAL DR                                                                               JANESVILLE         WI 53545
SALOMON MENCHACA                30118 GALBRETH CT                                                                                CASTAIC            CA 91384‐4547
SALOMON SERRUYA AND GLADYS      SALOMON SERRUYA                   1700 W 24 ST          SUNSET ISLAND 3                          MIAMI BEACH        FL 33140
VICTORIA MORA
SALOMON, DAVID A                216 THORNELL RD                                                                                  PITTSFORD          NY   14534‐3606
SALOMON, INEZ J                 1500 VILLA RD APT 203                                                                            SPRINGFIELD        OH   45503‐1664
SALOMON, INEZ J                 APT 203                           1500 VILLA ROAD                                                SPRINGFIELD        OH   45503‐1664
SALOMON, MARIA                  521 W FERNFIELD DR                                                                               MONTEREY PARK      CA   91754‐7002
SALOMON, PETER J                1515 COUNTRYSIDE DR                                                                              SHOREWOOD          IL   60404‐7014
SALOMON, THOMAS W               651 ROCKHILL AVE                                                                                 KETTERING          OH   45429‐3441
SALOMON, YVES                   504 LEHIGH AVE                                                                                   UNION              NJ   07083‐7929
SALOMONE CASTRO                 24201 ONEIDA ST                                                                                  OAKPARK            MI   48237‐1749
SALOMONE, LORENE                17797 STERLING GLEN LANE                                                                         CHARGRIN FALLS     OH   44023‐2457
SALOMONSON, DAVID J             1602 SARASOTA DR                                                                                 TOLEDO             OH   43612‐4018
SALOMONSON, DAVID JOHN          1602 SARASOTA DR                                                                                 TOLEDO             OH   43612‐4018
SALON DE'SOL                    221 S FORD BLVD                                                                                  YPSILANTI          MI   48198‐6066
SALON FAMILY TRUST              5111 KAPALUA LN                                                                                  LAS VEGAS          NV   89113
SALON SERENITY                  ATTN: LISA LAMSON                 3837 DAVISON RD # D                                            FLINT              MI   48506‐4247
SALONDAKA MICHAEL               8693 PASATIEMPO CIR                                                                              ROSEVILLE          CA   95747‐5339
SALONE JR, BENJAMIN F           5323 TUCSON DR                                                                                   DAYTON             OH   45418‐2251
SALONE, JESSIE M                9890 FREEDOMS WAY                                                                                KEITHVILLE         LA   71047
SALONE, LINDA                   8322 BEEBE DR                                                                                    GREENWOOD          LA   71033‐3310
SALONE, ROBERT A                89 S IRELAND BLVD                                                                                MANSFIELD          OH   44906‐2220
SALONE, SCOTT A                 553 IMO DR                                                                                       DAYTON             OH   45405‐2935
SALONE, SHAWN D                 321 PARK AVE 1                                                                                   MEDINA             NY   14103‐1552
SALONE, SHAWN D.                321 PARK AVE 1                                                                                   MEDINA             NY   14103‐1562
SALONEN, KNOX F                 N11142 STATE HIGHWAY M64                                                                         MARENISCO          MI   49947‐9733
SALONEN, RICHARD A              1229 GARFIELD AVE                                                                                WAUKESHA           WI   53186‐6656
SALONIKAS, GEORGE               2119 LOGAN DR                                                                                    STERLING HEIGHTS   MI   48310‐2855
SALOP ECONOMICS INC             4636 BROAD BRANCH RD NW                                                                          WASHINGTON         DC   20008‐1007
SALOPEK, ANTHONY P              15841 W. MARK DRIVE                                                                              NEW BERLIN         WI   53151‐3151
SALOPEK, ANTHONY P              15841 W MARK DR                                                                                  NEW BERLIN         WI   53151‐5637
SALOPEK, CHRISTINE L            15841 W MARK DR                                                                                  NEW BERLIN         WI   53151‐5637
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Name                            Address1                        Address2                        Address3   Address4         City              State Zip
SALORD, YVES C                  4194 REEF RD                                                                                MARIETTA           GA 30066‐1833
SALORD, YVES CHRISTIAN          4194 REEF RD                                                                                MARIETTA           GA 30066‐1833
SALOSOVICH EDWARD (ESTATE OF)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
(641092)                                                        PROFESSIONAL BLDG
SALOSOVICH, EDWARD              BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD        OH 44067
                                                                PROFESSIONAL BLDG
SALOTTI, RICHARD V              1102 BEL AIR DR                                                                             SANTA BARBARA     CA   93105‐4642
SALOTTO, THOMAS                 3181 EAST PEBBLE CREEK DRIVE                                                                AVON PARK         FL   33825‐6035
SALOW, CATHERINE A              4191 MCCARTY APT 29                                                                         SAGINAW           MI   48603‐9316
SALOW, CATHERINE A              4191 MCCARTY RD APT 29                                                                      SAGINAW           MI   48603‐9316
SALOW, JOHN R                   4485 SPURWOOD DR                                                                            SAGINAW           MI   48603
SALOW, NORMA J                  3 PINE HURST LANE                                                                           PALM COAST        FL   32164
SALOW, NORMA J                  3 PINE HURST LN                                                                             PALM COAST        FL   32164‐7023
SALOW, NORMAN W                 2437 PALMETTO RD                                                                            MOUNT DORA        FL   32757‐2421
SALOW, ROBERT F                 46467 GREENRIDGE DR                                                                         NORTHVILLE        MI   48167‐1790
SALOWITZ, FRANCES               445 N. WILMONT RD.              APT. 335                                                    TUCSON            AZ   85711
SALOWITZ, FRANCES               9615 EAST BANBRIDGE STREET                                                                  TUCSON            AZ   85747‐9212
SALOWITZ, KENNETH L             3870 ADAMS DR                                                                               ATTICA            MI   48412‐9399
SALPAKA, GLENN L                2469 POINCIANA DR                                                                           WESTON            FL   33327‐1414
SALPHINE, KENNETH H             5572 CENTERPOINTE BLVD APT 8                                                                CANANDAIGUA       NY   14424‐7859
SALRIN, MYRA J                  2817 VINEYARDS DR                                                                           TROY              MI   48098‐6206
SALSABILAH B ABDUR‐RASHEED      17241 BURGESS                   APT 301                                                     DETROIT           MI   48219‐3291
SALSAMEDA, EDWARD D             9812 MYRON ST                                                                               PICO RIVERA       CA   90660‐4721
SALSBERG, JOHN I                1544 PAYNE ST                                                                               MINERAL RIDGE     OH   44440‐9736
SALSBERRY, GAY V                1255 N RADEMACHER                                                                           DETROIT           MI   48209‐2246
SALSBERRY, HARRY A              7818 MAPLE ST                                                                               DEARBORN          MI   48126‐1137
SALSBERRY, PAULINE              2674 GETTYSBURG PITSBURG ROAD                                                               ARCANUM           OH   45304‐9696
SALSBERRY, PAULINE              110 BOONE DR                                                                                TROY              OH   45373‐9374
SALSBERY, KENNETH E             321 AGOLI LN                                                                                LOUDON            TN   37774‐2592
SALSBERY, RUTH E                321 AGOLI LN                                                                                LOUDON            TN   37774‐2592
SALSBURY INDUSTRIES INC         1010 E 62ND ST                                                                              LOS ANGELES       CA   90001‐1510
SALSBURY, ANNA M                258 DUER STREET                                                                             OSWEGO            NY   13126‐2836
SALSBURY, ANNA MARIE            1250 S VENOY RD                                                                             WESTLAND          MI   48186‐4836
SALSBURY, DANNY                 148 WOODLAWN SCHOOL RD                                                                      WEST MONROE       LA   71292‐2370
SALSBURY, DANNY R               148 WOODLAWN SCHOOL RD                                                                      WEST MONROE       LA   71292‐2370
SALSBURY, DAVID G               46845 CHARRING CROSS CT                                                                     SHELBY TOWNSHIP   MI   48317‐3023
SALSBURY, JACK                  PO BOX 65                                                                                   SAINT LOUIS       MI   48880‐0065
SALSBURY, JOHN C                170 LOTTIE LANE                                                                             EROS              LA   71238‐8532
SALSBURY, LORENE M              5924 HARVARD DR                                                                             KOKOMO            IN   46902‐5234
SALSBURY, PETER G               13425 DAWN DEW DR APT 3                                                                     DEWITT            MI   48820‐8629
SALSBURY, ROBERT G              4546 S 450 W                                                                                RUSSIAVILLE       IN   46979‐9461
SALSEDO, MARIE A                39548 FREMONT BLVD APT 303                                                                  FREMONT           CA   94538‐2179
SALSEG, JOANN                   14454 PORTLAND AVE                                                                          BURNSVILLE        MN   55337‐6707
SALSER JR, CLYDE                3007 PALMARIE DR                                                                            POLAND            OH   44514‐2104
SALSER, STEVEN L                PO BOX 14178                                                                                POLAND            OH   44514‐7178
SALSGIVER, JACK                 347 KOEHLER DR                                                                              SHARPSVILLE       PA   16150‐1837
SALSGIVER, THELMA               19560 SHERLOCK RD                                                                           SAXTON            PA   16678‐0183
SALSIDO, JOHN J                 70114 MELLEN RD                                                                             BRUCE TWP         MI   48065‐4426
SALSIDO, LUCILLE                70114 MELLEN RD                                                                             BRUCE TWP         MI   48065‐4426
SALSIDO, LUCILLE                70114 MELLEN                                                                                ROMEO             MI   48065‐4426
SALSIDO, RICHARD D              226 CHANDLER ST APT 2                                                                       ROMEO             MI   48065
SALSINI, JENNY L                4353 BLOOD RD                                                                               METAMORA          MI   48455‐9243
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Name                                  Address1                              Address2                        Address3   Address4         City             State Zip
SALSINI, JENNY LYNNE                  4353 BLOOD RD                                                                                     METAMORA          MI 48455‐9243
SALSINI, LOUIS G                      PO BOX 186                                                                                        HUBBELL           MI 49934‐0186
SALSINI, LOUIS G                      BOX 186                                                                                           HUBELL            MI 49934‐0186
SALSINI, ROBERT L                     4353 BLOOD RD                                                                                     METAMORA          MI 48455‐9243
SALSMAN, HAROLD A                     428 JENNY LN                                                                                      CARMEL            IN 46032‐2309
SALSMAN, RALPH E                      1596 10TH ST                                                                                      DANVILLE          IN 46122‐9163
SALSMAN, RICHARD E                    9440 E 400 S                                                                                      ZIONSVILLE        IN 46077‐8676
SALT CREEK THERAPY C                  7 SALT CREEK LN STE 206                                                                           HINSDALE           IL 60521‐2976
SALT LAKE CITY AIRPORT AUTHORITY      3820 W 1080 WORTH                                                                                 SALT LAKE CITY    UT 84116
SALT LAKE CITY CORPORATION            ATTN: CORPORATE OFFICER/AUTHORIZED    PO BOX 30881                                                SALT LAKE CITY    UT 84130‐0881
                                      AGENT
SALT LAKE CITY CORPORATION            PO BOX 30881                                                                                      SALT LAKE CITY   UT 84130‐0881
SALT LAKE CITY FLEET                                                        325 W 800 S                                                                  UT 84101
SALT LAKE CITY MACK SALES AND SERVICE RONALD JOHNSON                        1475 W 2100 S                                               SALT LAKE CITY   UT 84119‐1405
INC.
SALT LAKE CITY UTAH CHEVROLET
ADDPOINT
SALT LAKE COUNTY ASSESSOR             LEE GARDNER                           2001 S STATE ST #N2300                                      SALT LAKE CITY   UT    84190‐1300
SALT LAKE COUNTY TAX COLLECTOR        ROOM N2300A                           2001 S STATE ST                                             SALT LAKE CITY   UT    84190‐1300
SALT LAKE VALLEY GMC                  725 W 3300 S                                                                                      SALT LAKE CITY   UT    84119‐3321
SALT MINE STUDIO                      1610 CLAY AVE                         BLDG 2 2ND FL                                               DETROIT          MI    48211
SALT RIVER PROJECT                    ATTN: LAND DEPARTMENT/PAB400          PO BOX 52025                                                PHOENIX          AZ    85072‐2025
SALT RIVER PROJECT                                                          110 W. ELLIOTT                                                               AZ    85283
SALT RIVER PROJECT                                                          7050 E UNIVERSITY DR                                                         AZ    85207
SALT RIVER PROJECT                                                          221 N 79TH AVE                                                               AZ    85353
SALT RIVER PROJECT                                                          1616 E LINCOLN ST                                                            AZ    85034
SALT RIVER PROJECT                                                          3160 S ALMA SCHOOL RD                                                        AZ    85210
SALT RIVER PROJECT                                                          998 W WASHINGTON ST                                                          AZ    85281
SALT RIVER PROJECT                    1521 N. PROJECT DRIVE PAB100                                                                      TEMPE            AZ    85281
SALT RIVER PROJECT AGRICULTURAL       JENNINGS STROSS & SALMON PLC          THE COLLIER CENTER 11TH FLOOR                               PHOENIX          AZ    85004
IMPROVEMENT AND POWER DISTRICT                                              201 E WASHINGTON ST
SALT RIVER PROJECT AGRICULTURAL       THE COLLIER CENTER 11TH FLOOR 201 E                                                               PHOENIX           AZ   85004
IMPROVEMENT AND POWER DISTRICT        WASHINGTON ST
SALT‐MINE STUDIO                      ATTN COLEY MCLEAN                     1610 CLAY AVENUE                                            DETROIT          MI    48211
SALTAL JR, THOMAS G                   283 IDLEWOOD DR                                                                                   TONAWANDA        NY    14150‐6429
SALTARELLI, FRANKLIN                  1 BISHOP GADSDEN WAY                  A221                                                        CHARLESTON       SC    29412‐3506
SALTARELLI, THOMAS G                  6819 CLUCK LANEE DR                                                                               RICHMOND         VA    23231
SALTER JACOB                          SALTER, JACOB                         2987 CLAIRMONT RD NE STE 130                                ATLANTA          GA    30329‐1687
SALTER JR, JOHNNY                     10116 RED OAK CT                                                                                  FORT WAYNE       IN    46804‐5223
SALTER KARIN                          24532 EILAT STREET                                                                                WOODLAND HLS     CA    91367‐1029
SALTER WILLIAM (ESTATE OF) (492147)   BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH    44067
                                                                            PROFESSIONAL BLDG
SALTER WILLIAM (ESTATE OF) (641093)   BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                                            PROFESSIONAL BLDG
SALTER WILLIAM L (498321)             GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                                            STREET, SUITE 600
SALTER WILLIAM P JR (439476)          GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                                            STREET, SUITE 600
SALTER, ADDIE L                       PO BOX 14964                                                                                      SAGINAW          MI    48601‐0964
SALTER, ALBERT T                      6824 RIDGE RD                                                                                     LOCKPORT         NY    14094‐9436
SALTER, APRIL T                       569 MOORE DR                                                                                      CAMPBELL         OH    44405‐1221
SALTER, ARDITH A                      LOT 36 FOREST LANE                                                                                COOPERSVILLE     MI    49404
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Name                 Address1                        Address2                       Address3   Address4         City               State Zip
SALTER, ARDITH A     785 N OLD M37                                                                              MESICK              MI 49668
SALTER, ARELENE R    PO BOX 15                                                                                  CAMPBELL            OH 44405‐0015
SALTER, ARTHUR E     9 MISSISSIPPI CIR                                                                          PENSACOLA           FL 32505‐4620
SALTER, BARBARA      12908 195TH PL NE                                                                          WOODINVILLE         WA 98077‐7678
SALTER, BERTRAM R    PO BOX 22                                                                                  VICKSBURG           MI 49097‐0022
SALTER, BETTY A      4870 JAMIE ROBERSON RD                                                                     MERIDIAN            MS 39301‐8539
SALTER, BETTY J      23340 RIVERSIDE DR APT 2021                                                                SOUTHFIELD          MI 48033‐3355
SALTER, BUNIE K      2213 SUMPTER ST APT C                                                                      HOOVER              AL 35226‐3047
SALTER, CHARLES E    6077 E. LAKE RD                                                                            OLCOTT              NY 14126
SALTER, CHARLES R    2408 WILLOW DR SW                                                                          WARREN              OH 44485‐4485
SALTER, CLAYTON      6110 LAHSER RD                                                                             BLOOMFIELD HILLS    MI 48301‐2022
SALTER, DONALD H     4034 HERON DR                                                                              LAPEER              MI 48446‐9751
SALTER, DONALD H.    4034 HERON DR                                                                              LAPEER              MI 48446‐9751
SALTER, DOROTHY M    1013 LOFLIN RD                                                                             FLORENCE            MS 39073‐9045
SALTER, DOROTHY M    1013 LOFLIN ROAD                                                                           FLORENCE            MS 39073‐9073
SALTER, DOROTHY V    316 FLYNN RD                                                                               MEMPHIS             TN 38109‐2723
SALTER, EDNA         411 GROSSLAKE PKWY                                                                         COVINGTON           GA 30016‐1213
SALTER, EDNA J       17200 E 51ST STREET CT SOUTH                                                               INDEPENDENCE        MO 64055‐6313
SALTER, ELLIS A      816 ASHLEY CREEK CIR CIR                                                                   STONE MOUNTAIN      GA 30083
SALTER, ERNEST R     11570 ARDEN AVE                                                                            WARREN              MI 48093‐1106
SALTER, GLORIA       324 24TH ST                                                                                NIAGARA FALLS       NY 14303‐1806
SALTER, GREGORY P    6365 STANFORD ST                                                                           DETROIT             MI 48210‐1341
SALTER, JACOB        SIMANOVSKY & ASSOCIATES         2987 CLAIRMONT RD NE STE 130                               ATLANTA             GA 30329‐1687
SALTER, JANET        2906 NORTHVIEW BLVD APT 1                                                                  YOUNGSTOWN          OH 44504‐4504
SALTER, JEANETTE M   1659 THRUSH AVE                                                                            SAN LEANDRO         CA 94578
SALTER, JEANETTE M   18979 REDLAND RD APT 14301                                                                 SAN ANTONIO         TX 78259‐3930
SALTER, JOAN C       5409 W LAKE RD                                                                             BURT                NY 14028‐9728
SALTER, JOHN
SALTER, JOHN T       32171 CUSTER RD                                                                            BURR OAK           MI 49030‐9644
SALTER, JOSEPHINE    433 SO FIRST AVENUE                                                                        MT VERNON          NY 10550‐4501
SALTER, JULIAN C     PO BOX 183                                                                                 STONEWALL          LA 71078‐0183
SALTER, KIM
SALTER, LORI R       PO BOX 4755                                                                                YOUNGSTOWN         OH   44515‐0756
SALTER, MARK J       8176 N CLIO RD                                                                             MOUNT MORRIS       MI   48458‐8246
SALTER, MILDRED H    83 INTER PARK AVE                                                                          BUFFALO            NY   14211
SALTER, NARVIE       5409 W LAKE RD                                                                             BURT               NY   14028‐9728
SALTER, NORMAN L     6572 CANNONSBURG RD NE                                                                     BELMONT            MI   49306‐9127
SALTER, PAMELA J     2827 REO RD                                                                                LANSING            MI   48911‐2908
SALTER, RAMONA D     2328 STONE ABBEY BLVD                                                                      ORLANDO            FL   32825
SALTER, RANDAL S     17321 SCOTTSDALE BLVD                                                                      SHAKER HTS         OH   44120‐5218
SALTER, RICHARD H    265 N GENESEE ST                PO BOX 184                                                 MONTROSE           MI   48457‐9752
SALTER, RONALD       106 DUNLOP AVE                                                                             BUFFALO            NY   14215‐1510
SALTER, SARAH A      2920 DIXIE HWY                                                                             WATERFORD          MI   48328‐1715
SALTER, SCOTT R      42301 MAYHEW DR                                                                            STERLING HTS       MI   48314‐3638
SALTER, SHARON D     633 ROXANNE DR                                                                             ANTIOCH            TN   37013‐4112
SALTER, STEVE N      2920 DIXIE HWY                                                                             WATERFORD          MI   48328‐1715
SALTER, THOMAS E     PO BOX 149                                                                                 WHITMORE LAKE      MI   48189‐0149
SALTER, TRISH
SALTER, VERNICE      4830 ANSON ST                                                                              LANSING            MI 48911‐2804
SALTER, WESLEY L     128 COLORADO AVE                                                                           BUFFALO            NY 14211‐1667
SALTER, WILLIAM      BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD         OH 44067
                                                     PROFESSIONAL BLDG
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Name                         Address1                        Address2                         Address3                    Address4         City           State Zip
SALTER, WILLIAM L            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                   NORFOLK         VA 23510‐2212
                                                             STREET, SUITE 600
SALTER, WILLIAM P            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                   NORFOLK        VA 23510‐2212
                                                             STREET, SUITE 600
SALTER, WILLIE L             5825 WINSTON DR                                                                                               INDIANAPOLIS   IN   46226‐2327
SALTER, YVONNE A             26535 WEXFORD DR                                                                                              WARREN         MI   48091‐1032
SALTER‐SMITH, MARLEEN A      48941 CELESTE ST                                                                                              CHESTERFIELD   MI   48051‐2912
SALTERS ORMAN                SALTERS, ORMAN                  7197 MALLARD CREEK DR., APT 67                                                HORN LAKE      MI   38637‐1156
SALTERS, ALETHA M            6757 S US 27                                                                                                  ST JOHNS       MI   48879‐9125
SALTERS, ALETHA M            6757 S US HIGHWAY 27                                                                                          SAINT JOHNS    MI   48879‐9125
SALTERS, DAVID M             1292 RAILROAD ST                                                                                              MELVIN         MI   48454‐9791
SALTERS, DOUGLAS L           1227 UNDERWOOD AVE SE                                                                                         GRAND RAPIDS   MI   49506‐3265
SALTERS, EARL A              18017 PONCIANA AVE                                                                                            CLEVELAND      OH   44135‐4175
SALTERS, ELIJAH              9 BURNING BRUSH DR                                                                                            ROCHESTER      NY   14606‐4641
SALTERS, FORREST L           PO BOX 203                                                                                                    HUME           MO   64752‐0203
SALTERS, HAZEL M             1227 UNDERWOOD AVE SE                                                                                         GRAND RAPIDS   MI   49506‐3265
SALTERS, KAREN B             2856 FULLER HOLLOW RD                                                                                         CORNERSVILLE   TN   37047‐5024
SALTERS, LARRY L             2165 HARMON RD                                                                                                OVID           MI   48866‐9662
SALTERS, LOUIS V             PO BOX 991                                                                                                    KAUFMAN        TX   75142‐0991
SALTERS, ORMAN               7197 MALLARD CREEK DR APT 67                                                                                  HORN LAKE      MS   38637‐1156
SALTERS, PAUL R              845 ROBINWOOD DRIVE                                                                                           BYRAM          MS   39272‐6054
SALTERS, RICHARD L           3885 S FRIEGEL RD                                                                                             OWOSSO         MI   48867‐9275
SALTERS, ROBERT L            506 SAINT MARKS ST                                                                                            LINDEN         NJ   07036‐1918
SALTERS, ROBERTA             9 BURNING BRUSH DR                                                                                            ROCHESTER      NY   14606‐4641
SALTI, MARCOS                1042 E LA HABRA BLVD UNIT 127                                                                                 LA HABRA       CA   90631‐5548
SALTIEL, DORA                2464 VALLEY OAKS CIR                                                                                          FLINT          MI   48532‐5421
SALTIEL, MARTIN J            1185 ROCKY RIDGE TRL                                                                                          FLINT          MI   48532‐2126
SALTISIAK PETER              213 JEFFERSON ST                                                                                              SIMPSON        PA   18407‐1242
SALTMARSH JR, MILTON A       1949 GRATIOT AVE                                                                                              SAGINAW        MI   48602‐2763
SALTMARSH JR, SHERMAN W      154 MOUNT VERNON ST                                                                                           WINCHESTER     MA   01890‐2833
SALTMARSH, SHIRLEY R         19527 N 98TH DR                                                                                               PEORIA         AZ   85382‐4119
SALTO ENTERPRISES INC        4769 STATE HIGHWAY 114 SW                                                                                     ALEXANDRIA     MN   56308‐9416
SALTOR BENJAMIN (490561)     NICHOLL LAW OFFICES PETER T     36 SOUTH CHARLES ST                                                           BALTIMORE      MD   21201
SALTOR, BENJAMIN             NICHOLL LAW OFFICES PETER T     36 SOUTH CHARLES ST                                                           BALTIMORE      MD   21201
SALTRICK, RAYMOND            455 COOLSPRING ST                                                                                             UNIONTOWN      PA   15401‐4574
SALTS, JEANNE M              2734 VALLEYVIEW DR                                                                                            COLUMBUS       OH   43204‐3466
SALTSMAN & WILLETT, P.S.C.   ATT: JAMES P. WILLETT, III      ATTY FOR MITSUBA CORP.           212 E STEPHEN FOSTER AVE,                    BARDSTOWN      KY   40004
                                                                                              POB 327
SALTSMAN GEORGE J (353094)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                   NORFOLK        VA 23510
                                                             STREET, SUITE 600
SALTSMAN, DONALD R           7023 DEPOT RD                                                                                                 LISBON         OH 44432‐8437
SALTSMAN, GEORGE J           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                   NORFOLK        VA 23510‐2212
                                                             STREET, SUITE 600
SALTSMAN, JAMES E            133 MARTELLAGO DR                                                                                             NORTH VENICE   FL   34275‐6603
SALTSMAN, LARRY D            114 SPRING ST                                                                                                 EDMONTON       KY   42129‐8104
SALTSMAN, LARRY DALE         114 SPRING ST                                                                                                 EDMONTON       KY   42129‐8104
SALTSMAN, WAYNE M            321 POLAND AVE                                                                                                STRUTHERS      OH   44471‐1655
SALTYSYAK, JOSEPH            PO BOX 8385                                                                                                   GAITHERSBURG   MD   20898‐8385
SALTZ JR, RALPH L            2051 GLENCOE RD                                                                                               CULLEOKA       TN   38451‐2149
SALTZ, DALE F                11346 SAUK TRL                                                                                                JEROME         MI   49249‐9761
SALTZ, DALE FARREL           11346 SAUK TRL                                                                                                JEROME         MI   49249‐9761
SALTZ, SHARON A              1515 GARTLAND AVE                                                                                             JANESVILLE     WI   53548‐1519
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Name                        Address1                          Address2                       Address3   Address4         City            State Zip
SALTZBERG, EUGENE F         267 EAST ST                                                                                  PITTSFORD        NY 14534‐3237
SALTZGABER, ANNE I          13 SHELDON DR                                                                                SPENCERPORT      NY 14559‐2036
SALTZGIBER, RICHARD O       435 W CENTER ST                                                                              WALDRON          MI 49288‐9736
SALTZMAN, ALLEN J           2470 W GOOD HOPE RD UNIT 162                                                                 MILWAUKEE        WI 53209‐2751
SALTZMAN, CHARLES D         9075 N LEWIS RD                                                                              CLIO             MI 48420‐9727
SALTZMAN, ELANORE J         PO BOX 6740                                                                                  MARYVILLE        TN 37802
SALTZMAN, RAYMOND L         4762 LONSBERRY RD RT #2                                                                      COLUMBIAVILLE    MI 48421
SALTZMAN, SHAWN R           16355 LAKEFIELD PLACE DR APT C                                                               WILDWOOD         MO 63040‐1698
SALTZMAN, TERRY A           6527 BLUE LAKE RD                                                                            TWIN LAKE        MI 49457‐8936
SALTZMAN, TERRY ALBERT      6527 BLUE LAKE RD                                                                            TWIN LAKE        MI 49457‐8936
SALTZMAN, VIRGINIA M        1342 KIMBELL RD                                                                              TERRY            MS 39170‐9425
SALTZMAN, WILFORD E         1342 KIMBELL RD                                                                              TERRY            MS 39170‐9425
SALTZMANN, ARLENE A         925 YOUNGSTOWN WARREN RD APT 21                                                              NILES            OH 44446‐4632

SALTZMANN, JUDITH L         352 ORCHARD LANE                                                                             CORTLAND        OH    44410‐1234
SALTZMANN, JUDITH L         352 ORCHARD LN                                                                               CORTLAND        OH    44410‐1234
SALTZMANN, KENNETH J        9270 STATE ROUTE 5                                                                           KINSMAN         OH    44428‐9323
SALTZMANN, MARY N           5240 DAVIS PECK RD.                                                                          FARMDALE        OH    44417
SALTZMANN, MARY N           PO BOX 11                                                                                    FARMDALE        OH    44417‐4417
SALTZMANN, ROBERT A         925 YOUNGSTOWN WARREN RD APT 21                                                              NILES           OH    44446‐4632

SALUBRIKO INC
SALUD GLADULI               PIAZZA CANEVA 7                   MILANO 20154
SALUD GLADULI               PIAZZA CANEVA 7                                                                              MILANO          MI    20154
SALUDA WILDER               66 LEE ACRES RD                                                                              MIRACLE         KY    40856‐8808
SALUGA, GAYLE C             2752 ASPEN DR                                                                                GIRARD          OH    44420‐3172
SALUGA, JAMES D             2752 ASPEN DR                                                                                GIRARD          OH    44420‐4420
SALUGA, SANDRA L            439 GENESEE NE                                                                               WARREN          OH    44483‐5407
SALUGA, SANDRA L            439 GENESEE AVE NE                                                                           WARREN          OH    44483‐5407
SALUGA, STEVE J             567 OAK KNOLL AVE SE                                                                         WARREN          OH    44483‐6042
SALUJA, VISHAL              6137 MAYAPPLE DR 9                                                                           TROY            MI    48085
SALUKE, HELEN L             3117 ALLENDALE DR                                                                            KETTERING       OH    45409‐1424
SALUMED                     1805 FIFTH AVE                                                                               BAY SHORE       NY    11706
SALUSKY, LEO M              14105 MELVA DR                                                                               WARREN          MI    48088‐6064
SALUSSOLIA DINO             33 CLEAR LAKE RD                                                                             WHITING         NJ    08759‐2971
SALUSTIANO MEDINA           PO BOX 20                                                                                    VEGA BAJA       PR    00694‐0020
SALUTES, JOHN G             24333 ELMIRA                                                                                 REDFORD         MI    48239‐1606
SALUZZI, SAM                1027 NW 70TH CT                                                                              KANSAS CITY     MO    64118‐1076
SALUZZI, SHARON E           1027 NW 70TH CT                                                                              KANSAS CITY     MO    64118‐1076
SALUZZI, SHARON E           1027 NW 70TH COURT                                                                           KANSAS CITY     MO    64118‐1076
SALVA JERRY C & LUCILLE R   2178 PRITCHARD OHLTOWN RD SW                                                                 WARREN          OH    44481‐9631
SALVA, ALEXANDER            G PATTERSON KEAHEY PC             ONE INDEPENDENCE PLAZA SUITE                               BIRMINGHAM      AL    35209
                                                              612
SALVA, CYRIL M              1637 MERL AVE                                                                                CLEVELAND       OH    44109‐5646
SALVA, JUDY A               13130 COLUMBIA                                                                               REDFORD         MI    48239‐2717
SALVA, KRISTINE MARIE       2716 LANSDOWNE RD                                                                            WATERFORD       MI    48329‐2944
SALVA, LEONARD F            5391 NICOLE                                                                                  WHITE LAKE      MI    48383‐2655
SALVADO, FERNANDO           8262 WATERWOOD DR                                                                            GREENWOOD       LA    71033‐3367
SALVADOR AGUILAR            417 W BERRY AVE                                                                              LANSING         MI    48910‐2995
SALVADOR AGUIRRE            4129 TOLAND WAY                                                                              LOS ANGELES     CA    90065‐4441
SALVADOR ANGEL VIETA
SALVADOR APONTE             540 15TH ST NW                                                                               NAPLES           FL   34120‐1910
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Name                   Address1                          Address2                      Address3                     Address4              City              State Zip
SALVADOR AVENDANO      5005 NE 44TH ST                                                                                                    KANSAS CITY        MO 64117‐1927
SALVADOR AVILA         216 VALLEY DR                                                                                                      COLUMBIA           TN 38401‐4960
SALVADOR BEDOYA        15614 ELMBROOK DR                                                                                                  LA MIRADA          CA 90638‐5408
SALVADOR BERTUBIN JR   6037 JOHN NIX RD                                                                                                   CRESTVIEW          FL 32539‐8212
SALVADOR CALDERON      13864 LYLE ST                                                                                                      SYLMAR             CA 91342‐2207
SALVADOR CAMACHO       BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                                       BOSTON HEIGHTS     OH 44236
SALVADOR CASTANEDA     1588 EL CAPITAN DR                                                                                                 REDDING            CA 96001‐2972
SALVADOR CASTILLON     14704 TYLER ST                                                                                                     SYLMAR             CA 91342‐3902
SALVADOR CASTRO        966 ST CLARENS AVE                                                                           TORONTO, ON, CANADA
                                                                                                                    M6H3X7
SALVADOR CERROS        9345 STANWIN AVE                                                                                                   ARLETA            CA    91331‐5609
SALVADOR DE JESUS      68 W SUGARBERRY LN                                                                                                 BEVERLY HILLS     FL    34465‐3357
SALVADOR DESALES       10116 TELFAIR AVE                                                                                                  PACOIMA           CA    91331‐3330
SALVADOR DIEGO         10427 OTIS ST                                                                                                      SOUTH GATE        CA    90280‐6721
SALVADOR GALAVIZ       4821 COLONIAL PARK DR                                                                                              HALTOM CITY       TX    76117‐1010
SALVADOR GALLARDO      435 E OLIVER ST                                                                                                    OWOSSO            MI    48867‐2437
SALVADOR GARCIA        5670 COBBLEGATE DR                                                                                                 DAYTON            OH    45449‐2852
SALVADOR GARIBAY       41174 GROVE CIR                                                                                                    MADERA            CA    93636‐8853
SALVADOR GONZALEZ      ATTN: ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD, PO BOX                         EAST ALTON        IL    62024
                                                         ANGELIDES & BARNERD LLC       521
SALVADOR GUERRA        720 S 12TH ST                                                                                                      SAGINAW           MI    48601‐2107
SALVADOR HEREDIA       5317 SOUTHFORT SW                                                                                                  ALBUQUERQUE       NM    87105‐7547
SALVADOR HERNANDEZ     THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                                                      HOUSTON           TX    77017
SALVADOR J GARCIA      5670 COBBLEGATE DR                                                                                                 DAYTON            OH    45449‐2852
SALVADOR JIMENEZ       7006 SNOWY OWL ST                                                                                                  ARLINGTON         TX    76002‐3378
SALVADOR LEAL          2800 MEADOWVIEW DR                                                                                                 ARLINGTON         TX    76016‐1429
SALVADOR LEAL          4111 SUNDAY HILL DR                                                                                                ARLINGTON         TX    76016‐3828
SALVADOR LOERA         203 LONDON LN                                                                                                      FRANKLIN          TN    37067‐4421
SALVADOR MALDONADO     2140 CARLA DR                                                                                                      DELTONA           FL    32738‐6202
SALVADOR MATA          3489 CITRUS ST                                                                                                     OXNARD            CA    93036‐1330
SALVADOR MIRANDA       13922 REX ST                                                                                                       SYLMAR            CA    91342‐1716
SALVADOR MUNOZ         2520 RIVER ST                                                                                                      SAGINAW           MI    48601‐3223
SALVADOR NARCIO        2150 E WILLIAMSON ST                                                                                               BURTON            MI    48529‐2444
SALVADOR O LALDE       1284 E LOCKWOOD RD                                                                                                 PORT CLINTON      OH    43452‐9645
SALVADOR OCHOA         6405 S HARLEM AVE                                                                                                  CHICAGO            IL   60638‐4615
SALVADOR OLIVE         9700 QUAKERTOWN AVE                                                                                                CHATSWORTH        CA    91311‐5524
SALVADOR PALOS JR      1441 W WALNUT ST                                                                                                   GARLAND           TX    75042‐5842
SALVADOR PENA          9115 ARMLEY AVE                                                                                                    WHITTIER          CA    90603‐1905
SALVADOR PENA          KELLER, FISHBACK & JACKSON LLP    18425 BURBANK BLVD, STE 610                                                      TARZANA           CA    91356
SALVADOR PEREZ         108B 3RD AVE                                                                                                       COLUMBIA          TN    38401‐2914
SALVADOR RANGEL        11731 OFFLEY AVE                                                                                                   NORWALK           CA    90650
SALVADOR RENDON        13738 HOYT ST                                                                                                      PACOIMA           CA    91331‐3722
SALVADOR REPOLLET      6 RANDALL PL                                                                                                       PALM COAST        FL    32164‐3951
SALVADOR REYES         1562 LONG POND DR                                                                                                  VALRICO           FL    33594‐4424
SALVADOR RIOS          PO BOX 315                        527 SPRING STREET                                                                BOWMANSTOWN       PA    18030‐0315
SALVADOR RIVERA        32 DELRAY ST                                                                                                       SAGINAW           MI    48601‐5210
SALVADOR RIVERA        1048 SHENANDOAH DR                                                                                                 CARSON CITY       NV    89706‐0190
SALVADOR RODRIGUEZ     504 BENGAL CT                                                                                                      GREER             SC    29651‐5279
SALVADOR ROMAN         3537 JUDD RD                                                                                                       MILAN             MI    48160‐9535
SALVADOR ROSALES       21802 W 52ND ST                                                                                                    SHAWNEE           KS    66226‐2859
SALVADOR RUFO          4986 LAKE BLUFF RD                                                                                                 WEST BLOOMFIELD   MI    48323‐2431
SALVADOR SANCHEZ       PO BOX 227146                                                                                                      LOS ANGELES       CA    90022‐0846
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Name                                Address1                         Address2                     Address3                     Address4         City               State Zip
SALVADOR SANDOVAL                   2035 FIONA WAY                                                                                              SPRING HILL         TN 37174‐2684
SALVADOR SILVA                      BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS          OH 44236
SALVADOR SUAREZ                     6409 WAINSCOT DR SE                                                                                         GRAND RAPIDS        MI 49546‐7144
SALVADOR TORRES                     2515 N BRITT RD                                                                                             JANESVILLE          WI 53548‐9337
SALVADOR TORRES                     13585 WINGO ST                                                                                              ARLETA              CA 91331‐5643
SALVADOR TORRES JR                  5111 PINEBROOK DR                                                                                           FORT WAYNE          IN 46804‐1778
SALVADOR VALDEZ                     PO BOX 627                                                                                                  GRAND BLANC         MI 48480‐0627
SALVADOR VARGAS                     975 DARA ST                                                                                                 CAMARILLO           CA 93010‐4903
SALVADOR VIGIL                      9935 PARK ST                                                                                                BELLFLOWER          CA 90706‐5937
SALVADOR VINCENT                    SALVADOR, VINCENT                210 GRANT STREET SUITE 202                                                 PITTSBURGH          PA 15219
SALVADOR VINCENT                    SALVADOR, KATHY                  KIMMEL & SILVERMAN           210 GRANT STREET SUITE 202                    PITTSBURGH          PA 15219

SALVADOR ZUNIGA                     1105 CLARK ST                                                                                               DETROIT            MI   48209‐3816
SALVADOR, AMEDEO A                  2177 GARFIELD AVE                                                                                           NILES              OH   44446‐4205
SALVADOR, BEN E                     7400 WING LAKE RD                                                                                           BLOOMFIELD HILLS   MI   48301‐3775
SALVADOR, BEN EDSEL                 7400 WING LAKE RD                                                                                           BLOOMFIELD HILLS   MI   48301‐3775
SALVADOR, CHRISTINE M               541 GETTYSBURG ST                                                                                           PITTSBURGH         PA   15206‐4547
SALVADOR, JAMES R                   1205 WOODBINE AVE                                                                                           LANSING            MI   48910‐2674
SALVADOR, JOHN P                    42 HILLCREST DR                                                                                             PENFIELD           NY   14526‐2412
SALVADOR, KATHY                     KIMMEL & SILVERMAN               210 GRANT ST STE 202                                                       PITTSBURGH         PA   15219‐2116
SALVADOR, LARRY A                   4475 JACKSON ST                                                                                             DEARBORN HTS       MI   48125‐3011
SALVADOR, MURIEL                    4439 VISTA LN                                                                                               ATTICA             MI   48412‐9666
SALVADOR, THOMAS J                  1331 BOWERS RD                                                                                              LAPEER             MI   48446‐3122
SALVADOR, VINCENT                   KIMMEL & SILVERMAN               210 GRANT ST STE 202                                                       PITTSBURGH         PA   15219‐2116
SALVADORE AUTO EXCHANGE, INC.       ANGELO SALVADORE                 442 W BROADWAY                                                             GARDNER            MA   01440‐3110
SALVADORE CANALE                    6589 S TIMBERIDGE DR                                                                                        AUSTINTOWN         OH   44515‐5547
SALVADORE CHEVROLET OLDSMOBILE      442 W BROADWAY                                                                                              GARDNER            MA   01440‐3110
SALVADORE CHEVROLET PONTIAC BUICK   280 MAIN ST                                                                                                 ATHOL              MA   01331‐2226

SALVADORE CHEVROLET PONTIAC BUICK   ANGELO SALVADORE                 280 MAIN ST                                                                ATHOL              MA 01331‐2226

SALVAGE, ALAN K                     275 EDINBURGH CIR                                                                                           DANVILLE           CA   94526‐2937
SALVAGGIO JR, ANTHONY               795 TURTLE LAKE RD                                                                                          UNION CITY         MI   49094‐9648
SALVAGGIO, DANIEL L                 159 GRAND ST                                                                                                SOUTH AMBOY        NJ   08879‐2104
SALVAGGIO, GUSSIE                   1465 SHOEMAKER DR                                                                                           WESTLAND           MI   48185‐7704
SALVAGGIO, JOHNIE A                 48 DOESCHER DR                                                                                              HARAHAN            LA   70123‐4858
SALVAGGIO, MARK                     162 COLE AVE                                                                                                ROCHESTER          NY   14606‐3836
SALVAGGIO, PATRICIA A               611 PARCHMOUNT AVE                                                                                          PARCHMENT          MI   49004‐1736
SALVAGNO, MARGARET R                101 TOPAZ TRL                                                                                               SYRACUSE           NY   13219‐3413
SALVALZO, JOHN J                    4819 MEYERS HILL ROAD                                                                                       RANSOMVILLE        NY   14131‐9725
SALVALZO, JOHN JOSEPH               4819 MEYERS HILL ROAD                                                                                       RANSOMVILLE        NY   14131‐9725
SALVALZO, JOSEPH A                  121 MEADOWBROOK DR                                                                                          LACKAWANNA         NY   14218‐2034
SALVALZO, JOSEPH A.                 121 MEADOWBROOK DR                                                                                          LACKAWANNA         NY   14218‐2034
SALVANERA, ALFRED J                 630 LINDA AVE                                                                                               LA HABRA           CA   90631‐2713
SALVANESCHI JOSEPH N                SALVANESCHI, JOSPEH              262 STATE ROUTE 35                                                         RED BANK           NJ   07701‐5920
SALVATE NUNZIO (356328)             ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                        NEW YORK           NY   10006‐1638
SALVATE, NUNZIO                     ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                        NEW YORK           NY   10006‐1638
SALVATERRA, JOSEPH A                137 BENTWILLOW DR                                                                                           NILES              OH   44446‐2026
SALVATERRA, MARIO                   1060 W WANDA VISTA RD                                                                                       TUCSON             AZ   85704‐3160
SALVATERRA, MARYLOU                 7330 W GATES ST                                                                                             BRUCE TWP          MI   48065‐4243
SALVATI, ARMAND C                   9 FOWLER CT                                                                                                 RED BANK           NJ   07701‐5256
SALVATI, CLARA K                    7 BRIARWOOD DR.                                                                                             WAPPINGERS FALLS   NY   12590
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Name                              Address1                            Address2                   Address3                     Address4            City               State Zip
SALVATI, CLARA K                  7 BRIARWOOD DR                                                                                                  WAPPINGERS FALLS    NY 12590‐6811
SALVATI, MARY                     35 GAYLA DR                                                                                                     ROCHESTER           NY 14626‐3010
SALVATI, ROBERT E                 1639 PRIMROSE ST                                                                                                EAST TAWAS          MI 48730‐9579
SALVATI‐MOKDAD, PAOLA P           2128 FOX HILL DR APT 2                                                                                          GRAND BLANC         MI 48439‐5217
SALVATI‐MOKDAD, PAOLA PIERA       2128 FOX HILL DR                                                                                                GRAND BLANC         MI 48439
SALVATICO, VERNA                  2122 REMINGTON OAKS CT.                                                                                         OCOEE               FL 34761
SALVATION ARMY                    PO BOX 107                                                                                                      MASSENA             NY 13662‐0107
SALVATION ARMY                    2030 N CAROLINA ST                                                                                              SAGINAW             MI 48602‐3932
SALVATION ARMY                    C/O GENERAL MOTORS‐JANESVILLE       1000 GENERAL MOTORS DR                                                      JANESVILLE          WI 53546‐2531
SALVATION ARMY                    PO BOX 980425                                                                                                   YPSILANTI           MI 48198‐0426
SALVATION ARMY                    PO BOX 18006                                                                                                    SHREVEPORT          LA 71138‐1006
SALVATION ARMY                    PO BOX 27584                                                                                                    RALEIGH             NC 27611‐7584
SALVATION ARMY                    615 SLATERS LN                                                                                                  ALEXANDRIA          VA 22314‐1112
SALVATION ARMY                    PO BOX 179                                                                                                      FREDERICKSBURG      VA 22404‐0179
SALVATION ARMY                    ATTN SARAH LAROSE ‐ FLINT ARC       2200 N DORT HWY                                                             FLINT               MI 48506‐2941
SALVATION ARMY                    1215 FULTON ST E                                                                                                GRAND RAPIDS        MI 49503‐3849
SALVATION ARMY                    PO BOX 49                                                                                                       WARREN              OH 44482‐0049
SALVATION ARMY                    1725 S CALHOUN ST                                                                                               FORT WAYNE          IN 46802‐5257
SALVATION ARMY                    359 N BRADNER AVE                                                                                               MARION              IN 46952‐3337
SALVATION ARMY                    118 W LAWRENCE ST                                                                                               PONTIAC             MI 48341‐1725
SALVATION ARMY                    ATTN: HEATH CELL                    PO BOX 420160                                                               PONTIAC             MI 48342‐0160
SALVATION ARMY AREA COMMAND       696 JACKSON AVE                                                                                                 MEMPHIS             TN 38105‐2006
SALVATION ARMY COLLBERT COUNTY    418 N NASHVILLE AVE                                                                                             SHEFFIELD           AL 35660‐2938
SALVATION ARMY OF MAHONING COUNTY PO BOX 4327                                                                                                     YOUNGSTOWN          OH 44515‐0327

SALVATION ARMY OF ST CHARLES COUNTY PO BOX 1920                                                                                                   SAINT CHARLES      MO 63302‐1920

SALVATION ARMY ONTARIO              1645 WARDEN AVE                                                                           TORONTO CANADA ON
CENTRALDIVISION                                                                                                               M1R 5B3 CANADA
SALVATION ARMY THRIFT STORE         ATTN: RHIANNON GRIFFON            605 S OPDYKE RD                                                             AUBURN HILLS       MI   48326‐3435
SALVATION ARMY, THE                 BILL SAVAGE                       1424 NORTHEAST EXPY NE                                                      ATLANTA            GA   30329‐2018
SALVATO, LARRY S                    735 WILLARD AVE SE                                                                                            WARREN             OH   44484‐4431
SALVATO, LINDA M                    3632 BRUCE DR SE                                                                                              WARREN             OH   44484‐2710
SALVATO, MARGARET L                 154 TRUMBULL AVE SE                                                                                           WARREN             OH   44483‐6333
SALVATO, SANDRA K                   PO BOX 891046                                                                                                 HOUSTON            TX   77289‐1046
SALVATOR FIGLIOLI                   13 FAIRVIEW RD                                                                                                MILFORD            MA   01757‐3565
SALVATOR VITALE JR                  50818 RAINTREE CIR                                                                                            CHESTERFIELD       MI   48047‐5715
SALVATORE A CIARAMAGLIA             90 BRU MAR DRIVE                                                                                              ROCHESTER          NY   14606‐5354
SALVATORE A MINCO                   ATTN: ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD, PO BOX                       EAST ALTON         IL   62024
                                                                      ANGELIDES & BARNERD LLC    521
SALVATORE ALAIMO                    45 JESELLA DR W                                                                                               NORTH TONAWANDA    NY   14120‐3336
SALVATORE AMMIRATO                  5728 LAKE SIDE DR                                                                                             BOSSIER CITY       LA   71111‐5508
SALVATORE ANTONINI                  21011 N TOTEM DR                                                                                              SUN CITY WEST      AZ   85375‐2553
SALVATORE ARCADIPANE                175 MAPLEVIEW DR                                                                                              TONAWANDA          NY   14150‐7803
SALVATORE ARGENTO                   41 HILL VALLEY DR                                                                                             LANCASTER          NY   14086‐1054
SALVATORE ARRIGO                    PO BOX 481                                                                                                    SELMA              OR   97538‐0481
SALVATORE AUTOMOTIVE SERVICE        302 LINCOLN BLVD                                                                                              MIDDLESEX          NJ   08846‐2371
SALVATORE AVINO                     17 CARRIAGE CT                                                                                                MARLBORO           NJ   07746‐1907
SALVATORE BAFUMA                    65 HYLA LANE                                                                                                  NORTHFORD          CT   06472‐1247
SALVATORE BARBUTO                   323 COE AVE APT 123                                                                                           MERIDEN            CT   06451‐3754
SALVATORE BARONE                    4815 CAMBRIDGE DR APT H                                                                                       LOCKPORT           NY   14094‐3454
SALVATORE BASILE                    PO BOX 9022                       C/O GM KOREA                                                                WARREN             MI   48090‐9022
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Name                     Address1                             Address2                       Address3         Address4         City                State Zip
SALVATORE BASIRICO       1395 THISTLERIDGE DR                                                                                  HOLLY                MI 48442‐9605
SALVATORE BATTO          PO BOX 6                                                                                              RAINELLE             WV 25962‐0006
SALVATORE BELLOMO        102 RAINBOW DR PMB 195                                                                                LIVINGSTON           TX 77399‐1002
SALVATORE BENNICI        CORSO VITTORIO EMANUELE              NR.74
SALVATORE BONACOLTA      204 VERONICA CT                                                                                       LANOKA HARBOR       NJ   08734‐1728
SALVATORE BONO           1208 PARKHURST BLVD                                                                                   TONAWANDA           NY   14150‐8842
SALVATORE BOVENZI        71 BRU MAR DR                                                                                         ROCHESTER           NY   14606‐5355
SALVATORE BRONZO         7718 ST ANDREWS BLVD                                                                                  WEEKI WACHEE        FL   34613‐7479
SALVATORE BUCCELLATO     307 WOODMERE DR                                                                                       TONAWANDA           NY   14150‐5566
SALVATORE BURGIO         61 ANN MARIE DR                                                                                       ROCHESTER           NY   14606‐4603
SALVATORE BUTITIA        C/O COONEY AND CONWAY                120 NORTH LASALLE 30TH FLOOR                                     CHICAGO             IL   60602
SALVATORE CALABRESE      404 BOUCKHART AVE                                                                                     ROCHESTER           NY   14622‐2112
SALVATORE CALLEA         108 SONTAG DR                                                                                         FRANKLIN            TN   37064‐5756
SALVATORE CAMMARATA SR   C/O WELTZ & LUXENBERG PC             700 BROADWAY                                                     NEW YORK            NY   10003
SALVATORE CAMMARATA SR   WEITZ & LUXENBERG P C                700 BROADWAY                                                     NEW YORK            NY   10003
SALVATORE CAPOGRECO      502 LAWRENCE AVE                                                                                      GIRARD              OH   44420‐2225
SALVATORE CAPPELLINO     C/O HERTEL PARK APARTMENTS           1631 HERTEL AVENUE                                               BUFFALO             NY   14216
SALVATORE CHUPPA         5622 CANOSA DR                                                                                        HOLIDAY             FL   34690‐2313
SALVATORE CICCIA         8251 BERNARD DR S                                                                                     MILLERSVILLE        MD   21108‐1107
SALVATORE CICOLELLO      18749 NARIMORE DR                                                                                     LAND O'LAKES        FL   34638
SALVATORE CIFERNO        2015 EWALT AVE NE                                                                                     WARREN              OH   44483‐2909
SALVATORE CIPOLLA        410 HOWARD ROAD                                                                                       ROCHESTER           NY   14606‐5652
SALVATORE CIRINCIONE     3445 HOWARD RD                                                                                        HAMBURG             NY   14075‐2106
SALVATORE CIRRI          2 JENNIFER CT                                                                                         EDISON              NJ   08820‐2560
SALVATORE COCCARDO       VIA DELLA VALLA' 41                                                                                   RIVALTA DI TORINO        10040
SALVATORE COLAPIETRO     19387 MERRIMAN RD                                                                                     ROMULUS             MI   48174‐9287
SALVATORE CORALLO        WEITZ & LUXENBERG P C                700 BROADWAY                                                     NEW YORK            NY   10003
SALVATORE CORRAO         N7389 NEWVILLE RD                                                                                     WATERLOO            WI   53594‐9436
SALVATORE COSTANZA       27 PLAZA DR                                                                                           BUFFALO             NY   14221‐2335
SALVATORE COSTANZA       27 PLAZA DRIVE                                                                                        BUFFALO             NY   14221‐2335
SALVATORE COZZOLINO      3702 STATE ST                                                                                         SAGINAW             MI   48602‐3263
SALVATORE CUCINELLA      21930 HAINES AVE                                                                                      PORT CHARLOTTE      FL   33952‐5416
SALVATORE CUTAIA         77 TULIPTREE LN                                                                                       ROCHESTER           NY   14617‐2004
SALVATORE D ANGELO       17 ONTARIO WAY                                                                                        LAWRENCEVILLE       NJ   08648‐4116
SALVATORE D'AMICO        VIA MARIO RAPISARDI 5                90011 BAGHERIA (PALERMO)       SICILY (ITALY)
SALVATORE D'AMICO        VIA MARIO RAPISARDI 5
SALVATORE DAVIE          6052 DIXON AVE                                                                                        TOLEDO              OH 43613‐1204
SALVATORE DE BLASS       28 HIGHVIEW RD                                                                                        EAST BRUNSWICK      NJ 08816‐3022
SALVATORE DEL PAZZO      3821 AVALON PARK EAST BLVD APT 306                                                                    ORLANDO             FL 32828‐4855

SALVATORE DELLA ROCCO    243 TRUE HICKORY DR                                                                                   ROCHESTER           NY   14615‐1347
SALVATORE DESIDERIO      C/O WEITZ & LUXENBERG P C            700 BROADWAY                                                     NEW YORK            NY   10003
SALVATORE DI NORMA       21 BROOKLEA DR                                                                                        ROCHESTER           NY   14624‐2701
SALVATORE DICHIARA       201 LOCKWOOD AVE                                                                                      YONKERS             NY   10701‐5411
SALVATORE DIFRANCO       ATTN MICHAEL C SHEPARD               THE SHEPARD LAW FIRM PC        10 HIGH ST                        BOSTON              MA   02110
SALVATORE DIGATI         59A OLD LYME DR A2                                                                                    WILLIAMSVILLE       NY   14221
SALVATORE DIMAGGIO       731 JANES RD                                                                                          ROCHESTER           NY   14612
SALVATORE DIMERCURIO     30620 GRUENBURG DR                                                                                    WARREN              MI   48092‐4920
SALVATORE DOMINA         11418 70TH TER                                                                                        SEMINOLE            FL   33772‐5809
SALVATORE DUCA           114A WAVECREST AVE                                                                                    WINFIELD PARK       NJ   07036‐7569
SALVATORE F LA ROSA      22 FAIRFIELD RD                                                                                       EAST BRUNSWICK      NJ   08816‐3646
SALVATORE F MESSINA      340 ALFONSO DR                                                                                        ROCHESTER           NY   14626‐2057
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Name                      Address1                              Address2                     Address3                    Address4               City               State Zip
SALVATORE FILICCIA        30472 NORMAL ST                                                                                                       ROSEVILLE           MI 48066‐4647
SALVATORE FIORELLO        59 MORGOTT AVE                                                                                                        BUFFALO             NY 14224‐1223
SALVATORE FONTE           38 YONKERS AVE                                                                                                        TUCKAHOE            NY 10707‐3910
SALVATORE FORZISI
SALVATORE FRAGIONE        90 WEST ST                                                                                                            WILMINGTON         MA 01887‐3039
SALVATORE FRIERI          EDIFICIO SEGUROS BOLIVAR APTO 505                                                              BOCAGRANDE CARTAGENA
                                                                                                                         COLOMBIA
SALVATORE G VIAVATTENE    2 DREXEL DR                                                                                                           ROCHESTER          NY   14606‐5306
SALVATORE GALLO           22 MARJORIE LN                                                                                                        HILTON             NY   14468
SALVATORE GALLO           213 WALTER AVE                                                                                                        TONAWANDA          NY   14150‐4035
SALVATORE GARBO           PO BOX 806                                                                                                            ARLINGTON          TX   76004‐0806
SALVATORE GERVASE         APT 249                               285 CRESTMOUNT AVENUE                                                           TONAWANDA          NY   14150‐6333
SALVATORE GIACALONE       50709 JIM DR                                                                                                          CHESTERFIELD       MI   48047‐4635
SALVATORE GIORDANO        BEVAN & ASSOCIATES, LPA, INC.         6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS.        OH   44236
SALVATORE GRAZIANI        181 BRIARHURST DR                                                                                                     TONAWANDA          NY   14150‐8837
SALVATORE GRECO           14008 LAKESHORE DR                                                                                                    STERLING HEIGHTS   MI   48313‐2103
SALVATORE GUZZARDO        19599 HAMPTON DR                                                                                                      MACOMB             MI   48044‐1271
SALVATORE H ALAIMO        45 JESELLA DR W                                                                                                       NORTH TONAWANDA    NY   14120‐3336
SALVATORE HALLER          3301 ARTHUR AVE                                                                                                       BROOKFIELD         IL   60513‐1223
SALVATORE INVES INC       5 BIRCH LN                                                                                                            SOUTHERN SHORES    NC   27949‐3115
SALVATORE J BARBATO       1391 ROLLING MEADOWS DR D                                                                                             VERMILION          OH   44089
SALVATORE J MARIANETTI    15C VELDOR PARK                                                                                                       ROCHESTER          NY   14612‐1947
SALVATORE J SIMEONE JR    249 GATES MANOR DR D                                                                                                  ROCHESTER          NY   14606
SALVATORE J STALTERI      251 GILMORE ROAD                                                                                                      BROCKPORT          NY   14420‐9312
SALVATORE J VASTA         WEITZ & LUXENBERG PC                  700 BROADWAY                                                                    NEW YORK CITY      NY   10003
SALVATORE JULIAN          483 CHESTNUT DR                                                                                                       LOCKPORT           NY   14094‐9169
SALVATORE KINAHAN         33A W 14TH ST                                                                                                         BAYONNE            NJ   07002‐1467
SALVATORE L PUSATERI JR   464 VINE ST                                                                                                           LOCKPORT           NY   14094‐2456
SALVATORE LA ROSA         22 FAIRFIELD RD                                                                                                       EAST BRUNSWICK     NJ   08816‐3646
SALVATORE LAGANA          ATTN ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD PO BOX                          EAST ALTON         IL   62024
                                                                ANGELIDES & BARNERD LLC      521
SALVATORE LAGRECA         2512 GLENHAVEN ST                                                                                                     NEW SMYRNA BEACH   FL   32168‐8429
SALVATORE LARUSSA         477 S LIVINGSTON AVE                                                                                                  INDIANAPOLIS       IN   46241‐1605
SALVATORE LIALI           1015 S ARMSTRONG ST                                                                                                   KOKOMO             IN   46902‐6302
SALVATORE LICAVOLI        21001 WINKEL ST                                                                                                       ST CLR SHORES      MI   48081‐3062
SALVATORE LICCIARDELLO    139 EMILIA CIR                                                                                                        ROCHESTER          NY   14606‐4611
SALVATORE LICCIARDELLO    139 EMILIA CIRCLE                                                                                                     ROCHESTER          NY   14606‐4611
SALVATORE LIUZZI          7620 CANAL RD                                                                                                         GASPORT            NY   14067‐9269
SALVATORE LIZZIO          C/O LAW OFFICES OF PETER G. ANGELOS   100 N CHARLES ST             22ND FL                                            BALTIMORE          MD   21201

SALVATORE LO GRASSO       15765 CORSO DR                                                                                                        CLINTON TOWNSHIP   MI   48035‐2191
SALVATORE LOGIUDICE       144 SPRING ST                                                                                                         MIDDLETOWN         CT   06457‐2264
SALVATORE LOMBARDO        PO BOX 291811                                                                                                         DAYTON             OH   45429‐0811
SALVATORE LOSICCO         10 CHRISTINA DR                       TALLY HO ESTATES                                                                DOVER PLAINS       NY   12522‐6078
SALVATORE M LOMBARDO      PO BOX 291811                                                                                                         DAYTON             OH   45429‐0811
SALVATORE MACRI           3007 BAYONNE AVE                                                                                                      BALTIMORE          MD   21214‐2322
SALVATORE MAGRI           53 LORI LN                                                                                                            ROCHESTER          NY   14624‐1445
SALVATORE MANIACI         42655 ROYAL LN                                                                                                        CLINTON TOWNSHIP   MI   48038‐5010
SALVATORE MANISCALCO      PO BOX 26225                                                                                                          ROCHESTER          NY   14626
SALVATORE MANTIONE        C/O MARY NIXON                        27 DELAWARE RD                                                                  BUFFALO            NY   14217‐2742
SALVATORE MANTO           621 DAILEY AVE                                                                                                        ELIZABETH          NJ   07208
SALVATORE MANZO           2534 COUNTRY GOLF DRIVE                                                                                               WELLINGTON         FL   33414
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SALVATORE MANZO              2534 COUNTRY GOLF DRIVE                                                                        WELLINGTON             FL 33414
SALVATORE MARCERA            694 MARSHALL RD                                                                                ROCHESTER              NY 14624‐4805
SALVATORE MARCERA            694 MARSHALL RD                                                                                ROCHESTER              NY 14624‐4805
SALVATORE MARIANETTI         15C VELDOR PARK                                                                                ROCHESTER              NY 14612‐1947
SALVATORE MARINO             2316 CLEARVIEW AVE NW                                                                          WARREN                 OH 44483‐1366
SALVATORE MARIO L'ABBATE     VIA MATTARELLA, 25/A                                                                           CALTANISSETTA               93100
SALVATORE MAROTTA            477 N ADAM ST                                                                                  LOCKPORT               NY 14094‐1455
SALVATORE MASTROSIMONE       298 WAHL RD                                                                                    ROCHESTER              NY 14609‐1865
SALVATORE MATTELIANO         151 MAPLEVIEW DR                                                                               AMHERST                NY 14226‐2849
SALVATORE MAZZELLA           1 GULFSTREAM BLVD                                                                              MATAWAN                NJ 07747‐3506
SALVATORE MAZZELLA           11239 ALLWOOD ST                                                                               SPRING HILL            FL 34609‐3811
SALVATORE MAZZOLA            2741 CATHEDRAL DR                                                                              ST LOUIS               MO 63129
SALVATORE MESSINA            340 ALFONSO DR                                                                                 ROCHESTER              NY 14626‐2057
SALVATORE MINARDI            5644 RADCLIFFE AVE                                                                             AUSTINTOWN             OH 44515‐4126
SALVATORE MINCOLELLI         36 S JEFFERSON ST                                                                              ORANGE                 NJ 07050‐1513
SALVATORE MONACO             3088 LOVE RD                                                                                   GRAND ISLAND           NY 14072‐2432
SALVATORE MONTEMALO          1266 THISTLEBERRY LN                                                                           WEBSTER                NY 14580‐8818
SALVATORE MONTEVIDEO         31204 VIA SOLANA                                                                               SAN JUAN CAPISTRANO    CA 92675‐2941
SALVATORE MORANA             1750 BULLIS RD                                                                                 ELMA                   NY 14059‐9659
SALVATORE MORELLI            2112 MAE LN                                                                                    LEWISBURG              TN 37091‐6331
SALVATORE NICOLOSI           1148 FRAWLEY DR                                                                                WEBSTER                NY 14580
SALVATORE OZZIMO
SALVATORE P CALLEA           108 SONTAG DR                                                                                  FRANKLIN              TN   37064‐5756
SALVATORE PALAZZOLO          4961 PYLES RD                                                                                  CHAPEL HILL           TN   37034‐2665
SALVATORE PALMIERE           1555 S OCEAN LN APT 175                                                                        FORT LAUDERDALE       FL   33316
SALVATORE PANTANO            302 WINTERHAVEN DR                                                                             WILMINGTON            DE   19803‐3551
SALVATORE PASCIUTO           VIA DEI FRASSINI SNC
SALVATORE PASCIUTO           VIA DEI FRASSINI SNC                04024 GAETA LT
SALVATORE PERO'              VIA GABRIELE D'ANNUNZIO 56A
SALVATORE PETRAS             30429 STRATFORD CT                                                                             FARMINGTON HILLS      MI   48331‐1611
SALVATORE PILATO             125 MOBILE DR                                                                                  ROCHESTER             NY   14616‐2144
SALVATORE PINTACORONA        CORSO FILIPPO RE CAPRIATA, 3        ITALIA                                                     LICATA (AG)           UT   92027
SALVATORE PISA               1351 N CORONADO ST                                                                             LOS ANGELES           CA   90026‐2305
SALVATORE PITTI              1029 MANITOU RD                                                                                HILTON                NY   14468‐9356
SALVATORE PIZZO              21806 NORTHLINE RD                                                                             TAYLOR                MI   48180‐6325
SALVATORE POLIDORO           2195 LANAI AVE                                                                                 BELLEAIR BLUFFS       FL   33770‐4909
SALVATORE POLIZZI            1475 MASTER ST                                                                                 NORTH TONAWANDA       NY   14120‐2247
SALVATORE POLTRONE           C/O BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS            OH   44236
SALVATORE PORCEDDU           PO BOX 5873                                                                                    SARASOTA              FL   34277
SALVATORE PUSATERI           2315 QUAKER RD                                                                                 GASPORT               NY   14067‐9441
SALVATORE PUSATERI JR        464 VINE ST                                                                                    LOCKPORT              NY   14094‐2456
SALVATORE RAGUSA             329 MARBLEHEAD DR                                                                              ROCHESTER             NY   14615‐1135
SALVATORE RANIERI            BEATRICE RANIERI                    11524 ROSE TREE DR                                         NEW PORT RICHEY       FL   34654‐1923
SALVATORE REALE              8352 N M52                                                                                     HENDERSON             MI   48841
SALVATORE RESTIFO            3347 JASMINE DR                                                                                SEVEN HILLS           OH   44131‐5112
SALVATORE RICOTTA            58 SANNITA DR                                                                                  ROCHESTER             NY   14626
SALVATORE RINAUDO            309 ST ANDRES DR                                                                               ROCHESTER             NY   14626‐3547
SALVATORE RINAUDO            309 SAINT ANDREWS DR                                                                           ROCHESTER             NY   14626‐3547
SALVATORE ROGER A (491693)   CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                      CLEVELAND             OH   44113‐1328
                             COONE AND ASSOCIATES
SALVATORE ROSSETTI           15 LONGVIEW TRL                                                                                CREAM RIDGE           NJ 08514‐2418
SALVATORE RUSSO              PO BOX 48                                                                                      LINDEN                TN 37096‐0048
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Name                             Address1                       Address2              Address3        Address4              City                    State Zip
SALVATORE S DELLA ROCCO          243 TRUE HICKORY DR                                                                        ROCHESTER                NY 14615‐‐ 13
SALVATORE SABIA                  269 BRIER CIR                                                                              JUPITER                  FL 33458‐7372
SALVATORE SALEMI                 582 HAZELWOOD TER                                                                          ROCHESTER                NY 14609‐5303
SALVATORE SALGADO                1104 EAGLES ROAD                                                                           BREWSTER                 NY 10509
SALVATORE SALVAGGIO              6 WHITMAN ROAD                                                                             MORGANVILLE              NJ 07751‐1423
SALVATORE SAVINE JR              4945 ARMONK DR                                                                             STERLING HTS             MI 48310‐3402
SALVATORE SCALA                  VIA ANDRONE N 5                                                      CATANTA 95124 ITALY
SALVATORE SCALA                  VIA ANDRONE N.5                                                      CATANIA 95174 ITALY
SALVATORE SCHIFANO               100 GALLATIN AVE                                                                           BUFFALO                 NY   14207‐2126
SALVATORE SCIANNA                101 IRIS CIR                                                                               ROMEOVILLE              IL   60446‐4869
SALVATORE SCIORTINO              461 CHAMBERS ST                                                                            SPENCERPORT             NY   14559‐9788
SALVATORE SCIORTINO AND VIVIAN   461 CHAMBERS ST                                                                            SPENCERPORT             NY   14559‐9788
SCIORTINO
SALVATORE SERRA                  158 REDWOOD AVENUE                                                                         EDISON                  NJ   08817
SALVATORE SESTITO                2279 CITRUS CT                                                                             CLEARWATER              FL   33763‐4307
SALVATORE SIELI                  38017 ROSEDALE DR                                                                          CLINTON TOWNSHIP        MI   48036‐3809
SALVATORE SISINO                 1906 SUGAR RIDGE RD                                                                        SPRING HILL             TN   37174‐2316
SALVATORE SPATARO                96 COUNTRY GREEN DR                                                                        YOUNGSTOWN              OH   44515‐2236
SALVATORE SUPPA                  96 W 9TH ST                                                                                BAYONNE                 NJ   07002‐1302
SALVATORE TASCIONE               45 ADAMS PL                                                                                YONKERS                 NY   10703‐1827
SALVATORE TOMASELLO              159 MOUNT AIRY HARBOURTON RD                                                               LAMBERTVILLE            NJ   08530‐2805
SALVATORE TRAPANI                1255 E TARO LN                                                                             PHOENIX                 AZ   85024‐2399
SALVATORE TRAPANI                1255 EAST, TARO LANE                                                                       PHOENIX                 AZ   85024‐2399
SALVATORE TRIMBOLI               1712 EMPIRE BLVD APT 41                                                                    WEBSTER                 NY   14580‐2137
SALVATORE TRUPIANO               2400 HIGHBURY DR                                                                           TROY                    MI   48085‐3872
SALVATORE VASTA                  2016 DUMONT DR                                                                             VALRICO                 FL   33596
SALVATORE VELTRE                 118 ANNIE LN                                                                               ROCHESTER               NY   14626‐4371
SALVATORE ZANGHI                 197 HOLLYBROOK RD                                                                          BROCKPORT               NY   14420‐2531
SALVATORE ZAVAGLIA               14A S BROAD ST APT A108                                                                    MERIDEN                 CT   06450‐6529
SALVATORE ZUCCA                  21229 ALEXANDER ST                                                                         SAINT CLAIR SHORES      MI   48081‐1823
SALVATORE, ANTHONY J             16717 SE 95TH TER                                                                          SUMMERFIELD             FL   34491
SALVATORE, BARBARA T             3D ADRIAN CT                                                                               CORTLANDT MANOR         NY   10567‐4145
SALVATORE, CLAUDIO               VIA AQUILA #32 AQ              AZZANO , 67051                        AZZANO ITALY
SALVATORE, GERALD A              102 CHATFIELD DR                                                                           POMPTON PLAINS          NJ   07444‐1107
SALVATORE, HENRY R               5811 ORCHARD AVE                                                                           PARMA                   OH   44129‐3022
SALVATORE, JOSEPH M              400 BONNABEL BLVD                                                                          METAIRIE                LA   70005‐3240
SALVATORE, LILLIAN V             2 REGAL CT                                                                                 HAMILTON SQUARE         NJ   08690‐3355
SALVATORE, M A                   137 WILLIAMS AVE                                                                           JERSEY CITY             NJ   07304‐1128
SALVATORE, MARY                  61 WESTON RD                                                                               HILLSBOROUGH            NJ   08844‐4631
SALVATORE, NORINA C              916 TALMADGE AVE                                                                           WICKLIFFE               OH   44092‐2133
SALVATORE, VICTOR                26933 ELIZABETH LN                                                                         OLMSTED FALLS           OH   44138‐1152
SALVATORE, YVONNE K              PO BOX 3                                                                                   TYRONE                  NY   14887‐0003
SALVATORE,MANISCALCO
SALVATORELLI, LOUIS              784 COLUMBUS AVE APT 9G                                                                    NEW YORK                NY   10025‐5917
SALVATORIELLO, BARBARA           602 NUGENTOWN RD                                                                           LITTLE EGG HARBOR TWP   NJ   08087‐3900
SALVATORIELLO, BARBARA           602 NYGENTOWN ROAD                                                                         LITTLE EGG HARBOR       NJ   08087
SALVATORIELLO, PAULINE           27 A CEDAR                                                                                 TOMS RIVER              NJ   08757‐2224
SALVATRICE MESSINA               3590 SHADOW GROVE RD           C/O PETER MESSINA                                           PASADENA                CA   91107‐2110
SALVE REGINA UNIVERSITY          BUSINESS OFFICE                100 OCHRE POINT AVE                                         NEWPORT                 RI   02840‐4149
SALVETA, FREDERICK G             3645 CROOKS RD                                                                             ROCHESTER HILLS         MI   48309‐4160
SALVEY, CHAD
SALVI, LAWRENCE E                1325 PIUS ST                                                                               SAGINAW                 MI 48638
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Name                          Address1                        Address2                        Address3   Address4         City            State Zip
SALVI, RONALD A               4062 W MICHIGAN AVE                                                                         SAGINAW          MI 48638‐6633
SALVIA, CHARLES C             1 MYRTLE ST                                                                                 MENDON           MA 01756‐1204
SALVIA, JOANNE J              1 PHEASANT RUN LN                                                                           DIX HILLS        NY 11746‐8143
SALVIANO RICHARD J (513862)   KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                               CLEVELAND        OH 44114
                                                              BOND COURT BUILDING
SALVIANO, RICHARD J           KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                CLEVELAND       OH 44114
                                                              BOND COURT BUILDING
SALVIDOR ANDERSON             358 BUCK CREEK BLVD                                                                         INDIANAPOLIS    IN   46227‐2014
SALVINO JR, PAUL              14168 SALEM ALLIANCE RD                                                                     SALEM           OH   44460‐7615
SALVINO REESE, VICTORIA A     6151 MIDNIGHT PASS RD                                                                       SARASOTA        FL   34242‐2278
SALVINO, ANTONIETTA           885 S LINCOLN AVE                                                                           SALEM           OH   44460‐3711
SALVINO, ANTONIETTA           885 S. LINCOLN AVE.                                                                         SALEM           OH   44460‐3711
SALVINO, GABRIELE             7007 RAILWAY AVE                                                                            BALTIMORE       MD   21222‐1135
SALVINO, JOANNA M             14205 SEACRIST RD                                                                           SALEM           OH   44460‐9606
SALVINO, JOHN                 1835 PORTSHIP RD                                                                            BALTIMORE       MD   21222‐3026
SALVINO, JOHN A               30942 HARTLEY RD                                                                            SALEM           OH   44460‐9735
SALVINO, MARIO                14151 SEACRIST RD                                                                           SALEM           OH   44460‐9606
SALVINO, MARIO F              7012 RAILWAY AVE                                                                            BALTIMORE       MD   21222‐1134
SALVINO, VITTORIO             7005 RAILWAY AVE                                                                            DUNDALK         MD   21222‐1135
SALVINO‐DORANTICH, JOANNA     14205 SEACRIST RD                                                                           SALEM           OH   44460‐9606
SALVINO‐DORANTICH, JOANNA M   14205 SEACRIST RD                                                                           SALEM           OH   44460‐9606
SALVNER, THELMA L             6244 LONGMEADOW BLVD S                                                                      SAGINAW         MI   48603‐4200
SALVO, CARMELA                5862 W 130TH ST                                                                             BROOK PARK      OH   44142‐2601
SALVO, CARMELA                5862 WEST 130 ST                                                                            BROOKPARK       OH   44142‐2601
SALVO, DOMENICO               11513 WOODRUN DR                                                                            STRONGSVILLE    OH   44136‐3796
SALVO, JOSEPH                 6699 W PLEASANT VALLEY RD                                                                   PARMA           OH   44129‐6750
SALVO, MARVIN J               36664 BONITO DR                                                                             FREMONT         CA   94536‐6417
SALVO, SAMUEL M               180 SUNSET DR                                                                               WILSON          NY   14172‐9750
SALVO, STEVEN J               10305 FOX HOLLOW DR                                                                         PARMA           OH   44130‐8234
SALVO, WESLEY K               PO BOX 7                                                                                    REESEVILLE      WI   53579‐0007
SALVONI, MARCO L              20171 S COUNTRYVIEW TER                                                                     SPRING HILL     KS   66083‐8335
SALVUCCI, ANTONIO             175 SOMERWORTH DR                                                                           ROCHESTER       NY   14626‐3637
SALVUCCI, NADIA               175 SOMERWORTH DR                                                                           ROCHESTER       NY   14626‐3637
SALVUCCI, PHILIP C            86 ELLISVILLE GRN                                                                           PLYMOUTH        MA   02360‐1742
SALWA HAJI                    1356 COBBLESTONE DR                                                                         TROY            MI   48085‐4918
SALWA HAMADY                  7480 MILLER RD                                                                              SWARTZ CREEK    MI   48473‐1430
SALWAY, JEAN M                7314 RIDGE RD                                                                               CORTLAND        OH   44410‐8608
SALWAY, JEAN M                7314 RIDGE RD. N.E.                                                                         CORTLAND        OH   44410‐8608
SALWEN, IRA                   554 ROSE BLVD                                                                               NORTH BALDWIN   NY   11510‐1043
SALYAN, HENRY C               30018 BARJODE RD                                                                            WILLOWICK       OH   44094‐4941
SALYARD, KENNETH W            6685 SILICA RD                                                                              YOUNGSTOWN      OH   44515‐1039
SALYER JR, DOUGLAS J          675 S DORAN RD                                                                              IMLAY CITY      MI   48444‐9668
SALYER JR, NORMAN             5288 TUXWORTH DR                                                                            COLUMBUS        OH   43232‐5832
SALYER KENNETH                SALYER, KENNETH                 2437 LA CROSS CT                                            LEXINGTON       KY   40514
SALYER, ANNA LEE              1627 AUGUSTA WAY                                                                            CASSELBERRY     FL   32707‐5204
SALYER, BILL J                1327 BRENHAM CIRCLE                                                                         NEW BRAUNFELS   TX   78130‐9053
SALYER, BRAD M                5805 TROY VILLA BLVD                                                                        HUBER HEIGHTS   OH   45424
SALYER, BROOKSIE E            2743 DOLBY DR                                                                               COLUMBUS        OH   43207‐3649
SALYER, DOROTHY J             227 REDBUD LANE                                                                             BLOUNTVILLE     TN   37617‐7617
SALYER, DOROTHY P             1055 PINE LOG RD NE APT 13                                                                  CONYERS         GA   30012
SALYER, DOUGLAS J             5655 COLUMBIAVILLE RD                                                                       COLUMBIAVILLE   MI   48421‐8939
SALYER, EDGELL                2404 MARCONI AVE                                                                            MORAINE         OH   45439‐2126
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Name                     Address1                            Address2             Address3         Address4         City             State Zip
SALYER, EDWARD L         21 STEVENS DR                                                                              CONCORD           NH 03301‐7402
SALYER, GLORIA J         2434 HARDING AVE                                                                           DAYTON            OH 45414‐3212
SALYER, JACK P           31828 CEDAR GROVE AVE                                                                      WARSAW            MO 65355‐4738
SALYER, JAMES A          7459 MARTZ PAULIN RD                                                                       CARLISLE          OH 45005‐4005
SALYER, JAMES A          9220 DONERAIL WAY                                                                          LOUISVILLE        KY 40272‐3408
SALYER, JAMES D          6815 W SAN JUAN AVE                                                                        GLENDALE          AZ 85303‐5418
SALYER, JAMES T          6309 HILLCROFT DR                                                                          FLINT             MI 48505‐5732
SALYER, JANET            105 HERITAGE GREEN DR                                                                      MONROE            OH 45050‐2317
SALYER, JEAN I           3679 HIGH POINT RD                                                                         CASTLEWOOD        VA 24224‐6470
SALYER, JERRY M          PO BOX 374                                                                                 WELLINGTON        MO 64097‐0374
SALYER, JIMMIE N         1808 WILLAMET RD                                                                           KETTERING         OH 45429‐4253
SALYER, JOHN             493 E DEXTER TRL                                                                           MASON             MI 48854‐9630
SALYER, JOHN H           227 RED BUD LN                                                                             BLOUNTVILLE       TN 37617‐4035
SALYER, KIMBERLY         6106 FARMBOROUGH DR                                                                        HUBER HEIGHTS     OH 45424‐3824
SALYER, LEXINGTON        2501 COUNTRY LN                                                                            PLANT CITY        FL 33565‐5103
SALYER, LONNIE B         405 RETRIEVER DR                                                                           NICKELSVILLE      VA 24271‐3021
SALYER, LOUISE           552 MIX AVE                                                                                COLUMBUS          OH 43228‐1946
SALYER, MARY E           375 S 4TH ST                                                                               WYTHEVILLE        VA 24382‐2504
SALYER, MELSTER L        1030 HUNTER AVE                                                                            YPSILANTI         MI 48198‐3186
SALYER, NAPOLEON         11216 BOARDWALK PL                                                                         FORT MYERS        FL 33908‐3371
SALYER, NELSON           3451 ESSON DR                                                                              GRAND BLANC       MI 48439‐7935
SALYER, OTIS             37122 ILENE ST                                                                             CLINTON TWP       MI 48036‐2567
SALYER, RANDALL L        1513 SE 16TH PL                                                                            OAK GROVE         MO 64075
SALYER, RANDALL L        2857 FARMERSVILLE JOHNSONVILLE RD                                                          FARMERSVILLE      OH 45325
SALYER, ROBERT A         114 WESTFIELD DR                                                                           COLUMBIA          TN 38401‐6513
SALYER, ROBERT D         7754 E MCGEE MOUNTAIN RD                                                                   TUCSON            AZ 85750‐7405
SALYER, ROGER L          424 ROSETTA ST                                                                             NEW LEBANON       OH 45345‐1520
SALYER, ROGER LEE        424 ROSETTA ST                                                                             NEW LEBANON       OH 45345‐1520
SALYER, RONALD V         3723 STONE CREEK RUN                                                                       FORT WAYNE        IN 46804‐2637
SALYER, RUSSELL F        115 WEST MAIN ST BOX 46                                                                    SPRING VALLEY     OH 45370
SALYER, SANDRA J         5950 CALLAWAY CIR                                                                          AUSTINTOWN        OH 44515‐4188
SALYER, SANDRA JEAN      5950 CALLAWAY CIR                                                                          AUSTINTOWN        OH 44515‐4188
SALYER, SHERRI S         15 W SHERRY DR                                                                             TROTWOOD          OH 45426‐3521
SALYER, STEPHEN G        4333 LITTLE YORK RD                                                                        DAYTON            OH 45414‐2567
SALYER, TOMMIE           10619 JAMAICA RD                                                                           CARLISLE          OH 45005‐5914
SALYER, VERNA            4614 N 4TH ST                                                                              COLUMBUS          OH 43224‐1037
SALYER, WILLIS S         4420 STATE ROUTE 247                                                                       HILLSBORO         OH 45133‐7368
SALYER, ZELPHA M         803 1/2 N ROOSEVELT AVE APT B                                                              LANCASTER         OH 43130
SALYER,KIMBERLY          6106 FARMBOROUGH DR                                                                        HUBER HEIGHTS     OH 45424‐3824
SALYER‐TAYLOR INC        PO BOX 219                                                                                 MUNCIE            IN 47308‐0219
SALYERS JR, SAM J        1941 S STONEY TRL                                                                          GREENFIELD        IN 46140‐7047
SALYERS JR, WILLIAM L    1013 CANAL ST # RR10                                                                       ANDERSON          IN 46012
SALYERS SR, JACK D       1710 DESOTO LN                                                                             SPEEDWAY          IN 46224‐5345
SALYERS, ARNOLD E        3590 MILLIGAN RD                                                                           MANSFIELD         OH 44906‐1021
SALYERS, BARBARA         692 SARANAC DRIVE                                                                          WINTER SPGS       FL 32708‐5607
SALYERS, BARBARA         692 SARANAC DR                                                                             WINTER SPRINGS    FL 32708
SALYERS, BETTY S         2724 W MEADOW DR                                                                           CHEASAPEAKE       VA 23321‐3321
SALYERS, DANIEL          167 COTTON ALLEY RD                                                                        DILLWYN           VA 23936‐2256
SALYERS, DANIEL O        130 CLEVELAND AVE                                                                          DEFIANCE          OH 43512‐3402
SALYERS, DANIEL O'DELL   130 CLEVELAND AVE                                                                          DEFIANCE          OH 43512‐3402
SALYERS, DANIEL R        415 N 4TH ST                                                                               MIAMISBURG        OH 45342‐2324
SALYERS, DANNY A         RR 5 BOX 9549‐A                                                                            MONTICELLO        KY 42633
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Name                    Address1                         Address2                     Address3      Address4                City            State Zip
SALYERS, DONALD R       1248 ROCKWELL DR                                                                                    XENIA            OH 45385‐3836
SALYERS, EDITH          6520 ALSPAUGH DR                                                                                    CASTALIA         OH 44824‐9371
SALYERS, EVERETT J      20198 WILLIAMSON ST                                                                                 CLINTON TWP      MI 48035‐4091
SALYERS, GARY F         8332 SWAMP CREEK RD                                                                                 LEWISBURG        OH 45338‐8712
SALYERS, GEORGE R       PO BOX 445                                                                                          ALEXANDRIA       IN 46001‐0445
SALYERS, J.D.           SHANNON LAW FIRM                 100 W GALLATIN ST                                                  HAZLEHURST       MS 39083‐3007
SALYERS, JEAN           PO BOX 147                                                                                          WHITSETT         NC 27377‐0147
SALYERS, JERRY A        PO BOX 631                                                                                          FORT RECOVERY    OH 45846‐0631
SALYERS, JIMMIE R       980 WILMINGTON AVE APT 804                                                                          DAYTON           OH 45420‐1623
SALYERS, JOHN L         17787 STATE ROUTE 18                                                                                DEFIANCE         OH 43512‐8201
SALYERS, KENNETH D      PO BOX 188                                                                                          ROAN MOUNTAIN    TN 37687‐0188
SALYERS, LARRY G        5210 W MONROE CONCORD RD                                                                            WEST MILTON      OH 45383‐8714
SALYERS, LARRY J        1941 S STONEY TRL                                                                                   GREENFIELD       IN 46140‐7047
SALYERS, LAURA          4277 HORTON RD                                                                                      RISING SUN       IN 47040‐9017
SALYERS, LAURA          4277 HORTON ROAD                                                                                    RISING SUN       IN 47040
SALYERS, LEWIS G        19051 DAWNSHIRE DR                                                                                  BROWNSTOWN       MI 48193‐8507
SALYERS, MARY F         5342 MAPLE AVE                                                                                      SWARTZ CREEK     MI 48473‐8207
SALYERS, MICHAEL R      704 ASH ST                                                                                          ALEXANDRIA       IN 46001
SALYERS, MONTY D        11114 N 300 E                                                                                       ALEXANDRIA       IN 46001‐9070
SALYERS, ROBERT W       3100 E. RT 296                                                                                      URBANA           OH 43078
SALYERS, RUTH L         556 CASSADY AVE                                                                                     INEZ             KY 41224‐9014
SALYERS, SAMUEL S       2916 HOYLAKE CT.                                                                                    DAYTON           OH 45439‐1403
SALYERS, TRACY L        1194 MAUE RD                                                                                        MIAMISBURG       OH 45342‐3456
SALYERS, VIRGIE M       36 SIERRA LN                                                                                        ARNOLD           MD 21012‐2450
SALYERS, VIRGIE M       36 SIERRA LANE                                                                                      ARNOLD           MD 21012
SALYERS, VIRGINIA M     13290 LINDEN RD                                                                                     CLIO             MI 48420‐8233
SALYERS, VIRGINIA M     13290 N LINDEN RD                                                                                   CLIO             MI 48420‐8233
SALYERS, VIRGINIA V     5342 MAPLE AVE                                                                                      SWARTZ CREEK     MI 48473‐8207
SALYERS, VIRGINIA V     5342 W MAPLE AVE                                                                                    SWARTZ CREEK     MI 48473‐8207
SALZANO, JOSEPH C       1 VALERIE LN                                                                                        TRENTON          NJ 08690‐2449
SALZANO, JOSEPH R       1425 BENT BOW CT                                                                                    LUTZ             FL 33549‐9342
SALZARULO, MERCEDES     15 CARPENTER STREET              APT B2                                                             HARTFORD         CT 06106
SALZARULO, MERCEDES     15 CARPENTER ST APT B2                                                                              HARTFORD         CT 06106‐2009
SALZBRENNER, ERNEST R   9042 GALE RD                                                                                        WHITE LAKE       MI 48386‐1411
SALZEDO, ORLANDO A      1089 GREEN MEADOWS DR                                                                               GRAND BLANC      MI 48439‐8903
SALZER, DONALD E        956 VIA LOS PADRES                                                                                  SANTA BARBARA    CA 93111‐1326
SALZETTA, REMO          40 WOODSIDE DR                                                                                      ROCHESTER        NY 14624‐3640
SALZMAN STEVE           SALZMAN, STEVE                   5055 WILSHIRE BLVD STE 300                                         LOS ANGELES      CA 90036‐6101
SALZMAN, LARRY J        859 TANBARK DR APT 104                                                                              NAPLES           FL 34108‐7518
SALZMAN, STEVE          KROHN & MOSS ‐ CA,               5055 WILSHIRE BLVD STE 300                                         LOS ANGELES      CA 90036‐6101
SAM
SAM ( ARMSTRONG         3826 UTICA DRIVE                                                                                    KETTERING       OH   45439‐2552
SAM A BASSON            SAM BASSON TTEE                  SAM BASSON LIV TR            U/A 8‐19‐99   6709 NW 72ND ST         TAMARAC         FL   33321
SAM A KIRKPATRICK       5026 CO. RD. 104                                                                                    CROSSVILLE      AL   35962
SAM A SCIABBARRA        115 JADE CREEK DRIVE                                                                                HILTON          NY   14468
SAM ABDELATIF           25122 MAMMOTH CIRCLE                                                                                LAKE FOREST     CA   92630
SAM AIELLO              21886 SAN JOAQUIN DR W                                                                              CANYON LAKE     CA   92587‐7843
SAM ALLEN/PONTIAC       PO BOX 430002                                                                                       PONTIAC         MI   48343‐0002
SAM AMICO               1042 WHALEN RD                                                                                      PENFIELD        NY   14526‐1226
SAM ANADIOTIS           145 GRAYBARK LN                                                                                     AMHERST         OH   44001‐1807
SAM ANGELUCCI
SAM ARAKELIAN           29521 DOVER ST                                                                                      GARDEN CITY     MI 48135‐2044
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Name                                Address1                         Address2                     Address3   Address4         City                 State Zip
SAM ARENA                           3971 E REDFIELD CT                                                                        GILBERT               AZ 85234
SAM ARMSTRONG                       1319 BALL HOLLOW RD                                                                       PULASKI               TN 38478‐6616
SAM ASH JR                          17209 QUINCY ST                                                                           DETROIT               MI 48221‐3029
SAM ASHER                           2830 S SHERIDAN AVE                                                                       INDIANAPOLIS          IN 46203‐5845
SAM ASHLEY                          1672 JACOBS RD                                                                            YOUNGSTOWN            OH 44505‐4464
SAM ASHLEY SR.                      3052 BOSTON RIDGE DR                                                                      COLUMBUS              OH 43219‐7343
SAM B COBBINS                       1795 OAKLAND AVE                                                                          JACKSON               MS 39213‐6429
SAM BAILEY JR                       1604 S TAFT ST                                                                            PINE BLUFF            AR 71603‐3569
SAM BAKER                           6071 PATTONSVILLE RD                                                                      JACKSON               OH 45640‐9203
SAM BAKER                           2814 E GENESEE AVE APT 701                                                                SAGINAW               MI 48601‐4050
SAM BAKER                           4449 BAKER RD                                                                             DAYTON                OH 45424‐1706
SAM BASS ILLUSTRATION & DESIGNINC   6104 PERFORMANCE DR SW                                                                    CONCORD               NC 28027‐3435
SAM BASSETT                         320 W FOREST TRL                                                                          VERO BEACH            FL 32962‐4661
SAM BECK                            8076 ROCKWOOD LN                                                                          ROGERS                AR 72756‐7927
SAM BELL                            3172 WAGON TRL                                                                            FLINT                 MI 48507‐1214
SAM BELLAVIA                        8516 SUGAR PALM CT                                                                        ORLANDO               FL 32835‐8039
SAM BERRY JR                        137 E ELDRIDGE AVE                                                                        FLINT                 MI 48505‐3431
SAM BETOUNES                        111 EDGEFIELD DR                                                                          ELYRIA                OH 44035‐1835
SAM BETTURA                         1340 SAINT ALBANS DR                                                                      YOUNGSTOWN            OH 44511‐3304
SAM BILA                            13792 SHARON RD                                                                           CHESANING             MI 48616‐9406
SAM BIONDO                          19328 SCENIC HARBOR DR                                                                    MACOMB                MI 48044‐2882
SAM BISON                           6574 CRAHAM LN                                                                            KEITHVILLE            LA 71047‐8956
SAM BOKMA
SAM BOYD                            1533 E 172ND ST                                                                           CLEVELAND            OH   44110‐2928
SAM BRENT                           31 MACKEY ST                                                                              HUBBARD              OH   44425‐1648
SAM BROCK                           311 ALABAMA AVE                                                                           SAINT CLOUD          FL   34769‐2642
SAM BROWN                           5157 KELLY RD                                                                             FLINT                MI   48504‐1011
SAM BROWN                           13960 DIXIE                                                                               REDFORD              MI   48239‐2802
SAM BROWNLEE                        4136 SHERATON DR                                                                          FLINT                MI   48532‐3555
SAM BUCKLES JR                      1721 BARRETT DR NW                                                                        ATLANTA              GA   30318‐3319
SAM BUSH                            2376 JEFFERSON ST                                                                         GARY                 IN   46407‐3044
SAM BUTTS                           3313 GRANGE HALL RD                                                                       HOLLY                MI   48442‐2010
SAM C MANENTE                       3446 CARVER‐NILES RD.                                                                     MINERAL RIDGE        OH   44440
SAM C PECORILLA                     26418 HARMON                                                                              ST CLAIR SHRS        MI   48081‐2164
SAM CAITO                           2754 AUBURN AVE                                                                           CARLSBAD             CA   92010‐2170
SAM CALDERON                        7314 HARRINGTON DR                                                                        BRIGHTON             MI   48116‐5141
SAM CAMBELL ENTERPRISES INC         1338 N OLD US HIGHWAY 421                                                                 GREENSBURG           IN   47240‐7562
SAM CARR                            PO BOX 315                                                                                CARROLLTON           MI   48724‐0315
SAM CATANZARITE                     BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.          OH   44236
SAM CAUDLE                          PO BOX 191                                                                                JONESVILLE           NC   28642‐0191
SAM CERA                            619 W JUDSON AVE                                                                          YOUNGSTOWN           OH   44511‐3255
SAM CERCONE                         610 BRANDON AVE                                                                           STRUTHERS            OH   44471‐1317
SAM CHANG                           6926 ALDEN DR                                                                             W BLOOMFIELD         MI   48324‐2014
SAM CLARK                           4550 CHAUCER WAY UNIT 104                                                                 OWINGS MILLS         MD   21117‐6608
SAM COLLIER                         5436 COLE RD                                                                              SAGINAW              MI   48601‐9760
SAM COLOSIMO                        3588 LOWER MOUNTAIN RD                                                                    SANBORN              NY   14132‐9422
SAM CORACE                          21625 BRIARCLIFF ST                                                                       SAINT CLAIR SHORES   MI   48082‐1299
SAM CORDWELL I I                    PO BOX 432                                                                                BRIDGEPORT           MI   48722‐0432
SAM COSTANZA                        9809‐ CANTEBURY ROSE LN                                                                   LAS VEGAS            NV   89134
SAM COSTANZA                        9809 CANTEBURY ROSE LANE                                                                  LAS VEGAS            NV   89134‐5913
SAM COTTON                          12128 W BEECH ST                                                                          ALLIANCE             OH   44601
SAM CROSBY                          PO BOX 1653                                                                               DANVILLE             IL   61834‐1653
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Name                          Address1                             Address2                      Address3            Address4             City            State Zip
SAM CROWDER JR                2502 S LA SALLES G                                                                                          DETROIT          MI 48206
SAM CUCCHIARA                 46275 DUKE CT                                                                                               SHELBY TWP       MI 48315‐5406
SAM CUMELLA                   940 DIBBLES TRAIL                                                                                           WEBSTER          NY 14580‐8965
SAM CURRY                     12700 WARD APT =1                                                                                           DETROIT          MI 48227
SAM D DONOFRIO                222 SQUAREVIEW LANE                                                                                         ROCHESTER        NY 14626
SAM D'AGOSTINO                366 NORTH AVE                                                                                               HILTON           NY 14468‐9501
SAM DALLAS                    4403 ALBERTLY AVE                                                                                           PARMA            OH 44134‐3315
SAM DE HOYOS
SAM DE LUCA                   16991 RIDGE RD                                                                                              HOLLEY          NY   14470‐9344
SAM DEBLASE                   108 PARKVIEW PL                                                                                             BELLEVUE        OH   44811‐9056
SAM DEBOLE                    93 MAYFLOWER ST                                                                                             ROCHESTER       NY   14615‐2807
SAM DELUCA                    1428 WINDWARD WAY                                                                                           NILES           OH   44446‐3547
SAM DICKENS                   1103 REGENT ST                                                                                              BOSSIER CITY    LA   71111‐2093
SAM DICKSON                   34066 FOUNTAIN BLVD                                                                                         WESTLAND        MI   48185‐9424
SAM DIMARIANO                 2951 ATLANTIC PARK AVE                                                                                      FLORISSANT      MO   63031‐1425
SAM DISNEY                    38671 VAN BORN RD                                                                                           ROMULUS         MI   48174‐4053
SAM DOBBS                     432 W 61ST ST                                                                                               CHICAGO         IL   60621‐3228
SAM DONOFRIO                  222 SQUAREVIEW LN                                                                                           ROCHESTER       NY   14626‐1867
SAM DRIVER                    306 VERMONT ST                                                                                              WESTVILLE       IL   61883‐6089
SAM DRUMGOOLE                 541 17TH ST SW                                                                                              BIRMINGHAM      AL   35211‐2132
SAM E KIRKLAND JR             4423 N KITLEY AVE                                                                                           INDIANAPOLIS    IN   46226‐3651
SAM E LABEAN                  962 W BARNES RD                                                                                             FOSTORIA        MI   48435‐9713
SAM E LIPPA                   11 WOOD RUN COMMONS                                                                                         ROCHESTER       NY   14612‐2265
SAM E MC DANIEL               954 W VERMONTVILLE HWY                                                                                      CHARLOTTE       MI   48813‐9783
SAM EATON                     1274 ROSSITER AVE APT 3B                                                                                    BALTIMORE       MD   21239‐3968
SAM EATON                     17 AVE DE PRINCE HEREDITAIRE         ALBERT                                            98000 MONACO
SAM FARNELL                   748 WINDSOR PL                                                                                              WALLINGFORD     PA   19086
SAM FARRIS                    288 SUMMIT DR                                                                                               ONEIDA          TN   37841‐3336
SAM FLORO                     1271 94TH ST                                                                                                NIAGARA FALLS   NY   14304‐2610
SAM FLOURENCE                 4701 CHRYSLER DR                     APT 519                                                                DETROIT         MI   48201‐1441
SAM FLYNN I I I               PO BOX 288                                                                                                  BRONSTON        KY   42518‐0288
SAM FORD                      13130 CHANDLER PARK DR                                                                                      DETROIT         MI   48213‐3658
SAM FORMICOLA                 2450 CULVER RD                                                                                              ROCHESTER       NY   14609‐1736
SAM FOSTER                    1834 PHILADELPHIA AVE SE                                                                                    GRAND RAPIDS    MI   49507‐2839
SAM G GILLOTTI FAMILY TRUST   SHERRY M TREUREN AND CAROL JO RUSS   UAD 3/30/1994                 3979 EDGAR AVENUE                        BOYNTON BEACH   FL   33436‐2729
                              TTEES
SAM G HALSTEAD                PO BOX 320070                                                                                               FLINT           MI   48532‐0002
SAM GAGLIANO                  32977 CHAPMAN CIR                                                                                           WESTLAND        MI   48185‐9419
SAM GANGIDINO                 5159 KNEALE DR                                                                                              LYNDHURST       OH   44124‐1226
SAM GENOVESE JR               4350 VAN VLEET RD                                                                                           SWARTZ CREEK    MI   48473‐8594
SAM GERTCHER                  PO BOX 45                                                                                                   SAINT HELEN     MI   48656‐0045
SAM GIPSON                    3000 HIDDEN SPRINGS DR                                                                                      CORINTH         TX   76210‐4183
SAM GIULIANO                  3561 FLAMINGO AVE SW                                                                                        GRAND RAPIDS    MI   49509‐3451
SAM GODFREY
SAM GODOSHIAN                 23 S RIVER DR                                                                                               CLARKSTON       MI   48346‐4142
SAM GOLDSBERRY                PO BOX 415                                                                                                  GALVESTON       IN   46932‐0415
SAM GRAY                      101 OWL TRACE LN                                                                                            CHAPIN          SC   29036‐8694
SAM GRAY                      629 GREEN MOUNTAIN RD                                                                                       BURLESON        TX   76028‐7351
SAM GRAY                      THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                                            HOUSTON         TX   77017
SAM GRECO
SAM GRUDZIESKI                C/O THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                            HOUSTON         TX 77017
SAM GUARINO                   655 NILES VIENNA RD                                                                                         VIENNA          OH 44473‐9519
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Name                           Address1                         Address2                    Address3   Address4         City                State Zip
SAM GULL                       C/O LEVY PHILLIPS & KONIGSBERG   800 3RD AVE 13TH FLOOR                                  NEW YORK             NY 10022‐4213
SAM H BOLLINGER                HCR 62 BOX 4                                                                             SEDGEWICKVILLE       MO 63781
SAM HARDER                     15224 FIRETHORNE PATH                                                                    FORT WAYNE           IN 46814‐8819
SAM HARRINGTON                 486 S BALDWIN ST                                                                         BARGERSVILLE         IN 46106‐8404
SAM HARVEY                     2710 N OLNEY ST                                                                          INDIANAPOLIS         IN 46218‐2915
SAM HATCHER                    213 WHITTEMORE ST                                                                        PONTIAC              MI 48342‐3069
SAM HAWN                       3220 W 100 N                                                                             DANA                 IN 47847‐8106
SAM HENSLEY                    2123 CHADBURY LN                                                                         TOLEDO               OH 43614‐1121
SAM HENSON                     2149 KEEVEN LN                                                                           FLORISSANT           MO 63031
SAM HERALD                     19 ELM ST                                                                                WILDER               KY 41071‐2943
SAM HILLING                    135 HARPER RD                                                                            STREETSBORO          OH 44241‐5721
SAM HOGAN                      309 RIVA RIDGE TRAIL                                                                     CORBIN               KY 40701‐8511
SAM HORTON JR                  PO BOX 880                                                                               CAROLINA BEACH       NC 28428‐0880
SAM HOUSTON STATE UNIVERSITY   SPECIAL SERVICES                 PO BOX 2027                                             HUNTSVILLE           TX 77341‐2027
SAM HOWARD JR                  2205 LILAC CIR                                                                           MCKINNEY             TX 75071‐2880
SAM HUBBARD                    1515 NE 342ND TRL                                                                        OKEECHOBEE           FL 34972‐0140
SAM HUFFSTETLER                17901 WESTERN RESERVE RD                                                                 NORTH BENTON         OH 44449‐9640
SAM HUNT JR                    39 JOEL DR                                                                               DEPEW                NY 14043‐4610
SAM IAQUINTO I I I             9285 JILL MARIE LN                                                                       SWARTZ CREEK         MI 48473‐8613
SAM INFANTE                    5366 CLINGAN TRAILS BLVD                                                                 STRUTHERS            OH 44471‐2090
SAM IRVIN
SAM J BELLAVIA                 8516 SUGAR PALM CT                                                                       ORLANDO             FL   32835‐8039
SAM J BISON                    6574 GRAHAM LN                                                                           KEITHVILLE          LA   71047‐8956
SAM J GATTA                    142 GLEN EAGLE                                                                           CORTLAND            OH   44410
SAM J SARANITI INSURANCE       ATTN: SAM J SARANITI             12000 SNOW RD                                           CLEVELAND           OH   44130‐9313
SAM J WILLIAMS SR              C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                               HOUSTON             TX   77007
                               BOUNDAS LLP
SAM JACKSON                    1700 ACE PLACE                                                                           DAYTON              OH   45408‐2304
SAM JARRETT JR                 220 ADAMS ST                                                                             BUFFALO             NY   14206‐1506
SAM JEFFERSON                  10334 EDGEFIELD DR                                                                       SAINT LOUIS         MO   63136‐5624
SAM JEFFRIES JR                1316 6TH ST S                                                                            COLUMBUS            MS   39701‐7312
SAM JOHNSON                    2924 TYLER ST                                                                            DETROIT             MI   48238‐3319
SAM JOHNSON                    C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                               HOUSTON             TX   77007
                               BOUNDAS LLP
SAM JOHNSON JR                 36 GAIL AVE                                                                              BUFFALO             NY   14215‐2902
SAM JOHNSON JR                 6414 MENDENHALL RD                                                                       INDIANAPOLIS        IN   46221‐9710
SAM JOMAA                      7701 MIDDLEPOINTE ST                                                                     DEARBORN            MI   48126‐1235
SAM JONES                      1346 W 78TH ST                                                                           LOS ANGELES         CA   90044‐2304
SAM JONES
SAM K CALDERON                 7314 HARRINGTON DR                                                                       BRIGHTON            MI   48116‐5141
SAM KANE                       C/O WEITZ & LUXENBERG PC         700 BROADWAY                                            NEW YORK CITY       NY   10003
SAM KASBARIAN                  741 SIBLEY CT                                                                            WIXOM               MI   48393‐1849
SAM KENNERLY                   PO BOX 26                                                                                REEVESVILLE         SC   29471‐0026
SAM KIEU                       408 E COLUMBIA ST                                                                        MASON               MI   48854‐1253
SAM KIRKLAND JR                4423 N KITLEY AVE                                                                        INDIANAPOLIS        IN   46226‐3651
SAM KLEINHAUT                  11075 VIA SAVONA                                                                         BOYNTON BEACH       FL   33437‐7502
SAM KOVALAK                    5121 CHESTNUT HILL DRIVE                                                                 WILLOUGHBY          OH   44094
SAM KOWALICK, DEPUTY MARSHAL   ACCT OF MARLENE D WALKER         8 DARCI DR                                              HOPEWELL JUNCTION   NY   12533
SAM KUDELKO                    590 SPENCER AVE.                                                                         SHARON              PA   16146‐3182
SAM KUDELKO                    590 SPENCER AVE                                                                          SHARON              PA   16146‐3182
SAM L ASHLEY                   1672 JACOBS RD                                                                           YOUNGSTOWN          OH   44505‐4464
SAM L LYKINS                   999 B STREET                                                                             CRESTVIEW           FL   32536‐5103
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Name                                 Address1                        Address2                     Address3   Address4         City            State Zip
SAM L PEEPLES JR                     SAM L PEEPLES JR R/O IRA        3820 JACKSON BLVD                                        BIRMINGHAM       AL 35213
SAM LABEAN                           962 W BARNES RD                                                                          FOSTORIA         MI 48435‐9713
SAM LACARIO                          2130 LEISURE WORLD                                                                       MESA             AZ 85206‐5370
SAM LAFATA                           1005 GOODSELL ST                                                                         OTSEGO           MI 49078‐1597
SAM LAGARES                          PO BOX 55494                                                                             TRENTON          NJ 08638‐6494
SAM LAMBOURIS                        6944 HUBBARD CIR                                                                         CLARKSTON        MI 48348‐2877
SAM LANG                             23105 PROVIDENCE DR APT 205                                                              SOUTHFIELD       MI 48075‐3623
SAM LATKOVICH                        107 HOUSTON ST.                                                                          DEXTER           MO 63841
SAM LAWSON                           3531 GLASER DR                                                                           KETTERING        OH 45429‐4111
SAM LAWSON                           3531 GLASER DR                                                                           KETTERING        OH 45429‐4111
SAM LEE                              11101 S COUNTY ROAD 300 W                                                                MUNCIE           IN 47302‐8837
SAM LEHMAN                           250 S WELLMAN RD 1                                                                       WOODLAND         MI 48897
SAM LEMAN CHEVROLET‐PONTIAC‐BUICK,   1040 W CENTER ST                                                                         EUREKA            IL 61530‐9558

SAM LEMAN CHEVROLET‐PONTIAC‐BUICK,   1040 W CENTER ST                                                                         EUREKA           IL   61530‐9558
INC.
SAM LEMAN CHEVROLET‐PONTIAC‐BUICK,   RICHARD BERTSCHI                1040 W CENTER ST                                         EUREKA           IL   61530‐9558
INC.
SAM LINDER CADILLAC HONDA            300 AUTO CENTER CIR                                                                      SALINAS         CA    93907‐1993
SAM LINDER, INC.                     300 AUTO CENTER CIR                                                                      SALINAS         CA    93907‐1993
SAM LINDER, INC.                     SAM LINDER                      300 AUTO CENTER CIR                                      SALINAS         CA    93907‐1993
SAM LIPPA                            11 WOOD RUN COMMONS                                                                      ROCHESTER       NY    14612‐2265
SAM LOMBARDO                         N527 HAIGHT RD                                                                           FORT ATKINSON   WI    53538‐8767
SAM LOVETRO AUTOMOTIVE               44 RICHMOND ST                                                                           ROCHESTER       NY    14607‐1330
SAM LYDE                             106 W LORADO AVE                                                                         FLINT           MI    48505‐2014
SAM LYKINS                           999 B ST                                                                                 CRESTVIEW       FL    32536‐5103
SAM LYONS JR                         17409 FERNSHAW AVE                                                                       CLEVELAND       OH    44111‐4142
SAM LYONS JR                         4040 N WILSHIRE DR                                                                       MARION          IN    46952‐8610
SAM M HOWARD                         700 CENTRAL AVE                                                                          TILTON           IL   61833‐7910
SAM MACK JR                          7437 EGGLESTON RD                                                                        MEMPHIS         TN    38125‐2113
SAM MAGGIO III                       9790 BLANCHARD LATEX RD                                                                  MOORINGSPORT    LA    71060‐9152
SAM MANENTE                          3446 CARVER‐NILES RD.                                                                    MINERAL RIDGE   OH    44440
SAM MARR                             45 OTTARI RD                                                                             ASHEVILLE       NC    28804‐2538
SAM MARTINEZ                         PO BOX 2172                                                                              ALBUQUERQUE     NM    87103‐2172
SAM MATHEW                           23019 BALCOMBE                                                                           NOVI            MI    48375‐4218
SAM MAX                              10011 CARMEL CT                                                                          BRIGHTON        MI    48116‐8583
SAM MC BRIDE                         2051 WHITEHAVEN RD APT 6                                                                 GRAND ISLAND    NY    14072‐2005
SAM MC CUTCHEN                       74 BATTLE GREEN DR                                                                       ROCHESTER       NY    14624‐4952
SAM MC DANIEL                        954 W VERMONTVILLE HWY                                                                   CHARLOTTE       MI    48813‐9783
SAM MCDANIEL                         PO BOX 14516                                                                             SAGINAW         MI    48601‐0516
SAM MCGREW                           BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS      OH    44236
SAM MEDRANO                          9328 FIRESIDE DR                                                                         SHREVEPORT      LA    71118‐3208
SAM MIDGARDEN                        101 CHARLES STREET                                                                       PARK RIVER      ND    58270‐5105
SAM MILLER                           414 W MAIN ST                                                                            SPENCER         OH    44275‐9534
SAM MILLS                            1115 E 8TH ST                                                                            MUNCIE          IN    47302‐3526
SAM MILTON                           1102 W 11TH ST                                                                           ANDERSON        IN    46016‐2918
SAM MONACO                           1845 W RIVER RD                                                                          GRAND ISLAND    NY    14072‐2416
SAM MOORING                          6127 N VASSAR RD                                                                         FLINT           MI    48506‐1237
SAM MOORING                          6091 N VASSAR RD                                                                         FLINT           MI    48506‐1235
SAM MOSQUEDA                         99 LA PAZ                                                                                CAMPBELL        CA    95008‐4204
SAM MUNNO JR                         7853 RAGLAN DR NE                                                                        WARREN          OH    44484‐1438
SAM MUNNO JR                         1704 WEST PARK AVE                                                                       NILES           OH    44446
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Name                         Address1                        Address2                     Address3       Address4         City              State Zip
SAM MURRELL                  109 UNIVERSITY ST                                                                            TALLULAH           LA 71282‐2506
SAM NACHAWI
SAM NALE JR                  PO BOX 184                                                                                   ELLISTON          MT 59728‐0184
SAM NASSER
SAM NESBIT JR                1628 LAURENS DR SW                                                                           ATLANTA           GA   30311‐3714
SAM NEWELL JR                12638 PARKWOOD ST                                                                            HUDSON            FL   34669‐3838
SAM NEWLAND                  521 W CENTRAL AVE                                                                            W CARROLLTON      OH   45449‐1503
SAM NICHOLS                  8103 ROY DR                                                                                  PUNTA GORDA       FL   33982‐1426
SAM NICHOLS                  24100 PENN ST                                                                                DEARBORN          MI   48124‐5202
SAM P FORMICOLA              2450 CULVER ROAD                                                                             ROCHESTER         NY   14609‐1736
SAM P LADELFA                2206 CORNELL DR                                                                              RIVERVIEW         FL   33578‐4204
SAM P PANNONE                256 WIMBLEDON RD                                                                             ROCHESTER         NY   14617‐4233
SAM P PANNONE                256 WIMBLEDON RD                                                                             ROCHESTER         NY   14617‐4233
SAM P YAQUINTO               300 S RIM ROCK PT                                                                            PAYSON            AZ   85541‐6297
SAM P YAQUINTO               300 S RIMROCK POINTE                                                                         PAYSON            AZ   85541
SAM PALMA                    71 BEECHWOOD DR                                                                              ROCHESTER         NY   14606‐5505
SAM PANNONE                  256 WIMBLEDON RD                                                                             ROCHESTER         NY   14617‐4233
SAM PATTON JR                147 MARINE DR APT 3D                                                                         BUFFALO           NY   14202‐4211
SAM PECORILLA                26418 HARMON ST                                                                              ST CLAIR SHRS     MI   48081‐2164
SAM PETERS                   PO BOX 1372                                                                                  FLINT             MI   48501‐1372
SAM PIERCE CHEVROLET, INC.   SAM PIERCE                      12401 W COUNTY ROAD 550 S                                    DALEVILLE         IN   47334‐9474
SAM PIERCE CHEVROLET, INC.   12401 W COUNTY ROAD 550 S                                                                    DALEVILLE         IN   47334‐9474
SAM PRUITT                   3506 BAGSHAW DR                                                                              SAGINAW           MI   48601‐5207
SAM PUCCIO                   203 DOGWOOD RD                                                                               EDGEWATER PARK    NJ   08010‐2601
SAM R PALMA                  71 BEECHWOOD DR                                                                              ROCHESTER         NY   14606‐5505
SAM RAHMATI
SAM RALEIGH                  4430 LYTLE RD                                                                                CORUNNA           MI   48817‐9103
SAM RAMSEY                   918 SUNDECK CIR                                                                              VALDOSTA          GA   31605
SAM RASCOE                   1633 W 59TH ST                                                                               INDIANAPOLIS      IN   46228‐1833
SAM REDDY                    4620 WENDRICK DR                                                                             WEST BLOOMFIELD   MI   48323‐3648
SAM REED JR                  18034 ROSELAWN                                                                               DETROIT           MI   48221
SAM REID                     18960 WISCONSIN ST                                                                           DETROIT           MI   48221‐2067
SAM REZNIK                   18855 VICTORY BLVD              EISENBERG VILLAGE                                            RESEDA            CA   91335‐6445
SAM REZNIK                   18855 VICTORY BLVD ROOM 205                                                                  RESEDA            CA   91335
SAM REZNIK                   EISENBERG VILLAGE               18855 VICTORY BLVD                                           RESEDA            CA   91335
SAM RICCO                    8009 W WINSTON WAY                                                                           FRANKLIN          WI   53132‐9019
SAM RICHMOND                 NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPT           205 LINDA DR                    DAINGERFIELD      TX   75638
SAM RIVERS JR                1257 CROWN POINTE LN                                                                         ORMOND BEACH      FL   32174‐1468
SAM ROBERSON JR              PO BOX 56                                                                                    AKRON             AL   35441‐0056
SAM ROBERTS                  7245 HIGHTOWER ST                                                                            FORT WORTH        TX   76112‐5810
SAM ROBERTSON                10005 WOOLWORTH RD                                                                           KEITHVILLE        LA   71047‐7556
SAM ROLAND JR                2330 BOWSER AVE APT 225                                                                      FORT WAYNE        IN   46803‐3482
SAM RYALS                    4610 E WHITE LN                                                                              MILBURN           OK   73450‐1058
SAM S DINCH                  7 SHADY OAKS CT                                                                              EAST AMHERST      NY   14051
SAM SALERNO                  49541 ISHPEMING DR                                                                           CHESTERFIELD      MI   48047‐4380
SAM SALERNO                  BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS        OH   44236
SAM SAMPLE                   123 MAIN STREET                 SUITE 1000                                                   DALLAS            TX   90125
SAM SANDERS                  4541 MOUNT MORRIS RD                                                                         COLUMBIAVILLE     MI   48421‐8997
SAM SANDOVAL                 BEVAN & ASSOCIATES, LPA, INC    6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS        OH   44236
SAM SARRIS                   1807 BURGUNDY DR                                                                             FALLSTON          MD   21047‐2112
SAM SCALES                   294 QUAIL HOLW                                                                               MADISON           MS   39110‐7012
SAM SCAPELLATO               7836 S LAVERGNE                                                                              BURBANK           IL   60459‐1528
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Name                            Address1                         Address2                      Address3            Address4               City               State Zip
SAM SCIME JR                    132 HIGH BANKS TRL                                                                                        ORTONVILLE          MI 48462‐9738
SAM SCOTT JR                    766 S DIAMOND ST                                                                                          MANSFIELD           OH 44907‐1766
SAM SCOTT JR                    1733 N 26TH ST                                                                                            SAGINAW             MI 48601‐6005
SAM SEIFERT                     71 OTTERBEIN DR                                                                                           LEXINGTON           OH 44904‐9341
SAM SEPER                       1656 WESTWOOD DR NW                                                                                       WARREN              OH 44485‐1838
SAM SERRA                       3571 CHARLES ST                                                                                           LAKEPORT            MI 48059‐2204
SAM SHABLUK                     3926 MADISON ST                                                                                           DEARBORN HEIGHTS    MI 48125‐2156
SAM SHAVERS JR                  3656 THEODORE ST                                                                                          DETROIT             MI 48211‐3112
SAM SHEPHERD                    5407 SMITH ST                                                                                             FORT WAYNE          IN 46806‐5174
SAM SHIGORG                     3750 11TH ST                                                                                              ECORSE              MI 48229‐1302
SAM SHIN CHEMICAL CO LTD        769 WONSI‐DONG DANWON GU AASAN   CITY KYUNGKI DO                                   KOREA SOUTH KOREA

SAM SHIN CHEMICAL CO LTD        RALPH SORRENTINO                 769 WONSHI‐DONG 23‐2          BANWOL INDUSTRIAL                          LAREDO              TX   78045
                                                                                               COMPLEX
SAM SHIN CHEMICAL CO LTD        769 WONSHI‐DONG DANWON GU                                                          ANSAN KYUNGKI, 425 8
                                                                                                                   KOREA (REP)
SAM SHIN CHEMICAL INDUSTRY CO   RALPH SORRENTINO                 769 WONSHI‐DONG 23‐2          BANWOL INDUSTRIAL                          LAREDO              TX   78045
                                                                                               COMPLEX
SAM SHIN/KOREA                  769 WONSHI DONG DANWON GU                                                          ANSAN KYUNGKI KR 425
                                                                                                                   852 SOUTH KOREA
SAM SHIN/SOUTHFIELD             29600 NORTHWESTERN HWY           C/O BARR SALES AGENCY                                                    SOUTHFIELD         MI 48034
SAM SHORT                       33915 FOUNTAIN BLVD                                                                                       WESTLAND           MI 48185‐9428
SAM SHRODE
SAM SHROPSHIRE                  144 APPLE CRK                                                                                             TOLEDO             OH    43612‐5210
SAM SICILIA                     2359 TANGLEWOOD DR                                                                                        SALEM              OH    44460‐2528
SAM SILKET                      BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS         OH    44236
SAM SIMON                       615 EVERETT DR                                                                                            LANSING            MI    48915‐1109
SAM SINGLETON                   7527 DEERWOOD AVE                                                                                         OAKLAND            CA    94605‐2732
SAM SINGLETON                   723 BETHANY ST                                                                                            SAGINAW            MI    48601‐1471
SAM SLAUGHTER                   1463 WIND RIVER DR                                                                                        MILFORD            MI    48381‐2669
SAM SMITH                       225 GREEN ST                                                                                              FLINT              MI    48503‐1047
SAM SMITH JR                    895 KING ST                                                                                               MANSFIELD          OH    44903‐7122
SAM SMITH JR                    949 LOUGHERY LN                                                                                           INDIANAPOLIS       IN    46228‐1320
SAM SORAYA                      4225 KLAIS DR                                                                                             CLARKSTON          MI    48348‐2369
SAM SORIDIAN                    BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS         OH    44236
SAM SOULTION INC                5120 W LAWNDALE AVE                                                                                       SUMMIT             IL    60501‐1075
SAM SPEZIALE                    2964 WHISPERING PINES DR                                                                                  CANFIELD           OH    44406‐9628
SAM STALLEY                     THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                              HOUSTON            TX    77017
SAM STANFORD JR                 2096 WAITSFIELD DR                                                                                        REYNOLDSBURG       OH    43068‐3178
SAM STEPHENS                    464 CHAPMAN ST                                                                                            FORSYTH            GA    31029‐3204
SAM STOWERS                     8038 WINGHAM LAKE WAY 2                                                                                   INDIANAPOLIS       IN    46214
SAM SUDORE JR                   698 CARDILE DR                                                                                            WEBSTER            NY    14580‐2358
SAM SUTTON                      2488 MILTON ST SE                                                                                         WARREN             OH    44484‐5249
SAM SWAZER                      17240 ANGLIN ST                                                                                           DETROIT            MI    48212‐1517
SAM SWERDLOW                    60761 BRECKENRIDGE                                                                                        BEND               OR    97702‐9493
SAM SWOPE AUTO GROUP, LLC       SAMUEL SWOPE                     7 SWOPE AUTOCENTER DR                                                    LOUISVILLE         KY    40299‐1862
SAM SWOPE AUTO GROUP, LLC       RICHARD SWOPE                    6 SWOPE AUTOCENTER DR                                                    LOUISVILLE         KY    40299‐1862
SAM SWOPE AUTO GROUP, LLC       SAMUEL SWOPE                     6770 DIXIE HWY                                                           LOUISVILLE         KY    40258‐3912
SAM SWOPE AUTO GROUP, LLC       SAMUEL SWOPE                     406 E LEWIS AND CLARK PKWY                                               CLARKSVILLE        IN    47129‐1728
SAM SWOPE AUTO GROUP, LLC       G. CLAPP JR                      406 E LEWIS AND CLARK PKWY                                               CLARKSVILLE        IN    47129‐1728
SAM SWOPE AUTO GROUP, LLC       ATTN: G. CLAPP, JR.              406 EAST HIGHWAY 131                                                     CLARKSVILLE        IN    47129
SAM SWOPE BUICK PONTIAC GMC     406 E LEWIS AND CLARK PKWY                                                                                CLARKSVILLE        IN    47129‐1728
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Name                              Address1                         Address2                    Address3   Address4             City                State Zip
SAM SWOPE BUICK‐PONTIAC‐GMC       6770 DIXIE HWY                                                                               LOUISVILLE           KY 40258‐3912
SAM SWOPE BUICK‐PONTIAC‐GMC       SAMUEL SWOPE                     6770 DIXIE HWY                                              LOUISVILLE           KY 40258‐3912
SAM SWOPE CADILLAC                RICHARD SWOPE                    6 SWOPE AUTOCENTER DR                                       LOUISVILLE           KY 40299‐1862
SAM SWOPE CADILLAC                6 SWOPE AUTOCENTER DR                                                                        LOUISVILLE           KY 40299‐1862
SAM SWOPE PONTIAC BUICK GMC       7 SWOPE AUTOCENTER DR                                                                        LOUISVILLE           KY 40299‐1862
SAM SWOPE PONTIAC BUICK GMC       SAMUEL SWOPE                     7 SWOPE AUTOCENTER DR                                       LOUISVILLE           KY 40299‐1862
SAM T ANGELO                      3013 OLD SELLARS RD                                                                          MORAINE              OH 45439‐1463
SAM T FAIRNS                      C/O WEITZ & LUXENBERG PC         700 BROADWAY                                                NEW YORK CITY        NY 10003
SAM TARAVELLA                     3691 DAWSON RD                                                                               SHREVEPORT           LA 71119‐9607
SAM TAYLOR                        3070 JANES AVE                                                                               SAGINAW              MI 48601‐6314
SAM TAYLOR BUICK‐CADILLAC, INC.   KAREN TAYLOR‐HUTSON              329 MIRACLE STRIP PKWY SW                                   FORT WALTON BEACH    FL 32548‐5209
SAM TAYLOR BUICK‐CADILLAC, INC.   329 MIRACLE STRIP PKWY SW                                                                    FORT WALTON BEACH    FL 32548‐5209
SAM TORRES                        4225 OAKCREST RD                                                                             TOLEDO               OH 43623‐2109
SAM TURNER                        7407 BELMONT AVE                                                                             BALTIMORE            MD 21224‐3227
SAM UPCHURCH                      317 WOODBINE DR                                                                              SHREVEPORT           LA 71105‐4725
SAM VAN DYKE                      6307 RAVINE RD                                                                               KALAMAZOO            MI 49009‐9002
SAM VAUGHN JR                     510 ESKER DR                                                                                 MADISON              WI 53704
SAM VICKERS                       2941 S ELECTRIC ST                                                                           DETROIT              MI 48217‐1130
SAM VICKERS                       187 WARDEN AVE                                                                               ELYRIA               OH 44035‐2557
SAM VITALE                        20423 EDINBERG DR                                                                            MACOMB               MI 48044‐2147
SAM VOGEL
SAM W COCKREL                     2129 SEMINOLE RD                                                                             ATLANTIC BEACH      FL 32233‐5921
SAM W LYDE                        106 W LORADO AVE                                                                             FLINT               MI 48505‐2014
SAM WANG                          3508 BRISTOL CT                                                                              TROY                MI 48083‐5195
SAM WATSON SR
SAM WHITAKER                      4075 HOLT RD LOT 269                                                                         HOLT                MI   48842‐6008
SAM WILLIAMS                      1490 RIDGEWOOD CT W                                                                          GALLATIN            TN   37066‐4712
SAM WILLIAMS                      14531 MARLOWE ST                                                                             DETROIT             MI   48227‐2828
SAM WILSON                        RT 3 BOX 21                                                                                  OKEMAH              OK   74859
SAM WILSON                        16 DUDLEY ST                                                                                 ROCHESTER           NY   14605‐1304
SAM WOOD                          421 SHERMAN RD                                                                               SAGINAW             MI   48604‐2020
SAM WORLEY                        3316 MERRIMACK LN                                                                            FLOWER MOUND        TX   75022‐4461
SAM YAO                           12191 WELLINGTON DRIVE                                                                       GRAND BLANC         MI   48439
SAM YAQUINTO                      300 S RIM ROCK PT                                                                            PAYSON              AZ   85541‐6297
SAM YI                            109 LIVINGSTON AVE                                                                           EDISON              NJ   08820‐2233
SAM'S AUTO REPAIR                 238 PORTLAND AVE                                                                             ROCHESTER           NY   14605‐1533
SAM'S AUTO SERVICE LTD            408 YORK RD                                                             GUELPH ON N1E 3H5
                                                                                                          CANADA
SAM'S AUTOTECH CENTER             18 ENTERPRISE DR                                                                             BUNNELL             FL 32110‐4301
SAM'S FOOD MART & DELI            ATTN: DANNY CHO                  11901 TIDEWATER TRL                                         FREDERICKSBURG      VA 22408‐7314
SAM'S LIQUOR STOP                 ATTN: RAY TOUMAS                 676 CESAR E CHAVEZ AVE                                      PONTIAC             MI 48340‐2458
SAM'S PUMP SERVICE LTD
SAM, GARY M                       22120 KARL ST                                                                                DETROIT             MI   48219‐2360
SAM, GARY MAURICE                 22120 KARL ST                                                                                DETROIT             MI   48219‐2360
SAM, GLEN                         EDWARDS LAW FIRM                 PO BOX 480                                                  CORPUS CHRISTI      TX   78403‐0480
SAM, JEAN                         9752 GLEN HERON DR                                                                           BONITA SPRINGS      FL   34135‐7773
SAM, YVONNANA A                   215 OAK RIDGE DR                                                                             PONTIAC             MI   48341‐3611
SAMA SUSAN                        247 HUDSON RD                                                                                SUDBURY             MA   01776‐1624
SAMA VINCENT (460164)             DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                             NORTH OLMSTED       OH   44070
SAMA, ALAN E                      578 MANHATTAN AVE APT 3                                                                      BROOKLYN            NY   11222‐3938
SAMA, ALAN E                      UNIT 316                         145 CANAL STREET                                            SHELTON             CT   06484‐8111
SAMA, IRENE E                     1005 COYNE PL                                                                                WILMINGTON          DE   19805‐4522
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SAMA, IRENE E          1005 COYNE PLACE                                                                                 WILMINGTON      DE 19805‐4522
SAMAAN, ANTON          BAUM JACK PC                    26 COURT ST                                                      BROOKLYN        NY 11242
SAMAC, EDWARD M        642 JOE CARROLL RD                                                                               LEITCHFIELD     KY 42754‐8430
SAMAD NAVABPOUR        547 AVE DEL VERDOR                                                                               SAN CLEMENTE    CA 92672
SAMAD, IQBAL           2148 MAIN ST                                                                                     BUFFALO         NY 14214
SAMADZADEH, MARK A     PO BOX 88912                                                                                     ATLANTA         GA 30356‐8912
SAMALANE FLINT         116 BOOHER LN                                                                                    BRISTOL         VA 24201‐5002
SAMALIK, JOHN J        2213 W PINE RIVER RD                                                                             BRECKENRIDGE    MI 48615‐9611
SAMALIK, KYLE T        47 DRY BRANCH CT                                                                                 WENTZVILLE      MO 63385‐4108
SAMAN INC              ART REYNA X111                  SAMAN. INC.                  1628 W 139TH ST.                    DAYTON          OH 45414
SAMAN, HILAIRE F       RT 4 R394 RD 16                                                                                  NAPOLEON        OH 43545
SAMAN, JAMES A         18‐627 RD T RT 4                                                                                 NAPOLEON        OH 43545
SAMAN, JEANNE L        PO BOX 272                                                                                       LYONS           TX 77863‐0272
SAMAN, LILA G          51 PLEASANT ST # A                                                                               WOODSTOCK       VT 05091‐1129
SAMAN, MARK A          700 HOLGATE AVE                                                                                  DEFIANCE        OH 43512‐2040
SAMAN, MARK ALLEN      700 HOLGATE AVE                                                                                  DEFIANCE        OH 43512‐2040
SAMAN, STEVEN M        15799 HARRIS RD                                                                                  DEFIANCE        OH 43512‐8090
SAMANICH, ROBERT S     878 ALPINE DR                                                                                    BRIGHTON        MI 48116‐1748
SAMANIE MIKE           138 FANTASTIC BLVD                                                                               RACELAND        LA 70394‐2209
SAMANIEGO JACK         SAMANIEGO, JACK                 906 SCENIC WAY DRIVE                                             VENTURA         CA 93003‐1435
SAMANIEGO JESUS O SR   MORALES, REGINA                 1950 SAWTELLE BLVD STE 245                                       LOS ANGELES     CA 90025‐7017
SAMANIEGO JESUS O SR   SAMANIEGO, JESUS O              1950 SAWTELLE BLVD STE 245                                       LOS ANGELES     CA 90025‐7017
SAMANIEGO JR, JESSE    2424 N CHARLES ST                                                                                SAGINAW         MI 48602‐5008
SAMANIEGO, EVA         1603 BROWN ST                                                                                    SAGINAW         MI 48601‐2827
SAMANIEGO, JACK        906 SCENIC WAY DR                                                                                VENTURA         CA 93003‐1435
SAMANIEGO, JESUS O     CONSUMER LEGAL SERVICES         1950 SAWTELLE BLVD STE 245                                       LOS ANGELES     CA 90025‐7017
SAMANIEGO, JOHN M      5780 STROEBEL RD                                                                                 SAGINAW         MI 48609‐5277
SAMANIEGO, MARCOS L    10422 OMELVENY AVE                                                                               PACOIMA         CA 91331‐3711
SAMANN, ELSE E         20152 N PORTICO WAY                                                                              SUPRISE         AZ 85387‐7246
SAMANTAR, MOHAMUD O    5601 SEMINARY RD APT 404                                                                         FALLS CHURCH    VA 22041
SAMANTHA A PATE        5900 BRIDGE RD APT 209                                                                           YPSILANTI       MI 48197‐7009
SAMANTHA ABSHER        14300 HARR RD                                                                                    GRASS LAKE      MI 49240‐9523
SAMANTHA AUMAUGHER     6332 LAURENTIAN CT                                                                               FLINT           MI 48532‐2039
SAMANTHA BARBEE        30138 HANOVER BLVD                                                                               WESTLAND        MI 48186‐7326
SAMANTHA BRADBURN      10844 YOUNG RD                                                                                   WAYNESVILLE     OH 45068‐8517
SAMANTHA COTE
SAMANTHA D HOWARD      5283 LAMME RD                                                                                    W CARROLLTON   OH   45439‐3212
SAMANTHA DEPEW         10587 EAST 1350 SOUTH                                                                            GALVESTON      IN   46932
SAMANTHA DEVOE         122 JOHN GLENN DR                                                                                RINCON         GA   31326
SAMANTHA DUNLAP        2520 S VANDEMARK RD                                                                              SIDNEY         OH   45365‐8910
SAMANTHA E MANTZ       1709 WOODS DR.                                                                                   BEAVERCREEK    OH   45432
SAMANTHA ENGLISH       8100 PINES RD APT 9F                                                                             SHREVEPORT     LA   71129‐4447
SAMANTHA EUBANKS       8488 OAK CLIFF BLVD                                                                              DAVISON        MI   48423‐2138
SAMANTHA F LUMPKIN     513 WILSON ST                                                                                    GADSDEN        AL   35904‐2241
SAMANTHA GAGICH
SAMANTHA HERRON        3720 GREGORY RD                                                                                  ORION          MI   48359‐2018
SAMANTHA IRWIN         7842 NORTH MAIN STREET          P O BOX 55                                                       SPRINGWATER    NY   14560
SAMANTHA J HAUSBECK    911 3RD ST                                                                                       BAY CITY       MI   48708‐6010
SAMANTHA K LOCH        36 E MILWAUKEE ST APT 307                                                                        DETROIT        MI   48202‐3264
SAMANTHA L IRWIN       7842 NORTH MAIN STREET          P O BOX 55                                                       SPRINGWATER    NY   14560‐9754
SAMANTHA L KIM         6505 ARBOR CT                                                                                    MIDDLETOWN     OH   45044‐8855
SAMANTHA L MANN        2460 HANCOCK AVE                                                                                 DAYTON         OH   45406
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Name                          Address1                       Address2                       Address3   Address4                 City                  State Zip
SAMANTHA L WILSON             3014 WISTERIA PL                                                                                  PUNTA GORDA            FL 33950‐3102
SAMANTHA LEPPER               APT 107                        2903 BROOKSIDE                                                     LAKE ORION             MI 48360‐2399
SAMANTHA N SHERMAN            210 HARPER AVE APT 1                                                                              DETROIT                MI 48202‐3501
SAMANTHA NEEDHAM              15519 WESTWOOD DR                                                                                 MONROE                 MI 48161‐4053
SAMANTHA PEPPER               1684 LONGLEAF DR NW                                                                               HUNTSVILLE             AL 35806‐3419
SAMANTHA PHILLIPS             3220 GRAND PARK                                                                                   ROCHESTER HILLS        MI 48307‐5178
SAMANTHA R WRIGHT             PO BOX 750832                                                                                     DAYTON                 OH 45475
SAMANTHA S SUMNER             835 MOON COURT                                                                                    MIAMISBURG             OH 45342‐3421
SAMANTHA S TWYMAN             2001 S MISSOURI AVE                                                                               SEDALIA                MO 65301‐8049
SAMANTHA WHITE                2864 NEWPORT ST                                                                                   JACKSON                MS 39213‐5334
SAMARA RANDOLPH G (655723)    THORNTON EARLY & NAUMES        100 SUMMER ST LBBY 3                                               BOSTON                 MA 02110‐2104
SAMARA, JOHN R                UNIT 37                        12600 NORTH ROCKWELL AVENUE                                        OKLAHOMA CITY          OK 73142‐2706

SAMARA, RANDOLPH G            THORNTON EARLY & NAUMES        100 SUMMER ST LBBY 3                                               BOSTON                MA   02110‐2104
SAMARAS, NICHOLAS P           116 HAWTHORNE DR                                                                                  SPENCERPORT           NY   14559‐2132
SAMARDICH, MARIANNE S         75187 PETERS DR                                                                                   BRUCE TWP             MI   48065‐2528
SAMARDZICH MICHAEL            SAMARDZICH, JON                1301 DOVE ST STE 760                                               NEWPORT BEACH         CA   92660‐2476
SAMARDZICH MICHAEL            SAMARDZICH, MICHAEL            1301 DOVE ST STE 760                                               NEWPORT BEACH         CA   92660‐2476
SAMARDZICH, JON               BISNAR & CHASE                 1301 DOVE ST STE 760                                               NEWPORT BEACH         CA   92660‐2476
SAMARDZICH, MICHAEL           BISNAR & CHASE                 1301 DOVE ST STE 760                                               NEWPORT BEACH         CA   92660‐2476
SAMARDZICH, MICHAEL
SAMARIA ANDERSON‐DAVIS        8227 TOMBSTONE DR                                                                                 ARLINGTON             TX 76001‐8553
SAMARIN, URSULA               19706 SOWLES RD                                                                                   MIDDLEBROOK HEIGHTS   OH 44130
SAMARITAN AIR SERVICE LTD     2450 DERRY RD E HANGAR 6                                                 MISSISSAUGA ON L5S 1B2
                                                                                                       CANADA
SAMARITAN COUNSELING CENTER   1525 STEPHENS AVE                                                                                 SHREVEPORT            LA   71101‐4705
SAMARITAN EMERGENCY           PO BOX 145701                                                                                     CINCINNATI            OH   45250‐5701
SAMARITAN HARVEY‐TYLER        39042 BUCKINGHAM DR                                                                               ROMULUS               MI   48174‐6324
SAMARITAN REGIONAL H          1025 CENTER ST                                                                                    ASHLAND               OH   44805‐4011
SAMARO, KATHERINE D           6789 GILBERT PL                                                                                   RANCHO CUCAMONGA      CA   91701
SAMAROO, HAZEL                JOHNSON & MCELROY              5426 MEADOWCREEK DR APT 1003                                       DALLAS                TX   75248

SAMAROO, RAJESH
SAMAROO, SAPPHIRE
SAMART CHINNUKROH             6611 HEARTHSTONE COURT                                                                            W BLOOMFIELD          MI   48322‐3450
SAMARTINO, ROBERT F           39 MARION ST                                                                                      BRISTOL               CT   06010‐7928
SAMASANDRAPA                  3353 FLECKENSTEIN RD                                                                              FLINT                 MI   48507‐3035
SAMATHA BAUER                 128 PARKVIEW CIRCLE                                                                               WEST FRONTFORT        IL   62896
SAMAY, DAVID J                174 MAPLELAWN DR                                                                                  BEREA                 OH   44017‐2817
SAMAY, JOAN E                 315 HUNTLEY AVE                                                                                   CLAWSON               MI   48017‐2317
SAMAYMANTRI, VIJAY K          4699 DOUGLAS FIR DR                                                                               TROY                  MI   48085‐3578
SAMB, BRUCE L                 27117 GREENFLY ORCHID LN                                                                          LEESBURG              FL   34748‐8393
SAMB, WESLEY A                3866 BLUEWING CT                                                                                  JANESVILLE            WI   53546‐4224
SAMBAR, SHAWKI S              25740 RANCHO ABODE ROAD                                                                           VALENCIA              CA   91355
SAMBATARO CARLOS (625302)     WEITZ & LUXENBERG              180 MAIDEN LANE                                                    NEW YORK              NY   10038
SAMBATARO, CARLOS             WEITZ & LUXENBERG              180 MAIDEN LANE                                                    NEW YORK              NY   10038
SAMBE, OUSMANE                243 SOUTH HEINCKE ROAD                                                                            MIAMISBURG            OH   45342‐3558
SAMBERGER ANDREAS             DORFSTR. 19                    SEBOLDSDORF                               84137 VILSBIBURG
                                                                                                       GERMANY
SAMBIAGIO, LOUIS E            141 W CHESTNUT ST                                                                                 PETERSBURG            MI 49270‐9535
SAMBIAGIO, MARIA              3070 KNEELAND CIRCLE                                                                              HOWELL                MI 48843‐4510
SAMBLANET, BERNARD A          476 N JOHNSON RD                                                                                  SEBRING               OH 44672‐1006
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SAMBLANET, DENNIS L       589 DRIFTWOOD DR                                                                                   LAKE MILTON         OH 44429‐9507
SAMBOLIN, CARMEN D        3304 WATERBURY AVE               C/O PROVIDENCE REST NURSING                                       BRONX               NY 10465‐1554
                                                           HOME
SAMBORSKI, JOHN J         30122 FIDDLERS GRN                                                                                 FARMINGTON HILLS   MI   48334‐4714
SAMBORSKI, MICHAEL F      610 RED MAPLE DR                                                                                   TECUMSEH           MI   49286‐1085
SAMBORSKI, MURIEL M       89A MOLLY PITCHER LN             CONDO #5                                                          YORKTOWN HEIGHTS   NY   10598
SAMBORSKI, MURIEL M       89 MOLLY PITCHER LN APT A        CONDO #5                                                          YORKTOWN HEIGHTS   NY   10598‐1545
SAMBORSKI, THOMAS J       6703 GILMAN ST                                                                                     GARDEN CITY        MI   48135‐2282
SAMBORSKY, BRIAN S        5559 FOREST BEND DR                                                                                DAYTON             OH   45429
SAMBRANO JR, ARTURO       2229 NW 3RD AVE                                                                                    OCALA              FL   34475‐9202
SAMBRANO JR, ARTURO       G4155 FENTON ROAD                SOUTH LOT 28                                                      BURTON             MI   48529
SAMBRANO, JUANITA         2211 CLEOPHUS                                                                                      LINCOLN PARK       MI   48146‐2210
SAMBRANO, MOISES W        5420 MISTY LN                                                                                      HUBER HEIGHTS      OH   45424‐6120
SAMBUCHI, VIRGINIA M      148 ELIOT ST                                                                                       ASHLAND            MA   01721‐2420
SAMBUCO, JOHN A           48 TURNOR AVE                                                                                      OAKVILLE           CT   06779‐1822
SAMBULA, ANTHONY          PO BOX 336                                                                                         BRONX              NY   10467‐0336
SAMBULA, PERFECTO         340 GEORGIA AVE APT 3H                                                                             BROOKLYN           NY   11207‐4030
SAMDAL SR, STANLY C       15100 120TH AVE                                                                                    NUNICA             MI   49448‐9721
SAMDAL, MICHAEL L         4598 MAIN ST                                                                                       MILLINGTON         MI   48746‐9603
SAME DAY AIR GLOBAL INC   PO BOX 39458                                                                                       CHICAGO            IL   60639‐0458
SAME DAY DELIVERY INC     PO BOX 2707                                                                                        GRAND RAPIDS       MI   49501‐2707
SAME DAY INC              FBN CORP                         3140 E STATE ROAD 124                                             BLUFFTON           IN   46714‐9301
SAMEC, W O                311 MILLER CT                                                                                      PAINESVILLE        OH   44077‐2735
SAMECIKA WILLIAMS         2946 HELBER ST                                                                                     FLINT              MI   48504‐3008
SAMEDAY RIGHT O WAY       JOHN DROWN                       6975 MENKES DR                           MISSISSAUGA ON L5S 1Y2
                                                                                                    CANADA
SAMEDAY RIGHT WAY         6555 NORTHWEST DR                                                         MISSISSAUGA ON L4V 1K2
                                                                                                    CANADA
SAMEER BHARGAVA           41643 STRAWBERRY CT                                                                                CANTON             MI   48188‐5246
SAMEER DADA               4245 CREEKSTONE DR                                                                                 PLANO              TX   75093
SAMEER HASSAN             935 VAUXHALL ST EXT                                                                                QUAKER HILL        CT   06375
SAMEER KSHIRSAGAR         20807 CACTUS LOOP                                                                                  SAN ANTONIO        TX   78258‐7456
SAMEER OGALE              3423 CONNORS DR                                                                                    ROCHESTER HILLS    MI   48307‐5076
SAMEER S HASSAN TTEE      935 VAUXHALL ST EXT                                                                                QUAKER HILL        CT   06375
SAMEK, STEPHEN J          218 CORNELL AVE                                                                                    ELYRIA             OH   44035‐6038
SAMEL, RICHARD            71225 COON CREEK RD                                                                                ARMADA             MI   48005‐3612
SAMEL, ROBERT A           3405 JOHN R RD                                                                                     TROY               MI   48083‐5683
SAMELA, SUSAN             293 SPENCER RD                                                                                     TORRINGTON         CT   06790
SAMELAK, RAYMOND J        20442 CHAREST ST                                                                                   DETROIT            MI   48234‐1654
SAMELLA CASEY             136 RIDGE CREST CIR                                                                                LIMA               OH   45801‐3810
SAMELLA MC GEE            6218 S SEELEY AVE                                                                                  CHICAGO            IL   60636‐2136
SAMENDINGER, ALAN W       8046 BRIARWOOD DR                                                                                  INDIANAPOLIS       IN   46227‐6212
SAMER FOUANI              819 ARDMORE STREET                                                                                 DEARBORN HTS       MI   48127‐4146
SAMER MONA                2893 TREYBURN LN                                                                                   WEST BLOOMFIELD    MI   48324‐4793
SAMERY TERRY              SAMERY, TERRY                    30 E BUTLER AVE                                                   AMBLER             PA   19002‐4514
SAMES TECHNOLOGIES INC    DEPT 77200                       PO BOX 77000                                                      DETROIT            MI   48277‐0200
SAMES, MILLICENT H        635 S PARK CENTRE AVE APT 1125                                                                     GREEN VALLEY       AZ   85614‐6274
SAMES/LIVONIA             1996 MERRIMAN ROAD               P.O. BOX 2098                                                     LIVONIA            MI   48151
SAMES/STRATFORD           555 LORDSHIP BLVD.                                                                                 STRATFORD          CT   06615
SAMEULIAN, NAZARETH       864 LINCOLN PL                                                                                     TEANECK            NJ   07666‐2574
SAMEY RAMEY               PO BOX 203                                                                                         ACWORTH            GA   30101‐0203
SAMFILIPPO JR, JAMES V    14588 VILLAGE CT                                                                                   PLYMOUTH           MI   48170‐3187
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Name                                Address1                         Address2                    Address3              Address4                 City              State Zip
SAMFILIPPO JR, SAMUEL               20430 ROSE CT                                                                                               BROWNSTOWN TWP     MI 48183‐4834
SAMFILIPPO, DENNIS J                437 INDIANWOOD RD                                                                                           LAKE ORION         MI 48362‐1516
SAMFORD UNIVERSITY                  STUDENT ACCOUNTS OFFICE          800 LAKESHORE DR                                                           BIRMINGHAM         AL 35229‐0001
SAMFORD, GEORGE T                   10716 OCELOT RD                                                                                             GILMER             TX 75644‐4298
SAMHAT, MAHMOUD                     860 MERCER APT. 503                                                                WINDSOR ON N9A 5B7
                                                                                                                       CANADA
SAMI & ADIB HABAYEB ADVOCATES &     PO BOX 3424                                                                        AMMAN 11181 JORDAN
LEGAL CONSULTANTS
SAMI ELEZI                          14765 BROOKSIDE DR                                                                                          BELLEVILLE        MI 48111‐5186
SAMI FREIJ                          17039 FITZGERALD ST                                                                                         LIVONIA           MI 48154‐1617
SAMI GUNER                          U MUMCU SOK 65/5                                                                   06700 ANKARA TURKEY
SAMI G▄NER                          U.MUMCU SOK.65/5                                                                                            ANKARA                 06700
SAMI SHAMOON COLLEGE OF
ENGINEERING, ISRAEL
SAMI SYED                           500 SHANA STREET                                                                                            CANTON            MI   48187‐3841
SAMIE COOPER                        22460 KLINES RESORT RD LOT 212                                                                              THREE RIVERS      MI   49093‐8621
SAMIE GAVINS                        5004 KINGS LN                                                                                               BURTON            MI   48529‐1135
SAMIE JACKSON                       2727 PARKWOOD AVE                                                                                           SAGINAW           MI   48601‐3922
SAMIE JAMERSON                      2704 CAPEHART DR                                                                                            SAGINAW           MI   48601‐4508
SAMIE LOVE                          1214 HARVARD BLVD                                                                                           DAYTON            OH   45406‐5927
SAMIE MINCEY                        6199 NATCHEZ DR                                                                                             MOUNT MORRIS      MI   48458‐2701
SAMIE RUTHERFORD                    19766 STRATHMOOR ST                                                                                         DETROIT           MI   48235‐1611
SAMIE, FARZAD                       30720 CHEVIOT HILLS DR                                                                                      FRANKLIN          MI   48025‐1519
SAMIH BEYDOUN                       5911 OAKMAN BLVD                                                                                            DEARBORN          MI   48126‐2388
SAMIH CHARARA                       7741 NORMILE ST                                                                                             DEARBORN          MI   48126‐1211
SAMIH HASHEM                        7700 COLEMAN ST                                                                                             DEARBORN          MI   48126‐1026
SAMIKA T FREEMAN                    5090 LEEDALE DRIVE                                                                                          DAYTON            OH   45418
SAMILLE BALDWIN                     844 N EUCLID AVE                                                                                            DAYTON            OH   45402‐5908
SAMILTON JR, ARTHUR                 4018 CARVER DR                                                                                              ATLANTA           GA   30360
SAMIMY, ESMAEIL                     1162 CADMUS DR                                                                                              TROY              MI   48085‐1273
SAMINA AHMAD                        4110 ANTIQUE LN                                                                                             BLOOMFIELD        MI   48302‐1802
SAMINA SCHEY                        2922 WOODLAND RIDGE DR                                                                                      WEST BLOOMFIELD   MI   48323‐3560
SAMINE MORIN, PERSONAL              SAMINE MORIN                     C/O BRAYTON PURCELL         222 RUSH LANDING RD                            NOVATO            CA   94948‐6169
REPRESENTATIVE FOR GEORGE A MORIN

SAMIR BUTROS                        10877 KIAVAN RD                                                                                             APPLE VALLEY      CA   92308‐8011
SAMIR FREIJ                         STE 140                          9555 SOUTH EASTERN AVENUE                                                  LAS VEGAS         NV   89123‐8004
SAMIR GEBRAEL                       292 MADISON AVE.                 FLOOR 17                                                                   NEW YORK          NY   10017
SAMIR HAIKAL                        KIMBERLY HAIKAL                  13882 LAKE AVE                                                             LAKEWOOD          OH   44107
SAMIR HOMSY                         3795 SWEETING ST                                                                                            CUMMING           GA   30041‐1303
SAMIR I BUTROS                      10877 KIAVAN RD                                                                                             APPLE VALLEY      CA   92308‐8011
SAMIR LAMA                          5445 ELMVIEW DR                                                                                             BAY CITY          MI   48706‐3013
SAMIR M DEDDEH                      155 OHIO ST                                                                                                 YPSILANTI         MI   48198‐7821
SAMIR MAMOU                         2768 BALLYSHANNON CT                                                                                        DACULA            GA   30019‐6517
SAMIR MASARWEH                      14667 LOYOLA ST                                                                                             MOORPARK          CA   93021‐2557
SAMIR MOWAD                         4526 MAPLE STREET                                                                                           BELLAIRE          TX   77401
SAMIR REMTULLA
SAMIR SHALABY                       2576 BRIGGS RD                                                                                              CENTERVILLE       OH 45459‐6644
SAMIRA BENJAMIN                     716 PRESTON WOODS TRL                                                                                       DUNWOODY          GA 30338‐5427
SAMIRA HENTSCHEL                    SCHWARZENBACHSTR. 3 A                                                              LINDLAR DE 51789
                                                                                                                       GERMANY
SAMIRA MUSHARBASH                   2505TH ST.                                                                                                  VERPLANCK         NY 10596
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Name                                  Address1                         Address2                      Address3                   Address4                City              State Zip
SAMIRA MUSHARBASH                     PO BOX 137                                                                                                        VERPLANCK          NY 10596‐0137
SAMIS BLOUIN & DUNN BARRISTERS &      PO BOX 11                                                                                 TORONTO ONT CANADA ON
SOLICITORS                                                                                                                      M5J 2M2 CANADA
SAMJIN AMERICA CORPORATION            3155 W BIG BEAVER RD STE 113                                                                                      TROY              MI 48084‐3006
SAMJIN JEONGGON CO LTD                JAMES HWANG                      C/O COLD HEADING CO, THE      2177 HOOVER ROAD                                   ATHENS            TN 37371
SAMJIN JEONGGON CO LTD                4600 BELLEVUE ST                                                                                                  DETROIT           MI 48207‐1714
SAMJIN JEONGGONG CO LTD               20 SEOKGOK‐RI SEONGNAM MYEON                                                              CHEONAN‐SI
                                                                                                                                CHUNGCHEONNAM‐DO KR
                                                                                                                                330 891 KOREA (REP)
SAMJIN JEONGGONG CO LTD               4600 BELLEVUE ST                                                                                                  DETROIT           MI 48207‐1714
SAMJIN JEONGGONG CO LTD               186 3 WONJONG DONG OHJUNG GU                                                              BUCHON 421 200 KOREA
                                                                                                                                (REP)
SAMJIN JEONGGONG CO LTD CHEONAN       JAMES HWANG                      C/O COLD HEADING CO, THE      2177 HOOVER ROAD                                   ATHENS            TN 37371
FAC
SAMJIN JEONGGONG CO LTD CHEONAN       20 SEOKGOK‐RI SEONGNAM MYEON                                                              CHEONAN‐SI
FAC                                                                                                                             CHUNGCHEONNAM‐DO 330
                                                                                                                                891 KOREA (REP)
SAMKEE AUTOMOTIVE CO LTD              1217 DOGOK‐RI POSEUNG‐EUP                                                                 PYONGTAEK KYONGGI 451 PYONGTAEK KYONGGI        451 8
                                                                                                                                822 KOREA (REP)
SAMKO, EDWIN J                        31800 VAN DYKE AVE APT 212                                                                                      WARREN              MI 48093‐7908
SAMLAND, SIEGFRIED                    1188 MEADOW LN                                                                                                  GRAND ISLAND        NY 14072‐2100
SAMLASKA, MICHAEL G                   14423 MANCHESTER DR                                                                                             NAPLES              FL 34114‐8630
SAMLIP AMERICA
SAMLIP AMERICA                        312 FRANK DIGGS DR                                                                                                CLINTON           TN 37716
SAMLIP AMERICA INC                    312 FRANK DIGGS DR                                                                                                CLINTON           TN 37716
SAMLIP ELECTRIC MACHINERY             SCOTT LASKA X102                 SAMLIP INDUSTRIAL             887‐4 KUMDAN DONG BUK‐KU                           BOWLING GREEN     KY 42101

SAMLIP INDUSTRIAL CO                  1208 6 SINSANG LI JINLYANG UP    KYUNGSAN CITY                                            KYUNG BUK 712‐090
                                                                                                                                SOUTH KOREA
SAMLIP/CLINTON                        312 I‐75 INDUSTRIAL PARK DR.                                                                                      CLINTON           TN 37716
SAMLIP/TROY                           1301 W LONG LAKE RD STE 255                                                                                       TROY              MI 48098‐6326
SAMLL BUSINESS SORFTWARE SOLUTIONS,   2165 CLINTON VIEW CIR                                                                                             ROCHESTER HILLS   MI 48309‐2984
INC.
SAMMARCO FRANK (358014)               ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                              NEW YORK          NY 10006‐1638
SAMMARCO PIETRO SCARDINA CATERINA     VIA PAPA GIOVANNI 50                                                                      90011 BAGHERIA
                                                                                                                                (PALMERO) ITALY
SAMMARCO, ALBERT A                    635 WALNUT ST                                                                                                     LOCKPORT          NY   14094‐3131
SAMMARCO, CONO P                      6494 CLOVERLEAF DR                                                                                                LOCKPORT          NY   14094‐6121
SAMMARCO, FRANK                       ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                              NEW YORK          NY   10006‐1638
SAMMARTANO PAUL M (439477)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK           VA   23510
                                                                       STREET, SUITE 600
SAMMARTANO, PAUL M                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK           VA 23510‐2212
                                                                       STREET, SUITE 600
SAMMARTINO, JOSEPH                    6671 MURRAY PARK DR                                                                                               SAN DIEGO         CA   92120‐3909
SAMMARTINO, ROBERT P                  822 CLEO ST                                                                                                       LANSING           MI   48915‐1323
SAMMER, RUDOLPH                       243 HARLEM RD                                                                                                     RIVIERA BEACH     MD   21122‐2936
SAMMET, ALBERT E                      138 MARILLA RD                                                                                                    COLUMBUS          OH   43207‐3812
SAMMI A BLANKENSHIP                   15 WELLINGTON ROAD                                                                                                WELLINGTON        AL   36279
SAMMIE A TREADWAY                     901 LAWNDALE AVE                                                                                                  TILTON            IL   61833‐7967
SAMMIE ABERNATHY                      908 PEARL ST                                                                                                      CHARLOTTE         MI   48813‐2142
SAMMIE ASHFORD                        237 N 75TH ST                                                                                                     E SAINT LOUIS     IL   62203‐2430
SAMMIE BARDEN                         1015 DAMASCUS CIR                                                                                                 HAZLEHURST        MS   39083‐9344
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Name                   Address1                              Address2           Address3      Address4         City           State Zip
SAMMIE BARE            HC 34 BOX 353 B                                                                         LEWISBURG       WV 24901‐8965
SAMMIE BARTON          40 CARSON AVE                                                                           DAYTON          OH 45415‐3430
SAMMIE BELL JR         6909 DARYLL DR                                                                          FLINT           MI 48505‐5416
SAMMIE BILLIPS         18947 NUCLEAR PLANT RD                                                                  ATHENS          AL 35611‐5825
SAMMIE BROWN           416 E CRAGMONT DR                                                                       INDIANAPOLIS    IN 46227‐2145
SAMMIE BROWN JR.       19167 LESURE ST                                                                         DETROIT         MI 48235‐1723
SAMMIE BURTON          1800 HILLCREST ST                                                                       LANSING         MI 48910‐0310
SAMMIE BYRD            4000 HAROLD ST APT 112                                                                  SAGINAW         MI 48601‐4126
SAMMIE C BARTON        40 CARSON AVE                                                                           DAYTON          OH 45415‐3430
SAMMIE C BARTON        4284 HANNAFORD                                                                          KETTERING       OH 45439
SAMMIE CALHOUN         10100 BAYMEADOWS RD                   APT 813                                           JACKSONVILLE    FL 32256‐7196
SAMMIE CESARO          8146 COLDWATER RD                                                                       FLUSHING        MI 48433‐1122
SAMMIE CLAYTON         PO BOX 533                                                                              MONTROSE        MI 48457‐0533
SAMMIE COLEMAN         350 OCONNELL ST                                                                         TOLEDO          OH 43608‐1027
SAMMIE COUCHARA        38 HARTRANFT STREET                   APARTMENT 1                                       NORRISTOWN      PA 19401‐4353
SAMMIE DAVIS           955 GLENWOOD AVE                                                                        BUFFALO         NY 14211‐1419
SAMMIE DAVIS JR        5420 129TH PL                                                                           CRESTWOOD        IL 60445
SAMMIE DAY             52 W BROADWAY ST                                                                        DANVILLE        IN 46122‐1718
SAMMIE DELOACH         230 E JACKSON AVE                                                                       FLINT           MI 48505‐4982
SAMMIE DENMARK         C/O RICHARDSON, PATRICK , WESTBROOK   1730 JACKSON ST    PO BOX 1368                    BARNWELL        SC 29812
                       & BRICKMAN LLC
SAMMIE DIXON           PO BOX 24                                                                               CHARLESTON     MO   63834‐0024
SAMMIE ERVIN           605 W DEWEY ST                                                                          FLINT          MI   48505‐4003
SAMMIE ESTELL          1562 BEECHER DR                                                                         SAINT LOUIS    MO   63136‐2355
SAMMIE FORD            490 FILDEW AVE                                                                          PONTIAC        MI   48341‐2627
SAMMIE GALLOWAY        1822 BARKER CYPRESS RD APT 1506                                                         HOUSTON        TX   77084
SAMMIE GEORGE          735 W FULTON ST                                                                         CANTON         MS   39046‐4212
SAMMIE GEORGE          509 MONTGOMERY ST                                                                       BOSSIER CITY   LA   71111‐4131
SAMMIE GLOSS           517 N WEADOCK AVE                                                                       SAGINAW        MI   48607‐1352
SAMMIE GOBLE           188 FORD RD N                                                                           MANSFIELD      OH   44905‐2928
SAMMIE GREEN           638 FRANKLIN DR                                                                         HOUSTON        MS   38851‐8754
SAMMIE GRIFFIN         PO BOX 310054                                                                           FLINT          MI   48531‐0054
SAMMIE HALL JR         PO BOX 38302                                                                            SHREVEPORT     LA   71133‐8302
SAMMIE HAMMONTREE      1690 KINGS RD                                                                           MARSHALL       TX   75672‐4942
SAMMIE HAZELETT        641 GREENLAWN ST                                                                        YPSILANTI      MI   48198‐2951
SAMMIE HELLAMS         23640 CHURCH ST                                                                         OAK PARK       MI   48237‐1955
SAMMIE HOLBROOK        56 PINEWOOD ST                                                                          SHELBY         OH   44875‐1757
SAMMIE HOLLIS          1001 W CARPENTER RD                                                                     FLINT          MI   48505‐1039
SAMMIE HUDSON          4611 E US 36                                                                            MARKLEVILLE    IN   46056
SAMMIE HUGAN           5505 GALLERY PARK DR                                                                    ANN ARBOR      MI   48103‐5055
SAMMIE J JONES         425 MELVILLE ST                                                                         ROCHESTER      NY   14609‐5428
SAMMIE J MILLER‐PAUL   6226 CRESTWOOD AVE                                                                      KALAMAZOO      MI   49048
SAMMIE J POWERS        708 BRICKEL ROAD                                                                        JAMESTOWN      OH   45335‐8725
SAMMIE JAMES           PO BOX 4006                           C/O GLORIA SYKES                                  DETROIT        MI   48204‐0006
SAMMIE JENKINS         5905 DUPONT ST                                                                          FLINT          MI   48505‐2685
SAMMIE JENNINGS        6770 CROOKED CREEK DR                                                                   MARTINSVILLE   IN   46151‐7600
SAMMIE JOHNSON         1169 ORANGE BLOSSOM DR                                                                  MOUNT MORRIS   MI   48458‐2823
SAMMIE JONES           3646 WHITE TRILLIUM DR E                                                                SAGINAW        MI   48603‐1939
SAMMIE JONES           4901 STILLWELL AVE                                                                      LANSING        MI   48911‐2844
SAMMIE JONES JR        206 N MAIN ST 75                                                                        CECIL          OH   45821
SAMMIE KAY SUTTON      PO BOX 2038                                                                             WILLIAMSBURG   KY   40769
SAMMIE KIMBROUGH       1036 W GENESEE AVE                                                                      FLINT          MI   48505‐1314
                     09-50026-mg            Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
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Name                 Address1                       Address2                     Address3                     Address4         City           State Zip
SAMMIE KING          4273 GRIGGSTOWN RD                                                                                        CALVERT CITY    KY 42029‐8676
SAMMIE KISSNER       106 LIVE OAK LOOP                                                                                         WHITNEY         TX 76692‐3039
SAMMIE L BURTON      1800 HILLCREST ST                                                                                         LANSING         MI 48910‐0310
SAMMIE L CLAYTON     PO BOX 533                                                                                                MONTROSE        MI 48457‐0533
SAMMIE L GREEN       638 FRANKLIN DR                                                                                           HOUSTON         MS 38851‐8754
SAMMIE L HARGROVE    PO BOX 2602                                                                                               DETROIT         MI 48202‐0602
SAMMIE L JORDAN      GLASSER AND GLASSER            CROWN CENTER                 580 EAST MAIN STREET SUITE                    NORFOLK         VA 23510
                                                                                 600
SAMMIE L KIMBROUGH   1036 W GENESEE AVE                                                                                        FLINT          MI   48505‐1314
SAMMIE L POWELL      1352 RICHLAND AVE                                                                                         KALAMAZOO      MI   49006‐2166
SAMMIE L TEMPLETON   1010 S WARREN AVE                                                                                         SAGINAW        MI   48601‐2362
SAMMIE L WOOTEN      5000 RIDGE WOOD ROAD           APT 1801                                                                   JACKSON        MS   39211
SAMMIE LEE POLK      BARON & BUDD PC                THE CENTRUM SUITE 1100       3102 OAK LAWN AVE                             DALLAS         TX   75219‐4281
SAMMIE LESLIE        2144 E 560 N                                                                                              ANDERSON       IN   46012‐9525
SAMMIE MAY           1411 S 17TH AVE                                                                                           MAYWOOD        IL   60153‐1856
SAMMIE MAYES         19814 BEAULIEU CT                                                                                         FORT MYERS     FL   33908‐4831
SAMMIE MCGLOTHEN     2927 E 8TH ST                                                                                             ANDERSON       IN   46012‐4551
SAMMIE MILLER‐PAUL   6226 CRESTWOOD AVE                                                                                        KALAMAZOO      MI   49048‐9462
SAMMIE MILTON        4330 NE 83RD TER                                                                                          KANSAS CITY    MO   64119‐7602
SAMMIE MINOR         1446 COUNTY ROAD 78                                                                                       ALICEVILLE     AL   35442‐4769
SAMMIE MITCHELL      1309 DAVENTRY DR                                                                                          DESOTO         TX   75115‐7755
SAMMIE MOSS          6158 BLUE HILLS RD                                                                                        KANSAS CITY    MO   64110‐3506
SAMMIE NEAL          2037 MCMENAMY DR                                                                                          SAINT LOUIS    MO   63136‐4025
SAMMIE NUGENT        6988 MCKANE                    LOTT 72                                                                    YPSILANTI      MI   48197
SAMMIE ONEAL         418 BIRCHLAWN BOULEVARD                                                                                   MANSFIELD      OH   44907‐2768
SAMMIE POSLEY        11970 KINGSHEAD DR                                                                                        FLORISSANT     MO   63033‐7822
SAMMIE POWELL        5050 W ADAMS ST                                                                                           CHICAGO        IL   60644‐4342
SAMMIE POWELL        1352 RICHLAND AVE                                                                                         KALAMAZOO      MI   49006‐2166
SAMMIE POWERS        708 BRICKEL RD                                                                                            JAMESTOWN      OH   45335‐8725
SAMMIE R BAILEY      1133 E JULIAH AVE                                                                                         FLINT          MI   48505‐1630
SAMMIE RANDOLPH      510 S 30TH ST                                                                                             SAGINAW        MI   48601‐6431
SAMMIE ROBERTSON     3625 FENWICK CIR                                                                                          FLINT          MI   48503‐2934
SAMMIE SANDERS       2414 N LASALLE ST                                                                                         INDIANAPOLIS   IN   46218‐3725
SAMMIE SCOTT         17 S ASTOR ST                                                                                             PONTIAC        MI   48342‐2910
SAMMIE SELF          2286 KESSLER BLVD NORTH DR                                                                                INDIANAPOLIS   IN   46222‐2353
SAMMIE SHAW          2608 ARVIN DR                                                                                             SAGINAW        MI   48601‐4501
SAMMIE SHAW          12101 W 60TH ST                                                                                           SHAWNEE        KS   66216‐2815
SAMMIE SHAW          PO BOX 2105                                                                                               SAGINAW        MI   48605‐2105
SAMMIE SIMMONS       16369 LINDEN RD                                                                                           LINDEN         MI   48451‐9035
SAMMIE SIMON         417 W BUNDY AVE                                                                                           FLINT          MI   48505‐2040
SAMMIE SMITH         1761 NOTTINGHAM RD                                                                                        LANSING        MI   48911‐1034
SAMMIE SPIVEY        1779 HELEN ST                                                                                             DETROIT        MI   48207‐3653
SAMMIE STOVALL       2420 MARMON CT                                                                                            SANTA CLARA    CA   95051‐1851
SAMMIE SUBLETT       1550 QUITMAN RD                                                                                           QUITMAN        AR   72131‐9727
SAMMIE TALLINGTON    13850 SW 32ND TERRACE RD                                                                                  OCALA          FL   34473‐6208
SAMMIE TATE          2814 E GENESEE AVE APT 506                                                                                SAGINAW        MI   48601‐7703
SAMMIE TEMPLETON     1010 S WARREN AVE                                                                                         SAGINAW        MI   48601‐2362
SAMMIE THOMAS        MOTLEY RICE LLC                28 BRIDGESIDE BLVD           PO BOX 1792                                   MT PLEASANT    SC   29465
SAMMIE TURNER        638 FINNEY RD                                                                                             GLASGOW        KY   42141‐8706
SAMMIE TURNER        315 WOODLAWN DR                                                                                           FAIRBORN       OH   45324‐4103
SAMMIE VORE          7137 RIVER RD                                                                                             EVART          MI   49631‐8101
SAMMIE WALTERS       BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS     OH   44236
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Name                        Address1                            Address2                        Address3   Address4                 City            State Zip
SAMMIE WASHINGTON           8200 PINES RD APT 1803                                                                                  SHREVEPORT       LA 71129‐4426
SAMMIE WILSON               1421 W WEBB RD                                                                                          DEWITT           MI 48820‐8332
SAMMIE WINTERS              3716 STUDOR RD                                                                                          SAGINAW          MI 48601‐5743
SAMMIE WOODS                5313 SE 46TH ST                                                                                         OKLAHOMA CITY    OK 73135‐4207
SAMMIE YATES                915 TYUS VEAL RD                                                                                        BOWDON           GA 30108‐3357
SAMMIESTIN GOODMAN          3423 LUCIE ST                                                                                           LANSING          MI 48911‐2823
SAMMLER, PHYLLIS J          22 GLEN LOCH WAY                                                                                        MALVERN          PA 19355‐1956
SAMMON, LULA F              3368 N GENESEE RD                                                                                       FLINT            MI 48506‐2166
SAMMON, THOMAS A            G6305 FLUSHING RD                                                                                       FLUSHING         MI 48433
SAMMON, THOMAS AUGUSTAS     G6305 FLUSHING RD                                                                                       FLUSHING         MI 48433
SAMMOND BONNER              420 SO CLYMAE AVE                                                                                       COMPTON          CA 90220
SAMMOND, IRENE V            1195 REVOIR DR                                                                                          RAHWAY           NJ 07065‐1831
SAMMOND, IRENE V            1195 REVOIR DRIVE                                                                                       RAHWAY           NJ 07065‐1831
SAMMONS FRED J (460165)     KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                       CLEVELAND        OH 44114
                                                                BOND COURT BUILDING
SAMMONS LOWELL D            C/O MCKENNA & CHIODO                436 BOULEVARD OF THE ALLIES ‐                                       PITTSBURGH      PA 15219
                                                                SUITE 500
SAMMONS LOWELL D (507056)   (NO OPPOSING COUNSEL)
SAMMONS TRUCKING            3665 W BROADWAY ST                                                                                      MISSOULA        MT   59808‐5676
SAMMONS, CHARLES C          2051 EDWARDS BRANCH RD                                                                                  FLAG POND       TN   37657‐3103
SAMMONS, DENNIS L           3278 ROCK RD                                                                                            SHELBY          OH   44875‐9083
SAMMONS, DONNA M            PO BOX 50                                                                                               AU GRES         MI   48703‐0050
SAMMONS, FRED J             KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                        CLEVELAND       OH   44114
                                                                BOND COURT BUILDING
SAMMONS, GEORGE R           8201 LAUREL DR SW                                                                                       COVINGTON       GA   30014‐3488
SAMMONS, JACK C             13208 ASTOR AVE                                                                                         CLEVELAND       OH   44135‐5006
SAMMONS, JAMES E            14578 BEAR BRANCH RD                                                                                    DILLSBORO       IN   47018‐5153
SAMMONS, JAMES J            149 E VILLAGE CIR                                                                                       LA FOLLETTE     TN   37766‐7334
SAMMONS, JANE E             4906 S HICKORY ST                                                                                       BEAVERTON       MI   48612‐8898
SAMMONS, JANE E             4906 HICKERY                                                                                            BEAVERTON       MI   48612‐8898
SAMMONS, JIM B              140 SCHOONER BEND AVE                                                                                   SUMMERVILLE     SC   29483‐5385
SAMMONS, JIM W              2437 BEAVER RUIN RD #5512                                                                               NORCROSS        GA   30071
SAMMONS, KATHRYN V          5049 W CARPENTER RD                                                                                     FLINT           MI   48504‐1053
SAMMONS, LEON               3342 LODWICK DR NW 1                                                                                    WARREN          OH   44485
SAMMONS, LINDA D            1536 W C 48                                                                                             BUSHNELL        FL   33513‐8956
SAMMONS, LOWELL D           THE LIPMAN LAW FIRM                 5915 PONCE DE LEON BLVD         SUITE 44                            CORAL GABLES    FL   33146
SAMMONS, LOWELL D           MCKENNA & CHIDO                     436 BOULEVARD OF THE ALLIES ‐                                       PITTSBURGH      PA   15219
                                                                SUITE 500
SAMMONS, MARVIN L           739 SURFWOOD LN                                                                                         DAVISON         MI   48423‐1224
SAMMONS, MAY                8558 HARBORTOWNE CIR                                                                                    CLARKSTON       MI   48348‐2426
SAMMONS, NORMA B            25761 MILL ST                                                                                           OLMSTED FALLS   OH   44138‐1909
SAMMONS, RICHARD A          5 KENT NARROWS CT                                                                                       PARKVILLE       MD   21234‐1353
SAMMONS, SUSAN C            1509 TEMPLE TERRACE                                                                                     WILMINGTON      DE   19805‐4553
SAMMORA, JUAN               512 CESAR E CHAVEZ AVE                                                                                  PONTIAC         MI   48342‐1053
SAMMOT INC                  6635 KITIMAT RD UNIT 43                                                        MISSISSAUGA ON L5N 6J2
                                                                                                           CANADA
SAMMS WILLIAM (482872)      CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                               CLEVELAND       OH 44113‐1328
                            COONE AND ASSOCIATES
SAMMS, DEANNA L.            3245 LAKE RIDGE DR                                                                                      MURRYSVILLE     PA 15668‐1572
SAMMS, WILLIAM              CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                               CLEVELAND       OH 44113‐1328
                            COONE AND ASSOCIATES
SAMMUT STEVE                15354 CATALINA WAY                                                                                      HOLLY           MI 48442‐1104
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Name                    Address1                       Address2            Address3         Address4         City                State Zip
SAMMUT, ARTHUR M        643 CENTER ST                                                                        FORKED RIVER         NJ 08731‐1428
SAMMUT, ELIZABETH A     PO BOX 2712                                                                          BELLEVILLE           MI 48112‐2712
SAMMUT, FRANK P         3700 LEXINGTON DR                                                                    AUBURN HILLS         MI 48326‐3975
SAMMUT, GILBERT V       500 FAIRGROVE AVE                                                                    ROYAL OAK            MI 48067‐1805
SAMMUT, JEAN L          53607 DRYDEN ST                                                                      SHELBY TWP           MI 48316‐2413
SAMMUT‐VEITS, ANNETTE   2117 MARIE DR                                                                        LAKE ORION           MI 48360‐2801
SAMMY ANDERSON          3590 NEWPORT HWY                                                                     GREENEVILLE          TN 37743‐8512
SAMMY ANTHONY           1 QUAIL, #1                                                                          ROCHESTER HILLS      MI 48309
SAMMY BARNETTE          7285 102ND ST                                                                        FLUSHING             MI 48433‐8711
SAMMY BIRNER            416 JEFFERSON AVE                                                                    PERU                 IN 46970‐1239
SAMMY BISHOP            1103 WILLEMMA ST                                                                     LANSING              MI 48911‐4029
SAMMY BOGAN             PO BOX 42                                                                            TROY                 MO 63379‐0042
SAMMY BOURN             33402 MICHIGAN AVE APT 4                                                             WAYNE                MI 48184‐1860
SAMMY BROWN             PO BOX 163                                                                           GRAND CANE           LA 71032‐0163
SAMMY BRYANT            1082 CAMELLIA ST                                                                     VALLEY               AL 36854‐5612
SAMMY BUCCHI            1475 FLAMINGO DR LOT 31                                                              ENGLEWOOD            FL 34224‐4647
SAMMY BURDETT           3308 SE 89TH ST TRLR 302                                                             OKLAHOMA CITY        OK 73135‐6207
SAMMY BURRELL           529 NEVADA AVE                                                                       PONTIAC              MI 48341‐2554
SAMMY CAUDLE            115 CAUDLE DR                                                                        EVA                  AL 35621‐8503
SAMMY CHAPMAN           PO BOX 88                                                                            KIMMSWICK            MO 63053‐0088
SAMMY CLARK             2000 W ARKANSAS LN TRLR 29                                                           ARLINGTON            TX 76013‐6032
SAMMY COLE              47 N JOHNSON ST                                                                      PONTIAC              MI 48341‐1325
SAMMY CONNALLY          183 COUNTY ROAD 4576                                                                 BOYD                 TX 76023‐4600
SAMMY COOK              400 FLAMELEAF LANE                                                                   CEDAR HILL           TX 75104‐4954
SAMMY COUCH             428 GREEN ROAD 601                                                                   PARAGOULD            AR 72450
SAMMY CROUCH            143 WILLIAM ST                                                                       W. CARROLLTON        OH 45449‐1239
SAMMY CULBERSON         2785 BRIARWOOD DR                                                                    SAGINAW              MI 48601‐5841
SAMMY CUMMINS           PO BOX 412                                                                           COLBERT              GA 30628‐0412
SAMMY DILL              2046 FISHER AVE                                                                      INDIANAPOLIS         IN 46224‐5616
SAMMY DOOLITTLE         8735 RENFREW ST                                                                      POWELL               OH 43065‐8885
SAMMY DROLLINGER        7305 NW EMERALD HILLS DR                                                             KANSAS CITY          MO 64152‐1180
SAMMY E ASHBURN JR      2139 BLAKE AVE                                                                       DAYTON               OH 45414‐3316
SAMMY EDWARDS           20536 SHANNON ST                                                                     TAYLOR               MI 48180‐2953
SAMMY FAIN              50211 OXFORD DR                                                                      MACOMB               MI 48044‐1268
SAMMY G BUCCHI          1475 FLAMINGO DR LOT 31                                                              ENGLEWOOD            FL 34224‐4647
SAMMY GALINDO           4128 EVANS AVE                                                                       FORT WORTH           TX 76115‐1513
SAMMY GARCIA            16625 NAPA ST                                                                        SEPULVEDA            CA 91343‐5608
SAMMY GIBBS             1213 CHARLES AVE                                                                     FLINT                MI 48505‐1641
SAMMY GLYNN MAY         FOSTER & SEAR, LLP             817 GREENVIEW DR.                                     GRAND PRAIRIE        TX 75050
SAMMY GROSS             211 HEMLOCK ST                                                                       FRANKLIN             OH 45005‐1583
SAMMY HARMON            6171 INDUSTRIAL LOOP M107                                                            SHREVEPORT           LA 71129
SAMMY HARRIS            17 EDGEWOOD DR                                                                       GRAFTON              OH 44044‐1505
SAMMY HARVEY            4750 TOCOMA TRL                                                                      COLLEGE PARK         GA 30349‐2324
SAMMY HENLEY            2882 OAKVALE FALLS DR                                                                DECATUR              GA 30034‐6927
SAMMY HICKS             1007 JEFFERSON ST                                                                    COVINGTON            IN 47932‐1553
SAMMY HOWELL            116 LORAINE AVE                                                                      FITZGERALD           GA 31750‐8818
SAMMY HUFF              18575 HANNA ST                                                                       MELVINDALE           MI 48122‐1434
SAMMY JACKSON           2315 GARDEN LN                                                                       ARLINGTON            TX 76015‐3824
SAMMY JAMES             4357 DAVIS RD SW                                                                     VALDOSTA GA 31501    FL 31501
SAMMY JENKINS           8256 EDWARD RD                                                                       FOSTORIA             MI 48435‐9793
SAMMY KEE               1520 OLD FORGE RD                                                                    NILES                OH 44446‐3250
SAMMY KING              4316 KINGSTON LN                                                                     JACKSON              MI 49201‐7162
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Name                          Address1                       Address2                     Address3   Address4             City               State Zip
SAMMY KUPER                   4906 FAIRVIEW CT                                                                            WEST BLOOMFIELD     MI 48322‐4417
SAMMY L HAWTHORNE             C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                    HOUSTON             TX 77007
                              BOUNDAS LLP
SAMMY L PETTIS                209 GRAMONT AVE                                                                             DAYTON             OH    45417‐2323
SAMMY L RILEY                 12862 EUSTACE ST                                                                            PACOIMA            CA    91331‐1037
SAMMY LLOYD                   1174 VINTAGE WAY                                                                            HOSCHTON           GA    30548‐3451
SAMMY LUMETTA                 3805 RED ROOT RD                                                                            LAKE ORION         MI    48360‐2626
SAMMY MADDOX                  624 FOX RUN TRL                                                                             SAGINAW            TX    76179‐0921
SAMMY MALDONADO               7610 CRANFORD CT                                                                            ARLINGTON          TX    76001‐7031
SAMMY MARIAGE                 15303 COLLEGE AVE                                                                           GEORGETOWN         IL    61846‐6135
SAMMY MARKOVICH               364 WESTBROOK DR                                                                            O FALLON           MO    63366‐2463
SAMMY MITLEFF                 20595 DISTRESS CREEK RD                                                                     HARRISBURG         AR    72432‐8485
SAMMY NEVELS JR               2418 PARKSIDE DR                                                                            GRAND PRARIE       TX    73052‐4611
SAMMY PADGETT                 9416 WINDROW PL                                                                             MOSS POINT         MS    39562‐8033
SAMMY R CLARK                 103 EASTVIEW DR                                                                             BRANDON            MS    39047‐8586
SAMMY R GROSS                 211 HEMLOCK ST                                                                              FRANKLIN           OH    45005‐1583
SAMMY REYES                   29721 POPPY MEADOW ST                                                                       CANYON COUNTRY     CA    91387‐4429
SAMMY RICHARDSON              2129 CRESTWOOD DR                                                                           ANDERSON           IN    46016‐2748
SAMMY RICHARDSON JR           1349 KUMLER AVE                                                                             DAYTON             OH    45406‐5930
SAMMY RILEY                   12862 EUSTACE ST                                                                            PACOIMA            CA    91331‐1037
SAMMY RUCKER JR               PO BOX 1065                                                                                 DEFIANCE           OH    43512‐1065
SAMMY RUSSELL                 1906 NATHAN DR                                                                              KOKOMO             IN    46901‐3284
SAMMY SANDUSKY                8378 SE 177TH BARTRAM LOOP                                                                  THE VILLAGES       FL    32162‐4851
SAMMY SHAW                    322 HAWKSNEST CT                                                                            MATTHEWS           NC    28104‐4261
SAMMY SHEPHERD                8331 MOUNT JOY RD                                                                           MT PLEASANT        TN    38474‐3212
SAMMY SIMS                    840 WINNBROOK DR                                                                            DACULA             GA    30019‐2000
SAMMY SMITH                   2200 STONE PASS                                                                             LORAIN             OH    44052
SAMMY SMITH                   BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS         OH    44236
SAMMY SMITH'S GARAGE, INC     209 RICHARD ST                                                                              UNION              SC    29379‐2036
SAMMY SPEAKES                 1492 ALCONA DR                                                                              BURTON             MI    48509‐2004
SAMMY SPENCER                 50211 BOG RD                                                                                BELLEVILLE         MI    48111‐2581
SAMMY STANFIELD               3796 BRIMFIELD AVE                                                                          AUBURN HILLS       MI    48326‐3339
SAMMY STRONG                  909 LINCOLN RD                                                                              DAYTON             KY    41074‐1636
SAMMY TARLTON                 604 N WASHINGTON ST                                                                         MARION             IN    46952‐2212
SAMMY TAYLOR                  3013 MENOMINEE AVE                                                                          FLINT              MI    48507‐1938
SAMMY TERRELL                 7011 N BRAY RD                                                                              MOUNT MORRIS       MI    48458‐8988
SAMMY TORRISI                 5221 MANSFIELD AVE                                                                          STERLING HEIGHTS   MI    48310‐5741
SAMMY TROUT                   15429 WOODCREST DR                                                                          WHITTIER           CA    90604‐3236
SAMMY UPCHURCH                1119 MARIE CT                                                                               FLINT              MI    48532‐2730
SAMMY VELASQUEZ               17350 TEMPLE AVE SPC 126                                                                    LA PUENTE          CA    91744‐4630
SAMMY W GIBBS                 1213 CHARLES AVE                                                                            FLINT              MI    48505‐1641
SAMMY WALKER                  17380 STOUT ST                                                                              DETROIT            MI    48219‐3447
SAMMY WALLER                  4871 WILLIAM ST                                                                             LANCASTER          NY    14086‐3205
SAMMY WHIPPLE                 3535 LEISURE LN                                                                             COLLEGE PARK       GA    30349‐4453
SAMMY WHITE                   2500 TAUSEND ST                                                                             SAGINAW            MI    48601‐4572
SAMMY YOUNG                   4023 CANEY CREEK LN                                                                         CHAPEL HILL        TN    37034‐2076
SAMMY ZAMBELLI                103 BON AIR AVE                                                                             BALTIMORE          MD    21225‐3604
SAMMY'S SERVICE CENTRE        2114 YONGE ST.                                                         TORONTO ON M4S 2A5
                                                                                                     CANADA
SAMNEL LENZ (GIB. 22.12.03)   ALFRED LENZ                    MONREALER STR 17                        56761 DUNGENHEIM
                                                                                                     GERMANY
SAMNTHA RITCHIE               900 W 10TH ST                                                                               MUNCIE              IN   47302‐3192
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Name                            Address1                          Address2                         Address3          Address4                City            State Zip
SAMOCHWAL, NICHOLAS             1707 FLEETWOOD DR                                                                                            FORKED RIVER     NJ 08731‐3315
SAMOCKI JAMES & CAROL           SAMOCKI, CAROL                    120 WEST MADISON STREET , 10TH                                             CHICAGO           IL 60602
                                                                  FLOOR
SAMOCKI JAMES & CAROL           SAMOCKI, JAMES                    120 WEST MADISON STREET , 10TH                                             CHICAGO          IL   60602
                                                                  FLOOR
SAMOCKI, CAROL                  KROHN & MOSS ‐ IL                 120 WEST MADISON STREET, 10TH                                              CHICAGO          IL   60602
                                                                  FLOOR
SAMOCKI, JAMES                  KROHN & MOSS ‐ IL                 120 WEST MADISON STREET, 10TH                                              CHICAGO          IL   60602
                                                                  FLOOR
SAMOLEWSKI, DOROTHY             1217 26TH ST                                                                                                 BAY CITY        MI    48708‐7916
SAMOLINSKI, STEVEN J            14029 SALMON DRIVE                                                                                           CARMEL          IN    46033‐4461
SAMOLIS, ROY P                  39875 STATE ROUTE 18                                                                                         WELLINGTON      OH    44090‐9627
SAMOLIS, VICTORIA               380 HITCOCK RD UNIT 154                                                                                      WATERBURY       CT    06705
SAMOLUK, FRANK C                PO BOX 215                                                                                                   WASHINGTON      MI    48094‐0215
SAMOLYK, RAYMOND B              16 LAKE AVE                                                                                                  HELMETTA        NJ    08828‐1112
SAMONIDES, WILLIAM J            2214 CAMDEN LN                                                                                               TEMPERANCE      MI    48182‐2240
SAMONS, BETTY J                 6161 FOX TAIL DR                                                                                             GAHANNA         OH    43230‐1921
SAMONS, CHARLENE                C/O SANDY A MENNE                 229 SHINSTOCK LANE                                                         O'FALLON        MO    63366
SAMONS, CHARLENE                229 SHINSTOCK LN                  C/O SANDY A MENNE                                                          O FALLON        MO    63366‐1110
SAMONS, ELIZABETH               3864 VAIL AVE NW                                                                                             GRAND RAPIDS    MI    49544‐9423
SAMONS, HELEN L                 RR 4 BOX 254                                                                                                 WABASH          IN    46992
SAMONS, JOHNNIE L               120 DONORA DR.                                                                                               VANDALIA        OH    45377‐5377
SAMONS, JOHNNIE L               120 DONORA DR                                                                                                VANDALIA        OH    45377‐2816
SAMONS, NORMAN                  675 GRAND PLAZA DR                                                                                           ORANGE CITY     FL    32763‐7907
SAMONS, RAYMOND                 9248 OAKWOOD LN                                                                                              SEMINOLE        FL    33776‐2169
SAMONS, RAYMOND                 9248 OAKWOOD LANE                                                                                            SEMINOLE        FL    33776‐3776
SAMONS, ROLAND J                SUTTER & ENSLEIN                  1598 KANAWHA BLVD EAST, SUITE                                              CHARLESTON      WV    25311
                                                                  200
SAMONS, TERRY N                 1324 JORDAN LAKE AVE                                                                                         LAKE ODESSA     MI    48849‐3149
SAMONS, TERRY N                 1302 COMMONWEALTH AVE                                                                                        YPSILANTI       MI    48198‐3149
SAMORA, DON J                   13862 DESMOND ST                                                                                             PACOIMA         CA    91331‐2749
SAMORA, JASON                   1237 W COUNTY LINE RD                                                                                        MINERAL RIDGE   OH    44440‐9759
SAMORA, PAUL D                  1237 W COUNTY LINE RD                                                                                        MINERAL RIDGE   OH    44440‐9759
SAMORAJ, CAROL A                11139 PROSPECT PL                                                                                            ORLAND PARK     IL    60467‐9345
SAMORANO, ROSANA B              12354 CENTRALIA ST                                                                                           LAKEWOOD        CA    90715‐1649
SAMORAY, MARY E                 41069 LORE DR                                                                                                CLINTON TWP     MI    48038‐2085
SAMORI MERIDA                   C/O EDWARD O MOODY P A            801 WEST 4TH ST                                                            LITTLE ROCK     AR    72201
SAMORI, MERIDA                  MOODY EDWARD O                    801 W 4TH ST                                                               LITTLE ROCK     AR    72201‐2107
SAMOROS, JAMES R                25 SPARKLEBERRY CT                                                                                           GREER           SC    29651‐7411
SAMOS INVESTMENTS CORPORATION   C/O TECKTON SA                    DEGLI ALBRICI 4                                    CH 6830 CHIASSO
                                                                                                                     SWITZERLAND
SAMOS INVESTMENTS CORPORATION   C/O TECKTON SA                    VIA DEGLI ALBRICI 4              CH 6830 CHIASSO
SAMOS INVE                                                                                         SWITZERLAND
SAMOY, RALPH M                  5281 WOODCREEK TRL                                                                                           CLARKSTON       MI    48346‐3971
SAMP MICHAEL                    1105 GLENDALE ST                                                                                             BURTON          MI    48509‐1937
SAMP, MICHAEL L                 1105 GLENDALE ST                                                                                             BURTON          MI    48509‐1937
SAMP, PAUL F                    801 W 8TH ST                                                                                                 ANDERSON        IN    46016‐1207
SAMP, PAUL S                    6811 APPOLINE ST                                                                                             DEARBORN        MI    48126‐1931
SAMPAIO, JOAO T                 21 S WASHINGTON ST                                                                                           TARRYTOWN       NY    10591‐3906
SAMPAIO, JOAQUIM                62 STORM ST                                                                                                  TARRYTOWN       NY    10591
SAMPAIR THOMAS                  SAMPAIR, THOMAS                   5901 CEDAR LAKE RD S                                                       MINNEAPOLIS     MN    55416‐1488
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Name                        Address1                       Address2                      Address3                Address4         City              State Zip
SAMPAIR THOMAS              SAMPAIR, MARNI                 HAUER FARGIONE LOVE LANDY &   5901 SOUTH CEDAR LAKE                    MINNEAPOLIS        MN 55416
                                                           MCELLISTREM PA                ROAD
SAMPAIR, MARNI              HAUER FARGIONE LOVE LANDY &    5901 CEDAR LAKE RD S                                                   MINNEAPOLIS       MN 55416‐1488
                            MCELLISTREM PA
SAMPAIR, THOMAS             HAUER FARGIONE LOVE LANDY &    5901 CEDAR LAKE RD S                                                   MINNEAPOLIS       MN 55416‐1488
                            MCELLISTREM PA
SAMPAR, GEORGE              18516 BONNIE LN                                                                                       STRONGSVILLE      OH   44136‐4222
SAMPEDRO, FRANCISCO         509 45TH ST                                                                                           BALTIMORE         MD   21224‐3026
SAMPEDRO, JOHN B            486 HICKORY LN                                                                                        SALEM             OH   44460‐1147
SAMPEDRO, JOSE              1123 CHESACO AVE                                                                                      ROSEDALE          MD   21237‐2704
SAMPEL, LARRY J             7507 N AVALON ST                                                                                      KANSAS CITY       MO   64152‐2226
SAMPERE, ALICE A            12915 W SHARON DR                                                                                     EL MIRAGE         AZ   85335‐6377
SAMPERE, JAMES B            4664 ROYAL COVE DR                                                                                    SHELBY TOWNSHIP   MI   48316‐1500
SAMPERI LAWRENCE (439478)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                            NORFOLK           VA   23510
                                                           STREET, SUITE 600
SAMPERI, JOSEPH             933 EKMAN DR                                                                                          BATAVIA           IL 60510‐8941
SAMPERI, LAWRENCE           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                            NORFOLK           VA 23510
                                                           STREET, SUITE 600
SAMPERI, THOMAS             254 FOREST HILL DR                                                                                    AUSTINTOWN        OH 44515‐3151
SAMPERT, EDWARD H           3211 JAGUAR RD                                                                                        GILMER            TX 75644‐4436
SAMPIER, BETTY R            3100 GEIGER RD                                                                                        IDA               MI 48140‐9759
SAMPIER, CECILE             RT.#3                                                                                                 POTSDAM           NY 13676‐9803
SAMPIER, DALE J             11041 US HIGHWAY 11                                                                                   NORTH LAWRENCE    NY 12967‐1521
SAMPIER, GENE M             1780 WASHINGTON ST                                                                                    ALGONAC           MI 48001‐1041
SAMPIERI, SAMUEL P          7 E SUNMIST SQUARE                                                                                    AMHERST           NY 14228
SAMPLE BANK                 1234 ABC STREET                                                                                       ROME                 00123
SAMPLE CAROL I              SAMPLE, CAROL I                30 E BUTLER AVE                                                        AMBLER            PA 19002‐4514
SAMPLE DONALD               20383 WILDCAT RUN DR                                                                                  ESTERO            FL 33928‐2013
SAMPLE, BARBARA J           2190 E 00 NS                                                                                          KOKOMO            IN 46901‐6618
SAMPLE, BRENDA S            2700 S MAIN ST                                                                                        LIBERTY CENTER    IN 46766‐9731
SAMPLE, BRENDA S.           2700 S MAIN ST                                                                                        LIBERTY CENTER    IN 46766‐9731
SAMPLE, CAROL
SAMPLE, CAROL I             KIMMEL & SILVERMAN             30 E BUTLER AVE                                                        AMBLER            PA   19002‐4514
SAMPLE, CARTER              2921 WALTERS DR                                                                                       SAGINAW           MI   48601
SAMPLE, CARTHION D          569 ROBBIE VALENTINE DR 4                                                                             RADCLIFF          KY   40160
SAMPLE, CHADWICK R          412 NE GRANT DR                                                                                       BLUE SPRINGS      MO   64014‐1739
SAMPLE, CHADWICK ROWAN      412 NE GRANT DR                                                                                       BLUE SPRINGS      MO   64014‐1739
SAMPLE, CLEVELAND C         12216 MOUNT ALBERT RD                                                                                 ELLICOTT CITY     MD   21042‐1337
SAMPLE, CONSTANCE C         113 HOLLOW DR                                                                                         WINCHESTER        IN   47394‐9274
SAMPLE, EDWARD A            2226 N BRITT RD                RR #4                                                                  JANESVILLE        WI   53548‐9496
SAMPLE, ELIZABETH A         29505 JERKWATER RD                                                                                    SHERIDAN          IN   46069‐9364
SAMPLE, FLOYD E             6009 MAPLEWOOD                                                                                        SPEEDWAY          IN   46224
SAMPLE, GARY D              3278 S STATE ROAD 67                                                                                  PARAGON           IN   46166‐9531
SAMPLE, GARY W              1054 MADISON 234                                                                                      FREDERICKTOWN     MO   63645‐8536
SAMPLE, GLYNN D             345 WARREN MOUNTAIN RD                                                                                FLORAL            AR   72534‐9600
SAMPLE, GREGORY Z           6570 SANTA ANA LN                                                                                     INDIANAPOLIS      IN   46214‐3388
SAMPLE, HUGH M              6053 WILORA LAKE RD RM 428                                                                            CHARLOTTE         NC   28212‐2854
SAMPLE, JOSEPH L            4220 EAGLE BAY CIR                                                                                    INDIANAPOLIS      IN   46254‐3651
SAMPLE, JULIUS C            PO BOX 603                                                                                            TUTWILER          MS   38963‐0603
SAMPLE, KATHRYN ANNE        38525 AVONDALE STREET                                                                                 WESTLAND          MI   48186‐3763
SAMPLE, KATHRYN S           2305 PRINCETON LANE                                                                                   JOHNSON CITY      TN   37601‐7601
SAMPLE, LAWRENCE C          10825 FREMONT AVE                                                                                     KANSAS CITY       MO   64134‐2503
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Name                       Address1                        Address2                Address3    Address4         City              State Zip
SAMPLE, LILLY B            2163 STATE ROUTE 179                                                                 JEROMESVILLE       OH 44840
SAMPLE, LILLY B            202 EAST MAIN STREET                                                                 HAYESVILLE         OH 44838
SAMPLE, LYLE L             1001 W SOLON RD                                                                      DEWITT             MI 48820‐8654
SAMPLE, MARK A             2744 COLONY LAKE WEST DR                                                             PLAINFIELD         IN 46168‐8836
SAMPLE, MICHAEL R          781 HUNTERS PL                                                                       PROSPER            TX 75078‐8446
SAMPLE, MILBRA             1135 E SCENIC ST                                                                     APACHE JUNCTION    AZ 85219‐4131
SAMPLE, MILDRED M          6009 MAPLEWOOD DR                                                                    INDIANAPOLIS       IN 46224
SAMPLE, OLGA N             842 CEDAR WAY                                                                        BOARDMAN           OH 44512‐5109
SAMPLE, OLGA N             842 CEDER WAY                                                                        BOARDMAN           OH 44512‐4512
SAMPLE, OTIS W             3905 EAST BETHEL LANE                                                                BLOOMINGTON        IN 47408‐9509
SAMPLE, PAUL G             49081 DUNHILL DR                                                                     MACOMB             MI 48044‐1738
SAMPLE, PENNE J            2326 W KING ST                                                                       KOKOMO             IN 46901‐5080
SAMPLE, PENNE J            2326 WEST KING                                                                       KOKOMO             IN 46901‐5080
SAMPLE, PHILLIP D          6810 W RYAN DR                                                                       ANDERSON           IN 46011‐9105
SAMPLE, RICHARD W          2425 E BROADWAY                                                                      LOGANSPORT         IN 46947‐2056
SAMPLE, ROBERT             PO BOX 7148                                                                          BALTIMORE          MD 21218‐0148
SAMPLE, ROBERT L           322 SYLVAN RD                                                                        ANDERSON           IN 46012‐3818
SAMPLE, ROBERT W           15550 BURNT STORE RD LOT 58                                                          PUNTA GORDA        FL 33955‐9351
SAMPLE, RONALD E           1129 W 1200 S‐90                                                                     MONTPELIER         IN 47359‐9555
SAMPLE, RONALD E           1414 E COUNTY ROAD 1000 S                                                            CLOVERDALE         IN 46120‐8894
SAMPLE, RONALD ERIC        1129 W 1200 S‐90                                                                     MONTPELIER         IN 47359‐9555
SAMPLE, RUBY L             15844 SANDBURG ST                                                                    ROMULUS            MI 48174‐3145
SAMPLE, RUSSELL J          657 ROYAL VIEW DR                                                                    LANCASTER          PA 17601‐2873
SAMPLE, THOMAS J           3616 W.‐CO.RD. 250 S.                                                                KOKOMO             IN 46902
SAMPLE, WILLIAM C          3617 WABASH AVE                                                                      BALTIMORE          MD 21215‐7435
SAMPLE, WILLIAM S          4285 N 400 W                                                                         ANDERSON           IN 46011‐9294
SAMPLE, WINIFRED B         44 FRANKLIN ST                                                                       NORTH VERNON       IN 47265‐1052
SAMPLER, DAVID             PO BOX 55                                                                            MT PLEASANT        TN 38474‐0055
SAMPLER, GARY C            840 HOLLONVILLE ROAD                                                                 BROOKS             GA 30205
SAMPLER, JACK N            1595 HIGHWAY 85 CONNECTOR                                                            BROOKS             GA 30205‐2203
SAMPLES JR, KESTER K       687 POPLAR ST                                                                        ELYRIA             OH 44035‐4052
SAMPLES JR, OSCAR D        1015 DERRINGER DR                                                                    ENGLEWOOD          OH 45322‐2463
SAMPLES WILLIAM            27 CHARLES LN                                                                        PONTIAC            MI 48341‐2926
SAMPLES, ANNIE B           402 SAMARITAN DR                                                                     CUMMING            GA 30040‐2327
SAMPLES, BILLY L           119 CHERRYWOOD RD                                                                    WOODRUFF           SC 29388‐7611
SAMPLES, CLARENCE          4176 SILVER MAPLE LN                                                                 SWARTZ CREEK       MI 48473‐1559
SAMPLES, CLARENCE EUGENE   TRACY FIRM                      5473 BLAIR RD STE 200                                DALLAS             TX 75231‐4168
SAMPLES, DAVID L           709 COPPERFIELD LN                                                                   TIPP CITY          OH 45371‐8806
SAMPLES, EVELYN P          PO BOX 19                                                                            IRONS              MI 49644‐0019
SAMPLES, GARY K            PO BOX 601                                                                           DAWSONVILLE        GA 30534‐0012
SAMPLES, H C               5115 AUDUBON DR                                                                      GAINESVILLE        GA 30504‐8106
SAMPLES, HERSHELL J        5042 WHITES MILL DR                                                                  GAINESVILLE        GA 30504‐8162
SAMPLES, IRA L             218 WASHINGTON ST                                                                    HAMILTON           OH 45011‐3263
SAMPLES, JAMES L           1691 N STATE ROAD 39                                                                 DANVILLE           IN 46122‐8212
SAMPLES, JERRY R           2126 BRADY AVE                                                                       BURTON             MI 48529‐2425
SAMPLES, JOHNETTA M        3120 BLOOMFIELD LANE APT 1011                                                        AUBURN HILLS       MI 48326‐3640
SAMPLES, KATINA J          PO BOX 430391                                                                        PONTIAC            MI 48343‐0391
SAMPLES, KESTER K          35184 ELM RD                                                                         GRAFTON            OH 44044‐9516
SAMPLES, LAHTI G           709 COPPERFIELD LN                                                                   TIPP CITY          OH 45371‐8806
SAMPLES, LARRY E           52971 STATE ROUTE 113                                                                WAKEMAN            OH 44889‐8325
SAMPLES, LENA              PO BOX 432153                   C/O ROBBIE NNDEM                                     PONTIAC            MI 48343‐2153
SAMPLES, LILLIAN D         511 20TH ST                                                                          DUNBAR             WV 25064
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Name                             Address1                        Address2                      Address3   Address4                 City               State Zip
SAMPLES, MANSFIELD C             609 S DEEPWOOD DR                                                                                 RADCLIFF            KY 40160‐2325
SAMPLES, MARCIA A                10459 AARON DR                                                                                    PARMA               OH 44130‐1350
SAMPLES, MARCIA A                10459 ARRON DR                                                                                    PARMA               OH 44130‐1350
SAMPLES, MARGARET                16699 MERRIMAN RD                                                                                 LIVONIA             MI 48154‐3161
SAMPLES, NELL
SAMPLES, PHILLIP W               PO BOX 3081                                                                                       CUMMING            GA   30028‐6515
SAMPLES, ROBERT                  16699 MERRIMAN                                                                                    LIVONIA            MI   48154‐3161
SAMPLES, ROBERT                  BRAYTON PURCELL                 PO BOX 6169                                                       NOVATO             CA   94948‐6169
SAMPLES, RUTH M                  20370 KINGS CREST BLVD APT 1                                                                      HAGERSTOWN         MD   21742‐8182
SAMPLES, THELMA G                571 VETERANS MEMORIAL BLVD                                                                        CUMMING            GA   30040‐2742
SAMPLES, THERON O                349 CAMPBELL ST                                                                                   LAWRENCEVILLE      GA   30045‐6053
SAMPLES, THERON T                4215 SMITHSONIA DR                                                                                TUCKER             GA   30084‐2614
SAMPLES, THERON TONY             4215 SMITHSONIA DR                                                                                TUCKER             GA   30084‐2614
SAMPLES, WILLIAM L               27 CHARLES LN                                                                                     PONTIAC            MI   48341‐2926
SAMPLES, WYNELL H                517 EASTSIDE DR                                                                                   DACULA             GA   30019‐1449
SAMPLEY, BENNY E                 331MCCLURE BLVD                                                                                   MOORESVILLE        IN   46159‐7904
SAMPLEY, JASMINE                 SEXTON SAM III                  PO BOX 1971                                                       FORT SMITH         AR   72902‐1971
SAMPLEY, JASMINE                 GEAN GEAN & GEAN                511 GARRISON AVE                                                  FORT SMITH         AR   72901‐2506
SAMPLING BAG TECHNOLOGIES LLC    24610 W WARREN ST                                                                                 DEARBORN HEIGHTS   MI   48127‐2107
SAMPLO, ANNA L                   32611 CAMBRIDGE                                                                                   GARDEN CITY        MI   48135‐1606
SAMPOGNARO, VINCENT J            912 SPRUCE ST                                                                                     WAVELAND           MS   39576
SAMPON, SHIRLEY A                12701 W CORTEZ DR                                                                                 NEW BERLIN         WI   53151‐8205
SAMPSELL, GARY W                 82751 WALDRON DR                                                                                  LAWTON             MI   49065‐9236
SAMPSON C ISON                   208 W CORNELL AVE                                                                                 PONTIAC            MI   48340‐2724
SAMPSON COUNTY TAX COLLECTOR     PO BOX 207                                                                                        CLINTON            NC   28329‐0207
SAMPSON E GREEN                  187 WHITE RABBIT TRAIL                                                                            ROCHESTER          NY   14612‐2860
SAMPSON HARRIS                   20443 MEYERS RD                                                                                   DETROIT            MI   48235‐1108
SAMPSON HENRY C (629831)         GUY WILLIAM S                   PO BOX 509                                                        MCCOMB             MS   39649‐0509
SAMPSON IRA                      1805 WELLINGTON HILLS CIR                                                                         SALISBURY          NC   28147
SAMPSON IRBY JR                  3678 HAVENS LN                                                                                    AUBURN HILLS       MI   48326‐3353
SAMPSON ISON                     208 W CORNELL AVE                                                                                 PONTIAC            MI   48340‐2724
SAMPSON JOSEPH R (439479)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510
                                                                 STREET, SUITE 600
SAMPSON JR, AARON J              6733 CHERRYWOOD TRL                                                                               MONTGOMERY         AL   36117‐4782
SAMPSON JR, FRANCIS J            6666 PONDFIELD LN                                                                                 MASON              OH   45040‐8524
SAMPSON KEY                      4026 KETCHAM ST                                                                                   SAGINAW            MI   48601‐4165
SAMPSON LEE ANN                  SAMPSON, LEE ANN                7645 SAMUEL DR                                                    INDIANAPOLIS       IN   46259
SAMPSON MARSHA                   SAMPSON, MARSHA                 2316 ROBIN HOOD RD                                                MACON              GA   31206
SAMPSON MCDOUGALL BARRISTERS &   ATTN: TONY MOZVIK               66 WENTWORTH ST STE 200                  SYDNEY NOVA SCOTIA B1P
SOLICITORS                                                                                                6T4
SAMPSON MITCHELL                 2137 CHESTERFIELD LOOP                                                                            CHESAPEAKE         VA   23323‐6663
SAMPSON ROBERSON                 8723 SKYLINE DR                                                                                   DALLAS             TX   75243‐4131
SAMPSON SPRY III                 2855 FISHBECK RD                                                                                  HOWELL             MI   48843‐7886
SAMPSON TALBERT                  19945 MACKAY ST                                                                                   DETROIT            MI   48234‐1447
SAMPSON WILLIAM M (629832)       GUY WILLIAM S                   PO BOX 509                                                        MCCOMB             MS   39649‐0509
SAMPSON WILLIAMS                 6557 RUSTIC RIDGE TRL                                                                             GRAND BLANC        MI   48439‐4954
SAMPSON, ALAN L                  118 MAIN ST                                                                                       DEFIANCE           OH   43512‐2314
SAMPSON, ALLAN D                 2947 N COUNTY RD E                                                                                JANESVILLE         WI   53548‐8939
SAMPSON, ALLAN D                 2947 NORTH COUNTY ROAD EAST                                                                       JANESVILLE         WI   53548‐8939
SAMPSON, ALLAN D                 2947 N COUNTY E                                                                                   JANESVILLE         WI   53548
SAMPSON, ALONZO                  340 BARBARA LN                                                                                    SAGINAW            MI   48601‐9487
SAMPSON, ANNE K                  740 LELAND AVE                                                                                    DAYTON             OH   45402‐5306
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Name                   Address1                       Address2            Address3         Address4         City            State Zip
SAMPSON, ANNE K        740 NORTH LELAND AVE                                                                 DAYTON           OH 45407‐1306
SAMPSON, ANNIE
SAMPSON, ANTHONY J     58159 CHURCH DR                                                                      THREE RIVERS    MI   49093
SAMPSON, BARBARA       507 S LINWOOD AVE                                                                    BALTIMORE       MD   21224‐3826
SAMPSON, BETTY         2222 RED BANKS DR                                                                    YOUNG HARRIS    GA   30582‐1912
SAMPSON, BETTY M       811 OSSINGTON                                                                        FLINT           MI   48507‐1639
SAMPSON, BETTY M       811 OSSINGTON AVE                                                                    FLINT           MI   48507‐1639
SAMPSON, BILLY L       1836 S HEDGES AVE                                                                    INDEPENDENCE    MO   64052‐2038
SAMPSON, BOBBY L       25 DAWNHAVEN DR                                                                      ROCHESTER       NY   14624‐1630
SAMPSON, BRANDI K      261 GLEN GARRY ROAD                                                                  SAINT LOUIS     MO   63137‐3858
SAMPSON, BRENDA        9011 NEVADA AVE                                                                      SMYRNA          TN   37167
SAMPSON, BRIAN A       2330 GALE RD                                                                         ANN ARBOR       MI   48105‐9328
SAMPSON, BRIAN L       4835 WALDON RD                                                                       CLARKSTON       MI   48348‐5017
SAMPSON, BURLEAN J     P O BOX 348                                                                          CANTON          MS   39046‐9046
SAMPSON, CARA E        811 OSSINGTON AVE                                                                    FLINT           MI   48507‐1639
SAMPSON, CAROLINE C    3267 PRAIRIE GARDENS CT                                                              HILLIARD        OH   43026‐3818
SAMPSON, CHARLES S     2381 MARR ROAD                                                                       PULASKI         PA   16143‐3313
SAMPSON, CHARLES W     801 NEGAUNEE LAKE DR                                                                 EVART           MI   49631‐8730
SAMPSON, CHRISTINA J   12239 DENTONVIEW DR                                                                  FENTON          MI   48430‐2505
SAMPSON, CLARENCE D    6170 EDMUND ST                                                                       ROMULUS         MI   48174‐4402
SAMPSON, COLLEEN P     14116 WASHINGTON DRIVE                                                               PLYMOUTH        MI   48170
SAMPSON, DANIEL R      4083 GREENSBURG RD                                                                   MARTINSBURG     WV   25404‐0452
SAMPSON, DAVID S       2427 MARR ROAD                                                                       PULASKI         PA   16143‐3315
SAMPSON, DAVID S       2427 MARR RD                                                                         PULASKI         PA   16143‐3315
SAMPSON, DEBORAH D     19202 APPLETON ST APT A212                                                           DETROIT         MI   48219
SAMPSON, DONALD E      1440 RIDGE ST SE                                                                     MINERAL RIDGE   OH   44440‐9788
SAMPSON, DONALD F      1180 BUFFALO RD 3                                                                    ROCHESTER       NY   14624
SAMPSON, DORIS         1027 WALDEN COURT                                                                    BOLINGBROOK     IL   60440‐1414
SAMPSON, DORIS         1027 WALDEN CT                                                                       BOLINGBROOK     IL   60440‐1414
SAMPSON, DORIS E       1045 LORENE AVE                                                                      MT MORRIS       MI   48458‐2111
SAMPSON, EDWIN         116 BUSHEY AVE                                                                       YONKERS         NY   10710‐5508
SAMPSON, ERICA         517 FENTON ST                                                                        LANSING         MI   48910‐4532
SAMPSON, ERNEST E      3177 HAVENWOOD DR                                                                    WHITE LAKE      MI   48383‐3907
SAMPSON, FLOYD C       629 STONE ST                                                                         MONROE          MI   48161‐1669
SAMPSON, FREDDIE M     1309 S 7TH AVE FL 1ST                                                                MAYWOOD         IL   60153‐2025
SAMPSON, GEORGE C      4599 BUNNEL LAKE DR                                                                  GOODRICH        MI   48438
SAMPSON, GEORGIA L     3801 EAST WINSTON STREET                                                             BLOOMINGTON     IN   47401‐4292
SAMPSON, GEORGIA L     3801 E WINSTON ST                                                                    BLOOMINGTON     IN   47401‐4292
SAMPSON, GLENDA        10937 CHAPEL WOODS BLVD N                                                            NOBLESVILLE     IN   46060
SAMPSON, GLENN A       3801 E WINSTON ST                                                                    BLOOMINGTON     IN   47401‐4292
SAMPSON, GLENN W       1773 25TH ST                                                                         CUYAHOGA FLS    OH   44223‐1013
SAMPSON, GLORIA J      4071 OCEANA AVE                                                                      WATERFORD       MI   48328‐1245
SAMPSON, HELEN H       621 E BALTIMORE BLVD                                                                 FLINT           MI   48505‐6404
SAMPSON, HELEN M       271 N LUDLOW ST                                                                      COVINGTON       OH   45318‐1727
SAMPSON, HELEN M       271 LUDLOW ST                                                                        COVINGTON       OH   45318‐1727
SAMPSON, HENRY C       GUY WILLIAM S                  PO BOX 509                                            MCCOMB          MS   39649‐0509
SAMPSON, HORACE E      18218 COYLE ST                                                                       DETROIT         MI   48235‐2827
SAMPSON, HOWARD G      2625 SE 20TH AVE                                                                     CAPE CORAL      FL   33904‐3228
SAMPSON, ILA R         6900 SUNSTRAND DR                                                                    KNOXVILLE       TN   37924‐3753
SAMPSON, JAMES A       2100 ADRIENNE DR                                                                     TROY            MI   48085‐3802
SAMPSON, JAMES H       5026 WATERFORD ROAD                                                                  CLARKSTON       MI   48346‐3459
SAMPSON, JAMES H.      5026 WATERFORD ROAD                                                                  CLARKSTON       MI   48346‐3459
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Name                          Address1                        Address2                      Address3   Address4         City               State Zip
SAMPSON, JAY A                24 CHARLES ST                                                                             BELMONT             MA 02478‐2366
SAMPSON, JEFFREY W            7249 S GREEN HILLS DR                                                                     SALINE              MI 48176‐9547
SAMPSON, JEFFREY WARD         7249 S GREEN HILLS DR                                                                     SALINE              MI 48176‐9547
SAMPSON, JESSE L              3614 DIXIE HWY                                                                            BEDFORD             IN 47421‐8241
SAMPSON, JESSE L              3614 DIXIE HIGHWAY                                                                        BEDFORD             IN 47421‐7421
SAMPSON, JOAN H               34740 MORAVIAN DR APT 104                                                                 STERLING HEIGHTS    MI 48312‐5417
SAMPSON, JOHN E               PO BOX 26113                                                                              LANSING             MI 48909‐6113
SAMPSON, JOHN E               18820 SE 12TH WAY                                                                         VANCOUVER           WA 98683
SAMPSON, JON R                187 COUGAR WAY                                                                            ROTONDA WEST        FL 33947‐2436
SAMPSON, JOSEPH R             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                              STREET, SUITE 600
SAMPSON, JUAL W               8659 HEATHER BLVD                                                                         WEEKI WACHEE       FL   34613‐7410
SAMPSON, JUSTIN               115 WATKINS AVE                                                                           LAWNSIDE           NJ   08045‐1533
SAMPSON, KEITH L              1926 VESTAVIA CT                                                                          ARLINGTON          TX   76018‐2579
SAMPSON, LARRY E              316 CAMELOT BLVD                                                                          FALLING WATERS     WV   25419‐3735
SAMPSON, LARY B               229 WELLINGTON ST                                                                         TRAVERSE CITY      MI   49686‐2609
SAMPSON, LEE ANN              7645 SAMUEL DR                                                                            INDIANAPOLIS       IN   46259‐9682
SAMPSON, LENARD               SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST         MS   39083‐3007
SAMPSON, LENZA O              2806 BONBRIGHT                                                                            FLINT              MI   48505
SAMPSON, LEONARD L            1510 MOUNT MERCY DR NW                                                                    GRAND RAPIDS       MI   49504‐4905
SAMPSON, LEONARD L            1010 EVERETT RD RT 2                                                                      HARRISVILLE        MI   48740
SAMPSON, LETRICIA M           9895 E BROOKS RD                                                                          LENNON             MI   48449‐9678
SAMPSON, LETRICIA MARIE       9895 E BROOKS RD                                                                          LENNON             MI   48449‐9678
SAMPSON, LORETTA A            604 DAKOTA AVE                                                                            NILES              OH   44446‐1034
SAMPSON, LORETTA A            604 DAKOTA AVENUE                                                                         NILES              OH   44446‐1034
SAMPSON, MARGIE G             9330 BARROW DR                                                                            CORDOVA            TN   38016
SAMPSON, MARILYN R            7260 HIGHBROOK CIR                                                                        CUMMING            GA   30041‐1462
SAMPSON, MARSHA               2316 ROBIN HOOD RD                                                                        MACON              GA   31206
SAMPSON, MARTHA               P.O. BOX 2427                                                                             TRAVERSE CITY      MI   49685
SAMPSON, MARTHA               PO BOX 2427                                                                               TRAVERSE CITY      MI   49685‐2427
SAMPSON, MARY                 2925 LONGVIEW ST                                                                          SAGINAW            MI   48601‐7603
SAMPSON, MARY                 2925 LONGVIEW AVE                                                                         SAGINAW            MI   48601‐7603
SAMPSON, MARY M               7415 LIBERTY WOODS LN APT 119                                                             CENTERVILLE        OH   45459‐3944
SAMPSON, MAXINE E             440 N GRAND MESA DR TRLR 7                                                                CEDAREDGE          CO   81413‐3308
SAMPSON, MAXINE E             440 7 N. GRAND MESA DRIVE                                                                 CEDAREDGE          CO   81413
SAMPSON, MERLLE W             2335 GEIGER RD                                                                            IDA                MI   48140‐9556
SAMPSON, MICHAEL C            43145 GOLDBERG DR                                                                         STERLING HTS       MI   48313‐1860
SAMPSON, MORRIS F             6936 CANDLEWICK WAY                                                                       FLORISSANT         MO   63033‐5113
SAMPSON, NANCY J              2335 GEIGER RD                                                                            IDA                MI   48140‐9556
SAMPSON, OLLIE M              361 MOORELAND RD                                                                          MONTGOMERY         AL   36104‐5470
SAMPSON, PARTHELIA H          4219 SCOTT HOLLOW RD                                                                      CULLEOKA           TN   38451‐3109
SAMPSON, PARTHELIA HATHAWAY   4219 SCOTT HOLLOW RD                                                                      CULLEOKA           TN   38451‐3109
SAMPSON, PATRICIA C           42857 SAVAGE RD                                                                           BELLEVILLE         MI   48111‐3094
SAMPSON, PATRICK D            9895 E BROOKS RD                                                                          LENNON             MI   48449‐9678
SAMPSON, RAY A                2036 MEROLLIS WALK APT D                                                                  SAINT LOUIS        MO   63136‐4253
SAMPSON, RAYMOND C            7154 NICHOLS RD                                                                           SWARTZ CREEK       MI   48473‐8517
SAMPSON, ROBERT C             902 S LINCOLN RD                                                                          BAY CITY           MI   48708‐9668
SAMPSON, ROBERT E             1739 TEANECK RD                                                                           TEANECK            NJ   07666‐3740
SAMPSON, ROBERT G             11047 RAY RD                                                                              GAINES             MI   48436‐8916
SAMPSON, ROBERT L             BOONE ALEXANDRA                 205 LINDA DR                                              DAINGERFIELD       TX   75638‐2107
SAMPSON, ROBERT O             11069 REID RD                                                                             SWARTZ CREEK       MI   48473‐8516
SAMPSON, ROBERT V             411 E 4TH ST                                                                              SALEM              OH   44460‐2831
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Name                               Address1                         Address2                        Address3   Address4         City               State Zip
SAMPSON, RODNEY L                  116 S PEARL ST                                                                               COVINGTON           OH 45318‐1504
SAMPSON, RONALD F                  42857 SAVAGE RD                                                                              BELLEVILLE          MI 48111‐3094
SAMPSON, ROSE                      137 MADISON ST                                                                               ELYRIA              OH 44035‐3345
SAMPSON, RUBY J                    2515 CROFTHILL DR                                                                            AUBURN HILLS        MI 48326‐3518
SAMPSON, SANDRA B                  2806 LYDIA ST SW                                                                             WARREN              OH 44481‐9686
SAMPSON, SHAWN P                   565 N WALNUT ST                                                                              JANESVILLE          WI 53548
SAMPSON, TAMARA A                  641 HULL AVE                                                                                 LEWISBURG           TN 37091‐3620
SAMPSON, THOMAS                    3814 CHERRY GROVE CT                                                                         PORT ORANGE         FL 32129‐8980
SAMPSON, THOMAS A                  4071 OCEANA AVE                                                                              WATERFORD           MI 48328‐1245
SAMPSON, THOMAS L                  1027 MINERS RUN                                                                              ROCHESTER           MI 48306‐4590
SAMPSON, THOMAS P                  6622 WINONA AVE                                                                              SAINT LOUIS         MO 63109
SAMPSON, THOMAS S                  725 N HEINCKE RD                                                                             MIAMISBURG          OH 45342‐2741
SAMPSON, UMECALAR S
SAMPSON, VIRGINIA P                309 MAPLE VALLEY RD                                                                          SANDUSKY           MI   48471‐9405
SAMPSON, WILFRED H                 14502 POND CYPRESS WAY                                                                       TAMPA              FL   33626‐3037
SAMPSON, WILLARD                   1264 JOHNSVILLE BROOKVILLE RD                                                                BROOKVILLE         OH   45309‐9380
SAMPSON, WILLIAM D                 3109 MALLERY ST                                                                              FLINT              MI   48504‐4100
SAMPSON, WILLIAM M                 GUY WILLIAM S                    PO BOX 509                                                  MCCOMB             MS   39649‐0509
SAMPSON, WILLIAM N                 1317 GLENELLE DR                                                                             DAYTON             OH   45408‐2437
SAMPSON, WILLIAM N                 1317 GLENNELLE DR                                                                            DAYTON             OH   45408‐2437
SAMPSON, WILLIAM N                 10823 EGRET CT                                                                               CHESTERFIELD       VA   23838‐8950
SAMPSON, WILLIE H                  9729 BALLYMORE DR                                                                            FORT WAYNE         IN   46835‐9397
SAMPSON,BRIAN L                    4835 WALDON RD                                                                               CLARKSTON          MI   48348‐5017
SAMRAH, ROBERT J                   6886 KILLARNEY DR                                                                            TROY               MI   48098
SAMRAH, YANRONG                    6503 CRABAPPLE                                                                               TROY               MI   48098‐1978
SAMRAT PERIWAL
SAMREEN BASHEER                    15706 HAVERHILL DR                                                                           MACOMB             MI   48044‐1941
SAMRETA, CHRISTINE M               8365 THISTLE LN APT A                                                                        LIBERTY TOWNSHIP   OH   45044‐1216
SAMRETA, CHRISTINE M.              8365 THISTLE LN APT A                                                                        LIBERTY TOWNSHIP   OH   45044‐1216
SAMROCK, DIANA                     1332 INDEPENDENCE DR                                                                         DERBY              NY   14047‐9554
SAMS AUTO SERVICE, INC.            431 W CARMEL DR                                                                              CARMEL             IN   46032‐2529
SAMS CHARLES R (346970)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510
                                                                    STREET, SUITE 600
SAMS CRYSTAL                       1047 FRANKLIN ST                                                                             HAMILTON           OH 45013‐2315
SAMS HORN, CYNETTE                 211 SHAGBARK TRL                                                                             SOMERVILLE         AL 35670‐3130
SAMS IRA (447481) ‐ SAMS IRA       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                                    PROFESSIONAL BLDG
SAMS JOHN G (626748)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                    STREET, SUITE 600
SAMS JR, RAWLIN A                  4197 SWEDEN WALKER RD                                                                        BROCKPORT          NY   14420‐2711
SAMS JR, WILBUR G                  5153 MONTGOMERY AVE                                                                          FRANKLIN           OH   45005‐1337
SAMS TOWING & TRANSPORT INC        7840 14TH AVE                                                                                SACRAMENTO         CA   95826‐4302
SAMS TRANSPORTATION SERVICES INC   PO BOX 496                                                                                   SHAW               MS   38773‐0496
SAMS, ALICE T                      2827 CATERHAM DR                                                                             WATERFORD          MI   48329‐2617
SAMS, ALVIN L                      1337 OVERBROOK AVE                                                                           YOUNGSTOWN         OH   44505‐1241
SAMS, ANITA M                      3705 FAIRFIELD LN                                                                            ANDERSON           IN   46012‐9629
SAMS, ANNA                         861 RAYSTON ST                                                                               DELTONA            FL   32725
SAMS, BETTY L                      201 EAST ELIZEBETH STREET        UNIT 208                                                    FENTON             MI   48430
SAMS, BETTY L                      201 E ELIZABETH ST APT 208                                                                   FENTON             MI   48430‐1588
SAMS, BEVERLY S                    607 PARK AVE                                                                                 EATON              OH   45320
SAMS, BILLY                        546 KOGER CIR DR                                                                             SOMERSET           KY   42501‐2501
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Name                Address1                           Address2                       Address3   Address4         City              State Zip
SAMS, CHARLES R     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510
                                                       STREET, SUITE 600
SAMS, CLARA E       GENERAL DELIVERY                                                                              MAMMOTH           WV   25132‐9999
SAMS, CLINTON       2003 ENOLAM BLVD SE                                                                           DECATUR           AL   35601‐4411
SAMS, CRYSTAL       1047 FRANKLIN ST                                                                              HAMILTON          OH   45013‐2315
SAMS, DARLENE A     4197 SWEDEN WALKER RD                                                                         BROCKPORT         NY   14420‐2711
SAMS, DENZIE        2825 N STATE HIGHWAY 360 APT 911                                                              GRAND PRAIRIE     TX   75050‐7856
SAMS, DON C         11355 24 MILE RD                                                                              SHELBY TOWNSHIP   MI   48316‐3719
SAMS, DONNA L       4132 MOULTON DR                                                                               FLINT             MI   48507‐5547
SAMS, DOROTHY       2825 N STATE HIGHWAY 360 APT 911                                                              GRAND PRAIRIE     TX   75050‐7856
SAMS, DOROTHY M     APT 911                            2825 NORTH STATE HIGHWAY 360                               GRAND PRAIRIE     TX   75050‐7856
SAMS, DWAYNE E      7625 SNOWFLAKE DR                                                                             INDIANAPOLIS      IN   46227‐8072
SAMS, EMMA D        7090 LINDALE DR                                                                               MOUNT MORRIS      MI   48458‐9737
SAMS, ERNEST        1311 COFFEE AVE S                                                                             DOUGLAS           GA   31533‐4516
SAMS, ERNESTINE R   17583 SANTA ROSA                                                                              DETROIT           MI   48221‐2644
SAMS, EUGENE S      RR 2 BOX 14 2967 GOLDEN GATE DR                                                               SAN ANDREAS       CA   95249‐9538
SAMS, EUGENE S      RR 2 BOX 14                                                                                   SAN ANDREAS       CA   95249
SAMS, GARY O        4701 WIRE DR                                                                                  DAYTON            OH   45414‐4836
SAMS, GERTRUDE      29021 VAN LAAN DR                                                                             WARREN            MI   48092‐2230
SAMS, HARRY T       13 EMERICK RD                                                                                 WEST MILTON       OH   45383‐1361
SAMS, HELEN D       1442 HENDRICKS AVE                                                                            DALLAS            TX   75216‐1308
SAMS, HERSHEL L     556 FOXCREEK DR                                                                               LEHIGH ACRES      FL   33974‐5966
SAMS, HIRAM J       635 ROBBINS ST                                                                                HOPE              IN   47246‐1119
SAMS, HIRAM J.      635 ROBBINS ST                                                                                HOPE              IN   47246‐1119
SAMS, JERRY L       2827 CATERHAM DR                                                                              WATERFORD         MI   48329‐2617
SAMS, JERRY R       1676 NORDEN RD                                                                                RIVERDALE         GA   30296‐2519
SAMS, JOHN G        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510‐2212
                                                       STREET, SUITE 600
SAMS, JUDITH A      24127 W OTTAWA ST                                                                             PLAINFIELD        IL   60544‐2915
SAMS, KEITH D       5298 HIGHWAY C                                                                                FRANKFORD         MO   63441‐2502
SAMS, KENNETH       PO BOX 138                                                                                    WALLACE           CA   95254‐0138
SAMS, LELA M        8466 VILLAGE DRIVE                                                                            FLORENCE          KY   41042
SAMS, LEONARD       403 MAPLE HILL DR                                                                             MADISON           IN   47250‐2657
SAMS, LYDIA A       APT 405                            14201 2ND AVENUE                                           HIGHLAND PARK     MI   48203‐3743
SAMS, MACK E        3705 FAIRFIELD LN                                                                             ANDERSON          IN   46012‐9629
SAMS, MAMIE R       2390 ITASCA DR                                                                                NESBIT            MS   38651‐9463
SAMS, MARLENE       18465 WESTPHALIA ST                                                                           DETROIT           MI   48205‐2642
SAMS, MARY L.       843 N 11TH ST                                                                                 MIAMISBURG        OH   45342‐1923
SAMS, MARY L.       843 N. 11TH STREET                                                                            MIAMISBURG        OH   45342‐1923
SAMS, MICHAEL W     1111 BEAR CREEK PIKE                                                                          COLUMBIA          TN   38401‐6732
SAMS, NICOLE L      46869 EDGEWATER DR                                                                            MACOMB            MI   48044‐3596
SAMS, NORMA W       1603 WOODMAN DR                                                                               DAYTON            OH   45432‐3323
SAMS, NORMAN L      1244 DOUGLAS FIR DR                                                                           HOWELL            MI   48843‐9703
SAMS, OSWALD L      7090 LINDALE DR                                                                               MOUNT MORRIS      MI   48458‐9737
SAMS, PAUL          WATERS & KRAUS                     3219 MCKINNEY AVE ‐ STE 3000                               DALLAS            TX   75204
SAMS, ROBERT        1616 TURF DR                                                                                  DALLAS            TX   75217‐2217
SAMS, ROBERT A      10705 MASSIE AVE                                                                              CLEVELAND         OH   44108‐3651
SAMS, ROCHEL L      PO BOX 126                                                                                    ARCADIA           IN   46030‐0126
SAMS, RONDEL D      90 LAKESIDE ST                                                                                PONTIAC           MI   48340‐2525
SAMS, ROY D         138 SYDNEY ST                                                                                 HUNTSVILLE        AL   35811‐9481
SAMS, SONYA F       2991 OLD DOWNING MILL RD                                                                      ANNISTON          AL   36207
SAMS, STEVEN R      3281 MARATHON RD                                                                              COLUMBIAVILLE     MI   48421‐8974
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Name                         Address1                           Address2                     Address3   Address4         City                 State Zip
SAMS, WILLIAM B              226 MILLER AVE                                                                              EATON                 OH 45320‐1039
SAMS, WILLIAM E              5608 MAPLEBROOK LANE                                                                        FLINT                 MI 48507‐4134
SAMS, WILLIE J               3431 RONALD ST                                                                              LANSING               MI 48911‐2646
SAMS, WILMA J                PO BOX 76                                                                                   BROUGHTON              IL 62817‐0076
SAMSA, MARY                  1430 CAMINO ROBLES WAY                                                                      SAN JOSE              CA 95120‐4904
SAMSEL, DAVID J              383 GLEN HILLS RD                                                                           MERIDEN               CT 06451‐3847
SAMSEL, WESLEY W             227 REGENT RD                                                                               HARRISBURG            PA 17112‐3355
SAMSOMATIC/PLYMOUTH          PO BOX 1426                                                                                 CALDWELL              NJ 07007‐1426
SAMSON CONTROLS INC          4111 CEDAR BLVD                                                                             BAYTOWN               TX 77523‐8588
SAMSON HILTZ                 4720 KOCHVILLE RD                                                                           SAGINAW               MI 48604‐9237
SAMSON III, MATHIAS M        16 BLYTH CT                                                                                 PALM COAST            FL 32137‐7303
SAMSON JACKIE                1800 ROUTE 130 N                                                                            BURLINGTON            NJ 08016‐3017
SAMSON JOHN A (440353)       BILMS KEVIN P                      430 CRAWFORD ST STE 202                                  PORTSMOUTH            VA 23704‐3813
SAMSON JR, GEORGE R          PO BOX 3731                                                                                 NORTH MYRTLE BEACH    SC 29582‐0731
SAMSON JR, ROBERT L          102 DALLAS DR                                                                               HURRICANE             WV 25526‐8904
SAMSON MURRY JR              6297 HIGHLAND AVE SW                                                                        WARREN                OH 44481‐8610
SAMSON NERO                  18557 PATTON ST                                                                             DETROIT               MI 48219‐5202
SAMSON R HILTZ               4720 KOCHVILLE RD                                                                           SAGINAW               MI 48604‐9237
SAMSON RESOURCES             2 W 2BD STREET WILLIAMS TOWER II                                                            TULSA                 OK 74103
SAMSON RESOURCES             2 W 2ND ST SAMSON PLAZA                                                                     TULSA                 OK 74103
SAMSON RESOURCES             2 W 2ND STREET WILLIAMS TOWER II                                                            TULSA                 OK 74103
SAMSON RESOURCES             SCOTT WATTS                        2 W 2ND ST SAMSON PLAZA                                  TULSA                 OK
SAMSON SR, ROBERT M          657 COLVIN BLVD                    APT 606                                                  BUFFALO               NY 14217‐2850
SAMSON TOURS INC             CARLOCK COPELAND & STAIR LLP       2600 MARQUIS TWO TOWER 285                               ATLANTA               GA 30303‐1235
                                                                PEACHTREE CENTER AVENUE NE
SAMSON TOURS INC             LANCER INSURANCE COMPANY           2600 MARQUIS TWO TOWER 285                               ATLANTA              GA 30303
                                                                PEACHTREE CENTER AVENUE NE
SAMSON TOURS INC             2600 MARQUIS TWO TOWER 285                                                                  ATLANTA              GA 30303
                             PEACHTREE CENTER AVENUE NE
SAMSON TOURS INC             SAMSON TRAILWAYS                   2600 MARQUIS TWO TOWER 285                               ATLANTA              GA 30303
                                                                PEACHTREE CENTER AVENUE NE
SAMSON TRAILWAYS             CARLOCK COPELAND & STAIR LLP       2600 MARQUIS TWO TOWER 285                               ATLANTA              GA 30303‐1235
                                                                PEACHTREE CENTER AVENUE NE
SAMSON TRANSPORT (USA) INC   441 SCHILLER ST                                                                             ELIZABETH            NJ   07206‐2112
SAMSON, CLARENCE E           181 S EIFERT RD                                                                             MASON                MI   48854‐9511
SAMSON, DAVID G              546 BROWN RD                                                                                DANVILLE             IL   61832‐7706
SAMSON, DOYE F               4491 SINGLE TREE DR                                                                         HOWELL               MI   48843‐7298
SAMSON, DUAINE H             498 VELMA AVE                                                                               OWOSSO               MI   48867‐9491
SAMSON, ELEANOR J            16400 UPTON ROAD                   DUTCH HILL'S LOT #66                                     EAST LANSING         MI   48823‐9304
SAMSON, FRANK J              5140 N M‐52                                                                                 OWOSSO               MI   48867
SAMSON, GARY L               11160 LADYSLIPPER LN                                                                        SAGINAW              MI   48609‐8826
SAMSON, GEORGE R             14 WREN AVE                                                                                 LANCASTER            NY   14086‐1718
SAMSON, HUGH                 7434 MCKINLEY ST                                                                            MENTOR               OH   44060‐4714
SAMSON, JERRY D              501 E GRAND RIVER AVE                                                                       WILLIAMSTON          MI   48895‐1531
SAMSON, JOHN A               BILMS KEVIN P                      430 CRAWFORD ST STE 202                                  PORTSMOUTH           VA   23704‐3813
SAMSON, JOSEPH M             4212 LAKEVIEW E                                                                             SAGINAW              MI   48603‐4253
SAMSON, LAURENCE J           6291 W LAIDLAW RD                                                                           WHITTEMORE           MI   48770‐9453
SAMSON, LEWIS T              5679 KINNEVILLE RD                                                                          EATON RAPIDS         MI   48827‐9607
SAMSON, LLOYD L              3901 EASY ST                                                                                ALVARADO             TX   76009‐6004
SAMSON, LOUISE B             5710 KINNEVILLE RD                                                                          EATON RAPIDS         MI   48827‐9607
SAMSON, MARCELLE M           8401 BYRON AVE APT 6                                                                        MIAMI BEACH          FL   33141
SAMSON, MICHAEL A            7270 BROCKWAY RD                                                                            BROCKWAY             MI   48097‐3800
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Name                                  Address1                           Address2                        Address3                   Address4                City              State Zip
SAMSON, NICK J                        7657 WESSELMAN RD                                                                                                     CLEVES             OH 45002‐8605
SAMSON, PHILLIP R                     2751 PLAINS RD                                                                                                        MASON              MI 48854‐9213
SAMSON, RICHARD J                     10905 W TITTABAWASSEE RD                                                                                              FREELAND           MI 48623‐9228
SAMSON, ROY A                         165C CROSS ROAD                                                                                                       DUNLAP             TN 37327‐6820
SAMSON, TRACY                         PO BOX 387                         9207 W CENTREVILLE ROAD                                                            RUSHFORD           NY 14777‐0387
SAMSON, WENDELL L                     149 SHAWNEE EST                                                                                                       WINFIELD           WV 25213‐9709
SAMSONOW, MICHAEL H                   45800 W ANN ARBOR TRL                                                                                                 PLYMOUTH           MI 48170‐3532
SAMSONOW, MICHAEL HENRY               45800 W ANN ARBOR TRL                                                                                                 PLYMOUTH           MI 48170‐3532
SAMSONOW, STANISLAW                   36720 COLBY AVE                    C/O LINDA ACKLEY                                                                   BARSTOW            CA 92311‐1623
SAMSUNDAR, DAVID G                    47046 EASTBOURNE RD                                                                                                   CANTON             MI 48188‐3023
SAMSUNG                               935 NATIONAL PKWY                  STE 93520                                                                          SCHAUMBURG          IL 60173‐5154
SAMSUNG CORP                                                             3345 MICHELSON DRIVE                                                                                  CA 92612
SAMSUNG ELECRO MECHANICS AMERICA      245 BARCLAY CIR STE 1000                                                                                              ROCHESTER HILLS    MI 48307‐5813
INC
SAMSUNG INDUSTRIAL CO LTD             618 NAMCHON‐DONG NAMDONG‐GU        IN CHEON 405‐100                                           KOREA SOUTH KOREA
SAMSUNG INDUSTRIAL CO LTD             1645 2 SORYONG‐DONG GUNSAN‐SI                                                                 JEOLLABUK‐DO 573400
                                                                                                                                    KOREA (REP)
SAMSUNG METAL CO LTD                  977‐2 GEUMSAN‐RI WAEGWAN‐UP        CHILGOK‐GUN GYEONGSANGBUK‐                                 GYEONGSANGBUK‐DO 780‐
                                                                         DO                                                         935 SOUTH KOREA
SAMSUNG METAL CO LTD                  997 2 KEUMSAN RI WAEKWAN UP        GYUNGBUK                                                   CHILGOK 718 802 KOREA
                                                                                                                                    (REP)
SAMSUNG SDI CO LTD                    575 SHIN‐DONG YOUNGTONG‐GU         SUWON‐SI GYEONGGI‐DO 445‐970                               KOREA SOUTH KOREA

SAMSUNG/IRVINE                        3345 MICHELSON DR STE 350                                                                                             IRVINE            CA    92612‐8883
SAMTEC INC                            520 PARK EAST BLVD                                                                                                    NEW ALBANY        IN    47150‐7251
SAMU, BILL A                          12454 BIRCH RUN RD                                                                                                    BIRCH RUN         MI    48415‐9350
SAMU, JOHN J                          1206 CHICKASAW DR                                                                                                     BRENTWOOD         TN    37027‐7448
SAMU, JOHN S                          11449 DAMPIER COURT                                                                                                   NEW PORT RICHEY   FL    34654‐4654
SAMU, JOSEPH L                        12310 BIRCH RUN RD                                                                                                    BIRCH RUN         MI    48415‐9351
SAMU, MICHAEL A                       205 ELTON AVE                                                                                                         YARDVILLE         NJ    08620‐1001
SAMU, SHEILA A                        1739 COLWOOD RD                                                                                                       CARO              MI    48723‐9101
SAMUAL VLERS                          BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                                         BOSTON HEIGTHS    OH    44236
SAMUDA, HAROLD                        1922 GARDNER AVE                                                                                                      LEHIGH ACRES      FL    33936‐5353
SAMUDIA, CYNTHIA ELIDA
SAMUDIA, JONATHAN
SAMUDIA, MARIA MAGDELENA
SAMUDIA, RALPH                        WATTS LAW FIRM                     BANK OF AMERICA PLAZA ‐ SUITE                                                      SAN ANTONIO        TX   78205
                                                                         100 ‐ 300 CONVENT STREET
SAMUDIO, ALCARIO LEE                  1315 MONTE CARLO DR                                                                                                   HUNTERTOWN         IN   46748‐9108
SAMUDIO, LEE J                        6514 BELLE ISLE PL                                                                                                    FORT WAYNE         IN   46835‐1355
SAMUEL & DELICIA CANTU AS PERSONAL    THE ESTATE OF JAMIE CHRISTOPHER    ATTN JOSH W HOPKINS ET AL       802 NORTH CARANCAHUA STE                           CORPUS CHRISTI     TX   78470‐0116
REPS OF                               CANTU DECEASED                                                     900
SAMUEL & SON CO LTD. BURLINGTON       PATRICK MALONEY                    1250 APPLEBY LINE                                          BURLINGTON ON L7L 5G6
                                                                                                                                    CANADA
SAMUEL (12.22.03) (Z H ALFRED LENZ)   ALFRED LENZ                        MONREALER STR 17                                           56761 DUNGENHEIM
                                                                                                                                    GERMANY
SAMUEL A AND JANET E STROHL           C/O SAMUEL A STROHL                RR 1 BOX 259                                                                       SHELBYVILLE       IL 62565
SAMUEL A BARTON                       3976 MARION DR                                                                                                        ENON              OH 45323‐1417
SAMUEL A BLYTHE                       C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                                          HOUSTON           TX 77007
                                      BOUNDAS LLP
SAMUEL A BOWLING                      3631 SCENIC HEIGHTS DR                                                                                                GREENVILLE        OH 45331
SAMUEL A BRIDGES                      1201 N CENTRAL AVE                                                                                                    MUNCIE            IN 47303‐3314
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Name                                Address1                         Address2                          Address3   Address4             City            State Zip
SAMUEL A BUCKLEY                    PO BOX 14812                                                                                       SAGINAW          MI 48601‐0812
SAMUEL A CAMPBELL                   14 BOWDOIN DR                                                                                      MILFORD          MA 01757‐1235
SAMUEL A LEONARD                    4200 COASTAL PKWY                                                                                  WHITE LAKE       MI 48386
SAMUEL A LEONARD IRREVOCABLE LIFE   C/O SAMANTHA MYERS, CO‐TRUSTEE   1905 E DAVISBURG ROAD                                             HOLLY            MI 48442
INSURANCE TRUST
SAMUEL A LONG                       68 WEST WATERBURY DR                                                                               SPRINGBORO      OH   45066
SAMUEL A LOWE                       1839 POSEY ROAD                                                                                    GADSDEN         AL   35903‐6812
SAMUEL A LUCAS                      4428 SILVER OAK ST                                                                                 DAYTON          OH   45424‐4644
SAMUEL A MELCHOR                    PO BOX 178                                                                                         BRIDGEPORT      MI   48722‐0178
SAMUEL A REPPY                      40 NORTH PLEASANT AVENUE                                                                           NILES           OH   44446‐1135
SAMUEL A RICHARDSON                 31 JOHNSON AVE                                                                                     CRANFORD        NJ   07016‐2639
SAMUEL A ROMANO                     238 SHORECLIFF DR                                                                                  ROCHESTER       NY   14612
SAMUEL A TOWE                       12000 OLD DAYTON RD                                                                                BROOKVILLE      OH   45309‐8359
SAMUEL A ZIEVIELLO                  36 CRAWFORD RD                                                                                     AUDUBON         PA   19407
SAMUEL A. LEONARD                   4200 COASTAL PKWY                                                                                  WHITE LAKE      MI   48386
SAMUEL A. MEKLIR                    ATTY FOR ELIZABETH LAWRENCE      2000 TOWN CENTER, #900                                            SOUTHFIELD      MI   48075
SAMUEL ABATE                        6256 13TH AVE                                                                                      MERIDIAN        MS   39305‐1253
SAMUEL ABDELLA                      12441 E CARPENTER RD                                                                               DAVISON         MI   48423‐9304
SAMUEL ABRAHAM                      8313 BRIDLE PL                                                                                     BRENTWOOD       TN   37027‐8128
SAMUEL ABSTON                       14433 MARK TWAIN ST                                                                                DETROIT         MI   48227‐4813
SAMUEL ACME STRAPPING SYS           743 WARDEN AVE                   RELEASE HOLD GEORGE 4‐2643                   SCARBOROUGH CANADA
                                                                                                                  ON M1L 4A9 CANADA
SAMUEL ADAIR                        2652 BLAKE RD                                                                                      WADSWORTH       OH   44281‐9594
SAMUEL ADAMS                        2401 MALDEN RD                                                                                     CLEVELAND       OH   44121‐1104
SAMUEL ADAMS JR                     169 MAPLELEAF DR                                                                                   AMHERST         NY   14221‐2752
SAMUEL AGUILAR                      2246 GARY RD                                                                                       MONTROSE        MI   48457‐9355
SAMUEL ALBA                         678 AUDREY DR APT 1                                                                                RAHWAY          NJ   07065‐3723
SAMUEL ALCANTAR                     1126 ASHFORD PLACE DR                                                                              O FALLON        MO   63366‐2002
SAMUEL ALEXANDER                    PO BOX 2685                                                                                        KANSAS CITY     KS   66110‐0685
SAMUEL ALLEN                        4100 FORT BRANCH DR                                                                                ARLINGTON       TX   76016‐3213
SAMUEL ALLEN                        PO BOX 18535                                                                                       SHREVEPORT      LA   71138‐1535
SAMUEL ALLEN                        1934 TAWNEY LN                                                                                     AVON            IN   46123‐9595
SAMUEL ALLEN                        PO BOX 123                                                                                         HARTSELLE       AL   35640‐0123
SAMUEL ALONSO                       10544 MARYLAND AVE                                                                                 REMINDERVILLE   OH   44202‐8504
SAMUEL AMOS JR                      2697 BEAL ST NW                                                                                    WARREN          OH   44485‐1205
SAMUEL ANCIC                        6183 GREENVIEW DR                                                                                  BURTON          MI   48509‐1314
SAMUEL ANCIRA                       1559 N CHEVROLET AVE                                                                               FLINT           MI   48504‐3166
SAMUEL ANDERSON                     78 HALBERT ST                                                                                      BUFFALO         NY   14214‐2417
SAMUEL ANDERSON JR                  5801 N AMES AVE                                                                                    KANSAS CITY     MO   64151‐2182
SAMUEL ANKTON                       860 DESOTO AVE                                                                                     YPSILANTI       MI   48198‐6118
SAMUEL ANSELM                       7651 WEATHERBY RD                                                                                  BURLESON        TX   76028‐1933
SAMUEL ANSPACH                      23361 MEADOWS AVE                                                                                  FLAT ROCK       MI   48134‐1455
SAMUEL ANTHONY                      99 BRIGHTON ST                                                                                     HIGHLAND PARK   MI   48203‐2536
SAMUEL ANTIS                        2530 E STATE ROUTE 266                                                                             STOCKPORT       OH   43787
SAMUEL APONTE                       6203 ST LEONARD DR                                                                                 ARLINGTON       TX   76001‐7848
SAMUEL AQUILINA                     21 BIRKDALE RD                                                                                     BUFFALO         NY   14225‐1615
SAMUEL ARGUINZONI                   123 SEABREEZE WAY                                                                                  KEANSBURG       NJ   07734
SAMUEL ARION                        1925 HARDEN BLVD LOT 266                                                                           LAKELAND        FL   33803‐1851
SAMUEL ARMS                         561 N FIVE LAKES RD                                                                                ATTICA          MI   48412‐9735
SAMUEL ARNOLD F JR (ESTATE OF)      COONEY & CONWAY                  120 NORTH LASALLE STREET , 30TH                                   CHICAGO         IL   60602
(654425)                                                             FLOOR
SAMUEL ARRINGTON                    3108 PRATT RD                                                                                      METAMORA        MI 48455‐9710
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Name                          Address1                        Address2                      Address3          Address4                 City            State Zip
SAMUEL ARTHUR                 2403 S JEFFERSON AVE                                                                                     SAGINAW          MI 48601‐3442
SAMUEL ARTINO                 207 ASHLAND AVE                                                                                          HURON            OH 44839‐1402
SAMUEL ARTZ                   110 VILLA DR                                                                                             NEW CARLISLE     OH 45344‐1745
SAMUEL ARTZ                   110 VILLA DRIVE                                                                                          NEW CARLISLE     OH 45344‐1745
SAMUEL ASHBY                  1423 WILHOIT RD                                                                                          CHUCKEY          TN 37641‐5955
SAMUEL ASHLEY                 930 GOLF VILLA DR                                                                                        OXFORD           MI 48371‐3698
SAMUEL ATWOOD JR              5121 PRIMROSE AVE                                                                                        INDIANAPOLIS     IN 46205‐1310
SAMUEL AUGUSTA                810 NOB HILL DR APT 3                                                                                    NILES            OH 44446‐4482
SAMUEL AUSBY                  PO BOX 1541                                                                                              BELLEVILLE       MI 48112‐1541
SAMUEL AUTOMOTIVE             PATRICK MALONEY                 2360 DIXIE RD                 POB 3155, LCD 4   MISSISSAUGA ON L4Y 1Z7
                                                                                                              CANADA
SAMUEL AVERY                  521 W LORADO AVE                                                                                         FLINT           MI   48505‐2092
SAMUEL AZAR                   54850 8 MILE RD                                                                                          NORTHVILLE      MI   48167‐9735
SAMUEL B & MARY B HUDSON      1835 LEE RD #379                                                                                         SMITH           AL   36877
SAMUEL B ALLEN                3606 BECKHAM DR                                                                                          SHREVEPORT      LA   71104
SAMUEL B HARDY III            9 FOX CREEK DR                                                                                           NORTH AUGUSTA   SC   29860‐9735
SAMUEL B HODGES               3081 LIBERTY ELLERTON RD                                                                                 DAYTON          OH   45418
SAMUEL B JORDAN               PO BOX 10068                                                                                             DAYTON          OH   45402
SAMUEL B KLOTZ                170 BONIFACE DR                                                                                          ROCHESTER       NY   14620‐3338
SAMUEL B NAYLOR               BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWWAY                                              BOSTON HTS      OH   44236

SAMUEL B PERRY                PO BOX 87                                                                                                W ALEXANDRIA    OH   45381‐0087
SAMUEL B PERRY                P O BOX 87                                                                                               W ALEXANDRIA    OH   45381
SAMUEL B POTEET               P O BOX 36                                                                                               GERMANTOWN      OH   45327‐0036
SAMUEL B POTEET JR            8727 CLEARCREEK FRANKLIN RD                                                                              SPRINGBORO      OH   45066
SAMUEL B PRYFOGLE             11425 W VIRGINIA AVE                                                                                     AVONDALE        AZ   85392‐5030
SAMUEL B REED                 7036 SANDALVIEW DR                                                                                       DAYTON          OH   45424‐2530
SAMUEL B TASTE                2021 WEST RIVERVIEW AVENUE                                                                               DAYTON          OH   45407‐1924
SAMUEL B WHEELER III          524 S JEFFERSON ST                                                                                       BEVERLY HILLS   FL   34465
SAMUEL B. TAFOYA
SAMUEL BABYAK                 214 NEWTON DRIVE                                                                                         NEWTON FALLS    OH   44444
SAMUEL BACA                   9167 CARRARI CT                                                                                          ALTA LOMA       CA   91737‐1557
SAMUEL BADAL JR               7678 LIONS GATE PKWY                                                                                     DAVISON         MI   48423‐3710
SAMUEL BADESSA                209 ROCK RD W                                                                                            LAMBERTVILLE    NJ   08530‐2808
SAMUEL BAIZ                   5060 TWIN LAKES RD                                                                                       CHEBOYGAN       MI   49721‐8015
SAMUEL BAKER                  5541 DOROTHY CT                                                                                          CARLISLE        OH   45005‐4167
SAMUEL BAKER                  102 WALLING GROVE RD                                                                                     BEAUFORT        SC   29907‐1000
SAMUEL BAKER                  9750 MIKE AND TONY RD                                                                                    MERRITT         MI   49667
SAMUEL BAKER                  39 GEORGE ST                                                                                             PERU            IN   46970‐1458
SAMUEL BAKER                  PO BOX 514                                                                                               ENGLEWOOD       FL   34295‐0514
SAMUEL BALDRIDGE              7532 NATALIE DR                                                                                          YPSILANTI       MI   48197‐6046
SAMUEL BALL                   3093 RAYWOOD ST                                                                                          FLINT           MI   48504‐1818
SAMUEL BALL                   2305 LIMERICK DR SW                                                                                      ATLANTA         GA   30331‐7819
SAMUEL BALLANO‐HOME FEDERAL   SAVINGS & LOAN ASSOC OF NILES   N MAIN ST BOX 311                                                        NILES           OH   44446
SAMUEL BALLINGER              3850 WOODVIEW DR                                                                                         TOLEDO          OH   43623‐1166
SAMUEL BALLOU                 224 MORNINGSIDE LN NE                                                                                    ABINGDON        VA   24210‐3935
SAMUEL BANKS                  1344 HONEYSUCKLE DR                                                                                      FAIRBORN        OH   45324‐5906
SAMUEL BARBATO                4778S MANNING RD                                                                                         HOLLEY          NY   14470
SAMUEL BARBER                 PO BOX 37                       11850 MAPLE ST                                                           ELMIRA          MI   49730‐0037
SAMUEL BARCLAY                120 PHYLLIS AVE                                                                                          BUFFALO         NY   14215‐2826
SAMUEL BARKER                 7179 NORMANDY DR                                                                                         PARMA           OH   44134‐5433
SAMUEL BARKER JR              8008 SAINT JOE RD                                                                                        FORT WAYNE      IN   46835‐1162
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Name                   Address1                        Address2                     Address3   Address4         City              State Zip
SAMUEL BARNA JR        14115 HUFF DR                                                                            WARREN             MI 48088‐6045
SAMUEL BARNES          PO BOX 200                                                                               CULLEOKA           TN 38451‐0200
SAMUEL BARNETT         24905 COUNTY ROAD 14                                                                     FLORENCE           AL 35633‐5427
SAMUEL BARNETT         PO BOX 265                                                                               CHINO              CA 91708‐0265
SAMUEL BARRICELLA      750 REGAL DR                                                                             AUSTINTOWN         OH 44515‐4362
SAMUEL BARRIENTES      1918 CHALICE WAY                                                                         TOLEDO             OH 43613‐2203
SAMUEL BARROW          712 ETHEL AVE                                                                            DAYTON             OH 45408
SAMUEL BARTON          3976 MARION DR                                                                           ENON               OH 45323‐1417
SAMUEL BASHANS         PO BOX 105                                                                               SAINT CHARLES      MI 48655‐0105
SAMUEL BASNER          1800 E M‐61                                                                              GLADWIN            MI 48624
SAMUEL BASS JR         18591 SAN QUENTIN DR                                                                     LATHRUP VILLAGE    MI 48076‐7809
SAMUEL BATES           16157 HARTWELL ST                                                                        DETROIT            MI 48235‐4237
SAMUEL BATTLES I I I   7007 NORTHVIEW DR                                                                        LOCKPORT           NY 14094‐5342
SAMUEL BEAL            6521 TOWNSHIP ROAD 84                                                                    MOUNT GILEAD       OH 43338‐9659
SAMUEL BEARD           24855 S LOHMAN RD                                                                        WRIGHT CITY        MO 63390‐5448
SAMUEL BEASLEY         203 STANFORD CT                                                                          HEATH              TX 75032‐6615
SAMUEL BEITLER JR      17711 BLUEBELL DR                                                                        HAGERSTOWN         MD 21740‐9128
SAMUEL BELL            2321 PEAR TREE LN                                                                        ARLINGTON          TX 76014
SAMUEL BELL            200 WOODHILLS LN                                                                         MITCHELL           IN 47446‐5464
SAMUEL BELLINO JR      1925 HARDEN BLVD LOT 302                                                                 LAKELAND           FL 33803‐1853
SAMUEL BEMENDERFER     421 W SILVER MEADOW DR                                                                   MIDWEST CITY       OK 73110‐3753
SAMUEL BENJAMIN        PO BOX 627                                                                               BELLE ROSE         LA 70341‐0627
SAMUEL BENNETT         1901 BLAKEWOOD CT                                                                        FALLSTON           MD 21047‐1542
SAMUEL BENNING JR      4632 BRITTANY CT                                                                         EVANS              GA 30809‐3894
SAMUEL BERENATO        9 JACOBSTOWN ARNEYTOWN RD                                                                WRIGHTSTOWN        NJ 08562‐2017
SAMUEL BESSEY          1900 S LORENZ RD                                                                         TAWAS CITY         MI 48763‐9578
SAMUEL BIGGERS         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH 44236
SAMUEL BINDER          218 ELYRIA ST                                                                            LODI               OH 44254‐1032
SAMUEL BIRACH          BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS     OH 44236
SAMUEL BISHOP          2720 CHEBI LN                                                                            DENTON             TX 76209‐1528
SAMUEL BISON           313 LEIGH LN                                                                             STONEWALL          LA 71078‐5414
SAMUEL BLACK           21831 COOLIDGE HIGHWAY                                                                   OAK PARK           MI 48237‐2805
SAMUEL BLACKSTONE JR   786 QUEENSTOWN RD                                                                        SEVERN             MD 21144‐1220
SAMUEL BLACKWELL       1899 HASTY RD                                                                            MARIETTA           GA 30062‐1951
SAMUEL BOBISH          PO BOX 7127                                                                              MOUNT JEWETT       PA 16740‐7127
SAMUEL BOBROFSKY       4111 ANDERSON DR                                                                         ALBION             MI 49224‐8546
SAMUEL BODY            5072 GARLAND ST                                                                          DETROIT            MI 48213‐3317
SAMUEL BOGGS           24 W COOK RD                                                                             MANSFIELD          OH 44907‐2402
SAMUEL BOGLE           209 E 7TH BOX 376                                                                        MATTHEWS           IN 46957
SAMUEL BOHL            10444 MARION ST                                                                          ENGLEWOOD          FL 34224‐8729
SAMUEL BOLES           BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH 44236
SAMUEL BOLTON          165 ANDREWS BLVD                                                                         PLAINFIELD         IN 46168‐7686
SAMUEL BOLTON          154 ORANGE AVE                                                                           DUNKIRK            IN 47336‐1532
SAMUEL BOOKER          3318 SANDLIN RD SW                                                                       DECATUR            AL 35603‐1378
SAMUEL BOWE            36681 GRAND RIVER AVE           APT 102                                                  FARMINGTON         MI 48335‐2958
SAMUEL BOYD            PO BOX 3461                                                                              ARIZONA CITY       AZ 85223‐0437
SAMUEL BOYNTON         203 N KENTUCKY AVE                                                                       MARTINSBURG        WV 25401‐2773
SAMUEL BOYNTON         411 FRAZIER ST                                                                           RIVER ROUGE        MI 48218‐1022
SAMUEL BRACKEN JR      PO BOX 452675                                                                            LOS ANGELES        CA 90045‐8536
SAMUEL BRADDOCK        505 BLUMHOFF AVE                                                                         WENTZVILLE         MO 63385‐1102
SAMUEL BRADLEY         3393 COFFEE SHOP ROAD                                                                    RIPLEY             TN 38063‐7427
SAMUEL BRADY           1034 GENESEE DR                                                                          YOUNGSTOWN         OH 44511‐1407
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Name                      Address1                         Address2                       Address3                  Address4         City            State Zip
SAMUEL BRAINARD           2102 WOLCOTT ST                                                                                            FLINT            MI 48504‐3458
SAMUEL BRANDT             669 S 3RD ST                                                                                               SHARPSVILLE      PA 16150‐1601
SAMUEL BREEDLOVE          956 STATE ROUTE 314 S                                                                                      MANSFIELD        OH 44903‐7732
SAMUEL BREWER             240 OAK GROVE RD                                                                                           MARTINSVILLE     OH 45146‐8011
SAMUEL BREWER             4910 BILLIE LYNN RD                                                                                        CASEVILLE        MI 48725
SAMUEL BREWER             BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS.      OH 44236
SAMUEL BRIAN              MOLDER, FREDERICK                LAW OFFICES OF DAVID COLEMAN   938 LAFAYETTE SUITE 106                    NEW ORLEANS      LA 70128

SAMUEL BRIAN              SAMUEL, BRIAN                    EH JOHNSON BLVD.                                                          JONESVILLE      LA   71343
SAMUEL BRIGGS             30911 S GRANT RD                                                                                           CREIGHTON       MO   64739‐9133
SAMUEL BRITTON            10775 OZGA ST                                                                                              ROMULUS         MI   48174‐1327
SAMUEL BRONGO             2358 MANITOU RD                                                                                            SPENCERPORT     NY   14559‐2052
SAMUEL BROOKS             1238 CRAWFORD RD                                                                                           TURNER          MI   48765‐9756
SAMUEL BROWN              2715 BOULDER POINTE WAY                                                                                    ELLENWOOD       GA   30294‐1285
SAMUEL BROWN              2161 BATES RD                                                                                              MOUNT MORRIS    MI   48458‐2601
SAMUEL BROWN              5173 WINSHALL DR                                                                                           SWARTZ CREEK    MI   48473‐1222
SAMUEL BROWN              24 LESLEY LN                                                                                               NEW CASTLE      DE   19720‐3328
SAMUEL BROWN              20535 ROAD E16                                                                                             CONTINENTAL     OH   45831‐9111
SAMUEL BRUCE              10139 LAFAYETTE LN                                                                                         DIMONDALE       MI   48821‐9548
SAMUEL BRYANT             110 WESTVIEW DR                                                                                            GLASGOW         KY   42141‐1222
SAMUEL BRYANT             4803 PUMPKIN LEAF DR                                                                                       KOKOMO          IN   46902‐2852
SAMUEL BRYANT JR          26 KIMBERLY CIRCLE                                                                                         DAYTON          OH   45408‐1519
SAMUEL BRYNER             4 CLUB DR W                                                                                                PITTSBURGH      PA   15236‐1958
SAMUEL BUCK               1013 NW REDWOOD CIR                                                                                        BLUE SPRINGS    MO   64015‐1527
SAMUEL BUCKLEY            322 S 24TH ST                                                                                              SAGINAW         MI   48601‐6334
SAMUEL BUCKNER            1921 MCPHAIL ST                                                                                            FLINT           MI   48503‐4327
SAMUEL BUCLOUS            PO BOX 509                                                                                                 SEVERNA PARK    MD   21146‐0509
SAMUEL BUFFORD            2540 REYNOLDS CIR                                                                                          COLUMBIAVILLE   MI   48421‐8908
SAMUEL BUMGARDNER I I I   928 MILLER COUNTY 33                                                                                       DODDRIDGE       AR   71834‐1497
SAMUEL BURD               14950 LEFFINGWELL RD                                                                                       BERLIN CENTER   OH   44401‐9640
SAMUEL BURNETTE JR        206 LEONARD AVE                                                                                            ALBEMARLE       NC   28001‐5226
SAMUEL BURNS              3484 CHEROKEE ST NW                                                                                        KENNESAW        GA   30144‐1948
SAMUEL BURTON             255 FOLEY DR                                                                                               VANDALIA        OH   45377‐2824
SAMUEL BURWELL            314 W MACK ST                                                                                              CORUNNA         MI   48817‐1323
SAMUEL BUSBY              41927 MAYBERRY AVE                                                                                         HEMET           CA   92544‐6480
SAMUEL BUSCHELL           39460 VENETIAN DR                                                                                          HARRISON TWP    MI   48045‐5716
SAMUEL BUSH               95 FRANKLIN ST RM 1304                                                                                     BUFFALO         NY   14202‐3914
SAMUEL BUSH JR            6513 HASLER LN APT 1                                                                                       CINCINNATI      OH   45216‐2464
SAMUEL BUSHNELL           4917 HIPP ST                                                                                               DEARBORN HTS    MI   48125‐2915
SAMUEL C BREWER           240 OAK GROVE RD                                                                                           MARTINSVILLE    OH   45146‐8011
SAMUEL C FLOYD            4830 GERMANTOWN PIKE                                                                                       DAYTON          OH   45418‐2211
SAMUEL C FLOYD SR         4830 GERMANTOWN PIKE                                                                                       DAYTON          OH   45418‐2211
SAMUEL C HILTON           MOTLEY RICE LLC                  28 BRIDGESIDE BLVD             PO BOX 1792                                MT PLEASANT     SC   29465
SAMUEL C KNEE             19706 10TH DR SE                                                                                           BOTHELL         WA   98012‐7766
SAMUEL C SENTNER          3226 NORTH PARK EXTENSION                                                                                  WARREN          OH   44481
SAMUEL C VASQUEZ          5085 E RADIO RD                                                                                            YOUNGSTOWN      OH   44515
SAMUEL CABINE             5460 NE JESSUP ST                                                                                          PORTLAND        OR   97218‐2456
SAMUEL CALELLO            13434 N PIEMONTE WAY                                                                                       ORO VALLEY      AZ   85755‐8532
SAMUEL CALLARI            45 ELLSWORTH DR                                                                                            CHEEKTOWAGA     NY   14225‐4303
SAMUEL CAMARDA            1509 STILLWATER DR                                                                                         MANDEVILLE      LA   70471‐7453
SAMUEL CAMERON            1541 SWEARENGIN RD                                                                                         GRANT           AL   35747‐7725
SAMUEL CAMPBELL           14 BOWDOIN DR                                                                                              MILFORD         MA   01757‐1235
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SAMUEL CANALES              6873 DRIGGS RD                                                                                       PALMYRA           MI 49268‐9739
SAMUEL CANNAMUCIO           30414 SOUTHAMPTON BRIDGE RD                                                                          SALISBURY         MD 21804‐2498
SAMUEL CANNON               326 TIMBERLANE DR                                                                                    BELLEVILLE        MI 48111‐9742
SAMUEL CANTU INDIVIDUALLY   ATTN JOSH W HOPKINS            SICO WHITE HOELSCHER & BRAUGH 802 NORTH CARANCAHUA                    CORPUS CHRISTI    TX 78470‐0116
                                                           LLP                           SUITE 900
SAMUEL CAPPITTE             BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                            BOSTON HEIGHTS   OH   44236
SAMUEL CAPRIOTTI            881 E 5TH ST                                                                                         FLORENCE         NJ   08518‐2207
SAMUEL CAPUZELLO            2291 S DUCK CREEK RD                                                                                 NORTH JACKSON    OH   44451‐9660
SAMUEL CARFOLO              2702 ROSEWAE DR                                                                                      YOUNGSTOWN       OH   44511‐2249
SAMUEL CARNUCCI             8181 GRAY HAVEN RD                                                                                   BALTIMORE        MD   21222‐3449
SAMUEL CARR                 13483 ARLINGTON ST                                                                                   DETROIT          MI   48212‐2121
SAMUEL CARRINO              364 NEW YORK AVE                                                                                     LYNDHURST        NJ   07071‐1430
SAMUEL CARROLL              PO BOX 156                                                                                           GALENA           MD   21635‐0156
SAMUEL CARRUTH              31 PENNINGTON CT                                                                                     DELANCO          NJ   08075‐5225
SAMUEL CARSON               48 DOYLE AVE                                                                                         BUFFALO          NY   14207‐1304
SAMUEL CARSONIE             7971 SIGLE LN                                                                                        POLAND           OH   44514‐3615
SAMUEL CARTAGENA            847 N PERRY ST                                                                                       PONTIAC          MI   48342‐1570
SAMUEL CARTER               PO BOX 671                                                                                           SAINT HELEN      MI   48656‐0671
SAMUEL CARTER               457 S ANDERSON AVE                                                                                   PONTIAC          MI   48342‐3409
SAMUEL CARUSO               6470 FENTON RD                                                                                       FLINT            MI   48507‐4753
SAMUEL CARY                 42871 TYLER RD                                                                                       BELLEVILLE       MI   48111‐1440
SAMUEL CASALVERA JR         409 TAMARA CIR                                                                                       NEWARK           DE   19711‐6930
SAMUEL CASAMENTO            433 PEFFER AVE                                                                                       NILES            OH   44446‐3314
SAMUEL CASANZIO             33 RIDGEVIEW DR                                                                                      ROCHESTER        NY   14617‐4932
SAMUEL CASEY                3650 GORMAN RD                                                                                       SHREVEPORT       LA   71107‐8344
SAMUEL CHAMBERS             7184 N CENTER RD                                                                                     MOUNT MORRIS     MI   48458‐0982
SAMUEL CHIAPPETTA           19 WINDING WAY                                                                                       MIDDLEBORO       MA   02346‐1235
SAMUEL CHRISTIE             166 HOLLY ST NE                                                                                      SOCIAL CIRCLE    GA   30025‐2809
SAMUEL CHRISTOPHER          375 BLANTON BRANCH RD                                                                                PINEVILLE        KY   40977‐8917
SAMUEL CIRISAN              2985 JACKSON BLVD                                                                                    HIGHLAND         MI   48356‐2046
SAMUEL CLANTON              14852 VAUGHAN ST                                                                                     DETROIT          MI   48223
SAMUEL CLARK                4513 CLAREWOOD AVE                                                                                   DAYTON           OH   45431‐1007
SAMUEL CLARK                1033 NORMANDY TERRACE DR                                                                             FLINT            MI   48532‐3547
SAMUEL CLAY                 30430 SHERIDAN ST                                                                                    GARDEN CITY      MI   48135‐1317
SAMUEL CLAY                 380 E RIVER ST                                                                                       DEERFIELD        MI   49238‐9700
SAMUEL CLAY JR              434 W ALEXIS RD APT 19                                                                               TOLEDO           OH   43612‐5105
SAMUEL CLAYBOURNE           2179 OHLTOWN MCDONALD RD                                                                             MC DONALD        OH   44437‐1317
SAMUEL CLEMON               5900 MCARTHUR AVE                                                                                    SAINT LOUIS      MO   63120‐1412
SAMUEL CLOUD                5358 OREGON ST                                                                                       DETROIT          MI   48204‐5016
SAMUEL CLOVER               NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD     TX   75638
SAMUEL CLUTTER JR           1446 GARFIELD AVE                                                                                    BELOIT           WI   53511‐4123
SAMUEL COE                  BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                            BOSTON HEIGHTS   OH   44236
SAMUEL COE
SAMUEL COLBERT              5405 TIMBER LN                                                                                       OAKLAHOMA CITY   OK   73111‐5972
SAMUEL COLLIER              418 MYERS ST                                                                                         DEFIANCE         OH   43512‐2864
SAMUEL COLON                2019 S. 76 STREET                                                                                    WEST ALLIS       WI   53219
SAMUEL COLUCCI              1542 CHATTANOOGA AVE                                                                                 YOUNGSTOWN       OH   44514‐1153
SAMUEL COLUMBUS             1520 W 3RD ST                                                                                        MARION           IN   46952‐3552
SAMUEL COMBS                232 AUSTIN ST                                                                                        SANDUSKY         MI   48471‐1248
SAMUEL CONDY                396 BENT TWIG DR                                                                                     VANDALIA         OH   45377‐2702
SAMUEL CONE                 18610 SW LONGACRE ST                                                                                 BEAVERTON        OR   97006‐2946
SAMUEL CONLEY               1912 BLACK BEAR DR                                                                                   FORT WAYNE       IN   46808‐3513
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Name                      Address1                        Address2                     Address3   Address4         City            State Zip
SAMUEL CONNER             437 S LEAVITT ST                                                                         BRAZIL           IN 47834‐2903
SAMUEL CONTRERAS          5520 LINDSEY AVE                                                                         PICO RIVERA      CA 90660‐2721
SAMUEL COOMES             14702 BIXBY DRIVE                                                                        WESTFIELD        IN 46074‐2212
SAMUEL COOPER             6457 MILL POND RD                                                                        BYRON            NY 14422‐9758
SAMUEL COREY              7245 RIVER RD                                                                            EVART            MI 49631‐8100
SAMUEL CORNER             878 WHISPERWOOD TRL                                                                      FENTON           MI 48430‐2276
SAMUEL COSTON             305 JAMAICA AVE                                                                          BROOKLYN         NY 11207‐2116
SAMUEL COUNTERMAN I I I   2168 KINGS CORNERS RD E                                                                  LEXINGTON        OH 44904‐9730
SAMUEL COX                14675 RAMBLEHURST DR                                                                     PERRYSBURG       OH 43551‐6762
SAMUEL CRAFT              5824 S KEYSTONE AVE                                                                      INDIANAPOLIS     IN 46227‐8747
SAMUEL CRAGO              234 W JOE ST                                                                             HUNTINGTON       IN 46750‐3819
SAMUEL CRANK              28 ARDMORE CT                                                                            NILES            OH 44446‐1903
SAMUEL CRANK              7114 46TH AVENUE CIR E                                                                   BRADENTON        FL 34203‐7992
SAMUEL CRAWFORD           1580 OAK SHADOW RD                                                                       OWENSVILLE       MO 65066‐2539
SAMUEL CRAWFORD           1400 PALMYRA RD SW                                                                       WARREN           OH 44485‐3737
SAMUEL CROOKSHANKS        4941 N HIGHLAND AVE                                                                      KANSAS CITY      MO 64118‐6002
SAMUEL CROSBY             4924 BECKER DR                                                                           DAYTON           OH 45427‐3020
SAMUEL CROSBY             4924 BECKER DR                                                                           DAYTON           OH 45427‐3020
SAMUEL CROSBY III         1503 BELL PEPPER CT APT 104                                                              FAIRBORN         OH 45324
SAMUEL CROSS              132 BEVINS ST                                                                            HOLLY            MI 48442‐1249
SAMUEL CROWE              9405 ASH ST                     BOX 12                                                   NEW LOTHROP      MI 48460
SAMUEL CUNNINGHAM         3601 FLAJOLE RD                                                                          MIDLAND          MI 48642‐9237
SAMUEL CUPELLO            34 DOLMAN DR                                                                             ROCHESTER        NY 14624‐2956
SAMUEL CURNEY             8909 VIRGIL                     C/O DORIS SHAW                                           REDFORD          MI 48239‐1251
SAMUEL CURREN             6546 US HIGHWAY 50 E                                                                     BEDFORD          IN 47421‐8695
SAMUEL CURRIE             10327 ROXBURY ST                                                                         DETROIT          MI 48224‐2411
SAMUEL CURRIE             1057 ORLO DR NW                                                                          WARREN           OH 44485‐2427
SAMUEL CURRIE             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH 44236
SAMUEL CURTAN             19262 BLUE POINT DR                                                                      STRONGSVILLE     OH 44136‐7104
SAMUEL CURTIS             3057 CHESTATEE RD                                                                        GAINESVILLE      GA 30506‐1157
SAMUEL D BOYD JR          7321 STONEHURST DRIVE                                                                    HUBER HEIGHTS    OH 45424
SAMUEL D BURWELL          314 W MACK ST                                                                            CORUNNA          MI 48817‐1323
SAMUEL D CANNON           326 TIMBERLANE DR                                                                        BELLEVILLE       MI 48111‐9742
SAMUEL D ELLIOTT SR.      7230 FAUST AVE                                                                           DETROIT          MI 48228‐3453
SAMUEL D FANT             PO BOX 2604                                                                              YOUNGSTOWN       OH 44507‐0604
SAMUEL D FISHER           51 MILTON‐POTSDAM RD                                                                     LAURA            OH 45337‐8790
SAMUEL D GRACE            C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                HOUSTON          TX 77007
                          BOUNDAS LLP
SAMUEL D HARRIS           APT 1312                        2600 CHANDLER DRIVE                                      BOWLING GREEN   KY   42104‐6235
SAMUEL D JAMISON          4741 REXWOOD DR                                                                          DAYTON          OH   45439‐3133
SAMUEL D MCDANIEL         2890 MIDDLEBURG DR                                                                       COLLEGE PARK    GA   30349‐4156
SAMUEL D MCLAIN           409 NORTH STREET                                                                         EATON           OH   45320‐1567
SAMUEL D MUNOZ            66 HOOKER STREET                                                                         ROCHESTER       NY   14621‐3120
SAMUEL D POWERS           PO BOX 16                                                                                OTWAY           OH   45657‐0016
SAMUEL D ROBERTS          320 GENESEE PARK DR                                                                      SYRACUSE        NY   13224‐1562
SAMUEL D ROSENTHAL        14120 BAUER DR                                                                           ROCKVILLE       MD   20853
SAMUEL D SAMPSON          453 RONA PKWY                                                                            BROOKVILLE      OH   45309
SAMUEL D SCRUGGS, SR.     237 MAPLE WREATH CT                                                                      ABINGDON        MD   21009‐2776
SAMUEL D SMITH JR         4706 BLOOMFIELD DR                                                                       TROTWOOD        OH   45426
SAMUEL D SWEET PLC        ATTY FOR ICM SYSTEMS, LLC       PO BOX 757                                               ORTONVILLE      MI   48462‐0757
SAMUEL D WILLIAMS, JR.    154 IDYLWILD ST NE                                                                       WARREN          OH   44483‐3430
SAMUEL DALE               574 H F SEGARS RD                                                                        GILLSVILLE      GA   30543
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Name                  Address1                       Address2                    Address3                      Address4           City                State Zip
SAMUEL DALLAS         3295 FARMERS CREEK RD                                                                                       METAMORA             MI 48455‐9791
SAMUEL DARAMOLA       PO BOX 766                                                                                                  BLOOMFIELD HILLS     MI 48303‐0766
SAMUEL DARLING        1536 THOMPSON STATION RD W                                                                                  THOMPSONS STATION    TN 37179‐9258
SAMUEL DAUGHENBAUGH   751 E COREY ST                                                                                              BRONSON              MI 49028‐1505
SAMUEL DAURIA         4805A STURBRIDGE LN                                                                                         LOCKPORT             NY 14094‐3459
SAMUEL DAVIES         68 CONGRESS ST                                                                                              BUFFALO              NY 14213‐1552
SAMUEL DAVIS          31515 BRIDGE STREET                                                                                         GARDEN CITY          MI 48135‐1727
SAMUEL DAVIS          52 CURD AVE                                                                                                 WILLIAMSBURG         KY 40769‐1784
SAMUEL DAVIS          1753 SHEHY ST                                                                                               YOUNGSTOWN           OH 44506‐1638
SAMUEL DAVIS JR       1815 HEATHFIELD RD                                                                                          BALTIMORE            MD 21239‐3714
SAMUEL DE FAZIO       30 NORTH ST                                                                                                 LE ROY               NY 14482‐1109
SAMUEL DEARTH         7609 LAKE SHORE DR                                                                                          CEDAR LAKE           IN 46303‐8707
SAMUEL DEEDS          2320 JAMES ST                                                                                               MONTROSE             CO 81401‐5287
SAMUEL DEFAZIO        316 FOREST VALLEY DR                                                                                        FOREST HILL          MD 21050‐2828
SAMUEL DEL GRECO      5135 CLEARFIELD DR                                                                                          MINERAL RIDGE        OH 44440‐9409
SAMUEL DEMPSEY        2389 ISLAND HWY                                                                                             CHARLOTTE            MI 48813‐9304
SAMUEL DEROSE         1909 DEVONSHIRE AVE                                                                                         LANSING              MI 48910‐3540
SAMUEL DERRICK        88 SLAUGHTER PEN RD                                                                                         ARDMORE              TN 38449‐6015
SAMUEL DICKERSON      909 S SNYDER RD                                                                                             NEW LEBANON          OH 45345‐9361
SAMUEL DICKINSON      11950 COUNTY ROAD 487                                                                                       ATLANTA              MI 49709‐9288
SAMUEL DILLON         1322 MOULIN AVE                                                                                             MADISON HEIGHTS      MI 48071‐4832
SAMUEL DIXON          19309 MIDDLESEX AVE                                                                                         SOUTHFIELD           MI 48076‐4438
SAMUEL DIXON          900 CENTENNIAL ST                                                                                           MIDDLETOWN           OH 45044‐5728
SAMUEL DIXON          302 RANDOLPH AVE                                                                                            JERSEY CITY          NJ 07304‐2828
SAMUEL DIXON JR       4520 N STATE ROUTE 66                                                                                       DEFIANCE             OH 43512‐9647
SAMUEL DODD           849 OAK VISTA DR                                                                                            SARASOTA             FL 34232‐1705
SAMUEL DORSEY         1 CURRY LN                                                                                                  NEWARK               DE 19713‐2507
SAMUEL DORSEY         9963 MOTTOWN RD                                                                                             DEERFIELD            OH 44411‐9734
SAMUEL DOSS           5900 BRAELOCH DR                                                                                            SHREVEPORT           LA 71129‐5120
SAMUEL DOWDELL        6582 N TIMBERIDGE DR                                                                                        AUSTINTOWN           OH 44515‐5549
SAMUEL DOWE           13725 JOHN R ST APT 519                                                                                     HIGHLAND PARK        MI 48203‐3149
SAMUEL DRAPER         PO BOX 194                                                                                                  FAIRMOUNT             IL 61841‐0194
SAMUEL DRAPER JR      PO BOX 232                                                                                                  FAIRMOUNT             IL 61841‐0232
SAMUEL DUFF           13 NEW YORK AVE                                                                                             EARLEVILLE           MD 21919‐1931
SAMUEL DUNLAP         7 HEMLOCK DR                                                                                                NOTTINGHAM           PA 19362‐9746
SAMUEL DUNSON         4732 LITTLE RICHMOND RD                                                                                     TROTWOOD             OH 45426‐3202
SAMUEL DURA           C/O KELLEY & FERRARO LLP       ATTN THOMAS M WILSON ESQ    127 PUBLIC SQUARE, 2200 KEY                      CLEVELAND            OH 44114
                                                                                 TOWER
SAMUEL DYCUS          8120 BOOMERSHINE RD                                                                                         GERMANTOWN          OH 45327‐9797
SAMUEL E BRODIE       C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                    HOUSTON             TX 77007
                      BOUNDAS LLP
SAMUEL E CURRIE       1057 ORLO DR. N.W.                                                                                          WARREN              OH   44485‐2427
SAMUEL E DILLON       212 HANSON DR                                                                                               HOUMA               LA   70360‐8012
SAMUEL E DOTTO        12 OLD SALEM CT                                                                                             CHERRY HILL         NJ   08034
SAMUEL E FREEMAN      1107 W 2ND ST                                                                                               DAYTON              OH   45402
SAMUEL E HADLEY       6219 RICK ST                                                                                                YPSILANTI           MI   48197‐8233
SAMUEL E JOHNSON      264 OREGON ST                                                                                               YPSILANTI           MI   48198‐6034
SAMUEL E MAGGIO       252 SENECA RD                                                                                               ROCHESTER           NY   14622‐2043
SAMUEL E MCCLURE      2838 STATE ROUTE 41 W                                                                                       TROY                OH   45373‐9410
SAMUEL E MUNDY        796 WOODSFERRY RD                                                                                           BEDFORD             IN   47421‐8373
SAMUEL E NEFT         ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS    707 BERKSHIRE BLVD            PO BOX 521         EAST ALTON          IL   62024
                                                     ANGELIDES & BARNERD LLC
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Name                   Address1                          Address2            Address3         Address4              City            State Zip
SAMUEL E PENN          199 FOWLER ST                                                                                CORTLAND         OH 44410
SAMUEL E SALIBA        47575 GREENVIEW                                                                              UTICA            MI 48317‐2829
SAMUEL E WARD          3026 N COLLEGE AVE                                                                           INDIANAPOLIS     IN 46205‐4658
SAMUEL E WEBB JR       2806 HOOVER AVENUE                                                                           DAYTON           OH 45402
SAMUEL E WILLIS        831 SEVILLE ROW                                                                              DETROIT          MI 48202‐2601
SAMUEL EAST III        23201 TWINING DR                                                                             SOUTHFIELD       MI 48075‐7725
SAMUEL EBNER           SUHLBURGERSTR 83                                                       74547 UNTERMUNKHEIM
                                                                                              GERMANY
SAMUEL EBNER           SUHLBURGERSTR. 83                 74547               UNTERM▄NKHEIM
SAMUEL EBY             4500S WASHINGTON RD                                                                          SAGINAW         MI   48601
SAMUEL EDWARD BAILEY   WEITZ & LUXENBERG PC              700 BROADWAY                                               NEW YORK CITY   NY   10003
SAMUEL ELLIOTT         7230 FAUST AVE                                                                               DETROIT         MI   48228‐3453
SAMUEL ELLIOTT         7831 LITTLE MOUNTAIN RD                                                                      MENTOR          OH   44060‐6939
SAMUEL ELLIS           1357 E SALEM PIKE                                                                            MARION          IN   46952‐8645
SAMUEL ELLISON         46 EMORY DR                                                                                  DECATUR         AL   35603‐5294
SAMUEL EPPERSON        16547 STOEPEL ST                                                                             DETROIT         MI   48221‐3055
SAMUEL ERWIN JR        7070 BRIXTON PL                                                                              SUWANEE         GA   30024‐5378
SAMUEL ESSE III        12246 HONOR HWY                                                                              HONOR           MI   49640‐9559
SAMUEL ESTRADA         10201 S 80TH CT                                                                              PALOS HILLS     IL   60465‐1404
SAMUEL ETNIER          1128 LAKESIDE DR                                                                             JACKSBORO       TN   37757‐3037
SAMUEL EVANS           PO BOX 388726                                                                                CHICAGO         IL   60638‐8726
SAMUEL EVANS           1108 SYDNEY DR NW                                                                            WALKER          MI   49534‐3652
SAMUEL EVANS V         3451 MAIN ST                                                                                 MORAINE         OH   45439‐1323
SAMUEL EZELL           5029 HIGHWAY 207                                                                             ANDERSON        AL   35610‐5103
SAMUEL F CHIAPPETTA    19 WINDING WAY                                                                               MIDDLEBORO      MA   02346‐1235
SAMUEL F FAVATA        67 WHITE RABBIT TRAIL                                                                        ROCHESTER       NY   14612
SAMUEL F FISHER        1041 HORNSBY AVE                                                                             SAINT LOUIS     MO   63147‐2014
SAMUEL F LANPHER       5842 HUMMINGBIRD LN                                                                          CLARKSTON       MI   48346
SAMUEL F PARIS         1723 CHILI AVE                                                                               ROCHESTER       NY   14624‐3235
SAMUEL F SCARPACI      4173 ALEESA DR SE                                                                            WARREN          OH   44484
SAMUEL FACKLER         9939 WILLITS RD                                                                              MAYVILLE        MI   48744‐9536
SAMUEL FAGAN           230 COUNTY ROAD 94                                                                           MOULTON         AL   35650‐5066
SAMUEL FAIETA JR       11387 RACINE RD                                                                              WARREN          MI   48093‐2517
SAMUEL FAIRLEY         3369 CLEMENS CT                                                                              SAINT CHARLES   MO   63301‐4413
SAMUEL FANT            PO BOX 2604                                                                                  YOUNGSTOWN      OH   44507‐0604
SAMUEL FARHAT          1812 RAY ST                                                                                  LANSING         MI   48910‐9115
SAMUEL FARLEY          19646 RESH MILL RD                                                                           HAMPSTEAD       MD   21074‐2736
SAMUEL FARMER          155 VALLEY DR                                                                                ROSWELL         GA   30075‐3710
SAMUEL FASO            109 HOMER AVE                                                                                BUFFALO         NY   14216‐2367
SAMUEL FEATHERNGILL    258 PRIVATE ROAD 1150                                                                        MARSHALL        TX   75672‐5902
SAMUEL FELDER          76 WEDGEWOODE LN                                                                             PONTIAC         MI   48340‐2275
SAMUEL FENDERT         9167 SEYMOUR RD                                                                              SWARTZ CREEK    MI   48473‐9161
SAMUEL FERGUSON        20702 EMERALD DR                                                                             HAGERSTOWN      MD   21742‐4495
SAMUEL FIELD           2419 LONG LAKE PARK RD                                                                       ALPENA          MI   49707‐8977
SAMUEL FISHER          1041 HORNSBY AVE                                                                             SAINT LOUIS     MO   63147‐2014
SAMUEL FLEMING         410 S PINE ST                                                                                FENTON          MI   48430‐2359
SAMUEL FLORIANO        126 WILMINGTON AVE                                                                           TONAWANDA       NY   14150‐8724
SAMUEL FLOYD SR        4830 GERMANTOWN PIKE                                                                         DAYTON          OH   45418‐2211
SAMUEL FODDRILL        1117 GAULT DRIVE                                                                             YPSILANTI       MI   48198‐6469
SAMUEL FORSHAY         WEITZ & LUXENBERG PC              700 BROADWAY                                               NEW YORK CITY   NY   10003
SAMUEL FOSH            13310 GRAHAM RD                                                                              E CLEVELAND     OH   44112‐3130
SAMUEL FOSTER          2289 BETHEL HYGIENE RD                                                                       BETHEL          OH   45106‐8474
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Name                  Address1                         Address2                     Address3   Address4         City                State Zip
SAMUEL FOSTER         756 NE 1125TH RD                                                                          CONCORDIA            MO 64020‐7331
SAMUEL FOUNTAIN       15764 S AIRPORT RD                                                                        LANSING              MI 48906‐9120
SAMUEL FREED          PO BOX 104                                                                                NEWPORT              IN 47966‐0104
SAMUEL FREEMAN        1107 W 2ND ST                                                                             DAYTON               OH 45402‐6823
SAMUEL FRIESON        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.          OH 44236
SAMUEL G MANUS        516 DELLWOOD ST                                                                           TILTON                IL 61833‐8017
SAMUEL G MCMANN       886 W PEKIN RD                                                                            LEBANON              OH 45035‐9785
SAMUEL G MOGG         509 W BRAND ST                                                                            DURAND               MI 48429‐1118
SAMUEL G ORANGE       115 MOORE ST                                                                              SPRINGHILL           LA 71075‐3921
SAMUEL G PARKS        4226 DAVIS RD                                                                             BUFORD               GA 30518‐4932
SAMUEL G STIFF        201 ELM ST                                                                                GAINES               MI 48436‐8701
SAMUEL GALANTE        18722 GILL RD                                                                             LIVONIA              MI 48152‐3061
SAMUEL GALMAN         127 E MYRTLE AVE                                                                          YOUNGSTOWN           OH 44507‐1211
SAMUEL GARRITANO JR   9833 SILICA RD                                                                            NORTH JACKSON        OH 44451‐9685
SAMUEL GASTON         4046 S LEAVITT RD SW                                                                      WARREN               OH 44481‐9162
SAMUEL GAUNA          6649 S CLINTON TRL                                                                        EATON RAPIDS         MI 48827‐8514
SAMUEL GEARHART       715 HYETTS CORNER RD                                                                      MIDDLETOWN           DE 19709‐9631
SAMUEL GENCO          103 ASPEN CT                                                                              PINE KNOLL SHORES    NC 28512‐6501
SAMUEL GENTILLE       1395 WILGING DR                                                                           MANSFIELD            OH 44907‐2744
SAMUEL GERALD         15751 MONTE VISTA ST                                                                      DETROIT              MI 48238‐1009
SAMUEL GIBSON         3016 LUELLA LN                                                                            SPRINGPORT           MI 49284‐9312
SAMUEL GIBSON         67 FRENCH RDG                                                                             NEW ROCHELLE         NY 10801‐3723
SAMUEL GIBSON         5518 HOAGLAND BLACKSTUB RD                                                                CORTLAND             OH 44410‐9523
SAMUEL GIBSON         7111 NW WINTER AVE                                                                        KANSAS CITY          MO 64152‐2960
SAMUEL GILLESPIE      5208 E 119TH ST                                                                           CLEVELAND            OH 44125
SAMUEL GIORDANO       2276 N WAUCHULA PT                                                                        HERNANDO             FL 34442‐5358
SAMUEL GIPSON         209 N 14TH ST                                                                             SAGINAW              MI 48601‐1726
SAMUEL GLASGOW        2641 DAVENPORT RD                                                                         GREENVILLE           AL 36037‐7834
SAMUEL GLENN          2 LEBO RD                                                                                 CARLISLE             PA 17015‐9326
SAMUEL GOLDEN         507 AIR CONTROL STATION RD                                                                MERIDIAN             MS 39307‐9195
SAMUEL GOLT           30 MCCLARY ST LEIPSIC                                                                     LEIPSIC              DE 19901
SAMUEL GOMEZ          990 SPIREA                                                                                HOWELL               MI 48843‐6872
SAMUEL GOMEZ
SAMUEL GONZALES       1841 FERNBANK AVE                                                                         MONTEREY PARK       CA   91754‐5508
SAMUEL GOODEN         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH   44236
SAMUEL GOSHAY         5068 ALTRIM RD                                                                            DAYTON              OH   45418‐2016
SAMUEL GOSHAY         5068 ALTRIM RD                                                                            DAYTON              OH   45418‐2016
SAMUEL GOTLIB         6061 N SAGINAW RD                                                                         MOUNT MORRIS        MI   48458‐2438
SAMUEL GOZA JR        4704 RIVER RD                                                                             ELLENWOOD           GA   30294‐1536
SAMUEL GRAHAM         3370 COUNTY ROAD 305                                                                      MOULTON             AL   35650‐9136
SAMUEL GRANGER        PO BOX 1611                                                                               SAGINAW             MI   48605‐1611
SAMUEL GRANGER        30245 W 13 MILE RD APT 209                                                                FARMINGTON HILLS    MI   48334‐2215
SAMUEL GRANT          6731 LITTLE BRANCH RD                                                                     YORK                SC   29745‐7584
SAMUEL GRANT          303 SAVANNAH RD                                                                           TOMS RIVER          NJ   08757‐1710
SAMUEL GRAVES         633 SLOAN RD                                                                              CELINA              TN   38551‐5366
SAMUEL GRAY           6412 N WAYNE AVE                                                                          GLADSTONE           MO   64118‐3780
SAMUEL GREBE          3156 ROLLING GREEN CT                                                                     MILFORD             MI   48380‐4471
SAMUEL GREEN          6161 COTTER AVE                                                                           STERLING HEIGHTS    MI   48314‐2141
SAMUEL GREEN          504 CODY HILL CT                                                                          NASHVILLE           TN   37211‐7920
SAMUEL GREEN          308 S MARSHALL ST                                                                         PONTIAC             MI   48342‐3244
SAMUEL GREEN JR       1983 W 15TH ST                                                                            JACKSONVILLE        FL   32209‐4770
SAMUEL GREENE         5817 WILLIS AVE                                                                           VAN NUYS            CA   91411‐3112
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Name                     Address1                          Address2                        Address3          Address4         City                 State Zip
SAMUEL GREGORY           7897 FILLMORE ST                                                                                     ZEELAND               MI 49464‐9565
SAMUEL GRESE             1608 ROMINE AVE                                                                                      MCKEESPORT            PA 15133‐3323
SAMUEL GRESHAM           14509 LONG BRANCH RD                                                                                 WOODFORD              VA 22580‐3338
SAMUEL GRIFFITH          124 HERMITAGE DR                                                                                     MARTINSBURG           WV 25405‐2570
SAMUEL GROSE             4885 W 220TH ST                                                                                      FAIRVIEW PARK         OH 44126‐2648
SAMUEL GUARNIERI JR      132 S SEINE DR                                                                                       CHEEKTOWAGA           NY 14227‐3029
SAMUEL GUESS             C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                          HOUSTON               TX 77007
                         BOUNDAS LLP
SAMUEL GURTNER J         EARLY LUDWICK & SWEENEY LLC       ONE CENTURY TOWER 11TH FL       265 CHURCH ST                      NEW HAVEN             CT   06510
SAMUEL GURTNER J         EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTRY TOWER, 11TH FLOOR,                                      NEW HAVEN             CT   06510
                                                           265 CHURCH
SAMUEL GUYER             1157 E HILL RD                                                                                       GRAND BLANC          MI    48439‐4804
SAMUEL H JONES           1176 US ROUTE 40                                                                                     WOODSTOWN            NJ    08098
SAMUEL H MCPHERSON III   218 PARKWOOD CIR                                                                                     CANONSBURG           PA    15317‐9545
SAMUEL H MOORE           418 GREENLAWN ST                                                                                     YPSILANTI            MI    48198‐5932
SAMUEL H WILLIAMS        4841 SAMPSON DR                                                                                      YOUNGSTOWN           OH    44505‐1247
SAMUEL H. HALTER
SAMUEL HAIRSTON          1558 SUNSET DR                                                                                       BASSETT              VA    24055‐4836
SAMUEL HALL              3053 SADDLE CREEK DR                                                                                 GAINESVILLE          GA    30507‐9464
SAMUEL HALL              5769 DORA LN                                                                                         CLARKSTON            MI    48348‐5117
SAMUEL HALLENBECK        SAM HALLENBECK                    69525 DILLON RD SPC 93                                             DESERT HOT SPRINGS   CA    92241‐9345
SAMUEL HALSEY            9900 ANDERSONVILLE RD                                                                                CLARKSTON            MI    48346‐1710
SAMUEL HALUAPO JR        C/O NIX PATTERSON & ROACH LLP     GM BANKRUPTCY DEPARTMENT        205 LINDA DRIVE                    DAINGERFIELD         TX    75638
SAMUEL HAMILTON          BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                         BOSTON HEIGHTS       OH    44236
SAMUEL HAMMOND JR        109 OAKWOOD DR                                                                                       CUMMING              GA    30040‐2148
SAMUEL HAMPTON           432 GREENUP CT                                                                                       FRANKLIN             OH    45005
SAMUEL HAMPTON SR        BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                         BOSTON HEIGHTS       OH    44236
SAMUEL HANNA JR          4215 MILL ST BOX 3588                                                                                NORTH BRANCH         MI    48461
SAMUEL HANNAH            685 NORTHWAY DR                                                                                      PONTIAC              MI    48342‐2963
SAMUEL HANNERS           164 RIDGE RD                                                                                         WILLIAMS             IN    47470‐8848
SAMUEL HANSON            4825 W OREGON RD                                                                                     LAPEER               MI    48446‐7779
SAMUEL HARBIN            2300 CRESTED BUTTE DR                                                                                WHITE LAKE           MI    48383‐2378
SAMUEL HARDIMAN          3489 HIGHWAY 139                                                                                     MONROE               LA    71203‐6666
SAMUEL HARDIN            2208 PIERCE ST                                                                                       FLINT                MI    48503‐2833
SAMUEL HARMON            PO BOX 11334                                                                                         JACKSON              MS    39283‐1334
SAMUEL HARRAR            12 ROCKROSE DR                                                                                       NEWARK               DE    19711‐6852
SAMUEL HARRELL           575 COATS RD                                                                                         LAKE ORION           MI    48362‐1017
SAMUEL HARRIS            APT 1312                          2600 CHANDLER DRIVE                                                BOWLING GREEN        KY    42104‐6235
SAMUEL HARRIS            WEITZ & LUXENBERG PC              700 BROADWAY                                                       NEW YORK CITY        NY    10003
SAMUEL HARRIS            1614 E UNION CITY PIKE                                                                               WINCHESTER           IN    47394‐8368
SAMUEL HARRIS            561 SHOOP AVE                                                                                        DAYTON               OH    45407‐1507
SAMUEL HARTSOCK          838 RED OAK TRL                                                                                      MANSFIELD            OH    44904‐1850
SAMUEL HARVEY JR         1701 RUSSETT PL                                                                                      FLINT                MI    48504‐1601
SAMUEL HASTON            113 GILLEN DR                                                                                        SPARTA               TN    38583‐1401
SAMUEL HATHCOCK          18 BASSETT ST APT 2                                                                                  JAMESTOWN            NY    14701‐3302
SAMUEL HAYES             17 GLENWOOD AVE                                                                                      CINCINNATI           OH    45217‐2107
SAMUEL HAYES             7029 E COUNTY ROAD 550 S                                                                             MUNCIE               IN    47302‐8404
SAMUEL HAYNES            947 PARK LN APT B                                                                                    MIDDLETOWN           OH    45042‐3446
SAMUEL HEARNS            2448 WOODLAND TRL                                                                                    FLINT                MI    48507‐3858
SAMUEL HEATH             437 W WOODRUFF AVE                                                                                   HAZEL PARK           MI    48030‐3226
SAMUEL HEATON            45595 LONES RD                                                                                       LISBON               OH    44432‐9526
SAMUEL HENDERSON         775 CHESTNUT DR                                                                                      JACKSON              GA    30233‐1602
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Name                       Address1                         Address2                     Address3   Address4                 City            State Zip
SAMUEL HENRY II            47 ZIMMERMAN ST                                                                                   N TONAWANDA      NY 14120‐4707
SAMUEL HEPFER              1608 W WOODBINE RD                                                                                FAWN GROVE       PA 17321‐9460
SAMUEL HERNANDEZ           14050 COTEAU DR                                                                                   WHITTIER         CA 90604‐2617
SAMUEL HESTER              115 E DELAVAN AVE                                                                                 BUFFALO          NY 14208‐1234
SAMUEL HICKS               51 REBECCA LN                                                                                     JASPER           TN 37347
SAMUEL HIGGINS             31017 PARDO ST                                                                                    GARDEN CITY      MI 48135‐1849
SAMUEL HILLIGOSS           3759 CHESTNUT RIDGE RD                                                                            SANTA FE         TN 38482‐3023
SAMUEL HINERMAN III        3625 HALLOCK YOUNG RD                                                                             NEWTON FALLS     OH 44444‐9715
SAMUEL HINES               4741 S COUNTY ROAD 25 W                                                                           NEW CASTLE       IN 47362‐9622
SAMUEL HINES               9695 BAYVIEW DR APT 318                                                                           YPSILANTI        MI 48197‐7025
SAMUEL HITCHENS            BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.      OH 44236
SAMUEL HOFFER              3158 GERRARD AVE                                                                                  INDIANAPOLIS     IN 46224‐2364
SAMUEL HOLBROOK JR         812 CLARENCE ST                                                                                   DANVILLE          IL 61832‐4866
SAMUEL HOLLAND             60 WILLOW DR                                                                                      NEW ROCHELLE     NY 10805‐2307
SAMUEL HOOD                BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.      OH 44236
SAMUEL HOOPER              2716 TAUSEND ST                                                                                   SAGINAW          MI 48601‐4555
SAMUEL HORACE MCCALL III   218 MADELINE DR                                                                                   WILMINGTON       NC 28405
SAMUEL HORTON              893 WILDER AVE                                                                                    ELYRIA           OH 44035‐3019
SAMUEL HORTON              3321 HEPFER RD                                                                                    LANSING          MI 48911‐2219
SAMUEL HORTON              BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.      OH 44236
SAMUEL HOSTETLER JR        605 WOODGLEN CIR APT 205                                                                          AUBURN HILLS     MI 48326‐4524
SAMUEL HOUGH               21 MIRANDA CT                                                                                     MARTINSBURG      WV 25403‐0862
SAMUEL HOUSE               2407 BEACH AVE                                                                                    ESSEX            MD 21221‐1807
SAMUEL HOUSTON             840 LOWER HALLS MILL RD                                                                           SHELBYVILLE      TN 37160‐6946
SAMUEL HROMCHAK            225 NORWALK AVE                                                                                   BUFFALO          NY 14216‐2441
SAMUEL HUANTEZ JR          835 MOFF DR                                                                                       COLUMBIAVILLE    MI 48421‐9735
SAMUEL HUBBARD             10824 ROYCROFT ST APT 206                                                                         SUN VALLEY       CA 91352‐1601
SAMUEL HUBBARD JR          34984 MICHELLE DR                                                                                 ROMULUS          MI 48174‐3436
SAMUEL HUBBELL             7084 CLEON DR                                                                                     SWARTZ CREEK     MI 48473‐9407
SAMUEL HUBBERT             854 LAKE HAVEN DR                                                                                 DEFIANCE         MO 63341‐1814
SAMUEL HUFF                5620 17 MILE RD NE                                                                                CEDAR SPRINGS    MI 49319‐9244
SAMUEL HUFFMAN             6901 GIDDINGS RD                                                                                  ATWATER          OH 44201‐9538
SAMUEL HUNT                3610 CHEVIOT PL                                                                                   INDIANAPOLIS     IN 46205‐2528
SAMUEL HUTTON JR           288 E MAPLE RD # 302                                                                              BIRMINGHAM       MI 48009
SAMUEL I BERNSTEIN         ATTN: SAMUEL I BERNSTEIN         54 N MILL ST                                                     PONTIAC          MI 48342‐2213
SAMUEL I MARPLE            3330 BOXWOOD DR                                                                                   FAIRBORN         OH 45324
SAMUEL ICKES               1823 FOXGLOVE AVE                                                                                 NORTH PORT       FL 34288‐3862
SAMUEL ILIADES             147 NO TREE LN                                                                                    GLASGOW          KY 42141‐6808
SAMUEL IMHOFF              29698 HARTLEY RD                                                                                  SALEM            OH 44460‐9762
SAMUEL INVESTMENTS INC     2360 DIXIE RD                                                            MISSISSAUGA ON L4Y 1Z7
                                                                                                    CANADA
SAMUEL INVESTMENTS INC
SAMUEL IRONS               4611 BEHLMANN FARMS BLVD                                                                          FLORISSANT      MO    63034‐2858
SAMUEL ISAAC JR            4335 LAKE ST                                                                                      SPRUCE          MI    48762‐9739
SAMUEL IVERSON             18315 DINA PL                                                                                     CERRITOS        CA    90703‐6025
SAMUEL IVEY                124 MCLENDON ST                                                                                   QUITMAN         MS    39355‐2718
SAMUEL J AUGUSTA           810 NOB HILL DR APT 3                                                                             NILES           OH    44446‐4482
SAMUEL J BARBATO           4778S MANNING RD                                                                                  HOLLEY          NY    14470
SAMUEL J BARONE            SAMUEL J BARONE & MARGARET M     413 MT VERNON RD                                                 AMHURST         NY    14226
                           BARONE TRUST
SAMUEL J CANOVA            C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                        HOUSTON          TX   77007
                           BOUNDAS LLP
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Name                   Address1                      Address2                    Address3          Address4         City                State Zip
SAMUEL J CARRERA       4 DIANA DRIVE                                                                                SCOTTSVILLE          NY 14546‐1253
SAMUEL J CARSONIE      2912 HALLOCK YOUNG RD SW                                                                     WARREN               OH 44481‐9278
SAMUEL J CHESTER       56 DELLWOOD RD                                                                               CRANSTON              RI 02920
SAMUEL J CONAWAY       95 DOE CT                                                                                    MONMOUTH JUNCTION    NJ 08852‐2027
SAMUEL J CONDY         396 BENT TWIG DR                                                                             VANDALIA             OH 45377
SAMUEL J EDWARDS       2514 GREENBRIER DR                                                                           DAYTON               OH 45406
SAMUEL J GIBSON        5518 HOAGLAND BLACKSTUB NE                                                                   CORTLAND             OH 44410‐9523
SAMUEL J GOLDSTEIN     1 JOHN ANDERSON DR APT 308                                                                   ORMOND BEACH         FL 32176
SAMUEL J HAYNES        947 PARK LN APT B                                                                            MIDDLETOWN           OH 45042‐3446
SAMUEL J HEFFNER       107 PENNSHIRE DR                                                                             LANCASTER            PA 17603‐8833
SAMUEL J LANEVE        1321 LANEVE LN                                                                               WELLSVILLE           OH 43968‐1795
SAMUEL J NOVELLA       813 PARKWOOD AVE                                                                             ANNAPOLIS            MD 21403
SAMUEL J OUSNAMER      3142 KINGS CORNER RD                                                                         OSCODA               MI 48750‐9667
SAMUEL J PADGETT IRA   511 GERTRUDE LANE                                                                            DAYTONA BEACH        FL 32119
SAMUEL J PEREZ         930 JEFFERSON AVE                                                                            DEFIANCE             OH 43512‐2804
SAMUEL J PILATO        43 HASKINS LN                                                                                HILTON               NY 14468‐9000
SAMUEL J RAPPA         21937 RUSSET DR                                                                              MEADVILLE            PA 16335
SAMUEL J SALEM         5103 W PIERSON RD                                                                            FLINT                MI 48504
SAMUEL J SANCHEZ       3420 HAWTHORNE DR                                                                            FLINT                MI 48503‐4649
SAMUEL J SPATARO       23 FRANCINE DR                                                                               ROCHESTER            NY 14606‐3342
SAMUEL J WOODHOUSE     2727 PRESCOTT AVE                                                                            SAGINAW              MI 48601‐3926
SAMUEL J. GOLDSTEIN    1 JOHN ANDERSON DR APT 308                                                                   ORMOND BEACH         FL 32176
SAMUEL JACKSON         13536 SORRENTO ST                                                                            DETROIT              MI 48227‐3926
SAMUEL JACKSON         PO BOX 1272                                                                                  SAGINAW              MI 48606‐1272
SAMUEL JACKSON         THE MADEKSHO LAW FIRM         8866 GULF FREEWAY STE 440                                      HOUSTON              TX 77017
SAMUEL JACOB           108 E COULTER RD                                                                             LAPEER               MI 48446‐8760
SAMUEL JAMES           10713 LOVERS LN NW                                                                           GRAND RAPIDS         MI 49534
SAMUEL JAMISON         4741 REXWOOD DR                                                                              DAYTON               OH 45439‐3133
SAMUEL JAMISON         229 BAYSHORE DR                                                                              CICERO               IN 46034‐9732
SAMUEL JAMISON         3690 PIN OAK RD                                                                              GILMER               TX 75645‐7132
SAMUEL JAPUNCHA        376 CHARLES AVENUE                                                                           CORTLAND             OH 44410‐1204
SAMUEL JARMON          7427 S OGLESBY AVE                                                                           CHICAGO               IL 60649‐3311
SAMUEL JEFFERSON       1705 ENOCH DR                                                                                FORT WORTH           TX 76112‐4437
SAMUEL JENKINS         3519 SILVER FOX PATH                                                                         BUFORD               GA 30519‐7031
SAMUEL JENKINS         1646 MELODY LN                                                                               ARNOLD               MO 63010‐1106
SAMUEL JOHN HENRY      NIX, PATTERSON & ROACH LLP    GM BANKRUPTCY DEPARTMENT    205 LINDA DRIVE                    DAINGERFIELD         TX 75638
SAMUEL JOHNSON         1105 BURLINGTON DR                                                                           FLINT                MI 48503‐2928
SAMUEL JOHNSON         3956 OAK HILL RD                                                                             OAKLAND              CA 94605‐4931
SAMUEL JOHNSON         4361 CLARKWOOD PKWY APT 222                                                                  CLEVELAND            OH 44128‐4842
SAMUEL JOHNSON         651 E 115TH ST                                                                               CLEVELAND            OH 44108‐2318
SAMUEL JOHNSON         115 CUMBERLND GLN LN#5                                                                       SMYRNA               GA 30080
SAMUEL JOHNSON         796 CHARING CROSS RD                                                                         BALTIMORE            MD 21229‐1113
SAMUEL JOHNSON         13317 NORWAY SPRUCE CT                                                                       LINDEN               MI 48451‐8865
SAMUEL JOHNSON         PO BOX 278                                                                                   KEATCHIE             LA 71046‐0278
SAMUEL JOHNSON         20925 HUGO ST                                                                                FARMINGTON HILLS     MI 48336‐5139
SAMUEL JOHNSON         408 PEACH CT                                                                                 WAYLAND              MI 49348‐1394
SAMUEL JOHNSON         6639 PRESIDENTIAL DR                                                                         JACKSON              MS 39213‐2410
SAMUEL JOHNSON JR      2405 HARBOR LNDG                                                                             ROSWELL              GA 30076
SAMUEL JONES           7704 TORTUGA DR                                                                              DAYTON               OH 45414‐1768
SAMUEL JONES           9610 CADDO LAKE RD                                                                           MOORINGSPORT         LA 71060‐9049
SAMUEL JONES           1809 WALDEN RD                                                                               BOWLING GREEN        KY 42101‐4260
SAMUEL JONES           3880 NILES‐CARVER RD                                                                         MINERAL RIDGE        OH 44440
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Name                  Address1                           Address2            Address3         Address4             City                State Zip
SAMUEL JONES I I I    38 CRAIG ST                                                                                  HAZLET               NJ 07730‐1625
SAMUEL JONSON         408 EAST HUMAN STREET                                                                        HUMANSVILLE          MO 65674‐8557
SAMUEL JORDAN         4150 SHENANDOAH DR                                                                           DAYTON               OH 45417‐1155
SAMUEL JORDAN         6378 RIDGEVIEW AVE                                                                           AUSTINTOWN           OH 44515‐5568
SAMUEL JOSEPH         9913 JOAN DR                                                                                 NO HUNTINGDON        PA 15642‐1571
SAMUEL JOSEPH         9913 JOAN DRIVE                                                                              NO HUNTINGDON        PA 15642‐1571
SAMUEL JR, BERRY      9375 E OUTER DR                                                                              DETROIT              MI 48213‐1507
SAMUEL JR, CLARENCE   23 S MARSHALL ST                                                                             PONTIAC              MI 48342‐2953
SAMUEL JR, EARNEST    23860 LEE BAKER DR                                                                           SOUTHFIELD           MI 48075‐3375
SAMUEL JR, H L        18106 DUNBLAINE AVE                                                                          BEVERLY HILLS        MI 48025‐3110
SAMUEL JR, HUGHEY P   2530 RIALTO WAY                                                                              GRAND PRAIRIE        TX 75052‐7211
SAMUEL JR, JAMES      447 E WILSON AVE                                                                             PONTIAC              MI 48341‐3335
SAMUEL JR, M C        19575 HAZELHURST ST                                                                          SOUTHFIELD           MI 48075‐3914
SAMUEL JR, VALMORE    13901 ELM AVE                                                                                E CLEVELAND          OH 44112‐2513
SAMUEL K ASARE        675 SEWARD ST APT 302                                                                        DETROIT              MI 48202‐2443
SAMUEL K SALYERS      2924 HOYLAKE CT                                                                              MORAINE              OH 45439‐1403
SAMUEL K UPDYKE       127 E 2ND ST                                                                                 FRANKLIN             OH 45005‐2203
SAMUEL KAIN           7147 KAPP CT                                                                                 NEW PORT RICHEY      FL 34653‐3513
SAMUEL KALLIMAN       2869 TALL OAKS CT APT 10                                                                     AUBURN HILLS         MI 48326‐4148
SAMUEL KEITH          7161 WEDWORTH ST                                                                             WATERFORD            MI 48327‐3762
SAMUEL KELLY          300 WINDING BRK                                                                              COMMERCE TOWNSHIP    MI 48390‐3964
SAMUEL KEMP
SAMUEL KENDRICK       39 WYMAN ST SE                                                                               ATLANTA             GA   30317‐2007
SAMUEL KENNEDY        340 OAK VISTA CT                                                                             LAWRENCEVILLE       GA   30044‐6722
SAMUEL KENNEDY        9665 VAN BUREN ST                                                                            BELLEVILLE          MI   48111‐1416
SAMUEL KENT JR        8065 PEBBLE CREEK CT                                                                         INDIANAPOLIS        IN   46268‐1747
SAMUEL KILBY          6390 NW 30TH ST                                                                              CHIEFLAND           FL   32626‐7107
SAMUEL KING           135 EARL ST                                                                                  HANOVER             PA   17331‐4015
SAMUEL KING           431 SHERMAN RD                                                                               LANSING             MI   48917‐9617
SAMUEL KING           2866 E POLK RD                                                                               ITHACA              MI   48847‐9710
SAMUEL KING JR        103 COOPER CIR                                                                               SANTEE              SC   29142‐9314
SAMUEL KING JR        7911 W BRUNO AVE                                                                             SAINT LOUIS         MO   63117‐2016
SAMUEL KINGSTON       7941 VOLK DR                                                                                 DAYTON              OH   45415‐2241
SAMUEL KINKEAD        3127 N STATE RD                                                                              ALMA                MI   48801‐9743
SAMUEL KIRKLAND JR    18065 OAK DR                                                                                 DETROIT             MI   48221‐2774
SAMUEL KNIEPER        6853 REED RD                                                                                 NEW LOTHROP         MI   48460‐9730
SAMUEL KNOX           700 EDGELAND CT                                                                              ABINGDON            MD   21009‐2784
SAMUEL KOHLER         THOMAS SEGER                       HECHTGANG 11                         D 78464 KONSTANZ
                                                                                              GERMANY
SAMUEL KOLLER         1512 JEROME LN                                                                               EAST SAINT LOUIS    IL   62206‐2326
SAMUEL KOSA           31919 WINDSOR ST                                                                             GARDEN CITY         MI   48135‐1765
SAMUEL KOSTESICH      4500 DOBRY DR APT 360                                                                        STERLING HEIGHTS    MI   48314‐1252
SAMUEL KRIEBEL JR     2382 OAK TRACE ST                                                                            YOUNGSTOWN          OH   44515‐4921
SAMUEL L ADAMS        4917 PORTERFIELD DRIVE                                                                       DAYTON              OH   45427‐3238
SAMUEL L ANKTON       860 DESOTO AVE                                                                               YPSILANTI           MI   48198‐6118
SAMUEL L BARNETT      PO BOX 265                                                                                   CHINO               CA   91708‐0265
SAMUEL L BENJAMIN     PO BOX 627                                                                                   BELLE ROSE          LA   70341‐0627
SAMUEL L BRYANT JR    4809 SEELEY DR                                                                               DAYTON              OH   45427‐3038
SAMUEL L CAPP II      9815 JOAN CIR                                                                                YPSILANTI           MI   48197‐8295
SAMUEL L CONNORS      2501 MARCIA DR                                                                               BELLBROOK           OH   45305
SAMUEL L DIXON        900 CENTENNIAL                                                                               MIDDLETOWN          OH   45044‐5728
SAMUEL L DUNSON       4732 LITTLE RICHMOND                                                                         TROTWOOD            OH   45426‐3202
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Name                      Address1                           Address2                   Address3     Address4         City               State Zip
SAMUEL L GODSEY           1048 HICKORY RIDGE RD R                                                                     EDMONTON            KY 42129
SAMUEL L GRANT            303 SAVANNAH ROAD                                                                           TOMS RIVER          NJ 08757‐1710
SAMUEL L GRIFFIN          111 SEVENTH STREET                                                                          ROCHESTER           NY 14609‐4619
SAMUEL L GROSSFELD        LAW OFFICES OF PETER G. ANGELOS    100 NORTH CHARLES STREET   22ND FLOOR                    BALTIMORE           MD 21201
SAMUEL L HARDING          595 MENTOR AVE APT 9                                                                        PAINESVILLE         OH 44077‐2670
SAMUEL L HARMON           PO BOX 11334                                                                                JACKSON             MS 39283
SAMUEL L MANN             5103 MILLENIUM DR                                                                           WILLINGBORO         NJ 08046‐1054
SAMUEL L MINOTTI          8230 DAWSON DR SE                                                                           WARREN              OH 44484‐3014
SAMUEL L NICHOLS          5185 WOODCLIFF DR                                                                           FLINT               MI 48504‐1256
SAMUEL L PICKENS          5042 W FRANCES RD                                                                           CLIO                MI 48420‐8578
SAMUEL L PICKENS          5042 WEST FRANCES ROAD                                                                      CLIO                MI 48420‐8578
SAMUEL L REED             202 VALLEY VIEW RD                                                                          SANDY LAKE          PA 16145‐4408
SAMUEL L RICHARDSON JR.   4151 LOGAN GATE RD APT 159                                                                  YOUNGSTOWN          OH 44505‐‐ 17
SAMUEL L SKEANS JR        46 W STRATHMORE AVE                                                                         PONTIAC             MI 48340‐2770
SAMUEL L SMITH            520 CLARK ST                                                                                SPRINGFIELD         OH 45506‐2004
SAMUEL L SMITH            1201 S MAIN ST                                                                              LIMA                OH 45804‐2046
SAMUEL L WORKMAN          660 SEWARD ST APT 304                                                                       DETROIT             MI 48202‐2439
SAMUEL LAMENDOLA
SAMUEL LANCASTER          644 S COUNTY ROAD 300 W                                                                     GREENCASTLE        IN   46135‐7889
SAMUEL LANCASTER JR       175 CYPRESS DRIVE                                                                           COVINGTON          GA   30016‐5586
SAMUEL LANDER             1298 BUTLER PIKE                                                                            MERCER             PA   16137‐6210
SAMUEL LANE               613 CHARING CROSS CT                                                                        LAKE MARY          FL   32746‐3778
SAMUEL LANE               2101 PALMETTO ST                                                                            MIDDLEBURG         FL   32068‐5182
SAMUEL LANEVE             1321 LANEVE LN                                                                              WELLSVILLE         OH   43968‐1795
SAMUEL LANGWORTHY         G1438 W CARPENTER RD                                                                        FLINT              MI   48505‐2026
SAMUEL LANZA              1483 GREENSBURG RD                                                                          UNIONTOWN          OH   44685‐9544
SAMUEL LARGENT            2235 E 86TH ST                                                                              CLEVELAND          OH   44106‐3428
SAMUEL LARRY              6191 SIERRA PASS                                                                            FLINT              MI   48532‐2137
SAMUEL LATHEM JR          2343 HEATHER CT                                                                             MARIETTA           GA   30066‐6415
SAMUEL LATTA JR           3513 SPRINGDALE AVE                                                                         BALTIMORE          MD   21216‐1445
SAMUEL LAURICELLO         5122 CELLO WOOD LN                                                                          WESLEY CHAPEL      FL   33543‐7113
SAMUEL LAWRENCE           37811 SANTA BARBARA ST                                                                      CLINTON TOWNSHIP   MI   48036‐4007
SAMUEL LAWRENCE           547 BURNS ST                                                                                MANSFIELD          OH   44903‐1009
SAMUEL LAWSON JR          19500 FORRER ST                                                                             DETROIT            MI   48235‐2361
SAMUEL LAYTON             412 E 34TH ST                                                                               ANDERSON           IN   46013‐4618
SAMUEL LAZAR              5402 RAUBINGER RD                                                                           SWARTZ CREEK       MI   48473‐1619
SAMUEL LECKER             6 POMONA N APT 8                                                                            PIKESVILLE         MD   21208‐2916
SAMUEL LEE                116 W PATERSON ST                                                                           FLINT              MI   48503‐1018
SAMUEL LEE                1054 MENDOZA DR                                                                             SAINT PETERS       MO   63376‐4659
SAMUEL LEE                2245 STATE ROUTE 534                                                                        SOUTHINGTON        OH   44470‐9513
SAMUEL LEE                1343 WAGON WHEEL LN                                                                         GRAND BLANC        MI   48439‐4863
SAMUEL LEE WOOD           1450 HULLWAY CT                                                                             DAYTON             OH   45427
SAMUEL LEMASTER           110 S FORCE RD                                                                              ATTICA             MI   48412‐9751
SAMUEL LEO                725 RIDGEFIELD DR                                                                           COOPERSVILLE       MI   49404‐9665
SAMUEL LEONARD            4200 COASTAL PKWY                                                                           WHITE LAKE         MI   48386‐1100
SAMUEL LESLIE             229 COOLIDGE DR                                                                             BAY CITY           MI   48706‐1440
SAMUEL LETSON             586 OLD MOUNT PLEASANT SCHOOL RD                                                            ALVATON            KY   42122‐9668

SAMUEL LEWIS              606 PEARL ST                                                                                SANDUSKY           OH   44870‐2137
SAMUEL LICATA             2948 JERAULD AVE                                                                            NIAGARA FALLS      NY   14305‐3331
SAMUEL LILLER             10580 W WESTERN RESERVE RD                                                                  CANFIELD           OH   44406‐9487
SAMUEL LILLY              4557 JAMESON ST                                                                             SAGINAW            MI   48638‐4644
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Name                      Address1                         Address2                          Address3   Address4         City              State Zip
SAMUEL LINDSAY JR         886 S 16TH ST                                                                                  NEWARK             NJ 07108‐1121
SAMUEL LINDSEY            330 W SPRING ST                                                                                EATON              OH 45320‐1434
SAMUEL LINDSEY            7 S HILLCREST DR                                                                               GERMANTOWN         OH 45327‐9306
SAMUEL LOGAN              4665 S GREGORY ST                                                                              SAGINAW            MI 48601‐6625
SAMUEL LOGAN              1675 ROSWELL ST SE APT E5                                                                      SMYRNA             GA 30080‐2222
SAMUEL LOGAN I I          4726 DRESDEN CT                                                                                SAGINAW            MI 48601‐6663
SAMUEL LOGGANS            19981 CRANDELL CT                                                                              BELLEVILLE         MI 48111‐9175
SAMUEL LONDON             1407 LAMB RD                                                                                   MASON              MI 48854‐9449
SAMUEL LONG JR            6976 MOUNTAIN VIEW DRIVE                                                                       HILLSBORO          OH 45133‐8338
SAMUEL LOPEZ              609 COLUMBUS AVE APT 2T                                                                        NEW YORK           NY 10024‐1434
SAMUEL LORENZ             659 VICTORIA AVE                                                                               FLINT              MI 48507‐1730
SAMUEL LOTEMPIO           PO BOX 1189                                                                                    WILLIAMSVILLE      NY 14231‐1189
SAMUEL LOVE               636 FOREST ST                                                                                  CHARLOTTE          MI 48813‐1238
SAMUEL LOWE               3218 POTOMAC AVE                                                                               WARREN             MI 48091‐3964
SAMUEL LUCIUS             8387 ALLAN RD                                                                                  NEW LOTHROP        MI 48460‐9718
SAMUEL LUEDKE             8300 RUSSELL ST                                                                                SHELBY TOWNSHIP    MI 48317‐5355
SAMUEL LUPTAK             247 JOHNSON RD                                                                                 W MIDDLESEX        PA 16159‐4431
SAMUEL LUTE               3689 HIDDEN FOREST DR                                                                          ORION              MI 48359‐1473
SAMUEL LYLES              PO BOX 722                                                                                     INKSTER            MI 48141‐0722
SAMUEL M CLARK            4513 CLAREWOOD AVE                                                                             RIVERSIDE          OH 45431‐1007
SAMUEL M CONDY            396 BENT TWIG DR                                                                               VANDALIA           OH 45377‐2702
SAMUEL M DIXON            19346 MIDDLESEX AVE                                                                            SOUTHFIELD         MI 48076‐4439
SAMUEL M JONES            PO BOX 147                       90 NEWBURY POINT RD                                           PHIPPSBURG         ME 04502
SAMUEL M MAGEE            5198 HWY 98 EAST                                                                               MCCOMB             MS 39648‐9619
SAMUEL M PALOMBINI SR     C/O GOLDBERG PERSKY & WHITE PC   1030 FIFTH AVE                                                PITTSBURGH         PA 15219
SAMUEL M WEBB             C/O WEITZ & LUXENBERG PC         700 BROADWAY                                                  NEW YORK CITY      NY 10003
SAMUEL M. EICH, III       1104 LAKEWOOD DR                                                                               GREENSBORO         NC 27410
SAMUEL MAC BRIDE          26778 WALLACE DR                                                                               FLAT ROCK          MI 48134‐1872
SAMUEL MACON              16730 W 145TH PL                                                                               LOCKPORT            IL 60441‐2340
SAMUEL MADDEN             34050 GLOVER ST                                                                                WAYNE              MI 48184‐2904
SAMUEL MALDEN             6035 RICHMOND RD                                                                               SOLON              OH 44139‐2123
SAMUEL MANCUSO            528 SARA DR                                                                                    TROY               MI 48085‐4723
SAMUEL MANFREDO           208 OVERBROOK AVE                                                                              TONAWANDA          NY 14150‐8305
SAMUEL MANN               5103 MILLENIUM DR                                                                              WILLINGBORO        NJ 08046‐1054
SAMUEL MANSKER            8400 W ASHFORD LN                                                                              MUNCIE             IN 47304‐9005
SAMUEL MANWELL            PO BOX 514                                                                                     CHAPEL HILL        TN 37034‐0514
SAMUEL MARSH              602 S POPLAR AVE                                                                               ANDREWS            SC 29510‐2867
SAMUEL MARSH              G3367 MACKIN RD                                                                                FLINT              MI 48504‐3280
SAMUEL MARTIN             681 CEDAR ROCK RD                                                                              GREENVILLE         GA 30222‐4163
SAMUEL MARTIN             14381 TERRY ST                                                                                 DETROIT            MI 48227‐5514
SAMUEL MARTIN             2106 CASALOMA CT                                                                               FLINT              MI 48532‐2717
SAMUEL MARTINEZ, JR.      4627 MOURNING DOVE LN                                                                          WICHITA FALLS      TX 76305‐5227
SAMUEL MARVICSIN          12 BRENTWOOD RD                                                                                MANSFIELD          OH 44907‐1602
SAMUEL MARVIN             1243 ALLEN ST                                                                                  BURTON             MI 48529‐1103
SAMUEL MASON              2193 WILL BUTCHEE RD                                                                           LAUDERDALE         MS 39335‐9656
SAMUEL MASON              BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                    BOSTON HEIGHTS     OH 44236
SAMUEL MASSINGILL I I I   PO BOX 292465                                                                                  DAVIE              FL 33329‐2465
SAMUEL MASTORIO JR        229 RICHARD CT                                                                                 SPOTSWOOD          NJ 08884‐1569
SAMUEL MATLOCK            1328 S BANNER AVE                                                                              INDIANAPOLIS       IN 46241‐2910
SAMUEL MATTHEWS           54881 WALNUT DR                                                                                NEW HUDSON         MI 48165‐9500
SAMUEL MATTHEWS           RICHARDSON PATRICK WESTBROOK &   1730 JACKSON STREET PO BOX 1368                               BARWELL            SC 29812
                          BRICKMAN LLC
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Name                     Address1                         Address2                     Address3   Address4         City                State Zip
SAMUEL MAXWELL           12939 N INDIAN RIVER DR LOT 13                                                            SEBASTIAN            FL 32958‐3877
SAMUEL MAXWELL           12939 N. INDIAN RIVER DRIVE                                                               SEBASTIAN            FL 32958
SAMUEL MAYNARD           9335 BORROR RD                                                                            ORIENT               OH 43146‐9520
SAMUEL MAYNOR            1110 ELM CIR                                                                              PLEASANT HILL        MO 64080‐1692
SAMUEL MAZZOLA           221 CEDARWOOD CT                                                                          DEBARY               FL 32713‐2222
SAMUEL MC CULLOUGH       PO BOX 354                                                                                ROMULUS              MI 48174
SAMUEL MC CULLOUGH       104 HICKORY MANOR DR                                                                      ROCHESTER            NY 14606‐4556
SAMUEL MCALILY           2402 E PRESTON ST                                                                         BALTIMORE            MD 21213‐3614
SAMUEL MCBRIDE           21330 DEAN RD                                                                             HARLAN               IN 46743‐7465
SAMUEL MCCARTY           617 COLD CREEK BLVD                                                                       SANDUSKY             OH 44870‐8136
SAMUEL MCCLURE           2838 W MAIN ST                                                                            TROY                 OH 45373‐9410
SAMUEL MCCORMICK JR      8209 FAULKNER DR                                                                          DAVISON              MI 48423‐9535
SAMUEL MCCOY             221 FALLING LEAF DR                                                                       LAPEER               MI 48446‐3192
SAMUEL MCDANIEL          583 ORCHARD ST 1ST                                                                        NEW HAVEN            CT 06511
SAMUEL MCDANIEL          2890 MIDDLEBURG DR                                                                        COLLEGE PARK         GA 30349‐4156
SAMUEL MCGILL            7290 IRISH RD                                                                             OTISVILLE            MI 48463‐9417
SAMUEL MCHAN             39845 VALIANT DR                                                                          STERLING HTS         MI 48313‐5177
SAMUEL MCHANEY           8520 NARROW LAKE RD                                                                       SPRINGPORT           MI 49284‐9303
SAMUEL MCMELLEN          3419 POOR HOUSE RD                                                                        MARTINSBURG          WV 25403‐5937
SAMUEL MCNEAL            409 WEST JAMIESON STREET                                                                  FLINT                MI 48505‐4057
SAMUEL MCNUTT            6967 COUNTRY MANOR DR                                                                     MEMPHIS              TN 38133‐4837
SAMUEL MCPHERSON I I I   218 PARKWOOD CIR                                                                          CANONSBURG           PA 15317‐9545
SAMUEL MCPHERSON JR      534 RIO GRANDE                                                                            EDGEWATER            FL 32141‐7611
SAMUEL MEECE             2849 CYPRESS WAY                                                                          CINCINNATI           OH 45212‐2447
SAMUEL MELCHOR           2132 AVON ST                                                                              SAGINAW              MI 48602‐3957
SAMUEL MELNYK            354 SILMAN ST                                                                             FERNDALE             MI 48220‐2570
SAMUEL MELTZER           1420 OCEAN WAY APT 3B                                                                     JUPITER              FL 33477‐7271
SAMUEL MERRILL           PO BOX 58                                                                                 PICKFORD             MI 49774
SAMUEL MESSER            2451 MELVIN AVE                                                                           ROCHESTER HILLS      MI 48307‐4860
SAMUEL METZGER           81 MAPLE LN                                                                               MANSFIELD            OH 44906‐2344
SAMUEL MILAZZO           41330 N CONGRESSIONAL DR                                                                  ANTHEM               AZ 85086‐1809
SAMUEL MILLER            814 W OAKLEY PARK RD                                                                      COMMERCE TOWNSHIP    MI 48390‐1245
SAMUEL MILLER            49822 SERENITY LN                                                                         SHELBY TOWNSHIP      MI 48315‐3382
SAMUEL MILLS             39204 RICHLAND ST                                                                         LIVONIA              MI 48150‐4541
SAMUEL MILLS             417 JOAN AVE                                                                              GIRARD               OH 44420‐2716
SAMUEL MILTON JR         1980 LANDMARK DR APT 401                                                                  INDIANAPOLIS         IN 46260‐3062
SAMUEL MINES             PO BOX 80991                                                                              LANSING              MI 48908‐0991
SAMUEL MINES             2313 MARCH DR                                                                             SPRING HILL          TN 37174‐7510
SAMUEL MITCHELL          555 GRAPE ST                                                                              PORTLAND             MI 48875‐1024
SAMUEL MITCHELL          2914 ROUNDTREE DR                                                                         TROY                 MI 48083‐2348
SAMUEL MITCHELL          9415 CASTLEBROOK DR                                                                       SHREVEPORT           LA 71129‐4838
SAMUEL MITCHELL          6171 INDUSTRIAL LOOP             APT E202                                                 SHREVEPORT           LA 71129
SAMUEL MITCHELL          4230 WOODWARD CT                                                                          GRAND PRAIRIE        TX 75052‐3914
SAMUEL MITCHELL JR       106 WILPARK DR                                                                            AKRON                OH 44312‐3591
SAMUEL MIXON             2401 13TH ST SE                                                                           DECATUR              AL 35601‐5307
SAMUEL MOGG              509 W BRAND ST                                                                            DURAND               MI 48429‐1118
SAMUEL MONTY             BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS           OH 44236
SAMUEL MOORE             4224 BUCHANAN ST                                                                          DETROIT              MI 48210‐2641
SAMUEL MOORE             3910 W JEFFERSON AVE                                                                      TRENTON              MI 48183‐4207
SAMUEL MOORE             PO BOX 458                                                                                MOUNT MORRIS         MI 48458‐0458
SAMUEL MOORE             418 GREENLAWN ST                                                                          YPSILANTI            MI 48198‐5932
SAMUEL MOORE JR.         4090 W COUNTY ROAD 775 N                                                                  ORLEANS              IN 47452‐9241
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Name                        Address1                           Address2                         Address3             Address4           City            State Zip
SAMUEL MORELLO              7729 SHADY BEACH ST                                                                                         WHITMORE LAKE    MI 48189‐9638
SAMUEL MORENO               460 KERN ST                                                                                                 KINGSBURG        CA 93631‐9277
SAMUEL MORGAN               9134 SE 135TH LN                                                                                            SUMMERFIELD      FL 34491‐7963
SAMUEL MORGAN               513 W DEWEY ST                                                                                              FLINT            MI 48505‐4003
SAMUEL MORRIS               15812 ROCKDALE ST                                                                                           DETROIT          MI 48223‐1167
SAMUEL MOSLEY               PO BOX 463                                                                                                  GREENWOOD        LA 71033‐0463
SAMUEL MOSS                 1525 STATE RD NW                                                                                            WARREN           OH 44481‐9132
SAMUEL MOTLEY               5515 LESLIE DR                                                                                              FLINT            MI 48504‐7041
SAMUEL MOULTRAY             134 AUCKLAND DR                                                                                             NEWARK           DE 19702‐4257
SAMUEL MULLEN‐PERRON        1109 N. COURT ST                                                                                            LE SUEUR         MN 56058
SAMUEL MULLINS              10716 EXETER RD                                                                                             CARLETON         MI 48117‐9004
SAMUEL MUNDY                796 WOODSFERRY RD                                                                                           BEDFORD          IN 47421‐8373
SAMUEL MURPHY JR            11020 DUNKLIN DR APT 209                                                                                    SAINT LOUIS      MO 63138‐3905
SAMUEL MUSSOLINO            208 MUSE ST                                                                                                 FALLING WTRS     WV 25419‐3640
SAMUEL MYERS                9597 WILLARD RD                                                                                             MILLINGTON       MI 48746‐9325
SAMUEL N HEMINGWAY          3101 HONEYCUTT CIR                                                                                          DAYTON           OH 45414
SAMUEL N LUCE               ROBERT W PHILLIPS                  SIMMONS BROWDER GIANARIS         707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON        IL 62024
                                                               ANGELIDES & BARNERD LLC
SAMUEL N STAPLER            C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                                HOUSTON          TX   77007
                            BOUNDAS LLP
SAMUEL NACIANCENO           457 NIX CREEK CHURCH RD                                                                                     MARION          NC    28752‐9587
SAMUEL NAPIER               7181 COUNTY ROAD 37                                                                                         MANSFIELD       OH    44904‐9695
SAMUEL NAYLOR               954 WHITBY RD                                                                                               CLEVELAND       OH    44112‐2348
SAMUEL NAYLOR               527 PEARL ST                                                                                                BEREA           OH    44017‐1267
SAMUEL NAYLOR               BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS      OH    44236
SAMUEL NEALY III            326 W. GRAND RIVER AVE.                                                                                     LANSING         MI    48906
SAMUEL NEFF E (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.    ONE CENTURY TOWER, 11TH FLOOR,                                           NEW HAVEN       CT    06510
                                                               265 CHURCH ST
SAMUEL NEVELS               452 N WOOD ST                                                                                               WILMINGTON      OH    45177‐1241
SAMUEL NEVI                 1430 YOLANDA DR                                                                                             YOUNGSTOWN      OH    44515‐4653
SAMUEL NEW                  890 SOUTHAMPTON ST                                                                                          AUBURN HILLS    MI    48326‐3461
SAMUEL NEWSON               PO BOX 511                                                                                                  WILLACOOCHEE    GA    31650‐0511
SAMUEL NICHOLS              5185 WOODCLIFF DR                                                                                           FLINT           MI    48504‐1256
SAMUEL NOBLE                4250 BRYAN RD                                                                                               LAND O LAKES    FL    34639‐3916
SAMUEL NOLEN JR             11502 SOUTHLAND RD                                                                                          CINCINNATI      OH    45240‐2644
SAMUEL NORTHRUP             1400 HOBNAIL CT                                                                                             DAVISON         MI    48423‐2204
SAMUEL NORTON               17303 THROCKLEY AVE                                                                                         CLEVELAND       OH    44128‐1601
SAMUEL NOTARUS              5550 W 22ND PL APT 207                                                                                      CICERO          IL    60804‐2753
SAMUEL NUCKLES              934 OVERBROOK CIR                                                                                           MARIETTA        GA    30062‐2345
SAMUEL NUNN                 2711 SEDGEMOOR DR                                                                                           GRAND PRAIRIE   TX    75052‐4568
SAMUEL O BASHANS            PO BOX 105                                                                                                  SAINT CHARLES   MI    48655‐0105
SAMUEL O MOSS               1525 STATE RD                                                                                               WARREN          OH    44481‐9132
SAMUEL O ROBINSON           1033 APACHE ST                                                                                              NO. BRUNSWICK   NJ    08902
SAMUEL O'NEIL               12 WATERVILLE ST                                                                                            NORTH GRAFTON   MA    01536‐1823
SAMUEL OLIVER               610 PARKLAND DR                                                                                             CANONSBURG      PA    15317‐1206
SAMUEL OLIVER               302 E AUSTIN AVE                                                                                            FLINT           MI    48505‐2886
SAMUEL OLIVER               BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS      OH    44236
SAMUEL ONEAL                PO BOX 901                                                                                                  SAGINAW         MI    48606‐0901
SAMUEL OPPEDISANO           511 PLYMOUTH AVE                                                                                            SYRACUSE        NY    13211‐1242
SAMUEL ORANGE               115 MOORE ST                                                                                                SPRINGHILL      LA    71075‐3921
SAMUEL ORDAZ                392 CANNONADE CIR                                                                                           FRANKLIN        TN    37069‐1827
SAMUEL ORHA                 968 KINGS HWY APT Y6                                                                                        WEST DEPTFORD   NJ    08086‐9327
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Name                   Address1                         Address2                      Address3   Address4         City              State Zip
SAMUEL OSBORNE         PO BOX 310574                                                                              FLINT              MI 48531‐0574
SAMUEL OVERHOLT        42078 ZACHARY ST                                                                           BELLEVILLE         MI 48111‐1408
SAMUEL OVERTON JR      10937 BRANDONWOOD LN                                                                       MATTHEWS           NC 28105‐2131
SAMUEL OWEN            1405 CIRCLE DR                                                                             PARAGOULD          AR 72450‐4820
SAMUEL OWENS           617 SHADOW GROVE CT                                                                        NORMAN             OK 73072‐5302
SAMUEL OZENGHAR        10413 STRATTON RD                                                                          SALEM              OH 44460‐9641
SAMUEL P DE PASQUALE   202 FLORIDA RD S                                                                           SYRACUSE           NY 13211‐1815
SAMUEL P GRANT         303 SAVANNAH RD                                                                            TOMS RIVER         NJ 08757
SAMUEL P LOVE JR       PO BOX 52268                                                                               SHREVEPORT         LA 71135‐2268
SAMUEL P TALLO         2806 KENNERDELL RD                                                                         KENNERDELL         PA 16374
SAMUEL P TOMASELLI     158 JACKSON ST                                                                             BATAVIA            NY 14020‐3547
SAMUEL PACE            515 PARKSIDE BLVD                                                                          CLEVELAND          OH 44143‐2811
SAMUEL PAIGE           845 WILSON CIR SW                                                                          MARIETTA           GA 30064‐3006
SAMUEL PALUMBO         6665 ALBANY WOODS BLVD                                                                     NEW ALBANY         OH 43054‐8660
SAMUEL PARKER          8171 PICKERING PL                                                                          WESTLAND           MI 48185‐2696
SAMUEL PARKS           4226 DAVIS RD                                                                              BUFORD             GA 30518‐4932
SAMUEL PARRISH         PO BOX 653                                                                                 BRANDON            MS 39043‐0653
SAMUEL PARSLEY         1041 DIANA DR                                                                              WEBSTER SPRINGS    WV 26288‐9008
SAMUEL PATE            2147 W 65TH ST                                                                             INDIANAPOLIS       IN 46260‐4376
SAMUEL PATRICIA DOTO   12 OLD SALEM CT                                                                            CHERRY HILL        NJ 08034
SAMUEL PATRICK JR      110 WHISPERING PINES ST                                                                    SPRINGBORO         OH 45066‐9758
SAMUEL PATTERSON       145 OAK HILL DR                                                                            MARYVILLE           IL 62062‐6481
SAMUEL PATTERSON       45 HONEYCOMB RD                                                                            BALTIMORE          MD 21220‐3440
SAMUEL PATTON          7380 RORY ST                                                                               GRAND BLANC        MI 48439‐9349
SAMUEL PEACH           2411 PLANO RD                                                                              BOWLING GREEN      KY 42104‐7844
SAMUEL PELOQUEN        THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                               HOUSTON            TX 77017
SAMUEL PENN            199 FOWLER ST                                                                              CORTLAND           OH 44410‐1344
SAMUEL PENN            PO BOX 272                                                                                 CEDAR BLUFF        AL 35959‐0272
SAMUEL PENNINGTON      4201 DARBY ST                                                                              SAINT LOUIS        MO 63120‐1423
SAMUEL PEREZ           9646 LEV AVE                                                                               ARLETA             CA 91331‐4663
SAMUEL PEREZ           930 JEFFERSON AVE                                                                          DEFIANCE           OH 43512‐2804
SAMUEL PERLITE         5538 S EMERALD AVE                                                                         CHICAGO             IL 60621‐2954
SAMUEL PERRY           PO BOX 87                                                                                  W ALEXANDRIA       OH 45381‐0087
SAMUEL PHILBRICK       1542 BAKER ST                                                                              LIBERTY            MO 64068‐3006
SAMUEL PHILLIPS        113 SPRINGCLIFF RD                                                                         MONTICELLO         KY 42633‐7434
SAMUEL PHISTRY JR      2654 N 162ND LN                                                                            GOODYEAR           AZ 85395‐2096
SAMUEL PICKENS         5042 WEST FRANCES ROAD                                                                     CLIO               MI 48420‐8578
SAMUEL PIERCE          8124 LINCOLN                                                                               LOCKPORT           NY 14094
SAMUEL PITTS           1337 S CHIPMAN ST                                                                          OWOSSO             MI 48867‐4162
SAMUEL PITTS           1525 MACKIN RD                                                                             FLINT              MI 48503‐1257
SAMUEL PLOTT           8260 MAGNET RD NE                                                                          MINERVA            OH 44657‐8753
SAMUEL PLYLER          6121 N ELMS RD                                                                             FLUSHING           MI 48433‐9018
SAMUEL POOR            8300 S BURLINGTON DR                                                                       MUNCIE             IN 47302‐9619
SAMUEL PORTER          2253 PINEWOOD DR                                                                           DECATUR            GA 30032‐5429
SAMUEL PORTER          3745 BRIDGEVIEW DR                                                                         SOUTH EUCLID       OH 44121‐1930
SAMUEL PORTER          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS         OH 44236
SAMUEL POSTLETHWAIT    8771 DILLON DR SE                                                                          WARREN             OH 44484‐3105
SAMUEL POTEET          PO BOX 36                                                                                  GERMANTOWN         OH 45327‐0036
SAMUEL POTEET JR       8727 CLEARCREEK RD                                                                         SPRINGBORO         OH 45066‐8725
SAMUEL PRABAKARAN      129 PARK HILL RD                                                                           SIMI VALLEY        CA 93065‐7384
SAMUEL PRESLEY         313 S ELM ST                                                                               SAGINAW            MI 48602‐1830
SAMUEL PRESUTTO        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS         OH 44236
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Name                 Address1                       Address2                     Address3   Address4         City               State Zip
SAMUEL PRINCE        PO BOX 47099                                                                            OAK PARK            MI 48237‐4799
SAMUEL PRITCHARD     BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
SAMUEL PROFIT        1655 CENTERVIEW DR APT 423                                                              DULUTH              GA 30096‐7694
SAMUEL PRYFOGLE      11425 W VIRGINIA AVE                                                                    AVONDALE            AZ 85392‐5030
SAMUEL QUALLS        14810 TILLEY ST                                                                         HOUSTON             TX 77084‐2158
SAMUEL QUINONES      4501 W 191ST ST                                                                         CLEVELAND           OH 44135‐1720
SAMUEL R BEMBRY      1716 PINGREE ST                                                                         DETROIT             MI 48206‐2476
SAMUEL R CHINELLI    2596 ATLANTIC AVE                                                                       ROCHESTER           NY 14625‐1543
SAMUEL R JAPUNCHA    5032 STATE ROUTE 305                                                                    FOWLER              OH 44418‐9701
SAMUEL R MARSHALL    141 LINDEN AVE SE                                                                       WARREN              OH 44483
SAMUEL R MILLER      1811 SHERMAN AVE                                                                        MIDDLETOWN          OH 45044‐4454
SAMUEL R NEVI        1430 YOLANDA PLACE                                                                      YOUNGSTOWN          OH 44515‐4653
SAMUEL R RICHEY      C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                HOUSTON             TX 77007
                     BOUNDAS LLP
SAMUEL R ROCKEY      3230 E WATER ST                                                                         LOCK HAVEN         PA   17745
SAMUEL R STJOHN      7182 S.R. 45 N.W.                                                                       N. BLOOMFIELD      OH   44450‐9719
SAMUEL R TAULBEE     313 E. DOROTHY LANE                                                                     KETTERING          OH   45419‐1713
SAMUEL R TOCCI       4198 S CELEBRATION DR                                                                   GOLD CANYON        AZ   85118
SAMUEL R. CURTO      113 N. WATERSEDGE LN                                                                    LITTLETON          NC   27580‐8150
SAMUEL RABOURN       7920 JANEL DR                                                                           INDIANAPOLIS       IN   46237‐9398
SAMUEL RADOMSKY      PO BOX 1249                                                                             STANDISH           MI   48658‐1249
SAMUEL RAIFORD       6409 HOOVER AVE                                                                         TROTWOOD           OH   45427‐1551
SAMUEL RAIRIGH       2941 MALIBU DR SW                                                                       WARREN             OH   44481‐9230
SAMUEL RAMIREZ       400 S MAIN ST                                                                           CAPAC              MI   48014‐3719
SAMUEL RAMIREZ JR    3139 S HURON RD                                                                         BAY CITY           MI   48706‐1561
SAMUEL RANDOW JR     24 RIDGE DRIVE, IVY RIDGE                                                               NEW CASTLE         DE   19720
SAMUEL RASTOSKEY     3829 SHEFFIELD RD                                                                       HICKORY CORNERS    MI   49060‐9741
SAMUEL REDDING       PO BOX 571                                                                              FORSYTH            GA   31029‐0571
SAMUEL REED          7721 E PICCADILLY RD                                                                    MUNCIE             IN   47302‐8648
SAMUEL REED          202 VALLEY VIEW ROAD                                                                    SANDY LAKE         PA   16145‐4408
SAMUEL REED          1105 ANGEL FIRE LN                                                                      ARLINGTON          TX   76001‐7898
SAMUEL REEVES        220 DIXIE RD                                                                            BERNICE            LA   71222‐5416
SAMUEL REEVES        10621 BREED AVE                                                                         OAKLAND            CA   94603‐3929
SAMUEL REEVES        155 BAILEY AVE                                                                          BRIDGE CITY        TX   77611‐3502
SAMUEL REEVES        901 PALLISTER ST APT 412                                                                DETROIT            MI   48202‐2680
SAMUEL REID          3630 GOLF COURSE RD                                                                     SPENCER            VA   24165‐3490
SAMUEL REPPY         40 N PLEASANT AVE                                                                       NILES              OH   44446‐1135
SAMUEL REVELS JR     1379 W LAKE RD                                                                          CLIO               MI   48420‐8807
SAMUEL REYNOLDS      17 ALEXANDER LOOP                                                                       PHENIX CITY        AL   36869‐3424
SAMUEL RHODES        8 SUMMIT CT                                                                             MANSFIELD          OH   44906‐3735
SAMUEL RICH          2111 ELM TRACE ST                                                                       YOUNGSTOWN         OH   44515‐4811
SAMUEL RICHARDSON    31 JOHNSON AVE                                                                          CRANFORD           NJ   07016‐2639
SAMUEL RICHARDSON    34024 TYLER DR                                                                          STERLING HTS       MI   48310‐6602
SAMUEL RITCHIE       3469 PLAINS DR                                                                          WATERFORD          MI   48329‐4324
SAMUEL ROBB          13660 W. COUNTY 125 N.                                                                  DALEVILLE          IN   47334
SAMUEL ROBBINS       4676 GERTRUDE ST                                                                        DEARBORN HEIGHTS   MI   48125‐2806
SAMUEL ROBERTS       33467 LAKEWOOD SHORES DR                                                                SUNRISE BEACH      MO   65079‐2000
SAMUEL ROBERTS       320 GENESEE PARK DR                                                                     SYRACUSE           NY   13224‐1562
SAMUEL ROBERTS JR    413 E MYRTLE AVE                                                                        FLINT              MI   48505‐3872
SAMUEL ROBINSON      1033 APACHE ST                                                                          NORTH BRUNSWICK    NJ   08902‐4127
SAMUEL ROBINSON      30 TROIS CT                                                                             FORT MYERS         FL   33912‐2141
SAMUEL ROBINSON JR   PO BOX 463047                                                                           MOUNT CLEMENS      MI   48046‐3047
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Name                   Address1                       Address2                     Address3                     Address4         City              State Zip
SAMUEL ROBINSON JR     4144 E 147TH ST                                                                                           CLEVELAND          OH 44128‐1865
SAMUEL RODGERS, SR     C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                                 HOUSTON            TX 77007
                       BOUNDAS, LLP
SAMUEL RODRIGUEZ       734 CLARA AVE                                                                                             PONTIAC           MI   48340‐2036
SAMUEL RODRIGUEZ       1509 ROANOKE ST                                                                                           ARLINGTON         TX   76014‐2446
SAMUEL ROE             6410 HAVEN DR                                                                                             GRAND BLANC       MI   48439‐9718
SAMUEL ROELOFS         963 W CROSS ST                                                                                            YPSILANTI         MI   48197‐2708
SAMUEL ROEMER          16 PARA LN                                                                                                NEWARK            DE   19702‐5139
SAMUEL ROGERS          5476 BEECHWOOD RD                                                                                         RAVENNA           OH   44266‐9172
SAMUEL ROHRAFF         1232 EASLEY DR                                                                                            WESTLAND          MI   48186‐4877
SAMUEL ROMERO          117 SOUTH ST                                                                                              OVID              MI   48866‐9708
SAMUEL ROSE            2110 M L KING AVE                                                                                         FLINT             MI   48503‐1028
SAMUEL ROSIAR          657 S WONNELL RD                                                                                          PORT CLINTON      OH   43452‐9655
SAMUEL ROTHROCK        10942 HIGHWAY NN                                                                                          SWEET SPRINGS     MO   65351‐2210
SAMUEL RUBIN           34453 RIDGEMONT CT                                                                                        FRASER            MI   48026‐3579
SAMUEL RUBIO           2509 W JACINTO AVE                                                                                        MESA              AZ   85202‐5451
SAMUEL RUE             108 S 5TH ST                                                                                              OAKWOOD           OH   45873‐9683
SAMUEL RUFF            18 HAMLIN RD                                                                                              BUFFALO           NY   14208‐1536
SAMUEL RUSCH           8882 SE ELDORADO WAY                                                                                      HOBE SOUND        FL   33455‐8918
SAMUEL RUSSELL         51 TEMPLE DR                                                                                              XENIA             OH   45385‐1339
SAMUEL S BEHR          3308 JARVIS                                                                                               WARREN            MI   48091‐3466
SAMUEL S ERWIN         7070 BRIXTON PL                                                                                           SUWANEE           GA   30024
SAMUEL S LANGWORTHY    G1438 W CARPENTER RD                                                                                      FLINT             MI   48505‐2026
SAMUEL S SALYERS       2916 HOYLAKE CT.                                                                                          DAYTON            OH   45439‐1403
SAMUEL S SALYERS       2916 HOYLAKE CT                                                                                           MORAINE           OH   45439‐1403
SAMUEL S SHROYER JR    6065 BROOKVILLE SALEM RD                                                                                  CLAYTON           OH   45315‐8783
SAMUEL S ZINONE        40 LORI LANE                                                                                              ROCHESTER         NY   14624‐1418
SAMUEL SALIBA          47575 GREENVIEW RD                                                                                        SHELBY TOWNSHIP   MI   48317‐2829
SAMUEL SALYERS         2916 HOYLAKE CT                                                                                           MORAINE           OH   45439‐1403
SAMUEL SAMFILIPPO JR   20430 ROSE CT                                                                                             BROWNSTOWN TWP    MI   48183‐4834
SAMUEL SAMPIERI        7 E SUNMIST SQUARE                                                                                        AMHERST           NY   14228
SAMUEL SANCHEZ         817 BLAINE AVE                                                                                            FILLMORE          CA   93015‐1209
SAMUEL SANCHEZ         3420 HAWTHORNE DR                                                                                         FLINT             MI   48503‐4649
SAMUEL SANCHEZ         7 N LAKE SHORE DR                                                                                         BROOKFIELD        CT   06804‐1417
SAMUEL SANDERS         6516 W STANLEY RD                                                                                         MOUNT MORRIS      MI   48458‐9328
SAMUEL SANDERS JR      PO BOX 483                                                                                                MOUNT MORRIS      MI   48458‐0483
SAMUEL SANDRETTO       1057 MORGAN ST                                                                                            JOLIET            IL   60436‐1468
SAMUEL SANDS           835 HULL AVE                                                                                              LEWISBURG         TN   37091‐4019
SAMUEL SARTIN          555 VANDYKE GREENSPRING RD                                                                                TOWNSEND          DE   19734‐9223
SAMUEL SAUER           28577 AYER‐PLEASANT RD                                                                                    DEFIANCE          OH   43512
SAMUEL SCALES          112 BASSETT LN                                                                                            YOUNGSTOWN        OH   44505‐4806
SAMUEL SCARLETT        206 BLAINE AVE #2                                                                                         BUFFALO           NY   14208
SAMUEL SCHENKER JR     4665 DRIFTWOOD LN                                                                                         YOUNGSTOWN        OH   44515‐4832
SAMUEL SCHNEIDER       16421 RIDGEVIEW                                                                                           HOLLY             MI   48442‐8392
SAMUEL SCHREIBER       22 BIRDSONG                                                                                               IRVINE            CA   92604
SAMUEL SCIOLINO        92 CHARLESTON AVE                                                                                         KENMORE           NY   14217‐2902
SAMUEL SCOTT           10231 SARATOGA ST                                                                                         OAK PARK          MI   48237‐3925
SAMUEL SCOTT           PO BOX 144                                                                                                LIZTON            IN   46149‐0144
SAMUEL SCOTT           PO BOX 291                                                                                                ANNISTON          MO   63820‐0291
SAMUEL SCOTT           ATTN: ROBERT W PHILLIPS        SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD, PO BOX                    EAST ALTON        IL   62024
                                                      ANGELIDES & BARNERD LLC      521
SAMUEL SCOTT JR        P O 13166                                                                                                 FLINT             MI 48501
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Name                          Address1                         Address2                     Address3                 Address4                City            State Zip
SAMUEL SCRUGGS                237 MAPLE WREATH COURT                                                                                         ABINGDON         MD 21009
SAMUEL SCRUGGS SR.            237 MAPLE WREATH CT                                                                                            ABINGDON         MD 21009‐2776
SAMUEL SEGALL                 14085 VICTORIA ST                                                                                              OAK PARK         MI 48237‐1411
SAMUEL SEGER                  289 BROMLEY ROAD                                                                                               CHURCHVILLE      NY 14428‐9768
SAMUEL SENTNER                3226 NORTH PARK EXTENSION                                                                                      WARREN           OH 44483
SAMUEL SEPULVEDA              4681 HACKETT RD                                                                                                SAGINAW          MI 48603‐9677
SAMUEL SERRANO                123 MANGRUM DR                                                                                                 COLUMBIA         TN 38401‐6163
SAMUEL SHELTON                8525 W STATE ROAD 236                                                                                          MIDDLETOWN       IN 47356‐9326
SAMUEL SHERWIN                21202 LA ROI CIR                                                                                               MACOMB           MI 48044‐4344
SAMUEL SHIPLEY                6039 WEAVER RD                                                                                                 BERLIN CENTER    OH 44401‐8715
SAMUEL SHOWMAN                1005 PROFESSOR RD                                                                                              LYNDHURST        OH 44124‐1149
SAMUEL SHROYER JR             6065 BROOKVILLE SALEM RD                                                                                       CLAYTON          OH 45315‐8783
SAMUEL SHUMYLA                BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS       OH 44236
SAMUEL SIMMON                 11218 W DEXTER TRL                                                                                             WESTPHALIA       MI 48894‐9245
SAMUEL SIMMONS                113 W FAIRMOUNT AVE                                                                                            PONTIAC          MI 48340‐2737
SAMUEL SIMON                  1216 WALTERS AVE                                                                                               BALTIMORE        MD 21239‐2826
SAMUEL SIMS                   17616 WOODINGHAM DR                                                                                            DETROIT          MI 48221‐4506
SAMUEL SIRWELL                153 KLEBER AVE                                                                                                 AUSTINTOWN       OH 44515‐1736
SAMUEL SKOUSEN                30979 BRAMLEY CIR                                                                                              NEW HUDSON       MI 48165‐9647
SAMUEL SKYLES                 5911 CENTRAL AVE                                                                                               GWYNN OAK        MD 21207‐4802
SAMUEL SLOBAN JR              1114 SHADOW RIDGE DR                                                                                           NILES            OH 44446‐3559
SAMUEL SMALLS                 350 CASCADE RISE CT SW                                                                                         ATLANTA          GA 30331‐8357
SAMUEL SMILEY                 11325 STONYBROOK DR                                                                                            GRAND BLANC      MI 48439‐1009
SAMUEL SMILEY                 342 LEISURE LN                                                                                                 MEDINA           OH 44256‐1676
SAMUEL SMITH                  51 EZIO DR                                                                                                     ROCHESTER        NY 14606‐5148
SAMUEL SMITH                  3951 CACTUS LN                                                                                                 MOUNT DORA       FL 32757‐5220
SAMUEL SMITH                  2027 N FULTON AVE                                                                                              BALTIMORE        MD 21217‐1306
SAMUEL SMITH                  526 E DEWEY ST                                                                                                 FLINT            MI 48505‐4242
SAMUEL SMITH                  3942 ALVIN AVE                                                                                                 DAYTON           OH 45408‐2310
SAMUEL SMITH                  494 NAVARRE DR                                                                                                 STONE MTN        GA 30087‐5110
SAMUEL SMITH                  1201 S MAIN ST                                                                                                 LIMA             OH 45804‐2046
SAMUEL SMITH                  10701 PASSENHEIM RD                                                                                            GAYLORD          MI 49735‐8422
SAMUEL SMITH                  7262 LAWRENCE ST                                                                                               GRAND BLANC      MI 48439‐9308
SAMUEL SMITH                  552 NELSON HOLLOW RD                                                                                           SOMERVILLE       AL 35670‐5704
SAMUEL SMITH                  1422 W COURT ST                  C/O FAMILY SERVICE AGENCY                                                     FLINT            MI 48503‐5008
SAMUEL SMITH                  125 N 80TH PL                                                                                                  KANSAS CITY      KS 66111‐3057
SAMUEL SMITH                  3942 ALVIN STREET                                                                                              DAYTON           OH 45408‐2310
SAMUEL SMITH JR               4706 BLOOMFIELD DR                                                                                             TROTWOOD         OH 45426‐1808
SAMUEL SNIVELY                2908 ROUTE 982                                                                                                 MT PLEASANT      PA 15666
SAMUEL SNOWDEN                6117 MASON RD                                                                                                  SANDUSKY         OH 44870‐9347
SAMUEL SNOWDEN JR             1705 W HOME AVE                                                                                                FLINT            MI 48504‐1619
SAMUEL SNYDER                 2397 US ROUTE 127 N                                                                                            EATON            OH 45320‐9201
SAMUEL SON & CO               345 SALMON DR                                                                                                  PORTAGE          IN 46368‐1375
SAMUEL SON & CO LIMITED       1211 HERITAGE RD                                                                       MISSISSAUGA CANADA ON
                                                                                                                     L4Y 1Z7 CANADA
SAMUEL SON & CO LTD           2360 DIXIE RD                    MISSISSAUGA                                           ONTARIO CANADA ON L4Y
                                                                                                                     1Z7 CANADA
SAMUEL SON & CO MIDWEST INC   MCCARTER & ENGLISH LLP           ATTN ROBERT J HOELSCHER      1735 MARKET ST STE 700                           PHILADELPHIA    PA 19103
                                                               PARTNER
SAMUEL SOPOCY                 5995 E WILSON RD                                                                                               BANNISTER       MI 48807‐9784
SAMUEL SOUDERS                964 SEYMOUR LAKE RD                                                                                            OXFORD          MI 48371‐4654
SAMUEL SOWARDS                2634 HIAWATHA ST                                                                                               COLUMBUS        OH 43211‐1112
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Name                          Address1                         Address2                      Address3   Address4         City               State Zip
SAMUEL SPATARO                23 FRANCINE DR                                                                             ROCHESTER           NY 14606‐3342
SAMUEL SPECIALTY METALS INC   136 CENTRAL AVE                                                                            CLARK               NJ 07066‐1142
SAMUEL SPRADLIN               610 CHATEAUGAY DR                                                                          PATASKALA           OH 43062‐9428
SAMUEL SPRUILL                4582 ARGYLE DR                                                                             TROY                MI 48085‐3705
SAMUEL ST CLAIR               1449 SR #14 BOX 115                                                                        DEERFIELD           OH 44411
SAMUEL STAMPER                21 2ND AVE                                                                                 CLAYMONT            DE 19703‐2001
SAMUEL STANFIELD              425 IMY LN                                                                                 ANDERSON            IN 46013‐3872
SAMUEL STANKOVICH             1054 TWP RD. 1104                                                                          ASHLAND             OH 44805
SAMUEL STATOM JR              3701 S ROBINWOOD DR                                                                        MUNCIE              IN 47304‐2868
SAMUEL STEEB                  23206 SUNFLOWER RD                                                                         EDGERTON            KS 66021‐9259
SAMUEL STEELE                 THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                               HOUSTON             TX 77017
SAMUEL STEELE III             THE MADEKSHO LAW FIRM            8866 GULF FREEWAY STE 440                                 HOUSTON             TX 77017
SAMUEL STEELEY                521 BIG TIMBER LN                                                                          O FALLON            MO 63368‐3565
SAMUEL STEPHENSON             5519 FERNPARK AVE                                                                          BALTIMORE           MD 21207‐6814
SAMUEL STERN                  54 NARROWBROOK CT                                                                          MANALAPAN           NJ 07726‐8967
SAMUEL STEVENS                1403 AMBER WAVE DR                                                                         O FALLON            MO 63366‐8496
SAMUEL STEVENS                38 ERNST AVE                                                                               BUFFALO             NY 14211‐1456
SAMUEL STEVENS                220 E WOODWARD ST                                                                          PARKER              KS 66072‐9149
SAMUEL STEVENSON              19 HIGHWAY Y                                                                               JONESBURG           MO 63351‐2705
SAMUEL STEVENSON              2425 LYNN AVE                                                                              DAYTON              OH 45406‐1923
SAMUEL STEWARD                PO BOX 32                                                                                  KEMBLESVILLE        PA 19347‐0032
SAMUEL STEWART                2035 SYCAMORE DR                                                                           BEDFORD HTS         OH 44146‐2313
SAMUEL STEWART                505 EMRICK ST                    APT 1                                                     YPSILANTI           MI 48198‐5766
SAMUEL STEWART                412 DARDENNE DR                                                                            O FALLON            MO 63366‐2718
SAMUEL STIFF                  201 ELM ST                                                                                 GAINES              MI 48436‐8701
SAMUEL STILLS                 1708 N WOLFE ST                                                                            MUNCIE              IN 47303‐2468
SAMUEL STJOHN                 7182 STATE ROUTE 45                                                                        NORTH BLOOMFIELD    OH 44450‐9719
SAMUEL STORNANT               513 NORTH MAIN STREET                                                                      BELLEVUE            MI 49021‐1132
SAMUEL STORY                  3429 CHALICE RD                                                                            ORION               MI 48359‐1120
SAMUEL STRUNK                 2110 AVOCA EUREKA RD                                                                       BEDFORD             IN 47421‐8411
SAMUEL STUBBS                 828 BISHOP ST                                                                              MILFORD             MI 48381‐1708
SAMUEL STURGILL               N5257 PINE CONE CIR                                                                        WINTER              WI 54896‐7221
SAMUEL SUITT                  302 KELLY CT                                                                               DUNCANVILLE         TX 75137‐2414
SAMUEL SUMTER                 8227 S KINGSTON AVE                                                                        CHICAGO              IL 60617‐1909
SAMUEL SURBER                 616 BLOOMING VIEW AVE                                                                      NORTH LAS VEGAS     NV 89032‐1156
SAMUEL SWOGER I I I           4492 VIALL RD                                                                              AUSTINTOWN          OH 44515‐2611
SAMUEL T BAKER                102 WALLING GROVE RD                                                                       LADY'S ISLAND       SC 29907‐1000
SAMUEL T BATTLES I I I        7007 NORTHVIEW DR                                                                          LOCKPORT            NY 14094‐5342
SAMUEL T BROWN                1618 PLANTATION DR                                                                         RICHMOND            TX 77406‐1320
SAMUEL T GREGORY              7897 FILLMORE ST                                                                           ZEELAND             MI 49464‐9565
SAMUEL T JEFFERSON            1705 ENOCH DR                                                                              FORT WORTH          TX 76112‐4437
SAMUEL T RAIFORD              6409 HOOVER AVE                                                                            TROTWOOD            OH 45427‐1551
SAMUEL T WHITT                1456 ORCHARD HILL DR                                                                       MIAMISBURG          OH 45342
SAMUEL TALLEY                 PO BOX 2043                                                                                GLASGOW             KY 42142‐2043
SAMUEL TAMBURRINO             25953 HIGHLAND RD                                                                          RICHMOND HTS        OH 44143‐2701
SAMUEL TAN                    268 RIDGE COVE DR                                                                          LEWISVILLE          TX 75067‐3839
SAMUEL TAYLOR                 PO BOX 905                                                                                 SPRING HILL         TN 37174‐0905
SAMUEL TAYLOR                 701 WESTGATE AVE APT 514                                                                   SAINT LOUIS         MO 63130
SAMUEL TAYLOR                 PO BOX 421                                                                                 JACKSON             GA 30233‐0009
SAMUEL TAYLOR                 13 RAY MCCLAIN LN                                                                          TIGER               GA 30576‐2004
SAMUEL TAYLOR                 PO BOX 360455                                                                              DECATUR             GA 30036‐0455
SAMUEL TAYLOR                 C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                BOSTON HEIGHTS      OH 44236
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Name                Address1                         Address2                    Address3   Address4         City              State Zip
SAMUEL TEKLE
SAMUEL TENPENNY     4490 E COUNTY ROAD 700 S                                                                 MUNCIE            IN    47302‐8515
SAMUEL TESTER       4895 W SAGINAW RD                                                                        VASSAR            MI    48768‐9510
SAMUEL THOMAS       C/O LEVY PHILLIPS & KONIGSBERG   800 3RD AVE ‐ 13TH FL                                   NEW YORK          NY    10022‐4213
SAMUEL THOMAS       1708 DUNDALK AVE APT B6                                                                  BALTIMORE         MD    21222‐1057
SAMUEL THOMAS       664 N MCELROY RD                                                                         MANSFIELD         OH    44905
SAMUEL THOMAS JR    3396 MANN RD                                                                             CLARKSTON         MI    48346‐4031
SAMUEL THOMPSON     8714 OTTER COVE CIR                                                                      INDIANAPOLIS      IN    46236‐9019
SAMUEL THORNTON     19215 LUMPKIN ST                                                                         DETROIT           MI    48234‐4505
SAMUEL THREETS      25049 LINDENWOOD LN                                                                      SOUTHFIELD        MI    48033‐6189
SAMUEL THURMAND     501 WASHINGTON ST                                                                        COLUMBIA          TN    38401‐4239
SAMUEL TODD         4351 N COUNTY ROAD 575 W                                                                 MIDDLETOWN        IN    47356‐9436
SAMUEL TOWE         12000 OLD DAYTON RD                                                                      BROOKVILLE        OH    45309‐8359
SAMUEL TRACY        210 BURNSIDE DR                                                                          TONAWANDA         NY    14150‐4424
SAMUEL TRAYLOR      140 BYRAM BLVD                                                                           MARTINSVILLE      IN    46151‐1317
SAMUEL TRAYLOR      4429 OAK ST                                                                              LOWELLVILLE       OH    44436‐9745
SAMUEL TRBOVIC      28606 DENISE ST                                                                          MADISON HEIGHTS   MI    48071‐2985
SAMUEL TRIMM        14908 KENTUCKY ST                                                                        DETROIT           MI    48238‐1777
SAMUEL TRIPLETT     THE MADEKSHO LAW FIRM            8866 GULF FREEWAY STE 440                               HOUSTON           TX    77017
SAMUEL TROUTMAN     1507 17TH AVE N                                                                          TEXAS CITY        TX    77590‐5337
SAMUEL TROWBRIDGE   184 BUNCH RD                                                                             CAVE CITY         KY    42127‐8922
SAMUEL TUCKER       17541 GRANDVILLE AVE                                                                     DETROIT           MI    48219‐3518
SAMUEL TUCKER       19101 EVERGREEN RD APT 601                                                               DETROIT           MI    48219‐2683
SAMUEL TUCKER       307 E YORK AVE                                                                           FLINT             MI    48505‐2186
SAMUEL TURCO        32 HOOVER PKWY                                                                           LOCKPORT          NY    14094‐5734
SAMUEL TYNER        317 S 22ND ST                                                                            ELWOOD            IN    46036‐2115
SAMUEL V SMITH      918 LINDEN AVE                                                                           SPRINGFIELD       OH    45505‐3064
SAMUEL VARDAMAN     2725 CRYSTAL ST                                                                          ANDERSON          IN    46012‐1307
SAMUEL VASSALLO     7802 SWAN CREEK RD                                                                       NEWPORT           MI    48166‐9120
SAMUEL VERNON       1810 W HOBSON AVE                                                                        FLINT             MI    48504‐7015
SAMUEL VICKERS      1605 DILLON ST                                                                           SAGINAW           MI    48601‐1379
SAMUEL VINCENT      176 ADALIDA LN                                                                           SPRINGTOWN        TX    76082‐7272
SAMUEL VINION       5893 SAMPSON DR                                                                          GIRARD            OH    44420‐3514
SAMUEL VOWELL       802 MACK CT                                                                              LENNON            MI    48449‐9617
SAMUEL W DERRICK    88 SLAUGHTER PEN RD                                                                      ARDMORE           TN    38449‐6015
SAMUEL W JOLLY      418 STEWART DR                                                                           SEBRING           FL    33876
SAMUEL W JONES      1809 WALDEN RD                                                                           BOWLING GREEN     KY    42101‐4260
SAMUEL W JONES      1809 WALDEN ROAD                                                                         BOWLING GREEN     KY    42101‐4260
SAMUEL W LANE       613 CHARING CROSS CT.                                                                    LAKE MARY         FL    32746‐3778
SAMUEL W TUCKER     6471 ELKHORN RD                                                                          KINIFLEY          KY    42753‐6327
SAMUEL W WOODY      187 DAYTON‐OXFORD RD.                                                                    FRANKLIN          OH    45005‐3580
SAMUEL WAGNER       BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PKWY                                 BOSTON HEIGHTS    OH    44236
SAMUEL WAGNER       41 E CHEROKEE DR                                                                         NEWARK            DE    19713‐3921
SAMUEL WALKER       6411 COLLEGE AVE                                                                         KANSAS CITY       MO    64132‐1205
SAMUEL WALKER JR    3953 BUCKINGHAM AVE                                                                      DETROIT           MI    48224‐3536
SAMUEL WALLACE      2510 E PIERSON RD                                                                        FLINT             MI    48506‐1329
SAMUEL WALTER       1218 PURDUE AVE                                                                          SAINT LOUIS       MO    63130‐1842
SAMUEL WARBEL       45057 BRUNSWICK DR                                                                       CANTON            MI    48187‐1831
SAMUEL WARD         3026 N COLLEGE AVE                                                                       INDIANAPOLIS      IN    46205‐4658
SAMUEL WARD         1004 FLANNERY CT                                                                         NOLENSVILLE       TN    37135‐8493
SAMUEL WARFORD      PO BOX 4314                                                                              FLINT             MI    48504‐0314
SAMUEL WARNER       2622 READY RD                                                                            CARLETON          MI    48117‐9764
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Name                   Address1                       Address2                      Address3   Address4                 City              State Zip
SAMUEL WARREN          2825 WOODVIEW DR                                                                                 LANSING            MI 48911‐1728
SAMUEL WATERS          3573 LANE GARDEN CT                                                                              DAYTON             OH 45404‐2344
SAMUEL WATERS          3573 LANE GARDEN CT.                                                                             DAYTON             OH 45404‐2344
SAMUEL WATKINS         PO BOX 51                      178 LYNN                                                          VASSAR             MI 48768‐0051
SAMUEL WATKINS         290 JANET AVE                                                                                    CARLISLE           OH 45005‐1359
SAMUEL WATKINS         4200 MASHIE DR                                                                                   PFAFFTOWN          NC 27040‐9719
SAMUEL WATKINS         705 W 14TH ST                                                                                    ANDERSON           IN 46016‐3504
SAMUEL WATSON          27680 LATHRUP BLVD                                                                               LATHRUP VILLAGE    MI 48076‐3595
SAMUEL WATSON          2840 OAKWOOD BLVD              APT 6                                                             MELVINDALE         MI 48129‐1399
SAMUEL WAZORKO         85 SHRUB ROAD                                                                                    BRISTOL            CT 06010‐2449
SAMUEL WEATHERSPOON
SAMUEL WEBB            THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                       HOUSTON           TX   77017
SAMUEL WEBB JR         2806 HOOVER AVE                                                                                  DAYTON            OH   45402‐5537
SAMUEL WEEDEN          22332 NELSON RD                                                                                  MERRILL           MI   48637‐9733
SAMUEL WELLS           4209 W 115TH ST                2D                                                                ALSIP             IL   60803
SAMUEL WHEELER I I I   524 S JEFFERSON ST                                                                               BEVERLY HILLS     FL   34465‐4303
SAMUEL WHITE           14831 HOLMUR ST                                                                                  DETROIT           MI   48238‐2141
SAMUEL WHITE           5913 ARROWHEAD BLVD                                                                              KOKOMO            IN   46902‐5506
SAMUEL WHITE           544 MONROE ST                                                                                    ERWIN             TN   37650‐1031
SAMUEL WHITE           C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                         HOUSTON           TX   77007
                       BOUNDAS LLP
SAMUEL WHITT           1456 ORCHARD HILL DR                                                                             MIAMISBURG        OH   45342‐1946
SAMUEL WILL            10059 MAJESTIC BLVD                                                                              CLARKSTON         MI   48348‐3184
SAMUEL WILLCOXSON      115 GREENE ROAD 704                                                                              PARAGOULD         AR   72450‐9650
SAMUEL WILLIAMS        4 HOOVER AVE                                                                                     MIAMISBURG        OH   45342‐3119
SAMUEL WILLIAMS        1532 MAPLE RD                                                                                    CLEVELAND HTS     OH   44121‐1730
SAMUEL WILLIAMS        251 28TH ST APT 1008                                                                             OAKLAND           CA   94611‐6025
SAMUEL WILLIAMS        2938 HELBER ST                                                                                   FLINT             MI   48504‐3008
SAMUEL WILLIAMS        20234 MANOR ST                                                                                   DETROIT           MI   48221‐1042
SAMUEL WILLIAMS        608 UNION ST                                                                                     EATON RAPIDS      MI   48827‐1371
SAMUEL WILLIAMS        2209 SANDCASTLE RD                                                                               WICHITA FALLS     TX   76306‐1435
SAMUEL WILLIAMS        1027 CENTER ST APT 1                                                                             OAKLAND           CA   94607
SAMUEL WILLIAMS JR     3300 NORTON AVE                                                                                  KANSAS CITY       MO   64128‐2157
SAMUEL WILLIFORD       200 AVERY CV                                                                                     HOLLY SPRINGS     GA   30115‐1817
SAMUEL WILSON          17182 WARWICK ST                                                                                 DETROIT           MI   48219‐3539
SAMUEL WILSON          BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS        OH   44236
SAMUEL WINEGARDEN      4140 N GALE RD                                                                                   DAVISON           MI   48423‐8951
SAMUEL WINKEL          OB DER STEIGE 14                                                        73779 DEIZISAU GERMANY
SAMUEL WOLFF           608 PIER DR                                                                                      EDGEWOOD          MD   21040‐2911
SAMUEL WOOD            16596 LESURE ST                                                                                  DETROIT           MI   48235‐4009
SAMUEL WOODEN          369 AVERY ST                                                                                     ROCHESTER         NY   14606‐2660
SAMUEL WOODHOUSE       1712 CARROLL ST                                                                                  SAGINAW           MI   48601‐1613
SAMUEL WOODHOUSE       2727 PRESCOTT AVE                                                                                SAGINAW           MI   48601‐3926
SAMUEL WOODS           14 OLIVER STREET                                                                                 LAKEWOOD          NJ   08701‐2339
SAMUEL WOODS           253 SHEATS LN                                                                                    MIDDLETOWN        DE   19709‐9261
SAMUEL WOODSIDE        300 RIVER FRONT 2K                                                                               DETROIT           MI   48226
SAMUEL WRIGHT          23305 STATE HIGHWAY P                                                                            BELGRADE          MO   63622‐9133
SAMUEL WRIGHT          13150 HARBOR LANDINGS DR                                                                         FENTON            MI   48430‐3905
SAMUEL WRIGHT          1946 S AVERILL AVE                                                                               FLINT             MI   48503‐4404
SAMUEL WRIGHT          11146 W ASHLAND WAY                                                                              AVONDALE          AZ   85392‐3926
SAMUEL WRIGHT          630 MICHIGAN AVE                                                                                 PONTIAC           MI   48342‐2541
SAMUEL WRIGHT          11801 JESSE AVE                                                                                  CLEVELAND         OH   44105‐6205
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Name                        Address1                               Address2                         Address3          Address4         City             State Zip
SAMUEL WRIGHT               6524 TULIP TREE CT                                                                                         HUBER HEIGHT      OH 45424
SAMUEL WYLIE                59 QUABECK AVE                                                                                             IRVINGTON         NJ 07111‐2807
SAMUEL WYNN                 16519 E 2650 NORTH RD                                                                                      DANVILLE           IL 61834‐6104
SAMUEL YOUNG                4163 SHANNA ST                                                                                             SALT LAKE CITY    UT 84124‐3037
SAMUEL YOUNG                1405 JOPPA FOREST DR APT R                                                                                 JOPPA             MD 21085‐3433
SAMUEL YOUNG                4377 VARNOR DRIVE                                                                                          INDIANAPOLIS      IN 46226
SAMUEL ZAMBITO              19 CROSSBOW DRIVE                                                                                          PENFIELD          NY 14526‐9757
SAMUEL ZAMBORI              913 JILMAR ST                                                                                              CHESANING         MI 48616‐1367
SAMUEL ZEIDWERG AND MAE M   JTWROS                                 15 ROWAN COURT                                                      EAST BRUNSWICK    NJ 08816
ZEIDWERG
SAMUEL ZEMA                 1233 HUNTERS POINT LN                                                                                      SPRING HILL      TN   37174‐2188
SAMUEL ZHAO                 42734 WILMINGTON DR                                                                                        STERLING HTS     MI   48313‐2673
SAMUEL ZHMENDAK             6648 DOREE AVE                                                                                             BELLEVILLE       MI   48111‐1079
SAMUEL ZIMMERMAN            NIX PATTERSON & ROACH LLP              GM BANKRUPTCY DEPARTMENT         205 LINDA DRIVE                    DAINGERFIELD     TX   75638
SAMUEL ZINN                 5368 COLDWATER RD                                                                                          LAPEER           MI   48446‐8025
SAMUEL, ANDRE L             9655 BRADY                                                                                                 REDFORD          MI   48239‐2065
SAMUEL, ARCHIE              200 DELLWOOD AVE                                                                                           PONTIAC          MI   48341‐2735
SAMUEL, ARNOLD F            COONEY & CONWAY                        120 NORTH LASALLE STREET, 30TH                                      CHICAGO          IL   60602
                                                                   FLOOR
SAMUEL, AYONNA R            278 N CASS AVE                                                                                             PONTIAC          MI 48342‐1007
SAMUEL, AYONNA RASHEE       278 N CASS AVE                                                                                             PONTIAC          MI 48342‐1007
SAMUEL, BERTHA L            1008 SAVAGE RD                                                                                             CHURCHVILLE      NY 14428‐9615
SAMUEL, BRIAN
SAMUEL, BRIAN               EH JOHNSON BLVD.                                                                                           JONESVILLE       LA   71343
SAMUEL, CALVIN              4012 SANDRA ST                                                                                             SHREVEPORT       LA   71109‐5124
SAMUEL, CARLLA L            7469 HEATHERWOOD DR APT 1B                                                                                 GRAND BLANC      MI   48439‐7593
SAMUEL, CAROLYN R           2530 RIALTO WAY                                                                                            GRAND PRAIRIE    TX   75052‐7211
SAMUEL, CHLOE H             315 N. STEEL RD                                                                                            MERRILL          MI   48637‐9563
SAMUEL, CHLOE H             315 N STEEL RD                                                                                             MERRILL          MI   48637‐9563
SAMUEL, CHRISTOPHE J        428 W TOWNLINE RD # 14                                                                                     AUBURN           MI   48611
SAMUEL, DANIEL J            4812 MONTERAY DR                                                                                           MIDLAND          MI   48642‐6073
SAMUEL, DANIEL J            550 W PETERSON DR                                                                                          SANFORD          MI   48657‐9416
SAMUEL, DENNIS L            4905 LANSDOWNE RD                                                                                          FREDERICKSBURG   VA   22408‐2583
SAMUEL, ELROY               580 GRANADA DR                                                                                             PONTIAC          MI   48342‐1729
SAMUEL, GERTRUDE V          6110 SOUTHWARD                                                                                             WATERFORD        MI   48329‐1438
SAMUEL, HELENE A            2701 ALABASTER AVE                                                                                         ORLANDO          FL   32833‐4314
SAMUEL, HERBERT             4628 CEDAR RIDGE TRL                                                                                       STONE MOUNTAIN   GA   30083‐5621
SAMUEL, HUGHEY P            2619 52ND ST                                                                                               DALLAS           TX   75216‐7222
SAMUEL, JIMMY               219 DROXFORD CT                                                                                            CINCINNATI       OH   45246‐3697
SAMUEL, JOHNNY R            6317 TIERRA DR                                                                                             SHREVEPORT       LA   71119‐7731
SAMUEL, JOHNNY RAY          6317 TIERRA DR                                                                                             SHREVEPORT       LA   71119‐7731
SAMUEL, JOSEPH D            5307 BAINES DR                                                                                             SAGINAW          MI   48638‐5713
SAMUEL, LATONIA             501 W WELSH ST                                                                                             KERSHAW          SC   29067‐1549
SAMUEL, LINDA L             7047 HALL RD                                                                                               DAVISBURG        MI   48350‐2527
SAMUEL, MARCELLO C          11324 RIVERDALE                                                                                            REDFORD          MI   48239‐1441
SAMUEL, MARY V              16570 FREELAND ST                                                                                          DETROIT          MI   48235‐4057
SAMUEL, MATTIE L            25 COREY LANE                                                                                              PRINCETON        KY   42445
SAMUEL, MELISSA             23 S MARSHALL ST                                                                                           PONTIAC          MI   48342‐2953
SAMUEL, NORMAN C            18694 ALCOY ST                                                                                             DETROIT          MI   48205‐2702
SAMUEL, OLA M               2423 MARTIN LUTHER KING JR DR SW APT                                                                       ATLANTA          GA   30311‐1785
                            2215
SAMUEL, OTIS                35 S ASTOR ST                                                                                              PONTIAC           MI 48342‐2910
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Name                              Address1                        Address2                      Address3   Address4         City               State Zip
SAMUEL, PEGGY L                   PO BOX 753                                                                                MANSFIELD           OH 44901‐0753
SAMUEL, RICHARD                   2900 WINDWOOD CT                                                                          COMMERCE TWP        MI 48382‐1468
SAMUEL, ROBERT J                  129 WARNER DR                                                                             UNION               OH 45322‐2964
SAMUEL, RONALD T                  7620 ORMOND RD                                                                            DAVISBURG           MI 48350‐2431
SAMUEL, RONALD W                  141 S CHAPIN RD                                                                           MERRILL             MI 48637‐9566
SAMUEL, ROOSEVELT                 369 S MARSHALL ST                                                                         PONTIAC             MI 48342‐3434
SAMUEL, ROOSEVELT                 1127 WOODSTOCK AVE                                                                        TONAWANDA           NY 14150‐4639
SAMUEL, ROOSEVELT                 WISE & JULIAN                   156 N MAIN ST STOP 1                                      EDWARDSVILLE         IL 62025‐1972
SAMUEL, SARA                      1444 AMBROSE AVE                                                                          CINCINNATI          OH 45224‐2522
SAMUEL, SHIRLEY M                 5775 NEWBERRY DR APT 204                                                                  STERLING HEIGHTS    MI 48310‐7435
SAMUEL, STELLA M                  122 WOODWARD DR                                                                           SAGINAW             MI 48601‐5233
SAMUEL, STELLA MAE                122 WOODWARD DR                                                                           SAGINAW             MI 48601‐5233
SAMUEL, STEPHANIE M               371 THOMAS AVE                                                                            ROCHESTER           NY 14617‐2145
SAMUEL, STEPHANIE R               144 EAST 1ST STREET                                                                       MANSFIELD           OH 44902‐2057
SAMUEL, TERRY L                   12926 S OUTBACK CT                                                                        TRAVERSE CITY       MI 49684‐6863
SAMUEL, THOMAS H                  1607 JONES AVE                                                                            ALBANY              GA 31707
SAMUEL, TONI A                    2728 DELLVIEW DR                                                                          FORT WAYNE          IN 46816‐4049
SAMUEL, VASANTA A                 1702 HAVILON DR SW                                                                        ATLANTA             GA 30311
SAMUEL, WILLIE J                  25 COREY LN                                                                               PRINCETON           KY 42445‐6908
SAMUELE MUNAFO                    832 INDIAN LAKE RD                                                                        LAKE ORION          MI 48362‐1650
SAMUELIAN, GERALD H               42617 REDFERN ST                                                                          CANTON              MI 48187‐3453
SAMUELOFF, RICHARD                516 SE 21ST AVE                                                                           CAPE CORAL          FL 33990‐2773
SAMUELS DALLAS (470170)           BILBREY & HYLIA                 8724 PIN OAK RD                                           EDWARDSVILLE         IL 62025‐6822
SAMUELS FRED                      PO BOX 43517                                                                              CLEVELAND           OH 44143‐0517
SAMUELS GREGORY                   1516 STRATFORD HALL CIR                                                                   MURFREESBORO        TN 37130‐3277
SAMUELS HAROLD (482356)           WEITZ & LUXENBERG               180 MAIDEN LANE                                           NEW YORK            NY 10038
SAMUELS INC                       2087 SPRINGFIELD AVENUE                                                                   VAUXHALL            NJ 07088
SAMUELS JOE (636604)              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                  STREET, SUITE 600
SAMUELS JR., ROBERT E             199 PINE VIEW DR                                                                          IONIA              MI   48846‐9578
SAMUELS RECYCLING CO              4400 SYCAMORE AVE               RM 7/10/07 AM                                             MADISON            WI   53714‐1334
SAMUELS RECYCLING CO (INC)        1753 BELOIT AVE                                                                           JANESVILLE         WI   53546‐3032
SAMUELS, A A SHEET METAL CO INC   222 STEEL ST                    PO BOX 2407                                               YOUNGSTOWN         OH   44509‐2547
SAMUELS, ALBERT                   3424 W LYNDON AVE                                                                         FLINT              MI   48504‐6915
SAMUELS, ALFRED E                 APT 212                         1201 FORT STREET                                          LINCOLN PARK       MI   48146‐1822
SAMUELS, ALICE E                  7401 CHURCHILL ST                                                                         DETROIT            MI   48206‐2676
SAMUELS, ALICE E                  19939 MONTE VISTA ST                                                                      DETROIT            MI   48221‐1051
SAMUELS, ANNIE L                  1833 JUDSON ST                                                                            EVANSVILLE         IN   47713‐1483
SAMUELS, BESSIE K                 2613 CHIPPEWA DR                C/O MARY ALICE TOPPIN                                     ANDERSON           IN   46012‐1301
SAMUELS, BETTY B                  9026 MARLOW DR                                                                            SHREVEPORT         LA   71118‐2723
SAMUELS, BEVERLY A                1547 CAMILLE ST                                                                           SHREVEPORT         LA   71108‐3514
SAMUELS, CAROLYN                  7216 SOLAR WALK                                                                           COLUMBIA           MD   21046‐3402
SAMUELS, DALLAS                   BILBREY & HYLIA                 8724 PIN OAK RD                                           EDWARDSVILLE       IL   62025‐6822
SAMUELS, DONNA L                  10 CARLYLE PL                                                                             THE WOODLANDS      TX   77382‐2589
SAMUELS, DORIS M                  1915 DEL NORTE DR                                                                         LADY LAKE          FL   32159‐9218
SAMUELS, EARL S                   8119 TIMBERBROOKE RD                                                                      BALTIMORE          MD   21237‐3350
SAMUELS, EARTHA                   1201 FORT ST APT 212                                                                      LINCOLN PARK       MI   48146‐1822
SAMUELS, EDITH E                  4355 NW 60TH TER                                                                          GAINESVILLE        FL   32606‐4298
SAMUELS, EDITH E                  4355 N W 60TH TERRACE                                                                     GAINESVILLE        FL   32606‐4298
SAMUELS, EDWARD L                 3200 CENTENNIAL RD                                                                        MARTINSVILLE       IN   46151‐9212
SAMUELS, FRANK J                  5881 E RINKER RD                                                                          MOORESVILLE        IN   46158‐6325
SAMUELS, GEORGE E                 1020 E NORTH ST                                                                           ITHACA             MI   48847‐1348
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Name                      Address1                           Address2                      Address3   Address4                City               State Zip
SAMUELS, HAROLD           WEITZ & LUXENBERG                  180 MAIDEN LANE                                                  NEW YORK            NY 10038
SAMUELS, ISABELLE J       3650 SAN SEBASTIAN CT                                                                               PUNTA GORDA         FL 33950‐7846
SAMUELS, JACK             9026 MARLOW DR                                                                                      SHREVEPORT          LA 71118‐2723
SAMUELS, JACK L           10960 TAUPE RD                                                                                      DERBY               IN 47525‐9501
SAMUELS, JARRED A         2304 SW FEATHER RIDGE RD                                                                            LEES SUMMIT         MO 64082‐4085
SAMUELS, JARRED ALLEN     2304 SW FEATHER RIDGE RD                                                                            LEES SUMMIT         MO 64082‐4085
SAMUELS, JAY M            131 SCHIRMER DR                                                                                     EAST TAWAS          MI 48730
SAMUELS, JOE              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA 23510‐2212
                                                             STREET, SUITE 600
SAMUELS, JOE A            1067 N MAIN ST                                                                                      TIPTON             IN   46072‐1068
SAMUELS, JOEL R           PO BOX 9022                        GM KOREA                                                         WARREN             MI   48090‐9022
SAMUELS, JOHN D           10 CARLYLE PL                                                                                       THE WOODLANDS      TX   77382‐2589
SAMUELS, JULE             2639 HARDING ST                                                                                     DETROIT            MI   48214‐4042
SAMUELS, LAWRENCE E       315 SALOLI LN                                                                                       LOUDON             TN   37774‐2734
SAMUELS, MARSHALL R       3819 115TH STREET CT W                                                                              BRADENTON          FL   34210‐1131
SAMUELS, MARTIN           1725 YORK AVE APT 16G                                                                               NEW YORK           NY   10128‐7811
SAMUELS, MARY T           435 N HEINCKE RD APT A                                                                              MIAMISBURG         OH   45342‐2669
SAMUELS, MATTIE V         4233 ILLINOIS AVE                                                                                   SHREVEPORT         LA   71109‐7515
SAMUELS, MICHAEL J        PO BOX 97                          190 W. WAYNE ST.                                                 LAKETON            IN   46943‐0097
SAMUELS, MYRON K          1445 PAYNE ST                                                                                       MINERAL RIDGE      OH   44440‐9736
SAMUELS, NORMAN           2200 BACOT DR                                                                                       GAUTIER            MS   39553‐1829
SAMUELS, PEARL F          1020 E. NORTH ST                                                                                    ITHACA             MI   48847‐1348
SAMUELS, PEARL F          1020 E NORTH ST                                                                                     ITHACA             MI   48847‐1348
SAMUELS, PHYLLIS A        1067 N MAIN ST                                                                                      TIPTON             IN   46072‐1068
SAMUELS, PREST            PO BOX 13435                                                                                        FLINT              MI   48501‐3435
SAMUELS, REGINALD J       6321 KENWOOD DR                                                                                     SHREVEPORT         LA   71119‐6210
SAMUELS, ROBERT L         PO BOX 76                                                                                           MINERAL RIDGE      OH   44440
SAMUELS, RODGER D         1521 PARK HILL DR                                                                                   SPENCER            IN   47460‐7465
SAMUELS, ROWENA           PO BOX 26326                                                                                        DAYTON             OH   45426‐0326
SAMUELS, SYLVIA           APT 21                             3767 WESTMONT DRIVE                                              CINCINNATI         OH   45205‐1260
SAMUELS, THOMAS C         670 AMERICANA DRIVE #1                                                                              ANNAPOLIS          MD   21403
SAMUELS, TIMOTHY J        9616 BLUE MOUND DR                                                                                  FORT WAYNE         IN   46804‐5923
SAMUELS, WILLIAM J        1079 PENNFIELD RD                                                                                   CLEVELAND          OH   44121‐1410
SAMUELS,KURT D            432 SOUTH 8TH AVE                                                                                   MOUNT VERNON       NY   10550
SAMUELS,NORMAN            2200 BACOT DR                                                                                       GAUTIER            MS   39553‐1829
SAMUELSON BRUCE E INC     27493 HOLIDAY LN                                                                                    PERRYSBURG         OH   43551
SAMUELSON CLAIRE          7860 EXETER BLVD E                                                                                  TAMARAC            FL   33321‐8797
SAMUELSON ERIC            15348 BRUSHWOOD WAY                                                                                 RENO               NV   89511‐9036
SAMUELSON MARY            8097 LONG LAKE RD                                                                                   EVELETH            MN   55734‐4107
SAMUELSON RANDY           2499 SUNNY MEADOW LN                                                                                RED WING           MN   55066‐4115
SAMUELSON, BILLIE S       106 HUNT ST                                                                                         ROSSVILLE          GA   30741
SAMUELSON, BLAIR F        1325 DONOVAN ST                                                                                     BURTON             MI   48529‐1221
SAMUELSON, BRIAN J        6460 S STATE RD                                                                                     GOODRICH           MI   48438‐8856
SAMUELSON, CAROL G        6460 S STATE RD                                                                                     GOODRICH           MI   48438‐8856
SAMUELSON, CHARLES P      2413 LUCERNE DR                                                                                     JANESVILLE         WI   53545‐0574
SAMUELSON, CLINTON C      54 ODAWA PL                                                                                         SWARTZ CREEK       MI   48473‐1612
SAMUELSON, DAVID A        100 HARBOR POINT DR                                                                                 SEBASTIAN          FL   32958‐5017
SAMUELSON, GARY B         4900 FIELDSTONE LN APT 4                                                                            MOUNT PLEASANT     MI   48858‐8978
SAMUELSON, HERBERT L      35217 WAGNER DR                                                                                     CLINTON TOWNSHIP   MI   48035
SAMUELSON, JONAS          C/O RENSTROM                       FLOTVIKSVAGEM 51                         HASSELBY SWEDEN‐16572
SAMUELSON, JONAS          130 DRURY LN                                                                                        BLOOMFIELD         MI 48301‐2469
SAMUELSON, JR,STANLEY T   4499 DETROIT ST                                                                                     DEARBORN HTS       MI 48125‐3209
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Name                              Address1                        Address2                       Address3          Address4                 City                  State Zip
SAMUELSON, LINDA L                23230 CARLYSLE ST                                                                                         DEARBORN               MI 48124‐3331
SAMUELSON, MARK A                 2486 BOWMAN RD                                                                                            IMLAY CITY             MI 48444‐9613
SAMUELSON, MELBOURNE B            137 PARKWAY                                                                                               DAVISON                MI 48423
SAMUELSON, NANCY S                314 W MONROE ST                                                                                           ALEXANDRIA             IN 46001
SAMUELSON, NORMA A                2077 ALGONAC DR                                                                                           FLINT                  MI 48532‐4507
SAMUELSON, PETER                  3 OLD COUNTY RD S                                                                                         FRANCESTOWN            NH 03043‐3612
SAMUELSON, RICHARD A              12212 LUDEMAN DR                                                                                          SILVER CREEK           NY 14136‐9703
SAMUELSON, RICHARD E              3504 W HOBSON AVE                                                                                         FLINT                  MI 48504‐1454
SAMUELSON, ROBERT P               1103 STADIUM ST                                                                                           DOTHAN                 AL 36301‐3459
SAMUELSON, ROGER L                6035 SHAFFER ROAD N. W.                                                                                   WARREN                 OH 44481‐9317
SAMUELSON, ROGER L                6035 SHAFFER RD NW                                                                                        WARREN                 OH 44481‐9317
SAMUELSON, SHERRY A               100 HARBOR POINT DR                                                                                       SEBASTIAN              FL 32958‐5017
SAMUELSON, SWEN P                 1287 CHESANING RD                                                                                         MONTROSE               MI 48457‐9367
SAMUILOW CAROL                    SAMUILOW, CAROL                 30928 FORD RD                                                             GARDEN CITY            MI 48135‐1803
SAMUILOW CAROL                    LOVASZ, CHRISTOPHER M           CONSUMER LEGAL SERVICES P.C.   30928 FORD ROAD                            GARDEN CITY            MI 48135
SAMUILOW, CAROL                   CONSUMER LEGAL SERVICES P.C.    30928 FORD RD                                                             GARDEN CITY            MI 48135‐1803
SAMULL, STANLEY J                 4859 ROSALIE ST                                                                                           DEARBORN               MI 48126‐4123
SAMULL, STANLEY J.                4859 ROSALIE ST                                                                                           DEARBORN               MI 48126‐4123
SAMULSKI, GREGORY                 41725 POCATELLO DR                                                                                        CANTON                 MI 48187‐3827
SAMUS, RITA M                     29636 OAKVIEW                                                                                             LIVONIA                MI 48154‐4464
SAMUS, RITA M                     29636 OAKVIEW ST                                                                                          LIVONIA                MI 48154‐4464
SAMUSS, JANIS                     5169 SUNBURST CT                                                                                          FLINT                  MI 48532‐4147
SAMUSS, VIOLET R                  5169 SUNBURST CT                                                                                          FLINT                  MI 48532‐4147
SAMWEL, PETER M                   134 OAKLEAF ST                                                                                            MCLOUD                 OK 74851‐7902
SAMWON AUTOTEC CO LTD             1645‐7 SORYONG‐DONG                                                              GUNSAN‐SI JEOLLABUK‐DO
                                                                                                                   KR 573‐882 KOREA (REP)
SAMWON PLASTIC CO LTD             #1259‐3 JUNGWANG‐DONG           SHIHEUNG‐SI GYEONGGI‐DO                          KOREA SOUTH KOREA
SAMWON PLASTIC CO LTD             1259 3 JEONGWANG DONG                                                            SHIHEUNG‐SI KR 429 450
                                                                                                                   KOREA (REP)
SAMY ALY KAMEL
SAMY DUKES                        12876 FRANKLIN ST                                                                                         GRAND LEDGE           MI    48837‐9614
SAMY MD, CHRIS D                  80 GROSSE PINES DR                                                                                        ROCHESTER HILLS       MI    48309‐1828
SAMYN, CHARLES E                  115 LOCUST ST                                                                                             WELLSVILLE            KS    66092‐8520
SAMYN, GARY M                     215 W BORTON RD                                                                                           ESSEXVILLE            MI    48732‐8726
SAMYN, JAMES H                    996 E WARNER RD                                                                                           ESSEXVILLE            MI    48732‐9772
SAMYN, JEREMY R                   2514 STONEWOOD CT                                                                                         BAY CITY              MI    48708‐9222
SAMYN, JEREMY RICHARD             2514 STONEWOOD CT                                                                                         BAY CITY              MI    48708‐9222
SAMYN, KATHLEEN A                 215 W BORTON RD                                                                                           ESSEXVILLE            MI    48732‐8726
SAMYN, MICHAEL G                  224 RIDGEMONT RD                                                                                          GROSSE POINTE FARMS   MI    48236‐3044
SAMYN, OMER A                     640 N ELIZABETH ST                                                                                        DEARBORN              MI    48128‐1705
SAMYN, RICHARD M                  651 E WARNER RD                                                                                           ESSEXVILLE            MI    48732‐9789
SAMYN, RONALD C                   243 W RIDGE RD                                                                                            BAY CITY              MI    48708‐9164
SAN ANDRES, DENNIS J              7 JOHNNY DR                                                                                               FARMINGDALE           NJ    07727‐3513
SAN ANDRES, JOAN M                70 STORM JIB CT                                                                                           BAYVILLE              NJ    08721‐1416
SAN ANTONIO AUTO AUCTION          2042 ACKERMAN RD                                                                                          SAN ANTONIO           TX    78219‐3016
SAN ANTONIO AUTO DEALERS ASSOC    4414 CENTERVIEW STE 140                                                                                   SAN ANTONIO           TX    78228‐1439
SAN ANTONIO BOWL ASSOCIATION      ATTN SONYA THOMAS               100 MONTANA STE 3D01                                                      SAN ANTONIO           TX    78203
SAN ANTONIO COMM HOS              DEPT NO0245                                                                                               LOS ANGELES           CA    90084‐01
SAN ANTONIO HISPANIC CHAMBER OF   318 W HOUSTON ST STE 300        CASA DE MEXICO INTL BUILDING                                              SAN ANTONIO           TX    78205‐2411
COMMERCE
SAN ANTONIO INDEPENDENT SCHOOL                                    1103 AUSTIN ST                                                                                   TX   78208
DISTRICT
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SAN ANTONIO LIVESTOCK EXPOSITION INC PO BOX 200230                                                                                                        SAN ANTONIO         TX 78220‐0230

SAN ANTONIO LIVESTOCK EXPOSITION,    MS. PAM REW                            3201 EAST HOUSTON                                                             SAN ANTONIO         TX   78219
INC.
SAN ANTONIO PONTIAC, INC.            4800 NW LOOP 410                                                                                                     SAN ANTONIO        TX    78229‐5310
SAN ANTONIO RAD MED                  PO BOX 8488                                                                                                          RANCHO CUCAMONGA   CA    91701‐0488
SAN ANTONIO TRUCK SALES/BUDGET       8810 IH 10 EAST                                                                                                      SAN ANTONIO        TX    78230
SAN AUGUSTINE COUNTY COLLECTOR       COURTHOUSE                             ROOM 102                                                                      SAN AUGUSTINE      TX    75972
SAN BENITO CISD TAX OFFICE           152 E ROWSON ST                                                                                                      SAN BENITO         TX    78586‐3863
SAN BERNARDINO COUNTY FIRE           157 W 5TH ST # 16242465                SECOND FLOOR                                                                  SAN BERNARDINO     CA    92415‐1012
DEPARTMENT
SAN BERNARDINO COUNTY FIRE           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 157 W 5TH ST FL 2                                                             SAN BERNARDINO     CA 92415‐0451
DEPARTMENT
SAN BERNARDINO COUNTY TAX            172 W 3RD ST                                                                                                         SAN BERNARDINO     CA 92415‐1001
COLLECTOR
SAN BERNARDINO COUNTY TREASURER      1ST FLOOR                              172 WEST THIRD STREET                                                         SAN BERNARDINO     CA 92415‐0001

SAN BERNARDINO MED O                 PO BOX 8520                                                                                                          REDLANDS           CA 92375‐1720
SAN BERNARDINO PO9NTIAC GMC BUICK,   1411 S E ST                                                                                                          SAN BERNARDINO     CA 92408‐2722
INC.
SAN BERNARDINO, COUNTY OF            TREASURER TAX COLLECTOR                172 W. THIRD STREET, 1ST FLOOR                                                SAN BERNARDINO     CA    92415‐0001
SAN CARATTINI                        731 HOLLISTER ST                                                                                                     PONTIAC            MI    48340‐2429
SAN CARLOS AUTO SERVICE              8865 LAKE MURRAY BLVD                                                                                                SAN DIEGO          CA    92119‐2103
SAN DIEGO AUTO AUCTION               4691 CALLE JOVEN                                                                                                     OCEANSIDE          CA    92057‐6042
SAN DIEGO AUTO AUCTION INC.          4691 CALLE JOVEN                                                                                                     OCEANSIDE          CA    92057‐6042
SAN DIEGO AUTO SHOW                  C/O NEW CAR DEALERS ASSOC              10065 MESA RIDGE CT                                                           SAN DIEGO          CA    92121‐2916
SAN DIEGO AUTOMOTIVE MUSEUM          2080 PAN AMERICAN PLZ                                                                                                SAN DIEGO          CA    92101‐1636
SAN DIEGO CHARGERS                   4020 MURPHY CANYON RD                                                                                                SAN DIEGO          CA    92123‐4407
SAN DIEGO CITY COLLEGE               1313 PARK BLVD                                                                                                       SAN DIEGO          CA    92101‐4712
SAN DIEGO CITY TREASURER             ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 121536                    BUSINESS TAX DIVISION                        SAN DIEGO          CA    92112‐1536

SAN DIEGO CITY TREASURER             PO BOX 121536                          BUSINESS TAX DIVISION                                                         SAN DIEGO          CA    92112‐1536
SAN DIEGO COMMERCIAL FINANCE         PO BOX 044352                                                                                                        RACINE             WI    53404‐7006
SAN DIEGO COMMERCIAL FINANCE         51785 MILANO DR                                                                                                      MACOMB             MI    48042‐4051
SAN DIEGO COUNTY CALIFORNIA          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 129009                    TREASURER ‐ TAX COLLECTOR                    SAN DIEGO          CA    92112‐9009

SAN DIEGO COUNTY CALIFORNIA          PO BOX 129009                          TREASURER ‐ TAX COLLECTOR                                                     SAN DIEGO          CA    92112‐9009
SAN DIEGO COUNTY COUNSEL             COUNTY ADMINISTRATION CENTER           1600 PACIFIC HWY STE 355                                                      SAN DIEGO          CA    92101‐2437
SAN DIEGO COUNTY TAX COLLECTOR       1600 PACIFIC HWY STE 162                                                                                             SAN DIEGO          CA    92101‐2477
SAN DIEGO COUNTY TREASURER‐TAX       PO BOX 129009                                                                                                        SAN DIEGO          CA    92112‐9009
COLLECTOR
SAN DIEGO CTY, REV&RECOVERY          ACCT OF MICHAEL J FERVER               PO BOX 989067                                                                 W SACRAMENTO       CA 95798‐9067
SAN DIEGO GAS AND ELECTRIC           6875 CONSOLIDATED WAY                                                                                                SAN DIEGO          CA 92121‐2602
SAN DIEGO INTERNATIONAL AUTO SHOW    C\O MOTOR TREND AUTO                   PO BOX 4097                                                                   HARRISBURG         PA 17111‐0097

SAN DIEGO MARRIOT/SD                 333 W HARBOR DR                                                                                                      SAN DIEGO          CA    92101‐7709
SAN DIEGO MESA COLLEGE               ATTN ACCOUNTING OFFICE                 7250 MESA COLLEGE DRIVE          RM 1412                                      SAN DIEGO          CA    92111
SAN DIEGO POLICE DEPARTMENT          3940 FEDERAL BLVD., ATT: JOHN ALLEY                                                                                  SAN DIEGO          CA    92102
SAN DIEGO SATURN RETAILERS INC       4525 CONVOY ST                                                                                                       SAN DIEGO          CA    92111‐2307
SAN DIEGO STATE UNIVERSITY           UNIVERSITY CASHIERS OFFICE             5500 CAMPANILE DR                                                             SAN DIEGO          CA    92182‐7426
SAN DIEGO STATE UNIVERSITY           C/O JIM BURNS‐CX TEAM ADVISOR          869 AUDREY WAY                                                                EL CAJON           CA    92019‐1145
SAN DIEGO STATE UNIVERSITY           MECHANICAL ENGINEERING‐J BURNS         5500 CAMPANILE DR                                                             SAN DIEGO          CA    92182‐1323
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Name                                Address1                           Address2                     Address3   Address4         City            State Zip
SAN FACON, LULA                     PO BOX 13                          C/O JESSICA CZERNY                                       HARTLAND         MI 48353‐0013
SAN FERNANDO VALLEY AUTOMOTIVE, LLC 14531 BURBANK BOULEVARD                                                                     VAN NUYS         CA 91411

SAN FERNANDO VALLEY AUTOMOTIVE, LLC 18600 DEVONSHIRE ST                                                                         NORTHRIDGE      CA 91324‐1309

SAN FERNANDO VALLEY AUTOMOTIVE, LLC 14439 HATTERAS STREET                                                                       VAN NUYS        CA 91401

SAN FERNANDO VALLEY AUTOMOTIVE, LLC 5615 VAN NUYS BOULEVARD                                                                     VAN NUYS        CA 91401

SAN FERNANDO VALLEY AUTOMOTIVE, LLC 5601 VAN NUYS BLVD                                                                          VAN NUYS        CA 91401‐4603

SAN FERNANDO VALLEY AUTOMOTIVE, LLC PO BOX 2189                                                                                 VAN NUYS        CA 91404‐2189

SAN FERNANDO VALLEY AUTOMOTIVE, LLC 6001 VAN NUYS BLVD                                                                          VAN NUYS        CA 91401‐3319

SAN FERNANDO VALLEY AUTOMOTIVE, LLC ATTN: GENERAL MANAGER              5344 VAN NUYS BLVD                                       SHERMAN OAKS    CA 91401‐5619

SAN FERNANDO VALLEY AUTOMOTIVE, LLC 700 CELIS STREET                                                                            SAN FERNANDO    CA 91340

SAN FERNANDO VALLEY AUTOMOTIVE, LLC GUS GARCIA                         700 SAN FERNANDO RD                                      SAN FERNANDO    CA 91340‐3307

SAN FERNANDO VALLEY AUTOMOTIVE, LLC GUS GARCIA                         5711 VAN NUYS BLVD                                       VAN NUYS        CA 91401‐4217

SAN FERNANDO VALLEY AUTOMOTIVE, LLC GUS GARCIA                         8400 RESEDA BLVD                                         NORTHRIDGE      CA 91324‐4624

SAN FERNANDO VALLEY AUTOMOTIVE, LLC GUS GARCIA                         5601 VAN NUYS BLVD                                       VAN NUYS        CA 91401‐4603

SAN FERNANDO VALLEY AUTOMOTIVE, LLC GUS GARCIA                         18600 DEVONSHIRE ST                                      NORTHRIDGE      CA 91324‐1309

SAN FERNANDO VALLEY AUTOMOTIVE, LLC. GUS GARCIA                        753 SAN FERNANDO RD                                      SAN FERNANDO    CA 91340‐3306

SAN FILIPPO, ANTHONY F               71 PEARCE DR                                                                               SNYDER          NY 14226‐4933
SAN FRANCISCO COUNTY TAX COLLECTOR   PO BOX 7427                       PERSONAL PROPERTY TAX                                    SAN FRANCISCO   CA 94120‐7427

SAN FRANCISCO FORTY NINERS           ATTN ACCOUNTS RECEIVABLE          4949 CENTENNIAL BLVD                                     SANTA CLARA     CA 95054‐1229
SAN FRANCISCO MULTIPLE DEALER        INTERCOMPANY
HOLDINGS, INC.
SAN FRANCISCO POLICE DEPT            FIELD OPERATIONS BUREAU           850 BRYANT ST ROOM 535                                   SAN FRANCISCO   CA 94103
SAN FRANCISCO REGION PROPERTIES      PO BOX 966                                                                                 WILLOWS         CA 95988‐0966
INC/THUNDERHILL PK
SAN FRANCISCO SHOPPING CENTRE        805 MARKET ST BOX A                                                                        SAN FRANCISCO   CA   94103
SAN FRANCISCO STATE UNIVERSITY       BURSARS OFFICE                    1600 HOLLOWAY AVE                                        SAN FRANCISCO   CA   94132‐1722
SAN FRANCISCO TAX COLLECTOR                                                                                                     SAN FRANCISCO   CA   94102
SAN FRANCISCO WATER                                                    1000 EL CAMINO REAL                                                      CA   94030
DISTRICT/MILLBRAE
SAN FRANCO                           701 N COLLEGE RD                                                                           MASON           MI   48854‐9544
SAN FRATELLO, VICTOR S               62 REDFIELD PKWY                                                                           BATAVIA         NY   14020‐1220
SAN GENNARO FOUNDATION               7095 HOLLYWOOD BLVD STE 865                                                                HOLLYWOOD       CA   90028‐8912
SAN GORGONIO PASS ROTARY CLUB        PO BOX 321                                                                                 BANNING         CA   92220‐0003
SAN J CARATTINI                      731 HOLLISTER ST                                                                           PONTIAC         MI   48340‐2429
SAN J CHATFIELD                      1016 N LINCOLN ST                                                                          BAY CITY        MI   48708‐6159
SAN JACINTO COLLEGE                  DISTRICT BUSINESS OFFICE          4624 FAIRMONT PKWY STE 103                               PASADENA        TX   77504
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Name                                  Address1                            Address2                      Address3      Address4                City              State Zip
SAN JACINTO COLLEGE CENTRAL CAMPUS    8060 SPENCER HWY                                                                                        PASADENA           TX 77505‐5903

SAN JACINTO COLLEGE DISTRICT          8060 SPENCER HWY                                                                                        PASADENA           TX   77505‐5903
SAN JACINTO COLLEGE SOUTH             BUSINESS OFFICE                     13735 BEAMER RD                                                     HOUSTON            TX   77089‐6009
SAN JACINTO OLDSMOBILE‐CADILLAC, INC. GEORGE DEMONTROND                   888 INTERSTATE 45 S                                                 CONROE             TX   77304‐2628

SAN JOAQUIN COUNTY MOTOR POOL                                             222 E WEBER AVE                                                                       CA    95202
SAN JOAQUIN DELTA COLLEGE             BUSINESS OFFICE                     5151 PACIFIC AVE                                                    STOCKTON          CA    95207‐6304
SAN JOAQUIN DELTA COLLEGE             ATTN HAZEL HILL                     5151 PACIFIC AVE                                                    STOCKTON          CA    95207‐6304
SAN JOAQUIN HELICOPTERS               GRIFFITH DOUG LAW OFFICE OF         633 W 5TH ST STE 2800                                               LOS ANGELES       CA    90071‐2039
SAN JOAQUIN HELICOPTERS               633 W 5TH ST STE 2800                                                                                   LOS ANGELES       CA    90071‐2039
SAN JOSE INTL AUTO SHOW               C/O MOTOR TREND AUTO SHOWS          6375 FLANK DR STE 100                                               HARRISBURG        PA    17112‐4600
SAN JOSE STATE UNIVERSITY             CASHIERS                            1 WASHINGTON SQ                                                     SAN JOSE          CA    95192‐0043
SAN JUAN CABLE LLC D/B/A ONE LINK     SAN MIGUEL FERNANDO                 PO BOX 192296                                                       SAN JUAN          PR    00919‐2296
SAN JUAN COUNTY TREASURER             PO BOX 880                                                                                              AZTEC             NM    87410‐0880
SAN JUANA ROSE                        209 MARKET ST                                                                                           ROCKFORD          OH    45882‐9126
SAN JUANITA MARSHALL                  3035 MANOR DR                                                                                           PALMYRA           MI    49268‐9776
SAN KINDER                            1535 STONELEIGH CT APT 1122                                                                             ARLINGTON         TX    76011‐2744
SAN LEANDRO MARIN/CA                  68 SAN LEANDRO DRIVE                                                                                    SAN LEANDRO       CA    94577
SAN LONG INDUSTRIAL CO LTD            59 CHUNG SHAN RD                                                                TAIPEI HSIEN TP 00000
                                                                                                                      TAIWAN
SAN LUIS OBISPO COUNTY                RM 203                                 COUNTY GOVERNMENT CENTER                                         SAN LUIS OBISPO   CA    93408‐2060
SAN LUIS OBISPO COUNTY DCS            PO BOX 841                                                                                              SAN LUIS OBISPO   CA    93406‐0841
SAN MARTIN, BERNARDINO M              258 FAIRVIEW CT                                                                                         XENIA             OH    45385‐1269
SAN MATEO COUNTY TAX COLLECTOR        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 555 COUNTY CENTER          FIRST FLOOR                           REDWOOD CITY      CA    94063

SAN MATEO COUNTY TAX COLLECTOR        555 COUNTY CENTER                   FIRST FLOOR                                                         REDWOOD CITY      CA    94063
SAN MATEO COUNTY TRANSIT                                                  301 N ACCESS RD                                                                       CA    94080
SAN MIGUEL COUNTY TREASURER           500 W NATIONAL ST STE 111                                                                               LAS VEGAS         NM    87701‐3768
SAN MIGUEL POWER ASSOCIATION          1050 MAIN STREET                                                                                        NUCLA             CO    81424
SAN MIGUEL, PAUL                      2900 LIBERTY RD                                                                                         SAGINAW           MI    48604‐9268
SAN MIGUEL, RICHARD                   2316 JEROME ST                                                                                          SAGINAW           MI    48602‐1270
SAN PATRICIO AUTOMOTIVE GROUP, INC.   THOMAS H. GARDNER                   2006 W WHEELER AVE                                                  ARANSAS PASS      TX    78336‐4707

SAN PATRICIO AUTOMOTIVE GROUP, INC.   THOMAS GARDNER                      2006 W WHEELER AVE                                                  ARANSAS PASS       TX   78336‐4707

SAN PATRICIO AUTOMOTIVE GROUP, INC.   THOMAS H GARDNER                    2006 W WHEELER AVE                                                  ARANSAS PASS       TX   78336‐4707

SAN PATRICIO COUNTY COLLECTOR         PO BOX 280                                                                                              SINTON            TX    78387‐0280
SAN PHILLIP, CAROLYN                  5372 PENNOCK POINT RD                                                                                   JUPITER           FL    33458‐3478
SAN RAFAEL CHEVROLET                  PO BOX 3085                                                                                             DANVILLE          CA    94526‐8085
SAN RAFAEL SAAB                       PO BOX 3085                                                                                             DANVILLE          CA    94526‐8085
SAN RAFAEL SAAB                       JAMES, GREG                         PO BOX 3085                                                         DANVILLE          CA    94525‐8085
SAN RAMON AUTO REPAIR                 2165 SAN RAMON VALLEY BLVD                                                                              SAN RAMON         CA    94583‐1207
SAN RAMON CARRIAGE CO.                70 HEGENBERGER LOOP                                                                                     OAKLAND           CA    94621‐1324
SAN RAMON MARRIOT/CA                  2600 BISHOP DR                                                                                          SAN RAMON         CA    94583‐2338
SAN SOUCI, KEVIN                      25356 ALICIA ST                                                                                         BROWNSTOWN TWP    MI    48134‐9419
SANABRIA JR, HENRY J                  53575 SPRINGHILL MEADOWS DR                                                                             MACOMB            MI    48042‐5745
SANABRIA MARC                         SANABRIA, MARC                      375 COMMACK RD STE B                                                DEER PARK         NY    11729‐5515
SANABRIA, HENRY J                     3745 CAMPBELL ST                                                                                        DEARBORN          MI    48124‐3717
SANABRIA, JOHN A                      108 CUNARD RD                                                                                           BUFFALO           NY    14216‐1919
SANABRIA, JOHN ANTHONY                108 CUNARD RD                                                                                           BUFFALO           NY    14216‐1919
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Name                            Address1                         Address2                     Address3   Address4         City              State Zip
SANABRIA, LUZ M                 249 WINGDALE WAY                                                                          DAVENPORT          FL 33897‐1632
SANABRIA, MARC                  CUCCI JOHN JR                    375 COMMACK RD STE B                                     DEER PARK          NY 11729‐5515
SANABRIA, MARIO F               11132 8TH AVE NW                                                                          GRAND RAPIDS       MI 49534
SANABRIA, RAMON B               4773 PARKRIDGE DR                                                                         WATERFORD          MI 48329‐1646
SANABRIA, WALTER                8141 GOLDEN SANDS DR                                                                      ORLANDO            FL 32819‐6914
SANACORY, NELLA                 APT 320                          1015 AMBOY AVENUE                                        EDISON             NJ 08837‐2867
SANADA FAMILY REVOCABLE TRUST   RANDALL AND KAYLENE SANADA       954 CORTE LA CIENAGA                                     CAMARILLO          CA 93010
SANADA, DARWIN H                2232 TAFT ST                                                                              SAGINAW            MI 48602‐3855
SANAE BARTON                    1164 PRAIRIE DEPOT                                                                        INDIANAPOLIS       IN 46241‐1451
SANAGUSTIN, ANDRES
SANAGUSTIN, ANGELO
SANAGUSTIN, CATHERINE F         3651 BLUFF RD                                                                             INDIANAPOLIS       IN   46217‐3207
SANAGUSTIN, MARIBETH
SANAK, BARRY L                  2733 N PETERSON BEACH DR                                                                  PINCONNING        MI    48650‐7526
SANAK, DANIEL L                 2350 SANAK DR                                                                             PINCONNING        MI    48650‐9333
SANAK, ESTHER J                 2694 COGGINS RD.,                                                                         PINCONNING        MI    48650
SANAK, FLORIAN J                425 WILLOW BND                                                                            AUBURN            MI    48611‐9302
SANAK, JULIAN A                 2694 E COGGINS RD                                                                         PINCONNING        MI    48650‐9750
SANAK, STANLEY R                4433 NORTH WILDWOOD DRIVE                                                                 PINCONNING        MI    48650‐9724
SANAMO GREGORY                  NEED BETTER ADDRESS 11/15/06CP   15990 HIGHWAY 3235                                       LAROSE            LA    70373
SANATA, CHARLES A               1340 CORONADO DRIVE                                                                       HERMITAGE         PA    16148‐6710
SANATA, LAWRENCE A              PO BOX 113                                                                                CLARK             PA    16113‐0113
SANBO SHERRY                    2712 DINWIDDIE WAY                                                                        ELK GROVE         CA    95758‐7436
SANBORN                         629 5TH AVE                                                                               PELHAM            NY    10803
SANBORN AARON                   SANBORN, AARON                   205 PROSPECT AVENUE                                      EASTON            MD    21601‐4027
SANBORN ALFRED N (476486)       THORNTON EARLY & NAUMES          100 SUMMER ST LBBY 3                                     BOSTON            MA    02110‐2104
SANBORN CHEVROLET INC           1210 S CHEROKEE LN                                                                        LODI              CA    95240‐5963
SANBORN CHEVROLET INC           RICHARD SANBORN                  1210 S CHEROKEE LN                                       LODI              CA    95240‐5963
SANBORN CYNTHIA                 51139 NORTH VIEW                                                                          LIVONIA           MI    48170
SANBORN DAVID (662547)          PAUL HANLEY & HARLEY             1608 4TH ST STE 300                                      BERKELEY          CA    94710‐1749
SANBORN II, WALLIS R            2022 AUGUSTA DR                                                                           SAN ANGELO        TX    76904‐8065
SANBORN JR, HERBERT M           5530 N FLINT RD                                                                           ROSCOMMON         MI    48653‐9298
SANBORN JR, HERBERT MONIFORD    5530 N FLINT RD                                                                           ROSCOMMON         MI    48653‐9298
SANBORN RHONDA                  SANBORN, PETER                   14120 SE 211 TH CT                                       UMATILLA          FL    32784‐8224
SANBORN RHONDA                  SANBORN, RHONDA                  14120 SE 211TH CT                                        UMATILLA          FL    32784‐8224
SANBORN, AARON                  205 PROSPECT AVE                                                                          EASTON            MD    21601‐4026
SANBORN, ALFRED N               THORNTON EARLY & NAUMES          100 SUMMER ST LBBY 3                                     BOSTON            MA    02110‐2104
SANBORN, AMY M                  # 37                             12993 LITTLE HAYDEN CIRCLE                               HAGERSTOWN        MD    21742‐2512
SANBORN, AUDREY                 9651 LAURENCE AVE                                                                         ALLEN PARK        MI    48101‐1322
SANBORN, BILLYRAY               1752 SWEENEY STREET                                                                       NORTH TONAWANDA   NY    14120‐4513
SANBORN, BRUCE A                6330 PROSPECT ST                                                                          LINDEN            MI    48451‐8762
SANBORN, BRUCE A                2374 HELEN AVE                                                                            FLINT             MI    48507‐4412
SANBORN, BRUCE A                7248 APACHE TRL                                                                           HOLLAND           OH    43528‐8189
SANBORN, CHARLES E              562 LINDEN COURT                                                                          FLINT             MI    48506‐5208
SANBORN, CLIO F                 415 WHITE PINE BLVD                                                                       LANSING           MI    48917‐7804
SANBORN, DANNY L                9503 E MOUNT MORRIS RD                                                                    DAVISON           MI    48423‐9371
SANBORN, DAVID                  PAUL HANLEY & HARLEY             1608 4TH ST STE 300                                      BERKELEY          CA    94710‐1749
SANBORN, DAVID L                3019 KROPP RD                                                                             GROVE CITY        OH    43123‐9338
SANBORN, DENNIS B               9135 BEECHER RD                                                                           FLUSHING          MI    48433‐9460
SANBORN, DIANNA L               31946 HARRIS RD                                                                           TAVARES           FL    32778‐4630
SANBORN, DONALD D               32 OHIO AVE DR                                                                            YPSILANTI         MI    48198
SANBORN, DONALD DAVID           32 OHIO AVE DR                                                                            YPSILANTI         MI    48198
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Name                        Address1                           Address2                         Address3   Address4         City              State Zip
SANBORN, DONOVAN W          368 KILLARNEY BEACH RD                                                                          BAY CITY           MI 48706‐1185
SANBORN, DOROTHY            9811 W G AVE                                                                                    KALAMAZOO          MI 49009‐8556
SANBORN, DOROTHY            2741 W OHIO ST                                                                                  APACHE JUNCTION    AZ 85220‐5231
SANBORN, DOROTHY L          2741 W OHIO ST                                                                                  APACHE JUNCTION    AZ 85220‐5231
SANBORN, EDWARD E           676 LANGSTON PL                                                                                 SANDUSKY           OH 44870‐7503
SANBORN, GLORIA M           408 HATTIE STREET                                                                               GRAND BLANC        MI 48439‐1222
SANBORN, IRA J              4188 E COLDWATER RD                                                                             FLINT              MI 48506‐1013
SANBORN, JAMES              EARLY LUDWICK & SWEENEY L.L.C.     ONE CENTURY TOWER, 11TH FLOOR,                               NEW HAVEN          CT 06508‐1866
                                                               265 CHURCH STREET
SANBORN, JAMES R            1055 S GEECK RD                                                                                 CORUNNA           MI 48817‐9547
SANBORN, JAMES RICHARD      1055 S GEECK RD                                                                                 CORUNNA           MI 48817‐9547
SANBORN, JAY
SANBORN, JAY W
SANBORN, JERRY L            2025 ELWOOD BLVD                                                                                SPRING ARBOR      MI   49283‐9682
SANBORN, JOEL W             11180 COLDWATER RD                                                                              FLUSHING          MI   48433‐9748
SANBORN, JOHN D             C/O JOHN YUN‐CONSERVATOR           7152 GATEWAY PARK DR                                         CLARKSTON         MI   48346‐2574
SANBORN, JOHN S             13508 SEYMOUR RD                                                                                GAINES            MI   48436‐9602
SANBORN, JONATHAN L         5403 COUNTY ROAD 413                                                                            MC MILLAN         MI   49853‐9265
SANBORN, JUNE B             347 S MAPLE ISLAND RD                                                                           HESPERIA          MI   49421‐8905
SANBORN, KENNETH C          5390 SQUIRE LN                                                                                  FLINT             MI   48506‐2218
SANBORN, LAWRENCE E         1844 W PARKS RD                                                                                 SAINT JOHNS       MI   48879‐9262
SANBORN, LEONARD L          24437 HARBORVIEW RD                LOT 72                                                       PUNTA GORDA       FL   33980‐2345
SANBORN, LUCILLE            5430 E HILL RD                                                                                  GRAND BLANC       MI   48439‐9100
SANBORN, MARGERY D          24437 HARBORVIEW RD LOT 72                                                                      PUNTA GORDA       FL   33980‐2345
SANBORN, MARIE E            3597 N KREPPS RD                                                                                SAINT JOHNS       MI   48879‐9090
SANBORN, MARSH              850 CARDVILLE RD                                                                                GREENBUSH         ME   04418‐3335
SANBORN, MARY ANN
SANBORN, MICHAEL G          14265 WASHBURN BOX 258                                                                          OTTER LAKE        MI   48464
SANBORN, NEVA               22854 DOWSETT TRL                                                                               ATLANTA           MI   49709‐9691
SANBORN, PETER              14200 SE 209TH TER                                                                              UMATILLA          FL   32784‐8594
SANBORN, RAYMOND E          APT 808                            8720 NORTH HICKORY STREET                                    KANSAS CITY       MO   64155‐4143
SANBORN, RHONDA             14120 SE 211TH CT                                                                               UMATILLA          FL   32784‐8224
SANBORN, RICHARD D          5940 OAK RD                                                                                     ROSE CITY         MI   48654‐9601
SANBORN, RICHARD N          111 S HAMMES AVE                                                                                JOLIET            IL   60436‐1103
SANBORN, ROBERT D           8186 FAULKNER DR                                                                                DAVISON           MI   48423‐9535
SANBORN, ROY J              92 W 34TH ST APT 1B                                                                             BAYONNE           NJ   07002‐5804
SANBORN, SEAN T             JERNIGAN RODNEY C JR               PO BOX 2130                                                  FLORENCE          SC   29503‐2130
SANBORN, SEAN T             BELL J EDWARD III LAW OFFICES OF   PO BOX 2590                                                  GEORGETOWN        SC   29442‐2590
SANBORN, SHIRLEY E          13835 THORNAPPLE LN                                                                             PERRY             MI   48872‐9116
SANBORN, STEVE R            PO BOX 90836                                                                                    BURTON            MI   48509
SANBORN, TERRY J            22854 DOWSETT TRL                                                                               ATLANTA           MI   49709‐9691
SANBORN, THOMAS             7105 GREGORY CT                                                                                 FAIRVIEW          TN   37062‐8287
SANBORN, THOMAS H           1220 DRIFTWOOD CT                                                                               MOORESVILLE       IN   46158‐7620
SANBORN, THOMAS W           10650 RUNYAN LAKE RD                                                                            FENTON            MI   48430‐2450
SANBORN, TIMOTHY C          PO BOX 410                                                                                      WINFIELD          MO   63389‐0410
SANBORN, TIMOTHY CARL       PO BOX 410                                                                                      WINFIELD          MO   63389‐0410
SANBORN, TIMOTHY L.         3597 N KREPPS RD                                                                                SAINT JOHNS       MI   48879‐9090
SANBORN, VIRGINIA A         11180 COLDWATER RD                                                                              FLUSHING          MI   48433‐9748
SANBORN, WILFORD H          2741 WEST OHIO STREET                                                                           APACHE JCT        AZ   85220‐5231
SANBORN, WILLIAM J          713 ALGONQUIN AVE                                                                               FLINT             MI   48507‐1804
SANBOWER HENRY A (439480)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510
                                                               STREET, SUITE 600
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Name                                Address1                         Address2                         Address3    Address4             City              State Zip
SANBOWER HENRY A (481281)           KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                     CLEVELAND          OH 44114
                                                                     BOND COURT BUILDING
SANBOWER, HENRY A                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA 23510‐2212
                                                                     STREET, SUITE 600
SANBOWER, HENRY A                   KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                      CLEVELAND         OH 44114
                                                                     BOND COURT BUILDING
SANBURN, BRADLEY R                  4864 BAKER RD                                                                                      BRIDGEPORT        MI   48722‐9535
SANBURN, HAZEL M                    8880 HIGHLAND DR                                                                                   FREELAND          MI   48623‐9703
SANBURN, MARJORIE G                 4711 COUNTRY WAY WEST                                                                              SAGINAW           MI   48603‐4216
SANBURN, ROBERT                     3838 BELLENCA DR                                                                                   SAGINAW           MI   48604‐1852
SANBURN, ROSE MARIE                 300 KENNELY RD APT 201                                                                             SAGINAW           MI   48509‐7703
SANBURN, ROSE MARIE                 14607 HIGHLAND RDG                                                                                 SAN ANTONIO       TX   78233‐3855
SANBURN, WILLIAM L                  523 E MARKET ST                                                                                    SPENCER           IN   47460‐1852
SANCES, ANTHONY
SANCES, ANTHONY J
SANCH, MELVIN V                     303 S 3RD ST                                                                                       BRIGHTON          MI   48116‐1414
SANCHES, DAVID A                    431 ROOSEVELT ST                                                                                   CANTON            MI   48188‐6698
SANCHES, GUADALUPE                  1114 S MICHIGAN AVE                                                                                SAGINAW           MI   48602‐1404
SANCHESES, ELVIRA                   3216 DOUGLAS                                                                                       SAGINAW           MI   48601‐4717
SANCHEZ & DANIELS                   333 W WACKER DR STE 500                                                                            CHICAGO           IL   60606‐1225
SANCHEZ & DANIELS                   ATTN: MANNY SANCHEZ, ESQ.        333 W WACKER DR STE 500                                           CHICAGO           IL   60606‐1342
SANCHEZ & DANIELS                   MANUEL D. SANCHEZ                333 W WACKER DR STE 500                                           CHICAGO           IL   60606‐1342
SANCHEZ & DANIELS                   ATTN: MANNY SANCHEZ, ESQ.        333 WACKER DRIVE                 SUITE 500                        CHICAGO           IL   60606
SANCHEZ ADAM                        SANCHEZ, ADAM                    315 HOLIDAY STREET                                                BRIDGE CITY       TX   77611
SANCHEZ ADOLPH (429753)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
                                                                     STREET, SUITE 600
SANCHEZ ALEJANDRINA                 SANCHEZ, ALEJANDRINA             8840 WARNER AVE STE 301                                           FOUNTAIN VALLEY   CA   92708‐3234
SANCHEZ ANGELO                      SANCHEZ, ANGELO                  2550 FIFTH AVENUE 9TH FLOOR                                       SAN DIEGO         CA   92103
SANCHEZ DAVID                       208 NAVAJO DR                                                                                      VICTORIA          TX   77904
SANCHEZ ELIZABETH                   SANCHEZ, ELIZABETH               120 WEST MADISON STREET , 10TH                                    CHICAGO           IL   60602
                                                                     FLOOR
SANCHEZ ESTATE OF, ROBERT RICHARD
SANCHEZ ESTRADA JOSE LUIS           MIGUEL HIDALGO 136 SANTA ANA     TLAPALTITLAN TOLUCA CP 50160                 ESTADO DE MEXICO
                                                                                                                  MEXICO
SANCHEZ EVANGELINA MADRIGAL         SANCHEZ, EVANGELINA MADRIGAL     7000 PARADISE RD APT 2086                                         LAS VEGAS         NV   89119‐4481
SANCHEZ FLORENCE                    BONILLA, MANUEL                  570 CALLE CATANIA VILLA CAPRI                                     SAN JUAN          PR   00924
SANCHEZ FLORENCE                    570 CALLE CATANIA VILLA CAPRI                                                                      SAN JUAN          PR   00924‐4048
SANCHEZ FRANK A (626749)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
                                                                     STREET, SUITE 600
SANCHEZ GUTIERREZ, DEYSI DENISS
SANCHEZ GUTIERREZ, NADIA MELISSA
SANCHEZ HECTOR (466326)             SIMMONS FIRM                     PO BOX 521                                                        EAST ALTON        IL 62024‐0519
SANCHEZ HENRY E (660943)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA 23510
                                                                     STREET, SUITE 600
SANCHEZ JOE (663710)                LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                                      HOUSTON           TX   77069
SANCHEZ JOHN                        7 DRAKE DR                                                                                         HILLSDALE         NJ   07642‐2454
SANCHEZ JOSE                        9317 NICHOLS ST                                                                                    BELLFLOWER        CA   90706‐3533
SANCHEZ JOSE                        120 SMITH RD                                                                                       SOMERSET          NJ   08873‐2749
SANCHEZ JOSE                        FARMERS TEXAS COUNTY MUTUAL      12345 JONES ROAD SUITE 190                                        HOUSTON           TX   77070
                                    INSURANCE COMPANY
SANCHEZ JOSE                        SANCHEZ, JOSE                    12345 JONES RD                                                    HOUSTON           TX 77070
SANCHEZ JOSE ALBERTO                SANCHEZ, ANTONIO                 225 S LAKE AVE STE 300                                            PASADENA          CA 91101‐3009
                                       09-50026-mg             Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                                   Address1                        Address2                         Address3   Address4              City               State Zip
SANCHEZ JOSE ALBERTO                   SANCHEZ, GUADALUPE              225 S LAKE AVE STE 300                                            PASADENA            CA 91101‐3009
SANCHEZ JOSE ALBERTO                   SANCHEZ, JOSE ALBERTO           225 S LAKE AVE STE 300                                            PASADENA            CA 91101‐3009
SANCHEZ JOSE ALBERTO                   SANCHEZ, JUAN JOSE HUMBERTO     225 S LAKE AVE STE 300                                            PASADENA            CA 91101‐3009
SANCHEZ JOSE ALBERTO                   SANCHEZ, SANDRA                 225 S LAKE AVE STE 300                                            PASADENA            CA 91101‐3009
SANCHEZ JOSEPH (ESTATE OF) (475836)    BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD          OH 44067
                                                                       PROFESSIONAL BLDG
SANCHEZ JR, BERNADO                    25437 CURRIER ST                                                                                  DEARBORN HEIGHTS   MI    48125
SANCHEZ JR, ENRIQUE                    6065 FOX CHASE TRL                                                                                SHREVEPORT         LA    71129‐3540
SANCHEZ JR, FELIX                      2814 HADLEY RD                                                                                    LAPEER             MI    48446‐9689
SANCHEZ JR, FRANK P                    344 CAROLYN DR                                                                                    PORTLAND           MI    48875‐1604
SANCHEZ JR, JESSIE                     1018 SUNDAY ST                                                                                    DEFIANCE           OH    43512‐2922
SANCHEZ JR, JOSE                       4317 SEAWAY DR                                                                                    LANSING            MI    48911‐2727
SANCHEZ JR, JOSE                       4317 SEAWAY DRIVE                                                                                 LANSING            MI    48911‐2727
SANCHEZ JR, JOSEPH B                   9844 S COUNTY LINE RD                                                                             GAINES             MI    48436‐8801
SANCHEZ JR, LOUIS                      2498 GAINES LN                                                                                    TRACY              CA    95377‐7915
SANCHEZ JR, LUIS                       1916 EMBASSY DR                                                                                   FORT WAYNE         IN    46816‐3724
SANCHEZ JR, MANUEL G                   PO BOX 512                                                                                        HOLGATE            OH    43527‐0512
SANCHEZ JR, MARIO C                    506 TICKNER ST APT 2                                                                              LINDEN             MI    48451‐9008
SANCHEZ JR, MARIO CANTU                #2                              506 TICKNER STREET                                                LINDEN             MI    48451‐9008
SANCHEZ JR, MIGUEL                     1749 HOPKINS ST                                                                                   DEFIANCE           OH    43512‐2452
SANCHEZ JR, PABLO                      2669 MOZART AVE                                                                                   SAN JOSE           CA    95122‐1314
SANCHEZ JR, RICARDO                    14291 BANNER ST                                                                                   TAYLOR             MI    48180‐4654
SANCHEZ JR, STEVEN                     818 MOORE ST                                                                                      DAVISON            MI    48423‐1110
SANCHEZ JR., JAIME                     PO BOX 214411                                                                                     AUBURN HILLS       MI    48321‐4411
SANCHEZ JR., ROBERT                    2845 S 400 E                                                                                      MARION             IN    46953‐9660
SANCHEZ JUAN                           SANCHEZ, JUAN                   316 BRANCH STREET                                                 TAYLOR             TX    76574‐2850
SANCHEZ JUAN J (626750)                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA    23510
                                                                       STREET, SUITE 600
SANCHEZ JUDY                           7116 WHITE OAK CIR                                                                                HOUSTON            TX 77040‐3523
SANCHEZ JUVENTINO (429754)             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510
                                                                       STREET, SUITE 600
SANCHEZ KATHRYN                        2030 NE 197TH TER                                                                                 MIAMI              FL 33179‐3126
SANCHEZ LEO R (494166)                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510
                                                                       STREET, SUITE 600
SANCHEZ LEONARD (ESTATE OF) (628271)   STE 163W                        1 RICHMOND SQUARE                                                 PROVIDENCE          RI   02906‐5172

SANCHEZ LEOPOLDO                       22492 PROVINCIAL ST                                                                               WOODHAVEN          MI 48183‐3704
SANCHEZ LLESENIA                       SANCHEZ, LLESENIA               831 STATE STREET                                                  SANTA BARBARA      CA 93101
SANCHEZ LUCIANO (459310)               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510
                                                                       STREET, SUITE 600
SANCHEZ LUIS                           3735 HAVENMOOR PL                                                                                 KATY                TX   77449‐6138
SANCHEZ LUIS                           SANCHEZ, LUIS                   5975 W SUNRISE BLVD STE 215                                       PLANTATION          FL   33313‐6813
SANCHEZ LUIS A                         SANCHEZ, LUIS A                 120 WEST MADISON STREET , 10TH                                    CHICAGO             IL   60602
                                                                       FLOOR
SANCHEZ OIL CORPORATION                PO BOX 2986                                                                                       LAREDO             TX 78044‐2986
SANCHEZ ORLANDO (660944)               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510
                                                                       STREET, SUITE 600
SANCHEZ PEREZ, SANTIAGO SANCHE         SAN FRANCISCO 45‐5A                                                         VINAROZ (CASTELLON)
                                                                                                                   12500 SPAIN
SANCHEZ PRUDENCIA                      SANCHEZ, PRUDENCIA              555 N. CARANCHAHUA STREET 14TH                                    CORPUS CHRISTI      TX   78478
                                                                       FLOOR
                                   09-50026-mg               Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
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Name                               Address1                             Address2                        Address3   Address4         City               State Zip
SANCHEZ RICHARD (494167)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                                        STREET, SUITE 600
SANCHEZ RONALD (494168)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                        STREET, SUITE 600
SANCHEZ ROSENDO (494169)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                        STREET, SUITE 600
SANCHEZ ROY (494170)               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                        STREET, SUITE 600
SANCHEZ SAM (ESTATE OF) (488198)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                                        PROFESSIONAL BLDG
SANCHEZ SANDRA                     SANCHEZ, SANDRA                      4066 HIGH STREET                                            ECORSE             MI   48229
SANCHEZ SANTOS                     915 SOUTHGATE DR                                                                                 BAKERSFIELD        CA   93307‐3930
SANCHEZ SERGIO                     GARCIA, SERGIO                       10877 3RD AVE                                               HESPERIA           CA   92345‐2349
SANCHEZ SILVERIO                   640 CARROLL AVE                                                                                  SACRAMENTO         CA   95838‐4243
SANCHEZ SR, ALBERTO S              1413 HANFORD AVE                                                                                 LINCOLN PARK       MI   48146‐1661
SANCHEZ SUSANNA                    SANCHEZ, SUSANNA                     7825 FAY AVE STE 200                                        LA JOLLA           CA   92037‐4270
SANCHEZ SUSIE                      2826 STATE HIGHWAY 49 S                                                                          MARIPOSA           CA   95338‐9783
SANCHEZ TIM R (494171)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510
                                                                        STREET, SUITE 600
SANCHEZ, ADALBERTO                 204 MACOMBER AVE                                                                                 AUBURN             MI 48611‐9416
SANCHEZ, ADAM
SANCHEZ, ADAM                      315 HOLIDAY ST                                                                                   BRIDGE CITY        TX 77611‐3820
SANCHEZ, ADOLPH                    GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510‐2212
                                                                        STREET, SUITE 600
SANCHEZ, AGAPITO                   13405 W 122ND TER                                                                                OVERLAND PARK      KS   66213‐4882
SANCHEZ, AGUSTIN
SANCHEZ, ALANA M                   219 BROWER ROAD                                                                                  ROCHESTER          NY   14622‐3117
SANCHEZ, ALBERT                    3429 N MINDEN ST                                                                                 VISALIA            CA   93291‐6543
SANCHEZ, ALBERT S                  1715 MORITZ DR APT 4                                                                             HOUSTON            TX   77055‐3239
SANCHEZ, ALEJANDRINA               WHITWORTH JIM O LAW OFFICES OF       8840 WARNER AVE STE 301                                     FOUNTAIN VALLEY    CA   92708‐3234
SANCHEZ, ALEX J                    17604 LEAD LN                                                                                    EDMOND             OK   73012‐6959
SANCHEZ, ALFONSO                   1011 STACEY RENEE CT                                                                             ARLINGTON          TX   76002‐4218
SANCHEZ, ALFONSO                   VECCHIO & VECCHIO                    901 E AVENUE K                                              GRAND PRAIRIE      TX   75050‐2636
SANCHEZ, ALFREDO                   6940 HALYARD RD                      `                                                           BLOOMFIELD HILLS   MI   48301‐2821
SANCHEZ, ALICIA                    4827 BARN WALL ST                                                                                LONG BEACH         CA   90688
SANCHEZ, ALICIA D                  806 HARDING AVE                                                                                  ALBERT LEA         MN   56007
SANCHEZ, AMADO                     7200 BOLLINGER RD APT 606                                                                        SAN JOSE           CA   95129‐2742
SANCHEZ, ANA
SANCHEZ, ANA L                     368 E 237TH ST                                                                                   CARSON             CA   90745‐5801
SANCHEZ, ANDREA M                  4827 CASA CORONA ST                                                                              SAN ANTONIO        TX   78233‐6447
SANCHEZ, ANDREA M                  2738 TAUSEND ST                                                                                  SAGINAW            MI   48601
SANCHEZ, ANGELO                    LEMON LAW ASSOCIATES OF CALIFORNIA   2550 FIFTH AVENUE 9TH FLOOR                                 SAN DIEGO          CA   92103

SANCHEZ, ANIBAL                    806 NIAGARA ST                                                                                   BUFFALO            NY 14213‐2419
SANCHEZ, ANN MARIE                 5770 PONTIAC LAKE ROAD                                                                           WATERFORD          MI 48327‐2115
SANCHEZ, ANTHONY J                 605 MADISON HILL RD                                                                              CLARK              NJ 07066‐3103
SANCHEZ, ANTONIO
SANCHEZ, ANTONIO                   632 INWOOD RD                                                                                    LINDEN             NJ   07036‐5328
SANCHEZ, ANTONIO                   SICO WHITE & BRAUGH LLP              225 S LAKE AVE STE 300                                      PASADENA           CA   91101‐3009
SANCHEZ, ART                       4238 HIGHLAND AVE APT 2                                                                          SAN DIEGO          CA   92115‐4857
SANCHEZ, ARTHUR G                  2814 BARRYWOOD DR                                                                                WICHITA FALLS      TX   76309‐4904
SANCHEZ, ARTURO                    2944 OSTEGO RD                                                                                   WATERFORD          MI   48328‐3251
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Name                             Address1                        Address2                Address3     Address4         City           State Zip
SANCHEZ, BARBARA J               6623 DAVIS RD                                                                         SAGINAW         MI 48604‐9747
SANCHEZ, BARBARA S               1531 WHIPPOORWILL DR                                                                  CHOCTAW         OK 73020‐7107
SANCHEZ, BASILICIA               1560 VAN WAGONER DR                                                                   SAGINAW         MI 48638‐4413
SANCHEZ, BEATRIZ                 7707 BRIARBROOK DR APT 1B                                                             LANSING         MI 48917‐6852
SANCHEZ, BENITO                  5045 CABOT ST                                                                         SAGINAW         MI 48601‐6804
SANCHEZ, BENJAMIN
SANCHEZ, BETTY J                 242 E LIVINGSTON DR                                                                   FLINT          MI   48503
SANCHEZ, BETTY L                 10168 FAIRVIEW ST                                                                     TAYLOR         MI   48180‐3293
SANCHEZ, CAMELLIA M              PO BOX 1654                                                                           BAY CITY       MI   48706‐0654
SANCHEZ, CANDIDO                 632 S 14TH ST                                                                         SAGINAW        MI   48601‐1921
SANCHEZ, CANDIDO                 632 S 14TH                                                                            SAGINAW        MI   48601‐1921
SANCHEZ, CARLOS                  487 S DORAN RD                                                                        IMLAY CITY     MI   48444‐9666
SANCHEZ, CARLOS
SANCHEZ, CARLOS E                2645 GREENSTONE BLVD APT 601                                                          AUBURN HILLS   MI   48326‐3764
SANCHEZ, CAROL P                 157 MARYLAND DR                                                                       O FALLON       MO   63366‐1162
SANCHEZ, CHARLIE                 224 4TH ST                                                                            FILLMORE       CA   93015‐1420
SANCHEZ, CHRISTINE E             2748 WEST 412 SOUTH                                                                   MARION         IN   46953‐9784
SANCHEZ, CLEOPATRA D             98‐283 KAULIKE DR                                                                     PEARL CITY     HI   96782‐3229
SANCHEZ, CONSUELO G              4515 GRAHAM RD UNIT 121                                                               HARLINGEN      TX   78552‐2014
SANCHEZ, CONSUELO G              4515 GRAHAM ROAD                BOX 121                                               HARLINGEN      TX   78551‐0121
SANCHEZ, CORINA                  1663 S COLE DR                                                                        GILBERT        AZ   85295‐4816
SANCHEZ, CRUZ                    11255 ALLEN RD APT 301                                                                SOUTHGATE      MI   48195‐2880
SANCHEZ, DANIEL                  3606 CAMBREY DR                                                                       LANSING        MI   48906‐3515
SANCHEZ, DANIEL G                15225 ROPER AVE                                                                       NORWALK        CA   90650‐6828
SANCHEZ, DANIEL J                1063 REDWING DR                                                                       CROSSVILLE     TN   38572
SANCHEZ, DANIEL S                1025 PEACOCK CT 1025P                                                                 TRACY          CA   95376
SANCHEZ, DANIELS & HOFFMAN LLP   ATTN TIMOTHY V. HOFFMAN         333 WEST WACKER DRIVE   SUITE 500                     CHICAGO        IL   60606
SANCHEZ, DAVID                   6623 DAVIS RD                                                                         SAGINAW        MI   48604‐9747
SANCHEZ, DAVID                   13047 TERRA BELLA ST                                                                  PACOIMA        CA   91331‐3147
SANCHEZ, DAVID                   1841 FISCHER DR                                                                       SAGINAW        MI   48601‐5722
SANCHEZ, DAVID C                 13 BEECHWOODE LN                                                                      PONTIAC        MI   48340‐2201
SANCHEZ, DAVID C                 104 W BROOKLYN AVE                                                                    PONTIAC        MI   48340‐1122
SANCHEZ, DAVID M                 4538 LORRAINE AVE                                                                     SAGINAW        MI   48604‐1040
SANCHEZ, DAWN                    8865 SEYMUR RD                                                                        GRASS LAKE     MI   49240
SANCHEZ, DELMA F                 612 E LOVELESS RD                                                                     BOONEVILLE     MS   38829‐9688
SANCHEZ, DESIDERIO R             7701 FULTON AVE                                                                       N HOLLYWOOD    CA   91605‐1809
SANCHEZ, DESIDERIO R             13846 PAXTON ST                                                                       PACOIMA        CA   91331‐2846
SANCHEZ, DIONICIO P              5900 HUGHES RD                                                                        LANSING        MI   48911‐4718
SANCHEZ, DIONISIO O              9116 MOREHART AVE                                                                     ARLETA         CA   91331‐4319
SANCHEZ, DOMINGA                 1502 W JEFFRAS AVE                                                                    MARION         IN   46952‐3474
SANCHEZ, DONALD L                4156 N GALE RD                                                                        DAVISON        MI   48423‐0951
SANCHEZ, DONALD L                5156 N GALE RD                                                                        DAVISON        MI   48423‐8955
SANCHEZ, DONALD S                3888 KEDRON RD                                                                        SPRING HILL    TN   37174‐2155
SANCHEZ, EDUARDO
SANCHEZ, EDWIN                   12 HERTEL AVE APT 304                                                                 BUFFALO        NY   14207‐2531
SANCHEZ, ELAINE M                4201 W ECHO LN                                                                        PHOENIX        AZ   85051‐4659
SANCHEZ, ELAYDA CLARA‐MARIE B    29133 PALOMINO DR                                                                     WARREN         MI   48093‐3504
SANCHEZ, ELENA                   1621 LATHRUP AVE                                                                      SAGINAW        MI   48603‐4740
SANCHEZ, ELEVINIA P              725 WAYNE ST.                                                                         DEFIANCE       OH   43512‐2865
SANCHEZ, ELEVINIA P              725 WAYNE AVE                                                                         DEFIANCE       OH   43512‐2865
SANCHEZ, ELIAS                   632 CHRISTOPHER LN                                                                    CAROL STREAM   IL   60188‐4202
SANCHEZ, ELIAS                   204 N GLADE AVE                                                                       ELMHURST       IL   60126‐2512
                               09-50026-mg              Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                           Address1                         Address2                        Address3   Address4         City             State Zip
SANCHEZ, ELIZABETH             PO BOX 121                                                                                   BATESVILLE        TX 78829‐0121
SANCHEZ, ELIZABETH             KROHN & MOSS ‐ IL                120 WEST MADISON STREET, 10TH                               CHICAGO            IL 60602
                                                                FLOOR
SANCHEZ, ELVIRA O
SANCHEZ, EMILIO                34 BARKWOOD LN                                                                               PALM COAST       FL   32137‐8834
SANCHEZ, EMILIO                13201 ALBURTIS AVE                                                                           NORWALK          CA   90650‐2828
SANCHEZ, ENRIQUE B             6065 FOX CHASE TRL                                                                           SHREVEPORT       LA   71129‐3540
SANCHEZ, ENRIQUE P             2332 CHRISTENSENS CT                                                                         CHARLOTTE        NC   28270‐7700
SANCHEZ, ENRIQUE S             14721 WHITECAP BLVD APT 156                                                                  CORPUS CHRISTI   TX   78418‐7720
SANCHEZ, ERICK                 4068 KENDRICK ST                                                                             SAGINAW          MI   48638‐6627
SANCHEZ, ERICK E               2705 RUFFIN DR                                                                               FREDERICKSBURG   VA   22408‐0286
SANCHEZ, ERIDANIA              13824 NW 15TH ST                                                                             PEMBROKE PINES   FL   33028‐3034
SANCHEZ, ERIN
SANCHEZ, ERNEST                1285 N HURON RD                                                                              TAWAS CITY       MI   48763
SANCHEZ, ERNEST                PO BOX 2153                                                                                  CLINTWOOD        VA   24228‐2153
SANCHEZ, ERNEST                2114 HILL ST                                                                                 SAGINAW          MI   48602‐5632
SANCHEZ, ERNESTO S             3348 MENOMINEE ST                                                                            BURTON           MI   48529‐1414
SANCHEZ, EROY D                8223 NOBLET RD                                                                               DAVISON          MI   48423‐8618
SANCHEZ, ESTEBAN               24 JACKSON DR                                                                                STONY POINT      NY   10980‐1104
SANCHEZ, ESTEBAN R             3525 FLAG DR                                                                                 CENTERVILLE      TN   37033‐9387
SANCHEZ, ESTHER L              450 WALNUT ST APT G006                                                                       YONKERS          NY   10701
SANCHEZ, EUGENE S              5086 OLD NORCROSS RD                                                                         NORCROSS         GA   30071‐2731
SANCHEZ, EUGENIO L             PO BOX 303                                                                                   CLEWISTON        FL   33440‐0303
SANCHEZ, EULA A                11720 DOWNING RD                                                                             BIRCH RUN        MI   48415‐9793
SANCHEZ, EVANGELINA MADRIGAL   CLMT REPRESENTING HIMSELF:       7000 PARADISE RD APT 2086                                   LAS VEGAS        NV   89119‐4481
                               BLATMAN;BARRY
SANCHEZ, FELICITAS R           16721 HART ST                                                                                VAN NUYS         CA   91406‐4611
SANCHEZ, FELIPE                335 W NORTH BOUTELL RD                                                                       KAWKAWLIN        MI   48631‐9717
SANCHEZ, FELIPE E              1820 SUN VALLEY AVE                                                                          LIVINGSTON       CA   95334‐9306
SANCHEZ, FERMIN M              8517 KESTER AVE                                                                              PANORAMA CITY    CA   91402‐2722
SANCHEZ, FERMIN MUNIZ          8517 KESTER AVE                                                                              PANORAMA CITY    CA   91402‐2722
SANCHEZ, FERNANDO
SANCHEZ, FLORENCE              570 CALLE CATANIA                                                                            SAN JUAN         PR   00924‐4048
SANCHEZ, FLORENCE              570 CALLE CATANIA                VILLA CAPRI                                                 SAN JUAN         PR   00924‐4048
SANCHEZ, FLORENTINO            6245 BELL RD                                                                                 BIRCH RUN        MI   48415‐9062
SANCHEZ, FLORESTELA            5928 PROCTOR ST                                                                              DETROIT          MI   48210
SANCHEZ, FRANCES               4499 1/2 PICKFORD AVE.                                                                       SAN JOSE         CA   95127
SANCHEZ, FRANCISCO A           10537 FUERTE DR                                                                              LA MESA          CA   91941‐4350
SANCHEZ, FRANK A               1907 W PACKARD DR                                                                            SAGINAW          MI   48638‐4541
SANCHEZ, FRANK A               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA   23510‐2212
                                                                STREET, SUITE 600
SANCHEZ, FRANK J               1517 CLEVELAND ST                                                                            SALEM            OH 44460‐2311
SANCHEZ, FRANKLIN              PO BOX 108                                                                                   OAK HILL         WV 25901‐0108
SANCHEZ, GABRIEL E             17915 SW 29TH CT                                                                             MIRAMAR          FL 33029‐5504
SANCHEZ, GERARD
SANCHEZ, GILBERT               11825 RINGWOOD AVE                                                                           NORWALK          CA   90650‐7771
SANCHEZ, GILBERT               2136 HORTON AVE SE                                                                           GRAND RAPIDS     MI   49507‐3039
SANCHEZ, GILBERTO E            2738 TAUSEND ST                                                                              SAGINAW          MI   48601‐4555
SANCHEZ, GONZALO M             809 SMOKE SIGNAL PASS                                                                        PFLUGERVILLE     TX   78660‐3866
SANCHEZ, GRACIELA              1016 S OLIVE ST                                                                              ALHAMBRA         CA   91803
SANCHEZ, GREGORY J             16231 N 63RD ST                                                                              SCOTTSDALE       AZ   85254
SANCHEZ, GUADALUPE             1004 MCCORMICK ST                                                                            BAY CITY         MI   48708‐8314
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Name                           Address1                        Address2                       Address3   Address4         City              State Zip
SANCHEZ, GUADALUPE             405 TIERRA LN                                                                              WAXAHACHIE         TX 75167‐7269
SANCHEZ, GUADALUPE             320 LAKE FOREST DR                                                                         WATERFORD          MI 48327‐1778
SANCHEZ, GUADALUPE
SANCHEZ, GUADALUPE             25212 STEINBECK AVE UNIT E                                                                 STEVENSON RANCH   CA 91381‐1238
SANCHEZ, GUADALUPE             1730 GAY LN                                                                                LANSING           MI 48912‐4514
SANCHEZ, GUADALUPE             SICO WHITE & BRAUGH LLP         225 S LAKE AVE STE 300                                     PASADENA          CA 91101‐3009
SANCHEZ, GUADALUPE GUZMAN
SANCHEZ, GUADALUPE H           244 VINTAGE LN                                                                             LAREDO            TX   78041‐9101
SANCHEZ, GUILLERMO O           1030 LE BORGNE AVE                                                                         LA PUENTE         CA   91746‐1337
SANCHEZ, HECTOR                SIMMONS FIRM                    PO BOX 521                                                 EAST ALTON        IL   62024‐0519
SANCHEZ, HECTOR L              6416 GREENWOOD ST                                                                          SHAWNEE MISSION   KS   66216‐2137
SANCHEZ, HELEN L               6401 WALROND AVE                                                                           KANSAS CITY       MO   64132‐1259
SANCHEZ, HELEN L               6401 WALROND                                                                               KANSAS CITY       MO   64132‐1259
SANCHEZ, HENRY                 960 JEAN WAY                                                                               HAYWARD           CA   94545‐1504
SANCHEZ, HENRY E               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510‐2212
                                                               STREET, SUITE 600
SANCHEZ, HERBERT               7919 CROWNDALE AVE                                                                         WHITTIER          CA 90606‐2518
SANCHEZ, IGNACIO               5448 CENTURY PARK WAY                                                                      SAN JOSE          CA 95111‐1815
SANCHEZ, ILEANA
SANCHEZ, IRMA                  412 DETROIT ST                                                                             LANSING           MI   48912‐3908
SANCHEZ, ISABEL                16 HALF MOON LN                                                                            TARRYTOWN         NY   10591‐4808
SANCHEZ, ISABEL                1501 SW 85TH CT                                                                            MIAMI             FL   33144‐4026
SANCHEZ, ISABEL                5408 N KILDARE AVE                                                                         CHICAGO           IL   60630‐1791
SANCHEZ, ISABEL                16 HALFMOON LANE                                                                           TARRYTOWN         NY   10591‐2567
SANCHEZ, ISELA
SANCHEZ, IVAN                  8075 NANCY AVENUE                                                                          SHELBY TWP        MI   48317‐5329
SANCHEZ, J A                   4478 FAIRFIELD DR                                                                          CLARKSTON         MI   48348‐5061
SANCHEZ, J ALEJANDRO           4478 FAIRFIELD DR                                                                          CLARKSTON         MI   48348‐5061
SANCHEZ, J V                   3320 N ELM ST                                                                              FORT WORTH        TX   76106‐6053
SANCHEZ, JACKELYN
SANCHEZ, JAIME G               2237 PAULINE CIR                                                                           GRAND BLANC       MI   48439‐4331
SANCHEZ, JAIRO                 1086 HUSHABYE LN                                                                           CORONA            CA   92880‐1312
SANCHEZ, JAIRO                 GREGORY MORENO                  3500 WEST BEVERLY BLVD                                     MONTEBELLO        CA   90640
SANCHEZ, JAMES                 621 LINCOLN AVE                                                                            PAULDING          OH   45879‐1123
SANCHEZ, JAMES D               2236 E MCLEAN AVE                                                                          BURTON            MI   48529‐1742
SANCHEZ, JANET N               9844 S COUNTY LINE RD                                                                      GAINES            MI   48436‐8801
SANCHEZ, JAVIER                13047 TERRA BELLA ST                                                                       PACOIMA           CA   91331‐3147
SANCHEZ, JENNY                 635 LIBERTY ROAD                                                                           YOUNGSTOWN        OH   44505‐4258
SANCHEZ, JERRY
SANCHEZ, JESSE                 2420 COLLINGWOOD AVE                                                                       SAGINAW           MI   48601‐3660
SANCHEZ, JESSE                 2029 WILKINS ST                                                                            SAGINAW           MI   48601‐3317
SANCHEZ, JESSE P               PO BOX 50734                                                                               TUCSON            AZ   85703‐1734
SANCHEZ, JESSE P               2479 E SAINT CHARLES RD                                                                    ITHACA            MI   48847‐9722
SANCHEZ, JESSE P               1867 SHERWOOD DR                                                                           DEFIANCE          OH   43512‐3429
SANCHEZ, JESUS M               2237 THOMAS ST                                                                             LOS ANGELES       CA   90031‐2907
SANCHEZ, JOE                   1402 PIUS ST                                                                               SAGINAW           MI   48638‐6501
SANCHEZ, JOE                   1402 PIUS                                                                                  SAGINAW           MI   48603‐6501
SANCHEZ, JOE                   LANIER LAW FIRM                 6810 FM 1960 WEST SUITE 1550                               HOUSTON           TX   77069
SANCHEZ, JOE/ CHERYL SANCHEZ   ICO THE LAMER LAW FIRM PC       6810 FM 1960 WEST                                          HOUSTON           TX   77069
SANCHEZ, JOHN                  2516 HOAGLAND AVE                                                                          FORT WAYNE        IN   46807‐1336
SANCHEZ, JOHN A                2204 MILITARY ST                                                                           DETROIT           MI   48209‐1680
SANCHEZ, JOHN E                1307 S GRANT ST                                                                            BAY CITY          MI   48708‐8057
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Name                          Address1                            Address2                       Address3   Address4         City               State Zip
SANCHEZ, JOHN E               PO BOX 242                                                                                     BAY CITY            MI 48708‐0242
SANCHEZ, JOHN J               1012 COLEMAN AVE                                                                               BOSSIER CITY        LA 71111
SANCHEZ, JOHN L               7 DRAKE DR                                                                                     HILLSDALE           NJ 07642‐2454
SANCHEZ, JOHNY                2513 52ND ST                                                                                   LUBBOCK             TX 79413‐4401
SANCHEZ, JON G                557 ALPINE DR                                                                                  SOUTH LAKE TAHOE    CA 96150
SANCHEZ, JORGE L              425 ENARD RD                                                                                   HONOLULU            HI 96815
SANCHEZ, JOSE                 209 FOXCROFT CT                                                                                KELLER              TX 76248‐3813
SANCHEZ, JOSE                 RUSSELL LITTLE                      12345 JONES RD                                             HOUSTON             TX 77070
SANCHEZ, JOSE                 8000 MCKEEVER RD                                                                               PEARLAND            TX 77584
SANCHEZ, JOSE
SANCHEZ, JOSE                 2407 COSMIC DR                                                                                 JOLIET             IL   60431‐1232
SANCHEZ, JOSE                 4317 SEAWAY DR                                                                                 LANSING            MI   48911‐2727
SANCHEZ, JOSE                 632 S 14TH ST                                                                                  SAGINAW            MI   48601‐1921
SANCHEZ, JOSE                 9247 BURNING TREE DR                                                                           GRAND BLANC        MI   48439‐9514
SANCHEZ, JOSE A               GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW            MI   48604‐2602
                                                                  260
SANCHEZ, JOSE ALBERTO         SICO WHITE & BRAUGH LLP             225 S LAKE AVE STE 300                                     PASADENA           CA 91101‐3009
SANCHEZ, JOSE C               APT 130                             734 WEST LA JOLLA STREET                                   PLACENTIA          CA 92870‐7047
SANCHEZ, JOSE CARLOS
SANCHEZ, JOSE L               4348 S HERMITAGE AVE                                                                           CHICAGO            IL   60609‐3122
SANCHEZ, JOSE L               12049 MARION                                                                                   REDFORD            MI   48239‐2437
SANCHEZ, JOSE L               18850 HANNAN RD                                                                                NEW BOSTON         MI   48164‐9369
SANCHEZ, JOSE M               10028 HADDON AVE                                                                               PACOIMA            CA   91331‐3306
SANCHEZ, JOSE M               38835 GAINSBOROUGH DR                                                                          CLINTON TWP        MI   48038‐3228
SANCHEZ, JOSE P               30586 FERN VIEW LN                                                                             BIG FORK           MT   59911‐9911
SANCHEZ, JOSE V               992 SELBY LN                                                                                   SAN JOSE           CA   95127‐1152
SANCHEZ, JOSEFA               PO BOX 320396                                                                                  FLINT              MI   48532‐0007
SANCHEZ, JOSEFINA R           638 INWOOD DR                                                                                  SANTA BARBARA      CA   93111‐2829
SANCHEZ, JOSEPH               1280 E KITCHEN RD                                                                              PINCONNING         MI   48650‐7483
SANCHEZ, JOSEPH H             403 E NEWARK RD                                                                                LAPEER             MI   48446‐9408
SANCHEZ, JOSEPHINE A.         PO BOX 56052                                                                                   SAN JOSE           CA   95156
SANCHEZ, JOY A                1106 CAMBRIA DR                                                                                EAST LANSING       MI   48823‐2395
SANCHEZ, JR., GUADALUPE       405 TIERRA LN                                                                                  WAXAHACHIE         TX   75167‐7269
SANCHEZ, JR.,GUADALUPE        405 TIERRA LN                                                                                  WAXAHACHIE         TX   75167‐7269
SANCHEZ, JUAN                 1342 MAYER RD                                                                                  COLUMBUS           MI   48063‐2706
SANCHEZ, JUAN                 316 BRANCH ST                                                                                  TAYLOR             TX   76574‐2850
SANCHEZ, JUAN A               531 BALSAM TER                                                                                 WILMINGTON         DE   19804‐2644
SANCHEZ, JUAN J               GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
SANCHEZ, JUAN JOSE            SICO WHITE & BRAUGH LLP             225 S LAKE AVE STE 300                                     PASADENA           CA   91101‐3009
SANCHEZ, JUAN JOSE HUMBERTO   SICO WHITE & BRAUGH LLP             225 S LAKE AVE STE 300                                     PASADENA           CA   91101‐3009
SANCHEZ, JUAN M               82 LEMANS CT                                                                                   LAKE ST LOUIS      MO   63367‐1147
SANCHEZ, JUAN MANUEL          CANTU MARK A                        1300 N 10TH ST STE 400                                     MCALLEN            TX   78501‐4369
SANCHEZ, JUAN MANUEL          COWEN MICHAEL R                     520 E LEVEE ST                                             BROWNSVILLE        TX   78520‐5343
SANCHEZ, JUANITA C            587 ELMGROVE RD                                                                                ROCHESTER          NY   14606‐4340
SANCHEZ, JUANITA J            3325 YAUCK DR                                                                                  SAGINAW            MI   48601‐6956
SANCHEZ, JUANITA J            3325 YAUCK RD                                                                                  SAGINAW            MI   48601‐6956
SANCHEZ, JULIA C              1532 BARRON LN                                                                                 FORT WORTH         TX   76112‐3451
SANCHEZ, JULIA K              8223 NOBLET RD                                                                                 DAVISON            MI   48423‐8618
SANCHEZ, JULIAN               10934 E KEATS AVE                                                                              MESA               AZ   85209‐1347
SANCHEZ, JULIAN R             6685 CRIBBINS RD                                                                               GREENWOOD          MI   48006‐2401
                          09-50026-mg              Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
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Name                      Address1                              Address2                      Address3   Address4         City             State Zip
SANCHEZ, JUVENTINO        GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                                STREET, SUITE 600
SANCHEZ, KENYA N          1901 PARK PLACE BLVD APT 102                                                                    BEDFORD          TX   76021‐5855
SANCHEZ, KENYA NIKIA      1901 PARK PLACE BLVD APT 102                                                                    BEDFORD          TX   76021‐5855
SANCHEZ, LARRY            31660 96TH ST E                                                                                 JUNIPER HILLS    CA   93543‐3625
SANCHEZ, LAZARA A         3066 W LASKEY RD                                                                                TOLEDO           OH   43613‐3062
SANCHEZ, LAZARA A.        3066 W LASKEY RD                                                                                TOLEDO           OH   43613‐3062
SANCHEZ, LAZRO            339 1/2 N PINE ST UPPR                                                                          JANESVILLE       WI   53546‐3515
SANCHEZ, LEO R            GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                                STREET, SUITE 600
SANCHEZ, LEONARD          DEATON LAW FIRM                       1 RICHMOND SQ STE 134C                                    PROVIDENCE       RI   02906‐5166
SANCHEZ, LEONICIO         33 MATHEWS ST                                                                                   PONTIAC          MI   48342‐2038
SANCHEZ, LEOPOLDO E       22492 PROVINCIAL ST                                                                             WOODHAVEN        MI   48183‐3704
SANCHEZ, LETICIA G        16007 BISCAYNE SHOALS DR                                                                        FRIENDSWOOD      TX   77546‐2419
SANCHEZ, LINDA P          34565 VANE COMMON                                                                               FREMONT          CA   94555‐3652
SANCHEZ, LISA M           3730 RUE FORET APT 270                                                                          FLINT            MI   48532‐2861
SANCHEZ, LISA M.          3730 RUE FORET APT 270                                                                          FLINT            MI   48532‐2861
SANCHEZ, LORENZO H        727 E SAN YSIDRO BLVD                                                                           SAN YSIDRO       CA   92173‐3114
SANCHEZ, LUCIANO          GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                                STREET, SUITE 600
SANCHEZ, LUCIO            PO BOX 1509                                                                                     DICKINSON        TX   77539‐1509
SANCHEZ, LUIS             612 E LOVELESS RD                                                                               BOONEVILLE       MS   38829‐9688
SANCHEZ, LUIS E           17827 FOX TRAIL LN                                                                              LOXAHATCHEE      FL   33470‐3965
SANCHEZ, LUIS E           2102 RIDGEWOOD ST                                                                               SANTA ANA        CA   92705‐7626
SANCHEZ, LUIS E           3513 MACKINAW ST                                                                                SAGINAW          MI   48602
SANCHEZ, LUIS F           7606 CORNELIA AVE                                                                               CLEVELAND        OH   44103‐2014
SANCHEZ, LUIS H           2721 DARLENE DR                                                                                 FORT WAYNE       IN   46802‐3806
SANCHEZ, LUIS H           6303 WINTER ST                                                                                  FORT WAYNE       IN   46816‐3615
SANCHEZ, LUIS M           10385 NELSON RD                                                                                 PORTLAND         MI   48875‐9771
SANCHEZ, LUPE L           3429 N MINDEN ST,                                                                               VISALIA          CA   93291
SANCHEZ, MANUEL           4160 BURNHAM                                                                                    SAGINAW          MI   48603‐6605
SANCHEZ, MANUEL           4160 BURNHAM ST                                                                                 SAGINAW          MI   48638‐6605
SANCHEZ, MANUEL           840 WAINEE ST C1                                                                                LAHAINA          HI   96761
SANCHEZ, MANUEL           67222 ASISTENCIA DR                                                                             CATHEDRAL CITY   CA   92234‐5001
SANCHEZ, MANUELA
SANCHEZ, MARC             1778 SEMINOLE AVE                                                                               DEFIANCE         OH 43512‐3371
SANCHEZ, MARIA
SANCHEZ, MARIA            SAYRE FEDERICO CASTELAN LAW OFFICES   900 N BROADWAY FL 7                                       SANTA ANA        CA 92701‐3456
                          OF
SANCHEZ, MARIA            13201 ALBURTIS                                                                                  NORWALK          CA 90650‐2828
SANCHEZ, MARIA D          3320 HEMMETER RD                                                                                SAGINAW          MI 48603‐2020
SANCHEZ, MARIA DE JESUS
SANCHEZ, MARIA L          71 SAN ROSSANO DRIVE                                                                            GOLETA           CA   93117‐1912
SANCHEZ, MARIA M          379 WELL LN                                                                                     LAREDO           TX   78045‐3606
SANCHEZ, MARIE E          3149 ROCKY MOUNTAIN DR                                                                          SAN JOSE         CA   95127‐4746
SANCHEZ, MARIO            26 PILLAR LN                                                                                    PALM COAST       FL   32164‐7064
SANCHEZ, MARIO L          8517 KESTER AVE                                                                                 PANORAMA CITY    CA   91402‐2722
SANCHEZ, MARTHA C         18850 HANNAN RD                                                                                 NEW BOSTON       MI   48164‐9369
SANCHEZ, MARY             3379 US HIGHWAY 31 N                                                                            KEWADIN          MI   49648‐9786
SANCHEZ, MARY             3379 U.S HWY 31 NORTH                                                                           KEWADIN          MI   49648‐9786
SANCHEZ, MARY             621 LINCOLN                                                                                     PAULDING         OH   45879‐1123
SANCHEZ, MARY             350 N BALDWIN RD                                                                                CLARKSTON        MI   48348‐2201
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Name                   Address1                             Address2                         Address3   Address4         City             State Zip
SANCHEZ, MARY ANN      4410 W KINNICKINNIC RIVER PKWY                                                                    MILWAUKEE         WI 53219
SANCHEZ, MAXIMO        4351 CENTRAL ST                                                                                   DETROIT           MI 48210‐2736
SANCHEZ, MERCEDES      6601 W WELLINGTON AVE                                                                             CHICAGO            IL 60634‐4915
SANCHEZ, MICHAEL E     13748 COUNTY ROAD C                                                                               BRYAN             OH 43506‐8755
SANCHEZ, MIGUEL A      1622 LAKESIDE DR                                                                                  MISSION           TX 78572‐3000
SANCHEZ, MIGUEL A      7044 WHISPER CREEK DR                                                                             WENTZVILLE        MO 63385‐6824
SANCHEZ, MIGUEL A.     7044 WHISPER CREEK DR                                                                             WENTZVILLE        MO 63385‐6824
SANCHEZ, MIKE A        15060 CUTLER DR                                                                                   LINDEN            MI 48451‐9064
SANCHEZ, MIREYA V      280 W 64TH ST                                                                                     HIALEAH           FL 33012‐2668
SANCHEZ, MODESTA A     530 N ADDISON RD                                                                                  VILLA PARK         IL 60181
SANCHEZ, NAT J         2971 TREE TOP RD                                                                                  DACULA            GA 30019‐1248
SANCHEZ, NEIDA L       13840 CORRENTI ST.                                                                                ARLETA            CA 91331‐6104
SANCHEZ, NINFA A       2096 PAINTED POST                                                                                 FLUSHING          MI 48433‐2562
SANCHEZ, NOE
SANCHEZ, NORMA J       4223 SAINT FRANCIS ST                                                                             METAIRIE         LA 70001‐2546
SANCHEZ, ORLANDO       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510
                                                            STREET, SUITE 600
SANCHEZ, OSCAR A       3001 AVERILL DR                                                                                   LANSING          MI   48911‐1411
SANCHEZ, OSCAR G       662 E BEVERLY AVE                                                                                 PONTIAC          MI   48340‐2909
SANCHEZ, PAMELA A      10316 SE 230TH PL                                                                                 KENT             WA   98031‐3233
SANCHEZ, PAUL          1001 E WALTON BLVD                                                                                PONTIAC          MI   48340‐1436
SANCHEZ, PAUL M        894 N 4TH ST                                                                                      SAN JOSE         CA   95112‐5016
SANCHEZ, PAUL R        16204 VALLEYVIEW AVE                                                                              CLEVELAND        OH   44135‐4316
SANCHEZ, PEDRO E       920 CENTRAL AVE                                                                                   KANSAS CITY      KS   66101‐3506
SANCHEZ, PETER P       3320 HEMMETER RD                                                                                  SAGINAW          MI   48603‐2020
SANCHEZ, PHILIP        784 KINGS HWY                                                                                     LINCOLN PARK     MI   48146‐3139
SANCHEZ, PHILLIP R     35852 PINETREE ST                                                                                 LIVONIA          MI   48150‐2543
SANCHEZ, PRISCILLA     11046 CHARLESWORTH RD                                                                             SANTA FE SPGS    CA   90670‐2700
SANCHEZ, PRUDENCIA     610 W KYLE RD                                                                                     CLUTE            TX   77531‐3722
SANCHEZ, PRUDENCIA     WATTS LAW FIRM                       555 N. CARANCHAHUA STREET 14TH                               CORPUS CHRISTI   TX   78478
                                                            FLOOR
SANCHEZ, RAFAEL        632 S 14TH ST                                                                                     SAGINAW          MI   48601‐1921
SANCHEZ, RALPH A       706 E AVENUE 43                                                                                   LOS ANGELES      CA   90031
SANCHEZ, RAMON         4105 ROHR RD                                                                                      LAKE ORION       MI   48359‐1943
SANCHEZ, RAMONA        257 TURRILL AVE                                                                                   LAPEER           MI   48446‐2540
SANCHEZ, RAUL          1240 E BUSINESS HIGHWAY 83 UNIT 49                                                                MISSION          TX   78572‐9351
SANCHEZ, RAUL          475 HORACE ST                                                                                     DEFIANCE         OH   43512‐2880
SANCHEZ, RAUL          APT 17                               2222 SHERWOOD AVENUE                                         TOLEDO           OH   43614‐4355
SANCHEZ, RAUL          128 KIM DR                                                                                        ANDERSON         IN   46012‐1013
SANCHEZ, RAUL          1661 LAKE DR APT 120                                                                              HASLETT          MI   48840
SANCHEZ, RAUL R        1002 E 27TH ST                                                                                    MARION           IN   46953‐3720
SANCHEZ, RAY M         10205 MANTLE CT                                                                                   OKLAHOMA CITY    OK   73162‐4438
SANCHEZ, REYES         3118 S 55TH AVE                                                                                   CICERO           IL   60804‐3909
SANCHEZ, REYES B       643 S 15TH ST                                                                                     SAGINAW          MI   48601‐2010
SANCHEZ, RHONDA M      605 MADISON HILL RD                                                                               CLARK            NJ   07066‐3103
SANCHEZ, RICARDO
SANCHEZ, RICARDO       2500 PLAZA ST                                                                                     ARLINGTON        TX 76010‐3217
SANCHEZ, RICARDO       1719 PIERCE RD                                                                                    LANSING          MI 48910‐5268
SANCHEZ, RICHARD       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510
                                                            STREET, SUITE 600
SANCHEZ, RICHARD O     1961 NEW JERSEY STREET                                                                            LOS ANGELES      CA 90033‐2847
SANCHEZ, RIGOBERTO A   626 VALLEY SPRING DR                                                                              ARLINGTON        TX 76018‐2249
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Name                      Address1                         Address2                         Address3   Address4         City             State Zip
SANCHEZ, ROBERT           WEINREB WEINREB & MANDELL        19400 BUSINESS CENTER DR STE 102                             NORTHRIDGE        CA 91324‐6425

SANCHEZ, ROBERT RICHARD
SANCHEZ, ROBERTO          29039 ELMWOOD ST                                                                              GARDEN CITY      MI    48135‐2413
SANCHEZ, ROBIN L          PO BOX 236                                                                                    GLOSTER          LA    71030‐0236
SANCHEZ, RODRIGO S        5135 RIVER RIDGE DR                                                                           LANSING          MI    48917‐1358
SANCHEZ, ROMAN R          8405 WAKEFIELD ST                                                                             OKLAHOMA CITY    OK    73149‐1906
SANCHEZ, RON              STEVE PELL                       2633 LOMA VISTA ROAD, THE PELL                               VENTURA          CA    93003
                                                           BUILDING
SANCHEZ, RONALD           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510
                                                           STREET, SUITE 600
SANCHEZ, ROSA             681 W 27TH ST                                                                                 SAN BERNARDINO   CA 92405‐3301
SANCHEZ, ROSENDO          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510‐2212
                                                           STREET, SUITE 600
SANCHEZ, ROY              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510‐2212
                                                           STREET, SUITE 600
SANCHEZ, RUBEN            33 FOX VALLEY DR                                                                              ORANGE PARK      FL    32073‐5154
SANCHEZ, RUBEN            379 WELL LN                                                                                   LAREDO           TX    78045‐3606
SANCHEZ, RUBEN            4841 TOLEDO ST                                                                                DETROIT          MI    48209‐1374
SANCHEZ, RUBEN A          6044 S KEELER AVE                                                                             CHICAGO          IL    60629‐4921
SANCHEZ, RUFINO R         2727 MCCORMACK DRIVE                                                                          EDINBURG         TX    78542‐2194
SANCHEZ, RYANN
SANCHEZ, SALVADOR
SANCHEZ, SALVADOR         PO BOX 227146                                                                                 LOS ANGELES      CA 90022‐0846
SANCHEZ, SALVADOR R       2440 JACKSON STREET                                                                           FREMONT          CA 94539‐5143
SANCHEZ, SAMUEL           KNICKERBOCKER HEREDIA JASSO &    468 MAIN STREET                                              EAGLE PASS       TX 78852
                          STEWART
SANCHEZ, SAMUEL F         817 BLAINE AVE                                                                                FILLMORE         CA    93015‐1209
SANCHEZ, SAMUEL F         817 BLAINE AVENUE                                                                             FILLMORE         CA    93015‐1209
SANCHEZ, SAMUEL J         3420 HAWTHORNE DR                                                                             FLINT            MI    48503‐4649
SANCHEZ, SAMUEL L         7 N LAKE SHORE DR                                                                             BROOKFIELD       CT    06804‐1417
SANCHEZ, SANDRA           4066 HIGH ST                                                                                  ECORSE           MI    48229‐1628
SANCHEZ, SANDRA           SICO WHITE & BRAUGH LLP          225 S LAKE AVE STE 300                                       PASADENA         CA    91101‐3009
SANCHEZ, SANTIAGO A       125 S ROSEMARY ST                                                                             LANSING          MI    48917‐3855
SANCHEZ, SANTIAGO M       207 RAILROAD ST                                                                               CAPAC            MI    48014‐3623
SANCHEZ, SANTIAGO R       513 HAMRICK AVE                                                                               ROMEOVILLE       IL    60446‐1641
SANCHEZ, SANTOS           10565 WOODALE AVE                                                                             MISSION HILLS    CA    91345‐2243
SANCHEZ, SELENA           1011 STACEY RENEE CT                                                                          ARLINGTON        TX    76002‐4218
SANCHEZ, SELENA TERESA
SANCHEZ, SERGIO           7228 ROBINHOOD LN                                                                             FORT WORTH        TX   76112‐5830
SANCHEZ, SERGIO
SANCHEZ, SERGIO           17731 MARYGOLD AVE                                                                            BLOOMINGTON      CA    92316
SANCHEZ, SERGIO           2305 LANCASTER DR                                                                             GRAND PRAIRIE    TX    75052‐4605
SANCHEZ, SHAWN P          1543 N LINCOLN AVE                                                                            SALEM            OH    44460‐1338
SANCHEZ, STEPHEN C        6590 SQUIRREL HILL CT                                                                         CLARKSTON        MI    48346‐2456
SANCHEZ, STEVEN           257 TURRILL AVE                                                                               LAPEER           MI    48446‐2540
SANCHEZ, SUSANNA          BICKEL LAW FIRM INC              7825 FAY AVE STE 200                                         LA JOLLA         CA    92037‐4270
SANCHEZ, SUZANNE          3955 MONTE CARLO CT SE                                                                        KENTWOOD         MI    49512‐1830
SANCHEZ, TERESA
SANCHEZ, THERESA          8119 LOGAN ST                                                                                 DETROIT          MI 48209‐1941
SANCHEZ, THOMAS           1411 LANCE WAY                                                                                AUSTIN           TX 78758‐3729
SANCHEZ, THOMAS E         116 E CONSTANCE AVE                                                                           SANTA BARBARA    CA 93105‐3516
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Name                            Address1                          Address2                      Address3   Address4         City                 State Zip
SANCHEZ, THOMAS F               6567 SAN ALANO CIR                                                                          BUENA PARK            CA 90620‐3735
SANCHEZ, TIM R                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                                  STREET, SUITE 600
SANCHEZ, TONY                   3379 US HIGHWAY 31 N                                                                        KEWADIN              MI   49648‐9786
SANCHEZ, TONY A                 5313 ELIZABETH ST APT 7                                                                     CUDAHY               CA   90201‐5376
SANCHEZ, TONY A                 9412 CLAYMORE ST                                                                            PICO RIVERA          CA   90660‐5502
SANCHEZ, TRINI V                733 DOUGLAS DR                                                                              SAN LEANDRO          CA   94577‐1416
SANCHEZ, VICTOR                 14201 HOBBY LN                    APT 16209                                                 FORT WORTH           TX   76104‐3576
SANCHEZ, VICTOR                 2707 COLE AVE APT 315                                                                       DALLAS               TX   75204‐1047
SANCHEZ, VICTORIA I.            3605 W. WACKERLY ST.                                                                        MIDLAND              MI   48640
SANCHEZ, VINCE A                C/O DEA 721 19TH ST SUITE 316                                                               DENVER               CO   80202
SANCHEZ, VIRGINIA M             D8 BRADLEY CIR                                                                              ENFIELD              CT   06082‐3832
SANCHEZ, WALBERTO               PO BOX 331143                                                                               PACOIMA              CA   91333‐1143
SANCHEZ, WANDA C.               326 BOBCAT TRAIL                                                                            LEO                  IN   46765
SANCHEZ, YADIRA A
SANCHEZ, YVONNE                 1202 SOMERSET CT                                                                            JANESVILLE           WI 53546‐1609
SANCHEZ, ZARAGOZA C             1531 WHIPPOORWILL DR                                                                        CHOCTAW              OK 73020‐7107
SANCHEZ, ZENAIDA
SANCHEZ,FRANCISCO               2259 HUGES AVE                                                                              BRONX                NY   10457
SANCHEZ‐BRASHER, MINERVA M      7330 S 500 W                                                                                WARREN               IN   46792‐9760
SANCHEZ‐MEAD, DORA ANN          17376 CATALPA DR                                                                            LATHRUP VILLAGE      MI   48076‐3549
SANCHIOLI, DAVID A              43 RIDGE RD                                                                                 NEW FAIRFIELD        CT   06812
SANCHO, DENNIS J                2080 BROOKFIELD ST                                                                          CANTON               MI   48188‐1817
SANCHO, DENNIS JAMES            2080 BROOKFIELD ST                                                                          CANTON               MI   48188‐1817
SANCHO, MARK R                  4395 N US HIGHWAY 23                                                                        BLACK RIVER          MI   48721
SANCKEN AUTOMOTIVE INC.         609 W CENTER ST                                                                             EUREKA               IL   61530‐1113
SANCKEN AUTOMOTIVE INC.         609 W CENTER ST                                                                             EUREKA               IL   61530‐1113
SANCLEMENTE, ALVIN F            37562 CHARTER OAKS BLVD                                                                     CLINTON TWP          MI   48036‐2422
SANCRO INTERNATIONAL INC        16000 CANARY AVE                                                                            LA MIRADA            CA   90630‐5507
SANCRO INTERNATIONAL INC.       16000 CANARY AVE                                                                            LA MIRADA            CA   90638‐5507
SANCTUARY CHURCH                ATTN: GEORGE MARTIN JR            955 OLIVER AVE                                            INDIANAPOLIS         IN   46221‐1228
SANCTUM                         65 E HURON ST                                                                               PONTIAC              MI   48342‐2204
SANCYA, DIANA L                 1057 YORKSHIRE RD                                                                           GROSSE POINTE PARK   MI   48230‐1449
SAND DOLLAR AUTOPLEX            PO BOX 1280                                                                                 GALVESTON            TX   77553‐1280
SAND MAN PRODUCTS               PO BOX 205                        28359 GLENVIEW DR                                         OSCEOLA              IN   46561‐0205
SAND VERN                       PO BOX 637                                                                                  FAIRFIELD            MT   59436‐0637
SAND Z TOOL & DIE COMPANY INC
SAND, ANNALISA                  STANLEY MARTIN LAW OFFICE OF      137 BAY ST UNIT 2                                         SANTA MONICA         CA   90405‐1026
SAND, CHARLES L                 8280 SE PAUROTIS LN                                                                         HOBE SOUND           FL   33455‐8251
SAND, DARREL R                  PO BOX 244                        4777 OTTAWA DR                                            OKEMOS               MI   48805‐0244
SAND, DEWAYNE K                 6741 VISTA DEL LAGO AVE                                                                     LAND O LAKES         FL   34637‐7800
SAND, EDWARD A                  101 EL PORTON                                                                               LOS GATOS            CA   95032‐1125
SAND, EDWARD P                  1517 IVY AVE                                                                                CRETE                NE   68333‐1634
SAND, JAMES                     BRAYTON PURCELL                   PO BOX 6169                                               NOVATO               CA   94948‐6169
SAND, JOSEPH T                  7411 HOLLOWAY DR                                                                            DAVISON              MI   48423‐9315
SAND, ROGER J                   27983 MILTON AVE                                                                            WARREN               MI   48092‐4548
SAND, WAYNE E                   2815 NW PINE AVE LOT 50                                                                     OCALA                FL   34475‐2662
SANDACZ, MARY R                 42948 RICHARDS CT.                                                                          NORTHVILLE           MI   48167‐1937
SANDAGE, CLARITA J              515 C4 LOCUST ST                                                                            LOCKPORT             NY   14094
SANDAGE, CLARITA J              529 DAVISON RD                                                                              LOCKPORT             NY   14094‐5351
SANDAGE, GINGER                 500 E CLINTON ST                                                                            FRANKFORT            IN   46041
SANDAGE, IRENE                  6547 HIGHWAY 51                                                                             DONALDSON            AR   71941‐9662
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Name                       Address1                          Address2                     Address3   Address4         City               State Zip
SANDAGE, WILLIAM I         500 E CLINTON ST                                                                           FRANKFORT           IN 46041‐2007
SANDAHL, DOUGLAS           21 ACR 1031                                                                                GREER               AZ 85927‐9722
SANDAHL, DOUGLAS CHARLES
SANDAHL, JOANNE A          6836 EWING AVE N                                                                           MINNEAPOLIS        MN   55429‐1882
SANDALAN ARMSTRONG         15700 HAGGERTY RD                                                                          BELLEVILLE         MI   48111‐6003
SANDALIO GARCIA            1754 WINFIELD ST                                                                           RAHWAY             NJ   07065‐3541
SANDARA GIBBS              125 LEE DR                                                                                 SHARPSVILLE        IN   46068‐9307
SANDAY ISAAC               1488 2ND AVE APT 2F                                                                        NEW YORK           NY   10075
SANDAY JR., DONALDSON H    1851 MULLET AVE                                                                            SAINT HELEN        MI   48656‐9797
SANDAY, MARGARET M         4825 KEMPF ST                                                                              WATERFORD          MI   48329‐1812
SANDAY, STEPHEN D          203 CEDARHURST DRIVE                                                                       CANTON             GA   30115‐6443
SANDBANK, VIRGINIA         331 COLONIAL LANE                                                                          ALOGONAC           MI   48001‐1110
SANDBECK, ROBERT A         PO BOX 320                                                                                 METUCHEN           NJ   08840‐0320
SANDBEK DALE (478865)      ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                               BALTIMORE          MD   21202
                                                             CHARLES CENTER 22ND FLOOR
SANDBEK, DALE              ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                BALTIMORE          MD 21202
                                                             CHARLES CENTER 22ND FLOOR
SANDBERG ANN               3710 NORTHWINDS DR 914                                                                     NAPLES             FL   34112
SANDBERG GOREN             4093 NORTHLIGHT DR                                                                         NAPLES             FL   34112‐5016
SANDBERG, BARBARA A        34468B GLENN                                                                               WESTLAND           MI   48186
SANDBERG, BARBARA B        2285 WHISPERING MEADOWS                                                                    WARREN             OH   44483‐3674
SANDBERG, BRIAN D          1562 AUSTIN AVE                                                                            LINCOLN PARK       MI   48146‐2102
SANDBERG, DOLORES MARIA    APT 310                           28126 PEACOCK RIDGE DRIVE                                RCH PALOS VRD      CA   90275‐7106
SANDBERG, EDWIN SHANE      MAINOR & HARRIS                   530 S 6TH ST                                             LAS VEGAS          NV   89101‐6918
SANDBERG, EVA E            43403 VIVIAN DR                                                                            STERLING HEIGHTS   MI   48313‐1759
SANDBERG, GERALD N         2928 GRAYBURN ST                                                                           POMONA             CA   91767‐1822
SANDBERG, OSCAR
SANDBERG, RICHARD D        104 HILLCREST DR                                                                           PAOLA              KS   66071‐1124
SANDBERG, RICHARD L        21640 W 220TH ST                                                                           SPRING HILL        KS   66083‐4001
SANDBERG, RICHARD LEE      21640 W 220TH ST                                                                           SPRING HILL        KS   66083‐4001
SANDBERG, ROBERT W         66 MESQUITE                                                                                TRABUCO CANYON     CA   92679‐5349
SANDBERG, SCOTT L          589 N 1200 E                                                                               AMERICAN FORK      UT   84003‐1439
SANDBERG, SHEILA
SANDBERG, SHIRLEY C        PO BOX 296                                                                                 BOUSE              AZ   85325‐0296
SANDBERG, STEPHEN S        7420 VILLAGE DR                                                                            PRAIRIE VILLAGE    KS   66208‐2860
SANDBERG, VIRGINIA D       421 GARDEN VALLEY DRIVE                                                                    YOUNGSTOWN         OH   44512‐6505
SANDBLOM, ADELE S          APT 445                           1285 LUTHER LANE                                         ARLINGTON HTS      IL   60004‐8197
SANDBORN JR., DANIEL R     6732 CLARKSVILLE RD                                                                        PORTLAND           MI   48875‐9770
SANDBORN, BRADLEY L        11585 FROST RD                                                                             PORTLAND           MI   48875‐9448
SANDBORN, CHARLES L        2223 PORTLAND RD                                                                           PORTLAND           MI   48875‐9726
SANDBORN, DANIEL R         9897 NELSON RD                                                                             PORTLAND           MI   48875‐9772
SANDBORN, EDWIN G          6519 MUSGROVE HWY                                                                          SUNFIELD           MI   48890‐9024
SANDBORN, JEFFREY L        8412 RIVERBEND DR                                                                          PORTLAND           MI   48875‐1750
SANDBORN, LOREN E          1324 BERTEN ST                                                                             LANSING            MI   48910
SANDBORN, MARVIN L         1478 SHEPARD ST                                                                            CRYSTAL            MI   48818‐9776
SANDBORN, MARY M           13680 DECLARATION CT 75                                                                    EAGLE              MI   48822
SANDBORN, MARY M           56 PLEASANT CIR                                                                            PLANT CITY         FL   33565‐8716
SANDBORN, RICHARD C        3653 E GRAND RIVER AVE                                                                     PORTLAND           MI   48875‐8612
SANDBORN, ROBERT A         426 RENKER RD                                                                              LANSING            MI   48917‐2882
SANDBORN, ROBERT A.        426 RENKER RD                                                                              LANSING            MI   48917‐2882
SANDBORN, WILLIAM H        2388 E BIPPLEY RD RT 2 BX 303                                                              LAKE ODESSA        MI   48849
SANDBOTHE KENNETH          5900 SHADE TREE LN                                                                         JEFFERSON CITY     MO   65101‐8974
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Name                          Address1                          Address2                Address3                  Address4              City               State Zip
SANDBOX STUDIO INC            5980 ELMRIDGE DR                                                                                          STERLING HEIGHTS    MI 48313‐3709
SANDBROOK, MARION M           301 E. MT. HOPE                                                                                           LANSING             MI 48910‐9134
SANDBROOK, MARION M           301 E MOUNT HOPE AVE                                                                                      LANSING             MI 48910‐9134
SANDCASTLES                   ATTN: PEGGY NEILSEN               1 FORD PL                                                               DETROIT             MI 48202‐3450
SANDCO AUTOMOTIVE LIMITED     PO BOX 170                                                                          WATERDOWN CANADA ON
                                                                                                                  L0R 2H0 CANADA
SANDE MACALUSO‐CONSTABLE      ACCT OF JON T BEVERIDGE           PO BOX 67164                                                            ROCHESTER          NY   14617‐7164
SANDE MACALUSO‐MARSHAL        ACCT OF ROY H HAFNER              PO BOX 67164                                                            ROCHESTER          NY   14617‐7164
SANDE, LOUIS A                212 HARRINGTON DR                                                                                         TROY               MI   48098‐3026
SANDE, MAREN C                2276 PARKWOOD AVE                                                                                         ANN ARBOR          MI   48104‐5135
SANDEEN, LOUISE               26601 COOLIDGE HWY                C/O GUARDIAN CARE INC                                                   OAK PARK           MI   48237‐1135
SANDEEN, LOUISE               C/O GUARDIAN CARE INC             26601 COOLIDGE HWY                                                      OAK PARK           MI   48237
SANDEEN, THOMAS G             14320 LEONARD AVE                                                                                         WARREN             MI   48089‐5468
SANDEEP BAJAJ                 1617 ARCADIAN DR                                                                                          ROCHESTER HILLS    MI   48307‐3586
SANDEEP KUMAR                 PO BOX 9022                       C/O PUNE INDIA                                                          WARREN             MI   48090‐9022
SANDEEP MENON                 45217 DEEPWOOD CT                                                                                         SHELBY TOWNSHIP    MI   48317‐4983
SANDEEP MENON
SANDEEP NANDA                 QATAR INSURANCE COMPANY           PO BOX 666              TAMIN STREET , WEST BAY                         DOHA
SANDEEP SHAH                  3748 S CLAYBRIDGE DR                                                                                      BLOOMINGTON        IN   47401‐8565
SANDEFER, DOROTHY J           1717 PEBBLE BEACH LN                                                                                      LADY LAKE          FL   32159‐6215
SANDEFUR JR, DOYLE L          582 HOMEDALE ST                                                                                           SAGINAW            MI   48604‐2345
SANDEFUR JR, DOYLE LEE        582 HOMEDALE ST                                                                                           SAGINAW            MI   48604‐2345
SANDEFUR JR., GEORGE S        5553 LEWIS AVE APT 43                                                                                     TOLEDO             OH   43612‐4911
SANDEFUR JR., GEORGE SILLIS   5553 LEWIS AVE APT 43                                                                                     TOLEDO             OH   43612‐4911
SANDEFUR, AUSTIN R            295 SOUTHERN LN                                                                                           TAZEWELL           TN   37879‐5224
SANDEFUR, D SCOTT             2920 BIRNAM COURT                                                                                         OAKLAND TWP        MI   48306‐4904
SANDEFUR, MEDIA               147 SANDEFUR LANE                                                                                         TAZEWELL           TN   37879‐6705
SANDEFUR, MEDIA               147 SANDEFUR LN                                                                                           TAZEWELL           TN   37879‐6705
SANDEFUR, PAUL M              1572 E US 36                                                                                              MARKLEVILLE        IN   46056
SANDEFUR, PHYLLIS L           1572 E. US 36                                                                                             MARKLEVILLE        IN   46056
SANDEFUR, RAYMOND K           PO BOX 72                                                                                                 MARKLEVILLE        IN   46056‐0072
SANDEFUR, ROBERT M            221 WESTWOOD DR.                                                                                          BEDFORD            IN   47421‐3937
SANDEFUR, SALLY L             1184 W BROADWAY ST                                                                                        ALEXANDRIA         IN   46001‐8158
SANDEFUR, SHEILA K            751 EMERSON AVE                                                                                           PONTIAC            MI   48340‐3222
SANDEFUR, STANLEY R           4624 W 300 S                                                                                              ANDERSON           IN   46011‐9430
SANDEL, BEATRICE M            1515 LARA WAY LAKE RD.                                                                                    GRAND RAPIDS       MI   49546
SANDEL, BEATRICE M            1515 LARAWAY LAKE DR SE                                                                                   GRAND RAPIDS       MI   49546‐6632
SANDEL, GERARD J              34812 TYLER DR                                                                                            STERLING HTS       MI   48310‐5666
SANDEL, LEWIE FREDERICK       SHANNON LAW FIRM                  100 W GALLATIN ST                                                       HAZLEHURST         MS   39083‐3007
SANDEL, RONALD F              7275 W BATTLE RD                                                                                          LAKE               MI   48632‐9666
SANDEL, RUDOLPH A             SHANNON LAW FIRM                  100 W GALLATIN ST                                                       HAZLEHURST         MS   39083‐3007
SANDEL, TILLIE                7565 KICE                                                                                                 PINCKNEY           MI   48169
SANDEL, TILLIE                833 E GRAND RIVER AVE APT 28                                                                              BRIGHTON           MI   48116‐2415
SANDEL, WARREN L              1815 SATINWOOD DR                                                                                         MANSFIELD          OH   44903‐7592
SANDELIN, ERIC C              14275 WHITE OAKS DR                                                                                       LANSING            MI   48906‐1052
SANDELIN, PAMELA F            6144 BRIGGS LAKE DR                                                                                       BRIGHTON           MI   48116‐9563
SANDELL, DIANNE               305 S PRAIRIE AVE APT C                                                                                   POLO               IL   61064‐1952
SANDELL, DIANNE               305 S PRAIRIE AVE                 APT C                                                                   POLO               IL   61064‐1952
SANDELL, PHILIP E             39720 CLEARVIEW ST                                                                                        HARRISON TWP       MI   48045‐1831
SANDELL, ROGER L              15 HINGHAM CIR                                                                                            MENDOTA HEIGHTS    MN   55118‐1922
SANDELL, SHAYNE M             13588 FOREST HILL RD                                                                                      GRAND LEDGE        MI   48837‐9292
SANDELLA, MIKE                4735 CEDAR AVE                                                                                            KANSAS CITY        MO   64133‐1824
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Name                                 Address1                           Address2                           Address3                   Address4                  City               State Zip
SANDELMAN SUSAN TRUSTEE              ALISAN TRUST & DIAJEFF TRUST       C\O KIN PROPERTIES INC             185 SPANISH RIVER BLVD BOX                           BOCA RATON          FL 33431
                                                                                                           500
SANDEM INDUSTRIES                    10 PARK PLACE                                                                                                              BUTLER             NJ   07405
SANDEM INDUSTRIES                    DON DANAIO                         10 PARK PLACE                                                                           CHICAGO            IL   60624
SANDEM INDUSTRIES INC                DON DANAIO                         10 PARK PLACE                                                                           CHICAGO            IL   60624
SANDEM INDUSTRIES INC                PO BOX 89                                                                                                                  BUTLER             NJ   07405
SANDEN CORP                          601 SANDEN BLVD                                                                                                            WYLIE              TX   75098‐4923
SANDEN CORP                          CROCKFORD LN HAMPSHIRE INTERNATION BUSINESS PK                                                   BASINGSTOKE HAMPSHIRE
                                                                                                                                      GB RG24 8WH GREAT
                                                                                                                                      BRITAIN
SANDEN CORP                          ERIC MCKEON                        350 YATTAJIMAMACHI                                                                      MINERVA            OH 44657
SANDEN CORP                          LE QUILLIOU                                                                                      TINTENIAC 35190 FRANCE
SANDEN CORP                          MARK SWANSON                       601 S. SANDEN BLVD.                                                                     OSHKOSH            WI 54903
SANDEN CORP                          20 KOTOBUKI‐CHO                                                                                  ISESAKI, GU 372‐0 JAPAN
SANDEN CORP                          350 YATTAJIMAMACHI                                                                               ISESAKI GUNMA JP 372‐
                                                                                                                                      8558 JAPAN
SANDEN CORP.                         ERIC MCKEON                        350 YATTAJIMAMACHI                                                                      MINERVA            OH 44657
SANDEN INTERNATIONAL (EUROPE) LTD    CROCKFORD LN HAMPSHIRE INTERNATION BUSINESS PK                                                   BASINGSTOKE HAMPSHIRE
                                                                                                                                      GB RG24 8WH GREAT
                                                                                                                                      BRITAIN
SANDEN INTERNATIONAL (USA) INC       MARK SWANSON                       601 S. SANDEN BLVD.                                                                     OSHKOSH            WI   54903
SANDEN INTERNATIONAL (USA) IND       601 SANDEN BLVD                                                                                                            WYLIE              TX   75098‐4999
SANDEN INTERNATIONAL (USA) IND.      47772 HALYARD DR                                                                                                           PLYMOUTH           MI   48170‐2454
SANDEN INTERNATIONAL USA INC         601 SANDEN BLVD                                                                                                            WYLIE              TX   75098‐4923
SANDEN MANUFACTURING EUROPE          LE QUILLIOU                                                                                      TINTENIAC FR 35190
                                                                                                                                      FRANCE
SANDEN MELBA ESTATE OF               10015 W ROYAL OAK RD APT 344                                                                                               SUN CITY           AZ   85351‐6100
SANDEN, JOANNE K                     109 N FOOTHILL DR                                                                                                          PAYSON             AZ   85541‐4211
SANDEN/JAPAN                         350 YATTAJIMAMACHI                                                                               ISESAKI GUNMA JP 372
                                                                                                                                      8558 JAPAN
SANDEN/WYLIE                         47772 HALYARD DR                                                                                                           PLYMOUTH           MI 48170‐2454
SANDER DANIEL                        STARENWEG 15                                                                                     85356 FREISING GERMANY
SANDER FLETCHER                      7929 BERMEJO RD                                                                                                            FORT WORTH         TX 76112‐6144
SANDER OLDSMOBILE‐BUICK‐GMC TRUCK,   GEORGE MILLER                      620 LITTLE GAP RD                                                                       PALMERTON          PA 18071‐5016
INC.
SANDER, ALBERTA                      362 BRIARWOOD LN                                                                                                           AVISTON            IL   62216
SANDER, BRENDA J                     9746 CHERRY AVE                                                                                                            RAPID CITY         MI   49676‐9617
SANDER, DAVID L                      5413 AMBER DR                                                                                                              EAST LANSING       MI   48823‐3802
SANDER, EDWARD G                     16027 RIVERPOINTE DR                                                                                                       CHARLOTTE          NC   28278
SANDER, HORST S                      65 ASPINWOOD PL                                                                                                            KENMORE            NY   14223‐1515
SANDER, JAMES G                      501 SHADY LN                                                                                                               OSSIAN             IN   46777‐9312
SANDER, JAMES GALE                   501 SHADY LN                                                                                                               OSSIAN             IN   46777‐9312
SANDER, JOHN D                       1426 OAKWOOD TRL                                                                                                           INDIANAPOLIS       IN   46260‐4073
SANDER, JOHN E                       420 SHOREWOOD LN                                                                                                           NEW SMYRNA BEACH   FL   32168‐8384
SANDER, JOSEPH P                     PO BOX 354565                                                                                                              PALM COAST         FL   32135‐4565
SANDER, JOYCE
SANDER, JULIE A                      658 GLENEAGLES                                                                                                             HIGHLAND           MI 48357‐4778
SANDER, LEO T                        5330 BROOKSIDE DR                                                                                                          SHELBY TOWNSHIP    MI 48316‐3129
SANDER, THOMAS G                     MORRIS CANTOR BARNES GOODMAN &     1000 LIBERTY BUILDING , 420 MAIN                                                        BUFFALO            NY 14202
                                     FURLONG                            STREET
SANDERFER, GREGORY K                 1889 LES ROBINSON RD                                                                                                       COLUMBIA           TN 38401‐1329
SANDERFER, MARY LA VENIA             6146 SUN VALLEY DR                                                                                                         GRAND BLANC        MI 48439‐9167
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Name                                   Address1                         Address2                           Address3               Address4               City           State Zip
SANDERFORD JAMES K                     SANDERFORD, JAMES K
SANDERFORD, CM                         12506 TRENTON DR                 PO BOX 192321                                                                    DALLAS          TX 75243‐2313
SANDERFORD, JAMES K                    TOLL LAW OFFICE OF ALAN E        1410 COMMONWEALTH DR STE 205                                                     WILMINGTON      NC 28403‐0314

SANDERLIN JERRY L (494172)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK         VA 23510
                                                                        STREET, SUITE 600
SANDERLIN, FRANK B                     915 SPRING GIRGEN RD                                                                                              PORT NORRIS     NJ 08349
SANDERLIN, JERRY L                     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK         VA 23510
                                                                        STREET, SUITE 600
SANDERS & PARKS , PC                   MARK R. GILLING                  1300 SCF TOWERS, 3030 N. 3RD ST.                                                 PHOENIX         AR 85012

SANDERS AMY MARIE                      SANDERS, AMY MARIE               PO BOX 18561                                                                     SHREVEPORT     LA    71138‐1561
SANDERS AUGUST                         PO BOX 5416                                                                                                       FLINT          MI    48505‐0416
SANDERS AUGUST JR                      1316 E CASS AVE                                                                                                   FLINT          MI    48505‐1745
SANDERS AUSTIN CECIL (492148)          BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                    NORTHFIELD     OH    44067
                                                                        PROFESSIONAL BLDG
SANDERS AUTOMOTIVE                     4329 HIGHWAY 24                                                                                                   ANDERSON       SC 29626‐5213
SANDERS BOBBY L                        SANDERS, BOBBY L                 1930 E MARLTON PIKE SUITE Q29                                                    CHERRY HILL    NJ 08003
SANDERS BRENTON (ESTATE OF) (489221)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                    NORTHFIELD     OH 44067
                                                                        PROFESSIONAL BLDG
SANDERS CATHERINE MAE                  C/O EDWARD O MOODY P A           801 WEST 4TH ST                                                                  LITTLE ROCK     AR   72201
SANDERS CAUDILL, PANSY L               2384 HWY 81 S                                                                                                     JONESBOROUGH    TN   37659‐6139
SANDERS CHARLES                        487 BETTY BOYD LN                                                                                                 ATOKA           TN   38004‐7163
SANDERS CLARENCE                       LYNNE KIZIS, ESQ                 WILENTZ, GOLDMAN, AND SPITZER      90 WOODBRIDGE CENTER                          WOODBRIDGE      NJ   07095
                                                                                                           DRIVE
SANDERS CLARENCE (ESTATE OF) (641338) WILENTZ GOLDMAN & SPITZER         PO BOX 10                                                                        WOODBRIDGE      NJ   07095‐0958

SANDERS CONSTRUCTION SERVICES          20331 LAKE FOREST DR STE C2                                                                                       LAKE FOREST     CA 92630‐8105
SANDERS DAVID                          SANDERS, DAVID
SANDERS DAVID & MYRNA                  11 KAINE TER                                                                                                      ALBANY          NY 12208‐1215
SANDERS DEAN                           76 WHITFIELD ST                                                                                                   PONTIAC         MI 48342‐1472
SANDERS DENA                           7801 BENT TREE DR                                                                                                 AMARILLO        TX 79121‐1929
SANDERS DORIS                          SUEDER HOOKER 30                                                                           26506 NORDEN GERMANY
SANDERS DOROTHY                        1377 JEFFERSON ST                                                                                                 HASTINGS       MN 55033‐1600
SANDERS EARLENE                        C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                                              LITTLE ROCK    AR 72201
SANDERS EDGAR C (511760)               ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                                       BALTIMORE      MD 21202
                                                                        CHARLES CENTER 22ND FLOOR
SANDERS EDWARD                         615 SUFFOLK AVE                                                                                                   WESTCHESTER    IL 60154‐2736
SANDERS ELIZABETH (491302)             BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                    NORTHFIELD     OH 44067
                                                                        PROFESSIONAL BLDG
SANDERS ERIC C                      SANDERS, ERIC C                     RILEY LAW OFFICES OF DARBY         320 LEXINGTON AVE                             SAN ANTONIO     TX   78215
SANDERS ERIC C                      SANDERS, ERIC C
SANDERS ERNEST L/NORMA JEAN SANDERS ICO THE LAMER LAW FIRM PC           6810 FM 1960 WEST                                                                HOUSTON         TX   77069

SANDERS GARY F                         SANDERS, GARY F                  30 E BUTLER AVE                                                                  AMBLER          PA   19002‐4514
SANDERS GENEEKA                        SANDERS, GENEEKA                 1442 SOUTH CENTRAL AVE                                                           CICERO          IL   60804
SANDERS HENRY                          21188 DARTMOUTH DR                                                                                                SOUTHFIELD      MI   48076‐3126
SANDERS I V, JOHN A                    2710 CLAIREISA CT                                                                                                 ARLINGTON       TX   76015‐1357
SANDERS II, TROY T                     166 SWAN LAKE DR                                                                                                  STOCKBRIDGE     GA   30281‐6107
SANDERS II, TROY T.                    166 SWAN LAKE DR                                                                                                  STOCKBRIDGE     GA   30281‐6107
SANDERS III, EDWIN P                   937 E HURON RIVER DR                                                                                              BELLEVILLE      MI   48111‐2873
SANDERS III, EDWIN PAUL                937 E HURON RIVER DR                                                                                              BELLEVILLE      MI   48111‐2873
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Name                            Address1                         Address2                        Address3   Address4         City                  State Zip
SANDERS IV, JOHN A              2710 CLAIREISA CT                                                                            ARLINGTON              TX 76015‐1357
SANDERS JAMES (346106)          ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                  BALTIMORE              MD 21202
                                                                 CHARLES CENTER 22ND FLOOR
SANDERS JAMES (506872)          (NO OPPOSING COUNSEL)
SANDERS JAMES E (460166)        DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                             NORTH OLMSTED         OH 44070
SANDERS JERRY (459311)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA 23510
                                                                 STREET, SUITE 600
SANDERS JOHN                    710 VINTAGE DR                                                                               FLORENCE              SC 29501‐7387
SANDERS JOHN                    5111 CHILLUM PL NE                                                                           WASHINGTON            DC 20011‐6415
SANDERS JOHN & CONSUMER LEGAL   649 N YORK ST                                                                                ELMHURST              IL 60126‐1604
SERVICES PC
SANDERS JOHN (468744)           KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                               CLEVELAND             OH 44114
                                                                 BOND COURT BUILDING
SANDERS JOHN (645116)           BRAYTON PURCELL                  PO BOX 6169                                                 NOVATO                CA   94948‐6169
SANDERS JOS A & SONS INC        PO BOX 814                                                                                   BUFFALO               NY   14240‐0814
SANDERS JR, ALLISON             PO BOX 13052                                                                                 TOLEDO                OH   43613‐0052
SANDERS JR, AMOS                19194 BIRWOOD ST                                                                             DETROIT               MI   48221‐3208
SANDERS JR, ANDRES              16180 N PARK DR                  APT 202                                                     SOUTHFIELD            MI   48075
SANDERS JR, CHARLES             6098 HILTON LN                                                                               MOUNT MORRIS          MI   48458‐2626
SANDERS JR, CLINTON L           924 SPEARS DR                                                                                ELGIN                 SC   29045‐8295
SANDERS JR, EARL F              433 DALE ST                                                                                  FLUSHING              MI   48433‐1451
SANDERS JR, EARNEST             4363 SPRING MEADOWS CT                                                                       BURTON                MI   48519‐1199
SANDERS JR, ED                  10234 TRESOR CT                                                                              LAS VEGAS             NV   89135‐3270
SANDERS JR, ED                  10234 TRESOR COURT                                                                           LAS VEGAS             NV   89135‐3270
SANDERS JR, EDWIN P             8020 KENSINGTON BLVD APT 107                                                                 DAVISON               MI   48423‐2983
SANDERS JR, ELMER C             16 ISLAND POND RD                                                                            CUMBERLAND FORESIDE   ME   04110‐1423
SANDERS JR, HENRY               21188 DARTMOUTH DR                                                                           SOUTHFIELD            MI   48076‐3126
SANDERS JR, HENRY H             1317 SUNNYSHORE DR                                                                           GLADWIN               MI   48624‐8362
SANDERS JR, HORACE J            6028 HIGHLAND ROAD                                                                           CLEVELAND             OH   44143‐2014
SANDERS JR, HOWARD              5107 KILLIAN CT                                                                              FLINT                 MI   48504‐1230
SANDERS JR, JAMES               512 DAYTONA PKWY APT 6                                                                       DAYTON                OH   45406‐2021
SANDERS JR, JAMES D             23449 RANCH HILL DR W                                                                        SOUTHFIELD            MI   48033‐3187
SANDERS JR, JD                  3142 BROADWAY ST                                                                             INDIANAPOLIS          IN   46205‐3952
SANDERS JR, JIMMIE L            11971 JUNIPER WAY APT 312                                                                    GRAND BLANC           MI   48439‐2140
SANDERS JR, JOSEPH H            10608 NASSAU ST                                                                              INDIANAPOLIS          IN   46234‐3183
SANDERS JR, JOSEPH L            7043 S SHORE DR S                                                                            SOUTH PASADENA        FL   33707‐4604
SANDERS JR, LEROY               1262 PINEHURST DR                                                                            DEFIANCE              OH   43512‐9151
SANDERS JR, LLOYD H             6333 TUXEDO ST                                                                               DETROIT               MI   48204‐1236
SANDERS JR, LOUIS               1926 ROCK SPRINGS RD                                                                         COLUMBIA              TN   38401‐7420
SANDERS JR, OLIVER              13935 METTETAL ST                                                                            DETROIT               MI   48227‐1746
SANDERS JR, ROBERT              527 DARTMOUTH AVE                                                                            BUFFALO               NY   14215‐1227
SANDERS JR, RONALD D            406 HANCOCK ST                                                                               PITTSBURGH            PA   15219‐3746
SANDERS JR, SAMUEL              PO BOX 483                                                                                   MOUNT MORRIS          MI   48458‐0483
SANDERS JR, WILLIAM             10414 W STATE ROAD 28                                                                        RIDGEVILLE            IN   47380‐9330
SANDERS JR, WILLIE              1320 LYNHAVEN PL                                                                             SAINT LOUIS           MO   63147‐1517
SANDERS MARILYN                 147 JORDON DR                                                                                BRYAN                 OH   43506‐2467
SANDERS MARY                    SANDERS, MARY                    721 BRASSFIELD RD                                           PONOTOC               MS   38863
SANDERS MAYNARD (468745)        KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                               CLEVELAND             OH   44114
                                                                 BOND COURT BUILDING
SANDERS MCCLURE                 7107 TREVERTON DR                                                                            FORT WAYNE            IN 46816‐2243
SANDERS MICHAEL                 SANDERS, MICHAEL                 212 CENTER ST STE 600                                       LITTLE ROCK           AR 72201‐2437
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Name                            Address1                        Address2                        Address3   Address4         City               State Zip
SANDERS MICHAEL E (660945)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                                STREET, SUITE 600
SANDERS MIRIAM                  301 BIG OAK DR                                                                              SHEPHERDSTOWN      WV 25443‐4598
SANDERS MORGAN JR               516 UNIVERSITY ST                                                                           FERNDALE           MI 48220‐2862
SANDERS PHILLIP L SR (472157)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                STREET, SUITE 600
SANDERS RAMONA                  504 N WALCO RD                                                                              MALVERN            AR 72104‐3069
SANDERS RENEA                   205 COUNTY ROAD 1038                                                                        CENTER             TX 75935‐6405
SANDERS RICHARD SR (447486)     BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                                PROFESSIONAL BLDG
SANDERS ROBERTA R               5075 PRATT RD                                                                               METAMORA           MI 48455‐9634
SANDERS ROSE MARIE              C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                         LITTLE ROCK        AR 72201
SANDERS S BARNES                555 W. RAILROAD ST.             APT 102                                                     STANTON            KY 40380‐3026
SANDERS SANDY                   SANDERS, SANDY
SANDERS SEBASTIAN               739 JIMAE DR                                                                                INDEPENDENCE       KY   41051‐9314
SANDERS SR, EARNEST             4825 IROQUOIS ST                                                                            DETROIT            MI   48214‐4506
SANDERS SR, ROBERT M            1205 COUNTY RD. 64                                                                          MOUNDVILLE         AL   35474‐2921
SANDERS SR, ROBERT M            1205 COUNTY ROAD 64                                                                         MOUNDVILLE         AL   35474‐2921
SANDERS SR, WILLIAM L           803 PALOMINO CT                                                                             SIMPSONVILLE       SC   29681‐6602
SANDERS SR, WILLIAM L           803 PALOMINO COURT                                                                          SIMPSONVILLE       SC   29681‐9681
SANDERS STEPHEN (491303)        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH   44067
                                                                PROFESSIONAL BLDG
SANDERS STEVE                   506 COLVILLE WAY                                                                            LA CONNER          WA   98257‐9521
SANDERS TERRY (667184)          BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                 WILMINGTON         DE   19899‐2165
SANDERS TZENA                   SANDERS, TZENA                  1216 GINSBERG DRIVE                                         DAYTONA BEACH      FL   32114
SANDERS VIRGINIA                5202 JANE LN                                                                                AYNOR              SC   29511‐3981
SANDERS WANDA                   SANDERS, WANDA                  610 CLAY STREET                                             MARION             AL   36756
SANDERS WATSON & WHITE          620 LAW & COMMERCE BLDG                                                                     BLUEFIELD          WV   24701
SANDERS WAYNE                   SANDERS, WAYNE                  377 FM 2149 E                                               NEW BOSTON         TX   75570‐7206
SANDERS WILLIAM                 1589 S IVY ST APT 228                                                                       CANBY              OR   97013‐4345
SANDERS WINGO                   221 N KANSAS ST FL 9                                                                                           TX   79901‐1432
SANDERS, A W                    61 CASON RD                                                                                 BRADFORD           TN   38316‐9785
SANDERS, AARON                  2045 AINSWORTH ST                                                                           FLINT              MI   48532‐3902
SANDERS, ADAM M                 1318 MORNINGSIDE DR                                                                         ANDERSON           IN   46011‐2456
SANDERS, ADAM M                 8099 TIPSICO TRL                                                                            HOLLY              MI   48442‐8986
SANDERS, ADAM M                 3021 E RIDGE CT                                                                             BLOOMFIELD HILLS   MI   48302‐1407
SANDERS, ALBERT                 294 RILEY ST                                                                                BUFFALO            NY   14208‐2003
SANDERS, ALFREADA H             25930 JUNCTION                                                                              NOVI               MI   48375‐1677
SANDERS, ALICIA E               1909 PLAZA CT                                                                               SAINT CHARLES      MO   63303‐2719
SANDERS, ALLAN G                5117 HOLLOW CORNERS RD                                                                      DRYDEN             MI   48428‐9723
SANDERS, ALLEN D                808 CLARK ST                                                                                KOKOMO             IN   46901‐6604
SANDERS, ALLEN R                7548 N LINDEN LN                                                                            PARMA              OH   44130‐5807
SANDERS, ALLISON                802 HAMPTON AVE                                                                             TOLEDO             OH   43609‐3075
SANDERS, ALMA L                 5026 E HOLLAND RD                                                                           SAGINAW            MI   48601‐9462
SANDERS, ALMOND L               6197 E MOUNT HOPE HWY                                                                       GRAND LEDGE        MI   48837‐9411
SANDERS, ALVENE A               15097 APPOLINE ST                                                                           DETROIT            MI   48227‐4041
SANDERS, ALVIN A                3402 AMBLESIDE DR                                                                           FLUSHING           MI   48433‐9775
SANDERS, AMY MARIE              GOWEN FRANCIS M JR              PO BOX 18561                                                SHREVEPORT         LA   71138‐1561
SANDERS, AMY MARIE
SANDERS, ANDRE L                26570 ISLEWORTH PT                                                                          SOUTHFIELD         MI 48034‐5667
SANDERS, ANDREA                 22 HOPE CIR                                                                                 WINDSOR            CT 06095‐3507
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Name                     Address1                         Address2                         Address3   Address4         City            State Zip
SANDERS, ANGELA          DEFEO LAW FIRM                   800 WEST 47TH STREET ‐ 630 PLAZA                             KANSAS CITY      MO 64112
                                                          CENTER BUILDING
SANDERS, ANGELA Y        2201 W 93RD APT 311                                                                           CLEVELAND       OH   44102‐3790
SANDERS, ANGELA YVETTE   2201 W 93RD ST APT 311                                                                        CLEVELAND       OH   44102‐3790
SANDERS, ANGIE H         3104 HOBART AVE                                                                               KETTERING       OH   45429‐3914
SANDERS, ANGIE Y         925 POWELL ST                                                                                 WASKOM          TX   75692‐9490
SANDERS, ANITA K         1176 TRUXELL DR                                                                               MANSFIELD       OH   44906‐1558
SANDERS, ANITA K         1176 TRUXEL DRIVE                                                                             MANSFIELD       OH   44906‐1558
SANDERS, ANNE M          2757 OWENS RD                    UNIT 3 ‐14                                                   HOUGHTON LAKE   MI   48629
SANDERS, ANNIE           20022 WASHBURN                                                                                DETROIT         MI   48221‐1020
SANDERS, ANNIE B         1664 OAK KNOLL S.E.                                                                           WARREN          OH   44484‐4955
SANDERS, ANNIE P         64 N EDITH ST                                                                                 PONTIAC         MI   48342‐2935
SANDERS, ANTHONY C       29048 POWERS ST                                                                               WESTLAND        MI   48186‐5142
SANDERS, ANTHONY E       4737 BELLINGHAM DR                                                                            INDIANAPOLIS    IN   46221‐3701
SANDERS, ANTHONY J       2535 MCAFEE RD                                                                                DECATUR         GA   30032
SANDERS, ARCHIE          LUCAS WASH PETWAY TUCKER &       2 CHASE CORPORATE DR STE 460                                 BIRMINGHAM      AL   35244‐7024
                         STEPHENS
SANDERS, ARLIN C         101 HEDLEY ST                                                                                 MEDINA          NY   14103‐1722
SANDERS, ARTHUR          1213 HOLTSLANDER ST                                                                           FLINT           MI   48505
SANDERS, ARTHUR          APT 12                           1293 SOUTH CORNELL AVENUE                                    FLINT           MI   48505‐1339
SANDERS, ARTHUR A        1523 STONEHAVEN DR                                                                            HOLT            MI   48842‐1994
SANDERS, ARTHUR L        6276 COLLEGEVUE PL                                                                            CINCINNATI      OH   45224‐1960
SANDERS, ARTHUR P        712 N DUKE AVE                                                                                CLOVIS          CA   93611‐0357
SANDERS, ARTIE L         6923 CLUSTER CLIFF                                                                            MIDDLETOWN      OH   45042
SANDERS, ASHLEIGH M      1011 ARLINGTON BLVD              APT 302                                                      ARLINGTON       VA   22209‐2243
SANDERS, AUDIE L         RR 1 BOX 211B                                                                                 STONEWALL       OK   74871‐9609
SANDERS, AUDIE L         ROUTE 1 BOX 211B                                                                              STONEWALL       OK   74871‐9612
SANDERS, AUSTIN CECIL    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                 NORTHFIELD      OH   44067
                                                          PROFESSIONAL BLDG
SANDERS, BARBARA A       1522 STATE ROUTE 230                                                                          DUNDEE          NY   14837‐9417
SANDERS, BARBARA C       6898 W GALWAY CIR                                                                             DIMONDALE       MI   48821‐9451
SANDERS, BARBARA J       6753 POINTE INVERNESS WAY                                                                     FORT WAYNE      IN   46804‐7911
SANDERS, BARBARA L       162 SPRINGDALE LN                                                                             BLOOMINGDALE    IL   60108‐3025
SANDERS, BARBARA R       1462 DUBLIN PL                                                                                UNION           KY   41091‐9617
SANDERS, BARRY D         3320 MORAN RD                                                                                 BIRCH RUN       MI   48415‐9092
SANDERS, BARRY L         2114 NW 10TH ST                                                                               BLANCHARD       OK   73010‐3149
SANDERS, BEATRICE        3310 POPLAR ST APT 12209                                                                      LAKE ORION      MI   48359‐1061
SANDERS, BELINDA
SANDERS, BENNY D         8521 COUNTY ROAD 1004                                                                         GODLEY          TX   76044‐3115
SANDERS, BERBENA         4256 HAYES                                                                                    WAYNE           MI   48184‐2222
SANDERS, BERBENA         4256 HAYES ST                                                                                 WAYNE           MI   48184‐2222
SANDERS, BERNICE         PO BOX 220666                                                                                 BOSTON          MA   02122‐0020
SANDERS, BERNICE         4950 N 47TH ST                                                                                MILWAUKEE       WI   53218
SANDERS, BERNICE M       1653 NOKOMIS AVE                                                                              DALLAS          TX   75224‐3739
SANDERS, BERTHA          PO BOX 35642                     C/O KAREN SANDERS                                            HOUSTON         TX   77235‐5642
SANDERS, BETTIE B        926 E BUNDY AVE                                                                               FLINT           MI   48505‐2290
SANDERS, BETTIE B        926 E. BUNDY                                                                                  FLINT           MI   48505
SANDERS, BETTIE M        19341 PLAINVIEW AVE                                                                           DETROIT         MI   48219‐2733
SANDERS, BETTY           7715 E 90TH TER                                                                               KANSAS CITY     MO   64138‐4020
SANDERS, BETTY           7715 EAST 90TH TERRACE                                                                        KANSAS CITY     MO   64138‐4020
SANDERS, BETTY A         4338 LAKE WALK CT                                                                             MISSOURI CITY   TX   77459‐3268
SANDERS, BETTY H         4741 E. 400S                                                                                  MIDDLETOWN      IN   47356
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Name                     Address1                        Address2                       Address3   Address4         City             State Zip
SANDERS, BETTY J         1011 SEARS ST                                                                              SAGINAW           MI 48601‐1051
SANDERS, BETTY J         PO BOX 11261                                                                               CONWAY            AR 72034‐0022
SANDERS, BETTY JEAN      2735 BALES AVE                                                                             KANSAS CITY       MO 64128‐1208
SANDERS, BETTY JEAN      2735 BALES                                                                                 KANSAS CITY       MO 64128‐1208
SANDERS, BETTY L         640 S SQUIRREL RD                                                                          AUBURN HILLS      MI 48326‐3863
SANDERS, BEVERLY J       5224 BEL AIR AVE                                                                           SARASOTA          FL 34234‐3008
SANDERS, BILLIE D        2118 NEWBERRY CT                                                                           FLINT             MI 48532‐2577
SANDERS, BILLIE D.       2118 NEWBERRY CT                                                                           FLINT             MI 48532‐2577
SANDERS, BILLY E         32731 N 1500 EAST RD                                                                       ROSSVILLE          IL 60963‐7211
SANDERS, BILLY G         PO BOX 116                      ROUTE 4                                                    BIRCH TREE        MO 65438‐0116
SANDERS, BILLY H         6420 E TROPICANA AVE UNIT 357                                                              LAS VEGAS         NV 89122‐7538
SANDERS, BILLY J         10826 BIG CANOE                                                                            BIG CANOE         GA 30143‐5136
SANDERS, BOBBI J         401 WHISPERING DR                                                                          SPRING HILL       TN 37174‐9600
SANDERS, BOBBIE          BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD        OH 44067
                                                         PROFESSIONAL BLDG
SANDERS, BOBBY L         4411 MEADOWSWEET DR                                                                        DAYTON           OH 45424‐5424
SANDERS, BRENTON         BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD       OH 44067
                                                         PROFESSIONAL BLDG
SANDERS, CALEB L         342 DELAWARE ST SE                                                                         GRAND RAPIDS     MI   49507‐1169
SANDERS, CALVIN          PO BOX 64946                                                                               ROCHESTER        NY   14624‐7346
SANDERS, CALVIN          2801 VASCO ST APT 12                                                                       PUNTA GORDA      FL   33950‐2811
SANDERS, CALVIN          P.O. BOX 64946                                                                             ROCHESTER        NY   14624‐7346
SANDERS, CANDACE M       3665 E EDGAR AVE                                                                           SAINT LOUIS      MO   63121‐3909
SANDERS, CARL J          5410 HARRIS ST                                                                             SPENCER          OK   73084‐8742
SANDERS, CARL J          PO BOX 633                                                                                 SPENCER          OK   73084‐0633
SANDERS, CARL LEE        2878 QUESTEND DR N                                                                         INDIANAPOLIS     IN   46222‐2266
SANDERS, CARL W          5157 WINIFRED ST                                                                           WAYNE            MI   48184‐2637
SANDERS, CARL WESLEY     5157 WINIFRED ST                                                                           WAYNE            MI   48184‐2637
SANDERS, CARLA R         2052 S RACCOON RD APT 12                                                                   YOUNGSTOWN       OH   44515
SANDERS, CARMEL          1006 N 7TH ST                                                                              SAGINAW          MI   48601‐1121
SANDERS, CAROL ANN       5857 CARDINAL CT.                                                                          PITTSBORO        IN   46167‐9315
SANDERS, CAROLE          7043 SOUTH SHORE DR. S.                                                                    SOUTH PASADENA   FL   33707‐4604
SANDERS, CAROLYN A       3221 GLASGOW DR                                                                            LANSING          MI   48911‐1353
SANDERS, CARRIE          2005 KIPLING DR                                                                            DAYTON           OH   45406‐3823
SANDERS, CARRIE          2005 KIPLING                                                                               DAYTON           OH   45406‐3823
SANDERS, CASSANDRA A     475 46TH AVENUE NORTH                                                                      ST PETERSBURG    FL   33703‐3803
SANDERS, CATHERINE MAE   MOODY EDWARD O                  801 W 4TH ST                                               LITTLE ROCK      AR   72201‐2107
SANDERS, CECIL           4041 GRANGE HALL RD LOT 164                                                                HOLLY            MI   48442‐1927
SANDERS, CECIL           310 RIVERBEND DR                                                                           LOUDON           TN   37774‐7774
SANDERS, CELIA C         7 PONDVIEW COURT                                                                           LANCASTER        NY   14086‐1057
SANDERS, CHALMER J       6192 SILVER BEACH RD                                                                       CHEBOYGAN        MI   49721‐9049
SANDERS, CHARLES         17117 LINDEN DR                                                                            HAZEL CREST      IL   60429‐1655
SANDERS, CHARLES A       261 VICTORIAN DR                                                                           ORTONVILLE       MI   48462‐8936
SANDERS, CHARLES A       6885 EAST 425 N                                                                            BROWNSBURG       IN   46112
SANDERS, CHARLES D       PO BOX 763                                                                                 MORGANTON        NC   28680‐0763
SANDERS, CHARLES D       1910 SMITH DR                                                                              TITUSVILLE       FL   32780‐3925
SANDERS, CHARLES D       5905 S DELMAR RD                                                                           MARION           IN   46953‐6123
SANDERS, CHARLES E       8950 NATURE DR N                                                                           INDIANAPOLIS     IN   46278‐1054
SANDERS, CHARLES F       706 LOUDON RD                                                                              LOUDON           TN   37774‐6703
SANDERS, CHARLES L       115 DEBUS ST                                                                               LAWRENCEBURG     TN   38464‐2647
SANDERS, CHARLES R       2204 SHELLY DR                                                                             ROCKFORD         IL   61101‐5255
SANDERS, CHARLES S       5331 KIMBERLY WOODS CIR                                                                    FLINT            MI   48504‐1109
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Name                       Address1                        Address2             Address3        Address4         City                  State Zip
SANDERS, CHARLES W         PO BOX 637                                                                            WAYNESVILLE            OH 45068‐0637
SANDERS, CHARLES W         5628 KINGSTON ST                                                                      DEARBORN HTS           MI 48125
SANDERS, CHARLES WILLIAM   5628 KINGSTON ST                                                                      DEARBORN HTS           MI 48125‐3250
SANDERS, CHARLETTR         18511 WILTSHIRE BLVD                                                                  LATHRUP VLG            MI 48076‐2609
SANDERS, CHARLETTR         C/O MARY ROWAN                  1303 NOTTINGHAM                                       GROSSE POINTE WOODS    MI 48236
SANDERS, CHARLIE L         25320 SHIAWASSEE CIR APT 202                                                          SOUTHFIELD             MI 48033‐3829
SANDERS, CHERRY K          5914 LESLIE DR                                                                        FLINT                  MI 48504‐5004
SANDERS, CHERRY KEY        5914 LESLIE DR                                                                        FLINT                  MI 48504‐5004
SANDERS, CHRISTIE N        1802 MORGANTON RD                                                                     FAYETTEVILLE           NC 28305
SANDERS, CHRISTOPHER A     509 E UNIVERSITY DR APT 502                                                           ROCHESTER              MI 48307‐2160
SANDERS, CHRISTOPHER A     509 E UNIVERSITY DR             APT 502                                               ROCHESTER              MI 48307‐2160
SANDERS, CINDY L           435 E WILSON RD                                                                       SAINT JOHNS            MI 48879‐9604
SANDERS, CINDY L           435 WILSON RD                                                                         ST JOHNS               MI 48879
SANDERS, CLARA A           2553 15TH ST SW                                                                       LOVELAND               CO 80537‐7714
SANDERS, CLARENCE          376 W ACORN ST                                                                        GARDNER                KS 66030‐9228
SANDERS, CLARENCE          WILENTZ GOLDMAN & SPITZER       PO BOX 10                                             WOODBRIDGE             NJ 07095‐0958
SANDERS, CLIFFORD M        6426 REEDER RD                                                                        LYONS                  MI 48851‐9794
SANDERS, COLLEEN           15206 GRAND SUMMIT 106                                                                GRANDVIEW              MO 64030
SANDERS, COLLEEN           15206 GRAND SUMMIT BLVD.        APT 106                                               GRAND VIEW             MO 64030
SANDERS, COLLETTE E        2620 WILKINS ST APT B                                                                 SAGINAW                MI 48601
SANDERS, CONNIE J          1841 RENEE DR                                                                         DAYTON                 OH 45440
SANDERS, CONSTANCE R       1397 GAMBRELL                                                                         PONTIAC                MI 48340
SANDERS, COURTNEY M        PETERS & LISTER                 18411 W 12 MILE RD   STE 104                          SOUTHFIELD             MI 48075‐2636
SANDERS, CRAIG A           4245 W JOLLY RD LOT 209                                                               LANSING                MI 48911‐3065
SANDERS, CURTIS            PO BOX 27890                                                                          DETROIT                MI 48227‐0890
SANDERS, DAISY M           839 E LINDEN ST                                                                       TUCSON                 AZ 85719‐3947
SANDERS, DAISY M           839 EAST LINDEN ST                                                                    TUSCON                 AZ 85719
SANDERS, DALE W            3424 SPORTSMANS WAY                                                                   HELENA                 MT 59602‐6531
SANDERS, DALILA K          PO BOX 2260                                                                           FLORISSANT             MO 63032‐2260
SANDERS, DANIEL            16027 BROOKHURST ST APT 156                                                           FOUNTAIN VALLEY        CA 92708
SANDERS, DANIEL L          608 E PITMAN AVE                                                                      WENTZVILLE             MO 63385‐1815
SANDERS, DANIEL L          5033 ATOKA LN                                                                         CROSSVILLE             TN 38572‐6605
SANDERS, DANNIE S          6615 LONG RD                                                                          WHITEHOUSE             OH 43571‐9621
SANDERS, DANNIE SHIRL      6615 LONG RD                                                                          WHITEHOUSE             OH 43571‐9621
SANDERS, DARLEEN           9930 JOAN CIRCLE #140                                                                 YPSILANIT              MI 48197‐6913
SANDERS, DARNELL F         323 N 24TH ST                                                                         SAGINAW                MI 48601‐6202
SANDERS, DAVID             PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON                MS 39206‐5621
SANDERS, DAVID A           578 N LAKE ST 453                                                                     HARRISON               MI 48625
SANDERS, DAVID E           2357 ROLLINS ST                                                                       GRAND BLANC            MI 48439‐4337
SANDERS, DAVID G           8711 LASHBROOK RD                                                                     WALES                  MI 48027‐3109
SANDERS, DAVID J           3402 LINDA ST                                                                         SHREVEPORT             LA 71119‐5232
SANDERS, DAVID JOHN        3402 LINDA ST                                                                         SHREVEPORT             LA 71119‐5232
SANDERS, DAVID L           75 MEADOW DRIVE                                                                       DAYTON                 OH 45416‐1805
SANDERS, DAVID L           8621 E OUTER DR                                                                       DETROIT                MI 48213‐4001
SANDERS, DAVID M           3267 VAN CAMPEN DR                                                                    WATERFORD              MI 48329‐4173
SANDERS, DAVID M           7 MARLA PL                                                                            FEEDING HILLS          MA 01030‐2633
SANDERS, DAVID R           2192 N PHILLIPS RD                                                                    DEFORD                 MI 48729‐9765
SANDERS, DAVID R           2034 VAN VLEET RD                                                                     SWARTZ CREEK           MI 48473‐9748
SANDERS, DAVID W           4171 VANFLEET RD                                                                      SWARTZ CREEK           MI 48473
SANDERS, DAVID W           1816 LEWIS CROSSING DR                                                                KELLER                 TX 76248
SANDERS, DEAN A            76 WHITFIELD ST                                                                       PONTIAC                MI 48342‐1472
SANDERS, DEANNA S          1312 CAROL LANE                                                                       NAPERVILLE              IL 60565‐1232
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Name                          Address1                             Address2                      Address3              Address4         City             State Zip
SANDERS, DEBORAH E            37126 ANNIE ST                                                                                            PALMDALE          CA 93550‐7500
SANDERS, DEBRA M              PO BOX 13525                                                                                              FLINT             MI 48501‐3525
SANDERS, DEEDDIE W            24 SANDRA CT                                                                                              SAGINAW           MI 48602
SANDERS, DELMA D.             17031 SW 100TH AVE                                                                                        MIAMI             FL 33157‐4312
SANDERS, DELMA D.             17031 SW 100 AVE                                                                                          MIAMI             FL 33157‐4312
SANDERS, DELORES J            2 HICKORY CHASE DR APT 206           BLDG 24                                                              JUSTICE            IL 60458
SANDERS, DELORES J            3806 W 87TH ST                                                                                            CHICAGO            IL 60652‐3746
SANDERS, DELORES L            7012 HALDIR AVE                                                                                           LAS VEGAS         NV 89178‐8813
SANDERS, DEMETRIUS            4817 LINBAR DR                                                                                            NASHVILLE         TN 37211‐4007
SANDERS, DEMETRIUS L          3417 STONEWAY DR                                                                                          GRAND PRAIRIE     TX 75052‐7061
SANDERS, DEMONDE              604 INGRAHAM AVE APT 2                                                                                    CALUMET CITY       IL 60409‐4280
SANDERS, DENELDA A            7038 DIMMICK RD                                                                                           WEST CHESTER      OH 45069‐4072
SANDERS, DENISE
SANDERS, DENISE M             6612 RALARIC DR                                                                                           DEXTER           MI   48130‐9689
SANDERS, DENNIS               5915 FLEMING RD                                                                                           FLINT            MI   48504‐7063
SANDERS, DENNIS K             4102 S GRAND TRAVERSE ST                                                                                  FLINT            MI   48507‐2501
SANDERS, DENNIS K             4102 SOUTH GRAND TRAVERSE ST                                                                              FLINT            MI   48507‐2501
SANDERS, DENNY R              66 WYATT RD                                                                                               JONESBURG        MO   63351‐2208
SANDERS, DEREK T              2911 OAK STREET EXT                                                                                       YOUNGSTOWN       OH   44505‐4919
SANDERS, DIXIE L              6197 E MOUNT HOPE HWY                                                                                     GRAND LEDGE      MI   48837‐9411
SANDERS, DIXIE L              1843 VALLEY VIEW DR S                                                                                     KOKOMO           IN   46902‐5074
SANDERS, DODDIE               3673 DORSET DR                                                                                            DAYTON           OH   45405‐1936
SANDERS, DOLORES B            212 N 18TH ST                                                                                             ELWOOD           IN   46036‐1706
SANDERS, DOLORES B            212 N 18TH STREET                                                                                         ELWOOD           IN   46036‐1706
SANDERS, DOLORES M            ABBEY PARK APT 123                   3221 E. BALDWIN RD                                                   GRAND BLANC      MI   48439
SANDERS, DONALD C             9923 KILLDEER LANE                                                                                        LAKELAND         FL   33810‐3810
SANDERS, DONALD CHRISTOPHER   852 MIDDLE DR                                                                                             NEW WHITELAND    IN   46184‐1117
SANDERS, DONALD E             3434 E 150 S                                                                                              ANDERSON         IN   46017‐9740
SANDERS, DONALD J             APT C                                15203 SOUTHWEST WALKER ROAD                                          BEAVERTON        OR   97006‐7104

SANDERS, DONELL               375 COLUMBIA PURVIS RD                                                                                    COLUMBIA         MS   39429‐9112
SANDERS, DONNA                1735 PINEBROOK CT                                                                                         ASHLAND          OH   44805
SANDERS, DONNA L              72 EAGLE RIDGE LANE                                                                                       WINFIELD         MO   63389‐2231
SANDERS, DONNA M              1201 S WARREN AVE                                                                                         SAGINAW          MI   48601‐2750
SANDERS, DONZELLA             3333 SYLVANHURST ROAD                                                                                     CLEVELAND        OH   44112
SANDERS, DORIS                5836 CLUB HOUSE CT                                                                                        CHARLOTTE        NC   28227
SANDERS, DORIS
SANDERS, DORIS                22615 PROVIDENCE DR APT 101                                                                               SOUTHFIELD       MI 48075
SANDERS, DORIS B.             C/O DEPARTMENT OF THE NAVY, OFFICE   MEDICAL CARE RECOVERY UNIT    9053 1ST ST STE 100                    NORFOLK          VA 23511‐3605
                              OF THE JUDGE ADVOCATE GENERAL        NORFOLK

SANDERS, DOROTHY A            814 ASHLEY CREEK CIR                                                                                      STONE MOUNTAIN   GA   30083‐6312
SANDERS, DOROTHY A            1720 E MEMORIAL DR APT 300                                                                                JANESVILLE       WI   53545‐1984
SANDERS, DOROTHY A            1715 UNIVERSITY DR                                                                                        COLUMBIA         TN   38401‐6413
SANDERS, DOROTHY B            7063 GRANADA DR                                                                                           FLINT            MI   48532‐3023
SANDERS, DOROTHY B            RR 1                                                                                                      CLOVERDALE       OH   45827‐9801
SANDERS, DOROTHY B            7065 GRANADA DRIVE                                                                                        FLINT            MI   48532
SANDERS, DOROTHY E            1064 LOGAN ST SE                                                                                          GRAND RAPIDS     MI   49506‐2533
SANDERS, DOROTHY J            5037 WILSHIRE DR                                                                                          FLINT            MI   48504‐1248
SANDERS, DOROTHY L            1515 W WASHTENAW ST                                                                                       LANSING          MI   48915‐1104
SANDERS, DOROTHY M            540 LIVINGSTON VERNON RD                                                                                  FLORA            MS   39071‐9401
SANDERS, DOUGLAS              14458 ROSEMONT AVE                                                                                        DETROIT          MI   48223‐3556
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Name                    Address1                             Address2           Address3                  Address4         City              State Zip
SANDERS, DOYLE C        1149 TRACY LN                                                                                      LANCASTER          TX 75134‐3011
SANDERS, DWIGHT D       210 BROOKSHORE AVE                                                                                 BOWLING GREEN      KY 42101‐3913
SANDERS, DWIGHT DAVID   210 BROOKSHORE AVE                                                                                 BOWLING GREEN      KY 42101‐3913
SANDERS, EARL V         5093 N GALE RD                                                                                     DAVISON            MI 48423‐8954
SANDERS, EARLENE        MOODY EDWARD O                       801 W 4TH ST                                                  LITTLE ROCK        AR 72201‐2107
SANDERS, EARLY          8641 YOLANDA ST                                                                                    DETROIT            MI 48234‐3321
SANDERS, EARMON         516 N MAYFIELD AVE APT 2                                                                           CHICAGO             IL 60644‐1844
SANDERS, EARNEST J      3827 UNIVERSITY ST                                                                                 MEMPHIS            TN 38127‐4558
SANDERS, EDDIE C        549 N ROSEMARY LN                                                                                  BURBANK            CA 91505‐3256
SANDERS, EDDIE G        7240 AUTUMN CROSSING WAY                                                                           BRENTWOOD          TN 37027‐8828
SANDERS, EDDIE G        18520 SANTA ANN AVE                                                                                LATHRUP VILLAGE    MI 48076‐4572
SANDERS, EDDIE L        7183 BRAY RD                                                                                       MT MORRIS          MI 48458‐8989
SANDERS, EDDIE L        7183 N BRAY RD                                                                                     MOUNT MORRIS       MI 48458‐8989
SANDERS, EDGAR C        C/O LAW OFFICES OF PETER G ANGELOS   100 N CHARLES ST   ONE CHARLES CENTER 22ND                    BALTIMORE          MD 21202
                                                                                FL
SANDERS, EDGAR T        PO BOX 176                                                                                         PHILLIPSBURG      OH   45354‐0176
SANDERS, EDISON P       54 CHERRY LN                                                                                       PERRYVILLE        MD   21903
SANDERS, EDITH          1245 ZIGGY RD                                                                                      FARWELL           MI   48622‐9672
SANDERS, EDWARD         PO BOX 12053                                                                                       EAST CLEVELAND    OH   44112‐0053
SANDERS, EDWARD         615 SUFFOLK AVE                                                                                    WESTCHESTER       IL   60154‐2736
SANDERS, EDWARD B       517 S PERCY ST                                                                                     GREENVILLE        MS   38701‐5208
SANDERS, EDWARD E       1430 FORREST DR                                                                                    CANTON            TX   75103‐2706
SANDERS, EDWARD H       5521 W MILLER RD                                                                                   LEWISTON          MI   49756‐7533
SANDERS, EDWARD L       5053 N JENNINGS RD                                                                                 FLINT             MI   48504‐1113
SANDERS, EDWARD L       2911 STURTEVANT ST                   APT. B‐2                                                      DETROIT           MI   48206
SANDERS, EDWARD L       5053 NORTH JENNINGS ROAD                                                                           FLINT             MI   48504‐1113
SANDERS, ELAINE         3264 LEVALLEY RD                                                                                   COLUMBIAVILLE     MI   48421‐9630
SANDERS, ELAYNE D       2031 WRENFORD RD                                                                                   SOUTH EUCLID      OH   44121‐3150
SANDERS, ELDER          1424 NEILSON ST # A                                                                                BERKELEY          CA   94702‐1118
SANDERS, ELGIE L        1320 COLONIAL LN                                                                                   DANVILLE          IN   46122‐1402
SANDERS, ELIJAH         20505 HUNT CLUB DR                                                                                 HARPER WOODS      MI   48225‐1739
SANDERS, ELIZABETH J    3813 RICHMOND ST                                                                                   LANSING           MI   48911‐2456
SANDERS, ELIZABETH M    6580 NORTHVIEW DR                                                                                  CLARKSTON         MI   48346‐1528
SANDERS, ELLA F         957 WOODFORD AVE                                                                                   YOUNGSTOWN        OH   44511‐2335
SANDERS, ELLIS J        8515 E SPICERVILLE HWY                                                                             EATON RAPIDS      MI   48827‐8040
SANDERS, EMILY          261 E LISTER ST                                                                                    SHREVEPORT        LA   71101‐5109
SANDERS, EMILY          261 EAST LISTER STREET                                                                             SHREVEPORT        LA   71101
SANDERS, EMMA JEAN      4418 JOS CAMPAU                                                                                    DETROIT           MI   48207‐1553
SANDERS, EMMA L         15498 CLAREMONT DR N                                                                               CLINTON TWP       MI   48038‐3576
SANDERS, ERA E          1440 RUSSELL CHAPEL LANE                                                                           SAVANNAH          TN   38372‐3753
SANDERS, ERAN           3516 SE 55TH ST                                                                                    OKLAHOMA CITY     OK   73135‐1538
SANDERS, ERIC A         125 STABLE CREEK RD                                                                                FAYETTEVILLE      GA   30215‐7408
SANDERS, ERIC BRYAN     2913 ROCKY HILL RD                                                                                 SMITHS GROVE      KY   42171‐9107
SANDERS, ERICA
SANDERS, ERNEST R       5075 PRATT RD                                                                                      METAMORA          MI   48455‐9634
SANDERS, ERROL D        18421 LAUDER ST                                                                                    DETROIT           MI   48235‐2738
SANDERS, ERSHELL E      9805 N COUNTY ROAD 750 E                                                                           BROWNSBURG        IN   46112‐8892
SANDERS, ERSKINE C      1305 EDGEWOOD DR                                                                                   MANCHESTER        TN   37355‐2511
SANDERS, ESTA M         11912 BEAVERTON DR                                                                                 BRIDGETON         MO   63044‐2844
SANDERS, ESTHER L       18050 VERONICA                                                                                     EAST POINTE       MI   48021‐3235
SANDERS, ETHEL M        1291 TITTABAWASSEE RD, APT C                                                                       SAGINAW           MI   48604
SANDERS, ETTA R         1501 13TH ST                                                                                       BEDFORD           IN   47421‐3111
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Name                     Address1                        Address2                  Address3   Address4         City             State Zip
SANDERS, EUGENE          3454 COUNTY ROAD 263                                                                  FIVE POINTS       AL 36855‐2634
SANDERS, EUGENE D        9009 CEDAR CREEK CIR                                                                  SHREVEPORT        LA 71118‐2304
SANDERS, EUGENE D.       9009 CEDAR CREEK CIR                                                                  SHREVEPORT        LA 71118‐2304
SANDERS, EULAS H         4202 E 40TH STREET NORTH DR                                                           INDIANAPOLIS      IN 46226‐4418
SANDERS, EVA S           5279 N COUNTY ROAD 525 W                                                              MIDDLETOWN        IN 47356‐9745
SANDERS, EVANS F         3244 ALICE ST                                                                         WEST MELBOURNE    FL 32904‐6706
SANDERS, EVELYN          RT1 ‐ BOX 39                                                                          JONESBURG         MO 63351‐9801
SANDERS, EVELYN J        844 N CLINTON ST LOT C40        NORTH PARK ESTATES                                    DEFIANCE          OH 43512‐1688
SANDERS, EVELYN M        2929 ALPHA WAY                                                                        FLINT             MI 48506
SANDERS, EVORA           8429 E 55TH TERR                                                                      KANSAS CITY       MO 64129‐2619
SANDERS, EZELL           4441 FIRETHORN CT                                                                     WARREN            MI 48092‐4193
SANDERS, EZRA W          9635 M15                                                                              CLARKSTON         MI 48348
SANDERS, FAYEOLA         2013 BARBAR DR                                                                        FLINT             MI 48504‐1641
SANDERS, FLORA M         207 PALM CT                                                                           WEST MILTON       OH 45383‐1736
SANDERS, FONDA           22 JAMES PL                                                                           HUBBARD           OH 44425‐1444
SANDERS, FRANCES L       1412 MARGINA AVE                                                                      DAYTONA BEACH     FL 32114‐5950
SANDERS, FRANCIS A       1377 N LINDEN RD                                                                      FLINT             MI 48532‐2344
SANDERS, FRANCIS M       23163 VANCE AVE                                                                       HAZEL PARK        MI 48030‐2812
SANDERS, FRANK L         9357 S 87TH AVE                                                                       HICKORY HILLS      IL 60457‐1771
SANDERS, FRANKLIN D      214 COLLEGE PKWY                                                                      ANDERSON          IN 46012‐3182
SANDERS, FRED D          21658 BELHAVEN WAY                                                                    ESTERO            FL 33928
SANDERS, FRED E          4045 S IDDINGS RD                                                                     WEST MILTON       OH 45383‐8740
SANDERS, FRED L          4220 JIM OWENS RD NW                                                                  KENNESAW          GA 30152‐2382
SANDERS, FRED V          8802 STATE ROUTE 15                                                                   DEFIANCE          OH 43512‐8493
SANDERS, FREDA M         2950 E 12 MILE RD APT 122                                                             WARREN            MI 48092‐5672
SANDERS, FREDA M         2950 E 12 MILE RD               APT 122                                               WARREN            MI 48092‐5672
SANDERS, FREDDIE         3302 VIENNA WOODS DR                                                                  CINCINNATI        OH 45211
SANDERS, FREDDIE         #2                              3302 VIENNA WOODS DRIVE                               CINCINNATI        OH 45211‐2902
SANDERS, FREDDIE         199 DALEPARK DR                 APT 1                                                 BEDFORD           OH 44146‐4259
SANDERS, FREDERICK A     767 W DAVIS RD                                                                        HOWELL            MI 48843‐8842
SANDERS, FREDERICK R     3333 SYLVANHURST RD                                                                   CLEVELAND         OH 44112‐3011
SANDERS, FREDERICK W     6192 N BELSAY RD                                                                      FLINT             MI 48506‐1246
SANDERS, FREDERICK W     PO BOX 497                                                                            GENESEE           MI 48437
SANDERS, GALE D          1940 CATHEY CEMETERY RD                                                               LEWISBURG         TN 37091‐6261
SANDERS, GARLAND         PO BOX 5332                                                                           FLINT             MI 48505‐0332
SANDERS, GARY A          15 CANNA DR                                                                           BELTON            MO 64012‐2149
SANDERS, GARY A          1132 FAIRVIEW AVE APT E3                                                              BOWLING GREEN     KY 42103‐1658
SANDERS, GARY ALEX       1132 FAIRVIEW AVE APT E3                                                              BOWLING GREEN     KY 42103‐1658
SANDERS, GARY D          4411 DANA DR                                                                          FRANKLIN          OH 45005‐1915
SANDERS, GARY L          2553 15TH ST SW                                                                       LOVELAND          CO 80537‐7714
SANDERS, GARY L          561 E BRICKLEY AVE                                                                    HAZEL PARK        MI 48030‐1221
SANDERS, GARY L          722 STATE ROAD 58 E                                                                   BEDFORD           IN 47421‐7674
SANDERS, GARY L          PO BOX 209                                                                            MIDDLETON         MI 48856‐0209
SANDERS, GAVIN G         6898 W GALWAY CIR 23                                                                  DIMONDALE         MI 48821
SANDERS, GENE A          14170 SEYMOUR RD                                                                      MONTROSE          MI 48457‐9774
SANDERS, GENEEKA         1442 SOUTH CENTRAL AVE                                                                CICERO             IL 60804
SANDERS, GEORGE E        9431 CLOVERLAWN ST                                                                    DETROIT           MI 48204‐2759
SANDERS, GEORGE E        629 SW DERBY DR                                                                       LEES SUMMIT       MO 64081‐3275
SANDERS, GEORGE E        1401 WELCH BLVD                                                                       FLINT             MI 48504‐7372
SANDERS, GEORGE EDWARD   1401 WELCH BLVD                                                                       FLINT             MI 48504‐7372
SANDERS, GEORGE I        19719 GILCHRIST ST                                                                    DETROIT           MI 48235‐2455
SANDERS, GEORGE P        11219 ESSEX AVE                                                                       WARREN            MI 48089‐1841
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Name                           Address1                       Address2                Address3     Address4         City             State Zip
SANDERS, GEORGE W              707 TYRONE AVERY RD                                                                  MORGANTOWN        WV 26508‐2903
SANDERS, GERALD D              1860 E CRESTVIEW ST                                                                  SPRINGFIELD       MO 65804‐3241
SANDERS, GERALD E              1744 BERNAY BLVD                                                                     TALLAHASSEE       FL 32303‐3101
SANDERS, GERALD L              4449 SWEETBAY ST                                                                     PORT CHARLOTTE    FL 33948‐2449
SANDERS, GERALDINE             3606 N DEQUINCY ST                                                                   INDIANAPOLIS      IN 46218‐1639
SANDERS, GERTRUDE O            512 NORRIS DRIVE                                                                     ANDERSON          IN 46013‐3934
SANDERS, GILBERT N             2929 ALPHA WAY                                                                       FLINT             MI 48506‐1850
SANDERS, GLADYS L              7485 EPWORTH DR                                                                      BROOKSVILLE       FL 34601‐8201
SANDERS, GLEN C                WILLIAMS & BAILEY              8441 GULF FWY STE 600                                 HOUSTON           TX 77017‐5051
SANDERS, GLEN E                7313 US ROUTE 127                                                                    VAN WERT          OH 45891‐9364
SANDERS, GLENDA                2032 MILLSAPS RD                                                                     CRYSTAL SPGS      MS 39059‐9654
SANDERS, GLENN R               4385 W COUNTY ROAD 850 N                                                             MIDDLETOWN        IN 47356‐9462
SANDERS, GLENN S               PO BOX 161                                                                           LILY              KY 40740
SANDERS, GLORIA F              PO BOX 80374                                                                         LANSING           MI 48908‐0374
SANDERS, GLORIA J.             1742 PHARRS RD                                                                       SNELLVILLE        GA 30078‐2142
SANDERS, GRACIE P              35 W DUDLEY AVE                                                                      INDIANAPOLIS      IN 46217‐3728
SANDERS, GREGORY               6617 WHITEHURST ST                                                                   CANTON            MI 48187‐1665
SANDERS, GREGORY L             26693 DARIA CIR W                                                                    SOUTH LYON        MI 48178‐8093
SANDERS, GREGORY LEE           26693 DARIA CIR W                                                                    SOUTH LYON        MI 48178‐8093
SANDERS, GWENDOLYN J           1854 N COUNTY ROAD 800 EAST                                                          AVON              IN 46123‐9191
SANDERS, HARRIET               509 E 3RD ST                                                                         LIMA              OH 45804‐2019
SANDERS, HARRY E               4401 HORSESHOE BEND                                                                  MATTHEWS          NC 28104‐8604
SANDERS, HARVEY                PO BOX 586                                                                           GRAND BLANC       MI 48480‐0586
SANDERS, HARVEY R              PO BOX 177063                                                                        IRVING            TX 75017‐7063
SANDERS, HAZEL M               925 RHYTHMS DR                                                                       MODESTO           CA 95358‐8020
SANDERS, HEATHER N             197 BEAM DRIVE                                                                       FRANKLIN          OH 45005‐2003
SANDERS, HELEN M               PO BOX 4523                                                                          DANBURY           CT 06813‐4523
SANDERS, HELENA                117 N. WALLLER ST              APT. C                                                CHICAGO            IL 60644‐2902
SANDERS, HENRY M               497 MANISTEE RD                                                                      CADILLAC          MI 49601‐9172
SANDERS, HERMAN                421 W STEWART AVE                                                                    FLINT             MI 48505‐3295
SANDERS, HERSCHAL L            852 AVENIDA RICARDO APT 139                                                          SAN MARCOS        CA 92069‐3568
SANDERS, HERSHEL L             705 GRAY BRANCH RD                                                                   MC EWEN           TN 37101‐4108
SANDERS, HOMER E               1629 N FRANKLIN ST                                                                   DANVILLE           IL 61832‐2363
SANDERS, HOWARD E              261 E LISTER ST                                                                      SHREVEPORT        LA 71101‐5109
SANDERS, HOWARD L              313 BARRINGTON RD                                                                    SYRACUSE          NY 13214‐1903
SANDERS, HOWARD L              2687 FIVE FORKS TRICKUM RD                                                           LAWRENCEVILLE     GA 30044‐5863
SANDERS, HUBERT A              814 N 82ND ST APT G12                                                                SCOTTSDALE        AZ 85257‐3871
SANDERS, I L                   749 VANHOOSER RD                                                                     GRAND RIVERS      KY 42045‐9161
SANDERS, IDA B                 5053 N JENNINGS RD                                                                   FLINT             MI 48504‐1113
SANDERS, III,LEMMIE LEONIDAS   1718 W 2ND ST                                                                        MARION            IN 46952‐3302
SANDERS, ILAR G                6188 HILLSBORO RD                                                                    DAVISBURG         MI 48350‐3516
SANDERS, IMOGENE V             8657E 700N                                                                           FOREST            IN 46039‐9615
SANDERS, INEZ M                19467 STANSBURY ST                                                                   DETROIT           MI 48235‐1735
SANDERS, IRENE F               3311 STATE ROUTE 1748                                                                FANCY FARM        KY 42039‐9544
SANDERS, ISAAC L               693 NORTHAMPTON ST                                                                   BUFFALO           NY 14211‐1211
SANDERS, ISAIAH                19358 HASSE ST                                                                       DETROIT           MI 48234‐2146
SANDERS, IVA J                 1054 NORTH WINTER DRIVE                                                              MARION            IN 46952
SANDERS, JACK E                5202 SADDLE BAG RD                                                                   WOODLAND          MI 48897
SANDERS, JACK F                1490 WILSON AVE                                                                      SAGINAW           MI 48638‐4793
SANDERS, JACK L                15914 HALSEY ROAD                                                                    TAMPA             FL 33647‐1144
SANDERS, JACQUELINE            401 VANIMAN AVE                                                                      TROTWOOD          OH 45426‐2529
SANDERS, JACQUELINE M          11375 S AMINDA ST                                                                    OLATHE            KS 66061‐7147
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Name                     Address1                            Address2                      Address3   Address4         City            State Zip
SANDERS, JAMES           ANGELOS PETER G LAW OFFICES OF      100 N CHARLES STREET, ONE                                 BALTIMORE        MD 21202
                                                             CHARLES CENTER 22ND FLOOR
SANDERS, JAMES           100 N CHARLES STREET, ONE CHARLES                                                             BALTIMORE       MD 21202
                         CENTER 22ND FLOOR
SANDERS, JAMES           PORTER & MALOUF PA                  4670 MCWILLIE DR                                          JACKSON         MS   39206‐5621
SANDERS, JAMES           6425 GLENOAK AVE                                                                              BALTIMORE       MD   21214‐1412
SANDERS, JAMES           225 PURITAN ST                                                                                HIGHLAND PARK   MI   48203‐2729
SANDERS, JAMES           2303 WRIGHT LN                                                                                PINE BLUFF      AR   71601‐9757
SANDERS, JAMES A         1801 CHASEWOOD DR APT 6                                                                       CHARLOTTE       NC   28212‐8012
SANDERS, JAMES B         8190 HILL RD                                                                                  SWARTZ CREEK    MI   48473‐7615
SANDERS, JAMES D         PO BOX 471856                                                                                 MIAMI           FL   33247‐1856
SANDERS, JAMES D         728 NURSERY RD                                                                                ANDERSON        IN   46012‐3513
SANDERS, JAMES D         C/O STAR WEALTH MANAGEMENT          PO BOX 1248                                               MARION          IN   46952
SANDERS, JAMES E         SHANNON LAW FIRM                    100 W GALLATIN ST                                         HAZLEHURST      MS   39083‐3007
SANDERS, JAMES E         DUFFY & ASSOCS JOHN J               23823 LORAIN RD                                           NORTH OLMSTED   OH   44070
SANDERS, JAMES E         13650 E STATE FAIR ST                                                                         DETROIT         MI   48205‐1863
SANDERS, JAMES E         12056 SCHORNVORN PLACE                                                                        CLIO            MI   48420
SANDERS, JAMES E         5323 N JENNINGS RD                                                                            FLINT           MI   48504‐1119
SANDERS, JAMES E         2166 BALMORAL RD                                                                              COLUMBUS        OH   43229‐5735
SANDERS, JAMES EDWARD    5323 N JENNINGS RD                                                                            FLINT           MI   48504‐1119
SANDERS, JAMES ETTA      13650 E STATE FAIR ST                                                                         DETROIT         MI   48205‐1863
SANDERS, JAMES G         315 CRUMPSALL CT APT 301                                                                      ROCK HILL       SC   29730‐7832
SANDERS, JAMES K         1055 FLEETWOOD DR                                                                             INDIANAPOLIS    IN   46228‐1931
SANDERS, JAMES L         2585 S TENAYA WAY 2051                                                                        LAS VEGAS       NV   89117
SANDERS, JAMES M         600 LITTLE MEADOW DR                                                                          DAYTON          OH   45404‐1448
SANDERS, JAMES O         5544 WATERMAN BLVD                                                                            SAINT LOUIS     MO   63112‐1834
SANDERS, JAMES R         816 MALLARD BAYE                                                                              RUTLEDGE        TN   37861‐5946
SANDERS, JAMES R         SUNSHINE CHRISTIAN HOME             5250 WHIPPORWILL DR                                       HOLIDAY         FL   34690
SANDERS, JAMES W         508 DUNN STORE RD                                                                             MORGANTOWN      KY   42261‐8268
SANDERS, JAMES WILBURN   508 DUNN STORE RD                                                                             MORGANTOWN      KY   42261‐8268
SANDERS, JANE A          6118 N 930 E                                                                                  FOREST          IN   46039
SANDERS, JANET M         9335 SOUTH EASTERN ST                                                                         WHITE LAKE      MI   48386‐3157
SANDERS, JANET M         9335 SOUTHEASTERN ST                                                                          WHITE LAKE      MI   48386‐3157
SANDERS, JANICE A        1894 BEAL RD                                                                                  MANSFIELD       OH   44903‐9174
SANDERS, JANICE A        1894 BEAL ROAD                                                                                MANSFIELD       OH   44903‐9174
SANDERS, JANICE C        14445 KENT                                                                                    DETROIT         MI   48213
SANDERS, JASMIN S        7440 HICKORY CREEK DR                                                                         FORT WAYNE      IN   46809‐2564
SANDERS, JAY D           2063 SIESTA LN                                                                                SAINT LOUIS     MO   63138‐1245
SANDERS, JEAN            108 ROBINSON DRIVE                                                                            NEW CASTLE      DE   19720‐1824
SANDERS, JEANNE A        828 W WILLOUGHBY RD                                                                           LANSING         MI   48911‐6567
SANDERS, JEFFREY A       277 HENRY VIII DRIVE                                                                          FLINT           MI   48507‐4216
SANDERS, JEFFREY ALLEN   277 HENRY VIII DRIVE                                                                          FLINT           MI   48507‐4216
SANDERS, JEFFREY B       972 CRANFORD HOLLOW EXT RD                                                                    COLUMBIA        TN   38401‐7696
SANDERS, JEFFREY D       3807 SWEETWATER DR                                                                            ROCKLIN         CA   95677‐1955
SANDERS, JEFFREY L       127 OAK VALLEY DR                                                                             SPRING HILL     TN   37174‐2592
SANDERS, JENNIFER D      48067 SANDY RIDGE DR                                                                          MACOMB          MI   48044‐5922
SANDERS, JENNIFER J      1826 PENBROOK LN                                                                              FLINT           MI   48507‐2215
SANDERS, JERREL L        3732 LYNN ST                                                                                  FLINT           MI   48503‐4542
SANDERS, JERRY           APT 1                               1025 WEST BADGER ROAD                                     MADISON         WI   53713‐2457
SANDERS, JERRY           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                             STREET, SUITE 600
SANDERS, JERRY H         1107 10TH AVE                                                                                 CONWAY          SC   29526‐3503
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Name                        Address1                            Address2                       Address3   Address4         City            State Zip
SANDERS, JERRY L            3605 S SCATTERFIELD RD                                                                         ANDERSON         IN 46013‐2133
SANDERS, JESSE              2837 OAK STREET EXT                                                                            YOUNGSTOWN       OH 44505‐4843
SANDERS, JESSIE L           C/O JOY EBIG                        GUARDIANSHIP SERVICES                                      SAGINAW          MI 48607
SANDERS, JEWEL              PORTER & MALOUF PA                  4670 MCWILLIE DR                                           JACKSON          MS 39206‐5621
SANDERS, JEWELLENE          19134 GREENLAWN                                                                                DETROIT          MI 48221‐1636
SANDERS, JIMMIE L           3614 DIAMONDALE DR E                                                                           SAGINAW          MI 48601‐5805
SANDERS, JIMMIE L           2423 HUB WILLIS RD                                                                             MOUNTAIN VIEW    AR 72560‐7362
SANDERS, JOANN              1991 STURTEVANT ST                                                                             DETROIT          MI 48206‐1238
SANDERS, JOANNE G           118 BERKSHIRE PL                                                                               LYNCHBURG        VA 24502‐2110
SANDERS, JOE                29042 CEDARWOOD ST                                                                             ROSEVILLE        MI 48066‐2009
SANDERS, JOE D              3308 CLARK ST                                                                                  ROSAMOND         CA 93560‐6301
SANDERS, JOHN
SANDERS, JOHN               PO BOX 117                                                                                     EXPERIMENT      GA 30212‐0117
SANDERS, JOHN               KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                               CLEVELAND       OH 44114
                                                                BOND COURT BUILDING
SANDERS, JOHN               BRAYTON PURCELL                     PO BOX 6169                                                NOVATO          CA   94948‐6169
SANDERS, JOHN A             PO BOX 201942                                                                                  ARLINGTON       TX   76006‐1942
SANDERS, JOHN ALONZO        PO BOX 201942                                                                                  ARLINGTON       TX   76006‐1942
SANDERS, JOHN P             255 SALES LANDING CIR                                                                          CAMDEN          TN   38320‐8602
SANDERS, JOHN R             1116 HENRY ST                                                                                  AVON            IN   46123‐9208
SANDERS, JOHN T             159 WILSON ST                                                                                  DEFIANCE        OH   43512‐1439
SANDERS, JOHN THOMAS        159 WILSON ST                                                                                  DEFIANCE        OH   43512‐1439
SANDERS, JOHNNIE            3420 GRANT ST                                                                                  SAGINAW         MI   48601‐4729
SANDERS, JOHNNIE            616 ARCH ST                                                                                    HENDERSON       NC   27536‐5001
SANDERS, JOHNNIE L          5596 PARKVILLE ST                                                                              COLUMBUS        OH   43229
SANDERS, JOHNNIE L          4286 DRESDENT ST                    APT 107                                                    COLUMBUS        OH   43224‐1377
SANDERS, JOHNNY L           PO BOX 14296                                                                                   HOUSTON         TX   77221
SANDERS, JONATHAN           57183 COPPER CREEK DR W                                                                        WASHINGTON      MI   48094‐3809
SANDERS, JOS A & SONS INC   99‐117 LATHROP ST                   PO BOX 814                                                 BUFFALO         NY   14212
SANDERS, JOSEPH             GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW         MI   48604‐2602
                                                                260
SANDERS, JOSEPH E           21 ALMA LN                                                                                     HIGHLAND        AR   72542‐9487
SANDERS, JOSEPH H           608 E 9TH ST                                                                                   MUNCIE          IN   47302‐3430
SANDERS, JOSEPH M           4371 S BAILEY RD                                                                               NORTH JACKSON   OH   44451‐9731
SANDERS, JOSEPH N           2421 RIVERSIDE DR APT 2                                                                        DAYTON          OH   45405‐3412
SANDERS, JOSEPH R           14029 95TH AVE                                                                                 SEMINOLE        FL   33776‐1232
SANDERS, JOSEPHINE          15626 HEMLOCK ST                                                                               DETROIT         MI   48235‐3608
SANDERS, JOSIE              PO BOX 234                                                                                     FIVE POINTS     AL   36855‐0234
SANDERS, JOYCE J            PO BOX 879                                                                                     OXFORD          GA   30054‐0879
SANDERS, JR.,JERRY          312 BEARDSLEY RD                                                                               DAYTON          OH   45426
SANDERS, JUDEAN B           6092 N JENNINGS RD                                                                             MOUNT MORRIS    MI   48458‐9439
SANDERS, JUDITH L           8774 WASHINGTON COLONY DRIVE                                                                   DAYTON          OH   45458‐5458
SANDERS, JUDITH M           4463 STATE ROUTE 309                                                                           GALION          OH   44833‐9616
SANDERS, JUDY F             1080 HALLWOOD                                                                                  FLORISSANT      MO   63033‐6032
SANDERS, JUDY F             1080 HALLWOOD DR                                                                               FLORISSANT      MO   63033‐6032
SANDERS, JUNE               GUY WILLIAM S                       PO BOX 509                                                 MCCOMB          MS   39649‐0509
SANDERS, JUNETTE A          6570 GERMANTOWN PIKE                                                                           MIAMISBURG      OH   45342‐1102
SANDERS, KAREN              221 N RHODES ST                                                                                MOUNT DORA      FL   32757‐5819
SANDERS, KAREN              622 YOUMANS ST                                                                                 SAGINAW         MI   48601‐4754
SANDERS, KAREN A            5202 SADDLEBAG LAKE RD                                                                         WOODLAND        MI   48897‐9672
SANDERS, KAREN L            3720 S GALLATIN                                                                                MARION          IN   46952
SANDERS, KAREN SUE          6054 HEMINGWAY RD                                                                              HUBER HEIGHTS   OH   45424‐3525
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Name                     Address1                            Address2            Address3   Address4         City              State Zip
SANDERS, KARLIS          4209 E PLEASANT RUN PARKWAY SOUTH                                                   INDIANAPOLIS       IN 46201‐4534
                         DR
SANDERS, KATHERINE       1490 WILSON AVE                                                                     SAGINAW           MI   48638‐4793
SANDERS, KATHLEEN J      9626 E SAVILE CIR                                                                   HOUSTON           TX   77065‐4417
SANDERS, KATHLEEN S      1955 WOODGATE ST                                                                    AUSTINTOWN        OH   44515‐5530
SANDERS, KEENA M         2525 PINGREE STREET                                                                 DETROIT           MI   48206
SANDERS, KEITH R         PO BOX 152                                                                          INWOOD            WV   25428‐0152
SANDERS, KELLY           399 HOLFORD ST                                                                      RIVER ROUGE       MI   48218‐1129
SANDERS, KELLY           186 HOUSTON LN                                                                      MANSFIELD         LA   71052‐6786
SANDERS, KELVIN L        16000 COLLINGHAM DR                                                                 DETROIT           MI   48205‐1412
SANDERS, KELVIN LEE      16000 COLLINGHAM DR                                                                 DETROIT           MI   48205‐1412
SANDERS, KENNETH         PO BOX 2651                                                                         VALDOSTA          GA   31604‐2651
SANDERS, KENNETH C       8480 CHESTERFIELD DR                                                                SWARTZ CREEK      MI   48473‐1235
SANDERS, KENNETH D       1460 NORTH RD NE                                                                    WARREN            OH   44483‐4527
SANDERS, KENNETH E       1613 PARK ST                                                                        FLINT             MI   48503‐4053
SANDERS, KENNETH H       1223 WATERBURY PL                                                                   TROY              OH   45373‐4607
SANDERS, KENNETH L       3814 RIDGE RD                                                                       ANDERSON          IN   46013‐1118
SANDERS, KEVEN L         507 COLBERN ST                                                                      BELTON            MO   64012
SANDERS, KEVIN D         PO BOX 12598                                                                        KANSAS CITY       KS   66112‐0598
SANDERS, KIMMITH Y       117 NIAGARA LN                                                                      WILLINGBORO       NJ   08046
SANDERS, KURT A          355 BONNIE BRAE RD                                                                  VIENNA            OH   44473‐9643
SANDERS, LADONNA D       2755 RALSTON AVE                                                                    INDIANAPOLIS      IN   46218
SANDERS, LADONNA D       5706 WIEBECK CT                                                                     INDIANAPOLIS      IN   46226‐7245
SANDERS, LANA            2193 MASON FRONT DR.                                                                OAK GROVE         LA   71263
SANDERS, LANNIE H        2654 SILAS MERCER RD NE                                                             CRAWFORDVILLE     GA   30631‐1913
SANDERS, LARRY           4202 MAPLE DR                                                                       SAND SPRINGS      OK   74063‐2436
SANDERS, LARRY           1207 O ST                                                                           BEDFORD           IN   47421‐3121
SANDERS, LARRY           4202 SOUTH MAPLE DRIVE                                                              SAND SPRING       OK   74063
SANDERS, LARRY D         1614 WOODLIN DR                                                                     FLINT             MI   48504‐1683
SANDERS, LARRY DARNELL   1614 WOODLIN DR                                                                     FLINT             MI   48504‐1683
SANDERS, LARRY R         15835 BEECH DALY RD                                                                 TAYLOR            MI   48180‐6125
SANDERS, LARRY W         6580 NORTHVIEW DR                                                                   CLARKSTON         MI   48346‐1528
SANDERS, LARRY W         820 GLENSDEL DR                                                                     DAYTON            OH   45427‐2759
SANDERS, LAURANCE W      28 COUNTY ROAD 441                                                                  CORNING           AR   72422‐7635
SANDERS, LENNIS D        1344 S AURELIUS RD                                                                  MASON             MI   48854‐9761
SANDERS, LEO E           4935 NW GATEWAY AVE APT F14                                                         RIVERSIDE         MO   64150
SANDERS, LEON            4709 BLARNEY DR                                                                     MATTESON          IL   60443‐1887
SANDERS, LEON D          494 S COUNTY ROAD 525 W                                                             PAOLI             IN   47454‐9695
SANDERS, LEON M          APT 334                             11971 JUNIPER WAY                               GRAND BLANC       MI   48439‐2142
SANDERS, LEONARD C       5219 KERMIT ST                                                                      FLINT             MI   48505‐2503
SANDERS, LEONARD R       10740 JUDD RD                                                                       WILLIS            MI   48191‐9760
SANDERS, LEROY M         3104 HOBART AVE                                                                     KETTERING         OH   45429‐3914
SANDERS, LEROY T         P.O. BOX 194                                                                        HARVEYSBURG       OH   45032‐5032
SANDERS, LEROY T         PO BOX 194                                                                          HARVEYSBURG       OH   45032‐0194
SANDERS, LESLIE J        250 WINONA DR                                                                       FAYETTEVILLE      GA   30214‐1136
SANDERS, LETTIE H        2838 SUSAN DR                                                                       MONTGOMERY        AL   36116‐3914
SANDERS, LINDA           5432 E 109TH ST                                                                     TULSA             OK   74137‐7258
SANDERS, LINDA G         6100 BERMUDA LN                                                                     MOUNT MORRIS      MI   48458‐2621
SANDERS, LINDA G         418 W JAMIESON ST                                                                   FLINT             MI   48505
SANDERS, LINDA G.        6100 BERMUDA LN                                                                     MOUNT MORRIS      MI   48458‐2621
SANDERS, LINDA J         7447 LINGER DR                                                                      NEW PORT RICHEY   FL   34652‐1146
SANDERS, LINDA K         11329 TERRY ST                                                                      DETROIT           MI   48227‐2420
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Name                  Address1                              Address2           Address3   Address4         City               State Zip
SANDERS, LINDA K      6933 SANDERS LN                                                                      EATON RAPIDS        MI 48827‐8561
SANDERS, LINDA M      1408 MY LADYS DR                                                                     ABINGDON            MD 21009‐2704
SANDERS, LINDA M.     21028 POWERS AVE                                                                     DEARBORN HEIGHTS    MI 48125‐2821
SANDERS, LINDA S      404 RANDY DR                                                                         WACO                TX 76712‐9785
SANDERS, LIZZIE A     190 BROOK HILL LN                                                                    TROY                MO 63379‐3465
SANDERS, LOIS L       28176 QUAIL HOLLOW RD                                                                FARMINGTON HILLS    MI 48331‐5652
SANDERS, LOIS M       315 SPRUCE ST APT 101                                                                FARMINGTON          MN 55024‐1366
SANDERS, LORETHA      4709 BLARNEY DR                                                                      MATTESON             IL 60443‐1887
SANDERS, LORRAINE     4310 PLYMOUTH AVE SE                                                                 GRAND RAPIDS        MI 49508‐3756
SANDERS, LORRAINE V   G9440 BEECHER ROAD                                                                   FLUSHING            MI 48433
SANDERS, LOUIS L      405 N JACKSON ST                                                                     SAN ANGELO          TX 76901‐3142
SANDERS, LOUISE       3001 BLUE GRASS LN                                                                   DECATUR             GA 30034‐3316
SANDERS, LUCIOUS      317 S 22ND ST                                                                        SAGINAW             MI 48601‐1452
SANDERS, LUVENIA M    1732 BASIL AVE                                                                       POLAND              OH 44514‐1312
SANDERS, LYLE         GUY WILLIAM S                         PO BOX 509                                     MCCOMB              MS 39649‐0509
SANDERS, LYNN R       5245 UPPER PATTON PARK RD                                                            MARTINSVILLE        IN 46151‐9548
SANDERS, MARAY L      6045 N MAIN ST APT 316                                                               DAYTON              OH 45415‐3199
SANDERS, MARAY L      6045 N. MAIN STREET #316                                                             DAYTON              OH 45415‐3199
SANDERS, MARGARET     5160 W CR 300 NORTH                                                                  MIDDLETOWN          IN 47356‐9434
SANDERS, MARGARET     5160 W COUNTY ROAD 300 N                                                             MIDDLETOWN          IN 47356‐9434
SANDERS, MARGARET E   412 MARKET ST                                                                        BROWNSVILLE         PA 15417‐1755
SANDERS, MARGARET E   412 MARKET STREET                                                                    BROWNSVILLE         PA 15417‐1755
SANDERS, MARIA T      5915 FLEMING RD                                                                      FLINT               MI 48504‐7063
SANDERS, MARIE A      4811 MARYLAND PL                                                                     GARY                IN 46409‐2558
SANDERS, MARILYN      5610 WOODVINE CT                                                                     FT WORTH            TX 76140‐9530
SANDERS, MARILYN C    2243 GOLFVIEW DR APT 106                                                             TROY                MI 48084‐3917
SANDERS, MARILYN J    110 IROQUOIS DR                                                                      CHEROKEE VILLAGE    AR 72529‐5229
SANDERS, MARION A     395 SAN MARINO DR                                                                    SANTA BARBARA       CA 93111‐2615
SANDERS, MARION M     6785 CONSEAR RD                                                                      OTTAWA LAKE         MI 49267‐8707
SANDERS, MARISA       HUTCHINSON WILLIAM N JR & NATHANIEL   514 SE 7TH ST                                  FT LAUDERDALE       FL 33301‐3139
                      E GREEN
SANDERS, MARJORIE B   4 TAYLOR                                                                             TILTON             IL   61833‐8146
SANDERS, MARJORIE B   4 TAYLOR ST                                                                          TILTON             IL   61833‐8146
SANDERS, MARJORIE M   732 S STATELINE RD                                                                   MASURY             OH   44438‐1648
SANDERS, MARJORIE M   728 S STATELINE RD                                                                   MASURY             OH   44438‐1648
SANDERS, MARK S       311 HORACE                                                                           PERRY              MI   48872‐9108
SANDERS, MARTHA L     5062 GLENMORE RD                      C/O DARLA WENSEL                               ANDERSON           IN   46012‐9760
SANDERS, MARVIN L     14621 NORTHLAWN ST                                                                   DETROIT            MI   48238‐1890
SANDERS, MARY         721 BRASSFIELD RD                                                                    PONTOTOC           MS   38863‐7827
SANDERS, MARY A       15881 ASBURY PARK                                                                    DETROIT            MI   48227‐1551
SANDERS, MARY E       3125 DOT AVE                                                                         FLINT              MI   48506‐2147
SANDERS, MARY E       501 S 5TH ST                                                                         ODESSA             MO   64076‐1429
SANDERS, MARY E       501 SO 5TH                                                                           ODESSA             MO   64076
SANDERS, MARY E       753 E WALTON BLVD                                                                    PONTIAC            MI   48340‐1362
SANDERS, MARY F       1208 NORTH COUNTRY CLUB RD                                                           MUNCIE             IN   47303‐2648
SANDERS, MARY F       1208 N COUNTRY CLUB RD                                                               MUNCIE             IN   47303‐2648
SANDERS, MARY F       415 S AQUA CLEAR DR                                                                  MUSTANG            OK   73064‐1125
SANDERS, MARY G       1634 THUNDERBIRD DRIVE                                                               SAGINAW            MI   48609‐4243
SANDERS, MARY G       4304 PHEASANT DR                                                                     FLINT              MI   48506
SANDERS, MARY L       231 CHARLES LN                                                                       PONTIAC            MI   48341‐2930
SANDERS, MATILDA C    46 CARLA WAY                                                                         BROOMFIELD         CO   80020‐1140
SANDERS, MATTHEW      4527 18TH AVE E APT 1423                                                             TUSCALOOSA         AL   35405‐4347
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Name                         Address1                            Address2                       Address3   Address4         City            State Zip
SANDERS, MATTIE L            3311 STATE ST                                                                                  SAGINAW          MI 48602‐3352
SANDERS, MATTIE L            1560 N EUCLID AVE                                                                              DAYTON           OH 45406‐5921
SANDERS, MAURICE             1493 CENTER STAR RD                                                                            COLUMBIA         TN 38401‐7750
SANDERS, MAVIS               14A WILLIS RD                                                                                  PITTSVIEW        AL 36871‐2823
SANDERS, MAXINE D            14431 TRAVILLE GARDEN CIRCLE        APT 204D                                                   ROCKVILLE        MD 20850
SANDERS, MAYNARD             KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                               CLEVELAND        OH 44114
                                                                 BOND COURT BUILDING
SANDERS, MCCONNIE J          1011 SEARS ST                                                                                  SAGINAW         MI   48601‐1051
SANDERS, MCCONNIE JERMAINE   1011 SEARS ST                                                                                  SAGINAW         MI   48601‐1051
SANDERS, MELVIN E            4 COUNTRYSIDE LN                    BROOKWOOD PERCH                                            LITITZ          PA   17543‐9460
SANDERS, MICHAEL             6390 N OAK DR                                                                                  GLADWYN         MI   48624
SANDERS, MICHAEL             BARRON BARRON & TUCKER PA           212 CENTER ST STE 600                                      LITTLE ROCK     AR   72201‐2437
SANDERS, MICHAEL             3654 MARION COUNTY 8004                                                                        YELLVILLE       AR   72687‐9835
SANDERS, MICHAEL             8757 AITKEN ST                                                                                 MONTAGUE        MI   49437
SANDERS, MICHAEL A
SANDERS, MICHAEL E           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA 23510
                                                                 STREET, SUITE 600
SANDERS, MICHAEL J           1317 ROSE BOWER AVE                                                                            KETTERING       OH   45429‐5123
SANDERS, MICHAEL K           14800 S SADDLETREE LN                                                                          OLATHE          KS   66062‐4719
SANDERS, MICHAEL L           2757 OWENS DR UNIT 3‐14                                                                        HOUGHTON LAKE   MI   48629‐9046
SANDERS, MICHAEL L           4703 PALMER ST                                                                                 LANSING         MI   48910‐6228
SANDERS, MICHAEL S           1844 BLUEHILL DR NE                                                                            GRAND RAPIDS    MI   49525‐1153
SANDERS, MICHELLE            439 BURLEIGH AVE                                                                               DAYTON          OH   45417
SANDERS, MICHELLE I          90 RIVERWOOD DRIVE                                                                             NEW HAMPTON     NH   03256‐4108
SANDERS, MILDRED J           PO BOX 152                                                                                     INWOOD          WV   25428‐0152
SANDERS, MILDRED M           2669 WHITNEY                                                                                   DETROIT         MI   48206‐2336
SANDERS, MILDRED M           2669 WHITNEY ST                                                                                DETROIT         MI   48206‐2336
SANDERS, MILTON S            26843 STANFORD DR E                                                                            SOUTHFIELD      MI   48033‐6129
SANDERS, MINNIE              19 LANGDON RD                                                                                  BURLINGTON      NJ   08016‐2921
SANDERS, MINNIE LEE          707 E SEYMOUR ST                                                                               MUNCIE          IN   47302‐2467
SANDERS, MITCHELL            3213 W 29TH ST                                                                                 INDIANAPOLIS    IN   46222‐2115
SANDERS, MONNIE              1052 ELDORADO AVE                                                                              KETTERING       OH   45419‐2414
SANDERS, MURIEL Y            1645 BRIDLESPUR DR                                                                             WENTZVILLE      MO   63385‐2739
SANDERS, N J                 8690 HAMMONDWOOD RD S                                                                          JACKSONVILLE    FL   32221‐6530
SANDERS, NAMON               4489 DE FOREST ST 1135                                                                         LAS VEGAS       NV   89103
SANDERS, NAOMI G             676 N WEST GULLIVER LAKE RD                                                                    GULLIVER        MI   49840
SANDERS, NATHAN E            6000 E INLOW SPRINGS RD                                                                        MUNCIE          IN   47302‐9222
SANDERS, NATHANIEL           1027 JACKSON AVE                                                                               DEFIANCE        OH   43512‐2722
SANDERS, NATHANIEL           2214 KIPP CT                                                                                   SAINT LOUIS     MO   63136‐4409
SANDERS, NATHANIEL M         1225 S K ST                                                                                    ELWOOD          IN   46036‐2727
SANDERS, NEAL K              4476 LA BEAN CT                                                                                FLINT           MI   48506‐1448
SANDERS, NETTIE              55 BENTON PATH                                                                                 WAVERLY         GA   31565‐2847
SANDERS, NICOLE L            18944 MARK TWAIN ST                                                                            DETROIT         MI   48235‐2552
SANDERS, NICOLE M            126 CAMPBELL RD                                                                                BUFFALO         NY   14215
SANDERS, NORMA L             2760 CHEROKEE DRIVE #25                                                                        WATERFORD       MI   48328
SANDERS, NORMAN J            6452 W FRANWOOD CIR                                                                            YORKTOWN        IN   47396‐9618
SANDERS, NORMAN R            3127 COLUMBUS AVE                                                                              ANDERSON        IN   46016‐5441
SANDERS, NOVETTA             5866 BEATLE DRIVE                   APT C                                                      INDIANAPOLIS    IN   46216
SANDERS, NOVETTA             9509 VALLEY RANCH PKWY E APT 2033                                                              IRVING          TX   75063‐4920
SANDERS, ODELL               12 AIRWAY CIR APT 2A                                                                           TOWSON          MD   21286‐3425
SANDERS, OLLIE J             416 JAMES STREET                                                                               GREENVILLE      KY   42345‐2228
SANDERS, OLLIE J             416 JAMES ST                                                                                   GREENVILLE      KY   42345‐2228
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Name                    Address1                          Address2                      Address3   Address4         City               State Zip
SANDERS, ORA L          2204 SHELLEY DRIVE                                                                          ROCKFORD             IL 61101‐5255
SANDERS, OWEN L         2211 RUSSELL HOLLOW CIR                                                                     HARDY               AR 72542‐8908
SANDERS, PATRICIA       527 DARTMOUTH AVE.                                                                          BUFFALO             NY 14215
SANDERS, PATRICIA A     63 SANDELWOOD ST                                                                            SPRINGBORO          OH 45066‐5208
SANDERS, PATRICIA A     63 SANDLEWOOD                                                                               SPRINGBORO          OH 45066‐5066
SANDERS, PATRICIA A     7712 LAKESIDE RD                                                                            ONTARIO             NY 14519‐9349
SANDERS, PATRICIA A     1719 SHEFFIELD DR                                                                           YPSILANTI           MI 48198‐3633
SANDERS, PATRICIA E     3 EUFALA TRL                                                                                CHEROKEE VILLAGE    AR 72529‐2120
SANDERS, PATRICIA H     2114 NW 10TH ST                                                                             BLANCHARD           OK 73010‐3149
SANDERS, PAUL           PO BOX 5‐135                                                                                DETROIT             MI 48205
SANDERS, PAUL           6908 MAC AUTHOR BLVD                                                                        OAKLAND             CA 94605
SANDERS, PAUL C         26433 RIALTO ST                                                                             MADISON HEIGHTS     MI 48071‐3766
SANDERS, PAUL CARL      26433 RIALTO ST                                                                             MADISON HEIGHTS     MI 48071‐3766
SANDERS, PAUL D         PO BOX 364                                                                                  TANNER              AL 35671‐0364
SANDERS, PAUL G         26693 DARIA CIR W                 C/O GREGORY SANDERS                                       SOUTH LYON          MI 48178‐8093
SANDERS, PAUL J         2262 MERCURY ST                                                                             FT MITCHELL         KY 41017‐2003
SANDERS, PEGGY W        147 LINKS DR APT 1D                                                                         CANTON              MS 39046‐5213
SANDERS, PEGGY W        147 LINKS DR                      APT# 1‐D                                                  CANTON              MS 39046‐9046
SANDERS, PHILIP J       PO BOX 2735                                                                                 MANSFIELD           OH 44906‐0735
SANDERS, PHILIP R       GUY WILLIAM S                     PO BOX 509                                                MCCOMB              MS 39649‐0509
SANDERS, PHILLIP B      9040 STERLING LN                                                                            PORT RICHEY         FL 34668‐4960
SANDERS, PHILLIP E      9017 LONE OAK DR                                                                            SHREVEPORT          LA 71118‐2443
SANDERS, PHILLIP L      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                          STREET, SUITE 600
SANDERS, PHYLLIS T      415 EITEL PL                                                                                BROOKHAVEN         MS   39601‐2403
SANDERS, RANDALL G      6776 N COUNTY ROAD 600 E                                                                    BAINBRIDGE         IN   46105‐9411
SANDERS, RAY G          4769 LALLY DR                                                                               HOUSE SPRINGS      MO   63051‐2531
SANDERS, RAYMOND A      1233 ALA ALII ST APT 7                                                                      HONOLULU           HI   96818‐1878
SANDERS, RAYMOND F      PO BOX 910                                                                                  PIQUA              OH   45356‐0910
SANDERS, REBECCA S      7342 MEXICO RD                                                                              SAINT PETERS       MO   63376‐1307
SANDERS, REGINALD       8051 MARCUS ST                                                                              DETROIT            MI   48213‐2110
SANDERS, RICARDO D      4417 HARDING STREET                                                                         DETROIT            MI   48214‐1536
SANDERS, RICHARD A      484 CLINE RD                                                                                BOWLING GREEN      KY   42101‐8532
SANDERS, RICHARD A      1736 COLLINS HOLLOW RD                                                                      LEWISBURG          TN   37091‐4059
SANDERS, RICHARD C      APT 229                           223 NORTH MAIN STREET                                     EATON RAPIDS       MI   48827‐1285
SANDERS, RICHARD C      223 N MAIN ST                                                                               EATON RAPIDS       MI   48827‐1280
SANDERS, RICHARD D      1519 GURLEY PIKE                                                                            GURLEY             AL   35748‐9762
SANDERS, RICHARD L      20960 W DEER RIDGE DR                                                                       WARRENTON          MO   63383‐6550
SANDERS, RICHARD L      406 DRAKE RD                                                                                GALVESTON          IN   46932‐9406
SANDERS, RICHARD LEON   3529 SUMPTER ST                                                                             LANSING            MI   48911‐2620
SANDERS, RICHARD R      2704 SOUTHEAST TRAIL                                                                        SAINT JOSEPH       MO   64506‐1629
SANDERS, RICHARD R      920 N 82ND ST APT H14                                                                       SCOTTSDALE         AZ   85257‐3875
SANDERS, RICHIE M       559 THORNHILL CT                                                                            BELLEVILLE         MI   48111‐4929
SANDERS, RICKEY L       101 E 22ND ST                                                                               WILMINGTON         DE   19802‐4327
SANDERS, RICKIE R       28176 QUAIL HOLLOW RD                                                                       FARMINGTON HILLS   MI   48331‐5652
SANDERS, ROBERT         PORTER & MALOUF PA                4670 MCWILLIE DR                                          JACKSON            MS   39206‐5621
SANDERS, ROBERT         1220 SILVER PROSPECT DR                                                                     LAS VEGAS          NV   89108‐1869
SANDERS, ROBERT A       3350 FLO‐LOR DR                   APARTMENT 10                                              YOUNGSTOWN         OH   44511
SANDERS, ROBERT A       27474 COUNTY ROAD 0                                                                         CLOVERDALE         OH   45827
SANDERS, ROBERT A       7845 N COUNTY ROAD 400 W                                                                    MIDDLETOWN         IN   47356
SANDERS, ROBERT A       3350 FLO LOR DR APT 10                                                                      YOUNGSTOWN         OH   44511‐2745
SANDERS, ROBERT E       32 BANNER ST SW                                                                             GRAND RAPIDS       MI   49507‐2906
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Name                     Address1                           Address2                    Address3   Address4         City            State Zip
SANDERS, ROBERT E        8120 W COOLEY ST                                                                           YORKTOWN         IN 47396‐1429
SANDERS, ROBERT F        4254 BROOKHILL LN 310                                                                      DAYTON           OH 45405
SANDERS, ROBERT H        9454 ROLLING CIR                                                                           SAN ANTONIO      FL 33576‐4652
SANDERS, ROBERT K        3740 PINEBROOK CIR                 APT 608                                                 BRADENTON        FL 34209‐8055
SANDERS, ROBERT L        19807 GREENFIELD RD APT 15                                                                 DETROIT          MI 48235
SANDERS, ROBERT L        2582 SAGEFIELD DR                                                                          BUFORD           GA 30518‐2524
SANDERS, ROBERT L        2016 28TH AVE N APT 212                                                                    NASHVILLE        TN 37208‐1253
SANDERS, ROBERT L        PO BOX 11261                                                                               CONWAY           AR 72034‐0022
SANDERS, ROBERT LEE      19807 GREENFIELD RD APT 15                                                                 DETROIT          MI 48235
SANDERS, ROBERT M        560 W KALAMO HWY                                                                           CHARLOTTE        MI 48813‐9534
SANDERS, ROBERT O        4633 LAZY ACRES RD                                                                         PROTEM           MO 65733‐6278
SANDERS, ROBERT R        23425 W COUNTY ROAD 459                                                                    HILLMAN          MI 49746‐7957
SANDERS, ROBERT W        570 LINCOLN AVE                                                                            STRUTHERS        OH 44471‐1019
SANDERS, ROBERTA D       22903 SUN RIVER DRIVE                                                                      FRANKFORT         IL 60423‐7821
SANDERS, ROBERTA L       396 CHEROKEE DRIVE                                                                         DAYTON           OH 45427‐2013
SANDERS, ROBERTA R       5075 PRATT RD                                                                              METAMORA         MI 48455‐9634
SANDERS, ROBIN D         1937 SHADY LN                                                                              BEAVERCREEK      OH 45432‐2007
SANDERS, ROBIN L         224 DEWDROP                                                                                IRVINE           CA 92603
SANDERS, ROCHELLE        PO BOX 38542                                                                               SAINT LOUIS      MO 63138‐0542
SANDERS, RONALD E        6944 JEWELL NORTH RD                                                                       KINSMAN          OH 44428‐9526
SANDERS, RONALD EDWARD   6944 JEWELL NORTH RD                                                                       KINSMAN          OH 44428‐9526
SANDERS, RONALD H        6819 JOPPA RD                                                                              HURON            OH 44839‐9573
SANDERS, RONALD J        23700 CADILLAC HWY                                                                         COPEMISH         MI 49625‐9300
SANDERS, RONALD L        9851 BRADEN RD                                                                             HASLETT          MI 48840‐9229
SANDERS, RONNIE D        PO BOX 681                                                                                 ARDMORE          TN 38449‐0681
SANDERS, RONNIE L        1064 LOGAN ST SE                                                                           GRAND RAPIDS     MI 49506‐2533
SANDERS, ROSA            11409 ITASCA AVE                                                                           CLEVELAND        OH 44106‐1354
SANDERS, ROSA            11409 ITASCA                                                                               CLEVELAND        OH 44106‐1354
SANDERS, ROSCOE S        117 ALDINE ST                                                                              ROCHESTER        NY 14619
SANDERS, ROSE A          SHREWSBURY LUTHERAN RETIREMENT V   BARBRA J EGAN NURSING AND                               SHREWSBURY       PA 17361
                                                            REHABI
SANDERS, ROSE E          PO BOX 2043                                                                                MUSCLE SHOALS   AL   35662‐2043
SANDERS, ROSE M          4143 NORTHMEADOW CIR                                                                       TAMPA           FL   33618‐2724
SANDERS, ROSE MARIE      MOODY EDWARD O                     801 W 4TH ST                                            LITTLE ROCK     AR   72201‐2107
SANDERS, ROSETTA         3325 NONETTE DR                                                                            LANSING         MI   48911‐3336
SANDERS, ROYCE A         2008 FLAMINGO DR                                                                           MOUNT MORRIS    MI   48458‐2608
SANDERS, RUBEN C         100 HILLTOP DR                                                                             EARLEVILLE      MD   21919‐1820
SANDERS, RUBIN W         3797 LAKE TAHOE TRL                                                                        VIRGINIA BCH    VA   23453‐1849
SANDERS, RUBY M          PO BOX 13358                                                                               FLINT           MI   48501‐3358
SANDERS, RUFUS L         3701 VAN DYKE ST                                                                           DETROIT         MI   48214‐5103
SANDERS, RUTH            14621 NORTHLAWN ST                                                                         DETROIT         MI   48238‐1890
SANDERS, RUTH            18121 JAMESTOWN CIR                                                                        NORTHVILLE      MI   48168
SANDERS, RUTH E          546 BALLWOOD                                                                               BALLWIN         MO   63021
SANDERS, SABRINA M       1611 W GRAND AVE                                                                           DAYTON          OH   45402‐5839
SANDERS, SALLIE P        1493 CENTER STAR RD                                                                        COLUMBIA        TN   38401‐7750
SANDERS, SAM E           8601 BEECHDALE ST                                                                          DETROIT         MI   48204‐4671
SANDERS, SAM L           4541 MOUNT MORRIS RD                                                                       COLUMBIAVILLE   MI   48421‐8997
SANDERS, SAM LYNN        4541 MOUNT MORRIS RD                                                                       COLUMBIAVILLE   MI   48421‐8997
SANDERS, SAMANTHA L      1527 ROYAL OAKS DR                                                                         JANESVILLE      WI   53548‐1478
SANDERS, SAMMIE L        2414 N LASALLE ST                                                                          INDIANAPOLIS    IN   46218‐3725
SANDERS, SAMUEL          24202 SAMOSET TRL                                                                          SOUTHFIELD      MI   48033‐2822
SANDERS, SAMUEL D        6516 W STANLEY RD                                                                          MOUNT MORRIS    MI   48458‐9328
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Name                      Address1                      Address2              Address3       Address4         City               State Zip
SANDERS, SAMUEL DEVON     6516 W STANLEY RD                                                                   MOUNT MORRIS        MI 48458‐9328
SANDERS, SANDRA           25534 ARLINGTON ST                                                                  ROSEVILLE           MI 48066‐3920
SANDERS, SANDRA           PO BOX 647                                                                          MIDDLETOWN          OH 45042‐0647
SANDERS, SANDRA F         1175 PICKLE RD                                                                      CULLEOKA            TN 38451‐8059
SANDERS, SANDRA J         215 JOHNSON CIR                                                                     DEFIANCE            OH 43512‐1749
SANDERS, SARA M           150 ANTHONY ST                                                                      ROCHESTER           NY 14619‐1704
SANDERS, SARA M           150 ANTHONY STREET                                                                  ROCHESTER           NY 14619‐1704
SANDERS, SARINA C.        2052 THEODORE DR                                                                    INDIANAPOLIS        IN 46214‐4211
SANDERS, SAUL             PO BOX 88619                                                                        INDIANAPOLIS        IN 46208‐0619
SANDERS, SELAM S          37993 LANCASTER DR                                                                  FARMINGTON HILLS    MI 48331‐1755
SANDERS, SHARON           APT 4031                      23150 ORLEANS PLACE                                   SOUTHFIELD          MI 48033‐3325
SANDERS, SHARON           23150 ORLEANS PL APT 4031                                                           SOUTHFIELD          MI 48033‐3325
SANDERS, SHARON A         4426 SUMMERTIME CT SE                                                               KENTWOOD            MI 49508‐7522
SANDERS, SHARON ANNETTE   6426 REEDER RD                                                                      LYONS               MI 48851‐9794
SANDERS, SHARON D         37338 NEWBURY PL                                                                    PALMDALE            CA 93552‐4609
SANDERS, SHEILA           30588E SUNBURST ST                                                                  ROSEVILLE           MI 48066‐1672
SANDERS, SHERETHA E       6850 N AMES AVE APT D                                                               KANSAS CITY         MO 64151‐4857
SANDERS, SHERIE L         12098 FRANCESCA DRIVE                                                               GRAND BLANC         MI 48439‐1567
SANDERS, SHERIE LYNNE     12098 FRANCESCA DRIVE                                                               GRAND BLANC         MI 48439‐1567
SANDERS, SHERMAN          925 RHYTHMS DR                                                                      MODESTO             CA 95358‐8020
SANDERS, SHERMAN S        421 CASON RD                                                                        CEDARTOWN           GA 30125‐4007
SANDERS, SHIRLEY A        5307 MILLWOOD DR                                                                    FLINT               MI 48504‐1129
SANDERS, SHIRLEY A        3927 ROSEFINCH CIR                                                                  INDIANAPOLIS        IN 46228‐1092
SANDERS, SHIRLEY ANN      3927 ROSEFINCH CIR                                                                  INDIANAPOLIS        IN 46228‐1092
SANDERS, STEPHANIE D      433 CHARLES GRIGGS ST                                                               RIPLEY              TN 38063‐3415
SANDERS, STEPHEN          1413 EAGLES GROVE CT                                                                WHITEFORD           MD 21160‐1417
SANDERS, STEPHEN P        1183 EAST GRAY ST                                                                   WAYLAND             MI 49348
SANDERS, STEVEN E         9655 HOLMES HWY                                                                     EATON RAPIDS        MI 48827‐9508
SANDERS, SUSAN A          1381 LAKESHORE DR                                                                   COLUMBIAVILLE       MI 48421‐9772
SANDERS, SUSAN M          218 WESTBROOK                                                                       WHITMORE LAKE       MI 48189‐8209
SANDERS, SUSAN MARIE      218 WESTBROOK                                                                       WHITMORE LAKE       MI 48189‐8209
SANDERS, SYDNEY A         11000 SHORT‐A‐ROSA DR                                                               NORMAN              OK 73026
SANDERS, T B              735 E LYNDON AVE                                                                    FLINT               MI 48505‐2953
SANDERS, TANYA R          3101 MILBOURNE AVE                                                                  FLINT               MI 48504‐2639
SANDERS, TANYA RENEE      3101 MILBOURNE AVE                                                                  FLINT               MI 48504‐2639
SANDERS, TEDDY C          8941 KING GRAVES RD NE                                                              WARREN              OH 44484‐1122
SANDERS, TERRELL E        1318 FITZHUGH ST                                                                    SAGINAW             MI 48601‐1616
SANDERS, TERRI A          1001 W WASHINGTON CIR                                                               TECUMSEH            OK 74873‐2613
SANDERS, TERRI ANN        1001 WEST WASHINGTON CIRCLE                                                         TECUMSEH            OK 74873‐2613
SANDERS, TERRY D          105 E HARWOOD RD                                                                    EULESS              TX 76039‐3400
SANDERS, TERRY DONELL     105 E HARWOOD RD                                                                    EULESS              TX 76039‐3400
SANDERS, TERRY J          1527 ROYAL OAKS DR                                                                  JANESVILLE          WI 53548‐1478
SANDERS, TERRY L          17409 NEW HAMPSHIRE DR                                                              SOUTHFIELD          MI 48075‐2794
SANDERS, THOMAS A         443 MAJESTIC DR                                                                     DAYTON              OH 45427‐2821
SANDERS, THOMAS B         3443 WEATHERED ROCK CIR                                                             KOKOMO              IN 46902‐6064
SANDERS, THOMAS G         1977 GLENFIELD RD                                                                   ORTONVILLE          MI 48462‐8443
SANDERS, THOMAS J         5626 HOLMES HWY                                                                     EATON RAPIDS        MI 48827‐9553
SANDERS, THOMAS L         4277 E ATHERTON RD                                                                  BURTON              MI 48519‐1439
SANDERS, THOMAS W         4555 E HACKER CREEK RD                                                              MARTINSVILLE        IN 46151‐9357
SANDERS, TIMOTHY D        PO BOX 313                                                                          CLIO                MI 48420‐0313
SANDERS, TIMOTHY L        2126 OBRIEN RD                                                                      MOUNT MORRIS        MI 48458‐2640
SANDERS, TODD M           22903 SUN RIVER DRIVE                                                               FRANKFORT            IL 60423‐7821
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Name                       Address1                           Address2            Address3     Address4         City               State Zip
SANDERS, TOM               3806 W 87TH ST                                                                       CHICAGO              IL 60652‐3746
SANDERS, TOMAS E           630 EDISON AVE                                                                       LANSING             MI 48910‐3325
SANDERS, TOMMIE L          1201 S. WARREN                                                                       SAGINAW             MI 48601‐2750
SANDERS, TOMMIE L          1201 S WARREN AVE                                                                    SAGINAW             MI 48601‐2750
SANDERS, TOMMY C           RR 2 BOX 92                                                                          VIAN                OK 74962‐9235
SANDERS, TOMMY P           1204 W CARTERS VALLEY RD                                                             KINGSPORT           TN 37660‐6836
SANDERS, TONYA D           600 LITTLE MEADOW DR                                                                 DAYTON              OH 45404‐1448
SANDERS, TONYA D           2210 ESMERALDA AVE                                                                   DAYTON              OH 45406
SANDERS, TORRANCE A        2103 EAST GREENSPOINT COURT                                                          ARLINGTON           TX 76001‐6773
SANDERS, TORRANCE ARMOND   2103 EAST GREENSPOINT COURT                                                          ARLINGTON           TX 76001‐6773
SANDERS, TRACIE L          5404 DELAND ROAD                                                                     FLUSHING            MI 48433‐2902
SANDERS, TRACY D           5133 MAIN ST                                                                         ANDERSON            IN 46013‐4824
SANDERS, TYRONE B          5036 HIGHWOOD DR                                                                     FLINT               MI 48504‐1218
SANDERS, TZENA             1216 GINSBERG DR                                                                     DAYTONA BEACH       FL 32114‐2332
SANDERS, TZENA             TEZENA SANDERS                     1216 GINSBERG DR                                  DAYTONA BEACH       FL 32114
SANDERS, VAUGHN R          PO BOX 573                                                                           WENTZVILLE          MO 63385‐0573
SANDERS, VERLENE           PO BOX 373                                                                           MINDEN              LA 71058‐0373
SANDERS, VERNA M           705 CRANE WAY                                                                        TUNNEL HILL         GA 30755‐9525
SANDERS, VERNON U          113 COUNTY ROAD BOO1                                                                 BELLEVIEW           MO 63623‐6307
SANDERS, VERONA E          SHANNON LAW FIRM                   100 W GALLATIN ST                                 HAZLEHURST          MS 39083‐3007
SANDERS, VERONICA J        5903 SENECA TRL                                                                      KOKOMO              IN 46902‐5550
SANDERS, VICKI L           1916 FAIR FIELD DR                                                                   GRAPEVINE           TX 76051‐7100
SANDERS, VIOLA J.          195 HUDSON BAY LN                                                                    GREENWOOD           IN 46142‐4728
SANDERS, VIOLA J.          239 E. MORRIS                                                                        MARTINSVILLE        IN 46151‐2521
SANDERS, VIRGINIA          4205 HYANNIS COURT                                                                   GROVETOWN           GA 30813
SANDERS, VIRGINIA          249 HARP ST SE                                                                       GRAND RAPIDS        MI 49548‐4337
SANDERS, VIRGINIA A        16432 FM 3079                                                                        CHANDLER            TX 75758
SANDERS, WALTER A          8969 MINK RD                                                                         HARBOR SPRINGS      MI 49740‐9593
SANDERS, WALTER E          64 N EDITH ST                                                                        PONTIAC             MI 48342‐2935
SANDERS, WANDA
SANDERS, WANDA             610 CLAY ST                                                                          MARION             AL   36756‐2412
SANDERS, WARNER L          6 ORANGE TREE CIR                                                                    ROCHESTER          NY   14624‐3345
SANDERS, WAYNE             377 FM 2149 E                                                                        NEW BOSTON         TX   75570‐7206
SANDERS, WAYNE C           21398 GREENVIEW RD                                                                   SOUTHFIELD         MI   48075‐4135
SANDERS, WAYNE W           3305 GRATIOT AVE                                                                     FLINT              MI   48503‐4908
SANDERS, WILBERT L         17518 2ND AVE                                                                        DETROIT            MI   48203‐1811
SANDERS, WILLARD I         197 BEAM DR                                                                          FRANKLIN           OH   45005‐2003
SANDERS, WILLIAM           PORTER & MALOUF PA                 4670 MCWILLIE DR                                  JACKSON            MS   39206‐5621
SANDERS, WILLIAM C         1522 STATE ROUTE 230                                                                 DUNDEE             NY   14837‐9417
SANDERS, WILLIAM D         1114 PHYLLIS DR                                                                      NEW CASTLE         IN   47362‐1444
SANDERS, WILLIAM E         39 VAN TERRACE                                                                       SPARKILL           NY   10976‐1403
SANDERS, WILLIAM E         7241 E COUNTY ROAD 200 N                                                             AVON               IN   46123‐8551
SANDERS, WILLIAM G         PO BOX 38542                                                                         SAINT LOUIS        MO   63138‐0542
SANDERS, WILLIAM H         7265 WHITEFORD CENTER RD APT 206                                                     OTTAWA LAKE        MI   49267‐9609
SANDERS, WILLIAM J         601 FONGER ST NE                                                                     SPARTA             MI   49345‐8327
SANDERS, WILLIAM J         1812 BROADWAY ST                                                                     ANDERSON           IN   46012‐2449
SANDERS, WILLIAM K         715 SATTERLEE RD                                                                     BLOOMFIELD HILLS   MI   48304‐3149
SANDERS, WILLIAM L         17645 LAKEPORT AVE                                                                   CLEVELAND          OH   44119
SANDERS, WILLIAM L         240 SANDERS CIR                                                                      ABBEVILLE          SC   29620
SANDERS, WILLIAM T         2008 FAIRFAX ST                                                                      SAGINAW            MI   48601‐4106
SANDERS, WILLIE            4271 GAYUGA TRAIL                                                                    FLINT              MI   48532
SANDERS, WILLIE            4271 CAYUGA TRAIL                                                                    FLINT              MI   48532‐3581
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Name                                 Address1                          Address2                        Address3   Address4         City            State Zip
SANDERS, WILLIE                      410 RALPH ST                                                                                  SOMERSET         NJ 08873‐3142
SANDERS, WILLIE A                    2535 MCAFEE RD                                                                                DECATUR          GA 30032‐4160
SANDERS, WILLIE G                    66 W MARGARET ST                                                                              DETROIT          MI 48203‐1909
SANDERS, WILLIE G                    PO BOX 254                                                                                    PALMETTO         LA 71358‐0254
SANDERS, WILLIE J                    3363 SHILOH SPRINGS RD APT C                                                                  TROTWOOD         OH 45426‐2274
SANDERS, WILLIE J                    1801 W OTTAWA ST                                                                              LANSING          MI 48915‐1778
SANDERS, WILLIE L                    2914 CONCORD ST                                                                               FLINT            MI 48504‐3040
SANDERS, WILLIE L                    6094 DUNHAM RD                                                                                MAPLE HEIGHTS    OH 44137‐4465
SANDERS, WILLIE LEE                  2914 CONCORD ST                                                                               FLINT            MI 48504‐3040
SANDERS, WILLIE M                    5306 WINSFORD BY WAY                                                                          FLINT            MI 48506‐1341
SANDERS, WILLIE MAE                  5306 WINSFORD BY WAY                                                                          FLINT            MI 48506‐1341
SANDERS, WILLIE P                    14406 JAMESTOWN BAY DR                                                                        FLORISSANT       MO 63034‐1744
SANDERS, WILLIE PATRICK              14406 JAMESTOWN BAY DR                                                                        FLORISSANT       MO 63034‐1744
SANDERS, WILLIE R                    702 FATHER DUKETTE BLVD #507                                                                  FLINT            MI 48503‐1655
SANDERS, WILLIS O                    RR 1 BOX 270S                                                                                 MARION           AL 36756‐9179
SANDERS, WINIFRED                    3494 STUDOR RD                                                                                SAGINAW          MI 48601‐5739
SANDERS, YVONNE M                    822 KENNELWORTH AVE                                                                           FLINT            MI 48503
SANDERS, ZACHARY T                   2303 BEAR FOUNTAIN RUN                                                                        WENTZVILLE       MO 63385‐3513
SANDERS, ZENOBIA                     18314 INDIANA ST                                                                              DETROIT          MI 48221‐2071
SANDERS,ADAM M                       8099 TIPSICO TRL                                                                              HOLLY            MI 48442‐8986
SANDERS,LARRY W                      820 GLENSDEL DR                                                                               DAYTON           OH 45417‐8859
SANDERS‐COTTON, JOANNE               931 W 65TH ST APT 2                                                                           LOS ANGELES      CA 90044‐5377
SANDERS‐HICKS, JAMIE D               717 CATHAY ST                                                                                 SAGINAW          MI 48601‐1371
SANDERS‐JACKSON, SUSAN C             716 GAMEWELL DR                                                                               MIAMISBURG       OH 45342‐2730
SANDERS‐MARSHALL, BEVERLY L          1509 WESTWOOD DR                                                                              FLINT            MI 48532‐2671
SANDERS‐PEARSON, ALDEEN              61 N EDITH ST                                                                                 PONTIAC          MI 48342‐2936
SANDERS‐TRIPLETT, LORNA L            4711 ANSON ST                                                                                 LANSING          MI 48911‐2803
SANDERS/WINGO ADVERTISING INC        221 N KANSAS ST STE 900                                                                       EL PASO          TX 79901‐1432
SANDERS/WINGO ADVERTISING INC
SANDERSFIELD, BETTY L                1124 WALDMAN AVE                                                                              FLINT           MI   48507‐4816
SANDERSFIELD, DAVID M                15116 EDNA RD                                                                                 OKLAHOMA CITY   OK   73165‐6722
SANDERSON ALGERT A                   1821 VALENCIA DR                                                                              ROCKFORD        IL   61108‐6815
SANDERSON AUTO REPAIR                131 W COLLEGE ST                                                                              ALBERT LEA      MN   56007‐2607
SANDERSON FARMS, INC.                LORRI DEVEREAUX                   225 N 13TH AVE                                              LAUREL          MS   39440‐4109
SANDERSON GLORIA                     PO BOX 241                                                                                    BELDEN          MS   38826‐0241
SANDERSON IND                        DAVID SHAW                        3550 ATLANTA IND. PKWAY                                     GREENVILLE      OH
SANDERSON INDUSTRIES INC             3550 ATLANTA INDUSTRIAL PKWY NW                                                               ATLANTA         GA   30331‐1002
SANDERSON INDUSTRIES INC             DAVID SHAW                        3550 ATLANTA INDUSTRIAL PKWY                                ATLANTA         GA   30331‐1002
                                                                       NW
SANDERSON J D (ESTATE OF) (489222)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                       PROFESSIONAL BLDG
SANDERSON JAIME                      9132 GREEN APPLE WAY                                                                          TOANO           VA 23168‐9620
SANDERSON JOHN                       PO BOX 970652                                                                                 YPSILANTI       MI 48197‐0811
SANDERSON JOHN SR (ESTATE OF)        BIFFERATO GENTILOTTI & BIDEN      PO BOX 2165                                                 WILMINGTON      DE 19899‐2165
(634494)
SANDERSON JR, SHIRLEY Z              44 6TH ST W APT 6                                                                             BILLINGS        MT   59101‐3021
SANDERSON JR, WINNIE E               6988 MCKEAN RD LOT 117                                                                        YPSILANTI       MI   48197‐9799
SANDERSON JR., WHITMEL F             32060 SHOREWOOD RD                                                                            GALENA          MD   21635‐1813
SANDERSON JR., WHITMEL FRANCIS       32060 SHOREWOOD RD                                                                            GALENA          MD   21635‐1813
SANDERSON LARRY                      1332 BROADWAY ST                                                                              PADUCAH         KY   42001‐2504
SANDERSON MELVIN M (481282)          KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                               CLEVELAND       OH   44114
                                                                       BOND COURT BUILDING
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Name                        Address1                         Address2         Address3         Address4         City              State Zip
SANDERSON ROBERT (517653)   BRAYTON PURCELL                  PO BOX 6169                                        NOVATO             CA 94948‐6169
SANDERSON, AFTERN W         26380 PARKLANE DR                                                                   EUCLID             OH 44132‐2340
SANDERSON, ALGERT A         1821 VALENCIA DR                                                                    ROCKFORD            IL 61108‐6815
SANDERSON, ALLAN L          3101 TRAIL LAKE DR                                                                  GRAPEVINE          TX 76051‐2649
SANDERSON, ARLENE A         7794 FAIRLAWN AVE                                                                   JENISON            MI 49428‐7708
SANDERSON, BARBARA A        3550 WOODCREST                                                                      ROCHESTER HILLS    MI 48309‐3965
SANDERSON, BESSIE MAE       26380 PARK LN DR                                                                    EUCLID             OH 44132‐2340
SANDERSON, BETTY J          15 MERRILL CREEK                                                                    WASHINGTON         NJ 07882‐3711
SANDERSON, BRET A           4611 W 41ST PL                                                                      GARY               IN 46408‐3063
SANDERSON, BRUCE F          1363 PEMBROKE LN                                                                    OXFORD             MI 48371‐5925
SANDERSON, CARL J           2133 N PIKE RD                                                                      BEDFORD            IN 47421‐6604
SANDERSON, CAROL A.         806 N GRAND AVE                                                                     INDEPENDENCE       MO 64050‐2418
SANDERSON, CAROL N          2552 COLVIN BLVD                                                                    TONAWANDA          NY 14150‐4421
SANDERSON, CHARLES R        391 WOODSTOCK RD                                                                    EASTLAKE           OH 44095‐2749
SANDERSON, CLARK G          6153 S SEELEY AVE                                                                   CHICAGO             IL 60636‐2160
SANDERSON, DAVID E          5 WILLOW ST                                                                         OXFORD             MI 48371‐4676
SANDERSON, DAVID E          4748 GRANDWOODS DR                                                                  LANSING            MI 48917‐1330
SANDERSON, DAVID M          95 GREENWAY BLVD                                                                    CHURCHVILLE        NY 14428‐9207
SANDERSON, DAVID R          3874 GING‐FRED RD                                                                   TIPP CITY          OH 45371
SANDERSON, DONALD L         33540 HIVELEY ST                                                                    WESTLAND           MI 48186‐4845
SANDERSON, DONALD P         1526 KINGSTON AVE                                                                   N TONAWANDA        NY 14120‐2013
SANDERSON, DORIS            1034 KREIS LN                                                                       CINCINNATI         OH 45205‐1524
SANDERSON, EDWARD H         5445 WOODHILL CIR                                                                   TUSCALOOSA         AL 35405‐7007
SANDERSON, EUGENE G         3651 SUSSEX DR                                                                      LAMBERTVILLE       MI 48144‐9512
SANDERSON, GARY W           611 S JEFFERSON ST                                                                  SAGINAW            MI 48604‐1453
SANDERSON, HAROLD S         110 LINSTONE AVE                                                                    NEW CASTLE         DE 19720‐2027
SANDERSON, HELEN B          501 TIDEPOINTE WAY APT 5111                                                         HILTON HEAD        SC 29928‐3053
SANDERSON, HELEN R          41 OAK ST                                                                           TRENTON            NJ 08638‐5112
SANDERSON, JAMES A          531 BRENDA DR                                                                       MADISON            AL 35758‐1361
SANDERSON, JAMES D          48669 SUTTON BAY CT                                                                 SHELBY TWP         MI 48315‐4282
SANDERSON, JAMES W          349 BRIGHTMOOR ST                                                                   TEMPERANCE         MI 48182‐1195
SANDERSON, JANET M          831 W GRAND RIVER AVE                                                               PORTLAND           MI 48875‐1126
SANDERSON, JEANETTE M       693 S LEAVITT RD                                                                    LEAVITTSBURG       OH 44430‐9726
SANDERSON, JEFFREY P        16403 LYNETTE DR                                                                    MACOMB             MI 48042‐5813
SANDERSON, JOHN             BIFFERATO GENTILOTTI & BIDEN     PO BOX 2165                                        WILMINGTON         DE 19899‐2165
SANDERSON, JOHN E           PO BOX 970652                                                                       YPSILANTI          MI 48197‐0811
SANDERSON, JOHN R           1090 JACKSON STREET                                                                 ROCK SPRINGS       WY 82901‐4815
SANDERSON, JOSEPHINE        4416 NE SUNNYBROOK LN                                                               KANSAS CITY        MO 64117‐1922
SANDERSON, JOSEPHINE        4416 N E SUNNYBROOK LANE                                                            KANSAS CITY        MO 64117‐1922
SANDERSON, JOYCE A          345 NICKLAUS BLVD                                                                   FORT MYERS         FL 33903‐5603
SANDERSON, KAREN C          2110 TOBYNE DR APT 1                                                                BELVIDERE           IL 61008‐1822
SANDERSON, KEITH E          3341 S LAKEVIEW CT                                                                  SHELBY             MI 49455‐9345
SANDERSON, KENT D           225 VARNER DRIVE SOUTHWEST                                                          MC DONALD          TN 37353‐5631
SANDERSON, LOIS A           906 MCDANIEL ST                                                                     SUN CITY CENTER    FL 33573‐7010
SANDERSON, LOIS C           920 ELDERBERRY ST                                                                   TUPELO             MS 38801
SANDERSON, LOYD W           1603 BROOKHAVEN STREET                                                              CLEBURNE           TX 76033‐7902
SANDERSON, LYNDA            7640 DOWNING ST                                                                     DAYTON             OH 45414‐2421
SANDERSON, MARGARET A       1192 FAIRCHILD DR                                                                   HUBBARD            OH 44425‐1224
SANDERSON, MARSHALL         PO BOX 128                                                                          LAWTON             MI 49065‐0128
SANDERSON, MARY             4511 W FOX FARM RD                                                                  MANISTEE           MI 49660‐8505
SANDERSON, MARY D           3350 EAGLE HARBOR WATERPORT RD                                                      ALBION             NY 14411‐9067
SANDERSON, MARY H           319 S DENNY DR                                                                      NEW CASTLE         IN 47362‐9137
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Name                            Address1                          Address2                       Address3   Address4         City            State Zip
SANDERSON, MARY H               319 S DENNEY DR                                                                              NEW CASTLE       IN 47362
SANDERSON, MELVIN M             KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND        OH 44114
                                                                  BOND COURT BUILDING
SANDERSON, MICHAEL J            3170 ORCHARD LAKE RD LOT 13                                                                  KEEGO HARBOR    MI   48320‐1252
SANDERSON, MILDRED              830 N SHORE DR NE APT 9D                                                                     ST PETERSBURG   FL   33701‐2045
SANDERSON, NANCY B              1954 COLONIAL OAKS DR                                                                        MOBILE          AL   36618‐2459
SANDERSON, NORMAN P             21202 HIGH DR                                                                                LAGO VISTA      TX   78645‐6503
SANDERSON, ODELL                2204 ROBBIE AVE                                                                              MUSCLE SHOALS   AL   35661‐2656
SANDERSON, PAUL J               112 TEN OAKS DRIVE WEST                                                                      HENDERSONVLLE   TN   37075‐4094
SANDERSON, PHILLIP G            904 MOORE ST                                                                                 OWOSSO          MI   48867‐1933
SANDERSON, PHILLIP M            154 HENDERSON ST                                                                             MOULTON         AL   35650‐5741
SANDERSON, RANDY L              PO BOX 129                                                                                   NIOTA           TN   37826‐0129
SANDERSON, RICHARD H            11314 US HIGHWAY 31 S                                                                        WILLIAMSBURG    MI   49690‐9405
SANDERSON, RICHARD J            6038 SHERWOOD DR                                                                             NASHVILLE       TN   37215‐5733
SANDERSON, RICHARD L            224 W MCNEIL ST                                                                              CORUNNA         MI   48817‐1622
SANDERSON, ROBERT               GUY WILLIAM S                     PO BOX 509                                                 MCCOMB          MS   39649‐0509
SANDERSON, ROBERT               BRAYTON PURCELL                   PO BOX 6169                                                NOVATO          CA   94948‐6169
SANDERSON, ROBERT J             5281 RAVENSWOOD RD                                                                           KIMBALL         MI   48074‐3216
SANDERSON, ROBERT W             23239 OAK PRAIRIE CIR                                                                        SORRENTO        FL   32776‐8616
SANDERSON, ROGER W              937 SHELBY ONTARIO RD                                                                        MANSFIELD       OH   44906‐1039
SANDERSON, RONALD A             11345 STATE HIGHWAY M28                                                                      NEWBERRY        MI   49858‐7799
SANDERSON, RUTHIE J             357 W LANSDOWNE AVE                                                                          ORANGE CITY     FL   32763‐4862
SANDERSON, SCOTT T              32718 GRAND RIVER AVE             B2                                                         FARMINGTON      MI   48336
SANDERSON, SHIRLEY              35 BEALE AVE                                                                                 CHEEKTOWAGA     NY   14225‐2008
SANDERSON, SHIRLEY              35 BEALE AVENUE                                                                              CHEEKTOWAGA     NY   14225‐2008
SANDERSON, STEVEN F             35468 STATE ROUTE 172                                                                        LISBON          OH   44432‐9488
SANDERSON, SUE LYNN             10413 TOLL HOUSE WAY                                                                         FISHERS         IN   46037‐7936
SANDERSON, SUSAN                52075 CORNERSTONE CT 77                                                                      MACOMB          MI   48042
SANDERSON, TERRY L              9600 MIAMI BEACH RD                                                                          WILLIAMSBURG    MI   49690‐9728
SANDERSON, THOMAS C             12330 NOONAN CT                                                                              UTICA           MI   48315‐5867
SANDERSON, THOMAS H             260 FLATWOODS RD                                                                             TUSCUMBIA       AL   35674‐6567
SANDERSON, THOMAS J             977 OLD FERRY RD                                                                             SHADY COVE      OR   97539‐9723
SANDERSON, TODD A               78 DENNISON ST                                                                               OXFORD          MI   48371‐4815
SANDERSON, TOMMIE               1603 BROOKHAVEN ST                                                                           CLEBURNE        TX   76033‐7902
SANDERSON, TOMMIE               304 WESTMEADOW DR                                                                            CLEBURNE        TX   76033‐4131
SANDERSON, WILLIAM J            217 STRIETER DR                                                                              SAGINAW         MI   48609‐5258
SANDERSON/ATLANTA               3550 ATLANTA INDUSTRIAL PKWY NW                                                              ATLANTA         GA   30331‐1002
SANDESTIN BEACH RESORT & CLUB   9300 US HIGHWAY 98 W                                                                         DESTIN          FL   32550‐7268
SANDESTIN GOLF & BEACH RESORT   9300 US HIGHWAY 98 W                                                                         SANDESTIN       FL   32550‐7268
SANDEY, REGINALD J              3230 CROISSANT STREET                                                                        DEARBORN        MI   48124‐4338
SANDFEST                        C/O ELLEECE CALVERT               PO BOX 1076                                                PORT ARANSAS    TX   78373‐1076
SANDFORD KLEINE                 1556 S MT NEBO RD                                                                            MARTINSVILLE    IN   46151‐6189
SANDFORD, CHARLES L             8310 DUFFIELD RD                                                                             GAINES          MI   48436‐9794
SANDFORD, CYRIL                 4667 ASPEN DR                                                                                LIBERTY TWN     OH   45011‐7237
SANDFORD, DAVID L               556 HOWLAND WILSON RD SE                                                                     WARREN          OH   44484‐2508
SANDFORD, JEANNE M              15773 VIA TERESA                                                                             SAN LORENZO     CA   94580‐1357
SANDFORD, KITTY L               130 W MAPLE STREET                #125                                                       GLADWIN         MI   48624
SANDFORD, OSMOND B              633 ARCADE ST APT 1                                                                          GLADWIN         MI   48624
SANDFORD, RITA R                2206 W PASADENA                                                                              FLINT           MI   48504‐2556
SANDHAGE, KENNETH P             586 E COUNTY ROAD 900 S                                                                      WESTPORT        IN   47283‐9181
SANDHAGEN GEORGE                PO BOX 234                                                                                   TOLONO          IL   61880‐0234
SANDHAM, JERRY M                17 EASTERN DR                                                                                KENDALL PARK    NJ   08824‐1321
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Name                           Address1                          Address2                      Address3                  Address4             City             State Zip
SANDHAM, THOMAS G              233 DEACON DR                                                                                                  PAWLEYS ISLAND    SC 29585‐7623
SANDHAR LOCKING DEVICES        3 HSIDC INDUSTRIAL AREA           SEC‐18 DELHI‐GURGAON RD                                 GURGAON HARYANA IN
                                                                                                                         122015 INDIA
SANDHOFF, DONALD E             1510 AUTUMN RD                                                                                                 SPRING HILL      FL 34608‐5223
SANDHOFF, HAZEL A              1510 AUTUMN RD                                                                                                 SPRING HILL      FL 34608‐5223
SANDHOP HERBERT H (429755)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                  NORFOLK          VA 23510
                                                                 STREET, SUITE 600
SANDHOP, HERBERT H             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                  NORFOLK          VA 23510‐2212
                                                                 STREET, SUITE 600
SANDHU, AMARJIT S              6853 N SILVERY LN                                                                                              DEARBORN HTS     MI   48127‐2140
SANDHU, CHAIN S                10313 7 MILE RD                                                                                                NORTHVILLE       MI   48167‐9116
SANDHU, KULDIP S               3032 HIDDEN TIMBER DR                                                                                          ORION            MI   48359‐1578
SANDHU, RAMNEEK K.             39829 SQUIRE RD                                                                                                NOVI             MI   48375‐3716
SANDHU, RAVI                   219 CENTRAL AVE                                                                                                METUCHEN         NJ   08840‐1208
SANDHU, VIRENDER               2866 PROVINCIAL DR                                                                                             ANN ARBOR        MI   48104‐4114
SANDHU,VIRENDER                2866 PROVINCIAL DR                                                                                             ANN ARBOR        MI   48104‐4114
SANDHYA RANI JETTI             APT 1310                          5600 ORANGETHORPE AVENUE                                                     LA PALMA         CA   90623‐1217
SANDI AUTO & TRUCK REPAIR      8475 CORCORAN RD                                                                                               WILLOW SPRINGS   IL   60480‐1658
SANDI HARDY                    PO BOX 2321                                                                                                    CLINTON          MS   39060‐2321
SANDI MARCHIONTE               550 W MARSHALL RD                                                                                              MC DONALD        OH   44437‐1656
SANDI POWELL                   3890 SODOM HUTCHINGS RD                                                                                        CORTLAND         OH   44410‐8709
SANDIA CORPORATION             PO BOX 969 MS‐9017                                                                                             LIVERMORE        CA   94551
SANDIA NATIONAL LABORATORIES   PO BOX 969                        MS 9290                                                                      LIVERMORE        CA   94551‐0969
SANDIA NATIONAL LABORATORIES   PO BOX 969                                                                                                     LIVERMORE        CA   94551‐0969
SANDIA NATIONAL LABORATORIES   LINDA A. HOUSTON                  PO BOX 969                                                                   LIVERMORE        CA   94551‐0969
SANDIA/DOE                     CARRIE BURCHARD                   7011 EAST AVE                 SANDIA NATIONAL                                LIVERMORE        CA   94550‐9610
                                                                                               LABORATORIES, BLDG. 928
SANDIDGE PAM                   121 KINGFISHER CT                                                                                              KINGSPORT        TN   37663‐2857
SANDIDGE, HARDIN T             2305 W POST OAK RD                                                                                             OLATHE           KS   66061‐5064
SANDIDGE, HARVEY               PORTER & MALOUF PA                4670 MCWILLIE DR                                                             JACKSON          MS   39206‐5621
SANDIDGE, JOHN G               11305 AZALEA DRIVE                                                                                             PITTSBURGH       PA   15235‐1823
SANDIDGE, MARY B               2175 W SHERIDAN STREET                                                                                         OLATHE           KS   66061
SANDIE CUNNINGHAM              19349 NORTHROP ST                                                                                              DETROIT          MI   48219‐5502
SANDIFAR, TROY D               809 W 14TH ST                                                                                                  MUNCIE           IN   47302‐7611
SANDIFER JR, ARCHIE L          1115 32ND AVE                                                                                                  BELLWOOD         IL   60104‐2412
SANDIFER, ARTIS                18630 WISCONSIN ST                                                                                             DETROIT          MI   48221‐2065
SANDIFER, AUBREY L             3629 VALLEY RD                                                                                                 JACKSON          MS   39212‐4940
SANDIFER, ERNESTINE            1944 CHANDLER DR                                                                                               JACKSON          MS   39213‐4429
SANDIFER, GARY ROSS            SHANNON LAW FIRM                  100 W GALLATIN ST                                                            HAZLEHURST       MS   39083‐3007
SANDIFER, GODFREY W            19960 BURGESS                                                                                                  DETROIT          MI   48219‐1327
SANDIFER, IRENE O              6122 BOWLING BROOK DR                                                                                          DALLAS           TX   75241‐2608
SANDIFER, JARED                301 HEREFORD RD LOT 1                                                                                          MONROE           LA   71202‐8112
SANDIFER, JARED S              301 HEREFORD RD LOT 1                                                                                          MONROE           LA   71202‐8112
SANDIFER, JARVIS A             3018 PINE TRAIL CT                                                                                             DALLAS           TX   75241‐5814
SANDIFER, JOYCE R              127 N CLEVELAND AVE                                                                                            BROOKHAVEN       MS   39601‐2713
SANDIFER, JOYCE R              127 N. CLEVELAND                                                                                               BROOKHAVEN       MS   39601‐2713
SANDIFER, JUDY K               6180 EVERGREEN DR                                                                                              WEST MILTON      OH   45383‐9732
SANDIFER, JUDY K               6180 SOUTH EVERGREEN DR                                                                                        WEST MILTON      OH   45383‐9732
SANDIFER, JULIA L              PO BOX 2335                                                                                                    HARVEY           IL   60426
SANDIFER, KIRK P               1260 E ROBERT ST                                                                                               FORT WORTH       TX   76104
SANDIFER, LOVIE M              306 N CAMPBELL AVE                                                                                             MARION           IN   46952‐3026
SANDIFER, MICHAEL E            127 N CLEVELAND AVE                                                                                            BROOKHAVEN       MS   39601‐9601
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Name                              Address1                           Address2                      Address3   Address4               City               State Zip
SANDIFER, MICHAEL E               175 W BAY ST                                                                                       MAGNOLIA            MS 39652
SANDIFER, ROYCE                   301 HEREFORD RD                                                                                    MONROE              LA 71202‐8112
SANDIFER, ROYCE S                 301 HEREFORD RD                                                                                    MONROE              LA 71202‐8112
SANDIFER, SANDRA L                6565 FOXRIDGE DR APT 328                                                                           MISSION             KS 66202‐1372
SANDIFER, WILLIAM                 GUY WILLIAM S                      PO BOX 509                                                      MCCOMB              MS 39649‐0509
SANDIFER, YOLONDA J               234 BROOKVIEW PL                                                                                   WOODSTOCK           GA 30188‐5388
SANDIFER, YOLONDA JOINER          234 BROOKVIEW PL                                                                                   WOODSTOCK           GA 30188‐5388
SANDIFER‐BYRD, WILDA M            2461 OKEMOS DR SE                                                                                  GRAND RAPIDS        MI 49506‐5354
SANDIFER‐BYRD, WILDA MAE          2461 OKEMOS DR SE                                                                                  GRAND RAPIDS        MI 49506‐5354
SANDIFORD, U L                    20128 WYOMING ST                                                                                   DETROIT             MI 48221‐1028
SANDIN, JANE C                    817 GOLFVIEW AVE                                                                                   YOUNGSTOWN          OH 44512‐2732
SANDIN, JOAN A                    2217 LEISURE WORLD                                                                                 MESA                AZ 85206‐5381
SANDIN, KENNETH D                 4639 TIPPECANOE RD                                                                                 YOUNGSTOWN          OH 44511‐3647
SANDIN, KIM K                     3452 N CEDAR RD                                                                                    FOWLERVILLE         MI 48836‐9232
SANDIN, RANDALL                   8462 SPRUCE PL SE                                                                                  SNOQUALMIE          WA 98065‐9558
SANDING DAVID E (494174)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510
                                                                     STREET, SUITE 600
SANDING, DAVID E                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510‐2212
                                                                     STREET, SUITE 600
SANDING, DONNA J                  125 N JOHN PAUL RD                                                                                 MILTON             WI    53563‐1216
SANDING, RUSSELL D                125 N JOHN PAUL RD                                                                                 MILTON             WI    53563‐1216
SANDIP DESHPANDE                  156 GREYSTONE LN APT 4                                                                             ROCHESTER          NY    14618‐4954
SANDIP DHOLAKIA                   16106 JUPITER HILLS DR                                                                             NORTHVILLE         MI    48168‐8628
SANDIP PATEL                      3 FERN CT                                                                                          SAYREVILLE         NJ    08872‐2102
SANDISON, CHARLES G               724 ALLSTON DR                                                                                     ROCHESTER HLS      MI    48309‐1656
SANDKAMP RON                      1262 270TH ST                                                                                      JANESVILLE         IA    50647‐9779
SANDKNOP THOMAS M                 SANDKNOP, SHARON E                 30928 FORD RD                                                   GARDEN CITY        MI    48135‐1803
SANDKNOP THOMAS M                 SANDKNOP, THOMAS M                 30928 FORD RD                                                   GARDEN CITY        MI    48135‐1803
SANDLAND AUTO AS                  BLODEKJAER 11                                                               ARENDAL N‐480 NORWAY
SANDLE, MARION B                  814 E 42ND ST                                                                                      CHICAGO            IL    60653
SANDLER & TRAVIS                  38345 WEST TEN MILE RD STE 200                                                                     FARMINGTON HILLS   MI    48335
SANDLER & TRAVIS TRADE            36555 CORPORATE DRIVE #400                                                                         FARMINGTON HILLS   MI    48331
SANDLER & TRAVIS TRADE ADVISORY   36555 CORPORATE DR STE 400                                                                         FARMINGTON HILLS   MI    48331‐3567
SERVICES
SANDLER & TRAVIS TRADE ADVISORY   5200 BLUE LAGOON DR STE 600                                                                        MIAMI               FL   33126‐7002
SERVICES INC
SANDLER & TRAVIS TRADE ADVISORY   PO BOX 523304                                                                                      MIAMI               FL   33152‐3304
SERVICES INC
SANDLER & TRAVIS TRADE ADVISORY   AL D'AMICO                         36555 CORPORATE DR STE 400                                      FARMINGTON HILLS   MI 48331‐3567
SERVICES, INC.
SANDLER DAVID (510596)            LIPMAN DAVID M                     5901 SW 74TH ST STE 304                                         MIAMI              FL    33143‐5163
SANDLER JR, JACK M                5946 CLAYBROOK DR                                                                                  BARGERSVILLE       IN    46106‐8397
SANDLER JR, JACK MAURICE          5946 CLAYBROOK DRIVE                                                                               BARGERSVILLE       IN    46106‐8397
SANDLER SEYMOUR                   618A LEMINGTON PLZ                                                                                 MONROE TOWNSHIP    NJ    08831‐7252
SANDLER TRAVIS & ROSENBERG PA     PO BOX 25477                                                                                       MIAMI              FL    33102
SANDLER, DAVID                    C/O THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD       SUITE 44                          CORAL GABLES       FL    33146
SANDLES AHMED (656487)            COON & ASSOCS BRENT                917 FRANKLIN ST STE 210                                         HOUSTON            TX    77002‐1751
SANDLES, AHMED                    COON & ASSOCS BRENT                917 FRANKLIN ST STE 210                                         HOUSTON            TX    77002‐1751
SANDLIN I I, JOHN H               2645 S SHERIDAN AVE                                                                                INDIANAPOLIS       IN    46203‐5840
SANDLIN II, JOHN                  2645 S SHERIDAN AVE                                                                                INDIANAPOLIS       IN    46203‐5840
SANDLIN ILENE                     4807 MILL CREEK PL                                                                                 DALLAS             TX    75244‐6913
SANDLIN JR, ANDREW L              11325 KNOLTON ST                                                                                   CLEVELAND          OH    44108
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Name                   Address1                       Address2            Address3         Address4         City             State Zip
SANDLIN JR, GARY M     6870 E 100 S                                                                         GREENTOWN         IN 46936‐9118
SANDLIN MOTORS, INC.   204‐6 E 16TH ST                                                                      MOUNT PLEASANT    TX 75455
SANDLIN MOTORS, INC.   JOE SANDLIN                    204‐6 E 16TH ST                                       MOUNT PLEASANT    TX 75455
SANDLIN, AARON P       754 VICTORIA AVE                                                                     FLINT             MI 48507‐1733
SANDLIN, AARON P.      754 VICTORIA AVE                                                                     FLINT             MI 48507‐1733
SANDLIN, BETTY S       RR 2 BOX 337                                                                         ALEXANDRIA        IN 46001
SANDLIN, BILLIE        1006 CHADFORD RD                                                                     IRMO              SC 29063‐2157
SANDLIN, BRENDA F      8364 VILLA MANOR DR MANOR                                                            GREENTOWN         IN 46936
SANDLIN, BRIAN M       9372 E 400 N                                                                         GREENTOWN         IN 46936‐8893
SANDLIN, BRITTANY L    11794 SOUTH WOLF CREEK PIKE                                                          BROOKVILLE        OH 45309‐8319
SANDLIN, CARTER H      5721 ANGIE DR                                                                        HILLIARD          OH 43026‐9622
SANDLIN, CHRISTINA L   3103 SETTING SUN BLVD                                                                SAGINAW           MI 48603‐5211
SANDLIN, CLARENCE G    125 JOHNSON RD                                                                       PULASKI           TN 38478‐8138
SANDLIN, CLAYTON       714 LELAND ST                                                                        FLINT             MI 48507‐2432
SANDLIN, DARRYL W      2983 VAUGHN BRIDGE RD                                                                HARTSELLE         AL 35640‐7846
SANDLIN, DONALD E      10939 HARNESS CT                                                                     INDIANAPOLIS      IN 46239‐8855
SANDLIN, DONALD G      7895 BEECH HILL RD                                                                   PULASKI           TN 38478‐7026
SANDLIN, DONALD L      1165 CARDINAL CIR                                                                    FRANKLIN          IN 46131‐2764
SANDLIN, ELMER J       8364 VILLA MANOR DR                                                                  GREENTOWN         IN 46936
SANDLIN, ERIC W        411 CLOVERLEAF DR                                                                    ATHENS            AL 35611‐4423
SANDLIN, FRED          116 BRADSHAW HILL RD                                                                 MC KEE            KY 40447‐9146
SANDLIN, GENEVA F      8954 CR 622A                                                                         BUSHNELL          FL 33513‐8620
SANDLIN, HERBERT B     12525 DIXIE HWY                                                                      HOLLY             MI 48442‐9402
SANDLIN, HERMAN        2707 WEAVER RD                                                                       BATAVIA           OH 45103‐8500
SANDLIN, HOWEL W       2588 EAGLE SCHOOL RD                                                                 MARTINSBURG       WV 25404‐0627
SANDLIN, JAMES R       5940 OAK HILL RD                                                                     ORTONVILLE        MI 48462‐8913
SANDLIN, JANICE M      466 COUNTY ROAD 534                                                                  MOULTON           AL 35650‐7589
SANDLIN, JENNIFER J    6870 E 100 S                                                                         GREENTOWN         IN 46936‐9118
SANDLIN, JESSE D       113 FRYE CT                                                                          NICHOLASVILLE     KY 40356‐1121
SANDLIN, JESSE D       113 FRYE COURT                                                                       NICHOLASVILLE     KY 40356‐0356
SANDLIN, JESSIE L      624 MOUNT PELIA RD                                                                   MARTIN            TN 38237‐5413
SANDLIN, JOAN M        720 HIGH STREET                                                                      HARTSELLE         AL 35640
SANDLIN, JOANN         4834 MONTROSE AVE                                                                    FORT WAYNE        IN 46806‐2255
SANDLIN, JOEL L        466 COUNTY RD 534                                                                    MOULTON           AL 35650
SANDLIN, LILLIE M      2230 KAJEAN AVE                                                                      DAYTON            OH 45439‐2724
SANDLIN, MALCOLM N     17400 OAKDALE RD                                                                     ATHENS            AL 35613‐5934
SANDLIN, MARY G        5160 MALLET CLUB DR.                                                                 DAYTON            OH 45439
SANDLIN, MELVIN        921 W 8TH ST                                                                         ANDERSON          IN 46016‐1271
SANDLIN, REBECCA L     803 N GRAHAM AVE                                                                     INDIANAPOLIS      IN 46219‐4522
SANDLIN, ROBERTA J     14 CEDAR ST                                                                          TEATICKET         MA 02536
SANDLIN, ROGER         106 N CAYCE LN                                                                       COLUMBIA          TN 38401‐5606
SANDLIN, ROSE M        2205 SHADY PARK DR                                                                   ARLINGTON         TX 76013‐5704
SANDLIN, RUDELL        7548 KATY DR                                                                         DAYTON            OH 45459‐3617
SANDLIN, RUDELL        7548 KATY DRIVE                                                                      DAYTON            OH 45459‐3617
SANDLIN, TERRY         2983 VAUGHN BRIDGE RD                                                                HARTSELLE         AL 35640
SANDLIN, TERRY P       2983 VAUGHN BRIDGE ROAD                                                              HARTSELLE         AL 35640‐7846
SANDLIN, THURSTON B    2534 E HILL RD                                                                       BELOIT            WI 53511‐2150
SANDLIN, TRACY G       24851 CHARLESTON PL                                                                  ATHENS            AL 35613
SANDLIN, VALERIE E     5044 HERTON DR                                                                       JACKSONVILLE      FL 32258‐3407
SANDLIN,TRACY G        24851 CHARLESTON PL                                                                  ATHENS            AL 35613‐5393
SANDMAN BROS., INC.    LARRY SANDMAN                  56 E BROADWAY ST                                      SHELBYVILLE       IN 46176‐1335
SANDMAN BROS., INC.    56 E BROADWAY ST                                                                     SHELBYVILLE       IN 46176‐1335
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Name                                 Address1                           Address2            Address3         Address4         City               State Zip
SANDMAN BROS., INC/ALAMO             56 E BROADWAY ST                                                                         SHELBYVILLE         IN 46176‐1335
SANDMAN BROS./ALAMO                  56 E BROADWAY ST                                                                         SHELBYVILLE         IN 46176‐1335
SANDMAN BROTHERS INC                 56 E BROADWAY ST                                                                         SHELBYVILLE         IN 46176‐1335
SANDMAN BROTHERS, INC. (ALAMO)       56 E BROADWAY ST                                                                         SHELBYVILLE         IN 46176‐1335
SANDMAN BROTHERS, INC./ALAMO RENT‐   56 E BROADWAY ST                                                                         SHELBYVILLE         IN 46176‐1335
A‐CAR
SANDMAN PRODUCTS LLC                 PO BOX 205                                                                               OSCEOLA            IN   46561‐0205
SANDMAN, AUGUST J                    125 WYNGATE RD                                                                           CORAOPOLIS         PA   15108‐1028
SANDMANN JR, NORMAN M                47709 GREENVIEW RD                                                                       SHELBY TOWNSHIP    MI   48317‐2833
SANDMOLD SYSTEMS INC                 313 W STAR RD                                                                            NEWAYGO            MI   49337
SANDMOLD SYSTEMS INC                 313 STATE RD                       PO BOX 488                                            NEWAYGO            MI   49337‐8145
SANDNER, MATTHEW P                   38133 MEDVILLE DR                                                                        STERLING HEIGHTS   MI   48312‐1258
SANDNESS JR, ARNOLD C                6872 ROSE GLEN DR                                                                        DAYTON             OH   45459‐1391
SANDO, DAVID M                       826 E GUILFORD ST                                                                        LEBANON            PA   17046‐8242
SANDO, DAVID M                       142 HINKLEY RD                                                                           WEST GARDINER      ME   04345‐3522
SANDO, ROBERT A                      13779 SE 85TH CIR                                                                        SUMMERFIELD        FL   34491‐9415
SANDOE, KATHLEEN M                   2629 AVIS DR                                                                             STERLING HTS       MI   48310‐5851
SANDOE, KATHLEEN MARIE               2629 AVIS DR                                                                             STERLING HTS       MI   48310‐5851
SANDOE, ROBERT E                     100 N ORCHARD DR                                                                         MUNCIE             IN   47303‐4542
SANDOE, STANLEY L                    6004 KIOWA ST                                                                            KOKOMO             IN   46902‐5518
SANDOE, STEVEN L                     8476 FARNUM AVE                                                                          WARREN             MI   48093‐4911
SANDOLFINI JR, ARNOLD                7815 W SOMERSET RD                                                                       APPLETON           NY   14008‐9687
SANDOLFINI, GLADYS                   1969 QUAKER RD                                                                           BARKER             NY   14012‐9622
SANDON, CATHERINE M                  6973 N ARDARA AVE                                                                        MILWAUKEE          WI   53209‐2910
SANDONA, GINO F                      379 CRANDON AVE                                                                          CALUMET CITY       IL   60409‐1802
SANDONA, OLINDO                      4112 N STATE RD                                                                          DAVISON            MI   48423‐8501
SANDONA, TONY J                      10205 E MOUNT MORRIS RD                                                                  DAVISON            MI   48423‐9349
SANDONATO, FRANK T                   4607 CREEK RD                                                                            LEWISTON           NY   14092‐1150
SANDONE PATRICK                      500 WARD ST                                                                              SCRANTON           PA   18512‐2428
SANDOR KOTELES                       6761 DEERHURST DR                                                                        WESTLAND           MI   48185‐6976
SANDOR PISZAR                        16420 RIDGEWOOD CT                                                                       NORTHVILLE         MI   48168‐6831
SANDOR ROZSA                         3944 N LANG AVE                                                                          COVINA             CA   91722‐3816
SANDOR TOROK
SANDOR, ALLEN                        2824 S 33RD ST                                                                           MILWAUKEE          WI   53215
SANDOR, DEBORAH N                    831 CENTER STREET E                                                                      WARREN             OH   44481‐9311
SANDOR, DEBORAH N                    831 CENTER ST E                                                                          WARREN             OH   44481‐9311
SANDOR, EDWARD                       4376 CRESTKNOLL DR                                                                       GRAND BLANC        MI   48439‐2014
SANDOR, GEORGE R                     45610 FOUNTAIN VIEW DR                                                                   CANTON             MI   48188‐3081
SANDOR, GERALDENE                    1193 IDAHO RD                                                                            YOUNGSTOWN         OH   44515‐3707
SANDOR, JOHN M                       4430 GRANTWOOD DR                                                                        PARMA              OH   44134‐3752
SANDOR, JOSE                         PO BOX 266                                                                               ROMEO              MI   48065‐0266
SANDOR, JOYCE F                      45610 FOUNTAIN VIEW DR                                                                   CANTON             MI   48188‐3081
SANDOR, JUDITH M                     1304 JERSEY ST                                                                           LAKE MILTON        OH   44429‐9702
SANDOR, LADISLAV                     1369 N KETTLE HILL RD                                                                    PRESCOTT VALLEY    AZ   86314‐1415
SANDOR, MAGDALENA                    10200 122ND AVE APT 1203                                                                 LARGO              FL   33773‐2094
SANDOR, MAGDALENA                    10200 122ND AVENUE N               APT 1203                                              LARGO              FL   33773
SANDOR, MICHAEL J                    673 CHURCHILL RD                                                                         GIRARD             OH   44420‐2006
SANDOR, SOPHIE M
SANDOR, SUSANNE                      1424 PLANTATION CIRCLE             APT 1514                                              PLANT CITY         FL   33566‐3566
SANDOR, TED M                        8522 BROOKPARK BLDG 11 A209                                                              CANTON             MI   48187
SANDOR, TERENCE G                    858 KEITH ST                                                                             OXFORD             MI   48371‐4537
SANDOR, THOMAS P                     4545 E SPRAGUE RD                                                                        SEVEN HILLS        OH   44131‐6255
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SANDORA, DIANE S                  14291 FARNSWORTH DR                                                                               STERLING HTS       MI 48312‐4353
SANDORA, PETER J                  20901 MICHAEL CT                                                                                  ST CLR SHORES      MI 48081‐1125
SANDORA, RONALD A                 5623 HEATHLAND CIR                                                                                CLARKSTON          MI 48346‐3114
SANDORA, VIRGINIA                 24610 SPRING LANE                                                                                 HARRISON TWP       MI 48045‐2313
SANDORA, VIRGINIA                 24610 SPRING LN                                                                                   HARRISON TWP       MI 48045‐2313
SANDORSKEY ARTHUR (442494)        GEORGE & SIPES                      156 E MARKET ST STE 600                                       INDIANAPOLIS       IN 46204‐3227
SANDORSKEY, ARTHUR                GEORGE & SIPES                      151 N DELAWARE ST STE 1700                                    INDIANAPOLIS       IN 46204‐2503
SANDOVAL CARMEN JESSE GONZALES&   2300 HENDERSON MILL RD NE STE 300                                                                 ATLANTA            GA 30345‐2704
ALEX SIMANOVSKY
SANDOVAL ENRIQUE (485720)         BRAYTON PURCELL                     PO BOX 6169                                                   NOVATO            CA    94948‐6169
SANDOVAL JANNA                    SANDOVAL, JANNA                     715 TIJERAS AVE NW                                            ALBUQUERQUE       NM    87102‐3076
SANDOVAL JANNA                    SANDOVAL, JONATHON                  715 TIJERAS AVE NW                                            ALBUQUERQUE       NM    87102‐3076
SANDOVAL JANNA                    SANDOVAL, JONATHON                  723 COLEMAN AVE                                               CORPUS CHRISTI    TX    78401‐3414
SANDOVAL JENNIFER                 SANDOVAL, JENNIFER                  PO BOX 755                                                    CUBA              NM    87013‐0755
SANDOVAL JOSE                     SANDOVAL, JOSE                      5357 JACKSON AVE                                              HANFORD           CA    93230‐9359
SANDOVAL MAE (666143)             GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                    EDWARDSVILLE       IL   62025‐0959
                                  ANTOGNOLI
SANDOVAL PAUL (658793)            BRAYTON PURCELL                     PO BOX 6169                                                   NOVATO            CA 94948‐6169
SANDOVAL RALPH (440368)           PAUL REICH & MYERS                  1608 WALNUT ST STE 500                                        PHILADELPHIA      PA 19103‐5446
SANDOVAL SAM (447492)             BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD        OH 44067
                                                                      PROFESSIONAL BLDG
SANDOVAL SHANNON                  5740 CASA GRANDE WAY                                                                              BONITA            CA    91902‐2109
SANDOVAL TRUCKING                 605 E OLIVE ST                                                                                    LAREDO            TX    78041‐5807
SANDOVAL, ALBERTO                 5593 GLASGOW HILLS LN                                                                             JACKSONVILLE      FL    32258‐2510
SANDOVAL, ANDREW J                882 WAUKEE LN                                                                                     SAGINAW           MI    48604‐1142
SANDOVAL, ANTONIO A               1494 W CRANE POND DR                                                                              MARION            IN    46952‐9202
SANDOVAL, ANTONIO E               806 LOVINGHAM DR                                                                                  ARLINGTON         TX    76017‐6456
SANDOVAL, DOROTHY W               39663 IOLANI CT                                                                                   FREMONT           CA    94538‐1834
SANDOVAL, ELIZABETH
SANDOVAL, ELIZABETH PADILLA       LANGDON AND EMISON                  THE EAGLE BUILDING, PO BOX 220,                               LEXINGTON         MO 64067
                                                                      911 MAIN STREET
SANDOVAL, ENRIQUE                 BRAYTON PURCELL                     PO BOX 6169                                                   NOVATO            CA    94948‐6169
SANDOVAL, EVA T                   1311 W ROBERTS AVE                                                                                MARION            IN    46952‐1947
SANDOVAL, FLORENCE                3734 LAKE BLUE DR                                                                                 WINTER HAVEN      FL    33881‐1085
SANDOVAL, FRANCISCO               3317 DIXIE CT                                                                                     SAGINAW           MI    48601‐5907
SANDOVAL, GISELLA
SANDOVAL, GONZALO M               91 CALVERT AVE                                                                                    WATERFORD         MI    48328‐3906
SANDOVAL, GRACIELA                5424 PORTER ST                                                                                    DETROIT           MI    48209
SANDOVAL, HECTOR                  56 SUGAR PINE RD                                                                                  ROCHESTER HILLS   MI    48309‐2230
SANDOVAL, IRMA                    4030 WOAK STREET                                                                                  PICO RIVERA       CA    90660
SANDOVAL, JAIRO                   18736 LASSEN ST                                                                                   NORTHRIDGE        CA    91324‐1962
SANDOVAL, JANNA
SANDOVAL, JANNA                   GILBERT ARRAZOLO                    715 TIJERAS AVE NW                                            ALBUQUERQUE       NM    87102‐3076
SANDOVAL, JAVIER S                18225 COLCHESTER WAY                                                                              NORTHRIDGE        CA    91326‐2030
SANDOVAL, JENNIFER                PO BOX 755                                                                                        CUBA              NM    87013‐0755
SANDOVAL, JESSE D                 1819 19TH ST                                                                                      BEDFORD           IN    47421
SANDOVAL, JESUS                   4030 WOAK STREET                                                                                  PICO RIVERA       CA    90660
SANDOVAL, JONATHON                ARRAZOLO LAW PC                     715 TIJERAS AVE NW                                            ALBUQUERQUE       NM    87102‐3076
SANDOVAL, JONATHON                RAGAN JAMES B PC                    723 COLEMAN AVE                                               CORPUS CHRISTI    TX    78401‐3414
SANDOVAL, JORGE L                 1115 DETROIT AVE                                                                                  YOUNGSTOWN        OH    44502‐2811
SANDOVAL, JOSE                    5357 JACKSON AVE                                                                                  HANFORD           CA    93230‐9359
SANDOVAL, JOSE P                  9327 EL DORADO AVE                                                                                SUN VALLEY        CA    91352‐1336
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Name                     Address1                            Address2                      Address3              Address4         City               State Zip
SANDOVAL, JUAN           1110 E GRAND RIVER AVE                                                                                   LANSING             MI 48906‐5456
SANDOVAL, JUAN A         PO BOX 2884                                                                                              FREMONT             CA 94536‐0884
SANDOVAL, JULIE A        14448 ACACIA ST                                                                                          SAN LEANDRO         CA 94579
SANDOVAL, LORETHIA       112 BERRY ST                                                                                             SOMERSET            NJ 08873‐3606
SANDOVAL, LOUIS N        8936 MCLENNAN AVE                                                                                        NORTHRIDGE          CA 91343‐4010
SANDOVAL, LUIS D         7919 CYPRESS COR                                                                                         SAN ANTONIO         TX 78240‐5321
SANDOVAL, MAE            GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                           EDWARDSVILLE         IL 62025‐0959
                         ANTOGNOLI
SANDOVAL, MAE            C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                               EDWARDSVILLE        IL   62025
                         ROWLAND PC
SANDOVAL, MANUEL         PO BOX 2044                                                                                              MESA               AZ    85214‐2044
SANDOVAL, MARIA          4030 WOAK STREET                                                                                         PICO RIVERA        CA    90660
SANDOVAL, MARIA          14777 COUNTY ROAD 163               C/O M.C. RANON                                                       DEFIANCE           OH    43512‐9322
SANDOVAL, MARIA          14777 COUNTY ROAD 163               C/O M.C. RANON                                                       DEFIANCE           OH    43512‐9322
SANDOVAL, MARIO M        10911 CHIMINEAS AVE                                                                                      PORTER RANCH       CA    91326
SANDOVAL, MARK S         3024 W 50 S                                                                                              KOKOMO             IN    46902
SANDOVAL, MARTA I        2411 GALPIN AVE                                                                                          ROYAL OAK          MI    48073‐3161
SANDOVAL, MICHAEL D      10792 BRAUN RD                                                                                           MANCHESTER         MI    48158‐9568
SANDOVAL, NICK A         2413 SUMMERLIN DR                                                                                        MODESTO            CA    95356‐8959
SANDOVAL, PAMELA A       201 YUCCA CANYON                                                                                         SPRING BRANCH      TX    78070‐8004
SANDOVAL, PATRICIO L     159 NEWTOWN AVE                                                                                          BATTLE CREEK       MI    49015‐9605
SANDOVAL, PAUL           3020 GARDEN PL                                                                                           KOKOMO             IN    46902‐3918
SANDOVAL, PAUL           BRAYTON PURCELL                     PO BOX 6169                                                          NOVATO             CA    94948‐6169
SANDOVAL, R H            3211 SHAMROCK LN                                                                                         FOREST HILL        TX    76119‐7130
SANDOVAL, RALPH          PAUL REICH & MYERS                  1608 WALNUT ST STE 500                                               PHILADELPHIA       PA    19103‐5446
SANDOVAL, RAMIRO J       903 BRANCH CREEK DR                                                                                      MANSFIELD          TX    76063‐2855
SANDOVAL, RIGOBERTO M    7564 CALAIS CT                                                                                           RANCHO CUCAMONGA   CA    91730‐6749
SANDOVAL, RODOLPHO H     31 WILLOW BEND CT                                                                                        MANSFIELD          TX    76063‐2799
SANDOVAL, RODOLPHO H     5201 HIGH ISLAND DR                                                                                      ARLINGTON          TX    76017‐1999
SANDOVAL, RUBEN          4030 WOAK STREET                                                                                         PICO RIVERA        CA    90660
SANDOVAL, RUBEN          ERNSTER CLETUS P III                2700 POST OAK BLVD STE 1350                                          HOUSTON            TX    77056‐5785
SANDOVAL, SALVADOR F     2035 FIONA WAY                                                                                           SPRING HILL        TN    37174‐2684
SANDOVAL, SAMUEL S       2001 E LOST RIVER AVE                                                                                    NAMPA              ID    83686‐4600
SANDOVAL, TEODORO        1838 W ARMITAGE AVE                                                                                      CHICAGO            IL    60622‐1017
SANDOVAL, TERESA S       14107 DAUBERT ST                                                                                         SAN FERNANDO       CA    91340‐3807
SANDOVAL, VERONICA       4030 WOAK STREET                                                                                         PICO RIVERA        CA    90660
SANDOVAL, VICTOR M       40245 176TH ST E                                                                                         PALMDALE           CA    93591‐3133
SANDOVAL, YADIRA
SANDOW, FRANK            661 56TH PL                                                                                              CLARENDON HLS      IL    60514‐1557
SANDOW, JACK T           2191 ROCKBRIDGE RD APT 1504                                                                              STONE MOUNTAIN     GA    30087‐6702
SANDOW, MARGARET E       2365 LONG POINT DR                                                                                       HOUGHTON LAKE      MI    48629‐9462
SANDOW, MARIA A          4319 N EASTMAN RD                                                                                        MIDLAND            MI    48642‐7395
SANDOZ PHARMACEUTICALS   ROUTE 10                                                                                                 EAST HANOVER       NJ    07936
SANDOZ, PAUL H           3650 BYRD DR                                                                                             STERLING HTS       MI    48310‐6109
SANDQUIST JR, JOHN C     157 GEORGETOWN PL                                                                                        AUSTINTOWN         OH    44515‐2220
SANDQUIST, BLANCHE       3722 BOWNE ST APT 1A                                                                                     FLUSHING           NY    11354‐5610
SANDQUIST, FREDA H       PO BOX 21                                                                                                GALION             OH    44833‐0021
SANDQUIST, JOHN C        3326 STARWICK DR                                                                                         CANFIELD           OH    44406‐9278
SANDRA
SANDRA & KEVIN ENGLER    SANDRA A ENGLER &                   KEVIN B ENGLER                26 BUCKINGHAM DRIVE                    LONDONDERRY        NH 03053
SANDRA & RICHARD FAST    4213 ELM                                                                                                 LYONS              IL 60534
SANDRA A CAVETTE         8044 3RD ST                                                                                              DETROIT            MI 48202‐2421
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SANDRA A DAVID       2921 OLD MOULTON RD SW                                                             DECATUR              AL 35603‐4417
SANDRA A HATFIELD    1415 LOWELL ST                                                                     ELYRIA               OH 44035‐4866
SANDRA A HOFFMAN     4175 FAWN TRAIL                                                                    WARREN               OH 44483‐‐ 36
SANDRA A KERTIS      6120 TIPPECANOE RD APT 3                                                           CANFIELD             OH 44406
SANDRA A OSWALD      715 3RD ST                                                                         BAY CITY             MI 48708‐5907
SANDRA A PALMER      848 FAIRGROVE WAY                                                                  TROTWOOD             OH 45426‐2213
SANDRA A PATEN       308 N KIESEL ST                                                                    BAY CITY             MI 48706‐4316
SANDRA A RICCA       604 NORTH SCOTT                                                                    SANTA MARIA          CA 93454
SANDRA A SMITH       305 MARLAY RD                                                                      DAYTON               OH 45405
SANDRA A STARKE      3797 LOCKPORT OLCOTT RD                                                            LOCKPORT             NY 14094‐1176
SANDRA A THOMAS      5510 NANTUCKET RD                                                                  TROTWOOD             OH 45426‐1406
SANDRA A WILSON      3818 TRUMBLE AVENUE                                                                FLINT                MI 48504
SANDRA A WOOD        3048 STARLITE DR NW                                                                WARREN               OH 44485‐1616
SANDRA A. BARBER     394 WASHINGTON AVE                                                                 ROCHESTER            NY 14617
SANDRA ABERNETHY     340 N HURON RD                                                                     LINWOOD              MI 48634‐9409
SANDRA ADAMS         7354 N SHAKER DR                                                                   WATERFORD            MI 48327‐1029
SANDRA ADAMS         804 N PARKWAY DR                                                                   ANDERSON             IN 46013‐3247
SANDRA ADAMS         98 CIRCLE DR                                                                       MEDINA               OH 44256‐2555
SANDRA ADKINS        6260 HARPER CIR                                                                    MECHANICSBURG        OH 43044‐9005
SANDRA AESCHLIMAN    PO BOX 346                                                                         GALVESTON            IN 46932‐0346
SANDRA AGLE          6055 HEDGEROW CIR                                                                  GRAND BLANC          MI 48439‐9788
SANDRA AGNEW         3333 MIDLAND RD                                                                    SAGINAW              MI 48603‐9634
SANDRA AHAUS IRA     SANDRA AHAUS                 10548 PENN AVE SO                                     BLOOMINGTON          MN 55431
SANDRA AINLEY        314 HARBOUR POINTE DR                                                              BELLEVILLE           MI 48111‐4443
SANDRA ALDERSON      11440 HENDERSON RD                                                                 OTISVILLE            MI 48463‐9727
SANDRA ALESSI        6337 HILLCREST TRACE DR                                                            MOBILE               AL 36609‐2762
SANDRA ALEXANDER     5451 OLE BANNER TRL                                                                GRAND BLANC          MI 48439‐7641
SANDRA ALFARO        2695 N WILLIAMS LAKE RD                                                            WATERFORD            MI 48329‐2661
SANDRA ALFORD        2315 POLLARD RD                                                                    LANSING              MI 48911‐4537
SANDRA ALFORD        2312 POLLARD RD                                                                    LANSING              MI 48911‐4536
SANDRA ALKIRE        9150 14 MILE RD NE                                                                 CEDAR SPRINGS        MI 49319‐9319
SANDRA ALLAGREEN     29674 OLD NORTH RIVER RD                                                           HARRISON TOWNSHIP    MI 48045‐1628
SANDRA ALLEN         9999 MORROW COZADDALE RD                                                           MORROW               OH 45152‐8591
SANDRA ALLEN         PO BOX 863                                                                         MARSHALL             NC 28753‐0863
SANDRA ALLISON       541 OAKBROOK CIR                                                                   FLUSHING             MI 48433‐1706
SANDRA AMES          109 HOLLY BERRY DR                                                                 COLUMBIA             TN 38401‐5350
SANDRA ANAS          485 VAQUERO LN                                                                     SANTA BARBARA        CA 93111‐1935
SANDRA ANCRUM        330 W OAKLAND ST                                                                   TOLEDO               OH 43608‐1061
SANDRA ANDERSON      3361 HERITAGE CT N                                                                 CANFIELD             OH 44406‐9208
SANDRA ANDERSON      5735 W HUNTERS RIDGE CIR                                                           LECANTO              FL 34461‐7609
SANDRA ANDERSON      3612 BONAIRE CT                                                                    PUNTA GORDA          FL 33950‐8122
SANDRA ANDERSON      1004 SEARCY SCHOOL RD                                                              LAWRENCEBURG         KY 40342‐9546
SANDRA ANDERSON      14235 CURTIS ST                                                                    DETROIT              MI 48235‐2610
SANDRA ANDERSON      130 HICKORY HILL DR                                                                ESTILL SPRINGS       TN 37330‐3124
SANDRA ANDERSON      8148 MEADOWLARK DR                                                                 CARLISLE             OH 45005‐4213
SANDRA ANN JOHNSON   9119 KELLER STREET                                                                 DETROIT              MI 48209‐2690
SANDRA ANTONELLI     1657 CHAPARRAL TRL                                                                 SANFORD              MI 48657‐9242
SANDRA ANTONUCCI     9770 BIRCHBROOK CT                                                                 N HUNTINGDON         PA 15642‐2613
SANDRA APPLE         1402 S CAPITOL AVE                                                                 INDIANAPOLIS         IN 46225‐1512
SANDRA ARGENTIERO    47788 AGNEW DR                                                                     SHELBY TOWNSHIP      MI 48315‐5043
SANDRA ARRINGTON     3624 AYNSLEY DR                                                                    ROCHESTER HILLS      MI 48306‐3782
SANDRA ARTHUR        164 WISCONSIN AVE                                                                  COLUMBUS             OH 43222‐1144
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Name                                 Address1                         Address2              Address3              Address4         City            State Zip
SANDRA ASHLEY                        6701 LINCOLN GREEN ST                                                                         HOLLAND          OH 43528‐9521
SANDRA ASTON                         1046 EAST AVE SE                                                                              WARREN           OH 44484‐4904
SANDRA ATKINSON                      404 NE TOPAZ DR                                                                               LEES SUMMIT      MO 64086‐7028
SANDRA AUCOIN                        145 S PHILIPS ST                                                                              KOKOMO           IN 46901‐5245
SANDRA AUL                           PO BOX 295                                                                                    MUNCIE           IN 47308‐0295
SANDRA AURAND                        11231 GRAND BLANC RD                                                                          GAINES           MI 48436‐9744
SANDRA AUSTIN PERSONAL               SANDRA AUSTIN                    C/O BRAYTON PURCELL   222 RUSH LANDING RD                    NOVATO           CA 94948‐6169
REPRESENTATIVE FOR ROBERT J AUSTIN

SANDRA AVERETT                       2694 ELIZABETH DR SW                                                                          WARREN          OH   44481‐9621
SANDRA AYERS                         400 KENNAMER COVE CIR                                                                         WOODVILLE       AL   35776‐8801
SANDRA AZELTON                       9482 GRAYTRAX RD                                                                              GRAND BLANC     MI   48439‐8034
SANDRA B CLARK                       4 NORTON DR                                                                                   VIENNA          OH   44473‐9516
SANDRA B CLARKE                      1001 BOULEVARD ST                                                                             SYRACUSE        NY   13211‐1808
SANDRA B ESPOSITO                    590 THORNTON ST.                                                                              SHARON          PA   16146‐3573
SANDRA B HEARD                       218 GREELEY LANE                                                                              YOUNGSTOWN      OH   44505‐4862
SANDRA B HODGE                       410 SEABURN S.E.                                                                              BROOKFIELD      OH   44403‐9751
SANDRA B HUNTLEY                     5449 W RADIO RD                                                                               YOUNGSTOWN      OH   44515‐1825
SANDRA B KINTER                      2377 BARCLAY MESSERLY RD                                                                      SOUTHINGTON     OH   44470‐9740
SANDRA B MCGUINNESS                  1382 SPRINGWOOD TRACE SE                                                                      WARREN          OH   44484‐3145
SANDRA B PHILLIPS                    740 SALT SPRINGS RD                                                                           MINERAL RIDGE   OH   44440‐9339
SANDRA B PUGH                        2760 MERRIEWEATHER                                                                            WARREN          OH   44485‐2507
SANDRA B RUSNAK                      5669 ORANGEVILLE KINSMAN RD NE                                                                BURGHILL        OH   44404‐9742
SANDRA B THOMAS                      167 GATES ST                                                                                  CORTLAND        OH   44410‐1058
SANDRA B TOMLINSON                   #71 MAYRANT BLUFF                                                                             GEORGETOWN      SC   29440
SANDRA B TOTH                        1904 FARMDALE                                                                                 MINERAL RIDGE   OH   44440‐9506
SANDRA B WALKER                      9039 PATRIOT DR                                                                               STREETSBORO     OH   44241‐5788
SANDRA B WITT                        717 ALEXANDER ST                                                                              CARTHAGE        TX   75633‐1101
SANDRA BABUCHNA                      7216 DENVER DR                                                                                BILOXI          MS   39532‐3910
SANDRA BACON                         18494 PRAIRIE ST                                                                              DETROIT         MI   48221‐2170
SANDRA BADER                         120 CAMBRIDGE DR APT 127                                                                      DAVISON         MI   48423‐1793
SANDRA BAERTSCHIGER                  1661 PUENTE AVE TRLR 33                                                                       BALDWIN PARK    CA   91706‐5941
SANDRA BAILEY                        15706 PEACE BOULEVARD                                                                         SPRING HILL     FL   34610‐4350
SANDRA BAILEY                        4094 STONEBRIDGE                                                                              HOLLY           MI   48442‐9529
SANDRA BAIN                          3104 ARCHWOOD WAY                                                                             LAS VEGAS       NV   89134‐8580
SANDRA BAINBRIDGE                    227 SWEET MARTHA DR                                                                           MOORESVILLE     NC   28115‐7906
SANDRA BAKER                         16917 STOEPEL ST                                                                              DETROIT         MI   48221‐2682
SANDRA BAKER                         22 E WOODLAND AVE                                                                             NILES           OH   44446‐1941
SANDRA BAKER                         3472 PARALLEL RD                                                                              MORAINE         OH   45439‐1246
SANDRA BALAS                         11605 WOODSVIEW XING                                                                          EDGERTON        WI   53534‐9214
SANDRA BALL                          3603 NAVAJO TRCE                                                                              DOTHAN          AL   36305‐4257
SANDRA BALL                          E681 KIVIMAKI RD                                                                              TRENARY         MI   49891‐9584
SANDRA BALL                          401 W MARTINDALE RD                                                                           UNION           OH   45322‐3006
SANDRA BALLA                         222 LIBERTY AVE                                                                               MARYSVILLE      MI   48040‐2565
SANDRA BALLMER                       2340 PARK LN                                                                                  HOLT            MI   48842‐1225
SANDRA BALOGH                        7361 OAK ST                                                                                   TAYLOR          MI   48180‐2212
SANDRA BANKSTON                      3119 HARSTON WOODS DR                                                                         EULESS          TX   76040‐7759
SANDRA BARABINO                      8815 HETHERINGTON DR                                                                          SAN ANTONIO     TX   78240‐3600
SANDRA BARBAT                        708 MORNINGSIDE DR                                                                            GRAND BLANC     MI   48439‐2303
SANDRA BARGINERE                     234 W HILDALE                                                                                 DETROIT         MI   48203‐4566
SANDRA BARLOW                        2132 STIRRUP LN APT A201                                                                      TOLEDO          OH   43613‐5681
SANDRA BARNES                        8233 OAKVILLE WALTZ RD                                                                        BELLEVILLE      MI   48111‐9502
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Name                  Address1                       Address2                   Address3   Address4         City            State Zip
SANDRA BARNES         4926 BENTRIDGE DR NW                                                                  CONCORD          NC 28027‐2826
SANDRA BARNETT        1201 JULIE AVE APT A                                                                  CAHOKIA           IL 62206‐2240
SANDRA BARRICKMAN     1024 BRISTOL CHAMPION RD                                                              BRISTOLVILLE     OH 44402
SANDRA BARTTLEY       2847 W WALTON BLVD                                                                    WATERFORD        MI 48329‐2560
SANDRA BATES          527 N DEPOT ST                                                                        SANDUSKY         OH 44870‐3424
SANDRA BATES‐CASSIN   11 RENE DR                                                                            SPENCERPORT      NY 14559‐1619
SANDRA BATTREALL      818 W 600 N                                                                           GREENFIELD       IN 46140‐8673
SANDRA BAUDER         PO BOX 1167                    CARE OF MARJORIE HAVENS‐                               MT PLEASANT      MI 48804‐1167
                                                     GUARDIAN
SANDRA BEACH          4315 FRANKLIN AVE                                                                     NORWOOD         OH   45212‐3017
SANDRA BEASINGER      123 SENECA TRL                                                                        PRUDENVILLE     MI   48651‐9736
SANDRA BEASLEY        911 REBEL CIR                                                                         FRANKLIN        TN   37064‐2021
SANDRA BEATTIE        10470 HENDERSON RD                                                                    CORUNNA         MI   48817‐9791
SANDRA BEAUCHAMP      2500 MANN RD LOT 276                                                                  CLARKSTON       MI   48346‐4258
SANDRA BEAVER         222 METRO BLVD                                                                        ANDERSON        IN   46016‐6802
SANDRA BECHTEL        44 ASTER LANDING RD                                                                   LAKE OZARK      MO   65049‐7033
SANDRA BECKFORD       8791 ALBANY ST                                                                        OAK PARK        MI   48237‐2324
SANDRA BELCHER        26540 BURG RD APT 117                                                                 WARREN          MI   48089‐3546
SANDRA BELL           12731 MEADOWDALE DR                                                                   SAINT LOUIS     MO   63138‐1438
SANDRA BELLEVILLE     10255 N BRAY RD                                                                       CLIO            MI   48420‐9774
SANDRA BELVEDERE      15021 DEARBORN ST                                                                     OVERLAND PARK   KS   66223‐2936
SANDRA BENGUIAN       4022 LONGMEADOW DR                                                                    TRENTON         MI   48183‐3957
SANDRA BENHAM         6153 N MASTERS RD                                                                     CORAL           MI   49322‐9719
SANDRA BENNER         3320 CAUSEWAY DR BOX132                                                               MILLINGTON      MI   48746
SANDRA BENSON         PO BOX 272                                                                            GERMANTOWN      OH   45327‐0272
SANDRA BERECZKY       4121 CORINTH BLVD                                                                     DAYTON          OH   45410‐3409
SANDRA BERLIN         7329 GROVELAND RD                                                                     HOLLY           MI   48442‐9562
SANDRA BERNDT         523 8TH AVE SW                                                                        ROCHESTER       MN   55902
SANDRA BERNEY         870 ROCHESTER RD                                                                      LEONARD         MI   48367‐4261
SANDRA BESSETTE       801 BROOKSIDE DR APT 309                                                              LANSING         MI   48917‐8203
SANDRA BETZOLD        4837 FRASER RD                                                                        BAY CITY        MI   48706‐9721
SANDRA BEVAN          1627 EXECUTIVE DR                                                                     KOKOMO          IN   46902‐3254
SANDRA BIALO          7809 RIVERGATE APT 73                                                                 WESTLAND        MI   48185
SANDRA BILBREY        6807 FAIRVIEW ST                                                                      ANDERSON        IN   46013
SANDRA BILLS          1725 PARKWAY DR                                                                       CARO            MI   48723‐1340
SANDRA BILOVESKY      37 HARTZELL AVE                                                                       NILES           OH   44446‐5251
SANDRA BINNION        3344 MAIN ST                                                                          ANDERSON        IN   46013‐4239
SANDRA BIRD           3421 MASON ST                                                                         FLINT           MI   48505‐4043
SANDRA BISHOP         2767 BISHOPTOWN RD                                                                    DUFFIELD        VA   24244‐4016
SANDRA BLACK          12035 POMERANTZ RD                                                                    DEFIANCE        OH   43512‐9084
SANDRA BLACKBURN      5209 RADNOR RD                                                                        INDIANAPOLIS    IN   46226‐2247
SANDRA BLAIS          6756 MILL STREAM LN                                                                   LANSING         MI   48911‐7062
SANDRA BLAKE          319 WOODDALE AVE               LLANGOLLEN ESTS.                                       NEW CASTLE      DE   19720‐4737
SANDRA BOAN           PO BOX 533                                                                            MOORINGSPORT    LA   71060‐0533
SANDRA BOEHNLEIN      539 JOPPA FARM RD                                                                     JOPPA           MD   21085‐4648
SANDRA BOGAN          PO BOX 1036                                                                           YOUNGSTOWN      OH   44501‐1036
SANDRA BOGER          PO BOX 350853                                                                         JACKSONVILLE    FL   32235‐0853
SANDRA BOHRER         3822 OAKWOOD AVE                                                                      LORAIN          OH   44055‐2726
SANDRA BOMMARITO      3200 IVY LN                                                                           GRAND BLANC     MI   48439‐8198
SANDRA BOND           620 CROSSINGS CT                                                                      BOWLING GREEN   KY   42104‐5465
SANDRA BONDS          33796 PINE RIDGE DR W                                                                 FRASER          MI   48026‐5021
SANDRA BONNER         3540 WHITETAIL DR E                                                                   LEXINGTON       OH   44904‐9226
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Name                Address1                         Address2             Address3       Address4             City             State Zip
SANDRA BOOTHBY      9072 LONGCROFT DR                                                                         WHITE LAKE        MI 48386
SANDRA BORKOWSKI    2891 OAKVIEW DR                                                                           DRYDEN            MI 48428‐9740
SANDRA BORNIGER     AM SONNENBERG 19                 DE55546 HACKENEHIM
SANDRA BORNIGER     AM SONNENBERG 19                                                     D‐55546 HACKENHEIM
                                                                                         GERMANY
SANDRA BOSHAW       9421 HEDDY DR                                                                             FLUSHING         MI   48433‐1051
SANDRA BOSTON       9580 ROSE PETAL DR                                                                        TIPP CITY        OH   45371‐8113
SANDRA BOURNE       12109 DAYTON FARMERS DALE RD                                                              FARMERSVILLE     OH   45325
SANDRA BOWERS       2205 PARKER RD                                                                            HOLLY            MI   48442‐8659
SANDRA BOWMAN       1401 N HAIRSTON RD APT 2A                                                                 STONE MOUNTAIN   GA   30083‐1949
SANDRA BOYD         5223 JACKSON AVE                                                                          KANSAS CITY      MO   64130‐3047
SANDRA BOYLE        784 SOUTHFIELD RD                                                                         BIRMINGHAM       MI   48009‐3735
SANDRA BRADLEY      38617 DIAMOND HEAD CT                                                                     CLINTON TWP      MI   48038‐3400
SANDRA BRAZELL      495 E TWIN PALMS DR APT 16                                                                PALM SPRINGS     CA   92264‐0534
SANDRA BREEDING     1649 WIMBLEDON DR                                                                         FAIRBORN         OH   45324‐6019
SANDRA BREEDLOVE    17131 242ND ST                                                                            TONGANOXIE       KS   66086‐3027
SANDRA BRESSLER     14276 HARRIS RD                                                                           MILLINGTON       MI   48746‐9219
SANDRA BREWER       3232 PARAMOUNT LN                                                                         AUBURN HILLS     MI   48326‐3961
SANDRA BREWSTER     1951 MORNING STAR DR                                                                      ROAMING SHORES   OH   44084‐9685
SANDRA BRICKER      1496 ROY SELLERS RD                                                                       COLUMBIA         TN   38401‐1301
SANDRA BRITT        239 E BUFFALO BLUFF RD LOT 130                                                            SATSUMA          FL   32189‐2733
SANDRA BROCK        PO BOX 246                                                                                EVA              AL   35621‐0246
SANDRA BROMM        671 W BARNES LAKE RD                                                                      COLUMBIAVILLE    MI   48421‐9332
SANDRA BROOKS       5212 GROSSE POINT PKWY                                                                    TOLEDO           OH   43611‐1615
SANDRA BROOKS       1893 WEST US 36                                                                           PENDLETON        IN   46064
SANDRA BROOKSHIRE   701 FRINGED ORCHID TRL                                                                    VENICE           FL   34293‐7259
SANDRA BROWN        7067 SARATOGA DR                                                                          FLINT            MI   48532‐3013
SANDRA BROWN        1517 RANDY CT                                                                             FLINT            MI   48505‐2523
SANDRA BROWN        112 ABACO DRIVE                                                                           PALM SPRINGS     FL   33461‐2002
SANDRA BROWN        3569 BROOKDALE LN                                                                         WATERFORD        MI   48328‐3515
SANDRA BROWN        249 S HUBBARD CT APT 3                                                                    WESTLAND         MI   48186‐5220
SANDRA BRUCE        1070 E PRIVATE ROAD 445 N                                                                 CENTERPOINT      IN   47840‐8392
SANDRA BUCKLEY      17158 KROPF AVE                                                                           DAVISBURG        MI   48350‐1182
SANDRA BUGGS        334 VENNUM AVE                                                                            MANSFIELD        OH   44903‐2140
SANDRA BULL         1810 MARQUETTE ST                                                                         SAGINAW          MI   48602‐1737
SANDRA BUMHOFFER    265 BRADLEYVILLE RD                                                                       FAIRGROVE        MI   48733‐9710
SANDRA BUNCH        86 RIDGELAND RD                                                                           GREENCASTLE      IN   46135‐7680
SANDRA BUNDY        216 S BON AIR AVE                                                                         YOUNGSTOWN       OH   44509‐2903
SANDRA BUNYARD      1033 HIGHWAY 19 S                                                                         MERIDIAN         MS   39301‐8228
SANDRA BURCHETT     10325 W WESTERN RESERVE RD                                                                CANFIELD         OH   44406‐9486
SANDRA BURDICK      11628 SW 4TH TER                                                                          YUKON            OK   73099‐6747
SANDRA BURFORD      13759 W CARIBBEAN LN                                                                      SURPRISE         AZ   85379‐8327
SANDRA BURGE        5502 WINDERMERE DR                                                                        GRAND BLANC      MI   48439‐9632
SANDRA BURK         2605 LAREDO ST                                                                            KALAMAZOO        MI   49004‐1039
SANDRA BURK         82 LISA CIR                                                                               WHITE LAKE       MI   48385‐3441
SANDRA BURKE        4865 N MICHIGAN AVE                                                                       SAGINAW          MI   48604‐1016
SANDRA BURT         PO BOX 54                                                                                 GREENTOWN        IN   46936‐0054
SANDRA BURTON       2840 W 12TH ST                                                                            ANDERSON         IN   46011‐2433
SANDRA BUTLER       2127 ELLEN AVE                                                                            NILES            OH   44446‐4513
SANDRA BUTLER       3120 N HILLS BLVD                                                                         ADRIAN           MI   49221‐9559
SANDRA BYERS        2815 LYDIA ST SW                                                                          WARREN           OH   44481‐9619
SANDRA C BUNDY      216 SO. BONAIR                                                                            YOUNGSTOWN       OH   44509‐2903
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Name                 Address1                      Address2            Address3         Address4         City            State Zip
SANDRA C BUTLER      6148 YOUNGSTOWN‐KINSGSVILLE                                                         CORTLAND         OH 44410
SANDRA C CARAWAY     1092 AIRPORT RD NW                                                                  WARREN           OH 44481
SANDRA C GILLESPIE   103 TURQUOISE DR.                                                                   CORTLAND         OH 44410
SANDRA C LAW         313 HUDSON RD                                                                       FITZGERALD       GA 31750‐7940
SANDRA C NOVACICH    2695 HYDE‐OAKFIELD RD.                                                              BRISTOLVILLE     OH 44402‐9623
SANDRA C SKILLMAN    4011 WESTERN DR                                                                     ANDERSON         IN 46012‐9272
SANDRA C VANCLEAVE   2695 LYDIA DR. S.W.                                                                 WARREN           OH 44481‐9622
SANDRA C YANCI       3273 MILEAR RD                                                                      CORTLAND         OH 44410
SANDRA C YANNUCCI    7477 FLOWING STREAM DR                                                              LAS VEGAS        NV 89131‐2532
SANDRA CALABRESE     125 TURNBERRY DR                                                                    BRYAN            OH 43506‐9079
SANDRA CALDWELL      109 WHITETAIL CT              APT 105                                               CLAYSBURG        PA 16625
SANDRA CALLESEN      991 SMYRNA ST                                                                       THE VILLAGES     FL 32162‐4080
SANDRA CALLISON      8412 BIRCH RUN RD                                                                   MILLINGTON       MI 48746‐9518
SANDRA CAMMARN       PO BOX 163                                                                          WORTHINGTON       IA 52078‐0163
SANDRA CAMPANARO     9175 MAPLEWOOD ST                                                                   WHITE LAKE       MI 48386‐4158
SANDRA CAMPBELL      3248 WILLIAMSBURG RD                                                                ANN ARBOR        MI 48108‐2030
SANDRA CANADAY       520 W MILL ST                                                                       MIDDLETOWN       IN 47356‐9301
SANDRA CANADY        8733 ARBORWAY CT APT 211                                                            INDIANAPOLIS     IN 46268‐4906
SANDRA CANTIN        406 BELL ST                                                                         CHAPEL HILL      TN 37034‐3240
SANDRA CANTLEY       3222 BROWNELL BLVD                                                                  FLINT            MI 48504‐3812
SANDRA CANTRELL      2120 ARTHUR AVE                                                                     DAYTON           OH 45414‐3104
SANDRA CARGILL       56 SHADYSIDE DR                                                                     LAPEER           MI 48446‐3357
SANDRA CARMEN        5326 MAHONING AVE NW                                                                WARREN           OH 44483‐1132
SANDRA CARNAGHI      39869 WILMETTE DR                                                                   STERLING HTS     MI 48313‐5660
SANDRA CARNE         2165 WOODLEAF ST                                                                    OKEMOS           MI 48864‐3935
SANDRA CARON         2124 LAKEVIEW DR SPT 192                                                            VPSILANTI        MI 48198‐6730
SANDRA CARR          3711 N LUMBERJACK RD                                                                RIVERDALE        MI 48877‐9716
SANDRA CARR          460 HARMONY LN                                                                      CAMPBELL         OH 44405‐1213
SANDRA CARR          1040 WOODLAND RD                                                                    MANSFIELD        OH 44907‐2242
SANDRA CARTER        21020 KENOSHA ST                                                                    OAK PARK         MI 48237‐3811
SANDRA CARVER        122 WEPHEREY STREET                                                                 HARROGATE        TN 37752
SANDRA CASE          5047 SADDLEVIEW DR                                                                  FRANKLIN         TN 37067‐4052
SANDRA CASON         1084 HABERSHAM ST                                                                   LOUISVILLE       GA 30434‐5901
SANDRA CASSIDY       903 E GRAND AVE                                                                     CUBA             MO 65453‐1909
SANDRA CECIL         2610 MYERS PARK TER                                                                 BRENTWOOD        TN 37027‐2202
SANDRA CELLIO        PO BOX 142                                                                          LEAVITTSBURG     OH 44430‐0142
SANDRA CHAMBERS      622 VALENCIA DRIVE                                                                  PONTIAC          MI 48342‐1669
SANDRA CHAMPLIN      RFD 1 6830 REEDER RD                                                                LYONS            MI 48851
SANDRA CHANCE        33180 FOREST PARK DRIVE                                                             WAYNE            MI 48184‐3312
SANDRA CHANDLER      4069 NORTHRIDGE WAY APT 2                                                           NORCROSS         GA 30093‐3077
SANDRA CHAPMAN       13826 S MAIN ST                                                                     BELOIT           OH 44609‐9501
SANDRA CHAPMAN       1844 RIVER RUN TRL                                                                  FORT WAYNE       IN 46825‐5977
SANDRA CHASE         129 TULIP TREE LN                                                                   BATTLE CREEK     MI 49037‐1160
SANDRA CHIDO         191 GREGORY DR                                                                      WAYNESBORO       GA 30830‐6611
SANDRA CHISHOLM      1521 LEXINGTON AVE                                                                  DAYTON           OH 45402‐5637
SANDRA CHISM         315 BALSAM RD                                                                       CRYSTAL FALLS    MI 49920‐9706
SANDRA CHRISP        1327 E 8TH ST                                                                       MUNCIE           IN 47302‐3620
SANDRA CHRISTIE      4724 E GRESHAM HWY                                                                  POTTERVILLE      MI 48876‐9739
SANDRA CICCONE       18 MAGNOLIA TER                                                                     MARTINSBURG      WV 25404‐3472
SANDRA CIMMENTO      547 MEADOWLAND CT                                                                   HUBBARD          OH 44425‐2609
SANDRA CLARK         80 WELDON LN                                                                        EDGEMONT         AR 72044‐9782
SANDRA CLARK         4 NORTON DR                                                                         VIENNA           OH 44473‐9516
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Name                Address1                       Address2                    Address3   Address4         City              State Zip
SANDRA CLAYTON      3180 E 250 N                                                                           ANDERSON           IN 46012‐9433
SANDRA CLEMENTZ     202 TENNYSON AVE                                                                       FLINT              MI 48507‐2659
SANDRA CLICK        APT 201                        310 SOUTH HARRISON STREET                               SAGINAW            MI 48602‐2147
SANDRA CLOUGH       1618 N CRAWFORD AVE                                                                    NORMAN             OK 73069‐8606
SANDRA COATES       609 S REMPERT RD                                                                       TAWAS CITY         MI 48763‐9101
SANDRA COATS        12 S MIDLAND DR                                                                        PONTIAC            MI 48342‐2960
SANDRA COFFEY       2900 N APPERSON WAY TRLR 52                                                            KOKOMO             IN 46901‐1402
SANDRA COGEN        618 TIMBER WALK DRIVE                                                                  SIMPSONVILLE       SC 29681
SANDRA COIPEL       1433 40TH ST SW                                                                        WYOMING            MI 49509‐4369
SANDRA COLBY        11955 N WILDWOOD LN                                                                    CAMBY              IN 46113‐8578
SANDRA COLE         4612 VAN LEER CT                                                                       NOLENSVILLE        TN 37135‐7416
SANDRA COLE         PO BOX 738                                                                             MILFORD            MI 48381‐0738
SANDRA COLE         5811 METZGER CT                                                                        SAGINAW            MI 48603‐2674
SANDRA COLE         321 DOVER BLDG B                                                                       WEST PALM BEACH    FL 33417
SANDRA COLLINS      509 PARK RD APT 302                                                                    SEVIERVILLE        TN 37862‐8709
SANDRA COLLINS      APT 312                        2356 E CATALINA AVE                                     MESA               AZ 85204‐2902
SANDRA COLVIN       138 W PINCONNING RD                                                                    PINCONNING         MI 48650‐8913
SANDRA CONDON       13139 S SCENIC DR                                                                      BARBEAU            MI 49710
SANDRA CONGDON      3110 GERMAN RD                                                                         COLUMBIAVILLE      MI 48421‐8917
SANDRA CONNERS      600 CLAIRPOINTE WOODS DR                                                               DETROIT            MI 48215‐3083
SANDRA CONRAD       BRENT COON & ASSOCIATES        215 ORLEANS                                             BEAUMONT           TX 77701
SANDRA COOK         2785 EASTERN RD                                                                        RITTMAN            OH 44270‐1702
SANDRA COON         1010 5TH ST                                                                            TAWAS CITY         MI 48763‐9550
SANDRA COPELAND     3688 EVERGREEN PKWY                                                                    FLINT              MI 48503‐4568
SANDRA COPELAND     1508 N 8TH ST                                                                          CLINTON            IN 47842‐1511
SANDRA COPELAND     2470 GRIFFITH DR                                                                       CORTLAND           OH 44410‐9652
SANDRA COPPESS      224 E MAIN ST                                                                          MEDWAY             OH 45341‐1106
SANDRA COPPO        14965 OVERBROOK DR.            APT. 209                                                SOUTHGATE          MI 48195‐2245
SANDRA CORRION      10424 E COLE RD                                                                        DURAND             MI 48429‐9494
SANDRA CORSALE      7780 CHESTNUT RIDGE RD                                                                 HUBBARD            OH 44425‐9702
SANDRA COSTIGAN     7809 COPEMISH RD                                                                       THOMPSONVILLE      MI 49683‐9274
SANDRA COTE         135 CIRCLE ST                                                                          BRISTOL            CT 06010‐6708
SANDRA COTTON       23678 CHRISTOPHER DR                                                                   BROWNSTOWN         MI 48134‐9181
SANDRA COUNTS       4497 JENA LN                                                                           FLINT              MI 48507‐6216
SANDRA COX          804 FAIRWAY DR                                                                         CINCINNATI         OH 45245‐1823
SANDRA COX          1508 HARRIS RD                                                                         KOKOMO             IN 46902‐2313
SANDRA CRABLE       601 N EDGEWOOD DR                                                                      MUNCIE             IN 47303‐4251
SANDRA CRAIG        17387 STATE HIGHWAY C                                                                  BELGRADE           MO 63622‐9124
SANDRA CRANE        6083 N SEYMOUR RD                                                                      FLUSHING           MI 48433‐1005
SANDRA CRAWFORD     1929 MILLER RD                                                                         FLINT              MI 48503‐4768
SANDRA CRAYS        6192 COLUMBIA ST                                                                       HASLETT            MI 48840‐8267
SANDRA CREASON      3910 MANN HALL AVE                                                                     FLINT              MI 48532‐5040
SANDRA CRIMI        6035 S TRANSIT RD              VILLAGE LOT 7                                           LOCKPORT           NY 14094‐6309
SANDRA CRIMLEY      PO BOX 2153                                                                            YOUNGSTOWN         OH 44504‐0153
SANDRA CRISAFULLI   1989 WILDWOOD LAKE ST                                                                  HENDERSON          NV 89052‐8525
SANDRA CROSBY       4605 BETHUME DR                                                                        SHREVEPORT         LA 71109‐6633
SANDRA CROSLYN      124 HARTWOOD DR                                                                        WOODSTOCK          GA 30189‐3414
SANDRA CSAPO        8838 S 228TH ST                                                                        KENT               WA 98031‐2438
SANDRA CULP         10878 LAKEPOINTE 104                                                                   LAKELAND           MI 48143
SANDRA CUMMINGS     1781 BEAUFAIT ST                                                                       DETROIT            MI 48207‐3409
SANDRA CUNNINGHAM   PO BOX 21                                                                              MORRICE            MI 48857‐0021
SANDRA CURCHIN      126 KITTLEBERGER PARK APT 2                                                            WEBSTER            NY 14580‐3031
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Name                    Address1                         Address2           Address3         Address4         City               State Zip
SANDRA CURTIS           9012 MELTRICA AVE                                                                     GRAND BLANC         MI 48439‐8305
SANDRA CZYMBOR          4262 FEHN RD                                                                          HEMLOCK             MI 48626‐8603
SANDRA D ASTON          1046 EAST AVE.                                                                        WARREN              OH 44484‐4904
SANDRA D GOODLOE        49221 S I 94 SERVICE DR APT 38                                                        BELLEVILLE          MI 48111‐1846
SANDRA D PAVLIC         3409 EAGLES LOFT UNIT B                                                               CORTLAND            OH 44410
SANDRA D RAYE‐REDMOND   6600 WESTFORD ROAD                                                                    TROTWOOD            OH 45426
SANDRA D SANDERS        523 DAKOTA ST                                                                         DAYTON              OH 45402
SANDRA D SHRINER        3096 E STANLEY RD                                                                     MOUNT MORRIS        MI 48458‐8805
SANDRA D SIMMONS        1001 STONECREEK DR APT B                                                              FLINT               MI 48503‐1612
SANDRA D SIMON          500 NORTHPOINTE PKWY UNIT 22                                                          JACKSON             MS 39211
SANDRA D STEVENSON      32985 VICTORY RD                                                                      PAOLA               KS 66071‐8221
SANDRA D TURNER         1300 CENTER AVE APT 307                                                               BAY CITY            MI 48708‐6181
SANDRA DAILY            3088 N 450 W                                                                          KOKOMO              IN 46901‐9111
SANDRA DANIELS          2512 WEST MARIAN CT                                                                   PEORIA               IL 61615
SANDRA DANKANICH        1685 CARMEN RD                                                                        BARKER              NY 14012‐9665
SANDRA DAULTON          493 DELRAY ST                                                                         KOKOMO              IN 46901‐7065
SANDRA DAVENPORT        1616 FRANKLIN ST                                                                      HASLETT             MI 48840‐8470
SANDRA DAVID            2921 OLD MOULTON RD SW                                                                DECATUR             AL 35603‐4417
SANDRA DAVIDSON         41 TULIP BEND DR                                                                      WENTZVILLE          MO 63385‐2658
SANDRA DAVIS            2645 LORADO LN                                                                        ROCKFORD             IL 61101‐1843
SANDRA DAVIS            17137 SNOWDEN ST                                                                      DETROIT             MI 48235‐4149
SANDRA DAVIS            4635 SANDRA LYNN DR                                                                   MESQUITE            TX 75150‐1088
SANDRA DAVIS            1207 HARDING RD                                                                       ESSEXVILLE          MI 48732‐1763
SANDRA DAWSON           634 STATE ST APT G1                                                                   EATON RAPIDS        MI 48827‐1600
SANDRA DAY              3461 EAST RD. 250 NORTH                                                               ANDERSON            IN 46012
SANDRA DE LANEY         4205 RED BANDANA WAY                                                                  ELLICOTT CITY       MD 21042‐5928
SANDRA DEARWESTER       527 S TERRACE AVE                                                                     COLUMBUS            OH 43204‐3143
SANDRA DEBATS‐TYMICH    10570 NORTHLAND DR                                                                    BIG RAPIDS          MI 49307‐9444
SANDRA DEETER           4688 W 8TH STREET RD                                                                  ANDERSON            IN 46011‐9189
SANDRA DEJULIO          3957 POTHOUR WHEELER RD                                                               HUBBARD             OH 44425‐9782
SANDRA DELANEY          44675 ROBSON RD                                                                       BELLEVILLE          MI 48111‐1342
SANDRA DEMOREST         3208 SITTS RD                                                                         MASON               MI 48854‐9747
SANDRA DENNIS           652 JULIEN ST                                                                         BELVIDERE            IL 61008‐3814
SANDRA DERSTINE         2277 OYSTER BAY LANE                                                                  GULF SHORES         AL 36542
SANDRA DERY             26 ANDREW LN                                                                          WATERBURY           CT 06708‐2725
SANDRA DES ORMEAU       5261 SPINNING WHEEL DR D                                                              GRAND BLANC         MI 48439
SANDRA DEUPREE          18840 NORTHLAND BLVD                                                                  BARRYTON            MI 49305‐9548
SANDRA DEVIEW           147 LAKE RIDGE DR                                                                     MASON               MI 48854‐8328
SANDRA DEWITT           3417 POND RIDGE DR                                                                    HOLLY               MI 48442‐1184
SANDRA DIBBLE           2281 JUDAH RD                                                                         ORION               MI 48359‐2250
SANDRA DICKINSON        502 ASHE AVE                                                                          NEW JOHNSONVILLE    TN 37134‐9658
SANDRA DINGMAN          756 THOMAS J DR                                                                       FLINT               MI 48506‐5242
SANDRA DINKINS          5706 PORT AU PRINCE APT D                                                             INDIANAPOLIS        IN 46224‐8950
SANDRA DIPZINSKI        216 W FLINT ST                                                                        LAKE ORION          MI 48362‐3034
SANDRA DITMER           2125 TRACY DR                                                                         DAYTON              OH 45414‐5663
SANDRA DIXON            485 FAIRFIELD DR                                                                      JACKSON             MS 39206‐2610
SANDRA DOBOS            138 HILLVIEW DR                                                                       HUBBARD             OH 44425‐1239
SANDRA DOCKSTADER       512 BEACON LAKE DR APT 2                                                              MASON               MI 48854‐1976
SANDRA DOHRMAN          58 HAWTHORNE DR                                                                       WEST MILTON         OH 45383‐1101
SANDRA DOLAN            4712 N LAKE DR                                                                        SHREVEPORT          LA 71107‐2924
SANDRA DON              4700 DUTCHER RD                                                                       AKRON               MI 48701‐9522
SANDRA DONATELLI        1512 PINEHURST LANE                                                                   OAKMONT             PA 15139
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Name                   Address1                       Address2              Address3       Address4         City                State Zip
SANDRA DOOLEY          4460 HARTLEY                                                                         WHITE LAKE           MI 48383‐1509
SANDRA DOOLEY          4408 MATHEW ST                                                                       SAINT LOUIS          MO 63121‐3137
SANDRA DORMAN          1112 VALLEY DR                                                                       CARO                 MI 48723‐9510
SANDRA DOUGLAS         944 MCDONALD AVE                                                                     MC DONALD            OH 44437‐1323
SANDRA DOWELL          14411 SARASOTA                                                                       REDFORD              MI 48239‐3383
SANDRA DOWNING         10365 MARTZ RD                                                                       YPSILANTI            MI 48197‐9421
SANDRA DOWNING         6223 MIDDLEBORO RD                                                                   BLANCHESTER          OH 45107‐9312
SANDRA DRACE           1409 NORTHRIDGE DR                                                                   HUDSON               WI 54016‐1883
SANDRA DRAKE           219 LOVELORN STREET                                                                  WARNER ROBINS        GA 31088
SANDRA DRENNEN
SANDRA DRZAZGOWSKI     21068 BOULDER CIR                                                                    NORTHVILLE          MI   48167‐2734
SANDRA DUFFY           18174 WILSON CT                                                                      BROWNSTOWN          MI   48193‐8242
SANDRA DUMAS           20175 WILDHERN ST                                                                    SOUTHFIELD          MI   48076‐1770
SANDRA DUNCAN HARRIS   9900 CASE RD                                                                         BROOKLYN            MI   49230‐8512
SANDRA DUNN            100 COUNTY ROAD 1473                                                                 CULLMAN             AL   35058‐0792
SANDRA DUNN            622 JEFFERSON DR SW                                                                  CONYERS             GA   30094‐5054
SANDRA DURDEN          4321 FARMCREST ST                                                                    BURTON              MI   48509‐1105
SANDRA DURDEN          117 CABERNET DR                                                                      UNION               OH   45322
SANDRA DUSTIN          148 SCHILLHAMMER ROAD                                                                JERICHO             VT   05465
SANDRA DUTT            2312 MUSSON RD                                                                       HOWELL              MI   48855‐9082
SANDRA DWYER           4201 KRISTIN LN                                                                      KOKOMO              IN   46902‐4108
SANDRA E AESCHLIMAN    PO BOX 346                                                                           GALVESTON           IN   46932‐0346
SANDRA E ASHLEY        4127 KINSEY RD.                                                                      ENGLEWOOD           OH   45322‐2610
SANDRA E BARLETT       3356 SARANAC DR.                                                                     SHARPSVILLE         PA   16150
SANDRA E BRIDGES       504 E WALNUT ST                                                                      COVINGTON           OH   45318‐1646
SANDRA E ELSER         142 WILLOW                                                                           CORTLAND            OH   44410‐1246
SANDRA E HERRING       807 SEWARD ST                                                                        DETROIT             MI   48202‐2304
SANDRA E JOHNSON       74 THORNDALE TER APT 2                                                               ROCHESTER           NY   14611
SANDRA E MOORE         507 HEMINGWAY DR                                                                     COLUMBIA            TN   38401‐5309
SANDRA E ROBINSON      8000 OAKDELL WAY APT 1508‐1                                                          SAN ANTONIO         TX   78240‐3941
SANDRA E SMITH         111 CHERRYHILL DRIVE                                                                 FLINT               MI   48504
SANDRA E SMITH         1204 EVERETT DR                                                                      DAYTON              OH   45407‐1603
SANDRA E SQUIBBS       2923 WILLOW OAK DRIVE                                                                EDGEWATER           FL   32141‐5630
SANDRA E STEVENSON     316 SHERMAN ST                                                                       LINDEN              NJ   07036‐1948
SANDRA E WELLS         33570 BERNADINE DR                                                                   FARMINGTON HILLS    MI   48335‐1412
SANDRA EADDY           STE 600                        1274 LIBRARY STREET                                   DETROIT             MI   48226‐2283
SANDRA EBEL            5988 RED FEATHER DR                                                                  BAY CITY            MI   48706‐3490
SANDRA EBERSOLE        13792 JOHNS GIN RD                                                                   KEITHVILLE          LA   71047‐5103
SANDRA ECKLER          PO BOX 108                                                                           NEW LONDON          OH   44851‐0108
SANDRA ECKSTEIN        576 HALCOR LN                                                                        CINCINNATI          OH   45255‐5010
SANDRA EDDY            PO BOX 526                                                                           FLUSHING            MI   48433‐0526
SANDRA EDDY            5236 CAMBRIA RD                                                                      SANBORN             NY   14132‐9412
SANDRA EDSON           18657 COUNTY ROAD 12 S                                                               FOLEY               AL   36535‐3738
SANDRA EDWARDS         1320 E SAWDUST CORNERS RD                                                            LAPEER              MI   48446‐8765
SANDRA EDWARDS         1300 ROC DR                                                                          COMMERCE TOWNSHIP   MI   48390‐3240
SANDRA EDWARDS         528 SYCAMORE TRL                                                                     CORTLAND            OH   44410‐1128
SANDRA EDWARDS         14960 COLLIER BLVD             #2090                                                 NAPLES              FL   34119
SANDRA EGGERSTORFER    4220 TEMPLAR RD                                                                      TOLEDO              OH   43613‐3933
SANDRA EICHELT         3405 COLBY LN                                                                        JANESVILLE          WI   53546‐1951
SANDRA EL‐AMIN         2518 SLATON DR                                                                       GRAND PRAIRIE       TX   75052‐3910
SANDRA ELLIOTT         39 W ERIE RD                                                                         TEMPERANCE          MI   48182‐9320
SANDRA ELLIS           3101 W 450 N                                                                         MUNCIE              IN   47302
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Name                 Address1                           Address2            Address3         Address4         City            State Zip
SANDRA ELLIS         246 VANCE LN                                                                             BOWLING GREEN    KY 42101‐7443
SANDRA ELLISON       7181 TROY PIKE                                                                           HUBER HEIGHTS    OH 45424‐2658
SANDRA ELSER         142 WILLOW AVE                                                                           CORTLAND         OH 44410‐1246
SANDRA ELWOOD        2065 LUPIN ST                                                                            SIMI VALLEY      CA 93065‐2620
SANDRA EMERSON       3848 HURDS CR ROAD                                                                       MAYVILLE         MI 48744
SANDRA ENGLAND       2001 N SALEM DR                                                                          INDEPENDENCE     MO 64058‐1329
SANDRA ENLOW         700 LINDAIRE LN E                                                                        MANSFIELD        OH 44906‐1760
SANDRA ENOCH         37460 LADYWOOD ST                                                                        LIVONIA          MI 48154‐1447
SANDRA ENOS          21 COUNTY ROAD 120                                                                       CORINTH          MS 38834‐7650
SANDRA ERA‐NAIL      686 HILLTOP RD                                                                           ELKTON           MD 21921‐2419
SANDRA ERWAY         8808 NORTHWAY CIR                                                                        FREELAND         MI 48623‐9561
SANDRA ESPOSITO      590 THORNTON ST                                                                          SHARON           PA 16146‐3573
SANDRA ETCHISON      8792 CARRIAGE LN                                                                         PENDLETON        IN 46064‐9338
SANDRA EVERSOLE      450 N ELM ST APT 121                                                                     DAYTON           OH 45449
SANDRA EWKA          12376 OLD MILLER RD                                                                      LENNON           MI 48449‐9410
SANDRA EYK           3070 FAIRLAWN CT                                                                         MUSKEGON         MI 49441‐1147
SANDRA F ABNEY       3845 KNOLLWOOD DR                                                                        DAYTON           OH 45432
SANDRA F BADGER      14 L RELER LN                                                                            SOMERSET         NJ 08873
SANDRA F BUTZER      215 MASON DR                                                                             EPHRATA          PA 17522
SANDRA F CALLAWAY    7763 KING RD.                                                                            RAVENNA          OH 44266
SANDRA F DIXON       3218 SAGE ST                                                                             JACKSON          MS 39213‐6156
SANDRA F KLINGER     3 E BEHNEY ST                                                                            LEBANON          PA 17046
SANDRA F MELNIK      1013 CENTER ST E                                                                         WARREN           OH 44481‐9356
SANDRA F MORGAN      601 CLAY CT                                                                              BRANDON          FL 33510‐3810
SANDRA F NEAL        PO BOX 263                                                                               HAZLEHURST       MS 39083‐0263
SANDRA F PEMBERTON   9817 BELDEN DR                                                                           WINDHAM          OH 44288‐1403
SANDRA F RADCLIFF    20485 CAROL ST                                                                           DETROIT          MI 48235‐1633
SANDRA F WHIRL       2493 MURPHY RD                                                                           FLINT            MI 48504‐6555
SANDRA FALK          10967 CRICHTON CT                                                                        JACKSONVILLE     FL 32221‐2875
SANDRA FANDREY       1502 EVERGREEN CT                                                                        ADAMS            WI 53910‐9594
SANDRA FAST          4213 ELM                                                                                 LYONS             IL 60534
SANDRA FAUVER        PO BOX 159                                                                               SLIDELL          LA 70459‐0159
SANDRA FAWCETT       404 JULIAN AVE                                                                           LANSING          MI 48917‐2745
SANDRA FAZIO         #1                                 23 SMYTHE AVENUE                                      TRENTON          NJ 08610‐5155
SANDRA FEIGHTNER     3711 SUGAR LN                                                                            KOKOMO           IN 46902‐4443
SANDRA FERGUSON      131 FREEPORT ST                                                                          DELMONT          PA 15626‐1239
SANDRA FERGUSON      4079 S OLD STATE ROAD 15                                                                 WABASH           IN 46992‐7805
SANDRA FERRELL       215 N CANAL RD LOT 36                                                                    LANSING          MI 48917‐8665
SANDRA FINKBEINER    3290 METCALF RD                                                                          CARO             MI 48723‐9382
SANDRA FIORITA       2589 EHRHART DR                                                                          SPRINGFIELD      OH 45502‐8596
SANDRA FISHER        PO BOX 364                                                                               SAINT JOSEPH     LA 71366‐0364
SANDRA FISK          5127 11TH ST W                                                                           BRADENTON        FL 34207‐2807
SANDRA FITCH         2290 BALTIMORE ST LOT 13                                                                 DEFIANCE         OH 43512‐3900
SANDRA FITCHETT      1122 ROBERTS DR                                                                          METAMORA         MI 48455‐8937
SANDRA FITZGERALD    42 EMS B60 LN                                                                            WARSAW           IN 46582‐6643
SANDRA FLETCHER      2139 LOCKPORT OLCOTT RD                                                                  BURT             NY 14028‐9788
SANDRA FLORES        196 BASKET RD                                                                            WEBSTER          NY 14580‐9601
SANDRA FOEHL         2901 FOSTER AVE NE                                                                       GRAND RAPIDS     MI 49505‐3365
SANDRA FOLEY         307 S PARK DR                                                                            MONTICELLO       IN 47960‐2552
SANDRA FOLEY         10319 DENTON HILL RD                                                                     FENTON           MI 48430‐2509
SANDRA FORD          1853 FARMDALE AVE                                                                        MINERAL RIDGE    OH 44440‐9521
SANDRA FORD          9727 FERNCLIFF RD                                                                        BETHANY          LA 71007‐8724
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Name                 Address1                         Address2            Address3         Address4         City            State Zip
SANDRA FORSTER       5633 THOMPSON CLARK RD                                                                 BRISTOLVILLE     OH 44402‐9716
SANDRA FORTSCH       8316 HIRAM PL SE                                                                       WARREN           OH 44484‐2533
SANDRA FOX           320 ARMSTRONG ST                                                                       TIPTON           IN 46072‐1419
SANDRA FOX           480 WALNUT ST                                                                          MOUNT MORRIS     MI 48458‐1951
SANDRA FOX
SANDRA FRANKLIN      35474 ORANGELAWN ST                                                                    LIVONIA         MI   48150‐2539
SANDRA FRANKS        PEAVINE TRAILER PARK                                                                   ALABASTER       AL   35007
SANDRA FRAS          1922 GREENBRIAR LN                                                                     FLINT           MI   48507‐2284
SANDRA FREEMAN       PO BOX 4353                                                                            WARREN          OH   44482‐4353
SANDRA FREEMAN       2398 DEER PASS WAY                                                                     DECATUR         GA   30035‐2719
SANDRA FRIES         2003 GUINEVERE ST                                                                      ARLINGTON       TX   76014‐1611
SANDRA FRIGERIO      1509 HALIFAX DR                                                                        SPRING HILL     TN   37174‐9280
SANDRA FUGATE        175 RAINBOW DR PMB 7593                                                                LIVINGSTON      TX   77399‐1075
SANDRA FULTZ         4838 FILER ST                                                                          WATERFORD       MI   48328‐2843
SANDRA G BENSON      P.O. BOX 272                                                                           GERMANTOWN      OH   45327‐0272
SANDRA G BRAINARD    5222 W ROCKWELL RD                                                                     AUSTINTOWN      OH   44515
SANDRA G BROWN       1116 ANGEL COVE                                                                        TERRY           MS   39170‐7253
SANDRA G BYERS       2815 LYDIA ST. SOUTH WEST                                                              LORDSTOWN       OH   44481
SANDRA G CAMPBELL    1 GREENCLIFF DR                                                                        UNION           OH   45322
SANDRA G CLARK       207 BELLAIRE DRIVE                                                                     FAIRBORN        OH   45324‐4105
SANDRA G DOBOZY      154 PITTSBURGH AVE                                                                     GIRARD          OH   44420
SANDRA G DOWNING     6223 MIDDLEBORO RD                                                                     BLANCHESTER     OH   45107‐9312
SANDRA G GILBERT     705 E MOLLOY RD                                                                        MATTYDALE       NY   13211‐1605
SANDRA G HOANG       4599 CORDELL DR                                                                        DAYTON          OH   45439‐3062
SANDRA G JOHNSON     6904 MANATEE AVE W APT 7 A                                                             BRADENTON       FL   34209‐2201
SANDRA G JONES       4234 LYNTZ RD SW                                                                       WARREN          OH   44481‐9270
SANDRA G KIHM        3318 MAE DR SW                                                                         WARREN          OH   44481‐9210
SANDRA G MOORE       3533 ROEJACK RD                                                                        DAYTON          OH   45408‐1545
SANDRA G PARKER      5310 PRIMROSE LANE                                                                     BOSSIER CITY    LA   71112‐8628
SANDRA G QUICK       5315 HARMON PL                                                                         KANNAPOLIS      NC   28083
SANDRA G SAMKAVITZ   1630 DUBLIN RD                                                                         DRESHER         PA   19025‐1244
SANDRA G SMITH       5971 HOAGLAND BLACKSTUB                                                                CORTLAND        OH   44410‐9540
SANDRA G SZEKELY     570 FOREST ST NE                                                                       WARREN          OH   44483
SANDRA G TAYLOR      2379 TIFFANY CIR                                                                       DECATUR         GA   30035‐3316
SANDRA G WIBLE       1109 5TH ST                                                                            BAY CITY        MI   48708‐6031
SANDRA GABEL         442 W 4TH ST                                                                           HARBOR SPGS     MI   49740‐1415
SANDRA GADWELL       417 ANDREWS LN                                                                         CROSSVILLE      TN   38555‐0901
SANDRA GAFF          3135 EASTWOOD DR                                                                       ROCHESTER HLS   MI   48309‐3914
SANDRA GALLEGOS      14444 KINGSBURY ST                                                                     MISSION HILLS   CA   91345‐2309
SANDRA GALLIMORE     7565 E SPICERVILLE HWY                                                                 EATON RAPIDS    MI   48827‐9075
SANDRA GALLIVAN      1075 DOLANE                                                                            WHITE LAKE      MI   48383‐2433
SANDRA GAMBLE        PO BOX 13393                                                                           FLINT           MI   48501‐3393
SANDRA GAMBLIN       3411 WOODHAVEN TRL                                                                     KOKOMO          IN   46902‐5063
SANDRA GARDNER       422 S EDISON AVE                                                                       ROYAL OAK       MI   48067‐3940
SANDRA GARLAND       2358 HIGH ST NW                                                                        WARREN          OH   44483‐1290
SANDRA GARLOW        704 PENNSYLVANIA AVE                                                                   MC DONALD       OH   44437‐1842
SANDRA GARRETT       1807 W MADISON ST                                                                      KOKOMO          IN   46901‐1829
SANDRA GARRETT       173 BLAINE AVE                                                                         BUFFALO         NY   14208‐1056
SANDRA GARRETT       18951 OHIO ST                                                                          DETROIT         MI   48221‐2059
SANDRA GARRISON      800 WINTERBERRY PL                                                                     MANSFIELD       OH   44905‐2315
SANDRA GARRISON      PO BOX 13329                                                                           FLINT           MI   48501‐3329
SANDRA GARRISON      PO BOX 13329                     3505 RANGELEY DR                                      FLINT           MI   48501‐3329
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Name                      Address1                           Address2          Address3         Address4         City               State Zip
SANDRA GARTEN             4995 IROQUOIS BLVD                                                                     CLARKSTON           MI 48348‐3218
SANDRA GASPARETTO         125 W LEGACY DR                                                                        BRANDON             MS 39042‐5519
SANDRA GATSON             1522 LAKECREST ST                                                                      GRAND PRAIRIE       TX 75051‐3447
SANDRA GEARHART           6367 JANICE RD                                                                         MILLINGTON          MI 48746‐9544
SANDRA GEARHEART          531 N COLUMBUS ST                                                                      CRESTLINE           OH 44827‐1421
SANDRA GECAN              9111 SOUTHVIEW AVE                                                                     BROOKFIELD           IL 60513‐1550
SANDRA GIARDINO           1830 N UNION ST                                                                        SPENCERPORT         NY 14559‐1146
SANDRA GIBBONS            5 DEVONSHIRE CT                                                                        EWING               NJ 08628‐2236
SANDRA GIBSON             1475 KNORR RD                                                                          GALION              OH 44833‐1335
SANDRA GIBSON             PO BOX 1198                                                                            BELOIT              WI 53512‐1198
SANDRA GIBSON             19930 RENFREW RD                                                                       DETROIT             MI 48221‐1369
SANDRA GIBSON             8 LOCH LOMOND ST                                                                       UNIONTOWN           PA 15401‐4008
SANDRA GILLEY             18620 N M52                                                                            CHELSEA             MI 48118
SANDRA GISCHEL            8610 FLUTTERING LEAF TRL UNIT 20                                                       ODENTON             MD 21113
SANDRA GOFORTH            5590 ROWLEY BLVD                                                                       WATERFORD           MI 48329‐3243
SANDRA GOLDING            8908 FOX AVE                                                                           ALLEN PARK          MI 48101‐1502
SANDRA GONZALEZ           10500 CLARK RD                                                                         DAVISON             MI 48423‐8597
SANDRA GOODRICH           PO BOX 185                                                                             FAIRGROVE           MI 48733‐0185
SANDRA GOODSON            134 KINGSWAY DR                                                                        ANNISTON            AL 36207‐8037
SANDRA GOODWIN            6545 BROKEN BOW DR                                                                     ANTIOCH             TN 37013‐4526
SANDRA GORDON             21560 NO WAKE AVE                                                                      WILMINGTON           IL 60481‐1086
SANDRA GORMAN             79 MAGNOLIA DR                                                                         MONROE              LA 71203‐2751
SANDRA GOTHAM             14202 NEFF RD                                                                          CLIO                MI 48420‐8846
SANDRA GOUTHIERE          9672 GARDERE DR                                                                        SHREVEPORT          LA 71115‐4602
SANDRA GRACE              2036 LINWOOD AVE                                                                       SANTA ROSA          CA 95404‐5606
SANDRA GRACE              882N COUNTY ROAD 440                                                                   MANISTIQUE          MI 49854‐8889
SANDRA GRADY              23610 E SCOTT BLVD                                                                     CLINTON TWP         MI 48036‐3157
SANDRA GRAHAM             659 HILL RD                                                                            CASEYVILLE           IL 62232‐1839
SANDRA GRANDIERI          RR 3 BOX 3256                                                                          EAST STROUDSBURG    PA 18301‐9519
SANDRA GRANGER            HIAWATHA MOBILE ESTATES #81                                                            WOODRUFF            WI 54568
SANDRA GRAVES             2134 W MINNESOTA ST                                                                    INDIANAPOLIS        IN 46221‐1840
SANDRA GRAY               9963 GOOK LUCK RD APT 203                                                              LANHAM              MD 20706‐3274
SANDRA GRAZIANO‐MACKEY    PO BOX 164                                                                             HADLEY              MI 48440‐0164
SANDRA GREEN              1531 RICHMOND RD # A                                                                   COLUMBIA            TN 38401‐9083
SANDRA GREEN              2525 DOVER ST                                                                          ANDERSON            IN 46013‐3129
SANDRA GREEN              7686 MICAWBER RD NE                                                                    WARREN              OH 44484‐1473
SANDRA GREENE ‐ DE BUSK   2923 DAYTON XENIA RD                                                                   BEAVERCREEK         OH 45434‐6357
SANDRA GREFSHEIM          2135 S PEARL ST                                                                        JANESVILLE          WI 53546‐6118
SANDRA GREGORY            11250 PRESTON RD                                                                       BRITTON             MI 49229‐9537
SANDRA GREGORY            5972 MERWIN CHASE RD                                                                   BROOKFIELD          OH 44403‐9780
SANDRA GRIFFIN            894 E CO RD 400 S                                                                      KOKOMO              IN 46902
SANDRA GRIFFIN            3 JUAREZ LN                                                                            PORT ST LUCIE       FL 34952‐8528
SANDRA GRIFFITHS          1319 DAVIS ST                                                                          YPSILANTI           MI 48198‐5960
SANDRA GRIMES             2938 ROYAL TROON WAY APT H                                                             FAIRBORN            OH 45324‐7523
SANDRA GRIMES             4047 TWIN LAKES CIR                                                                    CLAYTON             OH 45315‐8759
SANDRA GRINNELL           2863 W BRITTON RD APT 109                                                              PERRY               MI 48872‐9613
SANDRA GRINSELL           25423 SKYE DR                                                                          FARMINGTON HILLS    MI 48336‐1675
SANDRA GRYDER             230 KENORA CT                                                                          WEBSTER GRVS        MO 63119‐5202
SANDRA GUIGEAR            3463 IVORY RD                                                                          METAMORA            MI 48455‐9123
SANDRA GULINO             78B WINDSORSHIRE DRIVE                                                                 ROCHESTER           NY 14624‐1222
SANDRA GUTZ               50577 BOWER DR                                                                         CHESTERFIELD        MI 48047‐4624
SANDRA GWALTNEY           14286 EASTVIEW DR                                                                      FENTON              MI 48430‐1306
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Name                 Address1                      Address2             Address3        Address4         City             State Zip
SANDRA H BATCHO      1935 WESTWOOD DR NW                                                                 WARREN            OH 44485‐1443
SANDRA H BREWSTER    1951 MORNING STAR DR                                                                ROAMING SHORES    OH 44084‐9685
SANDRA H LIGHTNER    1113 MASON ST                                                                       NILES             OH 44446‐3601
SANDRA H MCDONOUGH   1100 VALLEY DRIVE                                                                   ATTALLA           AL 35954‐8575
SANDRA H SHACKLOCK   6810 FROGTOWN RD LOT 24                                                             HERMITAGE         PA 16148‐4821
SANDRA H SHAFER      1935 WESTWOOD DR NW                                                                 WARREN            OH 44485‐1443
SANDRA H TERBOVICH   2067 PARKWOOD DR. N.W.                                                              WARREN            OH 44485‐2326
SANDRA H VAUGHN      1381 TALL TIMBERS CT                                                                MIAMISBURG        OH 45342
SANDRA HAAKE         328 INGRAM RD                                                                       CINCINNATI        OH 45218‐1134
SANDRA HACK          1013 SWANGO DR                                                                      KETTERING         OH 45429‐4635
SANDRA HACKETT       596 CHAMPION AVE W                                                                  WARREN            OH 44483‐1312
SANDRA HAGER         1090 STATE ROAD 60 E                                                                MITCHELL          IN 47446‐6109
SANDRA HAGMAN        15401 E 400 RD                                                                      MOUND CITY        KS 66056‐5378
SANDRA HAIRSTON      PO BOX 1174                                                                         FLINT             MI 48501‐1174
SANDRA HALDY         602 SHORELINE DR                                                                    FENTON            MI 48430‐4124
SANDRA HALE          5214 S LOVEJOY RD                                                                   PERRY             MI 48872‐9338
SANDRA HALE          543 SPRINGFIELD AVE                                                                 SUMMIT            NJ 07901‐4400
SANDRA HALE          14810 MAPLERIDGE ST                                                                 DETROIT           MI 48205‐3023
SANDRA HALE          PO BOX 1447‐40                                                                      GOLDEN            MO 65658
SANDRA HALL          958 WATTS CREEK RD                                                                  WILLIAMSBURG      KY 40769‐9203
SANDRA HALL          9560 LONE PINE ST                                                                   WHITE LAKE        MI 48386‐2743
SANDRA HALL          3597 BEACON DR                                                                      PORT CHARLOTTE    FL 33980‐8612
SANDRA HALMI         4034 BRISTOL DR                                                                     TROY              MI 48085‐4809
SANDRA HAMILTON      1913 TRELLIS LANE                                                                   HENDERSONVILLE    NC 28739
SANDRA HANCOCK       3301 W BUENA VISTA ST                                                               DETROIT           MI 48238‐3375
SANDRA HANSEN        7419 PECK RD                                                                        EATON RAPIDS      MI 48827‐9559
SANDRA HANSON        9106 CINNEBAR DR                                                                    INDIANAPOLIS      IN 46268‐1298
SANDRA HARBER        3625 SEYMOUR LAKE RD                                                                ORTONVILLE        MI 48462‐9236
SANDRA HARBISON      2900 SE 97TH ST                                                                     MOORE             OK 73160‐9143
SANDRA HARRIS        12624 PAGELS DR APT 116                                                             GRAND BLANC       MI 48439‐2400
SANDRA HARRIS        3301 LAKE RD N                                                                      BROCKPORT         NY 14420‐9305
SANDRA HARRIS        14458 SEYMOUR RD                                                                    MONTROSE          MI 48457‐9075
SANDRA HARRIS        180 RYAN RD                                                                         BENTON            LA 71006‐4122
SANDRA HARRISON      868 N CANAL RD                                                                      EATON RAPIDS      MI 48827‐9370
SANDRA HARRISON      937 CANTERBURY DR                                                                   PONTIAC           MI 48341‐2333
SANDRA HART          12002 MURRAY ST                                                                     GRAND BLANC       MI 48439‐9388
SANDRA HART          APT 16                        5719 IVANHOE COURT                                    FAYETTEVILLE      NC 28314‐4449
SANDRA HARTKA        313 ESTHER DR                                                                       FOREST HILL       MD 21050‐1637
SANDRA HASKELL       2651 STATE HIGHWAY 81                                                               PONCE DE LEON     FL 32455‐2631
SANDRA HASKINS       95 RIVER DR                                                                         MUNCIE            IN 47302‐2738
SANDRA HASMAN        27210 THORNRIDGE DR                                                                 GRAND BLANC       MI 48439‐9284
SANDRA HASSELL       PO BOX 102                                                                          MOUNT PLEASANT    TN 38474‐0102
SANDRA HATHAWAY      N8320 STATE HIGHWAY 42                                                              ALGOMA            WI 54201‐9552
SANDRA HAUXWELL      3100 MAUREEN LN                                                                     DAVISBURG         MI 48350‐3237
SANDRA HAWK          PO BOX 74726                                                                        ROMULUS           MI 48174‐0726
SANDRA HAWKINS       13064 E 130TH ST N                                                                  COLLINSVILLE      OK 74021‐3837
SANDRA HAWORTH       1525 WAYNE ST APT D                                                                 TROY              OH 45373‐2780
SANDRA HAY           1312 VINING RD                                                                      GREENVILLE        MI 48838‐9283
SANDRA HAYDEN        516 MARTIN L KING BLVD S                                                            PONTIAC           MI 48341
SANDRA HAYNES        37 HOLLIS LN                                                                        GRIDLEY           CA 95948
SANDRA HAYS          1788 RIDGE RD                                                                       WHITE LAKE        MI 48383‐1784
SANDRA HAYWARD       2799 ANGELUS CIR                                                                    WATERFORD         MI 48329‐2503
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Name                    Address1                      Address2            Address3         Address4             City                 State Zip
SANDRA HAZEL            RT 1 BOX 18467 CINDER RD                                                                INTERLOCHEN           MI 49643
SANDRA HEAD             100 DEERFIELD CT APT 1                                                                  PRUDENVILLE           MI 48651‐9203
SANDRA HEARD            218 GREELEY LN                                                                          YOUNGSTOWN            OH 44505‐4862
SANDRA HEARD            5209 TILTON DR                                                                          EVANS                 GA 30809‐7077
SANDRA HEARN            30404 COUSINO DR                                                                        WARREN                MI 48092‐1915
SANDRA HECTOR           5173 HOAGLAND BLACKSTUB RD                                                              CORTLAND              OH 44410‐9519
SANDRA HEFLIN           7682 RT 46                                                                              CORTLAND              OH 44410
SANDRA HEINTZELMAN      3133 COOPER RD                                                                          IONIA                 MI 48846‐9654
SANDRA HELLMANN         340 E BAILEY CIR                                                                        MASON                 MI 48854‐1274
SANDRA HELTON           618 GETTYSBURG                                                                          COATESVILLE           IN 46121‐8960
SANDRA HENDERSON        1455 OKLAHOMA ST                                                                        WATERFORD             MI 48327‐3344
SANDRA HENDRICKS        1941 MORTON ST                                                                          ANDERSON              IN 46016‐4154
SANDRA HENDRICKSON      260 E GROVELAND DR                                                                      OAK CREEK             WI 53154‐3209
SANDRA HENIGE           22217 HILLSIDE DR                                                                       NORTHVILLE            MI 48167‐9145
SANDRA HENRY            12206 BENSON RD                                                                         MOUNT MORRIS          MI 48458‐1405
SANDRA HENSCHEL         27198 BIRMINGHAM CT                                                                     PAW PAW               MI 49079‐8540
SANDRA HENSLEY          5801 E MISTIC BAY PT                                                                    MARBLEHEAD            OH 43440‐9682
SANDRA HERNANDEZ        13025 ALMOND DR                                                                         OKLAHOMA CITY         OK 73170‐1157
SANDRA HERNANDEZ        6174 WILDERNESS POINTE                                                                  GRAND BLANC           MI 48439
SANDRA HERRIN           3152 CRESTVIEW CIR                                                                      DULUTH                GA 30096‐2514
SANDRA HERSBERGER       232 WESTWOOD DR                                                                         WINCHESTER            IN 47394‐1419
SANDRA HETTERICH        AUGSFELDER WEG 3                                                   97475 ZEIL GERMANY
SANDRA HEYSE            302 HANNAM RD                                                                           WILMINGTON           DE   19808‐2204
SANDRA HICKERSON        821 CAMBRIDGE ST APT 161                                                                MIDLAND              MI   48642‐4635
SANDRA HICKS            29661 JUDITH ST                                                                         INKSTER              MI   48141‐3416
SANDRA HIGDON           5211 TANGENT DR                                                                         WATERFORD            MI   48327‐2479
SANDRA HILL             753 JESSE HILL RD                                                                       SNOW HILL            NC   28580‐8838
SANDRA HILL             726 LYNN MILAM LN                                                                       CONYERS              GA   30094‐4193
SANDRA HILL             22502 BEACH ST                                                                          SAINT CLAIR SHORES   MI   48081‐2340
SANDRA HILL             1701 STATE HILL RD APT K4                                                               WYOMISSING           PA   19610
SANDRA HINDS            9273 VAN VLEET RD                                                                       GAINES               MI   48436‐9710
SANDRA HINES            PO BOX 47106                                                                            OAK PARK             MI   48237‐4806
SANDRA HOBBS            9108 TERRA VERDE TRL                                                                    EDEN PRAIRIE         MN   55347‐5255
SANDRA HODGE            410 SEABURN ST                                                                          BROOKFIELD           OH   44403‐9751
SANDRA HOFF             APT 4                         1236 JUNCTION ST                                          PLYMOUTH             MI   48170‐1134
SANDRA HOFFMAN          4175 FAWN TRL NE                                                                        WARREN               OH   44483‐3663
SANDRA HOLBROOK         3039 DEVONSHIRE ST                                                                      FLINT                MI   48504‐4305
SANDRA HOLLAND‐AUGUST   3322 WOLCOTT ST                                                                         FLINT                MI   48504‐3200
SANDRA HOLMBERG         3214 OCEANLINE EAST DR                                                                  INDIANAPOLIS         IN   46214‐4154
SANDRA HOLT             2880 N 800 W                                                                            TIPTON               IN   46072‐8636
SANDRA HOMOLA           2450 KROUSE RD LOT 526                                                                  OWOSSO               MI   48867‐8113
SANDRA HOOKER           465 JULIUS DAVIS LN                                                                     MARSHALL             TX   75672‐3351
SANDRA HOSMAN           4115 E OTTAWA DR                                                                        FREE SOIL            MI   49411‐9659
SANDRA HOUGH            G‐4045 LARCHMONT                                                                        FLINT                MI   48532
SANDRA HOULE            1231 NANCYWOOD DR                                                                       WATERFORD            MI   48327‐2040
SANDRA HOUSE            102 ANNA H DIXSON COURT                                                                 WHISTLER             AL   36612
SANDRA HOUSTON          1082 E CASS AVE                                                                         FLINT                MI   48505‐1607
SANDRA HOWELL           3054 W APPLEWOOD CT                                                                     MUNCIE               IN   47304‐7503
SANDRA HOWES            213 GREEN FERN WAY                                                                      BALTIMORE            MD   21227‐1739
SANDRA HOYT             8766 FOREST CT                                                                          WARREN               MI   48093‐5511
SANDRA HRABOWY          2600 TIBBETTS WICK RD                                                                   HUBBARD              OH   44425‐2711
SANDRA HUDSON           PO BOX 128                                                                              LUZERNE              MI   48636‐0128
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Name                  Address1                      Address2            Address3         Address4         City               State Zip
SANDRA HUELSENBECK    10 E ESPLANADE                                                                      BRICK               NJ 08723‐7637
SANDRA HUFF           1454 BERNWALD LN                                                                    DAYTON              OH 45432‐3222
SANDRA HUGHES         28969 KATHRYN ST                                                                    GARDEN CITY         MI 48135‐2753
SANDRA HUGHES         6122 CHEROKEE ST                                                                    TAYLOR              MI 48180‐1299
SANDRA HULETT         PO BOX 544                                                                          BELMONT             MI 49306‐0544
SANDRA HUMMEL         159 SHERWOOD DR                                                                     LEXINGTON           OH 44904‐1040
SANDRA HUMPHREY       5435 OAK PARK DR                                                                    CLARKSTON           MI 48346‐3949
SANDRA HUNTER         1572 BONAIR ST                                                                      CLEARWATER          FL 33755‐3503
SANDRA HUNTER         914 JEFFERSON AVE                                                                   DEFIANCE            OH 43512‐2804
SANDRA HUSMANN        3478 BLISSROAD DR                                                                   MACY                IN 46951‐8576
SANDRA HYDE           9271 KING GRAVES RD NE                                                              WARREN              OH 44484‐1128
SANDRA I RUSSELL      1303 GLENDALE AVENUE                                                                DAYTON              OH 45407‐2031
SANDRA IADIPAOLO      16125 FAIRVIEW CRES                                                                 SOUTHFIELD          MI 48076‐1592
SANDRA IMBY           33970 DAVISON ST                                                                    STERLING HEIGHTS    MI 48310‐6600
SANDRA INGLES         PO BOX 361071                                                                       MILPITAS            CA 95036‐1071
SANDRA IRELAND        3032 DEANNA WAY                                                                     LAWRENCEVILLE       GA 30044‐5764
SANDRA IRONS          3144 POPLAR                                                                         HIGHLAND            MI 48356‐2849
SANDRA IRVIN          312 HUNTERS HOLW                                                                    BOSSIER CITY        LA 71111‐2367
SANDRA J ATKINS       2917 LAKEHURST ST                                                                   MORAINE             OH 45439‐1406
SANDRA J BAKER        22 E WOODLAND AVE                                                                   NILES               OH 44446‐1941
SANDRA J BOYD         5223 JACKSON AVE                                                                    KANSAS CITY         MO 64130‐3047
SANDRA J BRAZELL      495 E TWIN PALMS DR APT 16                                                          PALM SPRINGS        CA 92264‐0534
SANDRA J BREEDING     1649 WIMBLEDON DR                                                                   FAIRBORN            OH 45324‐6019
SANDRA J BROMBAUGH    14421 EATON PIKE                                                                    NEW LEBANON         OH 45345
SANDRA J BUMHOFFER    265 BRADLEYVILLE RD                                                                 FAIRGROVE           MI 48733‐9710
SANDRA J CAMPBELL     375 BELLAIRE DR                                                                     FAIRBORN            OH 45324
SANDRA J COIPEL       1433 40TH ST SW                                                                     WYOMING             MI 49509‐4369
SANDRA J CONFORTI     854 MARSHALL DR                                                                     CARLISLE            PA 17013
SANDRA J COONEY       103 BENDER AVE                                                                      SYRACUSE            NY 13211‐1802
SANDRA J COTTEN       103 SONYA'S COVE                                                                    CLINTON             MS 39056
SANDRA J CRAIG        915 E HANCOCK ST                                                                    LANSDALE            PA 19446
SANDRA J DAVIS        283 AUTUMN CHAPEL WAY                                                               ROCHESTER           NY 14624‐5305
SANDRA J EDDY         5236 CAMBRIA RD                                                                     SANBORN             NY 14132‐9412
SANDRA J FIVECOAT     10200 S AIRPORT RD                                                                  DEWITT              MI 48820‐9193
SANDRA J GEARHART     6367 JANICE RD                                                                      MILLINGTON          MI 48746‐9544
SANDRA J HASMAN       27210 THORNRIDGE DR                                                                 GRAND BLANC         MI 48439‐9284
SANDRA J HENDERSON    1455 OKLAHOMA ST                                                                    WATERFORD           MI 48327‐3344
SANDRA J HOLMES       1800 ROBINSON RD                                                                    CANTON              MS 39046
SANDRA J IRONS        3144 POPLAR                                                                         HIGHLAND            MI 48356
SANDRA J JONES        925 YOUNGSTOWN WARREN RD      # 99                                                  NILES               OH 44446‐4633
SANDRA J KELLY        5248 E COLDWATER RD                                                                 FLINT               MI 48506‐4506
SANDRA J KLEIN        7 MAGGIE MAE WAY                                                                    COLD SPRING         NY 10516‐2880
SANDRA J LEIPHEIMER   11882 EDGEVIEW AVENUE                                                               CONNEAUT LAKE       PA 16316
SANDRA J MAYE         1280 WOODLAND DR                                                                    INKSTER             MI 48141‐1742
SANDRA J METZ         112 MC KENNEY AVE                                                                   SYRACUSE            NY 13211‐1732
SANDRA J MILFORD      2043 WENTWORTH VILLAGE DR                                                           BELLBROOK           OH 45305
SANDRA J MILLS        6246 GILSTON PARK RD                                                                CATONSVILLE         MD 21228‐2840
SANDRA J NELSON       PO BOX 192                                                                          FORT MONTGOMERY     NY 10922‐0192
SANDRA J NORMAN       3625 OTTERBEIN AVE                                                                  DAYTON              OH 45406‐3652
SANDRA J OSBORNE      5130 N 300 W                                                                        UNIONDALE           IN 46791‐9733
SANDRA J OSBORNE      PO BOX 591                                                                          OAKS                PA 19456
SANDRA J PHILLIPS     HC 78 BOX 215                                                                       ROCK CAVE           WV 26234
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SANDRA J RATHBURN        7750 BELDALE AVE.                                                                   HUBER HEIGHTS    OH 45424
SANDRA J SARPY           PO BOX 881214                                                                       LOS ANGELES      CA 90009‐7214
SANDRA J SIMON           PO BOX 385                     W17107 MAIN STREET                                   CURTIS           MI 49820‐0385
SANDRA J SUMMERVILLE     6028 ARROWHEAD DR                                                                   ANDERSON         IN 46013‐3778
SANDRA J SURBER          306 MANSFIELD ST                                                                    GALION           OH 44833‐2241
SANDRA J VAUGHN          1955 UNION PLACE APT 9                                                              COLUMBIA         TN 38401
SANDRA J VAUGHN          1955 UNION PL APT A04                                                               COLUMBIA         TN 38401‐5905
SANDRA J WADE            99 LYELLWOOD PKWY APT C                                                             ROCHESTER        NY 14606‐4518
SANDRA J WIIK            78 W BEVERLY AVE                                                                    PONTIAC          MI 48340‐2618
SANDRA J WILLIAMS        991 THOMPSON ROAD                                                                   OHATCHEE         AL 36271
SANDRA JACKSON           44 BARTLETT STREET                                                                  ROCHESTER        NY 14608‐2650
SANDRA JACKSON           6470 ZOELLNERS PL                                                                   HAMILTON         OH 45011‐1008
SANDRA JACKSON           2428 MAIN ST                                                                        ANDERSON         IN 46016‐5144
SANDRA JACKSON           160 COUNTY ROAD 571                                                                 DANVILLE         AL 35619‐8567
SANDRA JACKSON           4415 FIELD RD                                                                       CLIO             MI 48420‐1183
SANDRA JACKSON           18945 SW WESTWORD ST                                                                ALOHA            OR 97007‐1404
SANDRA JACKSON‐VANOVER   4366 REID RD                                                                        SWARTZ CREEK     MI 48473‐8858
SANDRA JACOBWITZ         1919 CHESTNUT ST               #805                                                 PHILADELPHIA     PA 19103
SANDRA JAGGERS           7182 N MEADOW LN                                                                    MOUNT MORRIS     MI 48458‐9303
SANDRA JAMES             PO BOX 2820                                                                         COLUMBIA         MD 21045‐0820
SANDRA JAMMER            267 N TRUMBULL RD                                                                   BAY CITY         MI 48708‐9219
SANDRA JARRELL           PO BOX 249                                                                          ZEPHYRHILLS      FL 33539‐0249
SANDRA JARRETT           1655 CORLETT WAY                                                                    ANDERSON         IN 46011‐1101
SANDRA JEAN CANTRELL     2120 ARTHUR AVE                                                                     DAYTON           OH 45414‐3104
SANDRA JENKINS           7084 TAPPON DR                                                                      CLARKSTON        MI 48346‐2634
SANDRA JENKINS           6769 LEXINGTON PL                                                                   TEMPERANCE       MI 48182‐1378
SANDRA JENNINGS          3544 EVERGREEN AVE SE                                                               WARREN           OH 44484‐3416
SANDRA JENNINGS          15900 ROAD 1037                                                                     OAKWOOD          OH 45873‐9067
SANDRA JEWELL            33250 WEST RD                                                                       NEW BOSTON       MI 48164‐9230
SANDRA JIMINEZ           18178 GARDEN MANOR DR                                                               HOUSTON          TX 77084‐6770
SANDRA JO MILLER         2114 FAIRVIEW DR                                                                    BELOIT           WI 53511‐2742
SANDRA JOBE              130 N CORNER STONE CHURCH RD                                                        EOLIA            MO 63344‐2215
SANDRA JOHNS             890 ROCKVILLE RD                                                                    SOUTH FORK       PA 15956‐3503
SANDRA JOHNSON           2500 BARONESS DR                                                                    SAINT LOUIS      MO 63136‐6030
SANDRA JOHNSON           11623 ALTOZANO LN                                                                   FLORISSANT       MO 63033‐8105
SANDRA JOHNSON           16000 SANFORD RD                                                                    ADDISON          MI 49220‐9724
SANDRA JOHNSON           2819 W WASHTENAW ST                                                                 LANSING          MI 48917‐3871
SANDRA JOHNSON           1005 SOUTH HIGH STREET                                                              COLUMBUS         OH 43206‐2527
SANDRA JOHNSON           406 GRACELAND AVE                                                                   LONDON           OH 43140‐9207
SANDRA JOHNSON           PO BOX 1104                                                                         WARREN           OH 44482‐1104
SANDRA JOHNSON           15374 TRACEY ST                                                                     DETROIT          MI 48227‐3260
SANDRA JOHNSON           60 W YPSILANTI AVE                                                                  PONTIAC          MI 48340‐1870
SANDRA JONES             4815 HOOPER STREET                                                                  MERIDIAN         MS 39307‐6768
SANDRA JONES             1612 THOMAS DR SW                                                                   DECATUR          AL 35601‐2751
SANDRA JONES             4234 LYNTZ RD SW                                                                    WARREN           OH 44481
SANDRA JONES             12277 GRIGGS ST                                                                     DETROIT          MI 48204‐1025
SANDRA JONES             6006 LAKE SHORE DR                                                                  TIFTON           GA 31794‐2210
SANDRA JORDAN            165 PINNACLE DR                                                                     SOMERSET         KY 42503
SANDRA JOYNER            1052 W TUTTLE ST                                                                    DECATUR           IL 62522‐2921
SANDRA JOYSEY            10431 BRADFORD ST                                                                   SPRING HILL      FL 34608‐2038
SANDRA JUNE              1204 NORTHEAST 66TH STREET                                                          KANSAS CITY      MO 64118‐3512
SANDRA JUNIOR            1314 DYE KREST CIR                                                                  FLINT            MI 48532‐2223
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Name                  Address1                        Address2          Address3         Address4         City               State Zip
SANDRA K BACON        18494 PRAIRIE ST                                                                    DETROIT             MI 48221‐2170
SANDRA K BAKER        3472 PARALLEL RD                                                                    DAYTON              OH 45439
SANDRA K BARNES       8233 OAKVILLE WALTZ RD                                                              BELLEVILLE          MI 48111‐9502
SANDRA K BARNEY       125 HAWKER ST                                                                       DAYTON              OH 45410
SANDRA K BLACK        12035 POMERANTZ RD                                                                  DEFIANCE            OH 43512‐9084
SANDRA K BRAINARD     PO BOX 522S                                                                         WARREN              OH 44482
SANDRA K BROWN        9 1/2 ANDERSON ST.                                                                  DAYTON              OH 45410‐‐ 21
SANDRA K CLINE        400 COLORADO DRIVE                                                                  XENIA               OH 45385‐4508
SANDRA K COATS        202 MORNINGVIEW DR.                                                                 GADSDEN             AL 35901
SANDRA K CONNORS      31 FAY DRIVE                                                                        ENON                OH 45323‐1028
SANDRA K COPPESS      224 E MAIN ST                                                                       MEDWAY              OH 45341‐1106
SANDRA K COSTIGAN     7809 COPEMISH RD                                                                    THOMPSONVILLE       MI 49683‐9274
SANDRA K DENUNZIO     2 WOODLAND CHASE BLVD                                                               NILES               OH 44446
SANDRA K DRAKE        219 LOVELORN STREET                                                                 WARNER ROBINS       GA 31088
SANDRA K DREW         123 PARKDALE AVE                                                                    PONTIAC             MI 48340‐2549
SANDRA K DUVE         2116 RIVER ST                                                                       SAGINAW             MI 48601‐3220
SANDRA K EWKA         12376 OLD MILLER RD                                                                 LENNON              MI 48449‐9410
SANDRA K GILLIAM      2406 PEBBLE CREEK CRT.                                                              HERMITAGE           PA 16148
SANDRA K GILVIN       13 GRAND AVE                                                                        TROTWOOD            OH 45426‐3330
SANDRA K GOERLITZ     6161 ROBERT CIR                                                                     YPSILANTI           MI 48197‐8280
SANDRA K GRAVES       2134 W MINNESOTA ST                                                                 INDIANAPOLIS        IN 46221‐1840
SANDRA K GROVE        2424 COUNTY RD P43                                                                  FORT CALHOUN        NE 68023
SANDRA K HARRISON     937 CANTERBURY DR                                                                   PONTIAC             MI 48341‐2333
SANDRA K HEATH        601 SENECA MANOR DR #A13M                                                           ROCHESTER           NY 14621‐1653
SANDRA K HOBBS        4286 REBERT PIKE                                                                    SPRINGFIELD         OH 45502
SANDRA K HUGHES       28969 KATHRYN ST                                                                    GARDEN CITY         MI 48135‐2753
SANDRA K JOHNSON      16000 SANFORD RD                                                                    ADDISON             MI 49220‐9724
SANDRA K JOHNSON      251 MARCHMONT DR                                                                    FAIRBORN            OH 45324
SANDRA K KELLEY       278 RAVEN ST                                                                        LAPEER              MI 48446‐2389
SANDRA K KIRBY        215 KELLER CT                                                                       UNION               OH 45322‐3349
SANDRA K KRAUSE       4901 UXTON CT                                                                       STERLING HEIGHTS    MI 48310‐2094
SANDRA K MARTENEY     4415 HEMLOCK LOOP                                                                   CLARKSTON           MI 48348‐1356
SANDRA K MCFARLANE    1034 KIMBERLY DR APT 6                                                              LANSING             MI 48912‐4828
SANDRA K MOORE        4125 RIVERSHELL LN                                                                  LANSING             MI 48911‐1908
SANDRA K PAINTER      725 HILE LANE                                                                       ENGLEWOOD           OH 45322‐1742
SANDRA K POWELL       812 CENTRAL AVE                                                                     TILTON               IL 61833‐7912
SANDRA K PURDY        210 MAYFIELD ST                                                                     TILTON               IL 61833‐7459
SANDRA K REED         1832 BROOKLINE AVE                                                                  DAYTON              OH 45420‐1954
SANDRA K RICHARD      517 W FOSS AVE                                                                      FLINT               MI 48505‐2088
SANDRA K RICHARDS     1801 SHERRY DR                                                                      BELLEVUE            NE 68005‐2247
SANDRA K ROACH        184 DRESDEN AVE                                                                     PONTIAC             MI 48340‐2517
SANDRA K ROARK        2313 CENTRAL AVE                                                                    MIDDLETOWN          OH 45044‐4605
SANDRA K ROBINSON     3710 DETROIT AVE                                                                    DAYTON              OH 45416
SANDRA K ROCKHOLD     248 EUCLID AVE                                                                      FAIRBORN            OH 45324‐3304
SANDRA K ROHRMAN      3915 YOUNGSTOWN KINGSVILLE RD                                                       CORTLAND            OH 44410
SANDRA K SILLS        819 GORDON AVE                                                                      LANSING             MI 48910‐2778
SANDRA K SINGLETON    2522 BROWNELL BLVD                                                                  FLINT               MI 48504‐2758
SANDRA K SMITHEY      HC 67 BOX 701B                                                                      CANADIAN            OK 74425
SANDRA K STIVEN       6218 N BELSAY RD                                                                    FLINT               MI 48506‐1250
SANDRA K TRIMBOLI     3111 ACKERMAN BLVD                                                                  KETTERING           OH 45429‐3501
SANDRA K WASHINGTON   244 W BROOKLYN AVE                                                                  PONTIAC             MI 48340‐1126
SANDRA K WHITE        316 ARGYLE TRL SE                                                                   BOGUE CHITTO        MS 39629‐4178
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Name                  Address1                       Address2            Address3         Address4             City                State Zip
SANDRA K WILLIAMS     5225 VALCOURT ST                                                                         MIAMISBURG           OH 45342‐1430
SANDRA K WILLIS       230 SW FREEDOM CT.                                                                       FORT WHITE           FL 32038
SANDRA K WINTER       7191 ELDERWOOD CIR                                                                       CLARKSTON            MI 48346‐1596
SANDRA K WORLEY       626 LAKENGREN DRIVE                                                                      EATON                OH 45320
SANDRA KACZMAREK      51389 FORSTER LN                                                                         SHELBY TWP           MI 48316‐3883
SANDRA KADEL          44 MCOWEN ST                                                                             DAYTON               OH 45405‐4224
SANDRA KAISER         2637 COUNTY ROAD 79                                                                      BUTLER               IN 46721‐9676
SANDRA KALIPS         17 NOVELLA DR                                                                            SAINT PETERS         MO 63376‐3056
SANDRA KALLENBACH     OSTWALDSTR. 5                                                       38116 BRAUNSCHWEIG
                                                                                          GERMANY
SANDRA KANIEWSKI      178 LAKESHORE VIS                                                                        HOWELL              MI   48843‐7561
SANDRA KARR           3744 S BERN RD                                                                           BAY CITY            MI   48706‐9227
SANDRA KASE           31053 WINDSOR ST                                                                         WESTLAND            MI   48185‐2974
SANDRA KATCHER        5616 WHITEHAVEN AVE                                                                      NORTH OLMSTED       OH   44070‐3965
SANDRA KATZ           5995 BIRCH DR                                                                            BARRYTON            MI   49305‐9508
SANDRA KAY DOHRMAN    58 HAWTHORNE DR.                                                                         WEST MILTON         OH   45383‐1101
SANDRA KEEGAN         PO BOX 203                                                                               HARTLAND            MI   48353‐0203
SANDRA KELLAMS        201 E 38TH ST                                                                            ANDERSON            IN   46013‐4647
SANDRA KELLEY         278 RAVEN ST                                                                             LAPEER              MI   48446‐2389
SANDRA KELLEY         3706 SARAHS LN                                                                           TUCKER              GA   30084‐5918
SANDRA KELLEY         4318 E 4TH ST                                                                            DAYTON              OH   45431‐1810
SANDRA KELLEY         4656 N CRAVER RD                                                                         CLOVERDALE          IN   46120‐9324
SANDRA KELLY          5248 E COLDWATER RD                                                                      FLINT               MI   48506‐4506
SANDRA KENDALL        110 BOBOLINK ST                                                                          ROCHESTER HILLS     MI   48309‐3498
SANDRA KENDRICK       8454 BELLECHASSE DR                                                                      DAVISON             MI   48423‐2121
SANDRA KENNER         1055 LOCKHAVEN DR N            UNIT 50                                                   SALEM               OR   97303
SANDRA KERL           4245 ALLENDALE DR                                                                        JANESVILLE          WI   53546‐2144
SANDRA KETTLER        130 GLENWOOD DR                                                                          OVID                MI   48866‐9562
SANDRA KEYS           2655 WALLACE LAKE CIR                                                                    CUMMING             GA   30040‐9136
SANDRA KIENZLE        PO BOX 22                                                                                BLACK RIVER         MI   48721‐0022
SANDRA KIGGINS        8956 RED ARROW HWY                                                                       WATERVLIET          MI   49098‐8564
SANDRA KIHM           3318 MAE DR SW                                                                           WARREN              OH   44481‐9210
SANDRA KING           18202 NADOL DR                                                                           SOUTHFIELD          MI   48075‐5879
SANDRA KING           8814 CLARRIDGE RD                                                                        CLARKSTON           MI   48348‐2522
SANDRA KINNAMAN       3419 VILLAGE DR                                                                          ANDERSON            IN   46011‐3877
SANDRA KINNEY         1360 BRENTWOOD TRL                                                                       BOLINGBROOK         IL   60490‐4950
SANDRA KINSLOW        188 SHADY LN                                                                             RUSSELLVILLE        AR   72802‐1323
SANDRA KINTER         2377 BARCLAY MESSERLY RD                                                                 SOUTHINGTON         OH   44470‐9740
SANDRA KIRK           3040 N FLINT RD                                                                          ROSCOMMON           MI   48653‐8558
SANDRA KITTELBERGER   8520 WESTHOPE ST                                                                         CHARLOTTE           NC   28216‐3692
SANDRA KLEE           417 DUTCH MILL DRIVE                                                                     FLUSHING            MI   48433‐2122
SANDRA KLEYLA         1107 WILSON BLVD                                                                         ANDERSON            IN   46012‐4544
SANDRA KLINE          31334 BOCK ST                                                                            GARDEN CITY         MI   48135‐1435
SANDRA KLONTZ         9321 BUTLER BLVD                                                                         WEEKI WACHEE        FL   34613‐4033
SANDRA KNOTH          40708 LIZABETH DR                                                                        STERLING HTS        MI   48313‐4039
SANDRA KNOTTS         12046 SCHONBORN PL                                                                       CLIO                MI   48420‐2145
SANDRA KNOTTS         15000 W 6TH ST                                                                           DALEVILLE           IN   47334‐9649
SANDRA KNOWLES        706 JACKSON DITCH RD                                                                     HARRINGTON          DE   19952‐2415
SANDRA KOBLE          1760 BIRCHTON ST                                                                         COMMERCE TOWNSHIP   MI   48382‐3731
SANDRA KOBOLDT        2927 STRATFORD DR                                                                        BAY CITY            MI   48706‐1531
SANDRA KOCHANEK       5193 ELMWOOD RD                                                                          OAK FOREST          IL   60452‐4443
SANDRA KONWINSKI      45 OHIO ST                                                                               LUPTON              MI   48635‐9774
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Name                   Address1                      Address2            Address3             Address4         City               State Zip
SANDRA KORDA           2214 E RUGBY RD                                                                         JANESVILLE          WI 53545‐2053
SANDRA KOSAREK         53315 WHITBY WAY                                                                        SHELBY TWP          MI 48316‐2751
SANDRA KOVIACK         11439 SHADY OAKS DR                                                                     BIRCH RUN           MI 48415‐9436
SANDRA KRAUSE          4901 UXTON CT                                                                           STERLING HEIGHTS    MI 48310‐2094
SANDRA KRYGROWSKI      2588 GREENWOOD DR                                                                       NATIONAL CITY       MI 48748‐9306
SANDRA KRYSTINIAK      2750 RIVER RD                                                                           HASTINGS            MI 49058‐9135
SANDRA KUCHTA          2349 W RIVER RD                                                                         NEWTON FALLS        OH 44444‐9413
SANDRA KUSSMAUL        1912 CRESTVIEW ST                                                                       JANESVILLE          WI 53546‐5741
SANDRA L ARMES         150 S. MARYLAND                                                                         YOUNGSTOWN          OH 44509‐2809
SANDRA L AVERETT       2694 ELIZABETH DR SW                                                                    WARREN              OH 44481‐9621
SANDRA L BALLMER       2340 PARK LN                                                                            HOLT                MI 48842‐1225
SANDRA L BEASLEY       911 REBEL CIR                                                                           FRANKLIN            TN 37064‐2021
SANDRA L BLAIR         8140 TAYLORSVILLE RD                                                                    DAYTON              OH 45424‐6326
SANDRA L BOAN          PO BOX 533                                                                              MOORINGSPORT        LA 71060‐0533
SANDRA L BOGAN         PO BOX 1036                                                                             YOUNGSTOWN          OH 44501‐1036
SANDRA L BOOKER        1186 MORRIS HILLS PKWY                                                                  MOUNT MORRIS        MI 48458‐2575
SANDRA L BRITTINGHAM   1929 DRAKE DR                                                                           XENIA               OH 45385
SANDRA L BROWN         7067 SARATOGA DR                                                                        FLINT               MI 48532‐3013
SANDRA L BURT          229 MATTY AVE                                                                           MATTYDALE           NY 13211‐1632
SANDRA L BUTLER        2127 ELLEN AVE                                                                          NILES               OH 44446‐4513
SANDRA L CARON         2124 LAKEVIEW DR APT 192                                                                YPSILANTI           MI 48198‐6730
SANDRA L CHAMBERS      622 VALENCIA DRIVE                                                                      PONTIAC             MI 48342‐1669
SANDRA L CHISHOLM      1521 LEXINGTON AVE                                                                      DAYTON              OH 45402
SANDRA L CODE          1068 ORLO DR NW                                                                         WARREN              OH 44485
SANDRA L COOKE         P O BOX 361171                                                                          COLUMBUS            OH 43236‐1171
SANDRA L CRISAFULLI    1989 WILD WOOD LAKE ST                                                                  HENDERSON           NV 89052
SANDRA L CRISAFULLI    1989 WILDWOOD LAKE ST                                                                   HENDERSON           NV 89052‐8525
SANDRA L DESHANE       201 NORTHWOOD DR                                                                        SYRACUSE            NY 13211‐1315
SANDRA L EDDY          PO BOX 526                                                                              FLUSHING            MI 48433‐0526
SANDRA L ERA NAIL      686 HILLTOP RD                                                                          ELKTON              MD 21921‐2419
SANDRA L FERGUSON      131 FREEPORT STREET                                                                     DELMONT             PA 15626
SANDRA L FORTSCH       8316 HIRAM PLACE                                                                        WARREN              OH 44484‐2533
SANDRA L GARCIA        99 FLORENCE AVENUE                                                                      ROCHESTER           NY 14616
SANDRA L GRAHAM        659 HILL RD                                                                             CASEYVILLE           IL 62232‐1839
SANDRA L GREGORY       5972 MERWIN CHASE RD                                                                    BROOKFIELD          OH 44403‐9780
SANDRA L GRIMES        2938 ROYAL TROON WAY APT H                                                              FAIRBORN            OH 45324‐7523
SANDRA L GROUNDS       633 MACEDONIA RD                                                                        RAGLAND             AL 35131‐3229
SANDRA L HALE          294 MAGNOLIA DR                                                                         LEBANON             OH 45036
SANDRA L HALL          9560 LONE PINE ST                                                                       WHITE LAKE          MI 48386‐2743
SANDRA L HARKINS       1521 PRIMROSE AVE                                                                       TOLEDO              OH 43612‐4028
SANDRA L HART          5719 IVANHOE CT APT 16                                                                  FAYETTEVILLE        NC 28314‐4449
SANDRA L HAWORTH       1525 WAYNE ST                 APT D                                                     TROY                OH 45373
SANDRA L HAY           1312 VINING RD                                                                          GREENVILLE          MI 48838‐9283
SANDRA L HENDRICKSON   260 E GROVELAND DR                                                                      OAK CREEK           WI 53154‐3209
SANDRA L HOFF          APT 4                         1236 JUNCTION ST                                          PLYMOUTH            MI 48170‐1134
SANDRA L HUFNAGEL      451 COOLSPRINGS COVE                                                                    WOODSTOCK           GA 30188
SANDRA L HYDE          9271 KING GRAVES RD.                                                                    WARREN              OH 44484‐1128
SANDRA L JOHNSON       209 MOHAWK DR                                                                           SYRACUSE            NY 13211‐1833
SANDRA L KELLY         ACCT OF TERRENCE KELLY        1024 ROSEMARY LN                                          ESSEXVILLE          MI 48732‐2015
SANDRA L KELLY         ACCOUNT OF TERRENCE KELLY     1024 ROSEMARY LN    FILE #88‐7425 C‐DM                    ESSEXVILLE          MI 48732‐2015
SANDRA L KISH          2544 HENN HYDE RD                                                                       CORTLAND            OH 44410
SANDRA L KNISLEY       254 SHERMAN DR.                                                                         FRANKLIN            OH 45005
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Name                   Address1                     Address2            Address3         Address4         City              State Zip
SANDRA L KUCHTA        2349 WEST RIVER RD                                                                 NEWTON FALLS       OH 44444‐9413
SANDRA L LUCE          46 CURTISDALE LN                                                                   HAMLIN             NY 14464
SANDRA L MAIN          665 ELM ST                                                                         ABERDEEN           MD 21001‐3113
SANDRA L MANESS        228 W CORNELL AVE                                                                  PONTIAC            MI 48340‐2724
SANDRA L MARLOW        201 HASTINGS ST                                                                    FLINT              MI 48503‐2114
SANDRA L MATHIS        12934 MEMORIAL ST                                                                  DETROIT            MI 48227‐1295
SANDRA L MAURER        7258 NORMAN RD                                                                     NORTH TONAWANDA    NY 14120‐1411
SANDRA L MAYABB        10551 OLD DAYTON RD                                                                NEW LEBANON        OH 45345‐9685
SANDRA L MILTON        630 KIMBERTON DR                                                                   FORT WAYNE         IN 46816‐1151
SANDRA L MOORE         302 N BRIDGE ST                                                                    LINDEN             MI 48451‐8638
SANDRA L MOORE         PO BOX 310272                                                                      FLINT              MI 48531‐0272
SANDRA L MORALES       9532 KINGSWAY CIR                                                                  CLARKSTON          MI 48348‐5404
SANDRA L MORSE         36 PRENTICE ST                                                                     LOCKPORT           NY 14094‐2120
SANDRA L NAESSENS      610 WAYNE ST                                                                       SAGINAW            MI 48602‐1455
SANDRA L NONA          6305 FUTURITY DR                                                                   HARRAH             OK 73045‐8913
SANDRA L PLAVE         3384 BROPHY RD                                                                     HOWELL             MI 48855‐9744
SANDRA L PRESTEL       1565 NORTON AVE                                                                    DAYTON             OH 45420‐3243
SANDRA L REICHERT      15 BIG RIDGE RD                                                                    SPENCERPORT        NY 14559
SANDRA L REID          120 E CORNELL AVE                                                                  PONTIAC            MI 48340‐2632
SANDRA L RENIFF        1325 MONCREST DR NW                                                                WARREN             OH 44485‐1926
SANDRA L ROBSON        613 3RD ST                                                                         BAY CITY           MI 48708‐5905
SANDRA L ROSS          4981 BIRCH ACRES RD                                                                OSCODA             MI 48750‐9301
SANDRA L RUSH          719 OREGON AVE                                                                     MCDONALD           OH 44437‐1625
SANDRA L SCHULTZ       8952 IRISH RD                                                                      MILLINGTON         MI 48746‐9433
SANDRA L SHEPPARD      3913 RAPHAEL ST                                                                    FORT WORTH         TX 76119‐7751
SANDRA L SHORTS        3571 HOAGLAND BLACKSTUB RD                                                         CORTLAND           OH 44410‐9398
SANDRA L SILER         236 PINEGROVE DR                                                                   BELLBROOK          OH 45305
SANDRA L SIMMONS       PO BOX 173                                                                         SHREWSBURY         PA 17361‐0173
SANDRA L SKERRATT      415 SECRIST LANE                                                                   GIRARD             OH 44420‐1114
SANDRA L SMITH         72 ATWOOD DRIVE                                                                    ROCHESTER          NY 14606
SANDRA L STADNYK       460 POND VIEW HEIGHTS #3                                                           ROCHESTER          NY 14612‐1334
SANDRA L TRAMMELL      1656 LUNDGREN RD                                                                   NEW CARLISLE       OH 45344
SANDRA L VIRES         9621 MILE RD                                                                       NEW LEBANON        OH 45345
SANDRA L WALLICK       1455 EAGLE HIGHLANDS DR D                                                          FAIRBORN           OH 45324
SANDRA L WARD‐HATTON   500 GARDENIA                                                                       PANAMA BEACH       FL 32407‐2913
SANDRA L WHEELER       9810 NICOVA AVE                                                                    LAS VEGAS          NV 89148‐4729
SANDRA L WINDHAM       11700 SUSSEX ST                                                                    DETROIT            MI 48227‐2028
SANDRA L WRIGHT        16315 SILVER SHADOW LN                                                             HUNTERTOWN         IN 46748‐9360
SANDRA L WRIGHT        315 DEVONSHIRE ST                                                                  YPSILANTI          MI 48198‐7817
SANDRA L WRIGHT        P.O. BOX 42                                                                        DAYTON             OH 45405‐0042
SANDRA L WROSE         4261 GRANGE HALL RD LOT 3                                                          HOLLY              MI 48442‐1161
SANDRA L WYNN          PO BOX 4126                                                                        FLINT              MI 48504‐0126
SANDRA L ZISKA         5518 LAURA STREET                                                                  ZEPHYRHILLS        FL 33542‐6833
SANDRA L. WAGNER       12857 W BELOIT RD                                                                  NEW BERLIN         WI 53151‐6929
SANDRA LA FAVE         4905 S LOFTUS LN                                                                   NEW BERLIN         WI 53151‐7502
SANDRA LABEL           665 MORNINGSIDE DR APT 201                                                         CORONA             CA 92879‐1278
SANDRA LACY            800 HURON AVE                                                                      DAYTON             OH 45402‐5324
SANDRA LAFFREY         9239 EMILY DR                                                                      DAVISON            MI 48423‐2868
SANDRA LAMAR           6685 WING ST                                                                       YPSILANTI          MI 48197‐1060
SANDRA LAMBERT         574 E ROHDE DR                                                                     PORT CLINTON       OH 43452‐9619
SANDRA LAMBERT         RR 4 BOX 98                                                                        BLUEFIELD          WV 24701‐9213
SANDRA LAMOUREUX       6108 CAYCE LN                                                                      COLUMBIA           TN 38401‐5412
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Name                   Address1                           Address2                       Address3   Address4         City              State Zip
SANDRA LANGHAM         PO BOX 435                                                                                    MASON              MI 48854‐0435
SANDRA LAPORT          3298 GREENWAY RD                                                                              GRAND ISLAND       NY 14072‐1013
SANDRA LAPP            3241 CALUMET DR                                                                               SHREVEPORT         LA 71107‐7401
SANDRA LARKINS         30338 SOUTHFIELD RD                                                                           SOUTHFIELD         MI 48076‐1353
SANDRA LARSEN          6295 KING ARTHUR DR                                                                           SWARTZ CREEK       MI 48473‐8855
SANDRA LASKO           600 BREEZE PARK DRIVE                                                                         WELDON SPRING      MO 63304‐9142
SANDRA LATCHAW         2106 E SCHUMACHER ST                                                                          BURTON             MI 48529‐2436
SANDRA LATIMER         3674 CADWALLADER SONK RD                                                                      CORTLAND           OH 44410‐9412
SANDRA LAURICELLA      PO BOX 447                                                                                    LYNDONVILLE        NY 14098‐0447
SANDRA LAUTH           119 VICTOR AVE                                                                                NILES              OH 44446‐1636
SANDRA LAW             313 HUDSON RD                                                                                 FITZGERALD         GA 31750‐7940
SANDRA LAW             PO BOX 275                                                                                    POTTERVILLE        MI 48876‐0275
SANDRA LAWRENCE        1123 SHALIN DR                                                                                DAVISON            MI 48423‐2844
SANDRA LE FLORE        8316 AZUREWOOD DR                                                                             OKLAHOMA CITY      OK 73135‐6101
SANDRA LEACH           5290 SKELTON RD                                                                               COLUMBIAVILLE      MI 48421‐8725
SANDRA LEDERER L       EARLY LUDWICK & SWEENEY LLC        ONE CENTURY TOWER 11TH FLOOR                               NEW HAVEN          CT 06510
                                                          265 CHURCH STREET
SANDRA LEE             2901 S SHERIDAN AVE                                                                           INDIANAPOLIS      IN   46203‐5846
SANDRA LEE             6207 CARRIAGE GATE LN SE                                                                      MABLETON          GA   30126‐7715
SANDRA LEE PHAUP       678 E SARATOGA ST                                                                             FERNDALE          MI   48220
SANDRA LEFEBVRE        1808 EXECUTIVE DR                                                                             KOKOMO            IN   46902‐3015
SANDRA LEFFLER         1832 W MICHIGAN AVE                                                                           SAGINAW           MI   48602‐1137
SANDRA LEGGS           4109 HIGHLANDER CT                                                                            ANTIOCH           TN   37013‐2931
SANDRA LEIPHEIMER      11882 EDGEVIEW AVE                                                                            CONNEAUT LAKE     PA   16316‐3314
SANDRA LERCZAK         413 LAKE FOREST ROAD                                                                          ROCHESTER HILLS   MI   48309
SANDRA LESPERANCE      4813 RIVERSIDE RD                                                                             WATERFORD         WI   53185‐3327
SANDRA LEVEQUE         4396 VAN SLYKE RD                                                                             FLINT             MI   48507
SANDRA LEWICKI         10400 N LINDEN RD                                                                             CLIO              MI   48420‐8500
SANDRA LEWIS           106 RUZIC DR                                                                                  KATHLEEN          GA   31047‐2288
SANDRA LEWIS           4288 LARCHMONT ST                                                                             DETROIT           MI   48204‐3767
SANDRA LEWIS           2057 PENBROOKE TRL                                                                            CENTERVILLE       OH   45459‐3433
SANDRA LEWIS           912 CECILWOOD DR                                                                              MANSFIELD         OH   44907‐2126
SANDRA LEWIS           6815 PITTS BLVD                                                                               N RIDGEVILLE      OH   44039‐3123
SANDRA LEWIS           206 IRIS DR                                                                                   MT PLEASANT       TN   38474‐1011
SANDRA LEWIS C/O SDU   PO BOX 8000                                                                                   WHEATON           IL   60187‐8009
SANDRA LIGHTNER        1113 MASON ST                                                                                 NILES             OH   44446‐3601
SANDRA LINDEMAN        1116 WILHELM ST                                                                               DEFIANCE          OH   43512‐2953
SANDRA LINGNER         PO BOX 536                         4135 WALNUT ROAD, LOT 32                                   BUCKEYE LAKE      OH   43008‐0536
SANDRA LIPUT           47830 ANNA CT                                                                                 SHELBY TWP        MI   48315‐4509
SANDRA LITTELL         2342 1ST ST                                                                                   PLAINFIELD        IN   46168‐1810
SANDRA LOPEZ           200 LUX ST                                                                                    ROCHESTER         NY   14621‐4202
SANDRA LOPRESTO        1020 HIDDEN PONDS DR                                                                          MARTIN            MI   49070‐8717
SANDRA LOVELL          616 T ST                                                                                      BEDFORD           IN   47421‐1920
SANDRA LOVETT          453 E CAREY ST                                                                                KNIGHTSTOWN       IN   46148‐1209
SANDRA LOWDEN          1010 E CENTER CROSS ST                                                                        EDINBURGH         IN   46124‐1233
SANDRA LUCAS           5925 PASEO BLVD                                                                               KANSAS CITY       MO   64110‐3251
SANDRA LUCKSTED        355 GASTON LN                                                                                 BOSSIER CITY      LA   71112‐4270
SANDRA LUKE            5184 WINDING GLEN DR                                                                          LITHONIA          GA   30038‐5311
SANDRA LUND            3721 GLENWOOD AVE                                                                             LANSING           MI   48910‐4709
SANDRA LUNENBURG       4342 TYDL DR                                                                                  JANESVILLE        WI   53546‐2115
SANDRA LUSH            431 OVERLOOK TRL                                                                              PLAINFIELD        IN   46168‐1081
SANDRA LUSHIN          4676 WEXMOOR DR                                                                               KOKOMO            IN   46902‐9597
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Name                   Address1                            Address2                   Address3             Address4           City               State Zip
SANDRA LUTH            5396 ROSEDALE PL                                                                                       SAGINAW             MI 48638‐4412
SANDRA LUTHER          49600 ANN ARBOR RD W                                                                                   PLYMOUTH            MI 48170‐3207
SANDRA LYBARGER        507 S FEYDER AVENUE                                                                                    HARTFORD            SD 57033‐2045
SANDRA LYLE            PO BOX 2332                                                                                            DAYTON              OH 45401‐2332
SANDRA LYONS           819 LAWNDALE AVE                                                                                       TILTON               IL 61833‐7965
SANDRA LYTTLE          1024 GREENLAWN AVE                                                                                     FORT WAYNE          IN 46808‐2368
SANDRA M ANDERSON      1080 E HUMPHREY AVE                                                                                    FLINT               MI 48505‐1510
SANDRA M BARRICKMAN    1024 BRISTOL CHAMPION RD                                                                               BRISTOLVILLE        OH 44402
SANDRA M BELL          231 BLUE BONNET BLVD                                                                                   SAN ANTONIO         TX 78209
SANDRA M CORSALE       7780 CHESTNUT RIDGE RD.                                                                                HUBBARD             OH 44425‐9702
SANDRA M CSAPO         8838 S 228TH ST                                                                                        KENT                WA 98031‐2438
SANDRA M DICKINSON     502 ASHE AVENUE                                                                                        NEW JOHNSONVILLE    TN 37134
SANDRA M DOWDY         ROBERT W PHILLIPS                   SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON           IL 62024
                                                           ANGELIDES & BARNERD LLC
SANDRA M GARLAND       2358 HIGH ST NW                                                                                        WARREN             OH   44483‐1290
SANDRA M GARRETT       18951 OHIO ST                                                                                          DETROIT            MI   48221‐2059
SANDRA M GODDARD       HC 40 BOX 37                                                                                           CRAWLEY            WV   24931
SANDRA M HALE          1115 N JACKSON ST                                                                                      BAY CITY           MI   48708‐5920
SANDRA M HENSON        1351 AARONS RUN CIRCLE                                                                                 SALEM              VA   24153
SANDRA M HUFFMAN       355 GREENHILL PL #E4                                                                                   JACKSON            MS   39204‐4947
SANDRA M LACY          934 OLD ORCHARD                     APT 1                                                              DAYTON             OH   45405
SANDRA M LACY          820 CORNELL DR                                                                                         DAYTON             OH   45406
SANDRA M LAPORT        3298 GREENWAY RD                                                                                       GRAND ISLAND       NY   14072‐1013
SANDRA M LAURICELLA    PO BOX 447                                                                                             LYNDONVILLE        NY   14098‐0447
SANDRA M LAURICELLA    P.O. BOX 0447                                                                                          LYNDONVILLE        NY   14098‐‐ 04
SANDRA M LAUTH         119 VICTOR AVE.                                                                                        NILES              OH   44446‐1636
SANDRA M LITTELL       2342 1ST ST                                                                                            PLAINFIELD         IN   46168‐1810
SANDRA M MANZO         4005 MESA CIRCLE NW                                                                                    MASSILLON          OH   44646‐1454
SANDRA M NABHAN        3350 W ARIEL PL                                                                                        ANAHEIM            CA   92804‐2704
SANDRA M O MALLEY      3710 PARKMAN ROAD NW                                                                                   SOUTHINGTON        OH   44470
SANDRA M POUNDS        4806 FREDERICK PIKE APT 4                                                                              DAYTON             OH   45414
SANDRA M PUPATELLI     127 OGDEN PARMA TOWN                LINE RD                                                            SPENCER PORT       NY   14559
SANDRA M RATLIFF       21 1/2 N MIAMI ST                                                                                      WEST MILTON        OH   45383‐1831
SANDRA M RUPP          PO BOX 2367                                                                                            ARLINGTON          TX   76004‐2367
SANDRA M RUSSELL       4148 LONGTIN AVE                                                                                       LINCOLN PARK       MI   48146‐3749
SANDRA M SHIER         2316 LESLIE CT APT B                                                                                   ROUND ROCK         TX   78681‐7567
SANDRA M SNYDER        4820 TALTON DR.                                                                                        MIDDLETOWN         OH   45042
SANDRA M THURMAN       10445 WEST LITKE ROAD                                                                                  RADISON            WI   54867
SANDRA M WELLS         1017 COPEMAN BLVD                                                                                      FLINT              MI   48504‐7325
SANDRA M ZIENTRA       26 SAN MARIE DRIVE                                                                                     ROCHESTER          NY   14622‐3231
SANDRA MACK            318 SPRY ISLAND RD                                                                                     JOPPA              MD   21085‐5424
SANDRA MACKEY          118 LINCOLN RD NW                                                                                      LAKE PLACID        FL   33852‐9728
SANDRA MAGAR           41907 PON MEADOW DR                                                                                    NORTHVILLE         MI   48168‐2238
SANDRA MAGAZINO        110 LYNAM ST                                                                                           WILMINGTON         DE   19804‐3137
SANDRA MAGEE           1605 LOVELAND DR                                                                                       ARLINGTON          TX   76018‐3063
SANDRA MAJOROS         139 HOLFORD AVE                                                                                        NILES              OH   44446‐1716
SANDRA MAKULINSKI      PO BOX 102                                                                                             SAMARIA            MI   48177‐0102
SANDRA MALNAR‐BOWLES   1223 RIVIERA DR                                                                                        FLINT              MI   48507‐3336
SANDRA MALONE          30595 SPRINGLAND ST                                                                                    FARMINGTON HILLS   MI   48334‐4671
SANDRA MALONEY         5529 FOREST DR                                                                                         OSCODA             MI   48750‐9420
SANDRA MANGUS          11222 BAKER RD                                                                                         JEROME             MI   49249‐9594
SANDRA MANN            PO BOX 284                                                                                             BOWLING GREEN      KY   42102‐0284
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Name                                Address1                        Address2              Address3              Address4         City              State Zip
SANDRA MANZO                        4005 MESA CIR NW                                                                             MASSILLON          OH 44646‐1454
SANDRA MARCUM                       RR 2                                                                                         BROOKVILLE         OH 45309
SANDRA MARKS                        5308 MONUMENT RD                                                                             JASPER             GA 30143‐2436
SANDRA MARKS                        3260 MORROW DR                                                                               CORTLAND           OH 44410‐9306
SANDRA MARKS                        2108 SE 40TH ST                                                                              MOORE              OK 73160‐9712
SANDRA MARRY                        14251 SQUAWFIELD RD                                                                          HUDSON             MI 49247‐9240
SANDRA MARSELLE                     1405 DEERHURST CT                                                                            ROCHESTER HILLS    MI 48307‐3322
SANDRA MARTENEY                     4415 HEMLOCK LOOP                                                                            CLARKSTON          MI 48348‐1356
SANDRA MARTIN                       10994 HENDERSON RD                                                                           CORUNNA            MI 48817‐9792
SANDRA MARTIN                       2200 E BUDER AVE                                                                             BURTON             MI 48529‐1736
SANDRA MARTINEZ KARINA HERNANDEZ    ATTN JACOB VIGIL                VIGIL LAW FIRM PA     2014 CENTRAL AVE SW                    ALBUQUERQUE        NM 87104
CHRISTIAN HERNANDES & JACOB VIGIL

SANDRA MARTINEZ, KATRINA HERNANDEZ, C/O VIGIL LAW FIRM PA           2014 CENTRAL AVE SW                                          ALBUQUERQUE       NM 87104
JACOB VIGIL HERNANDEZ
SANDRA MARTINSON                    6721 LANMAN DR                                                                               WATERFORD         MI    48329‐2935
SANDRA MARYLES SCHULTZ              C/O MARYLES                     2955 NORTH SHORE                                             CHICAGO            IL   60645
SANDRA MARZI                        71 HICKORY RDG                                                                               DAVISON           MI    48423‐9167
SANDRA MASTIN                       10325 SLOUGH RD                                                                              DEFIANCE          OH    43512‐9760
SANDRA MATHES                       18687 YORKSHIRE DR                                                                           LIVONIA           MI    48152‐3394
SANDRA MATTESON                     2139 BYRNES DR                                                                               CLIO              MI    48420‐9118
SANDRA MATTHEWS                     2410 N MONROE ST                                                                             WILMINGTON        DE    19802‐3442
SANDRA MAURER                       7258 NORMAN RD                                                                               N TONAWANDA       NY    14120‐1411
SANDRA MAUSS                        1334 SPENCER PL                                                                              ADRIAN            MI    49221‐3132
SANDRA MAYABB                       10551 OLD DAYTON RD                                                                          NEW LEBANON       OH    45345‐9685
SANDRA MAYE                         1280 WOODLAND DR                                                                             INKSTER           MI    48141‐1742
SANDRA MAYFIELD                     15844 ARCHDALE ST                                                                            DETROIT           MI    48227‐1510
SANDRA MC ALLISTER                  559 BOUTELL DR                                                                               GRAND BLANC       MI    48439‐1533
SANDRA MC CONNELL                   2525 ARAPAHOE AVE. E‐4‐328                                                                   BOULDER           CO    80302
SANDRA MC ELROY                     24431 HAYES ST                                                                               TAYLOR            MI    48180‐2163
SANDRA MC GOFFIN                    426 WASHINGTON ST SE                                                                         GRAND RAPIDS      MI    49503‐4418
SANDRA MC GRATH                     10364 WILSON RD                                                                              MONTROSE          MI    48457‐9176
SANDRA MC KINNON                    8533 CEDAR ST                                                                                ORLAND PARK        IL   60462‐1619
SANDRA MC MULLEN                    420 OAK ST                                                                                   HUDSON            MI    49247‐1234
SANDRA MC PEEK                      150 S STAEBLER RD TRLR 864                                                                   ANN ARBOR         MI    48103‐9065
SANDRA MCALLISTER                   3958 PORTAGE LAKE RD                                                                         MUNITH            MI    49259‐9628
SANDRA MCBRIDE                      12811 SLEIGH TRL                                                                             MILFORD           MI    48380‐1261
SANDRA MCCAIN                       206 WEST ADAMS STREET                                                                        OVERTON           TX    75684‐1005
SANDRA MCCANN                       318 TENNYSON AVE                                                                             FLINT             MI    48507‐2661
SANDRA MCCARTHY                     29157 SENATOR ST                                                                             ROSEVILLE         MI    48066‐2227
SANDRA MCCLINTOCK                   339 GRETA DR                                                                                 ALVATON           KY    42122‐9695
SANDRA MCCOY                        6112 PROSPECT ST                                                                             NEWFANE           NY    14108‐1311
SANDRA MCCRUTER                     610 INWOOD DR                                                                                MANSFIELD         OH    44903‐7423
SANDRA MCCULLOUGH                   19271 AL HIGHWAY 24                                                                          MOULTON           AL    35650‐7317
SANDRA MCDONALD                     184 GLEN GARY DR                                                                             MOUNT MORRIS      MI    48458‐8911
SANDRA MCDOWELL                     376 PARTRIDGE DRIVE                                                                          GRAND BLANC       MI    48439‐7074
SANDRA MCFARLANE                    1034 KIMBERLY DR APT 6                                                                       LANSING           MI    48912‐4828
SANDRA MCGREW                       99 MCKINLEY BLVD                                                                             TERRE HAUTE       IN    47803‐1623
SANDRA MCGUINNESS                   1382 SPRINGWOOD TRCE SE                                                                      WARREN            OH    44484‐3145
SANDRA MCJUNKINS                    PO BOX 54843                                                                                 ATLANTA           GA    30308‐0843
SANDRA MCJUNKINS                    PO BOX 551                                                                                   DAYTON            OH    45405‐0551
SANDRA MCKELLAR                     910 FRANK ST                                                                                 FLINT             MI    48504‐4854
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Name                 Address1                        Address2              Address3       Address4              City                 State Zip
SANDRA MCLAUGHLIN    PO BOX 224                                                                                 WINTHROP              NY 13697‐0224
SANDRA MCMAHON       243 DURST DR NW                                                                            WARREN                OH 44483‐1164
SANDRA MCNEIL        3604 MASON DR                                                                              PLANO                 TX 75025‐4458
SANDRA MCQUEEN       13450 HAWBUCK RD                                                                           DANVILLE               IL 61834‐8013
SANDRA MCTAGGART     2302 STARKWEATHER ST                                                                       FLINT                 MI 48506‐4724
SANDRA MCVAY         8344 LYONS HWY                                                                             SAND CREEK            MI 49279‐9758
SANDRA MEADOR        1830 STATE ROUTE 725 LOT 122    P.O. BOX 367                                               SPRING VALLEY         OH 45370‐9750
SANDRA MEDCALF       10089 OTIS DRIVE                                                                           MANCELONA             MI 49659
SANDRA MEDENWALD     3339 EATON MEWS CT                                                                         GREENWOOD             IN 46143‐7650
SANDRA MEDLEY        44695 FOREST TRAIL DR                                                                      CANTON                MI 48187‐1704
SANDRA MEFFORD       6092 ROMAINE DR                                                                            DAYTON                OH 45415‐2133
SANDRA MEIER         ARMENHOEFESTRASSE 48A                                                D‐77871 RENCHEN‐ULM
                                                                                          GERMANY
SANDRA MEIER         ARMENHOEFESTRASSE 48 A          D‐77871 RENCHEN‐ULM                                        RENCHEN‐ULM          DE   77871
SANDRA MELNIK        1013 CENTER ST E                                                                           WARREN               OH   44481‐9356
SANDRA MELNIKAS      14711 WYANDOTTE ST                                                                         VAN NUYS             CA   91405‐1822
SANDRA MENNINGA      900 LONG BLVD APT 293                                                                      LANSING              MI   48911‐6717
SANDRA MERRILL       3178 PONEMAH DR                                                                            FENTON               MI   48430‐1345
SANDRA MESLER        5660 CRESCENT RD                                                                           WATERFORD            MI   48327‐2722
SANDRA MICHAEL       28506 HELENA RUN DRIVE                                                                     LEESBURG             FL   34748‐8318
SANDRA MICHAEL       1040 WOODGLEN AVE                                                                          NEWTON FALLS         OH   44444‐9706
SANDRA MICHAEL       207 MILL ST                                                                                BANCROFT             MI   48414‐9605
SANDRA MICHALIK      2822 GRANGE HALL RD                                                                        ORTONVILLE           MI   48462‐8409
SANDRA MICHON        6424 HANOVER RD                                                                            HANOVER              MI   49241‐9790
SANDRA MIDDLETON     125 EMERALD LAKE DR                                                                        FAYETTEVILLE         GA   30215‐5063
SANDRA MILES         218 BEACHWOOD DR                                                                           YOUNGSTOWN           OH   44505‐4282
SANDRA MILES         2070 S.ALMONT AVE LOT           94                                                         IMLAY CITY           MI   48444
SANDRA MILLER        572 W AREBA AVE                                                                            HERSHEY              PA   17033‐1605
SANDRA MILLER        W19105 DILLER RD                                                                           GERMFASK             MI   49836‐9239
SANDRA MILLER        2387 BINGHAM RD                                                                            CLIO                 MI   48420‐1954
SANDRA MILLER        3030 VILLAGE LN                                                                            BROOKLYN             MI   49230‐9372
SANDRA MILLER        4587 E TU AVE                                                                              VICKSBURG            MI   49097‐8442
SANDRA MILLER        8226 GRAND RIVER TRL                                                                       PORTLAND             MI   48875‐9402
SANDRA MILLER        215 N CANAL RD LOT 168                                                                     LANSING              MI   48917‐8674
SANDRA MILLER        39206 FLORA AVE                                                                            ZEPHYRHILLS          FL   33542‐1709
SANDRA MILLER        31505 SHARE ST                                                                             SAINT CLAIR SHORES   MI   48082‐1283
SANDRA MILLS         6246 GILSTON PARK RD                                                                       BALTIMORE            MD   21228‐2840
SANDRA MILTON        630 KIMBERTON DR                                                                           FORT WAYNE           IN   46816‐1151
SANDRA MINCE         PO BOX 2932                                                                                KOKOMO               IN   46904‐2932
SANDRA MITTANK       1200 S HENDRICKS AVE TRLR 42                                                               MARION               IN   46953‐1285
SANDRA MITTELSTADT   1115 N COUNTRY CLUB DR                                                                     CRYSTAL RIVER        FL   34429‐9005
SANDRA MOCELLA       9212 KING GRAVES RD NE                                                                     WARREN               OH   44484‐1127
SANDRA MOHR          1023 CLEARVIEW DR                                                                          FLUSHING             MI   48433‐1413
SANDRA MOORE         4125 RIVERSHELL LN                                                                         LANSING              MI   48911‐1908
SANDRA MOORE         302 N BRIDGE ST                                                                            LINDEN               MI   48451‐8638
SANDRA MOORE         15231 MARLOW ST                                                                            OAK PARK             MI   48237‐1530
SANDRA MOORE         PO BOX 310272                                                                              FLINT                MI   48531‐0272
SANDRA MOORE         507 1/2 E WATER ST                                                                         SAINT CHARLES        MI   48655‐1519
SANDRA MOORE         3009 COLUMBUS AVE                                                                          ANDERSON             IN   46016‐5439
SANDRA MOORE         507 HEMINGWAY DR                                                                           COLUMBIA             TN   38401‐5309
SANDRA MOORE         7040 CLIPPER DR                                                                            GRAND PRAIRIE        TX   75054‐7225
SANDRA MORALES       4231 WYOMING ST                                                                            KANSAS CITY          MO   64111‐4118
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Name                 Address1                         Address2          Address3         Address4         City               State Zip
SANDRA MORALES       9532 KINGSWAY CIR                                                                    CLARKSTON           MI 48348‐5404
SANDRA MORGAN        4438 GLENOAKS CT                                                                     WARREN              MI 48092‐4196
SANDRA MORGAN        1008 ONTARIO ST                                                                      LANSING             MI 48915‐2225
SANDRA MORGAN        15312 BURT RD                                                                        CHESANING           MI 48616‐9536
SANDRA MORGAN        601 CLAY CT                                                                          BRANDON             FL 33510‐3810
SANDRA MORRIS        14114 PETERBORO DR                                                                   STERLING HTS        MI 48313‐2734
SANDRA MORSE         36 PRENTICE ST                                                                       LOCKPORT            NY 14094‐2120
SANDRA MORSE         1360 E SLOAN RD                                                                      BURT                MI 48417‐2179
SANDRA MOSS          580 LEWIS RD                                                                         BOWLING GREEN       KY 42104‐7405
SANDRA MOSS          8809 COOK RD                                                                         OLIVET              MI 49076‐9455
SANDRA MOUNTS        2889 GEORGESVILLE WRIGHTSVL RD                                                       GROVE CITY          OH 43123‐9780
SANDRA MULLEN        3100 AUGUSTINE DR                                                                    PARMA               OH 44134‐5211
SANDRA MULLINS       5825 MEREDITH ST                                                                     PORTAGE             MI 49002‐2258
SANDRA MULLINS       132 PEBBLE BROOK DR                                                                  MURFREESBORO        TN 37127‐7216
SANDRA MUMFORD       5673 S STATE ROAD 227                                                                UNION CITY          IN 47390‐8543
SANDRA MURPHY        2104 E VAILE AVE                                                                     KOKOMO              IN 46901‐5609
SANDRA MURPHY        2227 N BAXTER RD                                                                     DAVISON             MI 48423‐8104
SANDRA N JANOVICK    5359 PIERCE RD                                                                       WARREN              OH 44481‐9377
SANDRA NAPLES        1544 W BEHREND DR                                                                    PHOENIX             AZ 85027‐4212
SANDRA NAPOLITAN     352 E RAVENWOOD AVE                                                                  YOUNGSTOWN          OH 44507‐1923
SANDRA NATALI        622 INDIANA AVE                                                                      NILES               OH 44446‐1038
SANDRA NEIDY         37565 SAINT MARTINS ST                                                               LIVONIA             MI 48152‐1037
SANDRA NELSON        9400 BERGIN RD                                                                       HOWELL              MI 48843‐9523
SANDRA NELSON        PO BOX 192                                                                           FORT MONTGOMERY     NY 10922‐0192
SANDRA NELSON        19006 FENMORE ST                                                                     DETROIT             MI 48235‐3066
SANDRA NELSON        2800 BALDWIN RD                                                                      LAPEER              MI 48446‐9769
SANDRA NELSON        162 OAK GLN                                                                          DAVISON             MI 48423‐9191
SANDRA NEMITZ        228 BARDEN ST                                                                        CASTALIA            OH 44824‐9784
SANDRA NEWBERG       4708 LINNEA LN                                                                       MINNETONKA          MN 55345‐3418
SANDRA NEWMAN        24315 ELMHURST AVE                                                                   FARMINGTON HILLS    MI 48336‐1927
SANDRA NEWPORT       4434 VARNEY AVE                                                                      DAYTON              OH 45420‐3135
SANDRA NICHOLS       229 DEMAREST DR                                                                      INDIANAPOLIS        IN 46214‐2931
SANDRA NICKERSON     5171 HEATH AVE                                                                       CLARKSTON           MI 48346‐3528
SANDRA NIGHTINGALE   5 WEDGEWOOD COURT                                                                    GLEN HEAD           NY 11545
SANDRA NIKS          2179 WILLOW LEAF CT S            SOUTH                                               ROCHESTER HILLS     MI 48309‐3738
SANDRA NOBACH        PO BOX 86                                                                            EASTPORT            MI 49627‐0086
SANDRA NODAY         341 SHADYDALE DR                                                                     CANFIELD            OH 44406‐1031
SANDRA NOKOVICH      4400 BELSAY RD                                                                       GRAND BLANC         MI 48439‐9120
SANDRA NONA          6305 FUTURITY DR                                                                     HARRAH              OK 73045‐8913
SANDRA NORRIS        40 SURREY LN                                                                         PONTIAC             MI 48340‐1427
SANDRA NOVACICH      2695 HYDE OAKFIELD RD                                                                BRISTOLVILLE        OH 44402‐9623
SANDRA O BISSETT     5432 SUSAN DRIVE                                                                     DAYTON              OH 45415‐3034
SANDRA O MALLEY      3710 PARKMAN ROAD NW                                                                 SOUTHINGTON         OH 44470
SANDRA O'CONNOR      1217 DEER CREEK TRL                                                                  GRAND BLANC         MI 48439‐9264
SANDRA ODEN          1414 MOSS CHAPEL RD NW                                                               HARTSELLE           AL 35640‐7764
SANDRA OEHUS         4735 BROWN RD                                                                        VASSAR              MI 48768‐9101
SANDRA OGRADY        2833 SPRING DR                                                                       FREMONT             MI 49412‐9542
SANDRA OLAH          10173 COLDWATER RD                                                                   FLUSHING            MI 48433‐9761
SANDRA OLSEN         300 PINE CREEK CT                                                                    WATERFORD           MI 48327‐1585
SANDRA OLSON         1278 DARLENE AVE                                                                     MADISON HEIGHTS     MI 48071‐2971
SANDRA ONEAL         10 DRIFTWOOD LN                                                                      FRUITLAND PARK      FL 34731‐6328
SANDRA ONEILL        103 LAKEWOOD DR                                                                      ADRIAN              MI 49221‐4611
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Name                        Address1                           Address2          Address3         Address4         City                 State Zip
SANDRA ORDWAY               G5131 WOODHAVEN COURT                                                                  FLINT                 MI 48532
SANDRA OSBORN               136 RITA ST                                                                            DAYTON                OH 45404‐2058
SANDRA OSBORNE              5130 N 300 W                                                                           UNIONDALE             IN 46791‐9733
SANDRA OSBORNE              372 HARLAND DR                                                                         COLUMBUS              OH 43207‐5340
SANDRA OSTERMAN             3483 VILLAGE GREEN DR                                                                  DAYTON                OH 45414‐2426
SANDRA OSWALD               164 S JACKSON ST                                                                       DENVER                CO 80209‐3126
SANDRA OVERWAY              7270 WELLINGTON PL                                                                     WASHINGTON            MI 48094‐1461
SANDRA OWENS                3454 BEWICK ST                                                                         DETROIT               MI 48214‐2124
SANDRA P COX                804 FAIRWAY DR                                                                         CINCINNATI            OH 45245
SANDRA P CROWE              4661 SOUTH DR LOT 9                                                                    JACKSON               MS 39209
SANDRA P HECTOR             5173 BAZETTA ROAD                                                                      CORTLAND              OH 44410‐9519
SANDRA P JONES (DECEASED)   C/O DEBORAH LEVERENZ CO‐EXECUTOR   916 3RD ST                                          WOODLAND              CA 95695‐4904

SANDRA P LESTER             2711 GOLDEN VALLEY RD                                                                  MINNEAPOLIS          MN   55411‐2859
SANDRA P POPE               158 NORTH RD                                                                           NILES                OH   44446
SANDRA P SOP                8170 CAYMEN BLUFF                                                                      CANFIELD             OH   44406
SANDRA PACI                 5045 SAFFRON DR                                                                        TROY                 MI   48085‐6706
SANDRA PADGETT              2041 W ARBOR RIDGE WAY                                                                 BLOOMINGTON          IN   47403‐3766
SANDRA PAINTER              725 HILE LN                                                                            ENGLEWOOD            OH   45322‐1742
SANDRA PALMER               848 FAIRGROVE WAY                                                                      TROTWOOD             OH   45426‐2213
SANDRA PALMER               7847 W WEIDMAN RD                                                                      WEIDMAN              MI   48893‐8600
SANDRA PALMER               10473 GERA RD                                                                          BIRCH RUN            MI   48415‐9753
SANDRA PALMIERI             10 SEAGRAVE ST                                                                         UXBRIDGE             MA   01569‐2415
SANDRA PANTTI               47857 KENT DR                                                                          MACOMB               MI   48044‐5946
SANDRA PAPENHAGEN           505 GILES AVE                                                                          BLISSFIELD           MI   49228‐1226
SANDRA PARKER               5310 PRIMROSE LANE                                                                     BOSSIER CITY         LA   71112‐8628
SANDRA PARKS                526 S MEADE ST                                                                         FLINT                MI   48503‐2276
SANDRA PARKS                2527 S LIDDESDALE ST                                                                   DETROIT              MI   48217‐1195
SANDRA PARKS                17154 BROTHERS BAY RD                                                                  ALPENA               MI   49707‐9101
SANDRA PASCHAL              326 COUNTY ROAD 308                                                                    CULLMAN              AL   35057‐2842
SANDRA PATEN                308 N KIESEL ST                                                                        BAY CITY             MI   48706‐4316
SANDRA PATTERSON            9902 HOOVER WOODS RD                                                                   GALENA               OH   43021‐9482
SANDRA PATTERSON            1386 CHARLESTON LN                                                                     COLUMBIA             TN   38401‐7344
SANDRA PATTON               1219 N WITTFIELD ST                                                                    INDIANAPOLIS         IN   46229‐2338
SANDRA PAULEY               1164 COBBLEFIELD DR                                                                    MANSFIELD            OH   44903‐8257
SANDRA PAULL                29271 MCDONALD ST                                                                      ROSEVILLE            MI   48066‐1748
SANDRA PAYNE                701 SEIDLERS RD                                                                        AUBURN               MI   48611‐8700
SANDRA PEASE                1726 MYRA AVE                                                                          JANESVILLE           WI   53548‐0143
SANDRA PEAY                 4244 SHELDON AVE                                                                       BALTIMORE            MD   21206‐6403
SANDRA PEAY                 5803 OAKVIEW AVE                   APT A                                               BALTIMORE            MD   21239‐3155
SANDRA PEEPLES              30 KAITLYN LN                                                                          BLUE RIDGE           GA   30513
SANDRA PEMBERTON            9817 BELDEN DR                                                                         WINDHAM              OH   44288‐1403
SANDRA PEPPERMAN            36897 ALMONT DR                                                                        STERLING HTS         MI   48310‐4663
SANDRA PERECES              47 MANOR DR                                                                            BROOKFIELD           OH   44403‐9635
SANDRA PEREZ                29010 JEFFERSON AVE                                                                    SAINT CLAIR SHORES   MI   48081‐1378
SANDRA PERRY                2626 W WATTLES RD                                                                      TROY                 MI   48098‐4298
SANDRA PERRY                2176 E HILL RD APT 63                                                                  GRAND BLANC          MI   48439‐5139
SANDRA PERRY                8786 STREET RT 115                                                                     CONTINENTAL          OH   45831
SANDRA PETERSON             15369 POWER DAM RD                                                                     DEFIANCE             OH   43512‐6809
SANDRA PETERSON             4099 E BLUEWATER HWY                                                                   IONIA                MI   48846‐9740
SANDRA PEZELJ               5609 BLACKSTONE AVE                                                                    COUNTRYSIDE          IL   60525‐3420
SANDRA PHELPS               387 CHARBRIDGE ARBOR                                                                   LAPEER               MI   48446‐1749
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Name                        Address1                        Address2            Address3         Address4         City               State Zip
SANDRA PHELPS               1112 PEACH BLOSSOM CLR                                                                BURTON              MI 48509
SANDRA PHILLIPS             740 SALT SPRINGS RD                                                                   MINERAL RIDGE       OH 44440‐9339
SANDRA PHILLIPS             5105 N QUAIL CREST DR SE                                                              GRAND RAPIDS        MI 49546‐7510
SANDRA PHILLIPS LAPSLEY     5379 MEDFORD DR                                                                       WEST BLOOMFIELD     MI 48324‐1167
SANDRA PICKERING            2006 KERRI LYNN LN                                                                    KOKOMO              IN 46902‐7409
SANDRA PIERCEFIELD          103 PARKERS DR                                                                        PORTLAND            MI 48875‐9535
SANDRA PIGEON               726 S STATE RD APT 99                                                                 DAVISON             MI 48423‐2816
SANDRA PIGNATARO            3118 ADELAIDE SHORES DR #129                                                          AVON PARK           FL 33825‐8240
SANDRA PLATT                1024 VILLAGE POINT RD SW                                                              SHALLOTTE           NC 28470‐5326
SANDRA PLAVE                3384 BROPHY RD                                                                        HOWELL              MI 48855‐9744
SANDRA PLUMMER              470 RUTLAND AVE                                                                       AKRON               OH 44305‐3162
SANDRA POAG                 809 E LIBERTY ST                                                                      CHESANING           MI 48616‐1747
SANDRA POCZONTEK            5857 MILLER RD                                                                        HILLMAN             MI 49746‐9614
SANDRA POLAND               13331 N MILLER DR                                                                     CAMBY               IN 46113‐8463
SANDRA POOLE                PO BOX 479                                                                            SOUTHAVEN           MS 38671‐0106
SANDRA PORTER               30 VALLEY CREST DR                                                                    BELLVILLE           OH 44813‐1300
SANDRA PORTER               18031 WALTHAM ST                                                                      DETROIT             MI 48205‐2660
SANDRA POTENZA              4959 JODY LYNN DR                                                                     MENTOR              OH 44060‐1345
SANDRA POTTER               11920 FM 31                                                                           MARSHALL            TX 75672‐3850
SANDRA POWELL               5091 YORKTOWN DR                                                                      MOUNT MORRIS        MI 48458‐8864
SANDRA POWELL               502 N HEINCKE RD                                                                      MIAMISBURG          OH 45342‐2640
SANDRA PRENTISS             6884 CYPRESS BAY DR                                                                   KALAMAZOO           MI 49009‐7774
SANDRA PREWITT              20685 SHERWOOD RD                                                                     BELLEVILLE          MI 48111‐9380
SANDRA PRICE                12203 SANDI LN                                                                        MEDWAY              OH 45341‐9643
SANDRA PRICE                12311 W COUNTY ROAD 950 N                                                             GASTON              IN 47342‐9068
SANDRA PRZYGOCKI            6255 PADDOCK LN                                                                       SAGINAW             MI 48603‐2734
SANDRA PUGH                 2760 MERRIWEATHER ST NW                                                               WARREN              OH 44485‐2507
SANDRA PUGLISI              126 W FARRELL AVE APT A1                                                              EWING               NJ 08618‐2218
SANDRA PUMPHREY             15602 ROAD 143                                                                        CECIL               OH 45821‐9735
SANDRA PURIFOY              504 RED ROCK RD                                                                       SYLVESTER           GA 31791‐4420
SANDRA QUINN                3311 GRADY LN                                                                         DURHAM              NC 27705‐9063
SANDRA R ANDERSON           130 HICKORY HILL DR                                                                   ESTILL SPRINGS      TN 37330‐3124
SANDRA R BASS               5 RIVERBEND DR                                                                        NATICK              MA 01760‐5522
SANDRA R BROWN              402 CENTER STREET                                                                     BROOKHAVEN          MS 39601
SANDRA R DAVIS              4470 MARYELLEN DR                                                                     VIENNA              OH 44473
SANDRA R DIBENEDETTO‐NACY   17 BELFORD DRIVE                                                                      ROCHESTER           NY 14616‐3927
SANDRA R FREEMAN            P.O. BOX 4353                                                                         WARREN              OH 44482‐4353
SANDRA R HATHAWAY           N8320 STATE HIGHWAY 42                                                                ALGOMA              WI 54201‐9552
SANDRA R HATTON             447 SOUTH NINTH ST                                                                    MIAMISBURG          OH 45342
SANDRA R HEFLIN             7682 RT 46                                                                            CORTLAND            OH 44410‐9670
SANDRA R IRVIN              4603 THISTLE DR                                                                       DAYTON              OH 45427‐2839
SANDRA R KARLAK             6282 DORCHESTER RD                                                                    LOCKPORT            NY 14094‐5906
SANDRA R MCANDREW R/O IRA   HARRY W CROOP                   20 LONGWOOD DR                                        SARATOGA SPRINGS    NY 12866
SANDRA R MCANDREW R/O IRA   HELEN B CROOP                   20 LONGWOOD DR                                        SARATOGA SPRINGS    NY 12866
SANDRA R NOVAK              466 HAYES ST                                                                          YPSILANTI           MI 48198‐6065
SANDRA R OLDHAM             626 TYSON AVE                                                                         DAYTON              OH 45427‐3040
SANDRA R PRITCHETT          502 MAPLE HILL DR                                                                     DAYTON              OH 45449
SANDRA R SCHUBERT           805 NEWTON DR                                                                         NEWTON FALLS        OH 44444
SANDRA R WITHROW            6266 APPLERIDGE DR                                                                    YOUNGSTOWN          OH 44512
SANDRA R WOLFE              2870 HILDA DR.                                                                        WARREN              OH 44484‐3335
SANDRA RABATIN              2718 HAWKS RD                                                                         WELLSVILLE          NY 14895‐9103
SANDRA RADCLIFF             20485 CAROL ST                                                                        DETROIT             MI 48235‐1633
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Name                        Address1                       Address2            Address3         Address4             City            State Zip
SANDRA RADKE                6439 MEANDER GLEN DR                                                                     AUSTINTOWN       OH 44515‐2175
SANDRA RADNEY               41979 SARATOGA CIR                                                                       CANTON           MI 48187‐3537
SANDRA RAGUSI IRRL          PO BOX 230624                                                                            BROOKLYN         NY 11223
SANDRA RAGUSO               37650 GRANTLAND ST                                                                       LIVONIA          MI 48150‐5019
SANDRA RAMBO                1708 E REDFERN WAY                                                                       ANDERSON         IN 46011‐2723
SANDRA RAMIRES              413 29TH ST                                                                              HIDALGO          TX 78557
SANDRA RAMIREZ              413 29TH ST                                                                              HIDALGO          TX 78557
SANDRA RAMSEY               4417 CUTHBERTSON ST                                                                      FLINT            MI 48507‐2575
SANDRA RANKE                3583 BAY HARBOR DR                                                                       BRIGHTON         MI 48114‐7695
SANDRA RASHLEIGH            1815 YORKTOWN DR                                                                         SENECA           SC 29672‐2398
SANDRA RATZINGER            DROSSELSTR 8                                                        86514 USTERSBACH
                                                                                                GERMANY
SANDRA RATZINGER GEB MAIR   DROSSELSTR 8                                                        D 86514 USTERSBACH
                                                                                                GERMANY
SANDRA RAWLS                1301 W MCCLELLAN ST                                                                      FLINT           MI   48504‐2637
SANDRA REED                 7060 KITSON DR NE                                                                        ROCKFORD        MI   49341‐8545
SANDRA REED                 1734 SOUTHEAST FORD TERRACE                                                              ARCADIA         FL   34266‐7570
SANDRA REEK                 3243 W JONES LAKE RD                                                                     GRAYLING        MI   49738‐8604
SANDRA REEVES               3369 AINSWORTH DR                                                                        CINCINNATI      OH   45251‐2121
SANDRA REHIL                6053 SOUTH BRANCH RD BOX 119                                                             SOUTH BRANCH    MI   48761
SANDRA REICH                6407 WOLVERINE TRL                                                                       ALGER           MI   48610‐9424
SANDRA REID‐SMITH           51317 PLYMOUTH LAKE CIR                                                                  PLYMOUTH        MI   48170‐6375
SANDRA REITER               230 W DURBIN CIR                                                                         BELLVILLE       OH   44813‐1135
SANDRA RELLINGER            3753 BUTTONWOOD WAY                                                                      NAPLES          FL   34112‐3349
SANDRA RENIFF               1325 MONCREST DR NW                                                                      WARREN          OH   44485‐1926
SANDRA REYNOLDS             21 PINEHURST CIR                                                                         ANNANDALE       NJ   08801
SANDRA RHEA                 425 LUFKIN DR                                                                            NEW LEBANON     OH   45345‐1648
SANDRA RICHARD              346 E CARPENTER RD                                                                       FLINT           MI   48505‐2188
SANDRA RIDDELL              5240 PHILLIPS RICE RD                                                                    CORTLAND        OH   44410‐9675
SANDRA RIGGS                103 KIM DR                                                                               ANDERSON        IN   46012‐1012
SANDRA RILEY                C/O SANDRA L RILEY             PO BOX 488                                                EUSTIS          FL   32727
SANDRA RIPPE                15643 MILLIMAN RD                                                                        ROCKWOOD        MI   48173‐9614
SANDRA ROARK                925 CHAMPAIGN RD                                                                         LINCOLN PARK    MI   48146‐2903
SANDRA ROBBINS              9095 TALLADAY RD                                                                         WILLIS          MI   48191‐9708
SANDRA ROBBINS              PO BOX 905                                                                               KINGSTON        TN   37763‐0905
SANDRA ROBINETTE            8010 VANDEN DR                                                                           WHITE LAKE      MI   48386‐2545
SANDRA ROBINSON             10195 FARRAND RD                                                                         OTISVILLE       MI   48463‐9721
SANDRA ROBINSON             8000 OAKDELL WAY APT 1508‐1                                                              SAN ANTONIO     TX   78240‐3941
SANDRA ROBINSON             3510 SUNNY WAY                                                                           FERGUSON        MO   63135‐1415
SANDRA RODENFELS            7810 NEW ALBANY CONDIT RD                                                                WESTERVILLE     OH   43081‐9733
SANDRA ROESSLER             960 E BEECHWOOD LN                                                                       INDIANAPOLIS    IN   46227‐2106
SANDRA ROESTI               1901 GINTER RD                                                                           DEFIANCE        OH   43512‐9072
SANDRA ROGERS               3584 SANTA FE DR                                                                         CHOCTAW         OK   73020‐5914
SANDRA ROHRER               412 EAST SOUTH F STREET                                                                  GAS CITY        IN   46933‐1934
SANDRA ROSARIO              1805 LEWIS TRL                                                                           GRAND PRAIRIE   TX   75052‐1917
SANDRA ROSCOE               8191 JONES RD                                                                            HOWARD CITY     MI   49329‐9208
SANDRA ROSE                 143 HERD PARK CT                                                                         ANDERSON        SC   29621‐2679
SANDRA ROSE                 2633 EVERGREEN RD                                                                        EVART           MI   49631‐9326
SANDRA ROSS                 2802 SWEETBRIAR DR                                                                       SANDUSKY        OH   44870‐5625
SANDRA ROSS                 7163 SHERWOOD LN                                                                         DAVISON         MI   48423‐2369
SANDRA ROUSSELLE            2408 SELZER AVE                                                                          CLEVELAND       OH   44109‐2924
SANDRA ROYAL                1828 CRESCENT DR                                                                         SAGINAW         MI   48604‐1602
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Name                             Address1                         Address2              Address3     Address4         City               State Zip
SANDRA RUBENSTEIN TTEE/ RONALD   SANDRA RUBENSTEIN                3503 COURTLAND ROAD                                 PEPPER PIKE         OH 44122
RUBENSTEIN ESTATE DEC'D TTEE
SANDRA RUDY                      400 MILL ST                                                                          PARK HILLS         MO   63601‐3728
SANDRA RUPP                      7 ROCKLEIGH DR                                                                       CHEEKTOWAGA        NY   14225‐2538
SANDRA RUPP                      4750 FALCON GROVE DR                                                                 INDIANAPOLIS       IN   46254‐1990
SANDRA RUPP                      PO BOX 2367                                                                          ARLINGTON          TX   76004‐2367
SANDRA RUSCHE                    1508 ROYAL CRESCENT ST                                                               ROCHESTER HILLS    MI   48306‐4053
SANDRA RUSNAK                    5669 ORANGEVILLE KINSMAN RD NE                                                       BURGHILL           OH   44404‐9742
SANDRA RUSSELL                   4148 LONGTIN AVE                                                                     LINCOLN PARK       MI   48146‐3749
SANDRA RUTHERFORD                1309 WAR EAGLE DR                                                                    CROSSVILLE         TN   38572‐6575
SANDRA S ANDERSON                8148 MEADOWLARK                                                                      CARLISLE           OH   45005‐4213
SANDRA S ANDERSON                5735 WEST HUNTERS RIDGE CIRCLE                                                       LECANTO            FL   34461‐7609
SANDRA S CARMEN                  5326 MAHONING AVE NW                                                                 WARREN             OH   44483‐1132
SANDRA S CARR                    8509 BOBBY PLACE                                                                     CARLISLE           OH   45005‐4203
SANDRA S CASKEY                  9734 W. RANGLER DRIVE                                                                SUN CITY           AZ   85373
SANDRA S CATOR                   706 N BENTLEY AVE                                                                    NILES              OH   44446‐5214
SANDRA S CIMMENTO                547 MEADOWLAND CT                                                                    HUBBARD            OH   44425‐2609
SANDRA S DEBATS                  10570 NORTHLAND DR                                                                   BIG RAPIDS         MI   49307‐9444
SANDRA S DEBATS‐TYMICH           10570 NORTHLAND DR                                                                   BIG RAPIDS         MI   49307‐9444
SANDRA S DELANEY                 44675 ROBSON RD                                                                      BELLEVILLE         MI   48111‐1342
SANDRA S DOBOS                   138 HILLVIEW DRIVE                                                                   HUBBARD            OH   44425‐1239
SANDRA S EDWARDS                 2767 LEXINGTON AVE NW                                                                WARREN             OH   44485
SANDRA S EPPINGER                415 FRASER ST                                                                        SAGINAW            MI   48602‐1309
SANDRA S GREENE ‐ DE BUSK        2923 DAYTON XENIA RD                                                                 BEAVERCREEK        OH   45434‐6357
SANDRA S HART                    481 COUNTY ROAD 658                                                                  HANCEVILLE         AL   35077‐7312
SANDRA S JONES                   4815 HOOPER ST                                                                       MERIDIAN           MS   39307‐6768
SANDRA S MEDENWALD               3339 EATON MEWS CT                                                                   GREENWOOD          IN   46143
SANDRA S MICHAEL                 1040 WOODGLEN DR                                                                     NEWTON FALLS       OH   44444‐9706
SANDRA S NEWPORT                 4434 VARNEY AVE                                                                      DAYTON             OH   45420‐3135
SANDRA S REEDER                  1430 N STATE HWY 96                                                                  HAMILTON           IL   62341
SANDRA S RHEA                    425 LUFKIN DR                                                                        NEW LEBANON        OH   45345‐1648
SANDRA S RICHEY                  704 RAINBOW HVN                                                                      RAINBOW CITY       AL   35906‐8549
SANDRA S SCHMIDT                 15775 NORTHWARD DR                                                                   LANSING            MI   48906‐1425
SANDRA S SCHMIDT                 5545 W MICHIGAN AVE                                                                  LANSING            MI   48917‐2517
SANDRA S SCOTT                   913 WALLS DR.                                                                        VIENNA             OH   44473‐9739
SANDRA S SNOWDEN                 17846 LUNDYS LN                                                                      LAKE MILTON        OH   44429‐9733
SANDRA S SOWRY                   BOX 152 ST RT 49                                                                     PHILLIPSBURG       OH   45354
SANDRA S STIVER                  23 TERRENCE CT                                                                       W CARROLLTON       OH   45449
SANDRA S STRICKLAND              338 N LIPKEY RD                                                                      NORTH JACKSON      OH   44451‐9752
SANDRA S TAIPALE                 3970 HOUSEL DR SW                                                                    WARREN             OH   44481
SANDRA S WATSON                  450 CENTER ST E                                                                      WARREN             OH   44481‐9312
SANDRA S WELLS IRA               PO BOX 1167                                                                          DENVER CITY        TX   79323
SANDRA S WHIGHAM                 3728 DELEON ST                                                                       FORT MYERS         FL   33901
SANDRA SABOTKA                   3975 MONTGOMERY DR                                                                   SHELBY TWP         MI   48316‐3911
SANDRA SAFRAN
SANDRA SAFRAN                    3107 BLACK OAK CT                                                                    BOYNTON BEACH      FL   33436
SANDRA SALDIVAR‐VALLES           44650 BAYVIEW AVE APT 10201                                                          CLINTON TOWNSHIP   MI   48038‐7022
SANDRA SALUGA                    439 GENESEE AVE NE                                                                   WARREN             OH   44483‐5407
SANDRA SALYER                    5950 CALLAWAY CIR                                                                    AUSTINTOWN         OH   44515‐4188
SANDRA SAMPSON                   2806 LYDIA ST SW                                                                     WARREN             OH   44481‐9686
SANDRA SANDERS                   25534 ARLINGTON ST                                                                   ROSEVILLE          MI   48066‐3920
SANDRA SANDERS                   215 JOHNSON CIR                                                                      DEFIANCE           OH   43512‐1749
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SANDRA SANDERS         PO BOX 647                                                                                    MIDDLETOWN            OH 45042
SANDRA SANDIFER        6565 FOXRIDGE DR APT 328                                                                      MISSION               KS 66202‐1372
SANDRA SANETRIK        5472 CALLAWAY CIR                                                                             AUSTINTOWN            OH 44515‐4196
SANDRA SANZENBACHER    880 MONUMENT RD                                                                               TAWAS CITY            MI 48763‐9280
SANDRA SARPY           PO BOX 881214                                                                                 LOS ANGELES           CA 90009
SANDRA SATLER IRA      9404 EAGLE RIDGE DR                                                                           BETHESDA              MD 20817
SANDRA SATTLER         16977 DORIS ST                                                                                LIVONIA               MI 48154‐6238
SANDRA SAVAGE          102 WELDWOOD CIR                                                                              WEST MONROE           LA 71291‐9473
SANDRA SCAFARIA        1111 SUPERIOR AVENUE                                                                          CLEVELAND             OH 44114
SANDRA SCHAEFFER       52055 EMIL DR                                                                                 MACOMB                MI 48042‐4033
SANDRA SCHIAN‐MILLER   421 S ROYSTON RD                                                                              EATON RAPIDS          MI 48827‐9008
SANDRA SCHMIDT         15775 NORTHWARD DR                                                                            LANSING               MI 48906‐1425
SANDRA SCHMIDT         2836 N GARFIELD RD                                                                            PINCONNING            MI 48650‐8965
SANDRA SCHMIDT         OEHMDWIESE 9                                                            D 88630 PFUTLENDORF
                                                                                               GERMANY
SANDRA SCHNEIDER       2928 HAMELN DR                                                                                SAINT CHARLES        MO   63301‐4201
SANDRA SCHOELLNAST     1201 HUDSON STREET                 APT 603SV                                                  HOBOKEN              NJ   07030
SANDRA SCHREIBER       21 BRIGGSBORO LN                                                                              FAIRPORT             NY   14450‐3805
SANDRA SCHULTZ         8952 IRISH RD                                                                                 MILLINGTON           MI   48746‐9433
SANDRA SCOTT           5132 MAGGIE DR                                                                                STONE MOUNTAIN       GA   30087‐3661
SANDRA SCOTT           913 WALLS DR.                                                                                 VIENNA               OH   44473
SANDRA SCRANTON        4013 BROUSE BLVD W                                                                            UNIVERSITY PL        WA   98466‐1515
SANDRA SEARLES         803 BURWICK TRCE                                                                              GREENWOOD            IN   46143‐1908
SANDRA SEBASTIAN       15624 FLANAGAN ST                                                                             ROSEVILLE            MI   48066‐1481
SANDRA SEBEK           13701 STARLITE DR                                                                             BROOK PARK           OH   44142‐3243
SANDRA SEELAND         3560 AUSTINTOWN WARREN RD                                                                     MINERAL RIDGE        OH   44440‐9752
SANDRA SEGLER          1815 MINA RD                                                                                  HARRISON             MI   48625‐8614
SANDRA SELLERS         G3417 MALLERY ST                                                                              FLINT                MI   48504‐2470
SANDRA SERGEANT        20 WATERVIEW DR                                                                               LAKE ORION           MI   48362‐1543
SANDRA SEWELL          1170 MARYLAND                      APT 2S                                                     GROSSE POINTE PARK   MI   48230
SANDRA SHACKLOCK       6810 FROGTOWN RD LOT 24                                                                       HERMITAGE            PA   16148‐4821
SANDRA SHAFER          1935 WESTWOOD DR NW                                                                           WARREN               OH   44485‐1443
SANDRA SHANNONHOUSE    5109 FAIRMOUNT DR                                                                             ARLINGTON            TX   76017‐3426
SANDRA SHARGABIAN      3124 KENWOOD DR                                                                               ROCHESTER HILLS      MI   48309‐2753
SANDRA SHARP           19350 ASHTON AVE                                                                              DETROIT              MI   48219‐2178
SANDRA SHAW            742 W BROAD ST                                                                                EUFAULA              AL   36027‐1914
SANDRA SHEPPARD        3913 RAPHAEL ST                                                                               FORT WORTH           TX   76119‐7751
SANDRA SHERWOOD        G 7054 E BRISTOL ROAD                                                                         DAVISON              MI   48423
SANDRA SHIER           2316 LESLIE CT APT B                                                                          ROUND ROCK           TX   78681‐7567
SANDRA SHOOK           12996 E 206TH ST                                                                              NOBLESVILLE          IN   46060‐9634
SANDRA SHORTS          3571 HOAGLAND BLACKSTUB RD                                                                    CORTLAND             OH   44410‐9398
SANDRA SHRINER         3096 E STANLEY RD                                                                             MOUNT MORRIS         MI   48458‐8805
SANDRA SHRUM           7847 IDA EAST RD                                                                              IDA                  MI   48140‐9504
SANDRA SHUSTER         272 CO. RT. 38                                                                                HASTINGS             NY   13076
SANDRA SIBBITT         8863 MARTZ RD                                                                                 YPSILANTI            MI   48197‐9420
SANDRA SIDAWAY         6152 EASTKNOLL DR APT 259                                                                     GRAND BLANC          MI   48439‐5078
SANDRA SIEBENTHAL      1736 LILAC DR                                                                                 INDIANAPOLIS         IN   46227‐6218
SANDRA SILER           236 PINEGROVE DR                                                                              BELLBROOK            OH   45305‐2116
SANDRA SILLS           819 GORDON AVE                                                                                LANSING              MI   48910‐2778
SANDRA SIMMONS         3901 STILLWELL AVE                                                                            LANSING              MI   48911‐2160
SANDRA SIMMONS         PO BOX 173                                                                                    SHREWSBURY           PA   17361‐0173
SANDRA SIMMONS         1001 STONECREEK DR APT B                                                                      FLINT                MI   48503‐1612
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Name                   Address1                      Address2                       Address3   Address4         City                State Zip
SANDRA SIMON           W17107 MAIN STREET            P.O BOX #385                                               CURTIS               MI 49820
SANDRA SINGLETON       2522 BROWNELL BLVD                                                                       FLINT                MI 48504‐2758
SANDRA SITAREK         90 CAROL LN                                                                              ELMA                 NY 14059‐9721
SANDRA SIX             328 ORCHARD ST                                                                           MONTROSE             MI 48457‐9615
SANDRA SIZEMORE        3720 BLACK HWY LOT 2                                                                     ADRIAN               MI 49221‐9511
SANDRA SKEES           45712 MORNINGSIDE COURT                                                                  CANTON               MI 48187‐5446
SANDRA SKERRATT        415 SECRIST LN                                                                           GIRARD               OH 44420‐1114
SANDRA SKILLMAN        4011 WESTERN DR                                                                          ANDERSON             IN 46012‐9272
SANDRA SKINNER         3056 W GD BLANC RD                                                                       SWARTZ CREEK         MI 48473
SANDRA SKIPP           4376 52ND ST SW                                                                          WYOMING              MI 49418‐9721
SANDRA SLAYMAKER       C/O JAMES L MITCHELL          2911 TURTLE CREEK BLVD #1400                               DALLAS               TX 75219
SANDRA SLOVINSKI       2175 BRADLEY AVE                                                                         YPSILANTI            MI 48198‐9233
SANDRA SMASH           3802 W 128TH ST                                                                          CLEVELAND            OH 44111‐4511
SANDRA SMILEY          8603 LINDBERGH AVE                                                                       NIAGARA FALLS        NY 14304‐2411
SANDRA SMITH           33320 HARDESTY RD                                                                        SHAWNEE              OK 74801‐5625
SANDRA SMITH           5971 HOAGLAND BLACKSTUB RD                                                               CORTLAND             OH 44410‐9540
SANDRA SMITH           4562 BEAVERS RD                                                                          FOREST PARK          GA 30297‐1902
SANDRA SMITH           111 PUNTA VISTA DR                                                                       ST PETE BEACH        FL 33706‐2429
SANDRA SMITH           2326 W 300 S                                                                             KOKOMO               IN 46902‐4751
SANDRA SMITH           1612 HIGHLAND AVE                                                                        KALAMAZOO            MI 49048‐1917
SANDRA SMITH           N7292 COUNTY RD W                                                                        CRIVITZ              WI 54114‐8830
SANDRA SMITH           522 OXFORD DR                                                                            WABASH               IN 46992‐1032
SANDRA SMITH           7187 RIEGLER ST                                                                          GRAND BLANC          MI 48439‐8516
SANDRA SMITH           2415 SHADYCROFT DR                                                                       BURTON               MI 48519‐1259
SANDRA SMITH           9120 ORMES RD                                                                            VASSAR               MI 48768‐9623
SANDRA SMITH           PO BOX 366                                                                               NORTH BRANCH         MI 48461‐0366
SANDRA SMITH           10895 OAK LN APT 15313                                                                   BELLEVILLE           MI 48111‐4747
SANDRA SMITH           7796 STATE HIGHWAY 43 N                                                                  KARNACK              TX 75661‐3030
SANDRA SMITH           305 MARLAY RD                                                                            DAYTON               OH 45405‐1856
SANDRA SMITH           4671 CASEY RD                                                                            DRYDEN               MI 48428‐9346
SANDRA SMITH           1548 JAY ST                                                                              ROCHESTER            NY 14611
SANDRA SMITH‐ROBBINS   111 CHERRY HILL DR                                                                       FLINT                MI 48504
SANDRA SMITHEY         HC 67 BOX 701B                                                                           CANADIAN             OK 74425‐9730
SANDRA SNOWDEN         17846 LUNDYS LN                                                                          LAKE MILTON          OH 44429‐9733
SANDRA SNYDER          1244 NORTON ST                                                                           BURTON               MI 48529‐1155
SANDRA SNYDER          644 BLISS DR                                                                             ROCHESTER HILLS      MI 48307‐3597
SANDRA SOLIC           7075 BACKWATER CV                                                                        AUSTINTOWN           OH 44515‐2163
SANDRA SOMMERFELDT     2715 LILAC LN                                                                            JANESVILLE           WI 53545‐1372
SANDRA SOP             8170 CAYMEN BLF                                                                          CANFIELD             OH 44406‐8766
SANDRA SOUTHERLAND     11001 HIBNER RD                                                                          HARTLAND             MI 48353‐1230
SANDRA SOUTHWICK       13 GOULD ST                                                                              MILLBURY             MA 01527‐1908
SANDRA SPARKS          30536 FREDA DR                                                                           WARREN               MI 48093‐2294
SANDRA SPARKS          488 CAMBRIDGE CT APT B                                                                   LEBANON              OH 45036‐1538
SANDRA SPENCE          4413 ESTA DR                                                                             FLINT                MI 48506‐1453
SANDRA SPENCER         11125 GEE RD                                                                             WALTON               IN 46994‐9416
SANDRA SPENCER         5845 KINNEVILLE RD                                                                       EATON RAPIDS         MI 48827‐9631
SANDRA SPIRES          2075 OAKBROOK BLVD                                                                       COMMERCE TOWNSHIP    MI 48390‐3273
SANDRA SPOSITO         1748 GALLEGOS RD                                                                         SOCORRO              NM 87801‐4158
SANDRA SPRAGUE         2954 N 45 RD                                                                             MANTON               MI 49663‐8522
SANDRA SPRAKER         54512 MARISSA CT                                                                         SHELBY TOWNSHIP      MI 48316‐1291
SANDRA SPRINGER        PO BOX 51                                                                                KIPTON               OH 44049‐0051
SANDRA SQUIBBS         2923 WILLOW OAK DR                                                                       EDGEWATER            FL 32141‐5630
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Name                     Address1                         Address2           Address3         Address4         City            State Zip
SANDRA STACY             217 E PINEVIEW DR                                                                     SAGINAW          MI 48609‐9420
SANDRA STANFIELD         1962 SHERWOOD DR                                                                      DEFIANCE         OH 43512‐3432
SANDRA STARLIN           5465 CIRCLE DR NE                                                                     BELMONT          MI 49306‐9004
SANDRA STATON            18723 WOODSIDE ST                                                                     HARPER WOODS     MI 48225‐2121
SANDRA STAUFFER          6301 SPRING OAK CT                                                                    TAMPA            FL 33625‐1507
SANDRA STEFAN            P.0. BOX 213                                                                          NEWTON FALLS     OH 44444
SANDRA STEFANOVICH       5114 CHASE RD                                                                         DEARBORN         MI 48126‐3126
SANDRA STEIN             7301 SHILOH LN                                                                        SAINT LOUIS      MO 63123‐2032
SANDRA STEINMANN         302 S WEST ST                                                                         VASSAR           MI 48768‐1624
SANDRA STEPP             809 RENAISSANCE POINTE APT 307                                                        ALTAMONTE SPG    FL 32714‐3534
SANDRA STEVENS GOODALE   69 HILLTOP DRIVE                                                                      CHAPPAQUA        NY 10514
SANDRA STEVENSON         316 SHERMAN ST                                                                        LINDEN           NJ 07036‐1948
SANDRA STEVENSON         PO BOX 1                                                                              PAOLA            KS 66071‐0001
SANDRA STEWART           3531 ALWARD RD                                                                        LAINGSBURG       MI 48848‐9451
SANDRA STEWART           5121 KENORA DR                                                                        SAGINAW          MI 48604‐9471
SANDRA STEWART           24206 SUSAN DR                                                                        FARMINGTN HLS    MI 48336‐2812
SANDRA STEWART           3926 E MICHIGAN ST                                                                    INDIANAPOLIS     IN 46201‐3502
SANDRA STEWART           9613 NE 3RD PL                                                                        MIDWEST CITY     OK 73130‐3425
SANDRA STEWART           425 ARLINGTON RD APT 16                                                               BROOKVILLE       OH 45309‐1134
SANDRA STEWART‐SNELL     1394 RYAN ST                                                                          FLINT            MI 48532‐3743
SANDRA STIERHEIM         6143 CANTON DR                                                                        SAGINAW          MI 48603‐3494
SANDRA STILES            1546 KINGS BRIDGE RD                                                                  GRAND BLANC      MI 48439‐8713
SANDRA STITT             2220 PEBBLE BEACH DR                                                                  KOKOMO           IN 46902‐3123
SANDRA STIVEN            6218 N BELSAY RD                                                                      FLINT            MI 48506‐1250
SANDRA STOHLER           764 N 500 W                                                                           ANDERSON         IN 46011‐1428
SANDRA STOKES            2857 HAMMOCK DR                                                                       PLANT CITY       FL 33566‐6753
SANDRA STOTTS            16111 HOEFT RD                                                                        BELLEVILLE       MI 48111‐4279
SANDRA STOUT             164 SPARKS RD                                                                         JOHNSON CITY     TN 37601‐8137
SANDRA STRAIN            1901 CANE CREEK RD LOT 22                                                             COOKEVILLE       TN 38506‐6467
SANDRA STRICKLAND        338 N LIPKEY RD                                                                       NORTH JACKSON    OH 44451‐9752
SANDRA STROZESKI         252 W FAIRMOUNT AVE                                                                   PONTIAC          MI 48340‐2740
SANDRA STRUBLE           1483 WATCH HILL DR                                                                    FLINT            MI 48507‐5625
SANDRA STUMPF            2849 ELLEN LN                                                                         BEAVERCREEK      OH 45430‐1928
SANDRA SUAREZ            213 S PARK RD                                                                         JOLIET            IL 60433‐1432
SANDRA SUMMERVILLE       6028 ARROWHEAD DR                                                                     ANDERSON         IN 46013‐3778
SANDRA SUMNER            5800 LONGFORD RD                                                                      DAYTON           OH 45424‐2941
SANDRA SUNDBERG          2302 LANTERN HILL DR                                                                  URBANA            IL 61802‐5618
SANDRA SURBER            306 MANSFIELD ST                                                                      GALION           OH 44833‐2241
SANDRA SUSZEK            3830 FAIRFAX DR                                                                       TROY             MI 48083‐6409
SANDRA SUTTON            1806 STEVENSON ST                                                                     FLINT            MI 48504‐3411
SANDRA SWAFFORD          279 DEANS LN                                                                          JACKSON          GA 30233‐5305
SANDRA SWANIGAN          11249 MOORE ST                                                                        ROMULUS          MI 48174‐3820
SANDRA SWARTZ            PO BOX 266                                                                            GERMANTOWN       OH 45327‐0266
SANDRA SWEITZER          6315 BELMONT PL                                                                       SAGINAW          MI 48603‐3403
SANDRA SWYERS            458 ENGLAND DRIVE                                                                     FESTUS           MO 63028
SANDRA T MCCAIN          206 W ADAMS ST                                                                        OVERTON          TX 75684‐1005
SANDRA TALCOTT           6285 E 16 MILE RD                                                                     REED CITY        MI 49677‐9420
SANDRA TARANTOWICZ       600 E SNELL RD                                                                        ROCHESTER        MI 48306‐2141
SANDRA TARRO             11 S. 730 MCGRATH LANE                                                                NAPERVILLE        IL 60564
SANDRA TAVARES           10301 LAKE AVE APT 204                                                                CLEVELAND        OH 44102‐1244
SANDRA TAYLOR            2379 TIFFANY CIR                                                                      DECATUR          GA 30035‐3316
SANDRA TAYLOR            9309 RIDGE RD                                                                         GOODRICH         MI 48438‐9448
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Name                   Address1                      Address2            Address3         Address4         City              State Zip
SANDRA TAYLOR          4511 KENOWA AVE SW                                                                  GRANDVILLE         MI 49418‐8402
SANDRA TAYLOR          3375 E DODGE RD                                                                     CLIO               MI 48420‐9702
SANDRA TAYLOR          3990 BECK RD                                                                        HOWELL             MI 48843‐8820
SANDRA TEELING         3542 PANDOLA AVE                                                                    JOLIET              IL 60431‐2728
SANDRA TERBOVICH       2067 PARKWOOD DR NW                                                                 WARREN             OH 44485‐2326
SANDRA TERNET          10940 N COUNTY ROAD 400 E                                                           PITTSBORO          IN 46167‐9219
SANDRA TESSER          1 CHANNEL DR UNIT 303                                                               MONMOUTH BEACH     NJ 07750‐1338
SANDRA TESTERMAN       3895 ALBERT MATTHEWS RD                                                             COLUMBIA           TN 38401‐8961
SANDRA TETER           154 SUNVIEW RD                                                                      HOLLISTER          MO 65672‐5088
SANDRA TEUBERT         4725 S IRONWOOD AVE                                                                 BROKEN ARROW       OK 74011‐3223
SANDRA THACKER         4762 SULLIVANT AVE                                                                  COLUMBUS           OH 43228‐1918
SANDRA THOMAS          167 GATES ST                                                                        CORTLAND           OH 44410‐1058
SANDRA THOMAS          20240 LEDGESTONE ST                                                                 SOUTHFIELD         MI 48076‐4979
SANDRA THOMAS‐WARNER   31705 S RIVER RD APT A                                                              HARRISON TWP       MI 48045‐5728
SANDRA THOMPSON        304 5TH AVE                                                                         COLUMBIA           TN 38401‐2816
SANDRA THORNSBERY      2157 GATES AVE                                                                      STREETSBORO        OH 44241‐5815
SANDRA THURAU          11197 DAVISON RD                                                                    DAVISON            MI 48423‐8102
SANDRA THURMAN         6443 DUCHESS DR                                                                     RIVERSIDE          CA 92509‐5711
SANDRA TITTLE          3237 MCKINLEY AVE LOT 29                                                            COLUMBUS           OH 43204‐3699
SANDRA TODD GIANINI    1942 SOUTHCREEK BLVD                                                                PORT ORANGE        FL 32128‐7879
SANDRA TOMASIAK        6363 SHAFFER RD NW                                                                  WARREN             OH 44481‐9379
SANDRA TONG            PO BOX 13                                                                           MC MILLAN          MI 49853‐0013
SANDRA TOOMEY          3298 DEVAUGHN DR NE                                                                 MARIETTA           GA 30066‐2380
SANDRA TORNBERG        53794 WHITBY WAY                                                                    SHELBY TOWNSHIP    MI 48316‐1220
SANDRA TORRY           1005 GRENOBLE DR UNIT G                                                             LANSING            MI 48917‐3934
SANDRA TOTH            1904 FARMDALE AVE                                                                   MINERAL RIDGE      OH 44440‐9506
SANDRA TOTH            332 WESTGATE RD                                                                     KENMORE            NY 14217‐2212
SANDRA TRAMMELL        652 ZION CT                                                                         HOWELL             MI 48843‐9206
SANDRA TRAROP          APT E107                      5782 ANDREWS ROAD                                     MENTOR ON THE      OH 44060‐2675
SANDRA TREPANIER       5982 HASSLICK RD                                                                    NORTH BRANCH       MI 48461‐8531
SANDRA TRINKLE         211 E VINYARD ST                                                                    ANDERSON           IN 46012‐2522
SANDRA TROY            5998 WALNUT ST                                                                      NEWFANE            NY 14108‐1318
SANDRA TRUCKSIS        PO BOX 9022                                                                         WARREN             MI 48090‐9022
SANDRA TUCKER          2229 MARYANN PL                                                                     TOLEDO             OH 43614‐2044
SANDRA TUCKER          9232 ROBEY MEADOWS LN                                                               INDIANAPOLIS       IN 46234‐1673
SANDRA TUCKER          2965 WEAVER RD                                                                      PORT AUSTIN        MI 48467‐9659
SANDRA TUCKER          4574 GLENBROOK DR                                                                   PALM HARBOR        FL 34683‐1563
SANDRA TUOHEY          6117 GODFREY RD                                                                     BURT               NY 14028‐9756
SANDRA TURBEN          13323 TURBEN RIDGE RD                                                               SOLDIERS GROVE     WI 54655‐7570
SANDRA TURNER          5761 MORNINGSTAR DR                                                                 GALLOWAY           OH 43119‐8899
SANDRA TURNER          736 W 19TH ST                                                                       ANDERSON           IN 46016‐4006
SANDRA TWITE           341 E SOUTH ST                                                                      DAVISON            MI 48423‐3005
SANDRA TYREE           11690 PLAZA DR APT 7                                                                CLIO               MI 48420‐1741
SANDRA UNGREY          2873 MARY NELL DR SW                                                                BYRON CENTER       MI 49315‐9226
SANDRA UPCOTT          23261 SENECA ST                                                                     OAK PARK           MI 48237‐3706
SANDRA UPTEGRAFF       2250 N CENTER RD                                                                    BURTON             MI 48509‐1003
SANDRA V COPELAND      2470 GRIFFITH DR                                                                    CORTLAND           OH 44410‐9652
SANDRA V DEJULIO       3957 POTHOUR‐WHEELER RD.                                                            HUBBARD            OH 44425‐9782
SANDRA V JENNINGS      3544 EVERGREEN AVE SE                                                               WARREN             OH 44484‐3416
SANDRA V JENNINGS      3544 EVERGREEN AVE SE                                                               WARREN             OH 44484‐3416
SANDRA VADER           2243 S TERM ST                                                                      BURTON             MI 48519‐1030
SANDRA VALENTE         2680 CRESCENT CIR                                                                   LINCOLN            CA 95648‐8230
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Name                       Address1                       Address2            Address3         Address4         City                  State Zip
SANDRA VALLAD              944 ROBINS RD                                                                        LANSING                MI 48917‐2090
SANDRA VANCE               P O 422                                                                              SUMTERVILLE            FL 33585
SANDRA VANCLEAVE           2695 LYDIA ST SW                                                                     WARREN                 OH 44481‐9622
SANDRA VANDEGRIFF          344 N ROGERS ST                                                                      MASON                  MI 48854‐1234
SANDRA VANDERBAND          980 KENDALWOOD ST NE                                                                 GRAND RAPIDS           MI 49505‐3279
SANDRA VANKIRK             83 PARK ST 2                                                                         BRISTOL                CT 06010
SANDRA VANOCHTEN           1533 PARK AVE                                                                        BAY CITY               MI 48708‐5532
SANDRA VAUGHN              797 S POWELL RD                                                                      ESSEXVILLE             MI 48732‐1801
SANDRA VAUGHN              1955 UNION PL APT A04                                                                COLUMBIA               TN 38401‐5905
SANDRA VEASLEY             2969 SO. OUTERDRIVE                                                                  SAGINAW                MI 48601
SANDRA VELTKAMP‐APPLEBEE   8386 HERRINGTON AVE NE                                                               BELMONT                MI 49306‐9776
SANDRA VERHOFF             1616 E 4TH ST                                                                        OTTAWA                 OH 45875‐1512
SANDRA VETITOE             8700 W WALDEN DR                                                                     BELLEVILLE             MI 48111‐2699
SANDRA VILLARREAL          530 CHIPPEWA DR                                                                      DEFIANCE               OH 43512‐3339
SANDRA VILLARREAL          18055 OTTIEWAY CT                                                                    HOLLY                  MI 48442‐8684
SANDRA VINCENT‐RENAUD      11591 SHELL BARK LN                                                                  GRAND BLANC            MI 48439‐1382
SANDRA W BOWMAN            1401 N HAIRSTON RD APT 2A                                                            STONE MOUNTAIN         GA 30083‐1949
SANDRA W BROOKSHIRE        701 FRINGED ORCHID TRAIL                                                             VENICE                 FL 34293‐7259
SANDRA W FORSTER           5633 THOMPSON CLARK RD.,NW                                                           BRISTOLVILLE           OH 44402‐9716
SANDRA W LATIMER           3674 CADWALLADER‐SONK RD.                                                            CORTLAND               OH 44410‐9412
SANDRA W MARKS             3260 MORROW DR                                                                       CORTLAND               OH 44410
SANDRA W PLATT             1024 VILLAGE POINTE RD                                                               SHALLOTTE              NC 28470‐5336
SANDRA WADDELL             9665 CYPRESS LAKES DR                                                                LAKELAND               FL 33810‐2395
SANDRA WADE                99 LYELLWOOD PKWY APT C                                                              ROCHESTER              NY 14606‐4518
SANDRA WADE                1627 N GOLDEN GATE AVE                                                               STOCKTON               CA 95205
SANDRA WADSWORTH           489 PLUM CREEK RD                                                                    LAPEER                 MI 48446‐7754
SANDRA WAGNER              41820 RAMBLER AVE                                                                    ELYRIA                 OH 44035‐2156
SANDRA WAGNER              3668 SW BOBBY JONES CT                                                               REDMOND                OR 97756‐8679
SANDRA WALKER              95 S BASSETT RD                                                                      LAPEER                 MI 48446‐2833
SANDRA WALKER              4000 W SYLVANIA AVE APT 5                                                            TOLEDO                 OH 43623
SANDRA WALKER              9350 SHADY LAKE DR             APT 105W                                              STREETSBORO            OH 44241‐4592
SANDRA WALKER              306 PALM AVE                                                                         WILDWOOD               FL 34785‐9426
SANDRA WALKER              7372 GRAND BLANC RD                                                                  SWARTZ CREEK           MI 48473‐9424
SANDRA WALLICZEK           4435 N CLARK RD                                                                      WOODLAND               MI 48897‐9777
SANDRA WALSH               11306 PLUMTREE CT                                                                    RIVERVIEW              FL 33579
SANDRA WALTERS             9901 N STATE ROAD 3 LOT 103                                                          MUNCIE                 IN 47303‐9596
SANDRA WALTON              HAMLIN TERRACE DRIVE APT 212                                                         HAMLIN                 NY 14464
SANDRA WALTON              696 BAKER ST                                                                         ROCHESTER HILLS        MI 48307‐4200
SANDRA WARD                5008 S ANDERSON RD TRLR 9                                                            OKLAHOMA CITY          OK 73150‐3814
SANDRA WARD‐HATTON         500 GARDENIA ST                                                                      PANAMA CITY BEACH      FL 32407‐2913
SANDRA WARNER              1545 N 1250 W                                                                        KOKOMO                 IN 46901‐8659
SANDRA WASHINGTON          244 W BROOKLYN AVE                                                                   PONTIAC                MI 48340‐1126
SANDRA WATSON              347 LIBERTY CIR                                                                      PROSPECT               TN 38477‐6285
SANDRA WATSON              450 CENTER ST E                                                                      WARREN                 OH 44481‐9312
SANDRA WATTS               1815 OSBORN RD                                                                       LANSING                MI 48915‐1264
SANDRA WEAVER              16310 W BONITA PARK DR                                                               SURPRISE               AZ 85387‐2715
SANDRA WEBBER              730 LOCUST DR                                                                        DAVISON                MI 48423‐1955
SANDRA WEBER               2112 PURPLE ASTER LN                                                                 JANESVILLE             WI 53546
SANDRA WEBSTER             12945 BURNINGWOOD DR                                                                 WASHINGTON TOWNSHIP    MI 48094‐1738
SANDRA WEITZEL             1829 2ND ST                                                                          ESSEXVILLE             MI 48732‐1727
SANDRA WELCH               3020 BISCAYNE AVE                                                                    YOUNGSTOWN             OH 44505‐2114
SANDRA WELLS               1017 COPEMAN BLVD                                                                    FLINT                  MI 48504‐7325
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SANDRA WELLS           33570 BERNADINE DR                                                                        FARMINGTON HILLS    MI 48335‐1412
SANDRA WENDLAND        1116 78TH ST NW                                                                           BRADENTON           FL 34209‐1043
SANDRA WHIRL           2493 MURPHY RD                                                                            FLINT               MI 48504‐6555
SANDRA WHITE           205 RYAN ST                                                                               DOBSON              NC 27017‐8841
SANDRA WHITE           7462 W 250 S                                                                              WABASH              IN 46992‐8335
SANDRA WHITE           PO BOX 65                            317 N FOURTH                                         LACYGNE             KS 66040‐0065
SANDRA WHITE           9305 STATELINE RD APT 29B            APT 29B                                              OLIVE BRANCH        MS 38654‐3770
SANDRA WHITE‐BECOATS   1861 SPRINGFIELD ST                                                                       FLINT               MI 48503‐4579
SANDRA WHITLEY         W5470 SHADY LN                                                                            MAUSTON             WI 53948‐9103
SANDRA WHITLEY         1502 CALLENDER RD                                                                         SPRING HILL         TN 37174‐6134
SANDRA WHITNEY         510 E MAIN ST                                                                             FLUSHING            MI 48433‐2006
SANDRA WILLEY          3911 DR MARTIN LUTHER KING JR BLVD                                                        ANDERSON            IN 46013‐2304
SANDRA WILLIAMS        3118 WILDWOOD DR                                                                          MC DONALD           OH 44437‐1353
SANDRA WILLIAMS        820 REGENT ST                                                                             NEW LENOX            IL 60451‐1951
SANDRA WILLIAMS        7030 CHASE RUN LN                                                                         FLUSHING            MI 48433‐2281
SANDRA WILLIAMS        104 MOUNT EVEREST WAY                                                                     SWARTZ CREEK        MI 48473
SANDRA WILLIAMS        23607 SUTTON DR APT 1416                                                                  SOUTHFIELD          MI 48033‐3353
SANDRA WILLIAMS        5340 LYNSUE LANE                                                                          WATERFORD           MI 48327‐2428
SANDRA WILLIAMS        1061 TREVOR PL                                                                            DETROIT             MI 48207‐3809
SANDRA WILLIAMS        1260 SPRINGBORROW DR                                                                      FLINT               MI 48532‐2171
SANDRA WILLIAMS        263 CHIPPEWA RD                                                                           PONTIAC             MI 48341‐2011
SANDRA WILMOT          121 WEBBER RD SW                                                                          PLAINVILLE          GA 30733‐9630
SANDRA WILSON          8046 DODGE RD                                                                             MONTROSE            MI 48457‐9189
SANDRA WILSON          PO BOX 310202                                                                             FLINT               MI 48531‐0202
SANDRA WILSON          1239 RINN ST                                                                              BURTON              MI 48509‐2338
SANDRA WINDHAM         11700 SUSSEX ST                                                                           DETROIT             MI 48227‐2028
SANDRA WINKLER         123 STERLING ST                                                                           PLAINWELL           MI 49080‐1334
SANDRA WINTER          7191 ELDERWOOD CIR                                                                        CLARKSTON           MI 48346‐1596
SANDRA WITHROW         6266 APPLERIDGE DR                                                                        YOUNGSTOWN          OH 44512
SANDRA WITKO           4051 PINECREST DR                                                                         TOLEDO              OH 43623‐2111
SANDRA WITMER          11500 COLLINGWOOD CT                                                                      CLIO                MI 48420‐1719
SANDRA WITT            717 ALEXANDER ST                                                                          CARTHAGE            TX 75633‐1101
SANDRA WOFFORD         28322 GROVELAND ST                                                                        ROSEVILLE           MI 48066‐2417
SANDRA WOLF            34446 CLEARVIEW CIR                                                                       STERLING HEIGHTS    MI 48312‐5723
SANDRA WOLFE           2870 HILDA DR SE                                                                          WARREN              OH 44484‐3335
SANDRA WOLFE           1124 MORNINGSIDE DR                                                                       KOKOMO              IN 46901‐1959
SANDRA WOLFF           3006 N WILSON AVE                                                                         ROYAL OAK           MI 48073‐3579
SANDRA WOLTER          3505 BELINDA DR                                                                           STERLING HEIGHTS    MI 48310‐1791
SANDRA WOOD            32 LAUDERDALE AVENUE                                                                      YOUNGSTOWN          OH 44505‐2527
SANDRA WOOD            565 MIX RD                                                                                GLADWIN             MI 48624‐9662
SANDRA WOODARD         5201 E COUNTY ROAD 350 S                                                                  PLAINFIELD          IN 46168‐8338
SANDRA WOODROW         865 BAVENO DR                                                                             VENICE              FL 34285‐4405
SANDRA WOODRUFF        1426 S PLATE ST                                                                           KOKOMO              IN 46902‐1871
SANDRA WOODSON         8007 JANES AVE                                                                            WOODRIDGE            IL 60517
SANDRA WORMSER RLT     C/O SANDRA WORMSER                   5420 HAMMERSMITH DRIVE                               WEST BLOOMFIELD     MI 48322
SANDRA WORSTENHOLM     1310 W ATHERTON RD                                                                        FLINT               MI 48507‐5358
SANDRA WORTH           4913 BOLERO CT                                                                            FORT WORTH          TX 76135‐2546
SANDRA WRIGHT          PO BOX 42                                                                                 DAYTON              OH 45405‐0042
SANDRA WRIGHT          16315 SILVER SHADOW LN                                                                    HUNTERTOWN          IN 46748‐9360
SANDRA WRIGHT          22725 JEFFERSON RD                                                                        MORLEY              MI 49336‐9187
SANDRA WRIGHT          PO BOX 29072                                                                              SHREVEPORT          LA 71149‐9072
SANDRA WRIGHT          410 W STATE ST                                                                            SAINT JOHNS         MI 48879‐1448
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Name                        Address1                            Address2                     Address3   Address4                   City               State Zip
SANDRA WROSE                4261 GRANGE HALL RD LOT 3                                                                              HOLLY               MI 48442‐1161
SANDRA WYNN                 PO BOX 4126                                                                                            FLINT               MI 48504‐0126
SANDRA Y BOWLES             632 GREENHURST DR                                                                                      VANDALIA            OH 45377‐1302
SANDRA Y HOLMES             5580 JOYCE ANN DR                                                                                      DAYTON              OH 45415‐2947
SANDRA Y ROBINSON‐JOHNSON   1450 WALNUT VIEW DR                                                                                    FLINT               MI 48532‐2435
SANDRA YACOBUCCI            10422 RAVENWOOD LN                                                                                     PAINESVILLE         OH 44077‐9113
SANDRA YANNUCCI             7477 FLOWING STREAM DR                                                                                 LAS VEGAS           NV 89131‐2532
SANDRA YOUNG                14 PAXTON LN                                                                                           BEAR                DE 19701‐1251
SANDRA YUILLE               5571 OLD FRANKLIN RD                                                                                   GRAND BLANC         MI 48439‐8627
SANDRA Z SAXON              147 BLOSSOM LN                                                                                         NILES               OH 44446
SANDRA ZALEWSKI             1070 STRAWBERRY AVE                                                                                    LAKE                MI 48632‐9104
SANDRA ZARB                 3234 LEDGEWOOD CT E                                                                                    COMMERCE TWP        MI 48382‐1419
SANDRA ZEBROWSKI            152 SHORELINE DR E                                                                                     PORT SANILAC        MI 48469‐9767
SANDRA ZEDAKER              41576 HAZELWOOD ST                                                                                     ELYRIA              OH 44035‐1234
SANDRA ZINGER               111 S WELLMAN RD                                                                                       WOODLAND            MI 48897‐9769
SANDRA ZISKA                5518 LAURA ST                                                                                          ZEPHYRHILLS         FL 33542‐6833
SANDRACO, BEVERLY R         10966 N GRAND LAKE HWY                                                                                 POSEN               MI 49776‐9741
SANDRAY ORGERON‐ROBERTS     39457 HIGHWAY 59B                                                                                      MACOMB              OK 74852‐9008
SANDREA J MYLES             607 HAMPTON CIRCLE                  APT. H                                                             JACKSON             MS 39211
SANDRES, JELISSA            3728 HUNTINGDON LN                                                                                     MEMPHIS             TN 38111‐6506
SANDRETTI, MARY T           200 MADISON ST UNIT 2C                                                                                 JOLIET               IL 60435‐6541
SANDRETTO, SAMUEL T         1057 MORGAN ST                                                                                         JOLIET               IL 60436‐1468
SANDREV, JANKO              5487 REVERE DR                                                                                         NORTH OLMSTED       OH 44070‐4469
SANDRIA KNIGHT              76 FILLMORE ST                                                                                         ROCHESTER           NY 14611‐2512
SANDRICK, LOUIS M           8582 BERWICK DR                                                                                        WESTLAND            MI 48185‐1639
SANDRICK, LOUIS MICHAEL     8582 BERWICK DR                                                                                        WESTLAND            MI 48185‐1639
SANDRIDGE ENERGY            PO BOX 108827                                                                                          OKLAHOMA CITY       OK 73101‐8827
SANDRIDGE ENERGY            STEVE HENSLEY                       123 R S KERR                                                       OKLAHOMA CITY       OK
SANDRIDGE JR, ROY D         4408 QUAKER HILLS CT                                                                                   HVRE DE GRACE       MD 21078‐1514
SANDRIDGE, CHARLES          14232 ASBURY PARK                                                                                      DETROIT             MI 48227‐1388
SANDRIDGE, DEJUANA C        781 LOVE BRANCH RD                                                                                     HARVEST             AL 35749‐8567
SANDRIDGE, JEFFREY K        781 LOVE BRANCH RD                                                                                     HARVEST             AL 35749‐8567
SANDRIDGE, ROBERT L         18687 SHIAWASSEE DR                                                                                    DETROIT             MI 48219‐2288
SANDRIDGE, VERNEDA F        917 STOLZ AVE                                                                                          DAYTON              OH 45408‐2234
SANDRINO ROSSI              VIA ECCHELEN 49                     36012 ASIAGO           VI
SANDRINO ROSSI              VIA ECCHELEN 49                     36012 ASIAGO           VI
SANDRO BALESTRINO           394 W ANN ARBOR TRL                                                                                    PLYMOUTH           MI 48170‐1669
SANDRO BUCOLO               VIA COMUNALE ACQUITTA,                                                                                 TERME VIGLIATORE   ME 98051
SANDRO CAU                  VIA PORRETTANA 20‐3                                                         CASALECCHIO DI RENO (BO)
                                                                                                        ITALY
SANDRO DE SANCTIS           VIA GIULIO ROMANO 17                                                                                   MILAN                 20135
SANDRO DEL MONACO           3822 HAHN AVE                                                                                          BETHPAGE           NY 11714‐5011
SANDRO FERRARI              VIA DOSS TRENTO 10                  38100 TRENTO
SANDRO FLORIN               LERCHWEG 13 A                                                               8835 FEUSISBERG
                                                                                                        SWITZERLAND
SANDRO RIZZI                VIA BARANZATE 67                    20026 NOVATE MILANESE (MI)   ITALY
SANDROCK, CAROL M           5756 ST RT.88 N. E. R.D.1                                                                              KINSMAN            OH   44428
SANDROCK, TODD              G3169 BEECHER RD STE 101                                                                               FLINT              MI   48532‐3644
SANDS BRANDON D             9658 FIRELANDS DR                                                                                      TWINSBURG          OH   44087‐3226
SANDS CHEVROLET             1211 HANOVER AVE                                                                                       ALLENTOWN          PA   18109‐2016
SANDS CHEVROLET, LLC        16991 W WADDELL RD                                                                                     SURPRISE           AZ   85388‐9602
SANDS CHEVROLET, LLC        LOUIS SANDS                         16991 W WADDELL RD                                                 SURPRISE           AZ   85388‐9602
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Name                      Address1                           Address2                        Address3   Address4         City                   State Zip
SANDS CHEVROLET, LLC      TERRY SANDS                        1211 HANOVER AVE                                            ALLENTOWN               PA 18109‐2016
SANDS JIMMIE D (476996)   KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                               CLEVELAND               OH 44114
                                                             BOND COURT BUILDING
SANDS JR, HERSCHEL E      13485 E 980 NORTH RD                                                                           CATLIN                 IL   61817‐9121
SANDS MOTOR COMPANY       JERROLD MOORE                      5418 NW GRAND AVE                                           GLENDALE               AZ   85301‐4501
SANDS MOTOR COMPANY                                                                                                      GLENDALE               AZ   85301‐4501
SANDS MOTOR COMPANY       5418 NW GRAND AVE                                                                              GLENDALE               AZ   85301‐4501
SANDS PATRICIA            12510 230TH PL NE                                                                              REDMOND                WA   98053‐5629
SANDS, AME S              14153 TUSCOLA RD                                                                               CLIO                   MI   48420‐8848
SANDS, AME' S             14153 TUSCOLA RD                                                                               CLIO                   MI   48420‐8848
SANDS, ANDREA J           110A WATER ST                                                                                  SEVILLE                OH   44273‐9787
SANDS, ANDREA J           110A WATER ST.                                                                                 SEVILLE                OH   44273
SANDS, BRANDON D          9658 FIRELANDS DR                                                                              TWINSBURG              OH   44087
SANDS, BRIAN D            192 WILLOWBROOK DR                                                                             MANSFIELD              OH   44907‐1734
SANDS, BRIAN DOUGLAS      192 WILLOWBROOK DR                                                                             MANSFIELD              OH   44907‐1734
SANDS, BRICE J            6976 SALON CIR                                                                                 HUBER HEIGHTS          OH   45424‐1578
SANDS, CATHY L            5125 RIDGEBEND DR                                                                              FLINT                  MI   48507‐3911
SANDS, CHARLES B          1109 CIMARRON ST                                                                               PAPILLION              NE   68046‐3736
SANDS, CHARLOTTE E        98 BEECH TREE LN                                                                               HARRINGTON             DE   19952‐2700
SANDS, DAVID H            9658 FIRELANDS DR                                                                              TWINSBURG              OH   44087‐3226
SANDS, DAVID J            4331 STAUNTON DR                                                                               SWARTZ CREEK           MI   48473‐8278
SANDS, DAVID P            15230 S NILES RD                                                                               EAGLE                  MI   48822‐9708
SANDS, DAVID W            1024 STYER DR                                                                                  NEW CARLISLE           OH   45344‐2749
SANDS, DENISE C           4157 DEMASTUS LN                                                                               COLUMBIA               TN   38401‐8413
SANDS, DENNIS C           3089 KNOTTINGHAM DR                LOT 22                                                      FLINT                  MI   48507
SANDS, DENNIS M           1587 W VIEW TRL                                                                                HOWELL                 MI   48843‐8078
SANDS, DIANE I            8079 GALE RD                                                                                   OTISVILLE              MI   48463‐9412
SANDS, DONALD E           1024 STYER DR                                                                                  NEW CARLISLE           OH   45344‐2749
SANDS, DOROTHY A          PO BOX 24                                                                                      HENRY                  TN   38231‐0024
SANDS, GERALD F           28842 JAMES DR                                                                                 WARREN                 MI   48092‐2445
SANDS, HELEN J            651 LUNDYS LN                                                                                  MEDINA                 OH   44256‐7112
SANDS, HERSCHEL E         RR 1                                                                                           CATLIN                 IL   61817
SANDS, JENNIFER NICOLE    3042 JEWELSTONE DR APT G                                                                       DAYTON                 OH   45414‐2734
SANDS, JIMMIE D           KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                CLEVELAND              OH   44114
                                                             BOND COURT BUILDING
SANDS, JOHN J             22800 NAPIER RD                                                                                NOVI                   MI   48374‐3204
SANDS, KEITH D            124 BERNICE DR                                                                                 BEAR                   DE   19701‐2000
SANDS, KENNETH E          8079 GALE RD                                                                                   OTISVILLE              MI   48463‐9412
SANDS, KENNETH L          PO BOX 182                                                                                     CHATFIELD              TX   75105‐0182
SANDS, LARRY L            9351 BIG LAKE RD                                                                               CLARKSTON              MI   48346‐1053
SANDS, LAWRENCE D         SANDS & SANDS                      PO BOX 1660                                                 COLUMBIA               TN   38402‐1660
SANDS, LOIS E             LOT 55                             7111 142ND AVENUE                                           LARGO                  FL   33771‐4650
SANDS, MARILYN D          444 FOX MEADOW RD                                                                              ROCHESTER              NY   14626‐3141
SANDS, MARSHA             263 MEADOW TRAIL DR                                                                            NEWPORT                KY   41076‐5018
SANDS, MARY S             7625 DEAVER DR.                                                                                NORTH RICHLAND HILLS   TX   76180‐6277
SANDS, MARY S             7625 DEAVER DR                                                                                 NORTH RICHLAND HILLS   TX   76180‐6277
SANDS, MICHAEL W          14153 TUSCOLA RD                                                                               CLIO                   MI   48420‐8848
SANDS, ORVILLE K          691 E PACKINGHAM RD                                                                            LAKE CITY              MI   49651‐9388
SANDS, PAUL D             20213 N IBIS CT                                                                                SUN CITY WEST          AZ   85375‐6009
SANDS, PETER F            6914W LINCOLN AVE, APT 2                                                                       WEST ALLIS             WI   53219
SANDS, RAYMOND P          17241 LOCHERBIE AVE                                                                            BEVERLY HILLS          MI   48025‐4154
SANDS, ROBERT E           8595 HIGHWAY 69 S                                                                              SPRINGVILLE            TN   38256‐5401
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Name                                  Address1                             Address2                  Address3   Address4              City            State Zip
SANDS, ROBERT H                       206 W CEDAR AVE                                                                                 OAKLYN           NJ 08107‐2404
SANDS, ROSALENE E                     2115 S JAVINE AVE                                                                               SKIATOOK         OK 74070‐3518
SANDS, ROSALENE E                     2115 SOUTH JAVINE AVE                                                                           SKIATOOK         OK 74070
SANDS, ROY C                          7111 142ND AVE                       LOT 55                                                     LARGO            FL 33771‐4650
SANDS, SAMUEL J                       835 HULL AVE                                                                                    LEWISBURG        TN 37091‐4019
SANDS, SEGURD                         98 BEECH TREE LN                     PARIS WOODS II                                             HARRINGTON       DE 19952‐2700
SANDS, SHARON M                       3822 NEW BOSTON DR                                                                              STERLING HTS     MI 48314‐2809
SANDS, THOMAS L                       3890 W 226TH ST                                                                                 CLEVELAND        OH 44126‐1024
SANDS,DAVID W                         1024 STYER DR                                                                                   NEW CARLISLE     OH 45344‐2749
SANDS‐BAAB, NADINE E                  103 RAVEN PT                                                                                    SENECA           SC 29672‐9141
SANDS‐BAAB, NADINE E                  2018 RIDGEVIEW LN                                                                               SENECA           SC 29678‐4261
SANDSTEDT, CHARLES SIBLEY             GUY WILLIAM S                        PO BOX 509                                                 MCCOMB           MS 39649‐0509
SANDSTEDT, RENEE M                    1278 WHITE HAWK DR                                                                              O FALLON         MO 63366‐3716
SANDSTEDT, THOMAS J                   18002 15TH AVE NE STE A                                                                         SHORELINE        WA 98155‐3838
SANDSTROM AUTO & TRUCK REPAIR, INC.   30127 59TH AVENUE WAY                                                                           CANNON FALLS     MN 55009‐7116

SANDSTROM JOHN                        8980 REDMONDWOODVILLE RD NE          APT 203                                                    REDMOND         WA   98052‐3698
SANDSTROM, ALFRED G                   211 DENROSE DR APT 2                                                                            AMHERST         NY   14228‐2653
SANDSTROM, GORDON C                   661 RALEIGH LN                                                                                  THE VILLAGES    FL   32162
SANDSTROM, JEFFREY J                  3412 FAULKLAND RD                                                                               WILMINGTON      DE   19808‐2362
SANDSTROM, KENNETH R                  4443 SEDONA DR                                                                                  CLARKSTON       MI   48348‐2267
SANDSTROM, MARIA                      22 CHATEAUX DU LAC                                                                              FENTON          MI   48430‐9140
SANDSTROM, RICHARD P                  1950 WILBUR AVE                                                                                 SAN DIEGO       CA   92109‐1412
SANDSTROM, ROBERT R                   1319 DEERFIELD LN                                                                               THE VILLAGES    FL   32162‐7146
SANDSTROM, SCOTT W                    15 WATSON LN                                                                                    MIDDLETOWN      DE   19709‐9387
SANDSTROM, THOMAS C                   6307 COUNTY ROAD 11 NE                                                                          ALEXANDRIA      MN   56308‐8061
SANDSTROM, THOMAS C                   22 CHATEAUX DU LAC                                                                              FENTON          MI   48430‐9140
SANDSTROM, VIRGINIA A                 113 INDIAN PIPE TRL                                                                             MEDFORD         NJ   08055‐9143
SANDT, DORIS L                        233 BEN NEVIS RD                                                                                SAINT LOUIS     MO   63137‐3813
SANDTRON AUTOMATION LTD               1404 WALLACE RD                                                           OAKVILLE ON L6L 2Y2
                                                                                                                CANADA
SANDULA JR, PHILIP J                  4460 BISHOP RD                                                                                  DRYDEN          MI   48428‐9204
SANDULA, CARL L                       PO BOX 585                                                                                      DRYDEN          MI   48428‐0585
SANDULA, MILTON J                     PO BOX 73                                                                                       MAPLE CITY      MI   49664‐0073
SANDULA, RANDY C                      3464 NEEDHAM RD                                                                                 LEXINGTON       OH   44904‐9208
SANDULA, RANDY C.                     3464 NEEDHAM RD                                                                                 LEXINGTON       OH   44904‐9208
SANDURA JUSTUS                        357 ELM ST                                                                                      MOUNT MORRIS    MI   48458‐1911
SANDUSKY CITY SCHOOLS ADULT           2130 HAYES AVE                                                                                  SANDUSKY        OH   44870‐4740
EDUCATION
SANDUSKY COUNTY COURT #1              847 E MCPHERSON HWY                                                                             CLYDE           OH   43410‐9785
SANDUSKY COUNTY TREASURER             COURTHOUSE ROOM 130                    100 NORTH PARK AVENUE                                    FREMONT         OH   43420
SANDUSKY ELECTRIC INC                 1513 SYCAMORE LINE                     P O BOX 2353                                             SANDUSKY        OH   44870‐2353
SANDUSKY ELECTRIC INC                 521 E WOODLAND CIR                                                                              BOWLING GREEN   OH   43402‐8966
SANDUSKY ELECTRIC INC                 1516 MILAN RD                          PO BOX 2353                                              SANDUSKY        OH   44870‐4135
SANDUSKY ELECTRIC INC                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1516 MILAN RD                                            SANDUSKY        OH   44870‐4135

SANDUSKY ELECTRIC INC EFT             ATTN: CORPORATE OFFICER/AUTHORIZED   1516 MILAN ROAD                                            SANDUSKY        OH 44870
                                      AGENT
SANDUSKY JR., ALBERT                  5414 MENDEL BERGER DR                                                                           FLINT           MI   48505‐1059
SANDUSKY LIMITED                      PO BOX 105                                                                                      BUTNER          NC   27509‐0105
SANDUSKY MONA                         2698 JOHNSON RD                                                                                 GERMANTOWN      TN   38139‐6700
SANDUSKY MUNICIPAL COURT              ACCOUNT OF JIMMY J EPPSE             222 MEIGS ST                                               SANDUSKY        OH   44870‐2835
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SANDUSKY MUNICIPAL COURT        ACCT OF V E SEAVERS               222 MEIGS ST                                                  SANDUSKY              OH 44870‐2835
SANDUSKY MUNICIPAL COURT        ACCT OF ANTHONY K JONES           222 MEIGS ST                                                  SANDUSKY              OH 44870‐2835
SANDUSKY MUNICIPAL CRT          222 MEIGS ST                                                                                    SANDUSKY              OH 44870‐2835
SANDUSKY MUNICIPAL CRT SM CL    222 MEIGS ST                                                                                    SANDUSKY              OH 44870‐2835
SANDUSKY OH INCOME TAX
SANDUSKY OHIO MUNICIPAL COURT   ACCT OF JESSIE PEARSON JR
SANDUSKY PRESBYTERIAN CHURCH    104 LEXINGTON ST                                                                                SANDUSKY             MI   48471‐1256
SANDUSKY REGISTER               314 W MARKET ST                                                                                 SANDUSKY             OH   44870‐2410
SANDUSKY, ARBIE T               15829 BRANTFORD AVE                                                                             ROCKWOOD             MI   48173‐9648
SANDUSKY, CHARLES A             3567 LIGHTHOUSE DR                                                                              PALM BEACH GARDENS   FL   33410‐5621
SANDUSKY, CHARLES E             PO BOX 151                                                                                      LAKEWOOD             NY   14750
SANDUSKY, CRAIG J               2148 PALACE AVE SW                                                                              GRAND RAPIDS         MI   49507‐2337
SANDUSKY, DARRELL E             406 E FOREST HOME ST                                                                            ROACHDALE            IN   46172‐9169
SANDUSKY, DOLORES J             12804 IROQUOIS DR                                                                               GRAND LEDGE          MI   48837‐8977
SANDUSKY, ELIZABETH M           35679 GARNER ST                                                                                 ROMULUS              MI   48174‐4129
SANDUSKY, ELIZABETH M           882 FAWN MEADOWS DR                                                                             COPLEY               OH   44321‐1410
SANDUSKY, FRED H                710 E MAIN ST                                                                                   BATESVILLE           AR   72501‐3435
SANDUSKY, GIRLENE               5414 MENDEL BERGER DR                                                                           FLINT                MI   48505‐1059
SANDUSKY, IDA M                 3388 NORTH US HIGHWAY 27                                                                        SAINT JOHNS          MI   48879‐9402
SANDUSKY, JAMES R               7272 NICHOLS RD                                                                                 GAINES               MI   48436‐9714
SANDUSKY, LONNIE P              538 CLEARVIEW DR                                                                                FOUNTAIN             CO   80817‐1711
SANDUSKY, NORMAN A              8077 ROLL RD                                                                                    EAST AMHERST         NY   14051
SANDUSKY, ONEDA                 248 W KENNETT ROAD                                                                              PONTIAC              MI   48340‐2654
SANDUSKY, RANDY D               15656 POPLAR ST                                                                                 SOUTHGATE            MI   48195‐3808
SANDUSKY, SAMMY H               8378 SE 177TH BARTRAM LOOP                                                                      THE VILLAGES         FL   32162‐4851
SANDUSKY, SEAN CHRISTIAN        6564 ROLLING GLEN DR                                                                            HUBER HEIGHTS        OH   45424‐1334
SANDUSKY, SHARON L              3567 LIGHTHOUSE DR.                                                                             PALM BEACH GARDEN    FL   33410‐5621
SANDUSKY, VERLIE M              12018 ALGIERS DR                                                                                CINCINNATI           OH   45246‐2816
SANDUSKY/FARMINGTON             27950 ORCHARD LAKE RD             SUITE 101                                                     FARMINGTON HILLS     MI   48334
SANDVICK, ROY A                 S1404 SCHLICHT RD                                                                               CHASEBURG            WI   54621‐8033
SANDVIG, DENNIS J               4386 FOREST AVE                                                                                 WATERFORD            MI   48328‐1111
SANDVIG, FLORENCE A             18500 79TH AVE                                                                                  CHIPPEWA FALLS       WI   54729‐8272
SANDVIG, HYLBER M               4575 18 1/2 MILE RD                                                                             STERLING HTS         MI   48314‐2910
SANDVIG, SHANNON                1117 120TH ST S                                                                                 TACOMA               WA   98444‐3711
SANDVIK                         1702 NEVINS RD                                                                                  FAIR LAWN            NJ   07410‐2886
SANDVIK AB
SANDVIK AB                      1675 E WHITCOMB AVE               PO BOX 9636                                                   MADISON HEIGHTS      MI   48071‐1411
SANDVIK AB                      1702 NEVINS RD                    PO BOX 428                                                    FAIR LAWN            NJ   07410‐2886
SANDVIK AB                      21100 COOLIDGE HWY                                                                              OAK PARK             MI   48237‐3231
SANDVIK AB                      301 INDUSTRIAL RD                                                                               CRYSTAL LAKE         IL   60012‐3602
SANDVIK AB                      31800 RESEARCH PARK DR            PO BOX 899                                                    MADISON HEIGHTS      MI   48071‐4629
SANDVIK AB                      5160 LAD LAND DR                                                                                FREDERICKSBURG       VA   22407‐8702
SANDVIK AB                      CONTRACTS ADMINISTRATOR           DERENDINGER SIR. 53                  TUBINGAN 72072
SANDVIK AB                      PO BOX 205                                                                                      ROYAL OAK            MI 48068‐0205
SANDVIK AB                      PO BOX 205                        31751 RESEARCH PARK DR                                        ROYAL OAK            MI 48068‐0205
SANDVIK CANADA INC
SANDVIK CANADA INC              2550 MEADOWVALE BLVD UNIT 3                                            MISSISSAUGA ON L5N 8C2
                                                                                                       CANADA
SANDVIK CANADA INC              6835 CENTURY AVENUE                                                    MISSISSAUGA CANADA ON
                                                                                                       L5N 2L2 CANADA
SANDVIK COROMANT CO             1702 NEVINS RD                    PO BOX 428                                                    FAIR LAWN            NJ 07410‐2886
SANDVIK COROMANT CO             777 ENTERPRISE DR # 120                                                                         PONTIAC              MI 48341‐3169
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Name                           Address1                             Address2                      Address3   Address4                 City               State Zip
SANDVIK INC                    1702 NEVINS RD                                                                                         FAIR LAWN           NJ 07410‐2886
SANDVIK INC                    1702 NEVINS RD                       PO BOX 428                                                        FAIR LAWN           NJ 07410‐2886
SANDVIK PROC/TOTOWA            21 CAMPUS RD                                                                                           TOTOWA              NJ 07512‐1201
SANDVIK, INC.                  KEN SHILOFF                          1702 NEVINS RD                                                    FAIR LAWN           NJ 07410‐2886
SANDVIK, JAMES E               4415 127TH PL SE                                                                                       EVERETT             WA 98208‐9016
SANDWEISS LANA                 SANDWEISS, LANA                      11150 OVERBROOK RD STE 200                                        LEAWOOD             KS 66211‐2235
SANDWEISS, DAVID
SANDWEISS, LANA                BARTIMUS FRICKLETON ROBERTSON &      11150 OVERBROOK RD STE 200                                        LEAWOOD             KS   66211‐2235
                               OBETZ
SANDWICH COMMUNITY SCHOOL      365 QUAKER MEETING HOUSE RD                                                                            E SANDWICH         MA 02537‐1373
SANDWICH SECONDARY SCHOOL      C/O DAVID FERGUSON                   7050 MALDAN RD                           LA SALLE CANADA ON N9J
                                                                                                             2T5 CANADA
SANDWISCH, GALEN J             6075 BLUE TERRACE PL                                                                                   CASTLE ROCK        CO    80108‐9152
SANDWISCH, SHARON K            6075 BLUE TERRACE PL                                                                                   CASTLE ROCK        CO    80108‐8152
SANDY & SONS AUTO SERVICE      2830 E MCKELLIPS RD                                                                                    MESA               AZ    85213‐3127
SANDY A MCGONIGLE              169 MARK CT                                                                                            GERMANTOWN         OH    45327
SANDY ALEXANDER INC            702 E FOX HILLS DR                                                                                     BLOOMFIELD HILLS   MI    48304‐1360
SANDY BARNES                   200 S LUCILLE ST                                                                                       BEVERLY HILLS      FL    34465‐4227
SANDY BARTON                   422 PLEASANT AVE                                                                                       DAYTON             OH    45403
SANDY BEADLE                   12798 CRESCENT DR                                                                                      GRAND LEDGE        MI    48837‐8919
SANDY CADARET                  2972 STEEPLE HILL RD                                                                                   WHITE LAKE         MI    48383‐1853
SANDY CITY                                                          8775 S 700 W                                                                         UT    84070
SANDY CITY CORP‐PUBLIC WORKS   10000 CENTENNIAL PKWY                                                                                  SANDY              UT    84070‐4148
SANDY CLARK
SANDY CORP                     PO BOX 64000                                                                                           DETROIT            MI    48264‐1428
SANDY CORP                     6515 COBB DR                         PPS                                                               STERLING HEIGHTS   MI    48312‐2623
SANDY CORP                     6515 COBB DR                                                                                           STERLING HEIGHTS   MI    48312‐2623
SANDY CORPORATION              A DIVISION OF GENERAL PHYSICS        6095 MARSHALEE DR STE 300                                         ELKRIDGE           MD    21075‐6084
SANDY CORPORATION              A DIVISION OF GENERAL PHYSICS        300 E BIG BEAVER RD           STE 500                             TROY               MI    48083‐1263
SANDY CORPORATION
SANDY CORPORATION              ERNIE GRAHAM VICE PRESIDENT, SALES   300 E BIG BEAVER RD STE 500                                       TROY               MI 48083‐1263

SANDY CORPORATION              300 E BIG BEAVER RD                  STE 500                                                           TROY               MI 48083‐1263
SANDY CORPORATION ‐ QMA/AMI    4848 ENCHANTED VALLEY RD                                                                               MIDDLETON          WI 53562‐4100
MANAGEMENT LLC
SANDY DARLING                  19503 WALTHAM                                                                                          DETROIT            MI    48205‐1618
SANDY DAVIS                    29836 HANOVER BLVD                                                                                     WESTLAND           MI    48186‐5178
SANDY DAVIS JR                 14944 MADDELEIN ST                                                                                     DETROIT            MI    48205‐2412
SANDY DEROSA                   245 EAST 63RD STREET                 APT 25 G                                                          NEW YORK           NY    10065
SANDY E WARDE                  3113 BULAH DR                                                                                          KETTERING          OH    45429‐3911
SANDY ENGLE                    3738 FREMONT AVE                                                                                       KANSAS CITY        MO    64129‐1727
SANDY GARBER                   138 NELMORE BLVD                                                                                       GILBERTSVILLE      PA    19525
SANDY GATES                    1361 SCOTT LAKE RD #2                                                                                  WATERFORD          MI    48328‐1529
SANDY HALEY                    946 BRIDGESTONE DR                                                                                     ROCHESTER HILLS    MI    48309‐1620
SANDY HARRIS                   3026 E BALCH AVE                                                                                       FRESNO             CA    93721‐2452
SANDY HAYES                    5110 PRATT RD                                                                                          METAMORA           MI    48455‐9609
SANDY HEINEMANN                3113 STATE ROAD 580 LOT 286                                                                            SAFETY HARBOR      FL    34695‐5923
SANDY HOPKINS                  473 CALIFORNIA AVE                                                                                     PONTIAC            MI    48341‐2510
SANDY HOUCK                    1159 MULLIGAN CT SW                                                                                    WYOMING            MI    49509‐9799
SANDY HUNLEY                   265 CONNECTICUT DR                                                                                     ELYRIA             OH    44035‐7874
SANDY HUNT                     10620 WOODWIND DR                                                                                      INTERLOCHEN        MI    49643‐9160
SANDY IVY                      1406 E HINES ST                                                                                        MUNCIE             IN    47303‐3129
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Name                               Address1                         Address2                      Address3   Address4              City            State Zip
SANDY J GOODWIN                    26663 LYDIA JOE DR                                                                              ATHENS           AL 35613‐7739
SANDY J MARTINEZ                   5919 EDITH AVE                                                                                  KANSAS CITY      KS 66104‐1421
SANDY J TEASLEY JR                 1166 OAKLAWN DR                                                                                 PONTIAC          MI 48341‐3600
SANDY JANITORIAL SVC               ATTN: SANDY QUARLES              PO BOX 506                                                     KOKOMO           IN 46903‐0506
SANDY JOHNS                        1710 WINFORD RD                                                                                 BALTIMORE        MD 21239‐3730
SANDY JOHNSONBAUGH                 21096 COUNTRY RD 624                                                                            HILLMAN          MI 49746
SANDY JR, PAUL J                   2563 SHANNON LN                                                                                 KOKOMO           IN 46901‐5884
SANDY K HARRIS                     6030 CRUXTEN DR                                                                                 HUBER HEIGHTS    OH 45424
SANDY KATRINA                      33 BROOKTREE RD                                                                                 EAST WINDSOR     NJ 08520‐1816
SANDY KEIDEL                       13249 HEMLOCK RD                                                                                CHESANING        MI 48616‐9538
SANDY KUHN                         C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH 44236
SANDY KUNTZ                        944 E CENTER RD                                                                                 KOKOMO           IN 46902‐5387
SANDY L HAYES                      5110 PRATT RD                                                                                   METAMORA         MI 48455‐9609
SANDY L HOUCK                      1159 MULLIGAN CT SW                                                                             WYOMING          MI 49509‐9799
SANDY L RACE                       307 GORDON AVE                                                                                  MATTYDALE        NY 13211‐1841
SANDY LANE AUTOMOTIVE              8105 ARGYLL RD NW                                                         EDMONTON AB T6C 4B2
                                                                                                             CANADA
SANDY LAURELL                      1064 15TH ST                                                                                    WYANDOTTE       MI   48192‐3115
SANDY LE SANE                      1624 SYLVAN AVE SE                                                                              GRAND RAPIDS    MI   49506‐4450
SANDY LEWIS                        17829 TEPPERT ST                                                                                DETROIT         MI   48234‐3847
SANDY LUDWIGSON                    375 ROCKPORT RD                                                                                 JANESVILLE      WI   53548‐5236
SANDY MALNAR‐BOWLES                1223 RIVIERA DRIVE                                                                              FLINT           MI   48507
SANDY MARTIN
SANDY MARTINEZ                     5919 EDITH AVE                                                                                  KANSAS CITY     KS   66104‐1421
SANDY MCNEILL                      THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                    HOUSTON         TX   77017
SANDY MERLE (ESTATE OF) (639392)   BRAYTON PURCELL                  PO BOX 6169                                                    NOVATO          CA   94948‐6169
SANDY MOORE                        427 DELOZIER LN                                                                                 ROCKWOOD        TN   37854‐4223
SANDY MORGAN
SANDY MUHAMMAD                     493 WYOMING AVE                                                                                 BUFFALO         NY   14215‐3135
SANDY N FEW                        655 LEGACY DR                                                                                   SMYRNA          TN   37167
SANDY NEAL                         1324 ARROWWOOD LN                                                                               GRAND BLANC     MI   48439‐4891
SANDY O'BERRY                      6128 BALFOUR DR                                                                                 LANSING         MI   48911‐5436
SANDY PETERS                       6120 126TH AVE SE                                                                               LAKE LILLIAN    MN   56253‐9648
SANDY POINT LLC                    293 LIBBEY INDUSTRIAL PKWY                                                                      WEYMOUTH        MA   02189
SANDY POINT LLC                    DBA WORK N GEAR                  293 LIBBEY INDUSTRIAL PKWY                                     WEYMOUTH        MA   02189
SANDY PROFFITT
SANDY PUCKETT                      34905 E TRUMAN RD                                                                               GRAIN VALLEY    MO   64029‐9495
SANDY QUINN                        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS      OH   44236
SANDY ROMEO                        4 SHARON DR APT 2                                                                               MASSENA         NY   13662‐1653
SANDY ROZIER                       3930 STUDOR RD                                                                                  SAGINAW         MI   48601‐5745
SANDY SANSING CHEVROLET, INC.                                                                                                      PENSACOLA       FL   32505‐2214
SANDY SANSING CHEVROLET, INC.      ROBERT SANSING                   6200 PENSACOLA BLVD                                            PENSACOLA       FL   32505‐2214
SANDY SANSING CHEVROLET, INC.      6200 PENSACOLA BLVD                                                                             PENSACOLA       FL   32505‐2214
SANDY SARPY                        PO BOX 881214                                                                                   LOS ANGELES     CA   90009
SANDY SAULTER                      7128 FIELDS DR                                                                                  INDIANAPOLIS    IN   46239‐6702
SANDY SHERMAN                      4637 FRAZHO RD                                                                                  WARREN          MI   48091‐1432
SANDY SWAN                         1104 NE SHADY LANE DR                                                                           KANSAS CITY     MO   64118‐4851
SANDY T NEAL                       1324 ARROWWOOD LN                                                                               GRAND BLANC     MI   48439‐4891
SANDY TEASLEY JR                   1166 OAKLAWN DR                                                                                 PONTIAC         MI   48341‐3600
SANDY TRAN                         3030 BELGIAN DR                                                                                 LANSING         MI   48906‐9085
SANDY UNGUREAN                     1690 SLEEPY HOLLOW DR                                                                           COSHOCTON       OH   43812‐3137
SANDY VOGELSONG                    8077 US HIGHWAY 6                                                                               EDGERTON        OH   43517‐9712
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Name                                Address1                        Address2                         Address3   Address4               City             State Zip
SANDY WESTBROOK                     200 RIVERFRONT DR APT 11E                                                                          DETROIT           MI 48226‐6501
SANDY WILLIAMS                      1875B LAFAYETTE AVENUE          BOX 95                                                             BRONX             NY 10473
SANDY WITHEY                        6326 CHICAGO RD                                                                                    FLUSHING          MI 48433‐9004
SANDY YARNALL                       5826 EASTLAKE DRIVE                                                                                NEW PRT RCHY      FL 34653‐4415
SANDY'S MAKE IT SEW LLC             ATTN: BRANDY MC GREARY          28790 PLYMOUTH RD                                                  LIVONIA           MI 48150‐2336
SANDY, ANNAMAY                      41 S BRISTOL AVE                                                                                   LOCKPORT          NY 14094‐4223
SANDY, ANTHONY C                    1810 VIENNA RD                                                                                     NILES             OH 44446‐3539
SANDY, DOLORES D                    108 BATTLE GROVE AVE # B                                                                           CYNTHIANA         KY 41031‐1618
SANDY, DOLORES S                    1635 ROOSEVELT AVE                                                                                 NILES             OH 44446‐4107
SANDY, DONALD A                     PO BOX 73                                                                                          ROHRERSVILLE      MD 21779‐0073
SANDY, DUANE E                      PO BOX 472                                                                                         HARRISON          MI 48625‐0472
SANDY, GARY W                       1888 E MOORE RD                                                                                    SAGINAW           MI 48601‐9353
SANDY, JEAN                         79 RENOUF DRIVE                                                                                    ROCHESTER         NY 14624‐2921
SANDY, JEAN                         79 RENOUF DR                                                                                       ROCHESTER         NY 14624‐2921
SANDY, JOHN R
SANDY, JOHN S                       20436 CAPITOL HILL DR                                                                              TANNER           AL   35671‐3648
SANDY, JOSEPH A                     5836 SODOM HUTCHINGS RD                                                                            FARMDALE         OH   44417‐9787
SANDY, LEE R                        PO BOX 292                                                                                         WAYNESVILLE      OH   45068‐0292
SANDY, MALCOLM W                    1081 CALDWELL CORNER RD                                                                            TOWNSEND         DE   19734‐9253
SANDY, MARLENE G                    12345 RAYMOND DR                                                                                   CLIO             MI   48420‐1016
SANDY, MARLENE GAIL                 12345 RAYMOND DR                                                                                   CLIO             MI   48420‐1016
SANDY, MARY                         17 KALDENBERG PL                                                                                   TARRYTOWN        NY   10591‐3609
SANDY, MERLE                        BRAYTON PURCELL                 PO BOX 6169                                                        NOVATO           CA   94948‐6169
SANDY, MYRA M                       10 WILMINGTON AVE #E130                                                                            DAYTON           OH   45420‐4802
SANDY, RALPH D                      HC 37 BOX 198                                                                                      LEWISBURG        WV   24901‐9536
SANDY, SULO O                       12305 OAK FOREST LANE                                                                              HUDSON           FL   34667‐4667
SANDY, WAYNE D                      1061 ROMANUS DR                                                                                    VANDALIA         OH   45377‐1148
SANDY/ST HEIGHTS                    6515 COBB DR                    C/O TRANSPAK INC                                                   STERLING HTS     MI   48312‐2623
SANDY/TROY                          300 E BIG BEAVER RD             STE 500                                                            TROY             MI   48083‐1263
SANDYALEXANDER                      200 ENTIN RD                                                                                       CLIFTON          NJ   07014‐1423
SANDYS TOWING & RECOVERY            3053 SPRINGBORO RD W                                                                               MORAINE          OH   45439‐1715
SANDZIK, DAVID M                    39878 MEMORY LN                                                                                    SELFRIDGE ANGB   MI   48045‐1762
SANDZIK, GEORGE A                   8364 CRESTVIEW DR                                                                                  STERLING HTS     MI   48312‐6021
SANDZIK, RONALD G                   42572 SCHIENLE LANE                                                                                CLINTON TWP      MI   48038‐5030
SANE, FAY                           314 WASHINGTON RD #609                                                                             PITTSBURGH       PA   15216‐1636
SANE, MARY R                        5874 LEON RD                                                                                       ANDOVER          OH   44003‐9449
SANECKI, JANICE E                   1557 LEROY ST                                                                                      FERNDALE         MI   48220‐1656
SANELLI, JEANETTE                   11148 ROYALTON RD                                                                                  N ROYALTON       OH   44133‐4416
SANELLI, SANTE                      2755 GREENLAWN DR                                                                                  SEVEN HILLS      OH   44131‐3624
SANELLI, VICTOR N                   2053 GALILEE OVAL                                                                                  HINCKLEY         OH   44233‐9509
SANER CHELSEA K                     717 CREDIT UNION ACCT           3181 LARCHMONT AVE NE                                              WARREN           OH   44483‐2435
SANER EDWARD HAROLD JR (499910)     BARON & BUDD                    3102 OAK LANE AVE , SUITE 1100                                     DALLAS           TX   75219
SANER KYLEE J                       717 CREDIT UNION ACCT           3181 LARCHMONT AVE NE                                              WARREN           OH   44483‐2435
SANER, EDWARD HAROLD                BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                                      DALLAS           TX   75219
SANETICK, JAMES R                   1518 CENTER RD                                                                                     WEST SENECA      NY   14224‐3286
SANETICK, JAMES RICHARD             1518 CENTER RD                                                                                     WEST SENECA      NY   14224‐3286
SANETRIK, SANDRA L                  5472 CALLAWAY CIR                                                                                  AUSTIN TOWN      OH   44515‐4196
SANFELICE 1893 BANCA POPOLARE SOC   PIAZZA G MATTEOTTI 23                                                       41038 SAN FELICE SUL
COOP PA                                                                                                         PANARO MO ITALY
SANFELIPPO AUTO REPAIR              646 S 2ND ST                                                                                       MILWAUKEE        WI 53204‐1615
SANFILIPO, CATHERINE M              1310 7TH ST                                                                                        HUDSON           WI 54016‐1322
SANFILIPO, CATHERINE MARIE          1310 7TH ST                                                                                        HUDSON           WI 54016‐1322
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Name                             Address1                           Address2                      Address3                      Address4         City                State Zip
SANFILIPPO, CHARLES P            113 MACARTHUR DR                                                                                                WILLIAMSVILLE        NY 14221‐3761
SANFILIPPO, DIANA K              51207 AMERICA                                                                                                   BELLEVILLE           MI 48111‐4458
SANFILIPPO, DOMENIC              373 FORBES AVE                                                                                                  TONAWANDA            NY 14150‐4753
SANFILIPPO, EDWARD               11 BOWER RD                                                                                                     POUGHKEEPSIE         NY 12603‐1113
SANFILIPPO, EMANUEL              301 RIVERVIEW AVE                                                                                               NORTH ARLINGTON      NJ 07031‐5514
SANFILIPPO, FRANK E              4915 HILLCREST RD                                                                                               TRENTON              MI 48183‐4594
SANFILIPPO, LOUIS M              65 MENDOTA DR                                                                                                   ROCHESTER            NY 14626‐3849
SANFILIPPO, LOUISE               1053 STOWELL DR APT 4                                                                                           ROCHESTER            NY 14616‐1857
SANFILIPPO, MICHAEL A            145 IDLEWILD LN                                                                                                 ABERDEEN             NJ 07747‐1535
SANFILIPPO, VINCENZO             309 EIDERDOWN CT                                                                                                FRANKLIN             TN 37064‐5047
SANFILLIPO, ANN H                1391 APPLE VALLEY CT                                                                                            BROADVIEW HEIGHTS    OH 44147‐3640
SANFORD BARROWS GROUP LLC        6015 WASHINGTON ST SUITE 200                                                                                    HOLLYWOOD            FL 33023
SANFORD BARROWS GROUP LLC, THE   6015 WASHINGTON ST                                                                                              HOLLYWOOD            FL 33023‐1366
SANFORD BRIAN                    9090 VIA TORTUGA                                                                                                ATASCADERO           CA 93422‐5003
SANFORD BROWN COLLEGE            PO BOX 260021                                                                                                   SAINT LOUIS          MO 63126‐8021
SANFORD CAROLYN                  814 SPRUCE ST                                                                                                   MORGAN CITY          LA 70380‐1829
SANFORD D HENDLEY JR             113 PARKDALE AVE                                                                                                PONTIAC              MI 48340‐2549
SANFORD D LEDBETTER              11689 PROVIDENCE PK                                                                                             BROOKVILLE           OH 45309
SANFORD DANIEL (459312)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                  NORFOLK              VA 23510
                                                                    STREET, SUITE 600
SANFORD DAVIS                    2432 W 79TH AVE                                                                                                 MERRILLVILLE        IN   46410‐5208
SANFORD DAVIS JR                 237 W NORMAN AVE                                                                                                DAYTON              OH   45405‐3338
SANFORD DEGREIF                  3321 HARRIS LN                                                                                                  BAY CITY            MI   48706‐1656
SANFORD DEUTSCH AND ESTATE OF    BARRY NOVACK, ESQ                  THE LAW OFFICES OF BARRY      8383 WILSHIRE BLVD, STE 830                    BEVERLY HILLS       CA   90211
BEVERLY DEUTSCH                                                     NOVACK
SANFORD EDWARDS JR               83 S SHIRLEY ST                                                                                                 PONTIAC             MI   48342‐2850
SANFORD EIDELSON TRUST           SANFORD EIDELSON                   8655 VIA AVELLINO                                                            LAKE WORTH          FL   33467
SANFORD EVANS                    1001 MEADOW CREEK DR                                                                                            LANCASTER           TX   75146‐1356
SANFORD FINCHUM                  2114 W 85TH ST                                                                                                  CLEVELAND           OH   44102‐3810
SANFORD FIRESTONE                705 HICKEY BLVD                                                                                                 PACIFICA            CA   94044‐1214
SANFORD FLEMING                  PO BOX 430611                                                                                                   PONTIAC             MI   48343‐0611
SANFORD FOSTER                   BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                                   BOSTON HTS.         OH   44236
SANFORD FREEDMAN                 97 LOYALIST AVE                                                                                                 ROCHESTER           NY   14624‐4967
SANFORD G MORRILL                MORGAN KEEGAN                      50 N FRONT ST                                                                MEMPHIS             TN   38103
SANFORD GARRETT                  1806 N 75TH DR                                                                                                  KANSAS CITY         KS   66112‐2292
SANFORD GRANBERRY SR             3138 BOOKHAM CIR                                                                                                AUBURN HILLS        MI   48326‐2300
SANFORD HALL                     501 S 21ST ST                                                                                                   SAGINAW             MI   48601‐1534
SANFORD HARDING                  884 WILLARD AVE SE                                                                                              WARREN              OH   44484‐4432
SANFORD HENDERSON                126 VALLEY ST APT 2B                                                                                            SLEEPY HOLLOW       NY   10591‐2826
SANFORD HENDLEY JR               17158 KROPF AVE                                                                                                 DAVISBURG           MI   48350‐1182
SANFORD HOBBS                    2920 CARPENTER RD                                                                                               LAPEER              MI   48446‐9086
SANFORD HOYLE                    2434 WOODLAND TRL                                                                                               FLINT               MI   48507‐3858
SANFORD J NEWSOME                304 OLDHAM WAY                                                                                                  ENGLEWOOD           OH   45322‐1744
SANFORD JENKINS                  1450 N STATE HIGHWAY 360 APT 416                                                                                GRAND PRAIRIE       TX   75050‐4122
SANFORD JONES                    821 N HOLT CIR                                                                                                  MADISON             WI   53719‐3032
SANFORD JR, DALTON H             168 COMMODORE CIR                                                                                               SUMMERTOWN          TN   38483‐7190
SANFORD JR, JAMES                35011 DRAKESHIRE LN APT 203                                                                                     FARMINGTON          MI   48335‐3217
SANFORD JR, JOHNNY M             23632 LAKE RAVINE DR                                                                                            SOUTHFIELD          MI   48034‐6535
SANFORD JR, MYRON G              656 W PITLER PL                                                                                                 CITRUS SPRINGS      FL   34434‐5294
SANFORD JUSTA                    212 S MARY ST                                                                                                   MARINE CITY         MI   48039‐1651
SANFORD KADISH                   70 HAMLIN SQUARE APT 2                                                                                          WILLIAMSVILLE       NY   14221
SANFORD L HARDING                884 WILLARD AVE SE                                                                                              WARREN              OH   44484‐4432
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Name                                  Address1                            Address2                        Address3                    Address4         City               State Zip
SANFORD L HOYLE                       2434 WOODLAND TRL                                                                                                FLINT               MI 48507‐3858
SANFORD L HOYLE                       941 E RUTH AVE                                                                                                   FLINT               MI 48505‐2250
SANFORD L JENKINS                     1450 N STATE HIGHWAY 360 APT 416                                                                                 GRAND PRAIRIE       TX 75050‐4122
SANFORD L JONES                       1427 LINCOLN ST                                                                                                  DANVILLE             IL 61832‐7570
SANFORD L THURMAN                     2633 DELLA                                                                                                       DAYTON              OH 45408‐2429
SANFORD LAJUDICE                      212 EASTON AVE                                                                                                   BUFFALO             NY 14215‐3535
SANFORD LEDBETTER                     11689 PROVIDENCE PIKE                                                                                            BROOKVILLE          OH 45309‐9306
SANFORD LEO                           23611 PADDOCK DR                                                                                                 FARMINGTON HILLS    MI 48336‐2227
SANFORD LLOYD                         47663 BELMONT DR                                                                                                 BELLEVILLE          MI 48111‐1086
SANFORD M DAVIS JR                    237 W NORMAN AVE                                                                                                 DAYTON              OH 45405‐3338
SANFORD M MARCUS                      4638 WELDIN RD                                                                                                   WILMINGTON          DE 19803
SANFORD MANIS                         710 PLEASANT POINT CIR                                                                                           CICERO              IN 46034‐9524
SANFORD MARK                          PO BOX 253                                                                                                       SHEFFIELD           TX 79781‐0253
SANFORD MATNEY                        470 RATCLIFF LN                                                                                                  CEDAR BLUFF         VA 24609‐8759
SANFORD MCGEE                         6197 S HIGHWAY 76                                                                                                RUSSELL SPRINGS     KY 42642‐8764
SANFORD MISSIONARY                    BAPTIST CHURCH BUILDING FUND        OLD HIGHWAY 49                                                               SEMINARY            MS 39479
SANFORD MULLINS                       14361 CENTRAL PARK AVENUE                                                                                        DAYTON              OH 45409
SANFORD NEWSOME                       304 OLDHAM WAY                                                                                                   ENGLEWOOD           OH 45322‐1744
SANFORD NEWSOME JR                    395 SHALLOWBROOK FARMS RD                                                                                        THOMASVILLE         GA 31792‐0698
SANFORD NILA (491304)                 BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                                NORTHFIELD          OH 44067
                                                                          PROFESSIONAL BLDG
SANFORD P ERWIN                       NIX, PATTERSON & ROACH LLP          GM BANKRUPTCY DEPARTMENT        205 LINDA DRIVE                              DAINGERFIELD       TX 75638
SANFORD P WILLIAMS JR                 WEITZ & LUXENBERG PC                700 BROADWAY                                                                 NEW YORK CITY      NY 10003
SANFORD P. ROSEN & ASSOCIATES, P.C.   ATTY FOR L+A ARCHITECTS, INC.       747 THIRD AVENUE                                                             NEW YORK           NY 10017

SANFORD PIERCE                        66470 COLTFOOT LANE                                                                                              CAMBRIDGE          OH    43725
SANFORD PRINCE                        366 WILLOW OAK DR                                                                                                WINCHESTER         TN    37398‐4453
SANFORD R MULLINS                     14361 CENTRAL PARK AVENUE                                                                                        DAYTON             OH    45409‐1608
SANFORD REALTY L.L.C.                 C/O BEREHEM, MOSES & DEVLIN P.C.    75 BROAD ST                     ATTN: SUSANNAH STAPLETON,                    MILFORD            CT    06460‐3331
                                                                                                          ESQ.
SANFORD REALTY LLC                    ALICE CERWINSKI                     655 BRIDGEPORT AVE                                                           MILFORD             CT   06460
SANFORD REALTY LLC                    C/O BERCHEM MOSES & DEVLIN PC       75 BROAD ST                     ATTN SUSANNAH STAPLETON                      MILFORD             CT   06460‐3331
                                                                                                          EMRA
SANFORD REALTY, L.L.C.                C/O BEREHEM, MOSES & DEVLIN, P.C.   75 BROAD ST                     ATTN: SUSANNAH STAPLETON,                    MILFORD             CT   06460‐3331
                                                                                                          ESQ.
SANFORD REALTY, LLC                   750 BRIDGEPORT AVE                                                                                               MILFORD            CT    06460‐3107
SANFORD RICHARDSON                    541 WARFIELD RD                                                                                                  WELLSTON           MI    49689‐8505
SANFORD RITTER                        178 SNOW DRIFT LN                                                                                                UNION              MO    63084‐4737
SANFORD RUTHRUFF                      PO BOX 336                                                                                                       MCALESTER          OK    74502
SANFORD SR, HENRY L                   6109 MASTERS DR                                                                                                  SHREVEPORT         LA    71129‐4117
SANFORD SR, HENRY LEROY               6109 MASTERS DR                                                                                                  SHREVEPORT         LA    71129‐4117
SANFORD SR, REUBEN F                  89 WESLEY CHAPEL LN                                                                                              VILLA RICA         GA    30180‐4396
SANFORD SR, RODELL D                  116 GRANT ST                                                                                                     LOCKPORT           NY    14094‐5033
SANFORD STACEY IRA                    C/O SANFORD STACEY                  5011 LAGOONS CIRCLE                                                          WEST BLOOMFIELD    MI    48323‐2091
SANFORD STEINER                       2095 S RAMITAS WAY                                                                                               PALM SPRINGS       CA    92267
SANFORD STOVALL                       20415 HIGHWAY 20                                                                                                 TRINITY            AL    35673‐6631
SANFORD TENEBAUM                      1955 YOSEMITE BLVD.                 APT. 30                                                                      BIRMINGHAM         MI    48009
SANFORD TIM                           SANFORD, TIM                        6410 QUINCY DR                                                               VERONA             PA    15147‐2531
SANFORD TUCKER                        2813 SPRING HOUSE PL                                                                                             GREENSBORO         NC    27410‐8235
SANFORD TURNER                        17134 VILLAGE DR                    C/O JOANN TURNER                                                             REDFORD            MI    48240‐1692
SANFORD V WILLIAMS                    2729 WILLIAMSBURG WAY                                                                                            DECATUR            GA    30034‐1310
SANFORD WILLIAMS                      2729 WILLIAMSBURG WAY                                                                                            DECATUR            GA    30034‐1310
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Name                      Address1                       Address2                      Address3   Address4         City               State Zip
SANFORD WILSON            44 DRUMMOND ST                                                                           GRANT               MI 49327‐9776
SANFORD WOODS JR          25770 LARKINS ST                                                                         SOUTHFIELD          MI 48033‐4851
SANFORD, ALBERT RAYMOND   7100 HESS RD                                                                             MILLINGTON          MI 48746‐9127
SANFORD, ALVIN E          20219 BRADFORD ST                                                                        DETROIT             MI 48205‐1005
SANFORD, AMOS             343 HAMPSHIRE DR                                                                         CLARKSVILLE         TN 37043‐4684
SANFORD, AMY E            736 KENBROOK DRIVE                                                                       VANDALIA            OH 45377‐2534
SANFORD, ANITA            512 CANAL                                                                                LOVEJOY              IL 62059
SANFORD, ANITA            513 CANAL                                                                                LOVEJOY              IL 62059
SANFORD, BEATRICE         760 HARDING ST                                                                           DETROIT             MI 48214‐3631
SANFORD, BEATRICE         780 SAINT CLAIR ST                                                                       DETROIT             MI 48214‐3660
SANFORD, BETHANY ANNE     10133 LAPEER RD #109                                                                     DAVISON             MI 48423‐8196
SANFORD, BETTY J          12345 HYACINTH DR                                                                        FISHERS             IN 46037‐8743
SANFORD, BYRON W          918 ALSPAUGH LN                                                                          GRAND PRAIRIE       TX 75052‐2303
SANFORD, CHARLES L        518 CAMBRIDGE AVE                                                                        BUFFALO             NY 14215‐3124
SANFORD, CHARLES R        1366 TWAIN CT                                                                            TROY                MI 48083‐5355
SANFORD, CHARLES T        1404 ELIDA ST                                                                            JANESVILLE          WI 53545‐1930
SANFORD, CLARK D          25741 ARDEN PARK DR                                                                      FARMINGTON HILLS    MI 48336‐1623
SANFORD, CLARK L          100 S FRONT ST                                                                           STANDISH            MI 48658‐9409
SANFORD, CLAUDETTE S      80 NOLAN RD                                                                              BENTON              MS 39039‐9309
SANFORD, CLYDE LEROY      SHANNON LAW FIRM               100 W GALLATIN ST                                         HAZLEHURST          MS 39083‐3007
SANFORD, CORDIA C         23023 KINSINGTON                                                                         TAYLOR              MI 48180‐3539
SANFORD, CORDIA C         23023 KENSINGTON ST                                                                      TAYLOR              MI 48180‐3539
SANFORD, CRUSITA C        1921 OTTAWA ST                                                                           SAGINAW             MI 48602‐2744
SANFORD, CRUSITA C        521 N CHARLES ST               APT 1                                                     SAGINAW             MI 48602‐4079
SANFORD, CURTIS W         3036 BURSON DR                                                                           SHREVEPORT          LA 71118‐3708
SANFORD, DANIEL           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                         STREET, SUITE 600
SANFORD, DANNY G          8450 DUFFIELD RD                                                                         FLUSHING           MI   48433‐9228
SANFORD, DANNY GENE       8450 DUFFIELD RD                                                                         FLUSHING           MI   48433‐9220
SANFORD, DARRYL E         736 KENBROOK DRIVE                                                                       VANDALIA           OH   45377‐2534
SANFORD, DARRYL EDGAR     736 KENBROOK DRIVE                                                                       VANDALIA           OH   45377‐2534
SANFORD, DAVID B          1530 INDIANA AVE                                                                         FLINT              MI   48506‐3520
SANFORD, DAVID F          3989 MIDLAND RD E                                                                        WATERFORD          MI   48329‐2035
SANFORD, DAVID L          112 SANFORD DR NE                                                                        MILLEDGEVILLE      GA   31061‐8725
SANFORD, DAVID R          8609 N MAIN ST                                                                           DAYTON             OH   45415‐1329
SANFORD, DELLA            20215 GREENVIEW                                                                          DETROIT            MI   48219‐1529
SANFORD, DIANE P          504 HIGH STREET EXT                                                                      THOMASTON          CT   06787‐1209
SANFORD, DONALD E         PO BOX 263                                                                               MALVERN            OH   44644‐0263
SANFORD, DONALD P         136 RUTH DR                                                                              THOMASVILLE        NC   27360‐6350
SANFORD, DONNA L          8201 PINE LAKE DR                                                                        DAVISBURG          MI   48350‐2045
SANFORD, DONNA S          918 ALSPAUGH LN                                                                          GRAND PRAIRIE      TX   75052‐2303
SANFORD, DONNA SUE        918 ALSPAUGH LN                                                                          GRAND PRAIRIE      TX   75052‐2303
SANFORD, DOROTHY
SANFORD, DOROTHY          55 BRANSON BAY DRIVE                                                                     MASON              MI   48854‐9575
SANFORD, DOUGLAS D        5409 PITCAIRN RD                                                                         HUBER HEIGHTS      OH   45424‐5836
SANFORD, EDWARD A         PO BOX 373                                                                               THOMASBORO         IL   61878‐0373
SANFORD, EDWIN D          5067 HEMINGWAY LAKE RD                                                                   OTTER LAKE         MI   48464‐9502
SANFORD, GARY L           4935 HATCHERY RD                                                                         WATERFORD          MI   48329‐3431
SANFORD, GARY L           1090 N GENESEE RD                                                                        BURTON             MI   48509‐1433
SANFORD, GARY W           5055 CAT LAKE RD                                                                         MAYVILLE           MI   48744‐9665
SANFORD, GEORGE W         47 ORANGE ST                                                                             BUFFALO            NY   14204‐1222
SANFORD, GERALD K         5531 AUTUMN WOODS DR APT 12                                                              TROTWOOD           OH   45426‐1340
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Name                       Address1                        Address2            Address3         Address4         City               State Zip
SANFORD, GERALD K          75 JUDY ANN DR                                                                        ROCHESTER           NY 14616‐1939
SANFORD, GERALD W          551 W PERIMETER RD                                                                    FREWSBURG           NY 14738‐9650
SANFORD, GERRY             2605 LITTLE JOHN ST SW                                                                DECATUR             AL 35603‐4422
SANFORD, GORDON A          2581 FISH LAKE RD                                                                     LAPEER              MI 48446‐8354
SANFORD, HAROLD L          5520 MARLETTE RD                                                                      MARLETTE            MI 48453‐8905
SANFORD, HARVEY B          1801 LORETTA AVE                                                                      CAHOKIA              IL 62206‐2308
SANFORD, IRA               SHANNON LAW FIRM                100 W GALLATIN ST                                     HAZLEHURST          MS 39083‐3007
SANFORD, IVAN B            2101 N 70TH PL                                                                        SCOTTSDALE          AZ 85257‐2772
SANFORD, JAMES H           240 RIVER RUN DR                                                                      BALL GROUND         GA 30107‐7804
SANFORD, JAMES S           6294 LAKE GROVE RD                                                                    PETOSKEY            MI 49770‐8703
SANFORD, JEFFERSON M       PO BOX 115                                                                            MOUNTAIN VIEW       AR 72560‐0115
SANFORD, JEFFREY           9664 HIGHWAY 124                                                                      CARBON HILL         AL 35549
SANFORD, JERI ELAINE       KING BRYAN & WILEY              PO BOX 1688                                           JASPER              AL 35502‐1688
SANFORD, JOE T             10603 MILWAUKEE RD                                                                    BRITTON             MI 49229‐9543
SANFORD, JOEL E            1472 SILVER POND                                                                      DAVISON             MI 48423‐8399
SANFORD, JOHN C            481 N LIBERTY DR                                                                      KING HILL           ID 83633
SANFORD, JOHN G            140 HILLTOP                                                                           EAST LEROY          MI 49051‐9789
SANFORD, JOSEPHINE         35011 DRAKESHIRE LN APT 203                                                           FARMINGTON          MI 48335‐3217
SANFORD, JUDITH A          2150 LEGENDARY DR                                                                     MARTINSVILLE        IN 46151‐9131
SANFORD, JULES D           4715 1/2 WEST RANGER ROAD                                                             PERRINTON           MI 48871‐9775
SANFORD, JULES D           4715 1/2 W RANGER RD                                                                  PERRINGTON          MI 48871‐9775
SANFORD, KAREN V           25741 ARDEN PARK DR                                                                   FARMINGTON HILLS    MI 48336‐1623
SANFORD, LAOMA A           3355 MAHOPAC DR                                                                       LAKE ORION          MI 48360‐1525
SANFORD, LARRY D           2079 SPRINGPLACE RD                                                                   LEWISBURG           TN 37091‐5407
SANFORD, LARRY D           6816 WILLIAMS LAKE RD                                                                 WATERFORD           MI 48329‐2987
SANFORD, LATISHA M         4049 PRESCOTT AVE                                                                     DAYTON              OH 45406‐3455
SANFORD, LEE E             2312 GREENBUSH PL                                                                     SAGINAW             MI 48603‐3841
SANFORD, LEO D             23611 PADDOCK DR                                                                      FARMINGTON HILLS    MI 48336‐2227
SANFORD, LEVI M            415 MCCLINTOCK ST                                                                     LAINGSBURG          MI 48848‐8711
SANFORD, LEVI MITCHELL     415 MCCLINTOCK ST                                                                     LAINGSBURG          MI 48848‐8711
SANFORD, LIZZIE M          6230 EVALINE                                                                          DETROIT             MI 48211
SANFORD, LLOYD D           5066 NE COUNTYLINE RD                                                                 LONG LAKE           MI 48743‐9702
SANFORD, LOUISE W          8755 HIGHWAY 1275 N                                                                   MONTICELLO          KY 42633‐7275
SANFORD, LYNDA J           PO BOX 115                                                                            MOUNTAIN VIEW       AR 72560‐0115
SANFORD, MALCOLM W         412 ARNOLD AVE                                                                        BURLESON            TX 76028‐6462
SANFORD, MALCOLM WAYNE     412 ARNOLD AVE                                                                        BURLESON            TX 76028‐6462
SANFORD, MARGARETE         4716 RICHARD ST                                                                       HOLT                MI 48842‐1349
SANFORD, MARGARETE         4716 RICHARDS                                                                         HOLT                MI 48842‐1349
SANFORD, MARK E            8790 BAYVIEW COURT                                                                    PINCKNEY            MI 48169‐8507
SANFORD, MARY A            2966 JUNE APPLE DR                                                                    DECATUR             GA 30034‐4529
SANFORD, MARY L            650 S LINCOLN AVE                                                                     WOODBRIDGE          NJ 07095‐2436
SANFORD, MELVENE D         PO BOX 1372                                                                           WARREN              OH 44482‐1372
SANFORD, MELVIN V          8931 APPOLINE ST                                                                      DETROIT             MI 48228‐2625
SANFORD, MICHAEL S         5617 FARLEY RD                                                                        CLARKSTON           MI 48346‐1740
SANFORD, MITCHELL T        4740 S KREPPS RD                                                                      SAINT JOHNS         MI 48879‐8105
SANFORD, NICOLE HINAHOSA   NOT IN FILE
SANFORD, NILA W            10922 GAY AVE                                                                         CLEVELAND          OH   44105‐2431
SANFORD, NORMAN L          19926 CONLEY ST                                                                       DETROIT            MI   48234‐2254
SANFORD, NORMAN R          116 FLORAL AVE                                                                        SAINT JOHNS        MI   48879‐1046
SANFORD, NOVA D            9475 WASHINGTON RD                                                                    MC LOUTH           KS   66054‐5076
SANFORD, R W               10925 JEFFERSON CIR N                                                                 CHAMPLIN           MN   55316‐3125
SANFORD, ROBERT E          2900 HOMEWOOD AVE                                                                     SAINT CHARLES      MO   63301‐4664
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Name                         Address1                         Address2                     Address3             Address4             City                State Zip
SANFORD, ROBERT G            3725 HAVANA AVE SW                                                                                      WYOMING              MI 49509‐3822
SANFORD, ROBERT L            1594 OBAN WAY                                                                                           TRAVERSE CITY        MI 49686‐8963
SANFORD, ROBERT N            2216 OLD STERLING RD                                                                                    CEDAR PARK           TX 78613‐6985
SANFORD, ROBERT O            6660 OLD FORD VALLEY RD                                                                                 GADSDEN              AL 35905‐7042
SANFORD, ROBERT W            12 BANNISTER DR                                                                                         HOPEWELL JUNCTION    NY 12533‐8205
SANFORD, ROGER D             3732 NEWTON FALLS BAILEY RD SW                                                                          WARREN               OH 44481‐9718
SANFORD, ROGER L             PO BOX 930821                                                                                           WIXOM                MI 48393‐0821
SANFORD, ROGER L             5204 PARADISE DR                                                                                        BEAVERTON            MI 48612
SANFORD, RONALD L            1722 DEN HERTOG ST SW                                                                                   WYOMING              MI 49519‐3337
SANFORD, RONNIE C            1298 JACKSON BLVD AP W                                                                                  JONESBOROUGH         TN 37659
SANFORD, RUSSEL K            2367 SADDLE DRIVE                                                                                       SHELBYVILLE          IN 46176‐8434
SANFORD, RUTH                301 S COLLEGE ST                                                                                        DANVILLE              IL 61832‐6720
SANFORD, SALLY D             3432 BELINDA DR                                                                                         STERLING HEIGHTS     MI 48310
SANFORD, SARAH               1390 HAMILTON AVE                                                                                       PALO ALTO            CA 94301‐3122
SANFORD, SCOTT T             5403 MORRISH RD                                                                                         SWARTZ CREEK         MI 48473‐7625
SANFORD, SEARCY W            15807 PERONE CREEK LN                                                                                   LOXLEY               AL 36551‐8658
SANFORD, SHIRLEY A           12198 SANDI LN                                                                                          MEDWAY               OH 45341‐9645
SANFORD, SHIRLEY A           12198 SANDI LANE                                                                                        MEDWAY               OH 45341‐5341
SANFORD, SUSAN C             2226 JUDY LN                                                                                            SHELBY TOWNSHIP      MI 48316‐2739
SANFORD, SUSAN C.            2226 JUDY LN                                                                                            SHELBY TOWNSHIP      MI 48316‐2739
SANFORD, THELMA C            6545 CHERIE LN                                                                                          COLLEGE PARK         GA 30349‐1113
SANFORD, THELMA C            6545 CHERIE LANE                                                                                        COLLEGE PARK         GA 30349‐1113
SANFORD, THOMAS C            24581 PENROSE DR                                                                                        FARMINGTON HILLS     MI 48336‐2263
SANFORD, THOMAS G            8481 HWY 1275 N                                                                                         MONTICELLO           KY 42633
SANFORD, THOMAS H            3520 GLENWOOD AVE                                                                                       LANSING              MI 48910‐4708
SANFORD, TIM                 6410 QUINCY DR                                                                                          VERONA               PA 15147‐2531
SANFORD, TIMOTHY A           5484 HYDE PARK DRIVE                                                                                    HILLIARD             OH 43026‐8581
SANFORD, TIMOTHY D           11785 GERLAUGH RD                                                                                       MEDWAY               OH 45341‐9407
SANFORD, TIMOTHY L           1120 W 39TH ST                                                                                          ANDERSON             IN 46013‐4032
SANFORD, TINA A              1472 SILVER POND                                                                                        DAVISON              MI 48423‐8399
SANFORD, VALERIE R           3040 KETZLER DR                                                                                         FLINT                MI 48507‐1222
SANFORD, WANDA G.            1702 OAK CREEK LN APT G                                                                                 BEDFORD              TX 76022‐8922
SANFORD, WAYNE               292 PARKRIDGE AVE                                                                                       BUFFALO              NY 14215‐1548
SANFORD, WENDY S             2173 FAWN GLEN CIR                                                                                      LAPEER               MI 48446‐8395
SANFORD,DOUGLAS D            5409 PITCAIRN RD                                                                                        HUBER HEIGHTS        OH 45424‐5836
SANFRATELLO, DAVID F         16302 RIDGE ROAD                                                                                        HOLLEY               NY 14470‐9338
SANFRATELLO, GEORGE          1429 N WRIGHT RD                                                                                        JANESVILLE           WI 53546‐1314
SANFRATELLO, WILLIAM T       36 PALMER RD                                                                                            CEDARTOWN            GA 30125‐5234
SANFREY, DONALD L            2810 LINDA DR NW                                                                                        WARREN               OH 44485‐2036
SANFREY, LENA M              132 BEECHWOOD DR                                                                                        CORTLAND             OH 44410‐1664
SANFREY, W A TRUCKING CO     PO BOX 1770                                                                                             WARREN               OH 44482‐1770
SANFT, BRUCE C               845 HAWTHORNE DR                                                                                        CINCINNATI           OH 45245‐1829
SANG B LIM                   132 MOORLAND ROAD                                                                                       ROCHESTER            NY 14612‐3422
SANG CHUL LEE & DUKSON LEE   ATTN MICHAEL S KIMM              C/O KIMM LAW FIRM            41W BANCKER STREET                        ENGLEWOOD            NJ 07631
SANG HAN                     950 S HARVARD BLVD APT 508                                                                              LOS ANGELES          CA 90006‐6267
SANG HOON SHIN               2192 CLINTON VIEW CIR                                                                                   ROCHESTER HILLS      MI 48309‐2986
SANG KU                      3228 WOODVIEW LAKE RD                                                                                   WEST BLOOMFIELD      MI 48323‐3570
SANG LEONG                   101 FIELDCREST DR                                                                                       DALY CITY            CA 94015‐1006
SANG NINH                    1060 PRUITT DR                                                                                          OKLAHOMA CITY        OK 73170‐5622
SANG PARK                    11458 BURBANK BLVD APT 16                                                                               NORTH HOLLYWOOD      CA 91601‐2305
SANG, YAN                    1731 PINOAK CT                                                                                          TROY                 MI 48098‐1967
SANGALLI GIANCARLO           C/O LA SCALA                     STUDIO LEGALE E TRIBUTARIO   CORSO MAGENTA N 42   20123 MILANO ITALY
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Name                                Address1                           Address2                     Address3                   Address4         City              State Zip
SANGALLI, ROBERT J                  7786 W U AVE                                                                                                SCHOOLCRAFT        MI 49087‐9426
SANGAMON STATE UNIVERSITY           BURSARS OFFICE                                                                                              SPRINGFIELD         IL 62794
SANGDON LEE                         4156 MORNINGDALE DR                                                                                         TROY               MI 48085‐3790
SANGEETA BAHL                       4715 COCHRAN PLACE                                                                                          CENTREVILLE        VA 20120‐6446
SANGEETA LAFORGES                   2036 ROUNDTREE                                                                                              ROCHESTER HILLS    MI 48307‐4331
SANGEMINO, ALAINE R                 6243 BENT PINE DR APT 813                                                                                   ORLANDO            FL 32822
SANGER SIGNE                        2220 AVALON DR                                                                                              LAS CRUCES         NM 88005‐1406
SANGER STANLEY COOPER JACK          SANGER VANESSA DBA ANCHOR ASSO     15233 VENTURA BLVD STE 700                                               SHERMAN OAKS       CA 91403‐2228
SANGER, BETTY J                     PO BOX 932                                                                                                  HARRISON           TN 37341‐0932
SANGER, DELORIS                     5466 SARVIS AVENUE                                                                                          WATERFORD          MI 48327‐3065
SANGER, IRENE M                     943 RUMSON RD                                                                                               ROCHESTER          NY 14616‐1103
SANGER, JEAN R                      1234 N LAPHAM ST                                                                                            OCONOMOWOC         WI 53066‐2329
SANGER, JEFFERY S                   7095 LOWER MIAMISBURG RD                                                                                    MIAMISBURG         OH 45342‐3052
SANGER, JEFFERY SCOTT               7095 LOWER MIAMISBURG RD                                                                                    MIAMISBURG         OH 45342‐3052
SANGER, LURA F                      1380 RACHEL LN                                                                                              COOKEVILLE         TN 38501‐8040
SANGER, RICHARD E                   4024 ROYAL WOOD BLVD                                                                                        NAPLES             FL 34112‐8843
SANGER, SUNNI S                     9755 DAVISBURG RD APT 1                                                                                     CLARKSTON          MI 48348‐2661
SANGER, TERRY L                     11119 OLD TIMBER CT                                                                                         MIAMISBURG         OH 45342‐4897
SANGHEE HONG                        20784 HINKLE RD                                                                                             NOBLESVILLE        IN 46062‐9745
SANGHERA, TARLOK S                  13 LANDS END WAY                                                                                            ASHLAND            MA 01721‐1818
SANGHI, SACHIN                      20495 MORNINGSIDE TER                                                                                       STERLING           VA 20165
SANGIACOMO, GERALD                  169 AUDUBON DR                                                                                              SNYDER             NY 14226‐4044
SANGIORGI, ANTONINA                 430 HOWARD RD                                                                                               ROCHESTER          NY 14606‐5652
SANGIORGI, JOEY                     1102 WEILAND RD                                                                                             ROCHESTER          NY 14626‐3905
SANGIORGI, LOUIS                    131 PARKWAY                                                                                                 NORTH CHILI        NY 14514‐1216
SANGIOVANNI‐VINCENTELLI A           200 TUNNEL RD                                                                                               BERKELEY           CA 94705‐2831
SANGRAM DESAI
SANGREGORIO, JEFFREY                459 OBERMIYER RD                                                                                            BROOKFIELD        OH   44403‐9703
SANGREN, DAVID N                    1676 EDWIN MAC RD                                                                                           HARRISON          AR   72601‐7137
SANGRIA TAXI LLC                    HERRICK FEINSTEIN LLP              2 PARK AVENUE                                                            NEW YORK          NY   10016
SANGRIA TAXI LLC                    C/O CHARLES L DORKEY III           MCKENNA LONG ALDRIDGE LLP    230 PARK AVENUE STE 1700                    NEW YORK          NY   10169
SANGSTER ELEMENTARY SCHOOL PARENT   7420 RESERVATION DR                                                                                         SPRINGFIELD       VA   22153‐1327
TEACHERS ASSOCIATION
SANGSTER JR, CALVIN                 PO BOX 376                                                                                                  FLORISSANT        MO   63032‐0376
SANGSTER JR, JOHN D                 4743 PETTIBONE AVE                                                                                          SAGINAW           MI   48601‐6653
SANGSTER ROBERT                     2221 FRUEH ST                                                                                               SAGINAW           MI   48601‐4108
SANGSTER, ANTONIA M                 2054 NORTHAIRE LN                                                                                           SAINT LOUIS       MO   63138‐1229
SANGSTER, CAROLYN                   2641 S FRANKLIN STREET RD                                                                                   DECATUR           IL   62521‐5329
SANGSTER, CAROLYN                   PO BOX 14405                                                                                                SAGINAW           MI   48601‐0405
SANGSTER, DEBRA F                   PO BOX 14922                                                                                                SAGINAW           MI   48601‐0922
SANGSTER, DILLARD R                 11319 ROBSON ST                                                                                             DETROIT           MI   48227‐2452
SANGSTER, FERTIS                    8859 VALLEYVIEW CT                                                                                          SAGINAW           MI   48609‐9228
SANGSTER, HUMPHREY B                18560 ORLEANS ST                                                                                            DETROIT           MI   48203‐2150
SANGSTER, JAMES A                   15 LEISURE LN                                                                                               JACKSON           TN   38305‐9619
SANGSTER, JEROME                    815 RIDGELAND DR                                                                                            SAGINAW           MI   48604‐2130
SANGSTER, JESSE E                   2485 BURNS ST                                                                                               DETROIT           MI   48214‐1801
SANGSTER, LILLIE M                  1408 DILLON ST                                                                                              SAGINAW           MI   48601‐1376
SANGSTER, MARY R                    18246 APPOLINE ST                                                                                           DETROIT           MI   48235‐1450
SANGSTER, MICHAEL B                 318 CROOKED OAK CT                                                                                          FRANKLIN          TN   37067‐4046
SANGSTER, OZADELL                   264 HOMESTEAD LN                                                                                            SAGINAW           MI   48601‐9414
SANGSTER, PEARLINE                  6114 SENECA                                                                                                 DETROIT           MI   48213‐2512
SANGSTER, PEARLINE                  6114 SENECA ST                                                                                              DETROIT           MI   48213‐2512
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Name                              Address1                             Address2                  Address3             Address4                  City              State Zip
SANGSTER, RICHARD                 2420 OWEN ST                                                                                                  SAGINAW            MI 48601‐3478
SANGSTER, SAUNDRA D               16300 N PARK DR APT 319                                                                                       SOUTHFIELD         MI 48075‐4721
SANGSTER, SAUNDRA DENISE          16300 NPRTH PARK PLACE #319                                                                                   SOUTHFIELD         MI 48075
SANGSTER, TAMERA N                4145 HILAND ST                                                                                                SAGINAW            MI 48601‐4164
SANGSTER, TELISA M                2221 FRUEH ST                                                                                                 SAGINAW            MI 48601‐4108
SANGSTER, TELISA MARIE            2221 FRUEH ST                                                                                                 SAGINAW            MI 48601‐4108
SANGSTER, TERRY W                 2221 FRUEH ST                                                                                                 SAGINAW            MI 48601‐4108
SANGSTER, TONY V                  1890 FISCHER DRIVE                                                                                            SAGINAW            MI 48601‐5763
SANGSTER, WALTER                  264 HOMESTEAD LANE                                                                                            SAGINAW            MI 48601‐9414
SANGUAN SRIPENBENJA               10332 COTONEASTER ST                                                                                          APPLE VALLEY       CA 92308‐3325
SANGUEDOLCE, MARY J               253 BELMORE WAY                                                                                               ROCHESTER          NY 14612‐2372
SANGUEDOLCE, PAULA A              290 BAKERDALE RD                                                                                              ROCHESTER          NY 14616‐3655
SANGUINETTE, DEBORAH L            1200 FIELDHURST DR                                                                                            MANCHESTER         MO 63011‐4312
SANGUINETTI, ALEX C               4895 HAYDENS WALK DR                                                                                          ALPHARETTA         GA 30022‐7179
SANGUINETTI, RAYMOND P            2611 GRANDE CAMINO                                                                                            WALNUT CREEK       CA 94598‐3508
SANGYUP LEE                       31221 CHURCHILL DR                                                                                            BEVERLY HILLS      MI 48025‐5226
SANHE INFAC AUTOMOTIVE COMPONENTS NORTH OF THE NORTHERN RING RD                                                       SANHE HEBEI CN 065201
                                                                                                                      CHINA (PEOPLE'S REP)
SANHUA HOLDING GROUP              755 W BIG BEAVER RD STE 1120                                                                                  TROY              MI   48084‐4903
SANI ALDINO (631235)              BRAYTON PURCELL                      PO BOX 6169                                                              NOVATO            CA   94948‐6169
SANI EBRAHIM                      EBRAHIM, SANI                        13 WOODS LN                                                              ROSLYN            NY   11576
SANI EBRAHIM                      GEICO INDEMNITY COMPANY              170 FROEHLICH FARM BLVD                                                  WOODBURY          NY   11797‐2905
SANI VAC SERVICE INC              23808 DEQUINDRE RD                                                                                            WARREN            MI   48091‐1823
SANI, ALDINO                      BRAYTON PURCELL                      PO BOX 6169                                                              NOVATO            CA   94948‐6169
SANI, EBRAHIM
SANI‐VAC SERVICE INC              5750 ENTERPRISE CT                                                                                            WARREN            MI   48092‐3462
SANICH, MICHAEL J                 406 E 47TH ST                                                                                                 INDIANAPOLIS      IN   46205‐1762
SANICKI, SHIRLEY                  5267 W 52ND ST                                                                                                PARMA             OH   44134‐1023
SANICKI, SHIRLEY                  5267 WEST 52 ST.                                                                                              PARMA             OH   44134‐1023
SANIFORD, ISABELLA                315 S 19TH                                                                                                    SAGINAW           MI   48601‐1522
SANIFORD, ISABELLA                315 S 19TH ST                                                                                                 SAGINAW           MI   48601‐1522
SANIJE VAKA                       10 DOVER LN                                                                                                   DEARBORN          MI   48120‐1020
SANIK, PHIL                       616 N RAMBLIN OAKS DR                                                                                         MOORE             OK   73160‐7931
SANILAC CTY FRIEND OF THE CT      FOR ACCT OF JERRY WILSON             PO BOX 187                                                               SANDUSKY          MI   48471‐0187
SANISLOW, DAVID B                 20248 WOODHILL DR                                                                                             NORTHVILLE        MI   48167‐1744
SANITA, FAY                       170 BROEZEL AVE                                                                                               LANCASTER         NY   14086‐1304
SANITA, SANTO J                   170 BROEZEL AVE                                                                                               LANCASTER         NY   14086‐1304
SANITARY LANDFILL SETTLING        DEFENDANTS OPER & MAINT ACCT         1041 PARROTTS COVE RD     C/O DE MAXIMIS INC                             GREENSBORO        GA   30642‐4825
SANITARY PRODUCTS CORP            C/O BLUE HERON MICRO OPPORTUNITIES   CLAIMS PROCESSING DEPT.   P.O. BOX 14610                                 SURFSIDE BEACH,   SC   29587
                                  FUND,
SANITATE, REBECCA P               110 EMERSON AVE.                                                                                              FARRELL           PA 16121‐1824
SANIUK, JOAN M                    67 PINKERT ST                                                                                                 MEDFORD           MA 02155‐4128
SANJA LAPTOSEVIC                  1137 HOWARD AVENUE                                                                  WINDSOR CANADA N9A
                                                                                                                      1S6
SANJA SLJIVAR‐LOVRIA              26 NORTONS RACE                                                                                               HONEOYE FALLS     NY 14472‐1075
SANJAY BAHL                       6623 CHATHAM CIR                                                                                              ROCHESTER HILLS   MI 48306‐4383
SANJAY G BHANUSHALI               11 LOYALIST PL                                                                      BROCKVILLE, ONTARIO K6V
                                                                                                                      7M5, CANADA
SANJAY KHUNGER                    7374 QUINCE CT                                                                                                BRIGHTON          MI 48116‐6284
SANJAY KOLI                       105 BLUE RIDGE DR                                                                                             HENDERSONVILLE    TN 37075‐2666
SANJAY KUMAR
SANJAY KUMARASAMY                 4974 CARLSON PARK DR                                                                                          TROY              MI 48098‐7102
                              09-50026-mg            Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                          Address1                        Address2           Address3         Address4                City           State Zip
SANJAY PATIL                  37155 VISTA DR                                                                              WESTLAND        MI 48185‐3752
SANJAY RASTOGI                5401 CREEKMONTE DR                                                                          ROCHESTER       MI 48306‐4796
SANJAY SHAH                   123 MILLSTONE DR                                                                            TROY            MI 48084‐1738
SANJAY SUBRAMANIAN            13 FOUNTAIN DRIVE                                                                           SOMERSET        NJ 08873‐4139
SANJEEV ANAND                 57 EAGLEWOOD CIRCLE                                                                         PITTSFORD       NY 14534‐1081
SANJEEV MIRLE                 5560 CLEARVIEW DR                                                                           TROY            MI 48098‐2494
SANJEEV NAIK                  2701 SPRINGTIME DR                                                                          TROY            MI 48083‐6807
SANJEL CORP                   BARRY ORTON                     HWY 12 EAST                                                 MILES CITY      MT
SANJIV GUPTA                  4786 SHADETREE COURT                                                WINDSOR ONTARIO
                                                                                                  N9G2T9 CANADA
SANJUAN, ALEIDA J             6423 COLLINS AVE A‐303                                                                      MIAMI BEACH    FL    33141
SANJUANA ORTIZ                700 PERRYSVILLE AVE                                                                         DANVILLE       IL    61832‐6824
SANJUANITA HENDRIX            655 S BALDWIN RD                                                                            OXFORD         MI    48371‐4115
SANJUANITA HENDRIX            655 SOUTH BALDWIN ROAD                                                                      OXFORD         MI    48371‐4115
SANJUANITA LIRA               12489 W GRAND RIVER HWY                                                                     EAGLE          MI    48822‐9659
SANJUANITA SHARP              2352 CANYON VIEW RD                                                                         FALLBROOK      CA    92028‐9711
SANJUAS, MANUEL               24 ANGELA DR                                                                                CARMEL         NY    10512‐4132
SANJUAS, MARIA                RR 12                                                                                       CARMEL         NY    10512
SANKAR NALLAPATI              3639 ACORN DR                                                                               TROY           MI    48083‐5793
SANKARAN, MD, P.C.,SSIVA.V    3296 W VIENNA RD                                                                            CLIO           MI    48420‐1300
SANKER, CHARLES B             157 CADY STREET                                                                             ROCHESTER      NY    14611‐3412
SANKER, JOHN V                4536 WILLIAMS ST                                                                            DEARBORN HTS   MI    48125‐2701
SANKER, WILLIAM J             20 HOLLYWOOD DR                                                                             O FALLON       MO    63366‐2611
SANKEY AUTOMOBILE CO., INC.   315 MARKET ST                                                                               COLUSA         CA    95932‐2421
SANKEY AUTOMOBILE CO., INC.   PAUL SANKEY                     315 MARKET ST                                               COLUSA         CA    95932‐2421
SANKEY, AUGUST R              1580 CLARY CUT RD                                                                           APPLING        GA    30802‐2112
SANKEY, CAROLE                20842 EUSTIS RD                                                                             LAND O LAKES   FL    34637‐7438
SANKEY, CHARLES H             PO BOX 694                                                                                  CARROLLTON     MI    48724‐0694
SANKEY, FRANCES M             237 W ARMY TRAIL BLVD                                                                       ADDISON         IL   60101‐3504
SANKEY, JOSEPH E              1318 CENTRE ST WEST                                                                         WARREN         OH    44481‐4481
SANKEY, JOSEPH E              1318 CENTER ST W                                                                            WARREN         OH    44481‐9456
SANKEY, JOYCE                 2225 ARNETTE ST                                                                             SAGINAW        MI    48601‐4004
SANKEY, KENNETH V             2913 RADCLIFF CIR                                                                           FORT COLLINS   CO    80521‐3026
SANKEY, KEVIN D               18285 STATE HIGHWAY CC                                                                      WARRENTON      MO    63383‐6728
SANKEY, ROBERT C              5124 WILLIAMS DR                                                                            VIENNA         OH    44473‐9624
SANKEY, TRACEY A              18285 STATE HIGHWAY CC                                                                      WARRENTON      MO    63383‐6728
SANKEY, UNKNOWN
SANKEY, WAYNE K               2229 S WILLARD AVE                                                                          JANESVILLE     WI 53546‐5953
SANKIEWICZ, ANDREW            4980 ROCHESTER RD                                                                           DRYDEN         MI 48428‐9328
SANKO GOSEI LTD               1200 HABUSHIN FUKUMITSUMACHI                                        TOYAMA 939‐1756 JAPAN
SANKO GOSEI LTD               RICK EARL X 332                 4 COMMERCE WAY                                              WILLIAMSBURG   MI    49690
SANKO JR, STEPHEN J           917 WATERVLIET AVE APT B                                                                    DAYTON         OH    45420‐2700
SANKO, MARY M                 4255 ELMWOOD AVE                                                                            YOUNGSTOWN     OH    44515‐3205
SANKO, MICHAEL J              6127 GLENRIDGE RD                                                                           YOUNGSTOWN     OH    44512‐3112
SANKOE I I I, JOHN A          5932 STUMPH RD APT 104                                                                      PARMA          OH    44130‐1740
SANKOE III, JOHN A            5932 STUMPH RD APT 104                                                                      PARMA          OH    44130‐1740
SANKOVICH, KARLA              33‐41 58TH ST                                                                               WOODSIDE       NY    11377‐2216
SANKOVICH, KARLA              3341 58TH ST                                                                                WOODSIDE       NY    11377‐2216
SANKOWSKI, ANTHONY W          331 OAK AVE                                                                                 WOODBRIDGE     NJ    07095‐1605
SANKRITHI, NARAYANAN S        14704 W HIDDEN CREEK CT                                                                     NEW BERLIN     WI    53151‐4439
SANKRITHI, NARAYANAN S        14704 WEST HIDDEN CREEK COURT                                                               NEW BERLIN     WI    53151‐4439
SANKRTI, KRISHNAN             PO BOX 9022                     C/O SHANGHAI                                                WARREN         MI    48090‐9022
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Name                             Address1                          Address2                       Address3                   Address4                  City               State Zip
SANKS JAMIE C                    SANKS, CHENITA AW                 ROPER JOHN W                   5353 VETERANS PKWY STE A                             COLUMBUS            GA 31904‐4496

SANKS JAMIE C                    SANKS, JAMIE C                    2001 AIRPORT THRUWAY P O BOX                                                        COLUMBUS           GA 31902
                                                                   429
SANKS, CHENITA AW                ROPER JOHN W                      5353 VETERANS PKWY STE A                                                            COLUMBUS           GA 31904‐4496
SANKS, JAMIE C                   ROPER JOHN W                      5353 VETERANS PKWY STE A                                                            COLUMBUS           GA 31904
SANKS, ROSEMARY                  10712 S BEAR CREEK RD                                                                                                 PANAMA CITY        FL 32404
SANKT‐PETERSBURG STATE
POLYTECHNICAL UNIVERSITY
SANKYO OILLESS IND (USA) CORP    44244 PHOENIX DR                                                                                                      STERLING HEIGHTS   MI 48314‐1465
SANKYO OILLESS INDUST USA CORP   44244 PHOENIX DR                                                                                                      STERLING HEIGHTS   MI 48314‐1465
SANLO MANUFACTURING CO INC       PO BOX 242                        400 STATE RD 212                                                                    MICHIGAN CITY      IN 46361‐0242
SANLO MANUFACTURING CO INC       KEITH A. LEWALSKI                 P.O. BOX 242                                              PODBORANY CZECH (REP)
SANLO MFG. CO., INC.             KEITH A. LEWALSKI                 P.O. BOX 242                                              PODBORANY CZECH (REP)
SANLO, RODNEY R                  14580 SALEM ALLIANCE RD                                                                                               SALEM              OH   44460‐7615
SANLOR, JERRY A                  6817 SYRACUSE ST                                                                                                      TAYLOR             MI   48180‐1717
SANLUIS CORPORACION SA DE CV     14500 BACK ROAD                                                                                                       PLYMOUTH           MI   48170
SANLUIS CORPORACION SA DE CV     14500 BECK ROAD                                                                                                       PLYMOUTH           MI   48170
SANLUIS CORPORACION SA DE CV
SANLUIS CORPORACION SA DE CV     CARRETERA A MOYOTZINGO KM 2.5                                                               SAN MARTIN TEXMELUCAN
                                                                                                                             PU 74129 MEXICO
SANLUIS CORPORACION SA DE CV     CARRETERA A MOYOTZINGO KM 2.5     COLONIA BALTAZAR                                          SAN MARTIN TEXMELUCAN
                                                                                                                             PU 74129 MEXICO
SANLUIS CORPORACION SA DE CV     DON ROSOCHACKI‐235                CALLE PUERTO ARTURO            PIEDROS NEGRAS             DANDENONG 3175
                                                                                                                             AUSTRALIA
SANLUIS CORPORACION SA DE CV     DON ROSOCHACKIX235                1812 MAGNA DR                                                                       RUSSELL SPRINGS    KY 42642
SANLUIS CORPORACION SA DE CV     GUSTAVO ABURTO X247               C/O PTI QUALITY CONTAINMENT    18615 SHERWOOD STREET                                ROMULUS            MI
SANLUIS CORPORACION SA DE CV     PUERTO ARTURO #803                                                                          PIEDRAS NEGRAS CZ 26030
                                                                                                                             MEXICO
SANLUIS CORPORACION SA DE CV     PUERTO ARTURO #803                COL BRAVO                                                 PIEDRAS NEGRAS CZ 26030
                                                                                                                             MEXICO
SANLUIS CORPORACION SA DE CV     MONTE PELVOUX NO 220 PISO 8                                                                 MIGUEL HIDALGO, D 11000
                                                                                                                             MEXICO
SANLUIS RASSINI
SANLUIS RASSINI/MI               14500 N BECK RD                                                                                                       PLYMOUTH           MI   48170‐3383
SANMARCO, FLORENCE               115 LAKEWOOD VLG                                                                                                      MEDINA             NY   14103‐1848
SANMARCO, FLORENCE               115 LAKEWOOD VILLAGE                                                                                                  MEDINA             NY   14103‐1848
SANMARCO, MARY                   69 REGENT ST                      C/O LINDA HALL                                                                      LOCKPORT           NY   14094‐5016
SANMARCO, MARY                   C/O LINDA HALL                    69 REGENT STREET                                                                    LOCKPORT           NY   14094
SANMARTINO, DORIS                804 HENSLEE DR                                                                                                        EULESS             TX   76040‐5330
SANMENXIA ZHONGYUAN MEASURING    NO 9 WEST SECTION OF HEPING RD                                                              HEPING SANMENXIA CN
                                                                                                                             472000 CHINA (PEOPLE'S
                                                                                                                             REP)
SANMENXIA ZHONGYUAN MEASURING    NO 9 WEST SECTION OF HEPING RD                                                              HEPING SANMENXIA CN
INSTR                                                                                                                        472000 CHINA (PEOPLE'S
                                                                                                                             REP)
SANMIGUEL, RODOLFO               127 CEDARWOOD DR                                                                                                      OREGON             OH 43616‐2311
SANNA STEFANO                    38170040                          VIA FIGOLI 82                                             9170 ORISTANO OR ITALY
SANNA, DORIS H                   73 BURNSIDE AVE                   C/O ROBERT SANNA                                                                    HAMILTON           NJ   08620‐2919
SANNA, DORIS H                   C/O ROBERT SANNA                  73 BURNSIDE AVENUE                                                                  HAMILTON           NJ   08620
SANNA, JOSEPH                    18 BRADFORD AVE APT 7                                                                                                 TRENTON            NJ   08610
SANNA, RAYMOND C                 20 SHADYWOOD DR                                                                                                       ROCHESTER          NY   14606‐4921
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Name                            Address1                          Address2                    Address3   Address4                   City               State Zip
SANNE, KATHERINE L              1650 W 5 POINT HWY                                                                                  CHARLOTTE           MI 48813‐9530
SANNEMAN, SCOTT A               7085 REPUBLIC LN                                                                                    INDIANAPOLIS        IN 46259‐5750
SANNER JR, DANIEL D             2503 COLUMBINE DR N                                                                                 JACKSONVILLE        FL 32211‐4021
SANNER, BEARL                   2633 SE 18TH CT                                                                                     CAPE CORAL          FL 33904‐3218
SANNER, DENNIS B                7444 LAWRENCE RD                                                                                    BALTIMORE           MD 21222‐3110
SANNER, MARY                    PO BOX 3732                                                                                         OXFORD              AL 36203‐0732
SANNER, RONALD L                21381 FLORENCE DR                                                                                   MACOMB              MI 48044‐1314
SANNER, VERDA K                 468 WEST MAIN STREET                                                                                ROMNEY              WV 26757‐1537
SANNEY, CONNIE A                25500 W WARREN ST                                                                                   DEARBORN HEIGHTS    MI 48127‐3838
SANNEY, RONNIE G                16580 WORMER ST                                                                                     DETROIT             MI 48219‐3679
SANNICANDRO, BARBARA A          2070 COUNTY ST BLDG C2                                                                              ATTLEBORO           MA 02703
SANNIE M WEEKS                  22 E WOODLAND AVE                                                                                   NILES               OH 44446
SANNIE WEEKS                    22 E WOODLAND AVE                                                                                   NILES               OH 44446‐1941
SANNINGS SERVICE STATION        401 S 2ND ST                                                                                        COLDWATER           OH 45828‐1804
SANNITA COIL                    1051 RALSTON AVE APT B6                                                                             DEFIANCE            OH 43512
SANNY PITTS                     4557 SPINNAKER TRCE                                                                                 LAFAYETTE           IN 47909‐8212
SANO, ROBERT J                  1050 BERKSHIRE RD                                                                                   DAYTON              OH 45419‐3739
SANO, RONALD Q                  5536 KNOLLCREST CT                                                                                  DAYTON              OH 45429‐5913
SANOCKI JR, EDWARD M            503 LANGLEY BLVD                                                                                    CLAWSON             MI 48017‐1332
SANOCKI, JOSEPHINE S            3883 N PROSPECT RT 2                                                                                ANN ARBOR           MI 48105‐9802
SANOCKI, MICHAEL E              30748 MOULIN AVE                                                                                    WARREN              MI 48088‐6832
SANOCKI, RICHARD C              8334 BEACON LN                                                                                      NORTHVILLE          MI 48168‐8853
SANOCKI, RICHARD CHARLES        8334 BEACON LN                                                                                      NORTHVILLE          MI 48168‐8853
SANOCKI, ROBERT M               10560 WENN RD                                                                                       BIRCH RUN           MI 48415‐9307
SANOCKI, ROBERT MICHAEL         10560 WENN RD                                                                                       BIRCH RUN           MI 48415‐9307
SANOFI PASTEUR INC              12458 COLLECTION CENTER DR                                                                          CHICAGO              IL 60693‐0124
SANOFI‐AVENTIS                  SUZEN MOYE                        55 CORPORATE DR                                                   BRIDGEWATER         NJ 08807‐1265
SANOGO HAMED                    3700 GALENA HILLS LOOP                                                                              ROUND ROCK          TX 78681‐1033
SANOH AMERICA INC               1849 INDUSTRIAL DR                P O BOX 1626                                                      FINDLAY             OH 45840‐5440
SANOH AMERICA INC               GREG BRINKMAN                     1849 INDUSTRIAL DR                                                PERU                 IL 61354
SANOH CANADA, LTD.              GREG SCHROEDER                    300 C LINE                             TAEGU‐SI KOREA (REP)
SANOH INDUSTRIAL CO LTD         758 KOUNOSO                                                              KOGA IBARAKI‐KEN JP 306‐
                                                                                                         0041 JAPAN
SANOH INDUSTRIAL CO LTD         GREG BRINKMAN                     1849 INDUSTRIAL DR                                                PERU                IL   61354
SANOH INDUSTRIAL CO LTD         GREG SCHROEDER                    300 C LINE                             TAEGU‐SI KOREA (REP)
SANOM, JULIE A                  101 STONECREST RD                                                                                   GREER              SC 29650‐3422
SANOR, WILLIAM L                3900 CHETWOOD DR                                                                                    DEL CITY           OK 73115‐2806
SANOS INVESTMENTS CORPORATION   C/O TECKTON SA                    VIA DEGLI ALBRICI 4                    CH‐6830 CHIASSO
                                                                                                         SWITZERLAND
SANOVIA TAYLOR‐HARRIS           36 HEDLEY PL                                                                                        BUFFALO            NY    14208‐1061
SANOVIC, RANDOLPH N             28923 COVENTRY CT                                                                                   FARMINGTON HILLS   MI    48331‐2517
SANOVIC,RANDOLPH N              28923 COVENTRY CT                                                                                   FARMINGTON HILLS   MI    48331‐2517
SANOVIO ARMENTA                 10128 LAUREL CANYON BLVD                                                                            PACOIMA            CA    91331‐3829
SANOW, ROBIN R                  1812 W SAGE ST                                                                                      EVANSTON           WY    82930
SANOYAN YESAI                   SANOYAN, YESAI                    2070 N TUSTIN AVE                                                 SANTA ANA          CA    92705‐7827
SANPAOLO IMI SPA                VIA MAPPANO 15/A                                                         BORGARO TORINESE IT
                                                                                                         10071 ITALY
SANPETE COUNTY ASSESSOR         PO BOX 158                                                                                          MANTI              UT 84642
SANPHILLIPO, CALLIE
SANPHILLIPO, LAURIE             MINTZ STEIN & STERNBACH           100 MERRICK RD ‐ STE 312E                                         ROCKVILLE CENTRE   NY 11570
SANQUNETTI, CHARLES D           601 S INDIANA AVE                                                                                   ALEXANDRIA         IN 46001‐2250
SANREGRET, ROBERT JAMES         1985 WEBB GIN HOUSE RD                                                                              SNELLVILLE         GA 30078‐2031
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SANS, ROBERT P            7486 SWAN CREEK RD                                                                             FAIR HAVEN             MI 48023‐2541
SANSAVERA, GERALDINE M    9965 DARROW PARK DR APT 125F                                                                   TWINSBURG              OH 44087‐3504
SANSBURN, WILLIAM L       1464 CARRESS DR                                                                                ESSEXVILLE             MI 48732‐1901
SANSEVERE, VINCENT S      1‐3 DAVID LN APT 1B                                                                            YONKERS                NY 10701
SANSFACON, MAE            2620 TIMBER TRL NE                                                                             KALKASKA               MI 49646‐8791
SANSFACON, MAE            2620 TIMBER TRAIL NE                                                                           KALKASKA               MI 49646‐8791
SANSI RYAN                7926 WILD ORCHARD LN                                                                           CINCINNATI             OH 45242‐4309
SANSINE, JUANITA          4 IVY CT                                                                                       WILMINGTON             DE 19808‐1989
SANSING II, EARL B        1841 BUCK DANIELS RD                                                                           CULLEOKA               TN 38451‐2700
SANSING, DARRELL L        7850 ETIWANDA AVE                                                                              RESEDA                 CA 91335‐2059
SANSING, JERRY R          47 RESERVOIR RD                                                                                KILLINGWORTH           CT 06419‐1418
SANSOM JR, RUBIN H        147 RIVENDELL LN                                                                               TELLICO PLAINS         TN 37385‐5920
SANSOM, BETTY J           6465 ANCROFT CT                                                                                CLARKSTON              MI 48346‐4712
SANSOM, CHARLOTTE L       308 N ROWE ST APT 2                                                                            LUDINGTON              MI 49431
SANSOM, HERSCHEL J        PO BOX 551                                                                                     LUDINGTON              MI 49431‐0551
SANSOM, JACK R            6465 ANCROFT CT                                                                                CLARKSTON              MI 48346‐4712
SANSOM, OLIVIA            175 N MICHIGAN AVE LOT 20                                                                      COLDWATER              MI 49036‐1577
SANSON JR, TILDEN         293 S INGLEWOOD AVE                                                                            AUSTINTOWN             OH 44515‐3933
SANSON RICK V (637686)    COONEY & CONWAY                  120 NORTH LASALLE STREET , 30TH                               CHICAGO                 IL 60602
                                                           FLOOR
SANSON, ALBERT S          10 SNOW CT                                                                                     DEARBORN              MI   48124‐4139
SANSON, ANNA S            4074 N MONADNOCK RD                                                                            HERNANDO              FL   34442‐4549
SANSON, CHESTER C         3543 MOUNT HOPE LOOP                                                                           LEESBURG              FL   34748‐1844
SANSON, DONALD J          9949 HIGHSLOPE DR                                                                              BRIGHTON              MI   48114‐8609
SANSON, DONALD K          528 W 3RD ST                                                                                   MC DONALD             OH   44437‐1552
SANSON, GLORIA J          5214 BROOKSIDE DR                                                                              SHELBY TWP            MI   48316‐3128
SANSON, JANICE A          528 THIRD ST                                                                                   MCDONALD              OH   44437‐1552
SANSON, JUANITA E         2040 W LINCOLN ST                                                                              LONG BEACH            CA   90810‐2133
SANSON, RICK V            COONEY & CONWAY                  120 NORTH LASALLE STREET, 30TH                                CHICAGO               IL   60602
                                                           FLOOR
SANSON, ROGER G           986 HENNING RD                                                                                 PERKIOMENVILLE        PA 18074‐9553
SANSONE CHEVROLET         680 PFEIFFER BLVD                                                                              PERTH AMBOY           NJ 08861‐2335
SANSONE MIKE A (631860)   ANGELOS PETER G                  100 N CHARLES STREET , ONE                                    BALTIMORE             MD 21201
                                                           CHARLES CENTER
SANSONE, ANTHONY          6728 OMAN CT                                                                                   ORLANDO               FL   32809‐6564
SANSONE, FRANCIS H        59 OLD HACKETT HILL RD APT 26    REGENCY HGTS                                                  MANCHESTER            NH   03102‐8988
SANSONE, HOLLY R          246 E 2ND ST                                                                                   NEW CASTLE            DE   19720‐3602
SANSONE, JOSEPHINE S      186 LANCASTER AVE                                                                              BUFFALO               NY   14222‐1452
SANSONE, LORETTA W        2709 CLUBHOUSE DR                                                                              PLANT CITY            FL   33566‐9303
SANSONE, MICHAEL J        2420 W 30TH ST                                                                                 ANDERSON              IN   46016‐4742
SANSONE, MIKE A           ANGELOS PETER G                  100 N CHARLES STREET, ONE                                     BALTIMORE             MD   21201
                                                           CHARLES CENTER
SANSONE, THOMAS W         2401 PENNSYLVANIA AVE APT 1203                                                                 WILMINGTON            DE   19805‐1419
SANSONE, WARD S           7382 GRAND RIVER RD                                                                            BANCROFT              MI   48414‐9434
SANSONETTI DANIELLE       SANSONETTI, DANIELLE             1033A CAMPBELLS RUN RD                                        CARNEGIE              PA   15106‐1902
SANSONETTI, DANIELLE      1033 CAMPBELLS RUN RD                                                                          CARNEGIE              PA   15106‐1902
SANSONI, BENEDICT         53295 SPRINGHILL MEADOWS                                                                       MACOMB TWP            MI   48042
SANSOTE, GARRY L          13575 CENTER RD                                                                                BATH                  MI   48808‐9448
SANSOTE, JANET LILLIAN    1009 W MILLINGTON RD                                                                           FOSTORIA              MI   48435‐9731
SANSOTE, KRISTY           3378 CRANDON DR                                                                                DAVISON               MI   48423‐8579
SANSOTERRA, JEANETTE A    801 S OXFORD RD                                                                                GROSSE POINTE WOODS   MI   48236‐1863
SANSOTERRA, ROBERT J      3785 MITCHELL RD                                                                               METAMORA              MI   48455‐9611
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SANSOTERRA, ROBERT J.                3785 MITCHELL RD                                                                                                METAMORA            MI 48455‐9611
SANSPREE PATRICIA                    SANSPREE, PATRICIA                    17813 CALDWELL LN                                                         FOLEY               AL 36535
SANSPREE, PATRICIA                   16724 COUNTY ROAD 9                                                                                             SUMMERDALE          AL 36580
SANT ANGELO, CHARLES                 228 26 MILE RD                                                                                                  HOMER               MI 49245‐9716
SANT ANGELO, MARILYN S               228 26 MILE RD                                                                                                  HOMER               MI 49245‐9716
SANT ANGELO, MICHAEL G               5652 LINCOLN BLVD                                                                                               DEARBORN HTS        MI 48125‐2402
SANT JOHN                            259 PENINSULA AVE                                                                                               SAN FRANCISCO       CA 94134‐2424
SANT, JOSEPH C                       14959 RIVENDELL DR                                                                                              STERLING HTS        MI 48313‐5753
SANT, KRISHAN K                      410 71ST ST                                                                                                     DARIEN               IL 60561‐4057
SANT, MARY A                         3969 CORNERSTONE DR                                                                                             CANTON              MI 48188‐7911
SANTA A HARVEY                       203 DEARBORN ST                                                                                                 SAGINAW             MI 48602‐1303
SANTA A SMIROLDO                     52 ANN MARIE DRIVE                                                                                              ROCHESTER           NY 14606‐4604
SANTA BARBARA BUSINESS PARK          C\O ROSSI ENTERPRISES                 750 PISMO STREET                                                          SAN LUIS OBISPO     CA 93401
SANTA BARBARA CITY COLLEGE           ATTN CASHIERS OFFICE                  721 CLIFF DR                                                              SANTA BARBARA       CA 93109‐2312
SANTA BARBARA CNTY DIST ATTY         ACCT OF GARY K WIBRACHT               PO BOX 697                                                                SANTA BARBARA       CA 93102‐0697
SANTA BARBARA COMMUNITY COLLEGE      721 CLIFF DR                          ACCOUNTS RECEIVABLE                                                       SANTA BARBARA       CA 93109‐2312
DISTRICT
SANTA BARBARA COTTAG                 320 W PUEBLO ST                                                                                                 SANTA BARBARA       CA 93105‐4311
SANTA BARBARA COUNTY TAX COLLECTOR   PO BOX 579                                                                                                      SANTA BARBARA       CA 93102‐0579

SANTA BARBARA DA FAM SUP DIV         ACCT OF DOUGLAS SCHAFER               PO BOX 697                                                                SANTA BARBARA      CA   93102‐0697
SANTA BARBARA RESEARCH CENTER        PO BOX 7596                                                                                                     LOS ANGELES        CA   90074‐7596
SANTA BARBARA, THOMAS J              1226 MAPLE AVE                                                                                                  WILMINGTON         DE   19805‐5035
SANTA BARRACO                        435 GRENIER DR                                                                                                  N FORT MYERS       FL   33903‐4310
SANTA CLARA COUNTY                   1553 BERGER DR                        DIVISION OF WEIGHTS & MEASURES                                            SAN JOSE           CA   95112‐2704

SANTA CLARA COUNTY                   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1553 BERGER DR                  DIVISION OF WEIGHTS &                    SAN JOSE           CA 95112‐2704
                                                                                                            MEASURES
SANTA CLARA COUNTY TAX COLLECTOR     70 W HEDDING ST                                                                                                 SAN JOSE           CA 95110‐1705

SANTA CLAUS PUBLISHING & TEES
COMPANY
SANTA CRUZ COUNTY TAX COLL.          PO BOX 1817                                                                                                     SANTA CRUZ         CA   95061‐1817
SANTA CRUZ COUNTY TREASURER          2150 N CONGRESS DR                                                                                              NOGALES            AZ   85621‐1090
SANTA CRUZ EDWARD                    DBA SCDS CONSULTING DESIGN            2518 W 157TH ST                                                           GARDENA            CA   90249‐4627
SANTA CRUZ, DIANA LYNN               N1256 REST HAVEN RD                                                                                             LYNDON STATION     WI   53944‐9538
SANTA CRUZ, GERALDINE L              302 WILLOWBROOK RD                                                                                              UPPER CHICHESTER   PA   19061‐2827
SANTA CRUZ, GERALDINE L              302 WILLOW BROOK RD                                                                                             BOOTHWYN           PA   19061‐2827
SANTA CRUZ, JOHN G                   3108 RIMROCK DR                                                                                                 LAWRENCE           KS   66047‐2717
SANTA DINNOCENZO                     VIA GUERRAZZI 1/A
SANTA FAZIO                          169 CRESTHILL AVE                                                                                               TONAWANDA          NY   14150‐7109
SANTA FE CHEVROLET CADILLAC SAAB     4450 CERRILLOS RD                                                                                               SANTA FE           NM   87507‐9722
SANTA FE CHEVROLET CADILLAC SAAB     CRAWFORD, TRAVIS R                    4450 CERRILLOS RD                                                         SANTA FE           NM   87507‐9722
SANTA FE COMMUNITY COLLEGE           CONTROLLERS OFFICE                    3000 NW 83RD ST                                                           GAINESVILLE        FL   32606‐6210
SANTA FE COUNTY TREASURER            PO BOX T                                                                                                        SANTA FE           NM   87504‐0528
SANTA FE LOGISTICS LLC               1880 S HIGHWAY 14                                                                                               GREER              SC   29650‐4727
SANTA FE TRUST INC
SANTA FE VANS                        PO BOX 1633                                                                                                     ELKHART            IN   46515‐1633
SANTA FIORAVANTI                     547 ARENA DR # B                                                                                                TRENTON            NJ   08610‐3420
SANTA FRENCH                         14411 HEAVENLY ACRES RDG              TIMBER RIDGE REGION                                                       HANCOCK            MD   21750‐1908
SANTA GONZALEZ                       1007 PLEASANT ST                                                                                                SAGINAW            MI   48602‐5722
                                  09-50026-mg               Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
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Name                              Address1                             Address2                      Address3            Address4              City             State Zip
SANTA IRENE INVESTMENTS LTD       C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT           2 RAFFLES LINK      MARINA BAYFRONT
                                  LIMITED                                                                                SINGAPORE 039392
SANTA LANZA                       BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                              BOSTON HEIGHTS   OH    44236
SANTA LUNARDI                     8901 ACRE DR                                                                                                 SAGAMORE HLS     OH    44067‐1101
SANTA MARIA FLEET MGT CTR (GSA)   BX 5009 VANDENBURG AFB 875                                                                                   VANDENBERG AFB   CA    93437
SANTA MARIA JR, JOSEPH V          PO BOX 134                                                                                                   KENMORE          NY    14217‐0134
SANTA MARIA JR, VINCENT A         121 PICKFORD AVE                                                                                             TONAWANDA        NY    14223‐2711
SANTA MARIA, JOSEPH J             10207 W BROOKSIDE DR                                                                                         SUN CITY         AZ    85351‐1107
SANTA MARIA, SARA M               238 SARANAC AVE                                                                                              BUFFALO          NY    14216‐1932
SANTA MARINA Y STETA              CAMPOS ELISEOS NO. 345 ‐ PISOS 2 Y 3 COLONIA CHAPULTEPEC POLANCO   DELEGACION MIGUEL   11560 MEXICO, D.F.
                                                                                                     HIDALGO
SANTA MONICA BAY PHY              6029 BRISTOL PKWY STE 100                                                                                    CULVER CITY       CA 90230‐4899
SANTA MONICA CHEVROLET, SANTA     3223 SANTA MONICA BLVD                                                                                       SANTA MONICA      CA 90404‐2605
MONIC
SANTA MONICA CHEVROLET, SANTA     KAYVAN NAIMI                        3223 SANTA MONICA BLVD                                                   SANTA MONICA      CA 90404‐2605
MONICA
SANTA MONICA CHEVROLET, SANTA     3223 SANTA MONICA BLVD                                                                                       SANTA MONICA      CA 90404‐2605
MONICA BUICK, SANTA MONICA
OLDSMOBILE
SANTA MONICA COLLEGE              1900 PICO BLVD                                                                                               SANTA MONICA      CA   90405‐1628
SANTA MONICA GROUP                ROBERT D. DANIELS, ESQ.             5750 WILSHIRE BLVD STE 655                                                                 CA   90036‐3637
SANTA MONICA GROUP                WORLD WIDE REAL ESTATE              200 RENAISSANCE CTR            MC 482 B38 C96                                              MI   48265‐0001
SANTA MONICA GROUP INC            3223 SANTA MONICA BLVD                                                                                       SANTA MONICA      CA   90404‐2605
SANTA MONICA GROUP, INC.          KAYVAN NAIMI                        3223 SANTA MONICA BLVD                                                   SANTA MONICA      CA   90404‐2605
SANTA MONICA GROUP, INC.          ROBERT D. DANIELS, ESQ.             5750 WILSHIRE BLVD STE 655                                                                 CA   90036‐3637
SANTA MONICA GROUP, INC.          WORLDWIDE REAL ESTATE               200 RENAISSANCE CTR            MC 482 B38 C96                                              MI   48265‐0001
SANTA MONICA'S BIG BLUE BUS                                           1660 7TH ST                                                                                CA   90401
SANTA PAULA CHEVROLET INC.        JOHN MACIK                          101 W HARVARD                                                            SANTA PAULA       CA   93060
SANTA PAULA CHEVROLET INC.        101 W HARVARD                                                                                                SANTA PAULA       CA   93060
SANTA ROSA CHEVROLET              2501 MARTIN ROAD                                                                                             FAIRFIELD         CA   94534‐7845
SANTA ROSA CHEVROLET              2770 CORBY AVE                                                                                               SANTA ROSA        CA   95407‐7845
SANTA ROSA CHEVROLET, INC.        ANGELO FERRO                        2501 MARTIN ROAD                                                         FAIRFIELD         CA   94534‐7845
SANTA ROSA COUNTY TAX COLLECTOR   PO BOX 7100                                                                                                  MILTON            FL   32572‐7100
SANTA SAVOCA                      224 KENWICK DR                                                                                               SYRACUSE          NY   13208‐3139
SANTA SOSA                        7000 WILLIS AVE                                                                                              FORT WORTH        TX   76116‐8731
SANTA TOY CORPORATION
SANTA ZACCARDO                    200 KIDD CASTLE WAY APT 113                                                                                  WEBSTER           NY   14580‐1981
SANTA, GLORIA J                   6245 COLD SPRING TRL                C/O EARL G. SANTA                                                        GRAND BLANC       MI   48439‐7970
SANTA, JACK W                     2811 SQUIRREL RUN                                                                                            CHESAPEAKE        VA   23321‐6141
SANTA, JAMES G                    11469 RUNNELLS DR                                                                                            CLIO              MI   48420‐8232
SANTA, TODD                       1700 SULLIVAN TRAIL                                                                                          EASTON            PA   18040
SANTA`S BEST
SANTACROCE, DOMINIC               N3790 PRIMROSE LN                                                                                            WAUTOMA          WI    54982‐7849
SANTACROCE, FRANCES L             2507 DAMIAN DR                                                                                               HATBORO          PA    19040‐3715
SANTACRUZ, LAUREN                 2008 WINTERSET DR                                                                                            LAKELAND         FL    33813‐2168
SANTAGATA MICHAEL                 SANTAGATA, MICHAEL                  337 COWESETT AVE                                                         WEST WARWICK     RI    02893‐2245
SANTAGATA, CURTIS A               442 SCOTT ST NE                                                                                              WARREN           OH    44483‐5033
SANTAGATA, EMILIO                 323 MC NAIR RD                                                                                               WILLIAMSVILLE    NY    14221‐3717
SANTAGATA, LEONARD                976 BELVEDERE AVE SE                                                                                         WARREN           OH    44484‐4326
SANTAGATA, MICHAEL                337 COWESETT AVE                                                                                             WEST WARWICK     RI    02893‐2245
SANTAGATA, SUZANNE S              976 BELVEDERE AVE SE                                                                                         WARREN           OH    44484‐4326
SANTAK, FRANK                     1220 LORAINE AVENUE                                                                                          WILMINGTON       DE    19808
                                    09-50026-mg             Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                                Address1                             Address2                     Address3           Address4                 City              State Zip
SANTAK, WILLIAM                     210 MARYLAND AVE                                                                                              WILMINGTON         DE 19804‐3041
SANTAK, WILLIAM J                   120 PRESTWICK DR                                                                                              NEW CASTLE         DE 19720‐3028
SANTALA, JOYCE L                    6744 DANVILLE AVE                                                                                             BALTIMORE          MD 21222‐1129
SANTALA, LINDA K                    6243 ENGLEWOOD DR                                                                                             CLARKSTON          MI 48346
SANTALA, THEODORE D                 6243 ENGLEWOOD DR                                                                                             CLARKSTON          MI 48346‐1103
SANTALUCIA, MARTIN R                108 WHITEHEAD AVE                                                                                             SAYREVILLE         NJ 08872‐1139
SANTAMARIA, JULIE L.                PO BOX 182                                                                                                    BASEHOR            KS 66007‐0182
SANTAMARIA, WILLIAM R               494 S BALDWIN RD                                                                                              OXFORD             MI 48371‐4110
SANTAMARINA Y STETA                 CAMPOS ELISEOS NO 345                COL CHAPULTEPEC POLANCO                         11560 MEXICO DF MEXICO
SANTAMOUR, JANET S                  4013 ARNST WAY                                                                                                SPRING HILL       TN   37174‐9265
SANTAMOUR, LARRY L                  3655 LAKESHORE DR                                                                                             GLADWIN           MI   48624‐7803
SANTAMOUR, PATRICIA M               31461 BLOCK ST                       APT 205                                                                  GARDEN CITY       MI   48135‐1962
SANTAMOUR, RICHARD J                3482 W PARKWAY AVE                                                                                            FLINT             MI   48504‐6943
SANTANA FERNANDO                    10247 RINCON AVE                                                                                              PACOIMA           CA   91331
SANTANA MARIA (663085)              RUCKDESCHEL LAW FIRM                 3645 CRAGSMOOR RD                                                        ELLICOTT CITY     MD   21042‐4907
SANTANA TRANSPORT INC               PO BOX 327                                                                                                    LAKE ORION        MI   48361‐0327
SANTANA TRANSPORT/WHSE/             6032 SHULL ST                                                                                                 BELL GARDENS      CA   90201‐6237
FULFILLMENT
SANTANA VERONICA                    SANTANA, VERONICA                    210 GRANT STREET SUITE 202                                               PITTSBURGH        PA   15219
SANTANA, AGUSTIN                    3210 BRETTON WOODS TER                                                                                        DELTONA           FL   32725‐3053
SANTANA, ANDREW F                   56 S LAKESHORE DR                                                                                             SHREVEPORT        LA   71119
SANTANA, ANTHONY                    17823 PARKLANE ST                                                                                             LIVONIA           MI   48152‐2726
SANTANA, ARTURO R                   2211 S L ST                                                                                                   OXNARD            CA   93033‐4335
SANTANA, CHERYL                     6010 CEDAR CREEK RD.                                                                                          NORTH BRANCH      MI   48461
SANTANA, DOLORES C                  19525 HENRY ST                                                                                                MELVINDALE        MI   48122‐1626
SANTANA, EFREN R                    3111 MADERA PL                                                                                                OXNARD            CA   93033‐5757
SANTANA, FILIMON P                  230 S SAINT JOHNS ST                                                                                          ITHACA            MI   48847‐1538
SANTANA, IRMA                       2401 S J ST                                                                                                   OXNARD            CA   93033‐4430
SANTANA, IRMA                       2401 SO J ST                                                                                                  OXNARD            CA   93033‐4430
SANTANA, JANELLE V                  3203 EDSON BLVD                                                                                               SHREVEPORT        LA   71107‐7503
SANTANA, JANET K                    1805 SANTO DOMINGO                                                                                            CAMARILLO         CA   93012‐4058
SANTANA, JESUS A                    326 W IRIS ST                                                                                                 OXNARD            CA   93033‐3518
SANTANA, JESUS ANTONIO              326 W IRIS ST                                                                                                 OXNARD            CA   93033‐3518
SANTANA, JOSE A                     3203 EDSON BLVD                                                                                               SHREVEPORT        LA   71107‐7503
SANTANA, JOSE A                     1455 FRYE RD                                                                                                  COLUMBIA          TN   38401‐7282
SANTANA, JOSE ALEJANDRO             3203 EDSON BLVD                                                                                               SHREVEPORT        LA   71107‐7503
SANTANA, LUIS L                     4181 EL MOLINO BLVD                                                                                           CHINO HILLS       CA   91709‐3084
SANTANA, MARCELINO                  APT 329                              4370 COMMUNITY DRIVE                                                     WEST PALM BCH     FL   33409‐2979
SANTANA, MARCIAL                    HC 8 BOX 38955                                                                                                CAGUAS            PR   00725‐9614
SANTANA, MARIA                      RUCKDESCHEL LAW FIRM                 3645 CRAGSMOOR RD                                                        ELLICOTT CITY     MD   21042‐4907
SANTANA, MILAGROS T                 CALLE 7 BLK 7 #7 SANTA ROSA                                                                                   BAYAMON           PR   00619
SANTANA, PEDRO J                    265 JUNIPER ST                                                                                                AUBURN HILLS      MI   48326‐3237
SANTANA, RICARDO                    PO BOX 5942                                                                                                   SAN BERNARDINO    CA   92412‐5942
SANTANA, RUBEN C                    2411 S J ST                                                                                                   OXNARD            CA   93033‐4430
SANTANA, SALLY M                    2814 TURNBERRY DR APT 832                                                                                     ARLINGTON         TX   76006‐2340
SANTANA, SALLY MARY                 2814 TURNBERRY DR APT 832                                                                                     ARLINGTON         TX   76006‐2340
SANTANA, SANTOS                     3647 W AUBURN RD                                                                                              ROCHESTER HLS     MI   48309‐3134
SANTANA, YOLANDA                    341 HEBERLE RD                                                                                                ROCHESTER         NY   14609‐1803
SANTANAM, CHANDRAN B                817 LAKEWOOD DR                                                                                               ROCHESTER HILLS   MI   48309‐1010
SANTANDER IN CLIENTS ACCNT MADRID   MUTUALIDAD DE PREVISION SOCIAL DEL   DE ADUANAS                   MADRID Q2876014H   SPAIN
                                    PERSONAL
SANTANDREA, ELIO R                  4842 REECE CHURCH ROAD                                                                                        COLUMBIA          TN 38401‐8461
                                 09-50026-mg            Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                             Address1                       Address2                        Address3   Address4         City            State Zip
SANTANDREA, LINDA R              2109 COUNTRY CLUB LN                                                                       COLUMBIA         TN 38401‐5125
SANTANDREU, ANA R                13931 LAKE CLAIRE CT                                                                       HIALEAH          FL 33014‐3029
SANTANGELO JAMES (359668)        ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                         NEW YORK         NY 10006‐1638
SANTANGELO, ANTHONY              1763 ALVERNE DR                                                                            POLAND           OH 44514‐1404
SANTANGELO, DAN                  5376 MIDDLETOWN RD E                                                                       NEW MIDDLETWN    OH 44442‐9401
SANTANGELO, IRENE A              1204 JENIFER AVE                                                                           MADISON HTS      MI 48071‐2931
SANTANGELO, JAMES                ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                         NEW YORK         NY 10006‐1638
SANTANGELO, JOHN A               615 PEFFER AVE                                                                             NILES            OH 44446‐3318
SANTANGELO, JOHN A               2122 ROBBINS AVE APT 334                                                                   NILES            OH 44446‐4446
SANTANGELO, JOHN J               7189 NORTH PARK AVENUE                                                                     CORTLAND         OH 44410‐9557
SANTANGELO, JOSEPH               9084 SIOUX                                                                                 REDFORD          MI 48239‐1908
SANTANGELO, JOSEPH M             1529 LIBERTY AVE                                                                           GIRARD           OH 44420‐1521
SANTANGELO, KATHERINE M          542 MCDONALD AVE                                                                           MC DONALD        OH 44437‐1540
SANTANGELO, LOUIS A              180 BENTWILLOW DR                                                                          NILES            OH 44446‐2027
SANTANGELO, LUCY                 615 PEFFER ST                                                                              NILES            OH 44446‐3318
SANTANGELO, PERRY                196 CIRCLEVIEW DR                                                                          NEW MIDDLETWN    OH 44442‐9403
SANTANGELO, ROBERT M             8450 ALTA DR UNIT 131                                                                      LAS VEGAS        NV 89145
SANTANGELO, ROBERT M             5017 HOMEVIEW DR                                                                           LIVERPOOL        NY 13088‐5905
SANTANGELO, STEVEN S             881 WILLOW ST                                                                              LOCKPORT         NY 14094‐5125
SANTANGELO, VILMA R              15 CHARCOAL RD                                                                             NEWFOUNDLAND     NJ 07435‐1615
SANTANGELO, VITTORIO J           5701 JENNIFER DR W                                                                         LOCKPORT         NY 14094‐6009
SANTANIELLO CHRISTINE            2 TREE TOP LN                                                                              SOUTHWICK        MA 01077‐9351
SANTANIELLO ORTHOPAE             1238 E ARROW HWY                                                                           UPLAND           CA 91786
SANTANIELLO, CLEMENTE M          495 HIDDEN GARDEN PL                                                                       HENDERSON        NV 89012‐4576
SANTANILLO, J A                  1976 MADISON AVE APT 4B                                                                    NEW YORK         NY 10035‐1561
SANTANU K SARKAR                 BHABANI SARKAR                 5624 RYDER AVE                                              CHARLOTTE        NC 28226
SANTAPIETRO, JOSEPHINE L         7710 JANE ST                                                                               VERONA           PA 15147‐1511
SANTARELLI NINO C                271 BEECH DR                                                                               DELAWARE         OH 43015‐3229
SANTARELLI, NINO C               271 BEECH DR                                                                               DELAWARE         OH 43015‐3229
SANTARELLI, PAT                  8690 GREENCASTLE DR                                                                        CARROLL          OH 43112‐9434
SANTARELLI, ROSE M               11791 SAINT PATRICK ST                                                                     DETROIT          MI 48205‐3717
SANTARSIERO, FRANK J             211 MCADOO AVE                                                                             TRENTON          NJ 08619‐1755
SANTARSIERO, ROBERT J            6108 KETCHUM AVE                                                                           NEWFANE          NY 14108‐1113
SANTASIERO                       4535 SOUTHWESTERN BLVD                                                                     HAMBURG          NY 14075‐1929
SANTAVY, BERNARD                 5336 MORRISH RD                                                                            SWARTZ CREEK     MI 48473‐7627
SANTAVY, FRANCES                 5316 S MORRISH RD                                                                          SWARTZ CREEK     MI 48473‐7627
SANTAVY, FRANCES                 5316 MORRISH RD                                                                            SWARTZ CREEK     MI 48473‐7627
SANTAVY, LARRY                   3385 W 4 1/2 MILE RD                                                                       IRONS            MI 49644‐8812
SANTAYANA MAX                    APT 226                        570 BEALE STREET                                            SAN FRANCISCO    CA 94105‐2023
SANTE A DAMATO                   281 WILDWOOD DR                                                                            YOUNGSTOWN       OH 44512‐3340
SANTE FRILLICI                   210 VINEYARD DR                                                                            ROCHESTER        NY 14616‐2010
SANTE SANELLI                    2755 GREENLAWN DR                                                                          SEVEN HILLS      OH 44131‐3624
SANTEE CAR DIV TIC UNITED CORP   PO BOX 638                                                                                 HOLLY HILL       SC 29059‐0638
SANTEE COOPER                                                   1 RIVERWOOD DR                                                               SC 29461
SANTEE FRANCIS (447498)          BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                                PROFESSIONAL BLDG
SANTEE, CARYL                    13 BASSETT ST                  PO BOX 142                                                  RUSHVILLE       NY   14544‐9622
SANTEE, DANNY L                  621 LAKE ST                                                                                ADDISON         MI   49220‐9500
SANTEE, DUANE                    401 W MICHIGAN AVE APT 710                                                                 YPSILANTI       MI   48197‐5359
SANTEE, DUANE                    401 W MICHIGAN                 APT 710                                                     YPSILANTI       MI   48197
SANTEE, JOANNE                   35920 LAKOMIS DR                                                                           EASTLAKE        OH   44095‐1536
SANTEE, JOANNE                   35920 LAKOMIS                                                                              EASTLAKE        OH   44095‐1536
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Name                         Address1                         Address2                        Address3   Address4                   City              State Zip
SANTEE, JOHN R               1654 MORRIS ST                                                                                         MINERAL RIDGE      OH 44440‐9795
SANTEE, JOYCE                4909 DAVISON RD.                                                                                       LAPEER             MI 48446‐3507
SANTEE, KENNETH B            513 TUMBLIN KLING RD                                                                                   FORT PIERCE        FL 34982‐6939
SANTEE, MARIA L              3116 MALLERY ST                                                                                        FLINT              MI 48504‐2928
SANTEE, MELISSA S            331 N YORKSHIRE BLVD                                                                                   YOUNGSTOWN         OH 44515‐1525
SANTEE, NOLAN L              3116 MALLERY ST                                                                                        FLINT              MI 48504‐2928
SANTELICES, GLEN C           4830 NW 43RD ST                                                                                        GAINESVILLE        FL 32606
SANTELL RALPH                10277 BEAVER POND LN                                                                                   CORNING            NY 14830‐9613
SANTELL, BENEDICT P          251 W MARLEY RD                                                                                        JAMESTOWN          PA 16134‐9529
SANTELL, E. W                420 BELMONT AVE                                                                                        NILES              OH 44446‐3016
SANTELL, E. W.               420 BELMONT AVE                                                                                        NILES              OH 44446‐3016
SANTELL, FREDRICK J          735 PORTAGE EASTERLY ROAD                                                                              CORTLAND           OH 44410‐4410
SANTELL, MARILYN L           735 G.P. EASTERLY, N.E.                                                                                CORTLAND           OH 44410
SANTELLA, ALMA               250 LEWIS RD                                                                                           SPRINGFIELD        PA 19064‐2129
SANTELLA, ANDREW A           88 COUNTRY LN                                                                                          MARLBOROUGH        MA 01752‐3406
SANTELLA, CHRISTOPHER M      1323 BARNESWOOD LN                                                                                     ROCHESTER HILLS    MI 48306‐4116
SANTELLANA, SHEILA M         6911 E RAYMOND ST                                                                                      INDIANAPOLIS       IN 46239‐9511
SANTELLI MARY C              13232 S CARONDOLET AVE                                                                                 CHICAGO             IL 60633‐1402
SANTELLI, JOHN A             STE 275                          110 WEST FAYETTE STREET                                               SYRACUSE           NY 13202‐1136
SANTELLI, MARY C             4610 EDINBURGH CT                                                                                      JOLIET              IL 60431‐7520
SANTELLI, SHELBA J           9305 40TH WAY                                                                                          PINELLAS PARK      FL 33782‐5652
SANTEN, ANN E                1395 ALICE ST                                                                                          COLLINSVIILE        IL 62234‐4502
SANTER, MATTHEW
SANTERRE ANTHONY             8200 BLACKJACK OAK CT                                                                                  HARRISBURG        NC    28075‐7612
SANTERRE, KAREN              13548 E STREET RD                                                                                      MONTROSE          MI    48457
SANTERRE, NORMA L            2265 TOMAHAWK DR                                                                                       LAPEER            MI    48446‐8034
SANTERRE, RICHARD E          13548 E STREET RD                                                                                      MONTROSE          MI    48457‐9338
SANTEUFEMIA, MARGARET        8225 CAROLE LN                                                                                         WASHINGTON        MI    48094‐2948
SANTFANT, JESSE J            128 EVERGREEN CT                                                                                       MT STERLING       KY    40353‐8203
SANTFANT, STEPHEN R          511 FORSYTHE AVE                                                                                       GIRARD            OH    44420‐2211
SANTHA, JOSEPH J             618 HALLOCK YOUNG RD                                                                                   MINERAL RIDGE     OH    44440
SANTHANY, BRIAN S            4761 NORTHRIDGE                                                                                        AUBURN            MI    48611‐9500
SANTHANY, EUGENE E           1200 S MILLER RD                                                                                       SAGINAW           MI    48609‐9586
SANTHESON CARL               5070 9TH LN                                                                                            VERO BEACH        FL    32966‐2821
SANTHIN, RONALD C            4704 NE 24TH AVE                                                                                       VANCOUVER         WA    98663‐2073
SANTHOUSE, JOHN W            3 BOURCHIER DRIVE                                                           BAMPTON DEVON GREAT
                                                                                                         BRITAIN EX169PX
SANTHUFF JR, WILLIAM F       10339 FURNACE CREEK RD                                                                                 POTOSI            MO 63664‐5692
SANTI BULNES
SANTI, EUGENE A              2162 14TH AVE                                                                                          SAN FRANCISCO     CA    94116‐1839
SANTI, VINCENT               2713 14TH ST                                                                                           SANDUSKY          OH    44870‐5060
SANTIAGA CARRIZALES          117 E PLUM ST                                                                                          DESHLER           OH    43516‐1255
SANTIAGO ALMANZA             1176 KARNES AVE                                                                                        DEFIANCE          OH    43512‐3022
SANTIAGO ANGEL (447499)      KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                         CLEVELAND         OH    44114
                                                              BOND COURT BUILDING
SANTIAGO CARRANZA            350 ANTON DRIVE                                                                                        SAN ANTONIO        TX   78223‐3322
SANTIAGO CASTILLO            8514 CHARTER CLUB CIR APT 11                                                                           FORT MYERS         FL   33919
SANTIAGO CASTILLO LTD.       69                                                                          BELIZE CITY BELIZE
SANTIAGO DUCO, JUAN E        5588 MADRID DR                                                                                         AUSTINTOWN        OH    44515‐4155
SANTIAGO DUCO, JUAN EMILIO   5588 MADRID DR                                                                                         AUSTINTOWN        OH    44515‐4155
SANTIAGO DURAN               706 GARFIELD AVE                                                                                       BAY CITY          MI    48708‐7144
SANTIAGO FONTANES JR         25 HEMLOCK LN                                                                                          MONTICELLO        NY    12701‐4509
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Name                          Address1                         Address2                        Address3                     Address4              City            State Zip
SANTIAGO FRANCISCO (492668)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD       OH 44067
                                                               PROFESSIONAL BLDG
SANTIAGO GARCIA               8415 BALDWIN RD                                                                                                     GOODRICH        MI    48438‐9015
SANTIAGO GARZA                4194 2 MILE RD                                                                                                      BAY CITY        MI    48706‐2322
SANTIAGO GOENAGA              2613 WALDEN CT                                                                                                      KISSIMMEE       FL    34743‐6035
SANTIAGO GOMEZ                PO BOX 3222                                                                                                         ANTHONY         NM    88021‐3222
SANTIAGO GONZALEZ             801 E BUTLER DR                                                                                                     PHOENIX         AZ    85020‐3450
SANTIAGO J QUINTANILLA JR     1390 N JOSSMAN RD                                                                                                   ORTONVILLE      MI    48462‐9078
SANTIAGO J ZAMORA             24242 GRANGE                                                                                                        MT CLEMENS      MI    48036‐3006
SANTIAGO JOSE (499379)        LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                                            MIAMI           FL    33143‐5163
SANTIAGO JOSE ANIBAL          83 COMBINE LANE SOUTHEAST                                                                                           LELAND          NC    28451‐9651
SANTIAGO JR, ANGELO           110 GREYSTONE LN APT 16                                                                                             ROCHESTER       NY    14618‐4908
SANTIAGO LOPEZ                4720 WILCOX RD                                                                                                      HOLT            MI    48842‐1520
SANTIAGO MARTINEZ             3517 WATERTON CV                                                                                                    FORT WAYNE      IN    46804‐8600
SANTIAGO MARTINEZ JR          512 MAGNOLIA AVE                                                                                                    ROYAL OAK       MI    48073‐4016
SANTIAGO MEDINA               4133 OLD MISSION RD                                                                                                 TRAVERSE CITY   MI    49686‐8728
SANTIAGO MEJIA                4300 N TOWERLINE RD                                                                                                 SAGINAW         MI    48601‐9243
SANTIAGO MONTEZ               6322 E INDIGO ST                                                                                                    MESA            AZ    85205‐3669
SANTIAGO ORTEGA               3029 GREENHAVEN CT                                                                                                  ELLICOTT CITY   MD    21042‐7830
SANTIAGO ORTIZ JR             417 ALVA DR                                                                                                         GRAND PRAIRIE   TX    75052‐6002
SANTIAGO P ORTIZ JR           417 ALVA DR                                                                                                         GRAND PRAIRIE   TX    75052‐6002
SANTIAGO PEDROZA              1808 N 34TH ST                                                                                                      MCALLEN         TX    78501‐3524
SANTIAGO QUINTANILLA          107 N VIRGINIA AVE                                                                                                  MERCEDES        TX    78570‐2640
SANTIAGO RIVERA               C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                                         BOSTON HTS      OH    44236
SANTIAGO RIVERA JR            1240 MANOR AVE                                                                                                      BRONX           NY    10472‐2404
SANTIAGO ROSALES              ATTN: ROBERT W PHILLIPS          SIMMONS BROWDER GIANARIS        707 BERKSHIRE BLVD, PO BOX                         EAST ALTON       IL   62024
                                                               ANGELIDES & BARNERD LLC         521
SANTIAGO RUBIN                52 GUYON AVE                                                                                                        STATEN ISLAND   NY    10306‐2019
SANTIAGO RUIZ                 1904 18TH ST                                                                                                        BAY CITY        MI    48708‐7515
SANTIAGO S ALMANZA            1176 KARNES AVE                                                                                                     DEFIANCE        OH    43512‐3022
SANTIAGO SANCHEZ              513 HAMRICK AVE                                                                                                     ROMEOVILLE      IL    60446‐1641
SANTIAGO SANCHEZ PEREZ        SAN FRANCISCO 45‐5A                                                                           VINAROZ (CASTELLON)
                                                                                                                            12500 SPAIN
SANTIAGO SR, JUAN             34 DAVIS ST                                                                                                         SPRINGFIELD     MA    01104‐2222
SANTIAGO SR, JUAN             530 DEGLER ST APT 1                                                                                                 DEFIANCE        OH    43512‐2555
SANTIAGO VASQUEZ              6006 CYPRESS ST                                                                                                     HASLETT         MI    48840‐8214
SANTIAGO, ALEXANDER           PO BOX 11383                                                                                                        INDIANAPOLIS    IN    46201‐0383
SANTIAGO, ALFONSO R           52 W RUTGERS AVE                                                                                                    PONTIAC         MI    48340‐2754
SANTIAGO, AMALIO S            224 FERNCLIFFE DR                                                                                                   ROCHESTER       NY    14621
SANTIAGO, ANGEL               KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                                       CLEVELAND       OH    44114
                                                               BOND COURT BUILDING
SANTIAGO, ANGELA              113 RIDGE AVE                                                                                                       PARK RIDGE      NJ    07656‐1630
SANTIAGO, ANN C               147 83 GRAND CTRL PKWAY APT GA                                                                                      JAMAICA         NY    11435
SANTIAGO, ANTOLINO D          811 N 4TH ST                                                                                                        CAMDEN          NJ    08102‐2605
SANTIAGO, ANTONIO             11 JASON CT                                                                                                         MATAWAN         NJ    07747‐3510
SANTIAGO, BRIDGETT            1204 MAPLE AVE                                                                                                      FORT WAYNE      IN    46807‐1014
SANTIAGO, CARLOS              14367 SANDY BEACH RD                                                                                                MANITOU BEACH   MI    49253‐9778
SANTIAGO, CARLOS              PO BOX 195012                                                                                                       WINTER SPGS     FL    32719‐5012
SANTIAGO, CARLOS R            MANS DE LOS CEDROS               51 CALLE FICUS                                                                     CAYEY           PR    00736‐5611
SANTIAGO, CARMEN              9398 HORSEMILL RD                                                                                                   GROSSE ILE      MI    48138‐1234
SANTIAGO, CHRISTINA           (SV PASSENGER)
SANTIAGO, DAMARISZ
                           09-50026-mg             Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                       Address1                         Address2                       Address3   Address4               City               State Zip
SANTIAGO, ELVYN            10611 MOUNT GLEASON AVE                                                                           SUNLAND             CA 91040‐2919
SANTIAGO, EMMA             G10 CALLE TURIN                  URB EXT VILLA CAPRI                                              RIO PIEDRAS         PR 00924‐5029
SANTIAGO, ERMITANO         299 N CARPENTER RD                                                                                BRUNSWICK           OH 44212‐1319
SANTIAGO, FELICITA         1262 ADEE AVE                                                                                     BRONX               NY 10469‐5137
SANTIAGO, FRANCISCO        BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD          OH 44067
                                                            PROFESSIONAL BLDG
SANTIAGO, GLORIA           PO BOX 4444                                                                                       WINTER PARK         FL   32793‐4444
SANTIAGO, GLORIA           P.O.BOX 4444                                                                                      WINTER PARK         FL   32793‐4444
SANTIAGO, HECTOR L         HL‐7 CALLE AMALIA                TOA BAJA ,PAOLI/LEVITT 950                TOA BAJA PUERTO RICO
SANTIAGO, JAIME            134 NORTHLANE DR                                                                                  ROCHESTER          NY    14621‐2543
SANTIAGO, JOE N            1928 PAISLEY ST                                                                                   YOUNGSTOWN         OH    44511‐1025
SANTIAGO, JORGE L          103 MARIGOLD AVE                                                                                  BUFFALO            NY    14215‐2121
SANTIAGO, JOSE             C/O THE LIPMAN LAW FIRM          5915 PONCE DE LEON BLVD        SUITE 44                          CORAL GABLES       FL    33146
SANTIAGO, JOSE             15 MELVILLE RD                                                                                    EDISON             NJ    08817‐4633
SANTIAGO, JOSE             LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                          MIAMI              FL    33143‐5163
SANTIAGO, JOSE J           391 COITSVILLE RD                                                                                 CAMPBELL           OH    44405‐1152
SANTIAGO, JOSEPH L         697 SANDERSON AVE                                                                                 CAMPBELL           OH    44405‐1426
SANTIAGO, JUAN J           3318 N SPRINGFIELD AVE                                                                            CHICAGO            IL    60618‐5112
SANTIAGO, JULIO C          4509 S WOOD ST                                                                                    CHICAGO            IL    60609‐3815
SANTIAGO, LOUIS E          10272 SPRING HILL DR                                                                              SPRING HILL        FL    34608‐6677
SANTIAGO, LUIS             4904 GENERAL STERLING PRICE PL                                                                    BOSSIER CITY       LA    71112‐4762
SANTIAGO, LUIS             PO BOX 520                                                                                        BRONX              NY    10467‐0520
SANTIAGO, LUIS R           70 GURLEY RD                                                                                      EDISON             NJ    08817‐4530
SANTIAGO, MANUEL H         1762 SETTLER DR                                                                                   FORT MYERS         FL    33905‐3325
SANTIAGO, MANUEL R         PO BOX 366757                                                                                     SAN JUAN           PR    00936‐6757
SANTIAGO, MARIA E          2310 S GREEN BAY RD STE C                                                                         RACINE             WI    53406‐4954
SANTIAGO, MARIA E          688 S GLENHURST DR                                                                                BIRMINGHAM         MI    48009‐2912
SANTIAGO, MARITZA          PO BOX 6022 PMB 237                                                                               CAROLINA           PR    00988‐6022
SANTIAGO, MIGUEL A         2115 CALLE MOTILLO                                                                                PONCE              PR    00716
SANTIAGO, NANCY            1211 SW GOODMAN AVE                                                                               PORT ST LUCIE      FL    34953‐1436
SANTIAGO, NANCY            273 NEW RIVER RD                                                                                  TIFTON             GA    31794
SANTIAGO, NESTOR L         179 FRANKLYN RD                                                                                   EWING              NJ    08628‐3211
SANTIAGO, NOEL L           26 DOUGLAS AVE                                                                                    SOMERSET           NJ    08873‐3227
SANTIAGO, ORLANDO          17667 BEACH LN                                                                                    LAKE MILTON        OH    44429‐9742
SANTIAGO, PAUL             11 BURNING TREE DR                                                                                HILTON             NY    14468‐1001
SANTIAGO, PAULA J          724 BOWIE BLVD                                                                                    ORANGE PARK        FL    32073‐4210
SANTIAGO, PEDRO J          13736 GLENRIO DR                                                                                  STERLING HEIGHTS   MI    48313‐4200
SANTIAGO, RICARDO          3903 GENERAL LEE RD                                                                               CULLEOKA           TN    38451
SANTIAGO, ROGELIO          PO BOX 242                                                                                        NAGUABO            PR    00718‐0242
SANTIAGO, SAUL             PO BOX 1309                                                                                       BAJADERO           PR    00616‐1309
SANTIAGO, SUZETTE          299 N CARPENTER RD                                                                                BRUNSWICK          OH    44212‐1319
SANTIAGO, SYLVIA           PO BOX 9022                      C/O GMODC SINGAPORE                                              WARREN             MI    48090‐9022
SANTIAGO, VICTOR           DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 RIVERDALE          NY    10463
SANTIAGO, WALTER           6288 OCEAN PINES LN                                                                               SPRING HILL        FL    34606‐3534
SANTIAGO, WILFREDO         611 ROBINSON RD                                                                                   CAMPBELL           OH    44405‐2030
SANTIAGO,MATTHEW           6104 GARCIA LANE                                                                                  FORT WORTH         TX    76140‐7824
SANTIAGO‐KELTY, DIANE M    PO BOX 11181                                                                                      YOUNGSTOWN         OH    44511‐0181
SANTIAGO‐NIEVES, CLARA C   547 W MYRTLE AVE                                                                                  YOUNGSTOWN         OH    44511‐1521
SANTIANO, HERMINIO M       2484 EGGERT RD                                                                                    TONAWANDA          NY    14150‐9215
SANTIBANEZ, GUADALUPE      3319 CHRISTINE DR                                                                                 LANSING            MI    48911‐1314
SANTIBANEZ, MARIA          3311 KILBERRY RD                                                                                  LANSING            MI    48911‐1562
SANTIFUL JR, CLAUDIE       50 SAINT ANDREWS PL APT 7J                                                                        YONKERS            NY    10705‐3148
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Name                           Address1                        Address2                Address3     Address4         City               State Zip
SANTILENA, THOMAS L            633 OAKES BLVD                                                                        SAN LEANDRO         CA 94577
SANTILLA, ANN M                8960 EAST 13TH STREET                                                                 TULSA               OK 74112‐8110
SANTILLA, ANN M                8960 E 13TH ST                                                                        TULSA               OK 74112‐8110
SANTILLAN LUIS                 9917 BOGARDUS AVE                                                                     WHITTIER            CA 90603‐1537
SANTILLAN, HECTOR P            4961 E LECKIE LN                                                                      SAGINAW             MI 48603‐9630
SANTILLAN, JOHN J              7015 N DENVER AVE                                                                     KANSAS CITY         MO 64119‐8625
SANTILLAN, MICHAEL A           8709 W 65TH ST APT 103                                                                MERRIAM             KS 66202‐3611
SANTILLAN, XAVIER G            940 FURLONG DR                                                                        GRAND PRAIRIE       TX 75051‐8392
SANTILLANO, IRMA V             2944 RIPTLING SPRING STREET                                                           LAUGHLIN            NV 89029
SANTILLANO, VICTOR M           2752 WHITE OAK DR                                                                     GRAND PRAIRIE       TX 75052‐4464
SANTILLI, ANTONIO              29 HIGHVIEW CIR                                                                       MIDDLETOWN          NJ 07748‐2811
SANTILLI, EMMA                 54545 CAMBRIDGE DR                                                                    SHELBY TOWNSHIP     MI 48315‐1609
SANTILLI, JAMES D              6861 VILLA HERMOSA DR                                                                 EL PASO             TX 79912‐2320
SANTILLI, JOHN                 3490 S CENTURY OAK CIR                                                                OAKLAND             MI 48363‐2642
SANTILLI, LOLA M               832 S. HAZELWOOD                                                                      YOUNGSTOWN          OH 44509‐2234
SANTILLI, LOLA M               832 S HAZELWOOD AVE                                                                   YOUNGSTOWN          OH 44509‐2234
SANTILLI, MARLENE J            224 OWL CT                                                                            FREMONT             CA 94539‐6200
SANTILLI, RINALDO              6620 WILDWOOD CT                                                                      LISLE                IL 60532‐3449
SANTILLI, ROBERT A             9446 SILVERSIDE                                                                       SOUTH LYON          MI 48178‐8809
SANTILLI, ROBERT ALFREDO       9446 SILVERSIDE                                                                       SOUTH LYON          MI 48178‐8809
SANTILLI, VINCENT J            1479 BEXLEY DR                                                                        AUSTINTOWN          OH 44515‐3835
SANTILLO, DANIEL W             37 LUCENA DR                                                                          ROCHESTER           NY 14606‐4001
SANTILLO, RALPH E              7060 LINCOLN AVENUE EXT                                                               LOCKPORT            NY 14094‐6218
SANTIMARINO, LEROY J           439 N LIBERTY ST                                                                      E PALESTINE         OH 44413‐2149
SANTIMO, ESTER M               PO BOX 163                                                                            ROGERS CITY         MI 49779‐0163
SANTIN MICHAEL J               46775 MOUNTAIN COVE DR                                                                INDIAN WELLS        CA 92210‐6100
SANTIN, ANNA B                 108 LOT                                                                               MERIDEN             CT 06451
SANTINA BRUNO                  300 CRANBERRY LANDING DR                                                              ROCHESTER           NY 14609
SANTINA CALISTO                5346 MALLARD ROOST                                                                    WILLIAMSVILLE       NY 14221‐8525
SANTINA CRAWFORD               3828 E 186TH ST                                                                       CLEVELAND           OH 44122‐6559
SANTINA HAWK                   4931 MEYER RD                                                                         NORTH TONAWANDA     NY 14120‐9580
SANTINA J CHIODO               508 E MOLLOY RD                                                                       SYRACUSE            NY 13211‐1644
SANTINA LORENZ                 156 SHERWOOD AVE                                                                      TRENTON             NJ 08619‐4316
SANTINA M CRAWFORD             3828 E 186TH ST                                                                       CLEVELAND           OH 44122‐6559
SANTINA PRICOLA                62 MECHANIC ST                  P.O. BOX 9                                            ELBA                NY 14058‐9766
SANTINA REILLY                 N3475 INDIAN ECHOES LN                                                                MONTELLO            WI 53949‐9032
SANTINA VALENTE                55 HUBER RD                                                                           WAPPINGERS FALLS    NY 12590‐7519
SANTINA ZOLIN                  74605 DEQUINDRE RD                                                                    LEONARD             MI 48367‐3106
SANTINELLO RONALD J (635146)   THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                  BOSTON              MA 02110‐2104
SANTINELLO, RONALD J           THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                  BOSTON              MA 02110‐2104
SANTINI ANGELO (353662)        ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                   NEW YORK            NY 10006‐1638
SANTINI, ANGELO                ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                   NEW YORK            NY 10006‐1638
SANTINI, JOSEPH                5694 AARON DR                                                                         LOCKPORT            NY 14094‐6002
SANTINI, MARIA A               5694 AARON DR                                                                         LOCKPORT            NY 14094‐6002
SANTINI, ROBERT F              1724 MAPLEWOOD AVE                                                                    LANSING             MI 48910‐1523
SANTINO CARRABBIO              55884 PARKVIEW DR                                                                     SHELBY TOWNSHIP     MI 48316‐1035
SANTINO CASTILLO               10230 HART HWY                                                                        DIMONDALE           MI 48821‐9531
SANTINO COPPOLINO              VIA BASILICATA 17
SANTINO COPPOLINO              VIA BASILICATA,17               98051 BARCELLONA (ME)   (ITALY)
SANTINO, JAMES C               10741 CANADA WAY                                                                      BIRCH RUN          MI 48415
SANTINO, JOSEPH A              PO BOX 3592                                                                           NORTH BRANCH       MI 48461‐0592
SANTINO, KATHERINE G           1020 N SAGINAW                                                                        ST CHARLES         MI 48655‐1022
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Name                                Address1                          Address2                            Address3   Address4             City              State Zip
SANTINOCETO, ROSE N                 1463 HILLCREST AVE APT 35                                                                             NILES              OH 44446‐3757
SANTIONI, MARIA G                   16611 ROSA LN                                                                                         SOUTHGATE          MI 48195‐6805
SANTIONI, SAURO                     1313 DACOSTA ST                                                                                       DEARBORN           MI 48128‐1426
SANTISI ANTHONY (627980)            HOWARD BRENNER & GARRIGAN‐NASS    1608 WALNUT ST , 17TH FLOOR                                         PHILADELPHIA       PA 19103

SANTISI, ANTHONY                    HOWARD BRENNER & GARRIGAN‐NASS    1608 WALNUT ST, 17TH FLOOR                                          PHILADELPHIA      PA 19103

SANTISI, DONALD TRUCK BROKERS INC   1730 HUBBARD RD                                                                                       YOUNGSTOWN        OH 44505‐3124
SANTISTEBAN, HELEN L                7857 NW ROANRIDGE RD APT I                                                                            KANSAS CITY       MO 64151‐5275
SANTISTEBAN, HUGO                   25311 CALAROGA AVE                                                                                    HAYWARD           CA 94545‐2503
SANTISTEVAN MARK                    1704 CATHAM LN                                                                                        SPARKS            NV 89434‐6740
SANTISTEVAN, ALBERT C               5155 MAPLEWOOD DR                                                                                     GREENDALE         WI 53129‐1415
SANTISTEVAN, MARK F                 1704 CATHAM LN                                                                                        SPARKS            NV 89434‐6740
SANTISTEVAN, MARY ELLEN             2226 NORMAN LN                                                                                        PUEBLO            CO 81005‐3358
SANTITA DRUMMER                     5297 KIMBERLY WOODS CIR                                                                               FLINT             MI 48504‐1109
SANTLEY, RICHARD N                  36 RUMBOLD AVE                                                                                        N TONAWANDA       NY 14120‐4620
SANTMYER, DONALD L                  3500 MILLSBORO RD W                                                                                   MANSFIELD         OH 44903‐7706
SANTMYER, KENNETH R                 605 ROGERS AVE                                                                                        CONNELLSVILLE     PA 15425‐2144
SANTMYER, LEROY E                   20 HARDING HEIGHTS BOULEVA                                                                            MANSFIELD         OH 44906
SANTMYER, STEVEN R                  200 S ROCK RD                                                                                         MANSFIELD         OH 44903‐9269
SANTMYERS, MELVILLE W               615 CYPRESS ST                                                                                        BEAUMONT          CA 92223‐4759
SANTO ATKINSON                      BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.       OH 44236
SANTO CARDINALE                     30 TIMBERLINK DR                                                                                      GRAND ISLAND      NY 14072‐2176
SANTO CONDORELLI                    VIA ANTONIO DE CURTIS 26                                                                              PEDARA‐CT            95030
SANTO DANGELO                       1745 WOODRIDGE LN APT D                                                                               FLORISSANT        MO 63033‐1920
SANTO DOMINGO AMY                   SANTO DOMINGO, AMY                6114 LASALLE PMB 214                                                OAKLAND           CA 94611
SANTO DOMINGO MOTORS                SS 13 GMDAT                                                                      GMDAT DOMINICAN
                                                                                                                     REPUBLIC
SANTO DOMINGO MOTORS C POR A        P.O.BOX 800                                                                      SANTO DOMINGO
                                                                                                                     DOMINICAN REPUBLIC
SANTO DOMINGO, AMY                  PARISH JEFFREY J LAW OFFICES      6114 LA SALLE AVE PMB 214                                           OAKLAND           CA   94611‐2802
SANTO DUGHETTI                      1358 PINE CT APT 1                                                                                    SCHERERVILLE      IN   46375‐1072
SANTO FANARA                        21 CHRISTOPHER RD                                                                                     WALTHAM           MA   02451‐1312
SANTO GIARDINA                      306 MICHIGAN AVE                                                                                      SANDUSKY          OH   44870‐7331
SANTO J CONIGLIO                    117 HUTCHINGS RD                                                                                      ROCHESTER         NY   14624‐1019
SANTO MAIMONE                       941 HERMANN RD                                                                                        NORTH BRUNSWICK   NJ   08902‐2344
SANTO MICHAEL A (644709)            EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                             NEW YORK          NY   10017‐6530
SANTO REDA                          2684 SPRING MEADOW CIR                                                                                YOUNGSTOWN        OH   44515‐4957
SANTO SANITA                        170 BROEZEL AVE                                                                                       LANCASTER         NY   14086‐1304
SANTO SICILIA                       36498 PERRY GRANGE RD                                                                                 SALEM             OH   44460‐9460
SANTO TALONE JR                     5184 E MAIN STREET RD                                                                                 BATAVIA           NY   14020‐3433
SANTO VALENTIN                      1715 S MERIDIAN RD                                                                                    YOUNGSTOWN        OH   44511‐2016
SANTO, ANTHONY C                    1219 JEFFERSON AVE                                                                                    DEFIANCE          OH   43512‐2809
SANTO, AVELINO E                    16 LILIAN RD                                                                                          FRAMINGHAM        MA   01701‐4821
SANTO, BRENDA C                     150 ENGLEWOOD PLACE                                                                                   ELYRIA            OH   44039
SANTO, DAVID H                      581 N CROOKED LAKE DR                                                                                 LAKE              MI   48632‐9046
SANTO, DUANE G                      333 BELMONT AVE                                                                                       BUFFALO           NY   14223‐1549
SANTO, FRANK J                      109 WHITMAN BLVD                                                                                      ELYRIA            OH   44035‐1723
SANTO, FRANK J.                     109 WHITMAN BLVD                                                                                      ELYRIA            OH   44035‐1723
SANTO, GLENN                        WILENTZ GOLDMAN & SPITZER         88 PINE STREET, WALL STREET PLAZA                                   NEW YORK          NY   10005

SANTO, ILLONA J                     3809 FRAZHO RD                                                                                        WARREN            MI 48091‐1353
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Name                         Address1                            Address2                         Address3   Address4         City              State Zip
SANTO, JAMES                 KIMMEL & SILVERMAN PC               30 EAST BUTLER PIKE, SUITE 310                               AMBLER             PA 19002
SANTO, JOHN                  PORTER & MALOUF PA                  4670 MCWILLIE DR                                             JACKSON            MS 39206‐5621
SANTO, KENNETH F             11909 BLUESTONE RD                                                                               KINGSVILLE         MD 21087‐1509
SANTO, LORRAINE C.           6829 74TH STREET CIRCLE EAST                                                                     BRADENTON          FL 34203‐7184
SANTO, MICHAEL A             EARLY LUDWICK SWEENEY & STRAUSS     360 LEXINGTON AVE FL 20                                      NEW YORK           NY 10017‐6530
SANTO, MICHAEL A             1963 OLD FARM TRL                                                                                YOUNGSTOWN         OH 44515‐5624
SANTO, ROBERT A              27872 AYERSVILLE PLEASANT BEND RD                                                                DEFIANCE           OH 43512‐8840
SANTO, ROBERT ANTHONY        27872 AYERSVILLE PLEASANT BEND RD                                                                DEFIANCE           OH 43512‐8840
SANTO, ROBERT V              1040 RIVER ST                                                                                    EAST TAWAS         MI 48730‐9702
SANTO, SEBASTIO D            150 EDGEWATER DR                                                                                 FRAMINGHAM         MA 01702‐5617
SANTO, STEPHEN L             1669 TWIN DR                                                                                     DEFIANCE           OH 43512‐3639
SANTOIEMMA, ANTONINO         46 RAMBLEWOOD DR                                                                                 NEWBURGH           NY 12550‐8784
SANTOLA, PHYLLIS A           2150 S SHORE ACRES RD                                                                            SODDY DAISY        TN 37379‐8142
SANTOLERI, ENNIO M           111 LUCINDA LN                                                                                   ROCHESTER          NY 14626‐1286
SANTOLERI, ENNIO M           111 LUCINDA LANE                                                                                 ROCHESTER          NY 14626‐1286
SANTOLERI, GIORGIO G         38 REDWOOD DR                                                                                    ROCHESTER          NY 14617‐4717
SANTOLERI, GIOVANNI L        26 BELLE TERRE LN                                                                                ROCHESTER          NY 14626‐4737
SANTOLI, DANIEL N            1730 PENFIELD RD APT 32                                                                          PENFIELD           NY 14526‐2127
SANTOLI, MARY A              901 EMBURY RD                                                                                    PENFIELD           NY 14526‐9705
SANTOLI, RONALD W            901 EMBURY RD                                                                                    PENFIELD           NY 14526‐9705
SANTOMAURO, JAMES A          21 CULPEPPER RD                                                                                  WILLIAMSVILLE      NY 14221‐3643
SANTOME, SORIANO             4707 EBENEZER RD                                                                                 BALTIMORE          MD 21236‐1908
SANTOMERO LUIGI (416241)     ANGELOS PETER G LAW OFFICE          115 BROADWAY FRNT 3                                          NEW YORK           NY 10006‐1638
SANTOMERO, LUIGI             ANGELOS PETER G LAW OFFICE          115 BROADWAY FRNT 3                                          NEW YORK           NY 10006‐1638
SANTONASTASO, ANTHONY P      205 SIENNA DR                                                                                    LITTLE RIVER       SC 29566‐7095
SANTONASTASO, LUIGI          1571 MANITOU RD                                                                                  ROCHESTER          NY 14626‐1019
SANTONASTASO, VINCENT        59 BAYARD RD                                                                                     SOMERSET           NJ 08873‐7257
SANTONATO, JOSEPHINE G       58 MARRANO DR                                                                                    DEPEW              NY 14043‐1624
SANTONI, A S                 135 CAPT JOHN FRIPP VILLAS          FRIPP ISLAND                                                 ST HELENA IS       SC 29920‐7349
SANTONYA RILEY               2237 SALT ST                                                                                     SAGINAW            MI 48602‐1267
SANTOPATRE, JEAN MARIE       STRAUSS ELLEN LF                    88 LADDER HILL RD N                                          WESTON             CT 06883‐1107
SANTOR, CLAYTON J            26 MERRITT PL                                                                                    MERIDEN            CT 06450‐4617
SANTOR, DEAN A               29 CASS ST                                                                                       MERIDEN            CT 06450‐5906
SANTOR, MARJORIE L           2104 TRAVERSE CREEK DR                                                                           MILFORD            OH 45150‐5081
SANTOR, MAURICE S            300 BRITANNIA ST APT 22                                                                          MERIDEN            CT 06450‐2276
SANTOR, MONICA A             101 SOUTHFIELD DR                                                                                WILLISTON          VT 05495‐5211
SANTOR, RONALD P             617 LIVINGSTON DR                                                                                NEW LENOX           IL 60451‐1628
SANTOR, WILLIAM G            440 INDIANOLA RD                                                                                 YOUNGSTOWN         OH 44512‐2304
SANTORA, EDWARD R            3 WOODROW RD                                                                                     BATAVIA            NY 14020‐1201
SANTORE JR, PHILLIP          50 KNOLLWOOD DR                                                                                  BRANFORD           CT 06405‐3914
SANTORE, DONALD A            958 LITTLE BARDFIELD RD                                                                          WEBSTER            NY 14580‐8929
SANTORE, ERMA E              2017 GREEN RD                                                                                    CLEVELAND          OH 44121‐1109
SANTORELLI ROBERT (401572)   ANGELOS PETER G LAW OFFICE          115 BROADWAY FRNT 3                                          NEW YORK           NY 10006‐1638
SANTORELLI, ROBERT           ANGELOS PETER G LAW OFFICE          115 BROADWAY FRNT 3                                          NEW YORK           NY 10006‐1638
SANTORI, ANNE M              47691 PROVINCE CT                                                                                SHELBY TOWNSHIP    MI 48315‐4668
SANTORI, ANNE MARIE          47691 PROVINCE CT                                                                                SHELBY TOWNSHIP    MI 48315‐4668
SANTORIELLO, THOMAS J        150 ALTON RD #610‐S                 REBECCA TOWERS APTS                                          MIAMI BEACH        FL 33139
SANTORO FRANK                ABBENDA, LUISAMARIA                 319 BROADWAY                                                 NEW YORK           NY 10007
SANTORO FRANK                FRIESEN, ROLLIN                     319 BROADWAY                                                 NEW YORK           NY 10007
SANTORO FRANK                FRIESEN, YVONNE                     319 BROADWAY                                                 NEW YORK           NY 10007
SANTORO FRANK                MANCINO, LETIZIA                    319 BROADWAY                                                 NEW YORK           NY 10007
SANTORO FRANK                MANCINO, VINCENZO                   319 BROADWAY                                                 NEW YORK           NY 10007
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Name                           Address1                            Address2                        Address3   Address4         City           State Zip
SANTORO FRANK                  SANTORO, FRANK                      515 MADISON AVE RM 1118                                     NEW YORK        NY 10022‐5456
SANTORO FRANK                  SANTORO, FRANK                      319 BROADWAY                                                NEW YORK        NY 10007
SANTORO FRANK                  SANTORO, MARY                       319 BROADWAY                                                NEW YORK        NY 10007
SANTORO JOSEPH (463721)        EARLY LUDWICK & SWEENEY L.L.C.      ONE CENTURY TOWER, 11TH FLOOR ,                             NEW HAVEN       CT 06510
                                                                   265 CHURCH STREET
SANTORO MARIA (654426)         BIFFERATO GENTILOTTI & BIDEN        PO BOX 2165                                                 WILMINGTON     DE   19899‐2165
SANTORO NICK                   3735 VILLA ROSA DR                                                                              CANFIELD       OH   44406‐8073
SANTORO SHAWN                  SANTORO, SHAWN                      482 ELLIS STREET                                            NEW BRITAIN    CT   06051
SANTORO, BARBARA               97 HONOR RD                                                                                     WEST HAVEN     CT   06516‐6837
SANTORO, BONNA J               1289 ADDISON AVE                                                                                THE VILLAGES   FL   32162‐7634
SANTORO, BRENDA L              19935 SHERWOOD RD                                                                               BELLEVILLE     MI   48111‐9376
SANTORO, CARMINE T             6801 RHINEVIEW CT                                                                               DAYTON         OH   45459‐1228
SANTORO, CHRIS                 5847 CHENOWETH RD                                                                               WAYNESVILLE    OH   45068‐9181
SANTORO, DELMA H               7484 OAK HWY                                                                                    CHARLOTTE      MI   48813‐9341
SANTORO, ELIZABETH             243 COURTLAND AVE                                                                               CAMPBELL       OH   44405‐1003
SANTORO, ELIZABETH             243 COURTLAND                                                                                   CAMPBELL       OH   44405‐1003
SANTORO, FRANK                 DURST LAW FIRM PC                   319 BROADWAY                                                NEW YORK       NY   10007
SANTORO, FRANK                 DEARIE & ASSOCIATES JOHN C          515 MADISON AVE RM 1118                                     NEW YORK       NY   10022‐5456
SANTORO, GIUSEPPE              36156 LA MARRA DR                                                                               STERLING HTS   MI   48310‐4562
SANTORO, JENNIFER L            19935 SHERWOOD RD                                                                               BELLEVILLE     MI   48111‐9376
SANTORO, JOHN M                46268 WILLIS RD                                                                                 BELLEVILLE     MI   48111‐8972
SANTORO, JOHN MICHAEL          46268 WILLIS RD                                                                                 BELLEVILLE     MI   48111‐8972
SANTORO, JOSEPH                EARLY LUDWICK & SWEENEY L.L.C.      ONE CENTURY TOWER, 11TH FLOOR,                              NEW HAVEN      CT   06508‐1866
                                                                   265 CHURCH STREET
SANTORO, JOSEPHINE J           160 LIVE OAK WOODS CT APT 4C                                                                    DELTONA        FL   32725‐8923
SANTORO, M A                   7130 AMBERLEIGH WAY                                                                             DULUTH         GA   30097‐1895
SANTORO, MARCELLA V            12650 22 MILE RD                                                                                SHELBY TWP     MI   48315‐4102
SANTORO, MARIA                 BIFFERATO GENTILOTTI & BIDEN        PO BOX 2165                                                 WILMINGTON     DE   19899‐2165
SANTORO, MARY                  DURST LAW FIRM PC                   319 BROADWAY                                                NEW YORK       NY   10007
SANTORO, MATT JOHN             19935 SHERWOOD RD                                                                               BELLEVILLE     MI   48111‐9376
SANTORO, MICHELL V             4401 POINT BOULVARD                 APT 7204                                                    GARLAND        TX   75043
SANTORO, MICHELL V             4401 POINT BLVD APT 7204                                                                        GARLAND        TX   75043‐7737
SANTORO, PAULINE E             102 PROVIDENCE ST                                                                               MENDON         MA   01756‐1318
SANTORO, PETER J               15330 JOAN ST                                                                                   OAK PARK       MI   48237‐1987
SANTORO, ROBERT C              15607 W 152ND TER                                                                               OLATHE         KS   66062‐3032
SANTORO, ROBERT P              12650 22 MILE RD                                                                                SHELBY TWP     MI   48315‐4102
SANTORO, ROSE                  125 BALTIMORE AVE                                                                               MASSAPEQUA     NY   11758‐4125
SANTORO, SHAWN                 482 ELLIS ST                                                                                    NEW BRITAIN    CT   06051‐3728
SANTORO, UNKNOWN
SANTOS A CHAVEZ                740 SAINT CLAIR ST                                                                              PONTIAC        MI   48340‐2662
SANTOS ALANIZ JR               100 ENCINAL ST                                                                                  ALICE          TX   78332‐5672
SANTOS ALVAREZ                 624 PANAY WAY DR                                                                                FORT WORTH     TX   76108‐3918
SANTOS ALVAREZ                 2155 MALVINA ST                                                                                 LINCOLN PARK   MI   48146‐3433
SANTOS AUTO SERVICE COMPANY    1217 SPRINGFIELD PIKE                                                                           CINCINNATI     OH   45215‐2123
SANTOS BENTANCUR               420 CLEVELAND AVE                                                                               DEFIANCE       OH   43512‐3517
SANTOS CHAVEZ                  14370 ORO GRANDE ST                                                                             SYLMAR         CA   91342‐4148
SANTOS COCA                    8419 JACLYN PARK                                                                                SAN ANTONIO    TX   78250‐2747
SANTOS DANIEL JR (667185)      GALIHER DEROBERTIS NAKAMURA ONO &   610 WARD AVE STE 200                                        HONOLULU       HI   96814‐3308
                               TAKITANI
SANTOS DE ORTEGA, PATRICIA A
SANTOS DELGADO                 752 W. LA JOLLA 11B                                                                             PLACENTIA      CA 92870‐7017
SANTOS DURAN                   9872 ARLETA AVE                                                                                 ARLETA         CA 91331‐4561
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Name                         Address1                        Address2                        Address3   Address4         City               State Zip
SANTOS EDWARD (421941)       EARLY JAMES F                   700 STATE ST                                                NEW HAVEN           CT 06511
SANTOS ESCOBEDO              3008 WISTERIA AVE                                                                           MCALLEN             TX 78504‐2006
SANTOS ESPINOZA              1108 N PALMERA DR                                                                           LA FERIA            TX 78559‐6236
SANTOS FIGUEROA              285 LA PALA DR APT 1                                                                        SAN JOSE            CA 95127‐2139
SANTOS GALARZA               1462 BENWICK WAY                                                                            CASSELBERRY         FL 32707‐3905
SANTOS GALINDO               526 CLINTON ST                                                                              SANDUSKY            OH 44870‐2101
SANTOS GANZALES              THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                 HOUSTON             TX 77017
SANTOS GARCIA
SANTOS GOMEZ                 2294 E DAYTON RD                                                                            CARO               MI 48723‐9574
SANTOS GRIEGO                11 FLORENCE DR                                                                              BEDFORD            IN 47421‐9103
SANTOS H PADILLA             69 RUTTER ST                                                                                ROCHESTER          NY 14606
SANTOS JOAQUIM               NO ADVERSE PARTY
SANTOS JR, FAUSTINO G        468 MEDINA STREET                                                                           EAGLE PASS         TX   78852‐4623
SANTOS JR, JOSE M            403 S WILHELM ST                                                                            HOLGATE            OH   43527‐9746
SANTOS JR, JOSEPH F          6404 RIVER RD                                                                               CASS CITY          MI   48726‐9312
SANTOS JR, RUBEN             1298 W HIGH ST                                                                              DEFIANCE           OH   43512‐1321
SANTOS JR, WILLIAM J         2399 KEENAN ROAD                                                                            MC FARLAND         WI   53558‐9753
SANTOS JUAN (459313)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510
                                                             STREET, SUITE 600
SANTOS MANUEL (447501)       BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                             PROFESSIONAL BLDG
SANTOS MARTINEZ              2048 CANON PRESIDO CT                                                                       ATWATER            CA   95301‐4082
SANTOS MCGILL                PO BOX 1284                                                                                 JANESVILLE         WI   53547‐1284
SANTOS MICHAEL               533 SANDY POINT AVE                                                                         PORTSMOUTH         RI   02871‐3515
SANTOS MONTENEGRO            43206 45TH ST W                                                                             LANCASTER          CA   93536‐5523
SANTOS MORIN                 9747 S COMMERCIAL AVE                                                                       CHICAGO            IL   60617‐5404
SANTOS MURGUIA               21931 CLARKDALE AVE                                                                         HAWAIIAN GARDENS   CA   90716‐1224
SANTOS ORTIZ                 630 EAST MADISON AVENUE                                                                     PONTIAC            MI   48340‐2936
SANTOS QUINTANA              PO BOX 116                                                                                  WILLOW SPGS        IL   60480‐0116
SANTOS REBECCA               SANTOS, JUAN                    9047 FLOWER ST                                              BELLFLOWER         CA   90706‐5605
SANTOS REBECCA               SANTOS, REBECCA                 9047 FLOWER ST                                              BELLFLOWER         CA   90706‐5605
SANTOS REYES                 4092 COUNTRY RD                 SARA BALLARD                                                OTTER LAKE         MI   48464‐9431
SANTOS ROBLES                40 WAKEHURST CT                                                                             SHARPSBURG         GA   30277‐1678
SANTOS SANCHEZ               10565 WOODALE AVE                                                                           MISSION HILLS      CA   91345‐2243
SANTOS SANTANA               3647 W AUBURN RD                                                                            ROCHESTER HLS      MI   48309‐3134
SANTOS SARA                  1379 NORTHERN RIDGE DR                                                                      BRIGHTON           MI   48116‐3700
SANTOS SERMENO               PO BOX 310                                                                                  BLACK ROCK         AR   72415‐0310
SANTOS SERVICE CENTER INC.   560 NORTH AVE                                                                               UNION              NJ   07083‐7110
SANTOS TRUCK & AUTO REPAIR   3431 GALAXY PL                                                                              OXNARD             CA   93030‐8985
SANTOS URBINA                816 NORTH BLVD                                                                              DONNA              TX   78537‐5434
SANTOS VANESSA               1009 PINE VW                                                                                NEW WINDSOR        NY   12553‐4903
SANTOS VASQUEZ               13106 FENTON AVE                                                                            SYLMAR             CA   91342‐4503
SANTOS, ALFRED               72 TWINING AVE                                                                              WATERBURY          CT   06705‐1629
SANTOS, ANGEL J              16214 CANDLELIGHT DR                                                                        WHITTIER           CA   90604‐4006
SANTOS, ANIBAL               H C 01 BOX 3192                                                                             SABANA HOYOS       PR   00688
SANTOS, ANTHONY J            4158 N 580 W                                                                                HUNTINGTON         IN   46750‐8916
SANTOS, ANTONIO C            437 LOOMIS ST                                                                               ELIZABETH          NJ   07206‐1025
SANTOS, ANTONIO N            37935 FARWELL DR                                                                            FREMONT            CA   94536‐7007
SANTOS, ARTHUR               259 MANTON ST                                                                               PAWTUCKET          RI   02861‐4336
SANTOS, BLANCA E             1779 MARKESE AVE                                                                            LINCOLN PARK       MI   48146‐3254
SANTOS, BRUCE A              APT 331                         9007 WEST BELOIT ROAD                                       MILWAUKEE          WI   53227‐4471
SANTOS, CASSONDRA VASQUEZ    102 BOONE CT                                                                                CLEBURNE           TX   76031‐2642
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Name                 Address1                            Address2                      Address3   Address4            City              State Zip
SANTOS, CECILIO      3306 IRISH CIR                                                                                   SHREVEPORT         LA 71119‐3506
SANTOS, CRYSTAL K    237 N 200 W                                                                                      HUNTINGTON         IN 46750‐9258
SANTOS, DANIEL       GALIHER DEROBERTIS NAKAMURA ONO &   610 WARD AVE STE 200                                         HONOLULU           HI 96814‐3308
                     TAKITANI
SANTOS, DIOCELIO C   17960 W NORTHVILLE TRL                                                                           NORTHVILLE        MI    48168‐3247
SANTOS, EDUARDO C    32355 BARCLAY SQ                                                                                 WARREN            MI    48093‐1212
SANTOS, EDWARD       EARLY JAMES F                       700 STATE ST                                                 NEW HAVEN         CT    06508
SANTOS, EDWARD B     2608 VAN ETTEN STREET                                                                            SAGINAW           MI    48601‐3377
SANTOS, ELEAZAR      1622 LAKESIDE DR                                                                                 MISSION           TX    78572‐3000
SANTOS, ELENA H      70 FOREST RIDGE DR                                                                               COLUMBUS          OH    43235
SANTOS, ELMER        2211 HIGHSPLINT DR                                                                               ROCHESTER HILLS   MI    48307‐3730
SANTOS, EUGENE A     880 FOXWOOD DR                                                                                   TRACY             CA    95376‐5305
SANTOS, EUSTOLIA     13833 FAIRGROVE AVE                                                                              LA PUENTE         CA    91746‐1304
SANTOS, FERNANDO I   PO BOX 1330                                                                                      ORLANDO           FL    32802
SANTOS, GARY S       213 CORNERSTONE WAY                                                                              MANTECA           CA    95336‐2885
SANTOS, GEORGIA A    22 WELLWOOD CIR                                                                                  VERNON            CT    06066‐2743
SANTOS, GLORIA       PO BOX 1686                                                                                      HOLLISTER         CA    95024‐1686
SANTOS, GORDON N     1036 CYPRESS PT                                                                                  MANSFIELD         TX    76063‐2639
SANTOS, HARVEY J     1646 LOG CABIN LN                                                                                PARADISE          CA    95969‐4455
SANTOS, HECTOR G     1558 LIBERTY DR                                                                                  HOLLISTER         CA    95023‐5690
SANTOS, HECTOR M     2023 LAKEVIEW RD                                                                                 SPRING HILL       TN    37174‐2300
SANTOS, HELDER       355 CALLE ECUADOR                                                                                BAYAMON           PR    00959‐5707
SANTOS, HONORIA E    267 SPRING ST                                                                                    OSSINING          NY    10562‐5709
SANTOS, IMELDA E     3008 EAGLES CLAW AVE                                                                             THOUSAND OAKS     CA    91362‐1771
SANTOS, INOCENTE     2802 WILSON                                                                                      SAN ANTONIO       TX    78201‐3145
SANTOS, JACK         STARKEY KELLY BLANEY & WHITE        2 HOOPER AVE                                                 TOMS RIVER        NJ    08753‐7604
SANTOS, JAMES M      41205 MAPLE ST                                                                                   QUARTZ HILL       CA    93551‐1901
SANTOS, JERRY J      1723 SUNSHINE LN LOT 75                                                                          DEFIANCE          OH    43512
SANTOS, JESSE H      C/O VIOLA S. ORDAZ                  G‐123 RD 17                                                  HOLGATE           OH    43527
SANTOS, JOAQUIM P    SAO BERNARDINO 2                    #56                           5400‐673   CHAVES PORTUGAL
SANTOS, JOE H        6509 ROAD 144                                                                                    ANTWERP           OH    45813‐9703
SANTOS, JOE L        25 N COUNTY ROAD 820 W                                                                           KOKOMO            IN    46901
SANTOS, JOHN G       10228 WICKENBURG ST NW                                                                           ALBUQUERQUE       NM    87114‐3968
SANTOS, JOHN P       21657 MARYDEE CT                                                                                 HAYWARD           CA    94541‐2466
SANTOS, JOSE A       1393 CARAVELLE DR                                                                                NIAGARA FALLS     NY    14304‐2725
SANTOS, JOSE A       138 TORINGTON WAY                                                                                NEWARK            DE    19702‐2676
SANTOS, JOSE G       16002 LAKE IOLA RD                                                                               DADE CITY         FL    33523‐7408
SANTOS, JOSE J       63 JAMES DR                                                                                      NANUET            NY    10954‐1944
SANTOS, JOSEPH       MOTLEY RICE                         312 S MAIN ST STE 200                                        PROVIDENCE         RI   02903‐7109
SANTOS, JOSEPH A     7198 WYTHE DR                                                                                    NOBLESVILLE       IN    46062‐8262
SANTOS, JR,OSCAR     S83W23825 ARTESIAN AVE                                                                           BIG BEND          WI    53103‐9498
SANTOS, JUAN         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA    23510‐2212
                                                         STREET, SUITE 600
SANTOS, JUAN         8623 RAIN DANCE                                                                                  SAN ANTONIO       TX    78242‐2650
SANTOS, JULIAN F     59 PARK AVE                                                                                      RUMSON            NJ    07760‐1536
SANTOS, KATHLEEN M   W806 HARMONY LN                                                                                  EAST TROY         WI    53120‐2238
SANTOS, LIONEL J     239 2ND ST                                                                                       ELIZABETH         NJ    07206‐2056
SANTOS, LORETTA W    300 SHADOW LN                                                                                    EULESS            TX    76039‐2252
SANTOS, LUIS A       5750 HARRISON ST                                                                                 GARDEN CITY       MI    48135‐2945
SANTOS, LUIS A       CALLE 13A CY12 BAIROA                                                                            CAGUAS            PR    00725
SANTOS, LUIS E       3116 HAWKS RIDGE DR                                                                              LAKELAND          FL    33810‐4007
SANTOS, LUIS S       2111 E MITCHELL ST                                                                               ARLINGTON         TX    76010‐3151
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Name                         Address1                           Address2              Address3           Address4         City              State Zip
SANTOS, LUIS SALAS           2111 E MITCHELL ST                                                                           ARLINGTON          TX 76010‐3151
SANTOS, LUPE H               PO BOX 501                                                                                   ANTWERP            OH 45813‐0501
SANTOS, LYDIA A              3116 HAWKS RIDGE DR                                                                          LAKELAND           FL 33810‐4007
SANTOS, MANUEL P             8 DIANA CICLE                                                                                MILFORD            MA 01757
SANTOS, MARC A               237 N 200 W                                                                                  HUNTINGTON         IN 46750‐9258
SANTOS, MARC ANTHONY         237 N 200 W                                                                                  HUNTINGTON         IN 46750‐9258
SANTOS, MARCO I              5724 LAPORTE DR                                                                              LANSING            MI 48911‐5041
SANTOS, MARGARITA            1317 LORAINE AVE                                                                             LANSING            MI 48910‐2507
SANTOS, MARIA V              HC01 BOX 3192                                                                                SABANA HOYOS       PR 00688
SANTOS, MARTIN R             3400 FORT INDEPENDENCE ST APT 8J                                                             BRONX              NY 10463‐4529
SANTOS, MARY                 23 CARRIAGE COURT                                                                            PITTSFIELD         NY 14534
SANTOS, MARY                 23 CARRIAGE CT                                                                               PITTSFORD          NY 14534
SANTOS, MARY JO              21412 CREEKSIDE DRIVE                                                                        RED BLUFF          CA 96080‐9617
SANTOS, MELISSA J            4241 MONROE AVE                                                                              WATERFORD          MI 48329‐4134
SANTOS, MELISSA JEAN         4241 MONROE AVE                                                                              WATERFORD          MI 48329‐4134
SANTOS, MICHAEL
SANTOS, MICHAEL J            619 BLOOMINGDALE AVE                                                                         KENILWORTH        NJ 07033‐1905
SANTOS, MICHELE G            20617 LOGAN RD                                                                               MANCHESTER        MI 48158‐9635
SANTOS, MICHELLE
SANTOS, MYRA                 APT 2                              2101 MCLAREN CIRCLE                                       KISSIMMEE         FL 34744‐2478
SANTOS, PABLO                632 N BRANCH CT                                                                              ABINGDON          MD 21009‐3221
SANTOS, PAMELA
SANTOS, PEDRO R              4646 MORNINGSIDE DR                                                                          BAY CITY          MI   48706‐2722
SANTOS, PETE C               18539 HILTON DR                                                                              SOUTHFIELD        MI   48075‐7233
SANTOS, PETRITA S            538 E 2ND ST                                                                                 DEFIANCE          OH   43512‐2255
SANTOS, RANDOLPH             2083 PERSIMMON DR                                                                            CIBOLO            TX   78108‐3174
SANTOS, RAYMOND J            457 SAND DUNE WAY                                                                            RIPON             CA   95366‐9371
SANTOS, RICARDO              6 TERRACE LN                                                                                 SALISBURY MILLS   NY   12577‐5430
SANTOS, RICARDO G            31 BELLMORE LN                                                                               PONTIAC           MI   48340‐1203
SANTOS, RICHARD A            1172 MAPLELAKE DR                                                                            ACWORTH           GA   30101‐7774
SANTOS, RICHARD A            2200 LOUDON LN NW                                                                            KENNESAW          GA   30152
SANTOS, RITA E               768 PUGSLEY AVE                                                                              BRONX             NY   10473‐2055
SANTOS, RITA L               666 LEBARON AVE                                                                              PONTIAC           MI   48340‐3010
SANTOS, ROCHELLE
SANTOS, ROMEO G              4250 W 142ND ST                                                                              HAWTHORNE         CA   90250‐7208
SANTOS, ROSA A               6658 BRISTLEWOOD DR                                                                          BOARDMAN          OH   44512‐5130
SANTOS, ROSA ALVAREZ         6658 BRISTLEWOOD DR                                                                          BOARDMAN          OH   44512‐5130
SANTOS, ROSE C               26 SHAWMUT AVE                                                                               HUDSON            MA   01749‐1410
SANTOS, RUDY A               129 BELLWOOD DR                                                                              LIMA              OH   45805
SANTOS, TAMARA E             35258 CURRIER ST                                                                             WAYNE             MI   48184‐2348
SANTOS, WILLIAM              1393 CARAVELLE DR                                                                            NIAGARA FALLS     NY   14304‐2725
SANTOS, YVONNE               26 YOSEMITE AVE                                                                              GREENBURGH        NY   10607‐1326
SANTOS‐DILLOW, RITA L        666 LEBARON AVE                                                                              PONTIAC           MI   48340‐3010
SANTOS‐MICCICHE, SUSAN       CATALANO RANDY P                   216 HADDON AVE                                            WESTMONT          NJ   08108‐1120
SANTOSA, SIGIT P             16385 SASSAFRAS LN                                                                           MACOMB            MI   48044‐3930
SANTOSH K BANSAL IRA         SANTOSH K BANSAL                   2918 AVENIDA VALERA                                       CARLSBAD          CA   92009‐7113
SANTOSH KUMAR                416 ARLINGTON DR                                                                             ROCHESTER HILLS   MI   48307‐2808
SANTOSH SEQUEIRA             9111 NEWCASTLE CT                                                                            GRAND BLANC       MI   48439‐7347
SANTOSO HALIM GUSTIONO       47241 MANHATTAN CIRCLE                                                                       NOVI              MI   48374‐1836
SANTOSO, HALIM G             47241 MANHATTAN CIR                                                                          NOVI              MI   48374‐1836
SANTOSPIRITO SALVATORE SAM   DBA SPIRIT ENGINEERING &           9408 ZELZAH AVE       SAM SANTOSPIRITO                    NORTHRIDGE        CA   91325‐2338
SANTOVIZ, FRANK J            107 S KNIGHT RD                                                                              MUNGER            MI   48747‐9716
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Name                         Address1                          Address2                        Address3   Address4         City                  State Zip
SANTOWSKI, FLORENCE J        4931 CARRIAGEPARK RD                                                                          FAIRFAX                VA 22032‐2370
SANTOWSKI, FLORENCE J        4931 CARRIAGE PARK ROAD                                                                       FAIR FAX               VA 22032
SANTOYA, CARLOS J            320 PECAN PL                                                                                  BRENTWOOD              CA 94513‐1903
SANTOYA, GEORGE B            77 MAGELLAN AVE                                                                               SAN JOSE               CA 95116‐1323
SANTOYA, LEANDRO G           1905 N OUTER DR                                                                               SAGINAW                MI 48601‐6016
SANTOYA, MARY                2807 ANN CIR                                                                                  JOURDANTON             TX 78026
SANTOYA, YOLANDA R           952 W GENESEE RD                                                                              SANFORD                MI 48657‐9314
SANTOYA, YOLANDA R           962 W GENESEE RD                                                                              SANFORD                MI 48657‐9314
SANTOYO, CARMEN
SANTOYO, ISAIAS F            CHANDLER LAW OFFICES              207 E FRANK AVE STE 103                                     LUFKIN                 TX   75901‐3058
SANTOYO, ISAIAS F            WATTS & HEARD                     555 N CARANCAHUA ST STE 1400                                CORPUS CHRISTI         TX   78478‐0801
SANTOYO, ISAIAS F            WATTS & HEARD                     815 WALKER ‐ 16TH FLOOR                                     HOUSTON                TX   77002
SANTOYO, JOSE
SANTOYO, MARIA V             2373 VALLEYWOOD DRIVE SE          APT Q8                                                      GRAND RAPIDS          MI 49546‐9546
SANTOYO, MARIA V             11693 HIDDEN HBR                                                                              HOLLAND               MI 49424
SANTOYO, MICAELA MARIA
SANTOYO, SAUL
SANTROCK, JEFFREY            443 MAISON RD                                                                                 GROSSE POINTE FARMS   MI    48236‐2807
SANTROCK, LYNETTE H          9494 EVERGREEN RD                                                                             WIRTZ                 VA    24184
SANTRY, JOHN J               5 PULPIT DR                                                                                   HUDSON                NH    03051‐5076
SANTTI, ARNE J               2241 W EUNA                                                                                   WIXOM                 MI    48393‐1312
SANTTI, CHRISTOPHE R         17706 CENTRALIA                                                                               REDFORD               MI    48240‐2243
SANTUCCI LAWRENCE (424198)   ANGELOS PETER G LAW OFFICES OF    100 PENN SQUARE EAST , THE                                  PHILADELPHIA          PA    19107
                                                               WANAMAKER BUILDING
SANTUCCI ROBERT J            4475 SOUTHWEST 100TH STREET                                                                   OCALA                 FL    34476‐9516
SANTUCCI SALVATORA           5555 WISSAHICKON AVE                                                                          PHILADELPHIA          PA    19144
SANTUCCI, ANTHONY A          5533 WARREN SHARON RD                                                                         VIENNA                OH    44473‐9721
SANTUCCI, BARRY R            21 ASH ST                                                                                     LEOMINSTER            MA    01453‐4501
SANTUCCI, CHELSEY C          26 S BENTLEY AVE                                                                              NILES                 OH    44446‐3065
SANTUCCI, DAVID R            9111 SHARROTT RD UNIT 206                                                                     YOUNGSTOWN            OH    44514‐3590
SANTUCCI, DEBORAH            9334 CROW CANYON ROAD                                                                         CASTRO VALLEY         CA    94552‐9695
SANTUCCI, GAIL A             776 EAST AVE SE                                                                               WARREN                OH    44484‐4215
SANTUCCI, GENE J             104 TURNBERRY CRT                                                                             WARREN                OH    44484‐5537
SANTUCCI, JOSEPH L           1705 WESTERN AVE                                                                              ALLIANCE              OH    44601‐3674
SANTUCCI, LAWRENCE           ANGELOS PETER G LAW OFFICES OF    100 PENN SQUARE EAST, THE                                   PHILADELPHIA          PA    19107
                                                               WANAMAKER BUILDING
SANTUCCI, NICHOLAS C         8658 OLD ORCHARD RD SE                                                                        WARREN                OH    44484‐3051
SANTUCCI, ROBERT J           4475 SW 100TH ST                                                                              OCALA                 FL    34476‐9516
SANTUCCI, ROBERT J           4475 SOUTHWEST 100TH STREET                                                                   OCALA                 FL    34476‐9516
SANTUCCI, ROBERT L           194 STRAUB RD                                                                                 ROCHESTER             NY    14626‐4626
SANTUCCI, ROBERT L           193 STRAUB RD                                                                                 ROCHESTER             NY    14626‐4253
SANTULLI DOMENIC             SANTULLI, DOMENIC                 1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL           NJ    08003
SANTULLO, GREGORY B          875 JOHNNY K BLVD                                                                             HUBBARD               OH    44425‐1686
SANTUOSO JR, LOUIS           27 GROVE ST                                                                                   BELLEVILLE            NJ    07109‐1519
SANTURE, BARBARA M           263 CREEKWOOD CIR                                                                             LINDEN                MI    48451‐9104
SANTURE, MICHAEL R           2919 COUSINO RD                                                                               ERIE                  MI    48133‐9714
SANTURE, TED L               6137 WILLIS RD                                                                                YPSILANTI             MI    48197‐8996
SANTURE, TED LYNN            6137 WILLIS RD                                                                                YPSILANTI             MI    48197‐8996
SANTURE, THOMAS F            2269 N. FRIER RD                                                                              TWINING               MI    48766
SANTY JAMES                  5880 HOBBTON HIGHWAY                                                                          CLINTON               NC    28328‐5844
SANTY, GEORGE W              1361 WELLS ST                                                                                 BURTON                MI    48529‐1213
SANTY, MARION R              67 W PRINCETON AVE                                                                            PONTIAC               MI    48340‐1837
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Name                             Address1                          Address2                        Address3                  Address4                City                 State Zip
SANTY‐ATEYABA, ASSOLIME K        38738 BRONSON DR                                                                                                    STERLING HEIGHTS      MI 48310‐2813
SANUSKAR, VLADIMIR               17813 SHERMAN WAY                                                                                                   RESEDA                CA 91335‐3322
SANUTELLI, ANTHONY G             217 SUMMIT WAY                                                                                                      CLAIRTON              PA 15025‐2216
SANVIDO, DAVID J                 6754 RANCH LN                                                                                                       MORRISON              CO 80465‐2703
SANVILLE, ALFRED J               635 MOUNTAINVIEW AVE                                                                                                SYRACUSE              NY 13224‐1318
SANVILLE, KENNETH                4706 SOUTH LANDINGS DRIVE                                                                                           FORT MYERS            FL 33919‐4643
SANVILLE, VIOLET E               21626 YALE ST                                                                                                       SAINT CLAIR SHORES    MI 48081‐1988
SANWALL CORPORATION              1700 LOMBARD ST STE 310           DBA BURNWALL PHYSICAL THERAPY                                                     OXNARD                CA 93030‐8292

SANWICK, CONRAD I                E8288 TRI STATE RD                                                                                                  WESTBY               WI   54667‐7353
SANWICK, DAVID P                 29 SPRUCE ST                                                                                                        WESTBY               WI   54667‐8210
SANWICK, LINDA R                 E8350 TRI STATE RD                                                                                                  WESTBY               WI   54667‐8420
SANWICK, LINDA R                 E 8350 TRI STATE ROAD                                                                                               WESTBY               WI   54667
SANWICK, NANCY J                 251 DOGWOOD LN                                                                                                      BEECHGROVE           TN   37018‐3438
SANWICK, NANCY J                 251 DOGWOOD LANE                                                                                                    BEECHGROVE           TN   37018‐3438
SANWICK, RICHARD W               1249 S WALNUT ST                                                                                                    JANESVILLE           WI   53546‐5544
SANWICK, TILMAN A                709 N MAIN ST                                                                                                       VIROQUA              WI   54665‐1122
SANXTON, CHARLES                 GUY WILLIAM S                     PO BOX 509                                                                        MCCOMB               MS   39649‐0509
SANYD Y STOLLINGS                2224 ESMERALDA AVE                                                                                                  DAYTON               OH   45406
SANYO                            40000 GRAND RIVER AVE STE 206                                                                                       NOVI                 MI   48375‐2110
SANYO AUDIOMEDIA SDN BHD         CHARIS BARKSDALE                  C/O SPAN AMERICA DETROIT INC    41775 ECORSE RD STE 100                           SPALDING             MI   49886
SANYO AUDIOMEDIA SND BHD         SEAN DILLON                       PLOT 10 PHASE 4 13600 PRAI                                                        TROY                 OH   45373
SANYO AUTOMEDIA SDN BHD          PLOT 10 PHASE 4 13600 PRAI                                                                  PENANG MY 13600
                                                                                                                             MALAYSIA
SANYO AUTOMEDIA SDN BHD          PLOT 10, PHASE 4, 13600 PRAI      INDUSTRIAL PRAI                                           PENANG 13600 MALAYSIA
SANYO AUTOMEDIA SDN BHD          PLOT 10 PHASE 4 13600 PRAI        INDUSTRIAL PRAI                                           PENANG 13600 MALAYSIA
SANYO AUTOMEDIA SDN BHD &        PLOT 10 PHASE 4 PRAI              INDUSTRIAL ESTATE 13600 PRAI                              PENANG MALAYSIA
                                                                                                                             MALAYSIA
SANYO AUTOMOTIVE SUMITOMO CORP   ATTN JENNIFER ARMSTRONG           40000 GRAND RIVER AVE STE 206   ATTN JENNIFER ARMSTRONG                           NOVI                 MI 48375‐2110

SANYO AUTOMOTIVE USA INC         27000 MEADOWBROOK RD STE 210                                                                                        NOVI                 MI 48377‐3541
SANYO ELECTRIC CO LTD            2‐5‐5 KEIHANHONDORI                                                                         MORIGUCHI OSAKA 570‐
                                                                                                                             8677 JAPAN
SANYO ELECTRIC CO LTD            27000 MEADOWBROOK RD STE 210                                                                                        NOVI                 MI 48377‐3541
SANYO ELECTRIC CO LTD            3 XINGDA RD                                                                                 GUANGZHOU CN 510760
                                                                                                                             CHINA (PEOPLE'S REP)
SANYO ELECTRIC CO LTD            3 XINGDA RD                       HUANGPU                                                   GUANGZHOU 510760
                                                                                                                             CHINA (PEOPLE'S REP)
SANYO ELECTRIC CO LTD            CHARIS BARKSDALE                  C/O SPAN AMERICA DETROIT INC    41775 ECORSE RD STE 100                           SPALDING             MI 49886
SANYO ELECTRIC CO LTD            PLOT 10 PHASE 4 13600 PRAI                                                                  PENANG MY 13600
                                                                                                                             MALAYSIA
SANYO ELECTRIC CO LTD            PLOT 10 PHASE 4 13600 PRAI        INDUSTRIAL PRAI                                           PENANG 13600 MALAYSIA
SANYO ELECTRIC CO LTD            SEAN DILLON                       PLOT 10 PHASE 4 13600 PRAI                                                        TROY                 OH   45373
SANYO ELECTRIC CO LTD            SEAN DILLON                       SANYO ELECTRIC COMPANY          3 XINGDA ROAD                                     BURLINGTON           NC   27217
SANYO ENERGY TECHNICAL CENTER    26604 HAGGERTY RD                                                                                                   FARMINGTON HILLS     MI   48331‐3406
SANYO ENERGY USA CORPORATION     2600 NETWORK BLVD STE 600                                                                                           FRISCO               TX   75034‐6015
SANYO MACH/ROCH HILL             950 S ROCHESTER RD                                                                                                  ROCHESTER HILLS      MI   48307‐2742
SANYO MACHINE AMERICA CORP &     COX HODGMAN AND GIARMARCO PC      10 FLR COLUMBIA CTR             101 W BIG BEAVER RD                               TROY                 MI   48084
SANYO NORTH AMERICAN CORP        C\O COLLIERS HOUSTON & CO         200 COTTONTAIL LN                                                                 SOMERSET             NJ   08873
SANZ, CARLOS                     5708 HERRING GULL CIR                                                                                               NORTH MYRTLE BEACH   SC   29582‐9317
SANZ, JORGE L                    8775 20TH ST LOT NUMBER 414                                                                                         VERO BEACH           FL   32966
SANZ, JORGE L                    LOT 414                           8775 20TH STREET                                                                  VERO BEACH           FL   32966‐6915
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Name                                 Address1                             Address2                         Address3   Address4               City                 State Zip
SANZ, PEGGY                          5708 HERRING GULL CIR                                                                                   NORTH MYRTLE BEACH    SC 29582‐9317
SANZ‐ ANGUEIRA, EDITH                50 E. 104 ST. APT 6F                                                                                    NEW YORK              NY 10029‐4531
SANZ‐ ANGUEIRA, EDITH                50 E 104TH ST APT 6F                                                                                    NEW YORK              NY 10029‐4531
SANZA, HELEN M                       60 TONI TERR.                                                                                           ROCHESTER             NY 14624‐5013
SANZA, HELEN M                       60 TONI TER                                                                                             ROCHESTER             NY 14624‐5013
SANZALONE, THOMAS A                  18297 GRACE AVE                                                                                         PT CHARLOTTE          FL 33948‐7412
SANZENBACHER, SANDRA L               880 MONUMENT RD                                                                                         TAWAS CITY            MI 48763‐9280
SANZI, ROBERT C                      601 SAINT CLAIR ST                                                                                      LATROBE               PA 15650‐2060
SANZO FRANK                          SANZO, FRANK                         120 WEST MADISON STREET , 10TH                                     CHICAGO                IL 60602
                                                                          FLOOR
SANZO, RONALD                        4813 SMITHSON RD                                                                                        COLLEGE GROVE        TN   37046‐9285
SANZOBRINO, EMILY                    6709 WATERFORD LN                                                                                       MENTOR               OH   44060‐4568
SANZONE, BRIAN D                     3866 ELLISIA RD                                                                                         COMMERCE TOWNSHIP    MI   48382‐1725
SANZONE, STEPHEN J                   309 FORESTRIDGE DR                                                                                      MANSFIELD            TX   76063‐7589
SANZONI, MICHAEL C                   26601 COOLIDGE HWY                   C/O GUARDIAN CARE INC                                              OAK PARK             MI   48237‐1135
SAOUD, DAAD                          2841 N OCEAN BLVD #501                                                                                  FT LAUDERDALE        FL   33308‐7568
SAOUD, MICHEL A                      24600 TUDOR LN                                                                                          FRANKLIN             MI   48025‐1622
SAP AG
SAP AG                               3999 W CHESTER PIKE                                                                                     NEWTOWN SQUARE       PA 19073‐2305
SAP AG                               ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX                                                             PHILADELPHIA         PA 19182‐4024
                                     AGENT
SAP AMERICA INC                      3999 W CHESTER PIKE                                                                                     NEWTOWN SQUARE       PA   19073‐2305
SAP AMERICA INC                      PO BOX 7780824024                                                                                       PHILADELPHIA         PA   19182‐4024
SAP AMERICA, INC                     3999 W CHESTER PIKE                                                                                     NEWTOWN SQUARE       PA   19073‐2305
SAP AMERICA, INC.                    3999 W CHESTER PIKE                                                                                     NEWTOWN SQUARE       PA   19073‐2305
SAPA EXTRUSIONS INC                  53 POTTSVILLE ST                                                                                        CRESSONA             PA   17929‐1217
SAPA PROFILER AB                                                                                                      VETLANDA S 574 81
                                                                                                                      SWEDEN
SAPA/SWEDEN                          METALLVAGEN 6                                                                    VETLANDA SW 574 38
                                                                                                                      SWEDEN
SAPAK, JOHN E                        1825 HOULIHAN RD                                                                                       SAGINAW               MI 48601‐9758
SAPAL AB                             53 POTTSVILLE ST                                                                                       CRESSONA              PA 17929‐1217
SAPAL AB                             GAMLA TUVEVAGEN 15 C                                                             GOTEBORG 41705 SWEDEN GOTEBORG                 41705
SAPARAMADU, ROHAN                    10396 WHIPPLE TREE LN                                                                                  CLARKSTON             MI 48348‐2060
SAPARIA, MUKESH K                    47112 WARM SPRINGS BLVD APT 312                                                                        FREMONT               CA 94539‐7816
SAPAUGH LARRY L & BEVERLY A          EAGLE BANK & TRUST COMPANY           PO BOX 667                                                        HERCULANEUM           MO 63048‐0667
SAPAUGH MOTORS, INC.                 1507 MCNUTT ST                                                                                         HERCULANEUM           MO 63048‐1566
SAPAUGH MOTORS, INC.                 LARRY SAPAUGH                        1435 MCNUTT ST                                                    HERCULANEUM           MO 63048‐1521
SAPAUGH MOTORS, INC.                 LARRY SAPAUGH                        1507 MCNUTT ST                                                    HERCULANEUM           MO 63048‐1566
SAPAUGH MOTORS, INC.                 1435 MCNUTT ST                                                                                         HERCULANEUM           MO 63048‐1521
SAPAUGH PONTIAC BUICK CADILLAC GMC   22 HOWE XING                                                                                           FESTUS                MO 63028‐4047
TRUCK, INC.
SAPAUGH, CARL E                      1850 AUSTIN TYLER LN                                                                                    CHAPEL HILL          TN 37034‐4044
SAPE, LARRY                          PO BOX 5022                                                                      EDSON AB CANADA T7E‐
                                                                                                                      1T3
SAPE, THOMAS D                       5124 N BELSAY RD                                                                                        FLINT                MI   48506‐1676
SAPELAK, AREATHA M                   5856 DANA LYNN                                                                                          GOODRICH             MI   48438‐8905
SAPELAK, RICHARD M                   6390 ELMWOOD DR                                                                                         WATERFORD            MI   48329‐3130
SAPELAK, THEODORE J                  3389 FRANKLIN RD                                                                                        MURFREESBORO         TN   37128‐4113
SAPELAK, TOD T                       3002 W JONES LAKE RD                                                                                    GRAYLING             MI   49738‐8703
SAPELAK, TOD T                       3389 FRANKLIN ROAD                                                                                      MURFREESBORO         TN   37128‐4113
SAPELLI, LOUIS M                     824 DORCHESTER ST                                                                                       THOUSAND OAKS        CA   91360‐5239
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Name                      Address1                         Address2                          Address3   Address4         City               State Zip
SAPERSTON & DAY PC        28 E MAIN ST STE 800                                                                           ROCHESTER           NY 14614‐1922
SAPH, CARL N              4900 ISHERWOOD DR                                                                              NIAGARA FALLS       NY 14305‐1375
SAPH, CARL NORMAN         4900 ISHERWOOD DR                                                                              NIAGARA FALLS       NY 14305‐1375
SAPH, LAURENCE B          43250 LABELLE ST                                                                               HARRISON TWP        MI 48045‐1041
SAPHO SIRADAKIS           3219 THORNFIELD LN                                                                             FLINT               MI 48532‐3754
SAPHOS JR, CARL S         9012 LAKE CHARITY DR                                                                           MAITLAND            FL 32751‐4244
SAPHRONIA RUCKER          1102 PRINCETON DR                                                                              RICHARDSON          TX 75081‐3615
SAPIANO, ANN M            46791 SPRINGHILL DR                                                                            SHELBY TOWNSHIP     MI 48317‐4067
SAPIANO, BERTRAM J        46791 SPRINGHILL DR                                                                            SHELBY TWP          MI 48317‐4067
SAPIANO, DANIEL J         12364 NW 52ND CT                                                                               CORAL SPRINGS       FL 33076‐3451
SAPICK, GREGORY           2810 MASEFIELD DR                                                                              BLOOMFIELD HILLS    MI 48304‐1947
SAPIEGO, EUGENE A         131 E 1ST ST                                                                                   WYOMING             PA 18644‐2103
SAPIEN, ARLENE C          12181 S SAGINAW ST APT 13                                                                      GRAND BLANC         MI 48439‐1426
SAPIEN, ARLENE C          211 E 5TH ST                                                                                   CLARE               MI 48617‐1513
SAPIEN, FREDERICK J       43586 W OSTER DR                                                                               MARICOPA            AZ 85238‐2418
SAPIEN, LILY              16018 E TUMBLEWEED DR                                                                          FOUNTAIN HILLS      AZ 85268‐3656
SAPIEN, ROBERT L          4591 CARO RD                                                                                   VASSAR              MI 48768‐9721
SAPIENT CORP              200 W ADAMS ST STE 2700                                                                        CHICAGO              IL 60606‐5254
SAPIENT CORPORATION       1601 CLOVERFIELD BLVD.           SUITE 600 SOUTH                                               SANTA MONICA        CA 90404
SAPIENT CORPORATION       1 MEMORIAL DRIVE                                                                               CAMBRIDGE           MA 02142
SAPIENZA, ANTHONY P       19596 TANGLEWOOD CIR                                                                           CLINTON TOWNSHIP    MI 48038‐4957
SAPIENZA, GENEVIEVE G     740 GLORIOSA DR                                                                                VENICE              FL 34293‐6979
SAPIENZA, HEIDI C         15203 STONE HENGE DR                                                                           FENTON              MI 48430‐3700
SAPIENZA, JOSEPH          29700 S RIVER RD                                                                               HARRISON TWP        MI 48045‐3029
SAPIENZA, JOSEPH V        13097 CHURCHILL DR                                                                             STERLING HEIGHTS    MI 48313‐1918
SAPIENZA, JOSEPH VITO     13097 CHURCHILL DR                                                                             STERLING HEIGHTS    MI 48313‐1918
SAPIENZA, PATRICIA        15960 E VIEW DR                                                                                MACOMB              MI 48044‐3925
SAPIENZA, PAUL A          5379 MASON RD                                                                                  OWOSSO              MI 48867‐9358
SAPIENZA, PETER           19480 GLORIA DR                                                                                MACOMB              MI 48044‐1221
SAPIENZA, RAYMOND J       15203 STONE HENGE DR                                                                           FENTON              MI 48430‐3700
SAPIENZA, SUSAN M         11 MILLS PT                                                                                    MIDDLETON           MA 01949‐2505
SAPIKOWSKI, CLAUDIA J     10730 KENICOTT TRL.                                                                            BRIGHTON            MI 48114‐9075
SAPIKOWSKI, HEIDI M       32832 MERRITT DR                                                                               WESTLAND            MI 48185‐1559
SAPIKOWSKI, THOMAS G      10730 KENICOTT TRL                                                                             BRIGHTON            MI 48114‐9075
SAPITRO, ROSE A           2948 N MENARD AVE.                                                                             CHICAGO              IL 60634‐5241
SAPKOWSKI, SHIRLEY J      7634 REEVES ST                                                                                 MANISTEE            MI 49660‐9771
SAPLA, ROSA R             20652 SILVER SPRING DR                                                                         NORTHVILLE          MI 48167‐1911
SAPLYS, JOSEPH            168 J D FARM RD                                                                                TELLICO PLAINS      TN 37385
SAPOCHETTI, CAROLYN M     879 E HONEYWELL                                                                                HOOPESTON            IL 60942‐1414
SAPONARA NICHOLAS J       SAPONARA, NICHOLAS J             30 EAST BUTLER PIKE , SUITE 310                               AMBLER              PA 19002
SAPONARA, NICHOLAS J      KIMMEL & SILVERMAN PC            30 EAST BUTLER PIKE, SUITE 310                                AMBLER              PA 19002
SAPONSKY, MICHAEL J       6810 GRAY MOSS CT                                                                              CLEMMONS            NC 27012
SAPORITO, ANDREW C        30 TRACY DR                                                                                    FORDS               NJ 08863‐1023
SAPORITO, EVELYN M        2250 HENRY ST                                                                                  NORTH BELLMORE      NY 11710‐2524
SAPP III, RICHARD W       655 CROWE ROAD                                                                                 STATHAM             GA 30666‐2613
SAPP JR, WILLARD F        14258 MURRAY CLARK ROAD                                                                        DANVILLE             IL 61834
SAPP NEVELL               424 COUNTY ROAD 102                                                                            DALEVILLE           AL 36322‐5132
SAPP RAYMOND E (414059)   PRYOR ANITA                      804 BLACKSTONE BLDG , 233 EAST                                JACKSONVILLE        FL 32202
                                                           BAY STREET
SAPP THOMAS & KAREN       3123 STATE ROUTE 7                                                                             NEW WATERFORD      OH 44445‐9708
SAPP, AGNES               5615 KIMBRELL DR SOUTH                                                                         JACKSONVILLE       FL 32210‐7933
SAPP, ALAN D              2923 COUNTY ROAD 1117                                                                          VINEMONT           AL 35179‐8886
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Name                     Address1                           Address2                        Address3   Address4                 City              State Zip
SAPP, ARLENE             2598 LYDIA ST SW                                                                                       WARREN             OH 44481‐8618
SAPP, ARTHENIA A         PO BOX 125                                                                                             GROVEPORT          OH 43125‐0125
SAPP, BARBARA S          1574 MANCHESTER ST                                                                                     LAKE MILTON        OH 44429‐9725
SAPP, BETTY E            2549 E COUNTY ROAD 600 S                                                                               CLAYTON            IN 46118‐9453
SAPP, BEVERLY J          32608 WESTWICK DR                                                                                      WAYNE              MI 48184‐2543
SAPP, BRANDON S          388 PIEDMONT PARK                                                                                      HULL               GA 30646‐3349
SAPP, DAVID C            1434 JOSEPH ST                                                                                         SAGINAW            MI 48638‐6531
SAPP, DESPINA            4119 LAYFATTE ST                                                                                       LINCOLN PARK       MI 48146
SAPP, DOLORES            2716 E 1333 NORTH ROAD                                                                                 FAIRMOUNT           IL 61841
SAPP, EDWARD D           740 SHELBY ONTARIO RD                                                                                  MANSFIELD          OH 44906‐1036
SAPP, FORREST L          3339 COUNTY ROAD 327                                                                                   MOULTON            AL 35650‐6905
SAPP, FRANKIE L
SAPP, GERALD K           237 FALCON DR                                                                                          PASADENA          MD    21122‐5949
SAPP, INMAN P            STUBBS & ASSOCS                    PO BOX 9                                                            REIDSVILLE        GA    30453‐0009
SAPP, JAMES B            3036 SHALISMA DRIVE                                                                                    YOUNGSTOWN        OH    44509‐3037
SAPP, JANET              695 N MORRISON RD                                                                                      W BRANCH          MI    48661
SAPP, JEFFREY D          1663 TACOMA DR                                                                                         ROCHESTER HILLS   MI    48306‐3669
SAPP, JOHN E             2549 E COUNTY ROAD 600 S                                                                               CLAYTON           IN    46118‐9453
SAPP, KATHY M            1481 PAYNE ST                                                                                          MINERAL RIDGE     OH    44440‐9736
SAPP, KATHY M            1481 PAYNE ST.                                                                                         MINERAL RIDGE     OH    44440‐4440
SAPP, KEITH H            8269 CLAUS RD                                                                                          AMHERST           OH    44001‐9621
SAPP, KENNETH J          2907 FOREST POINT DR APT 1515                                                                          ARLINGTON         TX    76006‐3062
SAPP, KENNETH J          827 GLADSTONE ST                                                                                       DETROIT           MI    48202‐1709
SAPP, KENNETH JAMES      2907 FOREST POINT DR APT 1515                                                                          ARLINGTON         TX    76006‐3062
SAPP, LAFAYETTE C        9350 NW COUNTY ROAD 225                                                                                STARKE            FL    32091‐5031
SAPP, LOIS G             3525 SUMMIT TRL                                                                                        CUMMING           GA    30041‐6697
SAPP, LOIS GENEVA        3525 SUMMIT TRL                                                                                        CUMMING           GA    30041‐6697
SAPP, MICHAEL D          4219 MOUNT PLEASANT RD                                                                                 ROCKWELL          NC    28138‐8786
SAPP, RAYMOND            26 GRENEWOOD LN                                                                                        HAINES CITY       FL    33844‐8812
SAPP, RAYMOND E          PRYOR ANITA                        804 BLACKSTONE BLDG, 233 EAST                                       JACKSONVILLE      FL    32202
                                                            BAY STREET
SAPP, ROBERT L           2900 TRAKELL ST                                                                                        ROSAMOND          CA    93560‐6840
SAPP, RONALD M           2232 E CINDERELLA RD                                                                                   SPRINGFIELD       MO    65804‐1710
SAPP, RUBY L             1309 S MAIN ST                                                                                         INDEPENDENCE      MO    64055‐1235
SAPP, RUBY L             1309 SOUTH MAIN STREET                                                                                 INDEPENDENCE      MO    64055
SAPP, RUSSELL R          9793 S NEW LOTHROP RD                                                                                  DURAND            MI    48429‐9465
SAPP, RUSSELL RAYMOND    9793 S NEW LOTHROP RD                                                                                  DURAND            MI    48429‐9465
SAPP, THOMAS O           3535 HIGHWAY 80 E LOT 44                                                                               PEARL             MS    39208‐4052
SAPP, TIMOTHY E          749 MATTERHORN CT                                                                                      JACKSONVILLE      FL    32259‐9075
SAPP, VERENA L           2232 E CINDERELLA RD                                                                                   SPRINGFIELD       MO    65804‐1710
SAPP, WENDELL B          827 GLADSTONE ST                                                                                       DETROIT           MI    48202‐1709
SAPP, WILLIAM C          5293 FERN DR                                                                                           FENTON            MI    48430‐9233
SAPP, WILLIAM O          2716 E 1333 NORTH RD                                                                                   FAIRMOUNT         IL    61841‐6276
SAPP, YVONNE             19265 GREYDALE AVE                                                                                     DETROIT           MI    48219‐1814
SAPP, ZELMA G.           2244 WILLOWSIDE LANE                                                                                   GROVE CITY        OH    43123‐8846
SAPPENFIELD, DONALD      3222 FLINT HILL RD                                                                                     SONORA            KY    42776‐9334
SAPPENFIELD, MADONNA M   2422 N 145TH ST                                                                                        OMAHA             NE    68116‐4107
SAPPENFIELD, MARTHA
SAPPENFIELD, PAUL A      1797 PUTTER DR                                                                                         FRANKLIN           IN   46131‐9570
SAPPERTON MOTORS         4‐22899 DEWDNEY TRUNK RD                                                      MAPLE RIDGE BC V2X 3K8
                                                                                                       CANADA
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SAPPERTON MOTORS COQUITLAM   1‐175 SCHOOLHOUSE ST                                                       COQUITLAM BC V3K 4X8
                                                                                                        CANADA
SAPPINGTON ROBERT (470249)   ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                      BALTIMORE          MD 21202
                                                                CHARLES CENTER 22ND FLOOR
SAPPINGTON, JUDITH R         7500 CAHILL RD APT 114C                                                                            EDINA              MN 55439‐2725
SAPPINGTON, ROBERT           ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET, ONE                                       BALTIMORE          MD 21202
                                                                CHARLES CENTER 22ND FLOOR
SAPPORO ISUZU MOTORS LTD.    26‐20, FUKUZUMI 2‐JO 1‐CHO                                                 SAPPORO JAPAN
SAPRE, ASHOK R               39794 CAMBRIDGE PL                                                                                 TEMECULA            CA 92591‐5599
SAPUDER, MARION              66 CHADDUCK AVENUE                                                                                 BUFFALO             NY 14207‐1554
SAPUTO FOODS LIMITED         6869 METROPOLITAN BOULEVARD EAST                                           ST‐LEONARD QC H1P 1X8
                                                                                                        CANADA
SAPUTO, ANTONINO             47051 RIVERCREST DR                                                                                SHELBY TOWNSHIP     MI   48315‐4761
SAPUTO, JANINE L             2303 W PREDMORE RD                                                                                 OAKLAND             MI   48363
SAPUTO, MICHAEL J            11696 DEACON DR                                                                                    ROCKTON             IL   61072‐9436
SAPUTO, PATRICIA             5449 MOHAWK DR                                                                                     HARRISON            MI   48625‐9021
SAPUTO, ROSE M               32443 SHAWN DR                                                                                     WARREN              MI   48088‐1445
SAQIB AHMAD                  1125 S LINDEN RD STE 900                                                                           FLINT               MI   48532‐4068
SAQIB MASOOD                 1124 MILBROOK RD                                                                                   CANTON              MI   48188‐5088
SAQIB, SYED                  30000 FOX CLUB DR                                                                                  FARMINGTON HILLS    MI   48331‐1928
SAQUETTE JULIO A             DBA METROMAX                       68 FRANKTON CRES                        NORTH YORK CANADA ON
                                                                                                        M3J 1C1 CANADA
SAQUILA AUSTIN               1210 CHATHAM DR                                                                                    FLINT               MI 48505‐2583
SAQURET W HOLMES             WEITZ & LUXENBERG PC               700 BROADWAY                                                    NEW YORK            NY 10003
SAR AUTOMATION LP            5126 S ROYAL ATLANTA DR                                                                            TUCKER              GA 30084‐3052
SAR STAHLSERVICE GMBH        RHEINSTRASSE 149                                                           NEUWIED 56564 GERMANY
SARA A DELAROSA              9171 MILLWARD ST                                                                                   WHITE LAKE         MI    48386‐4270
SARA A LUNDY                 208 COX BLVD                                                                                       LANSING            MI    48910‐7433
SARA A MACKIE                731 E 4TH ST                                                                                       FRANKLIN           OH    45005
SARA A MELICK                1519 4TH ST APT 2                                                                                  BAY CITY           MI    48708‐5125
SARA A MOCKLES               2082 MORRISH RD                                                                                    SWARTZ CREEK       MI    48473‐9753
SARA A PARKS                 4826 TENSHAW DRIVE                                                                                 DAYTON             OH    45418‐1932
SARA A RUTAN                 215 S H ST                                                                                         TILTON             IL    61833‐7824
SARA A SOCIA                 1500 2ND ST                                                                                        BAY CITY           MI    48708‐6126
SARA ALLEN                   4350 SWANSON DR                                                                                    INDIANAPOLIS       IN    46228‐2824
SARA ARNOLD                  1207 W NATIONAL AVE                                                                                MARION             IN    46952‐2527
SARA B GALLAGHER             SUE G MITCHELL
SARA B ROBINSON              3222 WOODHAVEN DRIVE                                                                               FRANKLIN           OH    45005‐4865
SARA BAGLEY                  6042 CAMPGROUND RD                                                                                 CUMMING            GA    30040‐7600
SARA BAITY                   APT 112                            60 HENDRIX ROAD                                                 W HENRIETTA        NY    14586‐9202
SARA BALLARD                 4092 COUNTRY RD                                                                                    OTTER LAKE         MI    48464‐9431
SARA BALZER                  2225 ZIMMERMAN ST                                                                                  FLINT              MI    48503‐3145
SARA BAYLESS                 1367 STEWART ST                                                                                    MINERAL RIDGE      OH    44440‐9501
SARA BAYLIS                  228 MORGAN AVENUE                                                                                  HARRIMAN           TN    37748
SARA BELTRAND                VIA GHEDINI 12                     12100 CUNEO
SARA BERGERON                38071 SAINT TROPEZ DR                                                                              CLINTON TWP        MI    48038‐3197
SARA BERNARDO                PO BOX 1302                                                                                        WHITE PLAINS       NY    10602‐1302
SARA BOMBARDO                307 FLORIDA RD N                                                                                   SYRACUSE           NY    13211‐1519
SARA BOSICK                  2203 STUART ST                                                                                     TAMPA              FL    33605‐6422
SARA BOWSER                  679 SANTA MONICA DR                                                                                YOUNGSTOWN         OH    44505‐1143
SARA BRAMBLETT               622 LAKEVIEW DR                                                                                    MONROE             GA    30656‐1555
SARA BRASWELL                4780 FOREST MANOR DR                                                                               WINSTON‐SALEM      NC    27103
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Name                             Address1                        Address2                     Address3   Address4             City               State Zip
SARA BROWN                       5538 US RT 422 NW RD NO 1                                                                    SOUTHINGTON         OH 44470
SARA BUCKHOLD                    5845 DEVONSHIRE AVE, APT 1N                                                                  ST LOUIS            MO 63109‐2210
SARA BUCKLA                      28630 ALYCEKAY ST                                                                            FARMINGTON HILLS    MI 48334‐3838
SARA BUFFINGTON                  2414 WINDEMERE AVE                                                                           FLINT               MI 48503‐2203
SARA BURNS                       318 20TH ST E                                                                                TUSCALOOSA          AL 35401‐5009
SARA C BAKER                     1404 DUNCAN AVE                                                                              PERRY               GA 31069
SARA C OSBORNE                   3802 KESSLER‐FREDRICK RD.                                                                    WEST MILTON         OH 45383‐9796
SARA CARPENTER                   171 WESTFALL DR                                                                              TONAWANDA           NY 14150‐7131
SARA CARR                        1416 CHATHAM DR                                                                              FLINT               MI 48505‐2584
SARA CASCHERA
SARA CASTILLO                    2741 ROCKWELL CIRCLE APT B                                                                   BRONSVILLE         TX   78521
SARA CAUDLE                      2001 CRIMSON PL                                                                              BESSEMER           AL   35022‐3870
SARA CLAY                        656 BUTLER RD                                                                                PORTLAND           TN   37148‐2429
SARA COBB                        100 WASHINGTON AVE                                                                           KENMORE            NY   14217‐1966
SARA COLLINS                     810 SENIOR CREEK DR APT 8103                                                                 ARLINGTON          TX   76010‐1951
SARA CRAIG                       APT 112                         5531 PARVIEW DRIVE                                           CLARKSTON          MI   48346‐2829
SARA CURRIE                      1057 ORLO DR NW                                                                              WARREN             OH   44485‐2427
SARA DANSBY                      1186 BURKWOOD RD                                                                             MANSFIELD          OH   44907‐2412
SARA DEBARR                      1235 WINDSONG DR                                                                             WATERFORD          MI   48327‐2916
SARA DELAROSA                    9171 MILLWARD ST                                                                             WHITE LAKE         MI   48386‐4270
SARA DIAZ                        3131 ENCLAVE CT                                                                              KOKOMO             IN   46902‐8128
SARA DICINTIO                    734 ALBRIGHT MCKAY RD SE                                                                     BROOKFIELD         OH   44403‐8714
SARA DIONNE                      PO BOX 12                                                                                    SYRACUSE           NY   13211‐0012
SARA DOMINQUEZ                   13500 OSBORNE ST                                                                             ARLETA             CA   91331‐5524
SARA DZIRNIS                     227 W PEARL ST                                                                               PLYMOUTH           MI   48170‐1322
SARA E ALLEN                     4932 PENSACOLA BLVD                                                                          MORAINE            OH   45439‐2834
SARA E JOHNSON                   1345 AVALON                                                                                  MIDDLETOWN         OH   45042‐2465
SARA EASTBURN                    4830 KENNETT PIKE APT 5503                                                                   WILMINGTON         DE   19807‐1864
SARA ELLIS                       7945 ZUPANCIC DRIVE                                                                          GARRETTSVILLE      OH   44231‐1028
SARA EVANS
SARA FAY                         58 CAROL RD                                                                                  ORMOND BEACH       FL   32176‐3541
SARA FEARS                       1734 DRYDEN DR                                                                               SPRING HILL        TN   37174‐7200
SARA FETROW                      5085 WATERFORD RD                                                                            CLARKSTON          MI   48346‐3460
SARA FRANCE                      786 HIGH ST                                                                                  COAL GROVE         OH   45638‐2912
SARA FREUND                      3040 4TH AVE E                                                                               INDIANAPOLIS       IN   46221‐2100
SARA GALIS                       QUINTA DAS PARREIRAS            RUA DOS OCEANOS, 14 ‐ 3║ G              8500 823 PORTIM^O
                                                                                                         PORTUGAL
SARA GALLA                       553 E BLEDSOE ST                C/O BRANDY WOOD VILLA                                        GALLATIN           TN   37066‐3003
SARA GARCIA C/F MERRITT GARVIA   214 STANFORD ST                                                                              LANCASTER          KY   40444
SARA GASKILL                     17 E PARK AVE                                                                                KANSAS CITY        MO   64119‐3239
SARA GILLEN                      383 WILLASTON DR                                                                             DAYTON             OH   45431‐2252
SARA GLIDE                       794 HAWICK CIR                                                                               MOUNT MORRIS       MI   48458‐8719
SARA GOMEZ                       1218 EUREKA ST                                                                               LANSING            MI   48912‐1818
SARA GRAHAM                      3020 MALDEN PL                                                                               SAGINAW            MI   48602‐3519
SARA H CRANE                     100 PARKEDGE AVE                                                                             TONAWANDA          NY   14150‐7730
SARA H NOBLE                     268 LEECH ROAD                                                                               GREENVILLE         PA   16125‐9428
SARA HADLEY                      8326 MESSIAH PL                                                                              INDIANAPOLIS       IN   46256‐2909
SARA HALE                        1100 BELCHER RD S LOT 633                                                                    LARGO              FL   33771
SARA HALL                        613 N 14TH ST                                                                                MITCHELL           IN   47446‐1039
SARA HALL                        APT 411                         317 SYCAMORE GLEN DRIVE                                      MIAMISBURG         OH   45342‐5710
SARA HARDEN                      4535 WOODLAND DR                                                                             INDIANAPOLIS       IN   46254‐2051
SARA HARPER                      65 STONEWALL CIR                                                                             MC KENZIE          TN   38201‐1248
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Name                 Address1                             Address2                Address3   Address4         City               State Zip
SARA HARRIS          7630 OLD COVINGTON HWY                                                                   LITHONIA            GA 30058‐4232
SARA HARRISON        3029 RICHMOND DRIVE                                                                      CLARKSTON           MI 48348‐5064
SARA HILL            6706 DARYLL DR                                                                           FLINT               MI 48505‐1955
SARA HINDERS         207 W DAYTON YELLOW SPRINGS RD APT B                                                     FAIRBORN            OH 45324

SARA HODGE           500 BROOKWOOD DR                                                                         CLINTON            MS   39056‐3834
SARA HOFF            6650 S ORIOLE BLVD                   #206                                                DELRAY BEACH       FL   33446
SARA HORN            19077 DIJON AVE                                                                          EASTPOINTE         MI   48021‐2014
SARA HOYET           3046 SPIRIT LAKE DR                                                                      WINTER HAVEN       FL   33880‐1548
SARA HURLEY          195 EVERGREEN DR                                                                         SPRINGBORO         OH   45066‐8711
SARA J HAWKEY        3234 MAPLEWOOD DR                                                                        DAYTON             OH   45434‐6020
SARA J STRICKLAND    1147 S DYE RD                                                                            FLINT              MI   48532‐3341
SARA JONES           137 VICTORY DR                                                                           FITZGERALD         GA   31750‐8524
SARA JORDAN          44538 GREENBRIAR CT                                                                      BELLEVILLE         MI   48111‐5141
SARA KANE            214 CLIFTON RD                                                                           BLOOMFIELD HILLS   MI   48301‐2536
SARA KELLEY          1826 BOWERS RD                                                                           LAPEER             MI   48446‐3302
SARA KELLEY          38677 PALM MEADOW DR                                                                     CLINTON TOWNSHIP   MI   48036‐1990
SARA KESSLER
SARA KRUMM           914 DAKIN RD                                                                             DANSVILLE          MI   48819‐9678
SARA KUHN            257 TURNER RD                                                                            DAHLONEGA          GA   30533‐0535
SARA KUNTZ           300 MECHANIC ST                                                                          HORTON             MI   49246‐9584
SARA L BROOKS        1130 MILLPARK DRIVE                                                                      CENTERVILLE        OH   45458‐2015
SARA L CARR          1416 CHATHAM DR                                                                          FLINT              MI   48505‐2584
SARA L ELLIOTT       1200 SEQUOIA CT APT D                                                                    TIPP CITY          OH   45371
SARA L GARNER        1670 LAMBERS DRIVE                                                                       NEW CARLISLE       OH   45344
SARA L NOLTE         69 W STRATHMORE AVE                                                                      PONTIAC            MI   48340‐2771
SARA L PATTERSON     602 E 5TH ST                                                                             TILTON             IL   61833‐7553
SARA LAMANNA‐WALSH   115 CROCUS AVE                                                                           FLORAL PARK        NY   11001
SARA LANGE           4808 EDGEWATER CT                                                                        HOLLY              MI   48442‐9335
SARA LARKIN          247 HAMILTON ST                                                                          MOUNT MORRIS       MI   48458‐8933
SARA LEBLANC         20600 NAVES DR                                                                           CLINTON TOWNSHIP   MI   48038‐6424
SARA LEE CORP        THREE FIRST NATIONAL PLAZA                                                               CHICAGO            IL   60602
SARA LEE CORP        3500 LACEY CORP                                                                          DOWNERS GROVE      IL   60515
SARA LEE CORP        3500 LACEY RD                                                                            DOWNERS GROVE      IL   60515
SARA LENDE           217 SCHOOL AVE                                                                           GLENFIELD          ND   58443
SARA LIMA            8110 N HICKORY # 14 ‐ 025                                                                KANSAS CITY        MO   64118
SARA LOCKHART        708 E OLIVET ST                                                                          DURAND             MI   48429‐1341
SARA LOOMIS          APT 310                              2385 CEDAR PARK DRIVE                               HOLT               MI   48842‐3111
SARA LUNDY           208 COX BLVD                                                                             LANSING            MI   48910‐7433
SARA LUNZ            4222 PROVIDENCE CIRCLE                                                                   ROCHESTER          NY   14616‐4222
SARA LUTTS           375 LAKE DR                                                                              SMYRNA             DE   19977‐1320
SARA M BALLARD       4092 COUNTRY RD                                                                          OTTER LAKE         MI   48464‐9431
SARA M BEETS         660 EUGENE ST                                                                            YPSILANTI          MI   48198‐8034
SARA M HODGE         500 BROOKWOOD DR.                                                                        CLINTON            MS   39056‐3834
SARA M JONES         4413 GENESEE AVE                                                                         DAYTON             OH   45406‐3216
SARA M SANDERS       150 ANTHONY STREET                                                                       ROCHESTER          NY   14619‐1704
SARA M WASHBURN      1235 FAIRHAVEN DR                                                                        MANSFIELD          TX   76063‐2952
SARA MALLOY          2206 AMBERMILL CT                                                                        HENDERSON          NV   89052
SARA MALONE          3533 WARREN SHARON RD RD2                                                                VIENNA             OH   44473
SARA MARTIN          12761 WOODRIDGE DR                                                                       NORTH ROYALTON     OH   44133‐2421
SARA MAUK            447 SYCAMORE LN                                                                          HAINES CITY        FL   33844‐8659
SARA MCGINNIS        2520 WABASH RD                                                                           LANSING            MI   48910‐4854
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Name                   Address1                             Address2                   Address3               Address4         City              State Zip
SARA MELENDEZ          2070 SEWARD AVE APT 2H                                                                                  BRONX              NY 10473‐2124
SARA MERRITT           PO BOX 388                           312 SHORT STREET                                                   LYNCHBURG          OH 45142‐0388
SARA MICHAEL           625 IMY LN                                                                                              ANDERSON           IN 46013‐3870
SARA MILES             18750 SIXTH AVENUE                                                                                      THREE RIVERS       MI 49093
SARA MOCKLES           2082 MORRISH RD                                                                                         SWARTZ CREEK       MI 48473‐9753
SARA MONRO             674 PINE TREE RD                                                                                        LAKE ORION         MI 48362‐2551
SARA MOORE             7610 HIPP ST                                                                                            TAYLOR             MI 48180‐2665
SARA MUNDEN            PO BOX 160                                                                                              MIDDLETOWN         IN 47356‐0160
SARA N FUSON           5125 PENSACOLA BLVD                                                                                     MORAINE            OH 45439‐2942
SARA NELL ENGLISH      CARA VITA VILLAGE                    4000 FIELDCREST DR A‐306                                           MONTGOMERY         AL 36111
SARA NEVILLE           3157 PIONEER TRAILS LOOP                                                                                LAKELAND           FL 33810‐3506
SARA NEWMAN            10091 SEYMOUR RD                                                                                        MONTROSE           MI 48457‐9012
SARA NOBLE             268 LEECH RD                                                                                            GREENVILLE         PA 16125‐9428
SARA O SUNDERLAND      3229 ST. RT. 7                                                                                          FOWLER             OH 44418
SARA OHALL             2206 WINTER WOODS BLVD                                                                                  WINTER PARK        FL 32792‐1933
SARA ORD‐BISSLER       2537 PALM RD                                                                                            MOGADORE           OH 44260‐9446
SARA ORNELAS           2722 ABILENE ST                                                                                         SAN ANGELO         TX 76901‐1935
SARA ORR               N3097 WILLING ROAD                                                                                      JEFFERSON          WI 53549‐9740
SARA OSBORN            2430 N PURDUM ST                                                                                        KOKOMO             IN 46901‐1439
SARA OSBORNE           3802 S KESSLER FREDERICK RD                                                                             WEST MILTON        OH 45383‐9795
SARA OWENS             228 LIMESTONE RD                                                                                        OXFORD             PA 19363‐1231
SARA PALMER            561 BRIARWOOD DRIVE                                                                                     ADRIAN             MI 49221‐8441
SARA PARKS             4826 TENSHAW DR                                                                                         DAYTON             OH 45418‐1932
SARA PINIZZOTTO        15309 MAPLEWOOD AVE                                                                                     MAPLE HEIGHTS      OH 44137‐3922
SARA PLESS             1001 TALLAPOOSA ST APT 209                                                                              ALEXANDER CITY     AL 35010‐1556
SARA POLARIS‐SHAWLEY   1512 BLAKEWOOD CT                                                                                       SOUTH MILWAUKEE    WI 53172‐3549
SARA R CAUDLE          2001 CRIMSON PL                                                                                         BESSEMER           AL 35022‐3870
SARA R CURRIE          1057 ORLO DR. N.W.                                                                                      WARREN             OH 44485‐2427
SARA RAMEY             96 SHERWOOD DR                                                                                          LEXINGTON          OH 44904‐1041
SARA REED              315 E GRANT ST                                                                                          GREENTOWN          IN 46936‐1206
SARA REGESKI           15207 N CATALPA PL                                                                                      FOUNTAIN HLS       AZ 85268‐2232
SARA REPEN             36783 LANSBURY LN                                                                                       FARMINGTON         MI 48335‐2935
SARA ROBINSON          3222 WOODHAVEN DR                                                                                       FRANKLIN           OH 45005‐4865
SARA RODELL            978 DREON DR                                                                                            CLAWSON            MI 48017‐1014
SARA RUSSELL           3000 S SWOPE DR                                                                                         INDEPENDENCE       MO 64057‐3369
SARA RUTAN             215 S H ST                                                                                              TILTON              IL 61833‐7824
SARA S MILES           18756 6TH AVENUE RD                                                                                     THREE RIVERS       MI 49093‐9354
SARA S VARNER          800 LAKE PORT BLVD.                  APT# D305                                                          LEESBURG           FL 34748
SARA SAMUEL            1444 AMBROSE AVE                                                                                        CINCINNATI         OH 45224‐2522
SARA SANDERS           150 ANTHONY ST                                                                                          ROCHESTER          NY 14619‐1704
SARA SANTA MARIA       238 SARANAC AVE                                                                                         BUFFALO            NY 14216‐1932
SARA SCHNEIDER TRUST   SARA SCHNEIDER & FERN FINKEL TTEES   U/A DTD 6/29/92            4524 LINDENWOOD LANE                    NORTHBROOK          IL 60062‐1034
                       FBO SARA SCHNEIDER TR
SARA SCHOENEMAN        2477 SOMERSET BLVD APT 210                                                                              TROY              MI 48084‐4060
SARA SHAFFER           PO BOX 294                           82 NORA STREET                                                     CLARK             PA 16113‐0294
SARA SISTERMAN
SARA SMITH             9105B WYOMING ST                                                                                        OSCODA            MI   48750‐2322
SARA SNEDEN            2764 INGLIS ST                                                                                          DETROIT           MI   48209‐1059
SARA SPENCE            125 CLAIREMONT AVE                   STE 420                                                            DECATUR           GA   30030‐2551
SARA SPENCER           1821 DARBYSHIRE DR                                                                                      DEFIANCE          OH   43512‐3309
SARA STABENOW          9405 HURON RAPIDS DR                                                                                    WHITMORE LAKE     MI   48189‐9383
SARA STAGNER           2600 EASY ST                                                                                            DENISON           TX   75020‐7122
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Name                           Address1                          Address2             Address3        Address4                 City              State Zip
SARA STRICKLAND                4280 CARY DR                                                                                    SNELLVILLE         GA 30039‐6563
SARA SUNDERLAND                3229 STATE ROUTE 7                                                                              FOWLER             OH 44418‐9781
SARA T ROSE AND PAUL B ROSE    JT TEN WROS                       1220 CLERMON DRIVE                                            CHATTANOOGA        TN 37415‐3604
SARA TAMEZ                     2403 MILFORD CRT                                                                                LAREDO             TX 78043
SARA TAYLOR                    3825 CANTERBURY AVE                                                                             KALAMAZOO          MI 49006‐2701
SARA VARNER                    27016 OLD ENGLISH COURT                                                                         LEESBURG           FL 34748‐8882
SARA VICKERS‐HOPKINS           401 SHERMAN ST                                                                                  BUFFALO            NY 14212‐1163
SARA WALLER                    330 HARGROVE CIR                                                                                CUNNINGHAM         TN 37052‐4835
SARA WARDA                     4207 SHROYER                                                                                    KETTERING          OH 45429
SARA WASHBURN                  1235 FAIRHAVEN DR                                                                               MANSFIELD          TX 76063‐2952
SARA WEBB                      20815 WAYLAND ST                                                                                SOUTHFIELD         MI 48076‐5669
SARA WEBB                      106 N 6TH ST                                                                                    OAKWOOD            OH 45873‐8938
SARA WEBB                      675 PROVINCETOWN RD                                                                             AUBURN HILLS       MI 48326‐3443
SARA WELCH
SARA WILHOIT                   143 COTTON CREEK DR                                                                             MCDONOUGH         GA   30252‐9033
SARA WILLIAMSON                5750 GARFIELD AVE                                                                               MAPLE HEIGHTS     OH   44137‐3351
SARA WOLLUM                    113 4TH W ST                                                                                    CANBY             MN   56220
SARA Y ESPARZA                 2220 S NIAGARA ST                                                                               SAGINAW           MI   48602‐1245
SARA Z BOWSER                  679 SANTA MONICA DR                                                                             YOUNGSTOWN        OH   44505‐1143
SARA ZACHARY                   923 S 23RD ST                                                                                   NEW CASTLE        IN   47362‐2416
SARABANDO, ANTONIO             1975 LYNTON CIR                                                                                 WELLINGTON        FL   33414‐8048
SARABELL FREEMAN               5087 YORKTOWN DR                                                                                MOUNT MORRIS      MI   48458‐8864
SARABIA, JOSEPHINE             821 CROSWELL ST                                                                                 ADRIAN            MI   49221‐2433
SARABIA, JULIAN P              12546 TIBBETTS STREET                                                                           SYLMAR            CA   91342‐2642
SARABIA, NICKOLAS M            21 CLEREMONT LN                                                                                 WENTZVILLE        MO   63385
SARABIA, RACHEL M              1517 IDLEWILDE DR                                                                               EL PASO           TX   79925‐2453
SARABJIT SIDHU                 47446 PARKGATE CT                                                                               CANTON            MI   48188‐4706
SARACELLI, JANE N              51 HOLLAND AVE                                                                                  SLEEPY HOLLOW     NY   10591‐1913
SARACELLI, JANE N              51 HOLLAND AVENUE                                                                               NO TARRYTOWN      NY   10591‐1913
SARACELLI, JOSEPHINE M         35 LOH AVE                                                                                      TARRYTOWN         NY   10591‐4631
SARACELLI, PETER G             35 LOH AVE                                                                                      TARRYTOWN         NY   10591‐4631
SARACENO HOLDING TRUST         C\O KURT SARACEN ASSOCIATES       57 WELLS AVE                                                  NEWTON CENTRE     MA   02459
SARACENO, DOMINICK             33 BENDER DR                                                                                    ORCHARD PARK      NY   14127‐2330
SARACENO, PETER D              40 MARYCREST LN                                                                                 WEST SENECA       NY   14224‐3816
SARACHO JUAREZ SA DE CV        CARRETARA A PIEDRAS NEGRAS                                             RAMOS ARIZPE MEXICO EM
                                                                                                      00000 MEXICO
SARACHO JUAREZ, S.A. DE C.V.   PASEO TRIUNFO DE LA REPUBL                                             CIUDAD JUAREZ EM 32330
                                                                                                      MEXICO
SARACINO                       1150 1ST AVE STE 120                                                                            KING OF PRUSSIA   PA   19406‐1365
SARACINO, MABEL M              15 MELVINA DR                                                                                   LAWRENCEVILLE     NJ   08648‐2035
SARADGENE JEAN‐BAPTISTE        C/O RICHARD E. GENTER, ESQUIRE    610 YORK ROAD        SUITE 200                                JENKINTOWN        PA   19046
SARADPON, DANNY L              5114 S ROLLING RD                                                                               BALTIMORE         MD   21227‐4943
SARAE FULTON                   APT 416                           419 SAXON ROAD                                                LANSING           MI   48917‐1023
SARAETTA STROUP                9672 N STEINBARGER LAKE RD                                                                      WAWAKA            IN   46794‐9626
SARAF JR, SARAFINO T JR        PO BOX 638                                                                                      LOCKPORT          NY   14095‐0638
SARAF, SARAFINO T              PO BOX 638                                                                                      LOCKPORT          NY   14095‐0638
SARAF, SARAFINO T              PO BOX 2162                                                                                     ARCADIA           FL   34265‐2162
SARAF, THOMAS J                1000 ELYSIAN FIELDS RD                                                                          WASKOM            TX   75692‐5206
SARAFIAN NORMAN                SARAFIAN, NORMAN
SARAFIAN, ALEX M               16810 WAYNE RD                                                                                  LIVONIA           MI 48154‐2217
SARAFIAN, CHRISTINE A          20948 MAYBURY PARK DR                                                                           NORTHVILLE        MI 48167‐0149
SARAFIAN, CHRISTINE ANI        20948 MAYBURY PARK DR                                                                           NORTHVILLE        MI 48167‐0149
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SARAFIAN, KARL           4090 FOXPOINTE DR                                                                                         WEST BLOOMFIELD       MI 48323‐2606
SARAFIN, JAMES E         1002 TRILLIUM PL                                                                                          INDIAN TRAIL          NC 28079‐4332
SARAFIN, RONALD JOSEPH   4745 MARGARET DR.                                                                                         CLARENCE              NY 14031‐2250
SARAFINAS, LAWRENCE S    1756 BOBCAT TRAIL BLVD.                                                                                   NORTH PORT            FL 34288
SARAFINO SARAF           PO BOX 2162                                                                                               ARCADIA               FL 34265‐2162
SARAFINO SARAF           PO BOX 638                                                                                                LOCKPORT              NY 14095‐0638
SARAFINSKI, MICHAEL      53130 VILLA ROSA DR                                                                                       MACOMB                MI 48042‐5747
SARAGA, CHARLES D        637 CAVERN TER                                                                                            SEBASTIAN             FL 32958‐6544
SARAGA, LESTER J         11 FARM AVE HIGHLAND WDS                                                                                  WILMINGTON            DE 19810
SARAGILOS, GERALD S      1152 S 8 MILE RD                                                                                          MIDLAND               MI 48640‐9131
SARAGOSA CASTELLON       PO BOX 84                     335 S MAPLE                                                                 HEMLOCK               MI 48626‐0084
SARAGOSA, ANTHONY G      33316 HARRINGTON                                                                                          FRASER                MI 48026‐2075
SARAH A AKERS‐BOST       1462 BUD AVE                                                                                              YPSILANTI             MI 48198‐3309
SARAH A KENNEDY          1251 E HURD RD                                                                                            CLIO                  MI 48420‐7926
SARAH A MEARES           520 W 23RD AVE                                                                                            GULF SHORES           AL 36542‐3032
SARAH A MILLS MCNEAL     3404 WILLIAMSBURG ST NW                                                                                   WARREN                OH 44485‐2261
SARAH A PERAINO          208 BISCAYNE DR                                                                                           ROCHESTER             NY 14612
SARAH A RUNYAN           521 SAGINAW ST                                                                                            SAGINAW               MI 48602‐1538
SARAH A STEVENS          ATTN ROBERT W PHILLIPS        C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                    EAST ALTON             IL 62024
                                                       ANGELIDES & BARNERD LLC      521

SARAH A TAYLOR           807 FAIRFAX ST.                                                                                           YOUNGSTOWN           OH   44505
SARAH A WHITTINGTON      PO BOX 320381                                                                                             FLINT                MI   48532‐0007
SARAH AARON              801 CLARK ST                                                                                              KOKOMO               IN   46901‐6605
SARAH ABERNATHY          7421 JACKSON RAYMOND RD                                                                                   RAYMOND              MS   39154‐8327
SARAH ABSHEAR            166 WESTHAFER RD                                                                                          VANDALIA             OH   45377‐2837
SARAH ADAMS              5311 BERMUDA LN                                                                                           FLINT                MI   48505‐1092
SARAH ADAMS              2829 S WATERWORKS RD                                                                                      BUFORD               GA   30518‐1453
SARAH ALLEN              8325 LOWELL AVE APT 1                                                                                     OVERLAND PARK        KS   66212‐2742
SARAH ALLEN              5935 MONTINA RD                                                                                           KNOXVILLE            TN   37912‐4557
SARAH ALLEN              69 BROOKHAVEN DR                                                                                          TROTWOOD             OH   45426‐3102
SARAH ALLINGER           217 HIGH ST                                                                                               GRAND BLANC          MI   48439‐1336
SARAH ALLISON            39468 VINNIE CT                                                                                           CLINTON TWP          MI   48038‐4022
SARAH AMOS               1440 MAIN ST E                                                                                            WHITE PLAINS         GA   30678‐1908
SARAH ANDERSON           519 FLINT ST                                                                                              ROCHESTER            NY   14611‐3605
SARAH ANDRAS             242 BON AIR AVE                                                                                           ELYRIA               OH   44035‐4116
SARAH ANDREWS            13444 24TH AVE                                                                                            MARNE                MI   49435‐9642
SARAH ANGRUM‐WALLACE     1911 CRESCENT DR                                                                                          MONROE               LA   71202‐3023
SARAH ARMIJO             13520 FILMORE ST                                                                                          PACOIMA              CA   91331‐2905
SARAH AULTZ              117 EDISON ST                                                                                             UNIONTOWN            PA   15401‐2580
SARAH AVARELLO           427 CALLODINE AVE                                                                                         BUFFALO              NY   14226‐2921
SARAH AVERY              1619 ACADEMY PL                                                                                           DAYTON               OH   45406‐4721
SARAH AZEVEDO            903 OPALITE DR                                                                                            CARSON CITY          NV   89705‐7127
SARAH B CAMPBELL         P.O. BOX 111                                                                                              WEST ELKTON          OH   45070‐0111
SARAH B WEST             851 N EUCLID AVE                                                                                          DAYTON               OH   45407‐1909
SARAH BAKER              1133 E SEMINARY ST                                                                                        DANVILLE             IL   61932‐4946
SARAH BALICKI            22412 MILLENBACH ST                                                                                       SAINT CLAIR SHORES   MI   48081‐1306
SARAH BALL               8729 WEST 1400 NORTH                                                                                      ELWOOD               IN   46036‐9124
SARAH BALLENTINE
SARAH BANKS              5042 LINDBERGH BLVD                                                                                       WEST CARROLLTON      OH 45449‐2700
SARAH BARCLAY            13 POWDER FARM CT                                                                                         PERRY HALL           MD 21128‐9708
SARAH BARGER             6273 PRITCHETT CIR            C/O JOSEPH DAVID BARGER                                                     POWDER SPRINGS       GA 30127‐6215
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SARAH BARNARD‐MURPHY   151 WESTRIDGE PARC LN                                                                 ELLISVILLE          MO 63021‐4210
SARAH BASS             13670 CARRACH AVE UNIT 117                                                            ROSEMOUNT           MN 55068‐4750
SARAH BATES            3632 DUFFIELD RD                                                                      KENT                OH 44240‐6520
SARAH BEARD            880 BETHEL RD NW                                                                      CONYERS             GA 30012‐2106
SARAH BEARDEN          2610 NELWIN PL                                                                        ARLINGTON           TX 76016‐1665
SARAH BEECHAM          325 HORTON ST                                                                         DETROIT             MI 48202‐3113
SARAH BEELER           2446 S FENTON RD                                                                      HOLLY               MI 48442‐8372
SARAH BELL             808 AUTUMN RIDGE LN                                                                   FORT WAYNE          IN 46804‐6404
SARAH BENNETT          735 E 163RD ST APT 2E                                                                 BRONX               NY 10456‐7215
SARAH BIDLACK          1802 AVALON CREEK BLVD                                                                VIENNA              OH 44473‐9560
SARAH BIRDWELL         PO BOX 404                                                                            CLIFTON             TX 76634‐0404
SARAH BLAIR            5021 E BERRY RD                                                                       PLEASANT LAKE       MI 49272‐9703
SARAH BLAKE            1564 W DIVISION RD                                                                    HUNTINGTON          IN 46750‐9245
SARAH BLALOCK          721 N UPLAND AVE                                                                      DAYTON              OH 45417‐1562
SARAH BLESSMAN         4495 IROQUOIS ST                                                                      DETROIT             MI 48214‐1221
SARAH BLISS            2913 W ADAMS ST                                                                       SAINT CHARLES       MO 63301‐4603
SARAH BOGIE            6462 LOCUST LN                                                                        FRANKLIN            OH 45005‐5421
SARAH BOLTHOUSE        23269 TUCK RD                                                                         FARMINGTON HILLS    MI 48336‐3464
SARAH BOOKER‐FRONK     1359 COUNTY ROAD 22A                                                                  STRYKER             OH 43557‐9778
SARAH BOURNE           8198 HEARDSVILLE CIR                                                                  CUMMING             GA 30028‐3690
SARAH BOYD             1230 DREXEL DR                                                                        ANDERSON            IN 46011‐2441
SARAH BOYD             3362 N KESSLER BLVD                                                                   INDIANAPOLIS        IN 46222
SARAH BOYKINS          5121 BALLARD DR                                                                       DAYTON              OH 45418‐2021
SARAH BRADLEY          310 GREENDALE AVE                                                                     MANSFIELD           OH 44902‐7727
SARAH BRAYSHAW         13300 FOREST OAKS DR                                                                  SMITHVILLE          MO 64089‐8394
SARAH BRIDGES          528 MARGARET                                                                          MAGNOLIA            AR 71753‐2530
SARAH BRIGHAM          715 E WILLIAMS ST                                                                     DANVILLE             IL 61832‐4830
SARAH BROCIOUS         2359 NORTON LN                                                                        NORTH BLOOMFIELD    OH 44450‐9713
SARAH BROWN            2500 GREENS MILL RD                                                                   COLUMBIA            TN 38401‐6177
SARAH BROWN            22 BLACK OAK RD SW                                                                    CARTERSVILLE        GA 30120‐6834
SARAH BROWN            63 MOUND ST                                                                           DAYTON              OH 45402‐8320
SARAH BROWN            PO BOX 1123                                                                           LEWISBURG           TN 37091‐0123
SARAH BROWN            915 ROBIN ST                                                                          MONROE              LA 71202‐6847
SARAH BROWNING         556 ASHTON MANOR DR                                                                   LOGANVILLE          GA 30052‐5389
SARAH BRYANT           389 SPOONER RD                                                                        QUINCY              FL 32351‐5696
SARAH BUCHANAN         2423 BRACKETT DR SW                                                                   MARIETTA            GA 30060‐4613
SARAH BUGHER           4304 NW 56TH ST                                                                       KANSAS CITY         MO 64151‐2653
SARAH BURCHETT         4905 LINDBERGH BLVD                                                                   DAYTON              OH 45449‐2734
SARAH BUTLER           69 CAIN AVE                                                                           HAMILTON            OH 45011‐5762
SARAH C CAREY          2043 N SAWYER AVE               APT 1                                                 CHICAGO              IL 60647‐3799
SARAH C DURST          2005 SCHULLER WAY                                                                     CAUSELBERRY         FL 32707‐5398
SARAH C KELLY          2728 BARCLAY MESSERLY RD.                                                             SOUTHINGTON         OH 44470‐9735
SARAH C LOOMIS         112 SPRINGBROOK CIR                                                                   ELYRIA              OH 44035‐8968
SARAH C PAULSEN        2259 EDGEMERE LAKE CIR                                                                MARIETTA            GA 30062‐8401
SARAH C RICHARDS       7685 STATE ROUTE 5                                                                    RAVENNA             OH 44266
SARAH C RILEY          3105 SUFFOLK CT                                                                       FLUSHING            MI 48433‐3121
SARAH C SORRELL        1889 S. SPRINGCREST CT.                                                               BEAVERCREEK         OH 45432‐1883
SARAH C WILLIAMS       4532 NEW RD                                                                           YOUNGSTOWN          OH 44515‐3811
SARAH CAGLE            1117 PELHAM BOULEVARD                                                                 WATERFORD           MI 48328‐4265
SARAH CALANDRINO       15759 CANAL RD APT 104                                                                CLINTON TWP         MI 48038‐5019
SARAH CALDWELL         8400 WHITE EAGLE AVE UNIT 201                                                         LAS VEGAS           NV 89145‐2405
SARAH CALVERT          206 E 21ST ST                                                                         OAK GROVE           MO 64075
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SARAH CAMDEN          2104 S DENNY HILL RD                                                                      PARAGON          IN 46166‐9524
SARAH CAMPBELL        2710 OWEN ST                                                                              SAGINAW          MI 48601‐3844
SARAH CAMPBELL        PO BOX 363                                                                                BOKCHITO         OK 74726‐0363
SARAH CANTRELL        296 COUNTY RD #619                                                                        WOODLAND         AL 36280
SARAH CAROTHERS       PO BOX 152451                                                                             ARLINGTON        TX 76015‐8451
SARAH CARR            PO BOX 561                                                                                HIGHLAND         MI 48357‐0561
SARAH CARTER          1328 W HOME AVE                                                                           FLINT            MI 48505‐2533
SARAH CARTER          1476 FREDERICK CT                                                                         MANSFIELD        OH 44906‐2455
SARAH CASTETTER       1311 S 9TH ST                                                                             NOBLESVILLE      IN 46060‐3750
SARAH CASTILLEJA      3212 W COLEMAN RD                                                                         KANSAS CITY      MO 64111‐3619
SARAH CHAMBERS        47 HUNTING RIDGE RD                                                                       NEWARK           DE 19702‐3718
SARAH CHAPMAN         2208 TUCKER LN APT B8                                                                     BALTIMORE        MD 21207‐7843
SARAH CHAUMLEY        PO BOX 47554                                                                              OAK PARK         MI 48237‐5254
SARAH CHERRY          181 CRESTFIELD PL                                                                         FRANKLIN         TN 37069‐1843
SARAH CHIANESE        606 SANHICAN DR                                                                           TRENTON          NJ 08618‐4918
SARAH CLARK           5131 SANDALWOOD CIR                                                                       GRAND BLANC      MI 48439‐4267
SARAH CLAY            1900 ACKLEN AVE APT 504                                                                   NASHVILLE        TN 37212‐3728
SARAH CLEMONS         10523 LONDON LN                                                                           APISON           TN 37302‐7537
SARAH CLINE           3884 COLONIAL DR                                                                          ANDERSON         IN 46012‐9333
SARAH COBB            1425 RAY LYNN DR                                                                          LAWRENCEBURG     IN 47025‐8957
SARAH COFIELD         2424 BURTON ST SE                                                                         WARREN           OH 44484‐5215
SARAH COGGIN          450 GEORGE COGGIN RD                                                                      NEWNAN           GA 30265‐1867
SARAH COLLINS         5859 NASHVILLE AVE                                                                        BATON ROUGE      LA 70812‐2642
SARAH COLLINS         9 COMBONNE CT                                                                             LITTLE ROCK      AR 72211‐5514
SARAH COLLINS         AA ACCIDENT ATTORNEYS, PLC      4700 TELLER AVE, 2ND FLOOR                                NEWPORT BEACH    CA 92660
SARAH COLLINS         288 RIVER VISTA DRIVE                                                                     COPE             SC 29038
SARAH COREY           257 FOREST PARK DR                                                                        YOUNGSTOWN       OH 44512‐1451
SARAH CORKER          618 8TH AVE NE                                                                            CAIRO            GA 39828‐1713
SARAH COSTELLO        6630 S BRAINARD AVE APT 105                                                               COUNTRYSIDE       IL 60525‐2692
SARAH COTTON          87 PALOMINO PL                                                                            CHARLES TOWN     WV 25414‐4504
SARAH COWELL          1118 FAIRMONT DR                                                                          SIDNEY           OH 45365‐3420
SARAH CRAWFORD        PO BOX 339                                                                                NORTH EAST       MD 21901‐0339
SARAH CRISP           1717 S WALNUT ST                                                                          MUNCIE           IN 47302‐3270
SARAH CRISTELLO       27 CHOATE LN                                                                              PLEASANTVILLE    NY 10570‐2702
SARAH CURRY           1194 NAAMANS CREEK RD           NAAMANS CREEK COUNTRY MANOR                               GARNET VALLEY    PA 19061‐1615

SARAH CURRY           18611 FORRER ST                                                                           DETROIT         MI   48235‐2912
SARAH CZECHOWSKI      6437 LUCAS ROAD                                                                           FLINT           MI   48506‐1222
SARAH D BROWNING      556 ASHTON MANOR DR                                                                       LOGANVILLE      GA   30052‐5389
SARAH D COFIELD       2424 BURTON ST SE                                                                         WARREN          OH   44484‐5215
SARAH D LEATHERWOOD   3715 RAINBOW DR APT 141B                                                                  RAINBOW CITY    AL   35906‐6407
SARAH DANGCIL         28852 KAUFMAN STREET                                                                      ROSEVILLE       MI   48066‐2649
SARAH DANIELS         3127 PROSPECT ST                                                                          FLINT           MI   48504‐3276
SARAH DANIELS         555 SO MIDLAND                  BOX 316                                                   MERRILL         MI   48637
SARAH DARRELL         4638 OREGON ST                                                                            DETROIT         MI   48204‐5007
SARAH DAVIS           605 E REID RD APT 12                                                                      GRAND BLANC     MI   48439‐2203
SARAH DAVIS           35930 6 MILE RD                                                                           LIVONIA         MI   48152‐2975
SARAH DAVIS           211 E EARL ST                                                                             DILLON          SC   29536‐4135
SARAH DAVIS           4005 MILLER AVE                                                                           FORT WORTH      TX   76119‐3650
SARAH DAVIS           PO BOX 2055                                                                               ANDERSON        IN   46018‐2055
SARAH DAVIS           11743 CHERRYLAWN ST                                                                       DETROIT         MI   48204‐1005
SARAH DAVIS           3257 IOLANI STREET                                                                        MAKAWAO         HI   96768‐8536
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SARAH DAY                 4762 STATE ROAD 32 E                                                                   ANDERSON                 IN 46017‐9537
SARAH DAYTON              480 SUNNYCLIFF PL                                                                      CENTERVILLE              OH 45459‐4345
SARAH DEDINSKY            15 W GIBBONS ST                                                                        LINDEN                   NJ 07036‐4051
SARAH DENDY               3795 JUNIPER ST                                                                        CLARKSTON                MI 48348‐1440
SARAH DEVONE              95 BIDWELL AVE                                                                         JERSEY CITY              NJ 07305‐3326
SARAH DEVRIES‐ALLEN       6374 CHERRY TREE CT                                                                    ROCHESTER HILLS          MI 48306‐3308
SARAH DEWITT              311 CHASE ST TERRA VIEW #2                                                             VIROQUA                  WI 54665
SARAH DICKERSON           9201 S. 461 EAST                                                                       MUNCIE                   IN 47302
SARAH DILL                484 STREAMVIEW CT                                                                      ROCHESTER HILLS          MI 48309‐1806
SARAH DIMAMBRO            4681 ELDER LN                                                                          SAGINAW                  MI 48604‐9536
SARAH DINKELAKER          4892 RENSCH RD                                                                         GROVE CITY               OH 43123‐9671
SARAH DIXON               19200 SHIAWASSEE DR APT 319                                                            DETROIT                  MI 48219‐5632
SARAH DOWDLE              89 MASON LN                                                                            BUTLER                   GA 31006‐4655
SARAH DOWNS               4050 CLOVERCROFT RD                                                                    FRANKLIN                 TN 37067‐5825
SARAH DOYLE               7370 WAINWRIGHT ST                                                                     N RIDGEVILLE             OH 44039‐4046
SARAH DOYLE               4540 BOUGAINVILLA DR #7                                                                LAUDERDALE BY THE SEA    FL 33308
SARAH DRAKE               520 SOUTH WABASH AVENUE                                                                KOKOMO                   IN 46901‐6333
SARAH DRYER               5670 IRISH RD                                                                          VERMONTVILLE             MI 49096‐8705
SARAH DUNCAN              2226 PITT ST                                                                           ANDERSON                 IN 46016‐4646
SARAH DUNKLING            1513 LAKE FOREST DR                                                                    FLINT                    MI 48504‐1988
SARAH DURST               2005 SCHULLER WAY                                                                      CASSELBERRY              FL 32707‐5398
SARAH DYCUS               6383 BRIAN CIRCLE LN                                                                   BURTON                   MI 48509‐1374
SARAH DYE                 3677 E 149TH ST                                                                        CLEVELAND                OH 44120‐4929
SARAH DYER                6323 BALFOUR DR                                                                        LANSING                  MI 48911‐5441
SARAH DYSON               STERLING HOUSE ASSISTED LIVING   1851 W GRANT ST APT 215                               PIQUA                    OH 45356
SARAH E DAVIS             211 E EARL ST                                                                          DILLON                   SC 29536‐4135
SARAH E MOORE             9915 E 25TH ST 1319                                                                    INDIANAPOLIS             IN 46229
SARAH E PIETRZAK          3901 OLD TROY PIKE                                                                     DAYTON                   OH 45404‐1322
SARAH EATON               10289 MEDALLION DR                                                                     INDIANAPOLIS             IN 46231‐1970
SARAH EBERSBERGER         19443 RAVINES CT                                                                       NORTH FORT MYERS         FL 33903‐9054
SARAH ECKER               11060 BERYL DR                                                                         WHITE LAKE               MI 48386‐3600
SARAH EDWARDS             PO BOX 398                                                                             LISMAN                   AL 36912‐0398
SARAH EDWARDS
SARAH ELAHEE              250 HORNWOOD DR                                                                        DAYTON                  OH   45405‐1122
SARAH ELDRIDGE            412 SANDAL ST                                                                          WEST MONROE             LA   71292‐6524
SARAH ENGLE               528 LEVEL FIVE RD                WOLF RIVER RESORT                                     ALBANY                  KY   42602‐6247
SARAH ERWIN               PO BOX 287                                                                             LAPEL                   IN   46051‐0287
SARAH ESPARZA             14933 S SAN FRANCISCO AVE                                                              POSEN                   IL   60469‐1423
SARAH EVERETT             55 NORTHLAND AVE                                                                       BUFFALO                 NY   14208‐1106
SARAH F ENGLE             528 LEVEL # 5 RD                 WOLF RIVER RESORT                                     ALBANY                  KY   42602‐9207
SARAH FAGAN               161 HOUSTON ST                                                                         MOBILE                  AL   36606‐1481
SARAH FARMER              7437 VAN NATTA LN                                                                      FORT WORTH              TX   76112‐5905
SARAH FAVOURS             1562 E LONG ST                                                                         COLUMBUS                OH   43203‐1966
SARAH FITZGERALD          14562 POLO CLUB DR                                                                     STRONGSVILLE            OH   44136‐8914
SARAH FITZPATRICK         5455 DEMARAY DR                                                                        GRANTS PASS             OR   97527‐9110
SARAH FLOWERS             9611 CAMERON ST                                                                        DETROIT                 MI   48211‐1003
SARAH FORSTER             3951 STARK LN                                                                          YPSILANTI               MI   48197‐9042
SARAH FOX                 1524 E GUNN RD                                                                         ROCHESTER               MI   48306‐1920
SARAH FRAIM               8150 E COLDWATER RD                                                                    DAVISON                 MI   48423‐8938
SARAH FRANCES PRITCHETT   520 VANIMAN AVE                                                                        TROTWOOD                OH   45426‐2555
SARAH FRANK               5120 MCDOWELL RD                                                                       LAPEER                  MI   48446‐8057
SARAH FREDERICK           135 DUTCH RD                                                                           CARROLLTOWN             PA   15722‐6400
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SARAH FREDRICKS                    5502 HICKORY RIDGE DR                                                                    BOSSIER CITY       LA 71111‐5521
SARAH FRIEND                       1444 CHESTERFIELD AVE                                                                    BIRMINGHAM         MI 48009‐1022
SARAH FRYER                        6620 SPRING MILL CIR                                                                     GWYNN OAK          MD 21207‐5580
SARAH FULLER                       3226 CLEMENT ST                                                                          FLINT              MI 48504‐2922
SARAH FULLER‐JACOBS
SARAH FUNK                         50231 HARDING ST                                                                         CANTON            MI   48188‐6712
SARAH G MIGNELLA                   1617 MORRIS PL                                                                           NILES             OH   44446‐2839
SARAH G WILDMAN                    604 GRASSDALE RD.                                                                        CARTERSVILLE      GA   30121‐1916
SARAH GABRIEL                      7167 GRAND RIVER RD RT 1                                                                 LAINGSBURG        MI   48848
SARAH GADDIS                       3613 ATLANTA HWY                                                                         FLOWERY BRANCH    GA   30542‐2923
SARAH GALLAGHER                    36114 JAMISON ST                                                                         LIVONIA           MI   48154‐5115
SARAH GARCIA                       8374 HOMER ST                                                                            DETROIT           MI   48209‐1958
SARAH GARDNER                      2165 SINAI DR                                                                            MASON             TN   38049‐7621
SARAH GARRISON                     19461 MURRAY HILL ST                                                                     DETROIT           MI   48235‐2426
SARAH GENTRY
SARAH GIBSON                       185 BOWL LN                                                                              BOLIGEE           AL   35443
SARAH GIVENS                       336 LEE ROAD 295                                                                         SMITHS            AL   36877‐2316
SARAH GOKEY                        222 S 25TH ST APT 117                                                                    TERRE HAUTE       IN   47803‐1860
SARAH GOOSLIN                      5666 W OREGON RD                                                                         LAPEER            MI   48446‐8008
SARAH GOTTSCHALL                   4620 NORTH RIVER ROAD                                                                    JANESVILLE        WI   53545‐8921
SARAH GOUDY                        4728 YORKSHIRE RD                                                                        DETROIT           MI   48224‐2399
SARAH GOWER                        781 BARNETT ST NE                                                                        ATLANTA           GA   30306‐4136
SARAH GRADDY                       1472 ROBERT BRADBY DR APT B        C/O EULA FOSTER                                       DETROIT           MI   48207‐4942
SARAH GRAHAM                       3139 RAY ST                                                                              SAGINAW           MI   48601‐4628
SARAH GRANT                        1020 VALLEY AVEST                                                                        MARION            IN   46953
SARAH GRAVES                       5048 EMERSON COURT SOUTH DR                                                              INDIANAPOLIS      IN   46218‐3136
SARAH GRAY                         801 W PATERSON ST                                                                        FLINT             MI   48504‐7243
SARAH GRAYSON                      112 SALEM DR                                                                             MONROE            LA   71202‐3734
SARAH GREEN                        4707 ALPINE DR SW                                                                        LILBURN           GA   30047‐4605
SARAH GREEN                        6328 MORSE AVE                                                                           NORTH HOLLYWOOD   CA   91606‐2922
SARAH GREEN                        3517 ORCHARD ST                                                                          FOREST HILL       TX   76119‐7206
SARAH GRIGGS                       1530 MAGNOLIA PL                                                                         CUMMING           GA   30040‐4506
SARAH GROEZINGER                   23103 THORNRIDGE DR                                                                      GRAND BLANC       MI   48439‐9271
SARAH GULLEY                       699 MCKINLEY AVE                                                                         AKRON             OH   44306‐1438
SARAH GUY                          6497 BRAY RD                                                                             FLINT             MI   48505‐1812
SARAH H FRYER AND THOMAS S FRYER   9514 HIDDEN VALLEY CIRCLE NORTH                                                          SUN CITY          AZ   85351
SARAH H HIGGS                      1151 NILES‐CORTLAND RD. NE                                                               WARREN            OH   44484‐1008
SARAH H STEVENS                    410 PENNA AVE                                                                            MCDONALD          OH   44437
SARAH HAGES                        1611 S VAN BUREN ST                                                                      BAY CITY          MI   48708‐8083
SARAH HALE                         6495 BRIAN CIRCLE LN                                                                     BURTON            MI   48509‐1378
SARAH HALL                         6409 SOMMERSET RD                                                                        LANSING           MI   48911‐5678
SARAH HAMILTON                     12701 N PENNSYLVANIA AVE APT 5                                                           OKLAHOMA CITY     OK   73120‐9427
SARAH HAMLIN                       388 FREEMAN ST                                                                           JACKSON           GA   30233‐2523
SARAH HAMPTON                      3470 ELM SWAMP RD                                                                        LEBANON           IN   46052‐8239
SARAH HAMPTON                      901 S BLAINE ST                                                                          MUNCIE            IN   47302‐2628
SARAH HANNA                        8063 WASHINGTON PARK DR                                                                  CENTERVILLE       OH   45459‐3652
SARAH HARDAWAY                     18069 MITCHELL ST                                                                        DETROIT           MI   48234‐1549
SARAH HARDEMAN                     19189 RIOPELLE ST                                                                        DETROIT           MI   48203‐1371
SARAH HARRIS                       2133 WEBBER AVE                                                                          BURTON            MI   48529‐2413
SARAH HARRIS                       5424 CLAXTON AVE                                                                         SAINT LOUIS       MO   63120‐2525
SARAH HARRIS                       3743 GLOUCESTER ST                                                                       FLINT             MI   48503‐4537
SARAH HARRIS                       PO BOX 431793                                                                            PONTIAC           MI   48343‐1793
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Name                   Address1                         Address2                  Address3   Address4         City           State Zip
SARAH HATFIELD         1905 E DELTA DR                                                                        MUNCIE          IN 47303‐9582
SARAH HAUXWELL         132 FLORENCE ST                                                                        LAKE ORION      MI 48362‐3234
SARAH HAYES            3396 DEVONWOOD HLS NE APT B                                                            GRAND RAPIDS    MI 49525‐6828
SARAH HAYGOOD          8066 HARTWELL ST                                                                       DETROIT         MI 48228‐2741
SARAH HAYNES           10616 MELLOW MDWS APT 46D                                                              AUSTIN          TX 78750‐1243
SARAH HAYNES           614 W RANSOM ST                                                                        KALAMAZOO       MI 49007‐3358
SARAH HECKLER          23600 NORTHLINE RD               C/O MEDILODGE OF TAYLOR                               TAYLOR          MI 48180‐4620
SARAH HEMBREE          2264 CANDLEWOOD DR                                                                     KETTERING       OH 45419‐2812
SARAH HENDERSON        280 HOWLAND AVE                                                                        ENGLEWOOD       NJ 07631‐3210
SARAH HERNDON          20 NATALIA CT                                                                          NEWNAN          GA 30263‐6515
SARAH HESTER           17122 DIANE DR                                                                         DAVISBURG       MI 48350‐3936
SARAH HICKS            4146 WESTBOURNE CIR                                                                    SARASOTA        FL 34238‐3248
SARAH HICKS            212 SHEETS ST                                                                          UNION           OH 45322‐3118
SARAH HIGDON           PO BOX 34                                                                              PATTONVILLE     TX 75468‐0034
SARAH HIGGS            1151 NILES CORTLAND RD NE                                                              WARREN          OH 44484‐1008
SARAH HILL             264 COUNTY ROAD 1245                                                                   VINEMONT        AL 35179‐8352
SARAH HISER            851 G STEPHENS RD                                                                      ROUNDHILL       KY 42275‐9427
SARAH HODAPP           28484 PONDSIDE CT                                                                      FLAT ROCK       MI 48134‐1482
SARAH HOEFLER          AN DER KREUZM▄HLE 48                                                                   LANDAU          DE 76829
SARAH HOEFLER          AN DER KREUZMUEHLE 48                                                                  LANDAU          DE 76829
SARAH HOLLINS          3120 FALCON DR                                                                         BURTON          MI 48519‐1485
SARAH HOLLISTER        W1037 COUNTY TT                                                                        MONDOVI         WI 54755
SARAH HOLLMAN          30 KING AVE                                                                            EWING           NJ 08638‐2120
SARAH HOLLOWAY         1004 TEMPLE ST SE                                                                      GRAND RAPIDS    MI 49507‐1982
SARAH HOLMES           8742 COYTH LN                                                                          SHREVEPORT      LA 71106‐6300
SARAH HONEYMAN         3381 CHEYENNE LN                                                                       JACKSONVILLE    FL 32223‐3240
SARAH HOPKINS          6137 RAINTREE BND                                                                      LITHONIA        GA 30058‐8942
SARAH HORN‐FORD        887 BARREN OAKS DR                                                                     PONTIAC         MI 48341‐2369
SARAH HORTON‐DEDRICK   1009 W BARNES AVE                                                                      LANSING         MI 48910‐1307
SARAH HOSKINS          5245 FLORA DR                                                                          LEWISBURG       OH 45338‐9741
SARAH HOSS             2707 BERRY AVE                                                                         INDEPENDENCE    MO 64057‐1248
SARAH HOWARD           3630 LYNN ST                                                                           FLINT           MI 48503‐7004
SARAH HUGHES           16831 WHITE HAVEN DR                                                                   NORTHVILLE      MI 48168‐2329
SARAH HUGHEY           9373 SUSSEX ST                                                                         DETROIT         MI 48228‐2323
SARAH HUTCHINS         75 ROYAL MALL DR                                                                       NILES           OH 44446‐3243
SARAH INNISS           734 EDGEWOOD AVE                                                                       TRENTON         NJ 08618‐5404
SARAH J BAKER          410 BREMAN AVE                                                                         SYRACUSE        NY 13211‐1535
SARAH J BONCORE        169 DUPONT AVE                                                                         TONAWANDA       NY 14150‐7814
SARAH J BORROUGHS      6300 HUSSEY LN                                                                         BENTON          AR 72019
SARAH J BRUNDIDGE      1247 GENESSE PARK BLVD                                                                 ROCHESTER       NY 14619
SARAH J DEROSE         117 LIND AVE                                                                           SYRACUSE        NY 13211‐1820
SARAH J DRYER          5670 IRISH RD                                                                          VERMONTVILLE    MI 49096‐8705
SARAH J DYSON          STERLING HOUSE ASSISTED LIVING   1851 W GRANT ST APT 215                               PIQUA           OH 45356‐2857
SARAH J GLOVER         1320 W FAIRVIEW AVE                                                                    DAYTON          OH 45406‐5737
SARAH J HARRIS         1102 CREEK TRAIL                                                                       ANNISTON        AL 36206
SARAH J PURCELL        615 E NORTH ST                                                                         KOKOMO          IN 46901‐3054
SARAH J SLAWSON        14971 ZAHM RD                                                                          ROCKTON          IL 61072‐9525
SARAH JACKSON          1624 8TH ST SE                                                                         DECATUR         AL 35601‐4302
SARAH JACKSON          1613 COUNTY ROAD 1107A                                                                 CLEBURNE        TX 76031‐0827
SARAH JARRETT          511 ATWATER ST                                                                         SAGINAW         MI 48601‐2507
SARAH JENKINS          702 MARSHALL AVE                                                                       SANDUSKY        OH 44870‐6907
SARAH JENNINGS         4431 N WHEELING AVE                                                                    MUNCIE          IN 47304‐1210
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Name                           Address1                         Address2                     Address3   Address4         City                   State Zip
SARAH JENSEN                   8316 THORNHAVEN CT                                                                        NORTH RICHLAND HILLS    TX 76180‐1625
SARAH JOHNSON                  7323 CHARNWOOD DR                                                                         HUBER HEIGHTS           OH 45424‐2633
SARAH JOHNSON                  4136 N 50 W                                                                               ANDERSON                IN 46012‐9571
SARAH JOHNSON                  295 OLD PEACHTREE RD NW                                                                   SUWANEE                 GA 30024‐2509
SARAH JOHNSON                  2449 E SANTIAGO TRL                                                                       CASA GRANDE             AZ 85294‐5767
SARAH JOHNSON‐SILVA            PO BOX 2642                                                                               YOUNGSTOWN              OH 44507‐0642
SARAH JONES                    990 N 16TH ST                    STONEBROOKE REHABILITATION                               NEW CASTLE              IN 47362‐4317
SARAH JONES                    10300 CAPITOL DR                                                                          SAINT LOUIS             MO 63136‐4306
SARAH JONES                    7540 S EBERHART AVE                                                                       CHICAGO                  IL 60619‐2206
SARAH JONES                    2261 WILSHIRE CIR                                                                         GOSHEN                  OH 45122‐9432
SARAH JONES                    2506 MACKIN RD                                                                            FLINT                   MI 48504‐3380
SARAH JORDAN                   2472 FENTON CREEK LN                                                                      FENTON                  MI 48430‐1396
SARAH JORDAN                   5614 MARJA ST                                                                             FLINT                   MI 48505‐2514
SARAH JOSEPH                   15901 FERGUSON ST                                                                         DETROIT                 MI 48227‐1570
SARAH K BUSCO                  600 CAMPBELL RD                                                                           SYRACUSE                NY 13211‐1217
SARAH K LILLEVIG               3716 LAUREL BLUFF CIR                                                                     HIGH POINT              NC 27265
SARAH KAPLAN CRUT TRUST        SARAH KAPLAN                     65 CLOVER LN                                             LIDO BEACH              NY 11561
SARAH KAPLAN REVOCABLE TRUST   SARAH KAPLAN                     65 CLOVER LN                                             LIDO BEACH              NY 11561
SARAH KEEGAN                   1501 PARKSIDE AVE APT 1M                                                                  EWING                   NJ 08638‐2613
SARAH KELLY                    2728 BARCLAY MESSERLY RD                                                                  SOUTHINGTON             OH 44470‐9735
SARAH KENNEDY                  1251 E HURD RD                                                                            CLIO                    MI 48420‐7926
SARAH KENNEDY                  2406 HARLAN ST                                                                            INDIANAPOLIS            IN 46203‐4401
SARAH KERN                     309 HYATT ST TRLR 23                                                                      BROOKFIELD              MO 64628‐2467
SARAH KHAN‐MUBEEN              2484 WEATHERVANE                                                                          W BLOOMFIELD            MI 48324‐3755
SARAH KINDINGER                1000 N BLAIR AVE                                                                          ROYAL OAK               MI 48067‐1422
SARAH KING                     24223 PETERSBURG AVE                                                                      EASTPOINTE              MI 48021‐3403
SARAH KING                     10845 BORGMAN AVE                                                                         BELLEVILLE              MI 48111‐5205
SARAH KING                     3125 BEELER AVE                                                                           INDIANAPOLIS            IN 46224‐2549
SARAH KUPFERSMITH              816 TOM TIM DR                                                                            PAULDING                OH 45879‐9243
SARAH L ALLEN                  1562 FARRINGTON DR                                                                        DAYTON                  OH 45420‐‐ 13
SARAH L AVERY                  1619 ACADEMY PLACE                                                                        DAYTON                  OH 45406‐4721
SARAH L BEECHAM                325 HORTON ST                                                                             DETROIT                 MI 48202‐3113
SARAH L BESS                   244 W CORNELL AVE                                                                         PONTIAC                 MI 48340‐2724
SARAH L BLALOCK                721 N UPLAND AVE                                                                          DAYTON                  OH 45417‐1562
SARAH L BOYKINS                5121 BALLARD AVE                                                                          DAYTON                  OH 45418‐2021
SARAH L BUGHER                 4304 NW 56TH ST                                                                           KANSAS CITY             MO 64151‐2653
SARAH L BUGORD                 1324 E DOWNEY AVE                                                                         FLINT                   MI 48505‐1710
SARAH L CAMDEN                 2104 S DENNY HILL RD                                                                      PARAGON                 IN 46166‐9524
SARAH L CAMPBELL               901 PALLISTER ST APT 115                                                                  DETROIT                 MI 48202‐2679
SARAH L HAMILTON               12701 N PENNSYLVANIA AVE APT 5                                                            OKLAHOMA CITY           OK 73120‐9427
SARAH L HAYNES                 10616 MELLOW MDWS                APT 46D                                                  AUSTIN                  TX 78750‐1243
SARAH L HOSKINS                5245FLORA DR.                                                                             LEWISBURG               OH 45338‐9741
SARAH L JAMES                  1317 E CORNELL AVE                                                                        FLINT                   MI 48505‐1750
SARAH L JOHNSON‐SILVA          PO BOX 2642                                                                               YOUNGSTOWN              OH 44507‐0642
SARAH L JORDAN                 112 DRESDEN AVE                                                                           PONTIAC                 MI 48340‐2515
SARAH L JORDAN                 114 DRESDEN AVE APT 102                                                                   PONTIAC                 MI 48340‐2543
SARAH L LAMBRIGHT              P.O BOX 444                                                                               KINGSTREE               SC 29556‐0444
SARAH L LORIDON                1702 6TH ST                                                                               WYANDOTTE               MI 48192‐7211
SARAH L LOWE                   5846 BEAUFORT LN                                                                          INDIANAPOLIS            IN 46254‐1049
SARAH L SHIRA                  11927 SHOTGUN WAY                                                                         HELOTES                 TX 78023
SARAH L SINGLETON              508 MT. READ BLVD                                                                         ROCHESTER               NY 14606‐1416
SARAH L STATON                 69 BURT AVE                                                                               PONTIAC                 MI 48342‐1104
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Name                               Address1                            Address2                      Address3   Address4                City               State Zip
SARAH L VAUGHN                     524 GILBERT FERRY RD.#110                                                                            ATTALLA             AL 35954‐3311
SARAH L WATSON                     458 HALL AVENUE NW                                                                                   WARREN              OH 44483‐3347
SARAH LACKEY                       175 DARR DR                                                                                          HARVEST             AL 35749‐9471
SARAH LAMBRIGHT                    PO BOX 444                                                                                           KINGSTREE           SC 29556‐0444
SARAH LANDSEADEL                   803 N EAST ST                                                                                        TIPTON              IN 46072‐1026
SARAH LANE                         325 COX VALLEY RD                                                                                    CROSSVILLE          TN 38555‐1599
SARAH LANGE                        KOPERNIKUSSTRASSE 16A                                                        01979 LAUCHHAMMER
                                                                                                                GERMANY
SARAH LAUGHLIN                     3855 LAKE JULIETTE DR                                                                                BUFORD             GA    30519‐1860
SARAH LEACH                        943 BAY ROAD                                                                                         TEACHEY            NC    28464‐9697
SARAH LEHNHOFF                     1368 DONSON CIR                                                                                      KETTERING          OH    45429‐5758
SARAH LEIGHT                       65 EVALINE DR                                                                                        TROY               MI    48085‐4726
SARAH LEMKE                        HAMBURGER BERG 3A                   20359 HAMBURG
SARAH LENIHAN                      749 LOCUST ST                                                                                        KANSAS CITY         KS   66103‐2519
SARAH LEWIS                        24 10TH ST                                                                                           GREENVILLE          SC   29611‐5459
SARAH LINVELL, ROXANNE OSWALT,     C/O LAMARCA & LANDRY P C            1820 NW 118TH ST SUITE 200                                       DES MOINES          IA   50325
WALTER OSWALT, TYLER SARQ, GRANT
WEAVER
SARAH LITTLE                       6324 CONGRESS DR                    C/O GLENDON D STARKS                                             PENDLETON          IN    46064‐8509
SARAH LLOYD                        1029 E 5TH ST                       LINCOLN CENTERS                                                  CONNERSVILLE       IN    47331‐3301
SARAH LORIDON                      1702 6TH ST                                                                                          WYANDOTTE          MI    48192‐7211
SARAH LOWE                         5846 BEAUFORT LN                                                                                     INDIANAPOLIS       IN    46254‐1049
SARAH LOWMAN                       838 E CENTER ST                                                                                      BLANCHESTER        OH    45107‐1310
SARAH LUCIA KRANZ                  HABICHTWEG 17                                                                65719 HOFHEIM GERMANY
SARAH LYTELL                       36872 BUTCHER RD                                                                                     SALEM              OH    44460‐9451
SARAH M BECKLEY                    162 BROWN AVE                                                                                        SYRACUSE           NY    13211‐1720
SARAH M BOLTHOUSE                  23269 TUCK RD                                                                                        FARMINGTON HILLS   MI    48336‐3464
SARAH M CARR                       PO BOX 561                                                                                           HIGHLAND           MI    48357‐0561
SARAH M KOZIK                      5170 POLO FIELDS DRIVE                                                                               GIBSON             PA    15044
SARAH M MCKINNEY                   9083 HEATHER LN                                                                                      CENTERVILLE        OH    45458‐3750
SARAH M PERRITT                    1173 ZINNEA ST                                                                                       PORT CHARLOTTE     FL    33952‐1539
SARAH M SYKES                      822 ELMWOOD ST                                                                                       KALAMAZOO          MI    49007‐3255
SARAH M WEAVER                     675 FOSTER ST                                                                                        FRANKLIN           OH    45005
SARAH M WHITE                      C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                                        HOUSTON            TX    77007
                                   BOUNDAS LLP
SARAH M. CHEN                      LOCKE LORD BISSELL & LIDDELL, LLP   3 WORLD FINANCIAL CTR FL 20                                      NEW YORK           NY    10291‐2199
SARAH MACON                        5620 THOMAS ST                                                                                       MAPLE HEIGHTS      OH    44137‐3547
SARAH MADDEN                       1021 CLARK ST                                                                                        KOKOMO             IN    46902‐2626
SARAH MAE ELAHEE                   250 HORNWOOD DR                                                                                      DAYTON             OH    45405‐1122
SARAH MAGELSSEN                    710 WILLOW AVE                                                                                       HENDERSON          NV    89002‐8340
SARAH MAIORANA                     1664 SE 4TH ST                                                                                       DEERFIELD BEACH    FL    33441‐4910
SARAH MALISZEWSKI                  7823 DUDLEY ST                                                                                       TAYLOR             MI    48180‐2529
SARAH MALONE                       4642 STATE ROUTE 276                                                                                 BATAVIA            OH    45103‐2001
SARAH MALONE                       4617 CHALK CT                                                                                        GRAND PRAIRIE      TX    75052‐1714
SARAH MARQUAND                     2709 E LYNN ST                                                                                       ANDERSON           IN    46016‐5546
SARAH MARSALIS                     105 MADDOX ST.                                                                                       MCCOMB             MS    39648
SARAH MARTIN                       49800 W HURON RIVER DR                                                                               BELLEVILLE         MI    48111‐2562
SARAH MARTIN                       1525 W 25TH ST                                                                                       INDIANAPOLIS       IN    46208‐5220
SARAH MASON                        1407 N PHILIPS ST                                                                                    KOKOMO             IN    46901‐2678
SARAH MATLOCK                      133 E ELDRIDGE AVE                                                                                   FLINT              MI    48505‐3431
SARAH MAURITZ                      1690 EMERSON DR                                                                                      MANSFIELD          OH    44904‐1809
SARAH MCCLURE                      4611 DEER CREEK CT APT 11                                                                            AUSTINTOWN         OH    44515‐5441
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Name                 Address1                       Address2                        Address3   Address4         City               State Zip
SARAH MCCONNELL      3455 MEINRAD DR                                                                            WATERFORD           MI 48329‐3534
SARAH MCCRAW         7804 E 93RD TER                                                                            KANSAS CITY         MO 64138‐4251
SARAH MCDONNELL      265 LIBBY LN APT 28                                                                        GALION              OH 44833‐3328
SARAH MCKINNEY       9083 HEATHER LN                                                                            CENTERVILLE         OH 45458‐3750
SARAH MEADOWS        PO BOX 16555                                                                               MILWAUKEE           WI 53216‐0555
SARAH MEARES         520 W 23RD AVE                                                                             GULF SHORES         AL 36542‐3032
SARAH MELSON         19566 REDFERN ST                                                                           DETROIT             MI 48219‐5514
SARAH MELTON         3100 POWELL AVE APT 226                                                                    KANSAS CITY         KS 66106‐2151
SARAH METZLER        3149 MEADOW LN NE                                                                          WARREN              OH 44483‐2633
SARAH MIDDLETON      3205 BELLE RIVER DRIVE                                                                     HACIENDA HEIGHTS    CA 91745
SARAH MIGNELLA       1617 MORRIS PL                                                                             NILES               OH 44446‐2839
SARAH MILLER         TOD JACOB MILLER               6649 MARINA POINTE VILLAGE CT   APT 301                     TAMPA               FL 33635‐9039
SARAH MILLER         625 ROYCROFT BLVD                                                                          CHEEKTOWAGA         NY 14225‐1066
SARAH MILLER         4894 NO NAME RD                                                                            ANDERSON            IN 46017‐9731
SARAH MILLS MCNEAL   3404 WILLIAMSBURG ST NW                                                                    WARREN              OH 44485‐2261
SARAH MILTON         2031 WHITTLESEY ST                                                                         FLINT               MI 48503‐4348
SARAH MISTER         3942 N 39TH ST                                                                             MILWAUKEE           WI 53216‐2517
SARAH MITCHELL       3702 AVONDALE AVE                                                                          SAINT LOUIS         MO 63121‐3549
SARAH MITCHELL       MARYVALE EAST SENIOR COMPLEX   120 MOORMAN DRIVE                                           CHEEKTOWAGA         NY 14225
SARAH MONTGOMERY     341 SPRINGHOUSE LN                                                                         MOORESTOWN          NJ 08057‐2543
SARAH MOON           605 DOGWOOD TRAIL                                                                          DALLAS              GA 30157‐9217
SARAH MOORE          9915 E 25TH ST                                                                             INDIANAPOLIS        IN 46229‐1319
SARAH MOORE          4119 PINEHURST DR                                                                          WEST BLOOMFIELD     MI 48322‐2258
SARAH MOORE          35770 BIRWOOD ST                                                                           CLINTON TOWNSHIP    MI 48035‐1702
SARAH MORASCHI
SARAH MORGAN         4611 FULTON RD                                                                             CLEVELAND          OH   44144‐3636
SARAH MORRIS         8558 HIGHWAY T                                                                             RICHMOND           MO   64085‐8548
SARAH MORRISON       333 CADGEWITH E                                                                            LANSING            MI   48906‐1527
SARAH MORTON         1260 VIRGINIA DR                                                                           TIPP CITY          OH   45371‐9204
SARAH MOSS           5740 TAFT AVE                                                                              BENSALEM           PA   19020‐3223
SARAH MUCHLER        5154 RHINE DR                                                                              FLINT              MI   48507‐2915
SARAH MULLA          67 NOEL DR                                                                                 WILLIAMSVILLE      NY   14221‐3220
SARAH MULLINS        129 HOPPER DR                                                                              ANDERSON           IN   46012‐2538
SARAH MURPHY         3252 LAKEVIEW DR                                                                           HIGHLAND           MI   48356‐2358
SARAH MURRAY         615 SALISBURY RD                                                                           WAVERLY            OH   45690‐1214
SARAH N HOLLINS      1265 DUNCAN AVE                                                                            YPSILANTI          MI   48198‐5924
SARAH N/P            6587 STANFORD ST                                                                           DETROIT            MI   48210‐1343
SARAH NAGEL          4171 SUNBEAM AVE                                                                           DAYTON             OH   45440‐3361
SARAH NAPHIER        3810 LYNN CT                                                                               FLINT              MI   48503‐4543
SARAH NEELY          627 FERNWOOD DR                                                                            AKRON              OH   44320‐3047
SARAH NEILL          275 SCAMRIDGE CURV APT B2                                                                  WILLIAMSVILLE      NY   14221‐5221
SARAH NEUBLE         8209 WYOMING STREET                                                                        DETROIT            MI   48204‐3113
SARAH NEWSON         4124 W CERMAK RD                                                                           CHICAGO            IL   60623‐2837
SARAH NEWTON         9270 N 300 W                                                                               FOUNTAINTOWN       IN   46130‐9543
SARAH NIX            5465 NORTHFIELD CT APT 210                                                                 SAGINAW            MI   48601‐7331
SARAH NORRIS         C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                   HOUSTON            TX   77007
                     BOUNDAS LLP
SARAH NORTH‐GREEN    2843 HAMPSHIRE ST                                                                          SAGINAW            MI   48601‐4564
SARAH NURKALA        APT 201                        563 JACOB WAY                                               ROCHESTER          MI   48307‐2295
SARAH NYEHOLT        72575 OMO RD                                                                               ARMADA             MI   48005‐3921
SARAH O'NEILL        4775 FOX CHASE DR                                                                          WHITE LAKE         MI   48383‐1683
SARAH OLDFIELD       12528 N STATE ROAD 9                                                                       ALEXANDRIA         IN   46001‐8927
                       09-50026-mg              Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                   Address1                          Address2                         Address3   Address4         City               State Zip
SARAH OLIVE            701 MARKET ST APT 203                                                                          OXFORD              MI 48371‐3574
SARAH OOSTERHEERT      7530 BOULDER BLUFF DR                                                                          JENISON             MI 49428
SARAH ORTH             135 RED TANK RD                                                                                BOILING SPRINGS     PA 17007‐9508
SARAH OULDS            1728 BRIARWOOD DR                                                                              FLINT               MI 48507‐1434
SARAH P GRAY           801 W PATERSON ST                                                                              FLINT               MI 48504‐7243
SARAH P HESLEY         C/O WILLIAMS KHERKHER HART AND    8441 GULF FREEWAY STE 600                                    HOUSTON             TX 77007
                       BOUNDAS LLP
SARAH PASCHAL          9086 W STATE ROAD 236                                                                          MIDDLETOWN         IN   47356‐9336
SARAH PATTERSON        848 ECHO LN                                                                                    KOKOMO             IN   46902‐2601
SARAH PATTERSON        817 HOLIDAY DR                                                                                 GREENTOWN          IN   46936‐1642
SARAH PAWCZUK          5882 JULIANN CT                                                                                WASHINGTON         MI   48094‐4221
SARAH PEARSON          32373 NESTLEWOOD ST                                                                            FARMINGTON HILLS   MI   48334
SARAH PEARSON          3332 PICKWICK PL                                                                               LANSING            MI   48917‐1784
SARAH PEEPLES          736 CRAIG DR                                                                                   LAWRENCEVILLE      GA   30045‐4759
SARAH PERKINS          916 FOWLER CT                                                                                  VIRGINIA BEACH     VA   23453‐3227
SARAH PETERSON         17446 HERRICK ST                                                                               ALLEN PARK         MI   48101‐1411
SARAH PETRILLI         5231 RENEE CT                                                                                  FOWLERVILLE        MI   48836‐7712
SARAH PFEFFER          215 LAKE MERYL DR                                                                              WEST PALM BEACH    FL   33411‐3392
SARAH PFEIFFLE         650 WHARTON ST                                                                                 YPSILANTI          MI   48198‐6111
SARAH PIKE             29932 HERITAGE PKWY                                                                            WARREN             MI   48092‐4692
SARAH PILLARS          19681 SUMMERLIN RD LOT 107 F ST                                                                FT MYERS           FL   33908
SARAH PLASKON          4497 W 191ST ST                                                                                CLEVELAND          OH   44135
SARAH PLUMMER          7514 S LANGLEY AVE                                                                             CHICAGO            IL   60619‐2225
SARAH POOLE            6046 E VERMONTVILLE HWY                                                                        POTTERVILLE        MI   48876‐9729
SARAH PORTER           114 S 425 W                                                                                    HUNTINGTON         IN   46750‐8151
SARAH PRESLEY          3919 E 121ST ST                                                                                CLEVELAND          OH   44105‐4550
SARAH PRESTON          3411 DURHAM RD                                                                                 ROYAL OAK          MI   48073‐2340
SARAH PRICE            118 COTTAGE ST                                                                                 LOCKPORT           NY   14094‐4304
SARAH PRINDLE          5408 LAWNDALE AVE                                                                              HUDSONVILLE        MI   49426‐1234
SARAH PRITCHETT        520 VANIMAN AVE                                                                                TROTWOOD           OH   45426‐2555
SARAH PUGH             5339 PASADENA AVE                                                                              FLUSHING           MI   48433‐2463
SARAH PURCELL          1100 E MULBERRY ST                                                                             KOKOMO             IN   46901‐4950
SARAH QUINTERN         1 LYNWOOD DRIVE                                                                                LYNDONVILLE        NY   14098
SARAH R BROCIOUS       2359 NORTON LANE                                                                               NORTH BLOOMFIELD   OH   44450
SARAH R COLLINSWORTH   5900 BRIDGE RD APT 307                                                                         YPSILANTI          MI   48197‐7011
SARAH R HEMBREE        2264 CANDLEWOOD DR                                                                             KETTERING          OH   45419‐2812
SARAH R MARSALIS       105 MADDOX ST.                                                                                 MCCOMB             MS   39648‐3174
SARAH RAINER           5209 KIMBERLY DR                                                                               GRAND BLANC        MI   48439‐5161
SARAH RAY              18445 GENTLE BREEZE CT                                                                         HUDSON             FL   34667‐5573
SARAH REAMS            11808 BENTON AVE                                                                               NORTHPORT          AL   35475‐4534
SARAH RECTOR           2202 CRESCENT DR                                                                               HAMPTON            VA   23661‐3228
SARAH REED             1344 W SAINT JOSEPH ST                                                                         LANSING            MI   48915‐1672
SARAH REID             2445 OUSLEY CT                                                                                 DECATUR            GA   30032‐6460
SARAH RESER            922 S 4TH AVE                     C/O RICHARD SPICER/CONSERVATOR                               ALPENA             MI   49707‐3106

SARAH RICH             12907 BACK VALLEY ROAD                                                                         SODDY DAISY        TN   37379‐7605
SARAH RICHARDS         41 EDGEWOOD AVE                                                                                WESTERLY           RI   02891‐2913
SARAH RICHARDSON       6393 OCONNOR DR                                                                                LOCKPORT           NY   14094‐6515
SARAH RIDDLE           1908 PORTER AVE                                                                                BELOIT             WI   53511‐3060
SARAH RILEY            511 S LIBERTY AVE                                                                              OKMULGEE           OK   74447‐5325
SARAH RILEY            3105 SUFFOLK CT                                                                                FLUSHING           MI   48433‐3121
SARAH ROBINSON         3813 COPLEY RD                                                                                 BALTIMORE          MD   21215‐7104
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Name                      Address1                      Address2                       Address3       Address4         City               State Zip
SARAH ROBINSON            942 2ND ST                                                                                   NEWTON FALLS        OH 44444‐1136
SARAH ROSEN               6801 SAWMILL RD                                                                              DALLAS              TX 75252
SARAH ROSENBERGER         106 BRENT PL                                                                                 CORTLAND            OH 44410‐1304
SARAH RUBSAM              C/O THE HEALY LAW FIRM        111 W WASHINGTON ST            SUITE 1425                      CHICAGO              IL 60602
SARAH RUSSELL             1134 OLD LEE CT                                                                              DENTON              TX 76209‐1461
SARAH S BIDLACK           1802 AVALON CREEK BLVD                                                                       VIENNA              OH 44473‐9560
SARAH S. MIDDLETON TTEE   3205 BELLE RIVER DRIVE        SARAH S. MIDDLETON REV.TRUST   DTD 11‐20‐97                    HACIENDA HEIGHTS    CA 91745
SARAH SALTER              2920 DIXIE HWY                                                                               WATERFORD           MI 48328‐1715
SARAH SAYFORD             1425 COTTAGE AVE                                                                             MIDDLETOWN          IN 47356‐1117
SARAH SCHEUNEMANN         1605 LA CIMA DR                                                                              MCKINNEY            TX 75071‐7793
SARAH SCHMIDT             5121 CONGRESSIONAL C301                                                                      LAWRENCE            KS 66049
SARAH SCHMUCK             2491 PINE LAKE AVE                                                                           KEEGO HARBOR        MI 48320‐1431
SARAH SCHRADER            674 CENTRAL AVE                                                                              CARLISLE            OH 45005‐3387
SARAH SCHWERT             1814 COUNTY RD 4‐1                                                                           SWANTON             OH 43558
SARAH SCOBLE              10239 DODGE ROAD                                                                             MONTROSE            MI 48457‐9034
SARAH SEARS               104 S ALABAMA AVE                                                                            GOLDSBORO           NC 27530‐3520
SARAH SEAY                1927 REGENT RD                                                                               PRATTVILLE          AL 36066‐7266
SARAH SEELEY              4901 MCCRAY ST                                                                               INDIANAPOLIS        IN 46224‐5145
SARAH SERRA               4142 WINTER HUE LN                                                                           DAVISON             MI 48423‐8923
SARAH SERVEY              7426 N RICHARDS RD                                                                           LAKE CITY           MI 49651‐9727
SARAH SEYBERT‐ IRWIN      1910 SOUTHWOODS RD                                                                           ANDERSON            IN 46012‐2750
SARAH SHANGLE             1331 MIDLAND ROAD                                                                            BAY CITY            MI 48706‐9473
SARAH SHARP               1421 STYER AVE                                                                               KOKOMO              IN 46902‐6060
SARAH SHAW                178 AMBERLY DR UNIT K                                                                        MANALAPAN           NJ 07726‐2523
SARAH SHEARER             561 1ST AVE                                                                                  PONTIAC             MI 48340‐2806
SARAH SHEPPARD            1326 DANBY RD                                                                                FESTUS              MO 63028‐4802
SARAH SHIPWASH            PO BOX 73                                                                                    SHANNON             NC 28386‐0073
SARAH SHIRA               11927 SHOTGUN WAY                                                                            HELOTES             TX 78023‐4439
SARAH SHIRES              12237 E AMHERST CIR                                                                          AURORA              CO 80014‐3303
SARAH SHOLES              125 N BUFFALOO ST                                                                            SPRINGVILLE         NY 14141
SARAH SIMPSON             620 BEDFORD PL                                                                               GRAND BLANC         MI 48439‐1208
SARAH SLAWSON             14971 ZAHM ROAD                                                                              ROCKTON              IL 61072‐9525
SARAH SMITH               12101 EMERY AVE                                                                              CLEVELAND           OH 44135‐2235
SARAH SMITH               424 S GERRARD DR                                                                             INDIANAPOLIS        IN 46241‐0740
SARAH SMITH               175 PROSPECT ST APT 12E                                                                      EAST ORANGE         NJ 07017‐2625
SARAH SMITH               510 ALAMEDA AVE                                                                              YOUNGSTOWN          OH 44504‐1431
SARAH SORRELL             1889 S SPRINGCREST CT                                                                        BEAVERCREEK         OH 45432‐1883
SARAH SPENCER             14235 WILSHIRE DR                                                                            DETROIT             MI 48213‐1953
SARAH SPENCER             2309 N MILLER RD                                                                             SAGINAW             MI 48609‐9535
SARAH SPENCER             200 SEGARS LN APT B                                                                          TROY                AL 36081‐1784
SARAH SQUIER YKEMA        1501 AVONDALE ST                                                                             SYLVAN LAKE         MI 48320‐1784
SARAH STAMBAUGH           130 LOOKOUT ST APT 4                                                                         SOMERSET            KY 42501‐1731
SARAH STATON              12011 E PARK ST                                                                              SUGAR CREEK         MO 64054‐1137
SARAH STAVELY             863 ROSS BRANCH RD                                                                           ERIN                TN 37061‐6673
SARAH STEPHENSON          6396 CHICAGO RD                                                                              FLUSHING            MI 48433‐9004
SARAH STERLING            PO BOX 292                    320 UNION ST                                                   RISINGSUN           OH 43457‐0292
SARAH STINNETT            726 FAIRLANE DR                                                                              LIVINGSTON          CA 95334‐9334
SARAH SULIMOWICZ          3113 DARNEA LN                                                                               ELLENTON            FL 34222‐3551
SARAH SWILLEY             7156 E FRANCES RD                                                                            MOUNT MORRIS        MI 48458‐9714
SARAH SWITZER             1010 WASHINGTON AVE                                                                          DEFIANCE            OH 43512‐2823
SARAH SYKES               822 ELMWOOD ST                                                                               KALAMAZOO           MI 49007‐3255
SARAH T STOCKTON          307 MARY LANE CIR                                                                            SOUTH LEBANON       OH 45065‐1103
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Name                      Address1                       Address2              Address3             Address4         City             State Zip
SARAH TAKACS              1098 DALESFORD DR                                                                          ALPHARETTA        GA 30004‐7864
SARAH TANSLEY             3827 OLD CAPITOL TRL                                                                       WILMINGTON        DE 19808‐5823
SARAH TARRY               375 URBAN ST                                                                               BUFFALO           NY 14211‐1508
SARAH TATE                750 OBERLIN PL                                                                             AUSTINTOWN        OH 44515‐4213
SARAH TAYLOR              10208 LOCUST ST                                                                            KANSAS CITY       MO 64131‐4214
SARAH TAYLOR              1115 PELHAM ST                                                                             WILLIAMSBURG      KY 40769‐1416
SARAH TAYLOR              159 S 4TH AVE                                                                              BEECH GROVE       IN 46107‐1912
SARAH TAYLOR              99‐09 NORTHERN BLVD                                                                        CORONA            NY 11368
SARAH TEMPLE              417 W 22ND ST                                                                              WILMINGTON        DE 19802‐4007
SARAH TERMOTE             4300 PETERSBURG RD                                                                         DUNDEE            MI 48131‐9683
SARAH TERRY               31 APPLEMAN RD                                                                             SOMERSET          NJ 08873‐1719
SARAH TEUTON              2567 CALVARY RD                                                                            HARTSVILLE        SC 29550
SARAH THOMAS              2760 MONFORT DR APT B                                                                      FLORISSANT        MO 63033‐2403
SARAH THOMAS              23 W. 255 ST. JAMES CT.        C/O ALISON T. HAYES                                         GLEN ELLYN         IL 60137
SARAH TILL                41 CHESTNUT ST                                                                             PENNSVILLE        NJ 08070‐2055
SARAH TOMLINSON           335 NUTMEG CT                                                                              CIRCLEVILLE       OH 43113‐1194
SARAH TONEY               2131 FLAMINGO DR                                                                           MOUNT MORRIS      MI 48458‐2633
SARAH TOOMBS              767 MORAN AVE                                                                              LINCOLN PARK      MI 48146‐4338
SARAH TREVINO             MS. PAULA WYATT                WYATT LAW FIRM, LTD   4825 EVERHART ROAD                    CORPUS CHRISTI    TX 78411
SARAH TREVINO, A MINOR    C/O MS. PAULA WYATT            WYATT LAW FIRM, LTD   4825 EVERHART RD                      CORPUS CHRISTI    TX 78411
SARAH TRIMMER             6452 HATTER RD                                                                             NEWFANE           NY 14108‐9766
SARAH TUCKER              41 MULLBERRY LN                                                                            REEDS SPRING      MO 65737‐9614
SARAH TUCKFIELD           421 GARDENIA AVE                                                                           ROYAL OAK         MI 48067‐3646
SARAH TYSON               PO BOX 201                                                                                 REESE             MI 48757‐0201
SARAH ULAM                503 CHARLES AVE                                                                            CORTLAND          OH 44410‐1301
SARAH UMBARGER            9971 HIGHLAND DRIVE                                                                        PERRINTON         MI 48871‐9750
SARAH UMPHREY             15 SUN FLOWER CIR                                                                          NEW BRAUNFELS     TX 78130‐7749
SARAH UPSHAW              5010 SOUTHVIEW DR                                                                          ANDERSON          IN 46013‐4854
SARAH VALDRY              940 PROVINCE LN                                                                            MANSFIELD         OH 44906‐2913
SARAH VANO                9570 OAKBROOKE LN APT 1                                                                    HOWELL            MI 48843‐6314
SARAH VERT                2059 W MAPLE AVE                                                                           FLINT             MI 48507‐3501
SARAH VICTORIA OBBELODE   MANDELBAUMWEG 54                                                                           GUETERSLOH
SARAH VIVEIROS            1104 TOMAHAWK BLVD                                                                         KOKOMO           IN   46902‐5585
SARAH VOGELSONG           115 BARBARA LN                                                                             SHERWOOD         OH   43556‐9795
SARAH W WAGNER            1480 MEADOWLAND DR                                                                         FAIRBORN         OH   45324‐4370
SARAH W WILCHER           1591 ZETUS RD. NW                                                                          BROOKHAVEN       MS   39601
SARAH WAGNER              1480 MEADOWLANDS DR                                                                        FAIRBORN         OH   45324‐4370
SARAH WALDREP             45891 EDGEWATER ST                                                                         CHESTERFIELD     MI   48047‐5322
SARAH WALLACE             8875 MOUNT MILLS RD                                                                        CHEROKEE         AL   35616‐4851
SARAH WALLER              357 FAIRVIEW AVE                                                                           CEDARTOWN        GA   30125‐3727
SARAH WALWORTH            1809 SW 307TH ST                                                                           FEDERAL WAY      WA   98023‐3439
SARAH WARD                3128 HWY 179 E                                                                             MASON            TN   38019
SARAH WARE                3046 CAROLINE ST                                                                           AUBURN HILLS     MI   48326‐3613
SARAH WASHINGTON          1580 SAMS ST SE                                                                            MARIETTA         GA   30060‐7403
SARAH WASHINGTON          4151 LOGAN GATE RD APT 244                                                                 YOUNGSTOWN       OH   44505‐1774
SARAH WATSON              458 HALL ST NW                                                                             WARREN           OH   44483‐3347
SARAH WATSON              3579 FARNSWORTH ST                                                                         DETROIT          MI   48211‐3123
SARAH WEBB                37785 HILLCREST DRIVE                                                                      WAYNE            MI   48184‐1055
SARAH WEBER               1210 SMITH AVE                                                                             ROYAL OAK        MI   48073‐3190
SARAH WELLS               436 NIES AVE                                                                               ENGLEWOOD        OH   45322‐2008
SARAH WESLOSKY            5380 CROWFOOT DR                                                                           TROY             MI   48085‐4093
SARAH WEST                33 E YPSILANTI AVE                                                                         PONTIAC          MI   48340‐1978
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Name                             Address1                       Address2                    Address3   Address4         City               State Zip
SARAH WEST                       851 N EUCLID AVE                                                                       DAYTON              OH 45402‐5909
SARAH WESTRICK                   23430 ROAD 110                                                                         OAKWOOD             OH 45873‐9600
SARAH WHITE                      APT C410                       5959 SUN N LAKE BOULEVARD                               SEBRING             FL 33872‐1013
SARAH WILCHER                    1591 ZETUS RD NW                                                                       BROOKHAVEN          MS 39601‐9480
SARAH WILDMAN                    604 GRASSDALE RD                                                                       CARTERSVILLE        GA 30121‐1916
SARAH WILLE                      2680 N BRITT RD                                                                        JANESVILLE          WI 53548‐9328
SARAH WILLIAMS                   113 STONERS CHAPEL RD NW                                                               ADAIRSVILLE         GA 30103‐5367
SARAH WILLIAMS                   400 COUNTRY LN                                                                         KOKOMO              IN 46902‐5119
SARAH WILLIAMS                   217 N BRANSON ST                                                                       MARION              IN 46952‐2737
SARAH WILLIAMS                   1154 COOL RIDGE DR                                                                     GRAND BLANC         MI 48439‐4972
SARAH WILLIAMS                   24532 WESTGATE DRIVE                                                                   REDFORD             MI 48239‐2861
SARAH WILLIAMS                   6848 S LAKEWOOD TER 24                                                                 DOUGLASVILLE        GA 30135
SARAH WILLIS                     511 E RIDGES DR                                                                        CHUCKEY             TN 37641‐7234
SARAH WILSON                     1018 ROBINSON ST                                                                       DANVILLE             IL 61832‐3857
SARAH WILSON                     312 APPLE VALLEY DR                                                                    LEWISBURG           OH 45338‐9305
SARAH WILSON                     4802 JOSEPH CT                                                                         NORTH RIDGEVILLE    OH 44039‐1743
SARAH WILSON                     6136 NATCHEZ DR                                                                        MOUNT MORRIS        MI 48458‐2778
SARAH WILSON                     6507 BLUEGRASS DR                                                                      ANDERSON            IN 46013‐9576
SARAH WILSON                     PO BOX 114                                                                             GEORGETOWN           IL 61846‐0114
SARAH WING                       250 ALLEN ST #305                                                                      DAYTON              OH 45410
SARAH WOMMACK                    33 PLEASANT VALLEY RD NE                                                               MONROE              GA 30655‐7249
SARAH WOOD                       5011 PEARL ST                                                                          ANDERSON            IN 46013‐4863
SARAH WOODMAN                    2437 E MILWAUKEE ST                                                                    JANESVILLE          WI 53545‐1325
SARAH WOODROME                   13101 E US HIGHWAY 40                                                                  INDEPENDENCE        MO 64055‐5853
SARAH WOODS                      910 WEST AVE APT 902                                                                   MIAMI BEACH         FL 33139‐5241
SARAH WORLEY                     1839 ALEXANDER ST SE                                                                   SMYRNA              GA 30080‐1001
SARAH WRIGHT                     529 RIDGELY GREEN DR                                                                   PINEVILLE           NC 28134‐7409
SARAH WRIGHT                     27209 MIRROR LAKE DR                                                                   NEW BALTIMORE       MI 48051‐1682
SARAH WRIGHT                     3642 SCOTT DR                                                                          TROY                MI 48084‐1166
SARAH WROBLEWSKI                 5704 CASE RD                                                                           N RIDGEVILLE        OH 44039‐1026
SARAH WUJICK                     306 RIDGE RD                                                                           NEWTON FALLS        OH 44444‐1239
SARAH Y SMITH                    510 ALAMEDA AVE.                                                                       YOUNGSTOWN          OH 44504‐1431
SARAH YBARRA                     9044 SCHROEDER RD                                                                      RIGA                MI 49276‐9640
SARAH YORK                       809 S CHATTANOOGA ST                                                                   LA FAYETTE          GA 30728‐3425
SARAH YORK                       757 CLEM LOWELL RD                                                                     CARROLLTON          GA 30116‐9217
SARAH YOUNG                      987 ATHENS ST                                                                          SAGINAW             MI 48601‐1469
SARAH YOUNG                      106 COFFMAN CIR                                                                        ATHENS              AL 35611‐4717
SARAH YOUNG                      11079 MANCHESTER RD                                                                    WASHINGTON          MI 48094‐3059
SARAH YOUNGBLOOD                 2715 S JEFFERSON AVE APT 4                                                             SAGINAW             MI 48601
SARAH ZANCHI                     410 PLEASANT ST                                                                        MARLBOROUGH         MA 01752‐7223
SARAH ZORN                       13787 SIBLEY RD                                                                        RIVERVIEW           MI 48193‐7742
SARAH, KELLY,                    28249 NEWLAND DR                                                                       WARREN              MI 48093‐4908
SARAHREE BANKS                   2924 ARLINGTON DR                                                                      SAGINAW             MI 48601‐6901
SARAHS CAKE AND CANDY SUPPLIES   5917 JOHN R RD                                                                         TROY                MI 48085‐3867
SARAIVA, MARIA A                 129 JACKSON MILLS ROAD                                                                 FREEHOLD            NJ 07728
SARAJAYNE LEONARD                3963 WEIR RD                                                                           LAPEER              MI 48446‐8667
SARAKUN, JOHN                    17658 E KIRKWOOD DR                                                                    CLINTON TOWNSHIP    MI 48038‐1209
SARAKUN, JOHN J                  17658 E KIRKWOOD DR                                                                    CLINTON TWP         MI 48038‐1209
SARALEE HOLLAND                  812 E. MILL STREET             PO BOX 126                                              SUMMITVILLE         IN 46070
SARALENE CLOER                   403 LOWER DAWNVILLE RD NE                                                              DALTON              GA 30721‐6724
SARALYN SCHMID                   8376 W BLUE GILL DR                                                                    IRONS               MI 49644‐8902
SARAMA, CHESTER H                550 BORDEN RD                                                                          CHEEKTOWAGA         NY 14227‐3274
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Name                                 Address1                             Address2                  Address3        Address4                City               State Zip
SARAMA, EDWARD L                     93 SOUTHWIND TRL                                                                                       WILLIAMSVILLE       NY 14221‐2237
SARAMA, MARCIA                       99 E CAVALIER DR                                                                                       BUFFALO             NY 14227‐3503
SARAN INDUSTRIES INC                 820 S POST RD                                                                                          INDIANAPOLIS        IN 46239‐9748
SARAN INDUSTRIES LP                  820 S POST RD                                                                                          INDIANAPOLIS        IN 46239‐9748
SARAN MOTORS PRIVATE LTD.            KEELING ROAD                                                                   NEW DELHI INDIA
SARANDAN JR, LOUIS                   15235 SPRUCE DR                                                                                        MACOMB             MI    48044‐2454
SARANDI, LOUIS J                     286 CEDAR RDG                                                                                          TOLEDO             OH    43612‐3965
SARANENS INC                                                              108 N 2ND AVE # 112                                                                  MN    55792
SARANENS INC                         108 N 2ND AVE # 112                                                                                    VIRGINIA           MN    55792
SARANIECKI ZYGMUNT                   57119 MOUNT VERNON RD                                                                                  WASHINGTON         MI    48094‐1906
SARANIECKI, ZYGMUNT F                57119 MOUNT VERNON RD                                                                                  WASHINGTON         MI    48094‐1906
SARANILLO, DAVID L                   34962 PENNINGTON DR 19                                                                                 FARMINGTON HILLS   MI    48335
SARANT CADILLAC CORP.                JOSEPH ARMENTI                       4339 HEMPSTEAD TPKE                                               FARMINGDALE        NY    11735‐2000
SARANT CADILLAC‐OLDSMOBILE           4339 HEMPSTEAD TPKE                                                                                    FARMINGDALE        NY    11735‐2000
SARANTAKOS, THOMAS                   613 FOSTER LANE                                                                                        WARRENSBURG        MO    64093‐3201
SARANTINO, ANGELA E                  5862 PARKMAN RD NW                                                                                     WARREN             OH    44481‐9438
SARANTIS, WILLIAM A                  371 CRANBROOK DR                                                                                       SAGINAW            MI    48638‐5738
SARANTOPOULOS, JOHN                  6729 W 63RD ST                                                                                         CHICAGO            IL    60638‐4003
SARAO, PARAMJIT                      20623 BREEZEWAY DR                                                                                     MACOMB             MI    48044‐3519
SARASIN, LAVONA R                    409 S 30TH ST                                                                                          ESCANABA           MI    49829‐1224
SARASIN, TED J                       508 CORONADO DRIVE                                                                                     LOMPOC             CA    93436‐6317
SARASON, RONALD S                    3958 CANDLENUT LN                                                                                      DALLAS             TX    75244‐6606
SARASOTA CITY FLEET SERVICES                                              400 N BENEVA RD                                                                      FL    34232
SARASOTA CO SHERIFF'S DEPT           425 OLD VENICE RD                                                                                      OSPREY             FL    34229‐9028
SARASOTA CO. SHERIFF DEPT            425 OLD VENICE RD                                                                                      OSPREY             FL    34229‐9028
SARASOTA COUNTY FLEET                                                       4310 ASHTON RD                                                                     FL    34233
SARASOTA COUNTY FLORIDA              ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 101 S WASHINGTON BLVD   TAX COLLECTOR                           SARASOTA           FL    34236‐6940

SARASOTA COUNTY FLORIDA              101 S WASHINGTON BLVD                TAX COLLECTOR                                                     SARASOTA            FL   34236‐6940
SARASOTA COUNTY SHERIFFS                                                  425 OLD VENICE RD                                                                     FL   34229
DEPARTMENT
SARASOTA SHOPPINGTOWN LLC            C/O BANK OF AMERICA                  PHILO # 57406                                                     LOS ANGELES        CA    90074‐7406
SARATA, GERALD M                     5649 ABELMAN RD                                                                                        NORTH PORT         FL    34291‐4627
SARATA, GERALD MICHAEL               5649 ABELMAN RD                                                                                        NORTH PORT         FL    34291‐4627
SARATE BILL                          7839 JACKSON ST                                                                                        TAYLOR             MI    48180‐2657
SARATE, CONNIE S                     34179 ZIMMER                                                                                           STERLING HTS       MI    48310‐6064
SARATE, CONNIE S                     34179 ZIMMER DR                                                                                        STERLING HTS       MI    48310‐6064
SARATE, JUAN                         521 DEVILLEN AVE                     C/O RICHARD A. SARATE                                             ROYAL OAK          MI    48073‐3651
SARATE, LORRAINE E                   863 POINTE DR                                                                                          PORT HURON         MI    48060‐4466
SARATE, WILLIAM                      34179 ZIMMER DR                                                                                        STERLING HEIGHTS   MI    48310‐6064
SARATOGA AUTOMOBILE MUSEUM           110 AVENUE OF THE PNES                                                                                 SARATOGA SPRINGS   NY    12866‐6220
SARATOGA COMMUNITY HOSPITAL          PO BOX 64543                                                                                           DETROIT            MI    48264‐0001
SARATOGA COUNTY HIGHWAY                                                   3654 GALWAY RD                                                                       NY    12020
SARATOV AUTO SALON                   SHEXURDINA ST. ‐ 6                                                             SARATOV 41002 RUSSIA
SARATOV STATE UNIVERSITY, SARATOV,
RUSSIA
SARAVANAMUTHU, THAYANITHY            275 WYANDOTT ST. W. #306                                                       WINDSOR ON N9A 5X1
                                                                                                                    CANADA
SARAVANAN MUTHIAH                    5960 GREENWOOD APT 7211                                                                                WATERFORD          MI    48327‐2318
SARAVANAN SIVA                       2513 PURCELL DR                                                                                        STERLING HEIGHTS   MI    48310‐2368
SARAVANAN, SIVA S                    2513 PURCELL DR                                                                                        STERLING HEIGHTS   MI    48310‐2368
SARAYDAR, CEM U                      2425 STARR RD APT 505                                                                                  ROYAL OAK          MI    48072
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Name                                   Address1                       Address2                          Address3                   Address4         City              State Zip
SARAYDAR, CEM U                        524W 122ND ST                  APT 5B                                                                        NEW YORK           NY 10027
SARAZEN, DONALD N                      794 COUNTY ROAD 131                                                                                          CALLICOON          NY 12723‐5516
SARAZIN, MARCEL                        60 LEMAY RD                                                                                                  WOONSOCKET          RI 02895‐3835
SARBACH, CHARLES D                     7730 NOBLE RD                                                                                                WINDSOR            OH 44099‐9751
SARBACKER JR, LEO P                    2215 STATE HIGHWAY 101                                                                                       FLORENCE           WI 54121‐8145
SARBACKER, SHAWN D                     107 TENNYSON LANE                                                                                            NORTH WALES        PA 19454‐1641
SARBER, BRYAN A                        19250 CUMBERLAND RD                                                                                          NOBLESVILLE        IN 46060‐1119
SARBER, DONNA L                        12450 S 950 E                                                                                                GALVESTON          IN 46932
SARBER, DOROTHY                        2906 PARKSIDE DR                                                                                             JENISON            MI 49428‐9144
SARBER, JOSEPH D                       2115 84TH ST SW                RM 7                                                                          BYRON CENTER       MI 49315‐9357
SARBER, LORETTA M                      400 IRONWOOD RD                                                                                              BREMEN             IN 46506‐9640
SARBER, RICHARD E                      1905 REMINGTON PL                                                                                            INDIANAPOLIS       IN 46227‐5953
SARBER, ROBERT N                       PO BOX 40                                                                                                    BURNIPS            MI 49314‐0040
SARBER, WILLIAM J                      908 VILLAGE WAY                                                                                              SOUTH LYON         MI 48178‐2066
SARBJEET SIDHU                         1464 WERTH DR                                                                                                ROCHESTER          MI 48306‐4828
SARBO, SHANNON M                       2112 CATALPA DR                                                                                              BERKLEY            MI 48072‐1806
SARCHET, MARIE T                       2313 FIVE LAKES RD                                                                                           GAYLORD            MI 49735‐8926
SARCHET, RICHARD T                     645 WOODLAND DR                                                                                              BOYNE CITY         MI 49712‐9375
SARCHIAPONE, FRANK                     1230 POPLAR AVE                                                                                              ARBUTUS            MD 21227‐2612
SARCHIAPONE, FRANK A                   530 SHORE ACRES RD                                                                                           ARNOLD             MD 21012‐1902
SARCINELLA ANNETTE                     SARCINELLA, ANNETTE            30 E BUTLER AVE                                                               AMBLER             PA 19002‐4514
SARCONA, JOHN I                        32349 LANCASTER DR                                                                                           WARREN             MI 48088‐6128
SARCONA, THOMAS M                      31627 NORTHWOOD                                                                                              FRASER             MI 48026‐2495
SARCONA, THOMAS MICHAEL                31627 NORTHWOOD                                                                                              FRASER             MI 48026‐2495
SARCONI, GIACHINO G                    657 INDIAN LAKE RD                                                                                           OXFORD             MI 48371‐6219
SARDA, SAMIR S                         46A BOULEVARD                                                                                                ELMWOOD PARK       NJ 07407‐2900
SARDAGNOLA, PAUL A                     21 DILLON ST APT 1002                                                                                        WORCESTER          MA 01604‐4507
SARDALIA INGRAM                        6211 FLEMING RD                                                                                              FLINT              MI 48504‐1630
SARDANO, SANTE P                       40 WILLOW POND WAY APT 233                                                                                   PENFIELD           NY 14526‐2684
SARDARIANI ROBERT                      SARDARIANI, FREDA              KROHN & MOSS ‐ CA,                5055 WILSHIRE BLVD SUITE                    LOS ANGELES        CA 90036
                                                                                                        300
SARDARIANI ROBERT                      SARDARIANI, ROBERT             5055 WILSHIRE BLVD STE 300                                                    LOS ANGELES       CA    90036‐6101
SARDARIANI, FREDA                      KROHN & MOSS ‐ CA,             5055 WILSHIRE BLVD STE 300                                                    LOS ANGELES       CA    90036‐6101
SARDARIANI, ROBERT                     KROHN & MOSS ‐ CA,             5055 WILSHIRE BLVD STE 300                                                    LOS ANGELES       CA    90036‐6101
SARDELLA ROBERT (ESTATE OF) (640590)   COONEY & CONWAY                120 NORTH LASALLE STREET , 30TH                                               CHICAGO           IL    60602
                                                                      FLOOR
SARDELLA, ROBERT                       COONEY & CONWAY                120 NORTH LASALLE STREET, 30TH                                                CHICAGO            IL   60602
                                                                      FLOOR
SARDELLI, DEBORAH                      FRASER & SOUWEIDANE            PO BOX 2304                                                                   MOUNT CLEMENS     MI    48046‐2304
SARDEN, EDWARD L                       3066 COOPERS GROVE CT                                                                                        BLUE ISLAND       IL    60406‐3389
SARDEN, WILLIE                         PARKS CHRISTOPHER M            1 PLAZA SQUARE                                                                PORT ARTHUR       TX    77642
SARDESHPANDE, MANOHAR R                35529 PHEASANT LN                                                                                            WESTLAND          MI    48185‐6689
SARDESTER MARSHALL                     3272 ELMERS DR                                                                                               SAGINAW           MI    48601‐6915
SARDICH WALTER (501031)                BARON & BUDD                   3102 OAK LANE AVE , SUITE 1100                                                DALLAS            TX    75219
SARDICH, DONIS M                       1650 MAHONING AVE NW.W.                                                                                      WARREN            OH    44483‐2007
SARDICH, WALTER                        BARON & BUDD                   3102 OAK LANE AVE, SUITE 1100                                                 DALLAS            TX    75219
SARDIGA, KEVIN M                       3173 EASTERN AVE                                                                                             ROCHESTER HILLS   MI    48307‐5528
SARDINI, JOSEPH                        102 RIDGEDALE AVE                                                                                            FLORHAM PARK      NJ    07932‐2009
SARDO, DOMENIC                         546 LITCHFIELD WAY                                                                                           OSWEGO            IL    60543‐4202
SARDO, MOUREEN                         6549 TALBOT CIR                                                                                              SPRING HILL       FL    34606‐4951
SARDONI, JOSEPH N                      31 3RD AVENUE                                                                                                ROEBLING          NJ    08554‐1003
SARE, ROBERT W                         1511 BRIDGE ST NW APT 158                                                                                    GRAND RAPIDS      MI    49504‐1704
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Name                                Address1                         Address2                          Address3                   Address4         City               State Zip
SARE, RUDY N                        2349 TOPAZ DR                                                                                                  TROY                MI 48085‐3836
SARE, WILLIAM D                     5491 VIN ROSE LN                                                                                               INDIANAPOLIS        IN 46226‐1330
SARELL JAMISON                      15710 STRATHMOOR ST                                                                                            DETROIT             MI 48227‐2963
SARELLAS, ASPASIA K                 10412 INDIAN LAKE BLVD N D                                                                                     INDIANAPOLIS        IN 46236
SARELLAS, ASPASIA K                 10412 INDIAN LAKE BLVD N         NORTH DRIVE                                                                   INDIANAPOLIS        IN 46236‐8459
SARELLEN WOOLS                      604 N 13TH ST                    RR#2                                                                          MIDDLETOWN          IN 47356‐1273
SAREMBA, CAROL A                    523 TOMLINSON STREET                                                                                           INDIANAPOLIS        IN 46222
SAREPIO CASAREZ JR                  919 E 2ND ST                                                                                                   DEFIANCE            OH 43512‐2386
SARETHA WILLIAMS                    PO BOX 541                                                                                                     AUTRYVILLE          NC 28318‐0541
SARFATY, BRUCE C                    58 LONG PARK LN                                                                                                ROCHESTER           NY 14612‐2233
SARFF, MELISSA L.                   220 S POLK ST                                                                                                  WINCHESTER          IN 47394‐1519
SARG, TYLER                         LAMARCA & LANDRY PC              1820 NW 118TH ST STE 200                                                      DES MOINES           IA 50325‐8266
SARGE, VIRGINIA T                   41155 POND VIEW DR               APT 334                                                                       STERLING HEIGHTS    MI 48314‐3897
SARGE, VIRGINIA T                   41155 POND VIEW DR APT 334                                                                                     STERLING HEIGHTS    MI 48314‐3897
SARGEANT, ANGELA
SARGEANT, ANTOINETTE
SARGEANT, ANTOINETTE                                                 LEE J ROHN                        11010 KING STREET SUIT 2                    ST CROIX            VI   00820
                                                                                                       CHRISTIANSTED
SARGEANT, ANTOINETTE                LEE J ROHN                       11010 KING STREET SUIT 2                                                      ST CROIX            VI   00820
                                                                     CHRISTIANSTED
SARGEANT, DELBERT
SARGEANT, DONNABELL M.              781 CHIPPEWA DRIVE                                                                                             DEFIANCE           OH    43512‐3369
SARGEANT, EDWARD R                  880 COLGATE AVENUE                                                                                             BRONX              NY    10473
SARGEANT, JOY M                     PO BOX 265                                                                                                     LOWELL             MI    49331‐0265
SARGEANT, VERA G                    880 COLGATE AVE APT 7D                                                                                         BRONX              NY    10473‐4811
SARGENT CHIROPRACTIC CLINIC         ATTN: RICHARD A LINK             1341 N JOHNSON ST                                                             BAY CITY           MI    48708‐6257
SARGENT DOCKS & TERMINAL CO INC     2840 BAY RD                                                                                                    SAGINAW            MI    48603‐3311
SARGENT ELECTRIC COMPANY            PO BOX 30                                                                                                      PITTSBURGH         PA    15230‐0030
SARGENT ELECTRIC COMPANY            RONALD DEANGELO                  PO BOX 30                                                                     PITTSBURGH         PA    15230‐0030
SARGENT ENGLE JR                    8451 PINEGATE WAY                                                                                              HUBER HEIGHTS      OH    45424‐1153
SARGENT ENGLE JR                    8451 PINEGATE WAY                                                                                              HUBER HEIGHTS      OH    45424‐1153
SARGENT ENGLE, III                  405 CALUMET LN                                                                                                 DAYTON             OH    45417
SARGENT EVALEEN                     769 S GORDON RD                                                                                                AUSTELL            GA    30168‐5415
SARGENT INTERNATIONAL INC.          5 THEATER COLONY RD                                                                                            SOUTH YARMOUTH     MA    02664‐4483
SARGENT JAMES W                     SARGENT, JAMES W                 30 E BUTLER AVE                                                               AMBLER             PA    19002‐4514
SARGENT JOHN A (667815)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA    23510
                                                                     STREET, SUITE 600
SARGENT JOHN W (629617)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA 23510
                                                                     STREET, SUITE 600
SARGENT JR, DONALD L                280 S MARY ELLEN ST                                                                                            SOUTH LEBANON      OH    45065‐1318
SARGENT JR, JACK G                  1610 N MILLER RD                                                                                               SAGINAW            MI    48609‐9531
SARGENT JR, ROBERT E                152 CHEROKEE TRL                                                                                               HOSCHTON           GA    30548‐2895
SARGENT ROGER                       SARGENT, ROGER                   110 E KALISTE SALOOM RD STE 101                                               LAFAYETTE          LA    70508‐8509

SARGENT SR, RICHARD N               6146 OAKHURST PARK DR                                                                                          AKRON              MI    48701‐9754
SARGENT TIMOTHY M                   DBA TS PRODUCTIONS               22441 MOORGATE ST                                                             NOVI               MI    48374‐3791
SARGENT TRUCKING INC                64 MAIN ST                                                                                                     MARS HILL          ME    04758‐3402
SARGENT'S COURT REPORTINGSERVICE,   210 MAIN ST                                                                                                    JOHNSTOWN          PA    15901‐1509
INC.
SARGENT, ALBERT                     2448 WYTHE CT                                                                                                  DAYTON             OH 45406‐1253
SARGENT, ANDREW L                   4068 W 100 N                                                                                                   GREENFIELD         IN 46140‐8542
SARGENT, ARA D                      3911 E. COUNTY RD. 150 NORTH                                                                                   ANDERSON           IN 46012
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SARGENT, ARLENE M          39 FREY                                                                            VERMONTVILLE           MI 49096‐8580
SARGENT, ARLENE M          39 FREY RD                                                                         VERMONTVILLE           MI 49096‐8580
SARGENT, BUD J             7544 STILLWELL BECKETT RD                                                          OXFORD                 OH 45056
SARGENT, CARL R            3830 N HARTLAND ST                                                                 MIDDLEPORT             NY 14105‐9703
SARGENT, CAROLINE R        1300 S BORDER                   #185                                               WESLACO                TX 78596‐7448
SARGENT, CAROLINE R        1300 S BORDER AVE APT 185                                                          WESLACO                TX 78596‐7448
SARGENT, CARRIE            7041 S BISHOP ST                                                                   CHICAGO                 IL 60636‐3917
SARGENT, CLAYTON J         PO BOX 544                                                                         POWELLTON              WV 25161‐0544
SARGENT, CONSTANCE G       202 S TALLEY AVE                                                                   MUNCIE                 IN 47303‐4760
SARGENT, CONSTANCE GAYLE   202 S TALLEY AVE                                                                   MUNCIE                 IN 47303‐4760
SARGENT, CORY H            14627 FIRETHORNE PATH                                                              FORT WAYNE             IN 46814‐8914
SARGENT, CORY HAMILTON     14627 FIRETHORNE PATH                                                              FORT WAYNE             IN 46814‐8914
SARGENT, CYNTHIA           8494 STANFORD S APT D                                                              WASHINGTON TOWNSHIP    MI 48094‐2267
SARGENT, DANIEL M          39B FIRST MONTGOMERY DR                                                            MT HOLLY               NJ 08060
SARGENT, DARRELL L         6325 APACHE ST                                                                     HUBER HEIGHTS          OH 45424‐2809
SARGENT, DARRYL R          1798 CARTER LN                                                                     MANSFIELD              OH 44903‐9443
SARGENT, DAVID T           PO BOX 176                                                                         LAYTON                 NJ 07851
SARGENT, DEALICE           47309 BAKER ST                                                                     NOVI                   MI 48374‐3669
SARGENT, DEAN W            3209 E 6TH ST                                                                      ANDERSON               IN 46012‐3827
SARGENT, DELBERT D         6285 BOULDER DR                                                                    FLUSHING               MI 48433‐3538
SARGENT, DELBERT DANIEL    6285 BOULDER DR                                                                    FLUSHING               MI 48433‐3538
SARGENT, DELMAS G          3254 VALLEYWOOD DR                                                                 COLUMBUS               OH 43223‐3539
SARGENT, DENNIS M          14095 N LINDEN RD                                                                  CLIO                   MI 48420‐8877
SARGENT, DENNIS MICHAEL    14095 N LINDEN RD                                                                  CLIO                   MI 48420‐8877
SARGENT, DOLORES M         2609 GEMINI DR                                                                     LAKE ORION             MI 48360‐1931
SARGENT, DONALD F          4232 SAM KEEN RD                                                                   LAKE WALES             FL 33898‐9337
SARGENT, DONALD L          4350 HAMILTON RD                                                                   LEBANON                OH 45036‐9758
SARGENT, DONALD L          1312 CLAYTON RD                                                                    BROOKVILLE             OH 45309‐9315
SARGENT, DONNA J           2641 GARFIELD AVE NW                                                               GRAND RAPIDS           MI 49544‐1823
SARGENT, DONNA J           2641 GARFIELD N W                                                                  GRAND RAPIDS           MI 49544‐1823
SARGENT, EDWARD F          1509 LOYOLA DR                                                                     FLINT                  MI 48503‐5225
SARGENT, ELLEN E           11245 COVINGTON BRADFORD ROAD                                                      BRADFORD               OH 45308‐9738
SARGENT, ELLEN E           11245 COVINTON BRADFORD RD                                                         BRADFORD               OH 45308‐9738
SARGENT, ELLEN M           1809 ZIMMERMAN ST                                                                  FLINT                  MI 48503‐4736
SARGENT, EMMA J            620 ANDOVER WOODS DR                                                               FENTON                 MI 48430‐4128
SARGENT, EMMA JEAN         620 ANDOVER WOODS DRIVE                                                            FENTON                 MI 48430‐4128
SARGENT, ERNEST            6014 BEECHWOOD ST                                                                  DETROIT                MI 48210‐1202
SARGENT, ESTHER M          336 N MAIN ST APT 105                                                              DAVISON                MI 48423‐1455
SARGENT, EVELYN            1514 S FRANKLIN AVE                                                                FLINT                  MI 48503‐2877
SARGENT, FLOYD L           4041 GRANGE HALL RD LOT 130                                                        HOLLY                  MI 48442‐1925
SARGENT, FRANCENA G        1932 WHITE BIRCH CT                                                                ROCHESTER HILLS        MI 48309‐3306
SARGENT, FRANK D           303 SEMINOLE ST                                                                    HOLLY                  MI 48442‐1358
SARGENT, FRANK T           APT 306                         870 CLASSIC COURT                                  NAPLES                 FL 34110‐7053
SARGENT, FRED W            5637 TARRYTOWN RD                                                                  YOUNGSTOWN             OH 44515‐1921
SARGENT, FREDDIE           1861 COLUMBIA ROAD 30                                                              MAGNOLIA               AR 71753‐8316
SARGENT, GARRY             1124 RODMAN RD                                                                     WILMINGTON             DE 19805‐4124
SARGENT, GARY D            4227 WILLOW RUN DR                                                                 DAYTON                 OH 45430‐1566
SARGENT, GENE H            3868 W FRANKLIN ST                                                                 BELLBROOK              OH 45305‐1884
SARGENT, JAMES D           638 BRYAN ST SE                                                                    ATLANTA                GA 30312‐3309
SARGENT, JAY A             9255 FRANCES RD                                                                    OTISVILLE              MI 48463‐8404
SARGENT, JEAN A            200 BALSA DR                                                                       LONGS                  SC 29568‐1472
SARGENT, JEAN T            2700 EATON RAPIDS RD            # 222 STONEGATE                                    LANSING                MI 48911‐6326
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Name                   Address1                        Address2                      Address3   Address4         City           State Zip
SARGENT, JEANIE R      2 PRISCILLA LN                                                                            LOCKPORT        NY 14094‐3313
SARGENT, JOEL J        PO BOX 744                                                                                MURRAYVILLE     GA 30564‐0744
SARGENT, JOHN          5014 READING RD E                                                                         OSSEO           MI 49266‐9009
SARGENT, JOHN          6324 JASON DR                                                                             MILTON          FL 32570‐9437
SARGENT, JOHN A        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                       STREET, SUITE 600
SARGENT, JOHN M        5 HANNARIN DR                                                                             STANDISH       ME 04084‐5469
SARGENT, JOHN W        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA 23510‐2212
                                                       STREET, SUITE 600
SARGENT, JOHN W        2309 DUNDEE LN                                                                            NASHVILLE      TN   37214‐1519
SARGENT, JUNE B        417 CANYON WAY                                                                            SPARKS         NV   89434‐3227
SARGENT, JUNE B        8975 WYNNE ST                                                                             RENO           NV   89506‐5960
SARGENT, LARRY R       3333 RAVENSWOOD RD LOT 100                                                                MARYSVILLE     MI   48040‐1101
SARGENT, LEE A         PO BOX 622                                                                                GENESEO        NY   14454‐0622
SARGENT, LEON J        4550 VAN DUSEN RD                                                                         LOCKPORT       NY   14094‐9733
SARGENT, MARJIE        PO BOX 94                                                                                 LAKE CITY      AR   72437
SARGENT, MARK
SARGENT, MARK E        2148 LANCELOT DR                                                                          N HUNTINGDON   PA   15642‐4418
SARGENT, MARLINE       6385 N MONROE ST TRLR 15                                                                  MONROE         MI   48162‐9481
SARGENT, MARTINA M     3349 HERITAGE BLVD                                                                        SWARTZ CREEK   MI   48473‐7955
SARGENT, MARVIN J      6556 CHRISTIANSON PKWY S                                                                  FARGO          ND   58104‐3326
SARGENT, MEGAN E       9075 W 800 N                                                                              HUNTINGTON     IN   46750‐7713
SARGENT, MICHAEL E     1821 RIFLE RIVER DR 716                                                                   WEST BRANCH    MI   48661
SARGENT, MICHAEL S     10581 W SHELBY RD                                                                         MIDDLEPORT     NY   14105‐9304
SARGENT, MURREL F      5290 N GALE RD                                                                            DAVISON        MI   48423
SARGENT, NANCY         4430 NOTTINGHAM WAY                                                                       TRENTON        NJ   08690
SARGENT, NANCY A       PO BOX 532                      4523 DAVIS RD                                             GENESEO        NY   14454‐0532
SARGENT, NICHOLAS E    41911 HANFORD RD                                                                          CANTON         MI   48187‐3515
SARGENT, NORBERT F     3474 PINE RDG                                                                             BURTON         MI   48519‐2815
SARGENT, P J           5642 HIGHWAY 212                                                                          COVINGTON      GA   30016‐4414
SARGENT, PAUL T        PO BOX 131                                                                                GAS CITY       IN   46933‐0131
SARGENT, PAUL THOMAS   PO BOX 131                                                                                GAS CITY       IN   46933‐0131
SARGENT, PRISCILLA L   PO BOX 1034                                                                               LEXINGTON      VA   24450‐1034
SARGENT, RAYMOND W     13050 FM 2010                                                                             CHANDLER       TX   75758‐6826
SARGENT, REGINA        8235 BURKSHIRE CIR APT 102                                                                SWARTZ CREEK   MI   48473‐1831
SARGENT, RICHARD L     969 WILDFLOWER CT                                                                         EAGAN          MN   55123‐3979
SARGENT, RICHARD W     9218 SILVER LAKE                                                                          LINDEN         MI   48451
SARGENT, ROBERT D      PO BOX 71                                                                                 MILLINGTON     MI   48746‐0071
SARGENT, ROBERT D      269 JADE CIR                                                                              CANFIELD       OH   44406‐8628
SARGENT, ROBERT E      3210 AMICK RD                                                                             ELON COLLEGE   NC   27244‐8113
SARGENT, ROBERT L      2015 TREBEIN RD                                                                           XENIA          OH   45385‐8581
SARGENT, ROBERT L      986 LEBANON RD                                                                            CLARKSVILLE    OH   45113‐5113
SARGENT, RONALD A      411 ELM ST                                                                                MOUNT MORRIS   MI   48458‐1913
SARGENT, RONALD W      563 N GENATHY RD                                                                          AUBURNDALE     FL   33823‐2254
SARGENT, RONALD W      1906 SUMMER PL                                                                            ANDERSON       IN   46012
SARGENT, RONALD W      1906 SUMMER PLACE                                                                         ANDERSON       IN   46012
SARGENT, RUTH L.       13168 44 TH STREET FOOTHILLS                                                              YUMA           AZ   85367‐6228
SARGENT, SHARON L      175 BRIAR WOOD LN                                                                         ROCHESTER      NY   14626‐2732
SARGENT, STEPHEN R     202 S TALLEY AVE                                                                          MUNCIE         IN   47303‐4760
SARGENT, TAULBEE       1065 BLAZE RD.                                                                            WEST LIBERTY   KY   41472
SARGENT, TERRY L       25301 RIVER CREST DR                                                                      LEESBURG       FL   34748‐7422
SARGENT, THOMAS R      104 COPPERRUN CT                                                                          HARVEST        AL   35749‐9303
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Name                         Address1                           Address2             Address3     Address4         City                  State Zip
SARGENT, TOMMY L             9978 CARR RD                                                                          SAINT CHARLES          MI 48655‐9671
SARGENT, VELDA M             PO BOX 123                                                                            CLIO                   MI 48420‐0123
SARGENT, VELDA M                                                PO BOX 123                                         CLIO                   MI 48420‐0123
SARGENT, WILLIAM C           620 ANDOVER WOODS DRIVE                                                               FENTON                 MI 48430‐4128
SARGENT, WILLIAM E           1809 ZIMMERMAN ST                                                                     FLINT                  MI 48503‐4736
SARGENT, WILLIAM L           3113 RIDGEMORE AVE                                                                    KETTERING              OH 45429‐3935
SARGENT, WILLIAM R           4814 SAWGRASS LAKE CIR                                                                LEESBURG               FL 34748‐2206
SARGENT, WILMA E             25301 RIVER CREST DR                                                                  LEESBURG               FL 34748‐7422
SARGENT,ROBERT L             2015 TREBEIN RD                                                                       XENIA                  OH 45385‐8581
SARGESON, RANDY L            3367 GRANDE CTST                                                                      BAY CITY               MI 48706
SARGESON, SHIRLEY A          3374 E FISHER RD                                                                      BAY CITY               MI 48706‐3272
SARGESON, WILLIAM J          3374 E FISHER RD                                                                      BAY CITY               MI 48706‐3272
SARGINSON, JAMES F           9474 HAMILL RD                                                                        OTISVILLE              MI 48463‐9785
SARGINSON, MICHAEL J         3913 HERRICK ST                                                                       FLINT                  MI 48532‐5282
SARGINSON, MICHAEL JOHN      3913 HERRICK ST                                                                       FLINT                  MI 48532‐5282
SARGINSON, STEVEN D          5019 HICKORY GREEN COURT                                                              KINGWOOD               TX 77345‐2340
SARGIO CANARINI              ROBERT W PHILLIPS, SIMMONS BROWDER 707 BERKSHIRE BLVD   PO BOX 521                    EAST ALTON              IL 62024
                             GIANARIS ANGELIDES & BARNERD LLC

SARGIOUS MD                  2000 EAST MARKET STREET                                                               WARREN                OH   44483
SARGIS KOSSAYIAN             4 ORCHARD RD                                                                          WASHINGTON CROSSING   PA   18977
SARGIS, JOSEPH               12086 MILLER RD                                                                       LENNON                MI   48449‐9406
SARGIS, MURASA               4157 CHERYL DR                                                                        FLINT                 MI   48506‐1405
SARGON ALEXANDER             1020 IDYLWILD DR                                                                      RICHMOND              KY   40475‐3609
SARHAN, DONNA J              1302 IDA ST                                                                           FLINT                 MI   48503‐3526
SARHAN, DUANE W              G8417 BEECHER RD.                                                                     FLUSHING              MI   48433
SARHAN, DUANE WESLEY         G8417 BEECHER RD.                                                                     FLUSHING              MI   48433
SARI A BEARDSLEY             3035 JACKSON ST                                                                       SAGINAW               MI   48604‐2385
SARI A. BEARDSLEY            3035 JACKSON ST                                                                       SAGINAW               MI   48604‐2385
SARI BEARDSLEY               3035 JACKSON ST                                                                       SAGINAW               MI   48604‐2385
SARI FOWLES                  2455 RAINTREE LAKE CIR                                                                MERRITT ISLAND        FL   32953‐2941
SARI, CINDY L                5404 LENNON RD                                                                        SWARTZ CREEK          MI   48473‐7923
SARI, STEPHAN J              3901 71ST ST W LOT 23                                                                 BRADENTON             FL   34209‐6520
SARI, VANCE F                3020 LANSING ST                                                                       HARRISON              MI   48625‐9250
SARI, WILLIAM E              14956 ARDEN ST                                                                        LIVONIA               MI   48154‐3506
SARIAN JESSICA               SARIAN, JESSICA                    613 ELIZABETH AVE                                  TOMS RIVER            NJ   08753
SARIAN, JESSICA              613 ELIZABETH AVE                                                                     TOMS RIVER            NJ   08753‐7129
SARIANO, HARRY               WYSOKER GLASSNER & WEINGARTNER     340 GEORGE ST                                      NEW BRUNSWICK         NJ   08901‐2011
SARIANO, HARRY               506 KENBURY RD                                                                        BRANCHBURG            NJ   08876‐3797
SARIANO, PATRICIA            506 KENBURY RD                                                                        BRANCHBURG            NJ   08876‐3797
SARIC JIM                    785 WESTGATE RD                                                                       BANNOCKBURN           IL   60015‐3136
SARIC, KATA                  8304 TUDOR CIR                                                                        WILLOW SPGS           IL   60480‐1123
SARICH, ANDREW               21814 STATE ROAD 71 N                                                                 ALTHA                 FL   32421‐4338
SARICH, RACHEL P             202 POTTERS CIR                                                                       GIRARD                OH   44420
SARIEGO, JOSEPH C            2618 E 36TH ST                                                                        JOPLIN                MO   64804‐4255
SARIGIANOPOULOS, ANTHONY K   503 13TH ST                                                                           CAMPBELL              OH   44405‐1238
SARIHAN, VIJAY               9419 N 53RD PL                                                                        PARADISE VALLEY       AZ   85253‐1611
SARILDA BROWN                1916 W 17TH ST                                                                        MUNCIE                IN   47302‐2941
SARILLE, JAMES L             10905 KINGSGATE DR                                                                    OKLAHOMA CITY         OK   73170‐4239
SARIN KHUY                   104 GLENORA DRIVE                                                                     ROCHESTER             NY   14615
SARINA COUCH                 2464 STUBBS VINSON RD                                                                 MONROE                LA   71203‐8319
SARISKY, DALE                3793 W VALLEY GREEN DR                                                                DAVIE                 FL   33328‐2627
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Name                        Address1                           Address2                    Address3                Address4              City               State Zip
SARISKY, MELISSA A          3200 CANFIELD RD APT 105                                                                                     YOUNGSTOWN          OH 44511‐2770
SARISKY, WILLIAM J          3845 S SALEM WARREN RD                                                                                       NORTH JACKSON       OH 44451‐9704
SARISOHN LAW PARTNERS LLP   IOLA ESCROW ACCOUNT                350 VETERANS MEMORIAL HWY   HIGHWAY                                       COMMACK             NY 11725‐4316
SARIT BATNER                MCCARTHY TETRAULT LLP              SUITE 5300 TD BANK TOWER    TORONTO DOMINION CENTRE TORONTO ONTARIO M5K
                                                                                                                   1E6
SARITA BROWN                17392 THOMAS RD                                                                                              WINCHESTER         KS   66097‐3085
SARITA E BLACKBURN          11212 ASHFORD DR                                                                                             YUKON              OK   73099‐8002
SARITA E ROLLINS            11212 ASHFORD DR                                                                                             YUKON              OK   73099
SARITA ELLISON              2810 ASHCROFT DR                                                                                             FORT WAYNE         IN   46806‐3402
SARITA EVANS                6901 THORNHILL DR                                                                                            DIMONDALE          MI   48821‐9449
SARITA HENDERSON            587 E AMHERST ST                                                                                             BUFFALO            NY   14215‐1540
SARITA RIDDICK              16171 CHERRYLAWN ST                                                                                          DETROIT            MI   48221‐2930
SARITA STEPHNEY             2224 WARRIOR CIR                                                                                             OKLAHOMA CITY      OK   73121‐2865
SARJEANT, RANDALL H         4063 EAGLE ROCK CT SW                                                                                        GRANDVILLE         MI   49418‐3152
SARJI SANDRA                9910 ORCHARD HILLS RD                                                                                        JACKSONVILLE       FL   32256‐1471
SARK, MARIANNA              6071 W PATRIOT ST                                                                                            HOMOSASSA          FL   34448‐2178
SARK, MICHAEL C             3240 E LANSING RD                                                                                            BANCROFT           MI   48414‐9793
SARKA ANNMARIE              939 THOMAS AVE                                                                                               BALDWIN            NY   11510‐4140
SARKA ULIASZ                816 W CHAMPLAIN AVE                                                                                          WILMINGTON         DE   19804‐2007
SARKA, DENNIS F             10470 COLDWATER RD                                                                                           FLUSHING           MI   48433‐9752
SARKA, GERALD S             7254 NEW LOTHROP RD                                                                                          NEW LOTHROP        MI   48460‐9681
SARKA, JAMES A              21430 SWITZER RD                                                                                             DEFIANCE           OH   43512‐8467
SARKA, JAMES K              10486 COLDWATER RD                                                                                           FLUSHING           MI   48433‐9752
SARKA, JANICE R             52917 WICKERSHAM DR                                                                                          SHELBY TOWNSHIP    MI   48315‐2550
SARKA, JOHN M               1070 RANSOM DR                                                                                               FLINT              MI   48507‐4204
SARKA, JUANITA              1070 RANSOM DR                                                                                               FLINT              MI   48507‐4204
SARKA, MARILYN L            4760 LORI LU DRIVE                                                                                           CASEVILLE          MI   48725‐9701
SARKA, PHYLLIS J            516 WEBSTER ST                                                                                               DEFIANCE           OH   43512‐1650
SARKADY MARC DAVID          FOUR SEASONS PLACE                 50 NORTHERN BLVD                                                          NEWBURY            MA   01951
SARKADY, JOHN S             42284 LADYWOOD DR                                                                                            NORTHVILLE         MI   48168‐2020
SARKANY, TERRI G            115 MORNINGSIDE RD                                                                                           NILES              OH   44446‐2111
SARKAR SURANJAN             7763 S MEMORIAL DR APT 9203                                                                                  TULSA              OK   74133
SARKAR, PRITI               4470 BROOKSTONE DR                                                                                           SAGINAW            MI   48603‐8640
SARKAR, PRITISH             2929 PORLAS PL                                                                                               SAGINAW            MI   48603‐3304
SARKAR, REUBEN              1617 CALIFORNIA ST APT 3C                                                                                    DENVER             CO   80202‐2717
SARKAR, REUBEN              3110 N ALEXANDER AVE                                                                                         ROYAL OAK          MI   48073‐3513
SARKAR, SIPRA M             2160 CLINTON VIEW CIR                                                                                        ROCHESTER HILLS    MI   48309‐2986
SARKAR, SUSANTA P           2160 CLINTON VIEW CIR                                                                                        ROCHESTER HILLS    MI   48309‐2986
SARKESIAN, DONALD L         45774 GAINSBOROUGH DR                                                                                        CANTON             MI   48187‐1556
SARKESIAN, TIMOTHY A        39658 ROCKCREST LN                                                                                           NORTHVILLE         MI   48168‐3965
SARKEY, DAVID P             11830 HUNTER RD                                                                                              BATH               MI   48808‐9442
SARKEY, DAVID P.            11830 HUNTER RD                                                                                              BATH               MI   48808‐9442
SARKINE, BICK A             5111 STIRLING POINT DR                                                                                       INDIANAPOLIS       IN   46241‐9207
SARKINE, HARRY              2927 BABETTE DR                                                                                              INDIANAPOLIS       IN   46227‐5525
SARKINE, THELMA             1209 NEEDLES DR                                                                                              INDIANAPOLIS       IN   46217‐4316
SARKIS KAZARIAN
SARKIS KUPELIAN             19810 W 12 MILE RD APT 10                                                                                    SOUTHFIELD         MI   48076‐2547
SARKIS, FRANCES A           7060 LOCKWOOD BLVD                                                                                           YOUNGSTOWN         OH   44512
SARKIS, SIMON J             7060 LOCKWOOD BLVD                                                                                           YOUNGSTOWN         OH   44512‐4015
SARKISIAN, CAROL M          448 HORIZON DR # 9                                                                                           NORTH FORT MYERS   FL   33903
SARKISIAN, THOMAS C         18618 W 9 MILE RD                                                                                            SOUTHFIELD         MI   48075‐4015
SARKISSIAM SYLVIA           SARKISSIAM, SYLVIA                 5763 NORTHHILL PKWY                                                       TROY               MI   48098
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Name                            Address1                         Address2                         Address3                    Address4               City                  State Zip
SARKISSIAM, SYLVIA              5763 NORTHHILL PKWY                                                                                                  TROY                   MI 48098
SARKO, CHESTER R                15051 BAINBRIDGE ST                                                                                                  LIVONIA                MI 48154‐3648
SARKO, GARY E                   2345 NILES CORTLAND RD NE                                                                                            CORTLAND               OH 44410
SARKO, MARY                     15051 BAINBRIDGE ST                                                                                                  LIVONIA                MI 48154‐3648
SARKO, THOMAS A                 9699 SILVERSIDE                                                                                                      SOUTH LYON             MI 48178‐9317
SARKOVICS, DOROTHY S            PO BOX 77                        C/O LAURA BURDO                                                                     POTTERSVILLE           NJ 07979‐0077
SARKOVICS, DOROTHY S            C/O LAURA BURDO                  PO BOX 77                                                                           POTTERSVILLE           NJ 07979
SARKOVICS, RODNEY T             541 NORTH AVE                                                                                                        N TONAWANDA            NY 14120‐1748
SARKOZY, LOUIS R                6583 GLASTON CT SE                                                                                                   GRAND RAPIDS           MI 49546‐6864
SARL ALBERT DELALONDE           BOULEVARD DU VALIGOT                                                                          62630 ETAPLES FRANCE
SARLAS, CHRIST                  14028 TERRY DR                                                                                                       ORLAND PARK           IL   60462‐2234
SARLAUSKAS, ELIZABETH           31710 PERTH ST                                                                                                       LIVONIA               MI   48154‐4281
SARLES TERRY                    SARLES, TERRY                    640 S SAN VICENTE BLVD STE 230                                                      LOS ANGELES           CA   90048‐4654
SARLES, CARROLL D               5412 PEPPERPIKE AVE                                                                                                  LAS VEGAS             NV   89130‐7064
SARLES, DALE
SARLES, DALE E                  2400 DALE RD                                                                                                         BEAVERTON             MI   48612‐9184
SARLES, DARRELL R               6720 BRIEF RD                                                                                                        KINGSTON              MI   48741‐9752
SARLES, GARY L                  9859 BANKER ST                                                                                                       CLIFFORD              MI   48727‐9559
SARLES, HOWARD I                5259 MAYVILLE RD                                                                                                     SILVERWOOD            MI   48760‐9407
SARLES, LARRY F                 6250 INDIAN LAKE DR                                                                                                  GLADWIN               MI   48624‐9748
SARLES, NEIL R                  4264 MAYVILLE RD                                                                                                     SILVERWOOD            MI   48760‐9705
SARLES, REX D                   1587 NW PINE CREEK AVE                                                                                               ARCADIA               FL   34266‐5475
SARLEY, KAREN                   20 ANDORRA LN                                                                                                        HOT SPRINGS VILLAGE   AR   71909‐7448
SARLO JR, JOHN                  69 PARK AVE                                                                                                          WHITE PLAINS          NY   10604‐2611
SARLO, EARLENE L                ATKINSON & ASSOCIATES            322 COLLINS STREET                                                                  CONROE                TX   77301
SARLO, JEAN                     69 EAST PARK AVE                                                                                                     WHITE PLAINS          NY   10604‐2611
SARLOUIS JOSEPH B (429756)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                         NORFOLK               VA   23510
                                                                 STREET, SUITE 600
SARLOUIS, JOSEPH B              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                         NORFOLK               VA 23510‐2212
                                                                 STREET, SUITE 600
SARLOWER TIBBS                  PO BOX 531282                                                                                                        GRAND PRAIRIE         TX   75053‐1282
SARMA, HARIKRISHNA N            3615 EUCLID DR                                                                                                       TROY                  MI   48083‐5757
SARMENTO MECHANICAL SALES       23023 ORCHARD LAKE‐BLDG E                                                                                            FARMINGTON            MI   48336
SARMENTO MECHANICAL SALES INC   23023 ORCHARD LAKE RD STE E                                                                                          FARMINGTON            MI   48336‐3267
SARMENTO, A. LA VONNE           5521 DEL ORO CT                                                                                                      SAN JOSE              CA   95124‐6110
SARMENTO, HARRY R               2407 TOPANGA DRIVE                                                                                                   BULLHEAD CITY         AZ   86442‐8462
SARMIENTO, CARMELITA            4223 ALGONQUIN AVE                                                                                                   DETROIT               MI   48215‐2204
SARMIENTO, JESUS                417 SHREWSBURY ST 3                                                                                                  WORCESTER             MA   01604
SARNA KUNSTSTOFF HOLDING AG     INDUSTRIESTRASSE 0                                                                            SARNEN/OW 6060
                                                                                                                              SWITZERLAND
SARNA KUNSTSTOFF HOLDING AG     SHEILA SOLECZAK                  315 CUTTLE RD                    BLUE WATER PLASTICS, INC.                          MARYSVILLE            MI   48040‐1804
SARNA KUNSTSTOFF HOLDING AG     SHEILA SOLECZAK                  BLUE WATER PLASTICS, INC.        315 CUTTLE ROAD                                    FINDLAY               OH   45840
SARNA, DAVID A                  6308 PANTHER LN                  UNIT 2                                                                              FORT MYERS            FL   33919
SARNA, DAVID A                  APT L2                           6308 PANTHER LANE                                                                   FORT MYERS            FL   33919‐6393
SARNA, GEORGE J                 847 N CENTER ST                                                                                                      BRAIDWOOD             IL   60408‐1355
SARNA, HELEN                    C/O BARBARA L DASCHKE            2011 E HUDSON AVE                                                                   ROYAL OAK             MI   48067
SARNA, JAMES M                  999 SUGARLOAF LAKE RD                                                                                                CHELSEA               MI   48118‐9425
SARNA, JOHN J                   18995 NOKAY LAKE RD                                                                                                  DEERWOOD              MN   56444
SARNA, MICHAEL T                6585 PARKVIEW DR                                                                                                     TROY                  MI   48098‐2243
SARNA, WILLIAM A
SARNAMOTIVE BLUE WATER, INC.    MARY JOHNSON2429                 PO BOX 267                                                                          MARYSVILLE            MI 48040‐0267
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Name                                   Address1                           Address2                       Address3                     Address4                City                  State Zip
SARNAMOTIVE BLUE WATER, INC.           MARY JOHNSON2429                   C/O CARO MANUFACTURING CORP.   1075 SOUTH COLLING ROAD                              DAYTON                 OH 45414

SARNAMOTIVE BLUE WATER, INC.           GEORGIA GOUDY X2218                BLUE WATER MOLDED SYSTEMS      2000 CHRISTIAN B. HASS DR.                           HOPE VALLEY            RI

SARNAMOTIVE BLUE WATER, INC.           MARY E. JOHNSON                    LEXINGTON PLASTICS, DIV.       5140 S. LAKESHORE                                    HOLLY                 MI    48442
SARNAMOTIVE BLUE/MI                    315 WHITING ST                                                                                                         SAINT CLAIR           MI    48079‐4981
SARNAMOTIVE BLUE/MI                    5140 LAKESHORE RD                                                                                                      LEXINGTON             MI    48450‐9518
SARNAMOTIVE BLUE/MI                    PO BOX 267                                                                                                             MARYSVILLE            MI    48040‐0267
SARNAMOTIVE BLUE/MI                    2000 CHRISTIAN B HAAS DR                                                                                               SAINT CLAIR           MI    48079‐5701
SARNAMOTIVE BLUE/MI                    315 CUTTLE RD                                                                                                          MARYSVILLE            MI    48040‐1804
SARNE, EUGENIE                         13061 AMBROSE DR                                                                                                       PALOS PARK            IL    60464‐1661
SARNE, JAMES W                         13061 AMBROSE DR                                                                                                       PALOS PARK            IL    60464‐1661
SARNIA FLUID SYSTEM TECHNOLOGI         889 FRASER DR UNIT 105                                                                         BURLINGTON ON L7L 4X8
                                                                                                                                      CANADA
SARNIA TOP GEAR AUTO SPECIALISTS INC   888 CONFEDERATION ST                                                                           SARNIA ON N7T 2E5
                                                                                                                                      CANADA
SARNICOLA, MIKE R                      PO BOX 821                                                                                                             WEED                  CA    96094‐0821
SARNIKOWSKI, JOSEPHINE                 66 EDGEWATER PL APT 3                                                                                                  EDGEWATER             NJ    07020‐1291
SARNO JOHN C (ESTATE OF) (626147)      PAUL REICH & MYERS P.C.            1608 WALNUT ST STE 500                                                              PHILADELPHIA          PA    19103‐5446
SARNO'S AUTO TECH                      295 HILLSIDE AVE                                                                                                       WILLISTON PARK        NY    11596‐2102
SARNO, ARTHUR                          99 WOODSIDE RD                                                                                                         MAPLEWOOD             NJ    07040‐1950
SARNO, GENEVIEVE                       99 WOODSIDE RD                                                                                                         MAPLEWOOD             NJ    07040‐1950
SARNO, JOHN C                          PAUL REICH & MYERS P.C.            1608 WALNUT ST STE 500                                                              PHILADELPHIA          PA    19103‐5446
SARNO, JOSEPH P                        46 DEACON ST                                                                                                           NORTHBOROUGH          MA    01532‐1653
SARNO‐BANTA, DYANNA L                  250 NORTH DR                                                                                                           WYANDOTTE             MI    48192‐2535
SARNOSKY, CAROL S                      4871 HOLMES AVE NW                                                                                                     WARREN                OH    44483‐1415
SARNOWSKI, BRIAN J                     16429 NETTNEY RD                                                                                                       MUSSEY                MI    48014‐1616
SARNOWSKI, DENNIS P                    4794 PUTT LN                                                                                                           AUBURN                MI    48611‐9205
SARNOWSKI, EDWARD J                    1742 KILBURN RD N                                                                                                      ROCHESTER HILLS       MI    48306‐3034
SARNS, RUSSELL G                       16967 WOODSIDE ST                                                                                                      LIVONIA               MI    48154‐2009
SARNT SARNTINORANONT                   701 SW 91ST ST                                                                                                         GAINSVILLE            FL    32607
SARO TRUCK DISPATCH                    C/O METRO FINANCIAL SERVICES       PO BOX 260                                                                          MILLBURY              OH    43447
SARO, BENYAMINE                        6620 N CAMPBELL AVE                                                                                                    CHICAGO               IL    60645‐5019
SAROFIM CHRISTOPHER                    2909 INWOOD DR                                                                                                         HOUSTON               TX    77019‐3221
SAROG, JOHN J                          11779 E 200 S                                                                                                          ZIONSVILLE            IN    46077‐8853
SAROOR SOFYAN                          2508 WYOMING ST                                                                                                        DEARBORN              MI    48120‐1518
SAROSI PETER MAXWELL                   1509 VIRGINIA AVENUE                                                                                                   COLUMBUS              OH    43212‐2525
SAROSI, PETER M                        700 S PLEASANT ST                                                                                                      ROYAL OAK             MI    48067‐3110
SAROSIEK, DIANE M                      14453 S MALLARD LN                                                                                                     HOMER GLEN            IL    60491‐9268
SAROSIEK, DONALD E                     14453 S MALLARD LN                                                                                                     HOMER GLEN            IL    60491‐9268
SAROSY, DEBRA A                        7350 MCGUIRE RD                                                                                                        FENTON                MI    48430‐8974
SAROSY, DEIDRE ANN                     47260 WARWICK CT                                                                                                       SHELBY TOWNSHIP       MI    48315‐4673
SAROSY, PAUL M                         9090 PIEDMONT ST                                                                                                       DETROIT               MI    48228‐1725
SAROTI, MARJORIE J                     49530 WINTERGREEN DR                                                                                                   SHELBY TOWNSHIP       MI    48315‐3441
SAROTTE, PETER J                       PO BOX 572                         69 BARRON ROAD                                                                      ORTONVILLE            MI    48462‐0572
SAROW, NANCY J                         1616 E POPLAR RD                                                                                                       COLUMBIA CITY         IN    46725‐8990
SAROW, RAYMOND F                       775 RAMBLING DR                                                                                                        SAGINAW               MI    48609‐4959
SAROW, ROGER D                         1616 E POPLAR RD                                                                                                       COLUMBIA CITY         IN    46725‐8990
SAROW, STEPHEN G                       1225 SHANNON CT                                                                                                        JANESVILLE            WI    53546‐3739
SAROWSKI, MARTIN I                     1338 HAMPTON RD                                                                                                        GROSSE POINTE WOODS   MI    48236‐1302
SAROWSKI, WALTER                       19500 GOULBURN ST                                                                                                      DETROIT               MI    48205‐1613
SARPOLIS, HELEN E                      116 BACK ST                                                                                                            COAL CENTER           PA    15423
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Name                               Address1                        Address2                      Address3   Address4                City            State Zip
SARPOLIS, NANCY A                  13099 EAGLE CT                                                                                   SOUTH LYON       MI 48178‐9587
SARPONG, KWABENA O                 2 E BUENA VISTA #70             1                                                                HIGHLAND PARK    MI 48203
SARPY COUNTY TREASURER             1210 GOLDEN GATE DR STE 1127                                                                     PAPILLION        NE 68046‐2845
SARPY, CAROLYN G                   8563 BROOKSTONE DR                                                                               GREENWOOD        LA 71033‐3001
SARPY, CAROLYN GERMAN              8563 BROOKSTONE DR                                                                               GREENWOOD        LA 71033‐3001
SARPY, MARK                        8563 BROOKSTONE DR                                                                               GREENWOOD        LA 71033‐3001
SARPY, SANDRA J                    PO BOX 881214                                                                                    LOS ANGELES      CA 90009‐7214
SARPY, SANDRA JEAN                 PO BOX 881214                                                                                    LOS ANGELES      CA 90009‐7214
SARR ROBERT CHARLES (429757)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510
                                                                   STREET, SUITE 600
SARR, JOYCE M                      5437 THUNDERBIRD PASS                                                                            GRAND BLANC     MI 48439‐9191
SARR, ROBERT CHARLES               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA 23510‐2212
                                                                   STREET, SUITE 600
SARRA, MICHAEL J                   6505 JEFFERS RD                                                                                  SWANTON         OH   43558‐9140
SARRA, MICHAEL JAMES               6505 JEFFERS RD                                                                                  SWANTON         OH   43558‐9140
SARRA, THOMAS E                    18107 CUIVRE DR                                                                                  LAKE ST LOUIS   MO   63367‐1991
SARRAGA RAMON                      SARRAGA, RAMON                  5110 SOUTH LYONS CIRCLE                                          WARREN          MI   48092
SARRAGA, RAMON                     5110 SOUTH LYONS CIRCLE                                                                          WARREN          MI   48092
SARRAGA, RAMON F                   5110 LYONS CIR S                                                                                 WARREN          MI   48092‐4412
SARRAS DION                        SARRAS, DION                    1361 CONWAY ST APT 7                                             ST PAUL         MN   55106
SARRAS, DION                       1361 CONWAY ST APT 7                                                                             SAINT PAUL      MN   55106‐5821
SARRATT, CLIFFORD E                7500 LESTER RD APT 40‐4                                                                          UNION CITY      GA   30291‐2351
SARRAU, JEAN PIERRE                PRO SE
SARRAZIN PNEU & MECHANIQUE         820 BOUL. DES LAURENTIDES                                                ST. JEROME QC J7Z 4M8
                                                                                                            CANADA
SARRETT, JANET L                   13179 GRAPE CT                                                                                   THORNTON        CO   80241
SARRIS JOHN (ESTATE OF) (658204)   SIMMONS FIRM                    PO BOX 521                                                       EAST ALTON      IL   62024‐0519
SARRIS, JOHN                       SIMMONS FIRM                    PO BOX 521                                                       EAST ALTON      IL   62024‐0519
SARRIS, SAM N                      1807 BURGUNDY DR                                                                                 FALLSTON        MD   21047‐2112
SARRIS, SHARON L                   584 RIO DEL MAR BLVD                                                                             APTOS           CA   95003‐4710
SARRO, MARK V                      PO BOX 701                                                                                       LEWISTON        NY   14092‐0701
SARROS JAMES                       7645 STATE ROAD 78 W                                                                             OKEECHOBEE      FL   34974‐9741
SARROUH, SOUHEIL                   1531 QUEENS CT                                                                                   WESTLAKE        OH   44145‐2408
SARSANY, THOMAS E                  2881 NORTHWEST BLVD NW                                                                           WARREN          OH   44485‐2233
SARSEN, DOUGLAS C                  28091 GALIEN DR                                                                                  SOUTH LYON      MI   48178‐9761
SARSEP IRA FBO CHRISTINE TRAPP     CHRISTINE TRAPP                 109 BAY DR                                                       ITASCA          IL   60143
SARSEP IRA FBO CHRISTINE TRAPP     CHRISTINA TRAPP                 109 BAY DR                                                       ITASCA          IL   60143
SARSFIELD, AMELIA JOAN             7422 S 20TH ST                                                                                   PHOENIX         AZ   85042
SARSFIELD, CAROLYN J               3822 66TH ST                                                                                     URBANDALE       IA   50322‐3320
SARSFIELD, CATHERINE M             35 EDWARD RD                                                                                     HATBORO         PA   19040‐2048
SARSFIELD, SARAH E                 225 SOUTH 2ND STREET                                                                             JEANNETTE       PA   15644‐2202
SARTAIN, BESSIE L                  2100 S QUEEN RIDGE DR                                                                            INDEPENDENCE    MO   64050‐4856
SARTAIN, BESSIE L                  2100 QUEEN RIDGE DRIVE                                                                           INDEPENDENCE    MO   64050‐4856
SARTAIN, BEVERLY A                 407 N WASHINGTON ST                                                                              GREENTOWN       IN   46936‐1154
SARTAIN, ELLEN                     1710 VINCIL ST                                                                                   KANSAS CITY     MO   64126‐2940
SARTAIN, JAMES C                   PO BOX 27769                                                                                     MEMPHIS         TN   38167‐0769
SARTAIN, JOANN G                   10889 BENTWATER LN                                                                               FISHERS         IN   46037‐9384
SARTAIN, MICHAEL W                 7422 NW LOCUST DR                                                                                PARKVILLE       MO   64152‐1910
SARTAIN, ROBERT V                  13001 E 51ST                                                                                     INDEPENDENCE    MO   64055
SARTAIN, ROGER L                   7120 S MERIDIAN ST                                                                               MARION          IN   46953‐6341
SARTAIN, STANLEY A                 36784 LAKE SHORE BLVD                                                                            EASTLAKE        OH   44095‐1145
SARTALAMACCHIA, ALISON A           DALTON & ASSOCIATES LLC         111 PARK WEST DR                                                 SCOTT           LA   70583‐8902
                           09-50026-mg            Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
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Name                       Address1                       Address2                      Address3             Address4             City               State Zip
SARTELL, DANIEL F          1402 PEMBROKE DR                                                                                       ROCHESTER HLS       MI 48307‐5728
SARTELL, DANIEL F.         1402 PEMBROKE DR                                                                                       ROCHESTER HLS       MI 48307‐5728
SARTELL, FRED L            6667 ANDERSONVILLE RD                                                                                  CLARKSTON           MI 48346‐2701
SARTELL, KAREN S           5621 ANDALUSIA TRL                                                                                     ARLINGTON           TX 76017‐3009
SARTELL, KAREN SUZETTE     5621 ANDALUSIA TRL                                                                                     ARLINGTON           TX 76017‐3009
SARTELL, KATHLEEN          5115 W HARVARD AVE                                                                                     CLARKSTON           MI 48348‐3171
SARTELL, RACHAEL M         5443 LEON DR                                                                                           GRAND PRAIRIE       TX 75052‐2680
SARTELL, RICHARD R         4555 ROCKCROFT BLVD                                                                                    CLARKSTON           MI 48346‐3432
SARTER, SHARON R           5106 LAKE BLUFF RD                                                                                     W BLOOMFIELD        MI 48323‐2434
SARTI JAN                  236 JIBBOOM ST                                                                                         SACRAMENTO          CA 95811
SARTI, JAMES R             11360 WILSHIRE DR                                                                                      SHELBY TWP          MI 48315‐6676
SARTI, JUDITH              52269 BELLE ARBOR                                                                                      SHELBY TWP          MI 48316‐2904
SARTI, PAOLO V             5702 CUSICK LAKE DR                                                                                    WASHINGTON          MI 48095‐1122
SARTIANO, FRANK A          3773 FAWN DR                                                                                           ROCHESTER           MI 48306‐1029
SARTIN JR, JOHN R          PO BOX 44                                                                                              WILDWOOD            FL 34785‐0044
SARTIN KEITH               2337 POST ROAD # OFLN                                                                                  O FALLON            MO 63368
SARTIN PETE & DONNA        PO BOX 240                                                                                             SUNNYSIDE           WA 98944‐0240
SARTIN W KEITH             2337 POST RD                                                                                           O FALLON            MO 63368‐6715
SARTIN, BOB L              9660 CARLIN ST                                                                                         DETROIT             MI 48227‐3072
SARTIN, IRVIN R            PO BOX 137762                                                                                          CLERMONT            FL 34713‐7762
SARTIN, MAXINE R           6290 DAFFODIL RD                                                                                       VENICE              FL 34293‐6978
SARTIN, RONALD C           13359 TAMMY MARIE LN                                                                                   SAINT PARIS         OH 43072‐9543
SARTIN, SAMUEL W           555 VANDYKE GREENSPRING RD                                                                             TOWNSEND            DE 19734‐9223
SARTIN, YVONNE M           44637 LESLIE CT                                                                                        LANCASTER           CA 93535‐2822
SARTIN, YVONNE M           44637 LESLIE STREET                                                                                    LANCASTER           CA 93535
SARTINI, ERALDO            102 HENLEY ST 14612                                                                                    ROCHESTER           NY 14612
SARTINI, PALMA             913 SCHERER WAY                                                                                        OSPREY              FL 34229
SARTOR RENATO              LA SCALA                       STUDIO LEGALE E TRIBUTARIO    CORSO MAGENTA N 42   20123 MILANO
SARTOR, CLYDE L            37102 ALMONT DR W                                                                                      STERLING HTS       MI   48310‐4023
SARTOR, DENNIS C           PO BOX 913                                                                                             KEARNY             AZ   85237‐0116
SARTOR, DONALD E           1219 E PERKINS AVE APT K1                                                                              SANDUSKY           OH   44870‐5039
SARTOR, DUANE H            1106 LATHRUP AVE                                                                                       SAGINAW            MI   48638‐4785
SARTOR, FREDERICK J        2916 E PERKINS AVE                                                                                     SANDUSKY           OH   44870‐5929
SARTOR, JAMES B            415 VILLAGE DR                                                                                         LANSING            MI   48911‐3763
SARTOR, JAY W              11315 N ELMS RD                                                                                        CLIO               MI   48420‐9468
SARTOR, LANNY M            950 FISHERVILLE LOOP                                                                                   MORRIS CHAPEL      TN   38361‐4696
SARTOR, LYNN R             1907 HULL RD                                                                                           SANDUSKY           OH   44870‐6032
SARTOR, M L                2262 HIGHWAY 15                                                                                        RAYVILLE           LA   71269‐5702
SARTOR, PATRICIA A         602 HALF W ADAM ST                                                                                     SANDUSKY           OH   44870
SARTOR, ROBERT K           9169 SHOSHONE TRL                                                                                      FLUSHING           MI   48433‐1037
SARTOR, THOMAS F           758 SPENCER LN                                                                                         LINDEN             MI   48451‐8507
SARTORE LOUIS C (354578)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                             NORFOLK            VA   23510
                                                          STREET, SUITE 600
SARTORE, LOUIS C           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                             NORFOLK            VA 23510‐2212
                                                          STREET, SUITE 600
SARTORELLI, JOAN A         PO BOX 6                                                                                               GAASTRA            MI   49927‐0006
SARTORI, ANTHONY D         2825 SILVERCLIFF DR                                                                                    DAYTON             OH   45449‐3364
SARTORI, ELIZABETH         10415 RAWSONVILLE RD                                                                                   BELLEVILLE         MI   48111‐9319
SARTORI, STEPHEN           APT 8                          327 SOUTH TELEGRAPH ROAD                                                PONTIAC            MI   48341‐1973
SARTORIO ROSA ADELIA       VIA SAN ROCCO N.4                                                                                      CARPIGNANO SESIA        28064
                                                                                                                                  (NOVARA)
SARTORIO, LOUIS            338 FACULTY DR                                                                                         FAIRBORN           OH 45324‐3932
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Name                          Address1                           Address2               Address3   Address4              City                  State Zip
SARTORIO, RITA                1797 ATLANTIC ST NE                                                                        WARREN                 OH 44483‐4111
SARTORIS, COLUMBIA D          233 MCCUTCHEON LN                                                                          PITTSBURGH             PA 15235‐1639
SARTORIS, HELEN L             970 CRANE ST APT 3                                                                         MENLO PARK             CA 94025‐4725
SARTORIS, HELEN L             970 CRANE ‐ APT. 3                                                                         MENLO PARK             CA 94025‐4725
SARTORIUS CORP                5 ORVILLE DR STE 200                                                                       BOHEMIA                NY 11716‐2535
SARTORIUS MECHATRONICS CORP   STE 200                            5 ORVILLE DRIVE                                         BOHEMIA                NY 11716‐2535
SARTORIUS, CAROL S            3 SIDLAW HILLS DR                                                                          BELLA VISTA            AR 72715‐4801
SARTORIUS, DANIEL J           38756 NAVAJO CT                                                                            ROMULUS                MI 48174‐4072
SARTORIUS, DAVID J            387 OLD BAY RD                                                                             BOLTON                 MA 01740‐1253
SARTORIUS, DAVID J            329 CHANDLER ST                                                                            ROMEO                  MI 48065‐4603
SARTSCHEV, ALAN J             6217 ROUSSEAU DR                                                                           PARMA                  OH 44129‐6522
SARTSCHEV, ALAN JOHN          6217 ROUSSEAU DR                                                                           PARMA                  OH 44129‐6522
SARTSCHEV, PETER P            6217 ROUSSEAU DR                                                                           PARMA                  OH 44129‐6522
SARTWELL, SHERRY D            6391 TOMER RD                                                                              CLAYTON                MI 49235‐9740
SARTWELL, STANLEY W           2151 CURDY RD                                                                              HOWELL                 MI 48855‐9725
SARULLO, JOSEPH A             7 FOREST LAKE DR                                                                           NORTH TONAWANDA        NY 14120‐3710
SARUNE MACYS                  649 WASHINGTON AVE                                                                         WATERBURY              CT 06708‐3741
SARUSSI, ELEANOR R            1700 60TH ST                                                                               LA GRANGE HIGHLANDS     IL 60525‐3703
SARVA SAI                     205 LOOKOUT LANE                                                                           CLIFTON PARK           NY 12065‐8806
SARVANIDIS, NICK              PENTAVRISO KASTORIAS KODIKOS ARG   KODIKOS 52200                     ARGOS ORESTIKONGREE
                                                                                                   GREECE 52200
SARVER CHARLES (657435)       BRAYTON PURCELL                    PO BOX 6169                                             NOVATO                CA   94948‐6169
SARVER DEBORAH (663916)       WISE & JULIAN                      PO BOX 1108                                             ALTON                 IL   62002‐1108
SARVER JR, VIRGIL C           PO BOX 103                                                                                 WENTZVILLE            MO   63385‐0103
SARVER KIM M                  8936 RIVER BEND COURT                                                                      INDIANAPOLIS          IN   46250‐3247
SARVER PATRICIA               224 POLONIA AVENUE                                                                         AKRON                 OH   44319‐3023
SARVER, ALBERT                20 KYLES LN APT 1                                                                          FORT THOMAS           KY   41075‐1833
SARVER, BETTY JEAN            2171 DETROIT AVE                                                                           LINCOLN PARK          MI   48146‐2542
SARVER, BETTY JEAN            2171 DETROIT ST                                                                            LINCOLN PARK          MI   48146‐2542
SARVER, CHARLES               BRAYTON PURCELL                    PO BOX 6169                                             NOVATO                CA   94948‐6169
SARVER, CHARLES W             151 LANTER LANE BOX 418                                                                    CAMDENTON             MO   65020
SARVER, DALBERT               2021 BETHEL HYGIENE RD                                                                     BETHEL                OH   45106‐8406
SARVER, DEBORAH               WISE & JULIAN                      156 N MAIN ST STOP 1                                    EDWARDSVILLE          IL   62025‐1972
SARVER, FLOYD E               2225 CHESAPEAKE CITY RD                                                                    BEAR                  DE   19701‐3332
SARVER, GAYLE E               755 WOODRING AVE                                                                           PAULDING              OH   45879‐1060
SARVER, GAYLE E               208 S MAIN ST APT B                                                                        PAULDING              OH   45879‐1479
SARVER, HAZEL M               1010 TAYWOOD RD APT 601                                                                    ENGLEWOOD             OH   45322‐2475
SARVER, HRISTOPHER            10218 MCGREGOR RD                                                                          PINCKNEY              MI   48169‐8867
SARVER, JANICE                P O BOX 42                                                                                 LAKE MILTON           OH   44429
SARVER, JEFF D                12 HAMMONNS DRIVE                                                                          AMELIA                OH   45102
SARVER, JERRY D               6206 E EL PASO ST                                                                          MESA                  AZ   85205‐5908
SARVER, KERRY L               26980 PONCHARTRAIN ST                                                                      HARRISON TOWNSHIP     MI   48045‐5400
SARVER, KIM                   8936 RIVER BEND CT                                                                         INDIANAPOLIS          IN   46250‐3247
SARVER, LARRY J               2714 GINA DR                                                                               EATON                 OH   45320‐9704
SARVER, LARRY J               2714 GING DRIVE                                                                            EATON                 OH   45320‐5320
SARVER, PATRICK A             10218 MCGREGOR RD                                                                          PINCKNEY              MI   48169‐8867
SARVER, PATRICK J             3344 E MOUNT MORRIS RD                                                                     MOUNT MORRIS          MI   48458‐8958
SARVER, PATRICK J.            3344 E MOUNT MORRIS RD                                                                     MOUNT MORRIS          MI   48458‐8958
SARVER, ROBERT D              9023 RAISIN ST.                                                                            MAYBEE                MI   48159
SARVER, ROBERT L              PO BOX 40                                                                                  CLENDENIN             WV   25045‐0040
SARVER, SANDRA D              8257 FENTON RD                                                                             GRAND BLANC           MI   48439‐8881
SARVER, SHEILA J              PO BOX 9022                                                                                WARREN                MI   48090‐9022
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Name                     Address1                            Address2                        Address3   Address4                City               State Zip
SARVER, SHEILA JAIN      PO BOX 9022                         C/O GM BANGALORE                                                   WARREN              MI 48090‐9022
SARVER, STEVEN S         20 SANTA FE RD                                                                                         MIDDLETOWN          OH 45042‐3632
SARVER, TARA L           10535 EAGLE CROSSING DRIVE                                                                             EVANSVILLE          IN 47725‐8008
SARVER, THELMA L         631 NW L ST                                                                                            RICHMOND            IN 47374‐1852
SARVER, THOMAS N         6161 THORNCLIFF DR                                                                                     SWARTZ CREEK        MI 48473‐8820
SARVER, THOMAS NEIL      6161 THORNCLIFF DR                                                                                     SWARTZ CREEK        MI 48473‐8820
SARVER, WANDA M          809 WINDWARD LN                                                                                        GAHANNA             OH 43230‐6833
SARVER, WILLIAM A        2049 KINGSTON ST                                                                                       WHITE LAKE          MI 48386‐1616
SARVER, WILLIAM B        224 POLONIA AVE                                                                                        AKRON               OH 44319‐3023
SARVESH S AGRAWAL        1339 E GUNN RD                                                                                         OAKLAND TWP         MI 48306
SARVEY RODNEY            SARVEY, RODNEY                      P.O. BOX 9609                                                      WINTER HAVENS       FL 33883
SARVEY, RODNEY           PO BOX 9609                                                                                            WINTER HAVEN        FL 33883‐9609
SARVIS JR, ELLSWORTH J   108 DORELL CT                                                                                          OVIEDO              FL 32765‐9477
SARVIS, DENNIS A         1724 MOORESVILLE PIKE                                                                                  CULLEOKA            TN 38451‐2729
SARVIS, ELIZABETH M      9322 SEASONS DR                                                                                        CHATTANOOGA         TN 37421‐5322
SARVIS, HARRIETT J       5606 MARBLE DR                      C/O BETTY SARVIS                                                   NEW PORT RICHEY     FL 34652‐6428
SARVIS, JOHN L           54 MILTON ST                                                                                           CLARK               PA 16113‐6113
SARVIS, JOHN L           PO BOX 526                                                                                             CLARK               PA 16113‐0526
SARVIS, JOSEPH W         417 RAIN LILY CV APT 117                                                                               CASSELBERRY         FL 32707
SARVIS, RICHARD X        608 HIGHLAND CT                                                                                        BIRMINGHAM          AL 35242‐0515
SARWAR KAZI              17 ARTHUR DR                                                                                           HOCKESSIN           DE 19707‐1012
SARWAR, MOHAMMAD K       4324 STILL MEADOW LN                                                                                   WEST BLOOMFIELD     MI 48323‐2846
SARWARSKI, CARL T        30622 BROWN ST                                                                                         GARDEN CITY         MI 48135‐1425
SARWAS, MICHAEL J        6940 OAK HILL RD                                                                                       CLARKSTON           MI 48348‐1204
SARWAS, WILLIAM M        276 WALES RIDGE RD                                                                                     WALES               MI 48027‐4007
SARY, MARVIN J           329 GREEN LN                                                                                           EWING               NJ 08638‐1717
SARY, MARYROSE           43827 PERIGNON DR                                                                                      STERLING HEIGHTS    MI 48314‐1930
SARY, ROSALIE E          329 GREEN LN                                                                                           EWING               NJ 08638‐1717
SARZYNIAK, CHARLES F     557 FAIRMONT AVE                                                                                       N TONAWANDA         NY 14120‐2940
SARZYNSKI, MARGARET R    25643 ANNAPOLIS ST                                                                                     DEARBORN HTS        MI 48125‐1503
SAS AUTOLIV ISODELTA     ZONE INDUSTRICLLC                                                              CHIRE EN MONTREUIL F‐
                                                                                                        86190 FRANCE
SAS EDWARD (491305)      BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD         OH 44067
                                                             PROFESSIONAL BLDG
SAS INSTIT/CARY          SAS CAMPUS DRIVE                                                                                       CARY               NC 27513
SAS INSTITUE, INC.       ATTN: CONTRACTS ADMINISTRATOR FOR   SAS CAMPUS DR.                                                     CARY               NC 27513
                         GENERAL MOTORS CORPORATION
SAS INSTITUTE INC
SAS INSTITUTE INC        SAS CAMPUS DR                                                                                          CARY               NC 27513
SAS INSTITUTE INC        PO BOX 406922                                                                                          ATLANTA            GA 30384‐6922
SAS INSTITUTE INC.       MATTHEW MCDONALD                    100 SAS CAMPUS DR                                                  CARY               NC 27513‐2414
SAS MOULIN               6 AVENUE DO L EGUILLETTE                                                       SAINT OUEN LAUMONE F‐
                                                                                                        95310 FRANCE
SAS MOULIN               AV DE L'AIGUILLETTE                 ET ZA DU VERT GALANT                       SAINT OUEN L'AUMONE
                                                                                                        95310 FRANCE
SAS RUBBER CO            474 NEWELL ST                                                                                          PAINESVILLE        OH   44077‐1254
SAS SUZUKI               MR. KIDO/TEKI‐DEPT.                 HAMAMATSU‐MISHI POB 1                                              WEDEMARK           W
SAS, DIANE S             5452 WINCHESTER WAY                                                                                    GLADWIN            MI   48624‐8511
SAS, STEVEN A            1588 FISH LAKE RD                                                                                      LAPEER             MI   48446‐8305
SASAKI, ANNA             1155 HICKORY HILL DR                                                                                   ROCHESTER HLS      MI   48309‐1706
SASAKI, DEREK R          224 MADISON ST                                                                                         BEDFORD            IN   47421
SASAKI, ERIC M           502 SUNBERRY CT                                                                                        BRENTWOOD          TN   37027‐2907
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Name                           Address1                         Address2                        Address3             Address4                City              State Zip
SASAKI, JAMES T                7901 SAINT CLAIR AVE                                                                                          NORTH HOLLYWOOD    CA 91605‐2315
SASAKI, LARIE                  513 MELINDA CT                                                                                                EL SOBRANTE        CA 94803‐1354
SASAKI, LARIE                  513 MELINDA COURT                                                                                             EL SOBRANTE        CA 94803‐1354
SASAKI, SABURO                 1155 HICKORY HILL DR                                                                                          ROCHESTER HILLS    MI 48309‐1706
SASALA RICHARD & BARBARA       3844 FOOTVILLE RICHMOND RD                                                                                    DORSET             OH 44032‐9641
SASALA, ANN                    335 BELVEDERE NE                                                                                              WARREN             OH 44483‐5442
SASALA, ANN                    335 BELVEDERE AVE NE                                                                                          WARREN             OH 44483‐5442
SASC INC
SASCHA BREZOVAC                STEINRITZWEG 20B                                                                      FRG ‐ 65396 WALLUF,
                                                                                                                     GERMANY
SASCHA CERVENY                 RATHAUSSTR. 26                                                                                                76275 ETTLINGEN
SASCHA CONEN                   IN DER RINGEBACH 17 B            54434 KENN                      GERMANY
SASCHA CONEN                   IN DER RINGBACH 17 B                                                                  54434 KENN GERMANY
SASCHA KLAPPSTEIN              RINGSTR. 9
SASCHA LESAAR                  KARL‐SIMROCK‐STR 3                                                                    40699 ERKRATH GERMANY
SASCO                          JOHN KERSHNER                    1227 N MARKET BLVD                                                           SACRAMENTO        CA    95834‐1907
SASE PERSAUD MD                PO BOX 6300                                                                                                   PROVIDENCE        RI    02940‐6300
SASEETHARRAN M                 APT 47                           1331 SOUTH WOLFE ROAD                                                        SUNNYVALE         CA    94087‐3622
SASEK, CHARLES J               1824 ARBOL VERDE WAY                                                                                          LAS VEGAS         NV    89119‐6079
SASEK, CHRISTINA A             13225 LAKE SHORE DRIVE                                                                                        FENTON            MI    48430‐1019
SASEK, CHRISTINA ANNE          13225 LAKE SHORE DRIVE                                                                                        FENTON            MI    48430‐1019
SASEK, MARK J                  13225 LAKE SHORE DRIVE                                                                                        FENTON            MI    48430‐1019
SASEK, MARK JOSEPH             13225 LAKE SHORE DRIVE                                                                                        FENTON            MI    48430‐1019
SASEK, RICHARD E               2797 VERONA CANEY RD                                                                                          LEWISBURG         TN    37091‐6410
SASENA, CHARLES E              6659 LAWNWOOD AVE                                                                                             PARMA HEIGHTS     OH    44130‐3614
SASENA, JAMES C                PO BOX 131                                                                                                    ROTHBURY          MI    49452‐0131
SASH, DAVID G                  32872 ANITA DR                                                                                                WESTLAND          MI    48185‐1576
SASH, DAVID GERARD             32872 ANITA DR                                                                                                WESTLAND          MI    48185‐1576
SASHA CESAROV                  4195 CLYDE RD                                                                                                 HOLLY             MI    48442‐9181
SASHA ETIENNE                  983 HUNTCLUB BLVD                                                                                             AUBURN HILLS      MI    48326‐3686
SASHFRAS, DAVE                 SHANNON LAW FIRM                 100 W GALLATIN ST                                                            HAZLEHURST        MS    39083‐3007
SASIELA, DIANE D               3838 DALE RD                                                                                                  SAGINAW           MI    48603‐3133
SASIELA, DORIS A               854 N PINE RD                                                                                                 ESSEXVILLE        MI    48732
SASINOWSKI, RAYMOND H          8945 MARGO DR                                                                                                 BRIGHTON          MI    48114‐8940
SASKATCHEWAN FINANCE           SASKATCHE                        REVENUE DIVISION                2350 ALBERT STREET   REGINA SK S4P 4A6
                                                                                                                     CANADA
SASKATCHEWAN PROPERTY          500 MCLEOD ST                                                                         REGINA SK S4P 3V7
MANAGEMENT CORPORATION                                                                                               CANADA
SASKATCHEWAN SCRAP TIRE CORP   P.O. BOX 1936                    1819 CORNWELL ST., SUITE 101D                        REGINA SK S4P 3E1
                                                                                                                     CANADA
SASKI GREENWAY                 1015 FARMHOUSE RD                                                                                             LASCASSAS         TN 37085‐4570
SASKIA MEILER                  TANNENRAIN 8                                                                          95131
                                                                                                                     SCHWARZENBACH/WALD
                                                                                                                     GERMANY
SASKIA TANGERMANN              21521 AUMUEHLE
SASNASKAS, JOSEPH P            1279 EDWARDS AVE                                                                                              LAKEWOOD          OH 44107‐2350
SASNETT HENRY A SR (429758)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                  NORFOLK           VA 23510
                                                                STREET, SUITE 600
SASNETT, HENRY A               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                  NORFOLK           VA 23510‐2212
                                                                STREET, SUITE 600
SASO, GIOVANNI                 2505 CLINTON ST                                                                                               RIVER GROVE        IL   60171‐1703
SASOWSKI, CHRISTOPHER
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Name                      Address1                        Address2               Address3      Address4               City             State Zip
SASS, AGNES B             9720 S COUNTY LINE RD                                                                       GAINES            MI 48436‐8801
SASS, AGNES B             9720 S. COUNTY LINE ROAD                                                                    GAINES            MI 48436‐8801
SASS, ARTHUR F            907 S 131ST ST                                                                              BONNER SPRINGS    KS 66012‐9607
SASS, CHRISTINA F         124 GLENWOOD RD                                                                             BEL AIR           MD 21014‐5533
SASS, CORNELL             3829 SOUTHWOOD DR. S.E.                                                                     WARREN            OH 44484‐2653
SASS, CRAIG A             3776 WOODMONTE DR                                                                           ROCHESTER         MI 48306‐4798
SASS, DAVID N             7459 NOTTINGHAM ST                                                                          LAMBERTVILLE      MI 48144‐9504
SASS, DAVID NORMAN        7459 NOTTINGHAM ST                                                                          LAMBERTVILLE      MI 48144‐9504
SASS, EARL H              5447 RAVENSWOOD RD                                                                          KIMBALL           MI 48074‐3214
SASS, GRACE T             164 MEADOW CIR                                                                              ELLENTON          FL 34222‐4235
SASS, JANICE M            16010 RUSSELL AVE                                                                           ALLEN PARK        MI 48101‐2726
SASS, JERRY D             213 CEDAR DR                                                                                WEST MILTON       OH 45383‐1210
SASS, JOANN M             5447 RAVENSWOOD RD                                                                          KIMBALL           MI 48074‐3214
SASS, KAREN A             4624 DUBOIS BLVD                                                                            BROOKFIELD         IL 60513‐2228
SASS, KATHERINE S         906 LYNITA DR NE                                                                            BROOKFIELD        OH 44403‐9652
SASS, LEONARD A           2978 CLOVERBANK RD                                                                          HAMBURG           NY 14075‐3432
SASS, LOU E               8397 LAMBERT ST                                                                             LAMBERTVILLE      MI 48144‐9754
SASS, LYNETTE             16455 W STATE RD 81                                                                         BRODHEAD          WI 53520‐8973
SASS, M                   142 CLINTON AVE                                                                             KINGSTON          NY 12401‐4922
SASS, MILDRED M           11411 83RD ST                                                                               BURR RIDGE         IL 60527
SASS, PAUL B              5535 MEADOW DR                                                                              HAMBURG           NY 14075‐6935
SASS, ROBERT              RR 1 BOX 302                                                                                EWING             VA 24248‐9740
SASS, ROBERT E            5033 N TOWER BEACH RD                                                                       PINCONNING        MI 48650‐9716
SASS, SHIRLEY J           P O BOX 1295                                                                                CLIFTON           AZ 85533
SASS, SYLVIA B            37324 TROPICAL DR                                                                           ZEPHYRHILLS       FL 33541
SASSA, JOEL L             551 DE LASALLE AVE                                                                          NAPERVILLE         IL 60565‐4360
SASSA, JOSEPH L           11896 SURFBIRD CIR                                                                          JACKSONVILLE      FL 32256‐9635
SASSACK, ROBERT S         8081 PEPPERWOOD DRIVE                                                                       GRAND BLANC       MI 48439‐2406
SASSAMAN, STEVEN L        APT C                           4551 WILMINGTON PIKE                                        DAYTON            OH 45440‐1966
SASSANELLI, WILLIAM D     261 S FRANKLIN ST                                                                           DEARBORN          MI 48124‐1353
SASSANO, JOHN             178 LAMOKA AVE                                                                              STATEN ISLAND     NY 10308‐2234
SASSANO, MICHAEL P        436 HAZEL ST                                                                                GIRARD            OH 44420‐2217
SASSANO, RONALD L         474 WENDEMERE DR                                                                            HUBBARD           OH 44425‐2663
SASSE JIM                 6887 STATE HIGHWAY 27                                                                       GORDON            NE 69343‐4840
SASSE WOLFGANG            IM WINDWINKEL 1                                                      53773 HENNEF GERMANY
SASSE, WAYNE F            12691 GRATIOT RD                                                                            SAGINAW          MI   48609‐9656
SASSEEN, BARBARA J        1308 HEMMINGWAY CIR                                                                         JONESBORO        AR   72401‐5580
SASSEEN, DONALD L         3794 OAK GROVE RD                                                                           NORTH BRANCH     MI   48461‐8233
SASSEEN, JOHNNIE L        415 S GRIFFIN ST                                                                            DANVILLE         IL   61834‐7001
SASSEEN, KATHLEEN A       3794 OAK GROVE RD                                                                           NORTH BRANCH     MI   48461‐8233
SASSEEN, MICHAEL D        156 PLEASANT ST                                                                             ROMEO            MI   48065‐5141
SASSEEN, MICHAEL DENNIS   156 PLEASANT ST                                                                             ROMEO            MI   48065‐5141
SASSEN, DONNA P           12311 S SUNRISE MIST LOOP                                                                   NAMPA            ID   83686
SASSER DOUGLAS (479704)   SIMMONS FIRM                    PO BOX 521                                                  EAST ALTON       IL   62024‐0519
SASSER, BERLE M           10450 6 MILE RD LOT 219                                                                     BATTLE CREEK     MI   49014‐9550
SASSER, BETTY S           201 DONNA CIR                                                                               RICHLAND         MS   39218‐4403
SASSER, BETTY S           201 DONNA CIRCLE                                                                            RICHLAND         MS   39218‐4403
SASSER, CATHERINE N       263 CHAPMAN WAY                                                                             MANSFIELD        OH   44904
SASSER, DEBORAH J         20910 MADA AVE                                                                              SOUTHFIELD       MI   48075‐3845
SASSER, DOUGLAS           SIMMONS FIRM                    PO BOX 521                                                  EAST ALTON       IL   62024‐0519
SASSER, GELORIAS W        8500 E DAWN CT                                                                              INVERNESS        FL   34450‐6949
SASSER, JAMES P           1339 N CASS LAKE RD                                                                         WATERFORD        MI   48328‐1317
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Name                         Address1                           Address2                      Address3        Address4         City               State Zip
SASSER, JUSTIN DOUGLAS       9085 HUTCHINS ST                                                                                  WHITE LAKE          MI 48386‐3332
SASSER, LOWELL D             9142 HUTCHINS ST                                                                                  WHITE LAKE          MI 48386‐3333
SASSER, MADELINE             PO BOX 1595                                                                                       PRYOR               OK 74362‐1595
SASSER, MADELINE             306 SE 12TH ST                                                                                    PRYOR               OK 74361‐7412
SASSER, MELBA B              14400 HIGHWAY 315                                                                                 CATAULA             GA 31804
SASSER, RAVILLE D            1488 BLACKWATER RD                                                                                LONDON              KY 40744‐7469
SASSER, RAYBOURN D           10391 GALE RD                                                                                     GOODRICH            MI 48438‐9046
SASSER, RICHARD I            12130 BUTTONWOOD LN                                                                               BALTIMORE           MD 21220‐1539
SASSER, SHARON K             9085 HUTCHINS ST                                                                                  WHITE LAKE          MI 48386‐3332
SASSER, SHARON KAY           9085 HUTCHINS ST                                                                                  WHITE LAKE          MI 48386‐3332
SASSER, WAYNE D              17 EDEN PARK DR                                                                                   DEARBORN HEIGHTS    MI 48127‐1997
SASSI CLAUDIO                VIA CANALAZZO 11/I                 42023 CASALGRANDE             REGGIO EMILIA   ITALIA           REGGIO EMILIA       ID 42023
SASSI CLAUDIO                VIA CANALAZZO 11/I                 42013 CASALGRANDE             REGGIO EMILIA   ITALY
SASSI, ELIZABETH B           769 COTTONWOOD DR                                                                                 MONROVILLE         PA   15146‐1103
SASSIAN, MICHAEL J           7 MARICREST DR                                                                                    AMHERST            NY   14228‐3042
SASSO JR, ANTHONY D          13115 ALPINE DRIVE, #208                                                                          POWAY              CA   92064
SASSO, BARTHLO R             PO BOX 8962                                                                                       SEBRING            FL   33872
SASSO, DAVID L               2041 FOX FIELD CIR                                                                                WALL TOWNSHIP      NJ   07719
SASSO, EUGENE
SASSO, LEONARD J             26 AMBER PLACE                     APT #2                                                         ROCHESTER          NY   14608‐1309
SASSO, LEONARD J             26 AMBER PL APT 2                                                                                 ROCHESTER          NY   14608‐1309
SASSO, PHILLIP M             1984 CAMILLE DR SE                                                                                GRAND RAPIDS       MI   49546‐4309
SASSO, VIRGINA E             1984 CAMILLE DR SE                                                                                GRAND RAPIDS       MI   49546‐4309
SASSON, GABRIEL I            200 E 94TH ST APT 222                                                                             NEW YORK           NY   10128‐3904
SASSONE, JOSEPH F            342 ARGYLE AVE                                                                                    YOUNGSTOWN         OH   44512‐2320
SASSU, RICHARD J             208 LONG WHARF DR                                                                                 MYSTIC             CT   06355‐3137
SASSYA LEBY H                1463 STANLEY ST                                                                                   GIRARD             OH   44420‐1352
SASTRY HANASOGE              7380 STONEDALE DRIVE                                                                              PLEASANTON         CA   94588‐3735
SASTRY, RAVI S               46488 GLENGARRY BLVD                                                                              CANTON             MI   48188‐3045
SASTRY, RAVI S               21769 LADYSLIPPER SQ                                                                              ASHBURN            VA   20147‐6952
SASWATI DATTA                1395 LEXINGTON AVE                 APT G‐10                                                       NEW YORK           NY   10128
SASYN, JOHN J                822 92ND ST                                                                                       NIAGARA FALLS      NY   14304‐3564
SATA SPRAY EQUIPMENT         HWY 16 & 63                                                                                       SPRING VALLEY      MN   55975
SATA SPRAY/SPRING VA         1 SATA DR                          P.O. BOX 46                                                    SPRING VALLEY      MN   55975‐8566
SATA, BHALCHANDRA            409 ROSEMARY ST                                                                                   DEARBORN HEIGHTS   MI   48127‐3681
SATAL, NORMA J               8201 3RD ST.                       P.O. BOX 431                                                   ONEKAMA            MI   49675‐9718
SATALINO ELIZABETH           16 MADISON ST                                                                                     NEW BRITAIN        CT   06051‐3300
SATALOFF JOSEPH MD           1721 PINE ST                                                                                      PHILADELPHIA       PA   19103‐6701
SATARA, ANGELINA             544 JONATHAN WAY                                                                                  UNION CITY         CA   94587‐1416
SATAVA, ANN MAY              14555 HICKOX STREET                PO BOX 1077                                                    BURTON             OH   44021
SATAWA, JAMES A              539 N BROADWAY ST                                                                                 LAKE ORION         MI   48362‐3119
SATAWA, RICHARD              855 MULBERRY RD                                                                                   VALLEY COTTAGE     NY   10989‐2325
SATAWA, ROBERT E             2185 SIBONEY CT                                                                                   ROCHESTER HLS      MI   48309‐3748
SATBIR SINGH                 2915 DORCHESTER DR APT 203                                                                        TROY               MI   48084‐8311
SATCH WORKS, INC.            PO BOX 1435                                                                                       PORT HADLOCK       WA   98339‐1435
SATCH WORKS, INC.            670 NESS CORNER RD                                                                                PORT HADLOCK       WA   98339‐9410
SATCH'S PLACE                ATTN: SHARON SAVAGE                137 CESAR E CHAVEZ AVE                                         PONTIAC            MI   48342‐2046
SATCHEL, LARRY               3525 E PIERCE ST                                                                                  PHOENIX            AZ   85008
SATCHEL, WILLIAM JR
SATCHELL ROBERT H (467061)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                STREET, SUITE 600
SATCHELL, CHARLES W          1330 RIVER RD                                                                                     MARYSVILLE         MI 48040‐1543
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Name                                Address1                            Address2                        Address3                Address4             City                  State Zip
SATCHELL, DAVID D                   4700 E WILKINSON RD                                                                                              OWOSSO                 MI 48867‐9616
SATCHELL, MATTHEW R                 1018 MEADOWCREST DR                                                                                              WATERFORD              MI 48327‐2936
SATCHELL, ROBERT E                  6020 WINSLET DR                                                                                                  CHOCTAW                OK 73020‐5549
SATCHELL, ROBERT H                  GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                  NORFOLK                VA 23510‐2212
                                                                        STREET, SUITE 600
SATCHER WALTER (492149)             BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                                NORTHFIELD            OH 44067
                                                                        PROFESSIONAL BLDG
SATCHER, ANTHONY                    10125 SOMERSET AVENUE                                                                                            DETROIT               MI 48224‐2565
SATCHER, CHARLOTTE R                613 N PARKER TER                                                                                                 OLATHE                KS 66061‐2465
SATCHER, WALTER                     BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                                 NORTHFIELD            OH 44067
                                                                        PROFESSIONAL BLDG
SATCHWILL, RYAN J                    1600 GREEN ACRE DR                                                                                              HUNTINGTON            IN   46750‐1427
SATEJ, TONY L                        734 CORALBERRY LN                                                                                               MADISON               OH   44057‐3173
SATEK III, WILLIAM J                 10248 W 151ST ST                                                                                                ORLAND PARK           IL   60462‐3060
SATEK JR, WILLIAM A                  5419 S PINE ST                                                                                                  BEAVERTON             MI   48612‐8582
SATEK JR, WILLIAM J                  223 BEAVER AVE                                                                                                  ALIQUIPPA             PA   15001‐2443
SATEK, LEONA M                       223 BEAVER AVE                                                                                                  ALIQUIPPA             PA   15001‐2443
SATELLITE LTD                        C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT           2 RAFFLES LINK MARINA   SINGAPORE 039392
                                     LIMITED                                                            BAYFRONT
SATELLITE RADIOS DIRECT              5703 ENTERPRISE PKWY                                                                                            EAST SYRACUSE         NY 13057‐2905
SATELLITE RECEIVERS CASH DEPOT       29370 PLYMOUTH RD                                                                                               LIVONIA               MI 48150‐2399
SATELLITE SPECIALIZED TRANSPORTATION 63211 SERVICE RD                                                                                                BEND                  OR 97701‐8681
INC
SATELLITE TRACKING SYS INC           2160 S ORTONVILLE RD                                                                                            ORTONVILLE            MI   48462‐8548
SATELLITE TRACKING SYSTEMS INC       1667 M15 HWY                                                                                                    ORTONVILLE            MI   48462
SATELLITE TRACKING SYSTEMS INC       2160 S M‐15 HWY                                                                                                 ORTONVILLE            MI   48462
SATEM BUSMEZ                         C/O GUILLEX NEO ARMENTINES           C‐E 902                       PO BOX 25273                                 MIAMI                 FL   33102
SATENDRA GURU                        1810 BIG BEAR DR                                                                                                OWOSSO                MI   48867‐9159
SATER BRENDA                         SATER, BRENDA                        7906 E. STATE RD 59                                                        MILTON                WI   53563
SATER JR, HAROLD H                   920 EDGEFIELD DR                                                                                                SHREVEPORT            LA   71118‐3445
SATER, BRENDA                        7906 E STATE ROAD 59                                                                                            MILTON                WI   53563‐9729
SATER, CHARLES L                     4433 W GIFFORD RD                                                                                               BLOOMINGTON           IN   47403‐9262
SATER, DARWIN M                      4401 ETHEL AVE                                                                                                  HAMPSTEAD             MD   21074‐2110
SATER, MICHAEL K                     2105 MOONLIGHT DR                                                                                               HAMPSTEAD             MD   21074‐2544
SATER, SOBHI A                       1746 STRICKLAND DR                                                                                              BLOOMFIELD HILLS      MI   48302‐2553
SATERFIELD, ERIC D                   1739 LOHR RD                                                                                                    MANSFIELD             OH   44903‐9439
SATERFIELD, JOHN C                   1857 RED OAK DR                                                                                                 MANSFIELD             OH   44904‐1708
SATHER, DENISE L                     1702 CEDAR GR0VE DR APT 2D                                                                                      MANITOWOC             WI   54220
SATHER, DENNIS D                     10295 E POTTER RD                                                                                               DAVISON               MI   48423‐8110
SATHER, KENNETH F                    PO BOX 314                                                                                                      SAINT REGIS FALLS     NY   12980‐0314
SATHER, MARY B                       1732 COACHMANS CT                                                                                               BRENTWOOD             TN   37027‐8120
SATHER, MARY K                       PO BOX 3772                          43 SANDIA ST                                                               MORIARTY              NM   87035‐3772
SATHER, MARY K                       PO BOX 3772                                                                                                     MORIARTY              NM   87035‐3772
SATHER, RAYMOND B                    2525 COLE RD                                                                                                    LAKE ORION            MI   48362‐2115
SATHER, ROBERT D                     565 SPARKS BLVD APT BS877                                                                                       SPARKS                NV   89434‐8942
SATHER, SHANNON                      32 GALLO ROAD                                                                                                   MORIARTY              NM   87035‐5494
SATHER, TRISHA J                     2041 STONEBRIDGE WAY                                                                                            CANTON                MI   48188‐3278
SATHRASALA, SURESH B                 1686 MCLAINE ST                                                                                                 CANTON                MI   48188‐8024
SATHRE, LAWRENCE W                   4482 ASPEN LAKE DR STE 104                                                                                      BRUNSWICK             OH   44212‐4542
SATHRE, MICHAEL W                    PO BOX 261409                                                                                                   PLANO                 TX   75026‐1409
SATHRE, VICKI L                      3117 MOUNT ZION AVE                                                                                             JANESVILLE            WI   53546‐1619
SATHYADEV, DEV P                     828 BLAIRMOOR CT                                                                                                GROSSE POINTE WOODS   MI   48236‐1243
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Name                         Address1                         Address2          Address3         Address4         City               State Zip
SATIMO LLC                   2105 BARRETT PARK DR NW STE 10                                                       KENNESAW            GA 30144
SATIN AMERICAN CORPORATION   40 OLIVER TER                                                                        SHELTON             CT 06484‐5336
SATINA L PAVIA               131 DESANDER DR                                                                      LANSING             MI 48906‐2320
SATINA L PAVIA               131 D SANDER DR                                                                      LANSING             MI 48906
SATINA PAVIA                 131 DESANDER DR                                                                      LANSING             MI 48906‐2320
SATIRA KITCHEN               123 N MERRIMAC ST                                                                    PONTIAC             MI 48340‐2533
SATISH BALI                  2743 BLOOMFIELD XING                                                                 BLOOMFIELD HILLS    MI 48304‐1712
SATISH JAGADEESAN            45266 BARTLETT DR                                                                    NOVI                MI 48377‐2568
SATISH KUMAR                 48 LEE FARM DRIVE                                                                    NIANTIC             CT 06357‐2046
SATISH NAGRIK                711 TANVIEW DR                                                                       OXFORD              MI 48371‐4767
SATISH RAJAGOPALAN           9731 DAWN CHASE WAY                                                                  KNOXVILLE           TN 37931‐4274
SATISH RAYARAPU              45404 CYPRESS CT                                                                     CANTON              MI 48188‐1091
SATISH SUNDARAM              5322 POND BLUFF DR                                                                   WEST BLOOMFIELD     MI 48323‐2444
SATISHH KHANZODE             8282 WOODWARD AVE                                                                    DETROIT             MI 48202‐2532
SATKIEWICZ, MADALINE         54364 KATHERINE WOOD DR                                                              MACOMB              MI 48042‐2317
SATKOWIAK & SONS             1218 W COTTAGE GROVE RD                                                              LINWOOD             MI 48634‐9810
SATKOWIAK L M & SONS         305 N 11 MILE RD                                                                     LINWOOD             MI 48634‐9821
SATKOWIAK, ALLAN R           125 CORD PL                                                                          AUBURN              IN 46706‐3002
SATKOWIAK, ALLAN RAY         125 CORD PL                                                                          AUBURN              IN 46706‐3002
SATKOWIAK, BARBARA J         114 E MURPHY ST                                                                      BAY CITY            MI 48706‐3848
SATKOWIAK, BARBARA J         114 MURPHY                                                                           BAY CITY            MI 48706‐3848
SATKOWIAK, BERNARD B         7930 F41                                                                             OSCODA              MI 48750
SATKOWIAK, BERNARD P         2107 MACKINAW DR                                                                     DAVISON             MI 48423‐2357
SATKOWIAK, CECILIA           1685 WETTERS RD                                                                      KAWKAWLIN           MI 48631‐9457
SATKOWIAK, DANIEL B          6645 MACKINAW RD                                                                     SAGINAW             MI 48604‐9773
SATKOWIAK, DEBRA K           1200 N MADISON AVE APT 618                                                           BAY CITY            MI 48708‐5983
SATKOWIAK, DONALD V          1462 WYATT RD                                                                        STANDISH            MI 48658
SATKOWIAK, JASON ALLAN       2024 WINDING CREEK LN                                                                FORT WAYNE          IN 45804‐5261
SATKOWIAK, JUDITH            514 HESS AVE                                                                         SAGINAW             MI 48601‐3702
SATKOWIAK, KENNETH J         1301 S TRUMBULL ST                                                                   BAY CITY            MI 48708‐7660
SATKOWIAK, KENNETH JEROME    1301 S TRUMBULL ST                                                                   BAY CITY            MI 48708‐7660
SATKOWIAK, LAWRENCE M        1218 W COTTAGE GROVE RD                                                              LINWOOD             MI 48634‐9810
SATKOWIAK, MARK S            3090 1/2 N EUCLID AVE                                                                BAY CITY            MI 48706‐1310
SATKOWIAK, MARY A            169 PHEASANT CT                                                                      GRAND BLANC         MI 48439‐8191
SATKOWIAK, MITTY M           11 LYDIA HAUN RD                                                                     WILLIAMSBURG        KY 40769‐9463
SATKOWIAK, RAYMOND R         1685 WETTERS RD                                                                      KAWKAWLIN           MI 48631‐9457
SATKOWIAK, RICHARD J         740 N LAKEVIEW DR                                                                    HALE                MI 48739‐9157
SATKOWIAK, RONALD J          13679 MARION RD                                                                      CHESANING           MI 48616‐8507
SATKOWIAK, RUTH O            4470 LONGMEADOW                                                                      SAGINAW             MI 48603‐1025
SATKOWIAK, SCOTT M           23730 EASTERLING AVE                                                                 HAZEL PARK          MI 48030‐1435
SATKOWIAK, SCOTT MICHAEL     23730 EASTERLING AVE                                                                 HAZEL PARK          MI 48030‐1435
SATKOWIAK, STANLEY M         2924 IMPERIAL DR                                                                     BAY CITY            MI 48706‐3112
SATKOWIAK, TAMMY A           6645 MACKINAW RD                                                                     SAGINAW             MI 48604‐9773
SATKOWIAK, TERRY E           5139 TITTABAWASSEE RD#56                                                             STERLING            MI 48659
SATKOWIAK, THOMAS S          5727 2 MILE RD                                                                       BAY CITY            MI 48706‐3125
SATKOWIAK, WILLIAM J         325 S BRENNAN RD                                                                     HEMLOCK             MI 48626
SATKOWSKI, RICHARD J         10956 BLAIR RD                                                                       MEDINA              NY 14103‐9591
SATKOWSKI, RUTH K.           1640 W ERIE RD                                                                       TEMPERANCE          MI 48182‐9672
SATKOWSKI, RUTH K.           1640 W ERIE ROAD                                                                     TEMPERANCE          MI 48182‐9672
SATMARY, EDNA M              332 FORT ST                                                                          NELSONVILLE         OH 45764‐1074
SATMARY, MARK A              55038 RIVER RD                                                                       THREE RIVERS        MI 49093
SATNAM BAL                   7183 TONNELLE AVE                                                                    SHELBY TOWNSHIP     MI 48317‐2384
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Name                                Address1                             Address2                         Address3   Address4             City              State Zip
SATNESS, HARRY R                    1861 SUN VALLEY DR                                                                                    BELOIT             WI 53511‐3264
SATO, BAUDISTA                      5963 HAAG RD                                                                                          LANSING            MI 48911‐4746
SATO, YUKIO                         2525 DATE ST APT 3301                                                                                 HONOLULU           HI 96826‐5425
SATOLA, CHESTER J                   2655 KELLOGG RD                                                                                       HINCKLEY           OH 44233‐9785
SATOLA, DENNIS M                    276 SPRING CREEK RD                                                                                   SAGAMORE HLS       OH 44067‐2034
SATOLLI, THELMA M                   384 GENESEE AVE NE                                                                                    WARREN             OH 44483‐5406
SATONIA MORRIS                      2444 ELLSWORTH RD APT 202                                                                             YPSILANTI          MI 48197‐4830
SATORI'S AUTO LLC.                  1620 N 30TH ST                                                                                        MANITOWOC          WI 54220‐1639
SATORY, VIRGINIA L                  12553 PROVIDENCE PIKE                                                                                 BROOKVILLE         OH 45309‐9371
SATOSKAR, SURENDRA S                5818 OGILBY DR                                                                                        HUDSON             OH 44236‐3958
SATRAC INC.                         430 SANDAU RD                                                                                         SAN ANTONIO        TX 78216‐3621
SATRAS, MIKE S                      10862 MACMURRAY ST                                                                                    ANAHEIM            CA 92804‐6213
SATRE, IRMGARD I                    1615 N SPRING RD UNIT 10                                                                              HARRISON           AR 72601‐9431
SATRIANO NICHOLAS                   3344 CERRITO CT                                                                                       NAPLES             FL 34109‐1369
SATRIANO, ROBERT J                  16734 88TH CT                                                                                         ORLAND HILLS        IL 60487‐6006
SATROTEC AG                         HONEYWELL PLATZ 1                                                                DIELSDORF CH 8157
                                                                                                                     SWITZERLAND
SATRYANO DANIEL                     34 BYRON DR                                                                                           SMITHSBURG        MD    21783‐1565
SATTARIPOUR, MASOUD                 PO BOX 80044                                                                                          ROCHESTER         MI    48308‐0044
SATTAZAHN, HAROLD F                 4819 THURLBY RD                                                                                       MASON             MI    48854‐9773
SATTAZAHN, JOHN D                   4368 BYRUM RD                                                                                         ONONDAGA          MI    49264‐9716
SATTAZAHN, MARK                     4336 BYRUM RD                                                                                         ONONDAGA          MI    49264‐9716
SATTELBERG JR, WALTER C             9767 PEARSON RD                                                                                       MIDDLEPORT        NY    14105‐9706
SATTELBERG, ARNOLD C                1060 W DARBEE RD                                                                                      CARO              MI    48723‐9770
SATTELBERG, DOUGLAS L               1462 KINGSTON AVE                                                                                     N TONAWANDA       NY    14120‐2011
SATTELBERG, LENA                    6 FORBES TER                                                                                          NORTH TONAWANDA   NY    14120‐1832
SATTELBERG, LENA                    #6 FORBES TERRACE                                                                                     NO TONAWANDA      NY    14120‐1832
SATTELBERG, RANDY W                 7318 GRAYDON DR                                                                                       N TONAWANDA       NY    14120‐1493
SATTER, ALBERTA J                   1040 ARROYO RD                                                                                        GREENWOOD         IN    46143‐2650
SATTER, CANDICE L                   1814 S CROSBY AVE                                                                                     JANESVILLE        WI    53546
SATTER, ELMER                       12909 BRUSHY PINE PL                                                                                  TAMPA             FL    33624
SATTER, MARJORIE                    THE WATERFORD                        1460 CORYDALE DR                                                 FAIRFIELD         OH    45014‐5014
SATTER, ROXANNE M                   2615 KELLOGG AVE                                                                                      JANESVILLE        WI    53546‐5604
SATTERELLI, CHARLES N               8325 MOUNT JOY RD                                                                                     MT PLEASANT       TN    38474‐3212
SATTERFEAL, DONNA B                 12640 HOLLY RD #A‐304                                                                                 GRAND BLANC       MI    48439‐1859
SATTERFIELD & HARMON                313 E 10TH AVE                                                                                        BOWLING GREEN     KY    42101‐2109
SATTERFIELD DEWEY JR (447507)       BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD        OH    44067
                                                                         PROFESSIONAL BLDG
SATTERFIELD JAMES III (ESTATE OF)   GOLDENBERG, MILLER, HELLER &         PO BOX 959                                                       EDWARDSVILLE       IL   62025‐0959
(655209)                            ANTOGNOLI
SATTERFIELD JR, TONNIE C            6250 SILVER SPUR DR                                                                                   LITHONIA          GA 30058‐6130
SATTERFIELD MARY                    PO BOX 340                                                                                            ZIRCONIA          NC 28790‐0340
SATTERFIELD WILLIAM (447509)        BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD        OH 44067
                                                                          PROFESSIONAL BLDG
SATTERFIELD, ARNOLD CALVIN          GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                    PITTSBURGH         PA 15219

SATTERFIELD, DALE M                 305 N NORTON ST                                                                                       MARION            IN    46952‐3222
SATTERFIELD, ERNEST A               4507 E RED BRIDGE RD                                                                                  KANSAS CITY       MO    64137‐2045
SATTERFIELD, GEORGE                 2048 E HURD RD                                                                                        MONROE            MI    48162‐9353
SATTERFIELD, GEORGE H               615 PINEY WOODS DR                                                                                    LAGRANGE          GA    30240‐2015
SATTERFIELD, GWENDOLYN M            2873 MARIGOLD DR                                                                                      DAYTON            OH    45449‐3235
SATTERFIELD, HARVEY L               P 0 B0X 438                                                                                           BALL GROUND       GA    30107
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Name                                   Address1                             Address2                       Address3                  Address4         City               State Zip
SATTERFIELD, HENRY K                   11421 BELLS FERRY RD                                                                                           CANTON              GA 30114‐4154
SATTERFIELD, HORACE                    295 CORPORATE BLVD APT 204                                                                                     NORFOLK             VA 23502‐4950
SATTERFIELD, JACKIE R                  4851 BABYLON ST                                                                                                DAYTON              OH 45439‐2905
SATTERFIELD, JAMES                     GOLDENBERG, MILLER, HELLER &         PO BOX 959                                                                EDWARDSVILLE         IL 62025‐0959
                                       ANTOGNOLI
SATTERFIELD, JAMES R                   127 E MAIN ST                                                                                                  W CARROLLTON       OH   45449‐1415
SATTERFIELD, JAMES W                   1700 HIGHLAND WAY APT C                                                                                        BOWLING GREEN      KY   42104‐1009
SATTERFIELD, JAMES W                   910 THELMA AVE                                                                                                 MIAMISBURG         OH   45342‐3851
SATTERFIELD, JIMMY V                   1355 COUNTY LINE RD                                                                                            CUMMING            GA   30040‐5405
SATTERFIELD, JOHN                      320 BLUE MOUNTAIN LK                 C/O LUCILLE SATTERFIELD                                                   EAST STROUDSBURG   PA   18301‐8676
SATTERFIELD, JOLIE                     34846 US HIGHWAY 411                                                                                           ASHVILLE           AL   35953
SATTERFIELD, LARRY C                   715 BERRYMANS LN                                                                                               REISTERSTOWN       MD   21136‐6006
SATTERFIELD, LARRY D                   1221 S N ST                                                                                                    ELWOOD             IN   46036‐2711
SATTERFIELD, LOIS                      2026 MCKINLEY AVE                                                                                              YPSILANTI          MI   48197‐4489
SATTERFIELD, LOIS                      2026 MCKINLEY                                                                                                  YPSILANTI          MI   48197‐4489
SATTERFIELD, MARGIE F.                 5337 OVERBROOK RD                                                                                              TUSCALOOSA         AL   35405‐5792
SATTERFIELD, MARK W                    5056 WEATHERSTONE DR                                                                                           BUFORD             GA   30519‐1986
SATTERFIELD, RAY H                     13520 S BAUER RD                                                                                               EAGLE              MI   48822‐9717
SATTERFIELD, SANDRA L                  5701 W PORT DR                                                                                                 MC CORDSVILLE      IN   46055‐9341
SATTERFIELD, TERRY G                   7205 TRUVER LN                                                                                                 ARLINGTON          TX   76001‐6766
SATTERFIELD, THOMAS W                  181 N YORKSHIRE BLVD                                                                                           YOUNGSTOWN         OH   44515‐2851
SATTERFIELD, WILLIAM                   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD, BEVAN                                              NORTHFIELD         OH   44067
                                                                            PROFESSIONAL BLDG
SATTERFIELD, WILLIE E                  2925 SHELLY DR SW                                                                                              ATLANTA            GA 30311‐2037
SATTERFIELDS' AUTO TECH SERVICE        1946 CENTRAL PKWY SW                                                                                           DECATUR            AL 35601‐6817
SATTERLA, EMMETT J                     PO BOX 630                                                                                                     WHITMORE LAKE      MI 48189‐0630
SATTERLEE PRP GROUP
SATTERLEE STEPHENS BURKE & BURKE LLP   ATTY FOR MOODY'S INVESTORS SERVICE   ATT: CHRISTOPHER BELMONTE &    230 PARK AVENUE                            NEW YORK           NY 10169
                                                                            PAMELA BOSSWICK, ESQS
SATTERLEE SUMPTER                      ADMINISTRATIVE FUND                  400 RENAISSANCE CTR            DAVID TRIPP DYKEMA                         DETROIT            MI 48243‐1607
                                                                                                           GOSSETT
SATTERLEE, ALAN M                      1247 E STATE RD                                                                                                LANSING            MI   48906‐5601
SATTERLEE, BRENT G                     7975 E SPICERVILLE HWY                                                                                         EATON RAPIDS       MI   48827‐8059
SATTERLEE, LOWELL W                    6131 TIMBERSTONE WAY                                                                                           CLARKSTON          MI   48346‐3191
SATTERLEE, ROBERT A                    6674 NEW RD                                                                                                    AUSTINTOWN         OH   44515‐5533
SATTERLEE, SUE A                       225 PRAIRIE ST                                                                                                 CHARLOTTE          MI   48813‐1611
SATTERLEY, DAVID                       17247 ELWELL RD                                                                                                BELLEVILLE         MI   48111‐4479
SATTERLEY, ORVILLE A                   118 ROBIN HOOD LN                                                                                              BEDFORD            IN   47421‐6416
SATTERLUND SUPPLY CO                   26277 SHERWOOD AVE                                                                                             WARREN             MI   48091‐4167
SATTERLUND SUPPLY COMPANY              26277 SHERWOOD AVE                                                                                             WARREN             MI   48091‐4167
SATTERLUND SUPPLY COMPANY              J CHRISTOPHER CALDWELL ESQUIRE       STARK REAGAN                   1111 W LONG LAKE RD STE                    TROY               MI   48098‐6310
                                                                                                           202
SATTERLUND SUPPLY COMPANY              ATTN: CORPORATE OFFICER/AUTHORIZED   26277 SHERWOOD AVE                                                        WARREN              MI 48091‐4167
                                       AGENT
SATTERLUND, LAWRENCE E                 1479 MILLER RD                                                                                                 LAKE ORION         MI   48362‐3733
SATTERLY, JANET M                      709 TREEVIEW CIR                                                                                               AVON               IN   46123‐7551
SATTERLY, JILL                         4427 FIELD RD                                                                                                  CLIO               MI   48420‐1183
SATTERLY, KARREN D                     PO BOX 304                                                                                                     WHITE PLAINS       NY   10602‐0304
SATTERLY, LEONARD D                    4523 N CLINTON TRL                                                                                             CHARLOTTE          MI   48813‐7619
SATTERMAN, MARILYN I                   6 SEALEY AVE APT 6H                                                                                            HEMPSTEAD          NY   11550‐1231
SATTERTHWAITE GEORGE JR (183557)       WYSOKER GLASSNER & WEINGARTNER       340 GEORGE ST                                                             NEW BRUNSWICK      NJ   08901‐2011
SATTERTHWAITE JR, GEORGE               39 WEST AVE                                                                                                    OLD BRIDGE         NJ   08857‐3823
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Name                         Address1                         Address2                          Address3   Address4         City              State Zip
SATTERTHWAITE, DUANE R       1250 DUTTON RD                                                                                 ROCHESTER HILLS    MI 48306‐2427
SATTERTHWAITE, GEORGE        WYSOKER GLASSNER & WEINGARTNER   340 GEORGE ST                                                 NEW BRUNSWICK      NJ 08901‐2011
SATTERTHWAITE, HERBERT R     3011 S 600 W                                                                                   HUNTINGTON         IN 46750‐9131
SATTERTHWAITE, PHILIP G      338 SEABREEZE BLVD                                                                             WILMINGTON         IN 28409
SATTERTHWAITE, REED C        4657 SERENITY LN                                                                               IDAHO FALLS        ID 83406‐8008
SATTERTHWAITE, RICHARD A     24 FERRIS ST                                                                                   SOUTH RIVER        NJ 08882‐1823
SATTERTHWAITE, SHIRLEY A     1475 STEPNEY ST                                                                                NILES              OH 44446‐3735
SATTERWHITE, DAVID A         1258 S ELMS RD                                                                                 FLINT              MI 48532‐5344
SATTERWHITE, DOUGLAS RAY     SHANNON LAW FIRM                 100 W GALLATIN ST                                             HAZLEHURST         MS 39083‐3007
SATTERWHITE, EDWIN           22315 LASEINE                    APT 218                                                       SOUTH FIELD        MI 48075
SATTERWHITE, EDWIN           22315 LA SEINE ST APT 218                                                                      SOUTHFIELD         MI 48075‐4042
SATTERWHITE, GEORGE A        3633 HOWARD DR APT 117                                                                         COLLEGE PARK       GA 30337‐2940
SATTERWHITE, MICHAEL L       20476 ANDERSON MILL RD                                                                         BEAVERDAM          VA 23015‐2022
SATTERWHITE, THEODORE        1690 WESLEYAN ROAD                                                                             DAYTON             OH 45406‐3609
SATTERWHITE, THERESA         56 E ALKALINE SPRINGS RD                                                                       VANDALIA           OH 45377‐2649
SATTI DAVID                  681 PAINE RD                                                                                   NORTH ATTLEBORO    MA 02760‐4452
SATTICH NORMAN J (401532)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                              STREET, SUITE 600
SATTICH, NORMAN J            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA 23510‐2212
                                                              STREET, SUITE 600
SATTIE PHILLIPS              4395 W COUNTY ROAD 625 S                                                                       PAOLI             IN   47454‐9137
SATTIEWHITE, TAKESHA         4022 BURGESS ST                                                                                FLINT             MI   48504‐2233
SATTLER JR, FREDERICK H      44444 ECORSE RD                                                                                BELLEVILLE        MI   48111‐1108
SATTLER JR, STEPHEN S        14691 BELLINO TER UNIT 101                                                                     BONITA SPGS       FL   34135‐8366
SATTLER JR, STEPHEN S        7688 S KILKENNY DR                                                                             BRIGHTON          MI   48116‐6231
SATTLER MAGDELINA            SATTLER, MAGDELINA               333 WEST FORT STREET, STE. 1400                               DETROIT           MI   48226
SATTLER STEPHEN E (464897)   WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                               NEW YORK          NY   10038
SATTLER, ALEXANDER J         1458 HERITAGE GLEN DR                                                                          MARIETTA          GA   30068‐2013
SATTLER, CARL P              1974 NEWMAN ST                                                                                 TRENTON           MI   48183‐1733
SATTLER, CLARENCE A          188 NATCHAUG DR                                                                                MERIDEN           CT   06450‐7420
SATTLER, EDWARD J            2 LONG HILL RD                                                                                 MIDDLEFIELD       CT   06455‐1101
SATTLER, GAIL A              1104 LAVONA LN                                                                                 SILOAM SPRINGS    AR   72761‐2545
SATTLER, GLADYS F            7252 SHELDON RD                                                                                BELLEVILLE        MI   48111‐5106
SATTLER, JAMES A             8109 COTTAGE DR                                                                                UNIONVILLE        MI   48767‐9764
SATTLER, JAMES D             44424 ECORSE RD                                                                                BELLEVILLE        MI   48111‐1108
SATTLER, JOHN A              16977 DORIS ST                                                                                 LIVONIA           MI   48154
SATTLER, LORRAINE M          1103 PINEWOOD LANE                                                                             WATERLOO          IL   62298‐2020
SATTLER, MARY A              7917 PAMALANE CT                                                                               BRIGHTON          MI   48116‐6265
SATTLER, MARY ANN            7917 PAMALANE CT                                                                               BRIGHTON          MI   48116‐6265
SATTLER, MARY ANN            PO BOX 237                                                                                     EASTPORT          MI   49627‐0237
SATTLER, PAULINE E           1371 BENNET RD                                                                                 LANSING           MI   48906‐1072
SATTLER, RICHARD F           1538 OAK HAVEN DR                                                                              HOWELL            MI   48843‐9140
SATTLER, ROBERT D            908 N WATER ST                                                                                 OWOSSO            MI   48867‐1732
SATTLER, RONALD J            611 GREENWOOD AVE                                                                              TOLEDO            OH   43605‐2329
SATTLER, RUTH A              44444 ECORSE RD                                                                                BELLEVILLE        MI   48111‐1108
SATTLER, SANDRA K            16977 DORIS ST                                                                                 LIVONIA           MI   48154‐6238
SATTLER, STACIE L            14691 BELLINO TER UNIT 101                                                                     BONITA SPGS       FL   34135‐8366
SATTLER, STACIE L            7688 S KILKENNY DR                                                                             BRIGHTON          MI   48116‐6231
SATTLER, STEPHEN E           WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                               NEW YORK          NY   10038
SATTLER, STEPHEN S           28405 VIA ODANTI DR                                                                            BONITA SPRINGS    FL   34135‐8268
SATTLER, THOMAS D            PO BOX 472                       301 MCKINLEY                                                  HIGGINS LAKE      MI   48627‐0472
SATTLER, THOMAS D            7053 ROCK BRIDGE RD                                                                            GRAND LEDGE       MI   48837‐9183
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Name                              Address1                              Address2                           Address3                 Address4         City            State Zip
SATTLER, VICKI L                  4013 LOMLEY AVE                                                                                                    WATERFORD        MI 48329‐4122
SATTORA, CLARK E                  99 CHAPEL ST                                                                                                       MOUNT MORRIS     NY 14510‐1230
SATTORA, JAMES E                  2 CARRIAGE LN                                                                                                      AVON             NY 14414
SATTORA, STEVEN J                 52 NISA LN                                                                                                         ROCHESTER        NY 14606
SATUR, ANNA I                     31031 PENDLETON APT 154                                                                                            NEW HUDSON       MI 48165‐9457
SATUR, ANNA I                     10566 LASALLE PL                                                                                                   BRIGHTON         MI 48116‐9091
SATURDAY, EARL                    676 GLENSPRING AVE                                                                                                 SPRINGDALE       OH 45246
SATURLEY JR, REGINALD E           320 MCCRACKEN RD                                                                                                   WIND RIDGE       PA 15380‐1370
SATURN ‐ MCNAIL, JOHN 1994        MCNAIL JOHN
SATURN AUCTION UNITS              100 SATURN PKWY                                                                                                    SPRING HILL     TN 37174‐2492
SATURN AUTOMOTIVE OF ANCHORAGE,   RICHARD MORRISON                      720 E 9TH AVE                                                                ANCHORAGE       AK 99501‐3739
INC.
SATURN BODY SYSTEMS FAB           100 SATURN PKWY                                                                                                    SPRING HILL     TN    37174‐2492
SATURN BS MFG/SPRNGH              100 SATURN PKWY                       P.O. BOX 1500                      MD‐M21                                    SPRING HILL     TN    37174‐2492
SATURN CARS OF ATLANTA, INC.      ELWYN BRIDGES                         1071 COBB PKWY S                                                             MARIETTA        GA    30060‐9232
SATURN CERAMIC COATING CO         26067 GROESBECK HWY                                                                                                WARREN          MI    48089‐1540
SATURN COOL SPRG/TN               7104 S SPRINGS DR                                                                                                  FRANKLIN        TN    37067‐1615
SATURN CORP                       ATTN: CORPORATE OFFICER/AUTHORIZED    425 PUTNAM ST                                                                SCRANTON        PA    18508‐1513
                                  AGENT
SATURN CORP                       ATTN: CORPORATE OFFICER/AUTHORIZED    3025 CHATHAM ST                                                              PHILADELPHIA    PA 19134‐4306
                                  AGENT
SATURN CORP                       ATTN: CORPORATE OFFICER/AUTHORIZED    216 ROBBINS AVE                                                              ROCKLEDGE       PA 19046‐4253
                                  AGENT
SATURN CORP                       JOSEPH A PERRY                        100 SATURN PKWY               SATURN SPRING HILL                             SPRING HILL     TN 37174‐2492
                                                                                                      COMPONENTS
SATURN CORP                       JOSEPH A PERRY                        SATURN SPRING HILL COMPONENTS 100 SATURN PKY                                 GRAND RAPIDS    MI

SATURN CORP                       100 SATURN PKWY                                                                                                    SPRING HILL     TN 37174‐2492
SATURN CORP                       100 SATURN PARKWAY, MD 371‐999‐F10,                                                                                SPRING HILL     TN 37174
                                  SPRING HILL
SATURN CORP,                      ATTN: CORPORATE OFFICER/AUTHORIZED    124 LEONARDVILLE RD                                                          BELFORD          NJ   07718‐1131
                                  AGENT
SATURN CORP,                      ATTN: CORPORATE OFFICER/AUTHORIZED    3502 VINTON RD                                                               PHILADELPHIA    PA 19154‐1506
                                  AGENT
SATURN CORP,                      ATTN: CORPORATE OFFICER/AUTHORIZED    5012 N TUPELO TURN                                                           WILMINGTON      DE 19808‐1024
                                  AGENT
SATURN CORP,                      26 MYERS RD                                                                                                        NEWARK          DE 19713‐2317
SATURN CORP,                      3939 PRICETOWN RD                                                                                                  FLEETWOOD       PA 19522‐9028
SATURN CORP,                      ATTN: CORPORATE OFFICER/AUTHORIZED    18789 COUNTY HIGHWAY K                                                       CORNELL         WI 54732‐5520
                                  AGENT
SATURN CORPORATION                ATTN: CORPORATE OFFICER/AUTHORIZED    28000 WOODWARD AVE STE 201                                                   ROYAL OAK       MI 48067‐0962
                                  AGENT
SATURN CORPORATION                ATTN: CORPORATE OFFICER/AUTHORIZED    100 SATURN PKWY                                                              SPRING HILL     TN 37174‐2493
                                  AGENT
SATURN CORPORATION                PO BOX 488, HIGHWAY 31 SOUTH                                                                                       SPRING HILL     TN    37174
SATURN CORPORATION                VICE PRESIDENT FINANCE                PO BOX 488, HIGHWAY 31 SOUTH                                                 SPRING HILL     TN    37174
SATURN CORPORATION                1400 STEPHENSON HWY                                                                                                TROY            MI    48083‐1189
SATURN CORPORATION                ATTN: TRADEMARK COUNSEL               300 RENAISSANCE CTR                MAIL CODE: 482‐C23‐B21                    DETROIT         MI    48265‐0001
SATURN CORPORATION                ATTN: GENERAL COUNSEL                 100 SATURN PKWY                    MD 371‐999‐F10                            SPRING HILL     TN    37174‐2492
SATURN CORPORATION                100 SATURN PARKWAY                                                                                                 SPRING HILL     TN    37174
SATURN CORPORATION                PARKER BRIAN P                        30800 TELEGRAPH ROAD, SUITE 2985                                             BINGHAM FARMS   MI    48025
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Name                               Address1                             Address2                      Address3                Address4                City              State Zip
SATURN CORPORATION                 DEBORAH F COLLINS                    300 RENAISSANCE CTR                                                           DETROIT            MI 48265‐0001
SATURN CORPORATION
SATURN CORPORATION                 INTERCOMPANY
SATURN CORPORATION                 WEINER ROBERT E LAW OFFICE           141 TREMONT ST                FL 4                                            BOSTON            MA 02111
SATURN CORPORATION,
SATURN COUNTY BOND CORPORATION     C/O GENERAL MOTORS LLC               NEW YORK TREASURER'S OFFICE   767 FIFTH AVENUE 14TH                           NEW YORK          NY 10015
                                                                                                      FLOOR
SATURN DEVELOPMENT, INC.           BRYAN SMITH                          755 CAPITOL EXPRESSWAY AUTO                                                   SAN JOSE          CA 95136‐1125
                                                                        MALL
SATURN DISTRIBUTION CORPORATION    INTERCOMPANY
SATURN DISTRIBUTION CORPORATION
SATURN ELEC/APODACA                BLVD TLC 300 PARQUE INDUSTRIA        STIVA AEROPUERTO                                      APODACA NL 66600
                                                                                                                              MEXICO
SATURN ELEC/MEXICO                 OMEGA 1825                           PARQUE IND OMEGA                                      JUAREZ CHICH CI 32320
                                                                                                                              MEXICO
SATURN ELEC/ROCH HIL               2120 AUSTIN AVE                                                                                                    ROCHESTER HILLS   MI 48309‐3667
SATURN ELECT. DE JUAREZ SA DE      SCOTT BOERTMAN                       LEAR CORP.                    OMEGA 1825 PARQUE       TORREJON DE ARDOZ ES
                                                                                                      INDUSTRIAL              MEXICO
SATURN ELECTRONICS                 MARCIA HAMILL                        2119 AUSTIN                                                                   SOMERSET           NJ   08873
SATURN ELECTRONICS                 SCOTT BOERTMAN                       LEAR CORP.                    OMEGA 1825 PARQUE       TORREJON DE ARDOZ ES
                                                                                                      INDUSTRIAL              MEXICO
SATURN ELECTRONICS & ENG INC       2120 AUSTIN AVE                                                                                                    ROCHESTER HLS     MI 48309‐3667
SATURN ELECTRONICS & ENG.          MARCIA HAMILL                        323 SKEELS ST                                         ST. MARYS ON CANADA
SATURN ELECTRONICS & ENG.          MARCIA HAMILL                        8708 KILLAM INDUSTRIAL BLVD                                                   LAREDO            TX    78045‐1825
SATURN ELECTRONICS & ENGINEERING   2120 AUSTIN AVE                                                                                                    ROCHESTER HLS     MI    48309‐3557
SATURN ELECTRONICS & ENGINEERING   255 REX BLVD                                                                                                       AUBURN HILLS      MI    48326‐2954
SATURN ELECTRONICS & ENGINEERING   MARCIA HAMILL                        2119 AUSTIN                                                                   SOMERSET          NJ    08873
SATURN ELECTRONICS & ENGINEERING   MARCIA HAMILL                        323 SKEELS ST                                                                 COOPERSVILLE      MI    49404‐1326
SATURN ELECTRONICS & ENGINEERING   MARCIA HAMILL                        8708 KILLAM INDUSTRIAL BLVD                                                   LAREDO            TX    78045‐1825
SATURN ELECTRONICS &ENGINEER       MARCIA J. HAMILL                     575 GLASPIE                                                                   MADISON HTS       MI
SATURN FORT LAUDERDALE             1300 N FEDERAL HWY                                                                                                 FORT LAUDERDALE   FL    33304‐1428
SATURN FREIGHT SYSTEMS             649 TERRELL MILL RD                                                                                                COLLEGE PARK      GA    30349‐6035
SATURN GA MFG/SPRNGH               100 SATURN PKWY                      P.O. BOX 1500                 MD‐K10                                          SPRING HILL       TN    37174‐2492
SATURN GENERAL ASSEMBLY            100 SATURN PKWY                      P.O. BOX 1500                                                                 SPRING HILL       TN    37174‐2492
MANUFACTURING
SATURN INDUSTRIES INC              157 UNION TPKE                                                                                                     HUDSON            NY 12534‐1524
SATURN ISUZU DE GRANBY             1348 RUE PRINCIPALE                                                                        GRANBY CANADA PQ J2G
                                                                                                                              8C8 CANADA
SATURN NORTH                       2600 W 104TH AVE                                                                                                   DENVER            CO 80234‐3515
SATURN NORTH INC                   ATTN: CORPORATE OFFICER/AUTHORIZED   28000 WOODWARD AVE STE 201                                                    ROYAL OAK         MI 48067‐0962
                                   AGENT
SATURN OF ABILENE                  1424 S CLACK ST                                                                                                    ABILENE           TX    79605‐4608
SATURN OF AGGIELAND                PO BOX 3308                                                                                                        BRYAN             TX    77805‐3308
SATURN OF AGGIELAND                TIM LIGHT                            PO BOX 3908                                                                   BRYAN             TX    77805‐3308
SATURN OF ALBANY                   1769 CENTRAL AVE                                                                                                   ALBANY            NY    12205‐4734
SATURN OF ALBUQUERQUE              1301 LOMAS BLVD NE                                                                                                 ALBUQUERQUE       NM    87102‐2729
SATURN OF ALEXANDRIA               1515 DORCHESTER DR                                                                                                 ALEXANDRIA        LA    71301‐3411
SATURN OF ALEXANDRIA               1800 OLD RICHMOND HWY                                                                                              ALEXANDRIA        VA    22303‐1858
SATURN OF ALEXANDRIA               FOSTER WALKER                        1515 DORCHESTER DR                                                            ALEXANDRIA        LA    71301‐3411
SATURN OF AMARILLO                 PO BOX 1978                                                                                                        LUBBOCK           TX    79408‐1978
SATURN OF ANAHEIM                  1380 S AUTO CENTER DR                                                                                              ANAHEIM           CA    92806‐5630
SATURN OF ANCHORAGE                720 E 9TH AVE                                                                                                      ANCHORAGE         AK    99501‐3739
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Name                                 Address1                         Address2                     Address3                   Address4         City            State Zip
SATURN OF ANN ARBOR                  C/O MACK JOHNSON                 500 AUTO MALL DR                                                         ANN ARBOR        MI 48103‐1811
SATURN OF ANN ARBOR                  500 AUTO MALL DR                                                                                          ANN ARBOR        MI 48103‐1811
SATURN OF ANN ARBOR                  MR. MARK JOHNSON                 500 AUTO MALL DR                                                         ANN ARBOR        MI 48103‐1811
SATURN OF ANN ARBOR                  MACK JOHNSON                     500 AUTO MALL DR                                                         ANN ARBOR        MI 48103‐1811
SATURN OF ANN ARBOR
SATURN OF ANTELOPE VALLEY            401 AUTO VISTA DR                                                                                         PALMDALE        CA    93551‐3711
SATURN OF ANTELOPE VALLEY            C/O LOU GONZALES                 401 AUTO VISTA DR                                                        PALMDALE        CA    93551‐3711
SATURN OF APPLETON                   1000 S NICOLET RD                                                                                         APPLETON        WI    54914‐8897
SATURN OF APPLETON COMPUTER          150 N GREEN BAY RD                                                                                        NEENAH          WI    54956‐2243
SATURN OF APPLETON, INC.             JOHN BERGSTROM                   1000 S NICOLET RD                                                        APPLETON        WI    54914‐8897
SATURN OF ARLINGTON                  1111 E I20 AT COLLINS                                                                                     ARLINGTON       TX    76018
SATURN OF ARLINGTON IN BUFFALO GRO   915 W DUNDEE RD                                                                                           BUFFALO GROVE   IL

SATURN OF ARLINGTON IN BUFFALO       915 W DUNDEE RD                                                                                           BUFFALO GROVE    IL   60089‐4101
GROVE
SATURN OF ARROWHEAD                  8801 W BELL RD                                                                                            PEORIA          AZ    85382‐3711
SATURN OF ASHEVILLE                  775 BREVARD RD                                                                                            ASHEVILLE       NC    28806‐2231
SATURN OF AUGUSTA                    1770 GORDON HWY                                                                                           AUGUSTA         GA    30904‐5168
SATURN OF AURORA                     2150 S HAVANA ST                                                                                          AURORA          CO    80014‐1016
SATURN OF AUSTIN                     11750A RESEARCH BLVD                                                                                      AUSTIN          TX    78759
SATURN OF AVONDALE                   10685 W PAPAGO FWY                                                                                        AVONDALE        AZ    85323‐5313
SATURN OF BAKERSFIELD                3101 PACHECO RD                                                                                           BAKERSFIELD     CA    93313‐3214
SATURN OF BANGOR                     327 HOGAN RD                                                                                              BANGOR          ME    04401‐4205
SATURN OF BATON ROUGE                11025 REIGER RD                                                                                           BATON ROUGE     LA    70809‐4548
SATURN OF BAY RIDGE                  2556 HYLAN BLVD                                                                                           STATEN ISLAND   NY    10306‐4366
SATURN OF BEAVERTON                  4250 SW 139TH WAY                                                                                         BEAVERTON       OR    97005‐2302
SATURN OF BEAVERTON, INC.            RUSS HUMBERSTON                  4250 SW 139TH WAY                                                        BEAVERTON       OR    97005‐2302
SATURN OF BEECHMONT                  8549 BEECHMONT AVE                                                                                        CINCINNATI      OH    45255‐4784
SATURN OF BELAIR                     710 BELAIR ROAD                                                                                           BEL AIR         MD    21014
SATURN OF BELDEN VILLAGE             5617 WHIPPLE AVE NW                                                                                       NORTH CANTON    OH    44720‐7720
SATURN OF BELLEVUE                   903 ALBERTA AVE                                                                                           BELLEVUE        NE    68005‐2643
SATURN OF BELLEVUE                   13815 NE 24TH ST                                                                                          BELLEVUE        WA    98005‐1865
SATURN OF BERLIN                     519 E BROAD AVE                                                                                           ROCKINGHAM      NC    28379‐3756
SATURN OF BERLIN, INC.               ANTHONY MARCH                    C/O CRYSTAL MOTORS II, LLC   27750 WESLEY CHAPEL BLVD                    WESLEY CHAPEL   FL    33613

SATURN OF BERLIN, INC.               ANTHONY MARCH                    519 E BROAD AVE                                                          ROCKINGHAM      NC    28379‐3756
SATURN OF BINGHAMTON                 PO BOX 1130                                                                                               VESTAL          NY    13851‐1130
SATURN OF BIRMINGHAM                 3010 COLUMBIANA RD                                                                                        BIRMINGHAM      AL    35216‐3507
SATURN OF BIRMINGHAM, INC.           DAVID BELCHER                    3010 COLUMBIANA RD                                                       BIRMINGHAM      AL    35216‐3507
SATURN OF BISMARCK MANDAN            3334 MEMORIAL HWY                                                                                         MANDAN          ND    58554‐4643
SATURN OF BLOOMINGTON                1701 AMERICAN BLVD W                                                                                      BLOOMINGTON     MN    55431‐1402
SATURN OF BLOOMINGTON                1701 E 80TH ST                                                                                            BLOOMINGTON     MN    55425‐1184
SATURN OF BLOOMINGTON NORMAL         600 GREENBRIAR DR                                                                                         NORMAL          IL    61761‐6411
SATURN OF BLOOMINGTON NORMAL INC     JAMES SCHERER                    600 GREENBRIAR DR                                                        NORMAL          IL    61761‐6411

SATURN OF BLOOMINTON/MISC. FLEET     1701 AMERICAN BLVD W                                                                                      BLOOMINGTON     MN 55431‐1402

SATURN OF BLUE SPRINGS               1500 NW SOUTH OUTER RD                                                                                    BLUE SPRINGS    MO    64015‐2970
SATURN OF BOARDMAN                   7554 MARKET ST                                                                                            BOARDMAN        OH    44512‐6040
SATURN OF BOISE                      8400 W FRANKLIN RD                                                                                        BOISE           ID    83709‐0627
SATURN OF BORDENTOWN                 237 US HIGHWAY 130                                                                                        BORDENTOWN      NJ    08505‐2111
                                    09-50026-mg             Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
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Name                                Address1                           Address2                      Address3            Address4         City               State Zip
SATURN OF BORDENTOWN INC            LOWENSTEIN SANDLER PC              ATTN ANDREW DAVID BEHLMANN    65 LIVINGSTON AVE                    ROSELAND            NJ 07068

SATURN OF BORDENTOWN PARTS          205 BORDENTOWN HEDDING RD                                                                             BORDENTOWN         NJ   08505‐4717
SATURN OF BORDENTOWN, INC.          ROBERT MAGUIRE                     237 US HIGHWAY 130                                                 BORDENTOWN         NJ   08505‐2111
SATURN OF BOWIE                     4601 SAINT BARNABAS RD                                                                                TEMPLE HILLS       MD   20748‐1916
SATURN OF BOWLING GREEN             2211 SCOTTSVILLE RD                                                                                   BOWLING GREEN      KY   42104‐4105
SATURN OF BOWLING GREEN, INC        CORNELIUS MARTIN*                  2211 SCOTTSVILLE RD                                                BOWLING GREEN      KY   42104‐4105
SATURN OF BRANDON                   11024 CAUSEWAY BLVD                                                                                   BRANDON            FL   33511‐1998
SATURN OF BROOKLYN PARK             7911 LAKELAND AVE N                                                                                   BROOKLYN PARK      MN   55445‐2416
SATURN OF BRUNSWICK                 1500 US HIGHWAY 1                                                                                     NORTH BRUNSWICK    NJ   08902‐2011
SATURN OF BRUNSWICK                 BRESSLER AMERY & ROSS              P O BOX 1980 , 325 COLUMBIA                                        FLORHAM PARK       NJ   07932
                                                                       TURNPIKE
SATURN OF BRUNSWICK                 MYERS & FULLER                     2822 REMINGTON GREEN CIRCLE                                        TALLAHASSEE        FL   32308
SATURN OF BRUNSWICK                 BRESSLER AMERY & ROSS              P O BOX 1980, 325 COLUMBIA                                         FLORHAM PARK       NJ   07932
                                                                       TURNPIKE
SATURN OF BURLINGTON                1611 S BURLINGTON BLVD                                                                                BURLINGTON         WA   98233‐3221
SATURN OF BURNSVILLE                7911 LAKELAND AVE N                                                                                   MINNEAPOLIS        MN   55445‐2416
SATURN OF CAPE CORAL                404 NE PINE ISLAND RD                                                                                 CAPE CORAL         FL   33909‐2549
SATURN OF CAPE CORAL                MYERS & FULLER                     2822 REMINGTON GREEN CIRCLE                                        TALLAHASSEE        FL   32308
SATURN OF CAPE GIRARDEAU            11157 LINDBERGH BUSINESS CT                                                                           ST LOUIS           MO   63123‐7810
SATURN OF CAPITOL EXPRESSWAY        755 CAPITOL EXPRESSWAY AUTO MALL                                                                      SAN JOSE           CA   95136‐1125
SATURN OF CARLISLE PIKE             6643 CARLISLE PIKE                                                                                    MECHANICSBURG      PA   17050‐1707
SATURN OF CARROLLWOOD               6363 NE 6TH WAY STE 400                                                                               FORT LAUDERDALE    FL   33309‐6188
SATURN OF CARROLLWOOD BY ED MORSE

SATURN OF CARY                      91 MACKENAN DR                                                                                        CARY               NC   27511‐7910
SATURN OF CEDAR FALLS               6719 UNIVERSITY AVE                                                                                   CEDAR FALLS        IA   50613‐5127
SATURN OF CEDAR FALLS               JOHN DEERY                         6719 UNIVERSITY AVE                                                CEDAR FALLS        IA   50613‐5127
SATURN OF CEDAR RAPIDS              1020 N CENTER POINT RD                                                                                HIAWATHA           IA   52233‐1200
SATURN OF CENTRAL FLORIDA           8620 S ORANGE BLOSSOM TRL                                                                             ORLANDO            FL   32809‐7983
SATURN OF CENTRAL FLORIDA, INC.     ROLAND DANIELS                     8620 S ORANGE BLOSSOM TRL                                          ORLANDO            FL   32809‐7983
SATURN OF CENTRAL FLORIDA, INC.     ROLAND C DANIELS                   8620 S ORANGE BLOSSOM TRL                                          ORLANDO            FL   32809‐7983
SATURN OF CENTRAL PA PARTS DEPOT    802 S 16TH ST                                                                                         HARRISBURG         PA   17104‐2601
SATURN OF CERRITOS                  18400 STUDEBAKER RD                                                                                   CERRITOS           CA   90703‐5345
SATURN OF CERRITOS
SATURN OF CHAGRIN                   27100 CHAGRIN BLVD                                                                                    CLEVELAND          OH   44122‐4210
SATURN OF CHAMPAIGN COUNTY          1402 N DUNLAP AVE                                                                                     SAVOY              IL   61874‐9670
SATURN OF CHAPEL HILL               247 HOWE AVE                                                                                          CUYAHOGA FALLS     OH   44221‐4903
SATURN OF CHAPEL HILL               3601 DURHAM CHAPEL HILL BLVD                                                                          DURHAM             NC   27707‐2662
SATURN OF CHAPEL HILL COMP          3423 DARROW RD                                                                                        STOW               OH   44224‐4513
SATURN OF CHAPEL HILL INC           5617 WHIPPLE AVE NW                                                                                   NORTH CANTON       OH   44720‐7720
SATURN OF CHAPEL HILL PARTS         257 HUDDLESTON AVE                                                                                    CUYAHOGA FALLS     OH   44221‐4901
SATURN OF CHAPEL HILL, INC.         RONALD MARHOFER                    247 HOWE AVE                                                       CUYAHOGA FALLS     OH   44221‐4903
SATURN OF CHAPEL HILLS              1540 AUTO MALL LOOP                                                                                   COLORADO SPRINGS   CO   80920‐3954
SATURN OF CHARLESTON HUNTINGTON     ONE SATURN WAY                                                                                        HURRICANE          WV   25526

SATURN OF CHARLESTON HUNTINGTON,    CORNELIUS MARTIN*                  ONE SATURN WAY                                                     HURRICANE          WV 25526
INC.
SATURN OF CHARLOTTE                 7036 E INDEPENDENCE BLVD                                                                              CHARLOTTE          NC 28227‐9419
SATURN OF CHARLOTTE AUTOMOTIVE      WILLIAM MUSGRAVE                   1775 CATAWBA VALLEY BLD SE                                         HICKORY            NC 28602
COMPANY
                                     09-50026-mg             Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                                Address1                             Address2                        Address3   Address4         City                  State Zip
SATURN OF CHARLOTTE MARKET AREA INC 2023 PRINCETON AVE                                                                               CHARLOTTE              NC 28207‐2429

SATURN OF CHARLOTTE MARKET AREA,     WILLIAM O MUSGRAVE                  7036 E INDEPENDENCE BLVD                                    CHARLOTTE             NC 28227‐9419
INC.
SATURN OF CHARLOTTE MARKET AREA,     WILLIAM O. MUSGRAVE                 6000 FAIRVIEW RD.                                           CHARLOTTE             NC 28210
INC.
SATURN OF CHARLOTTE MARKET AREA,     WILLIAM O. MUSGRAVE                 6000 FARIVIEW RD.                                           CHARLOTTE             NC 28210
INC.
SATURN OF CHARLOTTE MARKET AREA,     WILLIAM O. MUSGRAVE                 1901 ROXBOROUGH RD              STE 110                     CHARLOTTE             NC 28211‐9482
INC. C/O SATURN RETAIL ENTERPRISES

SATURN OF CHATTANOOGA                6025 INTERNATIONAL DR                                                                           CHATTANOOGA           TN    37421‐1617
SATURN OF CHESAPEAKE                 1552 S MILITARY HWY                                                                             CHESAPEAKE            VA    23320‐2608
SATURN OF CHEYENNE                   2300 WESTLAND RD                                                                                CHEYENNE              WY    82001‐3338
SATURN OF CHEYENNE, INC.             DOUGLAS MARKLEY                     2300 WESTLAND RD                                            CHEYENNE              WY    82001‐3338
SATURN OF CHICAGO                    5515 5435 & 5555 WEST IRVING        PARK ROAD                                                   CHICAGO               IL    60641
SATURN OF CHINO HILLS                3232 4TH AVE                                                                                    SAN DIEGO             CA    92103‐5702
SATURN OF CLARENCE                   5535 TRANSIT RD                                                                                 WILLIAMSVILLE         NY    14221‐2821
SATURN OF CLARENCE                   C/O ACORD                           PO BOX 31079                                                TAMPA                 FL    33631
SATURN OF CLARKSBURG                 ROUTE 19 SOUTH                                                                                  CLARKSBURG            WV    26301
SATURN OF CLARKSTON                  8400 DIXIE HWY                                                                                  CLARKSTON             MI    48348‐4234
SATURN OF CLARKSTON                  JOSEPH SERRA                        8400 DIXIE HWY                                              CLARKSTON             MI    48348‐4234
SATURN OF CLARKSVILLE                1760 WILMA RUDOLPH BLVD                                                                         CLARKSVILLE           TN    37040‐6784
SATURN OF CLARKSVILLE, INC.          CARROLL GATTON                      1760 WILMA RUDOLPH BLVD                                     CLARKSVILLE           TN    37040‐6784
SATURN OF CLEARWATER                 2339 GULF TO BAY BLVD                                                                           CLEARWATER            FL    33765‐4102
SATURN OF CLEARWATER, INC.           PAUL LOKEY                          2339 GULF TO BAY BLVD                                       CLEARWATER            FL    33765‐4102
SATURN OF COCONUT CREEK              4980 N STATE ROAD 7                                                                             CORAL SPRINGS         FL    33073‐3302
SATURN OF COLMA                      PO BOX 18578                                                                                    SAN JOSE              CA    95158‐8578
SATURN OF COLORADO SPRINGS           1020 MOTOR CITY DR                                                                              COLORADO SPRINGS      CO    80905‐7311
SATURN OF COLUMBIA                   736 SATURN PKWY                                                                                 COLUMBIA              SC    29212‐2265
SATURN OF COLUMBIA                   1310 VANDIVER DR                                                                                COLUMBIA              MO    65202‐1925
SATURN OF COLUMBIA, INC.             MICHAEL LOVE                        736 SATURN PKWY                                             COLUMBIA              SC    29212‐2265
SATURN OF COLUMBUS                   1661 WHITTLESEY RD                                                                              COLUMBUS              GA    31904‐3645
SATURN OF CONCORD                    1330 CONCORD AVE                                                                                CONCORD               CA    94520‐4908
SATURN OF CONCORD                    853 CONCORD PKWY S                                                                              CONCORD               NC    28027‐9060
SATURN OF CONCORD/GMAC LSG OF DE     200 RENAISSANCE CTR # 482‐B10‐D66                                                               DETROIT               MI    48265‐0001
LLC
SATURN OF CONCORD/HERTZ              14501 HERTZ QUAIL SPRINGS PKWY                                                                  OKLAHOMA CITY         OK    73134‐2628
SATURN OF CONNECTICUT, INC.          84 FEDERAL RD                                                                                   DANBURY               CT    06810‐5034
SATURN OF COOL SPRINGS               7104 S SPRINGS DR                                                                               FRANKLIN              TN    37067‐1615
SATURN OF CORPUS CHRISTI             3615 S PADRE ISLAND DR                                                                          CORPUS CHRISTI        TX    78415‐2910
SATURN OF CORPUS CHRISTI, INC.       JEFFERY LUNDQUIST                   3615 S PADRE ISLAND DR                                      CORPUS CHRISTI        TX    78415‐2910
SATURN OF CREVE COEUR                900 N LINDBERGH BLVD                                                                            CREVE COEUR           MO    63141‐5902
SATURN OF DANBURY                    84 FEDERAL RD                                                                                   DANBURY               CT    06810‐5034
SATURN OF DANVERS                    24 COMMONWEALTH AVE                                                                             DANVERS               MA    01923‐3602
SATURN OF DARTMOUTH                  PO BOX 1717                                                                                     HYANNIS               MA    02501‐1717
SATURN OF DAYTON                     995 MIAMISBURG CENTERVILLE RD                                                                   WASHINGTON TOWNSHIP   OH    45459‐6526
SATURN OF DAYTON NORTH               8560 TROY PIKE                                                                                  HUBER HEIGHTS         OH    45424‐1031
SATURN OF DAYTON, INC.               CORNELIUS MARTIN*                   995 MIAMISBURG CENTERVILLE RD                               WASHINGTON TOWNSHIP   OH    45459‐6526

SATURN OF DAYTONA                    650 N NOVA RD                                                                                   DAYTONA BEACH          FL   32114‐1704
SATURN OF DAYTONA BEACH PARTS        650 N NOVA RD                                                                                   DAYTONA BEACH          FL   32114‐1704
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SATURN OF DAYTONA, INC.           GLENN RITCHEY                        650 N NOVA RD                                             DAYTONA BEACH       FL 32114‐1704
SATURN OF DECATUR                 1950 ORION DR                                                                                  DECATUR             GA 30033‐4307
SATURN OF DEERFIELD BEACH         1399 S FEDERAL HWY                                                                             DEERFIELD BEACH     FL 33441‐7248
SATURN OF DENVER                  7977 W TUFTS AVE                                                                               LITTLETON           CO 80123‐2401
SATURN OF DENVER BODY             1212 MOTOR CITY DR                                                                             COLORADO SPRINGS    CO 80905‐7392
SATURN OF DENVILLE                3103 ROUTE 10 EAST                                                                             DENVILLE            NJ 07834
SATURN OF DENVILLE INC
SATURN OF DENVILLE NJ LIMITED
PARTNERSHIP
SATURN OF DENVILLE NJ LIMITED     HARWOOD LLOYD LLC                    130 MAIN ST                                               HACKENSACK          NJ   07601‐7102
PARTNERSHIP
SATURN OF DENVILLE NJ LIMITED     STUART LASSER                        3103 ROUTE 10 EAST                                        DENVILLE            NJ   07834
PARTNERSHP
SATURN OF DENVILLE NJ LP          LASSER, STUART                       130 MAIN ST                                               HACKENSACK          NJ   07601‐7102
SATURN OF DENVILLE NJ LP          SATURN OF DENVILLE NJ LIMITED        130 MAIN ST                                               HACKENSACK          NJ   07601‐7102
                                  PARTNERSHIP
SATURN OF DES MOINES              9900 HICKMAN RD                                                                                CLIVE              IA    50325‐5324
SATURN OF DES MOINES              1019 CAULDER AVE                                                                               DES MOINES         IA    50315‐7539
SATURN OF DES MOINES, INC.        CORNELIUS MARTIN*                    9900 HICKMAN RD                                           CLIVE              IA    50325‐5324
SATURN OF DORAL                   19250 S DIXIE HWY                                                                              MIAMI              FL    33157‐7602
SATURN OF DOWNERS GROVE           1866 OGDEN AVE                                                                                 DOWNERS GROVE      IL    60515‐2603
SATURN OF DOYLESTOWN              4465 W SWAMP RD                                                                                DOYLESTOWN         PA    18902‐1015
SATURN OF DOYLESTOWN, INC.        FRED BEANS                           4465 W SWAMP RD                                           DOYLESTOWN         PA    18902‐1015
SATURN OF DOYLESTOWN/EMKAY INC    805 W THORNDALE AVE                                                                            ITASCA             IL    60143‐1338
SATURN OF DOYLESTOWN/GE           3 CAPITAL DR                                                                                   EDEN PRAIRIE       MN    55344‐3890
SATURN OF DOYLESTOWN/LEASE PLAN   1165 SANCTUARY PKWY                                                                            ALPHARETTA         GA    30009‐4738
SATURN OF DOYLESTOWN/PHH ARVAL    940 RIDGEBROOK RD                                                                              SPARKS             MD    21152‐9390
SATURN OF DOYLESTOWN/WHEELS INC   PO BOX 769                                                                                     ZION               IL    60099‐0769

SATURN OF DULUTH                  4735 MALL DR                                                                                   HERMANTOWN         MN    55811‐4088
SATURN OF DULUTH, LLC.            BRADFORD SKYTTA                      4735 MALL DR                                              HERMANTOWN         MN    55811‐4088
SATURN OF DUNDEE                  125 W HIGGINS RD                                                                               HOFFMAN EST        IL    60169‐4913
SATURN OF EATONTOWN               1500 US HIGHWAY 1                                                                              NORTH BRUNSWICK    NJ    08902‐2011
SATURN OF EATONTOWN               BRESSLER AMERY & ROSS                P O BOX 1980 , 325 COLUMBIA                               FLORHAM PARK       NJ    07932
                                                                       TURNPIKE
SATURN OF EATONTOWN               BRESSLER AMERY & ROSS                P O BOX 1980, 325 COLUMBIA                                FLORHAM PARK        NJ   07932
                                                                       TURNPIKE
SATURN OF EATONTOWN               MYERS & FULLER                       2822 REMINGTON GREEN CIRCLE                               TALLAHASSEE        FL 32308
SATURN OF EAU CLAIRE              PO BOX 477                                                                                     NEENAH             WI 54957‐0477
SATURN OF EAU CLAIRE INC          ATTN: CORPORATE OFFICER/AUTHORIZED   18789 COUNTY HIGHWAY K                                    CORNELL            WI 54732‐5520
                                  AGENT
SATURN OF EDMOND                  13020 BROADWAY EXT                                                                             OKLAHOMA CITY      OK    73114‐2243
SATURN OF EDMOND, INC.            PATRICK MOORE                        404 E I 240 SERVICE RD                                    OKLAHOMA CITY      OK    73149‐1613
SATURN OF EL CAJON                541 N JOHNSON AVE                                                                              EL CAJON           CA    92020‐3117
SATURN OF EL PASO                 7750 GATEWAY BLVD E                                                                            EL PASO            TX    79915‐1718
SATURN OF ELK GROVE               PO BOX 4357                                                                                    TROY               MI    48099‐4357
SATURN OF ELLICOTT CITY           8431 BALTIMORE NAT'L PIKE                                                                      ELLICOTT CITY      MD    21043
SATURN OF ELMHURST                505 W GRAND AVE                                                                                ELMHURST           IL    60126‐1034
SATURN OF ENGLISH CREEK           1311 ROUTE 73                                                                                  MOUNT LAUREL       NJ    08054‐2215
SATURN OF ESCONDIDO               859 N BROADWAY                                                                                 ESCONDIDO          CA    92025‐1819
SATURN OF EUGENE                  2121 MARTIN LUTHER KING JR BLVD                                                                EUGENE             OR    97401‐2470
SATURN OF EVANSVILLE              7600 E DIVISION ST                                                                             EVANSVILLE         IN    47715‐2778
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SATURN OF FAIRFAX                     9711 LEE HIGHWAY                                                                           FAIRFAX             VA 22031
SATURN OF FAIRFIELD                   4850 AUTO PLAZA CT                                                                         FAIRFIELD           CA 94534‐1637
SATURN OF FAIRFIELD                   421 TUNXIS HILL RD                                                                         FAIRFIELD           CT 06825‐4454
SATURN OF FARGO                       3901 2ND AVE S                                                                             FARGO               ND 58103‐1181
SATURN OF FARGO INC.                  ANDREW BOEN                      3901 2ND AVE S                                            FARGO               ND 58103‐1181
SATURN OF FARMINGTON HILLS            24730 HAGGERTY RD                                                                          FARMINGTON HILLS    MI 48335‐1540
SATURN OF FAYETTEVILLE                1637 SKIBO RD                                                                              FAYETTEVILLE        NC 28303‐3481
SATURN OF FINDLAY                     6141 W CENTRAL AVE                                                                         TOLEDO              OH 43615‐1805
SATURN OF FISHERS                     12875 FORD DR                                                                              FISHERS             IN 46038‐2898
SATURN OF FLAGSTAFF                   CLIFFORD FINDLAY                 310 N GIBSON RD                                           HENDERSON           NV 89014‐6702
SATURN OF FLAGSTAFF                   ATTN: CLIFFORD FINDLAY           310 NORTH GIBSON ROAD                                     FLAGSTAFF           AZ 89014
SATURN OF FLINT                       2430 DUTCHER ST                                                                            FLINT               MI 48532‐4421
SATURN OF FLORENCE                    321 N CASHUA DR                                                                            FLORENCE            SC 29501‐2095
SATURN OF FLORENCE                    5969 CENTENNIAL CIR                                                                        FLORENCE            KY 41042‐1293
SATURN OF FLORENCE, INC.              MICHAEL LOVE                     321 N CASHUA DR                                           FLORENCE            SC 29501‐2095
SATURN OF FOND DU LAC                 PO BOX 477                                                                                 NEENAH              WI 54957‐0477
SATURN OF FORT COLLINS                3325 S COLLEGE AVE                                                                         FORT COLLINS        CO 80525‐2604
SATURN OF FORT COLLINS BODY SERVICE   3401 S COLLEGE AVE                                                                         FORT COLLINS        CO 80525‐2606

SATURN OF FORT GRATIOT                4511 24TH AVE                                                                              FORT GRATIOT       MI    48059‐3401
SATURN OF FORT LAUDERDALE             MICHAEL MAROONE                  1300 N FEDERAL HWY                                        FORT LAUDERDALE    FL    33304‐1428
SATURN OF FORT MYERS                  4201 FOWLER ST                                                                             FORT MYERS         FL    33901‐2612
SATURN OF FORT WAYNE                  505 AVENUE OF AUTOS                                                                        FORT WAYNE         IN    46804‐1195
SATURN OF FORT WAYNE
SATURN OF FORT WAYNE, INC.            THOMAS KELLEY                    505 AVENUE OF AUTOS                                       FORT WAYNE         IN    46804‐1195
SATURN OF FORT WORTH                  CONRAD HOLT                      400 W LOOP 820 S                                          FORT WORTH         TX    76108‐2679
SATURN OF FORT WORTH                  400 W LOOP 820 S                                                                           FORT WORTH         TX    76108‐2679
SATURN OF FREDERICK                   5903 URBANA PIKE                                                                           FREDERICK          MD    21704‐7206
SATURN OF FREDERICK, INC.             CONRAD ASCHENBACH                5903 URBANA PIKE                                          FREDERICK          MD    21704‐7206
SATURN OF FREDERICKSBURG              3421 JEFFERSON DAVIS HWY                                                                   FREDERICKSBURG     VA    22401‐4160
SATURN OF FREEHOLD                    BRESSLER AMERY & ROSS            P O BOX 1980 , 325 COLUMBIA                               FLORHAM PARK       NJ    07932
                                                                       TURNPIKE
SATURN OF FREEHOLD                    BRESSLER AMERY & ROSS            P O BOX 1980, 325 COLUMBIA                                FLORHAM PARK        NJ   07932
                                                                       TURNPIKE
SATURN OF FREEHOLD                    MYERS & FULLER                   2822 REMINGTON GREEN CIRCLE                               TALLAHASSEE        FL    32308
SATURN OF FREMONT                     39797 BALENTINE DR                                                                         NEWARK             CA    94560‐5375
SATURN OF FRESNO                      5499 N BLACKSTONE AVE                                                                      FRESNO             CA    93710‐5015
SATURN OF FRESNO/AVIS                 6 SYLVAN WAY                                                                               PARSIPPANY         NJ    07054
SATURN OF FRESNO/VANGUARD             6929 N LAKEWOOD AVE STE 100                                                                TULSA              OK    74117‐1824
SATURN OF FT MYERS                    MYERS & FULLER                   2822 REMINGTON GREEN CIRCLE                               TALLAHASSEE        FL    32308
SATURN OF GAINESVILLE                 3737 N MAIN ST                                                                             GAINESVILLE        FL    32609‐2305
SATURN OF GAINESVILLE, INC.           ROLAND DANIELS                   3737 N MAIN ST                                            GAINESVILLE        FL    32609‐2305
SATURN OF GAITHERSBURG                PO BOX 520                                                                                 GAITHERSBURG       MD    20884‐0520
SATURN OF GAITHERSBURG, INC.          PO BOX 520                                                                                 GAITHERSBURG       MD    20884‐0520
SATURN OF GERMANTOWN                  7300 WINCHESTER RD                                                                         MEMPHIS            TN    38125‐2191
SATURN OF GLEN BURNIE                 12 HOLSUM WAY                                                                              GLEN BURNIE        MD    21060‐6546
SATURN OF GLENVIEW                    630 WAUKEGAN RD                                                                            GLENVIEW           IL    60025‐4348
SATURN OF GLENVIEW/DONLEN CORP        2315 SANDERS RD                                                                            NORTHBROOK         IL    60062‐6108
SATURN OF GOLDEN VALLEY               801 LOUISIANA AVE S                                                                        GOLDEN VALLEY      MN    55426‐1625
SATURN OF GRAND FORKS                 2700 S WASHINGTON ST                                                                       GRAND FORKS        ND    58201‐6720
SATURN OF GRAND JUNCTION              2595 HIGHWAY 6 AND 50                                                                      GRAND JUNCTION     CO    81501‐5708
SATURN OF GRAND JUNCTION              J. BOZARTH                       2595 HIGHWAY 6 AND 50                                     GRAND JUNCTION     CO    81501‐5708
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SATURN OF GRAND LEDGE                 5677 E SAGINAW HWY                                                                               GRAND LEDGE          MI 48837‐9110
SATURN OF GRAND LEDGE                 ATTN SHERRILL FREEBOROUGH      5677 E SAGINAW HWY                                                GRAND LEDGE          MI 48837‐9110
SATURN OF GRAND RAPIDS                2720 28TH ST SE                                                                                  GRAND RAPIDS         MI 49512‐1621
SATURN OF GRAND RAPIDS                9931 76TH AVE                                                                                    ALLENDALE            MI 49401‐9731
SATURN OF GRAND RAPIDS SERVICE        2595 29TH ST SE                                                                                  GRAND RAPIDS         MI 49512‐1716
SATURN OF GRAND RAPIDS, INC.          DAVID FISCHER                  5281 S 9TH ST                                                     KALAMAZOO            MI 49009‐9503
SATURN OF GREATER LITTLE ROCK         5105 WARDEN RD                                                                                   NORTH LITTLE ROCK    AR 72116‐7015
SATURN OF GREATER LITTLE ROCK, INC.   RICHARD PARKER                 5105 WARDEN RD                                                    NORTH LITTLE ROCK    AR 72116‐7015

SATURN OF GREEN BAY                   2800 RAMADA WAY                                                                                  GREEN BAY           WI    54304‐5730
SATURN OF GREEN BROOK                 270 ROUTE 22 WEST                                                                                GREEN BROOK         NJ    08812
SATURN OF GREENFIELD                  4141 S 108TH ST                                                                                  GREENFIELD          WI    53228‐1905
SATURN OF GREENSBORO                  1205 BRIDFORD PKWY                                                                               GREENSBORO          NC    27407‐2646
SATURN OF GREENVILLE                  3999 S MEMORIAL DR                                                                               WINTERVILLE         NC    28590‐8653
SATURN OF GREENVILLE, INC.            WILLIAM BRADSHAW               325 WOODRUFF RD                                                   GREENVILLE          SC    29607‐3415
SATURN OF GREENVILLE, SC              325 WOODRUFF RD                                                                                  GREENVILLE          SC    29607‐3415
SATURN OF GREENWOOD                   1287 US 31 SOUTH                                                                                 GREENWOOD           IN    46143
SATURN OF GRESHAM                     3265 SW SUNDIAL AVE                                                                              TROUTDALE           OR    97060‐1285
SATURN OF GURNEE                      6460 GURNEE MILLS CIR W                                                                          GURNEE               IL   60031‐5271
SATURN OF GURNEE                      C/O ROHR VILLE MOTORS          DBA SATURN OF GURNEE      1160 S MILWAUKEE AVE                    LIBERTYVILLE        IL    60046‐3717
SATURN OF GWINNETT                    1145 MEADOW PERCH CT                                                                             LAWRENCEVILLE       GA    30043‐6688
SATURN OF HARLEM                      2485 2ND AVE                                                                                     NEW YORK            NY    10035‐1404
SATURN OF HARRISBURG                  1301 PAXTON ST                                                                                   HARRISBURG          PA    17104‐2630
SATURN OF HARRISONBURG                2465 E MARKET ST                                                                                 HARRISONBURG        VA    22801‐8763
SATURN OF HARRISONBURG                JOSEPH BOWMAN,III              2465 E MARKET ST                                                  HARRISONBURG        VA    22801‐8763
SATURN OF HARTFORD                    519 E BROAD AVE                                                                                  ROCKINGHAM          NC    28379‐3756
SATURN OF HAVERHILL                   724 ROGERS ST                                                                                    LOWELL              MA    01852‐6924
SATURN OF HEMPSTEAD SERVICE           44 OLD FRANKLIN ST                                                                               HEMPSTEAD           NY    11550‐1406
SATURN OF HENDERSON                   310 N GIBSON RD                                                                                  HENDERSON           NV    89014‐6702
SATURN OF HICKORY                     1775 CATAWBA VALLEY BLD SE                                                                       HICKORY             NC    28602
SATURN OF HICKSVILLE                  1500 US HIGHWAY 1                                                                                N BRUNSWICK         NJ    08902‐2011
SATURN OF HIGHLANDS RANCH LLC         7977 W TUFTS AVE                                                                                 LITTLETON           CO    80123‐2401
SATURN OF HOLLAND                     2720 28TH ST SE                                                                                  GRAND RAPIDS        MI    49512‐1621
SATURN OF HONOLULU                    2901 N NIMITZ HWY                                                                                HONOLULU            HI    96819‐1903
SATURN OF HONOLULU                    INDER DOSANJH                  2901 N NIMITZ HWY                                                 HONOLULU            HI    96819‐1903
SATURN OF HOUSTON ‐ SW FREEWAY        10050 SOUTHWEST FWY                                                                              HOUSTON             TX    77074‐1202
SATURN OF HOUSTON‐GULF FREEWAY        11901 GULF FWY                                                                                   HOUSTON             TX    77034‐3537
SATURN OF HOUSTON‐KATY FREEWAY        11750 KATY FWY                                                                                   HOUSTON             TX    77079‐1298
SATURN OF HOUSTON‐NORTHWEST 290       PO BOX 570908                                                                                    HOUSTON             TX    77257‐0908

SATURN OF HUDSON                      943‐947 COMMUNIPAW AVENUE                                                                        JERSEY CITY          NJ   07304
SATURN OF HUNTINGTON                  INTERCOMPANY
SATURN OF HUNTINGTON BEACH            PO BOX 1505                                                                                      SANTA ANA           CA    92735‐0205
SATURN OF HUNTINGTON BEACH            PO BOX 15205                                                                                     SANTA ANA           CA    92735‐0205
SATURN OF HUNTSVILLE                  1010 OLD MONROVIA RD NW                                                                          HUNTSVILLE          AL    35806‐3504
SATURN OF HUNTSVILLE, INC.            CARROLL GATTON                 1010 OLD MONROVIA RD NW                                           HUNTSVILLE          AL    35806‐3504
SATURN OF HURST                       555 NE LOOP 820                                                                                  HURST               TX    76053‐6143
SATURN OF HYANNIS                     115 BASSETT LANE                                                                                 HYANNIS             MA    02601
SATURN OF HYANNIS, INC.               EDWARD LESLIE                  115 BASSETT LANE                                                  HYANNIS             MA    02601
SATURN OF IDAHO, INC.                 JAMES CHALFANT                 8400 W FRANKLIN RD                                                BOISE               ID    83709‐0627
SATURN OF INDIANAPOLIS                5333 W PIKE PLAZA RD                                                                             INDIANAPOLIS        IN    46254‐3008
SATURN OF INDIANAPOLIS PARTS          12933 FORD DR                                                                                    FISHERS             IN    46038‐2899
                                     09-50026-mg              Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                                 Address1                         Address2                  Address3   Address4         City                  State Zip
SATURN OF INVER GROVE                1325 50TH ST E                                                                         INVER GROVE HEIGHTS    MN 55077‐1250
SATURN OF IRVINE                     18 AUTO CENTER DR                                                                      IRVINE                 CA 92618‐2802
SATURN OF IRVING                     1515 S STEMMONS HWY                                                                    LEWISVILLE             TX 75067‐6312
SATURN OF JACKSON                    531 VANN DR                                                                            JACKSON                TN 38305‐2154
SATURN OF JACKSON                    5728 I 55 N                                                                            JACKSON                MS 39211‐2638
SATURN OF JENKINTOWN                 1001 OLD YORK RD                                                                       ABINGTON               PA 19001‐4608
SATURN OF JOLIET                     2861 W JEFFERSON ST                                                                    JOLIET                  IL 60435‐5233
SATURN OF KALAMAZOO                  5281 S 9TH ST                                                                          KALAMAZOO              MI 49009‐9503
SATURN OF KANSAS CITY, INC.          JEFFREY WOLFE                    9550 NW PRAIRIE VIEW RD                               KANSAS CITY            MO 64153‐1816
SATURN OF KEARNY MESA                4525 CONVOY ST                                                                         SAN DIEGO              CA 92111‐2307
SATURN OF KINGS AUTO MALL            9536 KINGS AUTO MALL RD                                                                CINCINNATI             OH 45249‐8238
SATURN OF KINGS AUTOMALL             ROBERT REICHERT                  9536 KINGS AUTO MALL RD                               CINCINNATI             OH 45249‐8238
SATURN OF KNOXVILLE                  10005 PARKSIDE DR                                                                      KNOXVILLE              TN 37922‐2210
SATURN OF KNOXVILLE, INC.            TOM HODGE                        10005 PARKSIDE DR                                     KNOXVILLE              TN 37922‐2210
SATURN OF LACROSSE                   PO BOX 477                                                                             NEENAH                 WI 54957‐0477
SATURN OF LAFAYETTE                  4010 AMBASSADOR CAFFERY PKWY                                                           LAFAYETTE              LA 70503‐5263
SATURN OF LAFAYETTE                  801 SAGAMORE PKWY S                                                                    LAFAYETTE              IN 47905‐4730
SATURN OF LAKE BARRINGTON            28214 W NORTHWEST HWY                                                                  LAKE BARRINGTON         IL 60010‐2324
SATURN OF LAKE CHARLES               1900 SIEBARTH DR                                                                       LAKE CHARLES           LA 70615‐6894
SATURN OF LAKELAND                   1250 W MEMORIAL BLVD                                                                   LAKELAND               FL 33815‐1227
SATURN OF LAKESIDE                   18181 HALL RD                                                                          MACOMB                 MI 48044‐4145
SATURN OF LAKESIDE/PHH               940 RIDGEBROOK RD                                                                      SPARKS                 MD 21152‐9390
SATURN OF LANCASTER                  1530 MANHEIM PIKE                                                                      LANCASTER              PA 17601‐3026
SATURN OF LAS CRUCES                 860 N TELSHOR BLVD                                                                     LAS CRUCES             NM 88011‐8224
SATURN OF LEWISVILLE                 1515 S STEMMONS FWY                                                                    LEWISVILLE             TX 75067‐6312
SATURN OF LEXINGTON                  1450 E NEW CIRCLE RD                                                                   LEXINGTON              KY 40509‐1020
SATURN OF LEXINGTON, INC.            BONNIE QUANTRELL                 1450 E NEW CIRCLE RD                                  LEXINGTON              KY 40509‐1020
SATURN OF LIBERTYVILLE               1160 S MILWAUKEE AVE                                                                   LIBERTYVILLE            IL 60048‐3717
SATURN OF LIMERICK                   22 AUTOPARK BLVD                                                                       LIMERICK               PA 19468‐4264
SATURN OF LINCOLN                    3330 SUPERIOR ST                                                                       LINCOLN                NE 68504‐1233
SATURN OF LIVINGSTON                 343 W MOUNT PLEASANT AVE                                                               LIVINGSTON             NJ 07039‐2730
SATURN OF LONG ISLAND CITY, INC.     INTERCOMPANY
SATURN OF LONGMONT                   1461 VISTA VIEW DR                                                                     LONGMONT              CO   80504‐5243
SATURN OF LOUISVILLE                 2 SWOPE AUTOCENTER DR                                                                  LOUISVILLE            KY   40299‐1862
SATURN OF LOUISVILLE SOUTH           6600 DIXIE HWY                                                                         LOUISVILLE            KY   40258‐3910
SATURN OF LOWELL                     720 ROGERS STREET                                                                      LOWELL                MA   01852
SATURN OF LUBBOCK, INC.              3301 S LOOP 289                                                                        LUBBOCK               TX   79423‐1321
SATURN OF LYNCHBURG                  22022 TIMBERLAKE RD                                                                    LYNCHBURG             VA   24502‐7406
SATURN OF LYNNWOOD                   17305 HIGHWAY 99                                                                       LYNNWOOD              WA   98037‐3143
SATURN OF LYNNWOOD BUSINESS OFFICE   4100 19TH ST SW                                                                        LYNNWOOD              WA   98036

SATURN OF MACON                      3931 RIVER PLACE DR                                                                    MACON                 GA   31210‐1730
SATURN OF MACON                      164 PRINCETON DR                                                                       MACON                 GA   31220‐8739
SATURN OF MADISON                    310 W BELTLINE HWY                                                                     MADISON               WI   53713‐2609
SATURN OF MANASSAS                   8132 SUDLEY RD                                                                         MANASSAS              VA   20109‐3403
SATURN OF MANATEE                    4770 14TH ST W                                                                         BRADENTON             FL   34207‐2001
SATURN OF MANCHESTER                 170 AUTO CENTER RD                                                                     MANCHESTER            NH   03103‐3227
SATURN OF MANSFIELD                  1400 PARK AVE W                                                                        MANSFIELD             OH   44906‐2719
SATURN OF MARIETTA                   1071 COBB PKWY S                                                                       MARIETTA              GA   30060‐9232
SATURN OF MARIETTA                   3355 WINTER WOOD CT                                                                    MARIETTA              GA   30062‐7008
SATURN OF MARLOW HEIGHTS             4601 SAINT BARNABAS RD                                                                 MARLOW HEIGHTS        MD   20748‐1916
SATURN OF MASSAPEQUA                 1500 US HIGHWAY 1                                                                      N BRUNSWICK           NJ   09902‐2011
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SATURN OF MCALLEN                   4220 W EXPRESSWAY 83                                                                          MCALLEN               TX 78501‐3033
SATURN OF MCALLEN                   SHELBY LONGORIA                     4220 W EXPRESSWAY 83                                      MCALLEN               TX 78501‐3033
SATURN OF MEDFORD                   60 MYSTIC AVE                                                                                 MEDFORD               MA 02155‐4623
SATURN OF MEMPHIS                   2420 COVINGTON PIKE                                                                           MEMPHIS               TN 38128‐6908
SATURN OF MEMPHIS, INC.             JOHN R. GWATNEY, SR.                2420 COVINGTON PIKE                                       MEMPHIS               TN 38128‐6908
SATURN OF MENTOR                    6960 CENTER ST                                                                                MENTOR                OH 44060‐4931
SATURN OF MESQUITE                  15900 IH 635                                                                                  MESQUITE              TX 75150
SATURN OF MESQUITE                  15900 LYNDON B JOHNSON FWY                                                                    MESQUITE              TX 75150‐7209
SATURN OF METAIRIE                  3400 N CAUSEWAY BLVD                                                                          METAIRIE              LA 70002‐3509
SATURN OF METRO EAST                501 SALEM PL                                                                                  FAIRVIEW HEIGHTS       IL 62208‐1343
SATURN OF MICHIANA                  4028 GRAPE RD                                                                                 MISHAWAKA             IN 46545‐2612
SATURN OF MICHIANA, INC.            MICHAEL LEEP                        4028 GRAPE RD                                             MISHAWAKA             IN 46545‐2612
SATURN OF MIDDLEBURG HEIGHTS        7629 PEARL RD                                                                                 MIDDLEBURG HEIGHTS    OH 44130‐6554
SATURN OF MILFORD                   881 BOSTON POST RD                                                                            MILFORD               CT 06460‐3531
SATURN OF MILWAUKEE                 8730 N 91ST ST                                                                                MILWAUKEE             WI 53224‐2408
SATURN OF MINNEAPOLIS               7910 LAKELAND AVE N                                                                           MINNEAPOLIS           MN 55445‐2402
SATURN OF MINNEAPOLIS PARTS DEPOT   7910 LAKELAND AVE N                                                                           MINNEAPOLIS           MN 55445‐2402

SATURN OF MOBILE                    1419 EAST I‐65 SERVICE ROAD SOUTH                                                             MOBILE                AL   36606
SATURN OF MOBILE INC
SATURN OF MOBILE, INC               JOEL BULLARD                        6300 PENSACOLA BLVD                                       PENSACOLA            FL    32505‐1902
SATURN OF MODESTO                   4360 MCHENRY AVE                                                                              MODESTO              CA    95356‐1517
SATURN OF MOHAWK VALLEY             COMMERCIAL DR RT 5A                                                                           NEW YORK MILLS       NY    13417
SATURN OF MOHAWK VALLEY, INC.       DAVID COOPER                        COMMERCIAL DR RT 5A                                       NEW YORK MILLS       NY    13417
SATURN OF MONROE                    THAD RYAN                           1101 OLIVER RD                                            MONROE               LA    71201‐5713
SATURN OF MONROE                    1101 OLIVER RD                                                                                MONROE               LA    71201‐5713
SATURN OF MONROEVILLE               4520 WILLIAM PENN HWY                                                                         MONROEVILLE          PA    15146‐2814
SATURN OF MONTGOMERY                3000 EASTERN BYPASS RD                                                                        MONTGOMERY           AL    36116
SATURN OF MONTGOMERY                GEORGE NAHAS                        3000 EASTERN BYPASS RD                                    MONTGOMERY           AL    36116
SATURN OF MOUNDS VIEW               2375 HIGHWAY 10                                                                               SAINT PAUL           MN    55112‐4921
SATURN OF MOUNTAIN EMPIRE           2911 N ROAN ST                                                                                JOHNSON CITY         TN    37601‐1507
SATURN OF MT LAUREL                 1311 ROUTE 73                                                                                 MOUNT LAUREL         NJ    08054‐2215
SATURN OF MT. LAUREL / ARI          9000 MIDLANTIC DR                                                                             MOUNT LAUREL         NJ    08054‐1539
SATURN OF MT. OLIVE                 480 US HIGHWAY 46 W                                                                           HACKETTSTOWN         NJ    07840‐5333
SATURN OF N. CHARLESTON             8261 RIVERS AVE                                                                               NORTH CHARLESTON     SC    29406‐9202
SATURN OF NAPERVILLE                1661 AURORA AVE                                                                               NAPERVILLE           IL    60540‐6102
SATURN OF NAPLES                    425 AIRPORT PULLING RD N                                                                      NAPLES               FL    34104‐3509
SATURN OF NAPLES                    MYERS & FULLER                      2822 REMINGTON GREEN CIRCLE                               TALLAHASSEE          FL    32308
SATURN OF NASHUA                    635 AMHERST ST                                                                                NASHUA               NH    03063‐1017
SATURN OF NATIONAL CITY             2202 NATIONAL CITY BLVD                                                                       NATIONAL CITY        CA    91950‐6506
SATURN OF NEW ORLEANS               3400 N CAUSEWAY BLVD                                                                          METAIRIE             LA    70002‐3509
SATURN OF NEW ORLEANS, INC.         DONALD BOHN                         3400 N CAUSEWAY BLVD                                      METAIRIE             LA    70002‐3509
SATURN OF NEW YORK CITY INC         2142 AUSTIN DR                                                                                TROY                 MI    48083‐2238
SATURN OF NEWARK                    1801 OGLETOWN RD                                                                              NEWARK               DE    19711‐5429
SATURN OF NEWBURGH, INC.            RONALD WEISS SR                     250 N ROUTE 303                                           WEST NYACK           NY    10994‐1608
SATURN OF NEWPORT NEWS              12602 JEFFERSON AVE                                                                           NEWPORT NEWS         VA    23602‐4316
SATURN OF NORTH AURORA              1551 AURORA AVE                                                                               NAPERVILLE           IL    80540‐6102
SATURN OF NORTH COUNTY              3062 PERSHALL RD                                                                              SAINT LOUIS          MO    63136‐4443
SATURN OF NORTH FULTON              11225 ALPHARETTA HWY                                                                          ROSWELL              GA    30076‐1439
SATURN OF NORTH FULTON LLC          MICHAEL L. BOWSHER                  11225 ALPHARETTA HWY                                      ROSWELL              GA    30076‐1439
SATURN OF NORTH HOUSTON             17805 NORTH FWY                                                                               HOUSTON              TX    77090‐4907
SATURN OF NORTH OLMSTED             27000 LORAIN RD                                                                               NORTH OLMSTED        OH    44070‐3212
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Name                               Address1                          Address2                 Address3    Address4         City             State Zip
SATURN OF NORTH ORANGE COUNTY INC. TERRI BOOKER BATCH, PRESIDENT     PO BOX 4357                                           TROY              MI 48099‐4357

SATURN OF NORTHEAST AMERICA, LTD    RICH PERRELLA                    1769 CENTRAL AVE                                      ALBANY           NY 12205‐4734
SATURN OF NORTHWEST ARKANSAS        1700 N SHACKLEFORD RD                                                                  LITTLE ROCK      AR 72212‐4012
SATURN OF NORTHWEST ARKANSAS, INC   RICHARD PARKER                   1700 N SHACKLEFORD RD                                 FAYETTEVILLE     AR 72212‐4012

SATURN OF NORTHWEST INDIANA         1794 W 81ST AVE                                                                        MERRILLVILLE     IN 46410‐5349
SATURN OF NORWOOD                   105‐107 PROVIDENCE HWY                                                                 NORWOOD          MA 02062
SATURN OF OAKLAND AUTOMOTIVE        INDER DOSANJH                    1330 CONCORD AVE                                      CONCORD          CA 94520‐4908
COMPANY
SATURN OF OAKLAWN                   9121 S CICERO AVE                                                                      OAK LAWN         IL    60453‐1804
SATURN OF OKEMOS                    1728 W GRAND RIVER AVE                                                                 OKEMOS           MI    48864‐5825
SATURN OF OKLAHOMA CITY             404 E I 240 SERVICE RD                                                                 OKLAHOMA CITY    OK    73149‐1613
SATURN OF OLATHE                    925 N RAWHIDE RD                                                                       OLATHE           KS    66061‐6900
SATURN OF OLYMPIA                   2255 CARRIAGE LOOP SW                                                                  OLYMPIA          WA    98502‐1017
SATURN OF OLYMPIA, INC.             KEITH HARNISH                    2255 CARRIAGE LOOP SW                                 OLYMPIA          WA    98502‐1017
SATURN OF OMAHA                     14703 WRIGHT ST                                                                        OMAHA            NE    68144‐3284
SATURN OF ONTARIO                   1195 AUTO CENTER DR                                                                    ONTARIO          CA    91761‐2213
SATURN OF ONTARIO                   CORNELIUS MARTIN*                1195 AUTO CENTER DR                                   ONTARIO          CA    91761‐2213
SATURN OF ONTARIO                   INTERCOMPANY
SATURN OF ORANGE COUNTY INC
SATURN OF ORANGE COUNTY, INC.       PO BOX 4357                                                                            TROY             MI    48099‐4357
SATURN OF ORANGE PARK               8105 BLANDING BLVD                                                                     JACKSONVILLE     FL    32244‐5824
SATURN OF ORCHARD PARK              3559 SOUTHWESTERN BLVD                                                                 ORCHARD PARK     NY    14127‐1706
SATURN OF ORCHARD PARK, INC.        SCOTT BIELER                     3559 SOUTHWESTERN BLVD                                ORCHARD PARK     NY    14127‐1706
SATURN OF OREM                      770 S WEST TEMPLE                                                                      SALT LAKE CTY    UT    84101‐2745
SATURN OF ORLANDO                   2725 SOUTH HWY 17‐92                                                                   CASSELBERRY      FL    32707
SATURN OF ORLANDO SOUTH             8620 S ORANGE BLOSSOM TRL                                                              ORLANDO          FL    32809‐7983
SATURN OF OSCEOLA                   8620 S ORANGE BLOSSOM TRL                                                              ORLANDO          FL    32809‐7983
SATURN OF OTTAWA                    1780 E NORRIS DR                                                                       OTTAWA           IL    61350‐1616
SATURN OF OTTAWA                    WILLIAM WALSH                    1780 E NORRIS DR                                      OTTAWA           IL    61350‐1616
SATURN OF OWINGS MILLS              11216 REISTERSTOWN RD                                                                  OWINGS MILLS     MD    21117‐1908
SATURN OF OXFORD VALLEY             390 LINCOLN HWY                                                                        FAIRLESS HILLS   PA    19030‐1203
SATURN OF PALMDALE, INC.            LOU GONZALES                     401 AUTO VISTA DR                                     PALMDALE         CA    93551‐3711
SATURN OF PARAMUS                   101 E STATE RT 4                                                                       PARAMUS          NJ    07652‐2635
SATURN OF PEMBROKE PINES            300 S UNIVERSITY DR                                                                    PEMBROKE PINES   FL    33025‐2236
SATURN OF PENSACOLA                 6300 PENSACOLA BLVD                                                                    PENSACOLA        FL    32505‐1902
SATURN OF PEORIA                    2300 W PIONEER PKWY                                                                    PEORIA           IL    61615‐1834
SATURN OF PEORIA INC.               JAMES SCHERER                    2300 W PIONEER PKWY                                   PEORIA            IL   61615‐1834
SATURN OF PERMIAN BASIN             5201 W LOOP 250 N                                                                      MIDLAND          TX    79707‐3113
SATURN OF PHILADELPHIA              6615 ESSINGTON AVE                                                                     PHILADELPHIA     PA    19153‐3416
SATURN OF PLANO                     4041 W PLANO PKWY                                                                      PLANO            TX    75093‐5614
SATURN OF PLEASANT HILLS            1110 CLAIRTON BLD ROUTE 51                                                             PLEASANT HILLS   PA    15236
SATURN OF PLEASANTON                4200 JOHN MONEGO CT                                                                    DUBLIN           CA    94568‐3111
SATURN OF PLEASANTON                4340 ROSEWOOD DR                                                                       PLEASANTON       CA    94588‐3002
SATURN OF PLYMOUTH                  9301 MASSEY DR                                                                         PLYMOUTH         MI    48170‐4550
SATURN OF PORT RICHEY               11613 US HIGHWAY 19                                                                    PORT RICHEY      FL    34668‐1445
SATURN OF PORTSMOUTH                724 ROGERS ST                                                                          LOWELL           MA    01852‐4338
SATURN OF POUGHKEEPSIE              2309 SOUTH ROAD ‐ ROUTE 9                                                              POUGHKEEPSIE     NY    12601
SATURN OF PUEBLO                    1020 MOTOR CITY DR                                                                     COLORADO SPGS    CO    80905‐7311
SATURN OF PUYALLUP                  720 RIVER RD                                                                           PUYALLUP         WA    98371‐4151
SATURN OF PUYALLUP, INC.            KEITH HARNISH                    720 RIVER RD                                          PUYALLUP         WA    98371‐4151
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Name                                  Address1                        Address2                    Address3                    Address4         City           State Zip
SATURN OF QUAD CITIES                 3750 N HARRISON ST                                                                                       DAVENPORT        IA 52806
SATURN OF RACINE                      4141 S 108TH STREET                                                                                      GREENFIELD      WI 53228‐1905
SATURN OF RALEIGH                     5501 CAPITAL BLVD                                                                                        RALEIGH         NC 27616‐2931
SATURN OF RALEIGH AUTOMOTIVE          WILLIAM MUSGRAVE                1637 SKIBO RD                                                            FAYETTEVILLE    NC 28303‐3481
COMPANY
SATURN OF RALEIGH MARKET AREA INC     2023 PRINCETON AVE                                                                                       CHARLOTTE      NC 28207‐2429

SATURN OF RALEIGH MARKET AREA, INC.   C/O SATURN RETIAL ENTERPRISES   5501 CAPITAL BLVD           ATTN: WILLIAM O. MUSGRAVE                    RALEIGH        NC 27616‐2931

SATURN OF RALEIGH MARKET AREA, INC.   C/O SATURN RETAIL ENTERPRISES   5501 CAPITAL BLVD           ATTN: WILLIAM O. MUSGRAVE                    RALEIGH        NC 27616‐2931

SATURN OF RALEIGH MARKET AREA, INC.   ATTN: WILLIAM O. MUSGRAVE       5501 CAPITAL BLVD                                                        RALEIGH        NC 27616‐2931

SATURN OF RALEIGH MARKET AREA, INC.   WILLIAM O MUSGRAVE              5501 CAPITAL BLVD                                                        RALEIGH        NC 27616‐2931

SATURN OF RALEIGH WHOLESALE PARTS     3301 CAPITAL BLVD                                                                                        RALEIGH        NC 27604‐3339

SATURN OF RAMSEY                      815 STATE RT 17                                                                                          RAMSEY         NJ   07446‐1631
SATURN OF RAYNHAM                     1545 ROUTE 44                                                                                            RAYNHAM        MA   02767‐1045
SATURN OF READING                     2526 CENTRE AVE                                                                                          READING        PA   19605‐2850
SATURN OF READING                     KATHRYN GOODMAN                 2526 CENTRE AVE                                                          READING        PA   19605‐2850
SATURN OF READING PARTS DEPOT         PO BOX 40                                                                                                READING        PA   19607‐0040
SATURN OF REGENCY                     8600 ATLANTIC BLVD                                                                                       JACKSONVILLE   FL   32211‐8742
SATURN OF RENO                        1000 KIETZKE LN                                                                                          RENO           NV   89502‐2712
SATURN OF RENTON                      555 SW GRADY WAY                                                                                         RENTON         WA   98057‐2950
SATURN OF RICHMOND                    11840 MIDLOTHIAN TPKE                                                                                    MIDLOTHIAN     VA   23113‐2622
SATURN OF RICHMOND USED CARS          11650 MIDLOTHIAN TPKE                                                                                    MIDLOTHIAN     VA   23113‐2619
SATURN OF RICHMOND, INC.              HAYWOOD HYMAN                   11840 MIDLOTHIAN TPKE                                                    MIDLOTHIAN     VA   23113‐2622
SATURN OF RIVERDALE                   5212 FREEWAY PARK DR                                                                                     RIVERDALE      UT   84405‐4063
SATURN OF RIVERGATE                   1535 GALLATIN PIKE N                                                                                     MADISON        TN   37115‐2158
SATURN OF RIVERSIDE                   8101 AUTO DR                                                                                             RIVERSIDE      CA   92504‐4103
SATURN OF RIVERSIDE                   DAVID CRAIN                     8101 AUTO DR                                                             RIVERSIDE      CA   92504‐4103
SATURN OF ROANOKE VALLEY              1022 E MAIN ST                                                                                           SALEM          VA   24153‐4420
SATURN OF ROBINSON TWSHP              5200 CAMPBELLS RUN RD                                                                                    PITTSBURGH     PA   15205‐9736
SATURN OF ROCHESTER                   2955 48TH ST NW                                                                                          ROCHESTER      MN   55901‐5848
SATURN OF ROCHESTER                   RICHARD LUPIENT                 2955 48TH ST NW                                                          ROCHESTER      MN   55901‐5848
SATURN OF ROCHESTER                   2955 48TH STREET                                                                                         ROCHESTER      MN
SATURN OF ROCHESTER, INC.             MARCY EDMISTON                  770 PANORAMA TRL S                                                       ROCHESTER      NY   14625‐2317
SATURN OF ROCHESTER, INC.             770 PANORAMA TRL S                                                                                       ROCHESTER      NY   14625‐2317
SATURN OF ROCKFORD                    343 N PERRYVILLE RD                                                                                      ROCKFORD       IL   61107‐6201
SATURN OF ROSEVILLE                   750 AUTOMALL DR                                                                                          ROSEVILLE      CA   95661‐3024
SATURN OF ROSEVILLE                   JOHN SULLIVAN                   750 AUTOMALL DR                                                          ROSEVILLE      CA   95661‐3024
SATURN OF ROSWELL                     1950 ORION DR                                                                                            DECATUR        GA   30038‐4307
SATURN OF ROUTE 23                    400 US HIGHWAY 46                                                                                        TOTOWA         NJ   07512‐1826
SATURN OF ROUTE 23 INC
SATURN OF ROUTE 23 INC                ABOYOUN & HELLER LLC            695 US HIGHWAY 46 STE 401                                                FAIRFIELD      NJ   07004‐1561
SATURN OF ROUTE 23 MEDIATION          SATURN OF ROUTE 23 INC          695 US HIGHWAY 46 STE 401                                                FAIRFIELD      NJ   07004‐1561
SATURN OF ROUTE 23, INC.              RAYMOND MAROON                  400 US HIGHWAY 46                                                        TOTOWA         NJ   07512‐1826
SATURN OF ROUTE 31                    716 W GENESEE ST                                                                                         SYRACUSE       NY   13204‐2306
SATURN OF ROUTE 33                    3830 EASTON NAZARETH HWY                                                                                 EASTON         PA   18045‐8326
SATURN OF ROUTE 422                   420 YOUNGSTOWN WARREN RD                                                                                 NILES          OH   44446‐4354
SATURN OF SAGINAW                     5330 BAY RD                                                                                              SAGINAW        MI   48604‐2538
                                      09-50026-mg             Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
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Name                                  Address1                             Address2                     Address3   Address4                City               State Zip
SATURN OF SAINT CATHARINES LTD        158 SCOTT STREET                     CANADA                                  SAINTE CATHERINE ON L2N
                                                                                                                   1H1 CANADA
SATURN OF SALEM                       4403 COMMERCIAL ST SE                                                                                SALEM               OR   97302‐3915
SATURN OF SALISBURY                   1801 OGLETOWN RD                                                                                     NEWARK              DE   19711‐5429
SATURN OF SALT LAKE                   770 S WEST TEMPLE                                                                                    SALT LAKE CITY      UT   84101‐2745
SATURN OF SALT LAKE, INC.             770 S WEST TEMPLE                                                                                    SALT LAKE CITY      UT   84101‐2745
SATURN OF SALT LAKE, INC.             JEFFREY WETZEL                       770 S WEST TEMPLE                                               SALT LAKE CITY      UT   84101‐2745
SATURN OF SAN ANTONIO                 5720 NW LOOP 410                                                                                     SAN ANTONIO         TX   78238‐2515
SATURN OF SAN ANTONIO N.E.            15678 INTERSTATE 35 N                                                                                SELMA               TX   78154‐3816
SATURN OF SAN ANTONIO, INC.           RICHARD CAVENDER                     5720 NW LOOP 410                                                SAN ANTONIO         TX   78238‐2515
SATURN OF SAN JUAN CAPISTRANO, INC.   INTERCOMPANY

SATURN OF SANTA ANA                   PO BOX 15206                                                                                         SANTA ANA          CA    92735‐0205
SATURN OF SANTA ANA                   PO BOX 4357                                                                                          TROY               MI    48099‐4357
SATURN OF SANTA ANA WAREHOUSE         PO BOX 4357                                                                                          TROY               MI    48099‐4357
SATURN OF SANTA CLARITA               23645 CREEKSIDE RD                                                                                   VALENCIA           CA    91355‐1704
SATURN OF SANTA FE                    2560 CAMINO EDWARD ORTIZ                                                                             SANTA FE           NM    87507‐9740
SATURN OF SANTA MARIA                 2175 S BRADLEY RD                                                                                    SANTA MARIA        CA    93455‐1347
SATURN OF SANTA MARIA, INC.           PATRICK CUSACK                       2175 S BRADLEY RD                                               SANTA MARIA        CA    93455‐1347
SATURN OF SANTA MONICA                976 W SUNSET BLVD                                                                                    W HOLLYWOOD        CA    90069‐3109
SATURN OF SANTA MONICA/SERVICE        9176 W SUNSET BLVD                                                                                   LOS ANGELES        CA    90069‐3109
SATURN OF SANTA ROSA                  3001 CORBY AVE                                                                                       SANTA ROSA         CA    95407‐7884
SATURN OF SARASOTA                    7777 S TAMIAMI TRL                                                                                   SARASOTA           FL    34231‐6841
SATURN OF SARASOTA, INC.              ROBERT GEYER                         4770 14TH ST W                                                  BRADENTON          FL    34207‐2001
SATURN OF SAVANNAH                    14080 ABERCORN ST                                                                                    SAVANNAH           GA    31419‐1935
SATURN OF SCHAUMBURG                  125 W HIGGINS RD                                                                                     HOFFMAN ESTATES     IL   60169‐4913
SATURN OF SCOTTSDALE                  15350 N HAYDEN RD                                                                                    SCOTTSDALE         AZ    85260‐2547
SATURN OF SCOTTSDALE, LLC             GERALD CIMINO                        15350 N HAYDEN RD                                               SCOTTSDALE         AZ    85260‐2547
SATURN OF SCOTTSDALE, LLC             C/O FIVE STAR COLORADO, INC.         1212 MOTOR CITY DR                                              COLORADO SPRINGS   CO    80905‐7315
SATURN OF SEBRING                     400 US HIGHWAY 27 N                                                                                  SEBRING            FL    33870‐2150
SATURN OF SEBRING INC/ENTERPRISE      404 US HIGHWAY 27 N                                                                                  SEBRING            FL    33870‐2150
SATURN OF SEBRING, INC.               ALAN WILDSTEIN                       400 US HIGHWAY 27 N                                             SEBRING            FL    33870‐2150
SATURN OF SEEKONK                     189 TAUNTON AVE ROUTE 44                                                                             SEEKONK            MA    02771
SATURN OF SEEKONK
SATURN OF SHREVEPORT                  8747 BUSINESS PARK DR                                                                                SHREVEPORT         LA    71105‐5612
SATURN OF SILVER SPRING               3221 AUTOMOBILE BLVD                                                                                 SILVER SPRING      MD    20904‐4909
SATURN OF SIOUX FALLS                 4410 W 12TH ST                                                                                       SIOUX FALLS        SD    57107‐0243
SATURN OF SIOUX FALLS, INC.           RANDALL NEHRING                      4410 W 12TH ST                                                  SIOUX FALLS        SD    57107‐0243
SATURN OF SIOUX FALLS, INC.           RANDALL NEHRING                      101 S CAROLYN AVE                                               SIOUX FALLS        SD    57107‐0262
SATURN OF SLIDELL                     3400 N CAUSEWAY BLVD                                                                                 METAIRIE           LA    70002‐3509
SATURN OF SMITHTOWN                   827 MIDDLE COUNTRY RD                                                                                SAINT JAMES        NY    11780‐3212
SATURN OF SOUTH BOULEVARD             9201 SOUTH BLVD                                                                                      CHARLOTTE          NC    28273‐6940
SATURN OF SOUTH BURLINGTON            1089 SHELBURNE RD                                                                                    SOUTH BURLINGTON   VT    05403‐6940
SATURN OF SOUTH COUNTY                11157 LINDBERGH BUSINESS CT                                                                          SAINT LOUIS        MO    63123‐7810
SATURN OF SOUTH HOLLAND               800 E 162ND ST                                                                                       SOUTH HOLLAND      IL    60473‐2440
SATURN OF SOUTH MIAMI/DADE            19250 S DIXIE HWY                                                                                    CUTLER BAY         FL    33157‐7602
SATURN OF SOUTHEAST TEXAS             3865 EASTEX FWY                                                                                      BEAUMONT           TX    77706‐7531
SATURN OF SOUTHERN ILLINOIS           620 S 22ND ST                                                                                        HERRIN             IL    62948‐2151
SATURN OF SOUTHERN ILLINOIS, INC      SAMUEL SHEMWELL                      620 S 22ND ST                                                   HERRIN             IL    62948‐2151
SATURN OF SOUTHFIELD                  29929 TELEGRAPH RD                                                                                   SOUTHFIELD         MI    48034‐7608
SATURN OF SOUTHFIELD                  ATTN: CORPORATE OFFICER/AUTHORIZED   28000 WOODWARD AVE STE 201                                      ROYAL OAK          MI    48067‐0962
                                      AGENT
                                   09-50026-mg            Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                               Address1                           Address2                      Address3   Address4         City              State Zip
SATURN OF SOUTHGATE                16600 FORT ST                                                                                SOUTHGATE          MI 48195‐1440
SATURN OF SOUTHLAKE                7230 JONESBORO RD                                                                            MORROW             GA 30260‐2909
SATURN OF SOUTHWEST OREGON         400 N RIVERSIDE AVE                                                                          MEDFORD            OR 97501‐4603
SATURN OF SPARTANBURG              2671 REIDVILLE RD                                                                            SPARTANBURG        SC 29301‐3586
SATURN OF SPOKANE                  1002 W 2ND AVE                                                                               SPOKANE            WA 99201‐4504
SATURN OF SPRINGFIELD              2350 PRAIRIE CROSSING DR                                                                     SPRINGFIELD         IL 62711‐9498
SATURN OF SPRINGFIELD              3140 S CAMPBELL AVE                                                                          SPRINGFIELD        MO 65807‐4911
SATURN OF SPRINGFIELD              603 E COLUMBUS AVE                                                                           SPRINGFIELD        MA 01105‐2556
SATURN OF SPRINGFIELD              1801 OGLETOWN RD                                                                             NEWARD             DE 19711‐5429
SATURN OF ST PETERSBURG            MYERS & FULLER                     2822 REMINGTON GREEN CIRCLE                               TALLAHASSEE        FL 32308
SATURN OF ST. CHARLES COUNTY       4440 N SERVICE RD                                                                            SAINT PETERS       MO 63376‐3961
SATURN OF ST. GEORGE               1333 SUNLAND DR                                                                              SAINT GEORGE       UT 84790‐5693
SATURN OF ST. PAUL                 3400 US HIGHWAY 61 N                                                                         SAINT PAUL         MN 55110‐5236
SATURN OF ST. PAUL, INC.           DAVID ROEN                         3400 HIGHWAY 61 N                                         WHITE BEAR LAKE    MN 55110‐5236
SATURN OF ST. PETERSBURG           6500 US HIGHWAY 19 N                                                                         PINELLAS PARK      FL 33781‐6238
SATURN OF STAMFORD, INC.           DANZIL PERKINS                     358 CENTRAL AVE                                           WHITE PLAINS       NY 10606‐1210
SATURN OF STATE COLLEGE            1607 N ATHERTON ST                                                                           STATE COLLEGE      PA 16803‐3055
SATURN OF STATEN ISLAND            2519 HYLAN BLVD                                                                              STATEN ISLAND      NY 10306‐4343
SATURN OF STERLING                 46980 HARRY BYRD HWY                                                                         STERLING           VA 20164‐1816
SATURN OF STERLING, INC.           BURKE O'MALLEY                     46980 HARRY BYRD HWY                                      STERLING           VA 20164‐1816
SATURN OF STEVENS CREEK            755 CAPITOL EXPRESSWAY AUTO MALL                                                             SAN JOSE           CA 95136‐1125
SATURN OF STOCKTON                 2991 AUTO CENTER CIR                                                                         STOCKTON           CA 95212‐2830
SATURN OF STUART                   3131 SE FEDERAL HWY                                                                          STUART             FL 34994‐5532
SATURN OF SYRACUSE                 716 W GENESEE ST                                                                             SYRACUSE           NY 13204‐2306
SATURN OF SYRACUSE INC             716 W GENESEE ST                                                                             SYRACUSE           NY 13204‐2306
SATURN OF SYRACUSE, INC.           EMMANUEL BOYKIN                    716 W GENESEE ST                                          SYRACUSE           NY 13204‐2306
SATURN OF SYRACUSE, INC.           716 W GENESEE ST                                                                             SYRACUSE           NY 13204‐2306
SATURN OF SYRACUSE, INC.           ATTN: PRESIDENT/GENERAL MANAGER    716 W GENESEE ST                                          SYRACUSE           NY 13204‐2306
SATURN OF TALLAHASSEE              2412 W TENNESSEE ST                                                                          TALLAHASSEE        FL 32304‐2617
SATURN OF TAMPA                    13131 N FLORIDA AVE                                                                          TAMPA              FL 33612‐3426
SATURN OF TAMPA ADMIN              101 E FLETCHER AVE                                                                           TAMPA              FL 33612‐3404
SATURN OF TAMPA/MISC FLEET         1230 N FEDERAL HWY                                                                           FORT LAUDERDALE    FL 33304
SATURN OF TEMECULA                 PO BOX 892830                                                                                TEMECULA           CA 92589‐2830
SATURN OF TEMPE                    7799 S AUTOPLEX LOOP                                                                         TEMPE              AZ 85284‐1021
SATURN OF TEMPLE                   PO BOX 1928                                                                                  TEMPLE             TX 76503
SATURN OF TERRE HAUTE              5377 S US HIGHWAY 41                                                                         TERRE HAUTE        IN 47802‐4718
SATURN OF TEXARKANA                806 SOWELL LANE                                                                              TEXARKANA          TX 75503
SATURN OF THE ADIRONDACKS          1769 CENTRAL AVE                                                                             ALBANY             NY 12205‐4734
SATURN OF THE AVENUES              10863 PHILIPS HWY                                                                            JACKSONVILLE       FL 32256‐1552
SATURN OF THE AVENUES              10863 PHILLIPS HWY                                                                           JACKSONVILLE       FL
SATURN OF THE AVENUES/ENTERPRISE   10863 PHILLIPS HWY                                                                           JACKSONVILLE       FL
SATURN OF THE AVENUES/ENTERPRISE   10863 PHILIPS HWY                                                                            JACKSONVILLE       FL 32256‐1552
SATURN OF THE AVENUES/VANGUARD     6929 N LAKEWOOD AVE STE 100                                                                  TULSA              OK 74117‐1824
SATURN OF THE COACHELLA VALLEY     78960 VARNER RD INDIO                                                                        INDIO              CA 92203
SATURN OF THE LAKES                200 E BURLEIGH BLVD                                                                          TAVARES            FL 32778‐2404
SATURN OF THE VALLEY               585 STATE AVE                                                                                EMMAUS             PA 18049‐3053
SATURN OF THE VALLEY               15421 ROSCOE BLVD                                                                            NORTH HILLS        CA 91343‐6528
SATURN OF THE VALLEY PARTS DEPOT   7868 ORION AVE                                                                               VAN NUYS           CA 91406‐2026
SATURN OF THE VALLEY, INC.         HERBERT BOECKMANN                  15421 ROSCOE BLVD                                         NORTH HILLS        CA 91343‐6528
SATURN OF THORNTON ROAD            1071 COBB PKWY S                                                                             MARIETTA           GA 30060‐9232
SATURN OF TIFFANY SPRINGS          9550 NW PRAIRIE VIEW RD                                                                      KANSAS CITY        MO 64153‐1816
SATURN OF TIFFANY SPRINGS          1011 W 103RD ST STE 200                                                                      KANSAS CITY        MO 64114‐4517
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Name                             Address1                         Address2                     Address3               Address4         City               State Zip
SATURN OF TINLEY PARK            8355 W 159TH ST                                                                                       TINLEY PARK          IL 60477‐1220
SATURN OF TINLEY PARK,
SATURN OF TOLEDO                 6141 W CENTRAL AVE                                                                                    TOLEDO             OH    43615‐1805
SATURN OF TOLEDO, INC.           FRANKLIN KISTLER                 6141 W CENTRAL AVE                                                   TOLEDO             OH    43615‐1805
SATURN OF TOMS RIVER             1199 ROUTE 37 E                                                                                       TOMS RIVER         NJ    08753‐5700
SATURN OF TOMS RIVER INC         C/O LOWENSTEIN SANDLER PC        ATTN ANDREW DAVID BEHLMANN   65 LIVINGSTON AVENUE                    ROSELAND           NJ    07068

SATURN OF TOMS RIVER INC         LOWENSTEIN SANDLER PC            ATTN ANDREW DAVID BEHLMANN   65 LIVINGSTON AVE                       ROSELAND            NJ   07068

SATURN OF TOMS RIVER INC         LOWENSTEIN SANDLER PC            ATTN ANDREW DAVID BEHLMANN   65 LIVINGSTON AVE                       ROSELAND            NJ   07068

SATURN OF TOPEKA                 3731 SW TOPEKA BLVD                                                                                   TOPEKA             KS    66609‐1229
SATURN OF TORRANCE               20410 HAWTHORNE BLVD                                                                                  TORRANCE           CA    90503‐2404
SATURN OF TOTOWA                 400 US HIGHWAY 46                                                                                     TOTOWA             NJ    07512‐1826
SATURN OF TRAVERSE CITY          3566 N US HIGHWAY 31 S                                                                                TRAVERSE CITY      MI    49684‐4542
SATURN OF TRAVERSE CITY, INC.    MICHAEL MARSH                    3566 N US HIGHWAY 31 S                                               TRAVERSE CITY      MI    49684‐4542
SATURN OF TREVOSE                4437 E STREET RD                                                                                      TREVOSE            PA    19053‐4984
SATURN OF TREVOSE, INC.          ROBERT LEWIS                     4437 E STREET RD                                                     TREVOSE            PA    19053‐4984
SATURN OF TRI‐COUNTY             95 W KEMPER RD                                                                                        SPRINGDALE         OH    45246‐2509
SATURN OF TROY                   1790 MAPLELAWN DR                                                                                     TROY               MI    48084‐4611
SATURN OF TROY, INC.             DAVID FISCHER                    1790 MAPLELAWN DR                                                    TROY               MI    48084‐4611
SATURN OF TUCSON                 6350 E GRANT RD                                                                                       TUCSON             AZ    85715‐3817
SATURN OF TULSA                  7830 E 91ST ST                                                                                        TULSA              OK    74133‐6018
SATURN OF TURNERSVILLE           3100 ROUTE 42                                                                                         SICKLERVILLE       NJ    08081‐4056
SATURN OF TYLER                  PO BOX 9400                                                                                           TYLER              TX    75711‐9400
SATURN OF TYLER                  BERT ARNLUND                     PO BOX 9400                                                          TYLER              TX    75711‐9400
SATURN OF UNION                  2675 US HIGHWAY 22 W                                                                                  UNION              NJ    07083‐8505
SATURN OF UNION CITY             4100 JONESBORO RD                                                                                     UNION CITY         GA    30291‐2263
SATURN OF UNION, INC.            JAMES TINO SR                    2675 US HIGHWAY 22 W                                                 UNION              NJ    07083‐8505
SATURN OF VACAVILLE              3001 CORBY AVE                                                                                        SANTA ROSA         CA    95407‐7884
SATURN OF VANCOUVER              3608A N E AUTOMALL DR                                                                                 VANCOUVER          WA    98662
SATURN OF VENTURA                6500 AUTO CENTER DR                                                                                   VENTURA            CA    93003‐7211
SATURN OF VERMONT, INC.          TODD MOBLEY                      1089 SHELBURNE RD                                                    SOUTH BURLINGTON   VT    05403‐6940
SATURN OF VERO BEACH             1220 N MILITARY TRL                                                                                   WEST PALM BEACH    FL    33409‐5015
SATURN OF VIRGINIA BEACH         1808 LASKIN RD                                                                                        VIRGINIA BEACH     VA    23454‐4505
SATURN OF VIRGINIA BEACH         STEPHEN KLIMKIEWICZ              1808 LASKIN RD                                                       VIRGINIA BEACH     VA    23454‐4505
SATURN OF VIRGINIA BEACH, INC.   HAYWOOD HYMAN                    12602 JEFFERSON AVE                                                  NEWPORT NEWS       VA    23602‐4316
SATURN OF VISALIA                705 S BEN MADDOX WAY                                                                                  VISALIA            CA    93292‐3622
SATURN OF WACO                   4824 W WACO DR                                                                                        WACO               TX    76710‐7018
SATURN OF WALDORF                2286 CRAIN HWY                                                                                        WALDORF            MD    20601‐3145
SATURN OF WALLINGFORD            1164 N COLONY RD                                                                                      WALLINGFORD        CT    06492‐1730
SATURN OF WALLINGFORD, INC.      JOHN ORSINI                      1164 N COLONY RD                                                     WALLINGFORD        CT    06492‐1730
SATURN OF WARREN                 7830 CONVENTION BLVD                                                                                  WARREN             MI    48092‐3881
SATURN OF WARWICK                1511 BALD HILL RD                                                                                     WARWICK            RI    02886‐4240
SATURN OF WATERTOWN              PO BOX 249                                                                                            NEW YORK MLS       NY    13417‐0249
SATURN OF WATERTOWN              715 STRAITS TPKE                                                                                      WATERTOWN          CT    06795‐3318
SATURN OF WAUKESHA               1610 MANHATTAN DR                                                                                     WAUKESHA           WI    53186‐3900
SATURN OF WAUKESHA, INC.         GORDON BOUCHER                   1610 MANHATTAN DR                                                    WAUKESHA           WI    53186‐3900
SATURN OF WAUSAU                 PO BOX 477                                                                                            NEENAH             WI    54957‐0477
SATURN OF WAUSAU
SATURN OF WEST 78                2205 VISTA WAY                                                                                        OCEANSIDE          CA 92054‐5661
SATURN OF WEST BROAD             11840 MIDLOTHIAN TPKE                                                                                 MIDLOTHIAN         VA 23113‐2622
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Name                                  Address1                        Address2                      Address3   Address4         City               State Zip
SATURN OF WEST BROWARD                3100 N UNIVERSITY DR                                                                      SUNRISE             FL 33351‐6716
SATURN OF WEST BROWARD                KING SATURN LTD                 2822 REMINGTON GREEN CIRCLE                               TALLAHASSEE         FL 32308
SATURN OF WEST BROWARD                SATURN OF FT LAUDERDALE         2822 REMINGTON GREEN CIRCLE                               TALLAHASSEE         FL 32308
SATURN OF WEST CHESTER                700 WESTTOWN RD                                                                           WEST CHESTER        PA 19382‐4954
SATURN OF WEST COUNTY                 722 LONG ROAD CROSSING DR                                                                 CHESTERFIELD        MO 63005‐1162
SATURN OF WEST LIBERTY AVENUE         2855 W LIBERTY AVE                                                                        PITTSBURGH          PA 15216‐2609
SATURN OF WEST NYACK                  250 N ROUTE 303                                                                           WEST NYACK          NY 10994‐1608
SATURN OF WEST PALM BEACH             1220 N MILITARY TRL                                                                       WEST PALM BEACH     FL 33409‐6015
SATURN OF WEST PHOENIX INC.           DENNIS LUNDE                    8801 W BELL RD                                            PEORIA              AZ 85382‐3711
SATURN OF WEST PHOENIX, INC.          DENNIS LUNDE                    10685 W PAPAGO FWY                                        AVONDALE            AZ 85323‐5313
SATURN OF WEST PHOENIX, INC.          8801 W BELL RD                                                                            PEORIA              AZ 85382‐3711
SATURN OF WEST RIDGE                  4692 RIDGE RD W                                                                           SPENCERPORT         NY 14559‐1522
SATURN OF WEST SAHARA                 310 N GIBSON RD                                                                           HENDERSON           NV 89014‐6702
SATURN OF WESTBROOK                   1 SAUNDERS WAY                                                                            WESTBROOK           ME 04092‐4788
SATURN OF WESTERN HILLS               2301 FERGUSON RD                                                                          CINCINNATI          OH 45238‐3502
SATURN OF WEXFORD                     10247 PERRY HWY                                                                           WEXFORD             PA 15090‐9221
SATURN OF WEXFORD, INC.               WILLIAM NUMRICH                 10247 PERRY HWY                                           WEXFORD             PA 15090‐9221
SATURN OF WHITE BEAR LAKE             3400 HIGHWAY 61 N                                                                         WHITE BEAR LAKE     MN 55110‐5236
SATURN OF WHITE PLAINS                358 CENTRAL AVE                                                                           WHITE PLAINS        NY 10606‐1210
SATURN OF WHITE RIVER                 1089 SHELBURNE RD                                                                         S BURLINGTON        VT 05403‐6940
SATURN OF WHITTIER                    13809 WHITTIER BLVD                                                                       WHITTIER            CA 90605‐1907
SATURN OF WICHITA                     11200 E CENTRAL AVE                                                                       WICHITA             KS 67206‐2801
SATURN OF WICHITA/WEST                8800 W CENTRAL AVE                                                                        WICHITA             KS 67212‐3829
SATURN OF WILKES BARRE, INC.          2140 SANS SOUCI PKWY                                                                      WILKES BARRE        PA 18706‐5002
SATURN OF WILKES BARRE, INC.          EDWIN D BIAGAS, JR.             2140 SOUCI PARKWAY                                        WILKES BARRE        PA 18702
SATURN OF WILMINGTON                  4951 NEW CENTRE DR                                                                        WILMINGTON          NC 28403‐1662
SATURN OF WINCHESTER                  3019 VALLEY AVE                                                                           WINCHESTER          VA 22601‐2634
SATURN OF WINCHESTER, L.L.C.          BURKE O'MALLEY                  3019 VALLEY AVE                                           WINCHESTER          VA 22601‐2634
SATURN OF WINSTON‐SALEM               1400 S STRATFORD RD                                                                       WINSTON SALEM       NC 27103‐2902
SATURN OF WOODBRIDGE                  15701 BLACKBURN RD                                                                        WOODBRIDGE          VA 22191‐4102
SATURN OF WOODBRIDGE                  CHRISTOPHER LINDSAY             15701 BLACKBURN RD                                        WOODBRIDGE          VA 22191‐4102
SATURN OF WORCESTER                   70 GOLD STAR BLVD                                                                         WORCESTER           MA 01606‐2812
SATURN OF WYOMING VALLEY              2140 SANS SOUCI PKWY                                                                      HANOVER TOWNSHIP    PA 18706‐5002
SATURN OF YORK                        951 N HILLS RD                                                                            YORK                PA 17402‐2232
SATURN OF YORK ROAD                   801 YORK RD                                                                               TOWSON              MD 21204‐2509
SATURN P/T MFG OPERATIONS SUPPORT     100 SATURN PKWY                 P.O. BOX 1500 MD J‐16                                     SPRING HILL         TN 37174‐2492
TEAM
SATURN PLYMOUTH/MI                    9301 MASSEY DR                                                                            PLYMOUTH           MI    48170‐4550
SATURN POW/ENGINE                     ENGINE ASSEMBLY                 HIGHWAY 31 SOUTH                                          SPRING HILL        TN    37174
SATURN POW/MAN TRANS                  MANUAL TRANSMISSION ASSEMBLY    HIGHWAY 31 SOUTH                                          SPRING HILL        TN    37174
SATURN PT MFG/SPRNGH                  100 SATURN PKWY                 P.O. BOX 1500 MD J‐16                                     SPRING HILL        TN    37174‐2492
SATURN PT/TN                          100 SATURN PKWY                                                                           SPRING HILL        TN    37174‐2492
SATURN RETAIL COMPANY OF TENNESSEE,   6025 INTERNATIONAL DR                                                                     CHATTANOOGA        TN    37421‐1617
INC.
SATURN RETAIL OF CHARLESTON SC, LLC   ROBERT CREWS                    8261 RIVERS AVE                                           NORTH CHARLESTON    SC   29406‐9202

SATURN RETAIL OF EAST BAY, CA, LLC    SATURN CORPORATION              100 SATURN PKWY                                           SPRING HILL        TN 37174‐2492
SATURN RETAIL OF LONG BEACH CA, LLC   MONIR SOBH                      18400 STUDEBAKER RD                                       CERRITOS           CA 90703‐5345

SATURN RETAIL OF N TEXAS INC         C/O SATURN CORP ATTN R H TROST   400 RENAISSANCE CENTER                                    DETROIT            MI 48265‐0001
SATURN RETAIL OF NEW HAMPSHIRE, INC. MARSHALL JESPERSEN               170 AUTO CENTER RD                                        MANCHESTER         NH 03103‐3227
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SATURN RETAIL OF NORTH TEXAS          C/O SATURN CORP ATTN R H TROST      MC482 D13 # D82               400 RENAISSANCE CENTER                             DETROIT             MI 48265‐0001
SATURN RETAIL OF NORTH TEXAS, INC.    C/O SATURN CORPORATION              100 SATURN PKWY               P.O. BOX 1500                                      SPRING HILL         TN 37174‐2492
SATURN RETAIL OF PENNSYLVANIA INC     400 RENAISSANCE CTR                 MC 482‐D13‐D82 ATTNRON                                                           DETROIT             MI 48265‐4000
                                                                          REDFERN
SATURN RETAIL OF PENNSYLVANIA, INC.   EDWIN BIAGAS                        2140 SANS SOUCI PKWY                                                             HANOVER TOWNSHIP   PA 18706‐5002

SATURN RETAIL OF RALEIGH NC, LLC      RICHARD H. TROST                    100 SATURN PKWY               MAIL CODE 371‐999‐F10                              SPRING HILL        TN 37174‐2492
SATURN RETAIL OF S TEXAS INC          C/O SATURN CORP ATTN R H TROST      MC482 D13 # D82               400 RENAISSANCE CENTER                             DETROIT            MI 48265‐0001
SATURN RETAIL OF SOUTH CALIFORNIA,    RICHARD H. TROST                    100 SATURN PKWY               MC 371‐999‐F10                                     SPRING HILL        TN 37174‐2492
INC.
SATURN RETAIL OF SOUTH CALIFORNIA,    100 SATURN PKWY                                                                                                      SPRING HILL        TN 37174‐2492
INC.
SATURN RETAIL OF SOUTH CALIFORNIA,    STEVE W. GRIFFIN                    100 SATURN PKWY               MC 371‐999‐F10                                     SPRING HILL        TN 37174‐2492
INC.
SATURN RETAIL OF SOUTH TEXAS, INC.    C/O SATURN CORPORATION              100 SATURN PKWY               P.O. BOX 1500                                      SPRING HILL        TN 37174‐2492
SATURN SAAB BROSSARD                  5950 BOUL MARIE VICTORIN                                                                   BROSSARD PQ J4W 1A4
                                                                                                                                 CANADA
SATURN SAAB ISUZU OF LONDON DEALER 940 WHARNCLIFFE ROAD SOUTH                                                                    LONDON CANADA ON N6L
96348                                                                                                                            1K3 CANADA
SATURN SAAB ISUZU ON THE QUEENSWAY 1652 THE QUEENSWAY                                                                            TORONTO ON M8Z 1X1
LTD.                                                                                                                             CANADA
SATURN SAAB OF LONDON /HULLY GULLY 940 WHARNCLIFFE RD SOUTH                                                                      LONDON CANADA ON N6L
                                                                                                                                 1K3 CANADA
SATURN SAAB OR LONDON/HULLY GULLY     547 TRAFALGAR ROAD                                                                         OAKVILLE CANADA ON L6J
                                                                                                                                 3L1
SATURN SCALE SYSTEMS
SATURN SOUTHWEST FLORIDA LLC          MYERS & FULLER                      2822 REMINGTON GREEN CIRCLE                                                      TALLAHASSEE         FL   32308
SATURN SOUTHWEST FLORIDA LLC          SATURN OF CAPE CORAL                MYERS & FULLER                2822 REMINGTON GREEN                               TALLAHASSEE         FL   32308
                                                                                                        CIRCLE
SATURN SOUTHWEST FLORIDA LLC          SATURN OF FT MYERS                  MYERS & FULLER                2822 REMINGTON GREEN                               TALLAHASSEE         FL   32308
                                                                                                        CIRCLE
SATURN SOUTHWEST FLORIDA LLC          SATURN OF NAPLES                    MYERS & FULLER                2822 REMINGTON GREEN                               TALLAHASSEE         FL   32308
                                                                                                        CIRCLE
SATURN SPACE COAST                  4340 W NEW HAVEN AVE                                                                                                   MELBOURNE           FL   32904‐3320
SATURN TIRE & RUBBER CO., INC.
SATURN VTI CLASSACTION CLASS MEMBER DARILYN ZIEGLER                       9615 GREEN SPRUCE DR                                                             LAKELAND           TN 38002

SATURN/NORTH                          8600 NORTH HIGH STREET                                                                                               WORTHINGTON        OH    43085
SATURN/SOUTHEAST                      4141 HAMILTON SQUARE BLVD                                                                                            GROVEPORT          OH    43125‐9084
SATURN/WEST                           3880 FISHINGER BLVD                                                                                                  HILLIARD           OH    43026‐9551
SATURNINA GONZALEZ                    2112 SPENCER PORT RD                                                                                                 ROCHESTER          NY    14606‐3263
SATURNINO MARTE                       576 PAULISON AVE                                                                                                     CLIFTON            NJ    07011‐4119
SATURNINO ROMAN                       1401 GREENWOOD AVE                                                                                                   TRENTON            NJ    08609‐2209
SATURNO SPA                           VIA MORANDI 101                                                                            GRUGLIASSCO 10095 ITALY
SATUSHEK, EILEEN V                    C/O SUPERIOR NATIONAL BANK& TRUST   PO BOX 138                                                                       DOLLAR BAY         MI 49922
                                      CO
SATYA ARTS ASSOCIATION                80 ACORN PLACE                                                                             MISSISSAUGA ON CANADA
SATYA VEERAPANENI                     PO BOX 9022                         BARODA                                                                           WARREN             MI 48090‐9022
SATYAJIT NALAVADE
SATYAM COMPUTER SERVICES LTD          1 GATEHALL DR STE 301                                                                                                PARSIPPANY         NJ 07054‐4514
SATYAM COMPUTER SERVICES LTD          SHAILENDER JAIN                     26677 W 12 MILE RD                                                               SOUTHFIELD         MI 48034‐1514
SATYAM COMPUTER SERVICES LTD          300 GALLERIA OFFICENTRE STE 322                                                                                      SOUTHFIELD         MI 48034‐8429
                                   09-50026-mg            Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                              Address1                        Address2                       Address3   Address4                City               State Zip
SATYAM COMPUTER SERVICES, LTD.    MAYFAIR CENTRE                  S.P. ROAD, SECUNDERBAND                   ANDHRA PRADESH, 500 0
                                                                                                            INDIA
SATYAM VENTURE ENGINEERING SERVICES ASHOKA MYHOME CHAMBERS        1‐8‐301‐306 3RD FL SP RD                  ANDHRA PRADESH INDIA
                                                                                                            INDIA
SATYANARAYANA                     950 S MAIN ST STE 2                                                                               CELINA             OH    45822‐2467
SATYANARAYANA M REPAKA            2613 SYLVAN AVE                                                                                   WILMINGTON         DE    19805‐2344
SATYSHUR, JEFFREY L               7060 E COUNTY ROAD 700 N                                                                          BROWNSBURG         IN    46112
SAU TRAN                          8881 NIXON RD                                                                                     GRAND LEDGE        MI    48837‐9406
SAUBER BARBARA                    SAUBER, BARBARA                 25176 N VIRGINIA AVE                                              LAKE ZURICH        IL    60047
SAUBER MANUFACTURING              6711 BUILDING B, BINGLE ROAD                                                                      HOUSTON            TX    77092
SAUBER, BARBARA                   25176 N VIRGINIA AVE                                                                              LAKE ZURICH        IL    60047‐8960
SAUBER, BARBARA AND DANIEL        BARBARA SAUBER                  25176 N VIRGINIA AVE                                              LAKE ZURICH        IL    60047‐8960
SAUBER, KATHLEEN A                1299 WEEDEN RD                                                                                    CARO               MI    48723‐8912
SAUBERAN, FRANK E                 12603 COWENS CORNERS RD                                                                           CONEWANGO VALLEY   NY    14726‐9708
SAUBERT, HAROLD E                 1313 CLINTON AVE                                                                                  ALEXANDRIA         IN    46001‐2707
SAUBERT, PRINCE E                 5326 LEWIS DR                                                                                     ANDERSON           IN    46013‐1537
SAUCEDA JR, ELISEO                130 PROSPERITY ST                                                                                 MERCEDES           TX    78570‐3940
SAUCEDA JR, OVIDIO                19577 ROAD D                                                                                      CONTINENTAL        OH    45831
SAUCEDA, CHRISTINE                PO BOX 2741                                                                                       TUCSON             AZ    85702
SAUCEDA, GUADALUPE S              809 W NORTHRUP ST                                                                                 LANSING            MI    48911‐3638
SAUCEDA, JOSE                     PO BOX 112                                                                                        HAMLER             OH    43524‐0112
SAUCEDA, JUAN C                   PO BOX 443                                                                                        CARRIZO SPRINGS    TX    78834‐6443
SAUCEDA, JUAN H                   612 W PAISANO LN                                                                                  WESLACO            TX    78596‐4133
SAUCEDA, JUAN H                   612 WEST PAISANO LANE                                                                             WESLACO            TX    78596‐4133
SAUCEDA, MARIA                    RR 7 BOX 941                                                                                      LUBBOCK            TX    79403‐9409
SAUCEDA, MONA                     462 CAMERON AVE                                                                                   PONTIAC            MI    48342‐1812
SAUCEDA, NARCISO                  3022 S 1ST ST                                                                                     MCALLEN            TX    78503‐1302
SAUCEDA, OVIDIO B                 PO BOX 1812                     HB 37                                                             MARION             OH    43301‐1812
SAUCEDA, RICARDO V                4728 BRISTOL ST                                                                                   LANSING            MI    48910‐6109
SAUCEDA, RUBEN                    817 ERIEVIEW RD                                                                                   CURTICE            OH    43412‐9447
SAUCEDA, SANDRA S                 PO BOX 43‐1494                                                                                    PONTIAC            MI    48343
SAUCEDO, CARLOS C                 1810 PORTSMOUTH DR                                                                                ARLINGTON          TX    76018‐1884
SAUCEDO, CARLOS CARREON           1810 PORTSMOUTH DR                                                                                ARLINGTON          TX    76018‐1884
SAUCEDO, CONSUELO                 4847 PROCTOR ST                                                                                   DETROIT            MI    48210‐2231
SAUCEDO, DAVID S                  7005 SPANISH BAY CT                                                                               RIVERBANK          CA    95367‐3325
SAUCEDO, FELIX                    9999 IMPERIAL HWY APT 205                                                                         DOWNEY             CA    90242‐3231
SAUCEDO, FRANK                    705 MAYWOOD CT                                                                                    WESTLAKE VILLAGE   CA    91362‐5427
SAUCEDO, JOSE                     3180 DIXIE CT                                                                                     SAGINAW            MI    48601‐5914
SAUCEDO, JUAN                     1815 RIBBLE ST                                                                                    SAGINAW            MI    48601‐6857
SAUCEDO, MARIA A                  5702 FLANDERS RD                                                                                  TOLEDO             OH    43623‐1037
SAUCEDO, MARIA ANTONIA            5702 FLANDERS RD                                                                                  TOLEDO             OH    43623‐1037
SAUCEDO, RAUL S                   2045 W 17TH ST                                                                                    CHICAGO            IL    60608‐1814
SAUCEDO, ROBERTO                  4304 LAMAR DR                                                                                     DEL CITY           OK    73115‐4418
SAUCEMAN, DANIEL F                30517 GLENWOOD CIR                                                                                WARREN             MI    48088‐3371
SAUCEMAN, NORMA O                 20 WALKER CIR                                                                                     GIRARD             OH    44420‐1274
SAUCEMAN, NORMA O                 20 WALKER CIRCLE                                                                                  GIRARD             OH    44420‐1274
SAUCEMAN, PATRICIA A              1549 MADELINE DR. S.E.                                                                            MASURY             OH    44438‐4438
SAUCEMAN, PATRICIA A              1549 MADELINE ST                                                                                  MASURY             OH    44438‐1535
SAUCERMAN CLYDE CHRISTA M         ICO THE LANIER LAW FIRM PC      6810 FM 1960 WEST                                                 HOUSTON            TX    77069
SAUCERMAN
SAUCERMAN, BARBARA                1145 MILTON AVENUE                                                                                JANESVILLE          WI 53545‐1825
SAUCERMAN, CLYDE                  LANIER LAW FIRM                 6810 FM 1960 WEST SUITE 1550                                      HOUSTON             TX 77069
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Name                          Address1                         Address2                         Address3   Address4             City           State Zip
SAUCERMAN, DAVID E            5802 HALSEY ST                                                                                    SHAWNEE         KS 66216‐1972
SAUCERMAN, GARY L             4432 W HINSHAW RD                                                                                 MONROVIA        IN 46157‐9307
SAUCERMAN, JERRY R            6368 N BRUMMETT RD                                                                                QUINCY          IN 47456‐9451
SAUCERMAN, KELLI D            6419 N FISK CT                                                                                    KANSAS CITY     MO 64151‐1380
SAUCERMAN, LEWIS A            8144 S COUNTY ROAD 950 E                                                                          CLOVERDALE      IN 46120‐8902
SAUCERMAN, MARION W           3343 W HINSHAW RD                                                                                 MONROVIA        IN 46157‐9302
SAUCERMAN, PATRICK D          6419 N FISK CT                                                                                    KANSAS CITY     MO 64151‐1380
SAUCERMAN,CARI                24635 W 55TH ST                                                                                   SHAWNEE         KS 66226‐2930
SAUCHELLI, ANN M              2007 BROOKFIELD GLEN DR                                                                           BELVIDERE       NJ 07823
SAUCIER JOHN                  SAUCIER, JOHN                    ONE LAKESHORE DRIVE SUITE 1800                                   LAKE CHARLES    LA 70629

SAUCIER JR, ALFRED R          427 LYMAN LAKE RD                                                                                 LYMAN          SC   29365‐9521
SAUCIER MARVIN                SAUCIER, COURTNEY                3009 STRAWBERRY RD                                               PASADENA       TX   77502‐5216
SAUCIER MARVIN                SAUCIER, MARVIN                  3009 STRAWBERRY RD                                               PASADENA       TX   77502‐5216
SAUCIER MARVIN                SAUCIER, MELISSA                 3009 STRAWBERRY RD                                               PASADENA       TX   77502‐5216
SAUCIER, ALBERT               307 PAPAYA CIR                                                                                    BAREFOOT BAY   FL   32976‐6850
SAUCIER, ARTHUR E             5396 LINDEN RD                                                                                    SWARTZ CREEK   MI   48473‐8274
SAUCIER, BRIAN                8 ISABEL STREET                                                                                   MASSENA        NY   13662‐2503
SAUCIER, BRIAN                2727 W 18TH ST APT 256                                                                            HOUSTON        TX   77008
SAUCIER, COURTNEY             GIDDENS ALBERT LEE               3009 STRAWBERRY RD                                               PASADENA       TX   77502‐5216
SAUCIER, DOROTHY L            6609 SWALLOW DR                                                                                   HARRISON       MI   48625‐9049
SAUCIER, IRMA M               1226 FRANKLIN DR                                                                                  PORT ORANGE    FL   32129‐4071
SAUCIER, JOHN                 CHESSON, CHRISTIAN D             1 LAKESHORE DR STE 1800                                          LAKE CHARLES   LA   70629‐0123
SAUCIER, MARVIN               GIDDENS ALBERT LEE               3009 STRAWBERRY RD                                               PASADENA       TX   77502‐5216
SAUCIER, MARVIN               1805 AUTREY DR                                                                                    DEER PARK      TX   77536‐4644
SAUCIER, MELISSA              1805 AUTREY DR                                                                                    DEER PARK      TX   77536‐4644
SAUCIER, MELISSA              ALBERT GIDDENS                   3009 STRAWBERRY RD                                               PASADENA       TX   77502‐5216
SAUCIER, PAUL R               221 MARION DR                    B‐101                                                            ROCKPORT       TX   78382
SAUCIER, PAUL RICHARD         # 1C                             1924 WEST TERRACE BOULEVARD                                      ROCKPORT       TX   78382‐6252
SAUCIER, ROBERT H             2433 S RIVERSIDE DR                                                                               BELOIT         WI   53511
SAUCIER, ROBERT M             1000 PALM AVE                    ROBERT M SAUCIER C/O PALM                                        MATTOON        IL   61938‐6031
                                                               TERRAC
SAUCIER, RONALD D             4522 PALMETTO RD                                                                                  BENTON         LA   71006‐9710
SAUCILLO PABLO                623 LA PALOMA AVE                                                                                 ALHAMBRA       CA   91801‐3041
SAUCILLO, JESUS O             4881 WIOTA ST                                                                                     LOS ANGELES    CA   90041
SAUCILLO, PABLO M             623 LA PALOMA AVE                                                                                 ALHAMBRA       CA   91801‐3041
SAUCKE, MICHAEL L             1395 CRAIG DR                                                                                     LOMPOC         CA   93436‐8314
SAUDER CHEVROLET COMPANY      350 S MAIN ST                                                                                     MANHEIM        PA   17545‐2213
SAUDER CHEVROLET COMPANY      LARRY SAUDER                     350 S MAIN ST                                                    MANHEIM        PA   17545‐2213
SAUDER, CAROLINE M            1600 LUCAS NORTH RD                                                                               LUCAS          OH   44843‐9536
SAUDER, FRANK                 1149 W 40TH ST                                                                                    FREMONT        MI   49412‐7926
SAUDER, GARY W                2538 KERR RD                                                                                      LUCAS          OH   44843‐9306
SAUDER, JAMES F               1109 FLEMING FALLS RD                                                                             MANSFIELD      OH   44905‐1340
SAUDER, ROBERT A              1460 BELLVILLE JOHNSVILLE RD                                                                      BELLVILLE      OH   44813‐9221
SAUDER, SORAYA                29624 HILLBROOK ST                                                                                LIVONIA        MI   48152‐4518
SAUDI BASIC INDUSTRIES CORP   SABIC BLDG SABIC COMPLEX                                                     RIYADH 11422 SAUDI
                                                                                                           ARABIA
SAUDIA Y MILLS                1231 NORTH RD SE #295                                                                             NILES          OH 44446
SAUER ANDREW A (429759)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK        VA 23510
                                                               STREET, SUITE 600
SAUER AUTO VERTRIEBS GMBH     DAIMLERSTRASSE 4‐6                                                           PFULLINGEN 72793
                                                                                                           GERMANY
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Name                                   Address1                         Address2                       Address3   Address4         City             State Zip
SAUER CARL J SR (ESTATE OF) (473359)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                 BALTIMORE         MD 21202
                                                                        CHARLES CENTER 22ND FLOOR
SAUER EARL S (486608)                  NICHOLL LAW OFFICES PETER T      36 SOUTH CHARLES ST                                        BALTIMORE        MD   21201
SAUER JR, FRANK A                      5709 DUNROVIN DR                                                                            SAGINAW          MI   48638‐5408
SAUER LAURETTA                         43 HY PL                                                                                    LAKE GROVE       NY   11755‐2310
SAUER, ALBERT A                        7184 ELKWOOD DR                                                                             WEST CHESTER     OH   45069‐3013
SAUER, ALFRED B                        1882 SPRUCE CREEK BLVD           RT#1                                                       PT ORANGE        FL   32128‐6780
SAUER, ALLAN N                         6390 WHITTEMORE RD                                                                          WHITTEMORE       MI   48770‐9701
SAUER, ANDREW A                        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA   23510‐2212
                                                                        STREET, SUITE 600
SAUER, ARTHUR J                        4399 TOMMY ARMOUR DR                                                                        FLINT            MI   48506‐1466
SAUER, BARRY S                         N3979 SUNRISE CIR                                                                           BRODHEAD         WI   53520‐9645
SAUER, BERTHA E                        3212 BOY SCOUT RD                                                                           BAY CITY         MI   48706
SAUER, BETTIE M                        1492 HEAVENLY VIEW LANE                                                                     VALLEY CITY      OH   44280‐9471
SAUER, BETTY                           3735 DELAWARE AVE APT 201                                                                   KENMORE          NY   14217‐1059
SAUER, CARL J                          ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                  BALTIMORE        MD   21202
                                                                        CHARLES CENTER 22ND FLOOR
SAUER, DALE                            109 N CLEAR LAKE AVE                                                                        MILTON           WI   53563‐1005
SAUER, DAN A                           14053 WOODVIEW DR                                                                           FENTON           MI   48430‐3312
SAUER, DORIS                           127 JACKSON MILLS RD                                                                        JACKSON          NJ   08527‐3057
SAUER, EARL S                          NICHOLL LAW OFFICES PETER T      36 SOUTH CHARLES ST                                        BALTIMORE        MD   21201
SAUER, FLORENCE E                      705 17TH ST APT 8                                                                           BRODHEAD         WI   53520
SAUER, FLORENCE E                      317 3RD AVENUE                   WYNDAMERE APARTMENTS                                       MONROE           WI   53566
SAUER, GEORGE R                        1125 WEST PALM AVENUE                                                                       REDLANDS         CA   92373‐5703
SAUER, GERALD D                        9045 70TH ST                                                                                LITTLE FALLS     MN   56345‐4395
SAUER, GERALD J                        3518 CHOCTAW DR SE                                                                          DECATUR          AL   35603‐5263
SAUER, GUENTER K                       12286 WILLISTON RD                                                                          ALDEN            NY   14004‐8810
SAUER, HERBERT                         12422 GRINDLEY DR                                                                           STERLING HTS     MI   48312‐3144
SAUER, HILDA M                         5759 MITZI LN                                                                               HILLSBORO        OH   45133‐9348
SAUER, HILDA M                         5759 MITZI LANE                                                                             HILLSBORO        OH   45133‐9348
SAUER, IONA L                          4777 NW 31ST ST                                                                             OCALA            FL   34482‐8378
SAUER, JAMES D                         7509 LINDSAY DR                                                                             INDIANAPOLIS     IN   46214
SAUER, JAMES M                         1402 SILVER SPRINGS CT SE                                                                   CALEDONIA        MI   49316‐8445
SAUER, JERRY W                         4404 ALICENT CT                                                                             LOUISVILLE       KY   40207‐2830
SAUER, JOHN A                          7766 EAST M‐78                                                                              EAST LANSING     MI   48823
SAUER, KAREN SUE                       450 WHITE CAP LN                                                                            NEWPORT COAST    CA   92657‐1093
SAUER, KENNETH F                       19940 ECHO DR                                                                               STRONGSVILLE     OH   44149‐6010
SAUER, LARRY L                         907 6TH ST                                                                                  BRODHEAD         WI   53520‐1237
SAUER, LEROY                           BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD       OH   44067
                                                                        PROFESSIONAL BLDG
SAUER, LOUIS H                         1003F PRIORITY RD                                                                           YORK             PA   17404‐2442
SAUER, MARGARET A                      1147 CREEKSIDE COURT                                                                        FLINT            MI   48509
SAUER, MARGARET A                      4399 TOMMY ARMOUR DR                                                                        FLINT            MI   48506‐1466
SAUER, MARK                            43 ESTONIA DRIVE                                                                            NEW LABANON      OH   45345
SAUER, MARK                            43 ESTONIA DR                                                                               NEW LEBANON      OH   45345‐1217
SAUER, MARY                            422 JAMAICA BLVD                                                                            TOMS RIVER       NJ   08757‐4225
SAUER, MARY                            10290 BROADVIEW DR                                                                          LARGO            FL   33773‐4272
SAUER, MELISSA L                       7212 WALNUT CREEK XING           CROSSING                                                   AVON             IN   46123‐8261
SAUER, PETER W                         125 BORLAND AVE                                                                             SAGINAW          MI   48602‐3129
SAUER, RICHARD D                       18292 WHITEHEAD RD                                                                          LAGRANGE         OH   44050‐9626
SAUER, RICHARD J                       17342 E BACA DR                                                                             FOUNTAIN HILLS   AZ   85268‐2663
SAUER, ROBERT C                        6 E SOUTH ST                                                                                LIBERTY          IN   47353‐1327
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Name                                  Address1                         Address2                      Address3   Address4               City               State Zip
SAUER, ROBERT D                       4620 TODD POINT LN                                                                               BALTIMORE           MD 21219‐1013
SAUER, ROBERT D                       9314 SEA POINT RD                                                                                BALTIMORE           MD 21219‐2370
SAUER, ROBERT DUDLEY                  9314 SEA POINT RD                                                                                BALTIMORE           MD 21219‐2370
SAUER, ROBERT K                       1421 RIDLEY DR                                                                                   FRANKLIN            TN 37064‐9616
SAUER, ROBERT W                       1106 TRANSIT ST                                                                                  BAY CITY            MI 48706‐4165
SAUER, RONALD B                       7212 WALNUT CREEK XING           CROSSING                                                        AVON                IN 46123‐8261
SAUER, RONALD D                       801 S SHERMAN ST                                                                                 BAY CITY            MI 48708‐7430
SAUER, RONALD J                       3702 BRANCH RD                                                                                   FLINT               MI 48506‐2414
SAUER, SAMUEL L                       28577 AYER‐PLEASANT RD                                                                           DEFIANCE            OH 43512
SAUER, STEPHEN H                      5621 NW BELL RD                                                                                  PARKVILLE           MO 64152‐3618
SAUER, STEVEN L                       435 AMBER DR SE                                                                                  WARREN              OH 44484‐5809
SAUER, STEVEN L                       276 PALMER CIR NE                                                                                WARREN              OH 44484‐5547
SAUER, STUART J                       326 HUNTERS RUN DR                                                                               BEL AIR             MD 21015‐8946
SAUER, THOMAS G                       1500 MADISON AVE                                                                                 MOUNT HEALTHY       OH 45231‐4434
SAUER, VIVIAN L                       30 BROOKWOOD AVE APT 29                                                                          HAMILTON            OH 45013‐2092
SAUER, WILLIAM J                      7574 MUIRFIELD PL                                                                                INDIANAPOLIS        IN 46237‐9554
SAUER, WILLIAM L                      46 STONY BROOK WAY                                                                               BAR HARBOR          ME 04609‐7274
SAUERBIER, FRANCES M                  18 S LACKAWANNA ST APT 1                                                                         WAYLAND             NY 14572‐1436
SAUERBREY, KARL R                     38321 SHANA DR                                                                                   CLINTON TOWNSHIP    MI 48036
SAUERESSIG GMBH & CO                  POSTFACH 13 62                                                            VREDEN D‐48686
SAUERHAGE, HERBERT E                  126 SUNSET DR                                                                                    PIEDMONT           MO 63957‐1021
SAUERLAND, BEULAH E                   3476 RIGGS RD                                                                                    OXFORD             OH 45056‐9245
SAUERS BUICK, PONTIAC, CADILLAC AND   1900 E LINCOLNWAY                                                                                LA PORTE           IN 46350‐3992

SAUERS BUICK, PONTIAC, CADILLAC AND   1900 E LINCOLNWAY                                                                                LA PORTE            IN   46350‐3992
GMC TRUCK
SAUERS BUICK‐PONTIAC, INC.            CHARLES SAUERS                   1900 E LINCOLNWAY                                               LA PORTE           IN    46350‐3992
SAUERS, BERNARD F                     C/O GOLDBERG PERSKY & WHITE PC   1030 FIFTH AVENUE                                               PITTSBURGH         PA    15219
SAUERS, CAROLYN S                     3578 POLK AVE                                                                                    SAGINAW            MI    48604
SAUERS, EDMUND C                      14370 WOODLAWN DR                                                                                SIDNEY             OH    45365‐9467
SAUERS, JUNE M                        15525 SEYMOUR RD                                                                                 LINDEN             MI    48451‐9737
SAUERS, LEWIS G                       15525 SEYMOUR RD                                                                                 LINDEN             MI    48451‐9737
SAUERS, RONALD E                      3667 BORDEAU RD                                                                                  STANDISH           MI    48658
SAUERS, TERRY L                       8261 N MCKINLEY RD                                                                               FLUSHING           MI    48433‐8843
SAUERS, TERRY LEWIS                   8261 N MCKINLEY RD                                                                               FLUSHING           MI    48433‐8843
SAUERWALD, PAUL E                     7243 DEERHILL CT                                                                                 CLARKSTON          MI    48346‐1277
SAUERWALD, PHILIP L                   9084 MILLWARD ST                                                                                 WHITE LAKE         MI    48386‐4266
SAUERWEIN, BRET A                     3619 SWEET BAY COURT                                                                             OAKLAND            MI    48363‐2659
SAUERWEIN, GEORGE E                   2001 HURD ST                                                                                     TOLEDO             OH    43605‐2821
SAUERWEIN, GEORGE ELLISWORTH          2001 HURD ST                                                                                     TOLEDO             OH    43605‐2821
SAUERWEIN, ROBERT J                   11031 DETWILER RD                                                                                COLUMBIANA         OH    44408
SAUERWINE JAMES H                     SAUERWINE, JAMES H               2080 LINGLESTOWN RD STE 106                                     HARRISBURG         PA    17110‐9670
SAUERWINE, JAMES H                    GOLDBERG JOSEPH K                2080 LINGLESTOWN RD STE 106                                     HARRISBURG         PA    17110‐9670
SAUGATUCK MOTORS, INC.                PATRICK RYAN                     144 RAILROAD AVE                                                GREENWICH          CT    06830‐6308
SAUGSTAD, EVELYN M                    11314 HENDERSON RD                                                                               OTISVILLE          MI    48463‐9727
SAUGSTAD, GENEVA                      1348 BLUEGRASS RD                                                                                SEVIERVILLE        TN    37862‐5203
SAUGSTAD, HELEN M                     624 N GENESEE ST                                                                                 DAVISON            MI    48423‐1118
SAUGSTAD, KEVIN L                     11301 HENDERSON RD                                                                               OTISVILLE          MI    48463‐9727
SAUGSTAD, KEVIN LEE                   11301 HENDERSON RD                                                                               OTISVILLE          MI    48463‐9727
SAUGSTAD, KYLE L                      11271 HENDERSON RD                                                                               OTISVILLE          MI    48463‐9727
SAUGSTAD, KYLE LIN                    11271 HENDERSON RD                                                                               OTISVILLE          MI    48463‐9727
SAUGSTAD, NORRIS E                    11314 HENDERSON RD                                                                               OTISVILLE          MI    48463‐9727
                           09-50026-mg             Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
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Name                       Address1                             Address2                          Address3             Address4              City            State Zip
SAUIGNI EDOARDO            VIA ISACCO NEWTON 25                                                                        41100 MODENA ITALY
SAUK COUNTY TREASURER      505 BROADWAY ST                                                                                                   BARABOO         WI    53913‐2183
SAUK VALLEY/ROCK FAL       200 E 3RD ST                                                                                                      ROCK FALLS      IL    61071‐1308
SAUK, MICHAEL E            485 W WALTON BLVD                                                                                                 PONTIAC         MI    48340‐1048
SAUL BURNS                 40 OAK ST                                                                                                         BROOKVILLE      OH    45309‐1721
SAUL CASTILLO              5212 MESA RD                                                                                                      MONONA          WI    53716‐2915
SAUL CASTRO                6804 MURPHYS CT                                                                                                   BAKERSFIELD     CA    93309‐0519
SAUL CHERYL A              SAUL, CHERYL A                       89 N HADDON AVE                                                              HADDONFIELD     NJ    08033‐2423
SAUL CUBILLOS              12 FAWN CT                                                                                                        JAMESBURG       NJ    08831‐1180
SAUL ESCALANTE             2337 W GREGG DR                                                                                                   CHANDLER        AZ    85224‐1769
SAUL EWING LLP             CENTER SQUARE WEST 1500 MARKET       SQUARE 38TH FLOOR                                                            PHILADELPHIA    PA    19102
SAUL EWING LLP             ATTY FOR JAC PRODUCTS, INC.          ATT: JEFFREY C. HAMPTON, ESQ.     CENTRE SQUARE WEST   1500 MARKET STREET,   PHILADELPHIA    PA    19102
                                                                                                                       38TH FLOOR
SAUL EWING LLP             ATTY FOR JAC PRODUCTS, INC.          ATT: ADAM H. ISENBERG, ESQ.       CENTRE SQUARE WEST   1500 MARKET STREET,   PHILADELPHIA     PA 19102
                                                                                                                       38TH FLOOR
SAUL EWING LLP             ATTY FOR JOHNSON MATTHEY TESTING &   ATTN: TERESA K.D. CURRIER, ESQ. 222 DELAWARE AVENUE,   P.O. BOX 1266         WILMINGTON       DE 19899
                           DEV; JOHNSON MATTHEY INC                                             SUITE 1200
SAUL EWING LLP             ATTN: MARK MINUTI                    222 DELEWARE AVENUE, SUITE 1200 P.O. BOX 1266                                WILMINGTON       DE 19899

SAUL EWING REMICK & SAUL   LLP PJP LIAISON COUNSEL FUND         214 CARNEGIE CTR STE 202                                                     PRINCETON        NJ 08540‐6237
SAUL FIRSTEN               5611 HILLCREST CIR W                                                                                              W BLOOMFIELD     MI 48322‐1277
SAUL GEORGE R (346650)     GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                  NORFOLK          VA 23510
                                                                STREET, SUITE 600
SAUL ISLA                  2087 AUDUBON DR                                                                                                   GLENDALE HTS    IL    60139‐1807
SAUL J MORA                4670 COLONIAL DR APT 3                                                                                            SAGINAW         MI    48603‐3926
SAUL KATZ                  932 NATHANIEL TRAIL                                                                                               WARMINSTER      PA    18974
SAUL L. VICTOR             18 EAST 41 ST 10TH FLOOR                                                                                          NEW YORK        NY    10017
SAUL MACIAS                1312 CHARTWELL DUAL                                                                                               EAST LANSING    MI    48823
SAUL MARTINEZ              46419 WHITE CAP DR                                                                                                MACOMB          MI    48044‐5757
SAUL MITCHELL              4472 LAKESHORE DR                                                                                                 SHREVEPORT      LA    71109‐3033
SAUL MORA                  APT 3                                4670 COLONIAL DRIVE                                                          SAGINAW         MI    48603‐3926
SAUL PERSON                1905 GLYNN CT                                                                                                     DETROIT         MI    48206‐1742
SAUL RADLER                CGM IRA ROLLOVER CUSTODIAN           19951 NE 10TH PL WAY                                                         N MIAMI BEACH   FL    33179‐2504
SAUL RANCHER JR            538 N 24TH ST                                                                                                     SAGINAW         MI    48601‐6203
SAUL SANDERS               PO BOX 88619                                                                                                      INDIANAPOLIS    IN    46208‐0619
SAUL SANTIAGO              PO BOX 1309                                                                                                       BAJADERO        PR    00616‐1309
SAUL SCHWARTZ              PO BOX 320452                                                                                                     FLINT           MI    48532‐0008
SAUL SCOTT                 7509 SETTERS POINTE DR                                                                                            BRIGHTON        MI    48116‐6706
SAUL WACHTER               5 LAUMER AVE                                                                                                      SAN JOSE        CA    95127‐2429
SAUL WILLIAM DEVON         SAUL, GARY E                         PO BOX 4905                                                                  BEAUMONT        TX    77704‐4905
SAUL WILLIAM DEVON         SAUL, MARY L                         PO BOX 4905                                                                  BEAUMONT        TX    77704‐4905
SAUL WILLIAM DEVON         SAUL, WILLIAM DEVON                  PO BOX 4905                                                                  BEAUMONT        TX    77704‐4905
SAUL WILLIAMS              5810 WATERMAN BLVD                                                                                                SAINT LOUIS     MO    63112‐1516
SAUL'S AUTO SERVICE        21 INDUSTRIAL ST                                                                            GUELPH ON N1E 6B9
                                                                                                                       CANADA
SAUL, BEVERLY J            11389 E RICHFIELD RD                                                                                              DAVISON          MI   48423‐8517
SAUL, DEVON                4816 RUTHERGLEN DR                                                                                                AUSTIN           TX   78749
SAUL, ESTHER L             6518 8TH AVE                                                                                                      GRANDVILLE       MI   49418‐9668
SAUL, ESTHER L             6518 8TH AVE SW                                                                                                   GRANDVILLE       MI   49418‐9668
SAUL, GARY E               PROVOST & UMPHREY                    PO BOX 4905                                                                  BEAUMONT         TX   77704‐4905
SAUL, GEORGE R             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                  NORFOLK          VA   23510‐2212
                                                                STREET, SUITE 600
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Name                           Address1                       Address2                      Address3   Address4              City               State Zip
SAUL, GILBERT E                10232 OLD DAYTON RD                                                                           NEW LEBANON         OH 45345‐9694
SAUL, GIULA                    1254 GARBRY RD APT 3                                                                          PIQUA               OH 45356
SAUL, GIULA                    ELMCREEK NURSING CTR           115 ELMWOOD CIRCLE                                             WEST CARROLTON      OH 45449
SAUL, ILENE E                  4617 WHITE LAKE RD                                                                            WHITE LAKE          MI 48383‐1257
SAUL, LISA L                   1700 RAUSCH AVE                                                                               DAYTON              OH 45432‐3432
SAUL, LISA LEANN               1700 RAUSCH AVE                                                                               DAYTON              OH 45432‐3432
SAUL, LOIS O                   1801 EAST SOUTHWAY BOULEVARD                                                                  KOKOMO              IN 46902‐4562
SAUL, MARVIN E                 1425 CHIMNEY HILL RD                                                                          FELTON              DE 19943‐4611
SAUL, MARY L                   PROVOST & UMPHREY              PO BOX 4905                                                    BEAUMONT            TX 77704‐4905
SAUL, MYRON K                  2422 WILDBROOK RUN                                                                            BLOOMFIELD HILLS    MI 48304‐1444
SAUL, NANCY L                  10232 OLD DAYTON RD                                                                           NEW LEBANON         OH 45345‐9694
SAUL, R P                      3726 NEWPORT WAY DR                                                                           WATERFORD           MI 48329‐4285
SAUL, R PATRICK                3726 NEWPORT WAY DR                                                                           WATERFORD           MI 48329‐4285
SAUL, RICHARD
SAUL, ROBERT E                 3190 CHAPEL RD                                                                                ANDERSON           IN   46012‐9412
SAUL, SHERI L                  8582 HERMITAGE WAY                                                                            SACRAMENTO         CA   95823‐6111
SAUL, TAMMY E                  2670 E COUNTY ROAD 0 NS                                                                       KOKOMO             IN   46901
SAUL, TIMOTHY A                719 LOOKOUT DR                                                                                COLUMBIA           TN   38401‐6189
SAUL, WILLIAM DEVON            PROVOST & UMPHREY              PO BOX 4905                                                    BEAUMONT           TX   77704‐4905
SAULEN, HELEN J                70 HIGHLAND ST                                                                                MILFORD            MA   01757‐2334
SAULIG, RICHARD R              2329 WOODGLEN CT                                                                              AURORA             IL   60502‐9402
SAULINE, DEBORAH               6417 KLAUS CT                                                                                 PORT CHARLOTTE     FL   33981‐5527
SAULINE, PATRICK D             6222 DIANA DR                                                                                 POLAND             OH   44514‐1830
SAULINE, ROSITA C              836 SCHOOL ST                                                                                 HUBBARD            OH   44425
SAULL, THOMAS W                16351 ROTUNDA DR STE 155C                                                                     DEARBORN           MI   48120
SAULMON, MARJORIE L            9149 N 300 W                                                                                  HUNTINGTON         IN   46750‐9726
SAULNIER DAN                   SAULNIER, DAN                  120 W MADISON ST 10TH FLOOR                                    CHICAGO            IL   60602
SAULNIER, ALICE P              5522 NORTHRIDGE RD                                                      HALIFAX NOVA SCOTIA
                                                                                                       CANADA B3K‐4B1
SAULNIER, AUDREY E             1 4TH ST APT 900                                                                              CINCINNATI         OH   45202
SAULNIER, DAN                  KROHN & MOSS ‐ KS              120 W MADISON ST 10TH FLOOR                                    CHICAGO            IL   60602
SAULNIER, PETER L              8285 N M 52                                                                                   HENDERSON          MI   48841‐9714
SAULS JANE R                   DBA DIAMONDS & PEARLS CAFE     1615 WELLESLEY ST                                              INKSTER            MI   48141‐1576
SAULS WALTER MELVIN (429760)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510
                                                              STREET, SUITE 600
SAULS, CLARA F                 279 W CALEDONIA ST                                                                            LOCKPORT           NY   14094‐2003
SAULS, DANTE SHABE             7514 PALMETTO DR APT 910                                                                      FORT WORTH         TX   76133‐7353
SAULS, DELAND R                PO BOX 360762                                                                                 COLUMBUS           OH   43236‐0762
SAULS, ENGIL R                 1081 CLEARVIEW DR                                                                             OXFORD             MI   48371‐5976
SAULS, JAMES                   PO BOX 5283                                                                                   HOBBS              NM   88241
SAULS, JIMMY D                 3915 TRUMBULL AVE                                                                             FLINT              MI   48504‐3747
SAULS, JOYCE B                 1576 BRENTNELL AVE                                                                            COLUMBUS           OH   43219‐1265
SAULS, KASEEM O                18661 NADOL DR                                                                                SOUTHFIELD         MI   48075‐5822
SAULS, LUTHER L                2701 BIG SPRING DR                                                                            FORT WORTH         TX   76120‐5648
SAULS, MELVIN L                1503 N 8TH ST                                                                                 KANSAS CITY        KS   66101
SAULS, RUBY O                  12127 E BENTON RD                                                                             TICKFAW            LA   70466‐3119
SAULS, WALTER MELVIN           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510‐2212
                                                              STREET, SUITE 600
SAULSBERRY VELVET              BRIAN C HOGAN                  5626 CURRY FORD RD.                                            ORLANDO            FL   32822‐1424
SAULSBERRY, BILLY R            9001 S CREGIER AVE                                                                            CHICAGO            IL   60617‐3534
SAULSBERRY, DOROTHY J          18316 STOEPEL ST                                                                              DETROIT            MI   48221‐2267
SAULSBERRY, ROBERT M           RR 2 BOX 11014                                                                                PORUM              OK   74455‐9305
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Name                             Address1                       Address2                      Address3   Address4         City            State Zip
SAULSBERRY, VELVET               12115 SOUTHWEST 16TH AVENUE                                                              OCALA            FL 34473‐8320
SAULSBERRY, VELVET               BRIAN C HOGAN                  5626 CURRY FORD RD.                                       ORLANDO          FL 32822
SAULSBERRY, WILLIAM C            PO BOX 1216                                                                              BUFFALO          NY 14215‐6216
SAULSBURY, PHILLIP M             PO BOX 22475                                                                             BALTIMORE        MD 21203‐4475
SAULSBURY, ROBERT A              9210 OSWALD WAY                                                                          BALTIMORE        MD 21237
SAULSGIVER, GEORGE               4880 S 2575 W                                                                            ROY              UT 84067‐1704
SAULSGIVER, RENEE                1893 MULLET AVE                                                                          ST. HELEN        MI 48656‐9797
SAULT, RICHARD A                 3901 SHELDRAKE AVE                                                                       OKEMOS           MI 48864‐3659
SAULTER, SANDY                   7128 FIELDS DR                                                                           INDIANAPOLIS     IN 46239‐6702
SAULTER, SANDY S                 7128 FIELDS DR                                                                           INDIANAPOLIS     IN 46239‐6702
SAULTERS NOLA FERN (ESTATE OF)   WISE & JULIAN                  156 N MAIN ST STOP 1                                      EDWARDSVILLE      IL 62025‐1972
(664891)
SAULTERS, DEBORAH S              4178 DEACON LN                                                                           CHAMBLEE        GA   30341‐1612
SAULTERS, NOLA FERN              WISE & JULIAN                  156 N MAIN ST STOP 1                                      EDWARDSVILLE    IL   62025‐1972
SAULTS, LARRY W                  PO BOX 295                                                                               SIDELL          IL   61876‐0295
SAULTS, STEVEN A                 1311 KENNELY RD                                                                          SAGINAW         MI   48609‐9645
SAUM, DIONNE S                   18603 ROAD L                                                                             CLOVERDALE      OH   45827‐9658
SAUM, DIONNE SUE                 18603 ROAD L                                                                             CLOVERDALE      OH   45827‐9658
SAUM, JAMES S                    3541 NORTH DRIVE WAYNE LAKES                                                             GREENVILLE      OH   45331
SAUM, JEAN S                     4631 HIGHWAY 30 W                                                                        JACKSON         KY   41339‐7879
SAUM, JEAN S                     4631 HWY 30 W                                                                            JACKSON         KY   41339‐7879
SAUM, JOSEPH J                   322 W LORAIN ST                                                                          MONROE          MI   48162‐2738
SAUM, JOSEPH JOHN                322 W LORAIN ST                                                                          MONROE          MI   48162‐2738
SAUM, LOUIS J                    21821 ROAD 23T                                                                           FORT JENNINGS   OH   45844‐9319
SAUM, MICKEY L                   8372 MILLIGAN EAST RD                                                                    BURGHILL        OH   44404‐9729
SAUM, RONALD E                   1337 WILSON SHARPSVILLE RD                                                               CORTLAND        OH   44410‐9383
SAUM, RONALD L                   2733 N POWER RD STE 102        PMB 441                                                   MESA            AZ   85215‐1683
SAUM, WILLIAM H                  542 BAYSHORE DR                                                                          KOKOMO          IN   46901‐8138
SAUMIER, DONALD J                103 S FRANKLIN ST                                                                        SAGINAW         MI   48604‐1337
SAUMIER, KARON                   4485 JENA LANE                                                                           FLINT           MI   48507
SAUMIER, KARON                   4485 JENA LN                                                                             FLINT           MI   48507‐6216
SAUMIER, RONALD L                4900 LORRAINE AVE                                                                        SAGINAW         MI   48604‐1010
SAUMUR, RICHARD                  3818 N COUNTRY CLUB RD                                                                   NEWCASTLE       OK   73065‐6309
SAUNA KELSAW‐PARKER              4731 IMPERIAL PARK DR                                                                    FORT WAYNE      IN   46835‐4234
SAUNDER, DANIEL L                45 W HURON ST APT 11                                                                     PONTIAC         MI   48342
SAUNDERS JR, ROBERT D            17380 RING NECK                                                                          MACOMB          MI   48044
SAUNDERS COUNTY TREASURER        PO BOX 337                                                                               WAHOO           NE   68066‐0337
SAUNDERS ESQ., VINCENT D         738 PORTEOUS DR                                                                          LAKE ORION      MI   48362‐1670
SAUNDERS GEORGE D JR (414750)    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                                STREET, SUITE 600
SAUNDERS IRVIN B (404119)        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                                STREET, SUITE 600
SAUNDERS JAMES                   17505 TYLER ROAD                                                                         FIDDLETOWN      CA   95629‐9748
SAUNDERS JR, ALBERT              504 S SAGINAW ST                                                                         DURAND          MI   48429‐1640
SAUNDERS JR, ALLEN E             621 CHANDLER DR                                                                          TROTWOOD        OH   45426‐2507
SAUNDERS JR, ARTHUR F            4220 STANLEY CT                                                                          WATERFORD       MI   48329‐4184
SAUNDERS JR, EDWARD V            3220 S HARVEY ST                                                                         MARION          IN   46953‐4115
SAUNDERS JR, ERIC A              5005 BURTON DR                                                                           PINCKNEY        MI   48169‐8415
SAUNDERS JR, HOMER C             1123 SW 28TH TER                                                                         CAPE CORAL      FL   33914‐4248
SAUNDERS JR, JOSEPH W            6636 AFTON AVE                                                                           CINCINNATI      OH   45213‐1130
SAUNDERS JR, MELVIN              3711 WYOMING ST                                                                          SAINT LOUIS     MO   63116‐4836
SAUNDERS JR, PAUL E              302 POPLAR ST                                                                            PECULIAR        MO   64078‐6100
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Name                                Address1                          Address2                          Address3   Address4         City             State Zip
SAUNDERS JR, PAUL EDGAR             302 POPLAR ST                                                                                   PECULIAR          MO 64078‐6100
SAUNDERS JR, PETER                  204 BEECHGROVE DR                                                                               ENGLEWOOD         OH 45322‐1101
SAUNDERS JR, ROBERT D               17380 RING NECK DR                                                                              MACOMB            MI 48044‐1683
SAUNDERS JR, WILLIAM L              PO BOX 360623                                                                                   COLUMBUS          OH 43236‐0623
SAUNDERS JR., ALVA L                6105 WINDFALL RD                                                                                GALION            OH 44833‐9347
SAUNDERS JR., JAMES LEE             1595 S JOHN HIX ST                                                                              WESTLAND          MI 48186‐3788
SAUNDERS JUDY AND ALEX              SIMANOVSKY & ASSOCIATES LLC       2300 HENDERSON MILL RD NE STE                                 ATLANTA           GA 30345‐2704
                                                                      300
SAUNDERS KENNETH (ESTATE OF) (467279) SIMMONS FIRM                    PO BOX 521                                                    EAST ALTON        IL   62024‐0519

SAUNDERS LARRY S (348572)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA 23510
                                                                      STREET, SUITE 600
SAUNDERS PATRICK                    SAUNDERS, PATRICK                 1700 PLEASURE HOUSE RD STE 102A                               VIRGINIA BEACH   VA 23455‐4062

SAUNDERS ROBERT H (511390)          PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                        PHILADELPHIA     PA    19103‐5446
SAUNDERS TIMOTHY                    SAUNDERS, TIMOTHY                 51 SMITH RD                                                   MANSFIELD        MA    02048‐1788
SAUNDERS VICTOR (499380)            LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                       MIAMI            FL    33143‐5163
SAUNDERS VICTOR (499381)            LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                       MIAMI            FL    33143‐5163
SAUNDERS VINCENT D                  738 PORTEOUS DR                                                                                 LAKE ORION       MI    48362‐1670
SAUNDERS WILSON J (482002)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA    23510
                                                                      STREET, SUITE 600
SAUNDERS, ADELL B                   16 BOUNTIFUL RD                                                                                 SOMERVILLE       AL    35670
SAUNDERS, ADRIANE                   505 EAST LINCOLN AVE.             UNIT E610                                                     MOUNT VERNON     NY    10552
SAUNDERS, ALFRED S                  516 E LAKE ST                                                                                   TOLEDO           OH    43608‐1217
SAUNDERS, ALLAN L                   3444 W MINERAL POINT RD                                                                         JANESVILLE       WI    53548‐3203
SAUNDERS, ALLEN E                   7413 DAYTON LIBERTY RD                                                                          DAYTON           OH    45418‐1148
SAUNDERS, ALVA L                    1134 NAZOR RD                                                                                   GALION           OH    44833‐9733
SAUNDERS, ANN M                     2100 ROCHE AVENUE                                                                               YOUNGSTOWN       OH    44505‐4042
SAUNDERS, ANN M                     2100 ROCHE AVE                                                                                  YOUNGSTOWN       OH    44505‐4042
SAUNDERS, ANNE J                    2300 CEDARFIELD PKWY APT 402                                                                    RICHMOND         VA    23233‐1945
SAUNDERS, ANTHONY L                 7907 WALKER AVE                                                                                 KANSAS CITY      KS    66112‐2045
SAUNDERS, ANTHONY LEFRANCE          7907 WALKER AVE                                                                                 KANSAS CITY      KS    66112‐2045
SAUNDERS, ANTHONY R                 157 BAY RIDGE DR                                                                                PENDLETON        IN    46064‐9477
SAUNDERS, ANTHONY RAY               157 BAY RIDGE DR                                                                                PENDLETON        IN    46064‐9477
SAUNDERS, ARTHUR                    C/O THE LIPMAN LAW FIRM           5915 PONCE DE LEON BLVD           SUITE 44                    CORAL GABLES     FL    33146
SAUNDERS, ASHLEY E                  1610 EARLHAM DR                                                                                 DAYTON           OH    45406‐4611
SAUNDERS, AUGUSTERIA V              122 HUMBER AVE                                                                                  BUFFALO          NY    14215‐3117
SAUNDERS, BERNARD W                 12105 ARBUTUS AVE                 PINE POINT                                                    CHARLEVOIX       MI    49720‐9314
SAUNDERS, BESSIE L                  9589 SOUTHEAST VALLEY COURT                                                                     HOBE SOUND       FL    33455‐2025
SAUNDERS, BESSIE L                  9589 SE VALLEY CT                                                                               HOBE SOUND       FL    33455‐2025
SAUNDERS, BETTY A                   208 HUNTERS RIDGE RD                                                                            DUGSPUR          VA    24325‐3676
SAUNDERS, BEVERLY E                 53 GATE MANOR DR                                                                                ROCHESTER        NY    14606‐4801
SAUNDERS, BEVERLY E                 53 GATES MANOR DR                                                                               ROCHESTER        NY    14606‐4801
SAUNDERS, BILLIE                    250 ALLEN ST APT 103E                                                                           DAYTON           OH    45410
SAUNDERS, BILLIE J                  14513 SHORT ST                                                                                  LEROY            MI    49655‐8402
SAUNDERS, BRADLEY A                 3807 S AFTON RD                                                                                 BELOIT           WI    53511‐8760
SAUNDERS, BRUCE C                   7547 CURRIER DR                                                                                 PORTAGE          MI    49002‐4394
SAUNDERS, BRUCE E                   1276 IVA ST                                                                                     BURTON           MI    48509‐1525
SAUNDERS, CARMEN                    758 CORDOVA CIR                                                                                 THE VILLAGES     FL    32162‐1409
SAUNDERS, CARRINGTON L              3958 ALVIN AVE                                                                                  DAYTON           OH    45408‐2337
SAUNDERS, CHANDRA                   1020 ANNAZANES CT                                                                               ALPHARETTA       GA    30004‐0508
SAUNDERS, CHARLENE W                PO BOX 452                        C/O HOWARD LEFTWICH                                           GLEN JEAN        WV    25846‐0452
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Name                    Address1                       Address2                      Address3   Address4         City             State Zip
SAUNDERS, CHARLENE W    C/O HOWARD LEFTWICH            P.O BOX 452                                               GLEN JEAN         WV 25846
SAUNDERS, CHRISTIAN
SAUNDERS, CLARENCE L    102 S QUILLIE AVE                                                                        MT PLEASANT      TX   75455‐4639
SAUNDERS, CLES J        5080 FAIRMONT ST                                                                         PAHRUMP          NV   89061‐7775
SAUNDERS, CLIFFORD R    1899 STARBURST DR                                                                        GRANTS PASS      OR   97527‐6354
SAUNDERS, DALE R        310 1ST AVE                                                                              INDIALANTIC      FL   32903‐4202
SAUNDERS, DAVID E       6230 SHAMROCK LN                                                                         HARTFORD         WI   53027‐9044
SAUNDERS, DAVID G       1708 LOWELL DRIVE                                                                        FAIRBORN         OH   45324‐3008
SAUNDERS, DEBORAH R     740 N WEST ST                                                                            XENIA            OH   45385‐2340
SAUNDERS, DORIS G       118 W PIKE ST                                                                            LAURA            OH   45337‐9746
SAUNDERS, DORIS G       118 W. PIKE ST                                                                           LAURA            OH   45337‐9746
SAUNDERS, DOUGLAS A     6550 VERNMOOR DR                                                                         TROY             MI   48098‐5620
SAUNDERS, EDWIN L       2450 KROUSE RD LOT 286                                                                   OWOSSO           MI   48867‐9313
SAUNDERS, ELEANOR J     4052 N STATE ROAD 9                                                                      GREENFIELD       IN   46140‐9005
SAUNDERS, ELSIE A       525 GLEN HAVEN RD                                                                        UPPER SANDUSKY   OH   43351‐9312
SAUNDERS, ELWYN C       9462 FORESTVIEW CIR                                                                      GRAND BLANC      MI   48439‐8057
SAUNDERS, ERNEST E      143 HALCYON DR                                                                           NEW CASTLE       DE   19720‐1240
SAUNDERS, ERNESTINE     891 WILSON AVE                                                                           COLUMBUS         OH   43206‐1646
SAUNDERS, EVELYN        110 E DELAVAN AVE                                                                        BUFFALO          NY   14208‐1233
SAUNDERS, FRANCES       869 N BRIGGS RD                                                                          QUINCY           MI   49082‐9471
SAUNDERS, FRANCES       869 N BRIGGS,                                                                            QUINCY           MI   49082
SAUNDERS, FRANCES S     23335 PARK PLACE DR            A‐335                                                     SOUTHFIELD       MI   48033‐2669
SAUNDERS, FRANK         1111 WEST AVE                                                                            RICHMOND         VA   23220‐3719
SAUNDERS, FRANK         HANCOCK ROTHERT & BUNSHOFT     4 EMBARCADERO CTR FL 10                                   SAN FRANCISCO    CA   94111
SAUNDERS, FRED          921 ALAMEDA AVE                                                                          YOUNGSTOWN       OH   44510‐1203
SAUNDERS, FREDERICK I   505 2ND ST 82                                                                            ADDISON          MI   49220
SAUNDERS, FREIDA F      145 WASHINGTON CT APT 1                                                                  UKIAH            CA   95482‐6334
SAUNDERS, FREIDA F      145 WASHINGTON CT              APT 1                                                     UKIAH            CA   95482‐6334
SAUNDERS, GARRETT A     311 GREENE ST                                                                            FAIRBORN         OH   45324‐4634
SAUNDERS, GARY D        2673 SELMA JAMESTOWN RD                                                                  CEDARVILLE       OH   45314‐5314
SAUNDERS, GARY F        367 WASHINGTON ST              P.O. BOX 433                                              STERLING         MI   48659‐2503
SAUNDERS, GARY L        18245 BERKSHIRE DR                                                                       GREGORY          MI   48137
SAUNDERS, GENE J        1734 GAY LN                                                                              LANSING          MI   48912‐4514
SAUNDERS, GEORGE D      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                       STREET, SUITE 600
SAUNDERS, GEORGE D      56 BOONE HOLLOW LN                                                                       SPRINGVILLE      IN   47462‐5209
SAUNDERS, GERALD W      7199 E LINCOLN RD                                                                        BRECKENRIDGE     MI   48615‐9535
SAUNDERS, GORDON R      1823 BROWNING DR                                                                         ARLINGTON        TX   76010‐4631
SAUNDERS, GRACE E       5061 ROSE LN                                                                             FLINT            MI   48506‐1552
SAUNDERS, GRACE E       5061 ROSE LANE                                                                           FLINT            MI   48506‐1552
SAUNDERS, GREGORY S     2995 BENT OAK HWY                                                                        ADRIAN           MI   49221
SAUNDERS, HAZEL MAE     12154 MOLETTE ST                                                                         NORWALK          CA   90650‐6663
SAUNDERS, HELEN E       6419 PONTIAC LK RD                                                                       WATERFORD        MI   48327‐1752
SAUNDERS, HELEN E       6419 PONTIAC LAKE RD                                                                     WATERFORD        MI   48327‐1752
SAUNDERS, HELEN L       2407 MCCAWBER DRIVE            LIMESTONE GARDENS                                         WILMINGTON       DE   19808
SAUNDERS, HELGA G       521 N 1420 E                                                                             LOGAN            UT   84321‐4371
SAUNDERS, IKUKO         57 GRIDER ST                                                                             BUFFALO          NY   14215‐4029
SAUNDERS, IKUKO         57 GRIDER ST.                                                                            BUFFALO          NY   14215‐4029
SAUNDERS, IRVIN B       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                       STREET, SUITE 600
SAUNDERS, JACK          1264 OLD ECCLES RD                                                                       BECKLEY          WV 25801‐8814
SAUNDERS, JAMES E       1060 FROST RD                                                                            STREETSBORO      OH 44241‐4855
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Name                    Address1                           Address2                      Address3   Address4         City                State Zip
SAUNDERS, JAMES H       1629 W OAKLEY PARK RD                                                                        COMMERCE TOWNSHIP    MI 48390‐1146
SAUNDERS, JAMES L       31453 ALCONA CT                                                                              WESTLAND             MI 48186‐4701
SAUNDERS, JAMES LEE     31453 ALCONA CT                                                                              WESTLAND             MI 48186‐4701
SAUNDERS, JAMES R       713 W SPRUCE #2046                                                                           DEMING               NM 88030
SAUNDERS, JANIE L       25200 W ELM ST                                                                               OLATHE               KS 66061‐8819
SAUNDERS, JANNIS D      5080 FAIRMONT ST                                                                             PAHRUMP              NV 89061‐7775
SAUNDERS, JEAN M        15515 CASIANO CT                                                                             LOS ANGELES          CA 90077‐1506
SAUNDERS, JERRY L       622 S SUNBURY RD APT 105                                                                     WESTERVILLE          OH 43081‐7165
SAUNDERS, JOANN J       4175 RICHFIELD RD                                                                            FLINT                MI 48506‐2027
SAUNDERS, JOE A         4639 N 615 W                                                                                 HUNTINGTON           IN 46750‐8921
SAUNDERS, JOE ALLEN     4639 N 615 W                                                                                 HUNTINGTON           IN 46750‐8921
SAUNDERS, JOHN K        8319 RIVER RD                                                                                COTTRELLVILLE        MI 48039‐3342
SAUNDERS, JOHN M        346 DILORENZO DR                                                                             NAPERVILLE            IL 60565‐3386
SAUNDERS, JOHN V        2801 HOLLETTS CORNER RD                                                                      CLAYTON              DE 19938‐3132
SAUNDERS, JORDAN A      4639 N 615 W                                                                                 HUNTINGTON           IN 46750‐8921
SAUNDERS, JORDAN ALEX   4639 N 615 W                                                                                 HUNTINGTON           IN 46750‐8921
SAUNDERS, JOSEPH W      6016 KINGS CT                                                                                DRYDEN               MI 48428‐9336
SAUNDERS, JOYCE A       102 EVERGREEN CT                                                                             SLIPPERY ROCK        PA 16057‐1162
SAUNDERS, JOYCE M       101 PALM DR                        ISLAND ESTATES                                            HUNTINGTON           WV 25705‐2562
SAUNDERS, JULIAN A      905 N HARRISON ST                                                                            WILMINGTON           DE 19806‐4532
SAUNDERS, KAREN A       6585 PENTECOST HWY                                                                           ADRIAN               MI 49221‐9124
SAUNDERS, KATHERN L     PO BOX 7                                                                                     WORTHINGTON          WV 26591
SAUNDERS, KATHY A       2514 ARCH RD                                                                                 EATON RAPIDS         MI 48827‐8229
SAUNDERS, KELLY J       4411 MURIEL DR                                                                               FLINT                MI 48506‐1450
SAUNDERS, KENNETH       SIMMONS FIRM                       PO BOX 521                                                EAST ALTON            IL 62024‐0519
SAUNDERS, KENNETH F     929 SLACK DR                                                                                 ANDERSON             IN 46013‐3621
SAUNDERS, KENNETH L     3691 DALEY RD                                                                                LUM                  MI 48412‐9235
SAUNDERS, KENNETH LEE   3691 DALEY RD                                                                                LUM                  MI 48412‐9235
SAUNDERS, KEVIN N       PO BOX 546                                                                                   ORTONVILLE           MI 48462‐0546
SAUNDERS, KIRK D        1930 CORUNNA AVE                                                                             OWOSSO               MI 48867
SAUNDERS, KIRK M        1353 HERTEL AVE                                                                              BUFFALO              NY 14216‐2832
SAUNDERS, KRIS A        5041 FORD AVE                                                                                TOLEDO               OH 43612‐3013
SAUNDERS, KRIS ALAN     5041 FORD AVE                                                                                TOLEDO               OH 43612‐3013
SAUNDERS, KYLE M        630 MICHIGAN BLVD                                                                            SALEM                OH 44460‐1430
SAUNDERS, LARRY D       5054 NORTH 25 WEST                                                                           GREENFIELD           IN 46140‐7500
SAUNDERS, LARRY G       6416 N 2ND ST                                                                                KALAMAZOO            MI 49009‐8863
SAUNDERS, LARRY H       4 SHAWNEE DR                                                                                 CHILLICOTHE          OH 45601‐1148
SAUNDERS, LARRY S       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                           STREET, SUITE 600
SAUNDERS, LAURA E       1871 BLUE BALL ROAD                                                                          ELKTON              MD   21921‐3302
SAUNDERS, LAWRENCE J    25200 W ELM ST                                                                               OLATHE              KS   66061‐8819
SAUNDERS, LEE E         15515 CASIANO CT                                                                             LOS ANGELES         CA   90077‐1506
SAUNDERS, LEEANN N      740 N WEST ST                                                                                XENIA               OH   45385‐2340
SAUNDERS, LEO M         2839 CYNWOOD ST                                                                              LANSING             MI   48906‐2807
SAUNDERS, LESLIE        6348 UPPER RIDGE DR                                                                          CANAL WINCHESTER    OH   43110
SAUNDERS, LILLIAN B     3954 ZINSLE AVE                                                                              CINCINNATI          OH   45213‐2349
SAUNDERS, LOLA          3315 SYCKELMOORE ST                                                                          TRENTON             MI   48183‐3570
SAUNDERS, LONNIE R      416 HAMILTON ST                                                                              WEST MILTON         OH   45383
SAUNDERS, LONNIE R      111 ROCKHILL DR                                                                              WEST MILTON         OH   45383‐1224
SAUNDERS, LUCILLE       6230 SHAMROCK LN                                                                             HARTFORD            WI   53027‐9044
SAUNDERS, LUELLA        3058 W DODGE RD                                                                              CLIO                MI   48420‐1935
SAUNDERS, LUTHER G      110 E DELAVAN AVE                                                                            BUFFALO             NY   14208‐1233
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Name                      Address1                         Address2             Address3       Address4         City              State Zip
SAUNDERS, LUTHER GERALD   110 E DELAVAN AVE                                                                     BUFFALO            NY 14208‐1233
SAUNDERS, LYNN F          2860 MONTE VIS                                                                        BRIGHTON           MI 48114‐9473
SAUNDERS, LYNN R          6337 GRANDVIEW DR                                                                     ERIE               MI 48133‐9663
SAUNDERS, MADELINE        22361 SAMUEL ST                                                                       TAYLOR             MI 48180‐2797
SAUNDERS, MALACHIAH       190 RESERVE AVE                                                                       OBERLIN            OH 44074‐9320
SAUNDERS, MARGARET E      1701 BEDFORD SQUARE DR APT 108                                                        ROCHESTER HILLS    MI 48306‐4438
SAUNDERS, MARGARET O      3870 PETZINGER RD                                                                     COLUMBUS           OH 43232‐8233
SAUNDERS, MARI M          5041 FORD AVE                                                                         TOLEDO             OH 43612‐3013
SAUNDERS, MARIAN          1685 CINNAMON LN                                                                      DUNEDIN            FL 34698‐2305
SAUNDERS, MARK A          1394 JUDD RD                                                                          SALINE             MI 48176‐9756
SAUNDERS, MARVA J         3203 VERNONTOWN RD                                                                    WEST BLOCTON       AL 35184‐3523
SAUNDERS, MARY            60 BOSTON POST RD                                                                     OLD SAYBROOK       CT 06475
SAUNDERS, MARY A          1734 GAY LN                                                                           LANSING            MI 48912‐4514
SAUNDERS, MAX W           869 N BRIGGS RD                                                                       QUINCY             MI 49082‐9471
SAUNDERS, MELISSA A       373 GEORGIA DR                                                                        XENIA              OH 45385‐4890
SAUNDERS, MERRILL E       11009 ECR 50 SOUTH                                                                    SELMA              IN 47383
SAUNDERS, MICHAEL D       2020 WINDSOR DR                                                                       COLUMBIA           TN 38401‐4953
SAUNDERS, MICHAEL P       5497 BANGOR AVE                                                                       FLUSHING           MI 48433‐9000
SAUNDERS, MICHAEL P       7907 WALKER AVE                                                                       KANSAS CITY        KS 66112‐2045
SAUNDERS, MONICA K        3113 BRIDGEFORD DR                                                                    ORLANDO            FL 32812‐6084
SAUNDERS, MYRTLE M        4841 ANNHURST RD                                                                      COLUMBUS           OH 43228‐1399
SAUNDERS, NANCY J         4999 WHIG HWY                                                                         CLAYTON            MI 49235‐9619
SAUNDERS, NAOMI J         1747 FAIRWAY DR                                                                       SPRINGFIELD        OH 45504‐1214
SAUNDERS, NATASHA N       921 ALAMEDA AVE                                                                       YOUNGSTOWN         OH 44510‐1203
SAUNDERS, NICHOLAS        APT 28                           2058 AUBURN AVENUE                                   CINCINNATI         OH 45219‐3081
SAUNDERS, NORA            3201 LOWELL AVE                                                                       RICHMOND           CA 94804‐1165
SAUNDERS, PATRICIA T      7080 WATEREDGE DR                                                                     SHERRILLS FRD      NC 28673‐9768
SAUNDERS, PATRICK         CONSUMER LEGAL SERVICES PC       30928 FORD RD                                        GARDEN CITY        MI 48135‐1803
SAUNDERS, PATRICK J       234 N RILEY ST                                                                        KANSAS CITY        MO 64119‐1746
SAUNDERS, PAUL B          7907 WALKER AVE                                                                       KANSAS CITY        KS 66112‐2045
SAUNDERS, PAUL E          414 W MAPLE ST                                                                        DESHLER            OH 43516‐1012
SAUNDERS, PHILIP C        1690 HILLCREST DR                                                                     ROCHESTER HILLS    MI 48306‐3138
SAUNDERS, PHILIP T        1851 CONNOLLY DRIVE                                                                   TROY               MI 48098‐5329
SAUNDERS, PHYLLIS L       9265 EMILY DR                                                                         DAVISON            MI 48423‐2868
SAUNDERS, PRISCILLA A     4586 BERQUIST DRIVE                                                                   TROTWOOD           OH 45426‐1804
SAUNDERS, RAFAEL
SAUNDERS, RANDALL M       624 PLAYERS CROSSING WAY                                                              BOWLING GREEN     KY   42104‐5534
SAUNDERS, RAY             PO BOX 181                                                                            EAST LYNNE        MO   64743‐0181
SAUNDERS, REGINALD A      16 BOUNTIFUL RD                                                                       SOMERVILLE        AL   35670‐3804
SAUNDERS, RENALDO         387 HOMEWOOD AVE SE                                                                   WARREN            OH   44483‐6005
SAUNDERS, RICHARD A       6430 BURNT MILL RD                                                                    BEULAH            CO   81023‐8714
SAUNDERS, RICHARD A       1717 AMHERST ST                                                                       BUFFALO           NY   14214‐2019
SAUNDERS, RICHARD E       2800 PLAZA DEL AMO UNIT 401                                                           TORRANCE          CA   90503‐8903
SAUNDERS, RICHARD G       1624 TRAVIS DR                                                                        TOLEDO            OH   43612‐4060
SAUNDERS, RICHARD J       16902 WHITBY ST                                                                       LIVONIA           MI   48154‐2532
SAUNDERS, RICHARD L       329 E. VINE ST.                                                                       BRADFORD          OH   45308‐5308
SAUNDERS, RICHARD L       329 E VINE ST                                                                         BRADFORD          OH   45308‐1350
SAUNDERS, RICHARD L       1328 VINE ST                                                                          BELOIT            WI   53511‐4216
SAUNDERS, RICK A          655 N 975 W                                                                           ANDREWS           IN   46702‐9744
SAUNDERS, RITA            431 MUNDY LN                                                                          MOUNT VERNON      NY   10550‐4300
SAUNDERS, RITA            431 MUNDY LANE                                                                        MOUNT VERNON      NY   10550‐4300
SAUNDERS, RITA ROCETA
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Name                   Address1                      Address2                  Address3   Address4         City               State Zip
SAUNDERS, ROBERT A     7889 BOBOLINK DR                                                                    CINCINNATI          OH 45224‐1103
SAUNDERS, ROBERT C     14865 BYRON RD                                                                      BYRON               MI 48418‐9743
SAUNDERS, ROBERT D     12343 DIEHL RD                                                                      NORTH JACKSON       OH 44451‐9734
SAUNDERS, ROBERT H     PAUL REICH & MYERS P.C.       1608 WALNUT ST STE 500                                PHILADELPHIA        PA 19103‐5446
SAUNDERS, ROBERT H     290 CALEF HWY UNIT C19                                                              EPPING              NH 03042‐2361
SAUNDERS, ROBERT J     PO BOX 123                                                                          MERRILL             MI 48637‐0123
SAUNDERS, ROBERT L     7147 ALGER DR                                                                       DAVISON             MI 48423‐2304
SAUNDERS, ROBERT W     2039 WHITTLESEY ST                                                                  FLINT               MI 48503‐4348
SAUNDERS, ROBERTA M    6499 FERN HILL RD                                                                   MONMOUTH            OR 97361‐9531
SAUNDERS, RODGER G     73 GROVE RD                                                                         CINCINNATI          OH 45215‐1355
SAUNDERS, RODNEY       836 20TH STREET 14303                                                               NIAGARA FALLS       NY 14301
SAUNDERS, ROGER F      1030 BRONCO CT                                                                      LABELLE             FL 33935‐4739
SAUNDERS, ROGER L      6585 PENTECOST HWY                                                                  ADRIAN              MI 49221‐9124
SAUNDERS, ROGER LEE    6585 PENTECOST HWY                                                                  ADRIAN              MI 49221‐9124
SAUNDERS, RONALD J     41 WOODLAKE DR                                                                      MANNING             SC 29102‐9522
SAUNDERS, RONALD L     758 CORDOVA CIRCLE                                                                  THE VILLAGES        FL 32162‐1409
SAUNDERS, SHELLEY L    5101 WELL FLEET DR                                                                  TROTWOOD            OH 45426‐1419
SAUNDERS, SHELLY A     3940 FULTON AVE                                                                     MORAINE             OH 45439‐2004
SAUNDERS, SHERRY L     121 FREDERICK DR                                                                    OXFORD              MI 48371‐4741
SAUNDERS, SHERRY L     16129 COUNTY ROAD B                                                                 NEW BAVARIA         OH 43548‐9723
SAUNDERS, SHERRY V     4122 S AFTON RD                                                                     JANESVILLE          WI 53546
SAUNDERS, SHIRLEY      910 4TH AVE                                                                         GALLIPOLIS          OH 45631‐1647
SAUNDERS, SHIRLEY A    37282 HARVEST AVE                                                                   AVON                OH 44011‐2801
SAUNDERS, SHIRLEY H    788 WOODLAND AVE                                                                    ORADELL             NJ 07649‐1432
SAUNDERS, SINCLAIR     2148 PINTAIL DR                                                                     LITHONIA            GA 30058‐8334
SAUNDERS, STACEY J     3768 WOODMAN DR                                                                     DAYTON              OH 45429
SAUNDERS, STEVEN M     6122 W COOK RD                                                                      FORT WAYNE          IN 46818‐9414
SAUNDERS, T K          616 S WATER ST                                                                      CRAWFORDSVILLE      IN 47933‐3468
SAUNDERS, T KYLE       616 S WATER ST                                                                      CRAWFORDSVILLE      IN 47933‐3468
SAUNDERS, TERRY L      3340 S GREENSBORO PIKE                                                              NEW CASTLE          IN 47362‐9605
SAUNDERS, THELMA W     1607 STEWART AVE.                                                                   YOUNGSTOWN          OH 44505‐3418
SAUNDERS, THOMAS A     131 MAYFIELD DR                                                                     MURFREESBORO        TN 37128‐4528
SAUNDERS, THOMAS C     1750 S ELBA RD                                                                      LAPEER              MI 48446‐9786
SAUNDERS, THOMAS D     8213 N EVERTON AVE # 10                                                             KANSAS CITY         MO 64152
SAUNDERS, THOMAS L     5223 CYPRESS AVE                                                                    KANSAS CITY         MO 64130‐3136
SAUNDERS, THOMAS P     4539 BURNLEY DR                                                                     BLOOMFIELD HILLS    MI 48304‐3718
SAUNDERS, TIMOTHY      51 SMITH RD                                                                         MANSFIELD           MA 02048‐1788
SAUNDERS, TONY E       2509 SHERIDAN AVE                                                                   SAGINAW             MI 48601‐3951
SAUNDERS, VELVA J      1435 SUMMERS SCHOOL RD                                                              MORGANTOWN          WV 26508
SAUNDERS, VICKI        5054 NORTH 25 WEST                                                                  GREENFIELD          IN 46140‐7500
SAUNDERS, VICTOR       THE LIPMAN LAW FIRM           5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES        FL 33146
SAUNDERS, VICTOR       LIPMAN DAVID M                5901 SW 74TH ST STE 304                               MIAMI               FL 33143‐5163
SAUNDERS, VINCENT D    738 PORTEOUS DR                                                                     LAKE ORION          MI 48362‐1670
SAUNDERS, VIRGINIA A   210 CRAWFORD ST                                                                     MIDDLETOWN          DE 19709
SAUNDERS, WALTER W     PO BOX 17107                                                                        TAMPA               FL 33682‐7107
SAUNDERS, WALTER W     22821 GLENWOOD ST                                                                   CLINTON TWP         MI 48035‐2933
SAUNDERS, WAYNE E      34704 ROSEBUD ROW                                                                   ZEPHYRHILLS         FL 33541‐2484
SAUNDERS, WESLEY J     8327 NORMILE ST                                                                     DETROIT             MI 48204‐5209
SAUNDERS, WILLIAM A    49 1/2 MAPLE ST TRLR 24                                                             MASSENA             NY 13662‐1061
SAUNDERS, WILLIAM R    300 BURKESVILLE ST                                                                  COLUMBIA            KY 42728‐1903
SAUNDERS, WILLIE M     2229 HOLLYWOOD AVE                                                                  TOLEDO              OH 43606‐4617
SAUNDERS, WILMER H     1871 BLUE BALL RD                                                                   ELKTON              MD 21921‐3302
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Name                    Address1                         Address2                      Address3   Address4         City            State Zip
SAUNDERS, WILSON J      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                         STREET, SUITE 600
SAUNDERS, WONZIE L      26601 COOLIDGE HWY               C/O GUARDIAN CARE INC                                     OAK PARK        MI   48237‐1135
SAUNDERS, WONZIE L      C/O GUARDIAN CARE INC            26601 COOLIDGE HWY                                        OAK PARK        MI   48237
SAUNDERS,MELISSA A      373 GEORGIA DR                                                                             XENIA           OH   45385‐4890
SAUNDRA A COBBIN        2059 FELICIA AVE                                                                           YOUNGSTOWN      OH   44504
SAUNDRA A LAKE          5055 SANDALWOOD DR                                                                         GRAND BLANC     MI   48439‐4261
SAUNDRA A WAGNER        6018 MEADOWLARK DR                                                                         INDIANAPOLIS    IN   46226‐3411
SAUNDRA ABERNATHY       1268 YELLOWWOOD DR                                                                         COLUMBUS        OH   43229‐4415
SAUNDRA B ONYEKWERE     19415 GREENFIELD RD                                                                        DETROIT         MI   48235‐2015
SAUNDRA BEESLER         1121 N HAGUE AVE                                                                           COLUMBUS        OH   43204‐2125
SAUNDRA BLEVINS         1620 FLEMING FALLS RD                                                                      MANSFIELD       OH   44903‐8899
SAUNDRA BOXX            22805 SOUTH EAST STATE           ROUTE B                                                   COWGILL         MO   64637
SAUNDRA BRAXTON         3384 MCGRAW ST                                                                             DETROIT         MI   48208‐1427
SAUNDRA CAREY           409 VIRGINIA AVE APT 418                                                                   TOWSON          MD   21286‐5382
SAUNDRA CARPENTER       2191 FAIROAKS DR                                                                           BAY CITY        MI   48708‐7666
SAUNDRA CONRAD          1834 W SPENCER AVE                                                                         MARION          IN   46952‐3376
SAUNDRA D HUFF          215 WELCOME WAY BOULEVARD EAST                                                             INDIANAPOLIS    IN   46214‐3082
SAUNDRA D SANGSTER      16300 N PARK DR APT 319                                                                    SOUTHFIELD      MI   48075‐4721
SAUNDRA D THOMPSON      120 HARPER AVE APT 4                                                                       DETROIT         MI   48202‐3569
SAUNDRA DUKES           8410 ARBELA RD                                                                             MILLINGTON      MI   48746‐9526
SAUNDRA EARLY           25341 GREEN HERON DR                                                                       LEESBURG        FL   34748‐7813
SAUNDRA FIELDS          5077 PRESTONWOOD LN                                                                        FLUSHING        MI   48433‐1381
SAUNDRA GALL            9158 S OLD STATE RD                                                                        LEWIS CENTER    OH   43035‐8101
SAUNDRA GALLIHER        PO BOX 789                                                                                 WENDELL         NC   27591‐0789
SAUNDRA GOODING         600 SOUTH COUNTY ROAD 325 WEST                                                             NEW CASTLE      IN   47362‐9710
SAUNDRA GOODMAN         1986 SALT SPRINGS RD                                                                       MC DONALD       OH   44437
SAUNDRA GULLETT         11306 WEST ST                                                                              GRAND BLANC     MI   48439‐1237
SAUNDRA HOLLINGSWORTH   3691 EMBARCADERO ST                                                                        WATERFORD       MI   48329‐2240
SAUNDRA HUFF            215 WELCOME WAY BOULEVARD EAST                                                             INDIANAPOLIS    IN   46214‐3082
SAUNDRA J STARK         5418 GARDENDALE AVE                                                                        TROTWOOD        OH   45427
SAUNDRA JACKSON         477 S MURRAY HILL RD                                                                       COLUMBUS        OH   43228‐1949
SAUNDRA K FLYNN         5464 ANTOINETTE DR                                                                         GRAND BLANC     MI   48439‐4384
SAUNDRA K SLEMP         7074 S FORK DR                                                                             SWARTZ CREEK    MI   48473‐9737
SAUNDRA L BURKS         2746 ENGLAND AVE                                                                           DAYTON          OH   45406‐1331
SAUNDRA L GILKEY        1345 SHAFTESBURY RD                                                                        DAYTON          OH   45406
SAUNDRA L WILLETT       BOX 10131 ST RT 28                                                                         NEW VIENNA      OH   45159
SAUNDRA L WRIGHT        3113 GARDENIA DRIVE                                                                        DAYTON          OH   45449
SAUNDRA LAKE            5055 CANDLEWOOD DR                                                                         GRAND BLANC     MI   48439‐2004
SAUNDRA LOWE            8038 S PRINCETON AVE                                                                       CHICAGO         IL   60620‐1714
SAUNDRA M CARPENTER     2191 FAIROAKS DR                                                                           BAY CITY        MI   48708‐7666
SAUNDRA MASSINGILLE     14001 GREENBRIAR ST                                                                        OAK PARK        MI   48237‐2737
SAUNDRA MC DONALD       4042 S OAK DR                                                                              BEAVERTON       MI   48612‐8813
SAUNDRA MC GOWEN        1021 SW 98TH ST                                                                            OKLAHOMA CITY   OK   73139‐2806
SAUNDRA MCARTHUR        103 MULBERRY ST                                                                            PICKERINGTON    OH   43147‐7939
SAUNDRA MILLS           18855 MARTINSVILLE RD                                                                      BELLEVILLE      MI   48111‐8702
SAUNDRA PARKS           3357 WINDLAND DR                                                                           FLINT           MI   48504‐1764
SAUNDRA REITZEL         1303 S BARCLAY ST                                                                          BAY CITY        MI   48706‐5195
SAUNDRA ROBERTS         15505 LINDSAY                                                                              DETROIT         MI   48227
SAUNDRA ROBERTS         15505 LINDSAY ST                                                                           DETROIT         MI   48227
SAUNDRA ROGERS          100 WALDEN HEIGHTS DR APT 625                                                              IRMO            SC   29063‐7869
SAUNDRA SANGSTER        16300 N PARK DR APT 319                                                                    SOUTHFIELD      MI   48075‐4721
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Name                    Address1                      Address2            Address3         Address4                 City            State Zip
SAUNDRA SHARKEY         10020 OAK RD                                                                                MILLINGTON       MI 48746‐9334
SAUNDRA SINAGRA         129 FOUNTAIN VW                                                                             SHREVEPORT       LA 71118‐2944
SAUNDRA SLEMP           7074 S FORK DR                                                                              SWARTZ CREEK     MI 48473‐9737
SAUNDRA SMITH           607 CENTRAL AVE                                                                             CARLISLE         OH 45005‐3330
SAUNDRA SPRINGER        3101 STONEGATE DR                                                                           FLINT            MI 48507‐2114
SAUNDRA STARK           5418 GARDENDALE AVE                                                                         TROTWOOD         OH 45427‐2107
SAUNDRA STEGAR          2091 HEMPSTEAD RD                                                                           AUBURN HILLS     MI 48326‐3403
SAUNDRA SULLIVAN        3609 NICHOL AVE                                                                             ANDERSON         IN 46011‐3006
SAUNDRA THACKER         2205 E CENTRAL AVE                                                                          MIAMISBURG       OH 45342‐3628
SAUNDRA THEDFORD        6019 SALLY CT                                                                               FLINT            MI 48505‐2567
SAUNDRA WAGNER          6018 MEADOWLARK DR                                                                          INDIANAPOLIS     IN 46226‐3411
SAUNDRA WEISSMUELLER    28104 NORTH 15TH DRIVE                                                                      PHOENIX          AZ 85085
SAUNDRA WHALEY          613 GEORGETOWN PKWY                                                                         FENTON           MI 48430‐3621
SAUNDRA WHITE           2822 SQUIRREL DR                                                                            BEAR             DE 19701‐2765
SAUNDRA WOODARD         1325 W HILLSDALE ST                                                                         LANSING          MI 48915‐1649
SAUNDRELL BAKER         2069 E HILL RD                                                                              GRAND BLANC      MI 48439‐5107
SAUNIER, BARBARA JANE   578 PEACEFUL CT                                                                             ANDERSON         IN 46013‐1175
SAUNIER, MABEL M        1295 WEST COOK ROAD                                                                         MANSFIELD        OH 44906‐3547
SAUNTO, PATRICIA        2244 VICTOR AVE                                                                             LANSING          MI 48911‐1730
SAUNTO, STUART L        5531 W MOUNT HOPE HWY                                                                       LANSING          MI 48917‐9559
SAUNTO, TINA J          5531 W MOUNT HOPE HWY                                                                       LANSING          MI 48917‐9559
SAUNTRY, KEVIN P        305 SNOW CHIEF CT                                                                           ALPHARETTA       GA 30005‐7874
SAUNTRY, MARK T         16209 JUNIPER ST                                                                            OVERLAND PARK    KS 66085‐8530
SAUPP GEORGE            SAUPP, BONNIE                 30928 FORD RD                                                 GARDEN CITY      MI 48135‐1803
SAUPP GEORGE            SAUPP, GEORGE                 30928 FORD RD                                                 GARDEN CITY      MI 48135‐1803
SAUPP, BONNIE L         161 REDBUD LN                                                                               CARYVILLE        TN 37714‐3633
SAUPP, BONNIE L.        161 REDBUD LANE                                                                             CARYVILLE        TN 37714‐3633
SAUPP, CHARLES          162 BANNARD AVE                                                                             TONAWANDA        NY 14150‐6214
SAUPP, MADELINE M       RR 1 BOX 758                  EMERY AVE                                                     HOUTZDALE        PA 16651‐9682
SAUPPE, PAUL M          1500 SOUTH DR                                                                               HILLSDALE        MI 49242‐9470
SAUR JR, GERALD N       14949 W CRENSHAW DR                                                                         GOODYEAR         AZ 85395‐8852
SAUR, ALLEN H           4586 CARRICK AVE SE                                                                         KENTWOOD         MI 49508‐4577
SAUR, MARY M            11065 GREAT WESTERN LN W                                                                    JACKSONVILLE     FL 32257‐3319
SAUR, MARY M            11065 GREAT W LN                                                                            JACKSONVILLE     FL 32257
SAUR, ROGER L           203 DENNIS DR NE                                                                            LOS LUNAS        NM 87031‐8743
SAURBAUGH, DAVID D      6804 ARJAY DR                                                                               INDIANAPOLIS     IN 46217‐3001
SAURBEK, GREGORY R      368 IONIA                                                                                   MUIR             MI 48860‐9701
SAURBEK, WILLIAM L      809 N CLINTON AVE                                                                           SAINT JOHNS      MI 48879‐1037
SAURBER, CARL M         1958 BELTWAY SOUTH                                                                          AVILENE          TX 79606‐5830
SAURBER, CARL M         1958 BELTWAY S                                                                              ABILENE          TX 79606‐5830
SAURER AG               1823 E WHITCOMB AVE                                                                         MADISON HTS      MI 48071‐1413
SAURER III, CURT J      21736 SIEGAL DR                                                                             NOVI             MI 48375‐4961
SAURER, EDITH           902 SHAGBARK RD                                                                             NEW LENOX         IL 60451‐3101
SAURER, RAMONA P        201 ELY DR S                                                                                NORTHVILLE       MI 48167‐2708
SAURIN JOSHI
SAURINI MARIO           7358 HOGAN DR                                                                               YPSILANTI       MI 48197‐6109
SAURINI, MARIO L        820 BEDFORD ST                                                     WINDSOR ON CANADA N9G‐
                                                                                           1H5
SAURINI, MARIO L        820 BEDFORD                                                        WINDSOR ON N9G1H5
                                                                                           CANADA
SAURINI, MARY A         650 GALLUP RD                                                                               SPENCERPORT     NY 14559‐9560
SAURINI, ROBERT C       121 WENDHURST DR                                                                            ROCHESTER       NY 14916‐3805
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Name                        Address1                      Address2                  Address3   Address4                City              State Zip
SAURMAN, VINCENT M          3132 W BIRCH RUN RD                                                                        BURT               MI 48417‐9693
SAURO BIANCHELLI            VIA DELL'OSPIZIO N.16         60121 ‐ ANCONA            ITALY
SAURO BIANCHELLI            VIA DELL'OSPIZIO N.16         60121‐ ANCONA
SAURO NUNZIATI              VIA COLOMBO, 6                61100 PESARO ‐ ITALY                                         ITALY             NY   61100
SAURO SANTIONI              1313 DACOSTA ST                                                                            DEARBORN          MI   48128‐1426
SAURO, ANTHONY J            815 BAYFIELD ST                                                                            LAKE ORION        MI   48362‐3603
SAURO, CARMELA              2950 AIRPORT RD               C/O LAURA J MERSINO POA                                      WATERFORD         MI   48329‐3309
SAURO, COLLEEN              4 NELSON ST                                                                                HOLLEY            NY   14470‐1204
SAURO, DONNA J              PO BOX 545                                                                                 GOODRICH          MI   48438‐0545
SAURO, JOHN V               5779 STRATHDON WAY                                                                         WATERFORD         MI   48327‐2052
SAURO, JOSEPH A             121 RUBY RD                                                                                LIVERPOOL         NY   13088‐5431
SAURO, KAREN S              5779 STRATHDON WAY                                                                         WATERFORD         MI   48327‐2052
SAURO, LAWRENCE L           15 NELSON ST                                                                               HOLLEY            NY   14470‐1208
SAURO, NELL                 2 KNOLL CIR                                                                                MANCHESTER        NJ   08759‐6629
SAURO, ROBERT L             4362 N MANNING RD                                                                          HOLLEY            NY   14470
SAURUGG HELMUT              MAILANDERWEG 5                                                     8330 FELDBACH AUSTRIA
SAURUGG MARIA               MAILANDERWEG 5                                                     8330 FELDBACH AUSTRIA
SAURYMPER MOSES             1103 TWIN OAKS DR                                                                          LAKEWOOD          NJ   08701‐7148
SAUSE, SEAN M               5616 BAYLOR AVE                                                                            AUSTINTOWN        OH   44515‐4104
SAUSEDA, HARRY D            154 POPPS RD                                                                               MIO               MI   48647‐9354
SAUSEDA, JEREMY             1437 ALHAMBRA DR                                                                           LEBANON           TN   37087‐8374
SAUSEDA, JOYNER L           169 SW AUDREY WAY                                                                          LAKE CITY         FL   32024‐3367
SAUSEDA, RICHARD G          2840 PLANET DR                                                                             SAGINAW           MI   48601‐7026
SAUSEDA, VERNON             2221 OAKBRANCH CIR                                                                         FRANKLIN          TN   37064‐7434
SAUSEDO, EMILIA             1690 MACK RD                                                                               SAGINAW           MI   48601‐6832
SAUSEDO, ROBINLESLI REYES   300 N CAROLINA ST                                                                          SAGINAW           MI   48602‐4025
SAUSEN, KARI A              5090 THOMPSON RD                                                                           CLARENCE          NY   14031‐1437
SAUSER, ANNA C              1824 VANCOUVER DR                                                                          CLEARWATER        FL   33756‐1733
SAUSER, ROBERT J            2417 HAPPY HOLLOW RD                                                                       JANESVILLE        WI   53546‐9043
SAUSER, ROBERT J            5267 S CHRISTIANSON RD                                                                     JANESVILLE        WI   53546‐9149
SAUSMAN, JANYCE C           2608 BAYSHORE DR                                                                           MATLACHA          FL   33993‐9789
SAUSNOCK, ANNA              304 W ELM ST                                                                               LINDEN            NJ   07036‐4120
SAUSNOCK, ANNA              304 WEST ELM STREET                                                                        LINDEN            NJ   07036‐4120
SAUSNOCK, JOHN              241 ORVILLE RD                                                                             BALTIMORE         MD   21221‐1311
SAUSSER, LOUANNE            6950 BELTON ST                                                                             GARDEN CITY       MI   48135‐2288
SAUSSER, ROBERT O           5401 RIVER ROAD                                                                            EAST CHINA        MI   48054‐4180
SAUSSER, VERA M             2202 GRENADIER DR                                                                          TROY              MI   48098‐5236
SAUTER JR, NORBERT E        253 CHAMBERS STREET                                                                        SPENCERPORT       NY   14559‐9756
SAUTER SR., DONALD E        104 SW 23RD ST                                                                             BLUE SPRINGS      MO   64015‐3411
SAUTER, ALFRED A            581 N ROSEDALE CT                                                                          GROSSE POINTE     MI   48236‐1140
SAUTER, ALOIS A             175 E NAWAKWA RD UNIT 116                                                                  ROCHESTER HILLS   MI   48307‐5271
SAUTER, CHERYL J            253 CHAMBERS ST                                                                            SPENCERPORT       NY   14559‐9756
SAUTER, DANIEL J            6403 DEERFIELD RD                                                                          PALMYRA           MI   49268‐9719
SAUTER, EDWARD G            2766 SHANGRI LA RD                                                                         STEWARTSTOWN      PA   17363‐7835
SAUTER, ELLEN M             3157 E COUNTY RD 75N                                                                       ANDERSON          IN   46017
SAUTER, HANS W              8010 TEATICKET LN                                                                          YPSILANTI         MI   48197‐9345
SAUTER, JACK K              226 S OAK ST                                                                               ITASCA            IL   60143‐2052
SAUTER, LADONNA J           128 FALLING CREEK CIR                                                                      JANESVILLE        WI   53548‐9106
SAUTER, MARILYN E.          902 N BROADWAY ST UNIT A                                                                   LEBANON           OH   45036‐2458
SAUTER, RUSSELL P           1261 PICKWICK PL                                                                           FLINT             MI   48507‐3776
SAUTER, RUSSELL W           728 BYRAM LAKE DR                                                                          LINDEN            MI   48451‐8704
SAUTER, RUSSELL WILLIAM     728 BYRAM LAKE DR                                                                          LINDEN            MI   48451‐8704
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Name                        Address1                           Address2            Address3         Address4           City               State Zip
SAUTER, TIMOTHY G           7420 LOCKLIN                                                                               WEST BLOOMFIELD     MI 48324‐3831
SAUTER, WILLIAM R           719 VIA DEL SOL                                                                            NORTH FORT MYERS    FL 33903‐1572
SAUTERER, JOANNE            7516 PELHAM DR                                                                             PARMA               OH 44129‐4806
SAUTNER, JOHN R             40 EDGEWOLD RD                                                                             WHITE PLAINS        NY 10607‐1010
SAUTTER, DAVID K            380 BEACH ST                                                                               MOUNT MORRIS        MI 48458‐1902
SAUTTER, DAVID KEITH        380 BEACH ST                                                                               MOUNT MORRIS        MI 48458‐1902
SAUTTER, DONALD L           1725 PONDEROSA TRL                                                                         SANFORD             MI 48657‐9290
SAUTTER, EVA M              2165 S DREYER RD                                                                           AU GRES             MI 48703‐9477
SAUTTER, GEORGIA E          1200 WRIGHT AVE RM 286                                                                     ALMA                MI 48801‐1133
SAUTTER, KEVIN B            8010 CALM ST                                                                               SHREVEPORT          LA 71107‐8886
SAUTTER, KEVIN BRUCE        8010 CALM ST                                                                               SHREVEPORT          LA 71107‐8886
SAUTTER, LELAND P           261 SHORT RD                                                                               SEAMAN              OH 45679‐9728
SAUTTER, MARIE              4910 138TH PL                                                                              CRESTWOOD            IL 60445‐1823
SAUTTER, MARIE              4910 W 138TH PL                                                                            CRESTWOOD            IL 60445‐1823
SAUTTER, WILLIAM C          11 N CIRCLE AVE                                                                            PORT BARRINGTON      IL 60010‐1008
SAUTTER, WILLIAM C          1408 NORTH ROUTE 23                                                                        MARENGO              IL 60152
SAUVAGE, ERNEST T           7680 DAVIS RD                                                                              SAGINAW             MI 48604‐9259
SAUVAGE, HAZEL M            1032 ANGELA AVE                                                                            AUBURN              IN 46706‐3743
SAUVAGEAU, RUSSELL R        10701 SW 100TH AVE                                                                         OCALA               FL 34481‐7621
SAUVE JENNIFER              1741 EASTWOOD CT APT 1                                                                     SCHAUMBURG           IL 60195‐3389
SAUVE JR, EMILE B           74 GLANWORTH ST                                                                            LAKE ORION          MI 48362‐3400
SAUVE'S AUTO SERVICE INC.   1421 WASHINGTON ST                                                                         TWO RIVERS          WI 54241‐3042
SAUVE'S AUTO SERVICE INC.   1421 WASHINGTON ST                                                                         TWO RIVERS          WI 54241‐3042
SAUVE, ALAN C               275 BRYN MAWR AVE APT              E1722                                                   BRYN MAWR           PA 19010
SAUVE, ARTHUR C             P.O. BOX.367                                                                               CLIO                MI 48420‐8420
SAUVE, ARTHUR C             PO BOX 367                                                                                 CLIO                MI 48420‐0367
SAUVE, ARTHUR R             11362 N WEBSTER RD                                                                         CLIO                MI 48420‐8235
SAUVE, BARBARA A            319 SYCAMORE SQ                                                                            MIDLAND             MI 48642
SAUVE, BRADLEY              1182 WEAVER FARM LN                                                                        SPRING HILL         TN 37174‐2185
SAUVE, DANIEL J             123 BELMONT ST                                                          CORNWALL ONTARIO
                                                                                                    CANADA K6H‐4Z2
SAUVE, DONALD L             2008 SE ELMHURST RD                                                                        PORT ST LUCIE      FL   34952‐8849
SAUVE, EUGENE U             244 HOUSEMAN ST                                                                            MAYFIELD           NY   12117‐3947
SAUVE, GILBERT J            5581 LESSANDRO ST                                                                          SAGINAW            MI   48603‐3627
SAUVE, GREGORY T            2224 DELWOOD DR                                                                            CLIO               MI   48420‐9114
SAUVE, IRENE M              11362 N WEBSTER RD                                                                         CLIO               MI   48420‐8235
SAUVE, JAMES L              1650 MICHAELANE DR                                                                         SAGINAW            MI   48604‐9270
SAUVE, JAMES R              7906 N BEAD PT                                                                             HERNANDO           FL   34442‐2401
SAUVE, JENNIFER             1741 EASTWOOD CT APT 1                                                                     SCHAUMBURG         IL   60195‐3389
SAUVE, JOSEPH W             207 E FISHER ST                                                                            BAY CITY           MI   48706‐4601
SAUVE, KEITH                7215 LAKE RD                                                                               MONTROSE           MI   48457‐9719
SAUVE, KENNETH J            2100 JOSE RD                                                                               KAWKAWLIN          MI   48631‐9437
SAUVE, ONALEE A             7215 LAKE RD                                                                               MONTROSE           MI   48457‐9719
SAUVE, RICHARD J            110 N CAYCE LN                                                                             COLUMBIA           TN   38401‐5606
SAUVE, RICHARD L            1645 LIBERTY RD                                                                            SAGINAW            MI   48604
SAUVE, RONALD J             3311 PEBBLE BEACH RD                                                                       GROVE CITY         OH   43123‐9504
SAUVE, ROSEMARY             PO BOX 367                                                                                 CLIO               MI   48420‐0367
SAUVE, SHIRLEY C            2224 DELWOOD DR                                                                            CLIO               MI   48420‐9114
SAUVE, SUSAN K              2251 HIGHFIELD RD                                                                          WATERFORD          MI   48329‐3835
SAUVE, SUSAN K              544 N SAGINAW ST APT 604                                                                   LAPEER             MI   48446‐2342
SAUVE, TERRY F              9212 BRIARTHORNE ST                                                                        LAS VEGAS          NV   89123‐7406
SAUVE, THOMAS G             3913 MILLER DR                                                                             WEST BRANCH        MI   48661‐9578
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Name                                  Address1                             Address2                        Address3    Address4         City                   State Zip
SAUVE, VERNIE J                       12022 SCHONBORN PL                                                                                CLIO                    MI 48420‐2126
SAUVE, WANDA JEAN                     739 AUTUMN RIDGE LN                                                                               COLUMBIA                TN 38401‐2384
SAUVER DAVID (459314)                 GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                  NORFOLK                 VA 23510
                                                                           STREET, SUITE 600
SAUVER, DAVID                         GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                  NORFOLK                VA 23510‐2212
                                                                           STREET, SUITE 600
SAUVI PEZZUOLO                        2220 INNWOOD DR                                                                                   YOUNGSTOWN             OH   44515‐5148
SAUVIE, EDWARD J                      6359 COVERED WAGONS TRL                                                                           FLINT                  MI   48532‐2114
SAUVOLA, ROBERT D                     4383 DEER PARK PASS                                                                               GRAND BLANC            MI   48439‐9605
SAUVOLA, RUTH A                       102 HUNTRESS DR                                                                                   GREER                  SC   29651‐1297
SAUWEN, CAROL D                       908 UPPER SCOTSBOROUGH WAY           WAY                                                          BLOOMFIELD HILLS       MI   48304‐3830
SAV‐MOR AUTO CLINIC INC.              780 N 400 W                                                                                       OREM                   UT   84057‐5702
SAV‐MOR AUTO CLINIC INC.              780 N 400 W                                                                                       OREM                   UT   84057‐5702
SAV‐MOR MOVING & STORAGE              1510 S CABRILLO AVE                                                                               SAN PEDRO              CA   90731‐4618
SAV‐MOR UNION PRESCRIPTION            7070 N SAGINAW RD                                                                                 MT MORRIS              MI   48458‐2141
SAV‐PLUS                              775 BALDWIN AVE                                                                                   PONTIAC                MI   48340‐2576
SAVA DAMLOVAC                         10292 BRADBURY DR                                                                                 INDIANAPOLIS           IN   46231‐1910
SAVA GREEN                            8009 DAVIS BLVD APT 2103                                                                          NORTH RICHLAND HILLS   TX   76180‐1918
SAVA, FRANK A                         2918 49TH STREET NORTH                                                                            ST PETERSBURG          FL   33710‐2724
SAVA, NICHOLAS S                      11028 ZEUS AVE                                                                                    NORWALK                CA   90650‐1870
SAVACH, ELIZABETH G                   1363 MOUNT EVERETT RD                                                                             HUBBARD                OH   44425‐2704
SAVACH, STEVEN J                      1658 S STATELINE RD                                                                               MASURY                 OH   44438‐9704
SAVADGE, CAROL S.                     6924 HIDDEN LN                                                                                    CLARKSTON              MI   48346‐2032
SAVAET JASON                          3064 SAGINAW DR                                                                                   YOUNGSTOWN             OH   44514
SAVAET, JASON D                       31048 DORCHESTER APT 169                                                                          NEW HUDSON             MI   48165‐9442
SAVAGE BURTICE (489852)               ANGELOS PETER G                      100 N CHARLES STREET , ONE                                   BALTIMORE              MD   21201
                                                                           CHARLES CENTER
SAVAGE CHARLIE (463758)               ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                   BALTIMORE              MD 21202
                                                                           CHARLES CENTER 22ND FLOOR
SAVAGE COMPANIES AND SUBSIDIARIES     BOB ATKIN                            6340 S 3000 E STE 600                                        SALT LAKE CITY         UT 84121‐3560

SAVAGE DAVID                          SAVAGE, DAVID                        44 BROAD ST NW STE 400                                       ATLANTA                GA   30303‐2328
SAVAGE DESIGN                         ROBIN TOOMS                          4203 YOAKUM BLVD                4TH FLOOR                    HOUSTON                TX   77006
SAVAGE DESIGN GROUP INC               4TH FLR                              4203 YOAKUM BLVD                                             HOUSTON                TX   77006
SAVAGE DESIGN GROUP INC               ATTN: CORPORATE OFFICER/AUTHORIZED   4203 YOAKUM BLVD                4TH FLR                      HOUSTON                TX   77006
                                      AGENT
SAVAGE GIFFORD (ESTATE OF) (492669)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD             OH 44067
                                                                           PROFESSIONAL BLDG
SAVAGE GINA                           SAVAGE, GINA                         2987 CLAIRMONT RD NE STE 130                                 ATLANTA                GA   30329‐1687
SAVAGE GOFF                           3101 WOODSIDE ST                                                                                  DEARBORN               MI   48124‐3921
SAVAGE HAYES                          42398 EDENBROOKE DR                                                                               CANTON                 MI   48187‐3913
SAVAGE HEATING & AIR COND             ATTN: STEVE SAVAGE                   PO BOX 428                                                   BAY CITY               MI   48707‐0428
SAVAGE JAMES (ESTATE OF) (632381)     ANGELOS PETER G                      100 N CHARLES STREET , ONE                                   BALTIMORE              MD   21201
                                                                           CHARLES CENTER
SAVAGE JANET                          707 SILVER LAKE RD                                                                                LINDEN                 MI   48451‐9135
SAVAGE JESSICA                        1022 8TH AVE S                                                                                    GREAT FALLS            MT   59405‐2132
SAVAGE JR, CARL M                     2801 N TIPSICO LAKE RD                                                                            HARTLAND               MI   48353‐3254
SAVAGE JR, HAROLD E                   7038 IRIS CT                                                                                      GRAND BLANC            MI   48439‐2315
SAVAGE JR, HENRY A                    266 WHITE PINE CT                                                                                 FLINT                  MI   48506
SAVAGE JR, JOSEPH                     PO BOX 91                                                                                         WICHITA FALLS          TX   76307‐0091
SAVAGE JR, RICHARD M                  707 SILVER LAKE RD                                                                                LINDEN                 MI   48451‐9135
SAVAGE JR, ROY N                      5610 WINSTON DR                                                                                   INDIANAPOLIS           IN   46226‐2324
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Name                      Address1                         Address2                         Address3   Address4         City             State Zip
SAVAGE JR, VICTOR C       3374 SUNNYVIEW DR                                                                             SAGINAW           MI 48604‐1738
SAVAGE KENNETH D          14831 PALMYRA RD                                                                              DIAMOND           OH 44412‐9629
SAVAGE KIMBERLY           SAVAGE, KIMBERLY                 120 WEST MADISON STREET , 10TH                               CHICAGO            IL 60602
                                                           FLOOR
SAVAGE MARK               5345 E MCLELLAN RD UNIT 116                                                                   MESA             AZ   85205‐3416
SAVAGE MARLANA            43 COUNTY ROAD 277                                                                            ENTERPRISE       AL   36330‐7659
SAVAGE ROBERT EUGENE      C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                          LITTLE ROCK      AR   72201
SAVAGE SR, BOBBY R        10647 NOTTINGHAM RD                                                                           DETROIT          MI   48224‐1741
SAVAGE SR, JOHN           14323 STAHELIN AVE                                                                            DETROIT          MI   48223‐2935
SAVAGE TIM                18286 MAGNOLIA OAKS DR                                                                        PRAIRIEVILLE     LA   70769‐3339
SAVAGE, ALAN J            117 TOMMY DRIVE                                                                               COLUMBIA         TN   38401‐2685
SAVAGE, ALBERT            PO BOX 445                                                                                    GENESEE          MI   48437‐0445
SAVAGE, ANN LEE           601 ELMWOOD ST                                                                                DEARBORN         MI   48124‐1606
SAVAGE, ANNETTE           13945 METTETAL ST                                                                             DETROIT          MI   48227‐1746
SAVAGE, ANNIE N           6931 RABURN RD                                                                                PENSACOLA        FL   32526‐8085
SAVAGE, BARBARA M         2278 PEMBROKE RD                                                                              BIRMINGHAM       MI   48009‐7505
SAVAGE, BETTY R           4374 EAGLE LN                                                                                 BURTON           MI   48519‐1489
SAVAGE, BEVERLY A         1047 HAYES TOWER RD                                                                           GAYLORD          MI   49735‐9609
SAVAGE, BOB J             5751 COLUMBINE WAY                                                                            POLLOCK PINES    CA   95726‐9419
SAVAGE, BOBBIE J          7220 N LINDEN RD                                                                              MOUNT MORRIS     MI   48458‐9343
SAVAGE, BRADLEY S         1663 KAREN DR                                                                                 DORR             MI   49323‐9400
SAVAGE, BRENDA K          5438 WOODLAWN DRIVE                                                                           FLINT            MI   48506‐1106
SAVAGE, BRUCE             9800 N SHAYTOWN RD                                                                            MULLIKEN         MI   48861‐9738
SAVAGE, BURTICE           ANGELOS PETER G                  100 N CHARLES STREET, ONE                                    BALTIMORE        MD   21201
                                                           CHARLES CENTER
SAVAGE, CARLTON K         17837 NW 15TH CT                                                                              PEMBROKE PINES   FL   33029‐3069
SAVAGE, CARMELLA A        9800 N SHAYTOWN RD                                                                            MULLIKEN         MI   48861‐9738
SAVAGE, CAROL Y           152 IDAHO RD                                                                                  YOUNGSTOWN       OH   44515‐2619
SAVAGE, CAROLYN A         3952 WIRELINE RD                                                                              MAYVILLE         MI   48744‐9750
SAVAGE, CHARLES A         8257 RANDY DR                                                                                 WESTLAND         MI   48185‐1706
SAVAGE, CHARLES ANTHONY   8257 RANDY DR                                                                                 WESTLAND         MI   48185‐1706
SAVAGE, CHARLES J         PO BOX 772                                                                                    AU GRES          MI   48703‐0772
SAVAGE, CHARLIE           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                    BALTIMORE        MD   21202
                                                           CHARLES CENTER 22ND FLOOR
SAVAGE, CHESTER W         231 N SHELDON ST                                                                              CHARLOTTE        MI   48813‐1451
SAVAGE, CONSTANCE L       2411 N OHIO ST                                                                                KOKOMO           IN   46901‐1655
SAVAGE, CORLIS            7156 S ABERDEEN ST                                                                            CHICAGO          IL   60621
SAVAGE, CRAIG A           174 W WASHINGTON ST #                                                                         BRISTOL          CT   06010
SAVAGE, DALE A            11033 CARR RD                                                                                 DAVISON          MI   48423‐9317
SAVAGE, DANIEL J          907 S 16TH ST                                                                                 ELWOOD           IN   46036‐2408
SAVAGE, DANIEL P          6804 S FRANCIS RD                                                                             SAINT JOHNS      MI   48879‐8736
SAVAGE, DARLENA M         12627 W OUTER DR APT 3                                                                        DETROIT          MI   48223‐3279
SAVAGE, DAVID             KROHN & MOSS ‐ GA                44 BROAD ST NW STE 400                                       ATLANTA          GA   30303‐2328
SAVAGE, DAVID R           63 GALANTE CIR                                                                                WEBSTER          NY   14580‐4710
SAVAGE, DEBORAH J         3001 MILDRED ST                                                                               FLINT            MI   48505‐4233
SAVAGE, DENISE            3216 S STATE ROAD 29                                                                          BRINGHURST       IN   46913‐9669
SAVAGE, DENISE            3216 S SR 29                                                                                  BRINGHURST       IN   46913
SAVAGE, DENNIS ANTHONY    5438 WOODLAWN DR                                                                              FLINT            MI   48506‐1106
SAVAGE, DENVER S          141 OLD MILLVILLE RD                                                                          UXBRIDGE         MA   01569‐1901
SAVAGE, DONA T            24922 DARTOWN RD                                                                              SHERIDAN         IN   46069‐9323
SAVAGE, DONALD            18919 HEYDEN ST                                                                               DETROIT          MI   48219
SAVAGE, DONALD E          2203 LONDON BRIDGE DR                                                                         ROCHESTER HLS    MI   48307‐4235
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Name                    Address1                      Address2                       Address3   Address4         City                  State Zip
SAVAGE, DORIS A         PO BOX 526                    625 E MAIN ST                                              GAS CITY               IN 46933
SAVAGE, DORIS C         C/O SANDRA SWEET              184 EAST RD                    APT 123                     DIMONDALE              MI 48821‐8797
SAVAGE, DORIS G         PO BOX 526                    625 E MAIN ST                                              GAS CITY               IN 46933‐0526
SAVAGE, DOROTHY K       14224 MOFFETT DR              C/O JUDY SHARP                                             FENTON                 MI 48430‐3263
SAVAGE, DOROTHY M       9447 MCKINLEY RD                                                                         MONTROSE               MI 48457‐9186
SAVAGE, EARL J          616 S CLINTON ST                                                                         ALEXANDRIA             IN 46001‐2418
SAVAGE, ELIZABETH       18640 INDIANA ST                                                                         DETROIT                MI 48221‐2050
SAVAGE, ELLEN           346 COUNTY ROUTE 1                                                                       BOMBAY                 NY 12914‐2609
SAVAGE, ELLEN           346 COUNTY RT 1                                                                          BOMBAY                 NY 12914
SAVAGE, ELVERA          5911 PERSHING AVE                                                                        SAINT LOUIS            MO 63112‐1513
SAVAGE, EMMA R          12374 SEYMOUR RD                                                                         MONTROSE               MI 48457‐9731
SAVAGE, ERIC C          3862 S. CENTURY OAKS                                                                     OAKLAND TWP            MI 48363
SAVAGE, EUGENE M        4528 NOHL CREST DR                                                                       FLOWERY BRANCH         GA 30542‐4608
SAVAGE, FLORINE         4443 DEER PARK PASS                                                                      GRAND BLANC            MI 48439‐9792
SAVAGE, FRANCES E       11033 CARR RD                                                                            DAVIDSON               MI 48423‐9317
SAVAGE, FREDRIC W       4867 BERRY LEAF PL                                                                       HILLIARD               OH 43026
SAVAGE, GARRY A         12374 SEYMOUR RD                                                                         MONTROSE               MI 48457‐9731
SAVAGE, GARY            4540 DARTMOOR DR                                                                         DAYTON                 OH 45416‐1802
SAVAGE, GARY D          48775 HARVEST DR                                                                         PLYMOUTH               MI 48170‐6318
SAVAGE, GARY E          3216 S STATE ROAD 29                                                                     BRINGHURST             IN 46913‐9669
SAVAGE, GEORGE L        102 OCONEE CIR                                                                           EATONTON               GA 31024‐5767
SAVAGE, GERALDINE       PO BOX 445                                                                               GENESEE                MI 48437‐0445
SAVAGE, GINA            SIMANOVSKY & ASSOCIATES       2987 CLAIRMONT RD NE STE 130                               ATLANTA                GA 30329‐1687
SAVAGE, GLEN E          40 DARBY DR SE                                                                           GALLOWAY               OH 43119‐9611
SAVAGE, GORDON D        3914 DORAL DR                                                                            DORAVILLE              GA 30360‐3129
SAVAGE, GRACE A         106 CHIPPEWA DR APT A2                                                                   MARIETTA               OH 45750‐1263
SAVAGE, GRACE E         4255 S LYNN ST APT 313                                                                   ONAWAY                 MI 49765‐8621
SAVAGE, GRACE E         4255 S. LYNN ST. BOX 47                                                                  ONAWAY                 MI 49765‐8621
SAVAGE, HALLEY EUGENE   BOONE ALEXANDRA               205 LINDA DR                                               DAINGERFIELD           TX 75638‐2107
SAVAGE, HARRY R         PO BOX 172                                                                               ESSEXVILLE             MI 48732‐0172
SAVAGE, HELEN J         1320 N OSAGE ST                                                                          INDEPENDENCE           MO 64050
SAVAGE, HELEN M         30923 CARAQUET CT                                                                        SPRING                 TX 77386‐2239
SAVAGE, HENRY L         6853 S ROOSEVELT ST                                                                      TEMPE                  AZ 85283‐5439
SAVAGE, ILO             PO BOX 7379                                                                              CHESTNUT MTN           GA 30502‐0379
SAVAGE, J ELISHA
SAVAGE, JACK E          1504 MAGNOLIA DR                                                                         ANDERSON              IN   46011‐3040
SAVAGE, JACK L          PO BOX 616                                                                               SAINT HELEN           MI   48656
SAVAGE, JACK W          192 CHERRY DR                                                                            WASHINGTON TOWNSHIP   OH   45459‐4508
SAVAGE, JAMES           ANGELOS PETER G               100 N CHARLES STREET, ONE                                  BALTIMORE             MD   21201‐3812
                                                      CHARLES CENTER
SAVAGE, JAMES A         5492 NASHVILLE HWY                                                                       CHAPEL HILL           TN   37034‐2069
SAVAGE, JAMES L         4106 MILBOURNE AVE                                                                       FLINT                 MI   48504‐3553
SAVAGE, JAMES R         2946 BUCKINGHAM AVE                                                                      BERKLEY               MI   48072‐1318
SAVAGE, JAMES T         6498 BAY MEADOW CT                                                                       YOUNGSTOWN            OH   44515‐5585
SAVAGE, JANET L         6513 SW 63RD CT                                                                          OCALA                 FL   34474‐5537
SAVAGE, JEANNE L        3032 CHARLWOOD DR                                                                        ROCHESTER HILLS       MI   48306‐3610
SAVAGE, JEFFERY A       1001 RICHMOND DR                                                                         MARSHALL              TX   75672‐2507
SAVAGE, JERRY B         4805 NW 57TH PL                                                                          KANSAS CITY           MO   64151‐2699
SAVAGE, JILL M          880 WEST 575 SOUTH                                                                       PENDLETON             IN   46064‐9160
SAVAGE, JOANN Y         81 BLUE SPRUCE LN                                                                        BALLSTON LAKE         NY   12019‐1329
SAVAGE, JOHN A          19 PERIWINKLE DR                                                                         OLMSTED FALLS         OH   44138‐3023
SAVAGE, JOHN A          132B OLD KERSEY RD                                                                       JACKSON               GA   30233‐4438
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Name                  Address1                       Address2                        Address3   Address4         City              State Zip
SAVAGE, JOHN B        1860 E MONONA DR                                                                           PERU               IN 46970‐8381
SAVAGE, JOHN T        4468 CARMANWOOD DR                                                                         FLINT              MI 48507‐5653
SAVAGE, JOSEPH        12019 GRANDMONT AVE                                                                        DETROIT            MI 48227‐1126
SAVAGE, JOSEPH M      4045 JENNIE LN                                                                             SWARTZ CREEK       MI 48473‐1552
SAVAGE, JOSEPHINE C   76 ZIMMERMAN BLVD                                                                          BUFFALO            NY 14223‐1066
SAVAGE, JOSEPHINE C   76 ZIMMERMAN                                                                               BUFFALO            NY 14223‐1066
SAVAGE, JUANITA       1908 KING AVE                                                                              DAYTON             OH 45420‐2449
SAVAGE, JULIA         9845 DICE ROAD                                                                             FREELAND           MI 48623‐8863
SAVAGE, JULIA         9845 DICE RD                                                                               FREELAND           MI 48623‐8863
SAVAGE, JULIA G       8553 NORTH M‐52                                                                            HENDERSON          MI 48841
SAVAGE, KATHERINE     505 BRADFORD DR                                                                            ROCKVILLE          MD 20850‐1902
SAVAGE, KATHLEEN F    49 E SHOREWAY DR                                                                           SANDUSKY           OH 44870‐4432
SAVAGE, KENNETH D     3025 CLAY RD NW                                                                            DELLROY            OH 44620‐9773
SAVAGE, KIMBERLY      KROHN & MOSS ‐ IL              120 WEST MADISON STREET, 10TH                               CHICAGO             IL 60602
                                                     FLOOR
SAVAGE, LAWRENCE      4731 E 34TH ST                                                                             INDIANAPOLIS      IN   46218‐2365
SAVAGE, LEROY A       8112 FOX HOLLOW RD                                                                         GOODRICH          MI   48438‐9234
SAVAGE, LESTER M      24922 DARTOWN RD                                                                           SHERIDAN          IN   46069‐9323
SAVAGE, LORRAINE C    29880 QUINKERT                                                                             ROSEVILLE         MI   48066‐2141
SAVAGE, LYNDLE O      3448 ANTILLES DR                                                                           MESQUITE          TX   75150‐1802
SAVAGE, MARILYN V.    5320 BROADMOOR PLAZA                                                                       INDIANAPOLIS      IN   46228‐2023
SAVAGE, MARTHA M      3544 WARRINGHAM AVE                                                                        WATERFORD         MI   48329
SAVAGE, MARY          9590 RUTLAND ST                                                                            DETROIT           MI   48227‐1021
SAVAGE, MARY          9590 RUTLAND                                                                               DETROIT           MI   48227‐1021
SAVAGE, MARY          1023 COUTANT ST                                                                            FLUSHING          MI   48433‐1771
SAVAGE, MARY C        1420 S F ST                                                                                ELWOOD            IN   46036‐2342
SAVAGE, MARY I        18286 PINEHURST ST                                                                         DETROIT           MI   48221‐1955
SAVAGE, MATTHEW J     2192 HURLES AVE                                                                            SIMI VALLEY       CA   93063‐2732
SAVAGE, MAXIE L       412 N 5TH ST                                                                               GODLEY            TX   76044‐3739
SAVAGE, MAXINE        63 BROOKSTONE PLACE                                                                        JACKSON           TN   38305‐1701
SAVAGE, MELVIN        3029 HUDSON AVE                                                                            YOUNGSTOWN        OH   44511‐3129
SAVAGE, MICHAEL       7240 LAKE DR                                                                               FORT MYERS        FL   33908‐4118
SAVAGE, MICHAEL E     18309 W 13 MILE RD APT 23                                                                  SOUTHFIELD        MI   48075‐1145
SAVAGE, MICHAEL J     11580 OLD DAYTON RD                                                                        BROOKVILLE        OH   45309‐9383
SAVAGE, MICHAEL J     5408 PENINSULA DR NW                                                                       CANTON            OH   44718‐1634
SAVAGE, MICHAEL J     6509 MAYVILLE RD                                                                           CLIFFORD          MI   48727‐9505
SAVAGE, MICHAEL R     44182 DYLAN                                                                                STERLING HTS      MI   48314‐1980
SAVAGE, MICHELLE      1603 WICKERSHAM DR                                                                         ARLINGTON         TX   76014‐2530
SAVAGE, MILLS S       1746 BOWERS ST                                                                             BIRMINGHAM        MI   48009‐6885
SAVAGE, MOLLIE M      157 MCCARTY RD                                                                             LA FOLLETTE       TN   37766‐7308
SAVAGE, PATRICIA A    7220 N LINDEN RD                                                                           MOUNT MORRIS      MI   48458‐9343
SAVAGE, PATRICIA K    2833 EMERALD WAY                                                                           WAYNESVILLE       OH   45068‐9591
SAVAGE, PAUL D        3276 E LAKE RD                                                                             CLIO              MI   48420‐7967
SAVAGE, PAULINE       10095 EATON PIKE                                                                           NEW LEBANON       OH   45345‐9331
SAVAGE, PEARL         PO BOX 923                                                                                 FLINT             MI   48501
SAVAGE, PEGGY A       546 CARMEL MESA DR                                                                         HENDERSON         NV   89012‐4587
SAVAGE, PETER         11353 PYLE SOUTH AMHERST RD                                                                OBERLIN           OH   44074‐9535
SAVAGE, PHILLIP C     PO BOX 191                                                                                 GUNTERSVILLE      AL   35976‐0191
SAVAGE, PHILLIP R     PO BOX 907570                                                                              GAINESVILLE       GA   30501‐0910
SAVAGE, PRISCILLA A   7061 HILLSIDE DR                                                                           WEST BLOOMFIELD   MI   48322‐2844
SAVAGE, RANDY L       2401 PEACH BLOSSOM CT                                                                      BEDFORD           TX   76021‐7234
SAVAGE, RAYMOND W     1239 CLUBHOUSE DR                                                                          LAKE ISABELLA     MI   48893‐9343
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Name                  Address1                       Address2             Address3        Address4         City               State Zip
SAVAGE, RENEE E       12067 LUMPKIN ST                                                                     HAMTRAMCK           MI 48212
SAVAGE, RICKY R       1603 WICKERSHAM DR                                                                   ARLINGTON           TX 76014‐2530
SAVAGE, RITA          598 SUNTRAIL DR                                                                      LOVELAND            CO 80538
SAVAGE, ROBERT A      886 RAMBOW DR                                                                        MONROE              MI 48161‐1853
SAVAGE, ROBERT ALAN   886 RAMBOW DR                                                                        MONROE              MI 48161‐1853
SAVAGE, ROBERT B      12411 GALE RD                                                                        OTISVILLE           MI 48463‐9477
SAVAGE, ROBERT C      7061 HILLSIDE DR                                                                     WEST BLOOMFIELD     MI 48322‐2844
SAVAGE, ROBERT C      1015 ROCK SPRING RD                                                                  BLOOMFIELD          MI 48304‐3145
SAVAGE, ROBERT E      MOODY EDWARD O                 801 W 4TH ST                                          LITTLE ROCK         AR 72201‐2107
SAVAGE, ROBERT E      905 N TIPPECANOE AVE                                                                 ALEXANDRIA          IN 46001‐1150
SAVAGE, ROBERT E      3566 SAN MATEO RD                                                                    WATERFORD           MI 48329‐2453
SAVAGE, ROBERT J      1008 CLAREMONT DR                                                                    COLUMBIA            TN 38401‐6207
SAVAGE, ROBERT L      11655 BAUMGARTNER RD                                                                 SAINT CHARLES       MI 48655‐9675
SAVAGE, ROBERT R      19401 LINWOOD DR                                                                     CLINTON TOWNSHIP    MI 48038‐4994
SAVAGE, ROBIN G       40824 GIBBEL RD                                                                      HEMET               CA 92544‐9308
SAVAGE, RONALD J      1194 DECKER RD                                                                       DECKER              MI 48426‐9756
SAVAGE, ROSALINE R    3305 BRANDON ST                                                                      FLINT               MI 48503‐3466
SAVAGE, RUSSELL C     233 NURSERY RD                                                                       ANDERSON            IN 46012‐3123
SAVAGE, RUSSELL N     3490 MILLINGTON RD                                                                   CLIFFORD            MI 48727‐9714
SAVAGE, SALLIE A      1464 BARCH RD                                                                        MOUNT MORRIS        MI 48458‐2705
SAVAGE, SANDRA        102 WELDWOOD CIR                                                                     WEST MONROE         LA 71291‐9473
SAVAGE, SANDRA B      102 WELDWOOD CIR                                                                     WEST MONROE         LA 71291‐9473
SAVAGE, SCOTT L       8553 N M52                                                                           HENDERSON           MI 48841
SAVAGE, SEAN          809 HILLDALE CIR                                                                     MILFORD             MI 48381‐2346
SAVAGE, SHANE L       609 W 33RD ST                                                                        ANDERSON            IN 46013‐4107
SAVAGE, STELLA M      1670 STIRLING AVE                                                                    PONTIAC             MI 48340‐1344
SAVAGE, STEPHANIE A   5650 RUTHERFORD CT                                                                   NORTH PORT          FL 34287‐3162
SAVAGE, STEWART       175 BRENTWOOD ST                                                                     INKSTER             MI 48141‐1254
SAVAGE, SUZANNE       1787 WHITEHAVEN RD                                                                   GRAND ISLAND        NY 14072
SAVAGE, THOMAS C      3100 WINGATE DR SE APT 3B                                                            KENTWOOD            MI 49512‐8034
SAVAGE, THOMAS J      1008 CLAREMONT DR                                                                    COLUMBIA            TN 38401‐6207
SAVAGE, THOMAS J      1228 MANSFIELD ST                                                                    WOODRIDGE            IL 60517‐7742
SAVAGE, THOMAS J      6489 LAPEER RD                                                                       BURTON              MI 48509
SAVAGE, TIM           11 DRAKE PL                                                                          YONKERS             NY 10710‐5401
SAVAGE, TONNIE        DUNLAP & LAXALT                537 RALSTON STREET                                    RENO                NV 89503
SAVAGE, TRACY P.      APT 264                        2705 LAWRENCE ROAD                                    ARLINGTON           TX 76006‐3751
SAVAGE, TYRONE        62 FOUGERON ST FL 1                                                                  BUFFALO             NY 14211
SAVAGE, VALARIE A     11033 CARR RD                                                                        DAVISON             MI 48423‐9317
SAVAGE, VALERIE       PO BOX 1783                                                                          GILBERT             AZ 85299‐1783
SAVAGE, VELETTA S     3276 E LAKE RD                                                                       CLIO                MI 48420‐7967
SAVAGE, VERNON R      11741 STOCKWELL RD                                                                   MARION              MI 49665‐9650
SAVAGE, VICTORIA L    45855 WILLOW RD                                                                      BELLEVILLE          MI 48111‐9634
SAVAGE, VILENE A      1070 JASPER AVE                                                                      KELLOGG              IA 50135
SAVAGE, WADE B        7170 FAWN LAKE DR                                                                    ALPHARETTA          GA 30005‐3648
SAVAGE, WALTER L      15798 WARD ST                                                                        DETROIT             MI 48227‐4081
SAVAGE, WAYNE E       8563 GERA RD                                                                         BIRCH RUN           MI 48415‐9717
SAVAGE, WESLEY T      250 E STATE ROAD 28                                                                  ALEXANDRIA          IN 46001‐8919
SAVAGE, WILLIAM E     17659 COUNTY ROAD 196 LOT 14                                                         FLINT               TX 75762‐9106
SAVAGE, WILLIAM L     2251 STATE ROUTE 72 S                                                                JAMESTOWN           OH 45335‐8545
SAVAGE, WILLIAM L     2251 STATE RT 72 SOUTH                                                               JAMESTOWN           OH 45335‐8545
SAVAGE, WILLIAM R     1100 ARMS RD                                                                         ESSEXVILLE          MI 48732‐9799
SAVAGE, WILLIAM W     731 SCIOTO MEADOWS BLVD                                                              GROVE CITY          OH 43123‐8656
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Name                                 Address1                           Address2            Address3         Address4            City                 State Zip
SAVAGE, WILLIE M                     3914 DORAL DR                                                                               DORAVILLE             GA 30360‐3129
SAVAGE, WILLIE MAE                   3914 DORAL DR                                                                               DORAVILLE             GA 30360‐3129
SAVAGE‐CRAIN, FREIDA                 372 S CHILLICOTHE STREET                                                                    PLAIN CITY            OH 43064‐1228
SAVAGE‐GRAHAM, PATRICIA A            9 ARVALE RD                                                                                 DORCHESTER            MA 02121‐2122
SAVAGIAN, PETER J                    532 BROWNLEY CT                                                                             BLOOMFIELD HILLS      MI 48304‐1817
SAVAGIAN, ROSE E                     810 CARRINGTON AVE                                                                          S MILWAUKEE           WI 53172‐1220
SAVAIR INC                           48500 STRUCTURAL DR                                                                         CHESTERFIELD          MI 48051‐2673
SAVAIR INC
SAVAIR/ST CLAR SHORE                 33200 FISHER DR                                                                             SAINT CLAIR SHORES   MI   48082‐1071
SAVAIR/ST. CLAIR SHO                 33200 FISHER DR                                                                             SAINT CLAIR SHORES   MI   48082‐1071
SAVAKINAS, GERALD J                  33 S SHORE DR                                                                               ALDEN                NY   14004‐9206
SAVAKINAS, LINDA                     4899 KECK RD                                                                                LOCKPORT             NY   14094‐3513
SAVAKINAS, MARY A.                   9625 TONAWANDA CREEK RD                                                                     CLARENCE CENTER      NY   14032‐9106
SAVAKINAS, ROBERT M                  4899 KECK RD                                                                                LOCKPORT             NY   14094‐3513
SAVALA JR, LEONARD A                 731 OVERLOOK DR                                                                             WINDER               GA   30680‐8534
SAVALA, ERWIN J                      3740 COUNTY ROAD PBH                                                                        ISHPEMING            MI   49849‐8763
SAVALA, LEONARD H                    874 ANDOVER CT SE                                                                           KENTWOOD             MI   49508‐4770
SAVALA, MICHELLE C                   2771 DEPOT RD                                                                               HAYWARD              CA   94545‐2345
SAVALA, ROBERT A                     525 ARBOLADO DR                                                                             FULLERTON            CA   92835
SAVALA, ROBERT C                     1003 36TH ST SW                                                                             WYOMING              MI   49509‐3547
SAVALE, JOSEPH M                     47657 VISTAS CIRCLE DR N                                                                    CANTON               MI   48188‐1484
SAVALLE, JAMES S                     24485 30 MILE RD                                                                            RAY                  MI   48096‐2113
SAVALLE, MARIO                       22845 BORDMAN RD                                                                            BERLIN               MI   48002‐4403
SAVANAH PRYOR                        826 GOLF DR APT 201                                                                         PONTIAC              MI   48341‐2311
SAVANI, RAMESH M                     611 TIMBER RIDGE DR                                                                         BARTLETT             IL   60103‐6606
SAVANICK JR, STEVE                   602 PINEBROOK CRES                                                                          VENICE               FL   34285‐6413
SAVANNA JONES                        4015 CORLISS ST                                                                             INDIANAPOLIS         IN   46217‐3369
SAVANNAH AUTO AIR                    5778 OGEECHEE RD                                                                            SAVANNAH             GA   31405‐9557
SAVANNAH CITY RECORDER               140 MAIN ST                                                                                 SAVANNAH             TN   38372‐2412
SAVANNAH COLLEGE OF ART AND DESIGN   342 BULL ST                        PO BOX 3146                                              SAVANNAH             GA   31401‐4518

SAVANNAH COLLEGE OF ART AND DESIGN   BURSARS OFFICE                     P O BOX 3146                                             SAVANNAH             GA 31402

SAVANNAH GRADY                       180 DILLON ST                                                                               MAGNOLIA             MS   39652‐2132
SAVANNAH MARTINEZ                    1106 COURTSIDE DRIVE                                                                        ARLINGTON            TX   76002‐5537
SAVANNAH OWENS                       125 OSCEOLA DR                                                                              PONTIAC              MI   48341‐1155
SAVANNAH SIMS                        2706 NARLOCH ST                                                                             SAGINAW              MI   48601‐1340
SAVANNAH TECHNICAL INSTITUTE         5717 WHITE BLUFF RD                                                                         SAVANNAH             GA   31405‐5521
SAVANNAH THOMAS                      PO BOX 6712                                                                                 YOUNGSTOWN           OH   44501‐6712
SAVANNAH VINSON                      516 HILL ST                                                                                 MONROE               GA   30656‐1508
SAVANNAH, BOBBY R                    6334 ERNWOOD CIR                                                                            SHREVEPORT           LA   71119‐6229
SAVANNAH, BOBBY RAY                  6334 ERNWOOD CIR                                                                            SHREVEPORT           LA   71119‐6229
SAVANNAH, CHANDRA N                  6334 ERNWOOD CIR                                                                            SHREVEPORT           LA   71119‐6229
SAVANNAH, JR., BOBBY R               6334 ERNWOOD CIR                                                                            SHREVEPORT           LA   71119‐6229
SAVANNET ‐ LIM                       21 RUE J‐P SAUVAGE                                                      L‐2514 LUXEMBOURG
SAVANNIA FORSTER                     4033 NORTH ST                                                                               FLINT                MI   48505‐3902
SAVANT INC                           4800 JAMES SAVAGE RD                                                                        MIDLAND              MI   48642‐6528
SAVANT INC/MIDLAND                   4800 JAMES SAVAGE RD                                                                        MIDLAND              MI   48642‐6528
SAVANT, MICHAEL F                    39628 VILLAGE RUN DR                                                                        NORTHVILLE           MI   48168‐3441
SAVANT, PAMELA A                     39628 VILLAGE RUN DR                                                                        NORTHVILLE           MI   48168‐3441
SAVARA, IRENE                        1154 SAN JOSE DR SE                                                                         EAST GRAND RA        MI   49506‐3415
SAVARD, A Y                          208 MELODY LN                                                                               TONAWANDA            NY   14150‐9110
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Name                                 Address1                           Address2                     Address3   Address4         City              State Zip
SAVARD, LLOYD                        3385 S TOWERLINE RD                                                                         BRIDGEPORT         MI 48722‐9542
SAVARD, MICHAEL D                    426 FRANCONIAN DR E                                                                         FRANKENMUTH        MI 48734‐1002
SAVARD, RAYMOND A                    193 BROWN ST                                                                                S ATTLEBORO        MA 02703‐6985
SAVARESE ISA                         437 ARLINGTON DR                   UNIT C                                                   RIDGE              NY 11961
SAVARESE ISA                         SAVARESE, ISA                      437 ARLINGTON DRIVE UNIT C                               RIDGE              NY 11961‐8071
SAVARESE LOUIS                       AVIS CAR RENTAL SYSTEM LLC         PO BOX 303                                               UNION              NJ 07083‐0303
SAVARESE LOUIS                       SAVARESE, LOUIS                    38 19TH ST                                               EAST HAMPTON       NY 11937
SAVARESE LOUIS                       SAVARESE, MARCIA                   38 19TH ST                                               EAST HAMPTON       NY 11937
SAVARESE, ARTHUR S                   72 44 66 ROAD                                                                               MIDDLE VLG         NY 11379
SAVARESE, ISA                        437 ARLINGTON DR UNIT C                                                                     RIDGE              NY 11961‐8071
SAVARESE, LOUIS
SAVARINO, FRANCES M                  57750 OMO                                                                                   RAY TOWNSHIP      MI   48096‐4544
SAVARINO, FRANCES M                  57750 OMO RD                                                                                RAY               MI   48096‐4544
SAVARINO, LOUIS T                    2350 FLINTRIDGE ST                                                                          ORION             MI   48359‐1613
SAVARY, BERNARD C                    12345 SPRINKLE RD                                                                           VICKSBURG         MI   49097‐8450
SAVAS TOROMANIDES                    61 KEATS DR                                                                                 NEW WINDSOR       NY   12553‐6414
SAVAS, JANICE FRY                    6606 SCENIC PINES CT                                                                        CLARKSTON         MI   48346‐4477
SAVAS, JO ETTA
SAVASTA & COMPANY INC                60 BROAD ST                        37TH FL                                                  NEW YORK          NY   10004
SAVASTA, RICHARD                     465 CORBIN AVE                                                                              STATEN ISLAND     NY   10308‐1875
SAVASTANO, NEIL J                    1375 S WEMBLEY CIR                                                                          PORT ORANGE       FL   32128‐3760
SAVAT, GREGORY F                     8501 MILLICENT WAY APT 2126                                                                 SHREVEPORT        LA   71115‐2236
SAVCHICK, WILLIAM                    1491 E 193RD ST                                                                             EUCLID            OH   44117‐1313
SAVCHUK, BARBARA L                   329 SALIENT PL                                                                              EASTLAKE          OH   44095‐1421
SAVE A HEART MOTT CHILDRENS HOSPITAL 300 N INGALLS ROOM N25 D06                                                                  ANN ARBOR         MI   48109

SAVE ON AUTO PARTS                   225 S DIXIE HWY W                                                                           POMPANO BEACH     FL   33060‐4603
SAVE ON AUTO PARTS                                                      225 S DIXIE HWY                                                            FL   33060
SAVE THE CHILDREN FEDERATION         54 WILTON RD                                                                                WESTPORT          CT   06880‐3108
SAVE, UELE L                         1013 COUNTRY SKIES AVE                                                                      LAS VEGAS         NV   89123
SAVE‐A‐BUCK RENT A CAR               ATTN: JOE BROWN                    250 W MONTCALM ST                                        PONTIAC           MI   48342‐1148
SAVE‐A‐LOT                           ATTN: EDDIE BAHOURA                1249 BALDWIN AVE                                         PONTIAC           MI   48340‐1909
SAVEL JR, JOSEPH G                   4200 EAST PINE LAKE ROAD                                                                    NEW SPRINGFLD     OH   44443‐9735
SAVEL JR, JOSEPH G                   4200 E PINE LAKE RD                                                                         NEW SPRINGFIELD   OH   44443‐9735
SAVEL, ALLEN F                       4215 ELLINGTON AVE                                                                          WESTERN SPRGS     IL   60558‐1260
SAVEL, FRANCIS M                     17245 23 MILE RD                                                                            MACOMB            MI   48042‐4101
SAVEL, LINDA J                       13195 ATLANTIC RD                                                                           STRONGSVILLE      OH   44149‐3956
SAVEL, STEPHEN G                     7999 STRONGSVILLE BLVD                                                                      STRONGSVILLE      OH   44149‐1534
SAVEL, STEPHEN M                     13195 ATLANTIC RD                                                                           STRONGSVILLE      OH   44149‐3956
SAVEL, WILLIAM W                     4636 FENN RD                                                                                MEDINA            OH   44256
SAVELA, JOHN M                       4995‐15 MILE RD                                                                             CEDAR SPRINGS     MI   49319
SAVELL, CONNIE D                     3813 BLUNT MILL RD                                                                          GRAND CANE        LA   71032‐5601
SAVELL, CONNIE DARLENE               3813 BLUNT MILL RD                                                                          GRAND CANE        LA   71032‐5601
SAVELL, JAMES N                      309 WINDY RIDGE DR                                                                          BRANDON           MS   39042‐2898
SAVELL, TAMMY C                      1141 NOBLE DR                                                                               EDWARDS           MS   39066‐9508
SAVELLI RONALD E                     756 BELFAST CT                                                                              GALT              CA   95632‐8132
SAVELY, GARNETTE W                   1713 W STROOP RD                                                                            DAYTON            OH   45439‐2509
SAVELY, JAMES H                      PO BOX 43                                                                                   NEW PLYMOUTH      OH   45654‐0043
SAVERIA MANGIOLA                     7 ANN MARIE DR                                                                              ROCHESTER         NY   14606‐4601
SAVERIA SCANGA                       32917 HAMPSHIRE ST                                                                          WESTLAND          MI   48185‐2839
SAVERINO, DAVID A                    5103 CRAWFORD RD                                                                            DRYDEN            MI   48428‐9719
SAVERINO, DONNA C                    504 ORCHARD VIEW DR                                                                         ROYAL OAK         MI   48073‐3323
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Name                              Address1                           Address2                           Address3      Address4             City               State Zip
SAVERIO MALLIMO                   330 MERRIE RD                                                                                            LEWISTON            NY 14092‐1246
SAVERIO MONACO                    1296 E GENESEE AVE                                                                                       FLINT               MI 48505‐1736
SAVERIO NICOLA GIORGIO FLAGELLA   VIA PIAVE 41, FOGGIA
SAVERIO RIZZUTI                   C/O BANCA FINNAT EURAMERICA SPA    PIAZZA DEL GESU 49                               00187 ROMA ITALY
SAVESKI, GORDANA                  45345 FOX LN E APT 204                                                                                   SHELBY TOWNSHIP    MI   48317‐5046
SAVESKI, JAMES Z                  35400 RYAN RD                                                                                            STERLING HEIGHTS   MI   48310‐4428
SAVETTE BROWN                     422 MCCABE AVE                                                                                           WILMINGTON         DE   19802‐4049
SAVEVSKA, SUNCICA                 21635 NEWCASTLE RD                                                                                       HARPER WOODS       MI   48225‐2361
SAVIC, DON D                      1745 PINK GUARA COURT                                                                                    TRINITY            FL   34655‐4969
SAVIC, GEORGE                     4147 CHAMPLIN DRIVE NORTHWEST                                                                            GRAND RAPIDS       MI   49534‐7554
SAVIC, JOVAN                      22440 REIN AVE                                                                                           EAST DETROIT       MI   48021‐2421
SAVIC, MARISAV                    11600 TERRITORIAL RD                                                                                     MUNITH             MI   49259‐9508
SAVIC, VESNA                      35644 SAXONY DR                                                                                          STERLING HEIGHTS   MI   48310‐5187
SAVICH, FLORENCE M                8470 CROW RD                                                                                             LITCHFIELD         OH   44253‐9514
SAVICH, FLORENCE M                8470 CROW ROAD                                                                                           LITCHFIELD         OH   44253
SAVICH, LOUIS                     6304 PENNINGTON DR                                                                                       WHITE LAKE         MI   48383‐4300
SAVICH, MICHAEL M                 3874 POTATO FARM RD                                                                                      CROSSVILLE         TN   38571‐0790
SAVICH, THOMAS L                  10528 BLAINE RD                                                                                          BRIGHTON           MI   48114‐9646
SAVICKAS BRUNO G (454037)         CLIMACO LEFKOWITZ PECA WILCOX &    1228 EUCLID AVE , HALLE BLDG 9TH                                      CLEVELAND          OH   44115
                                  GAROFOLI                           FL
SAVICKAS, BRUNO G                 CLIMACO LEFKOWITZ PECA WILCOX &    1228 EUCLID AVE, HALLE BLDG 9TH                                       CLEVELAND          OH 44115
                                  GAROFOLI                           FL
SAVICKAS, FRANK D                 6855 WOODHILLS DR NE                                                                                     ROCKFORD           MI   49341‐9214
SAVICKAS, FRANK K                 6140 ARGYLE ST                                                                                           DEARBORN           MI   48126‐2177
SAVICKAS, JAMES A                 6030 GLENBEIGH DR                                                                                        SYLVANIA           OH   43560‐1234
SAVICKAS, PAUL                    14118 WOODSIDE ST                                                                                        LIVONIA            MI   48154‐5206
SAVICKIS JURGIS                   SAVICKIS, JURGIS                   4433 W TOUGHY AVE SUITE 405                                           LINCOLNWOOD        IL
SAVIERO MARINO JR                 211 RICHARD BASSETT RD                                                                                   DOVER              DE   19904‐5428
SAVIERS, ROBERT R                 2316 PUTTER LN                                                                                           SAINT LOUIS        MO   63131
SAVILL, VICTOR                    1505 BLUE HERON DR                                                                                       ENGLEWOOD          FL   34224‐4707
SAVILLA C CROSBY                  8132 TIERRA DEL SOL RD                                                                                   ARLINGTON          TX   76002‐5702
SAVILLA CROSBY                    3033 BARDIN RD APT 406                                                                                   GRAND PRAIRIE      TX   75052‐3864
SAVILLE & COMPANY INC             PO BOX 27286                                                                                             PITTSBURGH         PA   15235‐7286
SAVILLE EVOLA & FLINT LLC         RE: SOMMERMAN EDWARD (ESTATE OF)   322 EAST BROADWAY                  P O BOX 602                        ALTON              IL   62002

SAVILLE LEROY D (358771)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA 23510
                                                                     STREET, SUITE 600
SAVILLE SHIELS, CARRIE A          10516 HALSEY RD                                                                                          GRAND BLANC        MI 48439‐8323
SAVILLE, BRYAN R                  11211 MAIN RD                                                                                            FENTON             MI 48430‐9717
SAVILLE, CARRIE
SAVILLE, DEBORAH A                11211 MAIN RD                                                                                            FENTON             MI   48430‐9717
SAVILLE, DEBORAH ANN              11211 MAIN RD                                                                                            FENTON             MI   48430‐9717
SAVILLE, GARY L                   1213 GARY DR                                                                                             BALTIMORE          MD   21228‐5125
SAVILLE, JOANN H                  25 JENKINS HILL RD                                                                                       ALEXANDRIA         TN   37012‐5001
SAVILLE, KARAN                    RR 6 BOX 6484                                                                                            KEYSER             WV   26726‐9208
SAVILLE, LEROY D                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA   23510‐2212
                                                                     STREET, SUITE 600
SAVILLE, MARY R                   1213 GARY DR                                                                                             BALTIMORE          MD   21228‐5125
SAVILLE, RICHARD H                809 RYAN RD                                                                                              SEBRING            FL   33876‐6495
SAVILLE, RONALD R                 RR 6 BOX 6484                                                                                            KEYSER             WV   26726‐9208
SAVILLE, RUBY                     C/O ROBERT M BROWNRIGG             MALLICK TOWER                                                         FORT WORTH         TX   76102
SAVILLE, RUBY                     STE 1008                           101 SUMMIT AVENUE                                                     FORT WORTH         TX   76102‐2617
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Name                              Address1                         Address2                        Address3                  Address4               City                 State Zip
SAVILLE, WILLIAM E                871 SHASTEEN HOLLOW RD                                                                                            LYNCHBURG             TN 37352‐5959
SAVILLE, WILLIAM EUGENE           871 SHASTEEN HOLLOW RD                                                                                            LYNCHBURG             TN 37352‐5959
SAVILLIS VINEYARD                 4646 BRENNAN WOODS DR                                                                                             HIGH RIDGE            MO 63049‐1843
SAVIN ENGINEERING PC              ATTN: DAVID BARNHART             6493 RIDINGS RD # 101                                                            SYRACUSE              NY 13206‐1170
SAVIN, BRAD R                     150 REDBUD DR                                                                                                     SPRINGBORO            OH 45066‐1220
SAVIN, DAVID D                    5416 S ELAINE AVE                                                                                                 CUDAHY                WI 53110‐2110
SAVIN, DONALD F                   438 W WASHINGTON AVE                                                                                              REDGRANITE            WI 54970‐9419
SAVIN, MITCHELL P                 10 ELIE CT                                                                                                        SPRINGBORO            OH 45066‐1547
SAVIN, WILLIAM M                  208 S CARNEGIE AVE                                                                                                NILES                 OH 44446‐3912
SAVIN, YVONNE G                   10 ELIE CT                                                                                                        SPRINGBORO            OH 45066‐1547
SAVINA COBBS                      5202 N 33RD ST                                                                                                    OMAHA                 NE 68111‐1628
SAVINA, TERRY L                   3103 CLEVELAND AVE                                                                                                ALIQUIPPA             PA 15001
SAVINE JR, SALVATORE              4945 ARMONK DR                                                                                                    STERLING HTS          MI 48310‐3402
SAVINE, PAUL                      5507 KINGSFIELD DR                                                                                                WEST BLOOMFIELD       MI 48322‐1459
SAVINELL, VINCENZA                ARONSON FINEMAN & DAVIS          124 E 5TH ST                                                                     EAST LIVERPOOL        OH 43920‐3031
SAVINI, FAAALUALUO                18618 BONHAM AVE                                                                                                  CARSON                CA 90746‐2137
SAVINO ANTONIO/SAVINO CARLA IDA   RIONE CAROSENO 183                                                                         83030 GRECI AV ITALY
SAVINO BRATTO                     1791 HIGHWAY 47                                                                                                   PHIL CAMPBELL        AL 35581‐4345
SAVINO DEL BENE INC               149 10 183RD ST                                                                                                   JAMAICA              NY 11413
SAVINO PAULA                      SAVINO, PAULA                    BISNAR CHASE                    ONE NEWPORT PLACE, 1301                          NEWPORT BEACH        CA 92660
                                                                                                   DOVE ST., SUITE 120,
SAVINO, BARTHY BYRD               7485 PLAZA REDONDA DR                                                                                             EL PASO              TX   79912
SAVINO, CONCHITA A                7810 81ST ST                                                                                                      GLENDALE             NY   11385‐7633
SAVINO, JOSEPH P                  5981 ASHWOOD CT                                                                                                   CLARKSTON            MI   48346‐3180
SAVINO, MARIA D                   4282 EAST AVE                    C/O PETER CHIARIELLO                                                             ROCHESTER            NY   14618‐3830
SAVINO, PAULA                     211 S. FEEMONT APT 110                                                                                            SAN MATEO            CA
SAVINO, ROSE M                    3 MAIDSTONE CT                                                                                                    TOMS RIVER           NJ   08757‐6542
SAVINO, THERESA M                 144 STAFFORD AVE                 IN REAR                                                                          BRISTOL              CT   06010
SAVINSKI, BETSY J                 409 BURROUGHS AVE                                                                                                 FLINT                MI   48507
SAVIO BYRON (464273)              KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                                    CLEVELAND            OH   44114
                                                                   BOND COURT BUILDING
SAVIO, BYRON                      KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                                     CLEVELAND            OH 44114
                                                                   BOND COURT BUILDING
SAVIO, JOSEPH R                   300 JOHN ANDERSON HWY                                                                                             FLAGLER BEACH        FL   32136‐3444
SAVIOLI, EGINO L                  27 HUTCHINSON RD                                                                                                  ATTLEBORO            MA   02703‐5413
SAVIOR'S GRACE HOME CARE          ATTN: SHANITA BRADLEY            28910 PLYMOUTH RD                                                                LIVONIA              MI   48150‐2337
SAVIOUR MAZZELLA                  2028 PITMAN AVE                                                                                                   BRONX                NY   10466‐1926
SAVIOUR SAID                      4620 51ST ST                                                                                                      DETROIT              MI   48210‐2725
SAVISKI, JOHN J                   1180 PYNCHON HALL RD                                                                                              WEST CHESTER         PA   19382‐7281
SAVISKY, AGNES                    18578 KLINGLER CIR                                                                                                PORT CHARLOTTE       FL   33948‐8923
SAVITSKI'S AUTO REPAIR            21 E MAIN ST                                                                                                      WILKES BARRE         PA   18705‐2824
SAVITSKIE JR, FRANCIS J           21128 W GLEN HAVEN CIR                                                                                            NORTHVILLE           MI   48167‐2420
SAVITSKIE, CHARLES A              6549 SCENIC DR                                                                                                    SAULT SAINTE MARIE   MI   49783‐9026
SAVITSKIE, PATRICIA L             6549 SCENIC DR                                                                                                    SAULT SAINTE MARIE   MI   49783‐9026
SAVKO, ANNA                       29 PARK AVE                                                                                                       OSSINING             NY   10562‐3612
SAVLIN TOMMY (626751)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK              VA   23510
                                                                   STREET, SUITE 600
SAVLIN, TOMMY                     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK              VA 23510‐2212
                                                                   STREET, SUITE 600
SAVO PERIC                        23142 CORA AVE                                                                                                    FARMINGTON HILLS     MI 48336‐3302
SAVO STAJIC                       2626 HARTLINE DRIVE                                                                                               ROCHESTER HLS        MI 48309‐3838
SAVO, ELSA                        2566 RIVER WOODS DR N                                                                                             CANTON               MI 48188‐3285
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Name                      Address1                              Address2                       Address3   Address4             City               State Zip
SAVO, GERALD L            4689 BARRINGTON DR                                                                                   YOUNGSTOWN          OH 44515‐5124
SAVO, ROBERT M            53741 TIDAL LN                                                                                       SHELBY TWP          MI 48316‐2274
SAVOCA JEFFREY            925 SCULL ST                                                                                         LEBANON             PA 17046‐4604
SAVOCA JERRY              232 LANDIS VALLEY RD                                                                                 LITITZ              PA 17543‐8668
SAVOCA, JAMES J           19 BELRIDGE RD                                                                                       NEW BRITAIN         CT 06053‐1007
SAVOCA, SANTA             224 KENWICK DRIVE                                                                                    SYRACUSE            NY 13208‐3139
SAVOCA, SANTA             224 KENWICK DR                                                                                       SYRACUSE            NY 13208‐3139
SAVOCCHIO, MICHAEL E      16545 DAWN DR                                                                                        CLINTON TOWNSHIP    MI 48038‐1941
SAVOIA, CHRISTINE M       10 PEMBROKE DR                                                                                       LAWRENCE            MA 01843‐3007
SAVOIE JOUBERT S E N C    1080 COTE DR BEAVER HALL SUITE 2150                                             MONTREAL CANADA PQ
                                                                                                          H2Z 1S8 CANADA
SAVOIE, DAVID J           10883 ARBOUR DR                                                                                      BRIGHTON           MI    48114‐9064
SAVOIE, DAVID JOSEPH      10883 ARBOUR DR                                                                                      BRIGHTON           MI    48114‐9064
SAVOIE, DOUGLAS M         6 MARSHALL TER                                                                                       DUDLEY             MA    01571‐3478
SAVOIE, EDWARD G          4083 MOULTON DR                                                                                      FLINT              MI    48507‐5538
SAVOIE, EDWARD GEORGE     4083 MOULTON DR                                                                                      FLINT              MI    48507‐5538
SAVOIE, FRANCIS J         PO BOX 3564                                                                                          WOONSOCKET         RI    02895‐0703
SAVOIE, JOYCE M.          6367 POKAGON RD                                                                                      BERRIEN CENTER     MI    49102‐9738
SAVOIE, MICHAEL J         7105 BLACKBERRY CREEK DRIVE                                                                          BURTON             MI    48519
SAVOIE, MICHAEL P         12230 MANTAWAUKA DR                                                                                  FENTON             MI    48430‐8849
SAVOIE, PETER A           190 DALTON CT                                                                                        LAKE LURE          NC    28746‐9643
SAVOIE, RAYMOND P         2048 COLLEGE AVE                                                                                     LINCOLN PARK       MI    48146‐1315
SAVOIE, ROSE C            561 TUSCANY VALLEY CT                 APT 11                                                         FT MITCHELL        KY    41017‐5417
SAVOIE, SANDRA L          7719 PHELAN DR                                                                                       CLARKSTON          MI    48346
SAVOIE, SHIRLEY J         192 N BYRON RD                                                                                       LENNON             MI    48449‐9614
SAVOIE, SHIRLEY J         192 BYRON ROAD                                                                                       LENNON             MI    48449
SAVOIE, SPENCER A         305 CHAMBERS CREEK DR S                                                                              EVERMAN            TX    76140‐4614
SAVOIE, SPENCER ALLEN     305 CHAMBERS CREEK DR S                                                                              EVERMAN            TX    76140‐4614
SAVOIE, STEPHEN P         7719 PHELAN DR                                                                                       CLARKSTON          MI    48346‐1255
SAVOLA MILLS              700 E COURT ST APT 319                                                                               FLINT              MI    48503‐6224
SAVOLA, NICHOLAS J        11 ELMWOOD DR                                                                                        MILLTOWN           NJ    08850‐1636
SAVOLDI, WALTER A         9125 S FRONT NINE DR                                                                                 BLOOMINGTON        IN    47401‐8149
SAVONDA STEWART           18101 SUMPTER RD                                                                                     BELLEVILLE         MI    48111‐8721
SAVONE, FRANCESCA         15127 MORRIS AVE                                                                                     ALLEN PARK         MI    48101‐3055
SAVOPOULOS, KELLY         1187 FRANCIS AVE. S.E.                                                                               WARREN             OH    44484‐4335
SAVOR DALLAS 2006 INC     1507 ABRAMS RD                                                                                       DALLAS             TX    75214‐4502
SAVOR, ANA                1228 WEST CROOKED TREE DRIVE                                                                         COLUMBIA CITY      IN    46725‐8485
SAVOR, ANA                1228 CROOKED TREE DRIVE                                                                              COLUMBIA CITY      IN    46725
SAVOR, JOHN R             2917 CADWALLADER SONK ROAD                                                                           CORTLAND           OH    44410‐9488
SAVORY, CHARLES           BURCH & CRACCHIOLO PA                 702 E OSBORN RD STE 200                                        PHOENIX            AZ    85014‐5281
SAVORY, JOYCE
SAVOY ENERGY L.P.         3300 GENERAL MOTORS RD                                                                               MILFORD            MI    48380‐3726
SAVOY ENERGY, LP          PO BOX 1560                                                                                          TRAVERSE CITY      MI    49685‐1560
SAVOY ROBERT A (479318)   BELLUCK & FOX LLP                     546 5TH AVE #4                                                 NEW YORK           NY    10036‐5000
SAVOY, FRANCIS            15 EL PORTAL LN                                                                                      PORT ST LUCIE      FL    34952‐7918
SAVOY, FRANCIS            DEARIE & ASSOCS JOHN C                3265 JOHNSON AVE                                               RIVERDALE          NY    10463
SAVOY, IRENE M            385 AVALON FOREST DR                                                                                 LAWRENCEVILLE      GA    30044‐7823
SAVOY, JAMES C            1205 HAYWOOD CREEK RD                                                                                PULASKI            TN    38478‐9576
SAVOY, JASON S
SAVOY, JOSEPH B
SAVOY, JUDY               WATTS LAW FIRM                        555 N CARANCAHUA ST STE 1400                                   CORPUS CHRISTI      TX   78478‐0801
SAVOY, JUDY               JUHAN JONATHAN C                      985 I‐10 NORTH ‐ SUITE 110E                                    BEAUMONT            TX   77706
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Name                    Address1                        Address2                 Address3    Address4         City               State Zip
SAVOY, LULA             UNKNOWN
SAVOY, ROBERT A         830 NORTH COLONY ROAD                                                                 GRAND ISLAND       NY    14072‐2902
SAVOY, ROBERT A         BELLUCK & FOX LLP               545 5TH AVE #4                                        NEW YORK           NY    10036‐5000
SAVOY, ROBERT A         830 N COLONY RD                                                                       GRAND ISLAND       NY    14072‐2902
SAVOY, ROBERT J         4374 CAPTAINS LN                                                                      FLINT              MI    48507‐5603
SAVRIC, ANNA S          4186 SHERIDAN DR                                                                      VIENNA             OH    44473‐9606
SAVRIC, KATHLEEN D      PO BOX 115                                                                            GOODLAND           FL    34140‐0115
SAVRON, MARA            38460 FLORENCE DR                                                                     WILLOUGHBY HILLS   OH    44094‐9452
SAVU, JANET R           545 WATERSEDGE DRIVE                                                                  EDGEMONT           AR    72044‐2044
SAVVION CORPORATION     5104 OLD IRONSIDES DR.                                                                SANTA CLARA        CA    95054
SAVVION CORPORATION     ATTN: CONTRACTS ADMINISTRATOR   5104 OLD IRONSIDES DR.                                SANTA CLARA        CA    95054
SAVVION CORPORATION
SAVVION INC             5104 OLD IRONSIDES DR STE 205                                                         SANTA CLARA        CA    95054‐1163
SAVVIS INC              1 SAVVIS PKWY                                                                         CHESTERFIELD       MO    63017‐5827
SAVVIS INC              STEVE ZAELER                    1 SAVVIS PKWY                                         CHESTERFIELD       MO    63017‐5827
SAVVIS INC              1 SAVVIS PARKWAY                                                                      TOWN & COUNTRY     MO    63017
SAWA, THOMAS Z          5036 FLEMING CT                                                                       STERLING HTS       MI    48310‐6647
SAWABINI, NADIM M       100 GARDNER AVE UNIT 330                                                              CLAWSON            MI    48017‐2095
SAWADE, CHUCK A         812 CLOVERDALE RD                                                                     TOLEDO             OH    43612‐3107
SAWADE, CHUCK ALAN      812 CLOVERDALE RD                                                                     TOLEDO             OH    43612‐3107
SAWADE, CURTIS L        PO BOX 8598                                                                           TOLEDO             OH    43623‐0598
SAWADE, DEBORAH J       2010 W CHIPPEWA RIVER RD                                                              MIDLAND            MI    48640‐9127
SAWADE, JAMES P         5445 S BRINTON RD                                                                     BLANCHARD          MI    49310‐9760
SAWADE, MARY E          6716 DOUGLAS RD                                                                       LAMBERTVILLE       MI    48144‐9426
SAWADE, PAUL R          10835 E PICKARD RD                                                                    MT PLEASANT        MI    48858‐9470
SAWADE, RENNIE L        9482 HENDERSON RD                                                                     GOODRICH           MI    48438‐9780
SAWADE, RENNIE LOUIS    9482 HENDERSON RD                                                                     GOODRICH           MI    48438‐9780
SAWALL, ROGER           14015 NE 61ST ST                                                                      REDMOND            WA    98052‐4663
SAWARD, RONALD G        4973 HAMPSHIRE DR                                                                     SHELBY TWP         MI    48316‐3154
SAWATZKE, DAVID P       4295 PHEASANT RUN LN                                                                  NEWPORT            MI    48166‐6103
SAWATZKI, BRETT M       816 TICKNER ST                                                                        LINDEN             MI    48451‐9073
SAWATZKI, GLORIA W      1222 HICKORY HILL DR                                                                  ROCHESTER HILLS    MI    48309‐1707
SAWATZY, WILLIAM        BOONE ALEXANDRA                 205 LINDA DR                                          DAINGERFIELD       TX    75638‐2107
SAWAYA, NELLIE M        35733 DEARING DR                                                                      STERLING HEIGHTS   MI    48312‐3717
SAWAYA, NINA            26838 CHAUCER PL                                                                      STEVENSON RANCH    CA    91381‐1012
SAWAYA, NORMAN G        3169 CASTLE CT                                                                        STERLING HEIGHTS   MI    48310‐4928
SAWAYDA JR, JOHN P      3477 IVY HILL CIR UNIT B                                                              CORTLAND           OH    44410‐9119
SAWAYDA JR, JOHN P      3477B IVY HILL CR S.                                                                  COURTLAND          OH    44410‐9119
SAWAYDA, MICHAEL A      5118 KUSZMAUL AVE NW                                                                  WARREN             OH    44483‐1257
SAWCHUK'S GARAGE        3196 W RIDGE PIKE                                                                     POTTSTOWN          PA    19464‐3426
SAWCHYN, KATARYNA       8746 EVANGELINE                                                                       DEARBORN HGTS      MI    48127‐1273
SAWDEY, CHRISTOPHER W   3275 CLAYPOOL BOYCE RD                                                                ALVATON            KY    42122‐9646
SAWDEY, LINDA M         345 HUBBELL RD                                                                        SPENCERPORT        NY    14559‐9736
SAWDEY, NORMAN J        900 LAWNWOOD AVE                                                                      KETTERING          OH    45429‐5516
SAWDON, CHARLES D       8237 FARRAND RD                                                                       MONTROSE           MI    48457‐9725
SAWDON, CRAIG M         2037 EPLEY RD                                                                         WILLIAMSTON        MI    48895‐9622
SAWDON, DONALD L        4118 ATHENS AVE                                                                       WATERFORD          MI    48329‐2004
SAWDON, JENNIFER        8237 FARRAND RD                                                                       MONTROSE           MI    48457‐9725
SAWDON, LANNY E         4595 9TH ST                                                                           KIMBALL            MI    48074‐4501
SAWDON, RICHARD E       3249 CONNECTICUT ST                                                                   BURTON             MI    48519‐1547
SAWDON, ROBERT A        PO BOX 367                                                                            BIRCH RUN          MI    48415‐0367
SAWDON, ROBERT H        2177 MORRISH ST                                                                       BURTON             MI    48519‐1057
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Name                             Address1                       Address2            Address3         Address4         City                State Zip
SAWDON, WANDA J                  5669 PINE CREEK LANE                                                                 KIMBALL              MI 48074‐2521
SAWDUST ROAD AUTO CLINIC         3118 SAWDUST RD                                                                      SPRING               TX 77380‐2602
SAWDY, JENNA                     8422 N COCHRAN RD                                                                    GRAND LEDGE          MI 48837‐9485
SAWDY, MICHAEL E                 7278 COLBY LAKE RD                                                                   LAINGSBURG           MI 48848‐8770
SAWDYE, JOHN E                   368 AURORA ST                                                                        LANCASTER            NY 14086‐2946
SAWER, DALE R                    3799 BRADEN RD                                                                       BYRON                MI 48418‐9793
SAWER, GLENN H                   4551 N DELANEY RD                                                                    OWOSSO               MI 48867‐9432
SAWERS, DONALD J                 205 PELICAN RD                                                                       CLEARWATER           FL 33764‐7117
SAWERS, GEORGE M                 295 FAREWAY LN                                                                       GRAND ISLAND         NY 14072‐2530
SAWESKY, ROBIN E                 HC 62 BOX 865                                                                        SALYERSVILLE         KY 41465‐9210
SAWGLE, AARON G                  652 LINCOLN CT                                                                       LAPEER               MI 48446‐1864
SAWGLE, DONALD L                 320 JACOB RIDGE                                                                      LAPEER               MI 48446‐4145
SAWGLE, DONALD L                 1366 PEPPERMILL RD                                                                   LAPEER               MI 48446‐3238
SAWGLE, JOHN M                   2836 NEWBERRY RD                                                                     WATERFORD            MI 48329‐2350
SAWGLE, JOSEPH M                 678 N VAN DYKE RD                                                                    IMLAY CITY           MI 48444‐1171
SAWGLE, RICHARD L                3573 WEDGEWOOD DR                                                                    LAPEER               MI 48446‐2990
SAWGRASS MARRIOTT RESORT & SPA   1000 PGA TOUR BLVD                                                                   PONTE VEDRA BEACH    FL 32082‐3036
SAWH, CYNTHIA                    PO BOX 1885                                                                          BAYONNE              NJ 07002‐6885
SAWHILL, NANCY J                 55 MEADOWBROOK CIR APT 3                                                             NEW MIDDLETOWN       OH 44442‐9766
SAWHILL, WALLACE D               10454 W PALMERAS DR                                                                  SUN CITY             AZ 85373‐2006
SAWICKI & SON                    1521 W LAFAYETTE BLVD                                                                DETROIT              MI 48216‐1926
SAWICKI MOTOR COMPANY, INC.      1260 N 7TH ST                                                                        ROCHELLE              IL 61068‐1196
SAWICKI MOTOR COMPANY, INC.      DAN SAWICKI                    1260 N 7TH ST                                         ROCHELLE              IL 61068‐1196
SAWICKI, ANGELA J                11311 N LEWIS RD                                                                     CLIO                 MI 48420‐7919
SAWICKI, ANGELA JEAN             11311 N LEWIS RD                                                                     CLIO                 MI 48420‐7919
SAWICKI, DARLENE M               2055 PALISADES DR                                                                    ORTONVILLE           MI 48462‐8513
SAWICKI, DAVID P                 4772 CURTIS LN                                                                       CLARKSTON            MI 48346‐2723
SAWICKI, DAVID PETER             4772 CURTIS LN                                                                       CLARKSTON            MI 48346‐2723
SAWICKI, FRANCES A               16942 WHITE PLAINS DR                                                                MACOMB               MI 48044‐4890
SAWICKI, HELEN M                 1267 11TH ST                                                                         WYANDOTTE            MI 48192‐3103
SAWICKI, JANE S                  4444 STATE ST APT M237                                                               SAGINAW              MI 48603‐4044
SAWICKI, JANE S                  300 KENNELY RD APT 239                                                               SAGINAW              MI 48609‐7706
SAWICKI, JANICE F                3592 BARBARA DR                                                                      STERLING HTS         MI 48310‐6102
SAWICKI, MARGARET C              11152 WINDHURST ST                                                                   WHITE LAKE           MI 48386‐3681
SAWICKI, MARY                    3592 BARBARA DR                                                                      STERLING HEIGHTS     MI 48310‐6102
SAWICKI, PETER J                 12096 ELLSWORTH RD                                                                   NORTH JACKSON        OH 44451‐9761
SAWICKI, RICHARD S               11152 WINDHURST ST                                                                   WHITE LAKE           MI 48386‐3681
SAWICKI, RITA T                  401A EVANS ST APT 4                                                                  WILLIAMSVILLE        NY 14221‐5648
SAWICKI, SOPHIE                  7310 ALBOSTA                                                                         SAGINAW              MI 48609‐5220
SAWICKI, SOPHIE                  7310 ALBOSTA DR                                                                      SAGINAW              MI 48609‐5220
SAWICKI, STANLEY H               10615 W DIANA AVENUE                                                                 PEORIA               AZ 85345‐7424
SAWICKI, STELLA                  54 CONDICT ST                                                                        JERSEY CITY          NJ 07306‐7010
SAWICKI, STELLA                  54 CONDICT STREET                                                                    JERSEY CITY          NJ 07306‐7010
SAWICKI, WALTER                  3592 BARBARA DR                                                                      STERLING HTS         MI 48310‐6102
SAWICKI, WALTER V                611 EMMONS BLVD                                                                      WYANDOTTE            MI 48192‐2405
SAWIN, JAMES L                   2233 WILLOW LAKES EAST BLVD                                                          GREENWOOD            IN 46143‐8634
SAWIN, JASON L                   682 TRENT DR                                                                         GREENWOOD            IN 46143‐7422
SAWINA, MILDRED                  9 HOSTA CT                                                                           WILMINGTON           DE 19808‐1953
SAWINA, MILDRED                  9 HOSTA CT.                                                                          WILMINGTON           DE 19808
SAWINSKI, PATRICIA A             3235 BAXTER DR                                                                       CURRAN               MI 48728‐9507
SAWINSKI, TINA Y                 19776 ROWE                                                                           DETROIT              MI 48205
SAWITZKE, GRACE L                20120 LORAIN RD                APT 504                                               FAIRVIEW PARK        OH 44126
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Name                             Address1                             Address2                  Address3   Address4         City                 State Zip
SAWITZKE, GRACE L                20120 LORAIN RD APT 504                                                                    FAIRVIEW PARK         OH 44126‐3484
SAWKA MICHAEL                    SAWKA, MICHAEL                       30 E BUTLER AVE                                       AMBLER                PA 19002‐4514
SAWKA, ELIZABETH R               516 GRIXDALE LN                                                                            WATERFORD             MI 48328‐3430
SAWKA, ELIZABETH ROSE            516 GRIXDALE LN                                                                            WATERFORD             MI 48328‐3430
SAWKA, MICHAEL                   KIMMEL & SILVERMAN                   30 E BUTLER AVE                                       AMBLER                PA 19002‐4514
SAWKIN, CAROL S                  14890 STONEY BROOK DR                                                                      SHELBY TWP            MI 48315‐5566
SAWKO, ARLENE D                  821 UPLAND DR                                                                              PORT ORANGE           FL 32127‐1116
SAWKO, DOROTHY S                 4033 EVERLAWN ST                                                                           WEST MIFFLIN          PA 15122‐2109
SAWLE, DAVID J                   760 KORNOELJE DR NE                                                                        COMSTOCK PARK         MI 49321‐9537
SAWLE, JOHN D                    737 WALTHAM DR                                                                             MOUNT MORRIS          MI 48458‐8715
SAWLE, ROSCOE S                  802 W MAIN ST APT 31                                                                       WAUNAKEE              WI 53597‐1283
SAWMA, JANICE                    5920 PORTER RD                                                                             NIAGARA FALLS         NY 14304‐1574
SAWMAN, DENNIS B                 965 ANDREW AVE                                                                             SALEM                 OH 44460‐3538
SAWMAN, RICHARD J                RR 2 BOX 218                                                                               ALBANY                KY 42602‐9520
SAWMILL CREEK                    400 SAWMILL CREEK DR W                                                                     HURON                 OH 44839‐2261
SAWNEE ELEC MEMBERSHIP CORP      PO BOX 2153                          DEPT 2430                                             BORMINGHAM            AL 35287
SAWNEE ELEC MEMBERSHIP CORP      PO BOX 2153                                                                                BIRMINGHAM            AL 35287‐0002
SAWNEE ELEC MEMBERSHIP CORP GA   ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 2153                                           BIRMINGHAM            AL 35287‐2530
                                 AGENT
SAWNEE ELECTRIC MEMBERSHIP       PO BOX 100002                                                                              CUMMING              GA 30028‐8302
CORPORATION
SAWNEY VANESSA                   SAWNEY, VANESSA                      312 W OAK ST                                          STILWELL             OK   74960‐3132
SAWNEY, VANESSA                  312 W OAK ST                                                                               STILWELL             OK   74960‐3132
SAWNICK, TED A                   PO BOX 173                                                                                 RIVERTON             IL   62561‐0173
SAWNOR, LAWRENCE R               59 COUNTRY GABLES CIR                                                                      ROCHESTER            NY   14606‐3539
SAWOSCINSKI, HELEN V             319 N HAWTHORNE ST                                                                         WESTLAND             MI   48185‐3692
SAWOSCINSKI, HELEN V             319 NORTH HAWTHORN                                                                         WESTLAND             MI   48185‐3692
SAWOSCINSKI, RICHARD R           319 N HAWTHORNE ST                                                                         WESTLAND             MI   48185‐3692
SAWOSKO, ANNA A                  1158 HARTFORD TPKE UNIT 31                                                                 VERNON               CT   06066‐4584
SAWOYA BARBARA                   35412 MINUET DR                                                                            PALM DESERT          CA   92211
SAWREY, MARGARET                 13628 HOLLAND RD                                                                           CLEVELAND            OH   44142‐3917
SAWRUK JOHN M                    667 OXHILL CT                                                                              WHITE LAKE           MI   48386‐2336
SAWRUK, JOHN M                   667 OXHILL CT                                                                              WHITE LAKE           MI   48386‐2336
SAWSON, JOYCE ANN                9660 W GOLF PORT DRIVE                                                                     STANWOOD             MI   49346‐9411
SAWSON, JOYCE ANN                62 S HICKORY AVE                                                                           FOX LAKE             IL   60020‐1853
SAWTELL, DENNIS M                2280 WESTOVER DR                                                                           IONIA                MI   48846‐2146
SAWTELL, JAMES                   516 NE 14TH ST                                                                             MOORE                OK   73160‐5735
SAWTELL, MARY                    30056 ARLINGTON ST                                                                         CHESTERFIELD         MI   48051‐3916
SAWTELLE, DENNIS G               5001 SW 20TH ST APT 504                                                                    OCALA                FL   34474‐8515
SAWTELLE, DONNA                  95 GARTH ST                                                                                NEWPORT              ME   04953‐3356
SAWTELLE, DOROTHY R              6236 N GENESEE                                                                             FLINT                MI   48506‐1162
SAWTELLE, JANET                  3957 RIDGE RD                                                                              CORTLAND             OH   44410‐4410
SAWTELLE, REGINALD L             C/O DONALIE S GRAVES                 2130 COUNTRY TRACE LANE   APT 14A                     TOLEDO               OH   43615
SAWTELLE, ROBERT L               324 SUNRISE DR                                                                             FLUSHING             MI   48433‐2155
SAWTELLE, RONALD M               10 JONAS CT                                                                                MARLBOROUGH          MA   01752‐4519
SAWUSCH, HAROLD                  21209 FRANCIS ST                                                                           SAINT CLAIR SHORES   MI   48082‐1587
SAWVEL, JAMES F                  11359 MOSHER RD                                                                            OTISVILLE            MI   48463‐9772
SAWVEL, LILA J                   11262 VAN NATTER RD                                                                        OTISVILLE            MI   48463‐9723
SAWVEL, LILA JEAN                11262 VAN NATTER RD                                                                        OTISVILLE            MI   48463‐9723
SAWVELLE, BARBARA                PO BOX 231                                                                                 MIDDLEBURG           FL   32050
SAWVELLE, DALE J                 370 BOLTON ST                                                                              MARLBOROUGH          MA   01752‐3909
SAWYER & ASSOCIATES              662 HARBOR BLVD UNIT 850                                                                   DESTIN               FL   32541‐2475
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Name                         Address1                        Address2                         Address3   Address4         City            State Zip
SAWYER CECIL W (179924)      BROWN TERRELL HOGAN ELLIS       804 BLACKSTONE BLDG , 233 EAST                               JACKSONVILLE     FL 32202
                             MCCLAMMA & YEGELWEL P.A.        BAY STREET
SAWYER CHEVROLET             351 W BRIDGE ST                                                                              CATSKILL        NY   12414‐1729
SAWYER CHEVROLET, INC.       ROBERT SIRACUSANO               351 W BRIDGE ST                                              CATSKILL        NY   12414‐1729
SAWYER GEORGE J & JANICE K   2730 PRITCHARD                                                                               WARREN          OH   44483
SAWYER HUNLEY                9738 OXBOW TRL                                                                               CINCINNATI      OH   45241‐3363
SAWYER II, OMAR A            1412 CEDAR ST                                                                                SAGINAW         MI   48601‐2608
SAWYER JORDAN                SAWYER, JORDAN                  8290 GATE PKWY W UNIT 123                                    JACKSONVILLE    FL   32216
SAWYER JR, FRANK             PO BOX 2746                                                                                  ANDERSON        IN   46018‐2746
SAWYER JR, FRANK H           2910 E A ST                                                                                  TORRINGTON      WY   82240‐2030
SAWYER JR, FRED              3410 LAREN LN SW                                                                             ATLANTA         GA   30311‐3644
SAWYER JR, JOHN A            5369 BRISTOL PARKE DR                                                                        CLARKSTON       MI   48348‐4827
SAWYER JR, THOMAS L          1141 VADEN AVE                                                                               BURLESON        TX   76028‐5732
SAWYER LARRY                 5019 SAWYER LN                                                                               ROSE CITY       MI   48654‐9527
SAWYER LEON (494177)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK         VA   23510
                                                             STREET, SUITE 600
SAWYER SCHOOL OF BUSINESS    26051 HOOVER RD                                                                              WARREN          MI   48089‐1148
SAWYER SHAKIRA               SAWYER, SHAKIRA                 22 S 59TH ST                                                 PHILADELPHIA    PA
SAWYER SHIRLEY               5825 60TH AVE                                                                                HUDSONVILLE     MI   49426‐7909
SAWYER SMITH, LOUISE M       7 IRIS LANE MONARCH PLACE                                                                    BRISTOL         VA   24201
SAWYER TOBEY                 533 SKOWHEGAN RD                                                                             NORRIDGEWOCK    ME   04957‐3309
SAWYER WARDELL (508701)      LEBLANC & WADDELL               5353 ESSEN LN STE 420                                        BATON ROUGE     LA   70809‐0500
SAWYER WILLIAM               PO BOX 245                                                                                   CARROLLTON      VA   23314‐0245
SAWYER, ALAN E               1206 WOODMEADOW                                                                              LANSING         MI   48917‐8983
SAWYER, ALEX B               1373 HIGHLAND MDWS                                                                           FLINT           MI   48532‐2038
SAWYER, ALEX BENJAMIN        1373 HIGHLAND MDWS                                                                           FLINT           MI   48532‐2038
SAWYER, ALLAN S              2382 TANDY DR                                                                                FLINT           MI   48532‐4958
SAWYER, ALONZO               1116 CARTER DR                                                                               FLINT           MI   48532‐2714
SAWYER, ANDREW B             4101 CRANDALL BRANCH RD NE                                                                   GEORGETOWN      IN   47122‐7724
SAWYER, ANN C                501 MAYFIELD DR                                                                              POTSDAM         NY   13676
SAWYER, ANNE K               1906 LEAVENWORTH ST                                                                          MANHATTAN       KS   66502‐3817
SAWYER, ANNIE M              1107 ANTIOCH DR                                                                              ATLANTA         GA   30319‐2303
SAWYER, AVNER N              1959 DALE EVANS WAY                                                                          KINGMAN         AZ   86409‐3552
SAWYER, BETTY L              BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                                DALLAS          TX   75219
SAWYER, BETTY L              DIMOS BROWN ERSKINE BURKETT &   1216 STUBBS AVE                                              MONROE          LA   71201‐5622
                             GARNER LLP
SAWYER, BETTY L              BARON & BUDD PC                 9015 BLUEBONNET BLVD                                         BATON ROUGE     LA   70810‐2812
SAWYER, BETTY L              4860 NAFF AVE                                                                                BASTROP         LA   71220‐7452
SAWYER, BETTY M              205 NORTH MAIN ST.                                                                           ELIZABETHTOWN   KY   42702
SAWYER, BETTY M              205 N MAIN ST                                                                                ELIZABETHTOWN   KY   42701‐1416
SAWYER, BRUCE C              67 CHURCH ST                                                                                 CLARKSTON       MI   48346‐2110
SAWYER, BRUCE CHARLES        67 CHURCH ST                                                                                 CLARKSTON       MI   48346‐2110
SAWYER, CAROL J              4929 CLIFF RD                                                                                LEWISTON        NY   14092‐1822
SAWYER, CAROL JEAN           4929 CLIFF RD                                                                                LEWISTON        NY   14092‐1822
SAWYER, CAROLE A             67 CHURCH ST                                                                                 CLARKSTON       MI   48346‐2110
SAWYER, CARRIE J             2210 FULTON ST                                                                               ANDERSON        IN   46016
SAWYER, CECIL                BROWN TERRELL HOGAN ELLIS       804 BLACKSTONE BLDG, 233 EAST                                JACKSONVILLE    FL   32202
                             MCCLAMMA & YEGELWEL P.A.        BAY STREET
SAWYER, CHARLES F            409 SHORE VIEW DR                                                                            HOUGHTON LAKE   MI   48629‐9410
SAWYER, DANIEL P             27 PILLSBURY AVE                                                                             DRACUT          MA   01826
SAWYER, DAVID                3352 HUNTWOOD CT                                                                             DECATUR         GA   30034‐4911
SAWYER, DAVID D              1153 WATKINS ST SE                                                                           GRAND RAPIDS    MI   49507‐1470
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Name                      Address1                       Address2                       Address3   Address4         City              State Zip
SAWYER, DAVID E           1616 CHARLOTTE AVE                                                                        BALTIMORE          MD 21224‐6105
SAWYER, DAVID T           4929 CLIFF RD                                                                             LEWISTON           NY 14092‐1822
SAWYER, DAVID W           10360 W EATON HWY                                                                         GRAND LEDGE        MI 48837‐9166
SAWYER, DENNIS G          22426 BANNER SCHOOL RD                                                                    DEFIANCE           OH 43512‐9719
SAWYER, DIANA L           3848 SPARLING ROAD                                                                        KINGSLEY           MI 49649‐9657
SAWYER, DONALD J          12282 WOODSIDE DR APT 2                                                                   GRAND BLANC        MI 48439‐1650
SAWYER, DONALD W          1816 S ARMSTRONG ST                                                                       KOKOMO             IN 46902‐2032
SAWYER, EARL E            1316 W HOME AVE                                                                           FLINT              MI 48505‐2533
SAWYER, EARL I            1375 COOKE DAM RD                                                                         OSCODA             MI 48750‐9246
SAWYER, EDITH L           915 WAKEFIELD DR                                                                          CONWAY             AR 72032‐8870
SAWYER, EDITH L           915 WAKEFIELD                                                                             CONWAY             AR 72032‐8870
SAWYER, EDWARD M          4200 W GRAND RIVER RD                                                                     OWOSSO             MI 48867‐9258
SAWYER, EDWARD W          3666 SANDY LAKE RD                                                                        RAVENNA            OH 44266‐8602
SAWYER, EDYTHE M          ZINDER & PARK                  4605 LANKERSHIM BLVD STE 300                               NORTH HOLLYWOOD    CA 91602‐1875
SAWYER, ELBERT M          433 N 1ST AVE APT G                                                                       ARCADIA            CA 91006‐2808
SAWYER, ELIZABETH R       160 N 4TH ST PO BOX 403                                                                   WAYNESVILLE        OH 45068‐0403
SAWYER, ELIZABETH R       PO BOX 403                     160 N 4TH ST                                               WAYNESVILLE        OH 45068‐0403
SAWYER, ERIN J            1413 COLMAR DRIVE                                                                         PLANO              TX 75023‐2914
SAWYER, FRANCES E         930 TAMIAMI TRAIL SOUTH        APT. 332                                                   VENICE             FL 34285
SAWYER, FRANCES E         930 TAMIAMI TRL S APT 332                                                                 VENICE             FL 34285‐3638
SAWYER, GARY R            505 S PEARL ST                                                                            TECUMSEH           MI 49286‐1941
SAWYER, GEORGE J          2730 PRITCHARD OHLTOWN RD SW                                                              WARREN             OH 44481‐9689
SAWYER, GERALDINE         3451 EASTERN PL                                                                           DETROIT            MI 48208‐1071
SAWYER, GERALDINE C       5480 CEDONIA AVE.                                                                         BALTIMORE          MD 21206‐3906
SAWYER, GORDON F          373 OCONEE ST NW                                                                          CALABASH           NC 28467‐2293
SAWYER, HAROLD M          2807 PIPELINE RD                                                                          SUMMER SHADE       KY 42166‐8512
SAWYER, HATTIE F          5206 MUIRFIELD RUN                                                                        NORCROSS           GA 30093‐3385
SAWYER, HATTIE FLETCHER   5206 MUIRFIELD RUN                                                                        NORCROSS           GA 30093‐3385
SAWYER, HOPE L            7105 VICKSBURG CIR                                                                        SHELBY TWP         MI 48317‐4263
SAWYER, HOWARD J          PO BOX 2532                                                                               ANDERSON           IN 46018‐2532
SAWYER, JAMES A           PO BOX 117                                                                                KEEGO HARBOR       MI 48320‐0117
SAWYER, JAMES D           16932 N OLD MACKINAW RD                                                                   CHEBOYGAN          MI 49721‐9353
SAWYER, JAMES E           5480 CEDONIA AVE                                                                          BALTIMORE          MD 21206‐3906
SAWYER, JAMES M           2010 OTTAWA ST                                                                            SAGINAW            MI 48602‐2745
SAWYER, JAMES W           8766 CABOT DR                                                                             MOUNT HEALTHY      OH 45231‐4533
SAWYER, JANE D            4909 LADY BUG PL                                                                          ORLANDO            FL 32821‐8826
SAWYER, JANET             1406 LORAINE AVE                                                                          LANSING            MI 48910‐2597
SAWYER, JANET L           615 MIDLAND BLVD                                                                          ROYAL OAK          MI 48073‐2884
SAWYER, JEANNEY           8767 BINNEY DR                                                                            WARREN             MI 48093‐1602
SAWYER, JERRY T           PO BOX 558                     P O BOX 558                                                TAYLOR             AR 71861‐0558
SAWYER, JILL K            2418 CHETWOOD CIRCLE #101                                                                 TIMONIUM           MD 21093‐2570
SAWYER, JIMMY M           4262 BAY RD                                                                               GLADWIN            MI 48624‐8731
SAWYER, JOAN B            5870 BRADLEY DRIVE                                                                        TIPP CITY          OH 45371‐2106
SAWYER, JOANN             2711 HIBBARD RD                                                                           CORUNNA            MI 48817‐9561
SAWYER, JOEL T            15906 OAK DR                                                                              LIVONIA            MI 48154‐3448
SAWYER, JOHN J            5885 W COLUMBIA RD                                                                        MASON              MI 48854‐8704
SAWYER, JOHN O            1084 TIMBERLAND DR                                                                        CINCINNATI         OH 45215‐1565
SAWYER, JOHN T            1116 W POPLAR ST                                                                          WEST YORK          PA 17404‐3517
SAWYER, JOHN W            6138 PLAINS RD                                                                            EATON RAPIDS       MI 48827‐9694
SAWYER, JORDAN            8290 GATE PKWY W UNIT 123                                                                 JACKSONVILLE       FL 32216
SAWYER, JOSEPH C          PO BOX 1351                                                                               WEST JEFFERSON     NC 28694‐1351
SAWYER, JOSEPH G          344 MELINDA CIR E                                                                         WHITE LAKE         MI 48386‐3453
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Name                      Address1                              Address2                         Address3          Address4         City              State Zip
SAWYER, JUANITA           APT 1409                              3257 VERDANT DRIVE SOUTHWEST                                        ATLANTA            GA 30331‐3085

SAWYER, JUDITH            803 RAVENWOOD CT                                                                                          MASON             MI    48854‐1375
SAWYER, JULIE A           8924 WAGON TRAIL                                                                                          CROSSROADS        TX    76227‐8269
SAWYER, KATHLEEN M        4041 GRANGE HALL RD LOT 73                                                                                HOLLY             MI    48442‐1921
SAWYER, KENNETH L         13686 SE 163RD ST                                                                                         WEIRSDALE         FL    32195‐4411
SAWYER, LACY S            1706 LOUISE ST                                                                                            ANDERSON          IN    46016‐3252
SAWYER, LARRY J           5019 SAWYER LN                                                                                            ROSE CITY         MI    48654‐9527
SAWYER, LARRY L           6849 EDGEWATER DR                                                                                         NEW PORT RICHEY   FL    34652‐1506
SAWYER, LAURA             BRISTOL WEST INSURANCE                2245 SEQUOIA DR                                                     AURORA            IL    60506‐6209
SAWYER, LAURA             2382 TANDY DR                                                                                             FLINT             MI    48532
SAWYER, LAURA             C/O BRISTOL WEST INSURANCE GROUP      2245 SEQUOIA DR                                                     AURORA            IL    60506
SAWYER, LAURA             C/O BRISTOL WEST INSURANCE GROUP      ATTN: NICK KERLEY                2245 SEQUOIA DR                    AURORA            IL    60506
SAWYER, LAWRENCE A        66 FRANKLIN ST                                                                                            TONAWANDA         NY    14150‐1918
SAWYER, LAWRENCE ARTHUR   66 FRANKLIN ST                                                                                            TONAWANDA         NY    14150‐1918
SAWYER, LAWRENCE E        1328 WRENWOOD DR                                                                                          TROY              MI    48084‐2688
SAWYER, LEON              GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                         NORFOLK           VA    23510‐2212
                                                                STREET, SUITE 600
SAWYER, LEON C            6121 CLARKSTON RD                                                                                         CLARKSTON         MI    48348‐4717
SAWYER, LILLIAN O         111 ENSMINGER RD                                                                                          TONAWANDA         NY    14150‐6719
SAWYER, LILLIAN O         3 AUGUSTA AVENUE                                                                                          AMHERST           NY    14226‐2204
SAWYER, LINDA J           PO BOX 426                                                                                                LOCKPORT          NY    14095‐0426
SAWYER, LITTIE P          2301 7TH ST NW APT 11                                                                                     BIRMINGHAM        AL    35215‐3181
SAWYER, LLOYD J           21 KNAPPS STATION RD                                                                                      NORFOLK           NY    13667‐4108
SAWYER, LUCIA             30802 MACKENZIE DR                                                                                        WESTLAND          MI    48185‐7078
SAWYER, LYNN M            2205 SW 68TH ST                                                                                           OKLAHOMA CITY     OK    73159
SAWYER, MARGARET C        4726 RACOON RUN RD                                                                                        JOHNSTOWN         OH    43031‐9470
SAWYER, MARGARET C        4726 RACCOON RUN RD                                                                                       JOHNSTOWN         OH    43031
SAWYER, MARGARET L        323 TIMBERBROOK DR                                                                                        STEPHENVILLE      TX    76401‐1334
SAWYER, MARILYN C         1317 E OUTER DRIVE                                                                                        SAGINAW           MI    48601‐5221
SAWYER, MARY A            1703 BELVUE DR                                                                                            FOREST HILL       MD    21050‐2505
SAWYER, MARY K.           28775 ALTON RD                                                                                            WICKLIFFE         OH    44092‐2511
SAWYER, MARY L            22426 BANNER SCHOOL RD                                                                                    DEFIANCE          OH    43512‐9719
SAWYER, MICHAEL J         10 MARILOU DR                                                                                             ROCHESTER         NY    14624‐3213
SAWYER, MICHAEL R         3126 BERTKOUNS                        APT 276                                                             SHREVEPORT        LA    71118
SAWYER, MICHAEL R         3126 BERT KOUNS INDUSTRIAL LOOP APT                                                                       SHREVEPORT        LA    71118‐2968
                          276
SAWYER, MICHAEL R         APT 276                               3126 BERT KOUNS INDUSTRIL LOOP                                      SHREVEPORT         LA   71118‐2968

SAWYER, NATALIE D.        1400 TIMBER RIDGE DRIVE                                                                                   ALLEN             TX    75002‐0813
SAWYER, NORMA J           25691 LEXINGTON DR UNIT 6                                                                                 SOUTH LYON        MI    48178‐1068
SAWYER, OMAR ANTWAINE     1412 CEDAR ST                                                                                             SAGINAW           MI    48601‐2608
SAWYER, PATRICIA T        1011 PALERMO AVE                                                                                          MEMPHIS           TN    38106‐6517
SAWYER, PAUL E            5392 BANGOR AVE                                                                                           FLUSHING          MI    48433‐9005
SAWYER, PAUL E            178 BONNIE DR                                                                                             AUBURNDALE        FL    33823‐2702
SAWYER, PAUL EUGENE       5392 BANGOR AVE                                                                                           FLUSHING          MI    48433‐9005
SAWYER, RALPH R           520 MILAN AVE LOT 219                                                                                     NORWALK           OH    44857‐8736
SAWYER, RAYMOND J         4329 LOUELLA DR                                                                                           WATERFORD         MI    48329‐4024
SAWYER, RENA V            1116 CARTER DR                                                                                            FLINT             MI    48532‐2714
SAWYER, REVA              6849 EDGEWATER DR                                                                                         NEW PORT RICHIE   FL    34652‐1506
SAWYER, REVA M            7065 RT 40                                                                                                NEW CARLISLE      OH    45344‐5344
SAWYER, REVA M            7065 E STATE ROUTE 40                                                                                     NEW CARLISLE      OH    45344‐9679
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Name                     Address1                         Address2                        Address3   Address4         City               State Zip
SAWYER, ROBERT A         822 MANZANO DR                                                                               WOLVERINE LAKE      MI 48390‐2031
SAWYER, ROBERT G         313 LODY LN                                                                                  KOKOMO              IN 46901‐4164
SAWYER, ROGER K          2956 DAYSON DR                                                                               ANDERSON            IN 46013‐9713
SAWYER, RONALD J         1777 LAKE RD                                                                                 YOUNGSTOWN          NY 14174‐9726
SAWYER, RUBY L           149 MILL CREEK RD.                                                                           ROBBINSVILLE        NC 28771‐7202
SAWYER, SHAKIRA          22 S 59TH ST                                                                                 PHILADELPHIA        PA 19139‐3102
SAWYER, SHARON F         1373 HIGHLAND MEADOWS DR                                                                     FLINT               MI 48532
SAWYER, SHARON R         8088 SIMMS RD                                                                                LOCKPORT            NY 14094
SAWYER, SHIRLEY A        921 W GRAND RIVER AVE            APT D                                                       WILLIAMSTON         MI 48895‐1259
SAWYER, STACEY E         2 LEECH AVE                                                                                  WILMINGTON          DE 19805‐5105
SAWYER, TECONNAMOW A     139 E MAIN ST                                                                                NORTH ADAMS         MI 49262
SAWYER, TERRY R          2809 ARKANSAS RD LOT 58                                                                      WEST MONROE         LA 71291‐8741
SAWYER, TERRY R          BARON & BUDD PC                  9015 BLUEBONNET BLVD                                        BATON ROUGE         LA 70810‐2812
SAWYER, TERRY R          DIMOS BROWN ERSKINE BURKETT &    1216 STUBBS AVE                                             MONROE              LA 71201‐5622
                         GARNER LLP
SAWYER, TERRY R          BARON & BUDD                     3102 OAK LANE AVE, SUITE 1100                               DALLAS              TX   75219
SAWYER, THOMAS
SAWYER, THOMAS C         12282 WOODSIDE DR APT 1                                                                      GRAND BLANC        MI    48439
SAWYER, THOMAS E         53721 9 MILE RD                                                                              NORTHVILLE         MI    48167‐9333
SAWYER, THOMAS F         331 OAK RDG                                                                                  MASON              MI    48854‐2507
SAWYER, THOMAS G         641 BEE TREE RD                                                                              SWANNANOA          NC    28778‐3402
SAWYER, THOMAS J         1540 SOUTH MERIDIAN ROAD                                                                     MASON              MI    48854‐9815
SAWYER, THOMAS M         4395 SEEDEN ST                                                                               WATERFORD          MI    48329‐4058
SAWYER, TONIA R          2086 WEDGEWOOD DR                                                                            STONE MTN          GA    30088‐3943
SAWYER, VANCE D          104 DUNBAR RD                                                                                HILTON             NY    14468‐9175
SAWYER, VERA L           9925 BIRCH RUN RD                                                                            BIRCH RUN          MI    48415‐9609
SAWYER, VERA L           9925 E BIRCH RUN RD                                                                          BIRCH RUN          MI    48415‐9609
SAWYER, VERNON INC       PO BOX 6098                                                                                  PEARL              MS    39288‐6098
SAWYER, VERNON L         PO BOX 465                                                                                   ALTON              MO    65606‐0465
SAWYER, VICTORIA L       705 WALL WILLIAMS ROAD                                                                       WEST MONROE        LA    71291‐4759
SAWYER, WALLACE W        8257 SOUTHGATE COMMONS DR                                                                    CHARLOTTE          NC    28277‐2221
SAWYER, WALTER J         3502 GLORIA DR                                                                               ELLENTON           FL    34222‐3519
SAWYER, WALTER V         1024 SW DILIDO LN                                                                            PORT ST LUCIE      FL    34953‐3258
SAWYER, WARDELL          LEBLANC & WADDELL                5353 ESSEN LN STE 420                                       BATON ROUGE        LA    70809‐0500
SAWYER, WAYNE C          44000 CADBURRY DR                                                                            CLINTON TOWNSHIP   MI    48038‐1445
SAWYER, WAYNE W          5222 PRESTON KNOLLS DR                                                                       HOWELL             MI    48855‐9366
SAWYER, WILLIAM C        545 W SONORA ST                                                                              STOCKTON           CA    95203‐3329
SAWYER, WILLIAM D        2105 WHISPERING PINES LN                                                                     MCDONOUGH          GA    30253‐5566
SAWYER, WILLIAM F        1027 BERRYWOOD DR                                                                            GREENWOOD          IN    46143‐7775
SAWYER, WILMA F          1511 E APACHE TRL                                                                            GRANBURY           TX    76048‐6001
SAWYER, WINSTON H        1484 SEYBURN ST                                                                              DETROIT            MI    48214‐2450
SAWYERS CHEVROLET        13200 S US HIGHWAY 27                                                                        DEWITT             MI    48820‐7840
SAWYERS PONTIAC, INC.    R. W. SAWYERS                    13200 S US HIGHWAY 27                                       DEWITT             MI    48820‐7840
SAWYERS, CHRISTOPHER L   222 N WARREN RD                                                                              BENSON             AZ    85602
SAWYERS, DAVID R         1210 NORTHERNVIEW DR APT B                                                                   ADA                OH    45810
SAWYERS, DEAN W          2119 LYON BLVD                                                                               POLAND             OH    44514‐1566
SAWYERS, FITZROY B       90 LEHIGH AVE                                                                                ROCHESTER          NY    14619‐1625
SAWYERS, FRANCES M       21379 FULL MOON COURT                                                                        GRASS VALLEY       CA    95949
SAWYERS, GARY D          319 FRANKLIN ST                                                                              MILFORD            MI    48381‐2408
SAWYERS, JOANNE          2528 E FOX RD                                                                                LINCOLN            MI    48742‐9598
SAWYERS, JOHN W          4627 CURTIS LN                                                                               CLARKSTON          MI    48346‐2721
SAWYERS, JOSEPH C        6750 WOODBURN ALLEN SPRINGS RD                                                               BOWLING GREEN      KY    42104‐7415
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Name                        Address1                            Address2                       Address3   Address4         City               State Zip
SAWYERS, L. D               9999 FOOTHILL BLVD SPC 126                                                                     RANCHO CUCAMONGA    CA 91730‐3657
SAWYERS, LARRY D            2734 NORBERT STREET                                                                            FLINT               MI 48504‐4525
SAWYERS, LARRY O            185 COURT ST                                                                                   PONTIAC             MI 48342‐2509
SAWYERS, LILLIE             2209 WESTLAKE CIR                                                                              BELLEVILLE          MI 48111‐6104
SAWYERS, LOYD               PO BOX 20162                                                                                   ROANOKE             VA 24018‐0017
SAWYERS, MARGARET M         40679 CANTERBURY DRIVE                                                                         CLINTON TOWNSHIP    MI 48038‐7120
SAWYERS, MARK A             8402 S BALDWIN RD                                                                              ASHLEY              MI 48806‐9736
SAWYERS, MILTON             615 BENDWOOD WAY                                                                               DAYTON              OH 45430‐1602
SAWYERS, NOLA M             2114 LEHMAN AVE                                                                                TOLEDO              OH 43611‐2933
SAWYERS, ORIA L             161 OLD HOUSE BRANCH RD.                                                                       TOPMOST             KY 41862‐9004
SAWYERS, REBECCA A          8402 S BALDWIN RD                                                                              ASHLEY              MI 48806‐9736
SAWYERS, ROBERT B           464 W ROBERT AVE                                                                               HAZEL PARK          MI 48030‐3223
SAWYERS, ROBERT E           GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW             MI 48604‐2602
                                                                260
SAWYERS, RONNIE F           10938 COUNTY ROAD M                                                                            WAUSEON            OH   43567‐9608
SAWYERS, THOMAS E           581 LITCHFIELD CT                                                                              EVANS              GA   30809‐3648
SAWYERS, VINCENT K          4268 WAVERLY ST                                                                                DETROIT            MI   48238‐3258
SAWYR, GERALDINE            22808 US HIGHWAY 98                                                                            FOLEY              AL   36535‐4802
SAX DISCOUNT PHARMAC        22525 WICK RD                                                                                  TAYLOR             MI   48180‐3531
SAX MOTOR CO                25 S MAIN ST                                                                                   BOWMAN             ND   58623‐4011
SAX MOTOR CO.               312 W VILLARD ST                                                                               DICKINSON          ND   58601‐5025
SAX MOTOR CO.               PAMELA KOSTELECKY                   217 S MAIN                                                 BOWMAN             ND   58623
SAX MOTOR CO.               PAMELA KOSTELECKY                   312 W VILLARD ST                                           DICKINSON          ND   58601‐5025
SAX MOTOR CO. SOUTHWEST     217 S MAIN                                                                                     BOWMAN             ND   58623
SAX, LOUIS E                10704 W 56TH ST                                                                                SHAWNEE            KS   66203‐2322
SAX, ROY G                  5195 CHESTNUT RD                                                                               NEWFANE            NY   14108‐9618
SAXALBY, JILL               49241 BRODIE CT                                                                                MACOMB             MI   48042‐4842
SAXALBY, STUART J           2160 W BUELL RD                                                                                OAKLAND            MI   48363‐2102
SAXBURY ROBERT J (356488)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510
                                                                STREET, SUITE 600
SAXBURY, CHARLES E          13 MORELAND DRIVE                                                                              ORCHARD PARK       NY   14127‐1641
SAXBURY, DOROTHY            131 HAYDEN ST                                                                                  BUFFALO            NY   14210‐1867
SAXBURY, JAMES F            1041 WATERSEDGE DR                                                                             LAKELAND           FL   33801‐6776
SAXBURY, JAMES FREDERICK    1041 WATERSEDGE DRIVE                                                                          LAKELAND           FL   33801‐6776
SAXBURY, LOIS               13 MORELAND DR                                                                                 ORCHARD PARK       NY   14127‐1641
SAXBURY, MICKEY J           786 ALT BLVD                                                                                   GRAND ISLAND       NY   14072‐2448
SAXBURY, MICKEY J           786 ALT BOULEVARD                                                                              GRAND ISLAND       NY   14072‐2448
SAXBURY, ROBERT J           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510‐2212
                                                                STREET, SUITE 600
SAXBY, MARLENE              11407 NATHALINE                                                                                REDFORD            MI   48239‐2261
SAXBY, RICHARD              420 LAKE CIR DR                                                                                COLUMBIA           TN   38401
SAXBY, RICHARD              420 LAKE CIRCLE DRIVE                                                                          COLUMBIA           TN   38401
SAXBY, STANLEY E            PO BOX 254                                                                                     KENNEBUNK          ME   04043‐0254
SAXE, DAVID L               4110 LIVE OAK BLVD                                                                             FORT WAYNE         IN   46804‐3944
SAXE, DAVID L.              4110 LIVE OAK BLVD                                                                             FORT WAYNE         IN   46804‐3944
SAXE, JOSHUA D              3003 WEATHERSTONE CT                                                                           FORT WAYNE         IN   46814‐8820
SAXE, JOSHUA DAVID          3003 WEATHERSTONE CT                                                                           FORT WAYNE         IN   46814‐8820
SAXE, LEROY G               1618 GARTLAND AVE                                                                              JANESVILLE         WI   53548‐1522
SAXE, MARK J                711 TUDOR DR                                                                                   JANESVILLE         WI   53546‐2002
SAXE, WILLIAM H             204 HUDSON AVE                                                                                 NORTH MIDDLETOWN   NJ   07748
SAXENA, RAJESH              5110 RANCHO MADERA BND                                                                         SAN DIEGO          CA   92130‐5227
SAXENA, RAKESH              251 FALLING BROOK DR                                                                           TROY               MI   48098‐4694
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Name                               Address1                            Address2                  Address3      Address4                City               State Zip
SAXENA, YOGESH                     2016 ROCKDALE AVE                                                                                   LANSING             MI 48917
SAXER, KIM J                       4336 S WARLANCE LN                                                                                  JANESVILLE          WI 53548‐9722
SAXER, LYNDSAY M                   4540 HEARTHSTONE DRIVE                                                                              JANESVILLE          WI 53546‐2165
SAXER, WERNER J                    414 S MADISON ST                                                                                    MONTICELLO          WI 53570‐9820
SAXILIS, NICHOLAS                  EB&HR OPERATIONS DEFAULT ADDRESS    200 RENAISSANCE CTR                                             DETROIT             MI 48265‐2000

SAXINGER CHALUPSKY WEBER & PARTNERS RATHAUSPLATZ 4                                                             VIENNA A 1010 AUSTRIA

SAXION, BARBARA L                   8260 STATE ROUTE 46                                                                                CORTLAND           OH   44410‐9671
SAXION, DAVID G                     6 BIRCH DR                                                                                         GREENVILLE         PA   16125‐1126
SAXION, JERRY L                     8260 STATE ROUTE 46                                                                                CORTLAND           OH   44410‐9671
SAXION, RICHARD G                   13 REDWOOD DR                                                                                      GREENVILLE         PA   16125‐1130
SAXMAN CONSTANCE                    SAXMAN, CONSTANCE                  10399 MADISON AVE                                               N. HUNTINGDON      PA   15642
SAXMAN, BRAD A                      3174 HIDDEN COVE CT                                                                                BRIGHTON           MI   48114‐4946
SAXMAN, CONSTANCE                   10399 MADISON AVE                                                                                  IRWIN              PA   15642‐1452
SAXON FLEET SERVICES                7571 9TH STREET NORTH                                                                              SAINT PAUL         MN   55128‐6626
SAXON JILL                          29 ELM ST                                                                                          REHOBOTH           MA   02769‐2303
SAXON MOTORS INC &                  DADY & GARNER PA                   4000 IDS TOWER            80 S 8TH ST                           MINNEAPOLIS        MN   55402
SAXON MOTORS, INC.                  17354 ZANE ST HWY 10 NW                                                                            ELK RIVER          MN   55330
SAXON MOTORS, INC.                  TED SAXON                          17354 ZANE ST HWY 10 NW                                         ELK RIVER          MN   55330
SAXON MOTORS, INC. (NATIONAL)       17354 ZANE ST., HWY. 10 NW                                                                         ELK RIVER          MN   55330
SAXON MOTORS, INC./NATIONAL CAR     255 UNIVERSITY AVE W                                                                               SAINT PAUL         MN   55103‐2048
RENTAL
SAXON MOTORS/SAXON LEASING          17354 ZANE ST HWY 10 NW                                                                            ELK RIVER          MN   55330
SAXON THURMAN                       PO BOX 333                                                                                         RICHLAND SPRINGS   TX   76871‐0333
SAXON TRANSPORT SERVICES            CTD TRANSPORT INC CO               17 BROOKVALE RD                                                 FRAMINGHAM         MA   01701‐3929
SAXON, ALICE                        11410 E BIRCH RUN                                                                                  BIRCH RUN          MI   48415‐9480
SAXON, ALICE                        11410 BIRCH RUN RD                                                                                 BIRCH RUN          MI   48415‐9480
SAXON, BARRY L                      P.O.BOX. 2098                                                                                      MARIETTA           GA   30061
SAXON, DONALD J                     5730 HOSNER RD                                                                                     OXFORD             MI   48370‐1102
SAXON, EDWARD                       19 HAWTHORN CIR                                                                                    CROSSVILLE         TN   38555‐5732
SAXON, FRIEDHILDE                   552 MORGAN ST                                                                                      TONAWANDA          NY   14150‐1822
SAXON, HERMAN                       3396 COOPERS TRL                                                                                   LORAIN             OH   44053‐4423
SAXON, IRMA N                       6169 S 450 E                                                                                       MARKLEVILLE        IN   46056‐9745
SAXON, JUANITA H                    2490 FOXBRIDGE CT.                                                                                 LAKE ST LOUIS      MO   63367‐2500
SAXON, JUANITA H                    2490 FOX BRIDGE CT                                                                                 LAKE ST LOUIS      MO   63367‐2500
SAXON, KAREN S                      1965 S. OCEAN BLVD                 UNIT 306                                                        POMPANO BEACH      FL   33062‐3062
SAXON, KAREN S                      1965 S OCEAN BLVD APT 306                                                                          POMPANO BEACH      FL   33062‐8024
SAXON, LAWRENCE D                   15528 STOLTZ RD                                                                                    DIAMOND            OH   44412‐9628
SAXON, LLOYD G                      147 BLOSSOM LN                                                                                     NILES              OH   44446‐2030
SAXON, MICHAEL J                    5043 WILLEO ESTATES DR                                                                             MARIETTA           GA   30068‐1678
SAXON, PHYLLIS B                    1641 N MADISON AVE APT B7                                                                          ANDERSON           IN   46011
SAXON, RANDALL C                    1149 PIERCE RD                                                                                     COLLINSVILLE       MS   39325‐9010
SAXON, RICHARD L                    6169 S 450 E                                                                                       MARKLEVILLE        IN   46056‐9745
SAXON, RICHARD W                    4480 4TH ST                                                                                        CALEDONIA          MI   49316‐9613
SAXON, ROBERT                       54354 QUEENS ROW                                                                                   SHELBY TWP         MI   48316‐1527
SAXON, ROBERT P                     3470 RAVENWOOD DR                                                                                  COLLEGE PARK       GA   30349‐3634
SAXON, RUTH R                       428 BAY TREE BLVD                                                                                  TAVARES            FL   32778
SAXON, SANDRA Z                     147 BLOSSOM LN                                                                                     NILES              OH   44446‐2030
SAXONIA‐FRANKE GMBH & CO BEFESTIGUN KUHNBERGSTR 1 GEWERBEPARK VORALB                                           GOEPPINGEN BW 73037
                                                                                                               GERMANY
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Name                          Address1                        Address2                      Address3                Address4            City            State Zip
SAXONIA‐FRANKE GMBH & CO KG   KUHNBERGSTR 1                                                                         GOPPINGEN 73037
                                                                                                                    GERMANY
SAXTON I I I, WALTER M        13455 JENNIFER DR                                                                                         PERRY            MI   48872‐8113
SAXTON III, WALTER M          13455 JENNIFER DR                                                                                         PERRY            MI   48872‐8113
SAXTON JR, WALTER M           501 BAILEY LAKE BLVD                                                                                      CLARE            MI   48617‐9691
SAXTON LYNN (482003)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                               NORFOLK          VA   23510
                                                              STREET, SUITE 600
SAXTON, BEVERLY C             3293 E 137TH ST                                                                                           CLEVELAND       OH    44120‐3950
SAXTON, BEVERLY CLAUDINE      3293 E 137TH ST                                                                                           CLEVELAND       OH    44120‐3950
SAXTON, BLANCHE C             1990 HIGHWAY 11 NW                                                                                        MONROE          GA    30656‐4680
SAXTON, BLANCHE C             1990 GEORGIA HWY 11 NW                                                                                    MONROE          GA    30656
SAXTON, BRADLEY S             566 CASEMER RD                                                                                            LAKE ORION      MI    48360‐1311
SAXTON, CHARLENE K            566 CASEMER RD                                                                                            LAKE ORION      MI    48360‐1311
SAXTON, CLAUDIE G             9450 CLINTON TINNIN RD                                                                                    CLINTON         MS    39056‐9433
SAXTON, CLAUDIE G             9450 CLINTON‐TINNIN RD                                                                                    CLINTON         MS    39056‐9433
SAXTON, DAVID A               PO BOX 372                      500 W MAIN ST                                                             MAPLE RAPIDS    MI    48853‐0372
SAXTON, DAVID P               6233 HILLIARD RD                                                                                          LANSING         MI    48911‐5624
SAXTON, ELZY S                SHANNON LAW FIRM                100 W GALLATIN ST                                                         HAZLEHURST      MS    39083‐3007
SAXTON, GENNIE M              17348 RUNYON ST                                                                                           DETROIT         MI    48234‐3821
SAXTON, GERTIE                4854 CAMELLIA LN                                                                                          BOSSIER CITY    LA    71111‐5402
SAXTON, GLENN W               13590 WACOUSTA RD                                                                                         GRAND LEDGE     MI    48837‐9213
SAXTON, GREGORY J             544 CREEKWOOD CT APT A                                                                                    WESTMONT        IL    60559‐2750
SAXTON, HAROLD E              724 GENEVA RD                                                                                             WATERFORD       MI    48328‐2126
SAXTON, JAMES B               1995 PLEASANT VALLEY RD NE                                                                                MONROE          GA    30655‐6237
SAXTON, JOHN F                14166 WEIR RD                                                                                             CLIO            MI    48420‐8853
SAXTON, JOHN H                25420 CURRIER ST                                                                                          DEARBORN HTS    MI    48125‐1718
SAXTON, JUDY K                1922 SHEPARD DR SW                                                                                        DECATUR         AL    35603‐2642
SAXTON, JUNIOR J              4201 EMERICK                                                                                              SAGINAW         MI    48603‐6615
SAXTON, JUNIOR J              4201 EMERICK ST                                                                                           SAGINAW         MI    48638‐6615
SAXTON, KIM J                 16565 DOYLE RD                                                                                            HEMLOCK         MI    48626‐8437
SAXTON, LYNN                  GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA    23510‐2212
                                                              STREET, SUITE 600
SAXTON, MARCELA M             7601 W 84TH ST                                                                                            BLOOMINGTON     MN    55438‐1303
SAXTON, MARK A                11151 LAKESIDE DR                                                                                         PERRINTON       MI    48871‐9616
SAXTON, NORMA J               8322 COURTLAND DR NE                                                                                      ROCKFORD        MI    49341‐8306
SAXTON, NORMAN E              1079 LEWERENZ ST                                                                                          DETROIT         MI    48209‐2242
SAXTON, NORMAN EARL           1079 LEWERENZ ST                                                                                          DETROIT         MI    48209‐2242
SAXTON, RAYMOND W             2587 MILLER GRABER RD                                                                                     NEWTON FALLS    OH    44444‐9724
SAXTON, REBECCA D             555 CONTINENTAL CIRCLE                                                                                    DAVISON         MI    48423‐8570
SAXTON, RHEA J                2320 N ELBA RD                                                                                            LAPEER          MI    48446‐8029
SAXTON, RICHARD O             19242 US HIGHWAY 24                                                                                       WOODBURN        IN    46797‐9599
SAXTON, ROBERT P              53 CEDARHURST DR                                                                                          W HENRIETTA     NY    14586‐9715
SAXTON, RUSSELL A             223 PEACHTREE LN APT D                                                                                    GREENWOOD       IN    46143‐2719
SAXTON, RUSSELL A             2118 MOUNT VERNON AVE                                                                                     JANESVILLE      WI    53545‐2107
SAXTON, TRACY E               3250 LAHRING RD                                                                                           LINDEN          MI    48451‐9434
SAY TAXI                      ATTN: OSAMA IBRAHIM             121 HAMDEN DR                                                             SYRACUSE        NY    13208‐1952
SAYA, PAUL                    840 ONONDAGA ST                                                                                           LEWISTON        NY    14092‐1445
SAYA, PETER M                 14809 SEA HOLLY CT                                                                                        FORT WAYNE      IN    46814‐9081
SAYA, THOMAS P                202 COLONY PARK DR                                                                                        LIVERPOOL       NY    13088‐5410
SAYADI HAMID                  SAYADI, HAMID                   THE ARMSTRONG LAW FIRM        807 MONTGOMERY STREET                       SAN FRANCISCO   CA    94133
SAYADI HAMID                  SAYADI, HAMID
SAYADOFF ERICA                9128 WHISPERING WILLOW WAY                                                                                TAMPA            FL   33614‐4914
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Name                  Address1                         Address2                     Address3                   Address4         City                  State Zip
SAYAN, DOUGLAS A      924 RICHLAND AVE                                                                                          LUPTON                 MI 48635
SAYAN, JOSEPH A       545 TIMBER TRAIL                                                                                          WEST BRANCH            MI 48661
SAYAN, KAREN K        9055 EAST ROAD                                                                                            BURT                   MI 48417‐9724
SAYAN, KAREN K        9055 EAST RD                                                                                              BURT                   MI 48417‐9724
SAYAPATHOUM, VANSY    3968 SOUTHWEST PINEWOOD WAY                                                                               BEAVERTON              OR 97007‐1370
SAYAS SALLY           SAYAS, SALLY                     5055 WILSHIRE BLVD STE 300                                               LOS ANGELES            CA 90036‐6101
SAYAS SALLY           SAYAS, PLARIDEL                  KROHN & MOSS ‐ CA,           5055 WILSHIRE BLVD SUITE                    LOS ANGELES            CA 90036
                                                                                    300
SAYBOLT LP            PO BOX 844640                                                                                             DALLAS                TX   75284‐4640
SAYBOLT, DEBORAH D    1025 COUNTRY CLUB RD                                                                                      BLOOMFIELD HILLS      MI   48304‐2603
SAYDAK, IRENE         VANTAGE POINT CONDO # 203        860 PANAMA CT                                                            MARCO ISLAND          FL   34145
SAYDE, HABIB          10 N 12TH ST                                                                                              HAWTHORNE             NJ   07506‐3702
SAYE, CHARLES D       117 CROWE SPRINGS RD NW                                                                                   CARTERSVILLE          GA   30121‐4502
SAYE, DOUG            C/O 21ST CENTURY INSURANCE       RECOVERY DEPARTMENT          PO BOX 29230                                PHOENIX               AZ   85038
SAYE, DOUG            C/O 21ST CENTURY INSURANCE       ATTN: TIMOTHY NEVIN          PO BOX 934298                               ATLANTA               GA   31193‐4298
SAYE, DOUGLAS         841 NEWPORT BAY DR                                                                                        EDWARDSVILLE          IL   62025‐1536
SAYE, EDNA LEE        1659 SMITH ST                                                                                             YPSILANTI             MI   48198‐6706
SAYE, IRENE F         2242 SAYE DR E                                                                                            JACKSONVILLE          FL   32225‐4862
SAYE, IRENE F         2242 SAYE DRIVE                                                                                           JACKSONVILLE          FL   32225‐4862
SAYE, JAMES E         2352 GEORGE AVE                                                                                           YPSILANTI             MI   48198‐6615
SAYE, ROBERT J        905 EVERYMAN CT                                                                                           COLUMBIA              TN   38401‐5597
SAYE, ROBERT W        4659 FM 1562                                                                                              CELESTE               TX   75423‐5452
SAYE, WILLIAM J       4331 BAY BEACH LN APT 351                                                                                 FORT MYERS BEACH      FL   33931
SAYED A SOLIMAN       59 EAGAN BLVD                                                                                             ROCHESTER             NY   14623‐4317
SAYED AHMED           8841 TERRY DR                                                                                             ORLAND PARK           IL   60462‐2229
SAYED AOUKAR          28 CHESTNUT STREET                                                                                        SLEEPY HOLLOW         NY   10591
SAYED, NASRI M        7800 TERNES ST                                                                                            DEARBORN              MI   48126‐1020
SAYED, SAJID M        43594 HOPTREE DR                                                                                          STERLING HEIGHTS      MI   48314‐4504
SAYED‐AHMAD, ISSAM    4931 ARGYLE ST                                                                                            DEARBORN              MI   48126‐3139
SAYEDH, FUAD          25350 NARBONNE AVE                                                                                        LOMITA                CA   90717‐2139
SAYEDH, SHOKRI        25350 NARBONNE AVE                                                                                        LOMITA                CA   90717‐2139
SAYEGH, FRED N        20683 CLARK RD                                                                                            BELLEVILLE            MI   48111‐9128
SAYEGH, JANE S        49454 SCHOENHERR RD                                                                                       SHELBY TWP            MI   48315‐3863
SAYEN, CHARLES E      3000 CARTERS FERRY RD E LOT 70                                                                            MILAM                 TX   75959‐2803
SAYEN, CHARLES P      3807 SAN RAMON DR                                                                                         ARLINGTON             TX   76013‐5718
SAYEN, JOHN F         3898 RANCH DR                                                                                             BAY CITY              MI   48706‐2018
SAYEN, L S            209 S WARNER ST                                                                                           BAY CITY              MI   48706‐4480
SAYEN, L S            209 S WARNER                                                                                              BAY CITY              MI   48706‐4480
SAYEN, MARY J         7030 WESTSIDE SAGINAW RD                                                                                  BAY CITY              MI   48706‐9362
SAYEN, MICHAEL C      765 W REDBUD DR                                                                                           HURST                 TX   76053‐6477
SAYEN, MICHAEL CHAD   765 W REDBUD DR                                                                                           HURST                 TX   76053‐6477
SAYEN, MICHAEL E      177 BEN LACY DR                                                                                           GUN BARREL CITY       TX   75156‐5909
SAYEN, MICHAEL T      2128 MOUNTVIEW CIR                                                                                        DAYTON                OH   45414‐5218
SAYEN, RICHARD A      603 VERNIER RD                                                                                            GROSSE POINTE WOODS   MI   48236‐1576
SAYEN, RUTH M         2625 TYLER RD                                                                                             YPSILANTI             MI   48198‐6183
SAYER, BRENT M        4835 LAKE WICHITA LN                                                                                      RICHMOND              TX   77407
SAYER, CLAIRE M       312 LOOKOUT DR                                                                                            COLUMBIA              TN   38401‐6135
SAYER, DENNIS S       312 LOOKOUT DR                                                                                            COLUMBIA              TN   38401‐6135
SAYER, ERICK          685 CROWDER DR                                                                                            FLORISSANT            MO   63031‐3201
SAYER, EUGENE J       12645 MORNING DR LOT #152                                                                                 DADE CITY             FL   33525
SAYER, F S            363 WATERSIDE RD                                                                                          NORTHPORT             NY   11768‐1238
SAYER, JAMES R        77 STONEHAVEN DR                                                                                          NORTH BEND            OH   45052‐9640
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Name                     Address1                              Address2                       Address3   Address4         City              State Zip
SAYER, JEFFREY P         33 TULIP BEND DR                                                                                 WENTZVILLE         MO 63385‐2658
SAYER, JOSEPH            425 MASON RIDGE DR                                                                               SAINT CHARLES      MO 63304‐7228
SAYER, MARILYN C         305 LOOKOUT DR                                                                                   COLUMBIA           TN 38401‐6145
SAYER, NATALIE J         14866 W COUNTRY GABLES DR                                                                        SURPRISE           AZ 85379‐5417
SAYER, SALLY M           7324 WESTWOOD DR                                                                                 ELLENTON           FL 34222‐3844
SAYER‐REHOR, DEBORAH L   3051 PARK RIDGE AVE                                                                              PAHRUMP            NV 89048‐0928
SAYERS, ALFRED M         148 WHIRLAWAY LOOP SW                                                                            PATASKALA          OH 43062‐9547
SAYERS, BEATRICE A       7970 E CAMELBACK RD UNIT 706                                                                     SCOTTSDALE         AZ 85251‐2662
SAYERS, BURTON F         1572 DEER PATH DR                                                                                LAPEER             MI 48446‐8096
SAYERS, CONNIE L         121 W 500 S                                                                                      ANDERSON           IN 46013‐5403
SAYERS, ERIC I           519 BEECHWOOD DR                                                                                 MANSFIELD          OH 44907‐2305
SAYERS, EVERETT R        PO BOX 30                                                                                        NORTH CHILI        NY 14514‐0030
SAYERS, FRANK S          298 1/24TH AVENUE                                                                                MANSFIELD          OH 44905
SAYERS, GARY M           2199 WEIR RD NE                                                                                  WARREN             OH 44483‐2820
SAYERS, GEORGE S         3363 SHERIDAN AVE                                                                                SAGINAW            MI 48601‐4454
SAYERS, GERALD L         2314 PENNSYLVANIA AVE                                                                            FLINT              MI 48506‐4805
SAYERS, JEAN H           3 CERES DR                                                                                       VIENNA             OH 44473‐9762
SAYERS, JEFF S           7326 STATE ROUTE 19 UNIT 5509                                                                    MOUNT GILEAD       OH 43338‐9350
SAYERS, JOSEPH M         740 LAIRD AVE NE                                                                                 WARREN             OH 44483‐5203
SAYERS, KEVIN C          8188 WYNCREST                                                                                    BLACKLICK          OH 43004‐8778
SAYERS, LAURA E          5125 W BAKER RD                       RT 3                                                       COLEMAN            MI 48618‐9361
SAYERS, LAURA E          5125 WEST BAKER ROAD                  RT 3                                                       COLEMAN            MI 48618‐9361
SAYERS, MALCOME D        121 W 500 S                                                                                      ANDERSON           IN 46013‐5403
SAYERS, MARGARET L       1560 WHITE OAK COURT                                                                             FRANKLIN           IN 46131‐1092
SAYERS, MARGUERITEH      1860 VALLEY VIEW DR                                                                              KOKOMO             IN 46902‐5067
SAYERS, MILDRED H        220 E. MAIN ST                                                                                   CORTLAND           OH 44410‐1224
SAYERS, MILDRED H        220 E MAIN ST                                                                                    CORTLAND           OH 44410‐1224
SAYERS, NARWISTA R       804 HAMPTON LN                                                                                   YOUNGSVILLE        NC 27596‐8752
SAYERS, PAMELA R         1166 MCKINLEY ST NE                                                                              WARREN             OH 44483‐5138
SAYERS, PEGGY J          1572 DEER PATH DR                                                                                LAPEER             MI 48446‐8096
SAYERS, RICHARD L        PO BOX 114                                                                                       NEW SPRINGFIELD    OH 44443‐0114
SAYERS, RONALD           121 W 500 S                                                                                      ANDERSON           IN 46013‐5403
SAYERS, RONALD J         121 W 500 S                                                                                      ANDERSON           IN 46013‐5403
SAYERS, RONALD J         121 W 500 SOUTH                                                                                  ANDERSON           IN 46013
SAYERS, RORY A           4265 N WASHBURN RD                                                                               DAVISON            MI 48423‐8107
SAYERS, SHIRLEY G        7995 VENICE HEIGHTS DR NE                                                                        WARREN             OH 44484‐1511
SAYERS, TODD A           532 S MAIN ST                                                                                    PATASKALA          OH 43062‐8395
SAYERS, TODD A           21 DAUBER CT SW                                                                                  PATASKALA          OH 43062‐9164
SAYERS, VIVIAN           WHOLLEY RICHARD F LAW OFFICES OF      17 KIMBALL HILL DR                                         HAVERHILL          MA 01830‐2426
SAYFA THONGSAVANH        8970 W BURDICK AVE                                                                               WEST ALLIS         WI 53227‐4553
SAYFORD, MELVIN R        1310 LOCUST ST                                                                                   MIDDLETOWN         IN 47356‐1133
SAYFORD, SARAH T         1425 COTTAGE AVENUE                                                                              MIDDLETOWN         IN 47356‐1117
SAYGER, JIMMIE           GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                               SAGINAW            MI 48604‐2602
                                                               260
SAYGER, JOANNA C         8981 KINGSRIDGE DR 205                                                                           DAYTON            OH   45458
SAYGER, TONY G           1695 N BELLEVIEW DR                                                                              BELLBROOK         OH   45305‐1302
SAYGERS, MAUREEN A       745 GREENHURST DR                                                                                WESTERVILLE       OH   43082
SAYGILIGUL, GONUL        6126 SAVOY CIRCLE                                                                                LUTZ              FL   33558
SAYGILIGUL, GONUL        6126 SAVOY CIR                                                                                   LUTZ              FL   33558‐2813
SAYK, MARK E             13618 S 37TH PL                                                                                  PHOENIX           AZ   85044‐4561
SAYLER TANIA             163 ATKINSON RD                                                                                  WALNUT            IL   61376‐9631
SAYLER, BONNIE           4403 BRANSON ST                                                                                  EDINA             MN   55424‐1046
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Name                   Address1                       Address2                  Address3   Address4         City                State Zip
SAYLER, BUDDY J        2623 S 30TH ST                                                                       KANSAS CITY          KS 66106‐4280
SAYLER, DAVID C        7790 BERKEY HWY                                                                      BLISSFIELD           MI 49228‐0030
SAYLER, DAVID CLYDE    7790 BERKEY HWY                                                                      BLISSFIELD           MI 49228‐0030
SAYLER, DUAINE C       1848 SUTTON RD                                                                       ADRIAN               MI 49221‐9506
SAYLER, DUAINE D       1857 SUTTON RD                                                                       ADRIAN               MI 49221‐9506
SAYLER, LARRY K        5347 OGDEN HWY                                                                       ADRIAN               MI 49221‐9641
SAYLER, MICHAEL        PO BOX 92                                                                            SALEM                SD 57058‐0092
SAYLER, REBECCA D      10633 BERKEY HWY                                                                     BLISSFIELD           MI 49228‐9726
SAYLES II, THOMAS M    2931 GABRIEL DR                                                                      COMMERCE TOWNSHIP    MI 48382‐4491
SAYLES JR, BENJAMINE   5310 WILD WEST DR                                                                    ARLINGTON            TX 76017‐2027
SAYLES RAYFEL          THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES         FL 33146
SAYLES, ADLEN          4097 BAILEY AVE                                                                      AMHERST              NY 14226‐3210
SAYLES, ALBERT L       4221 MAPLEVIEW DR                                                                    DAYTON               OH 45432‐1827
SAYLES, ALDON L        13406 EVERGREEN LN                                                                   BRUCE TWP            MI 48065‐3363
SAYLES, ALLEN J        175 FLICKER ST                                                                       ROCHESTER HILLS      MI 48309‐3414
SAYLES, BETTY B        355 KERN STREET                                                                      FRANKENMUTH          MI 48734
SAYLES, BETTY B        355 KERN ST                                                                          FRANKENMUTH          MI 48734‐1107
SAYLES, CLARENCE       810 MAPLEWOOD AVE                                                                    DAUPHIN              PA 17018‐9621
SAYLES, CONLEY B       46 MONTANA STREET                                                                    BUFFALO              NY 14211
SAYLES, DAVID P        16179 SILVERSHORE DR                                                                 FENTON               MI 48430‐9156
SAYLES, DEMETRIA C     397 WARWICK AVENUE                                                                   BUFFALO              NY 14215‐3269
SAYLES, GEORGE W       2832 ASKEW AVE                                                                       KANSAS CITY          MO 64128‐1235
SAYLES, HARRIETT       2898 SUNSET CT                                                                       DECATUR              GA 30034
SAYLES, HARVEY L       175 FLICKER ST                                                                       ROCHESTER HILLS      MI 48309‐3414
SAYLES, HERMAN         911 WADDELL AVE                                                                      CLAIRTON             PA 15025‐1546
SAYLES, JIMMY L        1217 TERRY CT                                                                        CINCINNATI           OH 45215‐1834
SAYLES, JOHN A         5393 KAY DR                                                                          MONROE               MI 48161‐3766
SAYLES, JOHN R         1155 PARADISE CT UNIT G                                                              GREENWOOD            IN 46143‐2111
SAYLES, JONELL J       835 WHISPERWOOD TRL                                                                  FENTON               MI 48430‐2200
SAYLES, KARL F         8676 SHERIDAN RD                                                                     MILLINGTON           MI 48746‐9653
SAYLES, LOIS           895 HENDERSON AVE                                                                    WATERFORD            MI 48328‐2511
SAYLES, MERLE J        5687 HANES RD                                                                        VASSAR               MI 48768‐9216
SAYLES, NANCY B        15450 FISH LAKE RD                                                                   HOLLY                MI 48442‐8344
SAYLES, PATTY A        8506 ROYAL HART DR                                                                   NEW PT RICHEY        FL 34653‐7017
SAYLES, STEVEN B       5885 BARNES RD                                                                       MILLINGTON           MI 48746‐8713
SAYLES, TONYA RENEE    638 WELSH BLVD                                                                       VASSAR               MI 48768‐1419
SAYLES, WILLIAM A      8506 ROYAL HART DR                                                                   NEW PORT RICHEY      FL 34653‐7017
SAYLES, WILLIAM A      3263 CHURCH ST                                                                       SAGINAW              MI 48604‐2269
SAYLES‐BLUE, DIANE     5955 W BIRCH RUN RD                                                                  MILLINGTON           MI 48746‐9738
SAYLES‐BLUE, DIANE     5955 BIRCH RUN RD                                                                    MILLINGTON           MI 48746‐9738
SAYLOR JR, COLBY       10889 LIMING VAN THOMPSON RD                                                         HAMERSVILLE          OH 45130‐9504
SAYLOR JR, GROVER C    PO BOX 176                                                                           WALLINS CREEK        KY 40873‐0176
SAYLOR JR, S B         155 TREECE DR                                                                        TAZEWELL             TN 37879‐4763
SAYLOR JR, THOMAS      7206 W GREEN SPRINGS RD                                                              INDIANAPOLIS         IN 46214‐3819
SAYLOR JR, WILLIAM C   5664 STEWART RD                                                                      SYLVANIA             OH 43560‐2076
SAYLOR, ALEX M         1609 CREEKSTONE DR                                                                   COLUMBIA             TN 38401‐6769
SAYLOR, ALLEN          4168 BRUCE DR                                                                        FAIRFIELD            OH 45014‐5902
SAYLOR, ANNA A         4540 SEYMOUR LAKE RD                                                                 OXFORD               MI 48371
SAYLOR, ARGENE         375 SOUTH BLVD E                                                                     PONTIAC              MI 48341‐2961
SAYLOR, ARNOLD         RR 1 BOX 716                                                                         ROSE HILL            VA 24281‐9747
SAYLOR, ARVILE D       311 WAGNER RD                                                                        LONDON               KY 40744
SAYLOR, AUBREY         325 DUNCAN STREET                                                                    SOMERSET             KY 42501‐1136
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Name                  Address1                        Address2            Address3         Address4         City               State Zip
SAYLOR, BARBARA A     9051 GOODING DR                                                                       SALINE              MI 48176‐8009
SAYLOR, BARBARA E     15564 BODMAN RD                                                                       MT ORAB             OH 45154‐8560
SAYLOR, BARBARA L     PO BOX 117                                                                            COLDIRON            KY 40819‐0117
SAYLOR, BEVERLY J     4714 NW 78TH TERRENCE                                                                 KANSAS CITY         MO 64151‐1350
SAYLOR, BILLY D       3033 HENRYDALE ST                                                                     AUBURN HILLS        MI 48326‐3622
SAYLOR, BOBBIE S      19 BOYER DR                                                                           MIAMISBURG          OH 45342‐3110
SAYLOR, BRIAN M       236 TANGLEWOOD DR                                                                     ROCHESTER HILLS     MI 48309‐2214
SAYLOR, CARL R        5001 EASTWOOD WAY                                                                     ANDERSON            IN 46017‐9634
SAYLOR, CHARLES L     324 W HERR ST                                                                         ENGLEWOOD           OH 45322‐1220
SAYLOR, COURTNEY      5764 BELLSHIRE LN                                                                     CLARKSTON           MI 48346‐4743
SAYLOR, DALE          6465 HARTLAND RD                                                                      FENTON              MI 48430‐9578
SAYLOR, DANIEL M      N5060 EPOUFETTE BAY RD                                                                NAUBINWAY           MI 49762‐9722
SAYLOR, DANIEL R      11182 FORRER DR                                                                       STERLING HEIGHTS    MI 48312‐4945
SAYLOR, DAVID E       3713 EVANSVILLE AVE                                                                   DAYTON              OH 45406‐1512
SAYLOR, DAVID F       1336 CHOPTANK RD                                                                      MIDDLETOWN          DE 19709‐9040
SAYLOR, DAVID F       211 W 2ND ST                                                                          PORT CLINTON        OH 43452‐1014
SAYLOR, DAVID M       509 CHESTER AVE                                                                       SPRING HILL         TN 37174‐2440
SAYLOR, DENNIS C      3190 VERNELL DR                                                                       DAYTON              OH 45449
SAYLOR, DON L         5352 ANDERSON RD                                                                      PORT CHARLOTTE      FL 33981‐4947
SAYLOR, DONALD E      4656 W SYLVANIA AVE APT 103                                                           TOLEDO              OH 43623‐3253
SAYLOR, DOROTHY D     N5047 EPOUFETTE BAY RD                                                                NAUBINWAY           MI 49762‐9722
SAYLOR, DOROTHY D     N 5047 EPOUFETTE BAY RD                                                               NAUBINWAY           MI 49762
SAYLOR, DWIGHT C      20 COUNTY ROAD 358                                                                    TRINITY             AL 35673‐5301
SAYLOR, EDMOND        1072 CLOVERLAWN DR                                                                    PONTIAC             MI 48340‐1610
SAYLOR, ELVIN         9555 ANDERSONVILLE RD                                                                 CLARKSTON           MI 48346‐1702
SAYLOR, ENOCH F       9860 ROAD 171                                                                         OAKWOOD             OH 45873‐9252
SAYLOR, ERNEST C      6141 E GLENCOE ST                                                                     INVERNESS           FL 34452‐7065
SAYLOR, EULIS S       PO BOX 13393                                                                          HAMILTON            OH 45013‐0393
SAYLOR, EVEY L        305 HERNDON AVENUE                                                                    STANFORD            KY 40484
SAYLOR, FORREST D     633 N LANCELOT DR                                                                     MARION              IN 46952‐2461
SAYLOR, FRANCES L     1382 DAFLER RD                                                                        W ALEXANDRIA        OH 45381‐8328
SAYLOR, FRANKLIN B    9137 CLUBHOUSE DR                                                                     DELMAR              MD 21875‐2364
SAYLOR, FRED D        4925 ABBOT RUN CT                                                                     LIBERTY TWP         OH 45011‐8656
SAYLOR, GARY          150 HILLFIELD RD                                                                      AUBURN HILLS        MI 48326‐2935
SAYLOR, GARY L        14 DAVIS ST                                                                           JAMESTOWN           OH 45335‐1610
SAYLOR, GARY L        14 DAVIS DRIVE                                                                        JAMESTOWN           OH 45335‐5335
SAYLOR, GEORGE E      2272 TUCKER RD                                                                        BLANCHESTER         OH 45107‐9621
SAYLOR, GERALD L      145 W RIDGEWAY DR                                                                     CENTERVILLE         OH 45459‐4709
SAYLOR, GERALD L      145 W. RIDGEWAY DR.                                                                   CENTERVILLE         OH 45459‐5459
SAYLOR, GINA          PO BOX 93                                                                             ARJAY               KY 40902‐0093
SAYLOR, GLENN C       3106 WARREN MEADVILLE RD                                                              CORTLAND            OH 44410‐9223
SAYLOR, GLENVILLE D   17 LINK DR                                                                            MARTINSBURG         WV 25405‐2677
SAYLOR, GLORIA J.     2910 E PIERSON RD                                                                     FLINT               MI 48506‐1360
SAYLOR, GORDON        7238 S FORK DR                                                                        SWARTZ CREEK        MI 48473‐9759
SAYLOR, HARLEY        141 MEADOW LANE DR                                                                    HOWELL              MI 48855‐9703
SAYLOR, HERMAN E      5900 WITHROW WAY                                                                      DAYTON              OH 45415‐2953
SAYLOR, HUGH R        930 TERRYS FORK RD                                                                    WALLINS CREEK       KY 40873‐8992
SAYLOR, JACK D        RT 7 208 E                                                                            PINEVILLE           KY 40977
SAYLOR, JACK D        389 OLD BELL HIGH RD                                                                  PINEVILLE           KY 40977‐8236
SAYLOR, JACKIE E      374 JENSON CHURCH RD                                                                  PINEVILLE           KY 40977‐8971
SAYLOR, JACKIE L      5110 VILLAGE DR                                                                       LAS VEGAS           NV 89142‐1846
SAYLOR, JAKE M        217 CITATION TRL                                                                      CORBIN              KY 40701‐8517
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Name                   Address1                          Address2            Address3         Address4         City            State Zip
SAYLOR, JAKE M         45467 STERRITT ST                                                                       UTICA            MI 48317‐5829
SAYLOR, JAMES          1609 CREEKSTONE DR                                                                      COLUMBIA         TN 38401‐6769
SAYLOR, JAMES D        218 PATRIOT CIR                                                                         SCOTTSVILLE      KY 42164‐6371
SAYLOR, JAMES DEAN     218 PATRIOT CIR                                                                         SCOTTSVILLE      KY 42164‐6371
SAYLOR, JAMES E        19219 VINTAGE TRACE CIR                                                                 FORT MYERS       FL 33967‐5530
SAYLOR, JEFFERY D      10934 LIMING VAN THOMPSON RD                                                            HAMERSVILLE      OH 45130‐9530
SAYLOR, JEFFERY DEAN   10934 LIMING VAN THOMPSON RD                                                            HAMERSVILLE      OH 45130‐9530
SAYLOR, JERRY          1339 BRADY AVENUE                                                                       BURTON           MI 48529‐2007
SAYLOR, JIMMY R        5629 MACEY AVE APT S1                                                                   CINCINNATI       OH 45227‐2134
SAYLOR, JOE O          520 HARWOOD ST                                                                          JOLIET            IL 60432‐2020
SAYLOR, JOSEPH M       5735 LAKE MICHIGAN DR                                                                   FAIRFIELD        OH 45014‐4421
SAYLOR, JUANITA        1741 FRANKLIN PIKE                                                                      LEWISBURG        TN 37091‐6917
SAYLOR, LARRY          190 VERNON PL                                                                           CARLISLE         OH 45005‐3780
SAYLOR, LARRY G        3504 ADVOCATE HILL DR                                                                   JARRETTSVILLE    MD 21084‐1504
SAYLOR, LUTHER L       8439 MAURICE DR                                                                         INDIANAPOLIS     IN 46234‐1739
SAYLOR, LYLE EDWARD    4449 BRISTOLWOOD DRIVE                                                                  FLINT            MI 48507‐3722
SAYLOR, MARSHALL W     1370 ORCHARD ST                                                                         WHITE LAKE       MI 48386‐3953
SAYLOR, MATTIE M       PO BOX 377                                                                              GALVESTON        IN 46932‐0377
SAYLOR, MAUDIE         2250 BUXTON AVE                                                                         NORWOOD          OH 45212‐2252
SAYLOR, MELISSA J      344 MARVIEW AVE                                                                         VANDALIA         OH 45377‐2229
SAYLOR, MICHAEL A      1‐15523‐4‐1                                                                             METAMORA         OH 43540
SAYLOR, MILDRED L.     5664 STEWART RD                                                                         SYLVANIA         OH 43560‐2076
SAYLOR, NEAL W         149 BROWNING CT                                                                         TAYLORSVILLE     KY 40071
SAYLOR, ORVIL D        PO BOX 686                                                                              WASKOM           TX 75692‐0686
SAYLOR, ORVILLE D      4005 SAINT LAWRENCE AVE                                                                 CINCINNATI       OH 45205
SAYLOR, PANSY K        509 CHESTER AVE                                                                         SPRING HILL      TN 37174‐2440
SAYLOR, PATRICIA A     PO BOX 245                                                                              CLEVES           OH 45002‐0245
SAYLOR, PATRICIA A     P O BOX 245                                                                             CLEAVES          OH 45002‐0245
SAYLOR, PAULINE        2272 TUCKER RD                                                                          BLANCHESTER      OH 45107‐9621
SAYLOR, PRESENT        11717 KENN RD                                                                           CINCINNATI       OH 45240‐1930
SAYLOR, RANDALL K      4357 NEWBERRY CT                                                                        DAYTON           OH 45432‐1829
SAYLOR, RAY G          1308 S RIBBLE AVE                                                                       MUNCIE           IN 47302‐3730
SAYLOR, REID A         RR 2 BOX 485A                                                                           ROSE HILL        VA 24281‐9637
SAYLOR, RHONDA L       4319 N JENNINGS RD                                                                      FLINT            MI 48504‐1311
SAYLOR, RICHARD J      251 DECLARATION LN                                                                      FLINT            MI 48507‐5918
SAYLOR, ROBERT         2025 MORROW RD                                                                          MARION           IN 46952‐1513
SAYLOR, ROBERT R       1863 ALLENDALE AVE                                                                      W BLOOMFIELD     MI 48324‐1205
SAYLOR, ROGER          1739 BETHEL NEW HOPE RD                                                                 BETHEL           OH 45106‐9688
SAYLOR, ROGER A        6630 DAWSON RD                                                                          LYNCHBURG        OH 45142‐8127
SAYLOR, ROGER ALLEN    6630 DAWSON RD                                                                          LYNCHBURG        OH 45142‐8127
SAYLOR, ROGER F        1123 LAKESIDE DR S                                                                      BATTLE CREEK     MI 49015‐3516
SAYLOR, ROGER L        4783 TOLLAND AVE                                                                        HOLT             MI 48842‐1065
SAYLOR, ROLLIE E       115 HOWARD RD                                                                           DECATUR          TN 37322‐8228
SAYLOR, RUTH           PO BOX 234                                                                              COLDIRON         KY 40819‐0234
SAYLOR, THEODORE J     220 LANE 440 JIMMERSON LK                                                               FREMONT          IN 46737‐8721
SAYLOR, TIFFANY
SAYLOR, TIMMY          3225 GOLFHILL DR                                                                        WATERFORD       MI   48329‐4520
SAYLOR, TIMOTHY P      900 WINDRIDGE LN APT 10                                                                 FLORENCE        KY   41042‐9429
SAYLOR, TIMOTHY PAUL   900 WINDRIDGE LN APT 10                                                                 FLORENCE        KY   41042‐9429
SAYLOR, WANDA          402 S SPRING ST                                                                         NEW PARIS       OH   45347
SAYLOR, WILLARD        6321 WHITAKER FARMS DR                                                                  INDIANAPOLIS    IN   46237‐8507
SAYLORS, BOBBY H       PO BOX 394                                                                              DICKSON         TN   37056‐0394
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Name                       Address1                        Address2                      Address3   Address4         City          State Zip
SAYLORS, DANNY L           1217 N SHERIDAN RD                                                                        MARION         IN 46952‐1811
SAYLORS, EARNEST L         PO BOX 211                                                                                HELENA         AR 72342‐0211
SAYLORS, EARNEST L         BOX 211                                                                                   HELENA         AR 72342‐0211
SAYLORS, GAIL              1120 TAPP WOOD RD                                                                         HOSCHTON       GA 30548‐2850
SAYLORS, MARY E            38 S VIRGINIA AVE                                                                         GERMANTOWN     OH 45327‐1241
SAYLORS, MURL J            5312 E STATE ROAD 144                                                                     MOORESVILLE    IN 46158‐6062
SAYLORS, PEGGY A           5312 E STATE RD 144                                                                       MOORESVILLE    IN 46158‐6062
SAYLORS, WILLIAM J         4355 BURGESS FALLS RD                                                                     SPARTA         TN 38583‐5146
SAYNE, MICHAEL T           101 W. C.R. 775 S.                                                                        OAKVILLE       IN 47367
SAYNO RAUL                 5447 MIDDAY CMN                                                                           FREMONT        CA 94555‐2956
SAYOKO MICHALAKIS          29613 CHESTER ST                                                                          GARDEN CITY    MI 48135‐3423
SAYOTOVICH, KATHLEEN L     3490 E RUTH ELLEN LN                                                                      OAK CREEK      WI 53154‐4141
SAYRAF, JACOB              715 BARTON DR                                                                             ANN ARBOR      MI 48105
SAYRE AUTO                 7192 BANKHEAD HWY                                                                         DORA           AL 35062‐2318
SAYRE CHARLES N (429761)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA 23510
                                                           STREET, SUITE 600
SAYRE JOHN L JR (439481)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK       VA 23510
                                                           STREET, SUITE 600
SAYRE, BETTY J             606 NORTH 6TH STREET            P.O. BOX 463                                              HOWE          IN   46746‐9472
SAYRE, BETTY J             606 SIXTH ST                    P.O. BOX 463                                              HOWE          IN   46746‐9472
SAYRE, CARL V              2156 E M 115                                                                              CADILLAC      MI   49601‐9181
SAYRE, CHARLES N           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK       VA   23510
                                                           STREET, SUITE 600
SAYRE, CHRISTOPHER W       207 EUGENE RD                                                                             COLUMBIA      TN   38401‐4438
SAYRE, DANIEL L            7700 TAWAWA MAPLEWOOD RD                                                                  SIDNEY        OH   45365‐9261
SAYRE, DAVID T             421 W MAIN ST                                                                             GREENWOOD     IN   46142‐3114
SAYRE, DOLORES             1762 PINEHILL DR                                                                          HASTINGS      MI   49058‐8119
SAYRE, DONALD P            PO BOX 1822                                                                               MANSFIELD     TX   76063‐0017
SAYRE, FLORENCE C          4808 ESCALANTE DR                                                                         NORTH PORT    FL   34287‐2855
SAYRE, FRANKLIN J          327 N 10TH ST                                                                             NEW CASTLE    IN   47362‐4402
SAYRE, GENEVIEVE M         600 MAIN ST                     APT 103 SOUTH                                             ANDERSON      IN   46016‐1534
SAYRE, JACKIE L            5210 W COUNTY ROAD 350 N                                                                  MUNCIE        IN   47304‐9121
SAYRE, JAMES G             2630 WINDING WAY RD                                                                       CULLEOKA      TN   38451‐2620
SAYRE, JEROME C            PO BOX 146                                                                                BURTON        OH   44021‐0146
SAYRE, JOANNE L            11 W 1350 N                                                                               CENTERVILLE   UT   84014‐3305
SAYRE, JOHN L              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK       VA   23510
                                                           STREET, SUITE 600
SAYRE, LAWRENCE A          343 ROSARIO LN                                                                            WHITE LAKE    MI   48386‐4401
SAYRE, LOUIS W             4317 HEATHROW DR                                                                          ANDERSON      IN   46013
SAYRE, MARY E              19 E 76TH ST                                                                              NEW YORK      NY   10021
SAYRE, MARY S              837 OLD ORCHARD RD                                                                        ANDERSON      IN   46011‐2414
SAYRE, MURRY D             4251 W 59TH ST                                                                            CLEVELAND     OH   44144‐1719
SAYRE, NANCY K             225 GROVE ST                                                                              TONAWANDA     NY   14150‐3525
SAYRE, R VINCENT
SAYRE, ROBERT F            570 ELIZABETH AVE                                                                         SOMERSET      NJ   08873‐5204
SAYRE, ROLAND C            878 STALLINGS AVE SE                                                                      ATLANTA       GA   30316
SAYRE, SHERRI L            706 RHODA AVE                                                                             YOUNGSTOWN    OH   44509‐1827
SAYRE, SHIRLEY T           2012 OAK ST                                                                               WILMINGTON    DE   19808‐4831
SAYRE, THOMAS J            14075 ELWELL RD                                                                           BELLEVILLE    MI   48111‐2548
SAYRE, WANDA E             1906 E 1100 N                                                                             ALEXANDRIA    IN   46001‐9043
SAYRE, WAYNE M             1442 SELMA ST                                                                             WESTLAND      MI   48186‐4025
SAYRE, WAYNE MOSER         1442 SELMA ST                                                                             WESTLAND      MI   48186‐4025
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Name                              Address1                             Address2                        Address3                  Address4                City              State Zip
SAYRE, WILLIAM F                  5681 W MCCORD RD                                                                                                       MC CORDSVILLE      IN 46055‐9425
SAYRE, YOLANDE EVE                1342 CARDIGAN DR                                                                                                       OXFORD             MI 48371‐6004
SAYRES KRISTEN NICOLE             3116 WAYNOKA AVE APT 4                                                                                                 MEMPHIS            TN 38111‐3551
SAYRES, DENISE C                  130 N GLENELLEN AVE                                                                                                    YOUNGSTOWN         OH 44509
SAYRES, DENISE C                  130 NORTH GLENELLEN AVENUE                                                                                             YOUNGSTOWN         OH 44509‐2005
SAYRES, NORMA R                   503 TAMAIMI TRAIL SOUTH              APT 137                                                                           VENICE             FL 34285
SAYRES, SHIRLEY                   4967 OAK KNOLL AVE                                                                                                     NEWTON FALLS       OH 44444‐9482
SAYRES, TERRY D                   42215 FRET RD                                                                                                          BELLEVILLE         MI 48111‐3004
SAYVILLE CHEVROLET‐OLDSMOBILE‐    DIRECTOR OF RETAIL REAL ESTATE       485 W MILWAUKEE ST              9TH FLOOR, ARGONAUT ôAö                           DETROIT            MI 48202‐3220
CADILLAC, INC.                                                                                         BLDG.
SAYVOR, DEBORAH                   6724 PINE VALLEY TRCE                                                                                                  STONE MOUNTAIN    GA   30087‐5818
SAYVOR, DEBORAH D                 6724 PINE VALLEY TRCE                                                                                                  STONE MOUNTAIN    GA   30087‐5818
SAYWARD, RICHARD W                5295 CEDARVIEW                                                                                                         CHARLEVOIX        MI   49720‐9705
SAYYAE, JOHN W                    9539 NORBORNE                                                                                                          REDFORD           MI   48239
SAYYAE, WILLIAM A                 4700 LABO RD                                                                                                           NEWPORT           MI   48166‐9752
SAZ LTD                           C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT             2 RAFFLES LINK            MARINA BAYFRONT
                                  LTD                                                                                            SINGAPORE 039392
SAZAMA, LUETTA F                  445 EDGEWOOD CT                                                                                                        NEENAH            WI   54956
SAZBO LASZLO (665268)             SIMMONS FIRM                         PO BOX 521                                                                        EAST ALTON        IL   62024‐0519
SAZBO, LASZLO                     SIMMONS FIRM                         PO BOX 521                                                                        EAST ALTON        IL   62024‐0519
SAZDANOFF CHIROPRACT              990 LEXINGTON AVE                                                                                                      MANSFIELD         OH   44907‐2246
SAZDANOFFT                        990 LEXINGTON AVE                                                                                                      MANSFIELD         OH   44907‐2246
SAZENSKI PHILIP                   525 CHANDLER CT                                                                                                        SHOREVIEW         MN   55126‐6050
SAZTEC INTERNATIONAL INC          900 MIDDLESEX TPKE BLDG 5                                                                                              BILLERICA         MA   01821
SAZY, JOHN H                      2506 TACKLES DR                                                                                                        WHITE LAKE        MI   48386‐1558
SAZY, MARIE C                     2506 TACKLES DR                                                                                                        WHITE LAKE        MI   48386‐1558
SAZY, MATTHEW L                   10356 LAPEER RD                                                                                                        DAVISON           MI   48423‐8159
SAZZAD HOSSAIN                    757 S MORNINGSTAR DR                                                                                                   ANAHEIM           CA   92808‐1633
SB & O INC PLANNING ENGINEERING   3990 RUFFIN RD STE 120                                                                                                 SAN DIEGO         CA   92123‐4805
SB GREEN LLC                      ATTN A/R                             4253 N SCOTTSDALE ROAD 2ND FL                                                     SCOTTSDALE        AZ   85251

SB MARKETING                      43 EAGLEWOOD AVE                                                                                                       BUFFALO           NY 14220‐1609
SB MARKETING & CONSULTATION       43 EAGLEWOOD AVE                                                                                                       BUFFALO           NY 14220‐1609
SB WHISTLER & SONS INC            32 MAIN ST                                                                                                             AKRON             NY 14001‐1238
SBARDOLINI DARIO                  VIA C BONARDI TR 2, 7                                                                          25049 ISEO (BS) ITALY
SBARRO MATTHEW                    SBARRO, MATTHEW
SBARRO MATTHEW                    SBARRO, SHANNON
SBARRO, MATTHEW                   79 MAKEFIELD RD                                                                                                        YARDLEY           PA   19067‐5943
SBARRO, SHANNON                   79 MAKEFIELD RD                                                                                                        YARDLEY           PA   19067‐5943
SBC                               39465 PASEO PADRE PKWY STE 1100                                                                                        FREMONT           CA   94538‐5349
SBC                               PAYMENT CTR                                                                                                            SACRAMENTO        CA   95887‐0001
SBC                               PO BOX 989045                                                                                                          WEST SAC          CA   95798‐9045
SBC AMERITECH                     444 MICHIGAN STE 500                                                                                                   DETROIT           MI   48226
SBC CAPITAL                       KIM LEVENBERG                        2000 ATT CENTER DR N                                                              HOFFMAN ESTATES   IL   60196‐0001
SBC CHAMPIONSHIP                  175 E HOUSTON RM 9‐K‐04                                                                                                SAN ANTONIO       TX   78205
SBC DATACOMM                      35275 INDUSTRIAL RD                                                                                                    LIVONIA           MI   48150‐1231
SBC DATACOMM                      PO BOX 8104                                                                                                            AURORA            IL   60507‐8104
SBC GLOBAL                        KIM LEVENBERG                        2000 ATT CENTER DR N                                                              HOFFMAN ESTATES   IL   60196‐0001
SBC GLOBAL SERVICES INC           HUNTINGTON NATIONAL BANK             PO BOX 1588                                                                       COLUMBUS          OH   43216
SBC GLOBAL SERVICES INC           PO BOX 8102                                                                                                            AURORA            IL   60507‐8102
SBC GLOBAL SERVICES INC           444 MICHIGAN AVE STE 500                                                                                               DETROIT           MI   48226
SBC GLOBAL SERVICES INC           220 W WISCONSIN AVE 2ND FL                                                                                             WAUKESHA          WI   53186
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SBC HOLDINGS, INC. (F/K/A THE STROH   SUSAN L. JOHNSON, ESQ.           STONERIDGE WEST, 41000                                                          BLOOMFIELD HILLS    MI 48304
BREWERY COMPANY)                                                       WOODWARD AVENUE
SBC INTERNET SERVICES.                PO BOX 5016                                                                                                      CAROL STREAM       IL   60197
SBC PAYMENT CENTER                                                                                                                                     SACRAMENTO         CA   95887‐0001
SBC PUBLIC COMMUNICATIONS             134 NW 6TH ST                                                                                                    EVANSVILLE         IN   47708‐1306
SBC SERVICES                                                           1237 HOWELL ST                                                                                     MO   64116
SBC TRANSPORTATION                                                     965 E MIDLOTHIAN BLVD                                                                              OH   44502
SBC/SNET                                                               1175 WOOD END RD                                                                                   CT   06615
SBC/SNET                                                               555 LAKEWOOD RD                                                                                    CT   06704
SBC/SNET                                                               134 CLUB RD                                                                                        CT   06256
SBC/SNET                                                               72 SAND PIT RD                                                                                     CT   06810
SBC/SNET                                                               40 BRAINARD RD                                                                                     CT   06114
SBC/SNET                                                               40 WILLARD RD                                                                                      CT   06851
SBC/SNET                                                               4 HAMILTON ST                                                                                      CT   06511
SBC/SNET                                                               202 TORRINGTON RD                                                                                  CT   06098
SBC/SNET                                                               1441 N COLONY RD                                                                                   CT   06450
SBC/SNET                                                               550 HIGHLAND AVE                                                                                   CT   06457
SBC/SNET                                                               498 PUTNAM PIKE                                                                                    CT   06241
SBC/SNET                                                               1629 KING ST                                                                                       CT   06082
SBC/SNET                                                               32 COMMERCE DR                                                                                     CT   06471
SBC/SNET                                                               578 VAUXHALL STREET EXT                                                                            CT   06385
SBC/SNET                                                               360 BRIDGEPORT AVE                                                                                 CT   06484
SBC/SNET                                                               316 COURTLAND AVE                                                                                  CT   06906
SBE ENTERTAINMENT GROUP               MICHAEL DONEFF                   8000 BEVERLY BLVD., LOS ANGELES                                                 LOS ANGELES        CA   90048

SBENGHECI, VASILE                     1302 DARLEY CT                                                                                                   BEL AIR            MD 21015‐8600
SBERBANK                              VAVILOVA 19                                                                          117997 MOSCOW RUSSIAN
                                                                                                                           FEDERATION
SBESSE GLENN                          SBESSE, GLENN                    2479 COUNTY CLUB RD APT 1100A                                                   STARTANANURG       SC   29302
SBESSE, GLENN                         2479 COUNTRY CLUB RD APT 1100A                                                                                   SPARTANBURG        SC   29302‐4211
SBFM                                  SHERRY SHERWOOD                  C/O PROGRESSIVE DISTRIBUTION C    18765 SEAWAY DR                               PUNE               IN

SBIEGAY, JOHN                         253 MINI RANCH RD                                                                                                SEBRING            FL   33870‐9471
SBIHLI, ADOLPH W                      2111 KINGS PINE DR                                                                                               JOHNS ISLAND       SC   29455‐6212
SBIHLI, JANET L                       2111 KINGS PINE DR                                                                                               JOHNS ISLAND       SC   29455‐6212
SBLANO, VITO D                        344 HAVILAND DR                                                                                                  PATTERSON          NY   12563‐1542
SBLENDORIO GIORGIO‐CUCCOVILLO ANNA    VIA NAPOLI 8/2 70127                                                                 BARI ‐ S.SPIRITO (BARI) ‐
                                                                                                                           ITALY
SBORAY, ROBERT R                      616 COREY AVE                                                                                                    BRADDOCK           PA 15104‐1506
SBRAGIA, QUINTO G                     5417 CLOVERBROOK DR                                                                                              FORT WAYNE         IN 46806‐3515
SBRANA CARLO                          V. MONTE DEL GALLO,9 00100       ROMA                                                                            ROME
SBRESNY, ERIC K                       44 SUPERIOR TRL                                                                                                  SWARTZ CREEK       MI   48473‐1616
SBRESNY, GENE A                       2636 CARPENTER RD                                                                                                LAPEER             MI   48446‐9008
SBRIGATA, ANITA                       2715 CENTRE AVE                                                                                                  BELLMORE           NY   11710‐3449
SBROCHI, MICHAEL J                    6415 UPPER LAKE CIR                                                                                              WESTERVILLE        OH   43082‐8119
SBS PARTNERSHIP LLP                   1700 W SILVER SPRING DR                                                                                          GLENDALE           WI   53209‐4421
SBS PARTNERSHIP LLP                   ATTN CHRIS J DULLA               1700 W SILVER SPRING DR                                                         GLENDALE           WI   53209‐4421
SBS PARTNERSHIP, LLP                  1700 W SILVER SPRING DR                                                                                          GLENDALE           WI   53209‐4421
SBS PARTNERSHIP, LLP                  CHRIS J. DULLA                   1700 W SILVER SPRING DR                                                         GLENDALE           WI   53209‐4421
SBSS INC                              2165 CLINTON VIEW CIR                                                                                            ROCHESTER HILLS    MI   48309‐2984
SBT FBO AMERICAN CANCER SOCIET        THE STATE BANK & TRUST CO        401 CLINTON ST                    PO BOX 467                                    DEFIANCE           OH   43512
SC AUTO AIR                           26821 RUETHER AVE STE A                                                                                          SANTA CLARITA      CA   91351‐6578
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SC AUTONOVA SA                  35 FAGULUI STREET                     SATU MARE CITY
SC AUTONOVA SA                  SC AUTONOVA SA                        STR FAGULUI 35                                       440186 SATU MARE
                                                                                                                           ROMANIA
SC AUTONOVA SA SATU MARE        SATU MARE, 35 FAGULUL ST              ROMANIA
SC AUTONOVA/ROMANIA             FAGULUI 35                                                                                 SATU MARE RO 440186
                                                                                                                           ROMANIA
SC BLACK RIVER CHIMPLAST SRL    BRASOV STR VULCAN 83                                                                       VULCAN 500188 ROMANIA
SC BREVETS LAPELLETIER          23 AVENUE ADRIEN MOUISANT                                                                  F78400 CHATOU, FRANCE
SC BREVETS LAPELLETIER          23 AVENUE ADRIEN MOUISANT             F78400 CHATOU, FRANCE                                FRANCE
SC BREVETS LEPELLETIER          23 AVENUE ADRIEN MOISANT                                                                   CHATOU F‐78400 FRANCE
SC CIE FINANCIERE DU VALOIS     81 AVENUE DU SAINT DISDILLE ZI DE     VONGY                                                THONON LES BAINS FR
                                                                                                                           74200 FRANCE
SC COMMUNICATION INC            312 N MAY ST STE 5D                                                                                                 CHICAGO                  IL   60607‐1236
SC DEPARTMENT OF REVENUE DEPT   PO BOX 125                                                                                                          COLUMBIA                 SC   29214‐0213
00/L/10
SC FARM BUREAU INSURANCE        PO BOX 2124                                                                                                         WEST COLUMBIA            SC   29171‐2124
SC FARM BUREAU INSURANCE        RICHARD MYERS                         724 KNOX ABBOTT DR                                                            CAYCE                    SC   29033‐3340
SC INDUSTRIAL VI LLC            STE 200W                              387 SHUMAN BOULEVARD                                                          NAPERVILLE               IL   60563‐8306
SC JOHNSON & SON INC ET AL      C/O LINDA E BENFIELD AS HUNT'S SITE   FOLEY & LARDNER LLP         777 E WISCONSIN AVENUE                            MILWAUKEE                WI   53202
                                TRUSTEE
SC PERMANENTE MED GR            54602 PHILO                                                                                                         LOS ANGELES              CA 90074‐02
SC SUMMIT ON TRAFFIC SAFETY     1237 GADSEN ST STE 200                                                                                              COLUMBIA                 SC 29201
SC TAKATA PETRI ROMANIA SRL     JUD ARAD 9 ZONA INDUSTRIALA                                                                ARAD 310375 ROMANIA
SC TAKATA PETRI ROMANIA SRL     LARS SCHURMANN                        20 PLANT ARAD III ST NO 9                            DANYANG JIANGSU CHINA
                                                                                                                           (PEOPLE'S REP)
SC TAKATA PETRI ROMANIA SRL     20 PLANT ARAD III ST NO 9                                                                  ARAD RO 310375 ROMANIA
SC0TT W BOWMAN                  274 HIGHTSTOWN RD                                                                                                   CRANBURY                 NJ   08512‐1839
SCA PACK/OWOSSO                 123 N CHIPMAN ST                                                                                                    OWOSSO                   MI   48867‐2028
SCA PACK/OWOSSO                 1620 OLD BELFAST RD                                                                                                 LEWISBURG                TN   37091‐7141
SCA PACK/OWOSSO                 624 BRADY ST                                                                                                        CHESANING                MI   48616‐1155
SCA SCHUCKER COMPANY LP
SCA SCHUCKER COMPANY LP         46805 MAGELLAN DR                                                                                                   NOVI                     MI 48377‐2444
SCA SCHUCKER GMBH AND CO KG     GEWERBESTRASSE 52                                                                                                   75015 BRETTEN GERMANY
SCA SCHUCKER L.P.               46805 MAGELLAN DR                                                                                                   NOVI                     MI   48377‐2444
SCA SCHUCKER LP                 46805 MAGELLAN DR                                                                                                   NOVI                     MI   48377‐2444
SCA SCHUCKER/NOVI               46805 MAGELLAN DR                                                                                                   NOVI                     MI   48377‐2444
SCA SERVICE INC                 MELLON BANK                                                                                                         PITTSBURGH               PA   15219
SCA/MT PLEASANT                 1323 N MAIN ST                                                                                                      MT PLEASANT              TN   38474‐1080
SCACCETTI, LARRY                1 GREEN WAY                                                                                                         ALLENTOWN                NJ   08501‐1673
SCACCHETTI, CARL R              84 FREDERICK DR                                                                                                     ROCHESTER                NY   14624‐3205
SCACCHETTI, JOSEPH J            313 MARBLEHEAD DR                                                                                                   ROCHESTER                NY   14615‐1135
SCACCHETTI, VINCENT F           400 SANNITA DR                                                                                                      ROCHESTER                NY   14626‐3620
SCACCIA, JOSEPH C               9069 W HILL RD                                                                                                      FILLMORE                 NY   14735‐8707
SCACCIA, LISA M                 3583 CENTURY OAK CT                                                                                                 OAKLAND                  MI   48363‐2648
SCACCIA, VICTOR R               PO BOX 693                                                                                                          CHEEKTOWAGA              NY   14225‐0693
SCADDEN REGGIE                  279 LAWRENCE RD                                                                                                     LONGVIEW                 TX   75605‐6316
SCADUTO, AGATINA                14920 CAMARILLO ST                                                                                                  SHERMAN OAKS             CA   91403‐2003
SCADUTO, ANTHONY A              522 PARK PL                                                                                                         LYNDHURST                NJ   07071‐3222
SCADUTO, JOSEPH C               14920 CAMARILLO ST                                                                                                  SHERMAN OAKS             CA   91403‐2003
SCAFANI FRANK                   PO BOX 601062                                                                                                       SAN DIEGO                CA   92160‐1062
SCAFE, DWIGHT L                 44 S HURON DR                                                                                                       JANESVILLE               WI   53545‐2260
SCAFE, KENNETH J                15058 MARSHA ST                                                                                                     LIVONIA                  MI   48154‐4823
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Name                           Address1                            Address2                  Address3   Address4         City              State Zip
SCAFE, MICHAEL D               515 FRANKLIN LAKE CIR                                                                     OXFORD             MI 48371‐6706
SCAFE, WILLIAM D               7554 CORBIN AVE UNIT 3                                                                    RESEDA             CA 91335‐2424
SCAFFEDE JR, JOSEPH S          4203 SADLER DR                                                                            LINDEN             MI 48451‐9450
SCAFFEDE JR, JOSEPH SAMULE     4203 SADLER DR                                                                            LINDEN             MI 48451‐9450
SCAFFIDI MOTORS INC            FOURTH FLOOR PINCKNEY STREET PO BOX                                                       MADISON            WI 53701
                               ONE927
SCAFFIDI MOTORS INC            3733 STANLEY ST                                                                           STEVENS POINT     WI 54481‐1322
SCAFFIDI MOTORS, INC.          3733 STANLEY ST                                                                           STEVENS POINT     WI 54481‐1322
SCAFFOLD MANAGEMENT SERVICES   SCAFFOLD TRAINING INSTITUTE         311 E WALKER ST                                       LEAGUE CITY       TX 77573‐3815
SCAFFOLD RUSS DILWORTH
SCAFIDEL, AUDRY                PORTER & MALOUF PA                  4670 MCWILLIE DR                                      JACKSON           MS   39206‐5621
SCAFIDI JANE A                 SCAFIDI, JOSEPH                     201 W COMMERCE ST                                     BRIDGETON         NJ   08302
SCAFIDI JANE A                 SCAFIDI, JANE A                     201 W COMMERCE ST                                     BRIDGETON         NJ   08302‐1807
SCAFIDI, JANE                  985 NEW BROOKLYN RD                                                                       WILLIAMSTOWN      NJ   08094
SCAFIDI, JANE A                C/O CHANCE & MCCANN                 201 W COMMERCE ST                                     BRIDGETON         NJ   08302
SCAFIDI, JOSEPH                CHANCE & MCCANN                     201 W COMMERCE ST                                     BRIDGETON         NJ   08302
SCAFURI FRANCES C              3100 TREETOP DR                                                                           TITUSVILLE        FL   32780‐4866
SCAFURI, DAVID M               3 DEER TRACK RD                                                                           JACKSON SPRINGS   NC   27281‐9759
SCAFURI, FRANCES C             3100 TREETOP DR                                                                           TITUSVILLE        FL   32780‐4866
SCAFURI, MARK G                2604 CEDAR KEY DR                                                                         LAKE ORION        MI   48360‐1826
SCAFURI, P M                   5863 ROLLING RIDGE DR                                                                     TRENTON           MI   48183‐5815
SCAGGS WILLIAM (465059)        BILBREY & HYLIA                     8724 PIN OAK RD                                       EDWARDSVILLE      IL   62025‐6822
SCAGGS, CHARLES                110 N CRESTVIEW DR                                                                        CRESTON           OH   44217‐9603
SCAGGS, DANIEL A               10000 WYANDOTTE                                                                           KANSAS CITY       MO   64114
SCAGGS, ELMER                  2704 TIM AVE                                                                              BRIGHTON          MI   48114‐7301
SCAGGS, FLOYD E                1738 BOWEN RD RR 11                                                                       MANSFIELD         OH   44903
SCAGGS, ILA L                  913 LIVERMORE LN                                                                          ELYRIA            OH   44035‐3013
SCAGGS, ILA L                  913 LIVERMORE                                                                             ELYRIA            OH   44035‐3013
SCAGGS, JAMES H                2050 MUSSER RD                                                                            MANCELONA         MI   49659‐9677
SCAGGS, KEITH A                47801 HUGHES RD                                                                           WELLINGTON        OH   44090‐8901
SCAGGS, KEITH F                6971 COUNTY ROAD 57                                                                       LEXINGTON         OH   44904‐9637
SCAGGS, LARRY J                DALEY ROBERT                        707 GRANT ST STE 2500                                 PITTSBURGH        PA   15219‐1945
SCAGGS, PERRY J                11777 MARYELLEN DR                                                                        EATON RAPIDS      MI   48827‐8255
SCAGGS, RANDY                  26211 ILLINOIS RT 9                                                                       EDWARDS           IL   61528
SCAGGS, RAYMOND                10214 HANNON DR                                                                           HOUSTON           TX   77040‐1724
SCAGGS, ROGER L                2702 SHIRLEY DR                                                                           INDIANAPOLIS      IN   46222‐1477
SCAGGS, WILLIAM                BILBREY & HYLIA                     8724 PIN OAK RD                                       EDWARDSVILLE      IL   62025‐6822
SCAGLIA, PHILIP                1 TULIP CT                                                                                N MASSAPEQUA      NY   11758‐3026
SCAGLIONE, AUGUSTINE C         1039 VILLA PL                                                                             GIRARD            OH   44420‐2084
SCAGLIONE, CHRISTOPHER D       7740 MI STATE ROAD 52                                                                     MANCHESTER        MI   48158‐9407
SCAGLIONE, DEBORAH F           941 LIGHTHOUSE DR                                                                         N PALM BEACH      FL   33408‐4030
SCAGLIONE, DOROTEA             5736 STAWBERRY LAKE CIRCLE                                                                LAKEWORTH         FL   33463‐6504
SCAGNETTI, CHRISTOPHE R        43586 CANDLEWOOD DR                                                                       CANTON            MI   48187‐2010
SCAIFE, ARTHUR J               4451 GRANT ST                       P.O. BOX 167                                          BRIDGEPORT        MI   48722‐9664
SCAIFE, BLANCHE L              18635 BRETTON DR                                                                          DETROIT           MI   48223‐1335
SCAIFE, CHARLIE                PO BOX 2800                                                                               ANDERSON          IN   46018‐2800
SCAIFE, COLIN
SCAIFE, LUTHER                 APT 303                             4018 HARVARD LANE                                     KANSAS CITY       MO   64133‐1329
SCAIFE, MAE D                  8321 OAKLAND AVE                                                                          KANSAS CITY       KS   66112‐1741
SCAIFE, WILLIAM                2074 W 44TH ST                                                                            CLEVELAND         OH   44113‐3860
SCALA ANDREW M (652473)        EARLY LUDWICK SWEENEY & STRAUSS     360 LEXINGTON AVE FL 20                               NEW YORK          NY   10017‐6530
SCALA RALPH (356006)           ANGELOS PETER G LAW OFFICE          115 BROADWAY FRNT 3                                   NEW YORK          NY   10006‐1638
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SCALA, ANDREW M                       EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                               NEW YORK           NY 10017‐6530
SCALA, EUGENE                         1714 KEITH DR                                                                           HELLERTOWN         PA 18055‐2918
SCALA, LOUIE                          24355 ETON AVE                                                                          DEARBORN HTS       MI 48125‐1919
SCALA, MICHAEL J                      1430 EASTLAND AVE SE                                                                    WARREN             OH 44484‐4548
SCALA, MICHAEL J                      1430 EASTLAND S.E.                                                                      WARREN             OH 44484‐4548
SCALA, MICHELE H                      3229 OVERLOOK DR NE                                                                     WARREN             OH 44483‐5621
SCALA, RALPH                          ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                   NEW YORK           NY 10006‐1638
SCALABLE NETWORK TECHNOLOGIES, INC.   TOM FLANAGAN                      6100 CENTER DR #1250                                  LOS ANGELES        CA 90045‐9200

SCALE, WILLIAM D                      106 BELHAVEN DR                                                                         MOUNT AIRY        NC   27030‐8739
SCALELLA, VIRGINIA E                  156 GREEN HILL RD                                                                       KING OF PRUSSIA   PA   19406‐2026
SCALELLA, VIRGINIA E                  156 GREENHILL RD                                                                        KING OF PRUSSIA   PA   19406‐2026
SCALES ALVERNESS                      C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                   LITTLE ROCK       AR   72201
SCALES DABNEY                         SCALES, FLORA                     220 BAGLEY ST STE 210                                 DETROIT           MI   48226‐1424
SCALES GWEN                           ATTN R BRUNNER                    2500 EAST GM BLVD                                     DETROIT           MI   48211
SCALES JR, DABNEY                     PO BOX 23007                                                                            DETROIT           MI   48223‐0007
SCALES JR, HOWARD                     2490 HINGHAM LN                                                                         COLUMBUS          OH   43224‐3724
SCALES JR, NATHANIEL                  3 SHERIN DR                                                                             NEWARK            DE   19702‐6831
SCALES MOUND SINCLAIR SERVICE         310 FRANKLIN ST                                                                         SCALES MOUND      IL   61075‐9721
SCALES OTHEL                          C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                   LITTLE ROCK       AR   72201
SCALES, ALVERNESS                     MOODY EDWARD O                    801 W 4TH ST                                          LITTLE ROCK       AR   72201‐2107
SCALES, BRENDA L                      4190 RICHFIELD RD                                                                       FLINT             MI   48506‐2023
SCALES, CATHERINE ESTATE OF           WINDSOR WOODS RETIREMENT COMM                                                           HUDSON            FL   34667

SCALES, CHESTER L                     374 S MARSHALL ST                                                                       PONTIAC           MI   48342
SCALES, CORINTHA COLLINS              COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                               HOUSTON           TX   77002‐1751
SCALES, CORLOS                        1131 SAINT MATTHEW AVE                                                                  O FALLON          MO   63366
SCALES, DEBRA A                       PO BOX 13539                                                                            FLINT             MI   48501‐3539
SCALES, DENISE M                      4130 BRENTON DR                                                                         DAYTON            OH   45416‐1609
SCALES, DONALD L                      215 WOOD ST APT 34                                                                      GREENCASTLE       IN   46135‐1853
SCALES, DONELLA M                     10120 KIMBERLY DR                                                                       PLAIN CITY        OH   43064‐9430
SCALES, DORIS A                       6611 EAST CANAL ROAD RT=3                                                               LOCKPORT          NY   14094
SCALES, ESTELLA L                     6143 DAVID BERGER ST                                                                    MOUNT MORRIS      MI   48458‐2709
SCALES, FLORA                         14161 ASHTON RD                                                                         DETROIT           MI   48223‐3560
SCALES, HARRELL F                     14123 HUNTINGTON ST                                                                     RIVERVIEW         MI   48193‐7503
SCALES, HENRY                         1830 BURTON ST SE                                                                       GRAND RAPIDS      MI   49506‐4458
SCALES, JAMES E                       20485 GODDARD ST APT 202                                                                DETROIT           MI   48234‐1378
SCALES, JAMES W                       3907 INGLESIDE ST                                                                       ATHENS            AL   35613‐8519
SCALES, JOEL G                        498 BROOKS RD                                                                           PENDERGRASS       GA   30567‐3602
SCALES, KENNETH J                     902 16TH AVENUE NORTH                                                                   MINNEAPOLIS       MN   55411‐3254
SCALES, KESHA M                       142 N OSBORN AVE                                                                        YOUNGSTOWN        OH   44509‐2030
SCALES, LAURA                         18634 HUBBELL                                                                           DETROIT           MI   48235‐2754
SCALES, LAURA                         18634 HUBBELL ST                                                                        DETROIT           MI   48235‐2754
SCALES, MAE A                         PO BOX 74                                                                               DUBLIN            NH   03444‐0074
SCALES, MICHAEL I                     48533 CELEBRITY WOODS CT                                                                SHELBY TOWNSHIP   MI   48317‐2609
SCALES, NANCY K                       9359 BIRWOOD ST                                                                         DETROIT           MI   48204‐2642
SCALES, NAOMI                         2695 WILLOWICK WAY                                                                      ANDERSON          IN   46012‐9552
SCALES, ODIS                          417 LIVINGSTON AVE                                                                      DAYTON            OH   45410
SCALES, OTHEL                         MOODY EDWARD O                    801 W 4TH ST                                          LITTLE ROCK       AR   72201‐2107
SCALES, PATRICIA                      3 SHERIN DR                                                                             NEWARK            DE   19702‐6831
SCALES, REBEKAH L                     415 EDISON ST                                                                           WEST MIFFLIN      PA   15122‐4103
SCALES, ROBERTA G                     3907 INGLESIDE ST                                                                       ATHENS            AL   35613
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Name                              Address1                        Address2                      Address3   Address4             City               State Zip
SCALES, SAM H                     294 QUAIL HOLW                                                                                MADISON             MS 39110‐7012
SCALES, SAMUEL W                  112 BASSETT LN                                                                                YOUNGSTOWN          OH 44505‐4806
SCALES, SHARON D                  2490 HINGHAM LN                                                                               COLUMBUS            OH 43224‐3724
SCALES, TIM L                     3464 W 300 S                                                                                  MARION              IN 46953‐9727
SCALES, TIM L                     2806 W 500 N                                                                                  MARION              IN 46952‐9716
SCALES, TUWANNA D                 70 LAURENTIAN DR                                                                              BUFFALO             NY 14225
SCALES, WILLIAM J                 204 RAINBOW BLVD                                                                              INDIANAPOLIS        IN 46234‐9741
SCALET, BEVERLY A                 9900 E 80TH TER                                                                               RAYTOWN             MO 64138‐1942
SCALETTA MOLONEY ARMORING INC     6755 S BELT CIRCLE DR                                                                         BEDFORD PARK         IL 60638‐4705
SCALETTA WORLDWIDE ARMORING IN    DAN TRAINOR                     6800 S. BELT CIRCLE                      LANGENZENN GERMANY
SCALETTA WORLDWIDE ARMORING INC   DAN TRAINOR                     6800 S. BELT CIRCLE                      LANGENZENN GERMANY

SCALF JR, EDWARD                  7073 HILL STATION RD                                                                          GOSHEN             OH 45122‐9728
SCALF RONALD D (429762)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                  STREET, SUITE 600
SCALF, BRENDA F                   PO BOX 423                                                                                    CALERA             OK    74730
SCALF, BRENDA F                   516 WINDY LN                                                                                  SHERMAN            TX    75092‐8344
SCALF, DAVID W                    RT #4 BOX 267 B7                                                                              MONTICELLO         KY    42633
SCALF, DAVID W                    17 GREEN STABLE LN                                                                            MONTICELLO         KY    42633
SCALF, GEORGE S                   5148 E COUNTY ROAD 550 N                                                                      PITTSBORO          IN    46167‐9397
SCALF, GERTIE M                   1818 HIGHWAY 17 N STE 246                                                                     SURFSIDE BEACH     SC    29575
SCALF, HARRY D                    1390 MERRY RD                                                                                 WATERFORD          MI    48328‐1239
SCALF, HEATHER A                  47282 ROCKWOOD DR                                                                             MACOMB             MI    48044‐5413
SCALF, JACK                       177 LAKESIDE CIR                                                                              BRYAN              OH    43506‐9028
SCALF, JERRY S                    5120 FISHBURG RD                                                                              HUBER HEIGHTS      OH    45424‐4346
SCALF, JOEL R                     PO BOX 423                                                                                    CALERA             OK    74730
SCALF, JOEL R                     516 WINDY LN                                                                                  SHERMAN            TX    75092‐8344
SCALF, KATHERINE D                1708 BOCA RATON BLVD                                                                          KOKOMO             IN    46902‐3159
SCALF, MARY A                     763 DRIFTBRANCH RD                                                                            PIKEVILLE          KY    41501‐5207
SCALF, MARY A                     PO BOX 915                                                                                    WEST LIBERTY       KY    41472‐0915
SCALF, MELISSA J                  6393 SPRINGBORO PIKE APT 23                                                                   DAYTON             OH    45449‐3456
SCALF, ROCHELLE                   SCHNEIDER & MCGUIRE             251 MERRILL STREET ‐ SECOND                                   BIRMINGHAM         MI    48009
                                                                  FLOOR
SCALF, RONALD D                   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                  STREET, SUITE 600
SCALF, ROY                        6169 HIGHWAY 30 W                                                                             ANNVILLE            KY   40402‐9087
SCALF, SHIRLEY R                  PO BOX 192                                                                                    GREENTOWN           IN   46936‐0192
SCALF, WILLIAM
SCALF, WILLIAM N                  5120 PINE KNOB LN                                                                             CLARKSTON          MI    48346‐4075
SCALI, JOSEPH L                   1414 E EXCHANGE PKWY                                                                          ALLEN              TX    75002‐2957
SCALIA I I I, JAMES               5000 LIMESTONE RD                                                                             WILMINGTON         DE    19808‐1229
SCALIA III, JAMES                 5000 LIMESTONE RD                                                                             WILMINGTON         DE    19908‐1229
SCALIA SR, LOUIS P                701 OLD HARMONY RD                                                                            NEWARK             DE    19711‐6919
SCALIA, BERNADETTE P              192 GRIDLEY ST                                                                                BRISTOL            CT    06010‐6212
SCALIA, JOSEPH M                  8123 TROPHY PLACE DR                                                                          HUMBLE             TX    77346
SCALIA, JR,JAMES A                5115 W WATERBERRY DR                                                                          HURON              OH    44839‐2267
SCALIA, LOUIS P                   721 LETITIA DR                                                                                HOCKESSIN          DE    19707‐9224
SCALIA, LYNETTE D                 35542 GRISWALD ST                                                                             CLINTON TWP        MI    48035‐2623
SCALIA, PETER F                   123 W CHESTNUT ST                                                                             E ROCHESTER        NY    14445‐2241
SCALIA, ROBERT L                  310 GARNET LN                                                                                 SMYRNA             DE    19977‐9647
SCALICI, GIUSEPPE                 214 MILFORD DR                                                                                MIDDLETOWN         DE    19709‐9417
SCALICI, MARY                     44143 PROVIDENCE DR                                                                           CLINTON TOWNSHIP   MI    48038‐1052
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Name                                   Address1                         Address2                       Address3   Address4         City             State Zip
SCALISI, MARY F                        8104 RAYTOWN RD                                                                             RAYTOWN           MO 64138‐2112
SCALISSI, MELISSA M                    4303 HUNTINGHORNE DR                                                                        JANESVILLE        WI 53546‐3541
SCALLA WILLIAM & ERMA                  9513 GUNVIEW RD                                                                             NOTTINGHAM        MD 21236‐1405
SCALLAN JR, ARTHUR E                   9 INVERELL DR                                                                               TOMS RIVER        NJ 08757‐5945
SCALLEY, GARY R                        7612 CONNEMARA AVE                                                                          LAS VEGAS         NV 89128‐2640
SCALLON, THOMAS J                      PO BOX 223                                                                                  LITTLE VALLEY     NY 14755‐0223
SCALLY, ANTHONY F                      2441 PETER SMITH RD                                                                         KENT              NY 14477‐9614
SCALLY, CATHERINE M                    154 HAWTHORNE DR                                                                            SPENCERPORT       NY 14559
SCALLY, DAVID E                        1746 LEE JANZEN DR                                                                          KISSIMMEE         FL 34744‐3951
SCALLY, JOHN                           6829 LONGWORTH DR                                                                           WATERFORD         MI 48329‐1122
SCALLY, MARGARETE M                    13399 POMONA DR                                                                             STERLING HTS      MI 48312‐1531
SCALLY, MARY ROSE                      9300 DOUGLAS CT                                                                             NORTH ROYALTON    OH 44133‐2330
SCALLY, NORMA                          2012 LAKEFIELD DR                                                                           HURON             OH 44839‐2000
SCALVA KENNETH                         PO BOX 94                                                                                   ATWOOD            CO 80722‐0094
SCALZA ANTHONY                         SCALZA, ANTHONY                  5068 W PLANO PKWY STE 300                                  PLANO             TX 75093‐4409
SCALZA ANTHONY                         SCALZA, SANDRA                   5068 W PLANO PKWY STE 300                                  PLANO             TX 75093‐4409
SCALZA, ALBERT J                       27 PALLANT AVE                                                                              LINDEN            NJ 07036‐3605
SCALZA, ANTHONY                        KAHN & ASSOCIATES LLC            5068 W PLANO PKWY STE 300                                  PLANO             TX 75093‐4409
SCALZA, ELIZABETH F                    9847 W SILVER BELL DR                                                                       SUN CITY          AZ 85351‐3258
SCALZA, ELIZABETH F                    9847 SILVERBELL DR                                                                          SUN CITY          AZ 85351‐3258
SCALZA, FRANCIS D                      9847 W SILVER BELL DR                                                                       SUN CITY          AZ 85351‐3258
SCALZA, FRANK L                        38 WANDERING DAISY DR                                                                       OKATIE            SC 29909
SCALZA, LOUIS J                        108 CEDAR ST                                                                                WESTFIELD         NJ 07090‐1752
SCALZA, MARIE                          100 PARK WAY                                                                                EDISON            NJ 08817‐5332
SCALZA, SANDRA                         KAHN & ASSOCIATES LLC            5068 W PLANO PKWY STE 300                                  PLANO             TX 75093‐4409
SCALZI, CARMEN F                       400 ABBINGTON AVE                                                                           TONAWANDA         NY 14223‐1629
SCALZI, DAVID                          3066 KRUEGER RD                                                                             N TONAWANDA       NY 14120‐1406
SCALZI, JOANN                          4414 RUSHFORD DR.                                                                           HAMBURG           NY 14075‐3087
SCALZI, MICHAEL J                      948 ARMILLARIA ST                                                                           HENDERSON         NV 89011‐3029
SCALZI, MICHAEL J                      73 FANTASIA LN                                                                              HENDERSON         NV 89074‐3363
SCALZI, MICHAEL S                      318 PATRICE TER                                                                             BUFFALO           NY 14221
SCALZITTI, DONNA A                     20816 STRATFORD AVE                                                                         ROCKY RIVER       OH 44116‐1457
SCALZO ELENA                           896 E ROYAL OAK RD                                                                          ORO VALLEY        AZ 85755‐5827
SCALZO THOMAS C (ESTATE OF) (423962)   C/O LIPSITZ & PONTERIO           135 DELAWARE AVE , SUITE 506                               BUFFALO           NY 14202‐2416

SCALZO, DAVID L                        5515 SONOMA DR                                                                              PLEASANTON       CA   94566‐7746
SCALZO, SANDRA L                       8257 DAMPIER CIRCLE                                                                         LIVERPOOL        NY   13090‐4102
SCALZO, THOMAS                         18875 ARMADA RIDGE RD                                                                       ARMADA           MI   48005‐4212
SCALZO, THOMAS C                       LIPSITZ & PONTERIO               135 DELAWARE AVE, SUITE 506                                BUFFALO          NY   14202‐2410
SCALZO, TRICIA                         5515 SONOMA DR                                                                              PLEASANTON       CA   94566‐7746
SCAMAHORN, MATTHEW E                   RR 4 BOX 262                                                                                BLOOMFIELD       IN   47424‐9589
SCAMEHORN, JAMES W                     2810 E CROWN DR                                                                             TRAVERSE CITY    MI   49684‐7126
SCAMEHORN, JOHN M                      3873 CARAMBOLA CIR                                                                          VIERA            FL   32940‐6679
SCAMMACCA, JOHN A                      11110 CARAVEL CIR APT 202                                                                   FORT MYERS       FL   33908‐3979
SCAMMAHORN, ROGER E                    2209 HOMESITE DRIVE                                                                         DAYTON           OH   45414‐4023
SCAMP, JOSEPH O                        420 BUCKINGHAM RD                                                                           CANTON           MI   48188‐1574
SCAN INC                               3444 TAYLOR ST                                                                              FORT WAYNE       IN   46802‐4705
SCANA ENERGY REGULATED                 PO BOX 100157                                                                               COLUMBIA         SC   29202‐3157
SCANCARELLO, FRANCES                   895 LYNDENGLEN CT APT 203                                                                   AUBURN HILLS     MI   48326‐4564
SCANDALIS, JOHN J                      57721 YORKSHIRE CT                                                                          WASHINGTON TWP   MI   48094‐3563
SCANDALIS, MABEL A                     721 SAINT CLAIR ST                                                                          GROSSE POINTE    MI   48230‐1245
SCANDIA TECH/CLEARWA                   2051 SUNNYDALE BLVD                                                                         CLEARWATER       FL   33765‐1202
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SCANDLING, DALE W                  9717 JASON RD                                                                                                            LAINGSBURG         MI 48848‐9281
SCANDMEC INC                       FORSHEDA AUTOMOTIVE PRODUCTS            12400 BELDEN CT                  KONGSBERG AUTOMOTIVE INC                        LIVONIA            MI 48150‐1466

SCANDOLA, CRISTIANA & ALESSANDRO   LA SCALA ‐ STUDIO LEGALE E TRIBUTARIO   CORSO MAGENTA N 42                                          20123 MILANO ITALY

SCANDRETT, DAVID N                 686 NE 58TH AVE                                                                                                          DES MOINES        IA   50313‐1800
SCANDRETT, PHYLLIS T               7974 SPIVEY RD                                                                                                           JONESBORO         GA   30236‐4208
SCANDRETT, PHYLLIS T.              7974 SPIVEY RD                                                                                                           JONESBORO         GA   30236‐4208
SCANDRETT, RUTH E                  6577 PLANTERS CT                                                                                                         MORROW            GA   30260‐2170
SCANDRICK, JAMES                   2281 E LARNED ST                                                                                                         DETROIT           MI   48207‐3967
SCANDRICK, JOE L                   5730 DESOTO STREET                                                                                                       DAYTON            OH   45426‐1486
SCANDRICK, SHEILA L                4695 CHRISTOPHER AVE.                                                                                                    DAYTON            OH   45406‐5406
SCANDRICK, SHEILA LOUISE           4695 CHRISTOPHER AVE                                                                                                     DAYTON            OH   45406‐1318
SCANDURA, GIA M                    64 FOX RIDGE DRIVE                                                                                                       COLCHESTER        CT   06415‐2359
SCANDURA, LORI L                   1 CHANDON                                                                                                                LAGUNA NIGUEL     CA   92677‐5725
SCANDY, ANTHONY D                  5629 LONDON DR                                                                                                           YOUNGSTOWN        OH   44515‐4151
SCANDY, DANETTE                    578 COITSVILLE RD                                                                                                        CAMPBELL          OH   44405‐1155
SCANDY, KIMBERLY A                 5629 LONDON DR                                                                                                           AUSTINTOWN        OH   44515‐4151
SCANE, JAMES L                     1258 W TIMBER TRAIL DR                                                                                                   WHITEHALL         MI   49461‐9576
SCANES, ANTHONY T                  302 SWANSEA AVE                                                                                                          SYRACUSE          NY   13206‐1033
SCANGA, JOSEPH I                   32917 HAMPSHIRE ST                                                                                                       WESTLAND          MI   48185‐2839
SCANGA, SAVERIA                    32917 HAMPSHIRE                                                                                                          WESTLAND          MI   48185‐2839
SCANIO, THOMAS                     15 FOXSHIRE CIR                                                                                                          ROCHESTER         NY   14606‐5352
SCANION JAMES B                    SCANION, JAMES B                        117 WILMINGTON PIKE, SUITE 200                                                   GLEN MILLS        PA   19342

SCANION JOHN A JR (413499)         GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                                      NORFOLK           VA 23510
                                                                           STREET, SUITE 600
SCANION, JAMES B                   POWER & ASSOCIATES, P.C., ATTORNEYS     117 WILMINGTON PIKE, SUITE 200                                                   GLEN MILLS        PA 19342
                                   AT LAW
SCANION, JOHN A                    GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                                      NORFOLK           VA 23510
                                                                           STREET, SUITE 600
SCANLAN FLEET SERVICE INC          4412 BALTIMORE AVE                                                                                                       BLADENSBURG       MD   20710‐1032
SCANLAN, ASHLEY E                  519 DOYLE ROAD                                                                                                           LAINGSBURG        MI   48848‐9611
SCANLAN, BEATRICE C                1366 BISHOP ROAD                                                                                                         GROSSE POINTE     MI   48230‐1146
SCANLAN, BETTY A                   9737 UNION PIER ROAD                                                                                                     UNION PIER        MI   49129‐9406
SCANLAN, CARROLL L                 1647 N FIELDSTONE AVE                                                                                                    FAYETTEVILLE      AR   72704‐5596
SCANLAN, GARY J                    1232 ARMS CT                                                                                                             ROCHESTER HILLS   MI   48307‐3179
SCANLAN, HELEN J                   1700 ROUTE 37 WEST                      UNIT 120‐05                                                                      TOMS RIVER        NJ   08757
SCANLAN, KATHLEEN E                2600 BRYANT AVE S APT 201                                                                                                MINNEAPOLIS       MN   55408‐1237
SCANLAN, PATRICIA J                110 GEYA CIRCLE                                                                                                          LOUDON            TN   37774‐2560
SCANLAN, PATRICIA J                110 GEYA CIR                                                                                                             LOUDON            TN   37774‐2560
SCANLAN, WILLIAM G                 7009 WILLIAMSTOWN DR                                                                                                     HUDSONVILLE       MI   49426‐9344
SCANLIN, DENISE                    2205 S ONG ST                                                                                                            AMARILLO          TX   79109‐2246
SCANLIN, GREGORY F                 11511 TIMBER RIDGE DR                                                                                                    KEITHVILLE        LA   71047‐9045
SCANLON MYRA (658205)              MASTERS & SIVINSKI LLC                  ONE INDEPENDENCE PLAZA 4807                                                      INDEPENDENCE      OH   44131
                                                                           ROCKSIDE ROAD SUITE 260
SCANLON, AMANDA L                  6449 CLOVIS AVE                                                                                                          FLUSHING          MI   48433‐9043
SCANLON, ARLENE                    19 W 44TH ST                                                                                                             BAYONE            NJ   07002
SCANLON, BETTY J                   8406 MILLER RD                                                                                                           SWARTZ CREEK      MI   48473‐1248
SCANLON, CATHY                     10285 OSHAUGHNESSY RD                                                                                                    CHEBOYGAN         MI   49721‐8985
SCANLON, DALE F                    PO BOX 13377                                                                                                             FLINT             MI   48501‐3377
SCANLON, EDWARD J                  7145 LANHAM AVE                                                                                                          SAINT LOUIS       MO   63143‐2511
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Name                       Address1                       Address2                Address3    Address4                  City               State Zip
SCANLON, ELIZABETH M       3312 WHITAKER UNIT 131                                                                       MELVINDALE          MI 48122
SCANLON, FRANCES L         SHATTUCK MANOR                 5935 SHATTUCK RD        APT 29                                SAGINAW             MI 48603
SCANLON, JAMES C           3824 SOUTHWEST HARBOR CIRCLE                                                                 LEES SUMMIT         MO 64082‐4665
SCANLON, JAMES R           513 S GRANGER ST                                                                             SAGINAW             MI 48602‐2102
SCANLON, JEROME M          3749 OLD CREEK RD                                                                            TROY                MI 48084‐1655
SCANLON, JOSEPH F          3101 CLARENDON ST                                                                            FLINT               MI 48504
SCANLON, JOSEPH H          4628 CURTIS LN                                                                               CLARKSTON           MI 48346‐2720
SCANLON, JR.,THOMAS D      9318 OLD STAGE RD                                                                            WAYNESVILLE         OH 45068‐8832
SCANLON, KATHLEEN A        7712 HOWE DR                                                                                 PRAIRIE VLG         KS 66208‐4226
SCANLON, LAWRENCE J        291 LEROY ST BOX 157                                                                         MONTROSE            MI 48457
SCANLON, LUCINA            577‐A ARENA DRIVE APT A                                                                      TRENTON             NJ 08610
SCANLON, MARGARET          3456 ELLIS PARK DR                                                                           BURTON              MI 48519‐1473
SCANLON, MARGARET          6725 BECKWITH RD                                                                             MORTON GROVE         IL 60053‐1319
SCANLON, MARGARET H        PO BOX 197                                                                                   OLD LYME            CT 06371‐0197
SCANLON, MAURICE L         5587 ALLAN RD                                                                                OWOSSO              MI 48867‐9656
SCANLON, MYRA              MASTERS & SIVINSKI LLC         81 VALENTINE FARMS LN                                         AKRON               OH 44333‐2551
SCANLON, PATRICK J         7740 LUCERNE DR APT P56                                                                      MIDDLEBRG HTS       OH 44130‐6542
SCANLON, PAUL J            6811 BIRDIE CIR                                                                              GRAYLING            MI 49738‐7789
SCANLON, PHOEBE            1392 RIDGEWAY AVENUE                                                                         ROCHESTER           NY 14615‐3747
SCANLON, THERESA           2016 BRATTON PLACE DR                                                                        FRANKLIN            TN 37067‐1327
SCANLON, THOMAS G          15312 CATALINA WAY                                                                           HOLLY               MI 48442‐1104
SCANLON, TIMOTHY J         11 CARTY DRIVE RD#1                                                                          BORDENTOWN          NJ 08505
SCANLON, WARREN C          251 LAKE POINTE CIR                                                                          CANFIELD            OH 44406‐8772
SCANLON, WILLIAM           2808 COLONNADE DR                                                                            MOUNT PLEASANT      SC 29466‐6716
SCANLON, WILLIAM M         6181 S 118TH ST                                                                              HALES CORNERS       WI 53130‐2415
SCANLON, WILLIAM T         32 APOLLO DR                                                                                 YARDVILLE           NJ 08620‐1013
SCANNELL, DONA M           115 FRESH POND PKWY                                                                          CAMBRIDGE           MA 02138‐2121
SCANNELL, DOROTHY E        35556 ANN ARBOR TRL CT                                                                       LIVONIA             MI 48150‐5504
SCANNELL, EDWARD G         115 FRESH POND PKWY                                                                          CAMBRIDGE           MA 02138‐2121
SCANNELL, GORDON J         5109 FINLAY DR                                                                               FLINT               MI 48506‐1570
SCANNELL, JEREMIAH J       10723 REVA PL                                                                                CERRITOS            CA 90703‐2614
SCANNELL, JOHN             9 HEMLOCK DR                                                                                 EAST BRIDGEWATER    MA 02333‐1589
SCANNELL, MARGIE J         7551 ARBELA RD                                                                               MILLINGTON          MI 48746‐9525
SCANNELL, PAUL W           27 CRICKLEWOOD DR                                                                            LEICESTER           MA 01524‐1620
SCANNELL, ROBERT J         4389 GREGOR ST 81                                                                            GENESEE             MI 48437
SCANNELL, RONALD T         31009 BIRCHWOOD ST                                                                           WESTLAND            MI 48186‐5082
SCANNELL, RUTH A           1030 CHALLENGER AVENUE                                                                       DAVENPORT           FL 33897
SCANNELL, THELMA J         4215 COBBLER ROAD                                                                            NEW ALBANY          OH 43054‐7165
SCANNELL, VIRGINIA Q       2750 LOCHMOOR BLVD                                                                           LAKE ORION          MI 48360‐1984
SCANNELL, VIRGINIA QUINN   2750 LOCHMOOR BLVD                                                                           LAKE ORION          MI 48360‐1984
SCANNELLA, CRAIG A         1244 BEAR TAVERN RD.                                                                         TITUSVILLE          NJ 08560
SCANNELLA, VINCENT A       21 STATE PARK DR                                                                             TITUSVILLE          NJ 08560‐1109
SCANSONIC GMBH             RUDOLF‐BASCHANT‐STR 2‐13086                                        BERLIN GERMANY
SCANSONIC GMBH             RUDOLF BASCHANT STR 2                                              BERLIN BL 13086 GERMANY
SCANSOURCE INC             6 LOGUE CT STE G                                                                             GREENVILLE         SC   29615‐5725
SCANTLAND, ANNA            243 TARA DR                                                                                  COOKEVILLE         TN   38501‐2144
SCANTLAND, CHRISTINA       19425 GEORGIA ST                                                                             ROSEVILLE          MI   48066‐4165
SCANTLAND, DONALD R        50 FESTUS ROAD,                                                                              NANCY              KY   42544‐2544
SCANTLAND, DONALD R        50 FESTUS RD                                                                                 NANCY              KY   42544‐8831
SCANTLEBURY, MARIE V       PO BOX 6466                                                                                  CHAMPAIGN          IL   61826‐6466
SCANTLEN, ELLEN I          1115 S LYNN ST                                                                               BRYAN              OH   43506‐2050
SCANTLIN JR, VIRGIL        7373 E US HIGHWAY 60 LOT 107                                                                 GOLD CANYON        AZ   85218‐7405
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Name                             Address1                         Address2                      Address3           Address4         City            State Zip
SCANTLIN, BARBARA R              1515 EAST SYCAMORE AVENUE                                                                          EL SEGUNDO       CA 90245‐3308
SCANTLIN, BOBBIE E               344 ROGER COLE RD                                                                                  BOWLING GREEN    KY 42101‐9316
SCANTLIN, IRMA M                 305A W LINCOLN AVE                                                                                 OWENSVILLE       MO 65066‐1332
SCANTLIN, IRMA M                 305A W LINCOLIN                                                                                    OWENSVILLE       MO 65066‐1332
SCANTRON CORPORATION             34 PARKER                                                                                          IRVINE           CA 92618‐1604
SCANTRON CORPORATION             HARTLAND TECHNOLOGY SERVICE      2020 S 156TH CIR                                                  OMAHA            NE 68130‐2501
SCANTRON SERVICE GROUP           PO BOX 45550                                                                                       OMAHA            NE 68145‐0550
SCANTRON/LIVONIA                 37677 PROFESSIONAL CENTER        SUITE 115                                                         LIVONIA          MI 48154
SCAPA GROUP PLC                  MIKE CLEMENTS                    SCAPA NORTH AMERICA LTD       609 BARNET BLVD.                    WOODSTOCK         IL
SCAPA NORTH AMERICA RENFREW      MIKE CLEMENTS                    SCAPA NORTH AMERICA LTD       609 BARNET BLVD.                    WOODSTOCK         IL
SCAPACCINO SR, JOHN J            110 HAMMOCKS CT                                                                                    GREENACRES       FL 33413‐2037
SCAPARO, JOHN                    47922 ROYAL POINTE DR                                                                              CANTON           MI 48187‐5463
SCAPEROTTA, WAYNE                23 HARTWELL RD                                                                                     BUFFALO          NY 14216‐1733
SCAPPATICCI, MARIA               49 DELL ST                                                                                         SLEEPY HOLLOW    NY 10591‐1905
SCAPPECHIO, PAUL D               PO BOX 492602                                                                                      KEAAU            HI 96749‐2602
SCAPPECHIO, PAUL D               314 MACARTHUR DRIVE                                                                                BUFFALO          NY 14221‐3733
SCARAMELLA, PATRICIA             1 PROCTOR BLVD                                                                                     UTICA            NY 13501‐6116
SCARAMELLINO JR, FRANK J         1510 HIGHLAND FARM DR                                                                              SUWANEE          GA 30024‐3698
SCARAMELLINO JR, FRANK JOSEPH    1510 HIGHLAND FARM DR                                                                              SUWANEE          GA 30024‐3698
SCARAMOZZA, MARYANN              135 ADDISON ST, APT 2                                                                              EAST BOSTON      MA 02128
SCARAMUCCIA, JANET R             8968 ARCHER PL                                                                                     DAYTON           OH 45458‐2619
SCARAMUZZO, VINCENT J            709 CONNALLY TER                                                                                   ARLINGTON        TX 76010‐4454
SCARANGELLA, MICHAEL             13924 BROUGHAM DR                                                                                  STERLING HTS     MI 48312‐4302
SCARANGELLA, WILLIAM             WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK         NY 10038
SCARANO, JOSEPH W                404 CHARLES AVE                                                                                    CORTLAND         OH 44410‐1302
SCARANTINO, DAVID A              1211 BAYWOOD CIR                                                                                   BRIGHTON         MI 48116‐6761
SCARBECZ, MICHAEL                4628 SUNSET DR                                                                                     LOCKPORT         NY 14094‐1232
SCARBER JR, JOHNNY L             16910 CRUSE ST                                                                                     DETROIT          MI 48235‐4097
SCARBER, COREANE                 14655 INDIANA ST                                                                                   DETROIT          MI 48238‐1772
SCARBER, MICHAEL P               11932 CHAMPAIGN AVE                                                                                WARREN           MI 48089‐4605
SCARBERRY, ALVIE O               PO BOX 533                                                                                         ROSE CITY        MI 48654‐0533
SCARBERRY, CLIFFORD              PO BOX 372                                                                                         FENTON           MI 48430‐0372
SCARBERRY, F L                   PO BOX 540                                                                                         PRINCETON        WV 24740‐0540
SCARBERRY, GARY A                2305 N CARRIAGE LN                                                                                 MUNCIE           IN 47304‐9599
SCARBERRY, GARY ARTHUR           2305 N CARRIAGE LN                                                                                 MUNCIE           IN 47304‐9599
SCARBERRY, KAY F.                399 HILER RD                                                                                       COLUMBUS         OH 43228‐2218
SCARBERRY, KAY F.                399 HILER ROAD                                                                                     COLUMBUS         OH 43228‐2218
SCARBERRY, LONNIE R              624 SADDLEWOOD AVE                                                                                 CENTERVILLE      OH 45459‐3032
SCARBERRY, MARY                  3870 STATE ROUTE 7                                                                                 NEW WATERFORD    OH 44445‐9784
SCARBERRY, MARY                  3870 STATE RT 7                                                                                    NEW WATERFORD    OH 44445‐9784
SCARBERRY, MICKEY V              5672 IDELLA RD                                                                                     GALLOWAY         OH 43219
SCARBERRY, MICKEY V              5672 IDELLA DR                                                                                     GALLOWAY         OH 43119‐8995
SCARBERRY, PAULINE               APT 226                          16333 ALLEN ROAD                                                  SOUTHGATE        MI 48195‐2989
SCARBERRY, REGINE                10261 FOLEY RD                                                                                     FENTON           MI 48430‐9379
SCARBERRY, RHONDA E              9484 W 500 N                                                                                       FARMLAND         IN 47340‐9384
SCARBOROGH SIDNEY L              C/O GUY PORTER & MALOUF          4670 MCWILLIE DRIVE                                               JACKSON          MS 39206
SCARBOROGH SIDNEY L (504981)     (NO OPPOSING COUNSEL)
SCARBOROUGH CLINTON L (439482)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA 23510
                                                                  STREET, SUITE 600
SCARBOROUGH HAROLD (423961)      ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                        BALTIMORE       MD 21202
                                                                  CHARLES CENTER 22ND FLOOR
SCARBOROUGH, ALTON D             8959 S FM 779                                                                                      ALBA             TX   75410‐8567
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Name                         Address1                         Address2                      Address3   Address4         City              State Zip
SCARBOROUGH, BARBARA         432 HASTINGS ST                                                                            HOLLY              MI 48442‐1757
SCARBOROUGH, BARBARA         432 HASTINGS                                                                               HOLLY              MI 48442‐1757
SCARBOROUGH, BENNETT L       5688 E 52ND ST                                                                             NEWAYGO            MI 49337‐9059
SCARBOROUGH, BENNETT L       4754 MAPLEVIEW AVE                                                                         WEST BLOOMFIELD    MI 48324‐1252
SCARBOROUGH, BOOKER T        712 MAIN ST APT 510                                                                        BUFFALO            NY 14202‐1719
SCARBOROUGH, CLINTON L       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                              STREET, SUITE 600
SCARBOROUGH, DAVID P         370 MAPLE LN                                                                               MANSFIELD         OH   44906‐2746
SCARBOROUGH, DORIS           5646 ASHEN AVE                                                                             NEW PORT RICHEY   FL   34652‐5560
SCARBOROUGH, EDWARD L        106 HILLSIDE AVE BOX 35                                                                    FREDERICA         DE   19946
SCARBOROUGH, ELIZABETH A     789 LAKE RD                                                                                WASKOM            TX   75692‐4049
SCARBOROUGH, ELIZABETH ANN   789 LAKE RD                                                                                WASKOM            TX   75692‐4049
SCARBOROUGH, EVERETT W       10141 N ELLENDALE RD                                                                       EDGERTON          WI   53534‐9014
SCARBOROUGH, FLORENCE        7 CHATEAU DR                                                                               OAKDALE           NY   11769‐1105
SCARBOROUGH, GLORIA          P.O. BOX 22                                                                                MADISON           AR   72359
SCARBOROUGH, GLORIA          PO BOX 22                                                                                  MADISON           AR   72359‐0022
SCARBOROUGH, HAROLD          ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                 BALTIMORE         MD   21202
                                                              CHARLES CENTER 22ND FLOOR
SCARBOROUGH, INDIA J         2430 FAIR OAKS BLVD APT 98                                                                 SACRAMENTO        CA   95825
SCARBOROUGH, JAMES H         3505 PARADISE ALLEY RD                                                                     HARRINGTON        DE   19952‐3054
SCARBOROUGH, JERRY W         2964 LANE ST                                                                               KANNAPOLIS        NC   28083‐9224
SCARBOROUGH, JOHN L          4315 LONG ACRES DR APT A                                                                   CINCINNATI        OH   45245‐1637
SCARBOROUGH, KENNETH E       5900 ACLA VISTA DR                                                                         PUNTA GORDA       FL   33950‐7949
SCARBOROUGH, LEWIS V         824 STUTELY PL                                                                             MIAMISBURG        OH   45342‐2025
SCARBOROUGH, MARVIN L        2434 SUNFLOWER DR                                                                          ARLINGTON         TX   76014‐1851
SCARBOROUGH, MARY E          11519 BEARCREEK RD LOT 17                                                                  DUNCANVILLE       AL   35456
SCARBOROUGH, MICHAEL J       338 VILLAGE POINTE DR APT A                                                                AKRON             OH   44313‐7468
SCARBOROUGH, PETER J         3368 STONE RD                                                                              MIDDLEPORT        NY   14105‐9710
SCARBOROUGH, PETRONILLA J.   PO BOX 65                                                                                  LATTY             OH   45855‐0065
SCARBOROUGH, QUINCIE H       12389 HIGHWAY 494                                                                          COLLINSVILLE      MS   39325‐9110
SCARBOROUGH, RAYMOND L       5646 ASHEN AVE                                                                             NEW PORT RICHEY   FL   34652‐5560
SCARBOROUGH, RICHARD D       8721 GROVECREST DR                                                                         DALLAS            TX   75217‐2316
SCARBOROUGH, SHARON E        PO BOX 14293                                                                               OKLAHOMA CITY     OK   73113‐0293
SCARBOROUGH, SIDNEY          GUY WILLIAM S                    PO BOX 509                                                MCCOMB            MS   39649‐0509
SCARBOROUGH, STERLING C      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                              STREET STE 600
SCARBOROUGH, THELMA          PO BOX 2577                                                                                COOKEVILLE        TN   38502‐2577
SCARBOROUGH, THOMAS Y        4720 NAPIER RD                                                                             CANTON            MI   48187‐4630
SCARBOROUGH, TROY            WEITZ & LUXENBERG                180 MAIDEN LANE                                           NEW YORK          NY   10038
SCARBOROUGH, TYRUS A         PO BOX 65                        410 VAN WERT                                              LATTY             OH   45855‐0065
SCARBOROUGH, WILBUR V        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                              STREET STE 600
SCARBOROUGH, WILLIAM L       12389 HIGHWAY 494                                                                          COLLINSVILLE      MS   39325‐9110
SCARBOROUGH, WILLIE          WEITZ & LUXENBERG                180 MAIDEN LANE                                           NEW YORK          NY   10038
SCARBRO HUNTER               JACK, CHRISTINA ELAINE           115 MORNING STAR LN                                       BECKLEY           WV   25801‐7118
SCARBRO HUNTER               JACK, DILLARD                    115 MORNING STAR LN                                       BECKLEY           WV   25801‐7118
SCARBRO HUNTER               SCARBRO, HUNTER                  PO BOX 2600                                               BECKLEY           WV   25802‐2600
SCARBRO HUNTER               SCARBRO, MARINDA                 PO BOX 2600                                               BECKLEY           WV   25802‐2600
SCARBRO, CHRESSIE            2947 CUSSELL DR                                                                            ST JAMES CITY     FL   33956‐2389
SCARBRO, D L                 PO BOX 594                                                                                 BRADLEY           WV   25818‐0594
SCARBRO, DEBORAH K           6316 HOLMES HWY                                                                            EATON RAPIDS      MI   48827‐8507
SCARBRO, DONALD W            3650 WILLIAMS CT                                                                           AVON              OH   44011‐2547
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Name                       Address1                         Address2                   Address3                   Address4         City               State Zip
SCARBRO, HUNTER            PO BOX 4                                                                                                DOROTHY             WV 25060‐0004
SCARBRO, JAMES R           1070 COUNTY ROAD 1418                                                                                   QUITMAN             TX 75783‐4513
SCARBRO, JOYCE I           6147 KENBROOK RD                                                                                        LANSING             MI 48911‐5419
SCARBRO, JOYCE I           428 OKEY L PATTESON RD                                                                                  SCARBRO             WV 25917
SCARBRO, LAWRENCE J        6316 HOLMES HWY                                                                                         EATON RAPIDS        MI 48827‐8507
SCARBRO, LOIE E            674 ALVARADO                                                                                            NORTH PORT          FL 34287‐2553
SCARBROUGH RAYMOND         300 KEENER BLVD                                                                                         BELMONT             NC 28012‐3853
SCARBROUGH, CHARLES D      211 PHEASANT RUN RD SE                                                                                  WARREN              OH 44484‐2320
SCARBROUGH, DEE A          6380 FISHER ZERO ROAD                                                                                   MERIDIAN            MS 39301
SCARBROUGH, JAMES W        2235 TITUS AVE                                                                                          DAYTON              OH 45414‐4137
SCARBROUGH, MARY J         1339 WESTMONT DR                 C8                                                                     SPRINGFIELD         OH 45503
SCARBROUGH, MELVIN O       1866 WAREHAM WAY                                                                                        CANTONMENT          FL 32533‐5631
SCARBROUGH, THOMAS W       6605 EAST AVE                                                                                           HODGKINS             IL 60525‐7616
SCARBROUGH, TROY L         281 E SOUTH AVE                                                                                         BELOIT              WI 53511‐1542
SCARBROUGH, TROY L         281 EAST SOUTH AVENUE                                                                                   BELOIT              WI 53511‐1542
SCARCELLA, ALFRED B        1943 WINTERGLEN CT                                                                                      BEAVERCREEK         OH 45432‐1886
SCARCELLA, THOMAS A        42964 FLIS DR                                                                                           STERLING HEIGHTS    MI 48314‐2851
SCARCELLO PAUL             PO BOX 9022                                                                                             WARREN              MI 48090‐9022
SCARCELLO, PAUL J          PO BOX 9022                                                                                             WARREN              MI 48090‐9022
SCARCHILLI, ETTORE         18510 VICTOR ST                                                                                         ROSEVILLE           MI 48066‐4830
SCARCHILLI, M              3991 CAMDEN DR                                                                                          STERLING HTS        MI 48314‐1994
SCARDACE, THELMA B         227 SUMMIT AVE                                                                                          MOUNT VERNON        NY 10552‐3309
SCARDACE, THELMA B         227 SUMMIT AVENUE                                                                                       MT VERNON           NY 10552‐3309
SCARDILLI, ANTOINETTE P    34 ESSEX RD                                                                                             CEDAR GROVE         NJ 07009‐2107
SCARDINA NANCY             SCARDINA, NANCY                  AIG                        ONE AIG CENTER 3RD FLOOR                    WILMINGTON          DE 19803

SCARDINA, NANCY            AIG                              ONE AIG CENTER 3RD FLOOR                                               WILMINGTON         DE   19803
SCARDINA, NANCY            8240 DENWOOD                                                                                            STERLING HTS       MI   48312
SCARDINA, NANCY J          8240 DENWOOD DR APT 53                                                                                  STERLING HEIGHTS   MI   48312‐5957
SCARDINA, STEVEN C         13407 RHODES CT                                                                                         CLEAR SPRING       MD   21722‐1757
SCARDINO, EILEEN A         251 BERKELEY ST                                                                                         ROCHESTER          NY   14607‐3351
SCARDINO, THOMAS A         34684 FIELDING CT                                                                                       FREMONT            CA   94555‐3274
SCARDONE, IDA              134 MOTT ST                                                                                             TRENTON            NJ   08611‐1527
SCARDONE, IDA              134 MOTT STREET                                                                                         TRENTON            NJ   08611‐1527
SCARDONE, JOSEPH D         227 E RALEIGH AVE                                                                                       WILDWOOD CREST     NJ   08260‐3230
SCARDUZIO JOHN (658450)    SIMMONS FIRM                     PO BOX 521                                                             EAST ALTON         IL   62024‐0519
SCARDUZIO, JOHN            SIMMONS FIRM                     PO BOX 521                                                             EAST ALTON         IL   62024‐0519
SCARFE JR, J E             9 CRESTWOOD DR                                                                                          ELKTON             MD   21921‐7440
SCARFF AUTO CENTER, INC.   1212 S MAIN ST                                                                                          KALISPELL          MT   59901‐5640
SCARFF AUTO CENTER, INC.   DOUGLAS SCARFF                   1212 S MAIN ST                                                         KALISPELL          MT   59901‐5640
SCARFF, DAVID K            140 BLUEFIELD AVE                                                                                       NEWBURY PARK       CA   91320‐4229
SCARFIELD, BARBARA         PO BOX 648                                                                                              JARRETTSVILLE      MD   21084
SCARFO, DOLORES            110 S CLEVELAND AVE                                                                                     NILES              OH   44446
SCARGALL, ALEXANDER J      W197N17085 STONEWALL DR                                                                                 JACKSON            WI   53037‐9120
SCARIANO, MARGARET M       1705 163RD ST SE                                                                                        MILL CREEK         WA   98012‐8061
SCARIATO, ROBERT           14 COTHERSTONE DR                                                                                       SOUTHAMPTON        NJ   08088‐1002
SCARINCI & HOLLENBECK      1100 VALLEY BROOK AVE                                                                                   LYNDHURST          NJ   07071
SCARINCI GEOFFREY          SCARINCI, GEOFFREY               30 E BUTLER AVE                                                        AMBLER             PA   19002‐4514
SCARINCI, ALBERT M         1001 RARITAN RD                                                                                         SCOTCH PLAINS      NJ   07076‐2737
SCARINCI, GEOFFREY         KIMMEL & SILVERMAN               30 E BUTLER AVE                                                        AMBLER             PA   19002‐4514
SCARINCIO, JOHN            514 DRIFTING RIDGE RD                                                                                   FORT EDWARD        NY   12828
SCARINGE, PATRICK J        6767 FORREST COMMONS BLVD                                                                               INDIANAPOLIS       IN   46227‐2396
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Name                              Address1                         Address2                        Address3   Address4                   City              State Zip
SCARINGELLI, CARL J               2304 WINDSONG CT                                                                                       FORT WAYNE         IN 46804‐7754
SCARITO JOHN (447525)             BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD         OH 44067
                                                                   PROFESSIONAL BLDG
SCARLATA, PALMA                   3439A S BROAD ST                                                                                       HAMILTON          NJ   08610‐2715
SCARLATA, THOMAS P                14 1ST AVE                                                                                             PORT MONMOUTH     NJ   07758‐1335
SCARLATELLA, ELIZABETH B          40 WINDSOR TER APT 3J                                                                                  WHITE PLAINS      NY   10601‐3744
SCARLATELLA, ELIZABETH B          40 WINDSOR TERRACE               APT 3J                                                                WHITE PLAINS      NY   10601‐3744
SCARLATELLI, ANDREW P             212 BEN BRUSH CIR                                                                                      FRANKLIN          TN   37069‐1823
SCARLATELLI, MICHAEL G            780 BROOKWOOD CT                                                                                       ROCHESTER HILLS   MI   48309‐1550
SCARLE, LINDA K                   10212 NANCYS BLVD APT 29                                                                               GROSSE ILE        MI   48138
SCARLET A PAYNE                   2601 OME AVE                                                                                           DAYTON            OH   45414‐5114
SCARLET BOELTER                   5482 GINA DR                                                                                           SWARTZ CREEK      MI   48473‐8829
SCARLETT ASSO/GR RAP              5695 EAGLE DR SE                                                                                       GRAND RAPIDS      MI   49512‐2057
SCARLETT COCHRAN                  8 THORNBIRD                                                                                            ALISO VIEJO       CA   92656‐1937
SCARLETT ERIC                     10570 HICKORY KNOLL CT                                                                                 BRIGHTON          MI   48114‐9297
SCARLETT JR, EUGENE T             1704 GARRARD STREET              APT 1                                                                 COVINGTON         KY   41014
SCARLETT K TOTO                   4160 LAKE PASS LN                                                                                      SUWANEE           GA   30024
SCARLETT TINI                     6213 PIGEON COVE RD                                                                                    NEEDMORE          PA   17238‐8750
SCARLETT, CLARA A                 1700 PIPPIN RD                                                                                         COOKEVILLE        TN   38501‐7888
SCARLETT, ERIC                    10570 HICKORY KNOLL CT                                                                                 BRIGHTON          MI   48114‐9297
SCARLETT, ERIC W                  28 FAIRWOOD COURT                                                                                      MIAMISBURG        OH   45342‐6628
SCARLETT, JOHN Y                  10221 E THOMPSON RD                                                                                    INDIANAPOLIS      IN   46239‐9406
SCARLETT, JOSEPH                  519 WELTY AVE                                                                                          JEANNETTE         PA   15644‐2368
SCARLETT, MATTHEW J               1706 N PLEASANT ST                                                                                     ROYAL OAK         MI   48067‐4339
SCARLETT, NEIL J                  3565 HAWKEYE PL                                                                                        NEWBURY PARK      CA   91320‐5584
SCARLETT, RODNEY                  10950 GERALD AVE                                                                                       GRANADA HILLS     CA   91344‐5113
SCARLETT, SAMUEL W                206 BLAINE AVE #2                                                                                      BUFFALO           NY   14208
SCARLETT, SHANNON                 12280 S.E #113 TERR                                                                                    BELLEVIEW         FL   34420
SCARLETT,ERIC W                   28 FAIRWOOD CT                                                                                         MIAMISBURG        OH   45342‐6628
SCARLETT,KERMITH                  PO BOX 23068 SC                                                                                        LANSING           MI   48909
SCARLETTE DUKES                   3953 THAXTON RD SW                                                                                     ATLANTA           GA   30331‐7980
SCARMARDO PETE                    SCARMARDO, PETE                  1893 FM 1362 N                                                        CALDWELL          TX   77836‐6597
SCARMARDO, PETE                   1893 FM 1362 N                                                                                         CALDWELL          TX   77836‐6597
SCARMUZZI, ANGELYN J              51 LAFAYETTE AVE                                                                                       NILES             OH   44446‐2427
SCARMUZZI, GERALD J               304 N BENTLEY AVE                                                                                      NILES             OH   44446‐5206
SCARMUZZI, GERALD J               2716 OAK FOREST DR                                                                                     NILES             OH   44446‐4473
SCARMUZZI, NICHOLAS G             304 N BENTLEY AVE                                                                                      NILES             OH   44446‐5206
SCARNATI, ALBERT J                411 6TH ST                                                                                             NEW CASTLE        PA   16102‐1281
SCARNECCHIA, BARBARA W            4273 GLEN ESTE WITHAMSVILLE RD   WITHAMSTILLE ROAD                                                     CINCINNATI        OH   45245‐1743
SCARNECCHIA, CARMELLA P           921 LAWRENCE AVE                                                                                       GIRARD            OH   44420‐1911
SCARNECCHIA, DEBORAH              1356 KEARNEY STREET                                                                                    NILES             OH   44446‐3432
SCARNECCHIA, DOROTHY B            WASHINGTON SQUARE                4473 KIRK RD., APT. #5                                                YOUNGSTOWN        OH   44515
SCARNECCHIA, HENRY S              55191 BROUGHTON RD                                                                                     MACOMB            MI   48042‐1823
SCARNECCHIA, JAMES C              5748 LOUISE AVE NW                                                                                     WARREN            OH   44483‐1126
SCARNECCHIA, KATHLEEN A           11405 RAPP RD                                                                                          NEW MIDDLETOWN    OH   44442‐7741
SCARNECCHIA, LEWIS R              5693 E SILO RIDGE DR                                                                                   ANN ARBOR         MI   48108‐9547
SCARNECCHIA, WILLIAM O            5731 COURVILLE ST                                                                                      DETROIT           MI   48224‐2670
SCARNICI FRANK PAUL (ESTATE OF)   LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                                          HOUSTON           TX   77069
(664892)
SCAROZZA, ANTHONY C               30 LENI LN                                                                                             CHEEKTOWAGA       NY 14225‐4420
SCARPA LUIGI E STELLA ALBA        VIA EREMO 33                                                                CORACCHIO FE 44022 ITALY
                                    09-50026-mg             Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                                Address1                        Address2                        Address3   Address4         City                  State Zip
SCARPA PAUL                         SCARPA, PAUL                    2325 GRANT BUILDING 310 GRANT                               PITTSBURGH             PA 15219
                                                                    STREET
SCARPA, PAUL                        GORBERG DAVID J & ASSOCIATES    2325 GRANT BUILDING 310 GRANT                               PITTSBURGH            PA 15219
                                                                    STREET
SCARPACE JOSEPH L (452233)          WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                             NEW YORK              NY   10038
SCARPACE, JAMES J                   33141 PALMETTO DR                                                                           CHESTERFIELD          MI   48047‐1428
SCARPACE, JOSEPH L                  WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                             NEW YORK              NY   10038
SCARPACE, WILLIAM F                 30140 MOULIN AVE                                                                            WARREN                MI   48088‐3150
SCARPACI, DAVID P                   31549 TECLA DR                                                                              WARREN                MI   48088‐2037
SCARPACI, HELEN P                   748 MEADOWBROOK AVE SE                                                                      WARREN                OH   44484‐4554
SCARPACI, JOSEPH W                  748 MEADOWBROOK AVE SE                                                                      WARREN                OH   44484‐4554
SCARPACI, JOSEPH W                  748 MEADOW BROOK S.E.                                                                       WARREN                OH   44484‐4554
SCARPACI, MARIE A                   161 TUNICFLOWER LANE                                                                        PRINCETON JCT         NJ   08550‐2432
SCARPACI, PATRICIA J                8119 ELDORA BOULEVARD                                                                       COMMERCE TWP          MI   48382‐4619
SCARPACI, SAMUEL F                  4173 ALEESA DR SE                                                                           WARREN                OH   44484‐2917
SCARPELLI, ALBERT A                 1646 SCARLETT AVE                                                                           NORTH PORT            FL   34289‐9474
SCARPELLI, ANTHONY F                6140 GREEN BANK DR                                                                          GRAND BLANC           MI   48439‐9414
SCARPELLI, AUGUST F                 96 NEWBERRY LN                                                                              HOWELL                MI   48843‐9569
SCARPELLI, CONNIE E                 6436 WOODBURNE CT                                                                           GRAND BLANC           MI   48439‐9476
SCARPELLI, DOROTHY L                1957 OLE HICKORY ROAD                                                                       AMBOY                 IL   61310
SCARPELLI, FRANK R                  11415 E MENDOZA AVE                                                                         MESA                  AZ   85209‐1446
SCARPELLI, MARGARET A               7371 LINDEN RD                                                                              SWARTZ CREEK          MI   48473‐9456
SCARPELLI, MARY                     4755 E FLORIAN CIR                                                                          MESA                  AZ   85206‐2730
SCARPELLI, RICHARD M                3273 WHITFIELD DR                                                                           WATERFORD             MI   48329‐2778
SCARPENA, PATRICIA I                28 MALDINER AVE                                                                             TONAWANDA             NY   14150‐4022
SCARPETTI, CARMELLA D               464 CANDIA RD                                                                               MANCHESTER            NH   03109‐4705
SCARPIELLO KIMBERLY TAX COLLECTOR   188 LINCOLN HWY STE 108                                                                     FAIRLESS HILLS        PA   19030‐1017
SCARPINATO VINCENT (ESTATE OF)      SHRADER JUSTIN                  16903 RED OAK DR STE 220                                    HOUSTON               TX   77090‐3916
(493494)
SCARPINATO, VINCENT                 SHRADER JUSTIN                  16903 RED OAK DR STE 220                                    HOUSTON               TX   77090‐3916
SCARPINATTO, JOSEPH H               63 HUNTING CREEK RD                                                                         SAINT PETERS          MO   63376‐4211
SCARPINO, FRANK C                   165 CIMMARON BAY CIR                                                                        SUNRISE BEACH         MO   65079‐5538
SCARPITTI, PAUL S                   4912 MONTCLAIR DR                                                                           CUYAHOGA FALLS        OH   44224‐1044
SCARPITTO, JOSEPH R                 3320 REVERE RD                                                                              SOUTH PLAINFIELD      NJ   07080‐5121
SCARPULLA SR, RICHARD F             50 DAVY DR                                                                                  ROCHESTER             NY   14624‐1349
SCARPULLA, CARL D                   970 CENTER PLACE DR APT E                                                                   ROCHESTER             NY   14615‐4018
SCARPULLA, COSTANTINO               3433 YORKWAY                                                                                BALTIMORE             MD   21222‐6050
SCARPULLA, MARGARET E               5528 EDWIN CT                                                                               WHITE MARSH           MD   21162‐1426
SCARPULLA, PATRICK C                497 PRINCETON WAY                                                                           FAIRFIELD             CA   94533‐1343
SCARPULLA, RICHARD F                493 DENISE RD                                                                               ROCHESTER             NY   14616‐2711
SCARRITT, J G                       2 DOVE LN                                                                                   CRITTENDEN            KY   41030‐7303
SCARRITT, JOANNE C                  986 SE ALBATROSS AVE                                                                        PORT SAINT LUCIE      FL   34983
SCARSELLA JOHN                      14 GRANDWOOD CIR                                                                            DURHAM                NC   27712
SCARSELLA, GABRIEL                  16973 RYAN RD                                                                               LIVONIA               MI   48154‐6232
SCARSELLA, JR.,LEWIS H              66 DELLA DRIVE                                                                              BUFFALO               NY   14218‐3205
SCARSELLA‐CONNELL, ROSEMARY         21 BOYDEN PKWY                                                                              MAPLEWOOD             NJ   07040‐2410
SCARSELLA‐CONNELL, ROSEMARY         21 BOYDEN PARKWAY                                                                           MAPLEWOOD             NJ   07040‐2410
SCARSI, JOSEPH J                    1348 CAROLINE CIR                                                                           FRANKLIN              TN   37064‐6763
SCARSI, RUTH N                      5601 RAHN DE VUE PL                                                                         WASHINGTON TOWNSHIP   OH   45459‐1464
SCARSON, DAVID R                    180 LIDA LN                                                                                 ROCHESTER             NY   14616‐4133
SCARSON, VIRGINIA                   4 JANICE DR                                                                                 ROCHESTER             NY   14624‐4647
SCARTH, MICHAEL E                   4041 GREATUS DR                                                                             HAMILTON              OH   45011‐8105
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Name                     Address1                        Address2                      Address3   Address4               City               State Zip
SCARTH, MICHAEL EUGENE   4041 GREATUS DR                                                                                 HAMILTON            OH 45011‐8105
SCARTOCCI, GARY          110 CROSSTIMBER WAY                                                                             FREDERICK           MD 21702‐3080
SCARTOZZI, FRANK         2668 COBDEN DR                                                                                  STERLING HTS        MI 48310‐1723
SCARUPA, DANIEL M        800 NIAGARA AVE.                APT 1208                                                        NIAGARA FALLS       NY 14035
SCARUPA, DANIEL M        800 NIAGARA AVE APT 1208                                                                        NIAGARA FALLS       NY 14305‐2541
SCARUPA, GARY G          7821 EAST BRITTON DRIVE                                                                         NIAGARA FALLS       NY 14304‐1001
SCARVER, DINESHA L       57 ALTRURIA ST                                                                                  BUFFALO             NY 14220‐1801
SCAT ENTERPRISES INC     1400 KINGSDALE AVE                                                                              REDONDO BEACH       CA 90278‐3927
SCAT ENTERPRISES INC     ROB PYYKKONEN JR.               1400 KINGSDALE AVE                                              SHREVEPORT          LA 71129
SCATA ANTHONY            100 JACOBS TER                                                                                  MIDDLETOWN          CT 06457‐4129
SCATA, JOSEPH S          517 MAIN ST                     C/O ROSE KEITHAN                                                EAST BERLIN         CT 06023‐1139
SCATE TECHNOLOGIES       SCATE TECHNOLOGIES INC          1668 S TELEGRAPH RD STE 200                                     BLOOMFIELD HILLS    MI 48302‐0016
SCATE TECHNOLOGIES INC   40 ENGELWOOD DR STE B                                                                           ORION               MI 48359‐2419
SCATE TECHNOLOGIES INC   FRASCO CAPONIGRO WINEMAN &      1668 S TELEGRAPH RD STE 200                                     BLOOMFIELD HILLS    MI 48302‐0016
                         SCHEIBLE
SCATENA, CHERYL D        647 8TH ST                                                                                      OAKMONT            PA   15139‐1324
SCATENA, PAUL A          22851 SANTA CLARA ST                                                                            HAYWARD            CA   94541‐7432
SCATES INC               382 AIRWAYS BLVD                                                                                JACKSON            TN   38301‐5740
SCATES JR, HARRY M       1919 N TURNER ST                                                                                MUNCIE             IN   47303‐2450
SCATES, ARCHIE           8 JOHNSON CHAPEL RD                                                                             TRENTON            TN   38382‐9718
SCATES, ARCHIE P         413 ELMSHAVEN DR                                                                                LANSING            MI   48917‐3514
SCATES, ARCHIE PHILLIP   413 ELMSHAVEN DR                                                                                LANSING            MI   48917‐3514
SCATES, DEBORAH I        PO BOX 29103                                                                                    SHREVEPORT         LA   71149‐9103
SCATES, HARLYS E         135 RICKMAN DR                                                                                  SPRINGVILLE        TN   38256‐4865
SCATES, JAMES E          2691 BECK ST SE                                                                                 WARREN             OH   44484‐5023
SCATES, JERRY W          11877 RITCHIE AVE NE                                                                            CEDAR SPRINGS      MI   49319‐9400
SCATES, JERRYE A         1507 PACKARD RD                                                                                 LANSING            MI   48917‐4362
SCATES, JERRYE A         1507 PACKARD AVE                                                                                LANSING            MI   48917‐4362
SCATES, KRISTIN          MCELROY B THOMAS                3333 LEE PKWY STE 600                                           DALLAS             TX   75219‐5117
SCATES, MELISSA          MCELROY B THOMAS                4809 COLE AVE STE 212                                           DALLAS             TX   75205‐5598
SCATKO, GEORGE A         2101 SUNSET POINT RD APT 1104                                                                   CLEARWATER         FL   33765‐1265
SCATURO, GIROLAMO J      515 ALBERMARLE ST                                                                               RAHWAY             NJ   07065‐2211
SCATURRO, MARTINO        6 ACKEN DRIVE                                                                                   CLARK              NJ   07066‐2944
SCATURRO, PAOLO          487 JEFFERSON AVE                                                                               RAHWAY             NJ   07065‐2501
SCAVARDA, DAWN RENEE     1188 N COLLEGE RD                                                                               MASON              MI   48854‐9321
SCAVARDA, IRENE C        15921 PROMENADE AVE                                                                             ALLEN PARK         MI   48101‐3300
SCAVIO, DIANE M          6790 YORKTOWN PL                                                                                TEMPERANCE         MI   48182‐1379
SCAVIO, DIANE MARIE      6790 YORKTOWN PL                                                                                TEMPERANCE         MI   48182‐1379
SCAVIO, DOUGLAS T        6790 YORKTOWN PL                                                                                TEMPERANCE         MI   48182‐1379
SCAVO, ANGELO C          133 O J EDMONDS RD                                                                              ALVATON            KY   42122‐9697
SCAVO, ANTONIO           8200 COLONIAL DR                                                                                NIAGARA FALLS      NY   14304‐1058
SCAVO, HELEN             1682 BEVERLY ST                                                                                 SYLVAN LAKE        MI   48320‐1500
SCAVO, HELEN             250 WINKLEMAN RD                                                                                HARRISBURG         IL   62946
SCAVO, PATRICIA R        5500 CROOKED LAKE RD                                                                            HOWELL             MI   48843‐8803
SCAVONE, JAMES G         4012 ROGER AVE                                                                                  ALLEN PARK         MI   48101‐3526
SCAZAFAVE, NICHOLAS L    414 BENEDICT AVE APT 2H                                                                         TARRYTOWN          NY   10591‐4935
SCCA PRO RACING          PO BOX 19400                                                                                    TOPEKA             KS   66619‐0400
SCDS‐BRAMPTON RENOLD     188 BLVD LAFAYETTE              62100 CALAIS                             CALAIS CEDEX F‐62100
                                                                                                  FRANCE
SCEARCE LASER CORP       23930 OAKMONT PL                                                                                WEST HILLS         CA 91304‐2128
SCEARCE LASER CORP       16580 INDUSTRIAL ST                                                                             ROSEVILLE          MI 48066‐1944
SCEARCE, GARY W          750 ABE CT.                     APT G                                                           CARLISLE           OH 45005‐5005
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Name                                   Address1                              Address2                       Address3   Address4              City               State Zip
SCEARCE, GARY W                        APT G                                 750 ABE COURT                                                   FRANKLIN            OH 45005‐3421
SCEARCE, IRENE M                       5137 MAYS AVE                                                                                         MORAINE             OH 45439‐2932
SCEARCE, IRENE M                       5137 MAYS AVENUE                                                                                      DAYTON              OH 45439‐2932
SCEARCE, ROBERT W                      8422 REINHARDT LN                                                                                     LEAWOOD             KS 66206‐1317
SCEARCE, SHARON K                      10081 CANADA RD                                                                                       BIRCH RUN           MI 48415
SCEGO, JOAN F                          UNIT 10 ARBORGATE DR                                                                                  ST PETERS           MO 63376
SCEHOVIC, COLLETTE M                   106 E JEFFERSON ST TRLR 110                                                                           SHOREWOOD            IL 60404‐7919
SCEHOVIC, COLLETTE M                   PO BOX 626                                                                                            NEW LENOX            IL 60451
SCEHOVIC, JAMES D                      5636 S MOODY AVE                                                                                      CHICAGO              IL 60638‐3546
SCEHOVIC, PAUL J                       PO BOX 626                                                                                            NEW LENOX            IL 60451
SCELLESTINE CARR                       140 LEE MAGEE RD                                                                                      TYLERTOWN           MS 39667‐6035
SCELZI, ROCCO J                        105 WESTWOOD AVE                                                                                      DEER PARK           NY 11729‐2223
SCELZO, DONALD M                       2877 PARADISE RD UNIT 605                                                                             LAS VEGAS           NV 89109‐5242
SCENA BELLEW                           174 EVERMAN ST APT 203                FRIENDSHIP HOUSE                                                GRAYSON             KY 41143‐1538
SCENIC AIRLINES                        5032 PALO VERDE RD                                                                                    LAS VEGAS           NV 89119‐1320
SCENIC CITY AUTO REPAIR                2828 ROSSVILLE BLVD                                                                                   CHATTANOOGA         TN 37407‐1347
SCENIC ELECTRIC ‐ 607944 ALBERTA LTD   3205 114 AVE SE                                                                 CALGARY AB T2Z 3X2
                                                                                                                       CANADA
SCENNA, ADAM K                         3217 WOODLAND AVE                                                                                     ROYAL OAK          MI    48073‐2359
SCENSNY, MARILYN                       6416 CLOVERBROOK DR                                                                                   BRENTWOOD          TN    37027‐4722
SCEPANSKI, LOUIS O                     1559 LAKEVIEW RD                                                                                      WEST BEND          WI    53090‐9099
SCEPKA, AARON M                        1400 ARMY RD                                                                                          LEONARD            MI    48367‐2806
SCEPTER INC                            SENECA FALLS                          11 LAMB RD                                                      SENECA FALLS       NY    13148‐8422
SCEPTER INC                            BICKNELL OPERATIONS                   6467 N SCEPTER RD                                               BICKNELL           IN    47512‐8228
SCERBA TRICIA                          603 N CENTER ST                                                                                       CLINTON            IL    61727‐1407
SCERBA, JR.,ANTHONY M                  213 KEYSBURG RD                                                                                       GLENCOE            AL    35905‐1823
SCERBA, LEO A                          8439 SLAGLE RD                                                                                        WINDHAM            OH    44288‐9730
SCERBA, RHONDA J                       213 KEYSBURG RD                                                                                       GLENCOE            AL    35905‐1823
SCERBA, RONALD E                       8393 FREEDOM ROAD                                                                                     WINDHAM            OH    44288‐9506
SCERBA, RONALD E                       8393 FREEDOM RD                                                                                       WINDHAM            OH    44288‐9506
SCERBO, CAROLYN N                      1510 TAFT AVE                                                                                         NILES              OH    44446‐3832
SCERBO, CAROLYN N                      1510 TAFT ST                                                                                          NILES              OH    44446‐3832
SCERBO, LOUIS                          442 CORNELL AVE                                                                                       RAHWAY             NJ    07065‐2316
SCERRI, EVELYN                         27360 KINGSWOOD DR                                                                                    DEARBORN HEIGHTS   MI    48127
SCERRI, ISABEL                         PO BOX 347326                                                                                         SAN FRANCISCO      CA    94134‐7326
SCERRI, MONICA                         7700 DONNA ST                                                                                         WESTLAND           MI    48185‐2497
SCEUSA, DENISE M                       3254 SENECA ST APT 8                                                                                  WEST SENECA        NY    14224‐2776
SCEUSA, GERALD P                       1111 N LAMB BLVD SPC 265                                                                              LAS VEGAS          NV    89110‐1365
SCEUSA, JOSEPH M                       78 PORTLAND ST APT 1                                                                                  BUFFALO            NY    14220‐1620
SCEUSA, JOSEPH MICHAEL                 399 SOUTHWOOD DR                                                                                      BUFFALO            NY    14223
SCG CAPITAL                            74 W PARK PL                                                                                          STAMFORD           CT    06901‐2209
SCG CAPITAL                            LGARGANO@SCGLEASE.COM                 74 W PARK PL                                                    STAMFORD           CT    06901‐2209
SCG CAPITAL CORP                       74 W PARK PL                                                                                          STAMFORD           CT    06901‐2209
SCG CAPITAL CORP                       ATTN: CORPORATE OFFICER/AUTHORIZED 74 W PARK PL                                                       STAMFORD           CT    06901‐2209
                                       AGENT
SCG CAPITAL CORPORATION                ATTN: CORPORATE OFFICER/AUTHORIZED 74 W PARK PL                                                       STAMFORD            CT   06901‐2209
                                       AGENT
SCG CAPITAL CORPORATION                74 WEST PARK PLACE                                                                                    STAMFORD            CT   06901
SCG CAPITAL CORPORATION                ATTN CYNTHIA DWELLE ESQ               74 WEST PARK PLACE                                              STAMFORD            CT   06901
SCG CAPITAL LEASING LLC                ATTN LINDA GARGANO                    74 WEST PARK PLACE                                              STAMFORD            CT   06902
SCHAAB HAROLD A (477831)               GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                    PITTSBURGH          PA   15219
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Name                                     Address1                              Address2                        Address3   Address4         City               State Zip
SCHAAB, HAROLD A                         GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                PITTSBURGH          PA 15219

SCHAACK JR, JOHN H                       16300 WELLINGTON AVE                                                                              ROSEVILLE          MI   48066‐2308
SCHAACK, DOROTHY A                       3103 CREEKWOOD CIR                                                                                BAY CITY           MI   48706‐5627
SCHAACK, ROBERT J                        PO BOX 310                                                                                        KIMBERLING CITY    MO   65686‐0310
SCHAAD JEREMY G                          SCHAAD, JEREMY G                      24099 STONEHEDGE DR                                         WESTLAKE           OH   44145‐4864
SCHAAD'S SERVICE                         1380 W SYLVANIA AVE                                                                               TOLEDO             OH   43612‐1674
SCHAAD, JEREMY G                         CHERNOSKY LAW OFFICES                 21161 STRAFORD AVE                                          ROCKY RIVER        OH   44116‐1250
SCHAAD, JOSEPH                           6998 PARK SQUARE DR.                                                                              AVON               IN   46123
SCHAADT, CHAD A                          422 STRATTON WAY                                                                                  DECATUR            IN   46733‐1722
SCHAADT, SUSAN M                         1970 FAYETTEVILLE HWY LOT 31                                                                      BELFAST            TN   37019‐2131
SCHAAF BRIAN                             33430 SUMERTA CT                                                                                  EAST TROY          WI   53120‐9632
SCHAAF BRUCE (492150)                    BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH   44067
                                                                               PROFESSIONAL BLDG
SCHAAF JOHN W (630861)                   ANGELOS PETER G LAW OFFICES OF        100 N CHARLES STREET , ONE                                  BALTIMORE          MD 21202
                                                                               CHARLES CENTER 22ND FLOOR
SCHAAF SR, ALBERT L                      7887 COOK‐JONES RD.                                                                               WAYNESVILLE        OH   45068‐5068
SCHAAF SR, ALBERT L                      7887 COOK JONES RD                                                                                WAYNESVILLE        OH   45068‐9729
SCHAAF WILLIAM                           C/O SAVINS D'AMICO & KANE             707 GRANT ST STE 3626                                       PITTSBURGH         PA   15219‐1911
SCHAAF WILLIAM JR (ESTATE OF) (507819)   SAVINS, D'AMICO & KANE                707 GRANT ST STE 3626                                       PITTSBURGH         PA   15219‐1911

SCHAAF, BONITA M                         1108 N. PINE ST.                                                                                  JANESVILLE         WI   53548‐1545
SCHAAF, BONITA M                         1108 N PINE ST                                                                                    JANESVILLE         WI   53548‐1545
SCHAAF, BRIAN E                          5049 MOHR VALLEY LN                                                                               BLOOMFIELD HILLS   MI   48304
SCHAAF, BRUCE                            BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD         OH   44067
                                                                               PROFESSIONAL BLDG
SCHAAF, CARL C                           8351 WINEGAR RD                                                                                   PERRY              MI   48872‐9744
SCHAAF, CHAD W                           6130 BELLINGHAM CT                                                                                BURTON             MI   48519‐1631
SCHAAF, CHAD WILLIAM                     6130 BELLINGHAM CT                                                                                BURTON             MI   48519‐1631
SCHAAF, CHRIS A                          8667 DEER HOLLOW DR                                                                               HUBER HEIGHTS      OH   45424‐1258
SCHAAF, CHRIST E                         5128 N GRANDVIEW DR                                                                               MILTON             WI   53563‐8849
SCHAAF, DAVID M                          1720 W LUTHER RD                                                                                  JANESVILLE         WI   53545‐1912
SCHAAF, ELIZABETH M                      12815 74TH AVE N                                                                                  SEMINOLE           FL   33776‐4002
SCHAAF, EMILY S                          3228 N GENESEE RD                                                                                 FLINT              MI   48506‐2175
SCHAAF, GARY W                           4711 BOULDER HWY                      SPACE E9                                                    LAS VEGAS          NV   89121
SCHAAF, GENE R                           31700 OSAWATOMIE RD                                                                               PAOLA              KS   66071‐4935
SCHAAF, GENEVA G                         328 W GRANT ST                                                                                    GREENTOWN          IN   46936‐1105
SCHAAF, JOANNE C                         6405 NE 170TH ST                                                                                  SMITHVILLE         MO   64089‐8173
SCHAAF, JOHN A                           3043 E FRANCES RD                                                                                 CLIO               MI   48420‐9716
SCHAAF, JOHN W                           ANGELOS PETER G LAW OFFICES OF        100 N CHARLES STREET, ONE                                   BALTIMORE          MD   21202
                                                                               CHARLES CENTER 22ND FLOOR
SCHAAF, LANA J                           7887 COOK JONES RD.                                                                               WAYNESVILLE        OH   45068‐5068
SCHAAF, LARRY D                          PO BOX 543                                                                                        DURAND             MI   48429‐0543
SCHAAF, LARRY DALE                       PO BOX 543                                                                                        DURAND             MI   48429‐0543
SCHAAF, MARLENE S                        7785 REDBANK LN                                                                                   HUBER HEIGHTS      OH   45424‐2150
SCHAAF, MAUREEN P                        5049 MOHR VALLEY LN                                                                               BLOOMFIELD HILLS   MI   48304‐3752
SCHAAF, NED E                            652 NORTH SPRING STREET                                                                           WABASH             IN   46992‐1823
SCHAAF, NED E                            426 OAK ST                                                                                        HUNTINGTON         IN   46750‐2015
SCHAAF, RICHARD J                        325 BLOSSOM AVE                                                                                   CADILLAC           MI   49601‐9041
SCHAAF, RICHARD P                        4643 LONGFELLOW AVE.                                                                              DAYTON             OH   45424‐6029
SCHAAF, RICHARD R                        6405 NE 170TH ST                                                                                  SMITHVILLE         MO   64089‐8173
SCHAAF, RONALD K                         PO BOX 955                                                                                        ADELANTO           CA   92301‐0955
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Name                     Address1                             Address2                     Address3   Address4                 City            State Zip
SCHAAF, STEVEN           1296 FLAMINGO DR                                                                                      MOUNT MORRIS     MI 48458‐2859
SCHAAF, THERESE A        4711 BOULDER HWY                     E9                                                               LAS VEGAS        NV 89121‐3023
SCHAAF,CHRIS A           8667 DEER HOLLOW DR                                                                                   HUBER HEIGHTS    OH 45424‐1258
SCHAAFSMA FREERK J       14690 MAPLETON LN                                                                                     TRAVERSE CITY    MI 49686‐7913
SCHAAFSMA, FREERK J      14690 MAPLETON LN                                                                                     TRAVERSE CITY    MI 49686‐7913
SCHAAFSMA, S. RITCH      108 MARENTETTE DR                                                            BELLE RIVER ONTARIO
                                                                                                      CANADA N0R‐1A0
SCHAAL DIANE             SCHAAL, DIANE L                      6390 W CHEYENNE AVE STE C                                        LAS VEGAS       NV 89108‐6009
SCHAAL YOSEF             DORFSTRASSE 29                                                               D 54649 OBERPIERSCHEID
                                                                                                      GERMANY
SCHAAL, DIANE L          ESTEBAN TRINIDAD LAW OFFICE OF M LANI 6390 W CHEYENNE AVE STE C                                       LAS VEGAS       NV 89108‐6009

SCHAAL, ELTON E          2849 WILSON CAMBRIA RD                                                                                WILSON          NY 14172‐9604
SCHAAL, HARRY R          5111 TREEHILL RD                                                                                      GRAND BLANC     MI 48439‐2053
SCHAAL, JAMES R          4321 DANBERRY DR                                                                                      NORTH OLMSTED   OH 44070‐2834
SCHAAL, RANDY
SCHAAL, THOMAS J         525 AINSWORTH CIR                                                                                     THE VILLAGES    FL   32162‐5060
SCHAALE, JAMES H         13319 N BRAY RD                                                                                       CLIO            MI   48420‐9151
SCHAALE, JAMES HENRY     13319 N BRAY RD                                                                                       CLIO            MI   48420‐9151
SCHAALE, JOHN H          313 N ADDISON ST                                                                                      ALPENA          MI   49707‐3221
SCHAALE, PENNY L         13319 N BRAY RD                                                                                       CLIO            MI   48420‐9151
SCHAALE, PENNY LANFORD   13319 N BRAY RD                                                                                       CLIO            MI   48420‐9151
SCHAAP, MICHAEL J        7830 RUNNING BROOK LN LW                                                                              CICERO          NY   13039
SCHAAP, WANDA ALICE      5436 EAST ML ROAD                                                                                     KALAMAZOO       MI   49048‐9551
SCHAAP, WANDA ALICE      5436 E ML AVE                                                                                         KALAMAZOO       MI   49048‐9551
SCHAAPVELD, KEVIN J      1904 W ABERDEEN DR                                                                                    JANESVILLE      WI   53545‐8802
SCHAAPVELD, LAURIE L     1904 W ABERDEEN DR                                                                                    JANESVILLE      WI   53545‐8802
SCHAAPVELD, MARK C       11502 N BRYANT RD                                                                                     FORT ATKINSON   WI   53538‐9214
SCHAAPVELD, SHERRILL L   10152 W INDIANTOWN ROAD # 203                                                                         JUPITER         FL   33478
SCHAAR JOHN EARL         501 VELMA AVE                                                                                         OWOSSO          MI   48867‐9491
SCHAAR, ALOIS W          1875 SPRUCE CREEK BLVD                                                                                PORT ORANGE     FL   32128‐6742
SCHAAR, BERYL M          6976 EASTON RD                                                                                        NEW LOTHROP     MI   48460‐9761
SCHAAR, DONALD F         5199 KINGS WAY                                                                                        GLADWIN         MI   48624‐8221
SCHAAR, EDWARD J         6060 E ATHERTON RD                                                                                    BURTON          MI   48519‐1602
SCHAAR, JOAN N           5199 KINGS WAY                                                                                        GLADWIN         MI   48624‐8221
SCHAAR, JOHN E           501 VELMA AVE                                                                                         OWOSSO          MI   48867‐9491
SCHAAR, JOHN EARL        501 VELMA AVE                                                                                         OWOSSO          MI   48867‐9491
SCHAAR, JOHN T           216 LYNN ST                                                                                           FLUSHING        MI   48433‐2632
SCHAAR, JOHN THEODORE    216 LYNN ST                                                                                           FLUSHING        MI   48433‐2632
SCHAAR, RANDALL H        RR 1                                                                                                  W MANCHESTER    OH   45382
SCHAAR, RONALD H         8359 CAPPY LN                                                                                         SWARTZ CREEK    MI   48473‐1201
SCHAAR, WES L            681 NICHOLS RD                                                                                        AUBURN HILLS    MI   48326‐3825
SCHAARD, BEVERLY A       71 HILLCROFT WAY                                                                                      NEWTON          PA   18940‐2321
SCHABBEL, KIRK L         1812 GEORGETOWN PKWY                                                                                  FENTON          MI   48430‐3232
SCHABEL, BETTY J         1722 BRENNER ST                                                                                       SAGINAW         MI   48602‐3619
SCHABEL, DANIEL R        381 W MUNGER RD                                                                                       MUNGER          MI   48747‐9791
SCHABEL, DANNY L         1359 WINFIELD DR                                                                                      SWARTZ CREEK    MI   48473‐9709
SCHABEL, DAVID ALLAN     5330 MOCERI LN                                                                                        GRAND BLANC     MI   48439‐4368
SCHABEL, DAVID B         1601 S KNIGHT RD                                                                                      MUNGER          MI   48747‐9703
SCHABEL, GLADYS K        10 SOVEY COURT                                                                                        ESSEXVILLE      MI   48732‐1633
SCHABEL, GLENN J         2057 MILES RD                                                                                         LAPEER          MI   48446‐8080
SCHABEL, GLENN JOSEPH    2057 MILES RD                                                                                         LAPEER          MI   48446‐8080
                                09-50026-mg               Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                            Address1                          Address2            Address3         Address4              City               State Zip
SCHABEL, JAMES A                211 MILL SPRINGS                                                                             COATESVILLE         IN 46121‐8948
SCHABEL, JAMES A                211 MILL SPGS                                                                                COATESVILLE         IN 46121‐8948
SCHABEL, JOAN MAXINE            5330 MOCERI LN                                                                               GRAND BLANC         MI 48439‐4368
SCHABEL, MICHAEL J              853 WOODLAWN DR                                                                              COLUMBIAVILLE       MI 48421‐9737
SCHABEL, RICHARD J              1534 PIONEER DR                                                                              ALGER               MI 48610
SCHABEL, ROBERT P               1104 GWEN DR                                                                                 LAPEER              MI 48446‐3034
SCHABEL, RONALD                 125 BEVIC DR                                                                                 LAPEER              MI 48446‐3287
SCHABEL, THEODORE J             6259 QUAIL RDG W                                                                             PLAINFIELD          IN 46168‐9339
SCHABEL, THOMAS L               204 PATRIOTS LNDG                                                                            FILLMORE            IN 46128‐9477
SCHABEL, TIMOTHY J              1103 CHRISTINE DR                                                                            LAPEER              MI 48446‐4203
SCHABEL, WILLIAM R              3700 S. WESTPORT AVE              UNIT 2623                                                  SIOUX FALLS         SD 57106
SCHABEL/CLVLND                  24700 CENTER RIDGE ROAD                                                                      CLEVELAND           OH 44145
SCHABEN, JOYCE M                4030 HAZELCREST CIR                                                                          LAS VEGAS           NV 89121‐6349
SCHABERG WALTER A (ESTATE OF)   SIEBEN POLK LAVERDIERE & DUSICH   999 WESTVIEW DR                                            HASTINGS            MN 55033‐2432
(516901)
SCHABERG, CAROLYN N             901 NE DEVON DR                                                                              LEES SUMMIT        MO   64064‐2148
SCHABERG, DWIGHT G              202 WYNDOTTE CT                                                                              LEXINGTON          SC   29072‐6970
SCHABERG, JOANNE C              16770 PRINTEMP DR                                                                            EAST LANSING       MI   48823‐9796
SCHABERG, KEVIN M               1057 ROXBURGH AVE                                                                            EAST LANSING       MI   48823‐2632
SCHABERG, PAUL A                2895 HAGADORN RD                                                                             MASON              MI   48854‐9457
SCHABERG, PAUL ANDREW           2895 HAGADORN RD                                                                             MASON              MI   48854‐9457
SCHABERG, WALTER A              SIEBEN POLK LAVERDIERE & DUSICH   999 WESTVIEW DR                                            HASTINGS           MN   55033‐2432
SCHABERL, HERMAN R              PO BOX 3301                                                                                  PAWLEYS ISLAND     SC   29585‐3301
SCHABOT, SCOTT D                12733 FOXPAW TRL                                                                             KELLER             TX   76248‐1893
SCHABOWSKI JR, GEORGE V         227 CLARK ST                                                                                 WESTVILLE          IL   61883
SCHABOWSKI JR, GEORGE V         9505 W 700 N                                                                                 SHARPSVILLE        IN   46068‐9391
SCHABOWSKI, GEORGE V            216 W WILLIAMS ST                                                                            WESTVILLE          IL   61883‐1444
SCHABS AUTOMOTIVE               3601 SOUTH SERVICE ROAD                                                REGINA SK S4P 3A8
                                                                                                       CANADA
SCHABUS GUNTER O ANGELA         BRUDERHOF 12 A                    A 6833 KLAUS                         AUSTRIA
SCHACHER, DONALD P              12101 INNSBRUCK PL                                                                           CLIO               MI   48420‐2152
SCHACHER, RONALD D              6007 RICH ST                                                                                 DAVISON            MI   48423‐8906
SCHACHERMEYER, BRIAN J          13527 MONTEGO DR                                                                             STERLING HEIGHTS   MI   48312‐3358
SCHACHERN, TRACY A              21193 CENTERFARM LN                                                                          NORTHVILLE         MI   48167‐9031
SCHACHINGER, HELEN              9832 N CALLE LOMA LINDA                                                                      TUCSON             AZ   85737‐9586
SCHACHINGER, RICHARD J          4372 LETART AVE                                                                              WATERFORD          MI   48329‐1937
SCHACHINGER, VERNEIL L          3299 GOLFHILL DR                                                                             WATERFORD          MI   48329‐4520
SCHACHT, DAVID K                226 S GRACE AVE                                                                              ELMHURST           IL   60126‐3238
SCHACHT, DONALD W               412 HILDALGO DR                                                                              LADY LAKE          FL   32159‐9231
SCHACHT, ROBERT F               18468 DALBY                                                                                  REDFORD            MI   48240‐1732
SCHACHT, TIMOTHY D              684 S 250 W                                                                                  SHELBYVILLE        IN   46176‐8878
SCHACHTE, JAMES R               5331 RUSKIN PL W                                                                             INDIANAPOLIS       IN   46224‐1443
SCHACHTER, SAMUEL               8815 W GOLF RD APT 3D                                                                        NILES              IL   60714‐5737
SCHACHTSCHNEIDER, TERRY S       551 COUNTY ROAD X                                                                            EDGERTON           WI   53534‐9544
SCHACK, EARL E                  14320 RIVERFRONT DR                                                                          FLORISSANT         MO   63034‐3034
SCHACK, MARGARET L              900 S 13TH ST                                                                                HERRIN             IL   62948‐4118
SCHACK, MARSHA J                4069 E CRONK RD                                                                              OWOSSO             MI   48867‐9619
SCHACK, MATTHEW C               24985 GLEN ORCHARD DR                                                                        FARMINGTON HILLS   MI   48336‐1733
SCHACK, SEYMOUR R               1889 CRESCENT LAKE ROAD                                                                      WATERFORD          MI   48327‐1313
SCHACK, THEODORE W              2109 MILL ST                                                                                 LINCOLN PARK       MI   48146‐2290
SCHACKOR, ALEXANDER C           1757 BRISTOL DR                                                                              MILFORD            MI   48380‐2032
SCHACKOR, LAURA J               1751 BRISTOL DR                                                                              MILFORD            MI   48380
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Name                               Address1                          Address2                      Address3   Address4         City               State Zip
SCHACKOW, AUGUST H                 1776 MAUMEE DR                                                                              DEFIANCE            OH 43512‐2548
SCHACKOW, GARY A                   11959 NEWTON RD                                                                             BOWLING GREEN       OH 43402‐9110
SCHACKOW, PHILLIP L                21219 KAMMEYER RD                                                                           DEFIANCE            OH 43512‐9630
SCHAD BOILER SETTING COMPANY       15240 CASTLETON ST                                                                          DETROIT             MI 48227‐2015
SCHAD BOILER SETTING COMPANY I     15240 CASTLETON ST                                                                          DETROIT             MI 48227‐2015
SCHAD BOILER SETTING COMPANY INC   15240 CASTLETON ST                                                                          DETROIT             MI 48227‐2015
SCHAD CAROL                        7759 WAYNE AVE                                                                              UPPER DARBY         PA 19082‐1909
SCHAD JR, JACOB                    1157 COUNTY ROAD 1356                                                                       ASHLAND             OH 44805‐9276
SCHAD JR, JAMES A                  6088 WILLARD RD                                                                             MILLINGTON          MI 48746‐9206
SCHAD KEVIN                        2590 LEROY LANE                                                                             W BLOOMFIELD        MI 48324‐2234
SCHAD RONALD G (360219)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                     STREET, SUITE 600
SCHAD, BETTY J                     5160 BUSCH RD                                                                               BIRCH RUN          MI   48415‐9009
SCHAD, CARTER R                    124 WILSIE DR                                                                               CARO               MI   48723‐9242
SCHAD, CATHERINE R                 14490 E COUNTY HOUSE RD                                                                     ALBION             NY   14411‐9503
SCHAD, DALE R                      2090 VANDECARR RD                                                                           OWOSSO             MI   48867‐9756
SCHAD, DALE RICHARD                2090 VANDECARR RD                                                                           OWOSSO             MI   48867‐9756
SCHAD, DANIEL R                    1621 KING ST                                                                                SAGINAW            MI   48602
SCHAD, DONALD                      4466 THORNAPPLE CIR                                                                         BURTON             MI   48509‐1237
SCHAD, DORIS E                     1107 HIRAM ST                                                                               OWOSSO             MI   48867‐4211
SCHAD, FRANCIS C                   1332 HANOVER ST                                                                             OWOSSO             MI   48867‐4911
SCHAD, GEORGANN R                  1157 COUNTY ROAD 1356                                                                       ASHLAND            OH   44805‐9276
SCHAD, JAMES A                     7024 W LAKE ST                                                                              LAKE CITY          MI   49651‐8795
SCHAD, RONALD G                    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                     STREET, SUITE 600
SCHAD, TERRY G                     4361 BAY BEACH LN APT 221                                                                   FORT MYERS BEACH   FL 33931
SCHAD, THEODORE J                  5705 RICHARDS RD                                                                            MARLETTE           MI 48453‐9701
SCHADE WILLIAM                     7 POINTE VIEW CIR                                                                           MEDFORD            NJ 08055‐8471
SCHADE, ANDREW                     ADDRESS NOT IN FILE
SCHADE, ARTHUR N                   127 SHAKER RD LOT 27                                                                        GRAY               ME   04039‐9709
SCHADE, CHARLES W                  15641 IYOPAWA ISLAND RD                                                                     COLDWATER          MI   49036‐8762
SCHADE, EDWARD A                   1883 HAVERHILL DR                                                                           ROCHESTER HILLS    MI   48306‐3239
SCHADE, HOWARD R                   17027 W 130TH ST                                                                            NORTH ROYALTON     OH   44133‐5446
SCHADE, JOHN C                     18175 PARKE LN                                                                              GROSSE ILE         MI   48138‐1039
SCHADE, KATHERINE M                381 FRONT ST APT C9                                                                         BEREA              OH   44017
SCHADE, LINDA                      186 NORTH 8 MILE RD.                                                                        MIDLAND            MI   48640
SCHADE, RICHARD A                  5583 STONEY CREEK DR 27                                                                     BAY CITY           MI   48706
SCHADE, ROBERT L                   3345 DELEVAN DR                                                                             SAGINAW            MI   48603‐1708
SCHADE, TIMOTHY G                  PO BOX 523                                                                                  HASLETT            MI   48840‐0523
SCHADEGG, ELSIE                    609 N 17TH ST                                                                               BELLEVILLE         IL   62226
SCHADEIN MECHANICAL                PO BOX 19587                                                                                LOUISVILLE         KY   40259‐0587
SCHADEK, KATHLEEN E                241 WESTGATE DR                                                                             MANSFIELD          OH   44906‐2940
SCHADEK, PAUL L                    PO BOX 147                                                                                  ONTARIO            OH   44862‐0147
SCHADEL, ALBERT L                  6716 POTTERY RD                                                                             WARNERS            NY   13164‐9737
SCHADEL, HERBERT S                 7900 WALNUT ST UNIT 6                                                                       BOARDMAN           OH   44512‐7733
SCHADEL, HILDE                     7900 WALNUT ST., UNIT 6                                                                     YOUNGTOWN          OH   44512
SCHADEL, PETER H                   644 WYNDCLIFT CIR                                                                           AUSTINTOWN         OH   44515‐4367
SCHADEL, RICHARD A                 80 SOUTHWOOD DR                                                                             WEST SENECA        NY   14224‐3506
SCHADEL, TIMOTHY R                 41 BAYBERRY AVE                                                                             WEST SENECA        NY   14224‐2804
SCHADEL, TIMOTHY R.                41 BAYBERRY AVE                                                                             WEST SENECA        NY   14224‐2804
SCHADEN, EUGENE F                  3424 KENSINGTON AVE                                                                         DETROIT            MI   48224‐2724
SCHADENFROH, JAMES H               118 ROUNDUP RD                                                                              BALTIMORE          MD   21220‐2143
                                     09-50026-mg             Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
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Name                                Address1                         Address2                         Address3                   Address4         City              State Zip
SCHADER, GEORGE
SCHADEWALD WILLIAM                  SCHADEWALD, WILLIAM              SCHIBELL MENNIE & KENTOS LLC     1806 HIGHWAY 35 SOUTH PO                    OCEAN              NJ   07712
                                                                                                      BOX 2237
SCHADEWALD, MARY                    208 FERN ST APT 1009                                                                                          WEST PALM BEACH    FL 33401‐5625
SCHADEWALD, STANLEY R               5619 CENTENNIAL RD                                                                                            TECUMSEH           MI 49286‐7521
SCHADEWALD, WILIARD W               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA 23510
                                                                     STREET STE 600
SCHADEWALD, WILLIAM                 SCHIBELL MENNIE & KENTOS LLC     PO BOX 2237                      1806 HIGHWAY 35 SOUTH                       OCEAN              NJ   07712
SCHADEWALDT JR, KURT O              PO BOX 557                                                                                                    ORFORDVILLE        WI   53576‐0557
SCHADLER, FRANK H                   1024 E SHERMAN ST                                                                                             MARION             IN   46952‐3016
SCHAEDEL LANE                       SCHAEDEL, LANE                   120 WEST MADISON STREET , 10TH                                               CHICAGO            IL   60602
                                                                     FLOOR
SCHAEDEL ROBERT                     NO ADVERSE PARTY
SCHAEDEL, LANE                      KROHN & MOSS ‐ IL                120 WEST MADISON STREET, 10TH                                                CHICAGO            IL   60602
                                                                     FLOOR
SCHAEDING, CLIFFORD L               1705 APPLEBLOSSOM LN                                                                                          SAGINAW           MI    48609‐8809
SCHAEDING, FREDERICK L              1111 E BUCKHORN CIR                                                                                           SANFORD           MI    48657‐9241
SCHAEDING, GERALD E                 478 AULT ST                                                                                                   HEMLOCK           MI    48626‐9320
SCHAEDING, HOWARD J                 3019 GIBSON ST                                                                                                MIDLAND           MI    48640‐2490
SCHAEDLICH, ESTHER F                479 ELECTRIC AVE                                                                                              ROCHESTER         NY    14613‐1033
SCHAEFE, BARBARA JEAN               10051 BRIARWOOD LN                                                                                            FREELAND          MI    48623‐8842
SCHAEFER & CO                       10021 WESTLAKE DR                PO BOX 7009                                                                  CHARLOTTE         NC    28273‐3787
SCHAEFER & STROHMINGER DELMARVA     4212 RIDGE RD                                                                                                 BALTIMORE         MD    21236‐5725
AUT
SCHAEFER & STROHMINGER DELMARVA     4212 RIDGE RD                                                                                                 BALTIMORE         MD 21236‐5725
AUTOPARK
SCHAEFER & STROHMINGER O‐G/ALLSTATE 8115 BELAIR RD                                                                                                BALTIMORE         MD 21236‐3402

SCHAEFER & STROHMINGER OLDSMOBILE   8200 BELAIR RD                                                                                                BALTIMORE         MD 21236‐3403
INC
SCHAEFER & STROHMINGER OLDSMOBILE   8115 BELAIR RD                                                                                                BALTIMORE         MD 21236‐3402
P
SCHAEFER & STROHMINGER OLDSMOBILE   8115 BELAIR RD                                                                                                BALTIMORE         MD 21236‐3402
PONTIAC GMC PERRY HALL

SCHAEFER & STROHMINGER OLDSMOBILE, LOUIS SCHAEFER                    8115 BELAIR RD                                                               BALTIMORE         MD 21236‐3402
INC.
SCHAEFER CHARLES J (439483)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA 23510
                                                                     STREET, SUITE 600
SCHAEFER DENNES                     2284 DEER PATH CT                                                                                             TROY              MI 48098‐4142
SCHAEFER DUANE (447527)             BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                NORTHFIELD        OH 44067
                                                                     PROFESSIONAL BLDG
SCHAEFER FURNACES INC               1500 HUMPHREY AVE                                                                                             DAYTON            OH 45410‐3307
SCHAEFER GERALD L (467062)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                  NORFOLK           VA 23510
                                                                     STREET, SUITE 600
SCHAEFER GROUP INC                  4601 N HIGH ST STE 209           PO BOX 1508                                                                  COLUMBUS          OH 43214‐2043
SCHAEFER GROUP INC                  4601 N HIGH ST STE 209           PO BOX 1508 UPDATE 10/31/07 AM                                               COLUMBUS          OH 43214‐2043

SCHAEFER GROUP INC, THE             417 OSAGE ST                                                                                                  MAUMEE            OH    43537‐1637
SCHAEFER GROUP INC, THE             1500 HUMPHREY AVE                PO BOX 1508                                                                  DAYTON            OH    45410‐3307
SCHAEFER JOSEPH M                   2300 HALLOCK YOUNG RD SW                                                                                      WARREN            OH    44481‐9238
SCHAEFER JR, CHARLES P              671 N WESTERN RIDGE TRL                                                                                       TUCSON            AZ    85748‐7085
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Name                              Address1                        Address2                         Address3   Address4              City            State Zip
SCHAEFER JR, GEORGE A             PO BOX 7993                                                                                       BALTIMORE        MD 21221‐0993
SCHAEFER JR, WILLIAM              1403 HAYES DR                                                                                     YORKTOWN HTS     NY 10598‐5708
SCHAEFER JR., RUDOLF J            2280 DODGE RD                                                                                     EAST AMHERST     NY 14051‐1338
SCHAEFER JR., RUDOLF JOHN         2280 DODGE RD                                                                                     EAST AMHERST     NY 14051‐1338
SCHAEFER KAROL                    SCHAEFER, KAROL                 4400 BAYOU BOULEVARD SUITE 58                                     PENSACOLA        FL 32503

SCHAEFER KAROL                    SCHAEFER, KAROL                 2200 KROGER BUILDING 1014 VINE                                    CINCINNATI      OH 45202
                                                                  STREET
SCHAEFER KEN                      AUSTIN, DON                     319 7TH ST STE 600                                                DES MOINES      IA   50309‐3826
SCHAEFER KEN                      AUSTIN, DON                     33 S 6TH ST STE 4400                                              MINNEAPOLIS     MN   55402‐3710
SCHAEFER KEN                      BABB, DEBORAH                   319 7TH ST STE 600                                                DES MOINES      IA   50309‐3826
SCHAEFER KEN                      BABB, DEBORAH                   33 S 6TH ST STE 4400                                              MINNEAPOLIS     MN   55402‐3710
SCHAEFER KEN                      BAINBRIDGE, ELIZABETH           319 7TH ST STE 600                                                DES MOINES      IA   50309‐3826
SCHAEFER KEN                      BAINBRIDGE, ELIZABETH           33 S 6TH ST STE 4400                                              MINNEAPOLIS     MN   55402‐3710
SCHAEFER KEN                      BUMPILORI, CHARLES              319 7TH ST STE 600                                                DES MOINES      IA   50309‐3826
SCHAEFER KEN                      BUMPILORI, CHARLES              33 S 6TH ST STE 4400                                              MINNEAPOLIS     MN   55402‐3710
SCHAEFER KEN                      CANNON, STACY                   319 7TH ST STE 600                                                DES MOINES      IA   50309‐3826
SCHAEFER KEN                      CANNON, STACY                   33 S 6TH ST STE 4400                                              MINNEAPOLIS     MN   55402‐3710
SCHAEFER KEN                      DEPKEN, DIANE                   319 7TH ST STE 600                                                DES MOINES      IA   50309‐3826
SCHAEFER KEN                      DEPKEN, DIANE                   33 S 6TH ST STE 4400                                              MINNEAPOLIS     MN   55402‐3710
SCHAEFER KEN                      JOELSON, MARQUETTA              319 7TH ST STE 600                                                DES MOINES      IA   50309‐3826
SCHAEFER KEN                      JOELSON, MARQUETTA              33 S 6TH ST STE 4400                                              MINNEAPOLIS     MN   55402‐3710
SCHAEFER KEN                      KAIN, BARBARA                   319 7TH ST STE 600                                                DES MOINES      IA   50309‐3826
SCHAEFER KEN                      KAIN, BARBARA                   33 S 6TH ST STE 4400                                              MINNEAPOLIS     MN   55402‐3710
SCHAEFER KEN                      SCHAEFER, KEN                   319 7TH ST STE 600                                                DES MOINES      IA   50309‐3826
SCHAEFER KEN                      SCHAEFER, KEN                   33 S 6TH ST STE 4400                                              MINNEAPOLIS     MN   55402‐3710
SCHAEFER MEYER SEED SOD           DIVISION I INC                  3910 ELM POINT RD                                                 SAINT CHARLES   MO   63301‐7305
SCHAEFER PATRICIA                 34 AVENUE B                                                                                       HOLBROOK        NY   11741‐2014
SCHAEFER PAUL W (626752)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510
                                                                  STREET, SUITE 600
SCHAEFER PLUMBING SUPPLY CO IN    146 CLINTON ST                                                                                    BUFFALO         NY   14203‐2023
SCHAEFER PLUMBING SUPPLY CO INC   146‐160 CLINTON ST                                                                                BUFFALO         NY   14203
SCHAEFER RANDAL P (661540)        ZAMLER, MELLEN & SHIFFMAN       23077 GREENFIELD RD STE 557                                       SOUTHFIELD      MI   48075‐3727
SCHAEFER RANDY E (460169)         DUFFY & ASSOCS JOHN J           23823 LORAIN RD                                                   NORTH OLMSTED   OH   44070
SCHAEFER SYSTEM INTERNATIONAL     140 NUGGETT CRT                                                             BRAMPTON ON L6T 5H4
                                                                                                              CANADA
SCHAEFER SYSTEMS INTERNATIONAL    10021 WESTLAKE DR               PO BOX 7009                                                       CHARLOTTE       NC   28273‐3787
SCHAEFER SYSTEMS INTL INC         10021 WESTLAKE DR                                                                                 CHARLOTTE       NC   28273‐3787
SCHAEFER TECHNOLOGIE              4901 W RAYMOND ST                                                                                 INDIANAPOLIS    IN   46241‐4733
SCHAEFER TECHNOLOGIES INC         4901 W RAYMOND ST                                                                                 INDIANAPOLIS    IN   46241‐4733
SCHAEFER, ALBERT H                28864 PALM BEACH DR                                                                               WARREN          MI   48093‐6439
SCHAEFER, ALFRED R                1702 WOODSIDE AVE                                                                                 ESSEXVILLE      MI   48732‐1461
SCHAEFER, ANNA M                  4220 COLFAX AVE S                                                                                 MINNEAPOLIS     MN   55409
SCHAEFER, ARTHUR T                3810 SOUTHERN MANOR DR                                                                            SAINT LOUIS     MO   63125‐4499
SCHAEFER, AUDREY T                12218 JUPITER DR                                                                                  FORT MYERS      FL   33908
SCHAEFER, AURA J                  10640 E BENNINGTON RD                                                                             DURAND          MI   48429‐9726
SCHAEFER, BARBARA A               24 RIDGEWAY DR                                                                                    BROWNSBURG      IN   46112‐1005
SCHAEFER, BARBARA J               10051 BRIARWOOD LN                                                                                FREELAND        MI   48623‐8842
SCHAEFER, BARRY N                 10698 S REED RD                                                                                   DURAND          MI   48429‐9455
SCHAEFER, BARRY NEIL              10698 S REED RD                                                                                   DURAND          MI   48429‐9455
SCHAEFER, BEN T                   1825 E CROSBY RD                                                                                  CARROLLTON      TX   75006‐7390
SCHAEFER, BERNARD C               305 ALABAMA AVE                                                                                   SEBRING         OH   44672‐2141
                        09-50026-mg                Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                    Address1                           Address2                         Address3   Address4         City                State Zip
SCHAEFER, BEVERLY J     2528 SASSAFRAS LN                                                                               ANDERSON             IN 46012
SCHAEFER, CHARLES       152 ROYAL OAK DR                   APT109                                                       MCKESPORT            PA 15131‐2010
SCHAEFER, CHARLES       152 ROYAL OAK DR APT 109                                                                        WHITE OAK            PA 15131‐2010
SCHAEFER, CHARLES A     7564 GLENCOE DR                                                                                 CEDARBURG            WI 53012‐9786
SCHAEFER, CHARLES J     345 EATON AVE                                                                                   ROMEOVILLE            IL 60446‐1752
SCHAEFER, CHARLES J     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK              VA 23510‐2212
                                                           STREET, SUITE 600
SCHAEFER, CHRIS E       2085 CELESTIAL DR NE                                                                            WARREN              OH   44484
SCHAEFER, CLARENCE C    1429 SMITH AVE SW                                                                               DECATUR             AL   35603‐2658
SCHAEFER, DAVID C       6354 KINGS CT                                                                                   FLUSHING            MI   48433‐3524
SCHAEFER, DAVID E       904 STATE ROUTE 121 N                                                                           NEW PARIS           OH   45347‐9129
SCHAEFER, DAVID E       904 ST.RT.121                                                                                   NEW PARIS           OH   45347‐5347
SCHAEFER, DAVID E       2118 SYCAMORE COVE CIR                                                                          MIAMISBURG          OH   45342‐5726
SCHAEFER, DIANA A       10318 LINDEN RD                                                                                 GRAND BLANC         MI   48439‐9363
SCHAEFER, DIANA G       3339 ELLIS PARK                                                                                 BURTON              MI   48519‐1413
SCHAEFER, DONALD C      6131 S 19TH CT                                                                                  MILWAUKEE           WI   53221‐5047
SCHAEFER, EDWARD S      HARBOR COURT                       66 QUEEN STREET                  APT 1701                    HONOLULU            HI   96813
SCHAEFER, ELAINE A      10800 W PEET RD RTE 3                                                                           CHESANING           MI   48616
SCHAEFER, ERIC J        50105 FAIRCHILD RD                                                                              CHESTERFIELD        MI   48051‐2461
SCHAEFER, ERNEST D      1853 ROCHESTER RD                                                                               LEONARD             MI   48367‐3544
SCHAEFER, EUGENE A      2633 S TOWERLINE RD                                                                             WHITTEMORE          MI   48770‐9441
SCHAEFER, EUGENE V      1537 N FINN RD                                                                                  ESSEXVILLE          MI   48732‐9747
SCHAEFER, FRANCES H     910 HIGHLAND AVE                                                                                METAIRIE            LA   70001‐5621
SCHAEFER, FRED W        2408 FINNIE LEE DR                                                                              KOKOMO              IN   46902‐2944
SCHAEFER, FW/DAYTON     PO BOX 1376                                                                                     DAYTON              OH   45401‐1376
SCHAEFER, GARY A        10051 BRIARWOOD LN                                                                              FREELAND            MI   48623‐8842
SCHAEFER, GARY J        3027 W HILLTOP LN                                                                               FRANKLIN            WI   53132‐9119
SCHAEFER, GARY J        7904 HUMMINGBIRD LN                                                                             WEST CHESTER        OH   45069‐3441
SCHAEFER, GARY L        4022 WINDMILL LN                                                                                JANESVILLE          WI   53546‐4238
SCHAEFER, GERALD L      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA   23510‐2212
                                                           STREET, SUITE 600
SCHAEFER, GERALDINE B   612 BROADWAY ST                                                                                 SANDUSKY            OH   44870‐2008
SCHAEFER, GOETZ W       24 RIDGEWAY DR                                                                                  BROWNSBURG          IN   46112‐1005
SCHAEFER, J0HN D        2806 SYLVIA DR SE                                                                               DECATUR             AL   35603‐5642
SCHAEFER, JAMES D       503 E MCFARLAND ST                                                                              GRANDVIEW           TX   76050‐2136
SCHAEFER, JAMES E       W164S7690 BAY LANE TER                                                                          MUSKEGO             WI   53150‐9786
SCHAEFER, JAMES F       2222 ZIMMERMAN ST                                                                               FLINT               MI   48503‐3146
SCHAEFER, JAMES W       632 GREEN TREE MEADOWS DR          DRIVE                                                        LAKE SAINT LOUIS    MO   63367‐2571
SCHAEFER, JERRY L       425 DAWNVIEW AVE                                                                                DAYTON              OH   45431‐1806
SCHAEFER, JOHN A        501 W MILL ST                                                                                   CAPAC               MI   48014‐3068
SCHAEFER, JOHN F        10800 W. PEET RD. RT 3                                                                          CHESANING           MI   48616
SCHAEFER, JOSEPH E      10318 LINDEN RD                                                                                 GRAND BLANC         MI   48439‐9363
SCHAEFER, JOSEPH H      20 LAKEVIEW COURT                                                                               LAGRANGE            OH   44050‐9621
SCHAEFER, JOSEPH M      N23W28341 BEACH PARK CIRCLE                                                                     PEWAUKEE            WI   53072‐5151
SCHAEFER, JOSEPH P      2922 MEISNER AVE                                                                                FLINT               MI   48506‐2434
SCHAEFER, JUDITH K      3336 DARBYSHIRE DR                                                                              DAYTON              OH   45440‐3672
SCHAEFER, JULIANNE H    1786 FOREST LAKE DR SE                                                                          GRAND RAPIDS        MI   49546‐6282
SCHAEFER, KAREN K       6920 CITRUS CIR                                                                                 HUBER HEIGHTS       OH   45424‐7011
SCHAEFER, KAREN M       2893 OAK HILL TRL                                                                               COMMERCE TOWNSHIP   MI   48382
SCHAEFER, KARL J        12865 S CIRCLE PKWY                                                                             PALOS PARK          IL   60464‐1650
SCHAEFER, KAROL         OCONNOR ACCIANI & LEVY             2200 KROGER BUILDING 1014 VINE                               CINCINNATI          OH   45202
                                                           STREET
                              09-50026-mg             Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                         Address1                             Address2                        Address3   Address4         City               State Zip
SCHAEFER, KAROL              AYLSTOCK WITKIN & SASSER PLC         4400 BAYOU BOULEVARD SUITE 58                               PENSACOLA           FL 32503

SCHAEFER, KAROL              8565 BILTMORE LN                                                                                 CLEVES             OH 45002‐2301
SCHAEFER, KATHLEEN M         4340 E INDIAN SCHOOL RD STE 21‐167                                                               PHOENIX            AZ 85018
SCHAEFER, KEN                ZELLE HOFMANN VOELBEL MASON &        33 S 6TH ST STE 4400                                        MINNEAPOLIS        MN 55402‐3710
                             GETTE LLP
SCHAEFER, KEN                CONLIN & ASSOCIATES PC ROXANNE       319 7TH ST STE 600                                          DES MOINES         IA   50309‐3826
SCHAEFER, KEVIN A            7929 BOUVIER BAY RD                                                                              IRA                MI   48023‐2739
SCHAEFER, KEVIN J            N4271 COUNTY ROAD EAST                                                                           BRODHEAD           WI   53520‐9607
SCHAEFER, KURT H             12324 MOUNT MORRIS RD                                                                            COLUMBIAVILLE      MI   48421‐8808
SCHAEFER, LAURA M            8990 SHELBURNE WAY                                                                               ZIONSVILLE         IN   46077‐8527
SCHAEFER, LEO                PO BOX 171                                                                                       TERRYVILLE         CT   06786‐0171
SCHAEFER, LESTER M           5512 W COUNTY ROAD 50 N                                                                          BROWNSVILLE        IN   47325‐9424
SCHAEFER, LORETTA A          331 COUNTY ROAD 30A                                                                              JEROMESVILLE       OH   44840‐9662
SCHAEFER, LOUIS A            9387 N ESTON RD                                                                                  CLARKSTON          MI   48348‐3529
SCHAEFER, MABEL              8810 COLBY BLVD APT 310              MORNING SIDE OF COLLEGE PK.                                 INDIANAPOLIS       IN   46268‐1387
SCHAEFER, MARIA              2085 CELESTIAL DR NE                                                                             WARREN             OH   44484
SCHAEFER, MARK A             6131 S 19TH CT                                                                                   MILWAUKEE          WI   53221‐5047
SCHAEFER, MARK S             3781 SMITH CT                                                                                    STERLING HTS       MI   48310‐5333
SCHAEFER, MARLENE M          7564 GLENCOE DR                                                                                  CEDARBURG          WI   53012‐9786
SCHAEFER, MARTHA A           10698 S REED RD                                                                                  DURAND             MI   48429‐9455
SCHAEFER, MARTHA C           3727 LAKECREST DR                                                                                BLOOMFIELD HILLS   MI   48304‐3038
SCHAEFER, MARY L             1220 FOREST WALK DR                                                                              DAYTON             OH   45459‐4904
SCHAEFER, MARY M             2530 PRIVATE RD 59                                                                               COULTERVILLE       IL   62237
SCHAEFER, MAUREEN D          1479 MAGELLAN CIR                                                                                ORLANDO            FL   32818‐6738
SCHAEFER, MERLON M           10390 WINTHROP RD                                                                                STREETSBORO        OH   44241‐5161
SCHAEFER, MICHAEL            111 BELGROVE DR                                                                                  KEARNY             NJ   07032
SCHAEFER, MICHAEL E          11200 BIRCH RUN RD                                                                               BIRCH RUN          MI   48415‐9480
SCHAEFER, MIRIAM M           2315 CRESTBROOK LN                                                                               FLINT              MI   48507‐2208
SCHAEFER, MONIQUE
SCHAEFER, NANCY L            405 WADE ST                                                                                      LULING             LA   70070‐2041
SCHAEFER, ORVILLE G          141 LEGRANDE AVE                                                                                 PONTIAC            MI   48342‐1136
SCHAEFER, PATRICIA D         34110 FONVILLE CT                                                                                LIVONIA            MI   48152‐1218
SCHAEFER, PATRICK F          39284 SUNDERLAND DR                                                                              CLINTON TWP        MI   48038‐2679
SCHAEFER, PAUL J             7041 W HOWE RD                                                                                   DE WITT            MI   48820‐9204
SCHAEFER, PAUL O             SCHULTE J BRYAN                      PO BOX 517                                                  BURLINGTON         IA   52601‐0517
SCHAEFER, PAUL W             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
SCHAEFER, RANDAL P           ZAMLER, MELLEN & SHIFFMAN            23077 GREENFIELD RD STE 557                                 SOUTHFIELD         MI   48075‐3727
SCHAEFER, RANDALL W          6301 OLD SAINT LOUIS RD APT 6                                                                    BELLEVILLE         IL   62223‐4551
SCHAEFER, RANDY E            DUFFY & ASSOCS JOHN J                23823 LORAIN RD                                             NORTH OLMSTED      OH   44070
SCHAEFER, RICHARD W          13661 BETE GRISE RD                                                                              MOHAWK             MI   49950‐9554
SCHAEFER, ROBERT C           4265 LONE OAK DR                                                                                 MUSSEY             MI   48014‐3057
SCHAEFER, ROBERT G           1961 SAWGRASS TRL                                                                                SEBRING            FL   33872‐9207
SCHAEFER, ROBERT H           34432 JEFFERSON AVE APT 12                                                                       HARRISON TWP       MI   48045‐3393
SCHAEFER, ROBERT W           925 BANGORVILLE RD                                                                               BELLVILLE          OH   44813‐8600
SCHAEFER, RUTH               222 MINNESOTA AVE NE                                                                             WARROAD            MN   56763‐2323
SCHAEFER, SHELVIE            660 DENNIS ST                                                                                    ADRIAN             MI   49221‐3336
SCHAEFER, SHELVIE            660 DENNIS                                                                                       ADRIAN             MI   49221
SCHAEFER, SHERRILL ANTHONY   3339 ELLIS PARK DR                                                                               BURTON             MI   48519‐1413
SCHAEFER, SHIRLEY B          19 BIRCHTREE ST                                                                                  HOMOSASSA          FL   34446‐5436
SCHAEFER, STEPHEN B          137 ROBERT AVE                                                                                   BELLEVUE           OH   44811‐1114
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Name                      Address1                          Address2               Address3      Address4         City               State Zip
SCHAEFER, STEVE W         15590 OCEAN WALK CIR              #7‐112                                                FORT MYERS          FL 33908
SCHAEFER, STEVE W         15590 OCEAN WALK CIRCLE                                                                 FORT MYERS          FL 33908‐1345
SCHAEFER, THOMAS C        148 SEASPRAY RD                                                                         MANAHAWKIN          NJ 08050‐1345
SCHAEFER, THOMAS E        6170 TEAGARDEN CIR                                                                      DAYTON              OH 45449‐3014
SCHAEFER, THOMAS J        9921 WHITE HILL CT                                                                      FORT WAYNE          IN 46804‐5984
SCHAEFER, TIMOTHY E       4265 N MICHIGAN AVE                                                                     SAGINAW             MI 48604‐1665
SCHAEFER, TIMOTHY J       7660 W CHADWICK RD                                                                      DEWITT              MI 48820‐9118
SCHAEFER, VIRGINIA M.     437 RIVER DRIVE                                                                         BAY CITY            MI 48706
SCHAEFER, VIRGINIA M.     437 RIVER RD                                                                            BAY CITY            MI 48706‐1449
SCHAEFER, WAYNE A         W339S9845 RED BRAE CT                                                                   MUKWONAGO           WI 53149‐9295
SCHAEFER, WILLIAM         1211 S 5TH ST                                                                           PRAIRIE DU CHIEN    WI 53821‐2704
SCHAEFER, WILLIAM B       108 S MAIN ST                                                                           BOWLING GREEN       VA 22427‐9421
SCHAEFER, WILLIAM H       386 MAXWELL RD                                                                          PONTIAC             MI 48342‐1748
SCHAEFER, WILLIAM L       19 BIRCHTREE ST                                                                         HOMOSASSA           FL 34446‐5436
SCHAEFER, WILLIAM M       6200 RADEKIN RD                                                                         COLUMBUS            OH 43232‐2922
SCHAEFER, WILLIAM S       7529 DYKE RD                                                                            IRA                 MI 48023‐2726
SCHAEFER,MARK S           3781 SMITH CT                                                                           STERLING HTS        MI 48310‐5333
SCHAEFER‐GEZON, KEELY R   3132 LEONARD ST NW                                                                      GRAND RAPIDS        MI 49504‐3669
SCHAEFERLE, JAMES S       12068 TOWNLINE RD                                                                       GRAND BLANC         MI 48439‐1632
SCHAEFERS HELMUT          WEISSDORNSTR.3                                                                          DUISBURG                 47269
SCHAEFF, GEORGE H         229 RIDGECREST DR                                                                       WEST CARROLLTON     OH 45449‐2237
SCHAEFF, KAREN            1015 N BARRON ST                                                                        EATON               OH 45320‐1003
SCHAEFF, KAREN            1015 N. BARRON ST.                                                                      EATON               OH 45320‐5320
SCHAEFF, WILMER G         14 THORNAPPLE CT                                                                        SAGINAW             MI 48603‐4802
SCHAEFFER KENNETH         PO BOX 235                                                                              LONG LAKE           NY 12847‐0235
SCHAEFFER MARTIN          SCHAEFFER, MARTIN                 55 PUBLIC SQ STE 650                                  CLEVELAND           OH 44113‐1909
SCHAEFFER, BARRY M        2260 MCLAIN ST                                                                          PARMA               MI 49269‐9753
SCHAEFFER, CALVIN J       13164 GRAND HAVEN DR                                                                    STERLING HEIGHTS    MI 48312‐3230
SCHAEFFER, DARLA J        1428 SE 31ST ST                                                                         CAPE CORAL          FL 33904‐3983
SCHAEFFER, DAVID          GUY WILLIAM S                     PO BOX 509                                            MCCOMB              MS 39649‐0509
SCHAEFFER, DEBRA          5 PENNRIDGE AVE                                                                         MOUNTVILLE          PA 17554‐1045
SCHAEFFER, DENNIS C       2256 CLEARVIEW AVE NW                                                                   WARREN              OH 44483‐1336
SCHAEFFER, DENNIS L       1096 SAYLE ST                                                                           THE VILLAGES        FL 32162‐3792
SCHAEFFER, DONNA L        405 YORKTOWN BLVD                                                                       LOCUST GROVE        VA 22508‐5118
SCHAEFFER, DONNA L        12004 MAJESTIC CT                                                                       FREDERICKSBRG       VA 22407‐0580
SCHAEFFER, EDITH M        207 HEARTHSTONE CT.                                                                     MYRTLE BEACH        SC 29588‐6145
SCHAEFFER, EDWARD J       809 FARMBROOK DR                                                                        BEAVERCREEK         OH 45430‐1487
SCHAEFFER, EDWIN G        3 JUDITH PL                                                                             WEST LONG BRANCH    NJ 07764‐1580
SCHAEFFER, EDWIN H        3424 FRANKLIN RD                                                                        BLOOMFIELD          MI 48302‐0923
SCHAEFFER, ERNEST L       91 MEMORIAL PKWY                                                                        ATLANTIC HLDS       NJ 07716‐1601
SCHAEFFER, FLORENCE C     9477 CREEK BEND TRL                                                                     DAVISON             MI 48423‐8626
SCHAEFFER, FREDRICK P     78 NAPA LN                                                                              GOLETA              CA 93117‐1321
SCHAEFFER, GARY P         1675 EASTPORT DR                                                                        TROY                MI 48083‐1718
SCHAEFFER, GARY P         3646 ECHO HILL LN                                                                       BEAVERCREEK         OH 45430‐1720
SCHAEFFER, GEORGE T       1127 S ROCKFIELD RD                                                                     VEEDERSBURG         IN 47987‐8110
SCHAEFFER, GREGORY A      3725 MOUNT VERNON DR                                                                    LAKE ORION          MI 48360‐2713
SCHAEFFER, JOHN W         W223S3725 GUTHRIE RD                                                                    WAUKESHA            WI 53189‐8202
SCHAEFFER, JOSEPH C       400 ELMA MEADOW LN                                                                      ELMA                NY 14059‐9220
SCHAEFFER, JOSEPH J       919 LINDEN LN                                                                           UNION               NJ 07083‐8719
SCHAEFFER, LAWRENCE N     3572 E CLARKSTON RD                                                                     OAKLAND             MI 48363‐1930
SCHAEFFER, MARGARET       26577 TRILLIUM DR                                                                       FARMINGTON HILLS    MI 48331‐3512
SCHAEFFER, MARY A         1 KENT DR                                                                               FORKED RIVER        NJ 08731‐5617
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Name                                   Address1                         Address2                        Address3    Address4                 City              State Zip
SCHAEFFER, MONICA R                    1096 SAYLE ST                                                                                         THE VILLAGES       FL 32162‐3792
SCHAEFFER, PAUL D                      1428 SE 31ST ST                                                                                       CAPE CORAL         FL 33904‐3983
SCHAEFFER, PAUL E                      2047 KINGSWOOD DR                                                                                     FLINT              MI 48507‐3522
SCHAEFFER, RICHARD H                   17 PINEHURST MNR APT E                                                                                PINEHURST          NC 28374‐8154
SCHAEFFER, ROBERT J                    63 BEECHWOOD DR                                                                                       ROCHESTER          NY 14606‐5505
SCHAEFFER, ROBERT W                    39 ROCHFORD DR                                                                                        MANCHESTER         NJ 08759‐6190
SCHAEFFER, RONALD E                    12210 E WEBBS WAY                                                                                     COLUMBUS           IN 47203‐8611
SCHAEFFER, SANDRA J                    52055 EMIL DR                                                                                         MACOMB             MI 48042‐4033
SCHAEFFER, STEVEN J                    444 PRIMROSE LN                                                                                       FLUSHING           MI 48433‐2610
SCHAEFFER, STEVEN R                    4611 FREEMAN RD                                                                                       EATON RAPIDS       MI 48827‐8022
SCHAEFFER, THOMAS L                    609 COMMERCIAL ST                                                                                     VEEDERSBURG        IN 47987‐1119
SCHAEFFER, TIMOTHY J                   10109 PARADISE BLVD                                                                                   TREASURE ISLAND    FL 33706
SCHAEFFER, WALTER J                    325 TAMARAC DR                                                                                        DAVISON            MI 48423‐1937
SCHAEFFER, WILLIAM H                   5921 MAIN RD                                                                                          BEDFORD            PA 15522‐4858
SCHAEFFLER (CHINA) CO LTD              18 CHAOYANG RD                   ECONOMIC DEV ZONE                           TAICANG JIANGSU
                                                                                                                    PROVINCE CN 215400
                                                                                                                    CHINA (PEOPLE'S REP)
SCHAEFFLER (CHINA) CO LTD              18 CHAOYANG RD                                                               TAICANG JIANGSU
                                                                                                                    PROVINCE CN 215400
                                                                                                                    CHINA (PEOPLE'S REP)
SCHAEFFLER CANADA INC                  FAG BEARINGS                     DEPT 17489                                                           PALATINE           IL   60055‐7489
SCHAEFFLER CANADA INC                  801 ONTARIO ST                                                               STRATFORD ON N5A 6T2
                                                                                                                    CANADA
SCHAEFFLER CANADA INC.                 C/O ROBERT HILLSTROM             PO BOX 640                      STRATFORD   ONTARIO CANADA N5A 6T2
SCHAEFFLER CHAIN DRIVE SISTEMS         JOHN PERRY                       188 BOULEVARD LAFAYETTE                     RICHMOND HILL ON
                                                                                                                    CANADA
SCHAEFFLER CHAIN DRIVE SISTEMS SAS     188 BOULEVARD LAFAYETTE                                                      CALAIS FR 62102 FRANCE

SCHAEFFLER CHAIN DRIVE SYSTEMS         ATTN: MARC BECKER                188 BOULEVARD LAFAYETTE‐BP 99               62102 CALAIS CEDEX
                                                                                                                    FRANCE
SCHAEFFLER CHAIN DRIVE SYSTEMS SAS     188 BD LAFAYETTE BP 99 RJT                                                   CALAIS 62102 FRANCE

SCHAEFFLER CHINA CO LTD                18 CHAOYANG RD 215400 TAICANG    ECONOMICAL DEVELOPMENT AREA                 JIANGSU CHINA CHINA

SCHAEFFLER FRANCE                      93 ROUTE DE BITCHE BP 30186                                                  HAGUENAU F‐67506
                                                                                                                    FRANCE
SCHAEFFLER GROUP USA INC               PO BOX 18774                     EFT RMVD 11/27/06 CS                                                 NEWARK            NJ    07191‐8774
SCHAEFFLER GROUP USA INC               FMLY INA BEARING CO INC          308 SPRINGHILL FARM RD                                               FORT MILL         SC    29715
SCHAEFFLER GROUP USA INC               1536 GENESIS RD                                                                                       CROSSVILLE        TN    38555‐5631
SCHAEFFLER GROUP USA INC               170 CALVARY LN HWY 9 W                                                                                CHERAW            SC
SCHAEFFLER GROUP USA INC               301 HIGHWAY 1 S                                                                                       CHERAW            SC    29520‐2834
SCHAEFFLER GROUP USA INC               308 SPRINGHILL FARM RD                                                                                FORT MILL         SC    29715‐9784
SCHAEFFLER GROUP USA INC               MARTY BROWN                                                                                           TROY              MI    48083
SCHAEFFLER GROUP USA INC               MARTY BROWN                      5370 WEGMAN DRIVE                                                    GROVER BEACH      CA    93433
SCHAEFFLER GROUP USA INC               MICHELLE CHILDERS                170 CALVARY RD                                                       CHERAW            SC    29520‐7100
SCHAEFFLER GROUP USA INC               MICHELLE CHILDERS                170 CALVARY ROAD                                                     LEOLA             PA    17540
SCHAEFFLER GROUP USA INC.              5370 WEGMAN DR                                                                                        VALLEY CITY       OH    44280‐9700
SCHAEFFLER GROUP USA INC.              ATTN: TIMOTHY U. ZYGMONT         308 SPRINGHILL FARM RD                                               FORT MILL         SC    29715
SCHAEFFLER GROUP USA, INC.             1750 E BIG BEAVER RD                                                                                  TROY              MI    48083‐2010
SCHAEFFLER GROUP USA, INC. (INA USA)   1750 E BIG BEAVER RD                                                                                  TROY              MI    48083‐2010
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Name                          Address1                           Address2                      Address3                    Address4                 City               State Zip
SCHAEFFLER KG                 INDUSTRIE STR 1‐3                                                                            HERZOGENAURACH D‐
                                                                                                                           91074 GERMANY
SCHAEFFLER KG                 ETTINGER STR 26                                                                              INGOLSTADT BY 85057
                                                                                                                           GERMANY
SCHAEFFLER KG                 IDUSTRIESTRABE 1‐3                                                                           HERZOGENAURACH 91074
                                                                                                                           GERMANY
SCHAEFFLER KG                 INDUSTRIESTR 1‐3                                                                             HERZOGENAURACH BY
                                                                                                                           91074 GERMANY
SCHAEFFLER KG                 1 INA DR                                                                                                              CHERAW              SC 29520
SCHAEFFLER KG                 1536 GENESIS RD                                                                                                       CROSSVILLE          TN 38555‐5631
SCHAEFFLER KG                 170 CALVARY LN HWY 9 W                                                                                                CHERAW              SC 29520
SCHAEFFLER KG                 188 BOULEVARD LAFAYETTE                                                                      CALAIS FR 62102 FRANCE
SCHAEFFLER KG                 301 HIGHWAY 1 S                                                                                                       CHERAW              SC   29520‐2834
SCHAEFFLER KG                 308 SPRINGHILL FARM RD                                                                                                FORT MILL           SC   29715‐9784
SCHAEFFLER KG                 JOHN PERRY                         188 BOULEVARD LAFAYETTE                                   RICHMOND HILL ON
                                                                                                                           CANADA
SCHAEFFLER KG                 MARTY BROWN                        1536 GENESIS RD                                                                    CROSSVILLE          TN   38555‐5631
SCHAEFFLER KG                 MARTY BROWN                        1536 GENESIS ROAD                                                                  GRAND HAVEN         MI   49417
SCHAEFFLER KG                 MARTY BROWN                        301 HIGHWAY 1 S                                                                    CHERAW              SC   29520‐2834
SCHAEFFLER KG                 MARTY BROWN                        301 HWY 1 SOUTH                                                                    MANITOWOC           WI   54220
SCHAEFFLER KG                 MARTY BROWN                        308 SPRINGHILL FARM RD.                                                            FRANKFORT           KY   40602
SCHAEFFLER KG                 MARTY BROWN                        5370 WEGMAN DRIVE                                                                  GROVER BEACH        CA   93433
SCHAEFFLER KG                 MARTY BROWN                        PO BOX 570                                                                         SPARTANBURG         SC   29304‐0570
SCHAEFFLER KG                 MICHELLE CHILDERS                  170 CALVARY RD                                                                     CHERAW              SC   29520‐7100
SCHAEFFLER KG                 MICHELLE CHILDERS                  170 CALVARY ROAD                                                                   LEOLA               PA   17540
SCHAEFFLER KG                 RODNEY DEAN                        FORT MILL PLANT 6             308 SPRING HILL FARM ROAD   RUESSELSHEIM,HESSEN
                                                                                                                           GERMANY
SCHAEFFLER KG                 SANDRA HARTMANN 0049               EMAIL:                        ETTINGER STR 26                                      MADISON HEIGHTS     MI
                                                                 UWE.HOSCHEK@DE.INA.COM
SCHAEFFLER KG                 BRUNO KRAUSS AND BRUNO HORLACHER   INDUSTRIESTR 1‐3              91074 HERZOGENAURACH        GERMANY

SCHAEFFLER KOREA CORP         452‐9 NAE‐DONG CHUNG‐GU PLT 1                                                                CHANGWON KR 641‐507
                                                                                                                           KOREA (REP)
SCHAEFFLER KOREA CORP         452‐9 NAE‐DONG CHUNG‐GU PLT 1      HANWHA BLDG                                               CHANGWON 641‐507
                                                                                                                           KOREA (REP)
SCHAEFFLER/JOPLIN             1750 E BIG BEAVER RD                                                                                                  TROY               MI    48083‐2010
SCHAEFFLER/SC                 1750 E BIG BEAVER RD                                                                                                  TROY               MI    48083‐2010
SCHAEFFLER/TROY               1750 E BIG BEAVER RD                                                                                                  TROY               MI    48083‐2010
SCHAEFLE, ELIZABETH M         1507 KIRKWOOD DR                                                                                                      GENEVA             IL    60134‐1659
SCHAEJBE THOMAS               24 FOXMEADOW LN                                                                                                       ARLINGTON          MA    02474‐1826
SCHAEKEL, EDWARD L            46 CARRIAGE LAKE DR                                                                                                   BROWNSBURG         IN    46112‐8065
SCHAEKEL, JERALD R            113 OAKWOOD DR                                                                                                        TUTTLE             OK    73089‐8426
SCHAEKEL, JOHN E              10726 STABLE DR                                                                                                       INDIANAPOLIS       IN    46239‐8844
SCHAEL, DENNIS E              12415 HAAS RD                                                                                                         ATLANTA            MI    49709‐9358
SCHAELER, COREY               17300 PRIVATE DRIVE 8194                                                                                              NEWBURG            MO    65550‐9474
SCHAEN, CHARLES E             303 MELLING AVE                                                                                                       LINWOOD            PA    19061‐4137
SCHAENER, RAYMOND W           3157 BUNNY RUN DR                                                                                                     NORTH FORT MYERS   FL    33917‐1525
SCHAENER, WALTER R            PO BOX 1931                                                                                                           WINCHESTER         VA    22604‐8026
SCHAENHERR ALVIN E (494178)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                        NORFOLK            VA    23510
                                                                 STREET, SUITE 600
SCHAENHERR, ALVIN E           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                        NORFOLK             VA 23510‐2212
                                                                 STREET, SUITE 600
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Name                       Address1                            Address2                       Address3                   Address4         City               State Zip
SCHAENING, CARL F          24484 MEADOWBRIDGE DR                                                                                          CLINTON TOWNSHIP    MI 48035‐3013
SCHAENZER, NANCY H         9429 LINDA DR                                                                                                  DAVISON             MI 48423‐1798
SCHAENZLE, HORST W         1764 E HAMLIN RD                                                                                               ROCHESTER HILLS     MI 48307‐3628
SCHAEPER, JEFFREY A        RM 3‐220 GM BLDG                    TYCHY                                                                      DETROIT             MI 48202
SCHAEPKENS, RONALD F       9508 CREEK BEND TRL                                                                                            DAVISON             MI 48423‐8639
SCHAETZ, MARCELLA          8350 E MCKELLIPS RD LOT 151         PUEBLO SERENO MOBILE HOME PK                                               SCOTTSDALE          AZ 85257‐4712

SCHAEVITZ SENSORS          DIV OF MEASUREMENT SPECIALTIES      1000 LUCAS WAY                                                             HAMPTON            VA   23666‐1573
SCHAEVITZ/PENNSAUKEN       7905 N CRESCENT BLVD                                                                                           PENNSAUKEN         NJ   08110‐1402
SCHAF, DONALD A            911 HALE RD LOT 135                                                                                            SHELBYVILLE        IN   46176‐8636
SCHAF, DORIS I.            155 MARTIN                          PO BOX 645                                                                 ROME CITY          IN   46784
SCHAF, MARILYN             26584 ANN ARBOR TRL                 VILLA 8 APT 2                                                              DEARBORN HEIGHTS   MI   48127‐5006
SCHAFER AND WEINER, PLLC   ATT: MICHAEL R. WERNETTE            PINTURA, ESTAMPADO Y MONTAJE, 40950 WOODWARD AVE., STE.                    BLOOMFIELD HILLS   MI   48304
                                                               S.A. DE C.V.                  100
SCHAFER AND WEINER, PLLC   ATTY FOR HIROTEC AMERICA            ATT: RYAN D. HEILMAN, ESQ.    40950 WOODWARD AVENUE,                       BLOOMFIELD HILLS   MI 48304
                                                                                             SUITE 100
SCHAFER GEAR WORKS INC     4701 NIMTZ PKWY                                                                                                SOUTH BEND         IN   46628‐6151
SCHAFER GEAR WORKS INC     STAN BLENKE X214                    4701 NIMTZ PARKWAY                                                         COLUMBUS           NE   68601
SCHAFER INC.               125 N MABLE ST                                                                                                 PINCONNING         MI   48650‐8436
SCHAFER JR, DANIEL E       392 MELROSE LN                                                                                                 GREENWOOD          IN   46142‐9238
SCHAFER JR, DANIEL E       392 MELROSE LANE                                                                                               GREENWOOD          IN   46142‐9238
SCHAFER JR, DONALD A       5986 EDGEWATER DR APT 4                                                                                        TOLEDO             OH   43611‐2480
SCHAFER JR, HERBERT C      1906 FARMSIDE DR                                                                                               KETTERING          OH   45420‐3622
SCHAFER JR, LAWRENCE W     5883 EDA JEAN RDG NE                                                                                           COMSTOCK PARK      MI   49321‐8389
SCHAFER JR, VERNON E       7719 CARRIE LN                                                                                                 SOUTH LYON         MI   48178‐9636
SCHAFER MARK ALAN          SCHAFER, MARK ALAN                  2050 US BANK PLAZA SOUTH 220                                               MINNEAPOLIS        MN   55402
                                                               SOUTH SIXTH STREET
SCHAFER TIM                5741 FOLKSTONE DR                                                                                              TROY               MI   48085‐3154
SCHAFER, ALEX              5769 KINYON DR                                                                                                 BRIGHTON           MI   48116‐9509
SCHAFER, ALLYN R           5321 HINMAN RD                                                                                                 LOCKPORT           NY   14094‐9202
SCHAFER, ALVIN F           PO BOX 202                                                                                                     WESTPHALIA         MI   48894‐0202
SCHAFER, ANDRE B           5325 SEYMOUR RD                                                                                                SWARTZ CREEK       MI   48473‐1031
SCHAFER, ANGELA E          414 E CLINTON ST                                                                                               HOWELL             MI   48843‐1813
SCHAFER, ANTHONY J         10203 W KINLEY RD                                                                                              FOWLER             MI   48835‐9714
SCHAFER, ANTHONY JAMES     10203 W KINLEY RD                                                                                              FOWLER             MI   48835‐9714
SCHAFER, ANTHONY N         2254 TAYLOR RD                                                                                                 SHELBY             NC   28152‐7936
SCHAFER, ARLO D            713 E 130TH ST                                                                                                 BURNSVILLE         MN   55337‐3671
SCHAFER, BENJAMIN          3485 BOWMAN DR                                                                                                 SAGINAW            MI   48609‐9794
SCHAFER, BRANDON W         7071 MAYNARD RD                                                                                                PORTLAND           MI   48875‐9602
SCHAFER, BRETT R           10529 W COLONY RD                                                                                              FOWLER             MI   48835‐9774
SCHAFER, BRETT RONALD      10529 W COLONY RD                                                                                              FOWLER             MI   48835‐9774
SCHAFER, BRIAN G           5139 NATURE BOUNTY                                                                                             POTTERVILLE        MI   48876‐9804
SCHAFER, BRIAN G.          5139 NATURE BOUNTY                                                                                             POTTERVILLE        MI   48876‐9804
SCHAFER, BRUCE M           3433 E PASADENA AVE                                                                                            PHOENIX            AZ   85018‐1531
SCHAFER, CAROL A           4396 HICKORY RIDGE CT # C                                                                                      PLYMOUTH           MI   48170
SCHAFER, CHARLES H         3767 LOCKPORT OLCOTT RD                                                                                        LOCKPORT           NY   14094‐1126
SCHAFER, CHRIS M           4885 WESTGATE CIR                                                                                              HOLT               MI   48842‐1989
SCHAFER, CINDY A           8405 MISTY MDWS                                                                                                GRAND BLANC        MI   48439‐7428
SCHAFER, CLYDE W           103 WILLIAMS ST UNIT 115                                                                                       CRISFIELD          MD   21817
SCHAFER, DALE
SCHAFER, DANIEL A          11911 E GRAND RIVER TRAIL                                                                                      PORTLAND           MI 48875
SCHAFER, DAVID K           3333 GLASGOW DR                                                                                                LANSING            MI 48911‐1320
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Name                     Address1                        Address2            Address3         Address4         City               State Zip
SCHAFER, DAVID L         3152 S IRISH RD                                                                       DAVISON             MI 48423‐2434
SCHAFER, DAVID LYNN      3152 S IRISH RD                                                                       DAVISON             MI 48423‐2434
SCHAFER, DAVID P         9618 BOND RD                                                                          DEWITT              MI 48820‐9779
SCHAFER, DAVID T         269 HAZELTINE DR                                                                      DEBARY              FL 32713‐4559
SCHAFER, DAVID W         1148 BARRINGTON DR                                                                    GREENWOOD           IN 46143‐3100
SCHAFER, DEAN G          2121 N TALLMAN RD                                                                     FOWLER              MI 48835‐8721
SCHAFER, DONALD G        1299 N TAMIAMI TRL APT 427                                                            SARASOTA            FL 34236‐2467
SCHAFER, DONALD H        310 MONTELLUNA DR                                                                     NORTH VENICE        FL 34275‐6677
SCHAFER, DONALD J        4533 LYONS ROAD                                                                       LYONS               MI 48851‐9693
SCHAFER, DONALD L        14556 S JONES RD                                                                      EAGLE               MI 48822‐9605
SCHAFER, DOUGLAS S       804 S GOLFVIEW PL                                                                     MOUNT PROSPECT       IL 60056‐4331
SCHAFER, DOUGLAS W       9943 HIGHLAND DR                                                                      PERRINTON           MI 48871‐9750
SCHAFER, DUANE C         12493 PATRICK RD                                                                      EAGLE               MI 48822‐9645
SCHAFER, EARL E          721 LANDING PARTY LN                                                                  COLLIERVILLE        TN 38017‐7110
SCHAFER, EDWARD L        R2                              10466 E 2ND ST                                        FOWLER              MI 48835‐9802
SCHAFER, EDWARD L        10466 W M 21                    R#2                                                   FOWLER              MI 48835‐9104
SCHAFER, EDWIN J         7071 MAYNARD RD                                                                       PORTLAND            MI 48875‐9602
SCHAFER, EUGENIA L       PO BOX 1205                                                                           LAKE SHERWOOD       MO 63357‐1205
SCHAFER, EVA D           11918 BISHOP HWY                                                                      LANSING             MI 48911‐6215
SCHAFER, FALTEEN D       1090 E SPRINGFIELD RD                                                                 SULLIVAN            MO 63080‐1361
SCHAFER, FRANCIS A       3717 HOLLY GROVE RD                                                                   BALTIMORE           MD 21220‐3040
SCHAFER, FRANCIS D       5130 FILLMORE ST                                                                      ALLENDALE           MI 49401‐9300
SCHAFER, FRANK R         8950 W COUNTY ROAD 475 S                                                              REELSVILLE          IN 46171‐9468
SCHAFER, FREDERICK M     PO BOX 2687                                                                           FLORISSANT          MO 63032‐2687
SCHAFER, FREDERICK P     8469 SUNFIELD HWY                                                                     PORTLAND            MI 48875‐9728
SCHAFER, GARY
SCHAFER, GARY J          19760 DEMIL DR                                                                        MACOMB             MI   48044‐6312
SCHAFER, GARY L          11301 LOWELL RD                                                                       DEWITT             MI   48820‐9159
SCHAFER, GARY L          7443 JOHNSON RD                                                                       POTTERVILLE        MI   48876‐8749
SCHAFER, GARY M          16049 FAIRLANE DR                                                                     LIVONIA            MI   48154‐2563
SCHAFER, GERALD A        1204 HAWKSRIDGE CT                                                                    EAST LANSING       MI   48823‐6326
SCHAFER, GERALD L        233 ANDOVER RD                                                                        FAIRLESS HLS       PA   19030‐2201
SCHAFER, GERALD P        2407 N AIRPORT RD # 2                                                                 SAINT JOHNS        MI   48879
SCHAFER, GILBERT A       PO BOX 116                                                                            PEWAMO             MI   48873‐0116
SCHAFER, GLORIA J        5312 S GENESEE RD                                                                     GRAND BLANC        MI   48439‐7961
SCHAFER, GORDON R        8232 ANDREWS HWY                                                                      BELLEVUE           MI   49021‐9433
SCHAFER, HENRY J         2166 WINNERS CIR                                                                      SAINT JOHNS        MI   48879‐8157
SCHAFER, HOWARD P        2016 ROESKE RD                                                                        WELLSVILLE         NY   14895‐9668
SCHAFER, IMOGENE E       1790 ELMWOOD DR                                                                       DEFIANCE           OH   43512‐2509
SCHAFER, INC.            125 N MABLE ST                                                                        PINCONNING         MI   48650‐8436
SCHAFER, INC.            RUSSELL LAFAVE                  125 N MABLE ST                                        PINCONNING         MI   48650‐8436
SCHAFER, JACK N          476 W HAMPTON RD                                                                      ESSEXVILLE         MI   48732‐9720
SCHAFER, JAMES L         262 N MCDERMOTT RD                                                                    FAWN GROVE         PA   17321‐9671
SCHAFER, JAMIE L         7028 HUBBARD DR                                                                       HUBER HEIGHTS      OH   45424‐3420
SCHAFER, JANET M         4881 ABERDEEN DR                                                                      ANN ARBOR          MI   48103‐9027
SCHAFER, JEFFERY M       13716 CHARLOTTE HWY                                                                   SUNFIELD           MI   48890‐9784
SCHAFER, JEFFERY M.      13716 CHARLOTTE HWY                                                                   SUNFIELD           MI   48890‐9784
SCHAFER, JEFFREY A       1815 E 250 N                                                                          KOKOMO             IN   46901‐8360
SCHAFER, JENNIFER A      8620 KINMORE ST                                                                       DEARBORN HEIGHTS   MI   48127‐1269
SCHAFER, JENNIFER L      48586 TREMONT DR                                                                      MACOMB             MI   48044‐2115
SCHAFER, JENNIFER LYNN   48586 TREMONT DR                                                                      MACOMB             MI   48044‐2115
SCHAFER, JEROME J        PO BOX 213                                                                            WESTPHALIA         MI   48894‐0213
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Name                      Address1                         Address2                       Address3   Address4         City              State Zip
SCHAFER, JEROME J         8250 S LOOMIS RD                                                                            DEWITT             MI 48820‐9752
SCHAFER, JEROME J         7857 W PARKS RD                                                                             SAINT JOHNS        MI 48879‐9576
SCHAFER, JERRY L          2635 LONE RD                                                                                FREELAND           MI 48623‐7802
SCHAFER, JOAN C           390 S STATE 116                                                                             PEWAMO             MI 48873‐8745
SCHAFER, JOHANNA E        4401 LYNDEN RD                                                                              SHELBYVILLE        MI 49344‐9423
SCHAFER, JOHN A           PO BOX 433                                                                                  PEWAMO             MI 48873‐0433
SCHAFER, JOHN A           2239 DALTON AVE SW                                                                          WYOMING            MI 49519‐1729
SCHAFER, JOHN C           4298 BRISTOL DR                                                                             DAYTON             OH 45440‐3383
SCHAFER, JOHN D           PO BOX 237                                                                                  NORTH TURNER       ME 04266‐0237
SCHAFER, JOHN S           PO BOX 205                                                                                  WESTPHALIA         MI 48894‐0205
SCHAFER, JOSEPH A         PO BOX 461                                                                                  FOWLER             MI 48835‐0461
SCHAFER, JOSEPH F         5706 ARAPAHO TRL                                                                            FORT WAYNE         IN 46825‐2660
SCHAFER, JOSEPH M         PO BOX 435                                                                                  WESTPHALIA         MI 48894‐0435
SCHAFER, JOYCE L          11120 LOWELL RD                                                                             DEWITT             MI 48820‐9159
SCHAFER, JULIUS A         11174 W WALKER RD                                                                           FOWLER             MI 48835‐8715
SCHAFER, JUSTIN J         12175 W GRAND RIVER HWY                                                                     EAGLE              MI 48822‐9704
SCHAFER, KATHLEEN D       5 BELL PL                                                                                   RYE BROOK          NY 10573‐1939
SCHAFER, KATHRYN          9481 48TH AVE R=1                                                                           HUDSONVILLE        MI 49426
SCHAFER, KENNETH W        6304 W WILLOW HWY                                                                           LANSING            MI 48917‐1217
SCHAFER, KEVIN D          1319 SHADOWOOD TRL                                                                          MARIETTA           GA 30066‐3981
SCHAFER, KIT L            2008 MAPLERIDGE RD                                                                          ROCHESTER HILLS    MI 48309‐2747
SCHAFER, KURT A           14862 W HANSES RD                                                                           WESTPHALIA         MI 48894‐9236
SCHAFER, KURT ALLEN       14862 W HANSES RD                                                                           WESTPHALIA         MI 48894‐9236
SCHAFER, LARRY D          8586 N TALLMAN RD                                                                           FOWLER             MI 48835‐9735
SCHAFER, LARRY L          12384 W GREENFIELD RD                                                                       LANSING            MI 48917‐8613
SCHAFER, LAWRENCE P       14300 W DEXTER TRL                                                                          WESTPHALIA         MI 48894‐9259
SCHAFER, LAWRENCE PAUL    14300 W DEXTER TRL                                                                          WESTPHALIA         MI 48894‐9259
SCHAFER, LIDA W           8357 CHINABERRY PL                                                                          HUBER HEIGHTS      OH 45424‐6508
SCHAFER, LOUIS A          PO BOX 356                                                                                  FOWLER             MI 48835‐0356
SCHAFER, LOUIS C          4533 LYONS RD                                                                               LYONS              MI 48851‐9693
SCHAFER, MARCELLINE       8049 AREA DR                                                                                SAGINAW            MI 48609‐4841
SCHAFER, MARK ALAN        YOST & BAILL                     2050 US BANK PLAZA SOUTH 220                               MINNEAPOLIS        MN 55402
                                                           SOUTH SIXTH STREET
SCHAFER, MARK ALAN
SCHAFER, MARK C           7436 WALKERS LN                                                                             POTTERVILLE       MI   48876‐8797
SCHAFER, MARK D           617 N MERCANTILE ST                                                                         CARSON CITY       MI   48811‐9612
SCHAFER, MARK P           230 RIVER ISLE                                                                              BRADENTON         FL   34208‐9076
SCHAFER, MARK P           4342 GREENTHREAD DR                                                                         ZIONSVILLE        IN   46077
SCHAFER, MARVIN J         7726 OBRIEN RD                                                                              HUBBARDSTON       MI   48845‐9512
SCHAFER, MELVIN J         4434 SPRINGBROOK DR                                                                         SWARTZ CREEK      MI   48473‐1496
SCHAFER, MICHAEL A        8405 MISTY MDWS                                                                             GRAND BLANC       MI   48439‐7428
SCHAFER, MICHAEL ARTHUR   8405 MISTY MDWS                                                                             GRAND BLANC       MI   48439‐7428
SCHAFER, MICHAEL D        14271 SOUTH COLBY ROAD                                                                      PERRY             MI   48872‐9592
SCHAFER, MICHAEL J        2929 MANNS AVE                                                                              BALTIMORE         MD   21234
SCHAFER, MICHAEL JOSEPH   2929 MANNS AVE                                                                              BALTIMORE         MD   21234‐4016
SCHAFER, MYRNA F          1200 BROOKDALE DR                                                                           BRENTWOOD         CA   94513‐2932
SCHAFER, PATRICIA A       5455 PECK LAKE ROAD                                                                         PORTLAND          MI   48875‐9631
SCHAFER, PATRICIA J       13985 S.400W                                                                                KOKOMO            IN   46901
SCHAFER, PAUL J           PO BOX 12                                                                                   PEWAMO            MI   48873‐0012
SCHAFER, PAUL L           11918 BISHOP HWY                                                                            LANSING           MI   48911‐6215
SCHAFER, PAULA            5022 CLINTONVILLE PINES DR 17                                                               CLARKSTON         MI   48346
SCHAFER, PERRY L          6447 E 200 S                                                                                GREENTOWN         IN   46936‐9122
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SCHAFER, PETER J      257 S COOK RD                                                                           PEWAMO             MI 48873‐9773
SCHAFER, PETER JOHN   257 S COOK RD                                                                           PEWAMO             MI 48873‐9773
SCHAFER, PHILIP F     4910 FILLMORE ST                                                                        ALLENDALE          MI 49401‐9300
SCHAFER, PHILIP W     14895 DEXTER TRAIL R2                                                                   WESTPHALIA         MI 48894
SCHAFER, RICHARD C    7 SHADYSIDE LN                                                                          LANCASTER          NY 14086‐1157
SCHAFER, RICHARD D    475 SPARLING DR                                                                         SAGINAW            MI 48609‐5183
SCHAFER, RICHARD F    3371 N WEXFORD DR APT 7                                                                 SAGINAW            MI 48603‐3248
SCHAFER, RICHARD K    65 DRESSER AVE                                                                          DEDHAM             MA 02026‐3741
SCHAFER, RICHARD L    PO BOX 565                                                                              LEWISTON           MI 49756‐0565
SCHAFER, RICHARD L    24 CANNON RUN                                                                           NEWARK             DE 19702‐2446
SCHAFER, RICHARD L    2080 N TALLMAN RD                                                                       FOWLER             MI 48835‐8721
SCHAFER, RICHARD L    15695 BEAVER BANK TRL                                                                   GRAYLING           MI 49738‐6223
SCHAFER, RICHARD M    13197 LOG CABIN PT                                                                      FENTON             MI 48430‐1138
SCHAFER, RICHARD W    ROUTE 1 BOX 574E                                                                        MARBLE HILL        MO 63764
SCHAFER, ROBERT A     8279 GRAND RIVER TRL                                                                    PORTLAND           MI 48875‐9402
SCHAFER, ROBERT A     5842 ARNOLD LAKE RD                                                                     GLADWIN            MI 48624‐8908
SCHAFER, ROBERT F     1024 EDINBURGH CV                                                                       LONDON             OH 43140‐2168
SCHAFER, ROGER J      1410 AMBERWOOD CIR                                                                      MURFREESBORO       TN 37128‐6756
SCHAFER, ROMAN E      121 BRIDGE ST BOX 22                                                                    LYONS              MI 48851
SCHAFER, RONALD F     PO BOX 3496                                                                             ALAMOGORDO         NM 88311‐3496
SCHAFER, RONALD I     PO BOX 736                                                                              LAKE CITY          MI 49651‐0736
SCHAFER, ROSE M       18 WHITFIELD AVE                                                                        BUFFALO            NY 14220‐1931
SCHAFER, ROSEMARY A   1206 SPRINGHILL RD                                                                      NATRONA HTS        PA 15065‐1517
SCHAFER, RUSSELL C    5005 WESTVIEW LN                                                                        LISLE               IL 60532‐2242
SCHAFER, SARA A       APT 22                         1821 PACIFIC COAST HIGHWAY                               HERMOSA BEACH      CA 90254‐3132
SCHAFER, SARAH M      45759 UTICA GRN E                                                                       SHELBY TOWNSHIP    MI 48317‐5141
SCHAFER, SARAH M      6525 MAYBEE RD                                                                          CALRKSTON          MI 48346‐2953
SCHAFER, SCOT A       102 BROOKE LANE                                                                         CARTERVILLE         IL 62918‐5161
SCHAFER, SCOT A       102 BROOKE LN                                                                           CARTERVILLE         IL 62918‐5161
SCHAFER, SCOTT        414 EAST CLINTON STREET                                                                 HOWELL             MI 48843‐1813
SCHAFER, SCOTT A      45 OXFORD AVE                                                                           LANCASTER          NY 14086‐3052
SCHAFER, SCOTT M      76 CHARLES E PL                                                                         BATTLE CREEK       MI 49015
SCHAFER, SHARON       212 ROTGE RANCH RD                                                                      MOUNTAIN HOME      TX 78058‐2132
SCHAFER, SHIAN        212 ROTGE RANCH RD                                                                      MOUNTAIN HOME      TX 78058‐2132
SCHAFER, SIDNEY W     94 EDGAR AVE                                                                            BUFFALO            NY 14207‐1026
SCHAFER, SIGURD       3113 W RIVER RD                                                                         GRAND ISLAND       NY 14072‐1558
SCHAFER, STACEY A     3100 DONEGAL CIR                                                                        WESTFIELD          IN 46074‐8314
SCHAFER, STANLEY A    6 CANTERBURY CT                                                                         FAIRPORT           NY 14450‐1644
SCHAFER, STEVEN F     751 ESPOLON DR                                                                          EL PASO            TX 79912‐1706
SCHAFER, STEVEN L     510 N ELM ST                                                                            FOWLER             MI 48835‐9705
SCHAFER, TERRY S      1697 CRESTLINE LN                                                                       ROCHESTER HLS      MI 48307‐3413
SCHAFER, THERESA K    120 WILDBRIAR RD                                                                        ROCHESTER          NY 14623‐3907
SCHAFER, THERESA M    702 N OAKLAND DR                                                                        LAINGSBURG         MI 48848‐8227
SCHAFER, THERESA M    PO BOX 613                                                                              WILLIAMSTON        MI 48895‐0613
SCHAFER, THOMAS D     3455 E STAGE RD                                                                         IONIA              MI 48846‐9797
SCHAFER, THOMAS J     11633 KEEFER HWY                                                                        PORTLAND           MI 48875‐9710
SCHAFER, THOMAS W     15516 ALSASK CIR                                                                        PORT CHARLOTTE     FL 33981‐3193
SCHAFER, TIMOTHY J    5741 FOLKSTONE DR                                                                       TROY               MI 48085‐3154
SCHAFER, TIMOTHY V    7719 CARRIE LN                                                                          SOUTH LYON         MI 48178‐9636
SCHAFER, TROY D       5910 GRAND RIVER DR                                                                     GRAND LEDGE        MI 48837‐8960
SCHAFER, VICKIE A     6222 ELRO ST                                                                            BURTON             MI 48509‐2444
SCHAFER, VICKIE L     5952 CROW VALLEY PARK DR                                                                DAVENPORT           IA 52807‐2953
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Name                          Address1                          Address2                      Address3   Address4            City               State Zip
SCHAFER, WILLADEAN            2919 BURTON DR                                                                                 KOKOMO              IN 46902‐3279
SCHAFER, WILLIAM A            6912 MORGANTOWN RD                                                                             BOWLING GREEN       KY 42101‐4203
SCHAFER‐EGGLY, KATIE S        26349 CLARKSTON DR                                                                             BONITA SPRINGS      FL 34135‐2312
SCHAFER‐SRAIL, TERESA A       2768W S COUNTY ROAD 300 E                                                                      KOKOMO              IN 46902
SCHAFERSMAN, ORA R            9615 NORTHEAST 95TH TERRACE                                                                    KANSAS CITY         MO 64157‐7755
SCHAFF FRANCISCO & CAROL      5011 LEON RD                                                                                   ANDOVER             OH 44003‐9442
SCHAFF, DONALD                WISE & JULIAN                     156 N MAIN ST STOP 1                                         EDWARDSVILLE         IL 62025‐1972
SCHAFF, HAROLD F              780 GLEN ANNIE RD                                                                              GOLETA              CA 93117‐1426
SCHAFF, HAROLD M              309 LAMONT DR                                                                                  EGGERTSVILLE        NY 14226‐2249
SCHAFF, JAMES F               620 WILLIAMS DR                                                                                CEDARBURG           WI 53012‐9364
SCHAFF, ROBERT W              5020 ASPEN ST                                                                                  WEST MIFFLIN        PA 15122‐1235
SCHAFFA, RONALD B             26380 YORK RD                                                                                  HUNTINGTON WOODS    MI 48070‐1313
SCHAFFEL, NEAL A              1797 DUTCHESS LOOP                                                                             THE VILLAGES        FL 32162
SCHAFFER EARL S (497945)      ANGELOS PETER G                   100 N CHARLES STREET , ONE                                   BALTIMORE           MD 21201
                                                                CHARLES CENTER
SCHAFFER JR, ALEXANDER        16151 W SILVER FALLS DR                                                                        SURPRISE           AZ   85374‐6364
SCHAFFER JR, CARL D           206 OSCEOLA AVE                                                                                ELKINS PARK        PA   19027‐2024
SCHAFFER JR, DONALD J         7512 COLDWATER RD                                                                              FLUSHING           MI   48433‐1120
SCHAFFER JR, JAMES R          569 PENN EST                                                                                   EAST STROUDSBURG   PA   18301‐9062
SCHAFFER JR, JAMES R          569 PENN ESTATES                                                                               EAST STROUDSBURG   PA   18301‐8301
SCHAFFER JR, LEONARD F        65 VALLEY VIEW RD                                                                              YARDVILLE          NJ   08620‐2640
SCHAFFER RICHARD D (407566)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510
                                                                STREET, SUITE 600
SCHAFFER, ALLAN A             1774 KAPEL DR                                                                                  EUCLID             OH   44117‐1826
SCHAFFER, BETTY J             PO BOX 7                                                                                       RAVENNA            OH   44266‐0007
SCHAFFER, BEVERLY J           9317 MAPLETREE DR                                                                              PLYMOUTH           MI   48170‐3413
SCHAFFER, BRIAN E             PO BOX 222                                                                                     ONTARIO            OH   44862‐0222
SCHAFFER, BRIAN J             707 GEORGETOWN PKWY                                                                            FENTON             MI   48430‐3622
SCHAFFER, CARRIE B            W 15321 US HWY 2, PO 94                                                                        GOULD CITY         MI   49838
SCHAFFER, CLARENCE J          1217 THAYER AVE                                                                                MIAMISBURG         OH   45342‐1749
SCHAFFER, DANIEL C            26145 CHERYL DR                                                                                FLAT ROCK          MI   48134
SCHAFFER, DELMER E            2222 W KERRY LN                                                                                PHOENIX            AZ   85027‐5118
SCHAFFER, DONALD C            PO BOX 133                                                                                     WATERPORT          NY   14571‐0133
SCHAFFER, DONALD R            999 PINE RD                                                                                    BAY CITY           MI   48706‐1949
SCHAFFER, DOUGLAS P           13926 DASMARINAS DR                                                                            CORPUS CHRISTI     TX   78418‐6316
SCHAFFER, EARL S              ANGELOS PETER G                   100 N CHARLES STREET, ONE                                    BALTIMORE          MD   21201
                                                                CHARLES CENTER
SCHAFFER, FREDERICK C         4377 PULASKI HWY                                                                               CULLEOKA           TN   38451‐2032
SCHAFFER, GEORGE              5943 HUBER RD                                                                                  HICKSVILLE         OH   43526‐9752
SCHAFFER, GEORGE E            52 VALLEY BROOK CIR                                                                            ROCHESTER          NY   14616‐3637
SCHAFFER, GREGORY A           11364 BRIARWOOD LN                                                                             WHITEHOUSE         OH   43571‐9532
SCHAFFER, HENRY B             19747 US HIGHWAY 23 S                                                                          PRESQUE ISLE       MI   49777‐9057
SCHAFFER, JAMES J             1076 WESTERN WOODS DR                                                                          FLINT              MI   48532‐2048
SCHAFFER, JAY M               3103 HOURGLASS COURT                                                                           FRANKLIN           TN   37067‐6105
SCHAFFER, JAY M               1101 HOLLY TREE FARMS RD                                                                       BRENTWOOD          TN   37027‐6306
SCHAFFER, JEFFREY             14428 SINGER RD                                                                                DEFIANCE           OH   43512‐8061
SCHAFFER, JEFFREY J           5205 TURNBERRY LN                                                                              SYLVANIA           OH   43560
SCHAFFER, JOHN F              749 WARREN DR                                                                                  EAST AURORA        NY   14052‐1913
SCHAFFER, JOSEPH              212‐5995 ELLIS ST                                                          WINDSOR ON N9H2P1
                                                                                                         CANADA
SCHAFFER, JOSEPH E            6209 WOODMOOR DR                                                                               BURTON              MI 48509‐1648
SCHAFFER, JOSEPH L            11963 JUNIPER WAY                 BLDG 12, APT 1220                                            GRAND BLANC         MI 48439
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Name                      Address1                        Address2                      Address3   Address4         City               State Zip
SCHAFFER, JOSEPH R        5320 KATHERINE CT                                                                         SAGINAW             MI 48603
SCHAFFER, KATHLEEN        4405 PLUMBROOK DR                                                                         CANFIELD            OH 44406‐9216
SCHAFFER, KENNETH W       7143 AKRON RD                                                                             LOCKPORT            NY 14094‐6238
SCHAFFER, LEONARD F       48 HOMEWOOD AVE                                                                           NORWALK             OH 44857‐2411
SCHAFFER, LINDA A         2541 ATHENA DR                                                                            TROY                MI 48083‐2410
SCHAFFER, LINDA A         2541 ATHENA DRIVE                                                                         TROY                MI 48083‐2410
SCHAFFER, LORI J          1465 FOUNTAIN VIEW LN                                                                     OXFORD              MI 48371‐6700
SCHAFFER, LUCILLE W       450 W SCHLEIER ST                                                                         FRANKENMUTH         MI 48734‐1057
SCHAFFER, MARGARET J      35218 SCHOOL                                                                              WESTLAND            MI 48185‐3665
SCHAFFER, MARGARET J      35218 SCHOOL ST                                                                           WESTLAND            MI 48185‐3665
SCHAFFER, MARGRET E       5532 LINDA LN                                                                             INDIANAPOLIS        IN 46241‐0622
SCHAFFER, MARILYN         5106 E VIENNA RD                                                                          CLIO                MI 48420‐9726
SCHAFFER, MARK A          55 COUNTRY WOOD LNDG                                                                      ROCHESTER           NY 14626
SCHAFFER, MARY J          164 TREEHAVEN ST                                                                          GAITHERSBURG        MD 20878‐5747
SCHAFFER, MELISSA A       16701 SUGAR PINE CT                                                                       WRIGHT CITY         MO 63390‐3556
SCHAFFER, MILDRED L       3017 EAST AVE                                                                             BALTIMORE           MD 21234‐3104
SCHAFFER, MILDRED L       3017 EAST AVE.                                                                            BALTIMORE           MD 21234‐3104
SCHAFFER, MILTON R        1354 EASTVIEW DR                                                                          FAIRBORN            OH 45324‐5620
SCHAFFER, OMA I           1400 S NANCY ST                                                                           BLOOMINGTON         IN 47401‐6052
SCHAFFER, ORA S           55 COLIN KELLY DR                                                                         DAYTON              OH 45431
SCHAFFER, PATRICIA A      11364 BRIARWOOD LN                                                                        WHITEHOUSE          OH 43571
SCHAFFER, PAUL J          113 LARKSPUR TER                                                                          BELLEVUE            OH 44811‐1083
SCHAFFER, RAYMOND C       7986 ROLLER RD                                                                            SALEM               OH 44460‐9241
SCHAFFER, RICHARD D       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                          STREET, SUITE 600
SCHAFFER, RITA            9 W ZOLLER RD                                                                             EAST BRUNSWICK     NJ   08816‐2241
SCHAFFER, ROBERT C        7689 DEERHILL DR                                                                          CLARKSTON          MI   48346‐1246
SCHAFFER, ROBERT E        PO BOX 112                                                                                CECIL              OH   45821‐0112
SCHAFFER, ROBERT S        48544 SIDNEY DR                                                                           MACOMB             MI   48044‐5622
SCHAFFER, RUSSELL L       5246 ELY HWY                                                                              MIDDLETON          MI   48856‐9732
SCHAFFER, SONIA M         2758 GRANDE VALLEY DR                                                                     LAS VEGAS          NV   89135‐1743
SCHAFFER, STELLA          3712 TOWERLINE ROAD                                                                       HALE               MI   48739‐9046
SCHAFFER, STELLA V        2991 HOFFMAN CIRCLE                                                                       WARREN             OH   44483‐3063
SCHAFFER, SUSAN           45706 HANFORD RD                                                                          CANTON             MI   48187‐4779
SCHAFFER, SYLVIA N        1359 E ANDERSON DR                                                                        PALATINE           IL   60074‐4137
SCHAFFER, TAMARA L        2309 CHESTNUT LN                                                                          BURTON             MI   48519‐1372
SCHAFFER, THEODORE J      122 W COWDERY ST                                                                          SANDUSKY           OH   44870‐4832
SCHAFFER, VICKY L         1415 SHANNON DR                                                                           JANESVILLE         WI   53546‐1463
SCHAFFER, VIRGINIA        1166 BENTON RD. RM 227                                                                    SALEM              OH   44460‐7623
SCHAFFER, WALTER D        1415 SHANNON DR                                                                           JANESVILLE         WI   53546‐1463
SCHAFFER, WALTER R        1114 20TH ST                                                                              WYANDOTTE          MI   48192‐3010
SCHAFFER, WILLIAM A       9277 CLARIDGE DR                                                                          DAVISON            MI   48423‐8708
SCHAFFER, WILLIAM A       15076 BRIARWOOD DR                                                                        BASEHOR            KS   66007‐5200
SCHAFFER, WILLIAM J       9062 FREMONT ST                                                                           LIVONIA            MI   48150‐4008
SCHAFFER, WILLIAM J       962 MESA DR                                                                               LK IN THE HLS      IL   60156‐4924
SCHAFFER, WILLIAM JAMES   9062 FREMONT ST                                                                           LIVONIA            MI   48150‐4008
SCHAFFERT JR, FABIAN J    267 CONTINENTAL DR                                                                        LOCKPORT           NY   14094‐5221
SCHAFFERT JR, WILLIAM C   52V CHEROKEE RD                                                                           CHEROKEE VILLAGE   AR   72529‐2601
SCHAFFERT, BARBARA A      120 OLD NIAGARA RD APT 12                                                                 LOCKPORT           NY   14094‐1521
SCHAFFERT, CAROL V        52V CHEROKEE RD                                                                           CHEROKEE VILLAGE   AR   72529‐2601
SCHAFFERT, DORA'LEE       6 HICKORY LN                                                                              CHEROKEE VILLAGE   AR   72529‐4115
SCHAFFERT, LE'ANN C       8040 LARK LN                                                                              GRAND BLANC        MI   48439‐7254
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Name                        Address1                        Address2           Address3         Address4         City                State Zip
SCHAFFHAUSEN, LANA          4152 LEXINGTON AVE N APT 5312                                                        SAINT PAUL           MN 55126
SCHAFFHAUSEN, WILLIAM F     4152 LEXINGTON AVE N APT 5312                                                        SAINT PAUL           MN 55126
SCHAFFNER, JULIA E          135 LANE 585 LAKE JAMES                                                              FREMONT              IN 46737‐9061
SCHAFFNER, MARTIN D         67 WILDEY ST                                                                         TARRYTOWN            NY 10591‐3105
SCHAFFNER, THOMAS P         4648 BENNETT RD                                                                      BENTON               WI 53803‐9244
SCHAFFNER, TRACEY           1881 AIRPORT FWY APT 609                                                             EULESS               TX 76040‐4062
SCHAFFNER, WILLIAM F        21059 142ND AVE SE                                                                   KENT                 WA 98042‐3119
SCHAFFRAN, LAURA MARIE      34596 SAN PAULO DR                                                                   STERLING HEIGHTS     MI 48312‐5733
SCHAFFRANEK, HELFRIED A     10895 HABER RD                                                                       ENGLEWOOD            OH 45322
SCHAFFRANEK, MICHAEL        8251 STATE ROUTE 61                                                                  GALION               OH 44833‐9030
SCHAFFRATH, MICHAEL S       41650 RIVEROAKS DR                                                                   PLYMOUTH             MI 48170‐4324
SCHAFFRICK, DONALD A        278 PERKINS ST                                                                       BRISTOL              CT 06010‐2996
SCHAFFRICK, LEONARD O       22 KNOLLWOOD RD                                                                      BURLINGTON           CT 06013‐2305
SCHAFFSTEIN, EDWARD C       30421 PARK ST                                                                        ROSEVILLE            MI 48066‐5327
SCHAFKA, MYRA A             2820 WOODSLEE DR APT 410                                                             ROYAL OAK            MI 48073‐2942
SCHAFLER, WILLIAM E         919 CASTLE HEIGHTS RD                                                                BOWLING GREEN        KY 42103‐8716
SCHAFRAN, MICHAEL M         1832 PELICAN CT                                                                      TROY                 MI 48084‐1432
SCHAFRAN, ROBERT D          1035 CAMBRY CIR                                                                      GRASS LAKE           MI 49240‐8927
SCHAFRICK, CANDICE M        53921 STARLITE DR                                                                    SHELBY TWP           MI 48316‐1541
SCHAFRICK, HUGO             8440 SW 101ST PLACE RD                                                               OCALA                FL 34481‐7774
SCHAFRICK, MARK S           6 DUNLAP CIR                                                                         OXFORD               MI 48371‐5206
SCHAFRICK, MARK S           6 DUNLAP CIRCLE                                                                      OXFORD               MI 48371‐5206
SCHAFRICK, STUART C         53921 STARLITE DR                                                                    SHELBY TWP           MI 48316‐1541
SCHAFSNITZ, JOHN D          2346 E DODGE RD                                                                      CLIO                 MI 48420‐9783
SCHAFSNITZ, JOHN DELBERT    2346 E DODGE RD                                                                      CLIO                 MI 48420‐9783
SCHAFSNITZ, MAX             5245 WILDER RD                                                                       VASSAR               MI 48768‐9744
SCHAFSNITZ, MAX A           5245 WILDER RD                                                                       VASSAR               MI 48768‐9744
SCHAFSNITZ, MICHAEL T       2346 E DODGE RD                                                                      CLIO                 MI 48420‐9783
SCHAFSNITZ, TERRY F         3460 OLD KAWKAWLIN RD                                                                BAY CITY             MI 48706‐1652
SCHAFSNITZ, THOMAS B        9218 W DIXON RD                                                                      REESE                MI 48757‐9209
SCHAFSNITZ, VICTOR A        12241 FRANCES RD                                                                     FLUSHING             MI 48433‐9214
SCHAG, TIMOTHY M            34104 CORKTREE ROAD                                                                  LAKE ELSINORE        CA 92532‐2945
SCHAHFER, WILLIAM A         10834 NADINE AVE                                                                     HUNTINGTON WOODS     MI 48070‐1560
SCHAIBLE PATRIC             16 RACHEL CT                                                                         CLINTON              NJ 08809‐1382
SCHAIBLE, CHRISTOPHER P     6530 10 MILE RD NE                                                                   ROCKFORD             MI 49341‐8301
SCHAIBLE, DAVID L           10832 184TH COURT NORTHWEST                                                          ELK RIVER            MN 55330‐6108
SCHAIBLE, DENNIS C          3223 PINTO CIR                                                                       LANSING              MI 48906‐9081
SCHAIBLE, JANINE KAY        4218 LAKESHORE RD                                                                    BOYNE CITY           MI 49712
SCHAIBLE, RICHARD A         11162 HARPHAM DR                                                                     EAGLE                MI 48822‐9632
SCHAIBLE, TERRANCE A        272 BELL BRANCH LN                                                                   JACKSONVILLE         FL 32259‐5413
SCHAIBLE, TERRY M           PO BOX 5912                                                                          BUFFALO GROVE         IL 60089‐5912
SCHAIBLE, TERRY MARK        1670 W PARTRIDGE LN UNIT 6                                                           ARLINGTON HEIGHTS     IL 60004
SCHAIBLEY, DONALD E         907 N VIRGINIA ST                                                                    ROCKVILLE            IN 47872‐1473
SCHAIBLY, BRADFORD E        PO BOX 458                                                                           HASLETT              MI 48840‐0458
SCHAICH, JAMES R            3721 SURFSIDE BLVD                                                                   CAPE CORAL           FL 33914‐4814
SCHAIDT, CHRIS J            1384 NORTH CT                                                                        BRIGHTON             MI 48114‐9638
SCHAIDT, DONNA J            1384 NORTH CT                                                                        BRIGHTON             MI 48114‐9638
SCHAIN MOLD & ENGINEERING   2776 COMMERCE DR                                                                     ROCHESTER HILLS      MI 48309‐3814
SCHAIRER, DONALD L          4209 BRIGHTON DR                                                                     LANSING              MI 48911‐2132
SCHAIRER, RICHARD J         12143 PINE RIDGE DR., RT. 1                                                          PERRY                MI 48872
SCHAITEL, JASON A           11530 N WALNUT LN                                                                    FORT ATKINSON        WI 53538‐9222
SCHAITEL, MAGDALEN E        1551 S CROSBY AVE                                                                    JANESVILLE           WI 53546‐5444
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Name                        Address1                        Address2               Address3      Address4         City               State Zip
SCHAITEL, MAGDALEN E        1551 S CROSBY                                                                         JANESVILLE          WI 53546‐5444
SCHAITEL, THOMAS J          2518 CEDAR POINTE DR                                                                  JANESVILLE          WI 53546‐5397
SCHAJATOVIC, MARY D         5366 ROYAL ST                                                                         MAPLE HEIGHTS       OH 44137‐1077
SCHAJATOVIC, MARY D         5366 ROYAL STREET                                                                     MAPLE HTS           OH 44137‐1077
SCHAJTER, GEORGINA          15504 COLLINSON AVE                                                                   EASTPOINTE          MI 48021‐2904
SCHAKOSKY, BETTY J          1324 WILLOWBROOK CT                                                                   ARLINGTON           TX 76011
SCHALAU, EDWARD J           739 S SAGINAW ST                                                                      LAPEER              MI 48446‐2622
SCHALAU, FRANK C            6967 DEER RUN TRAIL BOX E‐7                                                           GAYLORD             MI 49735
SCHALAU, KAREN              4400 CENTRAL BOX 317                                                                  COLUMDERVILLE       MI 48421
SCHALAU, RICHARD D          3965 NEWARK RD                                                                        ATTICA              MI 48412‐9661
SCHALBERG, CHARLES A        40 PRESTON RD                                                                         BUFFALO             NY 14215‐3614
SCHALBERG, CHARLES ANDREW   40 PRESTON RD                                                                         BUFFALO             NY 14215‐3514
SCHALBERG, GAIL M           8 ELLEN DR                                                                            CHEEKTOWAGA         NY 14225‐1272
SCHALBERG, MICHAEL J        879 REMINGTON DR                                                                      NORTH TONAWANDA     NY 14120‐2931
SCHALBERG, PATRICIA G       268 STONY RD                                                                          LANCASTER           NY 14086‐1504
SCHALCK WALTER              APT 164                         1100 PEMBRIDGE DRIVE                                  LAKE FOREST          IL 60045‐4218
SCHALDENBRAND, MARLENE C    46615 SUGARBUSH RD                                                                    CHESTERFIELD        MI 48047‐5240
SCHALER, BERNARD A          10488 SE 179TH PL                                                                     SUMMERFIELD         FL 34491‐7439
SCHALGE, EDWARD W           110 REIST ST                                                                          WILLIAMSVILLE       NY 14221‐5322
SCHALGE, EDWARD W           110 REIST STREET                                                                      WILLIAMSVILLE       NY 14221‐5322
SCHALITZ, DONALD T          7538 WILLOW POINTE DR                                                                 TEMPERANCE          MI 48182‐7504
SCHALITZ, ROBERT L          5868 CROSSBROOKE LN                                                                   WATERVILLE          OH 43566‐9456
SCHALK EDITH                1022 WARNER AVE                                                                       LEMONT               IL 60439‐4237
SCHALK JR, NORMAN C         5352 ARCHERS WAY                                                                      GLADWIN             MI 48624‐8207
SCHALK JR, WALTER J         27097 SHARPS PL                 PO BOX 8                                              PERRY               MO 63462‐2232
SCHALK JR, WALTER J         1006 ROY AVE                                                                          WARRENTON           MO 63383‐2211
SCHALK, BARBARA A           2590 BROWNING DR                                                                      LAKE ORION          MI 48360‐1814
SCHALK, DONNA M             41430 CORRIANDER CT                                                                   STERLING HEIGHTS    MI 48314‐4037
SCHALK, EDITH M             1022 WARNER AVE                                                                       LEMONT               IL 60439‐4237
SCHALK, EDWIN H             2007 N LAPORTE AVE                                                                    CHICAGO              IL 60639‐3220
SCHALK, EDWIN H             4501 N MCVICKER AVE                                                                   CHICAGO              IL 60630
SCHALK, EUGENE A            14370 IRISH RD                                                                        MILLINGTON          MI 48746‐9216
SCHALK, GEORGE T            5118 COUNTY ROAD 534                                                                  POPLAR BLUFF        MO 63901‐9481
SCHALK, JERALD R            1022 WARNER AVE                                                                       LEMONT               IL 60439‐4237
SCHALK, KAREN R             1215 MARCHAND                                                                         BAY CITY            MI 48706‐4016
SCHALK, KAREN R             1215 MARCHAND ST                                                                      BAY CITY            MI 48706‐4016
SCHALK, LARRY C             341 HADLEIGH RD                                                                       BOLINGBROOK          IL 60440‐2469
SCHALK, LOIS A              44 LEMOINE AVE                                                                        S. CHEEKTOWAGA      NY 14227‐1013
SCHALK, LYLE H              22685 LAKE AVALON ROAD                                                                HILLMAN             MI 49746‐8208
SCHALK, MICHAEL A           18814 STATE ROUTE 111                                                                 DEFIANCE            OH 43512‐8341
SCHALK, NICOLE L            951 RIVER BEND DR                                                                     ROCHESTER HILLS     MI 48307‐2731
SCHALK, ROY C               1216 N DEWITT ST                                                                      BAY CITY            MI 48706‐3624
SCHALK, ROY CHARLES         1216 N DEWITT ST                                                                      BAY CITY            MI 48706‐3624
SCHALK, TERRY S             41430 CORRIANDER CT                                                                   STERLING HEIGHTS    MI 48314‐4037
SCHALK, THOMAS E            1222 MARSAC ST                                                                        BAY CITY            MI 48708‐8550
SCHALL MYRON                10529 SAMISH ISLAND RD                                                                BOW                 WA 98232‐9398
SCHALL, ANDREA M            3828 LITTLE YORK RD                                                                   DAYTON              OH 45414
SCHALL, CAROL               800 CHALBOURNE DR                                                                     CHESAPEAKE          VA 23322
SCHALL, CHARLES E           527 DAMIAN ST                                                                         VANDALIA            OH 45377‐1107
SCHALL, DALE E              2333 N HOLLISTER RD                                                                   OVID                MI 48866‐8657
SCHALL, DAVID A             25332 LIBERTY LN                                                                      FARMINGTON HILLS    MI 48335‐1238
SCHALL, DAVID E             9080 N MCCLELLAND RD                                                                  BRECKENRIDGE        MI 48615‐9766
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Name                        Address1                         Address2                         Address3   Address4         City               State Zip
SCHALL, JANICE M            2194 RIDGECLIFF RD                                                                            COLUMBUS            OH 43221‐1820
SCHALL, JUDY L              6996 JAYSVILLE SAINT JOHNS RD                                                                 GREENVILLE          OH 45331‐9214
SCHALL, MICHAEL T           7636 E ADAMS RD                                                                               BRECKENRIDGE        MI 48615‐9706
SCHALL, NONA D              3828 LITTLE YORK RD                                                                           DAYTON              OH 45414‐2460
SCHALL, RICHARD W           2324 LAFAYETTE AVE                                                                            COLUMBUS            IN 47201‐4170
SCHALL, ROBERT R            6701 APPLEWOOD BLVD                                                                           YOUNGSTOWN          OH 44512‐4921
SCHALL, RONALD D            6996 JAYSVILLE SAINT JOHNS RD                                                                 GREENVILLE          OH 45331‐9214
SCHALL, TERRY L             305 E SUMMIT ST                                                                               BRECKENRIDGE        MI 48615‐9626
SCHALLA, DONNA R.           4230 OAK ROAD                                                                                 LESLIE              MI 49251‐9345
SCHALLER CHEVROLET          1‐25 VETERANS DRIVE                                                                           NEW BRITAIN         CT 06051
SCHALLER CORP               49495 GRATIOT AVE                                                                             CHESTERFIELD        MI 48051‐2523
SCHALLER ENTERPRISES LLC    DBA SCHALLER CHEVROLET‐          25 VETERANS DRIVE UPDTE 12/3/7                               NEW BRITAIN         CT 06051

SCHALLER ENTERPRISES, LLC   ARTHUR SCHALLER JR               1141 STANLEY ST                                              NEW BRITAIN        CT   06051‐1507
SCHALLER ENTERPRISES, LLC   ATTN: ARTHUR SCHALLER, JR.       1411 STANLEY STREET                                          NEW BRITAIN        CT   06051
SCHALLER I I, RICHARD R     110 HICKORY PLACE DR                                                                          COLUMBIAVILLE      MI   48421‐9649
SCHALLER II, RICHARD R      110 HICKORY PLACE DR                                                                          COLUMBIAVILLE      MI   48421‐9649
SCHALLER TIRE               80 GRANBY ST                                                                                  BLOOMFIELD         CT   06002‐3512
SCHALLER, ALBERT L          8208 LAKESHORE RD                                                                             BURTCHVILLE        MI   48059‐1324
SCHALLER, BARBARA L         213 N JOHN ST                                                                                 PENDLETON          IN   46064‐1011
SCHALLER, BARRY M           1759 CULLEOKA HWY                                                                             CULLEOKA           TN   38451‐2714
SCHALLER, CAROLYN M         2165 W PREDMORE RD                                                                            OAKLAND            MI   48363‐1131
SCHALLER, CHRISTIE L        11401 MAIDEN DR                                                                               FENTON             MI   48430‐9021
SCHALLER, FRANKIE C         11738 WEST HAYES AVENUE                                                                       MILWAUKEE          WI   53227‐1836
SCHALLER, FRANKLIN V        59560 BARKLEY DR                                                                              NEW HUDSON         MI   48165‐9659
SCHALLER, HANS‐DIETER       2328 N LINCOLN PARK W APT 2C                                                                  CHICAGO            IL   60614‐3439
SCHALLER, HAROLD A          PO BOX 1291                                                                                   ANDERSON           IN   46015‐1291
SCHALLER, KARL              8533 PAVILION DR                                                                              HUDSON             FL   34667‐6562
SCHALLER, LYNWOOD R         205 BARNES LAKE RD                                                                            NORTH BRANCH       MI   48461‐9733
SCHALLER, RICHARD R         2642 S BALDWIN RD                                                                             LAKE ORION         MI   48360‐1600
SCHALLER, ROBERT J          2681 JENNIFER DR                                                                              BRIGHTON           MI   48114‐8938
SCHALLER, ROBIN IRENE       3150 W 500 N                                                                                  HUNTINGTON         IN   46750‐8813
SCHALLER, ROBIN K           PO BOX 657                                                                                    OXFORD             MI   48371‐0657
SCHALLER, ROSEMARY          205 E BARNES LAKE RD                                                                          NORTH BRANCH       MI   48461
SCHALLER, ROSEMARY          205 BARNES LAKE RD                                                                            NORTH BRANCH       MI   48461‐9733
SCHALLER, SANDRA J          6738 AURORA DR                                                                                TROY               MI   48098‐2080
SCHALLER, VIRGINIA A        3637 W BARNES LAKE RD                                                                         COLUMBIAVILLE      MI   48421‐9164
SCHALLER, WALTER            1107 7TH ST NE                   RM 17                                                        BELMOND            IA   50421
SCHALLERT ALICE             405 SUNSET BLVD                                                                               PORTAGEVILLE       MO   63873‐1142
SCHALLHORN SR, RICHARD B    58751 COUNTY ROAD 671                                                                         PAW PAW            MI   49079‐9022
SCHALLHORN, JERRY L         4715 BONNY OAKS DR APT H05                                                                    CHATTANOOGA        TN   37416
SCHALLHORN, MARY M          2544 CHAMBERS STORE RD                                                                        MICHIE             TN   38357‐5304
SCHALLHORN, PATRICIA        338 S AMERS ST                                                                                NO FT MYERS        FL   33903‐2136
SCHALLHORN, RONALD L        327 COLONIAL BLVD                                                                             PALM HARBOR        FL   34684‐1309
SCHALLHORN, THOMAS F        9470 STADIUM DR                                                                               KALAMAZOO          MI   49009
SCHALLHORN, THOMAS L        3801 WINTERWOOD DR                                                                            HOWELL             MI   48843‐9415
SCHALLIER, CHARLES R        1226 ORCHARD RD                                                                               ESSEXVILLE         MI   48732‐1914
SCHALLMO MIKE               30206 BARWELL RD                                                                              FARMINGTON HILLS   MI   48334‐4710
SCHALLMO, W M               30206 BARWELL RD                                                                              FARMINGTON HILLS   MI   48334‐4710
SCHALLMO, W MICHAEL         30206 BARWELL RD                                                                              FARMINGTON HILLS   MI   48334‐4710
SCHALMONT CENTRAL SCHOOLS                                    3 SABRE DR                                                                      NY   12306
SCHALTE, GARI M             38582 BIRCH MEADOW DR                                                                         CLINTON TWP        MI   48036‐1912
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Name                       Address1                       Address2                 Address3    Address4                City              State Zip
SCHALTENBRAND, EDWARD F    6110 HERITAGE STATION RD                                                                    BELLEVILLE          IL 62223‐3467
SCHALTZ, PAUL A            3555 W DRAHNER RD                                                                           OXFORD             MI 48371‐5713
SCHAMANTE, TIMOTHY J       71695 MCFADDEN RD                                                                           ARMADA             MI 48005‐3428
SCHAMBECK, MARGARET        8106 FALCONVIEW PKWY                                                                        FREELAND           MI 48623‐8658
SCHAMBER, KAREN            15677 73RD CIR N                                                                            MAPLE GROVE        MN 55311‐2506
SCHAMBER, RICHARD T        1111 CAMPBELL BLVD                                                                          AMHERST            NY 14228‐1468
SCHAMBERS, MOLLY D         PO BOX 344                                                                                  ANNA MARIA         FL 34216‐0344
SCHAMBON #104473, FLOYD    KENTUCKY STATE REFORMATORY     3001 W HWY 146                                               LAGRANGE           KY 40032‐0001
SCHAMBS, TIM M             2739 BUTTERMILK HILL RD                                                                     RADNOR             OH 43066‐9609
SCHAMBURECK, DONALD E      1739 MACKINAC AVE                                                                           SOUTH MILWAUKEE    WI 53172‐2953
SCHAMEL, HOWARD L          182 CHOCTAW CIRCLE                                                                          FRANKLIN           OH 45005‐5005
SCHAMEL, HOWARD LEE        182 CHOCTAW CIR                                                                             FRANKLIN           OH 45005‐7109
SCHAMEL, RETA M            87 MADRID AVE                                                                               BROOKVILLE         OH 45309‐1225
SCHAMEL, ROSEMARY ANN      402 CASCADE CT                                                                              HUBERT             NC 28539‐4382
SCHAMING, PAUL A           3222 LOUISA LN                                                                              MECHANICSBURG      PA 17050‐7383
SCHAMMO LYDIA              50 RUE SCHAUWENBURG                                                 L 8092 BETRANGE
                                                                                               LUXEMBOURG
SCHAMP, RALPH L            4146 GRAY DR                                                                                WOOSTER           OH   44691‐6917
SCHAMPERS, CHRISTOPHER C   4405 S MOORLAND RD                                                                          NEW BERLIN        WI   53151‐6740
SCHAN LESLIE               89 MIDLAND AVE                                                                              MIDLAND PARK      NJ   07432‐1411
SCHAN, WILLIAM H           7613 S PLEASANTVIEW RD                                                                      HARBOR SPRINGS    MI   49740‐9478
SCHAN, WILLIAM S           21705 POWER RD                                                                              FARMINGTN HLS     MI   48336‐4545
SCHANCK I I, JAMES L       645 TULANE ST                                                                               SAGINAW           MI   48604‐2250
SCHANCK II, JAMES L        645 TULANE ST                                                                               SAGINAW           MI   48604‐2250
SCHANCK, AUDREY M          6511 N 100 E                   C/O SANDRA BACHMAN                                           MARION            IN   46952‐6778
SCHANCK, JAMES L           4243 GARFIELD RD                                                                            AUBURN            MI   48611‐9704
SCHANDELMEIER, WILLIAM     6116 GREENRIDGE RD                                                                          CASTRO VALLEY     CA   94552‐1841
SCHANDELMEYER, JOEL S      77 CARSON AVE                                                                               DAYTON            OH   45415‐3431
SCHANDEVEL, MARGARET       27835 RIVIERA ST                                                                            HARRISON TWP      MI   48045‐2946
SCHANE, GLENN D            2916 HIGHWAY 19 N                                                                           PRESCOTT          AR   71857‐7512
SCHANER, BRUCE P           31 SAINT ANTHONY ST                                                                         LANCASTER         NY   14088‐2387
SCHANER, CAROL K           8 E PAUL ST                                                                                 WEST MIDDLESEX    PA   16159‐2106
SCHANEY, GLENDA D          PO BOX 353                                                                                  OXFORD            OH   45056‐0353
SCHANEY, HAZEL             PO BOX 789                                                                                  GRAHAM            WA   98338
SCHANG, BRIAN S            2024 DOVER DR                                                                               WIXOM             MI   48393‐4409
SCHANG, DWAYNE C           435 COLEMAN ST                                                                              PINCKNEY          MI   48169‐9705
SCHANG, MARK A             906 MEADOWBROOK WAY                                                                         MILFORD           MI   48381‐2671
SCHANHALS, DONALD K        112 A CHANEL CT                                                                             HOUGHTON          MI   48629
SCHANHALS, SCOTT M         1125 OLDE CAMERON LN                                                                        FRANKLIN          TN   37067‐8503
SCHANICK JR, AUGUST C      2396 MAPLELAWN DR                                                                           BURTON            MI   48519‐1338
SCHANICK, JACLYN           387 WILSON AVE                                                                              MOUNT MORRIS      MI   48458‐1443
SCHANICK, JOHN H           APT 226                        3221 EAST BALDWIN ROAD                                       GRAND BLANC       MI   48439‐7355
SCHANICK, JOHN H           3525 CHAMBERS ST                                                                            FLINT             MI   48507‐2134
SCHANICK, MICHAEL E        387 WILSON AVE                                                                              MOUNT MORRIS      MI   48458‐1443
SCHANK GARY R              2600 SW 121ST CT                                                                            OKLAHOMA CITY     OK   73170
SCHANK GEORGE D (655724)   BELLUCK & FOX LLP              546 5TH AVE #4                                               NEW YORK          NY   10038‐5000
SCHANK JR, KARL F          1920 N THORNTON RD LOT 5                                                                    CASA GRANDE       AZ   85222‐7821
SCHANK, CAROL J            4408 CROSBY RD                                                                              FLINT             MI   48506‐1418
SCHANK, EDWARD D
SCHANK, ERIN R             640 E OXHILL DR                                                                             WHITE LAKE         MI 48386‐2338
SCHANK, ERIN RAE           640 E OXHILL DR                                                                             WHITE LAKE         MI 48386‐2338
SCHANK, FREDRICK G         1761 CARRIAGE LN                                                                            LAPEER             MI 48446‐1276
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Name                          Address1                          Address2                      Address3   Address4         City              State Zip
SCHANK, GARY C                3131 S VAN DYKE RD                                                                          BAD AXE            MI 48413‐8221
SCHANK, GARY R                2600 SW 121ST CT                                                                            OKLAHOMA CITY      OK 73170‐4757
SCHANK, GARY R                2600 SOUTHWEST 121ST COURT                                                                  OKLAHOMA CITY      OK 73170‐4757
SCHANK, GEORGE D              BELLUCK & FOX LLP                 545 5TH AVE #4                                            NEW YORK           NY 10036‐5000
SCHANK, HELEN D               C/O HELEN D SCHANK                1104 25TH ST                                              BAY CITY           MI 48708
SCHANK, HELEN D               1104 25TH ST                      C/O HELEN D SCHANK                                        BAY CITY           MI 48708‐7909
SCHANK, HENRY                 40 CHARLES TER                                                                              WALDWICK           NJ 07463‐2015
SCHANK, JAYNE M               2137 PINE RIVER                                                                             STANDISH           MI 48658‐9687
SCHANK, JAYNE M               10625 N MERIDIAN RD                                                                         PLEASANT LAKE      MI 49272‐9775
SCHANK, KENNETH G             640 E OXHILL DR                                                                             WHITE LAKE         MI 48386‐2338
SCHANK, KENNETH GEORGE        640 E OXHILL DR                                                                             WHITE LAKE         MI 48386‐2338
SCHANK, KRISTY M              4522 BURNSIDE RD                                                                            NORTH BRANCH       MI 48461‐8248
SCHANK, LAWRENCE A            4572 BURNSIDE RD                                                                            NORTH BRANCH       MI 48461‐8248
SCHANK, PAMELA L              5616 GALLERY PARK DR                                                                        ANN ARBOR          MI 48103‐5062
SCHANK, PAMELA LOUISE         5616 GALLERY PARK DR                                                                        ANN ARBOR          MI 48103‐5062
SCHANK, PAUL T                3979 ORR DR                                                                                 NORTH BRANCH       MI 48461‐9302
SCHANK, RICHARD M             PO BOX 148                                                                                  HADLEY             MI 48440‐0148
SCHANK, RUTH A                3979 ORR DR                                                                                 NORTH BRANCH       MI 48461‐9302
SCHANK, SHERRI                PATERSON & PATERSON               35 S ELK ST                                               SANDUSKY           MI 48471‐1353
SCHANK, STANLEY A             PO BOX 1267                                                                                 SILVER SPRINGS     FL 34489‐1267
SCHANKIN, ALFRED M            405 LAKE FOREST RD                                                                          ROCHESTER HILLS    MI 48309‐2237
SCHANKIN, KAREN M             20006 WOODCREST ST                                                                          HARPER WOODS       MI 48225‐2072
SCHANKIN, KAREN MARY          20006 WOODCREST ST                                                                          HARPER WOODS       MI 48225‐2072
SCHANLEY, RUTH R              205 STILLWELL AVENUE                                                                        KENMORE            NY 14217‐2133
SCHANNON, BERYL D             633 WEST FRANK STREET                                                                       CARO               MI 48723‐1478
SCHANSTRA, ELLEN              315 E 5TH ST                                                                                GRIDLEY             IL 61744‐9236
SCHANTZ, BERNARD D            2144 CUMBERLAND RD                                                                          ROCHESTER HILLS    MI 48307‐3705
SCHANTZ, DERRICK G            12870 SPENCER RD                                                                            HEMLOCK            MI 48626‐9725
SCHANTZ, DONALD M             147 TURPIN ST                                                                               ROCHESTER          NY 14621‐3961
SCHANTZ, EDWARD L             9275 S RAUCHOLZ RD                                                                          SAINT CHARLES      MI 48655‐9709
SCHANTZ, JOHN J               7008 COOK RD                                                                                SWARTZ CREEK       MI 48473‐8408
SCHANTZ, KENNETH B            7042 COUNTRY SPRINGS DR SW                                                                  BYRON CENTER       MI 49315‐8129
SCHANTZ, LAURA J              9275 S RAUCHOLZ RD                                                                          SAINT CHARLES      MI 48655‐9709
SCHANTZ, MARY L               3541 S GLEANER RD                                                                           SAGINAW            MI 48609‐9110
SCHANTZ, PETER G              12665 SPENCER RD                                                                            HEMLOCK            MI 48626‐9725
SCHANTZ, TENA R               7097 STATE RD                                                                               NASHVILLE          MI 49073‐9756
SCHANUEL, CLAUDE W            265 BELLAIRE DR                                                                             AUBURN             KY 42206‐5272
SCHANUEL, CLAUDE WILLIAM      265 BELLAIRE DR                                                                             AUBURN             KY 42206‐5272
SCHANUTH HARRY W (626753)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                STREET, SUITE 600
SCHANUTH, HARRY W             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                                STREET, SUITE 600
SCHANZ NOEL                   645 HANFORD ST                                                                              PISMO BEACH       CA   93449‐2345
SCHANZ, FRED R                890 TWILIGHT DR                                                                             SEVEN HILLS       OH   44131‐4064
SCHANZ, MARY JANE E           7760 S 51ST ST UNIT 309                                                                     FRANKLIN          WI   53132‐9097
SCHANZ, MARY JANE E           7760 S 51ST                       APT# 309                                                  FRANKLIN          WI   53132‐3132
SCHANZ, RAYMOND L             840 CLIFFS DR                                                                               YPSILANTI         MI   48198
SCHANZ, TODD C                10211 LISS RD                                                                               WILLIS            MI   48191‐9722
SCHANZER, RITA                1662 WHITE PLAINS RD                                                                        BRONX             NY   10462‐3826
SCHAP SPECIALTY MACHINE INC   17309 TAFT STREET                                                                           SPRING LAKE       MI   49456
SCHAP SPECIALTY MACHINE INC   17309 TAFT RD                                                                               SPRING LAKE       MI   49456
SCHAPEL JR, JULIUS J          508 29TH ST                                                                                 NIAGARA FALLS     NY   14301‐2534
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Name                               Address1                          Address2            Address3         Address4         City            State Zip
SCHAPER GINESSA                    16727 JIB COURT                                                                         CROSBY           TX 77532‐4414
SCHAPER, ALTON                     2409 MERSHON ST                                                                         SAGINAW          MI 48602‐5261
SCHAPER, BARBARA W                 1694 BRIMFIELD CIR                                                                      SYKESVILLE       MD 21784‐5939
SCHAPER, LOUIS J                   4705 COUNTY ROAD 1575 LOT 23                                                            BRYAN            OH 43506‐8973
SCHAPER, MARGARET J                2001 N OCEAN BLVD APT 605                                                               BOCA RATON       FL 33431‐7844
SCHAPER, PHYLLIS                   332 BULLOCK ST                                                                          SAGINAW          MI 48602‐1672
SCHAPER, ROXANN C                  13343 HORSESHOE BEND RD R                                                               BOISE            ID 83714
SCHAPER, THOMAS W                  3609 COTTAGE GROVE CT                                                                   SAGINAW          MI 48604‐9526
SCHAPERKOTTER, HAROLD M            2031 TEKONSHA ST SE                                                                     GRAND RAPIDS     MI 49506‐5352
SCHAPIRA MD APC                    8635 W 3RD ST STE 750W                                                                  LOS ANGELES      CA 90048‐6108
SCHAPIRO, LORI J                   311 WHITE OAK DRIVE                                                                     LAKE DALLAS      TX 75065‐2285
SCHAPMAN, WILLIAM G                1231 LATHROP RD                                                                         ALLENTON         MI 48002‐3205
SCHAPPE, ROBERT H                  912 BEDFORD RD                                                                          GROSSE POINTE    MI 48230‐1800
SCHAPPELL KEVIN                    102 CHEFIELD COURT                                                                      DOUGLASSVILLE    PA 19518‐8736
SCHAPPELL, BARBARA A               1 SPRING HOUSE CT                                                                       RISING SUN       MD 21911‐1831
SCHAPPELL, MELVIN E                3210 N POINT RD                                                                         BALTIMORE        MD 21222‐2605
SCHAPPERT, ALICE                   603 SERRA WAY                                                                           DEFIANCE         OH 43512‐3685
SCHAPPERT, ALICE                   603 SIERRA WAY                                                                          DEFIANCE         OH 43512‐3685
SCHAPPERT, MARY E                  2 OAK ST                                                                                BRADENTON        FL 34208‐1769
SCHAPPERT, RANDALL L               1500 MUSTANG DR                                                                         DEFIANCE         OH 43512‐1387
SCHARASWAK, LINNEA M               1601 N CRYSTAL RD                                                                       VESTABURG        MI 48891‐8711
SCHARASWAK, LINNEA M               1601 CRYSTAL RD                                                                         VESTABURG        MI 48891‐8711
SCHARBA MICHAEL                    SCHARBA, NANCY                    PO BOX 129                                            CANFIELD         OH 44406‐0129
SCHARBA, DAVID F                   2872 FIVE POINTS HARTFORD                                                               FOWLER           OH 44418‐9755
SCHARBA, JANICE E                  635 SHEAKLEYVILLE GREENVILLE RD                                                         HADLEY           PA 16130‐1421
SCHARBA, MICHAEL                   BETRAS, DAVID                     PO BOX 129                                            CANFIELD         OH 44406‐0129
SCHARBA, MICHAEL                   PO BOX 39                                                                               MASURY           OH 44438‐0039
SCHARBA, NANCY                     BETRAS, DAVID                     PO BOX 129                                            CANFIELD         OH 44406‐0129
SCHARBA, RICHARD D                 6761 STATE ROUTE 88                                                                     KINSMAN          OH 44428‐9743
SCHARBA, TODD E                    PO BOX 28                                                                               ORANGEVILLE      OH 44453‐0028
SCHARBROUGH II, RUSSELL C          5608 WHIRLAWAY CT                                                                       INDIANAPOLIS     IN 46237‐2128
SCHARDEIN MECHANICAL CONTRACTO     1810 OUTER LOOP                   PO BOX 19587                                          LOUISVILLE       KY 40219‐3429
SCHARDEIN MECHANICAL CONTRACTORS   1810 OUTER LOOP                   PO BOX 19587                                          LOUISVILLE       KY 40219‐3429
IN
SCHARDING, GREGORY E               60 BLENHEIM CT NE                                                                       CONCORD         NC   28025‐9566
SCHARDT, JAMES J                   1648 W ALEX BELL RD                                                                     DAYTON          OH   45459‐1246
SCHARDT, KURT A                    12540 BUECHE RD                                                                         BURT            MI   48417‐9620
SCHARDT, LINA                      2501 PHEASANT RUN                                                                       ORTONVILLE      MI   48462‐8931
SCHARDT, WILLIAM L                 1806 SAINT MARGARETS RD                                                                 ANNAPOLIS       MD   21409‐5943
SCHAREIN, ROSE M                   3052 N 55TH ST                                                                          MILWAUKEE       WI   53210‐1563
SCHAREIN, ROSE M                   3052 N 55TH STREET                                                                      MILWAUKEE       WI   53210‐1563
SCHARENBROCH, DONALD               4855 N GRAND OAKS DR                                                                    WARREN          MI   48092‐4664
SCHARER, BRAD A                    1206 MAGINN CT                                                                          MOUNT MORRIS    MI   48458‐1737
SCHARER, CLARENCE A                5409 DURWOOD DR                                                                         SWARTZ CREEK    MI   48473‐1166
SCHARER, LINDA L                   3644 SHARP RD                                                                           ADRIAN          MI   49221‐8605
SCHARER, PATRICIA A                1174 S KELLEY RD                                                                        SCHENECTADY     NY   12306‐6410
SCHARET, RICHARD W                 6769 EAST LAKE ROAD                                                                     CASTILE         NY   14427‐4427
SCHARET, RICHARD W                 4353 SPRINGBROOK RD W                                                                   CASTILE         NY   14427‐9531
SCHARETT, DANIEL L                 2719 FLAGAMI LN                                                                         NORTH PORT      FL   34286‐6113
SCHARETT, DONALD                   5025 LAKE RD APT 11                                                                     WILLIAMSON      NY   14589
SCHARETT, DONALD                   UNIT 11                           5025 LAKE ROAD                                        WILLIAMSON      NY   14589‐9609
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Name                      Address1                            Address2                        Address3   Address4         City              State Zip
SCHARF ERIC A (477264)    KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                               CLEVELAND          OH 44114
                                                              BOND COURT BUILDING
SCHARF, ADAM              1315 CROOKS RD APT 103                                                                          ROYAL OAK         MI 48067‐1347
SCHARF, BETSY D
SCHARF, CARL R            913 SILAS MOORE RD                                                                              BENSON            NC   27504‐6221
SCHARF, CHARLES R         4235 W 38TH ST                                                                                  CLEVELAND         OH   44109‐3286
SCHARF, ELMER A           16000 ISLAND RD                                                                                 GRAFTON           OH   44044‐9240
SCHARF, ERIC A            KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                CLEVELAND         OH   44114
                                                              BOND COURT BUILDING
SCHARF, GLENNING ROBERT   DATSOPOULOS MACDONALD & LIND P.C.   201 W MAIN ST STE 201                                       MISSOULA          MT 59802‐4326

SCHARF, JOHN B            625 WILWOOD RD                                                                                  ROCHESTER HILLS   MI   48309‐2428
SCHARF, KEITH R           168 ELK ST                                                                                      SPRINGVILLE       NY   14141‐1214
SCHARF, KENNETH H         PO BOX 516                                                                                      DRYDEN            MI   48428‐0516
SCHARF, LINDA D           1100 COUNTRY CLUB LN                                                                            ZEBULON           NC   27597‐9540
SCHARF, MARGARET L        3075 WINESAP DRIVE NE                                                                           GRAND RAPIDS      MI   49525‐155
SCHARF, RICHARD S         2801 BUD MCKEY CIR                                                                              VALDOSTA          GA   31602‐4121
SCHARF, SHARON A          7441 EMERSON DR                                                                                 CANTON            MI   48187‐2455
SCHARF, SHIRLEY A.        365 STATE HIGHWAY 11C                                                                           WINTHROP          NY   13697‐3231
SCHARF, TONILYNN          221 GLEN EAGLES DRIVE                                                                           OCEAN SPRINGS     MS   39564
SCHARFENBERG RHODA        8834 MONTEREY WAY                                                                               FOUNTAIN          CO   80817‐1552
SCHARFENBERG, HARRY T     6684 N 35TH ST                                                                                  RICHLAND          MI   49083‐9626
SCHARFENKAMP, JAMES B     1951 CHANCERY DR                                                                                TROY              MI   48085‐1432
SCHARFF JACK              9064 TAVERNA WAY                                                                                BOYNTON BEACH     FL   33472‐7398
SCHARFF JOHN B (494179)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA   23510
                                                              STREET, SUITE 600
SCHARFF, JOHN B           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510‐2212
                                                              STREET, SUITE 600
SCHARFF, TINA
SCHARHAG, FRANZ J         1820 FELICIANA TER                                                                              THE VILLAGES      FL   32162‐4021
SCHARIBONE, CARMELLO F    16413 61ST PL N                                                                                 LOXAHATCHEE       FL   33470‐3397
SCHARIBONE, MARY B        16413 61ST PL N                                                                                 LOXAHATCHEE       FL   33470‐3397
SCHARICH JR, DAVID        10860 AVERY RD                                                                                  SEBEWAING         MI   48759‐9759
SCHARICH, BARBARA J       3222 EASTGATE ST                                                                                BURTON            MI   48519‐1555
SCHARICH, ELMER J         3271 PHELPS ST                                                                                  UNIONVILLE        MI   48767‐9679
SCHARICH, FRIEDA          3850 RAYL RD                                                                                    AKRON             MI   48701‐9799
SCHARICH, GARY A          4122 BRADFORD DR                                                                                SAGINAW           MI   48603‐3047
SCHARICH, HAROLD D        2000 RAMAR RD APT 263                                                                           BULLHEAD CITY     AZ   86442
SCHARICH, HAROLD J        3702 CHEROKEE AVE                                                                               FLINT             MI   48507‐1913
SCHARICH, HERMAN K        1325 AMELITH RD RFD 4                                                                           BAY CITY          MI   48706
SCHARICH, LANE B          1707 S RIVER RD                                                                                 BAY CITY          MI   48708‐9500
SCHARICH, LARRY R         742 E PRICE RD                                                                                  MIDLAND           MI   48642‐7506
SCHARICH, LEONA M         4410 DARLA DR                                                                                   BAY CITY          MI   48706‐2521
SCHARICH, LEONA M         4410 DARLA                                                                                      BAY CITY          MI   48706‐2521
SCHARICH, PEARL A         2430 N OAKLEY ST                                                                                SAGINAW           MI   48602‐5425
SCHARICH, RICHARD C       3222 EASTGATE ST                                                                                BURTON            MI   48519‐1555
SCHARICH, ROBERT J        8032 GALE RD                                                                                    OTISVILLE         MI   48463‐9412
SCHARICH, ROBERT K        4648 VENOY RD                                                                                   SAGINAW           MI   48604‐1539
SCHARICH, ROBERT KIRK     4648 VENOY RD                                                                                   SAGINAW           MI   48604‐1539
SCHARICH, SALLY A         5090 KENORA DR                                                                                  SAGINAW           MI   48604‐9422
SCHARICH, TIMOTHY L       1765 SALAMONIE AVE                                                                              HUNTINGTON        IN   46750‐3986
SCHARICH, TIMOTHY L.      1765 SALAMONIE AVE                                                                              HUNTINGTON        IN   46750‐3986
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Name                                  Address1                        Address2                      Address3   Address4         City            State Zip
SCHARINE GROUP                        N4213 SCHARINE RD                                                                         WHITEWATER       WI 53190
SCHARINE GROUP INC, THE               N4213 SCHARINE RD                                                                         WHITEWATER       WI 53190
SCHARINE'S CUSTOM STEEL
SCHARINE'S CUSTOM STEEL FABRIC        N4213 SCHARINE RD                                                                         WHITEWATER      WI 53190
SCHARINE'S CUSTOM STEEL FABRICATION   N4213 SCHARINE RD                                                                         WHITEWATER      WI 53190

SCHARINE/WHITE WATER                  N4213 SCHARINE RD                                                                         WHITEWATER      WI   53190
SCHARINES CUSTOM FAB                  N4213 SCHARINE RD                                                                         WHITEWATER      WI   53190
SCHARINES CUSTOM FABRICATION          DIV OF THE SCHARINE GROUP INC   N4213 SCHARINE ROAD                                       WHITEWATER      WI   53190
SCHARINES'S CUSTOM S                  N4213 SCHARINE ROAD                                                                       WHITEWATER      WI   53190
SCHARK JR, EDWARD                     8100 BURLEIGH RD                                                                          GRAND BLANC     MI   48439‐9773
SCHARK, CAROL FRANCES                 313 N BRIDGE ST                                                                           LINDEN          MI   48451‐9788
SCHARLACH, ANNA M                     3706 CHURCH RD                  MT LAUREL NURSING & REHAB                                 MOUNT LAUREL    NJ   08054‐1104
                                                                      CENTER
SCHARLAU HELEN                        3315 EAST DOWNING CIRCLE                                                                  MESA            AZ   85213‐7012
SCHARLAU, ALBINA I                    6169 CAMPBELL RD                                                                          MENTOR          OH   44060‐3055
SCHARLAU, CAROL M                     10830 N 28TH AVE                                                                          PHOENIX         AZ   85029
SCHARLAU, HARVEY E                    1735 WINCHESTER LN                                                                        SCHAUMBURG      IL   60193‐1187
SCHARLAU, HELEN A                     3315 E DOWNING CIR                                                                        MESA            AZ   85213‐7012
SCHARLAU, LEON G                      2031 W CREEDY RD                                                                          BELOIT          WI   53511‐8702
SCHARLAU, MILFORD                     10394 W YATES CENTER RD                                                                   LYNDONVILLE     NY   14098‐9729
SCHARLAU, ORVILLE L                   1221 PORTLAND AVE                                                                         BELOIT          WI   53511‐5043
SCHARLENE R SMITH                     127 MELWOOD AVENUE                                                                        DAYTON          OH   45417
SCHARLENE SIEFKER                     RR 3 RD                                                                                   LEIPSIC         OH   45856
SCHARLENE SIEFKER                     RR 3                                                                                      LEIPSIC         OH   45856
SCHARLOTT, WARREN R                   215 MERLOT LN                   P O BOX 115                                               ST ALBANS       MO   63073‐0115
SCHARLOTT, WARREN R                   PO BOX 115                      215 MERLOT LANE                                           SAINT ALBANS    MO   63073‐0115
SCHARLOTTEE PERKINS                   1507 CEDAR BLUFF TRL                                                                      MARIETTA        GA   30062‐3234
SCHARMAINE N BURNS                    2315 BRACKEN PL                                                                           DAYTON          OH   45459
SCHARMAN CLIFFORD                     SCHARMAN, CLIFFORD              5028 WISCONSIN AVENUE                                     WASHINGTON      DC   20016
SCHARMAN, CLIFFORD                    CONNOLLY RODGERS AND SCHARMAN   5028 WISCONSIN AVENUE                                     WASHINGTON      DC   20016
                                      PLLC
SCHARNAKAU, ROBERT L                  4179 KILGORE RD                                                                           KENOCKEE        MI   48006‐3814
SCHARNAKAU, SHARON K                  4190 LEVALLEY RD APT 5                                                                    COLUMBIAVILLE   MI   48421‐9146
SCHARNHORST, BARBARA J                854 DU PRE CT                                                                             SAINT PETERS    MO   63376‐2347
SCHARNHORST, DOROTHY                  1039 EAST MAIN STREET                                                                     BUFFALO         MO   65622‐5426
SCHARNHORST, G A                      1039 EAST MAIN STREET                                                                     BUFFALO         MO   65622‐5426
SCHARNHORST, JANETTE E                1475 FLAMINGO DR LOT 309                                                                  ENGLEWOOD       FL   34224‐4659
SCHARNITZKE, DORIS I                  201 HUNT ST APT 212                                                                       CLERMONT        FL   34711‐2486
SCHARNOTT, ROBERT J                   9428 W CEDAR HILL CIR N                                                                   SUN CITY        AZ   85351‐1370
SCHARNOWSKE, JACK                     2906 N 300 E                                                                              ANDERSON        IN   46012‐9413
SCHARNOWSKE, MARY C                   2906 N 300 E                                                                              ANDERSON        IN   46012‐9413
SCHARNWEBER CAROLE                    50801 MIDDLE RIVER DRIVE                                                                  MACOMB          MI   48044‐1214
SCHARNWEBER, KATHRYN A                2184 E HYDE RD                                                                            SAINT JOHNS     MI   48879‐9434
SCHARNWEBER, MICHAEL L                605 SHADY LN                                                                              CHINA           MI   48054‐4186
SCHAROUN WILLIAM M (358167)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                                      STREET, SUITE 600
SCHAROUN, MARION
SCHAROUN, WILLIAM M                   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                                      STREET, SUITE 600
SCHARPF, GLEN                         18324 MANORWOOD W                                                                         CLINTON TWP     MI 48038‐1255
SCHARPHORN, CARL J                    5011 MAPLE ISLAND RD                                                                      TWIN LAKE       MI 49457‐9626
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Name                       Address1                            Address2           Address3     Address4         City               State Zip
SCHARPHORN, KENNETH L      23533 CUTLER RD                                                                      NEWAYGO             MI 49337‐9303
SCHARPHORN, RICHARD A      5655 72ND AVE                                                                        HUDSONVILLE         MI 49426‐9510
SCHARPHORN, ROSE H         2500 BRETON WOODS DR SE UNIT 3044                                                    GRAND RAPIDS        MI 49512‐9158
SCHARPHORN, ROSE H         2500 BRETON WOODS DR                APT 3044                                         GRAND RAPIDS        MI 49512
SCHARPING, CHERYL          APT 3                               20 BEACON AVENUE                                 BIDDEFORD           ME 04005‐2959
SCHARPING, GENE C          45 SMOKE RIDGE DR                                                                    MURPHY              NC 28906
SCHARR, COLLEEN S          501 S EAGLE RD                                                                       HAVERTOWN           PA 19083‐3318
SCHARRER JR, DAVID A       3915 ORCHARD HILL DR                                                                 BLOOMFIELD HILLS    MI 48304‐3245
SCHARRER JR, RAYMOND       1943 EVERETT AVE                                                                     YOUNGSTOWN          OH 44514‐1021
SCHARRER, ALLEN W          13707 TISDEL AVE                                                                     CEDAR SPRINGS       MI 49319‐9795
SCHARRER, BENJAMIN D       15330 LAKEFIELD RD                                                                   HEMLOCK             MI 48626‐9730
SCHARRER, BENJAMIN DAVID   15330 LAKEFIELD RD                                                                   HEMLOCK             MI 48626‐9730
SCHARRER, BESSIE M         3849 PARWAY RD                                                                       ZELLWOOD            FL 32798‐9774
SCHARRER, CONRAD M         14045 N LEWIS RD                                                                     CLIO                MI 48420‐8811
SCHARRER, DAVID A          11321 BANCROFT CT                                                                    FENTON              MI 48430‐2485
SCHARRER, DAVID C          7109 E ATHERTON RD                                                                   DAVISON             MI 48423‐2403
SCHARRER, DAVID L          5320 S RAUCHOLZ RD                                                                   HEMLOCK             MI 48626‐9733
SCHARRER, DAVID LEON       5320 S RAUCHOLZ RD                                                                   HEMLOCK             MI 48626‐9733
SCHARRER, DELMAR H         3849 PARWAY RD                                                                       ZELLWOOD            FL 32798‐9774
SCHARRER, DOUGLAS A        7134 E ATHERTON RD                                                                   DAVISON             MI 48423‐2404
SCHARRER, ELIZABETH A      2009 MURRAY ST                                                                       GRAND BLANC         MI 48439‐9389
SCHARRER, ERIC             7109 E ATHERTON RD                                                                   DAVISON             MI 48423‐2403
SCHARRER, FANNIE G         2440 MEADOWBROOK LN                                                                  CLIO                MI 48420‐1950
SCHARRER, GLORYANN         5084 WYNDEMERE SQ                                                                    SWARTZ CREEK        MI 48473‐8893
SCHARRER, HAROLD E         10410 S BEYER RD                                                                     BIRCH RUN           MI 48415‐8427
SCHARRER, JACK W           2561 TAYLOR RD                                                                       COLUMBIA            TN 38401‐1410
SCHARRER, JOHN A           2440 MEADOWBROOK LN                                                                  CLIO                MI 48420‐1950
SCHARRER, KENNETH D        2918 MONTANA AVE                                                                     FLINT               MI 48506‐2452
SCHARRER, LEO E            3044 KERRY ST                                                                        MOUNT MORRIS        MI 48458‐8210
SCHARRER, LYLE G           5340 COTTAGE GROVE DR                                                                PRESCOTT            MI 48756‐9130
SCHARRER, MARGARET S       2561 TAYLOR RD                                                                       COLUMBIA            TN 38401‐1410
SCHARRER, MARY             3044 KERRY ST                                                                        MOUNT MORRIS        MI 48458‐8210
SCHARRER, MELWIN L         143 W 11 MILE RD                                                                     IRONS               MI 49644‐9177
SCHARRER, MICHAEL C        28484 THORNY BRAE RD                                                                 FARMINGTON HILLS    MI 48331‐3347
SCHARRER, MICHAEL E        12452 CANADA RD                                                                      BIRCH RUN           MI 48415‐9726
SCHARRER, MICHAEL EMIL     12452 CANADA RD                                                                      BIRCH RUN           MI 48415‐9726
SCHARRER, RANDALL L        10590 BUSCH RD                                                                       BIRCH RUN           MI 48415‐8009
SCHARRER, RICHARD E        10390 BLOCK RD                                                                       BIRCH RUN           MI 48415‐9789
SCHARRER, RICHARD M        2385 MEADOW ST                                                                       FLUSHING            MI 48433‐2531
SCHARRER, ROBERT J         40150 N TANGLE RIDGE WAY                                                             ANTHEM              AZ 85086‐2312
SCHARRER, SALLY J          11524 SADDLE DR                                                                      FOWLERVILLE         MI 48836‐9658
SCHARRER, TYRONE A         2858 ROSEWOOD ST                                                                     HUDSONVILLE         MI 49426‐9702
SCHARRER, VICTOR L         5255 GROVER DR                                                                       COLUMBIAVILLE       MI 48421‐8914
SCHARRON, LEE K            4828 REDAN ROAD #222                                                                 STONE MOUNTAIN      GA 30088
SCHARRON, LEE K            SPRING VALLEY STATION               PO BOX 19781                                     GREENSBORO          NC 27419‐9781
SCHARSTEIN, GLADYS         PO BOX 731                                                                           MANCHESTER          KY 40962‐0731
SCHARTNER, JAMES J         RTE #1 1333 HENKE RD                                                                 JANESVILLE          WI 53546
SCHARTOW, JAMES H          5060 SO. TWO MILE                                                                    BAY CITY            MI 48706
SCHARTZ, MINNIE L          PO BOX 2443                                                                          BLAIRSVILLE         GA 30514‐2443
SCHARTZER, CLIFFORD L      3350 BATH RD                                                                         PERRY               MI 48872‐9190
SCHARTZER, CLIFFORD T      3350 BATH RD                                                                         PERRY               MI 48872‐9190
SCHARTZER, CYNTHIA V       4825 BALLARD RD                                                                      LANSING             MI 48911‐2940
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Name                       Address1                        Address2                        Address3   Address4         City                State Zip
SCHARTZER, DENNIS E        6240 BILLWOOD HWY                                                                           POTTERVILLE          MI 48876‐7702
SCHARTZER, DOUGLAS L       8558 PINNEBOG RIVER DR                                                                      FOWLERVILLE          MI 48836‐8628
SCHARTZER, DOUGLAS L       4041 GRANGE HALL RD LOT 115                                                                 HOLLY                MI 48442‐1924
SCHARTZER, ROBERT A        4825 BALLARD RD                                                                             LANSING              MI 48911‐2940
SCHARTZER, ROBERT ARTHUR   4825 BALLARD RD                                                                             LANSING              MI 48911‐2940
SCHARTZER, ROBERT W        2531 WALNUT GROVE RD                                                                        GRAND LEDGE          MI 48837
SCHARVER, WILMA C          622 LAKE ORIENTA DR                                                                         ALTAMONTE SPRINGS    FL 32701‐6308
SCHASCHECK, FRANCIS G      3525 SENNE ST E                                                                             KALAMAZOO            MI 49048
SCHASCHECK, FRANCIS G      6465 E FRANCES RD                                                                           MOUNT MORRIS         MI 48459‐9701
SCHASCHL, SHIRLEY J        5190 KIMBERLY DR                                                                            GRAND BLANC          MI 48439‐5156
SCHASSBERGER CHRISTINA     SCHASSBERGER, CHRISTINA
SCHATKO EDWARD (667816)    DELUCA AARON J PLLC             21021 SPRING BROOK PLAZA DR                                 SPRING               TX   77379‐5229
SCHATKO, EDWARD            DELUCA & NEMEROFF LLP           21021 SPRINGBROOK PLAZA DRIVE                               SPRING               TX   77379‐5227
                                                           SUITE 150
SCHATOW, HELEN R           2136 S LONG LAKE RD                                                                         FENTON              MI    48430‐1456
SCHATOW, THOMAS J          11321 N LAKE DR                                                                             FENTON              MI    48430‐8813
SCHATOW, VERN V            32755 FIRWOOD DR                                                                            WARREN              MI    48088‐1575
SCHATTENBERG, HAROLD F     5108 BRITTANY DR S APT 704                                                                  SAINT PETERSBURG    FL    33715
SCHATTERMAN, JO F          707 DEEP WOOD CT                                                                            ELK GROVE VILLAGE   IL    60007‐7102
SCHATTILLY, CHARLES D      7070 SHABBONA RD                                                                            DEFORD              MI    48729‐9711
SCHATTLE, WALTER P         523 SUMMIT DR                                                                               COPPER CANYON       TX    75077‐8538
SCHATTLE, WALTER PAUL      523 SUMMIT DR                                                                               COPPER CANYON       TX    75077‐8538
SCHATTMAIER, CARL W        79300 FISHER RD                                                                             BRUCE TWP           MI    48065‐1110
SCHATTNER, BILLY G         2117 W 9TH ST                                                                               ANDERSON            IN    46016‐2718
SCHATTNER, LANCE           2517 E 9TH ST                                                                               ANDERSON            IN    46012‐4405
SCHATTNER, LANCE R         2517 E 9TH ST                                                                               ANDERSON            IN    46012‐4405
SCHATTNER, RICHARD L       PO BOX 842                                                                                  NASHVILLE           IN    47448‐0842
SCHATZ JR, JOHN F          7101 E RICHFIELD RD                                                                         DAVISON             MI    48423‐8976
SCHATZ, ALICE A            985 COLONIAL DR                                                                             AVON                IN    46123‐9753
SCHATZ, ALLIE M            6445 FALKENBURY RD                                                                          NORTH BRANCH        MI    48461‐9772
SCHATZ, BRIAN G            1023 MOUNTAINSIDE DR                                                                        LAKE ORION          MI    48362‐3477
SCHATZ, CECIL R            32001 CHERRY HILL RD APT 637                                                                WESTLAND            MI    48186‐7925
SCHATZ, DAVID D            10401 AUSTIN RD                                                                             JACKSON             MI    49201‐9039
SCHATZ, DAVID R            6445 FALKENBURY RD                                                                          NORTH BRANCH        MI    48461‐9772
SCHATZ, DEAN               1815 CLARA MATHIS RD                                                                        SPRING HILL         TN    37174‐2541
SCHATZ, EMIL H             1418 EDEN GARDENS DR                                                                        FENTON              MI    48430‐9605
SCHATZ, EMIL HEINRICH      1418 EDEN GARDENS DR                                                                        FENTON              MI    48430‐9605
SCHATZ, EMMA               5126 WOODHAVEN DR                                                                           FLINT               MI    48504‐1282
SCHATZ, GARY A             7255 TOWNSEND RD                                                                            APPLEGATE           MI    48401‐9655
SCHATZ, GEORGE L           1112 SAPPINGTON BRIDGE RD                                                                   SULLIVAN            MO    63080‐2540
SCHATZ, GROVER E           347 CHERRYLAND ST                                                                           AUBURN HILLS        MI    48326‐3352
SCHATZ, JEANETTE F         1405 WOODFIELD DR                                                                           NASHVILLE           TN    37211‐6856
SCHATZ, JOHN T             1044 INCA TRL                                                                               LAKE ORION          MI    48362‐1422
SCHATZ, KAREN J            3105 CAMPBELL DR                                                                            SPRINGFIELD         OH    45503‐6664
SCHATZ, KATHLEEN M         11061‐21 MILE ROAD                                                                          SHELBY TOWNSHIP     MI    48317
SCHATZ, MATHEW W           PO BOX 228                                                                                  MILLERSBURG         MI    49759‐0228
SCHATZ, PAUL A             316 W HAMMEL ST                                                                             MONTEREY PARK       CA    91754‐7130
SCHATZ, PAUL A             316 W HAMMEL                                                                                MONTEREY PARK       CA    91754‐7130
SCHATZ, RANDY N            1471 BONHAM PKWY                                                                            LANTANA             TX    76226‐6435
SCHATZ, RICHARD T          131 ONEIDA ST APT 2                                                                         PONTIAC             MI    48341‐1639
SCHATZ, ROSELLA            2435 STANFIELD DRIVE                                                                        PARMA               OH    44134‐5001
SCHATZ, SHIRLEY A          127 DOVE HAVEN DR                                                                           SIMPSONVILLE        SC    29681‐5768
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Name                     Address1                            Address2                         Address3   Address4         City              State Zip
SCHATZ, WAYNE W          3105 CAMPBELL DR                                                                                 SPRINGFIELD        OH 45503‐6664
SCHATZ, WILBUR J         1340 STATE PARK RD                                                                               ORTONVILLE         MI 48462‐9775
SCHATZER, CARL D         1303 CASS AVE                                                                                    BAY CITY           MI 48708‐8736
SCHATZER, DANIEL L       4179 LAPORTE RD                                                                                  SAINT LOUIS        MI 48880‐9314
SCHATZER, KENNETH R      2654 MIDLAND RD                                                                                  BAY CITY           MI 48706‐9201
SCHATZLE, ARTHUR         6712 LAKESHORE RD                                                                                LAKEPORT           MI 48059‐2217
SCHATZLE, EUGENE D       8550 N GRANBY AVE APT 135                                                                        KANSAS CITY        MO 64154‐1267
SCHATZLEY II, THOMAS K   16 S MAIN ST                                                                                     PLEASANT HILL      OH 45359
SCHATZLEY, BEATRICE J    PO BOX 44                                                                                        PLEASANT HILL      OH 45359
SCHATZLEY, JAMES L       6244 LAKEVIEW S                                                                                  SAGINAW            MI 48603‐4251
SCHATZMAN, THOMAS J      208 SPRINGMONT DR                                                                                READING            PA 19610
SCHAU, ARLENE J          212 ROSEBANK LN                                                                                  WEST LAFAYETTE     IN 47906‐8613
SCHAU, CHARLES A         212 ROSEBANK LN                                                                                  WEST LAFAYETTE     IN 47906‐8613
SCHAUB CHERYL            86 MISTY TRCE                                                                                    OTTO               NC 28763‐8142
SCHAUB HENRY V           SCHAUB, HENRY V                     640 S SAN VICENTE BLVD STE 230                               LOS ANGELES        CA 90048‐4654
SCHAUB JR, CLIFFORD L    4639 HAMILTON RICHMOND RD                                                                        OXFORD             OH 45056‐9460
SCHAUB PATRICK E         PO BOX 702337                                                                                    PLYMOUTH           MI 48170‐0979
SCHAUB, ANITA L          7633 ROCKFIELD DR                                                                                LAS VEGAS          NV 89128‐7927
SCHAUB, BERNARD D        533 MARYLAND AVE NE                                                                              GRAND RAPIDS       MI 49503‐2106
SCHAUB, BERNARD F        930 OAKVIEW DR                                                                                   SAGINAW            MI 48604‐2173
SCHAUB, CHLOADA F        5905 NW HUTSON RD                                                                                KANSAS CITY        MO 64151‐2837
SCHAUB, CHLOADA F        203 STAR ST                                                                                      BONHAM             TX 75418‐4241
SCHAUB, DAVID E          410 LEISURE LN                                                                                   GREENWOOD          IN 46142‐8313
SCHAUB, HARRY K          GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                 SAGINAW            MI 48604‐2602
                                                             260
SCHAUB, HARRY W          9345 S FRANCIS RD                                                                                DEWITT            MI   48820‐9139
SCHAUB, JACK D           403 REED ST                                                                                      NASHVILLE         MI   49073‐9334
SCHAUB, JACK D.          403 REED ST                                                                                      NASHVILLE         MI   49073‐9334
SCHAUB, JOSEPH B         4 OLD WELL LN                                                                                    DALLAS            PA   18612‐1733
SCHAUB, KEITH T          713 REPUBLIC AVE                                                                                 ALMA              MI   48801‐2052
SCHAUB, KURT J           1123 REMINGTON TRL                                                                               COLUMBIA          TN   38401‐9052
SCHAUB, LARRY F          1184 WINDING WAY                                                                                 CHARLOTTE         MI   48813‐9752
SCHAUB, LEE B            81 E CANTERBURY CT                                                                               PHOENIX           AZ   85022‐4203
SCHAUB, RICHARD R        7633 ROCKFIELD DR                                                                                LAS VEGAS         NV   89128‐7927
SCHAUB, ROBERT C         3359 13 MILE RD NE                                                                               ROCKFORD          MI   49341‐9140
SCHAUB, RONALD JOHN      COON & ASSOCS BRENT                 917 FRANKLIN ST STE 210                                      HOUSTON           TX   77002‐1751
SCHAUB, VICTOR S         8287 SW 115TH LN                                                                                 OCALA             FL   34481‐5070
SCHAUB, WILLIAM A        7205 MAGNOLIA LN                                                                                 WATERFORD         MI   48327‐4421
SCHAUB, WILLIAM C        6427 SAINT JEAN DR                                                                               INDIANAPOLIS      IN   46217‐3860
SCHAUBEL, RAY C          2100 SMOKE DRIFT TRL                                                                             HASTINGS          MI   49058‐8353
SCHAUBERT, MAUREEN J     116 TIOGA DR                                                                                     ROCHESTER         NY   14616‐2210
SCHAUBERT, MAUREEN J     116 TIOGA DRIVE                                                                                  ROCHESTER         NY   14616‐2210
SCHAUBLIN, MICHAEL J     677 WINDSONG DR                                                                                  ROCHESTER HILLS   MI   48307‐3591
SCHAUBROECK, JAMES A     260 SQUIRE DALE LN                                                                               ROCHESTER         NY   14612‐3128
SCHAUDER, RICHARD J      2 MAPLE RD                                                                                       WARREN            RI   02885
SCHAUER JR, ARTHUR R     620 E SAINT MARY ST APT 216                                                                      MILTON            WI   53563‐1796
SCHAUER JR, GEORGE W     6636 CALDERO CT                                                                                  DAYTON            OH   45415‐1542
SCHAUER JR, OSCAR        9786 CINDER HILL RD                                                                              MANCELONA         MI   49659‐8926
SCHAUER, ANNA E          5000 GRACELAND BLVD APT 111                                                                      RACINE            WI   53406‐3655
SCHAUER, BARBARA W       242 CRANBURY STATION RD                                                                          MONROE TWP        NJ   08831‐5942
SCHAUER, CINDY K         8241 THOREAU LN                                                                                  FORT WORTH        TX   76120‐5065
SCHAUER, HELEN F         2952 DAKOTA DR                                                                                   JANESVILLE        WI   53545‐2217
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SCHAUER, JAMES A                 2813 DAKOTA DR                                                                                      JANESVILLE          WI 53545‐2296
SCHAUER, JOSEPH E                4070 RED PINE LN                                                                                    SAINT AUGUSTINE     FL 32086‐5876
SCHAUER, MICHAEL A               3521 N EDGEWOOD DR                                                                                  JANESVILLE          WI 53541
SCHAUER, OSCAR G                 PO BOX 529                                                                                          GAINES              MI 48436‐0529
SCHAUER, OSCAR G.                219 E MCCONNEL                                                                                      GAINES              MI 48436
SCHAUER, PHILLIP R               1218 RUGER AVENUE                                                                                   JANESVILLE          WI 53545‐2508
SCHAUER, WILLIAM J               8241 THOREAU LN                                                                                     FORT WORTH          TX 76120‐5065
SCHAUER, WILLIAM R               331 PINEDALE DR                                                                                     REIDSVILLE          NC 27320‐4526
SCHAUERS JOHN JR                 SCHAUERS, JOHN                   30 E BUTLER AVE                                                    AMBLER              PA 19002‐4514
SCHAUFELBERGER, NANCY R          10760 GRASSY KNOLL CT                                                                               BRIGHTON            MI 48114‐9094
SCHAUFELBERGER, RICHARD E        10760 GRASSY KNOLL CT                                                                               BRIGHTON            MI 48114‐9094
SCHAULE, JOHN P                  1466 BOYD ST                                                                                        TROY                MI 48083‐5406
SCHAULE, ROBERT C                4448 REILLY DR                                                                                      TROY                MI 48085‐4917
SCHAUM, MARGARET A               126 PENNEMAN AVE                                                                                    ELIZABETH           PA 15037‐1541
SCHAUMAN, KEITH R                7479 PARADISE DR                                                                                    GRAND BLANC         MI 48439‐7100
SCHAUMAN, RAYMOND P              4191 MCCARTY RD APT 10                                                                              SAGINAW             MI 48603‐9315
SCHAUMAN, ROBERT J               652 W SCHLEIER ST                                                                                   FRANKENMUTH         MI 48734‐1060
SCHAUMBERG, MARY E               142 DALEFIELD LOOP                                                                                  CROSSVILLE          TN 38558‐7426
SCHAUMBURG AUTOMEDICS INC.       503 LUNT AVE                                                                                        SCHAUMBURG           IL 60193‐4409
SCHAUMLOEFFEL, RICHARD N         28 E ROUEN DR                                                                                       CHEEKTOWAGA         NY 14227‐3124
SCHAUMLOEFFEL, RICHARD NORMAN    28 E ROUEN DR                                                                                       CHEEKTOWAGA         NY 14227‐3124
SCHAUN GLORE                     7921 E 425 N                                                                                        MUNCIE              IN 47303
SCHAUPNER, SALLY L               1251 MANORWOOD CIR                                                                                  BLOOMFIELD HILLS    MI 48304‐1530
SCHAURER, CHAD E                 100 SUNRISE CIR                                                                                     EATON               OH 45320‐1643
SCHAURER, CHAD EVERETT           100 SUNRISE CIR                                                                                     EATON               OH 45320‐1643
SCHAURER, CHARLES E              7222 PHILLIPSBURG‐UNION RD                                                                          BROOKVILLE          OH 45309‐8663
SCHAURER, GREGORY A              8945 FREDERICK GARLAND RD                                                                           ENGLEWOOD           OH 45322‐9654
SCHAURER, NED F                  60160 CUSTER VALLEY RD                                                                              COLON               MI 49040‐9606
SCHAURER, RICHARD E              4490 SWEET POTATO RIDGE RD                                                                          UNION               OH 45322‐8703
SCHAURER, ROSEMARY S             8945 FREDERICK GARLAND RD                                                                           UNION               OH 45322‐9654
SCHAURER, SCOTT A                1338 STATE ROUTE 503                                                                                ARCANUM             OH 45304
SCHAUS, BARBARA H.               148 IRVING TER                                                                                      BUFFALO             NY 14223‐2753
SCHAUSS, CATHERINE               13728 JACK PINE LANE                                                                                SHELBY TOWNSHIP     MI 48315
SCHAUSS, EDWARD P                25245 BILLBERRY CT                                                                                  LOS MOLINOS         CA 96055‐9675
SCHAUTAN D REED                  246 MARLAY ROAD                                                                                     DAYTON              OH 45405‐1830
SCHAUTT, GERT G                  11027 DILL CT                                                                                       STERLING HTS        MI 48312‐1234
SCHAUTZ, GARY C                  310 CORUNNA AVE                                                                                     OWOSSO              MI 48867‐3506
SCHAUWECKER, BRENDA K            1 DEERFIELD CIR                                                                                     CARMEL              IN 46032‐7928
SCHAVE JR, JOHN                  PO BOX 121                       5800 BRINING RD                                                    PORT HOPE           MI 48468‐0121
SCHAVE, PAUL F                   9240 WIGGINS RD                                                                                     HOWELL              MI 48855‐9215
SCHAVELIN, GRACE V               256 ALLOWAY ALDINE RD                                                                               WOODSTOWN           NJ 08098‐2048
SCHAVELIN, GRACE V               256 ALLOWAY‐ALDINE RD                                                                               WOODSTOWN           NJ 08098‐2048
SCHAVEY, JAMES L                 7349 S LAKE RD                                                                                      PENTWATER           MI 49449‐8606
SCHAVEY, LEWIS E                 4422 S US HIGHWAY 27                                                                                SAINT JOHNS         MI 48879‐9105
SCHAVWEKER KENNETH (ESTATE OF)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD          OH 44067
(489224)                                                          PROFESSIONAL BLDG
SCHAWANNA D COOPER               601 W 8TH ST                                                                                        MUNCIE             IN   47302‐3114
SCHAWE, BRUCE P                  485 E SOUTH ST STE 101                                                                              COLLIERVILLE       TN   38017‐2766
SCHAWE, MARTHA A                 8680 N LITTLE OAK LN.                                                                               TUSCON             AZ   85704‐0939
SCHAWK INC                       ROBERT COLLIER                   SCHAWK!                         6555 SIMS DRIVE                    STERLING HEIGHTS   MI   48313
SCHAWK USA INC                   6555 SIMS DR                                                                                        STERLING HEIGHTS   MI   48313‐3724
SCHEADLER, JAMES A               84 SHAWNEE DR                                                                                       SARDINIA           OH   45171‐8105
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Name                              Address1                         Address2                       Address3   Address4                City            State Zip
SCHEAFFER, CAROLYN E              2716 NW 4TH AVE                                                                                    GAINESVILLE      FL 32607‐2672
SCHEALL, CALVIN C                 611 W COURT ST STE 203           C/O DENISE R KETCHMARK                                            FLINT            MI 48503‐5000
SCHEALL, RICHARD D                275 SAGANING RD                                                                                    BENTLEY          MI 48613‐9629
SCHEAR, NORMAN W                  3141 S EAGLE RIDGE DR                                                                              ROCKY MOUNT      NC 27804‐7882
SCHEAR, TERRY L                   4151 TIMBER BEND PL                                                                                DAYTON           OH 45424‐8011
SCHEARER, ROBERT G                23 S BELFAIR PL                                                                                    THE WOODLANDS    TX 77382‐5302
SCHEATZLE, STEPHEN P              2894 CHELTENHAM CT                                                                                 THE VILLAGES     FL 32162‐6337
SCHEBELL, DOROTHY E               241 FALCONER ST                                                                                    N TONAWANDA      NY 14120‐5505
SCHEBELL, JOSEPH M                90 CREEKSIDE DR                                                                                    TONAWANDA        NY 14150‐1436
SCHEBIG, EMMA M                   536 WILLOW DR SE                                                                                   WARREN           OH 44484‐2457
SCHECHTER JOEL A LAW OFFICES OF   53 W JACKSON BLVD STE 1025                                                                         CHICAGO           IL 60604‐3650
SCHECHTER, BERTON                 1410 MOYER RD                                                                                      PRESCOTT         AZ 86303‐5055
SCHECHTER, PAUL                   73A FRANKLIN LN                                                                                    WHITING          NJ 08759‐6341
SCHECK, DENNIS N                  1009 5TH ST                                                                                        SANDUSKY         OH 44870‐4010
SCHECK, DOROTHY J                 539 KELLY STREET                                                                                   DESTIN           FL 32541‐1723
SCHECK, DOROTHY J                 539 KELLY ST                                                                                       DESTIN           FL 32541‐1723
SCHECK, JAMES W                   10194 HIDDENKNOLL DR                                                                               INDEPENDENCE     KY 41051‐9655
SCHECK, KATHY F                   342 E LYONS ST APT 8                                                                               SCHOOLCRAFT      MI 49087‐9482
SCHECK, PATRICIA
SCHECKELHOFF, BETTY B             1930 CLOVERBROOK DR.                                                                               MINERAL RIDGE   OH   44440‐9519
SCHECKELHOFF, CARL R              D‐555 RD 16C                                                                                       NEW BAVARIA     OH   43548
SCHECODNIC JR, NICK J             3749 WILLOW STONE LN                                                                               WAKE FOREST     NC   27587‐3433
SCHECTER ROBERT (655210)          WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK        NY   10038
SCHECTER, ROBERT                  WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK        NY   10038
SCHEDALKE JURGEN AND LISA         TANNEN ALLEE 51C                                                           21465 REINBEK GERMANY
SCHEDER, ROBERT A                 2134 JOCKEY HOLLOW DR NW D                                                                         KENNESAW        GA   30152
SCHEDIN, ARNOLD C                 59158 SHAFER BROS RD                                                                               THREE RIVERS    MI   49093‐8211
SCHEDIN, SONJA K                  1660 OLIVER SPRINGS HWY                                                                            CLINTON         TN   37716‐5246
SCHEDLBOWER, CHARLES F            8264 W HURON CT                                                                                    WHITE LAKE      MI   48386‐2512
SCHEDLBOWER, EDWARD J             10032 WALNUT HILL DR                                                                               DAVISBURG       MI   48350‐1161
SCHEDLBOWER, ELEANOR JANE         8264 W HURON CT                                                                                    WHITE LAKE      MI   48386‐2512
SCHEDLBOWER, GERALD L             49 W END AVE                                                                                       WATERFORD       MI   48328‐3717
SCHEDLER, EUGENE H                614 SUNNY LN                                                                                       THIENSVILLE     WI   53092‐1449
SCHEE, MICHAEL                    11200 NW 58TH ST                                                                                   PARKVILLE       MO   64152‐3206
SCHEEF, JOHN
SCHEEFF, GARY E                   1817 STATE ROUTE 83 UNIT 434                                                                       MILLERSBURG     OH   44654‐8934
SCHEEHLE, BRUCE A                 6850 FRANK LLOYD WRIGHT AVE                                                                        MIDDLETON       WI   53562‐1724
SCHEEL, DONALD G                  1928 W ORANGEWOOD AVE APT 23                                                                       PHOENIX         AZ   85021‐7843
SCHEEL, GLENN E                   5441 BERKELEY RD                                                                                   SANTA BARBARA   CA   93111‐1613
SCHEEL, HERBERT                   1300 E WEST MAPLE RD APT 19                                                                        WALLED LAKE     MI   48390‐3707
SCHEEL, JEROLD W                  5615 PEBBLESHIRE RD                                                                                BLOOMFIELD      MI   48301‐1113
SCHEEL, KATHRYN O                 4714 LEFFINGWELL RD                                                                                CANFIELD        OH   44406‐9130
SCHEEL, SHIRLEY                   2432 JACKSON BLVD                                                                                  HIGHLAND        MI   48356‐1544
SCHEEL, THOMAS P                  1901 ROSEWOOD DR                                                                                   MANSFIELD       OH   44906‐1768
SCHEEL, THOMAS P                  906 TANGLEWOOD DR N                                                                                ONTARIO         OH   44906
SCHEELE, GERALD A                 8712 SPEND‐A‐BUCK CRT                                                                              INDIANAPOLIS    IN   46217
SCHEELE, JAMES D                  #A                               984 MCDONALD DRIVE NORTHEAST                                      SUGARCREEK      OH   44681‐7692

SCHEELE, JAMES D                  984A MCDONALD DR                                                                                   NE SUGARCREEK   OH   44681
SCHEELE, STELLA                   228 N. STATE STREET                                                                                ZEELAND         MI   49464‐1215
SCHEELE, STELLA                   228 N STATE ST                                                                                     ZEELAND         MI   49464‐1215
SCHEELER, CINDY                   7609 W SALEM SCHOOL RD                                                                             DUNLAP          IL   61525‐9719
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Name                            Address1                       Address2                        Address3              Address4               City                State Zip
SCHEELER, DOROTHY R             368 BROAD LEAF LN SE                                                                                        BOLIVIA              NC 28422‐8089
SCHEELK, ROBERT J               PO BOX 21361                                                                                                WICKENBURG           AZ 85358‐6361
SCHEELY JR, HAROLD W            7910 BERTHA AVE                                                                                             PARMA                OH 44129‐3112
SCHEEN, MARGARET J              3461 BUSS DR                                                                                                COMMERCE TOWNSHIP    MI 48390‐1213
SCHEER DALE                     1372 W CARDINAL WAY                                                                                         CHANDLER             AZ 85286‐4362
SCHEER MOTORS, INCORPORATED     829 S I 75 BUSINESS LOOP                                                                                    GRAYLING             MI 49738‐7420
SCHEER MOTORS, INCORPORATED     BRADLEY SCHEER                 829 S I 75 BUSINESS LOOP                                                     GRAYLING             MI 49738‐7420
SCHEER SR, JOHN K               13154 LAKE SHORE DR                                                                                         FENTON               MI 48430‐1018
SCHEER WILLIAM                  PO BOX 841                                                                                                  TESUQUE              NM 87574‐0841
SCHEER, BARBARA F               PO BOX 154                                                                                                  MAYVILLE             MI 48744
SCHEER, DALE B                  1372 W CARDINAL WAY                                                                                         CHANDLER             AZ 85286‐4362
SCHEER, GAYLE A                 13013 WELCOME LN                                                                                            BURNSVILLE           MN 55337‐3843
SCHEER, GLADYS A                8413 W 104TH ST                                                                                             MINNEAPOLIS          MN 55438‐1933
SCHEER, GUNTER E                8950 E YUCCA BLOSSOM DR                                                                                     GOLD CANYON          AZ 85218‐7087
SCHEER, INGE                    8950 E YUCCA BLOSSOM DR                                                                                     GOLD CANYON          AZ 85218‐7087
SCHEER, LEO F                   4620 TRAILS END TRL                                                                                         HOUSE SPRINGS        MO 63051‐2093
SCHEER, LORN R                  809 ILLINOIS AVE                                                                                            MOUNTAIN HOME        AR 72653‐2214
SCHEER, MICHELLE                82 BANK ST APT 3                                                                                            NEW YORK             NY 10014‐5926
SCHEER, PAUL H                  1751 PARKVIEW AVE                                                                                           WEST BLOOMFIELD      MI 48324‐1265
SCHEER, RICHARD F               PO BOX 9022                    RICHARD SCHEER C/O GM                                                        WARREN               MI 48090‐9022
SCHEER, ROBERT                  272 COACHMAN DR APT 3A                                                                                      TROY                 MI 48083‐4730
SCHEER, WILDEN R                4180 SUNNY LAKE DR                                                                                          HARTLAND             MI 48353‐1430
SCHEERENS, GLEN A               57 S RD                                                                                                     SCOTTSVILLE          NY 14546
SCHEERENS, LARRY R              18 SUNNYSIDE LN                                                                                             NORTH CHILI          NY 14514‐1126
SCHEERENS, SHIRLEY              1769 DAY RD                                                                                                 WAYLAND              NY 14572‐9572
SCHEERENS, WILFORD D            7 MEADOWLARK DR                                                                                             FAIRPORT             NY 14450‐2823
SCHEERER, BERNARD G             4515 HAMLETS GROVE DR                                                                                       SARASOTA             FL 34235‐2233
SCHEERER, ORA D                 14502 W WINDCREST DR                                                                                        SUN CITY WEST        AZ 85375‐5918
SCHEERES, ELIZABETH E           4343 CHEVENSTON RD                                                                                          DECKERVILLE          MI 48427
SCHEERES, ELIZABETH E           4343 CHEVINGTON RD                                                                                          DECKERVILLE          MI 48427‐9314
SCHEERHORN, DANIEL J            4302 N 168TH AVE                                                                                            HOLLAND              MI 49424‐5662
SCHEERSCHMIDT, FRED I           62 ADAMS ST                                                                                                 JAMESTOWN            OH 45335‐1636
SCHEERSCHMIDT, FRED I           355 HOLLYWOOD BLVD                                                                                          XENIA                OH 45385‐1231
SCHEESSELE, GREGORY M           49734 REGATTA ST                                                                                            CHESTERFIELD         MI 48047‐4315
SCHEESSELE, KATHLEEN H          49734 REGATTA ST                                                                                            CHESTERFIELD         MI 48047‐4315
SCHEETER ALVIN                  3030 GOLF TER                                                                                               DANVILLE              IL 61832‐1243
SCHEETZ, CHARLES J              147 S CLEVELAND AVE                                                                                         NILES                OH 44446‐3769
SCHEETZ, FREDERICK M            5664 TARPON CT                                                                                              MILTON               FL 32583‐9541
SCHEETZ, NANCY C                5131 WOODHAVEN CT                                                                                           FLINT                MI 48532‐4195
SCHEETZ, PATRICIA L             5664 TARPON CT                                                                                              MILTON               FL 32583‐9541
SCHEETZ, PAUL L                 230 LAKE POINTE CIR                                                                                         CANFIELD             OH 44406‐8773
SCHEETZ, WILLIAM A              11 ABES WAY                                                                                                 ELIZABETH            PA 15037‐3024
SCHEFENACKER AG                 ALFRED SCHEFENACKER STR 1                                                            SCHWAIKHEIM BW 71409
                                                                                                                     GERMANY
SCHEFENACKER LIGHTING SYSTEMS   SHANNON MILLER                 C/O GEOLOGISTICS AMERICAS INC   11600 METRO AIRPORT                          TROY                MI 48084
                                                                                               CENTER DR
SCHEFENACKER VISION SYSTEMS     1855 BUSHA HWY                                                                                              MARYSVILLE          MI 48040‐1892
SCHEFENACKER/HUNGARY            SZABADSAG U. 35                                                                      MOSONSZOLNOK HG 9245
                                                                                                                     HUNGARY
SCHEFF, LUBEN                   17819 DRACENA CIR                                                                                           NORTH FT MYERS       FL   33917‐2055
SCHEFFEL, CARL M                15 LOCKSLEY CT                                                                                              BEDFORD              IN   47421‐9230
SCHEFFER, BARBARA J             716 FORBES ST                                                                                               EAST HARTFORD        CT   06118‐1916
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SCHEFFER, FREDERIC FRANK          BOONE ALEXANDRA               205 LINDA DR                                          DAINGERFIELD          TX 75638‐2107
SCHEFFER, JAMES S                 219 N FRANCISCO RD                                                                  GRASS LAKE            MI 49240‐9216
SCHEFFER, JAMES STEVEN            219 N FRANCISCO RD                                                                  GRASS LAKE            MI 49240‐9216
SCHEFFER, JOSEPH GERALD           728 RIVERSIDE DR                                                                    LINDEN                MI 48451‐8957
SCHEFFER, MARCUS G                7330 KANAPOLIS DR                                                                   CROSSVILLE            TN 38572‐3503
SCHEFFER, ROBERT E                115 MARY LOUISE CT                                                                  FORT MILL             SC 29715‐2509
SCHEFFERT, BETH E                 1282 GLENVIEW RD                                                                    TOLEDO                OH 43614
SCHEFFLER LINDA                   RR 1 BOX 9                                                                          HITCHCOCK             OK 73744‐9705
SCHEFFLER, DALE W                 5417 COLE RD                                                                        SAGINAW               MI 48601‐9760
SCHEFFLER, DAVID A                PO BOX 276                                                                          MORRICE               MI 48857‐0276
SCHEFFLER, GENEIEVE               5420 N DIXIE HWY                                                                    NEWPORT               MI 48166‐9507
SCHEFFLER, IRENE                  207 COUNTRY CLUB DR                                                                 SAINT CLAIR SHORES    MI 48082‐1058
SCHEFFLER, JAMES A                5328 WILSON BURT RD                                                                 BURT                  NY 14028‐9732
SCHEFFLER, JAMES E                11875 SHAFTSBURG RD                                                                 LAINGSBURG            MI 48848‐9732
SCHEFFLER, JIMMY A                6269 HUMPHREY DR                                                                    HALE                  MI 48739‐9044
SCHEFFLER, JIMMY ALFRED           6269 HUMPHREY DR                                                                    HALE                  MI 48739‐9044
SCHEFFLER, JOHN D                 6085 BIRCH RUN RD                                                                   BIRCH RUN             MI 48415
SCHEFFLER, JOHN M                 9703 SHAFTSBURG RD                                                                  LAINGSBURG            MI 48848‐9731
SCHEFFLER, LAWRENCE H             5739 STOW CANYON RD                                                                 GOLETA                CA 93117‐2115
SCHEFFLER, PAUL L                 11400 WILSON ST                                                                     DEWITT                MI 48820‐9269
SCHEFFLER, RICHARD A              1843 ELSIE ST                                                                       SAGINAW               MI 48601‐4951
SCHEFFLER, RICHARD H              1939 CORDERO CT                                                                     THE VILLAGES          FL 32159‐8566
SCHEFFLER, ROBERT D               619 N WATKINS                                                                       PERRY                 MI 48872‐9103
SCHEFFLER, RONALD G               34021 TOMAHAWK DR                                                                   WESTLAND              MI 48185‐2742
SCHEFFLER, RUTH E                 622 HILL ST LOT 20B                                                                 TIPTON                IN 46072‐1131
SCHEFFLER, TIM W                  3569 BUSCH RD                                                                       BIRCH RUN             MI 48415‐9017
SCHEFFLER, TIM WALTER             3569 BUSCH RD                                                                       BIRCH RUN             MI 48415‐9017
SCHEFFLER, WALTER L               10833 MOORISH RD                                                                    BIRCH RUN             MI 48415‐8460
SCHEFFLER, WILLIAM A              236 ELMWOOD DR                                                                      CORUNNA               MI 48817‐1131
SCHEFKE, ELAINE L                 4204 DOGWOOD BLVD                                                                   CLARKSTON             MI 48348‐1339
SCHEFKE, JEROME L                 197 LAKESHORE CIR                                                                   OXFORD                MI 48371‐6303
SCHEFKE, RICHARD D                1362 RED BARN DR                                                                    OXFORD                MI 48371‐6038
SCHEFKE, RUSSELL R                41858 GAINSLEY DR                                                                   STERLING HTS          MI 48313‐2552
SCHEG, DANIEL P & DONNA & ALLEN   1260 DELAWARE AVE                                                                   BUFFALO               NY 14209‐2401
LIPPES & SHONN
SCHEG, HAROLD A                   9675 TONAWANDA CREEK RD                                                             CLARENCE CTR         NY   14032‐9106
SCHEH, PENELOPE L                 21750 FOREST WATERS CIR                                                             SAN ANTONIO          TX   78266‐2774
SCHEHR, DANIEL                    609 S DORAN RD                                                                      IMLAY CITY           MI   48444‐9668
SCHEHR, KATHLEEN                  42802 CHRISTINA DR                                                                  STERLING HEIGHTS     MI   48313‐2622
SCHEHR, THOMAS M                  13350 ENID BLVD                                                                     FENTON               MI   48430‐1100
SCHEI, JAMES R                    352 FIELDS RD                                                                       DANSVILLE            MI   48819‐9792
SCHEI, JAMES ROBERT               352 FIELDS RD                                                                       DANSVILLE            MI   48819‐9792
SCHEI, MARY J                     1418 HOUSTON ST                                                                     SWARTZ CREEK         MI   48473‐9712
SCHEI, MARY J                     1418 HOUSTON DR                                                                     SWARTZ CREEK         MI   48473‐9712
SCHEIB, CHARLES J                 11329 DONWIDDLE DRIVE                                                               LOVELAND             OH   45140‐9377
SCHEIB, FRANK F                   32472 BERRY BEND AVE                                                                WARSAW               MO   65355‐5608
SCHEIB, JOYCE E                   6430 GENTRY RD                                                                      FREEDOM              IN   47431‐7144
SCHEIB, KYLE WILLIAM              9143 LONGCROFT DR                                                                   WHITE LAKE           MI   48386
SCHEIB, ROBERT L                  837 AVALON DR                                                                       PICKERINGTON         OH   43147‐9396
SCHEIB, TERRENCE B                5265 WILLIAMSON ST                                                                  CLARKSTON            MI   48346‐3556
SCHEIB, VICKI L                   4460 WINDING ROAD                                                                   LEWISTON             MI   49756‐9193
SCHEIB, VICKI L                   4460 WINDING RD                                                                     LEWISTON             MI   49756‐9193
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Name                                 Address1                          Address2                      Address3   Address4         City            State Zip
SCHEIBACH, KENNETH R                 7421 PINEGROVE CT                                                                           JENISON          MI 49428‐9142
SCHEIBE FRED A (626754)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                       STREET, SUITE 600
SCHEIBE, DALE G                      S44W25635 HIGH RIDGE CT                                                                     WAUKESHA        WI 53189‐7705
SCHEIBE, FRED A                      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                                       STREET, SUITE 600
SCHEIBEL, GLENN R                    1513 AMELIA AVE                                                                             ROYAL OAK       MI   48073‐2751
SCHEIBEN, DIANE M.                   1392 WADE AVE                                                                               ALLIANCE        OH   44601‐4161
SCHEIBEN, KENNETH C                  17982 HILLCREST DR                                                                          LAKE MILTON     OH   44429‐9748
SCHEIBER THOMAS                      OTTO‐WELS‐STR.62                                                                            OLDENBURG       DE   26133
SCHEIBER, LANE B                     4821 PONDEROSA DR                                                                           ANNANDALE       VA   22003‐4225
SCHEIBER, TODD W                     32 WELLSLEY DR                                                                              LEXINGTON       OH   44904‐9565
SCHEIBER, WILLIAM L                  15851 GRISWOLD RD                                                                           MANITOU BEACH   MI   49253‐9706
SCHEIBLEIN, FRANCES E                APT 1411                          5665 ARAPAHO ROAD                                         DALLAS          TX   75248‐7059
SCHEIBLING, JOHN J                   715 GREEN ST                                                                                GRAND LEDGE     MI   48837‐1832
SCHEIBNER, PAUL K                    631 NIXON BLVD                                                                              ROSCOMMON       MI   48653‐8760
SCHEICH DIANE & THOMAS               SCHEICH, DIANE
SCHEICH, JOHN H                      25095 NORMANDY ST                                                                           ROSEVILLE       MI   48066‐5700
SCHEICH, JOSEPH T                    9610 FERDER RD                                                                              MAYBEE          MI   48159‐9710
SCHEID DAVID                         7 RIDGEFIELD DR                                                                             DELMAR          NY   12054‐2470
SCHEID, ELEONORE V                   205 THEO AVE                                                                                LANSING         MI   48917‐2647
SCHEID, FRANCES O                    3008 DEAN LAKE AVE NE                                                                       GRAND RAPIDS    MI   49525‐2904
SCHEID, JOHN P                       47 GARLAND AVE                                                                              ROCHESTER       NY   14611‐1001
SCHEID, JOSEPH E                     3008 DEAN LAKE AVE NE                                                                       GRAND RAPIDS    MI   49525‐2904
SCHEID, KEITH A                      8107 SARGENT RDG                                                                            INDIANAPOLIS    IN   46256‐1877
SCHEID, KENNETH A                    4048 MONTCALM ST                                                                            BURTON          MI   48519‐1518
SCHEID, KONRAD J                     205 THEO AVE                                                                                LANSING         MI   48917‐2647
SCHEID, LEO J                        4926 ZION RD                                                                                JACKSON         MI   49201‐9527
SCHEID, RICHARD J                    3218 E KENSINGTON PARK DR                                                                   BLOOMINGTON     IN   47401‐7119
SCHEID, RICHARD L                    856 OVIEDO RD                                                                               LADY LAKE       FL   32159‐9471
SCHEID, RUSSELL A                    29334 GREATER MACK AVE                                                                      ST CLAIR SHRS   MI   48081‐1228
SCHEIDE WILLIAM                      59 RIDGE RD                                                                                 WETHERSFIELD    CT   06109‐1063
SCHEIDEGGER NINA ROSE                7110 REGAL DR                                                                               PARMA           OH   44129‐6305
SCHEIDEGGER, DAN                     7590 STATE ROUTE 609                                                                        BURGHILL        OH   44404‐9754
SCHEIDEGGER, HEINZ K                 436 FOREST ST NE                                                                            WARREN          OH   44483‐3825
SCHEIDEGGER, TINA L                  307 CAROLINE AVE                                                                            HUBBARD         OH   44425‐1536
SCHEIDEL'S FLEET SERVICES            731 N MARKET BLVD STE M                                                                     SACRAMENTO      CA   95834‐1211
SCHEIDEL, ALVIN C                    7949 68TH ST SE                                                                             ALTO            MI   49302‐9573
SCHEIDEL, CONNIE J                   4636 16 MILE RD                                                                             KENT CITY       MI   49330‐9454
SCHEIDEL, DARWIN T                   110 ARBOR HILL DR NW                                                                        COMSTOCK PARK   MI   49321‐9590
SCHEIDEL, DARWIN THEODORE            110 ARBOR HILL DR NW                                                                        COMSTOCK PARK   MI   49321‐9590
SCHEIDEL, RICHARD C                  1010 BERLIN RD                                                                              HURON           OH   44839‐1916
SCHEIDEMANTEL, DAVID B               5107 CHICKASAW TRL                                                                          FLUSHING        MI   48433‐1078
SCHEIDEMANTLE, PAUL E                616 DEVILLEN AVE                                                                            ROYAL OAK       MI   48073‐3654
SCHEIDER JOHN (ESTATE OF) (505498)   COHAN LAWRENCE R                  402 PARK BLVD                                             CHERRY HILL     NJ   08002‐3317
SCHEIDER JR, ARTHUR W                449 E 275TH ST                                                                              EUCLID          OH   44132‐1715
SCHEIDER, BERTHA L                   3221 TWIN BRIDGES RD                                                                        WILLIAMSBURG    OH   45176‐9721
SCHEIDER, JOHN                       COHAN LAWRENCE R                  402 PARK BLVD                                             CHERRY HILL     NJ   08002‐3317
SCHEIDERER JOHN H (429763)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                                       STREET, SUITE 600
SCHEIDERER, CELIA M                  2236 TOWNSHIP ROAD 129 S                                                                    ZANESFIELD      OH 43360‐9755
SCHEIDERER, JANET L                  410 ONTARIO ST                                                                              HURON           OH 44839‐1727
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SCHEIDERER, JOHN H             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                           NORFOLK             VA 23510‐2212
                                                               STREET, SUITE 600
SCHEIDERER, LEANN              24 FORTUNE LN APT B                                                                                   ROCHESTER          NY   14626‐1837
SCHEIDERER, RICHARD F          1167 FOREST HILL DR                                                                                   MARION             OH   43302‐6527
SCHEIDERER, STEPHEN R          2236 ROAD 129 SOUTH                                                                                   ZANESFIELD         OH   43360
SCHEIDING I I, ROBERT R        3694 HOLLANSBURG ARCANUM RD                                                                           GREENVILLE         OH   45331‐8753
SCHEIDING II, ROBERT R         3694 HOLLANSBURG ARCANUM RD                                                                           GREENVILLE         OH   45331‐8753
SCHEIDING II,ROBERT R          3694 HOLLANSBURG ARCANUM RD                                                                           GREENVILLE         OH   45331‐8753
SCHEIDLER, CLARENCE A          6041 N STATE RD                                                                                       DAVISON            MI   48423‐9363
SCHEIDLER, YVONNE G            3249 DILLON RD                                                                                        FLUSHING           MI   48433‐9763
SCHEIDLER, YVONNE G            3249 DILLON ROAD                                                                                      FLUSHING           MI   48433
SCHEIDLY, JOHN A               4432 TICKNOR AVE                                                                                      NEWTON FALLS       OH   44444‐1164
SCHEIDLY, SUSAN R              4432 TICKNOR AVE.                                                                                     NEWTON FALLS       OH   44444‐1164
SCHEIDMAN EDWARD SMITH SR      ICO THE LANIER LAW FIRM PC      6810 FM 1960 WEST                                                     HOUSTON            TX   77069
SCHEIDT MARK                   SCHEIDT, MARK                   STATE FARM                    147 WASHINGTON POINT                    INDIANAPOLIS       IN   46229
                                                                                             DRIVE
SCHEIDT, BARBARA J             310 W HOUSTON MESA RD                                                                                 PAYSON             AZ   85541‐3147
SCHEIDT, BETTY J               609 E KENNETT                                                                                         PONTIAC            MI   48340‐3004
SCHEIDT, BETTY J               609 E KENNETT ST                                                                                      PONTIAC            MI   48340‐3004
SCHEIDT, CLARK                 8916 STARK AVE                                                                                        KANSAS CITY        MO   64138‐4468
SCHEIDT, DONNA M               8410 N PALM PL                                                                                        SPOKANE            WA   99208
SCHEIDT, FRANCIS C             1917 CHURCH RD                                                                                        BALTIMORE          MD   21222‐3206
SCHEIDT, GERALD T              1509 MERILINE AVE                                                                                     DAYTON             OH   45410‐3329
SCHEIDT, LEONARD D             PO BOX 214                                                                                            UPLAND             IN   46989‐0214
SCHEIDT, MARK
SCHEIDT, MARK                  STATE FARM                      147 WASHINGTON POINTE DR                                              INDIANAPOLIS       IN   46229‐2636
SCHEIDT, RALPH N               5354 W 62ND ST APT 246                                                                                NEW AUGUSTA        IN   46268‐4478
SCHEIDT, RICHARD J             1599 APPLE LN                                                                                         BLOOMFIELD HILLS   MI   48302‐1302
SCHEIDT, RICHARD J             11417 EASLEY DR                                                                                       LEES SUMMIT        MO   64086‐9384
SCHEIDT, ROBERT D              1021 SCHUYLER DR                                                                                      WHITE LAKE         MI   48383‐3068
SCHEIFFLEE, JAMES N            3465 BARBER RD                                                                                        OXFORD             MI   48371‐1909
SCHEIFFLEE, JAMES N            3465 BARBER ROAD                                                                                      OXFORD             MI   48371‐1909
SCHEIGERT, ROBERT T            1668 W 650 N                                                                                          SHELBYVILLE        IN   46176‐9748
SCHEIMAN, CHARLES P            3773 RUTH DR                                                                                          BRUNSWICK          OH   44212‐2626
SCHEIMAN, DOLORES A            3557 HARBOR CIRCLE NORTHWEST                                                                          WINTER HAVEN       FL   33881‐1472
SCHEIMAN, EDMUND R             4825 DELGADO DR SW                                                                                    LILBURN            GA   30047‐5203
SCHEIMAN, GREGORY S            8041 CHIPGATE CT                                                                                      HUBER HEIGHTS      OH   45424‐6432
SCHEIMAN, THOMAS M             3350 REVERE CT                                                                                        BRUNSWICK          OH   44212‐3145
SCHEINBERG, JACQUELYNN K       867 LINCOLN AVE                                                                                       GIRARD             OH   44420‐1915
SCHEINER, ANTHONY L            6662 FOREST GLEN AVE                                                                                  SOLON              OH   44139‐4044
SCHEINER, MAUD L               295 MONTEREY DR                                                                                       NAPLES             FL   34119‐4650
SCHEINPFLUG, BERND H           22906 PLAYVIEW ST                                                                                     ST CLAIR SHRS      MI   48082‐2082
SCHEIPNER, ELIZABETH           4416 BOULDER DR                 C/O GEORGE SCHEIPNER                                                  STERLING HEIGHTS   MI   48310‐3121
SCHEIRER TERRY                 9477 BYGONE DR                                                                                        BREWERTON          NY   13029‐9668
SCHEIRER, DAVID A              PO BOX 114                                                                                            MELROSE            OH   45861‐0114
SCHEIRING, MARY M              PO BOX 725                      6874 PANORAMA DRIVE                                                   PANORA             IA   50216‐0725
SCHEITER, DAVID G              414 N 5TH ST                                                                                          HANNIBAL           MO   63401‐3310
SCHEITER, KEVIN R              13644 VERONICA ST                                                                                     SOUTHGATE          MI   48195‐1926
SCHEITER, LORRAINE L           12333 PEARL STREET                                                                                    SOUTHGATE          MI   48195‐1774
SCHEITER, RICHARD C            13644 VERONICA STREET                                                                                 SOUTHGATE          MI   48195‐1926
SCHEITHAUER HARRY W (429764)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA   23510
                                                               STREET, SUITE 600
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Name                        Address1                          Address2                        Address3   Address4         City            State Zip
SCHEITHAUER, HARRY W        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510‐2212
                                                              STREET, SUITE 600
SCHEITLER, BEVERLY A        4459 NICHOLS RD                                                                               SWARTZ CREEK    MI   48473‐8511
SCHEITLER, CAROLYN A        921 HARTFORD DR                                                                               ELYRIA          OH   44035
SCHEITLER, DAVID R          5455 S BYRON RD                                                                               DURAND          MI   48429‐1432
SCHEITLER, DAVID RALPH      8817 S THOMAS DR UNIT 719                                                                     PANAMA CITY     FL   32408
SCHEITLER, DONALD G         450 S NICOLET ST #317                                                                         MACKINAW CITY   MI   49701‐9857
SCHEITLER, GREG H           161 N CHESTNUT ST                                                                             OWOSSO          MI   48867
SCHEITLER, MARY F           2422 SEYMOUR RD                                                                               SWARTZ CREEK    MI   48473‐9752
SCHEITLER, PHILLIP M        921 HARTFORD DR                                                                               ELYRIA          OH   44035‐3007
SCHEITLER, ROBERT M         5431 S BYRON RD                                                                               DURAND          MI   48429‐1432
SCHEITLER, THOMAS D         PO BOX 166                                                                                    GREENWOOD       LA   71033‐0166
SCHEITLER, THOMAS DONALD    PO BOX 166                                                                                    GREENWOOD       LA   71033‐0166
SCHEIVEN MICHAEL W          SCHEIVEN, MICHAEL W
SCHEIVEN, GERALYN           11685 PARKIN LN                                                                               FENTON          MI   48430‐8769
SCHEIVEN, MICHAEL W         11685 PARKIN LN                                                                               FENTON          MI   48430‐8769
SCHEIWE, LOIS A             3726 HIAWATHA TRL                                                                             NATIONAL CITY   MI   48748‐9681
SCHEIWE, WAYNE L            4410 BONNER LN                                                                                MADISON         WI   53704‐1323
SCHEJBAL, MARY              3002 MORNING DOVE                                                                             MCKINNEY        TX   75070‐4140
SCHELAIN, BETTY J           COMPASS POINT                     365 SUNSET DRIVE                APT 2021                    DOUSMAN         WI   53118
SCHELBERT, MARSHA D         1201 NORTH MORRISON STREET                                                                    KOKOMO          IN   46901‐2761
SCHELCHER JR, FRANK E       1633 PHYLLIS AVE                                                                              MIAMISBURG      OH   45342‐3844
SCHELCHER, LOLLA M          1438 WEATHERFIELD CT                                                                          CENTERVILLE     OH   45459‐6205
SCHELEN‐GRAY AUTO           1592 MARSHALL AVE                                                                             SAINT PAUL      MN   55104‐6250
SCHELER, MARY I             10801 LA GRANGE AVE APT 2                                                                     LOS ANGELES     CA   90025‐4620
SCHELHAAS, JAMES R          29643 HILLBROOK ST                                                                            LIVONIA         MI   48152‐4523
SCHELICH, ROBERT S          138 GREGG DR                                                                                  WILMINGTON      DE   19808‐4323
SCHELIN, WAYNE H            4109 BAYWATCH DR                                                                              ROWLETT         TX   75088‐9223
SCHELKLE, ROBERT A          27484 SENECA DR                                                                               WESTLAKE        OH   44145‐3911
SCHELKLE, RUSSELL W         905 PORTAGE RD APT 242                                                                        WOOSTER         OH   44691‐2084
SCHELKUN ERIK               DBA ELSESTAR IMAGES               405 RICHARD GLEN                                            TIPP CITY       OH   45371‐9355
SCHELL HENRY E (425130)     WEITZ & LUXENBERG                 180 MAIDEN LANE                                             NEW YORK        NY   10038
SCHELL HENRY E (451156)     WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                             NEW YORK        NY   10038
SCHELL PATRICIA             SCHELL, PATRICIA                  1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL     NJ   08003
SCHELL WILLIAM (472158)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510
                                                              STREET, SUITE 600
SCHELL WILLIAM L (477265)   PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                      PHILADELPHIA    PA   19103‐5446
SCHELL'S AUTOMOTIVE         460 W PARK AVE                                                                                BARBERTON       OH   44203‐2612
SCHELL, ALFRED L            6487 ALTUS DR                                                                                 PARKVILLE       MO   64152‐3858
SCHELL, ARTHUR              2587 STARLIGHT VALLEY ST                                                                      HENDERSON       NV   89044‐1587
SCHELL, BARBARA L           231 S 14TH ST                                                                                 MIDDLETOWN      IN   47356‐9342
SCHELL, BEAUTIE M           208 SILVER SPRINGS CIR SW CI                                                                  ATLANTA         GA   30310
SCHELL, BETHANY A           5408 WYNDEMERE SQ                                                                             SWARTZ CREEK    MI   48473‐8906
SCHELL, BEVERLY J           1340 WRIGHT DR                                                                                CLAWSON         MI   48017‐1073
SCHELL, BRIAN C             62719 CORALBURST DR                                                                           WASHINGTON      MI   48094‐1736
SCHELL, CONSTANCE S         8182 LONGVIEW DR NE                                                                           WARREN          OH   44484‐1931
SCHELL, DANIEL J            5408 WYNDEMERE SQ                                                                             SWARTZ CREEK    MI   48473‐8906
SCHELL, DANIEL T            5818 EVEREST DR                                                                               CLARKSTON       MI   48346‐3235
SCHELL, DAVID A             309 S COLLINWOOD BLVD                                                                         FREMONT         OH   43420‐4531
SCHELL, DELORES             75 ALEXANDRIA WAY                                                                             DALLAS          GA   30132‐4449
SCHELL, FREDERICK           75 ALEXANDRIA WAY                                                                             DALLAS          GA   30132‐4449
SCHELL, GEORGE L            1337 HIDDEN OAKS CT                                                                           FLINT           MI   48507‐5607
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Name                           Address1                           Address2                        Address3   Address4         City              State Zip
SCHELL, HAROLD J               1512 BIGGERS RD                                                                                ROCHESTER HILLS    MI 48309‐1612
SCHELL, HARVEY P               915 S BRIARCLIFF CIR                                                                           MARYVILLE          TN 37803‐6400
SCHELL, HENRY E                WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                             NEW YORK           NY 10038
SCHELL, JACOB J                8109 EDWILL AVE                                                                                BALTIMORE          MD 21237‐1617
SCHELL, JAMES D                6210 HARRISON STREET                                                                           KANSAS CITY        MO 64110‐3412
SCHELL, JAMES D                219 W 65TH ST                                                                                  KANSAS CITY        MO 64113‐1829
SCHELL, KENNETH D              119 SIKWA TRL                                                                                  VONORE             TN 37885‐2679
SCHELL, LAURIE L               7240 BLUEBILL ST                                                                               CLAY               MI 48001‐4104
SCHELL, LOIS                   915 S BRIARCLIFF CIR                                                                           MARYVILLE          TN 37803‐6400
SCHELL, MARY J                 6210 HARRISON STREET                                                                           KANSAS CITY        MO 64110‐3412
SCHELL, MARY J                 219 W 66TH ST                                                                                  KANSAS CITY        MO 64113‐1829
SCHELL, MELVIN C               PO BOX 43                                                                                      ROUND MOUNTAIN     CA 96084‐0043
SCHELL, MICHAEL E              4355 LAPEER RD                                                                                 BURTON             MI 48509‐1805
SCHELL, MICHAEL EMERSON        4355 LAPEER RD                                                                                 BURTON             MI 48509‐1805
SCHELL, MICHAEL J              1886 S RIVERSIDE DR                                                                            AU GRES            MI 48703‐9796
SCHELL, OPAL J                 381 ROCKFORD DR                                                                                HAMILTON           OH 45013‐2252
SCHELL, PATRICIA               KIMMEL & SILVERMAN PC              1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL        NJ 08003
SCHELL, PATRICIA               4234 60TH ST                                                                                   SACRAMENTO         CA 95820‐4263
SCHELL, PATRICIA A             2587 STARLIGHT VALLEY ST                                                                       HENDERSON          NV 89044‐1587
SCHELL, RALPH W                G‐3380 BEACON ST                                                                               FLINT              MI 48504
SCHELL, REX D                  512 E CEDAR ST                                                                                 OLATHE             KS 66061‐4767
SCHELL, RICHARD A              100 CAMELOT WAY                                                                                ROCHESTER          MI 48306‐2614
SCHELL, ROBERT L               4100 FENTON RD 3                                                                               FLINT              MI 48507
SCHELL, ROBERT R               1611 WESTVIEW DR NE                                                                            WARREN             OH 44483‐5339
SCHELL, RONALD R               4774 LOCKWOOD DR                                                                               WASHINGTON         MI 48094‐2623
SCHELL, SHIRLEY                7590 W COAL MINE AVA               UNIT E                                                      LITTLETON          CO 80123
SCHELL, TERRY L                4124 EDMUNDSON RD                                                                              SAINT LOUIS        MO 63134
SCHELL, WILLIAM                GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510‐2212
                                                                  STREET, SUITE 600
SCHELL, WILLIAM L              C/O PAUL REICH & MYERS P.C.        1608 WALNUT ST STE 500                                      PHILADELPHIA      PA    19103‐5446
SCHELL, WILLIAM M              1654 HILLCREST A                                                                               ANDERSON          IN    46012
SCHELL, WILLIAM W              10806 W STATE PARK ST                                                                          CRYSTAL RIVER     FL    34428‐6273
SCHELL‐BAROTH AUTO CENTER      8205 EDINBORO RD                                                                               ERIE              PA    16509‐4246
SCHELLANG, DIANE M             17000 CHAMPAIGN RD APT 31                                                                      ALLEN PARK        MI    48101
SCHELLANG, PETER R             PO BOX 513                                                                                     ALLEN PARK        MI    48101‐0513
SCHELLENBERG ROLAND D          SCHELLENBERG, CONNIE L
SCHELLENBERG ROLAND D          SCHELLENBERG, ROLAND D
SCHELLENBERG, ELLIS R          22066 MIDWAY BLVD                                                                              PORT CHARLOTTE    FL    33952‐4634
SCHELLENBERG, ELSYE M          3N035 RIDGEVIEW ST                 C/O DON SCHELLENBERG                                        WEST CHICAGO      IL    60185‐1553
SCHELLENBERG, ROLAND D         9258 MARINUS DR                                                                                FENTON            MI    48430‐8703
SCHELLENGER CHARLES            PO BOX 211                                                                                     WILMOT            NH    03287‐0211
SCHELLER RICHARD (481283)      ANGELOS PETER G                    100 N CHARLES STREET , ONE                                  BALTIMORE         MD    21201
                                                                  CHARLES CENTER
SCHELLER'S FITNESS & CYCLING   8323 PRESTON HWY                                                                               LOUISVILLE         KY   40219‐5309
REPRESENTATIVE
SCHELLER, CHRISTIANE G         444 BELLA VISTA                                                                                EDGEWATER         FL    32141‐7911
SCHELLER, CHRISTIANE G         444 BELLA VIS                                                                                  EDGEWATER         FL    32141‐7911
SCHELLER, HAZEL M              18215 MAPLEBORO                                                                                MAPLE HTS         OH    44137‐2722
SCHELLER, JOHN H               310 RED OAK LN                                                                                 ROCHESTER HILLS   MI    48307‐1550
SCHELLER, KIMBERLY J           5626 STATION HILL DR                                                                           AVON              IN    46123‐7702
SCHELLER, RICHARD              ANGELOS PETER G                    100 N CHARLES STREET, ONE                                   BALTIMORE         MD    21201
                                                                  CHARLES CENTER
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Name                        Address1                           Address2            Address3         Address4         City               State Zip
SCHELLER, ROBERT W          4337 N PENNSYLVANIA ST                                                                   INDIANAPOLIS        IN 46205‐1725
SCHELLERS FITNESS CYCLING   8323 PRESTON HWY                                                                         LOUISVILLE          KY 40219‐5309
SCHELLHAAS, RODNEY D        101 S ALBRIGHT ST                                                                        ARCANUM             OH 45304‐1224
SCHELLHAMMER, DAVID K       4676 TOLLAND AVE                                                                         HOLT                MI 48842‐1128
SCHELLHASE, EDWARD M        221 LASALLE ST                                                                           STREATOR             IL 61364‐2816
SCHELLHAUSE, ROBERT         312 W HERR ST                                                                            ENGLEWOOD           OH 45322‐1220
SCHELLHORN II, WILLIAM J    RR 1 BOX 93                                                                              ROSENDALE           MO 64483
SCHELLHORN, ELMA Z          5 FRYE RD                                                                                GREENVILLE          PA 16125‐8412
SCHELLHORN, ELMA Z          5 FRYE ROAD                                                                              GREENVILLE          PA 16125‐8412
SCHELLHORN, LARRY W         1841 WESTCREST DR                                                                        ARLINGTON           TX 76013‐3477
SCHELLHORN, LARRY WAYNE     1841 WESTCREST DR                                                                        ARLINGTON           TX 76013‐3477
SCHELLHORN, LISA R          2431 SPANISH TRL APT 724                                                                 ARLINGTON           TX 76016‐5859
SCHELLHORN, LISA RENE       2431 SPANISH TRL APT 724                                                                 ARLINGTON           TX 76016‐5859
SCHELLHOUSE JR, FRED        110 PRESTON OAKS DR                                                                      POTTSBORO           TX 75076‐3435
SCHELLHOUSE, KAREN L        620 MORNING GLORY LN                                                                     UNION               OH 45322‐3020
SCHELLHOUSE, MICHAEL A      224 N HYATT ST                                                                           TIPP CITY           OH 45371‐1413
SCHELLING, BONNIE           1237 TABOR AVENUE                                                                        KETTERING           OH 45420
SCHELLING, DALE E           2665 SENECA DR                                                                           TROY                OH 45373‐9575
SCHELLING, EDWARD C         56 HAWTHORN DR                                                                           ARCHBOLD            OH 43502‐9352
SCHELLING, GISELE A         112 ANN LN                                                                               STONEWALL           LA 71078‐9639
SCHELLING, JOHN M           28521 AYERS‐PLEAS BEND             RTE 1                                                 DEFIANCE            OH 43512
SCHELLING, RANDY P          112 ANN LN                                                                               STONEWALL           LA 71078‐9639
SCHELLING, RANDY PAUL       112 ANN LN                                                                               STONEWALL           LA 71078‐9639
SCHELLONG, RUEDIGGER
SCHELOSKE, MICHAEL R        55414 BOARDWALK DR                                                                       SHELBY TOWNSHIP    MI   48316‐1129
SCHELOSKY, DAVID A          22009 BENJAMIN ST                                                                        ST CLAIR SHRS      MI   48081‐2280
SCHELSKE BRADLEY J          9126 PHILANDER CHASE LANE                                                                BRIMFIELD          IL   61517‐9488
SCHELSKE, BEVERLY           1800 NORTHVIEW DRIVE                                                                     LAPEER             MI   48446‐7635
SCHELSKE, DOROTHY J.        4269 BLUE VISTA DR                                                                       EVART              MI   49631‐8061
SCHELSKE, MICHAEL F         475 HUNTSBURG DR                                                                         LOUISBURG          NC   27549
SCHELTEMA I I, DAVID A      7535 WHISTLEWOOD SW                                                                      BYRON CENTER       MI   49315‐8287
SCHELTEMA II, DAVID A       7535 WHISTLEWOOD SW                                                                      BYRON CENTER       MI   49315‐8287
SCHELTEMA, DAVID A          759 146TH AVE                                                                            CALEDONIA          MI   49316‐9203
SCHELTER JR, DONALD L       6481 JORDAN RD                                                                           WOODLAND           MI   48897‐9611
SCHELTER, ANDREW M          216 SPINNAKER DR                                                                         LANSING            MI   48917‐3448
SCHELTER, DAVID F           240 WYLAN LANE                                                                           BLOUNTVILLE        TN   37617
SCHELTER, ERNEST H          14189 TURNER RD                                                                          MULLIKEN           MI   48861‐9704
SCHELTER, FRED G            13859 GATES RD                                                                           MULLIKEN           MI   48861‐9606
SCHELTER, JO ANN            1939 BONANZA RD                                                                          LAKE ODESSA        MI   48849‐9554
SCHELTER, JOSEPH M          PO BOX 198                                                                               MULLIKEN           MI   48861‐0198
SCHELTER, ROBERT            9750 RIVERSIDE DR                                                                        GRAND LEDGE        MI   48837‐9276
SCHELTER, STEPHEN J         1018 N CHESTNUT ST                                                                       LANSING            MI   48906‐5017
SCHELTON, JANET K           2818 PEACHTREE CT                                                                        ANDERSON           IN   46012‐4591
SCHELTS, HELEN              129 N HIGH ST                                                                            SMYRNA             DE   19977‐1224
SCHELTS, HELEN              129 N HIGH STREET                                                                        SMYRNA             DE   19977‐1224
SCHELVIS, ELISABETH M       6261 NEWCASTLE AVENUE                                                                    GOLETA             CA   93117‐2032
SCHELVIS, WALTER            1019 W LEMON AVE                                                                         LOMPOC             CA   93436‐3926
SCHEMAN, ALLEN C            10873 FENCE ROW DR                                                                       STRONGSVILLE       OH   44149‐2111
SCHEMAN, ELEANOR I          10873 FENCE ROW DRIVE                                                                    STRONGSVILLE       OH   44149‐2111
SCHEMANSKI, DELPHINE E      5934 BAYBERRY FARMS DR SW          APT 6                                                 WYOMING            MI   49418
SCHEMANSKI, DELPHINE E      5934 BAYBERRY FARMS DR SW APT 6                                                          WYOMING            MI   49418‐9219
SCHEMANSKI, THOMAS J        10060 HART AVE                                                                           HUNTINGTON WOODS   MI   48070‐1126
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Name                                 Address1                          Address2                         Address3   Address4         City            State Zip
SCHEMBER, MITCHELL G                 3056 BAY ST                                                                                    UNIONVILLE       MI 48767
SCHEMBRI ALFRED                      16200 WESTBROOK ST                                                                             LIVONIA          MI 48154‐2052
SCHEMBRI, ALFRED P                   16200 WESTBROOK ST                                                                             LIVONIA          MI 48154‐2052
SCHEMBRI, ANDREW N                   16200 WESTBROOK ST                                                                             LIVONIA          MI 48154‐2052
SCHEMBRI, PAMELA P                   16200 WESTBROOK ST                                                                             LIVONIA          MI 48154‐2052
SCHEMBS, VIVIAN M                    2003 NW 84TH TER                                                                               KANSAS CITY      MO 64154‐1008
SCHEMEL, CHARLES H                   2305 LYSLE LN                                                                                  CINCINNATI       OH 45212‐1219
SCHEMEL, ELIZABETH                   12B ILLINOIS DR.                                                                               WHITING          NJ 08759
SCHEMEL, JAMES L                     2888 RAVENGLASS RD                                                                             WATERFORD        MI 48329‐2645
SCHEMEL, RAYMOND K                   2321 FLAIR DR                                                                                  OKLAHOMA CITY    OK 73159‐5817
SCHEMEL, WILLIAM L                   404 RAVENWOOD DR                                                                               SPRINGFIELD      OH 45504‐3330
SCHEMENAUER, DENNIS L                5080 LAKE DRIVE                                                                                OWOSSO           MI 48867‐9739
SCHEMENAUR, MICHAEL W                98 N DELEWARE LN                                                                               SOMERSET         IN 46984
SCHEMENAUR, MICHAEL W.               98 N DELEWARE LN                                                                               SOMERSET         IN 46984
SCHEMERS, WILLIAM N                  10022 OLD KENT LN                                                                              CLARKSTON        MI 48348‐1633
SCHEMINE, BRYAN A                    129 REDWOOD RD                                                                                 MANSFIELD        OH 44907‐2453
SCHEMITZ RUDY                        214 6TH ST                                                                                     HONESDALE        PA 18431‐1810
SCHEMKES, RAYMOND G                  8040 GILESPIE ST                                                                               LAS VEGAS        NV 89123‐1700
SCHEMM, BENEVA C                     9931 OVERTON                                                                                   REESE            MI 48757‐9542
SCHEMM, BENEVA C                     9931 OVERTON ST                                                                                REESE            MI 48757‐9542
SCHEMM, CLARA L                      404 BREAKER COVE DR 32                                                                         BAY CITY         MI 48708
SCHEMM, CLARA L.                     404 BREAKER COVE DR                                                                            BAY CITY         MI 48708‐8815
SCHEMM, JAMES M                      1900 N FOREST LAKE DR                                                                          ALGER            MI 48610‐8602
SCHEMM, JOHN G                       1055 S 9TH ST                                                                                  AU GRES          MI 48703‐9560
SCHEMMEL, JOHN M                     19110 FLORENCE ST                                                                              ROSEVILLE        MI 48066‐2616
SCHEMMEL, WILLIAM G                  529 MAPLE ST                                                                                   COLON            MI 49040‐9341
SCHEMPF, CAROL A.                    G‐6472 WEBB DR                                                                                 FLINT            MI 48506‐1777
SCHEMPP, AMY R                       33972 190TH ST                                                                                 HAMILTON         MO 64644‐7202
SCHEMPP, HENRY W                     7495 TOWNLINE RD                                                                               BRIDGEPORT       MI 48722‐9400
SCHEMPP, WARREN C                    10 ENRIGHT LN                                                                                  MONTGOMERY       NY 12549‐2003
SCHENAVAR, TINA M                    3250 JOHN R ST                                                                                 TRENTON          MI 48183‐3628
SCHENBACK, ALICE F                   1118 NE HICKORY ST                                                                             ARCADIA          FL 34266‐5608
SCHENCK CORP                         535 ACORN ST                                                                                   DEER PARK        NY 11729‐3601
SCHENCK INDUSTRIE BETEILIGUNGEN AG   2469 EXECUTIVE HILLS DR                                                                        AUBURN HILLS     MI 48326‐2981

SCHENCK JR, LOUIS J                  2813 MARQUEZ ST                                                                                MERAUX          LA   70075‐2204
SCHENCK MOTOR/FRMGTN                 34300 W 9 MILE RD                                                                              FARMINGTON      MI   48335‐4706
SCHENCK PEGASUS/TROY                 2890 JOHN R RD                                                                                 TROY            MI   48083‐2353
SCHENCK ROT/TROY                     2890 JOHN R RD                                                                                 TROY            MI   48083‐2353
SCHENCK ROTEC CORP                   2469 EXECUTIVE HILLS DR                                                                        AUBURN HILLS    MI   48236
SCHENCK ROTEC CORPORATION            2459 EXECUTIVE HILLS DR                                                                        AUBURN HILLS    MI   48326‐2901
SCHENCK ROTEC CORPORATION
SCHENCK ROTEC CORPORATION            2890 JOHN R RD                    RELEASER BOB MCHUGH 8274‐6986                                TROY            MI 48083‐2353

SCHENCK ROTEC CORPORATION            2469 EXECUTIVE HILLS DR                                                                        AUBURN HILLS    MI 48326
SCHENCK ROTEC CORPORATION            BALANCING & DIAGNOSTIC SYSTEMS    2469 EXECUTIVE HILLS DR                                      AUBURN HILLS    MI 48326‐2981
SCHENCK ROTEC CORPORATION            2469 EXECUTIVE HILLS DR           BALANCING & DIAGNOSTIC SYSTEMS                               AUBURN HILLS    MI 48326‐2981

SCHENCK TREBEL CORPORATION           1846 RELIABLE PKWY                                                                             CHICAGO         IL   60686‐0001
SCHENCK TURN/ORION                   2469 EXECUTIVE HILLS DRIVE                                                                     AUBURN HILLS    MI   48326‐2981
SCHENCK, ANNE M                      RR 1                                                                                           LACONIA         NH   03246
SCHENCK, DON L                       7991 BLACKSHEAR DR                                                                             HUBER HEIGHTS   OH   45424‐2126
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Name                         Address1                        Address2                  Address3   Address4         City               State Zip
SCHENCK, GERALD A            115 NEWTONS CORNER RD                                                                 HOWELL              NJ 07731‐2889
SCHENCK, JAMES I             6247 ROWLEY BLVD                                                                      WATERFORD           MI 48329‐3042
SCHENCK, JAY M               7492 E STATE ROAD 44                                                                  SHELBYVILLE         IN 46176‐9106
SCHENCK, JOHN R              PO BOX 73                                                                             PITTSBORO           IN 46167‐0073
SCHENCK, LYNETTE             8035 WINCHESTER PL                                                                    INDIANAPOLIS        IN 46227‐8155
SCHENCK, M L                 1140 DURHAM DR                                                                        LAKELAND            FL 33809‐6617
SCHENCK, MALCOLM G           26437 CONIFER RD                                                                      CONIFER             CO 80433
SCHENCK, MONTE D             2541 ROANOKE AVE                                                                      DAYTON              OH 45419‐1529
SCHENCK, NANCY P             8189 HORTON HWY                                                                       COLLEGE GROVE       TN 37046‐9182
SCHENCK, R B                 2314 BERKSHIRE DR                                                                     UPPER ST CLAIR      PA 15241‐2404
SCHENCK, RAY A               LOT 75 CRESTWOOD PARK                                                                 MIDDLETOWN          IN 47356
SCHENCK, ROBERT M            4839 MILDRED AVE SE                                                                   KENTWOOD            MI 49508‐4759
SCHENCK, ROSE M              4839 MILDRED AVE SE                                                                   KENTWOOD            MI 49508‐4759
SCHENCK/ORION                100 KAY INDUSTRIAL DR                                                                 ORION               MI 48359‐1831
SCHENDEL JR, EDWARD C        6255 PINETREE DR                                                                      SHELBY TWP          MI 48316‐3277
SCHENDEL, BARBARA            4165 N RIDGE RD                                                                       LOCKPORT            NY 14094‐9726
SCHENDEL, CHARLES A          LOWR                            4102 WOODMONT ROAD                                    TOLEDO              OH 43613‐3824
SCHENDEN, HERBERT J          40814 CABALLERO DR                                                                    CHERRY VALLEY       CA 92223‐5590
SCHENDEN, J K                3250 WALTON BLVD APT 175                                                              ROCHESTER HILLS     MI 48309‐1291
SCHENDEN, JOHN A             PO BOX 440                                                                            PINCKNEY            MI 48169‐0440
SCHENDEN, VINCENT D          16018 MEADOWBROOK RD                                                                  REDFORD             MI 48239‐3942
SCHENDER, ALBERTO            609 WOOD CREST ST                                                                     MOORE               OK 73160‐6021
SCHENDER, SHARON K           609 WOOD CREST ST                                                                     MOORE               OK 73160‐6021
SCHENE, DONALD S             4010 ROCKY MOUND DR                                                                   WENTZVILLE          MO 63385‐2659
SCHENECTADY COUNTY HIGHWAY                                   100 KELLAR AVE                                                            NY 12306
SCHENK JOHN & RENAE          1906 CONSTITUTION AVE                                                                 FORT COLLINS        CO 80526‐1504
SCHENK JOSEPH W              770 STATE ROUTE 307 E                                                                 JEFFERSON           OH 44047
SCHENK JR, ALBERT J          3621 HULL ROAD                                                                        HURON               OH 44839‐2123
SCHENK JR, ALBERT J          2518 WOODLAND DR                                                                      HALE                MI 48739‐9216
SCHENK ROBERT                556 LAUREL DR                                                                         GLADWIN             MI 48624‐8080
SCHENK WALTER (479706)       WEITZ & LUXENBERG               180 MAIDEN LANE                                       NEW YORK            NY 10038
SCHENK, ALAN C               5038 E 82ND ST                                                                        NEWAYGO             MI 49337‐9225
SCHENK, ANDREW J             3450 PACKARD ST APT 1                                                                 ANN ARBOR           MI 48108‐1986
SCHENK, ANDREW J.            3450 PACKARD ST APT 1                                                                 ANN ARBOR           MI 48108‐1986
SCHENK, CAROL J              N4845 PETIT ROAD                                                                      WINTER              WI 54896‐7209
SCHENK, CAROL J              N4845 PETIT RD                                                                        WINTER              WI 54896‐7209
SCHENK, CLARE J              3590 W SAGINAW RD                                                                     VASSAR              MI 48768‐9523
SCHENK, CLARK B              4022 CLENDENING RD                                                                    GLADWIN             MI 48624‐8736
SCHENK, DAVID B              4022 BELLE RIDGE DR                                                                   DRYDEN              MI 48428‐9387
SCHENK, DAVID J              12850 GRAYFIELD ST                                                                    DETROIT             MI 48223‐3037
SCHENK, DAVID M              11544 FILER DR                                                                        STERLING HTS        MI 48312‐5035
SCHENK, DOLORES E            PO BOX 311                                                                            CLARKSTON           MI 48347‐0311
SCHENK, DONALD E             567 RADER DR                                                                          VANDALIA            OH 45377‐2517
SCHENK, DONALD R             679 FORT DUQUESNA DR                                                                  SUN CITY CENTER     FL 33573‐5148
SCHENK, DOROTHY              2518 WOODLAND DR                                                                      HALE                MI 48739‐9216
SCHENK, DOUGLAS              COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                               HOUSTON             TX 77002‐1751
SCHENK, EDWIN                6968 CROSS KEYS RD                                                                    COLLEGE GROVE       TN 37046‐9267
SCHENK, FREDA B              556 LAUREL DR                                                                         GLADWIN             MI 48624
SCHENK, JASON T              14420 LINDEN RD                                                                       BIRCH RUN           MI 48415‐8602
SCHENK, JOHN M               18453 MIDDLEBELT RD                                                                   LIVONIA             MI 48152‐3693
SCHENK, JOYCE M              41695 BERLY DR                                                                        CLINTON TOWNSHIP    MI 48038‐4632
SCHENK, LAWRENCE D           18170 N 91ST AVE                APT 1127B                                             PEORIA              AZ 85382
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Name                          Address1                             Address2                        Address3           Address4                City              State Zip
SCHENK, LINDA A               PO BOX 439                                                                                                      FOREST HILL        MD 21050‐0439
SCHENK, MARILYN G             7200 DELTA RIVER DRIVE                                                                                          LANSING            MI 48906‐9074
SCHENK, MARTHA                1551 CROWN RD                                                                                                   FILION             MI 48432‐9732
SCHENK, PAUL C                11722 NIEMI RD                                                                                                  KALEVA             MI 49645‐9746
SCHENK, PAUL F                1551 CROWN RD                                                                                                   FILION             MI 48432‐9732
SCHENK, RAYMOND J             4832 BUTTERCUP WAY                                                                                              ANDERSON           IN 46013‐1520
SCHENK, REBECCA               8419 BROOK POINTE CT                                                                                            INDIANAPOLIS       IN 46234‐1858
SCHENK, RENATE I              1607 N SUMAC                                                                                                    JANESVILLE         WI 53545‐1266
SCHENK, RENATE I              1607 N SUMAC DR                                                                                                 JANESVILLE         WI 53545‐1266
SCHENK, RENE D                4022 CLENDENING RD                                                                                              GLADWIN            MI 48624‐8736
SCHENK, ROBERT A              556 LAUREL DR                                                                                                   GLADWIN            MI 48624‐8080
SCHENK, THELMA M              1450 COUNTY ROAD 306                                                                                            CLYDE              OH 43410‐9736
SCHENK, THELMA M              1450 CO RD 306                                                                                                  CLYDE              OH 43410‐9736
SCHENK, THOMAS L              711 CENTER ST                                                                                                   CLIO               MI 48420‐1133
SCHENK, THOMAS W              2050 WILLOW LEAF DR                                                                                             ROCHESTER HILLS    MI 48309‐3730
SCHENK, WALTER                WEITZ & LUXENBERG                    180 MAIDEN LANE                                                            NEW YORK           NY 10038
SCHENK, WILLIS                7085 CHERRYWOOD CT                                                                                              TRAVERSE CITY      MI 49686‐1812
SCHENKE, DAVID A              8982 BIG CREEK RD                                                                                               JOHANNESBURG       MI 49751‐9563
SCHENKEL, ADAM L              2283 W 400 N                                                                                                    WABASH             IN 46992‐8526
SCHENKEL, DENNIS M            13330 WITMER RD                                                                                                 GRABILL            IN 46741‐9429
SCHENKEL, DENNIS MICHAEL      13330 WITMER RD                                                                                                 GRABILL            IN 46741‐9429
SCHENKEL, DOROTHY J           2576 PHEASANT RUN DR                                                                                            MARYLAND HTS       MO 63043‐1480
SCHENKEL, FRANZ K             1570 MILLECOQUINS CT                                                                                            ROCHESTER          MI 48307‐6032
SCHENKEL, FREDERICK G         4290 CALKINS RD                                                                                                 DRYDEN             MI 48428‐9608
SCHENKEL, HELEN               1980 CHIMNEY LN APT 2C                                                                                          KETTERING          OH 45440‐4206
SCHENKEL, RICHARD E           6855 EAST 350 NORTH                                                                                             BROWNSBURG         IN 46112
SCHENKEL, RICHARD L           7112 WESTON CT                                                                                                  INDIANAPOLIS       IN 46214‐3643
SCHENKEL, ROBERT F            115 COPPERFIELD RD                                                                                              ROCHESTER          NY 14615‐1103
SCHENKEL, THOMAS J            3321 CARRIER AVE                                                                                                KETTERING          OH 45429‐3511
SCHENKEL, WILLIAM E           2575 HERITAGE LN                                                                                                LAPEER             MI 48446‐9046
SCHENKEL,THOMAS J             3321 CARRIER AVE                                                                                                KETTERING          OH 45429‐3511
SCHENKER DEUTSCHLAND AG       GESCHAEFTSSTELLE KELSTERBACH         LANGER KORNWEG 34 EKELSTERBAC                      GERMANY 65451 GERMANY

SCHENKER INC                  2775 ATLANTA S PARKWAY STE 100                                                                                  ATLANTA           GA 30349
SCHENKER INC                  ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX                                                                     PHILADELPHIA      PA 19170‐7623
                              AGENT
SCHENKER JR, SAMUEL A         4665 DRIFTWOOD LN                                                                                               YOUNGSTOWN        OH 44515‐4832
SCHENKER OF CANADA LIMITED    TORONTO AMF                                                                             TORONTO ON L5P 1A2
                                                                                                                      CANADA
SCHENKER OF CANADA LIMITED    ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 33                                          TORONTO ON L5P 1A2
                              AGENT                                                                                   CANADA
SCHENKER WINKLER HOLDING AG   ZUGERSTRASSE 50                                                                         BAAR, 06340
                                                                                                                      SWITZERLAND
SCHENKER WINKLER HOLDING AG   14201 BOTTS RD                                                                                                  GRANDVIEW         MO   64030‐2863
SCHENKER WINKLER HOLDING AG   JIM PAUL                             14201 BOTTS RD                  AUTOMOTIVE                                 GRANDVIEW         MO   64030‐2863
SCHENKER WINKLER HOLDING AG   JIM PAUL                             AUTOMOTIVE                      14201 BOTTS ROAD                           NEW BALTIMORE     MI   48047
SCHENKER, ANDREW D            1522 NICOLET ST                                                                                                 JANESVILLE        WI   53546‐5838
SCHENKER, DAVE A              622 POWERS AVE.                                                                                                 GIRARD            OH   44420‐4420
SCHENKER, DAVE A              622 POWERS AVE                                                                                                  GIRARD            OH   44420‐2348
SCHENKER, DAVID L             1522 NICOLET ST                                                                                                 JANESVILLE        WI   53546‐5838
SCHENKER, DIETER & HEIDI      DR‐A‐SCHWEIBER‐STR 48                                                                   03222 LUBBENAU
SCHENKER, LEROY G             3030 BOND PLACE                                                                                                 JANESVILLE        WI 53548‐3218
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Name                              Address1                            Address2                      Address3   Address4         City                State Zip
SCHENKER, LEROY G                 3030 BOND PL                                                                                  JANESVILLE           WI 53548‐3218
SCHENKER, RICHARD G               2739 ELIZABETH ST                                                                             JANESVILLE           WI 53548‐2760
SCHENKO, VLADIMIR I               21W506 BURDETT RD                                                                             LOMBARD               IL 60148‐1164
SCHENKO, VLADIMIR I               21 W 506 BURDETT RD                                                                           LOMBARD               IL 60148
SCHENNING, MR
SCHENSKY, JOYCE ELAINE            1702 MYRA AVE                                                                                 JANESVILLE          WI   53548‐0143
SCHENTEN, CARL J                  6279 CRAMLANE DR                                                                              CLARKSTON           MI   48346‐2407
SCHEOW, AUREL A                   56 WOODLAND CHASE BVLD.                                                                       NILES               OH   44446‐5353
SCHEPAT, JOAN R                   294 WEST WASHINGTON STREET                                                                    BRISTOL             CT   06010‐5369
SCHEPAT, JOAN R                   294 W WASHINGTON ST                                                                           BRISTOL             CT   06010‐5369
SCHEPEL BUICK GMC PONTIAC INC     330 NORTH WABASH AVENUE                                                                       CHICAGO             IL   60611
SCHEPEL BUICK GMC PONTIAC INC     PO BOX 1816                                                                                   LA PORTE            IN   46352‐1816
SCHEPEL BUICK‐GMC, INC.           RICHARD SCHEPEL                     2929 W LINCOLN HWY                                        MERRILLVILLE        IN   46410‐5144
SCHEPEL BUICK‐PONTIAC‐GMC, INC                                                                                                  MERRILLVILLE        IN   46410‐5150
SCHEPEL BUICK‐PONTIAC‐GMC, INC    3209 W LINCOLN HWY                                                                            MERRILLVILLE        IN   46410‐5150
SCHEPEL BUICK‐PONTIAC‐GMC, INC.   RICHARD SCHEPEL                     3209 W LINCOLN HWY                                        MERRILLVILLE        IN   46410‐5150
SCHEPEL BUICK‐PONTIAC‐GMC, INC.   3209 W LINCOLN HWY                                                                            MERRILLVILLE        IN   46410‐5150
SCHEPEL CADILLAC‐HUMMER           2929 W LINCOLN HWY                                                                            MERRILLVILLE        IN   46410‐5144
SCHEPEL CADILLAC‐HUMMER‐SAAB      2929 W LINCOLN HWY                                                                            MERRILLVILLE        IN   46410‐5144
SCHEPEL CADILLAC‐HUMMER‐SAAB      SCHEPEL, RICHARD G                  2929 W LINCOLN HWY                                        MERRILLVILLE        IN   46410‐5144
SCHEPER JR, JOSEPH F              434 YANKEE TRACE DR                                                                           CENTERVILLE         OH   45458‐3980
SCHEPER MAX L (667817)            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510
                                                                      STREET, SUITE 600
SCHEPER, CHARLES J                7313 RUSH RD                                                                                  BALTIMORE           MD   21206‐1427
SCHEPER, DAVID C                  48008 FERAL DR                                                                                MACOMB              MI   48044‐2920
SCHEPER, DOROTHY H                2950 WEST PARK SR #11                                                                         CINCINNATI          OH   45238
SCHEPER, IRENE S                  10 WILMINGTON PL 211‐C                                                                        DAYTON              OH   45420
SCHEPER, IRENE S                  C/O SUSAN S. STOCKMYER              10 WILMINGTON PLACE                                       DAYTON              OH   45420‐5420
SCHEPER, JANE A                   2000 WATERSTONE BLVD 104                                                                      MIAMISBURG          OH   45342‐0524
SCHEPER, JEROME R                 310 BROAD ST APT 15E                                                                          CHARLESTON          SC   29401‐1284
SCHEPER, MAX L                    GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510
                                                                      STREET, SUITE 600
SCHEPER, PAUL J                   2000 WATERSTONE BLVD APT 104                                                                  MIAMISBURG          OH   45342‐0524
SCHEPER, STEVEN M                 2915 WHITEHORSE AVE                                                                           KETTERING           OH   45420‐3924
SCHEPER, THOMAS E                 1560 CALIPER DR                                                                               TROY                MI   48084‐1407
SCHEPERS, FABENA                  7407 GLENDORA AVE                                                                             JENISON             MI   49428‐9708
SCHEPIS, ANTHONY                  281 COTTAGE ST                                                                                LOCKPORT            NY   14094‐4903
SCHEPISI, ANNA R                  583 W RAYMOND PATH                                                                            BEVERLY HILLS       FL   34465‐8754
SCHEPKA JOSEPH M (429765)         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510
                                                                      STREET, SUITE 600
SCHEPKA, JOSEPH M                 GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                      STREET, SUITE 600
SCHEPKE, ARTHUR H                 28091 FAIR OAKS LN APT 11                                                                     HARRISON TOWNSHIP   MI   48045‐2245
SCHEPKE, DOUGLAS R                54655 MORNINGSIDE DR                                                                          SHELBY TOWNSHIP     MI   48316‐6001
SCHEPKE, GORDON F                 328 PARAGON DR                                                                                TROY                MI   48098‐4630
SCHEPKE, HOLLY G                  1549 CEDAR KNOLL LN                                                                           CARO                MI   48723‐9528
SCHEPLER I I, MARK C              8612 HUCKLEBERRY LN                                                                           LANSING             MI   48917‐8805
SCHEPLER II, MARK C               8612 HUCKLEBERRY LN                                                                           LANSING             MI   48917‐8805
SCHEPLER, CHARLES F               18330 N FRUITPORT RD                                                                          SPRING LAKE         MI   49456‐1150
SCHEPLER, JAMES R                 11541 ORCHARDVIEW DR                                                                          FENTON              MI   48430‐2545
SCHEPLER, MARK C                  3303 N KREPPS RD                                                                              SAINT JOHNS         MI   48879‐8025
SCHEPLER, MARK CHARLES            3303 N KREPPS RD                                                                              SAINT JOHNS         MI   48879‐8025
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Name                              Address1                      Address2                     Address3   Address4             City                State Zip
SCHEPMAN ALICE                    284 MARIGOLD CIR                                                                           WESTLAND             MI 48185‐9632
SCHEPP, GARY L                    1831 BILLY DR                                                                              FORT WAYNE           IN 46818‐9516
SCHEPP, RONALD E                  11080 SW 75TH TER                                                                          OCALA                FL 34476‐9198
SCHEPPELMAN, DONALD D             122 ELWILL CT                                                                              HOLLAND              MI 49424‐1818
SCHEPPELMANN DERECK               927 HIDDEN CREEK DR                                                                        LAKE ORION           MI 48362‐2056
SCHEPPER, JACK W                  416 FEDERAL DR                                                                             ANDERSON             IN 46013‐4710
SCHEPPER, JAMES R                 119 BERKLEY                                                                                TERRE HAUTE          IN 47803‐1707
SCHEPPER, MARY V                  7087 N COUNTY ROAD 425 W                                                                   BRAZIL               IN 47834‐7257
SCHEPPER, MARY V                  7087 N. CO. RD. 425 W                                                                      BRAZIL               IN 47834‐7257
SCHEPPER, NICK F                  2634 SYLVAN SHORES DR                                                                      WATERFORD            MI 48328‐3935
SCHEPPER, PHYLLIS J               4206 BURROWS RD                                                                            ZEPHYRHILLS          FL 33542‐5961
SCHEPPER, ROBERT D                5017 MICHAEL ST                                                                            ANDERSON             IN 46013‐1346
SCHEPPKE, DOROTHY A               815 S 216TH ST #41                                                                         DES MOINES           WA 98198
SCHEPPLER, DAVID J                1275 BEARPAW DR                                                                            DEFIANCE             OH 43512‐8559
SCHEPPSKE ROLAND W JR (484558)    ANGELOS PETER G               100 N CHARLES STREET , ONE                                   BALTIMORE            MD 21201
                                                                CHARLES CENTER
SCHEPPSKE, ROLAND W               ANGELOS PETER G               100 N CHARLES STREET, ONE                                    BALTIMORE           MD 21201
                                                                CHARLES CENTER
SCHEPS, HOWARD B                  1718 BALDWIN AVE                                                                           ANN ARBOR           MI   48104‐4445
SCHER PAUL                        2311 HIDDEN GLEN DR                                                                        OWINGS MILLS        MD   21117‐1615
SCHER PAUL & SMOLEN RANDY         2311 HIDDEN GLEN DR                                                                        OWINGS MILLS        MD   21117‐1615
SCHER, DIANE M                    28 QUAIL RUN LN                                                                            LANCASTER           NY   14086‐1442
SCHER, VIRGINIA E                 1466 NORTH ETNA ROAD                                                                       HUNTINGTON          IN   46750‐8108
SCHER, VIRGINIA E                 1466 N ETNA RD                                                                             HUNTINGTON          IN   46750‐8108
SCHERACK, BRETT A                 6919 RUSHLEIGH RD                                                                          ENGLEWOOD           OH   45322‐3727
SCHERACK, DANIEL R                6919 RUSHLEIGH RD                                                                          ENGLEWOOD           OH   45322‐3727
SCHERACK, RICHARD T               870 PONDWAY RD                                                                             DAYTON              OH   45419‐1236
SCHERB, CEE                       3175 JENNELLA DR                                                                           COMMERCE TOWNSHIP   MI   48390‐1618
SCHERB, HANS G                    5800 SOUTHWARD AVE                                                                         WATERFORD           MI   48329‐1577
SCHERBA, GARY                     1914 CLARA MATHIS RD                                                                       SPRING HILL         TN   37174‐2547
SCHERBA, JOHN                     9264 COUNTRY CLUB LN                                                                       DAVISON             MI   48423‐8357
SCHERBA, MATTHEW F                13065 SAM HILL LN                                                                          FENTON              MI   48430‐9548
SCHERBA, MITCHEL C                4398 OAK GROVE DR                                                                          BLOOMFIELD HILLS    MI   48302‐2773
SCHERBA, MYRNETH L                9264 COUNTRY CLUB LN                                                                       DAVISON             MI   48423‐8357
SCHERBA, PETER                    7236 GALE RD                                                                               OTISVILLE           MI   48463‐9414
SCHERBAN, LOUIS J                 7616 THEOTA AVE                                                                            PARMA               OH   44129‐2135
SCHERBARTH, RICHARD M             PO BOX 313                                                                                 SALIDA              CO   81201‐0313
SCHERBAUER, CHARLES A             136 W PEKIN RD                                                                             LEBANON             OH   45036‐8486
SCHERBERT, DANIEL L               431 BELVEDERE E                                                                            COLGATE             WI   53017‐9706
SCHERBERT, JEFFREY L              9421 S 31ST ST                                                                             FRANKLIN            WI   53132‐9157
SCHERBING, DONALD C               15395 EDDY LAKE RD                                                                         FENTON              MI   48430‐1609
SCHERBING, MARY L                 6445 ANDERSONVILLE RD                                                                      WATERFORD           MI   48329‐1412
SCHERBOVICH, DANIEL A             10705 GARRISON RD                                                                          DURAND              MI   48429‐1832
SCHERBOVICH, KATHERINE M          1256 BEATRICE ST                                                                           FLUSHING            MI   48433‐1723
SCHERBOVICH, LEONARD L            7495 TROUTWOOD DR APT 2B                                                                   GRAND BLANC         MI   48439‐7501
SCHERBOVICH, MAE E                9240 SEYMOUR RD                                                                            SWARTZ CREEK        MI   48473‐9161
SCHERBOVICH, MAE E                9240 S SEYMOUR RD                                                                          SWARTZ CREEK        MI   48473‐9161
SCHERDEL GMBH                     ALEXANDER GRESENS             SCHERDELSTR 2                                                SHELBY TOWNSHIP     MI   48315
SCHERDEL SALES & TEC              3440 E LAKETON AVE                                                                         MUSKEGON            MI   49442‐6438
SCHERDEL SALES & TECHNOLOGY       RAHUL SHAH X112               3440 E. LAKETON                         GARDELEGEN GERMANY
SCHERDEL SALES & TECHNOLOGY INC   3440 E LAKETON AVE                                                                         MUSKEGON            MI 49442‐6438
SCHERDEN, GEORGE R                47175 MISSION VLY E                                                                        MACOMB              MI 48042‐5152
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Name                             Address1                        Address2                        Address3   Address4                City               State Zip
SCHERDEN, MARJORIE               665 LAKES EDGE DR                                                                                  OXFORD              MI 48371‐5230
SCHERDT, JEFFREY B               3423 CARPENTER RD TRLR 34                                                                          YPSILANTI           MI 48197‐9674
SCHERECK, LAWRENCE R             8525 W 157TH ST                                                                                    ORLAND PARK          IL 60462‐5965
SCHERER DONALD F                 10076 NICOLAS DR UNIT A                                                                            TRUCKEE             CA 96161‐1872
SCHERER HENRY OSSO (ESTATE OF)   KAESKE REEVES                   6301 GASTON AVE                                                    DALLAS              TX 75214
(462316)
SCHERER INDUSTRIAL GROUP INC     940 S WEST ST                                                                                      INDIANAPOLIS       IN 46225‐1461
SCHERER JR, FRANK M              1121 E WINDEMERE AVE                                                                               ROYAL OAK          MI 48073‐5610
SCHERER PAUL (464274)            KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                      CLEVELAND          OH 44114
                                                                 BOND COURT BUILDING
SCHERER, BETTIE H                234 E MAIN ST                   P.O. BOX 81                                                        ROSSBURG           OH   45362‐9613
SCHERER, BILLIE N                4 MARYMONT DR                                                                                      PIQUA              OH   45356‐4228
SCHERER, CHESTER R               7331 KALAMAZOO AVE SE                                                                              CALEDONIA          MI   49316‐9793
SCHERER, DANA R                  12810 UPTON RD                                                                                     BATH               MI   48808‐8449
SCHERER, DAVID E                 10252 CHADWICK RD                                                                                  LAINGSBURG         MI   48848‐9452
SCHERER, DAVID E                 1877 N LAKEMAN DR                                                                                  BELLBROOK          OH   45305‐1210
SCHERER, DAVID EDMUND            10252 CHADWICK RD                                                                                  LAINGSBURG         MI   48848‐9452
SCHERER, DAVID L                 3780 WOODMAN DR.                                                                                   KETTERING          OH   45429‐5429
SCHERER, DENNIS J                9885 HEROY RD                                                                                      CLARENCE CTR       NY   14032‐9633
SCHERER, DOLORES E               39125 FERRIS ST                                                                                    CLINTON TOWNSHIP   MI   48036‐2042
SCHERER, DONALD D                12850 JOHNSTON RD                                                                                  LESLIE             MI   49251‐9755
SCHERER, DONALD F                10076 NICOLAS DR UNIT A                                                                            TRUCKEE            CA   96161‐1872
SCHERER, ELEANOR M               13902 RIVER BIRCH WAY                                                                              CARMEL             IN   46033‐9566
SCHERER, ELFRIEDE                1588 WALSH DR                                                                                      YORKVILLE          IL   60560‐9122
SCHERER, FRANK                   1588 WALSH DR                                                                                      YORKVILLE          IL   60560‐9122
SCHERER, GERALD D                12303 LANDFAIR ST                                                                                  SPRING HILL        FL   34608‐1539
SCHERER, GERALD V                3245 DILLON RD                                                                                     FLUSHING           MI   48433‐9763
SCHERER, GERALD VINCENT          3245 DILLON RD                                                                                     FLUSHING           MI   48433‐9763
SCHERER, GERALDINE E             12850 JOHNSTON RD.                                                                                 LESLIE             MI   49251‐9755
SCHERER, HAZEL E                 1374 HUNTER RD                                                                                     OKEECHOBEE         FL   34974
SCHERER, HELEN H                 6987 WHISPERING PINES DR                                                                           GAYLORD            MI   49735‐8755
SCHERER, HENRY OSSO              KAESKE REEVES                   6301 GASTON AVE                                                    DALLAS             TX   75214
SCHERER, JAMES M                 5518 POWELL RD                                                                                     HUBER HEIGHTS      OH   45424‐4153
SCHERER, JEANNE                  11005 FUMAR LN                                                                                     KELLER             TX   76248‐4826
SCHERER, JEANNE A                11005 FUMAR LN                                                                                     KELLER             TX   76248‐4826
SCHERER, JEANNE A                11005 FUMAR LANE                                                                                   KELLER             TX   76248
SCHERER, JERRY L                 29900 E ALLEY RD                                                                                   LEES SUMMIT        MO   64086‐9575
SCHERER, JERRY L                 11005 FUMAR LN                                                                                     KELLER             TX   76248‐4826
SCHERER, JOAN R                  824 HIDEAWAY CIR E APT 313                                                                         MARCO ISLAND       FL   34145
SCHERER, JOHN H                  6849 CEDAR COVE DR                                                                                 FRISCO             TX   75035‐6827
SCHERER, JOHN P                  3800 PEOGA RD                                                                                      TRAFALGAR          IN   46181‐9646
SCHERER, LAWRENCE P              18 CAROLINA AVE                                                                                    LOCKPORT           NY   14094‐5706
SCHERER, MARCELYN A              35 RUE DES PINS‐REBBERG                                                    WIMMENAU FRANCE 67290
SCHERER, MARY S                  3328 FOREST TERRACE                                                                                ANDERSON           IN 46013‐5254
SCHERER, PATRICIA S              2700 FIELDBROOK COURT                                                                              TROY               OH 45373‐6504
SCHERER, PAUL                    KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                       CLEVELAND          OH 44114
                                                                 BOND COURT BUILDING
SCHERER, PAUL F                  1802 WALLSTREET CIR                                                                                INDIANAPOLIS       IN   46234‐9527
SCHERER, PAUL J                  8432 E VISTA CANYON CIRCLE                                                                         MESA               AZ   85207
SCHERER, REBECCA D               4509 E OLEAN RD                                                                                    VERSAILLES         IN   47042
SCHERER, RICHARD L               1707 WINSTON DR                                                                                    SAINT MARYS        OH   45885‐1361
SCHERER, RICHARD M               174 FAGGS MANOR RD                                                                                 COCHRANVILLE       PA   19330‐9464
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Name                                    Address1                       Address2                        Address3   Address4         City           State Zip
SCHERER, ROBERT J                       6314 W HOLLOW RD                                                                           NAPLES          NY 14512‐9112
SCHERER, ROBERT M                       48518 ANTHONY DR                                                                           MACOMB          MI 48044‐5586
SCHERER, ROBERTA                        12303 LANDFAIR ST                                                                          SPRINGHILL      FL 34608‐1539
SCHERER, RONALD C                       108 DURSO DR HARMONY HILLS                                                                 NEWARK          DE 19711
SCHERER, STACEY L                       50707 PRINCETON DR                                                                         MACOMB          MI 48044‐1270
SCHERER, TERRY L                        154 KILLORAN DR                                                                            NEW CASTLE      DE 19720‐2762
SCHERER, TERRY LEE                      154 KILLORAN DR                                                                            NEW CASTLE      DE 19720‐2762
SCHERER, THOMAS G                       211 ABERDEEN WAY                                                                           TOWNSEND        DE 19734‐2826
SCHERER, THOMAS G                       6500 NW 70TH ST                                                                            KANSAS CITY     MO 64151‐1666
SCHERER, TIM J                          10393 N CREEK SIDE CT                                                                      ROANOKE         IN 46783‐8887
SCHERER, VINCENT P                      721 WILTSHIRE DR                                                                           OWOSSO          MI 48867‐1952
SCHERER, WERNER                         5816 MEADOWVIEW ST                                                                         YPSILANTI       MI 48197‐7115
SCHERER, WILLIAM J                      1001 HUNTERS CHASE                                                                         GRAFTON         OH 44044‐1266
SCHERF FREDERICK (ESTATE OF) (489225)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                       PROFESSIONAL BLDG
SCHERF SR., ROGER L                     585 TONKEY RD                                                                              AUGRES         MI   48703
SCHERF SR., ROGER L                     585 N TONKEY RD                                                                            AU GRES        MI   48703‐9713
SCHERF, DAVID F                         2987 COUNTY RD #290                                                                        VICKERY        OH   43464
SCHERF, TED W                           4430 E HURON RD                                                                            AU GRES        MI   48703
SCHERF, TED W                           3401 LAURIA RD                                                                             BAY CITY       MI   48706‐8104
SCHERF, TERRY J                         5005 HARTFORD AVE                                                                          SANDUSKY       OH   44870‐5823
SCHERFF, PHYLLIS J                      2147 HOLLY TREE DR                                                                         DAVISON        MI   48423‐2066
SCHERFFIUS, WILMA M                     2273 MCKELVEY RD                                                                           MARYLAND HTS   MO   63043‐4053
SCHERI, THOMAS J                        371 OLD TOMS RIVER RD                                                                      BRICK          NJ   08723‐5905
SCHERICH, RICHARD L                     4308 LYNTZ TOWNLINE RD SW                                                                  WARREN         OH   44481‐9262
SCHERICH, RONALD G                      106 HAZEL ST                                                                               NILES          OH   44446‐4011
SCHERICH, RONALD G                      135 HELEN AVE                                                                              NILES          OH   44446‐1906
SCHERING‐PLOUGH CORP                    ATTN: FRD HASSAN               750 WALNUT AVE                                              CRANFORD       NJ   07016‐3372
SCHERL REID                             4657 BAND HALL HILL RD                                                                     WESTMINSTER    MD   21158‐1705
SCHERLE WILLIAM (429766)                GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK        VA   23510
                                                                       STREET, SUITE 600
SCHERLE, WILLIAM                        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK        VA 23510
                                                                       STREET, SUITE 600
SCHERLITZ, RICHARD O                    824 STETSON ST                                                                             TECUMSEH       MI 49286‐1179
SCHERM, JESSICA
SCHERMACK, A A
SCHERMAN FRED                           DBA LABORATORY CONSULTANTS     7454 S TIPP COWLESVILLE RD                                  TIPP CITY      OH   45371‐8351
SCHERMAN, ALVINA                        2322 W MOUNT MORRIS RD                                                                     MOUNT MORRIS   MI   48458‐8254
SCHERMAN, FRANK M                       7815 N MAIN ST UNIT 39                                                                     DAYTON         OH   45415‐5415
SCHERMAN, FRED JR LABORATORY C          7454 S TIPP COWLESVILLE RD                                                                 TIPP CITY      OH   45371‐8351
SCHERMAN, GEORGE E                      2322 W MOUNT MORRIS RD                                                                     MOUNT MORRIS   MI   48458‐8254
SCHERMAN, KENNETH D                     12139 LAKE RD                                                                              OTTER LAKE     MI   48464‐9122
SCHERMAN, LUELLA M                      951 HURON ST                                                                               FLINT          MI   48507‐2554
SCHERMAN, SUSAN E                       1070 KENNEBEC RD                                                                           GRAND BLANC    MI   48439‐4831
SCHERMER, DONALD D                      PO BOX 1                                                                                   AU TRAIN       MI   49806‐0001
SCHERMER, DONALD D                      P O BOX 1 HWY 28                                                                           AUTRAIN        MI   49806‐0001
SCHERMERHORN, CAROLYN U.                546 HAMBERTON CT NW                                                                        CONCORD        NC   28027‐6513
SCHERMERHORN, DOROTHY M                 12562 MARILYN DR                                                                           LEROY          MI   49655‐8043
SCHERMERHORN, HAROLD H                  7255 E BROADWAY RD APT 116                                                                 MESA           AZ   85208‐9202
SCHERMERHORN, LYLE K                    206 S THORNRIDGE LN                                                                        MOUNT MORRIS   MI   48458‐9132
SCHERMERHORN, MAY ELIZABETH             6783 OTTAWA DRIVE, BOX 355                                                                 MESICK         MI   49668
SCHERMERHORN, PAUL E                    4309 W CASTLETON CT                                                                        MUNCIE         IN   47304‐2476
                            09-50026-mg          Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
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Name                        Address1                     Address2                    Address3   Address4         City              State Zip
SCHERMERHORN, PAUL ELDON    4309 W CASTLETON CT                                                                  MUNCIE             IN 47304‐2476
SCHERN ANTHONY JOSEPH       SCHERN, ANTHONY JOSEPH       7165 E UNIVERSITY BLDG 21                               MESA               AZ 85207
SCHERN, ANTHONY JOSEPH      SCHERN RICHARDSON PLC        7165 E UNIVERSITY BLDG 21                               MESA               AZ 85207
SCHERPENBERG, EVELYN M      465 FLEMING RD                                                                       CINCINNATI         OH 45231‐4043
SCHERPING, JAMES C          4965 BUSCH RD                                                                        BIRCH RUN          MI 48415‐8555
SCHERPING, MARIAN M         C/O HEIDI STREETER           P. O. BOX 236                                           SHINGLETON         MI 49884
SCHERR JR, MARTIN F         3601 S CANARY RD                                                                     NEW BERLIN         WI 53146
SCHERR, DANIEL M            119 QUALITY TER                                                                      MARTINSBURG        WV 25403‐2286
SCHERR, DANIEL MARVIN       119 QUALITY TER                                                                      MARTINSBURG        WV 25403‐2286
SCHERRENS, JOHN J           52520 BROOKFIELD CT                                                                  SHELBY TWP         MI 48316‐3034
SCHERRER, RONALD W          120 SCHOELLES RD                                                                     AMHERST            NY 14228‐1439
SCHERRET, BEVERLY J         193 CHARLOTTE ST                                                                     BAD AXE            MI 48413‐9004
SCHERRET, WILLIAM H         3970 DUTTON RD                                                                       ROCHESTER HILLS    MI 48306‐2232
SCHERRIL TRAXINGER          115 TYLER ST SW                                                                      GRANDVILLE         MI 49418‐2168
SCHERRY, BETTY F            6712 THOREAU DR                                                                      PARMA              OH 44129‐6348
SCHERSCHEL, BENJAMIN A      12226 CROSS WINDS WAY                                                                FORT WAYNE         IN 46818‐8527
SCHERSCHEL, BERNARD A       3014 ILLINOIS ST APT A                                                               BEDFORD            IN 47421‐5453
SCHERSCHEL, DANIEL D        2380 W MAPLE GROVE RD                                                                BLOOMINGTON        IN 47404‐9419
SCHERSCHEL, FRANCIS W       92 MAHAN RD                                                                          BEDFORD            IN 47421‐8260
SCHERSCHEL, GARY K          RR #11                                                                               BEDFORD            IN 47421
SCHERSON DANIEL             CASE WESTERN RESERVE UNIV    14 WATERFORD LN                                         BEACHWOOD          OH 44122‐7591
SCHERTLER, ROBERT P         4477 CANFIELD RD                                                                     CANFIELD           OH 44406‐9327
SCHERTZ, CORA C             3205 SUSAN CT                                                                        KOKOMO             IN 46902‐3954
SCHERTZ, ZACHARY            811 COUNTY ROAD 1200 N                                                               METAMORA            IL 61548‐7511
SCHERTZ, ZACHARY            PFAFF & GILL\\, LTD.         1 E WACKER DR STE 3310                                  CHICAGO             IL 60601‐1918
SCHERZ, JEAN                238 N WEBB RD                                                                        WILMINGTON         OH 45177‐8448
SCHERZER, EMMA              1203 N. SCHEURMANN RD                                                                ESSEXVILLE         MI 48732
SCHERZER, GARY H            13495 EDERER RD                                                                      HEMLOCK            MI 48626‐9426
SCHERZER, GERTRUDE B        860 EAST SALZBURG ROAD                                                               BAY CITY           MI 48706‐9772
SCHERZER, LA VERNE E        601 S MOUNTAIN ST                                                                    BAY CITY           MI 48706‐4258
SCHERZER, LARRY F           329 S 8 MILE RD                                                                      LINWOOD            MI 48634
SCHERZER, MARK J            18511 W BURT RD                                                                      BRANT              MI 48614‐9719
SCHERZER, MELVIN H          3275 BARNARD RD                                                                      SAGINAW            MI 48603‐2504
SCHERZER, PHILLIP J         2891 W LAKESIDE DR                                                                   WEST BRANCH        MI 48661‐9681
SCHERZER, ROBERT M          860 E SALZBURG RD                                                                    BAY CITY           MI 48706‐9772
SCHERZER, ROGER H           1506 RAYMOND ST                                                                      BAY CITY           MI 48706‐5254
SCHERZER, SHIRLEY J         207 BROW ST                                                                          LIVERPOOL          NY 13088‐4970
SCHERZER, VIRGINIA          3275 BARNARD RD                                                                      SAGINAW            MI 48603‐2504
SCHERZER, WAYNE M           1203 NORTH SCHEURMANN ROAD                                                           ESSEXVILLE         MI 48732‐1770
SCHERZINGER, MARK N         3522 CHESSINGTON ST                                                                  CLERMONT           FL 34711‐3902
SCHERZO, RALPH P            1206 PAUL MARTIN DR                                                                  EDGEWOOD           MD 21040‐1217
SCHESKE, SIEGFRIED R        23 WILLOW WIND TRL                                                                   ROCHESTER          NY 14624‐1080
SCHESLER, HARRY W           1450 MARLANE DR                                                                      GIRARD             OH 44420‐1444
SCHESTER, DIANNA L          8225 KENNEDY CIR                                                                     WARREN             MI 48093‐2135
SCHETROMPF, JOHN A          119 VIRGIL CROWELL RD                                                                SHELBYVILLE        TN 37160‐6006
SCHETROMPF, LESTER T        2422 HARTLEY PL                                                                      WILMINGTON         DE 19808‐4244
SCHETROMPF, LESTER THOMAS   2422 HARTLEY PL                                                                      WILMINGTON         DE 19808‐4244
SCHETROMPF, LYNN E          7680 RIVER RD                                                                        HEDGESVILLE        WV 25427‐3273
SCHETTER, CAROL M           1069 KLOTZ RD                HERITAGE CORNER                                         BOWLING GREEN      OH 43402‐4820
SCHETTERER, RUDOLF          1626 LUDLOW RD                                                                       MARCO ISLAND       FL 34145‐6622
SCHETTEWI JENNIFER          12601 THREE SISTERS RD                                                               POTOMAC            MD 20854‐6360
SCHETTINI MD, BRUNO         7317 LOCHHAVEN ST                                                                    ALLENTOWN          PA 18106‐9128
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Name                              Address1                            Address2                        Address3   Address4         City                  State Zip
SCHETTL, HELEN I                  2900 THORNHILLS AVE. S.E.           APT. 207                                                    GRAND RAPIDS           MI 49546‐3784
SCHETTL, HELEN I                  APT 207                             2900 THORNHILLS AVE SOUTHEAST                               GRAND RAPIDS           MI 49546‐7177

SCHETTLING, BERNICE E             215 HERSHEY BLVD                                                                                WATERFORD             MI   48327‐2435
SCHETTLING, THOMAS F              16352 TUCKER RD                                                                                 HOLLY                 MI   48442‐9743
SCHETTLING, WERNER                1291 N BYWOOD AVE                   C/O JOHN W. SCHETTLING                                      CLAWSON               MI   48017‐1221
SCHEU JR, GEORGE C                530 GRANTS TRL                                                                                  CENTERVILLE           OH   45459‐3120
SCHEU JR, ROBERT W                4613 MIAMI SHORES DR                                                                            MORAINE               OH   45439‐1311
SCHEU KEVIN                       5923 NORTH BAY RIDGE AVENUE                                                                     MILWAUKEE             WI   53217‐4604
SCHEU, JEFFREY D                  5605 KINGFISHER LN                                                                              CLARKSTON             MI   48346‐2938
SCHEU, KATHLEEN K                 6550 CHUCKEY PIKE                                                                               CHUCKEY               TN   37641
SCHEU, PHYLLIS J                  8345 PORT HAVEN DR                                                                              SIDNEY                OH   45365‐9295
SCHEU, RICHARD L                  8113 HILLINGDON DR                                                                              POWELL                OH   43065‐7072
SCHEU, ROBERT H                   6550 CHUCKEY PIKE                                                                               CHUCKEY               TN   37641‐5250
SCHEU, ROBERTA M                  4921 ARCADIA BLVD                                                                               KETTERING             OH   45432‐3103
SCHEUER, CHRISTOPHER J            3121 SAINT JUDE DR                                                                              WATERFORD             MI   48329‐4362
SCHEUER, DEBRA A                  3121 SAINT JUDE DR                                                                              WATERFORD             MI   48329‐4362
SCHEUER, MACKIN & BRESLIN         8605C N DIXIE DR                                                                                DAYTON                OH   45414‐2403
SCHEUER, MACKIN, & BRESLIN, LLC   11025 REED HARTMAN HWY                                                                          CINCINNATI            OH   45242‐1819
SCHEUER, MARK A                   5221 PAWNEE RD                                                                                  TOLEDO                OH   43613‐2417
SCHEUER, MARK ALLEN               5221 PAWNEE RD                                                                                  TOLEDO                OH   43613‐2417
SCHEUER, MARTIN R                 8800 FRAMEWOOD DR                                                                               NEWBURGH              IN   47630‐2342
SCHEUER, WILLIAM                  34 CARMACKS WAY                                                                                 TOMS RIVER            NJ   08757‐6449
SCHEUERING, RICHARD L             4867 SUMMER LN                                                                                  BROOKLYN              OH   44144‐3053
SCHEUERLEIN, RALPH C              5082 FREELAND, ROUTE #1                                                                         FREELAND              MI   48623
SCHEUERMAN, ELIZABETH M           220 BLACKMAN STREET                                                                             WILKESBARRE           PA   18702
SCHEUERMAN, JOHN                  245 BRIAR CLIFF ST SW                                                                           POPLAR GROVE          IL   61065‐8988
SCHEUERMAN, ONIE G                5149 RICH VALLEY RD                                                                             BRISTOL               VA   24202‐2121
SCHEUERMAN, RICHARD J             9021 STILE POST LN                                                                              BALTIMORE             MD   21234‐2624
SCHEUERMAN, ROBERT F              1808 WOODMERE DR                                                                                VALPARAISO            IN   46383‐1645
SCHEUERMAN, ROBERT J              8484 GRAND OAKS CT                                                                              WASHINGTON TOWNSHIP   MI   48095‐2913
SCHEUERMANN DAVID JR              SCHUERMANN, DAVID                   3701 WILLIAMS BLVD SUITE 255                                KENNER                LA   70065
SCHEUERMANN, HUBERT F             6377 LOSEE LN                                                                                   DAVISBURG             MI   48350‐3427
SCHEUERMANN, ROBERT T             39500 WARREN RD TRLR 61                                                                         CANTON                MI   48187‐4346
SCHEUERMANN, SUSAN C              4621 S. COOPER #131‐133                                                                         ARLINGTON             TX   76017
SCHEUERN, JOHN A                  3866 E POND CT                      C/O CRAIG C SCHEUERN                                        ORION                 MI   48359‐1472
SCHEUERN, MILDRED J               C/O CRAIG C SCHEUERN                3866 EAST POND CT                                           ORION                 MI   48359
SCHEUERN, MILDRED J               3866 E POND CT                      C/O CRAIG C SCHEUERN                                        ORION                 MI   48359‐1472
SCHEUFELE, BONNIE G               8184 NW 2ND CT                                                                                  CORAL SPRINGS         FL   33071‐7537
SCHEUFLER JR, RICHARD A           3209 HARTLAND CENTER RD                                                                         COLLINS               OH   44826‐9706
SCHEUFLER, THOMAS G               4109 WOODRIDGE DR                                                                               SANDUSKY              OH   44870
SCHEUHER, JOEL M                  1032 DEWEY ST                                                                                   PLYMOUTH              MI   48170‐2002
SCHEUMANN, RALPH E                14120 MONROEVILLE RD                                                                            MONROEVILLE           IN   46773‐9555
SCHEUNEMAN, JUDITH ANN            14271 N GENESEE RD                                                                              CLIO                  MI   48420‐9166
SCHEUNEMAN, RONALD                22693 M 82                                                                                      HOWARD CITY           MI   49329‐9783
SCHEUNEMANN, DENNIS A             9380 N LATSON RD                                                                                HOWELL                MI   48855‐8695
SCHEUNEMANN, NORMAN R             3615 N HICKORY RIDGE RD                                                                         HIGHLAND              MI   48357‐2538
SCHEUNEMANN, SARAH R              1605 LA CIMA DR                                                                                 MCKINNEY              TX   75071‐7793
SCHEUNEMANN, SARAH R              1605 LACIMA DR.                                                                                 MCKINNEY              TX   75071
SCHEUNEMANN, ULRICH E             22080 W 199TH ST                                                                                SPRING HILL           KS   66083‐8589
SCHEURER HOSPITAL                 170 N CASEVILLE RD                                                                              PIGEON                MI   48755‐9704
SCHEURER, FORD D                  1030 HAYNOR RD                                                                                  IONIA                 MI   48846‐8632
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Name                          Address1                        Address2                   Address3   Address4         City              State Zip
SCHEURER, JEAN                1007 DELWOOD DR APT 3                                                                  MANSFIELD          OH 44905
SCHEURER, JOHN A              4344 DAVID HWY                                                                         LYONS              MI 48851‐9720
SCHEURER, ROBERT C            22211 BOHN RD                                                                          BELLEVILLE         MI 48111‐8953
SCHEURICH, BRENDA L           6288 WOODLAND DR                                                                       CANTON             MI 48187‐5626
SCHEURICH, SCOTT S            1751 SHORTER CT                                                                        INDIANAPOLIS       IN 46214‐2206
SCHEURICH, VAN C              6288 WOODLAND DR                                                                       CANTON             MI 48187‐5626
SCHEURICH, VAN CHESTER        6288 WOODLAND DR                                                                       CANTON             MI 48187‐5626
SCHEURING, ROBERT H           935 UNION LAKE RD APT 231                                                              WHITE LAKE         MI 48386
SCHEUTZOW, ELMER J            7812 COVINGTON PKWY                                                                    AMARILLO           TX 79121‐1936
SCHEUTZOW, THEODORE A         9857 E RIVER RD                                                                        ELYRIA             OH 44035‐8100
SCHEUTZOW, THEODORE A.        9857 E RIVER RD                                                                        ELYRIA             OH 44035‐8100
SCHEUVRONT, BARBARA J         RR 2 BOX 247                                                                           SHINNSTON          WV 26431‐9608
SCHEUVRONT, KENNETH R         RR 2 BOX 247                                                                           SHINNSTON          WV 26431‐9608
SCHEVE, HOWARD W              2141 HANES RD                                                                          DAYTON             OH 45432‐2409
SCHEWE, DANIEL                209 E QUEENSBURY DR                                                                    SLIDELL            LA 70461‐4921
SCHEWE, EDWARD M              3347 N STONE CREEK CIR                                                                 MADISON            WI 53719‐5239
SCHEWE, JIMMIE L              29664 BARTON ST                                                                        GARDEN CITY        MI 48135‐2687
SCHEWE, KEITH R               313 ROYAL GLEN BLVD                                                                    MURFREESBORO       TN 37128‐3723
SCHEWE, LAURENCE A            3795 THOMAS AVE                                                                        BERKLEY            MI 48072‐1144
SCHEWE, MELISSA               313 ROYAL GLEN BLVD                                                                    MURFREESBORO       TN 37128‐3723
SCHEXNAYDER DANIEL            6702 LAKE KIRKLAND DR                                                                  CLERMONT           FL 34714‐8316
SCHEXNAYDER LARKA             SCHEXNAYDER, LARKA              650 POYDRAS ST STE 2708                                NEW ORLEANS        LA 70130‐6181
SCHEXNAYDER, JANE A           PO BOX 148                                                                             HAHNVILLE          LA 70057‐0148
SCHEXNAYDER, LARKA
SCHEXNAYDER, LARKA            THE BAGERT LAW FIRM             650 POYDRAS ST STE 2708                                NEW ORLEANS       LA   70130
SCHEY, DWAINE D               317 COLLEEN DR                                                                         DEFIANCE          OH   43512‐3560
SCHEY, DWAINE DAVID           317 COLLEEN DR                                                                         DEFIANCE          OH   43512‐3560
SCHEY, JAMES A                2310 DENMARK ST APT 26                                                                 CLEARWATER        FL   33763‐3530
SCHEY, JOSEPH M               631 61ST PL                                                                            COUNTRYSIDE       IL   60525‐3941
SCHEY, MICHAEL J              293 AUBURN AVE                                                                         ROCHESTER         NY   14606‐4135
SCHEY, NOEL M                 165 ROWLEY DR                                                                          ROCHESTER         NY   14624‐2614
SCHEY, SAMINA R               2922 WOODLAND RIDGE DR                                                                 WEST BLOOMFIELD   MI   48323‐3560
SCHEYKO, JAMES W              2407 WEISS ST                                                                          SAGINAW           MI   48602‐3875
SCHEYTT, ROBERT E             4328 RADCLIFFE CT                                                                      ADRIAN            MI   49221‐9323
SCHEZZINI, DAVE M             5630 LONDON DR                                                                         AUSTINTOWN        OH   44515‐4153
SCHEZZINI, RALPH J            4300 WESTFORD PLACE             BLDG 15 D                                              CANFIELD          OH   44406
SCHIALDONE, DAVID A           91 TALSMAN DR UNIT 4                                                                   CANFIELD          OH   44406‐1283
SCHIAN, ALICE                 3923 OLIVE ST                                                                          SAGINAW           MI   48601
SCHIAN, RAYMOND R             11058 MAPLE RD                                                                         BIRCH RUN         MI   48415‐8433
SCHIAN‐ALDRICH, CHRISTINA R   1273 N BEYER RD                                                                        SAGINAW           MI   48601
SCHIAN‐MILLER, SANDRA L       421 S ROYSTON RD                                                                       EATON RAPIDS      MI   48827‐9008
SCHIANO JOSEPH (462234)       WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                        NEW YORK          NY   10038
SCHIANO, ANDREW D             312 GORDON AVE                                                                         MATTYDALE         NY   13211‐1842
SCHIANO, JOSEPH               WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                        NEW YORK          NY   10038
SCHIAPPA, JOSEPH A            93 HILLCREST AVE                                                                       WATERBURY         CT   06705‐2910
SCHIATTONE, KENNETH C         1657 BOUTELL                                                                           LINWOOD           MI   48634
SCHIAVELLO, M J               34 PINE GROVE LN                                                                       HOCKESSIN         DE   19707‐2013
SCHIAVELLO, VINCENT J         1890 BAILEYS TRACE DR                                                                  SPRING HILL       TN   37174‐6171
SCHIAVETTI, RICHARD W         3789 CORNICE FALLS DR APT 10                                                           HOLT              MI   48842‐8822
SCHIAVETTI, RICHARD W         APT 10                          3789 CORNICE FALLS DRIVE                               HOLT              MI   48842‐8822
SCHIAVI, ROBERT H             830 RICHMOND ROAD 1ST FL                                                               STATEN ISLAND     NY   10304
SCHIAVINO, ANTHONY J          1 GRACE DR                                                                             SOUTH AMBOY       NJ   08879‐1315
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Name                             Address1                      Address2            Address3         Address4         City              State Zip
SCHIAVO, ANGELA                  164 AIRSDALE AVE                                                                    LONG BRANCH        NJ 07740‐7601
SCHIAVO, BERNICE                 82 MANSFIELD DR                                                                     BRICK              NJ 08724‐4904
SCHIAVO, ROSE D                  1249 MULBERRY RUN                                                                   MINERAL RIDGE      OH 44440‐9437
SCHIAVONE, DAVID B               1344 GLEN VALLEY DR                                                                 HOWELL             MI 48843‐6134
SCHIAVONE, DEBORAH A             4874 BATAVIA BETHANY RD                                                             BATAVIA            NY 14020
SCHIAVONE, DOMINIC               30 FOREST LAKE DR                                                                   N TONAWANDA        NY 14120‐3710
SCHIAVONE, ELEANOR K             2940 RHETT DR                                                                       DAYTON             OH 45434‐6239
SCHIAVONE, GUY A                 440 KALE ST                                                                         SATELLITE BCH      FL 32937‐3319
SCHIAVONE, JOHN                  2940 RHETT DR                                                                       BEAVERCREEK        OH 45434‐6239
SCHIAVONE, JOHN                  2940 RHETT DRIVE                                                                    BEAVERCREEK        OH 45434‐6239
SCHIAVONE, JOHN A                36 VINCENT RD                                                                       HICKSVILLE         NY 11801‐1908
SCHIAVONI, JOHN O                7301 GRANBY DR                                                                      HUDSON             OH 44236
SCHIAZZA, HELEN                  10 CHERRY AVE                                                                       NEW ROCHELLE       NY 10801‐5304
SCHIBEL, FREDA M                 27 OXFORD PL                                                                        TROY               MO 63379‐3991
SCHIBER TRUCK CO INC             PO BOX 58                                                                           HARTFORD            IL 62048
SCHIBLEY CHEMICAL CO INC         1570 LOWELL ST                                                                      ELYRIA             OH 44035‐4869
SCHIBLEY CHEMICAL CO INC         ATTN: REED SCHIBLEY           1570 LOWELL ST                                        ELYRIA             OH 44035‐4869
SCHIBLEY SOLVENTS & CHEMICAL C   1570 LOWELL ST                                                                      ELYRIA             OH 44035‐4869
SCHICHTEL JR, ARTHUR C           945 MAPLEROW AVE NW                                                                 GRAND RAPIDS       MI 49534‐3629
SCHICHTEL, BART E                2658 MCKENZIE DR                                                                    LOVELAND           CO 80537‐4221
SCHICK ALFRED (653331)           JACOBS & CRUMPLAR P.A.        PO BOX 1271         2 EAST 7TH ST                     WILMINGTON         DE 19899‐1271
SCHICK SYMANTHIA S               3645 RISHER RD SW                                                                   WARREN             OH 44481‐9176
SCHICK, ALFRED                   JACOBS & CRUMPLAR P.A.        PO BOX 1271         2 EAST 7TH ST,                    WILMINGTON         DE 19899‐1271
SCHICK, ALICE I                  118 SARATOGA WAY                                                                    ANDERSON           IN 46013‐4770
SCHICK, BARBARA J                P O BOX 83                                                                          POMPEII            MI 48874‐0083
SCHICK, BARBARA J                PO BOX 83                                                                           POMPEII            MI 48874‐0083
SCHICK, DAVID E                  52811 ANTOINETTE CT                                                                 SHELBY TWP         MI 48316‐3217
SCHICK, DAVID F                  231 NEW STATE RD                                                                    NORWALK            OH 44857‐9750
SCHICK, DENNIS R                 2060 HOWLAND WILSON RD NE                                                           WARREN             OH 44484‐3919
SCHICK, DONALD J                 914 W MULBERRY ST                                                                   KOKOMO             IN 46901‐4364
SCHICK, ERIC J                   1358 GLADYS AVE                                                                     LAKEWOOD           OH 44107‐2512
SCHICK, FORREST L                17004 E 7TH TERRACE CT N                                                            INDEPENDENCE       MO 64056‐1513
SCHICK, GORDON P                 49641 HAMILTON COURT                                                                SHELBY TWP         MI 48315‐3935
SCHICK, HARRY H                  429 E PEASE AVE                                                                     W CARROLLTON       OH 45449‐1317
SCHICK, JENNIFER K               8611 LYONS GATE WAY APT G                                                           MIAMISBURG         OH 45342‐7839
SCHICK, KENNETH L                4624 REAN MEADOW                                                                    KETTERING          OH 45440‐1924
SCHICK, LINDA S                  10236 HIGHWAY 224                                                                   LEXINGTON          MO 64067‐8103
SCHICK, MEARL M                  4206 SE HIGHWAY 69                                                                  LATHROP            MO 64465‐8577
SCHICK, MEARL M                  4206 S.E. HIGHWAY 69                                                                LATHROP            MO 64465‐8577
SCHICK, MICHAEL H                429 E. PEAST AVE                                                                    WEST CARROLTON     OH 45449‐5449
SCHICK, MICHAEL H                429 E PEASE AVE                                                                     WEST CARROLLTON    OH 45449‐1373
SCHICK, PAUL F                   1005 CALUMET ST                                                                     LAKE LINDEN        MI 49945‐1109
SCHICK, PAULA M                  18901 SHADYSIDE ST                                                                  LIVONIA            MI 48152‐3270
SCHICK, RALPH H                  4117 PENROSE DR                                                                     TROY               MI 48098‐6322
SCHICK, RANDY E                  2870 RED OAK CT                                                                     KOKOMO             IN 46901‐7703
SCHICK, REBECCA L                3776 UTICA DR                                                                       KETTERING          OH 45439‐2550
SCHICK, ROSEMARY                 606 ROCKFORD DR                                                                     HAMILTON           OH 45013‐2106
SCHICK, SANDRA C                 8933 PENNY HILL DR                                                                  HUNTERSVILLE       NC 28078‐9774
SCHICK, SAUL T                   3914 PARKRIDGE DR                                                                   RAPID CITY         SD 57702‐0508
SCHICK, SYMANTHIA M              3645 RISHER RD SW                                                                   WARREN             OH 44481‐9176
SCHICK, W R                      4200 PINE LAKE DR 24                                                                FORT GRATIOT       MI 48059
SCHICKEDANZ, RALPH H             16215 ASHEBORO CT                                                                   FORT MYERS         FL 33908‐3518
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Name                           Address1                      Address2                 Address3   Address4         City             State Zip
SCHICKEL, JOHN J               11105 W PALMERAS DR                                                                SUN CITY          AZ 85373‐1825
SCHICKER, BARBARA              2301 GREYMOOR WAY                                                                  BALDWINSVILLE     NY 13027‐9312
SCHICKER, JOHN G               9 CENTURIAN CIR                                                                    WEBSTER           NY 14580‐2468
SCHICKETANZ, M G               1755 LAKE RD S                APT 230                                              TARPON SPRINGS    FL 34688‐9135
SCHICKETANZ, M G               1755 E LAKE RD S APT 131                                                           TARPON SPRINGS    FL 34688‐9132
SCHICKETHA F SMITH             983 NORTH RD SE                                                                    WARREN            OH 44484‐4860
SCHICKETHA SMITH               983 NORTH RD SE                                                                    WARREN            OH 44484‐4860
SCHICKLER, JOHN F              22 TWIN CIRCLE DR                                                                  ROCHESTER         NY 14624‐3315
SCHICKLER, STEPHEN J           279 NORMAN RD                                                                      ROCHESTER         NY 14623‐1155
SCHICKLING ROBERT W (186186)   PAUL REICH & MYERS            1608 WALNUT ST STE 500                               PHILADELPHIA      PA 19103‐5446
SCHICKLING, ROBERT             PAUL REICH & MYERS            1608 WALNUT ST STE 500                               PHILADELPHIA      PA 19103‐5446
SCHIDECKER, EARL E             13215 LUTHMAN RD                                                                   MINSTER           OH 45865‐9390
SCHIDECKER, EARL E             1245 SEQUOIA CT APT F                                                              TIPP CITY         OH 45371‐2886
SCHIDECKER, JOSEPH L           7805 HORNED LARK CR                                                                PORT ST.LUCIE     FL 34952‐3196
SCHIDRICH, STEVEN P            61‐17 81 STREET                                                                    MIDDLE VILLAGE    NY 11379
SCHIEB, CAROLE J               341 EDINBOROUGH ST                                                                 TEMPERANCE        MI 48182‐1196
SCHIEB, ROBERT E               5317 LAKE FOREST RESERVE LN                                                        BRUNSWICK         OH 44212‐6244
SCHIEBE DAVID                  SCHIEBE, DAVID                634 HURON                                            ROMEOVILLE         IL 60446
SCHIEBE, DAVID                 634 HURON                                                                          ROMEOVILLE         IL 60446
SCHIEBEL, CATHERINE L          2433 APRIL DR                                                                      MOUNT MORRIS      MI 48458‐8205
SCHIEBEL, LUDWIG L             10822 KOLB AVE                                                                     ALLEN PARK        MI 48101‐1182
SCHIEBER, MARLENE F            8900 N PROSPECT AVE                                                                KANSAS CITY       MO 64156‐1218
SCHIEBER, MARSHA K             1640 SUNSET POINT DRIVE                                                            MUSKEGON          MI 49441‐5894
SCHIEBER, PAULA L              7149 WHITE OAK BLVD                                                                MOUNT MORRIS      MI 48458‐9321
SCHIEBER, RICHARD D            7149 WHITE OAK BLVD                                                                MOUNT MORRIS      MI 48458
SCHIEBER, RUSSELL H            2914 HUNTERS PL                                                                    KALAMAZOO         MI 49048‐6154
SCHIEBERL, ANDREW J            1945 WILDER ST                                                                     HASLETT           MI 48840‐8209
SCHIEBERL, JOYCE M             201 EAST EDGEWOOD BOULEVARD                                                        LANSING           MI 48911‐5858
SCHIEBERL, JOYCE M             109 D E EDGEWOOD BLVD                                                              LANSING           MI 48911‐5800
SCHIEBERL, MICHAEL DANIEL      717 VANCE ST                                                                       LANSING           MI 48906‐4260
SCHIEBLE, DAVID W              225 MERRYMONT RD                                                                   CHEEKTOWAGA       NY 14225‐1053
SCHIEBLE, DAVID W              13 MCPARLIN AVE                                                                    CHEEKTOWAGA       NY 14225‐4577
SCHIEBNER, RICHARD J           12362 S MORRICE RD                                                                 MORRICE           MI 48857‐9719
SCHIEBNER, ROBERT J            248 WYLIE ST                                                                       SAGINAW           MI 48602‐3052
SCHIED MAKI, MARY K            1418 CONNER STATION RD                                                             SIMPSONVILLE      KY 40067‐7618
SCHIED SUSAN                   10037 S CLAREMONT AVE                                                              CHICAGO            IL 60643‐1921
SCHIED, JOHN T                 7301 PARKWOOD DR                                                                   FENTON            MI 48430‐9318
SCHIEDEL, JUNIOR A             22724 ST JOAN                                                                      ST CLAIR          MI 48080
SCHIEDEL, MICHELE M            APT E                         205 AUTUMN COURT                                     BLUFFTON          IN 46714‐1397
SCHIEDER LAWRENCE              920 PARK AVE APT 4D                                                                NEW YORK          NY 10028
SCHIEDER, KARL H               10‐23 117 STREET                                                                   COLLEGE POINT     NY 11356
SCHIEDING, PEGGY J             11024 S STATE RD                                                                   SAINT JOHNS       MI 48879‐9794
SCHIEF, BARBARA                N3089 CTH Q                                                                        MEDFORD           WI 54451
SCHIEFELBEIN, BETTY W          105 SOUTH OUTER DR.                                                                VIENNA            OH 44473‐9729
SCHIEFELBEIN, BETTY W          105 S OUTER DR                                                                     VIENNA            OH 44473‐9729
SCHIEFELBEIN, JAMES O          1236 E COURT ST                                                                    JANESVILLE        WI 53545‐2565
SCHIEFELBEIN, PAUL F           2803 RUTLEDGE AVE                                                                  JANESVILLE        WI 53545‐1397
SCHIEFELBEIN, SUE A            7231 W THORNAPPLE DR                                                               JANESVILLE        WI 53548‐8687
SCHIEFEN, DAVID S              880 SERENIDAD PL                                                                   GOLETA            CA 93117‐1708
SCHIEFER, DANIEL W             315 BEYERLEIN ST                                                                   FRANKENMUTH       MI 48734‐1503
SCHIEFER, DARYL R              8558 BELSAY RD                                                                     MILLINGTON        MI 48746
SCHIEFER, GARY F               7056 FRANKENMUTH RD                                                                VASSAR            MI 48768‐9419
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Name                            Address1                        Address2                        Address3   Address4         City               State Zip
SCHIEFER, PATRICIA A            6948 PAXTON RD                                                                              LOVELAND            OH 45140‐9486
SCHIEFER, URSULA F              231 KEYSTONE DR                                                                             MIDDLETOWN          PA 17057‐5605
SCHIEFERLE, SHIRLEY             #10 SHASTA POINTE CT                                                                        SAINT CHARLES       MO 63301‐8402
SCHIEFERLE, SHIRLEY             10 SHASTA POINTE CT                                                                         SAINT CHARLES       MO 63301‐8402
SCHIEFERSTEIN MARTIN (454038)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                                PROFESSIONAL BLDG
SCHIEFERSTEIN, MARTIN           BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD         OH 44067
                                                                PROFESSIONAL BLDG
SCHIEFERT, SUSAN                8230 BRYANT AVE S                                                                           BLOOMINGTON        MN   55420‐2136
SCHIEFFELIN SR, EDWARD J        736 DAVID LN                                                                                LEWISTON           NY   14092‐1180
SCHIEFFER JR, CHARLES W         1949 SPIELHAGEN RD                                                                          TROY               MO   63379‐3505
SCHIEFFER, DONNA J              1102 YOUNGSTOWN KINGSVILLE RD   S.E.                                                        VIENNA             OH   44473‐9685
SCHIEFFER, GEORGIA B            1949 SPIELHAGEN ROAD                                                                        TROY               MO   63379‐3505
SCHIEFFER, KAREN R              1949 SPIELHAGEN RD                                                                          TROY               MO   63379‐3505
SCHIEFFER, REBECCA L            1635 N HIGHWAY W                                                                            ELSBERRY           MO   63343‐3039
SCHIEFFER, TRISTA K             332 EAST ST                                                                                 MILFORD            MI   48381‐1931
SCHIEL, DAVID C                 PO BOX 581                                                                                  GENESEE            MI   48437‐0581
SCHIEL, DELORIS M               740 LOUISA ST                                                                               MOUNT MORRIS       MI   48458‐1735
SCHIEL, ESTHER                  9705 NE 10TH ST                                                                             OKLAHOMA CITY      OK   73130
SCHIEL, MICHAEL A               4170 COMMERCE DRIVE                                                                         FLUSHING           MI   48433
SCHIELDKNECHT, KATALIN          850 N RADEMACHER ST                                                                         DETROIT            MI   48209‐2213
SCHIELDT, ROBERT W              5347 W STONE FARM RD                                                                        EDGERTON           WI   53534‐8507
SCHIELE DAVID                   7911 THORNBUSH DRIVE                                                                        WESTERVILLE        OH   43082‐9199
SCHIELE TERRY                   1709 ELSMERE RD                                                                             WATERFORD          MI   48328‐1612
SCHIELE, JANICE E               135 DOGWOOD DR                                                                              OAKLAND            MI   48363‐1313
SCHIELKE JR, ALEXANDER E        3840 JACKSON RD                                                                             SARANAC            MI   48881‐9742
SCHIELKE SR, ERWIN W            3079 OAK GROVE RD                                                                           HOWELL             MI   48855‐9379
SCHIELKE, EDUARD                616 E 3RD AVE                                                                               ROSELLE            NJ   07203‐1506
SCHIELKE, JEAN M                3079 OAK GROVE RD                                                                           HOWELL             MI   48855
SCHIELTZ, JERRY E               229 TETBURY ROAD                                                                            TROY               OH   45373‐2663
SCHIELTZ, JERRY E               229 TETBURY RD                                                                              TROY               OH   45373‐2663
SCHIELTZ, STEPHANIE
SCHIEMAN, JAMES R               206 WHITTINGTON DR                                                                          CENTERVILLE        OH   45459‐2132
SCHIEMANN, DON A                110 BALDWIN RD                                                                              BIRMINGHAM         MI   48009‐1356
SCHIER, GRETNA J                1500 CATHERINE ST APT C312                                                                  WALLA WALLA        WA   99362‐4288
SCHIER, GRETNA J                1500 CATHERINE ST               APT 312                                                     WALLA WALLA        WA   99362‐4288
SCHIERENBERG, ANNE M            PO BOX 72                                                                                   STERLING FOREST    NY   10979‐0072
SCHIERLING, A M                 4570 E YALE AVE APT 205                                                                     DENVER             CO   80222‐6549
SCHIERLING, VERLON L            20676 MORNINGSTAR DR                                                                        BEND               OR   97701‐8541
SCHIERLINGER, DOLORES A         5669 MCMILLAN ST                                                                            DEARBORN HEIGHTS   MI   48127‐2432
SCHIERLOH, FRED L               1505 SMITH RD                                                                               TEMPERANCE         MI   48182‐1038
SCHIERLOH, GEORGE A             2553 CINCINNATI DAYTON RD                                                                   MIDDLETOWN         OH   45044‐8906
SCHIERLOH, VIRGINIA M           264 WILMINGTON AVE              THE SANCTUARY                                               DAYTON             OH   45420‐1989
SCHIERLOH, VIRGINIA M           800 SOUTH PEARS AVE                                                                         LIMA               OH   45805‐5805
SCHIERUP, DANE B                8240 PINE ST                                                                                GOODRICH           MI   48438‐9308
SCHIERUP, JANE                  8805 NAVAHO TRL                                                                             HOWARD CITY        MI   49329‐9152
SCHIERUP, JANE                  8460 PONTIAC DR                                                                             HOWARD CITY        MI   49329‐9352
SCHIES, PATRICIA A              1331 TIFFIN AVE                                                                             FINDLAY            OH   45840‐6235
SCHIESEL, RICHARD J             16919 DRIFTWOOD DR                                                                          MACOMB             MI   48042‐3602
SCHIESL, DOROTHY R              99 CAREFREE LN                                                                              CHEEKTOWAGA        NY   14227‐2220
SCHIESS, LUELLA                 3434 NORTH BOOTH ST                                                                         MILWAUKEE          WI   53212‐1602
SCHIESS, WALTER H               819 CEMETERY RD                                                                             FREEBURG           IL   62243‐1719
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Name                             Address1                            Address2                         Address3                 Address4             City            State Zip
SCHIESSER, WILLIAM R             5304 MILLBANK RD                                                                                                   GREENDALE        WI 53129‐1240
SCHIESSLER, STEPHEN J            5827 OVERHILL LN                                                                                                   DAYTON           OH 45429‐6043
SCHIESTEL, BERNIECE L            2458 RUSHBROOK DR                                                                                                  FLUSHING         MI 48433
SCHIESTEL, DONNA J               191 APOLLO AVE                                                                                                     FLUSHING         MI 48433‐9325
SCHIESTEL, THOMAS M              4076 MARATHON RD                                                                                                   COLUMBIAVILLE    MI 48421‐8958
SCHIESTEL, WILLIAM R             5036 NORTH ELMS ROAD                                                                                               FLUSHING         MI 48433‐1481
SCHIETAERT, ROBERT D             212 MOUNTWOOD DR                                                                                                   HUDDLESTON       VA 24104‐3340
SCHIEVE, EDWIN E                 2258 N HAWTHORNE PARK DR                                                                                           JANESVILLE       WI 53545‐2065
SCHIEVE, GINA L                  505 MEADOWLARK DR                                                                                                  MADISON          WI 53714‐3303
SCHIEVE, LARRY E                 1926 W GLENMOOR LN                                                                                                 JANESVILLE       WI 53545‐9620
SCHIEVE, ROBERT A                9721 W HUTTON DR                                                                                                   SUN CITY         AZ 85351‐1441
SCHIFANO JOHN                    1 SMALLEY AVE                                                                                                      MIDDLESEX        NJ 08846‐2231
SCHIFANO THOMAS                  3100 RIDGEMOOR CT                                                                                                  PROSPECT         KY 40059‐8112
SCHIFANO, CALOGERO A             975 N JERICO DR                                                                                                    CASSELBERRY      FL 32707‐5920
SCHIFANO, MARY V                 620 PERRY CREEK DR                                                                                                 GRAND BLANC      MI 48439‐1474
SCHIFANO, SALVATORE              100 GALLATIN AVE                                                                                                   BUFFALO          NY 14207‐2126
SCHIFANO, WILLIAM J              74 ELMONT RD                                                                                                       TRENTON          NJ 08610‐1217
SCHIFANO‐FOPIANO, LORRAINE A     7 EUNICE CIR                                                                                                       WAKEFIELD        MA 01880‐4910
SCHIFERL, DAWN M                 326 6TH ST N                                                                                                       HUDSON           WI 54016‐1015
SCHIFF DAVID                     SCHIFF, BONNY                       3333 LEE PKWY STE 600                                                          DALLAS           TX 75219‐5117
SCHIFF DAVID                     SCHIFF, DAVID                       3333 LEE PKWY STE 600                                                          DALLAS           TX 75219‐5117
SCHIFF HARDEN LLP                ATTORNEY FOR COLUMBIA GAS OF OIO,   ATTENTION: LOUIS T. DELUCIA      900 THIRD AVENUE         TWENTY‐THIRD FLOOR   NEW YORK         NY 10022
                                 INC
SCHIFF HARDIN & WAITE            6600 SEARS TOWER                                                                                                   CHICAGO          IL   60606
SCHIFF HARDIN LLP                ATTORNEY FOR COLUMBIA GAS OF OIO,   ATTENTION: ALYSON M. FIEDLER &   233 SOUTH WACKER DRIVE   SUITE 6600           CHICAGO          IL   60606
                                 INC                                 EUGENE GEEKIE
SCHIFF HARDIN LLP                ATTORNEY FOR DOMINION VA, ET AL     ATTENTION: JASON M. TORF         233 SOUTH WACKER DRIVE   SUITE 6600           CHICAGO         IL    60606
SCHIFF RONALD                    836 COUNTY ROAD 3200 N                                                                                             DEWEY           IL    61840‐9604
SCHIFF, CARLIS                   2268 NORTHERN RD                                                                                                   SOMERVILLE      OH    45064‐9603
SCHIFF, SALLY M                  13334 SHERWOOD DR                                                                                                  HUNTINGTN WDS   MI    48070‐1433
SCHIFF, STEVE F                  3391 LATHROP AVE                                                                                                   SIMI VALLEY     CA    93063‐1110
SCHIFFBAUER I I I, FREDERICK J   249B FRIENDSHIP AVE                                                                                                HELLAM          PA    17406‐9062
SCHIFFEL, WILLIAM J              5580 HEGEL RD                                                                                                      GOODRICH        MI    48438‐8918
SCHIFFER, JOYCE A                3539 WESSON                                                                                                        DETROIT         MI    48210
SCHIFFERLE STEVEN                APT 3                               294 SOUTH ELMWOOD AVENUE                                                       BUFFALO         NY    14201‐2371
SCHIFFERLE, ALBERT               192 MELODY LN                                                                                                      TONAWANDA       NY    14150‐9110
SCHIFFERLE, BARBARA              192 MELODY LANE                                                                                                    TONAWANDA       NY    14150‐9110
SCHIFFERLE, FRANCIS R            7600 LINCOLN AVENUE EXT                                                                                            LOCKPORT        NY    14094‐9086
SCHIFFERLE, MARC R               1334 RANSOM RD                                                                                                     LANCASTER       NY    14086‐9743
SCHIFFERLE, RUTH                 500 SCHULTZ RD                      C/O BETH ANN SCHIFFLER                                                         ELMA            NY    14059‐9259
SCHIFFERT, PETER G               7908 AMBER RD                                                                                                      FORT WAYNE      IN    46814‐9774
SCHIFFMACHER, PETER P            52 HERITAGE CT                                                                                                     CHEEKTOWAGA     NY    14225‐3115
SCHIFFNER, ALBERT W              PO BOX 300754                                                                                                      DRAYTON PLNS    MI    48330‐0754
SCHIFKO, EDWARD J                8354 NEWCOMB DR                                                                                                    PARMA           OH    44129‐5825
SCHIFLER, JOANNE                 11935 STEPHANIE LN                                                                                                 MOKENA          IL    60448‐8477
SCHIFO, ALYCE A                  105 KENNEDY DR                                                                                                     WESTVILLE       IL    61883‐1203
SCHIFO, JAMES F                  105 KENNEDY DR                                                                                                     WESTVILLE       IL    61883‐1203
SCHIFO, SUZANNE                  917 S STATE                                                                                                        WESTVILLE       IL    61883‐1745
SCHIFO, SUZANNE                  917 S STATE ST                                                                                                     WESTVILLE       IL    61883‐1745
SCHIGUR, ROBERT M                1087 LANGLEY BLVD                                                                                                  CLAWSON         MI    48017‐1057
SCHIHL, BARBARA                  140 EVELYN ST                                                                                                      BUFFALO         NY    14207‐1707
SCHIHL, DENNIS R                 75 BEATRICE AVE                                                                                                    BUFFALO         NY    14207‐1621
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Name                            Address1                        Address2                       Address3   Address4         City                State Zip
SCHIJAN, NIKOLAI                U.S.1 BROOKSIDE MOBILE PK G‐8                                                              MONMOUTH JCT         NJ 08852
SCHIKORRA, ALFRED E             1976 THISTLEWOOD RD                                                                        OKEMOS               MI 48864‐3722
SCHIKORRA, MARK C               1774 HALL ST                                                                               HOLT                 MI 48842‐1710
SCHILB LINCOLN (410195)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510
                                                                STREET, SUITE 600
SCHILB, LINCOLN                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA 23510‐2212
                                                                STREET, SUITE 600
SCHILBE, DIANA L                21505 NOWLIN ST                                                                            DEARBORN            MI    48124‐3003
SCHILD, AFFIE W                 912 ABERDEEN DR                                                                            INDIANAPOLIS        IN    46241‐1808
SCHILD, BONNIE S                9675 BEND DR                                                                               JENISON             MI    49428‐9525
SCHILD, DENNIS J                6 MARIAN DR                                                                                NORWALK             OH    44857‐1907
SCHILD, EDWIN J                 912 ABERDEEN DR                                                                            INDIANAPOLIS        IN    46241‐1808
SCHILD, FREDERICK G             480 LORI CIRCLE                                                                            CHUCKEY             TN    37641‐6140
SCHILD, MICHAEL G               8429 S SHERIDAN AVE                                                                        DURAND              MI    48429‐9309
SCHILDBERG'S INC.               105 SE KENT ST                                                                             GREENFIELD          IA    50849‐1408
SCHILDHOUSE, RICHARD W          2975 BEEBE RD                                                                              NILES               MI    49120‐9739
SCHILDKNECHT, DALE R            UNIT 5F                         17751 PANAMA CITY BEACH PKWY                               P C BEACH           FL    32413‐2028

SCHILDKNECHT, DALE R            17751 PANAMA CITY BEACH PKWY    5F                                                         PANAMA CITY BEACH   FL    32413‐2000
SCHILDMEIER, EUGENE F           5575 S SHADOW LN                                                                           ANDERSON            IN    46017‐9542
SCHILDMEIER, JANICE K           5772 RENN LN                                                                               INDIANAPOLIS        IN    46254‐2306
SCHILDMEIER, NANCY S            197 W 1400 N                                                                               ALEXANDRIA          IN    46001‐8939
SCHILDMEIER, RITA R             5575 S SHADOW LN                                                                           ANDERSON            IN    46017‐9542
SCHILDMEIER, RONALD E           197 W 1400 N                                                                               ALEXANDRIA          IN    46001‐8939
SCHILDROTH, DARRELL E           990 AMBER VIEW DR SW                                                                       BYRON CENTER        MI    49315‐9740
SCHILDTKNECHT, MARY JANE        950 ROMINE RD                                                                              ANDERSON            IN    46011‐8781
SCHILDTKNECHT, RONALD C         10505 TERESA DR                                                                            WILLIAMSPORT        MD    21795‐3205
SCHILDTKNECHT, RONALD CHARLES   10505 TERESA DR                                                                            WILLIAMSPORT        MD    21795‐3205
SCHILDWACHTER, OSCAR            603 SEENA RD                                                                               BALTIMORE           MD    21221‐6842
SCHILHA, ALEXANDER B            PO BOX 509                                                                                 YREKA               CA    96097‐0509
SCHILHAB LEON A (469763)        WELLBORN HOUSTON ADKISON MANN   PO BOX 1109                                                HENDERSON           TX    75653‐1109
                                SADLER & HILL
SCHILHAB, LEON A                WELLBORN HOUSTON ADKISON MANN   PO BOX 1109                                                HENDERSON            TX   75653‐1109
                                SADLER & HILL
SCHILK, DAN                     6622 STURBRIDGE LN                                                                         CANTON              MI    48187‐2639
SCHILK, EDWARD C                42270 E EDWARD DR                                                                          CLINTON TOWNSHIP    MI    48038‐1717
SCHILKE NEIL A                  SCHILKE SYSTEMS ENGINEERING     2839 PORTAGE TRAIL DR          LLC                         ROCHESTER HILLS     MI    48309‐3212
SCHILKE, NEIL A                 1879 LINCOLNSHIRE DR                                                                       ROCHESTER HILLS     MI    48309‐4530
SCHILKE, RUTH E                 19 FALLS WAY DR                                                                            ORMOND BEACH        FL    32174‐9183
SCHILKE, WARREN R               4125 MENLO PARK LN                                                                         VERMILION           OH    44089‐3604
SCHILKE, WILLIAM E              419 W WILLIAM DR                                                                           BROWNSBURG          IN    46112‐1554
SCHILL ARTHUR C                 35348 MARINA DR                                                                            STERLING HTS        MI    48312‐4136
SCHILL MICHAEL (507595)         GEORGE & SIPES                  151 N DELAWARE ST STE 1700                                 INDIANAPOLIS        IN    46204‐2503
SCHILL RICHARD (191615)         GARRUTO CANTOR TRIAL LAWYERS    204 SUNRISE DR # 2                                         ROCHESTER           NY    14616
SCHILL, AMY L                   1445 HENN HYDE RD NE                                                                       WARREN              OH    44484‐1200
SCHILL, ARLENE M                1819 WALL ST                                                                               PORT HURON          MI    48060‐4956
SCHILL, CATHERINE               29 STUART AVE                   WHALOM DISTRICT                                            LEOMINSTER          MA    01453‐6746
SCHILL, DONALD M                1080 HARRISON ST                                                                           FLORISSANT          MO    63031‐5716
SCHILL, FRANK M                 4824 S TURNER RD                                                                           CANFIELD            OH    44406‐9799
SCHILL, JAMES E                 193 N COLONIAL DR                                                                          CORTLAND            OH    44410‐1105
SCHILL, JOSEPH C                13312 STARLIGHT APT 118 A                                                                  BROOK PARK          OH    44142
SCHILL, LORENZ M                6850 DUCK CREEK RD                                                                         BERLIN CENTER       OH    44401‐9615
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Name                             Address1                          Address2                           Address3   Address4         City               State Zip
SCHILL, MICHAEL                  GEORGE & SIPES                    151 N DELAWARE ST STE 1700                                     INDIANAPOLIS        IN 46204‐2503
SCHILL, PAULA                    4824 S TURNER RD                                                                                 CANFIELD            OH 44406‐9799
SCHILL, PAULA                    4824 SOUTH TURNER ROAD                                                                           CANFIELD            OH 44406‐9799
SCHILL, RICHARD                  GARRUTO CANTOR TRIAL LAWYERS      180 TICES LANE                                                 EAST BRUNSWICK      NJ 08816
SCHILL, RICHARD P                358 SHADY LN                                                                                     HAMILTON            NJ 08619‐1914
SCHILL, RICHARD T                C/O GOLDENBERG HELLER ANTOGNOLI   2227 S STATE RTE 157                                           EDWARDSVILLE         IL 62025
                                 AND ROWLAND P C
SCHILL, TIMOTHY J                853 WOODVILLE RD                                                                                 MANSFIELD          OH    44907‐2107
SCHILL‐KAPP, MICHELE T           42293 WEBSTER RD                                                                                 LAGRANGE           OH    44050‐9425
SCHILLE, DENISE A                13 LINDOR ROAD                                                                                   NORTH READING      MA    01864‐2401
SCHILLER FAMILY TRUST            C\O SECOND NATIONAL BANK          101 N WASHINGTON AVE                                           SAGINAW            MI    48607‐1207
SCHILLER JONATHAN                17 E 75TH ST                                                                                     NEW YORK           NY    10021‐2608
SCHILLER, CEREE L                125 OOSTAGALA DR                                                                                 LOUDON             TN    37774‐6901
SCHILLER, CHARLES R              19455 ELKHART ST                                                                                 HARPER WOODS       MI    48225‐2164
SCHILLER, CHARLES R              2129 BENNOCH RD                                                                                  OLD TOWN           ME    04468‐5612
SCHILLER, CHARLES R              2129 BENNOCH ROAD                                                                                OLD TOWN           ME    04468‐5612
SCHILLER, EDWIN F                4664 BEUREN ST                                                                                   SHELBY TWP         MI    48316‐4027
SCHILLER, FRANK W                1410 THRUSH LN                                                                                   FLORISSANT         MO    63031‐3661
SCHILLER, GARY R                 17950 S WIND DR                                                                                  FRASER             MI    48026‐2449
SCHILLER, GEORGE B               89 CARRIAGE CIR                                                                                  WILLIAMSVILLE      NY    14221‐2142
SCHILLER, GEORGE BERTHOLD        89 CARRIAGE CIR                                                                                  WILLIAMSVILLE      NY    14221‐2142
SCHILLER, HERBERT W              21 E LINDSAY WAY                                                                                 SEDONA             AZ    86351‐7325
SCHILLER, JAMES J                25748 LEXINGTON DR UNIT 3                                                                        SOUTH LYON         MI    48178‐1087
SCHILLER, JOSEPH W               16851 HARLEM AVE APT 109                                                                         TINLEY PARK        IL    60477‐2892
SCHILLER, LAWRENCE J             3299 US HIGHWAY 31                                                                               BRUTUS             MI    49716‐9557
SCHILLER, LEONARD E              26601 COOLIDGE HWY                C/O GUARDIAN CARE, INC.                                        OAK PARK           MI    48237‐1135
SCHILLER, LINDA K                13338 SPRINGFIELD WAY                                                                            HARTLAND           MI    48353‐7310
SCHILLER, MARY E                 STE 4                             624 SOUTH GRAND TRAVERSE ST                                    FLINT              MI    48502‐1230
SCHILLER, MARY F                 7062 STATE ROUTE 609                                                                             BURGHILL           OH    44404‐9732
SCHILLER, MYRON T                21929 LEYTE ST                                                                                   FARMINGTON HILLS   MI    48336‐6040
SCHILLER, NEIL C                 1150 CARSON‐SALT SPGS RD #63                                                                     WARREN             OH    44481
SCHILLER, PAUL J                 7062 STATE ROUTE 609                                                                             BURGHILL           OH    44404‐9732
SCHILLER, STEPHEN R              APT 4                             2891 JAMES AVENUE SOUTH                                        MINNEAPOLIS        MN    55408‐2082
SCHILLER, VERA M                 318 MOHAWK RD                                                                                    JANESVILLE         WI    53545‐2208
SCHILLER, WILLIAM F              2143 EATON DR                                                                                    AVON               OH    44011‐1123
SCHILLI TRANSPORTATION SERVICE   P O BOX 1937 DEPT 89                                                                             INDIANAPOLIS       IN    46206
SCHILLING JR, CHARLES L          122 OAK ST                                                                                       BROOKLYN           MI    49230
SCHILLING AUGUST HAMILTON II     SCHILLING, AUGUST HAMILTON        2269 CHESTNUT ST #603                                          SAN FRANCISCO      CA    94123
SCHILLING CHRIS                  1100 VINTAGE CT                                                                                  SAN MARTIN         CA    95046‐9480
SCHILLING EDWARD & LEONA         3588 FM 1058                                                                                     HEREFORD           TX    79045‐7442
SCHILLING FORGE INC              ATTN: DOUG PELSUE                 606 FACTORY AVE                                                SYRACUSE           NY    13208‐1437
SCHILLING HARRIET G (447539)     CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND          OH    44115
                                 GAROFOLI                          FL
SCHILLING JOHNPAUL               238 MONTE ALTO PL NE                                                                             ALBUQUERQUE        NM    87123‐2311
SCHILLING JR, CHARLES L          122 OAK ST                                                                                       BROOKLYN           MI    49230‐8607
SCHILLING JR, CHARLES LAWRENCE   122 OAK ST                                                                                       BROOKLYN           MI    49230‐8607
SCHILLING JR, FRED F             11802 BELLAMY RD                                                                                 BERLIN HTS         OH    44814‐9444
SCHILLING JR, SYLVESTER D        8354 BUCKELL LAKE RD                                                                             HOLLY              MI    48442‐9778
SCHILLING KATHIE                 PO BOX 2130                                                                                      SAINT JOHNS        AZ    85936‐2130
SCHILLING LOUIS (629618)         GOLDENBERG, MILLER, HELLER &      PO BOX 959                                                     EDWARDSVILLE        IL   62025‐0959
                                 ANTOGNOLI
SCHILLING ROBERT GEORGE          1428 CEDARWOOD DR                                                                                FLUSHING           MI 48433‐1809
                                09-50026-mg              Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
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Name                           Address1                           Address2                          Address3                  Address4         City             State Zip
SCHILLING, ANGELA K            124 S. STATE ST. BOX 657                                                                                        VERONA            OH 45378
SCHILLING, AUGUST HAMILTON     CANNON BLAND WILSON JR             2269 CHESTNUT ST #603                                                        SAN FRANCISCO     CA 94123
SCHILLING, CATHERINE J         117 CASTLEWOOD DR                                                                                               BROOKLYN          MI 49230‐9723
SCHILLING, CHARLENE ANN        640 E WHIPP RD                                                                                                  CENTERVILLE       OH 45459‐2204
SCHILLING, DAVID K             200 WATERCRESS DR                                                                                               ROSWELL           GA 30076‐3605
SCHILLING, DONALD P            19855 N 107TH DR                                                                                                SUN CITY          AZ 85373‐3386
SCHILLING, DOUGLAS A           1071 CONNELL RD                                                                                                 ORTONVILLE        MI 48462‐9711
SCHILLING, ELAINE              28273 HEMLOCK AVE                                                                                               MORENO VALLEY     CA 92555‐5413
SCHILLING, FLORENCE I          671 GIRALDA DR                                                                                                  LOS ALTOS         CA 94024‐3826
SCHILLING, FLORENCE I          671 GIRALDA DRIVE                                                                                               LOS ALTOS         CA 94024‐3826
SCHILLING, GAIL C              26620 HIDDEN COVE LN                                                                                            HARRISON TWP      MI 48045‐3219
SCHILLING, GERALD L            2932 W 100 N                                                                                                    GREENFIELD        IN 46140‐8314
SCHILLING, HARRIET G           CLIMACO LEFKOWITZ PECA WILCOX &    1228 EUCLID AVE, HALLE BLDG 9TH                                              CLEVELAND         OH 44115
                               GAROFOLI                           FL
SCHILLING, HILDA A             814 E M 30                                                                                                      GLADWIN          MI   48624‐9248
SCHILLING, JAMES               20 WHITE TAIL TRL                                                                                               GLADWIN          MI   48624‐9732
SCHILLING, JEFFREY S           860 SPRINGMILL DR                                                                                               SPRINGBORO       OH   45066‐8542
SCHILLING, KATHRYN L           928 HENRY ST                                                                                                    HUNTINGTON       IN   46750‐3703
SCHILLING, KENNETH E           N80W5776 WOODLAND RD                                                                                            CEDARBURG        WI   53012‐1421
SCHILLING, LILLIAN H           13987 WESTBROOK ST                                                                                              DETROIT          MI   48223‐2616
SCHILLING, LOUIS               GOLDENBERG, MILLER, HELLER &       PO BOX 959                                                                   EDWARDSVILLE     IL   62025‐0959
                               ANTOGNOLI
SCHILLING, LYNDA L             122 OAK ST                                                                                                      BROOKLYN         MI   49230‐8607
SCHILLING, MARILYN             1902 N COUNTY ROAD 700 W                                                                                        RICHLAND         IN   47634‐9415
SCHILLING, PAUL J              9313 CREEKSIDE TRL                                                                                              STONE MOUNTAIN   GA   30087‐6773
SCHILLING, RALPH H             12482 LAKE RD                                                                                                   MONTROSE         MI   48457‐9443
SCHILLING, RICHARD G           4 DAWN SKY COURT                   SUN CITY HILTON HEAD                                                         BLUFFTON         SC   29909
SCHILLING, ROBERT E            4640 S IDDINGS RD                                                                                               WEST MILTON      OH   45383‐8745
SCHILLING, ROBERT G            1428 CEDARWOOD DR                                                                                               FLUSHING         MI   48433‐1809
SCHILLING, ROBERT GEORGE       1428 CEDARWOOD DR                                                                                               FLUSHING         MI   48433‐1809
SCHILLING, STEVEN P            PO BOX 261                                                                                                      BURBANK          CA   91503‐0261
SCHILLING, SUSAN A             7836 LEMONGRASS LN                                                                                              INDIANAPOLIS     IN   46227‐5902
SCHILLING, SUSAN A             7915 RED CLOVER DR                                                                                              INDIANAPOLIS     IN   46227‐8309
SCHILLING,JOHN‐PAUL M          238 MONTE ALTO NE                                                                                               ALBUQUERQUE      NM   87123
SCHILLING‐GILLIS BEVERLY ANN   32300 TURNSTONE CT                                                                                              MILLSBORO        DE   19966‐9039
SCHILLINGER ALVIN G (356910)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                  NORFOLK          VA   23510
                                                                  STREET, SUITE 600
SCHILLINGER BRADLEY            CUSTOM CARE TAKING & LANDSCAPING   JASTROCH & LABARGE S.C.           P O BOX 1487 FREEDOM                       WAUKESHA         WI 53187‐1487
                               LLC                                                                  SQUARE , 640 W MORELAND
                                                                                                    BLVD
SCHILLINGER BRADLEY            SCHILLINGER, BRADLEY J             PO BOX 1487                                                                  WAUKESHA         WI 53187‐1487
SCHILLINGER JR, RALPH C        7126 E BRISTOL RD                                                                                               DAVISON          MI 48423‐2400
SCHILLINGER, ALVIN G           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                  NORFOLK          VA 23510‐2212
                                                                  STREET, SUITE 600
SCHILLINGER, BRADLEY J         JASTROCH & LABARGE S.C.            PO BOX 1487                                                                  WAUKESHA         WI   53187‐1487
SCHILLINGER, CAROL L           7126 E BRISTOL RD                                                                                               DAVISON          MI   48423‐2400
SCHILLINGER, CAROL LYNN        7126 E BRISTOL RD                                                                                               DAVISON          MI   48423‐2400
SCHILLINGER, CHARLES E         3243 OAKLAWN AVE SE                                                                                             WARREN           OH   44484‐3402
SCHILLINGER, ERIC J            41828 PARK RIDGE RD                                                                                             NOVI             MI   48375‐2643
SCHILLINGER, MARY              7577 RIDGE ROAD                                                                                                 GASPORT          NY   14067‐9425
SCHILLINGER, RANDALL L         6120 WOODSDALE DR                                                                                               GRAND BLANC      MI   48439‐8552
SCHILLINGER, RANDALL LEE       6120 WOODSDALE DR                                                                                               GRAND BLANC      MI   48439‐8552
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Name                           Address1                       Address2           Address3         Address4         City                  State Zip
SCHILLINGER, ROBERT O          150 CAMBRIDGE AVE                                                                   WEST SENECA            NY 14224‐1952
SCHILLINGER, STEVE L           3036 W BALDWIN RD                                                                   GRAND BLANC            MI 48439‐9323
SCHILLINGER, THELMA P          79 BEAVER CROSSING                                                                  ROXBORO                NC 27574‐6447
SCHILLMAN, RONALD J            7243 NORTHFIELD CIR                                                                 FLUSHING               MI 48433‐9427
SCHILS, DUANE R                12320 WELLS RD                                                                      MILAN                  MI 48160‐9129
SCHILT, HAROLD G               22438 ROAD 122                                                                      OAKWOOD                OH 45873‐9323
SCHILT, HAROLD GUY             22438 ROAD 122                                                                      OAKWOOD                OH 45873‐9323
SCHILT, JERRY D                9638 TAFT RD                                                                        PLAINFIELD             WI 54966‐9422
SCHILT, RONALD R               545 E CLAY ST                                                                       WHITEWATER             WI 53190‐2007
SCHILTZ, ELIZABETH M           3821 TULIP LN                                                                       KOKOMO                 IN 46902‐4365
SCHILTZ, JAMES C               PO BOX 2                                                                            WAYNE                   IL 60184‐0002
SCHILTZ, MARGARET              141 ALCOTT RD                                                                       ROCHESTER              NY 14626‐2410
SCHILTZ, SCOTT M               131 BROOK HILL LANE                                                                 TROY                   MO 63379‐3462
SCHILTZ, WILLIAM T             131 BROOK HILL LN                                                                   TROY                   MO 63379‐3462
SCHILZ, THOMAS G               S81W12904 HI VIEW DR                                                                MUSKEGO                WI 53150‐4228
SCHIM, LEONARD W               837 FAIRFORD RD                                                                     GROSSE POINTE WOODS    MI 48236‐2450
SCHIMANSKY, GEORGE C           35734 SOMERSET ST                                                                   WESTLAND               MI 48186‐4113
SCHIMECK, CATHY D              29706 VAN LAAN DR                                                                   WARREN                 MI 48092‐4252
SCHIMECK, DONALD C             29706 VAN LAAN DR                                                                   WARREN                 MI 48092‐4252
SCHIMECK, LINDA S              16533 CONCORD DR                                                                    CLINTON TWP            MI 48035‐1125
SCHIMEK, CHARLES E             105 RIDGE CREEK DR                                                                  JANESVILLE             WI 53548‐5823
SCHIMEK, JAMES S               8 NEWBURY WALK                                                                      TONAWANDA              NY 14150‐6826
SCHIMEK, ROBERTA ANN           W6076 HACKBARTH RD                                                                  FORT ATKINSON          WI 53538‐9326
SCHIMELFENING, ANTHONY J       6909 W 2ND AVE                                                                      KENNEWICK              WA 99336‐1765
SCHIMELFENING, DEBORAH         8420 EASTON COMMONS DR APT B                                                        LOUISVILLE             KY 40242‐7923
SCHIMELFENING, DEBORAH         8420 EASTON COMMONS DRIVE      APT B                                                LOUISVILLE             KY 40242
SCHIMELFENING, GERALD D        15050 LOYOLA DR                                                                     STERLING HTS           MI 48313‐3664
SCHIMELFENING, GERALD J        14150 BOURNEMUTH DR                                                                 SHELBY TOWNSHIP        MI 48315‐2809
SCHIMENTO, DIANE E             30112 PALMER ST                                                                     MADISON HTS            MI 48071‐1826
SCHIMKE, JONATHAN S            3240 S MOUNT TOM RD                                                                 MIO                    MI 48647‐9507
SCHIML, JAMES P                250 ALLEN ST APT 102E                                                               DAYTON                 OH 45410‐1945
SCHIMM, ROBERT E               316 HARVEY ST                                                                       FREELAND               MI 48623‐9004
SCHIMMEL, CHARLES E            797 OYSTER LN SW                                                                    SUPPLY                 NC 28462‐3092
SCHIMMEL, DANA                 523 W STACY CT                                                                      CADOTT                 WI 54727‐9642
SCHIMMEL, DELSIE E             332 E 600 N                                                                         ALEXANDRIA             IN 46001‐8611
SCHIMMEL, EDWARD L             PO BOX 141                                                                          BURLINGTON             IN 46915‐0141
SCHIMMEL, FLOYD L              332 E 600 N                                                                         ALEXANDRIA             IN 46001‐8611
SCHIMMEL, FREDERICK W          4366 KLAIS DR                                                                       CLARKSTON              MI 48348‐2370
SCHIMMEL, GARY L               8 LAKE PORT CT                                                                      SAINT PETERS           MO 63376‐3219
SCHIMMEL, JESSE G              28733 FLORAL ST                                                                     ROSEVILLE              MI 48066‐2452
SCHIMMEL, KENNETH J            6106 S ROUTIERS AVE                                                                 INDIANAPOLIS           IN 46259‐1358
SCHIMMEL, LARRY C              12438 N JACKLEY RD                                                                  ELWOOD                 IN 46036‐8973
SCHIMMEL, LOUISE A             285 LAFAYETTE RD                                                                    ROCHESTER              NY 14609‐3123
SCHIMMEL, MARY                 22720 MIDDLEBELT RD                                                                 NEW BOSTON             MI 48164‐9481
SCHIMMEL, MARY J               125 S HOUGHTON ST                                                                   MILFORD                MI 48381‐2411
SCHIMMEL, ROY J                407 W WASHINGTON ST                                                                 HOWELL                 MI 48843‐2139
SCHIMMEL, VALERIE A            407 W WASHINGTON ST                                                                 HOWELL                 MI 48843‐2139
SCHIMMELE, THOMAS A            3063 HILLWOOD DR                                                                    DAVISON                MI 48423‐9583
SCHIMMELPFENNING, KAREN R      1115 REMINGTON TRL                                                                  COLUMBIA               TN 38401‐9052
SCHIMMER PONTIAC‐OLDS‐BUICK‐   1501 S 13TH AVE                                                                     MENDOTA                 IL 61342‐9754
CHEVROL
                               09-50026-mg             Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
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Name                           Address1                           Address2                      Address3     Address4              City              State Zip
SCHIMMER PONTIAC‐OLDS‐BUICK‐   1501 S 13TH AVE                                                                                     MENDOTA             IL 61342‐9754
CHEVROLET, INC.
SCHIMMER PONTIAC‐OLDS‐BUICK‐   JEFFREY SCHIMMER                   1501 S 13TH AVE                                                  MENDOTA            IL   61342‐9754
CHEVROLET, INC.
SCHIMMER, MARTIN C             1437 VIA LA COSTA WAY                                                                               KAYSVILLE         UT    84037‐4059
SCHIMMICK, GENEVIEVE L         UNIT 143                           5830 EAST MCKELLIPS ROAD                                         MESA              AZ    85215‐2787
SCHIMMOELLER, DANIEL J         18143 STATE ROUTE 190                                                                               FORT JENNINGS     OH    45844‐9161
SCHIMMOELLER, DANIEL JOHN      18143 STATE ROUTE 190                                                                               FORT JENNINGS     OH    45844‐9161
SCHIMMOELLER, KENNETH L        3040 BERRYHILL RD                                                                                   LIMA              OH    45801‐1151
SCHIMMOELLER, RICHARD D        18584 ROAD M17                                                                                      FORT JENNINGS     OH    45844‐9758
SCHIMMOELLER, RONALD J         11536 MOX RD                                                                                        DELPHOS           OH    45833‐8944
SCHIMMOELLER, WILLIAM J        315 S CASS ST                                                                                       DELPHOS           OH    45833‐1809
SCHIMMOLLER, SONDRA KAY        168 MCNEELA DR                                                                                      TITUSVILLE        FL    32796‐3291
SCHIMON, RONALD W              1010 W SNELL RD                                                                                     ROCHESTER         MI    48306‐1739
SCHIMON, RUDOLF A              315 W SNELL RD                                                                                      ROCHESTER         MI    48306‐1726
SCHIMP, FRANCES Y              469 GARLAND DR                                                                                      NILES             OH    44446‐1106
SCHIMP, FRANCES Y              469 GARLAND DR.                                                                                     NILES             OH    44446‐1106
SCHIMP, JAMES L                8665 ROSARIO CT                                                                                     WHITE LAKE        MI    48386‐4403
SCHIMP, JOHN L                 SAN ISIDRO 347                     PROVINCIA JURIQUILLA                       QUERETARO QRO 76230
                                                                                                             MEXICO
SCHIMPF, ALEXANDER             516 SHARON DR                                                                                       FLUSHING          MI    48433‐1569
SCHIMPF, BETTY J               8067 W BECKTON LN                                                                                   BOISE             ID    83714‐1374
SCHIMPF, DONALD F              4725 SHATTUCK RD                                                                                    SAGINAW           MI    48603‐2960
SCHIMPF, JOAN M                21 SHADOW PINES DR                                                                                  PENFIELD          NY    14526‐1060
SCHIMPF, JOHN                  8836 WINDING RIDGE RD                                                                               INDIANAPOLIS      IN    46217‐4687
SCHIMPF, LEROY C               2063 MIDDLE HAVEN DR                                                                                GLADWIN           MI    48624‐8504
SCHIMPF, MARY J                3735 DELAWARE AVE                  APT 521                                                          BUFFALO           NY    14217‐1063
SCHIMPF, MARY J                2063 MIDDLE HAVEN DR                                                                                GLADWIN           MI    48624‐8504
SCHIMPT, DAVID G               5094 DUSTINE DR N                                                                                   SAGINAW           MI    48603‐1852
SCHIMSCHACK, ROBERT J          6701 SCHULTZ ST                                                                                     NIAGARA FALLS     NY    14304‐4530
SCHIMUNEK ED                   LAW OFFICES OF PETER G. ANGELOS    100 NORTH CHARLES STREET      22ND FLOOR                         BALTIMORE         MD    21201
SCHIMUNEK EDWARD (626148)      ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                       BALTIMORE         MD    21202
                                                                  CHARLES CENTER 22ND FLOOR
SCHIMUNEK, EDWARD              ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET, ONE                                        BALTIMORE         MD 21202
                                                                  CHARLES CENTER 22ND FLOOR
SCHINAMAN, JOAN E              203 BROOKSIDE TER                                                                                   TONAWANDA         NY    14150‐5901
SCHINAS HARRY                  SCHINAS, ATHENA                    12 HARDING STREET SUITE 110                                      LAKEVILLE         MA    02347
SCHINAS HARRY                  SCHINAS, HARRY                     12 HARDING STREET SUITE 110                                      LAKEVILLE         MA    02347
SCHINAS, ATHENA                BOLZ LOVASZ TOTH & RUGGIERO PLLC   12 HARDING ST STE 110                                            LAKEVILLE         MA    02347‐1232
SCHINAS, GEORGIA S             2604 W RICE ST                                                                                      CHICAGO           IL    60622‐4540
SCHINAS, HARRY                 BOLZ LOVASZ TOTH & RUGGIERO PLLC   12 HARDING ST STE 110                                            LAKEVILLE         MA    02347‐1232
SCHINAS, RICHARD A             28 FENWICK RD                                                                                       TONAWANDA         NY    14150‐7046
SCHINBECKLER, ESTHER           1834 CRYSTAL BAY EAST DRIVE                                                                         PLAINFIELD        IN    46168‐9308
SCHINDEHETTE, ROBERT           49116 PHILADELPHIA CT                                                                               SHELBY TOWNSHIP   MI    48315‐3968
SCHINDERLING, CAROLIN K        1621 E 86TH ST S                                                                                    HAYSVILLE         KS    67060‐9162
SCHINDEWOLF, MELVIN J          20 LINWOOD AVENUE                                                                                   TRENTON           NJ    08638
SCHINDLER ELEVATOR             PO BOX 1935                                                                                         MORRISTOWN        NJ    07962‐1935
SCHINDLER ELEVATOR (SATURN)    1225 W WASHINGTON ST STE 400                                                                        TEMPE             AZ    85281‐1240
SCHINDLER ELEVATOR CORP        3135 PINETREE RD STE 2B                                                                             LANSING           MI    48911‐4242
SCHINDLER ELEVATOR CORP        3111 CHRISTY WAY S STE D                                                                            SAGINAW           MI    48603‐2263
SCHINDLER ELEVATOR CORP        620 12TH AVE 4TH FL                                                                                 NEW YORK          NY    10036
SCHINDLER ELEVATOR CORP
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Name                             Address1                            Address2                       Address3   Address4             City             State Zip
SCHINDLER ELEVATOR CORP          435 LAWRENCE BELL DR                                                                               WILLIAMSVILLE     NY 14221
CORPORATION
SCHINDLER ELEVATOR CORPORATION   40 COWDRAY CT                                                                 SCARBOROUGH CANADA
                                                                                                               ON M1S 1A1 CANADA
SCHINDLER ELEVATOR CORPORATION   1735 DELMAR BLVD                    DIV OF SCHINDLER ELEVATOR                                      SAINT LOUIS      MO   63103‐1709
SCHINDLER ELEVATOR CORPORATION   ASTA VAITKUS                        20 WHIPPANY RD                                                 MORRISTOWN       NJ   07960‐4539
SCHINDLER ELEVATOR CORPORATION   1530 TIMBERWOLF DRIVE                                                                              HOLLAND          OH   43528
SCHINDLER HOLDING AG             3111 CHRISTY WAY S STE D                                                                           SAGINAW          MI   48603‐2263
SCHINDLER RAYMOND F (411031)     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA   23510
                                                                     STREET, SUITE 600
SCHINDLER SANDRA                 12503 FLEETWOOD RD                                                                                 TOMAH            WI   54660‐8147
SCHINDLER, BEVERLY A             3363 S INES DR                                                                                     DURAND           MI   48429‐9742
SCHINDLER, BEVERLY J             1471 MARIA ST                                                                                      FLINT            MI   48507‐5527
SCHINDLER, BILLY J               2301 PADRE ISLAND DR                                                                               PUNTA GORDA      FL   33950‐8103
SCHINDLER, CAROL J               3534 VILLAGE WAY                                                                                   TAMPA            FL   33629‐8950
SCHINDLER, CASSANDRA             603 S ALP ST                                                                                       BAY CITY         MI   48706‐4276
SCHINDLER, CINDY J               620 N CARROLL ST APT 605                                                                           MADISON          WI   53703‐1337
SCHINDLER, CLARENCE E            GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                   SAGINAW          MI   48604‐2602
                                                                     260
SCHINDLER, CLARENCE N            1142 NORMANDY TERRACE DR                                                                           FLINT            MI   48532‐3550
SCHINDLER, CRAIG N               2417 MORTON AVE                                                                                    FLINT            MI   48507‐4465
SCHINDLER, DAVID E               678 VANDERBILT RD                                                                                  LEXINGTON        OH   44904‐9590
SCHINDLER, DELMAR A              6232 CARRIAGE DR                                                                                   DAYTON           OH   45415‐2639
SCHINDLER, DELMER D              931 BEAVER RD                                                                                      BITELY           MI   49309‐9647
SCHINDLER, DONNA J               PO BOX 30013                                                                                       JEWELL           OH   43530‐0013
SCHINDLER, DONNA J               P.O BOX 30013                                                                                      JUWELL           OH   43530
SCHINDLER, ELIZABETH M.          802 GEDDES BLF                                                                                     SAGAMORE HILLS   OH   44067‐2308
SCHINDLER, ELMIRA M              1527 NORTH CLAREMONT DRIVE                                                                         JANESVILLE       WI   53545‐1350
SCHINDLER, ESTHER M              384 GATEWOOD DR APT 5                                                                              MANSFIELD        OH   44907‐2349
SCHINDLER, ESTHER M              384 GATEWOOD RD., APT. #5                                                                          MANSFIELD        OH   44907‐2349
SCHINDLER, FRANCIS E             RR 1, 13572 ST RT 249 BOX 182                                                                      NEY              OH   43549‐9738
SCHINDLER, FRANCIS E             13572 STATE ROUTE 249 18                                                                           NEY              OH   43549
SCHINDLER, GARY M                612 BELLAIRE AVE                                                                                   DAYTON           OH   45420‐5420
SCHINDLER, GEORGE S              5857 FLICKINGER RD                                                                                 NEY              OH   43549‐9735
SCHINDLER, GLENN D               1471 MARIA ST                                                                                      FLINT            MI   48507‐5527
SCHINDLER, GUSTAV                18071 FAIRWOOD DR                                                                                  CLINTON TWP      MI   48035‐2435
SCHINDLER, HENRIETTA Z           805 ANDOVER DR                      C/O DOROTHY M. HALL                                            ROUND ROCK       TX   78664‐3005
SCHINDLER, HENRIETTA Z           C/O DOROTHY M. HALL                 805 ANDOVER DRIVE                                              ROUND ROCK       TX   78664‐8664
SCHINDLER, HENRY J               616 CREEKSIDE DR                                                                                   ALDEN            NY   14004‐9556
SCHINDLER, JAMES W               616 S MOUNTAIN ST                                                                                  BAY CITY         MI   48706‐4259
SCHINDLER, JOAN                  23179 RD B‐23                                                                                      CONTINENTAL      OH   45831‐9431
SCHINDLER, JOHN J                16010 BORMET DR                                                                                    TINLEY PARK      IL   60477‐6354
SCHINDLER, KAREN E               11230 SNYDER RD                                                                                    HOLGATE          OH   43527‐9601
SCHINDLER, KENT P                6402 36TH AVE N                                                                                    CRYSTAL          MN   55427‐2204
SCHINDLER, LEROY A               893 SOUTH JOHNSVILLE RD                                                                            NEW LEBANON      OH   45345‐9107
SCHINDLER, LEROY A               893 S JOHNSVILLE FARMERSVIL RD                                                                     NEW LEBANON      OH   45345‐9107
SCHINDLER, LEROY I               3805 CHESAPEAKE AVE                                                                                JANESVILLE       WI   53546‐4262
SCHINDLER, MARK A                5275 MILLINGTON RD                                                                                 MILLINGTON       MI   48746‐9537
SCHINDLER, MARK S                813 RIDGE RD                                                                                       LAWRENCEVILLE    GA   30043‐3753
SCHINDLER, MARTIN A              18784 ROAD C                                                                                       CONTINENTAL      OH   45831‐9764
SCHINDLER, RAYMOND F             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA   23510‐2212
                                                                     STREET, SUITE 600
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Name                                 Address1                          Address2                     Address3   Address4         City           State Zip
SCHINDLER, ROBERT                    W330S7653 HORSESHOE CT                                                                     MUKWONAGO       WI 53149‐9316
SCHINDLER, ROBERT R                  4273 LATIFEE CT                                                                            SWARTZ CREEK    MI 48473‐1710
SCHINDLER, ROBERT RUSSELL            4273 LATIFEE COURT                                                                         SWARTZ CREEK    MI 48473‐1710
SCHINDLER, RONALD E                  211 W BURBANK AVE                                                                          JANESVILLE      WI 53546‐3246
SCHINDLER, SHARON B                  312 N ACADEMY ST                                                                           JANESVILLE      WI 53548‐3613
SCHINDLER, SHARON B                  312 NORTH ACADAMY ST                                                                       JANESVILLE      WI 53548
SCHINDLER, STEVEN A                  890 BURNSIDE DR                                                                            TIPP CITY       OH 45371‐2704
SCHINDLER, TAMMY J                   235 NORTH PALM STREET                                                                      JANESVILLE      WI 53548‐3595
SCHINDLER, THOMAS                    11230 SNYDER RD                                                                            HOLGATE         OH 43527‐9601
SCHINDLER, TIRZAH Y                  12633 STONE VALLEY LOOP                                                                    FORT MYERS      FL 33913‐6776
SCHINDORF, HAROLD J                  4539 MIRAMAR AVE NE                                                                        GRAND RAPIDS    MI 49525‐1533
SCHINELLA, JOHN R                    3815 INDIAN TRL                                                                            ORCHARD LAKE    MI 48324‐1627
SCHINELLA, ROXANN S                  2759 AVONHURST DR                                                                          TROY            MI 48084‐1062
SCHINELLA, ROXANN SERDONER           2759 AVONHURST DR                                                                          TROY            MI 48084‐1062
SCHINEMAN, THOMAS J                  215 N CANAL RD LOT 121                                                                     LANSING         MI 48917‐8671
SCHINER BRIAN ALAN                   SCHINER, BRIAN ALAN               100 N CHARLES STREET , ONE                               BALTIMORE       MD 21201
                                                                       CHARLES CENTER
SCHINER BRIAN ALAN                   SCHINER, JACQUELINE               100 N CHARLES STREET , ONE                               BALTIMORE      MD 21201
                                                                       CHARLES CENTER
SCHINER, BRIAN ALAN                  ANGELOS PETER G                   100 N CHARLES STREET, ONE                                BALTIMORE      MD 21201‐3812
                                                                       CHARLES CENTER
SCHINER, JACQUELINE                  ANGELOS PETER G                   100 N CHARLES STREET, ONE                                BALTIMORE      MD 21201‐3812
                                                                       CHARLES CENTER
SCHINGLER ROBERT                     PO BOX 1085                                                                                MORRO BAY      CA   93443‐1085
SCHINGS, JEFFREY L                   19061 W TROWBRIDGE RD                                                                      MARTIN         OH   43445‐9723
SCHINGS, JEFFREY LYLE                19061 W TROWBRIDGE RD                                                                      MARTIN         OH   43445‐9723
SCHINI, WILMA R                      PO BOX 1503                                                                                LOS FRESNOS    TX   78566‐1503
SCHINK THOMAS A                      SCHINK, THOMAS A                  9047 FLOWER ST                                           BELLFLOWER     CA   90706‐5605
SCHINKE, RICHARD F                   306 WESTLAWN AVE                                                                           ELKHORN        WI   53121‐1226
SCHINKEL, ELIZABETH M                7927 STATES RD. 52                APT# 215                                                 HUDSON         FL   34667
SCHINKEL, WILLIAM P                  28290 GARFIELD ST                                                                          ROSEVILLE      MI   48066‐2677
SCHINKER, WILLIAM T                  3702 NOTTINGHAM AVE                                                                        YOUNGSTOWN     OH   44511‐1108
SCHINLAUB, EVELYN J                  1293 FISK RD                                                                               COOKEVILLE     TN   38501‐2033
SCHINLER, RAYMOND M                  3723 WHITE RIVER DR.                                                                       HESPERIA       MI   49421
SCHINNERER, ANDREW L                 6304 BEECHWOOD DR                                                                          CASS CITY      MI   48726‐1059
SCHINNERER, CAROL J                  12751 W 650 SOUTH                                                                          DALEVILLE      IN   47334
SCHINNERER, GEORGE L                 501 W 34TH ST                                                                              ANDERSON       IN   46013‐3207
SCHINNERER, KENNETH LEE              12751 W 650 SOUTH                                                                          DALEVILLE      IN   47334
SCHINNING, MARY                      2802 HERESFORD DR                                                                          PARMA          OH   44134‐3404
SCHINO, JOSEPH M                     32 DECOU AVE                                                                               EWING          NJ   08628‐2907
SCHINO, MICHELANGELA T               24 W UPPER FERRY RD                                                                        EWING          NJ   08628‐2714
SCHINSKE, MARIAN H                   1357 BERNARD ST APT 103                                                                    DENTON         TX   76201‐7144
SCHINSKY, TAMELA L                   3438 MENGERT RD                                                                            LUCAS          OH   44843
SCHINTZIUS, DAVID E                  210 FREMONT ST                                                                             BATTLE CREEK   MI   49017‐3764
SCHINZEL, ROSEMARY                   5256 WESTBURY DR                                                                           COLUMBUS       OH   43228‐3232
SCHINZING, LESTER P                  108 MOCKINGBIRD LN                                                                         FAIRHOPE       AL   36532‐3388
SCHIPANI, LEANNE K                   1797 CULLEOKA HWY                                                                          CULLCOKA       TN   38451‐2714
SCHIPANSKY, AGNES L                  2057 MONTAGUE ROAD                                                                         DAVISON        MI   48423‐9150
SCHIPANSKY, JAMES C                  1015 GRANGER ST                                                                            FENTON         MI   48430‐1566
SCHIPANSKY, JULIE D                  123 HUSTON CT                                                                              HUNTSVILLE     AL   35806‐4254
SCHIPANSKY, RONALD W                 407 ANISE LN                                                                               POINCIANA      FL   34759‐5305
SCHIPKE EDWIN (ESTATE OF) (510597)   SIMMONS FIRM                      PO BOX 521                                               EAST ALTON     IL   62024‐0519
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Name                       Address1                      Address2                     Address3   Address4         City               State Zip
SCHIPKE, EDWIN             SIMMONS FIRM                  PO BOX 521                                               EAST ALTON           IL 62024‐0519
SCHIPKE, HELEN Z           563 PADDOCK AVE                                                                        MERIDEN             CT 06450‐7015
SCHIPLE, GEORGE E          PO BOX 327                                                                             CONTINENTAL         OH 45831‐0327
SCHIPONO, J F              37120 CAMELOT DR                                                                       STERLING HTS        MI 48312‐2416
SCHIPP, JOHN H             EASLEY HICKY & CLINE          PO BOX 1115                                              FORREST CITY        AR 72336‐1115
SCHIPP, MICHAEL K          1533 THORN RIDGE DR                                                                    HOWELL              MI 48843‐8011
SCHIPP, VICKY A            1533 THORN RIDGE DR                                                                    HOWELL              MI 48843‐8011
SCHIPPEL, MARILYN J        2617 W STRUB RD                                                                        SANDUSKY            OH 44870‐7224
SCHIPPEL, WILLIAM L        3507 MAPLE AVE                                                                         CASTALIA            OH 44824‐9443
SCHIPPER, ANTHONY C        G 9326 CRAFTON DR                                                                      SWARTZ CREEK        MI 48473
SCHIPPER, CHRISTINE A      355 FAIRWAY DR                                                                         SPRINGBORO          OH 45066‐1080
SCHIPPER, DELL L           10108 DURHAM AVE                                                                       LUBBOCK             TX 79424‐6291
SCHIPPER, EVAN G           6102 LACEBARK WAY                                                                      AVON                IN 46123‐7186
SCHIPPER, HENDRY           3318 LUTE ST                                                                           NORTH LAS VEGAS     NV 89032
SCHIPPER, HENRI D          C/O PHOTOWERK‐727 STATE       #8                                                       SANTA BARBARA       CA 93101
SCHIPPER, HWAT H           231 RENEE DR                                                                           BEULAH              ND 58523
SCHIPPER, HWAT H           443 PRINCESS AVE                                                                       N LAS VEGAS         NV 89030‐9030
SCHIPPER, KEVIN B          2521 VIRGINIA AVENUE                                                                   KALAMAZOO           MI 49004‐1617
SCHIPPER, MYRTLE A         355 68TH ST                                                                            SOUTH HAVEN         MI 49090‐9187
SCHIPPER, WOUTER           PO BOX 992                                                                             KAPAA               HI 96746‐0992
SCHIPPERIJN, FRANK W       4137 BOLD MEADOWS BLVD.                                                                ROCHESTER           MI 48306
SCHIPPERIJN, LORRAINE M    4137 BOLD MEADOWS BLVD.                                                                ROCHESTER           MI 48306
SCHIPPERS JERRY (450286)   BRAYTON PURCELL               621 SW MORRISON ST STE 950                               PORTLAND            OR 97205‐3824
SCHIPPERS, EVELYN B        10603 EASTERN AVE. SE                                                                  WAYLAND             MI 49348
SCHIPPERS, HARRIETT J      2724 RILEY SW                                                                          WYOMING             MI 49509‐2018
SCHIPPERS, HARRIETT J      2724 RILEY AVE SW                                                                      WYOMING             MI 49509‐2018
SCHIPPERS, JAMES L         15137 S 24TH ST                                                                        VICKSBURG           MI 49097‐9701
SCHIPPERS, JERRY           BRAYTON PURCELL               621 SW MORRISON ST STE 950                               PORTLAND            OR 97205‐3824
SCHIPPERS, LOU ELLA        308 E OAK ST APT 203                                                                   GREENVILLE          MI 48838‐2370
SCHIPPERS, MACARIA E       372 COUNTY ROAD 8                                                                      CORUNNA             IN 46730‐1700
SCHIPPERS, RONALD D        3503 WILEX AVE SW                                                                      WYOMING             MI 49519‐3107
SCHIPPERT, JOHN B          4860 E GARFIELD RD                                                                     PETERSBURG          OH 44454‐9710
SCHIPRITT, EDWARD J        139 VALLEY VIEW DR                                                                     MERIDEN             CT 06450‐4715
SCHIPRITT, FRANK R         14 NARROW LANE                                                                         CHARLESTOWN          RI 02813‐6101
SCHIPRITT, GENEVIEVE B     355 COOK AVE                                                                           MERIDEN             CT 06451‐6259
SCHIPRITT, GENEVIEVE B     355 COOK AVENUE                                                                        MERIDEN             CT 06451‐6259
SCHIRA, FRED M             6738 SPRUCE DR                                                                         BLOOMFIELD HILLS    MI 48301‐3056
SCHIRA, GARY F             4737 OAKRIDGE PARK DR                                                                  SAINT LOUIS         MO 63129‐1788
SCHIRA, STEPHEN J          1812 DREXEL ST                                                                         DEARBORN            MI 48128‐1161
SCHIRACK JANE G            4672 PRESERVE DR NW                                                                    CANTON              OH 44708
SCHIRELLE WILTZ            NO ADDRESS ON FILE
SCHIREMAN LOREN            PO BOX 157                                                                             DARRINGTON         WA   98241‐0157
SCHIRES, HENRI J           12091 BREWSTER ST                                                                      LIVONIA            MI   48150‐1445
SCHIRF (HALL), MILDRED L   2524 BEAVER RIDGE TRAIL                                                                MOGADORE           OH   44260‐1831
SCHIRF, SUZAN              1986 REDBUD CREEK DR                                                                   HARRAH             OK   73045‐9371
SCHIRG, CARL L             3808 VENICE ROAD              ROOM 138                                                 SANDUSKI           OH   44870
SCHIRLE, HAROLD F          9650 KILLDEER CT                                                                       STANWOOD           MI   49346‐9001
SCHIRLE, THOMAS J          4226 PHILLIPS RD                                                                       METAMORA           MI   48455‐9747
SCHIRMACHER, JOSEPH W      3118 YORKWAY                                                                           BALTIMORE          MD   21222‐5344
SCHIRMAN, STEPHEN P        7000 S ASH CIR                                                                         CENTENNIAL         CO   80122‐2119
SCHIRMER CONSTRUCTION CO   31350 INDUSTRIAL PKWY                                                                  NORTH OLMSTED      OH   44070‐4787
SCHIRMER, ALICE M          707 N WILLOW                                                                           MARSHFIELD         WI   54449‐3062
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Name                     Address1                        Address2            Address3         Address4                 City            State Zip
SCHIRMER, ALICE M        707 N WILLOW AVE                                                                              MARSHFIELD       WI 54449‐3062
SCHIRMER, CHARLES A      1100 NORTHVIEW DR APT 8E                                                                      HILLSBORO        OH 45133‐8581
SCHIRMER, EDWARD H       3201 PLEASANT HILL RD                                                                         MOUNT ORAB       OH 45154‐9177
SCHIRMER, FRANK A        308 W SIERRA DR                                                                               RAYMORE          MO 64083‐8508
SCHIRMER, JAMES F        11855 31 MILE RD                                                                              WASHINGTON       MI 48095‐1412
SCHIRMER, MICHAEL J      2736 STONEWALL STA                                                                            SAINT CHARLES    MO 63303‐6180
SCHIRMER, PATRICIA R     1720 S RIDGEWOOD POINT                                                                        INVERNESS        FL 34452‐3691
SCHIRMER, RUTH           115 PEACH ST                                                                                  WINCHESTER       OH 45697‐9494
SCHIRMER, THOMAS G       4864 CLINTON WAY DR                                                                           WATERFORD        MI 48328‐1006
SCHIRMERS GARAGE         3894 ISABELLA AVE                                                                             CINCINNATI       OH 45209‐2127
SCHIRNGLONE, CAROLYN     29 MUIRWOODS LN                                                                               ROCHESTER        NY 14622‐1790
SCHIROS, JOSEPH S        5542 THRUSH DR                                                                                GRAND BLANC      MI 48439‐7940
SCHIRRA, SINDA L         3005 FOXPOINT RD                                                                              BURNSVILLE       MN 55337
SCHIRTZINGER, HOWARD A   5905 NASH LN                                                                                  SPEEDWAY         IN 46224‐5310
SCHISLER JR, WILLIAM F   7619 RAGLAN DR NE                                                                             WARREN           OH 44484‐1433
SCHISLER LAW             PO BOX 6263                                                                                   SAGINAW          MI 48608‐6263
SCHISLER, CARL P         11352 GRAND BLANC RD                                                                          GAINES           MI 48436‐9744
SCHISLER, HAROLD E       1173 RIDGE LAKE DR                                                                            MINERAL RIDGE    OH 44440‐9023
SCHISLER, HARRY M        8485 LINWOOD DR                                                                               ELLICOTT CITY    MD 21043‐4303
SCHISLER, HOMER L        518 S DEERFIELD DR                                                                            CANTON           MS 39046‐9414
SCHISLER, JAMES R        PO BOX 942                                                                                    NAPLES           FL 34106‐0942
SCHISLER, JEANNE A       7745 BROOKWOOD ST NE                                                                          WARREN           OH 44484‐1542
SCHISLER, MELVIN E       6524 WOODBRIDGE CIR                                                                           BALTIMORE        MD 21228‐1126
SCHISLER, MYRTLE         12597 HARMONY DR                                                                              GRAFTON          OH 44044‐9509
SCHISLER, PATRICIA E     7619 RAGLAN DR NE                                                                             WARREN           OH 44484‐1433
SCHISLER, RUTH I         5791 KING RD                                                                                  BRIDGEPORT       MI 48722‐9610
SCHISLER, THOMAS E       1174 SAND RUN RD                                                                              TROY             MO 63379‐3428
SCHISSLER, BARBARA       1235 HYLAND AVE. C3 UNIT# 303   TALMIA CONDO                                                  CLEARWATER       FL 33756
SCHISSLER, CHARLES W     44 KEARNEY ST                                                                                 TERRYVILLE       CT 06786‐6634
SCHISSLER, KAREN L       6125 HOLLY LN                                                                                 LANTANA          FL 33462‐2186
SCHISZLER, JOHN K        31542 CARMODY DR                                                                              WARREN           MI 48092‐1390
SCHITTINA, VITO A        2 WOODBINE STREET                                                                             BRISTOL          CT 06010‐6221
SCHITTINA, VITO A        2 WOODBINE ST                                                                                 BRISTOL          CT 06010‐6221
SCHITTONE, JOSEPH        401 HAGEL AVE                                                                                 LINDEN           NJ 07036‐1023
SCHIVER, JANICE A        PO BOX 850173                                                                                 YUKON            OK 73085‐0173
SCHIVO, LESLIE A         17435 AVENIDA LOS ALTOS                                                                       PRUNEDALE        CA 93907‐1575
SCHJOLIN, JEANNINE       1015 HICKORY RIDGE RT 4                                                                       MILFORD          MI 48380‐3431
SCHKADE, GARY S          745 SPANG RD                                                                                  BADEN            PA 15005‐2549
SCHKADE, GREGG D         1207 LARABEE LN                                                                               HOWELL           MI 48843‐9034
SCHKADE, MONROE M        7530 WOODWIND CT                                                                              BRIGHTON         MI 48116‐4727
SCHKIRKIE, JACOB A       6606 MEREDITH WAY                                                                             MC FARLAND       WI 53558‐9299
SCHKOLNIK, DANIEL G      3197 LOUIS RD                                                                                 PALO ALTO        CA 94303‐3955
SCHLAACK, G. JEAN        1005 PINE ST                                                                                  CHESANING        MI 48616‐1066
SCHLAACK, KATHY J        9056 BALDWIN RD                                                                               GAINES           MI 48436‐9764
SCHLAACK, WANDA L.       6100 S. NEW LOTHROP RD.                                                                       DURAND           MI 48429‐1746
SCHLAADT PL/GERMANY      SCHWALBACHER STR 123            LORCH 65391                          LORCH HE 65391 GERMANY
SCHLAADT PLASTICS GMBH   SCHWALBACHER STR 123 65391                                           LORCH/RHEIN GERMANY
SCHLABACH, DIANA M       4171 MOUNDS RD                                                                                ANDERSON        IN   46017‐1834
SCHLABACH, RODERIC A     1120 S 7TH ST                                                                                 GOSHEN          IN   46526
SCHLABACH, RODNEY W      100 GLENWOOD AVE                                                                              FENTON          MI   48430‐3629
SCHLABACH, WILLIAM T     353 IMAGINATION DR                                                                            ANDERSON        IN   46013‐1055
SCHLABS, ANDREA L        188 WADE AVE                                                                                  NILES           OH   44446
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Name                                Address1                                Address2                         Address3                    Address4         City               State Zip
SCHLACHMAN, BELSKY & WIEN ER P.A.   20 S. CHARLES ST., SUN LIFE BLDG 10TH                                                                                 BALTIMORE           MD 21201
                                    FLOOR
SCHLACHT, RICHARD L                 7617 LIGHTHOUSE RD                                                                                                    PORT HOPE          MI 48468‐9647
SCHLACHTER JEANETTE                 7491 CHATHAM                                                                                                          REDFORD            MI 48239‐1058
SCHLACHTER STEVEN P                 LYNNE KIZIS, ESQ                        WILENTZ, GOLDMAN, AND SPITZER    90 WOODBRIDGE CENTER                         WOODBRIDGE         NJ 07095
                                                                                                             DRIVE
SCHLACHTER STEVEN P (662172)        WILENTZ GOLDMAN & SPITZER               PO BOX 10                                                                     WOODBRIDGE         NJ    07095‐0958
SCHLACHTER, ARTHUR M                626 LONGFELLOW DR                                                                                                     TROY               MI    48085‐4879
SCHLACHTER, ELMER P                 17379 BISHOP RD                                                                                                       CHESANING          MI    48616‐9732
SCHLACHTER, FREDERICH J             14002 SANDY SPRING OVAL                                                                                               STRONGSVILLE       OH    44136‐6727
SCHLACHTER, GLEN                    26051 BOWMAN RD                                                                                                       DEFIANCE           OH    43512‐8996
SCHLACHTER, JOSEPH J                47122 WOODBERRY                                                                                                       MACOMB             MI    48044
SCHLACHTER, LESLIE A                3407 CHESANING RD                                                                                                     CHESANING          MI    48616‐9771
SCHLACHTER, NICHOLAS P              5703 PEET RD                                                                                                          CHESANING          MI    48616‐9777
SCHLACHTER, PAUL H                  3318 WELLINGTON AVE                                                                                                   PARMA              OH    44134‐3650
SCHLACHTER, ROBERT F                1680 ALLEN DR                                                                                                         WESTLAKE           OH    44145‐2505
SCHLACHTER, STEVEN P                WILENTZ GOLDMAN & SPITZER               PO BOX 10                                                                     WOODBRIDGE         NJ    07095‐0958
SCHLACHTER, SUSAN R                 1800 AYERSVILLE AVE                                                                                                   DEFIANCE           OH    43512‐3611
SCHLACHTER, THOMAS W                15623 CULLEN RD                                                                                                       DEFIANCE           OH    43512‐8835
SCHLACK, JOHN E                     6225 R#4 107TH AVE                                                                                                    SOUTH HAVEN        MI    49090
SCHLACK, MARGARET                   29234 LIST ST                                                                                                         FARMINGTON HILLS   MI    48336‐5540
SCHLACK, MARGARET                   29234 LIST STREET                                                                                                     FARMINGTON HILLS   MI    48336
SCHLACKMAN, BEVERLY V               99‐35 59TH AVENUE APT. # 3D                                                                                           REGO PARK          NY    11368
SCHLACTA, THELMA M                  11182 TICONDEROGA DR                                                                                                  LOS ALAMITOS       CA    90720
SCHLACTER, MICHAEL J                1128 GLENDALE LN                                                                                                      NASHVILLE          TN    37204‐4113
SCHLACTER, ROBERTA J                13733 N MCGEE RD                                                                                                      CATLIN             IL    61817‐9216
SCHLADE, DAVID A                    920 CLAIRMONT AVE                                                                                                     NAPOLEON           OH    43545‐1239
SCHLADE, EDWIN F                    768 FOUTH STREET SOUTH EAST                                                                                           AITKIN             MN    56431
SCHLADE, JANICE                     920 CLAIRMONT AVE                                                                                                     NAPOLEON           OH    43545‐1239
SCHLADETSCH JIM                     980 BIRMINGHAM RD STE 501                                                                                             ALPHARETTA         GA    30004‐4421
SCHLAEFER, BERNARD J                1078 N 120TH ST                                                                                                       WAUWATOSA          WI    53226‐3306
SCHLAEFER, THOMAS J                 1023 MILWAUKEE ST                                                                                                     DELAFIELD          WI    53018‐1626
SCHLAEGER, CHARLOTTE                11440 E COLDWATER RD                                                                                                  DAVISON            MI    48423‐8590
SCHLAEPFER, ROBERT B                GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA    23510‐2212
                                                                            STREET, SUITE 600
SCHLAF, CHRISTOPHER A               8125 ORCHARDVIEW DR                                                                                                   WASHINGTON         MI    48095‐1345
SCHLAF, LISA A                      27741 LOS OLAS DR                                                                                                     WARREN             MI    48093‐8206
SCHLAFER, KAY J                     1430 CHESTERFIELD DR                                                                                                  ANDERSON           IN    46012‐4436
SCHLAFF, NANCY A                    1557 MAYER RD                                                                                                         SAINT CLAIR        MI    48079‐2901
SCHLAFFER JR, JOHN B                11609 STATE ROUTE 3                                                                                                   ADAMS              NY    13605‐3181
SCHLAFFER, LARRY F                  10 SPRING ST                                                                                                          MOUNT MORRIS       NY    14510‐1412
SCHLAFFER, LOU ANN                  3601 E WYOMING AVE                      UNIT. 200                                                                     LAS VEGAS          NV    89104
SCHLAFFER, LOU ANN                  3601 E WYOMING AVE SPC 530                                                                                            LAS VEGAS          NV    89104‐4947
SCHLAFMAN, GORDON I                 833 LONGFORD WAY                                                                                                      NOBLESVILLE        IN    46062‐8578
SCHLAG RAYMOND                      SCHLAG, RAYMOND                         120 WEST MADISON STREET , 10TH                                                CHICAGO            IL    60602
                                                                            FLOOR
SCHLAG RAYMOND                      SCHLAG, REBECCA                         KROHN & MOSS ‐ IL                120 WEST MADISON STREET ,                    CHICAGO             IL   60602
                                                                                                             10TH FLOOR
SCHLAG, RAYMOND                     KROHN & MOSS ‐ IL                       120 WEST MADISON STREET, 10TH                                                 CHICAGO             IL   60602
                                                                            FLOOR
SCHLAG, REBECCA                     KROHN & MOSS ‐ IL                       120 WEST MADISON STREET, 10TH                                                 CHICAGO             IL   60602
                                                                            FLOOR
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Name                      Address1                        Address2                Address3    Address4         City                 State Zip
SCHLAGBAUM, GARY J        RD Q BOX 24105                                                                       FORT JENNINGS         OH 45844‐9802
SCHLAGBAUM, GARY J        RR Q BOX 24105                                                                       FT JENNINGS           OH 45844
SCHLAGE, JEAN E           PO BOX 1621                                                                          SAULT SAINTE MARIE    MI 49783‐7621
SCHLAGEL, ELSA J          6871 KEYSTONE ROAD                                                                   TURNER                MI 48765
SCHLAGEL, EVELYN          2205 N WALNUT                                                                        MUNCIE                IN 47303‐1942
SCHLAGEL, EVELYN          2205 N WALNUT ST                                                                     MUNCIE                IN 47303‐1942
SCHLAGEL, GEORGE E        2655 TURNER RD                                                                       TURNER                MI 48765‐9714
SCHLAGEL, JOHN J          2539 LOGGING TRAIL #1                                                                WEST BRANCH           MI 48661
SCHLAGEL, PHILLIP         4900 N TOWNLINE RD                                                                   STERLING              MI 48659‐9437
SCHLAGEL, TERRI L         1096 SEVILLE RD                                                                      ROCHESTER HLS         MI 48309‐3025
SCHLAGEL, WALTER M        8249 AVALON DR                                                                       HALE                  MI 48739‐8733
SCHLAGEL, WILLIAM F       4091 S BELL CREEK RD                                                                 YORKTOWN              IN 47396‐9586
SCHLAGENHAUF PAUL         BADGER TRUCK CENTER INC         2326 W SAINT PAUL AVE                                MILWAUKEE             WI 53233‐2522
SCHLAGER JR, EMIL F       19189 INDIAN WELLS CT                                                                NORTH FORT MYERS      FL 33903‐6637
SCHLAGER, BARRY L         6130 COVENTRY DR                                                                     SWARTZ CREEK          MI 48473‐8851
SCHLAGER, JOHN R          17840 BIGLAKE AVE                                                                    PALMDALE              CA 93591
SCHLAGETTER, BARBARA J    1801 SAINT ANDREWS CT                                                                SPRINGFIELD           OH 45502‐7899
SCHLAIRE, JAMES E         4277 ARBELA RD                                                                       MILLINGTON            MI 48746‐9317
SCHLAIRE, ROBERT L        6727 LOUD DR                                                                         OSCODA                MI 48750‐9676
SCHLAIS JR, RUDOLPH A     839 CEDAR POINT RD                                                                   SANDUSKY              OH 44870‐5229
SCHLAIS, HENRY E          1237 S 115TH ST                                                                      WEST ALLIS            WI 53214‐2239
SCHLAK, ARTHUR C          7790 CHARLTON RD                                                                     JOHANNESBURG          MI 49751‐9616
SCHLAK, CLARENCE R        21110 COUNTY ROAD 624                                                                HILLMAN               MI 49746‐7945
SCHLAK, GERALD R          23899 COUNTY ROAD 451                                                                HILLMAN               MI 49746‐9542
SCHLAK, HENRY J           3000 W CREEK DR                                                                      MEDINA                OH 44256‐5314
SCHLAK, JOSHUA A          2357 EUGENE ST                                                                       BURTON                MI 48519‐1353
SCHLAK, JOSHUA ADAM       2357 EUGENE ST                                                                       BURTON                MI 48519‐1353
SCHLAK, RALPH N           2357 EUGENE ST                                                                       BURTON                MI 48519‐1353
SCHLAKE, GORDON C         3203 STAHLHEBER RD                                                                   HAMILTON              OH 45013‐1955
SCHLAKE, MICHAEL H        1608 VILLA AVE                                                                       INDIANAPOLIS          IN 46203‐2948
SCHLANBUSCH, LOWELL D     49199 MONTE RD                                                                       CHESTERFIELD          MI 48047‐4867
SCHLANDER JR, WILLIAM A   44310 CYPRESS POINT DR                                                               NORTHVILLE            MI 48168‐9659
SCHLANDER, JOAN E         PO BOX 135                                                                           CUMMAQUID             MA 02637‐0135
SCHLANEK, MAXIN I         9 RUTH AVE                                                                           PONTIAC               MI 48341‐1925
SCHLANGEN, GERALD C       4333 TRAILS END DR                                                                   KETTERING             OH 45429‐1661
SCHLANHART, LOU A         1153 W JULIAH                                                                        FLINT                 MI 48505‐1407
SCHLANHART, LOU A         1153 W JULIAH AVE                                                                    FLINT                 MI 48505‐1407
SCHLANHART, MICHAEL P     1153 W JULIAH AVE                                                                    FLINT                 MI 48505‐1407
SCHLAPPI, R D             7150 E EATON HWY                                                                     SUNFIELD              MI 48890‐9043
SCHLAPPI, R DOUGLAS       7150 E EATON HWY                                                                     SUNFIELD              MI 48890‐9043
SCHLAPPI, ROBERT A        11091 JERRYSON DR                                                                    GRAND LEDGE           MI 48837‐9181
SCHLAPPI, ROBERT A        1109 SEYMOUR ST                                                                      GRAND LEDGE           MI 48837‐2128
SCHLAPPI, VERNA A         6299 WALKER DR                                                                       TROY                  MI 48085‐1350
SCHLARB, CRYSTAL JOANNE   APT A                           1646 SPARTAN VILLAGE                                 EAST LANSING          MI 48823‐5923
SCHLARB, MILES E          9309 ERNST RD                                                                        FORT WAYNE            IN 46809‐9605
SCHLARMAN, GREGORY P      35 W GAYLORD AVE                                                                     SHELBY                OH 44875‐1605
SCHLATER, GEORGE C        HC 1 BOX 1740                                                                        SILVA                 MO 63964‐9762
SCHLATER, PATRICIA A      4363 BENNINGTON POND DR                                                              GROVEPORT             OH 43125‐8905
SCHLATER, PATRICIA A      1690 HUNTERS TRACE DR APT 101                                                        MEMPHIS               TN 38120‐4475
SCHLATER, WILLIAM J       2261 LIBERTY ELLERTON RD                                                             DAYTON                OH 45418‐1113
SCHLATTER, CARL E         30 HERITAGE ESTATES                                                                  ALBION                NY 14411‐9758
SCHLATTER, KATHRYN M      209 JACOBS RD                                                                        HUBBARD               OH 44425‐1942
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Name                             Address1                            Address2                       Address3   Address4         City              State Zip
SCHLATTER, VIRGINIA B            4704 E COUNTY ROAD 1000 N                                                                      BRAZIL             IN 47834‐7648
SCHLATTER, WILLIAM R             14834 CAMPBELL RD                                                                              DEFIANCE           OH 43512‐8832
SCHLAU, DARLENE                  184 PAVEMENT RD                                                                                LANCASTER          NY 14086‐9519
SCHLAU, GARY P                   88 PARKVIEW CT                                                                                 LANCASTER          NY 14086
SCHLAU, PAUL                     184 PAVEMENT RD                                                                                LANCASTER          NY 14086‐9519
SCHLAUCH, WILLIAM J              PO BOX 466                                                                                     BLOOMFIELD         MI 48303‐0466
SCHLAUD DOUGLAS H                5196 LAKE PLEASANT RD                                                                          NORTH BRANCH       MI 48461‐8884
SCHLAUD, ANDREW J                1820 WIRE LINE RD                                                                              CARO               MI 48723‐9521
SCHLAUD, ANTHONY J               1248 LAKESHORE DR                                                                              COLUMBIAVILLE      MI 48421‐9771
SCHLAUD, CECILIA A               1844 RALEIGH AVE APT 11                                                                        LAPEER             MI 48446‐4181
SCHLAUD, CHRISTOPHER F           5323 LAKE PLEASANT RD                                                                          NORTH BRANCH       MI 48461‐8904
SCHLAUD, DANIEL J                6295 MAPLE RD                                                                                  VASSAR             MI 48768‐9295
SCHLAUD, DANIEL JAY              6295 MAPLE RD                                                                                  VASSAR             MI 48768‐9295
SCHLAUD, DENNIS                  5464 OLD STATE RD                                                                              NORTH BRANCH       MI 48461‐8101
SCHLAUD, DOUGLAS H               5196 LAKE PLEASANT RD                                                                          NORTH BRANCH       MI 48461‐8884
SCHLAUD, DWAYNE C                5307 FISH LAKE RD                                                                              NORTH BRANCH       MI 48461‐9745
SCHLAUD, ERIKA                   3701 WOODROW AVENUE                                                                            FLINT              MI 48506‐3135
SCHLAUD, GARY L                  5060 HASSLICK RD                                                                               NORTH BRANCH       MI 48461‐8524
SCHLAUD, JAMES HENRY             3701 WOODROW AVE                                                                               FLINT              MI 48506‐3135
SCHLAUD, JANET L                 25275 RAMPART BLVD APT 1802                                                                    PUNTA GORDA        FL 33983‐6467
SCHLAUD, JOHN L                  6303 WOODSDALE DR                                                                              GRAND BLANC        MI 48439‐8543
SCHLAUD, JOHN M                  9237 NICHOLS RD                                                                                GAINES             MI 48436‐9708
SCHLAUD, JOHN MICHAEL            9237 NICHOLS RD                                                                                GAINES             MI 48436‐9708
SCHLAUD, JOSEPH H                1803 QUEEN ANNE SQ                                                                             BEL AIR            MD 21015‐5786
SCHLAUD, KENNETH G               901 W MAGNOLIA AVE                                                                             IOWA PARK          TX 76367
SCHLAUD, KEVIN J                 2541 DAVID LN                                                                                  LAPEER             MI 48446‐8330
SCHLAUD, LEO G                   5338 OLD STATE RD                                                                              NORTH BRANCH       MI 48461‐8100
SCHLAUD, LINDSAY E               3567 N LAPEER RD                                                                               LAPEER             MI 48446‐8639
SCHLAUD, MARCIA L                325 ROSEMORE CT                                                                                DAVISON            MI 48423‐1647
SCHLAUD, MARJIE M                861 MILLINGTON RD                                                                              MAYVILLE           MI 48744
SCHLAUD, MARJIE M                861 E MILLINGTON RD                                                                            MAYVILLE           MI 48744‐9326
SCHLAUD, MARK J                  4941 LAKE PLEASANT RD                                                                          NORTH BRANCH       MI 48461‐8569
SCHLAUD, RICHARD E               4671 MILLIS RD                                                                                 NORTH BRANCH       MI 48461‐9551
SCHLAUD, ROSEMARY F              6537 JEFFERSON                                                                                 NORTH BRANCH       MI 48461‐9701
SCHLAUD, ROSEMARY V              3947 SCHOLTZ RD                                                                                LAPEER             MI 48446‐8647
SCHLAUD, THEODORE                3095 SANTA FE DR                                                                               NORTH BRANCH       MI 48461‐8918
SCHLAUD, VELMA                   5338 OLD STATE RD                                                                              NORTH BRANCH       MI 48461‐8100
SCHLAUD, VICTORIA S              4586 KLAM RD                                                                                   COLUMBIAVILLE      MI 48421‐9337
SCHLAUD, VINCENT J               2557 N LAPEER RD M‐24                                                                          LAPEER             MI 48446
SCHLAUDERAFF, ANN                1121 HONEYSUCKLE LN                                                                            HASTINGS           MN 55033‐2429
SCHLAUPITZ WILLIAM               223 FAIRMEADOW CIR                                                                             HOUSTON            PA 15342‐1069
SCHLAUPITZ, CHRISTOPHER A        2411 LASSITER DR                                                                               ROCHESTER HILLS    MI 48309
SCHLAUTMAN, JEFFREY A            3027 W SUTTON RD                                                                               LAPEER             MI 48446‐9800
SCHLAX, TIMOTHY R                2727 E VIA DEL ARBOLES                                                                         GILBERT            AZ 85298‐2079
SCHLAYER, FREDERICK H            103 E MAIN ST                                                                                  CANFIELD           OH 44406‐1320
SCHLEA, JAMES E                  1327 ALLINGTON LN                                                                              COLUMBUS           OH 43240‐6100
SCHLEAPFER ROBERT B (406113) ‐   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510
SCHLAEPFER ROBERT B                                                  STREET, SUITE 600
SCHLEAPPE ALVIN                  3045 E BASELINE RD                                                                             GILBERT           AZ 85234‐2521
SCHLEAPPI, FRED H                GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW           MI 48604‐2602
                                                                     260
SCHLEBEN, JAMES E                10789 KNOCKADERRY DRIVE                                                                        GRAND LEDGE       MI 48837‐8168
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Name                              Address1                          Address2                          Address3     Address4                 City            State Zip
SCHLECHT, ROBERT C                606 KINGSTON WAY                                                                                          FORT MILL        SC 29715‐6863
SCHLECHT, ROBERT C.               606 KINGSTON WAY                                                                                          FORT MILL        SC 29715‐6863
SCHLECHT, THOMAS W                3939 CHIPPING NORTON CT                                                                                   SAGINAW          MI 48603‐9310
SCHLECKSER, WILLIAM A             2716 147TH ST                                                                                             URBANDALE         IA 50323‐2084
SCHLEE, CARL W                    6460 HARTEL RD                                                                                            POTTERVILLE      MI 48876‐8737
SCHLEE, DAVID C                   2369 PINCH HWY                                                                                            CHARLOTTE        MI 48813‐8776
SCHLEE, DENNIS P                  1636 JESSOP RD                                                                                            DANSVILLE        MI 48819‐9615
SCHLEE, DENNIS P                  219 E MILLER RD                                                                                           LANSING          MI 48911
SCHLEE, JAMES A                   8458 FLETCHER RD                                                                                          GRAND BLANC      MI 48439‐8908
SCHLEE, JAMES F                   35 EBLING AVE                                                                                             TONAWANDA        NY 14150‐7007
SCHLEE, JASON S                   PO BOX 341                                                                                                CHARLOTTE        MI 48813‐0341
SCHLEE, JASON SCOTT               PO BOX 341                                                                                                CHARLOTTE        MI 48813‐0341
SCHLEE, JUDY L                    1636 JESSOP RD                                                                                            DANSVILLE        MI 48819‐9615
SCHLEE, KENNETH A                 1963 GLASS DR                                                                                             CHARLOTTE        MI 48813‐8726
SCHLEE, NORMA R                   155 PINEWOODS AVE                                                                                         TONAWANDA        NY 14150‐7021
SCHLEE, RICHARD A                 758 BYRAM LAKE DR                                                                                         LINDEN           MI 48451‐8704
SCHLEEDE‐HAMPTON ASSOCIATES INC   2254 COLE ST                                                                                              BIRMINGHAM       MI 48009‐7072
SCHLEEF, JERRY N                  7541 CHESTNUT RIDGE RD                                                                                    LOCKPORT         NY 14094‐3527
SCHLEEF, THOMAS R                 15 MANOR LN                                                                                               MIDDLEPORT       NY 14105‐1216
SCHLEEPER, CATHERINE C            1022 S SIXTH ST                                                                                           ST CHARLES       MO 63301‐2423
SCHLEEPER, CATHERINE C            1022 S 6TH ST                                                                                             SAINT CHARLES    MO 63301‐2423
SCHLEEPER, WILLIAM F              PO BOX 166A                                                                                               GOLDEN EAGLE      IL 62036
SCHLEETER, DANNY L                1728 WEST HIGH STREET                                                                                     LIMA             OH 45805‐2344
SCHLEETER, DANNY L                1728 W HIGH ST                                                                                            LIMA             OH 45805‐2344
SCHLEETER, JOHN P                 17071 OLYMPUS CT                                                                                          NOBLESVILLE      IN 46062‐6965
SCHLEGAL, JESSICA L               2550 EDGEWOOD DR                                                                                          BELOIT           WI 53511‐7031
SCHLEGEL CANA/MAD HT              36600 CORPORATE DR                                                                                        FARMINGTN HLS    MI 48331‐3546
SCHLEGEL CANADA INC               514 S SERVICE RD                                                                 OAKVILLE ONT CANADA ON
                                                                                                                   L6J 5A2 CANADA
SCHLEGEL CANADA INC               KATHERINE E. MILLER               METZLER AUTOMOTIVE PROFILE SYS 2360 CORNWALL   OAKVILLE ON L6J 5A2
                                                                                                                   CANADA
SCHLEGEL DONALD (664775)          COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                                         CHICAGO          IL   60602
                                                                    FLOOR
SCHLEGEL JOSEPH                   3909 HAWKS NEST DR                                                                                        CASTLE HAYNE    NC    28429‐5809
SCHLEGEL SYST/ROCHES              1555 JEFFERSON RD                                                                                         ROCHESTER       NY    14623‐3109
SCHLEGEL SYSTEMS INC              1555 JEFFERSON RD                 PO BOX 23197                                                            ROCHESTER       NY    14623‐3109
SCHLEGEL SYSTEMS, INC.            ROB MELI                          1555 JEFFERSON RD.                                                      WOOD DALE       IL    60101
SCHLEGEL, CHRISTOPHER L           6568 CHRISTY RD                                                                                           DEFIANCE        OH    43512‐9611
SCHLEGEL, COLEEN A                200 LABIAN DR                                                                                             FLUSHING        MI    48433‐1755
SCHLEGEL, DENNIS L                103 DARIEN RD                                                                                             HOWELL          NJ    07731‐1807
SCHLEGEL, DONALD                  COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                                          CHICAGO         IL    60602
                                                                    FLOOR
SCHLEGEL, ELLEN R                 509 WALNUT ST                                                                                             FLUSHING        MI 48433‐1637
SCHLEGEL, ELLEN RUTH              509 WALNUT ST                                                                                             FLUSHING        MI 48433‐1637
SCHLEGEL, HENRY N                 509 WALNUT ST                                                                                             FLUSHING        MI 48433‐1637
SCHLEGEL, I W
SCHLEGEL, IRENE G.                421 77TH ST                                                                                               NIAGARA FALLS   NY    14304‐3333
SCHLEGEL, IRENE G.                421 77TH STREET                                                                                           NIAGRA FALLS    NY    14304
SCHLEGEL, JAMES E                 17540 GOLDFINCH DR                                                                                        BUHL            AL    35446
SCHLEGEL, JEFFREY A               4816 JAMES HILL RD                                                                                        KETTERING       OH    45429‐5304
SCHLEGEL, JENNIFER H              4816 JAMES HILL RD                                                                                        KETTERING       OH    45429‐5304
SCHLEGEL, JEROME P                7580 ADMIRALTY DR                                                                                         CANTON          MI    48187‐1506
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Name                              Address1                          Address2                        Address3   Address4              City               State Zip
SCHLEGEL, LOUIS J                 6770 NESTLE CREEK LN                                                                               CENTERVILLE         OH 45459‐6910
SCHLEGEL, NORMA K                 4103 KINCAID RD                                                                                    BALDWIN             MD 21013‐9609
SCHLEGEL, RICHARD L               3748 WATERBRIDGE LANE                                                                              MIAMISBURG          OH 45342‐6727
SCHLEGEL, ROBERT V                200 LABIAN DR                                                                                      FLUSHING            MI 48433‐1755
SCHLEGEL, ROSALIA M               100 LAKEWOOD VLG                                                                                   MEDINA              NY 14103‐1848
SCHLEGEL, THOMAS M                47883 LIBERTY DR                                                                                   SHELBY TWP          MI 48315‐4536
SCHLEGEL, TIMOTHY J               17495 ROAD 111                                                                                     PAULDING            OH 45879‐9046
SCHLEGEL, TIMOTHY JAY             17495 ROAD 111                                                                                     PAULDING            OH 45879‐9046
SCHLEGEL, VAUGHN K                15896 ROAD 108                                                                                     PAULDING            OH 45879‐9434
SCHLEGEL, VICTOR E                19072 POWERS RD                                                                                    DEFIANCE            OH 43512‐8050
SCHLEGEL/OAKVILLE                 514 SOUTH SERVICE DRIVE                                                      OAKVILLE ON L6J 5A2
                                                                                                               CANADA
SCHLEGELMILCH                     PO BOX 2086                                                                                        HOMER              AK   99603‐2086
SCHLEGELMILCH, RICHARD A          2088 CRESTLINE CIR                                                                                 BURTON             MI   48509‐1336
SCHLEGELMILCH, ROBERT F           3262 MAC AVE                                                                                       FLINT              MI   48506‐2124
SCHLEGELMILCH, TONY               1790 HEATHERLAN LN                                                                                 NORTH VERNON       IN   47265‐9043
SCHLEGELMILCH, WILLIAM D          PO BOX 2086                                                                                        HOMER              AK   99603‐2086
SCHLEH, LAUREN P                  3695 HARTLAND HILLS DR                                                                             HARTLAND           MI   48353‐1105
SCHLEH, LAUREN R                  13759 WINDMOOR DR                                                                                  SOUTH LYON         MI   48178‐8149
SCHLEHER, MARGARET T              153 ELDRIDGE AVE                                                                                   TRENTON            NJ   08648‐3511
SCHLEHR, M.D                      15 S FOREST RD                                                                                     WILLIAMSVILLE      NY   14221‐6425
SCHLEICH GARY (447542)            KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                    CLEVELAND          OH   44114
                                                                    BOND COURT BUILDING
SCHLEICH JR, THOMAS J             345 LA GRANGE AVE                 345 LAGRANGE AVE.                                                ROCHESTER          NY 14615‐3813
SCHLEICH, GARY                    KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                     CLEVELAND          OH 44114
                                                                    BOND COURT BUILDING
SCHLEICHER WALTER PAUL (509247)   BELLUCK & FOX LLP                 545 5TH AVE                     #4                               NEW YORK           NY   10038‐5000
SCHLEICHER, CYNTHIA D             10618 CORNERSTONE DR                                                                               WASHINGTON TWP     MI   48095‐2933
SCHLEICHER, ELIZABETH A           12135 HUNTOON RD                                                                                   PAINESVILLE        OH   44077‐8815
SCHLEICHER, ERNEST D              9 ORANGE DR SW                                                                                     WARREN             OH   44485‐4217
SCHLEICHER, FRED P                25 BAY HILL RD                                                                                     LAKEWOOD           NJ   08701‐3872
SCHLEICHER, GREGORY B             10618 CORNERSTONE DR                                                                               WASHINGTN TWP      MI   48095‐2933
SCHLEICHER, JANICE M              PO BOX 10                                                                                          MIO                MI   48647‐0001
SCHLEICHER, JEAN A                830 E HOWARD AVE.                                                                                  MYRTLE BEACH       SC   29577
SCHLEICHER, JOHN D                34924 ADAM AVE                                                                                     ZEPHYRHILLS        FL   33541‐2139
SCHLEICHER, JOHN DALE             34924 ADAM AVENUE                                                                                  ZEPHYRHILLS        FL   33541‐2139
SCHLEICHER, KEVIN M               7605 AMATO AVENUE                                                                                  LAS VEGAS          NV   89128‐2601
SCHLEICHER, KEVIN M               7605 AMATO AVE                                                                                     LAS VEGAS          NV   89128‐2601
SCHLEICHER, PATSY                 10553 CORCORAN ROAD                                                                                HASLETT            MI   48840‐9227
SCHLEICHER, RALPH A               27271 W PLEASANT RIDGE ST                                                                          DEARBORN HEIGHTS   MI   48127‐1675
SCHLEICHER, STEPHEN               56 GROSSE PINES DR                                                                                 ROCHESTER HILLS    MI   48309‐1826
SCHLEICHER, TED R                 PO BOX 904                                                                                         WEST BRANCH        MI   48661‐0904
SCHLEICHER, WALTER PAUL           BELLUCK & FOX LLP                 546 5TH AVE #4                                                   NEW YORK           NY   10036‐5000
SCHLEICK, GERTRUDE                4440 JENA LN                                                                                       FLINT              MI   48507‐6223
SCHLEIF MARVIN W (459315)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510
                                                                    STREET, SUITE 600
SCHLEIF, CHRISTOPHER W            14193 FRANKLIN DR LOT 26C                                                                          PLYMOUTH           MI 48170
SCHLEIF, MARVIN W                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA 23510‐2212
                                                                    STREET, SUITE 600
SCHLEIFER, KEVIN G                428 TAMARA CIR                                                                                     NEWARK             DE 19711‐6931
SCHLEIFER, KEVIN GLENN            428 TAMARA CIR                                                                                     NEWARK             DE 19711‐6931
SCHLEIFER, LYLE W                 2111 MOUNT VERNON AVE                                                                              JANESVILLE         WI 53545‐2106
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Name                      Address1                       Address2                Address3     Address4         City           State Zip
SCHLEIFER, NYRA R         100 N FRANKLIN ST APT 103                                                            JANESVILLE      WI 53548‐2902
SCHLEIFER, RICHARD E      123 WELLINGTON WAY                                                                   MIDDLETOWN      DE 19709‐9406
SCHLEIFER, ROBERT R       123 WELLINGTON WAY                                                                   MIDDLETOWN      DE 19709‐9406
SCHLEIFER, STEVEN E       973 PIERPONT ST                                                                      RAHWAY          NJ 07065‐3114
SCHLEIG, CARL E           214 BALSAM DR                                                                        NEWFOUNDLAND    PA 18445‐9624
SCHLEIGER, HENRY E        404 APPLE VALLEY DR.                                                                 LOUISBURG       OH 45338‐5338
SCHLEIGER, JAMES L        201 CENTRAL                                                                          W ALEXANDRIA    OH 45381‐1205
SCHLEIGER, JAMES L        201 S CENTRAL AVE                                                                    W ALEXANDRIA    OH 45381‐1205
SCHLEIMAN, ELIZABETH A.   6034 WHITEFORD RD                                                                    SYLVANIA        OH 43560‐1640
SCHLEIMER, JEREMY R       139 PARK MEADOW LN APT K                                                             ELYRIA          OH 44035‐7340
SCHLEIMER, JEREMY R       774 MAIN ST                                                                          GRAFTON         OH 44044‐1313
SCHLEIMER, JOSEPH N       4102 ROCKY RIVER DR            HCR MANOR CARE RM 115                                 CLEVELAND       OH 44135‐1139
SCHLEIMER, ROBERT R       1032 YARMOUTH RD                                                                     GRAFTON         OH 44044‐1215
SCHLEIN JR, ROBERT E      173 WESTHAFER RD                                                                     VANDALIA        OH 45377‐2836
SCHLEININGER, NOEL D      3707 NE 57TH TER                                                                     GLADSTONE       MO 64119‐2332
SCHLEISMAN, CAROL I.      6620 NORTH ST                                                                        BENZONIA        MI 49616‐9610
SCHLEISMAN, JOHN L        61846 BAYSHORE DR                                                                    STURGIS         MI 49091‐9657
SCHLEMBACH, JOSEPH        DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                      RIVERDALE       NY 10463
SCHLEMMER, BARBARA A      68 CROSBY AVE                                                                        LOCKPORT        NY 14094‐4106
SCHLEMMER, JOYCE E        3079 IRETA                                                                           HARRISON        MI 48825‐9255
SCHLEMMER, JOYCE E        1954 N COCHRAN                                                                       CHARLOTTE       MI 48813‐9781
SCHLEMMER, RAY E          24170 SIEFFERMAN CT                                                                  LAWRENCEBURG    IN 47025‐7773
SCHLENDER, FREDERICK W    316 COLONY POINT DR                                                                  PUNTA GORDA     FL 33950‐6356
SCHLENDER, GUNTHER        26342 WEXFORD DR                                                                     WARREN          MI 48091‐3991
SCHLENDER, HAROLD F       3408 E ROTAMER RD                                                                    JANESVILLE      WI 53546‐9331
SCHLENDER, MILDRED A      23401 BREST                                                                          TAYLOR          MI 48180‐4117
SCHLENDER, ROBERT J       23401 BREST                                                                          TAYLOR          MI 48180‐4117
SCHLENE, ROBERT E         174 WOODINGHAM CT                                                                    SALINE          MI 48176‐1310
SCHLENER, LUVERNE D       117 20TH AVE N                                                                       SAINT CLOUD     MN 56303‐4438
SCHLENER, LUVERNE D       117 NORTH 20TH AVENUE                                                                ST. CLOUD       MN 56303‐4438
SCHLENK, BRENT T          501 E JEFFERSON ST                                                                   GRAND LEDGE     MI 48837‐1751
SCHLENK, DEBORAH          2145 N DIXIE HWY LOT 30                                                              LIMA            OH 45801‐3229
SCHLENK, JAMES J          3118 GRIESMER AVE                                                                    HAMILTON        OH 45015‐1729
SCHLENK, JEROME H         361 N AMERICAN BLVD                                                                  VANDALIA        OH 45377‐2232
SCHLENK, JULIA A          9124 W CHESTER PT                                                                    WEST CHESTER    OH 45069‐3686
SCHLENK, JULIA A          9124 WEST CHESTER POINTE                                                             WEST CHESTER    OH 45069‐1413
SCHLENKE, DAVID T         3304 WESTMINSTER RD 7                                                                JANESVILLE      WI 53546
SCHLENKE, ROBERT J        11951 PARKIN LN                                                                      FENTON          MI 48430‐8769
SCHLENKER, ANN E          4086 BEVERIDGE RD                                                                    FLINT           MI 48532‐4906
SCHLENKER, PAUL H         4086 BEVERIDGE RD                                                                    FLINT           MI 48532‐4906
SCHLENKERT, DAVID E       5117 RENSHAW DR                                                                      TROY            MI 48085‐4070
SCHLENKERT, JAMES E       4285 STISON VIEW CT                                                                  WHITE LAKE      MI 48383‐3803
SCHLENKERT, PATRICIA L    5338 W DOHERTY ST                                                                    W BLOOMFIELD    MI 48323‐2708
SCHLENSKER, GERALD H      5706 FAIRLEE RD                                                                      ANDERSON        IN 46013‐9742
SCHLENSKER, LENORE M      23W281 WOODCROFT DR                                                                  GLEN ELLYN       IL 60137‐6556
SCHLEPER, GERVASE E       155 N 5TH ST                                                                         BREESE           IL 62230‐1403
SCHLEPER, JEROME A        570 MARY ST                                                                          POCAHONTAS       IL 62275‐3253
SCHLEPPHORST, JOHN H      24 KELLWOOD DR                                                                       KIRKSVILLE      MO 63501‐2755
SCHLESE, COLLEEN          626 W M 61                                                                           GLADWIN         MI 48624‐8407
SCHLESINGER, ELWOOD M     9267 OAKMONT DR                                                                      GRAND BLANC     MI 48439
SCHLESSELMAN, CARY D      1513 FAIRWAY DR                                                                      SEDALIA         MO 65301
SCHLESSER, FRANK A        3104 W 100TH PL                                                                      EVERGREEN PK     IL 60805‐3503
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Name                            Address1                          Address2               Address3   Address4               City            State Zip
SCHLESSER, JOHN J               21136 SERENE LAKE WAY                                                                      CREST HILL        IL 60403‐0813
SCHLESSMAN, HARRIETT K          11819 PATTEN TRACT RD                                                                      MONROEVILLE      OH 44847‐9629
SCHLETT PAUL                    7600 WEATHERLY LANE                                                                        CANYON           TX 79015‐7943
SCHLETT, CHARLES R              310 W BOGART RD                                                                            SANDUSKY         OH 44870‐7118
SCHLETT, LAWRENCE E             1929 ADRIAN CIR                                                                            SANDUSKY         OH 44870‐5027
SCHLETT, PAUL E                 7600 WEATHERLY LN                                                                          CANYON           TX 79015‐7943
SCHLETTE, BARBARA Z             919 RIDGEVIEW DR                                                                           HURON            OH 44839‐2677
SCHLETTE, BLANCHE N             102 HESSIAN HILL DR                                                                        PENNINGTON       NJ 08534‐1901
SCHLEU HANS‐PETER               RHEINAUSTRASSE 273                                                  D‐53225 BONN GERMANY
SCHLEUDER, DON L                2120 ALEXANDRIA PIKE                                                                       ANDERSON        IN   46012‐1804
SCHLEUSENER, JEFFREY R          8351 ALLEN RD                                                                              CLARKSTON       MI   48348‐2707
SCHLEUSS, MANFRED F             621 BRADLEY AVE                                                                            FLINT           MI   48503‐5434
SCHLEUSZ, HERBERTH A            401 N OLD ORCHARD LN APT 633                                                               LEWISVILLE      TX   75067‐3484
SCHLEWEIS DORIS                 SIEDLUNGSSTRA▀E 13                74918 ANGELBACHTA
SCHLEY, HERMAN W                1349 SUN VALLEY DR                                                                         BRAINERD        MN 56401‐3079
SCHLEY, JESSY L                 C/O GOLDENBERG HELLER ANTOGNOLI   2227 S STATE RTE 157                                     EDWARDSVILLE    IL 62025
                                AND ROWLAND PC
SCHLEY, RICHARD A               627 TRUMBULL AVE SE                                                                        WARREN          OH   44484‐4569
SCHLEYER JR, VERNON H           847 CHANCELLOR CT                                                                          NAPERVILLE      IL   60540‐6411
SCHLEYER, DOROTHY L             35 HAWTHORNE DRIVE                                                                         SPENCERPORT     NY   14559‐2119
SCHLEYER, JAMES M               15 NOBLE DR                                                                                SPENCERPORT     NY   14559‐1821
SCHLICHER LAWRENCE & GERTRUDE   5895 SHAFFER RD NW                                                                         WARREN          OH   44481‐9316
SCHLICHER, DAVID
SCHLICHER, MARC L               2625 CAVINS DR                                                                             SPRINGFIELD     OH   45503‐2450
SCHLICHER, ROBERT R             3826 SHAFTSBURG RD                                                                         LAINGSBURG      MI   48848‐8731
SCHLICHT, ALAN M                11984 E LANSING RD                                                                         DURAND          MI   48429‐9788
SCHLICHT, DAVID E               N6900 19TH AVE                                                                             MAUSTON         WI   53948‐8954
SCHLICHT, DAVID R               175 BARRINGTON CIR                                                                         LAKE ORION      MI   48360‐1332
SCHLICHT, DAWN M                5334 BLOSSOM RDG                                                                           FORT WAYNE      IN   46835‐3893
SCHLICHT, DELOS E               530 JUNIPER DR                                                                             DAVISON         MI   48423‐1839
SCHLICHT, DENNIS P              4901 S 950 W                                                                               SOUTH WHITLEY   IN   46787‐9617
SCHLICHT, GARY C                29 ENSLEY ST                                                                               OXFORD          MI   48371‐4949
SCHLICHT, GARY E                218 PRIMROSE LN                                                                            FLUSHING        MI   48433‐2654
SCHLICHT, GAYLE S               11 CRAWFORD ST                                                                             OXFORD          MI   48371‐4930
SCHLICHT, JOANN M               35177 HAZELWOOD ST                                                                         WESTLAND        MI   48186‐9717
SCHLICHT, JOHN L                3712 S VASSAR RD                                                                           VASSAR          MI   48768‐9779
SCHLICHT, JOSEPH J              PO BOX 122                                                                                 NEW LISBON      WI   53950‐0122
SCHLICHT, KERMIT G              5953 BROADWAY ST APT 234                                                                   LANCASTER       NY   14086‐9576
SCHLICHT, MARTIN S              415 BUTLER ST                                                                              CLIO            MI   48420‐1252
SCHLICHT, MARVIN W              1025 N WALNUT ST                                                                           JANESVILLE      WI   53548‐1558
SCHLICHT, MARY A                11 CRAWFORD ST                                                                             OXFORD          MI   48371‐4930
SCHLICHT, MARY A                157 RUTH ST                                                                                MONTROSE        MI   48457‐9450
SCHLICHT, ROBERT A              157 RUTH ST                                                                                MONTROSE        MI   48457‐9450
SCHLICHT, ROBERT ALLEN          157 RUTH ST                                                                                MONTROSE        MI   48457‐9450
SCHLICHT, SCOTT L               1185 GARY RD                                                                               MONTROSE        MI   48457
SCHLICHT, SHARILYN L            7855 ACADEMY ST                                                                            FABIUS          NY   13063
SCHLICHT, SHARON K              5375 HOPKINS RD                                                                            FLINT           MI   48506‐1543
SCHLICHT, SHARON KAY            5375 HOPKINS RD                                                                            FLINT           MI   48506‐1543
SCHLICHT, STEPHEN K             1860 CLAYPOOL BOYCE RD                                                                     ALVATON         KY   42122‐8636
SCHLICHT, STEVEN R              13220 DUFFIELD RD                                                                          MONTROSE        MI   48457‐9706
SCHLICHT, WILLIAM J             3178 POLE BRIDGE RD                                                                        GENESEO         NY   14454
SCHLICHT, WILLIAM M             2106 W BURBANK AVE                                                                         JANESVILLE      WI   53546‐5964
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SCHLICHTER'S LIMITED         132 QUEEN ST S                                                            KITCHENER ON N2G 1V9
                                                                                                       CANADA
SCHLICHTHOLZ, HORST W        2724 MOUNT ZION AVE                                                                              JANESVILLE         WI    53545‐1384
SCHLICHTING, ROBERT W        3329 NE 138TH PL                                                                                 PORTLAND           OR    97230‐2901
SCHLICHTING, RUTH D          6038 OJAI CIR                                                                                    BANNING            CA    92220‐5334
SCHLICKBERND, RANDAL         C/O COLUMBIA INSURANCE GROUP     10820 HARNEY ST                                                 OMAHA              NE    68154
SCHLICKBERND, RANDALL        702 E ST                                                                                         SOUTH SIOUX CITY   NE    68776‐2072
SCHLICKER III, HAROLD E      408 COUNTESS DR                                                                                  W HENRIETTA        NY    14586‐9423
SCHLICKER, DONALD M          821 BAY ST                                                                                       ROCHESTER          NY    14609‐4723
SCHLICKER, EUGENE E          2258 E HOTCHKISS RD                                                                              BAY CITY           MI    48706‐9092
SCHLICKER, HAROLD E          408 COUNTESS DR                                                                                  WEST HENRIETTA     NY    14586
SCHLICKER, JACKIE G          806 N DEAN ST                                                                                    BAY CITY           MI    48706‐3614
SCHLICKER, JEAN M            11588 CLUBMOSS DR                                                                                FREELAND           MI    48623‐8420
SCHLICKER, NORMAN A          300 N MEECH RD                                                                                   DANSVILLE          MI    48819‐9676
SCHLICKER, VIRGINIA          3820 BROCK ST                                                                                    NEW PORT RICHEY    FL    34652‐6106
SCHLICKERT, CHARLOTTE        26114 BENTON AVE                                                                                 EUCLID             OH    44132‐2514
SCHLICKLIN, PAUL T           13895 S DELANEY RD                                                                               PERRY              MI    48872‐9559
SCHLICKSUP, VIRGINIA         125 E GLEN AVE APT 204B                                                                          PEORIA             IL    61614‐4965
SCHLIE, JAMES E              1306 ARUNDEL DR                                                                                  KOKOMO             IN    46901‐3919
SCHLIE, MARYANN              19186 DEVONSHIRE ST                                                                              BEVERLY HILLS      MI    48025‐3946
SCHLIEBE, NANCY E            1380 WHEELER RD                                                                                  BERLIN             MI    48002‐3104
SCHLIEGER, DEBBIE            10433 E RICHFIELD RD                                                                             DAVISON            MI    48423‐8405
SCHLIEGER, DENNIS J          6425 TURNER RD                                                                                   FLUSHING           MI    48433‐9251
SCHLIEGER, DENNIS JOHN       6425 TURNER RD                                                                                   FLUSHING           MI    48433‐9251
SCHLIEGER, GERALD H          2075 SKIPPING STONE TRL                                                                          FLUSHING           MI    48433‐9797
SCHLIEGER, JACOB             89 SCHIRRA AVE                                                                                   FLUSHING           MI    48433‐9213
SCHLIEGER, JACOB             89 SCHIRRA                                                                                       FLUSHING           MI    48433‐9213
SCHLIEM, DAVID D             2224 WINCHESTER DR                                                                               BELOIT             WI    53511‐1951
SCHLIEM, LEWIS W             702 10TH ST                                                                                      BRODHEAD           WI    53520‐1457
SCHLIENTZ, LAURA J           7821 LAKE AVE APT 409                                                                            CLEVELAND          OH    44102‐6401
SCHLIENZ, GORDON J           721 N CAPITOL A‐5                                                                                LANSING            MI    48906
SCHLIENZ, KARIN LEE          118 EUCLID ST                                                                                    SAINT LOUIS        MI    48880‐1901
SCHLIEP, MINA G              4451 S LACHANCE ROAD                                                                             LAKE CITY          MI    49651
SCHLIEP, TERRY R             4848 INTERLAKE DRIVE                                                                             OSCODA             MI    48750‐9495
SCHLIEP, VAN L               4451 S LACHANCE RD                                                                               LAKE CITY          MI    49651‐8968
SCHLIEPP, MARIA              1110 3RD ST APT 1                                                                                SANDUSKY           OH    44870‐3870
SCHLIERF, FRANK P            5302 VISTA AVE                                                                                   BUFFALO            NY    14221‐2808
SCHLIESING RHEINHART         2474 TIMBER CT E                                                                                 SAINT PAUL         MN    55119
SCHLIESMAN, DONALD E         6430 HUNTING CREEK DR            C/O KEVIN SCHLIESMAN                                            LIBERTY TOWNSHIP   OH    45044‐8865
SCHLIESSKE, GERTRUD          406 BOULEVARD                                                                                    WESTFIELD          NJ    07090‐3228
SCHLIETER, JOANN M           267 MANITOU BEACH RD                                                                             HILTON             NY    14468‐9568
SCHLIEVE ROBERT J (626755)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA    23510
                                                              STREET, SUITE 600
SCHLIEVE, ROBERT J           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510‐2212
                                                              STREET, SUITE 600
SCHLIEWE, RANDY F            25715 NORFOLK ST                                                                                 DEARBORN HEIGHTS    MI   48125‐1128
SCHLIFF, REGINALD R          925 POST AVE                                                                                     ROCHESTER           NY   14619‐2313
SCHLIFF, ROBERT R            6320 CLEARY RD                                                                                   AVON                NY   14414‐9512
SCHLINGER, MARION            6707 SLOCUM RD                                                                                   ONTARIO             NY   14519‐9321
SCHLINGER, MARION            6707 NORTH SLOCUM RD                                                                             ONTARIO             NY   14519
SCHLINK CLIFFORD (188523)    CARTWRIGHT BOKELMAN BOROWSKY     101 CALIFORNIA ST STE 2600                                      SAN FRANCISCO       CA   94111‐5803
                             MOORE HARRIS ALEXANDER & GRUEN
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SCHLINK JR, JOHN J            655 S 11 MILE RD                                                                           LINWOOD               MI 48634‐9722
SCHLINK, CLIFFORD             CARTWRIGHT BOKELMAN BOROWSKY     101 CALIFORNIA ST STE 2600                                SAN FRANCISCO         CA 94111‐5803
                              MOORE HARRIS ALEXANDER & GRUEN
SCHLINK, DONALD J             3355 S DEVONDALE                                                                           ROCHESTER HLS        MI   48309
SCHLINK, THOMAS F             2014 MARMOOR DR                                                                            SHELBY TOWNSHIP      MI   48317‐2753
SCHLINKER, MATTHEW C          919 KENSINGTON AVE                                                                         FLINT                MI   48503‐5311
SCHLINKERT, BONNIE            5970 KENWOOD RD                                                                            CINCINNATI           OH   45243
SCHLINSOG, ALICE V            RT. #1 7234 ROTAMER RD                                                                     MILTON               WI   53563‐9756
SCHLINTZ, HARVEY A            3420 R ST APT 216                                                                          MERCED               CA   95348‐2380
SCHLINZ, MARGARET B           11565 KIRBY PLACE                                                                          SAN DIEGO            CA   92126‐1551
SCHLINZ, MARGARET B           11565 KIRBY PL                                                                             SAN DIEGO            CA   92126‐1551
SCHLIS, IRENE M               6175 WILDERNESS POINTE                                                                     GRAND BLANC          MI   48439‐9627
SCHLIS, MATTHEW D             4289 WILDERNESS CT                                                                         GRAND BLANC          MI   48439‐9636
SCHLIS, MATTHEW DULIN         4289 WILDERNESS CT                                                                         GRAND BLANC          MI   48439‐9636
SCHLISKA, CLYDE A             1245 E LOVEJOY RD                                                                          PERRY                MI   48872‐9596
SCHLISSLER, MARVIN R          3824 GLENARM AVE                                                                           BALTIMORE            MD   21206‐2406
SCHLITER, JERRY A             2247 EAST M30                                                                              ALGER                MI   48610
SCHLITER, MICHAEL F           4325 ISLAND PARK DR                                                                        WATERFORD            MI   48329‐1918
SCHLITER, ROBERT F            1093 PEACH BLOSSOM CIR                                                                     BURTON               MI   48509‐2383
SCHLITER, RODNEY W            11450 COLLINGWOOD CT                                                                       CLIO                 MI   48420‐1719
SCHLITT MARY                  3420 BUCKINGHAMMOCK TRL                                                                    VERO BEACH           FL   32960‐6921
SCHLITT, CHARLES D            5680 NORTH SEELEY ROAD                                                                     MANTON               MI   49663‐9001
SCHLITT, MABEL                5 GUMTREE RD                     UNIT C2                                                   HILTON HEAD ISLAND   SC   29926
SCHLITT, MABEL                5 GUMTREE RD APT C2                                                                        HILTON HEAD ISLAND   SC   29926‐1518
SCHLITT, MARY                 6130 DEL RIO DR                                                                            PORT ORANGE          FL   32127‐9506
SCHLITT, ROBERT P             PO BOX 459                                                                                 GRAND MARAIS         MI   49839‐0459
SCHLITT, RONALD L             2846 RANCHERIA DR                                                                          SHINGLE SPRINGS      CA   95682‐9522
SCHLITT, SHIRLEY H            3930 RIVER RD UNIT 23                                                                      EAST CHINA           MI   48054‐2923
SCHLITZ MICHAEL J (511391)    ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST , THE                                PHILADELPHIA         PA   19107
                                                               WANAMAKER BUILDING
SCHLITZ, MICHAEL J            ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST, THE                                 PHILADELPHIA         PA 19107
                                                               WANAMAKER BUILDING
SCHLITZER, GRANT J            20 FRANKLIN AVE                                                                            LOCKPORT             NY 14094‐3920
SCHLOBOHM LEONEL F (429767)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                               STREET, SUITE 600
SCHLOBOHM, GERALD D           1115 N INDIAN LN                                                                           INDEPENDENCE         MO 64056‐1130
SCHLOBOHM, LEONEL F           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                               STREET, SUITE 600
SCHLOEGL, DANIEL J            14162 EASTVIEW DR                                                                          FENTON               MI   48430‐1304
SCHLOEGL, DENISE R            9280 MARINUS DR                                                                            FENTON               MI   48430‐8703
SCHLOEGL, GAIL L              LOT 503                          3301 ALT 19                                               DUNEDIN              FL   34698‐1549
SCHLOEGL, MERRILL L           14162 EASTVIEW DR                                                                          FENTON               MI   48430‐1304
SCHLOEGL, MICHAEL G           9280 MARINUS DR                                                                            FENTON               MI   48430‐8703
SCHLOEMER JR, RILEY P         4482 OLD KENNEDY ROAD                                                                      MILTON               WI   53563‐8970
SCHLOEMER, HERBERT R          2838 HARRISON AVE                                                                          TRENTON              MI   48183‐2436
SCHLOEMP, KARL B              6665 WHITE LAKE RD                                                                         WHITE LAKE           MI   48383‐1144
SCHLOFF JR, ALFRED J          5014 SPICE GARDEN LN                                                                       WOODSTOCK            GA   30189‐6911
SCHLOFF, ETHEL M              419 CREST ST                     C/O MARJ SCHLOFF                                          ANN ARBOR            MI   48103‐4601
SCHLOFF, JEFFREY J            6225 CHESHIRE PARK DR                                                                      CLARKSTON            MI   48346‐4818
SCHLOFF, MARGARET A           1006 RIVER ST                                                                              E TAWAS              MI   48730‐9702
SCHLOMANN, BRAD               7743 MOLINE RD                                                                             WATERLOO             IA   50703‐9431
SCHLOMER LYLE                 SCHLOMER, LYLE                   30928 FORD RD                                             GARDEN CITY          MI   48135‐1803
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SCHLOMER, JOHN A              317 MILL ST                                                                               FLUSHING        MI 48433
SCHLOMER, JOHN A              PO BOX 0102                                                                               LENNON          MI 48449
SCHLOMER, LYLE                CONSUMER LEGAL SERVICES             30928 FORD RD                                         GARDEN CITY     MI 48135‐1803
SCHLONSKY JOSEPH MD           EAST COLUMBUS ORTHOPAEDICS INC      5969 E BROAD ST STE 402                               COLUMBUS        OH 43213‐1540
SCHLONSKY MD                  5969 E BROAD ST STE 402                                                                   COLUMBUS        OH 43213‐1540
SCHLORF, JOSHUA               12959 TAMARACK DR                                                                         BURT            MI 48417‐9428
SCHLORKE, EDWARD E            39607 ELGIN DR                                                                            ZEPHYRHILLS     FL 33542‐4742
SCHLORMAN, ELEANOR L          6780 E. WALNUT R #1                                                                       TIPP CITY       OH 45371
SCHLORMAN, PATRICIA           12464 CHICKENBRISTLE RD                                                                   FARMERSVILLE    OH 45325‐9259
SCHLORMAN, PATRICIA           12464 CHICKEN BRISTLE                                                                     FARMERSVILLE    OH 45325‐9259
SCHLOSS, DAVID A              9050 PONTIAC LAKE RD                                                                      WHITE LAKE      MI 48386
SCHLOSSER ARLAN (655211)      BEATTY & MOTIL                      PO BOX 730                                            GLEN CARBON      IL 62034‐0730
SCHLOSSER CASIMER             405 6TH AVE                                                                               EDGELEY         ND 58433‐7436
SCHLOSSER PATRICIA A          DBA PAIR‐A‐DICE ENTERTAINMENT       25848 BOWMAN RD                                       DEFIANCE        OH 43512‐8995
SCHLOSSER, ALAN E             1540 EVANSPORT RD                                                                         DEFIANCE        OH 43512‐9618
SCHLOSSER, ARLAN              C/O GORI JULIAN & ASSOCIATES PC     156 N MAIN ST                                         EDWARDSVILLE     IL 62025
SCHLOSSER, BEATRICE J         950 DEWEY ST.                       APT. #104                                             LAPEER          MI 48446‐1763
SCHLOSSER, BEATRICE J         950 DEWEY ST APT 104                                                                      LAPEER          MI 48446‐1763
SCHLOSSER, CARL W             1356 LEISURE DR                                                                           FLINT           MI 48507‐4055
SCHLOSSER, DANIEL L           14650 STATE ROUTE 15                                                                      DEFIANCE        OH 43512‐8820
SCHLOSSER, DAVID H            7370 RED MAPLE DR                                                                         MOUNT MORRIS    MI 48458‐1800
SCHLOSSER, ELLEN W            328 CHILD ST                                                                              ROCHESTER       NY 14611‐1330
SCHLOSSER, EUGENE F           71 ASHLEY CIR                       SWARTZ CREEK ESTATE                                   SWARTZ CREEK    MI 48473‐1174
SCHLOSSER, EUGENE F           ASHELY CIR LOT 71                   SWARTZ CREEK ESTATE                                   SWARTZ CREEK    MI 48473
SCHLOSSER, GRETCHEN E         2423 GALLAGHER AVE                                                                        SPRING HILL     FL 34606‐3250
SCHLOSSER, HAROLD T           0 OAKLAND CT                                                                              ESSEXVILLE      MI 48732‐1261
SCHLOSSER, JANICE R           687 NOTRE DAME AVE                                                                        YOUNGSTOWN      OH 44515‐4202
SCHLOSSER, JODY L             12830 MORENCI RD                                                                          MORENCI         MI 49256‐9707
SCHLOSSER, LINDA M            2485 WOODLAND TRL                                                                         FLINT           MI 48507‐5907
SCHLOSSER, LOUIS G            1478 COACHLIGHT CT                  LOT 68                                                FLINT           MI 48532
SCHLOSSER, LYLE O             6144 GUNNELL RD                                                                           MILLINGTON      MI 48746‐9720
SCHLOSSER, MARJORIE J.        205 CHASE STREET                                                                          STRYKER         OH 43557‐9466
SCHLOSSER, MICHAEL G          15616 VAN EATON CIR                                                                       BILOXI          MS 39532
SCHLOSSER, RAYMOND R          5918 BIG LAKE CANAL RD                                                                    SEARS           MI 49679‐8741
SCHLOSSER, ROBERT J           6030 CINNAMON TREE CT                                                                     ENGLEWOOD       OH 45322‐3605
SCHLOSSER, ROBERT N           13949 ROBINHOOD LN                                                                        LEROY           MI 49655‐9386
SCHLOSSER, RUTH JUANITA       240 ROBERTSON SHAW ROAD                                                                   EDMONTON        KY 42129‐9210
SCHLOSSER, SHIRLEY J          1805 AYERSVILLE AVE                                                                       DEFIANCE        OH 43512‐3610
SCHLOSSER, SYLVIA G           9115 MONTAGUE DR                                                                          KNOXVILLE       TN 37923‐2220
SCHLOSSER, TODD E             27434 AYERSVILLE PLEASANT BEND RD                                                         DEFIANCE        OH 43512‐8748
SCHLOSSER, WILLIAM G          25848 BOWMAN RD                                                                           DEFIANCE        OH 43512‐8995
SCHLOSSER, WILLIAM T          1434 RIVERBEND DR                                                                         DEFIANCE        OH 43512‐6877
SCHLOTE GORDON                9910 E WAR BONNET LN                                                                      TUCSON          AZ 85749‐9531
SCHLOTHAUER, MARK E           9937 HARFORD RD                                                                           PARKVILLE       MD 21234‐1205
SCHLOTT, CAROLE L             1494 RAY RD                                                                               FENTON          MI 48430‐9716
SCHLOTT, DAVID G              PO BOX 9022                         C/O GM INDIA TALEGAON                                 WARREN          MI 48090‐9022
SCHLOTTA‐GRASER, SUE A        26002 2ND ST                                                                              TAYLOR          MI 48180‐1435
SCHLOTTER, FRANCES M          927 WOODSTREAM LANE                                                                       ORMOND BEACH    FL 32174‐9280
SCHLOTTERBACK, TROY           321 W HURON ST                                                                            PONTIAC         MI 48341‐1421
SCHLOTTERBECK JR, RICHARD C   13677 FRUIT RIDGE RD                                                                      DEFIANCE        OH 43512‐6987
SCHLOTTERBECK, EARL S         511 N MAIN ST                                                                             LEWISBURG       OH 45338‐9503
SCHLOTTERBECK, SANDRA         1496 ADAMS RD                                                                             CINCINNATI      OH 45231‐3357
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Name                          Address1                         Address2                        Address3                    Address4                 City           State Zip
SCHLOTTMAN, CRAIG D           6693 N 500 E                                                                                                          MARION          IN 46952‐9089
SCHLOTTMAN, FREDERICK W       8714 GILLINGHAM LN                                                                                                    FISHERS         IN 46038‐3514
SCHLOTTMAN, KEITH D           6538 E EATON HWY                                                                                                      SUNFIELD        MI 48890‐9734
SCHLOTTMAN, KEITH D           1117 JORDAN LAKE AVE                                                                                                  LAKE ODESSA     MI 48849‐1130
SCHLOTTMAN, KEITH DARRIN      1117 JORDAN LAKE AVE                                                                                                  LAKE ODESSA     MI 48849‐1130
SCHLOTTMAN, ROSE              31 S OAKLAND AVE                                                                                                      VILLA PARK       IL 60181‐2756
SCHLOTTMANN GARY              PO BOX 713                                                                                                            GOLD BEACH      OR 97444‐0713
SCHLOTZ, STEPHEN C            6685 CRANE RD                                                                                                         YPSILANTI       MI 48197‐9028
SCHLOTZHAUER, OSCAR J         704 ILLINOIS ST                                                                                                       WARSAW          MO 65355‐3227
SCHLOTZHAUER, ROBERT B        615 SOUTH 250 EAST                                                                                                    KNOX            IN 46534‐8101
SCHLOUGH, GLEN L              11058 S MAPLELAWN AVE                                                                                                 TAYLOR          MI 48180‐4110
SCHLOZ, RICHARD C             3140 MASSEY CRT                                                                              WINDSOR ON CANADA N9E‐
                                                                                                                           2Z5
SCHLUCHTER, DONALD D          11830 SPENCER RD                                                                                                      SAGINAW        MI    48609‐9776
SCHLUCHTER, MYRTLE B          2340 DEXTER RD                                                                                                        AUBURN HILLS   MI    48326‐2308
SCHLUCHTER, MYRTLE B          2340 DEXTER ROAD                                                                                                      AUBURN HILLS   MI    48326‐2308
SCHLUCHTER, PEGGY E           2404 NORTH STREET                                                                                                     GRANVILLE      OH    43023‐9747
SCHLUCHTER, RUTH              9408 W SHADY GROVE CT                                                                                                 WHITE LAKE     MI    48386‐2063
SCHLUCHTER, RUTH E            2404 NORTH STREET                                                                                                     GRANVILLE      OH    43023‐9747
SCHLUCHTER, THOMAS D          5644 CORTLAND CIR                                                                                                     BAY CITY       MI    48706‐5625
SCHLUCKBIER I, RICHARD B      23300 ADAMS RD                   C/O SHERRY SCHLUCKBIER                                                               COPEMISH       MI    49625‐9574
SCHLUCKBIER, DALE F           PO BOX 608                                                                                                            CENTRAL LAKE   MI    49622‐0608
SCHLUCKBIER, GUSTINE A.       6595 S GRAHAM ROAD                                                                                                    SAIT CHARLES   MI    48555‐5366
SCHLUCKBIER, IRMGARD          1870 GREAT LAKES DRIVE                                                                                                DYER           IN    46311
SCHLUCKBIER, LARRY J          PO BOX 581                                                                                                            BRIDGEPORT     MI    48722‐0581
SCHLUCKBIER, MARJORIE E       3105 S DYE RD                                                                                                         FLINT          MI    48507‐1003
SCHLUCKBIER, WILLIAM E        9921 CENTER ST                                                                                                        REESE          MI    48757‐9547
SCHLUCKEBIER, FLOYD A         4764 RICHVILLE RD R4                                                                                                  VASSAR         MI    48768
SCHLUCKEBIER, VERNON O        9921 LANGE RD                                                                                                         BIRCH RUN      MI    48415‐8422
SCHLUECHTERMANN, RAYMOND      7041 LONE ELM DR                                                                                                      RACINE         WI    53402‐1245
SCHLUENTZ, JOHN W             75900 COON CREEK RD                                                                                                   ARMADA         MI    48005‐2508
SCHLUENTZ, MARK T             22 WESTWOOD DR                                                                                                        E ROCHESTER    NY    14445‐1646
SCHLUESSLER, HOWARD W         7969 HOLLOW CORNERS RD                                                                                                ALMONT         MI    48003‐8024
SCHLUETER CHEVROLET HUMMER    300 WEBER ST N                                                                               WATERLOO CANADA ON
                                                                                                                           N2J 3H6 CANADA
SCHLUETER HAROLD E (344439)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                          NORFOLK        VA 23510
                                                               STREET, SUITE 600
SCHLUETER JR, ALFRED H        8430 STARWAN RD S                                                                                                     JACKSONVILLE   FL    32211‐6363
SCHLUETER SHARON              SCHLUETER, SHARON                645 GRISWOLD ST STE 4100                                                             DETROIT        MI    48226‐4218
SCHLUETER SHARON              SCHLUETER, SHARON                PO BOX 627                     136 NORTH DELAWARE ST                                 INDIANAPOLIS   IN    46206‐0627
SCHLUETER SHARON              SCHLUETER, SHARON                SHOWERS PLAZA 320 W 8TH STREET                                                       BLOOMINGTON    IN    47404
                                                               SUITE 100
SCHLUETER SHARON              SCHLUETER, SHARON                PO BOX 725                     307 HENRY STREET SUITE 415                            ALTON           IL   62002‐0725

SCHLUETER, ALFRED W           726 SUNSET BLVD                                                                                                       GREENWOOD      IN    46142‐3927
SCHLUETER, BRIAN J            34160 WOOD ST                                                                                                         LIVONIA        MI    48154‐2534
SCHLUETER, DAVID W            89 PUTNAM ST                                                                                                          BUFFALO        NY    14213‐1651
SCHLUETER, GARY L             3923 MACKINAC DR                                                                                                      JANESVILLE     WI    53546
SCHLUETER, HAROLD E           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                          NORFOLK        VA    23510‐2212
                                                               STREET, SUITE 600
SCHLUETER, LINDA S            8950 PRESTON RD                                                                                                       EVANSVILLE      IL 62242‐1350
SCHLUETER, LYLE C             7257 LINDSEY DRIVE                                                                                                    SWARTZ CREEK    MI 48473‐1596
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Name                            Address1                         Address2                      Address3   Address4         City            State Zip
SCHLUETER, NORMAN P             118 REBECCA DR                                                                             SAINT CHARLES    MO 63301‐1378
SCHLUETER, SHIRLEY ELIZABE      1022 DARDENNE ST                                                                           SAINT CHARLES    MO 63301‐2302
SCHLUETER, SHIRLEY ELIZABE      1022 DARDENNE                                                                              ST CHARLES       MO 63301
SCHLUETER, VIRGINIA I           13805 W WOODSIDE DR UNIT 133                                                               SUN CITY WEST    AZ 85375‐4784
SCHLUGE, JOHN E                 5835 S 92ND ST                                                                             HALES CORNERS    WI 53130‐2218
SCHLUGE, MARIE A                2530 S 66TH ST                                                                             MILWAUKEE        WI 53219‐2633
SCHLUGE, SUSAN L                6517 CAROLINA BLVD                                                                         INDIANAPOLIS     IN 46217‐4094
SCHLUM, MARIAN M                25 AUTUMN CREEK LANE #D                                                                    EAST AMHERST     NY 14051‐2907
SCHLUMBERGER                    BRANDON BELLOW                   555 INDUSTRIAL BLVD                                       SUGAR LAND       TX 77478‐2817
SCHLUMBERGER OILFIELD                                            3852 W MAIN ST                                                             LA 70359
SCHLUMBERGER, HORST K           499 CRAIGSTON DR                                                                           MANSFIELD        OH 44903‐9047
SCHLUMM, RICHARD B              6185 COVENTRY DR                                                                           BRIGHTON         MI 48116
SCHLUNAKER, LARRY W             600 VANCE LN                                                                               DANVILLE          IL 61832
SCHLUND JR., PETER A            3393 TOWNSHIP ROAD 629                                                                     LOUDONVILLE      OH 44842‐9540
SCHLUND, JOHN H                 831 NATURES RIDGE LN                                                                       BAY CITY         MI 48708‐9213
SCHLUND, PAUL J                 4856 OAKRIDGE DR                                                                           N ROYALTON       OH 44133‐2027
SCHLUNT, JOSEPH A               1321 NW 9TH ST                                                                             MOORE            OK 73170‐1009
SCHLUP LEONARD K (467063)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                 STREET, SUITE 600
SCHLUP, JOSHUA E                443 OAKLAND RD                                                                             MADISON         AL 35758‐1955
SCHLUP, LEONARD K               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                                 STREET, SUITE 600
SCHLUP, TRULY E                 2170 N 400TH RD                                                                            WELLSVILLE      KS   66092‐4010
SCHLUPP, CONNIE L               510 CENTRAL AVE                                                                            MANSFIELD       OH   44905‐1966
SCHLUR, CECILE                  5262 70TH ST                                                                               MASPETH         NY   11378‐1445
SCHLURAFF, STEVEN D             4440 DE CAMP STREET                                                                        HOLT            MI   48842‐1412
SCHLUSLER, DONALD C             4672 MESA CT                                                                               CLARKSTON       MI   48348‐2266
SCHLUTOW, BETTE G               10310 HORSESHOE CIR                                                                        CLARKSTON       MI   48348‐2006
SCHLYTTER, ALAN K               8526 OLD PLANK RD                                                                          GRAND BLANC     MI   48439‐2045
SCHLYTTER, JANICE K             8526 OLD PLANK RD                                                                          GRAND BLANC     MI   48439‐2045
SCHLYTTER‐MCKELLAR, HEATHER M   12123 WHITE LAKE RD                                                                        FENTON          MI   48430‐2564
SCHMACKER, DAVID L              303 N KEAL AVE                                                                             MARION          IN   46952‐3056
SCHMACKPFEFFER, RALPH E         301 HAMILTON ST LOT 15                                                                     ALBION          NY   14411
SCHMACKPFEFFER, TODD R          8591 CRESCENT AVE                                                                          BUENA PARK      CA   90620‐3375
SCHMACKPFEFFER, WILLIAM C       2712 SPENCERPORT RD                                                                        SPENCERPORT     NY   14559‐1941
SCHMADER WILLIAM S (439484)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                                 STREET, SUITE 600
SCHMADER, WILLIAM S             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                                 STREET, SUITE 600
SCHMAKEL CHRISTY                52195 COUNTY LINE RD                                                                       STANCHFIELD     MN   55080‐5110
SCHMAKEL, WILLIAM ROBERT        3938 ARTHUR AVE                                                                            BROOKFIELD      IL   60513‐1927
SCHMALBECK RICHARD & LINDA      407 WATTS ST                                                                               DURHAM          NC   27701‐1719
SCHMALD TOOL & DIE INC          G4206 S SAGINAW ST                                                                         BURTON          MI   48529‐1649
SCHMALD TOOL & DIE INC          ATTN: LAURIE MONCRIEFF           G4206 S SAGINAW ST                                        BURTON          MI   48529‐1695
SCHMALE, SCOTT D                1156 JENNIFER LN                                                                           BOLINGBROOK     IL   60440‐1590
SCHMALER, DEAN A                9433 BEECHER RD                                                                            FLUSHING        MI   48433‐9769
SCHMALFELDT MICHELLE            SCHMALFELDT, MICHELLE            1358 BROOK RD.                                            BURLINGTON      WI   53105
SCHMALFELDT, MICHELLE           1358 BROOK RD                                                                              BURLINGTON      WI   53105‐9071
SCHMALFELT, JOHN C              4605 LIMERICK LN                                                                           RACINE          WI   53405‐1444
SCHMALSTIG, GEORGE H            10337 W PAMONDEHO CIR                                                                      CRYSTAL RIVER   FL   34428‐6479
SCHMALSTIG, HELEN D             108 ORCHARD DR                                                                             SOUTH POINT     OH   45680‐9683
SCHMALTZ JR, ALFRED             4009 CARTER AVE                                                                            NORWOOD         OH   45212
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Name                      Address1                          Address2                    Address3                  Address4         City               State Zip
SCHMALTZ, ANNA T          18299 MULLFIELD VILLAGE TER                                                                              LEESBURG            VA 20176‐7466
SCHMALTZ, ANTON C         505 SUNRISE LN                                                                                           ROCKFORD             IL 61107‐4922
SCHMALTZ, BETTY J         3160 E MAIN ST LOT 38                                                                                    MESA                AZ 85213‐9511
SCHMALTZ, BETTY J         3160 EAST MAIN STREET             #38                                                                    MESA                AZ 85213
SCHMALTZ, DALE E          232 NORRIS DR                                                                                            ANDERSON            IN 46013‐3931
SCHMALTZ, DAVID W         5224 STODDARD RD                                                                                         PORT HOPE           MI 48468‐9793
SCHMALTZ, DOROTHY         7608 W JIM LN                                                                                            CRYSTAL RIVER       FL 34429‐5504
SCHMALTZ, DOROTHY         7608 WEST JIM LANE                                                                                       CRYSTAL RIVER       FL 34429‐5504
SCHMALTZ, GERALD A        1158 OGAN AVE                                                                                            HUNTINGTON          IN 46750‐3757
SCHMALTZ, GLENN A         116 LEXINGTON FARM ROAD                                                                                  ENGLEWOOD           OH 45322‐3408
SCHMALTZ, GLORIA J        5224 STODDARD ROAD                                                                                       PORT HOPE           MI 48468‐9793
SCHMALTZ, GREGORY R       7240 DRYER RD                                                                                            VICTOR              NY 14564‐8711
SCHMALTZ, HOWARD E        4090 RICHFIELD RD                                                                                        FLINT               MI 48506‐2009
SCHMALTZ, JOSEPH M        1305 SUPERIOR ST                                                                                         HUNTINGTON          IN 46750‐2936
SCHMALTZ, THOMAS P        3020 PARKLINE TRL                                                                                        GRAND PRAIRIE       TX 75052‐7538
SCHMALZ, DAVID W          5610 W 25TH ST                                                                                           SPEEDWAY            IN 46224‐3803
SCHMALZ, EVELYN H         1210 ROYAL FERN DR                                                                                       MELBOURNE           FL 32940‐8114
SCHMALZ, JOSEPH W         2418 PINEVIEW LN                                                                                         JANESVILLE          WI 53546‐1192
SCHMALZ, LUCILLE F        100 W. BUTTERFIELD RD             APT #210 N                                                             ELMHURST             IL 60126
SCHMALZER, DELORES        4953 S HERITAGE DR APT 203                                                                               GREENFIELD          WI 53220‐5354
SCHMALZRIED JAY T         SCHMALZRIED, JAY T                MCCLOSKEY & FRITSCH PC      97 WEST WHEELING STREET                    WASHINGTON          PA 15301‐6917
SCHMALZRIED, JAY
SCHMALZRIED, JAY T        MCCLOSKEY & FRITSCH PC            97 W WHEELING ST                                                       WASHINGTON         PA   15301‐6917
SCHMALZRIEDT, JAMES E     2801 WYNSTONE DR                                                                                         SEBRING            FL   33875‐4741
SCHMALZRIEDT, TRUMAN T    36287 PARKLANE CIR                                                                                       FARMINGTON HILLS   MI   48335‐4207
SCHMAN, JEROME M          14221 STARLITE DR                                                                                        BROOK PARK         OH   44142‐3253
SCHMANDT, ERIC M          6485 COOK RD                                                                                             SWARTZ CREEK       MI   48473‐9102
SCHMANDT, ROBERT J        43280 TALL PINES CT                                                                                      STERLING HEIGHTS   MI   48314‐1700
SCHMANDT, STEPHEN R       9311 STATE RD                                                                                            MILLINGTON         MI   48746‐9426
SCHMANSKY, MARK F         1529 COLONY DR                                                                                           ROCHESTER HILLS    MI   48307‐3404
SCHMANSKY, STEPHEN V      5210 TIMBER RIDGE TRL                                                                                    CLARKSTON          MI   48346‐3855
SCHMARDEL SHIRLEY & JOE   4218 WIGHTMAN ST                                                                                         SAN DIEGO          CA   92105‐2618
SCHMARR, VALENE M         6653 HALL ROAD                                                                                           GALLOWAY           OH   43119
SCHMARR, VALENE M         6653 HALL RD                                                                                             GALLOWAY           OH   43119‐9200
SCHMATZ JEFF              112 W HAWK AVE                                                                                           MCALLEN            TX   78504‐1802
SCHMAUCH, DOTTY L         4644 CADMUS DR                                                                                           COLUMBUS           OH   43228‐8402
SCHMAUCH, HAROLD F        2465 VALLEYVIEW DR                                                                                       COLUMBUS           OH   43204‐3461
SCHMAUSS KEVIN            SCHMAUSS, KEVIN                   AMERICAN FAMILY INSURANCE   SCANNING CENTER ‐ 6000                     MADISON            WI   53783‐0001
                                                            GROUP                       AMERICAN PKWY
SCHMAUSS, KEVIN           AMERICAN FAMILY INSURANCE GROUP   SCANNING CENTER ‐ 6000                                                 MADISON            WI 53783‐0001
                                                            AMERICAN PKWY
SCHMECKPEPER, DANIEL E    4985 LAKEVIEW BLVD                                                                                       CLARKSTON          MI   48348‐3835
SCHMEDDING, DARRELL J     16415 LAURELFIELD DR                                                                                     HOUSTON            TX   77059‐6521
SCHMEDDING, DONALD L      400 SW VICTOR DR                                                                                         BLUE SPRINGS       MO   64014‐3550
SCHMEDDING, WILLIAM R     PO BOX 626                                                                                               GARIBALDI          OR   97118‐0626
SCHMEDDING,WILLIAM        217 SE AVON ST                                                                                           BLUE SPRINGS       MO   64014‐3711
SCHMEDEL, HARRY A         6519 WAYBRIDGE CT                                                                                        INDIANAPOLIS       IN   46237‐2973
SCHMEES, JOSEPH E         211 GLENMOOR DR                                                                                          ROCHESTER          MI   48307‐1729
SCHMEGNER, IRENE F        35500 AURORA RD                                                                                          SOLON              OH   44139‐3830
SCHMEH, BETTY S           302 HAWLEY ST                                                                                            LOCKPORT           NY   14094‐2710
SCHMEH, JOHN              302 HAWLEY ST                                                                                            LOCKPORT           NY   14094
SCHMEHL, ROBERT W         2706 GEMINI DR                                                                                           LAKE ORION         MI   48360‐1718
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Name                          Address1                           Address2                      Address3   Address4         City                 State Zip
SCHMEHL, WILLIAM F            1071 BEMBRIDGE DR                                                                            ROCHESTER HILLS       MI 48307‐5714
SCHMEIKA L DENSMORE           2208 D. WHITE AVE.                                                                           GADSDEN               AL 35904
SCHMEISER, ALBERT A           2826 MOUNT ZION AVE                                                                          JANESVILLE            WI 53545‐1365
SCHMELEBECK, CHERYL A         5209 FLORENCE AVE                                                                            DOWNERS GROVE          IL 60515‐5206
SCHMELER SR., EDWARD J        9640 ROSEWOOD POINTE TER STE 104                                                             BONITA SPRINGS        FL 34135‐7508
SCHMELING JR, ARTHUR P        1861 SE CAMDEN ST                                                                            PORT ST LUCIE         FL 34952‐6710
SCHMELING, CASEY L            518 WINDWOOD CIR                                                                             EDGERTON              WI 53534‐9569
SCHMELING, DAVID M            5999 SPRING MEADOW CT                                                                        CLARKSTON             MI 48348‐5151
SCHMELING, HOWARD S           6769 PIERCE DR                                                                               THREE LAKES           WI 54562‐9111
SCHMELING, IRMA L             600 W SUNSET DR APT 106                                                                      MILTON                WI 53563‐1072
SCHMELING, IRMA L             600 W SUNSET DR                    APT 106                                                   MILTON                WI 53563
SCHMELING, JAMES L            10609 N ELLENDALE RD                                                                         EDGERTON              WI 53534‐9016
SCHMELING, JAMIE L            518 WINDWOOD CIR                                                                             EDGERTON              WI 53534‐9569
SCHMELING, JOHN R             1619 E INMAN PKWY 1‐D                                                                        BELOIT                WI 53511
SCHMELING, KENNETH F          10109 N ELLENDALE RD                                                                         EDGERTON              WI 53534‐9014
SCHMELLING, DONALD W          2085 MONTE AVE                                                                               MUSKEGON              MI 49444‐4522
SCHMELTER, DONALD B           1291 ARTHUR RD                                                                               HARRISON              MI 48625‐9556
SCHMELTER, RONALD E           14146 PARKMAN BLVD                                                                           BROOK PARK            OH 44142‐2524
SCHMELTZ, JUSTIN E            5006 W 64TH ST                                                                               PRAIRIE VILLAGE       KS 66208‐1326
SCHMELTZER, MICHAEL J         2086 WALNUT RD                                                                               AUBURN HILLS          MI 48326‐2548
SCHMELTZER, MICHAEL JAMES     2086 WALNUT RD                                                                               AUBURN HILLS          MI 48326‐2548
SCHMELZ COUNTRYSIDE SAAB      SCHMELZ, JONATHAN J.               1180 HIGHWAY 36 E                                         MAPLEWOOD             MN 55109‐2554
SCHMELZ JONATHAN              1180 HIGHWAY 36 E                                                                            MAPLEWOOD             MN 55109‐2554
SCHMELZ, EDWARD P             2036 H0LLYWOOD DR                                                                            MONROE                MI 48162
SCHMELZ, EDWARD PHILLIP       2036 H0LLYWOOD DR                                                                            MONROE                MI 48162
SCHMELZ, ROBERT E             5240 DEERFIELD AVE                                                                           MECHANICSBURG         PA 17050‐6841
SCHMELZER JR, CHARLES E       88 OLD POST RD                                                                               LANCASTER             NY 14086‐3263
SCHMELZER, CARL               12592 RIDGE RD                                                                               N ROYALTON            OH 44133‐3749
SCHMELZER, CRAIG R            6299 DANA ROSE DR 14                                                                         WASHINGTON            MI 48094
SCHMELZER, JOHN R             153 ST. JOHN RD.                                                                             BRODHEAD              WI 53520
SCHMELZER, KENNETH P          42898 HUNT CLUB BLVD 42                                                                      STERLING HEIGHTS      MI 48314
SCHMELZER, RICHARD J          29706 MAISON ST                                                                              SAINT CLAIR SHORES    MI 48082‐1893
SCHMELZINGER, THERESA M       24 OLD MILL CIR                                                                              ELMA                  NY 14059‐9400
SCHMELZLE, LLOYD L            7705 E BRITTON DR                                                                            NIAGARA FALLS         NY 14304‐5411
SCHMELZLE, TIMOTHY R          7000 LAUR RD                                                                                 NIAGARA FALLS         NY 14304‐1355
SCHMELZLE, TRUDE              2334 RICHARD                                                                                 SAGINAW               MI 48603‐4130
SCHMELZLE, TRUDE              2334 RICHARD AVE                                                                             SAGINAW               MI 48603‐4130
SCHMENK, BERNARD J            1015 WATERVILLE MONCLOVA RD                                                                  WATERVILLE            OH 43566‐1063
SCHMENK, HENRY A              26115 WILSON DR                                                                              DEARBORN HTS          MI 48127‐4150
SCHMENK, JAMES C              9721 HAMILTON ST                                                                             BELLEVILLE            MI 48111‐4325
SCHMENK, MYRON J              7285 HIDDEN VALLEY DR                                                                        LAMBERTVILLE          MI 48144‐9444
SCHMENK, TERRI L              1930 SHERWOOD DR                                                                             DEFIANCE              OH 43512‐3432
SCHMENK, TERRI LYNN           1930 SHERWOOD DR                                                                             DEFIANCE              OH 43512‐3432
SCHMER, JAMES E               5921 W 86TH ST                                                                               OVERLAND PARK         KS 66207‐1518
SCHMERBAUCH, BERNICE          8351 ETON PL                                                                                 SAINT LOUIS           MO 63136‐2531
SCHMERBECK ELMER H (402192)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510
                                                                 STREET, SUITE 600
SCHMERBECK, ELMER H           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                                 STREET, SUITE 600
SCHMERBER, GILBERT G          5573 J RILEY WEST RD                                                                         GREENBACK            TN 37742‐3337
SCHMERBER, LYNETTE            3105 S CURFMAN RD                                                                            MARION               IN 46953‐3829
SCHMERBER, LYNN M             5573 J RILEY WEST RD                                                                         GREENBACK            TN 37742‐3337
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Name                           Address1                           Address2               Address3   Address4            City                 State Zip
SCHMERFELD, RONALD J           1261 QUARRY COMMONS DR                                                                   YARDLEY               PA 19067‐4032
SCHMERHEIM DALE J              C/O GOLDBERG PERSKY AND WHITE PC   1030 FIFTH AVENUE                                     PITTSBURGH            PA 15219
SCHMERHEIM, DALE J             13240 DEERPATH LN                                                                        RAPID CITY            MI 49676‐9351
SCHMERHEIM, JACK W             3815 HEMMETER RD                                                                         SAGINAW               MI 48603‐2029
SCHMERHEIM, JAN M              22601 RIDGEWAY ST                                                                        SAINT CLAIR SHORES    MI 48080‐1477
SCHMERLING, EDWARD G           2686 LACOTA RD                                                                           WATERFORD             MI 48328‐3177
SCHMERMUND, MILDRED L          980 WILMINGTON AVE APT 507                                                               DAYTON                OH 45420‐1621
SCHMERMUND, MILDRED L          C/O FREDRICK L SCHMERMUND          5909 HARTWICK LN                                      HUBER HEIGHTS         OH 45424
SCHMERSAL SR, GREGORY M        1720 SEARFOSS RD                                                                         COLUMBUS GRV          OH 45830‐9435
SCHMERSAL, BRIAN C             PO BOX 166                                                                               PANDORA               OH 45877‐0166
SCHMERSAL, CHARLES G           7425 ROAD O                                                                              OTTAWA                OH 45875‐9566
SCHMERSAL, PAUL J              11572 ROAD 16                                                                            OTTAWA                OH 45875‐9480
SCHMERSAL, PAUL JOSEPH         11572 ROAD 16                                                                            OTTAWA                OH 45875‐9480
SCHMERSAL, THOMAS              18838 COUNTY ROAD L                                                                      CLOVERDALE            OH 45827
SCHMICK, LINDA K               810 VALLEYVIEW POINT                                                                     SPRINGBORO            OH 45066‐5066
SCHMICK, LINDA K               810 VALLEY VIEW PT                                                                       SPRINGBORO            OH 45066‐9097
SCHMICK, STEVEN                2306 SPRINGBROOK RD                                                                      OMRO                  WI 54963‐1816
SCHMID CORP OF AMERICA         6833 VREEK RD                                                                            CINCINNATI            OH 45242‐4121
SCHMID HANS MARTIN             SCHMID‐COLMJON HANS MARTIN W       199 RUE DES POMMIERS              L‐2343 LUXEMBOURG
SCHMID JR, FREDERICK W         5348 N STATE RD                                                                          ORLEANS              MI   48865‐9698
SCHMID MOONEY & FREDERICK PC   11404 W DODGE RD STE 700                                                                 OMAHA                NE   68154‐2576
SCHMID, ANNE MARIE             10901 183RD AVE E                                                                        BONNEY LAKE          WA   98391
SCHMID, BETH Y                 9111 N 27TH ST                                                                           RICHLAND             MI   49083‐9562
SCHMID, BRYAN J                10901 183RD AVE E                                                                        BONNEY LAKE          WA   98391‐6059
SCHMID, CARL R                 3444 E 200 N                                                                             SHELBYVILLE          IN   46176‐9223
SCHMID, CYNTHIA J              48331 CENTRAL PARK DR                                                                    CANTON               MI   48188‐1494
SCHMID, D P                    7232 PERALA RD                                                                           EMBARRASS            MN   55732‐8827
SCHMID, DAVID E                206 N 12TH ST                                                                            SEBRING              OH   44672‐1506
SCHMID, DEBRA                  11573 E 35TH ST                                                                          YUMA                 AZ   85367
SCHMID, EDWARD W               7210 N LIMA RD                                                                           POLAND               OH   44514‐2677
SCHMID, FRANK E                22515 REVERE ST                                                                          SAINT CLAIR SHORES   MI   48080‐2882
SCHMID, GEORGE L               2706 VILLAGE LN                                                                          ROSWELL              GA   30075‐7609
SCHMID, GERALD W               475 N MAPLE RD TRLR 32                                                                   SALINE               MI   48176‐1260
SCHMID, JOAN E                 60023 TRAILWOOD ST                                                                       WASHINGTON           MI   48094‐3400
SCHMID, KENNETH D              21230 WOODLAND GLEN DR APT 201                                                           NORTHVILLE           MI   48167‐2457
SCHMID, KENNETH D.             21230 WOODLAND GLEN DR APT 201                                                           NORTHVILLE           MI   48167‐2457
SCHMID, KENNETH J              2376 SHERMAN RD                                                                          EAST TAWAS           MI   48730‐9687
SCHMID, LARRY C                48331 CENTRAL PARK DR                                                                    CANTON               MI   48188‐1494
SCHMID, MARGARET               42933 GREEN RIVER DR                                                                     SWEET HOME           OR   97386‐9723
SCHMID, MARY A                 615 N STONE AVE                                                                          LA GRANGE PARK       IL   60526‐5525
SCHMID, MARY C                 4754 BRIDGEFIELD DR                                                                      INDIANAPOLIS         IN   46254‐9598
SCHMID, P R                    53003 BAYBERRY DR                                                                        MACOMB               MI   48042‐2839
SCHMID, PATTI J                PO BOX 34084                                                                             INDIANAPOLIS         IN   46234‐0084
SCHMID, PETER A                562 HARROW CT                                                                            ROCHESTER HILLS      MI   48307‐4537
SCHMID, SARALYN L              8376 WEST BLUEGILL DR                                                                    IRONS                MI   49644
SCHMID, SARALYN L              8376 W BLUE GILL DR                                                                      IRONS                MI   49644‐8902
SCHMID, THOMAS S               75 14 MILE RD NE                                                                         SPARTA               MI   49345‐9578
SCHMID, W J                    4320 HORTON RD                                                                           JACKSON              MI   49201‐9725
SCHMID, WILLIAM J              7110 HILEMAN DR E                                                                        LAKELAND             FL   33810‐4700
SCHMIDBAUER, PHYLLIS H         2309 BROOKSIDE DR SE                                                                     DECATUR              AL   35601‐6615
SCHMIDER, GEORGIE G            4618 FORBES RD.                                                                          SNAHOMISH            WA   98290
SCHMIDER, GEORGIE G            4618 FOBES RD                                                                            SNOHOMISH            WA   98290‐5125
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SCHMIDGALL, MARGIE
SCHMIDHUBER, ILENE F               30141 ROSENBUSCH DR                                                                             WARREN            MI   48088‐5951
SCHMIDL, CHARLES M                 6575 WARD RD                                                                                    NIAGARA FALLS     NY   14304‐4513
SCHMIDL, SHARON D.                 6575 WARD RD                                                                                    NIAGARA FALLS     NY   14304‐4513
SCHMIDLER, ELAINE A                2114 TOCOBAGA LN                                                                                NOKOMIS           FL   34275‐5313
SCHMIDLEY, ALLEN T                 6181 GREENVIEW DR                                                                               BURTON            MI   48509‐1314
SCHMIDLEY, ARLENE A                6181 GREENVIEW DR                                                                               BURTON            MI   48509‐1314
SCHMIDLI, GARY R                   5165 LEWISTON RD                                                                                LEWISTON          NY   14092
SCHMIDLI, RONALD J                 4 CLEMENT CT                                                                                    PALM COAST        FL   32137
SCHMIDLIN II, ROBERT W             2175 JUDGE FRAN JAMIESON WAY      APT 210                                                       VIERA             FL   32940
SCHMIDLIN JAMES                    228 KILLINGTON PL                                                                               DUNN              NC   28334‐7609
SCHMIDLIN, DANIEL L                2267 PRIESTLEY DR                                                                               ATTICA            MI   48412‐9282
SCHMIDLIN, EDWARD D                8725 WASHINGTON BLVD WEST DR                                                                    INDIANAPOLIS      IN   46240‐1521
SCHMIDLIN, HOWARD C                2831 W ELK LN                                                                                   CITRUS SPRINGS    FL   34434‐4827
SCHMIDLIN, LAWRENCE H              8663 CHERRYLAWN DR                                                                              STERLING HTS      MI   48313‐4826
SCHMIDLIN, MARCIA J.               4998 POND VIEW CT                                                                               HOLLY             MI   48442‐9345
SCHMIDLING, DENNIS M               1972 SE THOMPSON RD                                                                             TROUTDALE         OR   97060‐8304
SCHMIDLING, DENNIS MICHAEL         1972 SE THOMPSON RD                                                                             TROUTDALE         OR   97060‐8304
SCHMIDSEDER JOSEF                  KIRCHPLATZ 1                      843489 POSTM▄NSTER
SCHMIDT                            4386 FAIRWOOD DR                                                                                BURTON            MI 48529‐1914
SCHMIDT & SHAW LTD                 304 BLAKE ST                                                               BARRIE ON L4M 1K8
                                                                                                              CANADA
SCHMIDT & SONS PHARMACY OF         120 E. CHICAGO BLVD.                                                                            TECUMSEH          MI 49286
TECUMSEH
SCHMIDT ANN                        9900 NORTHWEST 13TH STREET                                                                      GAINESVILLE      FL    32653
SCHMIDT AUTOMOTIVE                 8560 E 30TH ST                                                                                  INDIANAPOLIS     IN    46219‐1423
SCHMIDT BRANDON                    SCHMIDT, BRANDON                  609 N. LINWOOD AVE                                            APPLETON         WI    54914‐3329
SCHMIDT CADILLAC                   1421 W MCCORD ST                                                                                CENTRALIA        IL    62801‐5647
SCHMIDT CATHERINE                  SCHMIDT, CATHERINE                425 CALIFORNIA ST STE 2025                                    SAN FRANCISCO    CA    94104‐2213
SCHMIDT CHEVROLET                  1421 W MCCORD ST                                                                                CENTRALIA        IL    62801‐5647
SCHMIDT CHEVROLET CADILLAC, INC.   ROY SCHMIDT                       1421 W MCCORD ST                                              CENTRALIA        IL    62801‐5647
SCHMIDT COUNTY                     303 NORTH PARK AVENUE                                                                           MARION           SD    57043
SCHMIDT DAILY RENTAL, INC.         THOMAS SCHMIDT                    1425 REYNOLDS RD                                              MAUMEE           OH    43537‐1625
SCHMIDT DANIEL L                   SCHMIDT, DANIEL L                 210 GRANT STREET SUITE 202                                    PITTSBURGH       PA    15219
SCHMIDT DONALD C                   5543 SOUTH IMPERIAL BOULEVARD                                                                   CRAWFORDSVLLE    IN    47933‐9308
SCHMIDT DOUG                       31145 N REIGATE LN                                                                              LIBERTYVILLE     IL    60048‐4855
SCHMIDT EARL H (467064)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA    23510
                                                                     STREET, SUITE 600
SCHMIDT FRANK (469856)             SIMMONS FIRM                      PO BOX 521                                                    EAST ALTON        IL   62024‐0519
SCHMIDT FRANK E                    139 QUEENSBERRY CRES                                                                            BIRMINGHAM        AL   35223‐2906
SCHMIDT FRED                       178 PLEASANT VALLEY RD                                                                          TITUSVILLE        NJ   08560‐2103
SCHMIDT GUY INC                    1156 N BRAND BLVD                                                                               GLENDALE          CA   91202‐2504
SCHMIDT GUY INC                    SCHMIDT GUY PARTNERS LP           1156 N BRAND BLVD                                             GLENDALE          CA   91202‐2504
SCHMIDT HERMAN E (626756)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA   23510
                                                                     STREET, SUITE 600
SCHMIDT HUMMER ED                  DAIMLER CHRYSLER MOTORS COMPANY   1801 CALIFORNIA ST STE 3400                                   DENVER            CO 80202‐2634
                                   LLC
SCHMIDT I I I, HERMAN C            1432 HARFORD SQUARE DR                                                                          EDGEWOOD         MD 21040‐2212
SCHMIDT I I I, THEODORE J          10378 KING RD                                                                                   DAVISBURG        MI 48350‐1902
SCHMIDT II, ARTHUR J               239 WASHOE DR                                                                                   SAN JOSE         CA 95120
SCHMIDT INC, STEVE
SCHMIDT JAMES                      10 PRAIRIE CT                                                                                   TROY             MO 63379‐2267
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SCHMIDT JAMES (459316)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510
                                                                           STREET, SUITE 600
SCHMIDT JAMES W (490921)              ANGELOS PETER G                      100 N CHARLES STREET , ONE                                BALTIMORE            MD 21201
                                                                           CHARLES CENTER
SCHMIDT JOHN                          251 WILLOW AVE                                                                                 HONESDALE            PA    18431‐1109
SCHMIDT JR, ALBERT G                  29 FERNDALE PL                                                                                 METUCHEN             NJ    08840‐2620
SCHMIDT JR, ARTHUR G                  50500 W SHAMROCK ST                                                                            CHESTERFIELD         MI    48047‐1869
SCHMIDT JR, BERNARD C                 8510 WARRINGTON DR                                                                             INDIANAPOLIS         IN    46234‐2116
SCHMIDT JR, BURDETTE D                3812 TOWNSEND ANG. RD                                                                          COLLINS              OH    44826
SCHMIDT JR, GROVER Q                  12383 FAIRBANKS RD                                                                             LINDEN               MI    48451‐9481
SCHMIDT JR, GROVER QUINN              12383 FAIRBANKS RD                                                                             LINDEN               MI    48451‐9481
SCHMIDT JR, JAMES A                   7182 RONALD DR                                                                                 SAGINAW              MI    48609‐6935
SCHMIDT JR, JAMES ALLEN               7182 RONALD DR                                                                                 SAGINAW              MI    48609‐6935
SCHMIDT JR, JOHN H                    1086 W BERGIN AVE                                                                              FLINT                MI    48507‐3602
SCHMIDT JR, MAYNARD E                 14255 SE 85TH AVE                                                                              SUMMERFIELD          FL    34491‐9382
SCHMIDT JR, RALPH J                   3008 E BAYVIEW LN                                                                              SANDUSKY             OH    44870‐5905
SCHMIDT JR., THOMAS C                 7118 E MAPLE AVE                                                                               GRAND BLANC          MI    48439‐9728
SCHMIDT JR., THOMAS CARL              7118 E MAPLE AVE                                                                               GRAND BLANC          MI    48439‐9728
SCHMIDT JUDY                          PO BOX 433                                                                                     HUGHSON              CA    95326‐0433
SCHMIDT JULIA                         2120 20TH ST NW                                                                                APPLETON             MN    56208‐2015
SCHMIDT KIM                           PO BOX 11054                                                                                   FORT MOHAVE          AZ    86427‐1054
SCHMIDT KYLE E                        SCHMIDT, KYLE E                      2684 11 MILE RD                                           BERKLEY              MI    48072‐3050
SCHMIDT LAWRENCE                      SCHMIDT, JODI                        3 SUMMIT PARK DR STE 100                                  INDEPENDENCE         OH    44131‐2598
SCHMIDT LAWRENCE                      SCHMIDT, LAWRENCE                    3 SUMMIT PARK DR STE 100                                  INDEPENDENCE         OH    44131‐2598
SCHMIDT LAWRENCE (653726)             GOLDENBERG, MILLER, HELLER &         PO BOX 959                                                EDWARDSVILLE         IL    62025‐0959
                                      ANTOGNOLI
SCHMIDT LUKE                          SCHMIDT, LUKE                        55 PUBLIC SQ STE 650                                      CLEVELAND            OH 44113‐1909
SCHMIDT LYNN PATRICK (660946)         BRAYTON PURCELL                      PO BOX 6169                                               NOVATO               CA 94948‐6169
SCHMIDT MARCELLE                      ATTN: CORPORATE OFFICER/AUTHORIZED   900 N CASS LAKE RD APT 223                                WATERFORD            MI 48328‐2387
                                      AGENT
SCHMIDT MARCELLE                      # 221                                5700 WATER TOWER PLACE                                    CLARKSTON            MI    48346‐2668
SCHMIDT MARK                          496 LYMINGTON RD                                                                               SEVERNA PARK         MD    21146‐3548
SCHMIDT MILTON JR                     1508 EAST AVE                                                                                  KATY                 TX    77493‐1932
SCHMIDT MOTORS, INC.                  501 W 1ST ST                                                                                   OGALLALA             NE    69153‐2414
SCHMIDT MOTORS, INC.                  RONALD SCHMIDT                       501 W 1ST ST                                              OGALLALA             NE    69153‐2414
SCHMIDT NATHAN                        1803 12TH AVE UNIT D                                                                           CORALVILLE           IA    52241‐1151
SCHMIDT NOEL                          24610 COUNTY ROAD 4                                                                            NISSWA               MN    56468‐2216
SCHMIDT OSWALD (ESTATE OF) (661541)   SIMMONS FIRM                         PO BOX 521                                                EAST ALTON           IL    62024‐0519

SCHMIDT ROBERT J (508702)             BILBREY & HYLIA                      8724 PIN OAK RD                                           EDWARDSVILLE          IL   62025‐6822
SCHMIDT SALES & LEASING, STEVE,
SCHMIDT SCOTT                         1735 WALLER ST                                                                                 NEW BOSTON           OH    45662‐3540
SCHMIDT STEPHANIE                     SCHMIDT, STEPHANIE                   W9293 29TH AVENUE                                         HAGER CITY           WI    54014‐8360
SCHMIDT TECHNOLOGY CORP               280 EXECUTIVE DR                                                                               CRANBERRY TOWNSHIP   PA    16066
SCHMIDT TERRY L                       16939 W STATE ROAD 11                                                                          BRODHEAD             WI    53520‐9734
SCHMIDT THOMAS                        29 MEADOW VIEW                                                                                 VICTORIA             TX    77904‐1679
SCHMIDT VILIS                         , VILIS SCHMIDT
SCHMIDT WALTER                        W346N5608 LAKE DR                                                                              OCONOMOWOC           WI    53066‐2520
SCHMIDT, AARON M                      1521 DAYTONA DR                                                                                TOLEDO               OH    43612‐4015
SCHMIDT, ADAM W                       924 ODA ST                                                                                     DAVISON              MI    48423‐1026
SCHMIDT, ALFRED                       23371 CAMINITO LAZARO                                                                          LAGUNA HILLS         CA    92653‐1659
SCHMIDT, ALFRED G                     1130 BIRCHCREST BLVD                                                                           PORT CHARLOTTE       FL    33952‐1688
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SCHMIDT, ALFRED G      41429 CLAIRPOINTE ST                                                                  HARRISON TWP       MI 48045‐5918
SCHMIDT, ALLEN F       7 RAVENSHOE RD                                                                        ROGERS             AR 72756‐8276
SCHMIDT, ALVIN C       9650 LANGAN ST                                                                        SPRING HILL        FL 34606‐1044
SCHMIDT, ALVIN H       200 BREAKER COVE DR                                                                   BAY CITY           MI 48708‐8808
SCHMIDT, ALVIN P       17671 30 MILE RD                                                                      RAY                MI 48096‐1704
SCHMIDT, AMANDA        1011 SCHOOL ST A                                                                      COLUMBIA           TN 38401
SCHMIDT, AMY L         4909 EATON LEWISBURG RD                                                               LEWISBURG          OH 45338‐9777
SCHMIDT, ANDREA L      411 W FEDERAL ST                                                                      NILES              OH 44446‐1804
SCHMIDT, ANDREW G      13015 AMESBURY CT                                                                     FENTON             MI 48430‐2502
SCHMIDT, ANITA L       703 LAWNDALE AVE                                                                      TILTON              IL 61833‐7963
SCHMIDT, ANITA L       PO BOX 574                                                                            ARMADA             MI 48005‐0574
SCHMIDT, ANNA          5640 MICHAEL DR                                                                       BAY CITY           MI 48706‐3167
SCHMIDT, ANNE M        1408 HELEN                                                                            BAY CITY           MI 48708‐5577
SCHMIDT, ANNE M        1408 HELEN ST                                                                         BAY CITY           MI 48708‐5577
SCHMIDT, ANNETTE M     8375 LAPP ROAD                                                                        EAST AMHERST       NY 14051‐1179
SCHMIDT, ANNETTE M     28 HATTEN BAY ST                                                                      HENDERSON          NV 89012‐2481
SCHMIDT, ARLENE A      13455 W PAWNEE LN                                                                     HOMER GLEN          IL 60491‐8901
SCHMIDT, ARLENE E      3109 CANTERBURY LANE                                                                  JANESVILLE         WI 53546‐2237
SCHMIDT, ARNEY J       4455 ALTADENA DR                                                                      BAY CITY           MI 48706‐2513
SCHMIDT, ARTHUR E      2862 VAN BUREN RD                                                                     FAIRGROVE          MI 48733‐9781
SCHMIDT, ARTHUR G      620 MARWAY NW                                                                         COMSTOCK PARK      MI 49321‐9719
SCHMIDT, ARTHUR L      907 WATERFORD VILLAS CT                                                               LAKE ST LOUIS      MO 63367‐2567
SCHMIDT, ASHLEY LYNN
SCHMIDT, AUDREY        7309 DALE                                                                             CENTER LINE       MI   48015‐1837
SCHMIDT, AUDREY M      7237 E 400 N                                                                          VAN BUREN         IN   46991‐9710
SCHMIDT, BARBARA       309 LINDA LN                                                                          ELIZABETHTOWN     KY   42701‐9422
SCHMIDT, BARBARA A     605 UNIVERSITY DR                                                                     LOMPOC            CA   93436‐7807
SCHMIDT, BARBARA A     55 ROOSEVELT AVE                                                                      LANCASTER         NY   14086‐2917
SCHMIDT, BARBARA J     2226 PLAZA DR W                                                                       CLIO              MI   48420‐2105
SCHMIDT, BARBARA K     1130 WESTRUN DR                                                                       BALLWIN           MO   63021‐6106
SCHMIDT, BARBARA M     1918 CLAWSON AVE                                                                      ROYAL OAK         MI   48073‐3744
SCHMIDT, BEATRICE I    36742 KINGSBURY ST                                                                    LIVONIA           MI   48154‐1921
SCHMIDT, BECKY L       2485 ST HIGHWAY ST                                                                    ADAMS             WI   53910
SCHMIDT, BECKY L       2485 STATE HIGHWAY 13                                                                 ADAMS             WI   53910‐9206
SCHMIDT, BENNO A       22483 MAPLE AVE                                                                       FARMINGTON        MI   48336‐4038
SCHMIDT, BERNARD G     707 MENDON RD                                                                         PITTSFORD         NY   14534‐9784
SCHMIDT, BETTY L       14829 S MORRICE RD                                                                    PERRY             MI   48872‐9548
SCHMIDT, BEVERLY A     PO BOX 591                                                                            FALLING WTRS      WV   25419‐0591
SCHMIDT, BEVERLY J     6456 WESTERN WAY                                                                      FLINT             MI   48532‐2052
SCHMIDT, BILL V        3640 NICOLET PLACE                                                                    RACINE            WI   53402‐3622
SCHMIDT, BONNIE J      PO BOX 697                                                                            MORGANTON         GA   30560‐0697
SCHMIDT, BRANDON       609 N LINWOOD AVE                                                                     APPLETON          WI   54914‐3329
SCHMIDT, BRIAN M       9879 VAN BUREN ST                                                                     BELLEVILLE        MI   48111‐1443
SCHMIDT, BRIAN S       2204 S PINE ST                                                                        JANESVILLE        WI   53546‐6171
SCHMIDT, CALVIN W      407 MAPLEWOOD AVE                                                                     WAYNE             PA   19087‐4702
SCHMIDT, CARL D        898 CHERRY BLOSSOM DR                                                                 WEST CARROLLTON   OH   45449‐1554
SCHMIDT, CARLETON C    1349 OTTER AVE                                                                        OSHKOSH           WI   54901‐5452
SCHMIDT, CAROL L       5635 EUCLID RD                                                                        CINCINNATI        OH   45236‐4112
SCHMIDT, CAROL L       PO BOX 635                                                                            PELL LAKE         WI   53157‐0635
SCHMIDT, CAROLYN S     11916 COUNTY ROAD 20                                                                  FAYETTE           OH   43521
SCHMIDT, CARRIE R      6282 PEACH DR                                                                         CLARKSTON         MI   48346‐1626
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SCHMIDT, CATHERINE        BERMAN DEVALERIO PEASE TABACCO   425 CALIFORNIA ST STE 2025                                SAN FRANCISCO         CA 94104‐2213
                          BURT & PUCILLO
SCHMIDT, CATHERINE A      PARKER BRIAN P                   30700 TELEGRAPH RD STE 1580                               BINGHAM FARMS        MI   48025‐5801
SCHMIDT, CATHERINE F      3004 SWEETLEAF TER               HOLIDAY VILLAGE EAST                                      MOUNT LAUREL         NJ   08054‐4937
SCHMIDT, CAZAMIA          909 JENNISON DR                                                                            ROSSFORD             OH   43460
SCHMIDT, CHARLES E        380 MOUNDS CT                                                                              CARMEL               IN   46032‐9301
SCHMIDT, CHARLES L        3157 DALE RD                                                                               SAGINAW              MI   48603‐3266
SCHMIDT, CHARLES M        21773 SUNRISE BLVD                                                                         NOVI                 MI   48375‐5164
SCHMIDT, CHRISTEL A       7627 MAIN ST                                                                               KANSAS CITY          MO   64114‐1902
SCHMIDT, CHRISTIAN P      6816 ALMOND LN                                                                             CLARKSTON            MI   48346‐2218
SCHMIDT, CHRISTINE R      22629 LAUKEL ST                                                                            SAINT CLAIR SHORES   MI   48080‐1470
SCHMIDT, CLARA            PO BOX 12                                                                                  GAINES               MI   48436‐0012
SCHMIDT, CLARA L          46512 KILLARNEY CIR                                                                        CANTON               MI   48188‐3505
SCHMIDT, CLIFFORD W       7351 UPPER MIAMISBURG RD                                                                   MIAMISBURG           OH   45342‐2143
SCHMIDT, CLYDE E          776W 300 N                                                                                 ANDERSON             IN   46011
SCHMIDT, CLYDE L          6343 HANKINS RD                                                                            MIDDLETOWN           OH   45044‐3233
SCHMIDT, CONRAD T         341 CLAYTON MANOR DR                                                                       MIDDLETOWN           DE   19709‐8859
SCHMIDT, CURTIS H.        5035 BEECHWOOD HILLS DRIVE                                                                 SHREVEPORT           LA   71107‐9175
SCHMIDT, DALE A           833 E MAPLE ST                                                                             HOLLY                MI   48442‐1752
SCHMIDT, DALE J           899 BAYARD AVE                                                                             SAINT PAUL           MN   55102‐4001
SCHMIDT, DALE L           3147 WAGON TRL                                                                             FLINT                MI   48507‐1213
SCHMIDT, DALE R           36067 PRIESTAP ST                                                                          RICHMOND             MI   48062‐1242
SCHMIDT, DAMON C          117 PARTRIDGE LN                                                                           OXFORD               PA   19363‐4226
SCHMIDT, DANA J           339 RAWSON AVE                                                                             FREMONT              OH   43420‐2329
SCHMIDT, DANIELLE L       1014 LARAMIE LN                                                                            JANESVILLE           WI   53546‐1851
SCHMIDT, DARREL M         7375 CROSSCREEK DR                                                                         TEMPERANCE           MI   48182‐9224
SCHMIDT, DARREL MICHAEL   7375 CROSSCREEK DRIVE                                                                      TEMPERANCE           MI   48182‐9224
SCHMIDT, DARRELL L        19181 PIKE ST                                                                              RODNEY               MI   49342‐9624
SCHMIDT, DAVID A          4764 PRAIRIE RD                                                                            BELLEVUE             OH   44811
SCHMIDT, DAVID C          160 GRAHAM AVE                                                                             SAINT IGNACE         MI   49781‐1904
SCHMIDT, DAVID E          4572 S QUINCY AVE                                                                          MILWAUKEE            WI   53207‐5223
SCHMIDT, DAVID G          182 NEWLAND LN                                                                             STATESVILLE          NC   28625‐1257
SCHMIDT, DAVID J          2235 STATE ROUTE 179 # R2                                                                  JEROMESVILLE         OH   44840
SCHMIDT, DAVID J          5453 WEST SOUTHPORT ROAD                                                                   INDIANAPOLIS         IN   46221‐9699
SCHMIDT, DAVID J          1064 PADDOCK CT                                                                            TROY                 MI   48098‐6604
SCHMIDT, DAVID J          5445 E THOMPSON RD                                                                         INDIANAPOLIS         IN   46237‐2087
SCHMIDT, DAVID J          4198 MARLYN AVE                                                                            SAGINAW              MI   48603‐4169
SCHMIDT, DAVID J          3385 SOUTH COLLEGE AVENUE                                                                  INVERNESS            FL   34452‐7024
SCHMIDT, DAVID L          7321 SKYLINE DR                                                                            HUDSON               FL   34667‐2250
SCHMIDT, DAVID L          3241 STEVIE LN                                                                             CINCINNATI           OH   45239‐6267
SCHMIDT, DAVID R          6820 WHITE PINE DR                                                                         BLOOMFIELD HILLS     MI   48301‐3031
SCHMIDT, DAVID T          315 S MAIDEN LN                                                                            TECUMSEH             MI   49286‐1907
SCHMIDT, DAWN J           632 REEDY CREEK RD                                                                         LOUISA               VA   23093‐2561
SCHMIDT, DEAN             4044 CANEY CREEK LN                                                                        CHAPEL HILL          TN   37034‐2075
SCHMIDT, DEBORAH A        220 LYNDHURST DR                                                                           JANESVILLE           WI   53546‐2161
SCHMIDT, DEBRA A          41 GARFORD RD                                                                              ROCHESTER            NY   14622‐1820
SCHMIDT, DEBRA L          2939 S ROCHESTER RD APT 242                                                                ROCHESTER HILLS      MI   48307
SCHMIDT, DEBRA M          3618 RIDGE DR STE 2                                                                        JANESVILLE           WI   53548
SCHMIDT, DEENA B          30110 COUSINO DR                                                                           WARREN               MI   48092‐1972
SCHMIDT, DELORES F        4154 WASHINGTON ST                                                                         SAGINAW              MI   48601
SCHMIDT, DENNIS A         4 RANDI WAY                                                                                EWING                NJ   08560‐1214
SCHMIDT, DENNIS G         3376 S 20TH ST                                                                             MILWAUKEE            WI   53215‐4916
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SCHMIDT, DENNIS L       934 DICKSON LN                                                                                         ROCHESTER HLS      MI 48307‐3336
SCHMIDT, DIANE A        24704 NEW YORK ST                                                                                      DEARBORN           MI 48124‐4484
SCHMIDT, DOLORES M      11077 W FOREST HOME AVE # W105                                                                         HALES CORNERS      WI 53130
SCHMIDT, DONALD A       5049 W JERICHO RD                                                                                      TASWELL            IN 47175‐7306
SCHMIDT, DONALD C       4550 ZIMMER RD                                                                                         WILLIAMSTON        MI 48895‐9609
SCHMIDT, DONALD C       16 MOUNTAINVIEW CT                                                                                     RIVERDALE          NJ 07457‐1036
SCHMIDT, DONALD E       68 BARTON RD                                                                                           OSHKOSH            WI 54904‐7910
SCHMIDT, DONALD F       2834 W GENESEE AVE                                                                                     SAGINAW            MI 48602‐3725
SCHMIDT, DONALD J       5240 PARKWAY DR                                                                                        BAY CITY           MI 48706‐3347
SCHMIDT, DONALD J       715 SUMMERLIN DR                                                                                       BOWLING GREEN      KY 42104‐5542
SCHMIDT, DONALD L       315 S MAIDEN LN                                                                                        TECUMSEH           MI 49286‐1907
SCHMIDT, DONALD L       2485 STATE HIGHWAY 13                                                                                  ADAMS              WI 53910‐9206
SCHMIDT, DONALD R       16319 WHITEHEAD DR                                                                                     LINDEN             MI 48451‐8775
SCHMIDT, DONALD W       11062 SHERWOOD DR                                                                                      FREDERIC           MI 49733‐9628
SCHMIDT, DONALD W       5322 CASMERE AVE                                                                                       WARREN             MI 48092‐3133
SCHMIDT, DONALD WAYNE   11062 SHERWOOD DR                                                                                      FREDERIC           MI 49733‐9628
SCHMIDT, DORIS A        5232 ISABELLE AVE                                                                                      PORT ORANGE        FL 32127‐5570
SCHMIDT, DORIS M        17671 30 MILE RD                                                                                       RAY                MI 48096‐1704
SCHMIDT, DOROTHEA J     2227 GRAND CYPRESS DR                                                                                  LAKELAND           FL 33810
SCHMIDT, DOROTHY A      1 SHERWOOD DR                                                                                          NORTH EASTON       MA 02356‐2201
SCHMIDT, DOROTHY F      6208 SANDY LN                                                                                          BURTON             MI 48519‐1312
SCHMIDT, DOROTHY F      PO BOX 310                                                                                             TEABERRY           KY 41660‐0310
SCHMIDT, EARL H         GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510‐2212
                                                                STREET, SUITE 600
SCHMIDT, EDGAR B        LAVIN COLEMAN ONEIL RICCI FINARELLI &   10TH FLR, PENN MUTUAL BUILDIN, G                               PHILADELPHIA      PA 19106
                        GRAY                                    510 WALNUT STREET
SCHMIDT, EDITH I        432 NORTH AVE                                                                                          NORTH TONAWANDA   NY   14120‐1724
SCHMIDT, EDITH I        NIAGRA LUTHERAN HOME                    64 HAGER ST                                                    BUFFALO           NY   14208
SCHMIDT, EDNA M         4431 KEYES AVE                                                                                         SPRING HILL       FL   34606‐1664
SCHMIDT, EDWARD         4141 MC CARTY RD                        ROOM 127                                                       SAGINAW           MI   48603‐9331
SCHMIDT, EDWARD         3891 MANTELL AVE                                                                                       CINCINNATI        OH   45236‐1673
SCHMIDT, EDWARD         4141 MCCARTY RD APT 127                                                                                SAGINAW           MI   48603‐9331
SCHMIDT, EDWARD B       3553 HERSCHEL ST                                                                                       JACKSONVILLE      FL   32205‐8457
SCHMIDT, EDWARD W       709 E ROSS LN                                                                                          DANVILLE          IL   61834‐7868
SCHMIDT, EILEEN A       2710 POINCIANA CT                                                                                      PUNTA GORDA       FL   33950‐6889
SCHMIDT, ELAINE
SCHMIDT, ELI E          11151 STREAMSIDE DR NE                                                                                 ROCKFORD          MI   49341‐8604
SCHMIDT, ELISE A        8217 CARIBOU TRL                                                                                       CLARKSTON         MI   48348‐4515
SCHMIDT, ELLA E         27262 ROAN DR                           C/O TAMMY L PIAZZA                                             WARREN            MI   48093‐4612
SCHMIDT, ELLA J         PO BOX 94                                                                                              KNOBEL            AR   72435‐0094
SCHMIDT, ELMER W        702 N POWELL RD                                                                                        ESSEXVILLE        MI   48732‐1765
SCHMIDT, EMIL A         64220 WINDSOR DR                                                                                       WASHINGTON        MI   48095‐2598
SCHMIDT, EMMA           2117 PINEWOOD DR                                                                                       BRUNSWICK         OH   44212‐4038
SCHMIDT, ERIKA L        2011 W BLOOD RD                         APT 1                                                          ELMA              NY   14059‐9542
SCHMIDT, ERIKA L        2011 W BLOOD RD APT 1                                                                                  ELMA              NY   14059‐9542
SCHMIDT, ERNA           3775 N MILL RD                                                                                         DRYDEN            MI   48428‐9230
SCHMIDT, ERNEST A       24 SPALDING ST                                                                                         LOCKPORT          NY   14094‐4508
SCHMIDT, ERNEST M       8710 W ST JOE HWY                                                                                      LANSING           MI   48917‐8810
SCHMIDT, ERNEST R       4244 CAESAR CIR                                                                                        GREENACRES        FL   33463‐4658
SCHMIDT, ERWIN          5640 MICHAEL DR                                                                                        BAY CITY          MI   48706‐3167
SCHMIDT, EUGENE B       917 W LINDEN CIR                                                                                       MANSFIELD         OH   44906‐3003
SCHMIDT, EVELYN         48860 BAY SHORE CT 17                                                                                  SHELBY TOWNSHIP   MI   48315
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Name                       Address1                           Address2                  Address3   Address4         City              State Zip
SCHMIDT, EVELYN B          1764 E OAKTON ST                                                                         DES PLAINES         IL 60018
SCHMIDT, EVELYN E          153 GLANWORTH ST                                                                         LAKE ORION         MI 48362‐3403
SCHMIDT, EVELYN E          153 GLANWORTH                                                                            LAKE ORION         MI 48362‐3403
SCHMIDT, EVELYN M          2065 CEDAR CIRCLE                                                                        CLIO               MI 48420
SCHMIDT, EVERETTE P        229 TEMPLE ST                                                                            OTSEGO             MI 49078‐1442
SCHMIDT, EWALD H           1780 AVENIDA DEL MUNDO UNIT 1208                                                         CORONADO           CA 92118‐3050
SCHMIDT, FAYE E            2793 BARCLAY MESSERLY RD                                                                 SOUTHINGTON        OH 44470‐9735
SCHMIDT, FLORENCE M        STE 340                            3401 ENTERPRISE PARKWAY                               BEACHWOOD          OH 44122‐7340
SCHMIDT, FLOYD A           14829 S MORRICE RD                                                                       PERRY              MI 48872‐9548
SCHMIDT, FRANCES E         10010 ROYAL GRAND                                                                        DETROIT            MI 48239‐2071
SCHMIDT, FRANCES S         28504 AZZILI WAY                                                                         BONITA SPRINGS     FL 34135
SCHMIDT, FRANCIS E         6507 34TH ST W                                                                           BRADENTON          FL 34210‐4206
SCHMIDT, FRANCIS J         4174 SHOREBROOK                                                                          STERLING HTS       MI 48314‐1981
SCHMIDT, FRANCIS R         1334 MISSOURI AVE                                                                        SOUTH MILWAUKEE    WI 53172‐1935
SCHMIDT, FRANK             SIMMONS FIRM                       PO BOX 521                                            EAST ALTON          IL 62024‐0519
SCHMIDT, FRANK C           1504 S ERIE ST                                                                           BAY CITY           MI 48706‐5283
SCHMIDT, FRANK C           21624 WOODBURY ST                                                                        CLINTON TWP        MI 48035‐1759
SCHMIDT, FRANK E           5620 CLOVERLAND DR                                                                       EAGLE RIVER        WI 54521‐8306
SCHMIDT, FRANK J           9575 FIRWOOD RD                                                                          SOUTH LYON         MI 48178‐8804
SCHMIDT, FRANZ H           3406 FOX HOLLOW RD                                                                       DUNCAN             OK 73533‐1813
SCHMIDT, FRED K            178 PLEASANT VALLEY RD                                                                   TITUSVILLE         NJ 08560‐2103
SCHMIDT, FREDERICK HARRY   11916 COUNTY ROAD 20                                                                     FAYETTE            OH 43521‐9745
SCHMIDT, FREDERICK M       301 E JENNY ST                                                                           BAY CITY           MI 48706‐4668
SCHMIDT, FREDERICK M       4636 POPLAR LN                                                                           VICKSBURG          MI 49097‐7752
SCHMIDT, FREDRICK L        7958 ALMONT RD                                                                           ALMONT             MI 48003‐8707
SCHMIDT, G M               8110 CRESTON DR                                                                          FREELAND           MI 48623‐8730
SCHMIDT, GAIL S            602 W JACKSON ST                                                                         ALEXANDRIA         IN 46001‐1315
SCHMIDT, GALE H            16430 PARK LAKE RD OFC 251                                                               EAST LANSING       MI 48823‐9474
SCHMIDT, GARY A            42240 METZ RD                                                                            COLUMBIANA         OH 44408‐9471
SCHMIDT, GARY A            8835 MIDLAND RD                                                                          FREELAND           MI 48623‐9701
SCHMIDT, GARY C            3718 CHESAPEAKE AVE                                                                      JANESVILLE         WI 53546‐4243
SCHMIDT, GARY L            3735 BALMORAL DR                                                                         JANESVILLE         WI 53548‐9237
SCHMIDT, GARY L            12223 CNTY P                                                                             BAGLEY             WI 53801
SCHMIDT, GARY M            9241 PARK PL                                                                             SWARTZ CREEK       MI 48473‐8530
SCHMIDT, GENEVIEVE ROSE    100 PONDEROSA TRAIL NORTH                                                                BELLEVILLE         MI 48111
SCHMIDT, GEO T INC         6151 W HOWARD ST                                                                         NILES               IL 60714‐3401
SCHMIDT, GEO T INC         PO BOX 48390                                                                             NILES               IL 60714
SCHMIDT, GEORGE            5085 CARDINGTON DR                                                                       SAGINAW            MI 48603‐2815
SCHMIDT, GEORGE A          7705 GATEWOOD TERRACE LN                                                                 LAS VEGAS          NV 89129‐5405
SCHMIDT, GEORGE A          218 LYNDHURST DR                                                                         JANESVILLE         WI 53546‐2161
SCHMIDT, GEORGE A          7773 MULGRAVE DR                                                                         SAGINAW            MI 48609‐9545
SCHMIDT, GEORGE E          4802 LAKEWAY DR                                                                          BROWNSVILLE        TX 78520‐9243
SCHMIDT, GEORGE J          342 CHERRYDELL DR                                                                        PITTSBURGH         PA 15220‐1906
SCHMIDT, GEORGE M          312 3RD ST N                                                                             OSCODA             MI 48750‐1250
SCHMIDT, GERALD A          1312 CHERT PIT RD                                                                        KNOXVILLE          TN 37923‐1439
SCHMIDT, GERALD C          3545 CHRISTIE LN                                                                         SHELBY TOWNSHIP    MI 48317‐4016
SCHMIDT, GERALD G          1729 FIELDCREST CIR                                                                      FRANKLIN           TN 37064‐5352
SCHMIDT, GERALD L          29271 VITA LN                                                                            NORTH OLMSTED      OH 44070‐5018
SCHMIDT, GERALD M          1419 MEADOW GREEN LN                                                                     LINDEN             MI 48451‐9402
SCHMIDT, GERALD N          3569 ADAMS RD                                                                            EAST JORDAN        MI 49727‐9653
SCHMIDT, GERALDINE F       3952 SAINT JAMES CT                                                                      SHELBY TWP         MI 48316‐4842
SCHMIDT, GERALDINE V       2 BRIANNA LANE                                                                           HILTON             NY 14468‐9754
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Name                    Address1                          Address2                      Address3   Address4         City              State Zip
SCHMIDT, GERD           4616 N MAYWOOD WAY                                                                          BEVERLY HILLS      FL 34465‐8700
SCHMIDT, GILBERT F      1800 POPLAR CT                                                                              TROY               MI 48098‐1918
SCHMIDT, GLADYS M       1649 MCKINLEY STREET                                                                        BELOIT             WI 53511‐3362
SCHMIDT, GLADYS M       1649 MCKINLEY AVE                                                                           BELOIT             WI 53511‐3362
SCHMIDT, GLEN R         PO BOX 697                                                                                  MORGANTON          GA 30560‐0697
SCHMIDT, GLENN E        29 CROFTON CT                                                                               ADRIAN             MI 49221‐9314
SCHMIDT, GLENN EMIL     29 CROFTON CT                                                                               ADRIAN             MI 49221‐9314
SCHMIDT, GORDON I       12488 SW KINGSWAY CIR                                                                       LAKE SUZY          FL 34269‐8709
SCHMIDT, HANS D         4350 MOUNT VERNON PASS                                                                      SWARTZ CREEK       MI 48473‐8240
SCHMIDT, HANS‐DIETE R   13455 W PAWNEE LN                                                                           HOMER GLEN          IL 60491‐8901
SCHMIDT, HAROLD L       316 GARDENIA DR                                                                             EVANS              GA 30809‐8239
SCHMIDT, HELEN          2900 EL CAMINO #160                                                                         LAS VEGAS          NV 89102‐4230
SCHMIDT, HELEN F        5371 S MILFORD RD APT 73                                                                    MILFORD            OH 45150‐9504
SCHMIDT, HENRY          LEGGETT & KRAM                    1901 S I ST                                               TACOMA             WA 98405‐3810
SCHMIDT, HERBERT B      4763 SHERWOOD DR                                                                            PITTSBURGH         PA 15236‐1803
SCHMIDT, HERBERT B      219 MERIDAN ST                                                                              PITTSBURGH         PA 15211‐1310
SCHMIDT, HERBERT F      7 PLEASANT VIEW DR                                                                          CANTON             MA 02021‐3319
SCHMIDT, HERMAN E       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                          STREET, SUITE 600
SCHMIDT, HORST          5526 RED BARN TRL                                                                           SPRINGWATER       NY   14560‐9509
SCHMIDT, HOWARD A       9103 N UNION ST LOT 103                                                                     TECUMSEH          MI   49286‐1099
SCHMIDT, HOWARD R       564 FERN PARK DR                                                                            DAWSONVILLE       GA   30534‐8410
SCHMIDT, HOWARD R       8400 LINDEN RD                                                                              FENTON            MI   48430‐9357
SCHMIDT, ILEANA K       1361 E BOOT RD #138                                                                         WEST CHESTER      PA   19380‐5988
SCHMIDT, IRENE G        1617 RAVENSWOOD DR                                                                          LANSING           MI   48917‐1727
SCHMIDT, IRENE W        156 W HARRISON ST                 C/O SUSAN CARON                                           BOURBONNAIS       IL   60914‐1912
SCHMIDT, IRMA           4151 HOMELAWN AVE                                                                           CINCINNATI        OH   45211‐3443
SCHMIDT, IRMA M         730 BABCOCK RD APT 4204                                                                     SAN ANTONIO       TX   78201‐2669
SCHMIDT, IRVING R       5454 W MORAINE HILLS DR                                                                     WEST BEND         WI   53095‐9218
SCHMIDT, J W            1988 SCHMIDT RD                                                                             KAWKAWLIN         MI   48631‐9423
SCHMIDT, J WILLIAM      1988 SCHMIDT RD                                                                             KAWKAWLIN         MI   48631‐9423
SCHMIDT, JACK A         1450 GREENWOOD DR                                                                           PISCATAWAY        NJ   08854‐2039
SCHMIDT, JACK E         2505 E 67TH ST                                                                              ANDERSON          IN   46013‐9510
SCHMIDT, JACK W         15501 BRIDGEWATER CLUB BLVD                                                                 CARMEL            IN   46033
SCHMIDT, JACQUELINE S   1541 CLARK RD                                                                               LAPEER            MI   48446‐9464
SCHMIDT, JACQUELYN      11275 WESTWOOD RD                                                                           ALDEN             NY   14004
SCHMIDT, JAMES          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                          STREET, SUITE 600
SCHMIDT, JAMES          1713 MARSAC ST                                                                              BAY CITY          MI   48708‐8558
SCHMIDT, JAMES A        3120 SUNDOWN LN                                                                             SAGINAW           MI   48603‐6198
SCHMIDT, JAMES A        4850 N MAPLE RD                                                                             ANN ARBOR         MI   48105‐9208
SCHMIDT, JAMES B        PO BOX 23                                                                                   ROSE              NY   14542‐0023
SCHMIDT, JAMES D        470 22 MILE RD                                                                              KENT CITY         MI   49330‐9416
SCHMIDT, JAMES H        3032 E STATE HIGHWAY 76                                                                     BRANSON           MO   65616‐8312
SCHMIDT, JAMES H        4307 W 23RD ST                                                                              YUMA              AZ   85364‐6302
SCHMIDT, JAMES H        460 SHATTUCK RD                                                                             SAGINAW           MI   48604
SCHMIDT, JAMES H        20396 E STONECREST DR                                                                       QUEEN CREEK       AZ   85242‐6302
SCHMIDT, JAMES M        7375 CROSSCREEK DRIVE                                                                       TEMPERANCE        MI   48182‐9224
SCHMIDT, JAMES P        2225 SANDLEWOOD WAY                                                                         SHELBY TOWNSHIP   MI   48316‐1177
SCHMIDT, JAMES P        5132 GREENBRIAR DR                                                                          W BLOOMFIELD      MI   48323‐2323
SCHMIDT, JAMES R        608 ADELYNN CT S                                                                            FRANKLIN          TN   37064‐6728
SCHMIDT, JAMES T        2693 SENECA TRAIL                                                                           DULUTH            GA   30096‐4291
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Name                       Address1                        Address2                    Address3   Address4         City               State Zip
SCHMIDT, JAMES T           8108 SPANISH OAK DR                                                                     SPRING HILL         FL 34606‐6947
SCHMIDT, JAMES W           ANGELOS PETER G                 100 N CHARLES STREET, ONE                               BALTIMORE           MD 21201‐3812
                                                           CHARLES CENTER
SCHMIDT, JANICE            3241 STEVIE LANE                                                                        CINCINNATI         OH   45239‐6267
SCHMIDT, JANINE M          2021 FRIESIAN CT NE                                                                     GRAND RAPIDS       MI   49505‐3960
SCHMIDT, JEAN A            4390 S 116TH ST                                                                         GREENFIELD         WI   53228‐2573
SCHMIDT, JEAN A            4390 SOUTH 116 STREET                                                                   GREENFIELD         WI   53228
SCHMIDT, JEFFREY G         1014 LARAMIE LN                                                                         JANESVILLE         WI   53546‐1851
SCHMIDT, JEREMY LEE        4113 N HENDERSON RD                                                                     DAVISON            MI   48423‐8512
SCHMIDT, JEROME T          3855 ECLIPSE CT                                                                         STERLING HEIGHTS   MI   48310‐6979
SCHMIDT, JERRY L           PO BOX 845                                                                              BOYNE CITY         MI   49712‐0845
SCHMIDT, JOAN M            30630 DROUILLARD RD             LOT 347 WALNUT HILL                                     WALBRIDGE          OH   43465‐1505
SCHMIDT, JOANN P           5835 APPLE BLOSSOM DR                                                                   INDIANAPOLIS       IN   46112
SCHMIDT, JOANNE            43778 COLUMBIA DR                                                                       CLINTON TWP        MI   48038‐1322
SCHMIDT, JOHN              2055 VERMONT ST                                                                         SAGINAW            MI   48602‐1932
SCHMIDT, JOHN              5232 ISABELLE AVENUE                                                                    PORT ORANGE        FL   32127‐5570
SCHMIDT, JOHN              1343 PHEASANT CT                                                                        YOUNGSTOWN         OH   44512‐4095
SCHMIDT, JOHN              59 JOANNE LN                                                                            CHEEKTOWAGA        NY   14227‐1345
SCHMIDT, JOHN A            250 COUNTRY RD 3371                                                                     DE BERRY           TX   75639
SCHMIDT, JOHN A            PO BOX 181                                                                              DEFORD             MI   48729‐0181
SCHMIDT, JOHN ARTHUR       PO BOX 181                                                                              DEFORD             MI   48729‐0181
SCHMIDT, JOHN D            134 E CHURCH ST                                                                         WILLIAMSTON        MI   48895‐1104
SCHMIDT, JOHN F            4153 KIRBY LN                                                                           ESTERO             FL   33928‐2173
SCHMIDT, JOHN H            1201 WELCH BLVD                                                                         FLINT              MI   48504‐7359
SCHMIDT, JOHN H            660 MAPLE CREST DR                                                                      FRANKENMUTH        MI   48734‐9312
SCHMIDT, JOHN K            2198 PINE BLUFFS CT                                                                     HIGHLAND           MI   48357‐4328
SCHMIDT, JOHN O            9449 HURON RAPIDS DR                                                                    WHITMORE LAKE      MI   48189‐9383
SCHMIDT, JOHN R            6215 N 200 E                    C/O JEANNINE GARRETT                                    MONTPELIER         IN   47359‐9609
SCHMIDT, JOHN W            4402 LAPEER RD                                                                          BURTON             MI   48509‐1810
SCHMIDT, JOSEPH
SCHMIDT, JOSEPH A          16 ROCHELLE DR                                                                          CHURCHVILLE        NY   14428‐9780
SCHMIDT, JOSEPH G          BOONE ALEXANDRA                 205 LINDA DR                                            DAINGERFIELD       TX   75638‐2107
SCHMIDT, JOSEPH P          7315 HOLLAND ST                                                                         ARVADA             CO   80005‐4222
SCHMIDT, JOSEPHINE         PO BOX 253                                                                              OXFORD             MI   48371‐0253
SCHMIDT, JOYCE             19621 N TAMIAMI TRL LOT 25                                                              NORTH FORT MYERS   FL   33903‐1226
SCHMIDT, JUDITH L          5750 VIA REAL UNIT 205                                                                  CARPINTERIA        CA   93013‐2615
SCHMIDT, JUDY              407 SUNNYSIDE LN                                                                        COLUMBIA           TN   38401‐5213
SCHMIDT, KARL E            7405 MCCARTY RD                                                                         SAGINAW            MI   48603‐9619
SCHMIDT, KARL ERNEST       7405 MCCARTY RD                                                                         SAGINAW            MI   48603‐9619
SCHMIDT, KARL UNISIA INC   975 S OPDYKE RD STE 100                                                                 AUBURN HILLS       MI   48326‐3437
SCHMIDT, KARL UNISIA INC   2425 S COLISEUM BLVD                                                                    FORT WAYNE         IN   46803‐2939
SCHMIDT, KARL UNISIA INC   1731 INDUSTRIAL PKWY N                                                                  MARINETTE          WI   54143‐3704
SCHMIDT, KATHARINA         3035 WARRINGTON DR                                                                      STERLING HEIGHTS   MI   48310‐2467
SCHMIDT, KATHERINE         135 E COOK RD APT B4                                                                    MANSFIELD          OH   44907‐2546
SCHMIDT, KATHRYN           1029 OAKDALE DRIVE                                                                      MANSFIELD          OH   44905‐1649
SCHMIDT, KATHY A           204 AVIGNON WAY                                                                         CLARKSVILLE        TN   37043‐6254
SCHMIDT, KENNETH E         1849 BRADLEYVILLE RD                                                                    FAIRGROVE          MI   48733‐9709
SCHMIDT, KENNETH E         41514 REDMOND CT                                                                        CLINTON TWP        MI   48038‐5854
SCHMIDT, KENNETH J         18 SYLVAN PKWY                                                                          AKRON              NY   14001‐1514
SCHMIDT, KENNETH R         46925 VINEYARDS LN                                                                      MACOMB             MI   48042‐5935
SCHMIDT, KEVIN E           9507 N ELMS RD                                                                          CLIO               MI   48420‐8540
SCHMIDT, KIMBERLY          40 CONCANNON DR                                                                         FORDS              NJ   08863
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Name                    Address1                           Address2               Address3   Address4         City               State Zip
SCHMIDT, KYLE E         OLSMAN MUELLER PC                  2684 11 MILE RD                                    BERKLEY             MI 48072‐3050
SCHMIDT, LARRY          1967 KIMBERLY DR                                                                      MARION              IN 46952‐9210
SCHMIDT, LARRY K        3432 OSLER AVE                                                                        SAGINAW             MI 48602‐3217
SCHMIDT, LARRY L        3172 COUNTY ROAD B                                                                    SHELL LAKE          WI 54871‐9133
SCHMIDT, LAURA R        6684 CARRIAGE LANE AVE NE                                                             CANTON              OH 44721‐2581
SCHMIDT, LAVON I        16 GRAFTON CT                                                                         HOT SPRINGS         AR 71901‐7088
SCHMIDT, LAWRENCE       GOLDENBERG, MILLER, HELLER &       PO BOX 959                                         EDWARDSVILLE         IL 62025‐0959
                        ANTOGNOLI
SCHMIDT, LAWRENCE G     404 E OHIO ST                                                                         BLUFFTON           IN   46714‐3326
SCHMIDT, LEROY C        15205 PINE DR                                                                         OAK FOREST         IL   60452‐1531
SCHMIDT, LIELA E        28211 ARMANDA DR                                                                      WARREN             MI   48088‐4301
SCHMIDT, LILLIE B       2196 W BURT RD                                                                        BURT               MI   48417‐9650
SCHMIDT, LINDA J        11716 W BELMAR DR                                                                     FRANKLIN           WI   53132‐1116
SCHMIDT, LLOYD H        2690 N CENTER RD                                                                      SAGINAW            MI   48603‐2947
SCHMIDT, LOIS E         12400 ADAMS DR                                                                        NORTH HUNTINGDON   PA   15642‐2989
SCHMIDT, LOIS M         8802 GRUBBS REX RD                                                                    ARCANUM            OH   45304‐8608
SCHMIDT, LOISANN M      42126 MONTROY DR                                                                      STERLING HTS       MI   48313‐2595
SCHMIDT, LORENE         3147 WAGON TRL                                                                        FLINT              MI   48507‐1213
SCHMIDT, LORIE A        3735 BALMORAL DR                                                                      JANESVILLE         WI   53548‐9237
SCHMIDT, LORRAINE H     4458 RESERVOIR BLVD APT 108                                                           COLUMBIA HEIGHTS   MN   55421‐3267
SCHMIDT, LOUIS          1619 SIBLEY N W                                                                       GRAND RAPIDS       MI   49504‐4951
SCHMIDT, LOUIS          1619 SIBLEY ST NW                                                                     GRAND RAPIDS       MI   49504‐4951
SCHMIDT, LOUIS R        24395 COUNTRY SQ. #345                                                                CLINTON TWP        MI   48035
SCHMIDT, LUCILE E       630 FAIRWAY AVE                                                                       RIFLE              CO   81650‐3410
SCHMIDT, LUCINDA L      2075 NORTHWEST BLVD NW                                                                WARREN             OH   44485‐2302
SCHMIDT, LUKE           KAHN & ASSOCIATES                  55 PUBLIC SQ STE 650                               CLEVELAND          OH   44113‐1909
SCHMIDT, LYNN PATRICK   BRAYTON PURCELL                    PO BOX 6169                                        NOVATO             CA   94948‐6169
SCHMIDT, M A            104 GLAD RIK LN                                                                       WEST COLUMBIA      SC   29170
SCHMIDT, MADONNA A      2300 GRAND HAVEN DR APT 339                                                           TROY               MI   48083‐4465
SCHMIDT, MADONNA L      1421 W NORTH DR                                                                       MARION             IN   46952‐1829
SCHMIDT, MAE L          1619 SIBLEY ST NW                                                                     GRAND RAPIDS       MI   49504‐4951
SCHMIDT, MARCELLE E     900 N CASS LAKE RD APT 223                                                            WATERFORD          MI   48328‐2387
SCHMIDT, MARELLA        609 EDWARD DR                                                                         DENISON            TX   75020‐4032
SCHMIDT, MARGARET M     432 BURT CIR                                                                          LEWISTON           NY   14092
SCHMIDT, MARGARET R     2153 ROBINSON RD APT 2                                                                JACKSON            MI   49203‐3677
SCHMIDT, MARIE M        647 STONEQUARRY RD                                                                    DAYTON             OH   45414‐1548
SCHMIDT, MARILYN J      1912 HAMILTON ST                                                                      HOLT               MI   48842‐1518
SCHMIDT, MARJORIE M     1780 AVENIDA DEL MUNDO UNIT 1208                                                      CORONADO           CA   92118‐3050
SCHMIDT, MARLIS J       8168 MENTOR AVE                                                                       MENTOR             OH   44060‐5752
SCHMIDT, MARY           81 SIVON DR # A                                                                       PAINESVILLE        OH   44077
SCHMIDT, MARY ANN       312 3RD ST                                                                            OSCODA             MI   48750‐1250
SCHMIDT, MARY A         14314 CEDAR COVE DR                EAST BAY PARK                                      FENTON             MI   48430‐1356
SCHMIDT, MARY ANN D     7 PLEASANT VIEW DR                                                                    CANTON             MA   02021‐3319
SCHMIDT, MARY E         2415 TIFFIN AVE                                                                       SANDUSKY           OH   44870‐5342
SCHMIDT, MARY G         1801 TAM‐O‐SHANTER COURT                                                              KOKOMO             IN   46902‐6177
SCHMIDT, MARY J         8320 NEFF RD                                                                          MOUNT MORRIS       MI   48458‐1356
SCHMIDT, MARY L         4567 JEFFERSON RD                                                                     NORTH BRANCH       MI   48461‐8542
SCHMIDT, MATTHEW R.     6201 CEDAR BEND DRIVE                                                                 GRAND BLANC        MI   48439‐3415
SCHMIDT, MAUREEN A      5049 W JERICHO RD                                                                     TASWELL            IN   47175‐7306
SCHMIDT, MAURICE P      12343 W VILLA HERMOSA CT                                                              SUN CITY           AZ   85375‐1542
SCHMIDT, MAURICE R      PO BOX 747                                                                            BELLAIRE           MI   49615‐0747
SCHMIDT, MERLE W        500 ASH LN                                                                            GAS CITY           IN   46933‐1205
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Name                    Address1                          Address2            Address3         Address4         City               State Zip
SCHMIDT, MICHAEL        BRENNAN LAW OFFICE                3541 45TH AVE S                                       MINNEAPOLIS         MN 55406‐2926
SCHMIDT, MICHAEL A      4306 E M H TOWNLINE RD                                                                  MILTON              WI 53563‐9405
SCHMIDT, MICHAEL D      2493 OAK RD                                                                             PINCONNING          MI 48650‐9747
SCHMIDT, MICHAEL E      3469 MILLSHAFT CT SE                                                                    CALEDONIA           MI 49316‐9165
SCHMIDT, MICHAEL E      2912 S SMITHVILLE RD                                                                    DAYTON              OH 45420
SCHMIDT, MICHAEL F      2216 BOWMAN RD                                                                          FRANKLIN            TN 37064‐4916
SCHMIDT, MICHAEL J      1165 N PINE RD                                                                          ESSEXVILLE          MI 48732‐1925
SCHMIDT, MICHAEL J      24 SUGAR TREE CIR                                                                       BROCKPORT           NY 14420‐1405
SCHMIDT, MICHAEL R      3838 W VINCENT DR                                                                       SPRINGFIELD         MO 65810‐1061
SCHMIDT, MICHAEL R      3838 WEST VINCENT DRIVE                                                                 SPRINGFIELD         MO 65810‐1061
SCHMIDT, MICHAEL S      160 PLUM ST                                                                             CONSTANTINE         MI 49042‐1234
SCHMIDT, MICHAEL W      1807 S WILLARD AVE                                                                      JANESVILLE          WI 53546‐5949
SCHMIDT, MICHAEL W      11968 CREEKSTONE WAY                                                                    ZIONSVILLE          IN 46077‐9677
SCHMIDT, MILDRED E      1523 COOLIDGE AVE                                                                       SAGINAW             MI 48638‐4711
SCHMIDT, MILDRED E      1523 COOLIDGE                                                                           SAGINAW             MI 48638
SCHMIDT, NANCY A        2526 LEFFINGWELL AVE NE                                                                 GRAND RAPIDS        MI 49525‐3904
SCHMIDT, NANCY E        41514 REDMOND CT                                                                        CLINTON TWP         MI 48038‐5854
SCHMIDT, NATHANIEL
SCHMIDT, NORMA J        2130 S WALNUT ST                                                                        JANESVILLE         WI   53546‐6136
SCHMIDT, OSCAR J        6472 STATE RD                                                                           VASSAR             MI   48768‐9215
SCHMIDT, OSWALD         SIMMONS FIRM                      PO BOX 521                                            EAST ALTON         IL   62024‐0519
SCHMIDT, PAMELA A       3930 STUDOR RD                                                                          SAGINAW            MI   48601‐5745
SCHMIDT, PATRICIA A     160 PLUM STREET                                                                         CONSTANTINE        MI   49042‐1234
SCHMIDT, PAUL A         2026 CRESCENT DR                                                                        BAY CITY           MI   48706‐9406
SCHMIDT, PAUL H         13 SCARBOROUGH FARE                                                                     STEWARTSTOWN       PA   17363‐9188
SCHMIDT, PAUL H         1783 GABEL RD                                                                           SAGINAW            MI   48601‐9339
SCHMIDT, PAUL M         204 IROQUOIS LN                                                                         WAXAHACHIE         TX   75165‐1507
SCHMIDT, PAUL MICHAEL   204 IROQUOIS LN                                                                         WAXAHACHIE         TX   75165‐1507
SCHMIDT, PAUL V         20461 WILLIAMSBURG CT                                                                   HARPER WOODS       MI   48225‐1505
SCHMIDT, PAUL W         2416 THISTLE POINTE                                                                     BLOOMFIELD HILLS   MI   48304‐1402
SCHMIDT, PEGGY
SCHMIDT, PEGGY J        180 LYNN DR                                                                             MANSFIELD          OH   44906‐2343
SCHMIDT, PETER EUGENE   11384 SPENCER RD                                                                        SAGINAW            MI   48609‐9729
SCHMIDT, PETER J        55 VILLAGE GREEN RD                                                                     BEDMINSTER         NJ   07921‐1505
SCHMIDT, PHILIP J       39 PINECREST ST                                                                         LAKE PLACID        FL   33852‐8119
SCHMIDT, PHILLIP A      2801 W WILLOW ST                                                                        LANSING            MI   48917‐1834
SCHMIDT, PHYLLIS A      8710 W ST JOE HWY                                                                       LANSING            MI   48917‐8810
SCHMIDT, RALPH M        G 7222 W CARPENTER                                                                      FLUSHING           MI   48433
SCHMIDT, RANDY N        2537 LOOMIS RD                                                                          SAINT JOHNS        MI   48879‐9204
SCHMIDT, RANDY S        4129 WINTERFIELD RUN                                                                    FORT WAYNE         IN   46804‐2668
SCHMIDT, RAYMOND J      355 O<KEEF APT 3                                                                        PALO ALTO          CA   94303
SCHMIDT, RAYMOND M      17557 W 135TH ST                                                                        LOCKPORT           IL   60441‐7455
SCHMIDT, RICHARD A      PO BOX 246                                                                              NECEDAH            WI   54646‐0246
SCHMIDT, RICHARD A      17645 FIVE POINTS ST                                                                    REDFORD            MI   48240‐2123
SCHMIDT, RICHARD D      8520 3RD AVE                                                                            NIAGARA FALLS      NY   14304‐1879
SCHMIDT, RICHARD D      7632 CAMBERWOOD DR                                                                      INDIANAPOLIS       IN   46268‐4734
SCHMIDT, RICHARD E      4709 RICHARDSON DR                                                                      BAY CITY           MI   48706‐2723
SCHMIDT, RICHARD H      2980 CONARD RD                                                                          MANSFIELD          OH   44903‐8973
SCHMIDT, RICHARD L      2211 W US HIGHWAY 14                                                                    JANESVILLE         WI   53545‐9026
SCHMIDT, RICHARD L      290 SW 210TH AVE                                                                        DUNNELLON          FL   34431
SCHMIDT, RICHARD L      290 S.W. 210TH AVE.                                                                     DUNNELLON          FL   34431‐4431
SCHMIDT, RICHARD O      1976 ZIMMER RD                                                                          WILLIAMSTON        MI   48895‐9718
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Name                    Address1                      Address2            Address3         Address4         City                State Zip
SCHMIDT, RICKY D        105 PINEHURST AVE                                                                   FISHERS              IN 46037‐9600
SCHMIDT, RICKY DEAN     105 PINEHURST AVE                                                                   FISHERS              IN 46037‐9600
SCHMIDT, ROBERT         GUY WILLIAM S                 PO BOX 509                                            MCCOMB               MS 39649‐0509
SCHMIDT, ROBERT B       9772 N WHIPPORWILL LN                                                               HAYWARD              WI 54843‐4496
SCHMIDT, ROBERT C       1889 COLGATE DR                                                                     THOUSAND OAKS        CA 91360‐5004
SCHMIDT, ROBERT E       1580 STILLMAN RD                                                                    MASON                MI 48854‐9432
SCHMIDT, ROBERT G       835 E CENTERWAY ST                                                                  JANESVILLE           WI 53545‐3139
SCHMIDT, ROBERT G       13423 W LA VINA DR                                                                  SUN CITY WEST        AZ 85375‐6821
SCHMIDT, ROBERT J       470 THORNRIDGE DR                                                                   ROCHESTER HILLS      MI 48307‐2851
SCHMIDT, ROBERT J       BILBREY & HYLIA               8724 PIN OAK RD                                       EDWARDSVILLE          IL 62025‐6822
SCHMIDT, ROBERT J       407 SUNNYSIDE LN                                                                    COLUMBIA             TN 38401‐5213
SCHMIDT, ROBERT L       4228 W HIGH ST                                                                      MILTON               WI 53563‐1631
SCHMIDT, ROBERT M       1812 TIFFIN AVE                                                                     SANDUSKY             OH 44870‐1937
SCHMIDT, ROBERT S       3004 LINDEN DR                                                                      FORT WAYNE           IN 46816‐3330
SCHMIDT, ROBERTA L      3915 N BALTIMORE ST                                                                 TACOMA               WA 98407‐3639
SCHMIDT, ROBERTA L.     3915 N BALTIMORE ST                                                                 TACOMA               WA 98407‐3639
SCHMIDT, RONALD A       701 N HAMPTON ST                                                                    BAY CITY             MI 48708‐6709
SCHMIDT, RONALD E       751 HOOVER AVE                                                                      PAULDING             OH 45879‐1046
SCHMIDT, RONALD ERNIE   BOONE ALEXANDRA               205 LINDA DR                                          DAINGERFIELD         TX 75638‐2107
SCHMIDT, RONALD F       6122 F‐41                                                                           OSCODA               MI 48750
SCHMIDT, RONALD J       7 BRIDLEWOOD DR                                                                     LOCKPORT             NY 14094‐4865
SCHMIDT, RONALD S       644 LERNER AVE                                                                      CLAWSON              MI 48017‐2402
SCHMIDT, ROSEMARY L     2203 WILKINS ST                                                                     SAGINAW              MI 48601‐3382
SCHMIDT, ROY W          1445 HONEYSUCKLE LN                                                                 FARMER CITY           IL 61842‐9477
SCHMIDT, RUBY A         30307 VALENTI DR                                                                    WARREN               MI 48088‐5969
SCHMIDT, RUTH H         2568 WINDAGE DRIVE                                                                  FAIRFIELD            OH 45014‐4942
SCHMIDT, SAMUEL R       8384 JASONVILLE CT SE                                                               CALEDONIA            MI 49316
SCHMIDT, SANDRA D       6384 DALE RD                                                                        NEWFANE              NY 14108
SCHMIDT, SANDRA K       2836 N GARFIELD RD                                                                  PINCONNING           MI 48650‐8965
SCHMIDT, SANDRA S       15775 NORTHWARD DR                                                                  LANSING              MI 48906‐1425
SCHMIDT, SARAH          5121 CONGRESSIONAL C301                                                             LAWRENCE             KS 66049‐4742
SCHMIDT, SCOTT D        7556 FARMINGTON AVE                                                                 KALAMAZOO            MI 49009‐3806
SCHMIDT, SHIRLEY        22483 MAPLE AVE                                                                     FARMINGTON           MI 48336‐4038
SCHMIDT, SHIRLEY A      1135 STANLEY RD                                                                     AUBURN               MI 48611‐9356
SCHMIDT, SHIRLEY A      PO BOX 93                                                                           WATERS               MI 49797‐0093
SCHMIDT, SHIRLEY A      P.O.BOX 93                                                                          WATERS               MI 49797‐0093
SCHMIDT, SHIRLEY A      137 SHADYWOOD LANE                                                                  DELANO               MN 55328‐8706
SCHMIDT, SHIRLEY A      1135 STANLEY DR                                                                     AUBURN               MI 48611‐9356
SCHMIDT, SHIRLEY A      3159 DALE RD                                                                        SAGINAW              MI 48603‐3266
SCHMIDT, SHIRLEY H.     212 ELMSCOURT CIR                                                                   GREENWOOD            IN 46142‐9436
SCHMIDT, STEPHANIE      W9293 29TH AVENUE                                                                   HAGER CITY           WI 54014‐8360
SCHMIDT, STEPHEN C      2931 CHURCHILL LN                                                                   THOMPSONS STATION    TN 37179‐5255
SCHMIDT, STEPHEN G      11716 W BELMAR DR                                                                   FRANKLIN             WI 53132‐1116
SCHMIDT, STEVE C        10642 NEW RD                                                                        NORTH JACKSON        OH 44451‐9709
SCHMIDT, STEVE M        307 MORTON LN                                                                       OSSIAN               IN 46777‐9618
SCHMIDT, STEVEN ADAM    307 MORTON LANE                                                                     OSSIAN               IN 46777‐9618
SCHMIDT, STEVEN C       7 HENRY AVE                                                                         BELMONT              NC 28012‐3921
SCHMIDT, STEVEN J       2370 S FENTON RD                                                                    HOLLY                MI 48442‐8333
SCHMIDT, SUE A          11384 SPENCER RD                                                                    SAGINAW              MI 48609‐9729
SCHMIDT, SUSAN          1018 ARUBA CIR                                                                      CHARLESTON           SC 29412‐8641
SCHMIDT, SUSAN          6931 POLARIS LN N                                                                   MAPLE GROVE          MN 55311‐3218
SCHMIDT, SUSIE          5751 CROSS CREEK DRIVE                                                              HIGH RIDGE           MO 63049‐3138
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Name                         Address1                       Address2             Address3        Address4         City               State Zip
SCHMIDT, SUZANNE C           32524 MACKENZIE DRIVE                                                                WESTLAND            MI 48185‐1549
SCHMIDT, TERRANCE            140 W 5TH ST                                                                         SALEM               OH 44460‐2102
SCHMIDT, TERRY L             16939 W STATE ROAD 11                                                                BRODHEAD            WI 53520‐9734
SCHMIDT, THOMAS A            4439 BRIDGEMAN TRL                                                                   SWARTZ CREEK        MI 48473‐8805
SCHMIDT, THOMAS A            1435 MAINE ST                                                                        SAGINAW             MI 48602‐1766
SCHMIDT, THOMAS C            5754 SHETLAND WAY                                                                    WATERFORD           MI 48327‐2045
SCHMIDT, THOMAS C            PO BOX 9022                    C/O ELLESMERE PORT                                    WARREN              MI 48090‐9022
SCHMIDT, THOMAS D            131 BEECHWOOD TER                                                                    POTTSTOWN           PA 19465
SCHMIDT, THOMAS E            PO BOX 442                                                                           OSCODA              MI 48750‐0442
SCHMIDT, THOMAS F            227 VELTRI LANE                                                                      IRWIN               PA 15642‐3187
SCHMIDT, TOM H               3623 GREENMANS POINT RD                                                              CHEBOYGAN           MI 49721‐9744
SCHMIDT, VICTOR              9672 HUBERT AVE                                                                      ALLEN PARK          MI 48101‐1302
SCHMIDT, VINCENT D           398 ORCHARDALE DR                                                                    ROCHESTER HILLS     MI 48309‐2245
SCHMIDT, VINCENT T           31539 BRETZ DR                                                                       WARREN              MI 48093‐5534
SCHMIDT, VIRGINIA L          172 PERSIMMON DR                                                                     OXFORD              MI 48371‐4058
SCHMIDT, WALLIS G            4290 JONQUIL DR                                                                      SAGINAW             MI 48603‐1129
SCHMIDT, WALTER D            12705 PRIOR RD                                                                       SAINT CHARLES       MI 48655‐8557
SCHMIDT, WALTER E            17519 EDGEWOOD STREET                                                                LIVONIA             MI 48152‐2907
SCHMIDT, WALTER F            9728 E TS AVE                                                                        VICKSBURG           MI 49097‐9526
SCHMIDT, WALTER FRANK        9728 E TS AVE                                                                        VICKSBURG           MI 49097‐9526
SCHMIDT, WANETA H            5668 WEST FORD ROAD                                                                  ASHVILLE            OH 43103‐9582
SCHMIDT, WAYNE W             10461 JAMAICA RD                                                                     CARLISLE            OH 45005‐5910
SCHMIDT, WENDELIN            3212 LEDGEWOOD CT E                                                                  COMMERCE TWP        MI 48382‐1419
SCHMIDT, WENDELL R           PO BOX 135                                                                           WAVERLY             MO 64096‐0135
SCHMIDT, WILLIAM A           7470 JAKES PRAIRIE RD                                                                SULLIVAN            MO 63080‐3500
SCHMIDT, WILLIAM B           1300 MEADOW RD                                                                       TAWAS CITY          MI 48763‐9174
SCHMIDT, WILLIAM E           1904 S ALP ST                                                                        BAY CITY            MI 48706‐5204
SCHMIDT, WILLIAM E           4267 PRATT AVE                                                                       GRAND BLANC         MI 48439‐9114
SCHMIDT, WILLIAM ELLIS       4267 PRATT AVE                                                                       GRAND BLANC         MI 48439‐9114
SCHMIDT, WILLIAM F           317 EVERINGTON CT                                                                    BOLINGBROOK          IL 60440‐1041
SCHMIDT, WILLIAM F           2300 GRAND HAVEN DR APT 339                                                          TROY                MI 48083‐4465
SCHMIDT, WILLIAM G           3610 E ROUSAY DR                                                                     QUEEN CREEK         AZ 85240‐5049
SCHMIDT, WILLIAM G           4390 LITTLE YORK ROAD                                                                DAYTON              OH 45414‐5414
SCHMIDT, WILLIAM G           8181 IRISH MIST                                                                      ONSTED              MI 49265‐9307
SCHMIDT, WILLIAM G           3610 EAST ROUSAY DRIVE                                                               QUEEN CREEK         AZ 85240‐5049
SCHMIDT, WILLIAM H           1149 REGINA TRL                                                                      WAYLAND             MI 49348‐1427
SCHMIDT, WILLIAM H           3405 PAULAN DR                                                                       BAY CITY            MI 48706‐2015
SCHMIDT, WILLIAM J           240 SANFORD STREET                                                                   RAVENNA             OH 44266‐3346
SCHMIDT, WILLIAM J           3232 HUDSON DR                                                                       CUYAHOGA FALLS      OH 44221‐1204
SCHMIDT, WILLIAM J.          3232 HUDSON DR                                                                       CUYAHOGA FALLS      OH 44221‐1204
SCHMIDT, WILLIAM W           16 MAPLE AVE                                                                         CHELMSFORD          MA 01824
SCHMIDT, WILMAR E            312 EDWARD ST                                                                        AUBURN              MI 48611‐9454
SCHMIDT, WINIFRED R          1302 WILMOT AVE APT 105                                                              TWIN LAKES          WI 53181‐9314
SCHMIDT, WINNEFRED A         4228 W HIGH ST                                                                       MILTON              WI 53563‐1631
SCHMIDT,PAUL W               2416 THISTLE POINTE                                                                  BLOOMFIELD HILLS    MI 48304‐1402
SCHMIDT‐BOWMAN CO INC        1919 COOLIDGE HWY                                                                    BERKLEY             MI 48072‐1543
SCHMIDT‐BOWMAN COMPANY INC   1919 COOLIDGE HWY                                                                    BERKLEY             MI 48072‐1543
SCHMIDT‐HARDY CHEVROLET      510 GROVE ST                                                                         CUBA                MO 65453‐1065
SCHMIDT‐HARDY, L.L.C.        JAMES HARDY                    510 GROVE ST                                          CUBA                MO 65453‐1065
SCHMIDTBERG, ALAN P          134 HUDSON AVE                                                                       NORTH MIDDLETOWN    NJ 07748
SCHMIDTCHEN, ELMER E         1550 E WEBB RD                                                                       DEWITT              MI 48820‐8363
SCHMIDTCHEN, ERNEST E        1451 E WEBB RD                                                                       DEWITT              MI 48820‐8392
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Name                        Address1                           Address2         Address3         Address4         City            State Zip
SCHMIDTCHEN, GUADALUPE      9223 W TAFT RD                                                                        SAINT JOHNS      MI 48879‐9566
SCHMIDTCHEN, JEFFREY L      3433 S LOWELL RD                                                                      SAINT JOHNS      MI 48879‐9560
SCHMIDTCHEN, SAMANTHA       9223 W TAFT RD                                                                        SAINT JOHNS      MI 48879‐9566
SCHMIDTCHEN, TIMOTHY J      9223 W TAFT RD                                                                        SAINT JOHNS      MI 48879‐9566
SCHMIDTFRANZ I I, GLEN A    6307 N WATSON RD                                                                      ELSIE            MI 48831‐8712
SCHMIDTFRANZ II, GLEN A     6307 N WATSON RD                                                                      ELSIE            MI 48831‐8712
SCHMIDTFRANZ, VIRGINIA A    3287 N BALDWIN RD                                                                     OWOSSO           MI 48867‐9352
SCHMIDTFRANZ, WAYNE A       3603 W BREWER RD                                                                      OWOSSO           MI 48867‐9233
SCHMIDTKE, GARY H           5515 RIDGELANDS RD                                                                    CHARLEVOIX       MI 49720‐9032
SCHMIDTKE, GREGORY K        16897 RYAN RD                                                                         LIVONIA          MI 48154
SCHMIDTKE, VIRGINIA         598 CIRCLE DR                                                                         EAST JORDAN      MI 49727‐9704
SCHMIDTKE, VIRGINIA         698 CIRCLE DRIVE                                                                      EAST JORDAN      MI 49727‐9704
SCHMIDTMAN, WALTER H        4329 COUNTY FARM RD                                                                   SAINT JOHNS      MI 48879‐9287
SCHMIDTMANN, DELL W         9875 FOREST HILL RD                                                                   DEWITT           MI 48820‐9239
SCHMIDTMANN, SCOTT S        15435 PINEHURST DR                                                                    LANSING          MI 48906‐1332
SCHMIDTS                    290 LAKE ST                                                                           HAMBURG          NY 14075‐4430
SCHMIDTT RANDY              SCHMIDTT, RANDY                    30928 FORD RD                                      GARDEN CITY      MI 48135‐1803
SCHMIDTT, RANDY             CONSUMER LEGAL SERVICES P.C.       30928 FORD RD                                      GARDEN CITY      MI 48135‐1803
SCHMIDUTZ, ALFRED H         1220 N SAGINAW ST                                                                     LAPEER           MI 48446‐1542
SCHMIED, DANIEL R           4660 KELLYKRIS DR                                                                     SAINT CHARLES    MO 63304‐3411
SCHMIED, DONALD J           89 WARREN AVE                                                                         KENMORE          NY 14217‐2725
SCHMIED, JOHANNA M          1045 98TH ST                                                                          NIAGARA FALLS    NY 14304
SCHMIED, JOHANNA M          662 B STREET                       CAYUGA VILLAGE                                     NIAGARA FALLS    NY 14304
SCHMIEDE C/TULLAHOMA        PO BOX 1630                                                                           TULLAHOMA        TN 37388‐1630
SCHMIEDE/TULLAHOMA          501 RILEY CREEK ROAD               P.O. BOX 1630                                      TULLAHOMA        TN 37388
SCHMIEDEKNECHT, ERNEST      7216 MORTON RD                                                                        PENTWATER        MI 49449‐9601
SCHMIEDEKNECHT, KIRK        7430 GRANDWOOD DR                                                                     SWARTZ CREEK     MI 48473‐9454
SCHMIEDEKNECHT, MICHAEL A   5816 EDGEWATER TER                                                                    SEBRING          FL 33876‐6448
SCHMIEDEKNECHT, PHILLIP W   5434 S EDEN LAKE RD                                                                   CUSTER           MI 49405‐8723
SCHMIEDEKNECHT, RICHARD M   2196 HOLLY TREE DR                                                                    DAVISON          MI 48423‐2068
SCHMIEDEKNECHT, RONALD V    PO BOX 350405                                                                         GRAND ISLAND     FL 32735‐0405
SCHMIEDEL, RICHARD H        2092 N 400 W                                                                          ANDERSON         IN 46011‐8733
SCHMIEDER, ARTHUR J         4190 WASHINGTON ST                                                                    WAYNE            MI 48184‐2109
SCHMIEDER, GARY A           3313 S STATE RD                                                                       DAVISON          MI 48423‐8751
SCHMIEDER, GARY ADAM        3313 S STATE RD                                                                       DAVISON          MI 48423‐8751
SCHMIEDER, JEAN M           3313 S STATE RD                                                                       DAVISON          MI 48423‐8751
SCHMIEDER, JOAN             5000 PROVIDENCE DR APT 219                                                            SANDUSKY         OH 44870‐1413
SCHMIEDER, JOAN             5000 PROVIDENCE DR.                APT 219                                            SANDUSKY         OH 44870
SCHMIEDER, JOHN R           5004 HARTFORD AVE                                                                     SANDUSKY         OH 44870‐5822
SCHMIEDER, JUDITH ANN       198 GRANDMERE DR                                                                      FLINT            MI 48507‐4265
SCHMIEDICKER, CAROL MARIE   62 CLINTON ST                                                                         ALDEN            NY 14004‐8901
SCHMIEDING, IRENE           251 MORTON AVE.                                                                       DAYTON           OH 45410‐1221
SCHMIEDING, JOANNE          5262 SUWANNEE RD                                                                      WEEKI WACHEE     FL 34607‐2356
SCHMIEDLIN, STEPHEN C       1150 SHOAL RIDGE RD                                                                   OCONOMOWOC       WI 53066‐4200
SCHMIEG, ALICE P            12126 KNOBCREST DRIVE                                                                 HOUSTON          TX 77070‐2434
SCHMIEG, CHRISTOPHER J      736 W DEAN RD                                                                         TEMPERANCE       MI 48182‐9504
SCHMIEG, STANLEY A          6411 LONGFORD RD                                                                      HUBER HEIGHTS    OH 45424‐3582
SCHMIEG, STEVEN J           2423 TEROVA DR                                                                        TROY             MI 48085‐3560
SCHMIEGE, JOHN D            175 JACKSON PARK AVE                                                                  DAVENPORT        FL 33897‐9683
SCHMIEGE, RICHARD H         3103 HABERLAND DR                                                                     BAY CITY         MI 48706‐3135
SCHMIEGEL, RICHARD J        1760 E HOUGHTON LAKE DR                                                               HOUGHTON LAKE    MI 48629‐9509
SCHMIEL, FLORENCE L         7799 SW SCHOLLS FERRY RD APT 126                                                      BEAVERTON        OR 97008‐6545
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Name                                 Address1                          Address2                         Address3   Address4         City           State Zip
SCHMIEL, FLORENCE L                  7799 SW SCHOLLS FERRY RD          APT 126                                                      BEAVERTON       OR 97008
SCHMIEL, GILMORE J                   13016 COMMON RD                                                                                WARREN          MI 48088‐3191
SCHMIEL, NORMA A                     6810 FOX LN                                                                                    WATERFORD       MI 48327‐3503
SCHMIEL, RICHARD W                   1424 NIX RD                                                                                    NAUVOO          AL 35578‐3819
SCHMIER, CALVIN E                    PO BOX 394                                                                                     BISHOPVILLE     MD 21813
SCHMIER, EDWARD J                    10344 E JENSEN RD                                                                              MESA            AZ 85207‐3632
SCHMIER, JOHN M                      5454 LUNNS STORE ROAD                                                                          CHAPEL HILL     TN 37034‐2611
SCHMIER, MARK A                      1232 BEL AIR DR                                                                                FLINT           MI 48507‐3304
SCHMIER, RICHARD L                   5386 KELLY RD                                                                                  FLINT           MI 48504‐1020
SCHMIERBACH, MARK L                  11149 BLATTNER RD                                                                              WRIGHT CITY     MO 63390‐4629
SCHMIGEL, DAWN
SCHMILKE, DONALD F                   1300 LEINSTER DR                                                                               LEMONT         IL    60439‐4458
SCHMILKE, LINDA H                    1300 LEINSTER DR                                                                               LEMONT         IL    60439‐4458
SCHMINCKE I I I, HENRY C             1021 1/2 SUMTER AVE                                                                            BALTIMORE      MD    21237‐2741
SCHMINK, BARBARA D                   1024 E AUMAN DR                                                                                CARMEL         IN    46032‐2664
SCHMINK, JAMES D                     22460 KLINES RESORT RD LOT 282                                                                 THREE RIVERS   MI    49093
SCHMIT, DONALD H                     7979 W GLENBROOK RD APT 6019                                                                   MILWAUKEE      WI    53223‐1000
SCHMIT, DONALD H                     C/O ASSOCIATED TRUST COMPANY NA   330 E KILBOURN AVENUE STE 300                                MILWAUKEE      WI    53202
SCHMIT, JAMES R                      3081 KINNEVILLE RD                                                                             LESLIE         MI    49251‐8700
SCHMIT, JAMES RICHARD                3081 KINNEVILLE RD                                                                             LESLIE         MI    49251‐8700
SCHMIT, LAWRENCE E                   1711 61ST AVE NW                                                                               GIG HARBOR     WA    98335‐7561
SCHMIT, RANDALL B                    2112 CRESTVIEW ST                                                                              JANESVILLE     WI    53546‐5783
SCHMIT, RAYMOND J                    28184 UNIVERSAL DR                                                                             WARREN         MI    48092‐2432
SCHMIT, RAYMOND L                    PO BOX 9022                                                                                    WARREN         MI    48090‐9022
SCHMITH ALICE (ESTATE OF) (482623)   BRAYTON PURCELL                   621 SW MORRISON ST STE 950                                   PORTLAND       OR    97205‐3824
SCHMITH, ALICE                       BRAYTON PURCELL                   621 SW MORRISON ST STE 950                                   PORTLAND       OR    97205‐3824
SCHMITKE, ROBERT C                   650 SUMMIT RD                                                                                  MARION         OH    43302‐5269
SCHMITS DONALD L (429768)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK        VA    23510
                                                                       STREET, SUITE 600
SCHMITS, DONALD L                    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK        VA 23510‐2212
                                                                       STREET, SUITE 600
SCHMITS, TAMI                        15730 NORTHWARD DR                                                                             LANSING        MI    48906‐1424
SCHMITT BRIAN                        SCHMITT, BRIAN                    7642 S LOOMIS RD                                             DEWITT         MI    48820‐9755
SCHMITT BRIAN                        SCHMITT, TONYA                    7642 S LOOMIS RD                                             DEWITT         MI    48820‐9755
SCHMITT CHEVROLET, INC.              JACK SCHMITT                      127 REGENCY PARK DR                                          O FALLON       IL    62269
SCHMITT CHEVROLET, INC.              127 REGENCY PARK DRIVE                                                                         O FALLON       IL    62269
SCHMITT DEREK                        4381 WEST 50 SOUTH                                                                             KOKOMO         IN    46901‐8895
SCHMITT DONALD CHARLES (439485)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK        VA    23510
                                                                       STREET, SUITE 600
SCHMITT FREDERICK G JR (150948)      PERLBERGER LAW ASSOCIATES         401 E CITY AVE STE 200                                       BALA CYNWYD    PA    19004‐1117
SCHMITT HELMUT                       AN DER STEINACH 5                                                                              SCHONUNGEN     DE
SCHMITT IND/PORTLAND                 2765 NW NICOLAI ST                                                                             PORTLAND       OR    97210‐1818
SCHMITT INDUSTRIES INC               2765 NW NICOLAI ST                                                                             PORTLAND       OR    97210‐1818
SCHMITT JIM (464275)                 KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                CLEVELAND      OH    44114
                                                                       BOND COURT BUILDING
SCHMITT JOAN C                       342 CLARMONT RD                                                                                WILLOWICK      OH 44095‐4772
SCHMITT LARRY                        PO BOX 2097                                                                                    HOBBS          NM 88241‐2097
SCHMITT LISA                         SCHMITT, LISA                     120 WEST MADISON STREET , 10TH                               CHICAGO         IL 60602
                                                                       FLOOR
SCHMITT LISA                         SCHMITT, PHILIP                   120 WEST MADISON STREET , 10TH                               CHICAGO         IL   60602
                                                                       FLOOR
SCHMITT MICHAEL                      SCHMIDT, MICHAEL                  3541 45TH AVE S                                              MINNEAPOLIS    MN 55406‐2926
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Name                                  Address1                       Address2                       Address3   Address4         City            State Zip
SCHMITT PAUL                          2314 ARTHUR ST                                                                            MARNE            MI 49435‐9740
SCHMITT PETER J CO INC                355 HARLEM RD                                                                             WEST SENECA      NY 14224‐1825
SCHMITT ROBERT (ESTATE OF) (639101)   GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                 EDWARDSVILLE      IL 62025‐0959
                                      ANTOGNOLI
SCHMITT SCOTT                         SCHMITTER, SCOTT               PO BOX 1344                                                NAHUNTA         GA   31553
SCHMITT THEODORE                      SCHMITT, THEODORE              3 SUMMIT PARK DR STE 100                                   INDEPENDENCE    OH   44131‐2598
SCHMITT VOLKER                        SCHMITTSTR. 35                                                                            BUDENHEIM       DE
SCHMITT WILLIAM                       8616 E COUNTY ROAD 650 N                                                                  MILAN           IN   47031‐9293
SCHMITT, BETTY D                      2949 HILLTOP CT                                                                           ANDERSON        IN   46013‐9753
SCHMITT, BRAD A
SCHMITT, CHARLES                      176 W MEADOWS DR                                                                          ROCHESTER       NY   14616‐3409
SCHMITT, CHARLES J                    152 KRIEGER RD                                                                            WEBSTER         NY   14580‐3703
SCHMITT, CHRISTINE C                  17904 KINROSS AVE                                                                         BEVERLY HILLS   MI   48025‐4143
SCHMITT, DAVID A                      1120 RIDGEVIEW CT                                                                         AVON            IN   46123‐7408
SCHMITT, DAVID C                      1402 E 450 N                                                                              KOKOMO          IN   46901‐8549
SCHMITT, DAVID J                      17383 OTSEGO PIKE                                                                         BOWLING GREEN   OH   43402‐9722
SCHMITT, DIANA M                      555 DUNLEAVY DR                                                                           HIGHLAND        MI   48356‐2112
SCHMITT, DIANNA L                     2206 EASTBROOK DR                                                                         KOKOMO          IN   46902
SCHMITT, DIXIE D                      1120 RIDGEVIEW CT                                                                         AVON            IN   46123‐7408
SCHMITT, DONALD CHARLES               GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510‐2212
                                                                     STREET, SUITE 600
SCHMITT, DOROTHY G                    7752 W IMPERIAL DR                                                                        FRANKLIN        WI   53132‐9732
SCHMITT, DOROTHY G                    810 SUTTON DR                                                                             EAGLE           WI   53119
SCHMITT, EUGENE R                     810 SUTTON DR                                                                             EAGLE           WI   53119‐2272
SCHMITT, FRANCES L                    PO BOX 974                                                                                OAKLOND         IL   61943‐0974
SCHMITT, FRANCES L                    214 W WEST ST                  APT 6                                                      GEORGETOWN      IL   61846
SCHMITT, FREDERICK                    PERLBERGER LAW ASSOCIATES      401 E CITY AVE STE 200                                     BALA CYNWYD     PA   19004‐1117
SCHMITT, GEORGE                       20 VINELAND RD                                                                            MAHOPAC         NY   10541‐1261
SCHMITT, GEORGE J                     15035 S HARTMAN DR RT 3                                                                   LOCKPORT        IL   60441
SCHMITT, GERALD J                     11841 W PRICE RD                                                                          WESTPHALIA      MI   48894‐9229
SCHMITT, GERALD J                     47114 BEACON SQUARE DR                                                                    MACOMB          MI   48044‐2853
SCHMITT, GERARD F                     200 ALPINE DR                                                                             ROCHESTER       NY   14618‐3747
SCHMITT, GRACE                        26 IRVING PL APT 1                                                                        BUFFALO         NY   14201‐1539
SCHMITT, HARRY H                      66 W WOODCREST AVE                                                                        MAPLE SHADE     NJ   08052‐3325
SCHMITT, HAZEN G                      445 LAKESHORE DR                                                                          COLUMBIAVILLE   MI   48421‐9728
SCHMITT, HELEN E                      1684 S FOUNTAIN HEAD                                                                      FT. MYERS       FL   33919‐6809
SCHMITT, JACK OF OFALLON INC          ATTN NANCEE                    915 W US HIGHWAY 50                                        O FALLON        IL   62269‐1829
SCHMITT, JAMES D                      956 ROCKY HILL RD                                                                         SPENCER         IN   47460‐5595
SCHMITT, JAMES E                      301 OLD STATE ROAD 132 W                                                                  PENDLETON       IN   46064‐8984
SCHMITT, JANICE B.                    16 HILLTOP DR                                                                             DANVILLE        IN   46122‐1334
SCHMITT, JANICE B.                    16 HILLTOP DRIVE                                                                          DANVILLE        IN   46122‐1334
SCHMITT, JEROME                       212 DIEHL ST                                                                              TIPTON          IN   46072‐1906
SCHMITT, JERRY L                      2120 JEFFERSON ST                                                                         ANDERSON        IN   46016‐4558
SCHMITT, JERRY LEWIS                  2120 JEFFERSON ST                                                                         ANDERSON        IN   46016‐4558
SCHMITT, JIM                          KELLEY & FERRARO LLP           1300 EAST NINTH STREET, 1901                               CLEVELAND       OH   44114
                                                                     BOND COURT BUILDING
SCHMITT, JOAN C                       342 CLARMONT RD.                                                                          WILLOWICK       OH   44095‐4772
SCHMITT, JOHANN                       8115 WESTVIEW LN                                                                          WOODRIDGE       IL   60517‐4135
SCHMITT, JOHN A                       12021 RENAISSANCE DR                                                                      MARYLAND HTS    MO   63043‐1145
SCHMITT, JOHN R                       3639 GREEN MEADOW LN                                                                      ORION           MI   48359‐1493
SCHMITT, JOHN S                       6028 E PINE GROVE RD                                                                      CICERO          NY   13039‐9370
SCHMITT, JOHN W                       6402 RIDGE RD                                                                             LOCKPORT        NY   14094‐1015
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Name                      Address1                           Address2                        Address3   Address4         City             State Zip
SCHMITT, JOSEPH E         4628 LARKINS ST APT 2                                                                          DETROIT           MI 48210‐2392
SCHMITT, JOSEPH J         90 LYDIA LN                                                                                    CHEEKTOWAGA       NY 14225‐3606
SCHMITT, JOSEPH L         23953 PORTAGE LAKE RD                                                                          MENDON            MI 49072‐9737
SCHMITT, JOSEPH M         9475 HOLY CROSS RD                                                                             FAIRVIEW HTS       IL 62208‐1601
SCHMITT, JOYCE M          910 S APPERSON WAY                                                                             KOKOMO            IN 46901‐5467
SCHMITT, KARL H           367 PURITAN AVE                                                                                BIRMINGHAM        MI 48009‐1263
SCHMITT, KAY E            6347 N 1000 W                                                                                  SHARPSVILLE       IN 46068‐9248
SCHMITT, KELLY P          208 RED BUD LN                                                                                 HURRICANE         WV 25526‐8841
SCHMITT, KIMIKO           6221 CENTER ST APT 107                                                                         MENTOR            OH 44060
SCHMITT, KLEGAL M         203 BROWN ST                                                                                   DURAND            MI 48429‐1504
SCHMITT, LEELAND M        2040 W MAIN ST 210‐ 1413                                                                       RAPID CITY        SD 57702
SCHMITT, LEELAND M        9396 RIDGE ROAD WEST                                                                           BROCKPORT         NY 14420‐9468
SCHMITT, LINDA K          2822 HOWARD DR                                                                                 JASPER            IN 47546
SCHMITT, LISA             KROHN & MOSS ‐ WI                  120 WEST MADISON STREET, 10TH                               CHICAGO            IL 44114
                                                             FLOOR
SCHMITT, LLC              ATTN JACK L SCHMITT                127 REGENCY PARK DR                                         O FALLON         IL   62269
SCHMITT, MARCELLA M       25700 ZEMAN AVE                                                                                EUCLID           OH   44132‐1819
SCHMITT, MARJORIE F       37115 CODY CIR APT M1                                                                          HILLIARD         FL   32046‐6960
SCHMITT, MARK             20436 EAST SAGEWOOD LANE                                                                       PARKER           CO   80138‐7167
SCHMITT, MARK J           PO BOX 173                                                                                     HUBBARDSTON      MI   48845‐0173
SCHMITT, MARTHA M.        274 CHURCHILL RD                                                                               GIRARD           OH   44420
SCHMITT, MARY B           10 RUBY ST                                                                                     ELMONT           NY   11003‐4242
SCHMITT, MARYANN          3960 N LAKE DR                                                                                 SHOREWOOD        WI   53211‐2448
SCHMITT, MICHAEL          646 N THORN DR                                                                                 ANDERSON         IN   46011‐1481
SCHMITT, MICHAEL J        2241 HIGHPOINTE DR.                B‐12 #201                                                   LAUGHLIN         NV   89029
SCHMITT, MICHAEL P        2101 LAMBROS DR                                                                                MIDLAND          MI   48642‐4037
SCHMITT, MONYA L          #B                                 761 AVENUE D SOUTHWEST                                      WINTER HAVEN     FL   33880‐2813
SCHMITT, PAUL A           25 OLDE PRESTWICK WAY                                                                          PENFIELD         NY   14526‐2857
SCHMITT, PAUL G           2314 ARTHUR ST                                                                                 MARNE            MI   49435‐9740
SCHMITT, PAUL G.          2314 ARTHUR ST                                                                                 MARNE            MI   49435‐9740
SCHMITT, PHILIP           KROHN & MOSS ‐ WI                  120 WEST MADISON STREET, 10TH                               CHICAGO          IL   44114
                                                             FLOOR
SCHMITT, PHILIP A         11055 DEXTER TRAIL R #2                                                                        WESTPHALIA       MI   48894
SCHMITT, RALPH G          342 CLARMONT RD                                                                                WILLOWICK        OH   44095‐4772
SCHMITT, RICHARD A        1702 WASHINGTON ST                                                                             QUINCY           IL   62301‐5263
SCHMITT, RICHARD C        1684 S FOUNTAINHEAD RD                                                                         FORT MYERS       FL   33919‐6809
SCHMITT, RICHARD G        675 INDEPENDENCE VALLEY DR                                                                     GRAND JUNCTION   CO   81507‐9547
SCHMITT, RICHARD L        3593 WYNBROOKE DR                                                                              LANSING          MI   48906‐9228
SCHMITT, RICHARD P        14537 DONALD RD                                                                                MUSSEY           MI   48014‐3704
SCHMITT, RITA             BOX 267‐E RT 5                                                                                 COVINGTON        KY   41015
SCHMITT, ROBERT           GOLDENBERG, MILLER, HELLER &       PO BOX 959                                                  EDWARDSVILLE     IL   62025‐0959
                          ANTOGNOLI
SCHMITT, ROBERT A         6409 WATERFORD DR                                                                              BRENTWOOD        TN   37027‐5639
SCHMITT, ROBERT E         2064 INGLEWOOD RD                                                                              HOLLAND          OH   43528‐9579
SCHMITT, ROBERT L         1896 N CENTRAL DR                                                                              DAYTON           OH   45432‐2054
SCHMITT, ROBERT L         13678 CUTLER RD                                                                                PORTLAND         MI   48875‐9305
SCHMITT, ROBERT M         95 BRIGHT ST                                                                                   CHEEKTOWAGA      NY   14206‐2610
SCHMITT, ROBERT W         3433 DOLPHIN DR                                                                                BLASDELL         NY   14219‐2257
SCHMITT, ROBERT WILLIAM   3433 DOLPHIN DR                                                                                BLASDELL         NY   14219‐2257
SCHMITT, ROBERTA G        406 E CHURCH ST                                                                                HAUBSTADT        IN   47639‐8211
SCHMITT, RONALD G         2206 EASTBROOK DR                                                                              KOKOMO           IN   46902‐4549
SCHMITT, RONALD M         315 N ELM GROVE RD                                                                             LAPEER           MI   48446‐3548
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Name                          Address1                         Address2                        Address3   Address4             City                    State Zip
SCHMITT, SCOTT                PO BOX 1344                                                                                      NAHUNTA                  GA 31553
SCHMITT, SHIRLEY A            2085 JOHNSON CREEK ROAD                                                                          BARKER                   NY 14012‐9627
SCHMITT, STEVEN L             3921 WINDWARD DR                                                                                 SYLVANIA                 OH 43560‐9112
SCHMITT, SUDELL T             5350 MIRROR LAKES BLVD                                                                           BOYNTON BEACH            FL 33472‐1223
SCHMITT, WILLIAM F            15618 N 109TH PL                                                                                 SCOTTSDALE               AZ 85255‐8863
SCHMITT, WILLIAM H            1581 BLACK FOREST DR                                                                             LAKELAND                 FL 33810‐3009
SCHMITTER, ALICE L            61119 HERITAGE BLVD                                                                              SOUTH LYON               MI 48178‐1031
SCHMITTER, ARNOLD J           7129 HESS RD                                                                                     MILLINGTON               MI 48746‐9127
SCHMITTER, BARBARA J          9517 MAPLEWOOD CT                                                                                DAVISON                  MI 48423‐3500
SCHMITTER, CARL E             4985 LOG CABIN LN                                                                                SPENCER                  IN 47460‐6300
SCHMITTER, FLOYD D            13849 OAKLEY RD                                                                                  CHESANING                MI 48616‐8405
SCHMITTER, GARY A             2172 MALACHITE DRIVE                                                                             LAKELAND                 FL 33810‐8205
SCHMITTER, JACQUELINE         W 273 S 8485 HILLVIEW DR                                                                         MUKWONAGO                WI 53149
SCHMITTER, KURT R             4537 BRITTNEY LN                                                                                 PINCKNEY                 MI 48169‐8201
SCHMITTER, LEONA M            7129 HESS RD                                                                                     MILLINGTON               MI 48746‐9127
SCHMITTER, PATRICIA D         9624 HIGHGATE CIR N                                                                              INDIANAPOLIS             IN 46250‐3104
SCHMITTER, SCOTT              PO BOX 1344                                                                                      NAHUNTA                  GA 31553‐1344
SCHMITTERGROUP AG             ANTRIEBSTECHNIK AM BAHNHOF 3                                                THUNGEN D‐97289
                                                                                                          GERMANY
SCHMITTERGROUP AG             AM BAHNHOF 3                                                                THUENGEN BY 97289
                                                                                                          GERMANY
SCHMITTINGER, JOHN F          136 S FORECASTLE DR                                                                              LITTLE EGG HARBOR TWP   NJ 08087‐1552
SCHMITTKA, ROGER L            3690 ROHR RD                                                                                     ORION                   MI 48359‐1432
SCHMITTLE JOSEPH F (429769)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK                 VA 23510
                                                               STREET, SUITE 600
SCHMITTLE, JOSEPH F           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK                 VA 23510‐2212
                                                               STREET, SUITE 600
SCHMITTLE, MARY E             5478 WATERLOO RD                                                                                 ATWATER                 OH   44201‐9776
SCHMITTLER, CAROL A           25144 COUNTY ROAD 354                                                                            LAWTON                  MI   49065‐9801
SCHMITTLER, JESS D            5403 N FLINT RD                                                                                  ROSCOMMON               MI   48653‐9298
SCHMITTLING, ROGER A          2360 VENTURA DR                                                                                  WOLVERINE LK            MI   48390‐2461
SCHMITTOU, BARBARA A          6501 INKSTER RD                                                                                  GARDEN CITY             MI   48135‐2542
SCHMITTOU, IRENE              4824 COLORADO ST                                                                                 DULUTH                  MN   55804‐1604
SCHMITTOU, KENNETH D          4294 GIBBS RD                                                                                    DANVILLE                IN   46122‐8452
SCHMITTOU, ROGER D            1055 COLLINS RD                                                                                  VANLEER                 TN   37181‐5025
SCHMITTOU, TIMOTHY L          8261 BRISTOL ST                                                                                  WESTLAND                MI   48185‐1831
SCHMITTY & SONS                                                21160 HOLYOKE AVE                                                                       MN   55044
SCHMITZ GWENDOLYNNE SUE       SCHMITZ, GWENDOLYNNE SUE         7 FIRST AVENUE NORTHEAST P O                                    HAMPTON                 IA   50441
                                                               BOX 533
SCHMITZ II, KARL H            1240 LORI LN                                                                                     FENTON                  MI   48430‐3402
SCHMITZ II, KARL HENRY        1240 LORI LN                                                                                     FENTON                  MI   48430‐3402
SCHMITZ JR, JOE G             12932 BURLINGAME AVE                                                                             OKLAHOMA CITY           OK   73120‐8701
SCHMITZ JR, PAUL J            8320 ARQUETTE RD                                                                                 OREGON                  OH   43618‐9719
SCHMITZ KATHRYN               509 GUIDE STREET NORTH                                                                           WELCOME                 MN   56181‐9781
SCHMITZ OTHMAR J (439486)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK                 VA   23510
                                                               STREET, SUITE 600
SCHMITZ PHILIP (491306)       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD              OH 44067
                                                               PROFESSIONAL BLDG
SCHMITZ RANDAL                474 FLAX ISLAND RD                                                                               OTEGO                   NY   13825‐2182
SCHMITZ, ALFRED A             46182 CIDER MILL DR                                                                              NOVI                    MI   48374‐2953
SCHMITZ, ALFRED A             4235 LAKE HARBOUR WAY                                                                            AVON                    OH   44011‐3249
SCHMITZ, AMY LAREE            9505 CHOLLA CACTUS TRL                                                                           FORT WORTH              TX   76177‐7200
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Name                     Address1                         Address2            Address3         Address4         City              State Zip
SCHMITZ, ANDREW W        14181 LAKESHORE DR                                                                     STERLING HTS       MI 48313‐2140
SCHMITZ, ARNOLD L        2413 KENWOOD AVE                                                                       JANESVILLE         WI 53545‐2220
SCHMITZ, ARTUR E         155 W BROWN RD APT 152                                                                 MESA               AZ 85201‐3470
SCHMITZ, BETTY M         374 BEACH ROAD                                                                         CHEEKTOWAGA        NY 14225‐2704
SCHMITZ, BETTY M         374 BEACH RD                                                                           CHEEKTOWAGA        NY 14225‐2704
SCHMITZ, BEVERLY I       14181 LAKESHORE DR                                                                     STERLING HTS       MI 48313‐2140
SCHMITZ, CAROL A         12505 SECOR RD                                                                         IDA                MI 48140‐9729
SCHMITZ, CAROL ANN       12505 SECOR RD                                                                         IDA                MI 48140‐9729
SCHMITZ, CHARLOTTE A     448 DAVID LIND DR                                                                      INDIANAPOLIS       IN 46217‐3412
SCHMITZ, CHRISTOPHER J   1034 S 33RD ST                                                                         MILWAUKEE          WI 53215‐1525
SCHMITZ, CLARENCE M      1201 N MACOMB ST APT 301                                                               MONROE             MI 48162‐3155
SCHMITZ, DALE P          3410 HOGBACK RD                                                                        FOWLERVILLE        MI 48836‐8543
SCHMITZ, DARRYL J        2594 W PARKS RD                                                                        SAINT JOHNS        MI 48879‐8906
SCHMITZ, DARRYL JOSEPH   2594 W PARKS RD                                                                        SAINT JOHNS        MI 48879‐8906
SCHMITZ, DEBBIE K        2892 E 1150 S                                                                          KOKOMO             IN 46901‐7568
SCHMITZ, DOUGLAS L       534 N WALNUT ST                                                                        FOWLER             MI 48835‐9704
SCHMITZ, DOUGLAS P       20903 HUNT CLUB DR                                                                     HARPER WOODS       MI 48225‐1714
SCHMITZ, EARL O          2892 E 1150 S                                                                          KOKOMO             IN 46901‐7568
SCHMITZ, EDWARD E        1026 SOUTH ST                                                                          MOUNT MORRIS       MI 48458‐2041
SCHMITZ, EDWARD J        10910 W JASON RD                                                                       FOWLER             MI 48835‐9225
SCHMITZ, ELIZABETH B     4418 ONORIO ST                                                                         NEW PORT RICHEY    FL 34653‐7213
SCHMITZ, FREDERICK       3281 WILDCAT RD                                                                        SAINT JOHNS        MI 48879‐9033
SCHMITZ, GALEN D         109 SANTA FE LN                                                                        GOWER              MO 64454‐9168
SCHMITZ, GEORGE J        69 W SIENNA PL                                                                         SPRING             TX 77382‐1523
SCHMITZ, GERALD E        14152 E LINVALE PL APT 401                                                             AURORA             CO 80014‐5530
SCHMITZ, GWEN            212 LARCH ST                                                                           THORNTON            IA 50479‐6039
SCHMITZ, GWENDOLYNE      212 LARCH ST                                                                           THORNTON            IA 50479‐6039
SCHMITZ, HILARY J        7202 W PARKS RD                                                                        SAINT JOHNS        MI 48879‐9562
SCHMITZ, JANINE A        3368 N EUCLID AVE                                                                      BAY CITY           MI 48706‐1329
SCHMITZ, JANINE A        3368 N EUCLID                                                                          BAY CITY           MI 48706‐1329
SCHMITZ, JASON R         1325 GIBBS RD                                                                          KANSAS CITY        KS 66103‐1643
SCHMITZ, JASON R.        1325 GIBBS RD                                                                          KANSAS CITY        KS 66103‐1643
SCHMITZ, JEANETTE S      2701 DONNA AVE                                                                         RACINE             WI 53404‐1815
SCHMITZ, JEROME E        2199 SCOTTINGHAM DR                                                                    DUBLIN             OH 43016‐9083
SCHMITZ, JO ANN I        3711 AMBER LANE                                                                        JANESVILLE         WI 53546‐4009
SCHMITZ, JO ANN I        3711 AMBER LN                                                                          JANESVILLE         WI 53546‐4009
SCHMITZ, JOAN M          2600 W WHITAKER AVE                                                                    MILWAUKEE          WI 53221‐2264
SCHMITZ, JOHN A          1584 WEISKOPF DR                                                                       COLUMBUS           OH 43228‐7022
SCHMITZ, JOHN E          3900 EMBARCADERO ST                                                                    WATERFORD          MI 48329‐2246
SCHMITZ, JOHN R          794 C W MOORE RD                                                                       SMITHS GROVE       KY 42171‐9315
SCHMITZ, JOHN T          3200 89TH ST                                                                           URBANDALE           IA 50322‐4060
SCHMITZ, JOSEPH L        14815 ANNAPOLIS DR                                                                     STERLING HTS       MI 48313‐3621
SCHMITZ, JOSEPH R        513 TRIPLE CROWN                                                                       CIBOLO             TX 78108
SCHMITZ, KARL H          410 OAK HERITAGE DR                                                                    VENICE             FL 34292‐2437
SCHMITZ, KENNETH A       20043 EDGEWOOD AVE                                                                     LIVONIA            MI 48152‐1181
SCHMITZ, KIMBERLY Z      208 E FRONT ST                                                                         TRAVERSE CITY      MI 49684‐2526
SCHMITZ, LUKE A          10462 E BLUEWATER HWY                                                                  PEWAMO             MI 48873‐9792
SCHMITZ, MARILYN K       7902 S 650 W                                                                           PENDLETON          IN 46064‐9762
SCHMITZ, MARYANN         20 LUCENA DR                                                                           ROCHESTER          NY 14606‐4002
SCHMITZ, MAURICE E       2674 S WRIGHT RD # R2                                                                  FOWLER             MI 48835
SCHMITZ, MICHAEL G       W291N3617 PRAIRIESIDE CT                                                               PEWAUKEE           WI 53072‐3170
SCHMITZ, MICHAEL J       11515 CADMUS RD                                                                        CLAYTON            MI 49235‐9735
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Name                        Address1                      Address2                      Address3   Address4         City            State Zip
SCHMITZ, MICHAEL J          31114 ROTHBURY WAY                                                                      CHESTERFIELD     MI 48047‐5929
SCHMITZ, NICHOLAS T         8672 S LAKE RD                                                                          CORFU            NY 14036‐9535
SCHMITZ, OTHMAR J           GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                          STREET, SUITE 600
SCHMITZ, PATRICIA           4243 MAR MOOR DR                                                                        LANSING         MI   48917‐1615
SCHMITZ, PETER A            549 QUAIL RIDGE DR                                                                      TRAVERSE CITY   MI   49686‐2065
SCHMITZ, PETER R            1725 LORAINE AVE                                                                        LANSING         MI   48910‐2579
SCHMITZ, RICHARD F          1526 SCHALLER ST                                                                        JANESVILLE      WI   53546‐5844
SCHMITZ, RICHARD J          5950 COMET AVE                                                                          TOLEDO          OH   43623‐1206
SCHMITZ, ROBERT A           580 WESTERN AVE                                                                         CEDARBURG       WI   53012‐9486
SCHMITZ, ROGER A            3110 ALFRED AVE                                                                         LANSING         MI   48906‐2506
SCHMITZ, RONALD E           12 WAVELAND RD                                                                          JANESVILLE      WI   53548‐3254
SCHMITZ, ROSALINE A         2594 W PARKS RD                                                                         SAINT JOHNS     MI   48879‐8906
SCHMITZ, ROSALINE A         2594 W PARKS ROAD                                                                       SAINT JOHNS     MI   48879
SCHMITZ, RUSSELL A          1294 E US 36                                                                            MARKLEVILLE     IN   46056
SCHMITZ, STANLEY A          4243 MAR MOOR DR                                                                        LANSING         MI   48917‐1615
SCHMITZ, STEVE J            832 S MANITOU AVE                                                                       CLAWSON         MI   48017‐1889
SCHMITZ, THOMAS B           9114 MARSH RD                                                                           CLAY            MI   48001‐4508
SCHMITZ, THOMAS J           3865 KISMET DR                                                                          HELENA          MT   59602‐7321
SCHMITZ, THOMAS W           W5559 COUNTY ROAD II                                                                    RANDOM LAKE     WI   53075‐1602
SCHMITZ, VERA M             1048 SOUTH 74TH ST                                                                      KANSAS CITY     KS   66111
SCHMITZ, VERA M             1048 S 74TH ST                                                                          KANSAS CITY     KS   66111‐3277
SCHMITZ, VINCENT H          1802 N HAWTHORNE PARK DR                                                                JANESVILLE      WI   53545‐2062
SCHMITZ, W M                5602 TAFT AVENUE                                                                        OAKLAND         CA   94618‐1521
SCHMITZ, WAYNE A            341 STARKWEATHER DR                                                                     BEAVER DAM      WI   53916‐1078
SCHMITZ, WILLIAM C          5320 LAKEWOOD RD                                                                        HARSHAW         WI   54529‐9701
SCHMITZ, WILLIAM F          8100 CLYO RD #308             CHAMINADE HALL                                            CENTERVILLE     OH   45458
SCHMITZER, DORIS E          311 TRINKLEIN ST                                                                        FRANKENMUTH     MI   48734‐1515
SCHMITZER, DORIS E          311 TRINKLEIN                                                                           FRANKENMUTH     MI   48734‐1515
SCHMITZER, EDMUND W         2125 S VAN BUREN RD                                                                     REESE           MI   48757‐9213
SCHMITZER, GILBERT G        10700 BUSCH RD                                                                          BIRCH RUN       MI   48415‐9224
SCHMITZER, KURT E           9009 BUSCH RD                                                                           BIRCH RUN       MI   48415‐8424
SCHMITZER, ROBERT A         8293 TEACHOUT RD                                                                        OTISVILLE       MI   48463‐9418
SCHMITZER, ROBERT M         PO BOX 190232                                                                           BURTON          MI   48519‐0232
SCHMITZER, SALLY E          11141 NICHOLS RD                                                                        MONTROSE        MI   48457‐9113
SCHMITZER, THEODORE L       12782 TEDDY DR                                                                          MC CALLA        AL   35111‐1552
SCHMITZER, THEODORE W       13100 BUSSA RD                                                                          RAPID CITY      MI   49676‐9618
SCHMOAK, KARL F             3366 DUFFIELD RD                                                                        FLUSHING        MI   48433‐9709
SCHMOAK, RICHARD R          4061 JORDAN DR                                                                          SAGINAW         MI   48601‐5957
SCHMOCK JR, EDWIN R         4864 GENESEE RD                                                                         LAPEER          MI   48446‐3634
SCHMOCK, ANITA J            1970 E NATURE LN                                                                        MIDLAND         MI   48640‐8687
SCHMOCK, ANITA J            1970 E. NATURE LANE                                                                     MIDLAND         MI   48640
SCHMOCK, ARLINE M           11101 LINDEN RD                                                                         LINDEN          MI   48451‐9466
SCHMOCK, CAROL J            10753 MEADOW TRAIL                                                                      STRONGVILLE     OH   44149‐2165
SCHMOEGER, WILLIAM E        322 SW GREEN TEAL ST                                                                    LEES SUMMIT     MO   64082‐4593
SCHMOHL, CHRISTOPHER L      235 WIMBLETON WAY                                                                       RED LION        PA   17356‐8288
SCHMOHL, CHRISTOPHER LEE    235 WIMBLETON WAY                                                                       RED LION        PA   17356‐8288
SCHMOLDT, RONALD F          5560 W JERELYN PL                                                                       MILWAUKEE       WI   53219‐2279
SCHMOLDT, RONALD H          1820 S 75TH ST APT 311                                                                  WEST ALLIS      WI   53214‐5712
SCHMOLINSKI III, ALFRED H   2505 CATALPA DR                                                                         DAYTON          OH   45406‐2158
SCHMOLINSKI, LORA J         3723 MILFORD DR                                                                         KETTERING       OH   45429‐3343
SCHMOLINSKY JR, WALTER E    10048 BALLINSHIRE CT                                                                    MIAMISBURG      OH   45342‐7224
                                 09-50026-mg             Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                             Address1                        Address2                        Address3   Address4               City            State Zip
SCHMOLINSKY JR,WALTER E          10048 BALLINSHIRE CT                                                                              MIAMISBURG       OH 45342‐7224
SCHMOLINSKY, DALE E              520 FITZOOTH DR                                                                                   MIAMISBURG       OH 45342‐5904
SCHMOLINSKY, DAVID I             10048 BALLINSHIRE CT                                                                              MIAMISBURG       OH 45342‐7224
SCHMOLINSKY, ELSA K              520 FITZOOTH DR                                                                                   MIAMISBURG       OH 45342‐5904
SCHMOLINSKY, PAMELA P            520 FITZOOTH DR                                                                                   MIAMISBURG       OH 45342‐5904
SCHMOLINSKY, PAMELA PYLE         520 FITZOOTH DR                                                                                   MIAMISBURG       OH 45342‐5904
SCHMOLITZ, CAROL A               4064 RICHMARK LN                                                                                  BAY CITY         MI 48706‐2228
SCHMOLITZ, CRAIG J               4200 PARSONS WALK                                                                                 SAGINAW          MI 48603‐7270
SCHMOLITZ, JEROME R              4064 RICHMARK LN                                                                                  BAY CITY         MI 48706‐2228
SCHMOLITZ, JERRY                 3530 WESTVIEW DR                                                                                  SAGINAW          MI 48602‐3332
SCHMOLITZ, KIRK A                1366 S ORR RD                                                                                     HEMLOCK          MI 48626‐9483
SCHMOLITZ, KIRK ALAN             1366 S ORR RD                                                                                     HEMLOCK          MI 48626‐9483
SCHMOLITZ, RUBY M                1369 JOSEPH ST                                                                                    SAGINAW          MI 48638‐6530
SCHMOLTZ & BICKENBACH USA INC    365 VILLAGE DR                                                                                    CAROL STREAM      IL 60188‐1828
SCHMOLZ + BICKENBACH CANADA IN   2555 N TALBOT RD                                                           OLDCASTLE ON N0R 1L0
                                                                                                            CANADA
SCHMOTZER, MARY A                4463 BENTLEY DR                                                                                   TROY            MI   48098‐4452
SCHMOTZER, PAUL G                PO BOX 33                                                                                         DEFORD          MI   48729‐0033
SCHMOTZER, THOMAS G              4463 BENTLEY DR                                                                                   TROY            MI   48098‐4452
SCHMOYER, LINDA                  GORBERG DAVID J & ASSOCIATES    2325 GRANT BUILDING 310 GRANT                                     PITTSBURGH      PA   15219
                                                                 STREET
SCHMOYER, RONALD W               GORBERG DAVID J & ASSOCIATES    2325 GRANT BUILDING 310 GRANT                                     PITTSBURGH       PA 15219
                                                                 STREET
SCHMUCK DEREK ARTHUR             SCHMUCK, DEREK ARTHUR
SCHMUCK, DAVID A                 67325 S FOREST AVE                                                                                LENOX           MI   48050‐1431
SCHMUCK, FRANCIS J               3158 E STATE ROAD 236                                                                             ANDERSON        IN   46017‐9773
SCHMUCK, GLADYS C                2795 SPRUCE HILL DR                                                                               FARWELL         MI   48622‐9623
SCHMUCK, GRACE                   8051 SHORT CUT ROAD                                                                               FAIR HAVEN      MI   48023‐2111
SCHMUCK, JOSEPH A                35382 LUCINDA DR                                                                                  CLINTON TWP     MI   48035‐2463
SCHMUCK, PATRICIA A              3855 FILKINS DR NE                                                                                GRAND RAPIDS    MI   49525‐2165
SCHMUCK, ROBERT A                11177 FOLEY RD                                                                                    FENTON          MI   48430‐9472
SCHMUCK, SARAH JANE              2491 PINE LAKE AVENUE                                                                             KEEGO HARBOR    MI   48320‐1431
SCHMUCKER ERNEST H (626757)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510
                                                                 STREET, SUITE 600
SCHMUCKER, DOUGLAS R             1681 BEALS RD                                                                                     PLACERVILLE     CA 95667‐3042
SCHMUCKER, ERNEST H              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA 23510‐2212
                                                                 STREET, SUITE 600
SCHMUCKER, GLADYS A              3580 SOUTH BELGRAVE DRIVE                                                                         INVERNESS       FL   34452‐8731
SCHMUCKER, JONNIE K              3022 STATE ROUTE 59 LOT E5                                                                        RAVENNA         OH   44266‐1673
SCHMUDDE MATTHEW                 2812 GRAND RIDGE CIR                                                                              AURORA          IL   60503‐5423
SCHMUDE, HOLLY S                 3775 PARKLAWN DR                                                                                  CANTON          MI   48188‐2317
SCHMUDE, RALPH E                 4111 NORVELL RD                                                                                   GRASS LAKE      MI   49240‐9759
SCHMUECKER, RYAN J               10634 WALANDER NE                                                                                 CEDAR SPRINGS   MI   49319‐8372
SCHMUELLING, TOM A               2718 S 59TH ST                                                                                    SAINT LOUIS     MO   63139‐1667
SCHMUESER, DAVID W               7265 DOVE FIELD DRIVE                                                                             FORT MILL       SC   29707‐7846
SCHMUFF, ROBERT L                30 SPRING GLEN CT                                                                                 COCKEYSVILLE    MD   21030‐2442
SCHMUHL, CARL J                  8313 PROVIDENCE NORTH DR                                                                          STOKESDALE      NC   27357‐8583
SCHMUHL, JOHN E                  1071 DYE KREST DR                                                                                 FLINT           MI   48532‐2227
SCHMUKER, CHERYL A               1792 MAPLEROW AVE NW                                                                              WALKER          MI   49534‐2224
SCHMUKER, CHERYL A.              1792 MAPLEROW AVE NW                                                                              WALKER          MI   49534‐2224
SCHMUKER, MARCUS G               0‐13827 IRONWOOD DRIVE          APT #1                                                            GRAND RAPIDS    MI   49534
SCHMUKER, RAYMOND J              8110 TULANE ST                                                                                    TAYLOR          MI   48180‐2390
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Name                                 Address1                          Address2                       Address3   Address4         City           State Zip
SCHMULDT, MARGIE L                   7515 SANDYHILL DR                                                                            JENISON         MI 49428‐7717
SCHMULDT, MARGIE L                   7515 SANDY HILL DRIVE                                                                        JENISON         MI 49428‐7717
SCHMULDT, SARA L                     11010 N 17 RD                                                                                BUCKLEY         MI 49620‐9511
SCHMUNK, FRED                        9635 ELMS RD                                                                                 BIRCH RUN       MI 48415‐8445
SCHMUNK, JANICE L                    PO BOX 375                                                                                   FRANKENMUTH     MI 48734‐0375
SCHMUNK, PHYLLIS C                   400 HOLIDAY DRIVE                                                                            SPRINGFIELD     OH 45505‐1649
SCHMUNK, PHYLLIS C                   400 HOLIDAY DR                                                                               SPRINGFIELD     OH 45505‐1649
SCHMUNK, RICHARD J                   5240 LANGE RD                                                                                BIRCH RUN       MI 48415‐8732
SCHMUNK, ROBERT R                    795 DORNOCH DR                                                                               ANN ARBOR       MI 48103‐9077
SCHMUNK, ROLLAND G                   10747 CANADA WAY                                                                             BIRCH RUN       MI 48415‐8471
SCHMUTTE, ESTELLE K.                 7844 HARCOURT SPRINGS DR                                                                     INDIANAPOLIS    IN 46260‐5704
SCHMUTTE, KARL J                     7462 CRICKWOOD LN                                                                            INDIANAPOLIS    IN 46268
SCHMUTTE, NICHOLAS G                 1675 N 600 E                                                                                 AVON            IN 46123
SCHNAARE RAYMOND (406036)            GAVIN WILLIAM P                   23 PUBLIC SQ STE 415                                       BELLEVILLE       IL 62220‐1627
SCHNAARE RAYMOND (406036) ‐ ALLEN    GAVIN WILLIAM P                   23 PUBLIC SQ STE 415                                       BELLEVILLE       IL 62220‐1627
GLEN
SCHNAARE RAYMOND (406036) ‐          GAVIN WILLIAM P                   23 PUBLIC SQ STE 415                                       BELLEVILLE      IL   62220‐1627
HOFFSTETTER WINFORD
SCHNAARE RAYMOND (406036) ‐ PARKS    GAVIN WILLIAM P                   23 PUBLIC SQ STE 415                                       BELLEVILLE      IL   62220‐1627
HENRY E
SCHNAARE RAYMOND (406036) ‐ SPRENE   GAVIN WILLIAM P                   23 PUBLIC SQ STE 415                                       BELLEVILLE      IL   62220‐1627
HOWARD
SCHNAARE RAYMOND (406036) ‐          GAVIN WILLIAM P                   23 PUBLIC SQ STE 415                                       BELLEVILLE      IL   62220‐1627
THOMPSON ROY
SCHNAARE RAYMOND (406036) ‐ VOGEL    GAVIN WILLIAM P                   23 PUBLIC SQ STE 415                                       BELLEVILLE      IL   62220‐1627
ROBERT L
SCHNAARE, RAYMOND                    GAVIN WILLIAM P                   23 PUBLIC SQ STE 415                                       BELLEVILLE     IL    62220‐1627
SCHNAARE, ZONA                       196 NEWBERN CIRCLE                                                                           AUBURNDALE     FL    33823‐3347
SCHNAARS, JOANNE                     2604 MEYERS LN                                                                               SPRING HILL    TN    37174‐9287
SCHNABEL ANDREW (656488)             WATERS & KRAUSE                   300 CONTINENTAL BLVD STE 500                               EL SEGUNDO     CA    90245‐5050
SCHNABEL JR, NORMAN R                622 CHESTNUT HILLS PKWY                                                                      FORT WAYNE     IN    46814‐8919
SCHNABEL SR, NORMAN R                606 DEER CLIFF CT                                                                            FORT WAYNE     IN    46804‐3559
SCHNABEL, ANDREW                     WATERS & KRAUSE                   300 CONTINENTAL BLVD STE 500                               EL SEGUNDO     CA    90245‐5050
SCHNABEL, ANDREW                     C/O WATERS & KRAUS LLP            3219 MCKINNEY AVE                                          DALLAS         TX    75204
SCHNABEL, BETTY N                    123 FLORENCE BLVD                                                                            MUNROE FALLS   OH    44262‐1510
SCHNABEL, DOUGLAS R                  316 HART ST                                                                                  ESSEXVILLE     MI    48732
SCHNABEL, HANS J                     7122 CLIFFWOOD CT                                                                            FENTON         MI    48430‐9308
SCHNABEL, ILENE A                    2060 SETTLERS TRL                                                                            VANDALIA       OH    45377‐3275
SCHNABEL, JAMES E                    3430 S 161ST CIR                                                                             OMAHA          NE    68130‐2129
SCHNABEL, JERI E                     614 E COUNTRYSIDE DR                                                                         EVANSVILLE     WI    53536‐2107
SCHNABEL, JOHN S                     45 ROSE AVE                                                                                  WESTBURY       NY    11590‐1027
SCHNABEL, KENNETH R                  6350 WOODWIND DR                                                                             INDIANAPOLIS   IN    46217‐3867
SCHNABEL, LOIS V                     342 OKEMA WAY                                                                                LOUDON         TN    37774‐3148
SCHNABEL, NICHOLAS E                 32282 DORCHESTER DR                                                                          AVON LAKE      OH    44012‐2524
SCHNABEL, PETRINA L                  316 HART ST                                                                                  ESSEXVILLE     MI    48732‐1661
SCHNABEL, ROBERT E                   4500 MEADOWWOOD LN                                                                           ELKTON         FL    32033‐2056
SCHNABEL, SYLVIA
SCHNABEL, TOWNSEND P                 6350 WOODWIND DR                                                                             INDIANAPOLIS   IN    46217‐3867
SCHNABELRAUCH, CLARENCE W            381 N EIFERT RD                                                                              MASON          MI    48854‐9524
SCHNABELRAUCH, LEWIS C               1700 GEORGETOWN BLVD                                                                         LANSING        MI    48911‐5430
SCHNABELRAUCH, LLOYD E               855 ONONDAGA RD                                                                              HOLT           MI    48842‐9664
SCHNABELRAUCH, ROBERT L              655 ROLFE RD                                                                                 MASON          MI    48854‐9693
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Name                                  Address1                            Address2                         Address3                   Address4         City               State Zip
SCHNABLE, FRIEDA B                    9 NEWBURN RD                        FRIEDA C/O RUTHIE TURBIDY                                                    WORCESTER           MA 01602‐4114
SCHNACKE JR, MELVIN W                 5988 MYRTLE HILL RD                                                                                              VALLEY CITY         OH 44280‐9792
SCHNACKENBERG, RYAN                   37480 WHITNEY DR                                                                                                 WAYNE               MI 48184‐1051
SCHNADER HARRISON SEGAL & LEWIS       1600 MARKET ST STE 3600                                                                                          PHILADELPHIA        PA 19103‐7212
SCHNADER HARRISON SEGAL & LEWIS LLP   1600 MARKET ST STE 3600                                                                                          PHILADELPHIA        PA 19103‐7212

SCHNADER HARRISON SEGAL & LEWIS LLP   ATTN: RICHARD A. BARKASY, BENJAMIN P. ATTY FOR GENOVEVA BERMUDEZ     140 BROADWAY, SUITE 3100                    PHILADELPHIA       PA 19103‐7286
                                      DEUTSCH, BARRY E. BRESSLER

SCHNADER HARRISON SEGAL & LEWIS LLP   ATTN: BENJAMIN P. DEUTSCH           140 BROADWAY                     SUITE 3100                                  NEW YORK           NY 10005

SCHNADER HARRISON SEGAL & LEWIS LLP   ATTY FOR AD HOC COMMITTEE OF        ATT: BENJAMIN P. DEUTSCH, ESQ.   140 BROADWAY, SUITE 3100                    NEW YORK           NY 10005‐1101
                                      CONSUMER VICTIMS OF GM
SCHNADER HARRISON SEGAL & LEWIS LLP   ATTY FOR AD HOC COMMITTEE OF        ATTN BARRY E BRESSLER ESQ        1600 MARKET STREET SUITE                    PHILADELPHIA       PA 19103‐7286
                                      CONSUMER VICTIMS OF GM                                               3600
SCHNAIDT JR, GEORGE E                 2574 GENES DR                                                                                                    AUBURN HILLS       MI   48326‐1900
SCHNAIDT, JOAN M                      3128 COBBLESTONE RDG                                                                                             TECUMSEH           MI   49286‐7787
SCHNAIDT, JOAN M                      3128 COBBLE STONE RIDGE                                                                                          TECUMSEH           MI   49286‐7787
SCHNAIDT, MURIEL L                    970 WEXFORD WAY                                                                                                  ROCHESTER HILLS    MI   48307‐2973
SCHNAIDT, WILLIAM C                   2342 BLUEBERRY LANE                                                                                              ANN ARBOR          MI   48103‐2213
SCHNAITTER, CHRISTINE M               5054 ALEXANDRIA PIKE                                                                                             ANDERSON           IN   46012‐9260
SCHNAITTER, MARY                      405 MIAMI PL                                                                                                     HURON              OH   44839‐1722
SCHNAKE, BOBBY G                      667 ASHBURNHAM ST                                                                                                AUBURN HILLS       MI   48326‐3401
SCHNAKE, LEON E                       255 SW 800TH RD                                                                                                  WARRENSBURG        MO   64093‐8121
SCHNAKE, ROSEMARY M                   2300 E GRAND RIVER AVE STE 107      C/O OLSHA GUARDIAN SERVICES                                                  HOWELL             MI   48843‐7584
SCHNAKENBERG WILLIAM III              1560 HUMMINGBIRD CT                                                                                              YARDLEY            PA   19067‐5751
SCHNAPP, CHRISTOPHER A                4073 CANEY CREEK LN                                                                                              CHAPEL HILL        TN   37034‐2076
SCHNAPP, KAREN S                      822 FAIRWAY CT                                                                                                   MIAMISBURG         OH   45342‐3316
SCHNAPP, PATRICK A                    4073 CANEY CREEK IN                                                                                              CHAPEL HILL        TN   37034
SCHNAPP, WILLIAM W                    9105 SW 90TH ST                                                                                                  OCALA              FL   34481‐8484
SCHNAPPINGER, ROBERT R                3419 MEMBERS CLUB BLVD SE                                                                                        SOUTHPORT          NC   28461‐8028
SCHNARE, JANE F                       73 POMEROY DR                                                                                                    PINEHURST          NC   28374‐9740
SCHNAREL, CHARLES B                   13908 MCGINTY RD E                                                                                               MINNETONKA         MN   55305‐3653
SCHNARR, LLOYD E                      2422 S GENESEE RD                                                                                                BURTON             MI   48519‐1236
SCHNARR, ROBERT O                     3601 E DOERR AVE                                                                                                 ALTON              IL   62002‐4107
SCHNARR, TERI L                       4605 MAD RIVER RD                                                                                                KETTERING          OH   45429‐2133
SCHNARR, WILLIAM I                    4975 PLATTE RIVER TRL                                                                                            HONOR              MI   49640‐9715
SCHNARRE, JOHN D                      2633 SALFORD DR                                                                                                  CROFTON            MD   21114‐3281
SCHNATZ J                             14 JILLIAN CIR                                                                                                   HARTFORD           CT   06107‐3158
SCHNATZMEYER, FINOLA O                306 S BLUFF RD                                                                                                   COLLINSVILLE       IL   62234‐1353
SCHNAUDT, NANCY L                     4037 N STYGLER RD                                                                                                GAHANNA            OH   43230‐4859
SCHNAUFER, FLORENCE J                 448 RAYMOND ST                                                                                                   ROCKVILLE CTR      NY   11570‐2737
SCHNAUFER, NORMAN L                   111 ACACIA DR APT B‐305                                                                                          INDIAN HEAD PARK   IL   60525
SCHNAUFER, SHIRLEY                    32625 REDFERN ST                                                                                                 FRANKLIN           MI   48025‐1110
SCHNAUS, LILLIAN F                    5130 OWLS NEST RD                                                                                                MARION             NY   14505‐9539
SCHNAUTZ, CARL J                      14750 W HICKORY AVE                                                                                              LEMONT             IL   60439‐7904
SCHNAUTZ, MICHAEL E                   11109 COUNTY ROAD B                                                                                              BUTTERNUT          WI   54514‐9164
SCHNAUTZ, WILLIAM C                   PO BOX 512                                                                                                       PARK FALLS         WI   54552‐0512
SCHNEBELEN, EDWARD LEE                C/O EDWARD O MOODY PA               801 WEST FOURTH STREET                                                       LITTLE ROCK        AR   72201
SCHNEBELEN, EDWARD LEE                MOODY EDWARD O                      801 W 4TH ST                                                                 LITTLE ROCK        AR   72201‐2107
SCHNEBELT, JACQUELINE C               5784 LOUNSBURY                                                                                                   WILLIAMSTON        MI   48895‐9483
SCHNEBERGER, GERALD L                 451 SANDEHURST DR                                                                                                GRAND BLANC        MI   48439‐1576
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Name                                 Address1                           Address2                        Address3           Address4               City                 State Zip
SCHNECK, ALLEN R                     36248 WORTHING DR                                                                                            NEWARK                CA 94560‐2047
SCHNECK, GARY E                      101 SUNALI LN                                                                                                LOUDON                TN 37774‐2989
SCHNECK, HAROLD E                    7586 SAND RD                                                                                                 PIGEON                MI 48755‐9694
SCHNECK, THOMAS C                    44 CONCESSION OAK DR                                                                                         BLUFFTON              SC 29909‐7104
SCHNECKENBERGER, MIKELL K            13828 LAWSON RD                                                                                              GRAND LEDGE           MI 48837
SCHNECKENBERGER, RICHARD L           1370 HOUGHTON LANE R F D 3                                                                                   CHARLOTTE             MI 48813
SCHNECKENBURGER, KENNETH D           2307 MAXWELLTON RD                                                                                           WILMINGTON            DE 19804‐3813
SCHNEDER JR, WILLIAM L               1127 FULSOM ST                                                                                               FLINT                 MI 48504‐3237
SCHNEDER, KAREN S                    8945 S STATE ROUTE 202                                                                                       TIPP CITY             OH 45371‐5371
SCHNEDER, RHEA J                     3365 RIDGECLIFFE DR                                                                                          FLINT                 MI 48532‐3736
SCHNEDER, STEPHEN C                  1821 GUMMER AVE                                                                                              DAYTON                OH 45403
SCHNEE, FLORIAN A                    28628 HILLE DR                                                                                               MILLBURY              OH 43447‐9467
SCHNEEBERGER, BARBARA J              6272 BALFOUR DR                                                                                              LANSING               MI 48911‐5438
SCHNEEBERGER, DONALD A               4089 TOLES RD                                                                                                MASON                 MI 48854‐9759
SCHNEEBERGER, DONALD E               2692 LIBERTY RD                                                                                              MUSKEGON              MI 49441‐3448
SCHNEEBERGER, GARRY                  1485 E ROUND LAKE RD                                                                                         DEWITT                MI 48820‐8406
SCHNEEBERGER, JANET T                PO BOX 251                                                                                                   BEAR LAKE             MI 49614‐0251
SCHNEEBERGER, LAWRENCE F             7149 MILLER LN                                                                                               GRAND BLANC           MI 48439‐7430
SCHNEEBERGER, MELVIN F               9137 W COUNTY ROAD M                                                                                         EDGERTON              WI 53534‐9744
SCHNEEBERGER, PAUL                   22 ROYAL CREST DR                                                                                            HILTON HEAD ISLAND    SC 29928‐5506
SCHNEEBERGER, ROBBIE L               201 ALDEN DR 120                                                                                             JACKSONVILLE          NC 28546
SCHNEEBERGER, ROGER G                19491 W CHIPPEWA DR                                                                                          RODNEY                MI 49342‐9698
SCHNEEBERGER, STEVEN R               1401 E JASON RD                                                                                              SAINT JOHNS           MI 48879‐8153
SCHNEEBERGER, STEVEN RQAY            1401 E JASON RD                                                                                              SAINT JOHNS           MI 48879‐8153
SCHNEEG, WALTER L                    512 5TH AVE                                                                                                  LEHIGH ACRES          FL 33972‐3927
SCHNEEHAGEN, WILLIAM H               129 PONYTAIL LN                                                                                              TANEYTOWN             MD 21787‐1545
SCHNEEMANN JOHN (ESTATE OF) (492670) BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD            OH 44067
                                                                        PROFESSIONAL BLDG
SCHNEEMANN, REJEANNE M.              327 ST. IVES SOUTH                                                                                           LANSING              MI   48906‐1529
SCHNEEMANN, REJEANNE M.              327 SAINT IVES S                                                                                             LANSING              MI   48906‐1529
SCHNEEWEIS, EDWARD J                 10310 W TWIN OAKS DR                                                                                         SUN CITY             AZ   85351‐1860
SCHNEGG, MAUREEN N                   90 WINSTEAD RD                                                                                               ROCHESTER            NY   14609‐7721
SCHNEGGENBURGER, MARY                336 KINSEY AVE                                                                                               KENMORE              NY   14217‐1817
SCHNEIDER & COMPANY                  2600 EATON RAPIDS RD STE 200                                                                                 LANSING              MI   48911‐6354
SCHNEIDER ALFRED                     EICHTLENSTRASSE 30                                                                    CH‐8712 STAEFA
                                                                                                                           SWITZERLAND
SCHNEIDER ALICE                      2A26 HIDDEN SPRING LN                                                                                        APPLE RIVER          IL 61001‐9734
SCHNEIDER AUTOMATION INC             ONE HIGH ST                                                                                                  NORTH ANDOVER        MA 01845
SCHNEIDER BERND                      ZUR BAUERNWIESE 20                 63688 GEDERN
SCHNEIDER BERND                      ZUR BAUERNWIESE 20                                                                    63688 GEDERN GERMANY
SCHNEIDER CANADA INC
SCHNEIDER CARL W (459531)            WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                                           NEW YORK             NY   10038
SCHNEIDER CHARLES                    20619 SE 145TH ST                                                                                            RENTON               WA   98059‐8935
SCHNEIDER CHERYL                     2356 COUNTY HWY D                                                                                            JANESVILLE           WI   53548
SCHNEIDER DAVID                      SCHNEIDER, DAVID                   ELIAS SCHNEIDER                 49 W PROSPECT ST                          E BRUNSWICK          NJ   08816
SCHNEIDER DENNIS                     2958 HAMPTON CT                                                                                              WANTAGH              NY   11793‐4608
SCHNEIDER DENNIS W (494180)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                               NORFOLK              VA   23510
                                                                        STREET, SUITE 600
SCHNEIDER ELECTRIC CANADA            19 WATERMAN AVE                                                                       TORONTO CANADA ON
                                                                                                                           M4B 1Y2 CANADA
SCHNEIDER ELECTRIC FRANCE            14501 PRINCETON AVE                                                                                          MOORPARK             CA 93021‐1484
SCHNEIDER ELECTRIC FRANCE            1960 RESEARCH DR STE 100                                                                                     TROY                 MI 48083‐2162
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Name                           Address1                               Address2                        Address3                  Address4                 City                   State Zip
SCHNEIDER ELECTRIC SA          JULIE SASSER                           BEI SYSTRON DONNER INERTIAL     2700 SYSTRON DR.                                   MILAN                   TN 38358
SCHNEIDER ELLIOT (351688)      ANGELOS PETER G LAW OFFICE             115 BROADWAY FRNT 3                                                                NEW YORK                NY 10006‐1638
SCHNEIDER ENERGY               KEITH KALLSEN                          14400 HIGHWAY 34                                                                   FT. MORGAN              CO
SCHNEIDER EUGENE               SCHNEIDER, JOAN                        1060 1ST AVE STE 400                                                               KING OF PRUSSIA         PA 19406‐1336
SCHNEIDER EUGENE               SCHNIEDER, EUGENE                      1060 1ST AVE STE 400                                                               KING OF PRUSSIA         PA 19406‐1336
SCHNEIDER FRAN                 SCHNEIDER, FRAN                        1 EVES DRIVE SUITE 111                                                             MARLTON                 NJ 08053
SCHNEIDER FRANK                SCHNEIDER, FRANK                       1743 ROGER LAKE                                                                    KILA                    MT 59920
SCHNEIDER INDUSTRIES
SCHNEIDER JOE                  6240 ADAMSON DR                                                                                                           WATERFORD              MI 48329‐3000
SCHNEIDER JOHANNA              C/O BUSINESS ROUNDTABLE                1717 RHODE ISLAND AVE NW STE                                                       WASHINGTON             DC 20036‐3026
                                                                      800
SCHNEIDER JOHN                 66 OXFORD RD                                                                                                              GROSSE POINTE SHORES   MI   48236‐1829
SCHNEIDER JR, ADAM C           49 CHEROKEE TER                                                                                                           CEDARTOWN              GA   30125‐4357
SCHNEIDER JR, ARMIN            1734 UCEYLE AVE                                                                                                           OVERLAND               MO   63114‐2419
SCHNEIDER JR, ARTHUR           177 NORTH ST                                                                                                              MATTAPOISETT           MA   02739‐1224
SCHNEIDER JR, HAROLD R         321 MAPLEVIEW DRIVE                                                                                                       CHARLOTTE              MI   48813‐8120
SCHNEIDER JR, JACOB            133 SKYLINE DR                                                                                                            LAKEWOOD               NJ   08701‐5739
SCHNEIDER JR, ORVILLE          2540 N 71ST ST                                                                                                            WAUWATOSA              WI   53213‐1347
SCHNEIDER JR, WENZEL F         9608 W COUNTY ROAD A                                                                                                      EVANSVILLE             WI   53536‐9521
SCHNEIDER JUDITH MISEK         2806 ANDY CT                                                                                                              CROFTON                MD   21114‐3157
SCHNEIDER KARL (481284)        KELLEY & FERRARO LLP                   1300 EAST NINTH STREET , 1901                                                      CLEVELAND              OH   44114
                                                                      BOND COURT BUILDING
SCHNEIDER KASIMER L (361274)   GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                                        NORFOLK                VA 23510
                                                                      STREET, SUITE 600
SCHNEIDER LO/NON‐INV           3101 PACKERLAND DR                                                                                                        GREEN BAY              WI   54313‐6187
SCHNEIDER LOGISTICS            SCHNEIDER NATIONAL INC                 3101 PACKERLAND DR                                                                 GREEN BAY              WI   54313‐6187
SCHNEIDER LOGISTICS INC        2586 PAYSPHERE CIR                                                                                                        CHICAGO                IL   60674‐0025
SCHNEIDER LOWELL               348 W MARYKNOLL RD                                                                                                        ROCHESTER HILLS        MI   48309‐1942
SCHNEIDER MATHIAS              11315 SHIPWATCH LN APT 1852                                                                                               LARGO                  FL   33774‐3787
SCHNEIDER MILLER, PC           ATTY FOR VISSCHER‐CARAVELLE NA, INC.   ATTN: KENNETH M. SCHNEIDER      3900 PENOBSCOT BUILDING   645 GRISWOLD STREET      DETROIT                MI   48226

SCHNEIDER NATIONAL             KEVIN BREEDLOVE                        3101 PACKERLAND DR                                                                 GREEN BAY              WI 54313‐6187
SCHNEIDER NATIONAL INC         PO BOX 2545                                                                                                               GREEN BAY              WI 54306‐2545
SCHNEIDER NATIONAL INC         PO BOX 99419                                                                                                              CHICAGO                IL 60693‐9419
SCHNEIDER NATIONAL INC
SCHNEIDER NATIONAL INC         KAREN JOHNSON                          PO BOX 2545                                                                        GREEN BAY              WI   54306‐2545
SCHNEIDER NATL CARRIERS        KAREN JOHNSON                          PO BOX 2545                                                                        GREEN BAY              WI   54306‐2545
SCHNEIDER OPTICS INC           285 OSER AVE                                                                                                              HAUPPAUGE              NY   11788‐3609
SCHNEIDER OPTICS INC           PO BOX 269                                                                                                                LAUREL                 NY   11948‐0269
SCHNEIDER PROTOTYPING GMBH     SEEBER‐FLUR 10                                                                                   BAD KREUZNACH 55545
                                                                                                                                GERMANY
SCHNEIDER PROTOTYPING GMBH     SEEBER FLUR 10                                                                                   BAD KREUZNACH RP 55545
                                                                                                                                GERMANY
SCHNEIDER RAINER               STUEBEHEIDE 20                                                                                   22337 HAMBURG
SCHNEIDER RENATA               SCHNEIDER, RENATA                      1234 MARKET STREET SUITE 2040                                                      PHILADELPHIA           PA   19107
SCHNEIDER RICHARD              552 CROMWELL DRIVE                                                                                                        SPARTANBURG            SC   29301‐5041
SCHNEIDER ROBERT               SCHNEIDER, JENNIFER                    3877 N DEER LAKE RD                                                                LOON LAKE              WA   99148‐9665
SCHNEIDER ROBERT               SCHNEIDER, ROBERT                      3877 N DEER LAKE RD                                                                LOON LAKE              WA   99148‐9665
SCHNEIDER T H 1997 LTD         PO BOX 55                                                                                        BRESLAU CANADA ON N0B
                                                                                                                                1M0 CANADA
SCHNEIDER THOMAS LOUIS MD      SCHNEIDER, THOMAS LOUIS
SCHNEIDER TIFFANY              116 TRENTON DR                                                                                                            OAK RIDGE              TN 37830
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Name                       Address1                       Address2            Address3         Address4               City             State Zip
SCHNEIDER WALDEMAR         FORSTWEG 27                                                         63303 DREIEICH GERMANY
SCHNEIDER'S AUTOMOTIVE     607 E LOS ANGELES AVE                                                                      SIMI VALLEY      CA    93065‐1818
SCHNEIDER, ADAM            5410 W TONOPAH DR                                                                          GLENDALE         AZ    85308‐9123
SCHNEIDER, ALAN R          2356 COUNTY HWY D                                                                          JANESVILLE       WI    53548
SCHNEIDER, ALAN W          13325 W PRICE RD # 2                                                                       WESTPHALIA       MI    48894
SCHNEIDER, ALBERT L        1142 WILLOWWOOD DR                                                                         MILFORD          OH    45150‐2145
SCHNEIDER, ALENE           9858 DEERFIELD DRIVE                                                                       N HUNTINGDON     PA    15642‐2684
SCHNEIDER, ALVIN A         215 N CANAL RD LOT 99                                                                      LANSING          MI    48917‐8669
SCHNEIDER, AMY K           7516 HOLLYBROOK RD                                                                         GLEN BURNIE      MD    21061‐3810
SCHNEIDER, ANN C           6942 ANTIETAM CIR                                                                          INDIANAPOLIS     IN    46278‐1849
SCHNEIDER, ANN CHRISTINE   6942 ANTIETAM CIR                                                                          INDIANAPOLIS     IN    46278‐1849
SCHNEIDER, ANNA M          1654 CREVE COEUR MILL RD                                                                   SAINT LOUIS      MO    63146‐2004
SCHNEIDER, ANNE M          13203 ACADIA CV                                                                            FORT WAYNE       IN    46845‐9072
SCHNEIDER, ANTHONY J       6 KATHY LN                                                                                 HAWTHORN WOODS   IL    60047‐6805
SCHNEIDER, ANTON           43345 TEXAS AVE                                                                            PALM DESERT      CA    92211‐7523
SCHNEIDER, ARMELLA E       17307 BUECHE RD                                                                            NEW LOTHROP      MI    48460‐9604
SCHNEIDER, ARNALDA         C/O JOSEPH BUCHINSKIY          808 LAURAL AVENUE                                           SAN MATEO        CA    94401
SCHNEIDER, ARNOLD E        1350 VANN RD                                                                               BALDWINSVILLE    NY    13027‐9654
SCHNEIDER, ARTHUR          37 OAKRIDGE DR                                                                             WILLIAMSVILLE    NY    14221‐1723
SCHNEIDER, ARTHUR E        28815 SCHNEIDER LN                                                                         WRIGHT CITY      MO    63390‐3174
SCHNEIDER, BARBARA M       4909 W EDGERTON AVE APT 102                                                                GREENFIELD       WI    53220‐4849
SCHNEIDER, BARRY A         4930 W CLARK RD                                                                            LANSING          MI    48906‐9310
SCHNEIDER, BARRY H         125 CENTRAL ST                                                                             MANSFIELD        MA    02048‐1309
SCHNEIDER, BENJAMIN J      PO BOX 4337                                                                                WINTER HAVEN     FL    33885‐4337
SCHNEIDER, BERNARD F       733 LINCOLN CT                                                                             LANSING          MI    48917‐9261
SCHNEIDER, BERNARD R       4217 TEMPLAR RD                                                                            TOLEDO           OH    43613‐3932
SCHNEIDER, BETTY K         329 MELWOOD ST                                                                             HOT SPRINGS      AR    71901‐7125
SCHNEIDER, BONNIE L        4321 COUNTRY VILLAGE LANE      APT 207                                                     ROSCOMMON        MI    48653‐8628
SCHNEIDER, BONNIE L        826 DEER RUN BLVD                                                                          PRUDENVILLE      MI    48651‐9201
SCHNEIDER, BRADLEY
SCHNEIDER, BRENDA L        300 PARKWOOD DR APT V10                                                                  LANSING            MI    48917‐3210
SCHNEIDER, BRUCE E         8935 S WOOD CREEK DR APT 316                                                             OAK CREEK          WI    53154‐8608
SCHNEIDER, BRYAN J         806 ROSCOMMON ST                                                                         BOWLING GREEN      OH    43402‐2776
SCHNEIDER, CARL F          11800 BLACK PIKE                                                                         NEW CARLISLE       OH    45344‐9122
SCHNEIDER, CARL W          WEITZ & LUXENBERG P.C.         180 MAIDEN LANE                                           NEW YORK           NY    10038
SCHNEIDER, CARLOS C        928 MATLOCK RD                                                                           BOWLING GREEN      KY    42104‐7408
SCHNEIDER, CAROL E         8212 NE SANDY BLVD #6203                                                                 PORTLAND           OR    97220‐4945
SCHNEIDER, CAROLINE        10000 JOAN DR                                                                            MONTROSE           MI    48457
SCHNEIDER, CATHERINE M     7024 ALT ROUTE 49 E                                                                      ARCANUM            OH    45304
SCHNEIDER, CHARLES E       1820 W DEWEY RD                                                                          OWOSSO             MI    48867‐9156
SCHNEIDER, CHARLES G       3026 N 131ST ST                T                                                         KANSAS CITY        KS    66109‐3348
SCHNEIDER, CHARLES J       13037 E HAKE RD                                                                          WHITEWATER         WI    53190‐3549
SCHNEIDER, CHARLES M       21929 FIRWOOD AVE                                                                        EASTPOINTE         MI    48021‐2183
SCHNEIDER, CHARLES P       437 HERITAGE DR                                                                          DANVILLE           IN    46122‐1407
SCHNEIDER, CHARLOTTE       5173 DON SHENK DR                                                                        SWARTZ CREEK       MI    48473‐1207
SCHNEIDER, CHARLOTTE A     34 CAMELLIA DRIVE                                                                        ORMOND BEACH       FL    32176‐2402
SCHNEIDER, CHERYL R        2356 COUNTY HWY D                                                                        JANESVILLE         WI    53548
SCHNEIDER, CHERYL R        2356 S COUNTY ROAD D                                                                     JANESVILLE         WI    53548‐8567
SCHNEIDER, CLARENCE R      10000 JOAN DR                                                                            MONTROSE           MI    48457‐9738
SCHNEIDER, CLEMENT F       21605 OTTER RD                                                                           BELLEVILLE         MI    48111‐9665
SCHNEIDER, CLIFFORD LAW    10787 N HARDIN RD                                                                        PIQUA              OH    45356‐9708
SCHNEIDER, CONNIE B        2802 MARSHA DR                                                                           ANDERSON           IN    46012‐9640
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Name                        Address1                        Address2                      Address3   Address4         City              State Zip
SCHNEIDER, CORY H           17399 N 150 E                                                                             SUMMITVILLE        IN 46070‐9121
SCHNEIDER, CORY H           17399 N CO RD 150 E                                                                       SUMMITVILLE        IN 46070
SCHNEIDER, CRAIG D          4086 W COMMERCE RD                                                                        MILFORD            MI 48380‐3114
SCHNEIDER, CYNTHIA M        835 PORTAGE EASTERLY,N.E.                                                                 CORTLAND           OH 44410‐9558
SCHNEIDER, DALE M           8034 MOUNTAIN VW                                                                          WHITE LAKE         MI 48386‐3534
SCHNEIDER, DANIEL A         1802 GREENBROOK LN                                                                        FLINT              MI 48507‐2356
SCHNEIDER, DANIEL ALFRED    1802 GREENBROOK LN                                                                        FLINT              MI 48507‐2356
SCHNEIDER, DANIEL D         11780 GEDDES RD                                                                           SAGINAW            MI 48609‐9412
SCHNEIDER, DANIEL E         3228 BULAH DR                                                                             KETTERING          OH 45429‐4012
SCHNEIDER, DANIEL ERICH     3228 BULAH DR                                                                             KETTERING          OH 45429‐4012
SCHNEIDER, DANIEL P         9183 MAYFLOWER DR                                                                         PLYMOUTH           MI 48170‐3973
SCHNEIDER, DANIELLE         1019 CHELSEA LN                                                                           HOLIDAY            FL 34691‐5127
SCHNEIDER, DANNY P          2899 BARKMAN DR                                                                           WATERFORD          MI 48329‐2525
SCHNEIDER, DARLENE M        48611 LAKEVIEW E LOT 82                                                                   SHELBY TOWNSHIP    MI 48317‐2737
SCHNEIDER, DAVID            2825 WIENEKE RD APT 101                                                                   SAGINAW            MI 48603‐2696
SCHNEIDER, DAVID
SCHNEIDER, DAVID A          607 BALDWIN RD                                                                            MASON             MI   48854‐9309
SCHNEIDER, DAVID A          116 WARPAINT LN                                                                           WESTMINSTER       SC   29693‐6543
SCHNEIDER, DAVID C          204 MEADOWS CIR N                                                                         WIXOM             MI   48393‐4015
SCHNEIDER, DAVID C          502 NEWMAN ST                                                                             EAST TAWAS        MI   48730‐1251
SCHNEIDER, DAVID CLIFFORD   502 NEWMAN STREET                                                                         EAST TAWAS        MI   48730‐1251
SCHNEIDER, DAVID E          701 SW 29TH ST                                                                            BLUE SPRINGS      MO   64015‐3364
SCHNEIDER, DAVID K          114 WOODLAND RD                                                                           NEWARK            DE   19702‐1472
SCHNEIDER, DAVID KENNETH    114 WOODLAND RD                                                                           NEWARK            DE   19702‐1472
SCHNEIDER, DAVID L          4138 W COLEMAN RD                                                                         LAKE              MI   48632‐9752
SCHNEIDER, DAVID L          40304 W LOCOCO ST                                                                         MARICOPA          AZ   85238‐5137
SCHNEIDER, DAVID L          4138 WEST COLEMAN ROAD                                                                    LAKE              MI   48632‐9752
SCHNEIDER, DAVID LEE        40304 WEST LOCOCO STREET                                                                  MARICOPA          AZ   85238‐5137
SCHNEIDER, DELBERT J        W330S7670 HORSESHOE CT                                                                    MUKWONAGO         WI   53149‐9316
SCHNEIDER, DELORES T        46 WATERFRONT DR                                                                          BRICK             NJ   08724‐1344
SCHNEIDER, DELORIS          4420 KRILE RD                                                                             SUGAR GROVE       OH   43155‐9786
SCHNEIDER, DELORIS          4420 KRILE RD.                                                                            SUGAR GROVE       OH   43155‐9786
SCHNEIDER, DENISE M         53332 BUNNY LN                                                                            SHELBY TOWNSHIP   MI   48316‐2400
SCHNEIDER, DENNIS C         735 TANK FARM RD STE 290                                                                  SAN LUIS OBISPO   CA   93401
SCHNEIDER, DENNIS J         1113 HENDRICKSON BLVD                                                                     CLAWSON           MI   48017‐2330
SCHNEIDER, DENNIS W         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                            STREET, SUITE 600
SCHNEIDER, DIANE            73 BATTLE GREEN DR                                                                        ROCHESTER         NY   14624‐4933
SCHNEIDER, DIANE M          2594 S RIVER RD                                                                           SAGINAW           MI   48609‐5322
SCHNEIDER, DONALD A         BOX 231 436 N MAPLE                                                                       FOWLER            MI   48835
SCHNEIDER, DONALD A         514 RIVERSIDE DR                                                                          LINDEN            MI   48451‐9026
SCHNEIDER, DONALD E         2255 HENN HYDE RD NE                                                                      WARREN            OH   44484‐1243
SCHNEIDER, DONALD L         2691 HAMMAN DR                                                                            YOUNGSTOWN        OH   44511‐1825
SCHNEIDER, DONALD L         2537 MARSCOTT DR                                                                          CENTERVILLE       OH   45440‐2221
SCHNEIDER, DONALD P         51202 CATHRYN CT                CHERBROOKE VILLAGE                                        CHESTERFIELD      MI   48047‐1405
SCHNEIDER, DONALD R         11025 DAVISON RD                                                                          DAVISON           MI   48423‐8180
SCHNEIDER, DONNA            5820 BAYPOINTE BLVD                                                                       CLARKSTON         MI   48346‐3110
SCHNEIDER, DONNA            5820 BAYPOINT BLVD                                                                        CLARKSTON         MI   48346
SCHNEIDER, DONNA J          35131 DALE AVE                                                                            ZEPHYRHILLS       FL   33541‐2108
SCHNEIDER, DONNA M          APT 138                         1407 SKIPPER DRIVE                                        WATERFORD         MI   48327‐2499
SCHNEIDER, DONNA MARIE      292 GLEN BROOKE ROAD            APT # 13102                                               WATERFORD         MI   48327‐3208
SCHNEIDER, DONNA MARIE      292 GLENBROOKE APT 13102                                                                  WATERFORD         MI   48327‐2152
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Name                        Address1                       Address2              Address3       Address4         City               State Zip
SCHNEIDER, DOROTHY F        5810 GERALD AVENUE                                                                   CLEVELAND           OH 44129‐3308
SCHNEIDER, DOUGLAS M        RM 3‐220 GM BLDG               (PARIS)                                               DETROIT             MI 48202
SCHNEIDER, EARL R           5697 HOUSTON RD                                                                      EATON RAPIDS        MI 48827‐9597
SCHNEIDER, EDWARD C         5885 WEISS ST APT B14                                                                SAGINAW             MI 48603‐2792
SCHNEIDER, EDWARD J         216 BRADY ST RT 1                                                                    OAKLEY              MI 48649
SCHNEIDER, EDWIN J          1296 S CHESTER RD                                                                    CHARLOTTE           MI 48813‐9545
SCHNEIDER, ELEANOR B        516 W MULBERRY ST APT 12                                                             KOKOMO              IN 46901‐4461
SCHNEIDER, ELIZABETH        36724 LODGE DR                                                                       STERLING HEIGHTS    MI 48312‐3322
SCHNEIDER, ELIZABETH M      3413 WHITNEY AVENUE                                                                  FLINT               MI 48503‐3251
SCHNEIDER, ELLIOT           ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                   NEW YORK            NY 10006‐1638
SCHNEIDER, ELMER J          10748 W SANDS DR                                                                     SUN CITY            AZ 85373‐4006
SCHNEIDER, ERIC W           55646 MONROE DR                                                                      SHELBY TOWNSHIP     MI 48316‐1137
SCHNEIDER, ERICH L          50 EAST RD APT 5G                                                                    DELRAY BEACH        FL 33483‐7036
SCHNEIDER, ERNEST W         198 STEVENS ST                                                                       BRISTOL             CT 06010‐2767
SCHNEIDER, ERWIN W          4620 N TIPSICO LAKE RD                                                               HIGHLAND            MI 48357‐2031
SCHNEIDER, ETHELYN M        863 LATTA RD                                                                         ROCHESTER           NY 14612‐4048
SCHNEIDER, EVERETT J        321 NICOLE CT                                                                        PEWAUKEE            WI 53072‐2599
SCHNEIDER, FRANCES D        8440 RED LION 5 POINTS RD                                                            SPRINGBORO          OH 45066‐9605
SCHNEIDER, FRANCIS E        2881 S SHERMAN RD                                                                    REMUS               MI 49340‐9661
SCHNEIDER, FRANCIS G        20825 MEADOWBROOK RD                                                                 NORTHVILLE          MI 48167‐9009
SCHNEIDER, FRANCIS GERARD   20825 MEADOWBROOK RD                                                                 NORTHVILLE          MI 48167‐9009
SCHNEIDER, FRANK            1743 ROGERS LAKE RD                                                                  KILA                MT 59920‐9733
SCHNEIDER, FRANK W          829 FORDHAM ST                                                                       DELRAN              NJ 08075‐1224
SCHNEIDER, FRANKIE D        555 S HADLEY RD                                                                      ORTONVILLE          MI 48462‐8648
SCHNEIDER, FRANKLIN F       2625 CEDAR POINTE DR                                                                 JANESVILLE          WI 53546‐5453
SCHNEIDER, FREDERICK J      25 ANDREWS LN                                                                        NEW CARLISLE        OH 45344‐9063
SCHNEIDER, FRIEDMUT X       134 VERN LN                                                                          CHEEKTOWAGA         NY 14227‐1348
SCHNEIDER, GAIL F           1221 ROUNDHOUSE LN                                                                   ALEXANDRIA          VA 22314‐5909
SCHNEIDER, GARY J           14161 CHADWICK RD                                                                    PORTLAND            MI 48875‐9308
SCHNEIDER, GARY L           6386 S HINMAN RD                                                                     WESTPHALIA          MI 48894‐9233
SCHNEIDER, GARY R           1134 SAINT CHARLES AVE                                                               SAINT CHARLES       MO 63301‐2250
SCHNEIDER, GENE R           4151 THUNDERMUG RD                                                                   GRAYLING            MI 49738‐7176
SCHNEIDER, GEORGE           1105 E FAIRVIEW LN                                                                   ROCHESTER HILLS     MI 48306‐4125
SCHNEIDER, GEORGE A         2229 E LETTS ROAD                                                                    MIDLAND             MI 48642‐8642
SCHNEIDER, GEORGE A         2229 E LETTS RD                                                                      MIDLAND             MI 48642‐9484
SCHNEIDER, GEORGE E         10576 S AUSTIN ST                                                                    OAK CREEK           WI 53154‐6402
SCHNEIDER, GEORGE W         262 TRABOLD RD                                                                       ROCHESTER           NY 14624‐2258
SCHNEIDER, GERALD J         2850 CAMDEN DR                                                                       SAGINAW             MI 48603‐3125
SCHNEIDER, GLADYS V         482 N OAKHILL AVE                                                                    JANESVILLE          WI 53548‐3443
SCHNEIDER, GLORIA L         8250 EASTON RD                                                                       NEW LOTHROP         MI 48460
SCHNEIDER, GOLDIE M         2285 70TH ST SW                                                                      APPLETON            MN 56208‐1805
SCHNEIDER, GORDON A         3530 N FIVE LAKES RD                                                                 LAPEER              MI 48446‐8333
SCHNEIDER, GORDON W         PO BOX 169                                                                           IRONS               MI 49644‐0169
SCHNEIDER, GRACE E          7555 MARGARET ST                                                                     TAYLOR              MI 48180‐2407
SCHNEIDER, GREGORY G        6033 CAMPFIRE CIR                                                                    CLARKSTON           MI 48346‐2297
SCHNEIDER, H G CO           291 BROAD ST                                                                         WESTERVILLE         OH 43081‐1603
SCHNEIDER, HAROLD A         5807 GARY RD                                                                         CHESANING           MI 48616
SCHNEIDER, HAROLD A         740 S MAPLELEAF RD                                                                   LAPEER              MI 48446‐3539
SCHNEIDER, HAROLD H         629 LAVENDER ST                                                                      MONROE              MI 48162‐2854
SCHNEIDER, HAROLD R         5077 LAKEVIEW ST                                                                     MONTAGUE            MI 49437‐1475
SCHNEIDER, HAROLD W         17612 WALTER ST                                                                      LANSING              IL 60438‐2027
SCHNEIDER, HARRY D          2194 DUELLO RD                                                                       LAKE SAINT LOUIS    MO 63367
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Name                      Address1                          Address2               Address3   Address4         City                 State Zip
SCHNEIDER, HARTMUT F      1118 3RD ST                                                                          HERMOSA BEACH         CA 90254‐4901
SCHNEIDER, HARVEY G       11025 LAKEFIELD RD                                                                   SAINT CHARLES         MI 48655‐9566
SCHNEIDER, HELEN M        730 SCHOOL ST                                                                        CULVER                IN 46511‐1027
SCHNEIDER, HENRY F        1208 LINDSEY DR                                                                      ROSENBERG             TX 77471‐2218
SCHNEIDER, HENRY J        7604 DOLPHIN                                                                         DETROIT               MI 48239‐1013
SCHNEIDER, HENRY J        425 MAPLE ST                                                                         NILES                 OH 44446‐1824
SCHNEIDER, HERBERT        1078 MARIE RD                                                                        RYDAL                 PA 19046‐3415
SCHNEIDER, HERBERT A      292 LETTINGTON AVE                                                                   ROCHESTER             NY 14624‐2912
SCHNEIDER, HERBERT A      22148 CYNTHEANNE RD                                                                  NOBLESVILLE           IN 46060‐9649
SCHNEIDER, HERMAN J       PO BOX 119                                                                           WESTPHALIA            MI 48894‐0119
SCHNEIDER, HILDAGARD S    4904 KARINGTON PLACE CT                                                              ST LOUIS              MO 63129‐3129
SCHNEIDER, ILENE R        2656 WINDING WAY                                                                     PALM HARBOR           FL 34683‐2757
SCHNEIDER, IRENE F        92 E. JEFFREY PLACE                                                                  COLUMBUS              OH 43214‐1702
SCHNEIDER, JACQULYN S     3056 ELIZABETH ST                                                                    INDIANAPOLIS          IN 46234‐1615
SCHNEIDER, JAKOB          46736 FOX RUN DR                                                                     MACOMB                MI 48044‐3459
SCHNEIDER, JAMES A        141 HOMESTEAD DR                                                                     COLUMBIANA            OH 44408‐9559
SCHNEIDER, JAMES A        13867 W COMISKY CT                                                                   BOISE                 ID 83713‐1219
SCHNEIDER, JAMES D        317 COLLEGE AVE E                                                                    CARTHAGE              TN 37030‐1423
SCHNEIDER, JAMES D        11430 W HOWE RD                                                                      EAGLE                 MI 48822‐9799
SCHNEIDER, JAMES G        6106 CRABTREE LN                                                                     BURTON                MI 48519‐1304
SCHNEIDER, JAMES GERALD   6106 CRABTREE LN                                                                     BURTON                MI 48519‐1304
SCHNEIDER, JAMES H        5 WOODSFORD LN                                                                       SPENCERPORT           NY 14559‐9776
SCHNEIDER, JAMES L        796 QUIMBY RD                                                                        COLDWATER             MI 49036‐9522
SCHNEIDER, JAMES R        8804 S BLAIR RD                                                                      ASHLEY                MI 48806‐9707
SCHNEIDER, JAMES R        394 LEAR RD                                                                          AVON LAKE             OH 44012‐2079
SCHNEIDER, JAMES R        8432 REESE LN                                                                        ANN ARBOR             MI 48103‐9354
SCHNEIDER, JAMES V        14 CANTER CT                                                                         SAINT PETERS          MO 63376‐4277
SCHNEIDER, JAMES V        12760 MENOMINEE TRL                                                                  ROSCOE                 IL 61073‐9781
SCHNEIDER, JAMES W        C/O GOLDENBERG HELLER ANTOGNOLI   2227 S STATE RTE 157                               EDWARDSVILLE           IL 62025
                          AND ROWLAND P C
SCHNEIDER, JAMIE LYNN     927 SOUTH 96TH STREET                                                                MILWAUKEE            WI   53214‐2607
SCHNEIDER, JANET A        2255 HENN HYDE RD NE                                                                 WARREN               OH   44484‐1243
SCHNEIDER, JEANNE E       7628 STANDERS KNL                                                                    WEST CHESTER         OH   45069‐8198
SCHNEIDER, JEANNINE H     6749 N 21ST ST                                                                       PHOENIX              AZ   85016‐1103
SCHNEIDER, JEFFERY A      3863 BELVO RD                                                                        MIAMISBURG           OH   45342‐3936
SCHNEIDER, JENNIFER L     30688 SARAH MELISA DR                                                                CHESTERFIELD         MI   48051‐3790
SCHNEIDER, JEROME         PAUL HANLEY & HARLEY              1608 4TH ST STE 300                                BERKELEY             CA   94710‐1749
SCHNEIDER, JEROME D       415 W JEFFERSON ST                                                                   PEWAMO               MI   48873‐9782
SCHNEIDER, JOANN          4924 KILGORE RD                                                                      CROSWELL             MI   48422‐8569
SCHNEIDER, JOANNE         568 SOUTH TRANSIT STREET          APT 2                                              LOCKPORT             NY   14094
SCHNEIDER, JOANNE         568 S TRANSIT ST APT 2                                                               LOCKPORT             NY   14094‐5938
SCHNEIDER, JOANNE D       32077 WILLIAMSBURG ST                                                                SAINT CLAIR SHORES   MI   48082
SCHNEIDER, JOHN A         5770 W CUTLER RD                                                                     DEWITT               MI   48820‐9195
SCHNEIDER, JOHN C         PO BOX 1773                                                                          BAY CITY             MI   48706‐7773
SCHNEIDER, JOHN F         92 E JEFFREY PL                                                                      COLUMBUS             OH   43214‐1702
SCHNEIDER, JOHN H         48951 DENTON RD APT 202                                                              BELLEVILLE           MI   48111‐2137
SCHNEIDER, JOHN P         503 LAKE DR                                                                          VIRGINIA BEACH       VA   23451‐4408
SCHNEIDER, JOHN W         13453 AMMAN RD                                                                       CHESANING            MI   48616‐9454
SCHNEIDER, JOHN WILBUR    13453 AMMAN RD                                                                       CHESANING            MI   48616‐9454
SCHNEIDER, JOSEPH A       2767 LYONS RD                                                                        LYONS                MI   48851‐9708
SCHNEIDER, JOSEPH A       970 BURLINGHAM ST                                                                    OXFORD               MI   48371‐4502
SCHNEIDER, JOSEPH B       110 SOUTHEAST 11TH AVENUE                                                            FT LAUDERDALE        FL   33301‐2062
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Name                    Address1                            Address2                       Address3   Address4         City                  State Zip
SCHNEIDER, JOSEPH B     4811 NE 13TH TER                                                                               OAKLAND PARK           FL 33334‐4207
SCHNEIDER, JOSEPH C     249 WENCHRIS DR                                                                                CINCINNATI             OH 45215‐3507
SCHNEIDER, JOSEPH G     16513 GASPER RD                                                                                CHESANING              MI 48616‐9753
SCHNEIDER, JOSEPH G     6240 ADAMSON DR                                                                                WATERFORD              MI 48329‐3000
SCHNEIDER, JOSEPH R     2543 SAINT CLAIR RIVER DR                                                                      ALGONAC                MI 48001‐1190
SCHNEIDER, JULIE A      52671 ROYAL FOREST DR                                                                          SHELBY TWP             MI 48315‐2430
SCHNEIDER, JULIUS       106 CORRINE DR                                                                                 PENNINGTON             NJ 08534‐3501
SCHNEIDER, KAREN L      7537 CHATTERTON DR                                                                             INDIANAPOLIS           IN 46254‐9680
SCHNEIDER, KARL         KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                               CLEVELAND              OH 44114
                                                            BOND COURT BUILDING
SCHNEIDER, KARL W       2297 DAVID AVE                                                                                 PARMA                 OH 44134‐6541
SCHNEIDER, KASIMER L    GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK               VA 23510‐2212
                                                            STREET, SUITE 600
SCHNEIDER, KENNETH E    75 W LIBERTY ST                                                                                HERNANDO              FL   34442‐4855
SCHNEIDER, KENNETH J    5378 MUSKOPF RD                                                                                FAIRFIELD             OH   45014‐3226
SCHNEIDER, KENNETH R    52 LEUCKEL AVE                                                                                 TRENTON               NJ   08619‐3927
SCHNEIDER, KENNETH S    1511 VICTOR AVE                                                                                LANSING               MI   48910‐2564
SCHNEIDER, KEVIN        PO BOX 46                                                                                      REED CITY             MI   49677‐0046
SCHNEIDER, KEVIN D      14057 W PARKS RD                                                                               FOWLER                MI   48835‐9261
SCHNEIDER, KIM R        324 KEMP DR                                                                                    WENTZVILLE            MO   63385‐4681
SCHNEIDER, KURT G       7730 S KILKENNY DR                                                                             BRIGHTON              MI   48116‐6231
SCHNEIDER, LAURA B      9571 JEFFERSON RD                                                                              CLIFFORD              MI   48727
SCHNEIDER, LAWRENCE J   128 CAMILLE DR                                                                                 ROCHESTER             NY   14612‐4004
SCHNEIDER, LEE M        18990 8TH AVE                                                                                  CONKLIN               MI   49403‐9718
SCHNEIDER, LEO          3437 SUNDIAL DR                                                                                BULLHEAD CITY         AZ   86429‐7632
SCHNEIDER, LEO J        PO BOX 112                                                                                     SAINT CLAIR           MI   48079‐0112
SCHNEIDER, LEONARD A    855 W JEFFERSON ST LOT 199                                                                     GRAND LEDGE           MI   48837‐1371
SCHNEIDER, LEONARD H    3308 SKINNER HWY                                                                               MANITOU BEACH         MI   49253‐9717
SCHNEIDER, LILLIAN F    4204 HANCOCK DR                                                                                HOLT                  MI   48842‐1748
SCHNEIDER, LILLIAN F    4204 HANCOCK ST                                                                                HOLT                  MI   48842‐1748
SCHNEIDER, LINDA KAY    15792 OAKLEY RD                                                                                CHESANING             MI   48616‐9560
SCHNEIDER, LINDA R      1925 HUNTINGTON BLVD                                                                           GROSSE POINTE WOODS   MI   48236‐1981
SCHNEIDER, LISA A       PO BOX 457                                                                                     VAUGHN                WA   98394‐0457
SCHNEIDER, LOIS         5201 PAWNEE RD                                                                                 TOLEDO                OH   43613‐2417
SCHNEIDER, LOIS A       1427 W SAGINAW ST STE 200                                                                      EAST LANSING          MI   48823
SCHNEIDER, LORAINE      2581 E ADAMS CT APT 2                                                                          CUDAHY                WI   53110‐2181
SCHNEIDER, LOUIS H      2835 SILVERHILL DR                                                                             WATERFORD             MI   48329‐4423
SCHNEIDER, LOWELL C     348 W MARYKNOLL RD                                                                             ROCHESTER HILLS       MI   48309‐1942
SCHNEIDER, LUCENA G     11615 IVYWOOD LN                                                                               PORTLAND              MI   48875‐8503
SCHNEIDER, LUCENA GAY   11615 IVYWOOD LN                                                                               PORTLAND              MI   48875‐8503
SCHNEIDER, LYNDON P     5231 TIMBER BEND DR                                                                            BRIGHTON              MI   48116‐7797
SCHNEIDER, MARILYN B    1828 N MORTON TAYLOR RD                                                                        CANTON                MI   48187‐3477
SCHNEIDER, MARILYN J    11216 W FOREST HOME AVE                                                                        FRANKLIN              WI   53132‐1201
SCHNEIDER, MARILYN S    7381 T AVE E                                                                                   SCOTTS                MI   49088‐9746
SCHNEIDER, MARJORIE     679 BALLARDS RIDGE ROAD                                                                        SANBORNVILLE          NH   03872‐3500
SCHNEIDER, MARJORIE B   5325 SITKA ST                                                                                  BURTON                MI   48519‐1521
SCHNEIDER, MARK J       2101 SUNSET LN                                                                                 SAGINAW               MI   48604‐2443
SCHNEIDER, MARK L       1456 S JONES RD                                                                                PEWAMO                MI   48873‐9634
SCHNEIDER, MARK R       241 PARK DR                                                                                    CLAWSON               MI   48017‐1215
SCHNEIDER, MARLENE A    10644 SO AUSTIN ST                                                                             OAK CREEK             WI   53154‐6404
SCHNEIDER, MARLENE A    10644 S AUSTIN ST                                                                              OAK CREEK             WI   53154‐6404
SCHNEIDER, MARY         13750 STURGIS ROAD                                                                             ATLANTA               MI   49709
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Name                        Address1                         Address2           Address3         Address4         City               State Zip
SCHNEIDER, MARY E           8719 LANCASTER RD                                                                     INDIANAPOLIS        IN 46260‐1665
SCHNEIDER, MARY JANE        103 PARKVIEW PLACE                                                                    BELLEVUE            OH 44811‐9057
SCHNEIDER, MARY L           21605 OTTER RD                                                                        BELLEVILLE          MI 48111‐9665
SCHNEIDER, MARY P           9130 L‐191 GREENWAY                                                                   SAGINAW             MI 48609
SCHNEIDER, MATTHEW J        APT 183                          30985 DORCHESTER                                     NEW HUDSON          MI 48165‐9448
SCHNEIDER, MATTHEW S        STE 100                          19500 HALL ROAD                                      CLINTON TWP         MI 48038‐5317
SCHNEIDER, MELISSA S        17399 N. COUNTY ROAD, 150 EAST                                                        SUMMITVILLE         IN 46070
SCHNEIDER, MELISSA SUE      17399 N. COUNTY ROAD, 150 EAST                                                        SUMMITVILLE         IN 46070
SCHNEIDER, MELVIN L         1264 E MOUNT MORRIS RD                                                                MOUNT MORRIS        MI 48458‐2935
SCHNEIDER, MICHAEL F        31 N SCHENLEY AVE                                                                     YOUNGSTOWN          OH 44509‐2011
SCHNEIDER, MICHAEL R        835 PORTAGE EASTERLY RD                                                               CORTLAND            OH 44410‐9558
SCHNEIDER, MICHAEL R        835 PORTAGE‐EASTERLY RD.                                                              CORTLAND            OH 44410‐9558
SCHNEIDER, MICHAEL V        216 W KENNETT RD                                                                      PONTIAC             MI 48340‐2652
SCHNEIDER, MICHAEL W        2313 WIGEON DR                                                                        LAFAYETTE           IN 47905‐4084
SCHNEIDER, MILDRED          5441 PINE AIRES, BLDG 11                                                              STERLING HEIGHTS    MI 48314
SCHNEIDER, MITCHELL KEVIN   14057 W PARKS RD                                                                      FOWLER              MI 48835‐9261
SCHNEIDER, NANCY N          2263 GENERAL MOTORS RD                                                                MILFORD             MI 48380‐3643
SCHNEIDER, NEIL R           16917 RIDGE RD                                                                        HOLLEY              NY 14470‐9344
SCHNEIDER, NELLIE A         360 LAWNDALE AVE                                                                      AURORA               IL 60506‐3045
SCHNEIDER, NORMA L          300 WASHINGTON AVE                                                                    ELYRIA              OH 44035
SCHNEIDER, PATRICIA J       284 E MAIN ST                                                                         EVANSVILLE          WI 53536‐1155
SCHNEIDER, PATRICIA L       19681 SUMMERLIN RD J199                                                               FORT MYERS          FL 33908‐3873
SCHNEIDER, PATRICIA M       5932 GROVELINE DR                                                                     ORLANDO             FL 32810‐5024
SCHNEIDER, PAUL J           8537 PEET RD                                                                          CHESANING           MI 48616‐9757
SCHNEIDER, PAUL J           8537 PEET ROAD                                                                        CHESANING           MI 48616‐9757
SCHNEIDER, PAUL M           1703 LAGONDA AVENUE                                                                   SPRINGFIELD         OH 45503‐3915
SCHNEIDER, PETER A          2521 NAGAWICKA RD                                                                     HARTLAND            WI 53029‐8805
SCHNEIDER, PETER H          2651 BYRON CENTER AVE SW                                                              WYOMING             MI 49519‐2138
SCHNEIDER, PETER S          19734 MCKINNON ST                                                                     ROSEVILLE           MI 48066‐4524
SCHNEIDER, PETER SIMON      19734 MCKINNON ST                                                                     ROSEVILLE           MI 48066‐4524
SCHNEIDER, PHILLIP C        136 HARDING ST                                                                        CONKLIN             MI 49403‐8717
SCHNEIDER, RALPH            785 EDGEWOOD DR                                                                       ROCHESTER           MI 48306‐2633
SCHNEIDER, RALPH W          11265 MORRISH RD                                                                      GAINES              MI 48436‐9724
SCHNEIDER, RANDY L          13105 N LINDEN RD                                                                     CLIO                MI 48420‐8233
SCHNEIDER, RAYMOND H        3847 MCDONALD AVE                                                                     SAINT LOUIS         MO 63116‐4716
SCHNEIDER, RAYMOND L        24 ALVERNA CT                                                                         CROWLEY             TX 76036‐2001
SCHNEIDER, RAYMOND M        2722 56TH ST NW                                                                       ROCHESTER           MN 55901‐4189
SCHNEIDER, RAYMOND P        1133 MAPLE LEAF CT                                                                    CHARLOTTE           MI 48813‐7705
SCHNEIDER, RENEE C          34 CLIVE AVE                                                                          WATERFORD           MI 48328‐2800
SCHNEIDER, RICHARD A        5232 WITHERSPOON WAY                                                                  HOLT                MI 48842‐9579
SCHNEIDER, RICHARD A        4883 BIRKDALE DRIVE                                                                   COMMERCE TWP        MI 48382‐1581
SCHNEIDER, RICHARD A        2567 RETFORD DR                                                                       CINCINNATI          OH 45231‐1007
SCHNEIDER, RICHARD ALLEN    2567 RETFORD DR                                                                       CINCINNATI          OH 45231‐1007
SCHNEIDER, RICHARD C        151 STRATMORE ST                                                                      NEW CARLISLE        OH 45344‐2935
SCHNEIDER, RICHARD D        W546 MALCOVE LN                                                                       BRODHEAD            WI 53520‐8701
SCHNEIDER, RICHARD F        31405 RED OAK LN                                                                      WATERFORD           WI 53185‐2847
SCHNEIDER, RICHARD H        211 FLORAL WAY                                                                        O FALLON            MO 63368‐6883
SCHNEIDER, RICHARD K        333 N FRENCH RD                                                                       AMHERST             NY 14228‐2036
SCHNEIDER, RICHARD L        5212 GREEN BUSH CT                                                                    CENTERVILLE         OH 45429
SCHNEIDER, RICHARD L        142 HEIDELBERG CIR                                                                    CHAPIN              SC 29036‐7855
SCHNEIDER, RICHARD W        109 WORKINGTON                                                                        WILLIAMSBURG        VA 23188‐7485
SCHNEIDER, RITA J           10617 STATE RD                                                                        N ROYALTON          OH 44133‐1948
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Name                       Address1                       Address2            Address3         Address4         City                   State Zip
SCHNEIDER, ROBERT          1622 CEDARBROOK ST                                                                   LAKE PLACID             FL 33852‐5733
SCHNEIDER, ROBERT A        263 MOSS RD                                                                          WELLSTON                MI 49689‐9789
SCHNEIDER, ROBERT B        PO BOX 950705                                                                        MISSION HILLS           CA 91395‐0705
SCHNEIDER, ROBERT G        37232 SEYMOUR DR                                                                     PRAIRIE DU CHIEN        WI 53821‐8877
SCHNEIDER, ROBERT G        3283 HILLTOP DR                                                                      CLEVELAND               OH 44134‐5246
SCHNEIDER, ROBERT G        8000 SAILBOAT KEY BLVD         302ACONDO                                             ST PETE BEACH           FL 33707
SCHNEIDER, ROBERT H        2809 HAMRICK CT                                                                      SAN JOSE                CA 95121‐1641
SCHNEIDER, ROBERT J        PO BOX 217                                                                           CLEBURNE                TX 76033‐0217
SCHNEIDER, ROBERT L        468 PARKVIEW DR                                                                      HUBBARD                 OH 44425‐2228
SCHNEIDER, ROBERT M        2263 GENERAL MOTORS RD                                                               MILFORD                 MI 48380‐3643
SCHNEIDER, ROBYN           7605 WALL ST                                                                         SCHOFIELD               WI 54476‐4923
SCHNEIDER, ROGER           9666 MARSALLE RD                                                                     PORTLAND                MI 48875‐9690
SCHNEIDER, RON F           376 E PRICE RD                                                                       MIDLAND                 MI 48642‐7904
SCHNEIDER, RONALD F        34 WHITEHOUSE DR APT 1                                                               ROCHESTER               NY 14616‐5324
SCHNEIDER, RONALD F        45 STUDLEY ST                                                                        ROCHESTER               NY 14616
SCHNEIDER, RONALD G        7133 N KIDDER RD                                                                     JANESVILLE              WI 53545‐9552
SCHNEIDER, RONALD J        937 N JENISON AVE                                                                    LANSING                 MI 48915‐1312
SCHNEIDER, RONALD S        1377 W PARKS RD                                                                      SAINT JOHNS             MI 48879‐9279
SCHNEIDER, RONALD W        15136 TRAILS LANDING DR                                                              STRONGSVILLE            OH 44136
SCHNEIDER, ROSE M          176 BAYSIDE DR                                                                       PALM COAST              FL 32137‐8879
SCHNEIDER, ROSEMARY E      PO BOX 1148                                                                          OSAGE BEACH             MO 65065‐1148
SCHNEIDER, RYAN A.         3207 N ALTADENA AVE                                                                  ROYAL OAK               MI 48073‐3557
SCHNEIDER, SAMUEL J        16421 RIDGEVIEW                                                                      HOLLY                   MI 48442‐8392
SCHNEIDER, SANDRA L        2928 HAMELN DR                                                                       SAINT CHARLES           MO 63301‐4201
SCHNEIDER, SANDRA S        11110 DEMILLE RD                                                                     POLK CITY               FL 33868‐6900
SCHNEIDER, SHARON E        2480 N HUBBARDSTON RD                                                                PEWAMO                  MI 48873‐9721
SCHNEIDER, SHIRLEY D       1714 E. MIDLOTHIAN BLVD.                                                             YOUNGSTOWN              OH 44502‐4502
SCHNEIDER, SHIRLEY D       1714 E MIDLOTHIAN BLVD                                                               YOUNGSTOWN              OH 44502‐2906
SCHNEIDER, SHIRLEY J       3811 BLACK OAK LN                                                                    MONTGOMERY              TX 77316‐9401
SCHNEIDER, SHIRLEY L       37632 S CAPITOL CT                                                                   LIVONIA                 MI 48150‐5004
SCHNEIDER, STANLEY         6208 WINDSOR CT                                                                      NORTH RICHLAND HILLS    TX 76180‐8723
SCHNEIDER, STEPHANIE J     10404 HEGEL RD                                                                       GOODRICH                MI 48438‐9065
SCHNEIDER, STEPHANIE JOY   10404 HEGEL RD                                                                       GOODRICH                MI 48438‐9065
SCHNEIDER, STEVEN A        7864R DEXTER TRL                                                                     SAINT JOHNS             MI 48879
SCHNEIDER, SUSAN           147 NYMARK DR                                                                        ROCHESTER               NY 14626‐1275
SCHNEIDER, SUSAN A         28815 COLERIDGE ST                                                                   HARRISON TWP            MI 48045‐2266
SCHNEIDER, SUZANNE         22148 CYNTHEANNE RD                                                                  NOBLESVILLE             IN 46060‐9649
SCHNEIDER, TERRANCE        216 W LINCOLN ST                                                                     PEWAMO                  MI 48873
SCHNEIDER, TERRANCE E      PO BOX 4066                                                                          WILMINGTON              DE 19807‐0066
SCHNEIDER, TERRY L         3375 S WILLIAMS RD                                                                   SAINT JOHNS             MI 48879‐9163
SCHNEIDER, TERRY P         5226 SEYMOUR RD                                                                      SWARTZ CREEK            MI 48473‐1030
SCHNEIDER, THELMA O        5882 JASSAMINE DR                                                                    DAYTON                  OH 45449‐2966
SCHNEIDER, THERESA D       17313 LOCKWOOD RIDGE DR                                                              TAMPA                   FL 33647
SCHNEIDER, THOMAS C        453 MAIN RD                                                                          CORFU                   NY 14036‐9533
SCHNEIDER, THOMAS C        3125 GARDENIA DR                                                                     DAYTON                  OH 45449‐2911
SCHNEIDER, THOMAS J        5884 DEWHIRST DR                                                                     SAGINAW                 MI 48603‐8603
SCHNEIDER, THOMAS L        4055 BREAKWATER DR                                                                   OKEMOS                  MI 48864‐4411
SCHNEIDER, THOMAS W        38853 SUGAR RIDGE RD                                                                 N RIDGEVILLE            OH 44039‐3530
SCHNEIDER, TIMOTHY L       52671 ROYAL FOREST DR                                                                SHELBY TOWNSHIP         MI 48315‐2430
SCHNEIDER, TIMOTHY W       38915 SUGAR RIDGE RD                                                                 N RIDGEVILLE            OH 44039‐3532
SCHNEIDER, TODD M          918 FARNSWORTH ST                                                                    WHITE LAKE              MI 48386‐3225
SCHNEIDER, TOM A           1755 COUNTRY CORNER LN                                                               DAYTON                  OH 45458
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Name                                 Address1                           Address2               Address3   Address4         City             State Zip
SCHNEIDER, VERNE L                   1563 S RIVER RD                                                                       SAGINAW           MI 48609‐5324
SCHNEIDER, VIKTORIA                  4739 SILVERDALE RD                                                                    NORTH OLMSTED     OH 44070‐2629
SCHNEIDER, VINCENT H                 634 PINE TERRACE RD                                                                   CLARION           PA 16214
SCHNEIDER, VIRGINIA J.               9213 RIVERVIEW LN                                                                     FREMONT           WI 54940‐9640
SCHNEIDER, VIRGINIA M                1685 N CHIPMAN ROAD                                                                   OWOSSO            MI 48867‐4807
SCHNEIDER, WALTER                    150 QUEBEC ST                      APT. 212 E                                         DENVER            CO 80230
SCHNEIDER, WALTER R                  23540 FLO ST                                                                          WARREN            MI 48091‐1801
SCHNEIDER, WALTER W                  204 NARCISSUS ARBORETUM                                                               CASWELL BEACH     NC 28465
SCHNEIDER, WANDA J                   6223 LINWOOD DR                                                                       ODESSA            TX 79762‐5041
SCHNEIDER, WARREN W                  244 OAK CIR                                                                           LAKE CITY         TN 37769‐5201
SCHNEIDER, WAYNE F                   12426 N WOODLAWN DR                                                                   MOORESVILLE       IN 46158‐6178
SCHNEIDER, WILLIAM A                 1200 S SUNDERLAND RD                                                                  SPENCERVILLE      OH 45887‐9720
SCHNEIDER, WILLIAM C                 751 CAMBRIDGE DR                                                                      JANESVILLE        WI 53548‐2792
SCHNEIDER, WILLIAM D                 4601 E M‐71                                                                           CORUNNA           MI 48817
SCHNEIDER, WILLIAM DEAN              4601 E M‐71                                                                           CORUNNA           MI 48817
SCHNEIDER, WILLIAM E                 6633 CHURCHMAN AVE                                                                    INDIANAPOLIS      IN 46237‐3549
SCHNEIDER, WILLIAM J                 3887 ARLINGTON AVENUE                                                                 HAMILTON          OH 45015‐1901
SCHNEIDER, WILLIAM K                 35 WEST MAPLE LANE                                                                    MILTON            WI 53563‐1643
SCHNEIDER, WILLIAM M                 4316 PONDVIEW DR                                                                      SWARTZ CREEK      MI 48473‐9197
SCHNEIDER, WILLIAM M                 690 N BON AIR AVE                                                                     YOUNGSTOWN        OH 44509‐1809
SCHNEIDER, WILLIAM N                 2360 ROSEWOOD DR                                                                      WATERFORD         MI 48328‐1848
SCHNEIDER, WILLIAM R                 19200 SPACE CENTER BLVD APT 1317                                                      HOUSTON           TX 77058‐3851
SCHNEIDER,RICHARD L                  1870 W ALEV BELL RD                                                                   DAYTON            OH 45459‐1106
SCHNEIDER‐FLYNN, CHRISTINE A         5630 REVERE DR                                                                        NORTH OLMSTED     OH 44070‐4472
SCHNEIDER‐VIERS, MARY S              5641 BURKHART RD                                                                      DAYTON            OH 45431‐5431
SCHNEIDERHAN, MAREA                  4428 MCCANDLISH RD                                                                    GRAND BLANC       MI 48439‐1808
SCHNEIDERS TIRE & AUTOMOTIVE SERVICE 2260 S WW WHITE RD                                                                    SAN ANTONIO       TX 78222‐1919

SCHNEIDERS, JOHN M                   4350 SCHRUBB DR                                                                       KETTERING        OH   45429‐1354
SCHNEIDEWIND, DALE R                 647 SUNSET BOULEVARD                                                                  SANDUSKY         MI   48471‐9709
SCHNEIDEWIND, EDWARD A               325 BUENAVENTURA BLVD                                                                 KISSIMMEE        FL   34743‐5301
SCHNEIDEWIND, HAROLD R               3734 AKRON RD                                                                         AKRON            MI   48701‐9514
SCHNEIDEWIND, ROSE A                 647 SUNSET BLVD                                                                       SANDUSKY         MI   48471
SCHNEIDMILLER, FRED H                3226 MACKINAW ST                                                                      SAGINAW          MI   48602‐3247
SCHNEIDMILLER, LUCILE                3570 ANNCHESTER DR                 C/O KAY J. FETTING                                 SAGINAW          MI   48603‐2500
SCHNEIDMULLER, LOUISE V              14306 S PARK BLVD                                                                     SHAKER HEIGHTS   OH   44120‐1328
SCHNEIDT, FAYE                       1962 PINE CT                                                                          WATERFORD        MI   48328‐1029
SCHNEIDTMILLER LISA                  SCHNEIDTMILLER, LISA               8713 REDCOAT CT                                    LOUISVILLE       KY   40291‐2680
SCHNEIDTMILLER, LISA                 8713 REDCOAT CT                                                                       LOUISVILLE       KY   40291
SCHNEIER, ANGELA D                   4310 PORTLAND LAKE DR                                                                 FLORISSANT       MO   63034‐3447
SCHNEIER, FRANCES J                  1523 CHARMAINE DR                                                                     TERRE‐DU‐LAC     MO   63628‐9361
SCHNEIER, JEFFREY W                  29 WELLS FARGO DR                                                                     SAINT PETERS     MO   63376‐2551
SCHNEIKART, PETE E                   1120 SHAWNEE TRL                                                                      YOUNGSTOWN       OH   44511‐1346
SCHNEIRLA, AMY L                     10751 CANADA WAY                                                                      BIRCH RUN        MI   48415‐8471
SCHNEIRLA, BETTY ANN                 3347 OAKWOOD AVE                                                                      SAGINAW          MI   48601
SCHNEIRLA, PEGGY J                   9103 N UNION ST LOT 125                                                               TECUMSEH         MI   49286‐1069
SCHNEIRLA, PEGGY J                   9103 NORTH UNION STREET #125                                                          TECUMSEH         MI   49286‐1069
SCHNEITER, MARIANNE                  59521 LONG LAKE RD                                                                    COLON            MI   49040‐9351
SCHNELKER, DAVID E                   14080 EATON HOLLOW AVENUE                                                             MOORPARK         CA   93021‐5016
SCHNELKER, HENRY A                   1174 PICCADILLY RD                                                                    TRAVERSE CITY    MI   49684‐8671
SCHNELKER, RICHARD T                 4078 TOWNSHIP ROAD 51                                                                 GALION           OH   44833
SCHNELL DOUG                         SCHNELL, DOUG                      99009 E. LANSING RD.                               DURAND           MI   48429
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Name                       Address1                       Address2               Address3      Address4         City            State Zip
SCHNELL JR, CHARLES        700 N ROCKY RIVER DR                                                                 BEREA            OH 44017‐1630
SCHNELL JR, JOHN H         291 TIMBERHILL AVE                                                                   BOWLING GREEN    KY 42103‐9069
SCHNELL JR, JOHN HOWARD    291 TIMBERHILL AVE                                                                   BOWLING GREEN    KY 42103‐9069
SCHNELL JR, NORMAN W       1727 PARISH RD                                                                       KAWKAWLIN        MI 48631‐9460
SCHNELL SERVICE CTR INC    2611 INGELHART ST                                                                    SAGINAW          MI 48601‐3255
SCHNELL, ALLEN E           47681 ZUNIC DR                                                                       FREMONT          CA 94539‐7582
SCHNELL, BEVERLY JOYCE     17 PERKINS DR                                                                        PRESCOTT         AZ 86301‐8458
SCHNELL, BRUCE M           81 LEONARD ST                                                                        LACKAWANNA       NY 14218‐2008
SCHNELL, CHARLES H         7688 WILDER RD                                                                       VASSAR           MI 48768‐9764
SCHNELL, DENNIS R          2530 RINGLE RD                                                                       VASSAR           MI 48768‐9731
SCHNELL, DIANE D           3313 BRADFORD RD                                                                     VASSAR           MI 48768‐9032
SCHNELL, DOUG              99009 E. LANSING RD.                                                                 DURAND           MI 48429
SCHNELL, DOUGLAS H         16950 STUART RD                                                                      CHESANING        MI 48616‐9744
SCHNELL, ELMER M           610 DELTA RD ROUTE 1                                                                 FREELAND         MI 48623
SCHNELL, ETHEL M           7661 SHETLAND DR                                                                     SAGINAW          MI 48609‐4275
SCHNELL, EUGENE H          3888 KIRK RD                                                                         VASSAR           MI 48768‐9771
SCHNELL, GARY R            16540 WHITEHEAD RD                                                                   LAGRANGE         OH 44050‐9583
SCHNELL, GEORGE T          16 N PEARL ST                                                                        JANESVILLE       WI 53548‐6504
SCHNELL, HANS J            PO BOX 630812                                                                        LITTLETON        CO 80163‐0812
SCHNELL, HENRY F           35 COSHWAY PL                                                                        TONAWANDA        NY 14150‐5214
SCHNELL, HOWARD C          16950 STUART RD                                                                      CHESANING        MI 48616‐9744
SCHNELL, HOWARD CLARENCE   16950 STUART RD                                                                      CHESANING        MI 48616‐9744
SCHNELL, JAMES W           14510 ABBEY LN APT B3                                                                BATH             MI 48808‐7724
SCHNELL, JANET V           286 HEDSTROM DR                                                                      BUFFALO          NY 14226
SCHNELL, JOHN E            30630 DROUILLARD RD LOT 110                                                          WALBRIDGE        OH 43465‐1534
SCHNELL, JOHN E            3313 BRADFORD RD                                                                     VASSAR           MI 48768‐9032
SCHNELL, KATHLEEN A        14510 ABBEY LN APT B3                                                                BATH             MI 48808‐7724
SCHNELL, KENNETH J         8712 PEET RD                                                                         CHESANING        MI 48616‐9795
SCHNELL, KENNETH JOSEPH    8712 PEET RD                                                                         CHESANING        MI 48616‐9795
SCHNELL, LARRY W           PO BOX 75                      9434 WEST GENESEE ST                                  NEW LOTHROP      MI 48460‐0075
SCHNELL, MARION T          14 LESHNER LANE                                                                      BURLINGTON       NJ 08016‐3843
SCHNELL, MARION T          14 LESHNER LN                                                                        BURLINGTON       NJ 08016‐3843
SCHNELL, MARK A            2658 PARAMOUNT CIR                                                                   WESTFIELD        IN 46074‐4400
SCHNELL, MICHAEL G         314 E 15TH ST                                                                        ALLIANCE         NE 69301‐2654
SCHNELL, MICHAEL GEORGE    314 EAST 15TH STREET                                                                 ALLIANCE         NE 69301‐2654
SCHNELL, MICHAEL J         4337 MACKINAW RD                                                                     SAGINAW          MI 48603‐3111
SCHNELL, PAUL J            7404 CRAIGMERE DRIVE                                                                 CLEVELAND        OH 44130‐5347
SCHNELL, RANDY A           3805 COLUMBUS AVE                                                                    SANDUSKY         OH 44870‐5722
SCHNELL, RAYMOND L         15101 MCKEIGHAN RD                                                                   CHESANING        MI 48616‐9616
SCHNELL, RAYMOND LOUIS     15101 MCKEIGHAN RD                                                                   CHESANING        MI 48616‐9616
SCHNELL, ROBERT C          16712 ADMIRAL                                                                        FRASER           MI 48026‐3208
SCHNELL, ROBERT L          16705 LINCOLN RD                                                                     CHESANING        MI 48616‐9723
SCHNELL, ROSE A            41 TWINSHORE CT                                                                      CARMEL           IN 46033‐3642
SCHNELL, RUSSELL N         5602 MICHAEL DR                                                                      BAY CITY         MI 48706‐3167
SCHNELL, STEPHEN G         21 CROOKED STICK PL                                                                  MONROE           NJ 08831‐8898
SCHNELL, TIMOTHY J         6868 E DEAD CREEK RD                                                                 WARNERS          NY 13164‐9717
SCHNELL, TRISHA M          8712 PEET RD                                                                         CHESANING        MI 48616
SCHNELL, WILLARD E         PO BOX 284                                                                           FATE             TX 75132‐0284
SCHNELL, WILLIAM F         4942 DIENER RD                                                                       HEMLOCK          MI 48626‐9644
SCHNELL, WILLIAM R         3626 BRUMLEY WAY                                                                     CARMEL           IN 46033‐3020
SCHNELLBACH JR, ROBERT H   14701 ROBINSON RD                                                                    NEWTON FALLS     OH 44444‐9607
SCHNELLBACH, ROBERT H      14635 ROBINSON RD                                                                    NEWTON FALLS     OH 44444‐9614
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Name                           Address1                        Address2                        Address3   Address4         City              State Zip
SCHNELLER, ERIC C              5046 BRETT CT                                                                               FREMONT            CA 94538‐2401
SCHNELLER, MICHAEL J           7831 MULGRAVE DR                                                                            SAGINAW            MI 48609‐9545
SCHNELLINGER, ROSEMARIE V      558 PARKLAND DR                                                                             ROCHESTER HILLS    MI 48307‐3446
SCHNEPF, DONNA L               7201 SPRING LAKE TRL                                                                        SAGINAW            MI 48603‐1676
SCHNEPF, GEORGE A              5171 KENORA DR                                                                              SAGINAW            MI 48604‐9471
SCHNEPF, JOHN D                702 FOXBORO RD                                                                              SAGINAW            MI 48638‐6214
SCHNEPF, JOHN M                7201 SPRING LAKE TRL                                                                        SAGINAW            MI 48603‐1676
SCHNEPF, RICHARD L             4620 S MERIDIAN ST                                                                          INDIANAPOLIS       IN 46217‐3448
SCHNEPP SHIRLEY                SCHNEPP, SHIRLEY                10 LANE DR                                                  BRADFORD           PA 16701‐2837
SCHNEPP, BEVERLY J             9113 DEL RIO DR                                                                             GRAND BLANC        MI 48439‐8384
SCHNEPP, BRUCE A               8800 N 100 E                                                                                DECATUR            IN 46733‐8459
SCHNEPP, DANIEL K              110 S EAST ST                                                                               PENDLETON          IN 46064‐1210
SCHNEPP, DANIEL KAYE           110 S EAST ST                                                                               PENDLETON          IN 46064‐1210
SCHNEPP, DOROTHY H             2400 CRYSTAL COVE LANE 212                                                                  DESTIN             FL 32550‐4872
SCHNEPP, GARY D                1414 E CEDAR ST                                                                             ALLENTOWN          PA 18109‐2308
SCHNEPP, KENNETH B             9113 DEL RIO DR                                                                             GRAND BLANC        MI 48439‐8384
SCHNEPP, MICHELE M             9057 NEWCASTLE DR                                                                           SHREVEPORT         LA 71129‐5123
SCHNEPP, ROBERT L              9057 NEWCASTLE DR                                                                           SHREVEPORT         LA 71129‐5123
SCHNEPP, RONALD D              4477 HAPPY HOLLOW ST SW                                                                     GRANDVILLE         MI 49418‐9623
SCHNEPP, SHIRLEY               10 LANE ST                                                                                  BRADFORD           PA 16701‐2837
SCHNEPP, TIMOTHY J             427 E STATE ST                                                                              PENDLETON          IN 46064
SCHNERING FRED (447549)        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                               PROFESSIONAL BLDG
SCHNERING, FRED                BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD        OH 44067
                                                               PROFESSIONAL BLDG
SCHNERINGER, RONALD E          4350 W TILDEN ST                                                                            SPRINGFIELD       MO   65802‐5689
SCHNETTLER GREGORY             SCHNETTLER, DIANA               47 ISLAND PARK DR                                           GRAND ISLAND      NY   14072‐3231
SCHNETTLER GREGORY             SCHNETTLER, GREGORY             47 ISLAND PARK DRIVE                                        GRAND ISLAND      NY   14072
SCHNETTLER, BEULAH L           4495 CALKINS RD APT 216         GENESEE GARDENS                                             FLINT             MI   48532‐3575
SCHNETTLER, CAROL F            4428 ESTA DRIVE                                                                             FLINT             MI   48506‐1454
SCHNETTLER, DIANA              47 ISLAND PARK DR                                                                           GRAND ISLAND      NY   14072‐3231
SCHNETTLER, DIANE              3106 WESTSHORE DR                                                                           BAY CITY          MI   48706
SCHNETTLER, GREGORY            47 ISLAND PARK DR                                                                           GRAND ISLAND      NY   14072‐3231
SCHNETTLER, MARTIN H           5013 TURNER PINE DR                                                                         PRESCOTT          MI   48756‐9592
SCHNETTLER, NORMA A            4428 ESTA DR                                                                                FLINT             MI   48506‐1454
SCHNETTLER, ROBERT A           8946 SHERIDAN RD                                                                            MILLINGTON        MI   48746‐9653
SCHNETTLER, ROBERT J           630 W MUNGER RD                                                                             MUNGER            MI   48747‐9770
SCHNETTLER, ROBERT JAY         630 W MUNGER RD                                                                             MUNGER            MI   48747‐9770
SCHNETTLER, THOMAS O           706 S MCLELLAN ST                                                                           BAY CITY          MI   48708‐7576
SCHNETTLER, VERN R             61 PERIWINKLE DR                                                                            OLMSTED FALLS     OH   44138‐3044
SCHNETTLER, WAYNE A            646 W MUNGER RD                                                                             MUNGER            MI   48747‐9770
SCHNETZER, JAMES E             5938 CHIMNEY ROCK DR                                                                        HOSCHTON          GA   30548‐4123
SCHNETZLER, JANNICE M          213 COUNTRY CLUB DR APT 15                                                                  SIMI VALLEY       CA   93065‐6620
SCHNETZLER, ROBERT L           1095 PIUS                                                                                   SAGINAW           MI   48603‐6563
SCHNETZLER, ROBERT L           1095 PIUS ST                                                                                SAGINAW           MI   48638‐6563
SCHNICK, CARL J                1110 E 6 MILE CREEK RD                                                                      OWOSSO            MI   48867‐9653
SCHNICKE, JONATHAN FREDERICK   6805 MECHANICS ST                                                                           BELDING           MI   48809‐9211
SCHNIEB, LEWIS W               PO BOX 293                                                                                  BURLINGTON        IN   46915‐0293
SCHNIEB, LEWIS W               BOX 293                                                                                     BURLINGTON        IN   46915‐0293
SCHNIEDER BARRY                4930 W CLARK RD                                                                             LANSING           MI   48906‐9310
SCHNIEDERMAN SHERI             3 OLD QUARRY RD                                                                             ENGLEWOOD         NJ   07631‐5122
SCHNIEDERS, HERMAN B           10815 JOPPA RD                                                                              BERLIN HEIGHTS    OH   44814‐9570
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Name                        Address1                      Address2                     Address3   Address4         City               State Zip
SCHNIEDERS, RICHARD H       19962 BLACKFOOT DR                                                                     CLINTON TWP         MI 48038‐5573
SCHNIEDERS, THOMAS A        4338 GAPSCH LN                                                                         SAINT LOUIS         MO 63125‐4218
SCHNIER, RUTH J             7380 LEISURE LN                                                                        MASON               OH 45040‐3471
SCHNIERS, DANIEL R          9674 DOWNING RD                                                                        BIRCH RUN           MI 48415‐9734
SCHNIERS, ROBERT C          G 16482 DAWNLIGHT DR.                                                                  FENTON              MI 48430
SCHNIERS, STANLEY E         PO BOX 87                                                                              GERMANTOWN           IL 62245‐0087
SCHNIPKE, ALAN J            8779 SHENK RD                                                                          DELPHOS             OH 45833‐9524
SCHNIPKE, ALPHONSE H        19886 RD 18‐S                                                                          COLUMBUS GRV        OH 45830
SCHNIPKE, ALVIN L           12592 ROAD 24                                                                          CLOVERDALE          OH 45827‐9754
SCHNIPKE, ALVIN LEE         12592 ROAD 24                                                                          CLOVERDALE          OH 45827‐9754
SCHNIPKE, DANIEL P          12899 STATE ROUTE 224                                                                  OTTAWA              OH 45875‐9204
SCHNIPKE, GARY P            14715 COUNTY ROAD 209                                                                  DEFIANCE            OH 43512‐9357
SCHNIPKE, GARY PAUL         14715 COUNTY ROAD 209                                                                  DEFIANCE            OH 43512‐9357
SCHNIPKE, JOYCE A.          17257 STATE ROUTE 694                                                                  OTTAWA              OH 45875‐9214
SCHNIPKE, KATHLEEN A        1066 MADISON BLVD                                                                      VAN WERT            OH 45891‐2552
SCHNIPKE, KENNETH J         16745 ROAD Z                                                                           COLUMBUS GRV        OH 45830‐9804
SCHNIPKE, KRIS A            20845 ROAD M                                                                           CLOVERDALE          OH 45827‐9416
SCHNIPKE, KRIS ALAN         20845 ROAD M                                                                           CLOVERDALE          OH 45827‐9416
SCHNIPKE, MARK J            PO BOX 253                    407 BRADFORD CT.                                         OTTOVILLE           OH 45876‐0253
SCHNIPKE, PAMELA M          17497 STATE ROUTE 66                                                                   FORT JENNINGS       OH 45844‐9587
SCHNIPKE, RALPH A           ROUTE 1                                                                                CLOVERDALE          OH 45827
SCHNIPKE, SHAUN M           PO BOX 130                    205 MAIN ST                                              OAKWOOD             OH 45873‐0130
SCHNIPKE, SONDRA K          1303 KELSEY AVE                                                                        LANSING             MI 48910‐2503
SCHNIPKE, STEPHEN C         8428 STATE ROUTE 109                                                                   OTTAWA              OH 45875‐8640
SCHNITGER, WAYNE A          52 FOXMOOR RD                                                                          TROY                VA 22974‐3293
SCHNITKER FREDERICK JOHN    SCHNITKER, FREDERICK JOHN     1950 SAWTELLE BLVD STE 245                               LOS ANGELES         CA 90025‐7017
SCHNITKER, DORIS J          215 S LAKESHORE DR UNIT 5                                                              LUDINGTON           MI 49431‐2076
SCHNITKER, FREDERICK JOHN   CONSUMER LEGAL SERVICES       1950 SAWTELLE BLVD STE 245                               LOS ANGELES         CA 90025‐7017
SCHNITKER, KYLIE            7400 N 16TH ST                                                                         LINCOLN             NE 68521‐9021
SCHNITTJER DALE & VICKI     191 QUEENS GARDEN DRIVE                                                                THOUSAND OAKS       CA 91361‐5328
SCHNITTKE II, CARL F        495 RUDY RD                                                                            MANSFIELD           OH 44903‐8038
SCHNITTKE, CARL F           495 RUDY RD                                                                            MANSFIELD           OH 44903‐8038
SCHNITTKER JR, ALVIN C      3396 ZUDELL CT                                                                         EAST TAWAS          MI 48730‐9450
SCHNITTKER, JASON L         5681 PINETREE DRIVE           LOT 26                                                   MILLINGTON          MI 48746
SCHNITTKER, JASON LEE       5681 PINETREE DRIVE           LOT 26                                                   MILLINGTON          MI 48746
SCHNITTKER, RICKY L         4800 CAINE RD                                                                          VASSAR              MI 48768‐9131
SCHNITZER, GARY L           7975 CRAWFORD MORROW COUNTY                                                            GALION              OH 44833
SCHNITZER, HELEN R          909 GREENFIELD DR                                                                      MANSFIELD           OH 44904‐2117
SCHNITZER, WALTER L         138 CANTERBURY CT                                                                      COLUMBIANA          OH 44408‐8457
SCHNITZKE EMIL & CONNIE     2447 LA COSTA DRIVE                                                                    SANTA MARIA         CA 93455‐1688
SCHNITZLEIN JR, CHARLES E   700 SHORE DR UNIT 202                                                                  FALL RIVER          MA 02721‐1061
SCHNITZLER, WINFRIED        3742 QUARTON RD                                                                        BLOOMFIELD HILLS    MI 48302‐4037
SCHNIZLEIN, CHRISTY L       1818 S CITRUS CV                                                                       MESA                AZ 85204‐7324
SCHNOB, GILES               6152 GOLF CLUB RD                                                                      HOWELL              MI 48843‐9012
SCHNOB, GUY                 3941 WINTERWOOD DR                                                                     HOWELL              MI 48843‐9415
SCHNOB, JOHN L              532 HUNTERS TRL                                                                        GREENWOOD           IN 46142‐1568
SCHNOB, KATRINA L           199 ACADEMY ST                                                                         GREENWOOD           IN 46143‐1331
SCHNOBLEN, CHARLES          15971 30 MILE RD                                                                       RAY                 MI 48096‐1007
SCHNOBRICH, ELIZABETH J     9517 E NAVAJO PL                                                                       SUN LAKES           AZ 85248‐7025
SCHNOBRICH, ELIZABETH J     9517 NAVAJO PL                                                                         SUN LAKES           AZ 85248‐7025
SCHNOBRICK, PAUL J          3492 MEMBERS CLUB BLVD SE                                                              SOUTHPORT           NC 28461‐8029
SCHNOEBELEN, ROBERT L       PO BOX 447                                                                             BUTLER              MO 64730
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Name                                   Address1                             Address2                     Address3   Address4         City              State Zip
SCHNOES, PAUL J                        16414 ON PAR BLVD                                                                             FORT MYERS         FL 33908‐2827
SCHNOOBERGER, JON E                    2310 BAYLINE                                                                                  DICKINSON          TX 77539
SCHNOOR, JEANETTE C                    2939 ALTA DR                                                                                  NATIONAL CITY      CA 91950‐7806
SCHNOPLE, LEONA                        404 N JOHNSON ST                                                                              BAY CITY           MI 48708‐6778
SCHNOPLE, THOMAS J                     7365 N GLEANER RD                                                                             FREELAND           MI 48623‐9240
SCHNORBERGER, GAIL A                   201 W BIG BEAVER RD STE 600          C/O ALAN A. MAY                                          TROY               MI 48084‐4161
SCHNORBERGER, RUSSELL E                9525 SCOT ST                                                                                  HUDSON             FL 34669‐3778
SCHNORBUS, LEONARD W                   534 NIGHTINGALE LN                                                                            SAINT LOUIS        MO 63123‐7610
SCHNORK
SCHNORR CORPORATION                    4355 VARSITY DR STE A                                                                         ANN ARBOR         MI   48108‐5004
SCHNORR WAYNE                          3350 PADDY LN                                                                                 LOVELAND          CO   80537‐8795
SCHNORRPUSCH, ALFRED A                 17‐2347 LONDON BRIDGE DR                                                                      ROCHESTER HILLS   MI   48307
SCHNUCKS                               PO BOX 954248                                                                                 SAINT LOUIS       MO   63195‐4248
SCHNUCKS                               ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 954248                                            ST LOUIS          MO   63195‐4248
                                       AGENT
SCHNUCKS PHARMACY                      8660 VETERANS MEMORIAL PKWY                                                                   O FALLON          MO   63366‐7537
SCHNUERER, HEDWIG M                    APT 227                              1296 SOUTH TRIMBLE ROAD                                  MANSFIELD         OH   44906‐2984
SCHNUERER, JAMES R                     933 UNITY DR                                                                                  MANSFIELD         OH   44905‐2246
SCHNUERING, HESTER                     17 RUSSO DR                                                                                   PALM COAST        FL   32164‐6906
SCHNUERINGER, SHERYL A                 2449 PAULINE DR                                                                               WATERFORD         MI   48329‐3763
SCHNUR BERNARD                         7873 TRAVELERS TREE DR                                                                        BOCA RATON        FL   33433‐6158
SCHNUR JACK L                          C/O GOLDBERG PERSKY & WHITE PC       1030 FIFTH AVENUE                                        PITTSBURGH        PA   15219
SCHNUR JR, NICHOLAS J                  6758 FOX PATH RD                                                                              CANTON            MI   48187
SCHNUR, CARL A                         1122 CARMANIA AVE                                                                             CINCINNATI        OH   45238‐4502
SCHNUR, ELLIOTT
SCHNUR, JOSEPH                         1902 E WILLOW TREE CT                                                                         GILBERT           AZ   85234‐4932
SCHNUR, NICHOLAS J                     25201 COMFORT                                                                                 CENTER LINE       MI   48015‐1590
SCHNUR, RICHARD J                      7419 PINTO DR SE                                                                              CALEDONIA         MI   49316‐9770
SCHNUR, VIRGINIA H                     8963 USHER RD                                                                                 OLMSTED FALLS     OH   44138
SCHNURPEL, JAMES E                     785 ROSE HARBOUR CT                                                                           TERRE HAUTE       IN   47803‐2859
SCHNURPEL, WAYNE W                     6320 JACKSON ST                                                                               INDIANAPOLIS      IN   46241‐1027
SCHNURR, RAYMOND A                     24516 CUBBERNESS ST                                                                           ST CLAIR SHRS     MI   48080‐1091
SCHOAGER, KEVIN                        1021 5TH ST SE                                                                                VALLEY CITY       ND   58072‐3549
SCHOALS, ROBERT L                      PO BOX 12                                                                                     BATH              MI   48808‐0012
SCHOALS, RODERICK J                    APT D                                140 4TH STREET                                           DEL MAR           CA   92014‐3231
SCHOBEL, PAUL G                        5082 NORQUEST BLVD                                                                            YOUNGSTOWN        OH   44515‐1710
SCHOBER JR, LEONARD W                  3870 DAYTONA DR                                                                               YOUNGSTOWN        OH   44515‐3315
SCHOBER LINDA (ESTATE OF) (505253)     SIMMONS FIRM                         PO BOX 521                                               EAST ALTON        IL   62024‐0519
SCHOBER LINDA C (ESTATE OF) (506126)   ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                               BALTIMORE         MD   21202
                                                                            CHARLES CENTER 22ND FLOOR
SCHOBER, CLIDA L                       610 N WARD AVE                                                                                GIRARD            OH   44420‐2276
SCHOBER, DARLENE M                     150 MILL RUN DRIVE                                                                            YOUNGSTOWN        OH   44505‐4505
SCHOBER, DAVID J                       1319 N HENKE RD                                                                               JANESVILLE        WI   53546‐9704
SCHOBER, DENNIS L                      131 CHAPULTEPEC ST 17                                                                         MERCEDES          TX   78570
SCHOBER, GEORGE W                      1802 CARPENTIER ST                                                                            SAN LEANDRO       CA   94577‐3526
SCHOBER, JACK A                        1120 W STATE ST                                                                               JANESVILLE        WI   53546‐5323
SCHOBER, JOHN L                        4300 CROSS RD                                                                                 WHITE LAKE        MI   48386‐1211
SCHOBER, LINDA                         SIMMONS FIRM                         PO BOX 521                                               EAST ALTON        IL   62024‐0519
SCHOBER, LINDA C                       C/O ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                BALTIMORE         MD   21202
                                                                            CHARLES CENTER 22ND FLOOR
SCHOBER, MICHAEL J                     7 HANCOCK CT                                                                                  BASKING RIDGE     NJ 07920‐4204
SCHOBER, MICHAEL J                     191 MILL RD                                                                                   ROCHESTER         NY 14626‐4808
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Name                       Address1                           Address2                    Address3                 Address4         City                State Zip
SCHOBER, RONALD L          3830 W COUNTY RD A                                                                                       JANESVILLE           WI 53545‐9003
SCHOBER, SR.,TERRY L       150 MILL RUN DR                                                                                          YOUNGSTOWN           OH 44505‐1650
SCHOBERT, DAVID D          6198 STAGECOACH TRL                                                                                      OSCODA               MI 48750‐9796
SCHOBERTH, DENNIS A        1501 S KIESEL ST                                                                                         BAY CITY             MI 48706‐5239
SCHOBY, BILL E             4906 PAVALION DR                                                                                         KOKOMO               IN 46901‐3655
SCHOBY, CONSTANCE D        4906 PAVALION DR                                                                                         KOKOMO               IN 46901‐3655
SCHOCH ROBERT              SCHOCH, ROBERT                     HASTINGS MUTUAL INSURANCE   404 E. WOODLAWN AVENUE                    HASTINGS             MI 49058
                                                              COMPANY
SCHOCH, DALE J             18901 S HEMLOCK RD                                                                                       OAKLEY              MI   48649‐9743
SCHOCH, DAVID A            6214 MCFARLAND RD                                                                                        INDIANAPOLIS        IN   46227‐7626
SCHOCH, HAROLD E           17200 W BRADY RD                                                                                         OAKLEY              MI   48649‐9759
SCHOCH, HARRY W            941 SOUTHERN BLVD. N.W.                                                                                  WARREN              OH   44485‐2266
SCHOCH, HELEN L            8285 S M52 RR 5                                                                                          OWOSSO              MI   48867‐9270
SCHOCH, JOSEPH F           2601 HIBBARD RD                                                                                          CORUNNA             MI   48817‐9561
SCHOCH, JOSEPH FLOYD       2601 HIBBARD RD                                                                                          CORUNNA             MI   48817‐9561
SCHOCH, KENNETH D          3612 WOODLAND STREAMS DR                                                                                 GREENWOOD           IN   46143‐9462
SCHOCH, KENNETH DALE       3612 WOODLAND STREAMS DR                                                                                 GREENWOOD           IN   46143‐9462
SCHOCH, PAUL               5711 SUTHERLAND AVE                                                                                      SAINT LOUIS         MO   63109‐1559
SCHOCH, ROBERT
SCHOCH, ROBERT             HASTINGS MUTUAL INSURANCE COMPANY 404 E WOODLAWN AVE                                                     HASTINGS            MI 49058‐1005

SCHOCH, ROBERT W           2830 STACEY ST                                                                                           THOMPSONS STATION   TN   37179‐9299
SCHOCH, RONALD L           1911 ESTABROOK AVE NW                                                                                    WARREN              OH   44485‐1942
SCHOCK SYSTEM              801 ARMOURDALE PKWY                                                                                      KANSAS CITY         KS   66105‐2103
SCHOCK TRUCK LEASING INC   51 OSAGE AVE                                                                                             KANSAS CITY         KS   66105‐1412
SCHOCK, ANNE M             31255 BARTON ST                                                                                          GARDEN CITY         MI   48135
SCHOCK, DOROTHY M          6631 HEDINGTON SQUARE #1                                                                                 CENTERVILLE         OH   45459‐6973
SCHOCK, ELISABETH A        8951 E 57TH ST                                                                                           TULSA               OK   74145‐7941
SCHOCK, JAMES C            4811 GOODISON PLACE DR                                                                                   ROCHESTER HILLS     MI   48306‐1674
SCHOCK, LEONARD K          1165 MAPLE STREET                                                                                        YPSILANTI           MI   48198‐3927
SCHOCK, RICKY R            6180 LINGANE RD                                                                                          CHELSEA             MI   48118‐9434
SCHOCK, ROBIN CHARLENE     8125 S 950 W                                                                                             SOUTH WHITLEY       IN   46787‐9734
SCHOCKE, ALBERT A          1603 W SUTTON RD                                                                                         METAMORA            MI   48455‐9616
SCHOCKE, ANDREW TODD       410 S WOODHULL RD                                                                                        LAINGSBURG          MI   48848‐9333
SCHOCKE, ELTON E           270 PINE ST                                                                                              IMLAY CITY          MI   48444‐1219
SCHOCKE, JEFFREY C         4080 TAFT RD                                                                                             BRUCE TWP           MI   48065‐3538
SCHOCKE, JON T             410 S WOODHULL RD                                                                                        LAINGSBURG          MI   48848‐9333
SCHOCKE, PEGGILOU          1072 BALDWIN RD                                                                                          LAPEER              MI   48446‐3008
SCHOCKER, BARBARA J        10560 COUNTY RD Y                                                                                        HATLEY              WI   54440
SCHOCKMAN, PAUL H          1804 E COMMONWEALTH AVE UNIT 101                                                                         FULLERTON           CA   92831‐4828

SCHOCKMAN, PAUL H          1804 E COMMENWEALTH                APT 101                                                               FULLERTON           CA 92831‐4828
SCHOCKNER, LYNN M          205 REEF CT                                                                                              SANTA BARBARA       CA 93109‐1925
SCHOCKOW, RICHARD A        280 PALMER RD                                                                                            CHURCHVILLE         NY 14428‐9440
SCHOD, JEFFREY
SCHODER, ALBERT J          42299 LUDLOW CT                                                                                          NORTHVILLE          MI   48168‐2021
SCHODOWSKI STEVEN          508 WILLOWBROOK RD                                                                                       STATEN ISLAND       NY   10302
SCHODOWSKI, LAWRENCE W     4740 FLAMINGO PL                                                                                         TOLEDO              OH   43623‐3737
SCHODOWSKI, LOUISE         208 WILLOWBROOK RD                                                                                       STATEN ISLAND       NY   10302‐2449
SCHODOWSKI, STEVEN F       208 WILLOWBROOK RD                                                                                       STATEN ISLAND       NY   10302‐2449
SCHODOWSKI, WILLIAM J      321 ANN CROCKETT CT                                                                                      FRANKLIN            TN   37064‐6735
SCHODOWSKI, WILLIAM W      205 N YOUNGS RD                                                                                          ATTICA              MI   48412‐9684
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Name                                Address1                          Address2                          Address3   Address4            City               State Zip
SCHOECH, MATTHEW F                  306 W 9TH ST                                                                                       TRAVERSE CITY       MI 49684‐3122
SCHOECK, THOMAS J                   PO BOX 577                                                                                         BROOKLYN            MI 49230‐0577
SCHOEDEL, DONALD                    C/O GOLDENBERG HELLER ANTOGNOLI   2227 S STATE RTE 157                                             EDWARDSVILLE         IL 62025
                                    AND ROWLAND PC
SCHOEFF, BRIAN G                    2136 ROSSIE LEE DR                                                                                 BOSSIER CITY       LA    71112‐4765
SCHOEFF, JASON                      720 WESTVIEW DR APT 3                                                                              OSSIAN             IN    46777‐9076
SCHOEFF, JERRY L                    1701 N AULT AVE                                                                                    MUNCIE             IN    47303‐2507
SCHOEFF, JERRY LEE                  1701 N AULT AVE                                                                                    MUNCIE             IN    47303‐2507
SCHOEFF, RONALD G                   132 MILLERS MILL EST                                                                               BYRDSTOWN          TN    38549‐5700
SCHOEFFEL RICHARD                   11010 AARON DR                                                                                     PARMA              OH    44130‐1362
SCHOEFFEL, KATHLEEN M               100 MCAULEY DR APT 131                                                                             ROCHESTER          NY    14610‐2342
SCHOEFFEL, RICHARD R                11010 AARON DR                                                                                     PARMA              OH    44130‐1362
SCHOEFFLER CADILLAC, INC.           PO BOX 2218                                                                                        LAFAYETTE          LA    70502‐2218
SCHOEFFLER, CHARLES W               3824 GLOVER RD                                                                                     ALMONT             MI    48003‐8137
SCHOEFFLER, MARC                    EHRENBERGER STRASSE 26A                                                        D‐42389 WUPPERTAL
                                                                                                                   GERMANY
SCHOEFIELD RICHARD (ESTATE OF)      BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD         OH 44067
(489226)                                                              PROFESSIONAL BLDG
SCHOELEN, BERNICE R                 9316 STERLING GATE DRIVE                                                                           MCKINNEY            TX   75070‐4906
SCHOELLER ARCA SYSTEMS HOLDING BV   5202 OLD ORCHARD RD STE 220                                                                        SKOKIE              IL   60077‐1039

SCHOELLER ARCA SYSTEMS INC          5202 OLD ORCHARD RD               STE 220                                                          SKOKIE             IL    60077‐1039
SCHOELLER ARCA SYSTEMS INC          ATTN: WIM ZWETSLOOT               4086 MICHIGAN AVE                                                DETROIT            MI    48210‐3261
SCHOELLER, CHRISTOPHER S            949 ALPINE DR                                                                                      JANESVILLE         WI    53546‐1751
SCHOELLER, HOWARD L                 39 S LEXINGTON DR                                                                                  JANESVILLE         WI    53545‐2165
SCHOELLER, NICHOLAS W               2817 JASPER DRIVE                                                                                  LK HAVASU CTY      AZ    86404‐1351
SCHOELLER, NICHOLAS W               2817 JASPER DR                                                                                     LAKE HAVASU CITY   AZ    86404‐1351
SCHOELLER, TIMOTHY H                3234 BRIAR CREST DR                                                                                JANESVILLE         WI    53546‐9603
SCHOELLER/TACOMA                    9314 47TH AVE. S.W.                                                                                TACOMA             WA    98499
SCHOELLES, DOUGLAS H                2687 TRANSIT RD                                                                                    NEWFANE            NY    14108‐9501
SCHOELLES, JOAN E                   70405 GULCH ST                                                                                     ABITA SPRINGS      LA    70420‐3317
SCHOELLES, MARY LOU                 6370 CLOVERLEAF CIRCLE                                                                             EAST AMHERST       NY    14051‐2049
SCHOELLES, MICHAEL W                7219 SAINT JOSEPH RD                                                                               NIAGARA FALLS      NY    14304‐1336
SCHOELLES, ROBERT W                 6152 KAREN AVE                                                                                     NEWFANE            NY    14108‐1111
SCHOELLIG, DONALD J                 1207 W REID RD                                                                                     FLINT              MI    48507‐4640
SCHOELLIG, DONALD J.                1207 W REID RD                                                                                     FLINT              MI    48507‐4640
SCHOELLNAST, SANDRA B               1201 HUDSON STREET                APT 603SV                                                        HOBOKEN            NJ    07030
SCHOELZEL ROBERT (514579)           BRAYTON PURCELL                   PO BOX 6169                                                      NOVATO             CA    94948‐6169
SCHOELZEL, ROBERT                   BRAYTON PURCELL                   PO BOX 6169                                                      NOVATO             CA    94948‐6169
SCHOEMAN UPDIKE & KAUFMAN LLP       60 EAST 42ND STREET                                                                                NEW YORK           NY    10165
SCHOEMANN, THOMAS E                 6943 MANN RD                                                                                       PORT SANILAC       MI    48469‐9733
SCHOEMER JR, CARL J                 5381 BURCHAM DR                                                                                    EAST LANSING       MI    48823‐6905
SCHOEN DANIEL                       SCHOEN, DANIEL                    10085 CARROLL CANYON RD STE 100                                  SAN DIEGO          CA    92131‐1100

SCHOEN DENISE                       SCHOEN, ALISON                    14 GLENDALE WOODS DRIVE                                          SOUTHAMPTON        MA    01073‐9476
SCHOEN DENISE                       14 GLENDALE WOODS DR                                                                               SOUTHAMPTON        MA    01073‐9476
SCHOEN JOHN E                       1150 S FIVE LAKES RD                                                                               LAPEER             MI    48446‐9428
SCHOEN JR, GEORGE W                 5053 CLARICE DR                                                                                    HAMBURG            NY    14075‐2905
SCHOEN, ALISON                      14 GLENDALE WOODS DR                                                                               SOUTHAMPTON        MA    01073‐9476
SCHOEN, BARBARA I                   682 ARMAND DR.                                                                                     TROY               OH    45373‐2767
SCHOEN, BARBARA I                   682 ARMAND DR                                                                                      TROY               OH    45373‐2767
SCHOEN, BETTY R                     124 CEDAR CREST CIRCLE                                                                             DAYTONA BEACH      FL    32114‐1133
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Name                       Address1                           Address2                         Address3   Address4         City               State Zip
SCHOEN, CHARLES R          6124 FOXFIRE CIR                                                                                CLARKSTON           MI 48346‐1658
SCHOEN, CURTIS W           2584 TAYLOR RD                                                                                  TECUMSEH            MI 49286‐8709
SCHOEN, CURTIS WILLIAM     2584 TAYLOR RD                                                                                  TECUMSEH            MI 49286‐8709
SCHOEN, DENISE             14 GLENDALE WOODS DR                                                                            SOUTHAMPTON         MA 01073‐9476
SCHOEN, GERALD A           1945 BIRCH BLUFF DR                                                                             OKEMOS              MI 48864‐5915
SCHOEN, HELEN D            6150 SOUTHBROOK DR                 C/O KATHRYN S LAFORTY                                        ONTARIO             NY 14519‐9210
SCHOEN, JOAN M             1818 FAIRFIELD ST                                                                               SAGINAW             MI 48602‐3224
SCHOEN, JOHN E             1150 S FIVE LAKES RD                                                                            LAPEER              MI 48446‐9428
SCHOEN, LAWRENCE C         520 W OAK ST                                                                                    MASON               MI 48854‐1548
SCHOEN, MARK L             41381 CLAIRPOINTE ST                                                                            HARRISON TWP        MI 48045‐5916
SCHOEN, MICHAEL B          11365 W FREELAND RD                                                                             FREELAND            MI 48623‐9501
SCHOEN, MICHAEL L          4792 SYLVESTER AVE                                                                              WATERFORD           MI 48329‐1847
SCHOEN, REINHARD           2022 E SAINT GEORGES AVE                                                                        LINDEN              NJ 07036‐1048
SCHOEN, ROY C              5860 W KESSLER COWLESVILLE RD                                                                   WEST MILTON         OH 45383‐8738
SCHOEN, ROYE C             PO BOX 117                                                                                      INGLIS              FL 34449‐0117
SCHOEN, THOMAS J           186 STONECLIFF DR                                                                               ROCHESTER           NY 14616‐3314
SCHOEN, TILLIE             9456 BASSETT ST                                                                                 LIVONIA             MI 48150‐3311
SCHOEN‐NIELSEN, ELAINE R   106 MIDWAY DR                                                                                   DILLSBURG           PA 17019
SCHOENAUER GERALD          207 GREENBRIAR ROAD                                                                             POTTSVILLE          PA 17901‐4029
SCHOENBACH, ZACHARY        1811 RUSSELL RD                                                                                 BARODA              MI 49101‐9768
SCHOENBACHLER MICHEL       SCHOENBACHLER, MICHEL              120 WEST MADISON STREET , 10TH                               CHICAGO              IL 60602
                                                              FLOOR
SCHOENBECK, FRANCES ROSE   7644 KENTON AVE                                                                                 SKOKIE             IL   60076‐3738
SCHOENBECK, RICHARD        PO BOX 181                                                                                      BALDWIN            IL   62217‐0181
SCHOENBECK, ROGER A        322 JOAN AVE                                                                                    MARISSA            IL   62257‐1609
SCHOENBERG, CHARLES R      4210 E HOUSTON ST                                                                               HIGLEY             AZ   85236
SCHOENBERG, GORDON E       3314 LEWIS AVE                                                                                  IDA                MI   48140‐9708
SCHOENBERG, J K            36892 LADYWOOD ST                                                                               LIVONIA            MI   48154‐1709
SCHOENBERG, TERRY H        218 ENGLE ST                                                                                    IMLAY CITY         MI   48444‐1335
SCHOENBERGER, RICHARD R    501 GRANT ST                                                                                    PAOLA              KS   66071‐5542
SCHOENBERGER, VICTOR       1418 S 39TH ST                                                                                  KANSAS CITY        KS   66106‐1916
SCHOENBERGER, VICTOR       1418 S 39                                                                                       KANSAS CITY        KS   66106‐1916
SCHOENBORN, ARTHUR C       7371 S GARDEN CT                                                                                JENISON            MI   49428‐8742
SCHOENBORN, ARTHUR J       3686 WIERSMA                                                                                    CEDAR SPRINGS      MI   49319‐9650
SCHOENBORN, BERNETTA E     3121 LAKE MICHIGAN DR NW APT 108                                                                GRAND RAPIDS       MI   49504‐5837
SCHOENBORN, BERNETTA E     3121 LAKE MICHIGAN DR. N.W.        APT. 108                                                     GRAND RAPIDS       MI   49504‐5837
SCHOENBORN, JAMES L        0‐11901 8TH AVE.                                                                                GRAND RAPIDS       MI   49534
SCHOENBORN, LEON P         14145 8TH AVE                                                                                   MARNE              MI   49435
SCHOENBORN, LORRAINE F     18862 24TH AVE RT#1                                                                             CONKLIN            MI   49403‐9780
SCHOENBORN, MICHELLE L     2892 CHURCH RD                                                                                  COLUMBUS           MI   48063‐4215
SCHOENBORN, RICHARD H      41294 HIGHWAY BB                                                                                DIXON              MO   65459‐8325
SCHOENBORN, RICHARD N      4222 BUCHANAN AVE SW                                                                            WYOMING            MI   49548‐3152
SCHOENBORN, STANLEY        4424 BENNINGTON DR                                                                              STERLING HEIGHTS   MI   48310‐3109
SCHOENDALLER, ROBERT J     20414 N 135TH AVE                                                                               SUN CITY WEST      AZ   85375‐3800
SCHOENDEIDE, TIMOTHY R     49210 GEDDES RD                                                                                 CANTON             MI   48188
SCHOENDORFF, ARTHUR J      4218 W HARRINGTON LN                                                                            CHICAGO            IL   60646‐6037
SCHOENDORFF, EDWARD H      4340 SAINT MARTINS DR                                                                           FLINT              MI   48507‐3775
SCHOENDORFF, JOAN I        4340 ST MARTINS DR                                                                              FLINT              MI   48507
SCHOENDORFF, PAUL E        1316 ASPEN CT                                                                                   FLINT              MI   48507‐3201
SCHOENDORFF, WALTER N      6307 KINGS POINTE CIR                                                                           GRAND BLANC        MI   48439‐8702
SCHOENE JR, JOHN H         201 SAINT JACQUES ST                                                                            WORTHINGTON        OH   43085‐2227
SCHOENE, HELENE M          56 TWIN COACH CT                                                                                DAYTONA BEACH      FL   32119‐1696
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Name                                  Address1                        Address2                        Address3                  Address4                 City                State Zip
SCHOENEBERGER, SUZANNE L              3394 CIRCLE DR                                                                                                     COMMERCE TOWNSHIP    MI 48382‐1957
SCHOENECKER, BONIDA L                 9509 RIVERVIEW LN                                                                                                  CALEDONIA            WI 53108‐9625
SCHOENECKER, MICHAEL V
SCHOENEFELD, DWIGHT A                 4159 RAY RD                                                                                                        GRAND BLANC         MI   48439‐9382
SCHOENEFELD, MARIA C                  4159 RAY RD                                                                                                        GRAND BLANC         MI   48439‐9382
SCHOENEGGE JR., RICHARD A             5932 MERLE ST                                                                                                      TOLEDO              OH   43623‐1145
SCHOENEGGE, RICHARD A                 6877 MAPLEWOOD DR                                                                                                  TEMPERANCE          MI   48182‐1324
SCHOENEK, NORMAN                      43498 CASTLEWOOD                                                                                                   NOVI                MI   48375‐4002
SCHOENEMAN BOB (447551)               BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD          OH   44067
                                                                      PROFESSIONAL BLDG
SCHOENEMAN, ARLENE                    389 BRENDA DR                                                                                                      KILLEEN             TX 76542‐4351
SCHOENEMAN, BOB                       BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                                       NORTHFIELD          OH 44067
                                                                      PROFESSIONAL BLDG
SCHOENEMAN, JANICE M                   7248 JACKSON ST                                                                                                   MENTOR              OH   44060‐5028
SCHOENEMAN, SARA K                     2477 SOMERSET BLVD APT 210                                                                                        TROY                MI   48084‐4060
SCHOENEMAN, WILLIAM D                  3501 N HIGHWAY 81 APT 128                                                                                         ANDERSON            SC   29621‐4491
SCHOENENBERGER, FAY M                  312 W LIBERTY ST                                                                                                  EVANSVILLE          WI   53536‐1224
SCHOENENBERGER, JAMES M                312 W LIBERTY ST                                                                                                  EVANSVILLE          WI   53536‐1224
SCHOENER GEORG                         HILDEGARD STR 33                                                                         82131 GAUTING, GERMANY
SCHOENER GEORG & URSULA                HILDEGARDSTR 33                                                                          GERMANY ‐ 82131
SCHOENER, CAROL A                      33916 JEFFERSON AVE                                                                                               ST CLAIR SHRS       MI   48082‐1169
SCHOENER, DAVID A                      10397 HALSEY RD                                                                                                   GRAND BLANC         MI   48439‐8210
SCHOENER, EDWARD                       33916 JEFFERSON AVE                                                                                               ST CLAIR SHRS       MI   48082‐1169
SCHOENER, MARSHA K                     49470 MAYFLOWER CT                                                                                                SHELBY TWP          MI   48315‐3961
SCHOENERR, GRACE A                     12320 LONGVIEW ST                                                                                                 DETROIT             MI   48213‐1750
SCHOENEWEISS, MICHAEL R                132 SPARROW DR                                                                                                    WEST HENRIETTA      NY   14586‐9307
SCHOENFELD RICH                        3251 ESPADA                                                                                                       NEW BRAUNFELS       TX   78132‐2902
SCHOENFELD ROBERT                      SCHOENFELD, JANICE M           GLANBY LOIS E LAW OFFICES OF    152 EAST HIGHLAND DRIVE                            MCMURRAY            PA   15317
SCHOENFELD ROBERT                      SCHOENFELD, ROBERT             GLANBY LOIS E LAW OFFICES OF    152 EAST HIGHLAND DRIVE                            MCMURRAY            PA   15317
SCHOENFELD ROBERT                      SCHOENFELD, JANICE M           152 E HIGHLAND DR                                                                  MCMURRAY            PA   15317‐3510
SCHOENFELD ROBERT                      SCHOENFELD, ROBERT             152 E HIGHLAND DR                                                                  MCMURRAY            PA   15317‐3510
SCHOENFELD VICTOR (ESTATE OF) (639102) GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                                         EDWARDSVILLE        IL   62025‐0959
                                       ANTOGNOLI
SCHOENFELD, ANNLYN L                   800 SPRUCE HILL LN                                                                                                ORTONVILLE          MI   48462‐8538
SCHOENFELD, BERNITA R                  518 G ST                                                                                                          SALT LAKE CITY      UT   84103‐3113
SCHOENFELD, JAMES E                    3271 HIGHWAY 19                                                                                                   OWENSVILLE          MO   65066‐2401
SCHOENFELD, JANICE M                   GLANBY LOIS E LAW OFFICES OF   152 E HIGHLAND DR                                                                  MCMURRAY            PA   15317‐3510
SCHOENFELD, MARILYN A                  7777 S. CRONIN                                                                                                    JUSTICE             IL   60458‐1327
SCHOENFELD, MARILYN A                  7777 CRONIN AVE                                                                                                   JUSTICE             IL   60458‐1327
SCHOENFELD, ROBERT                     GLANBY LOIS E LAW OFFICES OF   152 E HIGHLAND DR                                                                  MCMURRAY            PA   15317‐3510
SCHOENFELD, ROBERT G                   8210 SW 89TH AVE                                                                                                  PORTLAND            OR   97223‐6937
SCHOENFELD, RODELLE E                  7421 SYLVAN RIDGE RD           C/O JUDI A. LEMOND                                                                 INDIANAPOLIS        IN   46240‐3546
SCHOENFELD, ROY J                      538 BLACK PLAIN RD                                                                                                NORTH SMITHFIELD    RI   02896‐9568
SCHOENFELD, SHIRLEY N                  4622 CLASSIQUE DR                                                                                                 SARASOTA            FL   34243‐4948
SCHOENFELD, VICTOR                     GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                                         EDWARDSVILLE        IL   62025‐0959
                                       ANTOGNOLI
SCHOENFELD, VIOLA M                    1240 OLD COUNTY FARM RD                                                                                           UNION               MO   63084‐3235
SCHOENFELDER, JEROME J                 1566 S MT NEBO RD                                                                                                 MARTINSVILLE        IN   46151‐6189
SCHOENFELDT, DAVID B                   48408 TILCH RD                                                                                                    MACOMB              MI   48044‐1997
SCHOENFELDT, DOROTHY M                 13518 ANNS CHOICE WAY                                                                                             WARMINSTER          PA   18974‐3328
SCHOENFELT, CARL J                     5012 307TH ST                                                                                                     TOLEDO              OH   43611‐2731
SCHOENFIELD, ORVILLE H                 PO BOX 881899                                                                                                     PORT SAINT LUCIE    FL   34988‐1899
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Name                        Address1                         Address2                        Address3                  Address4         City              State Zip
SCHOENGART, SHIRLEY A       81713 SUN CACTUS LN                                                                                         LA QUINTA          CA 92253‐7744
SCHOENHALS, FREDRIC A       3332 GRAFTON ST                                                                                             ORION              MI 48359‐1122
SCHOENHALS, ROGER J         551 WALDON RD                                                                                               LAKE ORION         MI 48359‐1362
SCHOENHEIDE, RONALD M       1018 MAGNOLIA AVE                                                                                           SAINT CLOUD        FL 34769‐4007
SCHOENHEIDE, SANDRA         35585 FLORANE ST                                                                                            WESTLAND           MI 48186‐4165
SCHOENHEIDER, DONALD A      1010 MEADOW DR                                                                                              OWOSSO             MI 48867‐1427
SCHOENHEIDER, DOUGLAS A     UNIT 60                          338 WEST SAGINAW STREET                                                    EAST LANSING       MI 48823‐2674
SCHOENHEIDER, DOUGLAS A.    UNIT 60                          338 WEST SAGINAW STREET                                                    EAST LANSING       MI 48823‐2674
SCHOENHEIT, FRANK H         10990 COUNTY ROUTE 7                                                                                        PRATTSBURGH        NY 14873‐9459
SCHOENHEIT, MARVIN A        3568 BARNARD RD                                                                                             SAGINAW            MI 48603‐2507
SCHOENHERR, CECIL G         62625 WOLCOTT RD                                                                                            RAY                MI 48096‐3020
SCHOENHERR, JERRY           3624 CLERMONT AVE                                                                                           FORT WAYNE         IN 46806‐5002
SCHOENHERR, JOHN F          63219 E CHARLESTON DR                                                                                       WASHINGTON TWP     MI 48095‐2429
SCHOENHERR, LORI J          12380 LENNRY AVE                                                                                            SHELBY TOWNSHIP    MI 48315‐1753
SCHOENHERR, MARVIN A        115 TELFORD DR                                                                                              TROY               MI 48085‐1584
SCHOENHERR, MICHAEL T       10490 DEER RIDGE TRL                                                                                        HOLLY              MI 48442‐8051
SCHOENIAN, DENETTE S        2269 HERMITAGE HILLS TRL         IL                                                                         DAVISON            MI 48423‐2314
SCHOENIKE WILLIAM           2916 RICHARDSON STREET                                                                                      FITCHBURG          WI 53711‐5289
SCHOENIKE, KEN O            RT 5 UNIVERSITY HGTS LOT #22                                                                                CARBONDALE          IL 62901
SCHOENIKE, WILLIAM H        2916 RICHARDSON STREET                                                                                      FITCHBURG          WI 53711‐5289
SCHOENING JOHN H (352840)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                NORFOLK            VA 23510
                                                             STREET, SUITE 600
SCHOENING MARGARET          5789 CORALWOOD WAY                                                                                          SAN JOSE          CA 95123‐3820
SCHOENING, JOHN H           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                NORFOLK           VA 23510‐2212
                                                             STREET, SUITE 600
SCHOENING, MIRIAM K         601 PRINCEWOOD AVE                                                                                          DAYTON            OH   45429‐5619
SCHOENING, NORBERT E        7225 PHILLIPSBURG UNION RD                                                                                  BROOKVILLE        OH   45309‐8664
SCHOENING, PATRICK W        15818 TRANQUIL DR                                                                                           MACOMB            MI   48042‐6157
SCHOENINGER, HILBERT E      5692 MABLEY HILL RD                                                                                         FENTON            MI   48430‐9427
SCHOENINGER, JANIS H        5692 MABLEY HILL RD                                                                                         FENTON            MI   48430‐9427
SCHOENKE ANN C              SCHOENKE, ANN C                  PO BOX 1487                                                                WAUKESHA          WI   53187‐1487
SCHOENKE, ANN C             JASTROCH & LABARGE S.C.          PO BOX 1487                                                                WAUKESHA          WI   53187‐1487
SCHOENKNECHT, CATHERINE A   2636 CHURCHILL LN APT 1                                                                                     SAGINAW           MI   48603‐6914
SCHOENKNECHT, FLOYD R       1125 W VASSAR RD                                                                                            REESE             MI   48757‐9307
SCHOENKNECHT, WERNER H      PO BOX 525                                                                                                  ANNA MARIA        FL   34216‐0525
SCHOENL KEVIN M             SCHOENL, CONNIE                  20 JADE CREEK DR                                                           HILTON            NY   14468
SCHOENL KEVIN M             SCHOENL, KEVIN M                 16 WEST MAIN STREET 6TH FLOOR                                              ROCHESTER         NY   14614

SCHOENL KEVIN M             SCHOENL, CONNIE                  CELLINO & BARNES PC             16 WEST MAIN STREET 6TH                    ROCHESTER         NY 14614‐1605
                                                                                             FLOOR
SCHOENL, CONNIE             CELLINO & BARNES PC              16 E MAIN ST STE 6                                                         ROCHESTER         NY   14614‐1803
SCHOENL, KEVIN M            CELLINO & BARNES PC              16 E MAIN ST STE 6                                                         ROCHESTER         NY   14614
SCHOENLEIN, DEBORAH S       306 W SAGINAW ST                                                                                            MERRILL           MI   48637‐8729
SCHOENLEIN, THOMAS A        8710 CENTERRIDGE PT                                                                                         DAYTON            OH   45458‐2835
SCHOENMANN, FREDERICK H     34473 ESPER DR                                                                                              STERLING HTS      MI   48312‐5024
SCHOENMEYER JR, GEORGE H    2672 STARLITE DR                                                                                            SAGINAW           MI   48603‐2544
SCHOENMEYER, CHARLES E      187 STRIETER DR                                                                                             SAGINAW           MI   48609‐5259
SCHOENMEYER, DALE A         3675 MANISTEE ST                                                                                            SAGINAW           MI   48603‐3142
SCHOENMEYER, JOHN W         1387 PACELLI ST                                                                                             SAGINAW           MI   48638‐6578
SCHOENMEYER, JOHN W         1387 PACELLI                                                                                                SAGINAW           MI   48603‐6578
SCHOENMEYER, MARIAN R       1324 PIUS                                                                                                   SAGINAW           MI   48603‐6501
SCHOENMEYER, MARIAN R       1324 PIUS ST                                                                                                SAGINAW           MI   48638‐6501
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SCHOENMEYER, NORMA J         1515 ALLENDALE                                                                         SAGINAW           MI 48603‐4403
SCHOENMEYER, PAMELA          19737 BRAEMAR WAY OVAL                                                                 STRONGSVILLE      OH 44149
SCHOENMEYER, ROBERT E        12 EMORY DR                                                                            DECATUR           AL 35603‐5294
SCHOENMEYER, TROY A          2115 LAPORTE RD                                                                        HEMLOCK           MI 48626‐9508
SCHOENOW, GERALD D           PO BOX 73                                                                              MUNGER            MI 48747‐0073
SCHOENOW, JAMES K            11885 AYRE LN                                                                          FRANKENMUTH       MI 48734‐9769
SCHOENOW, LOUIS C            4041 HART RD                                                                           FRANKENMUTH       MI 48734‐9606
SCHOENOW, MARK A             9354 WEAVER RD                                                                         VASSAR            MI 48768‐9460
SCHOENOW, NANCY E.           5331 BAKER RD                                                                          BRIDGEPORT        MI 48722‐9592
SCHOENRADE, NORMA C          6601 SHUTTLE WAY APT C                                                                 CAPE CANAVERAL    FL 32920‐6070
SCHOENRADE, PAUL G           6601 SHUTTLE WAY APT C                                                                 CAPE CANAVERAL    FL 32920‐6070
SCHOENROCK, LULA             PO BOX 21                                                                              YORK              AL 36925‐0021
SCHOENROCK, RICHARD A        1010 HOLLYWOOD ST NE                                                                   GRAND RAPIDS      MI 49505‐3836
SCHOENSEE, CYNTHIA A         1516 MICHAEL ST                                                                        ORTONVILLE        MI 48462‐8827
SCHOENSEE, CYNTHIA ANN       1516 MICHAEL ST                                                                        ORTONVILLE        MI 48462‐8827
SCHOENSEE, HENRY E           42241 MAC RAE DR                                                                       STERLING HTS      MI 48313‐2567
SCHOENSEE, LARRY J           331 E PRINCETON AVE                                                                    PONTIAC           MI 48340‐1958
SCHOENSEE, LARRY JAMES       331 E PRINCETON AVE                                                                    PONTIAC           MI 48340‐1958
SCHOENSTEIN, RONALD A        1616 DEVONWOOD DR                                                                      ROCHESTER HLS     MI 48306‐3105
SCHOENTHALER, MINNIE C       11 BUTLER DR                                                                           LANCASTER         NY 14086‐9334
SCHOENTHALER, MINNIE C       11 BUTLER DRIVE                                                                        LANCASTER         NY 14086‐9334
SCHOENTHALER, ROBERT J       11 BUTLER DRIVE                                                                        LANCASTER         NY 14086‐9334
SCHOEPF, LARRY G             1315 SIERRA DR                                                                         OREGON            OH 43616‐4015
SCHOEPFLIN, MARY R           8831 KINGSWOOD RD                                                                      SOUTHPORT         FL 32409‐1860
SCHOEPHOERSTER, LARRY G      2604 POWHATTAN PL                                                                      KETTERING         OH 45420‐3912
SCHOEPKE, DALE W             11311 SIBLEY DR                                                                        BURNSVILLE        MN 55337‐1161
SCHOEPKE, GARY E             9388 SCULLY RD                                                                         WHITMORE LAKE     MI 48189‐9689
SCHOEPP, SHIRLEY J           8313 SAILING LOOP                                                                      LAKEWOOD RANCH    FL 34202‐2225
SCHOEPPACH, EDNA M           6174 LAKEVIEW PARK DR                                                                  LINDEN            MI 48451‐9098
SCHOEPPACH, EDNA M           808 BEACH BUGGY DR                                                                     LINDEN            MI 48451‐9693
SCHOEPPACH, JOHN J           6174 LAKEVIEW PARK DR                                                                  LINDEN            MI 48451‐9098
SCHOEPPACH, KIM W            3582 MERRITT LAKE DR                                                                   METAMORA          MI 48455‐8919
SCHOEPPACH, LOUIS J          2318 MELODY LN                                                                         BURTON            MI 48509‐1158
SCHOEPPACH, MARJORIE I       13107 BUNKER CT                                                                        CLIO              MI 48420‐8270
SCHOEPPACH, WAYNE S          7378 CROSS CREEK DR                                                                    SWARTZ CREEK      MI 48473‐1499
SCHOEPPLE PATRICK (499382)   ANGELOS PETER G               100 N CHARLES STREET , ONE                               BALTIMORE         MD 21201
                                                           CHARLES CENTER
SCHOEPPLE, PATRICK           ANGELOS PETER G               100 N CHARLES STREET, ONE                                BALTIMORE        MD 21201‐3812
                                                           CHARLES CENTER
SCHOEPS, DANIEL B            1354 PAUL RD                                                                           CHURCHVILLE      NY   14428‐9709
SCHOESSLER, DANIEL E         33567 OTTO AVE                                                                         FRASER           MI   48026‐1989
SCHOESSLER, WILLIAM H        5712 BUTLER RD                                                                         SAINT HELEN      MI   48656‐9570
SCHOETTLE, JAMES H           8210 CHRISTIAN LN                                                                      INDIANAPOLIS     IN   46217‐5427
SCHOETTLIN, CAROLYN S        4406 NW 50TH ST                                                                        KANSAS CITY      MO   64151‐3254
SCHOETTMER, PATRICIA         5178 W ROWLAND LN                                                                      SILVER LAKE      IN   46982‐9109
SCHOETTMER, PATRICIA         5178 W. ROWLAND LA.                                                                    SILVER LAKE      IN   46982‐9109
SCHOETTMER, SHIRLEY M        260 VILLAGE WEST DR                                                                    JASPER           TN   37347‐5298
SCHOEWE, ANNA M              546 WILBOR AVE                                                                         HURON            OH   44839
SCHOEWE, DAVID L             PO BOX 2094                                                                            BRIGHTON         MI   48116‐5894
SCHOEWE, DEBORAH K           513 48TH ST                                                                            SANDUSKY         OH   44870
SCHOEWE, EUGENE R            111 BELL AVE                                                                           SANDUSKY         OH   44870‐5404
SCHOEWE, GENE W              513 48TH ST                                                                            SANDUSKY         OH   44870‐4925
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SCHOEWE, HAZEL R                304 W DEER RD                                                                                  SPRUCE           MI 48762‐9784
SCHOEWE, NANCY R                1721 MILLS ST                                                                                  SANDUSKY         OH 44870‐4559
SCHOFF I I I, MARCE T           3743 WARRINGHAM AVE                                                                            WATERFORD        MI 48329‐1385
SCHOFF III, MARCE T             3743 WARRINGHAM AVE                                                                            WATERFORD        MI 48329‐1385
SCHOFF JR, MARCE T              6035 ANDERSONVILLE RD                                                                          WATERFORD        MI 48329‐1403
SCHOFF, CAROLYN L               2019 NICOLET ST                                                                                JANESVILLE       WI 53546‐5761
SCHOFF, H J                     963 DAFFODIL DR                                                                                WATERFORD        MI 48327‐1401
SCHOFF, JOHN R                  7446 24.75 LN                                                                                  GLADSTONE        MI 49837‐8832
SCHOFF, LINDA J                 102 VILLA CAPRI CIR                                                                            BALTIMORE        MD 21221‐7048
SCHOFF, NORMAN F                2215 N HAWTHORNE PARK DR                                                                       JANESVILLE       WI 53545‐2032
SCHOFF, WILBUR F                122 N JOHN PAUL RD                                                                             MILTON           WI 53563‐1217
SCHOFF, WILLIAM H               2019 NICOLET ST                                                                                JANESVILLE       WI 53546‐5761
SCHOFFNER, DAVID E              1325 ROLLING CT                                                                                YPSILANTI        MI 48198‐6598
SCHOFFSTALL DANNIE L (429770)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                                   STREET, SUITE 600
SCHOFFSTALL NANCY               SCHOFFSTALL, NANCY                 1301 GRANT BUILDING 310 GRANT                               PITTSBURGH      PA 15219
                                                                   STREET
SCHOFFSTALL, DANNIE L           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510‐2212
                                                                   STREET, SUITE 600
SCHOFFSTALL, DONALD W           5616‐M‐33                                                                                      ATLANTA         MI 49709
SCHOFIELD MEDIA LTD             ATTN ACCOUNTS RECEIVABLE           200 E RANDOLPH ST               STE 7000                    CHICAGO         IL 60601‐6915
SCHOFIELD WILLIAM (493105)      BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                   PROFESSIONAL BLDG
SCHOFIELD, ARLENE L             4895 BROCKWAY RD.                                                                              SAGINAW         MI   48603‐4669
SCHOFIELD, ARTHUR B             11139 PHYLLIS DR                                                                               CLIO            MI   48420‐1562
SCHOFIELD, BEVERLY A            1313 ROSEWOOD DR NE                                                                            WARREN          OH   44484‐1452
SCHOFIELD, CHARLES M            9446 BOGEY CT                                                                                  JONESBORO       GA   30238
SCHOFIELD, CHARLES M            9446 BOGEY CT 153                                                                              JONESBORO       GA   30238
SCHOFIELD, CURTIS               85 N GLEN OAK DR                                                                               SPRINGBORO      OH   45066‐8133
SCHOFIELD, DANIEL C             409 1/2 WEST MAIN STREET                                                                       WAVERLY         TN   37185‐1107
SCHOFIELD, DANIEL C             409 1/2 W MAIN ST                                                                              WAVERLY         TN   37185‐1107
SCHOFIELD, DENNIS A             2029 S FLORA DR                                                                                PERU            IN   46970‐7296
SCHOFIELD, DOUGLAS E            7090 RIEGLER ST                                                                                GRAND BLANC     MI   48439‐8519
SCHOFIELD, EDITH L              3666 LAUREL RD                                                                                 BRUNSWICK       OH   44212
SCHOFIELD, EVERETT L            226 E CLAY ST                                                                                  ROODHOUSE       IL   62082‐1305
SCHOFIELD, FRANKLIN D           1311 ROSEWOOD DR NE                                                                            WARREN          OH   44484‐1452
SCHOFIELD, HAROLD J             26 CURTISDALE LN                                                                               HAMLIN          NY   14464‐9357
SCHOFIELD, JAMES J              4190 MEADOWBROOK DR                APT RR5                                                     FREELAND        MI   48623
SCHOFIELD, JERRY                DOWD & DOWN                        100 NORTH BROADWAY ‐ STE 1580                               SAINT LOUIS     MO   63102

SCHOFIELD, JONATHAN F           3819 KELLY ST                                                                                  MINERAL RIDGE   OH   44440‐9329
SCHOFIELD, JOYCE A              8239 CREEKSIDE DR                                                                              WESTLAND        MI   48185‐4614
SCHOFIELD, KEITH                2800 WILLIAMS WAY                                                                              SANTA BARBARA   CA   93105‐2150
SCHOFIELD, KIM D                6120 WENDY DR                                                                                  FLINT           MI   48506‐1069
SCHOFIELD, LAURA                5311 SHELBYVILLE RD                                                                            INDIANAPOLIS    IN   46237‐2606
SCHOFIELD, LINDA
SCHOFIELD, LOIS B               455 W FRONT ST APT 310                                                                         WHEATON         IL   60187‐2337
SCHOFIELD, MAX D                308 N MAPLE AVE                                                                                WAVERLY         TN   37185‐1519
SCHOFIELD, MILDRED S            231 SPARROW ST                                                                                 WEWAHITCHKA     FL   32465‐3535
SCHOFIELD, MILDRED S            231 SPARROW STREET                                                                             WEWAHITCHKA     FL   32465
SCHOFIELD, PAUL J               4070 OLDE TOWNE WAY                                                                            DULUTH          GA   30097‐7645
SCHOFIELD, RANDALL L            5189 CHANTELLE DR                                                                              FLINT           MI   48507‐2903
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SCHOFIELD, RICHARD E       LOT 62                          7101 WEST ANTHONY ROAD                                  OCALA               FL 34479‐1300
SCHOFIELD, ROBERT A        12731 KRIEGER RD                                                                        BIRCH RUN           MI 48415‐9471
SCHOFIELD, ROBERT A        119 ORCHARD RD                                                                          ROCHESTER           NY 14512‐1019
SCHOFIELD, ROBERT ARTHUR   12731 KRIEGER RD                                                                        BIRCH RUN           MI 48415‐9471
SCHOFIELD, ROBERT E        15968 CAMPBELL RD                                                                       DEFIANCE            OH 43512‐8833
SCHOFIELD, ROBERT G        6125 TREMONT BLVD                                                                       BARGERSVILLE        IN 46106‐8872
SCHOFIELD, RONALD
SCHOFIELD, ROSE C          75 HALEY LN APT 7               BELL TOWERS                                             CHEEKTOWAGA        NY   14227‐3693
SCHOFIELD, ROSE C          75 HALEY LN. APT. 7             BELL TOWERS                                             CHEEKTOWAGA        NY   14227
SCHOFIELD, ROSEANNA L      2029 S FLORA DR                                                                         PERU               IN   46970‐7296
SCHOFIELD, SHERON L        947 SHERWOOD DR                                                                         ELYRIA             OH   44035‐3017
SCHOFIELD, SUSANNE L       1 TUPPERWARE DR UNIT 204                                                                NORTH SMITHFIELD   RI   02896
SCHOFIELD, THOMAS J        11509 N LAKE DR                                                                         HOLLAND            MI   49424‐7765
SCHOFIELD, THOMAS J        11509 NORTH LAKE DRIVE                                                                  HOLLAND            MI   49424‐7765
SCHOFIELD, THOMAS S        APT 201                         60 DOUGLASS DRIVE                                       ARCADE             NY   14009‐1127
SCHOFILL, WANDA            1715 N COUNTY LINE ROAD                                                                 LITHIA SPRINGS     GA   30122‐2201
SCHOFNER KYLE              9009 CAMBRIDGE DR                                                                       PARMA              OH   44129‐1711
SCHOFNER, RICK M           5421 CARLTON CT                                                                         SPEEDWAY           IN   46224‐6846
SCHOGER, DEBORAH N         4800 N COUNTY RD 500 W                                                                  MIDDLETOWN         IN   47356‐9535
SCHOGER, MATTHIAS D        4800 N 500 W                                                                            MIDDLETOWN         IN   47356
SCHOGER, NILA Z            334 HARMONY CT                                                                          ANDERSON           IN   46013‐1070
SCHOHL, CAROL A            203 INVERNESS WAY NE                                                                    WINTER HAVEN       FL   33881‐5705
SCHOLAR, DONNA L.          45 TANGLEWOOD TRL                                                                       ORTONVILLE         MI   48462‐9062
SCHOLAR, PETER R           45 TANGLEWOOD TRL                                                                       ORTONVILLE         MI   48462‐9062
SCHOLAR, PETER ROBERT      45 TANGLEWOOD TRL                                                                       ORTONVILLE         MI   48462‐9062
SCHOLARSHIP AMERICA        1550 AMERICAN BLVD E STE 155                                                            BLOOMINGTON        MN   55425‐1197
SCHOLDBERG, TERRY E        9947 N CHARLOTTE ST                                                                     KANSAS CITY        MO   64155‐2024
SCHOLES, DAVID A           7345 W 62ND PL                                                                          SUMMIT             IL   60501‐1709
SCHOLFIELD BROS., INC.     SCOTT HATCHETT                  7633 E KELLOGG DR                                       WICHITA            KS   67207‐1613
SCHOLFIELD BROS., INC.                                                                                             WICHITA            KS   67207‐1613
SCHOLFIELD BROS., INC.     7633 E KELLOGG DR                                                                       WICHITA            KS   67207‐1613
SCHOLFIELD JR, CECIL M     4472 COPPERHILL DR                                                                      OKEMOS             MI   48864‐2000
SCHOLFIELD, GREGG N        1623 S DOWLING ST                                                                       WESTLAND           MI   48186‐4049
SCHOLFIELD, GREGG NOEL     1623 S DOWLING ST                                                                       WESTLAND           MI   48186‐4049
SCHOLFIELD, ROBERT A       3860 LESLIE LN                                                                          MADISON            WI   53718‐6282
SCHOLL I I I, JOSEPH G     6009 FOUNTAIN POINTE APT 9                                                              GRAND BLANC        MI   48439‐7773
SCHOLL III, JOSEPH G       6009 FOUNTAIN POINTE APT 9                                                              GRAND BLANC        MI   48439‐7773
SCHOLL JR, JOSEPH G        1401 STOCKER AVE                                                                        FLINT              MI   48503‐3299
SCHOLL JR., JEFF           6602 FIREFLY CT                                                                         BURTON             MI   48509‐2391
SCHOLL STEPHEN             1320 S INDIANA HIGHWAY 212                                                              MICHIGAN CITY      IN   46360‐3121
SCHOLL, AL                 849 HARVARD ST APT A                                                                    HOUSTON            TX   77007
SCHOLL, ALICE K            PO BOX 261                                                                              MIRANDA            CA   95553‐0261
SCHOLL, ALICE K            P.O. BOX 261                                                                            MIRANDA            CA   95553‐0261
SCHOLL, ARCHIE L           5287 LEWIS RD                                                                           BEAVERTON          MI   48612‐9748
SCHOLL, ARLENE R           1851 EMERALD TERRACE RR 5                                                               EDGERTON           WI   53534
SCHOLL, DONALD             16301 WELLWOOD RD                                                                       TIPTON             MI   49287‐9602
SCHOLL, DONALD D           4474 ASCOT CT                                                                           OAKLAND TOWNSHIP   MI   48306‐4719
SCHOLL, DONALD M           ANGELOS PETER G                 100 N CHARLES STREET, ONE                               BALTIMORE          MD   21201‐3812
                                                           CHARLES CENTER
SCHOLL, DOUG               1305 S PIOTTER HWY                                                                      BLISSFIELD         MI 49228‐9541
SCHOLL, EARL H             PO BOX 1395                                                                             FOND DU LAC        WI 54936‐1395
SCHOLL, FRIEDRICH          32 WESTWOOD DR                                                                          FAIR LAWN          NJ 07410‐5546
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SCHOLL, GARY L           2811 MILTON AVE APT 183                                                                      JANESVILLE          WI 53545
SCHOLL, GREGORY S        5300 N TERRA CT                                                                              MILTON              WI 53563‐9433
SCHOLL, HELEN M          533 HENSON ST                                                                                MIDFIELD            AL 35228‐2303
SCHOLL, JOSEPH J         315 S BLAIR AVE                                                                              ROYAL OAK           MI 48067‐2972
SCHOLL, JOSEPH P         105 BRIARHILL DR                                                                             WEST SENECA         NY 14224‐1901
SCHOLL, JOSEPH PAUL      105 BRIARHILL DR                                                                             WEST SENECA         NY 14224‐1901
SCHOLL, JOSEPH R         501 ROBERT SIMMONS DR                                                                        CARLISLE            OH 45005‐3143
SCHOLL, KENNETH C        1222 ARTHUR DR                                                                               MILTON              WI 53563‐3706
SCHOLL, KENNETH E        501 BLUE HERON DR                                                                            LANCASTER           MA 01523‐2086
SCHOLL, KENNETH L        4318 HAMMERSMITH DR                                                                          CLERMONT            FL 34711‐6994
SCHOLL, MABEL B          710B WOOTON CT                                                                               MANCHESTER          NJ 08759‐5201
SCHOLL, MARIE A          1265 EAST STATE STREET                                                                       SALEM               OH 44460‐2221
SCHOLL, MARTIN T         34 HAMILTON BLVD                                                                             KENMORE             NY 14217‐1908
SCHOLL, NICHOLAS L       1442 STEARNS HWY                                                                             DEERFIELD           MI 49238‐9797
SCHOLL, REBECCA          6602 FIREFLY COURT                                                                           BURTON              MI 48509
SCHOLL, RICHARD P        24589 GESSNER RD                                                                             NORTH OLMSTED       OH 44070‐2148
SCHOLL, ROBERT C         3520 KIOWA BLVD S                                                                            LAKE HAVASU CITY    AZ 86404‐3429
SCHOLL, ROGER D          10311 JOHNSON RD                                                                             MANCELONA           MI 49659‐8727
SCHOLL, ROLAND C         4255 WOODSAGE TRCE                                                                           INDIANAPOLIS        IN 46237‐1315
SCHOLL, RONALD D         639 MUIRLAND DR                                                                              FLUSHING            MI 48433‐1431
SCHOLL, THOMAS W         2820 1ST ST                                                                                  MONROE              MI 48162‐4302
SCHOLL, THOMAS WAYNE     2820 1ST ST                                                                                  MONROE              MI 48162‐4302
SCHOLL, VICKI L          APT 209                           408 SOUTH MAIN STREET                                      JANESVILLE          WI 53545‐4889
SCHOLL, VICKI L          408 S MAIN ST APT 209                                                                        JANESVILLE          WI 53545‐4889
SCHOLLENBERG, ROBERT L   5838 LORI LN                                                                                 INDIAN RIVER        MI 49749‐9719
SCHOLLER ELFRIEDE        UNTERER MARKT 17                  A‐8551 WIES/AUSTRIA
SCHOLLETT, NORBERT J     6561 LAKE DR                                                                                 HARRISON           MI 48625‐8966
SCHOLLHAMMER, DAVID J    16078 SILVERWOOD DR                                                                          FENTON             MI 48430‐9113
SCHOLLMAYER/GERMANY      AM KUPFERWERK 2‐10                GINSHEIM‐GUSTAVSBURG                  GINSHEIM‐GUSTAV GE
                                                                                                 65462 GERMANY
SCHOLLMEYER, CARMEN K    3042 PARK AVENUE                                                                             BELOIT             WI   53511‐1663
SCHOLLMEYER, PATRICK J   APT 3                             500 WEST BLACKHAWK DRIVE                                   FORT ATKINSON      WI   53538‐3023
SCHOLLNICK, SHIRLEY M    8350 WINDSONG TRAIL                                                                          CONCORD TOWNSHIP   OH   44077
SCHOLTEN, CALVIN         1510 E. HWY 83 LOT A6                                                                        MISSION            TX   78572
SCHOLTEN, CYNTHIA S      7354 12TH AVE                                                                                JENISON            MI   49428‐7101
SCHOLTEN, CYNTHIA S.     7354 12TH AVE                                                                                JENISON            MI   49428‐7101
SCHOLTEN, DAVID R        8301 HOLLISTER RD                                                                            LAINGSBURG         MI   48848‐9230
SCHOLTEN, DONALD R       471 REED AVE APT 3                                                                           KALAMAZOO          MI   49001
SCHOLTEN, DRUSCILLA      3073 S MOREY RD                                                                              LAKE CITY          MI   49651‐9017
SCHOLTEN, ELSIE M        3251 BROOKHOLLOW DR NE                                                                       ROCKFORD           MI   49341‐9223
SCHOLTEN, GENE O         4647 35TH ST                                                                                 ZEELAND            MI   49464‐9209
SCHOLTEN, GLADYS M       1001 HYDE OAKFIELD RD                                                                        NORTH BLOOMFIELD   OH   44450‐9720
SCHOLTEN, JAY            6595 CEDARGROVE TRL                                                                          JENISON            MI   49428‐7131
SCHOLTEN, JERRY L        2008 PIERCE ST                                                                               FLINT              MI   48503‐2831
SCHOLTEN, MARK J         3904 ACADIA DR                                                                               LAKE ORION         MI   48360‐2721
SCHOLTEN, MARVIN A       7354 12TH AVE                                                                                JENISON            MI   49428‐7101
SCHOLTEN, RICHARD L      130 PORT SHELDON RD SOUTHWEST                                                                GRANDVILLE         MI   49418‐2150
SCHOLTEN, RICHARD W      342 BUDDY ST SE                                                                              KENTWOOD           MI   49548‐4477
SCHOLTEN, RICHARD W      4654 8TH AVENUE                                                                              GRANDVILLE         MI   49418
SCHOLTEN, SANDRA A       4647 35TH ST                                                                                 ZEELAND            MI   49464
SCHOLTEN, SHARON L       795 COUNTY ROAD 1 LOT 203                                                                    PALM HARBOR        FL   34683‐6315
SCHOLTENS, THOMAS B      1946 HIDDEN OAK CT SE                                                                        GRAND RAPIDS       MI   49546‐8236
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SCHOLTES AUTO WORLD      1215 SHERWOOD ST                                                                              WORTHINGTON     MN 56187‐2928
SCHOLTES MOTORS INC.     WAYNE SCHOLTES                 1215 SHERWOOD ST                                               WORTHINGTON     MN 56187‐2928
SCHOLTISEK, JOSEPH L     PO BOX 723                                                                                    LOCKPORT        NY 14095‐0723
SCHOLTS, FRED M          10698 N BIRCH RD                                                                              IRONS           MI 49644‐8730
SCHOLTZ, ALICE B         772 N KOBS RD                                                                                 TAWAS CITY      MI 48763‐9762
SCHOLTZ, DONALD L        4030 JORDAN DR                                                                                SAGINAW         MI 48601‐5945
SCHOLTZ, ECKARD          9630 IDLEWOOD DR                                                                              BROOKLYN        OH 44144‐3121
SCHOLTZ, ROBERT R        772 N KOBS RD                                                                                 TAWAS CITY      MI 48763‐9762
SCHOLWINSKI, CHARLES L   6920 MANSFIELD CARDINAL RD                                                                    KENNEDALE       TX 76060‐7027
SCHOLZ JR, JACK E        5505 SEYBOLD RD.                                                                              BROOKVILLE      OH 45309‐5309
SCHOLZ MARCIA            SCHOLZ, MARCIA                 304 RIDGE VALLEY RD                                            SELLERSVILLE    PA 18960‐1132
SCHOLZ, DOROTHY          10223 LAFAYETTE ROAD                                                                          WEST SALEM      OH 44287‐9202
SCHOLZ, ELAYNE B         51 ROBERTS AVE                                                                                CLAYTON         NJ 08312
SCHOLZ, ERNEST M         125 SENECA PL                                                                                 LANCASTER       NY 14086‐1317
SCHOLZ, GLENN E          143 SKOKIAAN DR APT 6                                                                         FRANKLIN        OH 45005‐1555
SCHOLZ, GORDON W         48726 STURGIS CT                                                                              SHELBY TWP      MI 48315‐4271
SCHOLZ, MARCIA           304 RIDGE VALLEY RD                                                                           SELLERSVILLE    PA 18960‐1132
SCHOLZ, NORMAN R         10223 LAFAYETTE RD                                                                            WEST SALEM      OH 44287‐9202
SCHOLZ, PETER            822 EL DORADO PKWY W                                                                          CAPE CORAL      FL 33914‐7233
SCHOLZ, ROBERTA DAWN     RICHTER WIMBERLEY              1300 US BANK BUILDING ‐ 422 WEST                               SPOKANE         WA 99201
                                                        RIVERSIDE AVENUE
SCHOLZ, RUTH S           2040 KING TARPON DR                                                                           PUNTA GORDA    FL   33955‐1867
SCHOLZ, SCOTT S          21300 LYNDON ST                                                                               DETROIT        MI   48223‐1904
SCHOLZ, SUZANNE E        5505 SEYBOLD RD                                                                               BROOKVILLE     OH   45309‐8245
SCHOLZ‐PINGER, JULIA M   4253 CLEVELAND AVE                                                                            DAYTON         OH   45410‐3405
SCHOLZE, JOHN F          4249 S HOLLEY RD                                                                              HOLLEY         NY   14470‐9752
SCHOLZE, KRISTINA L      127 SOUTH INGRAM STREET                                                                       ALEXANDRIA     VA   22304‐4939
SCHOLZE, RICHARD E       5137 DEARBORN ST                                                                              PITTSBURGH     PA   15224‐2432
SCHOLZEN, ADELINE E      1794 LOIS DR                                                                                  SHOREVIEW      MN   55126‐4936
SCHOLZS AUTO SALVAGE     14445 XOEHN RD                                                                                CAPAC          MI   48014
SCHOMAEKER, JOHN G       931 MONROE DR NE STE 102                                                                      ATLANTA        GA   30308
SCHOMAK, PETER           30452 RUSH ST                                                                                 GARDEN CITY    MI   48135‐2020
SCHOMAKER, ANN F         8847 SWANCREST DR                                                                             SAGINAW        MI   48609‐9225
SCHOMAKER, DARYL A       3600 S AIRPORT RD                                                                             BRIDGEPORT     MI   48722
SCHOMAKER, DON E         17912 DICE RD                                                                                 HEMLOCK        MI   48626‐9637
SCHOMAKER, PATRICIA M    2803 1/2 STATE ST                                                                             SAGINAW        MI   48602‐3742
SCHOMAKER, RALPH J       1020 LEDDY RD                                                                                 SAGINAW        MI   48609‐8824
SCHOMAKER, RHONDA K      3259 LINGER LN                                                                                SAGINAW        MI   48601‐5619
SCHOMAKER, RICHARD E     9775 SCHOMAKER RD                                                                             SAGINAW        MI   48609‐9509
SCHOMAKER, RICHARD J     141 ORCHARD ST                                                                                EAST LANSING   MI   48823‐4535
SCHOMAS, ROBERTA E       21236 SILKTREE CIR                                                                            PLAINFIELD     IL   60544‐9355
SCHOMBERG, ALICE         122 1/2 E SMITH ST                                                                            HICKSVILLE     OH   43526‐1111
SCHOMBERG, HERBERT E     9186 N PAULINA AVE                                                                            PENTWATER      MI   49449‐8725
SCHOMBERG, MARGIE A      903 COLUMBUS AVE                                                                              DEFIANCE       OH   43512‐3134
SCHOMBERG, RONALD L      903 COLUMBUS AVE                                                                              DEFIANCE       OH   43512‐3134
SCHOMBURG, CLARENCE E    2262 EATON‐LEWISBURG RD                                                                       EATON          OH   45320‐5320
SCHOMBURG, CLARENCE E    2262 EATON LEWISBURG RD                                                                       EATON          OH   45320‐9761
SCHOMBURG, CYNTHIA S
SCHOMBURG, DOROTHY G     1263 BEARPAW DR                                                                               DEFIANCE       OH   43512‐8559
SCHOMBURG, DOROTHY G     1263 BEARPAW                                                                                  DEFIANCE       OH   43512
SCHOMBURG, MARK          TRACY FIRM                     5473 BLAIR RD STE 200                                          DALLAS         TX   75231‐4168
SCHOMBURG, ROGER P       21911 ROEHRIG RD                                                                              DEFIANCE       OH   43512‐1221
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Name                       Address1                        Address2            Address3         Address4             City                 State Zip
SCHOMBURG, TODD            9593 KLAIS RD                                                                             CLARKSTON             MI 48348‐2332
SCHOMBURG, WILLIAM R       374 QUITMAN ST                                                                            DAYTON                OH 45410‐1649
SCHOMER JR, JACK R         7085 EVENTIDE DR                                                                          PARMA                 OH 44129‐6153
SCHOMER JR, PETER F        10760 71ST ST                                                                             COUNTRYSIDE            IL 60525‐4804
SCHOMER PETER (507596)     COON BRENT W                    PO BOX 4905                                               BEAUMONT              TX 77704‐4905
SCHOMER, BRYAN J           23042 RECREATION ST                                                                       SAINT CLAIR SHORES    MI 48082‐1315
SCHOMER, CRAIG R.          189 STOCKARD LOOP                                                                         DELAWARE              OH 43015
SCHOMER, MATTHEW J         6828 INTERMEZZO DR                                                                        CLARKSTON             MI 48348‐4857
SCHOMER, MICHAEL F         5001 E MAIN ST LOT 1038                                                                   MESA                  AZ 85205‐1327
SCHOMER, PETER             COON BRENT W                    PO BOX 4905                                               BEAUMONT              TX 77704‐4905
SCHOMER, RAYMOND A         41150 FOX RUN ROAD APT. 322                                                               NOVI                  MI 48377
SCHOMERS, JAMES R          4721N TOPAZ LANE                                                                          GRANBURY              TX 76049
SCHOMISCH, BRUCE F         2160 N GRANGE RD                                                                          FOWLER                MI 48835‐9279
SCHOMISCH, LARRY L         4613 N WILLIAMS RD                                                                        SAINT JOHNS           MI 48879‐9096
SCHOMISCH, RONALD J        PO BOX 405                      255 VICTOR ST                                             FOWLER                MI 48835‐0405
SCHOMMER, ANITA H          12206 W TOMAHAWK TRL                                                                      MEQUON                WI 53097‐3318
SCHOMMER, CATHERINE L      2240 WILLOWGROVE AVE                                                                      KETTERING             OH 45409‐1951
SCHOMMER, GEOFFRY A        105 WENHAM FARM CIR                                                                       UNION                 OH 45322‐3424
SCHOMMER, JAMES D          2240 WILLOWGROVE AVE                                                                      KETTERING             OH 45409‐1951
SCHOMMER, LILLIAN M        24 THREE RIVERS DR                                                                        NEWARK                DE 19702‐4209
SCHOMMER, RAYMOND A        138 MARRETT FARM RD                                                                       UNION                 OH 45322‐3414
SCHOMMER, RICHARD          7204 S TIFTON DR                                                                          FRANKLIN              WI 53132‐9381
SCHOMMER, RUSSELL H        19494 WOODWORTH                                                                           REDFORD               MI 48240‐1532
SCHOMMER, WILLIAM E        5049 CROFTSHIRE DR                                                                        DAYTON                OH 45440‐2401
SCHOMMER,RAYMOND A         138 MARRETT FARM RD                                                                       UNION                 OH 45322‐3414
SCHOMO, ROBERT G           726 REEDER RD                                                                             PARAMUS               NJ 07652‐3722
SCHON, KATHLEEN A          3520 CADWALLADER SONK RD                                                                  CORTLAND              OH 44410‐8802
SCHON, NANCY C             3654 BRIARBROOKE LN                                                                       OAKLAND TOWNSHIP      MI 48306‐4712
SCHONAUER JOHN             1417 HOME AVENUE                                                                          AKRON                 OH 44310‐2514
SCHONAUER, ARLIN A         PO BOX 245                                                                                HAYESVILLE            OH 44838‐0245
SCHONAUER, DAVID G         PO BOX 1368                                                                               ANDERSON              SC 29622‐1368
SCHONAUER, DIANE L         PO BOX 1368                                                                               ANDERSON              SC 29622
SCHONAUER, JOHN W          1417 HOME AVE                                                                             AKRON                 OH 44310‐2514
SCHONAUER, JOHN W          1417 HOME AVENUE                                                                          AKRON                 OH 44310‐2514
SCHONBRUN, NANCY           8429 BARBEE LN                                                                            KNOXVILLE             TN 37923‐6323
SCHONDELMEYER STEPHEN W    3507 RAE CT                                                                               WOODBURY              MN 55125‐9334
SCHONDELMEYER, BRUCE E     30 WINDING STAIR WAY                                                                      O FALLON              MO 63368‐6123
SCHONDIENST, ALOIS         FAULENBACH STR 5                                                     D 78573 WURMLINGEN
                                                                                                GERMANY
SCHONE GREGORY             1314 YELLOWSTONE VALLEY DR                                                                MILFORD              MI   48381‐1056
SCHONE, GREGORY L          1314 YELLOWSTONE VALLEY DR                                                                MILFORD              MI   48381‐1056
SCHONEBECK, RICHARD J      5521 COLDWATER RD                                                                         COLUMBIAVILLE        MI   48421‐8801
SCHONECK, WALTER           622 AMARYLLIS DR                                                                          BAREFOOT BAY         FL   32976‐7117
SCHONEK, ANTHONY J         24650 TUDOR LN                                                                            FRANKLIN             MI   48025‐1622
SCHONEMAN JR, LAWRENCE J   4909 S PARADISE RD                                                                        FALMOUTH             MI   49632‐9611
SCHONEMAN, EULA M          13229 SE 47TH CT                                                                          BELLEVIEW            FL   34420‐5045
SCHONEMAN, HAROLD M        7608 LANSING AVENUE                                                                       JACKSON              MI   49201‐8298
SCHONEMAN, KENNETH J       PO BOX 57                                                                                 EAGLE                WI   53119‐0057
SCHONEMAN, ROBERTA L       4909 S PARADISE RD                                                                        FALMOUTH             MI   49632‐9611
SCHONER CHEVROLET, INC.    MARK HANLON                     720 W MAPLE ST                                            HARTVILLE            OH   44632‐8504
SCHONER CHEVROLET, INC.    720 W MAPLE ST                                                                            HARTVILLE            OH   44632‐8504
SCHONERT, GARTH E          2060 ROSS DR                                                                              FLUSHING             MI   48433‐9476
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Name                                  Address1                        Address2                         Address3                    Address4               City                   State Zip
SCHONEWETTER, LEVI D                  8824 N CHARLOTTE ST                                                                                                 KANSAS CITY             MO 64155‐2510
SCHONEWETTER, RANDLE E                3259 AMELIA RT # 2                                                                                                  FLUSHING                MI 48433
SCHONFELD PETER                       WINSSTR 7                                                                                    10405 BERLIN GERMANY
SCHONFELD, PAUL E                     9275 S GENEVA RD                                                                                                    FLAT ROCK              IN    47234‐9720
SCHONFELD, RICHARD C                  516 RIDGESTONE DR                                                                                                   FRANKLIN               TN    37064‐5570
SCHONHARDT CHRISTOPHER                APT 34A                         1502 PARHAM POINTE DRIVE                                                            LITTLE ROCK            AR    72204‐2427
SCHONHOFF, GEORGE L                   3223 SMALLHOUSE RD                                                                                                  BOWLING GREEN          KY    42104‐4605
SCHONHOFF, KENNETH A                  4021 PARKVIEW DR                                                                                                    ROYAL OAK              MI    48073‐6375
SCHONHOFF, MARK E                     2694S 200 E                                                                                                         KOKOMO                 IN    46902
SCHONHOFF, NEIL T                     2245 DEL MONACO DRIVE                                                                                               DUBUQUE                IA    52002‐2868
SCHONHUT, FRANCIS C                   16718 LANIER AVE                                                                                                    STRONGSVILLE           OH    44136‐6433
SCHONHUT, MARGARET                    35271 DOWNING AVE.                                                                                                  N. RIDGEVILLE          OH    44039‐1404
SCHONS, JANICE K                      1203 MEADOWLARK DR                                                                                                  WATERFORD              MI    48327‐2957
SCHONS, JASON T                       1203 MEADOWLARK DR                                                                                                  WATERFORD              MI    48327‐2957
SCHONS, JENNIFER L                    50880 APPLEBROOKE DR                                                                                                NORTHVILLE             MI    48167‐9121
SCHONS, MARK P                        PO BOX 9022                                                                                                         WARREN                 MI    48090‐9022
SCHONS, MICHAEL A                     1203 MEADOWLARK DR                                                                                                  WATERFORD              MI    48327‐2957
SCHONS, ROBERT F                      5050 INDIGO BAY BLVD UNIT 201                                                                                       ESTERO                 FL    33928‐7976
SCHONS, VIRGINIA L                    659 WOODINGHAM AVE                                                                                                  WATERFORD              MI    48328‐4170
SCHONSCHACK, PAUL J                   34169 STATE ST                                                                                                      FARMINGTON             MI    48335‐4169
SCHONSHECK MICHAEL & JOYCE            51331 PONTIAC TRL                                                                                                   WIXOM                  MI    48393‐2046
SCHONWALD ABRAHAM                     SCHONWALD, ABRAHAM              GEICO                            GEICO INSURANCE ONE GEICO                          SAN DIEGO              CA    92150‐9119
                                                                                                       WEST BOX 509119
SCHONWALD, ABRAHAM                    GEICO                           GEICO INSURANCE ONE GEICO WEST                                                      SAN DIEGO              CA 92150‐9119
                                                                      BOX 509119
SCHONWALD, ABRAHAM                    1743 S SHENANDOAH ST                                                                                                LOS ANGELES            CA 90035‐4324
SCHONWIESE HELMUT                     AM NIBELUNGENBAD 106                                                                         XANTEN 46509 GERMANY
SCHOO, DOUGLAS L                      4524 INGHAM ST                                                                                                      LANSING                MI    48911‐2925
SCHOOF, CAROYLN J.                    13316 HIGHLAND CIR                                                                                                  STERLING HEIGHTS       MI    48312‐5338
SCHOOF, DIANA H                       7052 ANDERSON CT                                                                                                    SHELBY TWP             MI    48317‐6339
SCHOOF, GLENN W                       5832 MANDARIN DR APT K                                                                                              GOLETA                 CA    93117‐3348
SCHOOF, JERRY C                       2129 E 14 MILE RD APT 212                                                                                           STERLING HTS           MI    48310‐5902
SCHOOF, LARRY A                       470 OLD ORCHARD DR APT 5                                                                                            ESSEXVILLE             MI    48732
SCHOOF, ROBERT F                      618 N JONES RD                                                                                                      ESSEXVILLE             MI    48732‐9687
SCHOOFF, ELIZABETH A                  407 FOURTH ST                                                                                                       BRODHEAD               WI    53520‐1131
SCHOOFF, FLORENCE E                   624 WILDWOOD PKWY                                                                                                   CAPE CORAL             FL    33904‐5264
SCHOOK JR, FRANKLIN E                 502 ORANGE AVE                                                                                                      SEBASTIAN              FL    32958‐4042
SCHOOK, DAVE R                        3215 AVALON RD                                                                                                      ROCHESTER HLS          MI    48309‐3958
SCHOOK, GEORGE A                      5320 TIFFIN DR                                                                                                      NORTH RICHLAND HILLS   TX    76180‐5951
SCHOOL DISTRICT OF MANATEE COUNTY                                     2800 27TH ST E                                                                                             FL    34208

SCHOOL DISTRICT OF PALM BEACH CO.FL                                   3376 SUMMIT BLVD                                                                                            FL   33406

SCHOOL DISTRICT OF SPRINGFIELD                                        103 MONTGOMERY AVE                                                                                         PA 19038
TOWNSHIP
SCHOOL DISTRICT OF THE CITY OF ROYAL 1123 LEXINGTON BLVD              DIRECTOR OF CONTINUING EDUC                                                         ROYAL OAK              MI 48073‐2438
OAK
SCHOOL DISTRICT OF THE CITY OFROYAL   1123 LEXINGTON BLVD             DIRECTOR OF CONTINUING EDUC                                                         ROYAL OAK              MI 48073‐2438
OAK
SCHOOL DISTRICT OF THE CITY OFSAGINAW 550 MILLARD ST                  ATTN CASHIERS OFFICE                                                                SAGINAW                MI 48607‐1140

SCHOOL OF ADVERTISING ART             1725 E DAVID RD                                                                                                     KETTERING              OH 45440‐1612
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Name                              Address1                        Address2                        Address3   Address4         City           State Zip
SCHOOL OF NATURAL HEALING         25 WEST 200 SOUTH SUITE 16                                                                  SPRINGVILLE     UT 84663
SCHOOL OF THE ART INSTITUTE OF    37 S WABASH AVE                                                                             CHICAGO          IL 60603
CHICAGO
SCHOOL OF VISUAL ARTS OFFICE OF   209 E 23RD ST                                                                               NEW YORK       NY 10010‐3901
STUDENT ACCOUNTS
SCHOOL, JEFF S                    1035 E COSTELLO ST                                                                          MOUNT MORRIS   MI   48458‐2240
SCHOOL, JEFF STEVEN               1035 E COSTELLO ST                                                                          MOUNT MORRIS   MI   48458‐2240
SCHOOL, KARL D                    10276 LOVEJOY RD                                                                            LINDEN         MI   48451‐9723
SCHOOL, KARL D                    6071 TORREY RD                                                                              FLINT          MI   48507‐3841
SCHOOL, KARL DAVID                6071 TORREY RD                                                                              FLINT          MI   48507‐3841
SCHOOL, LINDA J                   10276 LOVEJOY RD                                                                            LINDEN         MI   48451‐9723
SCHOOLCRAFT COLLEGE               CASHIER'S OFFICE                18600 HAGGERTY RD                                           LIVONIA        MI   48152‐3932
SCHOOLCRAFT HAYES (491307)        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD     OH   44067
                                                                  PROFESSIONAL BLDG
SCHOOLCRAFT TOWNSHIP TREASURER    50 EAST V W AVENUE                                                                          VICKSBURG      MI   49097
SCHOOLCRAFT, BETTY T              RR 1 BOX 27                                                                                 WILSIE         WV   26623‐7505
SCHOOLCRAFT, FRED J               7573 DAPHNE DR                                                                              SYRACUSE       NY   13212‐1004
SCHOOLCRAFT, JOHN R               480 S MARION ST                                                                             MORGANTOWN     IN   46160‐9504
SCHOOLCRAFT, LARRY K              PO BOX 1029                                                                                 MARTINSVILLE   IN   46151‐0029
SCHOOLCRAFT, NORMAN E             70 CRAMER PL                                                                                MARTINSVILLE   IN   46151‐1327
SCHOOLCRAFT, RONALD K             7748 PARKLAND SQ                                                                            COLUMBUS       IN   47201‐2778
SCHOOLCRAFT, WALTER G             RR 1 BOX 27                                                                                 WILSIE         WV   26623‐7505
SCHOOLER FLORENCE                 510 COUNTY ROAD C                                                                           LAMESA         TX   79331‐1603
SCHOOLER JR, ALLEN H              1416 RUSKIN RD.                                                                             DAYTON         OH   45406‐5406
SCHOOLER JR, ALLEN H              1416 RUSKIN ROAD                                                                            DAYTON         OH   45406‐4651
SCHOOLER, CHARLES N               1470 SOUTHFIELD DR APT 16                                                                   AURORA         IL   60504‐5342
SCHOOLER, DANIEL G                113 KAMMER AVE APT #1                                                                       DAYTON         OH   45417‐5417
SCHOOLER, DONNA R                 PO BOX 236                                                                                  DANVILLE       AL   35619‐0236
SCHOOLER, ELVENITA N              1819 KING AVE.                                                                              DAYTON         OH   45420‐2446
SCHOOLER, ELVENITA N              1819 KING AVE                                                                               DAYTON         OH   45420‐2446
SCHOOLER, JEFF A                  3217 N CEDAR ST                                                                             LANSING        MI   48906‐3211
SCHOOLEY JR, CHARLES E            4659 RUTH ELIZABETH DR                                                                      CLAYTON        IN   46118‐8810
SCHOOLEY JR, EUGENE M             81 N MAIN ST                                                                                PENNINGTON     NJ   08534‐2204
SCHOOLEY KEVIN E                  SCHOOLEY, KEVIN E               346 PARK ST STE 200                                         BIRMINGHAM     MI   48009‐3436
SCHOOLEY, BURL F                  4466 BRIARDALE ST                                                                           SAN ANTONIO    TX   78217‐1327
SCHOOLEY, DALE L                  1044 EVELYN AVE                                                                             YPSILANTI      MI   48198‐6422
SCHOOLEY, DALE LYNN               1044 EVELYN AVE                                                                             YPSILANTI      MI   48198‐6422
SCHOOLEY, EDWARD D                3029 PROVERBS CT                                                                            MONROE         NC   28110‐7896
SCHOOLEY, EMMA E                  324 STIEMLY AVE                                                                             GLEN BURNIE    MD   21060‐6936
SCHOOLEY, EUGENE M                12 W FRANKLIN AVE                                                                           PENNINGTON     NJ   08534‐2211
SCHOOLEY, FORD G                  4433 SAINT JAMES CT APT 3                                                                   FLINT          MI   48532‐4261
SCHOOLEY, GARY L                  301 FERRY ST                                                                                CORUNNA        MI   48817‐1016
SCHOOLEY, GERALD L                3541 N MERIDIAN =303                                                                        INDIANAPOLIS   IN   46222
SCHOOLEY, GUY L                   3660 GLENMERE DR                                                                            YOUNGSTOWN     OH   44511‐3043
SCHOOLEY, ILLA                    7134 E MT MORRIS RD                                                                         OTISVILLE      MI   48463
SCHOOLEY, JERRY A                 6275 WILLIAMS LAKE RD                                                                       WATERFORD      MI   48329‐3062
SCHOOLEY, KATHLEEN C              9479 FIRWOOD RD                                                                             SOUTH LYON     MI   48178‐8803
SCHOOLEY, KEVIN E                 LIBLANG & ASSOCIATES            346 PARK ST STE 200                                         BIRMINGHAM     MI   48009‐3436
SCHOOLEY, KEVIN E                 867 GARDEN ST                                                                               GARDEN CITY    MI   48135‐2747
SCHOOLEY, KEVIN EDWARD            867 GARDEN ST                                                                               GARDEN CITY    MI   48135‐2747
SCHOOLEY, KIRK W                  2580 SANDWEDGE LN                                                                           PINCKNEY       MI   48169‐9185
SCHOOLEY, KIRK WALTER             2580 SANDWEDGE LN                                                                           PINCKNEY       MI   48169‐9185
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Name                                  Address1                        Address2                       Address3   Address4         City                 State Zip
SCHOOLEY, LYNN F                      1735 STONYCROFT RD                                                                         GAYLORD               MI 49735‐9284
SCHOOLEY, LYNN FORD                   1735 STONYCROFT RD                                                                         GAYLORD               MI 49735‐9284
SCHOOLEY, MARIAN L                    22811 FREDERICK AVE                                                                        FARMINGTON            MI 48336‐3928
SCHOOLEY, MARY C                      1845 SHANKIN DR                                                                            WOLVERINE LAKE        MI 48390‐2448
SCHOOLEY, SHIRLEY J                   248 JEFFERSON STREET BOX 355                                                               NEWAYGO               MI 49337‐8843
SCHOOLEY, WILLIAM
SCHOOLEY, WILLIAM F                   1930 HAMBURG RD SW                                                                         LANCASTER            OH   43130‐8904
SCHOOLFIELD, DAVID J                  139 S MAPLE ST                                                                             EXCLSOR SPRGS        MO   64024‐2025
SCHOOLMAN, MICHAEL G                  PO BOX 566                                                                                 CLARKESVILLE         GA   30523‐0010
SCHOOLMASTER, EMMA C                  543 BROWNELL ST SE                                                                         GRAND RAPIDS         MI   49548‐7310
SCHOOLMASTER, HOM, KILLEEN, SIEFER,   ATTN: JAMES H. SCHOOLMASTER     40900 N. WOODWARD AVENUE STE                               BOLOOMFIELD          MI   48304
ARENE & HOEHN                                                         200
SCHOON, DAVID S                       PO BOX 442                                                                                 TYRONE               GA   30290‐0442
SCHOON, M L                           295 CASTLEWOOD RD                                                                          TYRONE               GA   30290
SCHOON, RONALD E                      8226 CARDINAL CT                                                                           FORT WAYNE           IN   46804‐7880
SCHOON, THOMAS J                      2852 METRY CT NE                                                                           GRAND RAPIDS         MI   49525‐1350
SCHOONBECK, KENNETH H                 2575 CREEK SHIRE CT                                                                        KALAMAZOO            MI   49009‐5851
SCHOONERMAN, DAVID E                  1935 #6 PARKCREST DR                                                                       WYOMING              MI   49509
SCHOONFIELD, JACK L                   23107 PLAYVIEW ST                                                                          SAINT CLAIR SHORES   MI   48082‐1394
SCHOONMAKER, LISA
SCHOONMAKER, VIOLA                    318 CADGEWITH E.                                                                           LANSING              MI   48906‐1526
SCHOONMAKER, VIRGINIA P               685 S LAPOSADA CIR.             GH 2603                                                    GREEN VALLEY         AZ   85614
SCHOONMAKER, WILLIAM S                85 INDIAN TRAILS RDG                                                                       BEDFORD              IN   47421‐8745
SCHOONOVER SR THOMAS (460171)         DUFFY & ASSOCS JOHN J           23823 LORAIN RD                                            NORTH OLMSTED        OH   44070
SCHOONOVER STEWARD W SR (406041)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA   23510
                                                                      STREET, SUITE 600
SCHOONOVER THOMAS H (494181)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510
                                                                      STREET, SUITE 600
SCHOONOVER'S AUTO SVC CTR             ATTN: JEFF BLEEDLE              PO BOX 626                                                 JANESVILLE           WI   53547‐0626
SCHOONOVER, BARBARA A                 5809 LORI LN                    PO BOX 853                                                 INDIAN RIVER         MI   49749‐9719
SCHOONOVER, DESSIE E                  ROUTE 2 BOX 87A                                                                            BELINGTON            WV   26250‐9526
SCHOONOVER, ELMO                      422 SE 20TH ST                                                                             CAPE CORAL           FL   33990‐2225
SCHOONOVER, FERRY G                   1050 W HIGHWAY 78 APT 113                                                                  VILLA RICA           GA   30180
SCHOONOVER, FLOYD T                   1146 CO C                                                                                  ARKDALE              WI   54613
SCHOONOVER, GARY E                    1856C NORTHGATE DR APT 206                                                                 BELOIT               WI   53511
SCHOONOVER, GENELLA                   1050 W HIGHWAY 78 APT 113                                                                  VILLA RICA           GA   30180
SCHOONOVER, GENELLA                   40 TERRY TERRACE                APT 23 B                                                   CARROLLTON           GA   30117
SCHOONOVER, GERALD D                  1985 VALLEY BLVD                                                                           NILES                OH   44446‐2826
SCHOONOVER, HERBERT N                 30 RANDY ST                                                                                WEST UNION           OH   45693‐9753
SCHOONOVER, JAMES A                   720 E RUSSELL RD                                                                           JANESVILLE           WI   53545‐9648
SCHOONOVER, JAMES B                   18799 PEACH RD                                                                             CULVER               IN   46511‐9747
SCHOONOVER, JANE E                    5030 SOUTH OAK LANE                                                                        STANDISH             MI   48658
SCHOONOVER, JANE E                    5030 OAK LN                                                                                STANDISH             MI   48658‐9611
SCHOONOVER, LARRY J                   1980 HAMILTON RICHMOND RD                                                                  HAMILTON             OH   45013‐1014
SCHOONOVER, LESLIE J                  3445 ERIE DR                                                                               ORCHARD LAKE         MI   48324‐1521
SCHOONOVER, MOODY K                   8557 BURTON RD                                                                             ADRIAN               MI   49221‐9457
SCHOONOVER, N L                       5321 BEECHER RD                                                                            GRANVILLE            OH   43023‐9617
SCHOONOVER, OLIVE M                   2820 MAPLES DR                                                                             HURST                TX   76054
SCHOONOVER, OLIVE M                   2820 NAPLES DRIVE                                                                          HURST                TX   76054‐2261
SCHOONOVER, ROBERT W                  3379 FAIRWOOD DR                                                                           BEAVERCREEK          OH   45432‐2376
SCHOONOVER, ROGER E                   4109 VANNEST AVE                                                                           MIDDLETOWN           OH   45042‐4797
SCHOONOVER, RONALD W                  1402 S OSBORNE AVE                                                                         JANESVILLE           WI   53546‐5433
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Name                        Address1                        Address2                         Address3   Address4         City           State Zip
SCHOONOVER, SCOTT J         1012 SUTHERLAND AVE                                                                          JANESVILLE      WI 53545‐1632
SCHOONOVER, SCOTT M         APT 3612                        1400 NORTH STATE HIGHWAY 360                                 MANSFIELD       TX 76063‐3565
SCHOONOVER, SCOTT M.        APT 3612                        1400 NORTH STATE HIGHWAY 360                                 MANSFIELD       TX 76063‐3565
SCHOONOVER, STEPHEN J       5809 LORI LN                    PO BOX 853                                                   INDIAN RIVER    MI 49749‐9719
SCHOONOVER, STEWARD W       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK         VA 23510‐2212
                                                            STREET, SUITE 600
SCHOONOVER, THOMAS H        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK        VA 23510‐2212
                                                            STREET, SUITE 600
SCHOONOVER, URSALYN J       606 SALEM ST                                                                                 ROCKTON        IL    61072‐2114
SCHOONOVER, WARREN G        668 E LIMERICK LN                                                                            BELOIT         WI    53511‐6519
SCHOONOVER, WATSON L        1416 D BITTLE ST                                                                             BELOIT         WI    53511
SCHOONVELD JUSTIN           SCHOONVELD, CAREY               120 WEST MADISON STREET , 10TH                               CHICAGO        IL    60602
                                                            FLOOR
SCHOONVELD JUSTIN           SCHOONVELD, JUSTIN              120 WEST MADISON STREET , 10TH                               CHICAGO         IL   60602
                                                            FLOOR
SCHOORLEMMER PATRICK        422 LAUREL AVE                                                                               WILMETTE       IL    60091‐2810
SCHOORS RONALD              3902 CLAUDE RD                                                                               NIXA           MO    65714‐7553
SCHOPEN, ROBERT F           N4235 STATE ROAD 89                                                                          JEFFERSON      WI    53549‐9621
SCHOPIERAY, CARL R          4329 OLD CARRIAGE CT                                                                         FLINT          MI    48507‐5617
SCHOPIERAY, DAVID J         1234 W GRAND BLANC RD                                                                        GRAND BLANC    MI    48439‐9338
SCHOPIERAY, GORDON D        11555 E LANSING RD                                                                           DURAND         MI    48429‐9745
SCHOPIERAY, LILLIE E        203 PIPERS LN                                                                                MOUNT MORRIS   MI    48458‐8855
SCHOPIERAY, LILLIE E        203 PIPERS LANE                                                                              MT. MORRIS     MI    48458‐8855
SCHOPLER, TIMOTHY J         6138 DEERFIELD ST                                                                            DAYTON         OH    45414‐2811
SCHOPP III, LESTER E        UNIT 15                         802 ELBURZ                                                   ELKO           NV    89801‐7403
SCHOPP, ELNORA L            1010 TAYWOOD RD #704                                                                         ENGLEWOOD      OH    45322‐2474
SCHOPP, KEVIN J             11682 HIBISCUS LN                                                                            GRAND LEDGE    MI    48837‐8178
SCHOPP, KEVIN JOHN          11682 HIBISCUS LN                                                                            GRAND LEDGE    MI    48837‐8178
SCHOPP, MARY D              14 SHADOW CREEK DR                                                                           SAINT PETERS   MO    63376‐2357
SCHOPP, RICHARD W           3430 DEVIN RD                                                                                GROVE CITY     OH    43123‐2014
SCHOPP, RONNIE L            12699 DUNDEE DR                                                                              GRAND LEDGE    MI    48837‐8957
SCHOPPENHORST, DONALD W     4425 THRUSH DR                                                                               INDIANAPOLIS   IN    46222‐1246
SCHOPPER, SHARON M          1044 STANLEY RD                                                                              MOUNT MORRIS   MI    48458‐9107
SCHOPPERT LEON D (635649)   ANGELOS PETER G LAW OFFICE      1300 N MARKET ST STE 212                                     WILMINGTON     DE    19801‐1813
SCHOPPERT, LEON D           ANGELOS PETER G LAW OFFICE      1300 N MARKET ST STE 212                                     WILMINGTON     DE    19801‐1813
SCHOPPY, WILLIAM R          PO BOX 312                                                                                   CANFIELD       OH    44406‐0312
SCHOR, RONALD S             G6379 KELLY RD                                                                               FLUSHING       MI    48433
SCHORAH KENNETH W           SCHORAH, KENNETH W              1111 FLINTHILL ROAD                                          WILMINGTON     DE    19808
SCHORAH, JAMES L            32 LAKESHORE DRIVE                                                                           LEWES          DE    19958‐9102
SCHORAH, KENNETH W          1111 FLINT HILL RD                                                                           WILMINGTON     DE    19808‐1911
SCHORAH, KENNETH W
SCHORAH, SHERRON            1111 FLINT HILL RD                                                                           WILMINGTON     DE    19808
SCHORB, JAMES A             15 WINTER WOODS DR                                                                           LOUISBURG      NC    27549‐6425
SCHORFHEIDE, CHARLES W      433 E ALTON ST                                                                               NASHVILLE      IL    62263‐1885
SCHORGE, CLAYTON J          681 HEINE ST                                                                                 FRANKENMUTH    MI    48734‐1424
SCHORK, MARK A              990 E. LOVEJOY, LOWER                                                                        BUFFALO        NY    14206
SCHORLING, LARRY J          232 PLEASANT ST                                                                              ROMEO          MI    48065‐5175
SCHORLING, LARRY JOHN       232 PLEASANT ST                                                                              ROMEO          MI    48065‐5175
SCHORLING, RICHARD L        319 TUDOR ST                                                                                 TOLEDO         OH    43612‐1322
SCHORLING, RICHARD LEE      319 TUDOR ST                                                                                 TOLEDO         OH    43612‐1322
SCHORM, BONNIE S            2305 N WAUGH ST                                                                              KOKOMO         IN    46901‐1683
SCHORMAN, EILEEN A          4014 MANHATTAN AVE                                                                           SAINT PETERS   MO    63376‐6544
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Name                               Address1                              Address2                   Address3   Address4         City               State Zip
SCHORMANN, SCOTT D                 256 GREENSHIRE LN                                                                            O FALLON            MO 63368‐8363
SCHORN ROB                         SCHORN, ROB                           140 8TH STREET S. APT 13                               KAMDIYOHI           MN 56251
SCHORN, ROB                        140 S 8TH ST APT 13                                                                          KANDIYOHI           MN 56251‐9780
SCHORNACK, JAMES                   54838 ASHLEY LAUREN DR                                                                       MACOMB              MI 48042‐2323
SCHORNACK, VIKKI C                 20317 CHURCHILL AVE                                                                          BROWNSTOWN TWP      MI 48183‐5008
SCHORNAK, ROBERT                   39831 SOUTHPOINTE AVE                                                                        HARRISON TWP        MI 48045‐1650
SCHORNAK, STEVE M                  7725 KNOLLS DR                                                                               WATERFORD           MI 48329‐2621
SCHORNICK, MARION M                13574 GRATIOT ROAD                                                                           HEMLOCK             MI 48626‐8443
SCHORNICK, WILLIAM H               13520 GRATIOT RD                                                                             HEMLOCK             MI 48626‐8443
SCHORR SR, RICHARD L               5114 FLETCHER ST                                                                             ANDERSON            IN 46013‐4817
SCHORR TRANSMISSION AUTO & TRUCK   1901 S M‐291                                                                                 INDEPENDENCE        MO 64057
SERVICE LLC
SCHORR, ARTHUR H                   3681 TROVILLO RD                                                                             MORROW             OH   45152‐8208
SCHORR, RONALD G                   PO BOX 472                                                                                   MIDLOTHIAN         TX   76065
SCHORRE, WILLIAM L                 2813 LANGLEY AVE.F112                                                                        PENSACOLA          FL   32504
SCHORSCH, JOHN H                   5455 MILANE CIR                                                                              CLARKSTON          MI   48346‐3540
SCHORT SR, CHARLES W               274 DICK AVE                                                                                 PONTIAC            MI   48341‐1802
SCHORT, CLARA B                    PO BOX 86                             C/O LOWELL R COX                                       CORBIN             KY   40702‐0086
SCHORTYE, RITA M                   1034 MARCIE LN                        C/O ROGER MURPHY                                       MILFORD            OH   45150‐2019
SCHORY, GENE P                     2601 S PAVILION CENTER DR UNIT 1085                                                          LAS VEGAS          NV   89135‐1809
SCHOSTEK, DAVID N                  524 E PARKWAY BLVD                                                                           AURORA             OH   44202‐6601
SCHOSTEK, DONALD C                 5719 BARRY TRCE                                                                              DUBLIN             OH   43017‐2231
SCHOSTICK, ROSALIE K               55 PEORIA ST                                                                                 BUFFALO            NY   14207‐2055
SCHOTT BROS. SALES, INC.           811 NEVADA RD                                                                                BUCYRUS            OH   44820‐1743
SCHOTT BROS. SALES, INC.           EDWARD SCHOTT                         811 NEVADA RD                                          BUCYRUS            OH   44820‐1743
SCHOTT JR, ARTHUR L                543 E LAKE MITCHELL DR                                                                       CADILLAC           MI   49601‐8764
SCHOTT JR, ELMER S                 4858 S SHORE DR                                                                              UNIONVILLE         IN   47468‐9539
SCHOTT, ALLEN W                    PO BOX 192                                                                                   LINWOOD            MI   48634‐0192
SCHOTT, CHARLES E                  106 E JULIE ANN DR                                                                           PENDLETON          IN   46064‐9144
SCHOTT, CHARLES J                  6282 MILLEVILLE CIR                                                                          SANBORN            NY   14132‐9239
SCHOTT, DENNIS R                   1001 N STATE RD APT 507                                                                      DAVISON            MI   48423‐1175
SCHOTT, DIANE J                    516 MATAWAN AVE                                                                              KEYPORT            NJ   07735‐5016
SCHOTT, DONALD F                   1506 11TH ST                                                                                 BAY CITY           MI   48708‐6755
SCHOTT, DUANE A                    7223 KEBIR CT                                                                                FORT WAYNE         IN   46815‐6481
SCHOTT, ESTHER M                   801 W LIMBERLOST DR SPACE K                                                                  TUCSON             AZ   85705‐1509
SCHOTT, HAROLD L                   9038 N 100 E                                                                                 ALEXANDRIA         IN   46001‐8339
SCHOTT, HERMAN D                   10310 MALCOLM CIR APT C                                                                      COCKEYSVILLE       MD   21030‐3958
SCHOTT, JAMES M                    11604 E NEWBURG RD                                                                           DURAND             MI   48429‐9446
SCHOTT, JEFFREY C                  11703 KINGTOP DR                                                                             KINGSVILLE         MD   21087‐1603
SCHOTT, JOHN F                     40395 MEADE POINT DR                                                                         STERLING HEIGHTS   MI   48313‐3955
SCHOTT, JUDITH L                   36 EAGLE DR                                                                                  EAST DOUGLAS       MA   01516‐2356
SCHOTT, JULIUS F                   1325 DORSEY AVE                                                                              BALTIMORE          MD   21221‐3608
SCHOTT, LEONARD K                  4460 SUNNYMEADE AVE                                                                          BURTON             MI   48519‐1264
SCHOTT, LEONARD K                  4460 SUNNYMEAD AVE                                                                           BURTON             MI   48519‐1264
SCHOTT, LOIS M                     557 CALLE ANZUELO                                                                            SANTA BARBARA      CA   93111‐1720
SCHOTT, MARY A                     3714 N RAMSGATE RD                                                                           MARTINSVILLE       IN   46151‐5970
SCHOTT, NEIL D                     850 E ERICKSON RD                                                                            PINCONNING         MI   48650‐9473
SCHOTT, RANDALL S                  547 CEDAR ST APT 2                                                                           LAPEER             MI   48446‐2193
SCHOTT, RICHARD N                  3768 DYKEMAN RD                                                                              FORT GRATIOT       MI   48059‐4111
SCHOTT, RICKY W                    2433 MARYLAND AVE                                                                            FLINT              MI   48506‐2854
SCHOTT, RICKY WAYNE                2433 MARYLAND AVE                                                                            FLINT              MI   48506‐2854
SCHOTT, ROBERT M                   PO BOX 100                            5815 GENESSEE ST                                       OTTER LAKE         MI   48464‐0100
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Name                                 Address1                        Address2            Address3         Address4             City                State Zip
SCHOTT, ROSEMARY                     300 NORTH STREET                                                                          PINCONNING           MI 48650
SCHOTT, SANDRA M                     6282 MILLEVILLE CIR                                                                       SANBORN              NY 14132‐9239
SCHOTT, SARAH A                      4460 SUNNYMEAD AVE                                                                        BURTON               MI 48519‐1264
SCHOTT, STANLEY T                    2017 ROCKY ROAD DR                                                                        SAINT PAUL           MO 63366‐1023
SCHOTT, THERESA A                    12082 E POTTER RD                                                                         DAVISON              MI 48423‐8147
SCHOTTER, CRAIG C                    3224 SCARSBOROUGH RD                                                                      TOLEDO               OH 43615‐1610
SCHOTTER, ERNEST                     13700 PIERCE RD                                                                           BYRON                MI 48418‐9766
SCHOTTER, RAYMOND                    6384 W STANLEY RD                                                                         MOUNT MORRIS         MI 48458‐9318
SCHOTTERS, F S                       29038 THISTLE CT                                                                          HARRISON TOWNSHIP    MI 48045‐6024
SCHOTTERS, F STEVEN                  29038 THISTLE CT 1                                                                        HARRISON TOWNSHIP    MI 48045
SCHOTTERS, FRANK J                   20 COTTON XING                                                                            SAVANNAH             GA 31411‐2504
SCHOTTERS, THERESA A                 29038 THISTLE CT 1                                                                        HARRISON TOWNSHIP    MI 48045
SCHOTTHOEFER JR, JEROME W            7126 WINONA AVE                                                                           ALLEN PARK           MI 48101‐2224
SCHOTTMILLER, RAYMOND E              38 BRIGHT OAKS DR                                                                         ROCHESTER            NY 14624‐4736
SCHOTTS, DALE E                      6736 SERENITY DR                                                                          DEXTER               MI 48130‐9361
SCHOTTS, DONALD J                    650 THURMAN ST                                                                            SAGINAW              MI 48602‐2832
SCHOTTS, RONALD                      RONALD SCHOTTS                  1385 BUMWOOD DR                                           COLUMBUS             OH 43229
SCHOTTS, RONALD P                    1385 GUMWOOD DR                                                                           COLUMBUS             OH 43229‐4424
SCHOTZ, ALEXANDER J                  3807 IRISH RD                                                                             WILSON               NY 14172‐9765
SCHOULTEN, JAMES P                   3660 FLORAWOOD COURT                                                                      RIVERSIDE            CA 92505‐3617
SCHOULTZ, LEONA M                    532 PARK AVE                                                                              NEWTON FALLS         OH 44444‐1061
SCHOULTZ, LEONA M                    532 PARK AVENUE                                                                           NEWTON FALLS         OH 44444‐1061
SCHOULTZ, RICHARD A                  4943 HICKORY CT                                                                           ELKHORN              WI 53121‐4237
SCHOUN, MILA                         23200 LAKE RD APT 52                                                                      BAY VILLAGE          OH 44140‐2972
SCHOUSE, ROBERT D                    1600 GUNTLE RD                                                                            NEW LEBANON          OH 45345‐9394
SCHOUSE, ROBERT DANIEL               1600 GUNTLE RD                                                                            NEW LEBANON          OH 45345‐9394
SCHOUSEK, BRIAN W                    1409 COUNTY ROAD V                                                                        HOULTON              WI 54082‐2126
SCHOUSEK, THERESA J                  1409 COUNTY ROAD V                                                                        HOULTON              WI 54082‐2126
SCHOUSTER, KARL M                    811 FINLEY ST. #402                                                                       PORTSMOUTH           OH 45662
SCHOUT, RITA                         12420 S BENCK DR APT 110                                                                  ALSIP                 IL 60803‐1060
SCHOUT, RITA                         12420 BENCK DR APT 110                                                                    ALSIP                 IL 60803‐1060
SCHOUTEN UNIVERSAL B.V. DE HEER J.   PRINSES BEATRIXPLANTSOEN 6 E                                         3055 PT ROTTERDAM,
SCHOUTEN                                                                                                  NETHERLANDS
SCHOUW JR, FRED C                    4398 BLACKFOOT DR SW                                                                      GRANDVILLE          MI   49418‐1727
SCHOUW, SHIRLEY A                    1978 92ND ST SW                                                                           BYRON CENTER        MI   49315‐8829
SCHOUW, SHIRLEY A.NN                 1978 92ND ST SW                                                                           BYRON CENTER        MI   49315‐8829
SCHOVAN, DONALD                      21213 VIOLET ST                                                                           ST CLAIR SHRS       MI   48082‐1561
SCHOVAN, SHIRLEY M                   4530 SEDUM GLN                                                                            WATERFORD           MI   48328‐1155
SCHOW KENNETH                        147 COLUMBIA DRIVE                                                                        RANCHO MIRAGE       CA   92270‐3112
SCHOW, DON R                         2626 HOLLANDALE CIR                                                                       ARLINGTON           TX   76010‐2411
SCHOWALTER JR, HENRY L               4242 W ROUNDHOUSE RD APT 2                                                                SWARTZ CREEK        MI   48473‐1440
SCHOWALTER, DOROTHY L                2201 S GRACE ST APT 307                                                                   LOMBARD             IL   60148‐5504
SCHOWE, CAROL B                      7515 N CLINTON ST                                                                         FORT WAYNE          IN   46825‐3105
SCHOWE, JAMES F                      4101 N MANCHESTER RD                                                                      MUNCIE              IN   47304‐1316
SCHOWE, STEPHEN J                    4615 W 494 N                                                                              HUNTINGTON          IN   46750‐8944
SCHOWENGERDT, DENIS D                302 N ELM ST                                                                              SWEET SPRINGS       MO   65351‐1106
SCHOWENGERDT, LOUIS A                4722 CLAREMONT AVE                                                                        KANSAS CITY         MO   64133‐2468
SCHOWINSKY, NICK R                   7805 DRESDEN AVE                                                                          PARMA               OH   44129‐2807
SCHOWNIR, WASYL                      808 ESTHER ST                                                                             HUNTINGTON          IN   46750‐1918
SCHRACK, CHARLES D                   417 NOLLMEYER RD                                                                          BALTIMORE           MD   21220‐3009
SCHRACK, CLAIR J                     5619 ATTAWAY ST                                                                           NORTH CHARLESTON    SC   29406‐3254
SCHRACK, FRANK J                     13389 TAMMY MARIE LANE                                                                    ST. PARIS           OH   43072‐9543
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Name                              Address1                          Address2                       Address3                  Address4                    City               State Zip
SCHRADER BRI/ALTAVIS              205 FRAZIER RD                    P.O. BOX 668                                                                         ALTAVISTA           VA 24517‐1020
SCHRADER BRIDGEPORT               1609 AIRPORT RD                                                                                                        MONROE              NC 28110‐7393
SCHRADER BRIDGEPORT               205 FRAZIER RD                                                                                                         ALTAVISTA           VA 24517‐1020
SCHRADER BRIDGEPORT BRASIL LTDA   AV MALIK ASSAD 1600                                                                        JACAREI , SP 12300 BRAZIL
SCHRADER BRIDGEPORT INTL INC      205 FRAZIER RD                    PO BOX 668                                                                           ALTAVISTA          VA 24517‐1020
SCHRADER ELEC/IRELAN              11 TECHNOLOGY PARK                BELFAST RD                                               ANTRIM COUNTY AN BT41
                                                                                                                             LQS IRELAND
SCHRADER ELECTRONICS              11 TECHNOLOGY PARK                BELFAST ROAD                                             ANTRIM BT41 1QS,
                                                                                                                             NORTHERN IRELAND
SCHRADER ELECTRONICS              MARIO VICOSI                      C/O SCHRADER ELECTRONICS       101 EVERGREEN DRIVE       REYNOSA TM 88570
                                                                                                                             MEXICO
SCHRADER ELECTRONICS              MARIO VISCOSI                     101 EVERGREEN DRIVE                                                                  CONCORDVILLE       PA
SCHRADER ELECTRONICS              11 TECHNOLOGY PARK                BELFAST RD ANTRIM N IRELAND                              BELFAST BT41 1QS IRELAND
                                                                    BT41 1QS
SCHRADER ELECTRONICS INC          101 EVERGREEN DR                                                                                                       SPRINGFIELD        TN 37172‐5862
SCHRADER ELECTRONICS IRELAND      11 TECHNOLOGY PARK                                                                         ANTRIM COUNTY, AN BT41
                                                                                                                             GREAT BRITAIN
SCHRADER ELECTRONICS LTD          2 MEADOWBANK RD                                                                            CARRICKFERGUS CO
                                                                                                                             ANTRIM GB BT38 8YS
                                                                                                                             GREAT BRITAIN
SCHRADER ELECTRONICS LTD          MARIO VISCOSI                     C/O SCHRADER ELECTRONICS LTD11 TECHNOLOGY PK‐BELFAST                                 BELLEVILLE         MI 48111
                                                                                                RD
SCHRADER ELECTRONICS LTD          MARIO VISCOSI                     RVANSOLINGEN@SCHRADER.CO.UK 11 TECHNOLOGY PK BELFAST                                 BRIMFIELD           IN   46755
                                                                                                RD
SCHRADER ELECTRONICS LTD          11 TECHNOLOGY PARK BELFAST RD     BT41 1QS ANTRIM                                          NORTHERN IRELAND
                                                                                                                             IRELAND
SCHRADER ELECTRONICS LTD          11 TECHNOLOGY PK BELFAST RD                                                                ANTRIM CO ANTRIM IE
                                                                                                                             BT41 1QS IRELAND
SCHRADER EUGENE & ELEANOR         6071 HIGHLAND AVE SW                                                                                                   WARREN             OH    44481‐9638
SCHRADER JUNE                     6310 LANCASTER RD                                                                                                      HEBRON             OH    43025‐9779
SCHRADER MARJORIE                 229 WHISPERING OAKS DR                                                                                                 GERMANTOWN HILLS   IL    61548‐9116
SCHRADER SR, KENNETH G            2402 COLUMBIA AVE                                                                                                      EWING              NJ    08638‐3022
SCHRADER, ALBERT                  2251 MIDLAND RD                                                                                                        BAY CITY           MI    48706‐9486
SCHRADER, ARNOLD E                12505 HACK RD                                                                                                          REESE              MI    48757‐9303
SCHRADER, ARTHUR D                2160 COUNTY ROAD 4160                                                                                                  SALEM              MO    65560‐8148
SCHRADER, ARTHUR D                HCR 82 BOX 16                                                                                                          SALEM              MO    65560‐8601
SCHRADER, BARBARA                 4465‐1 EAST LAKE RD                                                                                                    WILSON             NY    14172
SCHRADER, BEATRICE M              64828 BALK RD                                                                                                          STURGIS            MI    49091‐9621
SCHRADER, BEULAH M                1817 E 125 S                                                                                                           FRANKLIN           IN    46131‐8476
SCHRADER, BEVERLY                 2350 N EAST DR                                                                                                         TAWAS CITY         MI    48763‐8702
SCHRADER, CARL F                  FOUTAIN VIEW INDEPENDENT LIVING   APT 232                        5710 SOUTH 108TH STREET                               OMAHA              NE    68137‐3984
SCHRADER, CAROL                   2918 WESTON AVENUE                                                                                                     NIAGARA FALLS      NY    14305‐3328
SCHRADER, CAROLINE F              4904 SYCAMORE RUN DR                                                                                                   LA GRANGE          KY    40031
SCHRADER, CHAD B                  56224 PUMA DR                                                                                                          THREE RIVERS       MI    49093
SCHRADER, CRAIG T                 PO BOX 101                                                                                                             WILSON             NY    14172‐0101
SCHRADER, DANIEL C                147 BROADMOOR DR                                                                                                       TONAWANDA          NY    14150‐5570
SCHRADER, DANIEL J                119 ROOSEVELT DRIVE                                                                                                    LOCKPORT           NY    14094‐5754
SCHRADER, DANIEL S                10222 THORNLEAF LN                                                                                                     HOUSTON            TX    77070
SCHRADER, DARLENE A               169 GLENWOOD AVE                                                                                                       MEDINA             NY    14103‐1211
SCHRADER, DAVID A                 1812 N CLINTON ST                                                                                                      SAGINAW            MI    48602‐4821
SCHRADER, DAVID B                 308 HILLCREST AVE                                                                                                      TRENTON            NJ    08618‐2510
SCHRADER, DENITA                  6211 JACQUES RD                                                                                                        LOCKPORT           NY    14094‐1022
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Name                                Address1                           Address2                      Address3       Address4         City              State Zip
SCHRADER, DONALD R                  59 GLENDALE CT                                                                                   SAINT CHARLES      MO 63301‐1142
SCHRADER, EDWARD W                  3036 KIRK RD                                                                                     VASSAR             MI 48768‐9743
SCHRADER, ERNEST E                  69 WOODLAND LKS                                                                                  SULLIVAN           MO 63080‐9317
SCHRADER, FLOYD B                   3396 HORRELL CT                                                                                  FENTON             MI 48430‐1099
SCHRADER, GLEN                      1909 COUNTY RD. #5                                                                               DELTA              OH 43515
SCHRADER, HELEN                     58 UNION AVE                                                                                     TARRYTOWN          NY 10591‐3706
SCHRADER, HELEN                     58 UNION AVENUE                                                                                  TARRYTOWN          NY 10591‐3706
SCHRADER, JACK M                    PO BOX 341                                                                                       WILSON             NY 14172‐0341
SCHRADER, JACQUE L                  155 W WALNUT ST                                                                                  LOWELLVILLE        OH 44436‐1161
SCHRADER, JOAN A                    1290 E ERIE RD                                                                                   ERIE               MI 48133‐9781
SCHRADER, JOHN J                    1344 SIENNA XING                                                                                 JANESVILLE         WI 53546‐3746
SCHRADER, KAY L                     455 MCBRIDE ST                                                                                   DUNDEE             MI 48131‐1120
SCHRADER, KENNETH G                 1260 HARPER RD                                                                                   MASON              MI 48854‐9305
SCHRADER, KENNETH L                 1847 MERIDIAN ST                                                                                 REESE              MI 48757‐9456
SCHRADER, LLOYD R                   38 EGAN DR                                                                                       PALM COAST         FL 32164‐6204
SCHRADER, MARC A                    706 15TH ST 124                                                                                  THREE RIVERS       MI 49093
SCHRADER, MARILYN P                 300 SOUTH ST                                                                                     LOCKPORT           NY 14094‐3937
SCHRADER, MARK A                    2324 BIG BUCK DR                                                                                 LEWISTON           MI 49756‐9251
SCHRADER, MARTHA                    600 NORMAN WISEMAN RD                                                                            LYNCHBURG          TN 37352‐4836
SCHRADER, MICHAEL F                 17068 MAYFIELD DR                                                                                MACOMB             MI 48042‐3537
SCHRADER, MICHAEL J                 814 CUTTING HORSE DR                                                                             MANSFIELD          TX 76063‐2453
SCHRADER, MICHAEL J                 4904 SYCAMORE RUN DR                                                                             LAGRANGE           KY 40031‐7549
SCHRADER, NORMAN P                  768 FRANKLIN AVE                                                                                 SALEM              OH 44460‐3843
SCHRADER, PATRICK W                 32 GAFFNEY RD                                                                                    LOCKPORT           NY 14094
SCHRADER, RICHARD L                 19671 N RIM DR                                                                                   SURPRISE           AZ 85374‐2025
SCHRADER, ROBERT                    11265 SHADIGEE LN                                                                                LYNDONVILLE        NY 14098‐9794
SCHRADER, ROBERT A                  704 BRENTFORD PL APT 216                                                                         ARLINGTON          TX 76006‐2558
SCHRADER, ROBERT J                  3100 JOHN R RD                                                                                   ROCHESTER HILLS    MI 48307‐5432
SCHRADER, ROBERT L                  1780 S REESE RD                                                                                  REESE              MI 48757‐9717
SCHRADER, ROBERT L                  4595 CHRISTIAN DRIVE                                                                             CLARENCE           NY 14031‐1801
SCHRADER, RONALD L                  8815 STEPPING STONE WAY                                                                          AVON               IN 46123‐5307
SCHRADER, ROXANNE M                 147 BRDMOOR DR                                                                                   TONAWANDA          NY 14150
SCHRADER, SARAH T                   674 CENTRAL AVE                                                                                  CARLISLE           OH 45005‐3387
SCHRADER, STANLEY R                 3436 S EAST COUNTY LINE RD                                                                       SUMNER             MI 48889‐9614
SCHRADER, STEPHEN M                 14620 ADIOS PASS                                                                                 CARMEL             IN 46032‐1181
SCHRADER, STEVEN L                  132 WEST ST # 650                                                                                PENDLETON          IN 46064
SCHRADER, SUSAN                     SZAFERMAN LAKIND BLUMSTEIN WATER   101 GROVERS MILL RD STE 104                                   LAWRENCEVILLE      NJ 08648‐4706
                                    BLADER LEHMANN & GOLDSHORE

SCHRADER, THOMAS R                  51678 FULLER RD                                                                                  MENDON            MI   49072‐9761
SCHRADER, TRACIE L                  768 FRANKLIN AVE                                                                                 SALEM             OH   44460‐3843
SCHRADER, VERGILINE M               10600 S CLARE AVE LOT 8                                                                          CLARE             MI   48617‐9700
SCHRADER, VERGILINE M               10600 SOUTH CLARE AVENUE           LOT 8                                                         CLARE             MI   48617
SCHRADER, WILLARD A                 102 MEADOW LAKE DR APT D                                                                         MOORESVILLE       IN   46158‐1862
SCHRADER, WILLIAM J                 132 SPRING ST                                                                                    LESLIE            MI   49251‐9413
SCHRADER‐BRIDGEPORT INTERNATIONAL   PO BOX 668                                                                                       ALTAVISTA         VA   24517‐0668

SCHRADER‐BRIDGEPORT INTL INC        FIELD JONES                        PO BOX 668                    PIEDMONT MFG                    MANTECA           CA   95336‐1131
SCHRADER‐BRIDGEPORT INTL INC        205 FRAZIER RD                     PO BOX 668                                                    ALTAVISTA         VA   24517‐1020
SCHRADER‐BRIDGEPORT INTL INC        PO BOX 102133                                                                                    ATLANTA           GA   30368‐2133
SCHRADER‐BRIDGEPORT INTL INC        205 FRAZIER RD                                                                                   ALTAVISTA         VA   24517‐1020
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Name                            Address1                          Address2          Address3         Address4                 City            State Zip
SCHRADER‐LUHAI RUBBER METAL     312 GUODAO SOUTH SIDE SHIN PING                                      KUNSHAN KIANGHSI CN
(KUNSHA                                                                                              215332 CHINA (PEOPLE'S
                                                                                                     REP)
SCHRADER/MONROE                 1609 AIRPORT RD                                                                               MONROE          NC    28110‐7393
SCHRAEDER, LAWRENCE R           215 BACON RD                                                                                  SAGINAW         MI    48609‐5159
SCHRAER, FRED W                 278 CHATSWORTH AVE                                                                            SUGAR GROVE     IL    60554‐9475
SCHRAER, LARRY E                111 2ND ST APT 2                                                                              LAWERNCEBURG    IN    47025‐1589
SCHRAFT, CHAD                   5717 SMOKE RANCH RD                                                                           LAS VEGAS       NV    89108‐3731
SCHRAFT, KEITH A                6804 TOBOGGAN LN                                                                              LANSING         MI    48917‐9725
SCHRAFT, SHERMAN E              2361 16TH ST NE                                                                               NAPLES          FL    34120‐3475
SCHRAGE JR, WALTER W            54625 RIDGE RD                                                                                NEW BALTIMORE   MI    48047‐5810
SCHRAGE, GEORGE W               PO BOX 33                                                                                     HALE            MI    48739‐0033
SCHRAGE, MARK A                 1010 W WASHINGTON ST                                                                          ANN ARBOR       MI    48103
SCHRAGE, RODNEY L               2209 NE OVERLAND DR                                                                           BLUE SPRINGS    MO    64029‐8604
SCHRAGE, RONALD J               6627 CELESTINE ST                                                                             HUBER HEIGHTS   OH    45424‐3505
SCHRAH, JANICE T                3405 GREENVIEW DR                                                                             GARLAND         TX    75044‐6933
SCHRAISHUHN CHARLES (641991)    BRAYTON PURCELL                   PO BOX 6169                                                 NOVATO          CA    94948‐6169
SCHRAISHUHN, CHARLES            BRAYTON PURCELL                   PO BOX 6169                                                 NOVATO          CA    94948‐6169
SCHRAM AUTO & TRUCK PARTS INC   2549 DIXIE HWY                                                                                WATERFORD       MI    48328‐1705
SCHRAM AUTO/WATERFRD            2549 DIXIE HWY                                                                                WATERFORD       MI    48328‐1705
SCHRAM FRANZISKA                10443 454TH AVE                                                                               VEBLEN          SD    57270
SCHRAM I I, MORLEY D            1302 GOODRICH ST                                                                              LANSING         MI    48910‐1241
SCHRAM II, MORLEY DANIEL        1302 GOODRICH ST                                                                              LANSING         MI    48910‐1241
SCHRAM L, DUANE                 PO BOX 896                                                                                    EVART           MI    49631‐0896
SCHRAM, AUDREY                  7814 ROCKCRESS DR.                                                                            FREELAND        MI    48623‐8431
SCHRAM, BARRY R                 760 FAIRLEDGE ST                                                                              LAKE ORION      MI    48362‐2610
SCHRAM, BETTY L                 1953 CR 654A                                                                                  BUSHNELL        FL    33513‐8865
SCHRAM, BONNIE J                7501 PALM AVE SPC 110                                                                         YUCCA VALLEY    CA    92284‐3648
SCHRAM, CHARLES M               165 INDIAN KNOLLS ST                                                                          OXFORD          MI    48371‐4745
SCHRAM, DAVID D                 1536 11 MILE RD                                                                               EVART           MI    49631‐8590
SCHRAM, DELFRED F               5300 GRASS LAKE RD                                                                            WHITE LAKE      MI    48383‐2114
SCHRAM, DELLA F.                5197 RIDGETOP DR                                                                              WATERFORD       MI    48327‐1347
SCHRAM, EARL J                  9115 N LAKE RD                                                                                FOSTORIA        MI    48435‐9720
SCHRAM, ELLEN J                 3833 N. FAIRVIEW AVE              LOT 13                                                      TUCSON          AZ    85705‐2654
SCHRAM, ELLEN J                 3833 N FAIRVIEW AVE UNIT 13                                                                   TUCSON          AZ    85705‐2654
SCHRAM, FRANK J                 1839 W KEM RD                                                                                 MARION          IN    46952‐1706
SCHRAM, GLORIA J                12446 W LENNON RD                                                                             LENNON          MI    48449‐9707
SCHRAM, GLORIA J                12446 LENNON RD                                                                               LENNON          MI    48449‐9707
SCHRAM, JAMES D                 5059 LUCINDA DR                                                                               PRESCOTT        MI    48756‐9650
SCHRAM, JAMES L                 2212 ELM CIR                                                                                  SHELBY TWP      MI    48316‐1046
SCHRAM, JEFFERY L               14517 STATE ROUTE 694                                                                         OTTAWA          OH    45875‐9211
SCHRAM, JEREMY J                8711 MARSHALL RD                                                                              BIRCH RUN       MI    48415‐8587
SCHRAM, JEREMY JOE              8711 MARSHALL RD                                                                              BIRCH RUN       MI    48415‐8587
SCHRAM, JERRY L                 4909 GEORGIA DR                                                                               ORION           MI    48359‐2130
SCHRAM, JOAN C                  4327 EUCALYPTUS WAY                                                                           PINCKNEY        MI    48169‐9634
SCHRAM, JOHN W                  4354 MAYBEE RD                                                                                ORION           MI    48359‐1426
SCHRAM, JOSEPH A                7814 ROCKCRESS DR                                                                             FREELAND        MI    48623‐8431
SCHRAM, KENNETH J               25845 HURON ST                                                                                ROSEVILLE       MI    48066‐4938
SCHRAM, LEONARD W               17956 BAYNE ST                                                                                ROSEVILLE       MI    48066‐2504
SCHRAM, LINDA E                 61284 GREENWOOD DR                                                                            SOUTH LYON      MI    48178‐1710
SCHRAM, MARILYN                 4909 GEORGIA DR                                                                               ORION           MI    48359‐2130
SCHRAM, MARION M                1754 HALL ST                                                                                  HOLT            MI    48842‐1710
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Name                      Address1                         Address2                      Address3   Address4         City                 State Zip
SCHRAM, MARJORIE          641 MALLARD DR                                                                             FORT WORTH            TX 76131
SCHRAM, MARK T            28540 FOREST DALE ST                                                                       ROMULUS               MI 48174‐3048
SCHRAM, MORLEY D          2110 EDWIN PL                                                                              LANSING               MI 48911‐1676
SCHRAM, OLGA M            935 UNION LAKE RD APT 422                                                                  WHITE LAKE            MI 48386‐4536
SCHRAM, RICHARD L         7525 FLORAL AVE                                                                            JENISON               MI 49428‐9734
SCHRAM, SHARAN M          9701 MIDLAND RD                                                                            FREELAND              MI 48623‐9724
SCHRAM, SIMON P           W3790 POTTER RD                                                                            ELKHORN               WI 53121‐4038
SCHRAM, THOMAS L          13340 PRATTVILLE RD                                                                        HUDSON                MI 49247‐9252
SCHRAM, WANDA N           13340 PRATTVILLE RD                                                                        HUDSON                MI 49247‐9252
SCHRAM, WILLIAM           836 PINE AVE                                                                               LAKE ORION            MI 48362‐2442
SCHRAM, WILLIAM A         7265 RYAN CT                                                                               HUDSONVILLE           MI 49426‐9742
SCHRAM, WILLIAM ARTHUR    7265 RYAN CT                                                                               HUDSONVILLE           MI 49426‐9742
SCHRAMER, DONALD F        130 WINDSOR PARK DR APT C221                                                               CAROL STREAM           IL 60188‐5319
SCHRAMKE DENIS (459317)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510
                                                           STREET, SUITE 600
SCHRAMKE, DENIS           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                           STREET, SUITE 600
SCHRAMKE, DONALD A        3026 NICCOLET PL                                                                           BAY CITY             MI    48706‐2730
SCHRAMKE, SHIRLEY J       8860 BURNSIDE AVE                                                                          HALE                 MI    48739‐9183
SCHRAMM JR, PAUL E        5004 GLENROSE DR                                                                           COLUMBIA             TN    38401‐4955
SCHRAMM LARRY P           3298 SUMMIT RIDGE DR                                                                       ROCHESTER HILLS      MI    48306‐2956
SCHRAMM TRUCKING CO       220 S CONGRESS ST                                                                          ADDISON              IL    60101‐4002
SCHRAMM, BILLIE           6720 TIFFANY CIRCLE                                                                        CANTON               MI    48187‐5259
SCHRAMM, CHRISTINE L.     650 WINONA BLVD                                                                            ROCHESTER            NY    14617
SCHRAMM, DENNIS
SCHRAMM, EDWARD D         227 WILDBRIAR RD                                                                           ROCHESTER            NY    14623‐3951
SCHRAMM, ERIC A           40 CRYSTAL CREEK DR                                                                        ROCHESTER            NY    14612‐3072
SCHRAMM, FLOYD B          308 E US ROUTE 150                                                                         OAKWOOD               IL   61858‐9576
SCHRAMM, HERMANN P        7242 MAYBERRY DR                                                                           PARMA                OH    44130‐6033
SCHRAMM, JERE A           7901 BAYMEADWOS CIR E            APT 364                                                   JACKSONVILLE         FL    32256‐7683
SCHRAMM, JEROME H         21701 MADISON ST                                                                           SAINT CLAIR SHORES   MI    48081‐3720
SCHRAMM, JOHN C           5270 AYERS RD                                                                              WALBRIDGE            OH    43465‐9668
SCHRAMM, JOHN L           PO BOX 602                                                                                 HERMANN              MO    65041‐0602
SCHRAMM, KATHRYN L        227 WILDBRIAR RD                                                                           ROCHESTER            NY    14623‐3951
SCHRAMM, KEITH A          7155 DUTCH RD                                                                              SAGINAW              MI    48609‐9579
SCHRAMM, KIM R            6311 QUAIL ST                                                                              HASLETT              MI    48840‐8934
SCHRAMM, LARRY P          3298 SUMMIT RIDGE DR                                                                       ROCHESTER HILLS      MI    48306‐2956
SCHRAMM, LEONARD          6880 NW 60TH ST                                                                            OCALA                FL    34482‐2633
SCHRAMM, MARIAN L         12675 BUECHE RD RT 1                                                                       BURT                 MI    48417
SCHRAMM, MICHELLE R       8027 W MORRAINE DR                                                                         LITTLETON            CO    80128‐8287
SCHRAMM, PAUL B           1042 PINECREST LN                                                                          GRAND BLANC          MI    48439‐4852
SCHRAMM, PAUL E           2311 CURTIS AVE                                                                            PORTAGE              MI    49024‐4837
SCHRAMM, PHILIP L         1128 YOSEMITE DR                                                                           ENGLEWOOD            FL    34223‐5619
SCHRAMM, RONALD D         1807 REO RD                                                                                LANSING              MI    48910‐5141
SCHRAMM, THEODORE C       1120 CRYSTAL WOOD DR                                                                       DAVISON              MI    48423‐3416
SCHRAMM, THOMAS F         691 ARNETT BLVD                                                                            ROCHESTER            NY    14619‐1425
SCHRAMME, STEPHAN H       42311 CARRIAGE COVE DR                                                                     CANTON               MI    48187‐3565
SCHRAMSKI, LAWRENCE       6830 DICKSON DR                                                                            GRAND LEDGE          MI    48837‐9121
SCHRAMSKI, WALTER J       2071 HOLLY TREE DR                                                                         DAVISON              MI    48423‐2050
SCHRAND, SUSAN E          2828 REMINGTON RD                                                                          THE VILLAGES         FL    32162‐3311
SCHRANDT, R C             27‐727 KAIEIE RD                                                                           PAPAIKOU             HI    96781‐9734
SCHRANDT, R CHRIS         27‐727 KAIEIE ROAD                                                                         PAPAIKOU             HI    96781‐9734
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Name                             Address1                         Address2                       Address3   Address4              City           State Zip
SCHRANK, CHRISTOPHE W            38710 5 MILE RD                                                                                  LIVONIA         MI 48154‐1320
SCHRANK, DENNIS R                3129 S QUINCY AVE                                                                                MILWAUKEE       WI 53207
SCHRANK, GERHARDT B              6445 FAR HILLS AVE                                                                               CENTERVILLE     OH 45459‐2725
SCHRANK, JAMES E                 9174 WINDSONG LN                                                                                 CADILLAC        MI 49601‐9769
SCHRANK, JAMES W                 3816 WALDO AVE                                                                                   MIDLAND         MI 48642‐6688
SCHRANK, MICHAEL                 21231 ALUM ROCK FALLS RD                                                                         SAN JOSE        CA 95127‐1339
SCHRANK, WILLIAM C               PO BOX 813                                                                                       AU GRES         MI 48703‐0813
SCHRANZ, JOHN C                  11024 DANIEL TRL                                                                                 MOKENA           IL 60448‐1003
SCHRASS, AGNES M                 6447 ORIOLE DR                                                                                   FLINT           MI 48506‐1722
SCHRASS, AGNES M                 6447 ORIOLE DR.                                                                                  FLINT           MI 48506‐8506
SCHRAST, CHAD                    5717 SMOKE RANCH RD.                                                                             LAS VEGAS       NV 89108‐3731
SCHRAUB, ELFRIEDE                5121 E VILLA RITA DR                                                                             SCOTTSDALE      AZ 85254‐7618
SCHRAUBEN, AILEEN M              3615 BAY VIEW DR                                                                                 ALLEGAN         MI 49010‐8951
SCHRAUBEN, CHARLES J             3715 OMARA ROAD                                                                                  MUIR            MI 48860‐9809
SCHRAUBEN, DEAN L                11465 BLUE SPRUCE DR                                                                             FOWLER          MI 48835‐9131
SCHRAUBEN, DENNIS M              8510 WINTERGREEN ST                                                                              LANSING         MI 48917‐8800
SCHRAUBEN, DONALD P              353 N SORRELL ST                                                                                 FOWLER          MI 48835‐9297
SCHRAUBEN, GARY W                4272 N WRIGHT RD                                                                                 FOWLER          MI 48835‐9754
SCHRAUBEN, GREGORY J             8749 SUNFIELD HWY                                                                                PORTLAND        MI 48875‐9728
SCHRAUBEN, JACK A                7850 DAWN DR                                                                                     PORTLAND        MI 48875‐1958
SCHRAUBEN, JOHN A                326 PLEASANT ST                                                                                  PORTLAND        MI 48875‐1141
SCHRAUBEN, KATHLEEN              3715 OMARA ROAD                                                                                  MUIR            MI 48860‐9809
SCHRAUBEN, MARK W                1181 NORTH GRANGE ROAD                                                                           FOWLER          MI 48835‐9276
SCHRAUBEN, MARVIN F              10055 E GRAND RIVER AVE                                                                          PORTLAND        MI 48875‐9433
SCHRAUBEN, PETER W               4700 N CHANDLER RD                                                                               SAINT JOHNS     MI 48879‐9332
SCHRAUBEN, WAYNE R               714 LYONS RD                                                                                     PORTLAND        MI 48875‐1041
SCHRAUBEN, WILLIAM P             PO BOX 301                                                                                       FOWLER          MI 48835‐0301
SCHRAUDT, KENNETH L              10416 RATHBUN RD                                                                                 BIRCH RUN       MI 48415‐9732
SCHRAUDT, PETER A                6168 JACKPINE TRL                                                                                ALGER           MI 48610‐9460
SCHRAUT LAWRENCE W JR (637962)   C/O THORNTON EARLY & NAUMES      100 SUMMER ST LBBY 3                                            BOSTON          MA 02110‐2104
SCHRAUT, JOHN A                  1417 RAMBLING HILLS DR                                                                           CINCINNATI      OH 45230‐2362
SCHRAUT, LAWRENCE W              THORNTON EARLY & NAUMES          100 SUMMER ST LBBY 3                                            BOSTON          MA 02110‐2104
SCHRAVEN, GLORIA L               921 DONASCO STREET               8300 TANDAG, SURIGAO DEL SUR              SURIGAO DEL SUR TAN
                                                                                                            8300 PHILIPPINES
SCHRAW, JANNE E                  3900 HAINES RD                                                                                   ATTICA         MI   48412‐9230
SCHRAW, RICHARD P                3900 HAINES RD                                                                                   ATTICA         MI   48412‐9230
SCHRAY, BILLY D                  831 S WAVERLY RD                                                                                 EATON RAPIDS   MI   48827‐9758
SCHRAY, DOROTHY L                31 S CROSSED BIRCH PL                                                                            SPRING         TX   77381‐6026
SCHRAY, GORDON D                 7570 EATON HWY                                                                                   MULLIKEN       MI   48861
SCHRAY, KENNETH L                4245 N OLD STATE AVE                                                                             HARRISON       MI   48625‐9737
SCHRAY, PHYLLIS A                4245 N OLD STATE AVE                                                                             HARRISON       MI   48625‐9737
SCHREADER JR, CLARENCE F         2126 VERMONT ST                                                                                  SAGINAW        MI   48602‐1933
SCHREADER, ROGER C               5175 UPPER MOUNTAIN RD                                                                           LOCKPORT       NY   14094‐9605
SCHREADER, ROGER CARL            5175 UPPER MOUNTAIN RD                                                                           LOCKPORT       NY   14094‐9605
SCHREBA HAYNES                   104 DRENNAN LANE                                                                                 LAVERGNE       TN   37086
SCHREBE, ANGELITA G              1460 LOUMILEN DR                                                                                 MUSKEGON       MI   49445
SCHRECENGOST, CECIL              312 SUNSET DR                                                                                    CORTLAND       OH   44410‐1067
SCHRECENGOST, GORDON D           4062 DEVON DR SE                                                                                 WARREN         OH   44484‐2601
SCHRECENGOST, JEFFERY A          517 SHELVIEW CIR                                                                                 CHESAPEAKE     VA   23323
SCHRECENGOST, MAUREEN            4062 DEVON DR SE                                                                                 WARREN         OH   44484‐2601
SCHRECENGOST, ROBERT E           5536 RIDGE RD                                                                                    CORTLAND       OH   44410‐9784
SCHRECK BRIGNONE GODFREY         100 CITY PKWY STE 1600                                                                           LAS VEGAS      NV   89106‐4614
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Name                                    Address1                        Address2                        Address3   Address4         City               State Zip
SCHRECK JOSEPH (447557)                 BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                                        PROFESSIONAL BLDG
SCHRECK, DEBORAH A                      1012 DODGSON CT                                                                             DAYTON             OH   45404‐2051
SCHRECK, GEORGE B                       865 ISLAND CLUB LN                                                                          VERO BEACH         FL   32963‐5512
SCHRECK, JOAN C                         6187 KINGS SCEPTER CT                                                                       GRAND BLANC        MI   48439‐8705
SCHRECK, JOSEPH                         BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD         OH   44067
                                                                        PROFESSIONAL BLDG
SCHRECK, KEITH G                        35135 GRISWALD ST                                                                           CLINTON TWP        MI   48035‐2615
SCHRECK, KEVIN T                        7523 COLONY DR                                                                              CLAY               MI   48001‐4135
SCHRECK, RICHARD M                      2082 S HAMMOND LAKE RD                                                                      WEST BLOOMFIELD    MI   48324‐1816
SCHRECKENBERG, GERARD B                 1221 S CLINTON RD                                                                           CASEYVILLE         IL   62232‐2272
SCHRECKENBERG, JOHN L                   2154 SANDY RIDGE RD                                                                         EAST SAINT LOUIS   IL   62206‐2531
SCHRECKENBERG, VINCENT V                1000 WINDSOR CREST CT                                                                       SAINT PETERS       MO   63376‐3849
SCHRECKENGAST, HARRY L                  1581 HIGHWAY F                                                                              INNSBROOK          MO   63390‐4809
SCHRECKENGHAUST, CHARLES                17013 E 7TH TERRACE CT N                                                                    INDEPENDENCE       MO   64056‐1512
SCHRECKENGHAUST, DARREL L               3920 SW BRIAN LN                                                                            LEES SUMMIT        MO   64082
SCHRECKENGOST NORMAN                    SCHRECKENGOST, NORMAN           30 E BUTLER AVE                                             AMBLER             PA   19002‐4514
SCHRECKENGOST PAUL                      SCHRECKENGOST, PAUL             435 ADAM ST                                                 TONAWANDA          NY   14150‐1801
SCHRECKENGOST VYRNWY (464276)           KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                               CLEVELAND          OH   44114
                                                                        BOND COURT BUILDING
SCHRECKENGOST, CAROL A                  1773 DUMONT DR                                                                              MINERAL RIDGE      OH   44440‐9515
SCHRECKENGOST, JOHN L                   3 DELFT CT                                                                                  MIDDLETOWN         DE   19709‐9670
SCHRECKENGOST, PAUL                     435 ADAM ST                                                                                 TONAWANDA          NY   14150‐1801
SCHRECKENGOST, ROBERT W                 616 POETS WAY                                                                               MIDDLETOWN         DE   19709‐5809
SCHRECKENGOST, VYRNWY                   KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                CLEVELAND          OH   44114
                                                                        BOND COURT BUILDING
SCHRECKLINGER INDUSTRIEBEDARF           DR. JAKOB‐WITTEMANN‐STR. 3
SCHRECONGOST, KENNETH R                 73 EMS B23 LN                                                                               PIERCETON          IN   46562‐9132
SCHREDER, BARBARA JEAN                  402 STERLING DR.                                                                            DIAMONDALE         MI   48821‐9773
SCHREDER, MARVIN E                      491 AVALON RD                                                                               VENICE             FL   34293‐1555
SCHREEL, JAMES F                        3104 CATALPA DR                                                                             DAYTON             OH   45405‐1746
SCHREIB, ANTOINETTE H                   206 RYE RD                                                                                  ROCHESTER          NY   14626‐3608
SCHREIB, ANTOINETTE H                   206 RYE ROAD                                                                                ROCHESTER          NY   14626‐3608
SCHREIBER & GRIER                       ACT OF M DENNIS 96‐C01737 GC    PO BOX 819                                                  TROY               MI   48099‐0819
SCHREIBER BOB                           12902 LAZY PINE PL                                                                          TAMPA              FL   33624‐4549
SCHREIBER BRAD                          2618 WOODBINE DR                                                                            WATERFORD          MI   48328‐3954
SCHREIBER CORP                          PO BOX 38119                    2239 FENKELL ST                                             DETROIT            MI   48238‐0119
SCHREIBER CORP                          2239 FENKELL ST                 PO BOX 38119                                                DETROIT            MI   48238‐2852
SCHREIBER FOODS INC                     425 PINE ST                                                                                 GREEN BAY          WI   54301‐5137
SCHREIBER FOODS, INC.                   TESSA BITTERS                   425 PINE ST                                                 GREEN BAY          WI   54301‐5137
SCHREIBER LAW FIRM LLC                  53 STILES RD STE A102                                                                       SALEM              NH   03079‐2890
SCHREIBER WERNER (ESTATE OF) (459318)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510
                                                                        STREET, SUITE 600
SCHREIBER, AGNES                        319 CEDARWOOD DR                C/O JANET K POTES                                           FLUSHING           MI   48433‐1803
SCHREIBER, ALICE A                      391 N BUTTER ST                                                                             GERMANTOWN         OH   45327
SCHREIBER, ANTHONY P                    APT 11B                         53510 GRAND RIVER AVENUE                                    NEW HUDSON         MI   48165‐8563
SCHREIBER, BRADFORD G                   2618 WOODBINE DR                                                                            WATERFORD          MI   48328‐3954
SCHREIBER, CHARLENE                     1629 LISA DR SW                                                                             BYRON CENTER       MI   49315‐8122
SCHREIBER, CHARLES W                    APT 209                         935 UNION LAKE ROAD                                         WHITE LAKE         MI   48386‐4532
SCHREIBER, CLARENCE E                   2432 WAUWATOSA AVE                                                                          WAUWATOSA          WI   53213‐1133
SCHREIBER, CLARENCE E                   2432 N WAUWATOSA AVE                                                                        WAUWATOSA          WI   53213‐1133
SCHREIBER, CONNIE S                     1170 SEQUOYA TRL                                                                            COLUMBIA           TN   38401‐8411
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Name                              Address1                         Address2                      Address3   Address4         City                 State Zip
SCHREIBER, DAVID                  1170 SEQUOYA TRL                                                                           COLUMBIA              TN 38401‐8411
SCHREIBER, DOROTHY E.             761 FRANKLIN AVE                                                                           CUYAHOGA FALLS        OH 44221
SCHREIBER, GEORGE                 4355 BEECHWOOD AVE                                                                         BURTON                MI 48509‐1101
SCHREIBER, GERALD W               32630 LANCASTER DR                                                                         WARREN                MI 48088‐1310
SCHREIBER, GERALDINE M            42 TIMBER CIR                                                                              HUBBARD               OH 44425‐4425
SCHREIBER, GERALDINE M            42 TIMBER CIR 3                                                                            HUBBARD               OH 44425
SCHREIBER, GERBEN                 6738 WATERVIEW DR SW                                                                       GRANDVILLE            MI 49418‐9408
SCHREIBER, HERMAN C               9025 E POTTER RD                                                                           DAVISON               MI 48423‐8188
SCHREIBER, JAMES C                1306 WALLEN ST                                                                             MIDLAND               MI 48642‐6149
SCHREIBER, JEAN C                 327 HORNEL ST                                                                              BALTIMORE             MD 21224‐2806
SCHREIBER, JEFF                   3911 COGGINS AVE                                                                           FLINT                 MI 48506‐2469
SCHREIBER, JEROME L               8808 E 72ND ST                                                                             RAYTOWN               MO 64133‐6411
SCHREIBER, JOHN K                 8629 FLATROCK RD                                                                           HOAGLAND              IN 46745‐9703
SCHREIBER, JOSEPH E               3560 GOLDEN MEADOWS CT                                                                     DAYTON                OH 45404‐1437
SCHREIBER, JOYCE A                444 NAHUA ST APT 1712                                                                      HONOLULU              HI 96815
SCHREIBER, JR.,DAVID E            PO BOX 138                                                                                 GERMANTOWN            OH 45327‐0138
SCHREIBER, KATHLEEN B.            3102 VALLEY FARMS ROAD                                                                     INDIANAPOLIS          IN 46214‐1516
SCHREIBER, KATHY
SCHREIBER, LARRY H                9039 E POTTER RD                                                                           DAVISON              MI    48423‐8188
SCHREIBER, LINDA K                6600 JENNY DEE PL                                                                          SPRINGFIELD          VA    22152‐2753
SCHREIBER, LULA J                 4601 S RIVER RD                                                                            EAST CHINA           MI    48054
SCHREIBER, MARGARET D             429 BEACH PARK BLVD                                                                        VENICE               FL    34285‐2702
SCHREIBER, MARTEN J               1097 WAY RD                                                                                ROME                 OH    44085‐9734
SCHREIBER, NORMA L                PO BOX 393                                                                                 HONEOYE              NY    14471‐0393
SCHREIBER, PATRICIA B             6864 BOGEY DR                                                                              FORT MYERS           FL    33919‐6335
SCHREIBER, PATRICIA B             6864 BOGEY                                                                                 FORT MYERS           FL    33919‐3919
SCHREIBER, REBECCA J              1571 CUMBRE VW                                                                             BONITA               CA    91902‐4215
SCHREIBER, ROBERT E               3430 N FRATNEY ST                                                                          MILWAUKEE            WI    53212‐1747
SCHREIBER, ROBERT F               10419 ROCK LEDGE WAY                                                                       NORTH ROYALTON       OH    44133‐6083
SCHREIBER, ROBERT L               560 MORNINGSTAR CT                                                                         VACAVILLE            CA    95687‐4133
SCHREIBER, SANDRA C               21 BRIGGSBORO LN                                                                           FAIRPORT             NY    14450‐3805
SCHREIBER, THOMAS
SCHREIBER, THOMAS J               42 TIMBER CIR 3                                                                            HUBBARD              OH    44425
SCHREIBER, THOMAS J               42 TIMBER CIR                                                                              HUBBARD              OH    44425‐4425
SCHREIBER, THOMAS P               650 COUNTRY CLUB DR                                                                        SAINT CLAIR SHORES   MI    48082‐2950
SCHREIBER, TIMOTHY S              1571 CUMBRE VW                                                                             BONITA               CA    91902‐4215
SCHREIBER, UWE H                  10429 FROSTBURG LN                                                                         LAS VEGAS            NV    89134‐5113
SCHREIBER, VIOLA V                5721 HARVARD AVE                                                                           RAYTOWN              MO    64133
SCHREIBER, W D                    PO BOX 952                                                                                 ISLAMORADA           FL    33036‐0952
SCHREIBER, WERNER                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA    23510‐2212
                                                                   STREET, SUITE 600
SCHREIBER, WILLIAM H              1000 SW 3RD AVE                                                                            BOYNTON BEACH        FL    33426‐4713
SCHREIBER, WILLIAM M              241 E RUSSELL RD                                                                           JANESVILLE           WI    53545‐9572
SCHREIER, JOSEPH T                5033 CRESCENT RIDGE DR                                                                     CLAYTON              OH    45315‐9676
SCHREIER, KELLI                   1129 HOXBAR RD                                                                             ARDMORE              OK    73401‐8506
SCHREIER, KENNETH J               4147 BEECHWOOD DR                                                                          BELLBROOK            OH    45305
SCHREIFELS GERALD JOHN (467065)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA    23510
                                                                   STREET, SUITE 600
SCHREIFELS, GERALD JOHN           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                                   STREET, SUITE 600
SCHREIFER, ANNA M                 305 S HAMMES AVE                                                                           JOLIET                IL   60436‐1107
SCHREIFER, ANNA M                 305 SOUTH HAMMES AVENUE                                                                    JOLIET                IL   60436‐1107
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Name                           Address1                        Address2            Address3         Address4             City                   State Zip
SCHREIHART, KAREN G            6612 S 22ND ST                                                                            OAK CREEK               WI 53154‐1011
SCHREIMAN, ARTHUR R            13138 HIGHWAY O                                                                           EXCELSIOR SPRINGS       MO 64024‐6209
SCHREINER CHRISTOPHER          910 OLEAN ROAD                                                                            EAST AURORA             NY 14052‐9783
SCHREINER EVERETT & GLADYS     1106 10TH AVE                                                                             ROCK FALLS               IL 61071‐2758
SCHREINER RUDOLF               IN DER KEHRT 30                                                      54574 BIRRESBORN
                                                                                                    GERMANY
SCHREINER, ALMA F              PO BOX 6                                                                                  ENON                   OH   45323‐0006
SCHREINER, ALMA F              57 FAIRFIELD PK PO BX 6                                                                   ENON                   OH   45323‐0006
SCHREINER, AMY M               11122 S CHAMPLAIN AVE                                                                     CHICAGO                IL   60628‐4638
SCHREINER, ARTHUR J            3071 COX RD                                                                               BELGRADE               MT   59714‐8024
SCHREINER, CARL C              5145 WHEELOCK RD                                                                          TROY                   OH   45373‐5373
SCHREINER, DAVID W             1007 AMARILLO PL                                                                          THE VILLAGES           FL   32159‐0070
SCHREINER, DONALD J            64 BAYSHORE CT                                                                            CARMEL                 IN   46033‐3901
SCHREINER, ELEANOR R           15985 S MERRILL RD                                                                        ELSIE                  MI   48831‐9229
SCHREINER, ERIC E              662 S GEBHART CHURCH RD                                                                   MIAMISBURG             OH   45342‐3954
SCHREINER, ERIC E              662 GEBHART CHURCH RD                                                                     MIAMISBURG             OH   45342‐5342
SCHREINER, GEORGE M            16160 W RED ROCK DR                                                                       SURPRISE               AZ   85374‐6371
SCHREINER, HOWARD C            908 N GREECE RD                                                                           ROCHESTER              NY   14626‐1029
SCHREINER, HOWARD C            908 NO GREECE RD                                                                          ROCHESTER              NY   14626‐1029
SCHREINER, KEITH W             7825 REDWOOD CT                                                                           NORTH RICHLAND HILLS   TX   76180‐3040
SCHREINER, LUCILLE E           1250 LA BROSSE                                                                            WATERFORD              MI   48328‐3909
SCHREINER, LUCILLE E           1250 LABROSSE DR                                                                          WATERFORD              MI   48328‐3909
SCHREINER, MICHAEL H           100 MATS DR                                                                               SPENCERPORT            NY   14559‐1156
SCHREINER, MICHAEL R           1696 CLARK RD                                                                             PRESCOTT               MI   48756‐9505
SCHREINER, PAUL C              5176 SHAWNEE RD                                                                           SANBORN                NY   14132‐9116
SCHREINER, PAUL CLARENCE       5176 SHAWNEE RD                                                                           SANBORN                NY   14132‐9116
SCHREINER, PAUL M              8232 DOGWOOD CT                                                                           PLAINFIELD             IN   46168‐9022
SCHREINER, RICHARD H           8190 OHERN RD                                                                             SAGINAW                MI   48609‐5116
SCHREINER, RICHARD H           5627 EDGEWATER DR                                                                         TOLEDO                 OH   43611‐2459
SCHREINER, RICHARD L           17622 FAIRWAY ST                                                                          LIVONIA                MI   48152‐2966
SCHREINER, RUTH A              1401 BELVEDERE BOX 5074                                                                   KOKOMO                 IN   46902
SCHREINER, SUSAN               2232 HOLLY DR                                                                             WENTZVILLE             MO   63385‐4329
SCHREINER, SUSAN               2232 HOLLY DRIVE                                                                          WENTZVILLE             MO   63385‐4329
SCHREINER, TAMMY E             2425 NORTH AVE                                                                            NIAGARA FALLS          NY   14305‐3127
SCHREINER, TAMMY ELEANOR       2425 NORTH AVE                                                                            NIAGARA FALLS          NY   14305‐3127
SCHREINER,CHRISTOPHER S        910 OLEAN RD                                                                              EAST AURORA            NY   14052
SCHREITER KARL E SR (664893)   ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                          BETHLEHEM              PA   18018
SCHREITER, ESTHER A            6328 BALBOA LN.                                                                           APOLLO BEACH           FL   33572‐2300
SCHREITER, ESTHER A            6328 BALBOA LN                                                                            APOLLO BEACH           FL   33572‐2300
SCHREITER, KARL E              ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                          BETHLEHEM              PA   18018‐5737
SCHREITER, STEPHEN F           104 BROOKDALE DR                                                                          S MILWAUKEE            WI   53172‐1215
SCHREITMUELLER, EDWARD L       8650 S OCEAN DR APT 804                                                                   JENSEN BEACH           FL   34957‐2153
SCHREITMUELLER, THOMAS P       28726 HIDDEN TRL                                                                          FARMINGTON HILLS       MI   48331‐2981
SCHREMS, AUGUST
SCHREMS, DANIEL G              5727 SWAN CREEK RD                                                                        SAGINAW                MI   48609‐7032
SCHREMS, DAVID R               12145 GRATIOT RD                                                                          SAGINAW                MI   48609‐9653
SCHREMS, DELBERT J             8083 CRESTON DR                                                                           FREELAND               MI   48623‐8723
SCHREMS, ELAINE                6219 STANSBURY LN.                                                                        SAGINAW                MI   48603‐2742
SCHREMS, JAMES M               2320 AMELITH RD                                                                           BAY CITY               MI   48706‐9320
SCHREMS, JEFF                  365 COLORADO RIDGE DR                                                                     HEMLOCK                MI   48626‐9376
SCHREMS, MARC                  11020 FROST RD                                                                            FREELAND               MI   48623‐8828
SCHREMS, MARY
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Name                                  Address1                         Address2                        Address3   Address4         City            State Zip
SCHREMS, MICHAEL D                    PO BOX 746                                                                                   CHESTERLAND      OH 44026‐0746
SCHREMS, MICHAEL P                    8650 EDERER RD                                                                               SAGINAW          MI 48609‐9506
SCHREMS, MICHAEL PAUL                 8650 EDERER RD                                                                               SAGINAW          MI 48609‐9506
SCHREMS, WILLIAM A                    3443 NORTHWAY DR APT 1                                                                       BAY CITY         MI 48706‐3383
SCHRENK, JOYCE T                      5652 FIRETHORNE DR                                                                           BAY CITY         MI 48706‐5635
SCHRENK, MICHAEL L
SCHRENKEL WALLACE (447559)            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                       PROFESSIONAL BLDG
SCHRENKEL, WALLACE                    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD      OH 44067
                                                                       PROFESSIONAL BLDG
SCHRENKER SR, JOHN A                  9 ELMONT AVE                                                                                 BALTIMORE       MD   21206‐1323
SCHRENKER, ALBERT J                   1902 WEEKS AVENUE                                                                            SUPERIOR        WI   54880‐6719
SCHRETT, WAYNE G                      245 SUNDOWN TRL                                                                              WILLIAMSVILLE   NY   14221‐2201
SCHRETTNER ALFRED F (450556)          WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                             NEW YORK        NY   10038
SCHRETTNER, ALFRED F                  WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                             NEW YORK        NY   10038
SCHRETTNER, JANIE L                   8430 W GATES ST                                                                              BRUCE TWP       MI   48065
SCHREUDER, LOUIE C                    19799 LAKE MONTCALM RD                                                                       HOWARD CITY     MI   49329‐9711
SCHREUR ROBERT (ESTATE OF) (666144)   SIMMONS FIRM                     PO BOX 521                                                  EAST ALTON      IL   62024‐0519

SCHREUR, MONA C                       1845 BELLE TERRE                                                                             NILES           OH   44446‐4123
SCHREUR, ROBERT                       SIMMONS FIRM                     PO BOX 521                                                  EAST ALTON      IL   62024‐0519
SCHREUR, THOMAS H                     1143 LUMINA DR                                                                               JENISON         MI   49428‐9403
SCHREVE, JACQUELINE                   1715 WHITE BIRCH CT                                                                          TROY            MI   48098‐1963
SCHRIBER, ANDREW D                    629 N WILDER RD                                                                              LAPEER          MI   48446‐3428
SCHRIBER, FAYE C                      549 STRATFORD DR                                                                             HARAHAN         LA   70123‐3846
SCHRIBER, JAMES E                     12521 MARSHALL RD                                                                            BIRCH RUN       MI   48415‐8718
SCHRIBER, JOANN J                     1244 GUERNSEY RD                                                                             BEAVERTON       MI   48612‐8508
SCHRIBER, LINDA J                     4076 DAYBROOK DR                                                                             BAY CITY        MI   48706‐2441
SCHRIBER, NANCY M                     12521 MARSHALL RD                                                                            BIRCH RUN       MI   48415‐8718
SCHRIBER, PAUL L                      411 W DECKERVILLE RD                                                                         CARO            MI   48723‐9702
SCHRICHTEN, MARVIN W                  PO BOX 65                                                                                    GOSHEN          OH   45122
SCHRICKEL LELAND S (346536)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510
                                                                       STREET, SUITE 600
SCHRICKEL RAY T (346656)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                                       STREET, SUITE 600
SCHRICKEL, LELAND S                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510‐2212
                                                                       STREET, SUITE 600
SCHRICKEL, RAY T                      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510‐2212
                                                                       STREET, SUITE 600
SCHRICKER, BRIAN S                    2300 CHEROKEE RD                                                                             JANESVILLE      WI   53545‐4348
SCHRICKER, MICHAEL T                  3541 CENTER DR 2                                                                             GREENVILLE      OH   45331
SCHRIEFER, STEVE E                    1603 FLORIDA ST                                                                              MICHIGAN CITY   IN   46360‐6777
SCHRIEMER, ROBERT N                   PO BOX 1757                                                                                  ORANGE BEACH    AL   36561‐1757
SCHRIER, ALAN J                       4699 CONTINENTAL DR LOT 321                                                                  HOLIDAY         FL   34690‐5610
SCHRIER, CHERYL A                     9025 PROSPERITY WAY                                                                          FORT MYERS      FL   33913‐7094
SCHRIER, LESLIE L                     1211 NORMANDIE DR                                                                            AVON            IN   46123‐8047
SCHRIEWER, RICKEY N                   14417 WOODHILL DR                                                                            NEWALLA         OK   74857‐7865
SCHRIML, KENNETH E                    1513 HERITAGE DR                                                                             COLUMBIA        TN   38401‐5248
SCHRIML, KENNETH EUGENE               1513 HERITAGE DR                                                                             COLUMBIA        TN   38401‐5248
SCHRIMMEL, RUTH A                     420 HEIM RD                                                                                  GETZVILLE       NY   14068‐1316
SCHRIMPF, CARLTON F                   268 LAKERIDGE DR                                                                             OCONOMOWOC      WI   53066‐5820
SCHRIMSHER, CLYDE V                   18192 TILLMAN MILL RD                                                                        ATHENS          AL   35614‐5016
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Name                             Address1                          Address2                           Address3   Address4         City               State Zip
SCHRIMSHER, SHIRLEE V            1610 REYNOLDS ROAD #46                                                                           LAKELAND            FL 33801‐6959
SCHRIMSHER, WANDA K              309 POPLAR ST                                                                                    ATHENS              AL 35611‐4633
SCHRINER I I, STANLEY W          619 HIGHLAND DR                                                                                  SAINT CLAIR         MI 48079‐4231
SCHRINER RICHARD E (ESTATE OF)   KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                  CLEVELAND           OH 44114
(476487)                                                           BOND COURT BUILDING
SCHRINER, ALLEN L                6 SPANISH TRL                                                                                    SAINT PETERS       MO   63376‐5903
SCHRINER, DENNIS C               2348 MARJORIE LN                                                                                 CLIO               MI   48420‐9161
SCHRINER, ELFRIEDE E             696 LINWOOD AVE                                                                                  COLUMBUS           OH   43205‐2859
SCHRINER, KEITH A                11594 FM RD. 1998                                                                                WASKOM             TX   75692
SCHRINER, KENNETH T              BOX 3556 DOTY HILL RD                                                                            WELLSBURG          NY   14894
SCHRINER, RICHARD E              KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                   CLEVELAND          OH   44114
                                                                   BOND COURT BUILDING
SCHRINER, RICHARD W              11884 OAKLAND AVE                                                                                MOUNT MORRIS       MI   48458‐1471
SCHRINER, ROBERT M               2566 LAKESHORE DR                                                                                BEAN STATION       TN   37708‐6746
SCHRINER, WILLIAM J              11875 OAKLAND AVE                                                                                MOUNT MORRIS       MI   48458‐1419
SCHRIPSEMA, ROGER C              2006 TIMBERLANE DR                                                                               JENISON            MI   49428‐8140
SCHRIPSEMA, ROGER C.             2006 TIMBERLANE DR                                                                               JENISON            MI   49428‐8140
SCHRIVER, BETTY L                306 HUSKEY MOUNTAIN RD                                                                           LACEYS SPRING      AL   35754‐6232
SCHROBA, BETTY L                 306 N LARKIN AVE                                                                                 JOLIET             IL   60435‐6698
SCHROCK JR, OSCAR A              100 LAGUNA CIR                                                                                   DAPHNE             AL   36526‐7866
SCHROCK JR, WILLARD R            12638 MEAHL RD                                                                                   AKRON              NY   14001‐9428
SCHROCK LARRY (472159)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510
                                                                   STREET, SUITE 600
SCHROCK NOAH (644145)            SIMMONS FIRM                      PO BOX 521                                                     EAST ALTON         IL 62024‐0519
SCHROCK REPAIR, INC.             1422 US HIGHWAY 150                                                                              GOODFIELD          IL 61742‐7515
SCHROCK THOMAS E (447562)        CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND          OH 44115
                                 GAROFOLI                          FL
SCHROCK, DENNIS A                8045 KENWICK ST                                                                                  WHITE LAKE         MI   48386‐4325
SCHROCK, DONALD M                11280 N PALMYRA RD                                                                               NORTH JACKSON      OH   44451‐9725
SCHROCK, FREDERICK E             4400 S SALEM WARREN RD                                                                           NORTH JACKSON      OH   44451‐8701
SCHROCK, GERALD J                3185 AARON LN                                                                                    TRAVERSE CITY      MI   49684‐7987
SCHROCK, GINA M                  11429 MORAN ST                                                                                   HAMTRAMCK          MI   48212‐4113
SCHROCK, HAROLD W                20267 CANAL DR                                                                                   GROSSE ILE         MI   48138‐1190
SCHROCK, HARVEY T                5929 VISTAMAR RD                                                                                 TOLEDO             OH   43611‐1045
SCHROCK, JERRY J                 31 CEDAR ST                                                                                      AKRON              NY   14001‐1048
SCHROCK, LARRY                   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510‐2212
                                                                   STREET, SUITE 600
SCHROCK, LAWRENCE W              5450 ELLICOTT RD                                                                                 ORCHARD PARK       NY   14127‐3334
SCHROCK, LLOYD D                 3530 N 950 E                                                                                     BROWNSBURG         IN   46112
SCHROCK, MARK D                  1781 BEARS DEN RD                                                                                YOUNGSTOWN         OH   44511‐1359
SCHROCK, NOAH                    SIMMONS FIRM                      PO BOX 521                                                     EAST ALTON         IL   62024‐0519
SCHROCK, PAUL A                  12817 W 85TH CIR                                                                                 ARVADA             CO   80005‐1179
SCHROCK, PAUL A                  12817 WEST 85TH CIRCLE                                                                           ARVADA             CO   80005‐1179
SCHROCK, ROBERT E                28223 STATLER LN                                                                                 FARMINGTON HILLS   MI   48334‐5177
SCHROCK, ROGER O                 9145 WARNER ST                                                                                   WEST OLIVE         MI   49460‐9635
SCHROCK, ROY E                   7690 WEBSTER RD                                                                                  MIDDLEBRG HTS      OH   44130‐6603
SCHROCK, SHIRLEY A               3520 FORT                                                                                        WATERFORD          MI   48328
SCHROCK, THOMAS A                6208 W BELOIT NEWARK RD                                                                          BELOIT             WI   53511‐8428
SCHROCK, THOMAS E                CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                CLEVELAND          OH   44115
                                 GAROFOLI                          FL
SCHRODE, THOMAS                  167 E CIRVIEW DR                                                                                 NEW MIDDLETOW      OH 44442‐9403
SCHRODE, THOMAS                  167 CIRCLEVIEW DR                                                                                NEW MIDDLETOWN     OH 44442‐9403
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Name                              Address1                          Address2                         Address3       Address4         City               State Zip
SCHRODER GERALD MARY ANN          ICO THE LANIER LAW FIRM PC        6810 FM 1960 WEST                                                HOUSTON             TX 77069
SCHROEDER
SCHRODER LIZ                      2582 POPLAR AVE                                                                                    SAINT PAUL         MN   55109‐1650
SCHRODER, ALBERT F                6804 N HARVARD AVE                                                                                 OKLAHOMA CITY      OK   73132‐6957
SCHRODER, DAVID L                 741 S VINE ST                                                                                      HINSDALE           IL   60521‐4457
SCHRODER, DOUGLAS D               6402 ANTOINETTE LN                                                                                 MAUMEE             OH   43537‐1205
SCHRODER, GLADYS M                9814 FOREST HIGHWAY 13                                                                             RAPID RIVER        MI   49878‐9495
SCHRODER, HANNAH N                1109 E MARSHALL ST                                                                                 MARION             IN   46952‐3048
SCHRODER, JOSEPH                  3239 W WASHINGTON ST                                                                               ANDERSON           IN   46011‐8774
SCHRODER, LARRY J                 6933 BONNIE AVE SE                                                                                 GRAND RAPIDS       MI   49508‐7403
SCHRODER, LINDA J.                73 TAMMY DR                       HICKORY HILLS VILLAGE                                            BATTLE CREEK       MI   49037‐1483
SCHRODER, MELVIN                  6144 YANKEE RD                                                                                     LIBERTY TOWNSHIP   OH   45044‐9125
SCHRODER, MICHAEL T               9814 FOREST HIGHWAY 13                                                                             RAPID RIVER        MI   49878‐9495
SCHRODER, ROBERT L                569 S 4TH ST                                                                                       WEST BRANCH        MI   48661‐8750
SCHRODT, ROBERT E                 5265 FREDRICKSBURG LN                                                                              LEXINGTON          MI   48450‐9251
SCHRODT, WILLIAM R                39553 BALBOA DR                                                                                    STERLING HEIGHTS   MI   48313
SCHRODY DANIEL P (461077)         WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                  NEW YORK           NY   10038
SCHRODY, DANIEL P                 WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                  NEW YORK           NY   10038
SCHROECK PETER                    28 HIRAM SQ                                                                                        NEW BRUNSWICK      NJ   08901‐1270
SCHROECK, MARIE                   69 TRUEX PL                                                                                        MIDDLETOWN         NJ   07748‐2333
SCHROEDAHL INTERNATIONAL          2400 AUGUSTA DR STE 285                                                                            HOUSTON            TX   77057‐4943
CORPORATION
SCHROEDEL, ELLY                   6154 WEYBRIDGE DR                                                                                  DAYTON             OH   45426‐1440
SCHROEDEL, HEINZ O                6154 WEYBRIDGE DR                                                                                  DAYTON             OH   45426‐1440
SCHROEDER BRIAN D                 650 KOALA CT                                                                                       WILMINGTON         IL   60481‐9511
SCHROEDER CHARLES (459319)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510
                                                                    STREET, SUITE 600
SCHROEDER CHARLES T JR (467066)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA 23510
                                                                    STREET, SUITE 600
SCHROEDER DORIS                   788 EASTBROOK LN                                                                                   CROWN POINT        IN   46307‐5013
SCHROEDER FAMILY TRUST            B SCHROEDER CO‐TTEE               E SCHROEDER CO‐TTEE              PO BOX 1106                     GLENEDEN BEACH     OR   97388‐1106
SCHROEDER I I, GORDON P           1110 N BALDWIN RD                                                                                  OXFORD             MI   48371‐3002
SCHROEDER III, DAVID M            324 W WILLOW ST                                                                                    CARLISLE           PA   17013‐3748
SCHROEDER JACOB F (413709)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510
                                                                    STREET, SUITE 600
SCHROEDER JOHN                    SCHROEDER, JOHN                   5055 WILSHIRE BLVD STE 300                                       LOS ANGELES        CA 90036‐6101
SCHROEDER JOSEPH                  SCHROEDER, JOSEPH                 429 W WESLEY ST                                                  WHEATON            IL 60187‐4925
SCHROEDER JOSEPH                  SCHROEDER, KATRINA                LEHRER FLAHERTY & CANAVAN P.C.   429 W WESLEY                    WHEATON            IL 60187

SCHROEDER JR, GEORGE A            10070 DODGE RD                                                                                     MONTROSE           MI   48457‐9020
SCHROEDER JR, HAROLD O            749 VILLAGE CREST DRIVE                                                                            SUWANEE            GA   30024‐8726
SCHROEDER JR, HERBERT A           450 CARLISLE AVE                                                                                   DAYTON             OH   45410‐2702
SCHROEDER JR, LESLIE C            246 ANDERSON RD                                                                                    EAST TAWAS         MI   48730‐9740
SCHROEDER JR, LEVERNE R           PO BOX 62                                                                                          HEMLOCK            MI   48626‐0062
SCHROEDER MOVING SYSTEMS          16260 W ROGERS DR                                                                                  NEW BERLIN         WI   53151‐2247
SCHROEDER PAUL                    PO BOX 33                                                                                          WESTPHALIA         IN   47596‐0033
SCHROEDER RAYMOND W (354154)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510
                                                                    STREET, SUITE 600
SCHROEDER RICHARD (507597)        COON BRENT W                      PO BOX 4905                                                      BEAUMONT           TX   77704‐4905
SCHROEDER SHERRI                  107 SEA LANE                                                                                       OCEAN CITY         MD   21842‐4649
SCHROEDER SR, GERALD D            PO BOX 443                                                                                         OXFORD             WI   53952‐0443
SCHROEDER TAMMY                   301 WEST 33RD STREET                                                                               KEARNEY            NE   68845‐3467
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Name                         Address1                        Address2                        Address3   Address4         City               State Zip
SCHROEDER WENDY              SCHROEDER, WENDY                17295 CHESTERFIELD AIRPORT ROAD
                                                             SUITE 200 CHESTERFIELD, MO

SCHROEDER WILLIAM (459320)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                             STREET, SUITE 600
SCHROEDER, ALAN B            363 BEHLER RD                                                                               RAVENNA            MI    49451‐9345
SCHROEDER, ANDREW J          6102 E COUNTY LINE RD                                                                       MILTON             WI    53563‐9216
SCHROEDER, ANNE              27750 SYLVAN                                                                                WARREN             MI    48093‐4942
SCHROEDER, ANNE              27750 SYLVAN AVE                                                                            WARREN             MI    48093‐4942
SCHROEDER, ARLENE F          1791 PHEASANT AVE NW                                                                        GRAND RAPIDS       MI    49534‐2321
SCHROEDER, ARLENE M          8908 CTY TK F                                                                               EDGERTON           WI    53534
SCHROEDER, ARTHUR D          352 FOREST ST                                                                               WESTLAND           MI    48186‐4510
SCHROEDER, BARBARA J         905 SHARON RD                                                                               JANESVILLE         WI    53546‐5219
SCHROEDER, BEATRICE M        1283 ORCHARD RD                                                                             ESSEXVILLE         MI    48732‐1934
SCHROEDER, BETTY             2201 ARLINGTON PL                                                                           CLEARWATER         FL    33765‐2208
SCHROEDER, BEVERLY A         760 WATTLES RD                                                                              BLOOMFIELD HILLS   MI    48304‐3279
SCHROEDER, BOBBY A           3325 PARKTOWNE RD                                                                           BALTIMORE          MD    21234‐4840
SCHROEDER, CARL B            302 SEITHER ST                                                                              DEFIANCE           OH    43512‐3329
SCHROEDER, CARL M            79 CARDINAL DRIVE                                                                           WHISPER PNES       NC    28327‐9327
SCHROEDER, CARL W            26703 HILL AVE                                                                              WARREN             MI    48091‐4126
SCHROEDER, CATHERINE         110 CHATHAM DR                                                                              AURORA             OH    44202‐8813
SCHROEDER, CATHY A           14207 W ONEWOOD ST                                                                          WICHITA            KS    67235‐3411
SCHROEDER, CHARLES           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA    23510‐2212
                                                             STREET, SUITE 600
SCHROEDER, CHARLES E         888 N HILLMAN RD                                                                            STANTON             MI   48888‐9745
SCHROEDER, CHARLES E         43640 BURTRIG RD                                                                            BELLEVILLE          MI   48111‐2904
SCHROEDER, CHARLES H         2855 GILBERT LN                                                                             CENTRAL LAKE        MI   49622‐9229
SCHROEDER, CHARLES T         15904 SOUTHWEST 300TH TERRACE                                                               HOMESTEAD           FL   33033‐3426
SCHROEDER, CHARLES T         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA   23510‐2212
                                                             STREET, SUITE 600
SCHROEDER, CHERYL H          23755 PRIDES RD                                                                             SUSSEX             WI    53089
SCHROEDER, CHRIS             1951 ARTHUR AVE                                                                             RACINE             WI    53405‐3829
SCHROEDER, CRAIG D           2253 20TH ST                                                                                WYANDOTTE          MI    48192‐4127
SCHROEDER, DALE A            15141 W WATERFORD DR                                                                        SURPRISE           AZ    85374‐8581
SCHROEDER, DAVID A           6793 CROY RD                                                                                MORGAN HILL        CA    95037
SCHROEDER, DAVID A           4370 MILNER RD                                                                              STOCKBRIDGE        MI    49285
SCHROEDER, DAVID L           3814 MOHAVE DR                                                                              SIOUX CITY         IA    51104‐1508
SCHROEDER, DAVID M           5603 W FENRICK RD                                                                           JANESVILLE         WI    53548‐9464
SCHROEDER, DAVID R           8 HARSEN RD                                                                                 TENAFLY            NJ    07670‐2602
SCHROEDER, DEAN R            218 E SUGAR ST                                                                              LEIPSIC            OH    45856‐1255
SCHROEDER, DEBORAH D.        3245 COACH LANE SE              APT 2 D                                                     GRAND RAPIDS       MI    49512
SCHROEDER, DEL C             31487 PINTO DR                                                                              WARREN             MI    48093‐7624
SCHROEDER, DENNIS L          500 ARTHUR DR                                                                               CLINTON            WI    53525‐9116
SCHROEDER, DERRICK J         10248 PARK DR                                                                               GOODRICH           MI    48438‐9303
SCHROEDER, DERRICK J.        10248 PARK DR                                                                               GOODRICH           MI    48438‐9303
SCHROEDER, DON E             148 S GRAND POINTE DR                                                                       BROOKLYN           MI    49230
SCHROEDER, DONALD            GUY WILLIAM S                   PO BOX 509                                                  MCCOMB             MS    39649‐0509
SCHROEDER, DONALD D          ROUTE 1 BOX 1691                                                                            PIEDMONT           MO    63957
SCHROEDER, DONALD D          RR 1 BOX 1691                                                                               PIEDMONT           MO    63957‐9726
SCHROEDER, DONALD J          5369 FARLEY RD                                                                              CLARKSTON          MI    48346‐1736
SCHROEDER, DONALD L          8960 BRITTON HWY                                                                            BRITTON            MI    49229‐9544
SCHROEDER, DONALD L          14049 PASSAGE WAY                                                                           SEMINOLE           FL    33776‐1148
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Name                      Address1                           Address2                      Address3   Address4         City              State Zip
SCHROEDER, DONALD R       12465 BURTLEY DR                                                                             STERLING HTS       MI 48313‐1809
SCHROEDER, DOROTHY J      763 COBBLESTONE DR                                                                           ROCHESTER HILLS    MI 48309‐1623
SCHROEDER, DUANE E        PO BOX 6301                                                                                  SPRING HILL        FL 34611‐6301
SCHROEDER, EARL J         2622 E 300 S                                                                                 GREENFIELD         IN 46140‐9280
SCHROEDER, EARL W         2785 FETTING RD                                                                              APPLEGATE          MI 48401‐9748
SCHROEDER, EDGAR J        309 W WASHINGTON AVE UNIT 906                                                                MADISON            WI 53703‐5514
SCHROEDER, EDGAR J        309 W WASHINGTON AVE               UNIT 906                                                  MADISON            WI 53703‐5514
SCHROEDER, EDNA           11081 N JENNINGS RD                                                                          CLIO               MI 48420‐1570
SCHROEDER, EDNA L         2511 BAY ST                                                                                  SAGINAW            MI 48602‐3829
SCHROEDER, EDWARD A       1015 BELOIT AVE                                                                              JANESVILLE         WI 53546‐2640
SCHROEDER, EDWARD J       PO BOX 451                                                                                   GERMANTOWN          IL 62245‐0451
SCHROEDER, EDWARD J       591 E LAKE DASHA DR                                                                          PLANTATION         FL 33324‐3157
SCHROEDER, EDWARD W       692 N ADELE ST. # SP6                                                                        ORANGE             CA 92867
SCHROEDER, ELAINE F       34240 FLORENCE ST                                                                            WESTLAND           MI 48185‐8502
SCHROEDER, ELSIE          283 PHILLIPS AVE                                                                             CLAWSON            MI 48017‐1544
SCHROEDER, ERIC M         LAW OFFICE OF ERIC M. SCHROEDER    3545 PACIFICA LN                                          ELK GROVE          CA 95758
SCHROEDER, ERICH K        4934 APPLE CT                                                                                FREELAND           MI 48623‐8800
SCHROEDER, ETHEL V        777 CHIPPEWA DR                                                                              DEFIANCE           OH 43512‐3369
SCHROEDER, EUGENE D       6012 GREENFIELD RD                                                                           FORT WORTH         TX 76135‐1305
SCHROEDER, EVERETT E      1322 FOREST AVENUE                                                                           BELOIT             WI 53511‐5926
SCHROEDER, EWALD O        52 INMAN DR                                                                                  INGALLS            IN 46048‐9697
SCHROEDER, FRANCIS P      10301 FAUSSETT RD                                                                            FENTON             MI 48430‐9446
SCHROEDER, G H            415 E. 12TH ST                     C/O PUBLIC ADMINISTRATOR                                  KANSAS CITY        MO 64106
SCHROEDER, GARY E         1417 W BURBANK AVE                                                                           JANESVILLE         WI 53546‐6110
SCHROEDER, GARY E         648 SHAD ST                                                                                  NORTH TONAWANDA    NY 14120‐4134
SCHROEDER, GEORGE A       103 29TH ST N                                                                                BATTLE CREEK       MI 49015‐4908
SCHROEDER, GEORGE A       811 CLARK ST                                                                                 LANSING            MI 48906‐5527
SCHROEDER, GEORGE J       2815 SIEBER DR                                                                               ARLINGTON          TX 76016‐2415
SCHROEDER, GEORGE M       27143 NOSTALGIA DR                                                                           LEESBURG           FL 34748
SCHROEDER, GERALD F       17145 FIFTH STREET                 BOX 226                                                   ARCADIA            MI 49613
SCHROEDER, GERALD M       2371 LAKESIDE DR                                                                             HARBOR BEACH       MI 48441‐8954
SCHROEDER, GINGER E       3010 STILLRIVER DR                                                                           HOWELL             MI 48843‐7384
SCHROEDER, GLENN E        9075 ROUND LAKE RD                                                                           LAINGSBURG         MI 48848‐9494
SCHROEDER, GLORIA M       523 SNOWGLEN DR                                                                              ENGLEWOOD          OH 45322‐1615
SCHROEDER, GREGORY T      221 CUYAHOGA CT                                                                              SOUTH LYON         MI 48178‐8205
SCHROEDER, H J CO INC     3805 NEW HAVEN AVE                                                                           FORT WAYNE         IN 46803‐1663
SCHROEDER, HARLEY E       7324 STANLEY RD                                                                              FLUSHING           MI 48433‐9062
SCHROEDER, HAROLD E       9330 FROST RD                                                                                SAGINAW            MI 48609‐9643
SCHROEDER, HARVEY L       966 BAYSIDE DR                                                                               TRAVERSE CITY      MI 49686‐9205
SCHROEDER, HEATHER N      9075 ROUND LAKE RD                                                                           LAINGSBURG         MI 48848‐9494
SCHROEDER, HERBERT A      11754 LIBERTY WOODS DR                                                                       WASHINGTON         MI 48094‐2465
SCHROEDER, HERBERT W      889 GLENULLINE DR                                                                            CANTON             MI 48187‐3816
SCHROEDER, HOWARD L       HC 31 BOX 109                                                                                CABALLO            NM 87931
SCHROEDER, JACOB F        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
SCHROEDER, JACOBUS        80311 HIPP RD                                                                                BRUCE TWP         MI   48065‐1316
SCHROEDER, JACQUELINE A   945 KENNELY RD UNIT I128                                                                     SAGINAW           MI   48609‐6719
SCHROEDER, JAMES A        5703 E VUELTA DE                   LADRILLO AMARILLO                                         TUCSON            AZ   85706
SCHROEDER, JAMES A        5640 PUERTO VALLARTA DR                                                                      FORT WORTH        TX   76180‐6560
SCHROEDER, JAMES C        105 CROOKED OAK CT                                                                           ROSCOMMON         MI   48653‐8746
SCHROEDER, JAMES L        6546 ELKRUN CT                                                                               CLARKSTON         MI   48348‐2812
SCHROEDER, JAMISON C      2124 PEMBROKE RD                                                                             BIRMINGHAM        MI   48009‐7504
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Name                         Address1                         Address2                     Address3   Address4         City               State Zip
SCHROEDER, JANET             3140 HIDDEN RD                                                                            BAY CITY            MI 48706‐1203
SCHROEDER, JASON A           APT 1A                           829 THORNTON COURT                                       SCHAUMBURG           IL 60193‐4850
SCHROEDER, JEFFERY D         453 BLUE JACKET RD                                                                        PERRYSBURG          OH 43551‐6365
SCHROEDER, JEFFREY A         532 PURDUE AVE                                                                            ELYRIA              OH 44035‐7254
SCHROEDER, JEFFREY L         42764 RUSSIA RD                                                                           ELYRIA              OH 44035‐6875
SCHROEDER, JEFFREY L         42764 RUSSIA ROAD                                                                         ELYRIA              OH 44035‐6875
SCHROEDER, JEROME J          421 PROSPECT ST                                                                           LEIPSIC             OH 45856‐9206
SCHROEDER, JEROME O          70119 MILL CREEK DR                                                                       BRUCE TWP           MI 48065‐4253
SCHROEDER, JEROME O          52311 SHELBY RD                                                                           SHELBY TWP          MI 48316‐3162
SCHROEDER, JESSICA A         37059 MAAS DR                                                                             STERLING HEIGHTS    MI 48312‐1939
SCHROEDER, JILLIAN           161 E MAIN ST                                                                             ORANGE              VA 22960‐1612
SCHROEDER, JOHN              KROHN & MOSS ‐ CA,               5055 WILSHIRE BLVD STE 300                               LOS ANGELES         CA 90036‐6101
SCHROEDER, JOHN A            322 GLENBROOK DR                                                                          OTTAWA              OH 45875‐1570
SCHROEDER, JOHN G            6143 PORTERIDGE LN                                                                        CANTON              MI 48187‐2626
SCHROEDER, JOHN M            7703 TRADERS HOLLOW LN                                                                    INDIANAPOLIS        IN 46278‐1225
SCHROEDER, JOHN R            844 DIVERSEY DRIVE                                                                        SAINT LOUIS         MO 63126‐1234
SCHROEDER, JOHN S            4957 LANCASTER HILL DR.                                                                   CLARKSTON           MI 48346
SCHROEDER, JOSEPH            835 ARROW AVE                                                                             ANDERSON            IN 46016‐2532
SCHROEDER, JOSEPH            LEHRER FLAHERTY & CANAVAN P.C.   429 W WESLEY ST                                          WHEATON              IL 60187‐4925
SCHROEDER, JOSEPH C          10840 ROAD R                                                                              COLUMBUS GRV        OH 45830‐9796
SCHROEDER, JOSEPH CLARENCE   10840 ROAD R                                                                              COLUMBUS GRV        OH 45830‐9796
SCHROEDER, JOSEPH E.         835 ARROW AVE                                                                             ANDERSON            IN 46016‐2532
SCHROEDER, JOYCE E           8898 JOSE LAKE TRL                                                                        SOUTH BRANCH        MI 48761‐9641
SCHROEDER, JUDY L            9168 N BRAY RD                                                                            CLIO                MI 48420‐9766
SCHROEDER, JUDY L            6494 W FARRAND RD                                                                         CLIO                MI 48420‐8101
SCHROEDER, KAREN M           3380 WHEELER RD                                                                           BAY CITY            MI 48706‐1645
SCHROEDER, KATHLEEN L        33214 OREGON ST                                                                           LIVONIA             MI 48150‐3639
SCHROEDER, KATHLEEN R        453 BLUE JACKET RD                                                                        PERRYSBURG          OH 43551‐6365
SCHROEDER, KATHLEEN ROSE     453 BLUE JACKET RD                                                                        PERRYSBURG          OH 43551‐6365
SCHROEDER, KATHLYN S         4148 S SCHUMAN RD                                                                         ORFORDVILLE         WI 53576‐9470
SCHROEDER, KATHRYN R         4557 SE 1ST TERRACE                                                                       GREFHAM             OR 97080
SCHROEDER, KATRINA           LEHRER FLAHERTY & CANAVAN P.C.   429 W WESLEY ST                                          WHEATON              IL 60187‐4925
SCHROEDER, KELLY D           PO BOX 3335                                                                               MANSFIELD           OH 44904
SCHROEDER, KENNETH E         4326 N FRANCIS SHORES AVE                                                                 SANFORD             MI 48657‐9357
SCHROEDER, KENNETH E         PO BOX 3335                                                                               LEXINGTON           OH 44904‐0335
SCHROEDER, KIRK F            10746 RD I‐9                                                                              OTTAWA              OH 45875
SCHROEDER, KRIS              271 PLEASANT ST                                                                           MARINE CITY         MI 48039‐3480
SCHROEDER, KURT W            36770 BIRWOOD ST                                                                          CLINTON TOWNSHIP    MI 48035‐1702
SCHROEDER, KURT WILLIAM      36770 BIRWOOD ST                                                                          CLINTON TOWNSHIP    MI 48035‐1702
SCHROEDER, L J               22199 STATE HIGHWAY O                                                                     WRIGHT CITY         MO 63390‐6715
SCHROEDER, LARRY L           2327 DARTMOUTH DR                                                                         JANESVILLE          WI 53548‐2773
SCHROEDER, LAWRENCE D        1 BISHOP GADSDEN WAY APT 311                                                              CHARLESTON          SC 29412‐3573
SCHROEDER, LAWRENCE R        2112 N OAK RD                                                                             DAVISON             MI 48423‐8116
SCHROEDER, LEE R             4012 RYANS CREEK RD                                                                       WILLIAMSBURG        KY 40769‐9536
SCHROEDER, LELAND E          4148 S SCHUMAN RD                                                                         ORFORDVILLE         WI 53576‐9470
SCHROEDER, LEROY E           632 N ALTADENA AVE                                                                        ROYAL OAK           MI 48067‐1952
SCHROEDER, LESLIE G          3260 DAVIS RD                                                                             ATTICA              MI 48412‐9734
SCHROEDER, LINDA M           3617 MANOR RD                                                                             ANDERSON            IN 46011‐2228
SCHROEDER, LORI K            4964 S APOPKA AVE                                                                         INVERNESS           FL 34452
SCHROEDER, LOTHAR J          72 CHALMERS DR                                                                            ROCHESTER HILLS     MI 48309‐1842
SCHROEDER, LOUIS H           10702 E 37TH PL                                                                           YUMA                AZ 85365‐6854
SCHROEDER, LOUISE            37760 SOUTH CAPITOL COURT                                                                 LIVONIA             MI 48150‐5005
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Name                         Address1                           Address2                      Address3   Address4         City              State Zip
SCHROEDER, LOUISE            37760 S CAPITOL CT                                                                           LIVONIA            MI 48150‐5005
SCHROEDER, LOUISE A          8952 CHESTNUT RIDGE ROAD                                                                     MIDDLEPORT         NY 14105‐9661
SCHROEDER, MALCOLM W         26450 S HOGAN DR                                                                             SUN LAKES          AZ 85248‐6913
SCHROEDER, MARGARET          11124 HAMMERSTONE DR                                                                         SOUTH LYON         MI 48178‐9525
SCHROEDER, MARGARET L        6140 RUNYAN LAKE RD                                                                          FENTON             MI 48430‐9564
SCHROEDER, MARIE             1737 LINDEN ST                                                                               DEARBORN           MI 48124‐4010
SCHROEDER, MARJARIE          16051 SCHROEDER RD                                                                           BRANT              MI 48614‐8782
SCHROEDER, MARK D            6028 PINE KNOB RD                                                                            CLARKSTON          MI 48348‐5131
SCHROEDER, MARK J            6028 PINE KNOB RD                                                                            CLARKSTON          MI 48348‐5131
SCHROEDER, MARTHA V          1 BISHOP GADSDEN WAY APT 311                                                                 CHARLESTON         SC 29412‐3573
SCHROEDER, MARY              20555 MILTON COURT                                                                           BROOKFIELD         WI 53045‐4050
SCHROEDER, MARY ANN          1866 NW WASHINGTON BLVD APT 8                                                                HAMILTON           OH 45013‐1766
SCHROEDER, MARY C            1524 KATHY LN                                                                                MIAMISBURG         OH 45342‐2622
SCHROEDER, MARY C            1524 KATHY LANE                                                                              MIAMISBURG         OH 45342‐2622
SCHROEDER, MARY K            5204 N OLD ORCHARD DR                                                                        JANESVILLE         WI 53545‐9618
SCHROEDER, MATTHEW A         PO BOX 9022                        C/O SHANGHAI                                              WARREN             MI 48090‐9022
SCHROEDER, MELBA J           4141 MCCARTY RD APT 105                                                                      SAGINAW            MI 48603‐9328
SCHROEDER, MELODY K          1326 W SUNSET RD APT 229                                                                     PORT WASHINGTON    WI 53074‐2422
SCHROEDER, MELODY K          APT 229                            1326 WEST SUNSET ROAD                                     PRT WASHINGTN      WI 53074‐2422
SCHROEDER, MICHAEL           6462 FOX HILLS RD                                                                            CANTON             MI 48187‐2459
SCHROEDER, MICHAEL C         PO BOX 41                                                                                    STOCKBRIDGE        MI 49285‐0041
SCHROEDER, MICHAEL CHARLES   PO BOX 41                                                                                    STOCKBRIDGE        MI 49285‐0041
SCHROEDER, NANCY             1308 ASHBURY DR                                                                              LEMONT              IL 60439‐8414
SCHROEDER, NANCY A           RR 1                                                                                         MARK CENTER        OH 43536
SCHROEDER, NEIL R            6494 W FARRAND RD                                                                            CLIO               MI 48420‐8101
SCHROEDER, OTTO P            1315 LAFAYETTE AVE NE                                                                        GRAND RAPIDS       MI 49505‐5043
SCHROEDER, PAMALYN K         1612 100TH AVE                                                                               ALEDO               IL 61231‐8702
SCHROEDER, PATRICIA S        7703 TRADERS HOLLOW LN                                                                       INDIANAPOLIS       IN 46278‐1225
SCHROEDER, PAUL
SCHROEDER, PAUL C            1737 LINDEN ST                                                                               DEARBORN          MI   48124‐4010
SCHROEDER, PAUL F            553 N PALM ST                                                                                JANESVILLE        WI   53548‐2844
SCHROEDER, PAUL J            13200 COWPATH RD                                                                             NEW CARLISLE      OH   45344‐9401
SCHROEDER, PAUL M            2549 S STATE ROAD 213                                                                        ORFORDVILLE       WI   53576‐9547
SCHROEDER, PAUL N            A‐832 ST RT 108‐1                                                                            NEW BAVARIA       OH   43548
SCHROEDER, PAUL R            10621 DICE RD                                                                                FREELAND          MI   48623‐9208
SCHROEDER, PAUL RAYMOND      10621 DICE RD                                                                                FREELAND          MI   48623‐9208
SCHROEDER, PHILIP J          15597 POWER DAM RD                                                                           DEFIANCE          OH   43512‐6810
SCHROEDER, PHILIP V          12176 STATE ROUTE 694                                                                        OTTAWA            OH   45875‐9208
SCHROEDER, PHILIP VIRGIL     12176 STATE ROUTE 694                                                                        OTTAWA            OH   45875‐9208
SCHROEDER, RALPH C           1869 HAVERHILL DR                                                                            LAPEER            MI   48446‐9792
SCHROEDER, RANDY V           2405 ELVA DR                                                                                 KOKOMO            IN   46902‐2935
SCHROEDER, RAYMOND D         1230 SW 5TH CT BOCA ISLANDS                                                                  BOCA RATON        FL   33432
SCHROEDER, RAYMOND S         3789 ALBERT MATTHEWS RD                                                                      COLUMBIA          TN   38401‐8960
SCHROEDER, RAYMOND W         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                                STREET, SUITE 600
SCHROEDER, REED D            PO BOX 64                                                                                    MOUNT MORRIS      MI   48458‐0064
SCHROEDER, REGENA H          1249 SW CROSSING DR                                                                          LEES SUMMIT       MO   64081‐3221
SCHROEDER, REGENA H          1249 CROSSING DRIVE S.W.                                                                     LEE'S SUMMIT      MO   64081‐3221
SCHROEDER, REGINA K          3239 W WASHINGTON                                                                            ANDERSON          IN   46011‐8774
SCHROEDER, RICHARD           COON BRENT W                       PO BOX 4905                                               BEAUMONT          TX   77704‐4905
SCHROEDER, RICHARD D         1870 WOLF LN                                                                                 NATIONAL CITY     MI   48748‐9539
SCHROEDER, RICHARD E         14255 SW DAPHNE ST                                                                           BEAVERTON         OR   97008‐4434
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Name                        Address1                       Address2            Address3         Address4         City               State Zip
SCHROEDER, RICHARD J        3442 BELMONT HEIGHTS DR                                                              GAINESVILLE         GA 30507‐8924
SCHROEDER, RICHARD L        1440 HOWELL RD                                                                       DAYTON              OH 45434‐6830
SCHROEDER, RICHARD M        6809 LOCKMILL RD                                                                     TEMPERANCE          MI 48182‐2211
SCHROEDER, RICHARD MELVIN   6809 LOCKMILL RD                                                                     TEMPERANCE          MI 48182‐2211
SCHROEDER, RICHARD W        16324 DEER RUN DRIVE                                                                 LOCKPORT             IL 60441‐4788
SCHROEDER, RICKY D          3050 N ADRIAN HWY A                                                                  ADRIAN              MI 49221
SCHROEDER, ROBERT C         2345 W EMELITA AVE                                                                   MESA                AZ 85202‐2810
SCHROEDER, ROBERT E         15231 LILLE CIR                                                                      IRVINE              CA 92604‐3169
SCHROEDER, ROBERT F         3370 E HARTMAN RD                                                                    COLUMBIA CITY       IN 46725‐9056
SCHROEDER, ROBERT H         1212 H ST SPC 113                                                                    RAMONA              CA 92065‐2877
SCHROEDER, ROBERT J         2235 RIDGELAND DR                                                                    AVON                OH 44011‐1553
SCHROEDER, ROGER H          9036 CRESCENT BEACH RD                                                               PIGEON              MI 48755‐9756
SCHROEDER, RONALD C         1525 W 4TH ST                                                                        KUNA                ID 83634‐1858
SCHROEDER, RONALD D         10337 COY RD                                                                         SHERWOOD            OH 43556‐9717
SCHROEDER, RONALD E         7255 PHEASANT LN                                                                     BARTELSO             IL 62218‐2830
SCHROEDER, RONALD F         600 CAMELOT LANE                                                                     PIGEON              MI 48755‐9587
SCHROEDER, RONALD J         7761 GAINES RD                                                                       CINCINNATI          OH 45247‐3415
SCHROEDER, RONALD J         3618 ROHR RD                                                                         ORION               MI 48359‐1432
SCHROEDER, RONALD L         437 N FIVE LAKES RD                                                                  ATTICA              MI 48412‐9738
SCHROEDER, RONALD P         3040 LEHMAN CAVE CT                                                                  HENDERSON           NV 89052‐8520
SCHROEDER, ROSE J           3866 FINCH DR                                                                        TROY                MI 48084‐1667
SCHROEDER, ROY J            2104 BISBY DR                                                                        MOUNT MORRIS        MI 48458‐1237
SCHROEDER, RUBY             PO BOX 62                                                                            HEMLOCK             MI 48626‐0062
SCHROEDER, SANDRA K         PO BOX 394                                                                           WEST UNITY          OH 43570‐0394
SCHROEDER, SCOTT A          6808 MAPLETON DR                                                                     FORT WAYNE          IN 46845‐8953
SCHROEDER, SCOTT ALLEN      6808 MAPLETON DR                                                                     FORT WAYNE          IN 46845‐8953
SCHROEDER, SHARON L         6035 LONG POINT DR                                                                   DAVISBURG           MI 48350‐3528
SCHROEDER, STEVEN J         453 N ESPLANADE ST                                                                   MOUNT CLEMENS       MI 48043‐6501
SCHROEDER, STEVEN P         10968 STATE ROUTE 500                                                                PAULDING            OH 45879‐9147
SCHROEDER, STEVEN T         1052 DARTMOUTH LN                                                                    WATERFORD           MI 48327‐4086
SCHROEDER, TERESE M         2106 ELMHURST AVE                                                                    ROYAL OAK           MI 48073
SCHROEDER, TERI             4636 PALMER ST                                                                       LANSING             MI 48910‐5226
SCHROEDER, TERRY A          1917 EAGLE POINTE                                                                    BLOOMFIELD HILLS    MI 48304‐3805
SCHROEDER, THEODORE A       13624 ROAD Z                                                                         COLUMBUS GROVE      OH 45830‐9725
SCHROEDER, THEODORE R       620 SUGARBUSH RD                                                                     KEWADIN             MI 49648‐9345
SCHROEDER, THOMAS C         1212 DAVIS RD                                                                        WEST FALLS          NY 14170‐9732
SCHROEDER, THOMAS D         6140 RUNYAN LAKE RD                                                                  FENTON              MI 48430‐9564
SCHROEDER, TIM E            3329 TITTABAWASSEE RD                                                                HEMLOCK             MI 48626‐9660
SCHROEDER, TIMOTHY A        16861 US ROUTE 224             R.R. #1                                               COLUMBUS GROVE      OH 45830‐9619
SCHROEDER, TIMOTHY R        5204 N OLD ORCHARD DR                                                                JANESVILLE          WI 53545‐9618
SCHROEDER, TIMOTHY W        4636 PALMER ST                                                                       LANSING             MI 48910‐5226
SCHROEDER, TRACY M          5603 W FENRICK RD                                                                    JANESVILLE          WI 53548‐9464
SCHROEDER, VERA M           3749‐203B WADE COBLE DRIVE                                                           BURLINGTON          NC 27215
SCHROEDER, VERNA C          210 WEST SOUTH ST              UNIT B23                                              DAVISON             MI 48423
SCHROEDER, VERNA C          210 W SOUTH ST APT B23                                                               DAVISON             MI 48423‐1577
SCHROEDER, VICKIE R         703 JACKSON ST                                                                       FORT ATKINSON       WI 53538‐1359
SCHROEDER, VICTOR F         504 SUBURBAN CT APT 6                                                                ROCHESTER           NY 14620‐3834
SCHROEDER, VIRGIL           9571 ROSE PETAL DR                                                                   TIPP CITY           OH 45371‐8114
SCHROEDER, VIRGIL A         3140 HIDDEN RD                                                                       BAY CITY            MI 48706‐1203
SCHROEDER, WALTER T         6536 FISH LAKE RD                                                                    NORTH BRANCH        MI 48461‐8712
SCHROEDER, WAYNE A          4480 FRASER RD                                                                       BAY CITY            MI 48706‐9450
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Name                           Address1                       Address2                        Address3   Address4         City            State Zip
SCHROEDER, WILLIAM             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510‐2212
                                                              STREET, SUITE 600
SCHROEDER, WILLIAM J           4141 MCCARTY RD APT 105        WESCOURT                                                    SAGINAW         MI   48603‐9328
SCHROEDER, WILLIAM L           100 SCHROEDER OAKS LN                                                                      LAKE ORION      MI   48362‐1068
SCHROEDER, WILLIAM LEO         100 SCHROEDER OAKS LN                                                                      LAKE ORION      MI   48362‐1068
SCHROEDER‐SCATES, SHANNON      5391 HINMAN RD                                                                             LOCKPORT        NY   14094‐9202
SCHROEDER‐VELTMAN, SHIRLEY M   4124 BRENNAN CIR                                                                           FAYETTEVILLE    NC   28312‐8779
SCHROEDERS SERVICE             1001 W PARK DR                                                                             HUNTINGTON      IN   46750‐2624
SCHROEDL LUCILLE               N4081 SCHROEDL LN                                                                          JEFFERSON       WI   53549‐9613
SCHROEDL, COREY S              415 MCKEE CT                                                                               FORT ATKINSON   WI   53538‐2630
SCHROEDL, JEFFREY P            635 MONROE ST                                                                              FORT ATKINSON   WI   53538‐1335
SCHROEDL, PEGGY S              N2398 ROCK RIVER RD                                                                        FORT ATKINSON   WI   53538‐9038
SCHROEDL, RUSSEL N             N2398 ROCK RIVER RD                                                                        FORT ATKINSON   WI   53538‐9038
SCHROEN, ALBERTA J             134 SUE ST. LOT 50                                                                         SPRING LAKE     NC   28390‐8914
SCHROEPFER, ELIZABETH W        1098 NE INDEPENDANCE # 133                                                                 LEE'S SUMMIT    MO   64086‐5897
SCHROEPFER, FLORENCE           11254 N ROCKING R RD                                                                       HEYDEN          ID   83835‐9190
SCHROEPFER, HELEN K            4636 GENESSEE ST                                                                           KANSAS CITY     MO   64112‐1117
SCHROEPFER, LARRY W            9349 SAWMILL RUN RD                                                                        LITTLE VALLEY   NY   14755
SCHROEPPEL, DOROTHY E          3751 PIERCE RD                                                                             SAGINAW         MI   48604‐9753
SCHROER III, JOSEPH B          6173 CENTRE CAMP CT                                                                        GREENSBORO      NC   27455‐8317
SCHROER, DAVID E               PO BOX 704                                                                                 HIGGINSVILLE    MO   64037‐0704
SCHROER, GARY L                1832 S CARR AVE                                                                            SEDALIA         MO   65301‐7034
SCHROER, LINDA M               5496 LINGER LN                                                                             LAPEER          MI   48446‐8012
SCHROER, MARILYN L             100 CAPITOL CRES APT 103                                                                   HAMILTON        OH   45013‐5804
SCHROER, MICHAEL F             946 PTARMIGAN TRL                                                                          BRUNSWICK       OH   44212‐2288
SCHROER, OWEN D                137 CAPPSHIRE RD LOT 119                                                                   CROSSVILLE      TN   38558
SCHROER, ROBERT C              8384 CROSSBOW CT                                                                           GRAND BLANC     MI   48439‐2551
SCHROER, ROBERT W              PO BOX 1                                                                                   HIGGINSVILLE    MO   64037‐0001
SCHROER, ROBERTA L             25 VALLEY CREST DR                                                                         BELLVILLE       OH   44813‐1298
SCHROETER, DARLENE S           1220 W MONROE ST                                                                           KOKOMO          IN   46901‐3252
SCHROETER, KATHRYN E           1901 W VAILE                                                                               KOKOMO          IN   46901
SCHROETER, MARIE E             6719 UNIVERSITY DRIVE                                                                      BALTIMORE       MD   21220‐1044
SCHROETKE, ELIZABETH A         10546 SAN TRAVASO DR                                                                       TAMPA           FL   33647
SCHROFF, DENNIS E              7316 WINDRIDGE WAY                                                                         BROWNSBURG      IN   46112‐8985
SCHROFF, RUDOLF A              2020 SUNNYSIDE ROAD                                                                        VERMILION       OH   44089‐2664
SCHROLL, JACOB R               4630 CLERMONT MILL RD                                                                      PYLESVILLE      MD   21132‐1814
SCHROLL, LAWRENCE D            27943 GRANT ST                                                                             ST CLAIR SHRS   MI   48081‐1490
SCHROLL, WANDA L               4630 CLERMONT MILL RD                                                                      PYLESVILLE      MD   21132‐1814
SCHROLL, WANDA LEE             4630 CLERMONT MILL RD                                                                      PYLESVILLE      MD   21132‐1814
SCHROLUCKE, LORA D             6984 PARK SQUARE DR #B                                                                     AVON            IN   46123‐9017
SCHROM, DONNA M                6318 CAMINO MARINERO           C/O SYLVIA L HANSEN                                         SAN CLEMENTE    CA   92673‐7107
SCHROMOFSKY, JOSEPH E          122 LOST CREEK DR                                                                          BOARDMAN        OH   44512‐6571
SCHROPE, ELVIN M               801 HUNTINGTON AVE APT 33                                                                  WARREN          IN   46792
SCHROPE, MILDRED J             592 WESTWOOD HEIGHTS CIR                                                                   DOUGLAS         GA   31535‐6310
SCHROPSHIRE, DEREK J           3130 JOHN DALY ST                                                                          INKSTER         MI   48141‐2402
SCHROT, SUSAN L                17934 BIRWOOD AVE                                                                          BEVERLY HILLS   MI   48025
SCHROTENBOER, BERNICE J        STE 23                         8910 NORTH DALE MABRY HIGHWAY                               TAMPA           FL   33614‐1500

SCHROTENBOER, ROBERT K         1757 LAKEVIEW DR                                                                           ZEELAND         MI   49464‐2108
SCHROTH ENTERPRISES INC        DAN WAHL                       23500 BLACKSTONE DR                                         HAMILTON        OH   45015
SCHROTH, DENNIS                124 BUFFINGTON ST                                                                          NOVI            MI   48377‐1800
SCHROTH, DENNIS M              11182 WHISPERING RIDGE TRL                                                                 FENTON          MI   48430‐3413
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SCHROTH, FRED H            1797 WESTFALL RD                                                                         ROCHESTER           NY 14618‐2811
SCHROTH, GREGORY D         9465 RIDGE RD                                                                            GOODRICH            MI 48438‐9480
SCHROTH, J L CO            DAN WAHL                       23500 BLACKSTONE DR                                       HAMILTON            OH 45015
SCHROTH, J.L/WARREN        23500 BLACKSTONE AVE                                                                     WARREN              MI 48089‐2610
SCHROTH, JAMES G           6011 ELMOOR DR                                                                           TROY                MI 48098‐1820
SCHROTH, NANCY K           9465 RIDGE RD                                                                            GOODRICH            MI 48438‐9480
SCHROTH, PAUL T            56 TYLER COURT                                                                           EVINGTON            VA 24550‐3718
SCHROTH, ROBERT G          215 TUXWORTH RD                                                                          CENTERVILLE         OH 45458‐2452
SCHROUGHAM, RALPH M        5494 S 600 W                                                                             TRAFALGAR           IN 46181‐9174
SCHROYER, DONNA J          44540 PARSONS RD                                                                         OBERLIN             OH 44074‐8603
SCHROYER, DOUGLAS K        2882 BISHOP RD                                                                           WILLOUGHBY HILLS    OH 44092‐2660
SCHROYER, GARRY P          44540 PARSONS RD                                                                         OBERLIN             OH 44074‐8603
SCHROYER, JAMES E          16474 COWLEY RD                                                                          GRAFTON             OH 44044‐9209
SCHROYER, MARIE A          222 ROLLING HILLS RD.                                                                    RUFFSDALE           PA 15679‐9636
SCHROYER, MARLENE J        162 MAPLE ST                                                                             FRIENDSVILLE        MD 21531‐2123
SCHROYER, MARLENE J        162 MAPEL STREET                                                                         FRIENDSVILLE        MD 21531‐2123
SCHROYER, MILFORD E        RD#1 BOX 957                                                                             RUFFS DALE          PA 15679
SCHROYER, RUSSELL T        7431 HOLABIRD AVE                                                                        BALTIMORE           MD 21222‐1828
SCHROYER‐RUIZ, MELISSA J   568 BAYBERRY DR                                                                          ELYRIA              OH 44035‐8860
SCHRUBBA, RONALD C         10005 CREEKWOOD TRL                                                                      DAVISBURG           MI 48350‐2058
SCHRUBBE, MICHAEL C        406 WESTMORELAND AVE                                                                     LANSING             MI 48915‐1833
SCHRUBBE, ROBERT C         1015 BALI RD SE                                                                          RIO RANCHO          NM 87124‐4374
SCHRUBBE, ROSEMARY A       435 LATHROP ST                                                                           LANSING             MI 48912‐2409
SCHRUBY, DELORES E         75 OLD AMBOY RD                                                                          TRENTON             NJ 08620‐9629
SCHRUBY, DELORES E         OLD AMBOY ROAD BOX 75                                                                    TRENTON             NJ 08620
SCHRUEFER, KEVIN M         126 ROUND TRAIL RD                                                                       WEST SENECA         NY 14218‐3748
SCHRUEFER, MICHAEL A       1650 BAUST CHURCH RD                                                                     UNION BRIDGE        MD 21791‐9728
SCHRUEFER, RICHARD J       12 BROOKFIELD LN UNIT 5                                                                  CHEEKTOWAGA         NY 14227‐1953
SCHRUEFER, RONALD J        30 TIFFANY LN                                                                            LANCASTER           NY 14086‐9622
SCHRUFF, LOUIS             PORTER & MALOUF PA             4670 MCWILLIE DR                                          JACKSON             MS 39206‐5621
SCHRUL, FRIEDRICH A        323 YORKSHIRE RD                                                                         TONAWANDA           NY 14150‐8235
SCHRUM, HARRY E            11803 S STATE HIGHWAY 21                                                                 POTOSI              MO 63664‐3001
SCHRUM, ILA M              21 BEECH ST                                                                              MINOOKA              IL 60447‐9518
SCHRUM, PAMELA G           6560 OAKRIDGE DR                                                                         WATERFORD           MI 48329‐1243
SCHRUMPF, DAVID W          121 PONDS VIEW DR                                                                        ANN ARBOR           MI 48103‐6941
SCHRUMPF, FRANK C          10409 E RAVINE VIEW CT                                                                   NORTH ROYALTON      OH 44133‐6074
SCHRUPP INDUSTRIES INC     100 N RIVER AVE                                                                          PARKER              PA 16049‐8766
SCHRYBURT, BETHANY I       13347 NADINE AVE                                                                         HUNTINGTON WOODS    MI 48070‐1422
SCHRYBURT, JOSEPH L        2334 MUNSTER RD                                                                          ROCHESTER HLS       MI 48309‐2401
SCHRYVER, DAVID M          957 BUCK RUN RD                                                                          WILMINGTON          OH 45177‐6510
SCHRYVER, GENEVIEVE F      957 BUCK RUN RD                                                                          WILMINGTON          OH 45177‐6510
SCHRYVER, JO ANN A         424 BAYLOR ST                                                                            FORT COLLINS        CO 80525‐1757
SCHRYVER, MARGARET C       550 W HARDING RD                                                                         SPRINGFIELD         OH 45504‐1709
SCHRYVERS, DAVID L         9209 W WABASH RD                                                                         ANDREWS             IN 46702‐9502
SCHRYVERS, FOREST          188 CEDAR AVENUE                                                                         BRODHEAD            WI 53520‐1004
SCHRYVERS, FOREST          188 CEDAR AVE                                                                            BRODHEAD            WI 53520
SCHRYVERS, MARY A          188 CEDAR AVENUE                                                                         BRODHEAD            WI 53520‐1004
SCHTOKAL, WILLIAM          7705 BRENTWOOD DR                                                                        MYRTLE BEACH        SC 29572‐4147
SCHU, WILLIAM F            5063 SIOUX CT                                                                            FLUSHING            MI 48433‐1039
SCHUBA, CONSTANCE E        STE 1                          624 SOUTH GRAND TRAVERSE ST                               FLINT               MI 48502‐1230
SCHUBACH, WALTER C         22 ADDISON DR                                                                            FAIRFIELD           NJ 07004
SCHUBACK MARC              1 VALLEY LN                                                                              ARMONK              NY 10504‐2640
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Name                         Address1                         Address2                        Address3   Address4         City                State Zip
SCHUBART, ROBERT N           8025 MISSION RD                                                                              ALANSON              MI 49706‐9217
SCHUBAUER, JAMES D           5483 CHANCERY BLVD                                                                           GREENWOOD            IN 46143‐7170
SCHUBAUER, JOSEPH P          650 WILLOW ST                                                                                LOCKPORT             NY 14094‐5137
SCHUBECK, GERALDINE E        890 CHESTNUT ST                                                                              BIRMINGHAM           MI 48009‐6473
SCHUBEL, LYNN V              228 STONEMILL RD                                                                             DAYTON               OH 45409‐2541
SCHUBEL, RONALD L            109 S BRAINARD ST                                                                            NAPERVILLE            IL 60540‐4903
SCHUBERG ERIC                2630 VIA ZURITA CT                                                                           SANTA ROSA VALLEY    CA 93012‐9336
SCHUBERT HERBERT (447564)    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD           OH 44067
                                                              PROFESSIONAL BLDG
SCHUBERT II, MICHAEL D       137 N QUENTIN AVE                                                                            DAYTON              OH   45403‐1748
SCHUBERT JR, ANTHONY F       810 RIVER VIEW DR                                                                            NORMAN              OK   73071‐7140
SCHUBERT JR, JOHN F          5232 E ALLISON RD                                                                            CAMBY               IN   46113‐8414
SCHUBERT LAVERN F (626758)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA   23510
                                                              STREET, SUITE 600
SCHUBERT, ALLAN J            1402 OAK LEAF DR                                                                             COLUMBIA            TN   38401‐8803
SCHUBERT, ALVIN C            109 SUNSET AVE                                                                               SHERWOOD            OH   43556‐9820
SCHUBERT, ANDREAS G          1711 SEYMOUR LAKE RD                                                                         OXFORD              MI   48371‐4344
SCHUBERT, BERNARD C          601 PATTERSON AVE                                                                            BAY CITY            MI   48706‐4141
SCHUBERT, CORLIE LYNN        9389 OAK RD                                                                                  OTISVILLE           MI   48463‐9745
SCHUBERT, DANIEL D           5296 HAMMOND RD                                                                              LAPEER              MI   48446‐2755
SCHUBERT, DOLORES M          5232 E ALLISON RD                                                                            CAMBY               IN   46113‐8414
SCHUBERT, DOROTHY N          26429 EVERT ST                                                                               LEESBURG            FL   34748‐8034
SCHUBERT, GEORGE A           PO BOX 113                                                                                   STURGEON BAY        WI   54235‐0113
SCHUBERT, GEORGE C           317 SYCAMORE GLEN DRIVE #106                                                                 MIAMISBURG          OH   45342‐5706
SCHUBERT, GLENN W            5801 W BETHEL AVE                                                                            MUNCIE              IN   47304‐9549
SCHUBERT, HARRY H            14565 RED FOX RUN UNIT10                                                                     NAPLES              FL   34110
SCHUBERT, IRENE C            PO BOX 164                                                                                   SCOTRUN             PA   18355‐0164
SCHUBERT, JACK R             16833 CO LINE RD 10                                                                          DEFIANCE            OH   43512
SCHUBERT, JAMES C            1185 CLEVELAND DR                                                                            CHEEKTOWAGA         NY   14225‐1234
SCHUBERT, JAMES M            955 PADRE LN                                                                                 GREENWOOD           IN   46143‐2604
SCHUBERT, JEFFREY K          4365 CREEK RD                                                                                LEWISTON            NY   14092‐1122
SCHUBERT, K J                163 HARRIS CT                                                                                CHEEKTOWAGA         NY   14225‐3868
SCHUBERT, LAVERN F           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA   23510‐2212
                                                              STREET, SUITE 600
SCHUBERT, LEROY M            1210 SHEPPARD LN                                                                             WYLIE               TX   75098‐5233
SCHUBERT, LESLIE P           PO BOX 274                                                                                   MOORESVILLE         IN   46158‐0274
SCHUBERT, MALVIN L           160 EDINBURGH VILLAGE DR                                                                     DAYTON              OH   45458‐4169
SCHUBERT, MICHAEL D          1065 SAINT CLAIR AVE APT 2                                                                   HAMILTON            OH   45014
SCHUBERT, NOLAND E           14534 S MULLEN ST                                                                            OLATHE              KS   66062‐6563
SCHUBERT, OTTO F             3300 PITZER RD                                                                               BETHEL              OH   45106‐8527
SCHUBERT, PAUL E             1765 E WOODCREST DR S                                                                        MARTINSVILLE        IN   46151‐5994
SCHUBERT, RICHARD G          6916 PARK LN                                                                                 BROWNSBURG          IN   46112‐9799
SCHUBERT, ROBERT F           5300 AUGSPURGER RD                                                                           HAMILTON            OH   45011‐9539
SCHUBERT, RUBY               1022 HICKORY HILL CT APT A1                                                                  CLINTON             IA   52732‐3677
SCHUBERT, RUBY E             1022 HICKORY HILL CT APT A1                                                                  CLINTON             IA   52732‐3677
SCHUBERT, RUSSELL D          1481 FRIEL ST                                                                                BURTON              MI   48529‐2017
SCHUBERT, RUTH A             20651 STATE ROUTE 15             ROUTE 1                                                     CONTINENTAL         OH   45831‐9633
SCHUBERT, RUTH A             20651 ST RT 15                   ROUTE 1                                                     CONTINENTAL         OH   45831‐9633
SCHUBERT, SAMANTHA LUCY      1711 SEYMOUR LAKE RD                                                                         OXFORD              MI   48371‐4344
SCHUBERT, SANDRA R           805 NEWTON DR                                                                                NEWTON FALLS        OH   44444
SCHUBERT, THOMAS L           2254 BOLTON ST                                                                               SAINT CHARLES       MO   63301‐1008
SCHUBERT, VALERIE            11571 E LANSING RD                                                                           DURAND              MI   48429‐9745
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Name                                  Address1                         Address2                        Address3   Address4         City               State Zip
SCHUBILSKE, MARTIN J                  3416 S 87TH ST                                                                               MILWAUKEE           WI 53227‐4516
SCHUBMEHL, CASSANDRA I                217 MEMORY LANE                                                                              DOVER               DE 19901‐2884
SCHUBRING LARRY                       5180 MONTICELLO DR                                                                           SWARTZ CREEK        MI 48473‐8252
SCHUBRING ROBERT & DAWN               5630 S ANDRAE DR                                                                             NEW BERLIN          WI 53151‐8774
SCHUBRING, ARTHUR E                   4713 SUMPTER DR                                                                              MILTON              WI 53563‐8420
SCHUBRING, JAMES D                    15062 PINE HILL DR                                                                           SHELBY TOWNSHIP     MI 48315‐4920
SCHUBRING, LARRY A                    5180 MONTICELLO DR                                                                           SWARTZ CREEK        MI 48473‐8252
SCHUBRING, NANCY J                    25490 WIXOM RD                                                                               NOVI                MI 48374‐2126
SCHUBRING, PAUL A                     2615 CUMBERLAND RD                                                                           BERKLEY             MI 48072‐1510
SCHUBRING, WILLIAM W                  5131 N WALNUT GROVE RD                                                                       MILTON              WI 53563‐8802
SCHUCH IV, SAMUEL J                   553 DYLAN DR                                                                                 AVON                IN 46123‐3800
SCHUCH JR, NORMAN H                   5083 ESTA DR                                                                                 FLINT               MI 48506‐1546
SCHUCH, CAROLE L.                     4919 BOYDSON DR                                                                              TOLEDO              OH 43623‐3815
SCHUCH, CHARLES C                     9064‐S                                                                                       LYONS               OH 43533
SCHUCH, CHARLES M                     969 NYLON ST                                                                                 SAGINAW             MI 48604‐2171
SCHUCH, DONNA M                       4751 LINCOLN LN W                                                                            ESTERO              FL 33928
SCHUCH, EDWARD L                      8124 SAWYER RD                                                                               DARIEN               IL 60561‐5229
SCHUCH, FRANZISKA                     8 HAYMONT TERRACE                                                                            BRIARCLIFF MANOR    NY 10510‐1329
SCHUCH, FRANZISKA                     8 HAYMONT TER                                                                                BRIARCLIFF MANOR    NY 10510‐1329
SCHUCH, G F                           4751 LINCOLN LN W                                                                            ESTERO              FL 33928
SCHUCH, JONATHON J                    4561 OAK POINTE DR                                                                           BRIGHTON            MI 48116‐9780
SCHUCH, MARLENE B                     119 E HART ST                                                                                BAY CITY            MI 48706‐3832
SCHUCH, MARY L                        5083 ESTA DR                                                                                 FLINT               MI 48506‐1546
SCHUCH, PATRICIA S                    4561 OAK POINTE DR                                                                           BRIGHTON            MI 48116‐9780
SCHUCH, RALPH L                       304 VICTORY HL                                                                               COATESVILLE         IN 46121‐8964
SCHUCH, STUART J                      PO BOX 776                                                                                   ESTILL SPRINGS      TN 37330‐0776
SCHUCHARD'S WESTSIDE GMC TRUCK, INC   1800 9TH AVE SW                                                                              WATERTOWN           SD 57201‐5039

SCHUCHARD'S WESTSIDE GMC TRUCK, INC. 1800 9TH AVE SW                                                                               WATERTOWN           SD   57201‐5039

SCHUCHARD'S WESTSIDE GMC TRUCK, INC. RANDALL SCHUCHARD                 1800 9TH AVE SW                                             WATERTOWN           SD   57201‐5039

SCHUCHARD, GARY E                     601 SHREVE ST APT 25C                                                                        PUNTA GORDA        FL    33950‐3338
SCHUCHARD, STEVEN D                   8488 COLONIAL ST                                                                             DEARBORN HEIGHTS   MI    48127‐1305
SCHUCHARDT JR, ARTHUR C               868 STONE MEADOW DR                                                                          CHESTERFIELD       MO    63005‐4863
SCHUCHARDT MURRAY                     RR 1 BOX 263                                                                                 SIMPSON            IL    62985‐9642
SCHUCHART BERNIE                      598 BLUE JAY CIR                                                                             PAGOSA SPRINGS     CO    81147‐8910
SCHUCHASKIE, KENNETH L                314 THEO AVE                                                                                 LANSING            MI    48917‐2646
SCHUCHASKIE, MICHAEL L                6174 LOUNSBURY RD                                                                            WILLIAMSTON        MI    48895‐9619
SCHUCHERT, JOHN E                     3910 BIRDSONG LN                                                                             SWANTON            OH    43558‐9255
SCHUCHERT, KARL F                     189 BAKERS RD                                                                                WEST HURLEY        NY    12491‐5161
SCHUCHMAN PAULA M                     SCHUCHMAN, PAULA M               2325 GRANT BUILDING 310 GRANT                               PITTSBURGH         PA    15219
                                                                       STREET
SCHUCHMANN, PAUL                      4316 SHERIDAN RD                                                                             EMMETT             MI    48022‐3011
SCHUCHT, CAROL A                      2209 HUBBARD ST                                                                              JANESVILLE         WI    53546‐3154
SCHUCHTER, JAMES W                    2041 E U S 22 & 3                                                                            MORROW             OH    45152
SCHUCHTER, KENNETH G                  5487 MORROW COZADDALE RD                                                                     MORROW             OH    45152‐8913
SCHUCK, BENJAMIN                      7815 NW ROANRIDGE RD APT B                                                                   KANSAS CITY        MO    64151‐1399
SCHUCK, BENJAMIN G.                   7815 NW ROANRIDGE RD APT B                                                                   KANSAS CITY        MO    64151‐1399
SCHUCK, COURTNEY LYNN                 4611 W 400 S                                                                                 HUNTINGTON         IN    46750‐9164
SCHUCK, DAVID J                       4940 W LINCOLN RD                                                                            ANDERSON           IN    46011‐1479
SCHUCK, GERALDINE B                   5832 E CASPER RD                                                                             MESA               AZ    85205‐7410
                               09-50026-mg            Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                           Address1                       Address2                      Address3   Address4         City             State Zip
SCHUCK, JAMES D                4654 GASPORT RD                                                                          GASPORT           NY 14067‐9280
SCHUCK, KAREN S                4611 W 400 S                                                                             HUNTINGTON        IN 46750‐9164
SCHUCK, KAREN SUE              4611 W 400 S                                                                             HUNTINGTON        IN 46750‐9164
SCHUCK, MARK A                 4611 W 400 S                                                                             HUNTINGTON        IN 46750‐9164
SCHUCK, MARK ALLEN             4611 W 400 S                                                                             HUNTINGTON        IN 46750‐9164
SCHUCK, MARTHA L               2934 ALEXANDRIA PIKE                                                                     ANDERSON          IN 46012
SCHUCK, MARY J                 PO BOX 181                                                                               ESTILL SPRINGS    TN 37330‐0181
SCHUCK, MICHAEL J              2934 ALEXANDRIA PIKE                                                                     ANDERSON          IN 46012‐9206
SCHUCK, NICHOLAS J             1579 MORRIS AVE                                                                          LINCOLN PARK      MI 48146‐1544
SCHUCK, WILMA M                40 OAK DR                                                                                DOYLESTOWN        PA 18901‐2730
SCHUCKER, JENNIFER L           106 N BARKER AVE                                                                         EVANSVILLE        IN 47712
SCHUCKER, MATTHEW              9711 ADAMS ST                                                                            LIVONIA           MI 48150‐2422
SCHUCKERT, DARRELL J           15809 S RIVER RD                                                                         PLAINFIELD         IL 60544‐8117
SCHUCKHARDT, ELSIE L           4975 SANDSTONE CT                                                                        CLARENCE          NY 14031‐1582
SCHUCKMAN, EDWARD LAWRENCE     8280 E US 30 LOT 105                                                                     PIERCETON         IN 46562‐9033
SCHUCKMAN, RICHARD J           8280 E US 30 LOT 105                                                                     PIERCETON         IN 46562‐9033
SCHUCKMANN DONALD A (349841)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                              STREET, SUITE 600
SCHUCKMANN, CHARLES R          6676 PONDFIELD LN                                                                        MASON            OH 45040‐8524
SCHUCKMANN, DONALD A           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                              STREET, SUITE 600
SCHUCKNECHT, DAVID             N445 COUNTY RD W                                                                         FREMONT          WI   54940‐8818
SCHUDA, ROBERT A               5361 ORCHARD LN                                                                          GREENDALE        WI   53129‐2569
SCHUDA, ROBERT ANTHONY         5361 ORCHARD LN                                                                          GREENDALE        WI   53129‐2569
SCHUDA, SCOTT J                N6125 COUNTY ROAD C                                                                      CECIL            WI   54111‐9343
SCHUDA, WALTER R               960 DOLAN CT                                                                             FOLSOM           CA   95630‐9590
SCHUDEL, CHARLES W             579 STOCKS DR                                                                            COLDWATER        MI   49036‐7812
SCHUDEL, CYNTHIA J             845 ADDISON ST                                                                           ADRIAN           MI   49221‐2408
SCHUDEL, CYNTHIA JOY           845 ADDISON ST                                                                           ADRIAN           MI   49221‐2408
SCHUDERA, KATHRYN K            2020 HAYES ST                                                                            MARNE            MI   49435‐8786
SCHUDT, JOSEPH A               16361 AUSABLE BLVD                                                                       MACOMB           MI   48042‐2358
SCHUE ERIC                     2796 BLUEBELL CT E                                                                       COLUMBUS         IN   47201
SCHUE, MERCEDES A              2835 COLORADO AVE                                                                        LORAIN           OH   44052‐2901
SCHUEBEL, ANDY M               1547 WEDGEWOOD DR                                                                        RACINE           WI   53402‐2587
SCHUEL, WESLEY E               5177 40TH AVE                                                                            HUDSONVILLE      MI   49426‐8433
SCHUELE, BETH A                1195 COUNTRY DR                                                                          TROY             MI   48098‐6500
SCHUELE, MARY A                2008 S 183RD CIR                                                                         OMAHA            NE   68130‐2744
SCHUELER LUKE                  550 STACY LANE                                                                           HAMILTON         MT   59840‐9257
SCHUELER, JAMES D              18925 MEADOWVIEW DR                                                                      MOKENA           IL   60448‐9105
SCHUELER, JOSHUA D             2213 DANIEL LEWIS DR                                                                     NEW LENOX        IL   60451‐2500
SCHUELER, MARY E               1592 ROYALTON CT                                                                         OFALLON          MO   63366‐1167
SCHUELER, PEG                  12461 N 400 E                                                                            ALEXANDRIA       IN   46001‐8995
SCHUELER, RALPH W              1503 BLACK RD                                                                            HAMILTON         OH   45013‐8534
SCHUELER, RAYMOND J            3309 LERCH DR                                                                            BALTIMORE        MD   21214‐2910
SCHUELKE RYAN                  1505 WIMBLETON WAY                                                                       WAUNAKEE         WI   53597‐2005
SCHUELKE, CLARENCE W           2232 SUNSET DR. BOX 9                                                                    FENNVILLE        MI   49408
SCHUELKE, GUSTAV W             1332 DARTMOUTH ST NW                                                                     GRAND RAPIDS     MI   49504‐2916
SCHUELKE, THOMAS A             3076 TURNBERRY LN                                                                        ANN ARBOR        MI   48108‐2058
SCHUELKE, THOMAS A             2710 WINDWOOD DR APT 117                                                                 ANN ARBOR        MI   48105‐1485
SCHUELLER AUTOMOTIVE           1735 RADFORD RD                                                                          DUBUQUE          IA   52002‐2532
SCHUELLER MERLIN H (626759)    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510
                                                              STREET, SUITE 600
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Name                         Address1                         Address2                         Address3   Address4                City               State Zip
SCHUELLER, GERTRUDE A        7446 PINEGROVE DR                                                                                    JENISON             MI 49428‐7715
SCHUELLER, JAMES
SCHUELLER, JOSEPH W          510 W FARGO ST                                                                                       IONIA              MI   48846‐1129
SCHUELLER, JULIA M           12850 W M‐21                                                                                         FOWLER             MI   48835‐9286
SCHUELLER, MARGUERITE V      9320 N GRAFTEN RD                                                                                    ALMA               MI   48801‐9789
SCHUELLER, MARGUERITE V      9320 N GRAFTON RD                                                                                    ALMA               MI   48801‐9789
SCHUELLER, MERLIN H          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA   23510‐2212
                                                              STREET, SUITE 600
SCHUELLER, RICHARD J         10759 E 2ND ST                                                                                       FOWLER             MI   48835‐5137
SCHUENAMAN, CLARISE N        9520 LAURELWOOD CT                                                                                   FORT PIERCE        FL   34951‐2931
SCHUENAMAN, DAVID C          5482 SALEM SQUARE DR N                                                                               PALM HARBOR        FL   34685‐1144
SCHUENEMAN, JOSEPHINE        17628 MELLEN LANE                                                                                    JUPITER            FL   33478
SCHUENEMAN, JOSEPHINE        17628 MELLEN LN                                                                                      JUPITER            FL   33478‐4672
SCHUENEMAN, ROBERT A         5130 WILLIS RD                                                                                       NORTH BRANCH       MI   48461‐8969
SCHUENEMANN, PHYLLIS S       109 WILSON DR                                                                                        MCCOMB             MS   39648‐4543
SCHUENKE, B J                4024 MOUNTAIN PASS DR                                                                                PLANO              TX   75023‐4825
SCHUENKE, DIANNE L           1513 FOREST AVE                                                                                      BELOIT             WI   53511‐5927
SCHUENKE, PATRICIA A         1513 FOREST AVE                                                                                      BELOIT             WI   53511‐5927
SCHUEPBACH, ROBERT           COONEY & CONWAY                  120 NORTH LASALLE STREET, 30TH                                      CHICAGO            IL   60602
                                                              FLOOR
SCHUER, DAVID L              314 SMITH RD                                                                                         COLUMBUS           OH   43228‐1142
SCHUERGER, BETTY J           PO BOX 80492                                                                                         LAS VEGAS          NV   89180‐0492
SCHUERGER, DALE R            1934 BURNING BUSH CT                                                                                 ROCHESTER HILLS    MI   48309‐3323
SCHUERGER, MARGARET T        15789 PIKE BLVD                                                                                      BROOK PARK         OH   44142‐2342
SCHUERHOLZ GMBH & CO KG      STANZTECHNI                      INDUSTRIESTRASSE 9                          PLETTENBERG 58840‐000
                                                                                                          GERMANY
SCHUERMAN'S AUTO REPAIR      1505 W 1ST ST                                                                                        CEDAR FALLS        IA   50613‐1705
SCHUERMAN, DIANNE T          3508 SANDPIPER DR                                                                                    SPRINGFIELD        IL   62711‐6722
SCHUERMAN, JAMES C           8312 NORTHERN DR                                                                                     AVON               IN   46123‐7215
SCHUERMAN, PAUL H            501 BARCA CT                                                                                         BRADENTON          FL   34207‐3441
SCHUERMANN, DAVID            BRITT, MICHAEL A                 3701 WILLIAMS BLVD STE 255                                          KENNER             LA   70065‐3035
SCHUERMANN, RONALD H         4701 SE 139TH ST                                                                                     OKLAHOMA CITY      OK   73165‐7415
SCHUESSLER JR, ARNOLD        2802 PETERSON LN                                                                                     SANDUSKY           OH   44870‐5980
SCHUESSLER, CLEMETH G        503 SHERIDAN ST APT 2                                                                                OCONTO FALLS       WI   54154‐1647
SCHUESSLER, EDGAR H          3107 CAMPBELL ST                                                                                     SANDUSKY           OH   44870‐7230
SCHUETT, HEINZ               CONSUMER LEGAL SERVICES P.C.     30928 FORD RD                                                       GARDEN CITY        MI   48135‐1803
SCHUETT, JEFFREY A           500 GREENFIELD RD APT 2                                                                              RACINE             WI   53402‐3570
SCHUETT, NORMAN G            1602 E MAPLE BEACH DR                                                                                EDGERTON           WI   53534‐9040
SCHUETT, PATRICIA M          5433 S 73RD AVE                                                                                      SUMMIT             IL   60501‐1114
SCHUETT, RALPH L             1400 MARKET PLACE BLVD PMB 175                                                                       CUMMING            GA   30041‐7925
SCHUETTE DANIEL F (429771)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA   23510
                                                              STREET, SUITE 600
SCHUETTE JR, ERVIN H         PO BOX 1691                      6987 SAGINAW ST                                                     CASEVILLE          MI   48725‐1691
SCHUETTE STUART              6 WOODHAVEN DR                                                                                       SOUTH BARRINGTON   IL   60010
SCHUETTE THOMAS              NEED BETTER ADDRESS 10/03/06CP   184 JACKSON PARK AVE                                                VASSAR             MI   48768
SCHUETTE, ALBERT R           13762 DRIFT WOOD DR                                                                                  CARMEL             IN   46033‐9169
SCHUETTE, CARL               GUY WILLIAM S                    PO BOX 509                                                          MCCOMB             MS   39649‐0509
SCHUETTE, D S                5673 WOODFIELD PKWY                                                                                  GRAND BLANC        MI   48439‐9427
SCHUETTE, D SCOTT            5673 WOODFIELD PKWY                                                                                  GRAND BLANC        MI   48439‐9427
SCHUETTE, DANIEL F           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA   23510‐2212
                                                              STREET, SUITE 600
SCHUETTE, ERWIN W            1016 W MADISON AVE                                                                                   MILTON             WI 53563‐1040
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Name                         Address1                          Address2                            Address3               Address4            City            State Zip
SCHUETTE, GERHARDT D         9402 RYNN RD                                                                                                     KENOCKEE         MI 48006‐4117
SCHUETTE, JEFFERY J          PO BOX 226                                                                                                       PRUDENVILLE      MI 48651‐0226
SCHUETTE, JOYCE K            147 BAY SHORE DR                                                                                                 BAY CITY         MI 48706‐1169
SCHUETTE, JOYCE K            147 BAYSHORE DR                                                                                                  BAY CITY         MI 48706‐1169
SCHUETTE, KENNETH W          83 HICKORY DR                                                                                                    NAPOLEON         OH 43545‐9241
SCHUETTE, MARVELLE M         RT 3, 08896 N‐66                                                                                                 DEFIANCE         OH 43512
SCHUETTE, MELODY D           5673 WOODFIELD PKWY                                                                                              GRAND BLANC      MI 48439‐9427
SCHUETTE, OTTO J             679 JACOBUS RD                                                                                                   EDGERTON         WI 53534‐9379
SCHUETTE, ROBERTA            9402 RYNN RD                                                                                                     KENOCKEE         MI 48006‐4117
SCHUETTE, RON R              M863 COUNTY ROAD 17D                                                                                             NAPOLEON         OH 43545‐7016
SCHUETTE, STANLEY A          330 FIELD AVE APT C                                                                                              CANON CITY       CO 81212‐2677
SCHUETTE, THOMAS D           333 CAMPBELL LN                                                                                                  SAGINAW          MI 48609‐5065
SCHUETTE, TODD A             9729 N ROCK RIVER DR                                                                                             EDGERTON         WI 53534‐8432
SCHUETTE, WAYNE O            315 DOROW AVE                                                                                                    EDGERTON         WI 53534‐2105
SCHUETTELER ANNETTE          ROBERT STOLZ STRASSF 23                                                                      BORNHEIM DE 53332
                                                                                                                          GERMANY
SCHUETTELER ANNETTE          ROBERT‐STOLZ‐STRASSE 23                                                                                          BORNHEIM        DE   53332
SCHUETTER, MARGUERITE A      4640 S PORTSMOUTH RD                                                                                             BRIDGEPORT      MI   48722‐9743
SCHUETTER, ROBERT L          4411 LAMBERT RD                                                                                                  LOUISVILLE      KY   40219‐3839
SCHUETZ TERRENCE             490 S STOCKS RD                                                                                                  OCONOMOWOC      WI   53066‐8404
SCHUETZ VINCENT A (626760)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                    NORFOLK         VA   23510
                                                               STREET, SUITE 600
SCHUETZ, DOREEN E            3345 KING ROAD                                                                                                   SAGINAW         MI   48601‐5833
SCHUETZ, DOREEN E            3345 KING RD                                                                                                     SAGINAW         MI   48601‐5833
SCHUETZ, DWIGHT L            4001 VIOLET CT                                                                                                   MURRYSVILLE     PA   15668‐9540
SCHUETZ, GERD J              6251 S RACCOON RD                                                                                                CANFIELD        OH   44406‐9270
SCHUETZ, JOSEPH O            285 NOAH BLEDSOE RD                                                                                              SMITHS GROVE    KY   42171‐8272
SCHUETZ, JOYCE A             201 58TH PL                                                                                                      CLARENDON HLS   IL   60514‐1715
SCHUETZ, MARGARET B          8364 CANTALOUPE AVE                                                                                              PANORAMA CITY   CA   91402‐3807
SCHUETZ, TIMOTHY             721 APPLETON RD                                                                                                  SIMI VALLEY     CA   93065‐5112
SCHUETZ, VINCENT A           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                    NORFOLK         VA   23510‐2212
                                                               STREET, SUITE 600
SCHUEY, DAVID                5256 BAER RD                                                                                                     SANBORN         NY 14132‐9492
SCHUFF KARL                  LYNNE KIZIS, ESQ                  WILENTZ, GOLDMAN, AND SPITZER       90 WOODBRIDGE CENTER                       WOODBRIDGE      NJ 07095
                                                                                                   DRIVE
SCHUFF, KARL                 WILENTZ GOLDMAN & SPITZER         88 PINE STREET, WALL STREET PLAZA                                              NEW YORK        NY 10005

SCHUFF, MICHAEL D            1700 W SWEDEN RD                                                                                                 BROCKPORT       NY 14420‐9515
SCHUFF, ROBERT E             9609 JESSE DR                                                                                                    SAINT LOUIS     MO 63123‐6620
SCHUFFERT BILL (491308)      BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                  NORTHFIELD      OH 44067
                                                               PROFESSIONAL BLDG
SCHUG, JAMES L               2871 W DESHONG DR                                                                                                PENDLETON       IN   46064‐9529
SCHUG, JASON T               147 N MILITARY ST                                                                                                DEARBORN        MI   48124‐1034
SCHUG, MELVIN J              3387 N MICHIGAN RD                                                                                               DIMONDALE       MI   48821‐8749
SCHUG, RICHARD L             PO BOX 364                                                                                                       PENDLETON       IN   46064
SCHUGSTA, THOMAS J           146 PINE SPRINGS BLVD                                                                                            YORK            PA   17408‐6254
SCHUH ERIC                   1471 SCHAFER DR                                                                                                  BURTON          MI   48509‐1546
SCHUH ROBERT                 PO BOX 552                                                                                                       BIG BEAR LAKE   CA   92315‐0552
SCHUH WALTER                 N12512 DIVISION AVE                                                                                              COLBY           WI   54421‐9076
SCHUH, ALBRECHT K            16340 FISH LAKE RD                                                                                               HOLLY           MI   48442‐8349
SCHUH, DAVID L               3208 E DIX DR                                                                                                    MILTON          WI   53563‐9244
SCHUH, ERIC J                1471 SCHAFER DR                                                                                                  BURTON          MI   48509‐1546
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Name                             Address1                         Address2                 Address3    Address4                City            State Zip
SCHUH, ERIC J                    5816 RACINE DR                                                                                STEVENSVILLE     MI 49127‐8661
SCHUH, GLEN P                    5360 RUSHMORE PASS                                                                            GRAND BLANC      MI 48439‐9148
SCHUH, KATHE                     36219 MAAS DR                                                                                 STERLING HTS     MI 48312‐2828
SCHUH, KATHE                     36219 MAAS DRIVE                                                                              STERLING HTS     MI 48312‐2828
SCHUH, LARRY K                   923 E ROSE ST                                                                                 HOLLY            MI 48442‐1550
SCHUH, PAUL J                    123 PARKWAY                                                                                   NORTH CHILI      NY 14514
SCHUH, PETER                     17199 BORDMAN RD                                                                              BERLIN           MI 48002‐4100
SCHUH, ROBERT                    #1                               1298 WEST 111TH STREET                                       CLEVELAND        OH 44102‐1527
SCHUH, RODNEY W                  422 DOODWOOD TRAIL                                                                            RIPLEY           TN 38063
SCHUH, WAYNE E                   2636 PAYDON RANDOFF RD                                                                        DAYTON           OH 45434‐4235
SCHUHARDT, BEVERLY J             1714 PADDINGTON ROAD                                                                          KALAMAZOO        MI 49001‐5165
SCHUHL & CO GMBH                 AUF DER HUETTE 31                                                     WINTERBERG NW 59955
                                                                                                       GERMANY
SCHUIBBEO, COLLEEN               20 CALEB TERRACE                                                                              WILMINGTON      DE   19805
SCHUILING, MARY KATHLEEN         613 OAKRIDGE CT                                                                               GRAND HAVEN     MI   49417‐2373
SCHUIT, HELEN S                  7013 W 115TH PL                                                                               WORTH           IL   60482‐2350
SCHUITEMA, BERNARD J             8681 GARDENDALE AVE SW                                                                        BYRON CENTER    MI   49315‐9228
SCHUITEMA, DOROTHY A             1520 WELLINGTON RD                                                                            LANSING         MI   48910‐1158
SCHUITEMA, JERLANE J             8771 OLD OAK LN                  LOT 2                                                        NEWAYGO         MI   49337
SCHUITEMA, JESSAMINE A           8565 ELKWOOD ST SW                                                                            BYRON CENTER    MI   49315‐9723
SCHUITEMA, LARRY R               3938 STONE VALLEY LN                                                                          TWIN LAKE       MI   49457‐8645
SCHUITEMA, MICHAEL H             4101 E 82ND ST                                                                                NEWAYGO         MI   49337‐9636
SCHUITEMA, PETER E               3706 E 105TH TER                                                                              KANSAS CITY     MO   64137‐1613
SCHUITMAN, ROBERT H              3908 COLLINGWOOD AVE SW                                                                       WYOMING         MI   49519‐3611
SCHUKECHT ANDREA N               608 LONG AVE                                                                                  INVERNESS       FL   34453‐3392
SCHUKEI CHEVROLET, INC.          721 S MONROE AVE                                                                              MASON CITY      IA   50401‐5042
SCHUKEI CHEVROLET, INC.          ROBERT SCHUKEI                   721 S MONROE AVE                                             MASON CITY      IA   50401‐5042
SCHUKNECHT, ANDREA N             101 W MARKLE RD                                                                               HUNTINGTON      IN   46750‐9302
SCHUKNECHT, FREDRICK A           435 MCINTOSH RD                                                                               ORMOND BEACH    FL   32174‐5355
SCHUKNECHT, SCOTT E              101 W MARKLE RD                                                                               HUNTINGTON      IN   46750‐9302
SCHUKNECHT, SCOTT EDWARD         101 W MARKLE RD                                                                               HUNTINGTON      IN   46750‐9302
SCHUKRA NORTH AMERICA LTD        360 SILVERCREEK DR RR #1         CANADA                               TECUMSEH LAKESHORE ON
                                                                                                       N8N 4Y3 CANADA
SCHUKRA OF NORTH AMERICA, LTD.   AL DINGMAN                       1361 OULETTE AVE.                                            JOHNSON CITY    TN   37604
SCHUKRAFT, THELMA B              755 BEACH RD PO BOX 12                                                                        ANGOLA          NY   14006
SCHUL THOMAS R                   DBA TEC GLASS & INST LLC         4211 SUNSET DR                                               MARION          NY   14505‐9556
SCHUL, CYNTHIA A                 PO BOX 404                                                                                    LAKE ORION      MI   48361‐0404
SCHUL, DANIEL S                  322 N MIAMI ST                                                                                TRENTON         OH   45067‐1226
SCHUL, DONALD E                  5405 GRAUER RD                                                                                NIAGARA FALLS   NY   14305‐1457
SCHUL, DONALD V                  PO BOX 91                                                                                     NORTH JACKSON   OH   44451‐0091
SCHUL, ELDEN G                   5372 CAMBRIA RD                                                                               SANBORN         NY   14132‐9412
SCHUL, JASON T                   4385 CAMDEN WEST ELKTON RD                                                                    SOMERVILLE      OH   45064
SCHUL, MICHAEL P                 5453 LEETE RD                                                                                 LOCKPORT        NY   14094‐1245
SCHULAR, JOANN                   2129 FRASER RD                                                                                KAWKAWLIN       MI   48631‐9171
SCHULAR, OWEN R                  2129 FRASER RD                                                                                KAWKAWLIN       MI   48631‐9171
SCHULAY, JOSEPH S                8517 CARRIAGE HILL DR NE                                                                      WARREN          OH   44484‐1623
SCHULBACH, CECIL N               301 MESQUITE HILL DR                                                                          ARLINGTON       TX   76002‐4479
SCHULD, CHARLOTTE                6896 SY RD                                                                                    NIAGARA FALLS   NY   14304‐4612
SCHULDEN JR, PAUL H              609‐2 GARDNER RD                                                                              BELLEVUE        OH   44811
SCHULDLOS, BENEDIKT              17738 N STONE HAVEN DR                                                                        SURPRISE        AZ   85374‐6319
SCHULDT SR, JOHN C               4351 WINDING OAKS CIR                                                                         MULBERRY        FL   33860‐8358
SCHULDT, LARRY C                 4962 PORT AUSTIN RD                                                                           CASEVILLE       MI   48725‐9503
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Name                         Address1                          Address2                     Address3   Address4         City                 State Zip
SCHULDT, MILDRED             6274 BAILEY RD                                                                             BROWN CITY            MI 48416‐8906
SCHULDT, MILDRED             6274 BAILEY ROAD                                                                           BROWN CITY            MI 48416‐8906
SCHULDT, PAUL K              1428 N LEANDRO CIR                                                                         MESA                  AZ 85207‐2601
SCHULDT, RAMONA              11350 SAND CREEK HWY                                                                       SAND CREEK            MI 49279‐9783
SCHULDT, RICHARD E           6082 RIVER RD                                                                              EAST CHINA            MI 48054‐4730
SCHULDT, ROBERT J            5309 ROLLINS DR                                                                            SHELBY TOWNSHIP       MI 48317‐1226
SCHULDT, WALTER F            13 HINCKLEY RD                                                                             NEW PRESTON           CT 06777‐1505
SCHULENBERG, JEFFREY M       101 SUNRISE LN                                                                             BRYAN                 OH 43506‐8720
SCHULENBERG, JEFFREY MILES   101 SUNRISE LN                                                                             BRYAN                 OH 43506‐8720
SCHULENBERG, ROBERT          1085 WILES LN                                                                              LEWISBURG             TN 37091‐6626
SCHULENBERG, WILLIAM E       2158 MUSKOGEE TRL                                                                          NOKOMIS               FL 34275‐5328
SCHULENBURG, WAYNE E         853 MCKINLEY AVE                                                                           BELOIT                WI 53511‐5023
SCHULER CHARLES (470139)     ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                               BALTIMORE             MD 21202
                                                               CHARLES CENTER 22ND FLOOR
SCHULER CLARENCE E           3228 PROSPECT ST                                                                           FLINT                MI   48504‐3290
SCHULER INC                  7145 COMMERCE BLVD                                                                         CANTON               MI   48187‐4288
SCHULER JR, HARRY R          PO BOX 521                                                                                 SUGAR LAND           TX   77487‐0521
SCHULER MARTIN               SCHULER, MARTIN                   25805 HARPER AVE                                         SAINT CLAIR SHORES   MI   48081‐2263
SCHULER PRECISION TOOL LLC   6177 W STATE ROAD 114                                                                      NORTH MANCHESTER     IN   46962‐8672
SCHULER T L                  5055 ADDISON CIR PH 417                                                                    ADDISON              TX   75001‐6321
SCHULER, ALAN K              2310 RICHARD AVE                                                                           SAGINAW              MI   48603‐4130
SCHULER, ANN E               26173 FEATHERSOUND DR                                                                      PUNTA GORDA          FL   33955‐4711
SCHULER, ARTHUR H            6014 RIDGE RD                                                                              LOCKPORT             NY   14094‐1008
SCHULER, BOBBY P             4629 SHARPSVILLE RD                                                                        HILLSBORO            OH   45133‐6978
SCHULER, CHARLES             ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                BALTIMORE            MD   21202
                                                               CHARLES CENTER 22ND FLOOR
SCHULER, CLARENCE E          3228 PROSPECT ST                                                                           FLINT                MI   48504‐3290
SCHULER, DONALD A            3939 NEW RD                                                                                RANSOMVILLE          NY   14131‐9645
SCHULER, DONALD E            5630 COUNTY LINE RD                                                                        KANSAS CITY          KS   66106‐3106
SCHULER, DONNA J             838 FLINTRIDGE DR                                                                          FAIRBORN             OH   45324‐4424
SCHULER, EUNICE B            281 GREEN ACRES RD                                                                         TONAWANDA            NY   14150‐7323
SCHULER, GERALD E            3017 BRYN MAWR DR                                                                          INDEPENDENCE         MO   64057‐1428
SCHULER, HELEN               11224 JACQUELINE                                                                           STERLING HGTS        MI   48313‐4912
SCHULER, HORST O             62341 E AMBERWOOD DR                                                                       TUCSON               AZ   85739‐1839
SCHULER, JAMES A             11 STARLING CT                                                                             NORTH TONAWANDA      NY   14120‐1381
SCHULER, JAMES J             SIMMONS FIRM                      PO BOX 559                                               WOOD RIVER           IL   62095‐0559
SCHULER, JEFFERSON D         634 W YORK AVE                                                                             FLINT                MI   48505‐2032
SCHULER, JOHN A              PO BOX 326                                                                                 ANGELICA             NY   14709‐0326
SCHULER, JOHN E              138 W FLAGSTONE DR                                                                         NEWARK               DE   19702‐3647
SCHULER, JOHN M              P M B 280                         1640 S HWY 97 STE 2                                      REDMOND              OR   97756
SCHULER, LESTER L            1996 HILTS ROAD ROUTE 4                                                                    GLADWIN              MI   48624
SCHULER, LOUIS W             1760 S AIRPORT RD                                                                          SAGINAW              MI   48601‐9458
SCHULER, MARTIN H            2500 S SHERIDAN DR                                                                         MUSKEGON HEIGHTS     MI   49444‐2665
SCHULER, MARTIN H            25805 HARPER AVENUE                                                                        ST. CLAIR SHORES     MI   48081
SCHULER, NINA L              3078 ROOT CT                                                                               CEDAR SPRINGS        MI   49319‐8153
SCHULER, NONA B              10 BROOKS LN                                                                               ELKTON               MD   21921‐4857
SCHULER, NONA B              10 BROOKS LANE                                                                             ELKTON               MD   21921‐4857
SCHULER, PATRICIA A          3887 COOMER RD                                                                             NEWFANE              NY   14108‐9652
SCHULER, RICHARD             1126 WOODMAN RD                                                                            JANESVILLE           WI   53545‐1032
SCHULER, RICHARD K           3078 ROOT CT                                                                               CEDAR SPRINGS        MI   49319‐8153
SCHULER, RICHARD P           27250 BERKSHIRE DR                                                                         SOUTHFIELD           MI   48076‐4948
SCHULER, ROBERT E            1255 CONCORD RD                                                                            ROCHESTER HILLS      MI   48309‐2859
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Name                          Address1                            Address2                Address3   Address4         City               State Zip
SCHULER, ROBERT K             3637 WOODGLEN WAY                                                                       ANDERSON            IN 46011‐1675
SCHULER, ROBERT M             2627 W M 21 LOT 36                                                                      OWOSSO              MI 48867‐9316
SCHULER, SUSANN W             1321 NE 50TH ST                                                                         KANSAS CITY         MO 64118‐5910
SCHULER, SUSANN W             1321 N E 50TH                                                                           KANSAS CITY         MO 64118‐5910
SCHULER, TED L                744 HYDE PARK DR                                                                        DAYTON              OH 45429‐5838
SCHULER, TERRY B              1490 COUNTRY VIEW LN                                                                    FLINT               MI 48532‐2210
SCHULER, THOMAS               31 DEER TRL                                                                             CHEEKTOWAGA         NY 14227‐1610
SCHULER, TIM R                392 W. CHARLOTTE BOX 191                                                                CENTREVILLE         MI 49032
SCHULER, WILLIAM J            43 TOELSIN RD                                                                           BUFFALO             NY 14225‐3224
SCHULER, WILLIAM J            2424 ROCKY BROOK STREET                                                                 N LAS VEGAS         NV 89030‐4704
SCHULER, WINFRED T            810 WILBERFORCE DR                                                                      FLINT               MI 48503‐5237
SCHULER‐HASS ELECTRIC CORP    250 MOUNT HOPE AVE                                                                      ROCHESTER           NY 14620‐1246
SCHULERT, ELFRIEDE H          436 GUNDER DR                                                                           ROCHESTER HILLS     MI 48309‐1235
SCHULERT, TIMOTHY R           3133 E COUNTY ROAD 700 S                                                                MUNCIE              IN 47302‐8519
SCHULFER, BRANDON M           9212 WEST KATHLEEN ROAD                                                                 PEORIA              AZ 85382‐3588
SCHULFER, LEONARD M           1325 BRIARCLIFFE BLVD                                                                   WHEATON              IL 60189‐7729
SCHULFER, WALTER G            1410 LONGLEAF ST                                                                        AVON                IN 46123‐7279
SCHULFER, WALTER R            337 79TH ST                                                                             WILLOWBROOK          IL 60527‐2403
SCHULICK, ROBERT E            1012 OLD FURNACE RD                                                                     YOUNGSTOWN          OH 44511‐1338
SCHULIN, MARGERTIA M          9049 SHANNON DR                                                                         STERLING HEIGHTS    MI 48314‐2533
SCHULIST, JASON A             1984 CROWNDALE LN                                                                       CANTON              MI 48188‐6214
SCHULITZ, C F                 18 LAWNSBURY DR                                                                         ROCHESTER           NY 14624‐5213
SCHULKE, DENNIS A             4849 PACIFIC CT                                                                         DAYTON              OH 45424‐5427
SCHULKE, MIRIAM J             989 CHESTNUT OAK CT                                                                     LAWRENCEVILLE       GA 30045‐0045
SCHULKE, TERESA L             PO BOX 9022                                                                             WARREN              MI 48090
SCHULKER, MARGARET M          945 CUNNINGHAM CT                                                                       TIPP CITY           OH 45371‐1474
SCHULKER, MARGARET M          945 CUNNIGHAM COURT                                                                     TIPP CITY           OH 45371‐5371
SCHULKINS ANN                 36401 HOWARD RD                                                                         FARMINGTON HILLS    MI 48331‐3515
SCHULL, DONALD O              6600 W COUNTY ROAD 600 S                                                                MUNCIE              IN 47302‐8848
SCHULL, DUANE M               5870 LIVINGSTON DR                                                                      TOLEDO              OH 43613‐1708
SCHULL, DUANE MICHAEL         5870 LIVINGSTON DR                                                                      TOLEDO              OH 43613‐1708
SCHULLER CORP                 DOUG HUMPHREYS                      3RD AND PERRY STREETS                               MIDDLEFIELD         OH 44062
SCHULLER INTERNATIONAL INC.   DOUG HUMPHREYS                      3RD AND PERRY STREETS                               MIDDLEFIELD         OH 44062
SCHULLER JR., MARGARET B      3072 JUDYTH ST SE                                                                       WARREN              OH 44484‐4040
SCHULLER, ANNA D              815 JUNIPER DR                                                                          SEYMOUR             IN 47274‐1427
SCHULLER, ANNA D              815 JUNIPER DRIVE                                                                       SEYMOUR             IN 47274‐7274
SCHULLER, ARNOLD H            10300 VILLAGE CIRCLE DR UNIT 1301                                                       PALOS PARK           IL 60464‐3325
SCHULLER, CARL F              2265 WESTVIEW RD                                                                        CORTLAND            OH 44410‐9467
SCHULLER, DANIEL J            1183 HAGUE RD                                                                           ORWELL              OH 44076‐9366
SCHULLER, DENNIS N            C022 COUNTY ROAD 16                                                                     NEW BAVARIA         OH 43548‐9730
SCHULLER, DENNIS N            4776 DURST CLAGG RD                                                                     CORTLAND            OH 44410‐9550
SCHULLER, ELIZABETH           3003 CARL ST                                                                            NILES               OH 44446‐4510
SCHULLER, ELIZABETH           3003 CARL STREET                                                                        NILES               OH 44446‐4510
SCHULLER, ERICH               148 E MARION AVE                                                                        YOUNGSTOWN          OH 44507‐1276
SCHULLER, GALEEN R            73 E RIVERGLEN DR                                                                       WORTHINGTON         OH 43085‐3665
SCHULLER, JOHN C              1225 SODOM HUTCHINGS RD SE          SE                                                  VIENNA              OH 44473‐9622
SCHULLER, JOHN M              7350 HIGHLAND AVE SW                                                                    WARREN              OH 44481‐8642
SCHULLER, JOHN R              1504 BROOKFIELD RD                                                                      HUBBARD             OH 44425‐3029
SCHULLER, JOHN W              2697 EVELYN RD                                                                          YOUNGSTOWN          OH 44511‐1801
SCHULLER, KAREN S             80 E PACEMONT RD                                                                        COLUMBUS            OH 43202‐1223
SCHULLER, LINDA G             6713 WISE RD                                                                            WEST MIDDLESEX      PA 16159‐3829
SCHULLER, MARGARET B          41119 HAMILTON                                                                          STERLING HEIGHTS    MI 48313‐3014
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Name                        Address1                               Address2                          Address3                  Address4             City                  State Zip
SCHULLER, MARIE T           845 CONNECTICUT AVE                                                                                                     MC DONALD              OH 44437‐1820
SCHULLER, MARY B            2463 WILSHIRE DRIVE                                                                                                     CORTLAND               OH 44410‐9226
SCHULLER, MARY B            2463 WILSHIRE RD                                                                                                        CORTLAND               OH 44410‐9226
SCHULLER, MICHELLE L        1241 BRACEVILLE ROBINSON RD                                                                                             SOUTHINGTON            OH 44470
SCHULLER, PETER             7403 CROSS CREEK DR                                                                                                     SWARTZ CREEK           MI 48473‐1708
SCHULLER, RAYMOND R         122 TALAH WAY                                                                                                           LOUDON                 TN 37774‐2565
SCHULLER, ROBERT D          55 W GLASS RD                                                                                                           ORTONVILLE             MI 48462‐8519
SCHULLER, THOMAS N          4058 NEWCASTLE DR APT 1                                                                                                 SYLVANIA               OH 43560‐3451
SCHULLER, WALTER H          3818 E 365TH ST                                                                                                         WILLOUGHBY             OH 44094‐6325
SCHULLER, WILLIAM           569 NOBLE RD W                                                                                                          SHILOH                 OH 44878‐9714
SCHULLER, WILLIAM E         5851 DEERFIELD VILLAGE DR                                                                                               MASON                  OH 45040‐8568
SCHULLER/LIVONIA            17187 N LAUREL PARK DR STE 208                                                                                          LIVONIA                MI 48152‐3972
SCHULLO, DEBORAH K          74 S BALL CREEK RD                                                                                                      KENT CITY              MI 49330‐9435
SCHULLO, DIANE M            12545 WINTER PINES CT                                                                                                   SPARTA                 MI 49345‐8472
SCHULLO, DONALD P           6398 GURD RD                                                                                                            HASTINGS               MI 49058‐8635
SCHULLO, PAUL J             704 17 MILE ROAD NORTHEAST                                                                                              CEDAR SPRINGS          MI 49319‐9334
SCHULLO, TRACEY             704 17 MILE ROAD NORTHEAST                                                                                              CEDAR SPRINGS          MI 49319‐9334
SCHULLS, TODD D             7732 HARBOUR ISLE                                                                                                       INDIANAPOLIS           IN 46240‐3459
SCHULMAN MICHAEL D          21700 OXNARD ST STE 1290                                                                                                WOODLAND HILLS         CA 91367‐7579
SCHULMAN, A INC             3550 W MARKET ST                                                                                                        FAIRLAWN               OH 44333‐2658
SCHULMAN, A INC             790 E TALLMADGE AVE                    PO BOX 1710                                                                      AKRON                  OH 44310‐3564
SCHULMAN, BETTY A           6307 E NORMA LEE ST                                                                                                     WEST BLOOMFIELD        MI 48322‐3222
SCHULMAN, CAROL J           5917 ARCOLA                                                                                                             GARDEN CITY            MI 48135‐2524
SCHULMAN, MITCHELL H        5917 ARCOLA ST                                                                                                          GARDEN CITY            MI 48135‐2524
SCHULMAN, PAULA             17920 TUDOR RD                                                                                                          JAMAICA                NY 11432
SCHULMEISTER, EARLADEEN P   35297 GRAND PRIX DR                                                                                                     STERLING HTS           MI 48312‐4043
SCHULT III, JOHN H          6690 ROWLEY DR                                                                                                          WATERFORD              MI 48329‐2756
SCHULT, DORIS A             1286 MISSION HILLS BLVD                                                                                                 CLEARWATER             FL 33759‐2762
SCHULTA, SHIRLEY M          4001 S 90TH ST                                                                                                          GREENFIELD             WI 53228‐2213
SCHULTE JASON               SCHULTE, JASON                         17295 CHESTERFIELD AIRPORT ROAD
                                                                   SUITE 200 CHESTERFIELD, MO

SCHULTE JASON               SCHULTE, JENNIFER                      17295 CHESTERFIELD AIRPORT ROAD
                                                                   SUITE 200 CHESTERFIELD, MO

SCHULTE JR, HERMAN J        423 ABERDEEN AVE                                                                                                        DAYTON                OH   45419‐3207
SCHULTE JR, KENNETH L       44480 HEYDENREICH RD                                                                                                    CLINTON TWP           MI   48038‐1546
SCHULTE JR, WILLIAM P       28747 SOMERSET PL                                                                                                       LATHRUP VILLAGE       MI   48076‐2655
SCHULTE ROBYN               SCHULTE, ROBYN                         6243 FAIRWAY DR NW                                                               ROCHESTER             MN   55901‐8796
SCHULTE ROTH & ZABEL LLP    919 THIRD AVENUE                                                                                                        NEW YORK              NY   10022
SCHULTE ROTH & ZABEL LLP    ATTY FOR PARNASSUS HOLDINGS II, LLC;   PARTNERS II, LP                   ATTN: DAVID J. KARP AND   919 THIRD AVENUE     NEW YORK              NY   10022
                            PLATINUM EQUITY CAPITAL                                                  ADAM HARRIS, ESQS.
SCHULTE, ALICE              1185 FAIRVIEW ST                                                                                                        WHITE LAKE            MI   48386‐4124
SCHULTE, ANITA J            7 STARR PL                                                                                                              KETTERING             OH   45420‐2931
SCHULTE, ANITA J            7 STARR PL.                                                                                                             KETTERING             OH   45420‐5420
SCHULTE, AVA G              248 BANKS RIDGE RD                                                                                                      TAZEWELL              VA   24651‐8480
SCHULTE, AVA GAIL           248 BANKS RIDGE RD                                                                                                      TAZEWELL              VA   24651‐8480
SCHULTE, BELLA              916 XANADU W                                                                                                            VENICE                FL   34285‐6335
SCHULTE, BERNARD            4813 BYRON DR                                                                                                           VASSAR                MI   48768‐1553
SCHULTE, BETTY              1643 HOMEFIELD MEADOWS DR                                                                                               O FALLON              MO   63366‐4744
SCHULTE, BRIAN J            73 MUSKOKA RD                                                                                                           GROSSE POINTE FARMS   MI   48236‐3009
SCHULTE, BRYAN J            3429 FAULKLAND RD                                                                                                       WILMINGTON            DE   19808‐2361
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Name                    Address1                       Address2            Address3         Address4         City                State Zip
SCHULTE, CARL J         19969 RD 0‐19                                                                        CLOVERDALE           OH 45827
SCHULTE, CARL T         1039 WINDPOINTE WAY                                                                  ENGLEWOOD            OH 45322‐1456
SCHULTE, CARL W         27815 LAUREN ST S                                                                    HARRISON TWP         MI 48045‐6324
SCHULTE, CAROL A        162 CAMEO PT                                                                         SUNRISEBEACH         MO 65079
SCHULTE, CAROL A        162 CAMEO POINT                                                                      SUNRISE BEACH        MO 65079‐5254
SCHULTE, CATHERINE A.   3658 NIMROD RD                                                                       TRAVERSE CITY        MI 49684‐9310
SCHULTE, CECIL A        12079 FIR TREE RD                                                                    POTOSI               MO 63664‐8297
SCHULTE, CHARLENE V     112 KENNETH DR                                                                       TROY                  IL 62294‐1715
SCHULTE, CLARA L        616 NORTH DIAMOND BLVD                                                               LEAD HILL            AR 72644‐9617
SCHULTE, CLARA L        616 N DIAMOND BLVD                                                                   LEAD HILL            AR 72644‐9617
SCHULTE, CLARENCE G     PO BOX 75002                                                                         FAIRBANKS            AK 99707‐5002
SCHULTE, COLEEN M       6774 YORKTOWN PLACE                                                                  TEMPERANCE           MI 48182‐1379
SCHULTE, DALE W         16950 ROAD M                                                                         OTTAWA               OH 45875‐9458
SCHULTE, DALE WILLIAM   16950 ROAD M                                                                         OTTAWA               OH 45875‐9458
SCHULTE, DAVID A        5268 TINSEY RD                                                                       PORT HOPE            MI 48468‐9709
SCHULTE, DAVID K        3472 GINGER CT                                                                       KOKOMO               IN 46901‐6902
SCHULTE, DAVID L        1236 CINCINNATI AVE                                                                  ANDERSON             IN 46016‐1907
SCHULTE, DEBRA J        834 KOLPING AVE                                                                      DAYTON               OH 45410‐3125
SCHULTE, DENIS R        7 STARR PL                                                                           KETTERING            OH 45420‐2931
SCHULTE, DENISE         8401 18 MILE UNIT 18 B                                                               STERLING HTS         MI 48313
SCHULTE, DIANE
SCHULTE, DOLORES T      31665 ECKSTEIN ST                                                                    WARREN              MI   48092‐1667
SCHULTE, DONALD J       4325 PLEASANT BEACH DR NE                                                            BAINBRIDGE ISLAND   WA   98110‐3219
SCHULTE, DORIS M        614 LOVEVILLE RD.              APT CIG                                               HOCKESSIN           DE   19707
SCHULTE, DOROTHY A      2607 WESTERN AVE APT 901                                                             SEATTLE             WA   98121
SCHULTE, EDNA C         4487 S NEW COLUMBUS RD                                                               ANDERSON            IN   46013‐3456
SCHULTE, EDNA C         4487 NEW COLUMBUS                                                                    ANDERSON            IN   46013‐3456
SCHULTE, EDWARD L       105 JESSWOOD LN                                                                      WHITE LAKE          MI   48386‐2130
SCHULTE, ELIZABETH A    6679 RD K‐6                                                                          OTTAWA              OH   45875
SCHULTE, ELIZABETH H    11495 WOODIEBROOK RD                                                                 CHARDON             OH   44024‐8491
SCHULTE, ERIN L         431 W HOLMES RD                                                                      LANSING             MI   48910‐4477
SCHULTE, FREDERICK O    4213 GREGOR ST                                                                       MOUNT MORRIS        MI   48458‐8976
SCHULTE, GARY E         626 WATTLES RD                                                                       BLOOMFIELD HILLS    MI   48304‐3278
SCHULTE, GERALD D       310 N 10TH ST                                                                        BREESE              IL   62230‐1146
SCHULTE, HARRY H        310 THURBER ST                                                                       FENTON              MI   48430‐1904
SCHULTE, HELEN V        3083 CATTAIL CV                                                                      BURLINGTON          KY   41005‐7852
SCHULTE, HELEN V        3083 CATTAIL COVE                                                                    BURLINGTON          KY   41005‐7852
SCHULTE, HENRY C        621 PURVIS RD                                                                        SUNRISE BEACH       MO   65079‐6518
SCHULTE, JAMES C        304 BRAVEHEART DRIVE                                                                 FRANKLIN            TN   37064‐6138
SCHULTE, JAMES R        14475 PECAN HILL CIR                                                                 NOBLE               OK   73068‐5251
SCHULTE, JANET M        51 FRONT STREET                APT 3                                                 OLD TOWN            ME   04468
SCHULTE, JANET M        51 FRONT ST APT 3                                                                    OLD TOWN            ME   04468‐1181
SCHULTE, JEFFREY T      120 LODESTONE DRIVE                                                                  ENGLEWOOD           OH   45322‐1715
SCHULTE, JOHN           105 WESTLAKE CT                                                                      JACKSON             NJ   08527‐5162
SCHULTE, JOHN G         2807 DUNCAN RD                                                                       WILMINGTON          DE   19808‐2316
SCHULTE, JOHN J         15270 ROAD 19                                                                        FORT JENNINGS       OH   45844‐9740
SCHULTE, JOHN J         3315 E 8TH ST                                                                        ANDERSON            IN   46012‐4601
SCHULTE, JOSEPH A       817 WEST 1ST STREET                                                                  MUNCIE              IN   47305‐2279
SCHULTE, JOSEPH F       9 BELMONT CIR                                                                        AVONDALE            PA   19311‐9386
SCHULTE, JOSEPH F       614 LOVEVILLE RD APT C1G                                                             HOCKESSIN           DE   19707‐1606
SCHULTE, JOSEPH F       614 LOVEVILLE RD               APT C1G                                               HOCKEISSIN          DE   19707
SCHULTE, JOSEPH G       36509 LAUREN ST                                                                      NEW BALTIMORE       MI   48047‐5534
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Name                         Address1                      Address2            Address3         Address4         City            State Zip
SCHULTE, JOSEPH R            31711 W CHICAGO ST                                                                  LIVONIA          MI 48150‐2854
SCHULTE, JOSEPH T            185 CANON DR                                                                        SANTA BARBARA    CA 93105‐2661
SCHULTE, KATHLEEN A          4371 PORT AUSTIN RD                                                                 CASEVILLE        MI 48725‐9658
SCHULTE, KEITH F             5386 BRONCO DR                                                                      CLARKSTON        MI 48346‐2608
SCHULTE, LARRY R             13800 W GRAND RIVER HWY                                                             EAGLE            MI 48822‐9601
SCHULTE, LARRY RAYMOND       13800 W GRAND RIVER HWY                                                             EAGLE            MI 48822‐9601
SCHULTE, LEON E              7127 LAKE ST                                                                        LEXINGTON        MI 48450‐8829
SCHULTE, LYLE A              1391 OAK PLAINS RD                                                                  ASHLAND CITY     TN 37015‐9235
SCHULTE, M J                 610 SAN MARINO DR                                                                   SANTA BARBARA    CA 93111‐2620
SCHULTE, MARGARET A          27985 BERKSHIRE DR                                                                  SOUTHFIELD       MI 48076‐4931
SCHULTE, MARIANNA O          PO BOX 2783                                                                         ANDERSON         IN 46018‐2783
SCHULTE, MARION T            3749 SARASOTA BLVD.                                                                 SARASOTA         FL 34238
SCHULTE, MARK A              4657 REMEMBRANCE RD NW                                                              WALKER           MI 49534‐1174
SCHULTE, MARK J              6482 DUTCH RD                                                                       GOODRICH         MI 48438‐9035
SCHULTE, MARVIN G            187 S CHERRY ST                                                                     BREESE            IL 62230‐1810
SCHULTE, MARVIN G            187 SOUTH CHERRY STREET                                                             BREESE            IL 62230‐1810
SCHULTE, MARY F              4213 GREGOR ST                                                                      MOUNT MORRIS     MI 48458‐8976
SCHULTE, MARY JANE           1101 MARS RD                                                                        EDMOND           OK 73003‐6078
SCHULTE, MELBA W             4880 N DEARBORN ST                                                                  INDIANAPOLIS     IN 46205‐1643
SCHULTE, MICHAEL A           710 RUSTIC HILLS CT                                                                 SAINT PETERS     MO 63376‐4706
SCHULTE, MICHAEL J           248 BANKS RIDGE ROAD                                                                TAZEWELL         VA 24651‐8480
SCHULTE, MICHAEL J           9555 SANCTUARY PL                                                                   BRENTWOOD        TN 37027‐8499
SCHULTE, NICHOLAS C          312 N SIXTH ST BOX 147                                                              KALIDA           OH 45853
SCHULTE, NICHOLAS CARL       312 N SIXTH ST BOX 147                                                              KALIDA           OH 45853
SCHULTE, OPAL D              3012 ASHLAND RIDGE RD                                                               KANSAS CITY      MO 64129‐1537
SCHULTE, PAUL L              7946 SOUTH ST                                                                       VICKSBURG        MI 49097‐9312
SCHULTE, RALPH A             73 KIMBERLY LN                                                                      SAINT PETERS     MO 63376‐2112
SCHULTE, RAY W               8008 OLD STATE RD                                                                   BREESE            IL 62230‐3400
SCHULTE, RICHARD A           6277 N 250 W 27                                                                     LA FONTAINE      IN 46940
SCHULTE, RICHARD A.          6277 N 250 W 27                                                                     LA FONTAINE      IN 46940
SCHULTE, RICHARD J           PO BOX 283                                                                          KALIDA           OH 45853‐0283
SCHULTE, ROBERT C            11204 CHARLES ST                                                                    WESTCHESTER       IL 60154‐4114
SCHULTE, ROBERT D            2924 160TH ST                                                                       URBANDALE         IA 50323‐2238
SCHULTE, ROBYN               6243 FAIRWAY DR NW                                                                  ROCHESTER        MN 55901‐8796
SCHULTE, RONALD B            13265 TOWNSHIP ROAD 22K                                                             CLOVERDALE       OH 45827
SCHULTE, RONALD BERNARD      13265 TOWNSHIP ROAD 22K                                                             CLOVERDALE       OH 45827
SCHULTE, ROTH & ZABEL, LLP   ATTN: MARC WEINGARTEN         919 THIRD AVENUE                                      NEW YORK         NY 10022
SCHULTE, SARAH M             3429 FAULKLAND RD                                                                   WILMINGTON       DE 19808‐2361
SCHULTE, SHARON              8117 LIBERTY BLVD                                                                   WESTLAND         MI 48185‐7141
SCHULTE, SHARON              8117 LIBERTY                                                                        WESTLAND         MI 48185‐7141
SCHULTE, SHARON L            7758 CAPRIO DR                                                                      BOYNTON BEACH    FL 33472‐7372
SCHULTE, SHEILA D            4120 211TH CT NE                                                                    SAMMAMISH        WA 98074‐6021
SCHULTE, SHIRLEY A           951 VERNACI LN                                                                      PACIFIC          MO 63069‐1063
SCHULTE, SHIRLEY A           951 VERNACI LANE                                                                    PACIFIC          MO 63069‐1063
SCHULTE, THOMAS F            13810 PERNELL DR                                                                    STERLING HTS     MI 48313‐4248
SCHULTE, THOMAS G            5224 SHORELINE BLVD                                                                 WATERFORD        MI 48329
SCHULTE, WILLIAM F           105 MAPLE LEAF DR                                                                   OTTAWA           OH 45875‐9327
SCHULTE‐HORDELHOFF, URSULA   13423 MORSE RD SW                                                                   PATASKALA        OH 43062‐9319
SCHULTEN, HENRY E            PO BOX 376                                                                          OLCOTT           NY 14126‐0376
SCHULTER, JANICE E           30725 NORMAL ST                                                                     ROSEVILLE        MI 48066‐1608
SCHULTES, PAUL V             29467 TROPEA DR                                                                     WARREN           MI 48092‐3322
SCHULTETUS, ELIZABETH A      205 FRANCIS RD                                                                      DECATUR           IL 62522‐9541
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Name                                    Address1                          Address2                      Address3    Address4         City                 State Zip
SCHULTHEIS ALLEN L (625304)             ANGELOS PETER G                   100 N CHARLES STREET , ONE                                 BALTIMORE             MD 21201
                                                                          CHARLES CENTER
SCHULTHEIS DANIEL                       451 WINWARD LN                                                                               BRUNSWICK            OH 44212‐6249
SCHULTHEIS SHARON                       SCHULTHEIS, SHARON                4915 GUARDIAN AVE                                          HOLIDAY              FL 34690‐5829
SCHULTHEIS, ALLEN L                     ANGELOS PETER G                   100 N CHARLES STREET, ONE                                  BALTIMORE            MD 21201
                                                                          CHARLES CENTER
SCHULTHEIS, DANIEL A                    451 WINWARD LANE                                                                             BRUNSWICK            OH   44212‐6249
SCHULTHEIS, DANIEL A                    451 WINWARD LN                                                                               BRUNSWICK            OH   44212‐6249
SCHULTHEIS, FAY A                       7122 ABBEY LN                                                                                SWARTZ CREEK         MI   48473‐1567
SCHULTHEIS, GARY E                      4499 EASTWOOD DR                                                                             SWARTZ CREEK         MI   48473‐8802
SCHULTHEIS, GARY EDGAR                  4499 EASTWOOD DR                                                                             SWARTZ CREEK         MI   48473‐8802
SCHULTHEIS, SHARON                      4915 GUARDIAN AVE                                                                            HOLIDAY              FL   34690‐5829
SCHULTHEIS, STEPHEN R                   117 S SEMINARY ST                                                                            PARIS                MO   65275‐1261
SCHULTHEISS, GARY L                     4915 SCHNEIDER ST                                                                            SAGINAW              MI   48638‐4509
SCHULTHEISS, ROBERT L                   WISE & JULIAN                     156 N MAIN ST STOP 1                                       EDWARDSVILLE         IL   62025‐1972
SCHULTHEISS, ROSE M                     9027 DE VICENZO CT                                                                           DESERT HOT SPRINGS   CA   92240‐1134
SCHULTHEISS, WILLIAM                    5300 HAMPSTEAD WAY                                                                           DULUTH               GA   30097‐1794
SCHULTHIES, HALENE                      16431 LAKE ST RR#2                                                                           WHITE PIGEON         MI   49099
SCHULTHIES, TROY D                      1511 FIELDSTONE DR                                                                           FORT WAYNE           IN   46815‐7593
SCHULTS, PAUL                           SIMON EDDINS & GREENSTONE         3232 MCKINNEY AVENUE          SUITE 610                    DALLAS               TX   75204‐8583
SCHULTS, TODD                           134 N GREEN ST                                                                               WICHITA              KS   67214‐4548
SCHULTZ ALFRED                          17319 E CORAL RD                                                                             UNION                IL   60180‐9667
SCHULTZ CALVIN A (429772)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA   23510
                                                                          STREET, SUITE 600
SCHULTZ CARROLL G (477267)              ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                 BALTIMORE            MD 21202
                                                                          CHARLES CENTER 22ND FLOOR
SCHULTZ CHARLES (358815)                ANGELOS PETER G                   100 N CHARLES STREET , ONE                                 BALTIMORE            MD 21201
                                                                          CHARLES CENTER
SCHULTZ CHARLES W (331719)              ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                 BALTIMORE            MD 21202
                                                                          CHARLES CENTER 22ND FLOOR
SCHULTZ CONRAD                          24320 CAMBRIDGE ST                                                                           WOODHAVEN            MI 48183‐3715
SCHULTZ DEBORAH                         SCHULTZ, DEBORAH                  30 E BUTLER AVE                                            AMBLER               PA 19002‐4514
SCHULTZ DENNIS P (475929)               ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                 BALTIMORE            MD 21202
                                                                          CHARLES CENTER 22ND FLOOR
SCHULTZ FRANK (459321)                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510
                                                                          STREET, SUITE 600
SCHULTZ FREDERICK MARTIN (ESTATE OF)    PROVOST & UMPHREY                 PO BOX 4905                                                BEAUMONT             TX   77704‐4905
(508502)
SCHULTZ GARRY                           51645 TIMBERLINE TRCE E                                                                      GRANGER              IN 46530‐9133
SCHULTZ GEORGE & ANNA                   125 RAILROAD AVE                                                                             NORWOOD              NJ 07648‐1840
SCHULTZ GERALD J (630133)               ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                 BALTIMORE            MD 21202
                                                                          CHARLES CENTER 22ND FLOOR
SCHULTZ GERRY                           SCHULTZ, GERRY                    403 RHODE ISLAND ROAD                                      BROWN MILLS          NJ 08015‐5407
SCHULTZ GLADYS M                        6095 KETCHUM AVE                                                                             NEWFANE              NY 14108‐1112
SCHULTZ HAROLD L (ESTATE OF) (482005)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510
                                                                          STREET, SUITE 600
SCHULTZ HERMAN H (484559)               PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                     PHILADELPHIA         PA 19103‐5446
SCHULTZ HERMAN HENRY (403897)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510
                                                                          STREET, SUITE 600
SCHULTZ I I I, ARTHUR D                 10177 HAWTHORNE RIDGE RD                                                                     GOODRICH             MI 48438‐9061
SCHULTZ I I, ROBERT C                   4681 STEPHANIE ST                                                                            AUBURN               MI 48611‐9219
SCHULTZ III, ARTHUR D                   10177 HAWTHORNE RIDGE RD                                                                     GOODRICH             MI 48438‐9061
                                       09-50026-mg               Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                                   Address1                          Address2                          Address3      Address4         City              State Zip
SCHULTZ JANICE                         SCHULTZ, JANICE                   STATE FARM INSURANCE CO           PO BOX 3020                    NEWARK             OH 43058‐4670
SCHULTZ JR, ARTHUR J                   414 HIGH ST                                                                                        LOCKPORT           NY 14094‐4714
SCHULTZ JR, ARTHUR JOSEPH              414 HIGH ST                                                                                        LOCKPORT           NY 14094‐4714
SCHULTZ JR, CHARLES H                  6426 ROBINDALE AVE                                                                                 DEARBORN HTS       MI 48127‐2135
SCHULTZ JR, ELBEN F                    2216 HOLLY TREE DR                                                                                 DAVISON            MI 48423‐2067
SCHULTZ JR, FRED J                     10108 MUNICH DR                                                                                    PARMA              OH 44130‐7511
SCHULTZ JR, FREDERICK H                5632 E STATION RD                                                                                  ROANOKE            IN 46783‐9166
SCHULTZ JR, FREDERICK J                45741 SHASTA LN                                                                                    TEMECULA           CA 92592‐1383
SCHULTZ JR, GEORGE J                   17 BROOK FARM CT UNIT B                                                                            PERRY HALL         MD 21128‐9084
SCHULTZ JR, GERALD E                   2191 ORION RD                                                                                      OAKLAND            MI 48363‐1950
SCHULTZ JR, HAROLD E                   18314 BLUE HERON DR W                                                                              NORTHVILLE         MI 48168‐9236
SCHULTZ JR, HAROLD EDWARD              18314 BLUE HERON DR W                                                                              NORTHVILLE         MI 48168‐9236
SCHULTZ JR, JEROME J                   290 S BURKHART RD                                                                                  HOWELL             MI 48843‐9620
SCHULTZ JR, JOHN W                     2079 MAPLERIDGE RD                                                                                 ROCHESTER HILLS    MI 48309‐4503
SCHULTZ JR, LUTHER B                   4682 CLINTON DR                                                                                    CLARKSTON          MI 48346‐3801
SCHULTZ JR, NORBERT A                  270 LONGPOINTE CT                                                                                  VERO BEACH         FL 32966‐7115
SCHULTZ JR, RALPH J                    1248 CREIGHTON AVE                                                                                 DAYTON             OH 45420‐5420
SCHULTZ JR, RAYMOND J                  26628 W BENES RD                                                                                   ANTIOCH             IL 60002‐7002
SCHULTZ JR, ROBERT D                   3307 VERA CRUZ DR                                                                                  SAN RAMON          CA 94583‐2622
SCHULTZ JR, ROBERT J                   5466 GUYETTE ST                                                                                    CLARKSTON          MI 48346‐3523
SCHULTZ JR, ROBERT M                   2114 49TH AVE E                                                                                    BRADENTON          FL 34203‐3782
SCHULTZ JR, STANLEY J                  5091 CLYDESDALE LN                                                                                 SAGINAW            MI 48603‐2817
SCHULTZ JULIUS L (503502)              WEITZ & LUXENBERG                 180 MAIDEN LANE                                                  NEW YORK           NY 10038
SCHULTZ KENNETH M                      4360 BARTON RD                                                                                     LANSING            MI 48917‐1656
SCHULTZ LEONARD                        125 NIZOHNI LOOP                                                                                   SILVER CITY        NM 88061
SCHULTZ LILA                           APT 5108                          6401 OHIO DRIVE                                                  PLANO              TX 75024‐6724
SCHULTZ LINDA                          SCHULTZ, LINDA                    P.O. BOX 209                                                     LOMIRA             WI 53048
SCHULTZ MARION (447567)                BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
SCHULTZ MOTORS                         3735 US ROUTE 127                                                                                  GREENVILLE        OH 45331‐8704
SCHULTZ NANCY                          SCHULTZ, NANCY                    5901 CEDAR LAKE RD S                                             MINNEAPOLIS       MN 55416‐1488
SCHULTZ PAUL (640783)                  MORGAN & MORGAN PA                76 SOUTH LAURA STREET SUITE 110                                  JACKSONVILLE      FL 32202

SCHULTZ ROBERT                         5309 COLLINS                                                                                       UTICA             MI   48317
SCHULTZ SR, EDWARD J                   1011 GERMANIA ST                                                                                   BAY CITY          MI   48706‐5284
SCHULTZ SR, WILLIAM E                  2333 BROKER RD                                                                                     LAPEER            MI   48446‐9463
SCHULTZ STANLEY T (429773)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA   23510
                                                                         STREET, SUITE 600
SCHULTZ THOMAS O                       SCHULTZ LAW OFFICE                414 E WALNUT ST STE 261                                          GREEN BAY         WI   54301‐5017
SCHULTZ TIMOTHY                        6158 S ROBERT AVE                                                                                  CUDAHY            WI   53110‐2937
SCHULTZ TODD                           SCHULTZ, TODD                     P O BOX 201                                                      WHITEWATER        KS   67154
SCHULTZ WAYNE                          SCHULTZS AUTO SALVAGE             10101 BELSAY RD                                                  MILLINGTON        MI   48746‐9753
SCHULTZ WAYNE (650547)                 ZAMLER, MELLEN & SHIFFMAN         23077 GREENFIELD RD STE 557                                      SOUTHFIELD        MI   48075‐3727
SCHULTZ WILLIAM M (429774)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA   23510
                                                                         STREET, SUITE 600
SCHULTZ'S VESTAL SERVICE CENTER INC.   320 FRONT ST                                                                                       VESTAL            NY 13850‐1516

SCHULTZ, AGNES                         4255 SOUTH LYNN STREET                                                                             ONAWAY            MI   49765
SCHULTZ, AGNES H                       205 WAVERLY HALL PL                                                                                ROSWELL           GA   30075‐2116
SCHULTZ, ALAN C                        4616 HALEY LN                                                                                      COLUMBIA          TN   38401‐8417
SCHULTZ, ALFRED                        5849 STATE ROUTE 87                                                                                KINSMAN           OH   44428‐9773
SCHULTZ, ALFRED B                      918 BLAKE DR                                                                                       MAYS LANDING      NJ   08330‐1464
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Name                     Address1                            Address2                      Address3   Address4         City              State Zip
SCHULTZ, ALICE           2998 LAMPLIGHTER DRIVE                                                                        SARASOTA           FL 34234
SCHULTZ, ALICE A         401 N CHURCH ST                                                                               HERTFORD           NC 27944‐1109
SCHULTZ, ALICE A         401 NORTH CHURCH STREET                                                                       HERTFORD           NC 27944‐1109
SCHULTZ, ALICE F         4683 COUNTRY WAY WEST               LAWNDALE ESTATES                                          SAGINAW            MI 48603‐1079
SCHULTZ, ALLAN C         3926 LOCKPORT OLCOTT RD LOT 113                                                               LOCKPORT           NY 14094‐1186
SCHULTZ, ALLEN           4577 SUNSET DR                                                                                POTTERVILLE        MI 48876‐8613
SCHULTZ, ALLEN H         4289 BURCH RD                                                                                 RANSOMVILLE        NY 14131‐9702
SCHULTZ, ALOIS J         3009 LUELLA LN                                                                                SPRINGPORT         MI 49284‐9312
SCHULTZ, ANGELENE B      624 PURITAN DR                                                                                SAGINAW            MI 48638‐7145
SCHULTZ, ANITA E         3863 MCDIVITT DR                                                                              WEST BLOOMFIELD    MI 48323‐1629
SCHULTZ, ANN M           1107 PARKLEIGH DR                                                                             PARMA              OH 44134‐3145
SCHULTZ, ANNA C          519 PARK AVE APT Q                                                                            SCOTCH PLAINS      NJ 07076‐1747
SCHULTZ, ANNE F          PO BOX 4792                                                                                   DEERFIELD BEACH    FL 33442‐4792
SCHULTZ, ANNE M          99 WOODCREST DR NW                                                                            GRAND RAPIDS       MI 49504‐6037
SCHULTZ, ARLENE M        1205 MAPLE ST                                                                                 REEDSBURG          WI 53959‐2000
SCHULTZ, ARTHUR J        719 GARDENWOOD DR                                                                             LOCKPORT           NY 14094‐6379
SCHULTZ, AUDREY J        6034 BEACH RD                                                                                 ROGERS CITY        MI 49779‐9507
SCHULTZ, AUDREY L        300 JOHNSON FERRY RD NE UNIT A305                                                             ATLANTA            GA 30328‐4187
SCHULTZ, AVINELLE B      203 WEST CIRCLE DR                                                                            W CARROLLTON       OH 45449‐1110
SCHULTZ, AVINELLE B      203 W CIRCLE DR                                                                               W CARROLLTON       OH 45449‐1110
SCHULTZ, BARBARA         1205 LAVELY RD                                                                                HARRISON           MI 48625
SCHULTZ, BARBARA         35157 CENTER RIDGE RD LT 112                                                                  N. RIDGEVILLE      OH 44039
SCHULTZ, BERNARD J       126 NE 31ST AVE                                                                               OCALA              FL 34470‐1211
SCHULTZ, BERNICE B       10032 NATHALINE                                                                               REDFORD            MI 48239‐2287
SCHULTZ, BETTY JEAN      110 WILLOW DR                                                                                 GREENVILLE         OH 45331‐2800
SCHULTZ, BEVERLY C       3260 AWALT RD                                                                                 TULLAHOMA          TN 37388‐6431
SCHULTZ, BEVERLY CAROL   3260 AWALT ROAD                                                                               TULLAHOMA          TN 37388‐6431
SCHULTZ, BOBBY           6442 PEYTONSVILLE ARNO RD                                                                     COLLEGE GROVE      TN 37046‐9133
SCHULTZ, BRADY R         2125 N CITY RD E                                                                              JANESVILLE         WI 53548
SCHULTZ, BRENT K         700 S COMSTOCK ST                                                                             CORUNNA            MI 48817‐1732
SCHULTZ, BRIAN L         2125 N COUNTY RD E                                                                            JANESVILLE         WI 53548‐0184
SCHULTZ, BRIAN L         2125 N CTY TRK E                                                                              JANESVILLE         WI 53545
SCHULTZ, BRYAN C         1615 HAMILTON AVE                                                                             JANESVILLE         WI 53548‐6615
SCHULTZ, CALVIN A        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
SCHULTZ, CALVIN H        PO BOX 77                                                                                     SILVERWOOD        MI   48760‐0077
SCHULTZ, CALVIN R        4745 CHESTNUT RD                                                                              NEWFANE           NY   14108‐9635
SCHULTZ, CARL H          2390 WYLAND AVE                     C/O LINDA K SCHULTZ                                       ALLISON PARK      PA   15101‐3437
SCHULTZ, CARL J          PO BOX 451                                                                                    NAPOLEON          MI   49261‐0451
SCHULTZ, CARL J          N9454 LEGLER RD                                                                               BROOKLYN          WI   53521‐9713
SCHULTZ, CARL J          2674 BASS WOOD LN                                                                             WIXOM             MI   48393‐4305
SCHULTZ, CARL P          842 COLONIAL CT                                                                               WATERVILLE        OH   43566‐1203
SCHULTZ, CARL PAUL       842 COLONIAL CT                                                                               WATERVILLE        OH   43566‐1203
SCHULTZ, CAROL A         2206 LIMA VALLEY DR                                                                           FORT WAYNE        IN   46818‐1880
SCHULTZ, CAROLYN M       5011 NORTH PRESSLER DRIVE                                                                     BAY CITY          MI   48706‐3211
SCHULTZ, CARROLL G       ANGELOS PETER G LAW OFFICES OF      100 N CHARLES STREET, ONE                                 BALTIMORE         MD   21202
                                                             CHARLES CENTER 22ND FLOOR
SCHULTZ, CATHERINE M     1734 POPLAR STREET                                                                            ANDERSON          IN 46012‐2437
SCHULTZ, CATHERINE M     1734 POPLAR ST                                                                                ANDERSON          IN 46012‐2437
SCHULTZ, CHARLES         ANGELOS PETER G                     100 N CHARLES STREET, ONE                                 BALTIMORE         MD 21201
                                                             CHARLES CENTER
SCHULTZ, CHARLES         PORTER & MALOUF PA                  4670 MCWILLIE DR                                          JACKSON           MS 39206‐5621
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Name                     Address1                         Address2                    Address3   Address4         City             State Zip
SCHULTZ, CHARLES A       6116 GODFREY RD                                                                          BURT              NY 14028‐9756
SCHULTZ, CHARLES A       937 RENFREW ST                                                                           BALTIMORE         MD 21221‐5209
SCHULTZ, CHARLES D       7911 RENWOOD DR                                                                          PARMA             OH 44129‐4462
SCHULTZ, CHARLES D       4311 PENNSWOOD DR                                                                        MIDDLETOWN        OH 45042‐2931
SCHULTZ, CHARLES E       6600 WASHBURN RD                                                                         VASSAR            MI 48768‐9532
SCHULTZ, CHARLES J       2015 N MCCORD RD APT 109                                                                 TOLEDO            OH 43615‐3070
SCHULTZ, CHARLES J       218 W WOODSIDE TER                                                                       HOLLAND           OH 43528‐8118
SCHULTZ, CHARLES W       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE         MD 21202
                                                          CHARLES CENTER 22ND FLOOR
SCHULTZ, CHARLOTTE       2902 CEDARCREST AVE                                                                      EDGEMERE         MD   21219‐1203
SCHULTZ, CHESTER L       2701 MIX ST                                                                              BAY CITY         MI   48708‐8682
SCHULTZ, CHRIS A         510 W MAIN ST                                                                            DEWITT           MI   48820‐9501
SCHULTZ, CHRIS ALLEN     510 W MAIN ST                                                                            DEWITT           MI   48820‐9501
SCHULTZ, CHRISTOPHER J   2624 LYNCH                                                                               HIGHLAND         MI   48357‐3210
SCHULTZ, CLARENCE D      4399 DUNDAS RD                                                                           BEAVERTON        MI   48612‐9152
SCHULTZ, CLAUDE A        8084 OREILLY CIR                                                                         DAVISON          MI   48423‐9506
SCHULTZ, COLLIN C        881 PLATINUM DR                                                                          FORT MILL        SC   29708‐8933
SCHULTZ, CONRAD R        24320 CAMBRIDGE ST                                                                       WOODHAVEN        MI   48183‐3715
SCHULTZ, CONSTANCE M     4289 BURCH RD                                                                            RANSOMVILLE      NY   14131‐9702
SCHULTZ, CORNELL R       185 HOWARD ST                                                                            BUFFALO          NY   14206‐1631
SCHULTZ, CYNTHIA
SCHULTZ, CYNTHIA M       7345 W 56TH ST                                                                           SUMMIT           IL   60501‐1335
SCHULTZ, D M             404 N PINE ISLAND DR                                                                     PAYSON           AZ   85541‐4196
SCHULTZ, DALE A          3229 ROYAL RD                                                                            JANESVILLE       WI   53546‐2217
SCHULTZ, DALE A          4123 COBBLESTONE LN                                                                      JANESVILLE       WI   53546‐3431
SCHULTZ, DALE F          3652 EWINGS RD                                                                           LOCKPORT         NY   14094‐1029
SCHULTZ, DALE S          PO BOX 1273                                                                              JANESVILLE       WI   53547‐1273
SCHULTZ, DALLAS K        12000 OLD HAMBURG RD                                                                     WHITMORE LAKE    MI   48189‐9732
SCHULTZ, DANIEL E        137 S TECUMSEH RD APT 1                                                                  SPRINGFIELD      OH   45506‐4213
SCHULTZ, DANIEL L        107 DIETTERICK RD                                                                        ORANGEVILLE      PA   17859‐9009
SCHULTZ, DANNY R         1437 ZUIDER RD 304                                                                       HOLT             MI   48842
SCHULTZ, DARRELL L       2100 KINGS HWY LOT 612                                                                   PORT CHARLOTTE   FL   33980‐4240
SCHULTZ, DARRELL M       860 N STEWART RD                                                                         CHARLOTTE        MI   48813‐8311
SCHULTZ, DAVID A         PO BOX 90684                                                                             BURTON           MI   48509‐0684
SCHULTZ, DAVID A         11015 LAKE AVE                                                                           RAPID CITY       MI   49676‐9391
SCHULTZ, DAVID B         11 DARIEN CT                                                                             YARDVILLE        NJ   08620‐1005
SCHULTZ, DAVID C         185 DORIAN LN                                                                            ROCHESTER        NY   14626‐1907
SCHULTZ, DAVID C         6690 E COOMBS RD                                                                         LAKE CITY        MI   49651‐8578
SCHULTZ, DAVID H         13930 JANWOOD LN                                                                         DALLAS           TX   75234‐3634
SCHULTZ, DAVID W         1401 N MONROE ST                                                                         HARTFORD CITY    IN   47348‐1433
SCHULTZ, DEBORAH J       1330 SE 21ST AVE                                                                         CAPE CORAL       FL   33990‐1978
SCHULTZ, DELMA           3620 S VASSAR RD                                                                         VASSAR           MI   48768
SCHULTZ, DELORES E       6267 US HIGHWAY 223                                                                      ADDISON          MI   49220‐9553
SCHULTZ, DELPHINE L      1252 THRISTLE RIDGE DR                                                                   HOLLY            MI   48442
SCHULTZ, DENINE          3067 S AVONDALE AVE                                                                      NAMPA            ID   83686‐3001
SCHULTZ, DENNIS C        6121 KETCHUM AVE                                                                         NEWFANE          NY   14108‐1115
SCHULTZ, DENNIS G        39666 KOPPERNICK RD                                                                      CANTON           MI   48187‐4258
SCHULTZ, DENNIS P        ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE        MD   21202
                                                          CHARLES CENTER 22ND FLOOR
SCHULTZ, DENNIS R        35 SOUTH ST                                                                              BERLIN HEIGHTS   OH 44814‐9608
SCHULTZ, DIANE S         2541 MAIN ST                                                                             NEWFANE          NY 14108‐1043
SCHULTZ, DOLORES         24805 SAXONY AVE                                                                         EAST DETROIT     MI 48021‐1254
                            09-50026-mg              Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                       Address1                          Address2                        Address3   Address4         City            State Zip
SCHULTZ, DON H             29707 OHMER DR                                                                                WARREN           MI 48092‐3375
SCHULTZ, DON H.            29707 OHMER DR                                                                                WARREN           MI 48092‐3375
SCHULTZ, DONALD A          12730 N STAR DR                                                                               N ROYALTON       OH 44133‐5945
SCHULTZ, DONALD B          18248 WHITNEY RD                                                                              STRONGSVILLE     OH 44149‐1405
SCHULTZ, DONALD D          1116 HARMONY CIR NE                                                                           JANESVILLE       WI 53545‐2006
SCHULTZ, DONALD E          2550 CANOE CIRCLE DR                                                                          LAKE ORION       MI 48360‐1885
SCHULTZ, DONALD F          21 HEMLOCK RD                                                                                 ASHEVILLE        NC 28803‐3046
SCHULTZ, DONALD R          111 CENTRALIA PL NE                                                                           POPLAR GROVE      IL 61065‐8726
SCHULTZ, DONNA JEAN        1779 IRONWOOD DR                                                                              ESSEXVILLE       MI 48732‐9401
SCHULTZ, DOREEN J          1126 S 70TH ST STE S106           SUPPORTIVE COMMUNITY SERVICES                               WEST ALLIS       WI 53214‐3159

SCHULTZ, DOREEN S          204 S MAIN ST                                                                                 CLARKSVILLE     MI   48815‐9762
SCHULTZ, DORIS L           6018 E ADOBE RD                                                                               MESA            AZ   85205‐5923
SCHULTZ, DOROTHY           865 N SCHEURMANN RD APT 109                                                                   ESSEXVILLE      MI   48732‐2222
SCHULTZ, DOROTHY           865 N. SCHEURMANN RD.             APT. 109                                                    ESSEXVILLE      MI   48732
SCHULTZ, DOROTHY A         445 E PROSPECT ST                                                                             GIRARD          OH   44420‐2637
SCHULTZ, DOROTHY A         445 E. PROSPECT STREET                                                                        GIRARD          OH   44420‐2637
SCHULTZ, DOROTHY E         157 ROBIN LANE                                                                                SHAWANO         WI   54166
SCHULTZ, DOROTHY H         N 67 W 22208 SILVERLEAF DR        LOT G‐2                                                     SUSSEX          WI   53089
SCHULTZ, DOUGLAS A         820 S LAFAYETTE ST                                                                            DEARBORN        MI   48124‐1595
SCHULTZ, DOUGLAS B         W7833 TIMBER TRL                                                                              WHITEWATER      WI   53190‐4447
SCHULTZ, DOUGLAS M         10 SHAEFFER ST                                                                                LOCKPORT        NY   14094‐2521
SCHULTZ, DUANE W           8961 S RAUCHOLZ RD                                                                            SAINT CHARLES   MI   48655‐9744
SCHULTZ, EARL R            7111 W WELLS ST                                                                               WAUWATOSA       WI   53213‐3718
SCHULTZ, EDISON F          N15085 COUNTY ROAD 553                                                                        WILSON          MI   49896‐9718
SCHULTZ, EDWARD C          1705 AUBURN LAKES DR                                                                          SHOREWOOD       IL   60404‐5320
SCHULTZ, EDWARD L          3876 WEDGEFIELD CT                                                                            MIAMISBURG      OH   45342‐6725
SCHULTZ, EDWARD W          15450 18 MILE RD.                 APT C 316                                                   CLINTON TWP     MI   48038
SCHULTZ, EILEEN            557 MCHENRY RD APT 311                                                                        WHEELING        IL   60090‐9208
SCHULTZ, EILEEN A          406 LAUREL ST                                                                                 YOUNGSTOWN      OH   44505‐1928
SCHULTZ, ELAINE E          2302 MERGANSER DR                                                                             KALISPELL       MT   59901‐8968
SCHULTZ, ELANE P           PO BOX 117                                                                                    GENESEE         MI   48437‐0117
SCHULTZ, ELEANOR M         816 FISHER RD                                                                                 BUFFALO         NY   14224‐3349
SCHULTZ, ELEANOR M         816 FISHER ROAD                                                                               W.SENECA        NY   14224‐3349
SCHULTZ, ELLA M            500 DOUGLAS AVE W                                                                             NICHOLLS        GA   31554‐4514
SCHULTZ, ELMER G           4436 PEET ST                                                                                  MIDDLEPORT      NY   14105‐9641
SCHULTZ, ELSIE             2625 BEECHWOOD                                                                                SAGINAW         MI   48601‐7402
SCHULTZ, ERMA A            1116 HARMONY CIRCLE N.E.                                                                      JANESVILLE      WI   53545
SCHULTZ, ERNEST A          185 CHURCH ST                                                                                 ROMEO           MI   48065‐4608
SCHULTZ, ERNEST E          7318 KRUSE RD                                                                                 PETERSBURG      MI   49270‐9729
SCHULTZ, ESTHER E.         3701 PALMER ST                                                                                LANSING         MI   48910‐0419
SCHULTZ, ESTHER L          2928 90TH ST                                                                                  STURTEVANT      WI   53177
SCHULTZ, EVELYN L          5625 COMSTOCK AVE                                                                             KALAMAZOO       MI   49048‐3455
SCHULTZ, EVELYN M          7488 RIVER COUNTRY DR                                                                         WEEKI WACHEE    FL   34607‐2047
SCHULTZ, EVERETT W         3844 MAPLETON RD                                                                              N TONAWANDA     NY   14120‐9509
SCHULTZ, EVERETT WILLIAM   3844 MAPLETON RD                                                                              N TONAWANDA     NY   14120‐9509
SCHULTZ, FERN C            4682 CLINTON DRIVE                                                                            CLARKSTON       MI   48346‐3801
SCHULTZ, FLORENCE M        1163 W JULIAH AVE                                                                             FLINT           MI   48505‐1407
SCHULTZ, FLOYD W           APT 17                            1601 NORTH RANDALL AVENUE                                   JANESVILLE      WI   53545‐1138
SCHULTZ, FRANCES L         116 GILBERT ST                                                                                NORTH VERNON    IN   47265‐2052
SCHULTZ, FRANCES M         16 W. 781 WHITE PINES                                                                         BENSENVILLE     IL   60106
SCHULTZ, FRANCIS A         26620 BURG APT 324‐C                                                                          WARREN          MI   48089
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Name                        Address1                          Address2                      Address3   Address4         City            State Zip
SCHULTZ, FRANCIS I          1673 S PIONEER RD                                                                           BEULAH           MI 49617‐9765
SCHULTZ, FRANK              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                              STREET, SUITE 600
SCHULTZ, FRANK A            N15085 COUNTY ROAD 553                                                                      WILSON          MI   49896‐9718
SCHULTZ, FRANK J            3745 NW 9TH ST                                                                              DELRAY BEACH    FL   33445‐1911
SCHULTZ, FRANK T            1172 INDIAN CHURCH RD APT 14                                                                WEST SENECA     NY   14224‐1338
SCHULTZ, FREDERICH H        630 N SAN MARCOS RD                                                                         SANTA BARBARA   CA   93111‐1529
SCHULTZ, FREDERICK MARTIN   PROVOST & UMPHREY                 PO BOX 4905                                               BEAUMONT        TX   77704‐4905
SCHULTZ, FREDRICK D         3003 WHISPER FERN STREET                                                                    SAN ANTONIO     TX   78230‐3541
SCHULTZ, G A                1889 SPRING GROVE RD                                                                        BLOOMFIELD      MI   48304‐1159
SCHULTZ, G L                5 CROSS BOW DR                                                                              ROCHESTER       NY   14624‐4709
SCHULTZ, GARY C             441 N MARIAS AVE                                                                            CLAWSON         MI   48017‐1481
SCHULTZ, GARY C             3252 COLUMBINE DR                                                                           SAGINAW         MI   48603‐1924
SCHULTZ, GARY L             1517 S ORCHARD ST                                                                           JANESVILLE      WI   53546‐5466
SCHULTZ, GARY R             3138 W TINA LN                                                                              PHOENIX         AZ   85027‐1674
SCHULTZ, GARY W             27 GREENVIEW DR                                                                             DEFIANCE        MO   63341‐1322
SCHULTZ, GEORGE E           6631 SNEAD CR                                                                               SPRING GREEN    WI   53588
SCHULTZ, GEORGE S           8117 SPIETH RD                                                                              LITCHFIELD      OH   44253‐9138
SCHULTZ, GEORGEANNE         11129 LEO COLLINS DR                                                                        EL PASO         TX   79936‐4630
SCHULTZ, GEORGIANNA D       1520 THUNDERBIRD DR                                                                         SAGINAW         MI   48609‐4241
SCHULTZ, GERALD A           530 ADAMS ST                                                                                OWOSSO          MI   48867‐2242
SCHULTZ, GERALD A           7314 CARLISLE HWY                                                                           VERMONTVILLE    MI   49096‐8555
SCHULTZ, GERALD G           4002 MARSHALL RD                                                                            DREXEL HILL     PA   19026‐3412
SCHULTZ, GERALD H           4115 MILLER RD                                                                              STERLING        MI   48659‐9445
SCHULTZ, GERALD J           ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                 BALTIMORE       MD   21202
                                                              CHARLES CENTER 22ND FLOOR
SCHULTZ, GERDA E            408 AURORA DR                                                                               BRICK           NJ   08723‐5006
SCHULTZ, GERDA E            408 AURORA DRIVE                                                                            BRICK           NJ   08723‐5006
SCHULTZ, GERRY              403 RHODE ISLAND RD                                                                         BROWNS MILLS    NJ   08015‐5407
SCHULTZ, GERRY A            1253 E COUNTY ROAD 600 N                                                                    BRAZIL          IN   47834‐8246
SCHULTZ, GERTRUDE           14956 RICHFIELD ST                                                                          LIVONIA         MI   48154‐4857
SCHULTZ, GLADYS M           6095 KETCHUM AVE                                                                            NEWFANE         NY   14108‐1112
SCHULTZ, GLENN A            43 MECHANIC ST                                                                              OXFORD          MI   48371‐4952
SCHULTZ, GLORIS V.          541 DORCHESTER DR                                                                           DIMONDALE       MI   48821‐8704
SCHULTZ, GORDON A           8560 BLUMKE RD                                                                              ALANSON         MI   49706‐9405
SCHULTZ, GORDON L           16250 WORDEN RD                                                                             HOLLY           MI   48442‐9783
SCHULTZ, GRACE S            308 MICHAEL RD                                                                              ORCHARD PARK    NY   14127‐1206
SCHULTZ, GREG
SCHULTZ, GREGORY P          10380 HIGH FALLS CIRCLE                                                                     ALPHARETTA      GA   30022‐8438
SCHULTZ, GREGORY V          126 E 4TH ST                                                                                ONSTED          MI   49265‐9655
SCHULTZ, H                  2112 BROOKSHIRE ST                                                                          ARLINGTON       TX   76010‐3127
SCHULTZ, H K                2112 BROOKSHIRE ST                                                                          ARLINGTON       TX   76010‐3127
SCHULTZ, HAROLD D           266 N 7 MILE RD                                                                             MIDLAND         MI   48640‐9049
SCHULTZ, HAROLD LEE         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                              STREET, SUITE 600
SCHULTZ, HARRY C            21216 CALEDONIA AVE                                                                         HAZEL PARK      MI   48030‐2255
SCHULTZ, HARRY M            2187 N US 23                                                                                EAST TAWAS      MI   48730‐9554
SCHULTZ, HARRY W            6617 INVERARY LN                  TIMBER PINES                                              SPRING HILL     FL   34606‐3329
SCHULTZ, HARVEY A           9163 MICHIGAN AVE                                                                           SAINT HELEN     MI   48656‐9716
SCHULTZ, HELEN A            12620 MELROSE AVE.                                                                          LAINGSBURG      MI   48848‐9766
SCHULTZ, HELEN C            PO BOX 1026                                                                                 GARDEN CITY     MI   48136‐1026
SCHULTZ, HELEN M            91 STONEHENGE DR.                                                                           DALLAS          GA   30157
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Name                    Address1                       Address2                      Address3   Address4         City              State Zip
SCHULTZ, HENRY E        864 DELRAY DR                                                                            SAINT PETERS       MO 63376‐2657
SCHULTZ, HENRY G        4740 CONNECTICUT AVE. N.W.     UNIT. 305                                                 WASHINGTON         DC 20008
SCHULTZ, HENRY L        6301 W CENTERLINE RD                                                                     SAINT JOHNS        MI 48879‐9572
SCHULTZ, HERBERT        9485 LISMORE LN                                                                          MENTOR             OH 44060‐4588
SCHULTZ, HERBERT F      160 HIGHLAND AVE                                                                         TONAWANDA          NY 14150‐5361
SCHULTZ, HERMAN H       PAUL REICH & MYERS P.C.        1608 WALNUT ST STE 500                                    PHILADELPHIA       PA 19103‐5446
SCHULTZ, HERMAN HENRY   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                       STREET, SUITE 600
SCHULTZ, IRA A          523 STOCKFORD DR                                                                         ADRIAN            MI   49221‐1440
SCHULTZ, IRENE M        4157 FLYNN                                                                               HIGHLAND          MI   48356‐1811
SCHULTZ, IRENE T        2313 SOUTH FARRAGUT STREET                                                               BAY CITY          MI   48708‐8160
SCHULTZ, JACK L         1235 E WILDERMUTH RD                                                                     OWOSSO            MI   48867‐9687
SCHULTZ, JACK L         11444 NEW BIDDINGER RD                                                                   HARRISON          OH   45030‐9527
SCHULTZ, JACK W         27 GLENMAR DR                                                                            QUEENSBURY        NY   12804‐9348
SCHULTZ, JAMES A        6725 MARJEAN DR                                                                          TIPP CITY         OH   45371‐2331
SCHULTZ, JAMES B        3475 E HOWARD AVE                                                                        SAINT FRANCIS     WI   53235‐4731
SCHULTZ, JAMES B        8323 RANCH ESTATES RD                                                                    CLARKSTON         MI   48348‐4034
SCHULTZ, JAMES C        1132 ELM ST                                                                              BELOIT            WI   53511‐4321
SCHULTZ, JAMES D        4409 N AINGER RD               ROUTE 5                                                   CHARLOTTE         MI   48813‐8863
SCHULTZ, JAMES G        2431 MOLE AVE                                                                            JANESVILLE        WI   53548‐1442
SCHULTZ, JAMES J        4957 MILESTRIP RD                                                                        BLASDELL          NY   14219‐2613
SCHULTZ, JAMES P        917 CAMBRIDGE DR                                                                         JANESVILLE        WI   53548‐6707
SCHULTZ, JAMES R        8120 S BLOOMER ST                                                                        CARSON CITY       MI   48811‐8505
SCHULTZ, JAMES S        725 JOLSON AVE                                                                           AKRON             OH   44319‐2724
SCHULTZ, JAMES W        7727 BLUE LAGOON DR                                                                      LANSING           MI   48917‐9640
SCHULTZ, JANE E         14424 W SENTINEL DR                                                                      SUN CITY WEST     AZ   85375‐5998
SCHULTZ, JANE K         3308 SOUTHWOOD DR                                                                        FLINT             MI   48504‐6504
SCHULTZ, JANEISE J      8109 WOODCREEK CT                                                                        DOWNERS GROVE     IL   60516‐4536
SCHULTZ, JANET C        1741 WILDERNESS DR                                                                       TALBOTT           TN   37877‐8705
SCHULTZ, JANICE         STATE FARM INSURANCE CO        PO BOX 3020                                               NEWARK            OH   43058‐3020
SCHULTZ, JEAN R         2100 10TH ST                                                                             BAY CITY          MI   48708‐6753
SCHULTZ, JEANNE G       9401 LYNDALE AVE S APT 428                                                               BLOOMINGTON       MN   55420‐4259
SCHULTZ, JEFFREY J      7218 STEVANIE DR                                                                         GRAND BLANC       MI   48439‐9660
SCHULTZ, JEFFREY R      19379 SEMINOLE                                                                           REDFORD           MI   48240‐1621
SCHULTZ, JENNIE T       10 HARWINTON AVE                                                                         TERRYVILLE        CT   06786‐4607
SCHULTZ, JEROME JOHN    3260 AWALT ROAD                                                                          TULLAHOMA         TN   37388‐6431
SCHULTZ, JEROME R       35854 WINDRIDGE DR                                                                       NEW BALTIMORE     MI   48047‐5853
SCHULTZ, JERROLD S      533 LONGMEADOW RD                                                                        AMHERST           NY   14226‐2449
SCHULTZ, JILL R         5526 N MCNICHOLS DR                                                                      MILTON            WI   53563‐8480
SCHULTZ, JOANNE L.      1614 H ST                                                                                AURORA            NE   68818‐2515
SCHULTZ, JOANNE R       11863 GATES RD                                                                           MULLIKEN          MI   48861‐9621
SCHULTZ, JOANNE R       11863 GATES ROAD                                                                         MULLIKEN          MI   48861‐9621
SCHULTZ, JOEL M         12672 ARMSTRONG ROAD                                                                     S ROCKWOOD        MI   48179‐9766
SCHULTZ, JOHN A         1936 GILSAM AVE                                                                          ROCHESTER HILLS   MI   48309‐4216
SCHULTZ, JOHN C         715 BIRD ST APT C                                                                        PRESCOTT          AZ   86301
SCHULTZ, JOHN C         6817 HEATHERIDGE DR                                                                      SALINE            MI   48176‐9230
SCHULTZ, JOHN D         17340 DUNBRIDGE RD                                                                       BOWLING GREEN     OH   43402‐9677
SCHULTZ, JOHN D         2206 LIMA VALLEY DR                                                                      FORT WAYNE        IN   46818‐1880
SCHULTZ, JOHN E         560 M55 #110                                                                             TAWAS CITY        MI   48763
SCHULTZ, JOHN G         641 RISING SUN AVE                                                                       HOLLAND           PA   18966‐2178
SCHULTZ, JOHN H         110 SE CIRCLE DR                                                                         JOLIET            IL   60433‐1504
SCHULTZ, JOHN J         47 MILL ST                                                                               MARION            MA   02738‐1555
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Name                     Address1                        Address2                Address3     Address4         City            State Zip
SCHULTZ, JOHN M          3265 W BIRCHWOOD AVE                                                                  MILWAUKEE        WI 53221‐4034
SCHULTZ, JOHN MICHAEL    3265 W BIRCHWOOD AVE                                                                  MILWAUKEE        WI 53221‐4034
SCHULTZ, JOHN P          886 CHADS WAY                                                                         CHARLOTTE        MI 48813‐8757
SCHULTZ, JOHN R          1163 W JULIAH AVE                                                                     FLINT            MI 48505‐1407
SCHULTZ, JONATHAN M      10345 RATTALEE LAKE RD                                                                DAVISBURG        MI 48350‐1323
SCHULTZ, JOSEPH A        26659 DOVER CT                                                                        WARREN           MI 48089‐1358
SCHULTZ, JOSEPH A        1911 S SHERIDAN ST                                                                    BAY CITY         MI 48708‐8175
SCHULTZ, JOSEPH E        10032 NATHALINE                                                                       REDFORD          MI 48239‐2287
SCHULTZ, JOSEPH G        202 IVY BROOK DR                                                                      DALLAS           GA 30157‐5526
SCHULTZ, JOSEPH G        2245 RIVERSIDE DR UNIT 202                                                            COLUMBUS         OH 43221
SCHULTZ, JOSEPH K        74 JANICE CT #222                                                                     ESSEXVILLE       MI 48732
SCHULTZ, JOSEPH T        48 CHASE ST                                                                           WESTMINSTER      MD 21157
SCHULTZ, JR.,REYNOLD J   3540 S CARI ADAM DR                                                                   NEW BERLIN       WI 53146‐3008
SCHULTZ, JULIA           31 SIMMONS DR                                                                         WOODSTOCK        NY 12498‐1226
SCHULTZ, JULIE A         8135 WEST AVE                                                                         GASPORT          NY 14067
SCHULTZ, JULIUS L        WEITZ & LUXENBERG               180 MAIDEN LANE                                       NEW YORK         NY 10038
SCHULTZ, JUNE            3220 RED BARN RD                                                                      FLINT            MI 48507‐1278
SCHULTZ, KAREN S         2114 49TH AVE E                                                                       BRADENTON        FL 34203
SCHULTZ, KARL H          8811 N DIX DR                                                                         MILTON           WI 53563‐9246
SCHULTZ, KATHERINE H     2980 CLOVER RIDGE COURT NW      APT A                                                 GRAND RAPIDS     MI 49504
SCHULTZ, KATHERINE H     2980 CLOVER RIDGE CT NW APT A                                                         GRAND RAPIDS     MI 49504‐8033
SCHULTZ, KATHLEEN        LOT 1375                        600 STATE HIGHWAY 495                                 ALAMO            TX 78516‐4632
SCHULTZ, KATHLEEN E      15706 TANGERINE BLVD            C/O MARIE LIPPMAN                                     LOXAHATCHEE      FL 33470‐3414
SCHULTZ, KATHLEEN R      917 CAMBRIDGE DR                                                                      JANESVILLE       WI 53548‐6707
SCHULTZ, KATRINA M       5161 CLARKSTON RD                                                                     CLARKSTON        MI 48348‐3806
SCHULTZ, KAY T           5915 MERWIN CHASE ROAD                                                                BROOKFIELD       OH 44403‐9780
SCHULTZ, KEITH S         4031 OAK TREE CIR                                                                     ROCHESTER        MI 48306‐4657
SCHULTZ, KENNETH E       2694 BISHOP RD                                                                        APPLETON         NY 14008‐9626
SCHULTZ, KENNETH E       8841 EDGEWOOD DR                                                                      N ROYALTON       OH 44133‐1103
SCHULTZ, KENNETH F       55484 WHITNEY DR                                                                      SHELBY TWP       MI 48315‐6662
SCHULTZ, KENNETH H       4011 KING SETTLEMENT RD                                                               ALPENA           MI 49707‐9525
SCHULTZ, KENNETH L       9511 COOK AVE                                                                         LAKE             MI 48632‐9575
SCHULTZ, KENNETH L       W982 COTTAGE RD                                                                       BRODHEAD         WI 53520‐9617
SCHULTZ, KENNETH N       JANESVILLE MB TR                11478 N BETHEL RD                                     HAYWARD          WI 54843
SCHULTZ, KENNETH R       11389 IRISH RD                                                                        OTISVILLE        MI 48463‐9447
SCHULTZ, KENNETH R       2300 E VALLEY PKWY SPC 162                                                            ESCONDIDO        CA 92027‐2736
SCHULTZ, KENNETH R       6451 N ROBERTSON RD                                                                   MIDDLEVILLE      MI 49333‐9443
SCHULTZ, KENNETH W       9428 HILE RD                                                                          RAVENNA          MI 49451‐9474
SCHULTZ, KEVIN B         13826 NORTH AVE                                                                       BELLEVUE         MI 49021‐9223
SCHULTZ, KEVIN D         1762 KENDAL DR                                                                        BROADVIEW HTS    OH 44147‐4447
SCHULTZ, KEVIN J         39885 WALDORF DR                                                                      CLINTON TWP      MI 48038‐2894
SCHULTZ, KEVIN L         324 ROGERS ST                                                                         MILTON           WI 53563‐1451
SCHULTZ, KRISTIN J       5229 W MICHIGAN AVE LOT 314                                                           YPSILANTI        MI 48197‐9168
SCHULTZ, KRISTIN JAY     5229 W MICHIGAN AVE LOT 314                                                           YPSILANTI        MI 48197‐9168
SCHULTZ, KURT R          3710 N BEYER RD                                                                       SAGINAW          MI 48601‐9447
SCHULTZ, L E             10497 W SHELBY RD                                                                     MIDDLEPORT       NY 14105‐9314
SCHULTZ, LARRY K         28724 HOFFMAN RD                                                                      DEFIANCE         OH 43512‐6994
SCHULTZ, LARRY W         300 S BRYAN RD UNIT F3                                                                MISSION          TX 78572‐6040
SCHULTZ, LAUREL          1806 MACKINAW ST                                                                      SAGINAW          MI 48602‐3030
SCHULTZ, LAVERN L        5275 N GEORGETOWN RD                                                                  GRAND BLANC      MI 48439‐8774
SCHULTZ, LAWRENCE R      4521 BETHLEHEM RD                                                                     PRESTON          MD 21655‐1542
SCHULTZ, LEE W           954 W RIDGE RD                                                                        ESSEXVILLE       MI 48732‐8601
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Name                   Address1                          Address2                       Address3   Address4         City              State Zip
SCHULTZ, LELAND E      W621 GOLF COURSE RD                                                                          BRODHEAD           WI 53520‐9676
SCHULTZ, LEON W        SENECA HILL VILLAGE               5350 SALTSBURG RD              APT# 132                    VERONA             PA 15147
SCHULTZ, LEONA M       4715 E CENTER ST                                                                             MILLINGTON         MI 48746‐9324
SCHULTZ, LEONARD H     8813 W INDIANOLA AVE                                                                         PHOENIX            AZ 85037‐2317
SCHULTZ, LEROY A       140 BRIANNA CT                                                                               VON ORMY           TX 78073‐6205
SCHULTZ, LESTER F      6035 E BIRCH RUN RD R4                                                                       BIRCH RUN          MI 48415
SCHULTZ, LEWIS C       6844 HATTER RD                                                                               NEWFANE            NY 14108‐9768
SCHULTZ, LINDA         PO BOX 209                                                                                   LOMIRA             WI 53048‐0209
SCHULTZ, LINDA
SCHULTZ, LINDA J       5151 MILL WHEEL DR                                                                           GRAND BLANC       MI   48439‐4254
SCHULTZ, LINDA M       8121 ORCHARDVIEW DR                                                                          WASHINGTN TWP     MI   48095‐1345
SCHULTZ, LINDA MARIE   8121 ORCHARDVIEW DR                                                                          WASHINGTN TWP     MI   48095‐1345
SCHULTZ, LOIS M        723 W HURON AVE                                                                              VASSAR            MI   48768‐1125
SCHULTZ, LOIS M        653 HIXON PLACE                   APT 10                                                     BASSAR            MI   48768
SCHULTZ, LORENE S      4857 N 375 E                                                                                 ALEXANDRIA        IN   46001‐8714
SCHULTZ, LORI A        26024 ELAINE COURT                                                                           WARREN            MI   48091‐4100
SCHULTZ, LORI ANNE     26024 ELAINE COURT                                                                           WARREN            MI   48091‐4100
SCHULTZ, LORI K        1015 FELTIS DR                                                                               TEMPERANCE        MI   48182‐9209
SCHULTZ, LOUIDA        218 W WOODSIDE TER                                                                           HOLLAND           OH   43528‐8118
SCHULTZ, LUCILLE I.    2385 HORACE ST                                                                               WEST BLOOMFIELD   MI   48324‐3638
SCHULTZ, LUCY          135 JACOBS ST PO BOX 122                                                                     MONTCLARE         PA   19453
SCHULTZ, MAGDALEN A    4520 DECKERVILLE RD                                                                          DECKERVILLE       MI   48427‐9215
SCHULTZ, MARCELLE M    2100 KINGS HWY LOT 612                                                                       PORT CHARLOTTE    FL   33980‐4240
SCHULTZ, MARGARET      7318 KRUSE                                                                                   PETERSBURG        MI   49270
SCHULTZ, MARGARET D    164 IRWIN ST                                                                                 BROOKLYN          MI   49230‐9272
SCHULTZ, MARGARET J    7492 VOLKMER RD                                                                              CHESANING         MI   48616‐9749
SCHULTZ, MARGARET M    5951 N SKEEL AVE UNIT 103                                                                    OSCODA            MI   48750‐1550
SCHULTZ, MARGARET M    138 ROYAL TROON DR SE                                                                        WARREN            OH   44484‐4668
SCHULTZ, MARGARET M    5951 NORTH SKEEL AVE UNIT 103                                                                OSCODA            MI   48750
SCHULTZ, MARGARITA Y   6301 W CENTERLINE RD                                                                         SAINT JOHNS       MI   48879‐9572
SCHULTZ, MARILYN A     1741 E EWERS RD                                                                              DANSVILLE         MI   48819‐9747
SCHULTZ, MARILYN A     1741 EWERS RD                                                                                DANSVILLE         MI   48819‐9402
SCHULTZ, MARILYN J     9644 RIDGE RD                                                                                FARMDALE          OH   44417‐9759
SCHULTZ, MARION        BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD        OH   44067
                                                         PROFESSIONAL BLDG
SCHULTZ, MARJORIE M    50 STAHL RD APT 335                                                                          GETZVILLE         NY   14068‐1570
SCHULTZ, MARK A        2865 S CENTER RD                                                                             SAGINAW           MI   48609‐7014
SCHULTZ, MARK A        2578 HILLTOP LN                                                                              HOWELL            MI   48843‐6766
SCHULTZ, MARK E        4523 GERBER DR                                                                               FREDERICKSBRG     VA   22408‐2953
SCHULTZ, MARK W        11717 BROOKSHIRE ST                                                                          TEMPERANCE        MI   48182‐9611
SCHULTZ, MARK W        4 S PRAIRIE AVE                                                                              JOLIET            IL   60436‐1520
SCHULTZ, MARLENE J     1230 PARK AVE W APT 212                                                                      HIGHLAND PARK     IL   60035‐2247
SCHULTZ, MARTHA J      9466 FORESTVIEW CIR                                                                          GRAND BLANC       MI   48439‐8057
SCHULTZ, MARTIN J      4570 MCINTOSH RD                                                                             BIRCH RUN         MI   48415‐8704
SCHULTZ, MARTIN S      4865 DIEHL RD                                                                                METAMORA          MI   48455‐9615
SCHULTZ, MARVIN A      164 SACKETT RD APT 906                                                                       AVON              NY   14414‐1314
SCHULTZ, MARY C        APT 213                           175 SHADY LANE DRIVE                                       NORWALK           OH   44857‐2711
SCHULTZ, MARY C        175 SHADY LN                      APT#213                                                    NORWALK           OH   44857
SCHULTZ, MARY E        8818 ROBERTS RD                                                                              MANCELONA         MI   49659
SCHULTZ, MARY J        3240 LKPT OLCOTT RD                                                                          NEWFANE           NY   14108‐9604
SCHULTZ, MARY J        3240 LOCKPORT OLCOTT RD                                                                      NEWFANE           NY   14108‐9604
SCHULTZ, MARY J        1713 BOCA RATON BLVD                                                                         KOKOMO            IN   46902‐3158
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Name                      Address1                        Address2                          Address3   Address4         City                State Zip
SCHULTZ, MARY K           4406 WEISS                                                                                    SAGINAW              MI 48603‐4150
SCHULTZ, MARY K           4406 WEISS ST                                                                                 SAGINAW              MI 48603‐4150
SCHULTZ, MAXINE M         2490 GABEL RD                                                                                 SAGINAW              MI 48601‐9310
SCHULTZ, MELVIN C         914 SIBLEY ST NW                                                                              GRAND RAPIDS         MI 49504‐5647
SCHULTZ, MICHAEL D        855 LEDDY RD                                                                                  SAGINAW              MI 48609‐9425
SCHULTZ, MICHAEL E        9910 NORMAN ST                                                                                LIVONIA              MI 48150‐2436
SCHULTZ, MICHAEL EMIL     9910 NORMAN ST                                                                                LIVONIA              MI 48150‐2436
SCHULTZ, MICHAEL G        2109 CHURCH ST                                                                                FLINT                MI 48503‐3959
SCHULTZ, MICHAEL G        5840 LAWNDALE ST                                                                              NORTH BRANCH         MI 48461‐9600
SCHULTZ, MICHAEL J        4531 ALURA PL                                                                                 SAGINAW              MI 48604‐1031
SCHULTZ, MICHAEL K        1207 MCKINLEY ST                                                                              BAY CITY             MI 48708‐6654
SCHULTZ, MICHAEL R        506 CAROM CIR                                                                                 MASON                MI 48854‐9373
SCHULTZ, MILDRED          11787 DEVONSHIRE RD.                                                                          ALGONQUIN             IL 60102‐2590
SCHULTZ, MINNIE A         14258 BRADY                                                                                   REDFORD              MI 48239‐2823
SCHULTZ, MOLLY M          12419 MAIR DR                                                                                 STERLING HTS         MI 48313‐2575
SCHULTZ, MURIEL K         2050 S WASHINGTON RD APT 2018                                                                 HOLT                 MI 48842‐8632
SCHULTZ, NANCY L          820 S LAFAYETTE ST                                                                            DEARBORN             MI 48124‐1595
SCHULTZ, NANCY L          413 MAPMAKER LN                                                                               SAVANNAH             GA 31410‐2011
SCHULTZ, NEIL D           PO BOX 481                                                                                    CORDOVA              AK 99574‐0481
SCHULTZ, NEIL W           4915 FOSTER RD                                                                                MIDLAND              MI 48642‐3229
SCHULTZ, NELLIE J         37811 BEAR VIEW CIR                                                                           MURRIETA             CA 92562‐3085
SCHULTZ, NELSON L         1781 LINDEN AVE                                                                               N TONAWANDA          NY 14120‐3023
SCHULTZ, NORMAN B         1610 MEADOWLARK DR                                                                            JANESVILLE           WI 53546‐1413
SCHULTZ, NORMAN S         510 ROXBURY LN                                                                                NOBLESVILLE          IN 46062‐7494
SCHULTZ, OTTO C           1256 PALMDALE CIR NE                                                                          PALM BAY             FL 32905‐4234
SCHULTZ, PAMELA K         4356 BRISTOLWOOD DR                                                                           FLINT                MI 48507‐3749
SCHULTZ, PATRICIA         PO BOX 294                                                                                    GOSPORT              NY 14067
SCHULTZ, PATRICIA A       801 IVEY COURT                                                                                APOPKA               FL 32712
SCHULTZ, PATRICIA H       4771 SQUIRREL HILL DR                                                                         TROY                 MI 48098‐6610
SCHULTZ, PATRICK          PO BOX 246                                                                                    CORNERSVILLE         TN 37047‐0246
SCHULTZ, PATRICK G        1144 S TUSCOLA RD                                                                             BAY CITY             MI 48708‐9633
SCHULTZ, PATRICK GERARD   1144 S TUSCOLA RD                                                                             BAY CITY             MI 48708‐9633
SCHULTZ, PAUL             MORGAN & MORGAN PA              76 SOUTH LAURA STREET SUITE 110                               JACKSONVILLE         FL 32202

SCHULTZ, PAUL A           1228 KELLOGG AVE                                                                              JANESVILLE          WI   53546‐6020
SCHULTZ, PAUL E           2931 COTSWOLD CIR                                                                             ROCKFORD            IL   61114‐6393
SCHULTZ, PAUL E           2251 E SAND RD                                                                                PORT CLINTON        OH   43452‐1525
SCHULTZ, PAUL W           2721 21ST ST                                                                                  WYANDOTTE           MI   48192‐4812
SCHULTZ, PETER G          4063 RIVER CREST CIR                                                                          LEESBURG            FL   34748‐7415
SCHULTZ, PHILIP C         1592 TREYBORNE CIR 19                                                                         COMMERCE TOWNSHIP   MI   48390
SCHULTZ, PHILIP L         5749 ANTILLES DR                                                                              SARASOTA            FL   34231‐4905
SCHULTZ, PHILIP R         1409 GERSHWIN DR                                                                              JANESVILLE          WI   53545‐1044
SCHULTZ, PHYLLIS          PO BOX 037                                                                                    MULLIKEN            MI   48861
SCHULTZ, PHYLLIS A        28473 CLEVELAND ST                                                                            LIVONIA             MI   48150‐3106
SCHULTZ, PHYLLIS J        1031 NORTHLAND DR                                                                             MARQUETTE           MI   49855‐4421
SCHULTZ, RAECHEL S        16937 RIVERSIDE STREET                                                                        LIVONIA             MI   48154‐2430
SCHULTZ, RALPH A          6357 MARDON DR                                                                                PAINESVILLE         OH   44077‐2003
SCHULTZ, RALPH C          3003 GALE COURT                                                                               SPRING HILL         TN   37174‐6588
SCHULTZ, RALPH C          3003 GALE CT                                                                                  SPRING HILL         TN   37174‐6588
SCHULTZ, RALPH E          1657 YOUNGSTOWN WILSON RD                                                                     YOUNGSTOWN          NY   14174‐9787
SCHULTZ, RANDALL J        5821 OXFORD DR                                                                                GREENDALE           WI   53129‐2564
SCHULTZ, RANDALL L        2530 IRIS CT                                                                                  RACINE              WI   53402‐1438
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Name                    Address1                          Address2          Address3         Address4         City               State Zip
SCHULTZ, RANDY M        3796 SHELBORNE CT                                                                     CARMEL              IN 46032‐8272
SCHULTZ, RAYMOND        PO BOX 54                                                                             MANDEVILLE          LA 70470
SCHULTZ, RAYMOND D      700 HILLWOOD                                                                          WHITE LAKE          MI 48383‐2960
SCHULTZ, RAYMOND E      208 W HIGH ST                                                                         FENTON              MI 48430‐2206
SCHULTZ, RAYMOND J      3091 WAGON TRL                                                                        FLINT               MI 48507‐1213
SCHULTZ, RAYMOND J      101 NORTH WASHINGTON AVENUE                                                           SAGINAW             MI 48607‐1207
SCHULTZ, REGINALD V     16509 NORTHLAWN ST                                                                    DETROIT             MI 48221‐2951
SCHULTZ, REGIS          8002 BULL RUN DR. LOT14                                                               NEW PORT RICHEY     FL 34653
SCHULTZ, REYNOLD J      7302 S 69TH ST                                                                        FRANKLIN            WI 53132‐9208
SCHULTZ, RHODA J        PO BOX 244                                                                            REDFIELD            SD 57469‐0244
SCHULTZ, RICHARD        13982 W PUEBLO TRL                                                                    SURPRISE            AZ 85374‐3856
SCHULTZ, RICHARD A      6130 WADSWORTH RD                                                                     SAGINAW             MI 48601‐9616
SCHULTZ, RICHARD A      4000 W RAMSEY AVE                                                                     GREENFIELD          WI 53221‐4506
SCHULTZ, RICHARD B      5181 WASHBURN RD                                                                      GOODRICH            MI 48438‐9657
SCHULTZ, RICHARD D      9476 PORTAGE TRL                                                                      WHITE LAKE          MI 48386‐2760
SCHULTZ, RICHARD F      5145 WALDEN DR                                                                        SWARTZ CREEK        MI 48473‐8546
SCHULTZ, RICHARD F      749 WILCOX ST                                                                         ROCHESTER           MI 48307
SCHULTZ, RICHARD H      14050 CHERISH LN                                                                      LANSING             MI 48906‐9179
SCHULTZ, RICHARD H      W343S9185 JERICHO DR                                                                  EAGLE               WI 53119‐1663
SCHULTZ, RICHARD J      1907 VICKSBURG CIR                                                                    COLUMBIA            TN 38401‐6808
SCHULTZ, RICHARD J      15041 LAKESIDE VIEW DR APT 2103                                                       FORT MYERS          FL 33919‐8472
SCHULTZ, RICHARD K      5151 MILL WHEEL DR                                                                    GRAND BLANC         MI 48439‐4254
SCHULTZ, RICHARD L      1232 LORE LN APT 11                                                                   GREEN BAY           WI 54303
SCHULTZ, RICHARD L      1203 THOMAS AVE                                                                       DANVILLE             IL 61832‐7640
SCHULTZ, RICHARD L      PO BOX 512                                                                            LAINGSBURG          MI 48848‐0512
SCHULTZ, RICHARD L      413 MAPMAKER LN                                                                       SAVANNAH            GA 31410‐2011
SCHULTZ, RICHARD L      413 MAPMAKER LANE                                                                     SAVANNAH            GA 31410‐2011
SCHULTZ, RICHARD R      46573 ARAPAHOE DR                                                                     MACOMB              MI 48044‐3105
SCHULTZ, RICHARD W      PO BOX 696                                                                            BROOKLYN            MI 49230‐0696
SCHULTZ, RICKY N        9491 TOOKE SHORE DR                                                                   WEEKI WACHEE        FL 34613‐6416
SCHULTZ, RITA K         47 AMALFI DR                                                                          AVON                NY 14414‐1417
SCHULTZ, ROBERT A       18350 MANORWOOD S                                                                     CLINTON TOWNSHIP    MI 48038‐1241
SCHULTZ, ROBERT A       11540 N MAPLE VALLEY RD                                                               ROSCOMMON           MI 48653‐9714
SCHULTZ, ROBERT C       5526 N MCNICHOLS DR                                                                   MILTON              WI 53563‐8480
SCHULTZ, ROBERT C       W2112 PURINTUN RD                                                                     ALBANY              WI 53502‐9714
SCHULTZ, ROBERT C       3900 NW 85TH TER APT H                                                                KANSAS CITY         MO 64154‐2812
SCHULTZ, ROBERT E       103 YORK RD                                                                           EDGERTON            WI 53534‐1601
SCHULTZ, ROBERT E       4715 SASHABAW RD                                                                      CLARKSTON           MI 48346‐3836
SCHULTZ, ROBERT E       4 SAINT PIERRE                                                                        NEWPORT COAST       CA 92657‐1110
SCHULTZ, ROBERT E       1401 W 6TH AVE                                                                        BRODHEAD            WI 53520‐1633
SCHULTZ, ROBERT E       3134 BOY SCOUT RD                                                                     BAY CITY            MI 48706‐1212
SCHULTZ, ROBERT F       7280 GROVELAND RD                                                                     HOLLY               MI 48442‐9424
SCHULTZ, ROBERT F       619 DEAUVILLE LN                                                                      BLOOMFIELD HILLS    MI 48304‐1451
SCHULTZ, ROBERT H       2501 NIAGARA ST                                                                       BUFFALO             NY 14207‐1405
SCHULTZ, ROBERT J       3244 PINEVIEW TRL                                                                     HOWELL              MI 48843‐6487
SCHULTZ, ROBERT J       2236 WELCH ST                                                                         WEST BRANCH         MI 48661‐9575
SCHULTZ, ROBERT J       7328 HIDDEN VALLEY DR                                                                 LAMBERTVILLE        MI 48144‐9445
SCHULTZ, ROBERT J       1140 BLACK BIRCH DR                                                                   ASPEN               CO 81611‐1004
SCHULTZ, ROBERT JAMES   3244 PINEVIEW TRL                                                                     HOWELL              MI 48843‐6487
SCHULTZ, ROBERT K       808 HOLLY BUSH CT                                                                     HOLLY               MI 48442‐1328
SCHULTZ, ROBERT L       136 N JOHNSON ST                                                                      MEMPHIS             MO 63555‐1122
SCHULTZ, ROBERT L       1475 MCEWEN ST                                                                        BURTON              MI 48509‐2162
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Name                     Address1                         Address2                      Address3   Address4         City           State Zip
SCHULTZ, ROBERT L        203 W. CIRCLE DR                                                                           W. CARROLTON    OH 45449‐1110
SCHULTZ, ROBERT L        203 W CIRCLE DR                                                                            DAYTON          OH 45449‐1110
SCHULTZ, ROBERT M        309 PINEKNOLL CT                                                                           BRIGHTON        MI 48116‐2445
SCHULTZ, ROBERT W        27490 N 1655 EAST RD                                                                       DANVILLE         IL 61834‐6038
SCHULTZ, ROBERT W        6540 WHITE LAKE RD                                                                         WHITE LAKE      MI 48383‐1141
SCHULTZ, ROBERT W        19535 HARMAN ST                                                                            MELVINDALE      MI 48122‐1607
SCHULTZ, ROBERT W        5315 FARLEY RD                                                                             CLARKSTON       MI 48346‐1736
SCHULTZ, ROBERTA E       1369 WEST HOPBUSH WAY                                                                      TUCSON          AZ 85704‐2646
SCHULTZ, ROBIN D         821 PORTLAND AVE                                                                           BELOIT          WI 53511‐5237
SCHULTZ, RODGER D        906 GEORGETOWN PKWY                                                                        FENTON          MI 48430‐3626
SCHULTZ, RODGER DALE     906 GEORGETOWN PKWY                                                                        FENTON          MI 48430‐3626
SCHULTZ, ROGER CHARLES
SCHULTZ, ROGER D         4201 SAGINAW TRL                                                                           WATERFORD      MI   48329‐3663
SCHULTZ, ROGER E         312 W JAMAICA RD                                                                           STRATTON       VT   05360‐9717
SCHULTZ, ROGER G         5427 CHARLESTON AVE                                                                        TAVARES        FL   32778‐9279
SCHULTZ, ROGER L         611 S MAIN ST                                                                              OVID           MI   48866‐9713
SCHULTZ, ROGER LYNN      611 S MAIN ST                                                                              OVID           MI   48866‐9713
SCHULTZ, ROGER R         1606 LEHALL SQ S                                                                           LAKELAND       FL   33810‐1406
SCHULTZ, ROLAND E        PO BOX 158                       6783 W NORTH SHORE DR                                     LAKE CITY      MI   49651‐0158
SCHULTZ, RONALD          110 HIGHLAND RIM DR                                                                        COLUMBIA       TN   38401‐6121
SCHULTZ, RONALD D        53319 PINERIDGE DR 148                                                                     CHESTERFIELD   MI   48051
SCHULTZ, RONALD E        4279 SPRINGBROOK DR                                                                        SWARTZ CREEK   MI   48473‐1706
SCHULTZ, RONALD L        2306 MANITOU RD                                                                            ROCHESTER      NY   14606‐3216
SCHULTZ, RONALD N        4659 TIPTON DR                                                                             TROY           MI   48098‐4468
SCHULTZ, RONALD R        4407 LARKSPUR CT                                                                           WARREN         MI   48092‐6101
SCHULTZ, ROSEMARIE       11504 PLUMRIDGE BLVD                                                                       STERLING HTS   MI   48313‐4961
SCHULTZ, ROSETTA M.      36 1/2 HOWDER ST                                                                           HILLSDALE      MI   49242‐1318
SCHULTZ, ROY             1050 S TUSCOLA RD                                                                          BAY CITY       MI   48708‐9633
SCHULTZ, RUSSELL L       932 GOLF VIEW LN APT 2                                                                     LAPEER         MI   48446‐4746
SCHULTZ, RUSSELL N       44768 HANFORD RD                                                                           CANTON         MI   48187‐2673
SCHULTZ, RUSSELL R       27 COACHLIGHT DR                                                                           DANVILLE       IL   61832
SCHULTZ, RUTH M          4244 FREEMAN RD                                                                            MIDDLEPORT     NY   14105‐9640
SCHULTZ, SANDRA L        8952 IRISH RD                                                                              MILLINGTON     MI   48746‐9433
SCHULTZ, SANDRA LEE      8952 IRISH RD                                                                              MILLINGTON     MI   48746‐9433
SCHULTZ, SELINA I        459 EAST OAK ORCHARD STREET, A                                                             MEDINA         NY   14103
SCHULTZ, SHARON A        417 S WHITE                                                                                KANSAS CITY    MO   64123
SCHULTZ, SHEILA M        6885 W RIDGE DR                                                                            BRIGHTON       MI   48116‐8866
SCHULTZ, SHEILA MARIE    6885 W RIDGE DR                                                                            BRIGHTON       MI   48116‐8866
SCHULTZ, SHELLY R        559 W BUNKERHILL RD                                                                        MOORESVILLE    IN   46158‐6811
SCHULTZ, SHERRI S        6168 EAST AVE                                                                              NEWFANE        NY   14108‐1328
SCHULTZ, SHIRLEY         16987 MOOREPARK                                                                            THREE RIVERS   MI   49093‐9627
SCHULTZ, SHIRLEY A       613 CRIST RD                                                                               BELOIT         WI   53511‐2056
SCHULTZ, SHIRLEY D       3091 WAGON TRL                                                                             FLINT          MI   48507‐1213
SCHULTZ, SHIRLEY K       4615 TOLLAND AVE                                                                           HOLT           MI   48842‐1127
SCHULTZ, SIEGFRIED J     64 AURORA HUDSON RD                                                                        AURORA         OH   44202‐9236
SCHULTZ, STANLEY T       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA   23510‐2212
                                                          STREET, SUITE 600
SCHULTZ, STEPHEN C       9431 WHIPPLE SHORES DR                                                                     CLARKSTON      MI   48348‐2163
SCHULTZ, STEPHEN P       150 METAL ARM NTH                APT #2                                                    NORTH CHILI    NY   14514
SCHULTZ, STEVE C.        495 W BROAD ST                                                                             LINDEN         MI   48451‐8768
SCHULTZ, STEVEN D        1330 SE 21ST AVE                                                                           CAPE CORAL     FL   33990‐1978
SCHULTZ, STEVEN J        4135 MORNING DAWN DR                                                                       SAGINAW        MI   48603
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Name                     Address1                      Address2                      Address3   Address4         City               State Zip
SCHULTZ, STEVEN L        4821 HATCHERY RD                                                                        WATERFORD           MI 48329‐3637
SCHULTZ, STEVEN P        2780 N 45 RD                                                                            MANTON              MI 49663‐8522
SCHULTZ, STEVEN R        22511 MASCH AVE                                                                         WARREN              MI 48091‐5271
SCHULTZ, STEVEN ROBERT   22511 MASCH AVE                                                                         WARREN              MI 48091‐5271
SCHULTZ, SUSAN A         46447 HOUGHTON DR                                                                       SHELBY TWP          MI 48315‐5331
SCHULTZ, SUSAN L         4020 LOMLEY AVE                                                                         WATERFORD           MI 48329‐4121
SCHULTZ, SYLVIA          4 SAINT PIERRE                                                                          NEWPORT COAST       CA 92657‐1110
SCHULTZ, SYLVIA E        1401 HERBERT                                                                            N VERSAILLES        PA 15137‐2409
SCHULTZ, TAMARA L        5544 AYLESBURY DR                                                                       WATERFORD           MI 48327‐2701
SCHULTZ, TAMARA L        5297 LANCASTER HILLS DR       APT 21                                                    CLARKSTON           MI 48346‐4424
SCHULTZ, TAMMY M         26160 24 MILE RD                                                                        CHESTERFIELD        MI 48051‐1548
SCHULTZ, TERRENCE R      4210 W RAMSEY AVE                                                                       GREENFIELD          WI 53221‐4510
SCHULTZ, TERRY J         PO BOX 212                                                                              LAKELAND            MI 48143‐0212
SCHULTZ, TERRY JOSEPH    PO BOX 212                                                                              LAKELAND            MI 48143‐0212
SCHULTZ, TERRY L         2382 STARLITE DR                                                                        SAGINAW             MI 48603‐2545
SCHULTZ, TERRY M         6090 BELL RD                                                                            BIRCH RUN           MI 48415‐9020
SCHULTZ, THEODORE D      5102 WEISS ST                                                                           SAGINAW             MI 48603‐7703
SCHULTZ, THEODORE J      5322 S GENESEE RD                                                                       GRAND BLANC         MI 48439‐7961
SCHULTZ, THERESA         255 MAYER RD                  APT 382L                                                  FRANKENMUTH         MI 48734
SCHULTZ, THERESA         255 MAYER RD APT 382L                                                                   FRANKENMUTH         MI 48734‐1751
SCHULTZ, THERESA M       15 WESTMILL LN                                                                          PALM COAST          FL 32164‐4017
SCHULTZ, THOMAS C        4938 FAIR OAKS DR                                                                       TOLEDO              OH 43613‐3510
SCHULTZ, THOMAS E        39225 CLOVERLEAF ST                                                                     HARRISON TWP        MI 48045‐1734
SCHULTZ, THOMAS E        6252 MANN RD                                                                            AKRON               NY 14001‐9020
SCHULTZ, THOMAS F        120 KIMBLE CT                                                                           OLD MONROE          MO 63369‐2334
SCHULTZ, THOMAS J        172 PARKVIEW CIR                                                                        LAKE PLACID         FL 33852‐9360
SCHULTZ, THOMAS M        5849 BAER RD                                                                            SANBORN             NY 14132‐9230
SCHULTZ, THOMAS R        6100 JANES AVE                                                                          DOWNERS GROVE        IL 60516‐1623
SCHULTZ, THOMAS R        13473 DANUBE LN                                                                         ROSEMOUNT           MN 55068‐3394
SCHULTZ, THOMAS W        3620 S VASSAR RD                                                                        VASSAR              MI 48768‐9706
SCHULTZ, THOMAS W        19204 GREEN VALLEY CT                                                                   NORTH FORT MYERS    FL 33903‐6606
SCHULTZ, TIM E           12510 RATHBUN RD                                                                        BIRCH RUN           MI 48415‐9799
SCHULTZ, TIMOTHY L       9414 NEWCASTLE BLVD                                                                     SHREVEPORT          LA 71129‐4840
SCHULTZ, VIOLA           2337 CLINTON AVE                                                                        BERWYN               IL 60402‐2107
SCHULTZ, VIRGINIA F      6240 KINMORE ST                                                                         DEARBORN HTS        MI 48127‐3059
SCHULTZ, VIRGINIA H      210 RIVERSIDE DR                                                                        ATHENS              GA 30606‐3410
SCHULTZ, WAYNE           ZAMLER, MELLEN & SHIFFMAN     23077 GREENFIELD RD STE 557                               SOUTHFIELD          MI 48075‐3727
SCHULTZ, WAYNE L         10101 BELSAY RD                                                                         MILLINGTON          MI 48746‐9753
SCHULTZ, WILDA B         4063 RIVER CREST CIR                                                                    LEESBURG            FL 34748‐7415
SCHULTZ, WILHELM R       6736 HOEMI CT                                                                           NORTH PORT          FL 34287‐2426
SCHULTZ, WILHELMINA M    1729 MERIDIAN                 RR 1                                                      MERRILL             MI 48637‐9746
SCHULTZ, WILHELMINA M    1729 S MERIDIAN RD            RR 1                                                      MERRILL             MI 48637‐9746
SCHULTZ, WILLIAM         4024 SIMKINS AVE                                                                        NORTH PORT          FL 34286‐6042
SCHULTZ, WILLIAM         9333 ISLAND DR                                                                          GOODRICH            MI 48438‐9097
SCHULTZ, WILLIAM A       1181 CHURCHILL CIR                                                                      ROCHESTER           MI 48307‐6057
SCHULTZ, WILLIAM A       9255 PARRISH GAP RD SE                                                                  TURNER              OR 97392‐9585
SCHULTZ, WILLIAM C       409 COLE CT                                                                             SPRING HILL         TN 37174‐7573
SCHULTZ, WILLIAM E       305 MEADOW LN                                                                           PRUDENVILLE         MI 48651‐9238
SCHULTZ, WILLIAM J       9550 WHISPERING SANDS DR                                                                WEST OLIVE          MI 49460‐9377
SCHULTZ, WILLIAM J       35544 DIANE LN                                                                          RICHMOND            MI 48062‐1300
SCHULTZ, WILLIAM L       42 LEONHARDT ST                                                                         NORTH TONAWANDA     NY 14120‐4231
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Name                                   Address1                          Address2                        Address3   Address4               City              State Zip
SCHULTZ, WILLIAM M                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510‐2212
                                                                         STREET, SUITE 600
SCHULTZ, WILLIAM O                     PO BOX 86                                                                                           DE TOUR VILLAGE   MI   49725‐0086
SCHULTZ, WILLIAM R                     1936 HANDLEY ST                                                                                     SAGINAW           MI   48602‐3665
SCHULTZ, WILLIAM W                     1581 BRAEMAR DR                                                                                     TRAVERSE CITY     MI   49686‐9217
SCHULTZ, YVONNE J                      22307 MADISON ST                                                                                    ST CLAIR SHORES   MI   48081‐3729
SCHULTZ, ZONA L                        PO BOX 736                                                                                          FOWLERVILLE       MI   48836‐0736
SCHULTZ‐CORNELL, BEVERLY J             1404 DAYTON DR                                                                                      JANESVILLE        WI   53546‐1472
SCHULTZE, ALBERT H                     845 PARTRIDGE LN                                                                                    WEBSTER           NY   14580‐2634
SCHULTZE, ANNE                         3312 PINE VILLA CT                                                                                  GRAND BLANC       MI   48439‐7938
SCHULTZE, CAROL A                      51 WATERVIEW PKWY                                                                                   HAMBURG           NY   14075‐1833
SCHULTZE, GEORGE G                     8111 N SUMMERFIELD LOOP                                                                             HAYDEN            ID   83835‐8243
SCHULTZE, JOHN D                       10 SPRINGVIEW PL                                                                                    NEWNAN            GA   30265‐1804
SCHULTZE, THOMAS W                     51 WATERVIEW PKWY                                                                                   HAMBURG           NY   14075‐1833
SCHULTZE, WALTER G                     2205 GILMAN DR                    APT 216                                                           OREGON CITY       OR   97045‐1565
SCHULWITZ, GUSTAV W                    52 BENTON RD                                                                                        SAGINAW           MI   48602‐1935
SCHULYK, JOSEPH                        26654 HAVERHILL DR                                                                                  WARREN            MI   48091‐1120
SCHULYK, KATHERINE                     11268 DINO DR                                                                                       BRUCE TWP         MI   48065‐2521
SCHULZ AUTOMOTIVE, INC.                DAVID SCHULZ                      1400 E MAIN ST                                                    REEDSBURG         WI   53959‐1403
SCHULZ CARL                            586 JORDAN RD                                                                                       OLD MONROE        MO   63369‐2618
SCHULZ DONALD E (ESTATE OF) (479319)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH   44067
                                                                         PROFESSIONAL BLDG
SCHULZ FLORIAN                         10 GROVE END HOUSE                GROVE END ROAD LONDON                      UNITED KINGDOM GREAT
                                                                         NW89HR                                     BRITAIN
SCHULZ GENEVIEVE                       115 SHORELINE DR E                                                                                  PORT SANILAC      MI 48469‐9764
SCHULZ GERALD W (472160)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA 23510
                                                                         STREET, SUITE 600
SCHULZ JR, CHARLES A                   100 BRENDA DR                                                                                       HOWELL            MI   48855‐8791
SCHULZ JR, EUGENE L                    11772 S LAKE SIDE DR                                                                                JEROME            MI   49249‐9651
SCHULZ, ALLAN A                        4660 LEIX RD                                                                                        MAYVILLE          MI   48744‐9761
SCHULZ, ARTHUR D                       10430 AUDIE BROOK DR                                                                                SPRING HILL       FL   34608‐8459
SCHULZ, BARBARA E                      111 TECUMSEH ST APT 502                                                                             PITTSBURGH        PA   15207‐1677
SCHULZ, BRYAN L                        10039 CUMMINS DR                                                                                    DEERFIELD         OH   44411‐8790
SCHULZ, BRYAN LEE                      10039 CUMMINS DR                                                                                    DEERFIELD         OH   44411‐8790
SCHULZ, CARL F                         586 JORDAN RD                                                                                       OLD MONROE        MO   63369‐2618
SCHULZ, CHRIS                          2550 SEYMOUR LAKE RD                                                                                ORTONVILLE        MI   48462‐9267
SCHULZ, CONNIE L                       325 WESTBROOK DR # A                                                                                OSHKOSH           WI   54904‐7829
SCHULZ, D J                            315 W GORDON PIKE TRLR 56                                                                           BLOOMINGTON       IN   47403‐4504
SCHULZ, D JOE                          315 W GORDON PIKE TRLR 56                                                                           BLOOMINGTON       IN   47403‐4504
SCHULZ, DARLENE J                      5340 S 9 MILE RD                                                                                    AUBURN            MI   48611‐9543
SCHULZ, DARLENE J                      5340 S NINE MILE RD                                                                                 AUBURN            MI   48611‐9543
SCHULZ, DAWN M                         2100 MAC ARTHUR RD                APT B                                                             WAUKESHA          WI   53188‐5679
SCHULZ, DAWN MARIE                     2100 MAC ARTHUR RD APT 8                                                                            WAUKESHA          WI   53188‐5679
SCHULZ, DEBORAH                        8355 MERIDIAN RD                                                                                    BANNISTER         MI   48807‐9338
SCHULZ, DONALD E                       BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD        OH   44067
                                                                         PROFESSIONAL BLDG
SCHULZ, DONALD J                       50717 HARBOUR VIEW DR S                                                                             NEW BALTIMORE     MI   48047‐4347
SCHULZ, DONALD M                       410 E STENZIL ST                                                                                    NORTH TONAWANDA   NY   14120‐1757
SCHULZ, DONNA M                        149 BEECHWOOD DR                                                                                    ROCHESTER         NY   14606‐5507
SCHULZ, ELIZABETH A                    231 THISTLEDOWN LANE              P.O.BOX 171                                                       WALWORTH          WI   53184‐9722
SCHULZ, ELIZABETH A                    231 THISTLE DOWN LN               P.O.BOX 171                                                       WALWORTH          WI   53184‐9722
SCHULZ, ERIC C                         2015 BARNES RD                                                                                      NORTH BRANCH      MI   48461‐9316
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Name                        Address1                          Address2                      Address3   Address4         City                 State Zip
SCHULZ, ERIC CHARLES        2015 BARNES RD                                                                              NORTH BRANCH          MI 48461‐9316
SCHULZ, ERICH R             45 INVERNESS RD                                                                             PINEHURST             NC 28374‐8313
SCHULZ, EUGENE P            3797 BROOKS RD                                                                              GASPORT               NY 14067‐9307
SCHULZ, EVELYN R            983 E FREE SOIL RD                                                                          FREE SOIL             MI 49411‐9129
SCHULZ, EVELYN R            983 E FREESOIL                                                                              FREESOIL              MI 49411‐9129
SCHULZ, GARY L              575 E COTTAGE GROVE                                                                         KAW KAWLIN            MI 48631‐9746
SCHULZ, GARY L              575 COTTAGE GROVE RD                                                                        KAWKAWLIN             MI 48631‐9746
SCHULZ, GEORGE H            525 W WESTCHESTER PKWY APT 1230                                                             GRAND PRAIRIE         TX 75052‐2836
SCHULZ, GEORGE HOWARD       525 W WESTCHESTER PKWY APT 1230                                                             GRAND PRAIRIE         TX 75052‐2836
SCHULZ, GERALD W            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510
                                                              STREET, SUITE 600
SCHULZ, GREG R              54 E CAVALIER DR                                                                            CHEEKTOWAGA          NY   14227‐3504
SCHULZ, HENRY               1316 GUARDIAN DR                                                                            VENICE               FL   34292‐1625
SCHULZ, HERBERT F           5800 JOANNE DR                                                                              SANBORN              NY   14132‐9445
SCHULZ, HERBERT G           831 JONATHAN LN                                                                             BLOOMFIELD HILLS     MI   48302
SCHULZ, HOWARD J            8401 CHARTER OAKS APT 5202                                                                  DAVISON              MI   48423
SCHULZ, HOWARD L            4946 WOODWARD AVE                                                                           DOWNERS GROVE        IL   60515‐3331
SCHULZ, INC.                DAVID SCHULZ                      1400 E MAIN ST                                            REEDSBURG            WI   53959‐1403
SCHULZ, INC.                1400 E MAIN ST                                                                              REEDSBURG            WI   53959‐1403
SCHULZ, IVY A               6187 WILLOWBROOK DR                                                                         SAGINAW              MI   48638‐5493
SCHULZ, JAMES J             12 RIVULET WAY                                                                              TRENTON              NJ   08619
SCHULZ, JENNIFER L          8928 TWIN LAKES DR                                                                          WHITE LAKE           MI   48386‐2090
SCHULZ, JENNIFER L          3599 VINEYARD HAVEN DR APT F                                                                LOVELAND             OH   45140‐3672
SCHULZ, JENNIFER L HOOVER   8928 TWIN LAKES DR                                                                          WHITE LAKE           MI   48386‐2090
SCHULZ, JOAN C              3990 SW GREENWOOD WAY C6                                                                    PALM CITY            FL   34990
SCHULZ, JUDITH I            575 COTTAGE GROVE RD                                                                        KAWKAWLIN            MI   48631‐9746
SCHULZ, KATHRYN A           2219 SHIRLAND AVE                                                                           BELOIT               WI   53511‐5747
SCHULZ, KAYLEA M            2431 N WUTHERING HILLS DR                                                                   JANESVILLE           WI   53546‐3421
SCHULZ, KENNETH H           7900 SONNY DR                                                                               BEDFORD              OH   44146
SCHULZ, KENNETH K           10156 E STANLEY RD                                                                          DAVISON              MI   48423‐9307
SCHULZ, KENNETH M           4360 BARTON RD                                                                              LANSING              MI   48917‐1656
SCHULZ, KENNETH R.          2109 PINWOOD CIR                                                                            ARLINGTON            TX   76001‐5652
SCHULZ, KIMBERLY J          7761 RUTHERFORD CT                                                                          CANTON               MI   48187
SCHULZ, LARRY M             4470 W HASLETT RD                                                                           PERRY                MI   48872‐9333
SCHULZ, LEE MITCHELL        2842 DAUGHERTY DRIVE                                                                        ZIONSVILLE           IN   46077‐8715
SCHULZ, LYNNE A             31526 MADISON AVE                                                                           MADISON HTS          MI   48071‐5503
SCHULZ, MARGARET            5372 IVY COURT                                                                              HOWELL               MI   48843‐6148
SCHULZ, MARION P            16259 BELL AVE                                                                              EAST DETROIT         MI   48021‐1150
SCHULZ, MARJORIE L          111 E KILBOURN AVE STE 200                                                                  MILWAUKEE            WI   53202‐6672
SCHULZ, MELISSA A           3110 N ALEXANDER AVE                                                                        ROYAL OAK            MI   48073‐3513
SCHULZ, MICHAEL E           3243 MOBLEY RIDGE RD                                                                        DUCK RIVER           TN   38454‐3455
SCHULZ, MICHAEL J
SCHULZ, MICHAEL S           8092 DUNGARVIN DR                                                                           GRAND BLANC          MI   48439‐8164
SCHULZ, MICHELE H           16 E MANITOU RD                                                                             ROCHESTER            NY   14612‐1065
SCHULZ, NATALIE M           22492 ALEXANDER ST                                                                          SAINT CLAIR SHORES   MI   48081‐2045
SCHULZ, PAUL R              153 CLARK ST                                                                                BUFFALO              NY   14223‐1301
SCHULZ, PAUL RALPH          153 CLARK ST                                                                                BUFFALO              NY   14223‐1301
SCHULZ, RANDALL L           35913 FIERIMONTE DR                                                                         CLINTON TWP          MI   48035‐2109
SCHULZ, REGINALD O          4235 DIRKER RD                                                                              SAGINAW              MI   48638‐5618
SCHULZ, RICHARD A           33682 BROWNLEA DR                                                                           STERLING HEIGHTS     MI   48312‐6618
SCHULZ, RICHARD A           768 GLEN PARK RD                                                                            YOUNGSTOWN           OH   44512‐2705
SCHULZ, RICHARD P           440 N PORTSMOUTH RD                                                                         SAGINAW              MI   48601‐9471
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Name                     Address1                          Address2                            Address3                  Address4         City             State Zip
SCHULZ, RICHARD W        14270 W WILBUR DR                                                                                                NEW BERLIN        WI 53151‐5250
SCHULZ, RICHARD W        76 SCHULZ DR                      LAKE FOREST SUB DIVISON                                                        EUREKA SPRINGS    AR 72631‐9100
SCHULZ, ROBERT D         2907 N PORTAGE AVE                                                                                               GRAYLING          MI 49738‐9799
SCHULZ, ROBERT W         319 FIELDCREST CT                                                                                                NORMAL             IL 61761‐6252
SCHULZ, ROBIN M          32037 29 MILE RD                                                                                                 LENOX             MI 48050‐2414
SCHULZ, ROSE MARIE       242 LOWELL RD                                                                                                    KENMORE           NY 14217‐1222
SCHULZ, STEVEN E         2112 BRIDGEPORT WAY                                                                                              TORRANCE          CA 90503‐8931
SCHULZ, SUSAN            10 PINE CONE DR                                                                                                  CANFIELD          OH 44406‐8207
SCHULZ, THADDEUS T       APT 209                           3209 SOUTH LAKE DRIVE                                                          SAINT FRANCIS     WI 53235‐3764
SCHULZ, THOMAS E         3990 EMBARCADERO ST                                                                                              WATERFORD         MI 48329‐2246
SCHULZ, THOMAS J         2219 SHIRLAND AVE                                                                                                BELOIT            WI 53511‐5747
SCHULZ, TOBY T           6508 GRANNY SMITH LN                                                                                             AVON              IN 46123‐7699
SCHULZ, VIRGINIA M       43945 MERRILL ROAD                                                                                               STERLING HTS      MI 48314‐1439
SCHULZ, WAYNE D          1321 VIMLA WAY                                                                                                   XENIA             OH 45385‐5730
SCHULZ, WAYNE J          3322 BRENTWAY DR                                                                                                 BAY CITY          MI 48706‐3324
SCHULZ, WILBERT R        23031 FARMINGTON RD               PINEWOODS CONDO                                                                FARMINGTON        MI 48336‐3919
SCHULZ, WILLIAM M        1918 ROTHBURY DR                                                                                                 WIXOM             MI 48393‐1179
SCHULZ, WILLIS E         6017 N CAROLINA DR                                                                                               SEBRING           FL 33870‐5120
SCHULZE & BURGESS CO     51915 GRATIOT AVE                                                                                                CHESTERFIELD      MI 48051‐2018
SCHULZE AND BURGESS CO   51915 GRATIOT AVE                                                                                                CHESTERFIELD      MI 48051‐2018
SCHULZE BRIAN            710 FOXWOOD TRAIL                                                                                                ORTONVILLE        MI 48462‐9068
SCHULZE, ALBERT C        7531 W BELOIT NEWARK RD                                                                                          BELOIT            WI 53511‐9638
SCHULZE, BRIAN           710 FOXWOOD TRL                                                                                                  ORTONVILLE        MI 48462‐9068
SCHULZE, CAROL J         STE 300                           8000 COIT ROAD                                                                 PLANO             TX 75025‐6820
SCHULZE, CATHERINE M     779 SPENCER LN                                                                                                   LINDEN            MI 48451‐8508
SCHULZE, CURT J          133 W CHRISTINA BLVD                                                                                             LAKELAND          FL 33813
SCHULZE, DAWN M          4137 MONROE RD                    C/O DAWN SCHULZE                                                               ALLEGAN           MI 49010‐8935
SCHULZE, DEAN M          PO BOX 138                                                                                                       MAPLE RAPIDS      MI 48853‐0138
SCHULZE, DOLLENE         5618 CELLO WAY                                                                                                   FREMONT           CA 94538‐3213
SCHULZE, DONNA L.        7621 E BATTLE GROVE RD                                                                                           BALTIMORE         MD 21222‐3561
SCHULZE, ERNEST          ATTN LYNNE KIZIS ESQ              WILENTZ GOLDMAN AND SPITZER         90 WOODBRIDGE CENTER DR                    WOODBRIDGE        NJ 07095

SCHULZE, ERNEST          WILENTZ GOLDMAN & SPITZER         88 PINE STREET, WALL STREET PLAZA                                              NEW YORK         NY 10005

SCHULZE, FELIX M         15432 LENNANE
SCHULZE, GARY E          4517 RUGER AVE                                                                                                   JANESVILLE       WI   53546‐8679
SCHULZE, GERALD A        611 HOUGHTON VIEW DR                                                                                             PRUDENVILLE      MI   48651‐9764
SCHULZE, GREGORY M       12 COUNTY FAIR TRL                                                                                               SAINT PETERS     MO   63376‐6745
SCHULZE, HANS G          16013 E 37TH ST S                                                                                                INDEPENDENCE     MO   64055‐3726
SCHULZE, HERBERT W       1316 APACHE ST                                                                                                   ARLINGTON        TX   76012‐4358
SCHULZE, HOWARD P        508 AMHERST DR                                                                                                   BRICK            NJ   08723‐5004
SCHULZE, JACK A          1311 VALLETA DR                                                                                                  HOUSTON          TX   77008‐5135
SCHULZE, JACKIE S        114 NORTH PALM STREET                                                                                            JANESVILLE       WI   53548
SCHULZE, JUDITH          3007 NE 124TH TER                                                                                                KANSAS CITY      MO   64166‐1063
SCHULZE, KARL J          11105 W MAPLE RAPIDS RD                                                                                          FOWLER           MI   48835‐9610
SCHULZE, LOUIS W         2629 LORIS DR                                                                                                    DAYTON           OH   45449‐3224
SCHULZE, MARY            10 CEDAR HILL RD                                                                                                 BALTIMORE        MD   21225‐3902
SCHULZE, MELVIN L        4161 WOODLAND ST                                                                                                 NATIONAL CITY    MI   48748‐9560
SCHULZE, PAUL E          3007 NE 124TH TER                                                                                                KANSAS CITY      MO   64166‐1063
SCHULZE, RICHARD C       1226 BLUFF ST                                                                                                    BELOIT           WI   53511‐4362
SCHULZE, RICHARD H
SCHULZE, RUSSELL W       201 13TH ST S                                                                                                    HUDSON           WI 54016‐2077
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Name                                Address1                         Address2                      Address3   Address4               City                 State Zip
SCHULZE, RUSSELL WERNER             201 13TH ST S                                                                                    HUDSON                WI 54016‐2077
SCHULZE, TIMOTHY                    141 GRAND ST 2                                                                                   CROTON ON HUDSON      NY 10520
SCHULZE, VIRGINIA F                 508 AMHURST DRIVE                                                                                BRICKTOWN             NJ 08723‐5004
SCHUM, COURTNEY P                   5586 OVERBROOKE RD                                                                               DAYTON                OH 45440‐2315
SCHUM, PHYLLIS M                    13275 PARK ST APT 2                                                                              ALDEN                 NY 14004‐1035
SCHUMACH JIM & BONNIE               31599 210TH ST                                                                                   SLEEPY EYE            MN 56085‐4324
SCHUMACHER AUTOMOTIVE INC.          CHARLES SCHUMACHER               3720 NORTHLAKE BLVD                                             PALM BEACH GARDENS    FL 33403‐1630
SCHUMACHER BUICK                    3031 OKEECHOBEE BLVD                                                                             WEST PALM BEACH       FL 33409‐4015
SCHUMACHER BUICK OLDS INC           3001 OKEECHOBEE BLVD                                                                             WEST PALM BEACH       FL 33409‐4015
SCHUMACHER BUICK‐OLDSMOBILE, INC.   CHARLES SCHUMACHER               3031 OKEECHOBEE BLVD                                            WEST PALM BEACH       FL 33409‐4066

SCHUMACHER BUICK‐PONTIAC‐GMC‐       3031 OKEECHOBEE BLVD                                                                             WEST PALM BEACH       FL   33409‐4015
HUMMER
SCHUMACHER CHEVROLET INC            8 MAIN ST                                                                                        LITTLE FALLS          NJ   07424‐1524
SCHUMACHER CHEVROLET INC            JUDITH TILTON                    8 MAIN ST                                                       LITTLE FALLS          NJ   07424‐1524
SCHUMACHER CHEVROLET‐PONTIAC‐BUICK‐ 3720 NORTHLAKE BLVD                                                                              PALM BEACH GARDENS    FL   33403‐1630

SCHUMACHER CHEVROLET‐PONTIAC‐BUICK‐ 3720 NORTHLAKE BLVD                                                                              PALM BEACH GARDENS    FL   33403‐1630
GMC
SCHUMACHER CLETUS M (439487)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK              VA 23510
                                                                     STREET, SUITE 600
SCHUMACHER CLIFF                    1 ELM BEND TRL                                                                                   TRAVELERS REST       SC    29690‐4089
SCHUMACHER CYNTHIA                  314 BAIR RD                                                                                      BERWYN               PA    19312‐1408
SCHUMACHER DAVID & LINDA            8525 MOSS RD                                                                                     LITTLE VALLEY        NY    14755‐9794
SCHUMACHER DENNIS & JOALLEN         8634 N KILBUCK RD                                                                                MONROE CENTER        IL    61052‐9721
SCHUMACHER ELECTRIC                 630 CESAR E CHAVEZ AVE                                                                           PONTIAC              MI    48342‐1057
SCHUMACHER INDUSTRIES LTD           65 HOWARD PLACE                                                           KITCHENER ON N2K 2Z4
                                                                                                              CANADA
SCHUMACHER JAMES                    5264 EAST ONYX AVENUE                                                                            PARADISE VLY         AZ    85253‐1134
SCHUMACHER JR, DONALD A             48 HARRISON AVE                                                                                  LOCKPORT             NY    14094‐3226
SCHUMACHER JR, JOHN W               3700 S WESTPORT AVE #882                                                                         SIOUX FALLS          SD    57106
SCHUMACHER KIMBERLY                 1715 MIDWEST CLUB PKWY                                                                           OAK BROOK             IL   60523‐2586
SCHUMACHER PONTIAC‐BUICK‐GMC        CHARLES SCHUMACHER               3720 NORTHLAKE BLVD                                             PALM BEACH GARDENS   FL    33403‐1630
SCHUMACHER SAAB                     SCHUMACHER, CHARLES A            3031 OKEECHOBEE BLVD                                            WEST PALM BEACH      FL    33409‐4015
SCHUMACHER SAAB                     3031 OKEECHOBEE BLVD                                                                             WEST PALM BEACH      FL    33409‐4015
SCHUMACHER'S CAR CARE CENTER        414 STRANDER AVE                                                                                 CROOKSTON            MN    56716
SCHUMACHER, ALBERT L                N2209 ALDER RD                                                                                   MERRILL              WI    54452‐8638
SCHUMACHER, ALFRED H                2750 60TH ST SE                                                                                  GRAND RAPIDS         MI    49508‐6612
SCHUMACHER, ALICE M                 591 N EIFERT RD                                                                                  MASON                MI    48854‐9558
SCHUMACHER, AMY J                   8472 CHESTNUT RIDGE ROAD                                                                         GASPORT              NY    14067‐9348
SCHUMACHER, ARTHUR J                1937 COOPER AVE                                                                                  LANSING              MI    48910‐2462
SCHUMACHER, BRADLEY W               403 CHICAGO ST                                                                                   MILTON               WI    53563‐1509
SCHUMACHER, BRENDA J                719 W CENTER ST                                                                                  WHITEWATER           WI    53190‐1809
SCHUMACHER, BRYON W                 642 SAINT JOHNS AVE                                                                              MILTON               WI    53563‐1694
SCHUMACHER, CATHY A                 16645 POMONA DR                                                                                  REDFORD              MI    48240‐2459
SCHUMACHER, CATHY R                 291 COUNTRY FOREST DR                                                                            FORT WAYNE           IN    46818‐1488
SCHUMACHER, CHRISTEY                240 FREDCOMBS DR                                                                                 HAZARD               KY    41701
SCHUMACHER, CHRISTEY                240 FRED COMBS DR                                                                                HAZARD               KY    41701‐6520
SCHUMACHER, CHRISTOPHER J           301 SOUTH STREET                 APARTMENT 1                                                     SOCORRO              NM    87801
SCHUMACHER, CHRISTOPHER J           TRLR 1                           301 5TH STREET SOUTH                                            SOCORRO              NM    87801‐5820
SCHUMACHER, CINDY J                 3526 TOWNLINE RD                                                                                 BELOIT               WI    53511
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Name                       Address1                           Address2                      Address3   Address4         City               State Zip
SCHUMACHER, CLETUS M       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                              STREET, SUITE 600
SCHUMACHER, CRAIG A        216 ROCKSHIRE DR                                                                             JANESVILLE         WI   53546‐2175
SCHUMACHER, DAVID J        2120 GOODRICH DR                                                                             OKLAHOMA CITY      OK   73170‐7445
SCHUMACHER, DAVID T        3598 GRAFTON ST                                                                              ORION              MI   48359‐1535
SCHUMACHER, DAVID W        101 N CLEAR LAKE AVE                                                                         MILTON             WI   53563‐1005
SCHUMACHER, DENISE A       9879 S BYRON RD                                                                              DURAND             MI   48429‐8907
SCHUMACHER, DENNIS D       4615 TWELVE OAKS DR                                                                          MILTON             WI   53563‐8465
SCHUMACHER, DENNIS E       8703 WILSON RD                                                                               HUBBARDSTON        MI   48845‐9214
SCHUMACHER, DORIS A        701 SUMMIT AVE APT 26                                                                        NILES              OH   44446‐3650
SCHUMACHER, DOROTHY L      2467 STATE ROUTE 730               C/O BARRY E CAMPBELL                                      WILMINGTON         OH   45177‐9102
SCHUMACHER, DOUGLAS D      2829 ISLE ST                                                                                 ROCKLIN            CA   95765‐5181
SCHUMACHER, E D            EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                       DETROIT            MI   48265‐2000

SCHUMACHER, EDNA           ROUTE #1 4795 KINSEL HWY E                                                                   CHARLOTTE          MI   48813
SCHUMACHER, EDWARD         APT B                              33 PLAZA DRIVE                                            MOUNT VERNON       OH   43050‐2150
SCHUMACHER, EDWIN G        1646 RAUB RD                                                                                 FRANKLINVILLE      NY   14737‐9509
SCHUMACHER, ERIN A         8644ERNEST RD                                                                                GASPORT            NY   14067‐9357
SCHUMACHER, ERIN A         10 WEBB STREET LOWER UNIT                                                                    LOCKPORT           NY   14094
SCHUMACHER, FRANCIS J      6920 CEDAR ST                                                                                AKRON              NY   14001‐9669
SCHUMACHER, G F            1301 STATE ROUTE 523 LOT 33                                                                  FREMONT            OH   43420‐9111
SCHUMACHER, GARY A         725 BLAKE DR                                                                                 FORT WAYNE         IN   46804‐1009
SCHUMACHER, GEORGE C       2048 HEDIGHAM BLVD                                                                           WIXOM              MI   48393‐1716
SCHUMACHER, GEORGE H       455 TERRI CT                                                                                 BEAVERCREEK        OH   45430‐2095
SCHUMACHER, GILBERT E      424 MCKINLEY AVE                                                                             GROSSE POINTE      MI   48236‐3240
SCHUMACHER, GLEN M         3609 KINGSBERRY ST                                                                           RACINE             WI   53406‐1147
SCHUMACHER, GLENORA        15393 15 MILE RD APT 113                                                                     CLINTON TOWNSHIP   MI   48035‐2195
SCHUMACHER, GLENORA        15393 FIFTEEN MILE RD              APT #113                                                  CLINTON TOWNSHIP   MI   48035
SCHUMACHER, GREGORY J      3810 S BANCROFT RD                                                                           DURAND             MI   48429‐9719
SCHUMACHER, GREGORY JOHN   3810 S BANCROFT RD                                                                           DURAND             MI   48429‐9719
SCHUMACHER, HENRY C        405 E MADISON AVE                                                                            MILTON             WI   53563‐1318
SCHUMACHER, HENRY C        405 EAST MADISON AVENUE                                                                      MILTON             WI   53563‐1318
SCHUMACHER, IRENE B        2796 PURDUE DR                                                                               KETTERING          OH   45420‐3456
SCHUMACHER, IRENE B        2796 PURDUE RD                                                                               KETTERING          OH   45420‐3456
SCHUMACHER, JAMES R        6071 ANGLEVIEW DR                                                                            SYLVANIA           OH   43560‐1209
SCHUMACHER, JAMES ROBERT   6071 ANGLEVIEW DR                                                                            SYLVANIA           OH   43560‐1209
SCHUMACHER, JEANNINE       342 S RANDALL AVE                                                                            JANESVILLE         WI   53545‐4251
SCHUMACHER, JENNIFER J     165 S JOHN PAUL RD APT 16                                                                    MILTON             WI   53563‐1253
SCHUMACHER, JEROME         95 OAKDALE EST                                                                               STURTEVANT         WI   53177
SCHUMACHER, JOHN T         219 LOCKWOOD ST                                                                              SAGINAW            MI   48602‐3027
SCHUMACHER, JOSEPH M       3617 STONY POINT RD                                                                          GRAND ISLAND       NY   14072‐1124
SCHUMACHER, KAREN K        3801 N SPRING HILL DR                                                                        JANESVILLE         WI   53545‐9591
SCHUMACHER, KATHLEEN M     2816 MANCHESTER DR                                                                           JANESVILLE         WI   53545‐0600
SCHUMACHER, KATHY S        1115 GEORGE ST                                                                               LANSING            MI   48910‐1230
SCHUMACHER, KEVIN E        2129 S ELLIS RD                                                                              JANESVILLE         WI   53548‐9268
SCHUMACHER, LARRY L        4433 FAIRFIELD DR                                                                            JANESVILLE         WI   53546‐3312
SCHUMACHER, LAVERNE H      5147 LAKESHORE RD                                                                            DECKERVILLE        MI   48427‐9601
SCHUMACHER, LINDA L        33 PLAZA DR APT B                                                                            MOUNT VERNON       OH   43050‐2150
SCHUMACHER, MARK G         1201 E TIMBER PKWY                                                                           MILTON             WI   53563‐9429
SCHUMACHER, MARY           11842 BEECH RD                                                                               BROOKLYN           MI   49230‐9549
SCHUMACHER, MARYANN        5211 N VANDYKE                                                                               KINDE              MI   48445‐9602
SCHUMACHER, MARYANN        5211 N VAN DYKE RD                                                                           KINDE              MI   48445‐9602
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Name                      Address1                            Address2                       Address3   Address4         City             State Zip
SCHUMACHER, MATTHEW S     PO BOX 43084                                                                                   NOTTINGHAM        MD 21236‐0084
SCHUMACHER, MAURUS J      2033 BUTTERFLY LN APT 326                                                                      NAPERVILLE         IL 60563‐4188
SCHUMACHER, MAYNARD E     5237 NORTH GRANDEUR DRIVE                                                                      MILTON            WI 53563‐9461
SCHUMACHER, MICHAEL A
SCHUMACHER, MICHELLE A    725 BLAKE DR                                                                                   FORT WAYNE       IN    46804‐1009
SCHUMACHER, NELDA R       6029 BELSAY RD                                                                                 GRAND BLANC      MI    48439‐9734
SCHUMACHER, NORMAN J      5381 WINDSWEPT LN                                                                              HOUSE SPRINGS    MO    63051‐4500
SCHUMACHER, PAUL S        7315 N SMALLEY AVE                                                                             KANSAS CITY      MO    64158
SCHUMACHER, PAUL W        342 S RANDALL AVE                                                                              JANESVILLE       WI    53545‐4251
SCHUMACHER, PETER J       3175 ENDICOTT DR                                                                               BOULDER          CO    80305‐6902
SCHUMACHER, PHILLIP J     7550 CHANDLER CT                                                                               SAGAMORE HILLS   OH    44067‐3304
SCHUMACHER, RAE H         9527 W GOOD HOPE RD                                                                            MILWAUKEE        WI    53224‐3909
SCHUMACHER, RANDY R       6296 TIMBERLYNE WAY                                                                            MACHESNEY PK      IL   61115‐7651
SCHUMACHER, RICHARD A     830 WESTVIEW DR APT #28                                                                        OSSIAN           IN    46777
SCHUMACHER, RICHARD F     7385 DENTON HILL RD                                                                            FENTON           MI    48430‐9481
SCHUMACHER, ROBERT B      PO BOX 523                                                                                     WALTERVILLE      OR    97489‐0523
SCHUMACHER, ROBERT F      1302 BELOIT AVE                                                                                JANESVILLE       WI    53546‐2633
SCHUMACHER, ROBERT G      1947 136TH AVE                                                                                 DORR             MI    49323‐9584
SCHUMACHER, ROBERT H      10237 MILL RD                                                                                  MEDINA           NY    14103‐9445
SCHUMACHER, ROBERT I      1465 SAUTERN DR                                                                                FORT MYERS       FL    33919‐2730
SCHUMACHER, ROBERT L      4023 RIVERSITES DR                                                                             OMER             MI    48749‐9734
SCHUMACHER, ROGER A       1029 SENTINEL DR                                                                               JANESVILLE       WI    53546‐1781
SCHUMACHER, ROGER A       1244 W OAKLAND ST                                                                              CHANDLER         AZ    85224‐4344
SCHUMACHER, SCOTT A       3479 W CREEDY RD                                                                               BELOIT           WI    53511‐8763
SCHUMACHER, SCOTT F       6343 ADAMSON DR                                                                                WATERFORD        MI    48329
SCHUMACHER, STEVEN D      1416 BROOKMARK ST SE                                                                           KENTWOOD         MI    49508‐6117
SCHUMACHER, STEVEN T      4237 RACE RD                                                                                   LESLIE           MI    49251‐9446
SCHUMACHER, TERRY G       2765 STENZEL AVE                                                                               N TONAWANDA      NY    14120‐1007
SCHUMACHER, TERRY G.      2765 STENZEL AVE                                                                               N TONAWANDA      NY    14120‐1007
SCHUMACHER, THOMAS A      3278 E NORWICH AVE                                                                             SAINT FRANCIS    WI    53235‐4913
SCHUMACHER, THOMAS W      6155 S CREEKSIDE DR UNIT 8                                                                     CUDAHY           WI    53110‐3427
SCHUMACHER, TIMOTHY J     4924 CHRISTIANSEN RD                                                                           LANSING          MI    48910
SCHUMACHER, WILLIAM A     9691 SILVERSIDE                                                                                SOUTH LYON       MI    48178‐9317
SCHUMACHER, WILLIAM B     GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW          MI    48604‐2602
                                                              260
SCHUMACHER, WILLIAM G     88 JACKSON ST                                                                                  LOCKPORT         NY    14094‐2308
SCHUMACKER, DOUGLAS       1240 DEER PATH TRL                                                                             OXFORD           MI    48371‐6608
SCHUMAKE, WILLIAM         5309 AUDUBON                                                                                   DETROIT          MI    48224
SCHUMAKER JR, HERBERT G   11784 ROAD Z                                                                                   COLUMBUS GRV     OH    45830‐9720
SCHUMAKER, ADAM R         1044 E HARRY AVE                                                                               HAZEL PARK       MI    48030‐2151
SCHUMAKER, ANITA          30816 LONGFELLOW                                                                               MADISON HGHTS    MI    48071‐2085
SCHUMAKER, BETTY          301 GREYSTONE ST                                                                               SUTHERLIN        OR    97479‐9882
SCHUMAKER, CARROLL A      13804 BLAZEY TRL                                                                               STRONGSVILLE     OH    44136‐3752
SCHUMAKER, CLAUDE C       12145 ROAD Q                                                                                   COLUMBUS GRV     OH    45830‐9746
SCHUMAKER, DAVID E        553 MONROE AVE                                                                                 APOPKA           FL    32703‐4466
SCHUMAKER, DAVID L        109 SW 6TH ST                                                                                  BLUE SPRINGS     MO    64014‐2719
SCHUMAKER, MICHAEL A      392 W HARWOOD AVE                                                                              MADISON HTS      MI    48071‐3938
SCHUMAKER, NADINE         109 SW 6TH ST                                                                                  BLUE SPRINGS     MO    64014‐2719
SCHUMAKER, RICHARD J      2259 BRIAR HILLS DR NE                                                                         GRAND RAPIDS     MI    49505‐4429
SCHUMAKER, ROBERT L       65 S HARMONY DR                                                                                JANESVILLE       WI    53545‐2670
SCHUMAKER, VERA H         PO BOX 103                                                                                     MASON CITY       IA    50402‐0103
SCHUMAKER, VERA H         602 N. VICTORIA RD. MH‐17                                                                      DONNA            TX    78537‐9730
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Name                       Address1                           Address2                         Address3   Address4         City              State Zip
SCHUMAL, MICHAEL J         13630 S 41ST WAY                                                                                PHOENIX            AZ 85044‐4666
SCHUMAN JR, RONALD C       2811 GLEN RIDGE CT                                                                              ARLINGTON          TX 76016‐4916
SCHUMAN JR, RONALD CARL    2811 GLEN RIDGE CT                                                                              ARLINGTON          TX 76016‐4916
SCHUMAN MARVIN M           713 HARRINGTON LAKE DR S                                                                        VENICE             FL 34293‐4235
SCHUMAN ROBERT (447570)    BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD         OH 44067
                                                              PROFESSIONAL BLDG
SCHUMAN, ALBERT J          28889 SAINT JOE DR                                                                              WEST HARRISON     IN    47060‐8341
SCHUMAN, ALMA J            26601 COOLIDGE HWY                 C/O GUARDIAN CARE                                            OAK PARK          MI    48237‐1135
SCHUMAN, BRUCE A           10646 KENICOTT TRL                                                                              BRIGHTON          MI    48114‐9075
SCHUMAN, DANNY R           15490 COUZENS AVE                                                                               EASTPOINTE        MI    48021‐2266
SCHUMAN, FREDERICK W       7946 FAIRWAY ST                                                                                 PRAIRIE VILLAGE   KS    66208‐3936
SCHUMAN, GARY A            4165 WINDIATE PARK DR                                                                           WATERFORD         MI    48329‐1262
SCHUMAN, JAMES R           1162 BRADFORD ST NW                                                                             WARREN            OH    44485‐1960
SCHUMAN, JAMES R           1162 BRADFORD NW                                                                                WARREN            OH    44485‐1960
SCHUMAN, JOANNE T          1162 BRADFORD NW                                                                                WARREN            OH    44485‐1960
SCHUMAN, JOANNE T          1162 BRADFORD ST NW                                                                             WARREN            OH    44485‐1960
SCHUMAN, LENORA H          9668 BARNES RD                                                                                  BIRCH RUN         MI    48415‐9601
SCHUMAN, LEROY J           28736 SAINT JOE DR                                                                              WEST HARRISON     IN    47060‐8342
SCHUMAN, LISA              9634 BARNES RD                                                                                  BIRCH RUN         MI    48415‐9601
SCHUMAN, MARVIN M          713 HARRINGTON LAKE DR S                                                                        VENICE            FL    34293‐4235
SCHUMAN, MONROE B          9857 GA HIGHWAY 204                                                                             ELLABELL          GA    31308‐7008
SCHUMAN, NORMAN E          6764 S YALE DR                                                                                  FRANKLIN          WI    53132‐9060
SCHUMAN, PHILIP A          1036 SENTINEL DR                                                                                JANESVILLE        WI    53546‐1780
SCHUMAN, ROBERT            BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                 NORTHFIELD        OH    44067
                                                              PROFESSIONAL BLDG
SCHUMAN, ROGER E           3610 N HICKORY DR                                                                               JANESVILLE        WI    53545‐9023
SCHUMAN, ROGER G           10000 W RIDGEWOOD DR APT 203                                                                    PARMA HEIGHTS     OH    44130‐4039
SCHUMAN, SHARON A          1036 SENTINEL DR                                                                                JANESVILLE        WI    53546‐1780
SCHUMAN, STEVE T           10143 FREEDOMS WAY                                                                              KEITHVILLE        LA    71047‐8950
SCHUMAN, STEVE THOMAS      10143 FREEDOMS WAY                                                                              KEITHVILLE        LA    71047‐8950
SCHUMANN JOHN G (439488)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA    23510
                                                              STREET, SUITE 600
SCHUMANN, BETTY A          73 OLD KAWKAWLIN ROAD                                                                           BAY CITY          MI    48706‐2116
SCHUMANN, BRENDA L         P.O. BOX 70                        0‐4555 LEONARD                                               LAMONT            MI    49430
SCHUMANN, DAVID A          0‐4555 LEONARD                                                                                  LAMONT            MI    49430
SCHUMANN, DONNA LOU        1502 DRUID DR                                                                                   COPLEY            OH    44321‐2008
SCHUMANN, DOUGLAS W        407 LINCOLN RD                                                                                  GROSSE POINTE     MI    48230‐1606
SCHUMANN, JAMES F          3334 NORTHWAY DR                                                                                BAY CITY          MI    48706‐3335
SCHUMANN, JENNA M          152 WAYNESBOROUGH WAY                                                                           MANKATO           MN    56001‐6457
SCHUMANN, JOHN G           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA    23510‐2212
                                                              STREET, SUITE 600
SCHUMANN, LINDA L          5236 HANSEN DR                                                                                  ANTIOCH           CA    94531‐9096
SCHUMANN, REINHOLD F       5236 HANSEN DR                                                                                  ANTIOCH           CA    94531‐9096
SCHUMANN, RICHARD A        100 RIVERSIDE DR APT 402                                                                        COCOA             FL    32922‐7864
SCHUMANN, RICHARD F        921 S MACKINAW RD                                                                               KAWKAWLIN         MI    48631‐9471
SCHUMANN, THOMAS W         2521 E TOWNLINE 16 RD                                                                           PINCONNING        MI    48650‐7409
SCHUMANN, VIRGINIA D       325 4TH ST                         RT. #4                                                       CEDAR SPRINGS     MI    49319‐9402
SCHUMANN, VIRGINIA D       325 FOURTH STREET                  RT. #4                                                       CEDAR SPRINGS     MI    49319‐9402
SCHUMATE HARRY (456461)    SKAGGS JOHN H                      405 CAPITOL STREET ‐ SUITE 607                               CHARLESTON        WV    25301
SCHUMATE, HARRY            SKAGGS JOHN H                      405 CAPITOL STREET ‐ SUITE 607                               CHARLESTON        WV    25301
SCHUMATE, MICHAEL
SCHUMATE, REBECCA          TRACY FIRM                         5473 BLAIR RD STE 200                                        DALLAS             TX   75231‐4168
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Name                           Address1                         Address2            Address3         Address4              City               State Zip
SCHUMER, DANNY J               4242 BRISTOW RD                                                                             BOWLING GREEN       KY 42103‐9526
SCHUMER, JOHN L                1008 CARRIAGE RUN DR                                                                        SAINT CHARLES       MO 63303‐6617
SCHUMER, JOYCE M               8 VENTNOR CIR                                                                               BELLA VISTA         AR 72715‐2330
SCHUMER, JOYCE M               14 SOUTH MURRY LANE                                                                         ROLLA               MO 65401‐3647
SCHUMETH, ROSE M               5635 PADDINGTON RD.                                                                         DAYTON              OH 45459‐5459
SCHUMEYER, ADELAIDE A          3207 NW 67TH ST                                                                             COCONUT CREEK       FL 33073‐3228
SCHUMITSCH, FRANK E            6321 WAGNER AVENUE                                                                          GRAND BLANC         MI 48439‐9115
SCHUMITSCH, GILBERT J          6631 N NORTH LAKE RD                                                                        MAYVILLE            MI 48744‐9577
SCHUMITSH, DONALD G            13598 CLAIRMONT                                                                             MIDDLEBRG HTS       OH 44130
SCHUMM, CHERYL A               821 TRUMBULL DRIVE                                                                          NILES               OH 44446‐2125
SCHUMM, JOE L                  14906 S HARBOURSIDE DR                                                                      FORT WAYNE          IN 46814‐8916
SCHUMM, JOE LEE                14906 S HARBOURSIDE DR                                                                      FORT WAYNE          IN 46814‐8916
SCHUMM, RICHARD H              821 TRUMBULL                                                                                NILES               OH 44446‐2125
SCHUMM, RICHARD H              821 TRUMBULL DR                                                                             NILES               OH 44446‐2125
SCHUMM, ROGER D                5933 TULLY HARRISON RD                                                                      CONVOY              OH 45832‐9133
SCHUMM, TERESA
SCHUMMER, HANS J               NAHE STR 28                                                           D65428 RUESSELSHEIM
                                                                                                     GERMANY
SCHUMMER, PHILIP J             56192 HEATHROW DR                                                                           SHELBY TWP         MI   48316‐5506
SCHUMMER, RICHARD F            2070 SUZANNE DR                                                                             SWARTZ CREEK       MI   48473‐9720
SCHUMPERT, HELEN C             2143 OAK ST                                                                                 COLUMBIA           SC   29204‐1173
SCHUMPERT, OTHA D              4665 KESSELER COWELSVILLE                                                                   W MILTON           OH   45383
SCHUMUKER DEBORAH              165 54TH ST SW                                                                              WYOMING            MI   49548‐5611
SCHUNCK, CHARLES E             3913 FLINT RIVER RD                                                                         COLUMBIAVILLE      MI   48421‐9612
SCHUNCKE, MICHAEL F            800 BETTY LYNN ST                                                                           OSCEOLA            AR   72370‐1704
SCHUNEMAN, ARTHUR K            584 LITTLE YORK RD                                                                          DAYTON             OH   45414‐1332
SCHUNEMAN, FLORENCE E          1103 N OAK ST                                                                               ROCHESTER          MI   48307‐1129
SCHUNEMAN, NANCY A             6223 E HOUGHTON LAKE DR                                                                     HOUGHTON LAKE      MI   48629‐8306
SCHUNER, DORIS W               144 LAKEWOOD VLG                                                                            MEDINA             NY   14103‐1848
SCHUNER, DORIS W               144 LAKEWOOD VILLAGE                                                                        MEDINA             NY   14103‐1848
SCHUNER, MICHAEL K             3767 BATES RD                                                                               MEDINA             NY   14103‐9602
SCHUNK GMBH & CO KG SPANNUND   PO BOX 91023                     211 KITTY HAWK DR                                          RALEIGH            NC   27675‐1023
GREIFT
SCHUNK INTEC                   211 KITTY HAWK DR                                                                           MORRISVILLE        NC   27560‐8548
SCHUNK INTEC INC               PO BOX 91023                     211 KITTY HAWK DR                                          RALEIGH            NC   27675‐1023
SCHUNK, CHRISTOPHER G          123 BROMPTON RD                                                                             WILLIAMSVILLE      NY   14221‐5944
SCHUNK, RONALD F               20 OEHMAN BLVD                                                                              CHEEKTOWAGA        NY   14225‐2118
SCHUNKE, CARL E                8836 E COUNTY ROAD 100 N                                                                    AVON               IN   46123‐9185
SCHUNKE, CARL F                3462 W 10TH ST                                                                              INDIANAPOLIS       IN   46222‐3486
SCHUNKE, EDWIN C               5432 W 16TH ST                                                                              SPEEDWAY           IN   46224‐6405
SCHUNKE, KAREN M               31 SOUTHRIDGE DR                                                                            WEST SENECA        NY   14224‐4442
SCHUNKE, NORMAN D              24 JANINE CT                                                                                CHEEKTOWAGA        NY   14227‐3112
SCHUNN, THOMAS A               108 FAIRFIELD LN                                                                            PENDLETON          IN   46064‐9535
SCHUNTER, ANNETTE S            12306 COLDWATER RD                                                                          FLUSHING           MI   48433‐9785
SCHUNTER, HELGA R              12140 COLDWATER ROAD                                                                        FLUSHING           MI   48433‐3401
SCHUNTER, JULIE R              3021 CURTIS DR                                                                              FLINT              MI   48507‐1217
SCHUPAN & SONS INC             2619 MILLER RD                                                                              KALAMAZOO          MI   49001‐4138
SCHUPBACH, ATLEE C             90 BOBOLINK ST # 10                                                                         ROCHESTER HILLS    MI   48309
SCHUPBACH, CHRISTOPHER W       35 TWIN LAKE DR APT 11                                                                      LAKE SAINT LOUIS   MO   63367‐2733
SCHUPBACH, CHRISTOPHER W.      35 TWIN LAKE DR APT 11                                                                      LAKE SAINT LOUIS   MO   63367‐2733
SCHUPBACH, GARY R              2813 DOSS RD                                                                                BURLESON           TX   76028‐1952
SCHUPBACH, GARY RICHARD        2813 DOSS RD                                                                                BURLESON           TX   76028‐1952
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SCHUPBACH, GREGORY A       11528 BALFOUR DR                                                                                               FENTON               MI 48430‐9062
SCHUPBACH, LESLIE D        6802 DELTA RIVER DR                                                                                            LANSING              MI 48906‐9002
SCHUPBACH, LILA A          2747 LLAMA COURT                                                                                               CARLSBAD             CA 92009‐6518
SCHUPBACH, RICHARD L       4483 LYNNE LN                                                                                                  COMMERCE TOWNSHIP    MI 48382‐1616
SCHUPBACH, WENDY J         N4097 PARK RD                                                                                                  BRODHEAD             WI 53520‐9660
SCHUPE, DENNIS
SCHUPICK AUTOMOTIVE        305 DIVISION ST                                                                                                BURLINGTON          IA 52601‐5532
SCHUPLIN, HUBERT A         8628 TOMY LEE TRL                                                                                              FLUSHING            MI 48433‐8806
SCHUPLIN, LUCY T           2425 FAIR LN                                                                                                   BURTON              MI 48509‐1309
SCHUPP DAWN                SCHUPP, DAWN
SCHUPP DAWN                SCHUPP, DAWN                        SCHUPP DAWN                    29 WEST PARD ROAD                           GRAND ISLAND        NY   14072
SCHUPP THOMAS              124 FREMONT PL                                                                                                 LOS ANGELES         CA   90005‐3867
SCHUPP, DAVID M            7943 NW 76TH TER                                                                                               KANSAS CITY         MO   64152‐4418
SCHUPP, DAWNE M            29 WEST PARK ROAD                   APT. ‐ LEFT SIDE                                                           GRAND ISLAND        NY   14072
SCHUPP, DAWNE MARIE        29 WEST PARK ROAD                   APT. ‐ LEFT SIDE                                                           GRAND ISLAND        NY   14072
SCHUPP, JOHN S             12029 FOOD LN                                                                                                  GRANDVIEW           MO   64030‐1336
SCHUPP, LUANN              171 HANEY RD LOT #5                                                                                            BRANSON             MO   65616
SCHUPP, SHERYL L           7044 ARROWHEAD DR                                                                                              LOCKPORT            NY   14094‐7933
SCHUPPAN, ELIZABETH K      113 UPPER FERRY                                                                                                TRENTON             NJ   08628‐1528
SCHUPPENHAUER, RICHARD W   1437 DOEBLER DR                                                                                                NORTH TONAWANDA     NY   14120‐2207
SCHUPPERT HEINZ            HEINZ SCHUPPERT                     HOFGARTENSTR 28                                    74081 HEILBRONN
                                                                                                                  GERMANY
SCHUPPLER, CHERYL E        PO BOX 75                                                                                                      FLINT               MI   48501‐0075
SCHUPPLER, WALTER R        1039 S KERBY RD                                                                                                CORUNNA             MI   48817‐9597
SCHUPRA, MARIE I           14441 LANSON AVE                                                                                               DEARBORN            MI   48126‐3407
SCHUR, DENNIS N            PO BOX 416                          M 77                                                                       GRAND MARAIS        MI   49839‐0416
SCHUR, DENNIS N            M 77 PO BOX 416                                                                                                GRAND MARIAS        MI   49839‐0416
SCHUR, GEORGE M            366 ELMWOOD DR                                                                                                 HUBBARD             OH   44425‐1607
SCHUR, MICHAEL             GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                               SAGINAW             MI   48604‐2602
                                                               260
SCHUR, RALPH J             3185 COUNTRYMAN CIR NW                                                                                         ALBANY              OR 97321‐9614
SCHURDELL, ERNEST A        1003 WEBB DRIVE                                                                                                CLEARWATER          FL 33755‐3735
SCHURDELL, ERNEST A        1003 WEBB DR                                                                                                   CLEARWATER          FL 33755‐3735
SCHURE SPORTS INC.         345 CONNIE CRES                                                                        CONCORD ON L4K 5R2
                                                                                                                  CANADA
SCHURE, ANNE I             4478 BAY LN                                                                                                    WHITE BEAR LAKE     MN   55110‐6765
SCHURGAST, LEE W           1791 LEWAY DR                                                                                                  FAIRFIELD           OH   45014‐4757
SCHURGER, LEO E            4176 E 600 N                                                                                                   DECATUR             IN   46733‐9125
SCHURICK, SUSAN C          11 CRANBROOK AVE                                                                                               HILLSBOROUGH        NJ   08844‐4803
SCHURICK, WILLIAM R        6758 S 900 W                                                                                                   EDINBURGH           IN   46124‐9613
SCHURIG DAWN               612 WOODLAND AVE                                                                                               ABSECON             NJ   08201‐9712
SCHURING, LUCIEN W         5240 W VALLEY CIR                                                                                              PORTAGE             MI   49002‐1944
SCHURK, DAVID M            697 SUMMER HILL RD                                                                                             MADISON             CT   06443‐1605
SCHURKAMP, MABLE ROSE      4600 S. SHELDON RD.                                                                                            CANTON              MI   48188‐2527
SCHURKAMP, MABLE ROSE      4600 S SHELDON RD                                                                                              CANTON              MI   48188‐2527
SCHURKO, JOHN              PO BOX 247                                                                                                     MONTROSE            NY   10548‐0247
SCHURLEY, LEONA K          58 SIDNEY AVE                                                                                                  SPOTSWOOD           NJ   08884‐1225
SCHURLEY, LEONA K          58 SIDNEY AVENUE                                                                                               SPOTSWOOD           NJ   08884‐1225
SCHURMAN, BECKY L          2412 W STATE ST                                                                                                JANESVILLE          WI   53546‐5358
SCHURMAN, RICHARD L        2412 W STATE ST                                                                                                JANESVILLE          WI   53546‐5358
SCHURR, BERNICE I          25 UNIVERSITY PARK                                                                                             FREDONIA            NY   14063‐1731
SCHURR, EDWARD M           12910 DORMAN RD                     APT 3102                                                                   PINEVILLE           NC   28134
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Name                          Address1                          Address2                    Address3   Address4               City               State Zip
SCHURR, HAROLD B              6722 BIG TREE RD                                                                                LIVONIA             NY 14487‐9317
SCHURR, JAY S                 2122 WINTON AVE                                                                                 SPEEDWAY            IN 46224‐5052
SCHURR, MARY J                32690 DEERSPRING CT                                                                             NORTH RIDGEVILLE    OH 44039‐6308
SCHURR, NED S                 5009 MCCRAY ST                                                                                  SPEEDWAY            IN 46224‐5045
SCHURR, PAUL A                7609 36TH ST SE                                                                                 ADA                 MI 49301‐9327
SCHURR, ROBERT H              10663 JONES RD                                                                                  CLARENCE            NY 14031‐2329
SCHURR, WANDA M               642 KENDALLWOOD CT.                                                                             CRYSTAL LAKE         IL 60014‐8450
SCHURRELL WILLIAMS            4664 LOTUS DRIVE                                                                                DAYTON              OH 45427‐3538
SCHURRELL WILLIAMS            4664 LOTUS DR                                                                                   DAYTON              OH 45427‐3538
SCHURRER, DANIEL              6730 WHITE BIRCH CT                                                                             RACINE              WI 53402‐1485
SCHURTTER, STEVEN J           55 MICHIGAN AVE                                                                                 MONTREAL            WI 54550‐9725
SCHURTZ DEBRA                 483 CRYSTAL LN                                                                                  STRASBURG           VA 22657‐2667
SCHURTZ, H J                  2219 TRINITY SPRINGS DR                                                                         CARROLLTON          TX 75007‐5907
SCHURZ COMMUNICATIONS         1301 E DOUGLAS RD                                                                               MISHAWAKA           IN 46545‐1732
SCHURZ COMMUNICATIONS
SCHURZ, JANE E                1555 WILLIAM ST                                                                                 HUNTINGTON         IN 46750‐3159
SCHUSSLER, DONALD             ANGELOS PETER G                   100 N CHARLES STREET, ONE                                     BALTIMORE          MD 21201‐3812
                                                                CHARLES CENTER
SCHUSTER DONALD               8638 MURRAY RIDGE RD                                                                            ELYRIA             OH 44035‐4753
SCHUSTER GERHARD WALTER PHD   GUSTERERGASSE 41                                                         A‐1140 WIEN (VIENNA)
                                                                                                       AUSTRIA
SCHUSTER JR, JOSEPH G         11480 N LEWIS RD                                                                                CLIO               MI   48420‐7919
SCHUSTER MIKE                 429 ARMY RD                                                                                     LEONARD            MI   48367‐2908
SCHUSTER RICKY                SCHUSTER, RICKY                   4790 GRENWICH WAY N                                           SAINT PAUL         MN   55128‐2005
SCHUSTER TODD                 SCHUSTER, TODD                    10085 CARROLL CANYON ROAD                                     SAN DIEGO          CA   92131
SCHUSTER, ANDREW C            W147N7053 WOODLAND DR                                                                           MENOMONEE FALLS    WI   53051‐5185
SCHUSTER, BARBARA M           1133 N SUNNYSLOPE DR UNIT 204                                                                   RACINE             WI   53406‐6326
SCHUSTER, BRADLEY K           8559 SOUTH ST SE                                                                                WARREN             OH   44484‐2328
SCHUSTER, BRUCE E             5120 GLENFIELD DR                                                                               SAGINAW            MI   48638‐5567
SCHUSTER, CARL D              PO BOX 74                                                                                       BRUNSWICK          GA   31521‐0074
SCHUSTER, CARL W              1617 BURNISON RD                                                                                MANSFIELD          OH   44903‐8939
SCHUSTER, CARLTON J           2615 SCHEID RD                                                                                  HURON              OH   44839‐9380
SCHUSTER, CHARLES J           3904 JAMES AVE                                                                                  HURON              OH   44839‐2176
SCHUSTER, CLARENCE J          75 RACQUET CT                                                                                   GREENWOOD          IN   46142‐9108
SCHUSTER, DALLAS R            4055 N 25 RD                                                                                    MESICK             MI   49668‐9727
SCHUSTER, DANIEL              2912 CARRIE CREEK LN                                                                            TOLEDO             OH   43617‐1292
SCHUSTER, DARLENE M           7701 W COLDSPRING RD                                                                            GREENFIELD         WI   53220‐2816
SCHUSTER, DARLENE M           7701 WEST COLDSPRING RD.                                                                        GREENFIELD         WI   53220‐2816
SCHUSTER, DARWIN E            2036 E VIENNA RD                                                                                CLIO               MI   48420‐7912
SCHUSTER, DAVID A             35611 ASH RD                                                                                    NEW BOSTON         MI   48164‐9634
SCHUSTER, DAVID M             1422 HEIGHTS RD                                                                                 LAKE ORION         MI   48362‐2211
SCHUSTER, DAVID M             25 SPRING CREEK DR                                                                              CORTLAND           OH   44410‐1662
SCHUSTER, DAVID R             915 PERRY LAKE DR                                                                               FORT WAYNE         IN   46845‐2319
SCHUSTER, DAVID ROBERT        915 PERRY LAKE DR                                                                               FORT WAYNE         IN   46845‐2319
SCHUSTER, DONALD G            48636 STRAWBERRY KNOLL LN                                                                       MACOMB             MI   48044‐5634
SCHUSTER, DORIS               7225 HUBBARD ST                   BOX 148                                                       LEXINGTON          MI   48450‐8844
SCHUSTER, DOROTHE D           3049 SANTA ROSA DR                                                                              KETTERING          OH   45440‐1323
SCHUSTER, ELAINE M            15864 N FRANKLIN DR                                                                             CLINTON TOWNSHIP   MI   48038‐1029
SCHUSTER, ELAINE M            214 TUSCARORA LN                                                                                LOUDON             TN   37774‐2175
SCHUSTER, ESTHER A            23310 BY THE MILL RD                                                                            CALIFORNIA         MD   20619
SCHUSTER, GARY L              556 HANNIBAL STREET                                                                             VIRGINIA BCH       VA   23452‐4141
SCHUSTER, GEORGE K            4403 HILLCREST AVE                                                                              ROYAL OAK          MI   48073‐1701
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Name                   Address1                        Address2                    Address3   Address4         City               State Zip
SCHUSTER, GUDRUN       467 LOGAN AVE                                                                           SHARON              PA 16146‐1179
SCHUSTER, IRENE M      863 NORTH BRYS DRIVE                                                                    GROSSE POINTE       MI 48236‐1203
SCHUSTER, ISABELLE M   4647 ST RT 309                                                                          GALION              OH 44833
SCHUSTER, JAMES D      603 FRENCH ST                                                                           THREE RIVERS        MI 49093‐2227
SCHUSTER, JAMES E      621 FOUNDERS DR                                                                         KISSIMMEE           FL 34744‐5951
SCHUSTER, JAMES G      1118 E 9TH ST                                                                           SALEM               OH 44460‐1716
SCHUSTER, JANET A      100 E ROYAL VALE                                                                        EDGERTON            WI 53534‐8978
SCHUSTER, JEWEL R      621 FOUNDERS DR                                                                         KISSIMMEE           FL 34744‐5951
SCHUSTER, JILL
SCHUSTER, JOHN E       8895 GRATIOT AVE                                                                        COLUMBUS           MI   48063‐3721
SCHUSTER, JOHN E       345 IOWA AVE                                                                            GIRARD             OH   44420‐3058
SCHUSTER, JOHN K       2395 MULLIGAN DR                                                                        LAKELAND           FL   33810‐4324
SCHUSTER, JOHN R       36807 STRAND DR                                                                         ZEPHYRHILLS        FL   33542‐1929
SCHUSTER, JON R        11432 STERLING VIEW CT                                                                  CLERMONT           FL   34711‐6866
SCHUSTER, JUDITH L     8038 MORTON TAYLOR RD                                                                   BELLEVILLE         MI   48111‐1321
SCHUSTER, KATHLEEN D   900 W LAKE RD                   APT A331                                                PALM HARBOR        FL   34584‐3190
SCHUSTER, KATHLEEN D   444 N PAULA DR                  APT 227                                                 DUNEDIN            FL   34698
SCHUSTER, KATHLEEN M   1118 E 9TH ST                                                                           SALEM              OH   44460‐1716
SCHUSTER, KATHRYN L    5120 GLENFIELD DR                                                                       SAGINAW            MI   48638‐5567
SCHUSTER, LISA M       8041 HALYARD WAY                                                                        INDIANAPOLIS       IN   46236‐9563
SCHUSTER, LUCILA T     30431 PASEO DEL VALLE                                                                   LAGUNA NIGUEL      CA   92677‐2312
SCHUSTER, LYNDA L      2128 FERDEN RD                                                                          NEW LOTHROP        MI   48460‐9605
SCHUSTER, MARIE        5169 SAINT LAWRENCE DR                                                                  FAIRFIELD          OH   45014‐2478
SCHUSTER, MARIE        5169 ST LAWRENCE DRIVE                                                                  FAIRFIELD          OH   45014‐2478
SCHUSTER, MARTIN       8418 FAIRFAX DR                                                                         STERLING HTS       MI   48312‐5918
SCHUSTER, MICHAEL S    429 ARMY RD                                                                             LEONARD            MI   48367‐2908
SCHUSTER, MICHELE      2004 LAKEWOOD AVE                                                                       HURON              OH   44839‐1121
SCHUSTER, MONROE G     3114 GREENBRIAR RD                                                                      ANDERSON           IN   46011‐2302
SCHUSTER, MONROE G     1686 RACCOON WAY                                                                        PENDLETON          IN   46064‐8777
SCHUSTER, NIKOLAUS     2541 AMYRIS CT                                                                          ZELLWOOD           FL   32798‐9759
SCHUSTER, NORENE R     880 S ANGLIM                    DILLA DEL SOUL                                          AVON PARK          FL   33825
SCHUSTER, NORENE R     880 S ANGLIM AVE                DILLA DEL SOUL                                          AVON PARK          FL   33825‐3531
SCHUSTER, ORLARAY      1411 ROOSEVELT AVE                                                                      LANSING            MI   48915‐2237
SCHUSTER, PATRICIA A   3105 S LOTZ RD                                                                          CANTON             MI   48188‐2812
SCHUSTER, PAUL E       8779 ANCHOR BAY DR                                                                      CLAY               MI   48001‐3511
SCHUSTER, PHYLLIS M    418 W PARK AVE                                                                          NILES              OH   44446‐1510
SCHUSTER, RICKY        2249 NOKOMIS AVE                                                                        SAINT PAUL         MN   55119‐3359
SCHUSTER, RICKY        4790 GRENWICH WAY N                                                                     SAINT PAUL         MN   55128‐2005
SCHUSTER, ROBERT E     3300 ROANOKE ST                                                                         THE VILLAGES       FL   32162‐7104
SCHUSTER, ROBERT H     5600 ROLLING HILLS DR                                                                   ROCHESTER          MI   48306‐2238
SCHUSTER, ROBERT P     11272 TERRACE VIEW DR                                                                   WHITMORE LAKE      MI   48189‐9126
SCHUSTER, RONALD D     20473 BIRCH MEADOW DR                                                                   CLINTON TWP        MI   48036‐3818
SCHUSTER, RONALD R     214 TUSCARORA LN                                                                        LOUDON             TN   37774‐2175
SCHUSTER, ROXIE A      2395 MULLIGAN DR                                                                        LAKELAND           FL   33810‐4324
SCHUSTER, RUTH I       4697 CORAL GABLES DR                                                                    PARMA              OH   44134‐6321
SCHUSTER, STEVEN J     36091 GRAND RIVER AVE APT 203                                                           FARMINGTON         MI   48335‐3036
SCHUSTER, THOMAS R     3173 WHITFIELD CT                                                                       WATERFORD          MI   48329‐2768
SCHUSTER, TODD         ROSNER LAW & MANSFIELD          10085 CARROLL CANYON ROAD                               SAN DIEGO          CA   92131
SCHUSTER, VALERIE A    6587 COLONIAL ST                                                                        DEARBORN HEIGHTS   MI   48127‐2110
SCHUSTER, VERONICA B   730 RIVERBEND RD                                                                        LINDEN             NJ   07036‐5831
SCHUSTER, WANDA J      1431 MINNESOTA RD                                                                       PORT HURON         MI   48060‐4984
SCHUSTER, WILLIAM F    14115 SEMINOLE                                                                          REDFORD            MI   48239‐3035
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Name                        Address1                            Address2              Address3          Address4         City              State Zip
SCHUSTER‐DANIELS, JULIE S   2230 S PATTERSON BLVD APT 31                                                                 DAYTON             OH 45409‐1937
SCHUSTER‐JOHNSON, DONNA E   9705 CRESCENT CT                                                                             TECUMSEH           MI 49286‐9812
SCHUT, DAVID H              2360 PARK WOOD TRL                                                                           WILLIAMSTON        MI 48895‐9016
SCHUT, DAVID L              11813 NICKELS DR NW                                                                          GRAND RAPIDS       MI 49534
SCHUT, HAROLD D             7310 E MAPLE LN                                                                              JANESVILLE         WI 53546‐9747
SCHUT, HENRY                2500 BRETON WOODS DR SE UNIT 1066                                                            GRAND RAPIDS       MI 49512‐9156
SCHUT, JANIS J              7310 E MAPLE LN                                                                              JANESVILLE         WI 53546‐9747
SCHUT, RONALD F             3641 WILD PINES DR 00107                                                                     BONITA SPRINGS     FL 34134
SCHUTH, ARLENE J            N15925 SCHUTH LN                                                                             BUTTERNUT          WI 54514‐8849
SCHUTH, DENNIS E            1705 W CHAPEL PIKE                                                                           MARION             IN 46952‐1609
SCHUTT BENEDICT (318534)    THOMPSON DAVID C                    PO BOX 5235                                              GRAND FORKS        ND 58206‐5235
SCHUTT BILLIE               406 VALENCIA ST                                                                              DALLAS             TX 75223‐1319
SCHUTT JR, ROBERT C         607 HAY LONG AVE                                                                             MT PLEASANT        TN 38474‐1127
SCHUTT, ANN E               4251 REDDING CIR                                                                             GRAND BLANC        MI 48439‐8091
SCHUTT, BENEDICT            DAVID C THOMPSON ESQ                DAVID C THOMPSON PC   321 KITTSON AVE                    GRAND FORKS        ND 58201
SCHUTT, CAROL J             P O BOX 312                                                                                  WATERS             MI 49797‐0312
SCHUTT, CAROL J             PO BOX 312                                                                                   WATERS             MI 49797‐0312
SCHUTT, CLARA G             158 MIDVALE DR                                                                               FAIRPORT           NY 14450‐4450
SCHUTT, DALE W              2995 E MONROE RD                                                                             SAINT LOUIS        MI 48880‐9289
SCHUTT, DONALD C            261 JENNISON PL                                                                              BAY CITY           MI 48708‐5699
SCHUTT, ERIC B              1600 S BALDWIN RD                                                                            OXFORD             MI 48371‐5612
SCHUTT, JAMES J             3929 GRANDVIEW CT                                                                            TOLEDO             OH 43614‐3339
SCHUTT, JOHN E              58 CAPE HENRY TRL                                                                            W HENRIETTA        NY 14586‐9692
SCHUTT, KURT A              4251 REDDING CIR                                                                             GRAND BLANC        MI 48439‐8091
SCHUTT, LARRY L             1201 BOSTON AVE                                                                              FLINT              MI 48503‐3581
SCHUTT, PATTI               305 BROADWAY ST                                                                              TOLEDO             OH 43604‐8811
SCHUTT, PAULA L.            221 N TERRACE ST                                                                             JANESVILLE         WI 53548‐3600
SCHUTT, RONALD F            265 LELAND DR                                                                                HAMILTON           AL 35570‐9507
SCHUTT, TIMOTHY C           890 7 MILE RD                                                                                WHITMORE LAKE      MI 48189‐9534
SCHUTTE & KOERTIN/PA        2233 STATE RD                                                                                BENSALEM           PA 19020‐7253
SCHUTTE JR, RAYMOND H       591 SOMERVILLE AVE                                                                           TONAWANDA          NY 14150‐8154
SCHUTTE, DAVID E            2872 FRY BRANCH RD                                                                           LYNNVILLE          TN 38472‐5333
SCHUTTE, DEBORAH K          2872 FRY BRANCH RD                                                                           LYNNVILLE          TN 38472‐5333
SCHUTTE, DOUGLAS M          4344 TIMBERWILDE DR                                                                          KETTERING          OH 45440‐1507
SCHUTTE, EARL C             PO BOX 1091                                                                                  TUCUMCARI          NM 88401‐1091
SCHUTTE, EVELYN             1521 XENIA AVE                                                                               DAYTON             OH 45410‐2416
SCHUTTE, HEIDI K            1650 NORTHWIND                                                                               BROWNSBURG         IN 46112‐7633
SCHUTTE, KATHLEEN S         5102 25TH AVE CT APT 302                                                                     MOLINE              IL 61265‐5059
SCHUTTE, KENNETH J          2796 HOPE ST                                                                                 HUDSONVILLE        MI 49426
SCHUTTE, LUCY M.            C/O RITA LEACH                      PMB 513                                                  DYERSBURG          TN 38024
SCHUTTE, MARYANNE M         3031 AERIAL AVE APT 4                                                                        KETTERING          OH 45429‐3460
SCHUTTE, MILDRED A          8851 COTTONWOOD DRIVE                                                                        CINCINNATI         OH 45231‐4707
SCHUTTE, PETER P            6530 AUBURN RD                                                                               SHELBY TOWNSHIP    MI 48317‐5206
SCHUTTE, RALPH M            2459 GOLFWAY DR                                                                              SWARTZ CREEK       MI 48473
SCHUTTE, RALPH M            2459 GOLF WAY DR                                                                             SWARTZ CREEK       MI 48473
SCHUTTE, RENE E             1410 E 345TH RD                                                                              BERRYTON           KS 66409‐9021
SCHUTTE, ROBERT E           117 BRUMBAUGH CT                                                                             UNION              OH 45322‐2967
SCHUTTE, RODGER A           5932 SE 45TH ST                                                                              TECUMSEH           KS 66542‐9538
SCHUTTE, ROSE M             634 ORCHARD VIEW DR                                                                          ROYAL OAK          MI 48073‐3366
SCHUTTE, SHARON R           6530 MILL CREEK TRL                                                                          IMLAY CITY         MI 48444‐9689
SCHUTTE, WILLIAM D          7676 W TUSCOLA RD                                                                            FRANKENMUTH        MI 48734‐9530
SCHUTTE, WILMA M            7703 COACHMAN LN                                                                             JENISON            MI 49428‐8339
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Name                     Address1                          Address2                 Address3    Address4         City                 State Zip
SCH▄TTELER ANNETTE       ROBERT‐STOLZ‐STRASSE 23                                                                 BORNHEIM              DE 53332
SCHUTTEN, HERMAN P       8545 N FIELDING RD                                                                      BAYSIDE               WI 53217‐2425
SCHUTTENHELM, MARILYN    942 N METTER AVE                                                                        COLUMBIA               IL 62236‐1320
SCHUTTER, ALLEN R        505 47TH ST NW                                                                          BRADENTON             FL 34209‐1957
SCHUTTER, GERALD J       24331 CONDON ST                                                                         OAK PARK              MI 48237‐1670
SCHUTTER, GERALD J       2408 ISABELLA LN                                                                        HAMILTON              OH 45013‐4807
SCHUTTER, ROBERT E       3001 BRIDGEFIELD CT                                                                     THE VILLAGES          FL 32162‐7423
SCHUTTER, WALTER J       12405 CANAL RD                                                                          STERLING HTS          MI 48313‐1007
SCHUTTES, ELEANOR O      85 W CRAIG HILL DR                                                                      ROCHESTER             NY 14626‐3421
SCHUTZ DANIELLE          7320 GREEN HILL DRIVE                                                                   MACUNGIE              PA 18062‐8171
SCHUTZ JR, BILLY J       16901 E 49TH TER S                                                                      INDEPENDENCE          MO 64055‐6306
SCHUTZ JR, BILLY JOE     16901 E 49TH TER S                                                                      INDEPENDENCE          MO 64055‐6306
SCHUTZ, ALBERT C
SCHUTZ, CLARENCE G       1004 LANGDALE AVE                                                                       NEW CARLISLE         OH 45344‐1560
SCHUTZ, DAVID
SCHUTZ, DAVID P          9819 DAY RD                                                                             VERSAILLES           OH   45380‐9729
SCHUTZ, DAVID PAUL       9819 DAY RD                                                                             VERSAILLES           OH   45380‐9729
SCHUTZ, EDWARD J         69 GREENVIEW DR                                                                         WINTER HAVEN         FL   33881‐9709
SCHUTZ, GERALDINE B      OWENS STEPHEN W                   PO BOX 1426                                           PIKEVILLE            KY   41502‐1426
SCHUTZ, JOANNE E         1511 N MAGNOLIA AVE                                                                     LANSING              MI   48912‐3345
SCHUTZ, JOHN D           17 SCHLENKER AVE                                                                        CHEEKTOWAGA          NY   14225‐5103
SCHUTZ, JUNE M           10910 E VILLAGE RD                                                                      SAULT SAINTE MARIE   MI   49783
SCHUTZ, KIRSTEN A        N15W30102 TIMBER BROOK ROAD                                                             PEWAUKEE             WI   53072‐4874
SCHUTZ, LARRY
SCHUTZ, LOIS C           4307 COGSHALL AVE                                                                       HOLLY                MI 48442‐1800
SCHUTZ, LOIS C           4307 COGSHALL ST                                                                        HOLLY                MI 48442‐1800
SCHUTZ, MARK
SCHUTZ, MARY J           224 SO. BROADWAY                                                                        TARRYTOWN            NY   10591
SCHUTZ, RUTH T           6140 CAROLINA BEACH RD            NO 30                                                 WILMINGTON           NC   28412
SCHUTZ, SCOTT R          14515 STEPHANIE ST                                                                      CARMEL               IN   46033
SCHUTZ, SEAN T           5813 PINYON DR                                                                          MCKINNEY             TX   75070‐2718
SCHUTZ, THERESA L        1415 N 350 W                                                                            GREENFIELD           IN   46140‐8818
SCHUTZ, TIM
SCHUTZA, ALTON T         4709 ALAMO CT                                                                           GRAND PRAIRIE        TX   75052‐1704
SCHUTZBACH, MARGARET A   912 LOGGERS CIR                                                                         ROCHESTER            MI   48307‐6026
SCHUTZE, NANCY L         9641 LAKEVIEW DR                                                                        PINCKNEY             MI   48169‐8714
SCHUTZLER, RAYMOND H     1701 FAR HILLS AVE                APT 108                                               DAYTON               OH   45419
SCHUTZLER, URSULA M      31531 GRANT ST                                                                          WAYNE                MI   48184‐2213
SCHUTZMAN, LEE A         396 SOPHIA TER                                                                          SAINT AUGUSTINE      FL   32095‐6843
SCHUUR, DANIEL R         2835 13TH ST                                                                            MONROE               WI   53566‐2243
SCHUUR, DUSTYN L         N4144 PINE ST UNIT 2                                                                    BRODHEAD             WI   53520‐9699
SCHUUR, GEORGE A         25166 DUTCH SETTLEMENT ST                                                               DOWAGIAC             MI   49047‐7442
SCHUURMANS, MARK D       APT B                             5438 GREAT LAKES DRIVE                                HOLT                 MI   48842‐8695
SCHUYLER DAVIS           5237 WOODCLIFF DR                                                                       FLINT                MI   48504‐1288
SCHUYLER HARDIN
SCHUYLER MYLES           6181 FOX GLEN DR                  APT 241                                               SAGINAW              MI   48638‐4388
SCHUYLER, BESSIE         8400 SAINT FRANCIS DR APT 201                                                           CENTERVILLE          OH   45458‐2790
SCHUYLER, BESSIE         8400 ST. FRANCIS DR               APT 201                                               CENTERVILLE          OH   45458‐2789
SCHUYLER, BETSY S        4429 EASTWOOD DRIVE                                                                     SWARTZ CREEK         MI   48473‐8802
SCHUYLER, BRIAN W
SCHUYLER, CAROL D        4650 VILLAGE DR                                                                         ANDERSON              IN 46012‐9721
SCHUYLER, CAROLE L       36092 ALDER CIR                                                                         YUCAIPA               CA 92399‐5209
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Name                    Address1                         Address2                          Address3    Address4         City              State Zip
SCHUYLER, CORA C        ST RT 122 E 338                                                                                 LEBANON            OH 45036
SCHUYLER, DANIEL L      9616 W 100 S                                                                                    LAPEL              IN 46051‐9623
SCHUYLER, DANNY D       PO BOX 967                                                                                      WEST MONROE        LA 71294‐0967
SCHUYLER, DEBRA J       121 MILL ST                                                                                     TIPTON             IN 46072
SCHUYLER, GARY D        6674 W 100 S                                                                                    ANDERSON           IN 46011‐8805
SCHUYLER, JACKIE L      1443 E 500 S                                                                                    GREENFIELD         IN 46140‐8355
SCHUYLER, JACKSON G     8220 CLOVERGLEN LN                                                                              FORT WORTH         TX 76123‐1604
SCHUYLER, JACKSON G.    8220 CLOVERGLEN LN                                                                              FORT WORTH         TX 76123‐1604
SCHUYLER, JAMES M       606 FLETCHER ST                                                                                 OWOSSO             MI 48867‐3410
SCHUYLER, JAMES R       4821 SAMPSON DR                                                                                 YOUNGSTOWN         OH 44505‐1247
SCHUYLER, JAMES R       206 N AMERICAN BLVD                                                                             VANDALIA           OH 45377‐2231
SCHUYLER, JAMES R       2569 DRUMMOND AVE                                                                               HUBBARD            OH 44425‐4425
SCHUYLER, JOAN G        12795 BURT RD                                                                                   BIRCH RUN          MI 48415‐9343
SCHUYLER, LUCILLE E     117 HEDLEY ST                                                                                   MEDINA             NY 14103‐1739
SCHUYLER, MELISSA D     518 E MARKET ST                                                                                 GERMANTOWN         OH 45327‐1425
SCHUYLER, MERRILL L     1117 SE 17TH ST                                                                                 CAPE CORAL         FL 33990
SCHUYLER, MICHAEL V     2721 MOUNDS RD TRLR A2                                                                          ANDERSON           IN 46016‐5862
SCHUYLER, PHILIP J      2817 VISTA BUTTE DR                                                                             LAS VEGAS          NV 89134
SCHUYLER, RICHARD A     716 S 900 W                                                                                     LAPEL              IN 46051‐9626
SCHUYLER, RICHARD O     1502 S LONGWOOD DR                                                                              ALEXANDRIA         IN 46001‐2820
SCHUYLER, ROBERT K      284 S 900 W                                                                                     LAPEL              IN 46051‐9625
SCHUYLER, ROBERT L      1103 W 17TH ST                                                                                  MUNCIE             IN 47302‐3048
SCHUYLER, STEPHEN       1244 N 800 W                                                                                    ANDERSON           IN 46011‐9123
SCHUYLER, STEPHEN K     1244 N 800 W                                                                                    ANDERSON           IN 46011‐9123
SCHUYLER, STEPHEN P     1421 E 400 N                                                                                    GREENFIELD         IN 46140‐8334
SCHUYLER, STEVEN E      4650 VILLAGE DR                                                                                 ANDERSON           IN 46012‐9721
SCHUYLER, STEVEN J      4821 SAMPSON DR                                                                                 YOUNGSTOWN         OH 44505
SCHUYLER, THOMAS W      3941 HONEYSUCKLE WAY                                                                            CHAPEL HILL        TN 37034‐2099
SCHUYLER, WILLIAM T     316 HIWASSEE LN                                                                                 CROSSVILLE         TN 38572
SCHUYLER, WILLIAM T     316 HIWASSEE RD                                                                                 CROSSVILLE         TN 38572‐8800
SCHUYTEN, HENRY         3171 RIVER MEADOW CIR                                                                           CANTON             MI 48188‐2334
SCHVARCKOPF, GEORGE P   27390 WOODMONT ST                                                                               ROSEVILLE          MI 48066‐2736
SCHVAREZ, HERMAN
SCHVOM MIRIAM           SCHVOM, MIRIAM                   656 W RANDOLPJ STREET SUITE                                    CHICAGO            IL   60661
                                                         500W
SCHVOM MIRIAM           SCHVOM, MIRIAM                   270 MADISON AVENUE 10TH FLOOR                                  NEW YORK          NY 10016

SCHVOM MIRIAM           SCHVOM, MIRIAM                   TWO PENN CENTER PLAZA , 10TH FL                                PHILADELPHIA      PA 19102

SCHVOM, MIRIAM          FAIT MARY JANE                   656 W RANDOLPJ STREET SUITE                                    CHICAGO            IL   60661
                                                         500W
SCHVOM, MIRIAM          ISQUITH FRED T                   270 MADISON AVENUE 10TH FLOOR                                  NEW YORK          NY 10016

SCHVOM, MIRIAM          MAGER LIEBENBERG & WHITE         TWO PENN CENTER PLAZA, 10TH FL                                 PHILADELPHIA      PA 19102

SCHWAB CHARLES          FOR DEPOSIT TO THE ACCOUNT OF    PO BOX 173797                     S JENKINS                    DENVER            CO 80217‐3797
SCHWAB FRANK            5136 BIANCA WAY                                                                                 LIVERMORE         CA 94550‐2376
SCHWAB GEORGE           SCHWAB, GEORGE                   UNKNOWN
SCHWAB HARRY (456462)   SKAGGS JOHN H                    405 CAPITOL STREET ‐ SUITE 607                                 CHARLESTON        WV    25301
SCHWAB INDUSTRIES INC   50850 RIZZO DR                                                                                  SHELBY TOWNSHIP   MI    48315‐3248
SCHWAB JR, CHARLES M    6353 GOLF VIEW DR                                                                               CLARKSTON         MI    48346‐3083
SCHWAB JR, HAROLD A     4106 BRYANT HILL RD                                                                             FRANKLINVILLE     NY    14737‐9724
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Name                                Address1                       Address2                         Address3       Address4         City             State Zip
SCHWAB JR, HARRY A                  2780 MULLIGAN WAY                                                                               BEAVERCREEK       OH 45431‐4700
SCHWAB MICHAEL                      250 MEADOWS BLVD                                                                                SLIDELL           LA 70460‐5259
SCHWAB ONE TRUST ACCOUNT OF         R DOUGLASS & M DOUGLASS TTEE   RONALD E & MARGARET H            1212 F ST SE                    AUBURN            WA 98002
                                                                   DOUGLASS U/A DTD 09/24/1992
SCHWAB RALPH (ESTATE OF) (489227)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD       OH 44067
                                                                   PROFESSIONAL BLDG
SCHWAB ROBERT ESTATE OF             35034 DOLPHIN LAKE DR                                                                           ZEPHYRHILLS      FL   33541‐9101
SCHWAB, BENJAMIN L                  3127 MOUNT ZION AVE                                                                             JANESVILLE       WI   53546‐1619
SCHWAB, CHARLES F                   3420 WEDGWOOD DR                                                                                PORTAGE          MI   49024‐5526
SCHWAB, CHARLES R                   2920 DAYSON DR                                                                                  ANDERSON         IN   46013‐9713
SCHWAB, CHARLES T                   1519 SEVILLE AVE                                                                                KALAMAZOO        MI   49004‐1024
SCHWAB, CRAIG C                     491 HIGHLAND AVE                                                                                BUFFALO          NY   14223‐1530
SCHWAB, CRAIG CHRISTIAN             491 HIGHLAND AVE                                                                                BUFFALO          NY   14223‐1530
SCHWAB, DAVID A                     431 SAINT ANDREWS CT                                                                            GLADWIN          MI   48624‐9610
SCHWAB, DAVID J                     75 OPEN PKWY S                                                                                  HAWTHORN WOODS   IL   60047
SCHWAB, DELLEEN F                   5120 PIERCE RD NW                                                                               WARREN           OH   44481‐4481
SCHWAB, DIANE L                     12 CASTLE KEEP DR                                                                               WENTZVILLE       MO   63385‐4519
SCHWAB, DONALD E                    466 HILLSIDE AVE                                                                                ORCHARD PARK     NY   14127‐1020
SCHWAB, ELLA M                      1532 NOBLE ST                                                                                   ANDERSON         IN   46016
SCHWAB, FRANCES K                   6940 SCARFF RD                                                                                  NEW CARLISLE     OH   45344‐8677
SCHWAB, FRANCIS K                   703 KENTNER ST                                                                                  DEFIANCE         OH   43512‐2051
SCHWAB, FREDERICK J                 706 MCCORMICK ST                                                                                BAY CITY         MI   48708‐7739
SCHWAB, GERHARD                     ROUTE 1                        6416 BAY VALLEY ROAD                                             BAY CITY         MI   48706
SCHWAB, HANS E                      41334 CLAIRPOINT DRIVE                                                                          MOUNT CLEMENS    MI   48045
SCHWAB, HARRY                       SKAGGS JOHN H                  405 CAPITOL STREET ‐ SUITE 607                                   CHARLESTON       WV   25301
SCHWAB, HILDEGARD R                 C/O DELORIS WINSINGER BALL     809 BROOKS AVE                                                   MADISON          TN   37115
SCHWAB, HILDEGARD R                 809 BROOKS AVENUE                                                                               MADISON          TN   37115‐2822
SCHWAB, HOMER E                     PO BOX 338                                                                                      LYNDON STATION   WI   53944‐0338
SCHWAB, JAMES K                     348 S BRIANT ST                                                                                 HUNTINGTON       IN   46750‐3405
SCHWAB, JAMES L                     4661 CADDINGTON ST                                                                              ENON             OH   45323‐1718
SCHWAB, JANET M                     1201 E HOTCHKISS RD                                                                             BAY CITY         MI   48706‐9726
SCHWAB, JANET M                     1201 HOTCHKISS                                                                                  BAY CITY         MI   48706‐9726
SCHWAB, JEFFREY A                   10101 FABIUS DR                                                                                 LAKE ST LOUIS    MO   63367‐1976
SCHWAB, JEFFREY A.                  10101 FABIUS DR                                                                                 LAKE ST LOUIS    MO   63367‐1976
SCHWAB, JOHNNIE C                   17512 HARRIS RD                                                                                 DEFIANCE         OH   43512‐8096
SCHWAB, JOHNNIE CLINTON             17512 HARRIS RD                                                                                 DEFIANCE         OH   43512‐8096
SCHWAB, JOSEPH                      721 SHENANDOAH DR                                                                               COLUMBIA         TN   38401‐6120
SCHWAB, JOSEPH A                    860 E OAKWOOD RD                                                                                OAK CREEK        WI   53154‐5824
SCHWAB, KARL T                      30752 RIDGEFIELD AVE                                                                            WARREN           MI   48088‐3174
SCHWAB, LEO F                       34214 FLOWER HL                                                                                 FRASER           MI   48026‐5207
SCHWAB, LORI A                      8353 GROVEMONT CT                                                                               GRAND BLANC      MI   48439‐1967
SCHWAB, MARK A                      535 FREDERICK XING                                                                              ROANOKE          IN   46783‐8834
SCHWAB, MARK A                      1815 LOWELL AVE                                                                                 ANDERSON         IN   46011‐2127
SCHWAB, MICHAEL D                   146 VANDERBILT RD                                                                               LEXINGTON        OH   44904‐9586
SCHWAB, MICHAEL DAVID               146 VANDERBILT RD                                                                               LEXINGTON        OH   44904‐9586
SCHWAB, MICHAEL F                   4603 GREGORY GERARD DR                                                                          SAINT CHARLES    MO   63304‐3432
SCHWAB, MICHAEL S                   610 LYNDHURST DR                                                                                JANESVILLE       WI   53546‐2131
SCHWAB, PATRICIA                    PO BOX 338                                                                                      LYNDON STATION   WI   53944‐0338
SCHWAB, PATRICK JORDAN              535 FREDERICK XING                                                                              ROANOKE          IN   46783‐8834
SCHWAB, RICHARD A                   6001 GUARD HILL PL                                                                              DAYTON           OH   45459‐8406
SCHWAB, RICHARD L                   32 TRACIANN DR                                                                                  HAMLIN           NY   14464‐9574
SCHWAB, ROBERT E                    6387 GREEN VALLEY LN                                                                            LOCKPORT         NY   14094‐8839
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Name                            Address1                        Address2                      Address3   Address4                 City              State Zip
SCHWAB, ROBERT J                65 CLAUDE DR                                                                                      CHEEKTOWAGA        NY 14206‐2403
SCHWAB, ROBERT J                529 HEATHER KNOLL PL                                                                              FORT WAYNE         IN 46804‐6411
SCHWAB, ROBERT P                335 OAK HOLLOW DR NW                                                                              WARREN             OH 44481
SCHWAB, ROBERT W                3420 WEDGWOOD DR                                                                                  PORTAGE            MI 49024‐5526
SCHWAB, ROGER L                 5902 HICKORY HILL DR                                                                              LAINGSBURG         MI 48848‐9407
SCHWAB, SANDRA H                C/O EDWARD O MOODY PA           801 WEST FOURTH STREET                                            LITTLE ROCK        AR 72201
SCHWAB, SANDRA H                MOODY EDWARD O                  801 W 4TH ST                                                      LITTLE ROCK        AR 72201‐2107
SCHWAB, STEPHEN C               3245 WAINSWAY                                                                                     LAKE ORION         MI 48363
SCHWAB, TERRY L                 3207 MCCLEARY JACOBY RD                                                                           CORTLAND           OH 44410‐1751
SCHWAB, THOMAS A                23340 DEFIANCE PIKE                                                                               CUSTAR             OH 43511‐9772
SCHWAB, VICKI L                 1267 SOUTHWEST 116TH AVENUE                                                                       DAVIE              FL 33325‐3913
SCHWAB, VICKI L                 1267 SW 116TH AVE                                                                                 DAVIE              FL 33325‐3325
SCHWAB, YOLANDA G               PO BOX 406                                                                                        ELKHORN            WI 53121‐0406
SCHWABAUER JAMES L (472161)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510
                                                                STREET, SUITE 600
SCHWABAUER, ALBERT E            G5270 VAN SLYKE RD                                                                                FLINT             MI   48507
SCHWABAUER, DAVID C             2449 MORRISH RD                                                                                   SWARTZ CREEK      MI   48473‐9723
SCHWABAUER, ERIC A              8121 OHARA DR                                                                                     DAVISON           MI   48423‐9504
SCHWABAUER, ERIC ANTHONY        8121 OHARA DR                                                                                     DAVISON           MI   48423‐9504
SCHWABAUER, JAMES L             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
                                                                STREET, SUITE 600
SCHWABAUER, JASON T             8070 OHARA DR                                                                                     DAVISON           MI   48423‐9531
SCHWABAUER, JASON TODD          8070 OHARA DR                                                                                     DAVISON           MI   48423‐9531
SCHWABAUER, KRISTY J            8070 OHARA DR                                                                                     DAVISON           MI   48423‐9531
SCHWABAUER, PEGGY A             2449 MORRISH RD.                                                                                  SWARTZ CREEK      MI   48473‐9723
SCHWABE KURT J                  SCHWABE, KURT J                 429 W WESLEY ST                                                   WHEATON           IL   60187‐4925
SCHWABE WILLIAMSON & WYATT PC   1211 SW 5TH AVE STE 1600‐1900                                                                     PORTLAND          OR   97204
SCHWABE, HOWARD V               3993 W FERNWALD DR                                                                                DAYTON            OH   45440‐3431
SCHWABE, HOWARD V               3993 FERNWALD DR                                                                                  DAYTON            OH   45440‐3431
SCHWABE, LINDA S                31715 REGAL DR                                                                                    WARREN            MI   48088‐2938
SCHWABE, RICHARD A              308 SANDHURST DR                                                                                  DAYTON            OH   45405‐2419
SCHWABE, ROBERT J               3330 S 78TH ST                                                                                    MILWAUKEE         WI   53219‐3821
SCHWABE, ROBERT W               3368 GALAXY WAY                                                                                   N FT MYERS        FL   33903‐1433
SCHWABEL, ROBERT J              54195 RIDGEVIEW DR                                                                                SHELBY TOWNSHIP   MI   48316‐1313
SCHWABEROW DANIEL P             4948 TIMBERVIEW DR                                                                                HUBER HEIGHTS     OH   45424‐2533
SCHWABEROW, DANIEL P            4948 TIMBERVIEW DR                                                                                HUBER HEIGHTS     OH   45424‐2533
SCHWABEROW, DANIEL PAUL         4948 TIMBERVIEW DR                                                                                HUBER HEIGHTS     OH   45424‐2533
SCHWABEROW, DOUGLAS P           290 REBECCA DR                                                                                    WEST ALEXANDRIA   OH   45381‐8321
SCHWABEROW, DOUGLAS PAUL        290 REBECCA DR                                                                                    WEST ALEXANDRIA   OH   45381‐8321
SCHWABEROW, JOYCE C             1212 NASSAU DR                                                                                    MIAMISBURG        OH   45342‐3244
SCHWABES AUTO                   4912 74 AVE NW                                                           EDMONTON AB T6B 2H6
                                                                                                         CANADA
SCHWACHA, ARLENE A              2549 EMERY DR                                                                                     LOWELL            MI   49331‐9511
SCHWADER, ROGER W               PO BOX 293                                                                                        DEFIANCE          OH   43512‐0293
SCHWADERER, HAROLD R            100 W PINE ST                                                                                     AU GRES           MI   48703‐9722
SCHWADERER, SUSAN E             100 W PINE ST                                                                                     AU GRES           MI   48703‐9722
SCHWAEBISCHE HUETTENWERKE       AUTOMOTIVE GMBH & CO            ENZISHOLZWEG 11                          BAD SCHUSSENRIED 88427
                                                                                                         GERMANY
SCHWAEBISCHE HUETTENWERKE       ENZISHOLZWEG 11                                                          BAD SCHUSSENRIED BW
AUTOMOTIV                                                                                                88427 GERMANY
SCHWAEBISCHE HUETTENWERKE       ENZISHOLZWEG 11                                                          BAD SCHUSSENRIED BW
BETEILIGU                                                                                                88427 GERMANY
                                    09-50026-mg             Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
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Name                               Address1                              Address2                       Address3   Address4               City               State Zip
SCHWAGER JR, FREDERICK F           27 CLIFFORD DR                                                                                         WESTERLY             RI 02891‐4454
SCHWAGER, BARBARA A                505 SIVERBELL CT                                                                                       JACKSONVILLE        FL 32259
SCHWAGER, EVA                      48707 ADAMS DR                                                                                         MACOMB              MI 48044‐4949
SCHWAGER, FRITZ S                  33081 SOMERSET DR                                                                                      STERLING HTS        MI 48312‐6057
SCHWAGER, FRITZ STEVEN             33081 SOMERSET DR                                                                                      STERLING HTS        MI 48312‐6057
SCHWAGER, HENRY S                  32885 SARATOGA AVE                                                                                     WARREN              MI 48093‐1059
SCHWAGER, HENRY STEVEN             32885 SARATOGA AVE                                                                                     WARREN              MI 48093‐1059
SCHWAGER, KATHARINA                33682 SOMERSET DR                                                                                      STERLING HTS        MI 48312‐6068
SCHWAGER, MARK T                   403 S MASON ST                                                                                         SAGINAW             MI 48602‐2351
SCHWAGER, MELISSA A                45245 SYCAMORE CT                                                                                      SHELBY TWP          MI 48317‐4934
SCHWAGER, MELISSA ANN              45245 SYCAMORE CT                                                                                      SHELBY TWP          MI 48317‐4934
SCHWAGER, PHILIP C                 7357 MCCLIGGOTT RD                                                                                     SAGINAW             MI 48609‐5045
SCHWAGER, RICHARD J                1774 TANK RD                                                                                           FINKSBURG           MD 21048‐1203
SCHWAGER, STEVE                    5130 LOCKWOOD DR                                                                                       WASHINGTON          MI 48094‐2631
SCHWAGLE, EDWARD                   6521 CARDWELL ST                                                                                       GARDEN CITY         MI 48135‐2535
SCHWAGLER, ROBERT N                70 WABASH AVE                                                                                          KENMORE             NY 14217‐2328
SCHWAIGER, MIKE K                  12678 ROAD G12                                                                                         OTTAWA              OH 45875‐9647
SCHWAIGER, PAUL J                  448 STEWART RD                                                                                         CULLMAN             AL 35055‐0230
SCHWAIGER, SUSAN E                 2005 RICHVIEW AVE NW                                                                                   GRAND RAPIDS        MI 49544
SCHWAIT, JERE R                    6 BARTHOLOMEW LN                                                                                       WALLINGFORD         CT 06492
SCHWAITZBERG ANDREW                4906 JASON ST                                                                                          HOUSTON             TX 77096‐2718
SCHWAKE PAUL                       HILDEBOLDPLATZ 23                                                               D 50672 KOLN GERMANY
SCHWAKE WERNER H (400729)          ANGELOS PETER G LAW OFFICE            115 BROADWAY FRNT 3                                              NEW YORK           NY   10006‐1638
SCHWAKE, WERNER H                  ANGELOS PETER G LAW OFFICE            115 BROADWAY FRNT 3                                              NEW YORK           NY   10006‐1638
SCHWALBACH, TODD M                 411 COUTANT ST                                                                                         FLUSHING           MI   48433‐1672
SCHWALBE, WILLIAM D                PO BOX 1170                                                                                            CLARKSTON          MI   48347‐1170
SCHWALENBERG, LARANDAL             BRAYTON PURCELL                       PO BOX 6169                                                      NOVATO             CA   94948‐6169
SCHWALL FAMILY TRUST               F SCHWALL                             6120 FRIENDLY CT                                                 CARMICHAEL         CA   95608
SCHWALL, GARY E                    GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW            MI   48604‐2602
                                                                         260
SCHWALL, LISA L                    542 HOPMEADOW ST 140                                                                                   SIMSBURY           CT   06070
SCHWALL, SAMUEL A                  542 HOPMEADOW ST 140                                                                                   SIMSBURY           CT   06070
SCHWALLER JR, NICHOLAS J           4924 W 123RD PL                                                                                        ALSIP              IL   60803‐2914
SCHWALLER, RICHARD                 42109 ROSCOMMON ST                                                                                     NORTHVILLE         MI   48167‐2415
SCHWALLIE, CHARLES R               694 SILVERHEDGE DR                                                                                     CINCINNATI         OH   45231‐3952
SCHWALLIE, NORMAN K                734 LAMBKINS                                                                                           SALINE             MI   48176‐1077
SCHWALLIE, WANDA J                 513 E UNIVERSITY DR APT 702                                                                            ROCHESTER          MI   48307‐2166
SCHWALM, ALBERTA M                 4311 GEDNEY RD                                                                                         GLADWIN            MI   48624‐9454
SCHWALM, DANNY L                   14319 N BRAY RD                                                                                        CLIO               MI   48420‐7929
SCHWALM, DAVID M                   12257 VAUGHAN ST                                                                                       DETROIT            MI   48228‐1008
SCHWALM, JAYSON                    25245 ARDEN PARK DR                                                                                    FARMINGTON HILLS   MI   48336‐1617
SCHWALM, RALPH W                   5008 BEECH ROAD                                                                                        HOPE               MI   48628‐9608
SCHWALM, ROBERT C                  37567 SUMMERS ST                                                                                       LIVONIA            MI   48154‐4946
SCHWALM, ROSE MARIE                1188 COBB DR SE APT 1A                                                                                 GRAND RAPIDS       MI   49508‐7364
SCHWALM, ROYAL D                   6315 W MONTICELLO ST                                                                                   HOMOSASSA          FL   34448‐2184
SCHWALM, SUSAN R                   C/O MMGS                              615 N CAPITOL AVENUE                                             LANSING            MI   48933
SCHWALM, WILLARD A                 1645 MIDLAND RD                                                                                        SAGINAW            MI   48638‐4336
SCHWALM, WILLARD ALFRED            1645 MIDLAND RD                                                                                        SAGINAW            MI   48638‐4336
SCHWAMB, RUSSELL D                 5038 HAYNES CT                                                                                         INDIANAPOLIS       IN   46250‐2517
SCHWAMB, RUSSELL DAVID             5038 HAYNES COURT                                                                                      INDIANAPOLIS       IN   46250‐2517
SCHWAN ‐ AMMONIA RELEASE (DENVER   NO ADVERSE PARTY
SPO)
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Name                          Address1                             Address2                     Address3   Address4         City              State Zip
SCHWAN DONALD                 49710 ELK TRL                                                                                 SHELBY TOWNSHIP    MI 48315‐3459
SCHWAN FOOD COMPANY           3537 WAYLAND DR                                                                               JACKSON            MI 49202‐1233
SCHWAN FOOD COMPANY           463 COMMERCE ST                                                                               BOWLING GREEN      KY 42101‐9118
SCHWAN GM AUTO CENTER, INC.   3812 MEMORIAL HWY                                                                             MANDAN             ND 58554‐4653
SCHWAN GM AUTO CENTER, INC.   STEVEN SCHWAN                        3812 MEMORIAL HWY                                        MANDAN             ND 58554‐4653
SCHWAN JR, PAUL H             32430 RYAN RD                                                                                 WARREN             MI 48092‐1109
SCHWAN'S HOME SERVICE, INC.   SHANNON LENZ                         115 W COLLEGE DR                                         MARSHALL           MN 56258‐1747
SCHWAN'S HOME SERVICE, LLC.   115 W COLLEGE DR                                                                              MARSHALL           MN 56258‐1747
SCHWAN'S HOME SERVICE, LLC.   135 TECHNOLOGY DR STE 400                                                                     CANONSBURG         PA 15317‐9549
SCHWAN'S HOME SERVICE, LLC.   18302 HIGHWOODS PRESERVE PKWY STE                                                             TAMPA              FL 33647‐1759
                              326
SCHWAN'S HOME SERVICE, LLC.   2923 MARKETPLACE DR STE 208                                                                   FITCHBURG         WI   53719‐5321
SCHWAN'S HOME SERVICE, LLC.   304 INVERNESS WAY S STE 255                                                                   ENGLEWOOD         CO   80112‐5858
SCHWAN'S HOME SERVICE, LLC.   600 MICHIGAN RD                                                                               MARSHALL          MN   56258‐2741
SCHWAN'S HOME SERVICE, LLC.   304 INVERNESS WAY S                  STE 255                                                  ENGLEWOOD         CO   80112‐5858
SCHWAN'S HOME SERVICE, LLC.   8027 NORTH BLACK CANYON HWY S        UITE 410                                                 PHOENIX           AZ   85021
SCHWAN'S HOME SERVICE, LLC.   18302 HIGHWOODS PERSERVE PARKW       AY SUITE 326                                             TAMPA             FL
SCHWAN, ARTHUR C              9565 MIDLAND RD                                                                               FREELAND          MI   48623‐9710
SCHWAN, DONALD E              49710 ELK TRL                                                                                 SHELBY TWP        MI   48315‐3459
SCHWAN, DONNA                 230 HOLLYBROOK RD                                                                             BROCKPORT         NY   14420‐2538
SCHWAN, GAYLE A               2125 KING RD                                                                                  SAGINAW           MI   48601‐7311
SCHWAN, LINDA D               3177 BELLEVUE RD                                                                              TOLEDO            OH   43606‐1802
SCHWAN, MARION A              324 CLARANNA AVE                                                                              DAYTON            OH   45419‐1738
SCHWAN, MARK A                12203 N ECHO VALLEY DR                                                                        ORO VALLEY        AZ   85755‐1817
SCHWANBECK, EARNEST J         2458 KOSCIUSZKO AVE                                                                           BAY CITY          MI   48708‐7611
SCHWANDT ROBERT               N2014 VALLEY RD                                                                               LA CROSSE         WI   54601‐7116
SCHWANDT, DYNA‐MARIA E        14880 WILDBROOK DR                                                                            BELLEVILLE        MI   48111‐5191
SCHWANDT, MARIAN S            811 W UNIVERSITY DR                                                                           ROCHESTER         MI   48307‐1860
SCHWANEBECK EUGENE (468374)   ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                               BALTIMORE         MD   21202
                                                                   CHARLES CENTER 22ND FLOOR
SCHWANEBECK, EARL N           21625 KEENEY RD                                                                               FREELAND          MD 21053‐9654
SCHWANEBECK, EUGENE           ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET, ONE                                BALTIMORE         MD 21202
                                                                   CHARLES CENTER 22ND FLOOR
SCHWANER, CLYDE F             9601 GUTIERREZ RD NE                                                                          ALBUQUERQUE       NM   87111‐2515
SCHWANGER                     6588 SECOR RD                                                                                 LAMBERTVILLE      MI   48144‐9431
SCHWANGER, DONALD H           726 PERRY ST                                                                                  SANDUSKY          OH   44870‐3719
SCHWANGER, JAMES L            5024 HOMEGARDNER RD                                                                           CASTALIA          OH   44824‐9708
SCHWANGER, MICHAEL T          508 W WASHINGTON ST                                                                           SANDUSKY          OH   44870‐2419
SCHWANGER, THOMAS R           865 CROSSTREE LN 180                                                                          SANDUSKY          OH   44870
SCHWANGER, TIMOTHY A          362 SHEFFIELD WAY                                                                             SANDUSKY          OH   44870‐7516
SCHWANIK, BARBARA J           1092 S 33 RD                                                                                  CADILLAC          MI   49601‐9137
SCHWANK, WILLIAM R            13298 FOXBORO CT                                                                              PLYMOUTH          MI   48170‐2906
SCHWANKE ENGINES LLC          321 W ROCK ST                                                                                 SPRINGFIELD       MN   56087‐1025
SCHWANKE, KENNETH H           10319 N KLUG RD                                                                               MILTON            WI   53563‐9329
SCHWANKE, MARILYN A           100 SUNRIDGE AVE                                                                              CAMILLUS          NY   13031‐1415
SCHWANS FOOD COMPANY          115 W COLLEGE DR                                                                              MARSHALL          MN   56258‐1747
SCHWANS HOME SERVICE          ATTN: CORPORATE OFFICER/AUTHORIZED   115 W COLLEGE DR                                         MARSHALL          MN   56258‐3810
                              AGENT
SCHWANS HOME SERVICE          115 W COLLEGE DR                                                                              MARSHALL          MN   56258‐1747
SCHWANS HOMER SERVICE INC     115 WEST MARSHALL DRIVE                                                                       MARSHALL          MN   56258
SCHWANTES, BETTY R            130 HUIET DRIVE                                                                               MCDONOUGH         GA   30252‐8515
SCHWANTES, DONNA J.           1940 S CHATHAM ST                                                                             JANESVILLE        WI   53546‐6065
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Name                             Address1                          Address2                           Address3                    Address4         City               State Zip
SCHWANTES, EMILY R               8225 MONROE ST                    PO BOX 250                                                                      PITTSVILLE          WI 54466
SCHWANTES, HERBERT K             W13482 S PLEASANT RD                                                                                              WESTFIELD           WI 53964‐8304
SCHWANTES, JOHN M                PO BOX 250                                                                                                        PITTSVILLE          WI 54466‐0250
SCHWANTES, LORETTA L             4601 CAMINO DEL ROBLES                                                                                            SANTA BARBARA       CA 93110‐1929
SCHWANTES, RICHARD J             351 S RINGOLD ST                                                                                                  JANESVILLE          WI 53545‐4170
SCHWARB THOMAS KEVIN             CITIZENS INSURANCE                535 GRISWOLD , 1432 BUHL BLDG                                                   DETROIT             MI 48226
SCHWARB THOMAS KEVIN             SCHWARB, SHARON                   535 GRISWOLD , 1432 BUHL BLDG                                                   DETROIT             MI 48226
SCHWARB THOMAS KEVIN             SCHWARB, THOMAS KEVIN             535 GRISWOLD , 1432 BUHL BLDG                                                   DETROIT             MI 48226
SCHWARB, THOMAS
SCHWARCK, HAZEL                  5824 N COLONY DR                                                                                                  SAGINAW            MI    48638
SCHWARCK, HAZEL                  5824 COLONY DR N                                                                                                  SAGINAW            MI    48638‐5715
SCHWARCK, MARK A                 5225 HOSPITAL RD                                                                                                  SAGINAW            MI    48603‐9626
SCHWAREZ AVRAHAM                 DBA AVIANA CONSULTANTS LLC        1355 CORAL CT                      UPTD 10/05/05 GJ                             BROWNSVILLE        TX    78520‐8211
SCHWARK JR, ELMER R              9332 RUBY ST                                                                                                      HOLLY              MI    48442
SCHWARK ROBERT                   SCHWARK, ROBERT                   30928 FORD RD                                                                   GARDEN CITY        MI    48135‐1803
SCHWARK ROBERT                   SCHWARK, ROBERT                   CONSUMER LEGAL SERVICES P.C.       30928 FORD ROAD                              GARDEN CITY        MI    48135
SCHWARK, LELA J                  21907 GRESHAM ST                                                                                                  WEST HILLS         CA    91304‐1318
SCHWARK, ROBERT                  CONSUMER LEGAL SERVICES P.C.      30928 FORD RD                                                                   GARDEN CITY        MI    48135‐1803
SCHWARM, HEINZ F                 PO BOX 154                                                                                                        FRANKENMUTH        MI    48734‐0154
SCHWARTJE HERBERT C (352025)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                     NORFOLK            VA    23510
                                                                   STREET, SUITE 600
SCHWARTJE, HERBERT C             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                     NORFOLK            VA 23510‐2212
                                                                   STREET, SUITE 600
SCHWARTJE, JEANNE A              319 LOMA MEDIA RD                                                                                                 SANTA BARBARA      CA 93103‐2155
SCHWARTJE, WILLIAM H             319 LOMA MEDIA RD                                                                                                 SANTA BARBARA      CA 93103‐2155
SCHWARTZ & EICHELBAUM PC         ATTN: JANICE S PARKER             7400 GAYLORD PARKWAY SUITE 200                                                  FRISCO             TX 75034

SCHWARTZ & FREEMAN               401 N MICHIGAN AVE STE 1900                                                                                       CHICAGO            IL    60611‐4274
SCHWARTZ & NAGLE COMPLETE AUTO   900 RARITAN AVE                                                                                                   HIGHLAND PARK      NJ    08904‐3602
SCHWARTZ & PERRY LLP             295 MADISON AVE                                                                                                   NEW YORK           NY    10017
SCHWARTZ ADAM                    SCHWARTZ, ADAM                    KROHN & MOSS ‐ WI                  120 WEST MADISON STREET ,                    CHICAGO            IL    44114
                                                                                                      10TH FLOOR
SCHWARTZ ADAM                    SCHWARTZ, SHARON                  KROHN & MOSS ‐ WI                  120 WEST MADISON STREET ,                    CHICAGO             IL   44114
                                                                                                      10TH FLOOR
SCHWARTZ BRUCE                   2283 GOLD OAK LN                                                                                                  SARASOTA           FL    34232‐6826
SCHWARTZ COOPER GREENBERGER &    KRAUSS CHARTERED                  180 N LA SALLE ST                                                               CHICAGO            IL    60601
SCHWARTZ DAREL C (475930)        ANGELOS PETER G LAW OFFICES       60 WEST BROAD ST                                                                BETHLEHEM          PA    18018
SCHWARTZ DAREL C (494698)        ANGELOS PETER G LAW OFFICES       60 WEST BROAD ST                                                                BETHLEHEM          PA    18018
SCHWARTZ FRANCENE                8718 LUNSKI LN                                                                                                    EDEN PRAIRIE       MN    55347‐2440
SCHWARTZ HELEN                   17450 COFFIN RD                                                                                                   LEAVENWORTH        KS    66048‐8447
SCHWARTZ INDUSTRIES INC          6909 E 11 MILE RD                                                                                                 WARREN             MI    48092‐3907
SCHWARTZ J                       2640 CALWAGNER ST                                                                                                 FRANKLIN PARK      IL    60131‐3338
SCHWARTZ JAMES G LAW OFFICES     7901 STONERIDGE DR STE 401                                                                                        PLEASANTON         CA    94588‐3656
SCHWARTZ JANE                    2354 151ST LN NW                                                                                                  ANDOVER            MN    55304‐4587
SCHWARTZ JOHN (497239)           EARLY LUDWICK & SWEENEY L.L.C.    ONE CENTURY TOWER, 11TH FLOOR ,                                                 NEW HAVEN          CT    06510
                                                                   265 CHURCH STREET
SCHWARTZ JR, JOHN J              241 CRABAPPLE LN                                                                                                  BUFFALO            NY    14227‐2374
SCHWARTZ JR, LEONARD             8081 MORROW RD                                                                                                    CLAY               MI    48001‐3202
SCHWARTZ LAW FIRM                IOLTA ACCOUNT                     37887 W 12 MILE RD STE A                                                        FARMINGTON HILLS   MI    48331‐3096
SCHWARTZ LYNEE (447574)          CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                                CLEVELAND          OH    44115
                                 GAROFOLI                          FL
SCHWARTZ MACH/WARREN             4441 E 8 MILE RD                                                                                                  WARREN             MI 48091‐2707
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Name                              Address1                       Address2                         Address3   Address4         City               State Zip
SCHWARTZ MACHINE CO               4441 E 8 MILE RD                                                                            WARREN              MI 48091‐2707
SCHWARTZ PRECISION GEAR CO        24649 MOUND RD                                                                              WARREN              MI 48091‐2043
SCHWARTZ RICHARD D (357501)       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA 23510
                                                                 STREET, SUITE 600
SCHWARTZ RICKY LEE                CRADDOCK, SARAH                124 WEST PINE STREET ‐ SUITE B                               MISSOULA           MT   59802
SCHWARTZ RICKY LEE                SCHWARTZ, ELIZABETH            124 WEST PINE STREET ‐ SUITE B                               MISSOULA           MT   59802
SCHWARTZ RICKY LEE                SCHWARTZ, RICKY LEE            124 WEST PINE STREET ‐ SUITE B                               MISSOULA           MT   59802
SCHWARTZ RICKY LEE                STOLLAK, BRANDI                124 WEST PINE STREET ‐ SUITE B                               MISSOULA           MT   59802
SCHWARTZ RICKY LEE                STOLLAK, MILTON                124 WEST PINE STREET ‐ SUITE B                               MISSOULA           MT   59802
SCHWARTZ ROBERT E (VA) (352577)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510
                                                                 STREET, SUITE 600
SCHWARTZ SANFORD MD PC            50 FINCH FOREST TRL NW                                                                      ATLANTA            GA   30327‐4576
SCHWARTZ SAUL                     2365 TALL OAKS DR                                                                           TROY               MI   48098‐2468
SCHWARTZ SONNY                    SCHWARTZ, SONNY                817 BRISTOL ST                                               ADRIAN             MI   49221‐2410
SCHWARTZ SPENCER                  80 LAFATEYYE ST APT PH4‐B                                                                   NEW YORK           NY   10013
SCHWARTZ STEPHANIE                10731 MISSION LAKES AVENUE                                                                  LAS VEGAS          NV   89134‐5270
SCHWARTZ WILLIAM                  22 SAN BONIFACIO                                                                            RCHO STA MARG      CA   92688‐2520
SCHWARTZ, ADAM                    KROHN & MOSS ‐ WI              120 WEST MADISON STREET, 10TH                                CHICAGO            IL   44114
                                                                 FLOOR
SCHWARTZ, ALFRED J                2835 COURTLAND PL                                                                           SAGINAW            MI   48603‐3185
SCHWARTZ, ALICE A                 7256 STONEYBROOK CT                                                                         WASHINGTON         MI   48094‐2190
SCHWARTZ, ALLEN K                 905 SEBEK ST                                                                                OXFORD             MI   48371‐4459
SCHWARTZ, ANDREW D                2639 PIN OAK DR                                                                             ANN ARBOR          MI   48103‐2370
SCHWARTZ, ANDREW K                10835 KINGSTON AVE                                                                          HUNTINGTON WOODS   MI   48070‐1161
SCHWARTZ, ANTHONY C               3047 S SHERIDAN RD                                                                          LENNON             MI   48449‐9455
SCHWARTZ, ARNOLD R                7920 THORNWOOD ST                                                                           CANTON             MI   48187‐1009
SCHWARTZ, ARTHUR                  2013 E RICE DR                                                                              TEMPE              AZ   85283‐2426
SCHWARTZ, ARTHUR                  1912 ARDIS ST                                                                               FORT WAYNE         IN   46819‐1312
SCHWARTZ, ARTHUR G                45 COLLEGE GREENE DR           APT 116                                                      NORTH CHILI        NY   14514‐1248
SCHWARTZ, ARTHUR R                2639 PIN OAK DR                                                                             ANN ARBOR          MI   48103‐2370
SCHWARTZ, AVANTHEA                2365 TALL OAKS DR                                                                           TROY               MI   48098‐2468
SCHWARTZ, BETTY R                 4123 RYAN CT                                                                                KOKOMO             IN   46902‐4491
SCHWARTZ, CAROL J                 926 DIVISION STREET                                                                         ADRIAN             MI   49221‐4024
SCHWARTZ, CARRIE
SCHWARTZ, CARTER B                620 E MAIN ST                                                                               FLUSHING           MI   48433‐2008
SCHWARTZ, CHARLES E               1507 ELGIN AVE                                                                              FOREST PARK        IL   60130‐2617
SCHWARTZ, CHARLES F               1202 LAWNVIEW CT                                                                            FLINT              MI   48507‐4710
SCHWARTZ, CHARLES H               961 MEADOW LANE                                                                             WHEELERSBURG       OH   45694‐8868
SCHWARTZ, CHARLES J               9600 MYRA CT                                                                                SAINT LOUIS        MO   63123‐6220
SCHWARTZ, CHARLES R               103 DENNIS DR                                                                               ELIZABETH CITY     NC   27909‐9652
SCHWARTZ, CHARLOTTE J.            350 TRILLUM TRL                                                                             OXFORD             MI   48371‐6302
SCHWARTZ, CLAIRE E                19 SMULLEN AVE 2                                                                            NEWARK VALLEY      NY   13811
SCHWARTZ, CONRAD P                30144 BUCKINGHAM ST                                                                         LIVONIA            MI   48154‐4428
SCHWARTZ, CYNTHIA L               1930 N GRANITE DR                                                                           JANESVILLE         WI   53548‐8417
SCHWARTZ, DANIEL F                3 GRACE TER                                                                                 HARRISON           NJ   07029‐3320
SCHWARTZ, DANIEL J                374 SCHLUERSBURG RD                                                                         AUGUSTA            MO   63332‐1428
SCHWARTZ, DANIEL W                8375 NEWCOMB DR                                                                             PARMA              OH   44129‐5824
SCHWARTZ, DAREL C                 ANGELOS PETER G LAW OFFICES    60 WEST BROAD ST                                             BETHLEHEM          PA   18018
SCHWARTZ, DAVID                   541 PELHAM RD APT 2T                                                                        NEW ROCHELLE       NY   10805‐1617
SCHWARTZ, DAVID A                 2539 ESSEX LN                                                                               BLOOMFIELD HILLS   MI   48304‐1461
SCHWARTZ, DAVID L                 5714 LASSITER MILL PL                                                                       FORT WAYNE         IN   46835‐8833
SCHWARTZ, DAVID P                 10919 128TH AVE                                                                             LARGO              FL   33778
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Name                      Address1                        Address2                         Address3   Address4                City               State Zip
SCHWARTZ, DAVID W         3418 DOE DR                                                                                         JANESVILLE          WI 53548‐8559
SCHWARTZ, DAVID W         4609 MESA DR                                                                                        INDIANAPOLIS        IN 46241‐6544
SCHWARTZ, DEBORAH L       19937 N GREAT OAKS CIR                                                                              CLINTON TOWNSHIP    MI 48036‐2437
SCHWARTZ, DENNIS A        N4020 GOLF LN                                                                                       BRODHEAD            WI 53520‐9691
SCHWARTZ, DENNIS L        48 KILLARNEY BEACH RD                                                                               BAY CITY            MI 48706‐1178
SCHWARTZ, DOLORES         BRADFORD APARTMENTS             APT 218                                                             HAMBURG             NY 14075‐4075
SCHWARTZ, DONALD          80 SANDBURY DRIVE                                                                                   PITTSFORD           NY 14534‐2636
SCHWARTZ, DONALD A        306 CLOVE CT                                                                                        FORISTELL           MO 63348‐2677
SCHWARTZ, DONALD E        5725 LAKE BREEZE AVE                                                                                LAKELAND            FL 33809‐3342
SCHWARTZ, DOROTHY J       45 E 89TH ST APT 7C                                                                                 NEW YORK            NY 10128‐1227
SCHWARTZ, DOUGLAS H       606 SOUTH GROVE STREET                                                                              DELTON              MI 49046‐9401
SCHWARTZ, EDITH M         12856 NORBORNE                                                                                      REDFORD             MI 48239‐2768
SCHWARTZ, EDWARD J        1083 MIDLAND ROAD                                                                                   BAY CITY            MI 48706‐9422
SCHWARTZ, ELAINE M        310 S 69TH ST                                                                                       MILWAUKEE           WI 53214‐1612
SCHWARTZ, ELAINE R        5856 VANGEISEN                                                                                      FAIRGROVE           MI 48733‐9599
SCHWARTZ, ELAINE R        5856 VAN GEISEN RD                                                                                  FAIRGROVE           MI 48733‐9599
SCHWARTZ, ELEANOR         306 S STILES ST                                                                                     LINDEN              NJ 07036‐4400
SCHWARTZ, ELIZABETH       MORIARITY GOOCH BADARUDDIN &    124 WEST PINE STREET ‐ SUITE B                                      MISSOULA            MT 59802‐4222
                          BOOKE
SCHWARTZ, EMMA L          1417 N MACK SMITH RD APT 130                                                                        EAST RIDGE         TN   37412‐3991
SCHWARTZ, ERIC F          4180 MILLINGTON RD                                                                                  CLIFFORD           MI   48727‐9716
SCHWARTZ, ERIC FALCONER   4180 MILLINGTON RD                                                                                  CLIFFORD           MI   48727‐9716
SCHWARTZ, ERIC M          117 BEATRICE LANE                                                                                   ASTON              PA   19014‐2275
SCHWARTZ, ERIK            47B WASHINGTON CRES                                                         ELLIOT LAKE ON CANADA
                                                                                                      P5A‐2L6
SCHWARTZ, ERNEST L        135 FORTNEY AVE                                                                                     GALION             OH   44833‐1447
SCHWARTZ, EVELYN          104 ELM BOX 167                                                                                     HOPKINS            MI   49328
SCHWARTZ, FRANK           180 CARLOS AVE                                                                                      ROSCOMMON          MI   48653‐8367
SCHWARTZ, FRED W          1316 WISE DR                                                                                        MIAMISBURG         OH   45342‐3352
SCHWARTZ, FRED W          1316 WISE DR.                                                                                       MIAMISBURG         OH   45342‐3352
SCHWARTZ, FREDERICK R     510 E MAPLE ST                                                                                      HOLLY              MI   48442‐1650
SCHWARTZ, FREDERICK W     3430 HAVENWOOD DR                                                                                   LEWISTON           MI   49756
SCHWARTZ, GARTH B         4105 OCONNER RD                                                                                     FLINT              MI   48504‐6922
SCHWARTZ, GARY A          2139 TOWNLINE RD                                                                                    ROSE CITY          MI   48654‐9706
SCHWARTZ, GARY A          6541 BIRCH RUN RD                                                                                   BIRCH RUN          MI   48415‐8553
SCHWARTZ, GARY E          2253 ROSELAWN ST                                                                                    SARASOTA           FL   34231‐4617
SCHWARTZ, GARY L          3672 GAINESBOROUGH DR                                                                               ORION              MI   48359‐1616
SCHWARTZ, GARY L          30590 LORRAINE AVE                                                                                  WARREN             MI   48093‐2268
SCHWARTZ, GEORGE B        6440 S CREEK CT 9106                                                                                FLOWERY BRANCH     GA   30542
SCHWARTZ, GEORGE D        5615 MCALPINE RD                                                                                    GAGETOWN           MI   48735‐9510
SCHWARTZ, GEORGE S        305 FAIRHAVEN ST                                                                                    FLORENCE           SC   29501
SCHWARTZ, GEORGIA L       39559 OLD DOMINION DR                                                                               CLINTON TWP        MI   48038‐2650
SCHWARTZ, GERALD F        18692 M 33                                                                                          ATLANTA            MI   49709
SCHWARTZ, GERALD F        18692 ELKWOOD TRAIL                                                                                 ATLANTA            MI   49709‐9630
SCHWARTZ, GERALD K        17516 W CALISTOGA DR                                                                                SURPRISE           AZ   85387
SCHWARTZ, GERMAINE J      2310 FITZHUGH                                                                                       BAY CITY           MI   48708‐8669
SCHWARTZ, GERMAINE J      2310 FITZHUGH ST                                                                                    BAY CITY           MI   48708‐8669
SCHWARTZ, GLEN N          3815 GIRARD DR                                                                                      WARREN             MI   48092‐4917
SCHWARTZ, GLENN C         303 WENDRON CT                                                                                      FRANKLIN           TN   37069‐4340
SCHWARTZ, HAROLD V        5805 WILLIAMSBURG DR                                                                                HIGHLAND HEIGHTS   OH   44143‐2021
SCHWARTZ, HARRY B         2431 OLD SCHOOL RD                                                                                  INDIAN RIVER       MI   49749‐9130
SCHWARTZ, HELEN J         135 FORTNEY AVE                                                                                     GALION             OH   44833‐1447
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Name                   Address1                          Address2                          Address3   Address4         City               State Zip
SCHWARTZ, IMOGENE      30590 LORRAINE AVE                                                                              WARREN              MI 48093‐2268
SCHWARTZ, IRENE        33157 SOMERSET DR.                                                                              STERLING HTS.       MI 48312‐6059
SCHWARTZ, IRENE C      15220 KENTON                                                                                    OAK PARK            MI 48237‐1554
SCHWARTZ, IRENE C      15220 KENTON ST                                                                                 OAK PARK            MI 48237‐1554
SCHWARTZ, ISABEL M     1083 MIDLAND RD                                                                                 BAY CITY            MI 48706‐9422
SCHWARTZ, JAMES D      12950 WADSWORTH RD                                                                              REESE               MI 48757‐9329
SCHWARTZ, JAMES R      5431 MEADOWBROOK DR                                                                             BAY CITY            MI 48706‐3027
SCHWARTZ, JANE A       2354 151ST LN NW                                                                                ANDOVER             MN 55304‐4587
SCHWARTZ, JERRY        6087 AARON LN                                                                                   HUBER HEIGHTS       OH 45424‐3652
SCHWARTZ, JERRY        6087 AARON LANE                                                                                 HUBER HEIGHTS       OH 45424‐3652
SCHWARTZ, JOHN         EARLY LUDWICK & SWEENEY L.L.C.    ONE CENTURY TOWER, 11TH FLOOR,                                NEW HAVEN           CT 06508‐1866
                                                         265 CHURCH STREET
SCHWARTZ, JOHN D       300 BARRY PL                                                                                    BRISTOL            PA   19007‐4307
SCHWARTZ, JOHN E       89 LINDA ISLE                                                                                   NEWPORT BEACH      CA   92660‐7209
SCHWARTZ, JOHN H       3615 N COCOPA DR                                                                                ELOY               AZ   85131
SCHWARTZ, JOHN J       3 GRACE TER                                                                                     HARRISON           NJ   07029‐3320
SCHWARTZ, JOHN L       2119 RUTGERS DR                                                                                 TROY               MI   48085‐3882
SCHWARTZ, JOSEPH       5265 N 290 W                                                                                    HOWE               IN   46746
SCHWARTZ, JOVITA A     15821 19 MILE RD APT 321                                                                        CLINTON TOWNSHIP   MI   48038
SCHWARTZ, JOYCE M      8081 MORROW RD                                                                                  CLAY               MI   48001‐3202
SCHWARTZ, KURT A       8408 LOVERS LN                                                                                  PORTAGE            MI   49002
SCHWARTZ, KURTIS C     102 ASHLEE DR                                                                                   LEWISBURG          OH   45338‐9302
SCHWARTZ, LARRY J      LOT 213                           300 NORTH BARE AVENUE                                         NORTH PLATTE       NE   69101‐4447
SCHWARTZ, LARRY L      381 W BEECHNUT PL                                                                               SUN LAKES          AZ   85248‐6311
SCHWARTZ, LARRY P      15407 W BLUE SKIES CT                                                                           LIVONIA            MI   48154‐1515
SCHWARTZ, LEO F        P O BOX 35 M‐68                                                                                 TOWER              MI   49792
SCHWARTZ, LEONARD G    12192 MACON HWY                                                                                 CLINTON            MI   49236‐9596
SCHWARTZ, LINDA S      641 47TH ST                                                                                     BALTIMORE          MD   21224‐3113
SCHWARTZ, LOIS         9695 36TH STREET SOUTH                                                                          SCOTTS             MI   49088‐8372
SCHWARTZ, LOREN J      9800 TURK RD                                                                                    OTTAWA LAKE        MI   49267‐8733
SCHWARTZ, LOREN JOHN   9800 TURK RD                                                                                    OTTAWA LAKE        MI   49267‐8733
SCHWARTZ, LOUIS        79‐25 105TH ST. #C7                                                                             FLUSHING           NY   11367
SCHWARTZ, LYNEE        CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                               CLEVELAND          OH   44115
                       GAROFOLI                          FL
SCHWARTZ, M D          8 DEER RUN                                                                                      ROCHESTER          NY   14623‐5120
SCHWARTZ, MARC L       540 SKY WAY DR                                                                                  OREGON             OH   43616‐1559
SCHWARTZ, MARC LOUIS   540 SKY WAY DR                                                                                  OREGON             OH   43616‐1559
SCHWARTZ, MARGARET G   7650 RAINVIEW COURT                                                                             HUBER HEIGHTS      OH   45424‐2423
SCHWARTZ, MARILYN D    5753 ELLORA CT SE                                                                               KENTWOOD           MI   49508‐6422
SCHWARTZ, MARK A       3401 MILLER RD                                                                                  FLINT              MI   48503‐4607
SCHWARTZ, MARLENE M    5309 MANSFIELD DR                                                                               GREENDALE          WI   53129‐1222
SCHWARTZ, MARY ANN     4 CLINTON STREET                                                                                LINDEN             NJ   07036‐3102
SCHWARTZ, MARY L       915 E 32ND ST                                                                                   HOLLAND            MI   49423
SCHWARTZ, MARY LOU     14303 BRANDERMILL WOODS TRL APT                                                                 MIDLOTHIAN         VA   23112‐4296
                       B315
SCHWARTZ, MICHAEL D    3834 N PARK CROSSING AVE                                                                        MERIDIAN           ID   83646‐1670
SCHWARTZ, MICHAEL S    5331 GREENVIEW DR                                                                               CLARKSTON          MI   48348‐3718
SCHWARTZ, NANCY L      1980 SCENIC DR                                                                                  CANTON             MI   48188‐1415
SCHWARTZ, NEDA E       15801 17 MILE RD                                                                                CLINTON TOWNSHIP   MI   48038‐2703
SCHWARTZ, NORMAN W     APT 218                           5660 SOUTH PARK AVENUE                                        HAMBURG            NY   14075‐3011
SCHWARTZ, PATRICIA A   9590 RIDGE TOP TRL                                                                              CLARKSTON          MI   48348‐2352
SCHWARTZ, PAUL M       8209 BROOKINGTON DR                                                                             SHREVEPORT         LA   71107‐8604
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Name                      Address1                         Address2                         Address3   Address4         City             State Zip
SCHWARTZ, PEGGY A         7090 N LONG LAKE RD                                                                           TRAVERSE CITY     MI 49684‐8220
SCHWARTZ, PEGGY J         12664 E 340 S                                                                                 GREENTOWN         IN 46936‐8910
SCHWARTZ, PENNY A         3057 FLORINE AVE                                                                              MOUNT MORRIS      MI 48458‐9451
SCHWARTZ, RANDY L         PO BOX 281                                                                                    IRVINGTON          IL 62848‐0281
SCHWARTZ, RICHARD         6767 GILMAN ST                                                                                GARDEN CITY       MI 48135‐2282
SCHWARTZ, RICHARD         28641 PARDO ST                                                                                GARDEN CITY       MI 48135‐2839
SCHWARTZ, RICHARD A       6629 POND VIEW RD                # 26                                                         CLARKSTON         MI 48346‐3485
SCHWARTZ, RICHARD A       6629 POND VIEW RD #26                                                                         CLARKSTON         MI 48346‐3485
SCHWARTZ, RICHARD D       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510‐2212
                                                           STREET, SUITE 600
SCHWARTZ, RICHARD O       12664 E 340 S                                                                                 GREENTOWN        IN 46936‐8910
SCHWARTZ, RICKY LEE       MORIARITY GOOCH BADARUDDIN &     124 WEST PINE STREET ‐ SUITE B                               MISSOULA         MT 59802‐4222
                          BOOKE
SCHWARTZ, ROBERT A        3450 CRAMER RD                                                                                BAY CITY         MI 48706‐1220
SCHWARTZ, ROBERT C        2702 144TH AVE                                                                                DORR             MI 49323‐9707
SCHWARTZ, ROBERT E        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510‐2212
                                                           STREET, SUITE 600
SCHWARTZ, ROBERT J        3981 MALLARD BAY                                                                              PERRY            OH   44081‐9406
SCHWARTZ, ROBERT P        2645 VIENNA RD                                                                                ERIE             MI   48133‐9356
SCHWARTZ, ROBERT PAUL     2645 VIENNA RD                                                                                ERIE             MI   48133‐9356
SCHWARTZ, ROBERT R        53574 DRYDEN ST                                                                               SHELBY TWP       MI   48316‐2410
SCHWARTZ, ROBERT R        21122 LIONHEART DR                                                                            LEESBURG         FL   34748‐7591
SCHWARTZ, ROGER L         36620 CALLE OESTE                                                                             CATHEDRAL CITY   CA   92234‐1752
SCHWARTZ, ROGER R         1919 MYRA AVE                                                                                 JANESVILLE       WI   53548‐0155
SCHWARTZ, RONALD          13231 LEVERNE                                                                                 DETROIT          MI   48239‐4609
SCHWARTZ, RONALD E        348 8TH ST                                                                                    ANN ARBOR        MI   48103‐4326
SCHWARTZ, RONALD W        3250 S US HIGHWAY 27                                                                          BERNE            IN   46711‐9770
SCHWARTZ, ROSE            540 SKY WAY DRIVE                                                                             OREGON           OH   43616‐1559
SCHWARTZ, RUTH L          5011 LEAVITT RD                                                                               LORAIN           OH   44053‐2143
SCHWARTZ, SANFORD H MD    50 FINCH FOREST TRL NW                                                                        ATLANTA          GA   30327‐4576
SCHWARTZ, SAUL            2365 TALL OAKS DR                                                                             TROY             MI   48098‐2468
SCHWARTZ, SAUL            PO BOX 320452                                                                                 FLINT            MI   48532‐0008
SCHWARTZ, SHARON          KROHN & MOSS ‐ WI                120 WEST MADISON STREET, 10TH                                CHICAGO          IL   44114
                                                           FLOOR
SCHWARTZ, SHERYL H        115 TWIN LN N                                                                                 WANTAGH          NY   11793‐1961
SCHWARTZ, SHIRLEY E       348 8TH ST                                                                                    ANN ARBOR        MI   48103‐4326
SCHWARTZ, SONNY           817 BRISTOL ST                                                                                ADRIAN           MI   49221‐2410
SCHWARTZ, STAN W          3519 NE GRANT ST                                                                              LEES SUMMIT      MO   64064‐2008
SCHWARTZ, STANLEY F       74 S ROSSLER AVE                                                                              CHEEKTOWAGA      NY   14206‐3418
SCHWARTZ, STEVEN E        228 E LISTER ST                                                                               SHREVEPORT       LA   71101‐5110
SCHWARTZ, STEVEN E        2528 SPRUCE DR                                                                                BOSSIER CITY     LA   71111‐5133
SCHWARTZ, STEVEN EDWARD   2528 SPRUCE DR                                                                                BOSSIER CITY     LA   71111‐5133
SCHWARTZ, SUSAN           7699 KEYSTONE DR                                                                              PAINESVILLE      OH   44077‐8729
SCHWARTZ, TERRY E         2802 EVERGREEN DR                                                                             BAY CITY         MI   48706‐6314
SCHWARTZ, THOMAS A        PO BOX 2045                                                                                   LADY LAKE        FL   32158‐2045
SCHWARTZ, THOMAS B        4741 TIPTON DR                                                                                TROY             MI   48098‐4466
SCHWARTZ, THOMAS C        4447 MAPLE LAKE DR                                                                            CALEDONIA        MI   49316‐9268
SCHWARTZ, THOMAS M        562 SYMMES RD                                                                                 FAIRFIELD        OH   45014‐1642
SCHWARTZ, TIMOTHY D       2993 GREENS MILL RD                                                                           SPRING HILL      TN   37174‐2120
SCHWARTZ, TIMOTHY J       56 HOWARD AVE                                                                                 COLUMBUS         OH   43085‐3651
SCHWARTZ, TIMOTHY J       969 YARGERVILLE RD                                                                            IDA              MI   48140‐9749
SCHWARTZ, TREVOR J        PO BOX 665                       703 1ST. AVE.                                                MINATARE         NE   69356‐0665
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Name                            Address1                      Address2             Address3        Address4         City                  State Zip
SCHWARTZ, TREVOR JOEL           PO BOX 665                    703 1ST. AVE.                                         MINATARE               NE 69356‐0665
SCHWARTZ, VERNA M               4438 PACKARD RD                                                                     TOLEDO                 OH 43612‐1944
SCHWARTZ, VERNON E              7337 STATE ROUTE 66                                                                 OAKWOOD                OH 45873‐9528
SCHWARTZ, VICKI TRACHTEN        11652 E DORADO AVE                                                                  ENGLEWOOD              CO 80111‐4144
SCHWARTZ, WALTER R              43 WHEATSHEAF RD                                                                    SHAMONG                NJ 08088‐8976
SCHWARTZ, WAYNE E               970 E BRITTON RD                                                                    MORRICE                MI 48857‐9720
SCHWARTZ, WAYNE J               10223 HYACINTH DR                                                                   ORLAND PARK             IL 60462‐3047
SCHWARTZ, WAYNE L               21 SCHUYLKILL DR                                                                    WERNERSVILLE           PA 19565‐2009
SCHWARTZ, WILFRED J             7194 TOWNSEND RD                                                                    APPLEGATE              MI 48401‐9611
SCHWARTZ, WILLIAM A             11118 ALBION RD                                                                     N ROYALTON             OH 44133‐2505
SCHWARTZ, WILLIAM D             7709 AMBERWOOD TRL                                                                  BOARDMAN               OH 44512‐4769
SCHWARTZ, WILLIAM E             372 GEORGES RD                                                                      DAYTON                 NJ 08810‐1425
SCHWARTZ, WILLIAM E             1844 W LONGVIEW AVE                                                                 MANSFIELD              OH 44906‐1406
SCHWARTZ, WILLIAM M             348 WESTBROOK RD                                                                    SAINT HELENA ISLAND    SC 29920‐3001
SCHWARTZ, WILLIAM P             5753 ELLORA CT SE                                                                   KENTWOOD               MI 49508‐6422
SCHWARTZ, WILLIAM W             11027 PENINSULA LN                                                                  KELLER                 TX 76248‐4856
SCHWARTZ, YVONNE K              812 OVERBLUFF LN                                                                    YAKIMA                 WA 98901‐4307
SCHWARTZ, YVONNE KAY            812 OVERBLUFF LN                                                                    YAKIMA                 WA 98901‐4307
SCHWARTZ,KURTIS C               102 ASHLEE DR                                                                       LEWISBURG              OH 45338‐9302
SCHWARTZ‐SMITH, DENA C          P O BOX 247                                                                         REED CITY              MI 49677‐0247
SCHWARTZE, JAMES A              RT 2 BOX 78                                                                         CLARK                  MO 65243
SCHWARTZE, PAUL M               RR 2 BOX 151                                                                        ODESSA                 MO 64076
SCHWARTZE, ROBERT L             401 S 3RD ST                                                                        ODESSA                 MO 64076‐1413
SCHWARTZE, STEPHEN              RR 2                                                                                ODESSA                 MO 64076
SCHWARTZENBERGER, EDWARD J      4928 WILDERNESS TRL                                                                 GRAYLING               MI 49738‐6413
SCHWARTZENBERGER, EDWARD JOHN   4928 WILDERNESS TRAIL                                                               GRAYLING               MI 49738‐6413
SCHWARTZENBERGER, MARY S        4928 WILDERNESS TRL                                                                 GRAYLING               MI 49738‐6413
SCHWARTZFISHER, ANTHONY L       1715 W STOLL RD                                                                     DEWITT                 MI 48820‐8641
SCHWARTZFISHER, EUGENE J        4809 GULL RD APT 25                                                                 LANSING                MI 48917‐4187
SCHWARTZFISHER, FRANCIS J       4809 GULL RD APT 25                                                                 LANSING                MI 48917‐4187
SCHWARTZFISHER, KENNETH L       10092 PIONEER RD                                                                    EAGLE                  MI 48822‐9728
SCHWARTZFISHER, ROBERT J        206 THEO AVE                                                                        LANSING                MI 48917‐2645
SCHWARTZKOPF JR, JOHN M         121 GARFIELD AVE                                                                    TRENTON                NJ 08609‐1611
SCHWARTZKOPF, ALMA T            1714 S WALNUT ST.                                                                   HARTFORD CITY          IN 47348
SCHWARTZKOPF, ELINOR D          180 S COLONY DR APT 626                                                             SAGINAW                MI 48638‐6092
SCHWARTZKOPF, REBA A            5102 SOUTHERN HILLS LN                                                              LAS VEGAS              NV 89113‐1392
SCHWARTZKOPF, ROBERT            11933 PRINCEWOOD DR                                                                 FISHERS                IN 46037‐3941
SCHWARTZKOPF, ROBERT J.         11933 PRINCEWOOD DR                                                                 FISHERS                IN 46037‐3941
SCHWARTZKOPF, ROBERT L          5611 BAYSHORE RD LOT 45                                                             PALMETTO               FL 34221‐9228
SCHWARTZKOPF, RONALD J          SCHWARTZKOPF, NINA S          2408 DELAWARE BLVD                                    SAGINAW                MI 48602‐5246
SCHWARTZKOPF, SHARYN L          7660 SOMERVILLE DR                                                                  HUBER HEIGHTS          OH 45424‐2240
SCHWARTZLOW JR, JAMES D         12943W GLACIER DR                                                                   EVANSVILLE             WI 53536
SCHWARTZLOW, CHRISTOPHER L      1213 E TIMBER PKWY                                                                  MILTON                 WI 53563‐9429
SCHWARTZLOW, GARY L             1712 23RD AVE                                                                       MONROE                 WI 53566‐3138
SCHWARTZLOW, JEFFERY W          3639 E ROVI DR                                                                      MILTON                 WI 53563‐8818
SCHWARTZLOW, KAREN J            74 AUDUBON PL                                                                       NEWNAN                 GA 30265‐2002
SCHWARTZLOW, LARRY H            1055 W CALLE DE PITAHAYA                                                            GREEN VALLEY           AZ 85622‐4816
SCHWARTZLOW, LAWRENCE J         121 CRAWFORD ST                                                                     EVANSVILLE             WI 53536‐1216
SCHWARTZLOW, LORRAINE M         220 W LIBERTY ST                                                                    EVANSVILLE             WI 53536‐1253
SCHWARTZLOW, RICK A             W1408 BROOKLYN ALBANY RD                                                            ALBANY                 WI 53502‐9571
SCHWARTZLY, JOHN M              744 MID‐GLAD CO LINE RD.                                                            HOPE                   MI 48628
SCHWARTZLY, MARJORIE            1257 ANDREW ST                                                                      SAGINAW                MI 48603‐6507
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Name                       Address1                          Address2               Address3   Address4         City                 State Zip
SCHWARTZMEYER, HARVEY L    11300 KETCHUM RD                                                                     NORTH COLLINS         NY 14111‐9741
SCHWARTZMEYER, JOAN        188 STEPPING STONE LANE                                                              ORCHARD PARK          NY 14127‐4107
SCHWARTZMEYER, KATHY L     11300 KETCHUM RD                                                                     NORTH COLLINS         NY 14111‐9741
SCHWARTZMEYER, KATHY LEE   11300 KETCHUM RD                                                                     NORTH COLLINS         NY 14111‐9741
SCHWARTZMILLER, ERVIN D    1416 NATIONAL WAY                                                                    ZANESVILLE            OH 43701‐5753
SCHWARTZMILLER, KATHLEEN   3151 NW 44TH AVE LOT 207                                                             OCALA                 FL 34482‐7833
SCHWARZ I I, EDWARD A      78 CEDAR CREEK LN                                                                    BRASELTON             GA 30517‐2852
SCHWARZ II, EDWARD ALLEN   78 CEDAR CREEK LN                                                                    BRASELTON             GA 30517‐2852
SCHWARZ MANFRED L          3243 E MOORE RD                                                                      SAGINAW               MI 48601‐9346
SCHWARZ SR., CHARLES L     506 N LAKE SHORE DR                                                                  PALATINE               IL 60067‐2352
SCHWARZ, AARON C           12915 W TITTABAWASSEE RD                                                             FREELAND              MI 48623‐9286
SCHWARZ, ALFRED            680 LEDGEROCK CIR                                                                    BRUNSWICK             OH 44212‐5529
SCHWARZ, ANGELA K          2391 KING RD                                                                         LAPEER                MI 48446‐8390
SCHWARZ, ANNA L            1163 CLEARVIEW                                                                       WARREN                OH 44485‐2424
SCHWARZ, BEVERLY R         17166 W LAIRD CT                                                                     SURPRISE              AZ 85387‐4204
SCHWARZ, DONALD J          250 FORT HOWELL DR                                                                   HILTON HEAD ISLAND    SC 29926‐2763
SCHWARZ, FRED J            17166 W LAIRD CT                                                                     SURPRISE              AZ 85387
SCHWARZ, FRED P            1309 HENRY ST                                                                        ANN ARBOR             MI 48104‐4405
SCHWARZ, FREDERICK E       35826 RICHLAND ST                                                                    LIVONIA               MI 48150‐2547
SCHWARZ, GEORGE A          9253 CAIN DR NE                                                                      WARREN                OH 44484‐1710
SCHWARZ, GERALDINE         1336 RIVERDALE CIR                                                                   CHESTERFIELD          MO 63005‐4472
SCHWARZ, GLEN L            C/O GOLDENBERG HELLER ANTOGNOLI   2227 S STATE RTE 157                               EDWARDSVILLE           IL 62025
                           AND ROWLAND P C
SCHWARZ, GLEN L            3811 RANDOM RD                                                                       KINSTON              NC   28504‐8469
SCHWARZ, GLENDA R          3811 RANDOM RD                                                                       KINSTON              NC   28504‐8469
SCHWARZ, GORDON E          1624 OCEAN DR                                                                        MANSFIELD            TX   76063‐5917
SCHWARZ, JOCHEN W          2391 KING RD                                                                         LAPEER               MI   48446‐8390
SCHWARZ, JOHN G            W5867 HEDRICK DR                                                                     FORT ATKINSON        WI   53538‐9386
SCHWARZ, JONATHAN R        1069 DREON DR                                                                        CLAWSON              MI   48017‐1050
SCHWARZ, JOYCE A           4415 LOUISE ST.                                                                      SAGINAW              MI   48603‐4139
SCHWARZ, JOYCE A           4415 LOUISE ST                                                                       SAGINAW              MI   48603‐4139
SCHWARZ, LOIS L            2117 CRESTBROOK LN                                                                   FLINT                MI   48507‐2204
SCHWARZ, LORE              22918 LINGEMANN                                                                      ST CLAIR SHORES      MI   48080‐4116
SCHWARZ, LORRAINE          7928 LAKEPOINT CIR                                                                   LAS VEGAS            NV   89128‐6924
SCHWARZ, MANFRED DO        3243 E MOORE RD                                                                      SAGINAW              MI   48601‐9346
SCHWARZ, MANFRED L         3243 E MOORE RD                                                                      SAGINAW              MI   48601‐9346
SCHWARZ, MARTHA            320 S GRANT ST                                                                       PORTLAND             MI   48875‐1568
SCHWARZ, MARTHA            320 GRANT ST                                                                         PORTLAND             MI   48875‐1568
SCHWARZ, MARY C            4477 TOULOUSE CIR                                                                    KETTERING            OH   45429‐1887
SCHWARZ, MARY E            318 HARROW LN                                                                        SAGINAW              MI   48638‐6050
SCHWARZ, MARY E            2811 DAVENPORT APT 309                                                               SAGINAW              MI   48602‐3745
SCHWARZ, PAULINE M         27884 WILD SAGE CT                                                                   SUN CITY             CA   92585‐3907
SCHWARZ, PETER J           9420 ADMIRAL LOWELL AVE NE                                                           ALBUQUERQUE          NM   87111‐1202
SCHWARZ, RANDALL J         5564 CARROLLTON CT                                                                   ROCHESTER HILLS      MI   48306‐2395
SCHWARZ, RICHARD K         2230 N CLEARMONT DR                                                                  JANESVILLE           WI   53545
SCHWARZ, ROBERT            2 FELLOWSHIP CIR                                                                     SANTA BARBARA        CA   93109‐1209
SCHWARZ, RUDOLF            22 THRASHER CT                                                                       PAWLEYS ISLAND       SC   29585‐6878
SCHWARZ, STEPHEN J         3434 PAVILION LN                                                                     BELLBROOK            OH   45305‐9779
SCHWARZ, STEVEN A          1336 RIVERDALE CIR                                                                   CHESTERFIELD         MO   63005‐4472
SCHWARZ, THERESA M         4297 CHAPEL LN                                                                       SWARTZ CREEK         MI   48473‐1703
SCHWARZ, TIMOTHY S         93 GARDEN DRIVE                                                                      FAIRPORT             NY   14450‐2342
SCHWARZ, WILHELM P         3221 E MOORE RD                                                                      SAGINAW              MI   48601‐9346
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Name                         Address1                          Address2                       Address3   Address4         City                 State Zip
SCHWARZ, WILLIAM J           145 HILLCREST AVE                                                                            EDISON                NJ 08817‐3108
SCHWARZ, WOLFGANG R          370 LAKES EDGE DR                                                                            OXFORD                MI 48371‐5223
SCHWARZBEK, ROBERT E         2153 REMINGTON WAY NE                                                                        GRAND RAPIDS          MI 49505‐6366
SCHWARZBERG, JOHANN          8200 ALLEN RD                                                                                CLARKSTON             MI 48348‐2702
SCHWARZE, DOUGLAS R          215 E DAVIS ST                                                                               SWEETSER              IN 46987
SCHWARZE, PATRICIA A         42 SEAFOAM AVE # B                                                                           WINFIELD PARK         NJ 07036‐6621
SCHWARZE, RICHARD A          1457 MCCORMICK PL                                                                            WHEATON                IL 60189‐7136
SCHWARZE, WILLIAM T          42 B SEAFOAM AVENUE                                                                          WINFIELD PARK         NJ 07036
SCHWARZENBERGER, JOSEPH      4147 STUART                                                                                  METAMORA              MI 48455
SCHWARZHUBER, MARVA M        S23W30805 BRECON WAY                                                                         WALES                 WI 53183‐9513
SCHWARZHUBER, ROBERT J       10606 E BOWERS LAKE RD                                                                       WHITEWATER            WI 53190‐3209
SCHWARZKOFF, MARK            48765 VILLA DIORO CIR                                                                        SHELBY TWP            MI 48315‐4141
SCHWARZKOPF, ALBERT D        1483 N 100 W                                                                                 HARTFORD CITY         IN 47348‐9550
SCHWARZKOPF, DEE A           2355 N 100 E                                                                                 HARTFORD CITY         IN 47348‐8974
SCHWARZKOPF, DEE ALDEN       2355 N 100 E                                                                                 HARTFORD CITY         IN 47348‐8974
SCHWARZKOPF, JOHN R          14050 N 750 W                                                                                GASTON                IN 47342
SCHWARZKOPF, JOHN R          14050 N COUNTY ROAD 750 W 750                                                                GASTON                IN 47342
SCHWARZOTT JR, EUGENE R      2626 MURDOCK RD                                                                              MEDINA                NY 14103‐9451
SCHWARZWALDER, KARL M        22110 MAXINE ST                                                                              SAINT CLAIR SHORES    MI 48080‐3550
SCHWARZWALDER, MARTHA M      21901 AVALON                                                                                 ST CLAIR SHORES       MI 48080‐2337
SCHWARZWALDER, MARTHA M      21901 AVALON ST                                                                              SAINT CLAIR SHORES    MI 48080‐2337
SCHWARZWALDER, NANCY E       132 N PROSPECT ST                                                                            OBERLIN               OH 44074‐1037
SCHWARZWALDER, NANCY E       132 NORTH PROSPECT ST                                                                        OBERLIN               OH 44074‐1037
SCHWARZWALDER, REGINA R      4803 DUBLIN DR                                                                               NORTH ROYALTON        OH 44133‐2155
SCHWASS, ARTHUR G            3833 KEMMAN AVE                                                                              BROOKFIELD             IL 60513‐1521
SCHWASS, ROBERT C            12 WESTEND AVE                                                                               WESTMONT               IL 60559‐1640
SCHWASS, THOMAS G            14424 ARCHER AVE                                                                             LOCKPORT               IL 60441‐5828
SCHWEBEL BAKING CO           PO BOX 11413                                                                                 ERIE                  PA 16514‐1413
SCHWEBEL BAKING CO           111 SOUTHPOINTE DR                                                                           BRIDGEVILLE           PA 15017‐1235
SCHWEBEL BAKING CO           920 E MIDLOTHIAN BLVD                                                                        YOUNGSTOWN            OH 44502‐2838
SCHWEBEL BAKING CO           4485 REYNOLDS DR                                                                             HILLIARD              OH 43026‐1261
SCHWEBEL BAKING CO           8275 PERRY HWY                                                                               ERIE                  PA 16509‐5639
SCHWEBEL BAKING CO           4315 WALNUT ST                                                                               MCKEESPORT            PA 15132‐6114
SCHWEBEL BAKING CO           2330 BROADVIEW RD                                                                            CLEVELAND             OH 44109‐4150
SCHWEBEL BAKING CO.          3730 13TH ST SW                                                                              CANTON                OH 44710‐1462
SCHWEBEL BAKING CO.          965 E MIDLOTHIAN BLVD                                                                        YOUNGSTOWN            OH 44502‐2837
SCHWEBEL, EUGENE J           17 BRIGHTON ST                                                                               DAYTON                OH 45404
SCHWEBEL, JULIA M            2668 DARTMOOR RD                                                                             GROVE CITY            OH 43123‐3337
SCHWEBKE THEONE              1101 22ND ST                                                                                 LA GRANDE             OR 97850‐3846
SCHWECHHEIMER, ELSIE A       1345 WASHINGTON NORTH RD                                                                     MANSFIELD             OH 44903‐7661
SCHWED, DONALD W             11259 LAKE FOREST DR                                                                         CHESTERLAND           OH 44026‐1333
SCHWEDA HENRIETTA (663086)   RHOADES JOSEPH J LAW OFFICES OF   1225 NORTH KING STREET SUITE                               WILMINGTON            DE 19801
                                                               1200
SCHWEDA, DONALD F            1616 N 116TH ST APT 3                                                                        WAUWATOSA            WI   53226‐3034
SCHWEDA, HENRIETTA           RHOADES JOSEPH J LAW OFFICES OF   1225 N KING ST STE 1200                                    WILMINGTON           DE   19801‐3254
SCHWEDE, CARL E              5247 SILVER FOX WAY                                                                          NORTH AUGUSTA        SC   29841‐7645
SCHWEDE, GARY A              41275 OLD MICHIGAN AVE 127B ST                                                               CANTON               MI   48188
SCHWEDER, DANIEL H           31 ASPEN LN                                                                                  LEVITTOWN            PA   19055‐1230
SCHWEDER, GERTRUDE A         11211 ALICE CT                                                                               STERLING HTS         MI   48314‐1503
SCHWEDER, KEVIN W            GENERAL DELIVERY                                                                             MONROE               MI   48161‐9999
SCHWEDER, LEONA              PO BOX 225                                                                                   WASHINGTON           MI   48094‐0225
SCHWEDER, LEONA              BOX 225                                                                                      WASHINGTON           MI   48094‐0225
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Name                            Address1                         Address2                       Address3   Address4                  City               State Zip
SCHWEDER, LILLIAN               97 LINDEN AVE                                                                                        TRENTON             NJ 08610‐3708
SCHWEDER, SCOTT M               15041 KELLY CT                                                                                       SHELBY TWP          MI 48315‐2845
SCHWEDES GERALD AND MARLISE     OBERE STR 5                                                                76698 UBSTADT‐WEIHER
                                                                                                           GERMANY
SCHWEDES, GERALD & MARLIESE     OBERE STR. 5                                                               76698 UBSTADT‐WEIHER
                                                                                                           GERMANY
SCHWEDLAND, RONALD P            28693 SALEM RD                                                                                       FARMINGTON HILLS   MI   48334‐3135
SCHWEDT, LESTER G               985 S BRANDT RD                                                                                      ORTONVILLE         MI   48462‐8421
SCHWEER DONNIE                  3201 FAIRFAX TRFY                                                                                    KANSAS CITY        KS   66115‐1307
SCHWEER, DONALD R               104 E SHAWNEE ST                                                                                     PAOLA              KS   66071‐1957
SCHWEER, FREDERICK R            111 W 2ND ST                                                                                         APPLETON CITY      MO   64724‐1308
SCHWEER, FREDRICK W             580 BROEKER LN                                                                                       O FALLON           MO   63366‐2111
SCHWEER, MARK E                 PO BOX 216                                                                                           LEETON             MO   64761
SCHWEER, MELANIE J              346 BEAVER LAKE DR                                                                                   SAINT CHARLES      MO   63303‐6423
SCHWEFEL, ARTHUR                S67W16717 GREENRIDGE TRL                                                                             MUSKEGO            WI   53150‐8317
SCHWEFEL, JAMES G               13089 NEW BRITTON DRIVE                                                                              FISHERS            IN   46038‐1073
SCHWEGER, ROGER B               1025 CHRISTENSEN RD                                                                                  SALESVILLE         AR   72653‐8804
SCHWEGLER, CARL E               6108 MOUNTAINSIDE STREET                                                   NIAGARA FALLS ON L2J4H8
                                                                                                           CANADA
SCHWEGLER, WILLIAM L            409 HERITAGE DR                                                                                      BOSSIER CITY       LA 71112‐8719
SCHWEGMAN LUNDBERG WOESSNER &   121 S 8TH ST 1600 TCF TOWER                                                                          MINNEAPOLIS        MN 55402
KLUTH PA
SCHWEGMAN, JOHN E               4897 RIVERS EDGE DR                                                                                  TROY               MI   48098‐5419
SCHWEGMAN, LORRY L              4105 BEACH RD                                                                                        TROY               MI   48098‐4273
SCHWEGMAN, THOMAS F             6231 SUGARBUSH TRL                                                                                   BRAINERD           MN   56401‐7056
SCHWEGMANN, THELMA M            2699 WEHRLE DR                   HARRIS HILL NURSING FACILITY                                        WILLIAMSVILLE      NY   14221‐7332
SCHWEGMANN, THELMA M            HARRIS HILL NURSING FACILITY     2699 WEHRLEY DRIVE                                                  WILLIAMSVILLE      NY   14221
SCHWEIBOLD FRANK                3534 BURNING BUSH RD                                                                                 BLOOMFIELD         MI   48301‐2170
SCHWEIBOLD, FRANK L             3534 BURNING BUSH RD                                                                                 BLOOMFIELD         MI   48301‐2170
SCHWEIBOLD, FREDERICK J         6114 N COUNTY ROAD 550 E                                                                             PITTSBORO          IN   46167‐9391
SCHWEIBOLD, GREGORY M           7032 E COUNTY ROAD 700 N N                                                                           BROWNSBURG         IN   46112
SCHWEICKART, PATRICIA A         112 W MAIN ST                                                                                        W CARROLLTON       OH   45449‐1422
SCHWEICKHARD, RICHARD S         927 RUIE RD                                                                                          N TONAWANDA        NY   14120‐1742
SCHWEIER, PAUL G                2575 MARCHAR DR                                                                                      WOLVERINE LAKE     MI   48390‐2036
SCHWEIGART GEORGE               SCHWEIGART, GEORGE               644 MARSH CREEK RD.                                                 MILLS              PA   16937‐9601
SCHWEIGART, GEORGE              644 MARSH CREEK RD.                                                                                  MILLS              PA   16937‐9601
SCHWEIGART, GEORGE              644 MARSH CREEK ROAD             P.O. BOX 75                                                         MILLS              PA   16937
SCHWEIGEL, DOYLE G              512 REDFERN DR                                                                                       BEECH GROVE        IN   46107‐2527
SCHWEIGEL, TIMOTHY V            11056 KAREN ST                                                                                       LIVONIA            MI   48150‐3145
SCHWEIGEL, TIMOTHY VINCENT      11056 KAREN ST                                                                                       LIVONIA            MI   48150‐3145
SCHWEIGER & PARTNER             KARLSRASSE 35                                                              MUNCHER 80333
SCHWEIGER KEITH                 SCHWEIGER, KEITH                 5901 CEDAR LAKE RD S                                                MINNEAPOLIS        MN   55416‐1488
SCHWEIGER, ERIKA                2210 CLEARVIEW DR R1                                                                                 MARION             IN   46952‐1060
SCHWEIGER, FRANK C              740 FOREST ST                                                                                        KEARNY             NJ   07032‐3809
SCHWEIGER, FREDERICK J          5302 MADISON ST                                                                                      DEARBORN HTS       MI   48125‐2362
SCHWEIGER, GEORGE G             2861 BEAVER TRL                                                                                      CORTLAND           OH   44410‐1835
SCHWEIGER, LJUDMILE             8857 EAGLE RD                                                                                        KIRTLAND           OH   44094‐9328
SCHWEIGER, MARTIN D             7161 PALMS RD                                                                                        IRA                MI   48023‐2628
SCHWEIGER, MARY                 3026 GARRISON ST                                                                                     SAN DIEGO          CA   92106‐2212
SCHWEIGER, MARY J               5980 NE 21ST CIR                                                                                     FT LAUDERDALE      FL   33308‐2508
SCHWEIGER, MARY J               2760 SAINT ELMO DR                                                                                   RIALTO             CA   92376‐5342
SCHWEIGER, MARY JEAN            2760 SAINT ELMO DR                                                                                   RIALTO             CA   92376
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Name                             Address1                           Address2                        Address3   Address4             City            State Zip
SCHWEIGER, MICHAEL D             5302 MADISON ST                                                                                    DEARBORN HTS     MI 48125‐2362
SCHWEIGERT MICHAEL               341 LYTTON BLVD                                                               TORONTO ON M5N 1R9
                                                                                                               CANADA
SCHWEIGERT, BURWYN L             6104 CORWIN AVE                                                                                    NEWFANE         NY   14108‐1119
SCHWEIGERT, DELLA J              6104 CORWIN AVE                                                                                    NEWFANE         NY   14108‐1119
SCHWEIGERT, FRIEDA B             4388 LAMSON DR                                                                                     WATERFORD       MI   48329‐1931
SCHWEIGERT, GAIL L               4604 IDE RD                                                                                        WILSON          NY   14172‐9758
SCHWEIGERT, MICHAEL DR
SCHWEIGERT, PAULINE L            927 ALMOND DR                                                                                      BREA            CA   92821‐5008
SCHWEIGERT, PAULINE L            927 E ALMOND DR                                                                                    BREA            CA   92821‐5008
SCHWEIGERT, SELMA C              3709 CANDLEWYCK CLUB DR APT B                                                                      FLORISSANT      MO   63034‐2581
SCHWEIKERT, JOHN F               11490 BUCKSKIN TRL                                                                                 HOLLY           MI   48442‐8420
SCHWEIKHARD, ROBERT JOHN         5160 ELECTRIC AVE                                                                                  HAMBURG         NY   14075‐2979
SCHWEIKHART, GARY F              1740 SWANEY RD                                                                                     WALLED LAKE     MI   48390‐3247
SCHWEIKHART, H P                 10 LAKEVIEW CT                                                                                     SPRINGBORO      OH   45066‐9572
SCHWEIN, EDWARD R                256 ANDREWS BLVD                                                                                   PLAINFIELD      IN   46168‐7674
SCHWEINBERG DONALD (447575)      BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD      OH   44067
                                                                    PROFESSIONAL BLDG
SCHWEINBERG, DONALD              BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                    NORTHFIELD      OH 44067
                                                                    PROFESSIONAL BLDG
SCHWEINBERG, JESS M              1321 N BITTERCREEK TER                                                                             MUSTANG         OK   73064‐9429
SCHWEINEBRATEN, GEORGE E         96 MCVEHIL DR                                                                                      WASHINGTON      PA   15301‐3018
SCHWEINFURTH, RICHARD S          1711 COURTNEY LN                                                                                   HURON           OH   44839‐2292
SCHWEINHAGEN, PAUL H             PO BOX 64                                                                                          RDGVILLE CORS   OH   43555‐0064
SCHWEINHAGEN, PAUL H             S‐809 CR20B BOX64                                                                                  RDGVILLE CORS   OH   43555‐0064
SCHWEINLE, MARGARET              5250 SCHOOL RD                                                                                     PECK            MI   48466‐9756
SCHWEINSBERG CODY                PO BOX 3888                                                                                        DELAND          FL   32721
SCHWEINSBERG, DAVID A            1172 MIDLAND RD                                                                                    BAY CITY        MI   48706‐9422
SCHWEINSBERG, KENNETH L          1079 RONALD ST                                                                                     FLINT           MI   48507‐3308
SCHWEINSBERG, KERRY J            1520 W NEWBERG RD                                                                                  PINCONNING      MI   48650‐8961
SCHWEINSBERG, LAURA              611 N ERIE ST                                                                                      BAY CITY        MI   48706‐4411
SCHWEINSBERG, THOMAS W           1550 E NORTH BOUTELL RD                                                                            LINWOOD         MI   48634‐9434
SCHWEISBERGER, DEAN R            3516 EARMOUR AVE                                                                                   CUDAHY          WI   53110
SCHWEISS, EDWARD L               1490 SATURN WAY                                                                                    BOWLING GREEN   KY   42104‐7583
SCHWEISTHAL, KATHERINE B         7571 ANN ARBOR DR                                                                                  PARMA           OH   44130‐5838
SCHWEITZER AUTOMOTIVE REPAIR     4327 N 64TH ST                                                                                     LINCOLN         NE   68507‐1330
SCHWEITZER ENGINEERING LABORAT   ATTN ACCOUNTS REC                  2350 NE HOPKINS CT                                              PULLMAN         WA   99163‐5600
SCHWEITZER JR, BENJAMIN J        1801 BROOKFIELD DR APT 2                                                                           LAPEER          MI   48446‐1162
SCHWEITZER RICHARD S (449090)    ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                      BALTIMORE       MD   21202
                                                                    CHARLES CENTER 22ND FLOOR
SCHWEITZER ROSEMARY & ROBERT     105 CONSTANTINE WAY                                                                                MOUNT SINAI     NY   11766‐3006
SCHWEITZER, ALAN R               630 N SAN MARCOS RD                                                                                SANTA BARBARA   CA   93111‐1529
SCHWEITZER, CARL P               21871 TOWN GATE DR                                                                                 MACOMB          MI   48044‐3792
SCHWEITZER, CHARLES B            158 ALDRICH PL                                                                                     BUFFALO         NY   14220‐2658
SCHWEITZER, CHARLES J            526 W SEBEWAING ST                                                                                 SEBEWAING       MI   48759‐1317
SCHWEITZER, CHARLOTTE R          7915 JACKSON PARK BLVD                                                                             WAUWATOSA       WI   53213‐1652
SCHWEITZER, CHRISTINE L          7939 BAUMHOFF AVE NW                                                                               SPARTA          MI   49345‐9742
SCHWEITZER, DANIEL               4330 26TH ST                                                                                       DORR            MI   49323‐9721
SCHWEITZER, DAVID A              12 OLD MAIN ST W                                                                                   MIAMISBURG      OH   45342‐3174
SCHWEITZER, DAVID A              12 OLD MAIN STREET WEST                                                                            MIAMISBURG      OH   45342‐5342
SCHWEITZER, DAVID C              5142 HOLLISTER AVE. #246                                                                           SANTA BARBARA   CA   93111
SCHWEITZER, DENNIS C             2875 SHEBEON RD                                                                                    SEBEWAING       MI   48759‐9732
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Name                      Address1                            Address2                        Address3     Address4                 City            State Zip
SCHWEITZER, DUSTY         120 N VAL VISTA DR LOT 263                                                                                MESA             AZ 85213
SCHWEITZER, DUSTY ROSE    MCNAMARA GOLDSMITH JACKSON &        1670 E RIVER RD STE 200                                               TUCSON           AZ 85718‐5970
                          MACDONALD
SCHWEITZER, DUSTY ROSE    AMMONS LAW FIRM                     3700 MONTROSE BLVD                                                    HOUSTON         TX   77006‐4624
SCHWEITZER, EDWIN E       157 HESSLAND CT                                                                                           ELMA            NY   14059‐9672
SCHWEITZER, ELLA M        2842 E ANITA DR                                                                                           SAGINAW         MI   48601‐9233
SCHWEITZER, ERIK L        1093 CHERRYLAWN DR                                                                                        PONTIAC         MI   48340‐1701
SCHWEITZER, FRANK E       4255 LAKEWOOD DR                                                                                          WATERFORD       MI   48329‐3850
SCHWEITZER, JACKIE
SCHWEITZER, JAMES E       7531 30TH ST SE                                                                                           ADA             MI   49301‐9239
SCHWEITZER, JAMES M       11447 N JENNINGS RD                                                                                       CLIO            MI   48420‐1568
SCHWEITZER, JEAN M        2148 DENBY DR                                                                                             WATERFORD       MI   48329‐3803
SCHWEITZER, JOHN H        3671 N LOS COYOTES DIAGONAL                                                                               LONG BEACH      CA   90808‐2407
SCHWEITZER, JOSEPH T      2103 W SHEFFIELD DR                                                                                       MUNCIE          IN   47304‐1258
SCHWEITZER, KEVIN LEE
SCHWEITZER, KIM M         67 LORFIELD DR                                                                                            AMHERST         NY   14226‐4912
SCHWEITZER, LYNN F        140 BRADLEY DR                                                                                            GERMANTOWN      OH   45327‐9360
SCHWEITZER, MICHAEL       8283 ELLIS RD                                                                                             CLARKSTON       MI   48348‐2609
SCHWEITZER, NORMAN E      103 WILLOWDALE DR                                                                                         WEST SENECA     NY   14224‐3572
SCHWEITZER, PAMELA S      4255 LAKEWOOD DR                                                                                          WATERFORD       MI   48329
SCHWEITZER, RICHARD S     ANGELOS PETER G LAW OFFICES OF      100 N CHARLES STREET, ONE                                             BALTIMORE       MD   21202
                                                              CHARLES CENTER 22ND FLOOR
SCHWEITZER, ROBERT W      11205 CRESTVIEW BLVD                                                                                      KOKOMO          IN   46901‐9537
SCHWEITZER, ROY C         526 W SEBEWAING ST                                                                                        SEBEWAING       MI   48759‐1317
SCHWEITZER, RYAN D        123 W LOUTHER ST                                                                                          CARLISLE        PA   17010‐2930
SCHWEITZER, SARAH A       13823 FRAZHO RD                                                                                           WARREN          MI   48089‐1482
SCHWEITZER, SHERRI E      8089 W COUNTY ROAD 0 NS                                                                                   KOKOMO          IN   46901
SCHWEITZER, SHERRY A      701 STEWART RD                                                                                            SALEM           OH   44460‐4149
SCHWEITZER, THOMAS J      PO BOX 69                                                                                                 CURTIS          MI   49820‐0069
SCHWEITZER, THOMAS P      2051 WHEELER RD                                                                                           BAY CITY        MI   48706‐9447
SCHWEIZ                   ALFRED LEU                          SOODMATTENSTRASSE 10            ADLISWIL 1   ADLISWIL ZH 8134
                                                                                                           SWITERLAND
SCHWEIZER, ARTHUR M       4332 CAMINO MADERA                                                                                        SARASOTA        FL   34238‐5582
SCHWEIZER, GARY R         34 CAMELLIA DR                                                                                            ORMOND BEACH    FL   32176
SCHWEIZER, JEAN H         6 AGATE AVE                                                                                               OSSINING        NY   10562‐5902
SCHWEIZER, JUNE T         4123 COLUMBIA SQ APT 103                                                                                  NORTH OLMSTED   OH   44070‐2026
SCHWEIZER, LATINA A       4013 GATEWAY DR.                                                                                          ENGLEWOOD       OH   45322‐5322
SCHWEIZER, WILLIAM J      805 CLOUGH PIKE                                                                                           CINCINNATI      OH   45245‐1714
SCHWELGIN, ADOLPH L       3111 COVENTRY DR                                                                                          PARMA           OH   44134‐5641
SCHWELLENBACH, EDWARD J   1124 MACARTHUR DR                                                                                         JANESVILLE      WI   53548‐1411
SCHWELLER, GLORIA         5881 IVY RIDGE RD                                                                                         DAYTON          OH   45431‐2911
SCHWEMLER, VERNON P       1715 STONE CREEK LN                                                                                       TWINSBURG       OH   44087‐2701
SCHWENCER, NICHOLAS R     7320 NICHOLS RD                                                                                           FLUSHING        MI   48433‐9262
SCHWENCER, SHELIA J       11312 N LEWIS RD                                                                                          CLIO            MI   48420‐7919
SCHWENCER, SHELIA J.      11312 N LEWIS RD                                                                                          CLIO            MI   48420‐7919
SCHWEND, GORDON ROSS      WATKINS ASHLEY & BARLOW MELINDA H   360 PLACE OFFICE PARK, 1201 N                                         ARLINGTON       TX   76006
                                                              WATSON ‐ STE 145
SCHWEND, MARGARET L       54412 FOURACRE CIR                                                                                        CALLAHAN        FL   32011‐5928
SCHWENDEMAN, EVELYN       7517 BERGAMOT DR                                                                                          PORT RICHEY     FL   34668‐3204
SCHWENDEMANN, DONALD E    719 N APPLE TREE DR UNIT 12                                                                               SUTTONS BAY     MI   49682‐9781
SCHWENDIMANN, HANS        4108 BILTMORE WOODS CT                                                                                    BUFORD          GA   30519‐6906
SCHWENDIMANN, MARK
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Name                        Address1                            Address2                  Address3   Address4         City              State Zip
SCHWENDLER, CHARLES H       5845 COLE RD                                                                              ORCHARD PARK       NY 14127‐3734
SCHWENDY, BRUCE R           25 PINE KNOLL DR                                                                          ROCHESTER          NY 14624‐3953
SCHWENGELS, FREDRICK J      2630 E GRANDVIEW DR                                                                       MILTON             WI 53563‐9419
SCHWENGER, ALBERT G         801 BENHAM AVE                      FAITH MISSION                                         ELKHART            IN 46516‐3369
SCHWENGER, JOHN S           PO BOX 183                                                                                SHARPSVILLE        IN 46068‐0183
SCHWENK, ALFRED R           6386 DELORES BLVD                                                                         BROOK PARK         OH 44142‐3738
SCHWENK, KATHLEEN M         268 BROWN BEAR                                                                            CHAPEL HILL        NC 27517‐9392
SCHWENK, KEITH A            172 BRENTWOOD DR                                                                          ADVANCE            NC 27006‐9447
SCHWENKE, DANIEL J          3267 N 9 MILE RD                                                                          PINCONNING         MI 48650‐8979
SCHWENKE, DAVID A           22555 PROVINCIAL ST                                                                       TRENTON            MI 48183‐3782
SCHWENKNER, DOROTHY M       1531 MEADOWLARK DR                                                                        JANESVILLE         WI 53546‐1416
SCHWENKNER, NANCY T         1531 MEADOWLARK DR                                                                        JANESVILLE         WI 53546‐1416
SCHWENKNER, SHELLY R        3438 ROYAL RD                                                                             JANESVILLE         WI 53546‐2212
SCHWENNER JR, WILLIAM       21200 NAUMANN AVE                                                                         EUCLID             OH 44123‐3002
SCHWENNER SR, WILLIAM J     312 HARBOR RIDGE LN                                                                       FAIRPORT HARBOR    OH 44077‐5583
SCHWENT, JAMES L            1712 WINTER HILL DR                                                                       O FALLON           MO 63366‐3935
SCHWENT, KENNETH            C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE RTE 157                                  EDWARDSVILLE        IL 62025
                            ROWLAND P C
SCHWENT, RAYMOND C          2076 ARISTOCRAT DRIVE                                                                     FLORISSANT        MO   63031‐2602
SCHWENZ JR, JOHN D          7557 FAIRVIEW DR                                                                          LOCKPORT          NY   14094‐1609
SCHWENZ, JOHN D             8595 BUNKERHILL RD                                                                        GASPORT           NY   14067‐9367
SCHWENZER, THOMAS S         4722 N BANTA RD                                                                           BARGERSVILLE      IN   46106‐8822
SCHWENZIG, DORIS R          17963 83RD AVE N                                                                          OSSEO             MN   55311
SCHWEPPE, NOEL A            32 PEBBLESTONE CT                                                                         TROY              MO   63379‐2800
SCHWER, DONALD W            3500 S PENN ST                                                                            MUNCIE            IN   47302‐5867
SCHWER, DONALD WILLIAM      3500 S PENN ST                                                                            MUNCIE            IN   47302‐5867
SCHWER, KATHERINE S         921 OBRIEN ST                                                                             PITTSBURGH        PA   15209‐2221
SCHWERDTNER, HELMUT         11139 THORNBERRY DR                                                                       SPRING HILL       FL   34608‐2949
SCHWERGERLING, ARLENE T     PO BOX 458                                                                                CHESTER           NY   10918‐0458
SCHWERIN JR, CLIFFORD J     4980 FLAJOLE RD                                                                           BENTLEY           MI   48613‐9649
SCHWERIN JR, HOWARD R       3940 QUEENSBURY RD                                                                        ORION             MI   48359‐1563
SCHWERIN JR, LAWRENCE J     921 MEADOW DR                                                                             DAVISON           MI   48423‐1048
SCHWERIN, BARRY D           435 NEWTON DR                                                                             LAKE ORION        MI   48362‐3342
SCHWERIN, BRUCE M           3719 EATON GATE LN                                                                        AUBURN HILLS      MI   48326‐3893
SCHWERIN, CAROL M           85 RICHLAND N                                                                             HEMLOCK           MI   48626‐9111
SCHWERIN, CAROL MARIE       85 RICHLAND N                                                                             HEMLOCK           MI   48626‐9111
SCHWERIN, CLIFFORD J        4940 FLAJOLE RD                                                                           BENTLEY           MI   48613‐9649
SCHWERIN, DAVID I           15 CHESTNUT CIR E                                                                         DAVISON           MI   48423‐9162
SCHWERIN, DUANE J           4815 ATTICA RD                                                                            ATTICA            MI   48412‐9701
SCHWERIN, GEORGE D          1678 W MOUNT FOREST RD                                                                    PINCONNING        MI   48650
SCHWERIN, HELEN             435 NEWTON DRIVE                                                                          LAKE ORION        MI   48362‐3342
SCHWERIN, HELEN             435 NEWTON DR                                                                             LAKE ORION        MI   48362‐3342
SCHWERIN, JACKIE A          3100 CHISHOLM TRL                                                                         CHELSEA           MI   48118‐9705
SCHWERIN, JEFFREY K         2394 WILLOWDALE DR                                                                        BURTON            MI   48509‐2600
SCHWERIN, JEFFREY KENNETH   2394 WILLOWDALE DR                                                                        BURTON            MI   48509‐2600
SCHWERIN, KENNETH A         3265 KAISER RD                                                                            PINCONNING        MI   48650‐7520
SCHWERIN, LOUIE K           3174 S OAK RD                                                                             DAVISON           MI   48423‐9161
SCHWERIN, MICHAEL P         5100 MARILYN DR                                                                           FLINT             MI   48506‐1579
SCHWERIN, OLIVE             APT C                               218 SOUTH WALNUT STREET                               WILMORE           KY   40390‐1361
SCHWERIN, RICHARD H         222 W CHURCH ST                                                                           TUSTIN            MI   49688‐9741
SCHWERIN, RICHARD R         3608 N FIVE LAKES RD                                                                      LAPEER            MI   48446‐8333
SCHWERIN, RONALD K          1345 JANE AVE # 2                                                                         FLINT             MI   48506‐3265
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Name                        Address1                          Address2                      Address3   Address4         City            State Zip
SCHWERIN, THOMAS R          PO BOX 73                                                                                   KAWKAWLIN        MI 48631‐0073
SCHWERIN, WALTER E          1196 S HURON RD                                                                             KAWKAWLIN        MI 48631‐9417
SCHWERING, GREGORY A        14242 SHORLE RD                                                                             STERLING         OH 44276‐9766
SCHWERMAN TRUCKING CO       PO BOX 751                                                                                  MILWAUKEE        WI 53278‐0751
SCHWERSINSKE, DARWIN D      N135 CTY F                                                                                  MONTELLO         WI 53949
SCHWERT, SARAH L            1814 COUNTY RD 4‐1                                                                          SWANTON          OH 43558‐9742
SCHWERTFEGER, ANNE C        5800 MONROE ST SUITE D                                                                      SYLVANIA         OH 43560
SCHWERTFEGER, CHRIS J       633 TARRYTON ISLE                                                                           ALAMEDA          CA 94501‐5645
SCHWERTNER, DANNY M         8355 BUTTERNUT CREEK DR                                                                     MOUNT MORRIS     MI 48458‐9711
SCHWERTNER, DENNIS R        7159 GILLETTE RD                                                                            FLUSHING         MI 48433‐9207
SCHWERTNER, DENNIS ROBB     7159 GILLETTE RD                                                                            FLUSHING         MI 48433‐9207
SCHWERTNER, GARY D          819 HUBBARD AVE                                                                             FLINT            MI 48503
SCHWERTNER, GERALD R        6223 JOHNSON RD                                                                             FLUSHING         MI 48433‐1139
SCHWERTNER, GERALD RAY      6223 JOHNSON RD                                                                             FLUSHING         MI 48433‐1139
SCHWERTNER, LINDA S         2237 SAVOY AVE                                                                              BURTON           MI 48529‐2171
SCHWERTNER, MICHAEL T       4408 CUTHBERTSON ST                                                                         FLINT            MI 48507‐2514
SCHWERTNER, SARAH E         7159 GILLETTE RD                                                                            FLUSHING         MI 48433‐9207
SCHWERTNER, TAMARA D        7159 GILLETTE RD                                                                            FLUSHING         MI 48433‐9207
SCHWERTZ STEPHEN J          SCHWERTZ, STEPHEN J               PO BOX 646                                                CUT OFF          LA 70345‐0646
SCHWERTZ, TIM
SCHWERZEL, ARTHUR H         1095C LONG BEACH BLVD                                                                       BEACH HAVEN     NJ   08008‐5645
SCHWERZEL, D'NA L           1095C LONG BEACH BLVD                                                                       BEACH HAVEN     NJ   08008‐5645
SCHWERZLER, DENNIS D        6561 PARKVIEW DR                                                                            TROY            MI   48098‐2243
SCHWESINGER, RICHARD J      104 DAHLIA DR                                                                               GRIFFIN         GA   30223‐5788
SCHWESINGER, SHERRILL K     2261 BENGAL CT                                                                              PUNTA GORDA     FL   33983‐8602
SCHWETTMAN JR, EDWARD W     3285 REDBUD DR                                                                              TROY            OH   45373‐8840
SCHWETTMANN, RICHARD W      17614 EDENGROVE DR                                                                          TOMBALL         TX   77377‐8217
SCHWETZ, LEONA              115 CORAL REEF RD                                                                           NEWARK          DE   19713‐4201
SCHWEZ, VICTOR              10519 CASANES AVE                                                                           DOWNEY          CA   90241‐2912
SCHWIBBE ROY V (401222)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                              STREET, SUITE 600
SCHWIBBE, ROY V             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                              STREET, SUITE 600
SCHWICHTENBERG, CAROL J     400 OLSON DR                                                                                ORFORDVILLE     WI   53576‐9426
SCHWICHTENBERG, HOLLY A     400 OLSON DR                                                                                ORFORDVILLE     WI   53576‐9426
SCHWIDERSKI, JOSEPH M       718 WEST WILMOT STREET                                                                      CHILLICOTHE     IL   61523‐1044
SCHWIDERSON, DANIEL S       15225 OUTER DR                                                                              LINDEN          MI   48451‐9715
SCHWIDERSON, DANIEL SCOTT   15225 OUTER DR                                                                              LINDEN          MI   48451‐9715
SCHWIDERSON, MARK           5323 CROWFOOT DR                                                                            TROY            MI   48085‐4099
SCHWIEFERT, CRAIG D         4768 SANDHILL RD                                                                            BELLEVUE        OH   44811‐9797
SCHWIEFERT, JOHN R          4814 SANDHILL RD                                                                            BELLEVUE        OH   44811‐9797
SCHWIEGER, ALFRED M         54480 GRATIOT AVE                                                                           CHESTERFIELD    MI   48051‐1722
SCHWIEGER, DONALD           GUY WILLIAM S                     PO BOX 509                                                MCCOMB          MS   39649‐0509
SCHWIEGER, NORMAN J         2113 PARMENTER BLVD APT 3                                                                   ROYAL OAK       MI   48073‐4308
SCHWIEMAN, DANIEL W         4495 LAPEER ST                                                                              COLUMBIAVILLE   MI   48421‐9118
SCHWIEMAN, DANIEL WALTER    4495 LAPEER ST                                                                              COLUMBIAVILLE   MI   48421‐9118
SCHWIEMAN, ROBERT E         38235 LEO ST                                                                                DADE CITY       FL   33525‐6039
SCHWIER, THELMA F           1601 HORSESHOE CIR                                                                          SAGINAW         MI   48609‐4253
SCHWIESOW, WILLIAM A        4028 MARY ST                                                                                OMAHA           NE   68112‐2955
SCHWIETERMAN, DANA L        6914 N MONTGOMERY LINE RD                                                                   ENGLEWOOD       OH   45322‐5322
SCHWIETERMAN, DOLORES       321 S 1ST ST                                                                                COLDWATER       OH   45828‐1838
SCHWIETERMAN, GARY M        108 ILLINOIS AVE                                                                            DAYTON          OH   45410‐2034
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Name                                Address1                     Address2            Address3         Address4         City            State Zip
SCHWIETERMAN, JOHN D                2431 BARRYKNOLL ST                                                                 KETTERING        OH 45420‐3511
SCHWIETERMAN, MARCELLA R            5732 ARGYLE DR                                                                     HUDSON           OH 44236‐3818
SCHWIETERMAN, MARILYN A             862 SILVERLEAF DR                                                                  DAYTON           OH 45431‐2921
SCHWIETERMAN, RUBY N                PO BOX 1137                                                                        COLUMBUS         NM 88029‐1137
SCHWIETERMAN, RUBY N                P.O. BOX 1137                                                                      COLUMBUS         NM 88029‐1137
SCHWIETERMAN, RUTH E                4827 SHELLER AVE                                                                   DAYTON           OH 45432‐1625
SCHWIETERS AUTOMOTIVE GROUP, LTD.   ROBERT SCHWIETERS            110 FRANKLIN ST N                                     GLENWOOD         MN 56334‐1123

SCHWIETERS CHEVROLET OF COLD SPRING 1050 E HIGHWAY 23                                                                  COLD SPRING     MN 56320‐4521

SCHWIETERS CHEVROLET OF COLD SPRING, ROBERT SCHWIETERS           1050 E HIGHWAY 23                                     COLD SPRING     MN 56320‐4521
INC.
SCHWIETERS CHEVROLET OF COLD SPRING, 1050 E HIGHWAY 23                                                                 COLD SPRING     MN 56320‐4521
INC.
SCHWIETERS CHEVROLET OF GLENWOOD 110 FRANKLIN ST N                                                                     GLENWOOD        MN 56334‐1123

SCHWIETZER, ELIZABETH J             1710 SW 114TH TER                                                                  MIRAMAR         FL   33025‐6615
SCHWIGEN RON                        SCHWIGEN, RON                6 SYLVAN WAY                                          PARSIPPANY      NJ   07054
SCHWIGEN, RON                       6 SYLVAN WAY                                                                       PARSIPPANY      NJ   07054
SCHWIGERT, WALTER A                 52835 OVERLOOK TRL                                                                 CHESTERFIELD    MI   48047‐1487
SCHWILK, JEFFREY S                  8927 EMERALDGATE DR                                                                HUBER HEIGHTS   OH   45424‐6426
SCHWIMMER, EDWARD C                 9263 PANAMA AVE                                                                    YPSILANTI       MI   48198‐3237
SCHWIMMER, GEOFFREY D               170 MONA DR                                                                        BUFFALO         NY   14226
SCHWIND, CATHERINE F                274 W BROADWAY ROOM 346                                                            LONG BEACH      NY   11561
SCHWIND, CHRISTINE E                4224 WESTON ST                                                                     BURTON          MI   48509‐1049
SCHWIND, CHRISTINE E                4224 WESTON DR                                                                     BURTON          MI   48509‐1049
SCHWIND, GEORGE C                   3770 CRAFTON FOSTER RD                                                             MT PLEASANT     TN   38474‐2809
SCHWIND, GORDON A                   2424 S IRISH RD                                                                    DAVISON         MI   48423‐8362
SCHWIND, JAMES W                    6918 CRESTVIEW DR                                                                  FORT WAYNE      IN   46835‐1526
SCHWIND, JOHN A                     1700 N AIRPORT RD                                                                  SAGINAW         MI   48601‐9608
SCHWIND, LAURENCE A                 6274 MIDDLEBROOK BLVD                                                              BROOK PARK      OH   44142‐3839
SCHWIND, MARLENE                    6274 MIDDLEBROOK BLVD.                                                             BROOKPARK       OH   44142
SCHWIND, MICHAEL J                  2526 N PETERSON DR                                                                 SANFORD         MI   48657‐9499
SCHWIND, RALPH E                    5770 ANDOVER RD                                                                    TROY            MI   48098‐2317
SCHWIND, ROSE T                     180 SOUTH COLONY DRIVE       APT 617                                               SAGINAW         MI   48638‐6009
SCHWIND, ROSE T                     180 S COLONY DR APT 617                                                            SAGINAW         MI   48638‐6009
SCHWINDAMAN, ROBERT A               8146 S 84TH AVE                                                                    JUSTICE         IL   60458‐1415
SCHWINDAMAN, WILFRID A              15‐7 PRAIRIE HILL CT                                                               LANARK          IL   61046‐9203
SCHWINDEL, WILLIAM S                14660 N YOST AVE                                                                   ALLEN PARK      MI   48101‐1656
SCHWINDLER, DAVID K                 7607 HARCOURT RD                                                                   INDIANAPOLIS    IN   46260‐3232
SCHWINDLER, PHILIP K                5959 RICHMOND LN                                                                   INDIANAPOLIS    IN   46254‐1067
SCHWINDT, EDWARD W                  3736 NE BEECHWOOD DR                                                               LEES SUMMIT     MO   64064‐1897
SCHWINDT, LAWRENCE E                7438 E 300 S                                                                       BRINGHURST      IN   46913‐9681
SCHWING, DAVID F                    1703 MARINA TER                                                                    NO FT MYERS     FL   33903‐5016
SCHWING, RICHARD C                  2335 SCOTCH PINE ST                                                                W BLOOMFIELD    MI   48323‐3070
SCHWING, WANDA                      157 E FAIRWAY DR                                                                   HAMILTON        OH   45013‐3528
SCHWINGE, AMY J                     2916 KNOX LANE                                                                     KNOXVILLE       TN   37917‐1701
SCHWINGEL, HELEN M                  1665 18TH AVE                                                                      ARKDALE         WI   54613‐9774
SCHWINGLE, DAVID E                  P.0. BOX 885                                                                       SALEM           OH   44460
SCHWINGLE, DENNIS J                 466 E VERMONT AVE                                                                  SEBRING         OH   44672‐1648
SCHWINGLE, ROSEMARY T               29268 HARTLEY RD                                                                   SALEM           OH   44460‐9729
SCHWINKE, STEVE P                   9083 WOODGROVE DR                                                                  PLYMOUTH        MI   48170‐5747
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Name                                  Address1                         Address2            Address3         Address4            City              State Zip
SCHWINKE,STEVE P                      9083 WOODGROVE DR                                                                         PLYMOUTH           MI 48170‐5747
SCHWINN, EDWARD G                     7727 WYNBROOK RD                                                                          BALTIMORE          MD 21224‐2007
SCHWINN, ERIC A                       1855 STALEY RD                                                                            GRAND ISLAND       NY 14072‐2146
SCHWINN, KENNETH A                    17617 N STATE ROAD 13                                                                     ELWOOD             IN 46036‐8761
SCHWINN, LULU M                       9606 BROOKBEND RD                                                                         BALTIMORE          MD 21236‐1045
SCHWIRIAN, WALTER E                   10 OVERVIEW DR                                                                            GREENSBURG         PA 15601‐1273
SCHWITZER US INC                      1233 PALMOUR DR                  EFT                                                      GAINESVILLE        GA 30501‐6859
SCHWITZERLETT, QUINBY J               83 BLACK RIVER RD                                                                         MYRTLE BEACH       SC 29588‐7468
SCHWITZNER, BARBARA                   1477 E THACKER ST APT 503                                                                 DES PLAINES         IL 60016‐8615
SCHWOCHERT, HAROLD W                  51821 HICKORY LN                                                                          MACOMB             MI 48042‐3542
SCHWOCHO, RICHARD C                   4817 ROBINHOOD DR APT N107                                                                PASCAGOULA         MS 39581
SCHWOCHOW JR, AUGUST E                1908 2ND ST                                                                               WYANDOTTE          MI 48192‐3902
SCHWOCHOW, CHARLES R                  28325 W HURON RIVER DR                                                                    FLAT ROCK          MI 48134‐9737
SCHWOCHOW, CHARLES ROGER              28325 W HURON RIVER DR                                                                    FLAT ROCK          MI 48134‐9737
SCHWOCHOW, HAROLD J                   3939 17TH ST                                                                              WYANDOTTE          MI 48192‐6445
SCHWOCHOW, LANNY R                    8021 BROWN BEAR TRAIL                                                                     ATLANTA            MI 49709‐9578
SCHWOCHOW, VICKI LYNN                 19720 FORT ST APT 201                                                                     RIVERVIEW          MI 48193‐8750
SCHWOCK, RICHARD N                    7315 PENDALE DR                                                                           N TONAWANDA        NY 14120‐9591
SCHWOEGL, MARGARET O                  87 HILL RD                                                                                GLENFIELD          PA 15143‐9591
SCHWOERER MATTHIAS                    WEILERTALSTR 57/1                                                     79410 BADENWELLER                           07632‐6283
                                                                                                            GERMANY
SCHWOERER, JANICE M                   2175 WARREN RD SE                                                                         BROOKHAVEN        MS   39601‐9677
SCHWOMEYER, BETTY L                   62 MONON AVE                                                                              CLOVERDALE        IN   46120‐8711
SCHWOMEYER, CHARLES I                 5202 E RAYMOND ST                                                                         INDIANAPOLIS      IN   46203‐4923
SCHWOMEYER, JEFFREY A                 5700 HICKSON HILL RD                                                                      POLAND            IN   47868‐7079
SCHWOMEYER, PAMELA M                  319 N BREWER ST                                                                           GREENWOOD         IN   46142
SCHWORER AUTOMOTIVE, INC.             DENNIS SCHWORER                  14703 WRIGHT ST                                          OMAHA             NE   68144‐3284
SCHWYN, BESSIE A                      1150 CHARLEVOIX AVE APT 2                                                                 PETOSKEY          MI   49770‐7702
SCHWYTZER, MICHAEL O                  161 TOWER RD                                                                              DOWNERS GROVE     IL   60515‐2340
SCHYCK, PAUL W                        5362 SANDLEWOOD CT                                                                        WATERFORD         MI   48329‐3485
SCHYCK, STEVE                         7106 GIBRALTAR AVE                                                                        NEW PORT RICHEY   FL   34653‐4018
SCHYMANSKI, KAREN S                   2800 E SHAFFER RD                                                                         MIDLAND           MI   48642‐8370
SCHYMICK, GARY W                      PO BOX 98                                                                                 ALLENTON          MI   48002‐0098
SCHYVE PAUL                           865 E 22ND ST APT 120                                                                     LOMBARD           IL   60148‐5072
SCHYVINCK, GERALD P                   E. 7196 SEELEY CREEK                                                                      LOGANVILLE        WI   53943
SCHYVINCK, JEFFREY A                  WINSTON DR                                                                                EDGERTON          WI   53534
SCHYVINCK, JOHN J                     8318 W ADOLPHSON RD                                                                       EDGERTON          WI   53534‐9777
SCI FUNERAL & CEMETERY PURCHASING     LEE JEZEK                        1929 ALLEN PKWY                                          HOUSTON           TX   77019‐2506
COOPERATIVE,INC.& AFFLILIATES

SCI LTD                               7030 WOODBINE AVE 6TH FLOOR                                           MARKHAM CANADA ON
                                                                                                            L3R 6G2 CANADA
SCI STEELCON
SCI STEELCON                          12200 MIDDLEBELT RD                                                                       LIVONIA           MI   48150‐2315
SCIABBARRA, CARMELO                   264 RUMFORD RD                                                                            ROCHESTER         NY   14626‐5204
SCIABBARRA, SAM A                     115 JADE CREEK DR                                                                         HILTON            NY   14468‐9015
SCIABICA, SULANE E                    PO BOX 39526                                                                              N RIDGEVILLE      OH   44039‐0526
SCIABICA, SULANE ERIS                 PO BOX 39526                                                                              N RIDGEVILLE      OH   44039‐0526
SCIACCA ALBERT (ESTATE OF) (452251)   WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                          NEW YORK          NY   10038
SCIACCA JOSEPH (507598)               COON BRENT W                     PO BOX 4905                                              BEAUMONT          TX   77704‐4905
SCIACCA SERVICE CENTER INC.           409 E LAFAYETTE ST                                                                        NORRISTOWN        PA   19401‐5116
SCIACCA SERVICE CENTER INC.           409 E LAFAYETTE ST                                                                        NORRISTOWN        PA   19401‐5116
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Name                         Address1                           Address2                            Address3   Address4            City                State Zip
SCIACCA, ALBERT              WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                                    NEW YORK             NY 10038
SCIACCA, JOSEPH              COON BRENT W                       PO BOX 4905                                                        BEAUMONT             TX 77704‐4905
SCIACCA, JOSEPH              2415 HAWTHORNE AVE                                                                                    WESTCHESTER           IL 60154‐5305
SCIACCA, PETER               134 TERRACE AVENUE                                                                                    LODI                 NJ 07644‐2905
SCIACKITANO, CARL A          24241 WHISPERING TRAILS DR                                                                            PLAINFIELD            IL 60585‐2287
SCIAKY INC                   4915 W 67TH ST                                                                                        CHICAGO               IL 60638‐6408
SCIALABBA, GREGORY           576 NEW JERSEY AVE                                                                                    BRICK                NJ 08724‐1245
SCIALFA DOMINIC (412706)     WILENTZ GOLDMAN & SPITZER          88 PINE STREET , WALL STREET                                       NEW YORK             NY 10005
                                                                PLAZA
SCIALFA, DOMINIC             WILENTZ GOLDMAN & SPITZER          88 PINE STREET, WALL STREET PLAZA                                  NEW YORK            NY 10005

SCIALFO CARMEN (181011)      WILENTZ GOLDMAN & SPITZER          PO BOX 10                                                          WOODBRIDGE          NJ    07095‐0958
SCIAMANNA, CAMILLA           646 COLLINDALE AVE NW                                                                                 GRAND RAPIDS        MI    49504‐4647
SCIAMANNA, DENNIS C          1875 140TH AVE                                                                                        DORR                MI    49323‐9119
SCIAMANNA, ESSIE M           221 W HERNDON AVE SPC 143                                                                             PINEDALE            CA    93650‐1351
SCIAMANNA, ROBERT R          1291 WHITMORE AVE NW                                                                                  GRAND RAPIDS        MI    49504‐2445
SCIANCE, FREDERICK S         5318 ALLISON DR                                                                                       TROY                MI    48085‐3460
SCIANDRA, ANDREW C           3692 PEACEPIPE CT                                                                                     CLERMONT            FL    34711‐8915
SCIANDRA, ANDREW CHARLES     3692 PEACEPIPE COURT                                                                                  CLERMONT            FL    34711‐8915
SCIANDRA, CHARLES M          64 WELLINGTON AVE                                                                                     BUFFALO             NY    14223‐2843
SCIANNA, SALVATORE J         101 IRIS CIR                                                                                          ROMEOVILLE          IL    60446‐4869
SCIANNIMANICO, BARTOLO F     29801 COMMONWEALTH ST                                                                                 ROSEVILLE           MI    48066‐1988
SCIANNIMANICO, BARTOLO F.    29801 COMMONWEALTH ST                                                                                 ROSEVILLE           MI    48066‐1988
SCIARABBA, FRANK J           17211 HART ST                                                                                         VAN NUYS            CA    91406‐4428
SCIARABBA, HENRY W           84 E DEMETER DR                                                                                       ROCHESTER           NY    14626
SCIARABBA, MARY ANN          22 ENGLISH STATION RD                                                                                 ROCHESTER           NY    14616‐5519
SCIARAFFA, JUDITH J          3527 SYCAMORE LN                                                                                      KOKOMO              IN    46901‐3803
SCIARAFFA, RICHARD H         3527 SYCAMORE LN                                                                                      KOKOMO              IN    46901‐3803
SCIARAPPA, BENITO F          4751 HAWK LN                                                                                          LORAIN              OH    44053‐1472
SCIARRATTA, GARY F           382 TITUS AVE                                                                                         ROCHESTER           NY    14617‐3816
SCIARRATTA, LARRY J          72 LANCER PLACE                                                                                       WEBSTER             NY    14580‐4308
SCIARRATTA, LINDA            16 WOODALE DR                                                                                         ROCHESTER           NY    14616‐4402
SCIARROTTA, FRANK            7025 HARTWELL ST                                                                                      DEARBORN            MI    48126‐1822
SCIASCIA, DANIEL S           5511 UPPER MOUNTAIN RD                                                                                LOCKPORT            NY    14094‐1822
SCIASCIA, DANIEL SALVATORE   5511 UPPER MOUNTAIN RD                                                                                LOCKPORT            NY    14094‐1822
SCIASCIA, MARIA              5548 TWILIGHT LANE                                                                                    LOCKPORT            NY    14094‐1840
SCIBA LAUREN                 SCIBA, LAUREN                      401 EDWARDS STREET SUITE 1310 P                                    SHREVEPORT          LA    71161
                                                                O BOX 91
SCIBA, LAUREN                369 LEO AVE                                                                                           SHREVEPORT           LA   71105‐2915
SCIBA, LAUREN                HENNESSY J PATRICK LAW OFFICE OF   PO BOX 91                                                          SHREVEPORT           LA   71161‐0091
SCIBERRAS JR, MANUEL         24107 CHESAPEAKE CIR                                                                                  COMMERCE TOWNSHIP    MI   48390‐5918
SCIBERRAS, CHARLES J         39683 HILLARY DR                                                                                      CANTON               MI   48187‐4207
SCIBERRAS, CHARLES JOHN      39683 HILLARY DR                                                                                      CANTON               MI   48187‐4207
SCIBERRAS, ISMELIA           MICHIGAN STATE HOUSE GARDEN ST     GHAJNSIELEM                                    GOZO MALTA EUROPE
                                                                                                               GSM102
SCIBERRAS, MANUEL F          708 GRIST MILL RD                                                                                     STANFORD            KY    40484‐8619
SCIBERRAS, ROSE              24107 CHESAPEAKE CIRCLE                                                                               COMMERCE TOWNSHIP   MI    48390‐8390
SCIBETTA, JOSEPH T           63 LOVERING AVE                                                                                       BUFFALO             NY    14216‐2309
SCIBETTA, RUSSELL P          1416 AVENIDA SIERRA                                                                                   NORTH FORT MYERS    FL    33903‐1326
SCIBIENSKI, BERNARD P        14 OAKLAND RD                                                                                         JAMESBURG           NJ    08831‐1319
SCIBILIA, ANNA C             704 WHISPERING PINE LN                                                                                WARRENTON           MO    63383‐7143
SCIBILIA, ANNA C.            704 WHISPERING PINE LN                                                                                WARRENTON           MO    63383‐7143
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Name                                    Address1                         Address2                      Address3   Address4                City            State Zip
SCIBILIA, JOSEPH M                      315 PROSPECT ST                                                                                   LOCKPORT         NY 14094‐2711
SCIBILIA, LETETIA B                     8416 OXFORD LN                                                                                    GRAND BLANC      MI 48439‐7452
SCIBILIA, RUSSELL                       8416 OXFORD LN                                                                                    GRAND BLANC      MI 48439‐7452
SCIBIOR, RAYMOND W                      1918 ALLENWAY CT                                                                                  ROCHESTER HLS    MI 48309‐3313
SCIBIORSKI, MICHAEL A                   712 CUMBERLAND DR                                                                                 EATON RAPIDS     MI 48827‐1613
SCIBOR DAVE                             626 KENTWOOD CT                                                                                   LAKE ORION       MI 48362‐2152
SCIBOR, DAVID J                         626 KENTWOOD CT                                                                                   LAKE ORION       MI 48362‐2152
SCICLUNA, DAVID L                       30152 POINTE DR                                                                                   GIBRALTAR        MI 48173‐9555
SCICLUNA, JEFFREY A                     16454 BRANDT ST                                                                                   ROMULUS          MI 48174‐3213
SCICLUNA, JOSEPH                        768 S MILL ST APT 3                                                                               PLYMOUTH         MI 48170‐1862
SCICLUNA, PAUL J                        13298 EAGLE NEST TRL                                                                              SHELBY TWP       MI 48315‐2322
SCICLUNA, RINALDUS                      2849 POINTE TREMBLE RD                                                                            ALGONAC          MI 48001‐4634
SCICLUNA, ROBERT                        2440 BESS AVE                                                                                     LIVERMORE        CA 94550‐9664
SCICON TECHNOLOGIES CORP                27525 NEWHALL RANCH RD STE 2                                                                      VALENCIA         CA 91355‐4003
SCIDMORE, LOIS K                        1850 WILLS DR                                                                                     CONWAY           AR 72032‐8573
SCIDMORE, ROBERT C                      1850 WILLS DR                                                                                     CONWAY           AR 72032‐8573
SCIDMORE, SCOTT R                       1906 BAILEYS TRACE DR                                                                             SPRING HILL      TN 37174‐6102
SCIE MECANIQUE L. OUELLET INC           65 ST JOSEPH                                                              SQUATEC QC G0L 4H0
                                                                                                                  CANADA
SCIEMETRIC INSTRUMENTS INC              360 TERRY FOX DR                                                          KANATA ON K2K 2P5
                                                                                                                  CANADA
SCIEMETRIC/3685 RICH                    3685 RICHMOND ROAD                                                        OTTAWA ON K2H 5B7
                                                                                                                  CANADA
SCIENCE APPLICATIONS INTERNATIONAL    PO BOX 223058                                                                                       PITTSBURGH      PA 15251‐2058
CORP
SCIENCE APPLICATIONS INTERNATIONAL    TONY GARZIONE                      10260 CAMPUS POINT DR                                            SAN DIEGO       CA 92121‐1522
CORPORATION
SCIENCE APPLICATIONS INTL CORP        10260 CAMPUS POINT DR                                                                               SAN DIEGO       CA 92121‐1522
SCIENCE CENTER BAY CITY PUBLICSCHOOLS 4721 3 MILE RD                                                                                      BAY CITY        MI 48706‐9468

SCIENCE CENTRAL INC                     1950 N CLINTON ST                                                                                 FORT WAYNE      IN   46805‐4049
SCIENCE ELEC/DAYTON                     PO BOX 986                                                                                        DAYTON          OH   45401‐0986
SCIENCE ELEC/HIXSON                     PO BOX 57                        C/O GEORGE GRANT COMPANY                                         HIXSON          TN   37343‐0057
SCIENCE ELEC/MIAMBRG                    2277 MAUE ROAD                                                                                    MIAMISBURG      OH   45342
SCIENCE INSTITUTE ‐                     UNIVERSITY OF ICELAND            DUNHAGI 3                                REYKJAVIK 107 ICELAND
SCIENCE SCREEN REPORT                   ALLEGRO PRODUCTIONS INC          1000 CLINT MOORE RD STE 108                                      BOCA RATON      FL   33487‐2806
SCIENTEMP CORP                          3565 S ADRIAN HWY                                                                                 ADRIAN          MI   49221‐9293
SCIENTIFIC AMERICAN INC                 BRUCE BRANDFON                   75 VARICK ST                  FL 9                               NEW YORK        NY   10013‐1917
SCIENTIFIC AMERICAN INC                 BRUCE BRANDFON                   415 MADISON AVE                                                  NEW YORK        NY   10017
SCIENTIFIC ATLANT/CA                    13112 EVENING CREEK DRIVE, STH                                                                    SAN DIEGO       CA   92128
SCIENTIFIC CONTROL LAB INC              3158 S KOLIN AVE                                                                                  CHICAGO         IL   60623‐4831
SCIENTIFIC CONTROL LABORATORIES INC     3158 S KOLIN AVE                                                                                  CHICAGO         IL   60623‐4831

SCIENTIFIC FORMING TECHNOLOGIES         2545 FARMERS DR                  STE 200                                                          COLUMBUS        OH 43235‐3713
CORPORATION
SCIENTIFIC GAMES INTERNATIONAL          AMY ERICKSON                     1500 BLUEGRASS LAKE PARKWAY                                      ALPHARETTA      GA
SCIENTIFIC GAMES INTERNATIONAL, INC.

SCIENTIFIC INSTRUMENT SERVICE           4904 HIGHWAY 126                                                                                  BLOUNTVILLE     TN 37617‐4415
SCIENTIFIC INSTRUMENT SERVICE LTD       4904 HIGHWAY 126                                                                                  BLOUNTVILLE     TN 37617‐4415
SCIENTIFIC INSTRUMENT SERVICE LTD INC   4904 HIGHWAY 126                                                                                  BLOUNTVILLE     TN 37617‐4415
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Name                          Address1                           Address2             Address3     Address4                City              State Zip
SCIENTIFIC TECHNOLOGIES INC   6550 DUMBARTON CIR                                                                           FREMONT            CA 94555‐3605
SCIENTIFIC TECHNOLOGY INC     205 PERRY PKY STE 14                                                                         GAITHERSBURG       MD 20877
SCIENTIFIC TOOL CO            ATTN: CHUCK GORMAN                 101 ARTERIAL RD                                           SYRACUSE           NY 13206‐1585
SCIENTIFIC TOYS, LTD.
SCIESZINSKI, BERNICE V        715 MARGATE DRIVE                                                                            JANESVILLE        WI   53546‐2032
SCIESZINSKI, WILLIAM P        4249 SOUTHWYCK DR                                                                            JANESVILLE        WI   53546‐2120
SCIEZ, LOUIS J                5650 S 27TH ST                                                                               MILWAUKEE         WI   53221‐4108
SCIF OLYMPIC 1 LLC            1800 AVENUE OF THE STARS STE 105                                                             LOS ANGELES       CA   90067‐4203
SCIFO PAUL                    10 LEE CT                                                                                    FRANKLIN SQUARE   NY   11010‐1630
SCIGEL, ANTHONY               2250 W SNOVER RT #3                                                                          MAYVILLE          MI   48744
SCIGEL, MICHAEL A             2240 W SNOVER RD                                                                             MAYVILLE          MI   48744‐9773
SCIGEL, MICHAEL ANTHONY       2240 W SNOVER RD                                                                             MAYVILLE          MI   48744‐9773
SCIGLIANO, F A                784 TERRACE DR                                                                               BULLHEAD CITY     AZ   86442‐6418
SCIGO, TERRY L                1876 COUNTY ROAD O                                                                           FREMONT           NE   68025‐7323
SCILLION, DAVID G             19771 10TH AVE                                                                               BARRYTON          MI   49305‐9723
SCIME JR, SAM                 132 HIGH BANKS TRL                                                                           ORTONVILLE        MI   48462‐9738
SCIME, JOHN                   33 WINDSOR AVE                                                                               AMHERST           NY   14226‐1614
SCIMECA, THOMAS J             39 W GREYHOUND PASS                                                                          CARMEL            IN   46032‐7002
SCIMEMI, ANTHONY L            17 SADDLEBACK CT                                                                             O FALLON          MO   63368‐6901
SCIMEMI, MARY                 1317 HIGH POINT WAY SE APT C                                                                 DELRAY BEACH      FL   33445‐2899
SCIMI                         16 BP 1753                                                           ABIDJAN COTE D'IVOIRE
SCINTA, ANTHONY J             32 WOODGATE RD                                                                               TONAWANDA         NY   14150‐8132
SCINTA, IDA E                 35 LAURA CT                                                                                  CHEEKTOWAGA       NY   14227‐1809
SCINTA, IDA E                 35 LAURA CT.                                                                                 CHEEKTOWAGA       NY   14227
SCINTA, JUDITH A              5150 JONES RD                                                                                NORTH BRANCH      MI   48461‐9587
SCINTA, LOUIS P               4672 N CAROLINA HGWY 10W                                                                     NEWTON            NC   28658
SCINTA, MARGARET M            367 EAST AVE                                                                                 LOCKPORT          NY   14094‐3135
SCINTA, MICHAEL J             4109 R ALLENDALE PARKWAY                                                                     BLASDELL          NY   14219
SCINTA, MICHAEL L             4109 ALLENDALE PKWY LEFT                                                                     BLASDELL          NY   14219
SCINTA, MICHAEL LEONARD       4109 ALLENDALE PKWY LEFT                                                                     BLASDELL          NY   14219
SCINTO, LAWRENCE              4311 KATHLEEN LN                                                                             OAK LAWN          IL   60453‐5749
SCIO TOWNSHIP TREASURER       827 N ZEEB RD                                                                                ANN ARBOR         MI   48103‐1562
SCIOCCO, JAMES V              483 EWINGVILLE RD                                                                            EWING             NJ   08638‐1533
SCIOG, RAYMOND J              APT 202                            625 WINDSOR SQUARE                                        NAPLES            FL   34104‐8913
SCIOG, RAYMOND J              625 WINDSOR SQUARE                 UNIT 202                                                  NAPLES            FL   34104
SCIOLA, ANNA C                125 HOWARD AVE                                                                               SOUTHINGTON       CT   06489‐4709
SCIOLARO, DANA M              PO BOX 403                                                                                   GRAIN VALLEY      MO   64029‐0403
SCIOLARO, VIRGIL F            31501 E MAJOR RD                                                                             GRAIN VALLEY      MO   64029‐9575
SCIOLI, CONSTANCE C           160 HOWE ST                                                                                  MARLBOROUGH       MA   01752‐2866
SCIOLINO, CHARLES             421 FRENCH RD                                                                                DEPEW             NY   14043‐2239
SCIOLINO, JOHN A              2131 NEW JERUSALEM RD                                                                        EDEN              NY   14057‐9572
SCIOLINO, JOHN ANTHONY        2131 NEW JERUSALEM RD                                                                        EDEN              NY   14057‐9572
SCIOLINO, MARY C              5950 SHIMERVILLE RD                                                                          CLARENCE CENTER   NY   14032‐9324
SCIOLINO, RONALD M            5 PATRICE TER                                                                                WILLIAMSVILLE     NY   14221‐4701
SCIOLINO, SAMUEL J            92 CHARLESTON AVE                                                                            KENMORE           NY   14217‐2902
SCIOLINO, SAMUEL JOSEPH       92 CHARLESTON AVE                                                                            KENMORE           NY   14217‐2902
SCIORE, DONALD P              1327 MOUNTAIN VIEW AVE A                                                                     SOUTH PASADENA    CA   91030
SCIORE, DONALD P              6492 MOUNT ROYAL AVE                                                                         WESTERVILLE       OH   43082‐9526
SCIORE, DOROTHY L             6492 MOUNT ROYAL AVE                                                                         WESTERVILLE       OH   43082‐9526
SCIORE, DOROTHY L             6492 MT. ROYAL AVE.                                                                          WESTERVILLE       OH   43082
SCIORE, JOSEPH A              692 HARWICK ST                                                                               WESTERVILLE       OH   43081‐3211
SCIORE, MARILYN L             5731 GRACKLE LN                                                                              WESTERVILLE       OH   43081‐8674
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Name                       Address1                         Address2                         Address3             Address4                   City            State Zip
SCIORTINO MICHELLE         19019 SOUTH LYNN PARKWAY                                                                                          MOKENA            IL 60448‐9804
SCIORTINO, ANTHONY J       62 OAKHILL DR                                                                                                     BUFFALO          NY 14224‐4214
SCIORTINO, CAROL           2 NISA LN                                                                                                         ROCHESTER        NY 14606‐4004
SCIORTINO, CAROL           2 NISA LANE                                                                                                       ROCHESTER        NY 14606‐4004
SCIORTINO, GAIL ANN        62 CRYSTAL COMMONS DR                                                                                             ROCHESTER        NY 14624‐2274
SCIORTINO, GIUSEPPE        27 SAND PEBBLE DR                                                                                                 ROCHESTER        NY 14624‐3627
SCIORTINO, JOSEPH A        2 NISA LN                                                                                                         ROCHESTER        NY 14606‐4004
SCIORTINO, LENARD S        4447 W 100 S                                                                                                      RUSSIAVILLE      IN 46979‐9512
SCIORTINO, MARY C          5775 MAELOU DR                   C/O ELDERWOOD HEALTH CARE AT L                                                   HAMBURG          NY 14075‐7419

SCIORTINO, NORMA J         4447 W 100 S                                                                                                      RUSSIAVILLE     IN 46979‐9512
SCIORTINO, PAUL J          792 FERNWOOD DR                                                                                                   LOCKPORT        NY 14094‐9138
SCIORTINO, SALVATORE       461 CHAMBERS ST                                                                                                   SPENCERPORT     NY 14559‐9788
SCIOSCIA SANTORO ANTONIO   LA SCALA                         STUDIO LEGALE E INBUTARIO        CORSO MAGENTA N 42   20123 MILANO ITALY
SCIOSCIA SANTORO CHIARA    LA SCALA                         STUDIO LEGALE E TRIBUTARIO       CORSO MAGENTA N 42   20123 MILANO ITALY
SCIOTO COUNTY TREASURER    ROOM 102 ‐ COURT HOUSE           602 SEVENTH STREET                                                               PORTSMOUTH      OH   45662
SCIOTTO, ANGELINE A        67 CANTERBURY PARK DR                                                                                             SAINT PETERS    MO   63376‐1113
SCIPIO FREEMAN JR          995 CASCADES DR                                                                                                   AURORA          OH   44202‐7799
SCIPIO J WILLIAMS SR       5141 INLAND ST                                                                                                    FLINT           MI   48505‐1706
SCIPIO JONES               1120 E CASS AVE                                                                                                   FLINT           MI   48505‐1608
SCIPIO JONES               7316 HEINLE AVE                                                                                                   BALTIMORE       MD   21237‐1320
SCIPIO WILLIAMS            G‐5141 INLAND ST                                                                                                  FLINT           MI   48505
SCIPIO WILLIAMS JR         400 FULLER ST APT 2                                                                                               CLIO            MI   48420‐1249
SCIPIO X JONES SR          1120 E CASS AVE                                                                                                   FLINT           MI   48505‐1608
SCIPIONE SERGIO            VIA ANFITEATRO 39                                                                      04023 FORMIA (LT), ITALY
SCIPIONE, ELLEN F          1800 MANITOU RD                                                                                                   SPENCERPORT     NY   14559‐9597
SCIPIONE, ELMO             35792 HATHERLY PLACE                                                                                              STERLING HTS    MI   48310‐5143
SCIPIONE, RICHARD L        46 W BEND DR                                                                                                      ROCHESTER       NY   14612‐3220
SCIPIONE, SHIRLEY          35792 HATHERLY PL                                                                                                 STERLING HTS    MI   48310‐5143
SCIPIONI, ANGELA           43 BEDFORD RD                                                                                                     N TARRYTOWN     NY   10591‐2107
SCIPIONI, JAMES F          100 IVY FARM CT                                                                                                   ALVATON         KY   42122‐9691
SCIPIONI, OLGA             4 MARSHALL PLACE                                                                                                  OSSINING        NY   10562‐3518
SCIPIONI, OLGA             4 MARSHALL PL                                                                                                     OSSINING        NY   10562‐3518
SCIPLE, MARY E             16134 CRESTVIEW DR                                                                                                GULFPORT        MS   39503‐2611
SCIPPA WENDY               SCIPPA, WENDY                    4785 MODERN DR                                                                   DELRAY BEACH    FL   33445
SCIPPA, WENDY              4785 MODERN DR                                                                                                    DELRAY BEACH    FL   33445‐1220
SCIRANKO ESTELLE           2081 S BAILEY RD                                                                                                  NORTH JACKSON   OH   44451‐9629
SCIRANKO ESTELLE K         2801 S BAILEY RD                                                                                                  NORTH JACKSON   OH   44451
SCIRATI, ROCCI J           150 AKRON ST                                                                                                      LOCKPORT        NY   14094‐5147
SCIRBONA, ANTHONY          20 SECOR PL APT 3U                                                                                                YONKERS         NY   10704‐3233
SCIRBONA, ANTONIA M        3928 TIFTON CT                                                                                                    N LAS VEGAS     NV   89031‐2039
SCIRCLE, MARY J            653 CAMBRIDGE DR                                                                                                  KOKOMO          IN   46902‐6912
SCIRGHI, THOMAS A          223 BOXWOOD RD                                                                                                    AIKEN           SC   29803‐7873
SCIRIHA, FRANK             107 ELMWOOD CIR                                                                                                   LARGO           FL   33777‐4827
SCIROCCO GILES             4359 S KING DR                                                                                                    CHICAGO         IL   60653‐3342
SCIROCCO, NICK R           1790 PARK DR                                                                                                      NILES           OH   44446‐2817
SCIROCCO, ROBERT L         724 NEW JERSEY AVE                                                                                                MC DONALD       OH   44437‐1852
SCIROCCO, VINCENT A        357 PARK AVE                                                                                                      WOONSOCKET      RI   02895‐5339
SCIRRI, ANDREW             33 BELVEDERE RD                                                                                                   BUFFALO         NY   14220‐2016
SCIRTO, GRACIE A           30 BRIDLEWOOD DR                                                                                                  LOCKPORT        NY   14094‐4866
SCISM, MARION              30429 J CARLS ST                                                                                                  ROSEVILLE       MI   48066‐1489
SCISNEY, LAURA B           3322 N ADAMS                                                                                                      INDIANAPOLIS    IN   46218‐2174
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Name                       Address1                         Address2                        Address3   Address4            City               State Zip
SCISNEY, LAURA B           3322 ADAMS ST                                                                                   INDIANAPOLIS        IN 46218‐2174
SCISNEY, RALPH D           5841 CHENSFORD DR APT 1A                                                                        INDIANAPOLIS        IN 46226‐1271
SCISSOR TAIL ENERGY        ROUTE 3 BOX 395                                                                                 STROUD              OK 74079
SCISSUM, ARTIMUS           427 EARLY RD                                                                                    YOUNGSTOWN          OH 44505‐3950
SCISSUM, CHRISTIE          1107 RANDALL ST                                                                                 GADSDEN             AL 35901‐5052
SCISSUM, JOANNE B          944 BROWNSVILLE RD                                                                              POWDER SPRINGS      GA 30127‐6756
SCITES, DAVID ALLEN        5834 TEXTILE ROAD                                                                               YPSILANTI           MI 48197‐8989
SCITES, JUANITA M          5834 TEXTILE ROAD                                                                               YPSILANTI           MI 48197‐8989
SCITES, WILLIAM H          5224 26TH AVE N                                                                                 ST PETERSBURG       FL 33710‐3425
SCITOWSKI, ROBERT L        12347 E 11 MILE RD                                                                              WARREN              MI 48093‐4650
SCITTINE, JOSEPH T         11054 LANCASTER ST                                                                              WESTCHESTER          IL 60154‐4912
SCIUK, ROBERT F            1815 SWEETWATER RD SPC 111                                                                      SPRING VALLEY       CA 91977‐3832
SCIUK, WILLIAM C           19317 LOST OAKS LN                                                                              BOCA RATON          FL 33498‐4840
SCIULLA, ANGELO F          2070 POPPYWOOD AVE                                                                              HENDERSON           NV 89012‐4514
SCIULLA, JOSEPHINE         236 HEATHER CT                                                                                  MAYFIELD HEIGHTS    OH 44124‐4183
SCIULLA, SALVATORE         6902 17TH AVE                                                                                   BROOKLYN            NY 11204‐5046
SCIULLI DAN (447576)       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                  NORTHFIELD          OH 44067
                                                            PROFESSIONAL BLDG
SCIULLI, DAN               BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                   NORTHFIELD         OH 44067
                                                            PROFESSIONAL BLDG
SCIULLI, WALTER A          219 MARYLAND AVE                                                                                N VERSAILLES       PA   15137‐1623
SCIULLO DONATO (357989)    ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                            NEW YORK           NY   10006‐1638
SCIULLO, DONATO            ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                            NEW YORK           NY   10006‐1638
SCIULLO, ERNEST P          1438 SILVERTHORN DR                                                                             ORLANDO            FL   32825‐5883
SCIULLO, WENDY L           292 BUTLER AVE                                                                                  ELLWOOD CITY       PA   16117‐2609
SCIUMECA, JOSEPH W         219 ROCHELLE PARK                                                                               TONAWANDA          NY   14150‐9315
SCIVOLETTI, MICHAEL J      821 WESTCHESTER WAY                                                                             BIRMINGHAM         MI   48009‐2917
SCJ ASSOCIATES INC         60 COMMERCE DR                                                                                  ROCHESTER          NY   14623‐3502
SCKLAN, ALEX R             839 BUENA VISTA RD                                                                              VANDERBILT         PA   15486‐1261
SCLABASSI, RICHARD G       10144 BALFOUR AVE                                                                               ALLEN PARK         MI   48101‐1226
SCLABASSI, ROBERT A        1357 PROSPER DR                                                                                 TROY               MI   48098‐2060
SCLABASSI, RONALD J        2443 STANTON CT                                                                                 SHELBY TOWNSHIP    MI   48316‐1280
SCLAFANI, FRANK            246‐04 85 AVE                                                                                   BELLEROSE          NY   11426
SCLC WOMEN INC HERITAGE    328 AUBURN AVE NE                                                                               ATLANTA            GA   30303‐2604
SCLESKY, LYDIA J           PO BOX 367                                                                                      GOODRICH           MI   48438‐0367
SCLESKY, MICHAEL L         2007 MURRAY ST                                                                                  GRAND BLANC        MI   48439‐9389
SCLESKY, MICHAEL LYNN      2007 MURRAY ST                                                                                  GRAND BLANC        MI   48439‐9389
SCLESKY, WILLIAM J         5447 GUYETTE ST                                                                                 CLARKSTON          MI   48346‐3524
SCM CHARLOTTE REALTY LLC   9325 SOUTH BLVD                                                                                 CHARLOTTE          NC   28273‐6943
SCMP ENTERPRISES INC       PO BOX 168                       DBA ACCESS AMBULANCE SERVICE                                   NORTH HAVEN        CT   06473‐0168

SCOA GHANA LIMITED         KWAME NKRUMAH AVENUE, ADJABENG                                              ACCRA GHANA
                           ROAD
SCOBEE, CARL K             17619 RIVERBEND RD                                                                              KEARNEY            MO   64060‐8906
SCOBEE, CORNELIA I         7880 S KETCHAM RD                C/O LESA SNEDEGAR                                              BLOOMINGTON        IN   47403‐8868
SCOBEY, BETTY L            1199 E REID RD                                                                                  GRAND BLANC        MI   48439‐8835
SCOBEY, GARY P             1199 E REID RD                                                                                  GRAND BLANC        MI   48439‐8835
SCOBEY, MARY A             5214 BLOSS DR                                                                                   SWARTZ CREEK       MI   48473‐8875
SCOBEY, MICHAEL H          6203 KING ARTHUR DR                                                                             SWARTZ CREEK       MI   48473‐8808
SCOBEY, MICHAEL HOYT       6203 KING ARTHUR DR                                                                             SWARTZ CREEK       MI   48473‐8808
SCOBEY, TIMOTHY W          5214 BLOSS DR                                                                                   SWARTZ CREEK       MI   48473‐8875
SCOBIE, DAVID M            13601 FOOTHILL BLVD                                                                             SYLMAR             CA   91342‐4405
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SCOBIE, KATHY A                  7455 BEAMER RD                                                                              BLISSFIELD       MI 49228‐4000
SCOBIE, RONALD R                 1530 S MARION AVE                                                                           JANESVILLE       WI 53546‐5423
SCOBLE, FRANCES B                5027 N MCKINLEY RD                                                                          FLUSHING         MI 48433‐1147
SCOBLE, SARAH A                  10239 DODGE ROAD                                                                            MONTROSE         MI 48457‐9034
SCOBLE, SARAH A.                 10239 DODGE RD                                                                              MONTROSE         MI 48457‐9034
SCOBLE, VALERIE A                9218 N SEYMOUR RD                                                                           FLUSHING         MI 48433‐9258
SCOBLE, WILLIAM R                662 E 14 MILE RD                                                                            DAFTER           MI 49724‐9562
SCOBLE, WILLIAM R                9218 N SEYMOUR RD                                                                           FLUSHING         MI 48433‐9258
SCOCCIA, ADELE                   67 QUEENSLAND DR                                                                            SPENCERPORT      NY 14559‐2065
SCOCCIA, BRUNO L                 67 QUEENSLAND DR                                                                            SPENCERPORT      NY 14559‐2065
SCODELLARO, DEL D                24224 TAMARACK CIR                                                                          SOUTHFIELD       MI 48075‐6179
SCODELLER, MARC L                265 GOLFVIEW                                                        AMHERSTBURG ON N9V4C3
                                                                                                     CANADA
SCODELLER, MARC L                265 GOLFVIEW DR                                                     AMHERSTBURG ONTARIO
                                                                                                     CANADA N9V‐4C3
SCODOVA, MICHAEL J               461 MIDLAND DR                                                                              MANSFIELD       OH   44903‐1915
SCOFERO, JOSEPH A                2062 JOHNNY LN                                                                              WALWORTH        NY   14568‐9335
SCOFES & ASSOC CONSULTING INC    ATTN: STEPHEN SCOFES           1900 W FISHER FWY                                            DETROIT         MI   48216
SCOFIELD JOHNSON                 3925 YEARLING CT                                                                            CINCINNATI      OH   45211‐3745
SCOFIELD MIA                     2851 TOLKIEN LN                                                                             LAKE OSWEGO     OR   97034‐7539
SCOFIELD, ANDREW                 44933 LIGHTSWAY DR                                                                          NOVI            MI   48375‐3822
SCOFIELD, ARDEN R                11360 GREENVIEW DR                                                                          FENTON          MI   48430‐2534
SCOFIELD, BETTY A                32625 W CHICAGO ST                                                                          LIVONIA         MI   48150‐3734
SCOFIELD, BETTY M                5345 MISTY OAKS TRL                                                                         SWARTZ CREEK    MI   48473‐1083
SCOFIELD, DAVID J                98 ROBBINS RD                                                                               BRANCHBURG      NJ   08876‐3711
SCOFIELD, DAVID M                7386 VIENNA ROAD                                                                            OTISVILLE       MI   48463‐9475
SCOFIELD, DOROTHY J              1441 GENESEE AVE NE                                                                         WARREN          OH   44483‐4217
SCOFIELD, DOUGLAS A              9877 ELK LAKE TRL                                                                           WILLIAMSBURG    MI   49690‐8514
SCOFIELD, GENE L                 24759 CUNNINGHAM AVE                                                                        WARREN          MI   48091‐4421
SCOFIELD, GERALD N               6171 FINCH LN                                                                               FLINT           MI   48506‐1601
SCOFIELD, GREGORY W              24844 CUNNINGHAM AVE                                                                        WARREN          MI   48091‐4422
SCOFIELD, J M                    10212 ALEXANDRIA AVE                                                                        ENGLEWOOD       FL   34224‐8887
SCOFIELD, JAMES E                2141 ADELPHA AVE APT A                                                                      HOLT            MI   48842‐1159
SCOFIELD, JAMES E                2124 N VASSAR RD                                                                            DAVISON         MI   48423‐9515
SCOFIELD, JAMES EDWARD           2124 N VASSAR RD                                                                            DAVISON         MI   48423‐9515
SCOFIELD, KARIE J                6303 HIDDEN TRL                                                                             BURTON          MI   48519‐1712
SCOFIELD, KELLY M                11317 MEADOWBROOK DR                                                                        WARREN          MI   48093‐2524
SCOFIELD, KENNETH D              PO BOX 430                                                                                  AVOCA           MI   48006‐0430
SCOFIELD, ROBERT R               4490 E CEDAR LAKE DR                                                                        GREENBUSH       MI   48738‐9727
SCOFIELD, STEVEN M               6303 HIDDEN TRL                                                                             BURTON          MI   48519‐1712
SCOFIELD, STEVEN R               15 OLIVER AVE                                                                               PENNSVILLE      NJ   08070‐1514
SCOFIELD, TAMARA S               5011 OWEN RD                                                                                LINDEN          MI   48451‐9085
SCOFIELD, WILLIAM D              2321 ASPEN CT                                                                               ANDERSON        IN   46011‐2803
SCOGGAN, JACK E                  2424 GERRARD AVE                                                                            SPEEDWAY        IN   46224‐5044
SCOGGAN, JOHN                    1087 CHURCH CAMP RD                                                                         BEDFORD         IN   47421‐7478
SCOGGIN DICKEY SAAB              5901 SPUR 327                                                                               LUBBOCK         TX   79424‐2705
SCOGGIN, JENNIFER L              26552 LA QUILLA LN                                                                          MISSION VIEJO   CA   92692
SCOGGIN, JOE F                   18631 GLENEAGLES DR                                                                         BATON ROUGE     LA   70810‐5972
SCOGGIN‐DICKEY                   5901 SPUR 327                                                                               LUBBOCK         TX   79424‐2705
SCOGGIN‐DICKEY CAR AND TRUCK     COUNTRY OF PLAINVIEW LTD       PO BOX 64910                                                 LUBBOCK         TX   79464‐4910
SCOGGIN‐DICKEY CHEVROLET‐BUICK                                                                                               LUBBOCK         TX   79424‐2705
SCOGGIN‐DICKEY CHEVROLET‐BUICK   5901 SPUR 327                                                                               LUBBOCK         TX   79424‐2705
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SCOGGIN‐DICKEY CHEVROLET‐BUICK, INC    5901 SPUR 327                                                                              LUBBOCK            TX 79424‐2705

SCOGGIN‐DICKEY CHEVROLET‐BUICK, INC.   JOHN ZWIACHER                    5901 SPUR 327                                             LUBBOCK            TX   79424‐2705

SCOGGIN‐DICKEY CHEVROLET‐BUICK, INC.   5901 SPUR 327                                                                              LUBBOCK            TX   79424‐2705

SCOGGIN‐DICKEY SAAB                   ZWIACHER, JOHN D.                 5901 SPUR 327                                             LUBBOCK           TX    79424‐2705
SCOGGINS CHEVROLET BUICK INC.         1424 N YOUNG BLVD                                                                           CHIEFLAND         FL    32626‐1706
SCOGGINS CHEVROLET BUICK, INC.        NORMAN SCOGGINS                   1424 N YOUNG BLVD                                         CHIEFLAND         FL    32626‐1706
SCOGGINS III, MILTON T                PO BOX 502                                                                                  EXPERIMENT        GA    30212‐0502
SCOGGINS, ALAN D                      PO BOX 1854                                                                                 WEATHERFORD       TX    76086‐7854
SCOGGINS, CAROLE A                    4689 HOAGLAND BLACKSTUB RD                                                                  CORTLAND          OH    44410‐9507
SCOGGINS, CAROLE A                    4689 BAZETTA RD                                                                             CORTLAND          OH    44410‐4410
SCOGGINS, CYNTHIA R                   5194 LINTON CUT OFF RD                                                                      BENTON            LA    71006
SCOGGINS, DANIEL L                    5194 LINTON CUTOFF RD                                                                       BENTON            LA    71006‐8770
SCOGGINS, EDITH E                     1505 S MAIN ST                    GOLDEN AGE HOME                                           LOCKHART          TX    78644‐3945
SCOGGINS, EDITH E                     GOLDEN AGE HOME                   1505 SOUTH MAIN STREET                                    LOCKHART          TX    78644
SCOGGINS, JAMES L                     5858 JEROME RD                                                                              JEROME            MI    49249‐9722
SCOGGINS, MAGGIE R                    1689 CAMPBELLTON RD                                                                         ATLANTA           GA    30311‐4035
SCOGGINS, NANCY GAYLE                 1222 HAYNER RE                                                                              BOWLING GREEN     KY    42104‐7889
SCOGGINS, NANCY H                     4407 GEORGE DAVID WAY                                                                       POWDER SPGS       GA    30127‐2237
SCOGGINS, SANDRA E                    1404 S HUBBARD ST                                                                           WESTLAND          MI    48186‐4936
SCOGGINS, TOMMIE A                    RT #7,BOX626                                                                                DALLAS            GA    30157
SCOGGINS, TROY L                      218 OAK GROVE CHURCH RD                                                                     PEARL             MS    39208‐9150
SCOGIN BROTHERS AUTOMOTIVE            5315 VALLEY RD                                                                              FAIRFIELD         AL    35064‐2174
SCOGIN PONTIAC, OLDSMOBILE, CADILLAC, HARRY SCOGIN*                     3200 N COLLEGE AVE                                        JACKSON           AL    36545‐2233
CHEVROLET, GMC, INC.
SCOGIN, INC.                          3200 N COLLEGE AVE                                                                          JACKSON           AL    36545‐2233
SCOGIN, JUNIOR E                      2204 ETTA LN                                                                                BURLESON          TX    76028‐1648
SCOGINS, ROBERT E                     SHRADER JUSTIN                    16903 RED OAK DR STE 220                                  HOUSTON           TX    77090‐3916
SCOHY, LOUIS R                        61640 RAINTREE BLVD                                                                         STURGIS           MI    49091‐9323
SCOLA, ANTHONY J                      17 CARTER RD                                                                                WORCESTER         MA    01609‐1037
SCOLA, ERCOLE F                       23 CARTER RD                                                                                WORCESTER         MA    01609‐1037
SCOLA, MARGARET A                     ROBB LEONARD & MULVIHILL          2300 ONE MELLON BANK CENTER                               PITTSBURGH        PA    15219
SCOLA, MICHAEL J                      8258 LINDAMAR LN                                                                            SHELBY TWP        MI    48316‐1059
SCOLA, ROBERT J                       UNIT B206                         360 SOUTH PAPAGO STREET                                   SPRINGERVILLE     AZ    85938‐5205
SCOLAMIERO DOMINIC                    SCOLAMIERO, DOMINIC               565 NEWARK POMPTON TURNPIKE                               POMPTON PLAINS    NJ    07444
                                                                        PO BOX 387
SCOLARO, CHERYL L                      26513 SEDONA DR                                                                            VALENCIA          CA    91354‐2505
SCOLARO, CHRISTOPHER P                 1566 TAUNTON RD                                                                            BIRMINGHAM        MI    48009‐7200
SCOLARO, JOHN R                        9132 CLUBHOUSE DR                                                                          FOLEY             AL    36535‐9318
SCOLARO, MARK A                        PO BOX 1418                                                                                SARASOTA          FL    34230‐1418
SCOLERI ANTHONY                        905 MERRICK AVE                                                                            HADDON TOWNSHIP   NJ    08108‐3229
SCOLES, ROBERT G                       11 DEER PATH DR                                                                            SALEM             IL    62881‐1004
SCOLLICK, KENNETH A                    3431 OLD CREEK DR                                                                          HOLLY             MI    48442‐9508
SCOLLICK, KENNETH ALLEN                3431 OLD CREEK DR                                                                          HOLLY             MI    48442‐9508
SCOLLON, DAN P                         621 N BALL ST                                                                              OWOSSO            MI    48867‐2309
SCOLLON, LARRY L                       209 N ELM ST                                                                               OWOSSO            MI    48867‐2663
SCOLLON, LEOLA M                       1694 N M52                       APT 203                                                   OWOSSO            MI    48867
SCOLLON, LEOLA M                       1694 N M 52 APT 203                                                                        OWOSSO            MI    48867
SCOLMAN, GERTRUDE M                    N65 W22201 SAINT JAMES PARKWAY                                                             SUSSEX            WI    53089
SCOMA, JUDITH A                        10051 RAMBLIN RIVER RD                                                                     SAN ANTONIO       TX    78251‐4362
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SCONCE, BILL R                        2002 DONA JANE DR                                                                                        O FALLON            MO 63366‐3356
SCONCE, MARY                          12664 STATE ROAD CC                                                                                      FESTUS              MO 63028‐3822
SCONCE, MARY                          744 SNYDER RD                                                                                            TROY                MO 63379‐4538
SCONCE, MARY                          12664 STATE RD CC                                                                                        FESTUS              MO 63028‐3822
SCONCE, RAYMOND D                     718 S HAMILTON ST                                                                                        MARISSA              IL 62257‐1934
SCOOBIE DU TRUCKIN INC.               GINA KOSTER                    12468 SAINT MICHEL AVE                                                    ROMEO               MI 48065‐3894
SCOON, JOHN W                         73 PINEWOOD ACRES AVE                                                                                    DOVER               DE 19901‐1918
SCOPAZZO, CARMELO J                   4550 FORD HWY                                                                                            CHARLOTTE           MI 48813‐9351
SCOPEL, CATHY M                       1400 N HIGHWAY 75A APT 722                                                                               DENISON             TX 75020
SCOPEL, MICHAEL A                     1230 PARK RD                                                                                             CRESTLINE           OH 44827‐1018
SCOPELITIS BARBARA                    6330 GRANDVILLIERS DR                                                                                    CORPUS CHRISTI      TX 78414‐6066
SCOPELLITI, ANDREW J                  21 CAROL LN                                                                                              SPOTSWOOD           NJ 08884‐1415
SCOPOLETTI, LEONOR                    PO BOX 785                                                                                               SLEEPY HOLLOW       NY 10591‐0785
SCOPPO, CATHY E                       PO BOX 262                                                                                               ONTARIO             NY 14519‐0262
SCOR                                  RENAUD AMBITE                  SCOR GLOBAL P&C, BUSINESS      1, AVENUE DU GENERAL DE   FRANCE
                                                                     SOLUTIONS IMMEUBLE SCOR        GAULLE 92074 PARIS LA
                                                                                                    DEFENSE CEDEX
SCORDATO JR, JOSEPH B                 8475 ERICSON DR                                                                                          WILLIAMSVILLE      NY   14221‐6224
SCORDATO, MICHAEL S                   3637 BAGWELL RD                                                                                          PACE               FL   32571‐8989
SCORDO, JERRY B                       5108 PEMBROKE AVE                                                                                        BALTIMORE          MD   21206‐5044
SCORDO, JOSEPH                        2859 MILGATE ST                                                                                          LAS VEGAS          NV   89117‐7640
SCORE FINE & RIO                      SCORE, FINE                    640 S SAN VICENTE BLVD         STE 230                                    LOS ANGELES        CA   90048‐4654
SCORESCAN TECHNOLOGIES INC            11048 HI TECH DR                                                                                         WHITMORE LAKE      MI   48189‐9133
SCORPIOS INDUSTRIA METALURGICA        FLAVIO TROVO (5511)            RUA PLATINA 100 PROSPERIDADE                                              WATERFORD          MI   48329
SCORPIOS INDUSTRIA METALURGICA LTDA   FLAVIO TROVO (5511)            RUA PLATINA 100 PROSPERIDADE                                              WATERFORD          MI   48329

SCORSE, ATHOL G                       616 BEACH AVE                                                                                            PORT SAINT LUCIE   FL   34952‐1327
SCORSE, JEAN                          138 WILBUR AVE                                                                                           ROCHESTER          NY   14606‐3440
SCORSOLINI, JOSEPHINE M               47 MULBERRY CT                                                                                           HAMILTON           NJ   08619‐4616
SCORSONE AUTOMOTIVE INC.              7200 W GOOD HOPE RD                                                                                      MILWAUKEE          WI   53223‐4613
SCORSONE, JOSEPH A                    PO BOX 84                                                                                                CROSSWICKS         NJ   08515‐0084
SCORZA ANTONIO                        VIA COPERNICO 57                                                                                         CORSICO            DE   20094
SCORZA ANTONIO                        VIA COPERNICO N.57
SCORZELLI, THOMAS J                   2452 FARNSWORTH ROAD                                                                                     LAPEER             MI   48446‐8717
SCOT A FOOTE                          139 N RIDGEWOOD DR RM 61                                                                                 SEBRING            FL   33870
SCOT ALEXANDER                        15480 COLUMBIA HWY                                                                                       LYNNVILLE          TN   38472‐5225
SCOT D WASHBURN                       1116 BERYL TRL.                                                                                          DAYTON             OH   45459
SCOT D WILLIAMS                       333 PARK LANE                                                                                            SPRINGBORO         OH   45066‐1083
SCOT DANEKE                           24 SHIPPEN RDG                                                                                           OXFORD             NJ   07863‐3239
SCOT DOUGLAS                          4872 HIDDEN HILLS CIR                                                                                    HOWELL             MI   48855‐7254
SCOT E SWANK                          3160 BEAVER AVE                                                                                          KETTERING          OH   45429
SCOT ELEC/FERNDALE                    3060 HILTON ROAD               SUITE 300                                                                 FERNDALE           MI   48220
SCOT ELLIOTT                          4331 SHERWOOD RD                                                                                         ORTONVILLE         MI   48462‐9273
SCOT FOOTE                            119 JEFFERSON ST                                                                                         VASSAR             MI   48768‐1213
SCOT GUGLE                            1847 CONCORD AVE SE                                                                                      GRAND RAPIDS       MI   49506‐4628
SCOT HARROD                           8804 STRATHMORE LN                                                                                       FORT WAYNE         IN   46818‐8439
SCOT JOHNSON                          2145 W MAPLE AVE                                                                                         FLINT              MI   48507‐3503
SCOT K JOHNSON                        2145 W MAPLE AVE                                                                                         FLINT              MI   48507‐3503
SCOT MCCLURE                          148 DENNISON RD                                                                                          MASSENA            NY   13662‐3223
SCOT MCPHERSON                        8083 COLDWATER RD                                                                                        FLUSHING           MI   48433‐1121
SCOT NEMECEK                          8188 CARRIAGE LN                                                                                         PORTLAND           MI   48875‐9751
SCOT PETTENGILL                       230 KINGSBROOK DR                                                                                        FRANKENMUTH        MI   48734‐1268
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SCOT RENEAUD                      12057 HEGEL RD                                                                                                   GOODRICH            MI 48438‐9270
SCOT SCHAFER                      102 BROOKE LN                                                                                                    CARTERVILLE          IL 62918‐5161
SCOT SWANK                        3160 BEAVER AVE                                                                                                  KETTERING           OH 45429‐3954
SCOTCH, DIXIE R                   1692 SENECA LN                                                                                                   LAS VEGAS           NV 89169‐3175
SCOTCH, PETER J                   122 VERMONT AVE                                                                                                  LOCKPORT            NY 14094‐5700
SCOTCHMAN INDUSTRIES INC          PO BOX 850                                                                                                       PHILIP              SD 57567‐0850
SCOTHERN, DAVID H                 12 VINATA CT                                                                                                     FORT MYERS          FL 33912‐6387
SCOTIA CAPITAL                    ATTN MARINA METS                    40 KING ST WEST 68TH FLOOR     PO BOX 4085 STATION A   TORONTO CANADA ON
                                                                                                                             M5W 2X6 CANADA
SCOTIA‐GLENVILLE CENTRAL SCHOOL                                       1 TARTAN WAY                                                                                    NY   12302
SCOTIDIS, PETER                   820 N LONE PINE AVE                                                                                              SPRINGFIELD        MO   65802‐2358
SCOTLAND COUNTY TAX COLLECTOR     PO BOX 488                                                                                                       LAURINBURG         NC   28353‐0488
SCOTLAND, KURT G                  1444 LORING AVE                                                                                                  BROOKLYN           NY   11208‐5121
SCOTNEY, MARGARET K               UNITY FINANCIAL SERVICES            ATT: LONG TERM BILLING         125 INDIGO CREEK                              ROCHESTER          NY   14626
SCOTS PROPERTY LLC                1212 MOTOR CITY DR                                                                                               COLORADO SPRINGS   CO   80905‐7315
SCOTSMAN GROUP INC                8211 TOWN CENTER DR                                                                                              BALTIMORE          MD   21236‐5904
SCOTSMAN GROUP LLC                C/O KEVIN J. BYRNE                  SCHIFF HARDIN LLP              SUITE 6600              233 S. WACKER DRIVE   CHICAGO            IL   60606
SCOTSMAN INDUSTRIES INC           GARY REXFORD                        KYSOR OF CADILLAC‐ROTHBURY PLT 7985 MICHIGAN AVE                             MUSKEGON           MI   49442

SCOTT
SCOTT                             PO BOX 403614                                                                                                    ATLANTA            GA   30384‐3614
SCOTT JR, PAUL L                  1001 ISLAND DR CT APT 106                                                                                        ANN ARBOR          MI   48105‐2022
SCOTT JR, WILLARD                 11098 STEPHENSON RD                                                                                              ONSTED             MI   49265
SCOTT & MONA SMITH                2101 WOODRIDGE DR                                                                                                ABILENE            TX   79605
SCOTT & WHITE                                                         2401 S 31ST ST                                                                                  TX   76508
SCOTT A ALSPAUGH                  314 ENXING AVE                                                                                                   W CARROLLTON       OH   45449
SCOTT A ARGUS                     709 MATTY AVE                                                                                                    SYRACUSE           NY   13211‐1309
SCOTT A BARD MANSUR               6721 COLONIAL DR                                                                                                 FLINT              MI   48505‐5421
SCOTT A BARTLEY                   11510 HORATIO RD                                                                                                 BRADFORD           OH   45308‐9709
SCOTT A BLAAKMAN                  1986 BEAR CREEK DR                                                                                               ONTARIO            NY   14519
SCOTT A BRIGGS                    4900 #5WOODMAN PARK                                                                                              DAYTON             OH   45432
SCOTT A BROMLEY                   2414 TRENTWOOD DR SE                                                                                             WARREN             OH   44484
SCOTT A BROOKS                    ACCT OF LEROY J LA FLEUR            65 CADILLAC SQ STE 3727                                                      DETROIT            MI   48226‐2893
SCOTT A BROWN                     2666 RIDGEWAY AVENUE                                                                                             ROCHESTER          NY   14626‐4209
SCOTT A BUCHANAN                  2817 OLD DAYTON‐YELLOW SPGS                                                                                      FAIRBORN           OH   45324‐2123
SCOTT A BURKE                     6218 RICK ST                                                                                                     YPSILANTI          MI   48197‐8231
SCOTT A BURTON                    1650 N COUNTY ROAD 25A                                                                                           TROY               OH   45373
SCOTT A CARTER                    206 FLORIDA RD N                                                                                                 MATTYDALE          NY   13211‐1618
SCOTT A CASSIDY                   6401 WOODVILLE                                                                                                   DAYTON             OH   45414‐2849
SCOTT A CHERNICH                  ACCT OF ELAINE KERN                 313 S WASHINGTON SQ                                                          LANSING            MI   48933‐2114
SCOTT A CHINERY                   1209 S FAYETTE ST                                                                                                SAGINAW            MI   48602‐1446
SCOTT A CHUNG                     113 SHAPIRO TRL                                                                                                  COLUMBIA           TN   38401‐6721
SCOTT A COOPER                    1650 PENBROOKE TRL                                                                                               DAYTON             OH   45459
SCOTT A COPE                      357 DAKOTA ST                                                                                                    YPSILANTI          MI   48198‐7814
SCOTT A COPELAND                  2024 EMERSON AVE                                                                                                 DAYTON             OH   45406
SCOTT A CROCE DC PC               DBA ERIE COUNTY CHIROPRACTIC        369 DELAWARE AVE                                                             BUFFALO            NY   14202
SCOTT A CROSS                     485 IOWA AVENUE NORTHWEST                                                                                        WARREN             OH   44485‐2609
SCOTT A DANNER                    6165 ST RT 201                                                                                                   TIPP CITY          OH   45371‐‐ 97
SCOTT A DEBUSK                    9803 JOAN CIR                                                                                                    YPSILANTI          MI   48197‐7096
SCOTT A ELLEMAN                   5533 EAST LEFEVRE RD                                                                                             CASSTOWN           OH   45312‐9559
SCOTT A FONTAINE                  857 HAMLET ST                                                                                                    COLUMBUS           OH   43215
SCOTT A FRASHER                   502 N UNION ST                                                                                                   LOUDONVILLE        OH   44842‐1377
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SCOTT A FREDERICK       2825 CHINOOK LN.                                                                                    KETTERING             OH 45420
SCOTT A GRIFFITH        251 RICHARDS CIR                                                                                    DELAWARE              OH 43015‐4224
SCOTT A HALL            115 LOGIC CT                                                                                        DAYTON                OH 45440‐3420
SCOTT A HAMILTON        2300 KEENAN AVE APT 29                                                                              DAYTON                OH 45414
SCOTT A HARRY           853 KOLPING AVE.                                                                                    DAYTON                OH 45410‐3124
SCOTT A HOFFMAN         5 BAYNARD PARK RD                                                                                   HILTON HEAD ISLAND    SC 29928
SCOTT A KOON            5455 THOMPSON CBR RD                                                                                BRISTOL               OH 44402‐9719
SCOTT A LENGER          436 RAINSGATE DR                                                                                    BEAVERCREEK           OH 45430
SCOTT A LOPER           1720 RAUSCH AVE.                                                                                    DAYTON                OH 45432
SCOTT A LUTHMAN         1913 PITTSFIELD ST                                                                                  KETTERING             OH 45420‐2127
SCOTT A MARTIN          537 GOLDLEAF AVE                                                                                    VANDALIA              OH 45377
SCOTT A MERRITT         2 PARRAN DR                                                                                         KETTERING             OH 45420
SCOTT A MILLER          408 E MOLLOY RD                                                                                     MATTYDALE             NY 13211‐1642
SCOTT A MOON            7 W JACKSON ST                                                                                      FRANKLIN              OH 45005
SCOTT A MURPHY          502 DORCHESTER DR                                                                                   HUBBARD               OH 44425‐2603
SCOTT A NUFFER          915 N GRANT ST                                                                                      BAY CITY              MI 48708‐6046
SCOTT A OLIVERIO        30008 WINTHROP DR                                                                                   MADISON HEIGHTS       MI 48071
SCOTT A PADEN           127 HARTZELL AVE.                                                                                   NILES                 OH 44446
SCOTT A PAPICH          13101 ECKLES RD                                                                                     PLYMOUTH              MI 48170‐4245
SCOTT A PECHT           170 HONEY CREEK RD                                                                                  REEDSVILLE            PA 17084
SCOTT A POCKRANDT       1103 4TH ST                                                                                         BAY CITY              MI 48708‐6021
SCOTT A POWELL          1107 BESSEMER RD NW                                                                                 HUNTSVILLE            AL 35816‐2301
SCOTT A PRIESTLEY       3514 BROCKPORT SPENCERPORT                                                                          SPENCERPORT           NY 14559‐9709
SCOTT A QUINN           2445 MALVERN AVE                                                                                    DAYTON                OH 45406
SCOTT A RAPPOPORT FBO   SIENE RAPPOPORT ED SUNGO ACCT   CHARLES SCHWAB 1ST CO CUST   8861 CAMINITO SUENO                    LA JOLLA              CA 92037
SCOTT A REDDEN          288 ELECTRIC AVE                                                                                    ROCHESTER             NY 14613‐1002
SCOTT A ROTHROCK        377 MACKEY DR                                                                                       VIENNA                OH 44473‐9641
SCOTT A RUDOLFF         120 BEVERLY AVE                                                                                     SNILLINGTON           PA 19607
SCOTT A SALONE          553 IMO DRIVE                                                                                       DAYTON                OH 45405
SCOTT A SCARBOROUGH     824 STUTELY PLACE                                                                                   MIAMISBURG            OH 45342‐2025
SCOTT A SCHAURER        1338 STATE RTE 503                                                                                  ARCANUM               OH 45304
SCOTT A SHULK           18550 PENNINGTON RD                                                                                 NOBLESVILLE           IN 46060‐8875
SCOTT A SIZEMORE        4515 RIVERRIDGE RD.                                                                                 DAYTON                OH 45415‐1654
SCOTT A SLATER          9022 BUCK HWY                                                                                       EATON RAPIDS          MI 48827‐9520
SCOTT A SMITH           122 HERMITAGE DR                                                                                    OLIVER SPRINGS        TN 37840
SCOTT A SNYDER          P.O.BOX494                                                                                          PIEDMONT              AL 36272‐0494
SCOTT A SPENCER         3094 E BURT RD                                                                                      BURT                  MI 48417‐9634
SCOTT A STEWART         6174 ROBERT CIR                                                                                     YPSILANTI             MI 48197‐8278
SCOTT A SUNDERMEYER     1166 N LAKE RD                                                                                      NEW CARLISLE          OH 45344‐9706
SCOTT A SYKES           17616 E 1290 NORTH RD                                                                               DANVILLE               IL 61834‐7946
SCOTT A THOMPSON        4863 YOUNGSTOWN KINGSVILLE RD                                                                       CORTLAND              OH 44410‐‐ 87
SCOTT A VAUGHN          5656 FARMERSVILLE RD                                                                                FARMERSVILLE          OH 45325
SCOTT A WEIKART         290 W MAIN ST                                                                                       WASHINGTONVLE         OH 44490‐9606
SCOTT A WEST            4609 MIAMI SHORES                                                                                   MORAINE               OH 45439
SCOTT A WOLF            3655 PAMAJERA DRIVE                                                                                 OXFORD                OH 45056
SCOTT A WORNSTAFF       2336 SHERER AVE                                                                                     DAYTON                OH 45414‐4637
SCOTT A WRIGHT          4976 RYE DR                                                                                         HUBER HEIGHTS         OH 45424‐4333
SCOTT AABERG            4538 DEWULF DR                                                                                      TROY                  MI 48085‐3528
SCOTT ABEL              825 POPPY HILLS WAY                                                                                 BOWLING GREEN         KY 42104‐5555
SCOTT ADAIR             1566 CARROLLTON AVE                                                                                 INDIANAPOLIS          IN 46202‐2717
SCOTT ADAMS             3020 HAWK SPRING HL                                                                                 HUNTINGTON            IN 46750‐7836
SCOTT ADDISON           5276 SE GERONIMO DR                                                                                 LATHROP               MO 64465‐8189
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Name                      Address1                       Address2                      Address3   Address4                  City                 State Zip
SCOTT ADLER               1708 STATE ROUTE 603                                                                              MANSFIELD             OH 44903‐8716
SCOTT ALARIE              4677 4 MILE RD                                                                                    BAY CITY              MI 48706‐9417
SCOTT ALBERTJR (429775)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                        NORFOLK               VA 23510
                                                         STREET, SUITE 600
SCOTT ALEXANDER           22401 NORCREST DR                                                                                 SAINT CLAIR SHORES   MI   48080‐2528
SCOTT ALEXANDER           28415 PARKHILL ST                                                                                 FARMINGTON HILLS     MI   48334‐3548
SCOTT ALFONSI             250 E KOCHHEISER RD                                                                               BELLVILLE            OH   44813‐9293
SCOTT ALLARDING           4828 THURLBY RD                                                                                   MASON                MI   48854‐9773
SCOTT ALLEN               7024 LEAVENWORTH RD                                                                               KANSAS CITY          KS   66109‐1326
SCOTT ALLEN               951 EDGEWOOD DR                                                                                   CHOCTAW              OK   73020‐7707
SCOTT ALLEN               6200 CHERRI LYNN DR.                                                                              CLAYTON              OH   45415‐2107
SCOTT ALLISON             11484 HESPERIAN CIR                                                                               GOLD RIVER           CA   95670‐7655
SCOTT ALLISON             939 GLEN ST                                                                                       JANESVILLE           WI   53545‐3170
SCOTT ALONZI              7751 VERNIER LN                                                                                   IRA                  MI   48023‐2440
SCOTT ALTO                3443 NEW STATE RD                                                                                 WILLARD              OH   44890‐9781
SCOTT AMY                 5311 OAKTREE DR                                                                                   FLINT                MI   48532‐3337
SCOTT AND PAULA HEINER    SCOTT HEINER                   PO BOX 505                                                         GREEN RIVER          WY   82935
SCOTT ANDERSON            248 RAINBOW DRIVE                                                                                 LIVINGSTON           TX   77399‐2048
SCOTT ANDERSON            6704 FRENCH CREEK DR                                                                              LANSING              MI   48917‐9665
SCOTT ANDERSON            806 RUNNING DEER DR                                                                               COLUMBIA             TN   38401‐8056
SCOTT ANGEL               10486 HALLER ST                                                                                   DEFIANCE             OH   43512‐1234
SCOTT ARBOLEDA            2685 RAVINEWOOD DR                                                                                COMMERCE TOWNSHIP    MI   48382‐5400
SCOTT ASH                 PO BOX 3081                                                                                       KOKOMO               IN   46904‐3081
SCOTT ASMAN               1007 W BOGART RD                                                                                  SANDUSKY             OH   44870‐7305
SCOTT ATKINSON SR         927 WINCHESTER AVE.                                                                               LINCOLN PARK         MI   48146
SCOTT AUGER               175 OAKRIDGE WAY                                                                                  BOWLING GREEN        KY   42103‐7079
SCOTT AUSTIN              52511 DEERWOOD DR                                                                                 MACOMB               MI   48042‐3415
SCOTT AUTOMOTIVE          1775 SACKVILLE DRIVE                                                    MIDDLE SACKVILLE NS B4E
                                                                                                  3B6 CANADA
SCOTT AYALA               734 N SE BOUTELL RD                                                                               BAY CITY             MI   48708‐9199
SCOTT B KARLENE           1352 S LINDEN RD                                                                                  FLINT                MI   48532‐4185
SCOTT B REMPEL            316 LIND AVE                                                                                      SYRACUSE             NY   13211‐1824
SCOTT B WALKER            4136 EASTVIEW DR                                                                                  NASHVILLE            TN   37211‐5608
SCOTT BABBITT             3050 EXMOOR RD                                                                                    ANN ARBOR            MI   48104‐4132
SCOTT BACKES
SCOTT BADENOCH            836 COLONIAL CT                                                                                   BIRMINGHAM           MI   48009
SCOTT BAILEY              46430 STATE ROUTE 162                                                                             WELLINGTON           OH   44090‐9222
SCOTT BAKER               2525 JUNGWIRTH CT                                                                                 SISTER BAY           WI   54234‐9166
SCOTT BAKER               4241 BALMORAL DR                                                                                  LANSING              MI   48911‐2565
SCOTT BALLARD             18537 HIGHLAND CENTER RD                                                                          DEFIANCE             OH   43512‐8925
SCOTT BAMSEY              31530 GABLE ST                                                                                    LIVONIA              MI   48152‐1554
SCOTT BANNIER             356 STELLE AVE                                                                                    MILLTOWN             NJ   08850‐2012
SCOTT BARBARA             22 BITTERSWEET LN                                                                                 GLEN COVE            NY   11542‐1640
SCOTT BARBOUR             1126 BUCKINGHAM ST                                                                                TOLEDO               OH   43607‐4414
SCOTT BARD‐MANSUR         2932 CLEMENT ST                                                                                   FLINT                MI   48504
SCOTT BARKER              3176 E CR 300 S                                                                                   HARTFORD CITY        IN   47348
SCOTT BARNES              445 W MAUMEE AVE                                                                                  NAPOLEON             OH   43545‐1924
SCOTT BARNETT             6420 CRAMLANE DR                                                                                  CLARKSTON            MI   48346‐2410
SCOTT BARR                8059 MCCANN ST                                                                                    SWARTZ CREEK         MI   48473‐9114
SCOTT BARRETT             14780 BISHOP RD                                                                                   CHESANING            MI   48616‐8460
SCOTT BARRETT             5255 OLD FRANKLIN RD                                                                              GRAND BLANC          MI   48439‐8754
SCOTT BARRETT             PO BOX 152                                                                                        ITHACA               MI   48847‐0152
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Name                            Address1                         Address2                          Address3                      Address4         City              State Zip
SCOTT BASHFORD                  217 PEPPER TREE LN                                                                                                ROCHESTER HILLS    MI 48309‐1132
SCOTT BATES                     805 S DEXTER DR                                                                                                   LANSING            MI 48910‐4643
SCOTT BAUER                     6357 MACADAM WAY                                                                                                  DIMONDALE          MI 48821‐9591
SCOTT BAXTER & ASSOCIATES       PO BOX 158777                                                                                                     NASHVILLE          TN 37215‐8777
SCOTT BEAUDRY                   3307 SALEM CT                                                                                                     ROCHESTER HILLS    MI 48306‐3054
SCOTT BEDNARCHIK                4244 STEWART RD                                                                                                   METAMORA           MI 48455‐9717
SCOTT BEEBE                     714 N CAMPBELL RD                                                                                                 ROYAL OAK          MI 48067‐2161
SCOTT BEHERRELL
SCOTT BELL                      908 N DELAWARE ST                                                                                                 ALBANY            IN   47320‐1030
SCOTT BELLMER                   7732 BASS CREEK DR                                                                                                HUDSONVILLE       MI   49426‐9774
SCOTT BENNETT                   598 HONEYSUCKLE LN                                                                                                MILAN             MI   48160‐1445
SCOTT BENSCOTER                 2955 PRATT RD                                                                                                     METAMORA          MI   48455‐8921
SCOTT BENTLEY                   11520 E LYTLE RD                                                                                                  LENNON            MI   48449‐9515
SCOTT BERG                      3415 83RD ST UNIT E12                                                                                             WOODRIDGE         IL   60517
SCOTT BERRY                     6503 FLINT ST APT 101                                                                                             SHAWNEE           KS   66203‐5540
SCOTT BETTY                     631 ALHAMBRA RD                                                                                                   VENICE            FL   34285
SCOTT BIALEK                    13129 E MELODY RD                                                                                                 GRAND LEDGE       MI   48837‐8939
SCOTT BICKERT                   4514 RAVENWOOD DR                                                                                                 GRAND BLANC       MI   48439‐2414
SCOTT BIEDERMAN                 140 BYAM RD                                                                                                       NEW BOSTON        NH   03070‐3721
SCOTT BIERLEIN                  3522 APPLE VALLEY RD                                                                                              OKEMOS            MI   48864‐3933
SCOTT BIERMAN                   3645 S BRENNAN RD                                                                                                 HEMLOCK           MI   48626‐9754
SCOTT BIETTNER                  4417 HINESVILLE RD                                                                                                SHELBY            OH   44875‐9051
SCOTT BINDSCHATEL               480 W BATH RD                                                                                                     MORRICE           MI   48857‐9800
SCOTT BIRCHMEIER                9050 ORCHARD VIEW DR                                                                                              GRAND BLANC       MI   48439‐8310
SCOTT BISHOP                    37219 RUTH DR                                                                                                     STERLING HTS      MI   48312‐1976
SCOTT BISHOP                    4135 SMITH CROSSING RD                                                                                            FREELAND          MI   48623‐9440
SCOTT BLAKE I I                 1922 ANDREWS LOOP                                                                                                 LUTZ              FL   33558‐5128
SCOTT BLAKER                    33575 LORI ANN DR                                                                                                 EASTLAKE          OH   44095‐3932
SCOTT BLAND                     109 E CORNELIA ST                                                                                                 HICKSVILLE        OH   43526‐1105
SCOTT BLOMMER                   3612 CARLISLE HWY                                                                                                 CHARLOTTE         MI   48813‐9560
SCOTT BOBBY J (494182)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK           VA   23510
                                                                 STREET, SUITE 600
SCOTT BOBBY R SR (410956)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK           VA 23510
                                                                 STREET, SUITE 600
SCOTT BOONE                     402 W HARRISON ST                                                                                                 JEFFERSON         TX   75657‐1014
SCOTT BOUCHER                   4020 N 26TH ST                                                                                                    KALAMAZOO         MI   49048‐9449
SCOTT BOUDREAU                  834 STAR DR                                                                                                       DAVISON           MI   48423‐1252
SCOTT BOURQUE                   30 GOETHALS DR                                                                                                    ROCHESTER         NY   14616‐1930
SCOTT BOWIE                     29010 BAY POINTE DR                                                                                               CHESTERFIELD      MI   48047‐6016
SCOTT BRAD                      SCOTT, BRAD                      30 EAST BUTLER PIKE , SUITE 310                                                  AMBLER            PA   19002
SCOTT BRAD                      SEAWOOD, PATRICIA                KIMMEL & SILVERMAN PC             30 EAST BUTLER PIKE , SUITE                    AMBLER            PA   19002
                                                                                                   310
SCOTT BRAD & PATRICIA SEAWOOD   23 BURWELL ALY                                                                                                    PHILLIPSBURG      NJ   08865‐2303
SCOTT BRADLEY                   1101 NIXON AVE NW                                                                                                 GRAND RAPIDS      MI   49534‐3637
SCOTT BRADLEY                   9148 W SEEMAN RD                                                                                                  EVANSVILLE        WI   53536‐8729
SCOTT BRANDON                   444 BOARDWALK DR                                                                                                  WALLED LAKE       MI   48390‐3544
SCOTT BRANDON                   SCOTT, BRANDON                   3900 N CAUSWAY BLVD SUITE 510                                                    METAIRIE          LA   70002
SCOTT BRECKLING                 6656 W WOOD RIDGE DR                                                                                              JANESVILLE        WI   53548‐9311
SCOTT BREECE                    209 PINE ST                                                                                                       CORUNNA           MI   48817‐1030
SCOTT BREWER                    7600 TIPPERARY TRL                                                                                                FENTON            MI   48430‐4801
SCOTT BREWSTER                  4469 COLONY CT                                                                                                    SWARTZ CREEK      MI   48473‐1482
SCOTT BRICKER                   36012 PERRY GRANGE RD                                                                                             SALEM             OH   44460‐9449
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Name                                Address1                          Address2                           Address3   Address4         City             State Zip
SCOTT BRIERLEY                      2662 GARDEN HOUSE RD                                                                             CARLSBAD          CA 92009‐3089
SCOTT BRIGGS                        PO BOX 1041                                                                                      JANESVILLE        WI 53547‐1041
SCOTT BRINDLEY                      547 50TH ST                                                                                      SANDUSKY          OH 44870‐4927
SCOTT BRINK                         1810 E COGGINS RD                                                                                PINCONNING        MI 48650‐7492
SCOTT BRINKS                        251 STONY LAKE DR                                                                                OXFORD            MI 48371‐6740
SCOTT BRITNEY                       129 IONE DR                                                                                      MERIDEN           CT 06450‐6669
SCOTT BROOKS                        208 E SANTEE WAY                                                                                 CHARLOTTE         MI 48813‐7603
SCOTT BROOKS                        13273 BELSAY RD                                                                                  MILLINGTON        MI 48746‐9226
SCOTT BROWN                         3214 VALLEY HWY                                                                                  CHARLOTTE         MI 48813‐8877
SCOTT BROWN                         6359 E BRISTOL RD                                                                                BURTON            MI 48519‐1742
SCOTT BROWN
SCOTT BRUBAKER                      2540 N RUNNING DEER LN                                                                           MIDLAND          MI   48642‐8513
SCOTT BRUBAKER                      2711 LOWER ELKTON RD                                                                             COLUMBIANA       OH   44408‐9403
SCOTT BRUNI                         52 W BURDICK ST                                                                                  OXFORD           MI   48371‐4611
SCOTT BRUNS                         N2377 BELLANCA LN                                                                                BRODHEAD         WI   53520‐9117
SCOTT BRUSKE                        515 E CAREFREE HWY PMB 804                                                                       PHOENIX          AZ   85085‐8839
SCOTT BRYA                          1588 E JASON RD                                                                                  SAINT JOHNS      MI   48879‐9124
SCOTT BRYAN RAY (447579)            CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND        OH   44115
                                    GAROFOLI                          FL
SCOTT BUCK                          1995 EASTWOOD CT                                                                                 ANDERSON         IN   46017‐9689
SCOTT BUCKLIN                       4423 GALAXY DRIVE                                                                                JANESVILLE       WI   53546
SCOTT BUDDIE                        3018 CLARK PKWY                                                                                  WESTLAKE         OH   44145‐4639
SCOTT BUDY                          3230 CENTENNIAL RD LOT 141                                                                       SYLVANIA         OH   43560‐9566
SCOTT BUILTA                        1298 BIELBY ST                                                                                   WATERFORD        MI   48328‐1304
SCOTT BUNKER                        1550 WHITE DR                                                                                    LEWISBURG        TN   37091‐3639
SCOTT BUNN                          5583 TIPSICO LAKE RD                                                                             HOLLY            MI   48442‐9126
SCOTT BUNTON                        3864 BEACON HILL DR                                                                              JANESVILLE       WI   53546‐2065
SCOTT BURKE                         3621 GENEVA HWY                                                                                  MANITOU BEACH    MI   49253‐9765
SCOTT BURNS                         521 N WALNUT ST                                                                                  EAST PALESTINE   OH   44413‐2165
SCOTT BUSH                          1487 140TH AVE                                                                                   WAYLAND          MI   49348‐9556
SCOTT BUTLER                        3454 BENT OAK HWY                                                                                ADRIAN           MI   49221‐9598
SCOTT BUTLER                        571 AYERS LN                                                                                     SCOTTSVILLE      KY   42164‐6331
SCOTT BYHAM                         229 PARKDALE AVE                                                                                 BUFFALO          NY   14213‐1428
SCOTT BYRES                         5495 MCNAMARA LN                                                                                 FLINT            MI   48506‐2280
SCOTT C ANDERSON                    1803 NUGGET                                                                                      BEAVERCREEK      OH   45432‐1832
SCOTT C CHARLESWORTH                138 GRAFTON AVE                                                                                  DAYTON           OH   45406‐5420
SCOTT C DANIEL                      12 ELMWOOD PL                                                                                    N BRUNSWICK      NJ   08902‐2835
SCOTT C HERNE                       55 MULLEN ST                                                                                     TONAWANDA        NY   14150‐5423
SCOTT C LANE                        518 GLENDALE AVE                                                                                 TILTON           IL   61833‐7938
SCOTT C MC INTYRE                   1400 CENTER AVE                                                                                  BAY CITY         MI   48708‐6110
SCOTT C MCCLOUD                     4433 GREENWICH VILLAGE AVE A                                                                     DAYTON           OH   45406
SCOTT C MIX                         1211 CAVALCADE DR                                                                                YOUNGSTOWN       OH   44515‐3841
SCOTT C NELSON                      10 W MONTERAY RD                                                                                 DAYTON           OH   45419‐2565
SCOTT C PAUL                        4790 S DIXIE DR                                                                                  MORAINE          OH   45439‐1464
SCOTT C THIES                       11064 WILSON COVE                                                                                LOMA LINDA       CA   92354
SCOTT C THIESSEN                    1076 FERGUS DR                                                                                   DAYTON           OH   45430
SCOTT C WALLACE                     746 N GREECE RD                                                                                  ROCHESTER        NY   14626
SCOTT C. HARRIS AND MEMORY CONTROL HARRIS, SCOTT C                    181 WEST MADISON STREET SUITE                                  CHICAGO          IL   60602
ENTERPISE V. DELL, GM AND PANASONIC                                   4600
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Name                                Address1                         Address2                        Address3   Address4         City              State Zip
SCOTT C. HARRIS AND MEMORY CONTROL MEMORY CONTROL ENTERPRISE         181 WEST MADISON STREET SUITE                               CHICAGO             IL 60602
ENTERPISE V. DELL, GM AND PANASONIC                                  4600

SCOTT CAIRNS                         6565 HOWE RD                                                                                BATH              MI   48808‐9432
SCOTT CAMPBELL                       11663 SE 174TH LOOP                                                                         SUMMERFIELD       FL   34491‐7834
SCOTT CAMPBELL                       125 BURNSIDE DR                                                                             TONAWANDA         NY   14150‐4449
SCOTT CAMPBELL                       758 BUCKEYE CT                                                                              BOWLING GREEN     KY   42104‐5564
SCOTT CAMPBELL                       1513 FLUSHING RD                                                                            FLUSHING          MI   48433‐2230
SCOTT CAMPBELL JR                    1833 SUNRISE LN                                                                             LEBANON           OH   45036‐7875
SCOTT CANTON                         13034 S LAKE BREEZE                                                                         SAND LAKE         MI   49343‐8993
SCOTT CARADONNA                      5114 WINEWOOD LN                                                                            COMMERCE TWP      MI   48382‐1538
SCOTT CARO                           3906 SANDY BEACH DR                                                                         GRANBURY          TX   76049‐6014
SCOTT CARPENTER                      16430 PARK LAKE RD LOT 85                                                                   EAST LANSING      MI   48823‐9461
SCOTT CARPENTER                      3009 LOWER GRANDVIEW RD                                                                     ALEXANDRIA        KY   41001‐8887
SCOTT CARPENTER                      5338 W FARRAND RD                                                                           CLIO              MI   48420‐8249
SCOTT CARPENTER                      431 FINDLAY AVE                                                                             CANFIELD          OH   44406‐8610
SCOTT CARROLL                        1450 WASHINGTON BLVD APT 907S                                                               STAMFORD          CT   06902‐2475
SCOTT CARROZZI                       3 RAMBLING WOODS                                                                            PITTSFORD         NY   14534‐1864
SCOTT CARTER                         3018 LEXUS DR                                                                               SPRING GROVE      PA   17362‐8236
SCOTT CARTER                         114 CHIP RD                                                                                 AUBURN            MI   48611‐9772
SCOTT CASE                           10341 GREYSTONE CT                                                                          BRIGHTON          MI   48114‐7650
SCOTT CASHION                        W8734 TERRITORIAL RD                                                                        WHITEWATER        WI   53190‐4129
SCOTT CASSANDRA                      SCOTT, CASSANDRA                5055 WILSHIRE BLVD STE 300                                  LOS ANGELES       CA   90036‐6101
SCOTT CAVANAUGH                      1203 S ERIE ST                                                                              BAY CITY          MI   48706‐5121
SCOTT CECIL G (482358)               WEITZ & LUXENBERG               180 MAIDEN LANE                                             NEW YORK          NY   10038
SCOTT CECIL H (658206)               KEAHEY G PATTERSON JR           ONE INDEPENDENCE PLAZA SUITE                                BIRMINGHAM        AL   35209
                                                                     612
SCOTT CERAMI                         14803 FM 31                                                                                 MARSHALL          TX   75672‐3876
SCOTT CERVIN                         6668 WEDGEWOOD CT                                                                           WATERFORD         MI   48327‐3868
SCOTT CHALMERS                       704 CONSTITUTION STREET                                                                     CANTON            MI   48188‐3438
SCOTT CHARBENEAU                     5684 PARSHALL DR                                                                            SHELBY TOWNSHIP   MI   48316‐3267
SCOTT CHARLES (ESTATE OF) (504555)   PAUL REICH & MYERS P.C.         1608 WALNUT ST STE 500                                      PHILADELPHIA      PA   19103‐5446
SCOTT CHARLESTON J (433302)          ANGELOS PETER G LAW OFFICE      1300 N MARKET ST STE 212                                    WILMINGTON        DE   19801‐1813
SCOTT CHARLESWORTH                   138 GRAFTON AVE                                                                             DAYTON            OH   45406‐5420
SCOTT CHARNESKY                      2761 WINDEMERE RD                                                                           BIRMINGHAM        MI   48009‐7524
SCOTT CHERRY L                       SCOTT, CHERRY L
SCOTT CHEVROLET                      PO BOX 5388                                                                                 EL MONTE          CA   91734‐1388
SCOTT CHEVROLET                      3333 LEHIGH ST                                                                              ALLENTOWN         PA   18103‐7036
SCOTT CHEVROLET, INC.                ANDREW SCOTT                    3333 LEHIGH ST                                              ALLENTOWN         PA   18103‐7399
SCOTT CHIAZ                          59331 WOODFARM                                                                              SOUTH LYON        MI   48178‐9755
SCOTT CHISLEA                        160 S TRUMBULL RD                                                                           BAY CITY          MI   48708‐9200
SCOTT CHRISTENSEN                    7344 WELTER RD                                                                              OVID              MI   48866‐9641
SCOTT CHRISTINE                      SCOTT, CHRISTINE                30928 FORD RD                                               GARDEN CITY       MI   48135‐1803
SCOTT CHUNG                          113 SHAPIRO TRL                                                                             COLUMBIA          TN   38401‐6721
SCOTT CHURCH                         6734 WESTFIELD RD                                                                           MEDINA            OH   44256‐8507
SCOTT CHURCH                         9305 CARSON HWY                                                                             TECUMSEH          MI   49286‐9729
SCOTT CHURCH                         311 E SOUTH ST                                                                              BLUFFTON          IN   46714‐2631
SCOTT CHYNOWETH                      5875 SUNSET DR                                                                              DAVISON           MI   48423‐8003
SCOTT CLAEYS                         4711 WOODMIRE DR                                                                            SHELBY TOWNSHIP   MI   48316‐1567
SCOTT CLARE                          547 EL PINTADO, DANVILL                                                                     DANVILLE          CA   94526
SCOTT CLARK                          3514 GORDON CREEK DR                                                                        HICKSVILLE        OH   43526‐9714
SCOTT CLARK                          3314 MONO GENE DR                                                                           FORT WAYNE        IN   46805‐3534
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Name                           Address1                          Address2            Address3         Address4         City            State Zip
SCOTT CLARK                    1305 S WESTADOR DR                                                                      ARLINGTON        TX 76015‐2343
SCOTT CLARKSON                 1568 LAKE METAMORA DR                                                                   METAMORA         MI 48455‐8944
SCOTT CLEMENTS                 2170 LAUREL OAK DR                                                                      HOWELL           MI 48855‐7675
SCOTT COBB                     21322 W PEET RD                                                                         ELSIE            MI 48831‐9232
SCOTT COCHRAN                  15896 SPEAKER RD                                                                        IMLAY CITY       MI 48444‐9302
SCOTT COE                      14904 SEA HOLLY CT                                                                      FORT WAYNE       IN 46814‐8929
SCOTT COLE                     14897 WOOD RD                                                                           LANSING          MI 48906‐6013
SCOTT COLLINS                  6238 PADDOCK LN                                                                         SAGINAW          MI 48603‐2733
SCOTT COMMUNITY COLLEGE        500 BELMONT RD                                                                          RIVERDALE         IA 52722‐5649
SCOTT CONNOLLY                 2316 HEAVENLY DR                                                                        EDMOND           OK 73012‐3192
SCOTT CONNOLLY                 2043 ASHFORD DR                                                                         DAVISON          MI 48423‐8382
SCOTT CONWAY                   742 BRIGHTON DR                                                                         SUGAR GROVE       IL 60554‐9343
SCOTT COOLIDGE                 1664 POWERS HWY                                                                         CHARLOTTE        MI 48813‐8151
SCOTT COOPER                   47670 FREEDOM VALLEY DR                                                                 MACOMB           MI 48044‐2566
SCOTT COPELAND
SCOTT COPENHAVER               5145 TANGENT DR                                                                         WATERFORD       MI   48327‐2477
SCOTT COPINGER                 21 ELM DR                                                                               BALTIMORE       MD   21220‐5533
SCOTT COPLEN                   26336 KINYON ST                                                                         TAYLOR          MI   48180‐3021
SCOTT COREY                    878 DART RD                                                                             MASON           MI   48854‐9355
SCOTT CORWIN O (460173)        DUFFY & ASSOCS JOHN J             23823 LORAIN RD                                       NORTH OLMSTED   OH   44070
SCOTT CORY                     8325 HILTON RD                                                                          BRIGHTON        MI   48114‐8911
SCOTT COSGROVE                 5005 ALGONQUIN WAY                                                                      OKEMOS          MI   48864‐1003
SCOTT COUGHLIN                 2268 HIDDEN LAKE TRL                                                                    ORTONVILLE      MI   48462‐8906
SCOTT COUNTY COLLECTOR         PO BOX 128                                                                              BENTON          MO   63736‐0128
SCOTT COUNTY COLLECTOR         100 E FIRST ST                                                                          FOREST          MS   39074‐4203
SCOTT COUNTY SECONDARY ROADS                                     518 W 4TH ST                                                          IA   52801
SCOTT COUNTY SHERIFF           120 N HAMILTON ST                                                                       GEORGETOWN      KY   40324‐1706
SCOTT COUNTY TREASURER         COURTHOUSE                                                                              SCOTT CITY      KS   67871
SCOTT COUNTY TREASURER         202 WEST JACKSON ST STE 101                                                             GATE CITY       VA   24251‐3012
SCOTT COUNTY TREASURER         1 E MCCLAIN AVE STE 140                                                                 SCOTTSBURG      IN   47170‐1852
SCOTT COUZENS                  1610 11TH AVE W                                                                         SEATTLE         WA   98119‐2904
SCOTT COWEN                    100 EDGEMERE TER                                                                        SYRACUSE        NV   13208‐1421
SCOTT CRANDALL                 2000 GRASMERE LN                                                                        WIXOM           MI   48393‐1174
SCOTT CRANDALL                 9620 YEARLING DR                                                                        FORT WAYNE      IN   46804‐1369
SCOTT CRAW                     8892 E CARDINAL DR                                                                      FAIRMOUNT       IN   46928‐9167
SCOTT CRAWFORD                 7171 MOUNT JULIET DR                                                                    DAVISON         MI   48423‐2361
SCOTT CRAWFORD                 8488 KILLY                                                                              NEWPORT         MI   48166‐9422
SCOTT CRAWFORD                 1186 HAMPTON PL                                                                         SALEM           OH   44460‐1081
SCOTT CRAWFORD                 2530 LISA DR                                                                            COLUMBIAVILLE   MI   48421‐8910
SCOTT CRAWFORD JR              526 W HOLBROOK AVE                                                                      FLINT           MI   48505‐5907
SCOTT CROSBY                   5051 HEGEL RD                                                                           GOODRICH        MI   48438‐9677
SCOTT CROSS                    485 IOWA AVENUE NORTHWEST                                                               WARREN          OH   44485‐2609
SCOTT CROWSON                  25730 BECHTOLD LN                                                                       DOW             IL   62022‐3426
SCOTT CURRIE                   46 WYNDHAM WAY                                                                          BOWLING GREEN   KY   42104‐0343
SCOTT CYNTHIA                  3860 ROBSON RD                                                                          MIDDLEPORT      NY   14105‐9734
SCOTT D BOHRER                 4070 MEADOW GATE DR                                                                     ATLANTA         GA   30350
SCOTT D BRAINARD               5974 MAIN STREET                                                                        MAPLE PLAIN     MN   55359‐9359
SCOTT D BREWER                 1556 BEAVERBROOK DR.                                                                    BEAVERCREEK     OH   45432‐2102
SCOTT D BRUCKEN                232 WASHINGTON MILL RD                                                                  BELLBROOK       OH   45305
SCOTT D BURK                   812 INDIANA AVE.                                                                        MC DONALD       OH   44437
SCOTT D CHILDRESS              5042 W HILLCREST AVE                                                                    DAYTON          OH   45406
SCOTT D COLEMAN                630 KANSAS AVE                                                                          YPSILANTI       MI   48198‐6131
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Name                                Address1                            Address2                      Address3   Address4             City             State Zip
SCOTT D COTRELL                     2229 DEERFIELD XING                                                                               PIQUA             OH 45356
SCOTT D FRANCIS                     2551 CLUSTER AVE                                                                                  DAYTON            OH 45439
SCOTT D GILLESPIE                   1561 BEAVERBROOK DR                                                                               BEAVERCREEK       OH 45432
SCOTT D GREGORY                     490 WOOD ST                                                                                       BATAVIA           OH 45103‐3129
SCOTT D GUTHRIE                     4114 HERMAN AVE SW                                                                                WYOMING           MI 49509‐4447
SCOTT D HARRIS                      348 E SANDUSKY AVE APT 7                                                                          BELLEFONTAINE     OH 43311
SCOTT D HINER                       2994 SCHOTTEN RD                                                                                  HUBBARD           OH 44425‐9742
SCOTT D HOLMES                      3191 WOODVALLEY DR                                                                                FLUSHING          MI 48433‐2226
SCOTT D HUDSON                      59 LAURA                                                                                          DAYTON            OH 45405‐3040
SCOTT D HULLINGER                   903 WILMINGTON AVE APT 109                                                                        DAYTON            OH 45420‐1628
SCOTT D KOVACH                      231 MICHAELS CT                                                                                   CORTLAND          OH 44410‐2002
SCOTT D LENHART                     24643 COLGATE ST                                                                                  DEARBORN HTS      MI 48125‐1607
SCOTT D MARCINIAK                   2191 W. PEKIN RD                                                                                  SPRINGBORO        OH 45066‐7625
SCOTT D PUMMILL                     4136 RONDEAU RIDGE                                                                                KETTERING         OH 45429‐1326
SCOTT D SLEDGE                      50 GABAL RD                         LILLIAN ROCK                             NSW 2480 AUSTRALIA
SCOTT D STILWELL                    1221 N JACKSON ST                                                                                 BAY CITY         MI   48708‐5922
SCOTT D ULRICH                      1145 LANCER DR                                                                                    AMHERST          OH   44001
SCOTT D WARNER                      11023 COLONY RD                                                                                   PINCKNEY         MI   48169‐8864
SCOTT D WHITMORE                    121 MARIAN DR                                                                                     MATTYDALE        NY   13211‐1825
SCOTT D. BLACKHURST, TRW            12001 TECH CENTER DR                                                                              LIVONIA          MI   48150‐2122
AUTOMOTIVE, C/O SOUTH DAYTON DUMP

SCOTT D. SHELLENBERGER, S.A.        BALTIMORE COUNTY STATE'S ATTORNEY'S 401 BOSLEY AVENUE, ROOM 511                                   TOWSON           MD 21204
                                    OFFICE
SCOTT DAHLQUIST PRODUCTIONS         5135 QUAKERTOWN AVE                                                                               WOODLAND HILLS   CA   91364
SCOTT DALDRUP                       114 E LONGFELLOW ST                                                                               KANSAS CITY      MO   64119‐1725
SCOTT DALY                          24751 REEDS POINTE DR                                                                             NOVI             MI   48374‐2537
SCOTT DAMMAN                        2622 LOVINGTON LN                                                                                 WATERFORD        MI   48329‐3376
SCOTT DAMON L SR                    4111 MANNER DALE DR                                                                               LOUISVILLE       KY   40220‐3027
SCOTT DANIELS                       35910 ROYCROFT ST                                                                                 LIVONIA          MI   48154‐1906
SCOTT DANN                          12073 WILSON RD                                                                                   OTISVILLE        MI   48463‐9700
SCOTT DAVID I                       DBA DAVID SCOTT CONSULTING LLC      862 SAINT ANDREWS WAY                                         FRANKFORT        IL   60423
SCOTT DAVID I                       862 SAINT ANDREWS WAY                                                                             FRANKFORT        IL   60423‐6500
SCOTT DAVIES SATURN INC             SCOTT DAVIES                        8800 W CENTRAL AVE                                            WICHITA          KS   67212‐3829
SCOTT DAVIS                         1708 MONTGOMERY RD                                                                                WILMINGTON       DE   19805‐1249
SCOTT DAVIS                         7527 CHERRYHILL DR                                                                                INDIANAPOLIS     IN   46254‐9547
SCOTT DAVIS                         6335 BREWER RD                                                                                    FLINT            MI   48507‐4603
SCOTT DAVIS                         PO BOX 6694                                                                                       KOKOMO           IN   46904‐6694
SCOTT DAVIS                         4101 AUBURN AVE                                                                                   MCALLEN          TX   78504‐9666
SCOTT DAWE                          141 W CHICAGO AVE                                                                                 PONTIAC          MI   48340‐1134
SCOTT DAWSON                        4541 LAKE STATION AVE                                                                             LAKE             MI   48632‐9130
SCOTT DAWSON                        56 PONDEROSA TRL N                                                                                BELLEVILLE       MI   48111‐5397
SCOTT DE MARANVILLE                 26029 EVANS RD                                                                                    TONGANOXIE       KS   66086‐3273
SCOTT DEERING                       38670 MONMOUTH ST                                                                                 WESTLAND         MI   48186‐8072
SCOTT DEMARS                        967 DAWSON ST                                                                                     MILFORD          MI   48381
SCOTT DEMEDUK                       21587 BLACKMAR AVENUE                                                                             WARREN           MI   48091‐4370
SCOTT DEMERS                        5454 W FRANCES RD                                                                                 CLIO             MI   48420‐8551
SCOTT DEMYAN                        2915 ECKERT RD                                                                                    LEXINGTON        OH   44904‐8600
SCOTT DESMET                        60294 COTTAGE MILL DR                                                                             WASHINGTON       MI   48094‐3778
SCOTT DETTER                        14735 TRAPPERS CV                                                                                 LEO              IN   46765‐9353
SCOTT DEVRIES                       59343 WHITEWOOD DR                                                                                MATTAWAN         MI   49071‐9587
SCOTT DICKS                         12464 WHITE OSPREY DRIVE SOUTH                                                                    LILLIAN          AL   36549‐5384
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Name                             Address1                        Address2                      Address3   Address4              City             State Zip
SCOTT DIENER                     50102 CRUSADER DR                                                                              MACOMB            MI 48044‐6304
SCOTT DIXON                      1506 N PLEASANT ST                                                                             ROYAL OAK         MI 48067‐1236
SCOTT DIXON                      2037 TUSCOLA STREET                                                                            FLINT             MI 48503‐2119
SCOTT DODDS
SCOTT DODGE                      397 ATWATER ST                                                                                 LAKE ORION       MI   48362‐3310
SCOTT DON                        SCOTT, DON                      1661 INT PLACE DRIVE #300                                      MEMPHIS          TN   38120
SCOTT DONNELLY                   4437 LA BEAN CT                                                                                FLINT            MI   48506‐1447
SCOTT DORMEYER                   4381 JEFFERSON DRIVE                                                                           HILLSBORO        MO   63050‐3600
SCOTT DOUGLAS                    2010 HOPKINS DR                                                                                WIXOM            MI   48393‐1235
SCOTT DOUGLAS                    15705 SE 116TH ST                                                                              RENTON           WA   98059‐6106
SCOTT DOUGLASS & MCCONNICO LLP   ONE AMERICAN CENTER             600 CONGRESS AVE 15TH FL                                       AUSTIN           TX   78701
SCOTT DRAKE ENTERPRISES, INC.    SCOTT DRAKE                     130 CASSIA WAY                                                 HENDERSON        NV   89014
SCOTT DRAYER                     17398 YORKTOWN LN                                                                              MACOMB           MI   48044‐4880
SCOTT DRINKWATER
SCOTT DRUMMOND MOTORS LTD.       501 GRAND ROAD                                                           CAMPBELLFORD ON K0L
                                                                                                          1L0 CANADA
SCOTT DUCH                       7839 HIGH RIDGE DR                                                                             CLARKSTON        MI   48348‐2970
SCOTT DUES                       10915 S NEW LOTHROP RD                                                                         DURAND           MI   48429‐9491
SCOTT DUNHAM JR                  205 CATLAND LN                                                                                 SHIRLEY          AR   72153‐8017
SCOTT DUNSFORD                   5808 BOIS ILE DR                                                                               HASLETT          MI   48840‐9515
SCOTT E ANDERSON                 1430 LITTLES RD                                                                                ARCANUM          OH   45304
SCOTT E BEACH                    100 CAIN ST                                                                                    NEW LEBANON      OH   45345‐1210
SCOTT E CARPENTER                3009 LOWER GRANDVIEW RD                                                                        ALEXANDRIA       KY   41001
SCOTT E COKLEY                   1938 W ALEX‐BELL                                                                               DAYTON           OH   45459
SCOTT E DANIEL                   4180 LOBATA PL                                                                                 DAYTON           OH   45416
SCOTT E ELAM                     6931 HOMESTRETCH RD.                                                                           DAYTON           OH   45414
SCOTT E HARDIN                   6701 WHITAKER STREET                                                                           DAYTON           OH   45415
SCOTT E HARDY                    4788 WASHTENAW AVE              APT A6                                                         ANN ARBOR        MI   48108‐1436
SCOTT E KLEIN                    8706 VERONA TRL                                                                                AUSTIN           TX   78749
SCOTT E LAMB                     2 HOLGATE CT                                                                                   FAIRBORN         OH   45324
SCOTT E LOWMAN                   269 BEECHWOOD AVE                                                                              SHEPHERDSVILLE   KY   40165
SCOTT E MCLAUGHLIN               5900 BRIDGE RD APT 706                                                                         YPSILANTI        MI   48197‐7010
SCOTT E NADEAU                   8438 ADLER RD                                                                                  LAMBERTVILLE     MI   48144‐9779
SCOTT E ROLFE                    9059 APPLE VALLEY AVE                                                                          ENGLEWOOD        FL   34224‐8207
SCOTT E WILFONG                  5806 RISHER RD                                                                                 LEAVITTSBURG     OH   44430
SCOTT EAVEY                      11701 S WACOUSTA RD                                                                            EAGLE            MI   48822‐9725
SCOTT ECKROATE                   3531 W 146TH ST                                                                                CLEVELAND        OH   44111‐3108
SCOTT EDGE                       11 OAK GROVE RD                                                                                FLEMINGTON       NJ   08822‐5903
SCOTT EDWARD MILLER              224 COUNTRYSIDE DR N DR                                                                        TROY             OH   45373
SCOTT EDWIN D (342900)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA   23510
                                                                 STREET, SUITE 600
SCOTT EGGEBEEN                   8626 ACORN AVE SE                                                                              ALTO             MI   49302‐9767
SCOTT EMMER                      41785 MITCHELL RD                                                                              NOVI             MI   48377‐2899
SCOTT EMMONS                     397 TODD PL                                                                                    HAMILTON         OH   45011‐4732
SCOTT ENGLAND                    127 SPRING CREST DR                                                                            MARBLEHEAD       OH   43440‐9645
SCOTT ENGLISH                    PO BOX 427                                                                                     TOQUERVILLE      UT   84774‐0427
SCOTT ENNIS                      234 AMBLER DR                                                                                  BROOKLYN         MI   49230‐8922
SCOTT ENTSMINGER                 1617 HANLEY RD W                                                                               MANSFIELD        OH   44904‐1439
SCOTT EQUIP/NASHVILL             151 FAIRFIELD AVE               PO BOX 100865                                                  NASHVILLE        TN   37210‐2711
SCOTT EQUIPMENT CO INC           151 FAIRFIELD AVE               PO BOX 100865                                                  NASHVILLE        TN   37210‐2711
SCOTT EQUIPMENT CO INC           151 FAIRFIELD AVENUE 37210                                                                     NASHVILLE        TN   37210
SCOTT ERICKSON                   309 JOSEPH ST                                                                                  BAY CITY         MI   48706‐3937
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Name                      Address1                       Address2               Address3      Address4         City                 State Zip
SCOTT ERNST               3916 CHERRYWOOD                                                                      WHITE LAKE            MI 48383‐1092
SCOTT ESCKELSON           1922 HALE RD                                                                         STANDISH              MI 48658‐9726
SCOTT ESTATE OF, ADRIAN
SCOTT ESTER               417 WHITAKER RD                                                                      SHELBYVILLE          TN   37160‐6252
SCOTT ETHINGTON           PO BOX 14                      112 STATE ST                                          VERNON               MI   48476‐0014
SCOTT EVAN                3721 42ND AVE SW                                                                     SEATTLE              WA   98116‐3850
SCOTT EVERS               4150 SEMINOLE DR                                                                     ROYAL OAK            MI   48073‐6313
SCOTT F BARNES            3960 W. COON LAKE                                                                    HOWELL               MI   48843
SCOTT F HOWELL            3274 ELMHILL DR NW                                                                   WARREN               OH   44485‐1336
SCOTT F MARCIANO          203 STONE FENCE ROAD                                                                 ROCHESTER            NY   14626‐3130
SCOTT F MCTAVISH          510 W 3RD AVE                                                                        WARREN               PA   16365
SCOTT F MORAN             311 BREMAN AVE                                                                       SYRACUSE             NY   13211‐1532
SCOTT F SKAGGS            3942 CORTSVILLE                                                                      CEDARVILLE           OH   45314
SCOTT FALL                406 E BROAD ST                                                                       CHESANING            MI   48616
SCOTT FALLIS              1121 FOREST AVE                                                                      BURTON               MI   48509‐1903
SCOTT FAMILY TRUST        ILA J SCOTT TTEE               7608 EDGEWATER DR                                     COLUMBIA             SC   29223
SCOTT FARRADAY            7938 BRANCH DRIVE                                                                    BRIGHTON             MI   48116‐8815
SCOTT FARRAR              1726 S BERRY ST                                                                      WESTLAND             MI   48186‐4129
SCOTT FARRIS
SCOTT FAULKNER            561 S PERKEY RD                                                                      CHARLOTTE            MI   48813‐9393
SCOTT FELDMANN            970 RIDGEFIELD CT                                                                    SOUTH LYON           MI   48178‐2531
SCOTT FELDPAUSCH          395 E SAGINAW HWY                                                                    GRAND LEDGE          MI   48837‐2178
SCOTT FETZER COMPANY      AD PRODUCTS DIVISION           4799 W 150TH ST                                       CLEVELAND            OH   44193‐0001
SCOTT FIELDS              2702 N MILTON SHOPIERE RD                                                            MILTON               WI   53563‐8644
SCOTT FIEWIG              1428 PEACHWOOD DR                                                                    FLINT                MI   48507‐5636
SCOTT FINERTY             5277 MORRISON RD                                                                     ALGER                MI   48610‐9351
SCOTT FINLEY              228 E TAYLOR ST                                                                      HUNTINGTON           IN   46750‐3723
SCOTT FIRST               1085 TOWNSHIP ROAD 1704                                                              ASHLAND              OH   44805‐9594
SCOTT FISK                10703 W COUNTY ROAD M                                                                EVANSVILLE           WI   53536‐8858
SCOTT FITZGERALD          25011 BREEZY POINT RD                                                                WIND LAKE            WI   53185‐2264
SCOTT FLADMARK            705 SOMERSET DR                                                                      JANESVILLE           WI   53546‐1838
SCOTT FLEMING             3319 HEWITT GIFFORD RD SW                                                            WARREN               OH   44481‐9706
SCOTT FLEMING             11176 OCALLA DR                                                                      WARREN               MI   48089‐3843
SCOTT FLETCHER            5920 BUTTONWOOD DR                                                                   HASLETT              MI   48840‐9757
SCOTT FLETCHER            2001 NW 49TH AVE                                                                     COCONUT CREEK        FL   33063‐7753
SCOTT FORTHOFER           22235 BON HEUR ST                                                                    SAINT CLAIR SHORES   MI   48081‐2436
SCOTT FOSGARD             14724 SANTA ANITA AVE                                                                LIVONIA              MI   48154‐3990
SCOTT FOSS                695 FIELDSTONE DR                                                                    ROCHESTER HILLS      MI   48309‐1669
SCOTT FOSS                1108 JAXSON DR                                                                       FORISTELL            MO   63348‐2687
SCOTT FOUCHEY             155 MIDFIELD RD                                                                      COLONIA              NJ   07067‐3634
SCOTT FOWLER              12272 ODELL RD                                                                       LINDEN               MI   48451‐9490
SCOTT FRAMBERG            1817 EDGEWOOD AVE                                                                    SOUTH MILWAUKEE      WI   53172‐3446
SCOTT FRASER              690 KESTREL RIDGE DR                                                                 SOUTH LYON           MI   48178‐2025
SCOTT FRASHER             502 N UNION ST                                                                       LOUDONVILLE          OH   44842‐1377
SCOTT FRAVEL              15589 S BLACKFOOT ST                                                                 OLATHE               KS   66062‐3399
SCOTT FRAZIER             2318 BEAR FOUNTAIN RUN                                                               WENTZVILLE           MO   63385‐3522
SCOTT FREDENDALL          4529 N OLD 92                                                                        EVANSVILLE           WI   53536‐9023
SCOTT FREDERICK           2825 CHINOOK LN                                                                      KETTERING            OH   45420‐3828
SCOTT FREDERICK           505 PARK AVE                                                                         DEFIANCE             OH   43512‐2055
SCOTT FREEMON             APT 2C                         226 WEST 97TH STREET                                  NEW YORK             NY   10025‐5605
SCOTT FREUDE              4089 INDIAN CAMP TRL                                                                 HOWELL               MI   48855‐8745
SCOTT FRICKER             9285 SHERIDAN RD                                                                     GAINES               MI   48436‐8932
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Name                        Address1                            Address2                   Address3   Address4         City                 State Zip
SCOTT FROMAN                685 GAGE ST NW                                                                             GRAND RAPIDS          MI 49544‐6945
SCOTT FULLEN                4674 MIDLAND AVE                                                                           WATERFORD             MI 48329‐1837
SCOTT FULLER                13805 SCHAVEY RD                                                                           DEWITT                MI 48820‐9009
SCOTT FULLER                PO BOX 204                                                                                 WOODLAWN              TX 75694‐0204
SCOTT FUREY                 710 RAILROAD ST                                                                            YPSILANTI             MI 48197‐3506
SCOTT G DEFABBO             1480 HYDE OAKFIELD RD.                                                                     N.BLOOMFIELD          OH 44450‐9504
SCOTT G GOOCH               8452 BLANK RD                                                                              BROOKVILLE            OH 45309‐9634
SCOTT G HOYT                851 NATURES RIDGE LN                                                                       BAY CITY              MI 48708‐9213
SCOTT G JOCHAM              163 N.JEWELL PLACE                                                                         ORANGE                CA 92868
SCOTT G LEMOINE             220 N PINE ST                                                                              JANESVILLE            WI 53548‐3589
SCOTT G TURPIN              2102 TROY ST 6                                                                             DAYTON                OH 45404
SCOTT GABBEY                2082 N BEEBE RD                                                                            BURT                  NY 14028‐9731
SCOTT GAGNER                246 INDIAN TRL                                                                             BRISTOL               CT 06010‐9407
SCOTT GAINES                11393 NICHOLS RD                                                                           BURT                  MI 48417‐9657
SCOTT GAMLIN                627 WHITELOCK ST                                                                           HUNTINGTON            IN 46750‐3448
SCOTT GARCIA                1459 ODETTE                                                                                HARTLAND              MI 48353‐3462
SCOTT GARDNER               8073 KENSINGTON BLVD APT 438                                                               DAVISON               MI 48423‐2919
SCOTT GARRETT               11128 COUNTY ROAD 501                                                                      VENUS                 TX 76084‐3605
SCOTT GARRIS                1954 BYRON RD                                                                              HOWELL                MI 48855
SCOTT GARRISON EXCAVATING                                       RR 1 BOX 2064                                                                PA 17813
SCOTT GARVER                300 W HURON ST                                                                             MILFORD               MI 48381‐2248
SCOTT GARZA                 1345 HENDRICKS WAY                                                                         WATERFORD             MI 48328‐4236
SCOTT GAUDARD               2611 S DEERFIELD AVE                                                                       LANSING               MI 48911‐1784
SCOTT GAUNTT                113 KENBRIDGE LN                                                                           MADISON               MS 39110‐9773
SCOTT GEARHART              1220 HALLOCK YOUNG RD SW                                                                   WARREN                OH 44481‐8605
SCOTT GEDDIS                4160 ANGELA LN                                                                             BRUNSWICK             OH 44212‐2167
SCOTT GEISLER               5049 ASHFORD RD                                                                            CLARKSTON             MI 48348‐2189
SCOTT GELLER                610 N WALNUT ST                                                                            JANESVILLE            WI 53548‐2860
SCOTT GENDRON               5639 PRINCETON PL                                                                          YPSILANTI             MI 48197‐7122
SCOTT GENSHAW               PO BOX 323                                                                                 OTISVILLE             MI 48463‐0323
SCOTT GEORGE B (491694)     CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                  CLEVELAND             OH 44113‐1328
                            COONE AND ASSOCIATES
SCOTT GIBBS                 10 C0NGRESSIONAL CT                                                                        BALTIMORE            MD   21220
SCOTT GIBSON                2346 FAIR LN                                                                               BURTON               MI   48509‐1308
SCOTT GILBERT               4318 S STATE RD                                                                            DURAND               MI   48429‐9152
SCOTT GILL                  13724 PATTERSON DR                                                                         SHELBY TWP           MI   48315‐4256
SCOTT GILLETTE              6160 MUNGER RD                                                                             DAYTON               OH   45459
SCOTT GILMER                PO BOX 9022                         FAIRWAY ‐ DODLESTON LANE                               WARREN               MI   48090‐9022
SCOTT GLABACH               8955 S CHRISTINE DR                                                                        BRIGHTON             MI   48114‐8943
SCOTT GLOWNIAK              21207 BRIARCLIFF ST                                                                        SAINT CLAIR SHORES   MI   48082‐1224
SCOTT GOBLE                 27755 J DR N                                                                               ALBION               MI   49224‐9435
SCOTT GOFF                  28253 SOCORRO ST UNIT 80                                                                   MURRIETA             CA   92563‐4467
SCOTT GOLDEN                53 MANASSAS DR                                                                             MIDDLETOWN           DE   19709‐3805
SCOTT GOLEMBIEWSKI          PO BOX 423                                                                                 MERCER ISLAND        WA   98040‐0423
SCOTT GOODAR                2153 OLD HICKORY BLVD                                                                      DAVISON              MI   48423‐2045
SCOTT GOODRICH              5375 DILLON DR                                                                             WHITE LAKE           MI   48383‐4102
SCOTT GOODWIN               7700 W 70TH ST #9                                                                          SHREVEPORT           LA   71129‐2205
SCOTT GOODWIN               14703 SHAWMILL RD                                                                          NORWALK              OH   44857‐9646
SCOTT GORALSKI              15610 LEXINGTON                                                                            REDFORD              MI   48239‐3980
SCOTT GORDON                750 DARTMOOR RD                                                                            ANN ARBOR            MI   48103‐4516
SCOTT GORDON                655 COTTS WAY                                                                              OXFORD               MI   48371‐4874
SCOTT GOULD
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Name                           Address1                         Address2                        Address3   Address4         City               State Zip
SCOTT GRACE                    45 SHAW RD                                                                                   PINEHURST           NC 28374
SCOTT GRAHAM                   19211 TIMBER CREEK CIR                                                                       STRONGSVILLE        OH 44136‐7272
SCOTT GRAHAM                   919 MIDPOINT DR                                                                              O FALLON            MO 63366‐5906
SCOTT GRANGER                  4824 EAGLE SPRINGS CT                                                                        CLARKSTON           MI 48348‐5045
SCOTT GRANSEE                  10734 W SUNSET DR                                                                            EVANSVILLE          WI 53536‐8314
SCOTT GRAVES                   N6118 EDMUNDS RD                                                                             ALBANY              WI 53502‐9756
SCOTT GREEN                    13437 LIME LAKE DR                                                                           SPARTA              MI 49345‐8566
SCOTT GREGORY                  3334 S SCOTT AVE                                                                             INDEPENDENCE        MO 64052‐2721
SCOTT GREGORY                  3714 MEADOW VIEW DRIVE                                                                       DEXTER              MI 48130‐9208
SCOTT GRIEWAHN                 3742 S ADRIAN HWY                                                                            ADRIAN              MI 49221‐9293
SCOTT GRIFFIN                  10304 JEWELL RD                                                                              GAINES              MI 48436‐9721
SCOTT GRIFFIN                  14354 NEFF RD                                                                                CLIO                MI 48420‐8846
SCOTT GUNDERSON                2305 PINE POINT CV                                                                           FORT WAYNE          IN 46814‐8941
SCOTT GUTHRIE                  4114 HERMAN AVE SW                                                                           WYOMING             MI 49509‐4447
SCOTT H BAUER                  6357 MACADAM WAY                                                                             DIMONDALE           MI 48821‐9591
SCOTT H FOAT                   118 WRIGHT PL                                                                                NEW BRUNSWICK       NJ 08901‐3287
SCOTT H SEARS                  206 N SUTPHIN ST                                                                             MIDDLETOWN          OH 45042‐3223
SCOTT HABERMAN                 1903 DUSTIR DR                                                                               RACINE              WI 53402‐5702
SCOTT HAFER                    100 ANGSTADT LANE                                                                            READING             PA 19606
SCOTT HAGERMAN                 10901 S TWILIGHT RD                                                                          DALEVILLE           IN 47334‐9457
SCOTT HAGGERTY                 14449 NICHOLS RD                                                                             MONTROSE            MI 48457‐9468
SCOTT HAGGERTY                 12250 LAKE RD                                                                                MONTROSE            MI 48457‐9429
SCOTT HAKEEM                   PO BOX 4568                                                                                  TROY                MI 48099‐4568
SCOTT HALEY                    6054 ALEXA LN                                                                                SYLVANIA            OH 43560‐3606
SCOTT HALL                     BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS.         OH 44236
SCOTT HALLOWELL                12278 SHAFFER RD                                                                             SWANTON             OH 43558‐8567
SCOTT HALSALL                  8535 LINDA ST                                                                                WARREN              MI 48093‐4989
SCOTT HAMBY                    16290 WHITEHEAD DR                                                                           LINDEN              MI 48451‐8774
SCOTT HAMEL                    8101 CLIPPERT ST                                                                             TAYLOR              MI 48180‐2573
SCOTT HANDLING EQUIPMENT INC   50600 CENTRAL INDUSTRIAL DR                                                                  SHELBY TOWNSHIP     MI 48315‐3116
SCOTT HANS                     5450 WOODFIELD PKWY                                                                          GRAND BLANC         MI 48439‐9401
SCOTT HARDY                    7248 ISLAND CT                                                                               LINDEN              MI 48451‐8729
SCOTT HARDY                    6661 BELLA VISTA DR NE                                                                       ROCKFORD            MI 49341‐9650
SCOTT HARKNESS                 275 W BATH RD                                                                                MORRICE             MI 48857‐8735
SCOTT HARNDEN                  401 E MANSION ST                                                                             MARSHALL            MI 49068‐1233
SCOTT HAROLD                   400 MARBLETHORPE RD                                                                          RICHMOND            VA 23236‐2261
SCOTT HARPER                   3431 RAY RD                                                                                  GRAND BLANC         MI 48439‐9321
SCOTT HARRINGTON               18 KARIS ST                                                                                  WATERVILLE          OH 43566‐1039
SCOTT HARRIS                   67524 WHITMORE RD                                                                            TWENTYNINE PALMS    CA 92277
SCOTT HARRIS
SCOTT HARRISON                 65 S PONTIAC DR                                                                              JANESVILLE         WI   53545‐2277
SCOTT HARRISON                 2202 W REID RD                                                                               FLINT              MI   48507‐4663
SCOTT HARRITY                  6702 CHALLIS RD                                                                              BRIGHTON           MI   48116‐9453
SCOTT HARROLD                  4608 W. CR 400 N                                                                             MUNCIE             IN   47304
SCOTT HARRY E (481285)         KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                               CLEVELAND          OH   44114
                                                                BOND COURT BUILDING
SCOTT HARRY W (439489)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                STREET, SUITE 600
SCOTT HART
SCOTT HARTSHORN                PO BOX 413                       208 E MAIN                                                  MAPLE RAPIDS       MI 48853‐0413
SCOTT HARWICK                  22513 RAYMOND CT                                                                             ST CLAIR SHRS      MI 48082‐2735
SCOTT HASELTINE                16935 5 MILE HWY                                                                             ONAWAY             MI 49765‐9390
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Name                               Address1                           Address2                        Address3   Address4         City              State Zip
SCOTT HATT                         7501 FENNER RD                                                                                 LAINGSBURG         MI 48848‐9711
SCOTT HAUSER                       2042 WINDERMERE XING                                                                           CUMMING            GA 30041‐6101
SCOTT HAVENS                       1640 N PAYNE LAKE RD                                                                           MIDDLEVILLE        MI 49333‐9753
SCOTT HAYES                        6578 GAINES FERRY RD                                                                           FLOWERY BR         GA 30542‐3836
SCOTT HAYNES                       201 LELA LN                                                                                    BUCKNER            MO 64016‐7700
SCOTT HEARLD                       5863 SOUTHWARD AVE                                                                             WATERFORD          MI 48329‐1579
SCOTT HECHT                        23336 E 5TH PL UNIT 104                                                                        AURORA             CO 80018‐1616
SCOTT HEITZENRATER                 3389 PARK MEADOW DR                                                                            ORION              MI 48362‐2071
SCOTT HELTON                       5323 KRISTEN PL                                                                                ANDERSON           IN 46017‐9660
SCOTT HEMPHILL                     53068 WINDHAM DR                                                                               CHESTERFIELD       MI 48051‐1794
SCOTT HENDERSHOT                   1200 SALEM CIR                                                                                 BOWLING GREEN      KY 42101‐0777
SCOTT HENDERSON                    3030 EMERALD DR                                                                                KALAMAZOO          MI 49001‐4549
SCOTT HENDRICK                     6671 15 MILE RD NE                                                                             CEDAR SPRINGS      MI 49319‐8422
SCOTT HENDRICKSON                  4617 KARAMAR DR                                                                                SAINT LOUIS        MO 63128‐3909
SCOTT HENRY                        PO BOX 2627                                                                                    MARTINSBURG        WV 25402‐2627
SCOTT HERBERTS                     1050 BROOK MONT DR                                                                             O FALLON           MO 63366‐4260
SCOTT HERKIMER                     PO BOX 1092                                                                                    SPRING HILL        TN 37174‐1092
SCOTT HERNE                        55 MULLEN ST                                                                                   TONAWANDA          NY 14150‐5423
SCOTT HERRICK                      2405 DENISE DR                                                                                 CLIO               MI 48420‐1048
SCOTT HERRIMAN                     9026 E POTTER RD                                                                               DAVISON            MI 48423‐8188
SCOTT HERZ                         46757 W RIDGE DR                                                                               MACOMB             MI 48044‐3582
SCOTT HESTER                       5145 CHANTELLE DR                                                                              FLINT              MI 48507‐2903
SCOTT HIGLEY                       50401 HUNTERS CREEK TRL                                                                        SHELBY TOWNSHIP    MI 48317‐1811
SCOTT HILDEBRAND                   3412 HACKNEY DR                                                                                KETTERING          OH 45420‐1028
SCOTT HILL                         7260 CLARKSVILLE RD                                                                            PORTLAND           MI 48875‐9702
SCOTT HILL                         13616 W LAKE RD                                                                                VERMILION          OH 44089‐3115
SCOTT HILLER                       4440 TILLIE DR                                                                                 FLINT              MI 48504‐1013
SCOTT HITCHINGS                    517 JACKSON ST                                                                                 PORT CLINTON       OH 43452‐1833
SCOTT HITE
SCOTT HOBART (447582)              BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                                      PROFESSIONAL BLDG
SCOTT HOGAN                        1054 E MANDEVILLE ST                                                                           BURTON            MI   48529‐1125
SCOTT HOLDEN                       2077 SOMERVILLE DR                                                                             OXFORD            MI   48371‐5933
SCOTT HOLE                         3009 S MADISON ST                                                                              MUNCIE            IN   47302‐5137
SCOTT HOLLOPETER                   9088 OLD OAK DR                                                                                GRAND BLANC       MI   48439‐8092
SCOTT HOLMES                       3191 WOODVALLEY DR                                                                             FLUSHING          MI   48433‐2226
SCOTT HOOKER                       33266 SEBASTIAN LANE DR                                                                        STERLING HTS      MI   48312‐6130
SCOTT HOPPES                       9821 CUTLER RD                                                                                 PORTLAND          MI   48875‐9431
SCOTT HORCHA                       4345 GENOA DR                                                                                  LUNA PIER         MI   48157‐9776
SCOTT HORN                         20046 LONGRIDGE RD                                                                             NORTHVILLE        MI   48167‐2903
SCOTT HORNBACKER                   2805 DENISE DR                                                                                 TROY              MI   48085‐3944
SCOTT HORNING                      734 RAVENCREST LN 10                                                                           WESTLAND          MI   48185
SCOTT HOULE                        4099 INDEPENDENCE DR                                                                           FLINT             MI   48506‐1640
SCOTT HOWARD (447583)              BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH   44067
                                                                      PROFESSIONAL BLDG
SCOTT HOYT                         851 NATURES RIDGE LN                                                                           BAY CITY          MI 48708‐9213
SCOTT HUBBARD, WARNER NORCROSS &   900 FIFTH THIRD CENTER, 111 LYON                                                               GRAND RAPIDS      MI 49503
JUDD, C/O A‐1 DISPOSAL CORP SITE   STREET NW
SCOTT HUBER                        PO BOX 2481                                                                                    JANESVILLE        WI 53547‐2481
SCOTT HUCKER                       PO BOX 9022                        SHANGHAI                                                    WARREN            MI 48090‐9022
SCOTT HUDDLESTON                   274 OAK RIDGE LN                                                                               DEFIANCE          OH 43512‐9206
SCOTT HUFFMAN
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Name                                  Address1                          Address2                          Address3        Address4                 City              State Zip
SCOTT HUGHES                          4061 WELLS RD                                                                                                PETERSBURG         MI 49270‐9532
SCOTT HUIZENGA                        PO BOX 923                                                                                                   LAKE CITY          MI 49651‐1923
SCOTT HULL                            3201 W PALMER RD                                                                                             ORLEANS            MI 48865‐5103
SCOTT HULSE MARSHALL FEUILLE          FINGER & THURMOND PC              201 E MAIN DR STE 11                                                       EL PASO            TX 79901‐1325
SCOTT HUNTER                          2057 ROUNDTREE                                                                                               ROCHESTER HILLS    MI 48307‐4333
SCOTT I DOHNER                        5883 NORMAR PL                                                                                               BLAINE             WA 98230
SCOTT I I, GERALD W                   8500 DEVIN DR                                                                                                DAVISON            MI 48423‐2144
SCOTT IGRAM                           1444 LYLE ST                                                                                                 BURTON             MI 48509‐1641
SCOTT II, CORNELUIS L                 2812 PARKWAY CIRCLE                                                                                          STERLING HTS       MI 48310‐7124
SCOTT II, GERALD W                    8500 DEVIN DR                                                                                                DAVISON            MI 48423‐2144
SCOTT III, LEON                       956 JEFFERSON AVE                                                                                            BUFFALO            NY 14204‐1009
SCOTT III, WILLIAM H                  4309 CAYUGA TRL                                                                                              FLINT              MI 48532‐3570
SCOTT INDUSTRIAL INC                  1515 MATHESON BLVD UNIT C‐1                                                         MISSISSAUGA ON L4W 2P5
                                                                                                                          CANADA
SCOTT INDUSTRIAL SYSTEMS              PO BOX 1387                       272 LEO ST                                                                 DAYTON            OH    45401‐1387
SCOTT INDUSTRIAL SYSTEMS INC          2655 TOBEY DR                                                                                                INDIANAPOLIS      IN    46219‐1493
SCOTT INDUSTRIES INC                  50600 CENTRAL INDUSTRIAL DR                                                                                  SHELBY TOWNSHIP   MI    48315‐3116
SCOTT J & ELIZ E REALEY               337 BAIRD AVE                                                                                                MT EPHRAIM        NJ    08059
SCOTT J BROWN MASTER PROFIT SHARING   SCOTT J BROWN                     303 SUGAR TOP DR #2321                                                     SUGAR MOUNTAIN    NC    28604‐4321
PLAN
SCOTT J CSIRKE                        3106 E STANLEY RD                                                                                            MOUNT MORRIS      MI    48458‐8731
SCOTT J FLANAGAN                      14 CROSS GATES RD                                                                                            ROCHESTER         NY    14606
SCOTT J GREWE                         1609 RANGELEY AVENUE                                                                                         DAYTON            OH    45403‐1619
SCOTT J HARMAN                        693 BUTTERCUP AVE                                                                                            VANDALIA          OH    45377‐1526
SCOTT J JACOBS                        67 WOLCOTT AVE                                                                                               ROCHESTER         NY    14606
SCOTT J VIEIRA                        29 SILVERWOOD LN                                                                                             WEST WARWICK      RI    02893‐3304
SCOTT J VOELKER                       518 TERRACE CREEK COURT                                                                                      LEBANON           OH    45036‐8119
SCOTT J WYANT                         12711 SUSAN LN                                                                                               GARDEN GROVE      CA    92841‐‐ 49
SCOTT JACKSON                         49004 FREESTONE DR                                                                                           NORTHVILLE        MI    48168‐8004
SCOTT JACOBSON                        302 E MADISON AVE                                                                                            MILTON            WI    53563‐1317
SCOTT JAMES (491309)                  BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                              NORTHFIELD        OH    44067
                                                                        PROFESSIONAL BLDG
SCOTT JAMES B (658451)                SCOTT JAMES                       C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                            EDWARDSVILLE       IL   62025‐1972

SCOTT JAMES T (ESTATE OF) (484238)    KEVIN E MCDERMOTT CO              36815 DETROIT RD                                                           AVON              OH    44011‐1503
SCOTT JANECZKO                        29544 MARQUETTE ST                                                                                           GARDEN CITY       MI    48135‐2696
SCOTT JANSON                          7411 MCCANDLISH RD                                                                                           GRAND BLANC       MI    48439‐7421
SCOTT JARRAD                          PO BOX 190036                                                                                                BURTON            MI    48519‐0036
SCOTT JASON                           PO BOX 6742                                                                                                  VENTURA           CA    93006‐6742
SCOTT JEDELE                          8217 BURLEIGH RD                                                                                             GRAND BLANC       MI    48439‐9764
SCOTT JEFFERSON                       2118 GATE POINTE WAY                                                                                         ARLINGTON         TX    76018‐3161
SCOTT JEFFREY                         PO BOX 377                                                                                                   HARTLAND          MI    48353‐0377
SCOTT JEFFREY                         7233 SONDRIDGE CIR                                                                                           INDIANAPOLIS      IN    46256
SCOTT JENKS                           173 JADE LN                                                                                                  WHITMORE LAKE     MI    48189‐8261
SCOTT JESSE (464277)                  KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                              CLEVELAND         OH    44114
                                                                        BOND COURT BUILDING
SCOTT JOHN (460174)                   KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                              CLEVELAND         OH 44114
                                                                        BOND COURT BUILDING
SCOTT JOHN WILLIAM (171515)           BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG , 233 EAST                                             JACKSONVILLE       FL   32202
                                      MCCLAMMA & YEGELWEL P.A.          BAY STREET
SCOTT JOHNCOX                         30716 GLENWOOD CIR                                                                                           WARREN            MI 48088‐5921
SCOTT JOHNNY                          SCOTT, JOHNNY                     3 MARTHA LN                                                                HUNTSVILLE        TX 77320
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Name                      Address1                       Address2                   Address3   Address4         City               State Zip
SCOTT JOHNSON             2301 W TWAIN DR                                                                       ANTHEM              AZ 85086‐2329
SCOTT JOLIN               7595 HOSPITAL RD                                                                      FREELAND            MI 48623‐8609
SCOTT JONES               8253 NOBLET RD                                                                        DAVISON             MI 48423‐8618
SCOTT JONGEWARD           900 LOGGERS CIR                                                                       ROCHESTER           MI 48307‐6026
SCOTT JORDAN              304 RACE ST                                                                           JANESVILLE          WI 53548‐3650
SCOTT JORDAN              1929 CALAIS RD                                                                        FORT WAYNE          IN 46814‐9176
SCOTT JORDAN
SCOTT JORGENSEN           4145 MEADOW WAY                                                                       BLOOMFIELD HILLS   MI   48301‐1213
SCOTT JOSEPH              4180 N WABASH RD                                                                      MARION             IN   46952‐9744
SCOTT JR, ALDREW L        39 BELLA VISTA LN                                                                     CAMDENTON          MO   65020‐5939
SCOTT JR, ANDREW C        1125 ELLSWORTH BAILEY RD SW                                                           WARREN             OH   44481‐9778
SCOTT JR, ANDREW L        6202 ROBIN HILL RD                                                                    BALTIMORE          MD   21207‐6260
SCOTT JR, CHARLES L       3610 NORTH GLENWOOD AVENUE                                                            MUNCIE             IN   47304‐1815
SCOTT JR, CHARLIE         3294 E 104TH ST                                                                       CLEVELAND          OH   44104‐5646
SCOTT JR, DAVID A         3274 MANNION RD                                                                       SAGINAW            MI   48603‐1608
SCOTT JR, DAVID H         9395 WOLCOTT RD                                                                       CLARENCE CENTER    NY   14032‐9127
SCOTT JR, DONALD P        61 S ROANOKE AVE                                                                      YOUNGSTOWN         OH   44515‐3544
SCOTT JR, EARL A          2152 TREEHAVEN CIR                                                                    FORT MYERS         FL   33907‐4025
SCOTT JR, EARNIE D        APT 8                          9000 WEST WILDERNESS WAY                               SHREVEPORT         LA   71106‐6831
SCOTT JR, EMMETT J        2551 NATHAN DR                                                                        SAINT LOUIS        MO   63136‐5846
SCOTT JR, FRANK E         9021 SUMMIT POINTE DR                                                                 SPRINGBORO         OH   45066‐9199
SCOTT JR, FRED            2661 BURNABY DR                                                                       COLUMBUS           OH   43209‐3201
SCOTT JR, FREDERICK H     3292 RENAS RD                                                                         GLADWIN            MI   48624‐6902
SCOTT JR, G T             13881 FAIRVIEW RD                                                                     BYHALIA            MS   38611‐9366
SCOTT JR, GOLMON          7700 E CANFIELD ST                                                                    DETROIT            MI   48214‐1012
SCOTT JR, HARRY           1267 HOLLAND DR                                                                       MILFORD            OH   45150‐2225
SCOTT JR, HENDERSON H     3800 DORSET DR                                                                        DAYTON             OH   45405‐1939
SCOTT JR, HERMAN          3600 STAMFORD WAY APT Q2                                                              SAGINAW            MI   48603‐1836
SCOTT JR, JACK R          1770 KING MILL RD                                                                     MCDONOUGH          GA   30252‐6939
SCOTT JR, JAMBRY          20994 CAMERON CT                                                                      RENO               NV   89508‐6028
SCOTT JR, JAMES           7630 HANSOM DR                                                                        OAKLAND            CA   94605‐3805
SCOTT JR, JAMES C         1223 HANCOCK AVE                                                                      MITCHELL           IN   47446‐8065
SCOTT JR, JAMES H         9765 SOUTHERN BELLE CT                                                                CENTERVILLE        OH   45458‐2881
SCOTT JR, JAMES L         10242 BIRD RIVER RD                                                                   BALTIMORE          MD   21220‐1536
SCOTT JR, JAMES R         38142 LAURENWOOD ST                                                                   WAYNE              MI   48184‐1017
SCOTT JR, JAMES R         17240 CEDARCROFT PL                                                                   SOUTHFIELD         MI   48076‐4779
SCOTT JR, JASPER T        616 W 2ND ST                                                                          FLORENCE           NJ   08518‐1102
SCOTT JR, JESSE R         11590 RIVER RUN CIR                                                                   HENDERSON          CO   80640‐9281
SCOTT JR, JOSEPH D        3719 EASTHAMPTON DR                                                                   FLINT              MI   48503‐2907
SCOTT JR, JOSEPH DONALD   3719 EASTHAMPTON DR                                                                   FLINT              MI   48503‐2907
SCOTT JR, JOSEPH L        559 E 128TH ST                                                                        CLEVELAND          OH   44108‐2026
SCOTT JR, LEON            283 HAZELWOOD AVE                                                                     BUFFALO            NY   14215‐3566
SCOTT JR, LOUIS           6603 TENNANT RD                                                                       BERLIN HTS         OH   44814‐9339
SCOTT JR, LYLE E          5995 N 8 MILE RD                                                                      PINCONNING         MI   48650‐8920
SCOTT JR, MILTON L        20045 OAKFIELD ST                                                                     DETROIT            MI   48235‐2245
SCOTT JR, NOEL D          6751 BOSTWICK ST                                                                      DETROIT            MI   48209‐2027
SCOTT JR, OSCAR           645 NEBRASKA AVE                                                                      KANSAS CITY        KS   66101‐2256
SCOTT JR, PAUL L          1001 ISLAND DRIVE CT APT 106                                                          ANN ARBOR          MI   48105‐2022
SCOTT JR, PAUL LEROY      1001 ISLAND DRIVE CT APT 106                                                          ANN ARBOR          MI   48105‐2022
SCOTT JR, ROBERT E        9351 OAKMONT DR                                                                       GRAND BLANC        MI   48439‐9590
SCOTT JR, ROBERT L        2387 OLT RD                                                                           DAYTON             OH   45418‐1751
SCOTT JR, ROBERT L        106 CONDA LN                                                                          OXFORD             MI   48371‐4621
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Name                   Address1                            Address2       Address3         Address4         City              State Zip
SCOTT JR, RONALD R     601 VALLEY VIEW ST                                                                   OVILLA             TX 75154‐5627
SCOTT JR, RONALD RAY   601 VALLEY VIEW ST                                                                   OVILLA             TX 75154‐5627
SCOTT JR, ROY          813 N UNIVERSITY AVE                                                                 TOLEDO             OH 43607‐3539
SCOTT JR, SAM          1733 N 26TH ST                                                                       SAGINAW            MI 48601‐6005
SCOTT JR, SAM          766 S DIAMOND ST                                                                     MANSFIELD          OH 44907‐1766
SCOTT JR, SAMUEL B     P O 13166                                                                            FLINT              MI 48501
SCOTT JR, THOMAS       1093 RUN AWAY DR                                                                     FOUNTAIN RUN       KY 42133‐8554
SCOTT JR, VIRGIL R     326 NORTH QUAIL POINT DR.                                                            O'FALLON           MO 63366
SCOTT JR, WALTER J     1018 ANGIERS DR                                                                      DAYTON             OH 45408‐2407
SCOTT JR, WESLEY       PO BOX 214                                                                           YOUNGSTOWN         OH 44501‐0214
SCOTT JR, WILLARD      11098 STEPHENSON RD                                                                  ONSTED             MI 49265‐9470
SCOTT JR, WILLIAM      613 T ST                                                                             BEDFORD            IN 47421‐1919
SCOTT JR, WILLIAM      243 ROSLYN ST                                                                        ROCHESTER          NY 14619‐1811
SCOTT JR, WILLIAM A    4699 HOPEWELL RD                                                                     LITTLE ROCK        MS 39337‐9651
SCOTT JR, WILLIAM J    27136 URSULINE STREET                                                                ST CLR SHORES      MI 48081‐3463
SCOTT JR, WILLIAM M    13031 SLYING SQUIRRIEL COURT                                                         HUDSON             FL 34669
SCOTT JR., PAUL V      3620 HI DALE DR                                                                      LAKE ORION         MI 48360‐2419
SCOTT K BELLSTROM      480 SEXTON ST 58055                                                                  STRUTHERS          OH 44471
SCOTT K VEST           10051 EL AN JA DR                                                                    MIAMISBURG         OH 45342
SCOTT K. WARREN        554 TARGUITE PL                                                                      PACIFIC PLISDS     CA 90272
SCOTT KAMM             1582 11 MILE RD                                                                      BERKLEY            MI 48072‐3012
SCOTT KANE             6841 TODD RD                                                                         AVON               IN 46123‐9540
SCOTT KANUCH           38887 CHESTNUT RIDGE RD                                                              ELYRIA             OH 44035‐8247
SCOTT KAPFHAMER        43970 DUNHAM CT                                                                      CLINTON TWP        MI 48038‐1516
SCOTT KARKOSKY         14521 W 5TH ST                                                                       DALEVILLE          IN 47334‐9328
SCOTT KAVANAGH         13421 LAKEVIEW DR                                                                    SHELBY TOWNSHIP    MI 48315‐3531
SCOTT KEESLING         112 S WEST ST                                                                        ALEXANDRIA         IN 46001‐1914
SCOTT KEGEBEIN         10958 N WOODFIELD CIR                                                                BRIGHTON           MI 48114‐9288
SCOTT KELLEY           1016 HOLBROOK AVE                                                                    WATERFORD          MI 48328‐3720
SCOTT KELLY            1722 ALLARD RD                                                                       CHAPEL HILL        NC 27514‐7643
SCOTT KEMP             930 SOOUTHWEST 9TH CIRCLE APT 101                                                    BOCA RATON         FL 33486
SCOTT KENNEDY          1524 VISTA AVE                                                                       JANESVILLE         WI 53545‐4906
SCOTT KENNEDY          3280 PRIMROSE DR                                                                     ROCHESTER HILLS    MI 48307‐5237
SCOTT KETNER           3714 SPRINGFIELD CT                                                                  WASHINGTON TWP     MI 48094‐1135
SCOTT KILLIAN          4018 W LAKE RD                                                                       CLIO               MI 48420‐8820
SCOTT KINGSBURY        9425 CASTLE CT                                                                       OTISVILLE          MI 48463‐9408
SCOTT KIRKELIE         5206 VISTA VERDE DR                                                                  ARLINGTON          TX 76017‐1769
SCOTT KISSANE          12435 MADONNA DR                                                                     LANSING            MI 48917‐8617
SCOTT KLINE            26040 FOX CREEK CT                                                                   RICHMOND           MI 48062‐3844
SCOTT KLINE            9201 ALLAN RD                                                                        NEW LOTHROP        MI 48460‐9745
SCOTT KLOESS           913 QUARRY                                                                           ROCHESTER HILLS    MI 48306‐3584
SCOTT KLOSS            5606 NW 87TH TERR APT C 238                                                          KANSAS CITY        MO 64154
SCOTT KMET             8353 GROVEMONT CT                                                                    GRAND BLANC        MI 48439‐1967
SCOTT KNIFFEN          3178 LEE HILL RD                                                                     CARO               MI 48723‐8937
SCOTT KNUTH            2600 E BEVERLY RD                                                                    SHOREWOOD          WI 53211‐2436
SCOTT KOCIBA           10124 CEDAR KNOLL CT                                                                 CLARKSTON          MI 48348‐2183
SCOTT KOCIENSKI        27 MCCUIN RD                                                                         BRASHER FALLS      NY 13613‐4211
SCOTT KOHANSBY
SCOTT KOLP             1088 BLUE RIDGE DR                                                                   CLARKSTON         MI   48348‐4091
SCOTT KOPISCHKIE       5005 PINEBROOK DR                                                                    FORT WAYNE        IN   46804‐1776
SCOTT KOSKINEN         1230 SHERWOOD FOREST CT                                                              WATERFORD         MI   48327‐1676
SCOTT KOSOVEC          3334 RAMADA DR                                                                       HIGHLAND          MI   48356‐1868
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Name                 Address1                        Address2                    Address3                 Address4                 City               State Zip
SCOTT KOTELES        5775 KINGFISHER LN                                                                                            CLARKSTON           MI 48346‐2940
SCOTT KOTZUR         89 NIMHAM RD                                                                                                  CARMEL              NY 10512
SCOTT KOVACH         231 MICHAELS CT                                                                                               CORTLAND            OH 44410‐2002
SCOTT KRAUSE         10209 N ELLENDALE RD                                                                                          EDGERTON            WI 53534‐9059
SCOTT KRISTIN        SCOTT, KRISTIN                  22260 HAGGERTY RD STE 250                                                     NORTHVILLE          MI 48167‐8985
SCOTT KRISTIN        LAMB, LARRY                     KAHN & ASSOCIATES LLC       55 PUBLIC SQ STE 650                              CLEVELAND           OH 44113‐1909
SCOTT KROOK          9066 W LYNNWOOD CT                                                                                            ELWOOD              IN 46036‐8856
SCOTT KRUEGER        2097 HUNTINGTON AVE                                                                                           FLINT               MI 48507‐3518
SCOTT KUBICKI        3638 CHARLWOOD DR                                                                                             ROCHESTER HILLS     MI 48306‐3625
SCOTT KUGLER         GOWLING LAFLEUR HENDERSON LLP   1 FIRST CANADIAN PLACE      100 KING STREET WEST SUITE TORONTO, ONTARIO M5X
                                                                                 1600                       1G5 CANADA
SCOTT KUKUK          6238 W BURRWOOD DR                                                                                            JANESVILLE         WI   53548‐8671
SCOTT KUNTZ          2735 HATTON RD                                                                                                AUBURN HILLS       MI   48326‐1914
SCOTT KURK           59 TANVIEW DR                                                                                                 OXFORD             MI   48371‐4774
SCOTT KWIATKOWSKI    5332 SAND HILL RD                                                                                             RACINE             WI   53402‐2267
SCOTT KWIT           48951 DENTON RD                 APT 301                                                                       BELLEVILLE         MI   48111‐2138
SCOTT KYSER          226 CONSTITUTION CIR                                                                                          POTTERVILLE        MI   48876‐9521
SCOTT L AITKEN       1375 GAGE RD                                                                                                  TOLEDO             OH   43612‐4019
SCOTT L COLQUHOUN    208 E. MAIN ST                                                                                                SPRING VALLEY      OH   45370
SCOTT L LIGHTNER     1000 BOULDER DRIVE                                                                                            W. ALEXANDRIA      OH   45381‐8513
SCOTT L MILLER       S 2401 THREE ROD RD                                                                                           EAST AURORA        NY   14052
SCOTT L PATTON       480 HEATHER DRIVE                                                                                             ENGLEWOOD          OH   45322‐1134
SCOTT L PUTERBAUGH   1654 PENCE DR                                                                                                 DAYTON             OH   45432‐3316
SCOTT L SIMPSON      104 BEDFORD FARM CIR                                                                                          UNION              OH   45322‐3402
SCOTT L SORENSEN     2901 HARVEY AVE                                                                                               KETTERING          OH   45419
SCOTT L. TENNISON
SCOTT LAINE          PO BOX 7771                                                                                                   FLINT              MI   48507‐0771
SCOTT LAKE           4975 RAMBLEWOOOD DR                                                                                           COLORADO SPRINGS   CO   80920‐6611
SCOTT LAMBERT        609 LYNDHURST DR                                                                                              JANESVILLE         WI   53546‐2132
SCOTT LAMBETH        506 FOSSIL HILL DR                                                                                            ARLINGTON          TX   76002‐4706
SCOTT LAMPMAN        227 E 4TH ST                                                                                                  RED WING           NM   55066‐2710
SCOTT LANCASTER      4534 RIVERCHASE DR                                                                                            TROY               MI   48098‐4191
SCOTT LANDRY         536 SHERWOOD RD                                                                                               MITCHELL           IN   47446‐7348
SCOTT LANDSTRA       14211 RAYNHAM RD                                                                                              FORT WAYNE         IN   46814‐9137
SCOTT LANE           4213 BONITA DR                                                                                                MIDDLETOWN         OH   45044‐6683
SCOTT LANG           145 LAUREL LEAH                                                                                               OXFORD             MI   48371‐6333
SCOTT LANGDORF       1202 IRVING AVE                                                                                               ROYAL OAK          MI   48067‐3397
SCOTT LANGE          19758 YVONNE DR                                                                                               MACOMB             MI   48044‐6316
SCOTT LAPINSKI       68 LA SOLIS DR                                                                                                GREECE             NY   14626‐4316
SCOTT LAPPE          PO BOX 126564                                                                                                 BENBROOK           TX   76126‐6564
SCOTT LARRY          12377 S CLEVELAND AVE STE 6                                                                                   FORT MYERS         FL   33907‐3811
SCOTT LARSEN         3652 BARBERRY CIR                                                                                             WIXOM              MI   48393‐1101
SCOTT LAUFENBERG     4070 N 133RD ST                                                                                               BROOKFIELD         WI   53005‐1702
SCOTT LAVEEN         2208 COMMONS AVE                                                                                              JANESVILLE         WI   53546‐5966
SCOTT LAWSON         357 WOODLAKE DR                                                                                               BRIGHTON           MI   48116‐2062
SCOTT LAWSON         7779 PARKCREST CIR                                                                                            CLARKSTON          MI   48348‐2968
SCOTT LEBEAU
SCOTT LEDOUX         1504 NW 6TH ST                                                                                                MCMINNVILLE        OR   97128‐5106
SCOTT LEGLEITNER     2220 W MAPLE AVE                                                                                              FLINT              MI   48507‐3506
SCOTT LEIN           7412 S CRANE DR                                                                                               OAK CREEK          WI   53154‐2408
SCOTT LEMBACH        1241 E FRANCES RD                                                                                             MOUNT MORRIS       MI   48458‐1103
SCOTT LEMOINE        220 N PINE ST                                                                                                 JANESVILLE         WI   53548‐3589
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Name                                  Address1                        Address2                         Address3                   Address4                 City               State Zip
SCOTT LENHART                         24643 COLGATE ST                                                                                                     DEARBORN HTS        MI 48125‐1607
SCOTT LESLIE                          28049 N WALES RD                                                                                                     ELKMONT             AL 35620‐4851
SCOTT LESTER                          2322 S ELMS RD                                                                                                       SWARTZ CREEK        MI 48473‐9730
SCOTT LETTMAN                         N8966 BLAZER RD                                                                                                      BELLEVILLE          WI 53508‐9658
SCOTT LEWIS                           36126 ACTON ST                                                                                                       CLINTON TOWNSHIP    MI 48035‐1401
SCOTT LINGG                           13118 BERTINELLI CV                                                                                                  FORT WAYNE          IN 46845‐8713
SCOTT LINTON                          8018 CLARK STATION RD                                                                                                SEVERN              MD 21144‐2730
SCOTT LIPKA                           1344 BUTLER BLVD                                                                                                     HOWELL              MI 48843‐1306
SCOTT LISKE                           APT 1                           13020 PRINCETON STREET                                                               TAYLOR              MI 48180‐4581
SCOTT LITWILLER                       1360 W MEAD RD                                                                                                       SAINT JOHNS         MI 48879‐9411
SCOTT LIVINGSTON                      7300 BLUEWATER DR APT 108                                                                                            CLARKSTON           MI 48348‐4229
SCOTT LOBERT                          607 FOREST ST                                                                                                        EATON RAPIDS        MI 48827‐1523
SCOTT LOCKWOOD                        7895 STATE RD                                                                                                        COLDEN              NY 14033‐9738
SCOTT LOGISTICS CORP                  106 E 8TH AVE                                                                                                        ROME                GA 30161‐5204
SCOTT LOLL                            15051 E STREET RD                                                                                                    MONTROSE            MI 48457‐9328
SCOTT LONSBERRY                       12232 S WACOUSTA RD                                                                                                  EAGLE               MI 48822‐9515
SCOTT LOOKABAUGH                      3980 N MAIN ST                                                                                                       MANSFIELD           OH 44903‐9722
SCOTT LORENZEN                        5530 SAN PEDRO DR                                                                                                    TOLEDO              OH 43612‐3343
SCOTT LOUNDS                          1110 GROVENBURG RD                                                                                                   HOLT                MI 48842‐8662
SCOTT LOUVENIA                        6021 GOODFELLOW DR                                                                                                   SUITLAND            MD 20746‐3712
SCOTT LOVE                            8119 CAMPBELL STREET                                                                                                 SANDUSKY            OH 44870‐9368
SCOTT LOVELL                          3913 HARDING ST                                                                                                      DEARBORN HEIGHTS    MI 48125‐2825
SCOTT LOWN                            315 CHERITON ST                                                                                                      WALLED LAKE         MI 48390‐3624
SCOTT LUBACZEWSKI                     535 CASS AVENUE RD                                                                                                   BAY CITY            MI 48708‐9145
SCOTT LUCAS CLINGER, WHITNEY ASHTON   AND SHERRI CLINGER              ATTN PAUL J KOMYATTE             GILBERT, OLLANIK &         5400 WARD RD BLDG IV STE ARVADA              CO 80002
CLINGER, DOUGLAS CLINER                                                                                KOMYATTE P C               200
SCOTT LUCAS, WHITNEY ASHTON,          PAUL J KOMYATTE                 GILBERT, OLLANIK & KOMYATTE PC   5400 WARD RD BLDG IV STE                            ARVADA             CO 80002
DOUGLAS & SHERRI CLINGER                                                                               200
SCOTT LUKAS CLINGER                   PAUL J KOMYATTE                 GILBER, OLLANIK & KOMYATTE PC    5400 WARD RD BLDG IV STE                          ARVADA               CO 80002
                                                                                                       200
SCOTT LUMSDEN                         214 GROSVENOR DR                                                                                                   ROCHESTER HILLS      MI   48307‐3170
SCOTT LYMBURNER                       6410 PARKMONT DR                                                                                                   ARLINGTON            TX   76001‐5687
SCOTT LYON                            3222 CHANCELLOR DR                                                                                                 FORT WAYNE           IN   46815‐5928
SCOTT M ANDERSON                      13 STUART DR                                                                                                       EAST BRUNSWIC        NJ   08816
SCOTT M BAKER                         928 TRADEWIND DRIVE                                                                                                MASON                OH   45040
SCOTT M BARBATO                       4778 S MANNING RD R                                                                                                HOLLEY               NY   14470
SCOTT M BELLINO                       17438 IDYLWILD AVE                                                                                                 LAKE MILTON          OH   44429‐9759
SCOTT M BOBO                          1555 BEASLEY RD.                                                                                                   JACKSON              MS   39206‐2022
SCOTT M BOYER                         3317 E STROOP RD                APT 202                                                                            DAYTON               OH   45440‐1363
SCOTT M CHURCH                        4857 POLEN DR                                                                                                      KETTERING            OH   45440
SCOTT M DOOLEY                        206 DAKOTA ST                                                                                                      YPSILANTI            MI   48198‐6016
SCOTT M HAGGERTY                      12250 LAKE RD                                                                                                      MONTROSE             MI   48457‐9429
SCOTT M HAYES                         37 OLD FARM CIR                                                                                                    PITTSFORD            NY   14534‐3005
SCOTT M HAYWOOD                       1004 LINWOOD PLACE                                                                                                 NO. BRUNSWICK        NJ   08902‐2251
SCOTT M JONES                         240 GRAFTON AVE                 APT K                                                                              DAYTON               OH   45406
SCOTT M KWIT                          48951 DENTON RD                 APT 301                                                                            BELLEVILLE           MI   48111‐2138
SCOTT M LAMB                          1625 TREMONT AVE                                                                                                   KETTERING            OH   45429
SCOTT M MORR                          831 LEEKA RD.                                                                                                      NEW VIENNA           OH   45159
SCOTT M PETERS                        813 WESTHAFER RD                                                                                                   VANDALIA             OH   45377‐2838
SCOTT M PRICE                         304 WRIGHT AVE                                                                                                     SYRACUSE             NY   13211‐1546
SCOTT M RECTOR                        5719 MARBLEHEAD DRIVE                                                                                              DAYTON               OH   45431‐2917
SCOTT M REED                          6411 JIMTOWN RD                                                                                                    E. PALESTINE         OH   44413
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Name                                  Address1                        Address2                           Address3          Address4         City                 State Zip
SCOTT M RUTKOSKI                      1109 N JOHNSON ST                                                                                     BAY CITY              MI 48708‐6253
SCOTT M TERENA                        66 POLARIS STREET                                                                                     ROCHESTER             NY 14606‐3014
SCOTT M THOMAS                        2262 E BATAAN DR                                                                                      DAYTON                OH 45420
SCOTT M VANDENBELT                    900 CENTER AVE                                                                                        BAY CITY              MI 48708‐6189
SCOTT M WOOD                          33 E LONGFELLOW AVE                                                                                   PONTIAC               MI 48340‐2743
SCOTT MA                              4768 SQUIRREL HILL DR                                                                                 TROY                  MI 48098‐6632
SCOTT MAAG                            15178 RD 22‐K                                                                                         CLOVERDALE            OH 45827
SCOTT MABRY                           1386 ROY SELLERS RD                                                                                   COLUMBIA              TN 38401‐1300
SCOTT MACHIN/HELENA                   ELM STREET                      HELENA INDUSTRIAL PARK                                                HELENA                AL 35080
SCOTT MACKEY                          1210 STATE RD NW                                                                                      WARREN                OH 44481‐9178
SCOTT MACKIE                          13192 MACNEIL CT                                                                                      MILFORD               MI 48380‐3082
SCOTT MACMILLAN                       1237 FOUR WINDS CT                                                                                    NILES                 OH 44446‐3573
SCOTT MAHAN                           10476 JEWELL RD                                                                                       GAINES                MI 48436‐9721
SCOTT MAIFERT                         17461 GAYLORD                                                                                         REDFORD               MI 48240‐2315
SCOTT MAILAND                         6303 S LOWELL RD                                                                                      SAINT JOHNS           MI 48879‐9252
SCOTT MALATESTA                       3935 CARISSA TRACE                                                                                    CUMMING               GA 30040‐6175
SCOTT MALLICOTE                       7730 SIDEN DR                                                                                         HANOVER               MD 21076‐1628
SCOTT MANN                            3714 JOHN BILL DOBBINS RD                                                                             WILLIAMSPORT          TN 38487‐2021
SCOTT MARK                            SCOTT, MARK                     800 FINANCIAL CENTER ‐ 505 NORTH                                      BIRMINGHAM            AL 35203
                                                                      20TH ST
SCOTT MARKS                           14760 INGRAM ST                                                                                       LIVONIA              MI   48154‐3560
SCOTT MARTIN                          7573 BRIDGEWAY DR                                                                                     TEMPERANCE           MI   48182‐9234
SCOTT MARTIN                          SCOTT MARTIN                    110 KIMBLE ST                                                         BELLE CHASSE         LA   70037‐2819
SCOTT MARTIN                          SCOTT, MARTIN                   FARMERS INSURANCE GROUP            P.O. BOX 268992                    OKLAHOMA CITY        OK   73126‐8992
SCOTT MARVIN H (ESTATE OF) (483573)   WEITZ & LUXENBERG               180 MAIDEN LANE                                                       NEW YORK             NY   10038

SCOTT MARY E                       DBA SCOTT RESOURCE GROUP           957 FARMINGTON AVE                                                    WEST HARTFORD        CT   06107‐2101
SCOTT MARY L                       9240 RANGER DR                                                                                           STANWOOD             MI   49346
SCOTT MASSEY                       11306 DOUGHERTY RUN                                                                                      FORT WAYNE           IN   46845‐2131
SCOTT MASTERSON                    5400 SILVERTON DR                                                                                        GRAND BLANC          MI   48439‐4342
SCOTT MATSON                       34 MARAVILLA WAY                                                                                         HOT SPRINGS VALLEY   AR   71909
SCOTT MAURER                       BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS           OH   44236
SCOTT MAYNARD                      1755 ROYAL OAK ST SW                                                                                     WYOMING              MI   49519‐3349
SCOTT MAZNER                       13512 COTTONWOOD CT                                                                                      DEWITT               MI   48820‐9058
SCOTT MC CLELLAN                   525 COLEMAN ST SE                                                                                        GRAND RAPIDS         MI   49548‐7380
SCOTT MC DANIEL                    5070 WINDSOR HWY                                                                                         POTTERVILLE          MI   48876‐8762
SCOTT MC DONALD                    1157 MEADOWCREST DR                                                                                      WATERFORD            MI   48327‐2939
SCOTT MC LEAN                      240 WASHINGTON PKWY                                                                                      STRATFORD            CT   06615‐7814
SCOTT MC LEAN                      400 JULIET DR                                                                                            ALMONT               MI   48003‐8613
SCOTT MC QUEEN                     7488 HAMPTON DR                                                                                          DAVISON              MI   48423‐2205
SCOTT MCBRIDE                      DISTRICT ATTORNEY'S OFFICE         PO BOX 1498                                                           FAYETTEVILLE         GA   30214‐6498
SCOTT MCCLELLAND                   934 PARK AVE E                                                                                           MANSFIELD            OH   44905‐2803
SCOTT MCCLOUD                      9696 CRAUN RD                                                                                            DEWITT               MI   48820‐9123
SCOTT MCCREDY CHEVROLET‐OLDSMOBILE 124 ELM ST                                                                                               PENN YAN             NY   14527‐1412

SCOTT MCCULLOUGH                      42519 JO ED DR                                                                                        STERLING HEIGHTS     MI   48314‐3039
SCOTT MCDANIEL JR                     PO BOX 310084                                                                                         FLINT                MI   48531‐0084
SCOTT MCDONNELL                       8500 N COUNTY ROAD 1000 W                                                                             MIDDLETOWN           IN   47356‐9393
SCOTT MCDONOUGH                       2355 HOMESTEAD CT                                                                                     HOLLY                MI   48442‐8675
SCOTT MCDOUGAL                        262 CAMP ST NW                                                                                        MARIETTA             GA   30064‐2210
SCOTT MCGINN                          26625 HUMBER ST                                                                                       HUNTINGTON WOODS     MI   48070‐1223
SCOTT MCINTYRE
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Name                    Address1                         Address2                   Address3   Address4         City                  State Zip
SCOTT MCKIBBEN          15395 S STATE ROUTE 66                                                                  DEFIANCE               OH 43512‐6803
SCOTT MCLANE            21619 OXFORD AVE                                                                        FARMINGTON HILLS       MI 48336‐5741
SCOTT MCLAREN           45515 MUIRFIELD DR                                                                      CANTON                 MI 48188‐1098
SCOTT MCMILLAN          422 JONATHAN DR                                                                         ROCHESTER HILLS        MI 48307‐5264
SCOTT MCMILLIN          9148 BLUE PINE DR                                                                       INDIANAPOLIS           IN 46231‐4285
SCOTT MCPHERSON         5143 4TH AVE SW                                                                         GRANDVILLE             MI 49418‐9428
SCOTT MCPHERSON         230 N 115TH ST                                                                          WAUWATOSA              WI 53226‐4012
SCOTT MCWHINNIE         95 DOVER RD                                                                             WATERFORD              MI 48328‐3570
SCOTT MELBY             1135 PARALLEL ST                                                                        FENTON                 MI 48430‐2216
SCOTT MERCER
SCOTT MERCHANT          7787 NIXON RD                                                                           CHARLOTTE             MI   48813‐9340
SCOTT MERRITT           2 PARRAN DR                                                                             KETTERING             OH   45420‐2926
SCOTT MESEKE            7381 CADES CV                                                                           CENTERVILLE           OH   45459‐4889
SCOTT METIVA            5194 OTSEGO ST                                                                          BURTON                MI   48509‐2024
SCOTT MEYER             9436 N SERNS RD                                                                         MILTON                WI   53563‐8732
SCOTT MICHAEL J         SCOTT, MICHAEL J                 3018 N BIG ROCK PL                                     MERIDIAN              ID   83646‐3499
SCOTT MICHELI           108 W RALEIGH AVE                                                                       MANSFIELD             OH   44907‐1336
SCOTT MICHELI           108 WEST RALEIGH AVENUE                                                                 MANSFIELD             OH   44907‐1336
SCOTT MILES             11600 REED RD                                                                           BANCROFT              MI   48414‐9768
SCOTT MILLER            3830 W 44TH ST                                                                          DAVENPORT             IA   52806‐5055
SCOTT MILLER            PO BOX 9022                                                                             WARREN                MI   48090‐9022
SCOTT MILLER            5410 MILL RACE WAY                                                                      COMMERCE TWP          MI   48382‐5002
SCOTT MILLER            554 WATSON BRANCH DR                                                                    FRANKLIN              TN   37064‐5129
SCOTT MILLER            S 2401 THREE ROD RD                                                                     EAST AURORA           NY   14052
SCOTT MILLER            114 N SANDERSON AVE                                                                     ELSBERRY              MO   63343‐1134
SCOTT MILLER            1548 KELLOGG AVE                                                                        JANESVILLE            WI   53546‐6024
SCOTT MILLER            55 OPEN GATE CT                                                                         NOTTINGHAM            MD   21236‐1680
SCOTT MILLER            6080 SADDLEWOOD DR                                                                      TOLEDO                OH   43613‐1659
SCOTT MILLER JR         1847 RUSSELL AVE                                                                        SPRINGFIELD           OH   45506‐2948
SCOTT MINNIE & WILLIE   329 SYCAMORE RD                                                                         COLLIERVILLE          TN   38017‐9302
SCOTT MINOR             539 S BATES ST                                                                          BIRMINGHAM            MI   48009‐1422
SCOTT MIRA              14792 BASSETT ST                                                                        LIVONIA               MI   48154‐4702
SCOTT MIRACLE           53697 HURON DR                                                                          CHESTERFIELD          MI   48051‐1586
SCOTT MITCHELL          106 FOX RUN DR                                                                          VENETIA               PA   15367‐1440
SCOTT MITCHELL          5210 MEADOWWOOD DR                                                                      BON AQUA              TN   37025‐1425
SCOTT MIX               1211 CAVALCADE DR                                                                       YOUNGSTOWN            OH   44515‐3841
SCOTT MOCKERMAN         11509 NORTH GENESEE ROAD                                                                CLIO                  MI   48420‐9755
SCOTT MODEL             2834 SKYLINE CIR                                                                        STOUGHTON             WI   53589‐3248
SCOTT MOLES             6165 BALFOUR DR                                                                         LANSING               MI   48911‐5437
SCOTT MOORE             2421 BEECHWOOD DR                                                                       ROYAL OAK             MI   48073‐4006
SCOTT MOOREHEAD         15062 DUXBURY LN                                                                        LANSING               MI   48906‐9321
SCOTT MOOSE             1113 WILLIS HILL RD                                                                     VICTOR                NY   14564‐9114
SCOTT MORRIS            42053 SUTTERS LN                                                                        NORTHVILLE            MI   48168‐2071
SCOTT MORRIS            3113 BESSIE ST                                                                          AUBURN HILLS          MI   48326‐3603
SCOTT MORRISON          603 FAIRFORD RD                                                                         GROSSE POINTE WOODS   MI   48236‐2411
SCOTT MORTON            1209 JENNE STREET                                                                       GRAND LEDGE           MI   48837‐1810
SCOTT MOTOR COMPANY     100 W LIBERTY ST #800                                                                   RENO                  NV   89501
SCOTT MOTOR COMPANY     2401 S VIRGINIA ST                                                                      RENO                  NV   89502‐3714
SCOTT MOTOR COMPANY     WM. BEN SCOTT                    2401 S VIRGINIA ST                                     RENO                  NV   89502‐3714
SCOTT MOTOR COMPANY     RUSSELL GALLAGHER & FULLER LTD   100 W LIBERTY ST STE 800                               RENO                  NV   89501‐1954
SCOTT MOUSER            20 SMITH RD                                                                             PARSONSFIELD          ME   04047‐6845
SCOTT MRDEZA            11260 E CORUNNA RD                                                                      LENNON                MI   48449‐9654
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Name                                  Address1                             Address2                  Address3                   Address4         City                State Zip
SCOTT MUDGE                           2433 SOMERVILLE DR                                                                                         OXFORD               MI 48371‐5979
SCOTT MUELLER                         8504 ARBOR TRACE DR                                                                                        VERONA               WI 53593‐8760
SCOTT MULLINS                         APT 107                              45745 SPRING LANE                                                     SHELBY TWP           MI 48317‐4850
SCOTT MUNDY                           10835 INDEPENDENCE WAY                                                                                     CARMEL               IN 46032‐9336
SCOTT MUNERANCE                       9074 SEAVER CT                                                                                             GRAND BLANC          MI 48439‐8098
SCOTT MURTO                           15048 S TALLMAN RD                                                                                         EAGLE                MI 48822‐9706
SCOTT MUSLADIN                        LEVIN SIMES KAISER AND GORNICK LLP   ATTN JEFFREY KAISER       44 MONTGOMERY ST 36TH FL                    SAN FRANCISCO        CA 94104

SCOTT MYERS                           14474 SCHLEWEIS RD                                                                                         MANCHESTER          MI   48158‐9641
SCOTT N DUNAWAY                       3966 BELVO                                                                                                 MIAMISBURG          OH   45342‐3939
SCOTT N SHAMPTON                      2360 FERNDOWN DRIVE                                                                                        MIAMISBURG          OH   45342
SCOTT NADEAU                          8438 ADLER RD                                                                                              LAMBERTVILLE        MI   48144‐9779
SCOTT NAGEL                           15858 MOYER RD                                                                                             GERMANTOWN          OH   45327‐9745
SCOTT NASH                            4960 DAVID HWY                                                                                             LYONS               MI   48851‐9720
SCOTT NEHER                           2169 CUMBERLAND DR                                                                                         TROY                MI   48085‐3634
SCOTT NELSON                          825 ROBINS RD                                                                                              LANSING             MI   48917‐2091
SCOTT NEMETH                          6300 WEBER RD                                                                                              SALINE              MI   48176‐9204
SCOTT NICHOLS                         530 OXBOW DR                                                                                               MONUMENT            CO   80132‐6028
SCOTT NICHOLS                         PO BOX 80722                                                                                               LANSING             MI   48908‐0722
SCOTT NICHOLS, INC.                   WILLIAM NICHOLS                      2750 HIGHWAY 180 E                                                    SILVER CITY         NM   88061‐7702
SCOTT NICHOLS, INC.                   ATTN: THOMAS COOPER                  2750 HIGHWAY 180 E                                                    SILVER CITY         NM   88061‐7702
SCOTT NICHOLS, INC.                   THOMAS COOPER                        2750 HIGHWAY 180 E                                                    SILVER CITY         NM   88061‐7702
SCOTT NIEMIEC                         7952 FLAGSTAFF ST                                                                                          COMMERCE TOWNSHIP   MI   48382‐2327
SCOTT NISBET                          1362 N MORRISH RD                                                                                          FLINT               MI   48532‐2058
SCOTT NOGA                            465 S NEWMAN RD                                                                                            LAKE ORION          MI   48362‐2132
SCOTT NOLKEMPER                       10523 JENNINGS RD                                                                                          GRAND BLANC         MI   48439‐9330
SCOTT NORINE                          W355S2825 MANOR HOUSE RD                                                                                   OCONOMOWOC          WI   53066‐8781
SCOTT NOVER                           301 GREEN                                                                                                  PERRY               MI   48872‐9502
SCOTT NOVICK                          661 TOWLE WAY                                                                                              PALO ALTO           CA   94306
SCOTT NOWOSIELSKI                     56675 MOUNT VERNON RD                                                                                      SHELBY TOWNSHIP     MI   48316‐4826
SCOTT O FLADMARK                      705 SOMERSET DR                                                                                            JANESVILLE          WI   53546‐1838
SCOTT O WARD                          721 CLARK STREET                                                                                           FRANKLIN            OH   45005‐2506
SCOTT OBLOJ                           8279 BENNETT LAKE RD                                                                                       FENTON              MI   48430‐9088
SCOTT ODOM                            1515 E 400 N                                                                                               ANDERSON            IN   46012‐9396
SCOTT OLIVER                          5680 WILLOW GROVE DR                                                                                       TROY                MI   48085‐6102
SCOTT OLLIE (499383)                  LIPMAN DAVID M                       5901 SW 74TH ST STE 304                                               MIAMI               FL   33143‐5163
SCOTT OSBORN                          7305 UNIVERSITY DR                                                                                         MOORPARK            CA   93021‐3241
SCOTT OSTENFELD                       155 HALLETTE DR                                                                                            SHREVEPORT          LA   71115‐2959
SCOTT OTTERSON                        18072 N LAUREN DR                                                                                          CLINTON TWP         MI   48038‐5226
SCOTT OVERDORF                        2008 N B ST                                                                                                ELWOOD              IN   46036‐1746
SCOTT OVERFIELD                       PO BOX 587                                                                                                 FENTON              MI   48430‐0587
SCOTT OWENS                           3325 PINE RUN DR                                                                                           SWARTZ CREEK        MI   48473‐8636
SCOTT P ABBOTT PERSONAL               C/O BRAYTON PURCELL                  222 RUSH LANDING RD                                                   NOVATO              CA   94948‐6169
REPRESENTATIVE FOR WILLIAM M ABBOTT

SCOTT P COREY                         878 DART RD                                                                                                MASON               MI   48854‐9355
SCOTT P HORCHA                        4345 GENOA DR                                                                                              LUNA PIER           MI   48157‐9776
SCOTT P LAMB                          360 N MAIN ST                                                                                              WAYNESVILLE         OH   45068
SCOTT P REYNOLDS                      3504 HARWOOD ST                                                                                            KETTERING           OH   45429‐4223
SCOTT P RYMOFF                        5047 LAUDERDALE DR                                                                                         MORAINE             OH   45439‐2926
SCOTT P STAJDL                        2595 S. CENTER RD.                                                                                         SAGINAW             MI   48609
SCOTT PAASCH                          7682 GILBERT RD                                                                                            BERGEN              NY   14416
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Name                      Address1                      Address2                 Address3    Address4         City               State Zip
SCOTT PADILLA             12791 JULMAR DR                                                                     BYRON               MI 48418‐9123
SCOTT PAGAN               1149 PICKWICK PL                                                                    FLINT               MI 48507‐3737
SCOTT PALM                2922 GETZ RD                                                                        FORT WAYNE          IN 46804‐3019
SCOTT PALMER              4880 S COCHRAN RD                                                                   CHARLOTTE           MI 48813‐9182
SCOTT PAMELA S            4171 CYPRESS ST                                                                     BUTLER              PA 16001‐2885
SCOTT PAPER COMPANY       SCOTT PLAZA 2                                                                       PHILADELPHIA        PA 19113
SCOTT PARKER              2535 W WALTON BLVD                                                                  WATERFORD           MI 48329‐4437
SCOTT PARKS               PO BOX 292                                                                          DURAND              MI 48429‐0292
SCOTT PARMELEE            PO BOX 74                                                                           POMPEII             MI 48874‐0074
SCOTT PARRISH             21186 PARKLANE ST                                                                   FARMINGTON HILLS    MI 48335‐4419
SCOTT PATINO              12120 S BAUER RD                                                                    EAGLE               MI 48822‐9742
SCOTT PATRICIA            SCOTT, PATRICIA               700 E MAIN ST STE 1600                                RICHMOND            VA 23219‐2604
SCOTT PATTERSON           607 GIOTTI CT                                                                       WENTZVILLE          MO 63385‐3837
SCOTT PAWLAK              3930 BRIGHTON LN                                                                    CANTON              MI 48188‐7201
SCOTT PAYNE               13625 SANDSTONE CT                                                                  FORT WAYNE          IN 46814‐8825
SCOTT PEARSON             1410 SHARP ST                                                                       LAKE ORION          MI 48362‐3748
SCOTT PEKRUL              6186 BOYGAN LAKE RD                                                                 LAND O LAKES        WI 54540‐9751
SCOTT PELKEY              1212 S MICHIGAN AVE                                                                 SAGINAW             MI 48602‐1406
SCOTT PERSONS             3083 E BIRCH DR                                                                     BAY CITY            MI 48706‐1201
SCOTT PESONEN             7161 SHELDON RD                                                                     WHITMORE LAKE       MI 48189‐9154
SCOTT PETERS              379 BARRINGTON ST                                                                   ROCHESTER           NY 14607‐3304
SCOTT PETERSEN
SCOTT PETERSON            3361 COLBY LN                                                                       JANESVILLE         WI   53546‐1953
SCOTT PETERSON            1509 S BERRY RD                                                                     NORMAN             OK   73072‐6302
SCOTT PETRITIS            14566 COLPAERT DR                                                                   WARREN             MI   48088‐2915
SCOTT PETTO               15098 PEACOCK RD                                                                    HASLETT            MI   48840‐9315
SCOTT PHELPS              977 GARY AVE                                                                        GIRARD             OH   44420‐1941
SCOTT PHILLIPS            3805 GREENBROOK LANE                                                                FLINT              MI   48507‐2221
SCOTT PHILLIPS            1011 SCARLETT DR                                                                    CROSSVILLE         TN   38555‐8805
SCOTT PIERCE              PO BOX 143                                                                          BRADLEY            MI   49311‐0143
SCOTT PINKLEY             11218 CHESTNUT RIDGE CT                                                             FORT WAYNE         IN   46814‐9036
SCOTT PITSER              17082 THYME CT                                                                      PUNTA GORDA        FL   33955‐4400
SCOTT POHL                6085 DEXTER TRL                                                                     SAINT JOHNS        MI   48879‐9239
SCOTT POINSETT            4162 HEATHER HILL DR                                                                GRAND BLANC        MI   48439‐7998
SCOTT POISSON             10221 TWIN PONDS DR                                                                 GOODRICH           MI   48438‐9240
SCOTT POLLACK             40897 DELTA DR                                                                      NORTHVILLE         MI   48168‐3238
SCOTT PONTIAC GMC         3342 SANTA ANITA AVE                                                                EL MONTE           CA   91731‐2423
SCOTT PONTIAC GMC         11705 VALLEY BLVD                                                                   EL MONTE           CA   91732‐3037
SCOTT POOLMAN             2925 COVINGTON FARMS RD                                                             FORT WAYNE         IN   46814‐7494
SCOTT POSTL               6 CAMBOURNE CT                                                                      SAINT PETERS       MO   63376‐5245
SCOTT POTTS               921 MILL ST                                                                         FENTON             MI   48430‐2824
SCOTT POULS               4113 LANCO CT                                                                       WATERFORD          MI   48329‐4116
SCOTT POWELL              1107 BESSEMER RD NW                                                                 HUNTSVILLE         AL   35816‐2301
SCOTT POWERS              6612 183RD ST                                                                       CHIPPEWA FALLS     WI   54729
SCOTT PRICE               4005 LINWOOD AVE                                                                    ROYAL OAK          MI   48073‐1844
SCOTT PRINS               749 MOUNT OLIVET RD                                                                 COLUMBIA           TN   38401‐6745
SCOTT PRINTUP             4585 LAPEER RD                                                                      COLUMBIAVILLE      MI   48421‐9600
SCOTT PROPER              36 CORNELL AVE                                                                      MASSENA            NY   13662‐1422
SCOTT QUINLAN             9270 BRUCE ROAD                                                                     DECATUR            IL   62526‐8424
SCOTT QUINN               3683 DANBRIDGE DR                                                                   LANSING            MI   48906‐9277
SCOTT R & ROZANNE SMITH   1910 SW 42 AVE                                                                      GAINESVILLE        FL   32608
SCOTT R AIKEN             18 FERNWOOD AVE APT 2                                                               DAYTON             OH   45405
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Name                       Address1                         Address2                        Address3   Address4               City           State Zip
SCOTT R BAKER              805 JORPARK CIRCLE                                                                                 SPENCERPORT     NY 14559
SCOTT R BARLOW             1873 CAROL LN                                                                                      SAINT PAUL      MN 55118
SCOTT R BROYLES            1322 HOLLY AVE                                                                                     DAYTON          OH 45410
SCOTT R CALLAHAN           7066 WEIDNER RD                                                                                    FRANKLIN        OH 45005‐‐ 94
SCOTT R CREECH             385 OREGON ST                                                                                      YPSILANTI       MI 48198‐7824
SCOTT R DAVIS              122 IRONGATE DR                                                                                    ENGLEWOOD       OH 45322
SCOTT R HENDRICKSON        4617 KARAMAR DR                                                                                    SAINT LOUIS     MO 63128‐3909
SCOTT R HILDEBRAND         3412 HACKNEY AVE                                                                                   KETTERING       OH 45420
SCOTT R HOPKINS            4227 WOODACRE DRIVE                                                                                BELLBROOK       OH 45305‐1344
SCOTT R KREITZER           115 TRACTION AVE.                                                                                  NEW LEBANON     OH 45345‐1141
SCOTT R NOVER              301 GREEN                                                                                          PERRY           MI 48872‐9502
SCOTT R PATRICK            98 APPLE CREEK LANE                                                                                ROCHESTER       NY 14612‐3444
SCOTT R PETTIT             45 SPRINGWOOD DR                                                                                   SPRINGBORO      OH 45066‐1038
SCOTT R RANNEY             139 DUNLOP AVE                                                                                     TONAWANDA       NY 14150‐7810
SCOTT R ROSCOE             445 BELMONT AVE NW                                                                                 WARREN          OH 44483‐4715
SCOTT R SMITH              936 BLACK ROCK ROAD                                                                                GLADWYNE        PA 19035
SCOTT R TRUBATCH           28 FROST MEADOW TRL                                                                                ROCHESTER       NY 14612
SCOTT R WALTON             221 SILVER LEAF CIR                                                                                ROCK HILL       SC 29732‐9147
SCOTT R WATKINS            14273 GILLETTE RD                                                                                  ALBION          NY 14411‐9409
SCOTT RAISOR               8740 N. 500 E.                                                                                     CAMDEN          IN 46917
SCOTT RANDELL
SCOTT RANFT                3975 US HIGHWAY 50 W                                                                               MITCHELL        IN   47446‐5417
SCOTT RAPACH
SCOTT RAPS                 7000 NE 56TH ST                                                                                    KANSAS CITY    MO    64119‐3321
SCOTT RASE                 762 BAY RD                                                                                         BAY CITY       MI    48706‐1920
SCOTT RATHBUN              1104 S DELANEY RD                                                                                  OWOSSO         MI    48867‐9111
SCOTT RATLIFF              11404 HIGHWAY 80                                                                                   GREENWOOD      LA    71033‐2104
SCOTT RAYMOND (492151)     BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD     OH    44067
                                                            PROFESSIONAL BLDG
SCOTT RAYMOND L (351321)   ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                          WILMINGTON     DE    19801‐1813
SCOTT REAGOR               2137 LEE RD                                                                                        SPRING HILL    TN    37174‐2520
SCOTT REED                 4873 SIMPSON RD                                                                                    OWOSSO         MI    48867‐9379
SCOTT REED                 8100 CARPENTER RD                                                                                  YPSILANTI      MI    48197‐9245
SCOTT REID                 1020 RAINTREE DRIVE                                                                                APOLLO         PA    15613‐7605
SCOTT REILLY               12289 WINDCLIFF                                                                                    DAVISBURG      MI    48350‐1676
SCOTT REINHARDT
SCOTT REUSCH               332 N EUCLID AVE                                                                                   LAKE HELEN     FL    32744‐2403
SCOTT REYNOLDS             124 S 29TH ST                                                                                      LAFAYETTE      IN    47904‐3131
SCOTT RHOADES              8916 DONTREE WAY                                                                                   ELK GROVE      CA    95624
SCOTT RICHARDS             1141 CHRIS J DR                                                                                    LANSING        MI    48917‐9234
SCOTT RICHMOND             6296 TAMARA DR                                                                                     FLINT          MI    48506‐1731
SCOTT RICHMOND             9230 AETNA RD                                                                                      CHURUBUSCO     IN    46723‐9475
SCOTT RIGNEY               5306 GRAND CANYON DR                                                                               MEDINA         OH    44256‐7170
SCOTT RIPPER               4141 OAK AVE                                                                                       BROOKFIELD     IL    60513‐2001
SCOTT RISINGER             9434 SEYMOUR RD                                                                                    SWARTZ CREEK   MI    48473‐9129
SCOTT ROAD TRADING LTD     12855 KING GEORGE HIGHWAY                                                   SURREY CANADA BC V3T
                                                                                                       2T1 CANADA
SCOTT ROBBINS              3925 N SUGAR LN                                                                                    BLOOMINGTON    IN    47404‐1104
SCOTT ROBERSON             906 N JACKSON ST APT B                                                                             BAY CITY       MI    48708‐5924
SCOTT ROBERT               14518 ABINGTON AVE                                                                                 DETROIT        MI    48227‐1408
SCOTT ROBERT               PO BOX 968                                                                                         DECATUR        TX    76234‐0968
SCOTT ROBERT               C/O EDWARD O MOODY PA            801 WEST FOURTH STREET                                            LITTLE ROCK    AR    72201
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Name                                   Address1                        Address2                         Address3   Address4         City            State Zip
SCOTT ROBERT (468746)                  KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                CLEVELAND        OH 44114
                                                                       BOND COURT BUILDING
SCOTT ROBERT C                         3067 N BELSAY RD                                                                             FLINT           MI 48506‐2232
SCOTT ROBERT D (482006)                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK         VA 23510
                                                                       STREET, SUITE 600
SCOTT ROBERT E (413285)                WEITZ & LUXENBERG               180 MAIDEN LANE                                              NEW YORK        NY 10038
SCOTT ROBERT L (354911)                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK         VA 23510
                                                                       STREET, SUITE 600
SCOTT ROBERT L ‐ FL (319964)           BROWN TERRELL HOGAN ELLIS       804 BLACKSTONE BLDG , 233 EAST                               JACKSONVILLE     FL   32202
                                       MCCLAMMA & YEGELWEL P.A.        BAY STREET
SCOTT ROBERT L ‐ VA (350152)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK         VA 23510
                                                                       STREET, SUITE 600
SCOTT ROBINSON                         815 ENCINO DR                                                                                ARLINGTON       TX    76001‐6147
SCOTT ROBINSON                         PO BOX 9022                     C/O KOREA                                                    WARREN          MI    48090‐9022
SCOTT ROBISON                          5152 BERNEDA DR                                                                              FLINT           MI    48506‐1588
SCOTT ROBRAHN                          7464 EASTLANE AVE                                                                            JENISON         MI    49428‐8922
SCOTT ROCC
SCOTT RODENBECK                        2502 GADWALL CIR                                                                             INDIANAPOLIS    IN 46234‐9657
SCOTT ROGUS                            4645 GRANGER RD                                                                              OXFORD          MI 48371‐3303
SCOTT ROLISON                          1283 PLYMOUTH PL                                                                             DAYTONA BEACH   FL 32119‐1570
SCOTT ROLOFF
SCOTT RONALD (447587)                  BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD      OH 44067
                                                                       PROFESSIONAL BLDG
SCOTT ROSLUND                          2373 HEMPSTEAD RD                                                                            AUBURN HILLS    MI    48326‐3409
SCOTT ROSS                             PO BOX 9022                     C/O SHANGHAI                                                 WARREN          MI    48090‐9022
SCOTT ROSS                             1550 GLENDALE AVE                                                                            SAGINAW         MI    48638‐4727
SCOTT ROSS                             C/O THE MADEKSHO LAW FIRM       8866 GULF FREEWAY SUITE 440                                  HOUSTON         TX    77017
SCOTT ROTHROCK                         377 MACKEY DR                                                                                VIENNA          OH    44473‐9641
SCOTT ROTHROCK                         BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS      OH    44236
SCOTT ROWSE                            614 S 7TH ST                                                                                 SAINT CLAIR     MI    48079‐5034
SCOTT RUFUS (447588)                   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD      OH    44067
                                                                       PROFESSIONAL BLDG
SCOTT RUMRILL                          4684 LYTLE RD                                                                                CORUNNA         MI    48817‐9592
SCOTT RUSH                             12016 LANDERS DR                                                                             PLYMOUTH        MI    48170‐3521
SCOTT RUTTKOFSKY                       5729 SAND CREEK HWY                                                                          SAND CREEK      MI    49279‐9701
SCOTT S COPINGER                       21 ELM DR                                                                                    BALTIMORE       MD    21220‐5533
SCOTT S DEMYAN                         2915 ECKERT RD                                                                               LEXINGTON       OH    44904‐8600
SCOTT S GRIFFIN                        336 ORCHARD HILL DR                                                                          DAYTON          OH    45449
SCOTT S TYSON                          5315 BROBECK ST                                                                              FLINT           MI    48532‐4002
SCOTT SAAB                             SCOTT, ANDREW M.                3333 LEHIGH ST                                               ALLENTOWN       PA    18103‐7036
SCOTT SAAB                             3333 LEHIGH ST                                                                               ALLENTOWN       PA    18103‐7036
SCOTT SABRINA                          SCOTT, SABRINA                  3 SUMMIT PARK DR STE 100                                     INDEPENDENCE    OH    44131‐2598
SCOTT SAIKI                            419 W RED PINE CIR                                                                           DOUSMAN         WI    53118‐8820
SCOTT SALTER                           42301 MAYHEW DR                                                                              STERLING HTS    MI    48314‐3638
SCOTT SAMUEL JR (ESTATE OF) (639393)   BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                  WILMINGTON      DE    19899‐2165

SCOTT SANDSTROM                        15 WATSON LN                                                                                 MIDDLETOWN      DE    19709‐9387
SCOTT SANFORD                          5403 MORRISH RD                                                                              SWARTZ CREEK    MI    48473‐7625
SCOTT SATKOWIAK                        23730 EASTERLING AVE                                                                         HAZEL PARK      MI    48030‐1435
SCOTT SAVAGE                           8553 N M52                                                                                   HENDERSON       MI    48841
SCOTT SCHABOT                          12733 FOXPAW TRL                                                                             KELLER          TX    76248‐1893
SCOTT SCHANHALS                        1125 OLDE CAMERON LN                                                                         FRANKLIN        TN    37067‐8503
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Name                  Address1                        Address2                       Address3   Address4         City                  State Zip
SCOTT SCHMID          15 W 350 FILLMORE ST                                                                       ELMHURST                IL 60126
SCOTT SCHOONOVER      1012 SUTHERLAND AVE                                                                        JANESVILLE             WI 53545‐1632
SCOTT SCHOONOVER      APT 3612                        1400 NORTH STATE HIGHWAY 360                               MANSFIELD              TX 76063‐3565
SCOTT SCHORMANN       256 GREENSHIRE LN                                                                          O FALLON               MO 63368‐8363
SCOTT SCHROEDER       6808 MAPLETON DR                                                                           FORT WAYNE             IN 46845‐8953
SCOTT SCHUKNECHT      101 W MARKLE RD                                                                            HUNTINGTON             IN 46750‐9302
SCOTT SCHUMACHER      3479 W CREEDY RD                                                                           BELOIT                 WI 53511‐8763
SCOTT SCHWEDER        15041 KELLY CT                                                                             SHELBY TWP             MI 48315‐2845
SCOTT SCIDMORE        1906 BAILEYS TRACE DR                                                                      SPRING HILL            TN 37174‐6102
SCOTT SEARLES         228 E FREDERICK AVE                                                                        LANSING                MI 48906‐3226
SCOTT SEARS           149 SHANKS MILL DR                                                                         BOWLING GREEN          KY 42104‐0832
SCOTT SEELEY          39485 HEATHERHEATH DR                                                                      CLINTON TWP            MI 48038‐2644
SCOTT SELWA           9647 HEMINGWAY                                                                             REDFORD                MI 48239‐2292
SCOTT SEMRAU          8311 SHERWOOD DR                                                                           GRAND BLANC            MI 48439‐8391
SCOTT SEMRAU          402 AVALON CREEK BLVD                                                                      VIENNA                 OH 44473‐9547
SCOTT SERGENT         1405 TIMBER RIDGE CT                                                                       MILFORD                MI 48380‐3667
SCOTT SERITA          SCOTT, SERITA                   2791 EASTBROOK ROAD                                        LYNCHBURG              VA 24501‐7700
SCOTT SETTLEMIRE      258 KERBY RD                                                                               GROSSE POINTE FARMS    MI 48236‐3146
SCOTT SEXTON          686 E TENNYSON AVE                                                                         PONTIAC                MI 48340‐2958
SCOTT SEYBOLD         1324 KINNARD DR                                                                            FRANKLIN               TN 37064‐3260
SCOTT SHADWICK        1634 BEECH DR N                                                                            PLAINFIELD             IN 46168‐2129
SCOTT SHAMBLIN        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS             OH 44236
SCOTT SHANNON         15204 THORNRIDGE DR                                                                        GRAND BLANC MI         MI 48439‐8897
SCOTT SHARKEY         1826 NIGHTINGALE                                                                           HOLT                   MI 48842‐8696
SCOTT SHARP           113 CANTERBURY ST                                                                          ADRIAN                 MI 49221‐1822
SCOTT SHAW            5225 RENSHAW DR                                                                            TROY                   MI 48085‐4071
SCOTT SHAWCROSS       36479 MUNGER CT                                                                            LIVONIA                MI 48154‐1701
SCOTT SHEPARD         3077 COURTZ ISLE APT 3                                                                     FLINT                  MI 48532‐4211
SCOTT SHEPARD         633 WINTERS EAVE                                                                           FLUSHING               MI 48433‐1946
SCOTT SHEPERD         7107 GREENSPRING DR                                                                        ARLINGTON              TX 76016‐5036
SCOTT SHEPHARD        701 LOCUST DR                                                                              DAVISON                MI 48423‐1956
SCOTT SHERMAN         11655 CLAIRMONT DR                                                                         FENTON                 MI 48430‐8922
SCOTT SHERRY          SCOTT, SHERRY                   643 DEERY ST                                               SHELBYVILLE            TN 37160
SCOTT SHILLING        561 NEWTON ST                                                                              TALLMADGE              OH 44278‐3219
SCOTT SHINGLEDECKER   7136 JOHNSON RD                                                                            FLUSHING               MI 48433‐9048
SCOTT SHIPLET         661 DIRLAM LN                                                                              MANSFIELD              OH 44904‐1743
SCOTT SHOCKLEY        660 W OXHILL DR                                                                            WHITE LAKE             MI 48386‐2352
SCOTT SHOCKLEY        3 GALLOPING HILL RD.                                                                       BROOKFIELD             CT 06804
SCOTT SHONA DENISE    SCOTT, SHONA DENISE             PO BOX 287                                                 ALBANY                 GA 31702‐0287
SCOTT SHONK           171 E 1050 S                                                                               FAIRMOUNT              IN 46928‐9506
SCOTT SHULER          7614 N GLEANER RD                                                                          FREELAND               MI 48623‐9299
SCOTT SHULK           18550 PENNINGTON RD                                                                        NOBLESVILLE            IN 46060‐8875
SCOTT SHUMAN          837 E LAMONT RD                                                                            HUNTINGTON             IN 46750‐9680
SCOTT SHYU            3596 NESTING RIDGE DR                                                                      ROCHESTER HILLS        MI 48309‐4515
SCOTT SILLIN          721 SHAWNEE RUN APT F                                                                      DAYTON                 OH 45449
SCOTT SIMMONS         642 W WILSON ST                                                                            SALEM                  OH 44460‐2671
SCOTT SIMON           12720 EBELING RD                                                                           BRUCE TWP              MI 48065‐2613
SCOTT SINGER          46812 BRECKENRIDGE DR                                                                      MACOMB                 MI 48044‐3135
SCOTT SIX
SCOTT SLATER          9022 BUCK HWY                                                                              EATON RAPIDS          MI 48827‐9520
SCOTT SLIGER          2788 LAFAYETTE DR                                                                          THOMPSONS STATION     TN 37179‐9759
SCOTT SLOCUM          14905 PIERCE RD                                                                            BYRON                 MI 48418‐8881
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Name                        Address1                         Address2                     Address3   Address4         City               State Zip
SCOTT SMATHERS              565 SILVERBERRY LN                                                                        SUGAR HILL          GA 30518‐7604
SCOTT SMITH                 19 INDEPENDENCE DR                                                                        LOCKPORT            NY 14094‐5205
SCOTT SMITH                 123 W GEORGIE ST                                                                          SANTA ROSA BEACH    FL 32459‐5695
SCOTT SMITH                 PO BOX 1248                                                                               OKEMOS              MI 48805‐1248
SCOTT SMITH                 1409 PETTIBONE AVE                                                                        FLINT               MI 48507‐1533
SCOTT SMITH                 1201 KENTFORD DR W                                                                        SAGINAW             MI 48638‐5524
SCOTT SMITH                 11967 BEARDSLEE RD                                                                        PERRY               MI 48872‐9166
SCOTT SMITH                 305 N MARQUETTE ST                                                                        DURAND              MI 48429‐1329
SCOTT SMITH                 3025 MASON RD                                                                             HOWELL              MI 48843‐8904
SCOTT SMITH                 790 1ST ST                                                                                FENTON              MI 48430‐4101
SCOTT SMITH                 107 EAGLE PINE WAY                                                                        ROCHESTER           NY 14623‐5169
SCOTT SMITH                 17031 KINLOCH                                                                             REDFORD             MI 48240‐2431
SCOTT SNIDER                4071 92ND ST SW                                                                           BYRON CENTER        MI 49315‐9719
SCOTT SOCHOR                6850 EMERY RD                                                                             PORTLAND            MI 48875‐9708
SCOTT SODERBERG             17111 BIRWOOD AVE                                                                         BEVERLY HILLS       MI 48025‐3243
SCOTT SOLOMON               20165 BAYFIELD DR                                                                         CLINTON TWP         MI 48038‐1301
SCOTT SORBIE                19973 LAMAR DR                                                                            CLINTON TOWNSHIP    MI 48038‐1499
SCOTT SPAGNOL               15405 CLEVELAND AVE                                                                       ALLEN PARK          MI 48101‐2069
SCOTT SPANGLER              1522 ADDIS RD                                                                             HOLLY               MI 48442‐8312
SCOTT SPEC/PLUMSTDVL        ROUTE 611                                                                                 PLUMSTEADVILLE      PA 18949
SCOTT SPEC/TROY             1290 COMBERMERE DR                                                                        TROY                MI 48083‐2733
SCOTT SPECIALTY GASES INC   PO BOX 310                       6141 EASTON RD                                           PLUMSTEADVILLE      PA 18949‐0310
SCOTT SPENCER               3094 E BURT RD                                                                            BURT                MI 48417‐9634
SCOTT SR, DONALD L          3363 E MI 36                                                                              PINCKNEY            MI 48169‐8282
SCOTT SR, FREDERICK A       5028 VALLEYWOOD DR                                                                        LEWISTON            MI 49756‐8988
SCOTT SR, ISAAC R           969 MARTHA ST NE                                                                          WARREN              OH 44483‐3959
SCOTT SR, RONALD G          260 QUESENBERRY DR                                                                        EATONTON            GA 31024‐8127
SCOTT SR., DWAYNE L         PO BOX 454                                                                                FLORISSANT          MO 63032‐0454
SCOTT STACHERSKI            38638 SUMMERS ST                                                                          LIVONIA             MI 48154‐4994
SCOTT STAIR                 4641 N RAINBOW CT                                                                         WILLIAMSBURG        MI 49690‐9340
SCOTT STAJDL                2595 S CENTER RD                                                                          SAGINAW             MI 48609‐7065
SCOTT STANGE                4240 YORBA LINDA BLVD                                                                     ROYAL OAK           MI 48073‐6462
SCOTT STANLEY               6690 TULSA AVE                                                                            KALAMAZOO           MI 49048‐8402
SCOTT STANLEY               42995 RIGGS RD                                                                            BELLEVILLE          MI 48111‐3084
SCOTT STARK                 9853 PEER RD                                                                              SOUTH LYON          MI 48178‐9180
SCOTT STARKEY               10018 BANBURY CT                                                                          FORT WAYNE          IN 46818‐8412
SCOTT STEGEMANN             115 E 14TH ST                                                                             LOMBARD              IL 60148‐4513
SCOTT STELZNER              2672 BONITA DR                                                                            WATERFORD           MI 48329‐4822
SCOTT STEPHENS              3833 RICHFIELD RD                                                                         FLINT               MI 48506
SCOTT STEVEN                SCOTT, SHANNON                   5055 WILSHIRE BLVD STE 300                               LOS ANGELES         CA 90036‐6101
SCOTT STEVEN                SCOTT, STEVEN                    5055 WILSHIRE BLVD STE 300                               LOS ANGELES         CA 90036‐6101
SCOTT STEVEN                80208 S EDWARDS RD                                                                        HERMISTON           OR 97838‐6564
SCOTT STEVENS               599 COUNTY ROAD 26                                                                        HELENA              OH 43435‐9775
SCOTT STEVENSON
SCOTT STICKNEY              6020 ENTERPRISE RD # Y                                                                    FRUITLAND          WA   99129‐9708
SCOTT STOKFISZ              3441 CHARLWOOD DR                                                                         ROCHESTER HILLS    MI   48306‐3620
SCOTT STONE                 31064 GERALDINE ST                                                                        WESTLAND           MI   48185‐1627
SCOTT STREDNEY              2855 WEILACHER RD SW                                                                      WARREN             OH   44481‐9152
SCOTT STRICKER              7234 GLEN TERRA DRIVE                                                                     LANSING            MI   48917‐7819
SCOTT STRONG                26090 LORELEI DR                                                                          FLAT ROCK          MI   48134‐9437
SCOTT STRUMPFER             31447 ALABAMA CT                                                                          LIVONIA            MI   48150‐3974
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SCOTT STUART              5984 CAMEOS CRES                                                            WINDSOR ON N9J3N3
                                                                                                      CANADA
SCOTT STUMPFIG            3619 BURBANK DR                                                                                       FORT WAYNE           IN    46804‐2903
SCOTT STUTEVILLE          5210 BITTER CREEK PL                                                                                  FORT WAYNE           IN    46814‐9700
SCOTT SULISZ              29901 HARPER AVE                                                                                      SAINT CLAIR SHORES   MI    48082‐1639
SCOTT SULLIVAN            17184 PENROD DR                                                                                       CLINTON TOWNSHIP     MI    48035‐1237
SCOTT SUNSTRUM            11629 MULLIKEN RD                                                                                     MULLIKEN             MI    48861‐9795
SCOTT SURBROOK            317 CROOKED OAK CT                                                                                    FRANKLIN             TN    37067‐4047
SCOTT SUTHERLAND          2007 DUNHAM DR                                                                                        ROCHESTER            MI    48306‐4804
SCOTT SWEATLAND           1482 ROAT CT                                                                                          BURTON               MI    48509‐2037
SCOTT SWOISH              5637 LAKE PLEASANT RD                                                                                 NORTH BRANCH         MI    48461‐8963
SCOTT SYTSMA              46840 CASCADE CT                                                                                      MACOMB               MI    48044‐3721
SCOTT SYVERSON            W9601 CEMETERY RD                                                                                     CLINTON              WI    53525‐9507
SCOTT SZPARAGOWSKI        15149 CORTZ RD                                                                                        PETERSBURG           MI    49270‐9709
SCOTT T AMY               5311 OAKTREE DR                                                                                       FLINT                MI    48532‐3337
SCOTT T BROWN             45 E FAIRMOUNT AVE                                                                                    PONTIAC              MI    48340‐2727
SCOTT T GOODRICH          5375 DILLON DR                                                                                        WHITE LAKE           MI    48383‐4102
SCOTT T HOGLE             8578 W BERGEN RD                                                                                      LEROY                NY    14482‐9340
SCOTT T VITALI            14750 W BURNSVILLE PKWY LOT 256                                                                       BURNSVILLE           MN    55306‐4847
SCOTT TAYLOR              755 CTA                                                                                               EDGERTON             WI    53534
SCOTT TAYLOR              7014 RIVER DRIVE RD                                                                                   BALTIMORE            MD    21219‐1132
SCOTT THELEN              PO BOX 114                        314 N WESTPHALIA ST                                                 WESTPHALIA           MI    48894‐0114
SCOTT THERRIEN            3802 MOUNT RAINIER DR                                                                                 LAKE ORION           MI    48360‐1995
SCOTT THOMAS              25906 ARCADIA DR                                                                                      NOVI                 MI    48374‐2448
SCOTT THOMAS              4047 RUSHTON DR                                                                                       DAYTON               OH    45431‐1627
SCOTT THOMAS              371 DENNISON SCHOOLHOUSE RD                                                                           BEDFORD              IN    47421‐8944
SCOTT THOMAS F (494183)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK              VA    23510
                                                            STREET, SUITE 600
SCOTT THOMPSON            908 GLENWOOD CT                                                                                       CRANBERRY TOWNSHIP   PA    16066‐6728
SCOTT THOMPSON            2477 S STATE RD                                                                                       DAVISON              MI    48423‐8610
SCOTT THOMPSON            12400 SMITH GOSHEN RD                                                                                 BELOIT               OH    44609‐9737
SCOTT THORPE              1855 STONECREST                                                                                       MILFORD              MI    48381‐1132
SCOTT THORSEN             C/O COONEY AND CONWAY             120 NORTH LASALLE 30TH FLOOR                                        CHICAGO              IL    60602
SCOTT TICKNER             5765 WINDSOR HWY                                                                                      POTTERVILLE          MI    48876‐8760
SCOTT TIRE SALES INC      447 GALLAGHER ST                                                                                      SAGINAW              MI    48601‐3718
SCOTT TIRE SALES INC      10401 LYNDON ST                                                                                       DETROIT              MI    48238‐2267
SCOTT TIRE SALES INC      G‐2085 W HILL RD                                                                                      FLINT                MI    48507
SCOTT TOMKIEWICZ          3740 HI DALE DR                                                                                       LAKE ORION           MI    48360‐2421
SCOTT TONKS               AV WASHINGTON LUIZ 1576           APT 61                                    SAO PAULO BRAZIL 04662‐
                                                                                                      902
SCOTT TOTH                34243 WHITTAKER ST                                                                                    CLINTON TOWNSHIP     MI    48035‐3379
SCOTT TOWER               13537 ALBION EAGLE HARBOR RD                                                                          ALBION               NY    14411‐9125
SCOTT TRANSPORT INC       PO BOX 657                                                                                            AMELIA COURT HOUSE   VA    23002‐0657
SCOTT TRANSPORTATION      PO BOX 86                                                                                             FARBER               MO    63345‐0086
SCOTT TRANTHAM            5077 DUFFIELD RD                                                                                      FLUSHING             MI    48433‐9711
SCOTT TRAUERNICHT         21111 W 56TH ST                                                                                       SHAWNEE              KS    66218‐9191
SCOTT TRUCK SYSTEMS INC   2902 E 500 N                                                                                          WHITELAND            IN    46184‐9708
SCOTT TRUXTON             2384 ROLLINS ST                                                                                       GRAND BLANC          MI    48439‐4340
SCOTT TYSON               5315 BROBECK ST                                                                                       FLINT                MI    48532‐4002
SCOTT URQUHART            515 SNOWGLEN DR                                                                                       ENGLEWOOD            OH    45322‐1615
SCOTT USHER               1394 E M H TOWNLINE RD                                                                                MILTON               WI    53563‐9286
SCOTT V BARRETT           1386 HAWTHORNE AVE                                                                                    YPSILANTI            MI    48198‐5944
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Name                      Address1                          Address2                      Address3   Address4                City              State Zip
SCOTT V BOZEMAN           1302 FLORENCE AVE                                                                                  GADSDEN            AL 35903‐2733
SCOTT V JURKIEWICZ        15 HOPE DRIVE                                                                                      SAYREVILLE         NJ 08872‐1022
SCOTT VAN
SCOTT VAN NESS            2884 W BRITTON RD APT B30                                                                          PERRY             MI   48872‐9620
SCOTT VANDAM              PO BOX 102                                                                                         WAYLAND           MI   49348‐0102
SCOTT VANDERROEST         7430 ADMIRALTY DR                                                                                  CANTON            MI   48187‐1582
SCOTT VANDEWARKER         2422 S HENDERSON RD                                                                                DAVISON           MI   48423‐9154
SCOTT VERNA               4920 JOY RD                                                                                        DEXTER            MI   48130‐9451
SCOTT VIEIRA              29 SILVERW00D LANE                                                                                 WEST WARWICK      RI   02893
SCOTT VILLANUEVA          PO BOX 404                        213 W FIRST ST                                                   VERMONTVILLE      MI   49096‐0404
SCOTT VINE TIRE CENTRE    350 SCOTT STREET                                                           ST. CATHARINES ON L2N
                                                                                                     6T4 CANADA
SCOTT VIOLETTA            6677 W GRAND RIVER RD             PO BX 472                                                        FOWLERVILLE       MI   48836‐8541
SCOTT VITALI              14750 W BURNSVILLE PKWY LOT 256                                                                    BURNSVILLE        MN   55306‐4847
SCOTT VORACHEK            5325 ROBINHOOD WAY                                                                                 GLADWIN           MI   48624‐8215
SCOTT W BAILEY            46430 STATE ROUTE 162                                                                              WELLINGTON        OH   44090‐9222
SCOTT W BOUCHER           4020 N 26TH ST                                                                                     KALAMAZOO         MI   49048‐9449
SCOTT W CAMPBELL          11663 SE 174TH LOOP                                                                                SUMMERFIELD       FL   34491
SCOTT W CAMPBELL JR       1833 SUNRISE LN                                                                                    LEBANON           OH   45036
SCOTT W COLLINS           1141 S ELM ST                                                                                      DAYTON            OH   45449‐2213
SCOTT W COLVIN            1508 KATHY LANE                                                                                    MIAMISBURG        OH   45342‐2622
SCOTT W MARTIN            650 GRANTS TRAIL                                                                                   CENTERVILLE       OH   45459‐3122
SCOTT W MILLER JR         1847 RUSSELL AVE                                                                                   SPRINGFIELD       OH   45506‐2948
SCOTT W PERRY             4142 KELLY BROOK DRIVE                                                                             CONCORD           NC   28025
SCOTT W SEIPEL            2529 LAUREN LN                                                                                     KOKOMO            IN   46901‐7081
SCOTT W STUMP             1146 CRESTWOOD HILLS DR                                                                            VANDALIA          OH   45377
SCOTT W TOWNSEND          991 ASTORIA RD                                                                                     GERMANTOWN        OH   45327‐1709
SCOTT WADE                1463 WERTH DR                                                                                      ROCHESTER         MI   48306‐4828
SCOTT WAGNER              87 N ELM ST                                                                                        LAPEER            MI   48446‐2508
SCOTT WAHL                15461 RAMBLING DR                                                                                  FRASER            MI   48026‐5212
SCOTT WAITE               11855 GRAND RIVER TRL                                                                              PORTLAND          MI   48875‐9446
SCOTT WALDRON             688 HAYHOE RD                                                                                      DANSVILLE         MI   48819‐9600
SCOTT WALKER              3070 HILLWOOD DR                                                                                   DAVISON           MI   48423‐9583
SCOTT WALKER              4136 EASTVIEW DR                                                                                   NASHVILLE         TN   37211‐5608
SCOTT WALL                510 MISSION HILL DR                                                                                FORT WAYNE        IN   46804‐6422
SCOTT WALLACE             PO BOX 233                                                                                         FENTON            MI   48430‐0233
SCOTT WALLIS              10520 PINE TREE LN                                                                                 GOODRICH          MI   48438‐9452
SCOTT WALTON              221 SILVER LEAF CIR                                                                                ROCK HILL         SC   29732‐9147
SCOTT WANAMAKER           20070 BALMORAL DR                                                                                  MACOMB            MI   48044‐2847
SCOTT WARD                122 W 9TH ST #2                                                                                    CINCINNATI        OH   45202‐1905
SCOTT WARD I I I          206 DAVENPORT CIR                                                                                  MONROE            LA   71202‐6511
SCOTT WARE                3651 WOOD POINT DR                                                                                 ORTONVILLE        MI   48462‐9726
SCOTT WARNER              11023 COLONY RD                                                                                    PINCKNEY          MI   48169‐8864
SCOTT WARREN              COUNTY ATTORNEY                   PO BOX 550                                                       RALEIGH           NC   27602‐0550
SCOTT WARREN A (494184)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA   23510
                                                            STREET, SUITE 600
SCOTT WARTHMAN            31637 KENWOOD AVE                                                                                  MADISON HEIGHTS   MI   48071‐1088
SCOTT WASSELL             2649 TEXTER RD                                                                                     ADDISON TWP       MI   48367‐3033
SCOTT WATSON              7618 BURGUNDY ST                                                                                   CANTON            MI   48187‐1416
SCOTT WATSON              3569 TALL OAKS RD                                                                                  ORION             MI   48359‐1470
SCOTT WEAVER              1411 W CHAPEL PIKE                                                                                 MARION            IN   46952‐1837
SCOTT WEBB                12990 N STATE ROAD 3N                                                                              EATON             IN   47338‐8925
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Name                          Address1                        Address2                      Address3   Address4             City              State Zip
SCOTT WEBB                    46424 MEADOW LN                                                                               MACOMB             MI 48044‐3488
SCOTT WEBB                    484 CYPRESS RD                                                                                ROCHESTER HILLS    MI 48309‐2225
SCOTT WEBB                    4300 NW 80TH TER                                                                              KANSAS CITY        MO 64151‐4284
SCOTT WEBB                    3710 WINGED FOOT RD                                                                           GREENSBORO         NC 27410‐8229
SCOTT WEBBER                  469 OLD FALLS BLVD                                                                            N TONAWANDA        NY 14120‐3107
SCOTT WEIDNER                 3216 CRANBROOK CIR                                                                            FLINT              MI 48507‐1448
SCOTT WEIER                   1910 RECTOR CT                                                                                CANTON             MI 48188‐1638
SCOTT WEIKART                 290 W MAIN ST                                                                                 WASHINGTONVLE      OH 44490‐9606
SCOTT WEISGERBER              11776 MOATE DR                                                                                FISHERS            IN 46037‐4341
SCOTT WEISS                   1647 ILLINOIS AVE                                                                             FLINT              MI 48506‐3554
SCOTT WELSER                  PO BOX 419                                                                                    HAMBURG            MI 48139‐0419
SCOTT WERLING                 302 W 400 N                                                                                   DECATUR            IN 46733‐8396
SCOTT WERNER                  57 MOUNT HOREB RD                                                                             ETHRIDGE           TN 38456‐5038
SCOTT WERST                   2492 E US HIGHWAY 224                                                                         OSSIAN             IN 46777‐9656
SCOTT WEST                    5524 MORRISH RD                                                                               SWARTZ CREEK       MI 48473‐7625
SCOTT WESTBROOK               4902 CHAMBLEE TUCKER RD                                                                       TUCKER             GA 30084‐2507
SCOTT WESTERHOLD              4739 WHITTLESEY RD                                                                            NORWALK            OH 44857‐9241
SCOTT WESTFALL                24236 CONGRESS                                                                                NOVI               MI 48375‐1758
SCOTT WESTRICK                16250 US ROUTE 127                                                                            CECIL              OH 45821‐9714
SCOTT WHEELER                 4090 OAK RD                                                                                   LESLIE             MI 49251‐9437
SCOTT WHITEHOUSE              1805 LEALAND AVE                                                                              POLAND             OH 44514‐1418
SCOTT WHYBREW                 RUA JOAQUIM J ESTEVES,60        APTO 182                                 SAO PAULO BRAZIL
                                                                                                       04740000
SCOTT WIEDEMANN               7 ROYCROFT PKWY                                                                               ELMA              NY   14059‐9316
SCOTT WIGENT                  1622 E 88TH ST                                                                                NEWAYGO           MI   49337‐8863
SCOTT WILBANKS                22439 EATON CT                                                                                NOVI              MI   48375‐3814
SCOTT WILDFONG                1699 HANLEY CT                                                                                BIRMINGHAM        MI   48009‐7268
SCOTT WILHELM JR              3046 LISTONBURG RD                                                                            CONFLUENCE        PA   15424‐2442
SCOTT WILKIE                  5076 N WELLING RD                                                                             SAINT JOHNS       MI   48879‐9439
SCOTT WILLI                   718 SHAW CT                                                                                   ROCKTON           IL   61072‐2160
SCOTT WILLIAM                 3563 BRIGHTON WAY                                                                             RENO              NV   89509
SCOTT WILLIAM J JR (626761)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA   23510
                                                              STREET, SUITE 600
SCOTT WILLIAMS                3920 TALL PINE DR                                                                             MARIETTA          GA 30062‐6131
SCOTT WILLIAMS
SCOTT WILLIAMS                7612 GOODARD ST                 APT 4E                                                        SHAWNEE           KS 66214‐1161
SCOTT WILLIAMS                4526 GLENVIEW CT                                                                              SEVILLE           OH 44273‐8945
SCOTT WILLIAMSON              300 EAGLE POND DR               APT 336                                                       COMMERCE TWP      MI 48390‐3074
SCOTT WILLIE (652474)         (NO OPPOSING COUNSEL)
SCOTT WILLISTON               698 LAKE RIDGE RD                                                                             ROCHESTER HILLS   MI   48307‐4495
SCOTT WILLITS                 20416 SCHICK RD                                                                               DEFIANCE          OH   43512‐8518
SCOTT WILSON                  5007 NEYER CT                                                                                 HUBER HEIGHTS     OH   45424‐6015
SCOTT WILSON                  10161 MORRISH RD                                                                              MONTROSE          MI   48457‐9048
SCOTT WILSON                  PO BOX 9022                     SHANGHAI                                                      WARREN            MI   48090‐9022
SCOTT WILSON                  36 N MAIN ST                                                                                  THREE RIVERS      MI   49093‐1532
SCOTT WINGLER                 8945 JE NE BE DR NE                                                                           ROCKFORD          MI   49341‐9345
SCOTT WINSTON
SCOTT WISMANS                 1158 RIDGEWAY DR                                                                              ROCHESTER         MI   48307‐1771
SCOTT WISNIEWSKI              38 SLATESTONE DR                                                                              SAGINAW           MI   48603‐2893
SCOTT WISNIEWSKI              2699 E CARLETON RD                                                                            ADRIAN            MI   49221‐8741
SCOTT WITHERS                 511 POPLAR ST                                                                                 CLIO              MI   48420‐1261
SCOTT WITNAUER                PO BOX 9022                     P.O. BOX 9022                                                 WARREN            MI   48090‐9022
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Name                        Address1                           Address2                      Address3   Address4             City                 State Zip
SCOTT WITTKOPP              6189 OAKHURST DR                                                                                 YPSILANTI             MI 48197‐9478
SCOTT WIXOM                 1616 JOHN PAUL CT                                                                                OXFORD                MI 48371‐4470
SCOTT WOGEN                 224 RIPLEY RD                                                                                    LINDEN                MI 48451‐9010
SCOTT WOLFE                 205‐C AVE DE LA ESTRELLA                                                                         SAN CLEMENTE          CA 92672
SCOTT WOOD                  8451 E SQUAW LAKE RD                                                                             LAC DU FLAMBEAU       WI 54538‐9505
SCOTT WOOD                  6512 N 100 E                                                                                     MARION                IN 46952‐6778
SCOTT WOODIN                9464 HILL RD                                                                                     SWARTZ CREEK          MI 48473‐1067
SCOTT WOODRELL              4792 N 250 W                                                                                     COLUMBIA CITY         IN 46725‐9518
SCOTT WOODS                 PO BOX 1156                                                                                      TAYLOR                MI 48180‐5556
SCOTT WOODS TRANSPORT INC   140 MALOY ST                                                                MAPLE ON L6A 1R9
                                                                                                        CANADA
SCOTT WORDEN                4114 SUNNY LN                                                                                    BAY CITY             MI   48706‐2437
SCOTT WRIGHT                384 OLD BARDSTOWN RD                                                                             PARK CITY            KY   42160‐7766
SCOTT WURSCHMIDT            11525 SIAM CT                                                                                    BROOKLYN             MI   49230‐9354
SCOTT WYNN                  12510 STADLER RD                                                                                 BLISSFIELD           MI   49228‐9526
SCOTT YACKLEY               6013 ROSEWOOD PKWY                                                                               WHITE LAKE           MI   48383‐2789
SCOTT YENCER                1474 E BUDER AVE                                                                                 BURTON               MI   48529‐1606
SCOTT YOUNG                 18316 TAPWOOD RD                                                                                 BOYDS                MD   20841‐4393
SCOTT YOUNG                 233 W GRAMERCY AVE                                                                               TOLEDO               OH   43612‐2560
SCOTT YOUNGLOVE             2417 E CHADWICK RD                                                                               DEWITT               MI   48820‐9772
SCOTT YVONNE                21231 MADISON ST                                                                                 SAINT CLAIR SHORES   MI   48081‐3392
SCOTT ZACHARY               1903 CHARLES ST                                                                                  ANDERSON             IN   46013‐2725
SCOTT ZECHIEL               6505 STONY CREEK RD                                                                              YPSILANTI            MI   48197‐6615
SCOTT ZIMMERMAN             1501 E HENDERSON RD                                                                              OWOSSO               MI   48867‐9460
SCOTT ZIMMERMAN             625 N GALLERY DR                                                                                 EATON RAPIDS         MI   48827‐1770
SCOTT ZUCH                  39275 RANDOLPH CT                                                                                WESTLAND             MI   48186‐8635
SCOTT ZUCKSCHWERDT          900 DIVISION ST                                                                                  OWOSSO               MI   48867‐4544
SCOTT'S AUTO EXPRESS        3055 SW US HIGHWAY 40                                                                            BLUE SPRINGS         MO   64015‐4509
SCOTT'S AUTO REPAIR         1550 SHERWOOD FOREST ST                                                                          HOUSTON              TX   77043‐3803
SCOTT'S AUTO SERVICE        657 S LINCOLN DR                                                                                 TROY                 MO   63379‐2809
SCOTT'S AUTO WORKS          5049 TECUMSEH RD E                                                          WINDSOR ON N8T 1C2
                                                                                                        CANADA
SCOTT, AARON                2478 CALIFORNIA AVE                                                                              SAGINAW              MI   48601‐5300
SCOTT, AARON                16467 MANNING ST                                                                                 DETROIT              MI   48205‐2032
SCOTT, AARON J              4245 W JOLLY RD LOT 229                                                                          LANSING              MI   48911‐3066
SCOTT, AARON W              6410 LEHNERT ST                                                                                  GWYNN OAK            MD   21207‐5273
SCOTT, ADRIAN               1033 60TH STREET                                                                                 TUSCALOOSA           AL   35405‐5507
SCOTT, ADRIAN               93 JEFFERSON CT                                                                                  PIEDMONT             SC   29673‐9777
SCOTT, AILEEN H             605 HIGDON FERRY RD #106                                                                         HOT SPRINGS          AR   71913‐6117
SCOTT, ALAN L               4780 PIERSONVILLE RD                                                                             COLUMBIAVILLE        MI   48421‐9328
SCOTT, ALAN LOUIS           4780 PIERSONVILLE RD                                                                             COLUMBIAVILLE        MI   48421‐9328
SCOTT, ALBERT               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK              VA   23510‐2212
                                                               STREET, SUITE 600
SCOTT, ALBERTA D            313 E HOME AVE                                                                                   FLINT                MI   48505‐2810
SCOTT, ALETA D              20368 PURLING BROOK ST             APT 368                                                       LIVONIA              MI   48152
SCOTT, ALFRED L             20452 GLENMORE                                                                                   REDFORD              MI   48240‐1040
SCOTT, ALICE B              3417 CONGRESS AVE                                                                                INDIANAPOLIS         IN   46222‐2015
SCOTT, ALLAN                16284 BIRD RD                                                                                    LINDEN               MI   48451‐8534
SCOTT, ALLEN B              24 NORTH LN                                                                                      LEBANON              OH   45036‐1861
SCOTT, ALLEN B              PO BOX 556                                                                                       LEBANON              OH   45036‐0556
SCOTT, ALLEN D              407 MAGNOLIA ST                                                                                  ROCHESTER            NY   14611‐3743
SCOTT, ALLEN D              1557 STATE RD NW                                                                                 WARREN               OH   44481‐9132
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SCOTT, ALLEN D        2150 N BILBREY LN                                                                         ANDERSON          IN 46011‐8756
SCOTT, ALLEN H        415 S CHESTNUT ST                                                                         OLATHE            KS 66061‐4403
SCOTT, ALLEN J        80 GROUNDHOG RDG                                                                          HELTONVILLE       IN 47436‐8506
SCOTT, ALLEN R        7174 NEFF RD                                                                              MOUNT MORRIS      MI 48458‐1839
SCOTT, ALONZO         1506 LAMONT ST                                                                            LANSING           MI 48915‐1528
SCOTT, ALVIN A        728 E BAKER ST                                                                            FLINT             MI 48507
SCOTT, ALYNE L        419 N MECHANIC ST                                                                         LEBANON           OH 45036‐1831
SCOTT, ALYNE L        419 NORTH MECHANIC ST                                                                     LEBANON           OH 45036‐1831
SCOTT, AMANDA         ANDREWS & ANDREWS                 118 E HOSPITAL ST STE 301                               NACOGDOCHES       TX 75961‐5271
SCOTT, ANDREW G       10700 BIGELOW RD                                                                          DAVISBURG         MI 48350‐2003
SCOTT, ANDREW J       3839 HILAND ST                                                                            SAGINAW           MI 48601‐4158
SCOTT, ANGENETT J     2121 WINDSOR GARDEN LN APT C229                                                           BALTIMORE         MD 21207‐7360
SCOTT, ANITA D        BOX 179                                                                                   DALEVILLE         IN 47334‐0179
SCOTT, ANITA D        PO BOX 179                                                                                DALEVILLE         IN 47334‐0179
SCOTT, ANITA S        6136 W 1550 N                                                                             ELWOOD            IN 46036‐9144
SCOTT, ANMARIE J      3141 MONTANA AVE,                                                                         FLINT             MI 48506
SCOTT, ANNE W         1404 HYDE SHAFFER RD                                                                      BRISTOLVILLE      OH 44402‐8705
SCOTT, ANNE W         2508 NORTHVIEW DR                                                                         CORTLAND          OH 44410‐1746
SCOTT, ANNETTA        APT 201                           30568 CANTABARRY                                        ROSEVILLE         MI 48066‐7764
SCOTT, ANNETTE        1863 BARNETT CT E                                                                         COLUMBUS          OH 43227‐3701
SCOTT, ANNIE          5436 FAIRHAVEN ST                                                                         FLINT             MI 48505‐1014
SCOTT, ANNIE B        4207 WINTHROP AVE                                                                         RACINE            WI 53405
SCOTT, ANNIE C        4536 LEE ROAD 11                                                                          OPELIKA           AL 36804
SCOTT, ANNIE D        72 NORVIN PL                                                                              FORSYTH           GA 31029‐3330
SCOTT, ANNTOY C       501 SHORT CUT ROAD                                                                        ALBANY            KY 42602
SCOTT, ANTHONY        105 BONNIE AVE                                                                            TRENTON           NJ 08629‐1102
SCOTT, ANTHONY E      34 VIA DEL CIELO                                                                          RCH PALOS VRD     CA 90275‐2510
SCOTT, ANTHONY J.     714 E CHERRY ST                                                                           DUNCANVILLE       TX 75116‐4015
SCOTT, ANWAR O        1125 W SHIAWASSEE ST                                                                      LANSING           MI 48915‐1823
SCOTT, ARDALE M       3614 STOCKTON RD                                                                          PORT CHARLOTTE    FL 33953‐5721
SCOTT, ARLENE J       108 HOLIDAY HILL                                                                          MANSFIELD         OH 44904‐1106
SCOTT, ARLIE          9292 S GRAYLING RD                                                                        ROSCOMMON         MI 48653‐9558
SCOTT, ARNOLD B       439 W ROCK SPRING ST                                                                      HENDERSON         NC 27536‐3455
SCOTT, ARNOLD T       3402 MARYVALE RD                                                                          BALTIMORE         MD 21244‐3663
SCOTT, ARNOLD W       1005 BARRINGTON DR                                                                        FLINT             MI 48503‐2915
SCOTT, ARTHUR J       4563 PINE ST                                                                              COLUMBIAVILLE     MI 48421‐8920
SCOTT, ARTHUR L       1863 LEWIS DR                                                                             NILES             MI 49120‐3717
SCOTT, ARTHUR L       900 S BRIDGE ST APT 7                                                                     DEWITT            MI 48820‐8808
SCOTT, ARTHUR L       7482 E COUNTY ROAD 900 S                                                                  CLOVERDALE        IN 46120‐9061
SCOTT, AUBREY         5707 GRANDVISTA DR                                                                        INDIANAPOLIS      IN 46234‐3654
SCOTT, AYANA D        6190 FLOWERDAY DR                                                                         MOUNT MORRIS      MI 48458‐2812
SCOTT, AYANA DENISE   6190 FLOWERDAY DR                                                                         MOUNT MORRIS      MI 48458‐2812
SCOTT, BARBARA        PO BOX 1105                                                                               MIDDLEBURGH       NY 12122‐1105
SCOTT, BARBARA        16235 WILDEMERE ST                                                                        DETROIT           MI 48221‐3331
SCOTT, BARBARA        FRIEDWALD HOUSE                                                                           NEW CITY          NY 10956
SCOTT, BARBARA        ROARK JOHN O LAW OFFICE OF        PO BOX 864                                              TEMPLE            TX 76503‐0864
SCOTT, BARBARA A      567 N CHAMPION AVE                                                                        COLUMBUS          OH 43203‐1146
SCOTT, BARBARA A      320 S BROADWAY                                                                            TARRYTOWN         NY 10591
SCOTT, BARBARA A      616 N WESTCHESTER DR                                                                      ANDOVER           KS 67002‐9317
SCOTT, BARBARA J      3715 COACHLIGHT COMMON ST                                                                 LANSING           MI 48911‐4409
SCOTT, BARBARA J      3363 E MI 36                                                                              PINCKNEY          MI 48169‐8282
SCOTT, BARBARA M      92 HAMILTON AVENUE APT 5 B                                                                YONKERS           NY 10705
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Name                    Address1                        Address2             Address3        Address4         City               State Zip
SCOTT, BARBARA M        8002 BROKEN REED CT                                                                   FREDERICK           MD 21701‐3279
SCOTT, BARBARA P        3791 S COUNTY ROAD 350 W                                                              PAOLI               IN 47454‐8819
SCOTT, BARBARA T        1202 NICHOL AVE                                                                       ANDERSON            IN 46016‐3349
SCOTT, BARD N           2162 BRADY AVE                                                                        BURTON              MI 48529‐2425
SCOTT, BARRY A          4831 MONTGOMERY RD                                                                    MARLETTE            MI 48453‐9136
SCOTT, BARRY D          402 E 37TH ST                                                                         INDIANAPOLIS        IN 46205‐3530
SCOTT, BARRY E          232 HIGHLAND AVE                                                                      TRENTON             NJ 08618‐4006
SCOTT, BARRY E          2113 S WASHINGTON AVE                                                                 LANSING             MI 48910‐2862
SCOTT, BARRY L          8493 WOODRIDGE DR                                                                     DAVISON             MI 48423‐8389
SCOTT, BEHANAH          1202 S CENTRAL AVE                                                                    LIMA                OH 45804‐2032
SCOTT, BENJAMIN         705 BRANCH RD                                                                         ALBANY              GA 31705‐5308
SCOTT, BENNIE G         205 N NEEDMORE ACRES RD                                                               GLASGOW             KY 42141‐8713
SCOTT, BERCHIE L        915 N NURSERY RD                                                                      ANDERSON            IN 46012‐2721
SCOTT, BERNADETTE S     5213 FOSTER DR                                                                        OKLAHOMA CITY       OK 73135‐1423
SCOTT, BERNADETTE SUE   5213 FOSTER DR                                                                        OKLAHOMA CITY       OK 73135‐1423
SCOTT, BERNADINE M      14741 LONE EAGLE DR                                                                   ORLANDO             FL 32837‐6944
SCOTT, BERNARD
SCOTT, BERNARD D        10370 N TWIN LAKE RD            C/O LYNETTE NORRIS                                    MANCELONA          MI   49659‐9234
SCOTT, BERNARD D        PO BOX 432                                                                            WILLISTON          OH   43468‐0432
SCOTT, BERNICE          9532 PINECREEK DR                                                                     INDIANAPOLIS       IN   46256‐1189
SCOTT, BERNICE H        3753 JEFFERSON, BOX 93                                                                CARROLLTON         MI   48724‐0093
SCOTT, BESSIE LEA       1193 E JULIAH AVENUE                                                                  FLINT              MI   48505‐1630
SCOTT, BETTY            13031 SLYING SQUIRRIEL COURT                                                          HUDSON             FL   34669
SCOTT, BETTY            1147 W 550 S                                                                          ANDERSON           IN   46013‐9775
SCOTT, BETTY B          104 N JAMALEE WAY                                                                     PENDLETON          IN   46064‐9148
SCOTT, BETTY J          503 W 5TH ST APTD                                                                     SHERIDAN           IN   46069
SCOTT, BETTY J          10142 S WINSTON                                                                       CHICAGO            IL   60643‐1357
SCOTT, BETTY J          1147 W 550 S                                                                          ANDERSON           IN   46013‐9775
SCOTT, BETTY W          12161 MAIN ST                                                                         SALEM              OH   44460‐9658
SCOTT, BEULAH A         82 KINGSWOOD COURT                                                                    GREENCASTLE        IN   46135
SCOTT, BEULAH L         12534 WADE                                                                            DETROIT            MI   48213‐1802
SCOTT, BEULAH L         12534 WADE ST                                                                         DETROIT            MI   48213‐1802
SCOTT, BEULAH M         8550 S PRAIRIE AVE                                                                    CHICAGO            IL   60619‐6030
SCOTT, BEVERLY A        12131 BEAN HOLLOW RD                                                                  ATHENS             OH   45701‐9716
SCOTT, BEVERLY F        1601 BIG TREE RD APT 1203                                                             SOUTH DAYTONA      FL   32119‐8645
SCOTT, BEVERLY M        5975 STAFF RD                                                                         CRESTVIEW          FL   32536
SCOTT, BILL LEE         GUY WILLIAM S                   PO BOX 509                                            MCCOMB             MS   39649‐0509
SCOTT, BILLIE L         2000 E. ARAPAHO RD.             APT. 6103                                             RICHARDSON         TX   75081
SCOTT, BILLIE L         2101 ROLLING OAK LN                                                                   GARLAND            TX   75044‐7831
SCOTT, BILLY D          6739 DYE MOUND RD                                                                     FORESTBURG         TX   76239‐3134
SCOTT, BILLY D          58 LOUELM AVE                                                                         DAYTON             OH   45459‐1849
SCOTT, BILLY D          58 LOU ELM RD                                                                         DAYTON             OH   45459‐5459
SCOTT, BILLY J          6466 79TH AVE                                                                         PINELLAS PARK      FL   33781‐2137
SCOTT, BILLY J          1428 AUTUMN LEAVES TRL                                                                DALLAS             TX   75241‐1213
SCOTT, BILLY R          715 WRIGHT LANE                                                                       MARSHALL           MI   49068‐9612
SCOTT, BILLY R          18283 11 MILE RD                                                                      BATTLE CREEK       MI   49014
SCOTT, BOB J            534 LIBERTY RD                                                                        MILTON             KY   40045‐8348
SCOTT, BOBBIE D         3791 S COUNTY ROAD 350 W                                                              PAOLI              IN   47454‐8819
SCOTT, BOBBIE J         316 FRANCISCAN DR                                                                     FORT WORTH         TX   76134‐4673
SCOTT, BOBBIE JEAN      316 FRANCISCAN DR                                                                     FORT WORTH         TX   76134‐4673
SCOTT, BOBBIE L         12975 W LAKE RD                                                                       EAST SPRINGFIELD   PA   16411‐9339
SCOTT, BOBBY G          1504 SAN GABRIEL DR                                                                   DENTON             TX   76205‐8133
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Name                    Address1                         Address2                         Address3   Address4         City               State Zip
SCOTT, BOBBY J          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA 23510‐2212
                                                         STREET, SUITE 600
SCOTT, BOBBY K          6378 E STATE ROAD 144                                                                         MOORESVILLE        IN 46158‐6237
SCOTT, BOBBY R          3915 PARK FOREST DRIVE                                                                        FLINT              MI 48507‐2256
SCOTT, BOBBY R          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510‐2212
                                                         STREET, SUITE 600
SCOTT, BONNIE           HARRIS CADDELL SHANKS            PO BOX 2688                                                  DECATUR            AL   35602‐2688
SCOTT, BONNIE A         39 MOORLAND DR                                                                                GRANITE CITY       IL   62040‐2847
SCOTT, BONNIE G         1125 ELLSWORTH BAILEY RD                                                                      WARREN             OH   44481‐9778
SCOTT, BONNIE M         533 NORTH 21ST STREET                                                                         ELWOOD             IN   46036‐1642
SCOTT, BONNIE M         533 N 21ST ST                                                                                 ELWOOD             IN   46036‐1642
SCOTT, BONNIE T         1921 COUNTY ROAD 541                                                                          HANCEVILLE         AL   35077‐6116
SCOTT, BONNIE T         1921 COUNTY RD 541                                                                            HANCEVILLE         AL   35077‐6116
SCOTT, BRAD             KIMMEL & SILVERMAN PC            30 EAST BUTLER PIKE, SUITE 310                               AMBLER             PA   19002
SCOTT, BRADLEY J        4150 JOYCE AVE                                                                                WATERFORD          MI   48329‐4111
SCOTT, BRADLEY JOSEPH   4150 JOYCE AVE                                                                                WATERFORD          MI   48329‐4111
SCOTT, BRADLEY L        295 PENDERGRASS RD                                                                            FRANKLIN           NC   28734‐6509
SCOTT, BRANDON
SCOTT, BRANDON          3900 N CAUSEWAY BLVD STE 510                                                                  METAIRIE           LA   70002‐1781
SCOTT, BRENDA D         PO BOX 270                                                                                    CLARKSVILLE        OH   45113‐0270
SCOTT, BRENDA D         7 LIBBY LN                                                                                    LITTLE ROCK        AR   72206‐4221
SCOTT, BRENDA D         7154 VARJO ST                                                                                 DETROIT            MI   48212‐1442
SCOTT, BRENDA DARLINE   7154 VARJO ST                                                                                 DETROIT            MI   48212‐1442
SCOTT, BRENDA J         1093 RUN AWAY DR                                                                              FOUNTAIN RUN       KY   42133‐8554
SCOTT, BRENDA J         1520 DUDLEY WALK APT E                                                                        CINCINNATI         OH   45214‐2586
SCOTT, BRENDA KAY       2445 HOYT ST                                                                                  MUSKEGON HEIGHTS   MI   49444‐1540
SCOTT, BRENDA M         8690 N 425 E                                                                                  ALEXANDRIA         IN   46001‐8746
SCOTT, BRET A           PO BOX 435                                                                                    SOUTHFIELD         MI   48037‐0435
SCOTT, BRIAN J          351 CHANDLER DR                                                                               SALINE             MI   48176‐1004
SCOTT, BRIAN J          5078 WINSTON DR                                                                               SWARTZ CREEK       MI   48473‐1225
SCOTT, BRIAN JOSEPH     5078 WINSTON DR                                                                               SWARTZ CREEK       MI   48473‐1225
SCOTT, BRIAN L          4588 E 10 MILE RD                                                                             WARREN             MI   48091‐1581
SCOTT, BRIAN M          4850 GLENWOOD ST APT 8                                                                        MISSION            KS   66202‐1491
SCOTT, BRIAN P          55460 CLEVELAND                                                                               SHELBY TWP         MI   48316‐1114
SCOTT, BRIAN PATRICK    55460 CLEVELAND                                                                               SHELBY TWP         MI   48316‐1114
SCOTT, BRIDGETT A       105 PROMENADE DRIVE                                                                           SWANTON            OH   43558‐1426
SCOTT, BRIDGETT ANN     105 PROMENADE DRIVE                                                                           SWANTON            OH   43558‐1426
SCOTT, BRIGETTE A       2677 CEMETERY RD                                                                              AUBURN             KY   42206‐5320
SCOTT, BRUCE D          45 SANDROCK RD                                                                                BUFFALO            NY   14207‐2017
SCOTT, BRUCE D.         45 SANDROCK RD                                                                                BUFFALO            NY   14207‐2017
SCOTT, BRUCE E          349 SOUTH BLVD W                                                                              PONTIAC            MI   48341‐2464
SCOTT, BRUCE E          PO BOX 131210                                                                                 BIG BEAR LAKE      CA   92315‐8982
SCOTT, BRYCE            503 EXPERIMENT STATION LN                                                                     COLUMBIA           TN   38401‐4717
SCOTT, BRYCE            PO BOX 19152                                                                                  LENEXA             KS   66285‐9152
SCOTT, BUD A            64 FORRESTAL DR                                                                               EDGEWATER PARK     NJ   08010‐3110
SCOTT, BURLEY E         3014 WINDMILL DR                                                                              BEAVERCREEK        OH   45432‐2531
SCOTT, BUSTER           186 MEADOWBROOK DRIVE                                                                         DEFIANCE           OH   43512‐1329
SCOTT, BYRON L          150 GRAYROCK DR                                                                               STATESVILLE        NC   28677‐2420
SCOTT, CALVIN C         6328 NORBURN WAY                                                                              LANSING            MI   48911‐6031
SCOTT, CALVIN L         3312 RAILFENCE RD                                                                             FOREST HILL        TX   76119‐7125
SCOTT, CARL B           1147 W 550 S                                                                                  ANDERSON           IN   46013‐9775
SCOTT, CARL E           20111 MOHAWK TRL                                                                              OLYMPIA FIELDS     IL   60461‐1136
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SCOTT, CARL K          12176 HILL RD                                                                               GOODRICH           MI 48438‐9000
SCOTT, CARL KENT       12176 HILL RD                                                                               GOODRICH           MI 48438‐9000
SCOTT, CARL L          5166 SPANSON DR SE               BEACON POINTE REHAB CENTER                                 UHRICHSVILLE       OH 44683‐1346
SCOTT, CARLTON L       110 CREEKSIDE DRIVE                                                                         WETUMPKA           AL 36092‐4557
SCOTT, CAROL           120 PINE TREE RIDGE DR UNIT 3                                                               WATERFORD          MI 48327‐4317
SCOTT, CAROL A         2344 FOREST HILL CIR                                                                        MANSFIELD          OH 44903‐8596
SCOTT, CAROL L         1481 W HUMPHREY AVE                                                                         FLINT              MI 48505‐1029
SCOTT, CAROLYN         5323 BRASSIE DR                                                                             INDIANAPOLIS       IN 46235‐6014
SCOTT, CAROLYN J       6173 FLOWERDAY DR                                                                           MOUNT MORRIS       MI 48458‐2811
SCOTT, CAROLYN JOYCE   6173 FLOWERDAY DR                                                                           MOUNT MORRIS       MI 48458‐2811
SCOTT, CAROLYN S       1817 MONTCLAIR AVE                                                                          FLINT              MI 48503‐5350
SCOTT, CARRIE D        4223 SENECA ST                                                                              FLINT              MI 48504‐2102
SCOTT, CARRIE D        2017 CHATEAU DR                                                                             FLINT              MI 48504‐1650
SCOTT, CARROLL L       PO BOX 270                                                                                  CLARKSVILLE        OH 45113‐0270
SCOTT, CARY M          231 DIANE DR                                                                                FLUSHING           MI 48433‐1824
SCOTT, CARY MICHAEL    231 DIANE DR                                                                                FLUSHING           MI 48433‐1824
SCOTT, CATHALENE       7359 W 700 S                                                                                JAMESTOWN          IN 46147‐9485
SCOTT, CATHER J        17217 APPOLINE ST                                                                           DETROIT            MI 48235‐1402
SCOTT, CATHERINE M     424 NEW LONDON RD                                                                           NEWARK             DE 19711‐7010
SCOTT, CATHY
SCOTT, CATHY A         329 BOUTELL DR                                                                              GRAND BLANC       MI   48439‐1512
SCOTT, CATHY ANNE      6870 FOLEY BEACH EXPY            APT E529                                                   ORANGE BEACH      AL   36561‐9129
SCOTT, CATHY M         3317 BALDWIN WOODS DR                                                                       LAKE ORION        MI   48359‐2360
SCOTT, CECIL G         WEITZ & LUXENBERG                180 MAIDEN LANE                                            NEW YORK          NY   10038
SCOTT, CECIL H.        G PATTERSON KEAHEY PC            ONE INDEPENDENCE PLAZA SUITE                               BIRMINGHAM        AL   35209
                                                        612
SCOTT, CELESTINE M     5052 SOUTHWIND LN                                                                           ERIE              PA   16506‐6210
SCOTT, CEOLA           5111 ORCHARD SPRING CT.                                                                     LOS VEGAS         NV   89118‐1191
SCOTT, CEOLA           7936 MARSANNAY WAY                                                                          SACRAMENTO        CA   95829‐1476
SCOTT, CHANETA D       1917 PENNSYLVANIA AVE                                                                       WEST MIFFLIN      PA   15122‐3916
SCOTT, CHARLENE K      P0 BOX 940                                                                                  TOMBSTONE         AZ   85638
SCOTT, CHARLES         PO BOX 84                                                                                   WEST BRANCH       MI   48661‐0084
SCOTT, CHARLES         PAUL REICH & MYERS P.C.          1608 WALNUT ST STE 500                                     PHILADELPHIA      PA   19103‐5446
SCOTT, CHARLES E       2784 OLD THOMPSON MILL RD                                                                   BUFORD            GA   30519‐5479
SCOTT, CHARLES E       2406 E HIGHLAND AVE                                                                         MUNCIE            IN   47303‐3330
SCOTT, CHARLES E       312 CAMP RD                                                                                 CARTHAGE          MS   39051‐7657
SCOTT, CHARLES J       RT 1                                                                                        OAKWOOD           OH   45873
SCOTT, CHARLES K       9815 48TH AVE                                                                               ALLENDALE         MI   49401‐8439
SCOTT, CHARLES L       1312 N MAPLELEAF RD                                                                         LAPEER            MI   48446‐8074
SCOTT, CHARLES O       432 STILL MEADOW RD                                                                         SOMERVILLE        AL   35670‐3867
SCOTT, CHARLES R       1601 BIG TREE RD UNIT 1203                                                                  DAYTONA BEACH     FL   32119‐8645
SCOTT, CHARLES R       5528 N LESLIE DR                                                                            MUNCIE            IN   47304‐5939
SCOTT, CHARLES R       1481 W HUMPHREY AVE                                                                         FLINT             MI   48505‐1029
SCOTT, CHARLES W       2840 CORLINGTON DR                                                                          KETTERING         OH   45440‐1411
SCOTT, CHARLES W       2214 STIRRUP LN                  APT M8                                                     TOLEDO            OH   43613
SCOTT, CHARLESTON      ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                   WILMINGTON        DE   19801‐1813
SCOTT, CHARLOTTE       74 HEMLOCK ST                                                                               PARK FOREST       IL   60466‐2154
SCOTT, CHAVO           4557 GLENARM DR APT 307                                                                     INDIANAPOLIS      IN   46254
SCOTT, CHAVO           7282 WHARSIDE LN APT 3A                                                                     INDIANAPOLIS      IN   46214‐1260
SCOTT, CHERRY L        7440 MILLROCK AVE                                                                           SHELBY TOWNSHIP   MI   48317‐2380
SCOTT, CHERYL          3972 W DELTA DR APT 10                                                                      MARION            IN   46952‐9223
SCOTT, CHERYL G        126 N ASTOR ST                                                                              PONTIAC           MI   48342‐2502
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Name                      Address1                       Address2                      Address3   Address4         City            State Zip
SCOTT, CHLOE T            1602 LAVENDER AVE                                                                        FLINT            MI 48504‐3010
SCOTT, CHRISTIAN          HENNING LAW FIRM PC            1044 MAIN ST STE 500                                      KANSAS CITY      MO 64105‐2124
SCOTT, CHRISTIAN          LAKIN LAW FIRM                 PO BOX 27                                                 WOOD RIVER        IL 62095‐0027
SCOTT, CHRISTIAN          WENDLER & EZRA                 850 VANDALIA ST STE 310                                   COLLINSVILLE      IL 62234‐4068
SCOTT, CHRISTINA F        4207 CASHARD AVENUE                                                                      INDIANAPOLIS     IN 46203‐6022
SCOTT, CHRISTINE          CONSUMER LEGAL SERVICES P.C.   30928 FORD RD                                             GARDEN CITY      MI 48135‐1803
SCOTT, CHRISTINE M        498 GILLMER RD                                                                           LEAVITTSBURG     OH 44430‐9543
SCOTT, CHRISTOPHER L      4618 ARCANUM HOLLANSBURG RD                                                              ARCANUM          OH 45304‐9217
SCOTT, CHRISTOPHER L      2036 W FARRAND RD                                                                        CLIO             MI 48420‐1827
SCOTT, CINDY L            3418 FAIR OAKS AVE                                                                       BOWLING GREEN    KY 42104‐5529
SCOTT, CINDY LOU          3252 CONNECTICUT ST                                                                      BURTON           MI 48519‐1548
SCOTT, CLARA              409 E AMHERST ST                                                                         BUFFALO          NY 14215‐1531
SCOTT, CLARA              415 S. CHESTNUT                                                                          OLATHE           KS 66061
SCOTT, CLARENCE A         3478 STUDOR RD                                                                           SAGINAW          MI 48601‐5739
SCOTT, CLARENCE E         2310 OAKRIDGE DR                                                                         DAYTON           OH 45417‐1517
SCOTT, CLARENCE E         1575 YAUGER RD APT 55                                                                    MOUNT VERNON     OH 43050‐8320
SCOTT, CLARENCE F         10401 NO. C.R. 200 WEST                                                                  MUNCIE           IN 47303
SCOTT, CLARENCE L         1653 CHURCHILL LN                                                                        MANSFIELD        TX 76063‐7907
SCOTT, CLARENCE S         1106 CLOVERLAWN DR                                                                       PONTIAC          MI 48340‐1612
SCOTT, CLARENCE V         1726 W DARTMOUTH ST                                                                      FLINT            MI 48504‐2743
SCOTT, CLARENCE V         323 FERNDALE PL                                                                          FLINT            MI 48503‐2338
SCOTT, CLARENCE W         1868 CARIBAEA TRL SE                                                                     ATLANTA          GA 30316‐4404
SCOTT, CLAUDE R           3231 W CAMINO VISTA LN                                                                   PHOENIX          AZ 85051
SCOTT, CLAUDIA G          75 TWIN SPRINGS FARM LN                                                                  FOLEY            MO 63347‐2537
SCOTT, CLAUDIA L          PO BOX 21                                                                                BUFFALO          NY 14240‐0021
SCOTT, CLAY E             2764 SEMINOLE CT                                                                         BAY CITY         MI 48708‐8465
SCOTT, CLEASON L          624 BRICKER FARMS LN                                                                     SALEM            OH 44460‐4460
SCOTT, CLIFFORD           PO BOX 5004                                                                              FLINT            MI 48505‐0004
SCOTT, CLIFFORD A         5759 W FRITCHIE RD                                                                       PORT CLINTON     OH 43452
SCOTT, CLIFFORD D         13764 WHITTAKER RD                                                                       MILAN            MI 48160‐8836
SCOTT, CLIFFORD DEWAYNE   1917 LYNBROOK DR                                                                         FLINT            MI 48507‐6032
SCOTT, CLIFTON E          5734 LAKEVIEW BLVD                                                                       GOODRICH         MI 48438‐9642
SCOTT, CLIFTON E          PO BOX 243                                                                               DOUGLAS          AL 35964‐0243
SCOTT, CLINTON R          1763 SNYDERVILLE ROAD                                                                    SPRINGFIELD      OH 45502‐9196
SCOTT, CLYDE D            319 MARIGOLD AVE                                                                         PORTAGE          MI 49002‐6253
SCOTT, COLETA I           APT 101                        509 SOUTH PINE RIVER STREET                               ITHACA           MI 48847‐1764
SCOTT, CONNIE J           4428 HERMOSA DR                                                                          SHREVEPORT       LA 71119‐8412
SCOTT, CONSTANCE A.       2461 W SCOTT DR                                                                          IRONS            MI 49644‐8758
SCOTT, CONSTANCE L        7307 ERIC DR                                                                             MENTOR           OH 44060‐3009
SCOTT, CORA G             19701 I30                                                                                BENTON           AR 72015
SCOTT, CORDELL D          1686 LEXINGTON AVE NORTHWEST                                                             WARREN           OH 44485‐1721
SCOTT, CORINTHIAN         258 WHITWORTH DR SW                                                                      ATLANTA          GA 30331‐3816
SCOTT, CORNELL            8525 DOE PASS                                                                            LANSING          MI 48917‐8839
SCOTT, CORNELL            6671 AMBASSADOR AVE            UNIT 312                                                  GRAND LEDGE      MI 48837
SCOTT, CORWIN O           DUFFY & ASSOCS JOHN J          23823 LORAIN RD                                           NORTH OLMSTED    OH 44070
SCOTT, COSTELLA           3617 DUDLEY AVE                                                                          NIAGRA FALLS     NY 14303‐1553
SCOTT, COURTNEY K         310 LONDONDERRY LN                                                                       MANSFIELD        TX 76063‐7672
SCOTT, CRAIG L            576 LUDWELL PL                                                                           W CARROLLTON     OH 45449‐2497
SCOTT, CRIMSON R          152 N PARKER AVE                                                                         ALBANY           IN 47320
SCOTT, CYNDIA A           2122 HERMITAGE DR                                                                        DAVISON          MI 48423‐2019
SCOTT, CYNTHIA            3860 ROBSON RD                                                                           MIDDLEPORT       NY 14105‐9734
SCOTT, CYNTHIA            1871 TURTLE RD                                                                           BYRAM            MS 39272‐9272
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Name                      Address1                           Address2            Address3         Address4         City               State Zip
SCOTT, CYNTHIA
SCOTT, CYNTHIA A          3627 HAZELHURST AVE                                                                      TOLEDO             OH    43612‐1020
SCOTT, CYNTHIA ANNMARIE   3627 HAZELHURST AVE                                                                      TOLEDO             OH    43612‐1020
SCOTT, CYNTHIA S          1481 RIVONA DR                                                                           WATERFORD          MI    48328‐4766
SCOTT, D M                2 CLAUDETTE DR APT 9                                                                     MILFORD            MA    01757
SCOTT, D R                12 EXETER DR                                                                             AUBURN             MA    01501‐2517
SCOTT, DAISY L            6934 SOUTHKNOLL AVENUE                                                                   MILLINGTON         TN    38053‐3017
SCOTT, DAISY L            6934 SOUTH KNOLL                                                                         MILLINGTON         TN    38053
SCOTT, DALE E             1606 GREENWICH ST                                                                        SAGINAW            MI    48602‐1850
SCOTT, DALTON E           19138 ELKTON RD                                                                          ATHENS             AL    35614‐6733
SCOTT, DAN
SCOTT, DANIEL A           1280 CRAMTON AVE NE                                                                      ADA                MI    49301‐8751
SCOTT, DANIEL E           28665 HALLCRAFT RD.                                                                      SOUTHFIELD         MI    48034
SCOTT, DANIEL G           1533 APPLEWOOD AVE                                                                       LINCOLN PARK       MI    48146‐2128
SCOTT, DANIEL L           444 W CLARK ST                                                                           EAST PALESTINE     OH    44413
SCOTT, DANIEL L           1322 DERBY DR NW                                                                         GRAND RAPIDS       MI    49504‐2621
SCOTT, DANIEL M           311 DOVER RD                                                                             WATERFORD          MI    48328‐3573
SCOTT, DANNY R            2128 CARTIER ST                                                                          FLINT              MI    48504
SCOTT, DARLENE            6317 GOLDEN LN                                                                           FORT WAYNE         IN    46835‐3801
SCOTT, DARLENE R          729 S PLATE ST                                                                           KOKOMO             IN    46901‐5638
SCOTT, DARROLD L          1785 ROAD 65                                                                             SCOTT              OH    45886‐9629
SCOTT, DAVID              107 RUTLEDGE ST                                                                          MONROE             LA    71202‐6221
SCOTT, DAVID              15015 MUIRLAND ST                                                                        DETROIT            MI    48238‐2152
SCOTT, DAVID              6607 TENNANT RD                                                                          BERLIN HTS         OH    44814‐9339
SCOTT, DAVID              1409 FLAMINGO DR                                                                         MOUNT MORRIS       MI    48458‐2717
SCOTT, DAVID A            3818 NAPIER RD                                                                           CANTON             MI    48187‐4623
SCOTT, DAVID A            152 WENDELL DEPOT RD                                                                     WENDELL            MA    01379
SCOTT, DAVID B            7711 N 51ST AVE APT 3030                                                                 GLENDALE           AZ    85301
SCOTT, DAVID B            1445 BRISTOL PIKE APT 15                                                                 MORRISVILLE        PA    19067
SCOTT, DAVID C            54036 BIRCHFIELD DR W                                                                    SHELBY TOWNSHIP    MI    48316‐1393
SCOTT, DAVID C            PO BOX 278                                                                               COLUMBIAVILLE      MI    48421‐0278
SCOTT, DAVID C            414 DAHLIA DR                                                                            LANSING            MI    48911‐3737
SCOTT, DAVID C.           414 DAHLIA DR                                                                            LANSING            MI    48911‐3737
SCOTT, DAVID E            505 KESSLER BOULEVARD                                                                    SHERMAN            TX    75092‐5653
SCOTT, DAVID I            862 SAINT ANDREWS WAY                                                                    FRANKFORT          IL    60423‐6500
SCOTT, DAVID J            1850 ALCOTT RD                                                                           SAGINAW            MI    48604‐9448
SCOTT, DAVID J            2386 PRINCE HALL DR                                                                      DETROIT            MI    48207‐3350
SCOTT, DAVID K            1323 N GALE ST                                                                           INDIANAPOLIS       IN    46201‐1442
SCOTT, DAVID L            263 LECK GORE RD                                                                         LIVINGSTON         TN    38570‐8927
SCOTT, DAVID O            35 BRIDLEBROOK LN                                                                        NEWARK             DE    19711‐2003
SCOTT, DAVID O            512 WALKER ST                                                                            PIQUA              OH    45356‐1838
SCOTT, DAVID R            11832 BOYNTON LN                                                                         NEW PORT RICHEY    FL    34654‐1614
SCOTT, DAVID S            107 RUTLEDGE ST                                                                          MONROE             LA    71202‐6221
SCOTT, DAVID S            4326 QUEENS WAY                                                                          BLOOMFIELD HILLS   MI    48304‐3049
SCOTT, DAVID W            446 SUTTON RD                                                                            CINCINNATI         OH    45230‐3525
SCOTT, DAVID W            5772 MALEY DR                                                                            GOLETA             CA    93117‐2124
SCOTT, DAVID W            1689 GLENVIEW DR SW                                                                      ATLANTA            GA    30331‐2337
SCOTT, DAVID W            1400 W MOORE RD                                                                          SAGINAW            MI    48601
SCOTT, DAVIS L            51 DELAWARE ST                                                                           PONTIAC            MI    48341‐1103
SCOTT, DAWN M             33 PALLISTER ST                                                                          DETROIT            MI    48202‐2416
SCOTT, DEAN E             675 LANDING DR                                                                           AIKEN              SC    29801‐2778
SCOTT, DEAN G             3062 GLORIA AVE                                                                          SPRING HILL        FL    34609‐3634
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Name                    Address1                          Address2              Address3                    Address4         City               State Zip
SCOTT, DEAN L           2336 NW 121ST ST                                                                                     OKLAHOMA CITY       OK 73120‐7416
SCOTT, DEANDRA
SCOTT, DEBORAH A        1481 W 1000N ‐ 90                                                                                    MARKLE             IN   46770
SCOTT, DEBORAH K        6122 PORTER RD                                                                                       GRAND BLANC        MI   48439
SCOTT, DEBORAH L        7240 E COUNTY ROAD 1000 SOUTH                                                                        CLOVERDALE         IN   46120‐9039
SCOTT, DEBORAH L        9050 E COLDWATER RD                                                                                  DAVISON            MI   48423
SCOTT, DEBORAH LOUISE   88 NORTHWOOD DR                                                                                      DEPEW              NY   14043
SCOTT, DEBORAH P        5738 ALDINGBROOKE CIRCLE RD S                                                                        W BLOOMFIELD       MI   48322‐1309
SCOTT, DEBRA J          1401 HILLCREST AVE                                                                                   NILES              OH   44446
SCOTT, DELBERT L        150 BRITNI LN                                                                                        SCOTTSVILLE        KY   42164‐9634
SCOTT, DELIA M          136 POTTER DR                                                                                        BELLEVILLE         MI   48111‐3606
SCOTT, DELILAH M        1470 E MORPHY ST                                                                                     FORT WORTH         TX   76104‐5361
SCOTT, DELLA L          469 RUGBY AVE                                                                                        ROCHESTER          NY   14619
SCOTT, DELLA P          172 CARLYLE ST                                                                                       NORCROSS           GA   30071‐2521
SCOTT, DELLA P          172 CARLYLE                                                                                          NORCROSS           GA   30071‐2521
SCOTT, DELOIS K         1109 W KURTZ AVE                                                                                     FLINT              MI   48505‐1203
SCOTT, DELORES E        33495 HUNTER AVE                                                                                     WESTLAND           MI   48185‐2845
SCOTT, DELORIS          5439 RIVER MEADOW BLVD                                                                               FLINT              MI   48532‐2268
SCOTT, DEMPSEY C        103 ARCADIA DR                                                                                       SEBASTIAN          FL   32958‐6946
SCOTT, DENNIS G         400 MILLER AVE                                                                                       ROCHESTER          MI   48307‐2224
SCOTT, DENNIS K         58 W BEAVER RD                                                                                       KAWKAWLIN          MI   48631‐9704
SCOTT, DENNIS L         20326 168TH ST                                                                                       BASEHOR            KS   66007‐5186
SCOTT, DENNIS LEE       20326 168TH ST                                                                                       BASEHOR            KS   66007‐5186
SCOTT, DENNIS M         3943 BRIDGEPORT DR                                                                                   LANSING            MI   48911‐4302
SCOTT, DENNIS R         54098 CAMB RDG                                                                                       SHELBY             MI   49455
SCOTT, DENNIS R         649 RICHLAND WAY                                                                                     WESTFIELD          IN   46074‐9054
SCOTT, DENNIS R         3201 FALL DR                                                                                         ANDERSON           IN   46012‐9543
SCOTT, DENNIS RAY       649 RICHLAND WAY                                                                                     WESTFIELD          IN   46074‐9054
SCOTT, DEWEY L          20474 FREELAND ST                                                                                    DETROIT            MI   48235‐1517
SCOTT, DIANA M          6684 PASSONS CT SE                                                                                   CALEDONIA          MI   49316‐7976
SCOTT, DIANE
SCOTT, DIANE            4752 REDBRANCH DR                                                                                    DECATUR            GA   30035‐2538
SCOTT, DIANE L          2111 ANNABELLE ST                                                                                    DETROIT            MI   48217‐1159
SCOTT, DIXIE L          625 WEST DRYDEN                                                                                      ODESSA             MO   64076‐1311
SCOTT, DIXIE L          625 W DRYDEN ST                                                                                      ODESSA             MO   64076‐1311
SCOTT, DOLORES F        1383 COUNTY STREET 2981                                                                              BLANCHARD          OK   73010‐3045
SCOTT, DOLORES J        17387 TRADEWINDS CT                                                                                  CLINTON TOWNSHIP   MI   48038‐5248
SCOTT, DON              2807 CASTLE BLUFF CT SE APT 202                                                                      KENTWOOD           MI   49512‐2746
SCOTT, DON              SCOTT WANDA H                     KING, JAMES STEPHEN   1661 INT PLACE DRIVE #300                    MEMPHIS            TN   38120
SCOTT, DONALD A         1165 TROTWOOD LN                                                                                     FLINT              MI   48507‐3710
SCOTT, DONALD E         10900 BEAVER RD                                                                                      SAINT HELEN        MI   48656‐9610
SCOTT, DONALD G         509 E MOORE ST                                                                                       CHRISTOPHER        IL   62822‐1917
SCOTT, DONALD L         3830 RIDGE RD                                                                                        WILLIAMSBURG       OH   45176‐9749
SCOTT, DONALD R         4840 E MOUNT PLEASANT DR                                                                             FLAGSTAFF          AZ   86004‐7846
SCOTT, DONALD V         6451 SOUTHAMPTON DR                                                                                  CLARKSTON          MI   48346‐3059
SCOTT, DONALD W         106 DUCK POND DR                                                                                     DANDRIDGE          TN   37725‐5387
SCOTT, DONNA            3721 SOUTHBEND DR                                                                                    MURFREESBORO       TN   37128‐5100
SCOTT, DONNA F          1100 SPRINGWAY COURT                                                                                 SHELBYVILLE        IN   46176
SCOTT, DONNA L          10002 HWY 199 WEST                                                                                   POOLVILLE          TX   76487
SCOTT, DONNA L          10002 HIGHWAY 199 W                                                                                  POOLVILLE          TX   76487‐2900
SCOTT, DONNA M          3141 N HOCKADAY RD                                                                                   GLADWIN            MI   48624‐9757
SCOTT, DONNA M          1251 PINEGROVE ST. APT#B                                                                             BRISTOL            PA   19007
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Name                   Address1                       Address2                      Address3   Address4         City            State Zip
SCOTT, DONNA M         11205 E 241ST ST                                                                         CICERO           IN 46034‐9711
SCOTT, DORIS A         515 E 30TH ST                                                                            MARION           IN 46953‐3669
SCOTT, DORIS A         1289 DANFORTH ST                                                                         SAINT PAUL       MN 55117‐4204
SCOTT, DORIS J         1401 PRUETER RD                                                                          SAGINAW          MI 48601‐6612
SCOTT, DOROTHY L       409 WANILLA LN                 C/O SHIELA K URECHE                                       DEWITT           MI 48820‐8740
SCOTT, DOROTHY M       449 CHASSERAL DR NW APT 2A                                                               COMSTOCK PARK    MI 49321‐9156
SCOTT, DORSEY J        103 LIME ROCK RD                                                                         LE ROY           NY 14482‐9602
SCOTT, DOUGLAS E       215 N CANAL RD LOT 210                                                                   LANSING          MI 48917‐8676
SCOTT, DOUGLAS J       3788 WILSON FARMS BLVD                                                                   FRANKLIN         OH 45005
SCOTT, DOUGLAS J       PO BOX 716                                                                               LAKE CITY        MI 49651‐0716
SCOTT, DOUGLAS T       829 W JOLLY RD                                                                           LANSING          MI 48910
SCOTT, DOUGLAS T       609 SOUTH CHESTNUT STREET                                                                LANSING          MI 48933‐2284
SCOTT, DOUGLAS W       6136 DAN PATCH CT                                                                        INDIANAPOLIS     IN 46237‐3132
SCOTT, DOYNE E         4041 GRANGE HALL RD LOT 67                                                               HOLLY            MI 48442‐1921
SCOTT, DREW M          620 E OTIS AVE                                                                           HAZEL PARK       MI 48030‐1800
SCOTT, DUANE E         2724 TAYLOR ST                                                                           LANSING          MI 48906‐2918
SCOTT, DUDLEY H        9 W TYGER CT                                                                             GREER            SC 29651‐5864
SCOTT, DWIGHT E        3819 WINDING FOREST DR                                                                   GRAND PRAIRIE    TX 75052‐6684
SCOTT, DWIGHT EDWARD   3819 WINDING FOREST DR                                                                   GRAND PRAIRIE    TX 75052‐6684
SCOTT, E               314 SARATOGA CIRCLE                                                                      RICHMOND         KY 40475‐8310
SCOTT, E JANE          412 S BROOM ST                                                                           WILMINGTON       DE 19805‐3944
SCOTT, EARL B          5368 B NORTH 13000 W RD                                                                  CUSTER PARK       IL 60481
SCOTT, EARL C          7400 GLENLEAF RD LOT 140                                                                 SHREVEPORT       LA 71129‐3716
SCOTT, EARL C          LOT 140                        7400 GLENLEAF ROAD                                        SHREVEPORT       LA 71129‐3716
SCOTT, EARL D          1714 PARK DR                                                                             MIDDLETOWN       OH 45044
SCOTT, EARL F          1714 PARK DR                                                                             MIDDLETOWN       OH 45044‐6352
SCOTT, EARL J          1860 DEEP RIVER RD                                                                       STANDISH         MI 48658‐9116
SCOTT, EARNEST Z       7866 CHAMBERS RD                                                                         PINCKNEY         MI 48169‐6400
SCOTT, EDDIE G         837 NE 28TH ST                                                                           OKLAHOMA CITY    OK 73105‐7910
SCOTT, EDITH           243 ROSLYN ST                                                                            ROCHESTER        NY 14619‐1811
SCOTT, EDITH L         91 N FRANCIS AVE                                                                         PONTIAC          MI 48342‐2724
SCOTT, EDITH O         563 E 128TH ST                                                                           CLEVELAND        OH 44108‐2026
SCOTT, EDITH O         563 E 128 ST                                                                             CLEVELAND        OH 44108‐2026
SCOTT, EDITH W         3613 N CHADAM LANE #1‐D                                                                  MUNICE           IN 47304‐5232
SCOTT, EDNA H          560 PARK BLVD                                                                            LANSING          MI 48910‐3360
SCOTT, EDREKA M        8419 BRIDGEWAY LN              APT 2B                                                    FORT WAYNE       IN 46816‐2378
SCOTT, EDWARD          1711 HILLENWOOD RD                                                                       BALTIMORE        MD 21239‐3616
SCOTT, EDWARD          667 S OAKLEY AVE                                                                         COLUMBUS         OH 43204‐2913
SCOTT, EDWARD D        762 CAVALRY ST                                                                           DETROIT          MI 48209‐3077
SCOTT, EDWARD D        1119 WEST STEWART AVENUE                                                                 FLINT            MI 48504‐2276
SCOTT, EDWARD E        8220 HICKMAN MILLS DR                                                                    KANSAS CITY      MO 64132‐2518
SCOTT, EDWARD E        1860 MARY PL                                                                             YOUNGSTOWN       OH 44515‐5565
SCOTT, EDWARD J        2514 SAINT GEORGE ST                                                                     WILMINGTON       DE 19808‐4052
SCOTT, EDWARD J        3470 HARMONY LN                                                                          ZANESVILLE       OH 43701
SCOTT, EDWARD O        9852 S ELLIS AVE                                                                         CHICAGO           IL 60628‐1516
SCOTT, EDWIN A         19177 WILDOAK LN                                                                         PONCHATOULA      LA 70454
SCOTT, EDWIN D         612 HUNTERS LN                                                                           BRENTWOOD        TN 37027‐5735
SCOTT, EDWIN D         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                      STREET, SUITE 600
SCOTT, EDWIN E         20 ARDMORE COURT                                                                         NILES           OH 44446‐1903
SCOTT, ELAINE J        107 EDWARDS DR                                                                           AUBURN          MI 48611‐9460
SCOTT, ELDIN A         2248 9 MILE RD                                                                           KAWKAWLIN       MI 48631‐9707
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Name                 Address1                       Address2            Address3         Address4         City                State Zip
SCOTT, ELEANOR O     4131 MELLEN DR                                                                       ANDERSON             IN 46013‐5048
SCOTT, ELIZABETH A   1305 WILLOW TREE DR                                                                  WOODSTOCK            GA 30188‐4645
SCOTT, ELIZABETH G   5622 BEAUPORT RD                                                                     SPEEDWAY             IN 46224‐3318
SCOTT, ELIZABETH M   1837 E BRIAR LN                                                                      BELOIT               WI 53511‐2259
SCOTT, ELIZABETH S   2121 S HERMITAGE                                                                     HERMITAGE            PA 16148‐5991
SCOTT, ELMER         GUY WILLIAM S                  PO BOX 509                                            MCCOMB               MS 39649‐0509
SCOTT, ELMER F       PO BOX 253                                                                           LEWISTON             MI 49756‐0253
SCOTT, ELMIRA        6805 LONGWORTH                                                                       WATERFORD            MI 48329‐1122
SCOTT, EMILY         39115 LYNDON                                                                         LIVONIA              MI 48154‐4714
SCOTT, EMILY         39115 LYNDON ST                                                                      LIVONIA              MI 48154‐4714
SCOTT, EMMA G        2028 E 9TH ST                                                                        ANDERSON             IN 46012‐4210
SCOTT, EMMETT        86 FAIRFAX ST                                                                        LOCKPORT             NY 14094‐4867
SCOTT, ERIC D        1702 IROQUOIS AVE                                                                    FLINT                MI 48503‐5115
SCOTT, ERIK
SCOTT, ERNEST        60 TWIG LN                                                                           WILLINGBORO         NJ   08046‐3861
SCOTT, ERNEST A      2004 CROWN AVE                                                                       NORWOOD             OH   45212‐2111
SCOTT, ERNEST R      4461 CRICKET RIDGE DR          APT 203                                               HOLT                MI   48842‐2934
SCOTT, ERVIN C       7736 BUNKHOUSE LANE                                                                  MANTON              MI   49663‐9518
SCOTT, ERWIN E       PO BOX 2                                                                             PARADISE            MI   49768‐0002
SCOTT, ESSIE         PO BOX 541                                                                           BELLWOOD            IL   60104‐0541
SCOTT, ESSIE         P O BOX 541                                                                          BELLWOOD            IL   60104‐0541
SCOTT, ETHER M       278 KENWOOD AVE                                                                      ROCHESTER           NY   14611‐3030
SCOTT, ETHYLE M      PO BOX 3515                                                                          MANSFIELD           OH   44907‐0515
SCOTT, EUGENE W      14200 BEATRICE ST                                                                    LIVONIA             MI   48154‐4412
SCOTT, EUNICE B      6720 W 52ND PL APT 2B                                                                MISSION             KS   66202‐1519
SCOTT, EUNICE J      8 MICAELA CT                                                                         WEST MILTON         OH   45383‐1381
SCOTT, EVA B         357 BEST ST                                                                          BUFFALO             NY   14204‐1024
SCOTT, EVANDER B     3220 HAROLD ST                                                                       SAGINAW             MI   48601‐3120
SCOTT, EVELYN A      112 POLAND ROAD                                                                      DANVILLE            IL   61834‐7464
SCOTT, EVELYN B      736 W 43RD ST                                                                        INDIANAPOLIS        IN   46208‐3310
SCOTT, EVELYN B      736 WEST 43RD STREET                                                                 INDIANAPOLIS        IN   46208‐3310
SCOTT, EVELYN L      1696 ALDRIDGE GAP RD                                                                 GUNTERSVILLE        AL   35976‐6179
SCOTT, EVELYN V      40 ALTA LN                                                                           KOKOMO              IN   46902‐5217
SCOTT, EVERARD J     42854 WILMINGTON CT                                                                  STERLING HTS        MI   48313‐2670
SCOTT, EVERETT L     17812 CROWN POINTE CT 317                                                            NOBLESVILLE         IN   46062
SCOTT, EVERNEATHER   PO BOX 584                                                                           RADCLIFF            KY   40159‐0584
SCOTT, EXIE L        1687 GEORGIA AVE                                                                     PARSONS             TN   38363
SCOTT, F             80 N RACCOON RD APT 79                                                               AUSTINTOWN          OH   44515‐2712
SCOTT, F ELMER       11814 LESSER ST                                                                      NORWALK             CA   90650‐4026
SCOTT, FANNIE        912 LAURIE LANE                                                                      GALLATIN            TN   37066‐3849
SCOTT, FANNIE        10542 NORTH OAK DR                                                                   FERNDALE            MI   48220
SCOTT, FANNIE C      8075 DAVIS ST.TON AVENUE                                                             MASURY              OH   44438
SCOTT, FLORENCE      907 ROSELAWN DR                                                                      ROCHESTER           MI   48307‐1842
SCOTT, FLORENCE M    36540 UNION LAKE RD APT 1                                                            HARRISON TOWNSHIP   MI   48045
SCOTT, FLORINE J     19243 RYAN RD                                                                        DETROIT             MI   48234‐1968
SCOTT, FRANCES       1533 E MELTON RD                                                                     BIRMINGHAM          MI   48009‐7275
SCOTT, FRANCES J     2026 NW 52ND ST                                                                      BOCA RATON          FL   33496‐3447
SCOTT, FRANCIS A     3487 42ND ST                                                                         CANFIELD            OH   44406‐8216
SCOTT, FRANK H       6633 LEFEVRE RD                                                                      CASSTOWN            OH   45312‐9564
SCOTT, FRANK J       3027 N SHEPARD AVE                                                                   MILWAUKEE           WI   53211‐3437
SCOTT, FRANK L       297 S BOOKER ST                                                                      CRESTVIEW           FL   32536‐4051
SCOTT, FRANK W       2204 E MEMORY LN                                                                     ANDERSON            IN   46013‐9622
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Name                 Address1                              Address2                       Address3   Address4         City            State Zip
SCOTT, FRANKIE       10851 W HATCHER RD                                                                               SUN CITY         AZ 85351‐4614
SCOTT, FRAZIER L     3294 EAST 104TH ST                                                                               CLEVELAND        OH 44104‐5646
SCOTT, FRED D        1519 W 19TH ST                                                                                   ANDERSON         IN 46016‐3808
SCOTT, FRED M        338 ARLINGTON RD                                                                                 COOKEVILLE       TN 38506‐8902
SCOTT, FRED W        1037 LUMINA DR                                                                                   JENISON          MI 49428‐9402
SCOTT, FREDDIE M     PO BOX 146                                                                                       CONTINENTAL      OH 45831‐0146
SCOTT, FREDDY R      GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH       PA 15219

SCOTT, FREDERICK     THE LIPMAN LAW FIRM                   5915 PONCE DE LEON BLVD        SUITE 44                    CORAL GABLES    FL 33146
SCOTT, FREDERICK G   1410 HUNTINGTON DR                                                                               MURFREESBORO    TN 37130‐2227
SCOTT, FREDERICK L   19400 E 37TH TERRACE CT S APT 911                                                                INDEPENDENCE    MO 64057‐2490
SCOTT, FREDRICK
SCOTT, G R           1314 NORTON ST                                                                                   BURTON          MI   48529‐1242
SCOTT, G R           8 DELAWARE ST                                                                                    WORCESTER       MA   01603‐2303
SCOTT, G RAY         1314 NORTON ST                                                                                   BURTON          MI   48529‐1242
SCOTT, GAIL A        21431 WESTHAMPTON ST                                                                             OAK PARK        MI   48237‐2794
SCOTT, GAIL A        10457 S LEWIS RD                                                                                 CLIO            MI   48420‐7732
SCOTT, GAIL ANN      10457 S LEWIS RD                                                                                 CLIO            MI   48420‐7732
SCOTT, GAIL E        181 CHESTNUT HILL LN S                                                                           WILLIAMSVILLE   NY   14221‐2629
SCOTT, GAREY         60 CARL AVE LOT D3                                                                               EIGHTY FOUR     PA   15330‐2831
SCOTT, GARFIELD J    825 E TEE ST                                                                                     QUEEN CREEK     AZ   85240‐8515
SCOTT, GARLAND E     215 S ROBY DR                                                                                    ANDERSON        IN   46012‐3250
SCOTT, GARRY L       PO BOX 445                                                                                       LYONS           GA   30436
SCOTT, GARY          729 S PLATE ST                                                                                   KOKOMO          IN   46901‐5638
SCOTT, GARY A        6466 79TH AVENUE                                                                                 PINELLAS PARK   FL   33781‐2137
SCOTT, GARY A        2273 MEADOWLANE CT                                                                               BURTON          MI   48519‐1192
SCOTT, GARY E        4434 ATHLONE AVE                                                                                 SAINT LOUIS     MO   63115‐3118
SCOTT, GARY L        5933 ARCOLA ST                                                                                   GARDEN CITY     MI   48135‐2524
SCOTT, GARY L        13309 S 5TH ST                                                                                   SCHOOLCRAFT     MI   49087‐9448
SCOTT, GARY L        261 MILKY WAY DR                                                                                 PULASKI         TN   38478‐7560
SCOTT, GARY L        512 FERNDALE AVE                                                                                 YOUNGSTOWN      OH   44511‐3208
SCOTT, GARY P        2045 ARCOLA ST                                                                                   GARDEN CITY     MI   48135‐2910
SCOTT, GARY R        1570 PICADILLY DR                                                                                HASLETT         MI   48840‐8480
SCOTT, GARY W        8 GEORGIAN CIR                                                                                   NEWARK          DE   19711‐2550
SCOTT, GARY W        4131 O NEALL RD                                                                                  WAYNESVILLE     OH   45068‐9293
SCOTT, GARY W        4131 O'NEAL RD                                                                                   WAYNESVILLE     OH   45068‐5068
SCOTT, GENEVA        915 NORTH NURSERY ROAD                                                                           ANDERSON        IN   46012‐2721
SCOTT, GENEVA        915 N NURSERY RD                                                                                 ANDERSON        IN   46012‐2721
SCOTT, GENEVA        2895 HARMONY COURT SOUTHWEST                                                                     WYOMING         MI   49519‐7405
SCOTT, GENEVA        1904 30TH ST SW                                                                                  WYOMING         MI   49519‐2525
SCOTT, GEORGE A      7719 DR KENNEDY DR                                                                               FLORENCE        AL   35634‐2270
SCOTT, GEORGE B      PO BOX 144                                                                                       ELLSWORTH       OH   44416‐0144
SCOTT, GEORGE D      3017 LOUISE RITA CT                                                                              YOUNGSTOWN      OH   44511‐3327
SCOTT, GEORGE E      3257 BIRCH CT                                                                                    ADRIAN          MI   49221‐1100
SCOTT, GEORGE E      20239 DERBY ST                                                                                   DETROIT         MI   48203‐1188
SCOTT, GEORGE E      20239 DERBY STREET                                                                               HIGHLAND PARK   MI   48203‐1188
SCOTT, GEORGE E      2786 W NORTH AVE                                                                                 BALTIMORE       MD   21216‐3141
SCOTT, GEORGE F      7660 E 300 N                                                                                     GREENFIELD      IN   46140‐8914
SCOTT, GEORGE J      29 SAINT JAMES CV                                                                                JACKSON         TN   38305‐7400
SCOTT, GEORGE J      PO BOX 1574                                                                                      NATCHEZ         MS   39121‐1574
SCOTT, GEORGE N      2611 E 9TH ST                                                                                    ANDERSON        IN   46012‐4407
SCOTT, GEORGE P      1095 STANLEY DR                                                                                  ZIONSVILLE      IN   46077‐9745
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Name                  Address1                      Address2                       Address3   Address4         City              State Zip
SCOTT, GEORGINA       556 PAGE ST                                                                              FLINT              MI 48505‐4728
SCOTT, GERALD A       650 PORTER AVE                                                                           CAMPBELL           OH 44405‐1417
SCOTT, GERALD D       4549 N AGUA FRIA DR                                                                      PRESCOTT VALLEY    AZ 86314‐5400
SCOTT, GERALD J       LOT 32 SECOND ST                                                                         DEARBORN HTS       MI 48127
SCOTT, GERALD K       7728 RIPPINGALE ST                                                                       BLACKLICK          OH 43004
SCOTT, GERALD M       26102 S BLINKER LIGHT RD                                                                 HARRISONVILLE      MO 64701‐3296
SCOTT, GERALD M       301 SE GREYSTONE DR                                                                      LEES SUMMIT        MO 64063‐6385
SCOTT, GERALD W       804 HAWICK CIR                                                                           MOUNT MORRIS       MI 48458‐8720
SCOTT, GERALD WAYNE   804 HAWICK CIR                                                                           MOUNT MORRIS       MI 48458‐8720
SCOTT, GERALDINE L    5055 N HIGHWAY A1A APT 302    BRYN MAWR OCEAN TOWERS                                     FORT PIERCE        FL 34949‐8240
SCOTT, GERTRUDE       143 BELMONT AVE                                                                          ELYRIA             OH 44035‐3413
SCOTT, GERTRUDE A     187 MORTON STREET                                                                        JACKSON            OH 45640‐1070
SCOTT, GILDA E        6012 W 500 S                                                                             SWAYZEE            IN 46986‐9782
SCOTT, GLADYS B       1802 SPRINGFIELD ST                                                                      FLINT              MI 48503‐4488
SCOTT, GLENN A        1317 N STEWART RD                                                                        ANDERSON           IN 46012‐9809
SCOTT, GLORIA         483 LAUREN AVE                                                                           BOWLING GREEN      KY 42104‐6442
SCOTT, GLORIA A       2951 CRYSTAL WAY                                                                         GRAND PRAIRIE      TX 75052‐8779
SCOTT, GLORIA ANN     2951 CRYSTAL WAY                                                                         GRAND PRAIRIE      TX 75052‐8779
SCOTT, GLORIA G       1325 WORCESTER ROAD #C‐6                                                                 FRAMINGHAM         MA 01701‐8944
SCOTT, GLORIA J       1837 ALCOVY TRACE WAY                                                                    LAWRENCEVILLE      GA 30045‐7934
SCOTT, GRACE          503 EXPERIMENT LANE                                                                      COLUMBIA           TN 38401
SCOTT, GRANDEL        460 CALIFORNIA AVE                                                                       PONTIAC            MI 48341‐2511
SCOTT, GREGG M        5225 TROY PIKE                                                                           HUBER HEIGHTS      OH 45424‐5749
SCOTT, GREGG M        5225 OLD TROY PIKE                                                                       HUBER HEIGHTS      OH 45424‐5424
SCOTT, GREGORY        14530 LAUDER STREET                                                                      DETROIT            MI 48227‐2529
SCOTT, GREGORY        2724 NARRAGANSET DR                                                                      LANSING            MI 48910
SCOTT, GREGORY A      1024 BROOKTON SP DR                                                                      POWDER SPRINGS     GA 30127
SCOTT, GREGORY C      3714 MEADOW VIEW DR                                                                      DEXTER             MI 48130‐9208
SCOTT, GWENDOLYN      1740 CEDARHURST RD                                                                       PULASKI            TN 38478‐9202
SCOTT, GWENDOLYN      16235 WILDEMERE ST                                                                       DETROIT            MI 48221‐3331
SCOTT, GWENDOLYN      3501 WOODWARD AVE APT 207                                                                DETROIT            MI 48201‐2432
SCOTT, GWENDOLYN      12101 S LAFAYETTE AVE                                                                    CHICAGO             IL 60628‐6620
SCOTT, GWENDOLYN      3501 WOODWARD AVE             APT 207                                                    DETROIT            MI 48201
SCOTT, HARLESS L      9769 MUELLER ST                                                                          TAYLOR             MI 48180‐3573
SCOTT, HAROLD A       8613 N DAWN AVE                                                                          KANSAS CITY        MO 64154‐1424
SCOTT, HAROLD C       5271 TERRITORIAL RD                                                                      GRAND BLANC        MI 48439‐1914
SCOTT, HAROLD D       PO BOX 6892                                                                              FORT WORTH         TX 76115‐0892
SCOTT, HAROLD DUANE   PO BOX 6892                                                                              FORT WORTH         TX 76115‐0892
SCOTT, HAROLD J       3870 SQUAW VALLEY CIR                                                                    RENO               NV 89509‐5663
SCOTT, HAROLD L       3085 N GENESEE RD APT 318                                                                FLINT              MI 48506‐2194
SCOTT, HAROLD L       609 CHRISTINA CT                                                                         VENICE             FL 34285‐6015
SCOTT, HAROLD M       55 OAK ST                                                                                STERLING           MI 48659‐9500
SCOTT, HAROLD M       1416 NE HORIZON DR                                                                       LEES SUMMIT        MO 64086‐6829
SCOTT, HAROLD W       PO BOX 791                                                                               WALDRON            AR 72958‐0791
SCOTT, HARRIETT V     12123 N BELSAY RD                                                                        CLIO               MI 48420‐9168
SCOTT, HARRY A        122 OOHLEENO WAY                                                                         LOUDON             TN 37774‐2573
SCOTT, HARRY C        307 E HART ST                                                                            BAY CITY           MI 48706‐3834
SCOTT, HARRY E        KELLEY & FERRARO LLP          1300 EAST NINTH STREET, 1901                               CLEVELAND          OH 44114
                                                    BOND COURT BUILDING
SCOTT, HARRY K        18464 OSAGE LN                                                                           MILLERSBURG       MI 49759‐9632
SCOTT, HARRY L        3477 W PARKS RD R 2                                                                      SAINT JOHNS       MI 48879
                      09-50026-mg              Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                  Address1                         Address2                       Address3   Address4         City                State Zip
SCOTT, HARRY W        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510‐2212
                                                       STREET, SUITE 600
SCOTT, HARVEY A       3067 N BELSAY RD                                                                            FLINT               MI   48506‐2232
SCOTT, HATTIE B       5656 HANDLEY BLVD                                                                           MORROW              GA   30260‐3920
SCOTT, HAZEL R        2424 SAINT JAMES WOODS BLVD                                                                 TOLEDO              OH   43617‐1254
SCOTT, HEATHER C      187 AUSTIN CT                                                                               PEARL CITY          HI   96782
SCOTT, HELEN          1422 GREENHOUSE PKWY                                                                        ALPHARETTA          GA   30022‐2804
SCOTT, HELEN I        124 SMITH ACE PO BOX 493                                                                    WARSAW              KY   41095‐0493
SCOTT, HELEN I        PO BOX 493                       124 SMITH ACE                                              WARSAW              KY   41095‐0493
SCOTT, HELEN L        3146 W BALL RD APT 20                                                                       ANAHEIM             CA   92804‐3863
SCOTT, HELEN M        119 DENNIS DR                                                                               BRICK               NJ   08724
SCOTT, HELEN W        1853 LATHAM AVE                                                                             LIMA                OH   45805‐1635
SCOTT, HENRIETTA O    315 SALEM DR APT C                                                                          VERMILION           OH   44089‐3224
SCOTT, HENRY          5850 SKYLINE DR                                                                             CINCINNATI          OH   45213‐2227
SCOTT, HENRY          1731 W FORK RD                                                                              CINCINNATI          OH   45223
SCOTT, HENRY E        5890 SE CANNON BALL RD                                                                      HOLT                MO   64048‐9292
SCOTT, HERMAN L       3838 PALL MALL RD                                                                           BALTIMORE           MD   21215‐7639
SCOTT, HERMAN M       1073 ALLSTON RD                                                                             CLEVELAND HEIGHTS   OH   44121‐2417
SCOTT, HOBART         BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD          OH   44067
                                                       PROFESSIONAL BLDG
SCOTT, HORACE D       2130 N EVERETT RD                                                                           ROSCOMMON           MI 48653‐8543
SCOTT, HOWARD         BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD          OH 44067
                                                       PROFESSIONAL BLDG
SCOTT, HOWARD F       169 N MAIN ST                                                                               CRESTON             OH   44217‐9688
SCOTT, HOWARD H       12220 GAGE RD                                                                               HOLLY               MI   48442‐8339
SCOTT, HOWARD P       20 MCMECHEM CT                                                                              NEWARK              DE   19711‐4806
SCOTT, HUBERT E       830 SOUTH ST                                                                                DANVILLE            IL   61832‐6425
SCOTT, HUGH M         1515 LOTIPAC PL                                                                             LANSING             MI   48917‐1523
SCOTT, IAMOLA C       4058 FIRE SUN                                                                               SAN ANTONIO         TX   78244‐1233
SCOTT, IMA JEAN       35 MARTIN DR                                                                                WHISPERING PINES    NC   28327‐9335
SCOTT, INA E          1980 BAMBOO CT                                                                              HAYWARD             CA   94545‐2387
SCOTT, INDEA E        8143 RENNER RD APT 7                                                                        LENEXA              KS   66219‐8011
SCOTT, INDEA EVETTE   8143 RENNER RD APT 7                                                                        LENEXA              KS   66219‐8011
SCOTT, INEZ C         9174 GEORGIA ST                                                                             MERRILLVILLE        IN   46410‐8128
SCOTT, IRA W          15028 PILGRIM CT                                                                            SHELBY TWP          MI   48315‐4455
SCOTT, IRENE M        1845 S 1ST ST APT 113                                                                       WEST BRANCH         MI   48661
SCOTT, IRENE M        APT 113                          1845 SOUTH 1ST STREET                                      WEST BRANCH         MI   48661‐8774
SCOTT, IRIS L         692 16 1/2 ST                                                                               HILLSDALE           WI   54733‐9458
SCOTT, IVAN           BOONE ALEXANDRA                  205 LINDA DR                                               DAINGERFIELD        TX   75638‐2107
SCOTT, IVAN F         7359 W 700 S                                                                                JAMESTOWN           IN   46147‐9485
SCOTT, IVAN R         1990 WESTFIELD DR N                                                                         COLUMBUS            OH   43223‐3765
SCOTT, J D            21913 ROEHRIG RD                                                                            DEFIANCE            OH   43512‐1221
SCOTT, JACKIE         528 ALLEN CREEK RD                                                                          BURKESVILLE         KY   42717‐9145
SCOTT, JACKIE         4601 GUILFORD AVE                                                                           INDIANAPOLIS        IN   46205‐1953
SCOTT, JACKIE E       5751 TRAYMORE DR                                                                            DAYTON              OH   45424‐5339
SCOTT, JACKIE E       2638 CONNESTEE TRL                                                                          BREVARD             NC   28712‐7405
SCOTT, JACKIE G       1129 SHERWOOD DR                                                                            BUCYRUS             OH   44820‐3331
SCOTT, JACKSON B      2829 MOHICAN AVE                                                                            DAYTON              OH   45429‐3738
SCOTT, JACQUELINE     2238 S 16TH AVE                                                                             BROADVIEW           IL   60155‐4012
SCOTT, JACQUELINE A   1017 HESTON ST                                                                              TOLEDO              OH   43607‐4027
SCOTT, JACQUELINE F   12 CLAUDETTE DR APT 12                                                                      MILFORD             MA   01757
SCOTT, JAMES          2503 W WOODROW ST                                                                           DURHAM              NC   27705‐3171
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Name              Address1                           Address2                    Address3   Address4            City             State Zip
SCOTT, JAMES      27 GRAVES AVE                                                                                 BATTLE CREEK      MI 49037‐2203
SCOTT, JAMES      495 DOG CREEK RD                                                                              LAWRENCEBURG      TN 38464‐5931
SCOTT, JAMES      HCR 74 BOX 112BT                                                                              ALMA              WV 26320
SCOTT, JAMES      KELLEY & FERRARO LLP               2200 KEY TOWER 127 PUBLIC                                  CLEVELAND         OH 44114
                                                     SQUARE
SCOTT, JAMES      WEITZ & LUXENBERG                  180 MAIDEN LANE                                            NEW YORK         NY   10038
SCOTT, JAMES A    401 E MOORE ST                                                                                FLINT            MI   48505‐5373
SCOTT, JAMES A    428 WEST ST                                                                                   NILES            OH   44446‐2650
SCOTT, JAMES B    1585 SAWMILL CREEK LN                                                                         CORDOVA          TN   38016‐7641
SCOTT, JAMES C    62 MORELAND AVE                                                                               PONTIAC          MI   48342‐2321
SCOTT, JAMES C    5737 FURNAS RD                                                                                INDIANAPOLIS     IN   46221‐4132
SCOTT, JAMES C    3614 STOCKTON RD                                                                              PORT CHARLOTTE   FL   33953‐5721
SCOTT, JAMES D    232 HALLBROOK DRIVE                                                                           FORT WORTH       TX   76134‐3932
SCOTT, JAMES D    1476 LAKE NEPESSING RD                                                                        LAPEER           MI   48446‐2927
SCOTT, JAMES D    561 E 15TH ST                                                                                 MARYSVILLE       CA   95901‐4613
SCOTT, JAMES E    12A MILL VIEW                      PORTAFERRY                             CO. DOWN UNITED
                                                                                            KINGDOM BT221LQ
SCOTT, JAMES E    7693 W WILLIAMSWOOD DR                                                                        NEW PALESTINE    IN   46163‐9009
SCOTT, JAMES E    313 KENTUCKY ST                                                                               WALNUT RIDGE     AR   72476‐3127
SCOTT, JAMES E    4507 HOAGLAND BLACKSTUB RD APT A                                                              CORTLAND         OH   44410‐9576
SCOTT, JAMES E    12322 S ELIZABETH ST                                                                          CALUMET PARK     IL   60827‐5808
SCOTT, JAMES F    LOT 19 BROOKVIEW ROAD                                                                         GRIFFIN          GA   30223
SCOTT, JAMES F    PO BOX 336                         137 CHURCH STREET                                          TOUGHKENAMON     PA   19374‐0336
SCOTT, JAMES H    15075 FAIRFIELD ST                                                                            DETROIT          MI   48238‐2130
SCOTT, JAMES H    63 BUFF RD                                                                                    TENAFLY          NJ   07670‐1453
SCOTT, JAMES I    12153 LAKE RD                                                                                 OTISVILLE        MI   48463‐9754
SCOTT, JAMES K    1294 CEDAR CREEK RD                                                                           HARTSELLE        AL   35640‐8476
SCOTT, JAMES L    19210 CHARTER OAKS DR                                                                         DAVISON          MI   48423‐3249
SCOTT, JAMES L    PO BOX 547                                                                                    DAVISON          MI   48423‐0547
SCOTT, JAMES L    11701 FRONT ST                                                                                QUINCY           IN   47456‐8655
SCOTT, JAMES L    7875 RAVENSWOOD RD                                                                            WALES            MI   48027‐3312
SCOTT, JAMES L    WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                            NEW YORK         NY   10038
SCOTT, JAMES M    11945 143RD ST APT 7106                                                                       LARGO            FL   33774‐2952
SCOTT, JAMES O    80 S DORSET RD                                                                                TROY             OH   45373‐2606
SCOTT, JAMES P    165 S OPDYKE RD LOT 119                                                                       AUBURN HILLS     MI   48326‐3163
SCOTT, JAMES P    119 S 19TH ST                                                                                 SAGINAW          MI   48601‐1442
SCOTT, JAMES S    1771 TRACY RD                                                                                 FOUNTAIN RUN     KY   42133‐9625
SCOTT, JAMES T    14717 W 90TH TER                                                                              LENEXA           KS   66215‐2923
SCOTT, JAMES T    499 3RD ST SW                                                                                 WARREN           OH   44483‐4483
SCOTT, JAMES T    KEVIN E MCDERMOTT CO               36815 DETROIT RD                                           AVON             OH   44011‐1503
SCOTT, JAMES V    7 GARDEN PL APT 6                                                                             SPRING LAKE      NJ   07762‐2462
SCOTT, JAMES W    MOODY EDWARD O                     801 W 4TH ST                                               LITTLE ROCK      AR   72201‐2107
SCOTT, JAMES W    13 WALTHAM WAY                                                                                SICKLERVILLE     NJ   08081‐9321
SCOTT, JAMES W    19620 FOX TRL                                                                                 DUNNELLON        FL   34432‐6100
SCOTT, JAMES W    C/O EDWARD O MOODY PA              801 WEST FOURTH STREET                                     LITTLE ROCK      AR   72201
SCOTT, JANE       306 S FERRY ST UNIT 12                                                                        LUDINGTON        MI   49431‐2056
SCOTT, JANE K     3304 STILLCORN RIDGE RD                                                                       COLUMBIA         TN   38401‐5975
SCOTT, JANE N     2350 WHISPERING MDWS NE                                                                       WARREN           OH   44483‐3675
SCOTT, JANET A    1020 ALTON RD                                                                                 PORT CHARLOTTE   FL   33952‐1736
SCOTT, JANICE     1514 VANCOUVER DR                                                                             SAGINAW          MI   48638‐4771
SCOTT, JANICE A   12220 GAGE RD                                                                                 HOLLY            MI   48442‐8339
SCOTT, JANICE K   1792 CADILLAC AVE                                                                             YPSILANTI        MI   48198‐9203
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Name                    Address1                          Address2                       Address3   Address4         City            State Zip
SCOTT, JANICE KAY       1792 CADILLAC AVE                                                                            YPSILANTI        MI 48198‐9203
SCOTT, JANINE M         126 ANDREWS BLVD                                                                             PLAINFIELD       IN 46168
SCOTT, JARVIS W         735 CHIPPEWA DR                                                                              DEFIANCE         OH 43512‐3367
SCOTT, JASON M          1539 GILSEY AVE                                                                              DAYTON           OH 45418
SCOTT, JASON O          556 PAGE ST                                                                                  FLINT            MI 48505‐4728
SCOTT, JAY H            PO BOX 1023                                                                                  JAMESTOWN        TN 38556‐1023
SCOTT, JAY S            2378 HARMONY DR                                                                              BURTON           MI 48509‐1164
SCOTT, JEAN A           516 E JEFFERSON ST                                                                           KOKOMO           IN 46901‐4724
SCOTT, JEANETTE         16315 POPLAR ST                                                                              SOUTHGATE        MI 48195‐2195
SCOTT, JEANETTE O       3800 DORSET DR                                                                               DAYTON           OH 45405‐1939
SCOTT, JEANNE           268 W FOREST AVE                                                                             ENGLEWOOD        NJ 07631‐3804
SCOTT, JEANNETTE ANN    17752 TOEPFER DR                                                                             EASTPOINTE       MI 48021‐3071
SCOTT, JEFF A           10547 N KITCHEN RD                                                                           MOORESVILLE      IN 46158‐6530
SCOTT, JEFFERY L        14639 GREENOVER LN                                                                           JACKSONVILLE     FL 32258‐4417
SCOTT, JEFFREY D        6305 S HIGH SCHOOL RD                                                                        INDIANAPOLIS     IN 46221‐4517
SCOTT, JEFFREY H        7233 SONDRIDGE CIR                                                                           INDIANAPOLIS     IN 46256‐2367
SCOTT, JEFFREY J        5155 NORTH PARK AVE EXT                                                                      BRISTOLVILLE     OH 44402
SCOTT, JEFFREY R        5609 RAMBLING DRIVE                                                                          INDIANAPOLIS     IN 46239‐6932
SCOTT, JEFFRIE A        1800 W M 21                                                                                  OWOSSO           MI 48867‐9310
SCOTT, JEFFRIE ARTHUR   1800 W M 21                                                                                  OWOSSO           MI 48867‐9310
SCOTT, JENNIFER
SCOTT, JENNIFER A       11925 BUFFALO ST                                                                             DETROIT         MI   48212‐2849
SCOTT, JENNIFER J       PO BOX 2086                                                                                  ANDERSON        IN   46018‐2086
SCOTT, JERRY C          166 W RIVER RD                                                                               NEWTON FALLS    OH   44444‐9401
SCOTT, JERRY D          383 BEAVER SHORES DR                                                                         LACHINE         MI   49753‐9678
SCOTT, JERRY D          128 E SOUTH B ST                                                                             GAS CITY        IN   46933‐1713
SCOTT, JERRY E          10420 N SHARPBEND RD                                                                         ALBANY          IN   47320‐9122
SCOTT, JERRY J          3117 AUSTINTOWN WARREN RD                                                                    MINERAL RIDGE   OH   44440‐9786
SCOTT, JERRY L          2500 S PRIESTFORD RD                                                                         YORKTOWN        IN   47396‐9727
SCOTT, JERRY LEE        2500 S PRIESTFORD RD                                                                         YORKTOWN        IN   47396‐9727
SCOTT, JERRY R          513 VERA CRUZ DR                                                                             DESTIN          FL   32541‐3015
SCOTT, JERRY W          5365 GREENSWARD LN                                                                           INDIANAPOLIS    IN   46224‐7121
SCOTT, JERRY W          33907 CHERYL ST                                                                              CLINTON TWP     MI   48035‐3941
SCOTT, JESSAMINE M      8940 MONROE                                                                                  DURAND          MI   48429‐1007
SCOTT, JESSE            KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND       OH   44114
                                                          BOND COURT BUILDING
SCOTT, JESSE S          18422 S SETTLERS SHORE DR                                                                    CYPRESS         TX   77433‐2437
SCOTT, JESSIE           1442 S PULASKI RD                                                                            CHICAGO         IL   60623‐1252
SCOTT, JESSIE E         704 N. PARK AVE                                                                              ALEXANDRIA      IN   46001
SCOTT, JESSIE L         PO BOX 2341                                                                                  JOPLIN          MO   64803‐2341
SCOTT, JESSIE M         4685 DAY RD                                                                                  LOCKPORT        NY   14094
SCOTT, JESSY C          8690 S COUNTY ROAD 575 E                                                                     MOORESVILLE     IN   46158‐7765
SCOTT, JEWELL           1093 TAHOE TRL                                                                               FLINT           MI   48532‐3567
SCOTT, JEWELL C         PO BOX 863                                                                                   DURANT          FL   33530
SCOTT, JIMMIE G         955 W BEAL AVE                                                                               BUCYRUS         OH   44820‐3488
SCOTT, JIMMY A          1701 STILLWAGON RD                                                                           NILES           OH   44446‐4436
SCOTT, JIMMY D          PO BOX 1624                                                                                  WEATHERFORD     TX   76086‐7624
SCOTT, JIMMY J          PO BOX 63                                                                                    DOUGLASS        TX   75943‐0063
SCOTT, JO A             APT 4802                          1604 NORTH HILLS BOULEVARD                                 HURST           TX   76053‐7265
SCOTT, JO A             1604 N HILLS BLVD                 APT 4802                                                   HURST           TX   76053
SCOTT, JO ANN           210 KINGSPORT DR NE                                                                          CONCORD         NC   28025‐2986
SCOTT, JO ANNE          5190 BALTUSTROL DR                                                                           AVON            IN   46123‐6901
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Name                 Address1                       Address2                        Address3   Address4         City             State Zip
SCOTT, JO D          56 CORNICHE DR APT E                                                                       DANA POINT        CA 92629‐4066
SCOTT, JO E          14320 STALGREN CT NE                                                                       ALBUQUERQUE       NM 87123‐2209
SCOTT, JOAN          2151 S COOKE RD                                                                            ROCKVILLE         IN 47872‐7435
SCOTT, JOAN M        7 GARDEN PLACE #6 SPRING                                                                   SPRING LAKE       NJ 07762
SCOTT, JOAN M        10700 BIGELOW RD                                                                           DAVISBURG         MI 48350‐2003
SCOTT, JOANNA M      604 E SOUTH ST BOX 257                                                                     ARCADIA           IN 46030‐0257
SCOTT, JOANNE C      123 PELICAN LN                                                                             GUADALUPE         CA 93434
SCOTT, JOANNE R.     1314 NORTON ST                                                                             BURTON            MI 48529‐1242
SCOTT, JOE E         4033 E TOWHEE LN                                                                           HERNANDO          FL 34442‐3974
SCOTT, JOE E         PO BOX 317                                                                                 WHITE BLUFF       TN 37187‐0317
SCOTT, JOE F         1614 ZEBULON RD                                                                            GRIFFIN           GA 30224‐5156
SCOTT, JOE L         6560 KAISER AVE                                                                            FONTANA           CA 92336‐3260
SCOTT, JOEL W        123 LINCOLN AVE                                                                            NILES             OH 44446‐3122
SCOTT, JOHN          110 MEAYS DR                                                                               SYRACUSE          NY 13209‐1943
SCOTT, JOHN          KELLEY & FERRARO LLP           1300 EAST NINTH STREET, 1901                                CLEVELAND         OH 44114
                                                    BOND COURT BUILDING
SCOTT, JOHN          BROWN TERRELL HOGAN ELLIS      804 BLACKSTONE BLDG, 233 EAST                               JACKSONVILLE      FL   32202
                     MCCLAMMA & YEGELWEL P.A.       BAY STREET
SCOTT, JOHN          BOONE ALEXANDRA                205 LINDA DR                                                DAINGERFIELD     TX    75638‐2107
SCOTT, JOHN          201 S FRANKLIN ST                                                                          WILMINGTON       DE    19805‐4040
SCOTT, JOHN A        PO BOX 358                                                                                 WILSON           NY    14172‐0358
SCOTT, JOHN A        444 FORESTWOOD LN                                                                          MAITLAND         FL    32751‐3208
SCOTT, JOHN A        1466 LEISURE DR                                                                            FLINT            MI    48507‐4057
SCOTT, JOHN C        16864 NORMANDY ST                                                                          DETROIT          MI    48221‐3140
SCOTT, JOHN D        685 WILLOW BEND CIR                                                                        BOWLING GREEN    KY    42104‐8501
SCOTT, JOHN D        12050 YELLOW FINCH LN                                                                      TRINITY          FL    34655‐7174
SCOTT, JOHN D        193 LOCUST ST                                                                              BUFFALO          NY    14204‐1132
SCOTT, JOHN D        425 MALLARD LAKE CIR                                                                       SURFSIDE BEACH   SC    29575‐4763
SCOTT, JOHN E        1850 CASTLEWOOD DR                                                                         MADISON HTS      MI    48071‐2260
SCOTT, JOHN E        3126 FULTON ST                                                                             SAGINAW          MI    48601‐3100
SCOTT, JOHN E        75 TWIN SPRINGS FARM LN                                                                    FOLEY            MO    63347‐2537
SCOTT, JOHN H        3045 LAWRENCE STREET                                                                       DETROIT          MI    48206‐3117
SCOTT, JOHN L        RR 3 BOX 360                                                                               ADRIAN           MO    64720‐8932
SCOTT, JOHN W        4259 CARMANWOOD DR                                                                         FLINT            MI    48507‐5505
SCOTT, JOHN W        104 WOODLAND TRCE                                                                          CORTLAND         OH    44410‐1903
SCOTT, JOHN W        6573 RAINER WAY APT D                                                                      INDIANAPOLIS     IN    46214‐3775
SCOTT, JOHN W        505 HOWLAND WILSON RD                                                                      WARREN           OH    44484‐4484
SCOTT, JOHN W        SHANNON LAW FIRM               100 W GALLATIN ST                                           HAZLEHURST       MS    39083‐3007
SCOTT, JOHN WILSON   6573 RAINER WAY APT D                                                                      INDIANAPOLIS     IN    46214‐3775
SCOTT, JOHNNIE       3417 N MILTON ST                                                                           MUNCIE           IN    47304‐1938
SCOTT, JOHNNIE E     APT 4802                       1604 NORTH HILLS BOULEVARD                                  HURST            TX    76053‐7265
SCOTT, JOHNNIE M     5661 MOUNT OLIVE CT                                                                        DAYTON           OH    45426‐1309
SCOTT, JOHNNIE R     52 PRIVATE DRIVE 227                                                                       CHESAPEAKE       OH    45619‐8556
SCOTT, JOHNNY        3 MARTHA LN                                                                                HUNTSVILLE       TX    77320‐0112
SCOTT, JOHNNY R      4304 W 59TH                                                                                LOS ANGELES      CA    90043
SCOTT, JON D         6520 S 500 E                                                                               GAS CITY         IN    46933‐9589
SCOTT, JONATHAN      340 UNIVERSITY AVE                                                                         MISSOULA         MT    59801‐4350
SCOTT, JORDAN        60 CARL AVE LOT D3                                                                         EIGHTY FOUR      PA    15330‐2831
SCOTT, JOSEPH        PO BOX 122325                                                                              ARLINGTON        TX    76012‐8325
SCOTT, JOSEPH C      506 RANDOM RD                                                                              BALTIMORE        MD    21229‐3930
SCOTT, JOSEPH D      3101 BRYNMAWR PL                                                                           FLINT            MI    48504‐2505
SCOTT, JOSEPH J      625 WAYNE AVE APT 2                                                                        DEFIANCE         OH    43512‐2653
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Name                     Address1                           Address2                         Address3           Address4         City                 State Zip
SCOTT, JOSEPH JERMAINE   625 WAYNE AVE APT 2                                                                                     DEFIANCE              OH 43512‐2653
SCOTT, JOSEPH M          758 THORNTON ST                                                                                         SHARON                PA 16146‐3576
SCOTT, JOSEPH S          21441 LAKEBREEZE ST                                                                                     SAINT CLAIR SHORES    MI 48082‐1212
SCOTT, JOSEPHINE         2286 HUDSON DR                                                                                          ST LOUIS              MO 63136
SCOTT, JOSEPHINE         2286 HUDSON RD                                                                                          SAINT LOUIS           MO 63136‐5626
SCOTT, JOSEPHINE         PO BOX 16041                                                                                            LANSING               MI 48901‐6041
SCOTT, JOSHUA J          8486 US ROUTE 127                                                                                       WEST MANCHESTER       OH 45382‐9713
SCOTT, JOYCE             40 RICHMAN PLZ APT 10H                                                                                  BRONX                 NY 10453
SCOTT, JOYCE             15400 18 MILE RD APT B102                                                                               CLINTON TOWNSHIP      MI 48038‐5829
SCOTT, JOYCE A           1653 CHURCHILL LN                                                                                       MANSFIELD             TX 76063‐7907
SCOTT, JOYCE E           383 BEAVER SHORES DR                                                                                    LACHINE               MI 49753‐9678
SCOTT, JOYCE E           6073 N ELMS RD                                                                                          FLUSHING              MI 48433‐9012
SCOTT, JOYCE L           8645 CANYON COVE RD                                                                                     GALLOWAY              OH 43119‐9449
SCOTT, JOYCE O           8505 HALLER ST                                                                                          WESTLAND              MI 48185‐1801
SCOTT, JUAN              PARKER LAW OFFICE                  PO BOX 470                                                           EUREKA SPRINGS        AR 72632‐0470
SCOTT, JUAN              LANGDON EMISON KUHLMAN & EVANS     THE EAGLE BUILDING 911 MAIN ST                                       LEXINGTON             MO 64067
                         LLC                                BOX PO
SCOTT, JUAN
SCOTT, JUANITA P         3105 TORREY BEACH DRIVE                                                                                 FENTON               MI   48430‐1367
SCOTT, JUDITH A          16104 US HIGHWAY 12                                                                                     UNION                MI   49130‐9236
SCOTT, JUDITH ANN        PO BOX 93                                                                                               CLARKSVILLE          OH   45113‐0093
SCOTT, JUDITH ANN        P.O. BOX 93                                                                                             CLARKSVILLE          OH   45113‐0093
SCOTT, JUDITH E          3710 E 750 S                                                                                            LEBANON              IN   46052‐8427
SCOTT, JUDITH K          1972 EATON GETTYSBURG RD                                                                                EATON                OH   45320‐9605
SCOTT, JUDITH K          1972 EATON‐GETTYSBURG RD                                                                                EATON                OH   45320‐9605
SCOTT, JUDY A            12881 OSBORNE                                                                                           ARLETA               CA   91331‐3335
SCOTT, JUDY A            12881 OSBORNE ST                                                                                        ARLETA               CA   91331‐3335
SCOTT, JUDY A            3744 INNISFREE RD                                                                                       HOWELL               MI   48855‐9751
SCOTT, JUDY M            10 SUNSET RD N                                                                                          MANSFIELD            OH   44906‐2256
SCOTT, JUDY M            121 FORD ST                                                                                             MANSFIELD            OH   44902‐7825
SCOTT, JUDY R            49476 WATERSTONE ESTATES CIR                                                                            NORTHVILLE           MI   48168‐4900
SCOTT, JULES             GUY WILLIAM S                      PO BOX 509                                                           MCCOMB               MS   39649‐0509
SCOTT, JULIUS C          135 SELFRIDGE RD                                                                                        MCDONOUGH            GA   30252‐4490
SCOTT, JUNE              5804 WAHL RD RT 1                                                                                       VICKERY              OH   43464‐9602
SCOTT, JUNIOR A          PO BOX 9022                        C/O RAYONG                                                           WARREN               MI   48090‐9022
SCOTT, JUNIOR C          2708 E THOMPSON RD                                                                                      INDIANAPOLIS         IN   46227‐4453
SCOTT, JUSTIN            PO BOX 9022                        VAUXHALL (UK1‐103‐310)                                               WARREN               MI   48090‐9022
SCOTT, JUSTIN V          7244 IVY DR                                                                                             NEOSHO               MO   64850‐7286
SCOTT, KAREN             11125 FOXHAVEN DRIVE                                                                                    CHARLOTTE            NC   28277‐1492
SCOTT, KAREN A           PO BOX 958                                                                                              GRAND BLANC          MI   48480‐0958
SCOTT, KAREN A           29521 HUNTER ST                                                                                         BROWNSTOWN           MI   48183‐7012
SCOTT, KAREN L           4082 OCONNER RD O                                                                                       FLINT                MI   48504
SCOTT, KARLA             C/O GARY WILLIAMS PARENTI FINNEY   WATSON & SPERA                   221 E OSCEOLA ST                    STUARY               FL   34994
                         LEWIS MCMANUS
SCOTT, KASEY E           3424 MAPLE SPRINGS DR                                                                                   CANFIELD             OH   44406‐9214
SCOTT, KATHLEEN A        44 DURAND CT                                                                                            SAGINAW              MI   48602‐5414
SCOTT, KATHLEEN L        N4191 EAGLE DR                                                                                          BRODHEAD             WI   53520‐9664
SCOTT, KATHLEEN M        11789 W SHORE DR                                                                                        HOUGHTON LAKE        MI   48629‐8643
SCOTT, KATHLEEN S        9941 SUTHERBY ROAD                                                                                      SAINT HELEN          MI   48656‐9520
SCOTT, KATHRYN A         633 PALOMINO DR APT A                                                                                   PLEASANTON           CA   94566‐6813
SCOTT, KEITH E           2333 ULA DR                                                                                             CLIO                 MI   48420‐1065
SCOTT, KELLY             1410 WILLIAMSPORT PIKE                                                                                  COLUMBIA             TN   38401‐5612
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Name                    Address1                           Address2                          Address3   Address4         City           State Zip
SCOTT, KELVIN N         2717 WABASH ROAD                                                                                 LANSING         MI 48910‐4861
SCOTT, KELVIN NORRIS    3001 CONCORD ST                                                                                  FLINT           MI 48504‐2923
SCOTT, KEMA'LEE K       4245 W JOLLY RD LOT 229                                                                          LANSING         MI 48911‐3066
SCOTT, KENDALE R        10420 N SHARPBEND RD                                                                             ALBANY          IN 47320‐9122
SCOTT, KENNETH A        6174 WALLAKER RD                                                                                 BENZONIA        MI 49616‐9735
SCOTT, KENNETH A        111 E PLUM ST                                                                                    CHESTERFIELD    IN 46017‐1713
SCOTT, KENNETH D        70201 ROMEO ORCHARD DR                                                                           BRUCE TWP       MI 48065‐5325
SCOTT, KENNETH E        2941 N 123RD ST                                                                                  KANSAS CITY     KS 66109‐3318
SCOTT, KENNETH L        RR 1 BOX 1264                                                                                    THAYER          MO 65791‐9745
SCOTT, KENNETH L        BOX 1264                           ROUTE 1                                                       THAYER          MO 65791‐9745
SCOTT, KENNETH M        330 S NEW LOTHROP RD                                                                             LENNON          MI 48449‐9648
SCOTT, KENNETH R        704 S LA FRENZ RD                                                                                LIBERTY         MO 64068‐8303
SCOTT, KENNITH L        2247 EMERALDWOOD TRL                                                                             FLUSHING        MI 48433‐3517
SCOTT, KENNITH LEE      2247 EMERALDWOOD TRL                                                                             FLUSHING        MI 48433‐3517
SCOTT, KIM D            3111 LINDA ST                                                                                    SHREVEPORT      LA 71119‐5212
SCOTT, KIMBERLY D       MICHIE,HAMLETT,LOWRY,RASMUSSEN &   120 DAY AVENUE S.W                                            ROANOKE         VA 24016
                        TWEEL PC
SCOTT, KIMBERLY D       WEBSTER FIRM                       2160 SATELLITE BLVD ‐ SUITE 160                               DULUTH         GA   30097
SCOTT, KRISTIN          KAHN & ASSOCIATES LLC              55 PUBLIC SQ STE 650                                          CLEVELAND      OH   44113‐1909
SCOTT, L J              18923 PATTON ST                                                                                  DETROIT        MI   48219‐2513
SCOTT, LAFERNE H        271 VILLAGE LN APT 161                                                                           GREENWOOD      IN   46143‐2471
SCOTT, LAKEYSHA L       PO BOX 832                                                                                       REYNOLDSBURG   OH   43068‐0832
SCOTT, LAMAR D          1442 PRINCETON DR                                                                                DAYTON         OH   45406‐4735
SCOTT, LANDY            950 CANTERBURY DR                                                                                PONTIAC        MI   48341‐2332
SCOTT, LANITA D         PO BOX 262224                                                                                    PLANO          TX   75026‐2224
SCOTT, LARRY            1816 S WASHINGTON ST                                                                             KOKOMO         IN   46902‐2005
SCOTT, LARRY A          5898 S WEST POE DR                                                                               JONESBORO      IN   46938‐1515
SCOTT, LARRY B          3310 W RAVEN FIELD BLVD                                                                          GREENFIELD     IN   46140‐7751
SCOTT, LARRY C          200 GRAFTON ST                                                                                   ROCHESTER      NY   14621‐4006
SCOTT, LARRY J          50 N ELDER AVE                                                                                   INDIANAPOLIS   IN   46222‐4516
SCOTT, LARRY J          59 WYNDEMERE DR BLDG 8                                                                           FRANKLIN       OH   45005
SCOTT, LARRY J          3810 RIDGE RD                                                                                    ANDERSON       IN   46013‐1118
SCOTT, LARRY J          3128 COUNTY ROAD 2300 E                                                                          GIFFORD        IL   61847‐9710
SCOTT, LARRY J          12808 WABASH RD                                                                                  MILAN          MI   48160‐9291
SCOTT, LARRY JOE        12808 WABASH RD                                                                                  MILAN          MI   48160‐9291
SCOTT, LATRECE L        PO BOX 312                                                                                       MERIGOLD       MS   38759‐0312
SCOTT, LATRICA ADDICE   229 NORTHPORT HILLS DR                                                                           FLORISSANT     MO   63033‐6733
SCOTT, LAURENCE J       3850 QUIGGLE AVE SE                                                                              ADA            MI   49301‐8537
SCOTT, LAWRENCE A       4840 N TEMPLIN RD                                                                                MARTINSVILLE   IN   46151‐6324
SCOTT, LAWRENCE C       4631 ANDERSON DR                                                                                 ALBION         MI   49224‐8543
SCOTT, LAWRENCE E       3322 TRADEWINDS                                                                                  RIVERSIDE      OH   45424
SCOTT, LAWRENCE F       610 S WIGHT ST                                                                                   SAINT JOHNS    MI   48879‐2240
SCOTT, LAWRENCE W       7275 N WEBSTER RD                                                                                MOUNT MORRIS   MI   48458‐9430
SCOTT, LEANORA E        2492 SIGNATURE DR.                                                                               PINCKNEY       MI   48169‐8161
SCOTT, LEDORIA          3721 MORROW ST                                                                                   SHREVEPORT     LA   71109‐7649
SCOTT, LEE B            1119 WEST STEWART AVENUE                                                                         FLINT          MI   48504‐2276
SCOTT, LEE E            613 WEST AUSTIN                                                                                  FLINT          MI   48505‐2621
SCOTT, LEE E            613 W AUSTIN AVE                                                                                 FLINT          MI   48505‐2621
SCOTT, LEE T            18081 OAKFIELD ST                                                                                DETROIT        MI   48235‐3280
SCOTT, LEIGH            1815 E TAHQUAMENON CT                                                                            BLOOMFIELD     MI   48302‐2269
SCOTT, LELAND B         4421 E 200 S                                                                                     MARION         IN   46953‐9133
SCOTT, LEON             BOOK THOMAS T                      PO BOX 548                                                    PORTSMOUTH     OH   45662‐0548
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Name                  Address1                       Address2            Address3         Address4         City              State Zip
SCOTT, LEON A         547 SW 93RD ST APT 204                                                               OKLAHOMA CITY      OK 73139‐4808
SCOTT, LEONA M        1607 VAN EPPS ST SE                                                                  ATLANTA            GA 30316‐2147
SCOTT, LEROY          PO BOX 897 ALTIMORE                                                                  OSCEOLA            AR 72370
SCOTT, LEROY A        818 1/2E DAMON ST                                                                    FLINT              MI 48505
SCOTT, LEROY I        12640 SANTA ROSA DR                                                                  DETROIT            MI 48238‐3126
SCOTT, LESLIE D       12499 MARGARET DR                                                                    FENTON             MI 48430‐8856
SCOTT, LETA M         PO BOX 572                     422 SMITH ST                                          HOLGATE            OH 43527‐0572
SCOTT, LEWIS L        N4191 EAGLE DR                                                                       BRODHEAD           WI 53520‐9664
SCOTT, LILLIAN J      2405 SUMMIT CEDAR DR                                                                 HOWELL             MI 48855‐6401
SCOTT, LILLIAN R      405 BIRD CAGE WALK                                                                   MANSFIELD          OH 44902‐7713
SCOTT, LILLIE         46 ABBEY PL                                                                          JACKSON            TN 38305‐1794
SCOTT, LILLIE M       460 CALIFORNIA AVE                                                                   PONTIAC            MI 48341‐2511
SCOTT, LILLIE P       2033 W 64TH ST                                                                       INDIANAPOLIS       IN 46260‐4312
SCOTT, LILLIE WOODS   1415 W 14TH ST                                                                       ANDERSON           IN 46016‐3313
SCOTT, LINDA          781 N HICKORY ST                                                                     LADOGA             IN 47954‐9353
SCOTT, LINDA          13685 WALBORN RD                                                                     SAINT PARIS        OH 43072‐9737
SCOTT, LINDA L        7130 N OLNEY ST                                                                      INDIANAPOLIS       IN 46240‐3531
SCOTT, LINDA S        7518 SUPERIOR ST                                                                     NEWPORT            MI 48166‐9749
SCOTT, LISA M         1184 N APPLE CT                                                                      PLAINWELL          MI 49080‐2012
SCOTT, LLOYD S        2812 CREEKSIDE CT                                                                    DORR               MI 49323‐8000
SCOTT, LOIS J         2806 BRIDGESTONE CIR                                                                 KOKOMO             IN 46902‐7008
SCOTT, LOIS M         31957 RIDGEVIEW CIR                                                                  POLSON             MT 59860‐9483
SCOTT, LOIS M         261 GREENDALE AVE                                                                    MANSFIELD          OH 44902
SCOTT, LOIS S         3 BAHIA COURT TRCE                                                                   OCALA              FL 34472‐2750
SCOTT, LOIS V         PO BOX 166                                                                           WILSONVILLE        AL 35186
SCOTT, LONNIE D       940 EMERSON ST                                                                       SAGINAW            MI 48607‐1707
SCOTT, LONNIE L       547 DORMAN ST                                                                        INDIANAPOLIS       IN 46202‐3535
SCOTT, LORA L         45 KIRK DR E                                                                         INDIANAPOLIS       IN 46234‐2738
SCOTT, LORENE M       7419 W BANCROFT ST                                                                   TOLEDO             OH 43615‐3016
SCOTT, LORENZO        310 S HARRISON ST APT 1006                                                           SAGINAW            MI 48602
SCOTT, LORETHA        2427 BARTLETT ST                                                                     OAKLAND            CA 94601‐3212
SCOTT, LORETTA M      1000 VINCENT DRIVE                                                                   MOUNT DORA         FL 32757‐4520
SCOTT, LORETTA S      205 ELEANOR LANE                                                                     TAZEWELL           TN 37879‐5707
SCOTT, LORETTA S      205 ELEANOR LN                                                                       TAZEWELL           TN 37879‐5707
SCOTT, LORETTA SUE    1634 ASHLEY PL                                                                       VANDALIA           OH 45377‐8711
SCOTT, LORETTA SUE    1634 ASHLEY PLACE                                                                    VANDALIA           OH 45377‐8711
SCOTT, LOTSIE         1794 SNYDERVILLE RD                                                                  SPRINGFIELD        OH 45502‐9813
SCOTT, LOUIS D        4913 PRINCESS ST                                                                     DEARBORN HTS       MI 48125‐1252
SCOTT, LOUIS E        PO BOX 453                                                                           WYATT              MO 63882
SCOTT, LOUIS E        6225 N 84TH ST APT 3                                                                 MILWAUKEE          WI 53225
SCOTT, LOUISE M       ROLLING HILLS CONVELESCENT     AND REHAB CENTER    1821 LINDBERG                     ANDERSON           IN 46012
SCOTT, LOVEY M        HC R BOX 4067                                                                        KEAAU              HI 96749
SCOTT, LUANNE A       2294 CHIPPENHAM CHASE                                                                ROCHESTER HILLS    MI 48306‐3910
SCOTT, LUCILE M       510 BUCKINGHAM CT                                                                    ANDERSON           IN 46013
SCOTT, LUCILLE J      10511 MILLER RD                                                                      SWARTZ CREEK       MI 48473‐8588
SCOTT, LULA B         115 W 11TH ST                                                                        LIMA               OH 45804‐1931
SCOTT, LULA B         115 W 11TH                                                                           LIMA               OH 45804‐1931
SCOTT, LYDIA DOERR    1021 BROOKSIDE DR                                                                    LANSING            MI 48917‐9271
SCOTT, LYLE G         123 W BLAKELY RD                                                                     SANFORD            MI 48657‐9103
SCOTT, LYLE L         47347 N WEST AVE                                                                     PAISLEY            FL 32767‐8906
SCOTT, LYNN M.        5984 DOVETAIL DR                                                                     AGOURA HILLS       CA 91301‐1406
SCOTT, LYNN V         11474 MICHAEL DR                                                                     WASHINGTON         MI 48094‐3680
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Name                  Address1                         Address2                           Address3   Address4         City              State Zip
SCOTT, LYNNETTE M     1080 E OUTER DR                                                                                 SAGINAW            MI 48601‐5218
SCOTT, M RUTH         2011 ARROWHEAD TRL                                                                              MARIETTA           GA 30062‐1803
SCOTT, MACK E         1319 W 107TH ST                                                                                 LOS ANGELES        CA 90044
SCOTT, MADELINE E     4507 EAGLE CREEK PKWY APT 102                                                                   INDIANAPOLIS       IN 46254‐4374
SCOTT, MALCOM R       PO BOX 86                                                                                       EUGENE             MO 65032‐0086
SCOTT, MAMIE L        8601 MARK TWAIN ST                                                                              DETROIT            MI 48228‐2425
SCOTT, MARC E         PO BOX 102                                                                                      NISULA             MI 49952‐0102
SCOTT, MARGARET       5120 ROCKWOOD DRIVE                                                                             CASTALIA           OH 44824‐9725
SCOTT, MARGARET       2846 FLAMANGO LK DR                                                                             WEST PALM BEACH    FL 33406
SCOTT, MARGARET A     651 CYGNET LAKE DR S.                                                                           BENTON HARBOR      MI 49022
SCOTT, MARGARET C     3234 FULTON ST                                                                                  SAGINAW            MI 48601‐3114
SCOTT, MARGARET J     2005 NW LANCE WAY                                                                               CORVALLIS          OR 97330‐2210
SCOTT, MARGUERITE A   2378 HARMONY DR                                                                                 BURTON             MI 48509‐1164
SCOTT, MARGUERITE M   1507 EDISON ST                                                                                  DAYTON             OH 45417‐5417
SCOTT, MARGUERITE M   6255 LITTLE RICHMOND RD                                                                         DAYTON             OH 45426‐3231
SCOTT, MARIA          505 E ROOSEVELT RD                                                                              WHEATON             IL 60187‐1906
SCOTT, MARIA A        40 WILLIAMSTOWNE CT APT 6                                                                       CHEEKTOWAGA        NY 14227‐2059
SCOTT, MARIAN M       LOGDE OF MONTGOMERY              12050 MONTGOMERY RD #316                                       CINCINNATI         OH 45249‐2024
SCOTT, MARIAN M       12050 MONTGOMERY RD APT 316      LOGDE OF MONTGOMERY                                            CINCINNATI         OH 45249‐2024
SCOTT, MARIE A        16900 S TAMIAMI TRAIL W 90                                                                      FORT MYERS         FL 33908
SCOTT, MARIE J        2276 LAKE ST                                                                                    NILES              MI 49120‐1308
SCOTT, MARIE J        2276 LAKE STREET                                                                                NILES              MI 49120
SCOTT, MARIKAY        9351 OAKMONT DR                                                                                 GRAND BLANC        MI 48439‐9590
SCOTT, MARILYN        150 PEYTON PL SW APT 302E                                                                       ATLANTA            GA 30311
SCOTT, MARILYN E      PO BOX 554                                                                                      LAPEL              IN 46051‐0554
SCOTT, MARILYN E      P O BOX 554                                                                                     LAPEL              IN 46051‐0554
SCOTT, MARILYN J      3857 CASTANO DR                                                                                 DAYTON             OH 45416‐1109
SCOTT, MARION         426 6TH ST                                                                                      NIAGARA FALLS      NY 14301‐1606
SCOTT, MARION R       801 CRANFORD AVE                                                                                LINDEN             NJ 07036‐1803
SCOTT, MARJORIE O     8 GEORGIAN CIR                                                                                  NEWARK             DE 19711‐2550
SCOTT, MARJORIE O     8 GEORGIAN CIRCLE                                                                               NEWARK             DE 19711
SCOTT, MARJORIE V     850 W SWEDEN RD                                                                                 BROCKPORT          NY 14420
SCOTT, MARK           PRITCHARD MCCALL & JONES         800 FINANCIAL CENTER ‐ 505 NORTH                               BIRMINGHAM         AL 35203
                                                       20TH ST
SCOTT, MARK A         59 WYNDEMERE DR                                                                                 FRANKLIN          OH   45005‐2464
SCOTT, MARK D         2709 FERDON RD                                                                                  KALAMAZOO         MI   49008
SCOTT, MARK E         1602 SE OAK ST                                                                                  OAK GROVE         MO   64075‐9419
SCOTT, MARK J         PO BOX 870815                                                                                   NEW ORLEANS       LA   70187
SCOTT, MARK M         7791 BISCAYNE AVE                                                                               WHITE LAKE        MI   48383‐3022
SCOTT, MARK R         52477 PAPPY LN                                                                                  SHELBY TOWNSHIP   MI   48316‐3070
SCOTT, MARLENE M      10656 W BROOKSIDE DR                                                                            SUN CITY          AZ   85351‐1116
SCOTT, MARQUETTA T    5063 GARDENDALE AVE                                                                             DAYTON            OH   45417
SCOTT, MARSHA A       1169 EVERETT HULL ROAD                                                                          CORTLAND          OH   44410‐4410
SCOTT, MARSON         37 APPLE BLOSSOM PL                                                                             DAYTON            OH   45440‐3207
SCOTT, MARTHA         APT I39                          2505 SPRING AVENUE SOUTHWEST                                   DECATUR           AL   35601‐7350

SCOTT, MARTHA R       1506 LAMONT ST                                                                                  LANSING           MI 48915‐1528
SCOTT, MARTHA R       1506 LAMONT AVE                                                                                 LANSING           MI 48915‐1528
SCOTT, MARTIN         FARMERS INSURANCE GROUP          PO BOX 268992                                                  OKLAHOMA CITY     OK 73126‐8992
SCOTT, MARTIN
SCOTT, MARTIN K       4301 LAKEWOOD DR                                                                                WATERFORD         MI 48329‐3818
SCOTT, MARVEL J       159 WESTGATE RD                                                                                 KENMORE           NY 14217‐2361
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Name                    Address1                       Address2                Address3     Address4         City            State Zip
SCOTT, MARVIN A         2614 HIGHLAND AVE                                                                    BERWYN            IL 60402‐2716
SCOTT, MARVIN H         WEITZ & LUXENBERG              180 MAIDEN LANE                                       NEW YORK         NY 10038
SCOTT, MARVIN J         29129 JOHNSTON RD                                                                    DADE CITY        FL 33523
SCOTT, MARVIN V         168 COUNTY ROAD 136                                                                  OKOLONA          MS 38860‐9617
SCOTT, MARY             6519 S 150 E                                                                         JONESBORO        IN 46938
SCOTT, MARY             19619 PIKE #308                                                                      BOWLING GREEN    MO 63334
SCOTT, MARY             186 MEADOWBROOK DR                                                                   DEFIANCE         OH 43512
SCOTT, MARY A           9200 N COUNTY ROAD 300 E                                                             MUNCIE           IN 47303‐9179
SCOTT, MARY ANNE        9200 N COUNTY ROAD 300 E                                                             MUNCIE           IN 47303‐9179
SCOTT, MARY C           PO BOX 195                                                                           TIPTON           IN 46072‐0195
SCOTT, MARY E           100 GREY FOX RUN                                                                     ROCKINGHAM       NC 28379‐9490
SCOTT, MARY E           322 PINE ST                                                                          CARNEYS POINT    NJ 08069‐1114
SCOTT, MARY E           4528 N 550 E                                                                         PORTLAND         IN 47371‐7956
SCOTT, MARY F           3716 NEW HUDSON RD                                                                   ORWELL           OH 44076‐9724
SCOTT, MARY FRANCES     NORMAN TOWERS                  810 W ELM AVE APT 218                                 MONROE           MI 48162
SCOTT, MARY G           1012 SOUTH INDIANA AVENUE                                                            KOKOMO           IN 46902‐6222
SCOTT, MARY G           27321 CAPSHAW RD                                                                     ATHENS           AL 35613‐7508
SCOTT, MARY H           3700 JENNINGS RD APT 232W                                                            PORT ST LUCIE    FL 34952
SCOTT, MARY H           PO BOX 833                                                                           YOUNGSTOWN       OH 44501‐0833
SCOTT, MARY J           4438 N EAST TORCH LAKE DR                                                            CENTRAL LAKE     MI 49622‐9615
SCOTT, MARY L           9240 RANGER DR                                                                       STANWOOD         MI 49346‐9455
SCOTT, MARY L           5134 IT'S IT ROAD              BOX F10                                               CELINA           OH 45822
SCOTT, MARY L           17071 NEW JERSEY ST                                                                  SOUTHFIELD       MI 48075‐2979
SCOTT, MARY M           16268 SEYMOUR ROAD                                                                   LINDEN           MI 48451‐9736
SCOTT, MARY M           16868 SEYMOUR RD                                                                     LINDEN           MI 48451‐9736
SCOTT, MARY R           7630 MYRTLE BEACH DR                                                                 BEAUMONT         TX 77707‐5427
SCOTT, MARY W           1308 TANEY ST                                                                        GARY             IN 46404‐2036
SCOTT, MATHEW W         9226 WESTBRIDGE CT                                                                   FORT WAYNE       IN 46804‐6057
SCOTT, MATIE B          PO BOX 96                                                                            FRENCHMAN BYU    AR 72338‐0096
SCOTT, MATTHEW          G5505 DETROIT ST                                                                     FLINT            MI 48505‐1243
SCOTT, MATTHEW R        5190 PIERCE RD NW                                                                    WARREN           OH 44481‐9309
SCOTT, MATTIE F         496 CONATSER RD                                                                      LEBANON          TN 37087‐7201
SCOTT, MAUREEN L        PO BOX 300244                                                                        KANSAS CITY      MO 64130‐0244
SCOTT, MAX E            4870 S 750 E                                                                         KOKOMO           IN 46902‐9127
SCOTT, MAXINE W         2004 FOREST AVE                                                                      LANSING          MI 48910‐3155
SCOTT, MAYFORD          2 DORMER DR                                                                          ORMOND BEACH     FL 32174‐1051
SCOTT, MC KINLEY        452 THORS ST                                                                         PONTIAC          MI 48342‐1967
SCOTT, MELBA J          11115 WEDGESTONE CT                                                                  SAINT LOUIS      MO 63126‐3224
SCOTT, MELISSA          5152 S ROYSTON RD                                                                    EATON RAPIDS     MI 48827‐9036
SCOTT, MELISSA J        10631 VERONA RD                                                                      LEWISBURG        OH 45338‐9725
SCOTT, MELVIN           119 GRANDVIEW DR                                                                     SAINT CHARLES    MO 63301‐0502
SCOTT, MELVIN L         41 AVERY ST                                                                          ROCHESTER        NY 14606‐1901
SCOTT, MELVYN L         1370 ASH ST                                                                          HUNTINGTON       IN 46750‐4111
SCOTT, MERLE E          6461 DALE RD                                                                         NEWFANE          NY 14108‐9763
SCOTT, MIATTA N         1725 CLIFFVIEW DR APT 1033                                                           ROCHESTER        MI 48306‐4271
SCOTT, MICHAEL          3018 N BIG ROCK PL                                                                   MERIDIAN         ID 83646‐3499
SCOTT, MICHAEL A        6797 SWEETWATER WAY                                                                  GOLETA           CA 93117
SCOTT, MICHAEL D        PO BOX 1003                                                                          ARNOLD           CA 95223‐1003
SCOTT, MICHAEL D        643 KEHRS MILL RD                                                                    BALLWIN          MO 63011‐3259
SCOTT, MICHAEL D
SCOTT, MICHAEL E        PO BOX 20700                                                                         INDIANAPOLIS     IN   46220‐0700
SCOTT, MICHAEL EUGENE   PO BOX 20700                                                                         INDIANAPOLIS     IN   46220‐0700
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Name                     Address1                         Address2                Address3     Address4         City                State Zip
SCOTT, MICHAEL G         3827 MAIN ST                                                                           ANDERSON             IN 46013‐4719
SCOTT, MICHAEL H         6447 COLFAX ST                                                                         DETROIT              MI 48210‐1186
SCOTT, MICHAEL J         3902 SPRINGER AVE                                                                      ROYAL OAK            MI 48073‐6412
SCOTT, MICHAEL J         3821 MEYERS ST                                                                         SHREVEPORT           LA 71119‐7008
SCOTT, MICHAEL J
SCOTT, MICHAEL L         5940 64TH AVE                                                                          HUDSONVILLE         MI   49426‐9515
SCOTT, MICHAEL L         9434 MIGNONETTE ST                                                                     ALTA LOMA           CA   91701‐4906
SCOTT, MICHAEL L         12030 OXFORD RD                                                                        GERMANTOWN          OH   45327‐9731
SCOTT, MICHAEL P         3284 REILLY RD                                                                         LUPTON              MI   48635
SCOTT, MICHAEL R         1801 PONTIAC TRL                                                                       ANN ARBOR           MI   48105‐1767
SCOTT, MICHAEL S         4578 CREEKWOOD CT                                                                      BATAVIA             OH   45103‐1019
SCOTT, MICHAEL T         2722 SUNDOWN DR                                                                        KOKOMO              IN   46901‐4051
SCOTT, MICHAEL W         713 HOOKERS MILL RD                                                                    ABINGDON            MD   21009‐1146
SCOTT, MICHELLE A        735 CHIPPEWA DR                                                                        DEFIANCE            OH   43512‐3367
SCOTT, MICHELLE ANN      735 CHIPPEWA DR                                                                        DEFIANCE            OH   43512‐3367
SCOTT, MICHELLE K        1127 N FROST DR                                                                        SAGINAW             MI   48638‐5454
SCOTT, MICHELLE K.       1127 N FROST DR                                                                        SAGINAW             MI   48638‐5454
SCOTT, MILDRED           1002 CHANDLER AVE                                                                      ROSELLE             NJ   07203‐2704
SCOTT, MILDRED E         2250 E MAIN ST                                                                         OWOSSO              MI   48867‐9067
SCOTT, MILDRED E         2250 E M 21                                                                            OWOSSO              MI   48867‐9067
SCOTT, MILDRED L         APT 5                            5435 MEADOWLARK COURT                                 MORAINE             OH   45439‐2174
SCOTT, MILDRED S         100 MCAULEY DR                   APT 305                                               ROCHESTER           NY   14610‐2360
SCOTT, MILLINEA HOWARD   2407 COUNTY ROAD 86                                                                    ROGERSVILLE         AL   35652‐5029
SCOTT, MILLINEA HOWARD   2407 COUNTY RD 86                                                                      ROGERSVILLE         AL   35652‐5029
SCOTT, MINNIE M          15715 TURNER RD                                                                        LANSING             MI   48906‐1139
SCOTT, MIRIAM M          PO BOX 1624                                                                            WEATHERFORD         TX   76086‐7624
SCOTT, MITCHELL D        188 WILES RD                                                                           GRAYSON             LA   71435‐3836
SCOTT, MONIKA K          1713 E 16 RD                                                                           MESICK              MI   49668‐9724
SCOTT, MONTE L           1347 STEPHEN FOSTER DR                                                                 LEXINGTON           KY   40517
SCOTT, MONTE L           1560 MEADOW POND CT                                                                    CENTERVILLE         OH   45458‐4748
SCOTT, MORENE            241 RHODE ISLAND ST                                                                    HIGHLAND PARK       MI   48203‐3360
SCOTT, MURAGATHA         100 S. 12TH ST # 3                                                                     PARAGOULD           AR   72450‐4162
SCOTT, MURAGATHA         100 S 12TH ST APT 3                                                                    PARAGOULD           AR   72450‐4162
SCOTT, MYRON C           4635 DRUID LANE                                                                        DAYTON              OH   45439‐3009
SCOTT, MYRON C           4635 DRUID LN                                                                          DAYTON              OH   45439‐3009
SCOTT, MYRTIS M          927 S 27TH ST                                                                          SAGINAW             MI   48601‐6543
SCOTT, MYRTLE B          3001 CONCORD ST                                                                        FLINT               MI   48504‐2923
SCOTT, MYRTLE B          3001 CONCORD                                                                           FLINT               MI   48504‐2923
SCOTT, NADINE            25 CLENDENNY AVE                                                                       JERSEY CITY         NJ   07304‐1501
SCOTT, NAKIA ANTHONY
SCOTT, NANCY             CATHCART & DOOLEY                2807 N CLASSEN BLVD                                   OKLAHOMA CITY       OK   73106‐5419
SCOTT, NANCY A           1415 S VASSAR RD                                                                       DAVISON             MI   48423
SCOTT, NANCY A           3614 STOCKTON RD                                                                       PORT CHARLOTTE      FL   33953‐5721
SCOTT, NANCY J           11332 NORA DR                                                                          FENTON              MI   48430‐8701
SCOTT, NANCY L           38 ROEBLING AVENUE                                                                     BUFFALO             NY   14215‐3816
SCOTT, NATHANIEL L       4989 GERMANTOWN PIKE                                                                   DAYTON              OH   45418‐2212
SCOTT, NED C             4818 KENNEDY DR                                                                        SHREVEPORT          LA   71109‐6953
SCOTT, NELLAVE           1029 CHERRYLAWN                                                                        PONTIAC             MI   48340‐1701
SCOTT, NELSON A          2214 ASHFORD                                                                           EXCELSIOR SPRINGS   MO   64024
SCOTT, NORBERT K         PO BOX 214296                                                                          AUBURN HILLS        MI   48321‐4296
SCOTT, NORMA             525 JAMES RIVER ROAD                                                                   GULF BREEZE         FL   32561‐4870
SCOTT, NORMA J           528 SCOTT AVE                                                                          NILES               OH   44446‐2914
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Name                 Address1                        Address2                  Address3   Address4         City            State Zip
SCOTT, NORMA J       528 SCOTT ST                                                                          NILES            OH 44446‐2914
SCOTT, NYOKA L       910 HERITAGE CT                                                                       SAINT CHARLES    MO 63303
SCOTT, ODELL         701 S MIRAMAR WAY                                                                     MUNCIE           IN 47304‐6724
SCOTT, OLIVE E       2527 BLOOMDALE ST                                                                     DUARTE           CA 91010‐2202
SCOTT, OLLIE         LIPMAN DAVID M                  5901 SW 74TH ST STE 304                               MIAMI            FL 33143‐5163
SCOTT, OLLIE         THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES     FL 33146
SCOTT, ORLANDO       SHANNON LAW FIRM                100 W GALLATIN ST                                     HAZLEHURST       MS 39083‐3007
SCOTT, OSCAR A       4807 MERRITT ST                                                                       DETROIT          MI 48209‐1354
SCOTT, OSCAR D       1666 OAK ST SW                                                                        WARREN           OH 44485‐4485
SCOTT, OSWALD J      3259 WINTERSET DR                                                                     DAYTON           OH 45440‐3629
SCOTT, OVERA         4106 E 151ST ST                                                                       CLEVELAND        OH 44128‐1924
SCOTT, OVERA         4106 EAST 151 ST                                                                      CLEVELAND        OH 44128‐1924
SCOTT, OVID R        6760 N 450 E                                                                          LEBANON          IN 46052‐9342
SCOTT, PALMER F      912 LAURIE LN                                                                         GALLATIN         TN 37066‐3849
SCOTT, PATRICIA      3114 CHERRY STREET                                                                    SAGINAW          MI 48601‐6350
SCOTT, PATRICIA      3114 CHERRY ST                                                                        SAGINAW          MI 48601‐6350
SCOTT, PATRICIA A    6451 SOUTHAMPTON DR                                                                   CLARKSTON        MI 48346‐3059
SCOTT, PATRICIA A    8275 KONCZAL ST                 BLDG D APT 12                                         CENTER LINE      MI 48015
SCOTT, PATRICIA C    167 QUEENS XING                                                                       CENTERVILLE      OH 45458‐4279
SCOTT, PATRICIA J.   849 DRUMMORE LN                                                                       FRANKFORT         IL 60423‐9703
SCOTT, PATRICIA L    901 SANDRALEE DR                                                                      TOLEDO           OH 43612‐3130
SCOTT, PATRICIA W    2005 ELIZABETH AVE.                                                                   SHELBY           NC 28150‐9633
SCOTT, PATRICK       119 DENNIS DR                                                                         BRICK            NJ 08724‐3705
SCOTT, PATRICK D     4478 SUNSET BLVD                                                                      GRAND BLANC      MI 48439‐9055
SCOTT, PATSY A       PO BOX 317                                                                            WHITE BLUFF      TN 37187‐0317
SCOTT, PATSY A       PO BOX 317,                                                                           WHITE BLUFF      TN 37187
SCOTT, PAUL D        371 SOUTH ST                                                                          AUBURN           MA 01501‐2751
SCOTT, PAUL D        14093 MYSTIC SEAPORT WAY 616                                                          FORT MYERS       FL 33919
SCOTT, PAUL J        8183 DETROIT ST                                                                       MOUNT MORRIS     MI 48458‐1303
SCOTT, PAUL J        244 W BORTON RD                                                                       ESSEXVILLE       MI 48732‐8726
SCOTT, PAUL J        PO BOX 551                                                                            WOODBINE         KY 40771‐0551
SCOTT, PAUL R        6028 MADISON ST                                                                       TAYLOR           MI 48180‐1238
SCOTT, PAUL W        8885 MOORISH RD                                                                       BIRCH RUN        MI 48415
SCOTT, PAUL WAYNE    8885 MOORISH RD                                                                       BIRCH RUN        MI 48415
SCOTT, PAULINE       509 E MOORE ST                                                                        CHRISTOPHER       IL 62822‐1917
SCOTT, PAULINE       6281 OBISPO AVE                                                                       LONG BEACH       CA 90805‐3728
SCOTT, PEARL M       10157 SALOMA AVE                                                                      MISSION HILLS    CA 91345‐2812
SCOTT, PEARLENE      2624 WOODMEADOW DR SE APT 303                                                         GRAND RAPIDS     MI 49546
SCOTT, PEDRO N       6584 BRANCHES DR                                                                      BROWNSBURG       IN 46112‐7446
SCOTT, PERRY W       PO BOX 327                                                                            LYNDON            IL 61261‐0327
SCOTT, PHIL          343 ELMGROVE RD                                                                       ROCHESTER        NY 14626‐4246
SCOTT, PHILIP L      3471 LAKESHORE DR                                                                     GLADWIN          MI 48624‐8361
SCOTT, PHILLIP G     1533 APPLEWOOD AVE                                                                    LINCOLN PARK     MI 48146‐2128
SCOTT, PHILLIP R     PO BOX 451                                                                            LEWISTON         MI 49756‐0451
SCOTT, PHYLLIS       2636 STANFORD COURT                                                                   INDIANAPOLIS     IN 46268‐1252
SCOTT, PHYLLIS B     2717 WABASH RD                                                                        LANSING          MI 48910
SCOTT, PORTIA L      3506 SUGAR CREST DR                                                                   FLORISSANT       MO 63033
SCOTT, PRENTICE R    3202 WESTERN RD                 APT 10A                                               FLINT            MI 48506‐2426
SCOTT, PRENTICE R    3202 WESTERN RD APT A10                                                               FLINT            MI 48506‐2349
SCOTT, QUINCY O      214 E 10TH ST                                                                         GEORGETOWN        IL 61846‐1103
SCOTT, R DARLENE     2719 ALLISTER CIRCLE                                                                  MIAMISBURG       OH 45342‐5859
SCOTT, R K           1145 S WASHBURN RD                                                                    DAVISON          MI 48423‐8007
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Name                  Address1                       Address2                      Address3   Address4         City            State Zip
SCOTT, R T            1204 CALLAWAY DR N                                                                       SHOREWOOD         IL 60404‐8155
SCOTT, R THOMAS       1204 CALLAWAY DRIVE NORTH                                                                SHOREWOOD         IL 60404‐8155
SCOTT, RACHEL         2909 S WALL AVE                                                                          JOPLIN           MO 64804
SCOTT, RAILI S        2638 CONNESTEE TRL                                                                       BREVARD          NC 28712‐7405
SCOTT, RAMONA D       5083 WOODSTOCK DR                                                                        SWARTZ CREEK     MI 48473‐8542
SCOTT, RANDAL D       6200 E EXCHANGE RD                                                                       DURAND           MI 48429‐9110
SCOTT, RANDALL L      305 BIG CEDAR DR                                                                         DUNLAP           TN 37327‐4623
SCOTT, RANDELL M      RR 1 BOX 10571 SMITH ROAD                                                                LEESBURG         OH 45135‐9801
SCOTT, RANDOLPH J     PO BOX 5095                                                                              WARREN           MI 48090‐9480
SCOTT, RANDOLPH JAY   PO BOX 5095                                                                              WARREN           MI 48090‐5095
SCOTT, RANDOLPH R     1180 S COUNTY ROAD D                                                                     JANESVILLE       WI 53548‐5042
SCOTT, RANDY D        5341 SONORA RD                                                                           LEWISBURG        OH 45338‐8962
SCOTT, RANDY J        411 GREENLER RD                                                                          DEFIANCE         OH 43512‐9078
SCOTT, RANDY J        7240 E COUNTY RD 1000 S                                                                  CLOVERDALE       IN 46120‐9039
SCOTT, RANDY J D      411 GREENLER RD                                                                          DEFIANCE         OH 43512‐9078
SCOTT, RANDY L        10302 N COUNTY ROAD 800 E                                                                BROWNSBURG       IN 46112‐9263
SCOTT, RANDY M        401 S BARKER AVE                                                                         EL RENO          OK 73036‐3703
SCOTT, RAY C          709 SLACK DR                                                                             ANDERSON         IN 46013‐3617
SCOTT, RAYMOND        ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                                  WILMINGTON       DE 19801‐1813
SCOTT, RAYMOND E      38 VILLAGE GATE BOULEVARD                                                                DELAWARE         OH 43015‐8912
SCOTT, RAYMOND J      7935 BAMFIELD RD                                                                         SOUTH BRANCH     MI 48761‐9714
SCOTT, RAYMOND W      324 TAMARA CIR                                                                           NEWARK           DE 19711‐6929
SCOTT, REBECCA
SCOTT, REBECCA J      PO BOX 114                                                                               VERMONTVILLE    MI   49096‐0114
SCOTT, REGGINALD N    3426 DANBURY CROSSROAD ST                                                                LANSING         MI   48911‐4414
SCOTT, REGINALD       149 PENDRAGON WAY                                                                        MANTUA          NJ   08051‐2233
SCOTT, REGINALD C     3818 SOUTHERN CROSS DR                                                                   BALTIMORE       MD   21207‐6465
SCOTT, REGINALD D     APT 312                        3410 RIVERSTONE CIRCLE EAST                               FORT WORTH      TX   76116‐0877
SCOTT, REID O         2101 WORTON BLVD                                                                         WEST MIFFLIN    PA   15122‐3534
SCOTT, RENDA          3843 S 400 E                                                                             BRINGHURST      IN   46913‐9532
SCOTT, RENEE L        326 N QUAIL POINT DR                                                                     O FALLON        MO   63366‐5244
SCOTT, REVA M         PO BOX 455                     1136 S HENRY                                              FARMINGTON      MO   63640‐0455
SCOTT, REVA M         1136 S HENRY, PO BOX 455                                                                 FARMINGTON      MO   63640‐0455
SCOTT, RHONDA F       P.O. BOX 144                                                                             ELLSWORTH       OH   44416‐0144
SCOTT, RHONDA F       PO BOX 144                                                                               ELLSWORTH       OH   44416‐0144
SCOTT, RICHARD        PORTER & MALOUF PA             4670 MCWILLIE DR                                          JACKSON         MS   39206‐5621
SCOTT, RICHARD A      677 8 OAKFIELD N. ROAD                                                                   BRISTOLVILLE    OH   44402
SCOTT, RICHARD A      1330 ROLLING HILLS CT                                                                    INDIANAPOLIS    IN   46214‐3472
SCOTT, RICHARD E      517 KNICKERBOCKER AVENUE                                                                 SPRINGFIELD     OH   45506‐3315
SCOTT, RICHARD E      4215 W LAKE RD                                                                           CLIO            MI   48420‐8852
SCOTT, RICHARD G      2639 LOWER MOUNTAIN RD                                                                   RANSOMVILLE     NY   14131‐9754
SCOTT, RICHARD L      633 W RUTH AVE                                                                           FLINT           MI   48505‐2643
SCOTT, RICHARD L      1780 PEACHCREST DR                                                                       LAWRENCEVILLE   GA   30043‐2888
SCOTT, RICHARD L      1802 DEPOT RD                                                                            SALEM           OH   44460‐4244
SCOTT, RICHARD L      PO BOX 833                                                                               YOUNGSTOWN      OH   44501‐0833
SCOTT, RICHARD L      PO BOX 6442                                                                              BLUEFIELD       WV   24701‐6442
SCOTT, RICHARD L      P.O. BOX 833                                                                             YOUNGSTOWN      OH   44501‐0833
SCOTT, RICHARD O      8167 HORSEMILL RD                                                                        GROSSE ILE      MI   48138‐1163
SCOTT, RICHARD P      15 PLUMBROOK RD                                                                          KATONAH         NY   10536‐3120
SCOTT, RICHARD T      5229 RIVERVIEW DR                                                                        PAYNE           OH   45880‐9040
SCOTT, RICHARD W      461‐675 MEADOWS EDGE RD                                                                  JANESVILLE      CA   96114‐8572
SCOTT, RICKEY C       1215 S HARRIS RD APT 201                                                                 YPSILANTI       MI   48198‐6568
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Name                Address1                         Address2                        Address3   Address4         City              State Zip
SCOTT, RICKY EARL
SCOTT, RICKY L
SCOTT, RITA J       304 LISBON AVE                                                                               BUFFALO           NY 14215‐1030
SCOTT, ROBERT       3126 E ALEXANDRINE ST FL 1                                                                   DETROIT           MI 48207
SCOTT, ROBERT       KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                CLEVELAND         OH 44114
                                                     BOND COURT BUILDING
SCOTT, ROBERT       C/O MOODY                        801 WEST FOURTH ST                                          LITTLE ROCK       AR    72201
SCOTT, ROBERT       3707 ZENDER PLACE                                                                            DETROIT           MI    48207‐1847
SCOTT, ROBERT       PO BOX 14632                                                                                 SAGINAW           MI    48601‐0632
SCOTT, ROBERT       228 W LINSEY BLVD                                                                            FLINT             MI    48503‐3937
SCOTT, ROBERT A     216 W BUNDY AVE                                                                              FLINT             MI    48505‐2039
SCOTT, ROBERT A     1233 BOYSENBERRY DRIVE                                                                       DESOTO            TX    75115‐1440
SCOTT, ROBERT B     1804 E 97TH ST APT A                                                                         KANSAS CITY       MO    64131‐3167
SCOTT, ROBERT C     21 WELLESLEY RD                                                                              SCITUATE          MA    02066‐4803
SCOTT, ROBERT C     3067 N BELSAY RD                                                                             FLINT             MI    48506‐2232
SCOTT, ROBERT C     111 BARLOW DR                                                                                ROCHESTER         NY    14626‐2010
SCOTT, ROBERT C     1415 S VASSAR RD                                                                             DAVISON           MI    48423‐2372
SCOTT, ROBERT D     1119 TOWNLINE CT                                                                             GRAND BLANC       MI    48439‐1627
SCOTT, ROBERT D     PO BOX 195                       16891 LADY SLIPPER TR.                                      WOLVERINE         MI    49799‐0195
SCOTT, ROBERT D     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA    23510
                                                     STREET, SUITE 600
SCOTT, ROBERT E     WEITZ & LUXENBERG                180 MAIDEN LANE                                             NEW YORK          NY    10038
SCOTT, ROBERT E     106 DOVER BLVD N                                                                             BROWNSBURG        IN    46112‐1500
SCOTT, ROBERT E     PO BOX 883                                                                                   OWOSSO            MI    48867‐0883
SCOTT, ROBERT E     15593 18TH RD                                                                                GARDEN            MI    49835‐9705
SCOTT, ROBERT E     29711 WENTWORTH ST APT 208                                                                   LIVONIA           MI    48154‐3887
SCOTT, ROBERT E     276 DANDELION CT                                                                             SPRING HILL       FL    34606‐5349
SCOTT, ROBERT E     3428 W JOLLY RD                                                                              LANSING           MI    48911‐3352
SCOTT, ROBERT E     7644 BARNSBURY DR                                                                            W BLOOMFIELD      MI    48324‐3612
SCOTT, ROBERT F     208 SWORDFISH CT                                                                             BAREFOOT BAY      FL    32976‐2559
SCOTT, ROBERT G     8307 SHERWOOD DR                                                                             GRAND BLANC       MI    48439‐8356
SCOTT, ROBERT H     2201 CLUBHOUSE DR                                                                            PRESCOTT          AZ    86301‐6156
SCOTT, ROBERT H     1145 BRIGHTON RD                                                                             NAPERVILLE        IL    60563‐3302
SCOTT, ROBERT J     7624 MCLIN DR                                                                                DAYTON            OH    45418‐1136
SCOTT, ROBERT J     7624 MC LIN DR.                                                                              DAYTON            OH    45418‐1136
SCOTT, ROBERT K     1465 S BRIDGE ST                                                                             WINNEMUCCA        NV    89445‐3806
SCOTT, ROBERT K     3053 S 350 E                                                                                 KOKOMO            IN    46902‐9786
SCOTT, ROBERT L     101 S 21ST ST                                                                                SAGINAW           MI    48601‐1446
SCOTT, ROBERT L     2509 RACHEL COURT                                                                            ANTIOCH           CA    94531‐8002
SCOTT, ROBERT L     1112 BEECHWOOD DRIVE                                                                         ANDERSON          IN    46012‐4516
SCOTT, ROBERT L     2113 COUNTY ROAD F                                                                           SWANTON           OH    43558‐8862
SCOTT, ROBERT L     1438 OLD BARNWELL RD                                                                         WINDSOR           SC    29856‐2529
SCOTT, ROBERT L     3250 NORTH 950 EAST                                                                          BROWNSBURG        IN    46112
SCOTT, ROBERT L     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA    23510
                                                     STREET, SUITE 600
SCOTT, ROBERT L     BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG, 233 EAST                               JACKSONVILLE       FL   32202
                    MCCLAMMA & YEGELWEL P.A.         BAY STREET
SCOTT, ROBERT L     5911 BAYPOINTE BLVD                                                                          CLARKSTON         MI    48346‐3190
SCOTT, ROBERT M     13901 NEW BUFFALO RD                                                                         COLUMBIANA        OH    44408‐9369
SCOTT, ROBERT M     2255 CROWN PLAZA BLVD                                                                        PLAINFIELD        IN    46168‐2073
SCOTT, ROBERT N     1082 BLUEBIRD DR                                                                             ROCHESTER HILLS   MI    48307‐4692
SCOTT, ROBERT P     173 PARKWAY DR                                                                               DAVISON           MI    48423‐9130
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Name                 Address1                          Address2                        Address3   Address4         City            State Zip
SCOTT, ROBERT R      2527 FOREST SPRINGS DR SE                                                                     WARREN           OH 44484‐5617
SCOTT, ROBERT R      2958 STATE ROUTE 44                                                                           ROOTSTOWN        OH 44272‐9683
SCOTT, ROBERT R      480 MAINVIEW CT                                                                               GLEN BURNIE      MD 21061‐6119
SCOTT, ROBERT S      6739 E. S.R. 244                                                                              WALDRON          IN 46182
SCOTT, ROBERT W      17680 SE 114TH CT                                                                             SUMMERFIELD      FL 34491‐7804
SCOTT, ROBERT W      659 E 650 N                                                                                   ALEXANDRIA       IN 46001‐8624
SCOTT, ROBERT W      1187 LAURA CT                                                                                 GREENWOOD        IN 46143‐1001
SCOTT, ROBERT W      PO BOX 245                        21 OVERLOOK DR                                              HILTON           NY 14468‐0245
SCOTT, ROBERTA A     11269 UPTON RD                                                                                GRAND LEDGE      MI 48837‐9186
SCOTT, ROBYN L       WITTEBORT, JEFFREY                QUEBEC CENTRE II,STE 300,7400                               ENGLEWOOD        CO 80111
                                                       EAST CALEY AVENUE
SCOTT, ROBYN L       521 UPPER WOOD WAY                                                                            BURNSVILLE      MN   55337‐5721
SCOTT, ROBYN L       1780 PEACHCREST DR                                                                            LAWRENCEVILLE   GA   30043‐2888
SCOTT, RODERICK D    14061 WARNER CT                                                                               LIVONIA         MI   48154‐4343
SCOTT, ROGER         692 HAROLD SMITH RD                                                                           BEDFORD         IN   47421‐7991
SCOTT, ROGER A       162 E MULLETT LAKE RD R                                                                       INDIAN RIVER    MI   49749
SCOTT, ROGER A       59 TURTLE HILL DRIVE                                                                          MAINSFIELD      TX   76063‐1549
SCOTT, ROGER ALLYN   APT 4                             302 NORTH AVENUE EAST                                       SPRINGTOWN      TX   76082‐2475
SCOTT, ROGER B       1871 TURTLE RD                                                                                JACKSON         MS   39272‐9736
SCOTT, ROGER D       3141 MONTANA AVE                                                                              FLINT           MI   48506‐2539
SCOTT, ROGER D       1046 ANGOLA AVE                                                                               MOUNT MORRIS    MI   48458‐2122
SCOTT, ROGER L       15665 E CHERRY PARK DR                                                                        NORTHPORT       MI   49670‐9666
SCOTT, ROGER L       LEE WILLIAM L JR                  PO BOX 14047                                                JACKSON         MS   39236‐4047
SCOTT, ROLAND D      2323 MOTT RD                                                                                  NORTH BRANCH    MI   48461‐9746
SCOTT, RON           2707 JANES AVE                                                                                SAGINAW         MI   48601‐1456
SCOTT, RONALD        PO BOX 1291                                                                                   DECATUR         AL   35602‐1291
SCOTT, RONALD        BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD      OH   44067
                                                       PROFESSIONAL BLDG
SCOTT, RONALD B      24 2ND AVE                                                                                    BEREA           OH   44017‐1244
SCOTT, RONALD D      306 LAKEWOOD RD                                                                               WASKOM          TX   75692‐4804
SCOTT, RONALD D      14436 MONTLE RD                                                                               CLIO            MI   48420‐7928
SCOTT, RONALD E      10003 STANLEY RD                                                                              FLUSHING        MI   48433‐9204
SCOTT, RONALD E      49 PARK R W H                                                                                 EAST ALTON      IL   62024
SCOTT, RONALD J      4107 BARBARA DR                                                                               TOLEDO          OH   43623‐3401
SCOTT, RONALD L      4849 PLAINFIELD AVE                                                                           INDIANAPOLIS    IN   46241‐3508
SCOTT, RONALD L      743 24TH SQ                                                                                   VERO BEACH      FL   32962‐1336
SCOTT, RONALD L      913 BLUFF LAKE DR                                                                             ZEELAND         MI   49464
SCOTT, RONALD W      APT 216                           2822 TURNBERRY DRIVE                                        ARLINGTON       TX   76006‐2324
SCOTT, RONNIE        124 HOPE ST                                                                                   BOURG           LA   70343‐5015
SCOTT, RONNIE G      3293 HUNTER RD                                                                                BRIGHTON        MI   48114‐4917
SCOTT, RONNIE L      8690 N 425 E                                                                                  ALEXANDRIA      IN   46001‐8746
SCOTT, ROOSEVELT     507 W 3RD AVE                                                                                 GASTONIA        NC   28052‐3809
SCOTT, ROSALIND L    940 EMERSON ST                                                                                SAGINAW         MI   48607
SCOTT, ROSAMUNDE A   10101 FORUM PARK DR APT 1061                                                                  HOUSTON         TX   77036‐8146
SCOTT, ROSHELLE      2608 M21 APT 2B                                                                               CORUNNA         MI   48817
SCOTT, ROXIE         9852 S ELLIS AVE                                                                              CHICAGO         IL   60628‐1516
SCOTT, ROY E         119 N GLADSTONE AVE                                                                           INDIANAPOLIS    IN   46201‐3603
SCOTT, ROY J         2597 EVENING SKY DRIVE                                                                        HENDERSON       NV   89052‐6909
SCOTT, ROY J         13560 SAGER RD                                                                                GRASS LAKE      MI   49240‐9342
SCOTT, ROY M         THE BARRINGTON REGENT             2350 QUAKER RD                                              GASPORT         NY   14067‐9441
SCOTT, ROY T         4023 MCPHERSON DR                                                                             ACWORTH         GA   30101‐6368
SCOTT, RUBY          19478 PENNINGTON DR                                                                           DETROIT         MI   48221
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Name                             Address1                          Address2                       Address3   Address4         City             State Zip
SCOTT, RUBY LEE                  6410 CECIL DR                                                                                FLINT             MI 48505‐2426
SCOTT, RUDY R                    18694 SANTA BARBARA DR                                                                       DETROIT           MI 48221‐2150
SCOTT, RUFUS                     BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD        OH 44067
                                                                   PROFESSIONAL BLDG
SCOTT, RUFUS J                   560 SHEFFEY SCHOOL RD                                                                        MAX MEADOWS      VA   24360‐3668
SCOTT, RUSSELL                   14520 AYLSWORTH RD                                                                           THOMPSONVILLE    MI   49683‐8615
SCOTT, RUSSELL A                 1777 E CHADWICK RD                                                                           DEWITT           MI   48820‐8438
SCOTT, RUSSELL E                 1004 LORRAINE CT                                                                             SHELBYVILLE      IN   46176
SCOTT, RUSSELL L                 2806 BRIDGESTONE CIR                                                                         KOKOMO           IN   46902‐7008
SCOTT, RUSSELL M                 3731 FRANKLIN AVE                                                                            FREMONT          CA   94538‐5515
SCOTT, RUSSELLA                  355 WALPER AVE                                                                               CLAWSON          MI   48017‐2030
SCOTT, RUTH A                    5911 BAYPOINTE BLVD                                                                          CLARKSTON        MI   48346‐3190
SCOTT, RUTH B                    220 WELCOME WAY BLVD W APT 209D                                                              INDIANAPOLIS     IN   46214‐4958
SCOTT, RUTH MARLENE              168 COUNTY RD #136                                                                           OKOLONA          MS   38860
SCOTT, RUTH S                    3375 N LINDEN RD APT322                                                                      FLINT            MI   48504‐5729
SCOTT, RUTHIE WARD               1358 ADCOCK RD                                                                               RAYVILLE         LA   71269‐6450
SCOTT, S O                       879 WITT RD                                                                                  PROSPECT         TN   38477
SCOTT, SABRINA L                 PO BOX 9022                       C/O ADAM OPEL R2‐07                                        WARREN           MI   48090‐9022
SCOTT, SALLY A                   231 HILLCLIFF DR                                                                             WATERFORD        MI   48328‐2521
SCOTT, SAM L                     278 KENWOOD AVE                                                                              ROCHESTER        NY   14611‐3030
SCOTT, SAMMIE J                  17 S ASTOR ST                                                                                PONTIAC          MI   48342‐2910
SCOTT, SAMUEL                    10231 SARATOGA ST                                                                            OAK PARK         MI   48237‐3925
SCOTT, SAMUEL                    2621 JACKSON ST SW                                                                           WARREN           OH   44485‐3369
SCOTT, SAMUEL                    BIFFERATO GENTILOTTI & BIDEN      PO BOX 2165                                                WILMINGTON       DE   19899‐2165
SCOTT, SAMUEL                    PORTER & MALOUF PA                4670 MCWILLIE DR                                           JACKSON          MS   39206‐5621
SCOTT, SAMUEL L                  PO BOX 144                                                                                   LIZTON           IN   46149‐0144
SCOTT, SAMUEL P                  PO BOX 291                                                                                   ANNISTON         MO   63820‐0291
SCOTT, SANDRA                    5132 MAGGIE DR                                                                               STONE MOUNTAIN   GA   30087‐3661
SCOTT, SANDRA L                  4450 ISLAND PARK DR                                                                          WATERFORD        MI   48329‐1919
SCOTT, SANDRA S                  913 WALLS DR.                                                                                VIENNA           OH   44473
SCOTT, SARA R                    1886 COLONIAL VILLAGE WAY APT 2                                                              WATERFORD        MI   48328‐1965
SCOTT, SARAH R                   5100 IRISH RD                                                                                GRAND BLANC      MI   48439‐9727
SCOTT, SAUL G                    7509 SETTERS POINTE DR                                                                       BRIGHTON         MI   48116‐6706
SCOTT, SERETA FOR NANNIE JONES   SCOTT SERETA                      2791 EASTBROOK RD                                          LYNCHBURG        VA   24501‐7700
SCOTT, SHANE                     13048 APPLE TREE LANE                                                                        DEWITT           MI   48820‐8174
SCOTT, SHAREESE A                390 W WINDSOR CIR                                                                            BOWLING GREEN    KY   42101‐7340
SCOTT, SHAREESE ANN              390 W WINDSOR CIR                                                                            BOWLING GREEN    KY   42101‐7340
SCOTT, SHARON                    1163 CHURCH ST                                                                               PONCA CITY       OK   74604‐7018
SCOTT, SHARON J                  1145 S WASHBURN RD                                                                           DAVISON          MI   48423‐8007
SCOTT, SHARON K                  1412 KIPLING DR                                                                              DAYTON           OH   45406‐5406
SCOTT, SHARON V                  1118 PRINCE HALL DR APT 1101                                                                 BELOIT           WI   53511‐5490
SCOTT, SHEILA R                  16036 CORAM ST                                                                               DETROIT          MI   48205‐2506
SCOTT, SHELDON L                 133 THUNDER RD.                                                                              AUXIER           KY   41602
SCOTT, SHELLY D                  719 PIONEER WOODS DR                                                                         INDIANAPOLIS     IN   46224‐6165
SCOTT, SHERRY                    643 DEERY ST                                                                                 SHELBYVILLE      TN   37160‐3315
SCOTT, SHERRY E                  1901 PROCTOR AVE                                                                             FLINT            MI   48504‐7267
SCOTT, SHERRY EVELYN             1901 PROCTOR AVE                                                                             FLINT            MI   48504‐7267
SCOTT, SHIRLEY                   9815 48TH AVE                                                                                ALLENDALE        MI   49401‐8439
SCOTT, SHIRLEY F                 524 CEDARHURST AVE                                                                           DAYTON           OH   45402‐5402
SCOTT, SHIRLEY M                 3615 EAST IMPERAIL HIGHWAY                                                                   LYNWOOD          CA   90262‐2652
SCOTT, SHIRLEY M                 P. O. 207                                                                                    NEWAYGO          MI   49337
SCOTT, SHIRLEY M                 3615 E IMPERIAL HWY                                                                          LYNWOOD          CA   90262‐2652
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Name                  Address1                         Address2                  Address3   Address4         City                 State Zip
SCOTT, SHIRLEY T      17500 MAPLE HEIGHTS BLVD                                                               MAPLE HEIGHTS         OH 44137
SCOTT, SHONA          PO BOX 7                                                                               BRONWOOD              GA 39826
SCOTT, SHONA DENISE   BEAUCHAMP & ASSOCIATES           PO BOX 287                                            ALBANY                GA 31702‐0287
SCOTT, SIDNEY         121 WUICHAI RD                                                                         MONROE                LA 71203‐8425
SCOTT, SIDNEY A       121 WUICHAI RD                                                                         MONROE                LA 71203‐8425
SCOTT, SIDNEY T       3305 BITTERNUT BLVD                                                                    YORK                  PA 17404‐8492
SCOTT, SONJA D        9960 CHEYENNE ST                                                                       DETROIT               MI 48227‐3706
SCOTT, SONYA D        217 E AVONDALE AVE                                                                     YOUNGSTOWN            OH 44507‐1962
SCOTT, SPENCER L      PO BOX 715                                                                             DEFIANCE              OH 43512‐0715
SCOTT, STANDLEY R     42995 RIGGS RD                                                                         BELLEVILLE            MI 48111‐3084
SCOTT, STANLEY D      6932 PHEASANT RUN                                                                      GAYLORD               MI 49735‐8759
SCOTT, STANLEY R      1907 GRIFFIN STREET                                                                    MONROE                LA 71203
SCOTT, STANLEY W      PO BOX 183                                                                             BARNHART              MO 63012‐0183
SCOTT, STEPHEN A      432 RAFAEL BLVD NE 3                                                                   SAINT PETERSBURG      FL 33704
SCOTT, STEPHEN A      6003 ADAGIO LANE                                                                       APOLLO BEACH          FL 33572‐2722
SCOTT, STEPHEN C      1124 HANLEY RD W                                                                       MANSFIELD             OH 44904‐1522
SCOTT, STEPHEN D      3906 NEW SALEM AVE                                                                     OKEMOS                MI 48864‐3620
SCOTT, STEPHEN D      319 W LIBERTY ST                                                                       MEDINA                OH 44256‐2219
SCOTT, STEPHEN E      2305 NORTH CHANDLER DRIVE WEST                                                         FORT WORTH            TX 76111‐2910
SCOTT, STEPHEN T      3600 SHOALS ST                                                                         WATERFORD             MI 48329‐2262
SCOTT, STEPHEN W      715 CYPRESS PARK AVE                                                                   TARPON SPRINGS        FL 34689‐5786
SCOTT, STERLING       3767 16TH ST                                                                           ECORSE                MI 48229‐1335
SCOTT, STEVEN         1971 SWARTZ FAIRBANKS RD                                                               MONROE                LA 71203‐8465
SCOTT, STEVEN A       1971 SWARTZ FAIRBANKS RD                                                               MONROE                LA 71203‐8465
SCOTT, STEVEN E       2093 E 550 S                                                                           ANDERSON              IN 46017‐9552
SCOTT, STEVEN L       2603 E 5TH ST                                                                          ANDERSON              IN 46012‐3762
SCOTT, STEVEN L       15718 STANSBURY ST                                                                     DETROIT               MI 48227‐3325
SCOTT, STEVEN M       6959 ANTHONY ST                                                                        KALAMAZOO             MI 49009‐7796
SCOTT, STUART C       2 15TH AVE APT 203                                                                     INDIAN ROCKS BEACH    FL 33785
SCOTT, SUE            8150 E 10TH ST                                                                         INDIANAPOLIS          IN 46219‐5327
SCOTT, SUE            8150 EAST TENTH ST                                                                     INDIANAPOLIS          IN 46219‐5327
SCOTT, SUSAN          2883 SOMERSET BLVD               APT 204                                               TROY                  MI 48084
SCOTT, SUSAN K        1705 JOHNSON RD                                                                        IOWA PARK             TX 76367‐1023
SCOTT, SUSIE B        3729 SEMINOLE                                                                          DETROIT               MI 48214‐1194
SCOTT, SYLVESTER      1932 WASHTENAW RD APT 21                                                               YPSILANTI             MI 48197‐1757
SCOTT, SYLVIA A       3600 73D AVE N                                                                         BROOKLYN PARK         MN 55429
SCOTT, SYLVIA D       #1                               20491 GARDENDALE STREET                               DETROIT               MI 48221‐1305
SCOTT, SYLVIA M       10898 DARLING RD                                                                       MILAN                 MI 48160‐9114
SCOTT, TALMADGE T     64 E ALKALINE SPRINGS RD                                                               VANDALIA              OH 45377
SCOTT, TAMMY L        6381 SUN RIDGE DR                                                                      WAYNESVILLE           OH 45068‐8491
SCOTT, TAMRA
SCOTT, TANEITHEIA     109 NW INDIAN ST                                                                       IDABEL               OK 74745
SCOTT, TANEITHEIA
SCOTT, TED E          2177 S TURNER RD                                                                       AUSTINTOWN           OH   44515‐5519
SCOTT, TED R          1050 W BRITTON RD                                                                      MORRICE              MI   48857‐9401
SCOTT, TEDDY R        14534 W MULBERRY DR                                                                    GOODYEAR             AZ   85395‐8305
SCOTT, TENNIE M       909 KINGSLEY LANE                                                                      CARSON CITY          NV   89701‐6409
SCOTT, TEOLA M        3718 EVERGREEN PKWY                                                                    FLINT                MI   48503‐4566
SCOTT, TERIKA         5602 EAST 29TH AVENUE                                                                  TAMPA                FL   33619‐1514
SCOTT, TERRI          2305 NORTH CHANDLER DRIVE WEST                                                         FORT WORTH           TX   76111‐2910
SCOTT, TERRI          2305 N CHANDLER DR W                                                                   FORT WORTH           TX   76111‐2810
SCOTT, TERRY D        5615 BRADLEY CIR                                                                       LITHONIA             GA   30038‐1173
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Name                   Address1                           Address2                      Address3   Address4         City             State Zip
SCOTT, TERRY G         1015 MAPLE AVE                                                                               SANDUSKY          OH 44870‐9618
SCOTT, TERRY L         6450 BELDING RD NE                                                                           ROCKFORD          MI 49341‐9618
SCOTT, TERRY L         4309 DRUMMOND SQ                                                                             FLINT             MI 48504
SCOTT, TERRY L         PO BOX 396                                                                                   KAWKAWLIN         MI 48631‐0396
SCOTT, TERRY L         614 E CORNELIA ST                                                                            HICKSVILLE        OH 43526‐1254
SCOTT, TERRY R         18158 TRUFFLE LN                                                                             BOYDS             MD 20841‐6011
SCOTT, TERRY R         1825 LAWN AVE                                                                                KANSAS CITY       MO 64127‐3546
SCOTT, TERRY R.        1825 LAWN AVE                                                                                KANSAS CITY       MO 64127‐3546
SCOTT, THELMA JEAN     1250 N KEPLER RD                                                                             DELAND            FL 32724‐3059
SCOTT, THEO C          112 OAKDALE AVE                                                                              PEACHTREE CITY    GA 30269‐3626
SCOTT, THEODORE R      411 BALD ROCK RD                                                                             OXFORD            GA 30054‐4047
SCOTT, THERESA A       1551 WYBURN PL                                                                               DAYTON            OH 45418‐2048
SCOTT, THERESA L       19127 BIRWOOD ST                                                                             DETROIT           MI 48221‐3207
SCOTT, THERON          443 HYDE PARK AVE                                                                            BELLWOOD           IL 60104‐1715
SCOTT, THOMAS          5314 MAPLECREST RD                                                                           FORT WAYNE        IN 46835‐3831
SCOTT, THOMAS          47038 WOODBERRY ESTATES DR                                                                   MACOMB            MI 48044‐3040
SCOTT, THOMAS E        363 W TWIN MAPLE AVE                                                                         LITHOPOLIS        OH 43136‐9733
SCOTT, THOMAS E        PO BOX 733                                                                                   MARION            IN 46952‐0733
SCOTT, THOMAS F        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                          STREET, SUITE 600
SCOTT, THOMAS G        107 RENSHAR DR                                                                               AUBURN           MI   48611‐9325
SCOTT, THOMAS H        7100 HOLVERSON RD                                                                            CARSONVILLE      MI   48419‐9457
SCOTT, THOMAS J        6224 POINSETTIA DR                                                                           SAGINAW          MI   48603‐4202
SCOTT, THOMAS J        2690 SHARPSBURG MCCULLUM RD                                                                  NEWNAN           GA   30265‐1717
SCOTT, THOMAS J        7419 W BANCROFT ST                                                                           TOLEDO           OH   43615‐3016
SCOTT, THOMAS L        55 COLLEGE DR                                                                                AUBURN HILLS     MI   48326
SCOTT, THOMAS L        2416 N RURAL ST                                                                              INDIANAPOLIS     IN   46218‐3630
SCOTT, THOMAS L        3141 N HOCKADAY RD                                                                           GLADWIN          MI   48624‐9757
SCOTT, THOMAS L        3460 CHALICE RD                                                                              ORION            MI   48359‐1119
SCOTT, THOMAS R        620 W 3RD ST APT 77                                                                          FLORENCE         NJ   08518‐1714
SCOTT, THOMAS W        1720 NORWOOD CREEK DR                                                                        POWHATAN         VA   23139
SCOTT, THOMAS W        5805 42ND AVE APT 410                                                                        HYATTSVILLE      MD   20781‐1637
SCOTT, THURMOND L      453 SEVILLE BLVD 9                                                                           PONTIAC          MI   48340
SCOTT, TIFFANY         405 DETROIT AVENUE                                                                           PANAMA CITY      FL   32401‐5526
SCOTT, TIMOTHY J       731 BEACHLER DR                                                                              CARLISLE         OH   45005‐3404
SCOTT, TIMOTHY JAMES   731 BEACHLER DR                                                                              CARLISLE         OH   45005‐3404
SCOTT, TODD J          49476 WATERSTONE ESTATES CIR                                                                 NORTHVILLE       MI   48168‐4900
SCOTT, TOMMY D         PO BOX 32                                                                                    DEVINE           TX   78016
SCOTT, TOMMY L         3234 FULTON ST                                                                               SAGINAW          MI   48601‐3114
SCOTT, TOMMY L         3234 FULTON                                                                                  SAGINAW          MI   48601
SCOTT, TOMMY L         1284 EASTLAND RD SE                                                                          ATLANTA          GA   30316‐3218
SCOTT, TONY A          1827 TERRACE CT                                                                              FLINT            MI   48507‐4330
SCOTT, TORYE T         1200 FULLER WISER RD APT 1412                                                                EULESS           TX   76039
SCOTT, TORYE TAVARIS   1200 FULLER WISER RD APT 1412                                                                EULESS           TX   76039
SCOTT, TRACEY L        PO BOX 151                                                                                   GRAIN VALLEY     MO   64029‐0151
SCOTT, TRACEY M        1152 GRIGGY RD                                                                               MOGADORE         OH   44260‐9633
SCOTT, TRACY           1133 2ND ST                                                                                  SANDUSKY         OH   44870‐3833
SCOTT, TRENTON
SCOTT, TROY E          11030 GREENWOOD RD                                                                           GLADWIN          MI   48624‐9120
SCOTT, TROY L          2329 RAMSEY RIDGE RD                                                                         HELTONVILLE      IN   47436
SCOTT, TROY S          4316 MORRISWOOD DR                                                                           NASHVILLE        TN   37204‐4422
SCOTT, TYKETA N        7433 DRY CREEK DR APT 2A                                                                     GRAND BLANC      MI   48439‐6302
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Name                Address1                           Address2                      Address3   Address4         City                  State Zip
SCOTT, TYLER        HURT MARK T                        159 WEST MAIN STREET                                      ABINGDON               VA 24210
SCOTT, TYLER        MICHIE,HAMLETT,LOWRY,RASMUSSEN &   120 DAY AVENUE S.W                                        ROANOKE                VA 24016
                    TWEEL PC
SCOTT, TYLER J      75 TWIN SPRINGS FARM LN                                                                      FOLEY                 MO   63347‐2537
SCOTT, ULUS         1917 E 41ST ST                                                                               ANDERSON              IN   46013‐2576
SCOTT, UNIVAY C     8889 W COUNTY RD                   825 N                                                     MIDDLETOWN            IN   47356
SCOTT, VANELLA      18974 ASBURY PARK                                                                            DETROIT               MI   48235‐3009
SCOTT, VELMA L      4679 FRENCH RD                                                                               DETROIT               MI   48214‐1573
SCOTT, VELMA M      3182 W. US 23                                                                                CHEBOYGAN             MI   49721‐9340
SCOTT, VELMA M      3182 W US HIGHWAY 23                                                                         CHEBOYGAN             MI   49721‐9340
SCOTT, VENELLA      1819 CHELAN ST                                                                               FLINT                 MI   48503‐4307
SCOTT, VERA S       4870 S 750 E                                                                                 KOKOMO                IN   46902‐9127
SCOTT, VERDA L      3017 LOUISE RITA CT                                                                          YOUNGSTOWN            OH   44511‐3327
SCOTT, VERLIE       3162 RT 48 NORTH                                                                             LEBANON               OH   45036‐2422
SCOTT, VERLIE       3162 N STATE ROUTE 48                                                                        LEBANON               OH   45036‐2422
SCOTT, VERNA B      122 RHODA AVE                                                                                YOUNGSTOWN            OH   44509‐2008
SCOTT, VERNA M      2336 NW 121ST ST                                                                             OKLAHOMA CITY         OK   73120‐7416
SCOTT, VERNON L     978 MARION AVE                                                                               MAINEVILLE            OH   45039‐8671
SCOTT, VICKI        23368 TAWAS AVE                                                                              HAZEL PARK            MI   48030‐2722
SCOTT, VICKIE L     PO BOX 4164                                                                                  BATTLE CREEK          MI   49016
SCOTT, VICKIE L     275 TIMBER LN                                                                                BATTLE CREEK          MI   49037
SCOTT, VICKY L      3163 VALLEY FARMS ROAD                                                                       INDIANAOPLIS          IN   46214
SCOTT, VICTOR K     10 WAY WEST AIRPARK                                                                          BAINBRIDGE            IN   46105‐9572
SCOTT, VICTOR L     3105 TORREY BEACH DR                                                                         FENTON                MI   48430‐1367
SCOTT, VIRGIL L     PO BOX 592                         1434 ELDORADO DRIVE                                       FLINT                 MI   48501‐0592
SCOTT, VIRGINIA D   3628 CASTANO DR                                                                              TROTWOOD              OH   45416‐1106
SCOTT, VIRGINIA E   419 ALLENDALE PL                                                                             FLINT                 MI   48503‐2352
SCOTT, VIRGINIA H   606 E 18TH ST                                                                                LA PORTE              IN   46350‐6624
SCOTT, VIRGINIA H   606 EAST 18TH ST.                                                                            LAPORTE               IN   46350‐6624
SCOTT, VIRGLE R     1792 CADILLAC AVE                                                                            YPSILANTI             MI   48198‐9203
SCOTT, VISTA M      2357 GREEN WAY S                                                                             SAINT PETERSBURG      FL   33712‐4114
SCOTT, VISTA M      2357 GREENWAY S.                                                                             ST. PETERSBURG        FL   33712‐4114
SCOTT, VONIER H     3985 WALDON RD                                                                               LAKE ORION            MI   48360‐1633
SCOTT, W D          6314 N STATE ROAD 29 29                                                                      MICHIGANTOWN          IN   46057
SCOTT, W R          511 E EDGEWOOD BLVD APT 209                                                                  LANSING               MI   48911‐5914
SCOTT, WALTER       402 E 37TH ST                                                                                INDIANAPOLIS          IN   46205‐3530
SCOTT, WALTER B     PO BOX 29333                                                                                 SHREVEPORT            LA   71149‐9333
SCOTT, WALTER B     6777 RASBERRY LN APT 313                                                                     SHREVEPORT            LA   71129‐2542
SCOTT, WALTER C     PO BOX 8093                        C/O JANE PATRICIA                                         HOT SPRINGS VILLAGE   AR   71910‐8093
SCOTT, WALTER I     16900 S TAMIAMI TRAIL W 90                                                                   FORT MYERS            FL   33908
SCOTT, WALTER J     17354 FLINT ST                                                                               MELVINDALE            MI   48122‐1281
SCOTT, WALTER J     1127 FOREST RD                                                                               LA GRANGE PK          IL   60526‐5401
SCOTT, WALTER L     2930 FLETCHER ST                                                                             ANDERSON              IN   46016‐5343
SCOTT, WALTER L     2035 CLERMONT AVE NE                                                                         WARREN                OH   44483‐3525
SCOTT, WALTER M     631 BRADFORD CIR                                                                             INDIANAPOLIS          IN   46214‐2645
SCOTT, WARREN A     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510
                                                       STREET, SUITE 600
SCOTT, WARREN H     3970 LLANO RD                                                                                SANTA ROSA            CA   95407‐8041
SCOTT, WAYNE        SHANNON LAW FIRM                   100 W GALLATIN ST                                         HAZLEHURST            MS   39083‐3007
SCOTT, WAYNE E      3606 W PEBBLEPOINT WAY                                                                       MUNCIE                IN   47302‐6931
SCOTT, WAYNE P      PO BOX 72                                                                                    HARRELL               AR   71745‐0072
SCOTT, WAYNE W      8654 ALLEN RD                                                                                ALLEN PARK            MI   48101‐1432
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Name               Address1                           Address2                            Address3                  Address4         City                 State Zip
SCOTT, WC          3165 PACES LANDING DR 1A                                                                                          LAWRENCEVILLE         GA 30044
SCOTT, WC C        1831 LONGWOOD DR                                                                                                  JACKSON               MS 39212‐2509
SCOTT, WC C        107 PARKVIEW DR                    APT 72                                                                         CANTON                MS 39046
SCOTT, WENDELL E   2546 SONATA DR                                                                                                    COLUMBUS              OH 43209‐3211
SCOTT, WESLEY D    7000 SMITH GROVE RD                                                                                               BURKESVILLE           KY 42717‐9332
SCOTT, WESLEY E    5932 ENGLISH RD                                                                                                   SILVERWOOD            MI 48760‐9401
SCOTT, WHITNEY J   4555 BLOSSOM HILL TRL                                                                                             ANN ARBOR             MI 48108‐1356
SCOTT, WILKIE T    4325 STATE ROUTE 47 W                                                                                             BELLEFONTAINE         OH 43311‐9336
SCOTT, WILL        GUY WILLIAM S                      PO BOX 509                                                                     MCCOMB                MS 39649‐0509
SCOTT, WILLIAM     WILENTZ GOLDMAN & SPITZER          88 PINE STREET, WALL STREET PLAZA                                              NEW YORK              NY 10005

SCOTT, WILLIAM     ATTN LYNNE KIZIS ESQ               WILENTZ GOLDMAN AND SPITZER         90 WOODBRIDGE CENTER DR                    WOODBRIDGE            NJ   07095

SCOTT, WILLIAM     809 PEARL ST APT 5F                                                                                               ELIZABETH            NJ    07202‐3458
SCOTT, WILLIAM     22520 RED MAPLE LN                                                                                                ST CLAIR SHORES      MI    48080
SCOTT, WILLIAM     57B HILLCREST DR SE                                                                                               AUSTELL              GA    30168‐6705
SCOTT, WILLIAM     1300 S 5TH ST                                                                                                     MONROE               LA    71202‐2815
SCOTT, WILLIAM     38050 METRO VILLA CT UNIT 106G                                                                                    HARRISON TOWNSHIP    MI    48045
SCOTT, WILLIAM     356 HUNTERS HOLW                                                                                                  BOSSIER CITY         LA    71111‐2367
SCOTT, WILLIAM B   5 ROMA DR                                                                                                         FARMINGTON           CT    06032‐2158
SCOTT, WILLIAM D   71 BITTERSWEET DR                                                                                                 BREWSTER             MA    02631‐1457
SCOTT, WILLIAM D   204 BROOKRIDGE DR                                                                                                 ROCHESTER            NY    14616‐3537
SCOTT, WILLIAM D   532 BOURN ST                                                                                                      VASSAR               MI    48768‐1402
SCOTT, WILLIAM D   HURT MARK T                        159 WEST MAIN STREET                                                           ABINGDON             VA    24210
SCOTT, WILLIAM D   MICHIE,HAMLETT,LOWRY,RASMUSSEN &   120 DAY AVENUE S.W                                                             ROANOKE              VA    24016
                   TWEEL PC
SCOTT, WILLIAM E   1300 S 5TH ST                                                                                                     MONROE               LA    71202‐2815
SCOTT, WILLIAM E   2418 WISCONSIN AVE                                                                                                FLINT                MI    48506‐3885
SCOTT, WILLIAM E   4108 LEDGESTONE DR                                                                                                WATERFORD            MI    48329‐1543
SCOTT, WILLIAM G   2619 EDGEWATER DR                                                                                                 CORTLAND             OH    44410‐8602
SCOTT, WILLIAM H   1613 SADDLEBROOK CT                                                                                               TOLEDO               OH    43615‐7357
SCOTT, WILLIAM J   1160 PELICAN PERCH DR NE           NE                                                                             TOWNSEND             GA    31331‐5720
SCOTT, WILLIAM J   4013 BOB‐O‐LINK DR                                                                                                YOUNGSTOWN           OH    44511
SCOTT, WILLIAM J   1768 ROODS LAKE RD                                                                                                LAPEER               MI    48446‐8322
SCOTT, WILLIAM J   124 CLOONEY DR                                                                                                    HENRIETTA            NY    14467
SCOTT, WILLIAM J   172 CADY ST                                                                                                       ROCHESTER            NY    14611‐3413
SCOTT, WILLIAM J   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                    NORFOLK              VA    23510
                                                      STREET, SUITE 600
SCOTT, WILLIAM L   101 S 21ST ST                                                                                                     SAGINAW              MI    48601‐1446
SCOTT, WILLIAM L   21705 MAPLE ST                                                                                                    SAINT CLAIR SHORES   MI    48081‐3715
SCOTT, WILLIAM M   12613 W REGAL DR                                                                                                  SUN CITY WEST        AZ    85375‐5166
SCOTT, WILLIAM M   3325 N BRANCH DR                                                                                                  BEAVERTON            MI    48612‐8133
SCOTT, WILLIAM N   408 THOMAS LN                                                                                                     GRAND BLANC          MI    48439‐1526
SCOTT, WILLIAM P   5100 IRISH RD                                                                                                     GRAND BLANC          MI    48439‐9727
SCOTT, WILLIAM R   1424 CENTRAL PARKWAY AVE SE                                                                                       WARREN               OH    44484‐4457
SCOTT, WILLIAM R   PO BOX 958                                                                                                        GRAND BLANC          MI    48480‐0958
SCOTT, WILLIAM R   PO BOX 3098                                                                                                       GAYLORD              MI    49734‐3098
SCOTT, WILLIAM W   11477 HAVEN ST                                                                                                    CLIO                 MI    48420‐1512
SCOTT, WILLIAM W   1764 E NORTH BOUTELL RD                                                                                           LINWOOD              MI    48634‐9554
SCOTT, WILLIE      731 S 10TH ST                                                                                                     SAGINAW              MI    48601‐2102
SCOTT, WILLIE      5368 B NORTH 13000 W RD                                                                                           CUSTER PARK          IL    60481‐9028
SCOTT, WILLIE B    413 RIDGECREST LN                                                                                                 LEBANON              TN    37087‐1351
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Name                                  Address1                         Address2                    Address3   Address4              City              State Zip
SCOTT, WILLIE HENRY                   COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                      HOUSTON            TX 77002‐1751
SCOTT, WILLIE J                       1234 MANORWAY DR                                                                              FLORENCE           SC 29501
SCOTT, WILLIS I                       22 1ST ST                                                                                     OXFORD             MI 48371‐4603
SCOTT, WILTON                         5132 LODGE ST                                                                                 SAGINAW            MI 48601‐6828
SCOTT, WINCELL                        5786 MAPLE ST BOX 285                                                                         WOLVERINE          MI 49799
SCOTT, WINFIELD WILLIAM               7211 LANE PARK DRIVE                                                                          DALLAS             TX 75225‐2455
SCOTT, ZONA L                         568 MELROSE LANE                                                                              MT MORRIS          MI 48458‐8926
SCOTT, ZONA L                         568 MELROSE LN                                                                                MOUNT MORRIS       MI 48458‐8926
SCOTT,ANTHONY E                       12035 201ST PL NE                                                                             WOODINVILLE        WA 98077
SCOTT,BURLEY E                        3014 WINDMILL DR                                                                              BEAVERCREEK        OH 45432‐2531
SCOTT,DAVID C                         54036 BIRCHFIELD DR W                                                                         SHELBY TOWNSHIP    MI 48316‐1393
SCOTT,LARRY J                         59 WYNDEMERE DR BLDG 8                                                                        FRANKLIN           OH 45005
SCOTT‐ABRAM, DEANDREA' M              PO BOX 78533                                                                                  SHREVEPORT         LA 71137‐8533
SCOTT‐BURISEK, RENEE F                7041 TERRACE DR                                                                               DOWNERS GROVE       IL 60516‐3202
SCOTT‐DOUGLAS PLASTICS LTD            JERRY MCGINNIS                   50 JANES ROAD P.O. BOX 65              TECUMSEH ON CANADA
SCOTT‐DOUGLAS PLASTICS LTD            50 JANES ROAD                                                           INGERSOLL CANADA ON
                                                                                                              N5C 3K1 CANADA
SCOTT‐DOUGLAS PLASTICS LTD.           JERRY MCGINNIS                   50 JANES ROAD P.O. BOX 65              TECUMSEH ON CANADA
SCOTT‐HUMPHREY, NANCY                 7126 PEBBLE PARK DR                                                                           WEST BLOOMFIELD   MI   48322‐3505
SCOTT‐LEES, PAMELA                    34506 HIVELEY ST                                                                              WESTLAND          MI   48186‐4323
SCOTT‐LEWIS, JOAN M                   528 HOUSEL CRAFT RD                                                                           CORTLAND          OH   44410‐9526
SCOTT‐LEWIS, RACHEL                   276 EDINGTON CIR                                                                              CANTON            MI   48187‐5056
SCOTT‐PRESSLEY, GAIL                  1570 WINDSONG TRL                APT 220                                                      FORT WORTH        TX   76120‐4216
SCOTT‐PRESSLEY, GAIL                  1570 WINDSONG TRL APT 220                                                                     FORT WORTH        TX   76120‐4216
SCOTT‐PREUSSE INC.                    1300 E BRIDGE ST                                                                              REDWOOD FALLS     MN   56283‐1904
SCOTT‐PREUSSE INC.                    ROBERT PREUSSE                   1300 E BRIDGE ST                                             REDWOOD FALLS     MN   56283‐1904
SCOTT‐RHODES, EDWARD T                1744 VANCOUVER DR                                                                             DAYTON            OH   45406‐4621
SCOTT‐RODES BUICK PONTIAC GMC, INC.   PO BOX 357                                                                                    SYLVA             NC   28779‐0357

SCOTT‐SIMMONS, ROSA D                 14 GREEN ST                                                                                   BETHLEHEM         PA   18017‐7214
SCOTT‐SOKOLOSKY, LISA M               46256 PALMER DR                                                                               SHELBY TOWNSHIP   MI   48315‐5740
SCOTTA, ANDRE J                       32541 PARKER CIR                                                                              WARREN            MI   48088‐1510
SCOTTA, MARIA C                       15422 MEYER AVE                                                                               ALLEN PARK        MI   48101‐2683
SCOTTA, MARIA CECILIA                 15422 MEYER AVE                                                                               ALLEN PARK        MI   48101‐2683
SCOTTEN, AUDREY L                     3439 W US HIGHWAY 40                                                                          CLAYTON           IN   46118‐9034
SCOTTEN, AUDREY L                     3439 W. US HWY. 40                                                                            CLAYTON           IN   46118‐9034
SCOTTEN, EDNEY R                      4937 MCCRAY ST                                                                                INDIANAPOLIS      IN   46224‐5145
SCOTTEN, RAYMOND T                    1935 SWEET GUM DR                                                                             AVON              IN   46123‐7425
SCOTTEN, RONALD R                     6861 AZALEA DR                                                                                INDIANAPOLIS      IN   46214‐1927
SCOTTI INEZ                           2667 QUAIL VALLEY ROAD                                                                        SOLVANG           CA   93463‐9613
SCOTTI, JACQUELINE D                  315 OAK ST                                                                                    ROCHESTER         MI   48307‐1929
SCOTTI, JAMES B                       723 BAY POINTE DR                                                                             OXFORD            MI   48371‐5155
SCOTTI, JEFFREY                       891 LAKESIDE DR                                                                               RAHWAY            NJ   07065‐1711
SCOTTIE BOYD                          1183 W KURTZ AVE                                                                              FLINT             MI   48505‐1205
SCOTTIE FOOTMAN                       3903 WILTON DR SE                                                                             GRAND RAPIDS      MI   49508‐2689
SCOTTIE FRANKLIN                      10076 BARNES RD                                                                               SHREVEPORT        LA   71129‐8710
SCOTTIE GREEN                         19730 FLORENCE ST                                                                             DETROIT           MI   48219‐4035
SCOTTIE HARMON                        247 NORTHSHORE DR                                                                             GRAVOIS MILLS     MO   65037‐8059
SCOTTIE HOGUE                         PO BOX 1272                                                                                   GADSDEN           AL   35902‐1272
SCOTTIE JONES                         20310 REDFERN ST                                                                              DETROIT           MI   48219‐4429
SCOTTIE KNOTT                         20580 PELKEY ST                                                                               DETROIT           MI   48205‐1105
SCOTTIE MILLER                        900 MAYNARD RD # MI                                                                           PORTLAND          MI   48875
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Name                               Address1                              Address2              Address3         Address4         City             State Zip
SCOTTIE R DANIELS                  1349 HAWTHORNE AVE                                                                            YPSILANTI         MI 48198‐5943
SCOTTIE R TAULBEE                  2026 ARTHUR AVE                                                                               DAYTON            OH 45414‐3102
SCOTTIE R TAULBEE                  2026 ARTHUR AVE                                                                               DAYTON            OH 45414‐3102
SCOTTIE ROBINSON                   1515 BLUEBONNET TRL                                                                           ARLINGTON         TX 76013‐5009
SCOTTIE TAULBEE                    2026 ARTHUR AVE                                                                               DAYTON            OH 45414‐3102
SCOTTIE TRAVIS TAULBEE             2163 S STATE ROUTE 721 721                                                                    LAURA             OH 45337
SCOTTIE TUCK
SCOTTIE WALLACE                    119 PINE GROVE DR                                                                             CALHOUN          LA   71225‐9544
SCOTTIE WOLFE                      2303 LOWELL AVE                                                                               SAGINAW          MI   48601‐3406
SCOTTISSUE                         3275 DRYDEN RD                                                                                MORAINE          OH   45439‐1461
SCOTTISSUE                         ATTN: DAVE KLING                      3275 DRYDEN RD                                          MORAINE          OH   45439‐1461
SCOTTLON GUYTON                    3056 GARLAND ST                                                                               DETROIT          MI   48214‐2177
SCOTTO, ERIN                       126 N SUNNYSIDE AVE                                                                           SIERRA MADRE     CA   91024‐1622
SCOTTON, LEWIS S                   4014 PINE RIDGE CT                                                                            FENTON           MI   48430‐9135
SCOTTRADE INC CUST FBO             JERRY LEE NIMMONS ROTH IRA            JERRY LEE NIMMONS     1708 N 21ST ST                    SPRINGFIELD      IL   62702‐3012
SCOTTRADE INC CUST FBO             SUZANN Y PERSHING ROTH IRA            PO BOX 19811                                            PALO ALTO        CA   94309‐9811
SCOTTRADE INC CUST FBO             LEONARD W TARPLEY IRA                 3325 PEACHTREE ST                                       CORPUS CHRISTI   TX   78410‐2416
SCOTTRADE INC CUST FBO             TONI P TARPLEY IRA                    3325 PEACHTREE ST                                       CORPUS CHRISTI   TX   78410‐2416
SCOTTRADE INC CUST FBO LEONARD W   TONI P TARPLEY JT TEN                 3325 PEACHTREE ST                                       CORPUS CHRISTI   TX   78410‐2416
TARPLEY &
SCOTTS BLUFF COUNTY TREASURER      1825 TENTH STREET                                                                             GERING           NE   69341
SCOTTS COMPANY                     ATTN BARBARA LOWE‐RAUSCH              14111 SCOTTSLAWN RD                                     MARYSVILLE       OH   43041‐0001
SCOTTS LAWN CARE INC               PO BOX 90402                                                                                  BURTON           MI   48509‐0402
SCOTTS LAWN CARE INC               PO BOX 90402                          7108 ALGER                                              BURTON           MI   48509‐0402
SCOTTS LLC                         PO BOX 813                                                                                    DAVISON          MI   48423‐0813
SCOTTS MACHINE REPAIR              PO BOX 26188                                                                                  FRASER           MI   48026‐6188
SCOTTSBLUFF MOTOR COMPANY, INC.    LOREN HOLUB                           2014 E 20TH PL                                          SCOTTSBLUFF      NE   69361‐2764
SCOTTSDALE                         7277 E CAMELBACK RD                                                                           SCOTTSDALE       AZ   85251‐3319
SCOTTSDALE CHARROS                 4251 NORTH BROWN AVE                                                                          SCOTTSDALE       AZ   85251
SCOTTSDALE CITY TAX DIVISION       PO BOX 1600                                                                                   SCOTTSDALE       AZ   85252‐1600
SCOTTSDALE FASHION SQUARE          11411 N TATUM BLVD                    ATTN AMANDA FORSMO                                      PHOENIX          AZ   85028‐2305
PARTNERSHIP
SCOTTSDALE HEALTH SH               PO BOX 29689                                                                                  PHOENIX          AZ   85038‐9689
SCOTTSDALE HEALTHCARE CORP         9201 E MOUNTAIN VIEW RD STE 12                                                                SCOTTSDALE       AZ   85258
SCOTTSDALE INSURANCE COMPANY       ATTN BUDDY COLLIER                     PO BOX C‐4120                                          SCOTTSDALE       AZ   85261
SCOTTSDALE, CITY OF                ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 1600                                            SCOTTSDALE       AZ   85252‐1600

SCOTTSDALE, CITY OF                PO BOX 1600                                                                                   SCOTTSDALE       AZ   85252‐1600
SCOTTTRADE INC CUST FBO            C/O WILLIAM R MARQUES IRA             10066 BRENTLAWN ST                                      SPRING HILL      FL   34608‐1003
SCOTTY BECK                        278 DENA MARIE DR                                                                             ORTONVILLE       MI   48462‐8101
SCOTTY CARSNER                     674 W MAIN ST                                                                                 NEW LEBANON      OH   45345‐9750
SCOTTY COOPER                      8705 W LONE BEECH DR                                                                          MUNCIE           IN   47304‐8914
SCOTTY D DEAN                      7415 ST RT 46 NE                                                                              CORTLAND         OH   44410‐‐ 96
SCOTTY DEAN                        7415 STATE ROUTE 46                                                                           CORTLAND         OH   44410‐9611
SCOTTY DENTON                      45 FAWN VALLEY CIR                                                                            SAINT PETERS     MO   63376‐7925
SCOTTY DEWAYNE MCALPINE            13 WHITE OAK VILLAGE                                                                          RAINBOW CITY     AL   35906
SCOTTY J COOPER                    8705 W LONE BEECH DR                                                                          MUNCIE           IN   47304‐8914
SCOTTY L CARSNER                   674 WEST MAIN STREET                                                                          NEW LEBANON      OH   45345
SCOTTY MIRACLE                     3325 MIDDLETON DR                                                                             ROCKVALE         TN   37153‐4488
SCOTTY NOBLE                       11193 KILE RD                                                                                 CHARDON          OH   44024‐9511
SCOTTY RABY                        9262 TOWNLEY RD                                                                               FENTON           MI   48430‐9331
SCOTTY SENDO                       22368 BRIAN ST                                                                                TAYLOR           MI   48180‐2769
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Name                                    Address1                           Address2                        Address3   Address4                   City               State Zip
SCOTTY TOWNSEND                         6711 GORSUCH RD                                                                                          FRANKLIN            OH 45005‐4544
SCOTTY WARRIOR                          206 BURTON DR                                                                                            ARLINGTON           TX 76011‐5809
SCOTTY WATERS                           2634 DANBERRY LN                                                                                         GRAND PRAIRIE       TX 75052‐3807
SCOTTY'S AUTO & TRUCK SERVICE LTD.      215 MERRITT ST                                                                ST CATHARINES ON L2T 1J7
                                                                                                                      CANADA
SCOTTY'S AUTOMOTIVE                     16645 SPRUCE ST                                                                                          HESPERIA           CA   92345‐6013
SCOTTY'S AUTOMOTIVE                     15580 MCGREGOR BLVD                                                                                      FORT MYERS         FL   33908
SCOTTY'S AUTOMOTIVE, INC.               1886 MONROE AVE                                                                                          ROCHESTER          NY   14618‐1918
SCOTTY'S FOOD & COOKIES                 3426 JUNCTION ST                                                                                         DETROIT            MI   48210‐3006
SCOTTY'S SOUTHWEST CORVETTE             3317 GIRARD BLVD NE                                                                                      ALBUQUERQUE        NM   87107‐1930
SCOTTY'S TRANSMISSIONS                  1510 GLENDALE AVE                                                                                        SPARKS             NV   89431‐5902
SCOTTYS CONTRACTING & STONE LLC         PO BOX 4500                                                                                              BOWLING GREEN      KY   42102‐4500
SCOTTYS DEVELOPMENT CO INC              7030 LOUISVILLE RD                                                                                       BOWLING GREEN      KY   42101
SCOTTYS JUMP N FUN PARTY RENTAL         6700 MARTIN ST                                                                                           ROME               NY   13440‐7107
SCOUGAL, PAULA M                        9743 W 67TH PL                                                                                           ARVADA             CO   80004‐2918
SCOUTS CANADA NATIONAL COUNCIL          PO BOX 5151 STN LCD MERIVALE                                                  OTTAWA CANADA ON K2C
                                                                                                                      3G7 CANADA
SCOVEL, JAMES R                         615 SHULTZ DR                                                                                            HAMILTON           OH   45013‐1467
SCOVEL, JANICE F                        129 SUGARWOOD LANE                                                                                       THOMASVILLE        GA   31792‐8026
SCOVEL, MARY H                          3331 CANADAY DR                                                                                          ANDERSON           IN   46013‐2214
SCOVELL, TERRANCE EUGENE                BOONE ALEXANDRA                    205 LINDA DR                                                          DAINGERFIELD       TX   75638‐2107
SCOVIAC, ALEX A                         12390 LAPEER RD                                                                                          DAVISON            MI   48423‐8174
SCOVIL, JEFFREY A                       182 NO. 9 ROAD                                                                                           COLTON             NY   13625
SCOVIL, JEFFREY ALAN                    182 NO. 9 ROAD                                                                                           COLTON             NY   13625
SCOVIL, ROGER C                         PO BOX 367                                                                                               SOUTH COLTON       NY   13687‐0367
SCOVILL, DOLORES J                      2430 MADEIRA DR NE                                                                                       ALBUQUERQUE        NM   87110‐4030
SCOVILL, DONALD W                       10012 WEST 70TH TERRACE                                                                                  SHAWNEE            KS   66203‐4222
SCOVILLE DENNIS                         SCOVILLE, DENNIS                   7825 FAY AVE STE 200                                                  LA JOLLA           CA   92037‐4270
SCOVILLE II, RUSSELL H                  1172 CLIFTON RD                                                                                          BETHEL PARK        PA   15102‐3150
SCOVILLE RICHARDSON                     112 JACKSON CO HIGH SCHOOL RD                                                                            MC KEE             KY   40447‐9147
SCOVILLE RUDOLPH (ESTATE OF) (447589)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD         OH   44067
                                                                           PROFESSIONAL BLDG
SCOVILLE, GARY R                        655 E. LYTLE‐5 POINTS RD                                                                                 CENTERVILLE        OH 45458
SCOVILLE, MERLYN E                      14 N BRAINTREE DR                                                                                        SCHAUMBURG         IL 60194‐4165
SCOVILLE, RUDOLPH                       BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                          NORTHFIELD         OH 44067
                                                                           PROFESSIONAL BLDG
SCOVILLE, THOMAS C                      307 COUNTRY CLUB DR                                                                                      NAPLES             FL   34110‐1143
SCOVILLE‐MENO AUTO PLAZA                839 STATE ROUTE 17C                                                                                      OWEGO              NY   13827‐4817
SCOVILLE‐MENO CHEVROLET INC.            JAMES MENO                         RTE 7                                                                 BAINBRIDGE         NY   13733
SCOVILLE‐MENO CHEVROLET PONTIAC‐        RTE 7                                                                                                    BAINBRIDGE         NY   13733
GMC
SCOVORONSKI, CHARLES A                  12916 TAKOMA DR                                                                                          STERLING HEIGHTS   MI   48313‐3376
SCOWDEN, BERNADINE M                    13760 DOW LN                                                                                             BEULAH             MI   49617‐9486
SCOWDEN, DENNIS N                       714 REGINA CIR                                                                                           OAKLAND            FL   34787‐8961
SCOWDEN, ERIC L                         1227 HIGHLAND CIRCLE DR                                                                                  WENTZVILLE         MO   63385‐5541
SCOWDEN, JOYCE A                        714 REGINA CIR                                                                                           OAKLAND            FL   34787
SCOWDEN, LYNN E                         109 N. PATTERSON BLVD                                                                                    DAYTON             OH   45402‐1713
SCOWDEN, LYNN E                         109 N PATTERSON BLVD                                                                                     DAYTON             OH   45402‐1713
SCOWDEN, MARY T                         5732 ARABIAN RUN                                                                                         INDIANAPOLIS       IN   46228‐1683
SCOWDEN, RODNEY L                       13760 DOW LN                                                                                             BEULAH             MI   49617‐9486
SCOWLEY, PAUL A                         523 GREYLOCK ST                                                                                          BELLEVILLE         MI   48111
SCOZZAFAVA, ANGELO                      20 THOMPSON AVE                                                                                          CROTON HDSN        NY   10520‐2727
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Name                            Address1                        Address2                     Address3                Address4             City                State Zip
SCOZZAFAVA, JOHN M              1597 MOLL ST                                                                                              N TONAWANDA          NY 14120‐2215
SCOZZAFAVA, JOHN MARK           1597 MOLL ST                                                                                              N TONAWANDA          NY 14120‐2215
SCOZZAFAVA, JR.,JOHN M          378 OLD FALLS BLVD                                                                                        NORTH TONAWANDA      NY 14120‐3131
SCOZZAFAVA, THOMAS A            38 WENONAH TERRACE                                                                                        TONAWANDA            NY 14150‐7057
SCOZZARI, JOHN L                25 OLD KENTUCKY STOCK RD                                                                                  CROSSVILLE           TN 38571‐6085
SCOZZARO, JEANINE               PO BOX 152                                                                                                CONTINENTAL          OH 45831
SCOZZARO, VICTOR P              1136 BOWEN DR W                                                                                           N TONAWANDA          NY 14120‐2829
SCP CARLSTADT PRP GROUP         C/O WILLIAM L WARREN            DRINKER BIDDLE & REATH LLP   105 COLLEGE ROAD EAST   P O. BOX 627         PRINCETON            NJ 08542
SCP CARLSTADT PRP GROUP         C/O WILLIAM L. WARREN           DRINKER BIDDLE & REATH LLP   105 COLLEGE ROAD EAST   P.O. BOX 627         PRINCETON            NJ 08542
SCR TRANSPORTATION INC                                          8801 S GREENWOOD AVE # 25                                                                       IL 60619
SCRABIS, JOSEPH J               7211 N PARK AVE                                                                                           BRISTOLVILLE         OH 44402‐9759
SCRABIS, MANUELA G              7762 VENICE AVE.                                                                                          WARREN               OH 44484‐1506
SCRABIS, MANUELA G              7762 VENICE HEIGHTS DR NE                                                                                 WARREN               OH 44484‐1506
SCRABIS, RONALD J               181 ALBERT ST                                                                                             NEWTON FALLS         OH 44444‐1048
SCRABIS, ROSEMARIE A            181 ALBERT ST                                                                                             NEWTON FALLS         OH 44444‐1048
SCRABIS, ROSEMARIE A            181 ALBERT STREET                                                                                         NEWTON FALLS         OH 44444‐1048
SCRACE TERESA                   2191 MACKAY AVE                                                                                           FORT LEE             NJ 07024‐5034
SCRACE, RANDALL R               15162 RIVIERA SHORES DR                                                                                   HOLLY                MI 48442‐1128
SCRAFTON, JOSEPH G              1590 W TIMERVIEW DR             APT 111                                                                   MARION               IN 46952‐1659
SCRAGG, ENOS E                  3474 CANTERBURY ST                                                                                        SWARTZ CREEK         MI 48473‐7940
SCRAGG, O I                     658 LAKEWOOD DR                                                                                           CHARLESTON           WV 25312‐9421
SCRAM, ALICE M                  1277 RIO CIR                                                                                              LILLIAN              AL 36549‐5337
SCRAM, ANDREW                   1277 RIO CIRCLE                                                                                           LILLIAN              AL 36549‐5337
SCRAMLIN, GORDON L              1116 LUCHARLES AVE                                                                                        MOUNT MORRIS         MI 48458‐2135
SCRAMLIN, GRETCHEN K            6195 HACK RD                                                                                              SAGINAW              MI 48601‐9629
SCRAMLIN, JAMES H               4722 FRANK DR                                                                                             COMINS               MI 48619‐9713
SCRAMLIN, JEFFREY M             51579 MAURO LN                                                                                            MACOMB               MI 48042‐4351
SCRAMLIN, RICHARD W             10321 OAKHILL RD                                                                                          HOLLY                MI 48442‐8856
SCRAMLIN, SUSAN                 3302 NORWAY LAKE ROAD                                                                                     COLUMBIAVILLE        MI 48421‐9781
SCRAMLIN, TERRY L               3302 NORWAY LAKE RD                                                                                       COLUMBIAVILLE        MI 48421‐9781
SCRAMLING, CATHERINE J          393 NORTH EIFERT ROAD                                                                                     MASON                MI 48854‐9524
SCRAMLING, GARY J               26740 KATHY ST                                                                                            ROSEVILLE            MI 48066‐3267
SCRANGELLA WILLIAM (472396) ‐   WEITZ & LUXENBERG               180 MAIDEN LANE                                                           NEW YORK             NY 10038
SCARANGELLA WILLIAM
SCRANTON AUTO SERVICE           609 PITTSTON AVE                                                                                          SCRANTON            PA 18505
SCRANTON MOTORS, INC.           777 TALCOTTVILLE RD                                                                                       VERNON              CT 06066‐2318
SCRANTON MOTORS, INC.           L. THOMAS SCRANTON              777 TALCOTTVILLE RD                                                       VERNON              CT 06066‐2318
SCRANTON TIMES TRIBUNE
SCRANTON TIMES TRIBUNE          3899 N. FRONT ST.                                                                                         HARRISBURG          PA   17110
SCRANTON, DAVID E               24A ROBERT PORTER RD                                                                                      SOUTHINGTON         CT   06489‐1151
SCRANTON, JON K                 106 S PROSPECT ST                                                                                         SAINT JOHNS         MI   48879‐1764
SCRANTON, MILDRED C             1101 SOUTH SCOTT ROAD                                                                                     SAINT JOHNS         MI   48879‐8044
SCRANTON, MILLARD C             4769 HUBER RD                                                                                             HICKSVILLE          OH   43526‐9751
SCRANTON, NILAGENE M            1503 SE 17TH ST                                                                                           CAPE CORAL          FL   33990‐5521
SCRANTON, SANDRA J              4013 BROUSE BLVD W                                                                                        UNIVERSITY PL       WA   98466‐1515
SCRANTON, TERRY J               259 S LAKE ST                                                                                             ROGERS CITY         MI   49779‐1713
SCRANTON, THOMAS                60 PINE ST                                                                                                COLD SPRING         NY   10516‐1528
SCRAP BUSTERS INC/MI            39223 MAPLE AVE                                                                                           WAYNE               MI   48184‐1530
SCRAP SPOT                      227 S FORD BLVD                                                                                           YPSILANTI           MI   48198‐6066
SCRAPANSKY, ROBERT              1555 BRAINARD RD                APT 105                                                                   LYNHUSRT            OH   44124
SCRAPANSKY, ROBERT              4267 SAINT PETERSBURG DRIVE                                                                               CLEVELAND           OH   44134‐6355
SCRAPBOOKERS INC                4847 CARROLL LAKE RD                                                                                      COMMERCE TOWNSHIP   MI   48382‐3305
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Name                              Address1                             Address2                          Address3           Address4                City              State Zip
SCRASE, MATTHEW D                 6900 WESTAWAY DR                                                                                                  TROY               MI 48085‐1550
SCRASE, REBECCA                   10769 CLIFFVIEW DR                                                                                                SOUTH LYON         MI 48178‐9292
SCRASE, RITA A.                   753 ELMWOOD DR                                                                                                    FENTON             MI 48430‐1474
SCRASE, TODD                      5449 MEADOWCREST DR                                                                                               FLINT              MI 48532‐4042
SCRASE, WILLIAM T                 10769 CLIFFVIEW DR                                                                                                SOUTH LYON         MI 48178‐9292
SCRATCH, MORLEY                   168 COUNTY ROAD 34 EAST                                                                   COTTAM ONTARIO N0R1B0
                                                                                                                            CANADA
SCREAMIN' MEEMEES GENTLEMAN'S     PO BOX 1840                                                                                                       JANESVILLE        WI 53547‐1840
SCREEN ACTORS GUILD INC           ATTN: CORPORATE OFFICER/AUTHORIZED   300 MADISON AVE, 12TH FLOOR                                                  NEW YORK          NY 10017
                                  AGENT
SCREEN ACTORS GUILD INC           300 MADISON AVE                      12TH FL                                                                      NEW YORK          NY   10017
SCREEN ACTORS GUILD INC.          5757 WILSHIRE BLVD.                                                                                               LOS ANGELES       CA   90036
SCREEN ACTORS GUILD PRODUCERS     PENSION & HEALTH PLANS               3601 W OLIVE AVE STE 300                                                     BURBANK           CA   91505‐4682
SCREEN ACTORS GUILD, INC.         ANA‐AAAA JOINT POLICY COMMITTEE ON   ATTN: GENERAL COUNSEL             708 THIRD AVENUE   33RD FLOOR              NEW YORK          NY   10017
                                  BROADCAST TALENT UNION RELATIONS

SCREEN GRAPHICS CO INC            539 N GLENOAKS BLVD STE 307                                                                                       BURBANK           CA   91502‐3213
SCREEN, DECKER L                  6202 GOLDEN LN                                                                                                    WEST BLOOMFIELD   MI   48322‐3271
SCREEN, R A                       100 LYNNRICH DR                                                                                                   THOMASTON         CT   06787‐1031
SCREENVISION                      ADAM RUBIN                           233 N MICHIGAN AVE STE 2460                                                  CHICAGO           IL   60601‐5804
SCREENVISION
SCREENVISION                      TIM BERGEN                           233 N MICHIGAN AVE STE 2460                                                  CHICAGO           IL   60601‐5804
SCREENVISION CINEMA NETWORK LLC   ATTENTION: BRIAN KEYS                1411 BROADWAY, FL 33                                                         NEW YORK          NY   10018
SCREMPOS, JOHN P                  PO BOX 204                                                                                                        MORGAN HILL       CA   95038‐0204
SCRENCI MARIO                     SCRENCI, MARIO                       89 N HADDON AVE                                                              HADDONFIELD       NJ   08033‐2423
SCRETCHEN, SHIRLEY B              3561 RIVER MILL CT                                                                                                ELLENWOOD         GA   30294‐1362
SCREW MACHINE SPECIALTIES         727 23 RD                                                                                                         GRAND JUNCTION    CO   81505‐9685
SCREW MACHINE SPECIALTIES INC     DIV OF WALKER PRODUCTS INC           727 23 ROAD UPDT 3/23/7 AM                                                   GRAND JUNCTION    CO   81505
SCREW YOU
SCREWS, CLOVIS M                  125 MOTON DR                                                                                                      SAGINAW           MI   48601‐1465
SCREWS, JAMES N                   80 W WILDERNESS RD                                                                                                NATCHEZ           MS   39120‐8842
SCREWS, JIMMIE L                  6774 HIGHWAY 242 W                                                                                                LEXA              AR   72355‐8532
SCREWS, JOE L                     9 LEROY RD                                                                                                        PITTSVIEW         AL   36871‐2908
SCREWS, MARION D                  7332 WHISPERING PINES DR                                                                                          SHREVEPORT        LA   71129‐9411
SCREWS, PAUL M                    1663 HILLMAN DR                                                                                                   TROY              MI   48083‐6902
SCRIBA, WAYNE L                   2137 BROKEN HILL RD UNIT 2                                                                                        WAUKESHA          WI   53188‐7518
SCRIBANO, JOHN                    165 PINE VISTA DR                                                                                                 PINEHURST         NC   28374‐9207
SCRIBER, DAVID K                  127 GREENWAY BLVD                                                                                                 CHURCHVILLE       NY   14428‐9209
SCRIBER, KENNETH C                5350 BIRCH ISLAND DR                                                                                              BARRYTON          MI   49305‐8309
SCRIBNER APRIL                    537 EDWARD ST                                                                                                     ALGONAC           MI   48001‐1221
SCRIBNER ASSOC INC                150 E CONNECTICUT AVE                                                                                             SOUTHERN PINES    NC   28387‐5528
SCRIBNER ASSOCIATES INC           150 E CONNECTICUT AVE                                                                                             SOUTHERN PINES    NC   28387‐5528
SCRIBNER HALL & THOMPSON          1875 I ST NW STE 1050                                                                                             WASHINGTON        DC   20006‐5441
SCRIBNER JR, FREDERIC W           77 CAMLEY DR                                                                                                      WATERFORD         MI   48328‐3201
SCRIBNER JR, WILLIAM H            345 TIDD DR                                                                                                       GALION            OH   44833‐1045
SCRIBNER MARK (660525)            COONEY & CONWAY                      120 NORTH LASALLE STREET , 30TH                                              CHICAGO           IL   60602
                                                                       FLOOR
SCRIBNER PLASTICS                 11455 HYDRAULICS DR                                                                                               RANCHO CORDOVA    CA   95742‐6870
SCRIBNER, APRIL                   537 EDWARD ST                                                                                                     ALGONAC           MI   48001‐1221
SCRIBNER, DONALD W                9010 FOREST OAKS RD                                                                                               OWINGS MILLS      MD   21117‐4850
SCRIBNER, EDWARD E                4664 MARBLE HALL RD                                                                                               BALTIMORE         MD   21239‐3937
SCRIBNER, ELAINE M                6465 US 131                                                                                                       FIFE LAKE         MI   49633
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Name                           Address1                       Address2                         Address3   Address4         City           State Zip
SCRIBNER, EVA M                10247 PUFFER RD SW                                                                          FIFE LAKE       MI 49633‐8234
SCRIBNER, GARRY R              1828 S GRANT AVE                                                                            JANESVILLE      WI 53546‐5909
SCRIBNER, GLORIA C             PO BOX 262                                                                                  BAXTER          TN 38544‐0262
SCRIBNER, GLORIA C             P.O BOX 262                                                                                 BAXTER          TN 38544
SCRIBNER, JENNIFER K           360A WHITEWATER DR APT 201                                                                  BOLINGBROOK      IL 60440
SCRIBNER, JENNIFER KELLY       360A WHITEWATER DR APT 201                                                                  BOLINGBROOK      IL 60440
SCRIBNER, JULIE A              3870 LAWLEY AVE                                                                             WATERFORD       MI 48328‐4050
SCRIBNER, JULIE ANN            3870 LAWLEY AVE                                                                             WATERFORD       MI 48328‐4050
SCRIBNER, LARRY D              13233 NEFF RD                                                                               CLIO            MI 48420‐1860
SCRIBNER, LARRY D              4049 E BATH RD                                                                              MORRICE         MI 48857‐9737
SCRIBNER, MARK                 COONEY & CONWAY                120 NORTH LASALLE STREET, 30TH                               CHICAGO          IL 60602
                                                              FLOOR
SCRIBNER, MARY J               1923 STAFFORD AVE SW                                                                        GRAND RAPIDS   MI   49507‐2346
SCRIBNER, PAUL A               3910 10TH ST                                                                                BROOKLYN       MD   21225
SCRIBNER, PAUL A               UNIT 12B                       3924 ROLLING ROAD                                            PIKESVILLE     MD   21208‐2281
SCRIBNER, REUBEN G             1709 MAISONETTE DR                                                                          LANSING        MI   48911‐6018
SCRIBNER, REUBEN GARDNER       1709 MAISONETTE DR                                                                          LANSING        MI   48911‐6018
SCRIBNER, ROBERT E             804 OWEGO DR                                                                                PONTIAC        MI   48341‐1160
SCRIBNER, SIDNEY E             4649 IRONWOOD ST                                                                            SAGINAW        MI   48638‐4500
SCRIBNER, SIDNEY E             1224 CT ST                                                                                  SAGINAW        MI   48602
SCRIBNER, STANLEY E            70 E HOPKINS AVE                                                                            PONTIAC        MI   48340‐1931
SCRIBNER, STANLEY EUGENE       70 E HOPKINS AVE                                                                            PONTIAC        MI   48340‐1931
SCRIBNER, T F                  415 APPLE RIDGE RD #107                                                                     SALEM          OH   44460
SCRIBNER, WILLIAM F            29520 HATHAWAY ST                                                                           LIVONIA        MI   48150‐3087
SCRIBNER, WILMER W             4754 14TH ST E                                                                              BRADENTON      FL   34203‐2624
SCRICCO, CARMEN J              1 LITTLE FALLS CT                                                                           BARNEGAT       NJ   08005‐5607
SCRIMGEOUR SALLY               5845 NW 24TH AVE APT 1102                                                                   BOCA RATON     FL   33496‐2859
SCRIMGER, GEORGE I             140 S MAPLELEAF RD                                                                          LAPEER         MI   48446‐3512
SCRIMGER, JAMES C              8864 JE NE BE DR NE                                                                         ROCKFORD       MI   49341‐8313
SCRIMGER, JAMES C              2280 ROLLING MEADOW DR NE                                                                   BELMONT        MI   49306‐9319
SCRIMGER, JAMES M              6054 TREE LINE DR                                                                           GRAND BLANC    MI   48439‐9790
SCRIMGER, JOHN R               5343 IRISH RD                                                                               GRAND BLANC    MI   48439‐9738
SCRIMGER, RICHARD L            2370 N LAPEER RD                                                                            LAPEER         MI   48446‐8619
SCRIMGER, SARAH C              2370 N LAPEER RD                                                                            LAPEER         MI   48446‐8619
SCRIMIZZI, MATTHEW M           975 HAVERHILL DR                                                                            HAMILTON       OH   45013
SCRIMIZZI, MATTHEW M           410 RIDGELAWN AVE                                                                           HAMILTON       OH   45013‐3021
SCRIMPSHER, DWAYNE A           5069 JOYCE DR                                                                               SAGINAW        MI   48603‐3776
SCRIMPSHIRE, TIMMY             PORTER & MALOUF PA             4670 MCWILLIE DR                                             JACKSON        MS   39206‐5621
SCRINE, RUSSELL E              6811 LIMERICK                                                                               ONSTED         MI   49265‐9625
SCRIPKO, BETTY ANNE            1 KITMARY AVE                                                                               MIDDLETOWN     NJ   07748‐1518
SCRIPKO, DENNIS J              1 KITMARY AVE                                                                               MIDDLETOWN     NJ   07748‐1518
SCRIPP, LAWRENCE C             7535 DUBONNET WAY                                                                           INDIANAPOLIS   IN   46278
SCRIPP, WALTER A               700 SOUTH KINGS AVENUE                                                                      BRANDON        FL   33511‐5925
SCRIPPS COMMUNICATIONS         9721 SHERRILL BLVD                                                                          KNOXVILLE      TN   37932‐3330
SCRIPPS HEALTH FOUNDATION      PO BOX 2669                                                                                 LA JOLLA       CA   92038‐2669
SCRIPPS MEMORIAL HOSPITALS     50354 PHILO                                                                                 LOS ANGELES    CA   90074‐54
SCRIPPS NETWORKS INTERACTIVE   STEVEN GIGLIOTTI               9721 SHERRILL BLVD                                           KNOXVILLE      TN   37932‐3330
SCRIPPS NETWORKS, LLC          1180 AVENUE OF THE AMERICAS                                                                 NEW YORK       NY   10036
SCRIPT, DOLORES                887 W FERRY ST                                                                              BUFFALO        NY   14209‐1409
SCRIPTER JR, RODNEY B          PO BOX 527                                                                                  HASLETT        MI   48840‐0527
SCRIPTER, APRIL D              2423 SOWER BLVD                                                                             OKEMOS         MI   48864‐3248
SCRIPTER, ARNOLD J             1923 EDEN ROAD                                                                              MASON          MI   48854‐9255
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Name                            Address1                        Address2                      Address3   Address4         City               State Zip
SCRIPTER, CHERYL A              405 8TH ST                                                                                STURGIS             SD 57785‐1110
SCRIPTER, EDGAR C               226 S OSBORNE RD                                                                          DANSVILLE           MI 48819‐9710
SCRIPTER, HELEN M               8147 N CLIO RD                                                                            MOUNT MORRIS        MI 48458
SCRIPTER, JEAN E                307 SCIOTA ST                                                                             LAINGSBURG          MI 48848‐9735
SCRIPTER, LAWRENCE G            7260 S DURAND RD                                                                          DURAND              MI 48429‐9401
SCRIPTER, LAWRENCE GALE         7260 S DURAND RD                                                                          DURAND              MI 48429‐9401
SCRIPTER, MANUEL L              10487 GRAND BLANC RD                                                                      GAINES              MI 48436‐9770
SCRIPTER, ROBERT L              8309 E NEWBURG RD                                                                         DURAND              MI 48429‐1569
SCRIPTER, ROBERT LEWIS          8309 E NEWBURG RD                                                                         DURAND              MI 48429‐1569
SCRIPTER, RODNEY B              8502 W GRAND RIVER RD                                                                     LAINGSBURG          MI 48848‐8748
SCRIPTER, RONALD E              10525 VERNON RD                                                                           BANCROFT            MI 48414‐9409
SCRIPTER, RONALD EDWARD         10525 VERNON RD                                                                           BANCROFT            MI 48414‐9409
SCRIPTER, VICTOR J              513 N MERCER ST                                                                           DURAND              MI 48429‐1339
SCRIPTER‐FREUND, BOBBIE J       1654 ALGOMA DR                                                                            OKEMOS              MI 48864‐4059
SCRIPTER‐FREUND, BOBBIE JO      1654 ALGOMA DR                                                                            OKEMOS              MI 48864‐4059
SCRIPTURE, CLIFTON J            49251 SCHOENHERR ROAD                                                                     SHELBY TWP          MI 48315‐3860
SCRITCHFIELD CAROLYN            SCRITCHFIELD, CAROLYN           1910 W MAY                                                WICHITA             KS 67213
SCRITCHFIELD JAMES H (429776)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                STREET, SUITE 600
SCRITCHFIELD, CAROLYN           1910 W MAY ST                                                                             WICHITA            KS 67213‐3212
SCRITCHFIELD, JAMES H           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                STREET, SUITE 600
SCRITCHFIELD, PATTY J           410 CLEVELAND AVE APT 316                                                                 FAIRMONT           WV   26554
SCRITCHFIELD, ROBERT T          PO BOX 229                                                                                MC MINNVILLE       TN   37111‐0229
SCRIVANI, ANGELA A              160 RAINTREE PKWY                                                                         TONAWANDA          NY   14150‐2605
SCRIVANI, DAY A                 3061 BROWN HILL RD                                                                        MACHIAS            NY   14101
SCRIVANI, HORTENSIA             20342 RUNNING SPR LN                                                                      HUNTINGTN BCH      CA   92646
SCRIVANI, MARIO E               2561 NICOLE DR                                                                            NIAGARA FALLS      NY   14304
SCRIVANICH, STEVEN N            480 CENTRAL BLVD                                                                          FORT LEE           NJ   07024‐1743
SCRIVANO, JOSEPH                5627 ENSIGN AVE                                                                           NORTH HOLLYWOOD    CA   91601‐1909
SCRIVEN SHIRLEY                 1230 PRAHSER AVENUE                                                                       STOCKTON           CA   95209‐4365
SCRIVEN, ROBERT E               25219 BRANCHASTER RD                                                                      FARMINGTON HILLS   MI   48336‐1633
SCRIVEN, SHARON A               25219 BRANCHASTER RD                                                                      FARMINGTON HILLS   MI   48336‐1633
SCRIVEN, WILLIAM J              4929 S HICKORY ST #83                                                                     BEAVERTON          MI   48612
SCRIVENER, AMOS F               7500 HAVILAND DR                                                                          LINDEN             MI   48451
SCRIVENER, PAUL D               1801 TENDOY DR                                                                            BOISE              ID   83705‐4232
SCRIVENER, TERRY L              7141 SHARP RD                                                                             SWARTZ CREEK       MI   48473‐9429
SCRIVENS, ALBERTA               5238 WEIGOLD COURT                                                                        TROTWOOD           OH   45426
SCRIVENS, ALETHA M              2925 KNOLL RIDGE DR #D                                                                    DAYTON             OH   45449‐3437
SCRIVENS, ALETHA M              2925 KNOLLRIDGE DR APT D                                                                  DAYTON             OH   45449‐3437
SCRIVENS, BRENDA J              828 MOUNT CLAIR AVE                                                                       DAYTON             OH   45408‐1538
SCRIVENS, GENUS R               5356 EASTPORT AVE                                                                         DAYTON             OH   45427
SCRIVENS, JOE L                 5238 WEIGOLD COURT                                                                        TROTWOOD           OH   45426‐5426
SCRIVENS, JOE L                 5238 WEIGOLD CT                                                                           TROTWOOD           OH   45426‐1955
SCRIVENS, JOHN                  4260 TREE TOPS DR                                                                         PT CHARLOTTE       FL   33953‐5900
SCRIVENS, JOHN                  9203 PINE WALK PASS                                                                       LINDEN             MI   48451
SCRIVENS, LARRY R               13 JONATHAN DR                                                                            ROCHESTER          NY   14612‐3613
SCRIVENS, VALERIE D             9305 EASTBROOK DRIVE                                                                      MIAMISBURG         OH   45342‐7863
SCRIVER, JR.,DONALD L           909 GREGORY DR                                                                            LAPEER             MI   48446‐3330
SCRIVNER, DON E                 12599 BONE CAMP RD                                                                        NORTHPORT          AL   35475‐4320
SCRIVNER, JERRY N               PO BOX 443                                                                                WASHINGTON         OK   73093‐0443
SCRIVNER, LUCILLE D             12066 N 3RD ST                                                                            PARKER             CO   80134‐9650
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Name                          Address1                               Address2                        Address3   Address4         City                State Zip
SCRIVNER, SHIRLEY A           6505 CURTMAN RD                                                                                    RUSSELLVILLE         MO 65074‐2361
SCRIVNER, TERESA              345 CYPRESS LN                                                                                     PALM SPRINGS         FL 33461‐1505
SCRIVNER, WILLIAM E           5016 SWEETWATER DR                                                                                 BENTON               LA 71006‐3478
SCRIVNER, WILLIAM ELDEN       5016 SWEETWATER DR                                                                                 BENTON               LA 71006‐3478
SCROBY, ARMAND A              29998 MCINTYRE ST                                                                                  LIVONIA              MI 48150‐3027
SCROFANO SEBASTIAN (447591)   BEVAN & ASSOCIATES                     10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD           OH 44067
                                                                     PROFESSIONAL BLDG
SCROGER GERALD                1087 HILTON PARMA RD                                                                               HILTON              NY    14468‐9328
SCROGGIE, JOHN I              28676 ADLER DR                                                                                     WARREN              MI    48088‐4285
SCROGGIE, STEPHEN J           1305 SW 112TH PL                                                                                   OKLAHOMA CITY       OK    73170
SCROGGIN KEVIN                2404 N WOODLAND ESTATES DR                                                                         MIDLAND             MI    48642‐8818
SCROGGIN, GAYLON A            15 OAK TREE CIR                                                                                    N LITTLE ROCK       AR    72116‐7005
SCROGGIN, KEVIN               2404 N WOODLAND ESTATES DR                                                                         MIDLAND             MI    48642‐8818
SCROGGIN, KEVIN W             2404 N WOODLAND ESTATES DR                                                                         MIDLAND             MI    48642‐8818
SCROGGIN, LOWELL F            7700 E EARHART RD                                                                                  RICH HILL           MO    64779‐9135
SCROGGIN, LOWELL F            RT 1 BOX 72                                                                                        RICH HILL           MO    64779‐9204
SCROGGIN, PATRICK D           521 NE TOPAZ PL                                                                                    LEES SUMMIT         MO    64086‐7021
SCROGGINS JR, JESSE J         1077 EASTWAY DR APT 11                                                                             YOUNGSTOWN          OH    44505‐4679
SCROGGINS AUDREY              SCROGGINS, AUDREY                      3610 BRIAN LANE                                             HAZEL CREST         IL    60429‐2412
SCROGGINS JERRON              SCROGGINS, JEAN                        4929 WILSHIRE BOULEVARD                                     LOS ANGELES         CA    90010
SCROGGINS JERRON              SCROGGINS, JERRON                      4929 WILSHIRE BOULEVARD                                     LOS ANGELES         CA    90010
SCROGGINS JESSE (447592)      BEVAN & ASSOCIATES                     10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH    44067
                                                                     PROFESSIONAL BLDG
SCROGGINS JOE H (419455)      SIMMONS LAW FIRM
SCROGGINS JR, JESSE J         1077 EASTWAY DR APT 11                                                                             YOUNGSTOWN          OH    44505‐4679
SCROGGINS NORVAL (452655)     SIMMONS FIRM                           PO BOX 559                                                  WOOD RIVER          IL    62095‐0559
SCROGGINS, ALVERNESS          4009 RACE ST                                                                                       FLINT               MI    48504‐2237
SCROGGINS, ARTIE M            9632 HIRAM CT                                                                                      ORRICK              MO    64077‐8119
SCROGGINS, AUDREY             3610 BRIAR LN                                                                                      HAZEL CREST         IL    60429‐2412
SCROGGINS, AUDREY             3610 BRIAN LANE                                                                                    HAZEL CREST         IL    60429‐2412
SCROGGINS, BERYL G            500 N LEXINGTON SPRINGMILL RD APT 22                                                               MANSFIELD           OH    44906‐1253

SCROGGINS, BERYL GARUIS       500 N LEXINGTON SPRINGMILL RD APT 22                                                               MANSFIELD           OH 44906‐1253

SCROGGINS, BOBBIE D           7408 N VICKIE DR                                                                                   MUNCIE              IN    47303‐9768
SCROGGINS, CLAUDIE L          29555 LAUREL WOODS DR                  APT 202                                                     SOUTHFIELD          MI    48034‐4663
SCROGGINS, CLAUDIE L          29555 LAUREL WOODS DR APT 202                                                                      SOUTHFIELD          MI    48034‐4663
SCROGGINS, CONWAY             3520 HIALEAH LN                                                                                    SAGINAW             MI    48601‐5609
SCROGGINS, CURTIS WAYNE       C/O EDWARD O MOODY PA                  801 WEST FOURTH STREET                                      LITTLE ROCK         AR    72201
SCROGGINS, CURTIS WAYNE       MOODY EDWARD O                         801 W 4TH ST                                                LITTLE ROCK         AR    72201‐2107
SCROGGINS, DAVID H            3102 GREENLY ST                                                                                    FLINT               MI    48503‐5703
SCROGGINS, ERIC CHRISTOPHER   4426 BROADWAY ST                                                                                   INDIANAPOLIS        IN    46205‐1848
SCROGGINS, HOPE B             2102 E HIGHLAND AVE                                                                                MUNCIE              IN    47303‐3324
SCROGGINS, JACK M             1222 N POMONA RD                                                                                   HAMPTON             GA    30228‐2555
SCROGGINS, JAMES B            1075 BEAR CREEK PIKE                                                                               COLUMBIA            TN    38401‐6732
SCROGGINS, JAN M              611 PATRICK DR                                                                                     EXCELSIOR SPRINGS   MO    64024‐7306
SCROGGINS, JANICE S           165 SOUTH SCOTT STREET                                                                             ADRIAN              MI    49221‐2532
SCROGGINS, JEAN               COCHRAN FIRM                           4929 WILSHIRE BOULEVARD                                     LOS ANGELES         CA    90010
SCROGGINS, JERRON             COCHRAN FIRM                           4929 WILSHIRE BOULEVARD                                     LOS ANGELES         CA    90010
SCROGGINS, JERRON
SCROGGINS, JERRY M            2122 W. 2ND ST.                        APT 333D                                                    MARION               IN   46952
SCROGGINS, JOE E              SIMMONS LAW FIRM                       PO BOX 521                                                  EAST ALTON           IL   62024‐0519
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Name                    Address1                            Address2                        Address3         Address4                City               State Zip
SCROGGINS, JOHN P       349 WESTVIEW DR                                                                                              HAMPTON             VA 23666‐5583
SCROGGINS, LOIS A       1075 BEAR CREEK PIKE                                                                                         COLUMBIA            TN 38401‐6732
SCROGGINS, LOU ELLEN    1343 MINTER ROAD                                                                                             GRAIN VALLEY        MO 64029
SCROGGINS, MARTHA S     2400 E HIGHLAND AVE                                                                                          MUNCIE              IN 47303‐3330
SCROGGINS, MARTHA SUE   2400 E HIGHLAND AVE                                                                                          MUNCIE              IN 47303‐3330
SCROGGINS, MILDRED V    1713 TOWERY ST                                                                                               MALDEN              MO 63863‐1240
SCROGGINS, MILDRED V    1713 TOWERY DRIVE                                                                                            MALDEN              MO 63863‐1240
SCROGGINS, NORMAN L.    BOONE ALEXANDRA                     205 LINDA DR                                                             DAINGERFIELD        TX 75638‐2107
SCROGGINS, NORVAL       SIMMONS FIRM                        PO BOX 559                                                               WOOD RIVER           IL 62095‐0559
SCROGGINS, PEGGY JEAN   9431 PENINSULA DR                                                                                            MECOSTA             MI 49332‐9736
SCROGGINS, R            199 HIGHWAY 46                                                                                               LEOLA               AR 72084‐9014
SCROGGINS, RICHARD      34702 BIRCHWOOD ST                                                                                           WESTLAND            MI 48186‐4387
SCROGGINS, STEVE R      1408 S WILLOW AVE                                                                                            INDEPENDENCE        MO 64052‐2252
SCROGGINS, THELMA R     PO BOX 103                                                                                                   PONCA               AR 72670‐0103
SCROGGINS, VIRGIL P     HC 33 BOX 5                                                                                                  COMPTON             AR 72624‐9628
SCROGGS, CHARLES A      3593 MILL RD                                                                                                 GAINESVILLE         GA 30504‐5519
SCROGGS, CLAUDINE B     3766 HARBOUR LANDING DR             C/O TERRI S VINTON                                                       GAINESVILLE         GA 30506‐1029
SCROGGS, JIMMY R        678 W PREDA DR                                                                                               WATERFORD           MI 48328‐2030
SCROGGS, JOHNNIE R      4189 TERRACE DR                                                                                              ACWORTH             GA 30101‐5057
SCROGGY, CHARLES E      218 W BOGART RD                                                                                              SANDUSKY            OH 44870‐5801
SCROGHAM, JOHN H        583 S 1ST ST                                                                                                 WILKINSON           IN 46186‐9704
SCROGIN PATRICK         JEAN BAPTISTE, SARADGENE            PO BOX 1317                                                              INDIANAPOLIS        IN 46206‐1317
SCROGIN PATRICK         SCROGIN, PATRICK                    610 YORK RD STE 200                                                      JENKINTOWN          PA 19046‐2867
SCROGIN PATRICK         SCROGIN, PATRICK                    PO BOX 1317                                                              INDIANAPOLIS        IN 46206‐1317
SCROGIN PATRICK         SCROGIN, STEPHANIE                  PO BOX 1317                                                              INDIANAPOLIS        IN 46206‐1317
SCROGIN PATRICK         SCROGIN, PATRICK                    6116 NORTH CENTRAL EXPRESSWAY                                            DALLAS              TX 75206
                                                            SUITE 720
SCROGIN PATRICK         SCROGIN, STEPHANIE                  412 MISSOURI AVE                                                         EAST SAINT LOUIS    IL   62201‐3016
SCROGIN PATRICK         JEAN BAPTISTE, SARADGENE            P.O. BOX 1317 , 2859 NORTH                                               INDIANAPOLIS        IN   46206‐1317
                                                            MERIDIAN STREET
SCROGIN PATRICK         SCROGIN, PATRICK                    412 MISSOURI AVENUE                                                      EAST ST LOUIS       IL   62201
SCROGIN PATRICK         SCROGIN, PATRICK                    610 OLD YORK ROAD ‐ SUITE 200                                            JENKINTOWN          PA   19046
SCROGIN, PATRICK        KETTLES LAW FIRM                    6116 N CENTRAL EXPY STE 720                                              DALLAS              TX   75206‐5239
SCROGIN, PATRICK        SCHOEN WALTON TELKEN & FOSTER LLC   412 MISSOURI AVE                                                         EAST SAINT LOUIS    IL   62201‐3016

SCROGIN, PATRICK        GENTER RICHARD E LAW OFFICES OF     610 YORK RD STE 200                                                      JENKINTOWN          PA   19046‐2867
SCROGIN, PATRICK        WILSON KEHOE & WININGHAM            PO BOX 1317                                                              INDIANAPOLIS        IN   46206‐1317
SCROGIN, STEPHANIE      WILSON KEHOE & WININGHAM            PO BOX 1317                                                              INDIANAPOLIS        IN   46206‐1317
SCROGIN, STEPHANIE      SCHOEN WALTON TELKEN & FOSTER LLC   412 MISSOURI AVE                                                         EAST SAINT LOUIS    IL   62201‐3016

SCROGIO LTD             C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT            2 RAFFLES LINK   MARINA BAYFRONT
                        LIMITED                                                                              SINGAPORE 039392
SCROSIA, MILDRED        13 LOTZ HILL RD                                                                                              CLIFTON            NJ    07013‐2312
SCROSIA, MILDRED        13 LOTZ HILL ROAD                                                                                            CLIFTON            NJ    07013‐2312
SCROUGHAMS, CHARLES M   5812 STATE ROAD 42                                                                                           POLAND             IN    47868‐7416
SCRUB BOYS CAR WASH     1731 BROADWAY                                                                                                SACRAMENTO         CA    95818‐2319
SCRUBBEEZ               601 ALMA ST                                                                          PORT PERRY ON L9L 1C7
                                                                                                             CANADA
SCRUGGS ALICE           3739 RIVARD ST                                                                                               DETROIT            MI 48207‐4740
SCRUGGS BRENDA          7779 HIGHWAY 1                                                                                               SHREVEPORT         LA 71107‐8148
SCRUGGS BURNELL         7311 S EBERHART AVE                                                                                          CHICAGO            IL 60619‐1714
SCRUGGS FARM SUPPLY
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Name                         Address1                      Address2                      Address3   Address4         City                State Zip
SCRUGGS JOHN A (429777)      GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                           STREET, SUITE 600
SCRUGGS JR, FORREST M        26220 H HWY                                                                             EXCELSIOR SPG       MO   64024‐8310
SCRUGGS JR, JAMES B          150 KAPPLINGER DR             P O BOX 351                                               FARWELL             MI   48622‐9405
SCRUGGS JR, JAMES D          9415 ARTESIAN ST                                                                        DETROIT             MI   48228‐1705
SCRUGGS JR, JIMMY G          612 GREENWOOD DR                                                                        MIDWEST CITY        OK   73110‐1632
SCRUGGS JR, JIMMY GERALD     612 GREENWOOD DR                                                                        MIDWEST CITY        OK   73110‐1632
SCRUGGS ROBERT O (346612)    GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510
                                                           STREET, SUITE 600
SCRUGGS SR., SAMUEL D        237 MAPLE WREATH CT                                                                     ABINGDON            MD   21009‐2776
SCRUGGS WILSON, CAROLYN S.   86 NORTHBOUND GRATIOT AVE                                                               MOUNT CLEMENS       MI   48043‐2393
SCRUGGS, ALEX V              6230 #BRIDGEACRES                                                                       CINCINNATI          OH   45237
SCRUGGS, ALICE               3739 RIVARD ST                                                                          DETROIT             MI   48207‐4740
SCRUGGS, ANNETTE C           3136 N KEYSTONE AVE                                                                     INDIANAPOLIS        IN   46218‐2026
SCRUGGS, BARBARA A           5329 EARL DR                                                                            WARREN              MI   48092‐3165
SCRUGGS, CAROLYN A           2919 MCDONALD DR SW                                                                     DECATUR             AL   35603‐4529
SCRUGGS, CHARLES E           828 KING ST                                                                             MANSFIELD           OH   44903‐7123
SCRUGGS, CHRIS L             501 CREST RIDGE DR                                                                      LAKESIDE            TX   76108‐9419
SCRUGGS, CHRIS LEE           501 CREST RIDGE DR                                                                      LAKESIDE            TX   76108‐9419
SCRUGGS, CHRISTINE M         PO BOX 14557                                                                            SAGINAW             MI   48601‐0557
SCRUGGS, CLEVELAND           3115 RUTH ST                                                                            ROCKFORD            IL   61103‐3050
SCRUGGS, CLEVELAND D         16366 PARKLAWN AVE                                                                      CLEVELAND           OH   44130‐5327
SCRUGGS, CLIFFORD D          6280 COVERED WAGONS TRL                                                                 FLINT               MI   48532‐2113
SCRUGGS, CRAIG M             46033 FOX RUN DR                                                                        MACOMB              MI   48044‐3449
SCRUGGS, DANNY R             14618 STATE ROUTE 637                                                                   PAULDING            OH   45879‐9022
SCRUGGS, DWIGHT L            8945 MANOR ST                                                                           DETROIT             MI   48204‐2693
SCRUGGS, DYRAL E             5801 N OAKLEY AVE                                                                       KANSAS CITY         MO   64119‐2469
SCRUGGS, ELSIE V             8911 MANOR                                                                              DETROIT             MI   48204‐2693
SCRUGGS, ELSIE V             8911 MANOR ST                                                                           DETROIT             MI   48204‐2693
SCRUGGS, ESSIE P             3216 ILLINOIS AVE                                                                       FORT WORTH          TX   76110‐4517
SCRUGGS, EVERETT             3430 BREEZE KNOLL DR                                                                    YOUNGSTOWN          OH   44505‐1976
SCRUGGS, FLORIDA S           1221 DEERWOOD DR                                                                        DALLAS              TX   75232‐3822
SCRUGGS, FRANK B             910 W TYRRELL RD                                                                        MORRICE             MI   48857‐9770
SCRUGGS, GARY B              7256 BUCKS FORD DR                                                                      RIVERVIEW           FL   33578‐8378
SCRUGGS, GENTEE H            291 LELAND TER NE                                                                       ATLANTA             GA   30317‐1408
SCRUGGS, GREGORY             1201 RUNNYMEAD AVE SW                                                                   DECATUR             AL   35601‐3649
SCRUGGS, HARRIET             1117 MOUNT VERNON BLVD                                                                  CLEVELAND HEIGHTS   OH   44112‐3659
SCRUGGS, HARRIET             1117 MT VERNON BLVD                                                                     CLEVELAND HEIGHTS   OH   44112‐3659
SCRUGGS, HORACE              107 STONEBEND CIR                                                                       HARVEST             AL   35749
SCRUGGS, JILL A              15 SUMMIT CT                                                                            MANSFIELD           OH   44906‐3735
SCRUGGS, JIM                 PORTER & MALOUF PA            4670 MCWILLIE DR                                          JACKSON             MS   39206‐5621
SCRUGGS, JOHN                PORTER & MALOUF PA            4670 MCWILLIE DR                                          JACKSON             MS   39206‐5621
SCRUGGS, JOHN A              GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510
                                                           STREET, SUITE 600
SCRUGGS, KAREN E             6280 COVERED WAGONS TRL                                                                 FLINT               MI   48532‐2113
SCRUGGS, KATHI Y             7369 W FARRAND RD                                                                       CLIO                MI   48420‐9451
SCRUGGS, KATHLEEN A          46033 FOX RUN DR                                                                        MACOMB              MI   48044‐3449
SCRUGGS, KENNETH L           4508 CLARENCE AVE                                                                       SAINT LOUIS         MO   63115‐3110
SCRUGGS, LEWIS V             24655 THORNDYKE ST                                                                      SOUTHFIELD          MI   48033‐2925
SCRUGGS, LINCOLN A           7369 W FARRAND RD                                                                       CLIO                MI   48420‐9451
SCRUGGS, LINCOLN A           7304 EAST BRAMBLE AVENUE                                                                MESA                AZ   85208‐1140
SCRUGGS, LINCOLN ANDRE       7369 W FARRAND RD                                                                       CLIO                MI   48420‐9451
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Name                        Address1                           Address2                      Address3   Address4         City               State Zip
SCRUGGS, LUTELIA M          3908 N RICKEY DR                                                                             OKLAHOMA CITY       OK 73111‐5211
SCRUGGS, MARY W             2329 E 9TH ST                                                                                ANDERSON            IN 46012‐4308
SCRUGGS, MAURICE L          4511 SPRINGMONT DR SE                                                                        KENTWOOD            MI 49512‐5377
SCRUGGS, MELANIE M          89 COLONIAL AVE                                                                              KENMORE             NY 14217‐1103
SCRUGGS, MELVIN             2710 DUPONT ST                                                                               FLINT               MI 48504‐2822
SCRUGGS, MELVIN B           608 E OCONEE ST                                                                              FITZGERALD          GA 31750‐2534
SCRUGGS, NANCY              7304 E BRAMBLE AVE                                                                           MESA                AZ 85208
SCRUGGS, NATHANIEL W        7779 HIGHWAY 1                                                                               SHREVEPORT          LA 71107
SCRUGGS, NATHANIEL WAYNE    1604 TOP BLUFF LN                                                                            SHREVEPORT          LA 71109‐1800
SCRUGGS, RAYMOND L          155 DAILEY MILL RD                                                                           MCDONOUGH           GA 30253‐8223
SCRUGGS, REBECCA L          5483 SEABREEZE LN                                                                            STERLING HEIGHTS    MI 48310‐7452
SCRUGGS, RICHARD A          4675 MEYER RD                                                                                N TONAWANDA         NY 14120‐9578
SCRUGGS, ROBERT L           360 JOSLYN AVE                                                                               PONTIAC             MI 48342‐1517
SCRUGGS, ROBERT O           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                               STREET, SUITE 600
SCRUGGS, ROBERT W           528 HOMESREST DR                                                                             BUFFALO            NY    14226‐1248
SCRUGGS, ROBERT WILLIAM     528 HOMECREST DR                                                                             BUFFALO            NY    14226‐1248
SCRUGGS, RONALD L           27270 TIN TOP SCHOOL RD                                                                      MECHANICSVILLE     MD    20659
SCRUGGS, SHIRLEY            PO BOX 431957                                                                                PONTIAC            MI    48343‐1957
SCRUGGS, STEPHANIE J        621 W WARREN AVE                                                                             YOUNGSTOWN         OH    44511
SCRUGGS, TAWANNA L          4126 RICHFIELD LN                                                                            FORT WAYNE         IN    46816‐4129
SCRUGGS, TERRY W            15382 YORK LN                                                                                ATHENS             AL    35611‐7072
SCRUGGS, THOMAS E           7779 HIGHWAY 1                                                                               SHREVEPORT         LA    71107‐8148
SCRUGGS, THOMAS EDWARD      7779 HIGHWAY 1                                                                               SHREVEPORT         LA    71107‐8148
SCRUGGS, VICKY S            501 CREST RIDGE DR                                                                           LAKESIDE           TX    76108‐9419
SCRUGGS, VIVIAN M           3741 EAST MARKET                   APT 103                                                   WARREN             OH    44484‐4722
SCRUGGS, VIVIAN M           3741 E MARKET ST APT 103                                                                     WARREN             OH    44484‐4726
SCRUGGS, WALTER             16229 STEEL ST                                                                               DETROIT            MI    48235‐4213
SCRUGGS, WALTER             1098 WILLIAMSON CIR                                                                          PONTIAC            MI    48340‐3314
SCRUGGS, WANDA J            5000 STRAWBRIDGE TER               APT 106                                                   SANFORD            FL    32771
SCRUGGS, YVONNE             1233 E WILLIAMS ST                                                                           DANVILLE            IL   61832‐4139
SCRUSE, CLARENCE M          156 CEDAR HEIGHTS RD                                                                         EUFAULA            AL    36027‐3708
SCRUTCHEN, ETHEL P          53103 SCENIC DR                                                                              SHELBY TWP         MI    48316‐2152
SCS AUTOMOTIVE LLC                                             3756 HAWKINS ST NE                                                           NM    87109
SCS ENGINEERS PC            140 ROUTE 303                                                                                VALLEY COTTAGE     NY    10989
SCS FRIGETTE                SPECIFIC CRUISE SYSTEMS INC        1200 W RISINGER RD                                        FORT WORTH         TX    76134‐5670
SCS PHYSICIANS PC           1100 JOHNSON FERRY RD NE STE 107                                                             ATLANTA            GA    30342‐1733
SCS/FORT WORTH              1200 W RISINGER RD                                                                           FORT WORTH         TX    76134‐5670
SCS/FRIGETTE                BOBBY PANELL                       PO BOX 40557                                              MURRAY             KY    42071
SCSAVNICKI, CHAD D          7631 KINGS RUN RD                                                                            SYLVANIA           OH    43560‐1830
SCSAVNICKI, DOUGLAS J       3251 EDGEVALE DR                                                                             LAMBERTVILLE       MI    48144‐9357
SCSSMA INC                  DEPT 9280                                                                                    LOS ANGELES        CA    90084‐0001
SCT SYSTEMS INC             2049 NASHVILLE HWY                                                                           COLUMBIA           TN    38401‐7225
SCT SYSTEMS INC.            2049 NASHVILLE HWY                                                                           COLUMBIA           TN    38401‐7225
SCT/COLUMBIA                2049 NASHVILLE HWY                                                                           COLUMBIA           TN    38401‐7225
SCUBA CENTERS OF MICHIGAN   3280 FORT ST                                                                                 LINCOLN PARK       MI    48146‐3633
SCUBA SUPPLY                139 DONELSON PIKE                                                                            NASHVILLE          TN    37214‐2901
SCUCCHI, BARBARA A          81 PEBBLE BEACH RD                                                                           ASHVILLE           AL    35953‐4831
SCUCCI, ANGELO A            16 IRVINGTON RD                                                                              PARSIPPANY         NJ    07054‐3927
SCUCCI, BENNY J             2244 HIGH DESERT CIR NE                                                                      RIO RANCHO         NM    87144‐8077
SCUDDAY, JIMMY L            3240 TRINITY RD                                                                              JEFFERSON          TX    75657‐8501
SCUDDAY, MARY ELLEN         1352 SAND COUNTRY RD                                                                         JEFFERSON          TX    75657‐8560
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Name                        Address1                           Address2                      Address3   Address4         City               State Zip
SCUDDER DEVRIES             310 CUMBERLAND AVE NE                                                                        LOWELL              MI 49331‐9007
SCUDDER FLOYD M (472162)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                               STREET, SUITE 600
SCUDDER, CRAIG
SCUDDER, FLOYD M            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                               STREET, SUITE 600
SCUDDER, GERALDINE          5812 AUSTRALIAN PINE DR                                                                      TAMARAC            FL   33319‐3002
SCUDDER, JESSICA            620 PINE ST                                                                                  DIXON              IL   61021‐4127
SCUDDER, JESSIE L           239 ADAMS ST                                                                                 PENDLETON          IN   46064‐1111
SCUDDER, MARK               467 MARTIN ST                                                                                DIXON              IL   61021‐1849
SCUDDER, PAUL D             5812 AUSTRALIAN PINE DR                                                                      TAMARAC            FL   33319‐3002
SCUDDER, PHYLLIS I          7857 CHASE MEADOWS DRIVE WEST                                                                JACKSONVILLE       FL   32256‐9128
SCUDDER, ROSALIE H          5622 PLYMOUTH ROAD                                                                           BALTIMORE          MD   21214‐1530
SCUDELLA CHARLES (459322)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                               STREET, SUITE 600
SCUDELLA, CHARLES           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                               STREET, SUITE 600
SCUDERA, LINDA              9713 SW 13TH ST                                                                              PEMBROKE PINES     FL   33025
SCUDERI, MARIAN T           29 LINCOLN ST                                                                                NEW ROCHELLE       NY   10801‐4336
SCUDIERI, AUSTIN D          411 CHERRY HILL LN                                                                           CORTLAND           OH   44410‐1104
SCUDIERI, COSMO             WEITZ & LUXENBERG                  180 MAIDEN LANE                                           NEW YORK           NY   10038
SCUDIERI, GINA              7847 RADCLIFFE CIRCLE                                                                        PORT RICHEY        FL   34668
SCUGLIA, FRANK              3206 MC KITRICK                                                                              MELVINDALE         MI   48122
SCUKANEC, MARY R            3113 PENCOMBE PL                                                                             FLINT              MI   48503‐5412
SCULFIELD, MARIE            1557 S WOLF RD                                                                               HILLSIDE           IL   60162‐2112
SCULL JOHN                  SCULL, JOHN                        5055 WILSHIRE BLVD STE 300                                LOS ANGELES        CA   90036‐6101
SCULL, DENNIS R             783 LEE AVE                                                                                  N TONAWANDA        NY   14120‐3406
SCULLA JR, JOHN A           414 CRISFIELD RD                                                                             BALTIMORE          MD   21220‐3006
SCULLA, ROBERT E            1391 HALE RD NE                                                                              CHECK              VA   24072‐3216
SCULLEN, LYNETTE
SCULLEN, ROBERT S           365 REYNOLDS DR                                                                              EATONTON           GA   31024‐5425
SCULLEN, THOMAS R           2608 MAGNOLIA AVE                                                                            LIBERTY            MO   64068‐9181
SCULLEY, AGNES C            1764 E APPLE AVE APT 907                                                                     MUSKEGON           MI   49442‐4264
SCULLEY, JAMES D            873 NW SARRIA CT                                                                             PORT SAINT LUCIE   FL   34986‐1700
SCULLIN, BARRY‐JAMES        112 CASTLE HILL RD                                                                           WINDHAM            NH   03087‐1746
SCULLIN, BRIDGET E          12550 CARSON ST SPC 185                                                                      HAWAIIAN GARDENS   CA   90716‐2430
SCULLIN, BRIDGET E          12550 E CARSON ST #185                                                                       HAWAIIAN GARDENS   CA   90716‐2430
SCULLIN, PATRICK W          1705 PETERSON AVE                                                                            JANESVILLE         WI   53548‐1540
SCULLION, JESSICA A         12205 GOSHEN RD LOT 117                                                                      SALEM              OH   44460‐9151
SCULLION, JESSICA A         12205 GOSHEN ROAD                  LOT 117                                                   SALEM              OH   44460‐9151
SCULLY BROTHERS & FOSS      9 E 79TH ST                                                                                  NEW YORK           NY   10075
SCULLY ELIZABETH            111 LILLIQUIN DR                                                                             THOMASVILLE        GA   31757‐0257
SCULLY JR, JOHN             108 ACHILLE ST                                                                               WOONSOCKET         RI   02895‐1404
SCULLY PATRICIA             1369 PINECREST CT                                                                            WIXOM              MI   48393‐1581
SCULLY, BERNICE P           C/O BERNICE P SCULLY               5192 DELAND RD                                            FLUSHING           MI   48433
SCULLY, BERNICE P           5192 DELAND RD                     C/O BERNICE P SCULLY                                      FLUSHING           MI   48433‐1180
SCULLY, DOROTHY             5755 S NOTTINGHAM AVE                                                                        CHICAGO            IL   60638‐3116
SCULLY, DOROTHY B           8168 DEERWOOD RD                                                                             CLARKSTON          MI   48348‐4531
SCULLY, HELEN M             208 OAKWOOD DR                                                                               FLUSHING           MI   48433‐1845
SCULLY, HUGH P              1052 BURKWOOD RD                                                                             MANSFIELD          OH   44907‐2410
SCULLY, JAMES M             307 CLAYTON MANOR DR                                                                         MIDDLETOWN         DE   19709‐8859
SCULLY, JANET M             1 MAPLEWOOD DR                                                                               LEWES              DE   19958‐9115
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Name                          Address1                        Address2               Address3      Address4         City               State Zip
SCULLY, JOHN D                1706 QUIXOTE DR                                                                       JANESVILLE          WI 53546‐1317
SCULLY, JOSEPH A              47 MIDFIELD RD                                                                        NEW CASTLE          DE 19720‐3566
SCULLY, LA VERNE M            121 W OAK ST                                                                          AU GRES             MI 48703‐9709
SCULLY, LYNNE                 15005 OCEANA AVE                                                                      ALLEN PARK          MI 48101‐1858
SCULLY, LYNNE                 22311 LA SEINE ST               APT 207                                               SOUTHFIELD          MI 48075‐4040
SCULLY, MICHAEL J             6714 ELMRIDGE DR                                                                      FLINT               MI 48505‐2480
SCULLY, NELL K                PO BOX 4                                                                              PALATKA             FL 32178
SCULLY, RICHARD C             8460 NEFF RD                                                                          MOUNT MORRIS        MI 48458‐1045
SCULLY, STEPHEN T             13158 NEFF RD                                                                         CLIO                MI 48420‐1812
SCULLY, TERRY M               APT 103                         15400 SILVER PARKWAY                                  FENTON              MI 48430‐3489
SCULLY, THERESA A             111 WAVERLY ST APT 5N SECT D                                                          YONKERS             NY 10701‐4232
SCULLY, TROY S                2485 ELMWOOD DR                                                                       FLINT               MI 48504‐6542
SCULLY, V T                   4320 E PICCADILLY RD                                                                  PHOENIX             AZ 85018‐5430
SCULLY‐JONES CORPORATION      1901 S ROCKWELL ST                                                                    CHICAGO              IL 60608‐2497
SCULLY‐JONES/SEIBERT CORP     1901 SOUTH ROCKWELL ST                                                                CHICAGO              IL 60608
SCULPTWARE                    16114 NORTH 81ST                                                                      SCOTTSDALE          AZ 85260
SCULZ, JOHN
SCUMACI, FRANK                2943 S WALLACE ST # 2                                                                 CHICAGO            IL   60616
SCUNGIO, JOHN A               319 NORMAL AVE                                                                        BUFFALO            NY   14213‐2522
SCUR, JENNIE E                11871 BROUGHAM                                                                        STERLING HEIGHTS   MI   48312‐3909
SCUR, SUSAN                   24854 HANOVER ST                                                                      DEARBORN HTS       MI   48125‐1828
SCURCI, JUNE H                707 JEFFERSON AVE                                                                     JEANNETTE          PA   15644‐2710
SCURIC, REBECCA J             932 MEADOWVIEW LN                                                                     MUKWONAGO          WI   53149‐1147
SCURLOCK ANTHONY              1159 FALL SPRINGS ROAD                                                                COLLIERVILLE       TN   38017‐9408
SCURLOCK, BESSIE L            PO BOX 501                                                                            CHARLESTON         MS   38921‐0501
SCURLOCK, GERALDINE           60 E 138TH STREET APT 1W                                                              RIVERDALE          IL   60827
SCURLOCK, GERALDINE           60 E 138TH ST APT 1W                                                                  RIVERDALE          IL   60827‐1736
SCURLOCK, GWENDOLYN L         5295 PACIFIC ST                                                                       DETROIT            MI   48204‐3714
SCURLOCK, ROBIN J             19600 DOYLE RD                                                                        GREGORY            MI   48137‐9701
SCURLOCK, TERRY W             4017 STATE ROUTE 269 S                                                                CASTALIA           OH   44824‐9741
SCURLOCK, VIOLA               8502 GREENLAWN                                                                        DETROIT            MI   48204‐3206
SCURR, THOMPSON P             2468 FLORENTINE WAY APT 24                                                            CLEARWATER         FL   33763
SCURRY COUNTY TAX COLLECTOR   1806 25TH ST                                                                          SNYDER             TX   79549‐2515
SCURRY JR, GEORGE             19957 BENTLER ST                                                                      DETROIT            MI   48219‐1322
SCURRY, JUSTIN
SCURRY, VICTOR L              328 BROADWAY AVE SE                                                                   WARREN             OH   44484‐4606
SCURTI, GARY A                7040 RUBY CTS                                                                         AUSTINTOWN         OH   44515‐5613
SCURTI, RICHARD D             224 GOAT HILL RD                                                                      LAMBERTVILLE       NJ   08530‐2608
SCURTIE, HENRY V              260 S MERIDIAN RD                                                                     YOUNGSTOWN         OH   44509‐2925
SCURTO, RICHARD A             714 MACE AVE                                                                          ESSEX              MD   21221‐4807
SCUSA, ALVIN                  610 S SCHOOL ST                                                                       WILBER             NE   68465‐3201
SCUSSEL, MARIO C              691 BARCLAY DR                                                                        TROY               MI   48085‐4801
SCUSSEL, MARIO C              2581 MUNSTER RD                                                                       ROCHESTER HILLS    MI   48309‐2323
SCUTCHFIELD, ALTON W          9993 SUMMERFIELD RD                                                                   TEMPERANCE         MI   48182‐9703
SCUTCHFIELD, EMOGENE          1900 RIVER RD APT D2                                                                  MARYSVILLE         MI   48040‐1822
SCUTCHFIELD, EMOGENE          1900 RIVER ROAD                 APT # D2                                              MARYSVILLE         MI   48040
SCUTCHFIELD, MICHAEL G        1320 REDLEAF LN                                                                       YPSILANTI          MI   48198‐3167
SCUTCHFIELD, MICHAEL GLENN    1320 REDLEAF LN                                                                       YPSILANTI          MI   48198‐3167
SCUTCHFIELD, RANDY C          10130 MOUNT HOPE RD                                                                   MUNITH             MI   49259‐9659
SCUTCHFIELD, RANDY CLAY       10130 MOUNT HOPE RD                                                                   MUNITH             MI   49259‐9659
SCUTERI RICK E JR             8212 E OAK ST                                                                         SCOTTSDALE         AZ   85257‐2850
SCUTERI, DEBORAH M            61 JULIANE DR                                                                         ROCHESTER          NY   14624‐1406
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Name                          Address1                        Address2                 Address3              Address4         City           State Zip
SCUTICCHIO, JOSEPH A          PO BOX 178                                                                                      SOLANA BEACH    CA 92075‐0178
SCUTILLO, LILLIAN S           1413 RACCOON DR NE                                                                              WARREN          OH 44484‐1431
SCUTILLO, THOMAS              301 CROCKETT ST APT 307                                                                         SHREVEPORT      LA 71101‐3690
SCUTT JR, HOWARD D            307 W BRUNSWICK DR                                                                              DEWITT          MI 48820‐7105
SCUTT, CLEO V                 3848 YORK RD                                                                                    PORTLAND        MI 48875‐9740
SCUTT, DAVID E                231 CORBIN ST                                                                                   MASON           MI 48854‐1096
SCUTT, HOWARD D               2385 CEDAR PARK DR APT 219                                                                      HOLT            MI 48842‐3115
SCUTT, LARRY A                RR 2 BOX 211C                                                                                   WORTHINGTON     IN 47471‐9200
SCUTTI, MARIANNE              5115 N SOCRUM LOOP RD APT 132                                                                   LAKELAND        FL 33809‐4293
SCUTTI, ROBERT A              5012 CHOUTEAU ST                                                                                SHAWNEE         KS 66226‐2343
SCUTTS, LAWRENCE W            2266 WOODVIEW DR                C/O DAVID F BLUMENTHAL                                          ALPENA          MI 49707‐1135
SCYOC, RALPH E                97 CHURCH ST                                                                                    LAGRANGE        OH 44050‐9783
SCYTKO, PAULETTE M            2536 N RAMONA PARK AVE                                                                          WHITE CLOUD     MI 49349‐8614
SCZEPANSKI, DEANNA K          5755 GARFIELD ROAD                                                                              AUBURN          MI 48611
SCZEPANSKI, JOHN M            41958 WATERFALL RD                                                                              NORTHVILLE      MI 48168‐2245
SCZEPANSKI, RICHARD J         8423 ALASKA AVE                                                                                 SAINT LOUIS     MO 63125
SCZESNY, ALICE S              3430 FOREST TER                                                                                 ANDERSON        IN 46013‐5256
SCZESNY, ANNA B               1812 N MADISON AVE                                                                              ANDERSON        IN 46011‐2144
SCZESNY, BRIAN K              6490 DALE DR                                                                                    BROOK PARK      OH 44142‐3452
SCZESNY, BRIAN KEITH          6490 DALE DR                                                                                    BROOK PARK      OH 44142‐3452
SCZESNY, CARMELETTA M         6490 DALE DR                                                                                    BROOK PARK      OH 44142‐3452
SCZESNY, CARMELETTA MARIE     6490 DALE DR                                                                                    BROOK PARK      OH 44142‐3452
SCZESNY, CHESTER J            1714 JEFFERSON ST                                                                               ANDERSON        IN 46016‐2015
SCZESNY, JADWIGA S            5837 W EASTWOOD AVE                                                                             CHICAGO          IL 60630‐3321
SCZESNY, PETER E              1757 S 300 E                                                                                    ANDERSON        IN 46017‐2039
SCZESNY, SUSAN                907 OAKCREST ST SW                                                                              WYOMING         MI 49509‐3911
SCZESNY, TERRY M              900 3 MILE RD NE                                                                                GRAND RAPIDS    MI 49505‐3418
SCZOMAK, DAVID P              1407 TWAIN CT                                                                                   TROY            MI 48083‐5355
SCZOMAK, THEODORE M           6119 EVERGREEN RD APT 1                                                                         DEARBORN HTS    MI 48127‐2744
SCZUBELEK JR., WALTER L       318 WESTMORELAND AVE                                                                            WILMINGTON      DE 19804‐1851
SD
SD DEPARTMENT OF REVENUE      AUDIT DIVISION                  445 E CAPITOL AVE                                               PIERRE          SD   57501‐3100
SD DEPARTMENT OF REVENUE      AUDIT DEPARTMENT                445 E CAPITOL AVE                                               PIERRE          SD   57501‐3100
SD SDGSDG                     GSDGSDGSDGSDG                   SDGS                                           SDGSD
SD TRANSPORTATION             PO BOX 580039                                                                                   TULSA          OK    74158‐0039
SDAO, DENNIS ANTHONY          BOONE ALEXANDRA                 205 LINDA DR                                                    DAINGERFIELD   TX    75638‐2107
SDAO, RONALD                  1341 MASSASAUGA DR                                                                              LEONARD        MI    48367‐4026
SDC 7                         PO BOX 640                      1 ANNABEL LN ST 201                                             SAN RAMON      CA    94583‐0640
SDE
SDE BUSINESS PARTNERING LLC   PO BOX 4485                                                                                     TROY           MI 48099‐4485
SDE BUSINESS PARTNERING LLC   PO BOX 4483                                                                                     TROY           MI 48099‐4485
SDF ADFWEF                    DSEF                            AFAF
SDF SDF                       SDF                             SDF                      SDF                   SFSDF
SDFF ASDFF                    ASDFASDF                        ASDFASDF                 AFSADF                ADFDSF           ASDFSADF        AL   4545
SDFSADFA ASDFASDF             ASFASDFASDF 4
SDI LLC                       755 W BIG BEAVER RD STE 1120                                                                    TROY           MI 48084‐4903
SDL AUTO (P) LTD              DEEPAK KAPASIYA (9)             VICTORA GROUP            44TH KM STONE DELHI                    MORAINE        OH 45439
                                                                                       MATHURA
SDL AUTO PRIVATE LTD          DEEPAK KAPASIYA (9)             VICTORA GROUP            44TH KM STONE DELHI                    MORAINE        OH 45439
                                                                                       MATHURA
SDL PLC
SDS AUTO                      825 W CENTER ST                                                                                 PROVO          UT 84601‐4048
                                09-50026-mg            Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
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Name                            Address1                           Address2                       Address3           Address4                  City                 State Zip
SDS INC                         SCHANNO DISTRIBUTION SERVICES      1657 COMMERCE DR STE 10A                                                    SOUTH BEND            IN 46628‐1542
SDS SDS                         SDDS                                                                                                           SDSD
SDS SDSD                        DFSD                                                                                                           FFS
SDSA ADASD                      ADASDASDV DD 22                                                                                                SFASFS                  66010
SE DEL ACUMULADOR TUDOR SA      FERNANDO SALDANA                   POLIGONO IN CTRA ALCAZAR S/N   13200 MANZANARES                             DETROIT              MI 48223

SE EMERG PHYS                   PO BOX 634706                                                                                                  CINCINNATI           OH 45263‐4706
SE GUIN, DAVID LEE              3219 NOURSE RD                                                                                                 ERIEVILLE            NY 13061‐3179
SE HEUNG CO LTD                 18 8 HADAE‐RI NAMSAN MYON                                                            KYUNGSAN 712860 KOREA
                                                                                                                     (REP)
SE OH                           1126 ROBERTSON DR                                                                                              TROY                 MI 48085‐4921
SE PAIN SPCLSTS                 PO BOX 102146                                                                                                  ATLANTA              GA 30368‐2146
SE RADIOLOGY ASSOCIA            PO BOX 77000                                                                                                   DETROIT              MI 48277‐61
SE‐HWA IND CO LTD               618‐6 NAMCHON‐DONG                 NAMDONG‐GU                                        INCHEON 405‐320 SOUTH
                                                                                                                     KOREA
SE‐MAR ELECTRIC CO INC          101 SOUTH AVE                                                                                                  BUFFALO              NY    14224‐2010
SEA CONT/WSTCHE                 1 WESTBROOK CORPORATE CENTER         SUITE 925                                                                 WESTCHESTER          IL    60154
SEA ISLAND CO                   PO BOX 30861                                                                                                   SEA ISLAND           GA    31561‐0861
SEA LAND SERVICE INC            13465 MIDWAY RD                                                                                                DALLAS               TX    75244
SEA LAVENDER LTD                C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT          2 RAFFLES LINK     MARINA BAYFRONT
                                LTD                                                                                  SINGAPORE 039392
SEA LTD                         7349 WORTHINGTON GALENA RD                                                                                     WORTHINGTON          OH 43085‐1519
SEA PARK INDSTRL DRY CLEANERS   147 CUSHMAN RD                                                                       ST CATHARINE ON L2M 6T2
                                                                                                                     CANADA
SEA PINES RESORT                ACCOUNTS RECEIVABLES               32 GREENWOOD DR                                                             HILTON HEAD ISLAND   SC 29928‐4510
SEA REPAIR SERVICE INC          2202 RUSSELL ST                                                                                                GRAND BLANC          MI 48439‐4218
SEA STAR LINE LLC               STE 509                            10550 DEERWOOD PARK                                                         JACKSONVILLE         FL 32256‐2809
                                                                   BOULEVARD
SEA STAR LINE, LLC              JIM GASKIN                         10550 DEERWOOD PARK BLVD STE                                                JACKSONVILLE          FL   32256‐2809
                                                                   509
SEA TECH MARINE ELECTRONI
SEA WAY PAINTING CO INC         31801 SCHOOLCRAFT RD                                                                                           LIVONIA              MI    48150‐1825
SEA WAY REALTY INC              31801 SCHOOLCRAFT RD                                                                                           LIVONIA              MI    48150‐1825
SEA, DOROTHY L                  134 FLOOD STREET                                                                                               MONTGOMERY           AL    36104‐5433
SEA, MICHAEL I                  3074 MELBOURNE TER APT B                                                                                       CINCINNATI           OH    45206‐1003
SEA‐TAC PARTS WHSE              2627 S 248TH ST                                                                                                KENT                 WA    98032‐4030
SEA‐TAC PIGGYBACK INC           2601 70TH AVE W STE K                                                                                          TACOMA               WA    98466‐5430
SEAB TREADWAY                   2616 E FIFTH                                                                                                   DAYTON               OH    45403‐2636
SEAB TREADWAY                   2616 E 5TH ST                                                                                                  DAYTON               OH    45403‐2636
SEAB, JAMES                     SHANNON LAW FIRM                   100 W GALLATIN ST                                                           HAZLEHURST           MS    39083‐3007
SEABAUGH PAUL R (489228)        MOTLEY RICE                        PO BOX 1792                                                                 MT PLEASANT          SC    29465‐1792
SEABAUGH, CHARLES E             RR 1 BOX 117                                                                                                   MARBLE HILL          MO    63764‐9704
SEABAUGH, DANIEL JOSEPH         886 W KEISER RD                                                                                                COLUMBIA CITY        IN    46725‐8041
SEABAUGH, DORIS M               886 W KEISER RD                                                                                                COLUMBIA CITY        IN    46725‐8041
SEABAUGH, HEATHER R             5802 S BEND DR                                                                                                 FORT WAYNE           IN    46804‐3049
SEABAUGH, JEFFREY M             886 W KEISER RD                                                                                                COLUMBIA CITY        IN    46725‐8041
SEABAUGH, NOBLE L               1135 CASTLEBAY WAY                                                                                             HUDSONVILLE          MI    49426
SEABAUGH, PAUL R                MOTLEY RICE                        PO BOX 1792                                                                 MT PLEASANT          SC    29465‐1792
SEABER, GEORGE R                5 PEMBROKE LN                                                                                                  TOMS RIVER           NJ    08757‐4420
SEABERG PRE/WEST BAB            165 FIELD ST                                                                                                   WEST BABYLON         NY    11704‐1210
SEABERG, PAUL E                 160 FORSYTHIA DR S                                                                                             LEVITTOWN            PA    19056‐1824
SEABERRY, KATHERINE             9145 S LAFLIN ST                                                                                               CHICAGO              IL    60620‐5040
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Name                                Address1                         Address2                     Address3   Address4         City              State Zip
SEABERRY, KATHERINE                 9145 SO LAFLIN ST                                                                         CHICAGO             IL 60620‐5040
SEABERRY, ORINE                     ROUTE 1 BOX 703                                                                           MAMMOTH SPRINGS    AR 72554‐9304
SEABERRY, ORINE                     10119 HIGHWAY 9 N                                                                         MAMMOTH SPRING     AR 72554‐7239
SEABIE A CANADA                     C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                HOUSTON            TX 77007
                                    BOUNDAS LLP
SEABOARD DE MIMIMIS GROUP           R M JACOBS MILLHISHER INC        PO BOX 24099                                             RICHMOND          VA 23224‐0099
SEABOARD DEMINIMIS SETTLEMENT TRUST SEABOARD GROUP II C/AMERICAN     30 PURGATORY RD PO 310                                   MONT VERNON       NH 03057
FUND
SEABOARD GROUP II ACCOUNT           AMERICAN ENVIRONMENTAL CONSULT   PO BOX 310                                               MONT VERNON       NH 03057‐0310

SEABOARD MARINE LTD                8050 NW 79TH AVE                                                                           MEDLEY            FL   33166‐2154
SEABOARD WAREHOUSES INC            OLD DELSEA DR                                                                              MALAGA            NJ   08328
SEABOLT DENNIS K SR                1909 HAYES DENTON RD                                                                       COLUMBIA          TN   38401‐8223
SEABOLT REMMY                      5437 SEYMOUR LAKE RD                                                                       OXFORD            MI   48371‐4148
SEABOLT SR, DENNIS K               1909 HAYES DENTON RD                                                                       COLUMBIA          TN   38401‐8223
SEABOLT, ALICE M                   12917 BASS LAKE RD                                                                         CHARDON           OH   44024‐8319
SEABOLT, ALVIN R                   PO BOX 283                                                                                 MURRAYVILLE       GA   30564‐0283
SEABOLT, ANN B                     4385 DUNCAN BRIDGE RD.                                                                     CLEVELAND         GA   30528‐3215
SEABOLT, ARNOLD D                  95 ATLA DR                                                                                 COVINGTON         GA   30016‐4563
SEABOLT, CAROLYN Y                 152 HARMENING DR                                                                           HUNTSVILLE        AL   35811‐8759
SEABOLT, EILEEN D                  2490 FORDHAM                                                                               KEEGO HARBOR      MI   48320‐1412
SEABOLT, EILEEN D                  2490 FORDHAM ST                                                                            KEEGO HARBOR      MI   48320‐1412
SEABOLT, EVELYN                    152 HARMENING DR                                                                           HUNTSVILLE        AL   35811‐8759
SEABOLT, J C                       400 WESTWIND CT                                                                            BALL GROUND       GA   30107‐7704
SEABOLT, JAMES                     152 HARMENING DR                                                                           HUNTSVILLE        AL   35811‐8759
SEABOLT, JERRY L                   211 BUENA VISTA DR                                                                         COLUMBIA          TN   38401‐4611
SEABOLT, JIMMY D                   141 UNION HILL RD                                                                          MINERAL WELLS     TX   76067‐2074
SEABOLT, LARRY T                   226 VIA DE LUNA                                                                            INGLEWOOD         FL   34224
SEABOLT, LOY L                     6285 TIMBER CREEK TRL                                                                      DAHLONEGA         GA   30533‐6710
SEABOLT, M JEAN                    4561 HIGHWAY 81 SOUTH                                                                      COVINGTON         GA   30016
SEABOLT, MARY B                    701 SE CHALOUPE AVE                                                                        PORT ST LUCIE     FL   34983‐2713
SEABOLT, NANCY G                   1334 LOWRIE LANE                                                                           OKLAHOMA CITY     OK   73159
SEABOLT, NANCY G                   1334 LOWRIE LN                                                                             OKLAHOMA CITY     OK   73159‐7712
SEABOLT, REMI J                    5437 SEYMOUR LAKE RD                                                                       OXFORD            MI   48371‐4148
SEABOLT, ROBERT J                  653 EDGEFIELD DR                                                                           HOHENWALD         TN   38462‐1967
SEABOLT, ROBERT P                  1014 TRACE CREEK RD                                                                        HOHENWALD         TN   38462‐5131
SEABOLT, RONNIE                    5498 LAWSON ROBINSON RD                                                                    GAINESVILLE       GA   30506‐5425
SEABOLT, RUTH A                    2708 GARBETT ST.                                                                           MCKEESTORT        PA   15132
SEABOLT, TIMOTHY E                 1334 LOWRIE LN                                                                             OKLAHOMA CITY     OK   73159‐7712
SEABOLT, WESLEY H                  484 HIGHWAY 81 SW                                                                          COVINGTON         GA   30014‐0618
SEABOLT, WESLEY H                  484 HWY 81 S.W.                                                                            COVINGTON         GA   30014‐0618
SEABOLT, WILLENE H                 187 WINDROSE MEADOW LN                                                                     CLARKESVILLE      GA   30523‐6507
SEABOLT, WILLENE H                 187 WINROSE MEADOWS LANE                                                                   CLARKSVILLE       GA   30523
SEABORD PRP GROUP
SEABORN ACOFF                      BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH   44236
SEABORN HILSON JR                  16610 PRIEBE AVE                                                                           CLEVELAND         OH   44128‐3834
SEABORN JONES                      13855 SUPERIOR RD APT 409                                                                  EAST CLEVELAND    OH   44118‐1038
SEABORN JR, HERMAN                 13611 GRIGGS ST                                                                            DETROIT           MI   48238‐2220
SEABORN PAYNE JR                   117 BARBER DR                                                                              STOCKBRIDGE       GA   30281‐1419
SEABORN, MILDRED S                 102 HOGAN ST                                                                               BERWICK           LA   70342‐2004
SEABORN, RONALD G                  840 MARYLAND ST NW                                                                         WARREN            OH   44483‐3118
SEABORN, TERRY                     25105 GREENBROOKE DR 161                                                                   SOUTHFIELD        MI   48033
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Name                                  Address1                         Address2                          Address3   Address4         City              State Zip
SEABORN, TERRY R                      1303 CHERRY HILL CT                                                                            MANSFIELD          TX 76063‐2601
SEABORN, WILMA M                      4592 EVERETT HULL ROAD                                                                         CORTLAND           OH 44410‐9727
SEABOURNE, LINDA L                    604 TYLER ST                                                                                   DESLOGE            MO 63601‐3446
SEABREEZE, LEO W                      7 SUDBROOK LN                    C/O RUXTON HEALTH OF PIKESVILLE                               PIKESVILLE         MD 21208‐4118

SEABRIDGE, DEBRA M                    4949 S BROAD ST                                                                                YARDVILLE         NJ   08620‐2211
SEABRIDGE, ROBERT J                   13 VALERIE LN                                                                                  LAWRENCEVILLE     NJ   08648
SEABRON, GREGORY L                    2417 CLEMENT ST                                                                                FLINT             MI   48504‐7309
SEABRON, JOHN H                       618 E ELDRIDGE AVE                                                                             FLINT             MI   48505‐5335
SEABRON, MURIEL I                     3325 BUICK ST                    APT 5                                                         FLINT             MI   48505‐6813
SEABRON, NATHANIEL                    417 THIRD ST                                                                                   JONESBORO         AR   72401‐1947
SEABROOK, JOSEPH                      45 SHARA PL                                                                                    PITTSFORD         NY   14534‐2600
SEABROOK, MICHAEL K                   1504 OYSTER LN                                                                                 HOLLY             MI   48442‐8363
SEABROOK, ROGER D                     13757 RIVER FOREST DR                                                                          FORT MYERS        FL   33905‐1801
SEABROOK, STEVIE N                    14855 WARWICK ST                                                                               DETROIT           MI   48223‐2248
SEABROOK, THOMAS P                    4530 E JILL ANN DR                                                                             MIDLAND           MI   48642‐8403
SEABROOKS, CHARLENE                   22252 PETERSBURG AVE                                                                           EASTPOINTE        MI   48021‐2640
SEABROOKS, DWIGHT                     35801 STREAM VIEW DR                                                                           NEW BOSTON        MI   48164‐9139
SEABROOKS, NETTIE H                   8200 E JEFFERSON AVE APT 1710                                                                  DETROIT           MI   48214‐2682
SEABURG, CHARLES F                    5204 SADDLE DR                                                                                 FLOWER MOUND      TX   75028‐6011
SEABURG/BABYLONS                      165 FIELD ST                                                                                   WEST BABYLON      NY   11704‐1210
SEABURN, CLARA RUTH                   206 WALTHER AVE                                                                                CLEARFIELD        PA   16830‐1568
SEABURY, MARY A                       1550 W 17TH ST                                                                                 YUMA              AZ   85364‐5356
SEABURY, PERCY                        GUY WILLIAM S                    PO BOX 509                                                    MCCOMB            MS   39649‐0509
SEACATT, MAEROYCE                     6393 FAYETTA CT                                                                                DAYTON            OH   45424
SEACATT, SHARLOTTE D                  628 CARTHAGE DR                                                                                BEAVERCREEK       OH   45434‐5804
SEACH, JOSEPH W                       25401 CHARDON RD                                                                               RICHMOND HTS      OH   44143‐1209
SEACO                                 8305 S SAGINAW ST STE 5          PO BOX 676                                                    GRAND BLANC       MI   48439‐1894
SEACO SPECIAL TOOLING INC             PO BOX 676                                                                                     GRAND BLANC       MI   48480‐0676
SEACOAST CHEVROLET                    3410 SUNSET AVE                                                                                OCEAN             NJ   07712‐3912
SEACOAST CHEVROLET‐OLDSMOBILE, INC.   CHRISTOPHER DIFEO                3410 SUNSET AVE                                               OCEAN             NJ   07712‐3912

SEACOMM FCU                           30 STEARNS ST                                                                                  MASSENA           NY   13662‐2310
SEACOMM FEDERAL CREDIT UNION          30 STEARNS ST                                                                                  MASSENA           NY   13662‐2310
SEACOTT, SUSAN K                      229 W SPENCER AVE                                                                              MARION            IN   46952‐3810
SEACREAS, JENNIFER LYNN               7011 LAMAR AVE                                                                                 OVERLAND PARK     KS   66204‐1430
SEACREAS, RICHARD A                   12513 RICHARDS ST                                                                              SHAWNEE MSN       KS   66213‐2435
SEADOR, DENISE                        88 PARKVIEW DR                                                                                 LANDISVILLE       PA   17538‐1395
SEADORF, FREDERICK R                  905 STATE ST                                                                                   OWOSSO            MI   48867‐4248
SEADORF, LEROY E                      431 RIDGECREST DR                                                                              PUNTA GORDA       FL   33982‐8524
SEADORF, PATRICIA                     2063 121ST AVE                                                                                 ALLEGAN           MI   49010
SEADORF, ROSALIE J                    2809 64TH ST SW                                                                                BYRON CENTER      MI   49315‐8504
SEAFAIR                               2200 6TH AVE STE 400                                                                           SEATTLE           WA   98121‐1830
SEAFAIR                               MS. BETH KNOX, SEAFAIR           2200 6TH AVE STE 400                                          SEATTLE           WA   98121‐1830
SEAFERT, FRANK                        133 S TRUMBULL RD                                                                              BAY CITY          MI   48708‐9203
SEAFERT, IRENE                        133 S. TRUMBULL RD                                                                             BAY CITY          MI   48708‐9203
SEAFERT, IRENE                        133 S TRUMBULL RD                                                                              BAY CITY          MI   48708‐9203
SEAFORD, MIRIAM F                     11912 TEE TIME CIR                                                                             NEW PORT RICHEY   FL   34654‐6223
SEAFORTH MINERAL & ORE CO             3690 ORANGE PL STE 495                                                                         CLEVELAND         OH   44122‐4465
SEAFORTH MINERAL & ORE CO INC         3690 ORANGE PL STE 495                                                                         CLEVELAND         OH   44122‐4465
SEAGATE CONTROL SYSTEMS CO            57 N WESTWOOD AVE                                                                              TOLEDO            OH   43607‐3339
SEAGATE CONVENTION CENTRE             401 JEFFERSON AVE                                                                              TOLEDO            OH   43604
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Name                                 Address1                         Address2              Address3     Address4                 City               State Zip
SEAGATE PLASTICS                     101 PARK DR                                                                                  WATERVILLE          OH 43566‐1247
SEAGATE PLASTICS CO
SEAGATE PLASTICS CO INC              101 PARK DR                                                                                  WATERVILLE         OH   43566‐1247
SEAGATE TRANSPORTATION               PO BOX 809081                                                                                CHICAGO            IL   60680‐9081
SEAGER JASON                         SEAGER, JASON                    30 E BUTLER AVE                                             AMBLER             PA   19002‐4514
SEAGER RANDY                         28W625 HAWTHORNE LN                                                                          WEST CHICAGO       IL   60185‐2471
SEAGER, DONALD D                     1752 EDINBOROUGH DR              PO BOX 650                                                  ROCHESTER HILLS    MI   48306‐3630
SEAGER, GERALD W                     6221 PAWSON RD                                                                               ONSTED             MI   49265‐9737
SEAGER, GERALD WAYNE                 6221 PAWSON RD                                                                               ONSTED             MI   49265‐9737
SEAGER, HOPE                         1568 WATER ST                                                                                OLCOTT             NY   14126
SEAGER, JOSEPH                       PO BOX 282                                                                                   OLCOTT             NY   14126‐0282
SEAGHAN DOYLE                        85 CLAYTON ST                                                                                BUFFALO            NY   14207‐1811
SEAGLE, JEFFREY S                    8734 KING GRAVES RD NE                                                                       WARREN             OH   44484‐1117
SEAGLE, LINDA S                      995 TIMBER CREEK LN                                                                          GREENWOOD          IN   46142‐5068
SEAGLUND, SUSAN R                    2945 MEADOWBROOK DR                                                                          ROCHESTER HILLS    MI   48309‐1437
SEAGO, WILLIAM E                     5190 BENNETT LAWSON RD                                                                       MANSFIELD          TX   76063‐3001
SEAGRAVE, BEVERLY J                  7755 S STATE ROAD 29                                                                         FRANKFORT          IN   46041‐9682
SEAGRAVE, GREGORY L                  1517 N EUCLID AVE                                                                            INDIANAPOLIS       IN   46201
SEAGRAVE, JOAN D                     49 LASALLE AVE                                                                               KENMORE            NY   14217‐2627
SEAGRAVE, MARIAN M                   328 E BOULEVARD                                                                              KOKOMO             IN   46902‐2273
SEAGRAVE, MARILYN F                  PO BOX 6614                                                                                  KOKOMO             IN   46904‐6614
SEAGRAVE, NED D                      328 E BOULEVARD                                                                              KOKOMO             IN   46902‐2273
SEAGRAVE, RICHARD L                  PO BOX 6614                                                                                  KOKOMO             IN   46904‐6614
SEAGRAVE, STEPHEN B                  7755 S STATE ROAD 29                                                                         FRANKFORT          IN   46041‐9682
SEAGRAVE‐SMITH, GENEVIEVE            1740 IRONWOOD PL                                                                             TEMPLETON          CA   93465‐4509
SEAGRAVES III, JAMES E               25143 DALLAS DR                                                                              GROSSE ILE         MI   48138‐1755
SEAGRAVES III, JAMES EDWARD          25143 DALLAS DR                                                                              GROSSE ILE         MI   48138‐1755
SEAGRAVES JR, WILLIAM K              1435 BROWNS RD                                                                               MARIETTA           OH   45750‐9080
SEAGRAVES, CLYDE C                   710 SPARTAN AVE                                                                              VANDALIA           OH   45377‐2833
SEAGRAVES, CLYDE C                   710 SPARTAN DR.                                                                              VANDALIA           OH   45377‐2833
SEAGRAVES, DAVID R                   APT 177                          6340 MAIDSTONE ROAD                                         INDIANAPOLIS       IN   46254‐1844
SEAGRAVES, DAVIDA J                  2049 ROCHELLE PARK DR                                                                        ROCHESTER HILLS    MI   48309‐3700
SEAGRAVES, JAMES B                   PO BOX 597                                                                                   BOLIVAR            MO   65613‐0597
SEAGRAVES, JANE P                    1485 FAMA DRIVE                                                                              ATLANTA            GA   30329‐3307
SEAGRAVES, JOHN R                    3353 HERTLEIN LANE                                                                           VANDALIA           OH   45377‐9792
SEAGRAVES, MARK A                    4019 CAPRICE ROAD                                                                            ENGLEWOOD          OH   45322‐2648
SEAGRAVES, MICHAEL D                 126 CATTLE LN                                                                                HILHAM             TN   38560‐5950
SEAGRAVES, PAUL M                    143 PR 3733                                                                                  BRIDGEPORT         TX   76426
SEAGRAVES, ROBERT G                  2212 STONEY PINE CT                                                                          FORT COLLINS       CO   80525‐5667
SEAGRAVES, ROBERT W                  1232 S HARRIS RD                                                                             YPSILANTI          MI   48198‐6513
SEAGRAVES, ROBERT WAYNE              1232 S HARRIS RD                                                                             YPSILANTI          MI   48198‐6513
SEAGRAVES, TANYA L                   506 OAKBLUFF CT                                                                              TROY               MO   63379‐2048
SEAGRAVES, TRACY D                   4019 CAPRICE ROAD                                                                            ENGLEWOOD          OH   45322‐2648
SEAGRAVES, WILLIAM C                 177 N BROWN SCHOOL RD                                                                        VANDALIA           OH   45377‐2841
SEAGRAVES, WILLIAM K                 6366 LAKEVIEW CIR                                                                            CANAL WINCHESTER   OH   43110‐1077
SEAGREAVES, GEORGE F                 1016 EAGLE DR                                                                                WINTER HAVEN       FL   33881‐8736
SEAGREN, ERIC                        PO BOX 335                                                                                   LICKING            MO   65542‐0335
SEAGREN, PHILIP E                    3114 BELLAVISTA DR                                                                           HOWELL             MI   48855‐9755
SEAGREN, TIMOTHY C                   658 1/2 INDEPENDENCE VALLEY DR                                                               GRAND JUNCTION     CO   81507‐7502
SEAGROVES, CRAIG L                   1081 N MERRIMAC DRIVE EXT                                                                    FITZGERALD         GA   31750‐8038
SEAH BESTEEL CORP (KUNSAN FACTORY)   1 6 SORYOUNG‐DONG                                                   KUNSAN KR 573711 KOREA
                                                                                                         (REP)
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Name                               Address1                         Address2                      Address3        Address4         City            State Zip
SEAH, BONNIE M                     1120 LORENE AVE                                                                                 MOUNT MORRIS     MI 48458‐2136
SEAHORSE TRANSPORT INC             PO BOX 3767                                                                                     BROWNSVILLE      TX 78523‐3767
SEAKS, KEVIN W                     315 BRITTANY DR                                                                                 LANSING          MI 48906‐1614
SEAL BEACH AUTOMOTIVE EXCELLENCE   1000 PACIFIC COAST HWY                                                                          SEAL BEACH       CA 90740‐6202
SEAL EDWARD (459323)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA 23510
                                                                    STREET, SUITE 600
SEAL GILBERT T (625218)            GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                     EDWARDSVILLE     IL   62025‐0959
                                   ANTOGNOLI
SEAL GRAPHICS AMERICAS             7091 TROY HILL DR                                                                               ELKRIDGE        MD    21075‐7036
SEAL HERBERT                       12200 KEATS GROVE CT                                                                            GLEN ALLEN      VA    23059
SEAL JR, JOHN O                    1817 HEATHERHILL ST                                                                             TRENTON         MI    48183‐1910
SEAL JR, WILLIAM L                 7003 ROSECLIFF PL                                                                               DAYTON          OH    45459‐1386
SEAL KENNETH (494185)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA    23510
                                                                    STREET, SUITE 600
SEAL MARK LLC                      3333 LEE PKWY STE 600                                                                           DALLAS          TX    75219‐5117
SEAL REVOCABLE TRUST               UA 7 23 01                       C/O MARTHA P SEAL TR          414 FOREST DR                    ROSSFORD        OH    43460‐1043
SEAL ROBERT                        5407 VERMILYA RD                                                                                COLUMBIAVILLE   MI    48421‐8931
SEAL TECH/COLU                     121 E JAMES CAMPBELL BLVD                                                                       COLUMBIA        TN    38401‐4573
SEAL TECH/TRAVELERS                112 INDUSTRIAL DR                                                                               GREENVILLE      SC    29607‐3241
SEAL WILLIAMS                      9173 AMERICAN ST                                                                                DETROIT         MI    48204‐4302
SEAL, BARBARA J                    49 BELLWOOD DR                                                                                  SWARTZ CREEK    MI    48473‐8283
SEAL, BOBBY R                      6700 HESS RD                                                                                    VASSAR          MI    48768‐9281
SEAL, CALVIN A                     4650 N SHAW RD                                                                                  GLADWIN         MI    48624‐8910
SEAL, CALVIN D                     7332 OAK RD                                                                                     VASSAR          MI    48768‐9292
SEAL, CALVIN DEAN                  7332 OAK ROAD                                                                                   VASSAR          MI    48768‐9292
SEAL, CONLEY                       646 N SHIRLEY RD                                                                                SHIRLEY         IN    47384‐9628
SEAL, CONNIE M                     7332 OAK RD                                                                                     VASSAR          MI    48768‐9292
SEAL, CONNIE MARIE                 7332 OAK RD                                                                                     VASSAR          MI    48768‐9292
SEAL, DANIEL W                     5998 S 100 W                                                                                    PENDLETON       IN    46064‐9596
SEAL, DANIEL WARD                  5998 S 100 W                                                                                    PENDLETON       IN    46064‐9596
SEAL, DAVID E                      5853 WESTBROOK DR                                                                               BROOK PARK      OH    44142‐2577
SEAL, DAVID G                      2108 HILLS ST # 2                                                                               FLINT           MI    48503‐6408
SEAL, DAVID M                      2017 TUSCOLA ST                                                                                 FLINT           MI    48503‐2119
SEAL, EDWARD                       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA    23510‐2212
                                                                    STREET, SUITE 600
SEAL, ELAINE J                     5582 DOGWOOD STREET                                                                             JACKSON         MI 49201‐8814
SEAL, EULALIA C                    613 TOMAHAWK BLVD                                                                               KOKOMO          IN 46902‐5554
SEAL, GILBERT T                    GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                     EDWARDSVILLE    IL 62025‐0959
                                   ANTOGNOLI
SEAL, GILBERT T                    GORI JULIAN & ASSOCIATES PC      156 N MAIN ST                                                  EDWARDSVILLE    IL    62025
SEAL, HOSIE D                      922 TONEY SCHOOL RD                                                                             TONEY           AL    35773‐6917
SEAL, JAMES D                      13800 E STREET RD                                                                               MONTROSE        MI    48457‐9345
SEAL, JEFFREY W                    1133 E 1000 S                                                                                   PENDLETON       IN    46064‐8736
SEAL, JIMMIE C                     607 BRIGHTON AVE                                                                                MUSCLE SHOALS   AL    35661‐3401
SEAL, JOE A                        105 CERDAN CIR                                                                                  WEST MONROE     LA    71291‐0802
SEAL, JOYCE M                      160 HUNTER COURT                                                                                PALM HARBOR     FL    34684‐3334
SEAL, KEITH W                      3134 W THORNCREST DR                                                                            FRANKLIN        WI    53132‐9114
SEAL, KENNETH                      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA    23510‐2212
                                                                    STREET, SUITE 600
SEAL, LAUTON E                     9981 MONTGOMERY ST                                                                              ANDERSON         IN   46011‐9003
SEAL, LOWELL C                     135 TAXIWAY AVE                                                                                 EASLEY           SC   29640‐6817
SEAL, MARILYN                      2882 N STATE ROAD 13                                                                            ANDERSON         IN   46011‐9198
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Name                                Address1                        Address2                        Address3              Address4         City              State Zip
SEAL, MARILYN                       2882 NORTH ST.RD. 13                                                                                   ANDERSON           IN 46011‐9198
SEAL, MARY C                        7419 W 8TH STREET RD                                                                                   ANDERSON           IN 46011‐9715
SEAL, MICHAEL E                     801 MADISON ST                                                                                         FRANKTON           IN 46044‐9785
SEAL, PATTY J                       1055 E GENESEE AVE                                                                                     FLINT              MI 48505‐1612
SEAL, PATTY JO                      1055 E GENESEE AVE                                                                                     FLINT              MI 48505‐1612
SEAL, PHYLLIS J                     1413 E STATE ROAD 38                                                                                   MARKLEVILLE        IN 46056‐9734
SEAL, PHYLLIS J                     1413 E. STATE RD. 38                                                                                   MARKLEVILLE        IN 46056
SEAL, RAYMOND E                     4489 E 800 S                                                                                           MARKLEVILLE        IN 46056‐9739
SEAL, ROBERT B                      2117 E 150 S LOT 2                                                                                     ANDERSON           IN 46017
SEAL, ROBERT G                      342 PARKWAY DR                                                                                         EASTLAKE           OH 44095‐1419
SEAL, ROBERT L                      5407 VERMILYA RD                                                                                       COLUMBIAVILLE      MI 48421‐8931
SEAL, RUFINA M                      1403 CARRIAGE DR                                                                                       TECUMSEH           MI 49286‐7736
SEAL, RUTH H                        1833 BROADWAY ST                                                                                       ANDERSON           IN 46012‐2448
SEAL, TERRY
SEAL, TIMOTHY A                     8992 POSEY DR                                                                                          WHITMORE LAKE     MI   48189‐9479
SEAL‐GUARD CORP                     101 F ST NW                                                                                            AUBURN            WA   98001‐5264
SEAL‐GUARD CORPORATION              101 F ST NW                                                                                            AUBURN            WA   98001‐5264
SEALAND DEMAXIMIS PRP TR ACC        R WILLIAM STEPHENS              410 MAIN ST                                                            BUFFALO           NY   14202
SEALAND RESTORATION SITE            STEERING COMMITTEE TRUST ACCT   RAICHELE BANNING‐D MAJCHRZAK    410 MAIN STREET                        BUFFALO           NY   14202

SEALAND RESTORATION SITE TRUST      ACCOUNT A DONATELLI             RAICHLE BANNING                 410 MAIN ST                            BUFFALO           NY 14202
SEALAND SUPERFUND REMEDIATION       SITE FUND TRUST NIXON PEABODY   40 FOUNTAIN PLZ STE 500                                                BUFFALO           NY 14202‐2223
SEALAND SUPERFUND SITE REMEDIATION ATTN DAVID L COOK ESQ            NIXON PEABODY LLP               1100 CLINTON SQUARE                    ROCHESTER         NY 14604
TRUST
SEALAND SUPERFUND SITE TRUST        C/O NIXON PEABODY LLP           1300 CLINTON SQ                                                        ROCHESTER         NY   14604‐1707
SEALANT EQ/OAK PARK                 21000 HUBBELL ST                                                                                       OAK PARK          MI   48237‐3023
SEALANT EQUIPMENT & ENGINEERIN      45677 HELM ST                   PO BOX 701460                                                          PLYMOUTH          MI   48170‐6025
SEALANT EQUIPMENT & ENGINEERING INC 45677 HELM ST                   PO BOX 701460                                                          PLYMOUTH          MI   48170‐6025

SEALANT EQUIPMENT & ENGR INC        45677 HELM ST                   PO BOX 701460                                                          PLYMOUTH          MI   48170‐6025
SEALANT SYSTEMS INTERNATIONAL       223 MIDDLETON RUN RD                                                                                   ELKHART           IN   46516‐5429
SEALANT SYSTEMS INTERNATIONAL       800 FARROLL RD                                                                                         GROVER BEACH      CA   93433‐2748
SEALANT SYSTEMS INTERNATIONAL       TIM CHAI X260                   SEALANT SYSTEMS INTERNATIONAL   800 FARROLL ROAD                       MELVINDALE        MI   48122

SEALCRAFT CORP                      TOM SIMS                        418 WELLSTON CIRCLE                                                    ROCHESTER HILLS   MI   48309
SEALCRAFT CORPORATION               TOM SIMS                        418 WELLSTON CIRCLE                                                    ROCHESTER HILLS   MI   48309
SEALE ARTIE                         SEALE, ARTIE                    935 MCNEEL ROAD                                                        SAN ANTONIO       TX   78228‐2061
SEALE SMITH ZUBER & BARNETTE        TWO UNITED PLAZA, SUITE 200     8550 UNITED PLAZA BOULEVARD                                            BATON ROUGE       LA   70809
SEALE, ADA B                        5283 SPORTSCRAFT DR                                                                                    DAYTON            OH   45414‐3653
SEALE, ARTIE                        935 MCNEEL RD                                                                                          SAN ANTONIO       TX   78228‐2061
SEALE, BARRY D                      59 LELAND DR                                                                                           NORTHBOROUGH      MA   01532‐1958
SEALE, CARRIE                       1422 LAKES BLVD APT D211                                                                               COLUMBIA          TN   38401‐4687
SEALE, CARRIE                       1422 LAKES BLVD                 APT D211                                                               COLUMBIA          TN   38401
SEALE, CHARLES L                    1405 PIKEVIEW TER                                                                                      ARLINGTON         TX   76011‐4729
SEALE, CLYDE DON                    SHANNON LAW FIRM                100 W GALLATIN ST                                                      HAZLEHURST        MS   39083‐3007
SEALE, EDWARD E                     171 CLIFFSIDE DR                                                                                       SOMERSET          KY   42503‐8009
SEALE, ELLEN M                      249O BOUGHNER LAKE RD.                                                                                 PRESCOTT          MI   48756
SEALE, HERMAN W                     11253 CHUNKY DUFFEE RD                                                                                 LITTLE ROCK       MS   39337‐9202
SEALE, JAMES C                      2226 ADAMS AVE                                                                                         FLINT             MI   48505‐5010
SEALE, LAURA LYNN                   3424 PARKLAWN ST                                                                                       AUBURN HILLS      MI   48326‐3043
SEALE, LENORA D                     9148 SUNCREST DR                                                                                       FLINT             MI   48504‐8141
SEALE, LENORA DELORIS               9148 SUNCREST DR                                                                                       FLINT             MI   48504‐8141
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Name                                Address1                      Address2                       Address3   Address4         City           State Zip
SEALE, NADINE                       RR 5 BOX 764                                                                             AVA             MO 65608‐9131
SEALE, NANCY E                      13142 BEAR CREEK RD                                                                      DUNCANVILLE     AL 35456‐2527
SEALE, RANDY D                      2099 W MOUNT MORRIS RD                                                                   MOUNT MORRIS    MI 48458‐8239
SEALE, RANDY DAVID                  2099 W MOUNT MORRIS RD                                                                   MOUNT MORRIS    MI 48458‐8239
SEALE, STEPHEN E                    1121 DEMPHLE AVE                                                                         DAYTON          OH 45410‐1920
SEALE, VIRGINIA H                   761 N WESTEDGE DR                                                                        TIPP CITY       OH 45371‐1523
SEALE, W                            GUY WILLIAM S                 PO BOX 509                                                 MCCOMB          MS 39649‐0509
SEALED AIR CORP                     PO BOX 464                                                                               DUNCAN          SC 29334
SEALED AIR CORP                     PO BOX 277835                                                                            ATLANTA         GA 30384‐7835
SEALED AIR CORP                     100 ROGERS BRIDGE RD          3106A                                                      DUNCAN          SC 29334
SEALED AIR CORP                     DAVID MCCANDLESS                                                                                         SC 29615
SEALED AIR CORP                     JAMES BERNER                  SEALED AIR                                                                 OH 45241
SEALED AIR CORPORATION              7410 UNION CENTRE BLVD                                                                   FAIRFIELD       OH 45014‐2285
SEALED POWER TECH                   STARR ACKER                   PO BOX 486/200                                             BROWNSVILLE     TX 78521
SEALED POWER TECH                   STARR ACKER                   P.O. BOX 486/200 HARDING RD.                               FRANKLIN        KY 42134
SEALES JR, PERCY                    2715 W MAGNOLIA LISBON RD                                                                ROSE HILL       NC 28458‐7513
SEALES JR, PERCY                    6927 BOSTICK DR                                                                          FAYETTEVILLE    NC 28314‐6404
SEALES, ALLEN O                     520 STOCKDALE ST                                                                         FLINT           MI 48503‐5120
SEALES, ALLEN O                     520 STOCKDALE                                                                            FLINT           MI 48504
SEALES, DONALD A                    13727 CLEVELAND ST                                                                       NUNICA          MI 49448‐9663
SEALES, GARY R                      1504 BARBERRY DR                                                                         JANESVILLE      WI 53545‐0404
SEALES, JAIME R                     686 E UTICA ST                                                                           BUFFALO         NY 14211‐1224
SEALES, JAMES R                     7749 N TOCOHO TRL                                                                        EDGERTON        WI 53534‐9717
SEALES, JOHN D                      23 IDAHO CIR                                                                             FLORISSANT      CO 80816‐8878
SEALES, JUSTINE                     APT A13                       5034 NORTH MCKINLEY ROAD                                   FLUSHING        MI 48433‐2924
SEALES, KAREN L                     2246 N COUNTY ROAD H                                                                     JANESVILLE      WI 53548‐9455
SEALES, KAREN L                     2246 CTY RD H                                                                            JANESVILLE      WI 53548
SEALES, LIEWELYN                    DEARIE & ASSOCS JOHN C        3265 JOHNSON AVE                                           RIVERDALE       NY 10463
SEALES, RAY C                       4325 CAYUGA TRL                                                                          FLINT           MI 48532‐3570
SEALES, RICKEY                      2044 CASALMOA CT                                                                         FLINT           MI 48532
SEALES, ROSS L                      951 WILDCAT RUN                                                                          GARDNER         KS 66030‐1775
SEALES, SAMANTHA M                  1505 S WALNUT ST                                                                         JANESVILLE      WI 53546‐5849
SEALEY, DAVID N                     5197 SUMMERS RD                                                                          NORTH BRANCH    MI 48461‐8968
SEALEY, FRANKLIN D                  3553 E 103RD ST                                                                          CLEVELAND       OH 44105‐1811
SEALEY, GARY F                      2447 S LAPEER RD                                                                         LAPEER          MI 48446‐9446
SEALEY, JAMES F                     2400 HIGH MEADOWS DR                                                                     ORTONVILLE      MI 48462‐9128
SEALEY, MARVIN L                    7704 LAUMER AVE                                                                          CLEVELAND       OH 44105‐5916
SEALEY, TOMMIE F                    62 RAMSEY CIR                                                                            GRIFFIN         GA 30223‐5651
SEALEY, WILLIAM E                   4785 WILLIS RD                                                                           NORTH BRANCH    MI 48461‐8931
SEALEZE                             A UNIT OF JASON INC           8000 WHITEPINE RD                                          RICHMOND        VA 23237‐2263
SEALEZE CORP                        8000 WHITEPINE RD                                                                        RICHMOND        VA 23237‐2263
SEALIE WATSON                       2018 REV. JT MENIFEE ST                                                                  ANDERSON        IN 46016
SEALIE, EMMA M                      213 HENRY RUFF ROAD                                                                      INKSTER         MI 48141‐3440
SEALIE, LORRAINE B                  32365 AUGUSTA DR                                                                         ROMULUS         MI 48174
SEALIE, MICHAEL                     28213 PARKWOOD ST                                                                        INKSTER         MI 48141‐1749
SEALING DEVICES INC                 4400 WALDEN AVE                                                                          LANCASTER       NY 14086‐9716
SEALING DEVICES, INC.               4400 WALDEN AVE                                                                          LANCASTER       NY 14086‐9716
SEALING RESOURCE INC                3545 SILICA RD                                                                           SYLVANIA        OH 43560
SEALING SPECIALISTS INC             6109 BAUMGARTNER XING                                                                    SAINT LOUIS     MO 63129‐2833
SEALOCK CHARLOTTE LEE (ESTATE OF)   MOTLEY RICE                   PO BOX 1792                                                MT PLEASANT     SC 29465‐1792
(471012)
SEALOCK, CHARLOTTE LEE              MOTLEY RICE                   PO BOX 1792                                                MT PLEASANT     SC   29465‐1792
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Name                  Address1                            Address2                       Address3                    Address4         City            State Zip
SEALOCK, TODD         SCHWARTZ GERALD A LAW OFFICES OF    2827 DUKE ST                                                                ALEXANDRIA       VA 22314‐4512
SEALS CHAVTZ          SEALS, CHAVTZ                       55 PUBLIC SQ STE 800                                                        CLEVELAND        OH 44113‐1909
SEALS GARY            SEALS, GARY
SEALS GARY            SEALS, RENEE
SEALS JR, HERBERT A   8300 N SANTA BARBARA DR RR 7                                                                                    MUNCIE          IN   47303
SEALS JR, MILTON      4515 SANFORD LN                                                                                                 FORT WAYNE      IN   46816‐2293
SEALS JR, ROBERT      25350 WAYCROSS                                                                                                  SOUTHFIELD      MI   48033‐6142
SEALS JR, THOMAS G    PO BOX 2204                                                                                                     GLASGOW         KY   42142‐2204
SEALS KAREN BETH      SEALS, KAREN BETH                   1010 LAMAR SUITE 1111                                                       HOUSTON         TX   77002
SEALS KAREN BETH      SEALS, PATRICIA                     1010 LAMAR SUITE 1111                                                       HOUSTON         TX   77002
SEALS THOMAS GLENN    ATTN ROBERT W PHILLIPS              C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                    EAST ALTON      IL   62024
                                                          ANGELIDES & BARNERD LLC      521

SEALS, ANNA L         5401 WEST PETTY RD                                                                                              MUNCIE          IN   47304
SEALS, ANNA L         5401 W PETTY RD                                                                                                 MUNCIE          IN   47304‐9569
SEALS, CHARLES E      17274 BENTLER ST APT 55                                                                                         DETROIT         MI   48219‐4709
SEALS, CHARLES W      3726 S WESTMONT AVE                                                                                             BLOOMINGTON     IN   47403‐9250
SEALS, CHAVTZ         13802 COATH AVE                                                                                                 CLEVELAND       OH   44120‐4636
SEALS, CLARA D        324 CARLTON ST                                                                                                  BUFFALO         NY   14204
SEALS, CLARA H        15650 TUNDRA POINTE                                                                                             NOBLESVILLE     IN   46060‐2240
SEALS, CLARDELL       PORTER & MALOUF PA                  4670 MCWILLIE DR                                                            JACKSON         MS   39206‐5621
SEALS, CLYDE W        20670 WOODRUFF RD                                                                                               ROCKWOOD        MI   48173‐9791
SEALS, CYNTHIA J      3432 W COUNTY RD 1400 S                                                                                         KOKOMO          IN   46901
SEALS, DONALD E       12671 NORTH PALMYRA ROAD                                                                                        NORTH JACKSON   OH   44451‐9727
SEALS, EDWARD         586 S GEBHART CHURCH RD                                                                                         MIAMISBURG      OH   45342‐3924
SEALS, EDWARD         586 SOUTH GEBHART CHURCH RD                                                                                     MIAMISBURG      OH   45342‐3924
SEALS, EDWARD H       1636 SHAFTESBURY RD                                                                                             DAYTON          OH   45406‐4142
SEALS, EUGENE         5025 LANGLEWOOD DR                                                                                              W BLOOMFIELD    MI   48322‐2016
SEALS, FRANKIE        1888 N WATER STREET                                                                                             MILWAUKEE       WI   53202
SEALS, GENE           7167 N BRAY RD                                                                                                  MOUNT MORRIS    MI   48458‐8989
SEALS, GREGORY L      111 CREAMER DRIVE                                                                                               CEDARVILLE      OH   45314‐5314
SEALS, GREGORY L      111 CREAMER DR                                                                                                  CEDARVILLE      OH   45314‐8506
SEALS, HELEN A        25350 WAYCROSS                                                                                                  SOUTHFIELD      MI   48033‐6142
SEALS, JAMIE L        4088 LINK DR                                                                                                    BRIGHTON        MI   48114‐8696
SEALS, JOE F          4372 INGLESIDE RD                                                                                               CLEVELAND       OH   44128‐3502
SEALS, JOSEPH R       1330 GLEN OAKS CT                                                                                               NORMAN          OK   73071‐1443
SEALS, KAREN BETH     DENENA & POINTS PC                  1776 YORKTOWN, SUITE 340                                                    HOUSTON         TX   77056
SEALS, LESTER B       GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                                SAGINAW         MI   48604‐2602
                                                          260
SEALS, LOLA M         323 N VANCE ST                                                                                                  SANFORD         NC   27330‐3877
SEALS, MARK A         500 LADD CIR                                                                                                    MOORE           OK   73160‐6132
SEALS, MILLICENT      448 DEEDS AVE                                                                                                   DAYTON          OH   45404‐1722
SEALS, ORVILLE        368 RIVA RIDGE TRL                                                                                              CORBIN          KY   40701‐8532
SEALS, ORVILLE T      12671 N PALMYRA RD                                                                                              NORTH JACKSON   OH   44451‐9727
SEALS, PATRICIA       DENENA & POINTS PC                  1776 YORKTOWN, SUITE 340                                                    HOUSTON         TX   77056
SEALS, PHYLLIS E      1636 SHAFTESBURY RD                                                                                             DAYTON          OH   45406‐4142
SEALS, RANDY L        616 FLOODED GUM ST                                                                                              ARLINGTON       TX   76002‐4587
SEALS, RANDY L.       616 FLOODED GUM ST                                                                                              ARLINGTON       TX   76002‐4587
SEALS, RAYMOND L      676 SAM MARTIN RD                                                                                               DANDRIDGE       TN   37725
SEALS, RICHARD C      PO BOX 14372                                                                                                    SAGINAW         MI   48601‐0372
SEALS, RUTHA L        40206 E NEVINS ROAD                                                                                             OAK GROVE       MO   64075‐9780
SEALS, SENOLIA M      406 S 21ST AVE                                                                                                  MAYWOOD         IL   60153‐1474
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Name                                  Address1                          Address2                       Address3   Address4                City                State Zip
SEALS, TRESSA                         5480 MISSISSIPPI DR                                                                                 FAIRFIELD            OH 45014‐2470
SEALS, URSHELL ANN HERSHEY,
SEALS, VERIES                         940 LIPSEY ST                                                                                       BROOKHAVEN          MS   39601‐2312
SEALS, WILLA D                        8504 S LAFLIN ST                                                                                    CHICAGO             IL   60620‐4713
SEALS, WILLARD G                      1518 BELL BROOK CT                                                                                  BLUFFTON            IN   46714‐1246
SEALS, WILLIAM R                      9380 FORNEY RD                                                                                      NEW LEBANON         OH   45345‐9609
SEALSCOTT, LISA                       1741 GINTER RD                                                                                      DEFIANCE            OH   43512‐9077
SEALSCOTT, LISA                       1741 GINTER ROAD                                                                                    DEFIANCE            OH   43512
SEALTECH SUPPLY INC                   7305 BRAMALEA RD UNIT 1                                                     MISSISSAUGA CANADA ON
                                                                                                                  L5S 1W4 CANADA
SEALY, BARBARA                        10237 HARTEL ROAD                                                                                   GRAND LEDGE         MI   48837‐9445
SEALY, BARBARA                        10237 HARTEL RD                                                                                     GRAND LEDGE         MI   48837‐9445
SEALY, ILA                            1120 TULIP ST                                                                                       GRAND LEDGE         MI   48837‐2208
SEALY, JAMES B                        313 SHELDON AVE                                                                                     FAIRCHANGE          PA   15436‐1073
SEALY, JOHN H                         46 PIERCES TAVERN ROAD                                                                              WELLFLEET           MA   02667‐7762
SEALY, JOHN L                         1120 TULIP ST                                                                                       GRAND LEDGE         MI   48837‐2208
SEALY, JUSTIN M                       633 KENDON DR                                                                                       LANSING             MI   48910‐5430
SEALY, LARRY A                        32 VILLAGE WAY                                                                                      BROOKLINE           MA   02445‐7218
SEALY, MICHAEL L                      PO BOX 32                                                                                           VERMONTVILLE        MI   49096‐0032
SEAMAN & GIOMETTI                     46A DENVER TECH CTR               7730 E BELLEVIEW AVE STE 102                                      GREENWOOD VILLAGE   CO   80111
SEAMAN ETHEL                          1 KENTUCKY WAY NO A                                                                                 WHITING             NJ   08759
SEAMAN JOSEPH (357380)                EARLY & STRAUSS                   420 LEXINGTON AVE RM 840                                          NEW YORK            NY   10170‐0840
SEAMAN JR, DONALD L                   5240 JONES RD                                                                                       NORTH BRANCH        MI   48461‐9705
SEAMAN JR, RICHARD L                  13582 LEFFINGWELL RD                                                                                BERLIN CENTER       OH   44401‐9605
SEAMAN LAWRENCE W (356264)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA   23510
                                                                        STREET, SUITE 600
SEAMAN SR, RICHARD L                  6130 GIBSON RD                                                                                      CANFIELD            OH 44406‐9605
SEAMAN WAYNE R (ESTATE OF) (482359)   WEITZ & LUXENBERG                 180 MAIDEN LANE                                                   NEW YORK            NY 10038

SEAMAN, BETTY L                       160 BARNHART RD                                                                                     MCCLELLANDTOWN      PA   15458‐1126
SEAMAN, BOBBIE                        33 CANDLELITE LN                                                                                    PONTIAC             MI   48340‐1603
SEAMAN, BRIAN L                       530 TANVIEW DR                                                                                      OXFORD              MI   48371‐4762
SEAMAN, CAROLYN A                     2603 ROCKY SPRINGS RD                                                                               BEAN STATION        TN   37708‐6610
SEAMAN, CHARLES                       160 BARNHART RD                                                                                     MC CLELLANDTOWN     PA   15458‐1126
SEAMAN, CHARLES A                     391 ATWOOD ST NW                                                                                    WARREN              OH   44483‐2116
SEAMAN, CLAUDE A                      9430 N LINDEN RD                                                                                    CLIO                MI   48420‐8554
SEAMAN, DEWAYNE K                     1515 E 123RD TER                                                                                    OLATHE              KS   66061‐3064
SEAMAN, DOUGLAS L                     222 LEE TER                                                                                         EAST SYRACUSE       NY   13057‐2728
SEAMAN, EDWARD L                      394 EAST AVE                                                                                        BROCKPORT           NY   14420‐1514
SEAMAN, ELWOOD W                      22330 ADORN AVE                                                                                     PT CHARLOTTE        FL   33952‐1901
SEAMAN, FLOYD V                       3003 MURDOCK RD                                                                                     MEDINA              NY   14103‐9454
SEAMAN, GARY J                        5101 NICHOLS RD                                                                                     SWARTZ CREEK        MI   48473‐8586
SEAMAN, GARY JOHN                     5101 NICHOLS RD                                                                                     SWARTZ CREEK        MI   48473‐8586
SEAMAN, GEORGE W                      2721 SWAN CV SE APT 106                                                                             KENTWOOD            MI   49512‐9047
SEAMAN, GEORGE W                      2721 SWAN COVE SE                 APT 106                                                           KENWOOD             MI   49512
SEAMAN, GEORGE WILLIS                 2721 SWAN CV SE PT 106                                                                              GRAND RAPIDS        MI   49512‐9047
SEAMAN, GERTRUDE M                    73 MOSELEY CIR                                                                                      FAIRPORT            NY   14450‐3350
SEAMAN, GREGORY H                     1613 CALLIE WAY DR                                                                                  FRANKLIN            TN   37064‐1134
SEAMAN, HOWARD G                      6515 N WEBSTER RD                                                                                   MOUNT MORRIS        MI   48458‐9340
SEAMAN, JAMES B                       1742 SANDY CIR                                                                                      CAPE CORAL          FL   33904‐9727
SEAMAN, JANICE                        PO BOX 42                                                                                           CARSON CITY         MI   48811‐0042
SEAMAN, JEAN E                        100 PUTNAN ST                                                                                       BRISTOL             CT   06010‐4989
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SEAMAN, JEAN E                100 PUTNAM ST                                                                                           BRISTOL              CT 06010
SEAMAN, JOHN J                3803 ORCHARD DR                                                                                         HIGHLAND             MI 48356‐1955
SEAMAN, JOSEPH                EARLY & STRAUSS                GRAYBAR BUILDING SUITE 840, 420                                          NEW YORK             NY 10170
                                                             LEXINGTON AVENUE
SEAMAN, JR,JAMES D            453 N PETERMAN RD                                                                                       GREENWOOD           IN 46142‐7320
SEAMAN, LAWRENCE S            1714 DILG LEAGUE DR                                                                                     SHREVEPORT          LA 71109‐1910
SEAMAN, LAWRENCE W            GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                              NORFOLK             VA 23510‐2212
                                                             STREET, SUITE 600
SEAMAN, LINDA D               3164 ROSELAWN ST                                                                                        COMMERCE TOWNSHIP   MI   48390‐1460
SEAMAN, NORMAN D              4802 GLENMORE DRIVE                                                                                     SARANAC             MI   48881
SEAMAN, PATRICIA JEAN         1010 MARCHAND ST                                                                                        BAY CITY            MI   48705‐4083
SEAMAN, PENNY                 391 ATWOOD ST NW                                                                                        WARREN              OH   44483
SEAMAN, RICHARD D             16702 SAVOIE ST                                                                                         LIVONIA             MI   48154‐3322
SEAMAN, RICHARD W             1337 LAKESHORE DR                                                                                       COLUMBIAVILLE       MI   48421
SEAMAN, RONALD E              2603 ROCKY SPRINGS RD                                                                                   BEAN STATION        TN   37708‐6610
SEAMAN, RONALD H              2727 E HIGGINS LAKE DR                                                                                  ROSCOMMON           MI   48653‐7623
SEAMAN, RONALD HERBERT        2727 E HIGGINS LAKE DR                                                                                  ROSCOMMON           MI   48653‐7623
SEAMAN, RONALD L              210 LOCHAVEN RD                                                                                         WATERFORD           MI   48327‐3834
SEAMAN, THOMAS E              749 BOXWOOD DR                                                                                          WARMINSTER          PA   18974‐2122
SEAMAN, TODD                  404 LATTINTOWN RD                                                                                       MARLBORO            NY   12542
SEAMAN, WAYNE R               WEITZ & LUXENBERG              180 MAIDEN LANE                                                          NEW YORK            NY   10038
SEAMAN, ZELDA B               9311 WHIPPLE SHORES DRIVE                                                                               CLARKSTON           MI   48348‐2161
SEAMAN‐PATRICK/DETRO          2000 HOWARD ST                                                                                          DETROIT             MI   48216‐1822
SEAMANDS HORTON, BARBARA A.   709 E 120TH ST                                                                                          KANSAS CITY         MO   64146‐1125
SEAMANS, KENNETH C            39759 MEMORY LN                                                                                         SELFRIDGE ANGB      MI   48045‐1761
SEAMANS, RICHARD E            1111 MCCORMICK ST                                                                                       BAY CITY            MI   48708‐8315
SEAMANS, STEPHEN E            6355 LAKESHORE RD                                                                                       CICERO              NY   13039‐8827
SEAMES, BONNIE N              1472 DALEY RD                                                                                           LAPEER              MI   48446‐8720
SEAMES, HOWARD P              PO BOX 314                                                                                              COLUMBIAVILLE       MI   48421‐0314
SEAMES, RANDALL R             770 21ST ST SW                                                                                          NAPLES              FL   34117‐3214
SEAMON ALBRITTON              7509 BEATY AVE                                                                                          FORT WAYNE          IN   46809‐2879
SEAMON ESTELLE A (346244)     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                              NORFOLK             VA   23510
                                                             STREET, SUITE 600
SEAMON, ESTELLE A             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                              NORFOLK             VA 23510‐2212
                                                             STREET, SUITE 600
SEAMON, HENRY J               2750 GRAY CIR                                                                                           COLUMBIA            TN   38401‐5197
SEAMON, JAMES A               9906 N LONG LAKE RD                                                                                     TRAVERSE CITY       MI   49684‐9635
SEAMON, JAMES A               9906 NORTH LONG LAKE ROAD                                                                               TRAVERSE CITY       MI   49684‐9635
SEAMON, JAMES J               1023 OAK ST                                                                                             MEDINA              OH   44256‐2529
SEAMON, JOSEPH R              19385 GARY RD                                                                                           CHESANING           MI   48616‐9526
SEAMON, KENNETH A             STOCKEY & KELLY                429 FORBES AVE STE 909                                                   PITTSBURGH          PA   15219
SEAMON, KENNETH A             SHALOV STONE & BONNER          276 5TH AVE RM 704                                                       NEW YORK            NY   10001
SEAMON, KENNETH A             HOEFFNER BILEK & EIDMAN LLP    440 LOUISIANA ST STE 720                                                 HOUSTON             TX   77002
SEAMON, LEONARD               3532 BLAISDELL AVE                                                                                      MINNEAPOLIS         MN   55408‐4319
SEAMON, ROBERT F              7570 BURT RD                                                                                            CHESANING           MI   48616‐9457
SEAMON, RONALD A              8189 SOUTHWOOD DR                                                                                       SAGINAW             MI   48609‐5132
SEAMON, RONALD ALLEN          8189 SOUTHWOOD DR                                                                                       SAGINAW             MI   48609‐5132
SEAMON, STEVEN C              1114 E OLIVER ST                                                                                        OWOSSO              MI   48867‐9694
SEAMONS, BETTY J              930 SPRING CT SW                                                                                        DECATUR             AL   35603‐1233
SEAMONS, DARWIN L             10951 SE KATHY LN                                                                                       BORING              OR   97009‐9408
SEAMSTER MARTHA ANN           SEAMSTER MARTHA ANN            C/O EDWARD O MOODY PA             801 WEST 4TH STREET                    LITTLE ROCK         AR   72201
SEAMSTER, MARTHA ANN          MOODY EDWARD O                 801 W 4TH ST                                                             LITTLE ROCK         AR   72201‐2107
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Name                                 Address1                         Address2             Address3                   Address4                   City                 State Zip
SEAMSTER, RUBY J                     PO BOX 985                                                                                                  MINDEN                LA 71058‐0985
SEAMUS MC GRATH                      774 TURTLE CREST DR                                                                                         IRVINE                CA 92603‐4857
SEAN
SEAN A BELYEU                        5223 WHALEY DR.                                                                                             DAYTON               OH    45427
SEAN A HUTTON                        2329 TERRYLYNN AVE                                                                                          DAYTON               OH    45439‐2770
SEAN BARB                            2164 KNOLLWOOD ST                                                                                           AUBURN HILLS         MI    48326‐3121
SEAN BARTOLUCCI                      1110 CELINA CT                                                                                              CANTON               MI    48187‐5001
SEAN C BUTLER                        48 NEW BURLINGTON RD                                                                                        WILMINGTON           OH    45177
SEAN C HUFFMAN                       4326 SILVERBERRY AVE                                                                                        DAYTON               OH    45424‐5008
SEAN C LIKENS                        2457 NORTHVIEW DR                                                                                           CORTLAND             OH    44410‐1743
SEAN C WILLIAM                       9531 LAKESIDE DR                                                                                            YPSILANTI            MI    48197‐3033
SEAN C. SOCKOL
SEAN CAMPANILE                       4126 THACKIN DR                                                                                             LANSING              MI    48911‐1919
SEAN CAMPBELL                        2203 JEFFERSON CT                                                                                           FRANKLIN             TN    37064‐4914
SEAN CARON                           451 N ELMS RD                                                                                               FLUSHING             MI    48433‐1423
SEAN CARPENTER                       1568 JEWELL RD                                                                                              MILAN                MI    48160‐9530
SEAN CONWAY                          4401 SILVER LAKE ROAD                                                                                       LINDEN               MI    48451‐8915
SEAN COX
SEAN CUNNINGHAM                      1071 LARKSPUR LOOP                                                                                          JACKSONVILLE         FL    32259‐4306
SEAN D BURKS                         2950 HIGHFOREST LN APT 223                                                                                  CINCINNATI           OH    45223‐1305
SEAN D ELLISON                       2530 CINNAMON RIDGE COURT                                                                                   MIAMI TOWNSHIP       OH    45342
SEAN D HAYES                         9 HUNTER CV                                                                                                 BYRAM                MS    39272‐‐ 64
SEAN D KILLINGSWORTH                 7501 DIAL DR                                                                                                HUBER HEIGHTS        OH    45424
SEAN D MILLEDGE                      195 W KENNETT RD APT 307                                                                                    PONTIAC              MI    48340‐2682
SEAN DAILEY                          95 W ERIE ST                                                                                                JEFFERSON            OH    44047‐1332
SEAN DANIELS                         LEE BROWN                        THE BROWN LAW FIRM   750 ST PAUL STREET SUITE                              DALLAS               TX    75201
                                                                                           1680
SEAN DANIELS AS NEXT FRIEND OF       MICHELLE DANIELS, INDIVIDUALLY   ATTN LEE BROWN       THE BROWN LAW FIRM         750 ST PAUL STREET SUITE   DALLAS                TX   75201
MICHELLE DANIELS AND/OR                                                                                               1680
SEAN DANIELS AS NEXT FRIEND OF TESSA ATTN LEE BROWN                   THE BROWN LAW FIRM   750 ST PAUL STREET SUITE                              DALLAS                TX   75201
DANIELS A MINOR                                                                            1680
SEAN DAVIS                           1320 E HARVARD AVE                                                                                          FLINT                MI    48505‐1759
SEAN DETWILER                        57 SUNSET RD N                                                                                              MANSFIELD            OH    44906‐2273
SEAN DILLON                          19820 MAXINE ST                                                                                             SAINT CLAIR SHORES   MI    48080‐1729
SEAN DUFFY                           11592 SARA ANN DR                                                                                           DEWITT               MI    48820‐7773
SEAN DUNCAN                          4602 N REDWOOD DR                                                                                           JANESVILLE           WI    53548‐8678
SEAN E STERNTHAL                     3549 B IVY HILL CIRCLE                                                                                      CORTLAND             OH    44410‐9386
SEAN EARL                            12280 ALCOY DR                                                                                              FENTON               MI    48430‐9549
SEAN ERAMI
SEAN F WILLIAMSON                    25991 RAVENNA RD                                                                                            MISSION VIEJO        CA    92692
SEAN FARKAS                          PO BOX 13003                                                                                                TOLEDO               OH    43613‐0003
SEAN FINEGAN                         6696 TREE KNOLL DR                                                                                          TROY                 MI    48098‐2091
SEAN FINNELL                         11808 PINYON PINE DR                                                                                        KELLER               TX    76248‐7724
SEAN G KLEMM                         4433 BURCHDALE ST.                                                                                          KETTERING            OH    45440‐1446
SEAN G PRICE                         201 WINTER LN                                                                                               CORTLAND             OH    44410‐1131
SEAN GARRISON                        5166 CYPRESS CIR                                                                                            GRAND BLANC          MI    48439‐8692
SEAN GLEASON                         6410 ODESSA DR                                                                                              WEST BLOOMFIELD      MI    48324‐1326
SEAN GRAHAM                          355 CLINTON AVE APT 11E                                                                                     BROOKLYN             NY    11238‐1134
SEAN GREEN                           3117 MACKIN RD                                                                                              FLINT                MI    48504‐3266
SEAN GRIFFITH                        3282 14TH AVE                                                                                               ANOKA                MN    55303‐1325
SEAN GRIGGS,ESQ, BARNES & THORNBURG 11 S MERIDIAN ST                                                                                             INDIANAPOLIS         IN    46204‐3535
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Name                Address1                         Address2               Address3      Address4         City               State Zip
SEAN GRIMES         139 ENGLAND DR                                                                         O FALLON            MO 63366‐1159
SEAN HARRINGTON     6811 LONGWORTH DR                                                                      WATERFORD           MI 48329‐1122
SEAN HARRIS         440 SALEM ST                                                                           ELMER               NJ 08318‐2213
SEAN HEALEY         781 TOWNSEND RD                                                                        GROTON              MA 01450‐1144
SEAN HEIL           308 E 21ST ST                                                                          KEARNEY             MO 64060‐7605
SEAN HILL           6169 PROSPECT ST                                                                       NEWFANE             NY 14108‐1312
SEAN HOWIE          4401 CINDY DR                                                                          NEWARK              DE 19702‐8102
SEAN J WIDMER       1140 AVOCET LN                                                                         KNOXVILLE           TN 37922
SEAN JACKSON        1495 EDENWOOD DR                                                                       BEAVERCREEK         OH 45434‐6838
SEAN JAMES          3809 CLAIRMONT ST                                                                      FLINT               MI 48532‐5227
SEAN JENKINS        12410 W 100TH ST                                                                       LENEXA              KS 66215‐1950
SEAN K ALLEN        45 W LONGFELLOW AVE                                                                    PONTIAC             MI 48340‐1827
SEAN K EMERSON      3817 NE 41ST ST                                                                        VANCOUVER           WA 98661
SEAN KEEL           6024 W BENALEX DR                                                                      TOLEDO              OH 43612‐4447
SEAN KEMP           3813 HARPER RD APT B                                                                   MASON               MI 48854
SEAN KIRCHGESSNER   4217 COVENTRY DR                                                                       KOKOMO              IN 46902‐9409
SEAN KOLODGE        38974 VENETIAN DR                                                                      HARRISON TWP        MI 48045‐5804
SEAN L DETWILER     57 SUNSET RD N                                                                         MANSFIELD           OH 44906‐2273
SEAN LAHOUSSE       114 CHERRY CT                                                                          YPSILANTI           MI 48198‐3069
SEAN LOLLEY         PO BOX 3153                                                                            ADRIAN              MI 49221‐6453
SEAN LUCAN          G3285 N CENTER RD                                                                      FLINT               MI 48506‐2073
SEAN M CAISER       6071 CURSON DR                                                                         TOLEDO              OH 43612‐4012
SEAN M COOMER       775 BROWNING                                                                           ENGLEWOOD           OH 45322‐2032
SEAN M FOOTE        214 BROWN AVE                                                                          SYRACUSE            NY 13211‐1722
SEAN M GOOSLIN      1172 E HUMPHREY AVE                                                                    FLINT               MI 48505‐1526
SEAN M GRAY         30 LA FORCE ST                                                                         ROCHESTER           NY 14621‐4510
SEAN M GRAY‐LEWIS   120 SEWARD ST APT 402                                                                  DETROIT             MI 48202‐4447
SEAN M HASTY        4533 BIGGER RD                                                                         KETTERING           OH 45440
SEAN M LANGE        312 MAYFIELD ST                                                                        TILTON               IL 61833‐7461
SEAN M MCHALE       PO BOX 320365                                                                          FLINT               MI 48532‐0007
SEAN M MCKAY        2 E ROBBINS AVE                                                                        FAIRBORN            OH 45324
SEAN MACDONALD      7400 AMSTERDAM LN                                                                      ARLINGTON           TX 76002‐3479
SEAN MACKINNON      4800 DE MAISONNEUVE BLVD WEST    WESTMOUNT QC H3Z 1M2   CANADA
SEAN MCFARLIN       413 GREEN ST                                                                           BELLEVUE           OH 44811‐1227
SEAN MCGANN
SEAN MCGEE          7419 MARSLAND LN                                                                       ARLINGTON           TX   76001‐7391
SEAN MCGROGAN       617 W LIBERTY ST APT 1                                                                 ANN ARBOR           MI   48103‐4384
SEAN MEACHEM        1007 N OAKLEY ST                                                                       SAGINAW             MI   48602‐4658
SEAN MOONEY         11073 OAKWOOD DR                                                                       BYRON               MI   48418‐9087
SEAN MUNE
SEAN NAGODA         30079 RICHMOND HL                                                                      FARMINGTON HILLS   MI 48334‐2334
SEAN NESTOR         4253 DEVONSHIRE DR                                                                     BOARDMAN           OH 44512‐1030
SEAN NIELSEN
SEAN O'CONNELL      4 HUCKLEBERRY LN                                                                       NEW EGYPT          NJ    08533‐2800
SEAN O'DONOVAN      16453 CHATHAM DR                                                                       MACOMB             MI    48044‐4071
SEAN O'KEEFE        19503 SCENIC HARBOUR DR                                                                NORTHVILLE         MI    48167‐1978
SEAN O'LOUGHLIN     9133 BOWMAN FARMS LN                                                                   SYLVANIA           OH    43560‐9242
SEAN P HARWOOD      2080 VALLEY FORGE DR APT D                                                             DAYTON             OH    45440
SEAN P MERCHANT     12 WINTERBERRY LOOP                                                                    W HENRIETTA        NY    14586‐9437
SEAN P O'CONNELL    4 HUCKLEBERRY LN                                                                       NEW EGYPT          NJ    08533‐2800
SEAN P STAMM        6 MANSION HOUSE CT                                                                     WEST CARROLLTON    OH    45449
SEAN PALATKA        4454 KLAIS DR                                                                          CLARKSTON          MI    48348‐2372
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Name                              Address1                          Address2           Address3         Address4         City            State Zip
SEAN PAUL                         1768 MOLLY DRIVE                                                                       BIRMINGHAM       AL 35235
SEAN PAYNE                        4805 BERT DR                                                                           MONROEVILLE      PA 15146‐3609
SEAN POWER                        516 SW 149TH PL                                                                        OKLAHOMA CITY    OK 73170‐7502
SEAN PRESTON                      361 GRANDVIEW CIRCLE                                                                   COLUMBIA         SC 29229‐9565
SEAN R DAVIS                      3625 OSBORN RD                                                                         MEDWAY           OH 45341
SEAN R DOWNING                    1647 OTTAWA DR                                                                         XENIA            OH 45385‐4333
SEAN R JOHNSON                    248 COLONIAL DRIVE                                                                     WEBSTER          NY 14580‐1444
SEAN R LACKEY                     202 B N. MAIN ST.                                                                      UNION            OH 45322
SEAN R WELLS                      1662 W 2ND ST                                                                          XENIA            OH 45385‐4206
SEAN RICHARDSON                   6840 STATE ST                                                                          SALEM            OR 97317
SEAN ROYSE                        6559 GREENE HAVEN DR                                                                   CLARKSTON        MI 48348‐4419
SEAN SERAFINI                     510 SHADY LN                                                                           OSSIAN           IN 46777‐9312
SEAN SHAHMIRI
SEAN SHARP                        1437 GRABER DR                                                                         LAKEWOOD        OH   44107‐3216
SEAN SIKES                        21507 W 70TH ST                                                                        SHAWNEE         KS   66218‐9685
SEAN SIMPSON                      6741 BARABEAU DRIVE                                                                    TROY            MI   48085‐1214
SEAN SLADE                        15335 ARTESIAN ST                                                                      DETROIT         MI   48223‐2266
SEAN SMITH                        8203 HONEY LN                                                                          CANTON          MI   48187‐4101
SEAN STELZER                      PO BOX 9022                       SHANGHAI                                             WARREN          MI   48090‐9022
SEAN T GRAPE                      854 LATTA RD                                                                           ROCHESTER       NY   14612‐4016
SEAN T PICKSTONE                  4620 JOANN LN                                                                          YOUNGSTOWN      OH   44505‐1167
SEAN T ROBERTS                    1221 EPWORTH AVE                                                                       DAYTON          OH   45410‐2613
SEAN TACKETT                      6904 FOX HILLS RD                                                                      CANTON          MI   48187‐2461
SEAN TATE                         126 S MAGNOLIA AVE                                                                     LANSING         MI   48912‐3033
SEAN TRACY                        375 HARTFORD AVE                                                                       BUFFALO         NY   14223‐2314
SEAN TUOHY                        8332 OAKLEIGH RD                                                                       PARKVILLE       MD   21234‐3835
SEAN TURNER
SEAN UNANGST                      17264 E STREET RD                                                                      NEW LOTHROP     MI   48460‐9614
SEAN URBAN                        112 MCKEESPORT RD                                                                      ELIZABETH       PA   15037‐1651
SEAN VANDERELZEN                  3198 SHAWNEE LN                                                                        WATERFORD       MI   48329‐4345
SEAN VASQUEZ                      2287 HOULIHAN RD                                                                       SAGINAW         MI   48601‐9756
SEAN W GRIFFITHS                  3724 HOAGLAND BLACKSTUB RD                                                             CORTLAND        OH   44410‐9214
SEAN W REED                       3323 E. SHILOH SPRINGS RD, APT.                                                        TROTWOOD        OH   45426
SEAN W SMIDDY                     172 MINNICK ST                                                                         FRANKLIN        OH   45005‐2323
SEAN WATSON                       1608 NE 81ST ST                                                                        KANSAS CITY     MO   64118‐8245
SEAN WATTON                       1681 FLEETWOOD DR                                                                      TROY            MI   48098‐2512
SEAN WAUGH                        158 FLORA DR                                                                           BEDFORD         OH   44146‐2014
SEAN WHITAKER                     8815 FERRY RD                                                                          GROSSE ILE      MI   48138‐1560
SEAN WRIGHT                       1221 STARCROSS DR                                                                      INDIANAPOLIS    IN   46239‐8605
SEAN YATES
SEAN YOUNG
SEANN M TAULBEE                   1515 S MARSHALL RD                                                                     MIDDLETOWN      OH   45044‐6829
SEANOR, DAVID J                   5025 TENSAS DR                                                                         BOSSIER CITY    LA   71111‐2538
SEANOR, DAVID JOHN                5025 TENSAS DR                                                                         BOSSIER CITY    LA   71111‐2538
SEANOR, MICHELLE M                668 CARNIVAL DR                                                                        PITTSBURGH      PA   15239
SEAOO                             1100 WEST 9TH ST                                                                       CLEVELAND       OH   44113
SEAPARK INDUSTRIAL DRY CLEANERS
SEAQUIST MARK                     43 PARK DR N                                                                           STATEN ISLAND   NY   10314‐5701
SEAR, LEONARD                     PO BOX 770                                                                             PRUDENVILLE     MI   48651‐0770
SEARA, SUZANNE D                  4477 NOVADO COURT                                                                      NAPLES          FL   34109‐3341
SEARA, SUZANNE D                  4477 NOVATO CT                                                                         NAPLES          FL   34109‐3341
SEARCEY, CHARLES E                5780 S WHEELOCK RD                                                                     WEST MILTON     OH   45383‐8773
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Name                             Address1                        Address2                      Address3   Address4         City               State Zip
SEARCEY, LINDA Y                 2723 RALSTON AVE                                                                          INDIANAPOLIS        IN 46218‐2653
SEARCH ASSOCIATES INTL CO        ATTN: CHARLES BRADLEY           468 WEYBRIDGE DR                                          BLOOMFIELD HILLS    MI 48304‐1078
SEARCH I I, RICHARD N            1000 WADDELL AVE                                                                          CLAIRTON            PA 15025‐1549
SEARCH II, RICHARD N             1000 WADDELL AVE                                                                          CLAIRTON            PA 15025‐1549
SEARCH PLUS INTERNATIONAL        25882 ORCHARD LAKE RD STE 207                                                             FARMINGTON HILLS    MI 48336‐1295
SEARCH, EDMUND F                 1809 HILLCREST ST                                                                         LANSING             MI 48910‐0311
SEARCY COUNTY SHERIFF            PO BOX 812                                                                                MARSHALL            AR 72650‐0812
SEARCY DENNEY, AS ATTORNEY FOR   SEARCY DENNEY LAW FIRM          2139 PALM BEACH LAKES BLVD                                WEST PALM BEACH     FL 33409
STEVETTE DUKES
SEARCY GERALD B (626762)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                 STREET, SUITE 600
SEARCY JR, FRANK                 4804 PUMPKIN LEAF DR                                                                      KOKOMO             IN    46902‐2851
SEARCY JR, GARY                  1110 SIBLEY RD                                                                            TOLEDO             OH    43615‐4659
SEARCY MACON                     20811 BEAR VALLEY RD STE D                                                                APPLE VALLEY       CA    92308‐6900
SEARCY SANFORD                   15807 PERONE CREEK LN                                                                     LOXLEY             AL    36551‐8658
SEARCY, ALLEAN                   2975 DEVONSHIRE DRIVE                                                                     FLORISSANT         MO    63033‐1319
SEARCY, ANNA J                   5365 STATE ROAD 252 252                                                                   MARTINSVILLE       IN    46151
SEARCY, BARBARA A                12697 BRIAR PATCH RD                                                                      HOUSTON            TX    77077‐2331
SEARCY, BESSIE L                 7159 BURNING BUSH LN 76                                                                   FLUSHING           MI    48433
SEARCY, CANDY M                  1111 GINGHAMSBURG RD                                                                      TIPP CITY          OH    45371‐9125
SEARCY, CHARLES E                4300 E BAY DR APT 124                                                                     CLEARWATER         FL    33764
SEARCY, CHARLES E                3410 HICKORY ST                                                                           INKSTER            MI    48141‐2240
SEARCY, CHARLES R                2 COUNTY ROAD 82                                                                          GOLDEN             MS    38847‐7728
SEARCY, DALE R                   9774 N COONEY RD                                                                          MOORESVILLE        IN    46158
SEARCY, DEBORAH A                500 MIA AVE                                                                               DAYTON             OH    45427‐3003
SEARCY, DIANA M                  5207 E. WALNUT DR.                                                                        MOORESVILLE        IN    46158‐6128
SEARCY, DIANA M                  1109 DELWOOD DR                                                                           MOORESVILLE        IN    46158‐1115
SEARCY, EDWIN R                  926 WILSON RD                                                                             WILMINGTON         DE    19803‐4018
SEARCY, EDWIN RONALD             926 WILSON RD                                                                             WILMINGTON         DE    19803‐4018
SEARCY, FLOYD L                  1109 DELWOOD DR                                                                           MOORESVILLE        IN    46158
SEARCY, GABLE                    620 N WISCONSIN AVE                                                                       OKLAHOMA CITY      OK    73117‐3862
SEARCY, GARY                     34305 PINEWOODS CIR APT 206                                                               ROMULUS            MI    48174‐8227
SEARCY, GERALD B                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA    23510‐2212
                                                                 STREET, SUITE 600
SEARCY, HARRY                    5731 WINSTON DR                                                                           INDIANAPOLIS        IN   46226‐2325
SEARCY, HELEN
SEARCY, JAMES E                  7159 BURNING BUSH LN                                                                      FLUSHING           MI    48433‐2292
SEARCY, JAMES R                  62182 YORKTOWN DR UNIT 1                                                                  SOUTH LYON         MI    48178‐1096
SEARCY, JERRY D                  157 ANTIOCH CHURCH RD                                                                     CARROLLTON         GA    30117‐9658
SEARCY, KATRINA                  18603 WISCONSIN                                                                           DETROIT            MI    48221
SEARCY, KENDRA                   567 LOWELL ST                                                                             PONTIAC            MI    48340‐3018
SEARCY, LARRY H                  BOONE ALEXANDRA                 205 LINDA DR                                              DAINGERFIELD       TX    75638‐2107
SEARCY, LESTER L                 4048 W MONROE ST APT 1                                                                    CHICAGO            IL    60624
SEARCY, LINDA A                  23401 GEOFFREY CT                                                                         OAK PARK           MI    48237‐2012
SEARCY, LOUISE                   276 HUGHES AVE                                                                            PONTIAC            MI    48341‐2448
SEARCY, LOUISE                   276 HUGHES                                                                                PONTIAC            MI    48341‐2448
SEARCY, MARY D                   886 W WEBB RD                                                                             MINERAL RIDGE      OH    44440‐9333
SEARCY, MARY D                   886 WEBB RD                                                                               MINERAL RIDGE      OH    44440‐9333
SEARCY, MARY E                   67 ANGELS LNDG                                                                            ELLIJAY            GA    30540‐6737
SEARCY, MICHAEL D                7505 E 52ND TER                                                                           KANSAS CITY        MO    64129‐2338
SEARCY, MILDRED P                2647 YALE TER                                                                             DECATUR            GA    30032‐6469
SEARCY, PHYLLIS M                4804 PUMPKIN LEAF DR                                                                      KOKOMO             IN    46902‐2851
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Name                                Address1                             Address2                      Address3                  Address4            City             State Zip
SEARCY, REGINALD R                  6143 FLOWERDAY DR                                                                                                MOUNT MORRIS      MI 48458‐2811
SEARCY, RONALD                      268 DELLWOOD AVE                                                                                                 PONTIAC           MI 48341‐2737
SEARCY, RUSSELL                     PARRISH, JAMES R                     9401 LEE HWY STE 206                                                        FAIRFAX           VA 22031‐1803
SEARCY, SHARIEKA B                  1110 SIBLEY RD                                                                                                   TOLEDO            OH 43615
SEARCY, SHARIEKA BRIANNA            1110 SIBLEY RD                                                                                                   TOLEDO            OH 43615
SEARCY, STEPHEN P                   7711 PLATINI PL                                                                                                  INDIANAPOLIS      IN 46214‐2360
SEARCY, TAMIKA R                    1628 WEST GRAND AVENUE                                                                                           DAYTON            OH 45402‐5838
SEARCY, TERRENCE D                  312 CHERYL COURT                                                                                                 DAYTON            OH 45415‐2119
SEARCY, ZADA E                      PO BOX 1462                                                                                                      MANCHESTER        TN 37349‐4462
SEARD, LINDA M                      5601 NW 87TH TER APT 227                                                                                         KANSAS CITY       MO 64154‐2472
SEAREA RUSSELL JR.                  7151 WARNER ST                                                                                                   ALLENDALE         MI 49401‐8033
SEARFOSS, CARL E                    PO BOX 88                                                                                                        CONTINENTAL       OH 45831‐0088
SEARFOSS, DONALD E                  169 W BRADFORD RD                                                                                                MIDLAND           MI 48640‐9516
SEARFOSS, GEORGE T                  4686 ELM DR                                                                                                      WEST BRANCH       MI 48661‐9676
SEARFOSS, GERARD B                  4 BLUE HILLS TER                                                                                                 GREEN BROOK       NJ 08812‐2303
SEARFOSS, JAMES D                   PO BOX 494                                                                                                       EAST LIVERPOOL    OH 43920‐5494
SEARFOSS, JANIE                     710 NICHOLAS ST                                                                                                  DEFIANCE          OH 43512‐1550
SEARFOSS, JANIE A.                  18026 ROAD 232                                                                                                   CECIL             OH 45821‐9505
SEARFOSS, JERALD A                  3880 N THREE RIVERS RD                                                                                           GLADWIN           MI 48624‐8345
SEARFOSS, LEONA                     1480 ELDON CT                                                                                                    GLADWIN           MI 48624‐9634
SEARFOSS, ROBERT E                  PO BOX 201                           103 W. GROVE ST                                                             CONTINENTAL       OH 45831‐0201
SEARFOSS, ROBERT S                  4409 ROAD 12                                                                                                     LEIPSIC           OH 45856‐9443
SEARFOSS, ROBERT SHAWN              4409 ROAD 12                                                                                                     LEIPSIC           OH 45856‐9443
SEARI HENDRICK                      9085 MCCABE CT NE                                                                                                ADA               MI 49301‐8850
SEARI R HENDRICK                    9085 MCCABE CT NE                                                                                                ADA               MI 49301‐8850
SEARIDERS TRADING INC               LOMBARD ODIER DARIER HENTSCH & CIE   ATTN CHRISTIAN WIDMER         RUE DE 10 CORRATERIE 11   1204 GENEVA
                                                                                                                                 SWITZERLAND
SEARIGHT, ANGELINE M                3445 HILL LANE                                                                                                   ACWORTH          GA   30102‐1596
SEARIGHT, DEBBIE                    6104 REGER DRIVE                                                                                                 LOCKPORT         NY   14094
SEARIGHT, JOHN G                    6583 PLUMB DR                                                                                                    CLARKSTON        MI   48346
SEARIGHT, PEGGY A                   2109 GLENDALE AVE                                                                                                FLINT            MI   48503‐2136
SEARIGHT, RANDALL G                 5755 CORUNNA AVE                                                                                                 CLARKSTON        MI   48346‐3405
SEARING, ANTHONY D                  2 BEECHWOOD DR                                                                                                   MORRISONVILLE    NY   12962
SEARL, MICHAEL A                    6319 MONROE CT                                                                                                   BELLEVILLE       MI   48111‐4207
SEARLE HOWARD B (626763)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                 NORFOLK          VA   23510
                                                                         STREET, SUITE 600
SEARLE, CHRISTIE L                  1270 ALA KAPUNA ST APT 304                                                                                       HONOLULU         HI 96819‐1225
SEARLE, COLLEEN                     1055 RIMROCK CYN                                                                                                 SHELLEY          ID 83274‐5066
SEARLE, COLLEEN                     PAULSON COLETTI TRIAL ATTORNEYS PC   1000 SW BROADWAY STE 1660                                                   PORTLAND         OR 97205‐3068

SEARLE, HOWARD B                    GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                 NORFOLK          VA 23510‐2212
                                                                         STREET, SUITE 600
SEARLE, LINDA L                     5114 BENSETT TRL                                                                                                 DAVISON          MI 48423‐8766
SEARLE, MICHAEL L                   1270 ALA KAPUNA ST APT 304                                                                                       HONOLULU         HI 96819‐1225
SEARLE, ROBERT E                    C/O GOLDENBERG HELLER ANTOGNOLI &    2227 S STATE RTE 157                                                        EDWARDSVILLE     IL 62025
                                    ROWLAND P C
SEARLES JR, HERBERT H               1315 PARK ST                                                                                                     MANISTEE         MI   49660‐2543
SEARLES JR, JAMES                   11433 LAING ST                                                                                                   DETROIT          MI   48224‐1554
SEARLES TERRY                       SEARLES, TERRY                       126 MACK RD                                                                 OSWEGO           NY   13126‐6390
SEARLES VALLEY COMMUNITY SERVICES   DRISCOLL & REYNOLDS                  6960 MAGNOLIA AVE STE 101                                                   RIVERSIDE        CA   92506‐2835
COUNSEL
                                     09-50026-mg               Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                                Address1                           Address2                      Address3   Address4             City              State Zip
SEARLES VALLEY COMMUNITY SERVICES   6960 MAGNOLIA AVE STE 101                                                                        RIVERSIDE          CA 92506‐2835
COUNSEL
SEARLES, ALAN G                     3342 N TIPSICO LAKE RD                                                                           HARTLAND          MI   48353‐2419
SEARLES, BARBARA S                  2161 MOUNT HOPE LN                                                                               TOMS RIVER        NJ   08753‐1438
SEARLES, BARBARA S                  2161 MT HOPE LANE                                                                                TOMS RIVER        NJ   08753‐1438
SEARLES, DARLENE                    6068 WEDDEL ST                                                                                   TAYLOR            MI   48180‐1331
SEARLES, DONALD M                   30 MARIE LN                                                                                      CHELSEA           ME   04330‐1280
SEARLES, EDWARD V                   5044 FISHER ST                                                                                   ZEPHYRHILLS       FL   33541‐6919
SEARLES, EDWARD V                   5055 FISHER ST                                                                                   ZEPHYRHILLS       FL   33541
SEARLES, FRED L                     6392 S 1000 W                                                                                    MENTONE           IN   46539‐9776
SEARLES, GARY A                     14900 MYERS RD                                                                                   DEWITT            MI   48820‐8141
SEARLES, GENE I                     6089 S 600 W                                                                                     WARREN            IN   46792‐9792
SEARLES, GLEN E                     920 EVERGREEN AVE                                                                                HUNTINGTON        IN   46750‐4025
SEARLES, JACQUELYN R                1051 GRENELEFE CT                                                                                DECATUR           IN   46733‐3315
SEARLES, JESSIE                     APT 4                              231 PALMDALE DRIVE                                            BUFFALO           NY   14221‐4022
SEARLES, JESSIE                     231 PALMDALE DR APT 4                                                                            WILLIAMSVILLE     NY   14221‐4022
SEARLES, KELLY A                    861 STAG THICKET LN                                                                              MASON             MI   48854‐1428
SEARLES, KELLY ANN                  861 STAG THICKET LN                                                                              MASON             MI   48854‐1428
SEARLES, KENNETH R                  14182 TURNER RD                                                                                  DE WITT           MI   48820‐9024
SEARLES, LOUIS J                    37614 SUSAN ST                                                                                   STERLING HTS      MI   48310‐3828
SEARLES, MARSHALL W                 51102 BETTS ROAD RD1                                                                             WELLINGTON        OH   44090
SEARLES, ROGER G                    9133 S 900 W35                                                                                   LA FONTAINE       IN   46940‐9608
SEARLES, SANDRA K.                  803 BURWICK TRACE                                                                                GREENWOOD         IN   46143‐1908
SEARLES, SANDRA K.                  803 BURWICK TRCE                                                                                 GREENWOOD         IN   46143‐1908
SEARLES, SCOTT R                    228 E FREDERICK AVE                                                                              LANSING           MI   48906‐3226
SEARLES, STANLEY J                  1484 E WALKER RD                                                                                 SAINT JOHNS       MI   48879‐9706
SEARLES, TERRY                      126 MACK RD                                                                                      OSWEGO            NY   13126‐6390
SEARLEY, RICHARD F                  371 PEBBLEVIEW DR                                                                                ROCHESTER         NY   14612‐4122
SEARLEY, STEVEN J                   14 WOODBRIAR LN                                                                                  ROCHESTER         NY   14624‐4136
SEARLS, ANN M                       429 E MANITOU RD                                                                                 HILTON            NY   14468‐8938
SEARLS, ERROL L                     1026 LITTLE SIXTEEN MILE                                                                         SOUTHSIDE         WV   25187
SEARLS, JOHNNY E                    977 UNION BLVD                                                                                   CLAYTON           OH   45315
SEARLS, KENNETH R                   4526 E WOOD ST                                                                                   PHOENIX           AZ   85040‐9206
SEARLS, ROBERT E                    1624 PALM ST UNIT 123                                                                            LAS VEGAS         NV   89104‐4711
SEARLS, TERRY A                     BOONE ALEXANDRA                    205 LINDA DR                                                  DAINGERFIELD      TX   75638‐2107
SEARRY, WALTER                      30 HOFFMAN DR                                                                                    CALIFON           NJ   07830‐4331
SEARS ALSTON JR                     2850 DELK RD SE APT 5C                                                                           MARIETTA          GA   30067
SEARS CANADA INC
SEARS CANADA INC.                   222 JARVIS ST D628                                                          TORONTO ON M5B 2B8
                                                                                                                CANADA
SEARS DENNIS (644146)               MOTLEY RICE                        321 S MAIN ST                 STE 200                         PROVIDENCE        RI 02903‐7109
SEARS DRIVING SCHOOL                1026 E 11 MILE RD                                                                                ROYAL OAK         MI 48067‐1970
SEARS HOLDINGS CORPORATION          TIFFANY MATTHEWS                   3333 BEVERLY ROAD                                             HOFFMAN ESTATES   IL
SEARS JACK T (ESTATE OF) (640591)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA 23510
                                                                       STREET, SUITE 600
SEARS JAMES                         3148 ROSINA AVE                                                                                  COVINGTON         KY   41015‐1056
SEARS JR, CHARLES                   31062 W CHICAGO ST                                                                               LIVONIA           MI   48150‐3018
SEARS JR, GEORGE D                  813 LINDBERG RD                                                                                  ANDERSON          IN   46012‐2627
SEARS JR, JOHN F                    1209 MOCCASIN TRL                                                                                KOKOMO            IN   46902‐5490
SEARS JR, MARION                    122 HALL AVE APT 18                HILLSIDE APTS                                                 MERIDEN           CT   06450‐7748
SEARS MALCOLM G                     67171 WEST ST                                                                                    BEND              OR   97701‐9234
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Name                          Address1                        Address2                       Address3       Address4                 City               State Zip
SEARS MARK                    154 MAPLE STREET                                                              GUELPH CANADA ON N1G
                                                                                                            2G7 CANADA
SEARS OVAL J (343405)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                            NORFOLK             VA 23510
                                                              STREET, SUITE 600
SEARS RAYMOND EARL (429778)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                            NORFOLK             VA 23510
                                                              STREET, SUITE 600
SEARS ROEBUCK & CO            ACCT OF PETER L ALVAREZ         PO BOX 5000/9337                                                       CUCAMONGA          CA    54737
SEARS ROEBUCK & CO            3333 BEVERLY RD # B2‐105A                                                                              HOFFMAN ESTATES    IL    60179‐0001
SEARS ROEBUCK & CO            4700 CREEK RD                   PO BOX 42538                                                           CINCINNATI         OH    45242‐2808
SEARS ROEBUCK & CO            C/O GEORGE F SANDERSON III      ELLIS & WINTERS LLP            PO BOX 33550                            RALEIGH            NC    27636
SEARS ROEBUCK & CO INC        4900 FASHION SQUARE BLVD                                                                               SAGINAW            MI    48604‐2610
SEARS ROEBUCK & CO INC        PO BOX 689134                                                                                          DES MOINES         IA    50368‐9134
SEARS ROEBUCK & COMPANY       3191 S LINDEN RD                                                                                       FLINT              MI    48507‐3003
SEARS SR, FREDDIE R           9181 N 575 W                                                                                           FRANKTON           IN    46044‐9515
SEARS SR, WILLIAM             2333 N CHANNEL DR                                                                                      HARSENS ISLAND     MI    48028‐9507
SEARS, AGNES M                701 S OAK ST                    RANDOLPH COUNTY NURSING HOME                                           WINCHESTER         IN    47394‐2229

SEARS, AGNES M                RANDOLPH COUNTY NURSING HOME    701 S OAK                                                              WINCHESTER         IN    47394
SEARS, ALDEN W                509 1ST STREET                                                                                         KALKASKA           MI    49646‐9482
SEARS, ALICE F                6042 CROWN PT                                                                                          FLINT              MI    48506‐1647
SEARS, ANGELA B               1130 BRETWOOD DR                                                                                       GADSDEN            AL    35901‐2169
SEARS, ANNA M                 2373 SOWELL MILL PIKE                                                                                  COLUMBIA           TN    38401‐8029
SEARS, ARTHUR H               8801 IRVING AVENUE SOUTH                                                                               MINNEAPOLIS        MN    55431‐2056
SEARS, BERNARD A              2555 POPLAR ST                                                                                         GIRARD             OH    44420‐3141
SEARS, BERNICE A              7034 ROCKVILLE RD                                                                                      INDIANAPOLIS       IN    46214‐3933
SEARS, BETTE A                1370 SUGARBERRY CT                                                                                     MOORESVILLE        IN    46158‐7637
SEARS, BETTY J                20098 ROCHE RD                                                                                         BROWNSTOWN TWP     MI    48183‐4823
SEARS, BETTY L                PO BOX 156                                                                                             SHARPSVILLE        IN    46068‐0156
SEARS, BETTY S                9264 W STATE RD 36                                                                                     MIDDLETOWN         IN    47356‐9759
SEARS, BONNIE B               1450 E MOORE RD                                                                                        MILFORD            MI    48381‐4076
SEARS, BRADLEY D              18695 KICKAPOO RIDGE RD                                                                                LEAVENWORTH        KS    66048‐8473
SEARS, BRIAN                  268 MONROE BLVD                                                                                        HARSENS IS         MI    48028‐9720
SEARS, CARMON                 1709 W 11TH ST                                                                                         MARION             IN    46953‐1442
SEARS, CHARLOTTE E            251 CLAIRBORNE CIR                                                                                     WHITE LAKE         MI    48383‐3711
SEARS, CHRISTINA L            1076 E HUNTSTEAD LN                                                                                    INDIANAPOLIS       IN    46227‐1836
SEARS, CLARENCE L             6042 CROWN POINT                                                                                       FLINT              MI    48506‐1647
SEARS, CLINTON L              794 PARADISE PARK DRIVE                                                                                SARANAC            MI    48881‐9606
SEARS, DANIEL P               5224 OLD GOODRICH ROAD                                                                                 CLARENCE           NY    14031‐2408
SEARS, DANIEL PAUL            5224 OLD GOODRICH ROAD                                                                                 CLARENCE           NY    14031‐2408
SEARS, DARLENE T              5802 BISHOP ST                                                                WINDSOR ON CANADA N9H‐
                                                                                                            1N7
SEARS, DAVID G                2373 SOWELL MILL PIKE                                                                                  COLUMBIA           TN    38401‐8029
SEARS, DAVID J                311 N LOGAN ST                                                                                         DEWITT             MI    48820‐8964
SEARS, DAVID JEAN             311 N LOGAN ST                                                                                         DEWITT             MI    48820‐8964
SEARS, DAVID K                8997 DURST COLEBROOK RD                                                                                NORTH BLOOMFIELD   OH    44450‐9502
SEARS, DAVID L                152 RAINBOW DR # 5261                                                                                  LIVINGSTON         TX    77399‐1052
SEARS, DAVID V                460 BROAD LEAF CT                                                                                      CHAPEL HILL        NC    27517‐9396
SEARS, DELPHINE B             30800 FLORENCE                                                                                         GARDEN CITY        MI    48135‐3308
SEARS, DENNIS                 MOTLEY RICE                     312 S MAIN ST STE 200                                                  PROVIDENCE         RI    02903‐7109
SEARS, DIANE M                4534 FARMETTE DR LOT 127                                                                               RAVENNA            OH    44266‐9346
SEARS, DIANE P                152 RAINBOW DR PMB 5261                                                                                LIVINGSTON         TX    77399‐1052
SEARS, DONALD                 1000 CAMELOT DR                 G.H. 6204                                                              HARLINGEN          TX    78550‐8424
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Name                 Address1                      Address2                      Address3   Address4         City                State Zip
SEARS, DONALD L      70 SESAME ST                                                                            SPRINGBORO           OH 45066‐1199
SEARS, DONALD M      7 HOLLY SPRINGS CT                                                                      BALTIMORE            MD 21236‐3917
SEARS, DONALD Q      8 KATES PATH                                                                            YARMOUTH PORT        MA 02675‐1442
SEARS, DORCAS L      104 N 8TH ST                                                                            OZARK                MO 65721‐9241
SEARS, DOREAN        115 N GRAY ST                                                                           SAPULPA              OK 74066‐3301
SEARS, DOREAN        115 N. GRAY                                                                             SAPULPA              OK 74066‐3301
SEARS, DOREEN E      P.O. BOX 363                                                                            WHITTEMORE           MI 48770‐0363
SEARS, DOREEN E      PO BOX 363                                                                              WHITTEMORE           MI 48770‐0363
SEARS, DORIS         1413 W WORTHY ST                                                                        GONZALES             LA 70737
SEARS, DORIS J       513 CONNER CREEK DR                                                                     FISHERS              IN 46038‐1856
SEARS, DOROTHY       4772 RIDGE ROAD                                                                         LOCKPORT             NY 14094‐9719
SEARS, DOUGLAS L     3353 CROEL RD                                                                           IONIA                MI 48846‐9665
SEARS, EDWARD G      4406 185TH AVE E                                                                        LAKE TAPPS           WA 98391‐9112
SEARS, EDWARD W      14600 COLLINGHAM DR                                                                     DETROIT              MI 48205‐1220
SEARS, ELAINE M      409 OAKLAND ST                                                                          HOLLY                MI 48442‐1225
SEARS, ELEANOR M     4 GREGORY DR                                                                            ANDERSON             IN 46016‐5811
SEARS, ELIZABETH     9415 WOODLAND COURT                                                                     DAVISON              MI 48423
SEARS, ELIZABETH A   1600 SOUTH RD                                                                           SCOTTSVILLE          NY 14546‐9638
SEARS, ETHEL W       749 OAK TER                                                                             NORCROSS             GA 30071‐2174
SEARS, ETHEL W       749 OAK TERRACE                                                                         NORCROSS             GA 30071‐2174
SEARS, GAIL G        1051 N. OLD 27                                                                          WINCHESTER           IN 47394
SEARS, GAIL M        381 INVERNESS CT                                                                        MOUNT LAUREL         NJ 08054‐3720
SEARS, GARY R        11410 W CLARK RD                                                                        EAGLE                MI 48822‐9665
SEARS, GLENN D       9581 LICKING PIKE                                                                       ALEXANDRIA           KY 41001‐9043
SEARS, GREGORY       3780 WINDLAKE DRIVE                                                                     SNELLVILLE           GA 30039‐5245
SEARS, HARVEY L      17765 JULIANA AVE                                                                       EASTPOINTE           MI 48021‐3117
SEARS, IRA           12392 CLOVERLAWN ST                                                                     DETROIT              MI 48204‐1015
SEARS, IVAN G        241 TANGLEWOOD DR                                                                       ROCHESTER HILLS      MI 48309‐2215
SEARS, JACK L        23239 US HIGHWAY 12                                                                     STURGIS              MI 49091‐9205
SEARS, JACK R        2031 GOLF COURSE RD                                                                     HARSENS ISLAND       MI 48028‐9627
SEARS, JACK T        GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                   STREET, SUITE 600
SEARS, JACKIE        PO BOX 271                                                                              VALLONIA            IN   47281‐0271
SEARS, JAMES B       5499 MCKEACHIE RD                                                                       WHITE LAKE          MI   48383‐1338
SEARS, JAMES J       10371 DAR LN                                                                            GOODRICH            MI   48438‐9405
SEARS, JAMES S       255 OLD MOSLEY BRANCH RD                                                                WOODBINE            KY   40771‐4726
SEARS, JAMES T       345 DARK HEAD RD                                                                        BALTIMORE           MD   21220‐4824
SEARS, JANET K       794 PARADISE PARK DRIVE                                                                 SARANAC             MI   48881‐9606
SEARS, JANET L       PO BOX 5223                                                                             TUCSON              AZ   85703‐0223
SEARS, JANET L       18695 KICKAPOO RIDGE RD                                                                 LEAVENWORTH         KS   66048‐8473
SEARS, JANET LEE     18695 KICKAPOO RIDGE RD                                                                 LEAVENWORTH         KS   66048‐8473
SEARS, JEFFREY L     633 ROSEWOOD AVE                                                                        YPSILANTI           MI   48198‐8012
SEARS, JEFFREY M     1911 LOUGHBOROUGH CT                                                                    THOMPSONS STATION   TN   37179‐5321
SEARS, JENNIFER S    5512 DONNELLY ROAD                                                                      ANDERSON            IN   46017
SEARS, JERRY L       2573 HIGHWOOD LANE                                                                      CINCINNATI          OH   45239‐5643
SEARS, JESSIE        4656 N MICHELLE ST                                                                      SAGINAW             MI   48601‐6629
SEARS, JESSIE R      4656 N MICHELLE                                                                         SAGINAW             MI   48601‐6629
SEARS, JOHN A        2348 STURTEVANT ST                                                                      DETROIT             MI   48206‐3608
SEARS, JOHN W        9609 W CR 1000 S                                                                        LOSANTVILLE         IN   47354
SEARS, JOSEPH R      7506 GLENFAIR CT                                                                        INDIANAPOLIS        IN   46214‐2647
SEARS, JOSEPHINE     9726 SEAMAN RD                                                                          MIDDLEPORT          NY   14105‐9718
SEARS, JOYCE ANN     10627 CHELMSFORD RD                                                                     CINCINNATI          OH   45240‐3909
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Name                  Address1                         Address2                      Address3   Address4         City               State Zip
SEARS, JOYCE M        1928 MUEGGE RD                                                                             SAINT CHARLES       MO 63303‐5419
SEARS, JUANITA J      2814 N LOCKE ST                                                                            KOKOMO              IN 46901‐1512
SEARS, JUDITH G       5691 WEST BLUFF                  PO BOX 751                                                OLCOTT              NY 14126
SEARS, KATHLEEN A     722 GEORGETOWN PKWY                                                                        FENTON              MI 48430‐3623
SEARS, KELVIN E       8655 W PARKWAY ST                                                                          DETROIT             MI 48239‐1166
SEARS, KENNETH        PO BOX 201129                                                                              FERNDALE            MI 48220‐9139
SEARS, KENNETH L      24872 HAYES ST                                                                             TAYLOR              MI 48180‐2105
SEARS, KENNETH LEE    24872 HAYES ST                                                                             TAYLOR              MI 48180‐2105
SEARS, KENNETH R      4806 NW 80TH TER                                                                           KANSAS CITY         MO 64151‐1129
SEARS, KENT T         682 KINZIE ISLAND COURT                                                                    SANIBEL             FL 33957‐5021
SEARS, KESTER A       3583 ORANGEPORT RD                                                                         GASPORT             NY 14067‐9381
SEARS, LARRY D        10429 ANGLE LAKE DR                                                                        ROCKFORD            MI 49341
SEARS, LAWRENCE W     PO BOX 173                                                                                 OLCOTT              NY 14126‐0173
SEARS, LENORE         1000 CAMELOT DRIVE,              GARDEN HOME 6204                                          HARLINGEN           TX 78550
SEARS, LEO H          127 PLATT DR                                                                               HAUGHTON            LA 71037‐7448
SEARS, LEO HENRY      127 PLATT DR                                                                               HAUGHTON            LA 71037‐7448
SEARS, LEONARD W      909 PARK ST                                                                                GRAVLING            MI 49738
SEARS, LINDA L        12769 CHIPPEWA DR                                                                          GRAND LEDGE         MI 48837‐8997
SEARS, LINWOOD        301 MC CHEN ST.APT 721                                                                     BALTIMORE           MD 21217
SEARS, LOUISE         924 S WATERVIEW DR                                                                         INVERNESS           FL 34450‐3517
SEARS, LOUISE         6271 CASCADE ROAD SOUTHEAST                                                                GRAND RAPIDS        MI 49546‐6421
SEARS, LOWELL L       PO BOX 523                                                                                 GRAY                KY 40734‐0523
SEARS, LUCINDA C      PO BOX 713                       5784 HAGER RD                                             NASHVILLE           MI 49073‐0713
SEARS, LYNN D         9416 WASHINGTON ST                                                                         ROMULUS             MI 48174‐1547
SEARS, MARGIE A       5158 CARSON AVE SW                                                                         WYOMING             MI 49548‐5648
SEARS, MARIANNE E     2753 EAST 600 NORTH                                                                        GREENFIELD          IN 46140‐9057
SEARS, MARIANNE E     2753 E 600 N                                                                               GREENFIELD          IN 46140
SEARS, MARY A         3091 COLUMBINE DR                                                                          SAGINAW             MI 48603‐1921
SEARS, MARY T         PO BOX 604                                                                                 VIDALIA             GA 30475‐0604
SEARS, MERLIN L       1317 10TH ST                                                                               BEDFORD             IN 47421‐2529
SEARS, MICHAEL E      460 OAK ST                                                                                 MOUNT MORRIS        MI 48458‐1931
SEARS, MILDRED B      14600 COLLINGHAM DR                                                                        DETROIT             MI 48205‐1220
SEARS, NEVILLE R      13073 CHURCHILL DR                                                                         STERLING HEIGHTS    MI 48313
SEARS, NINA L         25 HIGHLAND DR                                                                             SOMERSET            KY 42503‐8035
SEARS, OVAL J         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                       STREET, SUITE 600
SEARS, PATRICIA A     614 E TENNYSON AVE                                                                         PONTIAC            MI   48340‐2956
SEARS, PATRICIA ANN   212 BUTTERNUT DR                 APT B                                                     CHARLOTTE          MI   48813‐1160
SEARS, PATRICIA J     8640 E KEATING PARK ST LOT 205                                                             FLORAL CITY        FL   34436‐2879
SEARS, PATRICIA J     8640 E KEATING PARK ST           LOT 205                                                   FLORAL CITY        FL   34436‐2879
SEARS, PATRICIA J.    1303 WASHINGTON ST                                                                         VALPARAISO         IN   46383‐3445
SEARS, PATSY R        4901 PENNSWOOD DR                                                                          DAYTON             OH   45424‐5417
SEARS, PAUL F         1359 BURTON CEMETERY RD                                                                    MITCHELL           IN   47446‐7634
SEARS, PENELOPE L     212 HARTSHORN DR                                                                           VANDALIA           OH   45377‐2931
SEARS, RALPH E        14707 E 96TH ST                                                                            MC CORDSVILLE      IN   46055‐9421
SEARS, RANDALL G      20475 CENTRALIA                                                                            REDFORD            MI   48240‐1105
SEARS, RAYMOND EARL   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                       STREET, SUITE 600
SEARS, RAYMOND L      10315 CARROLLWOOD LN                                                                       TAMPA              FL   33618‐4700
SEARS, RICHARD A      PO BOX 4027                                                                                APACHE JUNCTION    AZ   85278‐4027
SEARS, RICHARD F      1413 REGATTA DR                                                                            WILMINGTON         NC   28405‐4271
SEARS, RICHARD W      216 S MAIN ST                                                                              SUMMITVILLE        IN   46070‐9712
                      09-50026-mg           Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                  Address1                       Address2                    Address3   Address4         City              State Zip
SEARS, RITA J         PO BOX 271                                                                             VALLONIA           IN 47281‐0271
SEARS, ROBERT D       6032 CENTER RD                                                                         GRAND BLANC        MI 48439‐7949
SEARS, ROBERT G       PO BOX 156                                                                             SHARPSVILLE        IN 46068‐0156
SEARS, ROBERT L       28105 M‐60                                                                             MENDON             MI 49072
SEARS, ROBERT R       11920 N DERRINGER RD                                                                   MARANA             AZ 85653‐9036
SEARS, ROGER L        1487 HIGHPOINT DRIVE                                                                   ROCHESTER          MI 48306‐1628
SEARS, RONALD E       7034 ROCKVILLE RD                                                                      INDIANAPOLIS       IN 46214‐3933
SEARS, RONALD H       3091 COLUMBINE DR                                                                      SAGINAW            MI 48603‐1921
SEARS, RONALD L       24007 V DR N                                                                           OLIVET             MI 49076
SEARS, RONALD R       260 CARVEL RD                                                                          PASADENA           MD 21122‐3145
SEARS, ROSEMARY H     118 SHIRLEY AVE                                                                        WHITE PIGEON       MI 49099‐9165
SEARS, ROSEMARY T     8100 CLYO RD CH201             FRANCISCAN AT ST. LEONARD                               CENTERVILLE        OH 45458
SEARS, ROY D          2646 MERRY OAKS TRL                                                                    WINSTON SALEM      NC 27103‐6555
SEARS, RUBY J         5261 BLAINE AVE SE                                                                     KENTWOOD           MI 49508‐6075
SEARS, RUTH L         3802 MENGEL DR                                                                         KETTERING          OH 45429‐4534
SEARS, RUTH L         3802 MENGEL DRIVE                                                                      KETTERING          OH 45429‐4534
SEARS, RYAN B         1937 WASHINGTON ST APT 21                                                              DAVENPORT           IA 52804‐2162
SEARS, RYAN B         6448 INTERNATIONAL DR                                                                  BETTENDORF          IA 52722‐7561
SEARS, SARAH          104 S ALABAMA                                                                          GOLDSBORO          NC 27530‐3520
SEARS, SCOTT M        5242 PORTER PIKE                                                                       BOWLING GREEN      KY 42103‐9558
SEARS, SCOTT M        149 SHANKS MILL DR                                                                     BOWLING GREEN      KY 42104‐0832
SEARS, SHERI L        PO BOX 14607                                                                           YOUNGSTOWN         OH 44514‐7607
SEARS, SHERI LYNN     PO BOX 14607                                                                           YOUNGSTOWN         OH 44514‐7607
SEARS, SHIRLEY B      3151 PATRICK LANE                                                                      PACIFIC            MO 63069
SEARS, SHIRLEY B      3151 PATRICK LN                                                                        PACIFIC            MO 63069‐4902
SEARS, SHIRLEY V.     PO BOX 1354                                                                            MONTICELLO         KY 42633‐4354
SEARS, STEPHEN D      COUNTRY PARK ESTATES, LO       T 484                                                   KOKOMO             IN 46901
SEARS, STEPHEN W      9392 ROBERTSON DRIVE                                                                   CAMDEN             OH 45311
SEARS, TERRY J        10234 ANGEL LAKE RD NE # 3                                                             ROCKFORD           MI 49341
SEARS, WARREN E       1450 E MOORE RD                                                                        MILFORD            MI 48381‐4076
SEARS, WATSON         4656 N MICHELLE ST                                                                     SAGINAW            MI 48601‐6629
SEARS, WILLIAM J      1564 S 600 W                                                                           ANDERSON           IN 46011‐9439
SEARS, WILLIAM J      2803 MITCHELL RD                                                                       BEDFORD            IN 47421‐5317
SEARS, WILLIAM L      10272 W 650 N                                                                          SHARPSVILLE        IN 46068‐8920
SEARS, WILLIAM O      1106 RUDDELL DR                                                                        KOKOMO             IN 46901‐1938
SEARS, WILLIAM R      1304 W SAINT LOUIS ST                                                                  W FRANKFORT         IL 62896‐1965
SEARS, WILMA V        2008 S ARMSTRONG ST                                                                    KOKOMO             IN 46902‐2078
SEARS,KENT T          682 KINZIE ISLAND CT                                                                   SANIBEL            FL 33957
SEARSON, MERTON G     3917 E BURT RD                                                                         BURT               MI 48417‐2032
SEARSON, RICHMOND M   PO BOX 3570                                                                            PIKEVILLE          KY 41502‐3570
SEAS, DEAN R          3629 SKYLINE BLVD                                                                      CAPE CORAL         FL 33914‐5367
SEASE, DELORIS H      3013 BANKHEAD DR                                                                       FAYETTEVILLE       NC 28306‐2683
SEASE, DUFF C         411 MAIN ST                                                                            GORDON             OH 45304‐9511
SEASE, FRED           6362 ARCANUM HOLLANSBURG RD                                                            ARCANUM            OH 45304‐9247
SEASE, JUSTIN W       14007 W 48                                                                             SHAWNEE            KS 66216
SEASE, MARK           18425 BURBANK BLVD. STE. 610                                                           TARZANA            CA 91356‐6910
SEASE, MICHAEL Z      232 TIFFIN AVE.                                                                        GREENVILLE         OH 45331‐5331
SEASE, MICHAEL Z      232 TIFFIN ST                                                                          GREENVILLE         OH 45331‐1882
SEASE,DUFF C          411 MAIN ST                                                                            GORDON             OH 45304‐9511
SEASHOLTZ, JOHN W     10334 S HOLLINGTON TERRACE                                                             HOMOSASSA          FL 34446‐7804
SEASIDE AUTO REPAIR   101 NE 3RD ST                                                                          SATELLITE BEACH    FL 32937‐2011
SEASIDE BUICK
                                      09-50026-mg              Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                                  Address1                         Address2                      Address3   Address4         City                  State Zip
SEASIDE BUICK INC                     PO BOX 17489                                                                               SAN DIEGO              CA 92177‐7489
SEASIDE BUICK PONTIAC GMC             6435 MIRAMAR RD                                                                            SAN DIEGO              CA 92121‐2504
SEASIDE BUICK, INC.                   LLOYD LICKERT                    6435 MIRAMAR RD                                           SAN DIEGO              CA 92121‐2504
SEASIDE PARK SERVICE CENTER           912 NE CENTRAL AVE                                                                         SEASIDE PARK           NJ 08752‐1303
SEASOCK, WALTER J                     176 SHADOWLAWN ST                C/O DAVID SEASOCK                                         INKSTER                MI 48141‐1317
SEASORY D WILLIAMS                    739 HALWORTH PLACE                                                                         TROTWOOD               OH 45426
SEASTRAND, RICHARD J                  6295 THORNCREST DR                                                                         GREENDALE              WI 53129‐2648
SEAT SAVERS PLUS D/B/A SUPREME SEAT   CARMEN ALFONSO                   12105 SOUTHWEST 129TH COURT   BAY #10                     MIAMI                  FL 33186
COVERS
SEATAC AUTOMOTIVE, INC.               24805 PACIFIC HWY S                                                                        KENT                  WA 98032‐5441
SEATHER MCDANIEL                      5000 REDROCK RD. CONDO 154                                                                 LAS VEGAS             NV 89118
SEATO THOMAS S SR (346093)            ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                BALTIMORE             MD 21202
                                                                       CHARLES CENTER 22ND FLOOR
SEATO, THOMAS S                       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                 BALTIMORE             MD 21202
                                                                       CHARLES CENTER 22ND FLOOR
SEATON CHARLES (507599)               COON BRENT W                     PO BOX 4905                                               BEAUMONT              TX 77704‐4905
SEATON GEORGE E (429779)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510
                                                                       STREET, SUITE 600
SEATON II, R DWIGHT                   316 W ADAMS ST                                                                             NASHVILLE             IL   62263‐1406
SEATON JR., ERNEST E                  PO BOX 208                                                                                 RIDGETOP              TN   37152‐0208
SEATON JR., ERNEST EDWARD             PO BOX 208                                                                                 RIDGETOP              TN   37152‐0208
SEATON ROBERT                         3018 WOODLAND FERN DR                                                                      PARRISH               FL   34219‐8938
SEATON, BOBBY J                       6746 STONE RD                                                                              MEDINA                OH   44256‐8990
SEATON, CARMEN M                      30276 ANNAPOLIS CT                                                                         INKSTER               MI   48141‐2855
SEATON, CHARLES                       COON BRENT W                     PO BOX 4905                                               BEAUMONT              TX   77704‐4905
SEATON, CHARLES E                     1151 W 123RD ST APT 1E                                                                     CALUMET PARK          IL   60827‐5835
SEATON, CHARLES E                     1151 W 123RD ST                  # 1E                                                      CALUMET PARK          IL   60827‐5835
SEATON, CHERYL A                      1759 N CENTRAL DR                                                                          BEAVERCREEK           OH   45432‐2058
SEATON, DANNY L                       1355 FOX HOLLOW LOOP                                                                       SAVANNAH              TN   38372
SEATON, DAVID L                       306 PINE CV                                                                                WOODSTOCK             GA   30189‐6766
SEATON, DIANA P                       48 3RD ST                                                                                  SHELBY                OH   44875‐1324
SEATON, DIANA P                       48 3RD STREET                                                                              SHELBY                OH   44875
SEATON, DONALD B                      85 DEERWOOD LN                                                                             MILFORD               MI   48380‐1243
SEATON, DOROTHY J                     1021 COOPER ST #22                                                                         VENICE                FL   34285
SEATON, DOROTHY M                     9508 ALABAMA CIR                                                                           MINNEAPOLIS           MN   55438‐1701
SEATON, GARY L                        12523 WHALEN LAKE DR                                                                       HARTLAND              MI   48353‐1511
SEATON, GEORGE E                      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510‐2212
                                                                       STREET, SUITE 600
SEATON, HOMER H                       81 COUNTY ROAD 106                                                                         MOUNTAIN HOME         AR   72653‐6239
SEATON, JACK F                        3675 DAVID K DR                                                                            WATERFORD             MI   48329‐1318
SEATON, JAMES R                       5074 W 150TH ST                                                                            BROOK PARK            OH   44142‐1731
SEATON, JEROME M                      558 PERRIEN PL                                                                             GROSSE POINTE WOODS   MI   48236‐1133
SEATON, JIM G                         PO BOX 340253                                                                              BEAVERCREEK           OH   45434‐0253
SEATON, JOHN M                        W349N5558 LAKE DR                                                                          OCONOMOWOC            WI   53066‐2510
SEATON, KENNETH T                     320 STONEYBROOK RD                                                                         COLUMBIA              TN   38401‐8610
SEATON, LELAND E                      3490 S LEONARD RD                                                                          NEW PALESTINE         IN   46163‐9707
SEATON, MARK J                        3844 NORMANWOOD                                                                            WEST BLOOMFIELD       MI   48323‐1632
SEATON, MICHAEL C                     198 CLIFFORD ST                                                                            PONTIAC               MI   48342‐3319
SEATON, MICHELLE E                    1366 SE 68TH ST                                                                            PLEASANT HILL         IA   50327
SEATON, MITCHELL R                    30276 ANNAPOLIS CT                                                                         INKSTER               MI   48141‐2855
SEATON, PATRICIA L                    1098 CLUB HOUSE BLVD                                                                       NEW SMYRNA BEACH      FL   32168‐7964
SEATON, ROBERT
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Name                                Address1                         Address2                  Address3   Address4              City                State Zip
SEATON, ROBERT S                    1098 CLUB HOUSE BLVD                                                                        NEW SMYRNA BEACH     FL 32168‐7964
SEATON, RONALD L                    4445 WILLOW RUN                                                                             DAYTON               OH 45430‐1559
SEATON, ROSALIND R                  15717 SUSSEX ST                                                                             DETROIT              MI 48227‐2658
SEATON, STEPHEN J                   1051 AUTUMNVIEW CT                                                                          ROCHESTER            MI 48307‐6059
SEATON, WILLIAM                     1365 FOX HOLLOW LOOP                                                                        SAVANNAH             TN 38372‐6822
SEATON, WILLIAM B                   3995 MESSER RD                                                                              HASTINGS             MI 49058‐9425
SEATS JR, NORZON                    6762 NIGHTHAWK CT                                                                           WESTERVILLE          OH 43082‐9271
SEATS, ALFREDA ANN                  298 BRIDGEWATER LN                                                                          SAGAMORE HILLS       OH 44067‐4125
SEATTLE AUTO SHOW                   16101 GREENWOOD AVE N BDG 2700                                                              SHORELINE            WA 98133
SEATTLE AUTOM DISTRIBUTING          204 H ST NW                                                                                 AUBURN               WA 98001‐3904
SEATTLE COMM COLLEGE DISTRICT       1500 HARVARD AVE                                                                            SEATTLE              WA 98122‐3803
SEATTLE MARATHON ASSOCIATION        PO BOX 31849                                                                                SEATTLE              WA 98103‐1849
SEATTLE MARR/SEATTLE                3201 S 176TH ST                                                                             SEATAC               WA 98188‐4013
SEATTLE PACIFIC UNIVERSITY          BUSINESS OFFICE                  3370 THIRD AVE W                                           SEATTLE              WA 98119
SEATTLE SAFETY LLC                  822 3RD AVE S                                                                               KENT                 WA 98032‐6128
SEATTLE TEST                        815 WESTERN                                                                                 SEATTLE              WA 98104
SEATTLE TIMES COMPANY               1120 JOHN ST                                                                                SEATTLE              WA 98109‐5321
SEATTLE UNIVERSITY                  ALBERS SCHOOL OF BUS AND ECON    900 BROADWAY PIGOTT 318                                    SEATTLE              WA 98109
SEATTLE UNIVERSITY                  CONTROLLERS OFFICE               BROADWAY AND MADISON                                       SEATTLE              WA 98122
SEATTLE UNIVERSITY OFFICE STUDENT   901 12TH AVE                     P O BOX 222000                                             SEATTLE              WA 98122‐4411
FINANC SERVICES
SEAVER JR, ROBERT W                 2605 S TOMAHAWK RD LOT 255                                                                  APACHE JUNCTION     AZ   85219‐9155
SEAVER, CARL F                      2038 MEADOW RIDGE DR                                                                        COMMERCE TOWNSHIP   MI   48390‐2657
SEAVER, CARL FOSTER                 2038 MEADOW RIDGE DR                                                                        COMMERCE TOWNSHIP   MI   48390‐2657
SEAVER, CHARLIE R                   4465 MOUNT VERNON PASS                                                                      SWARTZ CREEK        MI   48473‐8237
SEAVER, DAVID E                     4654 THOMAS RD                                                                              METAMORA            MI   48455‐9342
SEAVER, DONALD L                    6030 KOCHVILLE RD                                                                           SAGINAW             MI   48604‐9408
SEAVER, FRED L                      33B CHURCH ST                                                                               MIDDLEPORT          NY   14105
SEAVER, HAROLD E                    8017 COOK RD                                                                                MERIDIAN            MS   39305‐8883
SEAVER, JEAN A                      10068 LAKEWOOD DRIVE                                                                        SAGINAW             MI   48609‐9702
SEAVER, JERILYNN A                  6036 COLLEGE AVE                                                                            SAGINAW             MI   48604‐9511
SEAVER, JOYCE M                     257 CARIBOU RUN                                                                             DUNDEE              MI   48131‐9568
SEAVER, KAYLEEN W                   19140 ELDRIDGE CT                                                                           SOUTHFIELD          MI   48076‐1001
SEAVER, KAYLEEN WILDE               19140 ELDRIDGE CT                                                                           SOUTHFIELD          MI   48076‐1001
SEAVER, RAYMOND E                   12400 NORTHWAY PKWY                                                                         FREELAND            MI   48623‐9570
SEAVER, SHERYL                      P.O. BOX 433                                                                                AUBURN              MI   48611
SEAVER, WILLIAM A                   8184 LENNON RD                                                                              SWARTZ CREEK        MI   48473‐9716
SEAVER, WILLIAM B                   31 CHANDLERS LN S                                                                           FAIRFIELD           CT   06824‐7821
SEAVER, WILMER B                    314 NEZ PERCE ST                                                                            GRANGEVILLE         ID   83530‐1835
SEAVERS, ASA L                      1205 HUNTINGTON AVENUE                                                                      SANDUSKY            OH   44870‐4377
SEAVERS, JAMES E                    6160 BRIARBEND LN                                                                           MEMPHIS             TN   38141‐7719
SEAVERS, NYLE E                     4613 OTTAWA COURT                                                                           ROCKLIN             CA   95765‐5209
SEAVERS, RICHARD E                  1813 KNUPKE ST                                                                              SANDUSKY            OH   44870‐4348
SEAVEY JR, THOMAS E                 1701 E RATTALEE LAKE RD                                                                     HOLLY               MI   48442‐8511
SEAVEY, CHARLES H                   PO BOX 276                                                                                  TURNER              ME   04282‐0276
SEAVEY, HARRY C                     PO BOX 95                                                                                   LEONARD             MI   48367‐0095
SEAVEY, NORMAN
SEAVEY, WILLIAM F                   13477 S HORRELL RD                                                                          FENTON              MI 48430
SEAVIEW AUTO SERVICES LTD.          483 LOGY BAY RD                                                       LOGY BAY NL A1K 3B7
                                                                                                          CANADA
SEAVIEW BUICK PONTIAC GMC TRUCK     17731 HIGHWAY 99                                                                            LYNNWOOD            WA 98037‐3612
SEAVIEW CHEVROLET, INC.             17909 HIGHWAY 99                                                                            LYNNWOOD            WA 98037‐3615
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Name                             Address1                             Address2                         Address3              Address4                  City               State Zip
SEAVIEW CHEVROLET, INC.          CHRISTIAN OLSON                      17909 HIGHWAY 99                                                                 LYNNWOOD            WA 98037‐3615
SEAVIEW CHEVROLET, INC.          CHRISTIAN OLSON                      17731 HIGHWAY 99                                                                 LYNNWOOD            WA 98037‐3612
SEAVIEW PONTIAC GMC TRUCK        CHRISTIAN OLSON                      17731 HIGHWAY 99                                                                 LYNNWOOD            WA 98037‐3612
SEAVIEW TIRE + BRAKE SERVICE     66 W MANOR DR                                                                                                         PACIFICA            CA 94044‐1845
SEAVITT, CAROL J                 631 W TREMOLO LN                                                                                                      ORO VALLEY          AZ 85737‐3772
SEAVOLT, GARY W                  13310 INDEPENDENCE RD                                                                                                 CLEAR SPRING        MD 21722‐1529
SEAVOY DANIEL GERALDINE SEAVOY   ICO THE LANIER LAW FIRM PC           6810 FM 1960 WEST                                                                HOUSTON             TX 77069
SEAVOY, ANDREW C                 46770 MEADOWVIEW DR                                                                                                   SHELBY TOWNSHIP     MI 48317‐4155
SEAWARD MORTON                   6745 RANSOME DR                                                                                                       GWYNN OAK           MD 21207‐5318
SEAWARD, NEIL R                  3019 PINEHILL PL                                                                                                      FLUSHING            MI 48433‐2428
SEAWARD, ROBERT W                3019 PINEHILL PL                                                                                                      FLUSHING            MI 48433‐2428
SEAWAY BOLT & SPECIALS CO        JIM GOODWIN                          11561 STATION ROAD                                                               MANITOWOC           WI 54220
SEAWAY BOLT & SPECIALS CORP      11561 STATION RD                     PO BOX 908                                                                       COLUMBIA STATION    OH 44028‐9503
SEAWAY BOLT & SPECIALS CORP      JIM GOODWIN                          11561 STATION ROAD                                                               MANITOWOC           WI 54220
SEAWAY BOLT & SPECIALS CORP      11561 STATION RD                                                                                                      COLUMBIA STATION    OH 44028‐9503
SEAWAY BOLT/OHIO                 11561 STATION RD                     PO BOX 908                                                                       COLUMBIA STA        OH 44028‐9503
SEAWAY CARTAGE LTD               1225 S CARFERRY DR                                                                                                    MILWAUKEE           WI 53207‐1003
SEAWAY CHEVROLET                 BRESSLER AMERY & ROSS                P O BOX 1980, 325 COLUMBIA                                                       FLORHAM PARK        NJ 07932
                                                                      TURNPIKE
SEAWAY CHEVROLET                 PO BOX 1980                                                                                                           FLORHAM PARK       NJ 07932
SEAWAY CHEVROLET‐OLDS            137 MAIN AVE                                                                                                          WATERTOWN          NY 13601‐1966
SEAWAY CHEVY OLDS
SEAWAY EXPRESS INC               RR #2                                                                                       GREEN VALLEY ON K0C 1L0
                                                                                                                             CANADA
SEAWAY GREAT LAKES TRADE ASSOC   ATTN JOHN JAMIAN                     561 EAST MAPLE ROAD STE 200                                                      BIRMINGHAM         MI   48009
SEAWAY ORTHOPEDICS, P.C.         271 ANDREWS ST                                                                                                        MASSENA            NY   13662‐3401
SEAWAY PAINTING INC              31801 SCHOOLCRAFT RD                                                                                                  LIVONIA            MI   48150‐1825
SEAWAY PAINTING LLC              31801 SCHOOLCRAFT RD                 CORR TAX ID 1/09/07 CP                                                           LIVONIA            MI   48150‐1825
SEAWAY PLASTICS                  PO BOX 217                                                                                                            MARINE CITY        MI   48039‐0217
SEAWAY PLASTICS CORP             814 DE GURSE AVE 3/1/07                                                                                               MARINE CITY        MI   48039
SEAWAY PLASTICS CORP             ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 217                                                                       MARINE CITY        MI   48039‐0217
                                 AGENT
SEAWELL VIRGINIA                 4409 MOUNT PARAN PKWY NW                                                                                              ATLANTA            GA 30327‐3721
SEAWELL WILBUR L (326944)        ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                                       BALTIMORE          MD 21202
                                                                      CHARLES CENTER 22ND FLOOR
SEAWELL, WILBUR L                ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET, ONE                                                        BALTIMORE          MD 21202
                                                                      CHARLES CENTER 22ND FLOOR
SEAWOOD LEODIS                   SEAWOOD LEODIS                       C/O EDWARD O MOODY PA            801 WEST 4TH STREET                             LITTLE ROCK        AR   72201
SEAWOOD, ALONZO                  3328 LICION ROAD APT 122                                                                                              INDIANAPOLIS       IN   46222
SEAWOOD, DEBORA I                PO BOX 3353                                                                                                           WARREN             OH   44485‐0353
SEAWOOD, DONALD L                4511 ZEENAT LN                                                                                                        INDIANAPOLIS       IN   46254‐3134
SEAWOOD, EULA                    4642 FRAMINGTON CT                                                                                                    INDIANAPOLIS       IN   46254‐9675
SEAWOOD, GERTRUDE                2217 LEXA DR                                                                                                          JENNINGS           MO   63136‐3811
SEAWOOD, LEODIS                  MOODY EDWARD O                       801 W 4TH ST                                                                     LITTLE ROCK        AR   72201‐2107
SEAWOOD, PATRICIA                KIMMEL & SILVERMAN PC                30 EAST BUTLER PIKE, SUITE 310                                                   AMBLER             PA   19002
SEAWOOD, WESLEY                  6931 THOUSAND OAKS DR                                                                                                 INDIANAPOLIS       IN   46214
SEAWRIGHT JR, THOMAS             26646 SANDY HILL DR                                                                                                   RICHMOND HTS       OH   44143‐1050
SEAWRIGHT, DARNELL V             3300 N MEADOWOOD DR                                                                                                   MIDWEST CITY       OK   73110‐1409
SEAWRIGHT, ENA I                 PO BOX 2236                                                                                                           ELIZABETH          NJ   07207‐2236
SEAWRIGHT, ENA I                 P.O. BOX 2236                                                                                                         ELIZABETH          NJ   07207‐2236
SEAWRIGHT, KATHERENA             ROUT 2 BOX 154                                                                                                        WEWOKA             OK   74884
SEAWRIGHT, VERA L                26192 FRANKLIN POINT DRIVE                                                                                            SOUTHFIELD         MI   48034
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Name                               Address1                         Address2                      Address3   Address4         City               State Zip
SEAWRIGHT, ZENOBIA                 833 E 143RD ST                                                                             CLEVELAND           OH 44110‐3413
SEAY CARLTON A (404858)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                    STREET, SUITE 600
SEAY EZELLE (ESTATE OF) (452248)   WEITZ & LUXENBERG                180 MAIDEN LANE                                           NEW YORK           NY 10038
SEAY JOHN A JR (429780)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                    STREET, SUITE 600
SEAY JR, DONALD C                  6950 W DARTMOOR RD                                                                         WEST BLOOMFIELD    MI   48322‐4323
SEAY JR, FRANK L                   APT 312                          2200 PARK PLACE                                           BIRMINGHAM         AL   35203‐2406
SEAY RANDALL C                     SEAY, RANDALL C                  200 E LEXINGTON ST STE 407                                BALTIMORE          MD   21202‐3582
SEAY RANDALL C                     6120 MAJORS LN                                                                             COLUMBIA           MD   21045‐4230
SEAY, ALTON                        20286 HEYDEN ST                                                                            DETROIT            MI   48219‐1449
SEAY, ALTON                        20241 HEYDEN ST                                                                            DETROIT            MI   48219‐1423
SEAY, ANDREA L                     4718 NORWICK ST                                                                            LANSING            MI   48917‐4167
SEAY, ANGELA J                     3020 CHESTERFIELD AVE FL 2                                                                 BALTIMORE          MD   21213‐1702
SEAY, ANGELINA L                   26820 CONGRESS CT                                                                          SOUTHFIELD         MI   48034‐1589
SEAY, ANNIE M                      3131 N SQUIRREL RD APT 125                                                                 AUBURN HILLS       MI   48326‐3950
SEAY, AVIS E                       639 WESBROOK ST                                                                            PONTIAC            MI   48340‐3066
SEAY, BOBBY H                      12130 BRIDLE TRAIL LN                                                                      SAINT LOUIS        MO   63128‐1504
SEAY, CARLTON A                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                    STREET, SUITE 600
SEAY, CAROL A                      676 HAMLET RD                                                                              AUBURN HILLS       MI   48326‐3524
SEAY, CAROL L.                     1022 LADY AMBER CT                                                                         GRANBURY           TX   76049‐8076
SEAY, CASSANDRA D                  3411 RALLISTON AVE                                                                         DAYTON             OH   45417‐6555
SEAY, CASSANDRA DENISE             3411 RALLISTON AVE                                                                         DAYTON             OH   45417‐6555
SEAY, CHRISTY L                    5070 E COURT ST S                                                                          BURTON             MI   48509‐1947
SEAY, DAVID G                      2925 THRUSH DR                                                                             SAINT CHARLES      MO   63301‐1280
SEAY, DIANE                        760 SAINT JOHNS AVE                                                                        LIMA               OH   45804‐1534
SEAY, DORIS J                      1067 PRINCETON PARK DR                                                                     LITHONIA           GA   30058‐3070
SEAY, EDDIE F                      5997 BEARCREEK #117                                                                        BEDFORD HTS        OH   44146
SEAY, ELEANOR K                    2007 PARK CROSSING WAY NW                                                                  LILBURN            GA   30047‐7170
SEAY, ELEANOR KAYE                 2007 PARK CROSSING WAY NW                                                                  LILBURN            GA   30047‐7170
SEAY, EVELYN L                     2925 THRUSH DR                                                                             SAINT CHARLES      MO   63301‐1280
SEAY, EVELYN LOUISE                2925 THRUSH DR                                                                             ST CHARLES         MO   63301‐1280
SEAY, EVERGRACE                    209 BLOOMFIELD BLVD                                                                        BLOOMFIELD HILLS   MI   48302‐0511
SEAY, EZELLE                       WEITZ & LUXENBERG                180 MAIDEN LANE                                           NEW YORK           NY   10038
SEAY, FREDDIE M                    78 GARFIELD ST                                                                             ROCHESTER          NY   14611‐2405
SEAY, GLORIA A                     4517 IROQUOIS ST                                                                           DETROIT            MI   48214‐4505
SEAY, HELEN F                      6147 HARWOOD RD                                                                            MOUNT MORRIS       MI   48458‐2719
SEAY, HENRY                        801 W DAYTON ST                                                                            FLINT              MI   48504‐2868
SEAY, JACQUELINE                   2108 48TH ST E APT A                                                                       TUSCALOOSA         AL   35405
SEAY, JAMES                        3500 LUCIE ST                                                                              LANSING            MI   48911‐2824
SEAY, JEZEBELL                     801 W DAYTON ST                                                                            FLINT              MI   48504‐2868
SEAY, JOHN A                       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                    STREET, SUITE 600
SEAY, JOHN C                       3311 HAZELPARK PL                                                                          DAYTON             OH   45406‐1138
SEAY, JOHN O                       29 WILLOW LN                                                                               BUFFALO            NY   14228
SEAY, JOSEPH L                     757 N PENNSYLVANIA AVE                                                                     WELLSTON           OH   45692
SEAY, JULIETT                      20241 HEYDEN ST                                                                            DETROIT            MI   48219‐1423
SEAY, JULIETT                      20241 HEYDEN                                                                               DETROIT            MI   48219‐1423
SEAY, KENNETH L                    1615 VALDOSTA CIR                                                                          PONTIAC            MI   48340‐1082
SEAY, KIMBERLY D                   3860 BROOKSHIRE ST                                                                         TRENTON            MI   48183‐3961
SEAY, LARRY A                      5326 HAVERFIELD RD                                                                         DAYTON             OH   45432‐3533
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Name                                Address1                             Address2                   Address3           Address4               City               State Zip
SEAY, LINDA M                       1898 CLARA MATHIS RD                                                                                      SPRING HILL         TN 37174‐2546
SEAY, MARIETA L                     170 FAIRVIEW DR                                                                                           MANTON              MI 49663‐9202
SEAY, MICHAEL A                     5218 FOREST GATE CT                                                                                       GRAND BLANC         MI 48439‐3426
SEAY, MICHAEL F                     PO BOX 137183                                                                                             FORT WORTH          TX 76136‐1183
SEAY, MOAS                          41535 COOLIDGE ST                                                                                         BELLEVILLE          MI 48111‐1471
SEAY, OLIVIA                        APT 304                              3744 KAREN PARKWAY                                                   WATERFORD           MI 48328‐4683
SEAY, OLIVIA                        202 CHEROKEE RD                                                                                           PONTIAC             MI 48341‐2002
SEAY, RANDALL C                     6120 MAJORS LN                                                                                            COLUMBIA            MD 21045
SEAY, ROBERT E                      252 ORCHARD LAKE RD                                                                                       PONTIAC             MI 48341‐2139
SEAY, RONALD J                      149 BLOOMFIELD BLVD                                                                                       BLOOMFIELD HILLS    MI 48302‐0509
SEAY, RUTH                          3204 HELENA DR W                     NORTH WEST                                                           HUNTSVILLE          AL 35810‐3337
SEAY, RUTH                          3204 W HELENA DR NW                  NORTH WEST                                                           HUNTSVILLE          AL 35810‐3337
SEAY, RUTH E                        2138 GREENLEAF ROAD                                                                                       CLOVER              SC 29710‐7411
SEAY, SARAH R                       1927 REGENT RD                                                                                            PRATTVILLE          AL 36066‐7266
SEAY, SHIRLEY J                     1047 INVITATIONAL DR                                                                                      METAMORA            MI 48455‐0764
SEAY, WALTER L                      6147 HARWOOD RD                                                                                           MOUNT MORRIS        MI 48458‐2719
SEAY, WILLIAM L                     7356 E LOMITA AVE                                                                                         MESA                AZ 85209‐4917
SEAY, YOLANDA R                     3050 DELORES ST                                                                                           SAGINAW             MI 48601‐6131
SEAY, ZENOLA M                      86 S MARSHALL ST                                                                                          PONTIAC             MI 48342‐2954
SEB ESTONIA                         C/O VALENTINS BOIKO                  A UPISHA                   14‐LIT 1 JURMALA   LV‐2012 LATVIA
SEB ESTONIA                         A. UPISHA                            14‐LIT 1 JURMALA           VALENTINS BOIKO    LV‐2012 LATVIA
SEBA COLLINS                        4159 GREGORY DR                                                                                           FRANKLIN           OH   45005‐5408
SEBA VAN DYKE                       311 SHAKESPEARE ST                                                                                        MORRISVILLE        NC   27560‐7287
SEBA VAN DYKE                       403 HUNTINGTON PARK DR                                                                                    MORRISVILLE        NC   27560‐8779
SEBA W COLLINS                      4159 GREGORY DRIVE                                                                                        FRANKLIN           OH   45005‐5408
SEBAGO BEACH                        PALISADES INTERSTATE                 PARK COMMISION                                                       BEAR MOUNTAIN      NY   10911
SEBAGO BEACH PALISADES INTERSTATE   PARK COMMISION                                                                                            BEAR MOUNTAIN      NY   10911

SEBAGO LAKE CHEVROLET               847 ROOSEVELT TRL                                                                                         WINDHAM            ME   04062‐5385
SEBAGO LAKE CHEVROLET               BRADLEY WOODBREY                     847 ROOSEVELT TRL                                                    WINDHAM            ME   04062‐5385
SEBAK, GEORGE                       103 BARRY LN                                                                                              NORTHFIELD         OH   44067‐2747
SEBALD JOHN (ESTATE OF) (464923)    WEITZ & LUXENBERG P.C.               180 MAIDEN LANE                                                      NEW YORK           NY   10038
SEBALD, BARBARA L                   15339 MCKEIGHAN ROAD                                                                                      CHESANING          MI   48616‐9414
SEBALD, DANIEL R                    2229 WHITEMORE PL                                                                                         SAGINAW            MI   48602‐3528
SEBALD, JOHN                        WEITZ & LUXENBERG P.C.               180 MAIDEN LANE                                                      NEW YORK           NY   10038
SEBALD, MARK S                      15339 MCKEIGHAN RD                                                                                        CHESANING          MI   48616‐9414
SEBANZ, ROBERT J                    1221 MAHOGANY RUN                                                                                         TWO RIVERS         WI   54241‐1756
SEBASTIAN ABUISO                    PO BOX 391                                                                                                CANADENSIS         PA   18325‐0391
SEBASTIAN AUSSERBAUER               BY VOSS                              ESKILSTUNASTR 9                               91054 ERLANGEN
SEBASTIAN BARTH                     HIMMERNSTR 30A                                                                     78343 GAIENHOFEN
                                                                                                                       GERMANY
SEBASTIAN BARTHELMESS               424 TEMPLE ROAD                                                                                           NEW IPSWICH        NH   03071
SEBASTIAN BARTHELMESS               424 TEMPLE RD                                                                                             NEW IPSWICH        NH   03071
SEBASTIAN BELLOMO                   17 SPRING LAKE CT                                                                                         SAINT CHARLES      MO   63303‐6628
SEBASTIAN BUTTICH                   1109 DAYTON ST                                                                                            TRENTON            NJ   08610‐6126
SEBASTIAN COLOMBO                   82 TRAVER CIR                                                                                             ROCHESTER          NY   14609‐2204
SEBASTIAN COUNTY COLLECTOR          PO BOX 1358                                                                                               FORT SMITH         AR   72902‐1358
SEBASTIAN DIMARIA                   THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET   22ND FLOOR                                BALTIMORE          MD   21201

SEBASTIAN DWIGHT D (452656)         SIMMONS FIRM                         PO BOX 559                                                           WOOD RIVER         IL 62095‐0559
SEBASTIAN ERINJERI                  5340 N DYEWOOD DR                                                                                         FLINT              MI 48532‐3323
SEBASTIAN GISI LIVING TRUST         SEBASTIAN GISI TRUSTEE               2410 13TH AVE SE                                                     ABERDEEN           SD 57401
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Name                            Address1                        Address2                     Address3          Address4               City               State Zip
SEBASTIAN HAUPT                 IM HIPPEL 26                                                                                          GAU‐ALGESHEIM            55435
SEBASTIAN KRO▀                  KRENGELSTRA▀E 44A
SEBASTIAN KRO▀                  KRENGELSTRA▀E 44A               46539 DINSLAKEN
SEBASTIAN MANOJ                 GENERAL MOTORS INDIA PVT LTD    0 FLOOR ACS CREATOR BLDG     ITPL WHITEFIELD   BANGALORE ‐ 66 INDIA
SEBASTIAN MILARDO               123 W ST ‐ FOX GLEN APT 101                                                                           CROMWELL           CT   06416
SEBASTIAN MOTTA                 1883 STANLEY ST                                                                                       NEW BRITAIN        CT   06053‐1719
SEBASTIAN N, SIDNEY E           313 OLDHAM WAY                                                                                        ENGELWOOD          OH   45322‐5322
SEBASTIAN NADINE                3315 ALBANY DR                                                                                        ROCHESTER HILLS    MI   48306‐3604
SEBASTIAN OLIVEROS              4690 ERSKINE CREEK RD                                                                                 LAKE ISABELLA      CA   93240‐8600
SEBASTIAN PACI                  237 WILLIAMS RD                                                                                       OXFORD             NY   13830
SEBASTIAN PERRUCCI              23 VIRGINIA MANOR ROAD                                                                                ROCHESTER          NY   14606‐3229
SEBASTIAN POST                  17247 SADDLEWORTH LN                                                                                  CLINTON TWP        MI   48038‐4634
SEBASTIAN R PICHON              C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                             HOUSTON            TX   77007
                                BOUNDAS LLP
SEBASTIAN REJON                 8911 YOUREE DR APT 816                                                                                SHREVEPORT         LA   71115‐3039
SEBASTIAN RUSSO                 257 ARBUTUS ST                                                                                        MIDDLETOWN         CT   06457‐7101
SEBASTIAN SALON & BARBER SHOP   ATTN: LINDA SMITH               1601 N SAGINAW ST                                                     FLINT              MI   48503‐1747
SEBASTIAN SCROFANO              BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS         OH   44236
SEBASTIAN SEIFERT               RENNESSTR. 42                   D‐91054 ERLANGEN             GERMANY
SEBASTIAN SETTIMO               248 HULL ST                                                                                           HENDERSON          NV 89015‐5607
SEBASTIAN SMITH                 BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS         OH 44236
SEBASTIAN WOLF                  BRUDERHOFSTRA▀E 46              81371 M▄NCHEN
SEBASTIAN WOLF                  BRUDERHOFSTRASSE 46             81371 MUENCHEN
SEBASTIAN, ANTHONY W            1302 WESTBROOK DR                                                                                     KOKOMO             IN   46902‐3235
SEBASTIAN, BARBARA E            480 NE 64TH AVE                                                                                       OCALA              FL   34470‐2219
SEBASTIAN, BETTY H              1200 SPRING VALLEY RD                                                                                 LONDON             OH   43140‐8985
SEBASTIAN, BRIAN R              APT 1                           538 WALLEN HILLS DRIVE                                                FORT WAYNE         IN   46825‐7052
SEBASTIAN, BRIAN R              538 WALLEN HILLS DR APT 1                                                                             FORT WAYNE         IN   46825‐7052
SEBASTIAN, CAROLYN MARIE        405 FAIRFIELD DR                                                                                      ENTERPRISE         AL   36330‐7007
SEBASTIAN, CHARLOTTE M          4848 RITTENHOUSE DR                                                                                   HUBER HEIGHTS      OH   45424‐4361
SEBASTIAN, CORA                 834 ISABELLA ST                                                                                       NEWPORT            KY   41071‐1347
SEBASTIAN, DANIEL               10484 MARSHALL RD                                                                                     COVINGTON          KY   41015‐9321
SEBASTIAN, DOLLIE L             STE 8                           52 WOODLAND HILLS DRIVE                                               SOUTHGATE          KY   41071‐2960
SEBASTIAN, DOLLIE L             52 WOODLWND HILLS DR STE 8                                                                            SOUTHGATE          KY   41071‐2960
SEBASTIAN, DONNA S.             4749 MERRIMONT AVE                                                                                    SPRINGFIELD        OH   45503‐5909
SEBASTIAN, DWIGHT D             SIMMONS FIRM                    PO BOX 559                                                            WOOD RIVER         IL   62095‐0559
SEBASTIAN, FAY                  6833 HIGHWAY 315                                                                                      BOONEVILLE         KY   41314
SEBASTIAN, HAROLD L             1200 SPRING VALLEY RD RT 3                                                                            LONDON             OH   43140
SEBASTIAN, JEFF
SEBASTIAN, JIMMY L              PO BOX 609                                                                                            MITCHELL           IN   47446‐0609
SEBASTIAN, JOAN M               228 POCO CT                                                                                           ROCHESTER HILLS    MI   48307‐3850
SEBASTIAN, JOHN B               758 SOUTHWIND DR                                                                                      FAIRFIELD          OH   45014‐2754
SEBASTIAN, JOSEPH M             8600 INVITATIONAL DR                                                                                  WASHINGTON         MI   48094‐1568
SEBASTIAN, JUANITA              5019 BETSY DR                                                                                         FRANKLIN           OH   45005‐5044
SEBASTIAN, LESLIE J             9285 LORRICH DR                                                                                       MENTOR             OH   44060‐1709
SEBASTIAN, LINDA                230 W MAIN ST                                                                                         SPRINGPORT         MI   49284‐9504
SEBASTIAN, LORRAINE             5430 PINE STREET                                                                                      BEAVERTON          MI   48612‐8582
SEBASTIAN, LORRAINE             5430 S PINE ST                                                                                        BEAVERTON          MI   48612‐8582
SEBASTIAN, LOUIS                5303 DENISON AVE DN                                                                                   CLEVELAND          OH   44102
SEBASTIAN, MARY V               217 PEREZA CIR                                                                                        SANTA BARBARA      CA   93111‐1636
SEBASTIAN, MICHAEL L            1455 WILSON RD                                                                                        SOUTH CHARLESTON   OH   45368‐9317
SEBASTIAN, NADINE L             3315 ALBANY DR                                                                                        ROCHESTER HILLS    MI   48306‐3604
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Name                         Address1                          Address2                        Address3              Address4             City                 State Zip
SEBASTIAN, RAYMOND M         30700 PINTO DR                                                                                               WARREN                MI 48093‐5059
SEBASTIAN, RICKY R           230 W MAIN ST                                                                                                SPRINGPORT            MI 49284‐9504
SEBASTIAN, ROBERT C          1821 WOODLAND DR S                                                                                           FAYETTEVILLE          OH 45118‐8441
SEBASTIAN, SANDERS           739 JIMAE DR                                                                                                 INDEPENDENCE          KY 41051‐9314
SEBASTIAN, SANDRA J          15624 FLANAGAN STREET                                                                                        ROSEVILLE             MI 48066‐1481
SEBASTIAN, SINDU             3505 GREEN BRIER BLVD APT 31C                                                                                ANN ARBOR             MI 48105‐2663
SEBASTIAN, STEVEN W          4174 MAPLEVIEW DR                                                                                            BEAVERCREEK           OH 45432‐1937
SEBASTIAN, TAMMY J           25 TRAILS                                                                                                    MITCHELL              IN 47446‐6253
SEBASTIAN, V I               560 CONTINENTAL DR                                                                                           SAGAMORE HILLS        OH 44067‐3290
SEBASTIAN, WILLIAM S         1169 NOTTINGHAM RD                                                                                           GROSSE POINTE PARK    MI 48230‐1339
SEBASTIAN,STEVEN W           4174 MAPLEVIEW DR                                                                                            BEAVERCREEK           OH 45432‐1937
SEBASTIANA ALCUDIA NARBAEZ   C/O LANDGON & EMISON              ATTN ROBERT L LANDGON           PO BOX 220 911 MAIN                        LEXINGTON             MO 64067
SEBASTIANA LOPEZ             2807 PEARL ST                                                                                                SANTA MONICA          CA 90405‐2911
SEBASTIANI PIO               VIA DELLE LUCARIE 91                                                                    138 ROMA RM ITALY
SEBASTIANI, ANTHONY A        9560 JOLORU DR                                                                                               JACKSONVILLE         FL   32210‐9004
SEBASTIANI, ERMA             9560 JOLORU DR                                                                                               JACKSONVILLE         FL   32210‐9004
SEBASTIANI, ERMA             1324 LONGMEADOW TRL                                                                                          MIDDLEBURG           FL   32068
SEBASTIANO CIMINELLI         5480 STRICKLER RD                                                                                            CLARENCE             NY   14031‐1357
SEBASTIANO D GIMELI          82 CARRIE MARIE LN                                                                                           HILTON               NY   14468
SEBASTIANO MONTELEONE        9709 LAURENCE AVE                                                                                            ALLEN PARK           MI   48101‐1396
SEBASTIANO PETRALIA          VIALE MARIA SS. MEDIATRICE, 130                                                                              PALERMO              IA   90129
SEBASTIANO, VIRGINIA F.      17 HACKETT DR                                                                                                TONAWANDA            NY   14150‐5201
SEBASTIANO, VIRGINIA F.      17 HACKETT DR.                                                                                               TONAWANDA            NY   14150‐5201
SEBASTIAO DA SILVA           7 JUSTIN CT                                                                                                  CORTLANDT MANOR      NY   10567‐5236
SEBASTIAO, GILBERTO          7628 PHILADELPHIA RD                                                                                         BALTIMORE            MD   21237‐2534
SEBASTIEN HOLSTEIN           10298 STATE ROUTE 224                                                                                        DEERFIELD            OH   44411‐8748
SEBASTINE SELVARAJ           11105 MARDEN LN                                                                                              AUSTIN               TX   78739‐1585
SEBASTION CHIRDO             4488 MT. READ BLVD                                                                                           ROCHESTER            NY   14616
SEBASTO, MICHAEL J           76A STENTON CT                    LALOR GARDENS APT.                                                         TRENTON              NJ   08610‐6550
SEBATIAN LANGER              RA FRANZ BRAUN                    GUSS RECHSTFUHELTE              LIEBIGSTR 11          80538 MUENCHEN
                                                                                                                     GERMANY
SEBBEN, JEAN M               2839 WOODLAND ST NE                                                                                          WARREN               OH   44483‐4419
SEBBY HARRISON               14647 GARLAND AVE                                                                                            PLYMOUTH             MI   48170‐2512
SEBBY, GLENN A               PO BOX 403                                                                                                   LAC DU FLAMBEAU      WI   54538‐0403
SEBECK VICTOR (447594)       BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                              NORTHFIELD           OH   44067
                                                               PROFESSIONAL BLDG
SEBECK, VICTOR               BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                               NORTHFIELD           OH 44067
                                                               PROFESSIONAL BLDG
SEBEK, LORETTA M             12280 MATLACHA BLVD                                                                                          MATLACHA ISLES       FL   33991‐1682
SEBEK, RICHARD L             1409 SE 28TH TER                                                                                             CAPE CORAL           FL   33904‐3918
SEBEK, SANDRA                13701 STARLITE                                                                                               BROOKPARK            OH   44142‐3243
SEBELA, BETTY A              1412 LEISURE DR                                                                                              FLINT                MI   48507‐4056
SEBELA, CHARLES J            11038 W 72ND ST                                                                                              INDIAN HEAD PARK     IL   60525‐5331
SEBELA, JAMES F              139 PARK DR                                                                                                  GRAND JUNCTION       CO   81501‐2060
SEBELA, JAMES FRANKLIN       139 PARK DR                                                                                                  GRAND JUNCTION       CO   81501‐2060
SEBELA, JAY S                16210 ASPEN HOLLOW CT                                                                                        FENTON               MI   48430
SEBELA, JAY SCOTT            16210 ASPEN HOLLOW CT                                                                                        FENTON               MI   48430
SEBELA, JOHN J               15452 BEALFRED DR                                                                                            FENTON               MI   48430‐1713
SEBELA, JOHN JOSEPH          15452 BEALFRED DR                                                                                            FENTON               MI   48430‐1713
SEBELA, VIRGINIA             11496 CORUNNA RD                                                                                             LENNON               MI   48449
SEBELE, JAMES F              5115 POND BLUFF DR                                                                                           MONROE               NC   28112‐8081
SEBELE, JANA L               415 BLAKE DR                                                                                                 FORT WAYNE           IN   46804
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Name                      Address1                        Address2                      Address3   Address4         City               State Zip
SEBENA, THOMAS P          PO BOX 113                                                                                SCHNEIDER           IN 46376‐0113
SEBENICK JR, ROBERT J     655 KASEY LN                                                                              HASLETT             MI 48840‐9774
SEBER, BILL B             1927 161ST TER                                                                            BASEHOR             KS 66007‐9322
SEBERIANO JIMENEZ         2024 CLIFTON AVENUE                                                                       LANSING             MI 48910‐3533
SEBERIANO JIMENEZ         4009 CLEAR CREEK RD                                                                       PULASKI             TN 38478‐7431
SEBERN COLEMAN            PO BOX 79                                                                                 KEITHVILLE          LA 71047‐0079
SEBERO, TERRY L           1919 S OAKHILL AVE                                                                        JANESVILLE          WI 53546‐6047
SEBERT FRIDLEY            3000 MINTON RD                                                                            HAMILTON            OH 45013‐4346
SEBERT JR, HENRY          2101 SOUTH WASHBURN ROAD                                                                  DAVISON             MI 48423‐8009
SEBERT KOPE               214 WASHINGTON ST                                                                         HUDSON              MI 49247‐1258
SEBERT MOSBY              1848 KENVIEW RD                                                                           COLUMBUS            OH 43209‐3241
SEBERT RICHMOND           1370 W 61ST ST                                                                            CLEVELAND           OH 44102‐2104
SEBERT, AL J              13165 N CLIO RD                                                                           CLIO                MI 48420‐1028
SEBERT, BURTON W          7901 OAK RD                                                                               MILLINGTON          MI 48746‐9046
SEBERT, CRYSTAL L         PO BOX 694                                                                                ELKTON              MI 48731‐0694
SEBERT, CRYSTAL L         68 WRIGHT ST P.O. BOX 694                                                                 ELKTON              MI 48731‐0694
SEBERT, DAVID R           106 S FOREST DR                                                                           KOKOMO              IN 46901‐5122
SEBERT, DIANE L           377 LAIRD ST                                                                              MOUNT MORRIS        MI 48458‐8940
SEBERT, GLENDA M          7215 MOUNT JULIET DR                                                                      DAVISON             MI 48423‐2361
SEBERT, JILL A            3486 TRUMPWOOD                                                                            BURTON              MI 48519‐1494
SEBERT, KEITH R           4129 1ST AVE APT 3E                                                                       SAN DIEGO           CA 92103‐2054
SEBERT, LAVERNE E         5011 EASTON RD                                                                            OWOSSO              MI 48867‐9638
SEBERT, MICHAEL A         7215 MOUNT JULIET DR                                                                      DAVISON             MI 48423‐2361
SEBERT, RANDALL K         2101 S WASHBURN RD                                                                        DAVISON             MI 48423‐8009
SEBERT, ROBERT L          2687 MILLINGTON RD                                                                        MILLINGTON          MI 48746‐9009
SEBERT, SHELDON J         13136 N CLIO RD                                                                           CLIO                MI 48420‐1029
SEBERT, STEPHANIE H       13165 N CLIO RD                                                                           CLIO                MI 48420‐1028
SEBESTA DIANE             130 SOUTH NORTON STREET                                                                   CORUNNA             MI 48817‐1344
SEBESTA, EMIL L           12354 GEOFFRY DR                                                                          WARREN              MI 48093‐3546
SEBESTA, RONALD E         9036 STONEGATE CIR                                                                        NORTH RIDGEVILLE    OH 44039‐8951
SEBESTE DAVID             PO BOX 7620                                                                               NORTH AUGUSTA       SC 29861‐7620
SEBEWAING TOWNSHIP        NANCY LAYHER TREASURER          PO BOX 687                                                SEBEWAING           MI 48759‐0687
SEBIHA SEID               240 O TARA WOODS DRIVE                                                                    NEWNAN              GA 30263‐6122
SEBION, MIKE
SEBLE ABRAHA              19 BAKER COURT                                                                            TROTWOOD           OH   45426
SEBLINI, ALI A            631 DOVER ST                                                                              DEARBORN HEIGHTS   MI   48127‐4113
SEBO JESSICA              12319 POST OAK CT                                                                         MAGNOLIA           TX   77354‐6256
SEBO, JOHN R              1790 QUAKER LN                                                                            SALEM              OH   44460‐1870
SEBOK JULIUS B (494187)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                          STREET, SUITE 600
SEBOK, ALICE F            5070 E COURT ST S                                                                         BURTON             MI   48509‐1947
SEBOK, ANDREW J           431 CHERRY ORCHARD RD                                                                     CANTON             MI   48188‐5270
SEBOK, ANDREW JOHN        431 CHERRY ORCHARD RD                                                                     CANTON             MI   48188‐5270
SEBOK, JULIUS B           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                          STREET, SUITE 600
SEBOLD CHEVROLET, INC.    202 S 4TH ST                                                                              ABBOTSFORD         WI   54405‐9733
SEBOLD CHEVROLET, INC.    JOSEPH SEBOLD                   202 S 4TH ST                                              ABBOTSFORD         WI   54405‐9733
SEBOLD JACOB B (452657)   SIMMONS FIRM                    PO BOX 559                                                WOOD RIVER         IL   62095‐0559
SEBOLD, FREDERICK W       9084 MAPLE RD                                                                             BIRCH RUN          MI   48415‐8755
SEBOLD, JACOB B           SIMMONS FIRM                    PO BOX 559                                                WOOD RIVER         IL   62095‐0559
SEBOLD, WILLIAM A         PO BOX 297                                                                                ANNA MARIA         FL   34216‐0297
SEBOLT JR, ALMON M        741 N SHELDON ST                                                                          CHARLOTTE          MI   48813‐1230
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Name                                Address1                           Address2                Address3     Address4         City              State Zip
SEBORN POWELL JR                    16515 MARK TWAIN ST                                                                      DETROIT            MI 48235‐4064
SEBORN POWELL JR                    1028 GLASTONBURY DR                                                                      FRANKLIN           TN 37069‐1896
SEBOROWSKI, RONALD F                E2554 PHYLANE ROAD                                                                       LONE ROCK          WI 53556‐9634
SEBRANT, KAREN R                    1217 KINGS CT                                                                            MOORE              OK 73160‐1833
SEBREE, BARBARA A                   PO BOX 6278                                                                              KOKOMO             IN 46904‐6278
SEBREE, JAMES R                     1420 STANLEY RD                                                                          PLAINFIELD         IN 46168‐2330
SEBREE, LINDY S                     13311 WOODLAND DR                                                                        ASTATULA           FL 34705‐9517
SEBREE, ROSIE T                     1201 CLOVERFIELD COURT                                                                   BEL AIR            MD 21015‐1632
SEBRELL, GARY D                     3301 INGHAM ST                                                                           LANSING            MI 48911‐1834
SEBRELL, LUCILLE M                  18118 US HWY 41 N LOT 39C                                                                LUTZ               FL 33549‐4478
SEBRELL, LUCILLE M                  18118 N US HIGHWAY 41 LOT 39C                                                            LUTZ               FL 33549‐4473
SEBREN, DIANA                       110 BUTLER AVE                                                                           WEST MONROE        LA 71291‐7797
SEBREN, DIANA K                     110 BUTLER AVE                                                                           WEST MONROE        LA 71291‐7797
SEBREN, OTIS L                      105 ROSEMARY DR                                                                          BASTROP            LA 71220
SEBRENA LOVELL                      6500 S SUNBURY RD                                                                        WESTERVILLE        OH 43081‐9349
SEBRENIA PERSON                     1734 DONORA ST                                                                           LANSING            MI 48910‐1700
SEBRIGHT PRODUCTS INC               127 N WATER ST                                                                           HOPKINS            MI 49328‐5116
SEBRIGHT, CONNIE L                  G9070 N SAGINAW APT 413                                                                  MOUNT MORRIS       MI 48458
SEBRINA LEE
SEBRING INTERNATIONAL RACEWAY INC   113 MIDWAY DR                                                                            SEBRING            FL   33870‐7553

SEBRING, JOHN G                     138 BRICKER AVE                                                                          DAYTON            OH    45427‐1707
SEBRING, ROBERT D                   34450 EUCLID AVE TRLR 7                                                                  WILLOUGHBY        OH    44094‐3330
SEBRING, ROGER K                    41426 JULIE DR                                                                           CLINTON TWP       MI    48038‐2067
SEBRING, THOMAS A                   9182 VICKERYVILLE RD                                                                     FENWICK           MI    48834‐8708
SEBRING, VOLNEY H                   6060 STEEPLECHASE DR                                                                     GRAND BLANC       MI    48439‐8669
SEBROWSKI, JOHN                     53 KIERST ST                                                                             PARLIN            NJ    08859‐1751
SEBRUK, JENNIE G                    2415 BINGHAMTON DR                                                                       AUBURN HILLS      MI    48326‐3505
SEBUCK, JEFFREY W                   UNIT B                             24 DRIFTWOOD COURT                                    WILLIAMS BAY      WI    53191‐9614
SEBUCK, JEFFREY W                   24 DRIFTWOOD CT.                                                                         WILLIAMS BAY      WI    53191
SEBURN & EMILY T GILBERT JTWROS     2614 REEVER RD                                                                           ALEXANDER CITY    AL    35010
SEBY R HAWKINS                      901 PALLISTER ST APT 513                                                                 DETROIT           MI    48202‐2680
SEC ‐ DELPHI ‐ GM ‐ DOCUMENT        NO ADVERSE PARTY
PRODUCTION REQUEST
SEC INQUIRY                         NO ADVERSE PARTY
SECADA, JOHN S                      916 IRENE ST                                                                             BURLESON          TX    76028‐6408
SECAT INC                           1505 BULL LEA RD                                                                         LEXINGTON         KY    40511‐1200
SECCAFICO, DEBRA                    60 ALEXANDER ST                                                                          BABYLON           NY    11702‐1102
SECCO, ROBERT W                     7756 BOURNEMOUTH AVE                                                                     GROSSE ILE        MI    48138‐1108
SECCOMBE, PETER                     APT C                              60 WINDSORSHIRE DRIVE                                 ROCHESTER         NY    14624‐1219
SECEN DONALD                        49517 KEYCOVE ST                                                                         CHESTERFIELD      MI    48047‐2360
SECEN, DONALD                       49517 KEYCOVE ST                                                                         CHESTERFIELD      MI    48047‐2360
SECEN, PATRICIA A                   49517 KEYCOVE ST                                                                         CHESTERFIELD      MI    48047‐2360
SECH, ARTHUR L                      3693 CURTIS AVE SE                                                                       WARREN            OH    44484‐3608
SECH, JEAN E                        670 SPRINGWOOD DR                                                                        KALAMAZOO         MI    49009‐9387
SECH, VIOLET E                      PO BOX 81                                                                                WHITEHALL         MI    49461
SECH, VIOLET E                      224 N ELIZABETH ST                                                                       WHITEHALL         MI    49461
SECHAN, CARL B                      10565 RUNYAN LAKE PT                                                                     FENTON            MI    48430‐2441
SECHAN, MARTIN P                    13771 BRAINBRIDGE AVE                                                                    WARREN            MI    48089‐3623
SECHANSKI, FERDINAND S              7315 RIVER RIDGE RD                                                                      STANWOOD          MI    49346‐8968
SECHIKO ULCH                        6800 22 MILE RD                                                                          SHELBY TOWNSHIP   MI    48317‐2200
SECHKAR, FRED C                     1804 E SKYLINE DR                                                                        LORAIN            OH    44053‐2440
                                  09-50026-mg              Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                              Address1                           Address2                      Address3               Address4             City               State Zip
SECHLER BRIAN & CATHY             3072 NEWTON FALLS BAILEY RD SW                                                                               WARREN              OH 44481‐9762
SECHLER JUDITH A                  C\O ANNE W ROBBINS                 4430 HAYDEN FALLS DR                                                      COLUMBUS            OH 43221
SECHLER LESLIE I                  14212 LA TRUCHA ST                                                                                           SAN DIEGO           CA 92129‐3336
SECHLER, JANICE                   91 CORTVIEW DR                                                                                               CORTLAND            OH 44410‐1401
SECHLER, LINDA S                  1865 LUCRETIA DR                                                                                             GIRARD              OH 44420‐1254
SECHLER, MERLE A                  4814 COTTAGE RD                                                                                              LOCKPORT            NY 14094‐1604
SECHLER, STEVEN T                 2096 GOLF CREST DRIVE                                                                                        MILFORD             MI 48382
SECHMAN, CALLIE M                 5300 E RAYMOND ST                                                                                            INDIANAPOLIS        IN 46203‐4925
SECHMAN, REGINALD B               2988 S STATE ROAD 267                                                                                        PLAINFIELD          IN 46168‐3020
SECHOWSKI, ROBERT J               415 HENLEY DR                                                                                                BLOOMFIELD HILLS    MI 48304‐1819
SECHREST, HAROLD D                375 ELLEDTON MT ZEON RD                                                                                      DRY RIDGE           KY 41035
SECHREST, ROLAND L                3818 BEACON RIDGE WAY                                                                                        CLERMONT            FL 34711‐5344
SECHRIST, DANIEL P                2915 FERGUSON VALLEY RD.                                                                                     MCVEYTOWN           PA 17051‐9536
SECHRIST, MARY W                  2915 FERGUSON VALLEY RD                                                                                      MC VEYTOWN          PA 17051‐9536
SECI SOCIETA' ESERCIZI COMMERCI   5200 PRAIRIE STONE PKWY STE 100                                                                              HOFFMAN ESTATES      IL 60192‐3709
SECIC, MARIA                      355 E 280TH ST                                                                                               EUCLID              OH 44132‐1642
SECIC, RUDY                       23110 RUSHMORE DR                                                                                            CLEVELAND           OH 44143‐2565
SECICH, MICHAEL T                 413 RUTHIE LN                                                                                                PORT ARANSAS        TX 78373
SECK NDEYE B                      APT 106                            11402 ARBORVIEW DRIVE                                                     INDIANAPOLIS        IN 46236‐7914
SECK, NDEYE B                     11402 ARBORVIEW DR APT 106                                                                                   INDIANAPOLIS        IN 46236‐7914
SECKA JR, JOSEPH M                3938 MAIN ST                                                                                                 MINERAL RIDGE       OH 44440‐9792
SECKEL ROBERT B (350432)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                               NORFOLK             VA 23510
                                                                     STREET, SUITE 600
SECKEL, BARBARA R                 3999 HERBEY ST                                                                                               CANTON             MI    48188
SECKEL, GERALD H                  3999 HERBEY ST                                                                                               CANTON             MI    48188
SECKEL, HEINZ                     2792 DONNELLY DR APT 2514                                                                                    LANTANA            FL    33462‐6483
SECKEL, JEAN H                    5020 S MILL RD                                                                                               DRYDEN             MI    48428‐9338
SECKEL, ROBERT B                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                               NORFOLK            VA    23510‐2212
                                                                     STREET, SUITE 600
SECKENDORF, FRED G                PO BOX 6207                                                                                                  DIAMONDHEAD        MS    39525‐6003
SECKINGER, JOSEPHINE M            44 MACON DR                                                                                                  TRENTON            NJ    08619‐1466
SECKLER, NICHOLAS J               2621 AUSTIN AVE                                                                                              YOUNGSTOWN         OH    44509‐2704
SECKLER, RONALD E                 2704 NEWBERN CIR                                                                                             YOUNGSTOWN         OH    44502‐3155
SECKMAN KAREN                     PO BOX 504                                                                                                   TOULON             IL    61483‐0504
SECKMAN, GARY L                   2018 HAROLD ST                                                                                               ADRIAN             MI    49221
SECKMAN, ROBERT L                 8500 RICHARDSON RD                                                                                           GROVEPORT          OH    43125‐9272
SECKMAN, RONALD E                 12901 SW 15TH CT APT V403                                                                                    PEMBROKE PINES     FL    33027‐2460
SECO & GOLDEN 100" INC "          1600 ESSEX AVE                                                                                               DELAND             FL    32724‐2102
SECO & GOLDEN 100, INC.           BOB KEYES                          PO BOX 269                                                                DELAND             FL    32721‐0269
SECO ACQUISITION L.L.C            C/O FIRST CAPITAL CORPORATION OF   THREE FIRST NATIONAL PLAZA                                                CHICAGO            IL    60670‐0610
                                  CHICAGO
SECO ACQUISITION L.L.C            C/O FIRST CAPITAL CORPORATION OF   ATTN: CORPORATE               3 FIRST NATIONAL PLZ                        CHICAGO             IL   60602‐5008
                                  CHICAGO                            OFFICER/AUTHORIZED AGENT
SECO DISTRIBUTING                 S US 25                                                                                                      WALTON              KY   41094
SECO TOOLS CANADA INC             3006 DERRY RAD W STE 104           PO BOX 1560 STN A                                    TORONTO ON M5W 3N9
                                                                                                                          CANADA
SECO TOOLS INC                    2805 BELLINGHAM DR                                                                                           TROY               MI    48083‐2046
SECO/WARWICK CORP                 180 MERCER ST                                                                                                MEADVILLE          PA    16335‐3618
SECO/WARWICK CORPORATION          180 MERCER ST                                                                                                MEADVILLE          PA    16335‐3618
SECOND BAPTIST CHURCH                                                6400 WOODWAY DR                                                                              TX    77057
SECOND DISTRICT COUNTY COURT      ACCT OF GARY R COLLINS             7525 BRANDT PIKE                                                          HUBER HEIGHTS      OH    45424
SECOND HAND ROSE                  1512 S PERKINS AVE                                                                                           MUNCIE             IN    47302‐2131
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Name                           Address1                         Address2              Address3    Address4         City                  State Zip
SECOND HARVEST FOOD BANK       500 SPRATT ST STE B                                                                 CHARLOTTE              NC 28206‐3235
SECOND HARVEST FOODBANK        2805 SALT SPRINGS RD                                                                YOUNGSTOWN             OH 44509‐1037
SECOND HARVEST GLEANERS        864 W RIVER CENTER DR NE                                                            COMSTOCK PARK          MI 49321‐8955
SECOND NATIONAL BANK           108 MAIN AVE SW                                                                     WARREN                 OH 44481‐1010
SECOND NATL BANK OF SAGINAW    ACCT OF CURTIS L NEWELL          4855 STATE ST STE 5                                SAGINAW                MI 48603‐3891
SECOND STREET CORP             DBA HUNTLEY SANTA MONICA BEACH   1111 2ND ST                                        SANTA MONICA           CA 90403‐5003
SECOND TO NONE                 3045 MILLER RD                                                                      ANN ARBOR              MI 48103‐2122
SECOND TREASURES CHILDREN'S    ATTN: JEANNE POSIO               4184 DAVISON RD                                    BURTON                 MI 48509‐1455
SECONDER JR, JACK L            7943 PONTIAC LAKE RD                                                                WATERFORD              MI 48327‐1435
SECONDER JR, JACK L.           7943 PONTIAC LAKE RD                                                                WATERFORD              MI 48327‐1435
SECONDER, CANDEE J             6022 AUGUSTA CT                                                                     GRAND BLANC            MI 48439‐9475
SECONDER, CHERYL J             1060 N ARROWHEAD LN                                                                 DEWEY                  AZ 86327‐5401
SECONDER, DONALD B             6022 AUGUSTA CT                                                                     GRAND BLANC            MI 48439‐9475
SECONDER, JAMES G              3486 YARNEY RD                                                                      WATERFORD              MI 48329‐2780
SECONDER, ROBERT J             1060 N ARROWHEAD LN                                                                 DEWEY                  AZ 86327‐5401
SECONDER, TAMORA J             7881 MEADOW DR                                                                      WATERFORD              MI 48329‐4614
SECONDER, TAMORA J.            7881 MEADOW DR                                                                      WATERFORD              MI 48329‐4614
SECONDINO, PHYLLIS B           26 APPIAN DRIVE                                                                     ROCHESTER              NY 14606‐4721
SECONDINO, PHYLLIS B           26 APPIAN DR                                                                        ROCHESTER              NY 14606‐4721
SECONSKY, JULIA                1918 N SHAYTOWN ROAD                                                                VERMONTVILLE           MI 49096
SECONSKY, JULIE A              PO BOX 471                                                                          LAINGSBURG             MI 48848‐0471
SECOR GROUP INC                SUBSIDIARY OF BML PRODUCTION     10 JOHNSON DR                                      RARITAN                NJ 08869‐1663
SECOR LEASING ASSOCIATES LLC   17 INNES RD                                                                         SCARSDALE              NY 10583
SECOR SAAB ALFA                575 BROAD ST                                                                        NEW LONDON             CT 06320‐2517
SECOR SAAB/ALFA                SECOR, JR., CHARLES A            575 BROAD ST                                       NEW LONDON             CT 06320‐2517
SECOR, CATHERINE
SECOR, DEREK A                 135 FALLS CT APT F                                                                  LANSING               MI   48917
SECOR, EDWIN R                 PO BOX 242                                                                          PERRY                 MI   48872‐0242
SECOR, FRANK B                 7198 LINCOLN AVENUE EXTENSION                                                       LOCKPORT              NY   14094‐6216
SECOR, GARY F                  7198 LINCOLN AVE AXT                                                                LOCKPORT              NY   14094‐6216
SECOR, GARY L                  1606 REO RD                                                                         LANSING               MI   48910‐6113
SECOR, HAROLD                  BOBBITT BARRY L                  4807 W LOVERS LN                                   DALLAS                TX   75209‐3137
SECOR, HOWARD C                10861 JACKSON RD                                                                    KRUM                  TX   76249‐7617
SECOR, JAMES P                 181 VISTA DR                                                                        ELKTON                MD   21921‐3514
SECOR, ROY H                   1885 RALEIGH AVE APT 2                                                              LAPEER                MI   48446‐4162
SECOR, RYAN R                  664 HILLSIDE DR                                                                     CORUNNA               MI   48817‐2206
SECOR, STEPHEN A               13742 BROADFORDING CHURCH RD                                                        HAGERSTOWN            MD   21740‐2260
SECOR, THOMAS E                3244 TAMARAC ST                                                                     MOHEGAN LAKE          NY   10547‐1936
SECORA, PETER T                9283 HILL RD                                                                        SWARTZ CREEK          MI   48473‐1013
SECORA, SHIRLEY A              9283 HILL RD                                                                        SWARTZ CREEK          MI   48473‐1013
SECORA, STEVEN J               680 HARD RD                                                                         WEBSTER               NY   14580‐8821
SECORD, ALICE                  7253 BLUE OX TRL                                                                    SOUTH BRANCH          MI   48761‐9611
SECORD, ALTON J                3797 JUNIPER CLARKSTON LAKES                                                        CLARKSTON             MI   48348
SECORD, ARTHUR                 200 NAHMA AVE                                                                       CLAWSON               MI   48017‐1993
SECORD, CHARLES                7271 TONAWANDA CRK RD                                                               LOCKPORT              NY   14094
SECORD, DAVID L                56783 CALUMET AVE                                                                   CALUMET               MI   49913‐1978
SECORD, DONALD K               1051 W MCLEAN AVE                                                                   FLINT                 MI   48507‐3621
SECORD, EDWIN D                596 PEACHTREE LN                                                                    GROSSE POINTE WOODS   MI   48236‐2717
SECORD, KENNETH M              258 N COUNTY LINE RD                                                                WHEELER               MI   48662‐9618
SECORD, LARRY L                1530 S LANSING ST                                                                   SAINT JOHNS           MI   48879‐2102
SECORD, LARRY L                1530 SOUTH LANSING STREET                                                           SAINT JOHNS           MI   48879‐2102
SECORD, LILA                   1051 W MCLEAN AVE                                                                   FLINT                 MI   48507‐3621
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Name                             Address1                              Address2                      Address3                 Address4         City           State Zip
SECORD, LILA                     1051 MCLEAN ST                                                                                                FLINT           MI 48507‐3621
SECORD, PHILLIP G                9079 STRILECKY RD                                                                                             ATLANTA         MI 49709‐9165
SECORD, RALPH E                  9170 N LAKE RD                                                                                                FOSTORIA        MI 48435‐9720
SECORD, RICHARD D                10309 POTTER RD                                                                                               FLUSHING        MI 48433‐9722
SECORD, ROBERT L                 7520 S AIRPORT RD                                                                                             DEWITT          MI 48820‐9102
SECORD, THOMAS L                 11342 CENTER ST                                                                                               OTISVILLE       MI 48463‐9707
SECORD, THOMAS LEE               11342 CENTER ST                                                                                               OTISVILLE       MI 48463‐9707
SECOURS, DAVID L                 38 HOLLYWOOD ST                                                                                               ROCHESTER       NY 14615‐3816
SECOVITCH, SHIRLEY P             7597 DRAKE‐STATE LINE RD.                                                                                     BURGHILL        OH 44404‐9726
SECOVITCH, SHIRLEY P             7597 DRAKE STATELINE RD NE                                                                                    BURGHILL        OH 44404‐9726
SECOY, FRANK H                   4739 WESTLAWN PKWY                                                                                            WATERFORD       MI 48328‐3477
SECOY, FRANK J                   5133 OAKCLIFF DR                                                                                              WATERFORD       MI 48327‐2844
SECOY, LOUIS R                   1181 HIGHWAY 221                                                                                              IRONTON         MO 63650‐9154
SECOY, LOUIS R                   RR 1 BOX 358B                                                                                                 IRONTON         MO 63650‐9568
SECQUER, RALPH P                 640 ROOSEVELT AVE                                                                                             MOUNT MORRIS    MI 48458‐1527
SECREET‐ALECK, KATHRYN           20 SYLVAN DR                                                                                                  CECIL           PA 15321‐1171
SECREST, MARK J                  325 TRENTON RD                                                                                                FAIRLESS HLS    PA 19030‐2803
SECREST, ROBERT L                1651 MCLAINE ST                                                                                               CANTON          MI 48188‐8024
SECREST, ROGER E                 5826 E RIVER RD                                                                                               MONTPELIER      IN 47359‐9769
SECRET HOWARD                    C/0 DENNEY & BARRETT PC               870 COPPERFIELD DR                                                      NORMAN          OK 73071
SECRETAN, J J                    6083 TREE LINE DR                                                                                             GRAND BLANC     MI 48439‐9789
SECRETAN, JASON J                16304 BALDWIN CIRCLE                                                                                          HOLLY           MI 48442‐9385
SECRETARIO DE HACIENDA DEPT DE   PO BOX 41059                          ESTACION MINILLAS                                                       SAN JUAN        PR 00940‐1059
ASUNTOS DEL CONSUMIDO
SECRETARY OF COMMONWEALTH        1 ASHBURTON PL RM 1717                 ATTN: ANNUAL REPORT‐AR 125                                             BOSTON         MA 02108‐1518
SECRETARY OF STATE               ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 94125                 COMMERCIAL DIV                            BATON ROUGE    LA 70804‐9125

SECRETARY OF STATE               ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 202 N CARSON ST              NEW FILINGS DIVISON                       CARSON CITY    NV 89701‐4201

SECRETARY OF STATE               ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 9529                  NEW HAMPSHIRE DEPT OF                     MANCHESTER     NH 03108‐9529
                                                                                                     STATE
SECRETARY OF STATE               ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 94608                 1301 STATE CAPITOL                        LINCOLN        NE 68509‐4608

SECRETARY OF STATE               ATTN UCC DIVISION                     STATE CAPITOL BLDG RM 420                                               SANTA FE       NM    87503‐0001
SECRETARY OF STATE               BUREAU OF MOTOR VEHICLES              29 HOUSE STA                                                            AUGUSTA        ME    04333‐0029
SECRETARY OF STATE               STATE CAPITOL N STE 300               325 DON GASPAR                                                          SANTA FE       NM    87503‐0001
SECRETARY OF STATE               BUSINESS SERVICES DIVISION            PO BOX 136                                                              JACKSON        MS    39205‐0136
SECRETARY OF STATE               MEMORIAL HALL 1ST FLOOR               120 SW 10TH AVENUE                                                      TOPEKA         KS    66612
SECRETARY OF STATE               UNIFORM COMMERCIAL CODE BUREAU        PO BOX 7846 3RD FLOOR                                                   MADISON        WI    53707
SECRETARY OF STATE               UNIFORM COMMERCIAL CODE               BLDG 1 STE 157‐K              1900 KANAWHA BLVD EAST                    CHARLESTON     WV    25305
SECRETARY OF STATE               UNIFORM COMMERCIAL CODE               PO BOX 29626                                                            RALEIGH        NC    27626‐0626
SECRETARY OF STATE               ATTN UCC DIVISION                     60 EMPIRE DR STE 100                                                    SAINT PAUL     MN    55103‐1891
SECRETARY OF STATE               UCC DIVISION DEPT OF STATE            107 N MAIN STREET                                                       CONCORD        NH    03301
SECRETARY OF STATE               BUREAU OF MOTOR VECHICLES             29 STATE HOUSE STA                                                      AUGUSTA        ME    04333‐0029
SECRETARY OF STATE               UCC SECTION                           PO BOX 5616                                                             MONTGOMERY     AL    36103‐5616
SECRETARY OF STATE               UCC DIVISION                          PO BOX 11350                                                            COLUMBIA       SC    29211‐1350
SECRETARY OF STATE               2 SOUTH SALISBURG STREET                                                                                      RALEIGH        NC    27601
SECRETARY OF STATE               UCC DIVISION                          1305 STATE CAPITOL BLDG                                                 LINCOLN        NE    68509
SECRETARY OF STATE               UCC DIVISION                          HOOVER BLDG                   E 14TH & WALNUT ST                        DES MOINES      IA   50319
SECRETARY OF STATE               UCC DIVISION                          30 E BROAD ST FL 14           STATE OFFICE TOWER                        COLUMBUS       OH    43266‐0001
SECRETARY OF STATE               UCC DIVISION                          108 STATE OFFICE BLDG                                                   SAINT PAUL     MN    55155‐1299
SECRETARY OF STATE               UCC DIVISION                          PO BOX 942835                                                           SACRAMENTO     CA    94235‐0001
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Name                             Address1                               Address2                       Address3              Address4             City               State Zip
SECRETARY OF STATE               UCC DIVISION                           30 TRINITY ST                                                             HARTFORD            CT 06106‐1634
SECRETARY OF STATE               2250 CROOKS RD                                                                                                   ROCHESTER HILLS     MI 48309‐3600
SECRETARY OF STATE               UCC SECTION                            148 W RIVER ST                                                            PROVIDENCE           RI 02904
SECRETARY OF STATE               BUSINESS SERVICES BUREAU               PO BOX 202801                                                             HELENA              MT 59620‐2801
SECRETARY OF STATE               BUSINESS PROGRAMS DIV                  1500 11TH ST FL                                                           SACRAMENTO          CA 95814
SECRETARY OF STATE               PO BOX 9529                            NEW HAMPSHIRE DEPT OF STATE                                               MANCHESTER          NH 03108‐9529
SECRETARY OF STATE               202 N CARSON ST                        NEW FILINGS DIVISON                                                       CARSON CITY         NV 89701‐4201
SECRETARY OF STATE               PO BOX 94608                           1301 STATE CAPITOL                                                        LINCOLN             NE 68509‐4608
SECRETARY OF STATE               PO BOX 94125                           COMMERCIAL DIV                                                            BATON ROUGE         LA 70804‐9125
SECRETARY OF STATE ARKANSAS      UCC DIVISION                           STATE CAPITOL ROOM 012                                                    LITTLE ROCK         AR 72201
SECRETARY OF STATE COMMERCIAL    PO BOX 94125                                                                                                     BATON ROUGE         LA 70804‐9125
DIVISION
SECRETARY OF STATE CONNECTICUT   COMMERCIAL RECORDING DIVISION          30 TRIALITY STREET                                                        HARTFORD           CT 06115
SECRETARY OF STATE GEORGIA       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 23038                                                              COLUMBUS           GA 31902‐3038

SECRETARY OF STATE GEORGIA       PO BOX 23038                                                                                                     COLUMBUS           GA    31902‐3038
SECRETARY OF STATE ILLINOIS      501 S 2ND ST RM 69                                                                                               SPRINGFIELD        IL    62756‐7400
SECRETO, PASQUALE                2401 E BROWN ST                                                                                                  PHOENIX            AZ    85028‐4310
SECRETO, THELMA J.               34847 CHICKADEE RDG                                                                                              RICHMOND           MI    48062‐5508
SECRETS BAR & GRILL              ATTN: ROGER SYME                       633 MCGOWAN AVE                                                           WEST MIFFLIN       PA    15122‐3439
SECRIEST ROBERT                  127 LAKE                                                                                                         CLEVELAND          OH    44107
SECRIST CASEY RAY                HALGREN, JENNIFER                      55 WEST MONROE STREET SUITE                                               CHICAGO            IL    60603
                                                                        3720
SECRIST CASEY RAY                SECRIST, CASEY RAY                     55 WEST MONROE STREET SUITE                                               CHICAGO             IL   60603
                                                                        3720
SECRIST CASEY RAY                SECRIST, KATHLEEN                      55 WEST MONROE STREET SUITE                                               CHICAGO             IL   60603
                                                                        3720
SECRIST, CASEY RAY               KREISMAN LAW OFFICES                   55 W MONROE ST STE 3720                                                   CHICAGO            IL    60603‐5011
SECRIST, DARLENE E               237 CHURCH ST                                                                                                    LOCKPORT           NY    14094‐2245
SECRIST, DAVID A                 418 BELLEVUE AVE                                                                                                 SPRINGFIELD        OH    45503‐4839
SECRIST, DAVID C                 8006 RIDGE RD                                                                                                    GASPORT            NY    14067‐9383
SECRIST, DEBORAH M               8673 LAKE RD                                                                                                     BARKER             NY    14012‐9642
SECRIST, FRED D                  5005 KINGSTON AVE                                                                           NIAGARA FALLS ON
                                                                                                                             CANADA L2E5B3
SECRIST, KATHLEEN                KREISMAN LAW OFFICES                   55 W MONROE ST STE 3720                                                   CHICAGO            IL    60603‐5011
SECRIST, LOIS D                  804 SOUTHWEST 15TH STREET                                                                                        BLUE SPRINGS       MO    64015
SECRIST, SANDRA M                5615 ANGELA DR                                                                                                   LOCKPORT           NY    14094
SECRIST, SHIRLEY D               5228 SILVERDOME                                                                                                  DAYTON             OH    45414‐5414
SECTIONAL STAMPING INC           PAMELA GREGORY                         350 MAPLE ST                   WELLINGTON STAMPING                        WELLINGTON         OH    44090‐1171
                                                                                                       DIVISION
SECTIONAL STAMPING INC           350 MAPLE ST                                                                                                     WELLINGTON         OH 44090‐1171
SECTIONAL STAMPING INC           PAMELA GREGORY                         WELLINGTON STAMPING DIVISION   350 MAPLE STREET                           VANDALIA           OH 45377

SECULES, VERNA V                 8648 W SALTER DR                       DEER VALLEY ASSISTANT LIVING                                              PEORIA             AZ    85382‐3401
SECUNDINO ARROYO                 BEVAN & ASSOCIATES, LPA, INC.          6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS.        OH    44236
SECUNDINO MESA                   8615 HAZELNUT ST                                                                                                 BUENA PARK         CA    90620‐3304
SECURA, IRENE                    5221 LAKESHORE DR                      APT 112                                                                   FORT GRATIOT       MI    48059‐3149
SECURAPLANE                      3334 COLLECTION CENTER DR                                                                                        CHICAGO            IL    60693‐0033
SECURE BUILDING MAINTENACE
SECURE EXECUTIVE LLC             PO BOX 106                                                                                                       BLOOMFIELD HILLS   MI 48303‐0106
SECURE SOLUTIONS INC             12073 HOLLY CT                                                                                                   LEMONT             IL 60439‐6784
SECURE TRUST OF LAM TRUST        PO BOX 4684                                                                                                      TROY               MI 48099‐4684
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Name                                    Address1                             Address2                         Address3                     Address4                 City               State Zip
SECURE‐A‐TECH INC                       56660 SCHEUER RD                                                                                                            CHESTERFIELD        MI 48051‐1162
SECURED BY DESIGN LTD                   THE OLD BREWERY                      THE STOCK COSGROVE               NORTHANTS MK 19 7 JD         UNITED KINGDOM GREAT
                                                                                                                                           BRITAIN
SECURED BY DESIGN LTD                   THE OLD BREWERY THE STOCKS COS                                                                     MILTON KEYNES
                                                                                                                                           BUCKINGHAMSHIRE GB
                                                                                                                                           MK19 7JD GREAT BRITAIN
SECURITAS                               TECH CENTER
SECURITAS                               4850 E STREET RD STE 220             C/O CEI                                                                                TREVOSE            PA   19053‐6653
SECURITAS AB                            25330 TELEGRAPH RD                                                                                                          SOUTHFIELD         MI   48033
SECURITAS AB                            200 RENAISSANCE CTR FL 20                                                                                                   DETROIT            MI   48265‐0001
SECURITAS SEC/NASHVI                    301 S PERIMETER PARK DR STE 115                                                                                             NASHVILLE          TN   37211‐4128
SECURITAS SECURITY SERV
SECURITAS SECURITY SERVICES             2 CAMPUS DRIVE                                                                                                              PARSIPPANY         NJ 07054
SECURITAS SECURITY SERVICES             4330 PARK TERRACE DR                                                                                                        WESTLAKE VILLAGE   CA 91361‐4630
SECURITAS SECURITY SERVICES EFUSA INC   2 CAMPUS DR                                                                                                                 PARSIPPANY         NJ 07054

SECURITAS SECURITY SERVICES US          2511 E 46TH ST STE 01                                                                                                       INDIANAPOLIS       IN   46205
SECURITAS SECURITY SERVICES US          2 CAMPUS DR                                                                                                                 PARSIPPANY         NJ   07054
SECURITAS SECURITY SERVICES US          200 RENAISSANCE CTR FL 20                                                                                                   DETROIT            MI   48265‐0001
SECURITAS SECURITY SERVICES USA         LISA MELVIN                          2 CAMPUS DRIVE                                                                         PARSIPPANY         NJ   07054
SECURITAS SECURITY SERVICES USA INC     2511 E 46TH ST                                                                                                              INDIANAPOLIS       IN   46205

SECURITAS SECURITY SVC USA INC          ATTN: SCOTT FRY                      12000 SNOW RD # 6                                                                      CLEVELAND          OH   44130‐9314
SECURITAS SECURITY SVC USA INC          ATTN: RICHARD SWARTZ                 3044 W GRAND BLVD # L‐120                                                              DETROIT            MI   48202‐3191
SECURITAS SECURITY SVCS USA INC         SAN DIEGO SOUTH                      6160 MISSION GORGE RD                                                                  SAN DIEGO          CA   92120
SECURITAS SECURITY SYSTEMS USA          PO BOX 905539                                                                                                               CHARLOTTE          NC   28290‐5539
SECURITAS SECURITY SYSTEMS USAINC       2400 COMMERCE AVE                    STE 500                                                                                DULUTH             GA   30095‐8920
SECURITAS SERVICE CO
SECURITEC ONE INC                  1621 MEDINA RD STE 2                                                                                                             MEDINA             OH 44256‐5333
SECURITIES AND EXCHANGE COMMISSION ATTN: MARK SCHONFELD, REGIONAL       3 WORLD FINANCIAL CENTER              SUITE 400                                             NEW YORK           NY 10281
                                   DIRECTOR
SECURITIES AND EXCHANGE COMMISSION ATTN: ANDREW N. VOLLMER, ACTING GEN. 100 F STREET, ND                                                                            WASHINGTON         DC 20549
                                   COUNSEL
SECURITIES EXCHANGE COMMISSION     OFFICE OF THE GENERAL COUNSEL        100 F ST NE                                                                                 WASHINGTON         DC 20549‐2000
SECURITIES EXCHANGE COMMISSION     ROSE L. ROMERO, REGIONAL DIRECTOR    801 CHERRY ST UNIT 18                 BURNETT PLAZA, SUITE 1900                             FORT WORTH         TX 76102‐6882

SECURITIES EXCHANGE COMMISSION          HELANE L. MORRISON, REGIONAL         44 MONTGOMERY ST STE 2600                                                              SAN FRANCISCO      CA 94104‐4716
                                        DIRECTOR
SECURITIES EXCHANGE COMMISSION          RANDALL R. LEE, REGIONAL DIRECTOR    5670 WILSHIRE BLVD FL 11                                                               LOS ANGELES        CA 90036‐5627
SECURITIES EXCHANGE COMMISSION          KENNETH D. ISRAEL, JR., REGIONAL     15 W SOUTH TEMPLE STE 1800                                                             SALT LAKE CITY     UT 84101‐1573
                                        DIRECTOR
SECURITIES EXCHANGE COMMISSION          BRANCH OF REORGANIZATION             3475 LENOX ROAD NE, SUITE 1002                                                         ATLANTA            GA 30326
SECURITIES EXCHANGE COMMISSION          MARK SCHONFELD, REGIONAL DIRECTOR    3 WORLD FINANCIAL CENTER         SUITE 400                                             NEW YORK           NY 10281

SECURITIES EXCHANGE COMMISSION          DAVID BERGERS, REGIONAL DIRECTOR     33 ARCH STREET                   23RD FLOOR                                            BOSTON             MA 02110
SECURITIES EXCHANGE COMMISSION          DANIEL M. HAWKE, REGIONAL DIRECTOR   THE MELLON INDEPENDENCE          701 MARKET STREET                                     PHILADELPHIA       PA 19106
                                                                             CENTER
SECURITIES EXCHANGE COMMISSION          DAVID NELSON, REGIONAL DIRECTOR      801 BRICKELL AVE STE 1800                                                              MIAMI              FL 33131‐4901
SECURITIES EXCHANGE COMMISSION          ATLANTA REGIONAL OFFICE              3475 LENOX RD NE STE 1000                                                              ATLANTA            GA 30326‐3235
SECURITIES EXCHANGE COMMISSION          ATTN: JOLENE WISE                    BANKRUPTCY DIVISION              175 W. JACKSON BLVD., STE.                            CHICAGO            IL 60604
                                                                                                              900
SECURITIES EXCHANGE COMMISSION          GEORGE CURTIS,áREGIONAL DIRECTOR     1801 CALIFORNIA ST STE 1500                                                            DENVER             CO 80202‐2656
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Name                                 Address1                               Address2                      Address3        Address4         City              State Zip
SECURITY 4 CHEMICAL CO               5885 RAYTOWN RD                        SECURITY MANUFACTURING INC                                     RAYTOWN            MO 64133‐3319
SECURITY AND FIRE ELECTRONICS INC    2590 DOBBS RD                                                                                         ST AUGUSTINE       FL 32086‐5244
SECURITY AND FIRE/FL                 2590 DOBBS RD                                                                                         SAINT AUGUSTINE    FL 32086‐5244
SECURITY BANK & TRUST                ACCT OF RONALD H PICKENS
SECURITY BANK & TRUST CO             15 W 2ND ST                                                                                           MAYSVILLE         KY 41056‐1101
SECURITY BANK, N.A.                  381 EAST BROADWAY                                                                                     SALT LAKE CITY    UT 84111
SECURITY BANK, N.A.                  ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 381 EAST BROADWAY                                              SALT LAKE CITY    UT 84111

SECURITY CAPITAL INDUST TRUST        CLIENT SERV 55101A1900BCU            55101A1900BCU                   PO BOX 891158                    DALLAS            TX   75389‐0001
SECURITY CHEVROLET                   1100 E VISTA WAY                                                                                      VISTA             CA   92084‐4612
SECURITY CHEVROLET                   RICK SERING                          1100 E VISTA WAY                                                 VISTA             CA   92084‐4612
SECURITY CHEVROLET INC               SECURITY CHEVROLET                   5750 WILSHIRE BLVD STE 655                                       LOS ANGELES       CA   90036‐3637
SECURITY CHEVROLET INC               5750 WILSHIRE BLVD STE 655                                                                            LOS ANGELES       CA   90036‐3637
SECURITY CREDIT UNION                ATTN: TERRELL L PIERCE               PO BOX 5160                                                      FLINT             MI   48505‐0160
SECURITY FEDERAL CREDIT UNION        3801 W BOULEVARD DR                                                                                   FLINT             MI   48505‐3071
SECURITY FEDERAL CREDIT UNION        3801 W BOULEVARD DR                  PO BOX 5160                                                      FLINT             MI   48505‐3071
SECURITY FEDERAL CREDIT UNION        FOR DEPOSIT IN THE ACCOUNT OF        3801 W BOULEVARD DR             J STRENG                         FLINT             MI   48505‐3071
SECURITY FEDERAL CREDIT UNION        FOR DEPOSIT TO THE A/C OF            3801 W BOULEVARD DR             H ROMER                          FLINT             MI   48505‐3071
SECURITY FEDERAL CREDIT UNION        2230 S CENTER RD                                                                                      BURTON            MI   48519‐1150
SECURITY FEDERAL CU                  FOR DEPOSIT TO THE ACCOUNT OF        3801 W BOULEVARD DR             R DOGGART                        FLINT             MI   48505‐3071
SECURITY MFG CO                      5885 RAYTOWN RD                                                                                       RAYTOWN           MO   64133‐3319
SECURITY NATIONAL LIFE INSURANCE     C/O JEFFREY R STEPHENS               5300 S 360 WEST, STE 250                                         SALT LAKE CITY    UT   84123
COMPANY
SECURITY NATIONAL LIFE INSURANCE     ATTN: JEFFREY R STEPHENS             5300 SOUTH 360 WEST SUITE 250                                    SALT LAKE CITY    UT 84123
COMPANY
SECURITY NATIONAL PROPERTIES         PO BOX 1028                                                                                           EUREKA            CA   95502‐1028
SECURITY ONE FEDERAL CREDIT UN       FOR DEPOSIT IN THE ACCOUNT OF        PO BOX 5583                     J PATEL                          ARLINGTON         TX   76005‐5583
SECURITY ONE FEDERAL CREDIT UNION    204 HOLLANDALE CIR                                                                                    ARLINGTON         TX   76010‐2301
SECURITY PACIFIC FINANCIAL           ACCT OF WILLIAM ROBERT BROOKS        PO BOX 1869                                                      VISTA             CA   92085‐1869
SECURITY PACK/FLINT                  3301 S DORT HWY                                                                                       FLINT             MI   48507‐5223
SECURITY PACKAGING                   3301 S DORT HWY                                                                                       FLINT             MI   48507‐5223
SECURITY PACKAGING INC               3367 CORUNNA RD                                                                                       FLINT             MI   48532
SECURITY PACKAGING INC               3301 S DORT HWY                                                                                       FLINT             MI   48507‐5223
SECURITY PACKAGING INC               G3367 CORUNNA RD                                                                                      FLINT             MI   48532‐4732
SECURITY PACKAGING INC.              ANDREW GOGGINS                       CONSIGNMENT CENTER                                                                 MI   48507
SECURITY PLASTICS                    JUDY LENIS                           14427 N.W. 60 AVE                                                KENTWOOD          MI   49512
SECURITY PLASTICS DIVISION           MIKE PELAYO X703                     11427 NW 60TH AVE                                                EL PASO           TX   79936
SECURITY PLASTICS DIVISION/NMC LLC   MIKE PELAYO X703                     11427 NW 60TH AVE                                                MIAMI LAKES       FL   33014
SECURITY PLASTICS DIVISION/NMC LLC   14427 NW 60TH AVE                                                                                     MIAMI LAKES       FL   33014‐2887
SECURITY PLASTICS DIVISION/NMC LLC   ATTN: CORPORATE OFFICER/AUTHORIZED   14427 NW 60TH AVE                                                MIAMI LAKES       FL   33014‐2806
                                     AGENT
SECURITY PLASTICS INC                JUDY LENIS                           14427 N.W. 60 AVE                                                KENTWOOD          MI   49512
SECURITY SHREDDERS INC               N5207 HIGHWAY EE                                                                                      SEYMOUR           WI   54165
SECURITY/ST AUGUSTIN                 134 RIBERIA                          P.O. BOX 4260                                                    SAINT AUGUSTINE   FL   32084
SEDA, LUIS A                         15702 RICHMOND AVE                                                                                    BELTON            MO   64012
SEDA, MARANGELY                      4B8 CALLE CAMPOAMOR                  URB ALT COVADONGA                                                TOA BAJA          PR   00949‐5430
SEDA, ROBERTO L                      3318 RIDGECREST CT                                                                                    NORMAN            OK   73072‐7535
SEDA, ROBERTO LUIS                   3318 RIDGECREST CT                                                                                    NORMAN            OK   73072‐7535
SEDAM, BILLY S                       7121 BUICK DR                                                                                         INDIANAPOLIS      IN   46214‐3224
SEDAM, CHARLES M                     1029 E POWERLINE RD                                                                                   NORMAN            IN   47264‐8622
SEDAM, EARL J                        3657 WOODLAND DR                                                                                      METAMORA          MI   48455‐9626
SEDAM, ERIC D                        6223 E HILLS RD                                                                                       FORT WAYNE        IN   46804‐6309
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Name                                  Address1                     Address2                         Address3   Address4         City               State Zip
SEDAM, ERIC DAVID                     6223 E HILLS RD                                                                           FORT WAYNE          IN 45804‐6309
SEDAM, HARLEY R                       3619 IVORY WAY                                                                            INDIANAPOLIS        IN 46227‐8060
SEDAM, MARGUERITE L                   4720 CHARRINGTON CIRCLE                                                                   INDIANAPOLIS        IN 46254‐9671
SEDAM, MARION E                       3838 MANN RD                                                                              INDIANAPOLIS        IN 46221‐2426
SEDAM, MOLLIE B                       6436 LUPINE DR                                                                            INDIANAPOLIS        IN 46224‐2045
SEDAM, ROY C                          6456 DOC WHITFIELD RD                                                                     WEWAHITCHKA         FL 32465‐5827
SEDAM, YVONNE M                       3333 RAVENSWOOD RD LOT 144                                                                MARYSVILLE          MI 48040‐1137
SEDAN, ANGEL M                        18246 CODDING STREET                                                                      DETROIT             MI 48219‐2213
SEDAR, DAVID J                        2611 PIKE CREEK RD                                                                        WILMINGTON          DE 19808‐3609
SEDAR, JEAN A                         157 LAUREL HEIGHTS RD                                                                     LANDENBURG          PA 19350‐9306
SEDAR, PAUL                           143 VINEYARD RD                                                                           AVON LAKE           OH 44012‐1725
SEDAR, WILLIAM T                      157 LAUREL HEIGHTS ROAD                                                                   LANDENBERG          PA 19350‐9306
SEDARA LATHON                         410 E DARTMOUTH ST                                                                        FLINT               MI 48505‐4980
SEDARS AUTO PARK                      4510 4TH ST SW                                                                            MASON CITY           IA 50401‐7334
SEDARS MOTOR CO., INC.                JERRY SEDARS                 4510 4TH ST SW                                               MASON CITY           IA 50401‐7334
SEDAT BAYSAL
SEDAT, WILLIAM A                      4716 DOW RIDGE RD                                                                         ORCHARD LAKE       MI    48324‐2327
SEDBERRY, DON W                       4871 S 980 E                                                                              WINDFALL           IN    46076‐9609
SEDBERRY, JOYCE                       SHUMWAY G LYNN LAW OFFICES   4647 N 32ND ST                   STE 230                     PHOENIX            AZ    85018‐3347
SEDBERRY, MARTHA D                    201 TODD LN                                                                               BRYANT             AR    72022‐2847
SEDBERRY, RAY
SEDBERRY, WAYNE D                     255 METHODIST DR W                                                                        FRANKLIN           IN    46131‐2174
SEDBERY, LARRY A                      2050 S WAGON MASTER RD                                                                    COTTONWOOD         AZ    86326
SEDDENS, KELLY M                      PO BOX 78352                                                                              SAINT LOUIS        MO    63178‐8352
SEDDENS‐DUNN, KALISHA R               9645 VINCENNES DR APT 6                                                                   SAINT LOUIS        MO    63136‐2960
SEDDON GERALD JAY (154032)            BARON & BUDD                 3102 OAK LANE AVE , SUITE 1100                               DALLAS             TX    75219
SEDDON GERALD JAY (154032) ‐ DENNISON BARON & BUDD                 3102 OAK LANE AVE , SUITE 1100                               DALLAS             TX    75219
LYLE ORESTE
SEDDON GERALD JAY (154032) ‐ DUNTON BARON & BUDD                   3102 OAK LANE AVE , SUITE 1100                               DALLAS              TX   75219
LLOYD EUGENE
SEDDON, ARTHUR E                      6268 CORWIN STA                                                                           NEWFANE            NY    14108‐9733
SEDDON, EDWARD D                      550 FRIENDSHIP RD                                                                         BUCHANAN           TN    38222‐5135
SEDDON, GERALD JAY                    BARON & BUDD                 3102 OAK LANE AVE, SUITE 1100                                DALLAS             TX    75219
SEDDON, JOSEPH E                      2941 ROCKFORD CT                                                                          LAKE ORION         MI    48360‐1734
SEDDON, KAREN L                       40760 GROVELAND DR                                                                        CLINTON TOWNSHIP   MI    48038‐2910
SEDDON, MAE A                         6551 GUNN RD                                                                              BROWN CITY         MI    48416‐8202
SEDDON, MARJORIE H                    1301 SWAFFER ROAD                                                                         MAYVILLE           MI    48744‐9540
SEDDON, MARJORIE H                    PO BOX 310                                                                                MAYVILLE           MI    48744‐0310
SEDDON, VELMA M                       848 GIBSON ST                                                                             OXFORD             MI    48371‐4521
SEDELL E LACY                         3093 OLD FARM CT                                                                          FLINT              MI    48507‐1245
SEDELL LACY                           3093 OLD FARM CT                                                                          FLINT              MI    48507‐1245
SEDELL, AMY JO                        217 ABBOTT RD                                                                             LAINGSBURG         MI    48848‐8805
SEDELL, CLARA L                       1308 W MILLER RD                                                                          LANSING            MI    48911‐4855
SEDELL, GREGORY L                     1707 PEGGY PL                                                                             LANSING            MI    48910
SEDELL, KATHY J                       5870 MARSH RD                                                                             HASLETT            MI    48840‐8901
SEDELMAIER, HEATHER J                 12479 W GREENFIELD RD                                                                     LANSING            MI    48917‐8614
SEDELMAIER, LYNN M                    5308 ANNANDALE DR                                                                         MEMPHIS            TN    38125‐4267
SEDELMAIER, LYNN M                    7037 CRANLEIGH CV                                                                         MEMPHIS            TN    38141‐8566
SEDELMAIER, RONALD A                  1091 BRIARCLIFF DR                                                                        RAHWAY             NJ    07065‐1903
SEDENO, LOUIS                         14159 JOUETT ST                                                                           ARLETA             CA    91331‐5222
SEDENSKY, WILLIAM F                   3717 WARREN RD                                                                            CLEVELAND          OH    44111‐3073
SEDER, ARNOLD M                       9433 SWAFFER RD                                                                           VASSAR             MI    48768‐9683
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Name                                   Address1                         Address2                Address3     Address4         City                  State Zip
SEDER, CLIFFORD A                      514 PRINCETON GREENS CT                                                                SUN CITY CTR           FL 33573‐7024
SEDER, CLIFFORD W                      9133 N ELMS RD                                                                         CLIO                   MI 48420‐8509
SEDER, CLIFFORD WILLARD                9133 N ELMS RD                                                                         CLIO                   MI 48420‐8509
SEDER, DIANA L                         1549 E ATHERTON RD LOT 150                                                             FLINT                  MI 48507‐9110
SEDER, DONALD J                        60 S 9 MILE RD                                                                         LINWOOD                MI 48634‐9523
SEDER, FLOYD R                         6140 S MARTIN DR                                                                       DURAND                 MI 48429‐1721
SEDER, GAYLE J                         2005 ROLLINS ST                                                                        GRAND BLANC            MI 48439‐5123
SEDER, MILDRED E                       1816 ALCOTT RD                                                                         SAGINAW                MI 48604‐9421
SEDER, RANDALL V                       8315 S BEYER RD                                                                        BIRCH RUN              MI 48415‐8421
SEDER, RANDALL VIRGIL                  8315 S BEYER RD                                                                        BIRCH RUN              MI 48415‐8421
SEDER, ROSE M                          641 W SCHLEIER ST APT D7                                                               FRANKENMUTH            MI 48734‐1083
SEDER, SHARON A                        9362 BRAY RD                                                                           MILLINGTON             MI 48746‐9559
SEDER, SHARON ANN                      9362 BRAY RD                                                                           MILLINGTON             MI 48746‐9559
SEDER, SHARON R                        8315 S BEYER RD                                                                        BIRCH RUN              MI 48415‐8421
SEDER, THOMAS A                        42199 CRESTVIEW CIR                                                                    NORTHVILLE             MI 48168‐2232
SEDERES JEFF                           SEDERES, JEFF                    935 KILLALEA DR                                       IMPERIAL               MO 63052‐2517
SEDERES, JEFF                          935 KILLALEA DR                                                                        IMPERIAL               MO 63052‐2517
SEDERLUND JR, WILLIAM A                1670 SNOWY OWL CT                                                                      ROCHESTER HILLS        MI 48307‐6003
SEDEWITZ, GREG H                       25599 HILLSDALE DR                                                                     NOVI                   MI 48374‐2157
SEDGEWICK MCCOLLUM                     701 S MEADE ST                                                                         FLINT                  MI 48503‐2201
SEDGWICK
SEDGWICK BUSINESS INTERIORS LL         176 ANDERSON AVE                                                                       ROCHESTER             NY 14607
SEDGWICK BUSINESS INTERIORS LLC        176 ANDERSON AVE                                                                       ROCHESTER             NY 14607
SEDGWICK CLAIMS MANAGEMEN T            PO BOX 2066                                                                            MEMPHIS               TN 38101‐2066
SERVICES INC
SEDGWICK CLAIMS MANAGEMEN T            1100 RIDGEWAY LOOP ROAD                                                                MEMPHIS               TN 38120
SERVICES, INC.
SEDGWICK CLAIMS MANAGEMEN T            PO BOX 2066                                                                            MEMPHIS               TN 38101‐2066
SERVICES, INC.
SEDGWICK CLAIMS MANAGEMENT             PO BOX 5157                                                                            SOUTHFIELD            MI 48086‐5157
SERVICES
SEDGWICK CLAIMS MGMT SERVICES          1000 RIDGEWAY LOOP RD                                                                  MEMPHIS               TN 38120
SEDGWICK CMS ‐ DISABILITY FINANCIAL    PO BOX 5157                                                                            SOUTHFIELD            MI 48086‐5157

SEDGWICK CMS ‐ NATIONAL B ILL REVIEW   PO BOX 5089                                                                            MEMPHIS               TN 38101‐5089

SEDGWICK COUNTY ASSESSOR          PO BOX 2909                                                                                 WICHITA               KS   67201‐2909
SEDGWICK COUNTY FLEET MGMT.                                             1015 STILLWELL ST                                                           KS   67213
SEDGWICK COUNTY TREASURER         PO BOX 2961                                                                                 WICHITA               KS   67201‐2961
SEDGWICK DETERT MORAN & ARNOLDLLP 1 MARKET FL 8                                                                               SAN FRANCISCO         CA   94105‐5107

SEDGWICK JAMES OF MICHIGAN INC         PO BOX 92500                                                                           CHICAGO               IL   60675‐0001
SEDGWICK JASON                         SEDGWICK, JASON                  30 E BUTLER AVE                                       AMBLER                PA   19002‐4514
SEDGWICK PHILIP K                      PO BOX 456                                                                             SAN LUIS REY          CA   92068‐0456
SEDGWICK WALTER G                      9192 FALCON GREENS DR                                                                  VILLAGE OF LAKEWOOD   IL   60014‐3315
SEDGWICK, ALFREIDA                     4604 GLASGOW DR                                                                        ROCKVILLE             MD   20853‐3035
SEDGWICK, COSTON                       PO BOX 1659                                                                            GLEN BURNIE           MD   21060‐1659
SEDGWICK, DETERT, MORAN & ARNOLD,      DEBORAH E. LEWIS, ESQ.           1717 MAIN ST STE 5400                                 DALLAS                TX   75201‐7367
LLP
SEDGWICK, DOUGLAS K                    9026 NORTHEAST 107TH TERRACE                                                           KANSAS CITY           MO 64157‐7704
SEDGWICK, KEITH A                      5508 N COUNTY ROAD F                                                                   JANESVILLE            WI 53545‐8940
SEDGWICK, KENNETH                      20905‐L/2 WARREN ROAD                                                                  PERRIS                CA 92570
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Name                                   Address1                        Address2                      Address3                   Address4         City                  State Zip
SEDGWICK, ROBERT M                     50 HILLSBOROUGH DR                                                                                        PLEASANT VIEW          UT 84414‐2271
SEDGWICK, WALTER G                     9192 FALCON GREENS DR                                                                                     VILLAGE OF LAKEWOOD     IL 60014‐3315
SEDGWICK/CHICAGO                       PO BOX 92500                                                                                              CHICAGO                 IL 60675‐0001
SEDILLO FRANK                          SEDILLO, FRANK                  5055 WILSHIRE BLVD STE 300                                                LOS ANGELES            CA 90036‐6101
SEDILLO, ALEX M                        309 CAMPO ST                                                                                              GRAND PRAIRIE          TX 75051‐4907
SEDILLO, FRANK                         KROHN & MOSS ‐ CA,              5055 WILSHIRE BLVD STE 300                                                LOS ANGELES            CA 90036‐6101
SEDIMENT MANAGEMENT WORK GROUP         ATTN STEVEN C NADEAU            660 WOODWARD AVE              2290 FIRST NATIONAL BLDG                    DETROIT                MI 48226‐3409

SEDIN, KENNETH W                       2326 CARILLON DR                                                                                          GRAYSLAKE             IL    60030‐4401
SEDIN, RICHARD W                       13845 WILSHIRE WAY                                                                                        HUNTLEY               IL    60142‐7859
SEDINGER, FRANCES E                    1609 PINE STREET                                                                                          GREENSBURG            PA    15601‐5443
SEDINGER, FRANCES E                    253 TEE DR 253                                                                                            TARRS                 PA    15688
SEDINGER, KATHY J                      176 W HILLS DR APT E3                                                                                     GREENSBURG            PA    15601‐8108
SEDINGER, WILLIAM J                    2634 SALT SPRINGS RD                                                                                      GIRARD                OH    44420‐3144
SEDINKINA, LYUDMILA ANATOLYEVNA        7300 CEDAR AVE S                APT 202                                                                   RICHFIELD             MN    55423‐3419
SEDITA, DAVID M                        46 ROLLING MEADOWS WAY                                                                                    PENFIELD              NY    14526‐1263
SEDITA, HERBERT L                      164 RENWOOD AVE                                                                                           KENMORE               NY    14217‐1024
SEDITA, JOHN J                         615 GATES GREECE TOWNLINE RD                                                                              ROCHESTER             NY    14606
SEDITA, JUNE E                         2101 S MERIDIAN RD LOT 325                                                                                APACHE JUNCTION       AZ    85220‐7216
SEDIVY FRANK (472163)                  GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                               NORFOLK               VA    23510
                                                                       STREET, SUITE 600
SEDIVY, FRANK                          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                               NORFOLK               VA 23510‐2212
                                                                       STREET, SUITE 600
SEDKE, CHET                            2750 CORAL REEF WAY                                                                                       TAVARES               FL    32778‐5734
SEDLACEK, ANITA J                      8929 SUNBOW DR                                                                                            INDIANAPOLIS          IN    46231‐1192
SEDLACEK, FRANCIS                      721 FENTON RD                                                                                             KINGSLEY              MI    49649‐9693
SEDLACEK, GARY A                       9388 YANKEE RD                                                                                            BLISSFIELD            MI    49228‐9754
SEDLACEK, GARY ALAN                    9388 YANKEE RD                                                                                            BLISSFIELD            MI    49228‐9754
SEDLACEK, GREGORY J                    6143 MILLINGTON RD                                                                                        MILLINGTON            MI    48746‐9539
SEDLACEK, KATHRYN A                    12527 LAPEER RD                                                                                           DAVISON               MI    48423‐8190
SEDLACEK, MARY                         12875 THOMPSON HWY                                                                                        BLISSFIELD            MI    49228‐9724
SEDLACEK, MARY J                       12875 THOMPSON HWY                                                                                        BLISSFIELD            MI    49228
SEDLACEK, RANDY L                      10380 LAPEER RD                                                                                           DAVISON               MI    48423‐8159
SEDLACEK, ROBERT A                     4215 WOODROW AVE                                                                                          BURTON                MI    48509‐1053
SEDLACEK, RUDOLPH                      5318 GREENLEAF ST                                                                                         SKOKIE                IL    60077‐2042
SEDLACEK, SYLVIA E                     3085 N GENESEE RD APT231                                                                                  FLINT                 MI    48506‐2192
SEDLAK ALAN D                          RESPONSE INSURANCE              2324 WHITNEY AVENUE P O BOX                                               HAMDEN                CT    06518
                                                                       185366
SEDLAK ALAN D                          SEDLAK, ALAN D                  2324 WHITNEY AVENUE P O BOX                                               HAMDEN                 CT   06518
                                                                       185366
SEDLAK CHEVROLET‐BUICK‐PONTIAC, INC    8240 US HIGHWAY 51 S                                                                                      MINOCQUA              WI 54548‐9147

SEDLAK CHEVROLET‐BUICK‐PONTIAC, INC.   8240 US HIGHWAY 51 S                                                                                      MINOCQUA              WI 54548‐9147

SEDLAK CHEVROLET‐BUICK‐PONTIAC, INC.   DONALD SEDLAK                   8240 US HIGHWAY 51 S                                                      MINOCQUA              WI 54548‐9147

SEDLAK, ALAN
SEDLAK, ALAN D                         SETTE & BONADIES PC             PO BOX 185366                                                             HAMDEN                CT    06518‐0366
SEDLAK, ANDREW J                       18995 STORY RD                                                                                            ROCKY RIVER           OH    44116‐4252
SEDLAK, BESSIE E                       51 CRESCENT AVE                                                                                           LAKE ORION            MI    48362‐2329
SEDLAK, EDWARD J                       29509 JOHN HAUK ST                                                                                        GARDEN CITY           MI    48135‐2317
SEDLAK, FLORENCE S                     719 ROSELAWN AVE NE                                                                                       WARREN                OH    44483‐5328
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Name                        Address1                        Address2            Address3         Address4         City              State Zip
SEDLAK, LESLIE K            5264 WISHING WELL DR                                                                  GRAND BLANC        MI 48439‐4374
SEDLAK, LESTER W            964 WINDSWOOD WAY                                                                     SANDUSKY           OH 44870‐7525
SEDLAK, LOU J               5460 CROFOOT RD                                                                       HOWELL             MI 48843‐9630
SEDLAK, LOUIS               17601 PRIMROSE CT                                                                     FT MYERS BCH       FL 33931‐7154
SEDLAK, ROBERT E            2944 WOODFORD CIR                                                                     ROCHESTER HILLS    MI 48306‐3068
SEDLAK, SHIRLEY A           1191 NORMANDY TERRACE                                                                 FLINT              MI 48532‐3550
SEDLAK, THOMAS H            108 NADULI TRL                                                                        VONORE             TN 37885‐2726
SEDLAK, WAYNE M             5460 N FLINT RD                                                                       ROSCOMMON          MI 48653‐9298
SEDLAR JAMES                SEDLAR, JAMES
SEDLAR JR, JOSEPH F         1001 VOLKMER RD                                                                       CHESANING         MI   48616‐8450
SEDLAR, DANIELLE R          6005 JEFFERSON AVE                                                                    MIDLAND           MI   48640‐7339
SEDLAR, DANIELLE RENEE      6005 JEFFERSON AVE                                                                    MIDLAND           MI   48640‐7339
SEDLAR, DEANA               1001 VOLKMER RD                                                                       CHESANING         MI   48616‐8450
SEDLAR, FRANK L             311 BENTON ST                                                                         YOUNGSTOWN        OH   44515‐1728
SEDLAR, JAMES               20812 WICK RD                                                                         TAYLOR            MI   48180‐3718
SEDLAR, JAMES E             4437 MOUNT VERNON PASS                                                                SWARTZ CREEK      MI   48473‐8237
SEDLAR, JAMES E             1338 AUDREY ST                                                                        BURTON            MI   48509
SEDLAR, JEFFREY A           8697 PIONEER DR                                                                       HOWELL            MI   48855‐8399
SEDLAR, JOSEPH F            700 N MAIN ST                                                                         CHESANING         MI   48616‐9401
SEDLAR, KIMBERLY K          4792 N VERITY RD                                                                      SANFORD           MI   48657‐9391
SEDLAR, LORRAINE G          1338 AUDREY ST                                                                        BURTON            MI   48509‐2103
SEDLAR, MARK A              4115 SHATTUCK RD                                                                      SAGINAW           MI   48603‐3063
SEDLAR, MARTIN J            8654 W. 26 MI RD                                                                      MESICK            MI   49668
SEDLAR, ROBERT T            7478 CHESANING RD                                                                     CHESANING         MI   48616‐9480
SEDLAR, ROBERT THOMAS       7478 CHESANING RD                                                                     CHESANING         MI   48616‐9480
SEDLAR, ROSE M              1192 W DODGE RD                                                                       CLIO              MI   48420‐1655
SEDLAR, RYAN A              4115 SHATTUCK RD                                                                      SAGINAW           MI   48603‐3063
SEDLAR, STEVEN J            4792 N VERITY RD                                                                      SANFORD           MI   48657‐9391
SEDLARCZUK, JAROSLAW N      14 DENISE DR                                                                          BUFFALO           NY   14227‐3104
SEDLARIK, BESSIE M          4459 TRAPANI LN                                                                       SWARTZ CREEK      MI   48473‐8827
SEDLARIK, CLARICE L         7030 LOU MAC DR                                                                       SWARTZ CREEK      MI   48473‐9718
SEDLARIK, DAVID C           52135 NANCY LN                                                                        THREE RIVERS      MI   49093‐9633
SEDLARIK, FRANK T           10915 E GOODALL RD UNIT 120                                                           DURAND            MI   48429‐9610
SEDLARIK, FRANK T           10915 GOODALL RD                BOX 120                                               DURAND            MI   48429
SEDLARIK, JAMES C           2091 DEERFIELD DR                                                                     FLINT             MI   48532‐4019
SEDLARIK, JOHN P            2346 UTLEY RD                                                                         FLINT             MI   48532‐4900
SEDLARIK, JUDITH A          9310 MONICA DR                                                                        DAVISON           MI   48423‐2864
SEDLARIK, JUDITH ANN        9310 MONICA DR                                                                        DAVISON           MI   48423‐2864
SEDLARIK, LARRY J           1097 HIGHGATE DR                                                                      FLINT             MI   48507‐3741
SEDLARIK, LARRY JOSEPH      1097 HIGHGATE DR                                                                      FLINT             MI   48507‐3741
SEDLARIK, MATTHEW W         3185 DUFFIELD RD                                                                      FLUSHING          MI   48433‐9793
SEDLARIK, RONALD J          260 SPRUCE                                                                            HIGHLAND          MI   48357‐5021
SEDLARIK, TORIE F           8067 NANTUCKET DR                                                                     MOUNT MORRIS      MI   48458‐9346
SEDLARIK, TORIE FAYE        8067 NANTUCKET DR                                                                     MOUNT MORRIS      MI   48458‐9346
SEDLARIKIK, EDITH           G2287 S CENTER RD APT 813                                                             BURTON            MI   48519
SEDLECKY‐STEDMAN, NANCY L   6330 E 52ND ST                                                                        NEWAYGO           MI   49337‐8564
SEDLIK, JOHN M              4295 MIDLAND RD                                                                       SAGINAW           MI   48603‐9665
SEDLMAYR BOB                1417 INDUSTRIAL WAY                                                                   GARDNERVILLE      NV   89410‐5707
SEDLMEIER, CAROL A          3601 S 147TH ST APT 341                                                               NEW BERLIN        WI   53151‐8401
SEDLOCK, BRIAN M            1061 SIERK RD                                                                         ATTICA            NY   14011‐9554
SEDLOCK, BRIAN M.           1061 SIERK RD                                                                         ATTICA            NY   14011‐9554
SEDLOCK, CHARLES E          1143 SHADOW DR                                                                        TROY              MI   48085‐1779
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Name                                  Address1                          Address2                         Address3            Address4         City               State Zip
SEDLOCK, DAWN S                       3403 ALDERSGATE RD                                                                                      DAYTON              OH 45440‐3689
SEDLOCK, EUGENE E                     14540 BARCLAY ST                                                                                        DEARBORN            MI 48126‐3462
SEDLOCK, JAMES A                      8362 TINDALL RD                                                                                         DAVISBURG           MI 48350‐1650
SEDLOCK, JAMES P                      44137 BALMORAL CT                                                                                       STERLING HEIGHTS    MI 48314‐1965
SEDLOCK, JEFFREY A                    29060 FARWELL ST                                                                                        CHESTERFIELD        MI 48047‐5333
SEDLOCK, JOHN M                       PO BOX 5                                                                                                BANCROFT            MI 48414‐0005
SEDLOCK, JOHN MICHAEL                 PO BOX 5                                                                                                BANCROFT            MI 48414‐0005
SEDLOCK, JOSEPH J                     18810 WINNEBAGO DR                                                                                      SPRING LAKE         MI 49456‐9436
SEDLOCK, RICHARD M                    3408 PEAR TREE CT                                                                                       OAKLAND             MI 48363‐2931
SEDLOCK, ROBERT W                     3403 ALDERSGATE RD                                                                                      DAYTON              OH 45440‐3689
SEDLOCK, THOMAS A                     5314 DEER PATH LN                                                                                       DAYTON              OH 45415‐2807
SEDLOCK, WALTER J                     203 CLOVER DR                                                                                           ELIZABETH           PA 15037‐2335
SEDLON, HENRY P                       282 COUNTRY ROAD 1281                                                                                   NOVA                OH 44859
SEDLOW, DOUGLAS L                     10608 W PLEASANT VALLEY RD                                                                              SUN CITY            AZ 85351‐1848
SEDLOW, FRANCIS L                     6548 W CASTLE PINES WAY                                                                                 TUCSON              AZ 85757‐1504
SEDLOW, KENNETH F                     4437 SHELDON LN                                                                                         FLINT               MI 48507‐3556
SEDLOW, LARRY W                       2991 BLADES RD                                                                                          BEAVERTON           MI 48612‐9187
SEDMAK, RICHARD J                     6861 HEATHER HEATH                                                                                      W BLOOMFIELD        MI 48322‐3776
SEDMAN, FRANCIS I                     22760 N NOTTINGHAM                                                                                      BEVERLY HILLS       MI 48025
SEDMAN, MYRON P                       22760 N NOTTINGHAM DR                                                                                   BEVERLY HILLS       MI 48025‐3525
SEDONA RESORT MANAGEMENT              3230 CALLE DEL MONTANA                                                                                  SEDONA              AZ 86336‐5074
SEDONA STAFFING                       3392 HILLCREST RD                                                                                       DUBUQUE              IA 52002
SEDONA STAFFING SERVICE/ CAREERPROS   TWILA IMHOF                       SEDONA AG/MONSANTO                                                    DUBUQUE              IA
LLC
SEDORA THOMPSON                       21350 KENOSHA ST                                                                                        OAK PARK           MI   48237‐2746
SEDORE, MICHAEL L                     13351 N WHEATON RD                                                                                      GRAND LEDGE        MI   48837‐9712
SEDORE, STEWART A                     771 N ELLSWORTH RD                                                                                      PETOSKEY           MI   49770‐9644
SEDOTAL DAN M                         ALL STAR CHEVROLET INC            2431 S ACADIAN THRUWAY STE 290                                        BATON ROUGE        LA   70808‐2365

SEDOTAL DAN M                         SEDOTAL, DAN                      PO BOX 100                       101 GERALD STREET                    PIERRE PART        LA   70339‐0100
SEDRA K DETORO                        3270 DEER TRL UNIT B                                                                                    CORTLAND           OH   44410‐‐ 91
SEDRA, JACQUELINE                     3285 GRILLO DR                                                                                          COULTERVILLE       CA   95311‐9705
SEDRA, KENNETH J                      3601 CROWELL RD APT 100                                                                                 TURLOCK            CA   95382‐0111
SEDRICK FOUNTAIN                      426 PAUL DR                                                                                             SMYRNA             DE   19977‐1028
SEDRICK WHITE                         1332 RUSSELL ST                                                                                         YPSILANTI          MI   48198‐5953
SEDRICK, BERYL L                      6053 BELMONT CT                                                                                         GRAND BLANC        MI   48439‐8679
SEDRICK, MARGARET S                   6055 BELMONT CT                                                                                         GRAND BLANC        MI   48439‐8679
SEDRICK, MELVIN G                     215 HARLEY BEAGLE RD                                                                                    HARRISON           MI   48625‐8624
SEDRICK, SANDRA K                     6053 BELMONT CT                                                                                         GRAND BLANC        MI   48439‐8679
SEDROWSKI, DOLORES T                  210 LANGLEY CIRCLE                                                                                      SAINT CLAIR        MI   48079‐4895
SEDWICK JR, RICHARD J                 560 N FROST DR                                                                                          SAGINAW            MI   48638‐5745
SEDWICK, BETTY R                      PO BOX 294                                                                                              KIRKLIN            IN   46050‐0294
SEDWICK, DANIEL D                     1007 MOCCASIN RUN RD                                                                                    OVIEDO             FL   32765‐5647
SEDWICK, DONALD L                     1622 BROADMOOR CT                                                                                       FRANKFORT          IN   46041‐3268
SEDWICK, DONALD N                     5404 SMITHS CREEK RD                                                                                    KIMBALL            MI   48074‐3808
SEDWICK, ELEANOR B                    6335 E 350 S                                                                                            BRINGHURST         IN   46913
SEDWICK, LEON M                       PO BOX 294                                                                                              KIRKLIN            IN   46050‐0294
SEDWICK, RICHARD J                    2572 DARWIN LN                                                                                          SAGINAW            MI   48603‐2701
SEE BEARD                             1908 W BALSAM CT                                                                                        ANDERSON           IN   46011‐2731
SEE CRAIG P (353337) ‐ SEE CRAIG      WEITZ & LUXENBERG                 180 MAIDEN LANE                                                       NEW YORK           NY   10038
SEE EDWARD                            111 LARKIN ST                                                                                           WARRENSBURG        MO   64093‐2610
SEE GEE CENTER                                                          1680 CANARSIE RD                                                                         NY   11236
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Name                    Address1                         Address2                        Address3   Address4         City            State Zip
SEE PLUS INC            DBA WONDERWARE CENTRAL           8465 KEYSTONE XING STE 200                                  INDIANAPOLIS     IN 46240‐2453
SEE PLUS INC            8465 KEYSTONE XING STE 200                                                                   INDIANAPOLIS     IN 46240‐2453
SEE SAW NETWORKS INC.   JEFF DICKEY                      100 BUSH ST STE 950                                         SAN FRANCISCO    CA 94104‐3951
SEE SPACE LLC           5029 AMBERSON PL                                                                             PITTSBURGH       PA 15232‐1403
SEE WALTER L (429781)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                         STREET, SUITE 600
SEE, ALBERT D           1944 TALBOT ST                                                                               TOLEDO          OH   43613‐5023
SEE, ARTHUR R           4036 ADEER DR                                                                                CANFIELD        OH   44406‐9309
SEE, CAROLYN A          1903 CHARLES ST                                                                              ANDERSON        IN   46013‐2725
SEE, CRAIG              WEITZ & LUXENBERG                180 MAIDEN LANE                                             NEW YORK        NY   10038
SEE, DALE E             1916 SOUTH HIGHGATE CT                                                                       BEAVERCREEK     OH   45432‐1880
SEE, DALE E             1916 S HIGHGATE CT                                                                           BEAVERCREEK     OH   45432‐1880
SEE, DIANNA K           2155 SATINWOOD DR                                                                            MANSFIELD       OH   44903‐8676
SEE, DOUGLAS K          4888 COUNTY ROAD 31                                                                          GALION          OH   44833‐9671
SEE, EARL N             6533 N STATE ROAD 19                                                                         DENVER          IN   46926‐9213
SEE, GARY E             2438 LEE ST SW                                                                               WYOMING         MI   49519‐2255
SEE, GEORGE M           723 REYNOLDS RD                                                                              GREENWICH       OH   44837‐9634
SEE, HERALD E           1070 E LAUREL 461                                                                            NOKOMIS         FL   34275
SEE, ISIDRO T           7875 BUTLER WARREN RD                                                                        WEST CHESTER    OH   45069‐2564
SEE, JANE S             851 BRICKER BLVD                                                                             COLUMBUS        OH   43221‐1639
SEE, JOE                SUTTER & ENSLEIN                 1598 KANAWHA BLVD EAST, SUITE                               CHARLESTON      WV   25311
                                                         200
SEE, JOHN F             PO BOX 57                                                                                    UNION LAKE      MI   48387‐0057
SEE, JUDY K             2800 PINEGROVE DR                                                                            W CARROLLTON    OH   45449‐3351
SEE, KAREN D            734 E 127TH ST, UP                                                                           CLEVELAND       OH   44108‐2444
SEE, LELAND D           3300 W WOODSTOCK LN                                                                          MUNCIE          IN   47302‐9480
SEE, LELAND DALE        3300 W WOODSTOCK LN                                                                          MUNCIE          IN   47302‐9480
SEE, MARGARET C         2426 VALLEY CHURCH DR                                                                        CLIO            MI   48420
SEE, MARIE A            1121 S MONROE ST                                                                             BAY CITY        MI   48708‐8031
SEE, MICHAEL F          APT 30                           3559 PORT COVE DRIVE                                        WATERFORD       MI   48328‐4575
SEE, MIRANDA            3109 W 11TH ST                                                                               ANDERSON        IN   46011‐2469
SEE, MIRANDA J.         3109 W 11TH ST                                                                               ANDERSON        IN   46011‐2469
SEE, ROBERT             5624 SCHAFER RD                                                                              LANSING         MI   48911‐4916
SEE, ROBERT J           24 BARNHART AVE                                                                              SLEEPY HOLLOW   NY   10591‐2224
SEE, ROBERT J           112 NORTH WASHINGTON STREET                                                                  JANESVILLE      WI   53548‐3580
SEE, ROBERT M           24 BARNHART AVE                                                                              SLEEPY HOLLOW   NY   10591
SEE, ROBERT R           8340 TIMPSON AVE SE                                                                          ALTO            MI   49302‐9659
SEE, RONALD G           11197 CATHY DR                                                                               GOODRICH        MI   48438‐9221
SEE, WALTER L           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510‐2212
                                                         STREET, SUITE 600
SEE, WALTER V           3301 S CARDINAL CT                                                                           BLUE SPRINGS    MO   64015‐1147
SEE, WAYNE E            405 CHIPPEWA TRL                                                                             PRUDENVILLE     MI   48651‐9648
SEE, WAYNE M            9480 DAWN CT                                                                                 DAVISBURG       MI   48350‐3920
SEEBA, JACQUELINE M     11317 N LAKE DR                                                                              FENTON          MI   48430‐8813
SEEBA, LARRY M          6781 SLOSSER RD                                                                              HALE            MI   48739‐9056
SEEBA, RUTH             901 N BRIDGE ST                  APT 18                                                      BELDING         MI   48809
SEEBA, RUTH             901 N BRIDGE ST APT 18                                                                       BELDING         MI   48809‐8545
SEEBACH, TIMOTHY B      112 LIONDA DR., SO.                                                                          VANDALIA        OH   45377
SEEBALDT, MARGARET A    10418 NORTHVALLEY CT                                                                         HARTLAND        MI   48353‐2546
SEEBALDT, MICHAEL E     23536 CRANBROOKE DR                                                                          NOVI            MI   48375‐3711
SEEBECK, JOHN L         4670 W BESSINGER RD                                                                          AU GRES         MI   48703‐9799
SEEBECK, ROSEMARY J     4670 W BESSINGER RD                                                                          AU GRES         MI   48703‐9799
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Name                               Address1                           Address2                      Address3   Address4                City                  State Zip
SEEBER KIRBY                       3038 BRISBANE RT 4                                                                                  COMMERCE TOWNSHIP      MI 48390
SEEBER, ARLENE J.                  1372 HOLLAND ST                                                                                     MELBOURNE              FL 32935‐2821
SEEBER, BRIAN D                    280 WHALEN RD                                                                                       MASSENA                NY 13662‐3486
SEEBER, BRIAN DAVID                280 WHALEN RD                                                                                       MASSENA                NY 13662‐3486
SEEBER, CHARLES R                  3136 VERONA CANEY RD                                                                                LEWISBURG              TN 37091‐6546
SEEBER, HERBERT J                  88 COOK ST                                                                                          MASSENA                NY 13662‐2559
SEEBER, MICHAEL P                  PO BOX 38                                                                                           NORFOLK                NY 13667‐0038
SEEBER, MICHAEL P                  PO BOX 341                                                                                          NORFOLK                NY 13667‐0341
SEEBER, PATRICIA A                 1059 BRINKS ST SE                                                                                   KENTWOOD               MI 49508‐4708
SEEBER, ROBERT A                   PO BOX 321                                                                                          HEMLOCK                MI 48626
SEEBERG PATRICK                    1164 WAKEFIELD ST                                                                                   BIRMINGHAM             MI 48009‐3088
SEEBERG, LEONARD E                 924 ERIS RD                                                                                         URBANA                 OH 43078‐9659
SEEBERG, MICHAEL E                 604 E LIGHT ST                                                                                      URBANA                 OH 43078‐1230
SEEBERG, PATRICK J                 1164 WAKEFIELD ST                                                                                   BIRMINGHAM             MI 48009‐3088
SEEBEYOND TECHNOLOGY CORP          181 W HUNTINGTON DR                                                                                 MONROVIA               CA 91016
SEEBEYOND TECHNOLOGY CORPORATION   ATTN: GENERAL COUNSEL              181 W HUNTINGTON DR STE 101                                      MONROVIA               CA 91016‐3488

SEEBEYOND TECHNOLOGY CORPORATION

SEEBORG, ERNST O                   3701 COMANCHE AVE                                                                                   FLINT                 MI   48507‐4315
SEEBURG, B T                       1910 19TH AVE                                                                                       BRADENTON             FL   34205‐5710
SEEBURGER, ELIZABETH J             407 JIPSON ST                                                                                       BLISSFIELD            MI   49228‐1348
SEEBURGER, NANCY                   5256 GROVENSOR HIGHWAY                                                                              BLISSFIELD            MI   49228
SEEBURGER, VIVIAN K                1427 W 52ND ST                                                                                      INDIANAPOLIS          IN   46228‐2316
SEEBURN MET/ORILLIA                ONE ONTARIO STREET                 BOX 940                                  ORILLIA ON L3V 6K8
                                                                                                               CANADA
SEEBURN MET/TOTTONHM               65 INDUSTRIAL ROAD                                                          TOTTENHAM ON L0G 1W0
                                                                                                               CANADA
SEEBURN METAL PROD,LTD.            SHEILA GOULD X666                  530 PART STREET                          BEAVERTON,ONTARIO, ON
                                                                                                               L0K 1A0 CANADA
SEED LIMITED PARTNERSHIP STE 205   5726 PROFESSIONAL CIRCLE                                                                            INDIANAPOLIS          IN   46241
SEED, AGATHA J                     PO BOX 1754                        C/O FRANKIE JOE SEED                                             SALINA                KS   67402‐1754
SEED, DONALD E                     306 HIGHLAND AVE                                                                                    ROCHESTER             MI   48307‐1513
SEEDERS JAMES E SR (494188)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK               VA   23510
                                                                      STREET, SUITE 600
SEEDERS JIMMY H (429782)           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK               VA 23510
                                                                      STREET, SUITE 600
SEEDERS, JAMES E                   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK               VA 23510
                                                                      STREET, SUITE 600
SEEDERS, JIMMY H                   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK               VA 23510
                                                                      STREET, SUITE 600
SEEDLE, JAMES C                    366 BUENA VISTA AVE                                                                                 COLUMBUS              OH   43228‐1190
SEEDORF, JANET L                   4512 ROAD F                                                                                         DESHLER               OH   43516
SEEDORF, MABLE M                   644 E BOUSE DR                                                                                      MIDWEST CITY          OK   73110‐7806
SEEDORFF, LINDA                    15915 NORTH 69 HIGH WAY                                                                             EXCELSOFIOR SPRINGS   MO   64024
SEEDOTT JR, JOHN J                 42269 HARTFORD CT                                                                                   CANTON                MI   48187‐3618
SEEDOTT NANCY ESTATE OF            PO BOX 383                                                                                          PINCKNEY              MI   48169‐0383
SEEDOTT, DANIEL A                  8018 BEACON LN                                                                                      NORTHVILLE            MI   48168‐9418
SEEDOTT, DANIEL ALAN               8018 BEACON LN                                                                                      NORTHVILLE            MI   48168‐9418
SEEDOTT, JOHN J                    7293 CARDINAL ST                                                                                    CLAY                  MI   48001
SEEDOTT, KENNETH W                 2620 TIPLADY RD                                                                                     PINCKNEY              MI   48169‐8003
SEEDS OF GREATNESS BIBLE CHURCH    PO BOX 756                                                                                          NEW CASTLE            DE   19720‐0756
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Name                              Address1                        Address2                        Address3   Address4           City                 State Zip
SEEDS, JAMES                      PO BOX 416                                                                                    NEWPORT               ME 04953‐0416
SEEFELD JR, CHARLES E             1307 PINE ST                                                                                  ESSEXVILLE            MI 48732‐1441
SEEFELD, CARL E                   3535 GRAFTON ST                                                                               ORION                 MI 48359‐1534
SEEFELD, CARL R                   3500 GRAFTON ST                                                                               LAKE ORION            MI 48359‐1533
SEEFELD, CAROL M                  3535 GRAFTON ST                                                                               ORION                 MI 48359‐1534
SEEFELD, GUY E                    612 WESTLAWN ST                                                                               BAY CITY              MI 48706‐3246
SEEFELD, ROBERT L                 2905 E MILWAUKEE ST                                                                           JANESVILLE            WI 53545‐1360
SEEFELD, STEVE D                  1022 WILLOW DR                                                                                CHOCTAW               OK 73020‐7146
SEEFELD, TERRY L                  202 MUSTANG LANE                                                                              AUBURN                MI 48611‐9306
SEEFELD, TERRY L                  202 MUSTANG LN                                                                                AUBURN                MI 48611‐9306
SEEFELDT BEVERLY                  22 DUCK HAWK RD                                                                               HILTON HEAD ISLAND    SC 29928‐5731
SEEFELDT EARL WAYNE (429783)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK               VA 23510
                                                                  STREET, SUITE 600
SEEFELDT EVERETT H (400384)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK              VA 23510
                                                                  STREET, SUITE 600
SEEFELDT HAROLD EDWARD (429784)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK              VA 23510
                                                                  STREET, SUITE 600
SEEFELDT, DONALD                  4190 CLUB HOUSE DR                                                                            LOCKPORT             NY 14094‐1165
SEEFELDT, EARL WAYNE              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK              VA 23510
                                                                  STREET, SUITE 600
SEEFELDT, EVERETT H               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK              VA 23510‐2212
                                                                  STREET, SUITE 600
SEEFELDT, GARTH H                 2817 BROWN RD                                                                                 NEWFANE              NY 14108‐9713
SEEFELDT, HAROLD EDWARD           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK              VA 23510‐2212
                                                                  STREET, SUITE 600
SEEFELDT, JOSLYN M                1488 KLUG RD                                                                                  MILTON               WI   53563
SEEFELDT, MELVIN A                PO BOX 85                                                                                     MIDDLEPORT           NY   14105‐0085
SEEFELDT, WILLIAM W               5738 E KLUG RD                                                                                MILTON               WI   53563‐9314
SEEFLEDT, RUTH F                  5765 ROYALTON CTR RD                                                                          GASPORT              NY   14067
SEEFLUTH, BRENDA H                9414 BARRINGTON OAKS DRIVE                                                                    DOVER                FL   33527‐3760
SEEFLUTH, THEODORE A              9414 BARRINGTON OAKS DRIVE                                                                    DOVER                FL   33527‐3760
SEEFONG HAROLD (447597)           BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD           OH   44067
                                                                  PROFESSIONAL BLDG
SEEFONG, HAROLD                   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                  NORTHFIELD           OH 44067
                                                                  PROFESSIONAL BLDG
SEEFRIED, BERTHA R                4413 LAKEWOOD AVE 150 RIV ISL                                                                 BRADENTEN            FL   34208‐8025
SEEFRIED, THOMAS E                18026 28 MILE RD                                                                              RAY                  MI   48096‐2914
SEEFRIED, WILHELM                 6 MOORES DR                                                                                   BEAR                 DE   19701‐1401
SEEFURTH, RANDALL N               30604 BARBARA CT                                                                              CHESTERFIELD         MI   48051‐1253
SEEFUS, MARIA E                   2755 W AVENUE N4                                                                              PALMDALE             CA   93551‐2439
SEEGE JR, JAMES                   6354 STERLING WOODS DR                                                                        CLAYTON              OH   45315‐9671
SEEGE, GERALD V                   3840 BRIAR PL APT 6                                                                           DAYTON               OH   45405‐1863
SEEGE, GERALD V                   3840 BRIAR PLACE, APT. #6                                                                     DAYTON               OH   45405‐5405
SEEGER JR, THOMAS G               71 KLAUM AVE                                                                                  N TONAWANDA          NY   14120‐4208
SEEGER, BARBARA J                 2300 AVONHILL DR                                                                              ARLINGTON            TX   76015‐1201
SEEGER, FRED A                    9324 N RIVERVIEW DR                                                                           KALAMAZOO            MI   49004‐8656
SEEGER, IRMA L                    565 SYDENHAM ST                                                            HARROW ONTARIO
                                                                                                             CANADA N0R‐1G0
SEEGER, NEVIN E                   5958 CULZEAN DR APT 1507                                                                      TROTWOOD             OH   45426‐1241
SEEGER, PATRICIA E                7813 CORDWOOD SHORES DR                                                                       CHEBOYGAN            MI   49721‐8629
SEEGER, SILVANA                   3680 BRYANT DR                                                                                YOUNGSTOWN           OH   44511‐1150
SEEGER, THOMAS G                  9246 CALOOSA DR                                                                               NORTH FORT MYERS     FL   33903‐2162
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Name                          Address1                            Address2                      Address3              Address4               City               State Zip
SEEGER‐ORBIS GMBH & CO OHG    AN ASSOCIATED SPRING COMPANY        D‐61462 KONIGSTEIN            WIESBADENER STR 243   KONIGSTEIN D‐61462
                                                                                                                      GERMANY
SEEGER‐ORBIS GMBH & CO OHG    5 PARKFIELD CT                                                                                                 FRANKENMUTH        MI 48734
SEEGER‐ORBIS GMBH & CO OHG    FRANK HACMANN                       WIESBADENER STR 243‐247                                                    MONTPELIER         OH 43543
SEEGER‐ORBIS GMBH & CO OHG    WIESBADENER STR 243‐247 SCHNEIDHAIN                                                     KOENIGSTEIN HE 61462
                                                                                                                      GERMANY
SEEGERT, ALICIA A             9629 TECUMSEH CLINTON HWY                                                                                      TECUMSEH            MI   49286‐9687
SEEGERT, IDA M                2145 VENUS WAY                                                                                                 REDDING             CA   96002‐3005
SEEGERT, JAMES R              4308 S ATLANTIC AVE                                                                                            NEW SMYRNA BEACH    FL   32169‐4002
SEEGERT, TAMMY M              3160 GADY RD                                                                                                   ADRIAN              MI   49221‐9390
SEEGERT, TAMMY M              3160 GADY ROAD                                                                                                 ADRIAN              MI   49221‐9390
SEEGMILLER JR, RUSSELL L      2424 S HURON RD M‐13                                                                                           KAWKAWLIN           MI   48631
SEEGMILLER, DARREL C          15306 DOYLE RD                                                                                                 HEMLOCK             MI   48626‐9473
SEEGMILLER, DENNIS L          6260 FOX GLEN DR APT 122                                                                                       SAGINAW             MI   48638‐7316
SEEGMILLER, MARY JANE J       15306 DOYLE RD                                                                                                 HEMLOCK             MI   48626‐9473
SEEGMILLER, WILMA G           201 BREEZY LN                                                                                                  HOUGHTON LAKE       MI   48629‐9504
SEEGOBIN, SHERLOCK            634 SHERIDAN AVE                                                                                               SAGINAW             MI   48607‐1613
SEEGRAVES, BRUCE W            3783 WISTERIA LN                                                                                               DEWITT              MI   48820‐9206
SEEGRAVES, DARRELL D          481 TILLMAN AVE SW                                                                                             PALM BAY            FL   32908‐7590
SEEGRAVES, DARRELL L          5098 HOWELL RD                                                                                                 OTTER LAKE          MI   48464‐9742
SEEGRAVES, RALPH C            2831 BELAND AVE                                                                                                KEEGO HARBOR        MI   48320‐1174
SEEGRAVES, STEVEN             1114 1/2 N CHIMNEY HILL DR                                                                                     DEWITT              MI   48820‐9571
SEEGRIST RICHARD G (494189)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                NORFOLK             VA   23510
                                                                  STREET, SUITE 600
SEEGRIST, RICHARD G           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                NORFOLK             VA 23510‐2212
                                                                  STREET, SUITE 600
SEEHASE, BARBARA J            PO BOX 309                                                                                                     WALTON             IN    46994‐0309
SEEHOFFER, MICHAEL A          1605 LONGFELLOW CT                                                                                             ROCHESTER HILLS    MI    48307‐2926
SEEHOFFER, MICHAEL A          3722 SAMUEL AVE                                                                                                ROCHESTER HILLS    MI    48309‐4254
SEEHOLZER, ROBERT C           208 W STRUB RD                                                                                                 SANDUSKY           OH    44870‐5777
SEEK, ROBERT J                17530 W WASHINGTON ST                                                                                          HAGERSTOWN         MD    21740‐5152
SEEKER, NEIL D                184 QUEENS XING                                                                                                CENTERVILLE        OH    45458‐5518
SEEKER, RONALD E              PO BOX 542                                                                                                     TRENTON            NE    69044‐0542
SEEKINS, ARDEN R              110 S 1ST AVE                                                                                                  JONESBORO          IN    46938‐1004
SEEKINS, JANE E               7100 RIDGEWOOD DR                                                                                              LOCKPORT           NY    14094‐1620
SEEKINS, KATHERYN A           1831 S GRANT AVE                                                                                               JANESVILLE         WI    53546‐5908
SEEKINS, KATHERYN A           1831 SOUTH GRANT AVE                                                                                           JANESVILLE         WI    53546
SEEKMAN, PHYLLIS J            4824 HEIDE AVE NW                                                                                              COMSTOCK PARK      MI    49321‐8934
SEEL, DONALD J                126 FRUITWOOD TER                                                                                              BUFFALO            NY    14221‐4806
SEEL, DONALD J.               126 FRUITWOOD TERRACE                                                                                          BUFFALO            NY    14221‐4806
SEELAND, HAZEL M              4370 E ATHERTON RD                                                                                             BURTON             MI    48519‐1440
SEELAND, RICHARD J            15109 THORNRIDGE DR                                                                                            GRAND BLANC        MI    48439‐9201
SEELAND, SANDRA J             3560 AUSTINTOWN WARREN RD                                                                                      MINERAL RIDGE      OH    44440‐9752
SEELBACH, CHARLENE E.         25292 TIMBER RIDGE TRL                                                                                         BROWNSTOWN         MI    48134‐1187
SEELBACH, THOMAS G            25292 TIMBER RIDGE TRL                                                                                         BROWNSTOWN         MI    48134‐1187
SEELBACH, THOMAS GREGORY      25292 TIMBER RIDGE TRL                                                                                         BROWNSTOWN         MI    48134‐1187
SEELBINDER, ARNOLD            PO BOX 809                                                                                                     ORTONVILLE         MI    48462‐0809
SEELBINDER, ROBERT W          4040 S CARMEN RD                                                                                               MIDDLEPORT         NY    14105‐9602
SEELER, MICHAEL R             27907 187TH ST                                                                                                 LEAVENWORTH        KS    66048‐7637
SEELEY DENNIS                 11251 W FAHRNEY RD                                                                                             FIFE LAKE          MI    49633‐9501
SEELEY EDGAR W                C/O GOLDBERG PERSKY AND WHITE PC    1030 FIFTH AVENUE                                                          PITTSBURGH         PA    15219
SEELEY EDWARD F SR (504047)   WEITZ & LUXENBERG                   180 MAIDEN LANE                                                            NEW YORK           NY    10038
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Name                        Address1                       Address2                 Address3    Address4         City                State Zip
SEELEY JR, ALEXANDER        6238 N OCEAN BLVD                                                                    BOYNTON BEACH        FL 33435‐5212
SEELEY JR, CHARLES E        1357 W JUDD RD                                                                       FLINT                MI 48507‐3668
SEELEY JR, CHARLES EUGENE   1357 W JUDD RD                                                                       FLINT                MI 48507‐3668
SEELEY JR, PAUL A           10731 LOVE HWY                                                                       BELLEVUE             MI 49021‐9300
SEELEY ROBERT T (313752)    PAUL REICH & MYERS             1608 WALNUT ST STE 500                                PHILADELPHIA         PA 19103‐5446
SEELEY, ARLIN B             420 E BEECH ST                                                                       GLADWIN              MI 49524‐1609
SEELEY, AROLD M             400 SOUTH LAFAYETTE STREET                                                           DEARBORN             MI 48124‐1382
SEELEY, BARBARA V           10567 HILL DR                                                                        SWARTZ CREEK         MI 48473
SEELEY, BARBARA V           10567 HILL RD                                                                        SWARTZ CREEK         MI 48473‐7640
SEELEY, CAROLYN             318 CAPRI PLACE                                                                      NEW LEBANON          OH 45345‐1434
SEELEY, CHARLES F           304 ORCHARD ST                                                                       MONTROSE             MI 48457‐9615
SEELEY, CLARENCE O          2100 E CRANBERRY LAKE RD                                                             HARRISON             MI 48625‐9602
SEELEY, CLEO J              4367 OLD COLONY DR                                                                   FLINT                MI 48507‐3537
SEELEY, DALE A              7541 SWAN CREEK RD                                                                   SAGINAW              MI 48609‐5392
SEELEY, DARLENE M           1271 N SEYMOUR RD                                                                    FLUSHING             MI 48433‐9405
SEELEY, DAVID A             15112 ARLINGTON AVE                                                                  ALLEN PARK           MI 48101‐2906
SEELEY, DAVID L             5795 S CHIPPEWA RD                                                                   SHEPHERD             MI 48883‐9346
SEELEY, DAVID LEROY         5795 S CHIPPEWA RD                                                                   SHEPHERD             MI 48883‐9346
SEELEY, DENNIS M            11251 W FAHRNEY RD                                                                   FIFE LAKE            MI 49633‐9501
SEELEY, DENNIS M            288 KILLARNEY BEACH RD                                                               BAY CITY             MI 48706
SEELEY, DON D               5850 TEFT RD                                                                         SAINT CHARLES        MI 48655‐9546
SEELEY, DONALD W            9550 BLISS RD                                                                        ELWELL               MI 48832‐9747
SEELEY, DOROTHY M           346 KINSEY AVENUE                                                                    KENMORE              NY 14217‐1817
SEELEY, DOROTHY M           346 KINSEY AVE                                                                       KENMORE              NY 14217‐1817
SEELEY, EDWARD F            WEITZ & LUXENBERG              180 MAIDEN LANE                                       NEW YORK             NY 10038
SEELEY, ELIZABETH           304 ASHLEY FOREST DR                                                                 ALPHARETTA           GA 30022
SEELEY, FRANCES L           21 WILLOW WAY                                                                        WATERFORD            MI 48328‐2947
SEELEY, GORDON J            9571 BEACH PARK RD                                                                   SOUTH LYON           MI 48178‐9314
SEELEY, HORATIO D           6612 EAST SUMMERSIDE PLACE                                                           BEL AIRE             KS 67226‐7627
SEELEY, IRENE E             5205 W FARRAND RD                                                                    CLIO                 MI 48420
SEELEY, IVAN L              1819 N CHIPPEWA TRL                                                                  PRESCOTT             MI 48756‐9506
SEELEY, JACOB W             5841 MOSAIC PLACE                                                                    INDIANAPOLIS         IN 46221‐9412
SEELEY, JAMES M             870 MAPLETREE LN                                                                     FENTON               MI 48430‐4200
SEELEY, JOHN                8585 OLD M‐78                                                                        HASLETT              MI 48840
SEELEY, JOHN C              28 AVENUE H                                                                          MONROE TOWNSHIP      NJ 08831‐2222
SEELEY, JOHN W              4367 OLD COLONY DR                                                                   FLINT                MI 48507‐3537
SEELEY, KEITH M             1102 LOWESTOFT CT                                                                    THOMPSONS STATION    TN 37179‐5335
SEELEY, LARRY R             33099 DEERGLEN LN                                                                    AGUA DULCE           CA 91390‐2841
SEELEY, LILA H              1089 4 MILE RD NW                                                                    GRAND RAPIDS         MI 49544‐1504
SEELEY, MARGARET S          850 NELLIE ST                  THC OF GREENFIELD                                     GREENFIELD           OH 45123‐1567
SEELEY, MARIA               294 VICTORIA BLVD                                                                    KENMORE              NY 14217‐2215
SEELEY, MARK R              606 ACORN DR                                                                         DAYTON               OH 45419‐3928
SEELEY, PATRICIA D          25074 OXFORD STREET                                                                  WOODHAVEN            MI 48183‐3014
SEELEY, PATRICK H           156 BEAVER CREEK RD                                                                  LACHINE              MI 49753‐9400
SEELEY, PATRICK R           5205 W FARRAND RD                                                                    CLIO                 MI 48420‐8234
SEELEY, RALPH W             G5062 W FRANCES RD                                                                   CLIO                 MI 48420
SEELEY, RAYMOND L           13258 ALLEN ST                                                                       BATH                 MI 48808‐8714
SEELEY, RICHARD D           5947 W MICHAUD RD                                                                    SOUTH BRANCH         MI 48761‐9406
SEELEY, RICHARD L           9522 BLISS RD                                                                        ELWELL               MI 48832‐9747
SEELEY, RICHARD W           9170 LAFAYETTE BLVD                                                                  DETROIT              MI 48209‐1763
SEELEY, ROBERT              PAUL REICH & MYERS             1608 WALNUT ST STE 500                                PHILADELPHIA         PA 19103‐5446
SEELEY, SARAH E             4901 MCCRAY                                                                          INDIANAPOLIS         IN 46224‐5145
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Name                        Address1                         Address2                        Address3   Address4               City                State Zip
SEELEY, SARAH E             4901 MCCRAY ST                                                                                     INDIANAPOLIS         IN 46224‐5145
SEELEY, SCOTT R             39485 HEATHERHEATH DR                                                                              CLINTON TWP          MI 48038‐2644
SEELEY, SCOTT RICHARD       39485 HEATHERHEATH DR                                                                              CLINTON TWP          MI 48038‐2644
SEELEY, SCOTT W             5414 ROCKVILLE RD                                                                                  INDIANAPOLIS         IN 46224‐9114
SEELEY, SHIRLEY             400 SOUTH LAFAYETTE STREET                                                                         DEARBORN             MI 48124‐1382
SEELEY, STEVEN A            125 SNOW CHIEF DR                                                                                  HAVRE DE GRACE       MD 21078‐2578
SEELEY, STEVEN ALLEN        125 SNOW CHIEF DR                                                                                  HAVRE DE GRACE       MD 21078‐2578
SEELEY, TANYA               606 ACORN DR                                                                                       DAYTON               OH 45419‐5419
SEELEY, THOMAS E            5147 LONG RAPIDS RD                                                                                ALPENA               MI 49707‐9781
SEELEY, TODD P              6612 E SUMMERSIDE PL                                                                               BEL AIRE             KS 67226
SEELEY, WAYNE D             467 E PARISH RD                                                                                    KAWKAWLIN            MI 48631‐9721
SEELEY, WAYNE L             166 SUSAN DR                                                                                       LANSING              MI 48906‐1963
SEELHOFF, DOUGLAS J         PO BOX 358                                                                                         GOLDEN               CO 80402‐0358
SEELIG KNUT                 MUGGELSEEDAMM 260                                                           12587 BERLIN GERMANY
SEELIG, CHARLES             1461 BAY GROVE DR                                                                                  PORT ORANGE         FL 32129‐8655
SEELIG, TIMOTHY F           2 GROSBEAK LN                                                                                      NEWARK              DE 19711‐8324
SEELING HEIKO               MUGGELSEEDAMM 245                                                           12587 BERLIN GERMANY
SEELING, JAMES E            PO BOX 148                                                                                         GOODRICH            MI   48438‐0148
SEELMAN, ALLEN H            6237 ORIOLE DR                                                                                     FLINT               MI   48506‐1720
SEELMAN, NADINE K           3175 TEED RD                                                                                       HOUGHTON LAKE       MI   48629‐9587
SEELMAN, ROBERT L           6444 HILLIARD RD                                                                                   LANSING             MI   48911‐5626
SEELMAN, SUE A              6237 ORIOLE DR                                                                                     FLINT               MI   48506‐1720
SEELOFF, ALICE B            5499 CHESTNUT RD                                                                                   NEWFANE             NY   14108‐9616
SEELOFF, GREGORY S          610 S NEWMAN RD                                                                                    LAKE ORION          MI   48362‐2135
SEELOFF, KEITH C            200 73RD AVENUE NORTH            APMT 114                                                          ST PETERSBURG       FL   33702
SEELOFF, MARCELLA A         35332 KINGS FOREST BLVD                                                                            CLINTON TOWNSHIP    MI   48035‐2184
SEELOFF, PAUL W             10 AMELIA ST                                                                                       LOCKPORT            NY   14094‐4802
SEELOW, JOAN E              W4337 COUNTY RD S TRLR 59                                                                          HORICON             WI   53032‐9793
SEELY PERRY M JR (439490)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA   23510
                                                             STREET, SUITE 600
SEELY ROBERT (447598)       KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                     CLEVELAND           OH 44114
                                                             BOND COURT BUILDING
SEELY, ALLAN C              96 FOUNTAIN CRES                                                                                   OXFORD              MI   48371‐6710
SEELY, CURTIS M             1043 CANARY CIR S                C/O TAMARA PROFFITT                                               LAKELAND            FL   33809‐7343
SEELY, DALE W               N4243 TUCKER WAY DR                                                                                BLACK RIVER FALLS   WI   54615‐6645
SEELY, HELEN M              1529 CREEK ST                                                                                      ROCHESTER           NY   14625‐1159
SEELY, JEAN                 1043 CANARY CIR S                C/O TAMARA PROFFITT                                               LAKELAND            FL   33809‐7343
SEELY, JOHN A               6 BAY RIDGE RD                                                                                     EAST HARWICH        MA   02645‐1416
SEELY, KATHERINE B          PO BOX 351                                                                                         JUSTIN              TX   76247‐0351
SEELY, KENNETH C            26 TAINE MOUNTAIN RD                                                                               UNIONVILLE          CT   06085‐1036
SEELY, KENNETH R            2709 COUNTRY SQUIRE DR                                                                             NEW CARLISLE        OH   45344‐9545
SEELY, LISA F               125 WESTMIER DR                                                                                    TROY                MO   63379‐3961
SEELY, MADGE M              438 GEORGETOWN CIR                                                                                 VALDOSTA            GA   31602‐4114
SEELY, MARY R               37 FARNSWORTH ROAD NORTH                                                                           ROCHESTER           NY   14623‐4703
SEELY, MICHAEL J            122 S CHARLES ST                                                                                   SAGINAW             MI   48602‐2503
SEELY, MICHAEL R            49265 MONTE RD                                                                                     CHESTERFIELD        MI   48047‐4869
SEELY, MICHAEL S            6055 PONTIAC LAKE RD                                                                               WATERFORD           MI   48327‐1848
SEELY, PAUL W               655 W LAKE JASMINE CIR APT 201                                                                     VERO BEACH          FL   32962‐8513
SEELY, PERRY M              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA   23510‐2212
                                                             STREET, SUITE 600
SEELY, RICHARD A            20 COVE HOLW                                                                                       WEST SENECA         NY 14224‐3937
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Name                                 Address1                          Address2                       Address3   Address4         City               State Zip
SEELY, ROBERT                        KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND           OH 44114
                                                                       BOND COURT BUILDING
SEELY, SUZANNE J                     29791 ROSEMONT                                                                               ROSEVILLE          MI    48066‐1905
SEELYE JR, RODERICK L                6011 KING ARTHUR DR                                                                          SWARTZ CREEK       MI    48473‐8854
SEELYE JR, RODERICK LOYD             6011 KING ARTHUR DR                                                                          SWARTZ CREEK       MI    48473‐8854
SEELYE, ALICE H                      1508 COLWYN DR                    C/O KAREN WALKER                                           CANTONMENT         FL    32533‐6809
SEELYE, BRUCE L                      42538 GAINSLEY DR                                                                            STERLING HTS       MI    48313‐2443
SEELYE, DOROTHY L                    477 WILLIAMSON RD                                                                            BOWIE              TX    76230‐8833
SEELYE, JEFFREY W                    7601 HOWE RD                                                                                 BATH               MI    48808‐8445
SEELYE, KIMBERLY S                   6011 KING ARTHUR DR                                                                          SWARTZ CREEK       MI    48473‐8854
SEELYE, MARK D                       6229 HESS RD                                                                                 VASSAR             MI    48768‐9233
SEELYE, MARLENE S                    7503 GROVE ST                                                                                SWARTZ CREEK       MI    48473‐1474
SEELYE, MARLENE SUZANNE              7503 GROVE ST                                                                                SWARTZ CREEK       MI    48473‐1474
SEELYE, RODERICK L                   15473 STUART RD                                                                              CHESANING          MI    48616‐9486
SEELYE, VERNON E                     11806 UPTON RD                                                                               BATH               MI    48808‐8428
SEELYE‐WRIGHT OF SOUTH HAVEN, INC.   WILLIAM WRIGHT                    10159 M‐140 HWY                                            SOUTH HAVEN        MI    49090

SEELYE‐WRIGHT OF SOUTH HAVEN, INC.   10159 M‐140 HWY                                                                              SOUTH HAVEN        MI 49090

SEEM, DONALD S                       716 SHADOWOOD LN SE                                                                          WARREN             OH    44484‐2441
SEEM, MORRIS L                       555 GARFIELD DR                                                                              PERRYSBURG         OH    43551‐1618
SEEM, ROBERT B                       2811 DOUBLE EAGLE DR                                                                         BEAVERCREEK        OH    45431‐4710
SEEMAN BENJAMIN (460176)             DUFFY & ASSOCS JOHN J             23823 LORAIN RD                                            NORTH OLMSTED      OH    44070
SEEMAN, BENJAMIN                     DUFFY & ASSOCS JOHN J             23823 LORAIN RD                                            NORTH OLMSTED      OH    44070
SEEMAN, FRANCES M                    APT 232                           3801 NORTH WRIGHT ROAD                                     JANESVILLE         WI    53546‐4231
SEEMAN, JAMES E                      6340 JACKSON ST                                                                              INDIANAPOLIS       IN    46241‐1027
SEEMAN, JASON C                      2313 BALLEYBROOKE DRIVE                                                                      LEWISVILLE         TX    75077‐7634
SEEMAN, JOSEPH R                     3253 COUNTRY CLUB LN                                                                         INDIANAPOLIS       IN    46214‐1414
SEEMAN, RONALD F                     3303 CRABAPPLE LN                                                                            JANESVILLE         WI    53548‐5818
SEEMAN, VIOLA M                      210 WELCOME WAY BLVD W APT 206B                                                              INDIANAPOLIS       IN    46214‐2946
SEEMAN, WINNIE K                     132 N 3RD ST                                                                                 OSAGE CITY         KS    66523‐1032
SEEMAN, WINNIE K                     132 N 3RD STREET                                                                             OSAGE CITY         KS    66523
SEEMANN CLINT                        24614 MASON STREET                                                                           WATERLOO           NE    68069‐4447
SEEMANN I I, KURT K                  723 ROBARDS ST                                                                               SHREVEPORT         LA    71105‐2227
SEEMANN II, KURT K                   723 ROBARDS ST                                                                               SHREVEPORT         LA    71105‐2227
SEEMANN, ELEANOR B                   13818 KENDALE LAKES DR                                                                       MIAMI              FL    33183‐2110
SEEMANN, WILLIAM L                   PO BOX 120                                                                                   BRISTOLVILLE       OH    44402‐0120
SEEMUELLER, SALLY                    1732 BOSTWICK RD                                                                             COLUMBUS           OH    43227‐3301
SEENBERG, KAY S                      755 VIOLET LN                                                                                LINCOLN            CA    95648‐8125
SEENIVASAN, GOPI                     40644 MALVERN DR                                                                             STERLING HEIGHTS   MI    48310‐6957
SEERS, EVELYN                        6401 PERSHING RD #203                                                                        STICKNEY           IL    60402‐4190
SEERY, JOHN J                        127 ASH ST                                                                                   WILMINGTON         DE    19808‐4977
SEERY, RUTH C                        3203 FALCON LN APT 310                                                                       WILMINGTON         DE    19808‐4345
SEES N DALE                          6153 W HOWE RD                                                                               DEWITT             MI    48820‐7811
SEES, DONALD D                       2473 POPLAR ST                                                                               GIRARD             OH    44420‐3139
SEES, MARILYN                        2473 POPLAR ST                                                                               GIRARD             OH    44420‐4420
SEES, N D                            6153 W HOWE RD                                                                               DEWITT             MI    48820‐7811
SEES, N DALE                         6153 W HOWE RD                                                                               DEWITT             MI    48820‐7811
SEESE, HELEN D                       WEST WOOD PLACE 18800 WEST WOOD   APT 413                                                    STRONGSVILLE       OH    44136
                                     DRIVE
SEESE, KIM D                         8301 W ASHFORD LN                                                                            MUNCIE              IN   47304‐9501
SEESE, KIM DALE                      8301 W ASHFORD LN                                                                            MUNCIE              IN   47304‐9501
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Name                          Address1                       Address2                Address3    Address4         City                State Zip
SEESE, LARRY P                1070 VICKSBURG DR                                                                   WINTERVILLE          NC 28590‐8322
SEESE, RUTHAN M               1312 RAY BLUFF RD                                                                   MILLINGTON           TN 38053‐0726
SEESE, WALTER L               5420 SCOTCH SETTLEMENT RD                                                           ALMONT               MI 48003‐8727
SEETA D SHARMA                96 TIMBERHILL DR                                                                    FRANKLIN PARK        NJ 08823
SEETERLIN, JOSEPH W           5375 COOLEY LAKE RD            UNIT 1                                               WATERFORD            MI 48328‐3559
SEETERLIN, JOSEPH W           5375 COOLEY LAKE RD APT 1                                                           WATERFORD            MI 48327‐3074
SEETERLIN, JOSEPH W           426 S ROSLYN RD                                                                     WATERFORD            MI 48328‐3559
SEETERLIN, MATTHEW S          575 LAKESHORE CIR APT 103                                                           AUBURN HILLS         MI 48326‐4514
SEETERLIN, MATTHEW STEPHEN    575 LAKESHORE CIR APT 103                                                           AUBURN HILLS         MI 48326‐4514
SEETON CHRISTOPHER J          20 PEABODY STREET                                                                   BUFFALO              NY 14210‐1523
SEETS, EVELYN M               2953 WOODLAWN                                                                       WALLED LAKE          MI 48390‐1489
SEETS, EVELYN M               2953 WOODLAWN ST                                                                    COMMERCE TOWNSHIP    MI 48390‐1489
SEETS, KENNETH A              15346 LE CLAIRE AVE                                                                 OAK FOREST            IL 60452‐2352
SEETS, ROSE                   432 PANSY ST                                                                        DAVENPORT            FL 33837‐7130
SEETS, WILLIAM F              432 PANSY ST                                                                        DAVENPORT            FL 33837‐7130
SEEVER, DONALD E              207 S CLINTON ST                                                                    ALBION               NY 14411‐1505
SEEVER, EVERETT W             29056 HENNEPIN ST                                                                   GARDEN CITY          MI 48135‐2809
SEEVERS, BETH K               2729 VALLEYDALE DR NORTHWEST                                                        GRAND RAPIDS         MI 49534‐1382
SEEVERS, CRYSTAL L            3146 MILL POND DR                                                                   BELLBROOK            OH 45305‐2306
SEEVERS, DAVID L              4977 DOUGLAS RD                                                                     PERRYSBURG           OH 43551‐9755
SEEVERS, MARVIN               136 N 5TH                                                                           SAGINAW              MI 48607
SEEWALD, SHIRLEY A            18787 JAMESTOWN CIR                                                                 NORTHVILLE           MI 48168‐3533
SEEWER, LYNNE A               213 SEQUOYA RD                                                                      LOUISVILLE           KY 40207‐1658
SEEWOOD WEATHERS, CHARLEAN    PO BOX 971851                                                                       YPSILANTI            MI 48197‐0831
SEFA DANIEL F II              SEFA, DANIEL F                 27780 NOVI RD STE 105                                NOVI                 MI 48377‐3427
SEFA II, DANIEL F             1363 NORFOLK AVE                                                                    GRAND BLANC          MI 48439‐5171
SEFA II, DANIEL F.            1363 NORFOLK AVE                                                                    GRAND BLANC          MI 48439‐5171
SEFA, DAMON D                 4645 BLACKWATER DRIVE                                                               VALDOSTA             GA 31602‐5031
SEFA, DANIEL F                8045 KENSINGTON BLVD APT 55                                                         DAVISON              MI 48423
SEFA, DANIEL F                COMBS SCOTT E                  27780 NOVI RD STE 105                                NOVI                 MI 48377‐3427
SEFA, PAULA R                 12051 PARKIN LN                                                                     FENTON               MI 48430‐8726
SEFAC INC                     23 FONTANA LN STE 110                                                               BALTIMORE            MD 21237‐4656
SEFAC LIFT & EQUIPMENT CORP   23 FONTANA LN STE 110                                                               BALTIMORE            MD 21237‐4656
SEFCIK, FREDERICK T           G8350 POTTER RD                                                                     FLUSHING             MI 48433
SEFCIK, MICHAEL C             1209 RIPLEY RD                                                                      LINDEN               MI 48451‐9467
SEFCOVIC, ARTHUR D            8408 GALLANT FOX TRL                                                                FLUSHING             MI 48433‐8826
SEFCOVIC, EDWARD J            730 N SUMMERS RD                                                                    IMLAY CITY           MI 48444‐8977
SEFCOVIC, THOMAS J            26540 BURG RD APT 211                                                               WARREN               MI 48089‐3556
SEFERIAN, JOHN D              43 WINTHROP ST                                                                      MEDWAY               MA 02053‐2328
SEFERINO ARANDA               3531 SAN LEANDRO ST                                                                 OAKLAND              CA 94601‐3443
SEFERNICK, BERNARD J          1378 S SEYMOUR RD                                                                   FLINT                MI 48532‐5512
SEFERNICK, DONALD D           2441 BETTY LN                                                                       FLINT                MI 48507‐3530
SEFERNICK, DONALD DUANE       2441 BETTY LN                                                                       FLINT                MI 48507‐3530
SEFERNICK, DOUGLAS P          3210 AMELIA AVE                                                                     FLUSHING             MI 48433‐2306
SEFERNICK, DOUGLAS PAUL       3210 AMELIA AVE                                                                     FLUSHING             MI 48433‐2306
SEFFENS, ALISHA D             257 GLENBROOKE APT 11101                                                            WATERFORD            MI 48327‐2131
SEFFERNICK, PHILIP M          4104 ARLENE DR                                                                      LANSING              MI 48917‐2809
SEFKAR, JEROME G              S4494 ROCKY POINT RD                                                                BARABOO              WI 53913‐9602
SEFL JR, FRANK                9064 S RANSOM RD                                                                    ASHLEY               MI 48806‐9324
SEFL, JEAN R                  5727 BAVARIA AVE                                                                    PARMA                OH 44129‐2835
SEFLIC, THOMAS                3211 LANCASTER LN                                                                   NORTHVILLE           MI 48167‐8693
SEFOSTER SMITH                6024 PENWOOD RD                                                                     MOUNT MORRIS         MI 48458‐2730
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Name                          Address1                          Address2                        Address3   Address4         City            State Zip
SEFRANEK, MARTIN              4873 E LAKE RD                                                                                BURT             NY 14028‐9760
SEFTNER, SCOTT                32 HIGHVIEW AVE                                                                               STAMFORD         CT 06907‐1620
SEFTON, DOUGLAS M             895 PARLIAMENT PL APT 719                                                                     GREENWOOD        IN 46142‐1659
SEFTON, DOUGLAS M             APT 719                           895 PARLIAMENT PLACE                                        GREENWOOD        IN 46142‐1659
SEFTON, HUGH M                5060 W SANILAC RD                                                                             SNOVER           MI 48472‐9707
SEFTON, JOHN C                3612 ALGONQUIN PASS                                                                           FORT WAYNE       IN 46809‐1222
SEFTON, KEITH E               5927 MORRIS RD                                                                                SPOTSYLVANIA     VA 22551‐2644
SEFTON, LEONARD A             11434 NAGEL ST.                                                                               HAMTRAMCK        MI 48212
SEFTON, WESLEY D              3201 ALBRIGHT RD                                                                              KOKOMO           IN 46902‐3912
SEGA CORPORATION
SEGA INC                      16041 FOSTER ST                   PO BOX 1000                                                 STILWELL         KS   66085‐8876
SEGA INC                      15238 CHERRY STREET                                                                           STANLEY          KS   66223
SEGA PUBLISHING EUROPE LTD.
SEGA, SERVANDO O              2240 COUTS AVE                                                                                COMMERCE        CA    90040‐1248
SEGAL AMIR                    5330 DOUGLAS LANE                                                                             YORBA LINDA     CA    92886‐4103
SEGAL IRVING ESTATE OF        1620 WAUKEGAN RD                                                                              GLENVIEW        IL    60025‐2108
SEGAL, BARBARA A              10473 NICHOLS RD                                                                              GAINES          MI    48436‐8914
SEGAL, BERNICE C              24111 CIVIC CENTER DR             APT 339                                                     SOUTHFIELD      MI    48033‐7434
SEGAL, BERNICE C              APT 339                           24111 CIVIC CENTER DRIVE                                    SOUTHFIELD      MI    48033‐7434
SEGAL, DEBRA I                83 W HILL CIR                     C/O DUFFY                                                   STAMFORD        CT    06902‐1729
SEGAL, ESTELLE                10001 W FRONTAGE RD SPC 52                                                                    SOUTH GATE      CA    90280‐5402
SEGAL, ESTELLE                10001 W FRONTAGE ROAD             SPACE 52                                                    SOUTH GATE      CA    90280
SEGAL, JOHN D                 918 BLOOMFIELD AVENUE                                                                         SAN MARCOS      CA    92078‐5361
SEGAL, JUSTIN                 2757 SHADLEY ST                                                                               STREETSBORO     OH    44241‐5150
SEGAL, LARRY                  6767 SAN CASA DR LOT 47           OYSTER CREEK MOBILE HOME PK                                 ENGLEWOOD       FL    34224‐7610
SEGAL, MARJORY JUNE           6767 SAN CASA DR LOT 47           OYSTER CREEK MOBILE HOME PK                                 ENGLEWOOD       FL    34224‐7610
SEGALINI, SANDRO D            32 CLOWES DR                                                                                  FALMOUTH        MA    02540‐2332
SEGALL, SAMUEL Z              14085 VICTORIA ST                                                                             OAK PARK        MI    48237‐1411
SEGAN JR, JOHN M              9946 DELORES DR                                                                               STREETSBORO     OH    44241‐4835
SEGAN, RONALD C               PO BOX 143                        412 CANTLEY                                                 LAKEVILLE       MI    48366‐0143
SEGAR JR, ROBERT S            7904 STONEBRANCH NORTH DR                                                                     INDIANAPOLIS    IN    46256‐1671
SEGAR, DONALD                 7601 CASTLETON PL                                                                             CINCINNATI      OH    45237‐2635
SEGAR, ESTEL S                31658 STATE HIGHWAY CC                                                                        HAMILTON        MO    64644‐8143
SEGAR, WYETTA M               7612 HARMANS RD                                                                               HANOVER         MD    21076‐1552
SEGARD, ROBERT A              3412 WEDGEWOOD DR                                                                             ROCHESTER HLS   MI    48306‐3772
SEGARD, ROBERT D              2430 COUNTY STREET 2989                                                                       BLANCHARD       OK    73010‐4240
SEGARD, ROBERT R              9725 MASHBURN BLVD APT 19                                                                     OKLAHOMA CITY   OK    73162‐5514
SEGARD, WILLIAM H             1901 N ILLINOIS ST                                                                            CHANDLER        AZ    85225‐7074
SEGARRA ANTONIO (447599)      BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH    44067
                                                                PROFESSIONAL BLDG
SEGARRA FELICIANO, JUAN L     DEGRO LEIDA GONZALEZ              1295 AVE MUNOZ RIVERA STE 3                                 PONCE           PR 00717‐0793
SEGARRA, ANTONIO              BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD      OH 44067
                                                                PROFESSIONAL BLDG
SEGARRA, ERNESTO              750 CHAPEL HILL DR                                                                            LAWRENCEVILLE   GA    30045‐2370
SEGARRA, FREDDY               332 PALISADE AVE APT E1                                                                       YONKERS         NY    10703‐2928
SEGARRA, HERIBERTO            88 BLVD DEL CARMEN                                                                            MAYAGUEZ        PR    00682‐5725
SEGARRA, JOSEPH L             6099 GRAUER RD                                                                                NIAGARA FALLS   NY    14305‐1499
SEGARRA, RALPH A              8787 LOCUST AVE SPC 1                                                                         FONTANA         CA    92335‐5159
SEGARRA, TAYSHA ROMAN         ALTURA DE PANUELAS                1 CALLE 8 EP                                                PENUELAS        PR    00624
SEGARRA, ZAMAIRA              ALTURA DE PANEULAS                PO BOX 757                                                  PENUELAS        PR    00624
SEGARS JAMIE                  DOE, JANE                         20300 SENECA MEADOWS PKWY STE                               GERMANTOWN      MD    20876‐7012
                                                                200
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Name                      Address1                         Address2                      Address3         Address4         City             State Zip
SEGARS JAMIE              JACHELSKI, MELISSA               20300 SENECA MEADOWS PKWY STE                                   GERMANTOWN        MD 20876‐7012
                                                           200
SEGARS JAMIE              MCGEE, WALTER                    20300 SENECA MEADOWS PKWY STE                                   GERMANTOWN       MD 20876‐7012
                                                           200
SEGARS JAMIE              SEGARS, JAMIE                    51 MONROE ST STE 1800                                           ROCKVILLE        MD   20850‐2455
SEGARS, HERBERT J         6082 HIGHWAY 52                                                                                  GILLSVILLE       GA   30543‐2123
SEGARS, JOHN              140A COOPER DR                                                                                   SUMMER'S POINT   NJ
SEGARS, MARY L            27690 VERMONT ST                                                                                 SOUTHFIELD       MI   48076‐4884
SEGARS, MINNIE L          47 BENNETT PVT DR                                                                                HARTSELLE        AL   35640‐1525
SEGARS, RICKEY L          620 COUNTY ROAD 331                                                                              MOULTON          AL   35650‐7044
SEGARS, ROY S             298 CAVINS DR                                                                                    CLAYTON          DE   19938‐2390
SEGASSER, PAUL T          3881 S WOODFIELD DR                                                                              NEW PALESTINE    IN   46163‐9167
SEGATTI, KAREN M          17745 EGO AVE                                                                                    EASTPOINTE       MI   48021‐3115
SEGATTI, ROSE             5942 AUGUSTA LANE                                                                                GRAND BLANC      MI   48439
SEGBERS MICHAEL E         SEGBERS, MICHAEL E               CRAIG/IS LTD                    PO BOX 40569                    JACKSONVILLE     FL   32203
SEGBERS, MICHAEL E        CRAIG/IS LTD                     PO BOX 40569                                                    JACKSONVILLE     FL   32203‐0569
SEGEDI, ROBERT E          14348 WATERS EDGE TRL                                                                            NEW BERLIN       WI   53151‐9516
SEGEDY PETE (447600)      BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD       OH   44067
                                                           PROFESSIONAL BLDG
SEGEDY, JAMES             13222 W MARBLE DR                                                                                SUN CITY WEST    AZ 85375‐4522
SEGEDY, PETE              BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                    NORTHFIELD       OH 44067
                                                           PROFESSIONAL BLDG
SEGEL LIVING TRUST        GILBERT SEGEL TRUSTEE            919 A 18TH STREET                                               SANTA MONICA     CA   90403‐3250
SEGEL, DOROTHY A          39410 VENETIAN DR                                                                                HARRISON TWP     MI   48045‐5716
SEGEL, THOMAS G           1026 GUNDERSON AVE                                                                               OAK PARK         IL   60304‐2118
SEGER KEMBERLEY           2325 BROOK HOLLOW DRIVE                                                                          WICHITA FALLS    TX   76308‐2206
SEGER MARVIN E (498322)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA   23510
                                                           STREET, SUITE 600
SEGER, AMY L              2456 NILES CORTLAND RD NE                                                                        CORTLAND         OH   44410‐1724
SEGER, BRAD A             229 S GLADWIN ST                                                                                 LAKE CITY        MI   49651‐8543
SEGER, BRAD ALLAN         229 S GLADWIN ST                                                                                 LAKE CITY        MI   49651‐8543
SEGER, BRUCE J            6800 OMEGA CT                                                                                    FREDERICKSBURG   VA   22407‐2556
SEGER, DARLENE A          5868 POWDERHORN CT SW                                                                            WYOMING          MI   49418‐9340
SEGER, ELAINE G           7025 WOODLEY DR                                                                                  PENSACOLA        FL   32503‐7240
SEGER, FRANK R            1967 STATE ROUTE 118                                                                             SAINT HENRY      OH   45883‐9705
SEGER, FRANK R            7025 WOODLEY DR                                                                                  PENSACOLA        FL   32503‐7240
SEGER, GENE E             444 HOBART RD                                                                                    LEAVITTSBURG     OH   44430‐9672
SEGER, JAY D              8090 ROUND LAKE RD                                                                               LAINGSBURG       MI   48848‐9458
SEGER, KENNETH J          206 E ROCKWELL ST                                                                                FENTON           MI   48430‐2369
SEGER, KENT D             3355 W GRAND RIVER RD                                                                            OWOSSO           MI   48867‐9259
SEGER, LYNWOOD A          1451 W RIDGEVIEW DR                                                                              LAPEER           MI   48446‐1452
SEGER, MARGUERITE A       228 S 6TH ST                                                                                     SHAMOKIN         PA   17872‐5728
SEGER, MARGUERITE A       228 S. 6TH STREET                                                                                SHAMOKIN         PA   17872‐5728
SEGER, MARK               5966 DIAMOND DR                                                                                  TROY             MI   48085‐3913
SEGER, MARVIN E           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA   23510‐2212
                                                           STREET, SUITE 600
SEGER, MICHAEL B          5868 POWDERHORN CT SW                                                                            WYOMING          MI   49418‐9340
SEGER, ROBERT M           11104 GOLF CREST DRIVE                                                                           SAINT LOUIS      MO   63126‐3422
SEGER, SAMUEL E           289 BROMLEY ROAD                                                                                 CHURCHVILLE      NY   14428‐9768
SEGER, STEPHEN            4864 MERIDIAN RD                                                                                 WILLIAMSTON      MI   48895‐9334
SEGER, THOMAS E           5400 SKYLARK PASS                                                                                GRAND BLANC      MI   48439‐9147
SEGER, WAYNE F            6025 CORDUROY RD                                                                                 OREGON           OH   43616‐1521
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Name                      Address1                            Address2                  Address3   Address4              City                  State Zip
SEGER, WAYNE FRANCIS      6025 CORDUROY RD                                                                               OREGON                 OH 43616‐1521
SEGERLUND GLEN            5018 GLENWOOD HILLS DR NE                                                                      ALBUQUERQUE            NM 87111‐2951
SEGERMARK, DORIS J        605 SW 88TH AVE APT 203                                                                        PEMBROKE PINES         FL 33025‐1461
SEGERSTEDT, PETER G       6054 W COURT ST                                                                                FLINT                  MI 48532‐3210
SEGERSTROM SALLY          39 SKYRIDGE                                                                                    NEWPORT COAST          CA 92657‐1815
SEGESTO, DONNA            1260 EAST 113TH AVE                 BUILDING G APT 206                                         TAMPA                  FL 33612
SEGESTO, SANDRA M         480 SHADYDALE DR                                                                               CANFIELD               OH 44406‐9625
SEGESTO, TODD A.          5005 WINTHROP DRIVE                                                                            YOUNGSTOWN             OH 44515‐3852
SEGGIA, ANNA L            PO BOX 5221                                                                                    SOMERSET               NJ 08875‐5221
SEGGIO, ANGELO M          235 POINCIANA PKWY                                                                             CHEEKTOWAGA            NY 14225‐5211
SEGGIO, JOSEPH F          432 SENECA CREEK RD                                                                            WEST SENECA            NY 14224‐2375
SEGHI, SHARON G           7249 CRACKLING CREEK CIR                                                                       W BLOOMFIELD           MI 48322‐4503
SEGHY, VICTOR B           5344 SWALLOW DR                                                                                NEW PORT RICHEY        FL 34652‐6262
SEGINAK, ROSANNE          1404 WESTVIEW DR NE                                                                            WARREN                 OH 44483‐5253
SEGLEM MARK               1024 HOT SPRINGS DRIVE                                                                         ALLEN                  TX 75013‐5636
SEGLER, DARRELL C         46705 SPRINGHILL DR                                                                            SHELBY TOWNSHIP        MI 48317‐4067
SEGLER, SANDRA L          1815 MINA RD                                                                                   HARRISON               MI 48625‐8614
SEGLUND, CONNIE S         8618 BUFFALO DR                                                                                COMMERCE TWP           MI 48382‐3408
SEGMENTZ INC              18302 HIGHWOODS PRESERVE PKWY STE                                                              TAMPA                  FL 33647‐1759
                          100
SEGNA PAOLA               VECCHI RICCARDO                     VIA TIBURTINA 86                     00185 ROMA ITALY
SEGNER, ARTHUR R          2211 NE SCANDIA DR APT D212                                                                    KANSAS CITY           MO   64118
SEGNER, LORETTA           1307 WINESAP WAY APT A                                                                         ANDERSON              IN   46013
SEGNER, WILLIAM C         6216 ROCKY RD                                                                                  ANDERSON              IN   46013‐3791
SEGNITZ, LYNDALL D        1104 MYRTLE AVE                                                                                WATERFORD             MI   48328‐3834
SEGNITZ, PHYLLIS NADINE   4512 HOSKINS DR                                                                                GAINESVILLE           GA   30506‐4674
SEGO, BLANCHE             343 DOVER PL APT 203                                                                           NAPLES                FL   34104‐0838
SEGO, DAVID L             14135 S FRANCISCO RD                                                                           GRASS LAKE            MI   49240‐9710
SEGO, JANICE M            202 VALLEY LN                                                                                  PERRY                 MI   48872‐9711
SEGO, JOHN D              4662 E SUNNYSLOPE DR                                                                           MARTINSVILLE          IN   46151‐6043
SEGO, LOUIS K             7077 E 100 N                                                                                   ELWOOD                IN   46036‐8551
SEGO, NEDJELJKO           13302 S BALTIMORE AVE                                                                          CHICAGO               IL   60633‐1425
SEGOBIA, YSAIAS C         1431 LAKEVIEW AVE                                                                              LA HABRA              CA   90631‐7435
SEGONA, ENOLA G           34800 WILLOW RD                                                                                NEW BOSTON            MI   48164‐9395
SEGONA, ENOLA GAY         34800 WILLOW RD                                                                                NEW BOSTON            MI   48164‐9395
SEGONA, JOSEPH T          265 MONACO ROAD                                                                                MELBOURNE             FL   32904‐5138
SEGONA, MICHAEL F         34800 WILLOW RD                                                                                NEW BOSTON            MI   48164‐9395
SEGORSKI, LOWELL L        2126 SANDLEWOOD DR                                                                             BURTON                MI   48519‐1113
SEGOVIA ARMENTA LENIN     ACATEMPAN 569 COL                   INDEPENDENCIA ZIP 50070              INDEPENDENCIA 50070
                                                                                                   MEXICO
SEGOVIA, ANDREW           19811 WEDGEWOOD DR                                                                             GROSSE POINTE WOODS   MI 48236‐2732
SEGOVIA, ARMANDO
SEGOVIA, JIMMY            37082 ASPEN DR                                                                                 FARMINGTON HILLS      MI   48335
SEGOVIA, MARIA            3838 DALE RD.                                                                                  SAGINAW               MI   48603‐3133
SEGOVIA, MARIA            3838 DALE RD                                                                                   SAGINAW               MI   48603‐3133
SEGOVIA, MARIA A          101 ROBBINS DR                                                                                 WETHERSFIELD          CT   06109‐2022
SEGOVIS PACK, AMY J       24 NEWPORT DR                                                                                  BROCKPORT             NY   14420‐1046
SEGOVIS, BARBARA J        401 LAWTON ROAD                                                                                HILTON                NY   14468‐9731
SEGOVIS, BARBARA J        401 LAWTON RD                                                                                  HILTON                NY   14468‐9731
SEGRAVES, MARY J          3585 N SYCAMORE DR                                                                             MARION                IN   46952‐9331
SEGREAVES LISA            58 HOMESTEAD RD                                                                                KINTNERSVILLE         PA   18930‐9637
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Name                               Address1                           Address2                      Address3   Address4         City              State Zip
SEGREE BRANDON S                   SEGREE, BRANDON S                  NORTHBRIDGE CENTER 10TH FLOOR                             WEST PALM BEACH    FL 33401
                                                                      515 N. FLAGLER DRIVE
SEGREE BRANDON S                   SEGREE, DONNIE L                   NORTHBRIDGE CENTER 10TH FLOOR                             WEST PALM BEACH    FL   33401
                                                                      515 N. FLAGLER DRIVE
SEGREE, BRANDON S                  LYTAL, REITER, CLARK, FOUNTAIN &   NORTHBRIDGE CENTER 10TH FLOOR                             WEST PALM BEACH    FL   33401
                                   WILLIAMS                           515 N. FLAGLER DRIVE
SEGREE, DONNIE L                   LYTAL, REITER, CLARK, FOUNTAIN &   NORTHBRIDGE CENTER 10TH FLOOR                             WEST PALM BEACH    FL   33401
                                   WILLIAMS                           515 N. FLAGLER DRIVE
SEGREN, DENISE L                   5102 ROBERTS DR                                                                              FLINT             MI    48506‐1591
SEGREN, DENISE LYNN                5102 ROBERTS DR                                                                              FLINT             MI    48506‐1591
SEGREN, MARGIE L                   5099 ESTA DRIVE                                                                              FLINT             MI    48506‐1546
SEGREN, MARGIE L                   5099 ESTA DR                                                                                 FLINT             MI    48506‐1546
SEGRERA, NICOLAS C                 2056 SW 37TH AVE                                                                             MIAMI             FL    33133‐3400
SEGREST N WAILES                   RT. 1 BOX 670 A‐B, WMS. ROAD                                                                 FLORENCE          MS    39073‐9801
SEGREST, DAVID T                   426 S GARLAND AVE                                                                            DAYTON            OH    45403‐2741
SEGREST, EARL                      7733 EPWORTH ST                                                                              DETROIT           MI    48204‐3553
SEGREST, ESAU R                    514 W YORK AVE                                                                               FLINT             MI    48505‐2097
SEGREST, GIRLINE                   3370 HILLVIEW AVENUE                                                                         FLINT             MI    48504‐1222
SEGREST, GIRLINE                   3370 HILL VIEW AVENUE                                                                        FLINT             MI    48504
SEGREST, MARGARET L                135 HARVARD AVE                                                                              SOUTH LYON        MI    48178‐1505
SEGREST, NANNIE                    15064 STRATHMOOR                                                                             DETROIT           MI    48227‐2934
SEGREST, SOLOMON P                 15064 STRATHMOOR ST                                                                          DETROIT           MI    48227‐2934
SEGREST, WILLIE M                  13540 MARVIN ST                                                                              TAYLOR            MI    48180‐4404
SEGRETI VINCE                      GM SERVICE PARTS OPERATIONS                                                                  ROANOKE           TX    76262
SEGRETI, VINCENT M                 1006 ACAPULCO LN                                                                             ARLINGTON         TX    76017‐1731
SEGRIST, HARLEY P                  4520 SW 8TH PL APT 4                                                                         CAPE CORAL        FL    33914‐6483
SEGRIST, MARY A                    14950 S STATE RD                                                                             PERRY             MI    48872‐9541
SEGRIST, WILLIAM H                 14950 S STATE RD                                                                             PERRY             MI    48872‐9541
SEGUE STAFFING                     A/C RECEIVABLE                     295 MADISON AVE FL 14                                     NEW YORK          NY    10017‐6387
SEGUEDA RAUL                       SEGUEDA, RAUL                      1107 W 4TH ST                                             FREEPORT          TX    77541
SEGUEDA, RAUL                      1107 W 4TH ST                                                                                FREEPORT          TX    77541
SEGUI REINALDO                     ALEX SIMANOVSKY AND ASSOCIATES     2300 HENDERSON MILL RD NE STE                             ATLANTA           GA    30345‐2704
                                                                      300
SEGUIN CHEVROLET, INC.             509 W INTERSTATE 10                                                                          SEGUIN            TX 78155‐1424
SEGUIN CHEVROLET, INC.             BILL LOWE                          509 W INTERSTATE 10                                       SEGUIN            TX 78155‐1424
SEGUIN NOEL (ESTATE OF) (489229)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                             NORTHFIELD        OH 44067
                                                                      PROFESSIONAL BLDG
SEGUIN, CARL J                     9061 OPORTO ST                                                                               LIVONIA           MI    48150‐3924
SEGUIN, CARL JOSEPH                9061 OPORTO ST                                                                               LIVONIA           MI    48150‐3924
SEGUIN, DOLORES M                  5718 NORTH BERRY STREET                                                                      WESTLAND          MI    48185‐2237
SEGUIN, EDWARD E                   5651 LEGEND HILLS LN                                                                         BROOKSVILLE       FL    34609‐9505
SEGUIN, JEAN                       14955 E MOUNTAINVIEW CT                                                                      SCOTTSDALE        AZ    85268‐3335
SEGUIN, JEFFREY J                  40 MERKLEY RD                                                                                LISBON            NY    13658‐3253
SEGUIN, MANUEL E                   138 KENDALIA AVE                                                                             SAN ANTONIO       TX    78214‐2436
SEGUIN, MARIAN                     5651 LEGEND HILLS LN                                                                         BROOKSVILLE       FL    34609‐9505
SEGUIN, MARIAN                     13555 LAKEBROOK DR                                                                           FENTON            MI    48430‐8402
SEGUIN, MAY                        11532 EDGETON DR                                                                             WARREN            MI    48093‐6407
SEGUIN, MICHAEL R                  5718 N BERRY ST                                                                              WESTLAND          MI    48185‐2237
SEGUIN, MICHAEL RAY                5718 N BERRY ST                                                                              WESTLAND          MI    48185‐2237
SEGUIN, NORMAN W                   4394 W PINTO LOOP                                                                            BEVERLY HILLS     FL    34465‐2167
SEGUIN, RAYMOND L                  5718 NORTH BERRY STREET                                                                      WESTLAND          MI    48185‐2237
SEGUIN, RAYMOND LLOYD              5718 NORTH BERRY STREET                                                                      WESTLAND          MI    48185‐2237
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Name                         Address1                               Address2                 Address3   Address4                 City                   State Zip
SEGUIN, RONALD J             PO BOX 504                                                                                          CLEAR CREEK             IN 47426‐0504
SEGUIN, TIMOTHY J            4928 MONTROSE AVE                                                                                   OKEMOS                  MI 48864
SEGUIN, TODD M               11850 S WEST BAY SHORE DR                                                                           TRAVERSE CITY           MI 49684‐5257
SEGUIN, TODD M               11860 S WEST BAY SHORE DR                                                                           TRAVERSE CITY           MI 49684‐5257
SEGUIN, TODD M               11860 SW BAY SHORE DR                                                                               TRAVERSE CITY           MI 49684
SEGUINE, GLORIA              9 LEGION PL                                                                                         WOODBRIDGE              NJ 07095‐3319
SEGULA, BRIANNE              822 N 4TH ST                                                                                        MARQUETTE               MI 49855‐3409
SEGUNDINO GONZALES           14931 PATTERSON DRIVE                                                                               SHELBY TWP              MI 48315‐4940
SEGUNDO ASCENCIO             PO BOX 0904955                                                             GUAYAQUIL S.A. ECUADOR
SEGUNDO CANTERO              39 CLINTON ST                                                                                       SLEEPY HOLLOW          NY   10591‐2409
SEGUR JR, GEORGE E           3757 AIREDALE AVE                                                                                   TOLEDO                 OH   43623‐1701
SEGUR, ERNEST                12288 RAY RD                                                                                        GAINES                 MI   48436‐8915
SEGUR, GITA                  6116 SHARP RD                                                                                       SWARTZ CREEK           MI   48473‐9462
SEGURA, ADELA                15188 LAS PIEDRAS DR                                                                                VICTORVILLE            CA   92395‐3668
SEGURA, ALFONSO              701 ONYX RD                                                                                         PHARR                  TX   78577‐6445
SEGURA, AMALIA Z             624 PHINNEY DR                                                                                      MIDWEST CITY           OK   73110‐8138
SEGURA, ANA                  DELEGACION VENUSTIANO CARRANZA CP      72151 72151                         . MEXICO
                             15500 APARTADO P
SEGURA, DAVID W              24125 CHIEFTAIN RD                                                                                  LAWRENCE               KS   66044‐7145
SEGURA, GUADALUPE            701 ONYX ROAD                                                                                       PHARR                  TX   78577‐6445
SEGURA, GUADALUPE            701 ONYX RD                                                                                         PHARR                  TX   78577‐6445
SEGURA, HECTOR               13213 HOPE RD                                                                                       NEWELL                 SD   57760‐5783
SEGURA, JESSE M              2931 N 47TH TER                                                                                     KANSAS CITY            KS   66104‐2369
SEGURA, JOE J                2511 RIVERVIEW AVE                                                                                  KANSAS CITY            KS   66102‐4621
SEGURA, JOE J                548 E APACHE ST                                                                                     GARDNER                KS   66030‐7838
SEGURA, JOE JAY              548 E APACHE ST                                                                                     GARDNER                KS   66030‐7838
SEGURA, LIONEL R             412 JAMIE WAY                                                                                       BOWLING GREEN          KY   42104
SEGURA, LUIS F               PO BOX 295                                                                                          BIRCH RUN              MI   48415‐0295
SEGURA, MARIA V              PO BOX 295                                                                                          BIRCH RUN              MI   48415‐0295
SEGURA, MIGUEL               2330 SILVERWOOD RD                                                                                  LUPTON                 MI   48635‐9634
SEGURA, PABLO                3400 S AUSTIN BLVD                                                                                  CICERO                 IL   60804‐3701
SEGURA, ROSA C               10 HILL PL                                                                                          WENTZVILLE             MO   63385‐4813
SEGURA, ROSA C               10 HILL PLACE                                                                                       WENTZVILLE             MO   63385‐4813
SEGURA, STANLEY              55 HUNTERS RILL                                                                                     LAPEER                 MI   48446
SEGURA, STEVEN E             MARTIN RICHARD W                       419 CANYON AVE STE 300                                       FORT COLLINS           CO   80521‐2672
SEGURA, SUZANNE              412 JAMIE WAY                                                                                       BOWLING GREEN          KY   42104‐7731
SEGURA, TONY                 4528 N 93RD ST                                                                                      KANSAS CITY            KS   66109‐3203
SEGURD SANDS                 98 BEECH TREE LN                       PARIS WOODS II                                               HARRINGTON             DE   19952‐2700
SEGWAY INC.                  JANE DAVISON, ESQ. GENERAL COUNSEL     14 TECHNOLOGY DR                                             BEDFORD                NH   03110‐6908

SEGWAY INC.                  ATTENTION: CFO                         14 TECHNOLOGY DR                                             BEDFORD                NH 03110‐6908
SEGWAY INC.                  14 TECHNOLOGY DRIVE, BEDFOR                                                                         BEDFORD                NH 03110
SEGWAY INC.                  BRIAN COHEN, CHIEF FINANCIAL OFFICER   14 TECHNOLOGY DR                                             BEDFORD                NH 03110‐6908

SEGWAY OF WESTERN NEW YORK   ATTN: ROBERT HAUSRATH                  2800 KENMORE AVE                                             TONAWANDA              NY 14150‐7707
SEHAN CO LTD                 886 PALBONG DONG                                                           IKSAN KR 570 300 KOREA
                                                                                                        (REP)
SEHAN CO LTD                 CHRIS KIM                              886 PALBONG DONG                                             WHITE CLOUD            MI 49349
SEHAN CO LTD                 IKSAN OFFICE FACTORY, 886 PALBONG‐     IKSAN                               JUNBUK 561‐813 SOUTH
                             DONG                                                                       KOREA
SEHEE LICARI, KAREN L        89 GREENBRIAR ST                                                                                    GROSSE POINTE SHORES   MI 48236‐1507
SEHENUK, THOMAS P            11414 DEERCROFT CT                                                                                  SPRING HILL            FL 34609‐9689
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Name                                 Address1                          Address2                        Address3   Address4                  City               State Zip
SEHER DISTRIBUTION SVCS INC          401 E ALEXANDER AVE STE 326‐3                                                                          TACOMA              WA 98421‐4225
SEHGAL, MRIDULA V                    1068 AUGUSTA DR                                                                                        TROY                MI 48085‐6124
SEHGAL, SHIV K                       2216 MEADOW BROOKE DR                                                                                  MARION              IN 46952‐9336
SEHL, CARL R                         HC 1 BOX 813                                                                                           STRAWBERRY          AZ 85544‐9713
SEHL, ROBERT A                       551 PENDLETON HILL RD                                                                                  N STONINGTON        CT 06359‐1138
SEHM, HELEN O                        PO BOX 505                                                                                             BELFAST             NY 14711‐0505
SEHM, HELEN O                        P O BOX 505                                                                                            BELFAST             NY 14711‐0505
SEHMAN THOMAS                        SEHMAN, KELLEY                    5901 CEDAR LAKE RD S                                                 MINNEAPOLIS         MN 55416‐1488
SEHMAN THOMAS                        SEHMAN, THOMAS                    5901 CEDAR LAKE RD S                                                 MINNEAPOLIS         MN 55416‐1488
SEHNERT, CHARLES W                   9955 BUCKHORN LAKE RD                                                                                  HOLLY               MI 48442‐8548
SEHNERT, MARILYN                     1449 S RIDGE RD                                                                                        CARSONVILLE         MI 48419‐9327
SEHNERT, PATRICIA M                  946 MOSS LN                                                                                            WINTER PARK         FL 32789‐1010
SEHNKE JR, ARTHUR G                  26323 URSULINE ST                                                                                      ST CLAIR SHRS       MI 48081‐3862
SEHORN JAMES (459324)                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA 23510
                                                                       STREET, SUITE 600
SEHORN, JAMES                        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA 23510‐2212
                                                                       STREET, SUITE 600
SEHORN, MERLE F                      825 N CHOCTAW AVE                                                                                      INDEPENDENCE       MO 64056‐1964
SEHOYAN, LINCOLN J                   19206 COVENTRY DR                                                                                      RIVERVIEW          MI 48193‐7810
SEHR, EMILY                          316 CECIL AVE                                                                                          INDIANAPOLIS       IN 46219‐5301
SEHWA IND CO LTD                     618 6 NAMCHON DONG                                                           INCHEON 405 100 KOREA
                                                                                                                  (REP)
SEHWA IND CO LTD                     618 6 NAMCHON DONG                4B‐7L NAMDONG INDUSTRIAL                   INCHEON 405 100 KOREA
                                                                       COMPLEX                                    (REP)
SEHY, EDWARD J                       720 MILLER RD                                                                                          PLAINWELL          MI   49080‐9578
SEHY, EDWARD L                       10909 T AVE E                                                                                          SCOTTS             MI   49088‐9327
SEHY, PAUL W                         886 SHELBY ONTARIO RD                                                                                  MANSFIELD          OH   44906‐1038
SEHY, TERRY L                        8519 CHAIN‐O‐LAKES DR.                                                                                 DELTON             MI   49046
SEI ST PETERSBURG STATE POLYTE       POLITEKHNICHESKAYA 29                                                        ST PETERSBURG RU 195299
                                                                                                                  RUSSIAN FEDERATION
SEI ST PETERSBURG STATE POLYTECH U   POLITEKHNICHESKAYA 29                                                        ST PETERSBURG RU 195299
                                                                                                                  RUSSIAN FEDERATION
SEI/FARMINGTON HILLS                 24762 CRESTVIEW CT                                                                                     FARMINGTON HILLS   MI   48335‐1506
SEIAMAN, JOSEPH                      630 HILLTOP RD                    BOX12                                                                RONCO              PA   15476‐0012
SEIAMAN, JOSEPH                      PO BOX 12                         630 HILLTOP RD                                                       RONCO              PA   15476‐0012
SEIB, ALAN C                         8830 HAIGHT RD                                                                                         BARKER             NY   14012‐9631
SEIB, DAVID A                        2581 W STATE ROAD 252                                                                                  TRAFALGAR          IN   46181‐9061
SEIB, JOHN D                         7094 RIDGE RD                                                                                          LOCKPORT           NY   14094‐9428
SEIB, MARJORIE D                     599 RUDY ROAD R 13                                                                                     MANSFIELD          OH   44903‐8968
SEIB, PAUL K                         5698 AARON DR                                                                                          LOCKPORT           NY   14094‐6002
SEIB, ROGER D                        3594 STANLEY RD                                                                                        COLUMBIAVILLE      MI   48421‐9349
SEIB, SCOTT C                        7939 SLAYTON SETTLEMENT RD                                                                             GASPORT            NY   14067‐9302
SEIB, THOMAS C                       8277 ELLIS CREEK DRIVE                                                                                 CLARKSTON          MI   48348‐2621
SEIBEL DAVID (447602)                BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD         OH   44067
                                                                       PROFESSIONAL BLDG
SEIBEL JR, GEORGE J                  6209 S BYRON RD                                                                                        DURAND             MI   48429‐9406
SEIBEL, ALBERT H                     55 BOSTON TEA CT                                                                                       FLINT              MI   48507‐5912
SEIBEL, ALLEN D                      9331 TIMBER RIDGE CT                                                                                   FORT WAYNE         IN   46804‐7730
SEIBEL, BOBBIE LOU                   31421 CREEK SIDE CIRCLE                                                                                WARREN             MI   48093‐5564
SEIBEL, CHARLES F                    1771 MAUMEE DR                                                                                         DEFIANCE           OH   43512‐2548
SEIBEL, DAVID                        BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                         NORTHFIELD         OH   44067
                                                                       PROFESSIONAL BLDG
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Name                         Address1                        Address2                   Address3   Address4         City                State Zip
SEIBEL, DAVID L              429 N 350 W                                                                            GREENFIELD           IN 46140‐8376
SEIBEL, ROBERT G             2065 MATTHES DR                                                                        MANSFIELD            OH 44906‐3318
SEIBEL, RODNEY L             2329 KIOWA CT                                                                          PIQUA                OH 45356
SEIBEL, RONALD H             31421 CREEK SIDE DR                                                                    WARREN               MI 48093‐5564
SEIBEL, RUTH P               871 DOROTHY LANE                                                                       BROOKVILLE           OH 45309‐9607
SEIBEL, THOMAS R             WILLIAMSON CHE D                16903 RED OAK DR STE 220                               HOUSTON              TX 77090‐3916
SEIBEL, WALTER E             325 LEATHER LEAF LANE                                                                  LEBANON              OH 45036‐7792
SEIBEL‐STRILER, CAROLINE N   9403 CORUNNA RD                                                                        SWARTZ CREEK         MI 48473‐9714
SEIBENICK, PAMELA S          2029 S MISTYWOOD CT                                                                    DEFIANCE             OH 43512‐3481
SEIBER DORA                  SEIBER, DORA                    801 MANGUM ST                                          CENTREVILLE          MS 39631‐4167
SEIBER, DANE L               8798 DEER HOLLOW DR                                                                    HUBER HEIGHTS        OH 45424‐1254
SEIBER, DANIEL T             5813 MEMORY LN                                                                         BELLEVILLE            IL 62226‐5015
SEIBER, DORA                 766 MANGUM ST 801                                                                      CENTREVILLE          MS 39631
SEIBER, GLENN D              95 MUNROE FALLS AVE                                                                    MUNROE FALLS         OH 44262‐1537
SEIBER, JANET M              4889 CORDELL DRIVE                                                                     DAYTON               OH 45439‐3113
SEIBER, JOE A                PO BOX 236                                                                             LAKE CITY            TN 37769‐0236
SEIBER, WILLIAM F            1107 OAK POINTE DR                                                                     WATERFORD            MI 48327‐1633
SEIBER,DANE L                8798 DEER HOLLOW DR                                                                    HUBER HEIGHTS        OH 45424‐1254
SEIBERLING, HELEN            C/O EMMERSON SEIBERLING         14291 WEDGEWOOD RD                                     STERLING HEIGHTS     MI 48312
SEIBERLING, HELEN            14291 WEDGEWOOD RD              C/O EMMERSON SEIBERLING                                STERLING HEIGHTS     MI 48312‐5536
SEIBERLING, ROBERT P         47622 CONCORD RD                                                                       MACOMB               MI 48044‐2592
SEIBERS, PATRICIA A          PO BOX 62                                                                              MORENCI              MI 49256‐0062
SEIBERT AUTOMOTIVE           811 S MAIN ST                                                                          ENGLEWOOD            OH 45322‐2814
SEIBERT DESIGNS              5015 SCHUSTER ST                                                                       LAS VEGAS            NV 89118‐1641
SEIBERT JR, ALLEN K          14211 CYPRESS TER                                                                      TAMPA                FL 33618‐2716
SEIBERT JR, JESSE L          4148 IRONSIDE DR                                                                       WATERFORD            MI 48329‐1633
SEIBERT JR, R P              4349 MCCANDLISH RD                                                                     GRAND BLANC          MI 48439‐1803
SEIBERT JR, R PATRICK        4349 MCCANDLISH RD                                                                     GRAND BLANC          MI 48439‐1803
SEIBERT JR, VERN F           305 W HURON AVE                                                                        BAD AXE              MI 48413‐1122
SEIBERT LUKE                 PO BOX 15535                                                                           ROCHESTER            NY 14615‐0535
SEIBERT POWD/CLEVLND         11110 BEREA ROAD                                                                       CLEVELAND            OH 44102
SEIBERT RICHARD              909 RICHLAND RD SPC 102                                                                SAN MARCOS           CA 92069‐9630
SEIBERT, ADA E.              7404 ROCKFORD ST                                                                       PORTAGE              MI 49024‐4128
SEIBERT, ADAM E              1320 CROOKS RD APT 201                                                                 ROYAL OAK            MI 48067‐1342
SEIBERT, ALAN J              636 SPRINGDALE DR                                                                      BELLEVILLE            IL 62223‐4221
SEIBERT, ALLAN K             3333 RAVENSWOOD RD LOT 84                                                              MARYSVILLE           MI 48040‐1163
SEIBERT, BETTY
SEIBERT, CHARLES             PORTER & MALOUF PA              4670 MCWILLIE DR                                       JACKSON             MS   39206‐5621
SEIBERT, CLARA A             112 COLLEGE VW                                                                         MOUNT CARMEL        IL   62863‐2580
SEIBERT, CURTIS D            PO BOX 4                                                                               MORRICE             MI   48857‐0004
SEIBERT, CURTIS DEAN         PO BOX 4                                                                               MORRICE             MI   48857‐0004
SEIBERT, DAVID C             4757 SKYLINE DR                                                                        PERRINTON           MI   48871‐9757
SEIBERT, DOLORES B           4333 24TH AVE LOT 185                                                                  FORT GRATIOT        MI   48059‐3872
SEIBERT, DONALD G            6343 CHOCHISE ST                                                                       FLINT               MI   48506‐1103
SEIBERT, DONALD GEORGE       6343 CHOCHISE ST                                                                       FLINT               MI   48506‐1103
SEIBERT, DOROTHY A           16065 BARNES DR.                                                                       BELLE CENTER        OH   43310‐9798
SEIBERT, EDWARD
SEIBERT, EDWARD A            6738 EVERGREEN CIRCLE                                                                  DAYTON              OH   45424‐5424
SEIBERT, FLOYD E             3764 APOLLO DR                                                                         MIDLAND             MI   48642
SEIBERT, FRANK E             PO BOX 48                                                                              WHITTAKER           MI   48190‐0048
SEIBERT, FRANK J             19961 SHREWSBURY RD                                                                    DETROIT             MI   48221‐1854
SEIBERT, FRANK W             48 LAKE DR                                                                             PALM BEACH SHORES   FL   33404‐6218
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Name                        Address1                      Address2                         Address3   Address4         City              State Zip
SEIBERT, FRED               445 COOLIDGE DR                                                                            KENILWORTH         NJ 07033‐1544
SEIBERT, GARY D             10389 BEARD RD                                                                             KENOCKEE           MI 48006‐2810
SEIBERT, HELEN              535 BUCKINGHAM RD APT 2306                                                                 RICHARDSON         TX 75081‐5179
SEIBERT, HELEN              535 EAST BUCKINGHAM ROAD      APARTMENT 2306                                               RICHARDSON         TX 75081
SEIBERT, HELEN E            PO BOX 4                                                                                   MORRICE            MI 48857‐0004
SEIBERT, HELEN M            6910 WILLOW TREE LN                                                                        HUBER HEIGHTS      OH 45424‐2477
SEIBERT, JANET A            PO BOX 48                                                                                  WHITTAKER          MI 48190‐0048
SEIBERT, JEFFREY L          1157 S LAKE VALLEY DR                                                                      FENTON             MI 48430‐1243
SEIBERT, JEFFREY P          3378 BANNING RD                                                                            CINCINNATI         OH 45239‐5209
SEIBERT, JUDITH             11 HEIGHTS RD E                                                                            SAINT MICHAEL      MN 55376
SEIBERT, KENDRA M           27831 WATSON ROAD                                                                          DEFIANCE           OH 43512‐6844
SEIBERT, KENDRA MARIE       27831 WATSON ROAD                                                                          DEFIANCE           OH 43512‐6844
SEIBERT, LESTER T           329 E CAMPBELL ST                                                                          LOUDONVILLE        OH 44842‐1005
SEIBERT, LINTON R           1576 HIGHTOWER DR                                                                          UNIONTOWN          OH 44685‐9536
SEIBERT, LOWELL D           6155 GIBSON RD                                                                             CANFIELD           OH 44406‐9644
SEIBERT, MARGARET C         879 BEACH BUGGY LN                                                                         LINDEN             MI 48451
SEIBERT, MARGARET H         14211 CYPRESS TER                                                                          TAMPA              FL 33618‐2716
SEIBERT, MARY A             27765 WATSON RD                                                                            DEFIANCE           OH 43512‐6845
SEIBERT, MELODY             7818 KAVANAGH RD                                                                           BALTIMORE          MD 21222‐3303
SEIBERT, MICHAEL S          201 BANBURY RD                                                                             CENTERVILLE        OH 45459‐1705
SEIBERT, PATTY A            8159 S BULL DOG CT                                                                         GOLD CANYON        AZ 85218‐4925
SEIBERT, PETER K            12758 MERLAU AVE                                                                           PLAINWELL          MI 49080‐9306
SEIBERT, RAYMOND M          648 PRITZ AVE                                                                              DAYTON             OH 45410‐2433
SEIBERT, RICHARD A          411 WORTH COURT                                                                            CRANBERRY TWP      PA 16066‐2225
SEIBERT, RICHARD L          2838 KOEHLER AVE                                                                           DAYTON             OH 45414‐4920
SEIBERT, ROBERT A           5598 COY RD                                                                                NEY                OH 43549‐9787
SEIBERT, ROBERT J           5056 WOODMIRE DR                                                                           SHELBY TOWNSHIP    MI 48316‐2362
SEIBERT, ROBERT J           3500 PEBBLE CREEK DR                                                                       BEAVERCREEK        OH 45432‐2339
SEIBERT, ROBERT JAMES       PO BOX 4                                                                                   MORRICE            MI 48857‐0004
SEIBERT, ROY D              3310 OVERLOOK AVE S.E.                                                                     WARREN             OH 44484‐3638
SEIBERT, VICTORIA M         5730 CARROLLTON COURT                                                                      ROCHESTER          MI 48306‐2391
SEIBERT/CHENOA              RT. 24 & 7TH ST                                                                            CHENOA              IL 61726
SEIBLY, FRANK R             2200 ASPENWOOD DR                                                                          HOLT               MI 48842‐8717
SEIBLY, FRANK RICHARD       2200 ASPENWOOD DR                                                                          HOLT               MI 48842‐8717
SEIBOLD PAUL                SEIBOLD, JENNIFER             400 SW LONGVIEW BLVD SUITE 280                               LEES SUMMIT        MO 64081

SEIBOLD PAUL                SEIBOLD, PAUL                 400 SW LONGVIEW BLVD SUITE 280                               LEES SUMMIT       MO 64081

SEIBOLD, BETTY J            23500 E 88TH ST                                                                            LEES SUMMIT       MO   64064‐2715
SEIBOLD, DAVID A            2651 S POOR FARM RD                                                                        GREENBUSH         MI   48738
SEIBOLD, DONALD F           PO BOX 1055                                                                                KIMBERLING CITY   MO   65686‐1055
SEIBOLD, FREDIRICK G        2264 CENTER CT N APT 4                                                                     GRAND ISLAND      NY   14072‐1745
SEIBOLD, KENNETH F          2207 1ST ST                                                                                GRAND ISLAND      NY   14072‐1517
SEIBOLD, KENNETH FREDRICK   2207 1ST ST                                                                                GRAND ISLAND      NY   14072‐1517
SEIBOLD, MARJORIE M         7800 E VERMONTVILLE HWY                                                                    DIMONDALE         MI   48821‐8746
SEIBOLD, MARJORIE W         109 DELTA AVE                                                                              LAKE PLACID       FL   33852‐6288
SEIBOLD, MARJORIE W         109 DELTA AVENUE                                                                           LAKE PLACID       FL   33852‐6288
SEIBOLD, OLIVE M            1603 S. PATRIOT DR.                                                                        YORKTOWN          IN   47396‐9382
SEIBOLD, OLIVE M            1603 S PATRIOT DR                                                                          YORKTOWN          IN   47396‐9382
SEIBOLD, RAYMOND J          107 BRIGHTON CT                                                                            COLUMBIA          TN   38401‐6206
SEIBOLD, RICHARD F          PO BOX 17                                                                                  CHIPPEWA LAKE     MI   49320‐0017
SEIBOLD, ROBERT F           8532 WAUKEENAH HIGHWAY                                                                     MONTICELLO        FL   32344‐8000
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Name                          Address1                        Address2                      Address3   Address4         City                 State Zip
SEIBOLT, JOSEPH F             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                              STREET, SUITE 600
SEICARU                       601 ELMWOOD AVE                                                                           ROCHESTER            NY   14642‐0001
SEICHE, ROBERT W              PO BOX 423                                                                                MILAN                OH   44846‐0423
SEICHEPINE, JANE S            32 TUCKAHOE RD                                                                            NEW CASTLE           DE   19720‐4433
SEICHEPINE, JOAN C            15224 W 83RD TER                                                                          LENEXA               KS   66219‐1554
SEICHEPINE, VICTOR J          195 BAYBERRY CIR UNIT 803                                                                 SAINT AUGUSTINE      FL   32086‐7501
SEICHTER, STEVEN W            3774 STONE RIDGE DR                                                                       JANESVILLE           WI   53548‐5826
SEID, SEBIHA                  240 O TARA WOODS DR                                                                       NEWNAN               GA   30263‐6122
SEIDA, ERICH                  10004 LAKESIDE DR                                                                         PERRINTON            MI   48871‐9645
SEIDE, CYNTHIA M              8327 WEBSTER HILLS RD                                                                     DEXTER               MI   48130‐9679
SEIDE, VICTORIA               35490 MICHAEL DR SR                                                                       SOLON                OH   44139
SEIDEL JEROME B SR (439491)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510
                                                              STREET, SUITE 600
SEIDEL JESSE                  SEIDEL, JESSE                   7825 FAY AVENUE SUITE 200                                 LA JOLLA             CA 92037
SEIDEL JESSE                  SEIDEL, JESSE                   7825 FAY AVE STE 200                                      LA JOLLA             CA 92037‐4270
SEIDEL LOREN O (429785)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                              STREET, SUITE 600
SEIDEL VICTOR                 736 ESCONDIDO RD AVE 226                                                                  STANFORD             CA   94305
SEIDEL, ANNA M                20505 SUNNYDALE ST                                                                        SAINT CLAIR SHORES   MI   48081‐3453
SEIDEL, ANTHONY               5486 E VIENNA RD                                                                          CLIO                 MI   48420‐9129
SEIDEL, AUDREY M              580 E BORLAND RD                                                                          IMLAY CITY           MI   48444‐9755
SEIDEL, BARBARA ANN           199 QUAIL DR                                                                              CAPAC                MI   48014‐3753
SEIDEL, BEATRICE K            1243 HIGHLAND CIRCLE DR                                                                   WENTZVILLE           MO   63385‐5542
SEIDEL, BEVERLY R             10408 CLARK RD                                                                            DAVISON              MI   48423‐8597
SEIDEL, EDWARD A              7585 SAN BARI WAY                                                                         GOLETA               CA   93117‐1919
SEIDEL, ELMER A               25 EAST POINTE                                                                            FAIRPORT             NY   14450‐9776
SEIDEL, ELVA J                1494 DORELLEN AVE                                                                         FLINT                MI   48532‐5338
SEIDEL, ERICK                 526 LINCOLN AVE                                                                           NILES                OH   44446‐3131
SEIDEL, JAMES                 10512 RAY RD                                                                              GAINES               MI   48436‐9607
SEIDEL, JEROME B              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510‐2212
                                                              STREET, SUITE 600
SEIDEL, JESSE                 BICKEL LAW FIRM INC             7825 FAY AVE STE 200                                      LA JOLLA             CA   92037‐4270
SEIDEL, JOHN F                7160 BLANKENSHIP CIR                                                                      DAVISON              MI   48423‐2317
SEIDEL, JUDITH ANN            5486 E VIENNA RD                                                                          CLIO                 MI   48420‐9129
SEIDEL, LAURA M               221 CREEK DR                                                                              ELKTON               MD   21921‐3815
SEIDEL, LAURA M               21207 BRIARCLIFF ST                                                                       ST CLR SHORES        MI   49082‐1224
SEIDEL, LOREN O               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510‐2212
                                                              STREET, SUITE 600
SEIDEL, MADONNA L             2472 EGLESTON AVE                                                                         BURTON               MI   48509‐1128
SEIDEL, NORMAN E              1150 AUBORNE RD                                                                           ADRIAN               MI   49221‐1374
SEIDEL, PHILIP A              30 BEAUMONT DR                                                                            HENDERSONVILLE       NC   28739‐7050
SEIDEL, RACHEL MARIE          APT 411                         136 NORTH MILWAUKEE STREET                                MILWAUKEE            WI   53202‐6035
SEIDEL, RANDALL               137 TURNER ST                                                                             ROMEO                MI   48065‐4678
SEIDEL, ROBERT L              10 SAINT LAWRENCE DR                                                                      SAINT PETERS         MO   63376‐1446
SEIDEL, ROBERT T              116 EAGLE CT                    CEDAR VILLAGE APTS                                        WILKES BARRE         PA   18706‐3048
SEIDEL, ROY L                 3467 LIBERTY PKWY                                                                         DUNDALK              MD   21222‐6045
SEIDEL, VINCENT A             3308 SOUTHGATE DR                                                                         FLINT                MI   48507‐3219
SEIDEL, WILLIAM G             460 ATKINSON ST                                                                           SPARTA               MI   49345‐1460
SEIDELL, DANIEL L             10472 FARRAND RD                                                                          OTISVILLE            MI   48463‐9771
SEIDELL, LARRY D              9517 HAMILL ROAD                                                                          OTISVILLE            MI   48463‐9785
SEIDELL, LONALD V             8345 NW 66 ST#9098                                                                        MIAMI                FL   33166
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Name                                    Address1                             Address2                        Address3                    Address4         City              State Zip
SEIDELL, MICHAEL J                      16023 HULL RD                                                                                                     BROWN CITY         MI 48416‐9507
SEIDELL, RICHARD L                      149 GLENDALE CT                                                                                                   ROCHESTER          MI 48307‐1107
SEIDELL, ROBERT J                       11459 LAKE RD                                                                                                     OTISVILLE          MI 48463‐9770
SEIDELMAN, JAMES M                      1261 GIDNER RD                                                                                                    CHARLOTTE          MI 48813‐9743
SEIDELMAN, JEANA                        709 VERNON AVE                                                                                                    LANSING            MI 48910‐4636
SEIDELMAN, OTTO F                       2649 E 2350TH RD                                                                                                  MARSEILLES          IL 61341‐9766
SEIDEN JR, CARL D                       1733 FLAMINGO LN                                                                                                  SUN CITY CENTER    FL 33573‐5705
SEIDEN URI & ASSOCITES                  5640 CHEROKEE CIR                                                                                                 FAIRWAY            KS 66205‐3301
SEIDENBERG, MITCH                       581 ROCKNE AVE                                                                                                    MASSAPEQUA PARK    NY 11762‐1052
SEIDENSCHMIDT, JOSEPH A                 2508 OAK PARK AVE                                                                                                 KETTERING          OH 45419‐2751
SEIDENSCHMIDT, JOSEPH A                 2508 OAK PARK DRIVE                                                                                               KETTERING          OH 45419‐2751
SEIDENSTEIN, MURIEL K                   16934 SADDLEWOOD TRL                                                                                              MINNETONKA         MN 55345‐2672
SEIDENSTICKER, CHRISTOPHER L            624 DELRAY DR                                                                                                     INDIANAPOLIS       IN 46241‐1700
SEIDENSTRICKER, NEIL                    950 SMILE WAY                                                                                                     YORK               PA 17404‐1798
SEIDER, RICHARD L                       8931 DAVIDGATE DR                                                                                                 HUBER HEIGHTS      OH 45424‐6422
SEIDER, SUSAN M                         10060 S NICHOLSON RD                                                                                              OAK CREEK          WI 53154‐5812
SEIDERS, ROBERT R                       1219 BLACKWELL FERRY ROAD                                                                                         KIRBYVILLE         MO 65679‐8311
SEIDEWAND, BETTY B                      838 BRADINGTON CIR                                                                                                WEBSTER            NY 14580‐8424
SEIDEWAND, EDWARD H                     838 BRADINGTON CIR                                                                                                WEBSTER            NY 14580‐8424
SEIDL MICHEAL                           1690 FRANK MILLER RD                                                                                              UNION CITY         IN 47390‐8446
SEIDL THOMAS                            CASCINO MICHAEL P                    220 S. ASHLAND                                                               CHICAGO             IL 60607
SEIDL, DAVID CHARLES                    BOONE ALEXANDRA                      205 LINDA DR                                                                 DAINGERFIELD       TX 75638‐2107
SEIDL, JAMES J                          27616 LIBERTY DR                                                                                                  WARREN             MI 48092‐3574
SEIDL, LUCILLE M                        2795 S BANNOCK ST                                                                                                 ENGLEWOOD          CO 80110‐1514
SEIDL, MARK J                           1502 NORMANDY RD APT 214                                                                                          ROYAL OAK          MI 48073‐2472
SEIDL, VICTOR A                         34292 ST RT. 41                                                                                                   PEEBLES            OH 45660‐9579
SEIDL, VICTOR A                         34292 STATE ROUTE 41                                                                                              PEEBLES            OH 45660‐9579
SEIDLE CLYDE (ESTATE OF) (489230)       BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                NORTHFIELD         OH 44067
                                                                             PROFESSIONAL BLDG
SEIDLE, BRETT A                         544 LEATHERWOOD RD                                                                                                BEDFORD           IN    47421‐8751
SEIDLE, JALBERTA M                      4810 STATE ROUT # 7                                                                                               BURGHILL          OH    44404‐4404
SEIDLE, JERRY                           266 WOODSFERRY RD                                                                                                 BEDFORD           IN    47421‐8368
SEIDLEIN GEOFFREY                       STE 1                                  5801 WEST MICHIGAN AVENUE                                                  LANSING           MI    48917‐2495
SEIDLER, DONALD G                       15483 LINCOLNSHIRE LN                                                                                             FRASER            MI    48026‐2354
SEIDLER, EMIL E                         4824 W CHURCHILL LN                                                                                               BROWN DEER        WI    53223‐3610
SEIDLER, LESLIE E                       PO BOX 70581                                                                                                      RENO              NV    89570‐0581
SEIDLER, MITCHELL E                     RTE 2 BOX 4002 PLAIN ROAD                                                                                         KINGSTON          MI    48741
SEIDLER, NANCY                          1209 GRANDVIEW DR                                                                                                 ROCHESTER HILLS   MI    48306‐4032
SEIDLES CHEVROLET OLDSMOBILE INC BILL   SEIDLES CHEVROLET OLDSMOBILE INC, BILL ADAMS & QUINTON PA            CAMINO REAL CENTRE , 7300                    BOCA RATON        FL    33433
                                                                                                             WEST CAMINO REAL
SEIDLES CHEVROLET OLDSMOBILE INC BILL SEIDLES CHEVROLET OLDSMOBILE INC, BILL 7025 BERACASA WAY STE 102H                                                   BOCA RATON         FL   33433‐3428

SEIDLING, FREDERICK W                   6233 WESTDALE DR                                                                                                  GRAND BLANC       MI 48439‐8545
SEIDLING, SHERRY A                      6233 WESTDALE DR                                                                                                  GRAND BLANC       MI 48439‐8545
SEIDMAN AMY                             SEIDMAN, AMY                         120 MONTGOMERY STREET SUITE                                                  SAN FRANCISCO     CA 94104
                                                                             1600
SEIDMAN, AMY                            584 2ND AVE                                                                                                       SAN FRANCISCO     CA 94118‐4006
SEIDMAN, AMY                            VANNUCCI JOHN FITZPATRICK LAW        100 MONTGOMERY ST STE 1600                                                   SAN FRANCISCO     CA 94104‐4345
                                        OFFICES OF
SEIDNER, DONALD E                       3892 BUNKER HILL RD                                                                                               LEETONIA          OH 44431‐9674
SEIDNER, ISAIAH C                       5325 DELAND RD                                                                                                    FLUSHING          MI 48433‐2911
SEIDNER, NEIL W                         16900 OVERLOOK WAY                                                                                                LAKE MILTON       OH 44429‐9695
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Name                                  Address1                         Address2                      Address3   Address4         City               State Zip
SEIDNER, WILLIAM E                    944 BARRENS VILLAGE LN                                                                     ROANOKE             VA 24019‐2347
SEIER, JOHN J                         10377 JENNINGS RD                                                                          GRAND BLANC         MI 48439‐9330
SEIER, SHARON A                       10377 JENNINGS RD                                                                          GRAND BLANC         MI 48439‐9330
SEIERSTAD, DONALD G                   3214 BERKSHIRE RD                                                                          JANESVILLE          WI 53546‐2248
SEIF & SONS CHEVROLET INC             632 E MAIN ST SE                                                                           CALEDONIA           MI 49316‐9501
SEIF & SONS CHEVROLET INC             CLARE HARKEMA                    632 E MAIN ST SE                                          CALEDONIA           MI 49316‐9501
SEIF CHEVROLET BUICK & PONTIAC INC.   CLARE HARKEMA                    632 E MAIN ST SE                                          CALEDONIA           MI 49316‐9501

SEIF CHEVROLET BUICK & PONTIAC INC.   632 E MAIN ST SE                                                                           CALEDONIA          MI 49316‐9501

SEIF, DONALD W                        1867 CREEK LNDG                                                                            HASLETT            MI   48840‐9765
SEIF, JOHN J                          569 SOUTH COLUMBUS STREET                                                                  XENIA              OH   45385‐5699
SEIF, MARY E                          1867 CREEK LNDG                                                                            HASLETT            MI   48840‐9765
SEIF, RAYMOND M                       6832 MEADOWLAWN DR                                                                         NORFOLK            VA   23518‐4946
SEIF, RONALD D                        4607 MIRIAM RD                                                                             BELDING            MI   48809‐9756
SEIFERLEIN, RONALD C                  2313 CAMPFIRE TRL                                                                          ALGER              MI   48610‐9112
SEIFERT JR, JOHN E                    3639 W RIVER RD                                                                            NEWTON FALLS       OH   44444‐9426
SEIFERT MTM SYSTEMS INC               75 CIRCUIT DR                                                                              NORTH KINGSTOWN    RI   02852‐7435
SEIFERT ROBERT W (404622)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                       STREET, SUITE 600
SEIFERT SIGNS INC                     6133 JUDD RD                                                                               ORISKANY           NY   13424‐4220
SEIFERT, CATHY ANN                    32602 GRINSELL DR                                                                          WARREN             MI   48092‐3104
SEIFERT, DAVID                        4321 CIRCLE DR                                                                             FLINT              MI   48507‐2739
SEIFERT, DAVID W                      345 CLAYTON MANOR DR                                                                       MIDDLETOWN         DE   19709‐8859
SEIFERT, DENNIS C                     25502 CLOIE DR                                                                             WARREN             MI   48089‐1336
SEIFERT, EVELYN I                     1545 FRUITLAND AVE                                                                         MAYFIELD HEIGHTS   OH   44124‐3401
SEIFERT, GARY
SEIFERT, GARY L                       4365 ELECTION HOUSE RD NW                                                                  LANCASTER          OH   43130‐8323
SEIFERT, HEATHER J                    6743 WHITEFORD CENTER RD                                                                   LAMBERTVILLE       MI   48144‐9731
SEIFERT, JAMES E                      PO BOX 205                       1805 JACKSON AVE                                          LAKE GEORGE        MI   48633‐0205
SEIFERT, JOHN A                       4140 ANDERSON ANTHONY RD NW                                                                WARREN             OH   44481‐9016
SEIFERT, JOHN C                       3708 DUKESHIRE HWY                                                                         ROYAL OAK          MI   48073‐6428
SEIFERT, JOHN C                       2345 SOUTH RICHMAN WAY                                                                     NEW PALESTINE      IN   46163‐8795
SEIFERT, JOHN H                       1525 LITTLEHILL RD                                                                         PT PLEASANT        NJ   08742‐3431
SEIFERT, JOHN R                       PO BOX 355                                                                                 WATERS             MI   49797‐0355
SEIFERT, JOSEPH A                     8228 BLANK RD.                                                                             BROOKVILLE         OH   45309‐5309
SEIFERT, KENNETH H                    2841 E COTTONWOOD CLUB LN                                                                  TUCSON             AZ   85706‐1768
SEIFERT, KURT P                       256 WHITE TAIL RUN                                                                         CORTLAND           OH   44410‐2610
SEIFERT, LEO J                        12057 DOHONEY RD                                                                           DEFIANCE           OH   43512‐8842
SEIFERT, LINDA D                      PO BOX 718                                                                                 CRESTLINE          CA   92325‐0718
SEIFERT, LOREN L                      BOONE ALEXANDRA                  205 LINDA DR                                              DAINGERFIELD       TX   75638‐2107
SEIFERT, LOUIS H                      1 LAKEVIEW DR APT 1H                                                                       PEEKSKILL          NY   10566‐2233
SEIFERT, MARK A                       8558 GLEN HAVEN DR                                                                         HOWELL             MI   48843‐8114
SEIFERT, MARY D                       UNIT G                           9017 CONCORD LANE                                         JUSTICE            IL   60458‐1895
SEIFERT, MAUREEN R                    6340 WOLCOTTSVILLE RD                                                                      AKRON              NY   14001‐9001
SEIFERT, RAYMOND C                    60 RENGERMAN HILL RD                                                                       EAST HARTLAND      CT   06027
SEIFERT, ROBERT E                     8314 DEERWOOD RD                                                                           CLARKSTON          MI   48348‐4535
SEIFERT, ROBERT G                     6340 WOLCOTTSVILLE RD                                                                      AKRON              NY   14001‐9001
SEIFERT, ROBERT W                     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                       STREET, SUITE 600
SEIFERT, SAM A                        71 OTTERBEIN DR                                                                            LEXINGTON          OH 44904‐9341
SEIFERT, TIMOTHY A                    9120 HIGHLAND VIEW DR                                                                      KALAMAZOO          MI 49009‐7590
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Name                                  Address1                              Address2                       Address3   Address4                 City               State Zip
SEIFERT, VICTORIA                     25502 CLOIE DR                                                                                           WARREN              MI 48089‐1336
SEIFERT, VIRGINIA K                   9012 STONEGATE CIR                                                                                       NORTH RIDGEVILLE    OH 44039‐8951
SEIFFERLY, EVELYN L                   546 VENETIAN CT                                                                                          BAY CITY            MI 48708‐6965
SEIFFERLY, GERALD J                   33 STANLEY DR                                                                                            BAY CITY            MI 48708‐9118
SEIFFERLY, JAMES R                    1840 MORIN DR                                                                                            BAY CITY            MI 48708‐6956
SEIFFERLY, ROBERT S                   3364 NORTHWAY DR                                                                                         BAY CITY            MI 48706‐3335
SEIFFERLY, TIMOTHY M                  1902 34TH ST                                                                                             BAY CITY            MI 48708‐8152
SEIFFERT, ALBERT P                    C/O GOLDENBERG HELLER ANTOGNOLI &     2227 S STATE RTE 157                                               EDWARDSVILLE         IL 62025
                                      ROWLAND P C
SEIFFERTH, DONALD W                   220 SOUTHBROOK DR                                                                                        DAYTON             OH   45459‐2848
SEIFFERTH, TODD A                     506 MAPLEGROVE DR                                                                                        FRANKLIN           TN   37064‐5124
SEIFLEIN, NORMAN P                    6897 TAYLOR RD                                                                                           HAMBURG            NY   14075‐6831
SEIFRED, BETTY                        395 STATE RD                                                                                             WEST GROVE         PA   19390‐8952
SEIFRED, HARRY S                      PO BOX 1684                                                                                              DELTA              CO   81416
SEIFRICK, RICHARD T                   113 VINE TREE PL                                                                                         CORTLAND           OH   44410‐1663
SEIFRIED, BARBARA J                   505 GRACELAND ST NE                                                                                      GRAND RAPIDS       MI   49505‐4107
SEIGAL JOHN L                         4279 GENTLEWIND DR                                                                                       MASON              OH   45040‐8187
SEIGAL, JOHN L                        4279 GENTLEWIND DR                                                                                       MASON              OH   45040‐8187
SEIGEL, GLADYS J                      5416 PATRICIA DRIVE                                                                                      ORLANDO            FL   32822
SEIGEL, SEYMOUR                       41 LAKE LEA ROAD                                                                                         ROCHESTER          NY   14617‐1927
SEIGEL, SIDNEY                        2015 SHORE PKWY APT 7D                                                                                   BROOKLYN           NY   11214‐6838
SEIGEL, STANISLAUS                    5416 PATRICIA DRIVE                                                                                      ORLANDO            FL   32822‐2059
SEIGFRIED JR, DALE D                  603 RICHARD CT                                                                                           NEW CARLISLE       OH   45344‐1717
SEIGHMAN, MARIA A                     13 SCAMMELL DR                                                                                           YARDLEY            PA   19067‐4217
SEIGLE, CHAD A                        32900 SLOCUM DR                                                                                          FARMINGTN HLS      MI   48336‐3979
SEIGLE, RAYMOND E                     2202 BOGART RD                                                                                           HURON              OH   44839‐9530
SEIGLER JR, THOMAS J                  2532 SPECK AVENUE CT                                                                                     INDEPENDENCE       MO   64057‐2425
SEIGLER JR, THOMAS JEROME             2532 SPECK AVENUE CT                                                                                     INDEPENDENCE       MO   64057‐2425
SEIGLEY BENJAMIN D (626764)           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA   23510
                                                                            STREET, SUITE 600
SEIGLEY, BENJAMIN D                   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA 23510‐2212
                                                                            STREET, SUITE 600
SEIGMAN, DUANE E                      100 KATIE LN                                                                                             COLUMBIA           TN   38401‐5536
SEIGNEMARTIN, E E                     4520 W 36TH AVE                                                                                          SPOKANE            WA   99224‐5035
SEIGO, MARY J.                        4029 CANEY CREEK LN                                                                                      CHAPEL HILL        TN   37034
SEIGO, MICHAEL D                      4029 CANEY CREEK LN                                                                                      CHAPEL HILL        TN   37034‐2076
SEIGRIST JAMES (ESTATE OF) (501358)   COON BRENT W                          PO BOX 4905                                                        BEAUMONT           TX   77704‐4905
SEIGRIST, JAMES                       COON BRENT W                          PO BOX 4905                                                        BEAUMONT           TX   77704‐4905
SEIJAS, ARMANDO L                     10438 SCHMIDT RD                                                                                         S EL MONTE         CA   91733‐2112
SEIKEL LEWIS A JR                     SEIKEL & SEIKEL                       686 W MARKET ST                                                    AKRON              OH   44303
SEIKEL, ANNE M                        2643 VILLA DR                                                                                            TOLEDO             OH   43617‐1812
SEIKO A HALL                          684 CAYUGA ST                                                                                            YPSILANTI          MI   48198‐6140
SEIL INTECH CO LTD                    440 52 BLK 1 LOT NONHUYN DONG                                                   INCHON 405849 KOREA
                                                                                                                      (REP)
SEIL INTECH CO LTD                    440 52 BLK 1 LOT NONHUYN DONG         NAMDONG KU                                INCHON KR 405849 KOREA
                                                                                                                      (REP)
SEIL, GERARD J                        51 WYNDOVER RD                                                                                           ROCHESTER          NY 14616‐1522
SEILER CHRISTINE Y                    3 SULPHUR SPRINGS RD                                                                                     DUNCANNON          PA 17020‐9662
SEILER DANIEL (490562)                GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                       PITTSBURGH         PA 15219

SEILER JR, HOWARD L                   2360 DOBIE RD                                                                                            MASON              MI 48854‐9472
SEILER KARL                           8982 WETBANKS CT                                                                                         COLUMBIA           MD 21045
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Name                        Address1                              Address2                            Address3                  Address4             City               State Zip
SEILER RONDA JEAN           1938 LAKEVIEW DR                                                                                                         LAPEER              MI 48446‐8046
SEILER, ALBERT D            949 OAK ST                                                                                                               GRAFTON             OH 44044‐1440
SEILER, DANIEL              GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                                       PITTSBURGH          PA 15219

SEILER, DAVID A             5677 S TRANSIT RD                                                                                                        LOCKPORT           NY    14094‐5842
SEILER, DENISE R            3830 JARRETT DRIVE                                                                                                       N TONAWANDA        NY    14120‐9702
SEILER, DENISE R.           3830 JARRETT DRIVE                                                                                                       N TONAWANDA        NY    14120‐9702
SEILER, DENNIS H            1938 LAKEVIEW DR                                                                                                         LAPEER             MI    48446‐8046
SEILER, ELIZABETH M         148 WASHINGTON ST                                                                                                        LOCKPORT           NY    14094‐2261
SEILER, ELIZABETH Y         201 GOODSON WAY                                                                                                          DENTON             TX    76207‐2201
SEILER, FRANK E             7109 SW 113TH LOOP                                                                                                       OCALA              FL    34476‐3916
SEILER, JAMES P             1345 SPRINGDALE DR APT 3                                                                                                 SANDUSKY           OH    44870‐4240
SEILER, JOSEPH              WILENTZ GOLDMAN & SPITZER             88 PINE STREET, WALL STREET PLAZA                                                  NEW YORK           NY    10005

SEILER, JOSEPH F            ATTN LYNNE KIZIS ESQ                  WILENTZ GOLDMAN AND SPITZER         90 WOODBRIDGE CENTER DR                        WOODBRIDGE          NJ   07095

SEILER, JOSEPH SHAWN        4033 DAKOTA TRL                                                                                                          LAKE WORTH         TX    76135‐2849
SEILER, JULIA M             84 MARLENE DR                                                                                                            CHEEKTOWAGA        NY    14225‐4444
SEILER, MARIANNE            189 ROZUK ROAD                                                                                                           CERES              NY    14721‐9702
SEILER, MARK A              780 HAWKSMOORE DR                                                                                                        CLARKSTON          MI    48348‐3630
SEILER, MARY L              1476 RANCHO NAVARRO ST                                                                                                   HENDERSON          NV    89012
SEILER, MICHAEL A           194 DRAKES CREEK DR                                                                                                      BOWLING GREEN      KY    42103‐9004
SEILER, MICHAEL G           189 ROZUK ROAD                                                                                                           CERES              NY    14721‐9702
SEILER, MICHAEL J           PO BOX 181                                                                                                               CADDO              TX    76429‐0181
SEILER, MICHAEL L           5103 OLD BROCK RD                                                                                                        WEATHERFORD        TX    76087‐6638
SEILER, MICHAEL LESLIE      5103 OLD BROCK RD                                                                                                        WEATHERFORD        TX    76087‐6638
SEILER, RICHARD G           449 BOSTON SCHOOL RD                                                                                                     MORGANTOWN         KY    42261‐7508
SEILER, ROBERT H            891 RITA DR                                                                                                              PITTSBURGH         PA    15221‐3957
SEILER, ROBERT H            891 RITA DRIVE                                                                                                           PITTSBURGH         PA    15221‐3957
SEILER, ROBERT T            1910 S OAKHILL AVE                                                                                                       JANESVILLE         WI    53546‐6048
SEILER, RONALD R            4932 TIM TAM TRL                                                                                                         BLASDELL           NY    14219‐2634
SEILER, RONDA               1938 LAKEVIEW DR                                                                                                         LAPEER             MI    48446‐8046
SEILER, SUZANNE J           5456 CHRISTI DR                                                                                                          WARREN             MI    48091‐4195
SEILER, TEDDY J             405 BOSTON SCHOOL RD                                                                                                     MORGANTOWN         KY    42261‐7508
SEILER, THOMAS              COMDIRECT BANK AG                     PASCALKEHRE 15                                                25451 QUICKBORN,
                                                                                                                                GERMANY
SEILER, WILLIAM             11 OAK RIDGE TRL                                                                                                         ELLIJAY            GA    30536‐2419
SEILER, WILLIAM J           2289 S WALLICK RD                                                                                                        PERU               IN    46970‐7354
SEILHEIMER, BARBARA E       1760 PARKER BLVD                                                                                                         TONAWANDA          NY    14150‐8743
SEILKOP, JEFFREY C          3881 ACADIA DR                                                                                                           LAKE ORION         MI    48360‐2726
SEILKOP, TARA L             461 OSGOOD CT                                                                                                            LAGUNA BEACH       CA    92651‐3631
SEILLER & HANDMAKER         2200 MEIDINGER TOWER                                                                                                     LOUISVILLE         KY    40202‐3485
SEILS, KURT A               2880 WARNER DR                                                                                                           WEST BLOOMFIELD    MI    48324‐2446
SEIM, FLORENCE J            1700 CRESTLINE DR                                                                                                        TROY               MI    48083‐5532
SEIM, JAMES W               798 RIVERWATCH DR                                                                                                        CRESCENT SPRINGS   KY    41017‐5388
SEIM, JOSEPH R              3475 FISHER RD                                                                                                           HOWELL             MI    48855‐6701
SEIM, MARJORIE A            74 CORONA DR                                                                                                             PALM SPRINGS       CA    92264‐6407
SEIM, PETER E               11740 N 400 E                                                                                                            ROANOKE            IN    46783‐9437
SEIM, ROBERT L              404 DELINE DR                                                                                                            TOLEDO             OH    43615‐5121
SEIM, THOMAS A              1700 CRESTLINE DR                                                                                                        TROY               MI    48083‐5532
SEIMENS VDO NORTH AMERICA   4685 INVESTMENT DR                                                                                                       TROY               MI    48098‐6335
SEIMITS, MARYANN E          2401 W BRANTWOOD AVE                                                                                                     GLENDALE           WI    53209‐3333
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Name                      Address1                              Address2                       Address3   Address4               City               State Zip
SEIMON, GRANT A           37325 PARK AVE                                                                                         WILLOUGHBY          OH 44094‐6048
SEINAR JR, JOHN           57 HOVEY ST                                                                                            OXFORD              MI 48371‐4826
SEINAR, JOHN H            3022 WOODLAND DR                                                                                       DAVISON             MI 48423‐8735
SEINER, STEPHEN J         5613 FOLKSTONE DR                                                                                      TROY                MI 48085‐3153
SEINKNER, JAMES G         8 WORTHINGTON AVENUE                                                                                   NEW CASTLE          PA 16105‐2806
SEINKNER, JASON M         282 CAROLEWOOD CIR NW                                                                                  WARREN              OH 44483‐1658
SEINKNER, JOANNE E        282 CAROLEWOOD CIR NW                                                                                  WARREN              OH 44483‐1658
SEINKNER, JOSEPH M        1493 TURNBERRY DR                                                                                      YOUNGSTOWN          OH 44512‐3841
SEINKNER, JOSEPH M        4272 N FOREST LAKE DR                                                                                  HERNANDO            FL 34442‐2901
SEINO, MICHAEL J          8465 JACLYN ANN DR                                                                                     FLUSHING            MI 48433‐2913
SEIPEL, DAVID K           2515 CLE ELUM DR                                                                                       FORT WAYNE          IN 46809‐2111
SEIPEL, DOROTHY ANN       3813 LAUREL CT                                                                                         AMELIA              OH 45102‐1655
SEIPEL, GEORGE C          8303 BRIDGEWAY CIR APT 3A                                                                              FORT WAYNE          IN 46816‐2335
SEIPEL, HERBERT C         4317 SUSSEX DR                                                                                         ANDERSON            IN 46013‐4460
SEIPEL, MARK R            50587 HILLSIDE DR                                                                                      MACOMB              MI 48044‐1225
SEIPEL, ROBERT G          2520 RR 2                                                                                              PITTSFORD           VT 05763
SEIPEL, SCOTT W           2529 LAUREN LN                                                                                         KOKOMO              IN 46901‐7081
SEIPELT, CHARLES R        878 BRADBURY RD                                                                                        CINCINNATI          OH 45245‐2838
SEIPKE, VICTOR H          2439 MERIDA CIR                                                                                        THE VILLAGES        FL 32162‐0161
SEIPLE, KENNETH W         604 DOWNS ST                                                                                           DEFIANCE            OH 43512‐2929
SEIPLE, ROBERT H          8098 AUGUSTA LN                                                                                        NORTHFIELD          OH 44067
SEIPP MELVIN W (415497)   SIMMONS FIRM                          PO BOX 559                                                       WOOD RIVER           IL 62095‐0559
SEIPP, MELVIN W           SIMMONS FIRM                          PO BOX 559                                                       WOOD RIVER           IL 62095‐0559
SEIPPEL, LYNN L           76 HILLCREST DR                                                                                        SPRINGBORO          OH 45066‐8587
SEIPPEL,LYNN L            76 HILLCREST DR                                                                                        SPRINGBORO          OH 45066‐8587
SEISE, FELICIANO          PO BOX 880784                                                                                          PORT ST LUCIE       FL 34988‐0784
SEISHI KIMURA             4209 SEDGEMOOR LN                                                                                      BLOOMFIELD HILLS    MI 48302‐1648
SEISSENSCHMIDT AG         DAIMLERSTR 11                                                                   PLETTENBERG NW 58840
                                                                                                          GERMANY
SEISSENSCHMIDT AG         PRECISION COMPONENTS                  POSTFACH 1520                             PLETTENBERG D‐58815
                                                                                                          GERMANY
SEISSENSCHMIDT AG         DAIMLERSTRASSE 11                                                               PLETTENBERG 5 58840
                                                                                                          GERMANY
SEITEL MAGDALENA          AM B▄CHENSTOCK 23                                                               82205 GILCHIWG
SEITER JR, ADAM           2725 S NELLIS BLVD UNIT 2011                                                                           LAS VEGAS          NV   89121‐2097
SEITER, ADAM J            15792 JONAS AVE                                                                                        ALLEN PARK         MI   48101‐1753
SEITER, ADAM J.           15792 JONAS AVE                                                                                        ALLEN PARK         MI   48101‐1753
SEITER, CYNTHIA G         11242 HEGEL RD                                                                                         GOODRICH           MI   48438‐9719
SEITER, MICHAEL A         11242 HEGEL RD                                                                                         GOODRICH           MI   48438‐9719
SEITES, MORRIE D          289 W MUSKEGON ST                                                                                      KENT CITY          MI   49330
SEITH, EDGAR K            11830 NORTH LATSON ROAD                                                                                LINDEN             MI   48451‐9604
SEITH, EDGAR K            11830 N LATSON RD                                                                                      LINDEN             MI   48451‐9604
SEITLER, BONNIE A         3484 N CHESTER RD                                                                                      CHARLOTTE          MI   48813‐8813
SEITLER, HOMER A          7117 S ROYSTON RD                                                                                      EATON RAPIDS       MI   48827‐8539
SEITLER, RAYMOND H        6201 US HIGHWAY 41 N LOT 2094                                                                          PALMETTO           FL   34221‐7334
SEITLER, RAYMOND H        6201 US HWY 41N                       LOT 2094                                                         PALMETTO           FL   34221
SEITLER, TERRY L          3484 N CHESTER RD                                                                                      CHARLOTTE          MI   48813‐8813
SEITTERS, HAZEL M         5403 XAVIER PLACE                                                                                      RICHARDSON         TX   75082‐4953
SEITU KENYATTA            PO BOX 690803                                                                                          CHARLOTTE          NC   28227‐7014
SEITZ FREDRICK (654211)   C/O RHOADES JOSEPH J LAW OFFICES OF   1225 NORTH KING STREET SUITE                                     WILMINGTON         DE   19801‐3254
                                                                1200
                          09-50026-mg             Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                      Address1                          Address2                       Address3   Address4             City               State Zip
SEITZ FREDRICK (654211)   RHOADES JOSEPH J LAW OFFICES OF   1225 NORTH KING STREET SUITE                                   WILMINGTON          DE 19801
                                                            1200
SEITZ HANS                OHRENBACH 70                                                                D‐91620 OHRENBACH,
                                                                                                      GERMANY
SEITZ JANICE              6541 RIDGEVIEW DR                                                                                CLARKSTON          MI   48346‐4452
SEITZ JR, FRANK L         41950 SAMUEL ST                                                                                  ELYRIA             OH   44035‐3155
SEITZ JR, RICHARD A       1574 BONNER RD                                                                                   DEERFIELD          OH   44411‐8770
SEITZ LUCILLE J           4250 N HIGHWAY AIA APT 1008                                                                      FORT PIERCE        FL   34949
SEITZ SPECIFIC CHIRO      171 MAIN STREET                                                                                  MILFORD            MA   01757
SEITZ STEVE & NANCY       11450 SW CINDY ST                                                                                BEAVERTON          OR   97008‐5881
SEITZ, ALBERT J           504 MURRAY DR                                                                                    TECUMSEH           MI   49286‐1835
SEITZ, ALICE M.           PO BOX 602                                                                                       WAYNETOWN          IN   47990
SEITZ, ALLEN R            13901 WHITE TAIL RUN                                                                             MILFORD            MI   48380‐3069
SEITZ, AMY R              5629 N QUINCY AVE                                                                                KANSAS CITY        MO   64119‐2971
SEITZ, ANDREW P           1580 MANTON BLVD                                                                                 CANTON             MI   48187‐3493
SEITZ, ANN J              791 FAIRVIEW AVE                                                                                 GALION             OH   44833‐1838
SEITZ, ARTHUR J           6950 SW IVY LN                                                                                   PORTLAND           OR   97225‐1166
SEITZ, BEDA B             1362 YANK ST                                                                                     GOLDEN             CO   80401‐4245
SEITZ, CARL F             6649 YARBOROUGH DR                                                                               SHELBY TOWNSHIP    MI   48316‐3474
SEITZ, CAROL              36270 HWY. 104 S.                                                                                SARDIS             TN   38371‐4006
SEITZ, CHARLENE P         20140 RIDGEWAY CT                                                                                CLINTON TOWNSHIP   MI   48038‐2291
SEITZ, CURT D             5502 N VASSAR RD                                                                                 FLINT              MI   48506‐1234
SEITZ, DANNY C            5508 HUBBARD DR                                                                                  FLINT              MI   48506‐1154
SEITZ, DOWEL L            198 E ELM ST                                                                                     MOUNT GILEAD       OH   43338‐1315
SEITZ, EDWARD             335 S TILDEN ST                                                                                  PONTIAC            MI   48341‐1868
SEITZ, EDWARD A           697 W HURON ST                                                                                   PONTIAC            MI   48341‐1524
SEITZ, ELMADA V           909 N WOODWARD DR                                                                                BALTIMORE          MD   21221‐4752
SEITZ, EVALEAN C          1955 ANGLING RD                                                                                  LYNDONVILLE        NY   14098‐9715
SEITZ, FREDRICK           RHOADES JOSEPH J LAW OFFICES OF   1225 N KING ST STE 1200                                        WILMINGTON         DE   19801‐3254
SEITZ, GREGORY L          4235 CHERYL DR                                                                                   FLINT              MI   48506‐1405
SEITZ, HAROLD F           5 MORRIS ST                                                                                      WEBSTER            MA   01570‐1811
SEITZ, JACK H             6383 LONGLAKE DR                                                                                 PORT ORANGE        FL   32128‐7007
SEITZ, JANICE J           1800 N INDIANA                                                                                   KOKOMO             IN   46901
SEITZ, JANICE K           6541 RIDGEVIEW DR                                                                                CLARKSTON          MI   48346‐4452
SEITZ, JIMMY W            3943 BARRYMORE LN                                                                                DAYTON             OH   45440‐3427
SEITZ, JOHN L             902 PEBBLE LN                                                                                    MURRELLS INLET     SC   29576‐8780
SEITZ, JOSEPH J           1001 SUMMIT DRIVE                                                                                YARDLEY            PA   19067‐5832
SEITZ, JOSEPHINE E        10977 W SHELBY RD                                                                                MEDINA             NY   14103‐9522
SEITZ, KARL B             GM ESPANA GENERAL PERON 36 20     MADRID                                    . SPAIN
SEITZ, KENNETH            563 LIBERTY ST                                                                                   MERIDEN            CT   06450‐4550
SEITZ, KEVIN J            21917 BEECHCREST ST                                                                              DEARBORN HTS       MI   48127‐2428
SEITZ, LUCILLE J          PO BOX 268                                                                                       HIGGINS LAKE       MI   48627
SEITZ, LYNN M             21917 BEECHCREST ST                                                                              DEARBORN HTS       MI   48127‐2428
SEITZ, MARTIN F           11611 N LAKE SIDE DR                                                                             JEROME             MI   49249‐9643
SEITZ, MATTHEW H          APT 310                           13103 HAMPTON CLUB DRIVE                                       N ROYALTON         OH   44133‐7428
SEITZ, MATTHEW HAROLD     APT 310                           13103 HAMPTON CLUB DRIVE                                       N ROYALTON         OH   44133‐7428
SEITZ, MICHAEL A          1321 CREIGHTON AVE                                                                               DAYTON             OH   45420‐1931
SEITZ, NORMAN J           114 ILLINOIS STREET                                                                              JOLIET             IL   60436‐1608
SEITZ, PAMELA A           4083 SAN MARINO ST                                                                               KETTERING          OH   45440‐1315
SEITZ, PATRICIA           6387 SPRINGDALE BLVD                                                                             GRAND BLANC        MI   48439‐8550
SEITZ, RALPH C            1734 N CLEAR LAKE RD                                                                             WEST BRANCH        MI   48661‐9497
SEITZ, RICHARD A          1574 BONNER RD                                                                                   DEERFIELD          OH   44411‐8770
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Name                      Address1                             Address2                       Address3   Address4               City                State Zip
SEITZ, RICHARD J          616 S. GREEN CIR.                                                                                     VENICE               FL 34285‐2912
SEITZ, ROBERT D           2447 W CLEARBROOK LN                                                                                  ANAHEIM              CA 92804‐3303
SEITZ, ROBERT R           1183 BEAR CREEK PIKE                                                                                  COLUMBIA             TN 38401‐6732
SEITZ, RONALD W           36270 HIGHWAY 104 S                                                                                   SARDIS               TN 38371‐4006
SEITZ, RONALD W           1955 ANGLING RD                                                                                       LYNDONVILLE          NY 14098‐9715
SEITZ, RUTH J             29448 WOODWAY DR                                                                                      WICKLIFFE            OH 44092
SEITZ, SUSAN M            4235 CHERYL DR                                                                                        FLINT                MI 48506‐1405
SEITZ, TERRY M            3193 MEADOWLARK PL                                                                                    DAYTON               OH 45431‐3372
SEITZ, THOMAS B           1574 BONNER RD                                                                                        DEERFIELD            OH 44411‐8770
SEITZ, THOMAS M           2140 GILBERT AVE                                                                                      INDIANAPOLIS         IN 46227‐8710
SEITZ, TIM J              4083 SAN MARINO ST                                                                                    KETTERING            OH 45440‐5440
SEITZ, TIMMY J            4083 SAN MARINO ST                                                                                    KETTERING            OH 45440‐1315
SEITZ, TINA L             32845 REDBUD PKWY                                                                                     CHESTERFIELD         MI 48047‐1490
SEITZ, TINA L             32843 REDBUD PKWY                                                                                     CHESTERFIELD         MI 48047‐1490
SEITZ, WALTER C           3549 BEECHGROVE RD                                                                                    MORAINE              OH 45439‐1103
SEITZ, WALTER J           4661 LAKEVIEW‐SAGE LAKE                                                                               HALE                 MI 48739
SEITZ, WILLIAM R          6811 DEADSTREAM RD                                                                                    HONOR                MI 49640‐9500
SEITZER, FRANK L          3625 WEST AVE                                                                                         KNOWLESVILLE         NY 14479‐9195
SEITZER, PAUL L           4037 SMITH ST LOT 7                                                                                   BLOOMSBURG           PA 17815‐3435
SEIVEKING, EILEEN A       5802 DEAVERS DR APT#B                                                                                 INDIANAPOLIS         IN 46216
SEIVERD, DEBORAH J        215 BEECHWOOD RD                                                                                      NORRISTOWN           PA 19401‐1301
SEIVERLING, IDA D         2036 N WALNUT ST APT A2                                                                               BLOOMINGTON          IN 47404‐2431
SEIVERS, DARLENE L        600 N HARDING AVE                                                                                     HARRISON             MI 48625‐7403
SEIVERS, JAMES D          24381 POWERS AVE                                                                                      DEARBORN HTS         MI 48125‐2019
SEIVERT, GEORGE W         16878 10 MILE RD                                                                                      BATTLE CREEK         MI 49014‐9428
SEIVERT, MICHAEL
SEIVERT, MICHAEL J        114 TREMBLE AVE                                                                                       CAMPBELL            OH   44405‐1632
SEIVERT, ROBERT M         410 LINCOLN WAY                                                                                       NILES               OH   44446‐2836
SEIWELL, DRIFA            2789 STENZEL AVE                                                                                      N TONAWANDA         NY   14120‐1007
SEIWELL, ROY E            2789 STENZEL AVE                                                                                      N TONAWANDA         NY   14120‐1007
SEIWERT, DONALD T         4021 HANLEY RD                                                                                        CINCINNATI          OH   45247‐5046
SEIZERT, GERALD G         PO BOX 354                                                                                            HARPERS FERRY       IA   52146
SEJALON, DENISE M         3710 STONERIDGE CT                                                                                    COMMERCE TOWNSHIP   MI   48382‐1085
SEJBA, RICHARD J          738 SKYLAND DR                                                                                        MACEDONIA           OH   44056‐1045
SEJIN CO LTD              SAN 28‐1 SEODONG‐RI YANGNAM‐         MYEON KYEONG‐JU CITY 780‐843              GYEONG‐BUK KOREA
                                                                                                         SOUTH KOREA
SEJIN CO LTD              SAN 28‐1 SEODONG‐RI                                                            YANGNAM‐MYEON
                                                                                                         KYEONGIU‐CITY 780843
                                                                                                         KOREA (REP)
SEJNOWSKI JR, JOSEPH H    PO BOX 54                                                                                             WASHINGTON          MI   48094‐0054
SEJNOWSKI SR, JOSEPH H    4331 ANDREW LN                                                                                        BROOKSVILLE         FL   34601‐8369
SEJNOWSKI, KATHLEEN       4331 ANDREW LN                                                                                        BROOKSVILLE         FL   34601‐8369
SEJOONG OH                5650 STONEHAVEN BLVD                                                                                  OAKLAND TOWNSHIP    MI   48306‐4939
SEJPNER PAUL (491695)     CHRISTOPHER J. HICKEY, ESQ. BRENT    1220 W 6TH ST STE 303                                            CLEVELAND           OH   44113‐1328
                          COONE AND ASSOCIATES
SEK, KATARZYNA            96 FLAGSTAFF DRIVE                                                                                    ROCHESTER           NY   14622‐2381
SEKAS & ASSOCIATES, LLC   ATTENTION: NICHOLAS G. SEKAS, ESQ.   540 SYLVAN AVE                                                   ENGLEWOOD CLIFFS    NJ   07632‐3022
SEKDORIAN, VIRGINIA V     30099 PLEASANT TRL                                                                                    SOUTHFIELD          MI   48076‐5307
SEKEDAT, RON D            20106 BALDWIN CIR                                                                                     HOLLY               MI   48442‐9395
SEKEL, DAVID A            3507 PACIFIC AVE                                                                                      ERIE                PA   16506‐3528
SEKEL, ELIZABETH M        12606 STONE VALLEY LOOP                                                                               FORT MYERS          FL   33913‐6777
SEKEL, GEORGE             84 BLELOCH AVE                                                                                        PEEKSKILL           NY   10566‐5704
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Name                      Address1                              Address2                 Address3   Address4         City           State Zip
SEKELA, PETER             55755 MOUND RD                                                                             SHELBY TWP      MI 48316‐5220
SEKELSKY, EDWARD          1840 HAMPDEN RD                                                                            FLINT           MI 48503‐4635
SEKELSKY, MICHAEL J       3205 BRANDON ST                                                                            FLINT           MI 48503‐6603
SEKELSKY, OLGA D          4396 MEADOWS AVE                                                                           GRAND BLANC     MI 48439
SEKELSKY, RONALD J        5349 WAKEFIELD RD                                                                          GRAND BLANC     MI 48439‐9020
SEKELSKY, RONALD JOHN     5349 WAKEFIELD RD                                                                          GRAND BLANC     MI 48439‐9020
SEKELSKY, THELMA          13438 LINDEN RD                                                                            CLIO            MI 48420‐8248
SEKELSKY, THELMA          13438 N LINDEN RD                                                                          CLIO            MI 48420‐8248
SEKELY INDUSTRIES INC     PO BOX 1016                                                                                SALEM           OH 44460‐9016
SEKELY INDUSTRIES, INC.
SEKELY INDUSTRIES, INC.   ATTN: CORPORATE OFFICER/AUTHORIZED    PO BOX 1016                                          SALEM          OH 44460‐8015
                          AGENT
SEKELY/ROYAL OAK          3312 CROOKS ROAD                                                                           ROYAL OAK      MI   48073
SEKELY/SALEM              PO BOX 1016                                                                                SALEM          OH   44460
SEKERA JR, JOSEPH J       4308 W 189TH ST                                                                            CLEVELAND      OH   44135‐1804
SEKERAK, ANN R            2474 NORTH RD NE                                                                           WARREN         OH   44483‐3055
SEKERAK, ARLINE           1803 LAUREL DR                                                                             TWINSBURG      OH   44087‐1536
SEKERAK, GEORGE A         2597 REEVES RD NE APT 12                                                                   WARREN         OH   44483‐4351
SEKERAK, HILDA M          844 NOTTINGHAM DR                                                                          MEDINA         OH   44256‐3146
SEKERAK, JOHN             1766 LEXINGTON ST. N.W.                                                                    WARREN         OH   44485‐1723
SEKERAK, JOHN P           1060 ROSEWAY AVE SE                                                                        WARREN         OH   44484‐2807
SEKERAK, JOSEPH C         1554 NEWTON FALLS PORTAGE RD                                                               NEWTON FALLS   OH   44444‐9525
SEKERAK, JOSEPH R         2920 LYNTZ TOWNLINE RD SW                                                                  WARREN         OH   44481‐9269
SEKERAK, MARY H           3009 NATCHEZ AVE                                                                           CLEVELAND      OH   44109‐4738
SEKERAK, ROBERT B         8738 BRUCE COLLINS CT                                                                      STERLING HTS   MI   48314‐2400
SEKERAK, ROBERT G         2474 N. ROAD                                                                               WARREN         OH   44483‐4483
SEKERAK, ROBERT G         2474 NORTH RD NE                                                                           WARREN         OH   44483‐3055
SEKERAK, ROBERT P         340 GEORGE ST                                                                              SOUTH AMBOY    NJ   08879‐1740
SEKERAK, STEVE P          1150 HAMMOND DR                       C/O LINDA C. LINDERMAN                               MATTHEWS       NC   28104‐8038
SEKERKA, LOUIS E          12696 W PINE LAKE RD                                                                       SALEM          OH   44460‐9119
SEKETA, EMIL J            1764 ARBUTUS DR                                                                            HUDSON         OH   44236‐3807
SEKEVITCH JR, JOHN F      1071 CLEVELAND AVE S APT 201                                                               SAINT PAUL     MN   55116‐3864
SEKHAR VARANASI           1111 BAKER CT                                                                              TROY           MI   48083‐5450
SEKHAR, AMRITA            4531 CAPE VIEW DR                                                                          UNION CITY     CA   94587‐5916
SEKHAR, SUDHA             24611 SENECA ST                                                                            OAK PARK       MI   48237‐1778
SEKHON MED GRP            1085 GRAY AVE                                                                              YUBA CITY      CA   95991‐3207
SEKHON, PARAMPREET K      9100 COREY CT                                                                              PLYMOUTH       MI   48170‐3888
SEKHON, PARAMPREET KAUR   9100 COREY CT                                                                              PLYMOUTH       MI   48170‐3888
SEKHON, SUKHDEV S         25380 KELLI CT                                                                             TAYLOR         MI   48180‐5071
SEKIKO DONAN              725 E RIDGEWAY AVE                                                                         FLINT          MI   48505‐2916
SEKLES, PATRICIA ANN      3301 WILDWOOD RD                                                                           HOLLY          MI   48442‐8725
SEKMISTRZ, EDWARD J       102 UNAKA CT                                                                               CARY           NC   27519‐6924
SEKMISTRZ, MICHAEL J      5672 SUTTERS LN                                                                            BLOOMFIELD     MI   48301‐1056
SEKO AIR FREIGHT INC      1100 N ARLINGTON HEIGHTS RD STE 600                                                        ITASCA         IL   60143‐3111

SEKOFSKI, NIKOLA          300 HEIM RD                                                                                GETZVILLE      NY   14068‐1380
SEKOL JR, ARTHUR L        20 OLD IVY CIR                                                                             ROCHESTER      NY   14624‐4716
SEKOL, ROBERT W           209 SHERIDAN RD                                                                            POLAND         OH   44514‐1678
SEKON III, JOHN E         PO BOX 1153                                                                                DEER PARK      WA   99006‐1153
SEKORA, LAURA E           128 W QUARRY ST                                                                            NEWTON FALLS   OH   44444‐1559
SEKORA, SHARON L          9542 OVERLOOK CT                                                                           GRAND BLANC    MI   48439‐7320
SEKORSKI, HENRY S         4 QUAIL HOLLOW CT UNIT 5                                                                   TERRYVILLE     CT   06786‐5331
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Name                           Address1                       Address2                 Address3    Address4         City               State Zip
SEKORSKI, WALTER E             815 STAFFORD AVE APT 9B                                                              BRISTOL             CT 06010‐3852
SEKOSAN, ADAM                  2129 MICHAEL DR                                                                      STERLING HTS        MI 48310‐3574
SEKOSKY RAYMOND F (454778)     SIMMONS FIRM                   PO BOX 559                                            WOOD RIVER           IL 62095‐0559
SEKOSKY, RAYMOND F             SIMMONS FIRM                   PO BOX 559                                            WOOD RIVER           IL 62095‐0559
SEKOU, DIALLO                  6126 TITAN RD                                                                        MOUNT MORRIS        MI 48458‐2616
SEKOVICH, GEORGE               4141 DEEP CREEK RD             NO. 73                                                FREMONT             CA 94555
SEKRENES, BETTY                506 N VALE ST                                                                        DURAND              MI 48429‐1320
SEKRENES, CHARLES L            2405 N VASSAR RD                                                                     BURTON              MI 48509‐1383
SEKRENES, RICHARD L            3401 E FRANCES RD                                                                    CLIO                MI 48420‐9761
SEKRENES, RICHARD LELAND       3401 E FRANCES RD                                                                    CLIO                MI 48420‐9761
SEKSCINSKI, FRANK R            100 LENA DR NONAMTHAN MILLS                                                          NEWARK              DE 19711
SEKTERIAN, ARAM                28374 MORTENVIEW                                                                     BROWNSTOWN TWP      MI 48183‐5031
SEKULA JR, ANDREW              43350 OHARA CIR                                                                      STERLING HTS        MI 48314‐3533
SEKULA, DIANE L                101 WAY WEST AIRPARK                                                                 BAINBRIDGE          IN 46105‐9449
SEKULA, HELEN L.               2281 LINDA DR NW                                                                     WARREN              OH 44485‐1704
SEKULA, WILLIAM                224 DENNIS ST                                                                        ELIZABETH           PA 15037‐2510
SEKULICH, LOUIS                1042 WATERMAN RD                                                                     CLAIRTON            PA 15025‐3353
SEKULICH, MARY                 74 MASON AVE                                                                         DELAWARE            OH 43015‐1235
SEKULOVSKA, CVETA              6019 GLEN EAGLES DR                                                                  W BLOOMFIELD        MI 48323‐2211
SEKULOVSKI, DONNA Y            41613 LONDON CT                                                                      NOVI                MI 48377‐2872
SEKULOVSKI, JAGODA             18080 RIDGEVIEW DR                                                                   NORTHVILLE          MI 48168‐8568
SEKUTERSKI, JOHN               3035 OAKHILL DR                                                                      TROY                MI 48084‐1234
SELAH GEORGE                   53 LOCUST AVE                                                                        RED BANK            NJ 07701‐1221
SELAK JR, LOUIS J              324 S CANAL ST                                                                       NEWTON FALLS        OH 44444‐1610
SELAK, CAROL K                 2704 NEWTON TOMLINSON RD.                                                            NEWTON FALLS        OH 44444‐4444
SELAKOVIC, MILAN               6320 N JENSEN ST                                                                     LAS VEGAS           NV 89149‐1341
SELAM LESSANEWORK              741 SEWARD ST RM 103                                                                 DETROIT             MI 48202‐2446
SELAM SANDERS                  37993 LANCASTER DR                                                                   FARMINGTON HILLS    MI 48331‐1755
SELAN, MOLLY M                 21112 LANCASTER ST                                                                   HARPER WOODS        MI 48225‐1614
SELANDER, EFFIE M              110 CHIPPEWA TRL                                                                     PRUDENVILLE         MI 48651‐9733
SELANDER, HELEN L              2025 HAYES AVE                 PROVIDENCE CARE CENTER                                SANDUSKY            OH 44870‐4739
SELANDER, MAURICE E            671 LAKESIDE CIR APT 1001                                                            POMPANO BEACH       FL 33060‐3718
SELANDER, RUTH A               618 30TH AVE                                                                         EAST MOLINE          IL 61244‐3156
SELANDER, STEPHEN              1468 CHESTNUT LN                                                                     ROCHESTER HLS       MI 48309‐1719
SELANDERS, FREDERICK L         2112 LA GRANGE RD                                                                    BEAVERCREEK         OH 45431‐3155
SELANDERS, JIMMY D             4024 WHISPER OAK DR                                                                  EDMOND              OK 73034‐2102
SELANIK, FRANCES               PO BOX 2417                                                                          WARREN              OH 44484‐0417
SELAPACK, IRENE                10990 MILAND RD                                                                      CLARENCE CTR        NY 14032‐9215
SELAS CORPORATION OF AMERICA                                  2985 SPRINGBORO WEST                                                      OH 45439
SELASKY, JOHN R                15725 KINGSLEY ST                                                                    SOUTHGATE           MI 48195‐3012
SELASKY, JOHN ROBERT           15725 KINGSLEY ST                                                                    SOUTHGATE           MI 48195‐3012
SELASKY, ROBERT J              17311 STAMWICH ST                                                                    LIVONIA             MI 48152‐4513
SELATHER HILL                  1193 E HOLBROOK AVE                                                                  FLINT               MI 48505‐2326
SELBEE, LESLIE D               13603 TS AVE E                                                                       SCOTTS              MI 49088‐7759
SELBERG, ALFRED N              8930 TWIN LAKES DR                                                                   WHITE LAKE          MI 48386‐2090
SELBERG, DEBORAH A             5400 MARVIN RD                                                                       CLARKSTON           MI 48346‐3430
SELBERG, DEBORAH ANN           5400 MARVIN RD                                                                       CLARKSTON           MI 48346‐3430
SELBERG, JACK D                1176 LYNSUE LN                                                                       WATERFORD           MI 48327‐2453
SELBERG, JACK D                6501 HONEY HOLLOW RD                                                                 BELLAIRE            MI 49615‐8807
SELBERG, LARRY C               PO BOX 7434                                                                          CHANDLER            AZ 85246‐7434
SELBERG, STEVE A               5400 MARVIN RD                                                                       CLARKSTON           MI 48346‐3430
SELBERG, STEVE P               239 MILL STREET                                                                      ORTONVILLE          MI 48462‐8735
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Name                                  Address1                        Address2                      Address3   Address4         City            State Zip
SELBERG, THOMAS E                     2445 LAKE ANGELUS LN                                                                      LAKE ANGELUS     MI 48326‐1011
SELBERT BRADEN                        3994 W STATE ROAD 128                                                                     FRANKTON         IN 46044‐9305
SELBIG, CAROLYN S                     24 MAYLONG DR                                                                             ROCHESTER        NY 14626‐1217
SELBIG, HELEN                         8700 MONROE RD APT 8                                                                      DURAND           MI 48429‐1073
SELBIG, HELEN                         APT 8                           8700 MONROE ROAD                                          DURAND           MI 48429‐1073
SELBIG, STEVEN H                      608 ABREY AVE                                                                             OWOSSO           MI 48867‐3718
SELBIG, THOMAS R                      6962 S DELANEY RD                                                                         OWOSSO           MI 48867‐9798
SELBIG, TIMOTHY L                     PO BOX 241                                                                                OWOSSO           MI 48867‐0241
SELBITSCHKA KRISTINE                  SELBITSCHKA, KRISTINE           5901 CEDAR LAKE RD S                                      MINNEAPOLIS      MN 55416‐1488
SELBITSCHKA, KRISTINE                 HAUER FARGIONE LOVE LANDY &     5901 CEDAR LAKE RD S                                      MINNEAPOLIS      MN 55416‐1488
                                      MCELLISTREM PA
SELBOLT JOSEPH F (410437) ‐ SEIBOLT   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
JOSEPH F                                                              STREET, SUITE 600
SELBURN, VIOLA M                      17823 SW BRYAN WAY                                                                        BEAVERTON       OR 97007‐6745
SELBY BUSKIRK                         7219 MARTINSBURG RD                                                                       MOUNT VERNON    OH 43050‐9071
SELBY DON                             SELBY, DON                      161 PENROD AVENUE                                         DAYTON          OH 45427
SELBY E BORD
SELBY ELMER D SR (343236)             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                                      STREET, SUITE 600
SELBY HOMER E (408718)                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                                      STREET, SUITE 600
SELBY JEFFREY DEAN                    858 E SHERWOOD HILLS DR                                                                   BLOOMINGTON     IN   47401‐8106
SELBY JOHN                            SELBY, JOHN                     RR 3 BOX 36                                               SHELBYVILLE     IL   62565
SELBY JONES                           20196 KLINGER ST                                                                          DETROIT         MI   48234‐1744
SELBY MATTHEW                         SELBY, MATTHEW                  914 DODWOOD ROAD                                          GLEN BURNIE     MD   21060
SELBY PETERSON                        701 COLUMBIA DR                                                                           FLINT           MI   48503‐5207
SELBY PRICE                           8718 CAMPBELLTON ST                                                                       DOUGLASVILLE    GA   30134‐2201
SELBY RODNEY                          3302 PEAR ST SE                                                                           TUMWATER        WA   98501‐3540
SELBY THOMAS                          707 6TH AVE E                                                                             WILLISTON       ND   58801‐5619
SELBY WILLIAM W (454779)              SIMMONS FIRM                    PO BOX 559                                                WOOD RIVER      IL   62095‐0559
SELBY, ALLEN F                        4747 W RIVER DR NE LOT 21                                                                 COMSTOCK PARK   MI   49321‐8550
SELBY, ALVIN T                        1485 N SALEMBURG HWY                                                                      SALEMBURG       NC   28385‐9080
SELBY, BRUCE A                        3562 HIGHWAY 36 W                                                                         HARTSELLE       AL   35640‐7407
SELBY, CLAUDE N                       02883 23‐1/2ST.                                                                           OTSEGO          MI   49078
SELBY, CUBIE H                        711 W 38TH ST                                                                             ANDERSON        IN   46013‐4025
SELBY, DIANA Y                        229 N BRIDLEWOOD DR                                                                       NEWARK          DE   19702‐3423
SELBY, DON                            161 PENROD AVE                                                                            DAYTON          OH   45417‐8539
SELBY, DOUGLAS M                      14208 NORTH RD                                                                            FENTON          MI   48430‐1395
SELBY, EDNA J                         2207 STATE ROAD 225 E                                                                     BATTLE GROUND   IN   47920‐9438
SELBY, EDWARD P                       1662 JACKSON TRACE RD                                                                     TALLADEGA       AL   35160‐6493
SELBY, ELMER D                        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                                      STREET, SUITE 600
SELBY, HELEN E                        19 N TENTH ST                                                                             MIAMISBURG      OH   45342‐2521
SELBY, HELEN E                        19 N 10TH ST                                                                              MIAMISBURG      OH   45342‐2521
SELBY, HOLLIS L                       3230 RAIBLE AVE                                                                           ANDERSON        IN   46011‐4724
SELBY, HOMER E                        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                                      STREET, SUITE 600
SELBY, JAMES E                        5054 OLYMPIA CT                                                                           INDIANAPOLIS    IN   46228‐2936
SELBY, JAMES EDWARD                   5054 OLYMPIA CT                                                                           INDIANAPOLIS    IN   46228‐2936
SELBY, JAMES L                        4980 JEFFERSON                                                                            SMITHVILLE      TN   37166‐7166
SELBY, JOHN                           RR 3 BOX 36                                                                               SHELBYVILLE     IL   62565‐9410
SELBY, JOHN R                         MCCURDY & MCCURDY LLP           44 MONTGOMERY ST STE 800                                  SAN FRANCISCO   CA   94104‐4620
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Name                                  Address1                        Address2            Address3         Address4         City           State Zip
SELBY, JOHNNIE L                      1122 COUNTY ROAD 311                                                                  GLEN ROSE       TX 76043‐5731
SELBY, KENNETH D                      641 NETTLES BLVD                                                                      JENSEN BEACH    FL 34957‐3346
SELBY, MARY B                         803 BAY AREA BLVD                                                                     LEAGUE CITY     TX 77573‐3157
SELBY, MATTHEW                        914 DOGWOOD RD                                                                        GLEN BURNIE     MD 21060‐8414
SELBY, NAOMI                          DURST LAW FIRM PC               319 BROADWAY                                          NEW YORK        NY 10007
SELBY, NORMA H                        4543 MCINTOSH LN                                                                      SARASOTA        FL 34232‐5309
SELBY, PETER E                        4201 PYRMONT RD                                                                       LEWISBURG       OH 45338‐8729
SELBY, RAYMOND B                      373 COUNTY ROAD 33980 N                                                               POWDERLY        TX 75473‐4901
SELBY, RETHA                          3230 RAIBLE AVE                                                                       ANDERSON        IN 46011‐4724
SELBY, RICHARD D                      1889 DEER VIEW CT                                                                     HOWELL          MI 48843‐8091
SELBY, RICHARD DALE                   1889 DEER VIEW CT                                                                     HOWELL          MI 48843‐8091
SELBY, RICHARD L                      12987 OXBRIDGE PL                                                                     FISHERS         IN 46037‐7291
SELBY, ROBERT E                       288 VADEN ST                                                                          MONTEREY        TN 38574‐1253
SELBY, RUBEN S                        10 MELODIC DR                                                                         NEWARK          DE 19713‐1910
SELBY, SHIRLEY I                      16154 RAYGAERT                                                                        CLINTON TWP     MI 48038‐4050
SELBY, THOMAS E                       733 FOOTHILL BLVD APT E                                                               MONROVIA        CA 91016
SELBY, WALTER T                       1677 S STRINGTOWN RD                                                                  COVINGTON       IN 47932‐8013
SELBY, WANDA L                        PO BOX 621                                                                            PAYSON          UT 84651‐0621
SELBY, WILLIAM W                      SIMMONS FIRM                    PO BOX 559                                            WOOD RIVER       IL 62095‐0559
SELBY, YVONNE P                       5626 ORLENA DR                                                                        ANDERSON        IN 46013‐3032
SELCHAN, DIANA E                      101 MIKAYLA LANE                                                                      SAINT HELENS    OR 97051‐2779
SELDA SMITH                           PO BOX 534                                                                            TEMPERANCE      MI 48182‐0534
SELDEN, GARY R                        482 RIVERSIDE DR                                                                      INDEPENDENCE    VA 24348‐3750
SELDEN, GERALD G                      12444 S GRANGE RD                                                                     EAGLE           MI 48822‐9692
SELDEN, MARVIN G                      5222 BALDWIN RD                                                                       SWARTZ CREEK    MI 48473‐9175
SELDERS, C O                          261 N MICHELLE RD                                                                     PALM SPRINGS    CA 92262‐6814
SELDERS, JOHNNY J                     9537 S CALUMET AVE                                                                    CHICAGO          IL 60628
SELDOM BLUES / SOUTHERN HOSPITALITY   243 W CONGRESS ST STE 1060                                                            DETROIT         MI 48226‐3217
GROUP
SELDON BURNS                          258 GRANDVIEW DR                                                                      LEBANON        OH   45036‐2406
SELDON CRAFT                          105 NEWTON ST                                                                         NORWALK        OH   44857‐1245
SELDON CROW                           444 BIRCHWOOD DR                                                                      CLARKESVILLE   GA   30523‐4804
SELDON JONES                          6918 BOSK CT                                                                          INDIANAPOLIS   IN   46237‐4443
SELDON LEDFORD                        886 WILSHIRE LN                                                                       CRETE          IL   60417‐1974
SELDON LEDFORD                        886 WILSHIRE LANE                                                                     CRETE          IL   60417‐1974
SELDON PALMER JR                      1332 DELIQUIA DR                                                                      CINCINNATI     OH   45230‐1351
SELDON RECTOR                         28 CHAMBERS DR                                                                        WEAVERVILLE    NC   28787‐9602
SELDON WRIGHT                         203 W COLUMBIA AVE                                                                    PONTIAC        MI   48340‐1815
SELDON, ANGELA D                      2354 OLT ROAD                                                                         DAYTON         OH   45418‐1752
SELDON, DOROTHY                       804 LAUDERDALE RD                                                                     BLYTHEVILLE    AR   72315‐2216
SELDON, FELIX L                       28315 W KALONG CIR                                                                    SOUTHFIELD     MI   48034‐5658
SELDON, HAROLD                        1685 BREWER BLVD SW                                                                   ATLANTA        GA   30310‐4623
SELDON, JANET LEE                     1640 FAIRWOOD DR APT B22                                                              WESTLAND       MI   48185‐3390
SELDON, KHADIJAH H                    420 WEST PARKWOOD AV APT 1                                                            DAYTON         OH   45405‐5405
SELDON, LORENA A                      825 W 4TH ST                                                                          ROCHESTER      MI   48307‐1820
SELDON, MARIE A                       1622 E SYCAMORE ST                                                                    KOKOMO         IN   46901‐4997
SELDON, MICHAEL A                     31325 MOUND RD                                                                        WARREN         MI   48092
SELDON, MICHAEL ANDRE                 31325 MOUND RD                                                                        WARREN         MI   48092
SELDON, THEODORE A                    45631 BROWNELL ST               APT 10                                                UTICA          MI   48317
SELDON, THEODORE A                    45631 BROWNELL ST APT 10                                                              UTICA          MI   48317‐5254
SELEANA M MAHDEE                      3802 HUDSON AVE                                                                       YOUNGSTOWN     OH   44511
SELECKI, RANDALL E                    3789 KNEPPER RD                                                                       LAMBERTVILLE   MI   48144‐9783
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Name                                Address1                           Address2              Address3                   Address4                   City               State Zip
SELECKI, RANDALL EARL               3789 KNEPPER RD                                                                                                LAMBERTVILLE        MI 48144‐9783
SELECT ARTISTS ASSOCIATES LLC       4300 N MILLER RD STE 150                                                                                       SCOTTSDALE          AZ 85251‐3621
SELECT AUTO CARE INC.               2980 WINTON RD                                                                                                 WATERFORD           MI 48328‐1776
SELECT AUTO SERVICE                 1395 LAUZON RD                                                                      WINDSOR ON N8T 1C2
                                                                                                                        CANADA
SELECT AUTO SERVICE                 85 NIAGARA ST                                                                       ST CATHARINES ON L2R 4L1
                                                                                                                        CANADA
SELECT AUTO SERVICE                 455 VERSAILLES RD                                                                                              FRANKFORT          KY   40601‐3831
SELECT BUILD                                                           4863 E INGRAM ST                                                                               AZ   85205
SELECT CARRIER GROUP                15350 VICKERY DR                                                                                               HOUSTON            TX   77032‐2530
SELECT DESIGN                       208 FLYNN AVE                                                                                                  BURLINGTON         VT   05401
SELECT EQUIPMENT CO INC             ATTN: DOUG BRAY                    101 W NORTH ST                                                              KOKOMO             IN   46901‐2847
SELECT INDUSTRIES CORP              PO BOX 887                                                                                                     DAYTON             OH   45401‐0887
SELECT INDUSTRIES CORP.             GREGORY FULLER                     PO BOX 887                                                                  DAYTON             OH   45401‐0887
SELECT INTERNATIONAL CORP           PO BOX 887                                                                                                     DAYTON             OH   45401‐0887
SELECT INTERNATIONAL CORP           GREG RANK                          PO BOX 887                                                                  DAYTON             OH   45401‐0887
SELECT INTERNATIONAL CORP           GREG RANK                          60 HEID AVE                                                                 NORTH AURORA       IL   60542
SELECT INTERNATIONAL CORP           GREGORY FULLER                     PO BOX 887                                                                  DAYTON             OH   45401‐0887
SELECT INTERNATIONAL CORP           240 DETRICK ST                                                                                                 DAYTON             OH   45404
SELECT INTERNATIONAL CORPORATION    PO BOX 711809                                                                                                  COLUMBUS           OH   43271‐1809

SELECT MOTORS INC                   1212 W SHERIDAN AVE                                                                                            SHENANDOAH         IA   51601‐1554
SELECT MOTORS INCORPORATED          1212 W SHERIDAN AVE                                                                                            SHENANDOAH         IA   51601‐1554
SELECT MOTORS INCORPORATED          DAVID PONTON                       1212 W SHERIDAN AVE                                                         SHENANDOAH         IA   51601‐1554
SELECT ONE TRANSPORT                25005 BREST ROAD                                                                                               TAYLOR             MI   48180
SELECT PHYSICAL THER                PO BOX 223102                                                                                                  PITTSBURGH         PA   15251‐2102
SELECT SERVICE INC                  PO BOX 4527                                                                                                    EIGHTY FOUR        PA   15330‐0527
SELECT TIRE & AUTO                  6514 JOLIET RD                                                                                                 COUNTRYSIDE        IL   60525‐4649
SELECT TOOL & DIE CORP              PO BOX 887                                                                                                     DAYTON             OH   45401‐0887
SELECT TOOL & DIE CORP              GREG RANK                          PO BOX 887                                                                  DAYTON             OH   45401‐0887
SELECT TOOL & DIE CORP              GREG RANK                          60 HEID AVE                                                                 NORTH AURORA       IL   60542
SELECT TOOL/DAYTON                  PO BOX 887                                                                                                     DAYTON             OH   45401‐0887
SELECT TOWING                       52 WASHINGTON ST                                                                                               WEST ORANGE        NJ   07052‐5534
SELECT TRANSPORTATION BROKERS INC   1A OAKLANDS AVE STE 201                                                             TORONTO ON M4V 2E4
                                                                                                                        CANADA
SELECTIVE INDUSTRIES INC            6100 KING RD                                                                                                   MARINE CITY        MI 48039‐1401
SELECTIVE INDUSTRIES INC            PAM USREY X211                     6198 KING RD                                                                MARINE CITY        MI 48039‐1401
SELECTIVE INDUSTRIES INC            PAM USREY X211                     6198 KING RD.                                                               CLEVELAND          OH
SELECTIVE INDUSTRIES INC.           PAM USREY X211                     6198 KING RD                                                                MARINE CITY        MI 48039‐1401
SELECTIVE INDUSTRIES INC.           PAM USREY X211                     6198 KING RD.                                                               CLEVELAND          OH
SELECTIVE INSURANCE CARRIER
SELECTIVE TECHNOLOGY                PO BOX 610870                                                                                                  DFW AIRPORT        TX   75261‐0870
SELECTIVE TECHNOLOGY INC            BRIAN JORDAN X226                  PO BOX 610870         1100 N 27TH AVE BLDG 200                              ROSEVILLE          MI   48066
SELECTIVE TECHNOLOGY INC.           BRIAN JORDAN X226                  PO BOX 610870         1100 N 27TH AVE BLDG 200                              ROSEVILLE          MI   48066
SELECTIVE TRANSPORTATION CORP       516 SYLVAN AVE                                                                                                 ENGLEWOOD CLIFFS   NJ   07632‐3022
SELECTIVE TRUCKING INC SLVC         PO BOX 465                                                                                                     WAYLAND            MI   49348
SELECTOR SPLINE PRODUCTS INC        7665 NINITEEN MILE RD                                                                                          STERLING HEIGHTS   MI   48314
SELECTRONS/WATERBURY                137 MATTATUCK HEIGHTS RD           P.O. BOX 115                                                                WATERBURY          CT   06705‐3832
SELEDONIO RODRIGUEZ                 1138 TUPPER LAKE ST                                                                                            LAKE ODESSA        MI   48849‐1162
SELEE CORP                          700 SHEPHERD ST                                                                                                HENDERSONVILLE     NC   28792‐6472
SELEE CORP/HENDRSNVL                700 SHEPHERD ST                                                                                                HENDERSONVILLE     NC   28792‐6472
SELEE CORPORATION                   700 SHEPHERD ST                                                                                                HENDERSONVILLE     NC   28792‐6472
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Name                             Address1                               Address2                       Address3   Address4         City                  State Zip
SELEMA CRAIG                     1659 BURLINGAME ST                                                                                DETROIT                MI 48206‐1305
SELEN WALTER J                   1319 WAGON WHEEL LN                                                                               ROCHESTER HILLS        MI 48306‐4251
SELENA CALDWELL                  424 WALTON AVE                                                                                    DAYTON                 OH 45417‐1672
SELENA ELZY                      PO BOX 95273                                                                                      OKLAHOMA CITY          OK 73143‐5273
SELENA GIVENS                    2119 WEST 135TH PLACE                  APT # 1S                                                   BLUE ISLAND             IL 60406
SELENA HANLON                    PO BOX 55                                                                                         BAINBRIDGE             IN 46105‐0055
SELENA J ELZY                    PO BOX 95273                                                                                      OKLAHOMA CITY          OK 73143
SELENA M SHELTON                 915 HOLLYWOOD AVE                                                                                 GROSSE POINTE WOODS    MI 48236‐1369
SELENA ONEAL 'ESTATE OF'         2203 FESTIVAL LANE                                                                                MONTGOMERY             AL 36117‐1742
SELENA P CALDWELL                424 WALTON AVE                                                                                    DAYTON                 OH 45417‐1672
SELENA PRUITT                    635 LENER AVE SW                                                                                  WARREN                 OH 44485‐3373
SELENA SHAW                      2409 ANNGLEN DR                                                                                   FORT WORTH             TX 76119‐2714
SELENA SHELTON                   915 HOLLYWOOD AVE                                                                                 GROSSE POINTE          MI 48236‐1369
SELENA SMOKE                     423 SAINT REGIS RD                                                                                HOGANSBURG             NY 13655‐3177
SELENE C HANCOCK                 PO BOX 27916                                                                                      DETROIT                MI 48227‐0916
SELENE JOHNSON                   3444 RANGELEY ST APT 4                                                                            FLINT                  MI 48503‐2965
SELENE L BROWN                   416 HOLFORD AVE.                                                                                  NILES                  OH 44446
SELENO, F                        19921 SHADY LANE AVE                                                                              SAINT CLAIR SHORES     MI 48080‐4210
SELEP, IRENE F                   100 LARRY LN                                                                                      CORTLAND               OH 44410‐9234
SELESKI, JOSEPH E                205 SPRING LANE                                                                                   BRANSON                MO 65616‐7318
SELESKI, JOSEPH E                1400 WOODLAND AVE                                                                                 PLAINSFIELD            NJ 07060
SELESKY, LORRICE H               18 NAVESINK DRIVE                                                                                 MONMOUTH BCH           NJ 07750‐1134
SELESKY, LORRICE H               8 JESSICA PLACE APT1                                                                              MONMOUTH BEACH         NJ 07750‐1407
SELESKY, STANLEY B               10330 CLARK RD                                                                                    DAVISON                MI 48423‐8507
SELESTINA THOMAS                 21317 CENTENNIAL ST                                                                               SAINT CLAIR SHORES     MI 48081‐3111
SELESTOW, CHARLES                4600 FENWICK DR                                                                                   WARREN                 MI 48092‐3075
SELESTOW, CLAYTON                39510 DEQUINDRE RD                                                                                STERLING HTS           MI 48310‐1706
SELETA CORBIN                    243 DORER AVE                                                                                     HILLSIDE               NJ 07205‐1542
SELETSKY ALEXANDER B             200 E 94TH ST                          APT 324                                                    NEW YORK               NY 10128‐2230
SELETYN, LOTTIE                  7374 ASHTON                                                                                       DETROIT                MI 48228‐3449
SELETYN, LOTTIE                  7374 ASHTON AVE                                                                                   DETROIT                MI 48228‐3449
SELEVER, TED T                   5544 SAINT ELIZABETH COURT                                                                        CLARKSTON              MI 48348‐4835
SELEWONIK, SHARON N.             5936 CREEKSIDE DR                                                                                 TROY                   MI 48085‐6120
SELEWONIUK, JAN                  581 SW SAINT JOHNS BAY                                                                            PORT SAINT LUCIE       FL 34986‐3410
SELEWSKI, DAVID A                3391 RIVERVIEW CT                                                                                 WAYNE                  MI 48184‐1024
SELEWSKI, JOSEPH J               13814 STRATHMORE DR                                                                               SHELBY TWP             MI 48315‐5444
SELEWSKI, RAYMOND J              26951 ROUGE RIVER DR                                                                              DEARBORN HTS           MI 48127‐1672
SELEY MARSHALL                   4501 WINIFRED ST                                                                                  WAYNE                  MI 48184‐2207
SELEY, JOHN W                    2600 BERNE RD                                                                                     ELKTON                 MI 48731‐9790
SELEY, JUANITA L                 1704 PARK AVE                                                                                     ALMAGORDO              NM 88310‐3957
SELF AUTOMOTIVE INC JOE          COURTESY OLDSMOBILE                    402 OFFICE PLZ STE B                                       TALLAHASSEE            FL 32301‐8303
SELF AUTOMOTIVE INC JOE          402 OFFICE PLZ STE B                                                                              TALLAHASSEE            FL 32301‐8303
SELF BARBARA                     ICO THE LANIER LAW FIRM PC             6810 FM 1960 WEST                                          HOUSTON                TX 77069
SELF BARBARA (665269)            LANIER LAW FIRM                        6810 FM 1960 WEST SUITE 1550                               HOUSTON                TX 77069
SELF BILLIE W (453176)           WEITZ & LUXENBERG P.C.                 180 MAIDEN LANE                                            NEW YORK               NY 10038
SELF BOB E (415498)              SIMMONS FIRM                           PO BOX 559                                                 WOOD RIVER              IL 62095‐0559
SELF CARL (429786) ‐ SELF CARL   GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                NORFOLK                VA 23510
                                                                        STREET, SUITE 600
SELF CHEVROLET INC JOE           1600 EPIC CENTER, 301 N. MAIN STREET                                                              WICHITA               KS   67202
SELF CHRISTOPHER                 SELF, CHRISTOPHER                      2900 HIGHWAY 280 S STE 200                                 BIRMINGHAM            AL   35223‐2469
SELF DONALD E                    DBA SELF SERVICE                       4051 PRINCETON RIDGE DR                                    WILDWOOD              MO   63025‐2359
SELF DONALD E DBA                SELF SERVICES                          476 LYNWOOD FOREST DR                                      MANCHESTER            MO   63021‐5577
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Name                               Address1                          Address2                       Address3   Address4         City            State Zip
SELF ELVON                         SELF, ELVON                       103 WRIGHT RD                                              E. GLENOMA       WA 98336
SELF INSURANCE PLANS               2265 WATTS AVE, STE 1                                                                        SACRAMENTO       CA 95825
SELF INSURERS SECURITY FUND        FILE                              PO BOX 60000                                               SAN FRANCISCO    CA 94160‐0001
SELF JAMES & DAE SR                1143 JACKSON DR                                                                              BESSEMER         AL 35023‐5507
SELF JR, HUGH V                    141 CHESTNUT ST N                                                                            BOAZ             AL 35956‐5030
SELF PAUL L (ESTATE OF) (656229)   LANIER LAW FIRM                   6810 FM 1960 WEST SUITE 1550                               HOUSTON          TX 77069
SELF ROMAN                         SELF, LYNN                        55 PUBLIC SQ STE 650                                       CLEVELAND        OH 44113‐1909
SELF ROMAN                         SELF, ROMAN                       55 PUBLIC SQ STE 650                                       CLEVELAND        OH 44113‐1909
SELF SERVE LUMBER CO               ATTN: JEFF OSMAN                  G5496 N SAGINAW ST                                         FLINT            MI 48505‐1596
SELF VIRGIL W                      SELF, VIRGIL W
SELF, ALOHA G                      3326 N 13TH ST                                                                               ROGERS          AR   72756‐6827
SELF, ALOHA G                      3326 NORTH 13TH STREET                                                                       ROGERS          AR   72756
SELF, BARBARA                      LANIER LAW FIRM                   6810 FM 1960 WEST SUITE 1550                               HOUSTON         TX   77069
SELF, BARNEY R                     75 GREEN OAK CIR                                                                             NASH            TX   75569‐2200
SELF, BEVERLY B                    PO BOX 52                                                                                    ORESTES         IN   46063‐0052
SELF, BILLIE W                     WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                            NEW YORK        NY   10038
SELF, BOB E                        SIMMONS FIRM                      PO BOX 559                                                 WOOD RIVER      IL   62095‐0559
SELF, BRAXTON D                    9993 BRADFORD & TRAFFORD RD                                                                  WARRIOR         AL   35180
SELF, CARL                         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510‐2212
                                                                     STREET, SUITE 600
SELF, CAROLYN                      2027 PERKINS ST                                                                              SAGINAW         MI 48601‐2071
SELF, CHARLES A                    2423 RAY RD                                                                                  FENTON          MI 48430‐9761
SELF, CHRISTOPHER                  CROSS POOLE GOLDASICH & FISCHER   2900 HIGHWAY 280 S STE 200                                 BIRMINGHAM      AL 35223‐2469
SELF, CHRISTOPHER
SELF, CONNIE M                     2209 SKYLARK DR                                                                              ARLINGTON       TX   76010‐8111
SELF, CYNTHIA N                    8077 LONGMEADOW DR                                                                           TALLAHASSEE     FL   32312‐6793
SELF, DANNY J                      7872 HICKORY RIDGE LN                                                                        MOORESVILLE     IN   46158‐8567
SELF, DELORIS A                    1154 E FOSS AVE                                                                              FLINT           MI   48505‐2325
SELF, DELORIS A                    1154 FOSS AVE                                                                                FLINT           MI   48505‐2325
SELF, DONALD W                     2886 MOUNT OLIVET RD                                                                         BOWLING GREEN   KY   42101‐0756
SELF, EDITH E                      5300 MIRAGE CIRCLE                                                                           DIMONDALE       MI   48821‐9303
SELF, EDITH L                      4977 COUNTY RD 1669                                                                          CULLMAN         AL   35058
SELF, ELVON                        103 WRIGHT RD E                                                                              GLENOMA         WA   98336‐9709
SELF, EMORY L                      6752 POLEY CREEK DR W                                                                        LAKELAND        FL   33811‐2420
SELF, ESTER M                      861 KNOWEL ST                                                                                MOBILE          AL   36608
SELF, FREDDIE L                    2209 SKYLARK DR                                                                              ARLINGTON       TX   76010‐8111
SELF, FREDDIE N                    12201 HICKORY CREEK BLVD                                                                     OKLAHOMA CITY   OK   73170‐4523
SELF, GAYNELLE                     RR 2 BOX 1537A                                                                               WAYNE           WV   25570‐9739
SELF, GLORIA                       81 E NEW YORK AVE                                                                            PONTIAC         MI   48340‐1248
SELF, GORMAN H                     1705 LINDBERG RD                                                                             ANDERSON        IN   46012‐2709
SELF, GREGG S                      6647 SAWMILL RD                                                                              HARRISON        MI   48625‐9071
SELF, JAMES C                      4251 E CAMP DR                                                                               GUTHRIE         OK   73044‐7019
SELF, JEFF                         PO BOX 84                                                                                    SOUTH MILLS     NC   27976‐0084
SELF, JERRY M                      644 TIPPY DAM RD                                                                             WELLSTON        MI   49689‐9527
SELF, JERRY M                      644 N TIPPY DAM RD                                                                           WELSTON         MI   49689
SELF, JERRY MATTHEW                644 TIPPY DAM ROAD                                                                           WELLSTON        MI   49689‐9527
SELF, JERRY W                      6289 COUNTY ROAD 436                                                                         WATER VALLEY    MS   38965‐3355
SELF, JOHN L                       3679 GOLDENROD AVE                                                                           RIALTO          CA   92377‐3410
SELF, JOHN R                       6524 OCALA CT                                                                                CENTERVILLE     OH   45459‐1941
SELF, JOHN R                       6524 OCALA COURT                                                                             CENTERVILLE     OH   45459‐1941
SELF, KENNETH D                    29300 SE RYAN RD                                                                             BLUE SPRINGS    MO   64014‐4316
SELF, LAWANA J                     PO BOX 805                                                                                   KINGSTON        OK   73439‐0805
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Name                        Address1                             Address2                 Address3         Address4             City                State Zip
SELF, LELA L                1705 LINDBERG RD                                                                                    ANDERSON             IN 46012‐2709
SELF, LOUIS H               1904 SANDRINGHAM DR                                                                                 TOLEDO               OH 43615‐3934
SELF, LOUIS HENRY           1904 SANDRINGHAM DR                                                                                 TOLEDO               OH 43615‐3934
SELF, LYNN                  KAHN & ASSOCIATES                    55 PUBLIC SQ STE 650                                           CLEVELAND            OH 44113‐1909
SELF, MARTHA Y              G3369 HAMMERBERG ROAD                                                                               FLINT                MI 48507
SELF, MATTHEW A             LOWR                                 4639 WEBBERDALE DRIVE                                          HOLLY                MI 48442‐8930
SELF, MATTHEW A             4639 WEBBERDALE RD                                                                                  HOLLY                MI 48244
SELF, MILDRED               6887 WREN AVE NW                                                                                    NORTH CANTON         OH 44720‐7048
SELF, MITCHELL P            889 PORTLAND AVE                                                                                    COLLINSVILLE          IL 62234‐3632
SELF, PAUL R                203 JULIA ST                                                                                        COLLINSVILLE          IL 62234‐3618
SELF, PAUL R                4543 EDGE CREEK LN                                                                                  ARLINGTON            TX 76017‐1590
SELF, RACHEL T              191 S MORNINGSIDE DR                                                                                CARTERSVILLE         GA 30121‐3635
SELF, RACHEL T              191 MORNINGSIDE DR                                                                                  CARTERSVILLE         GA 30121
SELF, RICKY J               2721 SE 91ST ST                                                                                     MOORE                OK 73160‐9158
SELF, RICKY L               8919 BLANCHARD FURRH RD                                                                             SHREVEPORT           LA 71107‐8324
SELF, ROMAN                 KAHN & ASSOCIATES                    55 PUBLIC SQ STE 650                                           CLEVELAND            OH 44113‐1909
SELF, SAMMIE L              2286 KESSLER BLVD NORTH DR                                                                          INDIANAPOLIS         IN 46222‐2353
SELF, SHIRLEY F             101 ELLICOT BURN                                                                                    CLINTON              MS 39056‐6217
SELF, THELMA C              2500 MANN RD LOT 120                                                                                CLARKSTON            MI 48346‐4248
SELF, THELMA C              2500 MANN RD                         LOT 120                                                        CLARKSTON            MI 48346‐4248
SELF, TONI                  9516 S SHIELDS BLVD APT 251                                                                         OKLAHOMA CITY        OK 73150‐3134
SELF‐INSURANCE PLANS        CA DEPT OF INDSTRL RELATIONS         2265 WATT AVE STE 1                                            SACRAMENTO           CA 95825
SELFE, FRANCES              4549 ADELAIDE                                                                                       ST LOUIS             MO 63115‐3032
SELFE, FRANCES              4549 ADELAIDE AVE                                                                                   SAINT LOUIS          MO 63115‐3032
SELFORS, DAVID H            3044 W GRAND BLVD                    C/O LIVERPOOL RM 3‐220                                         DETROIT              MI 48202‐3009
SELFRIDGE PLATING INC       42081 IRWIN DR                                                                                      HARRISON TOWNSHIP    MI 48045‐1337
SELFRIDGE, ALDEN E          817 ALGER AVE                                                                                       OWOSSO               MI 48867‐4605
SELFRIDGE, GARY L           4248 NORRIS RD                                                                                      BELLVILLE            OH 44813‐9141
SELFRIDGE, LARRY R          10936 STEVENS LN                                                                                    MECOSTA              MI 49332‐9504
SELGA, DEBRA A              26W285 SAINT CHARLES RD                                                                             CAROL STREAM          IL 60188
SELGADO, LEONARDO           31023 PARKWOOD ST                                                                                   WESTLAND             MI 48186‐9523
SELHORST, DONALD L          16825 ROAD M                                                                                        OTTAWA               OH 45875‐9458
SELHORST, ESTHER M          4838 RD 7 RT 2                                                                                      LEIPSIC              OH 45856
SELIANA LTD                 C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT      2 RAFFLES LINK   MARINA BAYFRONT
                            LIMITED                                                                        SINGAPORE 039392
SELICH, DENNIS              2995 OBERLIN RD                                                                                     GLADWIN             MI   48624‐8965
SELICH, DIANE E             822 W HURON AVE                                                                                     VASSAR              MI   48768‐1129
SELICH, EMIL                5385 N WALDO RD                                                                                     MIDLAND             MI   48642‐9713
SELICH, WILLIAM             163 RICHMOND RD                                                                                     RICHMOND HEIGHTS    OH   44143‐1240
SELIDOS FRANKLIN            718 BLACK AVE                                                                                       FLINT               MI   48505‐3528
SELIG CHEMICAL INDUSTRIES   845 SELIG DR SW                                                                                     ATLANTA             GA   30336‐2245
SELIG JR, GERALD A          1345 SWEETBRIAR LN                                                                                  BEL AIR             MD   21014‐2227
SELIG, FRANKLIN L           323 N LAYMAN AVE                                                                                    INDIANAPOLIS        IN   46219‐5805
SELIG, JACQUELINE M         2164 LAKEWOOD WAY                                                                                   PINCKNEY            MI   48169‐9551
SELIG, JAMES R              3422 PRAIRIE AVE                                                                                    BROOKFIELD          IL   60513‐1411
SELIG, JOYCE                12 N ARCTURAS AVE                                                                                   CLEARWATER          FL   33765‐3001
SELIG, PEGGY L              2710 SHADES CREST RD                                                                                BIRMINGHAM          AL   35216‐1019
SELIG, RUTH L               3313 PARKTOWNE RD                                                                                   BALTIMORE           MD   21234‐4839
SELIGA, EDWARD M            120 BROADLAWN DR                                                                                    ELIZABETH           PA   15037‐2045
SELIGA, HELEN               120 BROADLAWN DR                                                                                    ELIZABETH           PA   15037‐2045
SELIGER, BURTON G           248 FRENCH RD                                                                                       DEPEW               NY   14043‐2260
SELIGER, RONALD B           77 PROSPECT AVE                                                                                     BUFFALO             NY   14201‐2357
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Name                      Address1                         Address2                      Address3   Address4         City              State Zip
SELIKA MONTGOMERY         28 MATHIS AVE                                                                              BRIGHTON           TN 38011‐3629
SELIM BALKANLI
SELIMA, FLORENCE R        442 SUMMER ST                    C/O ROBERT J POWERS                                       WOONSOCKET        RI 02895‐1161
SELIMOS JOHN D (347551)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                           STREET, SUITE 600
SELIMOS, JOHN D           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                           STREET, SUITE 600
SELIMOS, RICHARD J        4006 NW 72ND AVE                                                                           CORAL SPRINGS     FL   33065‐2133
SELIN, JAMES B            308 W ROLLIN ST                                                                            EDGERTON          WI   53534‐1120
SELIN, RODNEY K           810 DICKINSON ST                                                                           EDGERTON          WI   53534‐1515
SELINA BOCKBRADER         156 MONTICELLO DR                                                                          INDIANAPOLIS      IN   46217‐3245
SELINA DASHIELL           2912 COHASSETT LN                                                                          DECATUR           GA   30034‐2811
SELINA MAINES             113 PRENTICE STREET                                                                        LOCKPORT          NY   14094‐2121
SELINA N BREWTON          40365 PLYMOUTH RD APT 203                                                                  PLYMOUTH          MI   48170‐4224
SELINA PARKER             15318 PREST ST                                                                             DETROIT           MI   48227‐2321
SELINA PATTERSON          216 DRESDEN AVE                                                                            PONTIAC           MI   48340‐2519
SELINA R WRIGHT           1126 E YALE AVE                                                                            FLINT             MI   48505‐1519
SELINA SCHULTZ            459 EAST OAK ORCHARD STREET, A                                                             MEDINA            NY   14103
SELINA SMITH              PO BOX 214751                                                                              AUBURN HILLS      MI   48321‐4751
SELINA T LOVE             3069 SOUTHDALE DR APT 2                                                                    DAYTON            OH   45409‐1117
SELINAS LILLIAN           1433 E 111TH ST                                                                            CLEVELAND         OH   44106‐1317
SELINAS, LILLIAN D        1433 E 111TH ST                                                                            CLEVELAND         OH   44106‐1317
SELINAS, MARY C           38150 TAMARAC BLVD #114                                                                    WILLOUGHBY        OH   44094
SELING, GEORGE D          9110 PONTIAC LAKE RD                                                                       WHITE LAKE        MI   48386‐1630
SELING, MARILYNN          23261 FLORY ROAD                                                                           DEFIANCE          OH   43512‐9626
SELINGER STEPHEN          1217 GREENTREE LN                                                                          PENN VALLEY       PA   19072‐1219
SELINGER, DAWN M          1907 MANITOU RD                                                                            SPENCERPORT       NY   14559
SELINSKY, ANN             13665 NEW MILLPOND RD                                                                      BIG RAPIDS        MI   49307
SELK, BERNICE             24712 SPRING LN                                                                            SELFRIDGE ANGB    MI   48045‐2315
SELKE JR, LEROY F         171 S OWL HOLW                                                                             ROCKVILLE         IN   47872‐8049
SELKE, DOUGLAS L          1901 CLEAR POINT CT                                                                        ROCHESTER HILLS   MI   48306‐4005
SELKE, LEONARD A          8225 RUSSELL ST                                                                            SHELBY TOWNSHIP   MI   48317‐5356
SELKE, OSCAR L            64 PUTTER DR                                                                               PALM COAST        FL   32164‐4700
SELKE, REBECCA            4850 PARK MNR E APT 4116                                                                   SHELBY TWP        MI   48316‐4932
SELKE, RICHARD J          31139 COOLEY BLVD                                                                          WESTLAND          MI   48185‐1624
SELKE, ROBERT A           54418 PINE ST                                                                              NEW BALTIMORE     MI   48047‐5570
SELKEY, GREGORY G         PO BOX 278                                                                                 MARYSVILLE        MI   48040‐0278
SELKIE, MARY R            111 VERONA AVE                                                                             GOLETA            CA   93117‐1304
SELKIN ALAN E             DBA ALAN E SELKIN MD PC          56 LAFAYETTE PLACE                                        GREENWICH         CT   06830
SELKIRK, EDDIE            G 3209 BENMARK VILLAGE                                                                     FLINT             MI   48506
SELKIRK, WILLIAM M        2585 CANDLEWICK DR                                                                         ORION             MI   48359‐1519
SELL JR, JOHN             13456 SIMPSON RD                                                                           BLISSFIELD        MI   49228‐9514
SELL JR, PAUL T           9097 GARFIELD DR                                                                           WHITMORE LAKE     MI   48189‐9272
SELL JR, RAY D            133 EMERSON AVE                  P.O. BOX 306                                              BONNER SPRINGS    KS   66012‐1113
SELL, ANNE                11365 APPLETON                                                                             REDFORD           MI   48239‐1443
SELL, ARITA E             705 SPRING LAKES BLVD                                                                      BRADENTON         FL   34210‐4562
SELL, COLLEEN B           9020 S.E 136TH LOOP                                                                        SUMMERFIELD       FL   34491‐7973
SELL, COLLEEN B           9020 SE 136TH LOOP                                                                         SUMMERFIELD       FL   34491‐7973
SELL, DANIEL E            2955 SUNNYDALE LN                                                                          ATTICA            MI   48412‐9345
SELL, DANIEL F            20 BRIAN LN                                                                                WEST SENECA       NY   14224‐1027
SELL, DANIEL L            101 WIDGEON DR                                                                             HVRE DE GRACE     MD   21078‐4247
SELL, DAVID
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Name                         Address1                             Address2                     Address3      Address4                  City               State Zip
SELL, DAVID R                159 DICKERSON AVE                                                                                         BELLVILLE           OH 44813‐1109
SELL, DONA                   14012 PEARL ST                                                                                            SOUTHGATE           MI 48195‐1960
SELL, ELMA G                 PO BOX 33                                                                                                 GLEN HOPE           PA 16645‐0033
SELL, FREDRICK L             3312 SUMMERCOURT DR                  PHASE III                                                            JONESBORO           GA 30236
SELL, GEORGE L               5401 LIPP NO 3                                                                                            BLISSFIELD          MI 49228
SELL, HAROLD G               6491 LINK BLVD                                                                                            INDIAN RIVER        MI 49749
SELL, HENRY A                4006 L.B. RD.                        SPACE 127                                                            LAKE HAVASU CITY    AZ 86404
SELL, JAEDON L               2110 TIBBETTS WICK RD                                                                                     GIRARD              OH 44420‐1227
SELL, JEFFREY A              4348 S MCNAY CT                                                                                           W BLOOMFIELD        MI 48323‐2840
SELL, JEFFREY R              19622 HUNT RD                                                                                             STRONGSVILLE        OH 44136‐8335
SELL, JOHN M                 900 TAMIAMI TRL S APT 518                                                                                 VENICE              FL 34285‐3627
SELL, JOHN R                 20720 WAHRMAN RD                                                                                          NEW BOSTON          MI 48164‐9425
SELL, JUSTIN R               129 CLARK ST                                                                                              BONNER SPRINGS      KS 66012‐1101
SELL, KEVIN G                2866 GLENARYE DRIVE                                                                                       LINDENHURST          IL 60046‐7924
SELL, LAVENA M               141 E MARKET ST                      BOX 319 JOHN SEVIER CENTER                                           JOHNSON CITY        TN 37604‐5740
SELL, LEVI F                 635 HIGH ST                                                                                               ELYRIA              OH 44035‐3149
SELL, MARTHA L               60 W PELICAN ST APT 308                                                                                   NAPLES              FL 34113‐4054
SELL, MARTIN J               43272 MARINER CT                                                                                          CLINTON TWP         MI 48038‐5553
SELL, MARVIN L               8044 E WESTON RD                                                                                          BLISSFIELD          MI 49228‐9636
SELL, MARY ANN               314 ROUTE 216                                                                                             STORMVILLE          NY 12582‐5052
SELL, MILTON L               2539 W SPRAGUE RD                                                                                         BROADVIEW HTS       OH 44147‐1045
SELL, ROBERT L               812 WILLIAMSBURG DR                                                                                       KOKOMO              IN 46902‐4985
SELL, ROBERT P               780 TIFFT ST                                                                                              BUFFALO             NY 14220‐1815
SELL, RONALD A               29 3RD AVE                                                                                                CLAYMONT            DE 19703‐2003
SELL, ROSALIND B             22035 RIVER RIDGE TRL                                                                                     FARMINGTON HILLS    MI 48335‐4665
SELL, RUTH S                 481 BELMONT AVE NE                                                                                        WARREN              OH 44483‐4940
SELL, RUTH S                 481 BELMONT ST. N.E.                                                                                      WARREN              OH 44483‐4940
SELL, SANDRA
SELL, SHARON P               PO BOX 48                                                                                                 CICERO             IN   46034‐0048
SELL, SHARON P               P O BOX 48                                                                                                CICERO             IN   46034‐0048
SELL, SHIRLEY A              8044 E WESTON RD                                                                                          BLISSFIELD         MI   49228‐9636
SELL, STANLEY                1541 GREENWOOD DR                                                                                         NORCROSS           GA   30093‐1434
SELL, STEVEN L               883 GRANADA DR                                                                                            GREENWOOD          IN   46143‐2610
SELL, THOMAS A               8200 TAGSOLD HWY                                                                                          RIGA               MI   49276‐9702
SELL, THOMAS ALAN            8200 TAGSOLD HWY                                                                                          RIGA               MI   49276‐9702
SELL, THOMAS H               7193 WINBERT DR                                                                                           N TONAWANDA        NY   14120‐1450
SELL, WILMA S                24971 CARNOUSTIE CT                                                                                       BONITA SPRINGS     FL   34135‐7626
SELLA BANK AG                PO BOX                               TALSTRASSE 70                              8022 ZURICH SWITZERLAND
SELLA BANK AG                P.O. BOX                             TALSTRASSE 70                8022 ZURICH   SWITZERLAND
SELLA BANK LUXEMBOURG S.A    4 BOULEVARD ROYAL                                                               L‐2449 LUXEMBOURG
SELLA, DEAN N                5450 W BAY CITY FORESTVILLE RD                                                                            UNIONVILLE         MI 48767‐9490
SELLA, RONALD J              844 NSE BOUTELL                                                                                           ESSEXVILLE         MI 48732
SELLAND AUTO TRANSPORT       LINDA EVENSON, SECRETARY TREASURER   615 S 96TH ST                                                        SEATTLE            WA 98108‐4914

SELLAND AUTO TRANSPORT       615 S 96TH ST                                                                                             SEATTLE            WA   98108‐4914
SELLAND AUTO TRANSPORT INC   615 S 96TH ST                                                                                             SEATTLE            WA   98108‐4914
SELLARDS, STEPHANIE L        5800 PRINCE EDWARD WAY                                                                                    DAYTON             OH   45424
SELLARS JR, DAVID K          2683 MOORESVILLE HWY                                                                                      LEWISBURG          TN   37091‐6815
SELLARS JR, ROBERT A         8047 DEERWOOD RD                                                                                          CLARKSTON          MI   48348‐4527
SELLARS MARY                 345 INDIANA ST APT I                                                                                      ZANESVILLE         OH   43701
SELLARS RICHARD              2171 FLINT DR                                                                                             FORT MYERS         FL   33916‐4811
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Name                         Address1                         Address2                      Address3   Address4         City             State Zip
SELLARS WILLIAM J (439492)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                              STREET, SUITE 600
SELLARS, ANNA                11698 HAMLET RD                                                                            CINCINNATI       OH   45240‐1962
SELLARS, BILLY R             340 COUNTY ROAD 1835                                                                       CARTHAGE         TX   75633‐5451
SELLARS, CARL H              6180 KLINES DR                                                                             GIRARD           OH   44420‐1228
SELLARS, CASEY LEE           1777 HOLLAND BROS ROAD                                                                     WOODBURN         KY   42170‐9630
SELLARS, DAVID H             HC 80 BOX 1077                                                                             SAGE             AR   72573‐9535
SELLARS, ELIZABETH G         5436 HICKORY CIR                                                                           FLUSHING         MI   48433‐2400
SELLARS, ERNEST L            4311 LAKEWAY DR                                                                            INDIANAPOLIS     IN   46205‐2591
SELLARS, GARY                5671 PATRIOT WAY                                                                           INDIANAPOLIS     IN   46254‐1016
SELLARS, GARY H              6834 LORIEN WOODS DR                                                                       DAYTON           OH   45459‐2871
SELLARS, JOHN D              217 SPORTSMANS CLUB RD                                                                     LEESBURG         GA   31763‐3157
SELLARS, JUDITH S            40886 WORTHINGTON RD                                                                       CANTON           MI   48188‐3127
SELLARS, LARRY J             2649 VINEWOOD DR                                                                           SPEEDWAY         IN   46224‐3235
SELLARS, LUCILLE B           166 EARL STREET                                                                            ROCHESTER        NY   14611‐3730
SELLARS, LUCILLE B           166 EARL ST                                                                                ROCHESTER        NY   14611‐3730
SELLARS, MICHAEL D           346 S DOGWOOD LN                                                                           BYRAM            MS   39272
SELLARS, PAUL D              PO BOX 236                                                                                 NEBO             IL   62355‐0236
SELLARS, PAULINE H           1122 SPRINGBROOK DR                                                                        MANSFIELD        OH   44906‐3545
SELLARS, RONALD E            1667 RIPPLING BROOK DR                                                                     MANSFIELD        OH   44904‐1831
SELLARS, RONNELL B           6285 CASTLE KENNEDY ST                                                                     HENDERSON        NV   89011
SELLARS, RUBY L              8361 W NORTHSIDE DR                                                                        BOLTON           MS   39041‐9416
SELLARS, SHARON S            340 COUNTY ROAD 1835                                                                       CARTHAGE         TX   75633‐5451
SELLARS, SHARON SMITH        340 COUNTY ROAD 1835                                                                       CARTHAGE         TX   75633‐5451
SELLARS, VERNON L            207 BARR ELMS AVE                                                                          JOLIET           IL   60433‐1425
SELLARS, VIRGIL A            5923 LOUISE AVENUE NW                                                                      WARREN           OH   44483‐1129
SELLARS, WILLIAM J           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                              STREET, SUITE 600
SELLE, DEAN R                10845 AQUA LN                                                                              SOUTH LYON       MI   48178‐9593
SELLE, FRED/SPR HILL         905 OLD KEDRON RD                                                                          SPRING HILL      TN   37174‐2607
SELLE, RICHARD C             215 RIO VILLA DR LOT 3280                                                                  PUNTA GORDA      FL   33950‐7439
SELLECK JR, FOREST D         1358 TOWERS RD                                                                             OREGON           OH   43616‐3657
SELLECK, CLARA J             PO BOX 225                                                                                 NEW LOTHROP      MI   48460‐0225
SELLECK, DELBERT D           720 W 4TH ST                                                                               PINCONNING       MI   48650‐7020
SELLECK, DIANN B             127 MOUNTAINWOOD DR                                                                        DAVISON          MI   48423‐8142
SELLECK, ELLA G              5118 E COLDWATER RD                                                                        FLINT            MI   48506‐4504
SELLECK, GREGORY A           8841 W MOUNT HOPE HWY                                                                      VERMONTVILLE     MI   49096‐8752
SELLECK, GREGORY ALAN        8841 W MOUNT HOPE HWY                                                                      VERMONTVILLE     MI   49096‐8752
SELLECK, JANET               720 W 4TH ST                                                                               PINCONNING       MI   48650‐7020
SELLECK, JOSEPH R            256 S BELLE RIVER AVE                                                                      MARINE CITY      MI   48039‐1721
SELLECK, SIGVULDA C          2511 E FARRAND RD                                                                          CLIO             MI   48420‐9174
SELLECK, WHITNIE             40417 NW HON DRIVE               APT E                                                     RIVERSIDE        MO   64150
SELLECK, WILLIAM B           2510 CONSAUL ST LOT 143                                                                    TOLEDO           OH   43605‐4303
SELLEK, JAMES A              9775 SE 178TH LN                                                                           SUMMERFIELD      FL   34491‐8417
SELLEK, JULIE A              3281 BAKER RD                                                                              OLIVET           MI   49076‐9655
SELLEKE, PATRICIA A          59772 GLACIER PNES                                                                         WASHINGTON       MI   48094‐2284
SELLEKE, THERESA             34645 MULVEY APT 132                                                                       FRASER           MI   48026‐1928
SELLEN, AVA LEE              10333 W KALAMO HWY                                                                         NASHVILLE        MI   49073‐9111
SELLEN, KURTIS K             10037 MOXLEYS FORD LANE                                                                    BRISTOW          VA   20136‐3004
SELLER, LOUIS                2660 N FOREST RD APT 207                                                                   GETZVILLE        NY   14068‐1530
SELLERGREN                   PO BOX 1460                                                                                FREDERICKSBURG   VA   22402‐1460
SELLERS & MARQUIS ROOFING    ATTN MICHAEL C PIERCE            4200 GARDNER AVE                                          KANSAS CITY      MO   64120‐1830
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Name                              Address1                            Address2                        Address3   Address4         City               State Zip
SELLERS AUTOMOTIVE GROUP INC
SELLERS BONNIE                    2907 APACHE MOON TER                                                                            MURFREESBORO       TN    37127‐8310
SELLERS BROOKS JR                 144 E 1ST ST                                                                                    MANSFIELD          OH    44902‐2057
SELLERS BUICK PONTIAC GMC, INC.   38000 GRAND RIVER AVE                                                                           FARMINGTON HILLS   MI    48335‐1508
SELLERS BUICK PONTIAC GMC, INC.   SAMUEL SLAUGHTER IV                 38000 GRAND RIVER AVE                                       FARMINGTON HILLS   MI    48335‐1508
SELLERS BUICK‐PONTIAC‐GMC         C/O SAM SLAUGHTER                   38000 GRAND RIVER AVE                                       FARMINGTON HILLS   MI    48335‐1508
SELLERS CHEVROLET, INC.           5864 US HIGHWAY 11                                                                              PURVIS             MS    39475‐5052
SELLERS CHEVROLET, INC.           JOHNNY SELLERS                      5864 US HIGHWAY 11                                          PURVIS             MS    39475‐5052
SELLERS ED                        SELLERS, ED                         820 FRONT ST S APT 303                                      ISSAQUAH           WA    98027
SELLERS GLORIA C (658207)         LANE, ROGER B., LAW OFFICES OF      1801 REYNOLDS ST                                            BRUNSWICK          GA    31520
SELLERS I I I, JAMES W            11137 COBBLESTONE LN                                                                            GRAND LEDGE        MI    48837‐9116
SELLERS III, JAMES WILLIAM        11137 COBBLESTONE LN                                                                            GRAND LEDGE        MI    48837‐9116
SELLERS JAMES M (481286)          KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                               CLEVELAND          OH    44114
                                                                      BOND COURT BUILDING
SELLERS JOHN (508503)             LEBLANC & WADDELL                   5353 ESSEN LN STE 420                                       BATON ROUGE         LA   70809‐0500
SELLERS JR, CLYDE J               498 SHADE TREE TRL                                                                              MASON               MI   48854‐1155
SELLERS JR, FREDERICK W           6675 N US HIGHWAY 31                                                                            SHARPSVILLE         IN   46068‐9324
SELLERS JR, JOHN                  1350 DREXEL ST                                                                                  DETROIT             MI   48215‐2795
SELLERS JR, RONALD B              1127 OAK TIMBER CIR                                                                             COLLIERVILLE        TN   38017‐8799
SELLERS MICHAEL A (352653)        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA   23510
                                                                      STREET, SUITE 600
SELLERS MICHAEL L                 SELLERS, MICHAEL L                  831 DESOTO ST                                               ALEXANDRIA          LA   71301‐7634
SELLERS TENNIELLE                 NO ADVERSE PARTY
SELLERS TRUCK CENTER              24501 HATHAWAY                                                                                  FARMINGTON HILLS    MI   48335
SELLERS, ALAN M                   4279 HARALSON MILL RD NE                                                                        CONYERS             GA   30012
SELLERS, ANGELA                   JINKS DANIEL & CROW               219 PRAIRIE ST N                                              UNION SPRINGS       AL   36089‐1618
SELLERS, ANGELA                   WILSON FRANK M PC                 PO BOX 2389                                                   MONTGOMERY          AL   36102‐2389
SELLERS, ANGELA                   GRAY LANGFORD SAPP MCGOWAN GRAY & PO BOX 830239                                                 TUSKEGEE            AL   36083‐0239
                                  NATHANSON
SELLERS, ANN M                    1055 BUCKNER RD                                                                                 RINGGOLD           GA    30736‐9005
SELLERS, ANNA                     4314 LONDON CT                                                                                  ANDERSON           IN    46013‐4431
SELLERS, ANNA S                   9714 W COUNTY RD 975 N                                                                          MIDDLETOWN         IN    47356‐9333
SELLERS, ARNOLD B                 6480 HAPPY VALLEY RD                                                                            TALLASSEE          TN    37878‐2207
SELLERS, ARTHUR C                 BOX 2996 TURNIPTOWN RD                                                                          ELLIJAY            GA    30536
SELLERS, BEVERLY M                24111 CIVIC CENTER DR APT 717                                                                   SOUTHFIELD         MI    48033‐7440
SELLERS, BEVERLY M                24111 CIVIC CENTER DRIVE          APT 717                                                       SOUTHFIELD         MI    48034
SELLERS, BOBBIE J                 2819 NEWARK AVE                                                                                 LANSING            MI    48911‐4543
SELLERS, BRIAN J                  19801 CROOKED RD                                                                                BUTLER             OH    44822‐9032
SELLERS, BRUCE E                  300 WESTERN AVE APT K901                                                                        LANSING            MI    48917‐3739
SELLERS, BRYCE                    905 VILLAGE DR                                                                                  ALTUS              OK    73521‐4750
SELLERS, CAMILLE Y                40 WARREN AVENUE                                                                                WOBURN             MA    01801‐4922
SELLERS, CARL H                   PO BOX 2428‐6462                                                                                PENSACOLA          FL    32513
SELLERS, CARL H                   6712 MILL STREAM LANE                                                                           LANSING            MI    48911‐8911
SELLERS, CAROLYN O                407 FOURTH ST S                                                                                 WIGGINS            MS    39577‐2818
SELLERS, CECIL C                  10229 OLD PLANK RD                                                                              JACKSONVILLE       FL    32220‐1343
SELLERS, CHARLES E                16235 ROAD 25P                                                                                  FORT JENNINGS      OH    45844‐8847
SELLERS, CHARLES ED               16235 ROAD 25P                                                                                  FORT JENNINGS      OH    45844‐8847
SELLERS, CHRISTOPHER A            329 CORRINE PL                                                                                  WASKOM             TX    75692‐5005
SELLERS, CHRISTOPHER A            6628 SMITH RD                                                                                   STANFIELD          NC    28163‐8651
SELLERS, CLIFFORD H               5307 MORNINGSIDE DR                                                                             GREENDALE          WI    53129‐1253
SELLERS, DANIEL                   7165 OAKBAY DR                                                                                  NOBLESVILLE        IN    46062‐9755
SELLERS, DAVID R                  15331 LESLIE ST                                                                                 OAK PARK           MI    48237‐1992
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Name                    Address1                         Address2                       Address3   Address4         City              State Zip
SELLERS, DAVID R        20233 STRATFORD RD                                                                          DETROIT            MI 48221‐1383
SELLERS, DAVID W        4619 MOHR ESTATE SOUTH DR D                                                                 NEW PALESTINE      IN 46163
SELLERS, DELORIS        12839 S MORGAN ST                                                                           CHICAGO             IL 60643‐6613
SELLERS, DL             2294 NICHOLS RD                                                                             LUZERNE            MI 48635‐3801
SELLERS, DL L           2294 NICHOLS RD                                                                             LUZERNE            MI 48636‐9801
SELLERS, DL L           2294 NICHOLS                                                                                LUZERNE            MI 48636
SELLERS, DONALD M       2871 HAPPY HOLLOW DR SE                                                                     CONYERS            GA 30094‐3220
SELLERS, ED             16946 SE                                                                                    AUBURN             WA 98092
SELLERS, ED
SELLERS, ELINOR L       1571 W OGDEN AVE APT 1106        MAPLEWOOD                                                  LA GRANGE PARK    IL   60526‐1724
SELLERS, ELLA           2649 LESLIE ST                                                                              DETROIT           MI   48238‐3415
SELLERS, ELLA           2649 LESLIE                                                                                 DETROIT           MI   48238‐3415
SELLERS, EMMA LAVONNE   100 CONE DR                                                                                 SELMA             AL   36701‐7109
SELLERS, EULA C         6 HARMON RD                                                                                 OWINGS MILLS      MD   21117‐3813
SELLERS, GARY D         7388 GRANDWOOD DR                                                                           SWARTZ CREEK      MI   48473‐9416
SELLERS, GARY G         523 S JENISON AVE                                                                           LANSING           MI   48915‐1133
SELLERS, GENE M         4332 APPLETREE LN                                                                           LANSING           MI   48917‐1652
SELLERS, GLORIA C       LANE, ROGER B., LAW OFFICES OF   1801 REYNOLDS ST                                           BRUNSWICK         GA   31520
SELLERS, GLORIA F       1624 SQUIRE DR SW                                                                           MARIETTA          GA   30008‐5757
SELLERS, GLORIA L       321 VALLEY GREEN                                                                            MAULDIN           SC   29662‐1693
SELLERS, GUSTAV W       6470 NOBLE RD                                                                               WEST BLOOMFIELD   MI   48322‐1344
SELLERS, HAROLD W       1601 E LAKEAIRE LN                                                                          MUSTANG           OK   73064‐5838
SELLERS, HOWARD K       2419 W 9TH ST                                                                               MARION            IN   46953‐1008
SELLERS, JAMES M        KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                               CLEVELAND         OH   44114
                                                         BOND COURT BUILDING
SELLERS, JAMES M        4507 GIDEONS TRCE                                                                           UNION CITY        GA   30291‐2307
SELLERS, JOHN           LEBLANC & WADDELL                5353 ESSEN LN STE 420                                      BATON ROUGE       LA   70809‐0500
SELLERS, JOHN W         1902 W PENINSULA CIR                                                                        CHANDLER          AZ   85248‐3520
SELLERS, JOHNNY         COLOM LAW FIRM                   605 2ND AVE N                                              COLUMBUS          MS   39701‐4513
SELLERS, JOSEPHINE S    314 E 48TH ST                                                                               ANDERSON          IN   46013‐4764
SELLERS, JUDY A         4118 HIGHWAY 84 E                                                                           LAUREL            MS   39443‐7383
SELLERS, JULIUS         PO BOX 24290                                                                                CINCINNATI        OH   45224
SELLERS, KELLY          207 OBERHOLTZER RD                                                                          GILBERTSVILLE     PA   19525‐8617
SELLERS, KENNETH F      29202 GRIX RD                                                                               NEW BOSTON        MI   48164‐9495
SELLERS, KENNETH M      22112 BEECH DALY RD                                                                         FLAT ROCK         MI   48134
SELLERS, LARRY D
SELLERS, LARRY P        1101 W BOATFIELD AVE                                                                        FLINT             MI   48507‐3607
SELLERS, LARRY W        G3417 MALLERY ST                                                                            FLINT             MI   48504
SELLERS, MAE A          26047 WALNUT GROVE LN                                                                       SOUTHFIELD        MI   48034‐1550
SELLERS, MARCIA F       225 DALFABER LN                                                                             SPRINGBORO        OH   45066‐1571
SELLERS, MARVIN R       6572 TUCKER RD                                                                              EATON RAPIDS      MI   48827‐9701
SELLERS, MARY D         17906 PUMPKIN CENTER RD                                                                     DANVILLE          IL   61834‐7840
SELLERS, MARYANN        21539 PAPOOSE LAKE CT                                                                       CREST HILL        IL   60403‐1562
SELLERS, MERLIN J       6313 W FAIRLANE DR                                                                          LAKE CITY         MI   49651‐8774
SELLERS, MICHAEL A      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510‐2212
                                                         STREET, SUITE 600
SELLERS, MICHAEL D      610 N 5TH ST                                                                                WEST MONROE       LA   71291‐4106
SELLERS, MICHELE D      330 CLAREMONT ST                                                                            DEARBORN          MI   48124‐1308
SELLERS, MONDA F        14 CALLOWAY ST                                                                              WINCHESTER        KY   40391‐2506
SELLERS, MYRON C        7782 SW 6TH PL                                                                              OCALA             FL   34474‐1620
SELLERS, NATHANIEL J    1016A N 19TH ST                                                                             SAINT LOUIS       MO   63106‐3515
SELLERS, NATHANIEL J    1016 A N 19TH ST                                                                            ST LOUIS          MO   63106‐3515
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Name                       Address1                       Address2                       Address3   Address4         City            State Zip
SELLERS, NICOLE J          9366 N WEBSTER RD                                                                         CLIO             MI 48420‐8545
SELLERS, PATRICK A         2188 W WOODVIEW DR                                                                        MARION           IN 46952‐1569
SELLERS, PATRICK HENRY     GORDON MAYER B & ASSOCIATES    26555 EVERGREEN ROAD ‐ SUITE                               SOUTHFIELD       MI 48076
                                                          1720
SELLERS, POLLY J           1455 GARDNER RD NW                                                                        CONYERS         GA   30012‐4140
SELLERS, RANDY L           801 CAROM CIR                                                                             MASON           MI   48854‐9376
SELLERS, RANDY LEE         801 CAROM CIR                                                                             MASON           MI   48854‐9376
SELLERS, RHONDA R          19801 CROOKED RD                                                                          BUTLER          OH   44822‐9032
SELLERS, ROBERT L          10909 NELSON AVE                                                                          CLEVELAND       OH   44105‐4263
SELLERS, ROBERT L.         10909 NELSON AVE                                                                          CLEVELAND       OH   44105‐4263
SELLERS, RODNEY P          1796 BATELLO DRIVE                                                                        VENICE          FL   34292‐4626
SELLERS, RONALD C          161 S 10TH AVE                                                                            PIGGOTT         AR   72454‐2520
SELLERS, RONALD F          357 S DOBSON ST                                                                           WESTLAND        MI   48186‐8405
SELLERS, RONALD FRANKLIN   357 S DOBSON ST                                                                           WESTLAND        MI   48186‐8405
SELLERS, RUTH              8600 CHEYENNE ST                                                                          DETROIT         MI   48228‐2604
SELLERS, SANDRA L          G3417 MALLERY ST                                                                          FLINT           MI   48504‐2470
SELLERS, SONYA W           4551 WIGGINS LN # A                                                                       WILMER          AL   36587‐7313
SELLERS, STEPHAN A         21 RIDGELINE DR                                                                           BROWNSBURG      IN   46112
SELLERS, SUZETTE           2403 DOGWOOD LN SE                                                                        DECATUR         AL   35601‐5319
SELLERS, TERESA M          215 N CANAL RD LOT 46                                                                     LANSING         MI   48917
SELLERS, THEODORE E        1740 FAIRWAY DR                                                                           NEWTON          NC   28658‐9278
SELLERS, THOMAS C          630 S BRUNER ST                                                                           HINSDALE        IL   60521‐3944
SELLERS, TRACY A           21 RIDGELINE DR                                                                           BROWNSBURG      IN   46112‐8833
SELLERS, VERA D            3973 N 600 E                                                                              VAN BUREN       IN   46991‐9791
SELLERS, VERA D            3973 N. 600 E.                                                                            VAN BUREN       IN   46991‐9791
SELLERS, VIRGIL D          528 FREEDOM RD                                                                            EDMOND          OK   73025‐1477
SELLERS, WANDA J           963 WEST ORCHARD LANE                                                                     LITCHFIELD PK   AZ   85340‐5075
SELLERS, WAYNE D           7636 STRAWBERRY PLAINS PIKE                                                               KNOXVILLE       TN   37924‐4336
SELLERS, WENDELL           SHANNON LAW FIRM               100 W GALLATIN ST                                          HAZLEHURST      MS   39083‐3007
SELLERS, WILLIAM           107 RIVERHILLS DR                                                                         MORGANTON       NC   28655‐8402
SELLERS, WILLIAM A         1217 HUNTERS POINT LN                                                                     SPRING HILL     TN   37174‐2188
SELLERS, WILLIAM E         345 CROSSROADS DR                                                                         SOCIAL CIRCLE   GA   30025‐2774
SELLERS, WILLIAM H         108 HUNTINGTON BLVD                                                                       MADISONVILLE    TN   37354‐5990
SELLERS, WILLIAM J         65845 E MESA RIDGE CT                                                                     TUCSON          AZ   85739‐1660
SELLERS, WILLIAM R         12032 CANTRELL DR                                                                         CINCINNATI      OH   45246
SELLERS, ZOAH C            106 N 7TH ST                                                                              ELSBERRY        MO   63343‐1231
SELLEY'S AUTOMOTIVE        224 SHADY GROVE DR                                                                        NASHVILLE       TN   37214‐2103
SELLEY, BRYAN D            2054 WINTHROP DR                                                                          SWARTZ CREEK    MI   48473‐9721
SELLEY, DAN J              500 CHOKE CHERRY                                                                          FLINT           MI   48506‐5240
SELLEY, GENEVIEVE E        603 SAINT JOSEPH DR APT 109                                                               KOKOMO          IN   46901‐4190
SELLEY, JOAN C             1392 AUDREY ST                                                                            BURTON          MI   48509‐2105
SELLEY, JOYCE D            907 OAK KNOLL DRIVE                                                                       PERRYSBURG      OH   43551‐2913
SELLEY, KAY A              2054 WINTHROP DR                                                                          SWARTZ CREEK    MI   48473‐9721
SELLEY, RONALD D           9338 PARK PL                                                                              SWARTZ CREEK    MI   48473‐8551
SELLEY, RONALD DEAN        9338 PARK PL                                                                              SWARTZ CREEK    MI   48473‐8551
SELLEY, WALTER I           723 WOODBINE DR                                                                           FENTON          MI   48430‐1422
SELLEY, WILLIAM J          6603 N HARRISON                                                                           ROSCOMMAN       MI   48653
SELLGE, KATHE              1339 KENSINGTON WAY DR                                                                    ELLISVILLE      MO   63011‐2190
SELLGE, PETER              31 REINKE RD                                                                              ELLISVILLE      MO   63021‐4734
SELLIE EDWARDS             2913 W 80TH ST                                                                            INGLEWOOD       CA   90305‐1410
SELLIE ROSS                22493 CHIPPEWA ST                                                                         DETROIT         MI   48219‐1112
SELLINGER, JOHN F          7064 IRIS CT                                                                              GRAND BLANC     MI   48439‐2316
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Name                           Address1                       Address2                       Address3               Address4             City              State Zip
SELLMAN, FRANCIS W             7843 VERNON AVE                                                                                           NOTTINGHAM         MD 21236‐3610
SELLMAN, JOHN J                94 MOHAWK RD                                                                                              PONTIAC            MI 48341‐1123
SELLMAN, LORI A                4606 FOREST EDGE LN                                                                                       WEST BLOOMFIELD    MI 48323‐2182
SELLMAN, MARGARET L            532 14TH AVE                                                                                              TWO HARBORS        MN 55616‐1232
SELLMAN, WANDA J               APT 1004                       10035 WEST ROYAL OAK ROAD                                                  SUN CITY           AZ 85351‐3149
SELLMAN, WILLIAM T             680 GULF AVE                                                                                              STATEN ISLAND      NY 10314
SELLMER, WILLIAM J             7664 QUAIL RIDGE N. DR.                                                                                   PLAINFIELD         IN 46168
SELLMEYER, MICHAEL J           8372 NORTHERN DR                                                                                          AVON               IN 46123‐7215
SELLMEYER, RUSSELL T           2719 E WOODSIDE DR                                                                                        MOORESVILLE        IN 46158‐6180
SELLNAU, MARK C                592 BENNINGTON DR                                                                                         BLOOMFIELD         MI 48304‐3300
SELLNER, JEANNIE M.            1322 STILLWATER DR                                                                                        SENECA             SC 29672‐8004
SELLNOW, LOIS                  6700 N SOUTH 5TH ST                                                                                       EVANSVILLE         WI 53536‐9730
SELLNOW, MARVIN L              6700 N SOUTH 5TH ST                                                                                       EVANSVILLE         WI 53536‐9730
SELLON, EARL C                 383 BRITTON RD                                                                                            ROCHESTER          NY 14616‐3209
SELLON, EDWARD J               383 BRITTON RD                                                                                            ROCHESTER          NY 14616‐3209
SELLON, ZELDA F                2100 S SWOPE DR APT D252       FOUNTAIN AT GREENBRIER                                                     INDEPENDENCE       MO 64057‐2818
SELLON, ZELDA F                16101 E 34TH TERR                                                                                         INDEPENDENCE       MO 64055
SELLORET AUTOMOTRIZ SA DE CV   ALFREDO RETANA ANAYA           011 5255 5250 0591             LAGO CONSTANZA NO 95   CHIHUAHUA CI 31110
                                                                                                                    MEXICO
SELLORET AUTOMOTRIZ SA DE CV   LAGO CONSTANZA # 95            COLONIA ANAHUAC 11320 DF CP                           COLONIA ANAHUAC DF
                                                                                                                    11320 MEXICO
SELLOUS VICKERS                1449 W GENESEE AVE                                                                                        FLINT             MI 48505‐1152
SELLOW, JOSEPHINE T            9962 S WALNUT TER APT 312                                                                                 PALOS HILLS       IL 60465
SELLS ANDIE G                  C/O G PATTERSON KEAHEY PC      ONE INDEPENDENCE PLAZA SUITE                                               BIRMINGHAM        AL 35209
                                                              612
SELLS JR, HAROLD V             312 COVENTRY RD                                                                                           DECATUR           GA 30030‐2377
SELLS KEVIN A & STEFANIE A     28 RHODES AVE                                                                                             PITTSBURGH        PA 15220‐2802
SELLS THOMAS E (400386)        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                NORFOLK           VA 23510
                                                              STREET, SUITE 600
SELLS, ANNE M                  1531 SAUK LN                                                                                              SAGINAW           MI   48638
SELLS, BETHEL W                1124 S MECHANICSBURG RD                                                                                   SHIRLEY           IN   47384‐9616
SELLS, BETTY                   204 WILLIAM SELLS LN                                                                                      MONROE            TN   38573
SELLS, BETTY                   15747 BLUE SKIES DR                                                                                       N FORT MYERS      FL   33917‐5471
SELLS, BOBBY J                 128 MILL ST                                                                                               PRAIRIE HOME      MO   65068‐1000
SELLS, CLYDE W                 945 HAMILTON DR                                                                                           LUCAS             TX   75002‐8168
SELLS, DAVID A                 3740 BALDWIN RD                                                                                           METAMORA          MI   48455‐8970
SELLS, DAVID ALDEN             3740 BALDWIN RD                                                                                           METAMORA          MI   48455‐8970
SELLS, ELEANOR                 9108 E CITRUS LN N                                                                                        SUN LAKES         AZ   85248‐6415
SELLS, ERLITA B                3850 MALCOLM LAKE RD                                                                                      TRIMBLE           MO   64492
SELLS, GARY W                  3900 SILVER VALLEY DR                                                                                     LAKE ORION        MI   48359‐1650
SELLS, GEORGE E                10900 E HILLS AND DALES DR                                                                                SELMA             IN   47383‐9641
SELLS, GLENDA F                PO BOX 65                                                                                                 PRAIRIE HOME      MO   65068‐0065
SELLS, GLENN A                 3480 NORTH RIDLEY ROAD                                                                                    OWOSSO            MI   48867‐9470
SELLS, JETHRO F                2703 E EPLER AVE                                                                                          INDIANAPOLIS      IN   46227‐4556
SELLS, JOHN                    6333 CANOGA AVE APT 380                                                                                   WOODLAND HILLS    CA   91367‐7700
SELLS, JOHN E                  680 HOGARTH AVE                                                                                           WATERFORD         MI   48328‐4127
SELLS, JOHN G                  820 LEGARE ROAD SOUTHWEST                                                                                 AIKEN             SC   29803‐4303
SELLS, JOHN G                  820 LEGARE RD SW                                                                                          AIKEN             SC   29803‐4303
SELLS, JUDY M                  231 SHAWNEE RUN APT A                                                                                     WEST CARROLLTON   OH   45449‐3968
SELLS, LAFAUN                  PO BOX 1493                                                                                               REYNOLDSBURG      OH   43068‐6493
SELLS, LEAROY B                2079 HIGH MESA DR                                                                                         HENDERSON         NV   89012‐2584
SELLS, LONNIE A                9919 WEST AVE                                                                                             LOUISVILLE        KY   40272‐3360
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Name                            Address1                         Address2                      Address3                   Address4         City               State Zip
SELLS, MELVA R                  6708 MILLSIDE DR                                                                                           INDIANAPOLIS        IN 46221‐9656
SELLS, ORVILLE L                1270 SOUTH ST                                                                                              NOBLESVILLE         IN 46060‐3818
SELLS, PATRICIA ANN             4312 BROWN ST                                                                                              ANDERSON            IN 46013‐4451
SELLS, PAUL C                   ROUTE 2                                                                                                    MONROE              TN 38573
SELLS, SHARRON D                2333 S D ST                                                                                                ELWOOD              IN 46036‐2535
SELLS, SHARRON D                2333 SOUTH D ST                                                                                            ELWOOD              IN 46036‐2535
SELLS, STEVEN L                 4635 S AIRPORT RD                                                                                          BRIDGEPORT          MI 48722‐9562
SELLS, THOMAS E                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK             VA 23510‐2212
                                                                 STREET, SUITE 600
SELLS, THOMAS L                 210 ADAMS ST                                                                                               EAST TAWAS         MI   48730‐1537
SELLS, WILLIAM C                1009 S DEVONSHIRE RD                                                                                       YORKTOWN           IN   47396‐9649
SELLS, WILLIAM C                1531 SAUK LANE                                                                                             SAGINAW            MI   48638‐5541
SELLS, WILLIAM C                1531 SAUK LN                                                                                               SAGINAW            MI   48638
SELLS, WILLIAM CHARLES          1009 S DEVONSHIRE RD                                                                                       YORKTOWN           IN   47396‐9649
SELLS, WILLIAM E                204 WILLIAM SELLS LN                                                                                       MONROE             TN   38573‐5065
SELLS, WILLIAM H                5704 W RIVER RD                                                                                            MUNCIE             IN   47304‐4674
SELLY MAAL AND WILLIAM SORREN   SELLY MAAL AND WILLIAM SORREN    300 WEST 55 ST                APT 4E                                      NEW YORK           NY   10019
SELMA BERGER                    15326 STRATHEARN DR.             APT. 11905                                                                DELRAY BEACH       FL   33446
SELMA BERGER, TTEE              15326 STRATHEARN DR.             APT. 11905                                                                DELRAY BEACH       FL   33446
SELMA BINGHAM                   7103 LINN LN                                                                                               LIBERTY TOWNSHIP   OH   45044‐9828
SELMA BRANTLEY                  4827 GOLDFINCH DR                                                                                          ZEPHYRHILLS        FL   33541‐7103
SELMA BYHARDT                   1514 E BEVERLY RD                                                                                          SHOREWOOD          WI   53211‐2203
SELMA C MATTINGLY               10556 LOAN STAR WAY                                                                                        KNOXVILLE          TN   37932‐2078
SELMA COHEN                     SELMA COHEN C/O                  FRED G COHEN                  1168 UNION STREET, SUITE                    SAN DIEGO          CA   92101
                                                                                               301
SELMA DENENBERG                 PO BOX 183                                                                                                 CHERRY HILL        NJ   08003
SELMA E WEISS                   115 KRUMKILL RD APT 604                                                                                    ALBANY             NY   12208‐1238
SELMA EVEN                      272 CRANDON BLVD                                                                                           CHEEKTOWAGA        NY   14225‐3734
SELMA FULLER                    3421 N STATE ROAD 19                                                                                       SHARPSVILLE        IN   46068‐9076
SELMA G BOWMAN                  2852 CHALMERS CT                                                                                           PALM HARBOR        FL   34684
SELMA HEATON                    PO BOX 6                                                                                                   EMLYN              KY   40730‐0006
SELMA HICKS                     2227 MINERAL POINT AVE                                                                                     JANESVILLE         WI   53548‐2735
SELMA JENKINSON                 APT C6                           1201 WEST CEDAR AVENUE                                                    GLADWIN            MI   48624‐1875
SELMA JONES                     1746 QUAIL RUN                                                                                             LAWRENCEVILLE      GA   30044‐2876
SELMA KEYES                     PO BOX 52                                                                                                  FOREST HILL        MD   21050‐0052
SELMA L STRADER                 2659 DUNSTAN DR NW                                                                                         WARREN             OH   44485‐1506
SELMA M DAVIS                   191 W KENNETT RD APT 301                                                                                   PONTIAC            MI   48340‐2680
SELMA MATTINGLY                 1817 VERMEER DRIVE                                                                                         DAYTON             OH   45420‐2934
SELMA RIDENOUR                  402 OLD ST APT 15                                                                                          MONROE             OH   45050‐1400
SELMA SIMPSON                   3221 E BALDWIN RD APT 207                                                                                  GRAND BLANC        MI   48439‐7354
SELMA SMITH                     369 HERMAN ST                                                                                              BUFFALO            NY   14211‐2927
SELMA STALLA                    C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                                BOSTON HEIGHTS     OH   44236
SELMA STEELE                    820 MANCHESTER RD                                                                                          SALINA             KS   67401‐5212
SELMA STROUB                    3270 HANDRICH DR                                                                                           CURRAN             MI   48728‐9505
SELMA THOMPSON                  236 CRYSTAL LAKE DR                                                                                        PONTIAC            MI   48341‐2407
SELMA V FRITZ                   333 PENFIELD AVE                                                                                           ELYRIA             OH   44035‐3236
SELMA, DARLENE                  26471 W HILLS DR                                                                                           INKSTER            MI   48141‐1983
SELMA, ELLA M                   9301 FENTON                                                                                                REDFORD            MI   48239‐1279
SELMA, FELICIA D                37565 ROBINSON CT                                                                                          WESTLAND           MI   48186‐9317
SELMA, GRADY                    26471 W HILLS DR                                                                                           INKSTER            MI   48141‐1983
SELMA, PORTRA L                 708 W ATHERTON RD                                                                                          FLINT              MI   48507
SELMA, RONALD W                 2101 FOUNTAIN SPRINGS DR                                                                                   HENDERSON          NV   89074‐1577
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Name                         Address1                       Address2                      Address3   Address4         City               State Zip
SELMALOU BRYANT              324 FRONT ST                                                                             WILLIAMSBURG        KY 40769
SELMAN CHEVROLET COMPANY     WILLIAM SELMAN                 1800 E CHAPMAN AVE                                        ORANGE              CA 92867‐7704
SELMAN CHEVROLET COMPANY     1800 E CHAPMAN AVE                                                                       ORANGE              CA 92867‐7704
SELMAN INVESTMENTS, LLC.     1001 N WEIR CANYON BLVD                                                                  ANAHEIM             CA 92807‐2517
SELMAN PROPERTIES LP         GREAT AMERICAN CHEVROLET LLC   55 HACKENSACK AVE                                         HACKENSACK          NJ 07601‐6006
SELMAN REAL ESTATE II LLC    ATTN WILLIAM SELMAN JR         1800 E CHAPMAN AVE                                        ORANGE              CA 92867‐7704
SELMAN TRANSPORTATION INC    18493 MOUNT ELLIOTT ST                                                                   DETROIT             MI 48234‐2738
SELMAN, BRIAN D              215 GREENHILL RD                                                                         DAYTON              OH 45405‐1117
SELMAN, EDWARD               VARAS & MORGAN                 PO BOX 886                                                HAZLEHURST          MS 39083‐0886
SELMAN, GARY L               100 PAWNEE TRL                                                                           COLUMBIA            TN 38401‐2138
SELMAN, MARCUS D             2039 MATT WAY                                                                            DAYTON              OH 45424‐5241
SELMAN, PATRICIA A           588 W 4TH ST                                                                             MANSFIELD           OH 44903‐1432
SELMAN‐BARNUM, RACHELLE R.   PO BOX 250574                                                                            W BLOOMFIELD        MI 48325‐0574
SELMAR DUNCAN                PO BOX 1442                                                                              WASKOM              TX 75692‐1442
SELMER ENGEBRETSON           1301 ORCHID ST                                                                           WATERFORD           MI 48328‐1353
SELMER RUDSER                E4562 STATE HIGHWAY 56                                                                   VIROQUA             WI 54665‐8044
SELMER, JUDY L               117 OAKLAND AVENUE LOWER                                                                 JANESVILLE          WI 53545
SELMER, PHILMORE             1719 VIRGINIA ST                                                                         BELOIT              WI 53511‐2514
SELMEYER, CAROL H            PO BOX 21                                                                                MARKLEVILLE         IN 46056‐0021
SELMEYER, CHRIS A            3434 PADDINGTON DR                                                                       COLUMBUS            IN 47203
SELMEYER, ROGER R            PO BOX 21                                                                                MARKLEVILLE         IN 46056‐0021
SELMON JR, LEON              14817 PETOSKEY AVE                                                                       DETROIT             MI 48238‐2018
SELMON, ABE                  23717 PLUMBROOKE DR                                                                      SOUTHFIELD          MI 48075‐3251
SELMON, ANNIE S              1009 PRINCEWOOD AVE APT B                                                                DAYTON              OH 45429‐5877
SELMON, CHARLES J            102 TURNER RD APT B                                                                      DAYTON              OH 45415‐3612
SELMON, CLIFTON R            2617 E MITCHELL ST                                                                       ARLINGTON           TX 76010‐2451
SELMON, MICHAEL N            5949 HOOVER AVE                                                                          DAYTON              OH 45427‐2218
SELMON, MICHAEL NATHANIEL    5949 HOOVER AVE                                                                          DAYTON              OH 45427‐2218
SELMON, RHONDIA R            23717 PLUMBROOKE DR                                                                      SOUTHFIELD          MI 48075‐3251
SELMON, THERESA J            APT 2211                       9250 DEAN ROAD                                            SHREVEPORT          LA 71118‐2851
SELMON, THERESA J            9250 DEAN RD APT 2211                                                                    SHREVEPORT          LA 71118‐2851
SELMURO LTD                  3111 TRI PARK DR                                                                         GRAND BLANC         MI 48439‐7088
SELNER, WILLIAM D            3633 TIMBERBROOKE TRL                                                                    POLAND              OH 44514‐5323
SELNER, WILLIAM DAVID        3633 TIMBERBROOKE TRL                                                                    POLAND              OH 44514‐5323
SELNES, NORMAN W             30621 BALEWOOD ST                                                                        SOUTHFIELD          MI 48076‐1571
SELNESS, BARBARA J           9350 COLLEGEVIEW RD APT 107                                                              BLOOMINGTON         MN 55437‐2174
SELNESS, JOHN                9350 COLLEGEVIEW RD APT 107                                                              BLOOMINGTON         MN 55437‐2174
SELNIK, RONALD F             443 PAUL TELL TRL                                                                        TALLMADGE           OH 44278‐3627
SELOCK, EDWARD R             18884 LATHERS ST                                                                         LIVONIA             MI 48152‐3740
SELOCK, GARY E               27044 WINCHESTER ST                                                                      BROWNSTOWN TWP      MI 48183‐4853
SELOGIE, MARK L              1817 PACIFIC AVE                                                                         MANHATTAN BEACH     CA 90266‐2621
SELONKE, DELBERT D           6047 HEARTHSIDE PL                                                                       GRAND BLANC         MI 48439‐9199
SELONKE, DELBERT DAVID       6047 HEARTHSIDE PL                                                                       GRAND BLANC         MI 48439‐9199
SELONKE, MICHAEL A           341 KINMORE CT                                                                           DEARBORN HEIGHTS    MI 48125‐1068
SELONKE, MICHAEL A.          341 KINMORE CT                                                                           DEARBORN HEIGHTS    MI 48125‐1068
SELOOVER, MIRA A             225 SEMINOLE TRL                                                                         WEATHERFORD         TX 76087‐7147
SELOVER, MARY G              44 AUGUSTA AVE                                                                           BUFFALO             NY 14226‐2203
SELOX/NASHVILL               1008 WHITES CREEK PIKE         P.O. BOX 8251                                             NASHVILLE           TN 37207‐5431
SELSA VILLARREAL             18900 RED PINE DR                                                                        HILLMAN             MI 49746‐7987
SELSAVAGE JR, DONALD G       505 MANSION RD                                                                           WILMINGTON          DE 19804‐1803
SELSOR TROY E (439493)       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                            STREET, SUITE 600
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Name                             Address1                             Address2                      Address3   Address4         City               State Zip
SELSOR, JAMES R                  22336 SHANNONDELL DR                                                                           AUDUBON             PA 19403‐5655
SELSOR, JAMES T                  1362 NORTHWEST JEFFERSON COURT                                                                 BLUE SPRINGS        MO 64015‐7265
SELSOR, NORMA J                  PO BOX 944                                                                                     CATLIN               IL 61817‐0944
SELSOR, SANDRA H                 11105 LAWERENCE 2100                                                                           MOUNT VERNON        MO 65712
SELSOR, TROY E                   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                      STREET, SUITE 600
SELTENHOFER, FRIGYES J           156 CRABAPPLE RIDGE RD                                                                         N WILKESBORO       NC   28659‐8721
SELTER CHRISTOPHER               EXRAY DESIGN LLC                     302 WASHINGTON ST NO 935                                  SAN DIEGO          CA   92103
SELTER SR, PAUL E                3330 W SHAFFER RD                                                                              COLEMAN            MI   48618‐8516
SELTER, ERNEST W                 1400 OLD JORDAN RD APT 2228                                                                    SOUTHAMPTON        PA   18966
SELTER, REGINA                   1400 OLD JORDAN RD                   C/O RANDALL F BUCKLEY         RM 2106                     HOLLAND            PA   18966‐4830
SELTMAN, JOHN F                  39503 E 270TH AVE                                                                              GILMAN CITY        MO   64642‐8159
SELTMANN ELDON LEE (ESTATE OF)   HOBIN RICHARD D; SHINGLER RONALD J   1011 A ST                                                 ANTIOCH            CA   94509‐2323
(661542)
SELTMANN, ELDON LEE              HOBIN RICHARD D; SHINGLER RONALD J   1011 A ST                                                 ANTIOCH             CA 94509‐2323

SELTON, DREW                     705 ROLLING CREEK DR                                                                           HUFFMAN            TX   77336‐4039
SELTVEIT, STEVEN M               18 FORESTVIEW RD                                                                               MORTON             IL   61550‐1104
SELTZ, DEBRA                     121 EDISON AVE                                                                                 BUFFALO            NY   14215‐3563
SELTZ, IMA D                     3383 PINE ESTATES DR                                                                           W BLOOMFIELD       MI   48323‐1955
SELTZ, LAWRENCE A                3440 N LIMA CENTER RD                                                                          DEXTER             MI   48130‐8516
SELTZ‐RICE, MARILEE K            4110 ORCHARD HILL DR                                                                           BLOOMFIELD         MI   48304‐3248
SELTZER CAPLAN WILKINS &         750 B ST STE 2100                    MCMAHON                                                   SAN DIEGO          CA   92101‐8177
SELTZER DALE                     12130 WASHBURN RD                                                                              COLUMBIAVILLE      MI   48421‐9360
SELTZER, DALE M                  12130 WASHBURN RD                                                                              COLUMBIAVILLE      MI   48421‐9360
SELTZER, DALE MARK               12130 WASHBURN RD                                                                              COLUMBIAVILLE      MI   48421‐9360
SELTZER, DURWOOD L               LANIER & WILSON L.L.P.               1331 LAMAR, SUITE 675                                     HOUSTON            TX   77010
SELTZER, ELIZABETH A             90 CATIE CIR                                                                                   STOCKBRIDGE        GA   30281‐6028
SELTZER, LISA R                  12130 WASHBURN RD                                                                              COLUMBIAVILLE      MI   48421‐9360
SELTZER, LOIS J                  8353 WOOLFIT AVE                                                                               MOUNT MORRIS       MI   48458‐1341
SELTZER, MERLYN L                1416 PORTESUELLO AVE                                                                           SANTA BARBARA      CA   93105‐4625
SELTZER, STUART                  C/O GOLDENBERG HELLER ANTOGNOLI &    2227 S STATE RTE 157                                      EDWARDSVILLE       IL   62025
                                 ROWLAND P C
SELTZER‐PRICE ELIZABETH          90 CATIE CIR                                                                                   STOCKBRIDGE        GA   30281‐6028
SELVA MORRIS                     4900 W WHITE RD                                                                                MUNCIE             IN   47302‐8892
SELVA, STEVE                     25780 DUNDEE RD                                                                                ROYAL OAK          MI   48067‐3047
SELVAGE, NINA F                  206 WEMBLEY DR                                                                                 WARNER ROBINS      GA   31088
SELVAGGI, ETHELINE L             102 5TH STREET                                                                                 BRISTOL            CT   06010‐5337
SELVAGGI, FRANCIS X              4757 WEATHERHILL DR                                                                            WILMINGTON         DE   19808‐1996
SELVAKUMAR VEDAMUTHU             25020 HADLOCK DR                                                                               NOVI               MI   48374‐2553
SELVALA JR, RICHARD L            5 CECIL PL                                                                                     NEW CANAAN         CT   06840‐6404
SELVALA, RICHARD L               3856 WAX MYRTLE RUN                                                                            NAPLES             FL   34112‐3374
SELVARAJ, MARY P                 4164 COLORADO LN                                                                               W BLOOMFIELD       MI   48322‐4421
SELVARAJ, SEBASTINE              31951 PARTRIDGE LANE                 BUILDING 47, APT 21                                       FARMINGTON HILLS   MI   48334
SELVARAJ, SEBASTINE              11105 MARDEN LN                                                                                AUSTIN             TX   78739‐1585
SELVEK, GEORGE R                 82 DONNA RD                                                                                    ROCHESTER          NY   14606‐3237
SELVERA JR, PAUL                 9372 VARODELL DR                                                                               DAVISON            MI   48423‐8608
SELVERA, CONNIE K                2187 ANOKA ST                                                                                  FLINT              MI   48532‐4404
SELVES, MAROWE A                 6103 SANDY LN                                                                                  BURTON             MI   48519‐1309
SELVEY GARBER                    747 MCKINLEY AVE                                                                               BELOIT             WI   53511‐5055
SELVEY, DEMAREE M                4560 EAST EATON ALBANY PIKE                                                                    EATON              IN   47338
SELVEY, GREGORY L                9700 E PATRICK RD                                                                              ALBANY             IN   47320‐9104
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Name                         Address1                             Address2                         Address3           Address4         City              State Zip
SELVEY, GREGORY LEE          9700 E PATRICK RD                                                                                         ALBANY             IN 47320‐9104
SELVEY, RICHARD W            3002 AVENUE G                                                                                             SCOTTSBLUFF        NE 69361‐4419
SELVIA, BILLY F              269 REVOLUTION CT                                                                                         FLINT              MI 48507‐5940
SELVIAN, HELLEN L            APT 301                              444 SOUTH HIGLEY ROAD                                                MESA               AZ 85206‐2174
SELVIAN, HELLEN L            25938 KAY AVENUE                     APT 214                                                              HAYWOOD            CA 94545
SELVIDGE, BILLY R            217 E CAROLINA ST                                                                                         FORTVILLE          IN 46040‐1097
SELVIDGE, SHIRLEY M          4390 GREGOR ST                                                                                            GENESEE            MI 48437‐7701
SELVIDGE, SHIRLEY M          4390 GREGOR                                                                                               GENESEE            MI 48437
SELVIDIO JOSEPH SR           C/O EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR 265 CHURCH STREET                      NEW HAVEN          CT 06510‐7013

SELVIDIO, JOSEPH             EARLY LUDWICK & SWEENEY L.L.C.       ONE CENTURY TOWER, 11TH FLOOR,                                       NEW HAVEN          CT   06508‐1866
                                                                  265 CHURCH STREET
SELVIE, ELLA                 PORTER & MALOUF PA                   4670 MCWILLIE DR                                                     JACKSON           MS    39206‐5621
SELVIG, ARTHUR H             4693 25TH ST                                                                                              DORR              MI    49323‐9726
SELVIG, DARYL T              10584 HOMERICH AVE SW                                                                                     BYRON CENTER      MI    49315‐9710
SELVIG, DAVID J              2417 134TH AVE                                                                                            HOPKINS           MI    49328‐9709
SELVIG, ISABELLA D           10548 HOMERICH AVE SW                                                                                     BYRON CENTER      MI    49315‐9710
SELVIG, J E                  4781 22ND ST                                                                                              BYRON CENTER      MI    49315‐9602
SELVIG, J E                  4781 22ND ST SW                                                                                           BYRON CENTER      MI    49315‐9602
SELVIG, MARY R               1156 REGINA TRL                                                                                           WAYLAND           MI    49348‐1414
SELVIG, MARY R               1156 REGINA TRAIL                                                                                         WAYLAND           MI    49348
SELVIG‐LARSEN, RUTH E        709 DOGLEG DR                        VILLAGE GREEN                                                        MOUNTAIN HOME     AR    72653‐2808
SELVIN C LAYTON              11016 BAY RUN DR                                                                                          LOUISVILLE        KY    40245‐6419
SELVIN LAYTON                11016 BAY RUN DR                                                                                          LOUISVILLE        KY    40245‐6419
SELVIN MCKINNEY              6540 FARM POND CT                                                                                         FLORISSANT        MO    63033‐8126
SELVINLEEN CONLEY            PO BOX 1272                                                                                               MANSFIELD         OH    44901‐1272
SELVOG, CECIL G              321 PRAIRIEWOOD CIR S APT 204                                                                             FARGO             ND    58103‐4644
SELVY JAMES E                C/O GOLDBERG PERSKY & WHITE PC       1030 FIFTH AVENUE                                                    PITTSBURGH        PA    15219
SELVY, KENNETH R             4815 NW HOMESTEAD RD                                                                                      RIVERSIDE         MO    64150‐3593
SELVY, KENNETH R             4815 NORTHWEST HOMESTEAD ROAD                                                                             RIVERSIDE         MO    64150‐3593
SELVY, MICHAEL B             10790 RENO RD                                                                                             OSKALOOSA         KS    66066‐4036
SELVY, MICHAEL BERN          10790 RENO RD                                                                                             OSKALOOSA         KS    66066‐4036
SELWA, SCOTT F               9647 HEMINGWAY                                                                                            REDFORD           MI    48239‐2292
SELWA, SCOTT F.              9647 HEMINGWAY                                                                                            REDFORD           MI    48239‐2292
SELWYN BODDEN                13566 SOUTH CUMBERLAND DRIVE                                                                              BELLEVILLE        MI    48111‐2393
SELWYN R ROGERS              PO BOX 441668                                                                                             DETROIT           MI    48244‐1668
SELWYN REVISH                5952 S ADA ST                                                                                             CHICAGO           IL    60636‐1802
SELWYN ROGERS                PO BOX 441668                                                                                             DETROIT           MI    48244‐1668
SELZ & ASSOCIATES‐MICHIGAN   800 E MANDOLINE AVE                                                                                       MADISON HEIGHTS   MI    48071‐1465
SELZER RAYMOND (130375)      STEPHENSON & THOMPSON                PO BOX 490                       712 DIVISION ST                     ORANGE            TX    77631‐0490
SELZER, DONALD R             12292 WEBSTER RD                                                                                          STRONGSVILLE      OH    44136‐4508
SELZER, ELDA P               7188 LEAF CIR                                                                                             MOUNT MORRIS      MI    48458‐9459
SELZER, GLORIA
SELZER, MICHELLE
SELZER, RAYMOND              STEPHENSON & THOMPSON                PO BOX 490                       712 DIVISION ST,                    ORANGE            TX 77631‐0490
SELZER, ROBERT               BISNAR & CHASE                       1301 DOVE ST STE 760                                                 NEWPORT BEACH     CA 92660‐2476
SELZER, WARD R               7188 LEAF CIR                                                                                             MOUNT MORRIS      MI 48458‐9459
SELZLER, B J
SEM‐COM COMPANY INC          PO BOX 8428                                                                                               TOLEDO            OH 43623‐0428
SEMAAN, ANTHONY              1353 DELTA RD                                                                                             WALLED LAKE       MI 48390‐3716
SEMAAN, ROBERT G             48777 STRAWBERRY KNOLL LN            LANE                                                                 MACOMB            MI 48044‐5639
SEMAC
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Name                       Address1                          Address2            Address3         Address4         City               State Zip
SEMAJ NORTHCUTT            4 PINEDALE CT                                                                           MANSFIELD           TX 76063‐5583
SEMAJE BONNER              420 SO CLYMAE AVE                                                                       COMPTON             CA 90220
SEMAK, DAVID J.            9915 KINGS VLY                                                                          CLARKSTON           MI 48348‐4192
SEMAK, DOROTHY J           46 DARTMOUTH AVE                                                                        AVENEL              NJ 07001‐1807
SEMAK, MARY T              222 ARCH STREET                                                                         SYRACUSE            NY 13206‐3106
SEMAK, MARY T              222 ARCH ST                                                                             SYRACUSE            NY 13206‐3106
SEMAK, ROBERT N            424 LIGHT TOWER CT                                                                      BELLEVILLE          MI 48111‐4475
SEMAK, THEODORE            745 RT 989                                                                              FREEDOM             PA 15042
SEMAK, TRICIA L            9915 KINGS VLY                                                                          CLARKSTON           MI 48348‐4192
SEMAN JR, FRANK J          2932 NANTUCKET DR                                                                       WILLOUGHBY          OH 44094‐7676
SEMAN JR, JOSEPH E         9032 CHALFONTE DR NE                                                                    WARREN              OH 44484‐2108
SEMAN JR, ROBERT A         6468 W CALLA RD                                                                         CANFIELD            OH 44406‐8318
SEMAN, ANGELINE            32743 MACKENZIE                                                                         WESTLAND            MI 48185‐1551
SEMAN, ANNA P              PO BOX 717                                                                              TAWAS CITY          MI 48764‐0717
SEMAN, BARBARA A.          1191 NAPA RIDGE DR                                                                      DAYTON              OH 45458
SEMAN, DANIEL W            4225 EASTPORT DR                                                                        BRIDGEPORT          MI 48722‐9607
SEMAN, DONALD              3880 LONE RD                                                                            FREELAND            MI 48623‐8917
SEMAN, JAMES R             2828 WYNES ST                                                                           SAGINAW             MI 48602‐3730
SEMAN, JOHN F              32743 MACKENZIE DR                                                                      WESTLAND            MI 48185‐1551
SEMAN, KENNETH H           7695 SR #5                                                                              RAVENNA             OH 44266
SEMAN, LAWRENCE A          1795 CORTLAND LN                                                                        BROADVIEW HTS       OH 44147‐3607
SEMAN, LAWRENCE A          PO BOX 470271                                                                           BROADVIEW HTS       OH 44147‐0271
SEMAN, LILLIAN R           4850 GRATIOT RD                                                                         SAGINAW             MI 48638‐6202
SEMAN, LILLIAN R           4850 GRATIOT ROAD                                                                       SAGINAW             MI 48638‐6202
SEMAN, LINDA CATHERINE     207 WATER ST                                                                            WEST MILTON         OH 45383‐1437
SEMAN, MARY J              25936 HILLIARD BLVD                                                                     WESTLAKE            OH 44145‐3314
SEMAN, MICHAEL G           5685 CHENOWETH RD                                                                       WAYNESVILLE         OH 45068‐9179
SEMAN, PAUL                2102 DEINDORFER ST                                                                      SAGINAW             MI 48602‐5021
SEMAN, RICHARD G           26208 HICKORY LN                                                                        OLMSTED FALLS       OH 44138‐2732
SEMAN, ROBERT D            8461 BELLE BLUFF DR                                                                     GRAND BLANC         MI 48439‐8879
SEMAN, ROBERT G            1730 SUNSHINE LN                                                                        DEFIANCE            OH 43512‐3606
SEMAN, SHIRLEY B           2250 COACH DR APT D                                                                     KETTERING           OH 45440‐2738
SEMAN, SHIRLEY B           2250D COACH DRIVE                                                                       KETTERING           OH 45440‐2738
SEMANCIK JR, JOHN G        7817 BERKSHIRE PINES DR                                                                 NAPLES              FL 34104‐7442
SEMANCIK, VINCENZA         2098 CLUB CREST WAY                                                                     HENDERSON           NV 89014‐5501
SEMANCO, CAROL P           416 S COLONIAL DR                                                                       CORTLAND            OH 44410‐1306
SEMANCO, MICHAEL E         416 S COLONIAL DR                                                                       CORTLAND            OH 44410‐1306
SEMANIC, ROSEMARY D        19957 S SPRUCE DR                                                                       FRANKFORT            IL 60423‐6911
SEMANICK, WALTER M         2497 INDIGO DR                                                                          CLEARWATER          FL 33763‐1321
SEMANISIN, CHRISTOPHER J   2461 WINSTON DR                                                                         STERLING HEIGHTS    MI 48310‐5846
SEMANISIN, RONALD M        35266 BRIGHTON DR                                                                       STERLING HTS        MI 48310‐7409
SEMANS, WILLIS C           1405 E OLIVER ST                                                                        OWOSSO              MI 48867‐9697
SEMANS, WILLIS CLINTON     1405 E OLIVER ST                                                                        OWOSSO              MI 48867‐9697
SEMANY, JOHN D             3619 LANDSDOWN AVE                                                                      NAPERVILLE           IL 60564‐8323
SEMARK, DAVID W            5178 REID RD                                                                            SWARTZ CREEK        MI 48473‐9418
SEMARK, MICHAEL D          5098 SCHOOL ST                                                                          SWARTZ CREEK        MI 48473‐1264
SEMARK, MICHAEL DAVID      5098 SCHOOL ST                                                                          SWARTZ CREEK        MI 48473‐1264
SEMARY, JOSEPH J           4020 W 63RD ST                                                                          CLEVELAND           OH 44144‐1505
SEMASHKO, PETER L          1825 CHABLEAU CT SW                                                                     WYOMING             MI 49519‐4990
SEMASHKO, PETER LOUIS      1825 CHABLEAU CT SW                                                                     WYOMING             MI 49519‐4990
SEMBACH, CLARA O           241 ELIZABETH ST.                                                                       NEWTON FALLS        OH 44444‐1058
SEMBER, BETTY A            896 HARTFORD RD                                                                         SHARPSVILLE         PA 16150‐9655
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Name                        Address1                            Address2                  Address3   Address4         City                 State Zip
SEMBER, CYNTHIA M           309 W NORTH ST                                                                            SAINT CHARLES         MI 48655‐1126
SEMBER, MICHAEL J           7995 BROOKWOOD ST NE                                                                      WARREN                OH 44484‐1546
SEMBLER, SADIE E            6086 KINGSHIRE RD.                                                                        GRAND BLANC           MI 48439
SEMBLEX CORP                BILL BLATTNER                       199 WEST DIVERSEY                                     BURLINGTON            NC 27217
SEMBLEX CORP                199 W DIVERSEY AVE                                                                        ELMHURST               IL 60126‐1162
SEMBLEX CORPORATION         199 W DIVERSEY AVE                                                                        ELMHURST               IL 60126‐1103
SEMBLEX CORPORATION
SEMBLEX/ELMHURST            199 W DIVERSEY AVE                                                                        ELMHURST             IL   60126‐1103
SEMBRAT, CURTIS S           50 DEAN ST                                                                                CARNEGIE             PA   15106‐2805
SEMCHEE, HARRY T            1203 W COUNTY LINE RD                                                                     MINERAL RIDGE        OH   44440‐9759
SEMCHEE, KEVIN C            13905 GLADSTONE RD                                                                        NORTH JACKSON        OH   44451‐9611
SEMCHEE, MICHAEL A          3835 NEW RD                                                                               AUSTINTOWN           OH   44515‐4625
SEMCHEE, RUSSELL            3632 BURKEY RD                                                                            YOUNGSTOWN           OH   44515‐3335
SEMCHEE, RUSSELL D          3552 PANIN RD                                                                             HERMITAGE            PA   16148‐3667
SEMCHEE, THERESA M          3632 BURKEY RD                                                                            YOUNGSTOWN           OH   44515‐3335
SEMCHENA, MICHAEL C         38912 WOODMONT DR                                                                         STERLING HTS         MI   48310‐3237
SEMCIR                      ATTN: PAT BRAGG                     3011 W GRAND BLVD # 200                               DETROIT              MI   48202‐3068
SEMCO ENERGY, INC.          CHRIS KOWALSKI                      1411 3RD ST                                           PORT HURON           MI   48060
SEMCO ENTERPRISES INC       705 E BUS 83                        PO BOX H                                              PHARR                TX   78577
SEMCO ENTERPRISES INC       SEMCO MFG CO                        705 E BUS 83                                          PHARR                TX   78577
SEMCO INC                   1025 POLE LANE RD                                                                         MARION               OH   43302‐8524
SEMCO INC                   1025 POLE LANE RD                   PO BOX 561                                            MARION               OH   43302‐8524
SEMCO PRODUCTIONS LLC       1130 HIGHTOWER TRL                                                                        ATLANTA              GA   30350‐2910
SEMEARIA BLACKMON           1911 PERKINS ST                                                                           SAGINAW              MI   48601‐2030
SEMEED MISTY                SEMEED, MISTY                       4115 HIGHWAY 336                                      PONTOTOC             MS   38863
SEMEED, MISTY               4115 HIGHWAY 336                                                                          PONTOTOC             MS   38863‐8500
SEMEHEE RUSSELL (494190)    CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                 CLEVELAND            OH   44113‐1328
                            COONE AND ASSOCIATES
SEMEHEE, RUSSELL            CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                 CLEVELAND            OH 44113‐1328
                            COONE AND ASSOCIATES
SEMELKA, ROGER G            7310 US HIGHWAY 301 N APT 96                                                              ELLENTON             FL 34222
SEMELSBERGER, KATHLEEN R    2762 BRIDLE RD                                                                            BLOOMFIELD HILLS     MI 48304‐1608
SEMEN ZAITCHIK
SEMENENKO, VLADIMIR         367 HEWITT AVE                                                                            TRENTON              NJ   08611‐3229
SEMENICK, FRANCIS R         1024 N HURON RTE 23                                                                       TAWAS CITY           MI   48763
SEMENIK, AUGUSTINE          5316 SIR CHURCHILL DR                                                                     LEESBURG             FL   34748‐2308
SEMENIK, CYNTHIA S          5352 SIR CHURCHILL DR                                                                     LEESBURG             FL   34748‐2308
SEMENIUK, JENNIE            14303 DENNE ST                                                                            LIVONIA              MI   48154‐4360
SEMENIUK, MARIE M           17085 RUDGATE                                                                             SOUTHGATE            MI   48195‐2863
SEMENIUK, MARIE M           17085 RUDGATE ST                                                                          SOUTHGATE            MI   48195‐2863
SEMENKEWITZ, JENNIFER J     2963 MAJESTIC OAKS LN                                                                     GREEN COVE SPRINGS   FL   32043‐8325
SEMENKEWITZ, STEVEN W       2963 MAJESTIC OAKS LN                                                                     GREEN COVE SPRINGS   FL   32043‐8325
SEMENKOW PAUL (466304)      SIMMONS FIRM                        PO BOX 521                                            EAST ALTON           IL   62024‐0519
SEMENKOW, PAUL              SIMMONS FIRM                        PO BOX 521                                            EAST ALTON           IL   62024‐0519
SEMENTA, EUGENE A           366 JUDY ANN DR                                                                           ROCHESTER            NY   14616‐1946
SEMENTELLI JR, BERNARD N    6112 UNGERER ST                                                                           JUPITER              FL   33458‐6606
SEMENUK, CAROL C            10411 W BUNZEL AVE                                                                        HALES CORNERS        WI   53130‐2121
SEMER, DOUGLAS W            2303 VIA CLAVEL                                                                           SAN CLEMENTE         CA   92673‐3737
SEMER, GARY T               449 PACIFIC ST                                                                            PLYMOUTH             MI   48170‐1140
SEMER, THOMAS M             6855 YOUNGSTOWN PITTSBURGH RD                                                             POLAND               OH   44514‐3751
SEMERAD, RUDOLPH J          1116 MANOR DR                                                                             JANESVILLE           WI   53548‐6805
SEMERARO CARMELO (472747)   WEITZ & LUXENBERG                   180 MAIDEN LANE                                       NEW YORK             NY   10038
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Name                              Address1                            Address2                     Address3                    Address4         City               State Zip
SEMERARO, CARMELO                 WEITZ & LUXENBERG                   180 MAIDEN LANE                                                           NEW YORK            NY 10038
SEMERARO, EDWARD S                17837 COURTNEY RD                                                                                             BELOIT              OH 44609‐9743
SEMERARO, JOSETTE S               143 BLOSSOM LN                                                                                                NILES               OH 44446‐2030
SEMERSKY ENTERPRISES              SEMERSKY ENTERPRISES, SAAB EXCHANGE ERNIE SEMERSKY               1 SHERWOOD TER                               LAKE BLUFF           IL 60044‐2205

SEMERSKY ENTERPRISES              ATTN: ERNIE SEMERSKY                  ONE SHERWOOD TERRACE                                                    LAKE BLUFF         IL   60044
SEMERSKY ENTERPRISES              1407 HARLEM BLVD                                                                                              ROCKFORD           IL   61103‐7135
SEMERTZIDES, IOANNIS              10 MALSTORME RD                                                                                               WAPPINGERS FALLS   NY   12590‐3014
SEMERTZIDES, JANE                 10 MALSTORME RD                                                                                               WAPPINGERS FALLS   NY   12590‐3014
SEMETIS, MARILYN K                2092 TABOR MOUNTAIN RD                                                                                        JESSIEVILLE        AR   71949‐9609
SEMETKOSKEY, GEORGE M             28 TIM TAM TER                                                                                                WEST SENECA        NY   14224‐1623
SEMEYN, JOYCE A                   693 WESTSHIRE CT NW                                                                                           COMSTOCK PARK      MI   49321‐9327
SEMFLEX INC                       5550 E MCDOWELL RD                                                                                            MESA               AZ   85215‐9605
SEMI ANALYTICS                    555 BRYANT ST                         M/S 546                                                                 PALO ALTO          CA   94301‐1704
SEMI SERVICE INC.                 MICHAEL ANDERSON                      1082 S. 200 WEST                                                        SALT LAKE CITY     UT   84101
SEMI SERVICE, INC.                1082 S 300 W                                                                                                  SALT LAKE CITY     UT   84101‐3044
SEMI SERVICE, INC.
SEMI‐ANALYTICS                    555 BRYANT ST M/S 546                                                                                         PALO ALTO          CA   94301
SEMIAN JR, ANDREW                 417 2ND ST                                                                                                    GLASSPORT          PA   15045‐1352
SEMIAN, STANTON                   6651 WOODSTREAM CT                                                                                            WASHINGTON         MI   48094‐3428
SEMICH, BRIAN J                   829 PIONEER WOODS DR                                                                                          INDIANAPOLIS       IN   46224
SEMICH, VIVIAN                    580 NE 42ND ST                                                                                                OCALA              FL   34479‐2316
SEMIDEI, LEONILDA                 8374 DUNNELON RD                                                                                              WEEKI‐WACHI        FL   34613
SEMIDEI, LEONILDA                 1520 SMOKE HILL DR                                                                                            HOSCHTON           GA   30548‐1753
SEMIDEY ANA                       2310 STONEBURG CT                                                                                             SUGAR LAND         TX   77479
SEMIEN JOHN                       535 SCOTTSHILL                                                                                                MILFORD            MI   48381‐3429
SEMIEN, JAMES                     THE LIPMAN LAW FIRM                    5915 PONCE DE LEON BLVD   SUITE 44                                     CORAL GABLES       FL   33146
SEMIEN, JOHN P                    535 SCOTTSHILL                                                                                                MILFORD            MI   48381‐3429
SEMIK THOMAS                      23528 WOODSHIRE CT                                                                                            NOVI               MI   48375‐3780
SEMIK, THOMAS E                   23528 WOODSHIRE CT                                                                                            NOVI               MI   48375‐3780
SEMIKRON INC                      11 EXECUTIVE DR                                                                                               HUDSON             NH   03051‐4903
SEMIKRON INC                      11 EXECUTIVE DR                        PO BOX 66                                                              HUDSON             NH   03051‐4903
SEMINAR INFORMATION SERVICE INC   17752 SKY PARK CIR STE 210                                                                                    IRVINE             CA   92614‐4469
SEMINARA, FRANK P                 8300 PASEO VISTA DRIVE                                                                                        LAS VEGAS          NV   89128‐8243
SEMINARA, PHILLIP G               2921 FAIRVIL AVE SE                                                                                           WARREN             OH   44484‐3214
SEMINATORE, GLADYS R              PO BOX 13                                                                                                     LOVELAND           OH   45140‐0013
SEMINATORE, RAYMOND L             6557 PAXTON GUINEA RD                                                                                         LOVELAND           OH   45140‐8135
SEMINOLE CO TAX COLLECTOR         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 630                SEMINOLE CO TAX COLLECTOR                    SANFORD            FL   32772‐0630

SEMINOLE COMMUNITY COLLEGE        BUSINESS OFFICE                       100 WELDON BLVD                                                         SANFORD            FL   32773‐6132
SEMINOLE COUNTY TAX COLLECTOR     PO BOX 630                                                                                                    SANFORD            FL   32772‐0630
SEMINOLE COUNTY TREASURER         PO BOX 1340                                                                                                   WEWOKA             OK   74884‐1340
SEMINOLE ENERGY SERVICES          DEPARTMENT 1886                                                                                               TULSA              OK   74182
SEMINOLE ENERGY SERVICES          1323 E 71ST ST STE 300                                                                                        TULSA              OK   74136‐5068
SEMINOLE ENERGY SERVICES          ATTN: LEGAL DEPARTMENT                303 EAST 17TH AVENUE                                                    DENVER             CO   80203
SEMINOLE ENERGY SERVICES OK       DEPARTMENT 1886                                                                                               TULSA              OK   74182
SEMINOLE STATE COLLEGE            PO BOX 351                                                                                                    SEMINOLE           OK   74818‐0351
SEMINOLE TIRE COMPANY INC         624 US 27 S                                                                                                   LAKE PLACID        FL   33852‐7927
SEMION BENDERSKY                  5143 55TH STREET CIR W                                                                                        BRADENTON          FL   34210‐4924
SEMIREE POPE                      125 N 8TH AVE                                                                                                 PURCELL            OK   73080‐4024
SEMISOUTH                         201 RESEARCH BLVD                                                                                             STARKVILLE         MS   39759‐7704
SEMISOUTH LABORATORIES INC        201 RESEARCH BLVD                                                                                             STARKVILLE         MS   39759‐7704
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Name                               Address1                           Address2                           Address3   Address4         City               State Zip
SEMIZIAN, AGAVNI A                 6389 SAUNDERS ST APT 4L                                                                           REGO PARK           NY 11374‐3115
SEMKE, GARY C                      2981 E GARRISON RD                                                                                DURAND              MI 48429‐9126
SEMKO, MARY R                      3961 NEW RD                                                                                       YOUNGSTOWN          OH 44515‐4628
SEMKO, MARY R                      3961 NEWROAD                                                                                      YOUNGSTOWN          OH 44515‐4628
SEMLER, DONNA J                    9829 W 1100 N                                                                                     GREENFIELD          IN 46140
SEMLER, FRANCES F                  1820 IRONWOOD DR                                                                                  FAIRBORN            OH 45324‐2806
SEMLER, JACOB A                    31200 SHAKER CIR                                                                                  WESLEY CHAPEL       FL 33543‐7895
SEMLER, LOUELLA K                  18626 TRANQUILITY DR                                                                              HUMBLE              TX 77346‐8157
SEMLER, NELSON L                   8460 VALLEY RD                                                                                    BERKELEY SPRINGS    WV 25411‐6246
SEMLER, NELSON LEROY               8460 VALLEY RD                                                                                    BERKELEY SPRINGS    WV 25411‐6246
SEMLER, ROBERT E                   5024 GOLDEN RD                                                                                    TOLEDO              OH 43615‐4715
SEMMEL, DONALD H                   1671 ROCHESTER ST APT 15                                                                          LIMA                NY 14485
SEMMEL, M                          1610 10TH AVE SOUTH                                                                               ANOKA               MN 55303‐2630
SEMMELROTH MAX BENJAMIN (439494)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA 23510
                                                                      STREET, SUITE 600
SEMMELROTH, MAX BENJAMIN           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                      STREET, SUITE 600
SEMMENS AUTOMATIC TRANSMISSIONS    2809 LAPEER RD                                                                                    FLINT              MI 48503‐4300

SEMMES BOWEN & SEMMES              250 W PRATT ST                                                                                    BALTIMORE          MD 21201
SEMMES BOWEN & SEMMES ATTORNEYS    25 S CHARLES ST STE 1400                                                                          BALTIMORE          MD 21201‐3328
AT LAW
SEMMIONS, DARLENE T                717 NE 31ST ST                                                                                    OKLAHOMA CITY      OK 73105‐7526
SEMMLER ECKART                     SCHURZELTER WINKEL 31                                                                             AACHEN                52074
SEMMLER, JULIANA J                 1826 BEELER AVE                                                                                   SPEEDWAY           IN 46224‐5509
SEMMON, HENRY J                    3020 SOUNDING DR                                                                                  EDGEWOOD           MD 21040‐2906
SEMOCK, JOSEPH J                   232 TIMBER TRL                                                                                    MEDINA             OH 44256‐2163
SEMOINE PETERS                     3714 LEXINGTON DR                                                                                 AUBURN HILLS       MI 48326‐3975
SEMON JOHNSON JR                   PO BOX 2114                                                                                       SANDUSKY           OH 44871‐2114
SEMON RICHARD C (413873)           WEITZ & LUXENBERG                  180 MAIDEN LANE                                                NEW YORK           NY 10038
SEMON, CHARLENE Y                  7095 ELMWOOD DR                                                                                   GRAND BLANC        MI 48439‐2302
SEMON, FREDERICK R                 145 ANN ST APT 4                                                                                  CLARENDON HLS      IL 60514‐1473
SEMON, HELEN                       8334 WINDING WOODS DRIVE                                                                          PORT RICHEY        FL 34668‐3062
SEMON, PAUL H                      7095 ELMWOOD DR                                                                                   GRAND BLANC        MI 48439‐2302
SEMON, RICHARD C                   WEITZ & LUXENBERG                  180 MAIDEN LANE                                                NEW YORK           NY 10038
SEMON, RICHARD J                   1117 HAZELWOOD AVE SE                                                                             WARREN             OH 44484‐4345
SEMON, SHARYN E                    419 FREDERICK ST                                                                                  N TONAWANDA        NY 14120
SEMONES WILLIAM L (460178)         DUFFY & ASSOCS JOHN J              23823 LORAIN RD                                                NORTH OLMSTED      OH 44070
SEMONES, SONNY                     21 GOLDEN AVE APT G7                                                                              DEER PARK          NY 11729‐7317
SEMONOVICH, JEFFREY T              LOWE EKLUND WAKEFIELD L.L.P.       610 SKYLIGHT OFFICE TOWER , 1660                               CLEVELAND          OH 44113
                                                                      WEST SECOND ST
SEMONOVICH, PATRICIA
SEMONOVICH, WILLIAM J
SEMONS, ROBERT A                   4707 FAIRPARK AVE                                                                                 DAYTON             OH   45431‐1021
SEMONS, ROBERT ALLEN               4707 FAIRPARK AVE                                                                                 DAYTON             OH   45431‐1021
SEMONS,ROBERT ALLEN                4707 FAIRPARK AVE                                                                                 DAYTON             OH   45431‐1021
SEMORIA YARBOUGH                   3662 DECAMP DRIVE                                                                                 INDIANAPOLIS       IN   46226‐7017
SEMOS, PATRICIA A                  5908 SW 112TH PLACE RD                                                                            OCALA              FL   34476
SEMOS, VIRGINIA G                  33400 BORDMAN RD                                                                                  RICHMOND           MI   48062‐2306
SEMOTINK, LOUISE                   774 CANNON AVE                                                                                    SAINT PAUL         MN   55126‐3827
SEMOTUS SOLUTIONS INC              718 UNIVERSITY AVE STE 110                                                                        LOS GATOS          CA   95032‐7608
SEMOUR & MARLENE BERLIN            200 SAINT ANDREWS ROAD                                                                            HOLLYWOOD          CA   33021‐2913
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Name                              Address1                        Address2                     Address3   Address4                 City              State Zip
SEMPECK JR, JOSEPH C              23 DEEP CHANNEL DR                                                                               BERLIN             MD 21811‐9624
SEMPER JANICE DENISE              5501 TRENT STREET                                                                                CLINTON            MD 20735‐2421
SEMPLE JR, JAMES P                20 BANBURY DR                                                                                    YOUNGSTOWN         OH 44511‐3602
SEMPLE, BRYAN C                   2737 ELSIE AVE                                                                                   TOLEDO             OH 43613‐3335
SEMPLE, CECELIA B                 17181 ULLRICH RD                                                                                 MARION             TX 78124‐6649
SEMPLE, CLIFFORD E                406 N HAMPTON DR                                                                                 DURAND             MI 48429‐1412
SEMPLE, DIMPLE C                  2505 PECAN DR                                                                                    GRAND PRAIRIE      TX 75050‐1622
SEMPLE, GREGORY J                 3142 MORRISH RD                                                                                  SWARTZ CREEK       MI 48473‐9788
SEMPLE, J D                       6457 BOBBY JONES LN                                                                              WOODRIDGE           IL 60517‐5404
SEMPLE, J DAVID                   6457 BOBBY JONES LN                                                                              WOODRIDGE           IL 60517‐5404
SEMPLE, JAMES R                   2734 ELDORA DR                                                                                   TOLEDO             OH 43613‐2622
SEMPLE, JAMES ROBERT              2734 ELDORA DR                                                                                   TOLEDO             OH 43613‐2622
SEMPLE, KAREN M                   2734 ELDORA DR                                                                                   TOLEDO             OH 43613‐2622
SEMPLE, MATTHEW                   4 CANTERA CIR                                                                                    GREENVILLE         SC 29615‐6199
SEMPLE, PHILIP A                  5476 HIXON AVE                                                          BURLINGTON ONTARIO
                                                                                                          CANADA L7L‐3S2
SEMPLE, THOMAS H                  3255 BROOKSIDE LN                                                                                ENCINITAS          CA   92024‐6904
SEMPLICE, GREGORY P               4 SOUCY DR #                                                                                     BRISTOL            CT   06010
SEMPLINSKI, JAMES P               4816 HIDDEN HARBOUR BLVD                                                                         FORT MYERS         FL   33919‐3325
SEMPOSKI, GEORGE R                1876 SOLON                                                                                       CEDAR SPRINGS      MI   49319‐8480
SEMPRA ENERGY                     BILL ISING                      1801 S ATLANTIC BLVD                                             MONTEREY PARK      CA   91754‐5207
SEMPRA METALS LIMITED             FOUR MILLBANK                   SW1P 3JA WESTMINTER LONDON              UNITED KINGDOM GREAT
                                                                                                          BRITAIN
SEMPRA METALS STRUCTURED PRODUCTS
INC.
SEMPRESS CANADA INC               3580A WOLFEDALE RD                                                      MISSISSAUGA ON L5C 2V6
                                                                                                          CANADA
SEMPRICH, MARK J                  210 W CAYUGA TRL                                                                                 SANDUSKY          OH    44870‐6218
SEMPRICH, PAUL A                  3403 SO HAYES AVE                                                                                SANDUSKY          OH    44870
SEMPROCH, AMELIA H                2036 VALLEY BROOK RD                                                                             STREETSBORO       OH    44241‐5831
SEMPSROTT JASON                   7124 BOXWOOD AVENUE NORTHEAST                                                                    ALBUQUERQUE       NM    87113‐2193
SEMPSROTT, RALPH L                RR 1 BOX 134C                                                                                    FREEDOM           IN    47431
SEMRAD, EDWARD V                  1728 W EL RANCHO DR                                                                              MEQUON            WI    53092‐5627
SEMRAU RAYMOND ESTATE OF          45841 KENSINGTON STREET                                                                          UTICA             MI    48317‐5958
SEMRAU, ANDREW L                  8283 SHEPARDSVILLE RD                                                                            LAINGSBURG        MI    48848‐9431
SEMRAU, BETTY L                   8611 N 67TH AVE APT 214                                                                          GLENDALE          AZ    85302‐4319
SEMRAU, BETTY L                   8611 NORTH 67 AVE               APT 214                                                          GLENDALE          AZ    85302
SEMRAU, CINDY L                   3710 HOLLYHOCK DR                                                                                WEST BLOOMFIELD   MI    48322‐1740
SEMRAU, DAVID M                   224 DUNLOP AVE                                                                                   TONAWANDA         NY    14150‐7840
SEMRAU, DENNIS J                  360 MCKINLEY AVE                                                                                 KENMORE           NY    14217‐2422
SEMRAU, GEOFFREY E                3710 HOLLYHOCK DR                                                                                WEST BLOOMFIELD   MI    48322‐1740
SEMRAU, GREG                      1024 HUBBLE DR                                                                                   HOLLY             MI    48442‐1031
SEMRAU, GREG L                    1207 PEMBINE ST                                                                                  NOVI              MI    48377‐1847
SEMRAU, JAMES R                   263 BRAY RD                                                                                      ARCADE            NY    14009‐9425
SEMRAU, JAMES ROBERT              263 BRAY RD                                                                                      ARCADE            NY    14009‐9425
SEMRAU, KIMBERLEY J               21851 ARMADA CENTER RD                                                                           ARMADA            MI    48005‐2601
SEMRAU, LORRAINE                  45841 KENSINGTON STREET                                                                          UTICA             MI    48317‐5958
SEMRAU, ROBERT F                  8007 KROUSE RD                                                                                   OVID              MI    48866‐9568
SEMRAU, SCOTT K                   402 AVALON CREEK BLVD                                                                            VIENNA            OH    44473‐9547
SEMRAU, SCOTT L                   8311 SHERWOOD DR                                                                                 GRAND BLANC       MI    48439‐8391
SEMRAU, SHARON M                  5144 STATE ROUTE 250 LOT # 86                                                                    NORWALK           OH    44857
SEMRAU, SHARON M                  5144 US HIGHWAY 250 N LOT 86                                                                     NORWALK           OH    44857‐9308
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Name                        Address1                           Address2                      Address3   Address4             City            State Zip
SEMRAU, STEVEN P            1700 E JASON RD                                                                                  SAINT JOHNS      MI 48879‐9124
SEMRAU, STEVEN PATRICK      1700 E JASON RD                                                                                  SAINT JOHNS      MI 48879‐9124
SEMRAU, THOMAS W            10198 CARMER RD                                                                                  FENTON           MI 48430‐2404
SEMRAU, WALDEMAR R          61256 N RIDGE TRL                                                                                WASHINGTON       MI 48094‐1125
SEMRAU, WILLIAM R           27 N SEINE DR                                                                                    CHEEKTOWAGA      NY 14227‐2418
SEMREN, ELIZABETH           8307 BRITTANY HILL COURT                                                                         GRAND BLANC      MI 48439‐1938
SEMREN, ELIZABETH           2406 BENNETT AVE                                                                                 FLINT            MI 48506‐3657
SEMRO, STEVE C              131 WESTMORELAND DR                                                                              BULL SHOALS      AR 72619‐4335
SEMROC, MICKI               156 MAPLE AVE                                                                                    CORTLAND         OH 44410‐1223
SEMROW, FREDERICK E         57 EVERGREEN RD                                                                                  CROMWELL         CT 06416‐1638
SEMROW, IRENE               16 MAIN STREET                                                                                   BURLINGTON       CT 06013‐2216
SEMROW, JOHN T              11 GOSHEN CT                                                                                     BRISTOL          CT 06010
SEMS, THEODORE              2831 N LAKE PLEASANT RD                                                                          HILLSDALE        MI 49242‐9786
SEMSARZADEH ABED (664242)   BIFFERATO GENTILOTTI & BIDEN       PO BOX 2165                                                   WILMINGTON       DE 19899‐2165
SEMSARZADEH, ABED           BIFFERATO GENTILOTTI & BIDEN       PO BOX 2165                                                   WILMINGTON       DE 19899‐2165
SEMSKI, ANTHONY A           7 HOPEMAN LN                                                                                     BELLA VISTA      AR 72715‐4810
SEMTECH SOLUTIONS INC       PO BOX 2155                                                                                      NATICK           MA 01760‐0016
SEMTECH SOLUTIONS INC       6 EXECUTIVE PARK DR                PO BOX 2155                                                   NATICK           MA 01760
SEMTNER EVALINE (662772)    SIMMONS FIRM                       PO BOX 521                                                    EAST ALTON        IL 62024‐0519
SEMTNER, EVALINE            SIMMONS FIRM                       PO BOX 521                                                    EAST ALTON        IL 62024‐0519
SEMTORQ INC
SEMTORQ INC                 PO BOX 895                                                                                       AURORA          OH    44202‐0895
SEMTORQ INC                 395 GENTRY DR                      PO BOX 895                                                    AURORA          OH    44202‐7540
SEMTORQ/BOX 46406           PO BOX 46406                                                                                     BEDFORD         OH    44146‐0406
SEMWILE, GEORGE J           185 S JOHNSON ST                                                                                 PONTIAC         MI    48341‐1620
SEMYON SHARF                2036 HYTHE BLDG. B                                                                               BOCA RATON      FL    33434
SEN ZHOU                    6712 SMITH CT                                                                                    TROY            MI    48098‐1781
SEN, ARONI                  14904 DORIA DR                                                                                   AUSTIN          TX    78728‐4458
SEN, ARONI                  15450 FM 1325                      APT 2623                                                      AUSTIN          TX    78728‐2864
SEN, IRENE E                8808 LIVE OAK AVE                                                                                OCEAN SPRINGS   MS    39564‐8570
SEN, IRENE E                8808 LIVE OAK RD.                                                                                OCEAN SPRINGS   MS    39564‐8570
SEN, PRITISH                1617 CLARK POINT CT                                                                              LAS VEGAS       NV    89134
SEN, RANABRATA              PO BOX 594                                                                                       CUPERTINO       CA    95015
SEN, TAPOSH                 710 W JOY RD                                                                                     ANN ARBOR       MI    48105‐9203
SENA COLE                   G4273 FENTON RD                                                                                  BURTON          MI    48529‐1908
SENA ERNEST G SR (406211)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA    23510
                                                               STREET, SUITE 600
SENA JR, RALPH A            72 FERNCLIFF RD                                                                                  BLOOMFIELD      NJ    07003‐5414
SENA KEPLER                 390 AMSTERDAM DR                                                                                 XENIA           OH    45385‐5348
SENA, ALAN M                5538 WELLBORN CREEK DR                                                                           LITHONIA        GA    30058
SENA, ERNEST G              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA    23510
                                                               STREET, SUITE 600
SENA, GERARDO               560 WILLOW AVE                                                                                   GARWOOD          NJ   07027
SENA, JACK N                71 HIGH MEADOW RD                                                                                MARLBOROUGH      CT   06447
SENA, JAMES A               11 EMPRESS CT                                                                                    FREEHOLD         NJ   07728‐4303
SENA, JAMES A.              11 EMPRESS CT                                                                                    FREEHOLD         NJ   07728‐4303
SENA, PATRICIA D            25182 JEFFERSON CT UNIT 3          C/O ROBERT M SENA                                             SOUTH LYON       MI   48178‐1785
SENAB AB                    REGERINGSGATAN 66                  BOX 7164                                 STOCKHOLM S‐103 88
                                                                                                        SWEDEN
SENAK, GLENNA K             15035 WIND WHISPER DR                                                                            ODESSA          FL 33556‐1799
SENAK, LEONA V              2636 S LOGAN AVE APT 201                                                                         MILWAUKEE       WI 53207‐1856
SENAK, ROBERT J             15035 WIND WHISPER DR                                                                            ODESSA          FL 33556‐1799
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Name                       Address1                         Address2               Address3      Address4              City                State Zip
SENAK, RONALD J            1084 BLACK HAWK TRL                                                                         HOUGHTON LAKE        MI 48629‐8835
SENALDI, JOHN J            29 METACOMET RD                                                                             PLAINVILLE           CT 06062‐1821
SENALL, JOSEPH D           690 WURLITZER DR                                                                            N TONAWANDA          NY 14120‐1949
SENAN KARMO                5344 MARLWOOD CT                                                                            WEST BLOOMFIELD      MI 48323‐2743
SENARD, CAROL K            2104 HOPKINS AVE                                                                            LANSING              MI 48912‐3324
SENART, D F                33943 DAVID DRIVE                                                                           N RIDGEVILLE         OH 44039‐4116
SENAT, IVAN                2464 NW 94TH AVE                                                                            CORAL SPRINGS        FL 33065‐4918
SENATE BUSH                3544 S MERRIMAN RD                                                                          WAYNE                MI 48184‐1990
SENATH BINGAMAN            2671 BABBLE CREEK LN                                                                        O FALLON             MO 63368‐8339
SENATOR TECHNOLOGY GMBH    BURGERMEISTER‐KROGER‐STR 36                                           BUCHHOLZ D‐21244
                                                                                                 GERMANY
SENATOR WILLIAMS           1415 PARKER ST APT 466                                                                      DETROIT             MI    48214
SENATORE JOSEPH            SENATORE, JOSEPH                 80 ORCHARD ST                                              BLOOMFIELD          NJ    07003‐5104
SENATORE JOSEPH            SENATORE, MARY LEE               80 ORCHARD ST                                              BLOOMFIELD          NJ    07003‐5104
SENATORE, BARBARA          138 SQUIRREL TREE LN                                                                        MT LAUREL           NJ    08054‐2112
SENATORE, FERNANDO         546 CENTRAL AVE                                                                             NEEDHAM             MA    02494‐1410
SENATORE, JOSEPH
SENATORE, JOSEPH           BIANCHI & BIANCHI                80 ORCHARD ST                                              BLOOMFIELD           NJ   07003‐5104
SENATORE, MARY LEE         BIANCHI & BIANCHI                80 ORCHARD ST                                              BLOOMFIELD           NJ   07003‐5104
SENATORE, MARY LEE
SENAUTO S.A.               RUE #5, KM 4.5, ROUTE DE R                                            DAKAR SENEGAL
SENAY, DONNA R             3100 POWELL AVE                  APT 734                                                    KANSAS CITY         KS    66106‐2154
SENCHUK, WILLIAM R         1962 PARK RIDGE CT                                                                          HOWELL              MI    48843‐8099
SENCINDIVER JR, HAROLD B   1520 SAWMILL RD                                                                             HEDGESVILLE         WV    25427‐6566
SENCINDIVER, PAUL J        1654 LOST RD                                                                                MARTINSBURG         WV    25403‐0818
SENCO PRODUCTS             MIKE WHITE                       4270 IVY POINTE BLVD                                       CINCINNATI          OH    45245‐0001
SENCORE TELL               4431 BENT TREE RD                                                                           EIGHT MILE          AL    36613‐3754
SENCY, ALICE M             503 N BRIER PATCH LN                                                                        MADISON             OH    44057‐3161
SENCZY, ELIZABETH          10 LAKEVIEW DR                                                                              YARDVILLE           NJ    08620‐1915
SENCZYSZYN, CARL           36229 JAMISON ST                                                                            LIVONIA             MI    48154‐5114
SENCZYSZYN, MARK D         4451 TIMBERLAKE TRL                                                                         HIGHLAND            MI    48357‐2418
SEND RESOURCE CORP         1365 JARVIS ST                                                                              FERNDALE            MI    48220‐2025
SEND WORD NOW              224 WEST 30TH ST STE 500                                                                    NEW YORK            NY    10001
SENDA A HARVEY             P.O. BOX 1789                                                                               WARREN              OH    44482
SENDABA, SHELEME M         25502 NELLIE GAIL RD                                                                        LAGUNA HILLS        CA    92653‐6122
SENDACKI, GENEVIEVE M      15500 18 MILE                    APARTMENT #110                                             CLINTON TOWNSHIP    MI    48038
SENDAI ISUZU MOTORS LTD.   2‐52, ODAWARA 2‐CHOMESENDA                                            SAPPORO JAPAN
SENDEC CORP                72 PERINTON PKWY                                                                            FAIRPORT            NY    14450‐9107
SENDELBACH, CHARLES A      479 BETH PAGE CIR                                                                           CENTERVILLE         OH    45458‐3684
SENDELBACH, JOSEPH D       16124 WEST COUNTY C                                                                         EVANSVILLE          WI    53536
SENDELBACH, MURIETTA       3767 ARGONNE ST                                                                             MOGADORE            OH    44260‐1110
SENDELBACH, RICHARD A      5636 WOODS AVE                                                                              TOLEDO              OH    43623‐1504
SENDELBACH, ROBERT G       248 MAGNOLIA RUN                                                                            LAKE ALFRED         FL    33850‐3528
SENDELL MOTORS, INC.       5079 STATE ROUTE 30                                                                         GREENSBURG          PA    15601‐6978
SENDELL MOTORS, INC.       WILLIAM MOHLER                   5079 STATE ROUTE 30                                        GREENSBURG          PA    15601‐6978
SENDELWECK KEN             711 MAIN ST                                                                                 JASPER              IN    47546‐3042
SENDER GARY                379 SELBY PL                                                                                BLUE BELL           PA    19422‐3231
SENDER, DAVID A            4369 BRYENTON RD                                                                            LITCHFIELD          OH    44253‐9799
SENDO, SCOTTY D            22368 BRIAN ST                                                                              TAYLOR              MI    48180‐2769
SENDRA, JOSE T             530 ROUND HILL RD                                                                           MIDDLETOWN          CT    06457‐6121
SENDRAL, TONYA R           646 SAINT JOSEPH AVENUE                                                                     DAYTON              OH    45410‐2229
SENDROWSKI, JOHN D         13098 O HWY.                                                                                EXCELSIOR SPRINGS   MO    64024
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Name                           Address1                          Address2                         Address3                     Address4                 City                   State Zip
SENDTKO, DANIEL M              1375 S HEMLOCK RD                                                                                                        HEMLOCK                 MI 48626‐9744
SENE, NANCY E                  PO BOX 301                        293 N MAIN ST                                                                          NORTH UXBRIDGE          MA 01538‐0301
SENECA COUNTY TREASURER        109 S WASHINGTON ST STE 2105                                                                                             TIFFIN                  OH 44883‐2891
SENECA FOODS LLC               ANDY SLINDEN                      418 E CONDE ST                                                                         JANESVILLE              WI 53546‐3004
SENECA FREIGHT LINES INC       PO BOX 642                                                                                                               FEASTERVILLE TREVOSE    PA 19053‐0642
SENECA HOLDINGS LTD            885 W GEORGIA ST 19TH FL                                                                        VANCOUVER BC V6C 3H4
                                                                                                                               CANADA
SENECA HOLDINGS LTD.           ATTN: MR. MORLEY KOFFMAN          885 GEORGIA ST W FLOOR 19TH                                   VANCOUVER BC V6C 3H4
                                                                                                                               CANADA
SENECA HOLDINGS LTD.           MORLEY KOFFMAN                    1900‐885 GEORGIA ST W            19TH FLOOR                   VANCOUVER BC V6C 3H4
                                                                                                                               CANADA
SENECA HOLDINGS LTD.           ATTN: MR. MORLEY KOFFMAN          1900‐885 GEORGIA ST W            19TH FLOOR                   VANCOUVER BC V6C 3H4
                                                                                                                               CANADA
SENECA INSURANCE COMPANY INC   ATTN: ERIC GOLDBERG ESQ           KAHN AND GOLDBERG LLP            708 THIRD AVE ‐ 19TH FLOOR                            NEW YORK               NY 10017

SENECA MACH/FREMONT            2300 NAPOLEON RD                                                                                                         FREMONT                OH 43420‐2644
SENECA ST CATHERINES MFG LTD   RR4                               HWY 55                                                        NIAGARA‐ON‐THE‐LAKE ON
                                                                                                                               L0S 1J0 CANADA
SENECA, BARBARA M              7 STONEHEARTH SQ                                                                                                         INDIAN HEAD PARK       IL    60525‐4455
SENECAL, ALBERT                115 FARM ST                                                                                                              BLACKSTONE             MA    01504‐1319
SENECHAL, DAYNA K              13320 S ROBINSON AVE                                                                                                     OKLAHOMA CITY          OK    73170‐1432
SENECHAL, LOUIS A              24415 PATRICIA AVE                                                                                                       WARREN                 MI    48091‐5610
SENECHAL, RONALD L             13811 PHEASANT DR                                                                                                        SHELBY TWP             MI    48315‐4819
SENEDIAK, ALEXANDRIA           345 S BIRCHWOOD DR                                                                                                       NAPERVILLE             IL    60540
SENEDIAK, CHARLES G            4575 DEOPHAM GREEN DR                                                                                                    YOUNGSTOWN             OH    44515‐5337
SENEDIAK, FRANK                528 IMPALA DR                                                                                                            AUSTINTOWN             OH    44515‐3330
SENEDIAK, GREGORY C            528 IMPALA DR                                                                                                            AUSTINTOWN             OH    44515‐3330
SENEDIAK, JOHN                 505 LAKE POINTE TRL                                                                                                      LANEXA                 VA    23089‐6042
SENEDIAK, MARY B               1462 STANLEY ST                                                                                                          GIRARD                 OH    44420‐1351
SENEDIAK, STEPHANIE Y          69 PARADISE BLVD                  HOLIDAY CITY                                                                           TOMS RIVER             NJ    08757‐6439
SENEGAL, JOANN                 2133 BROWNING STREET                                                                                                     BERKLEY                CA    94702‐1821
SENEGAL, REGINA J              11413 30TH AVE N                                                                                                         TEXAS CITY             TX    77591‐2188
SENELIK, RICHARD
SENES CONSULTANT LIMITED       121 GRANTON DRIVE UNIT 12                                                                       RICHMOND HILL ON L4B
                                                                                                                               3N4 CANADA
SENES CONSULTANT LTD           121 GRANTON DR UNIT 12                                                                          RICHMOND HILL ON L4B
                                                                                                                               3N4 CANADA
SENESAC, BRENDA J              70 SAND HILL RD                                                                                                          BRISTOL                 CT   06010‐2932
SENESAC, ROBERT J              70 SAND HILL RD                                                                                                          BRISTOL                 CT   06010‐2932
SENESE SHERRI                  SENSE, SHERRI                     120 WEST MADISON STREET , 10TH                                                         CHICAGO                 IL   60602
                                                                 FLOOR
SENESE, JAMES A                18415 S OLD HIGHWAY 88                                                                                                   CLAREMORE              OK    74017
SENESKI JR, WILLIAM F          9264 N WEBSTER RD                                                                                                        CLIO                   MI    48420‐8544
SENESKI, BERNARD L             14135 D DR                                                                                                               PLYMOUTH               MI    48170‐2307
SENESKI, EUGENE J              4275 ORCHARD BEACH RD                                                                                                    CHEBOYGAN              MI    49721‐9595
SENESKI, ROMAN L               3337 FIELD RD APT 2B                                                                                                     CLIO                   MI    48420‐1182
SENESKI, ROMAN LAWRENCE        APT 2B                            3337 FIELD ROAD                                                                        CLIO                   MI    48420‐1182
SENESKI, SUZANNE               9264 N WEBSTER RD                                                                                                        CLIO                   MI    48420‐8544
SENETRA, FRIEDA N              3669 DOBLESKI RD                                                                                                         ELMIRA                 MI    49730‐9172
SENEY, BARBARA J               PO BOX 918                                                                                                               HARRISON               MI    48625‐0918
SENEY, CHRISTOPHER M           7580 SVL BOX                                                                                                             VICTORVILLE            CA    92395‐5158
SENEY, JAMES A                 172 HUXLEY DR                                                                                                            SNYDER                 NY    14226‐4816
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Name                       Address1                          Address2                      Address3   Address4             City               State Zip
SENEY, JAMES A.            172 HUXLEY DR                                                                                   SNYDER              NY 14226‐4816
SENEY, LOIS                15115 INTERLACHEN DR APT 114                                                                    SILVER SPRING       MD 20906‐5637
SENF, ARTHUR R             2694 E RIVER RD                                                                                 GRAND ISLAND        NY 14072‐2155
SENF, JACK M               C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                                 EDWARDSVILLE         IL 62025‐1972
SENFELDS, LEON             803 W BLACKHAWK DR                                                                              FORT ATKINSON       WI 53538‐1020
SENFF, EUGENE
SENFFNER, WANDA A          1716 BARTHELONE ST                                                                              JOLIET             IL   60403‐2024
SENFT RAYMOND              3433 MEADOW HEAD DR                                                                             CIBOLO             TX   78108‐2240
SENFT, DAVID C             41 ROSLYN DR                                                                                    CHESHIRE           CT   06410‐3641
SENFT, ERICH A             1720 TOWNSEND RD                                                                                LEONARD            MI   48367‐3634
SENFT, JENNIFER L          407 IVY GLEN CT                                                                                 WATERFORD          WI   53185‐4266
SENFT, JOHN W              13 DUNCAN DR                                                                                    TRENTON            NJ   08690‐3107
SENFT, KARL                875 W AVON RD APT 207C                                                                          ROCHESTER HILLS    MI   48307‐2779
SENFT, LOIS R              3055 W MEMORIAL HWY                                                                             UNION GROVE        NC   28689‐9238
SENFT, RODGER A            90B LOST DUTCHMAN DR                                                                            SAINT PETERS       MO   63376‐2533
SENFTLEBEN, REGINA T       53200 PINERIDGE DR                                                                              CHESTERFIELD       MI   48051
SENG TIRE CO               48700 W 12 MILE RD                                                                              WIXOM              MI   48393‐3713
SENG, PATRICIA A           792 S MAIN ST                                                                                   AMHERST            OH   44001‐2116
SENG, WILLIAM H            6456 W MOUNT MORRIS RD                                                                          MOUNT MORRIS       MI   48458‐9431
SENG, WILLIAM H            6456 W MT MORRIS                                                                                MT MORRIS          MI   48458‐9431
SENGER ROBERT J (413518)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510
                                                             STREET, SUITE 600
SENGER, DIANE              5756 ARNOLD RD                                                                                  COTTRELLVILLE      MI   48039‐1300
SENGER, HERMANN J          52816 ARTHUR AVE                                                                                SHELBY TWP         MI   48316‐3120
SENGER, LOIS D             110 OAK WOOD DR                                                                                 RAYMOND            MS   39154
SENGER, MARK J             1390 N STEWART RD                                                                               MANSFIELD          OH   44903‐9786
SENGER, ROBERT E           108 W COLGATE AVE                                                                               PONTIAC            MI   48340‐1143
SENGER, ROBERT J           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510‐2212
                                                             STREET, SUITE 600
SENGER, THELMA I           112 CHIPPER ST                                                                                  BONAIRE            GA   31005‐4491
SENGER, THEODORE J         285 CRESTMOUNT AVE APT 242                                                                      TONAWANDA          NY   14150‐6333
SENGER, THOMAS A           67 ROXLEY PL                                                                                    TONAWANDA          NY   14150‐7435
SENGER, THOMAS ANTHONY     67 ROXLEY PL                                                                                    TONAWANDA          NY   14150‐7435
SENGER, WANDA L            382 BEECH AVE                                                                                   FAIRFIELD          OH   45014‐1612
SENGHAS, JOHN T            503 N MAIN ST                                                                                   BLOOMDALE          OH   44817‐9527
SENGILLO, JEAN P           7 WALPOLE CT                                                                                    FAIRPORT           NY   14450‐4404
SENGILLO, ROBERT S         4 CORINNE LN                                                                                    NORTH CHILI        NY   14514‐9734
SENGIR, GULCIN H           3024 WOODCREEK WAY                                                                              BLOOMFIELD HILLS   MI   48304‐1862
SENGLAUB, DOROTHY          3657 BRADFORD CT                                                                                BLOOMFIELD HILLS   MI   48301‐3352
SENGOS, VASILIOS P         1922 W 39TH ST                                                                                  LORAIN             OH   44053‐2537
SENGPHACHANH, KHAMSY       7 NOBLE CT                                                                                      NEWARK             DE   19713‐2816
SENGSTOCK, LORETTA C       24 ARTHUR AVE                                                                                   CLARENDON HLS      IL   60514‐1106
SENGUPTA ABHIJIT           24622 BOSTON ST                                                                                 DEARBORN           MI   48124‐3118
SENGUPTA, ABHIJIT          24622 BOSTON ST                                                                                 DEARBORN           MI   48124‐3118
SENGUPTA, PADMA            2505 ST. CLAIR AVE                                                         WINDSOR ON N9E 4L9
                                                                                                      CANADA
SENIA GARGAL               5601 HATCHERY RD APT 208                                                                        WATERFORD          MI   48329‐3453
SENIA RYAN                 3700 N MAIN GROVE RD                                                                            ALMA               AR   72921
SENIA, JULIA               1381 OAKLAND ST                                                                                 SAINT CLAIR        MI   48079‐5120
SENIA, RUDOLPH T           PO BOX 393                                                                                      BROOKLYN           MI   49230‐0393
SENIAWSKI, VERA            39 QUAIL LN                                                                                     ROCHESTER          NY   14624‐1066
SENIAWSKI, VERA            39 QUAIL LANE                                                                                   ROCHESTER          NY   14624‐4624
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Name                        Address1                        Address2                     Address3   Address4                 City               State Zip
SENICAL, GLORIA J           2360 BIG ANTLER                                                                                  LEWISTON            MI 49756‐9245
SENICH, TERRANCE A          1002 PALMER WAY                                                                                  MOREHEAD CITY       NC 28557‐8427
SENICK JOHN N (650548)      GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                       EDWARDSVILLE         IL 62025‐0959
                            ANTOGNOLI
SENICK, DOROTHY J           16800 82ND AVE APT 1N                                                                            TINLEY PARK         IL   60477‐2019
SENICK, GEORGE              7755 BRISTOL PARK DR UNIT 2SW                                                                    TINLEY PARK         IL   60477‐5333
SENICK, JOHN N              GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                       EDWARDSVILLE        IL   62025‐0959
                            ANTOGNOLI
SENICK, LAWRENCE E          950 W RIO GUAYMAS                                                                                GREEN VALLEY       AZ    85614‐4034
SENIFF JR, LEO G            710 MACDONALD AVE                                                                                FLINT              MI    48507‐2847
SENIK, DANIEL F             4790 NEW HAVEN DR                                                                                HOWELL             MI    48843‐7884
SENIKER WILLIAM & VICKIE    14199 STAUNTON BUNKER HILL RD                                                                    BUNKER HILL        IL    62014‐2908
SENIOR AUTOMOTIVE           3002 SPENARD RD STE 4                                                                            ANCHORAGE          AK    99503‐3681
SENIOR FLEX/BARTLETT        300 E DEVON AVE                                                                                  BARTLETT           IL    60103‐4608
SENIOR FLEXONICS            MIKE MURPHY                     300 E DEVON AVE                                                  BARTLETT           IL    60103‐4608
SENIOR FLEXONICS            MIKE MURPHY                     300 E. DEVON AVENUE                     BONN, 53229 GERMANY
SENIOR FLEXONICS INC        2980 N SAN FERNANDO BLVD                                                                         BURBANK            CA 91504‐2522
SENIOR NEWPORT              90 MICKEY RD                                                                                     SHELBY             OH 44875‐1765
SENIOR OPERATIONS INC       300 E DEVON AVE                                                                                  BARTLETT           IL 60103‐4608
SENIOR PLC                  SENIOR HOUSE 59/61 HIGH ST      RICKMANSWORTH                           HERTS GB WD3 1RH
SENIOR PLC                                                  SENIOR HOUSE 59/61 HIGH ST              RICKMANSWORTH
                                                                                                    HERTS,GB,WD3 1RH,GREAT
                                                                                                    BRITAIN
SENIOR PLC                  300 E DEVON AVE                                                                                  BARTLETT            IL   60103‐4608
SENIOR PLC                  MIKE MURPHY                     300 E DEVON AVE                                                  BARTLETT            IL   60103‐4608
SENIOR PLC                  MIKE MURPHY                     300 E. DEVON AVENUE                     BONN, 53229 GERMANY
SENIOR PLC                  SENIOR HOUSE 59/61 HIGH ST                                              RICKMANSWORTH HERTS
                                                                                                    WD3 1RH GREAT BRITAIN
SENIOR RESOURCES ALLIANCE   4770 DUKE DR STE 308                                                                             SPRINGDALE         OH    45040‐7516
SENIOR RESOURCES ALLIANCE   RON HALL                        4770 DUKE DR. STE 308                                            MASON              OH    45040‐7516
SENIOR RESOURCES ALLIANCE   RON HALL                        4770 DUKE DR                 STE 308                             MASON              OH    45040‐7516
SENIOR, DALE E              1780 S CENTER BLVD                                                                               SPRINGFIELD        OH    45506‐3154
SENIOR, TIMOTHY A           8773 COOLEY BEACH DR                                                                             WHITE LAKE         MI    48386‐4323
SENIOR, YVONNE              3925 STRANDHILL RD                                                                               CLEVELAND          OH    44128‐1738
SENIORS UNLIMITED           ATTN: SUSAN HATCHER             PO BOX 206                                                       HIGGINS LAKE       MI    48627‐0206
SENISH, CHRISTOPHER A       8818 DUBLIN WAY                                                                                  STERLING HEIGHTS   MI    48314‐2413
SENISH, JENNIFER A          8818 DUBLIN WAY                                                                                  STERLING HEIGHTS   MI    48314‐2413
SENITA A JACKSON            417 E MARENGO AVE                                                                                FLINT              MI    48505‐3363
SENITA JACKSON              417 E MARENGO AVE                                                                                FLINT              MI    48505‐3363
SENITA MURPHY               21103 THORNRIDGE DRIVE                                                                           GRAND BLANC        MI    48439‐9254
SENITCH, JOHN               583 CLINTON AVE                                                                                  BELFORD            NJ    07718‐1165
SENITHEA JONES              253 E EDSEL FORD FWY APT 3                                                                       DETROIT            MI    48202‐3718
SENIUK, JOHN                5737 LINCOLN RD                                                                                  ONTARIO            NY    14519‐9114
SENIURA, HERTHA M           4935 ITA CT APT 104                                                                              SWARTZ CREEK       MI    48473‐1367
SENIURA, HERTHA M           4935 ITA CT                     APT 104                                                          SWARTZ CREEK       MI    48473‐1367
SENIURA, JERRY W            4321 BARNES RD                                                                                   MILLINGTON         MI    48746‐9065
SENIW, METODIJ              2716 FLORIAN ST                                                                                  HAMTRAMCK          MI    48212‐3428
SENIW, WALTER               236 HOOVER AVE                                                                                   KENMORE            NY    14217‐2520
SENK, DANIJELA              972 LAWRENCE AVENUE                                                                              GIRARD             OH    44420‐1910
SENK, GARY J                1581 SE BOUTELL RD                                                                               ESSEXVILLE         MI    48732‐1560
SENK, LINDA                 30218 CUPENO LN                                                                                  TEMECULA           CA    92592‐2518
SENK, LUCILLE M             44 NORTH RD                                                                                      SOUTHINGTON        CT    06489‐1831
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Name                                  Address1                            Address2                Address3   Address4         City               State Zip
SENK, MARIE J                         1415 BATHGATE ST                                                                        WHITE LAKE          MI 48386‐3702
SENK, VERNE W                         14322 POWDERHORN RD                                                                     FORT WAYNE          IN 46814‐9420
SENK, WILLIAM J                       338 EAST ST APT A1                                                                      PLAINVILLE          CT 06062‐3284
SENKBEIL, DAVID J                     15375 ELLEN DR                                                                          LIVONIA             MI 48154‐2317
SENKER, MARION E                      6192 OTOOLE LN                                                                          MOUNT MORRIS        MI 48458‐2628
SENKERESTY JR, JOSEPH J               1076 N GUNNELL RD                                                                       EATON RAPIDS        MI 48827‐9317
SENKERIK, JERRY J                     2329 GUNDERSON AVE                                                                      BERWYN               IL 60402‐2471
SENKMAJER, ROBERT M                   9179 MAYNARD RD                                                                         CLAY                MI 48001‐4265
SENKO, AGNES M                        11487 BAKER STREET                                                                      CROWN POINT         IN 46307‐4262
SENKO, ANDREW T                       6050 SANDPIPER LN                                                                       NORTH OLMSTED       OH 44070‐4563
SENKO, ANDY                           3148 W 139TH ST                                                                         CLEVELAND           OH 44111‐1542
SENKO, ASHLEY L                       1768 DUMONT DR                                                                          MINERAL RIDGE       OH 44440‐9508
SENKO, DANIEL J                       2630 LOOPRIDGE DR                                                                       ORANGE PARK         FL 32065‐6278
SENKO, EARNEST B                      PO BOX 9                                                                                NORTH BRANCH        MI 48461‐0009
SENKO, HELEN                          2116 WASCANA                                                                            LAKEWOOD            OH 44107‐6149
SENKO, JOHN J                         3208 NW 18TH ST                                                                         CAPE CORAL          FL 33993‐3650
SENKO, LAWRENCE K                     8428 PEACEFUL VLY                                                                       CLARKSTON           MI 48348‐2670
SENKO, MARI                           36253 PADDLEFORD RD                                                                     FARMINGTON HILLS    MI 48331‐3876
SENKO, MERI E.                        2053 COLLEGE ST                                                                         JACKSONVILLE        FL 32204‐3703
SENKO, PATRICIA L                     1140 W SELFRIDGE BLVD                                                                   CLAWSON             MI 48017‐1389
SENKO, ROBERT A                       28643 MAGNOLIA DR                                                                       NORTH OLMSTED       OH 44070‐5149
SENKO, RUTH J                         5190 INNESBROOKE CT                                                                     HAMBURG             NY 14075‐7529
SENKOSKY, MARIAN B                    2972 SARANAC DR                                                                         SHARPSVILLE         PA 16150‐4041
SENKOU AFRICAN HAIR BRAIDING          ATTN: FANTA KABE                    1270 ECORSE RD                                      YPSILANTI           MI 48198‐5969
SENKOWITZ, DONNA E                    5095 KUSZMAUL AVE NW                                                                    WARREN              OH 44483‐1254
SENKOWSKI JR, JOHN                    1107 ORCHARD RD                                                                         ESSEXVILLE          MI 48732‐1912
SENKOWSKI, EDWARD A                   4554 S TOWNLINE RD                                                                      HOUGHTON LAKE       MI 48629‐9171
SENKOWSKI, ELLEN B                    5399 DUQUESNE AVE.                                                                      DAYTON              OH 45431‐2877
SENKOWSKI, ERIC J                     457 W SALZBURG RD                                                                       AUBURN              MI 48611‐9553
SENKOWSKI, LORRAINE R                 1844 MORIN DR                                                                           BAY CITY            MI 48708‐6956
SENKOWSKI, MARY E                     6729 BELL RD                                                                            BIRCH RUN           MI 48415‐9048
SENKOWSKI, THEODORE J                 5399 DUQUESNE AVE.                                                                      DAYTON              OH 45431‐2877
SENKOWSKI, THOMAS F                   3280 DAVENPORT LN                                                                       ROCHESTER HILLS     MI 48309‐4284
SENKOWSKI, WALTER                     2437 HARBOR BLVD APT 218                                                                PORT CHARLOTTE      FL 33952‐5041
SENKOWSKI, WANDA                      4709 PARK MNR N APT 1311                                                                UTICA               MI 48316‐4964
SENKOWSKI, WANDA                      4709 PARK MNR N                     APT 1311                                            UTICA               MI 48316‐4964
SENKPIEL, EDWARD C                    37157 CHARTER OAKS BLVD                                                                 CLINTON TOWNSHIP    MI 48036‐2408
SENKUS, ANN                           4001 19TH NW AVE APT 801                                                                ROCHESTER           MN 55901
SENLENA R FIELDS                      901 PALLISTER ST APT 211                                                                DETROIT             MI 48202‐2679
SENN, AMBER KAE                       659 VANCE LN                                                                            BOWLING GREEN       KY 42101
SENN, DONALD F                        2804 N TUTTLE RD                                                                        EVANSVILLE          WI 53536‐9430
SENN, DONNA R.                        7 PEBBLE CT                                                                             FRANKFORT           KY 40601‐9796
SENN, JOHN J                          659 VANCE LN                                                                            BOWLING GREEN       KY 42101‐7444
SENN, JOHN JAY                        659 VANCE LN                                                                            BOWLING GREEN       KY 42101‐7444
SENNA, ANGELA D                       9923 GROVE PL                                                                           WESTMINSTER         CO 80031
SENNA, PASQUALE G                     271 SUMMIT RD                                                                           MOUNTAINSIDE        NJ 07092‐2308
SENNE, MARY E                         3400 BACHER RD SW                                                                       WARREN              OH 44481‐9705
SENNEBOGEN VETHA (ESTATE OF) (496146) CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                               CLEVELAND           OH 44113‐1328
                                      COONE AND ASSOCIATES
SENNEBOGEN, JAMES J                   1517 73RD ST                                                                            DARIEN             IL 60561‐3739
SENNEBOGEN, VETHA                     CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                               CLEVELAND          OH 44113‐1328
                                      COONE AND ASSOCIATES
                                     09-50026-mg               Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                                 Address1                          Address2                      Address3   Address4                  City             State Zip
SENNET, PHYLLIS E                    317 SYCAMORE GLEN DRIVE           APT. 422                                                           MIAMISBURG        OH 45342‐5710
SENNET, PHYLLIS E                    317 SYCAMORE GLEN DR APT 422                                                                         MIAMISBURG        OH 45342‐5710
SENNETT, CHARLES A                   634 VILLAGE BLVD                                                                                     FROSTPROOF        FL 33843‐8369
SENNETT, DONALD E                    330 S 122ND ST                                                                                       BONNER SPRINGS    KS 66012‐9286
SENNETT, JAMES M                     3601 HILL AVE LOT 46                                                                                 TOLEDO            OH 43607‐4705
SENNETT, LAWRENCE M                  2338 NW 53RD AVENUE RD                                                                               OCALA             FL 34482‐3274
SENNHEISER/OLD LYME                  6 VISTA DRIVE                     P.O. BOX 987                                                       OLD LYME          CT 06371
SENNHENN, HERBERT L                  5950 COUNTY ROAD 283                                                                                 VICKERY           OH 43464‐9747
SENNINGER, JOHN J
SENNISH, JUDITH A                    29681 HILLIARD BOULEVARD                                                                             WESTLAKE         OH   44145‐2900
SENNISH, KATHERINE A                 2702 EASTWOOD DR                                                                                     SANDUSKY         OH   44870‐5660
SENNISH, LAWRENCE R                  304 42ND ST                                                                                          SANDUSKY         OH   44870‐4920
SENNISH, LEONARD W                   2393 PLEASANT VIEW DR                                                                                ROCHESTER HLS    MI   48306‐3146
SENNOTT, MAIDA                       69 SUNNYSIDE AVE                                                                                     ARLINGTON        MA   02474‐3820
SENNOUN, MOHAMMED E                  7580 WETHERINGTON DRIVE                                                                              WEST CHESTER     OH   45069‐4607
SENO, FREDERICK M                    1140 VALLEY VIEW DR                                                                                  DOWNERS GROVE    IL   60516‐3402
SENO, HELGA B                        1140 VALLEY VIEW DR                                                                                  DOWNERS GROVE    IL   60516‐3402
SENOBE, DANIEL A                     11315 W STATE ROAD 81                                                                                BELOIT           WI   53511‐8165
SENOGUZ, MUZAFFER T                  2121 NORTH CONNECTICUT AVENUE                                                                        ROYAL OAK        MI   48073‐4213
SENOKOZLIEFF, MILAN T                4690 OAK DR                                                                                          PERRYSVILLE      OH   44864‐9634
SENOLIA SEALS                        406 S 21ST AVE                                                                                       MAYWOOD          IL   60153‐1474
SENONER KUNO                         COL DA LECH, 31                                                            39048 SELVA VAL GARDENA
                                                                                                                ITALY
SENOPOLE JR, JOHN                    57407 COPPER CREEK DR W                                                                              WASHINGTON       MI   48094‐3811
SENOPOLE, BEVERLY A                  8215 LAKESIDE DR                                                                                     ENGLEWOOD        FL   34224‐7680
SENOPOLE, JAMES T                    5008 SW 25TH CT                                                                                      CAPE CORAL       FL   33914‐6613
SENOPOLE, JOHN J                     57407 COPPER CREEK DR W                                                                              WASHINGTON       MI   48094‐3811
SENOPOLE, LINDA M                    2861 BYWATER DR                                                                                      TROY             MI   48085‐7001
SENOUR JR, ROBERT W                  2366 N DEARBORN ST                                                                                   INDIANAPOLIS     IN   46218‐3747
SENOUR, BRENDA                       11910 CALLAWAY DR                                                                                    INDIANAPOLIS     IN   46235‐7902
SENOUR, EDNA B                       6424 HOOVER RD APT A                                                                                 INDIANAPOLIS     IN   46260
SENOYUIT, JOHN M                     607 TURNBERRY CT NE                                                                                  WARREN           OH   44484‐5540
SENS KRISTOFER                       SENS, KRISTOPHER                  848 KENMARE PKWY                                                   CROWN POINT      IN   46307‐2653
SENS, KRISTOPHER                     848 KENMARE PKWY                                                                                     CROWN POINT      IN   46307‐2653
SENSABAUGH COLLINS E (439495)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA   23510
                                                                       STREET, SUITE 600
SENSABAUGH COLLINS ERSKINE (ESTATE   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA 23510
OF) (482011)                                                           STREET, SUITE 600
SENSABAUGH, BRUCE D                  18 VERNON ST                                                                                         FRANKLIN         OH 45005‐1740
SENSABAUGH, COLLINS E                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA 23510‐2212
                                                                       STREET, SUITE 600
SENSABAUGH, COLLINS ERSKINE          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA 23510‐2212
                                                                       STREET, SUITE 600
SENSABAUGH, DANIEL B                 96 GREENWOOD LN                                                                                      SPRINGBORO       OH   45066‐3033
SENSABAUGH, GARY L                   4120 W ROLLING MDWS                                                                                  DEFIANCE         OH   43512‐9662
SENSABAUGH, IONA E                   3925 N RIVER RD                                                                                      FREELAND         MI   48623‐8856
SENSABAUGH, IONA E                   3925 N RIVER ROAD                                                                                    FREELAND         MI   48623‐8856
SENSABAUGH, LEON D                   3719 ROGER AVE                                                                                       ALLEN PARK       MI   48101‐3059
SENSAT, LOIS M                       1919 BROOKFIELD RD                                                                                   CHARLOTTE        MI   48813‐9197
SENSATA TECH/ATTLEBO                 34 FOREST ST                      MAIL STATION 12‐33                                                 ATTLEBORO        MA   02703‐2437
SENSATA TECHNOLOGIES (KOREA) LTD     1401 HUTCHISON HOUSE 10           HARCOURT RD                              WAN CHAI 0 HONG KONG,
                                                                                                                CHINA
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Name                                  Address1                           Address2                       Address3                 Address4                City                State Zip
SENSATA TECHNOLOGIES DE MEXICO        AVE AGUASCALIENTES SUR 401         COL EX EJIDO OJO CALIENTE                               AGUASCALIENTES AG 20190
                                                                                                                                 MEXICO
SENSATA TECHNOLOGIES DE MEXICO        SCOTT SCHEIDE                      13601 INDEPENDENCE PKWY        C/O SENSATA TECHNOLOGIES                         FORT WORTH           TX   76177‐4001
                                                                                                        INC
SENSATA TECHNOLOGIES DE MEXICO        SCOTT SCHEIDE                      C/O SENSATA TECHNOLOGIES INC   13601 INDEPENDENCE                               POTTSTOWN            PA
                                                                                                        PARKWAY
SENSATA TECHNOLOGIES DE MEXICO S RL   AVE AGUASCALIENTES SUR 401                                                                 AGUASCALIENTES AG 20190
                                                                                                                                 MEXICO
SENSATA TECHNOLOGIES DE MEXICO S RL   13601 INDEPENDENCE PKWY                                                                                            FORT WORTH           TX   76177‐4001

SENSATA TECHNOLOGIES DE MEXICO S RL   AVE AGUASCALIENTES SUR 401         COL EX EJIDO OJO CALIENTE                                 AGUASCALIENTES AG 20190
                                                                                                                                   MEXICO
SENSATA TECHNOLOGIES HOLDING BV       529 PLEASANT STEREET               B14                                                                                 ATTLEBORO       MA 02703
SENSATA TECHNOLOGIES HOLDING BV       529 PLEASANT ST                                                                                                        ATTLEBORO       MA 02703‐2421
SENSATA TECHNOLOGIES HOLDING BV       AVE AGUASCALIENTES SUR 401                                                                   AGUASCALIENTES AG 20190
                                                                                                                                   MEXICO
SENSATA TECHNOLOGIES HOLDING BV       AVE AGUASCALIENTES SUR 401         COL EX EJIDO OJO CALIENTE                                 AGUASCALIENTES AG 20190
                                                                                                                                   MEXICO
SENSATA TECHNOLOGIES HOLDING BV       KOLTHOFSINGEL 8                                                                              ALMELO 7602 EM
                                                                                                                                   NETHERLANDS
SENSATA TECHNOLOGIES HOLDING BV       SCOTT ATKINSON                     228 NORTH EAST RD                                                                   ROSEVILLE       MI 48066
SENSATA TECHNOLOGIES HOLDING BV       SCOTT ATKINSON                     228 NORTHEAST RD                                                                    STANDISH        ME 04084‐6471
SENSATA TECHNOLOGIES HOLDING BV       SCOTT SCHEIDE                      13601 INDEPENDENCE PKWY        C/O SENSATA TECHNOLOGIES                             FORT WORTH      TX 76177‐4001
                                                                                                        INC
SENSATA TECHNOLOGIES HOLDING BV       SCOTT SCHEIDE                      C/O SENSATA TECHNOLOGIES INC   13601 INDEPENDENCE                                   POTTSTOWN        PA
                                                                                                        PARKWAY
SENSATA TECHNOLOGIES HOLDING BV
SENSATA TECHNOLOGIES HOLDING BV       13601 INDEPENDENCE PKWY                                                                                                FORT WORTH       TX   76177‐4001
SENSATA TECHNOLOGIES HOLDING BV       1401 HUTCHISON HOUSE 10            HARCOURT RD                                               WAN CHAI 0 HONG KONG,
                                                                                                                                   CHINA
SENSATA TECHNOLOGIES INC              39555 ORCHARD HILL PL DR                                                                                               NOVI            MI    48375
SENSATA TECHNOLOGIES INC              529 PLEASANT ST                    PO BOX 2964                                                                         ATTLEBORO       MA    02703‐2421
SENSATA TECHNOLOGIES INC              PO BOX 425                                                                                                             ATTLEBORO       MA    02703‐0008
SENSATA TECHNOLOGIES INC              PO BOX 67116                                                                                                           DETROIT         MI    48267‐0001
SENSATA TECHNOLOGIES INC              529 PLEASANT ST                                                                                                        ATTLEBORO       MA    02703‐2421
SENSATA/529 PLEASANT                  529 PLEASANT ST                                                                                                        ATTLEBORO       MA    02703‐2421
SENSBACK, EUGENE A                    7608 STATE ROUTE 101 E                                                                                                 CASTALIA        OH    44824‐9604
SENSE JEFFREY                         1120 PONDANOWATTA LN                                                                                                   PLACERVILLE     CA    95667‐8729
SENSEL, JAMES A                       5934 STUMPH RD APT 219                                                                                                 PARMA           OH    44130‐1753
SENSEL, LYNNE J                       9 BRIGHTWOOD DR                                                                                                        OLMSTED FALLS   OH    44138‐2907
SENSELY, MARJORIE                     3200 W BRITTON RD APT 30                                                                                               OKLAHOMA CITY   OK    73120‐2043
SENSEMAN JR, HARRY E                  3570 CASSANDRA DR                                                                                                      TIPP CITY       OH    45371‐9362
SENSEMAN, KENNETH P                   4133 CART PATH                                                                                                         TERRE HAUTE     IN    47802‐8160
SENSEMAN, ROXANA                      422 OLD RIVER RD                                                                                                       PONCA CITY      OK    74604‐6059
SENSENBAUGH, JOHN D                   1908 RUSSELL CT                                                                                                        MIAMISBURG      OH    45342‐6796
SENSENBAUGH, PAUL S                   7300 WHITETAIL TRAIL                                                                                                   CENTERVILLE     OH    45459‐4880
SENSENBAUGH, RANDY A                  3952 ARK AVE                                                                                                           DAYTON          OH    45416‐2028
SENSENEY, DENNIS                      PORTER & MALOUF PA                 4670 MCWILLIE DR                                                                    JACKSON         MS    39206‐5621
SENSENEY, ROBERT                      5753 GARNET CIR                                                                                                        CLARKSTON       MI    48348‐3061
SENSENEY, ROBERT G                    2384 WINDMIRE WAY                                                                                                      ANDERSON        IN    46012‐9463
SENSENIG, CHARLES E                   5057 ELMHURST AVE                                                                                                      ROYAL OAK       MI    48073‐1101
SENSENY, TODD F                       4320 W 800 S                                                                                                           SOUTH WHITLEY   IN    46787‐9786
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Name                                Address1                             Address2                         Address3                   Address4               City                  State Zip
SENSER, JEFFREY                     5301 HEATH AVE                                                                                                          CLARKSTON              MI 48346‐3534
SENSIBA, ROBERT L                   5450 W STATE RD                                                                                                         MIDDLEVILLE            MI 49333‐9437
SENSIDYNE INC                       16333 BAY VISTA DR                                                                                                      CLEARWATER             FL 33760‐3130
SENSIENT TECHNOLOGIES               777 E WISCONSIN AVE                                                                                                     MILWAUKEE              WI 53202‐5302
SENSIENT TECHNOLOGIES CORPORATION   CHRIS DANIELS                        777 E WISCONSIN AVE                                                                MILWAUKEE              WI 53202‐5302

SENSING CHARLES                     SENSING, CHARLES                     78 CASE STREET                                                                     POWDER SPRINGS        GA   30127‐8624
SENSING, CHARLES                    78 CASE STREET                                                                                                          POWDER SPRINGS        GA   30127‐8624
SENSING, RONALD H                   1945 ASPEN ST                                                                                                           NEWPORT               MI   48166‐8809
SENSKA, JAMES T                     2580 CHANTERELL DR                                                                                                      TROY                  MI   48083‐2482
SENSKA‐WILLIAMS, PRISCILLA A.       PO BOX 254                                                                                                              BRIDGEPORT            NY   13030
SENSKE & SONS/GRD FK                4375 24TH AVENUE NORTH                                                                                                  GRAND FORKS           ND   58203‐1303
SENSKY, FRANCES J                   1465 HILLCREST AVE APT 41                                                                                               NILES                 OH   44446
SENSKY, LEONARD E                   21850 FULLER AVE                                                                                                        EUCLID                OH   44123‐2761
SENSMEIER OIL COMPANY               375 N MAIN ST                                                                                                           MANSFIELD             OH   44902‐7318
SENSMEIER, BETTY J                  4728 PARRAU DR                                                                                                          COLUMBUS              OH   43228‐8452
SENSMEYER, FERDINAND W              217 NORTH SUMMIT STREET                                                                                                 HOYLETON              IL   62803‐2137
SENSOR DEV/BOX 290                  PO BOX 290                                                                                                              LAKE ORION            MI   48361‐0290
SENSOR DEVELOPMENTS INC             1050 W SILVERBELL RD                                                                                                    LAKE ORION            MI   48359‐1327
SENSOR DEVELOPMENTS INC             1050 W SILVERBELL RD                 PO BOX 290                                                                         LAKE ORION            MI   48359‐1327
SENSOR NITE INDUSTRIAL EOOD         INDUSTRIAL ZONE MICROELECTRONICA                                                                 BOTEVGRAD BG 2140
                                                                                                                                     BULGARIA (REP)
SENSOR NITE INDUSTRIAL EOOD         JOSEPH GRIFFIN                       INDUSTRIAL ZONE MICROELECTRONI                              GOTEBORG SWEDEN

SENSOR NITE INDUSTRIAL LTD          SAMOKORSKO SHOSE BUL NO2                                                                         SOFIA 1138 BULGARIA
SENSOR SOLUTIONS 2006               2670 S COPPER RIDGE CIR UNIT 21                                                                                         STEAMBOAT SPRINGS     CO   80487‐9499
SENSOR SOLUTIONS CORP               2670 S COPPER RIDGE CIR              UNIT 21                                                                            STEAMBOAT SPRINGS     CO   80487
SENSOR STACEY                       3870 LEONARD POINT RD                                                                                                   OSHKOSH               WI   54904‐8895
SENSOR‐NITE INDUSTRIAL              JOSEPH R GRIFFIN                     EPIQ SENSOR‐NITE USA             14165 FENTON RD STE 204C                          FENTON                MI   48430
SENSORICS INC                       1120 MASON ST                                                                                                           DEARBORN              MI   48124‐2801
SENSORS EUROPE GMBH                 PAPIERMUEHLENWEG 74                                                                              RATINGEN 40882
SENSORS EUROPE GMBH                 FELDHEIDER STRASSE 60                                                                            ERKRATH NW 40699
                                                                                                                                     GERMANY
SENSORS INC                         6812 STATE RD                                                                                                           SALINE                MI   48176‐8708
SENSORS/SALINE                      6812 STATE RD                                                                                                           SALINE                MI   48176‐8708
SENSORTEC INC                       7620 DISALLE BLVD                                                                                                       FORT WAYNE            IN   46825‐3373
SENSOTEC INC                        ATTN: CORPORATE OFFICER/AUTHORIZED   12484 COLLECTION CENTER DR                                                         CHICAGO               IL   60693‐0124
                                    AGENT
SENSOTEC/COLUMBUS                   2080 ARLINGATE LN                                                                                                       COLUMBUS              OH   43228‐4112
SENSOTEC/SOUTHFIELD                 21223 HILLTOP ST                     P.O. BOX 5034                                                                      SOUTHFIELD            MI   48033‐4914
SENSOUND LLC                        221 LEWISTON RD                                                                                                         GROSSE POINTE FARMS   MI   48236‐3519
SENSTOCK, GERTRUDE                  31055 SAN JUAN ST                                                                                                       HARRISON TWP          MI   48045‐1495
SENSTOCK, JAMES P                   31698 SAN JUAN ST                                                                                                       HARRISON TWP          MI   48045‐5902
SENSUS METERING SYSTEMS             450 N GALLATIN AVE                                                                                                      UNIONTOWN             PA   15401‐2458
SENSUS METERING SYSTEMS INC.        MIKE DECOCCO                         8601 SIX FORKS ROAD                                                                RALEIGH               NC   27615
SENTARA                             SUSAN RAULERSON                      1545 CROSSWAYS BLVD.                                                               CHESAPEAKE            VA   23320
SENTE SOFTWARE                      ATTN: CONTRACTS ADMINISTRATOR        1678 W BROADWAY STE 112                                                            ANAHEIM               CA   92802‐1112
SENTE SOFTWARE LTD                  40 OCCAM RD                          GUILDFORD GU2 7YG                                           UNITED KINGDOM GREAT
                                                                                                                                     BRITAIN
SENTEC AUTOMATION COMPONENTS        1531 HIGHWOOD E                                                                                                         PONTIAC               MI 48340‐1234
SENTEC AUTOMATION COMPONENTS        1531 E HIGHWOOD ST STE 210                                                                                              PONTIAC               MI 48340
SENTECH PRECIMETER INC              2215 S 48TH ST STE C                                                                                                    TEMPE                 AZ 85282‐1009
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Name                                   Address1                            Address2              Address3    Address4         City               State Zip
SENTECH SERVICES                       1 WATER ST                                                                             PONTIAC             MI 48342‐2273
SENTELL JR, JASPER                     3215 ROBERTS ST                                                                        SAGINAW             MI 48601‐3137
SENTELL, HUE L                         3730 ETON PL                                                                           SAGINAW             MI 48603‐3163
SENTELL, KATHERINE N                   9411 BARKLEY RD                                                                        MILLINGTON          MI 48746‐9516
SENTENEY, RUTH A                       378 ROSEMONT                                                                           CINCINNATI          OH 45204‐1298
SENTER JR, ALFRED P                    661 W JEFFERSON ST                                                                     TUPELO              MS 38804‐3735
SENTER JR, EUGENE L                    5809 HUBERVILLE AVE                                                                    DAYTON              OH 45431‐1218
SENTER RICHARD                         4235 W WHITE RD                                                                        OAKWOOD             GA 30566‐3625
SENTER, ANNIE L                        124 MARY DAY AVE                                                                       PONTIAC             MI 48341‐1733
SENTER, CRAIG K                        PO BOX 653                                                                             LINDEN              MI 48451‐0653
SENTER, ELLA RAY                       3502 DUNBAR RD                                                                         PROSPECT            OH 43342
SENTER, FRED E                         3738 N FLORA AVE                                                                       KANSAS CITY         MO 64116‐2307
SENTER, GERALD T                       621 MARICLAIRE AVE                                                                     VANDALIA            OH 45377‐1621
SENTER, JAMES R                        4877 E ALAMEDA CT                                                                      SPRINGFIELD         MO 65809‐3155
SENTER, KENNETH K                      PO BOX 376                          551 SOMERS RD                                      LINCOLN             MI 48742‐0376
SENTER, KENNETH R                      117 BEECH RIDGE DR                                                                     POWELL              OH 43065‐9675
SENTER, KENNETH R                      228 MONTERREY DR                                                                       LONGS               SC 29568‐5304
SENTER, MARGARET A                     17 OSCEOLA DR                                                                          PONTIAC             MI 48341‐1151
SENTER, MARY L                         631 TRICE ST                                                                           HENDERSON           TN 38340‐2761
SENTER, REBECCA A                      1001 ONEIDA WOODS TRL                                                                  GRAND LEDGE         MI 48837‐2254
SENTERS JR, HUGH G                     205 NW SLAPPY DR                                                                       LAKE CITY           FL 32055‐5185
SENTERS, ANNIE E                       4004 BRENTON DR                                                                        DAYTON              OH 45416‐1607
SENTERS, BOBBY                         77 N MAIN ST                                                                           GREENWICH           OH 44837‐9521
SENTERS, DAVID C                       4411 GREAT OAKS DR                                                                     GRAND BLANC         MI 48439‐8665
SENTERS, IRVIN A                       46 ROSEWALK CIR APT 1A                                                                 CARMEL              IN 45032‐2973
SENTERS, JAMES D                       16557 REPUBLIC AVE                                                                     BERLIN CENTER       OH 44401‐9760
SENTERS, JAMES O                       2747 CYPRESS WAY APT 2                                                                 NORWOOD             OH 45212‐1771
SENTERS, JOAN                          16557 REPUBLIC AVE                                                                     BERLIN CENTER       OH 44401‐9760
SENTERS, JOYCE M                       4411 GREAT OAKS DR                                                                     GRAND BLANC         MI 48439‐8665
SENTERS, RONALD L                      8045 MCDERMITT DR APT 103                                                              DAVISON             MI 48423
SENTERS, STEPHEN M                     612 TUPPER LAKE ST                                                                     LAKE ODESSA         MI 48849‐1063
SENTERS, STEPHEN R                     40573 W 10 MILE RD                                                                     NOVI                MI 48375‐3503
SENTERS, STEPHEN RAY                   40573 W 10 MILE RD                                                                     NOVI                MI 48375‐3503
SENTERS, SUZANNE A                     3366 12TH ST                                                                           WYANDOTTE           MI 48192‐5643
SENTHIL KATHIRESAN                     5568 SEABREEZE LN                                                                      STERLING HEIGHTS    MI 48310‐7453
SENTINAL FIRE PROTECTION
SENTINEL ALARM SYSTEMS INC             7520 E 88TH PL                                                                         INDIANAPOLIS       IN   46256‐1253
SENTINEL CAPITAL PARTNERS LLC          1057 521 CORPORATE CTR DR STE 100                                                      FORT MILL          SC   29707‐7165
SENTINEL CAPITAL PARTNERS LLC          777 3RD AVE 32ND FL                                                                    NEW YORK           NY   10017
SENTINEL CAPITAL PARTNERS LLC          AMERICO DOSSANTOS                   167 ROEELAND DR.                                   SOUTH HAVEN        MI   49090
SENTINEL FIRE EQUIPMENT CO             5702 BROADWAY                                                                          SACRAMENTO         CA   95820‐1852
SENTINEL FLUID CONTROLS                1340 SADLIER CIRCLE EAST DR                                                            INDIANAPOLIS       IN   46239‐1052
SENTINEL FLUID CONTROLS                ATTN: LARRY PETERSON                5702 OPPORTUNITY DR                                TOLEDO             OH   43612‐2903
SENTINEL FLUID CONTROLS LLC            1445 BROOKVILLE WAY STE O                                                              INDIANAPOLIS       IN   46239‐1035
SENTINEL FLUID CONTROLS LLC            5702 OPPORTUNITY DR                                                                    TOLEDO             OH   43612‐2903
SENTINEL POWER SERVICES INC            PO BOX 1917                                                                            CATOOSA            OK   74015‐1917
SENTINEL SECURITY LIFE INSURANCE CO    ATTN: EARL L TATE, PRESIDENT        2121 S STATE ST                                    SALT LAKE CITY     UT   84115

SENTINEL SECURITY LIFE INSURANCE CO.   ATTN: EARL L TATE, PRESIDENT        2121 S STATE ST                                    SALT LAKE CITY     UT 84115

SENTMORE, WALTER T                     2444 HAMPTON ESTATES DR SW SW678                                                       MARIETTA           GA 30008
SENTNER, SAMUEL C                      3226 NORTH PARK EXTENSION                                                              WARREN             OH 44481‐4481
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Name                               Address1                           Address2                         Address3                 Address4               City              State Zip
SENTOWSKI, EUGENE A                34806 AVONDALE ST                                                                                                   WESTLAND           MI 48186‐4376
SENTRADE CORPORATION               PISTA DE LA RESISATENCIA                                                                     MANAGUA NICARAGUA
SENTRY
SENTRY DAIRYLAND INSURANCE COMPANY

SENTRY INSURANCE                  1800 NORTHPOINT DR                                                                                                   STEVENS POINT     WI 54481‐1253
SENTRY INSURANCE                  713 WATERBERRY CT                                                                                                    AVON LAKE         OH 44012‐2290
SENTRY INSURANCE A MUTUAL COMPANY STEVEN ANDERSON                     1800 NORTHPOINT DR                                                               STEVENS POINT     WI 54481‐1253

SENTRY INSURANCE A MUTUAL COMPANY ATTN KENNETH J ERLER ASSOCIATES     1800 NORTH POINT DR                                                              STEVENS POINT     WI 54481
                                  COUNSEL
SENTRY INSURANCE A MUTUAL COMPNAY ATTN KENNETH J ERLER ASSOCIATE      1800 NORTH POINT DR                                                              STEVENS POINT     WI 54481
                                  COUNSEL
SENTRY SELECT INSURANCE COMPANY   SENTRY SELECT INSURANCE COMPANY     ATTN KENNETH J ERLER ASSOCIATE   1800 NORTH POINT DRIVE                          STEVENS POINT     WI 54481
                                                                      COUNSEL
SENTRY SELECT INSURANCE COMPANY      ATTN KENNETH J ERLER ASSOCIATE   1800 NORTH POINT DR                                                              STEVENS POINT     WI 54481
                                     COUNSEL
SENTRY STATION TIRE & AUTO SERVICE   2645 BATTLEFIELD PKWY                                                                                             FORT OGLETHORPE   GA   30742‐4037
SENTRY STEEL/HNDRSNV                 167 CENTER POINT RD S                                                                                             HENDERSONVILLE    TN   37075‐2055
SENTURY PEST CONTROL INC             38 E BRIDGE ST                                                                                                    MORRISVILLE       PA   19067
SENTZ, HAROLD J                      4803 S HUBBARD ST                                                                                                 WAYNE             MI   48184‐2515
SENTZ, HOWARD W                      4250 KINSEY HUNT RD                                                                                               LUZERNE           MI   48636‐8755
SENTZ, JEAN G                        4803 S HUBBARD ST                                                                                                 WAYNE             MI   48184‐2515
SENTZ, JOHN H                        4330 BERKLEY PL UNIT F3                                                                                           HAMBURG           NY   14075‐1356
SENVISKY, KENNETH F                  1686 PINEBARK PL                                                                                                  TWINSBURG         OH   44087
SENVISKY, LARRY J                    1409 VICTORY LANE                                                                                                 AUSTINTOWN        OH   44515
SENVISKY, LORI E                     1409 VICTORY HILL LN                                                                                              AUSTINTOWN        OH   44515‐4383
SENVISSKY, JOHN A                    1178 BRADFORD ST NW                                                                                               WARREN            OH   44485‐1960
SENYK, HELEN                         HC62 BOX 69                                                                                                       LONG POND         PA   18334
SENYSZYN, MICHAEL                    15700 E 13 MILE RD                                                                                                ROSEVILLE         MI   48066‐1470
SENYSZYN, RONALD A                   19795 BARCHESTER DR                                                                                               MACOMB            MI   48044‐1746
SENYTKA, DEBRA A                     406 FISHER CT                                                                                                     CLAWSON           MI   48017‐1683
SENZIG, ADELLA M                     PO BOX #62                                                                                                        MARLBORO          NJ   07746‐0062
SENZIG, KEVIN J                      17737 PRISCILLA DR                                                                                                CLINTON TWP       MI   48038‐2190
SEO                                  BOX278992                                                                                                         ROCHESTER         NY   14627
SEO JUNG                             SEO, JUNG                        3950 W 226TH ST APT 41                                                           TORRANCE          CA   90505
SEO, JUNG                            3950 W 226TH ST APT 41                                                                                            TORRANCE          CA   90505‐2353
SEO, JUNG H                          479 NORTHLAKE DR APT 207                                                                                          SAN JOSE          CA   95117‐1300
SEO, SEUNG‐BEOM                      14782 ATWATER DRIVE                                                                                               STERLING HTS      MI   48313‐1202
SEO, YOUNG‐JIN                       2389 PLEASANT VIEW DR                                                                                             ROCHESTER HILLS   MI   48306‐3146
SEOANE, FRANCES                      1 RIVER PLZ APT 8F                                                                                                TARRYTOWN         NY   10591
SEOG, DAVID M                        22177 MERRIMAN RD                                                                                                 NEW BOSTON        MI   48164‐9459
SEOG, DAVID MICHAEL                  22177 MERRIMAN RD                                                                                                 NEW BOSTON        MI   48164‐9459
SEOG, JOHN
SEOG, JOHN G                         3700 HARRISON AVE                                                                                                 TRENTON           MI 48183‐2204
SEOG‐CHAN OH                         6160 BRITTANY TREE DR                                                                                             TROY              MI 48085‐1084
SEOJIN CLUTCH CO LTD                 1280 9 JEONGWANG 1DONG           3NA 609 SHIHWA INDUSTRIAL                                 SHIHEUNG KYONGGI 429
                                                                      COMPLEX                                                   450 KOREA (REP)
SEOK JOO JANG                        74 SANDPIPER                                                                                                      IRVINE            CA 92604‐3668
SEORUM, KAYLEEN D                    13455 DIXIE HWY                                                                                                   BIRCH RUN         MI 48415‐9319
SEOUL METAL CO LTD                   465‐2 PASU‐RI HAMAN‐MYEONG       HAMAN‐GUN KYONGSANGNAM‐DO                                 KOREA SOUTH KOREA
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Name                        Address1                            Address2              Address3     Address4                City                 State Zip
SEOUL METAL CO LTD          24‐12 PARYONG‐DONG                                                     GYEONGSANGNAM‐DO
                                                                                                   641847 KOREA (REP)
SEOUL NATIONAL UNIVERSITY   SAN 56‐1 SHINRIM 9 DONG             KWANAK‐KU                          SEOUL KR 151742 KOREA
                                                                                                   (REP)
SEOUL NATIONAL UNIVERSITY   SAN 56 1 SHINRIM 9 DONG KWANAK      151 744 SEOUL                      KOREA SOUTH KOREA
SEOUL PRECISION CO LTD      RM 1NA‐701 SHIHWA INDUSTRIAL COMPLX                                    SIHEUNG‐CITY KYONGGI
                                                                                                   429450 KOREA (REP)
SEOUL PRECISION CO LTD      RM 1NA‐701 SHIHWA INDUSTRIAL COMPLX 1244 JEONGWANG‐DONG                SIHEUNG‐CITY KYONGGI
                                                                                                   429450 KOREA (REP)
SEP FBO                     KERRY L KLIMES                      PO BOX 6606                                                PHOENIX              AZ    85005‐6606
SEP FBO DALE M GRAY         PERSHING LLC AS CUSTODIAN           24265 RIVER RD                                             GRAND VIEW           ID    83624‐5005
SEP FBO GREGORY T RANSOM    PERSHING LLC AS CUSTODIAN           8515 BREEN DRIVE                                           HOUSTON              TX    77064
SEP FBO GREGORY T RANSOM    PERSHING LLC AS CUSTODIAN           8515 BREEN DRIVE                                           HOUSTON              TX    77064
SEP FBO LARRY J SPEARS      PERSHING LLC AS CUSTODIAN           1434 SCENIC RIDGE                                          HOUSTON              TX    77043‐3405
SEP FBO RENEE M RANSOM      PERSHING LLC AS CUSTODIAN           8515 BREEN DRIVE                                           HOUSTON              TX    77064
SEP FBO STEVEN FENICHEL     VFTC AS CUSTODAIN                   2117 BAY AVE                                               OCEAN CITY           NJ    08226‐2741
SEP FBO TIMOTHY R MOORE     TIM MOORE                           309 BELIN MANOR                                            HOUSTON              TX    77024‐6313
SEPA JR, AMILCARE C         105 GRACE AVE                                                                                  BRISTOL              CT    06010‐4523
SEPA, STELLA S              246 STONECREST DR                                                                              BRISTOL              CT    06010‐5323
SEPAHPOUR, GOLNAZ           44 COBALT LANE                                                                                 WESTBURY             NY    11590‐5741
SEPANAK, ADAM R             22606 HOFFMAN ST                                                                               SAINT CLAIR SHORES   MI    48082‐2702
SEPANAK, ADAM R             3107 ARBOR DR.                                                                                 FENTON               MI    48430‐3119
SEPANAK, MARY S             12382 SAINT ANDREWS WAY                                                                        FENTON               MI    48430‐8893
SEPANECK, SENA V            7304 WILLIAMSBURG RD                                                                           LANSING              MI    48917‐9616
SEPANSKI, MARCUS C          715 WOODINGHAM AVE                                                                             WATERFORD            MI    48328‐4172
SEPARATION SYSTEMS          100 NIGHTINGALE LANE                                                                           GULF BREEZE          FL    32561
SEPARATION SYSTEMS INC      100 NIGHTINGALE LN STE A                                                                       GULF BREEZE          FL    32561‐7204
SEPATE, DON J               208 S WATCHTOWER DR APT 104                                                                    WILDER               KY    41076‐2470
SEPCOT, LAWRENCE J          5017 W 31ST PL                                                                                 CICERO               IL    60804‐4020
SEPE, ELAINE B              PO BOX 350472                                                                                  PALM COAST           FL    32135‐0472
SEPE, ELIZABETH             18 WOODRIDGE RD                                                                                LITTLETON            MA    01460‐2201
SEPECK, ELSIE               2524 E HIGHWAY 1376                                                                            EAST BERNSTADT       KY    40729
SEPECK, JUDITH E            1170 FERNSHIRE DR                                                                              CENTERVILLE          OH    45459‐2316
SEPEDA JR, RUMALDO          508 EDGEHILL RD                                                                                JOSHUA               TX    76058‐6132
SEPEDA JR., JUAN B          22800 W DEERFIELD CT                                                                           CURTICE              OH    43412‐9312
SEPEDA, RAMON J             PO BOX 3308                                                                                    BONITA SPRINGS       FL    34133
SEPEHRI SUSAN               519 EAST INTERSTATE 30 #220                                                                    ROCKWALL             TX    75087
SEPER PETE (655212)         SIMMONS FIRM                        PO BOX 521                                                 EAST ALTON           IL    62024‐0519
SEPER, DANIEL G             7353 GOLDENROD DR                                                                              MENTOR ON THE LAKE   OH    44060‐3113
SEPER, PETE                 SIMMONS FIRM                        PO BOX 521                                                 EAST ALTON           IL    62024‐0519
SEPER, SAM J                1656 WESTWOOD DR NW                                                                            WARREN               OH    44485‐1838
SEPESI JR, GEORGE J         24132 DEFIANCE PIKE                                                                            CUSTAR               OH    43511‐9736
SEPETA, ARTHUR R            2305 SAGAMORE DR                                                                               ANDERSON             IN    46011‐9736
SEPETER, CARL J             10550 LOWELL RD                                                                                DEWITT               MI    48820‐8019
SEPETER, CARL JOHN          10550 LOWELL RD                                                                                DEWITT               MI    48820‐8019
SEPETER, ROBERT D           7290 ISLAND HWY                                                                                EATON RAPIDS         MI    48827‐9350
SEPHAKIS, EMMANUEL A        3543 MAPLE SPRINGS DR                                                                          CANFIELD             OH    44406‐9263
SEPHEIA F RODGERS           1762 ROBERTS LN NE                                                                             WARREN               OH    44483
SEPHERS III, JAMES          18275 GEORGE WASHINGTON DR                                                                     SOUTHFIELD           MI    48075‐2784
SEPHERS, JUANITA            11793 DYAR                                                                                     HAMTRAMCK            MI    48212‐2927
SEPHERS, LEONARD R          6045 PINEWOOD DR                                                                               HOLLY                MI    48442‐8808
SEPHERS, ROBIN L            6045 PINEWOOD DR                                                                               HOLLY                MI    48442‐8808
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Name                               Address1                            Address2                        Address3     Address4         City                 State Zip
SEPIC, CHARLES                     6104 HIGHLAND RD                                                                                  HIGHLAND HTS          OH 44143‐2016
SEPIC, STEVE W                     4325 BELMONT CT                                                                                   MEDINA                OH 44256‐7484
SEPICH JOHN (447606)               BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD            OH 44067
                                                                       PROFESSIONAL BLDG
SEPICH, JOHN                       BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                  NORTHFIELD           OH 44067
                                                                       PROFESSIONAL BLDG
SEPO GRIEVANCES                    NO ADVERSE PARTY
SEPOS, DENNIS R                    1902 ENGLEWOOD DR                                                                                 BAY CITY             MI    48708‐6948
SEPOS, JOSEPH S                    19816 SALISBURY ST                                                                                SAINT CLAIR SHORES   MI    48080‐1662
SEPOS, THOMAS P                    3551 MILLER RD                                                                                    BAY CITY             MI    48706‐1319
SEPPALA, GARY M                    1171 RUE WILLETTE BLVD                                                                            YPSILANTI            MI    48198
SEPPALA, JOHN L                    4046 ELMHURST RD                                                                                  WATERFORD            MI    48328‐4027
SEPPALA, LAWRENCE A                1609 GRAND ISLE DRIVE                                                                             BRANDON              FL    33511‐4781
SEPPALA, MARGARET L                7480 N BRIARCLIFF KNOLL DR                                                                        W BLOOMFIELD         MI    48322‐4055
SEPPALA, PAUL C                    8232 W MOUNT HOPE HWY                                                                             GRAND LEDGE          MI    48837‐9409
SEPPALA, RAYMOND H                 53 S OAK DR                                                                                       LAGRANGE             GA    30241‐8479
SEPPANEN, MARY E                   PO BOX 183                                                                                        MIO                  MI    48647‐0183
SEPPELL, MABEL                     5 MARLBORO LN                                                                                     YONKERS              NY    10710‐4409
SEPPELT, ROBERT C                  1477 WEATHERFIELD CT                                                                              CENTERVILLE          OH    45459‐6205
SEPPENFIELD, TAMARA G              707 TUNBRIDGE WELLS LN                                                                            LOUISVILLE           KY    40207
SEPS INC                           7531 BRUSH HILL DR                                                                                BURR RIDGE           IL    60527‐7575
SEPS, JOHN                         1096 MEADOWBROOK ST                                                                               INKSTER              MI    48141‐1929
SEPT, CHARLOTTE                    408 MALIBU CANYON DR                                                                              COLUMBIA             TN    38401
SEPT, EUGENE                       408 MALIBU CANYON DR                                                                              COLUMBIA             TN    38401‐6801
SEPTA                                                                  6725 GERMANTOWN AVE                                                                PA    19119
SEPTA                                                                  3RD AND COURTLAND                                                                  PA    19140
SEPTA‐PROCUREMENT & SUPPLY CHAIN                                       1234 MARKET ST FL 11            11TH FLOOR                                         PA    19107
MANAGEMENT
SEPTARIC JULIE (447607)            BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD           OH 44067
                                                                       PROFESSIONAL BLDG
SEPTARIC MARCUS (491310)           BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD           OH 44067
                                                                       PROFESSIONAL BLDG
SEPTARIC, JEFFERY A                2528 E 33RD ST                                                                                    LORAIN               OH 44055‐2135
SEPTARIC, MARCUS                   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                  NORTHFIELD           OH 44067
                                                                       PROFESSIONAL BLDG
SEPTEMBER EDWARDS                  19 MECHANIC ST                                                                                    MIDDLEPORT           NY    14105‐1023
SEPTEMBER MOO/STHFLD               25925 TELEGRAPH RD #190                                                                           SOUTHFIELD           MI    48033
SEPTER, DIANA                      15207 WOODWORTH                                                                                   REDFORD              MI    48239‐3138
SEPTER, ROBERT T                   5399 E HOLLY RD                                                                                   HOLLY                MI    48442‐9634
SEPTER, T G                        405 E MUIR AVE                                                                                    HAZEL PARK           MI    48030‐2590
SEPTRAN                            2161 FOSTER AVE                                                                                   WHEELING             IL    60090‐6506
SEPTRAN                            MICKEY JOHNSON                      2000 W 96TH ST                                                BLOOMINGTON          MN    55431‐2517
SEPTRAN INC.                                                           2000 W 96TH ST                                                                     MN    55431
SEPULL, JAMES C                    36 TIMBERLAKE DR                                                                                  ORCHARD PARK         NY    14127
SEPULVADO, ARTHUR                  WATKINS ASHLEY & BARLOW MELINDA H   360 PLACE OFFICE PARK, 1201 N                                 ARLINGTON            TX    76006
                                                                       WATSON ‐ STE 145
SEPULVADO, DENNIS J                4710 JEAN CIR                                                                                     SHREVEPORT            LA   71105‐4043
SEPULVADO, DENNIS JAMES            4710 JEAN CIR                                                                                     SHREVEPORT            LA   71105‐4043
SEPULVADO, GREGORY S               490 MIDDLETON RD                                                                                  STONEWALL             LA   71078‐9471
SEPULVADO, GREGORY SCOTT           490 MIDDLETON RD                                                                                  STONEWALL             LA   71078‐9471
SEPULVADO, PAUL N                  8969 TURNER DR                                                                                    SHREVEPORT            LA   71118‐2728
SEPULVADO, VICKY L                 8969 TURNER DR                                                                                    SHREVEPORT            LA   71118‐2728
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Name                              Address1                             Address2                        Address3                  Address4           City              State Zip
SEPULVEDA DANIEL A                1131 HAMLINE AVE N APT 19                                                                                         SAINT PAUL         MN 55108‐2617
SEPULVEDA HANLEY, GLORIA J        8172 GEDDES RD                                                                                                    SAGINAW            MI 48609‐9562
SEPULVEDA RUTH                    C/O HSBC PRIVATE BANK                17 AVE D'OSTENDE                                          MC 98000 MONACO
SEPULVEDA, ABELINA K              4509 YOUNG LN                                                                                                     LAKE CHARLES      LA   70605‐5441
SEPULVEDA, ABELINA K              4509 YOUNG LANE                                                                                                   LAKE CHARLES      LA   70605‐5441
SEPULVEDA, ADA RIVERA             BUFETE COLON SANTANA & ROMAN         315 COLL & TOSTE                                                             SAN JUAN          PR   00918
SEPULVEDA, ANDREA R               2919 COUSINO RD                                                                                                   ERIE              MI   48133‐9714
SEPULVEDA, DANIEL                 3244 YOSEMITE AVE S                                                                                               MINNEAPOLIS       MN   55416
SEPULVEDA, DENISE                 PO BOX 1465                                                                                                       HAYESVILLE        NC   28904‐1465
SEPULVEDA, ELIDA                  501 S. HOLMES STREET                                                                                              LANSING           MI   48912‐2003
SEPULVEDA, ELIDA                  501 S HOLMES ST                                                                                                   LANSING           MI   48912‐2003
SEPULVEDA, ELIEZER                177 WHITE PL RD BLDG 5 #28B                                                                                       TARRYTOWN         NY   10591
SEPULVEDA, JOSE A                 1674 ABBOTT RD                                                                                                    LACKAWANNA        NY   14218‐2939
SEPULVEDA, NANNETTE M             RIO GDE LOIZA AE‐11 RIO HONDO                                                                                     BAYAMON           PR   00961
SEPULVEDA, PABLO C                RIO GDE LOIZA AE‐11 RIO HONDO                                                                                     BAYAMON           PR   00961
SEPULVEDA, ROLAND M               6665 ALMOND LN                                                                                                    CLARKSTON         MI   48346‐2212
SEPULVEDA, SAMUEL R               4681 HACKETT RD                                                                                                   SAGINAW           MI   48603‐9677
SEPULVEDO, ANATAILO               2320 BAY RIDGE DR                                                                                                 AU GRES           MI   48703‐9483
SEPULVEDO, PAUL                   4792 CADILLAC PL                                                                                                  SAGINAW           MI   48604‐1002
SEPUTA, VITALIS J                 1525 HEATHERWOOD DR                                                                                               TROY              MI   48098‐2678
SEQU‐SEQUOIA AIR FREIGHT          ATTN ACCOUNTS RECEIVABLE             28650 NORTHLINE RD                                                           ROMULUS           MI   48174‐2880
SEQUA CORP                        ATTN: CORPORATE OFFICER/AUTHORIZED   5505 N CUMBERLAND AVE STE 307                                                CHICAGO           IL   60656‐4761
                                  AGENT
SEQUA/BRIDGEPORT                  380 HORACE ST                                                                                                     BRIDGEPORT        CT   06610‐1903
SEQUA/MORGANTOWN                  755 VETERANS WAY                                                                                                  MORGANTOWN        KY   42261‐8812
SEQUANDA M WATTS                  15821 EVERGREEN RD                                                                                                DETROIT           MI   48223‐1238
SEQUANT ENERGY MANAGEMENT LP      PAT METTEAUER                        1200 SMITH ST STE 900                                                        HOUSTON           TX   77002‐4374
SEQUATCHIE COUNTY TRUSTEE         PO BOX 715                                                                                                        DUNLAP            TN   37327‐0715
SEQUEIRA, GIOCONDA                5577 COONEY PLACE                                                                                                 SAN JOSE          CA   95123‐1356
SEQUEIRA, OLIVER                  535 S 500 W                                                                                                       MANTI             UT   84642‐1555
SEQUEIRA, SANTOSH C               9111 NEWCASTLE CT                                                                                                 GRAND BLANC       MI   48439‐7347
SEQUEIRA, STUART R                5834 NE RODNEY AVE                                                                                                PORTLAND          OR   97211‐2536
SEQUENT ENERGY MANAGAMENT, LP     PAT METTEAUER                        1200 SMITH ST STE 900                                                        HOUSTON           TX   77002‐4374
SEQUENT ENERGY MANAGEMENT LP      ATTN: INSURANCE TRUST AND ESCROW     CORPORATE TRUST                 101 BARCLAY STREET, 8TH                      NEW YORK          NY   10286‐0001
                                  UNIT                                 ADMINISTRATION DIVISION         FLOOR WEST
SEQUENT ENERGY MANAGEMENT LP      1200 SMITH ST STE 900                                                                                             HOUSTON           TX 77002‐4374
SEQUENT ENERGY MANAGEMENT USA     1200 SMITH ST STE 900                                                                                             HOUSTON           TX 77002‐4374
SEQUENT ENERGY MANAGEMENT, L.P.   ATTN: INSURANCE TRUST AND ESCROW     101 BARCLAY ST                  8TH FLOOR WEST                                                 NY 10286‐0001
                                  UNIT
SEQUENT ENERGY MANAGEMENT, LP     ATTN: INSURANCE TRUST AND ESCROW     CORPORATE TRUST                 101 BARCLAY STREET, 8TH                      NEW YORK          NY 10286‐0001
                                  UNIT                                 ADMINISTRATION DIVISION         FLOOR WEST
SEQUENT ENERGY MANAGEMENT, LP     1200 SMITH ST STE 900                                                                                             HOUSTON           TX 77002‐4374
SEQUENT ENERGY MANAGEMENT, LP     PAT METTEAUER                        1200 SMITH ST STE 900                                                        HOUSTON           TX 77002‐4374
SEQUENT ENERGY MANAGEMENT, LP     INSURANCE TRUST AND ESCROW UNIT      CORPORATE TRUST                 101 BARCLAY STREET, 8TH                                        NY 10286‐0001
                                                                       ADMINISTRATION DIVISION         FLOOR WEST
SEQUENT ENERGY MANAGEMENT, LP     1200 SMITH ST STE 900                PAT METTEAUER                                                                HOUSTON           TX   77002‐4374
SEQUENT ENERGY MANAGEMENT, LP     BOB FLAVIN                           1200 SMITH ST STE 900                                                        HOUSTON           TX   77002‐4374
SEQUIA WALDEN                     1675 EAST 13 MILE RD APT 302                                                                                      MADISON HEIGHTS   MI   48071
SEQUIN LUMBER CO                  3881 N EUCLID AVE                                                                                                 BAY CITY          MI   48706‐2028
SEQUIN LUMBER COMPANY INC         3881 N EUCLID AVE                                                                                                 BAY CITY          MI   48706‐2028
SEQUIN, JIMMEY A                  87 FLAJOLE RD                                                                                                     MIDLAND           MI   48642‐9613
SEQUIN, LARRY L                   3576 8 MILE RD                                                                                                    AUBURN            MI   48611‐9746
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Name                          Address1                        Address2              Address3       Address4               City               State Zip
SEQUIN, LINDA A               1007 N HURON RD                                                                             LINWOOD             MI 48634‐9307
SEQUIN, PAUL J                1533 FLAJOLE RD                                                                             RHODES              MI 48652‐9503
SEQUIN, RONALD A              4943 LAKEVIEW RD                                                                            GLADWIN             MI 48624‐9443
SEQUIN, THOMAS A              67524 HEBRON RD                                                                             WHITE PIGEON        MI 49099‐9138
SEQUOIA AIR FREIGHT           MIKE BARGER                     28650 NORTHLINE RD                                          ROMULUS             MI 48174‐2880
SEQUOIA AIR FREIGHT           LINDA MARKEY                    28650 NORTHLINE RD                                          ROMULUS             MI 48174‐2880
SEQUOIA ANESTHESIOLO          PO BOX 99386                                                                                FORT WORTH          TX 76199‐0386
SEQUOIA AUTOMATIC INC         KRISHNA C. RAJAGOPAL            PO BOX 454                                                  SPRINGFIELD         TN 37172‐0454
SEQUOIA AUTOMATIC, INC.       KRISHNA C. RAJAGOPAL            PO BOX 454                                                  SPRINGFIELD         TN 37172‐0454
SEQUOIA BURNETTE              19200 CHAPEL ST                                                                             DETROIT             MI 48219‐1948
SEQUOIA CHEVROLET COMPANY     LEE DORITY                      1028 ACADEMY AVE                                            SANGER              CA 93657‐3154
SEQUOIA CHEVROLET COMPANY     1028 ACADEMY AVE                                                                            SANGER              CA 93657‐3154
SEQUOIA INDUSTRIES            DALE HOCK                       11813 HUBBARD ST                                            AVILLA              IN
SEQUOIA INDUSTRIES INC        11813 HUBBARD ST                                                                            LIVONIA             MI 48150‐1732
SEQUOIA INDUSTRIES INC        DALE HOCK                       11813 HUBBARD ST                                            AVILLA              IN
SEQUOIA INVESTMENTS XIV LLC   C/O SECURITY NATL PROPERTIES    PO BOX 1028                                                 EUREKA              CA 95502‐1028
SEQUOIA TOOL INC              CRAIG WALWORTH                  23537 REYNOLDS CT.                   OKAZAKI, AICHI JAPAN
SEQUOIA TOOL INC              23537 REYNOLDS CT                                                                           CLINTON TOWNSHIP   MI 48036‐1269
SEQUOIA TOOL, INC.            CRAIG WALWORTH                  23537 REYNOLDS CT.                   OKAZAKI, AICHI JAPAN
SEQUOIA TOOL/CLINTON          23537 REYNOLDS CT                                                                           CLINTON TWP        MI    48036‐1269
SEQUOIA/CLINTON TOWN          23537 REYNOLDS CT                                                                           CLINTON TOWNSHIP   MI    48036‐1269
SEQUOIR ROBERTS               49375 WEAR RD                                                                               BELLEVILLE         MI    48111‐9354
SEQUOYAH COUNTY TREASURER     PO BOX 747                                                                                  SALLISAW           OK    74955‐0747
SER COMMUNICATIONS INC        24650 SHERWOOD                                                                              CENTER LINE        MI    48015‐1046
SER MEMBERSHIP                PO BOX 990                                                                                  CLEARFIELD         UT    84089‐0990
SERA, ALBERT                  39800 ROMEO PLANK RD                                                                        CLINTON TOWNSHIP   MI    48038‐2917
SERA, ANNITA                  1695 DEENA DRIVE                                                                            EASTON             PA    18040‐5845
SERA, ANNITA                  1695 DEENA DR                                                                               EASTON             PA    18040
SERA, JOHN L                  3400 DATE PALM LN                                                                           ESTERO             FL    33928‐2808
SERAFIM KOUNTOURIOTIS         3400 E CLARICE AVE                                                                          HIGHLAND           MI    48356‐2318
SERAFIM, DIMITRA              5520 KENDAL ST                                                                              DEARBORN           MI    48126‐3187
SERAFIM, DIMITRA              5520 KENDAL                                                                                 DEARBORN           MI    48126‐3187
SERAFIN CHRISTOPHER           827 BLUFF RIDGE DR                                                                          CEDAR HILL         TX    75104
SERAFIN GOMEZ                 30002 TRAIL CREEK DR                                                                        NEW BOSTON         MI    48164‐7803
SERAFIN MANCERA               1346 GEORGIA AVE                                                                            KANSAS CITY        KS    66104‐5415
SERAFIN SALAS                 14917 POLK ST                                                                               SYLMAR             CA    91342‐5070
SERAFIN, CAROL                8502 W 97TH ST                                                                              BLOOMINGTON        MN    55438‐1665
SERAFIN, DANIEL T             5240 MATTAWA DR                                                                             CLARKSTON          MI    48348‐3124
SERAFIN, HELEN A              280 STRALEY AVE                                                                             CHEEKTOWAGA        NY    14211‐2816
SERAFIN, JESSIE B             16565 TYLER DR                                                                              CLINTON TWP        MI    48038‐4520
SERAFIN, KATHERINE            9812 CODA PL NE                                                                             ALBUQUERQUE        NM    87111‐3505
SERAFIN, MARY C               14685 WINDMILL CT                                                                           SHELBY TOWNSHIP    MI    48315‐4310
SERAFIN, MATTHEW J            41 TRENTWOOD TRL                                                                            LANCASTER          NY    14086‐1465
SERAFIN, MATTHEW JOSEPH       41 TRENTWOOD TRL                                                                            LANCASTER          NY    14086‐1465
SERAFIN, RONALD M             236 MARLIN DR                                                                               GRAND ISLAND       NY    14072‐2944
SERAFIN, VICTORIA             2113 PRENTISS DR                APT 101                                                     DOWNERS GROVE       IL   60516‐2239
SERAFIN, VICTORIA             APT 101                         2113 PRENTISS DRIVE                                         DOWNERS GROVE       IL   60516‐2239
SERAFINA BLESSING             64 NORTHWOOD MNR                                                                            YORK HAVEN         PA    17370‐9602
SERAFINA FUSTANEO             129 FOX HALL DR                                                                             ROCHESTER          NY    14609‐3253
SERAFINA PISANI               206 GREENBROOK RD                                                                           NORTH PLAINFIELD   NJ    07060‐3922
SERAFINA TORRE                1862 W 12TH ST                                                                              BROOKLYN           NY    11223‐2430
SERAFINE DINKEL               PROF.SCHMIDTMUELLER‐STR.2       D‐84034               LANDSHUT
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Name                         Address1                          Address2                      Address3   Address4             City            State Zip
SERAFINE, TERESA R           5706 63RD ST E                                                                                  BRADENTON        FL 34203
SERAFINI, AL R               1447 SUNFLOWER DR                                                                               COLUMBUS         OH 43204‐2214
SERAFINI, ALDO J             3945 CLIME RD                                                                                   COLUMBUS         OH 43228‐3533
SERAFINI, CYNTHIA S          7241 CARRIAGE CREEK DR                                                                          WASHINGTON       MI 48094‐2810
SERAFINI, PATSY R            2683 CLIME RD                                                                                   COLUMBUS         OH 43223‐3625
SERAFINI, SEAN A             510 SHADY LN                                                                                    OSSIAN           IN 46777‐9312
SERAFINO D'AGOSTINI          62200 NORTH AVE                                                                                 RAY              MI 48096‐3325
SERAFINO LO GIUDICE          15 WESTFIELD AVE APT 1A                                                                         CLARK            NJ 07066‐3237
SERAFINO PALUMBI             VIA BOSCO MARTESE NO 9            ROSETO DEGLI ABRUZZI                     TERAMO 64026 ITALY
SERAFINO TURILLI             THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                                   HOUSTON         TX   77017
SERAFINO, JAMES E            6120 SANDSHORES DR                                                                              TROY            MI   48085‐1342
SERAFINO, JOSEPHINE          922 DARYL DR                      C/O PATRICK J SERAFINO                                        CLEVELAND       OH   44124‐1054
SERAFINO, TERESA             43 SAYNE ST                                                                                     ROCHESTER       NY   14621‐2627
SERAFINO‐DUDARYK, NADINE M   5626 ELMER AVE                                                                                  WARREN          MI   48092‐2665
SERAFINSKI IV, JOSEPH D      736 LAYMAN CREEK CIR                                                                            GRAND BLANC     MI   48439‐1398
SERAFINSKI, EVA              503 E DRAYTON ST                                                                                FERNDALE        MI   48220‐1328
SERAFINSKI, JASON            23218 W LE BOST                                                                                 NOVI            MI   48375‐3411
SERAJI, NOOSHIN              16050 DUNBLAINE AVE                                                                             BEVERLY HILLS   MI   48025‐4167
SERAMID STIFTUNG             GISHAN FRITZ SCHAEREN             FUCHSCOCH 14                             6317 OBERWIL B ZUG
                                                                                                        SWITZERLAND
SERAMONE, ELEANOR            PO BOX 1234                                                                                     HOCKESSIN       DE   19707‐5234
SERAMONE, MICHAEL P          33 SUMAC CT                                                                                     NEWARK          DE   19702‐2885
SERAMONE, MICHAEL PAUL       33 SUMAC CT                                                                                     NEWARK          DE   19702‐2885
SERANI, ANTONENA R           1495 LAKE MARTIN DRIVE                                                                          KENT            OH   44240‐6259
SERAPHIN, CHARLES G          243 07 136TH AVE                                                                                ROSEDALE        NY   11422
SERAPHINE GEOGOULES          748 SHANGRILA LN                                                                                WEBSTER         NY   14580‐1532
SERAPHINO L SANTO PAULO      C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                     HOUSTON         TX   77007
                             BOUNDAS LLP
SERAPIA CANALES              220 W BEVERLY AVE                                                                               PONTIAC         MI   48340‐2623
SERAPIA G CANALES            220 W BEVERLY AVE                                                                               PONTIAC         MI   48340‐2623
SERAPIGLIA, LOUIS A          503 REDWOOD DR                                                                                  TROY            MI   48083‐1068
SERAPIO CASAREZ              1552 PALMER DR                                                                                  DEFIANCE        OH   43512‐3420
SERAPIO GONZALES             2512 HOLLANDALE CIR APT D                                                                       ARLINGTON       TX   76010‐0305
SERAPIO LOPEZ                620 AZTEC CT                                                                                    FREMONT         CA   94539‐7164
SERAPIO POPOCA               4433 W 104TH ST                                                                                 OAK LAWN        IL   60453‐4832
SERAPIO QUIJANO              5457 MAURA DR                                                                                   FLUSHING        MI   48433‐1057
SERATI, PATRICIA             7610 SLOAN ST                                                                                   TAYLOR          MI   48180‐2466
SERATI, PATRICIA             7610 SLOAN                                                                                      TAYLOR          MI   48180‐2466
SERATT, A FAYE               4823 STILLWELL ST                                                                               LANSING         MI   48911‐2842
SERATT, JOE D                11740 MILLSTONE DR                                                                              GRAND LEDGE     MI   48837‐2267
SERATT, MICHAEL J            1225 PINE ST APT 2                                                                              GRAND LEDGE     MI   48837‐2140
SERATT, MICHAEL J            138 MCMILLAN ST                                                                                 GRAND LEDGE     MI   48837‐1122
SERAZIO, FRANK A             5247 KENDAL ST                                                                                  DEARBORN        MI   48126‐3189
SERAZIO, PETER G             4710 PARK MNR S APT 5311                                                                        SHELBY TWP      MI   48316‐4914
SERBA III, JOSEPH S          52 BELMONT ST                                                                                   BUFFALO         NY   14207‐1310
SERBA, CARL T                1715 CLARK RD                                                                                   LAPEER          MI   48446‐9316
SERBA, CARL THOMAS           1715 CLARK RD                                                                                   LAPEER          MI   48446‐9316
SERBA, GERALDINE J           35 BELMONT ST                                                                                   BUFFALO         NY   14207‐1309
SERBA, THOMAS D              7 NIMITZ CT                                                                                     TONAWANDA       NY   14150‐4713
SERBA, VIRGINIA M            1420 E VENICE AVE                                                                               VENICE          FL   34292‐3063
SERBAN, JULIA B              1322 HORNING RD                                                                                 DENVER          PA   17517‐8841
SERBAN, WANETA               12466 MCCUMSEY RD                                                                               CLIO            MI   48420‐7902
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Name                       Address1                          Address2                         Address3   Address4              City                State Zip
SERBANTEZ MARIA            SERBANTEZ, MARIA                  616 N GULF BLVD                                                   FREEPORT             TX 77541
SERBANTEZ, MARIA           616 N GULF BLVD                                                                                     FREEPORT             TX 77541‐3902
SERBEL, FRANCES            12 GRACE ST                                                                                         SWOYERSVILLE         PA 18704‐3007
SERBEL, JEROME W           2318 BEARS DEN RD                                                                                   YOUNGSTOWN           OH 44511‐1304
SERBENSKI, KENNETH J       37330 TERICREST DR                                                                                  STERLING HTS         MI 48310‐3958
SERBENTA JR, WILLIAM       725 BOWES RD                      K/8                                                               LOWELL               MI 49331
SERBENTA, PEGGY            1038 COLRAIN ST SW                                                                                  WYOMING              MI 49509
SERBRENA WILLIAMS          1904 ANTIETAM CIR                                                                                   COLUMBIA             TN 38401‐6807
SERBU, ROY T               255 WEST END DR UNIT 4302                                                                           PUNTA GORDA          FL 33950‐3950
SERBU, ROY T               255 W END DR UNIT 4302                                                                              PUNTA GORDA          FL 33950‐5369
SERBUS, ADA M              319 N OAK ST                                                                                        OWOSSO               MI 48867‐3024
SERBUS, ADA M              319 N OAK                                                                                           OWOSSO               MI 48867‐3024
SERBUS, JOSEPH J           10906 EASTON RD                                                                                     NEW LOTHROP          MI 48460‐9714
SERBUS, JOSEPH JAMES       10906 EASTON RD                                                                                     NEW LOTHROP          MI 48460‐9714
SERCEL, ANTHONY S          3585 GREEN BRIER BLVD APT 77A                                                                       ANN ARBOR            MI 48105‐2605
SERCER, MARGARET J         607 E 29TH AVE                                                                                      NORTH KANSAS CITY    MO 64116‐2908
SERCER, MARGARET J         607 EAST 29TH AVE                                                                                   NORTH KANSAS CITY    MO 64116‐2908
SERCO INC                  29305 JOHN R RD                                                                                     MADISON HEIGHTS      MI 48071‐5405
SERCO MANAGEMENT SYSTEMS                                     901 N SANTA ANITA AVE                                                                  CA 91006
SERCOMBE TRUCKING CO       3150 SHIRLEY DR                                                                                     JACKSON              MI 49201‐8679
SERCSKO, DOROTHY           116 MAGEE AVE                                                                                       LAVALLETTE           NJ 08735‐2226
SERCY L SMITH              4174 SHADOWFALL DR                                                                                  MEMPHIS              TN 38141
SERCY SMITH                4174 SHADOWFALL DR                                                                                  MEMPHIS              TN 38141‐7047
SERDA, DAVID               113 E BRAVO BLVD APT 10                                                                             ROMA                 TX 78584‐5644
SERDA, JERRY               6250 COUNTY ROAD 2                                                                                  SWANTON              OH 43558‐9807
SERDA, OLGA                2365 MIDDLEBELT RD                                                                                  W BLOOMFIELD         MI 48324‐1840
SERDA, VICTOR              2365 MIDDLEBELT RD                                                                                  W BLOOMFIELD         MI 48324‐1840
SERDAR
SERDAR C. YARICI           SERDAR C. YARICI                  BAHCELIECLER, TARANCA STR. 9/4              YALOVA TURKEY         YALOVA

SERDAR C. YARICI           SERDAR C. YARICI                  BAHCELIEVLER, TARANCA STR. 9/4              YALOVA TURKEY         YALOVA

SERDAR, MATHEW             17396 FOX                                                                                           REDFORD             MI   48240‐2308
SERDAR, NICHOLAS           2469 GEMINI DR                                                                                      LAKE ORION          MI   48360‐1926
SERDEL, DENNIS A           339 OAKWOOD LN                                                                                      PERRY               MI   48872‐9189
SERDENA JR, RUFINO R       822 BROOK RD                                                                                        LAKEWOOD            NJ   08701‐2102
SERDENES, THEANO           16025 PHEASANT RIDGE CT                                                                             WOODBINE            MD   21797‐8447
SERDI CORPORATION          1526 LITTON DR                                                                                      STONE MOUNTAIN      GA   30083‐1302
SERDIUK, IWAN              17424 MYRON ST                                                                                      LIVONIA             MI   48152‐3115
SERDOZ, MARY T             945 E 224TH ST                                                                                      EUCLID              OH   44123‐3305
SERDOZ, MARY T             945 EAST 224 STREET                                                                                 EUCLID              OH   44123‐3305
SERDYNSKI, DAVID A         1572 AUSTIN LN                                                                                      SAINT AUGUSTINE     FL   32092‐1047
SEREBOFF, NETTIE G         3835 NAYLORS LN                                                                                     BALTIMORE           MD   21208‐2845
SEREBRENNIK, BORIS         GOLDER LEONARD H                  67 OLD BOLTON RD                                                  STOW                MA   01775‐1212
SEREBRENNIKOV, BORIS
SERECKA KAREN              19 FLORENCE AVE                                                                                     BLOOMFIELD          NJ   07003‐5745
SERECKY, DAVID A           3337 CHESTNUT ST                                                                                    DEARBORN            MI   48124‐4371
SERECKY, STEVE R           8073 APPLE ORCHARD WAY                                                                              WASHINGTON          MI   48095‐1393
SERECSKO, DOROTHY          116 MAGEE AVE                                                                                       LAVALLETTE          NJ   08735
SEREIKA, ANTANAS           1310‐87TH STREET                                                                                    WILLOW SPRINGS      IL   60480‐1386
SEREIKA, ANTANAS           1310 W 87TH ST                                                                                      WILLOW SPRINGS      IL   60480‐1386
SEREIKA, ONA               1310 W 87TH ST                                                                                      WILLOW SPRINGS      IL   60480‐1386
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Name                            Address1                        Address2                     Address3            Address4                 City              State Zip
SEREIKA, ONA                    1310 87TH ST                                                                                              WILLOW SPRINGS      IL 60480‐1386
SEREIKA, PETER
SERENA
SERENA BONACCORSO               99 PERRIN DR                                                                                              ROCHESTER         NY   14622‐2455
SERENA CAMPBELL                 4475 KITRIDGE RD.                                                                                         DAYTON            OH   45424
SERENA CAMPBELL                 4895 W CO RD ‐ 50 S                                                                                       KOKOMO            IN   46901
SERENA CASTELLON                5101 PARO DR                                                                                              FLINT             MI   48506‐1525
SERENA HANN                     C/O MORELL KELLY P.C.           ATTN: LISA MORELL            182 VICTORIA ST S   KITCHENER, ONTARIO N2G
                                                                                                                 2B9
SERENA JONES                    BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                                BOSTON HEIGHTS    OH   44236
SERENA L MILLER                 5239 BROOKMILL CT                                                                                         DAYTON            OH   45414
SERENA R MCCANN                 227 N POPLAR ST                                                                                           ORANGE            CA   92868
SERENA SOFTWARE INC             GREG BROWN                      1900 SEAPORT BLVD FL 2                                                    REDWOOD CITY      CA   94063‐5588
SERENA SOFTWARE INC             3445 NW 211TH TER                                                                                         HILLSBORO         OR   97124‐7112
SERENA SOFTWARE INC             PO BOX 201448                                                                                             DALLAS            TX   75320‐1448
SERENA STIEVE                   132 NAWAKWA RD                                                                                            ROCHESTER HILLS   MI   48307‐5026
SERENA, GUY M                   24469 STATE HIGHWAY 27                                                                                    HOLCOMBE          WI   54745‐4472
SERENBERG KOLOMYSKI, ELAINE C   7229 ANGLE RD                                                                                             NORTHVILLE        MI   48168‐9413
SERENELLI, JOSEPH               2618 S CLINTON AVE                                                                                        TRENTON           NJ   08610
SERENI, DOROTHY M               1201 BIRCH AVE                                                                                            MORRISVILLE       PA   19067‐7427
SERENITA, JOSEPHINE T           45 LYNE LN                                                                                                ISLIP             NY   11751‐1310
SERENO, DEBORAH A               1 EXETER PASS                                                                                             COLTS NECK        NJ   07722
SERENS, ESTHER M                PO BOX 934                      C/O JOSEPH SERENS                                                         STANDISH          MI   48658‐0934
SERENS, JOSEPH D                PO BOX 934                                                                                                STANDISH          MI   48658‐0934
SERENS, RICHARD R               2280 KITCHEN RD                                                                                           TURNER            MI   48765‐9518
SERENSKY, JOE M                 631 N ELLSWORTH AVE                                                                                       SALEM             OH   44460‐1650
SERENSKY, MILDRED M             404 FAIRGROUND BLVD #103                                                                                  CANFIELD          OH   44406‐4406
SERENSKY, RICHARD W             3121 STATE RD. 225                                                                                        DIAMOND           OH   44412
SERENTILL, LUIS                 1373 ARBOR BLUFF CT                                                                                       LAWRENCEVILLE     GA   30045‐9775
SERES ‐ DAMEN, KATHRYN A        1212 CENTER AVE                                                                                           GLADWIN           MI   48624‐8093
SERES ANN M                     SERES, ANN M                    100 CENTURY PKWY STE 305                                                  MOUNT LAUREL      NJ   08054‐1182
SERES, ANTHONY JAMES            APT 302                         45200 KEDING STREET                                                       UTICA             MI   48317‐6025
SERES, DEBRA A                  116 N 11TH ST                                                                                             ELWOOD            IN   46036‐1553
SERES, GERALD A                 586 MAPLE RD                                                                                              LUPTON            MI   48635‐9307
SERES, JOHN D                   8208 GLENWOOD AVE                                                                                         YOUNGSTOWN        OH   44512‐5810
SERES, JOSEPH A                 4250 A1A S UNIT 0‐16                                                                                      ST AUGUSTINE      FL   32080‐7431
SERES, PETRA                    1550 NAYLOR ST                                                                                            WEST BLOOMFIELD   MI   48324‐3852
SERES, TAMAS T                  116 N 11TH ST                                                                                             ELWOOD            IN   46036‐1553
SERES, WILLIAM A.               122 BRIGANTINE BLVD                                                                                       WARETOWN          NJ   08758‐2676
SERESEROZ, BERNARDO             1880 SCENIC DR                                                                                            MUSKEGON          MI   49445‐9660
SERESEROZ, FRANCISCO G          415 E COMSTOCK ST                                                                                         OWOSSO            MI   48867‐3105
SERETHA HARDMAN                 700 E COURT ST APT 105                                                                                    FLINT             MI   48503‐6221
SERETHA JACKSON                 1225 S PATRICIA ST                                                                                        DETROIT           MI   48217‐1231
SERETIAN, GREGORY R             42340 BRADNER RD                                                                                          NORTHVILLE        MI   48168
SERETTA HARRIS                  4514 CARRIE AVE                                                                                           ST LOUIS          MO   63115
SERF, CATHERINE                 PO BOX 2782                                                                                               MUNCIE            IN   47307‐0782
SERF, CATHERINE                 P.O. BOX 2782                                                                                             MUNCIE            IN   47307‐0782
SERF, DANIEL                    1700 N TURNER ST                                                                                          MUNCIE            IN   47303‐2445
SERF, FRANCA L                  816 MEADOWCREST DR                                                                                        ANDERSON          IN   46011‐2306
SERF, IZOLA P                   1625 NORTHBROOK DR                                                                                        INDIANAPOLIS      IN   46260‐2754
SERF, SAMUEL L                  1625 NORTHBROOK DR                                                                                        INDIANAPOLIS      IN   46260‐2754
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Name                       Address1                          Address2                        Address3   Address4         City               State Zip
SERFASS LOREN D (494192)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                             STREET, SUITE 600
SERFASS, LOREN D           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
SERFASS, RANDY W           134 SPENCER CIR                                                                               FOREST HILL        MD   21050‐3190
SERFOZO, MICHAEL A         44314 STANG RD                                                                                ELYRIA             OH   44035‐1938
SERGE DARRIGRANDE          6335 ONSTED HWY. RTE. 2                                                                       ONSTED             MI   49265
SERGE GUILLOT              2604 LYNCH                                                                                    HIGHLAND           MI   48357‐3210
SERGE LAFONTANT            9321 KILDARE PARK RD                                                                          SHREVEPORT         LA   71118‐3529
SERGE NICOLAS              22812 RICHARDSON LN                                                                           LAND O LAKES       FL   34639‐4061
SERGE OSTROVETZ            18686 WILLIAMS ST                                                                             LIVONIA            MI   48152‐2842
SERGE SABOURIN             17 LAKS CT                                                                                    SMYRNA             DE   19977‐4852
SERGE SIMONEAU             7836 MEISNER RD                                                                               CASCO              MI   48064‐3308
SERGE WEISS                PO BOX 9022                       C/O SHANGHAI                                                WARREN             MI   48090‐9022
SERGE, PETER L             804 PLEASANT HILL RD                                                                          WALLINGFORD        PA   19086‐7212
SERGEANT JR, JAMES G       20 WATERVIEW DR                                                                               LAKE ORION         MI   48362‐1543
SERGEANT, DAVID M          147 OLD PERCH RD                                                                              ROCHESTER HILLS    MI   48309‐2135
SERGEANT, JAMES G          17719 WINSOME                                                                                 FRASER             MI   48026‐3114
SERGEANT, MERRILL          623 HARD RD                                                                                   WEBSTER            NY   14580‐8903
SERGEANT, PAMELA J         6271 US HIGHWAY 431                                                                           ATTALLA            AL   35954‐7837
SERGEANT, RICHARD C        36708 PUTNAM ST                                                                               CLINTON TOWNSHIP   MI   48035‐1365
SERGEANT, SANDRA J         20 WATERVIEW DR                                                                               LAKE ORION         MI   48362‐1543
SERGEJ A. LOKOT
SERGENT CLATE              C/O MCKENNA & CHIODO              436 BOULEVARD OF THE ALLIES ‐                               PITTSBURGH         PA 15219
                                                             SUITE 500
SERGENT CLATE (507057)     (NO OPPOSING COUNSEL)
SERGENT JR, CURBIN         1479 WICHITA DR S                                                                             HAMILTON           OH   45013‐1548
SERGENT JR, JOHN W         1158 SAINT CLAIR AVE                                                                          HAMILTON           OH   45015‐2052
SERGENT SR, CLYDE          6101 ARBELA RD. RT. 1                                                                         MILLINGTON         MI   48746
SERGENT, ANCLE E           55640 JEWELL RD                                                                               SHELBY TWP         MI   48315‐1041
SERGENT, CLATE             THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD         SUITE 44                    CORAL GABLES       FL   33146
SERGENT, CLATE             MCKENNA & CHIDO                   436 BOULEVARD OF THE ALLIES ‐                               PITTSBURGH         PA   15219
                                                             SUITE 500
SERGENT, DALE V            8785 CRONK RD                                                                                 CORUNNA            MI   48817‐9736
SERGENT, DEBRA L.          4315 SETON ST                                                                                 PITTSBURGH         PA   15227‐1245
SERGENT, DENNIS P          6224 KING ARTHUR DR                                                                           SWARTZ CREEK       MI   48473‐8855
SERGENT, DENNY L           114 ARROWWOOD DR                                                                              PRUDENVILLE        MI   48651‐9527
SERGENT, DERRELL G         5278 HEADGATES RD                                                                             HAMILTON           OH   45011‐2041
SERGENT, EARL L            7842 SWAFFER RD                                                                               VASSAR             MI   48768‐9656
SERGENT, EVELYN P          12125 BRIDGEPORT LN                                                                           CINCINNATI         OH   45240‐1211
SERGENT, GALE M            6142 SURREY LN                                                                                BURTON             MI   48519‐1316
SERGENT, GARY D            11370 TRAILS END N                                                                            WILLIAMSBURG       MI   49690‐9205
SERGENT, GARY J            4135 WHISPERING OAK DR                                                                        FLINT              MI   48507‐5513
SERGENT, JACK B            6735 S RUESS RD                                                                               OWOSSO             MI   48867‐9261
SERGENT, JAMES C           4243 S ST RT 48                                                                               WEST MILTON        OH   45383‐1926
SERGENT, JAMES C           4243 STATE ROUTE 48                                                                           WEST MILTON        OH   45383‐1926
SERGENT, JANICE S          1282 JOAN DR                                                                                  HAMILTON           OH   45013‐9616
SERGENT, LARRY J           922 PENNSYLVANIA AVE                                                                          MC DONALD          OH   44437‐1729
SERGENT, LINDA M           57 PINEWOOD CT                                                                                LONDON             KY   40744‐7451
SERGENT, LINDA M           114 ARROWWOOD DR                                                                              PRUDENVILLE        MI   48651‐9527
SERGENT, LOUISE W          6043 SIPES LN                                                                                 FLINT              MI   48532‐5320
SERGENT, MARY L            6110 HAMMEL AVENUE                                                                            CINCINNATI         OH   45237‐4902
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SERGENT, NORMAN                     3146 N LAWNDALE AVE                                                                                              INDIANAPOLIS      IN 46224‐2172
SERGENT, NORWOOD R                  4912 BARNES RD                                                                                                   MILLINGTON        MI 48746‐9043
SERGENT, ROBERT J                   6410 OAK HILL RD                                                                                                 ORTONVILLE        MI 48462‐9247
SERGENT, SCOTT A                    1405 TIMBER RIDGE CT                                                                                             MILFORD           MI 48380‐3667
SERGENT, STACEY R                   4312 EAST 4TH STREET                                                                                             DAYTON            OH 45431‐1810
SERGENT, THEODORE M                 118 GAZELLE DR                                                                                                   PRUDENVILLE       MI 48651‐9534
SERGENT, WILLARD C                  57 PINEWOOD CT                                                                                                   LONDON            KY 40744‐7451
SERGENT, WILLIAM A                  4076 SHORT RD                                                                                                    STANLEY           NY 14561‐9504
SERGENT, WILLIAM D                  4312 E 4TH ST                                                                                                    DAYTON            OH 45431‐1810
SERGEON, RICHARD                    PRO SE
SERGEY                              POB 1607                            HVATZELET ST                                       NESHER ISRAEL             NESHER
SERGEY
SERGEY ANIKIN                       3705 HAVEN AVE. SUITE 109                                                                                        MENLO PARK       CA 94025
SERGEY ANTONOV                      PH15‐11 MICHAEL POWER PLACE                                                            TORONTO ON M9A 5G3
                                                                                                                           CANADA
SERGEY DAVID                        1718 WINDING WILLOW DR                                                                                           TRINITY           FL   34655‐7141
SERGEY DRESVYANNIKOV                22705 W 46TH TER                                                                                                 SHAWNEE           KS   66226‐2451
SERGEY KONOVALOV                    POB 1607                            HVATZELET ST                                       NESHER ISRAEL
SERGEY VORONIN                      C/O VICTOR VORONIN                  0‐18 OVERLOOK PL                                                             FAIR LAWN        NJ    07410‐5542
SERGEY, HELEN K                     832 SPINDLE HILL RD                                                                                              WOLCOTT          CT    06716‐1220
SERGI, RALPH                        52 PLYMOUTH RD                                                                                                   FISHKILL         NY    12524‐1407
SERGIO A AGRELO                     1040 GEORGIAN DR                                                                                                 KETTERING        OH    45429
SERGIO A CAMPOS                     2701 GLASSBORO CIR                                                                                               ARLINGTON        TX    76015‐1439
SERGIO ALI                          9 BENJOE DR                                                                                                      BAY SHORE        NY    11706‐3314
SERGIO ANTONINI                     CORSO PORTA NUOVA 20                                                                                             VERONA                 37122
SERGIO BALTAZAR
SERGIO BENEDETTI                    601 MORNINGSIDE DR                                                                                               SOUTHLAKE         TX   76092‐8823
SERGIO BIANCO                       VIA F. S. NITTI 72                  00191 ROMA                      ITALY
SERGIO CAMARILLO                    1785 PINEKNOLL DR SE                                                                                             KENTWOOD         MI    49508‐6433
SERGIO CAMPOS                       2701 GLASSBORO CIR                                                                                               ARLINGTON        TX    76015‐1439
SERGIO CERVANTES                    PO BOX 8354                                                                                                      MISSION HILLS    CA    91346‐8354
SERGIO CITRINITI                    124 ALLENHURST RD                                                                                                AMHERST          NY    14226‐3004
SERGIO COLLESEI                     VIA MATTEO GALDI, 12                FIRENZE                         ITALIA
SERGIO COLLU                        VIA CONTI 17                                                                           47042 CESENATICO ITALIA
SERGIO CONTRERAS                    P.O. BOX 221575 EL PASO TX. 79913                                                                                EL PASO          TX    79913
SERGIO CRISTAN                      2905 ARCADIA DR                                                                                                  LANSING          MI    48906‐2458
SERGIO DOMINGUEZ                    732 W 45TH ST                                                                                                    LOS ANGELES      CA    90037‐3112
SERGIO DOMINGUEZ                    4805 N COLLEGE AVE                                                                                               BETHANY          OK    73008
SERGIO DOMINGUEZ                    138 S MERRIMAC ST                                                                                                PONTIAC          MI    48340‐2538
SERGIO ESTRADA                      3154 DUFFY ST                                                                                                    SAN BERNARDINO   CA    92407‐6314
SERGIO GARCIA                       1340 SAGEBROOK WAY                                                                                               WEBSTER          NY    14580‐9439
SERGIO GONZALEZ                     1010 CHERRYLAWN DR                                                                                               PONTIAC          MI    48340‐1700
SERGIO GONZALEZ
SERGIO GUADAGNOLI                   PIAZZALE DELL'INDUSTRIA, 46         C/O UNICREDIT PRIVATE BANKING   FILIALE ROMA EUR   00144 ROMA

SERGIO HERNANDEZ                    5529 LANCESHIRE LN                                                                                               OKLAHOMA CITY    OK 73135‐5410
SERGIO JUAREZ
SERGIO LAZZARINI & ELIANA BUSOLIN   C/O AVV PIETRO PAOLO MENNEA         VIA SILLA 7                                        00192 ROME ‐ ITALY
SERGIO LLERENAS                     5812 FRANCIS AVE                                                                                                 COUNTRYSIDE      IL    60525‐4034
SERGIO MEDINA                       6413 LOGAN RD                                                                                                    WATERFORD        MI    48329‐2964
SERGIO R TOLOSSA                    1019 W CITRON ST                                                                                                 CORONA           CA    92882‐4052
SERGIO RAMOS                        3412 FLINT HILL PL                                                                                               WOODBRIDGE       VA    22192‐1011
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Name                                Address1                        Address2                        Address3                 Address4              City               State Zip
SERGIO REYNA CRUZ                   C/O WIGINGTON RUMLEY DUNN LLP   800 N SHORELINE BLVD            14TH FLOOR SOUTH TOWER                         CORPUS CHRISTI      TX 78401
SERGIO REYNA CRUZ INDIVIDUALLY      C/O WIGINGTON RUMLEY DUNN LLP   800 N SHORELINE BLVD            14TH FLOOR SOUTH TOWER                         CORPUS CHRISTI      TX 78401
SERGIO RODRIGUES                    13156 ROXBURY DR                                                                                               STERLING HEIGHTS    MI 48312‐1534
SERGIO RODRIGUES                    3035 W FARRAND RD                                                                                              CLIO                MI 48420‐8830
SERGIO SAENZ                        6907 COUNTRY ROSE                                                                                              SAN ANTONIO         TX 78240‐4464
SERGIO SANCHEZ                      2305 LANCASTER DR                                                                                              GRAND PRAIRIE       TX 75052‐4605
SERGIO SANCHEZ                      THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                                    HOUSTON             TX 77017
SERGIO SARAGO'                      VIA VENETO 1, LONGOBARDI                                                                                       VIBO VALENTIA            89900
SERGIO SCIARAFFIA                   VIA LIGURIA 68                                                                                                 TARANTO                  74100
SERGIO SEVERI                       PIAZZA DELL 'UNITA' 14                                                                   40128 BOLOGNA ITALY
SERGIO SEVERI                       PIAZZA DELL UNITA 14                                                                     40128 BOLOGNA ITALY
SERGIO TREVISIOL                    VIA ADIGE 2/G                                                                                                  RIVOLI TORINO           10090
SERGIO VILLAFANA                    NUCLEO 9 DPTO 215               COMPLEJO PRAIA B PORTEZUELO     B.NORDELTA TIGRE                               BUENOS AIRES            1671
SERGIO VILLALTA                     3790 HEMMETER RD                                                                                               SAGINAW            MI   48603‐2023
SERGIO WECHSLER                     3236 GLENRIDGE CT                                                                                              PALM HARBOR        FL   34685‐1729
SERGIO, CAROL D                     1704 WASHINGTON LANDING DR                                                                                     EATON              OH   45320‐9688
SERGISON, CHARLES J                 15012 GARY LN                                                                                                  LIVONIA            MI   48154‐5100
SERGISSON, ROBERT H                 9322 N SUNFLOWER BLOSSOM PL                                                                                    TUCSON             AZ   85743‐5196
SERGO, ELMO H                       2 VILLAGE NORTH DR APT 11                                                                                      HILTON HEAD        SC   29926‐1351
SERGO, EMILY C                      HCR MANOR CARE                  FOR EMILY SERGO                 512 EAST OGDEN AVENUE                          WESTMONT           IL   60559
SERGOTICK JR, IGNATIUS              4217 CARDWELL AVE                                                                                              NOTTINGHAM         MD   21236‐4007
SERGOTT, EMIL D                     7913 GLACIER CLUB DR                                                                                           WASHINGTON         MI   48094‐2226
SERGUEEVA JANNA                     2311 SOMERSET BLVD                                                                                             TROY               MI   48084‐4077
SERGUEEVA, JANNA M                  2311 SOMERSET BLVD                                                                                             TROY               MI   48084‐4077
SERGUSON, KARL D                    64 BRIGHTON ST                                                                                                 MASSENA            NY   13662‐2207
SERGUSON, KARL DENNIS               64 BRIGHTON ST                                                                                                 MASSENA            NY   13662‐2207
SERGUSON, SHERRY KAY                451 STATE HIGHWAY 37C                                                                                          MASSENA            NY   13662
SERI M FENECH                       15710 W MI 36 36                                                                                               PINCKNEY           MI   48169
SERIAN GLORIA J (305569)            BRAYTON PURCELL                 PO BOX 6169                                                                    NOVATO             CA   94948‐6169
SERIAN, GLORIA J                    BRAYTON PURCELL                 PO BOX 6169                                                                    NOVATO             CA   94948‐6169
SERICH JEANETT                      14425 GLADSTONE RD                                                                                             NORTH JACKSON      OH   44451‐9611
SERICH, BERTHA C                    3468 DUFFIELD RD                                                                                               LENNON             MI   48449‐9418
SERICH, BERTHA C                    3468 S DUFFIELD RD                                                                                             LENNON             MI   48449‐9418
SERICH, GREGORY P                   235 W ELDER RD                                                                                                 HARRISON           MI   48625‐8502
SERICH, PATRICIA L                  235 W ELDER RD                                                                                                 HARRISON           MI   48625‐8502
SERICOLA JR, FRANK L                399 QUARRY LN NE UNIT D                                                                                        WARREN             OH   44483‐4558
SERICOLA, LISA C                    PO BOX 231563                                                                                                  LAS VEGAS          NV   89105‐1563
SERIDA MAGILL                       500 5TH AVE                                                                                                    ELIZABETH          NJ   07202‐3706
SERIEUX, ALEX                       24620 PINE VILLAGE BLVD 4                                                                                      OAK PARK           MI   48237
SERIGNE TRAORE‐DIOP                 35674 SHOOK LN                                                                                                 CLINTON TWP        MI   48035‐3227
SERIGRAPHIC TECHNIQUE SPECIALI      215 TREMONT ST                  PO BOX 30802                                                                   ROCHESTER          NY   14608
SERIGRAPHIC TECHNIQUE SPECIALISTS   PO BOX 30802                                                                                                   ROCHESTER          NY   14603‐0802
SERIGUCHI, ROBBIN K                 2594 HOUNDS CHASE DR                                                                                           TROY               MI   48098‐2339
SERILLON, MUGUREL                   18665 HELEN ST                                                                                                 DETROIT            MI   48234
SERIMAX NORTH AMERICAN, LLC         TED COMBS                       11315 W LITTLE YORK RD BLDG 3                                                  HOUSTON            TX   77041‐4933
SERIN, JOHN R                       PO BOX 37                                                                                                      ADRIAN             MI   49221‐0037
SERING, JOANN                       215 N POWER RD UNIT 266                                                                                        MESA               AZ   85205‐8446
SERINO NAZZARO (355938) ‐ SERNIO    ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                                            NEW YORK           NY   10006‐1638
NAZZARO
SERINO, ANTHONY J                   5679 ORTMAN DR                                                                                                 STERLING HTS       MI 48314‐2071
SERINO, CHARLENE L                  20810 MYKONOS CT                                                                                               N FORT MYERS       FL 33917‐7753
SERINO, SONDRA L                    P O BOX 1314                                                                                                   MARTINSBURG        WV 25402
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Name                     Address1                      Address2            Address3         Address4         City                State Zip
SERIO, JOSEPHINE F       22 JEFFERSON DR                                                                     LOCKPORT             NY 14094‐5535
SERIO, NICHOLAS J        4 ALVIL RD                                                                          WILMINGTON           DE 19805‐2030
SERITA OATES             1709 TIMBERLANE DR                                                                  FLINT                MI 48507‐1408
SERKAIAN, JOHN           24816 TAFT RD                                                                       NOVI                 MI 48375‐2241
SERLENCIE ABRAM          9474 SIMPSON RD                                                                     SHREVEPORT           LA 71129‐8826
SERLEY, AMY D            2112 STALLION RD                                                                    CANTONMENT           FL 32533‐7577
SERLEY, FREDERICK V      197 ABBINGTON AVE                                                                   BUFFALO              NY 14223‐1663
SERLEY, FREDERICK V.     197 ABBINGTON AVE                                                                   BUFFALO              NY 14223‐1663
SERLEY, JOHN R           1327 LIPSCOMB DR                                                                    BRENTWOOD            TN 37027‐7008
SERLEY, ROBERT M         2900 STEWART CAMPBELL PT                                                            THOMPSONS STATION    TN 37179‐5275
SERLEY, THOMAS J         1058 TOM OSBORNE RD                                                                 COLUMBIA             TN 38401‐6738
SERLS, PATSY R           3186 CAROLINE ST                                                                    AUBURN HILLS         MI 48326‐3615
SERMACK, ROBERT J        820 WINCHESTER AVE                                                                  LINCOLN PARK         MI 48146‐3170
SERMAD BAKKAL            1968 TRANQUIL CT                                                                    COMMERCE TOWNSHIP    MI 48390‐1861
SERMAK, BARBARA F        198 SEATON DR                                                                       MIO                  MI 48647‐9362
SERMAK, BARBARA F        198 SEATON DR.                                                                      MIO                  MI 48647‐9362
SERMAK, KENNETH M        5160 N CENTER RD                                                                    FLINT                MI 48506‐1042
SERMATECH/LIMERICK       159 SOUTH LIMERICK ROAD                                                             ROYERSFORD           PA 19468‐1603
SERMENO, JUANITA         111 HUISACHE                                                                        MISSION              TX 78572‐5511
SERMENO, MARCOS          315 AGATE DRIVE                                                                     ROSCOMMON            MI 48653‐8753
SERMENO, PATRICIA M      2093 DELANEY ST                                                                     BURTON               MI 48509‐1022
SERMENO, SANTOS          14209 N GENESEE RD                                                                  CLIO                 MI 48420‐9155
SERMERSHEIM, CHARLES L   2537 N 90TH ST                                                                      WAUWATOSA            WI 53226‐1811
SERMO JEANETTE           29784 ARNELL CT 5                                                                   ROSEVILLE            MI 48066
SERMO, MICHAEL F         1890 ROSEMONT RD                                                                    BERKLEY              MI 48072‐1846
SERMON, JOHN A           1505 PARK AVE                                                                       BAY CITY             MI 48708‐5532
SERN, ERNEST W           208 EUSTON RD                                                                       GARDEN CITY          NY 11530‐1204
SERN, VIRGINIA M         208 EUSTON RD                                                                       GARDEN CITY          NY 11530‐1204
SERNA, ANDREW G          PO BOX 3742                                                                         WICHITA FALLS        TX 76301‐0742
SERNA, CRISTINO V        PO BOX 203                                                                          FALCON HEIGHTS       TX 78545‐0203
SERNA, GINGER R          19858 WILLIAMSON ST                                                                 CLINTON TWP          MI 48035‐4087
SERNA, HERACLIO G        3000 N CUMMINGS AVE                                                                 MISSION              TX 78574‐2107
SERNA, HIGENIO           3308 WALKER RD                                                                      LANSING              MI 48906‐3266
SERNA, HUMBERTO          13479 NEAL RD                                                                       DAVISBURG            MI 48350‐3308
SERNA, JACQUELINE L      3143 30TH AVE                                                                       SEARS                MI 49679
SERNA, JOSEFA            4825 ANSON ST                                                                       LANSING              MI 48911‐2805
SERNA, LETICIA           703 E 28TH STREET                                                                   MISSION              TX 78574‐2153
SERNA, LETICIA           703 E 28TH ST                                                                       MISSION              TX 78574‐2153
SERNA, MARIA L           232 S FOSTER AVE                                                                    LANSING              MI 48912‐4024
SERNA, RICARDO           15392 JACKSON ST                                                                    MIDWAY CITY          CA 92655‐1519
SERNA, RICHARD G         9202 WATER OAK DR                                                                   ARLINGTON            TX 76002‐3097
SERNA, RICHARD GARCIA    9202 WATER OAK DR                                                                   ARLINGTON            TX 76002‐3097
SERNA, ROQUEL            PO BOX 1892                                                                         ALICE                TX 78333‐1892
SERNA, THOMAS            3143 30TH AVE                                                                       SEARS                MI 49679‐8733
SERNA, TIMOTEO           332 S ELM ST                                                                        LAPEER               MI 48446‐2527
SERNA, WALTER            2824 WINDRIDGE OAKS DR                                                              PALM HARBOR          FL 34684‐1665
SERNA‐RILEY, CONSUELO    9097 DUBLIN WAY                                                                     DAVISON              MI 48423‐8440
SERNAK FRANK J.          SERNAK, FRANK J.
SERNE, HAROLD S          19682 ALBION ROAD                                                                   STRONGSVILLE        OH   44149‐2320
SERNE, RONALD J          6083 7 MILE RD                                                                      BURLINGTON          MI   49029‐8701
SERNETTA BOUIE           220 PROSPECT ST APT A4A                                                             EAST ORANGE         NJ   07017‐2710
SERNETTA E BOUIE         220 PROSPECT ST APT A4A                                                             EAST ORANGE         NJ   07017‐2710
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Name                                   Address1                         Address2                     Address3   Address4         City               State Zip
SERNICK, LISA M                        21476 MAC ARTHUR BLVD                                                                     WARREN              MI 48089‐3038
SERNIK, AUDREA L                       34 BAKER AVE                                                                              HERMITAGE           PA 16148‐6148
SERNIO, NAZZARO                        ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                      NEW YORK            NY 10006‐1638
SERNIOK MICHAEL                        818 WOLVERINE DR                                                                          WOLVERINE LAKE      MI 48390‐2377
SERNIUK, MICHAEL A                     818 WOLVERINE DR                                                                          WOLVERINE LAKE      MI 48390‐2377
SERNULKA, STEVE J                      1868 BEECHWOOD ST NE                                                                      WARREN              OH 44483‐4136
SERNULKA, WILLIAM J                    4214 14TH AVE E                                                                           BRADENTON           FL 34208‐5814
SERO, DARLENE                          P O BOX 655                                                                               MT MORRIS           MI 48458‐0655
SERO, DARLENE                          PO BOX 655                                                                                MOUNT MORRIS        MI 48458‐0655
SERO, LUCILLE E.                       8150 BOULDER DR                                                                           DAVISON             MI 48423‐8628
SEROCK, JOSEPH B                       526 QUAIL CT                                                                              LONGS               SC 29568‐8638
SEROCKI, ERNEST J                      PO BOX 92                                                                                 MAPLE CITY          MI 49664‐0092
SERODIO, JOSE R                        80 BENTLEY ST                                                                             E PROVIDENCE         RI 02914‐4950
SEROKA JOSEPH                          SEROKA, JOSEPH                   3 SUMMIT PARK DR STE 100                                 INDEPENDENCE        OH 44131‐2598
SEROKA, JOSEPH                         KROHN & MOSS                     3 SUMMIT PARK DR STE 100                                 INDEPENDENCE        OH 44131‐2598
SEROKA, RICHARD P                      5327 CONESTOGA DR                                                                         FLUSHING            MI 48433‐1250
SEROMIK, KATHLEEN A                    11373 DOUGLAS RD                                                                          TEMPERANCE          MI 48182‐9770
SEROMIK, RONALD J                      2200 SMITH RD                                                                             TEMPERANCE          MI 48182‐1110
SEROMIK, SHIRLEY T                     781 CREEKWATER TER APT 111                                                                LAKE MARY           FL 32746‐6063
SERONO INC                             1 TECHNOLOGY PL                                                                           ROCKLAND            MA 02370‐1071
SEROOGY, THOMAS P                      4064 WILDCAT CT                                                                           GREENFIELD          WI 53228‐1890
SERORO, LOIS                           3042 W PALM VISTA                                                                         TUCSON              AZ 85705‐1036
SEROTA, KYLE                           3595 BRIARBROOKE LN                                                                       OAKLAND TOWNSHIP    MI 48306‐4704
SEROTINI, ANNIE                        1850 E HUEBBE PKWY               APT 111                                                  BELOIT              WI 53511
SEROTKO, DAVID O                       2929 POND LN SW                                                                           WARREN              OH 44481‐9279
SEROTKO, VIVIAN A                      1500 STATE ROUTE 534                                                                      SOUTHINGTON         OH 44470‐9535
SEROTTA, ROBERT J                      703 BEDFORD RD                                                                            SCHENECTADY         NY 12308‐3444
SEROW, TERESA L                        7590 MARK AVE                                                                             HUBER HEIGHTS       OH 45424‐3213
SERPA, GUADALUPE M                     8409 NE 75TH TER                                                                          KANSAS CITY         MO 64158
SERPE, MADELINE C                      18 MAPLE AVE                                                                              BELLPORT            NY 11713‐2011
SERPENTINI CHEVROLET OF STRONGSVILL    15303 ROYALTON RD                                                                         STRONGSVILLE        OH 44136‐5440

SERPENTINI CHEVROLET OF STRONGSVILLE 15303 ROYALTON RD                                                                           STRONGSVILLE       OH 44136‐5440

SERPENTINI CHEVROLET OF STRONGSVILLE ROBERT SERPENTINI                  15303 ROYALTON RD                                        STRONGSVILLE       OH 44136‐5440

SERPENTINI CHEVROLET OF TALLMADGE      140 WEST AVE                                                                              TALLMADGE          OH 44278‐2206

SERPENTINI CHEVROLET PONTIAC & BUIC    329 N MAIN ST                                                                             ORRVILLE           OH 44667‐1619

SERPENTINI CHEVROLET PONTIAC & BUICK   329 N MAIN ST                                                                             ORRVILLE           OH 44667‐1619
OF ORRVILLE
SERPENTINI CHEVROLET, INC.             310 W GARFIELD RD                                                                         AURORA             OH 44202‐8890
SERPENTINI CHEVROLET, INC.             15303 ROYALTON RD                                                                         STRONGSVILLE       OH 44135‐5440
SERPENTO THOMAS G                      SERPENTO, THOMAS G
SERPENTO, STAN T                       28164 GRAND DUKE DR                                                                       FARMINGTON HILLS   MI 48334‐5217
SERPI ALEXANDER J SR (477268)          ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                               BALTIMORE          MD 21202
                                                                        CHARLES CENTER 22ND FLOOR
SERPI, ALEXANDER J                     ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                BALTIMORE          MD 21202
                                                                        CHARLES CENTER 22ND FLOOR
SERR, DENISE                           7057 CALKINS RD                                                                           FLINT              MI 48532‐3002
SERR, GAIL A                           5152 KENDALL DR                                                                           BURTON             MI 48509‐1900
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Name                               Address1                        Address2                         Address3         Address4                 City                  State Zip
SERR, JEFFERSON D                  3270 W MAIN ST RT 4                                                                                        OWOSSO                 MI 48867
SERR, RANDY K                      10363 BISHOP HWY                                                                                           DIMONDALE              MI 48821‐8736
SERR, VERNON L                     2411 BINGHAM RD                                                                                            CLIO                   MI 48420‐1971
SERR, WILLO G                      4345 ANN ST                                                                                                SAGINAW                MI 48603‐4111
SERRA ANTHONY & MARY               9709 PARKWAY E STE D                                                                                       BIRMINGHAM             AL 35215‐7854
SERRA AUTOMOTIVE                   3118 E HILL RD                                                                                             GRAND BLANC            MI 48439‐8106
SERRA BUICK‐PONTIAC‐GMC L.L.C.     JOSEPH SERRA                    12300 30 MILE RD                                                           WASHINGTON TOWNSHIP    MI 48095‐2031
SERRA BUICK‐PONTIAC‐GMC‐CADILLAC   12300 30 MILE RD                                                                                           WASHINGTON TOWNSHIP    MI 48095‐2031

SERRA CHEVROLET INC                1170 CENTER POINT PKWY                                                                                     BIRMINGHAM             AL   35215‐6308
SERRA CHEVROLET INC                BADDLEY & MAURO LLC / BADDLEY   2545 HIGHLAND AVE S STE 201                                                BIRMINGHAM             AL   35205
                                   THOMAS E JR
SERRA CHEVROLET INC
SERRA CHEVROLET INC                MAX A MOSELEY JOHNSTON BARTON   569 BROOKWOOD VILLAGE SUITE                                                BIRMINGHAM             AL   35209
                                   PROCTOR & ROSE LLP              901
SERRA CHEVROLET INC 3RD ACTION     SERRA CHEVROLET INC             2100A SOUTHBRIDGE PKWY STE 450                                             BIRMINGHAM             AL   35209‐7706

SERRA CHEVROLET INC 4TH ACTION
SERRA CHEVROLET OF JACKSON, INC.   JOSEPH SERRA                    189 STONEBRIDGE BLVD                                                       JACKSON               TN 38305‐2040
SERRA CHEVROLET, INC               MAX A MOSELEY, ESQ.             BAKER, DONELSON, BEARMAN,        WACHOVIA TOWER   420 20TH STREET NORTH,   BIRMINGHAM            AL 35203
                                                                   CALDWELL & BERKOWITZ, PC                          SUITE 1600
SERRA CHEVROLET, INC.              JOSEPH SERRA                    7850 US HIGHWAY 64                                                         BARTLETT              TN    38133‐4008
SERRA CHEVROLET, INC.              KEVIN SERRA                     1170 CENTER POINT PKWY                                                     BIRMINGHAM            AL    35215‐6308
SERRA CHEVROLET, INC.              DONALD PASCOE                   125 S GEBHART CHURCH RD                                                    MIAMISBURG            OH    45342‐3648
SERRA CHEVROLET, INC.              7850 US HIGHWAY 64                                                                                         BARTLETT              TN    38133‐4008
SERRA CHEVROLET, INC.              1170 CENTER POINT PKWY                                                                                     BIRMINGHAM            AL    35215‐6308
SERRA CHEVROLET, INC.              125 S GEBHART CHURCH RD                                                                                    MIAMISBURG            OH    45342‐3648
SERRA CHEVROLET‐CADILLAC           189 STONEBRIDGE BLVD                                                                                       JACKSON               TN    38305‐2040
SERRA CHEVROLET‐OLDSMOBILE         40941 US HIGHWAY 280                                                                                       SYLACAUGA             AL    35150‐6812
SERRA INVESTMENTS INC              PO BOX 557                      G 6167 S SAGINAW RD                                                        GRAND BLANC           MI    48480‐0557
SERRA JUANITA                      SERRA, JUANITA                  PO BOX 800                                                                 WELCH                 WV    24801‐0800
SERRA TOYOTA SCION                 PO BOX 3009                                                                                                FARMINGTON HILLS      MI    48333‐3009
SERRA, AL CHEVROLET INC            PO BOX 557                      G 6167 S SAGINAW RD                                                        GRAND BLANC           MI    48480‐0557
SERRA, ANNE                        550 HIDDEN HARBOR DRIVE                                                                                    FAIRPORT HBR          OH    44077‐5590
SERRA, DEREK J                     4601 MONTANO RD NW APT 26                                                                                  ALBUQUERQUE           NM    87120
SERRA, DEREK JAMES                 4601 MONTANO RD NW APT 26                                                                                  ALBUQUERQUE           NM    87120
SERRA, DONNA M                     18N283 CARRIAGE WAY LN                                                                                     HUNTLEY                IL   60142‐8088
SERRA, GILBERT M                   42457 W NORTH STAR DR                                                                                      MARICOPA              AZ    85238‐3169
SERRA, GILBERT M                   42457 WEST NORTH STAR DRIVE                                                                                MARICOPA              AZ    85238‐3169
SERRA, GILBERT M                   42 OSAGE CIR                                                                                               WATERFORD             MI    48328
SERRA, GREGORY D                   8233 WASCHULL DR                                                                                           WASHINGTON            MI    48094‐2330
SERRA, HECTOR G                    8520 ENGLEWOOD DR                                                                                          CLARKSTON             MI    48346‐1161
SERRA, JOHN                        14920 DOVER CT                                                                                             SHELBY TWP            MI    48315‐4431
SERRA, JOSEPH F                    2217 WINDING WAY DR                                                                                        DAVISON               MI    48423‐2042
SERRA, JUANITA                     WRIGHT LACY JR                  PO BOX 800                                                                 WELCH                 WV    24801‐0800
SERRA, MARIA C                     1067 N GLENGARRY RD                                                                                        BLOOMFIELD HILLS      MI    48301‐2231
SERRA, NICK J                      1786 WADHAMS RD                                                                                            SAINT CLAIR           MI    48079‐3114
SERRA, ROBIN M                     7637 WOODVIEW DR                                                                                           WATERFORD             MI    48327‐4178
SERRA, SALVATORE P                 205 PANTHER CT                                                                                             FRANKLIN              TN    37064‐4768
SERRA, SALVATORE PHILIP            205 PANTHER COURT                                                                                          FRANKLIN              TN    37064‐4768
SERRA, SAM J                       3571 CHARLES ST                                                                                            LAKEPORT              MI    48059‐2204
SERRA, SARAH L                     4142 WINTER HUE LN                                                                                         DAVISON               MI    48423‐8923
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Name                             Address1                             Address2                        Address3   Address4         City               State Zip
SERRA,SALVATORE PHILIP           205 PANTHER CT                                                                                   FRANKLIN            TN 37064
SERRADAS, JOSE' M                3370 PARSONS RUN                                                                                 SUWANEE             GA 30024‐1095
SERRADAS, JOSE' MANUEL           3370 PARSONS RUN                                                                                 SUWANEE             GA 30024‐1095
SERRAINO FIORY PIERFRANCESCO     VIA PORTOVENERE,49 00054 FIUMICINO                                                               ROME

SERRAINO, PAULINE A              2567 NILES VIENNA RD APT 107                                                                     NILES              OH    44446‐5402
SERRANO INDUSTRIES INC           9922 TABOR PL                                                                                    SANTA FE SPRINGS   CA    90670‐3300
SERRANO JENNIFER                 FRANCISCO PIETRI 69                                                                              ABJUTAF            PR    00601‐2251
SERRANO JOSEPH (447609)          BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH    44067
                                                                      PROFESSIONAL BLDG
SERRANO JR, JOHN                 2704 WAYNE CIR SE                                                                                DECATUR            AL 35603‐5652
SERRANO MIKE                     SERRANO, MIKE                        262 STATE ROUTE 35                                          RED BANK           NJ 07701‐5920
SERRANO REBECCA                  629 SANDIA AVE                                                                                   LA PUENTE          CA 91746‐2120
SERRANO TIRADO, JOSE GUADALUPE
SERRANO, ABIMAEL                 294 WOODSIDE AVE                                                                                 NEWARK             NJ    07104‐3117
SERRANO, ALFONSO Z               825 E WILLIAMSON AVE                                                                             HARLINGEN          TX    78550‐4395
SERRANO, ANNA M                  311 CATHERINE ST                                                                                 YOUNGSTOWN         OH    44505‐1505
SERRANO, AUGUSTO                 220 BEEKMAN AVE                                                                                  SLEEPY HOLLOW      NY    10591‐2404
SERRANO, CARLOS A                2205 HILLARY TRL                                                                                 MANSFIELD          TX    76063‐3790
SERRANO, CARMEN
SERRANO, CATALINO                PO BOX 1681                                                                                      JUANA DIAZ         PR 00795‐5502
SERRANO, CHERYL A                34 E FELTON ST                                                                                   NORTH TONAWANDA    NY 14120‐2602
SERRANO, CHERYL A                34 EAST FELTON ST                                                                                NORTH TONAWANDA    NY 14120
SERRANO, CONSTANTINO RODRIGUEZ
SERRANO, EDYTHE M                2736 W PLACITA DEL HUERTO                                                                        TUCSON             AZ 85741‐3451
SERRANO, FELIX                   HCO3 BOX 14297                                                                                   UTUADO             PR 00641
SERRANO, FERNANDO                890 BECK ST                                                                                      BRONX              NY 10459‐5156
SERRANO, FLORENCIO LULE
SERRANO, GONZALO E               10145 SAN GABRIEL                                                                                SOUTH GATE         CA    90280‐6041
SERRANO, GUADALUPE O             16828 MINNEHAHA ST                                                                               GRANADA HILLS      CA    91344‐7307
SERRANO, HECTOR L                84 WILKES ST                                                                                     BEACON             NY    12508‐2010
SERRANO, JAIME                   7301 SW 33RD ST                                                                                  MIAMI              FL    33155‐3601
SERRANO, JAIME                   7 SOUTH AVE SANTA ISIDRA             2                                                           FAJARDO            PR    00738
SERRANO, JAIME                   URB SANTA ISIDRA 2                   7 AVE SUR                                                   FAJARDO            PR    00738‐4162
SERRANO, JENNIFER                FRANCISCO PIETRI 69                                                                              ABJUTAF            PR    00601
SERRANO, JOSE ALFREDO
SERRANO, JOSEPH                  BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD         OH 44067
                                                                      PROFESSIONAL BLDG
SERRANO, JUAN A                  34 E FELTON ST                                                                                   N TONAWANDA        NY    14120‐2602
SERRANO, KIRSTINA DIAN           TRACY FIRM                           5473 BLAIR RD STE 200                                       DALLAS             TX    75231‐4168
SERRANO, LEO D                   3009 SAGANASHKEE LN                                                                              NAPERVILLE         IL    60564‐2403
SERRANO, LISA                    15 DUFF CT                                                                                       MARTINSBURG        WV    25405‐5771
SERRANO, MANUEL                  3342 WOODASH LN                                                                                  BUFORD             GA    30519‐6981
SERRANO, MARGARITA               49 GARNER AVE                                                                                    BUFFALO            NY    14213‐1131
SERRANO, MARY                    127 4TH ST SW                                                                                    WARREN             OH    44483‐6501
SERRANO, MARY                    127 4TH ST                                                                                       WARREN             OH    44483‐6501
SERRANO, MICHAEL A               2930 NO 75 TERRACE                                                                               KANSAS CITY        KS    66109
SERRANO, MIGUEL ANGEL
SERRANO, MIKE                    CARTON & RUDNICK                     262 STATE ROUTE 35                                          RED BANK            NJ   07701‐5920
SERRANO, NORA                    725 STUCKERT DR                                                                                  BURLESON            TX   76028‐6808
SERRANO, RAFAEL                  233 THERESE ST                                                                                   DAVENPORT           FL   33897‐5459
SERRANO, RAYMOND                 300 LUMAGHI HTS                                                                                  COLLINSVILLE        IL   62234‐6326
                                 09-50026-mg           Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
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Name                             Address1                             Address2                      Address3   Address4               City                   State Zip
SERRANO, RAYMOND                 1702 TONYA MAY LN                                                                                    MANSFIELD               TX 76063‐5913
SERRANO, ROBERT                  1608 7TH ST                                                                                          SAN FERNANDO            CA 91340‐1603
SERRANO, ROBERT M                3320 CHICKASAW DR                                                                                    EL PASO                 TX 79936‐1392
SERRANO, ROBERTO RODRIGUEZ
SERRANO, RUTH                    21335 KINGSBURY ST                                                                                   CHATSWORTH             CA   91311‐2243
SERRANO, SAMUEL                  123 MANGRUM DR                                                                                       COLUMBIA               TN   38401‐6163
SERRANO, STEPHEN C               556 SE ASHEVILLE DR                                                                                  LEES SUMMIT            MO   64063‐1066
SERRANO, VANESSA GABRIEL         7301 SW 33RD ST                                                                                      MIAMI                  FL   33155‐3601
SERRANO, VICTOR                  311 CATHERINE ST                                                                                     YOUNGSTOWN             OH   44505‐1505
SERRANO, VICTOR M                645 CARLIN DR                                                                                        AUSTINTOWN             OH   44515‐1204
SERRANO, YOLANDA                 2284 ICARUS DRIVE                                                                                    HENDERSON              NV   89074‐5043
SERRANO, YOLANDA                 2284 ICARUS DR                                                                                       HENDERSON              NV   89074‐5043
SERRANO, YVAN S                  6135 E HANSEN RD                                                                                     CUSTER                 MI   49405‐8736
SERRATO, ABRAM N                 67 SUNSET LOOP                                                                                       PERRYVILLE             AR   72126‐8206
SERRATO, DONALD M                3800 WESTBRIER TERRANCE                                                                              MIDLAND                MI   48640
SERRATO, EMILIO D                6871 N PORTSMOUTH RD                                                                                 SAGINAW                MI   48601‐9633
SERRATO, JAIME                   1272 GRAM ST                                                                                         BURTON                 MI   48329‐2022
SERRATO, JESS J                  1014 OTIS AVE                                                                                        ROCKDALE               IL   60436‐2426
SERRATORE, DOLORES               7300 DEERFIELD CIR                                                                                   LAS VEGAS              NV   89147‐4548
SERRATOS‐DAVILA, ALICIA M        9517 S EWING AVE                                                                                     CHICAGO                IL   60617‐5156
SERRATTA JR, JOHN E              3844 CRUM RD                                                                                         AUSTINTOWN             OH   44515‐1413
SERRAVALLE, J                    1246 W WALTON BLVD APT 211                                                                           PONTIAC                MI   48340‐1581
SERRE DONALD J (467068)          GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                     NORFOLK                VA   23510
                                                                      STREET, SUITE 600
SERRE, DONALD J                  GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                     NORFOLK                VA 23510‐2212
                                                                      STREET, SUITE 600
SERRELS DOUGLAS                  4439 LAWNWOOD                                                                                        BURTON                 MI   48529
SERRELS GRETCHEN LEE             5990 GEORGE HODGES RD                                                                                MACCLENNEY             FL   32063‐4558
SERRELS II, RICHARD K            5990 GEORGE HODGES RD                                                                                MACCLENNY              FL   32063‐4558
SERRELS JR, ROSCOE D             4435 LAWNWOOD LN                                                                                     BURTON                 MI   48529‐1924
SERRELS, DEYO D                  5144 TOKAY DR                                                                                        FLINT                  MI   48507‐2917
SERRELS, ELWIN S                 7705 MOYER RD                                                                                        CHARLOTTE              MI   48813‐8819
SERRELS, GRETCHEN L              5990 GEORGE HODGES RD                                                                                MCCLENNY               FL   32063‐4558
SERRELS, MAY M                   80640 CAMINO LOS CAMPOS                                                                              INDIO                  CA   92203
SERRER, KENT M                   6949 RIO VISTA CT                                                                                    HUBER HEIGHTS          OH   45424‐3112
SERRER, LOUISE A                 405 WOODSDALE DR                                                                                     MONROE                 OH   45050‐1669
SERRER, WILLIAM G                7495 CEDAR KNOLLS DR                                                                                 DAYTON                 OH   45424‐3253
SERRER,WILLIAM G                 7495 CEDAR KNOLLS DR                                                                                 DAYTON                 OH   45424‐3253
SERRETTE KENDELL                 175 QUEENSBURY CT                                                                                    NEWPORT NEWS           VA   23608‐3217
SERRETTE, BERNADETTE M           125 WILLIAMS ST # 1                                                                                  JAMAICA PLAIN          MA   02130‐3649
SERRITA HARDEN                   1203 SUNCREST DR                                                                                     FLINT                  MI   48504‐8112
SERRITELLA, GERALDINE            2612 NEWARK AVENUE                                                                                   POINT PLEASANT BOROU   NJ   08742‐2868
SERRITELLA, GERRI A              4292 WHITE BIRCH DR                                                                                  LISLE                  IL   60532‐1254
SERRITTA HIGGINS                 PO BOX 215                                                                                           HERMITAGE              MO   65668‐0215
SERRONE, DOROTHY M               18601 E 26TH TER S                                                                                   INDEPENDENCE           MO   64057‐1383
SERROS, EUDELIA                  8401 GAUNT AVE                                                                                       GILROY                 CA   95020‐3817
SERRURIER S.O.S. RIVE‐SUD INC.   474, DE MAISONNEUVE                                                           STE.JULIE PQ J3E 1C8
                                                                                                               CANADA
SERRURIER S.O.S. RIVE‐SUD INC.   ATTN: CORPORATE OFFICER/AUTHORIZED   474, DE MAISONNEUVE                      STE.JULIE PQ J3E 1C8
                                 AGENT                                                                         CANADA
SERSAW, CONSTANCE L              37542 PINATA AVE                                                                                     ZEPHYRHILLS            FL 33541‐1270
SERSAW, DOROTHY I                550 E PARKDALE AVE                                                                                   MANISTEE               MI 49660‐1136
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Name                            Address1                         Address2                      Address3   Address4                    City            State Zip
SERSEN ROBERT A (467847)        ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                           BALTIMORE        MD 21202
                                                                 CHARLES CENTER 22ND FLOOR
SERSEN, ROBERT A                ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                            BALTIMORE       MD 21202
                                                                 CHARLES CENTER 22ND FLOOR
SERSHA STEPHEN (459325)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA 23510
                                                                 STREET, SUITE 600
SERSHA, STEPHEN                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA 23510
                                                                 STREET, SUITE 600
SERSICH, EDWARD J               671 W PARK DR SW                                                                                      WARREN          OH 44485‐3478
SERSICH, PATRICIA J             121 BELMONT AVE                                                                                       NILES           OH 44446‐3009
SERTAPAK INC                    271 INGERSOLL ST                                                          INGERSOLL CANADA ON
                                                                                                          N5C 3K1 CANADA
SERTAPAK INC                    1039 DUNDAS ST                                                            WOODSTOCK ON N4S 1H5
                                                                                                          CANADA
SERTAPAK INC                    1039 DUNDAS ST                   PO BOX 1500                              WOODSTOCK ON N4S 1H5
                                                                                                          CANADA
SERTH, REBECCA A                6125 KETCHUM AVE                                                                                      NEWFANE         NY 14108‐1115
SERTI INFORMATIQUE              LOUIS LAPORTE                    7555, RUE BECLARD                        VILLE D' ANJOU QC H1J 2S5
                                                                                                          CANADA
SERTI INFORMATIQUE INC.         7555 BECLARD ST                                                           ANJOU QC H1J 2S5 CANADA
SERTIC, GEORGE                  23843 COLCHESTER DR                                                                                   FARMINGTON      MI   48336‐2415
SERTICH LOUIS                   12512 VAN BUREN ST                                                                                    CROWN POINT     IN   46307‐9210
SERULLA, ROBERT WARREN          GRUEL MILLS NIMS & PYLMAN        50 MONROE PL NW STE 700                                              GRAND RAPIDS    MI   49503‐2625
SERUSA, REBECCA D               10080 MAIN ST                                                                                         CLARENCE        NY   14031
SERV CENTERS OF NEW JERSEY      DOMINIC LONGO                    380 SCOTCH RD                                                        EWING           NJ   08628‐1301
SERVADA AVERY                   1141 CORNELIA ST                                                                                      SAGINAW         MI   48601‐2332
SERVAIS, INGRID                 3708 S DOUGLAS AVE APT 114                                                                            OKLAHOMA CITY   OK   73109‐3248
SERVALISH, DIANE M              34509 RICHLAND CT                                                                                     LIVONIA         MI   48150‐5047
SERVALISH, DONALD J             8232 RICKIE LN                                                                                        WESTLAND        MI   48185‐1611
SERVALL                         JERRY LEWIS                      900 TYSON AVENUE                                                     PARIS           KY
SERVANDO MARQUEZ                22804 ENGLEMAN RD                                                                                     MONTE ALTO      TX   78538‐3287
SERVANDO MARTINEZ               803 N 11TH ST                                                                                         DECATUR         IN   46733‐1109
SERVANDO SEGA                   2240 COUTS AVE                                                                                        COMMERCE        CA   90040‐1248
SERVANTES, BERNARDO G           1015 BEECH ST                                                                                         LANSING         MI   48912‐1003
SERVANTES, RAUL                 615 N PENNSYLVANIA AVE APT 8                                                                          LANSING         MI   48912‐1545
SERVANTES, RUBEN G              118 S CEDAR ST                                                                                        OWOSSO          MI   48867‐2602
SERVANTEZ, FELIX                4101 WASHINGTON AVE                                                                                   RACINE          WI   53405
SERVAT, JOSE L                  94 SPRING MIST PL                                                                                     THE WOODLANDS   TX   77381‐6138
SERVATI, ALFRED J               134 JONQUIL LANE                                                                                      ROCHESTER       NY   14612‐4612
SERVATI, ALFRED J               134 JONQUIL LN                                                                                        ROCHESTER       NY   14612‐1468
SERVATI, DAVID A                452 CHAMBERS ST                                                                                       SPENCERPORT     NY   14559‐9788
SERVATI, STEPHEN                78 CARRIE MARIE LN                                                                                    HILTON          NY   14468‐9412
SERVAUTO, COMERCIO E SERVICOS   RUA AMILCAR CABRAL.149‐151                                                LUANDA ANGOLA
INDUSTRIAIS, LDA.
SERVCO AUTO LEEWARD             94‐729 FARRINGTON HWY                                                                                 WAIPAHU         HI   96797‐3144
SERVCO AUTO WINDWARD            45‐467 KANEOHE BAY DR                                                                                 KANEOHE         HI   96744‐2032
SERVCO PACIFIC INC.             ERIC FUKUNAGA                    94‐729 FARRINGTON HWY                                                WAIPAHU         HI   96797‐3144
SERVCO PACIFIC INC.             ERIC FUKUNAGA                    45‐467 KANEOHE BAY DR                                                KANEOHE         HI   96744‐2032
SERVELLO AND SON INC.                                            261 SPRINGVIEW COMMERCE DR                                                           FL   32713
SERVEN, BRUCE JAMES             30954 WHEATON APT 229                                                                                 NEW HUDSON      MI   49155‐9455
SERVEN, JAMES F                 PO BOX 1                         364 BARNS RD                                                         FOSTORIA        MI   48435‐0001
SERVEN, ROSA M                  1028 PAUL ST                                                                                          MOUNT MORRIS    MI   48458‐1123
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Name                                Address1                         Address2                    Address3           Address4              City             State Zip
SERVEN, ROSA M                      1028 PAUL STREET                                                                                      MOUNT MORRIS      MI 48458‐1123
SERVEN, RUTH ANN                    127 N MAIN ST                                                                                         VASSAR            MI 48768‐1318
SERVENY, WILLIAM L                  986 JASMINE ST                                                                                        GAYLORD           MI 49735‐9429
SERVER, JOYCE L                     PO BOX 342                                                                                            PE ELL            WA 98572‐0342
SERVER, RONALD L                    103 RAVENWOOD DR                                                                                      EXCLSOR SPRGS     MO 64024‐6270
SERVEY CLARENCE (460179)            DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                                      NORTH OLMSTED     OH 44070
SERVEY, CLARENCE                    DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                                      NORTH OLMSTED     OH 44070
SERVEY, SARAH J                     7426 N RICHARDS RD                                                                                    LAKE CITY         MI 49651‐9727
SERVEY, SARAH J                     7426 RICHARDS ROAD                                                                                    LAKE CITY         MI 49651‐9727
SERVIA RODRIGUEZ                    15893 SW 82ND ST                                                                                      MIAMI             FL 33193‐5238
SERVIACERO PLANOS SA DE CV          BLVD HNOS ALDAMA NO 4002         CD INDUSTRIAL LEON GTO CP                      37490 MEXICO MEXICO
SERVICE 1ST                         106 N PUMPHREY ST                                                                                     EDNA             TX 77957‐2571
SERVICE ACADEMY CAREER CONFERENCE   247 KING GEORGE ST                                                                                    ANNAPOLIS        MD 21402‐1306

SERVICE AIR CONTROL INC             3312 W VICTORY BLVD                                                                                   BURBANK          CA   91505‐1542
SERVICE ASSETS                      15 CORPORATE PLAZA                                                                                    NEWPORT BEACH    CA   92660
SERVICE ASSOCIATES‐NASHVILLE        PO BOX 633497                                                                                         CINCINNATI       OH   45263‐3497
SERVICE AUTOMALL, INC.              1301 N BROADWAY AVE                                                                                   ADA              OK   74820‐2042
SERVICE AUTOMALL, INC.              ROBERT JOHNSON                   1301 N BROADWAY AVE                                                  ADA              OK   74820‐2042
SERVICE AUTOMOTIVE                  283 DELSEA DR                                                                                         SEWELL           NJ   08080‐9401
SERVICE BAYS PLUS                                                    1437 GREENE ST                                                                        GA   30901
SERVICE BRANDS INTERNATIONAL        3048 RANCHERO DR                                                                                      ANN ARBOR        MI   48108
SERVICE BRANDS INTERNATIONAL        3948 RANCHERO DR                                                                                      ANN ARBOR        MI   48108‐2775
SERVICE BRANDS INTERNATIONAL        JOHN EGGENBERGER                 3048 RANCHERO DRIVE                                                  ANN ARBOR        MI
SERVICE BROADCASTING                ATTN CASSANDRA JENKINS           1210 RIVERBEND STE 202                                               DALLAS           TX   75247
SERVICE BY AIR                      PO BOX 7777                                                                                           OLD BETHPAGE     NY   11804‐7777
SERVICE CHEVROLET OLDS, INC.        PO BOX 968                                                                                            CALHOUN          GA   30703‐0968
SERVICE CHEVROLET, INC.             JESSE LUQUETTE                   4313 CAMERON ST                                                      LAFAYETTE        LA   70506‐1423
SERVICE CHEVROLET, INC.                                                                                                                   LAFAYETTE        LA   70506‐1403
SERVICE CHEVROLET, INC.             4313 CAMERON ST                                                                                       LAFAYETTE        LA   70506‐1423
SERVICE CORPORATION INT'L           PO BOX 130548                                                                                         HOUSTON          TX   77219‐0548
SERVICE D'AUTO WESMOUNT             4780 SERBROOKE WEST                                                             WESMOUNT QC H3Z 1G4
                                                                                                                    CANADA
SERVICE EMPLOYEES INTL UNION        ATTN: MARYANN WOODS              1420 S MICHIGAN AVE                                                  SAGINAW          MI   48602‐1326
SERVICE ENGINEERING INC             2190 W MAIN ST                   PO BOX 5001                                                          GREENFIELD       IN   46140‐2715
SERVICE EVALUATION CONCEPTS IN      210 CROSSWAYS PARK DR                                                                                 WOODBURY         NY   11797‐2048
SERVICE EVALUATION CONCEPTS INC     210 CROSSWAYS PARK DR                                                                                 WOODBURY         NY   11797‐2048
SERVICE EVALUATION CONCEPTS INC
SERVICE EXPEDITING INC              6220 COMMERCE DR                                                                                      WESTLAND         MI   48185‐9120
SERVICE EXPRESS INC                 504 BEAR CREED RD CUT OFF                                                                             TUSCALOOSA       AL   35405
SERVICE FILTRATION CORP             JOHN WOLFE                       1 LARK AVE                  POLYMAR DIVISION                         LEOLA            PA   17540‐9566
SERVICE FILTRATION CORP             JOHN WOLFE                       POLYMAR DIVISION            1 LARK AVENUE                            TAR HEEL         NC   28392
SERVICE FIRST LOGISTICS CORP        PO BOX 35284                                                                                          GREENSBORO       NC   27425‐5284
SERVICE GLASS CO INC                ATTN: TOM SHAFTO                 120 W PIKE ST                                                        PONTIAC          MI   48341‐1747
SERVICE MAST/WATERFD                54 PLEASANT LAKE DR                                                                                   WATERFORD        MI   48327‐3764
SERVICE MASTER                      ONE SERVICE MASTER WAY                                                                                DOWNERS GROVE    IL   60515
SERVICE MASTER
SERVICE MASTER COMMERCIAL           ATTN: DONNA WILLIAMS             11001 PIERSON DR # A                                                 FREDERICKSBURG   VA   22408‐2079
SERVICE MEDICAL, PC                 27 FRANKLIN STREET               PO BOX 447                                                           SPRINGVILLE      NY   14141
SERVICE MOTOR CO., INC.             CAROL CALCUTT                    160 E MAIN ST                                                        PAMPLICO         SC   29583
SERVICE MOTOR CO., INC.             160 E MAIN ST                                                                                         PAMPLICO         SC   29583
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Name                                    Address1                              Address2                  Address3   Address4                City             State Zip
SERVICE OF PROCESS ‐ UNSPECIFIED FILING CRAVO, ASHLEY                         26526 LIDO DRIVE                                             MURRIETA          CA 92563
AND CLAIMS
SERVICE OF PROCESS ‐ UNSPECIFIED FILING MCNEAL, THOMAS J                      3259 N 14TH ST                                               MILWAUKEE        WI 53206‐2853
AND CLAIMS
SERVICE OF PROCESS ‐ UNSPECIFIED FILING NATIONAL CITY BANK                    1900 EAST NINTH STREET                                       CLEVELAND        OH 44114
AND CLAIMS
SERVICE OF PROCESS ‐ UNSPECIFIED FILING RUTGERS THE STATE UNIVERSITY OF NEW   542 GEORGE STREET                                            NEW BRUNSWICK    NJ    08901
AND CLAIMS                              JERSEY
SERVICE OF PROCESS ‐ UNSPECIFIED FILING RYON, BETTY A                         7750 TRAELEIGH LANE                                          CHARLOTTE HALL   MD 20622
AND CLAIMS
SERVICE OF PROCESS ‐ UNSPECIFIED FILING STEEL, RICHARD JAY                    1021 TAPPEN VALLEY ROAD              TAPPEN BC V0E2X3
AND CLAIMS                                                                                                         CANADA
SERVICE OF PROCESS ‐ UNSPECIFIED FILING TAMMANY HARDWOOD FLOORING             312 VISTA ON THE LAKE                                        CARMEL           NY 10512
AND CLAIMS
SERVICE OF PROCESS ‐ UNSPECIFIED FILING CRAVO, ASHLEY                         26526 LIDO DR                                                MURRIETA         CA 92563‐8000
AND CLAIMS
SERVICE OF PROCESS ‐ UNSPECIFIED FILING MCNEAL, THOMAS J                      9259 N 14TH ST                                               MILWAUKEE        WI 53206‐2853
AND CLAIMS
SERVICE OF PROCESS ‐ UNSPECIFIED FILING RUTGERS THE STATE UNIVERSITY OF NEW   542 GEORGE ST                                                NEW BRUNSWICK    NJ    08901‐1167
AND CLAIMS                              JERSEY
SERVICE OFFICE SUPPLY CORP              100 JOHN GLENN DRIVE                                                                               GETZVILLE        NY 14068
SERVICE PARTS OPERATIONS                CITY HALL                                                                                          SWARTZ CREEK     MI 48473
SERVICE PARTS OPERATIONS
SERVICE PARTS OPERATIONS GENERAL        ATTN: GENERAL COUNSEL                 305 W BRIARCLIFF RD.                                         BOLINGBROOK       IL   60440
MOTORS CORPORATION CHICAGO,
ILLINOIS
SERVICE PARTS OPERATIONS YPSILANTI      ATTN: GENERAL COUNSEL                 2885 TYLER RD                                                YPSILANTI        MI 48198‐6126
PLANT 87
SERVICE PARTS OPERATIONS, GMC           G6060 W BRISTOL RD                                                                                 FLINT            MI    48554‐0001
SERVICE PARTS OPERATIONS, GMC           PO BOX 23080                                                                                       OAKLAND          CA    94623‐2308
SERVICE PARTS OPERATIONS, GMC           130 E JOHN CARPENTER FWY                                                                           IRVING           TX    75062‐2708
SERVICE PARTS OPERATIONS, GMC           36667 SCHOOLCRAFT RD                                                                               LIVONIA          MI    48150‐1175
SERVICE PARTS OPERATIONS, GMC           PO BOX 894                                                                                         PURCHASE         NY    10577‐0894
SERVICE PARTS OPERATIONS, GMC           PO BOX 37944                                                                                       LA MIRADA        CA    90637
SERVICE PARTS OPERATIONS, GMC           PO BOX 3007                                                                                        NAPERVILLE       IL    60566‐7007
SERVICE PARTS OPERATIONS, GMC           870 RIDGEWAY LOOP RD #202                                                                          MEMPHIS          TN    38120
SERVICE PARTS OPERATIONS, GMC           PO BOX 50255                                                                                       ATLANTA          GA    30302‐0255
SERVICE PAYMENT PLAN                    303 E WACKER DR                       STE 230                                                      CHICAGO          IL    60601‐5231
SERVICE PHYSICS INC                     20332 EMPIRE AVE                      STE F2                                                       BEND             OR    97701‐5712
SERVICE PLASTIC FABRICATIONS INC        504 PEMBERTON RD                                                                                   GROSSE POINTE    MI    48230‐1712
SERVICE PLASTICS INC                    38700 PLYMOUTH RD                                                                                  LIVONIA          MI    48150‐1055
SERVICE PLASTICS INC                    DEPT 77093                                                                                         DETROIT          MI    48277‐0093
SERVICE PLUS AUTOMOTIVE                 6313 FM 2494                                                                                       ATHENS           TX    75751‐8333
SERVICE PLUS DISTRIBUTORS INC           1705 INDIAN WOOD CIR                  STE 210                                                      MAUMEE           OH    43537‐4046
SERVICE PLUS MAINTENANCE CO INC         2154 S KALAMATH ST                                                                                 DENVER           CO    80223‐4009
SERVICE PNEUS RUELLAND                  756 BOUL. BARRETTE                                                         CHICOUTIMI QC G7J 3Z7
                                                                                                                   CANADA
SERVICE REFRIGERATION INC             STEPHEN WEAVER                          1208 1ST ST E STE B                                          HUMBLE           TX 77338‐5915
SERVICE RELIABILITY GUARANTEED        PO BOX 1104                                                                                          SEAFORD          NY 11783‐0060
SERVICE ROUNDTABLE                    116 W MAIN ST                                                                                        LEWISVILLE       TX 75057‐3965
SERVICE ROUTHIER BEN                  623 ROUTE 105 166 CH DESCHENES                                               CHELSEA QC J9B 1L2
                                                                                                                   CANADA
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Name                                Address1                           Address2                       Address3           Address4                  City               State Zip
SERVICE RUBBER GROUP, INC.          BRAD STILES                        740 AVE F SUITE 300            P.O. BOX 871411                              DALLAS              TX 75287
SERVICE SANITATION INC              135 BLAINE ST                                                                                                  GARY                IN 46406‐1245
SERVICE SOLUTIONS GROUP, LLC        BOB BARASCH                        890 REDNA TER                                                               CINCINNATI          OH 45215‐1111
SERVICE SUPPLY COMPANY              JOE KRZYZANIAK                     5093 N MICHIGAN                                                             LAREDO              TX 78045
SERVICE TOURS INC.                                                     845 NEPPERHAN AVE                                                                               NY 10703
SERVICE TRANSPORT INC               HWY 111                                                                                                        SPARTA              TN 38502
SERVICE TRANSPORT INC               PO BOX 2267                                                                                                    GREER               SC 29652‐2267
SERVICE TRANSPORT INC               PO BOX 2749                                                                                                    COOKEVILLE          TN 38502‐2749
SERVICE WORKERS INTERNATIONAL UNION 1800 MASSACHUSETTS AVE NW                                                                                      WASHINGTON          DC 20036

SERVICE WORKS INC                      95 MEGILL RD                                                                                                FARMINGDALE        NJ   07727‐3678
SERVICE, BEVERLEY P                    1285 E 224TH ST                                                                                             BRONX              NY   10466‐5861
SERVICE, CINDY M                       11519 BENTON RD                                                                                             GRAND LEDGE        MI   48837‐9728
SERVICE, KEVIN L                       1060 AARON DR APT 412                                                                                       DEWITT             MI   48820‐7975
SERVICE, KEVIN L                       1060 AARON DR                   APR 412                                                                     DEWITT             MI   40020‐7975
SERVICE, LAURA H                       529 CHESTNUT                                                                                                VASSAR             MI   48768‐1428
SERVICE, LLOYD B                       402 N DEERFIELD AVE                                                                                         LANSING            MI   48917‐2986
SERVICE, LLOYD K                       11519 BENTON RD                                                                                             GRAND LEDGE        MI   48837‐9728
SERVICE, MATTHEW                       11519 BENTON RD                                                                                             GRAND LEDGE        MI   48837‐9728
SERVICE‐TECH CORPORATION               A BEE C SERVICE INC             7589 FIRST PL                  DBA SERVICE‐TECH                             CLEVELAND          OH   44146‐6711
                                                                                                      CORPORATION
SERVICEFORCE COMMUNICATIONS INC        5119 HIGHLAND RD                                                                                            WATERFORD          MI 48327‐1915

SERVICEMASTER                          8758 HELLMAN AVE                                                                                            RANCHO CUCAMONGA   CA 91730‐4418
SERVICEMASTER                          205B EXETER ROAD                                                                  LONDON CANADA ON N6L
                                                                                                                         1A4 CANADA
SERVICEMASTER CONSUMER SERVICES        860 RIDGELAKE BLVD                                                                                          MEMPHIS            TN 38120
SERVICEMASTER CONSUMER SERVICES        MICHAEL ST. CLAIR               860 RIDGELAKE BLVD.                                                         MEMPHIS            TN 38120
SERVICEMASTER GLOBAL HOLDINGS INC      PO BOX 620                                                                                                  FISHERS            IN 46038‐0620

SERVICEMASTER OF EDMONTON              32 SIOUX RD                                                                       SHERWOOD PARK CANADA
COMMERCIAL                                                                                                               AB T8A 4X1 CANADA
SERVICEPRO LAWN & PEST                 2510 ANTHEM VILLAGE DR          STE 110                                                                     HENDERSON          NV 89052‐5555
SERVICES/MA                            160 W BOYLSTON ST                                                                                           WEST BOYLSTON      MA 01583‐1727
SERVICES/YUTZ                          USINE DE BASSE HAM ZI THIONVI                                                     YUTZ 57100 FRANCE
SERVICETECNIC CORPORATION SERVO        507                                                                               MONROVIA LIBERIA
SERVICEWAY MOTOR FREIGHT INC           PO BOX 243                                                                                                  ALCOA              TN 37701‐0243
SERVICIOS BURSATILES INTERNACIONALES   15 A STREET, KINGS PARK                                                           BELIZE CITY BELIZE
LIM
SERVICIOS DE COMPONENTES               1 DE MAYO 147                                                                     NAUCALPAN DE JUAREZ EM
AUTOMOTRIC                                                                                                               53630 MEXICO
SERVICIOS ESPECIALES INDUSTRIALES Y    CEREZO ROSA 139                                                                   SAN NICOLAS DE LOS
                                                                                                                         GARZA NL 66620 MEXICO
SERVICIOS Y MONTAJES EAGLE SA DE CV    BARRACUDA NO 9                  PARQUE INDUSTRIAL CUATITLAN                       CUATITLAN IZCALLI 54730
                                                                                                                         MEXICO
SERVICOM ‐ GM OPERATORS (P.O.
TCB08776)
SERVICOM LLC                           8711 FREEPORT PKY N A2‐MS2                                                                                  IRVING             TX   75063
SERVICOM LLC                           CONTRACTS ADMINISTRATOR         25 INDEPENDENCE BLVD STE 103                                                WARREN             NJ   07059‐2706
SERVICOM LLC                           155 HILL ST                                                                                                 MILFORD            CT   06460
SERVIDEO, JAMES R                      4 JOSEPHINE RD                                                                                              MEDFORD            MA   02155
SERVIDIO, DIANA                        2427 ELIZABETH LAKE RD.         APT. 103                                                                    WATERFORD          MI   48328‐3353
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Name                             Address1                          Address2                         Address3   Address4              City             State Zip
SERVIER COUNTY TRUSTEE           125 COURT AVE STE 212W                                                                              SEVIERVILLE       TN 37862‐3579
SERVIES, MARK F                  13425 SUMAC RD                                                                                      SOUTH LYON        MI 48178‐8114
SERVIES, MARTHA M                518 SOUTHMORE ST                                                                                    PLAINFIELD        IN 46168‐2052
SERVIGISTICS                     320 INTERSTATE NORTH PARKWAY      4TH FLOOR                                                         ATLANTA           GA 30339
SERVIN BAUTISTA, SAMUEL          BRENNAN LAW OFFICE                3541 45TH AVE S                                                   MINNEAPOLIS       MN 55406‐2926
SERVIN, CARLOS G                 4112 BRIDGEPORT DR                                                                                  LANSING           MI 48911‐4305
SERVIN, RAMON                    3903 WEST TRAVIS STREET                                                                             SAN ANTONIO       TX 78207‐3234
SERVIN, RAMON                    3903 W TRAVIS ST                                                                                    SAN ANTONIO       TX 78207‐3234
SERVINSKI, CHARLES
SERVIOIO VINCENZO LUIGI          VIA EMILIO SCAGLIONE 53                                                       80131 NAPOLI ITALY
SERVIS, BETSY                    261 GRIGGS DR                                                                                       PRINCETON        NJ   08540‐7676
SERVIS, DAVID T                  16091 MINORCA DR                                                                                    PUNTA GORDA      FL   33955‐4119
SERVIS, GERALD A                 1422 HILLCREST DR                                                                                   HOPKINS          MI   49328‐9643
SERVIS, LINDA D                  1422 HILLCREST DR                                                                                   HOPKINS          MI   49328‐9643
SERVIS, RANDAL J                 PO BOX 53                                                                                           WHITTEMORE       MI   48770‐0053
SERVISS, DIANA                   2080 RIVER RD LOT 148             RIVER ROAD LYNCH TRAILER COURT                                    NIAGARA FALLS    NY   14304‐3771

SERVISS, EDNA CARO               193 PALMDALE DR APT 1                                                                               WILLIAMSVILLE    NY   14221‐4025
SERVISS, JAMES M                 17 ROCKAWAY ST                                                                                      MASSENA          NY   13662‐2111
SERVISS, JAMES T                 PO BOX 1226                                                                                         NORTHPORT        AL   35476‐6226
SERVISS, THOMAS E                219 CANTON ST                                                                                       TONAWANDA        NY   14150‐5403
SERVITECH IND/NASHVI             550 BRICK CHURCH PARK DR                                                                            NASHVILLE        TN   37207‐3200
SERVNET AUCTION PIPELINE         3711 WESTERN RD                                                                                     FLINT            MI   48506‐2331
SERVNET AUCTIONS                 C/O AWARD WINNING EVENTS          PO BOX 682111                                                     FRANKLIN         TN   37068‐2111
SERVNET AUCTIONS (INDEPENDENT)   2120 STEIN DR                                                                                       CHATTANOOGA      TN   37421‐7219
SERVNET AUCTIONS INDEPENDENT     46893 271ST ST                                                                                      TEA              SD   57064‐8001
SERVNET INC                      PO BOX 682111                                                                                       FRANKLIN         TN   37068‐2111
SERVO INNOVATIONS LLC            1013 128TH AVE                                                                                      SHELBYVILLE      MI   49344‐9556
SERVO MOTORS & DRIVES INC        PO BOX 20923                                                                                        GREENFIELD       WI   53220‐0923
SERVO MOTORS & DRIVES INC        4040 W LOOMIS RD                  PO BOX 20923                                                      GREENFIELD       WI   53221‐2050
SERVO TECH                       510 SAVAGE RD                                                                                       BELLEVILLE       MI   48111‐2937
SERVO‐TEK PRODUCTS COMPANY INC   1086 GOFFLE RD                                                                                      HAWTHORNE        NJ   07506‐2009
SERVOSS, BERNARD E               4295 SASHABAW RD                                                                                    WATERFORD        MI   48329‐1955
SERVOSS, JANET E                 7328 MACEDAY LAKE RD                                                                                WATERFORD        MI   48329‐2622
SERVPRO                          ATTN: LANE SHELTON                1508 N WASHINGTON ST                                              KOKOMO           IN   46901‐2211
SERVPRO                          PO BOX 30008                                                                                        PARMA            OH   44130‐0008
SERVPRO INDUSTRIES               PO BOX 1978                                                                                         GALLATIN         TN   37066‐1978
SERVPRO INDUSTRIES               575 AIRPORT RD                                                                                      GALLATIN         TN   37066‐4901
SERVPRO OF FREDRICKSBURG         ATTN: PATRICIA D WENGER           11001 PIERSON DR # B                                              FREDERICKSBURG   VA   22408‐2079
SERWACK, JUNE C                  200 W EDGEWOOD BLVD APT 155                                                                         LANSING          MI   48911‐5682
SERWACK, JUNE C                  200 W EDGEWOOD BLVD               APT 155                                                           LANSING          MI   48911‐5682
SERWATKA, JANE S                 6282 APPLERIDGE ROAD                                                                                PLYMOUTH         MI   48170‐5099
SERWATKIEWICZ, RONALD A          7247 WOODWARD AVE APT N213                                                                          WOODRIDGE        IL   60517
SERWICK, ROBERT H                13139 HARBORVIEW DR                                                                                 LINDEN           MI   48451‐9496
SERWICK, ROBERT HENRY            13139 HARBORVIEW DR                                                                                 LINDEN           MI   48451‐9496
SERWINOWSKI, PHILLIP A           168 KEIL ST                                                                                         N TONAWANDA      NY   14120‐6922
SERWINOWSKI, PHILLIP A           262 N PLEASANT PKWY                                                                                 BUFFALO          NY   14206‐2427
SERYLO, GARY D                   PO BOX 92                                                                                           NADEAU           MI   49863‐0092
SESAC                            55 MUSIC SQ E                                                                                       NASHVILLE        TN   37203‐4324
SESAC, INC.                      55 MUSIC SQUARE EAST                                                                                NASHVILLE        TN   37203
SESAC/NASHVILLE                  55 MUSIC SQ E                                                                                       NASHVILLE        TN   37203‐4324
SESARIO RAMIREZ                  44805 N HILLS DR APT M125                                                                           NORTHVILLE       MI   48167‐2181
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Name                       Address1                          Address2                   Address3   Address4         City               State Zip
SESCO, ANNIE E             409 CEDARWOOD COURT                                                                      MANSFIELD           OH 44906‐1713
SESCO, EMMY L              373 MUTH RD                                                                              MANSFIELD           OH 44903‐1921
SESCO, LARRY R             373 MUTH RD                                                                              MANSFIELD           OH 44903‐1921
SESCO, NAOMI F             620 ROANOKE ST                                                                           CRESTLINE           OH 44827‐1746
SESCO, PATRICIA            1185 KNORR RD.                                                                           GALION              OH 44833‐1448
SESCO, PATRICIA            1185 KNORR RD                                                                            GALION              OH 44833‐1448
SESCO, WILLARD             335 N CORNISH PT                                                                         LECANTO             FL 34461‐8133
SESCOI USA INC             2000 TOWN CTR STE 1730                                                                   SOUTHFIELD          MI 48075‐1150
SESCOURKA, CAROL M         4956 WARREN MEADVILLE RD                                                                 CORTLAND            OH 44410‐8718
SESCOURKA, CAROL M         4956 WARREN RD                                                                           CORTLAND            OH 44410‐8718
SESCOURKA, WALTER T        4956 WARREN RD                                                                           CORTLAND            OH 44410‐8718
SESE, ARTHUR               137 PRIMA DR                                                                             KISSIMMEE           FL 34759
SESE, RAMON B              8740 RIVER RUN DR                                                                        WHITE LAKE          MI 48386‐4611
SESERA, MATTHEW            4 FERN DRIVE                                                                             SARASOTA SPRINGS    NY 12866‐8929
SESERA, MATTHEW            4 FERN DR                                                                                SARATOGA SPRINGS    NY 12866‐8929
SESHADRI ANUSHA            APT 1309                          444 WASHINGTON BOULEVARD                               JERSEY CITY         NJ 07310‐1918
SESHADRI, JAGADISH         370 SWEET GUM ST                                                                         BOLINGBROOK          IL 60490‐2198
SESHADRI, VENKAT           3720 RUE FORET APT 263                                                                   FLINT               MI 48532‐2860
SESHER, RONALD L           1003 LEE AVE                                                                             PORT CLINTON        OH 43452
SESHU YALAMANCHILI         4066 WINCREST LN                                                                         ROCHESTER           MI 48306‐4767
SESI, AZHAR                2504 BURNING BUSH DR                                                                     STERLING HTS        MI 48314‐4529
SESI, AZHAR                2504 BURNINGBUSH DR                                                                      STERLING HTS        MI 48314‐4529
SESLAR, NICHOLAS A         5138 E 700 S                                                                             COLUMBIA CITY       IN 46725‐9260
SESLER, VORIS              6129 BARDMOOR BLVD                                                                       ASHTABULA           OH 44004‐7431
SESNIE, JOHN A             31274 LEOTA                                                                              FRASER              MI 48026‐2704
SESNY, MARK A              8060 DRIFTWOOD DR                                                                        FENTON              MI 48430‐8961
SESOCK, LOREEN M           368 HUNTINGTON CT                                                                        ROCHESTER HLS       MI 48307‐3439
SESOCK, MARY               368 HUNTINGTON CT                                                                        ROCHESTER           MI 48307‐3439
SESOCK, NICK               10145 MUTO RD                                                                            GOODRICH            MI 48438‐8803
SESOCK, THOMAS A           11240 LINDA KAY                                                                          GOODRICH            MI 48438‐8801
SESOCK, THOMAS ALAN        11240 LINDA KAY                                                                          GOODRICH            MI 48438‐8801
SESONSKY, DENNIS M         PO BOX 107                                                                               NILES               OH 44446‐0107
SESONSKY, DENNIS MICHAEL   PO BOX 107                                                                               NILES               OH 44446‐0107
SESS, WILLIAM A            1143 SKYVIEW CIR                                                                         LAWRENCEBURG        IN 47025‐7911
SESSA SALVATORE (488652)   EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                NEW YORK            NY 10017‐6530
SESSA, ROSA                10 GEORGIAN LN APT D                                                                     WILLIAMSVILLE       NY 14221‐2191
SESSA, ROSA                10 GEORGIAN LANE, UNIT D                                                                 WILLIAMSVILLE       NY 14221‐2191
SESSA, SALVATORE           EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                NEW YORK            NY 10017‐6530
SESSER, VIRGIE M           4830 MALUERN RD                                                                          HOT SPRINGS         AR 71901
SESSINK, PATRICIA A        16300 SILVER PKWY APT 310                                                                FENTON              MI 48430‐4422
SESSION JR, LEWIS          814 E KEARSLEY ST APT 419                                                                FLINT               MI 48503
SESSION, ALFRED C          528 WASHINGTON ST                                                                        VENICE               IL 62090‐1122
SESSION, ANNIE B.          123 E 39TH ST                                                                            BROOKLYN            NY 11203‐2902
SESSION, ARNETTA M         2117 BROWNS LN                                                                           FORT WASHINGTON     MD 20744
SESSION, BRENDA J          3201 W MICHIGAN ST                                                                       INDIANAPOLIS        IN 46222‐3559
SESSION, BRENDA JEANETTE   3201 W MICHIGAN ST                                                                       INDIANAPOLIS        IN 46222‐3559
SESSION, GWENDA L          12674 MEADOWDALE DR                                                                      SAINT LOUIS         MO 63138‐1434
SESSION, R. A              1317 TOLTEC DR                                                                           DALLAS              TX 75232‐1555
SESSION, R. A.             1317 TOLTEC DR                                                                           DALLAS              TX 75232‐1555
SESSIONS HAIR STUDIO       ATTN: SHARON HUSOSKY              1449 RARITAN RD                                        CLARK               NJ 07066‐1230
SESSIONS REPAIR            46 CONWAY ST                                                                             SHELBURNE FALLS     MA 01370‐1421
SESSIONS, CHARLES H        4772 CAMP DAGGETT RD                                                                     BOYNE CITY          MI 49712‐9221
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Name                           Address1                       Address2                        Address3   Address4                 City                      State Zip
SESSIONS, DAVID W              6703 RUBY GLASS RD                                                                                 LANSING                    MI 48917‐9733
SESSIONS, FAYE
SESSIONS, MARJORIE E           617‐222 25 AVE SW                                                         CALGARY AB CANADA T2S‐
                                                                                                         3E9
SESSIONS, REX E                3606 MUIRFIELD DR                                                                                  LANSING                   MI   48911‐1243
SESSIONS, ROBERT P             19 QUAIL HOLLOW CLOSE                                                                              VERNON                    CT   06066‐2751
SESSIONS, RONALD L             9020 STONEY CREEK DR                                                                               SOUTH LYON                MI   48178‐9295
SESSIONS, RONNIE G             TOM RADNEY & ASSOCIATES        PO BOX 819                                                          ALEXANDER CITY            AL   35011‐0819
SESSIONS, STANLEY B            627 WOODHAM RD                                                                                     HEADLAND                  AL   36345‐5618
SESSLAR, JAMES P               PO BOX 359                                                                                         WAYNESVILLE               OH   45068‐0359
SESSLAR, JAMES P               PO. BOX 359                                                                                        WAYNESVILLE               OH   45068‐5068
SESSLER, DAVID W               838 PRAIRIE AVE                                                                                    JANESVILLE                WI   53545‐1758
SESSLER, DONALD                918 JAMES ST                   JAMES SQ HEALTH & REHAB CTR                                         SYRACUSE                  NY   13203
SESSLER, HARVEY R              451 ELM ST                                                                                         MILTON                    WI   53563‐1206
SESSOMS GARY M SR (467069)     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                         NORFOLK                   VA   23510
                                                              STREET, SUITE 600
SESSOMS, FRANKLIN I            68 RUSSELL DR                                                                                      PALM COAST                FL 32164‐6909
SESSOMS, GARY M                GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                         NORFOLK                   VA 23510
                                                              STREET, SUITE 600
SESSOMS, JO F                  4795 LEINBACH DR                                                                                   WINSTON SALEM             NC   27106‐1622
SESSOMS, LAWRENCE R            19208 SOUNDVIEW DR NORTHWEST                                                                       STANWOOD                  WA   98292‐7878
SESSOMS, MARK W                14593 RUTLEDGE SQUARE                                                                              SAN DIEGO                 CA   92128‐3764
SESSOMS, RANDY L               7170 E LAKE CT                                                                                     PERRYSBURG                OH   43551‐6107
SESSOMS, STEVEN L              8016 STONEHAVEN DR                                                                                 WAXHAW                    NC   28173
SESSOR, JUSTINE L.             3509 S BASSETT                                                                                     DETROIT                   MI   48217‐1520
SESSUM, JACALYN A              19 DECKER ST                                                                                       BUFFALO                   NY   14215‐3222
SESSUMS, JONNIE M              104 SUMMER RIDGE DR                                                                                PEARL                     MS   39208‐9073
SESTA THOMAS                   3119 ORANGE GROVE CT                                                                               LAKELAND                  FL   33810‐4761
SESTA, ELLEN                   3119 ORANGE GROVE CT                                                                               LAKELAND                  FL   33810‐4761
SESTA, LAWRENCE J              321 S XANTHUS AVE                                                                                  GALLOWAY                  NJ   08205
SESTAK, ANTHONY T              6174 KNOLL LANE CT APT 101                                                                         WILLOWBROOK               IL   60527‐1929
SESTAK, ELLEN L                5537 WILCOX AVE                                                                                    DOWNERS GROVE             IL   60516‐1510
SESTER, OAKLEY                 5230 WARREN AVE                                                                                    NORWOOD                   OH   45212‐1418
SESTI JR, ERNEST T             2783 NORTHMEADE AVE                                                                                MEMPHIS                   TN   38127‐4875
SESTI, JOHN J                  234 ROSCOMMON DR               APT 102                                                             HARDEEVILLE               SC   29927
SESTI, JOHN J                  UNIT 102                       234 ROSCOMMON DRIVE                                                 HARDEEVILLE               SC   29927‐2629
SESTILI SYLVIA (447610)        BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD                OH   44067
                                                              PROFESSIONAL BLDG
SESTILI, SYLVIA                BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                        NORTHFIELD                OH 44067
                                                              PROFESSIONAL BLDG
SESTINI PAOLA                  PIAZZA ROMA 2                                                                                      CIVITELLA VAL DI CHIANA   AR   52041
SESTITO, MARY E                5553 SPRING HILL RD                                                                                GROVE CITY                OH   43123‐8907
SESTITO, SALVATORE             2279 CITRUS CT                                                                                     CLEARWATER                FL   33763‐4307
SESTO BRIGINI                  6838 WATERVIEW WAY                                                                                 SACRAMENTO                CA   95831‐2502
SESTO D'ADEEO                  VIA PIETRABIANCA 77            LAURO DI SESSA AURUNCA          CASERTA
SESTOK JR, VINCENT W           37400 SANDRA AVE                                                                                   ZEPHYRHILLS               FL   33542‐5380
SESTRICH, JOANNA               496 ELM AVE                                                                                        RAHWAY                    NJ   07065‐3222
SET ENTERPRISES ‐ NEW BOSTON   CHRIS MOBRAY                   36211 S HURON RD                                                    NEW BOSTON                MI   48164‐9513
SET ENTERPRISES INC            36211 S HURON RD                                                                                   NEW BOSTON                MI   48164‐9513
SET ENTERPRISES INC            30500 VAN DYKE AVE             STE 701                                                             WARREN                    MI   48093‐2114
SET ENTERPRISES INC            8055B HIGHLAND POINTE PKWY                                                                         MACEDONIA                 OH   44056‐2147
SET ENTERPRISES INC            2700 W WARREN AVE                                                                                  DETROIT                   MI   48208‐1948
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Name                                   Address1                          Address2                      Address3   Address4         City               State Zip
SET ENTERPRISES INC                    CHRIS MOBRAY                      36211 S HURON RD                                          NEW BOSTON          MI 48164‐9513
SET INDUSTRIAL SERVICES                PO BOX 916                                                                                  HENDERSON           KY 42419‐0916
SETA, ROSEMARY                         22817 MASONIC BLVD.                                                                         ST. CLAIR SHORES    MI 48082‐1351
SETAC                                  1010 N 12TH AVE                                                                             PENSACOLA           FL 32501
SETAR, RONALD S                        8536 CHERRY CIR                                                                             MACEDONIA           OH 44056‐1738
SETAR, THOMAS P                        2071 OLIVER ST                                                                              RAHWAY              NJ 07065‐4314
SETARAM INC                            8430 CENTRAL AVE STE 3D                                                                     NEWARK              CA 94560‐3446
SETBACKEN, ROBERT M                    612 JUANITA AVE                                                                             SANTA BARBARA       CA 93109‐1614
SETCHEL JOHN B (494195)                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                         STREET, SUITE 600
SETCHEL, JOHN B                        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                         STREET, SUITE 600
SETCHFIELD, DAVID B                    6679 VALLEY HWY                                                                             VERMONTVILLE       MI   49096‐9535
SETCO AUTOMOTIVE                       JANE BARKER X2201                 565 HWY 77                                                LATHROP            CA   95330
SETCO AUTOMOTIVE (NA) INC              JANE BARKER X2201                 565 HWY 77                                                LATHROP            CA   95330
SETCO AUTOMOTIVE (NA) INC              565 HIGHWAY 77                                                                              PARIS              TN   38242‐5442
SETCO AUTOMOTIVE NA INC                PO BOX 1507                                                                                 PARIS              TN   38242‐1507
SETCO INC                              41180 VINCENTI CT                                                                           NOVI               MI   48375‐1922
SETCO SALES CO                         5880 HILLSIDE AVE                                                                           CINCINNATI         OH   45233‐1524
SETCO SALES/CINCINNA                   5880 HILLSIDE AVE                                                                           CINCINNATI         OH   45233‐1524
SETECH INC                             903 INDUSTRIAL DR                                                                           MURFREESBORO       TN   37129‐4928
SETECH INC                             3515 CLEBURNE RD                  PO BOX J16                                                SPRING HILL        TN   37174
SETECH INC. AND COMPANIES              815 U.S.A. TODAY WAY                                                                        MURFREESBORO       TN   37129
SETECH INC/MURFREES                    905 INDUSTRIAL DR                                                                           MURFREESBORO       TN   37129
SETELE, ROBERT G                       2266 AUGUSTINE DR                                                                           PARMA              OH   44134‐4757
SETELIA, GEARLDINE                     1777 ENTERPRISE                                                                             TROY               MI   48083‐1863
SETERA, GEORGE                         8033 E TEN MILE RD                APT 1222                                                  CENTERLINE         MI   48015
SETERA, GEORGE                         8033 E 10 MILE RD APT 1222                                                                  CENTER LINE        MI   48015‐1428
SETERA, GERALD                         11507 PRINCEWOOD CIRCLE                                                                     FENTON             MI   48430‐9663
SETERA, KERI L                         9497 WESTWOOD CIR                                                                           CLARKSTON          MI   48348‐1553
SETERA, ROBERT C                       156 HONCHONCHABBA TRL                                                                       TUPELO             MS   38804‐8211
SETERA, TROY G                         9497 WESTWOOD CIR                                                                           CLARKSTON          MI   48348‐1553
SETERA, WALTER M                       29 HOLIDAY DR                                                                               LINCOLN            RI   02865‐2227
SETH
SETH & CHERYL KARPEL & KAHN &          55 PUBLIC SQ STE 650                                                                        CLEVELAND          OH 44113‐1909
ASSOCIATES LLC
SETH A HELLER                          2095 S FORGE RD                                                                             PALMYRA            PA 17078
SETH A. DAVIS, ESQ. FOR NYSEG, ELIAS   411 THEODORE FREMD AVE.                                                                     RYE                NY 10580
GROUP, LLP
SETH BRANDENSTEIN JR                   8229 NEW BRADFORD BLVD                                                                      STERLING HTS       MI   48312‐1109
SETH BURRIS                            1111 N ST                                                                                   BEDFORD            IN   47421‐2934
SETH CARMODY                           1935 WINCHESTER RD                                                                          TOLEDO             OH   43613‐2208
SETH D GINTER                          126 TIMBERWOLF WAY                                                                          BROOKVILLE         OH   45309
SETH DENZER                            30 S ACADEMY ST                                                                             JANESVILLE         WI   53548‐3740
SETH G GALLION                         3940 PAINTERSVILLE PORT WIL RD                                                              JAMESTOWN          OH   45335‐8525
SETH GOSLAWSKI                         9573 OAKBROOKE LN APT 7                                                                     HOWELL             MI   48843‐6339
SETH J MURRAY                          212 HOLLYHOCK AVE                                                                           FRANKLIN           OH   45005
SETH LERNER                            #R                                15 NORTON STREET                                          HONEOYE FALLS      NY   14472‐1023
SETH LIPSCOMB                          85 ELM ST                                                                                   HELTONVILLE        IN   47436‐8586
SETH MADSEN                            2143 WOODCOCK LN                                                                            TRAVERSE CITY      MI   49684
SETH R HILL                            210 NORTHWOOD DR                                                                            SYRACUSE           NY   13211‐1316
SETH R WILCOX                          607 BOULEVARD ST                                                                            SYRACUSE           NY   13211‐1711
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Name                               Address1                            Address2                         Address3   Address4         City                 State Zip
SETH RUPRIGHT                      1263 W JULIAH AVE                                                                                FLINT                 MI 48505‐1409
SETH SHELTON                       3251 LATTIMORE RD                                                                                SHELBY                NC 28150‐9528
SETH STEWART JR                    2619 CHURCHILL DR                                                                                THOMPSONS STATION     TN 37179‐9297
SETH VALENTINE                     3207 POTTER RD                                                                                   WIXOM                 MI 48393‐1845
SETH VINEYARD                      1947 WELKER AVE                                                                                  TOLEDO                OH 43613‐2845
SETH, JOHN S                       20501 ARDMORE PARK DR                                                                            SAINT CLAIR SHORES    MI 48081‐1773
SETH, RAMESH L                     3252 GREENSPRING LN                                                                              ROCHESTER HILLS       MI 48309‐2743
SETH, RAMESH S                     44340 HARSDALE DR                                                                                CANTON                MI 48187‐3257
SETH, REBA F                       44340 HARSDALE DR                                                                                CANTON                MI 48187‐3257
SETH, TERRIE M                     4670 MAPLE GROVE RD                                                                              EATON                 OH 45320‐9229
SETHER WARREN W (639394)           SAVILLE EVOLA & FLINT LLC           322 EAST BROADWAY P O BOX 602                                ALTON                  IL 62002

SETHER, WARREN W                   C/O SAVILLE EVOLA & FLINT LLC       PO BOX 602                                                   ALTON                IL   62002‐0602
SETHERLEY, GAIL E                  308 MELLON EAST RD                                                                               HEDGESVILLE          WV   25427‐4168
SETHI                              1221 S TRIMBLE RD STE B1                                                                         MANSFIELD            OH   44907‐2212
SETHI DALIP SINGH                  C/O SINGH CHEVROLET                 8200 AUTO DR                                                 RIVERSIDE            CA   92504‐4106
SETHMAN, WILLIAM E                 1410 MELBOURNE STREET                                                                            VIENNA               OH   44473‐9620
SETHMAN‐STEWART, JULIA A           787 COLLAR PRICE RD NE                                                                           BROOKFIELD           OH   44403‐9522
SETHU MADHAVAN                     49121 ROCKEFELLER DR                                                                             CANTON               MI   48188‐8515
SETINA, DOROTHY A                  4575 MOTORWAY DR                                                                                 WATERFORD            MI   48328‐3455
SETKO, JOHN E                      35505 ASH RD                                                                                     NEW BOSTON           MI   48164‐8612
SETLA, TINA                        4987 SE MARINER VILLAGE LANE                                                                     STUART               FL   34997‐2153
SETLAK, CARL H                     3378 LINCOLN RD                                                                                  STANDISH             MI   48658‐9425
SETLAK, THEODORE                   29557 OHMER DR                                                                                   WARREN               MI   48092‐3339
SETLAK, THEODORE J                 29557 OHMER DR                                                                                   WARREN               MI   48092‐3339
SETLEY, MARY                       2245 CITRUS VALLEY CIR                                                                           PALM HARBOR          FL   34683‐3104
SETLIFF DARRELL                    SETLIFF, DARRYL                     35765 CHESTER RD                                             AVON                 OH   44011‐1262
SETLIFF MARY/GUY SPENCER SETLIFF   ICO THE LANIER LAW FIRM P C         6810 FM 1960 WEST                                            HOUSTON              TX   77069
SETLIFF, DARRYL                    WICKENS HERZER PANZA COOK BATISTA   35765 CHESTER RD                                             AVON                 OH   44011‐1262

SETLIFF, MACIE E                   722 FARLEY BRANCH RD.                                                                            COOL RIDGE           WV   25825‐9456
SETLIFF, MARY C                    LANIER LAW FIRM                     6810 FM 1960 WEST SUITE 1550                                 HOUSTON              TX   77069
SETLIFF, PAUL L                    15002 WHEELER RD                                                                                 LAGRANGE             OH   44050‐9571
SETLIFF, PICKENS H                 2268 WINDING PATH DR                                                                             MEMPHIS              TN   38133
SETLOCK JR, EUGENE J               411 JOLLY RD NW APT 3                                                                            CALHOUN              GA   30701‐8662
SETLOCK, DAVID J                   387 DOANE RD                                                                                     NEW MARKET           TN   37820‐4431
SETLOCK, MARIAN L                  2101 SUNSET PT ROAD #1001                                                                        CLEARWATER           FL   33765‐1278
SETLOCK, MARIAN L                  2101 SUNSET POINT RD APT 1001                                                                    CLEARWATER           FL   33765‐1278
SETLOCK, MYRA J                    387 DOANE RD                                                                                     NEW MARKET           TN   37820‐4431
SETLOCK, MYRA J                    387 DOANE ROAD                                                                                   NEW MARKET           TN   37820‐4431
SETLOCK, PETER M                   2778 BASELINE RD                                                                                 GRAND ISLAND         NY   14072‐1307
SETNESS BERNHARD (640592)          BIFFERATO GENTILOTTI & BIDEN        PO BOX 2165                                                  WILMINGTON           DE   19899‐2165
SETO, DOMINIC Y                    PO BOX 74901                                                                                     ROMULUS              MI   48174‐0901
SETON COMPANY                      C/O THE SEAPORT GROUP, LLC          360 MADISON AVENUE, 22ND FLOOR                               NEW YORK             NY   10017

SETON CATHOLIC SCHOOL ‐ GOLF       6923 STOW RD                                                                                     HUDSON               OH   44236‐3240
SETON CO                           VALLEY FORGE CORP CENTER            135 HORTON DR                                                SAXTON               PA   16678‐1502
SETON CO INC                       135 HORTON DR                                                                                    SAXTON               PA   16678‐1502
SETON COMPANY                      HORTON DRIVE                                                                                     SAXTON               PA   16678
SETON COMPANY                      7001 ORCHARD LAKE ROAD                                                                           WEST BLOOMFIELD      MI   48322
SETON CORP BAPTIST H               PO BOX 501046                                                                                    SAINT LOUIS          MO   63150‐0001
SETON HALL UNIVERSITY              400 S ORANGE AVE                                                                                 SOUTH ORANGE         NJ   07079‐2646
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Name                     Address1                       Address2           Address3         Address4         City                 State Zip
SETON NAME PLATE CO      PO BOX 819                                                                          BRANFORD              CT 06405‐0819
SETON/TROY               50 W BIG BEAVER RD STE 175     LEATHER DIVISION                                     TROY                  MI 48084‐5203
SETOODEH, CYRUS J        8551 N HEARTLAND WAY                                                                FRESNO                CA 93720‐5347
SETORNINO DELGADO        1029 W MIDLAND RD                                                                   AUBURN                MI 48611‐9433
SETRA SYSTEMS INC        BANK OF AMERICA LOCKBOX SVCS   159 SWANSON RD                                       BOXBOROUGH            MA 01719‐1316
SETRU, PRABHUSHANKAR J   160 GROSVENOR DR                                                                    ROCHESTER HILLS       MI 48307‐3164
SETSER, ALICE F          18504 MERRIMAN RD                                                                   ROMULUS               MI 48174‐9765
SETSER, DAVID W          5963 FAIRHAM RD                                                                     HAMILTON              OH 45011‐2036
SETSER, HOWARD W         650 LEE HOLLOW RD                                                                   INDIAN MOUND          TN 37079‐5122
SETSER, JEREMIAH C       12048 LOWER VALLEY PIKE                                                             MEDWAY                OH 45341‐9763
SETSER, JO LYNN          200 LONGDON ST                                                                      GREENWOOD             IN 46142‐3625
SETSER, JO LYNN          2607 LAMPLIGHTER DR            BOX 168                                              NEWPORT RICHEY        FL 34655‐2221
SETSER, JOHN C           609 LESLIE DR                                                                       OKLAHOMA CITY         OK 73115‐3821
SETSER, JOHN E           9647 CENTER RD                                                                      FOSTORIA              MI 48435‐9795
SETSER, JOHN E           93 E CORNELL AVE                                                                    PONTIAC               MI 48340‐2631
SETSER, KENNETH S        2473 CLARK RD                                                                       LAPEER                MI 48446‐9435
SETSER, LARRY V          3704 WITHROW RD                                                                     HAMILTON              OH 45011‐8430
SETSER, PAUL C           2302 N WASHINGTON ST                                                                DANVILLE              IN 46122‐9649
SETSER, RONALD D         25256 CASTLEWOOD DR                                                                 TRENTON               MI 48183‐4311
SETSER, THELMA L         650 LEE HOLLOW RD                                                                   INDIAN MOUND          TN 37079‐5122
SETSER,DAVID W           5963 FAIRHAM RD                                                                     HAMILTON              OH 45011‐2036
SETSUDA, DAVID J         29812 BRIARWOOD CT                                                                  FARMINGTON HILLS      MI 48331‐1921
SETSUDA, NANCY L         5560 GRACE LN                                                                       ALMONT                MI 48003‐9655
SETSUDA, STEVEN C        5560 GRACE LN                                                                       ALMONT                MI 48003‐9655
SETTANNI, CARMELA N      555 HAYMAN CT                                                                       DEBARY                FL 32713‐2728
SETTAPPA, ADDIE          1615 OLLADALE DR                                                                    FORT WAYNE            IN 46808‐1767
SETTAS, ANGELA           23123 EDSEL FORD CT                                                                 SAINT CLAIR SHORES    MI 48080‐2501
SETTE, CONSTANCE T       93 TOELSIN RD                                                                       CHEEKTOWAGA           NY 14225‐3226
SETTE, GUY M             6363 TRANSIT RD APT 212                                                             EAST AMHERST          NY 14051‐2721
SETTEDUCATE, MICHAEL S   50 HERONS BILL DRIVE                                                                BLUFFTON              SC 29909‐7138
SETTEDUCATE, ROSEMARIE   308 ERIK DR                                                                         SETAUKET              NY 11733‐6426
SETTEMBRINO, THOMAS R    16 SCOTT DR                                                                         WAPPINGERS FALLS      NY 12590‐4712
SETTER, CHAD S           8170 VASSAR RD                                                                      GRAND BLANC           MI 48439‐7407
SETTER, DALE E           18700 AUTUMN LAKE BLVD                                                              HUDSON                FL 34667‐6473
SETTER, DEAN K           351 CHEROKEE DR                                                                     CHEEKTOWAGA           NY 14225‐3325
SETTER, EDGAR C          684 HIGH MOUNTAIN RD                                                                FRANKLIN LAKES        NJ 07417‐2912
SETTER, JAMES J          40 HOLIDAY LN                                                                       CANANDAIGUA           NY 14424‐1426
SETTER, MARJORIE E       941 CEDARGATE CT                                                                    WATERFORD             MI 48328‐2614
SETTER, STEVEN R         8170 VASSAR RD                                                                      GRAND BLANC           MI 48439‐7407
SETTER, THOMAS R         3304 N STIRRUP DR                                                                   BEVERLY HILLS         FL 34465‐4691
SETTERBLAD, ALF E        27059 HILLSIDE CT                                                                   STURGIS               MI 49091‐9151
SETTERINGTON, GAYLE E    2370 CAMPFIRE TRAIL 21                                                              ALGER                 MI 48610
SETTERLUN, DAVID G       13501 MULBERRY TRL                                                                  TAYLOR                MI 48180‐6345
SETTERS JR, NATHANIEL    1561 GREENS EDGE DR                                                                 FLORENCE              KY 41042‐1197
SETTERS, CATHERINE H     PO BOX 797                                                                          CHAMPAIGN              IL 61824‐0797
SETTERS, JOHN D          1279 CENTER MILLS RD                                                                ASPERS                PA 17304‐9462
SETTERS, JOSEPH R        6983 OLD CLIFTON RD                                                                 SPRINGFIELD           OH 45502‐9485
SETTERS, KEITH R         5400 SUSAN DR                                                                       DAYTON                OH 45415‐3034
SETTERS, LARRY F         6119 TAYLORSVILLE RD                                                                DAYTON                OH 45424‐2951
SETTERS, NORMA J         5400 SUSAN DR                                                                       DAYTON                OH 45415‐3034
SETTERS, NORMA J         5400 SUSAN DR.                                                                      DAYTON                OH 45415‐3034
SETTERS, RAMONA L        6119 TAYLORSVILLE RD                                                                HUBER HEIGHTS         OH 45424‐2951
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Name                               Address1                          Address2                          Address3                    Address4               City                  State Zip
SETTERS, ROBERTA J                 122 OAKWOOD ANVENUE                                                                                                    FAIRBORN               OH 45324
SETTERS, RUTH                      2734 COUNTY ROAD 8                                                                                                     FRIENDSHIP             NY 14739‐8745
SETTERS, THERESA J                 2002 HUNTINGTON ST                                                                                                     MIDDLETOWN             OH 45042‐1807
SETTERS, WILLIAM B                 4485 ROSE MARIE RD                                                                                                     FRANKLIN               OH 45005‐4853
SETTERS,THERESA J                  2002 HUNTINGTON ST                                                                                                     MIDDLETOWN             OH 45042‐1807
SETTIE HENDRICKS                   4527 E STATE ROAD 236                                                                                                  MIDDLETOWN             IN 47356‐9207
SETTIMO, JACK R                    8689 GRAND OAKS CT                                                                                                     WASHINGTON TWP         MI 48095‐2918
SETTIMO, JANET                     180 N CANFIELD NILES RD                                                                                                AUSTINTOWN             OH 44515
SETTIMO, SALVATORE J               180 N CANFIELD NILES RD                                                                                                AUSTINTOWN             OH 44515‐1902
SETTIMO, SEBASTIAN                 248 HULL ST                                                                                                            HENDERSON              NV 89015‐5607
SETTING JR, RALPH J                1449 WHITE OAK DR NE                                                                                                   WARREN                 OH 44484‐1651
SETTING, JEFFREY M                 8988 STONEGATE DR                                                                                                      CLARKSTON              MI 48348‐2582
SETTING, KATHLEEN L                8988 STONEGATE DR                                                                                                      CLARKSTON              MI 48348‐2582
SETTING, TERESA E                  5477 BOULDERWOOD RDG                                                                                                   CLARKSTON              MI 48348‐3761
SETTINO, CHARLES C                 3168 DORAL DR                                                                                                          ROCHESTER HLS          MI 48309‐1241
SETTLE ERNEST                      PO BOX 1270                                                                                                            FORT PIERCE            FL 34954‐1270
SETTLE JR, PAUL T                  3352 MORNING GLORY RD                                                                                                  DAYTON                 OH 45449‐3031
SETTLE LEE                         28 BENTLY LN                                                                                                           WILLINGBORO            NJ 08046‐1509
SETTLE ROBERT L (447612)           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                        NORTHFIELD             OH 44067
                                                                     PROFESSIONAL BLDG
SETTLE, CARL E                     1120 53RD AVE E LOT 47                                                                                                 BRADENTON             FL   34203‐4880
SETTLE, CHARLES L                  9049 BELVOIR DR                                                                                                        BIRMINGHAM            AL   35206‐1447
SETTLE, DONALD E                   1605 GREENWOOD RD                                                                                                      LAURENS               SC   29360‐3127
SETTLE, JAMES E                    357 PUTTER CIR                    LK HENRY GOLF & TENNIS                                                               WINTER HAVEN          FL   33881‐8750
SETTLE, JOHN W                     1334 LAKE VALLEY DR                                                                                                    FENTON                MI   48430‐1240
SETTLE, JOSEPH V                   3407 VISTA AVE                                                                                                         SAINT LOUIS           MO   63104‐1107
SETTLE, LARRY G                    906 NW SOUTH SHORE DR                                                                                                  KANSAS CITY           MO   64151‐1444
SETTLE, LEOLA                      28 BENTLY LN                                                                                                           WILLINGBORO           NJ   08046‐1509
SETTLE, NORA                       424 N. MANSION                                                                                                         SULLIVAN              MO   63080‐1520
SETTLE, RALPH B                    148 OLD GRITSMILL RD                                                                                                   SPARTA                GA   31087‐2209
SETTLE, ROBERT L                   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                                         NORTHFIELD            OH   44067
                                                                     PROFESSIONAL BLDG
SETTLE, TERRY L                    4084 GRANDVIEW DR                                                                                                      FLUSHING              MI 48433‐2316
SETTLE, WILLIAM C                  33392 BROWNLEA DR                                                                                                      STERLING HEIGHTS      MI 48312‐6612
SETTLEMENT AGREEMENT IN SODERS V   GENERAL MOTORS CORPORATION AND    ATTN: JOSEPH F RODA, ESQUIRE,     801 ESTELLE DR                                     LANCASTER             PA 17601
                                   RODANAST P C                      RODANAST PC
SETTLEMENT AGREEMENT IN SODERS V   CORPORATION AND RODANAST P C      RODANAST, P.C.                    ATTN: JOSEPH F RODA ESQ &   801 ESTELLE DR         LANCASTER             PA 17601
GENERAL MOTORS                                                                                         MICHELLE BURKHOLDER
SETTLEMENT AGREEMENT IN SODERS V   ATTN: JOSEPH F. RODA, ESQ.        RODANAST, P.C.                    801 ESTELLE DRIVE                                  LANCASTER             PA 17601
GENERAL MOTORS CORPORATION
SETTLEMIER, BRIAN ERIC             WEISSICH JILL ELAINE              55 PROFESSIONAL CENTER PKWY STE                                                      SAN RAFAEL            CA 94903‐2729
                                                                     H
SETTLEMIRE, ALICE C                10542 FREMONT PIKE APT 161                                                                                             PERRYSBURG            OH   43551‐3366
SETTLEMIRE, SCOTT D                258 KERBY RD                                                                                                           GROSSE POINTE FARMS   MI   48236‐3146
SETTLEMOIR, KEITH L                4239 W MAPLE AVE                                                                                                       FLINT                 MI   48507‐3123
SETTLEMOIR, MARION L               5677 DAVIS RD                                                                                                          KOKOMO                IN   46901‐9138
SETTLEMOIR, TIMOTHY D              23449 MELVILLE AVE                                                                                                     HAZEL PARK            MI   48030‐2806
SETTLEMYER, PAUL V                 3214 6TH AVE                                                                                                           ALTOONA               PA   16602‐1809
SETTLEMYRE, RAYMOND J              963 JOHNSON ST                                                                                                         OWOSSO                MI   48867‐3824
SETTLER, CHRISTOPHER J             9454 OAKHILL RD                                                                                                        HOLLY                 MI   48442‐8723
SETTLES III, JAMES D               200 RIVERFRONT DR #27J                                                                                                 DETROIT               MI   48226‐4525
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Name                        Address1                        Address2                        Address3   Address4         City            State Zip
SETTLES WILLIE M (447613)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                            PROFESSIONAL BLDG
SETTLES, ALLEN E            6540 LONGBOAT KEY CIR                                                                       NOBLESVILLE     IN   46062‐7395
SETTLES, BRIAN F            223 N STEWART RD                                                                            CORBIN          KY   40701‐4879
SETTLES, BRIAN F.           223 NORTH STEWART ROAD                                                                      CORBIN          KY   40701‐4879
SETTLES, CARL C             741 S 4TH AVE                                                                               BEECH GROVE     IN   46107‐2203
SETTLES, DARBY V            23156 NEWCASTLE CT                                                                          BROWNSTOWN      MI   48134‐6017
SETTLES, DONALD W           51 RANSDELL DR                                                                              FRANKLIN        IN   46131‐9752
SETTLES, JIMMIE             2065 BALM RD                                                                                WETUMPKA        AL   36092‐3605
SETTLES, JUDITH K           741 S 4TH AVE                                                                               BEECH GROVE     IN   46107‐2203
SETTLES, KAREN L            601 LEMAY ST                                                                                DETROIT         MI   48214‐3250
SETTLES, KATHLEEN           12031 N HACIENDA DR                                                                         SUN CITY        AZ   85351‐3843
SETTLES, ROGER D            605 OAK BOULEVARD WEST DR                                                                   GREENFIELD      IN   46140‐8868
SETTLES, TINA A
SETTLES, WILLIE M           BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD      OH 44067
                                                            PROFESSIONAL BLDG
SETTOON TOWING, LLC                                         1711 DUNN ST                                                                LA   70360
SETTY, BETTY J.             326 SLATE RUN                                                                               LUCASVILLE      OH   45648
SETTY, BETTY J.             326 SLATE RUN RD                                                                            LUCASVILLE      OH   45648‐8581
SETTY, GERRY L              1516 S MAIN ST                                                                              KOKOMO          IN   46902‐2141
SETTY, HELEN N              1352 TISHMAN LN                                                                             INDIANAPOLIS    IN   46260‐3434
SETTY, RAYMOND E            557 ST RT 132 PO BOX 85                                                                     CLARKSVILLE     OH   45113‐0085
SETTY, RAYMOND E            PO BOX 85                       557 ST RT 132                                               CLARKSVILLE     OH   45113‐0085
SETTY, ROBERT L             1516 S MAIN ST                                                                              KOKOMO          IN   46902‐2141
SETULA, ROBERT E            1259 8 MILE RD                                                                              KAWKAWLIN       MI   48631‐9722
SETUM, LAVERNE L            3545 S IOWA AVE                                                                             SAINT FRANCIS   WI   53235‐3676
SETZER DENNIS H             2015 DAYTONA LN                                                                             NEWTON          NC   28658‐2560
SETZER JAMIE                SETZER, JAMIE                   641 RIVERFRONT DR                                           SHEBOYGAN       WI   53081‐4628
SETZER JAMIE                SETZER, MARY                    641 RIVERFRONT DR                                           SHEBOYGAN       WI   53081‐4628
SETZER, BRIAN D             300 WINDEMERE WOODS DR                                                                      NASHVILLE       TN   37215‐2458
SETZER, JAMIE               DILLMAN HOLBROOK WURTZ ROTH &   641 RIVERFRONT DR                                           SHEBOYGAN       WI   53081‐4628
                            BASLER LLP
SETZER, MARY                DILLMAN HOLBROOK WURTZ ROTH &   641 RIVERFRONT DR                                           SHEBOYGAN       WI 53081‐4628
                            BASLER LLP
SETZER, RONNIE A            759 N 300 W                                                                                 KOKOMO          IN   46901‐3987
SETZER, RYAN M              10725 MOORISH RD                                                                            BIRCH RUN       MI   48415‐8460
SETZKE, DIANE E             959 CHIPMAN LN                                                                              OWOSSO          MI   48867‐4966
SETZKE, JEFFREY A           10400 MCKINLEY RD                                                                           MONTROSE        MI   48457‐9081
SETZLER, CAROLYN M          15767 HEMLOCK CT                                                                            APPLE VALLEY    MN   55124‐7145
SETZLER, GLORIA C           69 WALLING GROVE RD                                                                         BEAUFORT        SC   29907
SETZLER, MICHAEL L          69 WALLING GROVE RD                                                                         BEAUFORT        SC   29906
SEUBERT BEVERLY             3312 SEQUOYAH CIR                                                                           JACKSONVILLE    FL   32259‐2125
SEUBERT JR, THOMAS J        1122 ROSEDALE AVE                                                                           ROSEDALE        MD   21237‐2729
SEUBERT SR, CHARLES J       34 RIGHT WING DR                                                                            BALTIMORE       MD   21220‐4631
SEUBERT, GERTRUDE           1122 ROSEDALE AVE.                                                                          ROSEDALE        MD   21237‐2729
SEUBERT, MARIA G            4617 RED MAPLE DR                                                                           WARREN          MI   48092‐2357
SEUBERT, MARY B             26 HARBOUR LN                                                                               CHEEKTOWAGA     NY   14225‐3708
SEUBERTH, CHARLES C         5840 HARRISON ANNEX RD                                                                      BATESVILLE      AR   72501‐9604
SEUELL, ROSE MARY           3302 LANTERN LN                                                                             SAINT JOSEPH    MO   64506‐1456
SEUELL, ROSE MARY           19471 COUNTY RD 377                                                                         ST JOSEPH       MO   64505‐4096
SEUELL, WILLIAM F           1215 HASTINGS ST                                                                            DELTA           CO   81416‐2402
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Name                           Address1                         Address2                      Address3   Address4                 City                State Zip
SEUFERT HERMAN J (626765)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK              VA 23510
                                                                STREET, SUITE 600
SEUFERT, HERMAN J              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510‐2212
                                                                STREET, SUITE 600
SEUFERT, RUDOLF E              20123 SHADOW ISLAND DR                                                                             CANYON COUNTRY      CA   91351‐5809
SEUFFERT, ROSELLA C            2249 TITUS AVE                                                                                     ROCHESTER           NY   14622‐2261
SEUFFERT, ROSELLA C            2249 TITUS AVENUE                                                                                  ROCHESTER           NY   14622‐2261
SEUHBETIAN, HARRY P            13731 45TH AVE                                                                                     FLUSHING            NY   11355‐4048
SEULEAN, ANDREW M              1607 WESTWOOD DR                                                                                   ANDERSON            IN   46011‐1151
SEULEAN, AUGUSTINE             1645 OAKWOOD DR                                                                                    ANDERSON            IN   46011‐1028
SEULEAN, DAVID P               622 SISKIYOU BLVD                                                                                  ASHLAND             OR   97520
SEULEAN, EDNA C                1806 DAPHNE                                                                                        ANDERSON            IN   46013‐2590
SEULEAN, EDNA C                1806 DAPHNE DR                                                                                     ANDERSON            IN   46013‐2590
SEUNG‐BEOM SEO                 14782 ATWATER DRIVE                                                                                STERLING HTS        MI   48313‐1202
SEUNG‐IL LO                    5225 CREEKMONTE DR                                                                                 ROCHESTER           MI   48306‐4794
SEURINCK, NORMAN C             25249 WYKESHIRE RD                                                                                 FARMINGTON HILLS    MI   48336‐1554
SEUSS, DEBORAH A               24 COBURN RD                                                                                       BERLIN              MA   01503
SEUTE, RONALD E                37225 W 247TH RD                                                                                   WELLSVILLE          KS   66092‐8421
SEUTTER, ANDREW E              30 HALLORAN CT                                                                                     HOCKESSIN           DE   19707‐9213
SEUTTER, CARL G                PO BOX 125                                                                                         OAKESDALE           WA   99158‐0125
SEUTTER, EWALD E               10104 CAMBRIDGE AVE                                                                                KANSAS CITY         MO   64134‐1543
SEUTTER, JOHN W                9345 S BEYER RD                                                                                    BIRCH RUN           MI   48415‐8426
SEUTTER, ROBERT
SEVALD, JOHN A                 2322 N WASHINGTON AVE                                                                              ROYAL OAK           MI   48073‐4025
SEVALD, JOHN B                 516 JEFFREY AVE                                                                                    ROYAL OAK           MI   48073‐2585
SEVASTIE S ACHLADIS            24091 WILLOWBROOK DTR                                                                              WARREN              OH   44483
SEVASTIS, GUST                 10000 RODVIEW RD                                                                                   BROADVIEW HEIGHTS   OH   44147
SEVASTOS, CELIA F              8971 BRIARBROOK DR NE                                                                              WARREN              OH   44484‐1737
SEVC, RITA J                   2431 MARINER SQ RM 228                                                                             ALAMEDA             CA   94501
SEVCECH, THOMAS W              17383 BISHOP RD                                                                                    CHESANING           MI   48616‐9732
SEVCIK, BERNADETTE M           8333 CARR CT                                                                                       LYONS               IL   60534‐1783
SEVEGNEY, DEBORAH M            3610 KINGSWAY DR                                                                                   HIGHLAND            MI   48356‐1844
SEVEL ARGENTINA SA             PRESIDENTE PERON 1001(1682                                                BUENOS AIRES ARGENTINA
SEVEL KRIS                     2726 FOREST VIEW COURT                                                                             ROCHESTER HLS       MI   48307‐5905
SEVEL, KRIS                    2726 FOREST VIEW CT                                                                                ROCHESTER HILLS     MI   48307‐5905
SEVEN OAKS                     103 PINEY GROVE RD                                                                                 COLUMBIA            SC   29210‐4159
SEVEN SEVENTEEN CREDIT UNION   3181 LARCHMONT AVE NE                                                                              WARREN              OH   44483‐2435
SEVEN SPRINGS RESORT           777 WATER WHEEL DR                                                                                 CHAMPION            PA   15622‐4007
SEVEN WORLDWIDE                6555 SIMS DR                                                                                       STERLING HEIGHTS    MI   48313‐3724
SEVENANDT, MICHAEL
SEVENER, DAVID A               4585 LALONDE RD R#2                                                                                STANDISH            MI   48658
SEVENER, MARGARET M            607 N WICKSHIRE LN                                                                                 DURAND              MI   48429‐1435
SEVENER, PATSY D               386 BACK CREEK RD                                                                                  CHAMPION            PA   15622‐3031
SEVENER, TRACIE M              3796 WEST EVERGREEN ROAD                                                                           FREDONIA            WI   53021
SEVENER, WILLIAM C             1208 BRIAR DOWNS LN                                                                                BURTON              MI   48529‐2225
SEVENSKI I I, WILLIAM D        5150 SKELTON RD                                                                                    COLUMBIAVILLE       MI   48421‐9716
SEVENSKI II, WILLIAM DEO       5150 SKELTON RD                                                                                    COLUMBIAVILLE       MI   48421‐9716
SEVENSKI, CARL F               1124 N CAPITOL AVE                                                                                 LANSING             MI   48906‐4825
SEVENSKI, ELAINE M             208 S SWEGLES ST                                                                                   SAINT JOHNS         MI   48879‐1933
SEVENSKI, ELAINE M             208 SWEGLES                                                                                        ST. JOHNS           MI   48879
SEVENSKI, JOSEPH A             02635 CAMPTON ROAD                                                                                 ELMIRA              MI   49730
SEVENSKI, MICHAEL J            4011 W KALAMO HWY                                                                                  CHARLOTTE           MI   48813‐9539
                                     09-50026-mg             Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                                Address1                            Address2         Address3         Address4              City            State Zip
SEVENSKI, ROLAND M                  9893 POPLAR POINT LOOP                                                                      ATHENS           AL 35611‐6933
SEVENSKI, WILLIAM D                 3792 SHASTA CIR                                                                             CLOVER           SC 29710‐6930
SEVENSON ENVIRONMENTAL SERVICES INC 2749 LOCKPORT RD                                                                            NIAGARA FALLS    NY 14305‐2229

SEVENSON ENVIRONMENTAL SERVICES INC 9245 CALUMET AVE STE 101                                                                    MUNSTER          IN   46321‐4171

SEVENSON ENVIRONMENTAL SERVICES,    2749 LOCKPORT ROAD                                                                          NIAGARA FALLS   NY 14302
INC.
SEVENTEEN FOURTEEN FEDERAL CREDIT   2121 CARSON SALT SPRINGS                                                                    WARREN          OH 44481
UNION
SEVENTH 7RANSPORT INC               PO BOX 2740                                                                                 GARY            IN    46403‐0740
SEVENTH ADVENTIST CHURCH            295 S FORD BLVD                                                                             YPSILANTI       MI    48198‐6066
SEVENTH TRANSPORT                   GARY GOLDBERG                       PO BOX 2740                                             GARY            IN    46403‐0740
SEVENTY ONE TRANSPORT LLC           631 S LAKE ST                                                                               GARY            IN    46403‐2968
SEVER, HAROLD E                     2215 BASS LAKE RD                                                                           COMMERCE TWP    MI    48382‐1714
SEVER, LOIS J.                      13329 W EATON HWY                                                                           GRAND LEDGE     MI    48837‐9643
SEVER, LOIS J.                      13329 E EATON HWY                                                                           GRAND LEDGE     MI    48837‐9771
SEVER, PHILIP L                     628 W HOUSTONIA AVE                                                                         ROYAL OAK       MI    48073‐4082
SEVERA, VIOLET M                    P.O. BOX 206                                                                                FERNLEY         NV    89408‐0206
SEVERA, VIOLET M                    PO BOX 206                                                                                  FERNLEY         NV    89408‐0206
SEVERADO, MELISSA P                 319 W 15TH ST                                                                               GEORGETOWN      IL    61846‐1032
SEVERANCE & LICENSE SECTION         SALES USE & BUSINESS DIV            PO BOX 327550                                           MONTGOMERY      AL    36132‐7550
SEVERANCE TRANSMISSION              101 S MARKET ST                                                                             SOMERSET        OH    43783‐9434
SEVERANCE, BEVERLY A                6725 STONEGATE DR                                                                           TEMPERANCE      MI    48182‐2217
SEVERANCE, KITTY M                  12 SUPERIOR TRL                                                                             SWARTZ CREEK    MI    48473‐1614
SEVERANCE, LEONA                    3800 E SILVER SPRINGS BLVD APT 14                                                           OCALA           FL    34470‐4988
SEVERANCE, ROBERT N                 727 NEWTON LOOP                                                                             MARSHALL        TX    75672‐3103
SEVERANCE, ROBERT NORMAN            727 NEWTON LOOP                                                                             MARSHALL        TX    75672‐3103
SEVERANCE, RONALD M                 2233 HAMPDEN DR                                                                             LANSING         MI    48911‐1636
SEVERANCE, RUSSELL A                23 RIVER ST                                                                                 BATAVIA         NY    14020‐1823
SEVERANCE, SHIRLEY M                2720 PEASE DR APT 119                                                                       ROCKY RIVER     OH    44116‐3250
SEVERANCE, SHIRLEY M                2720 PEASE DRIVE                    UNIT 119                                                ROCKY RIVER     OH    44116‐3250
SEVERE, REBECCA J                   6510 S 1140 E                                                                               HUDSON          IN    46747‐9613
SEVERE, REBECCA J.                  6510 S 1140 E                                                                               HUDSON          IN    46747‐9613
SEVERE, THOMAS F                    8510 E COUNTY ROAD 700 N                                                                    BROWNSBURG      IN    46112‐9093
SEVERE, WANDA G.                    8510 E COUNTY ROAD 700 N                                                                    BROWNSBURG      IN    46112‐9093
SEVERI CLAUDIO                      VIA CAMILLO GUIDELLI, 2316                                            41126 MODENA, ITALY
SEVERI FILIPPO                      VIA CAMILLO GUIDELLI 2312                                             41126 MODENA ITALY
SEVERI GIULIETTA                    VIA ANACARSI NARDI 18                                                 41121 MODENA (MO)
                                                                                                          ITALY
SEVERIANO CABAN                     RR 2 BOX 3077                                                                               ANASCO          PR    00610‐9602
SEVERIANO DERAS                     5301 SE 86TH ST                                                                             OKLAHOMA CITY   OK    73135‐6140
SEVERIANO FERNANDEZ                 2160 SUNSET LN                                                                              SAGINAW         MI    48604‐2446
SEVERIANO JIMENEZ                   2357 E STATE ROAD 236                                                                       ANDERSON        IN    46017‐9757
SEVERIN BRUEGGEMANN                 1201 MAIN ST                                                                                GERMANTOWN      IL    62245‐2712
SEVERIN RINGSAK & MARROW            411 N 4TH ST STE 6                                                                          BISMARCK        ND    58501‐4078
SEVERIN, CARL W                     970 N BENTLEY                                                                               NILES           OH    44446‐5218
SEVERIN, CARL W                     970 N BENTLEY AVE                                                                           NILES           OH    44446‐5218
SEVERIN, JAMES W                    2813 BLUEBERRY PL                                                                           SAGINAW         MI    48603‐2655
SEVERINI, NICHOLAS                  820 S PARK AVE                                                                              LINDEN          NJ    07036‐1649
SEVERINO BREGOLI                    42 GLENWOOD ST                                                                              NATICK          MA    01760‐5649
SEVERINO, CARMEN J                  55 STEINERT AVE                                                                             TRENTON         NJ    08619‐2915
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Name                                Address1                           Address2                      Address3          Address4         City            State Zip
SEVERINO, CARMEN J                  42 LONGWOOD DR                                                                                      TRENTON          NJ 08620‐2415
SEVERINO, CHARLES T                 145 RUMBOLD AVE                                                                                     N TONAWANDA      NY 14120‐4645
SEVERINO, JULIA                     50 SUNSET LANE                                                                                      COLUMBUS         NJ 08022‐1110
SEVERINO, WILLIAM E                 75 N SHORE DR                                                                                       BLASDELL         NY 14219‐2311
SEVERN JAMES HOWARD                 ATTN: JOHN AMATO IV, ESQ           GOODMAN, MEAGHER & ENOCH LLP 111 N CHARLES ST                    BALTIMORE        MD 21201

SEVERN TRENT DEL INC                16337 PARK ROW                                                                                      HOUSTON          TX   77084‐5109
SEVERN TRENT ENVIRONMENTAL          16337 PARK ROW                                                                                      HOUSTON          TX   77084‐5109
SEVERN TRENT ENVIRONMENTAL SERVICES 16337 PARK ROW                                                                                      HOUSTON          TX   77084‐5109
INC
SEVERN TRENT ENVIRONMENTAL          KIM MC GREGOR                      16337 PARK ROW                                                   HOUSTON          TX   77084‐5109
SERVICES, INC.
SEVERN TRENT ENVIRONMENTAL SVC      16337 PARK ROW                                                                                      HOUSTON         TX    77084‐5109
SEVERN TRENT LABORATORIES INC       4101 SHUFFEL DR NW                                                                                  NORTH CANTON    OH    44720
SEVERN, ANITA L                     PO BOX 1054                                                                                         SALUDA          NC    28773‐1054
SEVERN, ARLEITA J                   710 RUSSELL STREET                                                                                  SANFORD         NC    27330
SEVERN, ARLEITA J                   710 RUSSELL ST                                                                                      SANFORD         NC    27330‐9027
SEVERN, CLARE F                     8475 HATT RD                                                                                        LINDEN          MI    48451‐9726
SEVERN, DUANE R                     3610 PINERIDGE TRL                                                                                  ADRIAN          MI    49221‐8346
SEVERN, ELIZABETH                   42186 GLADWIN ST                                                                                    NORTHVILLE      MI    48167‐2404
SEVERN, GARTH L                     11480 COLONIAL WOODS DR                                                                             CLIO            MI    48420‐1594
SEVERN, GERALD J                    1437 DORELLEN AVE                                                                                   FLINT           MI    48532‐5339
SEVERN, HARRY J                     1135 N CHIPMAN ST APT 39                                                                            OWOSSO          MI    48867‐4933
SEVERN, HARVEY J                    7260 E MOUNT MORRIS RD                                                                              OTISVILLE       MI    48463‐9468
SEVERN, JAMES D                     13275 BLOCK RD                                                                                      BIRCH RUN       MI    48415‐9419
SEVERN, MARIE J                     2723 PLAINFIELD AVE                                                                                 FLINT           MI    48506‐1866
SEVERN, MARVIN D                    11589 JOHNSTONE RD                                                                                  NEW LOTHROP     MI    48460‐9624
SEVERN, NEIL                        12230 W WASHINGTON AVE                                                                              MOUNT MORRIS    MI    48458‐1514
SEVERN, PAUL                        141 PINEWOOD DR                                                                                     BASTROP         TX    78602‐2608
SEVERN, PAUL                        141 PINE WOOD DRIVE                                                                                 DASTROP         TX    78602‐7440
SEVERN, ROBERT E                    5025 SWAFFER RD                                                                                     MILLINGTON      MI    48746‐9114
SEVERNS, DAVID G                    881 N SHORE DR                                                                                      SPRINGPORT      MI    49284‐9463
SEVERNS, GLENN E                    BOONE ALEXANDRA                    205 LINDA DR                                                     DAINGERFIELD    TX    75638‐2107
SEVERNS, HOWARD D                   8007 12TH AVE NW                                                                                    BRADENTON       FL    34209‐9502
SEVERNS, JAMIE LYNN                 G‐5074 VANSLYKE RD.                                                                                 FLINT           MI    48507
SEVERNS, JON A                      2388 BARONSMEDE CT                                                                                  WINTER GARDEN   FL    34787‐4680
SEVERNS, MICHELLE A                 2693 TOZER RD                                                                                       NORTH BRANCH    MI    48461‐9342
SEVERNS, MICHELLE ANN               2693 TOZER RD                                                                                       NORTH BRANCH    MI    48461‐9342
SEVERNS, NORA                       PORTER & MALOUF PA                 4670 MCWILLIE DR                                                 JACKSON         MS    39206‐5621
SEVERNS, WILLIAM M                  2693 TOZER RD                                                                                       NORTH BRANCH    MI    48461‐9342
SEVERNS, WILLIAM MICHAEL            2693 TOZER RD                                                                                       NORTH BRANCH    MI    48461‐9342
SEVERO NIEVES                       1770 BRUCKNER BLVD APT 10D                                                                          BRONX           NY    10473‐3727
SEVERO VARGAS                       16931 TURNER RD                                                                                     LANSING         MI    48906‐2303
SEVERS, CHARLES                     64 UNION ST                                                                                         CLARK           NJ    07066‐1541
SEVERS, JOHNNIE E                   4524 CAINE RD                                                                                       VASSAR          MI    48768‐8945
SEVERS, JUDITH A                    31143 GARDENDALE DR                                                                                 WARREN          MI    48088‐2074
SEVERS, RICHARD L                   404 W MAIN ST                                                                                       W CARROLLTON    OH    45449‐1161
SEVERS, RICHARD LEE                 404 W MAIN ST                                                                                       W CARROLLTON    OH    45449‐1161
SEVERS, SHAWN W                     227 E 57TH ST APT 17D                                                                               NEW YORK        NY    10022‐2840
SEVERS, SHAWN W                     81 BOULEVARD                                                                                        SCARSDALE       NY    10583‐5220
SEVERS, TONY L                      10450 RATHBUN WAY                                                                                   BIRCH RUN       MI    48415‐8467
SEVERSON & WERSON PC                19100 VON KARMAN AVE STE 700                                                                        IRVINE          CA    92612‐6578
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Name                          Address1                          Address2                       Address3   Address4            City             State Zip
SEVERSON & WERSON PC          1 EMBARCADERO CTR FL 25                                                                         SAN FRANCISCO     CA 94111‐3714
SEVERSON MARK                 2151 FENTON AVE                                                                                 WEBSTER CITY       IA 50595‐7495
SEVERSON OIL CO.              508 LOUISA ST., WINONA                                                                          WINONA            MN 55987
SEVERSON OIL CO.              508 LOUISA ST                                                                                   WINONA            MN 55987‐4902
SEVERSON PETE                 APT 1                             465D BOSTON TURNPIKE                                          SHREWSBURY        MA 01545‐3932
SEVERSON WESLEY (459326)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA 23510
                                                                STREET, SUITE 600
SEVERSON, ALICE A             20566 YEANDLE AVE                                                                               CASTRO VALLEY    CA   94546‐4425
SEVERSON, CATHERINE T         417 S HADLEY RD                                                                                 FORT WAYNE       IN   46804‐5523
SEVERSON, DARWIN H            19320 HICKORY RIDGE RD                                                                          FENTON           MI   48430‐8529
SEVERSON, DONALD J            8170 KENSINGTON BLVD APT 807                                                                    DAVISON          MI   48423‐3167
SEVERSON, GARY D              425 ARTHUR DR                                                                                   CLINTON          WI   53525‐9116
SEVERSON, GORDON W            22950 W 12 MILE RD                                                                              SOUTHFIELD       MI   48034‐1426
SEVERSON, JEFFREY S           4767 W BROWNVIEW DR                                                                             JANESVILLE       WI   53545‐9041
SEVERSON, JOAN U              4767 W BROWNVIEW DR                                                                             JANESVILLE       WI   53545‐9041
SEVERSON, JOHN C              4548 NE 32ND PL                                                                                 WILDWOOD         FL   34785‐8387
SEVERSON, KENNETH A           2230 S JACKSON ST                                                                               JANESVILLE       WI   53546‐3224
SEVERSON, MARVIN J            210 CARTERS CREEK PIKE                                                                          COLUMBIA         TN   38401‐7254
SEVERSON, MARY L.             PO BOX 671                                                                                      JANESVILLE       WI   53547‐0671
SEVERSON, NANCY
SEVERSON, PETER J             APT 1                             465D BOSTON TURNPIKE                                          SHREWSBURY       MA 01545‐3932
SEVERSON, RANDY               MCKINLEY FOLKERS WALK & MURPHY    515 STATE ST                                                  OSAGE            IA 50461‐1249
SEVERSON, RANDY               HABUSH HABUSH AND ROTTIER SC      777 E WISCONSIN AVE STE 2300                                  MILWAUKEE        WI 53202‐5318
                              ATTORNEYS AT LAW
SEVERSON, RICHARD L           17803 N DEL WEBB BLVD                                                                           SUN CITY         AZ   85373‐1628
SEVERSON, RICKY E             13040 SE 92ND COURT RD                                                                          SUMMERFIELD      FL   34491‐9394
SEVERSON, SYLVANUS F          3440 BUCKHORN TRCE                                                                              JANESVILLE       WI   53548‐8549
SEVERSON, WESLEY              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA   23510‐2212
                                                                STREET, SUITE 600
SEVERSTAL                     CHRISTOPHER MCCARTHY              3001 MILLER RD                                                DEARBORN         MI   48120‐1458
SEVERSTAL NORTH AMERICA INC   14661 ROTUNDA DR                  PO BOX 1699                                                   DEARBORN         MI   48120‐1256
SEVERSTAL NORTH AMERICA INC   14661 ROTUNDA DR                                                                                DEARBORN         MI   48120‐1256
SEVERSTAL NORTH AMERICA INC   PO BOX 79001                      DRAWER 1718                                                   DETROIT          MI   48279‐0002
SEVERSTAL O A O               14661 ROTUNDA DR                  PO BOX 1699                                                   DEARBORN         MI   48120‐1256
SEVERSTAL O A O               30 MIRA STR                                                                 CHEREPOVETS
                                                                                                          VOLOGODSKAYA OBL
                                                                                                          162600 RUSSIAN
                                                                                                          FEDERATION
SEVERSTAL O A O               ATTN: JAN SPALDING                14661 ROTUNDA DR                                              DEARBORN         MI   48120‐1256
SEVERT, CHARLES E             1910 STATE ROUTE 725                                                                            SPRING VALLEY    OH   45370‐9707
SEVERT, DOUGLAS A             4875 ROUTE 571                                                                                  WEST MILTON      OH   45383
SEVERT, JACKIE                3618 NC HIGHWAY 163                                                                             WEST JEFFERSON   NC   28694‐8120
SEVERT, JERROLD J             6074 PHILLIPSBURG UNION RD                                                                      ENGLEWOOD        OH   45322‐9712
SEVERT, JOHN F                10281 BANCROFT RD                                                                               GARRETTSVILLE    OH   44231‐9689
SEVERT, JOSHUA C              338 GEORGIA DR                                                                                  XENIA            OH   45385‐4887
SEVERT, MICHAEL L             4840 W STATE ROUTE 571                                                                          WEST MILTON      OH   45383‐9781
SEVERT, MICHAEL L             4840 W ST RT 571                                                                                WEST MILTON      OH   45383‐9781
SEVERT, MORRIS R              4208 MARIANNE DR                                                                                FLUSHING         MI   48433‐2329
SEVERT, MORRIS RAY            4208 MARIANNE DR                                                                                FLUSHING         MI   48433‐2329
SEVERT, THOMAS A              10364 EUPHEMIA CASTINE RD                                                                       LEWISBURG        OH   45338‐9534
SEVERYN, ALFRED F             3689 ELM BROOK DR                                                                               CLEVELAND        OH   44147‐2054
SEVEX HOLDINGS INC            1627 W 31ST ST                                                                                  KANSAS CITY      MO   64108‐3641
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Name                                   Address1                          Address2                          Address3              Address4         City               State Zip
SEVEX NORTH AMERICA                    KENT ANDERSON                     ELRINGKLINGER USA, INC            4961 GOLDEN PARKWAY                    CADILLAC            MI 49601
SEVEX NORTH AMERICA INC                255 SATELLITE BLVD NE STE 300                                                                              SUWANEE             GA 30024‐7127
SEVIC, SHERRY A                        2537 HOLT RD                                                                                               WILLIAMSTON         MI 48895‐9741
SEVIER COUNTY                          SHERIFF/COLLECTOR                 115 N. THIRD STREET                                                      DE QUEEN            AR 71832
SEVIER COUNTY TRUSTEE                  125 COURT AVE STE 212W                                                                                     SEVIERVILLE         TN 37862‐3579
SEVIER, CHARLES A                      2434 WISTFUL WAY                                                                                           MARIETTA            GA 30066‐8731
SEVIER, RUBY C                         3821 W MCCARTY ST                                                                                          INDIANAPOLIS        IN 46241‐2638
SEVIER, TONY S                         6975 CAINE RD                                                                                              VASSAR              MI 48768‐9221
SEVIER, WARREN R                       6430 BIRDS EYE DR                                                                                          INDIANAPOLIS        IN 46203‐6142
SEVIERVILLE CITY TAX COLLECTOR         PO BOX 5500                                                                                                SEVIERVILLE         TN 37864‐5500
SEVIG, GORDON TRUCKING CO              400 HIGHWAY 151 E                                                                                          WALFORD              IA 52351‐5459
SEVIGNY JENNIFER L                     2255 BALD EAGLE LAKE RD                                                                                    ORTONVILLE          MI 48462
SEVIGNY, JENNIFER L                    2255 BALD EAGLE LAKE RD                                                                                    ORTONVILLE          MI 48462‐9047
SEVIGNY, LAWRENCE R                    1884 NE ACAPULCO DR                                                                                        JENSEN BEACH        FL 34957‐6658
SEVIGNY, PATRICIA A                    PO BOX 69                                                                                                  WAYLAND             MI 49348‐0069
SEVIGNY, PATRICIA ANN                  PO BOX 69                                                                                                  WAYLAND             MI 49348‐0069
SEVIGNY, ROBERT L                      122 STRATHMORE LN                                                                                          ROCHESTER           NY 14609‐5622
SEVILLA, BENJAMIN S                    1901 NW NORTH RIVER DR APT 215                                                                             MIAMI               FL 33125‐2236
SEVILLA, CRUZ C                        8838 DANBURY LN                                                                                            ORLAND PARK          IL 60462‐6704
SEVILLA, GREGORIO
SEVILLA, IGNACIO                       PO BOX 3373                                                                                                BIG BEAR CITY      CA   92314‐3373
SEVILLA, MARGARET                      317 FITZHUGH ST                                                                                            BAY CITY           MI   48708‐7158
SEVILLA, MARTIN E                      15400 LESURE ST                                                                                            DETROIT            MI   48227‐3258
SEVILLA, PABLO L                       315 S BIRNEY ST                                                                                            BAY CITY           MI   48708‐7532
SEVILLE CORPORATION                    JACQUES MOORE                     9177 W BROAD ST                                                          RICHMOND           VA   23294‐5808
SEVILLE ELEMENTARY SCHOOL              100 ENGER AVE                                                                                              PITTSBURGH         PA   15214‐1005
SEVILLE JOHN JR (ESTATE OF) (641775)   COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                                          CHICAGO            IL   60602
                                                                         FLOOR
SEVILLE M GARLAND                      447 GREENLAWN ST                                                                                           YPSILANTI           MI 48198‐5994
SEVILLE, JOHN                          COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                                           CHICAGO             IL 60602
                                                                         FLOOR
SEVIO MORO                             1498 KING AVE APT A                                                                                        COLUMBUS           OH   43212‐2134
SEVIT, SUZANNE                         2250 S VAUGHN WAY APT 202                                                                                  AURORA             CO   80014‐1388
SEVIT, SUZANNE                         APT 202                           2250 SOUTH VAUGHN WAY                                                    AURORA             CO   80014‐1388
SEVITCH TRUST                          C/O ESTELLE SEVITCH TTEE UA DTD   322 SHERIDAN AVE                                                         PIEDMONT           CA   94611‐3814
SEVO, LYNN D                           55107 WASHINGTON DR                                                                                        SHELBY TOWNSHIP    MI   48316‐1161
SEVO, PHILIP M                         55107 WASHINGTON DR                                                                                        SHELBY TWP         MI   48316‐1161
SEVON, WILLIAM E                       106 E ANN ARBOR AVE                                                                                        PONTIAC            MI   48340‐1904
SEVONTE FREDERICK                      34128 CLINTON PLAZA DR                                                                                     CLINTON TOWNSHIP   MI   48035‐3332
SEVONTY, EDWIN                         34951 BUNKER HILL DR                                                                                       FARMINGTON HILLS   MI   48331‐3285
SEVRENS, ANN H                         7 GUILDFORD RD.                                                                                            CENTERVILLE        MA   02632‐2026
SEVRENS, ANN H                         7 GUILDFORD RD                                                                                             CENTERVILLE        MA   02632‐2026
SEVRET, ROBERT C                       42 APPLETREE RD                                                                                            HOWELL             NJ   07731‐2220
SEVREY, ALAN E                         PO BOX 246                                                                                                 LESLIE             MI   49251‐0246
SEVRIN LAURENCE SAMUEL                 12801 FOLLY QUARTER RD                                                                                     ELLICOTT CITY      MD   21042‐1274
SEVY, ANDY A                           14912 PINE VIEW DR                                                                                         GRANDVIEW          MO   64030‐4500
SEVY, KATHY S                          PO BOX 430                                                                                                 PECULIAR           MO   64078‐0430
SEVY, MARY                             14912 PINE VIEW DR                                                                                         GRANDVIEW          MO   64030‐4500
SEVY, RUSSELL W                        704 N STATE ROUTE 7                                                                                        PLEASANT HILL      MO   64080‐1028
SEW EURODRIVE                          PO BOX 951012                                                                                              DALLAS             TX   75395‐1012
SEW EURODRIVE/DALLAS                   3950 PLATINUM WAY                                                                                          DALLAS             TX   75237‐1612
SEW‐EURODRIVE INC                      1275 OLD SPARTANBURG HWY          PO BOX 518 UPDATE 11/7/05 AM                                             LYMAN              SC   29365‐1820
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Name                        Address1                          Address2                      Address3   Address4         City              State Zip
SEW‐EURODRIVE INC           1275 OLD SPARTANBURG HWY          PO BOX 518                                                LYMAN              SC 29365‐1820
SEWALL, GEORGIA S           123 FOX RUN DR.                                                                             ELWOOD              IL 60421‐6049
SEWALL, GEORGIA S           123 FOX RUN DR                                                                              ELWOOD              IL 60421‐6049
SEWALL, ROBERT F            123 FOX RUN DR                                                                              ELWOOD              IL 60421‐6049
SEWALL, ROBERT W            4226 PARMA CT                                                                               INDIANAPOLIS       IN 46237‐8639
SEWANI, AMIR A              2115 PEACHTREE CT                                                                           WEST BLOOMFIELD    MI 48324‐1464
SEWAR, ALICE                1001 LINCOLN AVE                                                                            LOCKPORT           NY 14094‐5142
SEWAR, ALICE                97 WILLOW ST APARTMENT #4                                                                   LOCKPORT           NY 14094
SEWAR, JAMES L              9079 CHESTNUT RIDGE RD                                                                      MIDDLEPORT         NY 14105
SEWAR, KENNETH D            3535 WILSON CAMBRIA RD                                                                      WILSON             NY 14172‐9609
SEWAR, MARC K               4270 RIDGE RD                                                                               ELBA               NY 14058‐9763
SEWAR, MARC KENNETH         4270 RIDGE RD                                                                               ELBA               NY 14058‐9763
SEWAR, MARVIN A             3010 W KALAMO HWY                                                                           CHARLOTTE          MI 48813‐9538
SEWAR, RICHARD              6035 S TRANSIT RD LOT 260                                                                   LOCKPORT           NY 14094‐6326
SEWAR, ROBERT G             40 BRANDYWINE TER                                                                           ROCHESTER          NY 14623‐5204
SEWAR, ROBERT L             5932 STUMPH RD APT 221                                                                      PARMA              OH 44130‐1741
SEWARD COUNTY TREASURER     415 N WASHINGTON AVE STE 113                                                                LIBERAL            KS 67901‐3462
SEWARD COUNTY TREASURER     PO BOX 289                                                                                  SEWARD             NE 68434‐0289
SEWARD DEMOREST, GLORIA C   PO BOX 665                                                                                  HOWARD CITY        MI 49329‐0665
SEWARD DUDLEY               1223 RALEY STREET                                                                           GADSDEN            AL 35903
SEWARD FRED W JR (346610)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                              STREET, SUITE 600
SEWARD HEATHER              PO BOX 474                                                                                  COLMAR            PA   18915‐0474
SEWARD MOTOR FREIGHT INC    180 & HWY 15                                                                                SEWARD            NE   68434
SEWARD ROBIN (643386)       BILBREY & HYLIA                   8724 PIN OAK RD                                           EDWARDSVILLE      IL   62025‐6822
SEWARD, ADRIENNE L          54 BOOKER CIR                                                                               NEW CASTLE        DE   19720‐3649
SEWARD, ANNA                8129 TELEGRAPH RD                                                                           GASPORT           NY   14067‐9247
SEWARD, BARBARA J           6788 GINGER AV                                                                              ENON              OH   45323‐1739
SEWARD, BARBARA J           6788 GINGER AVE                                                                             ENON              OH   45323‐1739
SEWARD, CAROL T             2743 OVERLOOK COURT                                                                         MANCHESTER        MD   21102‐1717
SEWARD, CHARLES R           9173 HICKORY HILL RD                                                                        OXFORD            PA   19363‐2245
SEWARD, CHARLES RONALD      9173 HICKORY HILL RD                                                                        OXFORD            PA   19363‐2245
SEWARD, DON L               301 52ND PL                                                                                 WESTERN SPRGS     IL   60558‐2008
SEWARD, EFFIE H             103 DAVIS ROAD CV                                                                           TERRY             MS   39170‐8720
SEWARD, ELLA M              5801 WEST BETHEL AVENUE                                                                     MUNCIE            IN   47304‐9549
SEWARD, ERICKA J            54 BOOKER CIR                                                                               NEW CASTLE        DE   19720‐3649
SEWARD, EVERT L             1901 TAM O SHANTER CT                                                                       KOKOMO            IN   46902‐6128
SEWARD, FRED W              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                              STREET, SUITE 600
SEWARD, GERALDINE D         3695 DELAWARE ST                                                                            GARY              IN   46409‐1342
SEWARD, HELEN S             27475 HURON CIR APT 248                                                                     NOVI              MI   48377‐3444
SEWARD, INA                 654 E COUNTY ROAD 500 N                                                                     LOGANSPORT        IN   46947‐8635
SEWARD, INA                 654 E. COUNTY RD. 500 N.                                                                    LOGANSPORT        IN   46947‐8635
SEWARD, JAMES               PO BOX 350755                                                                               PALM COAST        FL   32135‐0755
SEWARD, JEAN M              5227 YOAKUM BLVD                                                                            HOUSTON           TX   77006‐6429
SEWARD, KATHRYN E           1848 OSAUKIE                                                                                OWOSSO            MI   48867‐1540
SEWARD, KATHRYN E           1848 OSAUKIE RD                                                                             OWOSSO            MI   48867‐1540
SEWARD, KEITH B             8951 BRADEN RD                                                                              HASLETT           MI   48840‐9234
SEWARD, LARRY E             6788 GINGER AVE                                                                             ENON              OH   45323‐1739
SEWARD, LARRY E             6788 GINGER AV                                                                              ENON              OH   45323‐1739
SEWARD, MARGARET R          1550 PORTLAND AVENUE CHAPEL OAK   APT 1304                                                  ROCHESTER         NY   14621
SEWARD, MARJORIE E          787 E CO RD 400 N                                                                           ANDERSON          IN   46012
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Name                                Address1                       Address2                   Address3   Address4         City            State Zip
SEWARD, MARTIN
SEWARD, MEGHAN A                    4309 S INDIAN LAKE DR                                                                 JANESVILLE      WI    53548‐8546
SEWARD, NANCY M.                    6292 LANCASTER PL              C/O JANET DANNENBRINK                                  ZIONSVILLE      IN    46077‐9168
SEWARD, OLIVIA B                    20011 BLOOM ST                                                                        DETROIT         MI    48234‐2406
SEWARD, PATRICK J                   5920 NEW WATERMELON RD                                                                TUSCALOOSA      AL    35406‐1452
SEWARD, PERCY L                     54 BOOKER CIR                                                                         NEW CASTLE      DE    19720‐3649
SEWARD, RALPH V                     6304 LARSON AVE                                                                       KANSAS CITY     MO    64133‐4400
SEWARD, REBECCA S                   1901 TAM O SHANTER CT                                                                 KOKOMO          IN    46902‐6128
SEWARD, ROBERT J                    PO BOX 1049                                                                           KANSAS CITY     KS    66110‐1049
SEWARD, ROBERT L                    166 BARNES BLVD                                                                       COLONIAL BCH    VA    22443‐4532
SEWARD, ROBIN                       BILBREY & HYLIA                8724 PIN OAK RD                                        EDWARDSVILLE    IL    62025‐6822
SEWARD, ROGER C                     90 G AND S ROCK RANCH RD                                                              CAMDEN          TN    38320
SEWARD, ROY E                       27 CARLTON PLACE LOWER                                                                LOCKPORT        NY    14094
SEWARD, RUBY F                      1530 E 650 N                                                                          NEW CASTLE      IN    47362
SEWARD, SHARON E                    258 MILFORD ST APT 16                                                                 ROCHESTER       NY    14615‐1837
SEWARD, THEODIS                     59 ROBERTSON ST                                                                       MOUNT CLEMENS   MI    48043‐2326
SEWARD, TONYA S                     124 SHAMROCK CIR APT 5                                                                PENDLETON       IN    46064
SEWARD, WILFORD                     338 W KNOX RD                                                                         TEMPE           AZ    85284‐3015
SEWARD, WILLIAM S                   6328 DORCHESTER RD                                                                    LOCKPORT        NY    14094‐5946
SEWECKE, MARTIN V                   1028 GEORGE ST                                                                        SHARON          PA    16146‐3019
SEWEJKIS, KATHY M                   10915 WAYNE RD                                                                        ROMULUS         MI    48174‐1470
SEWEJKIS, KATHY MARIE               10915 WAYNE RD                                                                        ROMULUS         MI    48174‐1470
SEWELL JR, STERLING T               43460 ROBSON RD                                                                       BELLEVILLE      MI    48111‐1339
SEWELL AUTOMOTIVE GROUP, INC.       RONALD SEWELL                  1115 S GASTON ST                                       CRANE           TX    79731‐3810
SEWELL BRITTINGHAM JR               12 ALEXIS DR                                                                          NEWARK          DE    19702‐5420
SEWELL BUICK PONTIAC GMC            7474 LEMMON AVE                                                                       DALLAS          TX    75209‐3016
SEWELL BUICK, PONTIAC, GMC
SEWELL CADILLAC                     7310 LEMMON AVE                                                                       DALLAS           TX   75209‐3014
SEWELL CADILLAC FOR ARI             9000 MIDLANTIC DR                                                                     MOUNT LAUREL     NJ   08054‐1539
SEWELL CADILLAC‐SAAB OF GRAPEVINE   1001 E STATE HIGHWAY 114                                                              GRAPEVINE        TX   76051‐8302

SEWELL CHEVROLET PONTIAC BUICK      1115 S GASTON ST                                                                      CRANE           TX    79731‐3810
SEWELL CHRISTOPHER                  11761 SPYGLASS CIRCLE                                                                 ANCHORAGE       AK    99515‐2706
SEWELL DAY                          18 DEWEY ST                                                                           W ALEXANDRIA    OH    45381‐1238
SEWELL HUMMER                       7800 LEMMON AVE                                                                       DALLAS          TX    75209‐3024
SEWELL JOHNSON                      1774 ORIOLE CT                                                                        MORRISTOWN      TN    37814‐6441
SEWELL JR, CLEO G                   14107 BUFF RD                                                                         FESTUS          MO    63028‐5157
SEWELL JR, HERMAN H                 11904 HOLBORN AVE                                                                     CLEVELAND       OH    44105‐2609
SEWELL JR, IRA J                    PO BOX 215                                                                            VERNON          MI    48476‐0215
SEWELL JR, IRA JUNIOR               427 E WATER ST                                                                        VERNON          MI    48476‐9105
SEWELL JR, L K                      13211 ROSEMARY BLVD                                                                   OAK PARK        MI    48237‐2052
SEWELL JR, ROY                      204 FORD ST                                                                           HIGHLAND PARK   MI    48203‐3043
SEWELL JR, STERLING T               43460 ROBSON RD                                                                       BELLEVILLE      MI    48111‐1339
SEWELL JR., HERMAN C                101 E SOUTH A ST                                                                      GAS CITY        IN    46933‐1706
SEWELL M DAY                        18 DEWEY ST                                                                           W ALEXANDRIA    OH    45381‐1238
SEWELL MOTOR EXPRESS INC            370 DAVIDS DR                                                                         WILMINGTON      OH    45177‐2424
SEWELL SAAB OF DALLAS               7310 LEMMON AVE                                                                       DALLAS          TX    75209‐3014
SEWELL SAAB OF DALLAS               SEWELL, CARL                   7310 LEMMON AVE                                        DALLAS          TX    75209‐3014
SEWELL SAAB OF GRAPEVINE            SEWELL, CARL                   1001 E STATE HIGHWAY 114                               GRAPEVINE       TX    76051‐8302
SEWELL SAAB OF GRAPEVINE            1001 E STATE HIGHWAY 114                                                              GRAPEVINE       TX    76051‐8302
SEWELL SAAB OF PLANO                1645 DALLAS PKWY                                                                      PLANO           TX    75093‐4516
SEWELL SAAB OF PLANO                SEWELL, CARL                   1645 DALLAS PKWY                                       PLANO           TX    75093‐4516
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Name                                  Address1                            Address2                   Address3   Address4         City            State Zip
SEWELL SAAB‐HUMMER OF PLANO           1645 DALLAS PKWY                                                                           PLANO            TX 75093‐4516
SEWELL VERNON                         1208 WINTON AVE                                                                            INDIANAPOLIS     IN 46224‐6954
SEWELL VILLAGE CADILLAC COMPANY, INC. CARL SEWELL                         7310 LEMMON AVE                                        DALLAS           TX 75209‐3014

SEWELL VILLAGE CADILLAC COMPANY, INC. CARL SEWELL                         7474 LEMMON AVE                                        DALLAS           TX   75209‐3016

SEWELL VILLAGE CADILLAC COMPANY, INC. CARL SEWELL                         1645 DALLAS PKWY                                       PLANO            TX   75093‐4516

SEWELL VILLAGE CADILLAC COMPANY, INC. CARL SEWELL                         1001 E STATE HIGHWAY 114                               GRAPEVINE        TX   76051‐8302

SEWELL VILLAGE CADILLAC COMPANY, INC. CARL SEWELL                         7800 LEMMON AVE                                        DALLAS           TX   75209‐3024

SEWELL WAYNE                         4605 N STATE LINE AVE                                                                       TEXARKANA       TX    75503‐2916
SEWELL, ANNIE L                      5014 THOMPSON MILL RD                                                                       LITHONIA        GA    30038‐2335
SEWELL, AUDRIA                       333 MILLER COUNTY 187                                                                       DODDRIDGE       AR    71834‐1431
SEWELL, BETTY                        927 HIGHWAY 51 N                                                                            HOMER           GA    30547‐2213
SEWELL, BETTY L                      6984 LAKESHORE DR                                                                           AVON            IN    46123‐8445
SEWELL, BETTY L                      2089 S 410 W                                                                                RUSSIAVILLE     IN    46979‐9453
SEWELL, BEVERLY C                    1755 HAYSHED RD                                                                             CHARLOTTE       TN    37036‐6313
SEWELL, BEVERLY C                    1755 HAYSHED ROAD                                                                           CHARLOTTE       TN    37036‐6313
SEWELL, BILLY M                      2597 RUTLEDGE ST                                                                            TRENTON         MI    48183‐2515
SEWELL, BRUCE W                      4086 WESTHILL DR                                                                            HOWELL          MI    48843‐9491
SEWELL, CALVIN L                     145 CREEKWOOD CT                     BETHSAIDWOOD S.                                        FAYETTEVILLE    GA    30214‐3741
SEWELL, CARL E                       2918 LYTLE 5 POINTS RD                                                                      WAYNESVILLE     OH    45068‐8618
SEWELL, CAROLYN S                    2121 WINSLOW AVE                                                                            FLOWER MOUND    TX    75028‐4513
SEWELL, CAROLYN S                    4600 STRATFORD DR                                                                           KOKOMO          IN    46901‐3911
SEWELL, CHARLES E                    PO BOX 64                                                                                   HERMANVILLE     MS    39086‐0064
SEWELL, CHARLES E                    P.O. BOX 64                                                                                 HERMANVILLE     MS    39086
SEWELL, CHERYL D                     12600 HOLBORN AVE                                                                           CLEVELAND       OH    44105‐2623
SEWELL, CLEMENTINA F                 482 WEST SUNYSIDRO BLVD. APT. 1798                                                          SUNYSIDRO       CA    92173
SEWELL, DANIEL J                     10366 ANDERSONVILLE RD                                                                      DAVISBURG       MI    48350‐3101
SEWELL, DAVID                        2940 CRESTWOOD DR NW                                                                        WARREN          OH    44485‐1231
SEWELL, DAVID W                      32 LEISURE LN                                                                               ANDERSON        IN    46013‐1059
SEWELL, DEBORA                       APT 2                                4164 OLD WEBB CREEK ROAD                               GATLINBURG      TN    37738‐6227
SEWELL, DEBORAH A                    11661 VIRGIL                                                                                REDFORD         MI    48239‐1448
SEWELL, DEREK D                      228 SABLE PALM CT W                                                                         PONTE VEDRA     FL    32082‐3820
SEWELL, DEREK DUSTIN                 228 SABLE PALM CT W                                                                         PONTE VEDRA     FL    32082‐3820
SEWELL, DONALD R                     403 N MERIDIAN ST                                                                           GREENWOOD       IN    46143‐1254
SEWELL, EARL E                       BOONE ALEXANDRA                      205 LINDA DR                                           DAINGERFIELD    TX    75638‐2107
SEWELL, EDDIE C                      2020 S 9TH AVE                                                                              MAYWOOD         IL    60153‐3233
SEWELL, EDWARD J                     406 DAMON ST                                                                                FLINT           MI    48505‐3732
SEWELL, ELLIE E                      1842 HIGHWAY 78 NW                                                                          MONROE          GA    30655‐5217
SEWELL, ELLIE E                      1842 HWY 78 S.W.                                                                            MONROE          GA    30655‐5217
SEWELL, EMMA                         7239 PIEDMONT ST                                                                            DETROIT         MI    48228‐3372
SEWELL, ERIC W                       1119 BARBARA ST APT 2                                                                       REDONDO BEACH   CA    90277‐4523
SEWELL, FRANKIE E                    13691 LINNHURST ST                                                                          DETROIT         MI    48205
SEWELL, GLEN E                       PO BOX 2314                                                                                 MUNCIE          IN    47307‐0314
SEWELL, HARLEY R                     4639 MARQUARDT RD                                                                           GAYLORD         MI    49735‐9716
SEWELL, HAROLD W                     10053 S ALGER RD                                                                            PERRINTON       MI    48871‐9728
SEWELL, HENRY JAMES                  SHANNON LAW FIRM                     100 W GALLATIN ST                                      HAZLEHURST      MS    39083‐3007
SEWELL, HOWARD
SEWELL, IRA A                        5206 LIPPINCOTT BLVD                                                                        BURTON          MI 48519‐1254
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Name                   Address1                       Address2            Address3         Address4         City                 State Zip
SEWELL, IRA ARCHIE     5206 LIPPINCOTT BLVD                                                                 BURTON                MI 48519‐1254
SEWELL, JAMES D        1 MARY LN                                                                            WEST ALEXANDRIA       OH 45381‐9388
SEWELL, JAMES D        2554 BENDER AVE                                                                      WATERFORD             MI 48329‐3404
SEWELL, JAMES D        1 MARY LANE                                                                          W. ALEXANDRIA         OH 45381‐9388
SEWELL, JAMES L        848 RIVERVIEW TERRACE          APT 607                                               DAYTON                OH 45402‐5402
SEWELL, JAMES L        848 RIVERVIEW TER APT 607                                                            DAYTON                OH 45402‐6460
SEWELL, JAMES O        709 BRENDA AVE                                                                       LORETTO               TN 38469‐2380
SEWELL, JAMES S        2846 MCCULLOCH RD                                                                    BEAVERTON             MI 48612‐9708
SEWELL, JANET E        624 CASSVILLE RD                                                                     KOKOMO                IN 46901‐5903
SEWELL, JASON E        531 LANTERN GLOW CT                                                                  LEBANON               OH 45036‐8029
SEWELL, JESSIE C       113 VAN BUREN CIR                                                                    DAVISON               MI 48423‐8558
SEWELL, JOE F          365 NEW MORN DR                                                                      MCDONOUGH             GA 30253‐7265
SEWELL, JOHNNIE        4627 S MICHELLE ST                                                                   SAGINAW               MI 48601‐6632
SEWELL, JORY L         18 WILLOW CV                                                                         CABOT                 AR 72023‐3816
SEWELL, JOSEPH E       700 E LINDA LAYNE                                                                    MUNCIE                IN 47303‐2042
SEWELL, KATHERINE J    390 JENNIFER CIR                                                                     ROGERSVILLE           AL 35652‐7215
SEWELL, KENNETH C      5939 SPRINGVIEW DR                                                                   FOREST PARK           GA 30297‐3222
SEWELL, LAWRENCE E     35304 OAK KNOLL RD                                                                   BURLINGTON            WI 53105‐9664
SEWELL, LESLIE R       6673 WESTVIEW DR                                                                     LAINGSBURG            MI 48848‐9489
SEWELL, LINDA A        P.O.BOX 353                                                                          SAINT HELEN           MI 48656‐0353
SEWELL, LINDA A        PO BOX 353                                                                           SAINT HELEN           MI 48656‐0353
SEWELL, LOREN K        2610 E JACKSON ST                                                                    MUNCIE                IN 47303‐4149
SEWELL, LUCILLE        23740 FENKELL                  APT 201 C                                             DETROIT               MI 48223‐1475
SEWELL, LUKE           10725 LASALLE BLVD                                                                   HUNTINGTON WOODS      MI 48070‐1121
SEWELL, MARC D         218 W 4TH ST                                                                         LINWOOD               KS 66052‐4045
SEWELL, MARCELLA K     329 N BROADWAY ST                                                                    GREENVILLE            OH 45331‐2224
SEWELL, MARK A         7 HARDING RD                                                                         LEOMA                 TN 38468‐5152
SEWELL, MARK R         2937 SUNSET ST                                                                       DULUTH                GA 30096‐3810
SEWELL, MARY L         4135 SYLVAN DR                                                                       DAYTON                OH 45417‐1224
SEWELL, MICAH          3932 ARABIAN WAY                                                                     SNELLVILLE            GA 30039‐2769
SEWELL, MICHAEL T      4703 ROCKVALLEY DR NE                                                                GRAND RAPIDS          MI 49525‐1378
SEWELL, MICHAEL W      2418 CUMBERLAND ST                                                                   SAGINAW               MI 48601‐4218
SEWELL, NIGEL M        APT 290                        2406 CEDAR AVENUE                                     CLEVELAND             OH 44115‐2941
SEWELL, PAMELA M       3861 SUNSET BLVD                                                                     ORCHARD LAKE          MI 48324‐2961
SEWELL, PATSY J        5010 N 100 W                                                                         KOKOMO                IN 46901‐8534
SEWELL, PAUL           544 EMERSON AVE                                                                      PONTIAC               MI 48342‐1826
SEWELL, RALPH T        7420 S 88TH AVE                                                                      JUSTICE                IL 60458‐1010
SEWELL, RAYMOND L      5014 THOMPSON MILL RD                                                                LITHONIA              GA 30038‐2335
SEWELL, REGINALD D     5601 N COUNTY ROAD 700 W                                                             MUNCIE                IN 47304‐9755
SEWELL, RICHARD L      9430 ACACIA PSGE                                                                     FORT WAYNE            IN 46835‐9101
SEWELL, RICHARD LYNN   9430 ACACIA PSGE                                                                     FORT WAYNE            IN 46835‐9101
SEWELL, RONALD L       624 CASSVILLE RD                                                                     KOKOMO                IN 46901‐5903
SEWELL, ROSEMARIE B    10366 ANDERSONVILLE RD                                                               DAVISBURG             MI 48350‐3101
SEWELL, ROY W          PO BOX 241                                                                           BASEHOR               KS 66007‐0241
SEWELL, RUTH A         5545 BERTHA ST                                                                       INDIANAPOLIS          IN 46241‐0659
SEWELL, RUTH A         5545 WEST BERTHA STREET                                                              INDIANAPOLIS          IN 46241‐0659
SEWELL, SANDRA J       1170 MARYLAND                  APT 2S                                                GROSSE POINTE PARK    MI 48230
SEWELL, SHARON D       303 OGDEN PL                                                                         OSSIAN                IN 46777‐9043
SEWELL, STERLING T     PO BOX 51                                                                            FLIPPIN               AR 72634‐0051
SEWELL, STEWART        506 CHRIS CIR                                                                        LAWRENCEVILLE         GA 30044‐3759
SEWELL, SUSAN M        4015 CUSTER                                                                          ROYAL OAK             MI 48073
SEWELL, TOMMIE L       7239 PIEDMONT ST                                                                     DETROIT               MI 48228‐3372
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Name                                Address1                           Address2                        Address3   Address4         City               State Zip
SEWELL, VERA M                      15000 HAMLIN AVE                                                                               MIDLOTHIAN           IL 60445‐3433
SEWELL, W S                         1446 SHELL POINT RD NE                                                                         TOWNSEND            GA 31331‐4716
SEWELL, WILLIAM
SEWELL, WILLIAM J                   53 ROCKYWOOD LN                                                                                BALTIMORE          MD   21221‐3260
SEWELL, WILLIE K                    MILLER 4 5847                                                                                  DODDRIDGE          AR   71834
SEWELL, WILMA J                     6243 ADAMSON DR                                                                                WATERFORD          MI   48329‐3003
SEWELL‐CARY, SUSAN C                32950 E NIMROD ST                                                                              SOLON              OH   44139‐4428
SEWER YARD                          ATTN: THOMAS HOLDER                100 WESTERN AVE                                             FRAMINGHAM         MA   01702‐7404
SEWESKY, DANIEL A                   7081 MYRTLEWOOD LN                                                                             SPRING HILL        FL   34606‐7406
SEWICK, EDWARD                      41255 PONDVIEW DR                  268                                                         STERLING HEIGHTS   MI   48314
SEWING SPACE THE SEWING CONTR       679 OSWEGO AVE                                                                                 YPSILANTI          MI   48198‐8009
SEWNIG, JOYCE M                     7849 W 97TH PL                                                                                 HICKORY HILLS      IL   60457‐2306
SEWYCK, ROBERT W                    8339 BRIAR TRACE WAY                                                                           CASTLE ROCK        CO   80108‐5514
SEXAUER FLYING SERVICE              PERRYVILLE MUNICIPAL AIRPORT       1856 HIGHWAY H                                              PERRYVILLE         MO   63775‐7318
SEXAUER, J A                        531 CENTERL PK AVE                                                                             SCARSDALE          NY   10583
SEXE, GERALDINE K                   2775 N STATE HIGHWAY 360 APT 518                                                               GRAND PRAIRIE      TX   75050‐7807
SEXE, JEFFREY T                     4205 PRAIRIE FOX DR                                                                            JANESVILLE         WI   53546‐3401
SEXE, JULIE A                       4205 PRAIRIE FOX DR                                                                            JANESVILLE         WI   53546‐3401
SEXSON, FARRELL D                   904 LEXINGTON RD                                                                               PLEASANT HILL      MO   64080‐1110
SEXSON, MARK A                      1299 WESTWIND DR                                                                               AVON               IN   46123‐8315
SEXSTELLA THOMAS (491311)           BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH   44067
                                                                       PROFESSIONAL BLDG
SEXTON & PEAKE INC                  9687 GERWIG LN                                                                                 COLUMBIA           MD   21046
SEXTON ASHLEY                       475 CLIFTON RD NE                                                                              ATLANTA            GA   30307‐1705
SEXTON AUTOMOTIVE GROUP             269 S ROANE ST                                                                                 HARRIMAN           TN   37748‐7438
SEXTON AUTOMOTIVE GROUP             THOMAS VICARY                      269 S ROANE ST                                              HARRIMAN           TN   37748‐7438
SEXTON CHEVROLET                    JERRY SEXTON*                      PO BOX 1328                                                 MANTECA            CA   95336‐1145
SEXTON CHEVROLET                    PO BOX 1328                                                                                    MANTECA            CA   95336‐1146
SEXTON CHEVROLET‐CADILLAC, INC.     THOMAS VICARY                      269 S ROANE ST                                              HARRIMAN           TN   37748‐7438
SEXTON CURTIS                       311 HAWTHORNE TER                                                                              FLEETWOOD          NY   10552‐2405
SEXTON HENRY (ESTATE OF) (492672)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH   44067
                                                                       PROFESSIONAL BLDG
SEXTON JOSEPH (447615)              BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                                       PROFESSIONAL BLDG
SEXTON JR, GARLAND R                6271 CHICAGO RD                                                                                FLUSHING           MI   48433‐9013
SEXTON JR, GARLAND RAY              6271 CHICAGO RD                                                                                FLUSHING           MI   48433‐9013
SEXTON JR, JOHN                     PO BOX 69                                                                                      METAMORA           MI   48455‐0069
SEXTON JR, RAYMOND                  13063 STATE ROUTE 774                                                                          BETHEL             OH   45106‐9635
SEXTON JR, ROBERT W                 3304 EVERGREEN DR                                                                              BAY CITY           MI   48706‐6317
SEXTON JR, ROY J                    127 RED FOX COURT                                                                              ROSCOMMON          MI   48653‐9328
SEXTON JR, ROY J                    127 RED FOX CT                                                                                 ROSCOMMON          MI   48653‐9328
SEXTON PAUL (460180)                DUFFY & ASSOCS JOHN J              23823 LORAIN RD                                             NORTH OLMSTED      OH   44070
SEXTON'S SHOP                       1602 SELMA RD                                                                                  SPRINGFIELD        OH   45505‐3900
SEXTON, A. MICHELE                  1207 S COLLEGE AVE                                                                             TULSA              OK   74104‐4122
SEXTON, AARON E                     2205 FAULKLAND RD                                                                              WILMINGTON         DE   19805‐1041
SEXTON, ALAN E                      74 STEELE CIR                                                                                  NIAGARA FALLS      NY   14304‐1121
SEXTON, ALICE J                     2433 GOLDEN SHORE DR                                                                           FENTON             MI   48430‐1058
SEXTON, ANDRE' JAMES                641 HANDLEY AVE SW                                                                             ATLANTA            GA   30310‐2210
SEXTON, ATHLEEN W                   4224 DARNALL RD                                                                                BALTIMORE          MD   21236‐1722
SEXTON, B                           676 EDMONTON RD                                                                                COLUMBIA           KY   42728‐9416
SEXTON, BARBRA E                    28 WESTWINDS DR                                                                                SAINT PETERS       MO   63376‐1141
SEXTON, BARBRA E                    28 WEST WINDS DR                                                                               ST PETERS          MO   63376‐1141
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Name                  Address1                         Address2            Address3       Address4         City              State Zip
SEXTON, BERNICE       14 DAISY BLVD.                                                                       BELLEVILLE         MI 48111
SEXTON, BERNICE       14 DAISY BLVD                                                                        BELLEVILLE         MI 48111‐2936
SEXTON, BILLY         2972 LILES RD                                                                        COLLINS            OH 44826‐9527
SEXTON, BILLY E       281 FM 1133                                                                          AQUILLA            TX 76622‐2642
SEXTON, BOBBIE R      4165 RIVER RIDGE RD                                                                  DAYTON             OH 45415‐1646
SEXTON, BOBBYE L      705 KOCH DR                                                                          TOLEDO             OH 43615
SEXTON, BONNIE        1216 ROBBINS RUN COURT                                                               DAYTON             OH 45458‐1955
SEXTON, BRIAN P       861 LISBON RD                                                                        SALEM              OH 44460‐9453
SEXTON, BRUCE         7200 ALLEGAN DR                                                                      DAVISON            MI 48423‐2380
SEXTON, BRUCE E       3219 MALINA AVE                                                                      DAYTON             OH 45414‐1643
SEXTON, CANDICE M     10030 BROKEN WOODS DR                                                                MIAMISBURG         OH 45342‐5222
SEXTON, CHARLENE M    660 JULIAN CT                                                                        WEST CREEK         NJ 08092‐9651
SEXTON, CHARLES E     8304 MURRAY RIDGE RD                                                                 ELYRIA             OH 44035‐4747
SEXTON, CHARLES E     8411 S 900 W                                                                         FAIRMOUNT          IN 46928‐9366
SEXTON, CHARLES H     1120 S VALENTINE DR                                                                  SHERMAN            TX 75090‐8352
SEXTON, CHARLES H     429 WASHINGTON AVE                                                                   GIRARD             OH 44420‐2264
SEXTON, CHARLES J     1488 BIRCH RUN DR. NE                                                                WARREN             OH 44483‐4483
SEXTON, CHARLES R     PO BOX 831                                                                           HELENWOOD          TN 37755‐0831
SEXTON, CHARLOTTE A   186 BEE GEE CT                                                                       LAPEER             MI 48446‐3301
SEXTON, CHARLOTTE M   15301 LYNN RD                                                                        LEAVENWORTH        KS 66048‐8383
SEXTON, CHRISTINE P   274 RAYMOND AVE                                                                      CHEEKTOWAGA        NY 14227
SEXTON, CORRINE G     160 WOODLAND                                                                         NEWTON FALLS       OH 44444‐1755
SEXTON, CORRINE G     160 WOODLAND ST                                                                      NEWTON FALLS       OH 44444‐1755
SEXTON, DALE E        715 GLENVIEW DR                                                                      HOWARD             OH 43028‐9504
SEXTON, DANIEL L      PO BOX 476                                                                           LAKE MONTEZUMA     AZ 86342
SEXTON, DANNY R       3175 PINNACLE PARK DR.                                                               DAYTON             OH 45418‐2964
SEXTON, DANNY R       4084 CONLEY DR                                                                       WEST ALEXANDRIA    OH 45381‐9342
SEXTON, DANNY W       299 INAH AVE                                                                         COLUMBUS           OH 43228‐1709
SEXTON, DARRELL W     821 DALISA CIR                                                                       SHREVEPORT         LA 71118‐4104
SEXTON, DARRELL W     17537 HILLCREST DR                                                                   LAWRENCEBURG       IN 47025‐8692
SEXTON, DAVID P       41933 COOPER AVE                                                                     ELYRIA             OH 44035‐7525
SEXTON, DAVID W       1808 COLLEGE ST SE                                                                   DECATUR            AL 35601‐5224
SEXTON, DEBORAH K     3532 COZY CAMP RD                                                                    MORAINE            OH 45439‐1128
SEXTON, DEBORAH K     4937 MARCY ROAD                                                                      WEST CARROLLTON    OH 45449‐5449
SEXTON, DELMUS        2315 E EDGAR RD                                                                      EDMORE             MI 48829‐9770
SEXTON, DENNIS M      120 MCKINLEY LN                                                                      KEAVY              KY 40737‐2687
SEXTON, DON R         744 WEST COUNTY RD.              800 NORTH                                           SPRINGPORT         IN 47386
SEXTON, DONALD        5248 N HUNTINGTON RD                                                                 MARION             IN 46952‐9061
SEXTON, DORETTA H     8573 BALTIMORE PHILLIPSBURG RD                                                       BROOKVILLE         OH 45309‐9651
SEXTON, DORETTA H     8573 BALTIMORE                   PHILLIPSBURG PIKE                                   BROOKVILLE         OH 45309‐9651
SEXTON, DORIS L       1975 W 250 N                                                                         LEBANON            IN 46052‐9122
SEXTON, DOUGLAS R     15400 VAN TUYLE RD                                                                   MANCHESTER         MI 48158‐9100
SEXTON, DYANNA F      5247 MONTEGO LN                                                                      PORT CHARLOTTE     FL 33981‐2301
SEXTON, EARL R        10875 E 300 S                                                                        UPLAND             IN 46989‐9709
SEXTON, EARL RAY      10875 E 300 S                                                                        UPLAND             IN 46989‐9709
SEXTON, EASTLE F      8911 DAVIDGATE DR                                                                    DAYTON             OH 45424‐6422
SEXTON, EDITH R       7795 HETZLER RD RT 4                                                                 MIDDLETOWN         OH 45042‐5042
SEXTON, EDNA M        3001 BRIGGS AVENUE #4E                                                               BRONX              NY 10458‐1662
SEXTON, EDNA R        532 BRATTONTOWN CIR                                                                  LAFAYETTE          TN 37083‐2624
SEXTON, EDNA R        1338 GOPHER SLOUGH RD                                                                MIMS               FL 32754‐6238
SEXTON, EDWARD W      917 LINDSEY                                                                          SOUTH BEND         IN 46616‐1226
SEXTON, ELTON N       306 CARRIE DR                                                                        CROSSVILLE         TN 38572‐6733
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Name                     Address1                            Address2            Address3         Address4         City              State Zip
SEXTON, EMMA JEAN        2202 NICHOLS VALLEY DR                                                                    DACULA             GA 30019
SEXTON, ESTIL R          4600 LITTLE RICHMOND RD                                                                   DAYTON             OH 45427‐3316
SEXTON, EUGENE           7800 NOTTELY DAM RD                                                                       BLAIRSVILLE        GA 30512‐0901
SEXTON, EVELYN S         1060 BROUGH AVE                                                                           HAMILTON           OH 45015
SEXTON, FRANCES V        605 GREENVIEW DR                                                                          CAVE CITY          KY 42127‐8839
SEXTON, FRANK P          161 NANTUCKET CIR                                                                         PAINESVILLE        OH 44077‐1550
SEXTON, FRED             594 W CREEK RD                                                                            ONEIDA             TN 37841‐7257
SEXTON, GARLAND R        10011 COLDWATER RD                                                                        FLUSHING           MI 48433‐9701
SEXTON, GARY H           1027 CHALET DR                                                                            NEW CARLISLE       OH 45344
SEXTON, GEORGE F         4224 DARNALL RD                                                                           BALTIMORE          MD 21236‐1722
SEXTON, GEORGIE M        10011 COLDWATER RD                                                                        FLUSHING           MI 48433‐9701
SEXTON, GILBERT K        8505 HARVARD TER                                                                          RAYTOWN            MO 64138‐3666
SEXTON, GILBERT Z        750 SAMPLESCHAPLE RD                                                                      CLEVELAND          TN 37323
SEXTON, GLENN A          4720 CLENDENIN RD                                                                         NASHVILLE          TN 37220‐1004
SEXTON, GRANT            132 W CHAMPLAIN AVE                                                                       WILMINGTON         DE 19804‐1749
SEXTON, GREGORY F        8020 AKRON AVE NW                                                                         CANAL FULTON       OH 44614‐9361
SEXTON, GREGORY S        9711 CONCORD RD                                                                           BRENTWOOD          TN 37027‐8904
SEXTON, HELEN H          1701 PARKAMO AVE                                                                          HAMILTON           OH 45011‐4609
SEXTON, HENRY R          PO BOX 702                                                                                CLINTON            TN 37717‐0702
SEXTON, HOMER E          PO BOX 473                                                                                BURLINGTON         IN 46915
SEXTON, HOMER W          3114 COURTFIELD DR                                                                        ROCHESTER HILLS    MI 48309‐4803
SEXTON, HUBERT           123 SUNSET HILL DR                                                                        ETOWAH             NC 28729‐9778
SEXTON, HUBERT A         145 MEGAN DR                                                                              MAYFIELD           KY 42066‐6963
SEXTON, INA D            447 SPRING ST                                                                             MOUNT STERLING     KY 40353
SEXTON, IRENE            194 CANEY BRANCH RD                                                                       BURNSIDE           KY 42519‐9666
SEXTON, JAMES            105 RIDGELAKE CIR                                                                         PEACHTREE CITY     GA 30269‐1475
SEXTON, JAMES D          1416 58TH ST W                                                                            BRADENTON          FL 34209‐4738
SEXTON, JAMES H          11441 BALFOUR DR                                                                          FENTON             MI 48430‐9051
SEXTON, JAMES H          210 EVELYN AVENUE                                                                         TRENTON            NJ 08619‐2018
SEXTON, JAMES L          1194 BLUE BROOK LN                  JAMES L SEXTON                                        PORTAGE            MI 49002‐4424
SEXTON, JAMES M          2240 RUTGERS DR                                                                           TROY               MI 48085‐3862
SEXTON, JERRY A          13317 CHERRY ST                                                                           KANSAS CITY        MO 64145‐1428
SEXTON, JOAN M           28019 CHARLEMAGNE ST                BOX #11B                                              ROMULUS            MI 48174‐9769
SEXTON, JOANN            620 FIRNSWORTH ST                                                                         WHITE LAKE         MI 48386
SEXTON, JOANN            620 FARNSWORTH ST                                                                         WHITE LAKE         MI 48386‐3128
SEXTON, JOHANNA M        10622 MILLBROOK RD                                                                        BLANCHARD          MI 49310‐9619
SEXTON, JOHN C           242 SW 44TH TER                                                                           CAPE CORAL         FL 33914‐5904
SEXTON, JOHN E           849 NORTHEDGE DR                                                                          VANDALIA           OH 45377‐1628
SEXTON, JOHN F           274 RAYMOND AVE                                                                           CHEEKTOWAGA        NY 14227‐1313
SEXTON, JOHN L           1365 SUMTER CT                                                                            INDIANAPOLIS       IN 46234‐9811
SEXTON, JOHN M           21930 30 MILE RD                                                                          RAY                MI 48096‐2000
SEXTON, JOHN R           1717 S CARLSON ST                                                                         WESTLAND           MI 48186‐4054
SEXTON, JOHN ROBERT      1717 S CARLSON ST                                                                         WESTLAND           MI 48186‐4054
SEXTON, JOHN W           4113 FLINTVILLE ROAD RD 2                                                                 DARLINGTON         MD 21034
SEXTON, JOSEPHINE A      P O BOX 191                                                                               KINGSVILLE         MO 64061‐0191
SEXTON, JOYA             1321 MANITOU RD                                                                           SANTA BARBARA      CA 93101‐4969
SEXTON, JUDITH A         46342 JASMINE CT                                                                          CHESTERFIELD       MI 48047‐5261
SEXTON, JUDY C           2675 ELLIOTT AVE                                                                          COLUMBUS           OH 43204‐3434
SEXTON, JUNE             11920 CAVELL ST                                                                           LIVONIA            MI 48150‐5314
SEXTON, KAREN K          19330 FORT ST APT 103                                                                     RIVERVIEW          MI 48193‐6732
SEXTON, KATHERINE A      2875 N TIPSICO LAKE RD                                                                    HARTLAND           MI 48353‐3254
SEXTON, KATHERINE ANNE   2875 N TIPSICO LAKE RD                                                                    HARTLAND           MI 48353‐3254
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Name                     Address1                        Address2               Address3      Address4         City              State Zip
SEXTON, KEVIN M          274 LANCASTER PIKE                                                                    OXFORD             PA 19363‐1172
SEXTON, LEE G            1918 N D ST                                                                           ELWOOD             IN 46036‐1656
SEXTON, LEE G            5838 W WOOD DUCK DR                                                                   MENTONE            IN 46539‐9722
SEXTON, LEO P            10046 MAIN ST                                                                         NEW MIDDLETWN      OH 44442‐8703
SEXTON, LISA B           423 FARMSTEAD LN                                                                      LANSING            MI 48917‐3020
SEXTON, LISA B.          423 FARMSTEAD LN                                                                      LANSING            MI 48917‐3020
SEXTON, LORA E           13512 W LITTLE CREEK DR                                                               HOMER GLEN          IL 60491‐8684
SEXTON, MARCIA E         V‐430 RD 9C                                                                           LIBERTY CENTER     OH 43532
SEXTON, MARGARET H       1701 PARKAMO AVE                                                                      HAMILTON           OH 45011‐4609
SEXTON, MARIA            1816 RUSSELL AVE                                                                      LINCOLN PARK       MI 48146‐1437
SEXTON, MARIAN L         949 HUBBARD AVE                                                                       FLINT              MI 48503‐4937
SEXTON, MARIAN L         949 HUPPARD AVE                                                                       FLINT              MI 48503
SEXTON, MARILYN          1201 PARK AVE                                                                         ELYRIA             OH 44035‐7105
SEXTON, MARY E           1140 N SWOPE ST.                APT B                                                 GREENFIELD         IN 46140
SEXTON, MARY E           1140 SWOPE ST APT B                                                                   GREENFIELD         IN 46140‐1394
SEXTON, MARY L           3901 HAMPSTEAD DR                                                                     SYLVANIA           OH 43560‐5516
SEXTON, MELANIE D        4101 OLD SPARTANBURG HWY                                                              MOORE              SC 29369‐9501
SEXTON, MICHAEL P        5431 S GLASTONBERRY RD                                                                TOLEDO             OH 43613‐2318
SEXTON, MICHAEL W        3705 MELODY LN E                                                                      KOKOMO             IN 46902
SEXTON, MICHAEL Z        8060 ELLIS CREEK DR                                                                   CLARKSTON          MI 48348‐2616
SEXTON, MILDRED          242 SW 44TH TERRACE                                                                   CAPE CORAL         FL 33914‐5904
SEXTON, MILDRED O        1116 DARLENE RD                 C/O ANITA CUNNINGHAM                                  FOREST HILL        MD 21050‐2731
SEXTON, MILDRED O        C/O ANITA CUNNINGHAM            1116 DARLENE ROAD                                     FOREST HILL        MD 21050
SEXTON, MILFORD          BOX 6357 SR 727                                                                       GOSHEN             OH 45122
SEXTON, MYRA B           26 REEVES RD APT A                                                                    HARTSELLE          AL 35640‐7051
SEXTON, NANNIE           159 SILVER CREEK RD                                                                   HINDMAN            KY 41822
SEXTON, NAOMI R          1308 N 64TH ST                                                                        KANSAS CITY        KS 66102‐1112
SEXTON, NINA D           3825 W 25TH ST                                                                        ANDERSON           IN 46011‐4515
SEXTON, NORMA            378 BARTON MILL ROAD                                                                  CORBIN             KY 40701‐2917
SEXTON, NORMA J          248 N MAIN ST                                                                         AMHERST            OH 44001‐1426
SEXTON, OLEAN W          4590 KESSLER FREDERICK RD                                                             WEST MILTON        OH 45383‐9791
SEXTON, OLEAN W          4590 S KESSLER FREDERICK RD                                                           WEST MILTON        OH 45383‐9791
SEXTON, OPAL F           331 ESTONIA DR                                                                        NEW LEBANON        OH 45345‐1329
SEXTON, OSBAN L          4590 S KESSLER FREDERICK RD                                                           WEST MILTON        OH 45383‐9791
SEXTON, OSBAN L          4590 KESSLER FREDERICK RD                                                             WEST MILTON        OH 45383‐9791
SEXTON, PAMELA J         9029 SOUTHERLAND PL                                                                   BRENTWOOD          TN 37027‐8539
SEXTON, PAMELA L         11455 HAMMERSTONE DR                                                                  SOUTH LYON         MI 48178‐8534
SEXTON, PATRICIA A       6062 BARKER AVE.                                                                      WATERFORD          MI 48329‐3100
SEXTON, PATRICIA A       6062 BARKER DR                                                                        WATERFORD          MI 48329‐3100
SEXTON, PATRICK J        2661 WOODBOURNE DR                                                                    WATERFORD          MI 48329‐2479
SEXTON, PATRICK J        30165 APPLE GROVE WAY                                                                 FLAT ROCK          MI 48134‐2736
SEXTON, PATRICK JOSEPH   30165 APPLE GROVE WAY                                                                 FLAT ROCK          MI 48134‐2736
SEXTON, PAUL             DUFFY & ASSOCS JOHN J           23823 LORAIN RD                                       NORTH OLMSTED      OH 44070
SEXTON, PEARL B          429 GIBBONS RD.                 C/O MARSHA SPARKS                                     WEST CARROLLTON    OH 45449‐2013
SEXTON, PEARL B          429 GIBBONS RD                  C/O MARSHA SPARKS                                     WEST CARROLLTON    OH 45449‐2013
SEXTON, R L
SEXTON, RAY H            4107 HAMILTON MILL RD                                                                 BUFORD            GA   30519‐3913
SEXTON, REGIS C          22590 BROOKFOREST                                                                     NOVI              MI   48375‐4416
SEXTON, RICHARD P        17389 MAPLE HILL DR                                                                   NORTHVILLE        MI   48168‐3214
SEXTON, ROBERT B         423 FARMSTEAD LN                                                                      LANSING           MI   48917‐3020
SEXTON, ROBERT D         41427 TOMPKINS ST                                                                     BELLEVILLE        MI   48111‐3441
SEXTON, ROBERT E         160 CATAMOUNT RD                                                                      OXFORD            PA   19363‐1008
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Name                             Address1                       Address2            Address3         Address4         City                State Zip
SEXTON, ROBERT H                 2700 CLINTON HILL DR                                                                 ORTONVILLE           MI 48462
SEXTON, ROBERT L                 PO BOX 191                                                                           KINGSVILLE           MO 64061‐0191
SEXTON, ROBERT L                 133 OLIVE ST                                                                         GIRARD               OH 44420‐1848
SEXTON, ROBERT L                 2051 MCCUE RD                                                                        LAURA                OH 45337‐9625
SEXTON, ROBERT L                 2051 MCCUE ROAD                                                                      LAURA                OH 45337‐9625
SEXTON, RODNEY D                 4836 ALEXANDRIA PIKE                                                                 ANDERSON             IN 46012‐9793
SEXTON, RONALD F                 7652 TOWNLINE RD                                                                     N TONAWANDA          NY 14120‐1321
SEXTON, RONALD H                 1211 NE 3RD TER                                                                      CAPE CORAL           FL 33909‐3604
SEXTON, RONNIE D                 164 SANDPIPER LN                                                                     STONEWALL            LA 71078‐8280
SEXTON, RONNIE DALE              164 SANDPIPER LN                                                                     STONEWALL            LA 71078‐8280
SEXTON, RUTH A                   1211 NE 3RD TER                                                                      CAPE CORAL           FL 33909‐3604
SEXTON, RUTH M                   2670 VIENNA ESTATES DR                                                               DAYTON               OH 45459‐1388
SEXTON, RUTH M                   1610 INTERLACHEN RD. 62B                                                             SEAL BEACH           CA 90740‐4239
SEXTON, SCOTT                    686 E TENNYSON AVE                                                                   PONTIAC              MI 48340‐2958
SEXTON, SHARON                   24 CHAPPELL WAY                                                                      SOMERSET             KY 42503‐5384
SEXTON, SHEA R                   8056 ROAD 211                                                                        OAKWOOD              OH 45873‐9626
SEXTON, SHEA RAY                 8056 ROAD 211                                                                        OAKWOOD              OH 45873‐9626
SEXTON, STELLA                   1414 DYER RD                                                                         GROVE CITY           OH 43123‐9738
SEXTON, STELLA                   1414 DYER ROAD                                                                       GROVE CITY           OH 43123‐9738
SEXTON, STEVE B                  68 NICKELL CT                                                                        GERMANTOWN           OH 45327‐9339
SEXTON, STEVE D                  200 S LOVELADY RD                                                                    COOKEVILLE           TN 38506
SEXTON, STEVEN A                 9029 SOUTHERLAND PL                                                                  BRENTWOOD            TN 37027‐8539
SEXTON, STEVEN R                 5507 IRISH RD                                                                        N TONAWANDA          NY 14120‐9610
SEXTON, SUSAN                    6729 MCGUIRE                                                                         TAYLOR               MI 48180‐1593
SEXTON, SUSAN                    6729 MCGUIRE ST                                                                      TAYLOR               MI 48180‐1593
SEXTON, SUSAN K                  15828 SUMMER RIDGE DR                                                                CHESTERFIELD         MO 63017‐8759
SEXTON, TERRY J                  616 N CHEYENNE DR                                                                    INDEPENDENCE         MO 64056‐2005
SEXTON, THEODORE J               4117 RICHMARK LN                                                                     BAY CITY             MI 48706‐2260
SEXTON, THOMAS B                 409 N 19TH ST                                                                        HERRIN                IL 62948‐1411
SEXTON, THOMAS M                 137 MARILYN DR                                                                       MADISON              OH 44057‐1641
SEXTON, TIMOTHY F                3829 BARLEYTON CIR                                                                   SYLVANIA             OH 43560‐3502
SEXTON, TOBY V                   32636 BENSON DR                                                                      WESTLAND             MI 48185‐9202
SEXTON, VEACHEL H                532 BRATTONTOWN CIR                                                                  LAFAYETTE            TN 37083‐2624
SEXTON, VERLA J                  810 QUAIL COVE                                                                       LAFAYETTE            CO 80026‐2129
SEXTON, VERLA J                  810 QUAIL CV                                                                         LAFAYETTE            CO 80026‐2129
SEXTON, VICKI M                  212 SAINT MARTIN DR                                                                  SUWANEE              GA 30024
SEXTON, VINCENT                  2206 ORBOUGH RD                                                                      HILLSBORO            OH 45133
SEXTON, WAVEY C                  7469 ZOAR RD                                                                         MAINEVILLE           OH 45039‐9640
SEXTON, WILLIAM A                122 MAPLETON CT NW                                                                   CLEVELAND            TN 37312‐6235
SEXTON, WILLIAM K                6947 STATE ROUTE 350                                                                 OREGONIA             OH 45054‐9790
SEXTON, WILLIAM K                6947 ST. RT. 350                                                                     OREGONIA             OH 45054‐9790
SEXTON, WILLIAM L                24 CHAPPELL WAY                                                                      SOMERSET             KY 42503‐5384
SEXTON, WILLIAM L                963 PARKDALE DR                                                                      NEW BRAUNFELS        TX 78130‐8377
SEXTON, WINIFRED                 7761 W. COUNTY RD 200 SOUTH                                                          FARMLAND             IN 47340
SEXTRO III, GUY                  700 LOOKOUT DR                                                                       COLUMBIA             TN 38401
SEXTRO, JOSEPH W                 1539 MAPLEDALE DR                                                                    KETTERING            OH 45432‐3836
SEYBERT CASTING                  1840 COUNTY LINE RD STE 108                                                          HUNTINGDON VALLEY    PA 19006‐1718
SEYBERT DAVIS                    1118 SW 47TH TER APT 201                                                             CAPE CORAL           FL 33914‐7360
SEYBERT TRANSPORTATION SERVICE   PO BOX 652                                                                           MERCER               PA 16137‐0652
SEYBERT'S AUTO SERVICE           RR 1 BOX 361B                                                                        EAST BRADY           PA 16028
SEYBERT, BOBBY J                 16356 E 186TH ST                                                                     NOBLESVILLE          IN 46060‐9294
SEYBERT, CYNTHIA K
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Name                                     Address1                              Address2                   Address3                  Address4                City                  State Zip
SEYBERT, DALE C                          3701 DUNREATH RD                                                                                                   PORT CHARLOTTE         FL 33953‐6027
SEYBERT, DAVID B                         291 DIANE DR                                                                                                       FLUSHING               MI 48433‐1824
SEYBERT, DONALD L                        4317 CHELSEA DR                                                                                                    ANDERSON               IN 46013‐4424
SEYBERT, JOANNA                          215 JAMES ST                                                                                                       COLUMBIANA             OH 44408‐1425
SEYBERT, JOHN W                          1730 E 17TH ST                                                                                                     ANDERSON               IN 46016‐2111
SEYBERT, JOSEPH E                        6308 BOULDER DR                                                                                                    ANDERSON               IN 46013‐3761
SEYBERT, KEITH L                         1915 MCKINLEY ST                                                                                                   ANDERSON               IN 46016‐4564
SEYBERT, MARILYN S                       10 N ELMA ST                                                                                                       ANDERSON               IN 46012‐3136
SEYBERT, NICOLE C                        4300 WARNER RD                                                                                                     FOWLER                 OH 44418‐9754
SEYBERT, RUTH H                          800 N SMITH RD N‐1                                                                                                 BLOOMINGTON            IN 47404
SEYBERT, SHANE R                         25 LITTLE BARLEY LN                                                                                                GRAYSON                GA 30017
SEYBERT, STEVEN R                        511 CENTER ST                                                                                                      PENDLETON              IN 46064‐1307
SEYBERT, TERRY J                         7201 KOLDYKE DR                                                                                                    FISHERS                IN 46038‐2741
SEYBERT‐ IRWIN, SARAH S                  1910 SOUTHWOODS RD                                                                                                 ANDERSON               IN 46012‐2750
SEYBOLD, LINDA M                         3362 LEVEL RD                                                                                                      CHURCHVILLE            MD 21028‐1404
SEYBOLD, SCOTT M                         1324 KINNARD DR                                                                                                    FRANKLIN               TN 37064‐3260
SEYBOLD, STEVE W                         7422 SOUTHWICK DR                                                                                                  DAVISON                MI 48423‐9564
SEYBOTH WOLFGANG                         SEYBOTH, WOLFGANG M                   536 NW 121ST ST                                                              NORTH MIAMI            FL 33168‐3535
SEYBURN, KAHN, GINN, BESS & SERLIN P.C. ATTY FOR SUPERIOR ACQUISITION, INC.    GREAT LAKES COMPANY        ATT: DAVID T. LIN, ESQ.   2000 TOWN CENTER, SUITE SOUTHFIELD             MI 48075‐1195
                                         D/B/A SUPERIOR ELECTRIC                                                                    1500
SEYBURN, KAHN, GINN, BESS & SERLIN, P.C. ATTY FOR SUPERIOR ACQUISITION, INC.   GREAT LAKES COMPANY        ATT: DAVID LIN            2000 TOWN CENTER, SUITE SOUTHFIELD            MI 48075‐1195
                                         D/B/A SUPERIOR ELECTRIC                                                                    1500
SEYDLITZ, FLORA                          12693 TAMIAMI TRL E PMB 232                                                                                        NAPLES                 FL   34113‐8424
SEYDLITZ, ROBERT L                       12693 TAMIAMI TRL E PMB 232                                                                                        NAPLES                 FL   34113‐8424
SEYEN HEAVY INDUSTRIES                   JOHN BULL X232                        C/O CTC DISTRIBUTION INC   12640 BURT ROAD           BEAMSVILLE ON CANADA
SEYEN HEAVY INDUSTRIES (SHANGH           JOHN BULL X232                        C/O WF WHELAN CO           36501 VAN BORN ROAD                               TAYLOR                MI
SEYEN HEAVY INDUSTRIES (SHANGH           NO 88 XUJING MIDDLE ROAD QINGP                                                             SHANGHAI CN 201702
                                                                                                                                    CHINA (PEOPLE'S REP)
SEYEN HEAVY INDUSTRIES (SHANGHAI) C     NO 88 XUJING MIDDLE ROAD QINGPU                                                             SHANGHAI CN 201702
                                                                                                                                    CHINA (PEOPLE'S REP)
SEYEN HEAVY INDUSTRIES SHANGHAI CO      25FL NO456 SEC 4 HSING‐YI RD                                                                TAIPEI TAIWAN
LTD
SEYEN MACHINERY CO LTD                  JOHN BULL X232                         C/O CTC DISTRIBUTION INC   12640 BURT ROAD           BEAMSVILLE ON CANADA
SEYEN MACHINERY CO LTD                  JOHN BULL X232                         C/O WF WHELAN CO           36501 VAN BORN ROAD                                     TAYLOR          MI
SEYEN MACHINERY CO LTD                  NO 88 XUJING MIDDLE ROAD QINGPU                                                             SHANGHAI CN 201702
                                                                                                                                    CHINA (PEOPLE'S REP)
SEYEN MACHINERY CO LTD                  25F 456 HSIN YI RD SEC 4                                                                    TAIPEI CITY TAIPEI TP 11043
                                                                                                                                    TAIWAN
SEYER, ARTHUR E                         794 CADILLAC DR                                                                                                           ARNOLD          MO    63010‐3666
SEYER, PAMELA C                         21104 CUIVRE DR                                                                                                           LAKE ST LOUIS   MO    63367‐1997
SEYER, ROBERT L                         5150 W RHOBY RD                                                                                                           LAKE CITY       MI    49651‐9264
SEYERLE, DONALD R                       835 BOUTELL DR                                                                                                            GRAND BLANC     MI    48439‐1942
SEYFANG, ARCHIE W                       99 IDLEWOOD LN                                                                                                            MOREHEAD        KY    40351‐7023
SEYFANG, LAURA L                        686 FAR HILLS AVE                                                                                                         DAYTON          OH    45419‐3841
SEYFARTH SHAW                           55 E MONROE ST STE 4200                                                                                                   CHICAGO         IL    60603
SEYFARTH SHAW FAIRWEATHER &             GERALDSON CLIENTS FUND ACCT            C SIMONSEN SEYFARTH SHAW   55 E MONROE ST STE 4200                                 CHICAGO         IL    60603
SEYFARTH SHAW LLC                       131 S DEARBORN ST STE 2400                                                                                                CHICAGO         IL    60603‐5577
SEYFARTH SHAW LLP                       131 S DEARBORN ST STE 2400                                                                                                CHICAGO         IL    60603‐5577
SEYFARTH, FREDERIC W                    153 STONE HEDGE LN                                                                                                        TRYON           NC    28782‐7679
SEYFARTH, MARY E                        13989 FORRER ST                                                                                                           DETROIT         MI    48227‐1740
SEYFARTH, ROBERT                        9675 CHUB LAKE RIDGE RD                                                                                                   GAYLORD         MI    49735‐9068
SEYFERT FOODS, INC.                     1001 PARAMOUNT ROAD                                                                                                       FORT WAYNE      IN    46808
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Name                                   Address1                         Address2                        Address3   Address4         City                State Zip
SEYFFERLE, CHARLOTTE L                 5438 CAMELLIA PLACE                                                                          DAYTON               OH 45429‐5429
SEYFFERLE, CHARLOTTE L                 5438 CAMELIA PL                                                                              DAYTON               OH 45429‐2013
SEYFFERLE, JOHN R                      8201 S STATE ROAD 109                                                                        KNIGHTSTOWN          IN 46148‐9504
SEYFORS, BRUCE A                       6919 MIDDLETOWN RD                                                                           GALION               OH 44833‐8916
SEYFORS, JERRI E                       207 MAYNARD AVE                                                                              CRESTLINE            OH 44827‐1962
SEYFRIED, DANIEL L                     PO BOX 856                                                                                   FLINT                MI 48501‐0856
SEYFRIED, JAMES P                      8429 E CARPENTER RD                                                                          DAVISON              MI 48423‐8915
SEYFRIED, JAMES PHILIP                 8429 E CARPENTER RD                                                                          DAVISON              MI 48423‐8915
SEYFRIED, MICHAEL C                    1554 ROBERTS RD                                                                              FRANKLIN             IN 46131‐1139
SEYFRIED, PHILLIP D                    6068 BELMONT CT                                                                              GRAND BLANC          MI 48439‐8679
SEYKA, FRANK J                         15986 FOREST HILL RD                                                                         GRAND LEDGE          MI 48837‐9234
SEYKA, FRANK JOSEPH                    15986 FOREST HILL RD                                                                         GRAND LEDGE          MI 48837‐9234
SEYKA, GARY L                          3107 LAWDOR RD                                                                               LANSING              MI 48911‐1530
SEYKA, SOPHIA J                        3433 COOLEY DR                                                                               LANSING              MI 48911‐1226
SEYKORA, PATRICK
SEYKOSKI, JOHN P                       5375 CAMPBELL RD                                                                             LOMPOC              CA   93436‐9631
SEYLER FRED                            8311 PEACEFUL VLY                                                                            CLARKSTON           MI   48348‐2672
SEYLER, CHARLES K                      1125 DEBORAH LN                                                                              SUWANEE             GA   30024‐5429
SEYLER, FREDERICK N                    8311 PEACEFUL VLY                                                                            CLARKSTON           MI   48348‐2672
SEYLER, HELEN A                        1125 DEBORAH LN                                                                              SUWANEE             GA   30024‐5429
SEYLER, JOHN W                         LOT 197                          2000 SOUTH APACHE ROAD                                      BUCKEYE             AZ   85326‐9112
SEYLER, LINDA L                        3650 LAKEWOOD DR                                                                             WATERFORD           MI   48329‐3946
SEYLER, SONYA I                        1000 SHADY CREEK PL                                                                          DANVILLE            CA   94526‐4355
SEYLLER TRANSPORT INC                  1301 INDUSTRIAL DR                                                                           LAKE IN THE HILLS   IL   60156‐1501
SEYMONE FOWLER                         728 NEWMAN LN                                                                                PONTIAC             MI   48340‐3304
SEYMORE JR, HAYWARD M                  1818 VALLEY LN                                                                               FLINT               MI   48503‐4517
SEYMORE JR, V K                        1850 BEECH LANE DR                                                                           TROY                MI   48083‐1746
SEYMORE JR, V KEITH                    1850 BEECH LANE DR                                                                           TROY                MI   48083‐1746
SEYMORE MAXWELL JR                     C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                   HOUSTON             TX   77007
                                       BOUNDAS LLP
SEYMORE, AMY T                         508 SPRINGVIEW ST                                                                            DECATUR             AL   35601
SEYMORE, JAMES                         1850 BEECH LANE DR                                                                           TROY                MI   48083‐1746
SEYMORE, JOHN R                        49441 PLYMOUTH WAY                                                                           PLYMOUTH            MI   48170‐6439
SEYMORE, PATRICIA A                    715 SURFWOOD LN                                                                              DAVISON             MI   48423‐1224
SEYMORE, ROBERT L                      4584 MAFFITT AVE 2 WEST                                                                      SAINT LOUIS         MO   63113‐2419
SEYMORE, ROBERT W                      104 SEYMORE LN                                                                               CLINTON             SC   29325‐4742
SEYMORE, RONALD M                      508 SPRINGVIEW ST SW                                                                         DECATUR             AL   35601‐7333
SEYMORE, WILLIAM C                     103 RED BERRY COURT                                                                          PRATTVILLIE         AL   36067‐6067
SEYMOUR ALLEN                          2800 TURLEY PL APT 1                                                                         MIDWEST CITY        OK   73110‐7538
SEYMOUR BOUWENS                        10785 FREEPORT AVE                                                                           FREEPORT            MI   49325‐9507
SEYMOUR BOWEN                          9505 FM 418                                                                                  SILSBEE             TX   77656‐2611
SEYMOUR CHARLES JR (493107)            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH   44067
                                                                        PROFESSIONAL BLDG
SEYMOUR D FINKEL REV TRUST U/A         C/O MOLENDA LAW GROUP            39111 W SIX MILE RD                                         LIVONIA             MI 48152
SEYMOUR D FINKEL TRUSTEE FOR BENEFIT
OF
SEYMOUR DECORATING CENTER INC          220 S CHESTNUT ST                                                                            SEYMOUR             IN   47274‐2328
SEYMOUR E. MOSS & FLEURETTE MOSS       224 B MEDFORD CT                                                                             MANALAPAN           NJ   07726
SEYMOUR ELIZABETH                      114 HILLCREST DR                                                                             BIGGSVILLE          IL   61418‐8900
SEYMOUR FORBING                        2804 PINNACLE POINT DR                                                                       CRESTVIEW           FL   32539‐5714
SEYMOUR FRANKL                         373 A HERITAGE HILLS                                                                         SOMERS              NY   10589
SEYMOUR I V, GEORGE F                  121 SANDALWOOD DR                                                                            ROCHESTER HLS       MI   48307‐3459
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Name                       Address1                          Address2                        Address3                  Address4         City               State Zip
SEYMOUR JR, GARY L         24810 SAXONY AVE                                                                                             EASTPOINTE          MI 48021‐1255
SEYMOUR JR, LEO E          2295 WHISPER COVE DR SE                                                                                      KENTWOOD            MI 49508‐3780
SEYMOUR JR, WILLIAM J      5351 OLDE SHAWBORO CT                                                                                        GRAND BLANC         MI 48439‐8703
SEYMOUR KENNETH (459327)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                NORFOLK             VA 23510
                                                             STREET, SUITE 600
SEYMOUR MARK               166 SKYLINE DRIVE                                                                                            MURPHY             TX   75094‐3227
SEYMOUR MCWHORTER          2231 CEDARVILLE RD                                                                                           GOSHEN             OH   45122‐8003
SEYMOUR MITCHELL           652 LAFAYETTE AVE                                                                                            MOUNT VERNON       NY   10552‐3814
SEYMOUR S BODNER (IRA)     C/O SEYMOUR S BODNER              27 SHADOWLAWN DR                                                           LIVINGSTON         NJ   07039
SEYMOUR SCHACK             1889 CRESCENT LAKE ROAD                                                                                      WATERFORD          MI   48327‐1313
SEYMOUR SEIGEL             41 LAKE LEA ROAD                                                                                             ROCHESTER          NY   14617‐1927
SEYMOUR STEVEN             SEYMOUR, STEVEN                   1930 E MARLTON PIKE SUITE Q29                                              CHERRY HILL        NJ   08003
SEYMOUR TURK               704 TRIPHAMMER ROAD                                                                                          ITHACA             NY   14850‐2505
SEYMOUR TURK               1867 CYNTHIA LN                                                                                              MERRICK            NY   11566‐5108
SEYMOUR WOOLDRIDGE JR      2732 MERRIWAY LN                                                                                             CINCINNATI         OH   45231‐1628
SEYMOUR'S GARAGE           281 SOUTH BLANCO AVENUE                                                                                      BLANCO             TX   78606
SEYMOUR'S GARAGE           8411 SPEEDWAY DR                                                                                             SAN ANTONIO        TX   78230‐5328
SEYMOUR, ALICE J           44199 ORION DRIVE                                                                                            STERLING HTS       MI   48314‐3177
SEYMOUR, ALICE J           44199 ORION DR                                                                                               STERLING HEIGHTS   MI   48314‐3177
SEYMOUR, AMANDA            4711 MORTON DR                                                                                               JONESBORO          AR   72401‐9146
SEYMOUR, ANNA B            3044 ADAMS AVE                                                                                               SAGINAW            MI   48602‐3101
SEYMOUR, ANNA B            3044 ADAMS                                                                                                   SAGINAW            MI   48602‐3101
SEYMOUR, AVICE L           31130 SENECA LN                                                                                              NOVI               MI   48377‐1526
SEYMOUR, BERYL R           11411 GREEN PLAZA DR APT 2703                                                                                HOUSTON            TX   77038‐1431
SEYMOUR, BETTY A           2942 LANSDOWNE RD                                                                                            WATERFORD          MI   48329‐2952
SEYMOUR, BONNIE J          W67N686 CLEVELAND CT                                                                                         CEDARBURG          WI   53012‐1838
SEYMOUR, BUDDY J           931 W BORTON RD                                                                                              ESSEXVILLE         MI   48732‐9656
SEYMOUR, CARNIE B          145 BAINBRIDGE TRAIL                                                                                         ROSEWELL           GA   30076‐1620
SEYMOUR, CHARLES           16501 OTTERDALE POINTE DRIVE                                                                                 MOSELEY            VA   23120‐1553
SEYMOUR, CHARLES G         2409 W HERRICK RD                                                                                            FARWELL            MI   48622‐9203
SEYMOUR, CHARLOTTE J       604 WOODBERRY DRIVE                                                                                          DANVILLE           IN   46122
SEYMOUR, CHRISTOPHER M     8485 JACLYN ANN DR                                                                                           FLUSHING           MI   48433‐2913
SEYMOUR, DANNY J           42862 NEWPORT DR                                                                                             FREMONT            CA   94538‐5530
SEYMOUR, DANNY L           20 E SEBREE ST                                                                                               DILLON             MT   59725‐2552
SEYMOUR, DAVID L           ATTN LYNNE KIZIS ESQ              WILENTZ GOLDMAN AND SPITZER     90 WOODBRIDGE CENTER DR                    WOODBRIDGE         NJ   07095

SEYMOUR, DENNIS D          9145 E BRISTOL RD                                                                                            DAVISON            MI   48423‐8718
SEYMOUR, DONALD O          58221 BELFORE CT                                                                                             SOUTH LYON         MI   48178‐1562
SEYMOUR, DUANE R           APT 4                             4335 TIMBER RIDGE TRL SW                                                   WYOMING            MI   49519‐4297
SEYMOUR, DWIGHT H          8313 FEDDICK RD                                                                                              HAMBURG            NY   14075‐7005
SEYMOUR, ELLA E            162 RODESSA RD                                                                                               ROCHESTER          NY   14616‐4606
SEYMOUR, GAIL M            16 TOWNSEND BLVD                                                                                             POUGHKEEPSIE       NY   12603‐1135
SEYMOUR, GALENA            14711 GLEDHILL                                                                                               VAN NUYS           CA   91402‐1212
SEYMOUR, GARY L            16044 BAYHAM CT                                                                                              CLINTON TWP        MI   48038‐1917
SEYMOUR, GARY L            5489 HIDDEN VALLEY TRL                                                                                       LINDEN             MI   48451‐8832
SEYMOUR, GARY LEE          5489 HIDDEN VALLEY TRL                                                                                       LINDEN             MI   48451‐8832
SEYMOUR, GEOFFREY S        2659 RAMBLING WAY                                                                                            BLOOMFIELD         MI   48302‐1041
SEYMOUR, GERALD R          11355 LAPEER RD                                                                                              DAVISON            MI   48423‐8184
SEYMOUR, GLADYS C          484 REID BALLEW DR                                                                                           MINERAL BLUFF      GA   30559‐2454
SEYMOUR, GLEN D            200 GANEGA TRL                                                                                               VONORE             TN   37885‐2655
SEYMOUR, GLENNA J          200 GANEGA TRL                                                                                               VONORE             TN   37885‐2655
SEYMOUR, GRACE E           35 S WESTMOOR AVE                                                                                            COLUMBUS           OH   43204‐2569
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Name                    Address1                         Address2                      Address3   Address4         City               State Zip
SEYMOUR, GRACE E        35 SO WESTMOOR AVENUE                                                                      COLUMBUS            OH 43204‐2569
SEYMOUR, HARLEY E       12334 FOX FORREST DR                                                                       GULFPORT            MS 39503‐7927
SEYMOUR, HAROLD P       783 BEDFORD ST                                                                             FREMONT             CA 94539‐4701
SEYMOUR, HAROLD R       10400 E SHADY LANE RD                                                                      SUTTONS BAY         MI 49682
SEYMOUR, HAROLD W       17205 SANDY LN                                                                             BARRYTON            MI 49305‐9373
SEYMOUR, IZORA P        225 GARLAND AVE                                                                            DECATUR             GA 30030‐4940
SEYMOUR, JACK A         9347 E ATHERTON RD                                                                         DAVISON             MI 48423‐8764
SEYMOUR, JAMES F        2152 S BRISTOL ST                                                                          HOLLAND             MI 49424‐1300
SEYMOUR, JAMES H        44199 ORION DR                                                                             STERLING HEIGHTS    MI 48314‐3177
SEYMOUR, JAMES L        13633 HARVEST LN                                                                           BATH                MI 48808‐8485
SEYMOUR, JANET G.       4841 COQUINA RD                                                                            FORT MYERS BEACH    FL 33931‐3912
SEYMOUR, JEANETTE F     1216 CUNNINGHAM AVE                                                                        SAINT CHARLES       MO 63301‐2212
SEYMOUR, JERRY G        1716 PERGOLA AVE                                                                           TRAVERSE CITY       MI 49686‐8908
SEYMOUR, JERRY W        PO BOX 37                                                                                  HOLDER              FL 34445‐0357
SEYMOUR, JERRY W        1418 FREDERICK CT                                                                          MANSFIELD           OH 44906‐2426
SEYMOUR, JESSIE M       2602 ILLINOIS AVE                                                                          FLINT               MI 48506‐3774
SEYMOUR, JOANN          42700 COLEHESTER APT 613                                                                   CLINTON TWP         MI 48036
SEYMOUR, JOEL T         1958 LYSTER LN                                                                             TROY                MI 48085‐1418
SEYMOUR, JOHN K         15371 TODD RD                                                                              PETERSBURG          MI 49270‐9713
SEYMOUR, JOHN KENNETH   15371 TODD RD                                                                              PETERSBURG          MI 49270‐9713
SEYMOUR, KAREN M        2366 PORTMAN DR SE                                                                         GRAND RAPIDS        MI 49508‐8751
SEYMOUR, KATHY M        9347 E ATHERTON RD                                                                         DAVISON             MI 48423‐8764
SEYMOUR, KEITH M        6455 MILANO ST                                                                             BURTON              MI 48519‐1363
SEYMOUR, KENNETH        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                         STREET, SUITE 600
SEYMOUR, LARRY W        7553 LIONS GATE PKWY                                                                       DAVISON            MI   48423‐3194
SEYMOUR, LOUISE M       1132 RIVER VALLEY DR                                                                       FLINT              MI   48532‐2929
SEYMOUR, MARGARET A     4717 KRATZVILLE RD                                                                         EVANSVILLE         IN   47710‐3819
SEYMOUR, MICHAEL H      1234 HARRISON GLEN LN                                                                      KNOXVILLE          TN   37922‐5588
SEYMOUR, PAUL A         441 CONVENT AVE APT 2B                                                                     NEW YORK           NY   10031‐3626
SEYMOUR, PHILLIP L      9165 TANSEL CIR                                                                            INDIANAPOLIS       IN   46234‐2346
SEYMOUR, ROBERT A       285 CARRIE CIR                                                                             MT CARMEL          TN   37645‐3740
SEYMOUR, ROBERT A       5241 BIANCA WAY                                                                            LIVERMORE          CA   94550‐2384
SEYMOUR, ROBERT L       1218 HACKNEY CT                                                                            SOUTH LYON         MI   48178‐8712
SEYMOUR, RUSSELL A      W67N686 CLEVELAND CT                                                                       CEDARBURG          WI   53012‐1838
SEYMOUR, RUTH V         2701 BUCKINGHAM AVE                                                                        CLOVIS             CA   93611‐5577
SEYMOUR, THEODORE       3937 ZEENAT DR                                                                             INDIANAPOLIS       IN   46254‐3136
SEYMOUR, THOMAS M       104 FEEDER ST                                                                              BOONVILLE          NY   13309‐1359
SEYMOUR, VINCENT R      3484 E HILL RD                                                                             GRAND BLANC        MI   48439‐8106
SEYMOUR, WARREN A       4511 ADMIRE RD                                                                             THOMASVILLE        PA   17364‐9686
SEYMOUR, WILLIAM C      13 CHADWICK CT                                                                             ROBBINSVILLE       NJ   08691‐3042
SEYMOUR, WILLIAM D      1713 VANCOUVER DR                                                                          DAYTON             OH   45406‐4622
SEYMOUR, WILLIAM J      106 HENDERSON CT                 RR 4                                                      CADILLAC           MI   49601‐9084
SEYMOUR, WILLIE L       225 GARLAND AVE                                                                            DECATUR            GA   30030‐4940
SEYMOUR,CHRISTOPHER M   8485 JACLYN ANN DR                                                                         FLUSHING           MI   48433‐2913
SEYON HARRELL           2270 LEGACY DR                                                                             BURTON             MI   48519‐2026
SEYOUM, SHAWL           2708 FLEMING ST                                                                            ALEXANDRIA         VA   22306‐1625
SEYREK JR, JOHN J       6981 E BUCHANAN RD                                                                         ITHACA             MI   48847‐9519
SEYUIN, LARRY D         50900 JUDD RD                                                                              BELLEVILLE         MI   48111‐9347
SEYWARD MAGRI           1210 WEST BOULEVARD                                                                        MARINE CITY        MI   48039‐3800
SEZELL CAMMON JR        22549 TIMBERLINE DR                                                                        SOUTHFIELD         MI   48033‐3429
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Name                                 Address1                             Address2                        Address3              Address4                  City               State Zip
SF AND B SOUTH LAWN VILLAGE CAROLINA 800 S MINT ST                                                                                                        CHARLOTTE           NC 28202‐1518
PANTHERS FOOTBALL
SF AUTO CARE                         1780 FOLSOM ST                                                                                                       SAN FRANCISCO      CA 94103‐3712
SF DFGD                              BFXFB                                                                                                                565
SF MARKETEAM INC                     3130 ALPINE RD STE 288               PMB 420                                                                         PORTOLA VALLEY     CA    94028‐7541
SF OREGON CO LTD                     C/O MELVIN MARK BROKERAGE            CO CTA                          PO BOX 4800‐52                                  PORTLAND           OR    97208
SF SHOPPING CENTRE ASSOC LP          WESTFIELD SAN FRANCISCO CENTRE       865 MARKET ST STE A                                                             SAN FRANCISCO      CA    94103‐1916
SF STUDIO INC                        SF DESIGN                            2025 W BUELL RD                                                                 OAKLAND            MI    48363‐2101
SFARA, RONALD                        5130 MILLER RD                                                                                                       LOWELLVILLE        OH    44436‐9530
SFC ADAMS INC                        DBA RP ADAMS                         PO BOX 963                      225 EAST PARK DRIVE                             BUFFALO            NY    14240‐0963
SFC ADAMS INC                        225 E PARK DR                                                                                                        TONAWANDA          NY    14150‐7813
SFE GESELLSCHAFT FUER STRUKTUR       VOLTASTRASSE 5                                                                             BERLIN 13355 GUYANA
SFE GESELLSCHAFT FUER STRUKTURANALY VOLTASTRASSE 5                                                                              BERLIN BL 13355 GERMANY

SFE GMBH                             HANS ZIMMER                          VOLTASTR.5                                            13355 BERLIN GERMANY
SFE GMBH                             IN FORSCHUNG UND ENTWICKLUNG         VOLTASTRABE 5                                         BERLIN D‐13355 GERMANY
SFERRA, CHARLES E                    307 ROOSEVELT ST N W                                                                                                 WARREN             OH    44483
SFERRA, JOHN                         8159 ENGLEWOOD ST NE                                                                                                 WARREN             OH    44484‐1904
SFERRA, MICHAEL E                    279 BUTLER RD NE                                                                                                     WARREN             OH    44483‐5603
SFERRAZZA CARL (463662)              WEITZ & LUXENBERG                    180 MAIDEN LANE                                                                 NEW YORK           NY    10038
SFERRAZZA DAVID V (487845)           WEITZ & LUXENBERG                    180 MAIDEN LANE                                                                 NEW YORK           NY    10038
SFERRAZZA, CARL                      WEITZ & LUXENBERG                    180 MAIDEN LANE                                                                 NEW YORK           NY    10038
SFERRAZZA, DAVID V                   WEITZ & LUXENBERG                    180 MAIDEN LANE                                                                 NEW YORK           NY    10038
SFERRAZZA, MINNIE H                  8 BLAKE AVENUE                                                                                                       SOMERSET           NJ    08873‐2003
SFERRAZZA, MINNIE H                  8 BLAKE AVE                                                                                                          SOMERSET           NJ    08873‐2003
SFG FONDS                            C/O TILL SCHWALM                     LINSEBUEHLSTR 25A                                     CH 9000 ST GALLEN
                                                                                                                                SWITZERLAND
SFG GMULP LLC                        C O GECC GE TRANSPORTATION FINANCE   201 HIGH RIDGE RD                                                               STAMFORD            CT   06927‐0001
                                     ATTENTION RAIL PORTFOLIO
SFGN SFGB                            SFG                                  FG                              FG                    FG
SFONDRINI GIUSEPPE                   C/O LA SCALA                         STUDIO LEGALE E TRIBUTARIO      CORSO MAGENTA N 42    20123 MILANO ITALY
SFORZA, ROBIN J                      16000 RAYEN ST                                                                                                       SEPULVEDA          CA 91343‐4814
SFSWFWE WEFEWF                       WEFWEFWEFWERFW 234                                                                                                   EFEWFWE            NC 24244
SFX MARKETING INC                    ATTN ACCOUNTS RECEIVABLE             2000 WEST LOOP S STE 1300                                                       HOUSTON            TX 77027‐3512
SG CONSTRUCTION SERVICES LLC
SG CONSTRUCTION SERVICES LLC         3407 TORREY RD                                                                                                       FLINT              MI 48507‐3253
SG HAMBROS BANK (CHANNEL ISLANDS)    PO BOX 6                             ST PETER PORT GUERNSEY                                GY1 3AE CHANNEL ISLANDS
LIMITED                                                                                                                         GREAT BRITAIN
SG HIGGINBOTHAM                      THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                                                     HOUSTON            TX 77017
SG MORRIS CO                         699 MINER RD                                                                                                         HIGHLAND HEIGHTS   OH 44143‐2115
SG PRIVATE BANKING                   KORTRIJKSESTEENWEG 302               9000 GENT
SG PRIVATE BANKING LUGANO SVIZZERA
SA
SG TECHNOLOGIES GMBH                 EISENBAHNSTRASSE 24                                                                        WADERN BUESCHFELD D‐
                                                                                                                                66687 GERMANY
SGAGGERO VITTO (460181)              KELLEY & FERRARO LLP                 1300 EAST NINTH STREET , 1901                                                   CLEVELAND          OH 44114
                                                                          BOND COURT BUILDING
SGAGGERO, VITTO                      KELLEY & FERRARO LLP                 1300 EAST NINTH STREET, 1901                                                    CLEVELAND          OH 44114
                                                                          BOND COURT BUILDING
SGAMBATI JR, FRANK                   9850 HARRISON ST                                                                                                     LIVONIA            MI 48150‐3131
SGAMBATI, ANTHONY F                  132 GATEWAY DR                                                                                                       STATEN ISLAND      NY 10304‐4441
SGAMBATI, MICHELE L                  PO BOX 2871                                                                                                          FARMINGTON HILLS   MI 48333‐2871
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Name                          Address1                                Address2                     Address3   Address4                 City               State Zip
SGAMBELLONE, JAMES V          2011 TULIPWOOD DR                                                                                        MANSFIELD           OH 44906‐3334
SGARDELIS, PLATON M           455 PASSAIC AVE APT 2H                                                                                   PASSAIC             NJ 07055‐3355
SGARLATA, FRANCIS E           201 BROOKS STREET                                                                                        SYRACUSE            NY 13209‐2507
SGARLATA, LEONARD A           713 STONECASTLE PL                                                                                       NOLENSVILLE         TN 37135‐8442
SGARLATA, NORMA               201 BROOKS ST                                                                                            SOLVAY              NY 13209‐2507
SGARLATA, NORMA               201 BROOKS STREET                                                                                        SOLVAY              NY 13209
SGCS CANADA COMPANY           CAMPBELL RD                                                                     WINDSOR CANADA ON N9B
                                                                                                              3Y7 CANADA
SGFRE DGGSFD                  5467FHDGH                                                                                                LOS ANGELES        CA   90210
SGIERS, WALDEMAR              PO BOX 874                                                                                               HOULTON            ME   04730‐0874
SGK DIAGNOSTICS INC           1108 BALLY MOTE DR                                                                                       DALLAS             TX   75218‐3904
SGL ACOTEC INC                4317 COLLECTION CENTER DR                                                                                CHICAGO            IL   60693‐0043
SGL CARBON AG                 WERNER‐VON‐SIEMENS‐STR 18                                                       MEITINGEN BY 86405
                                                                                                              GERMANY
SGL CARBON GMBH               WERNER VON SEIMENSSTR 18                MEITINGEN                               86405 GERMANY GERMANY
SGL CARBON LLC                8600 BILL FICKLEN DR                                                                                     CHARLOTTE          NC 28269
SGM ‐ ASSEMBLY PLT            1500 SHENJIANG RD                                                               SHANGHAI 201206 CHINA
                                                                                                              (PEOPLE'S REP)
SGM ARMTEK/WARMINSTE          440 CONSTANCE DR                                                                                         WARMINSTER         PA 18974‐2818
SGMW                          18 HEXI ROAD, LIUZHOU, GUANGXI, CHINA                                           CHINA (PEOPLE'S REP)

SGOBBO, JOHN                  29 CANDLEWOOD CMN                                                                                        NEW MILFORD        CT   06776‐5820
SGOUROS, JOHN P               PO BOX 44                                                                                                WENTZVILLE         MO   63385‐0044
SGOVIO, JOANNE                4907 E MCLELLAN RD                                                                                       MESA               AZ   85205‐3310
SGRO, ANDREW                  150 LAWRENCE AVE                                                                                         N PLAINFIELD       NJ   07063‐1625
SGRO, CONSTANCE A             14 AXFORD RD                                                                                             HAMILTON           NJ   08610‐4103
SGRO, FRANK P                 2915 E DR HIGH ACRES                                                                                     NEW PALASTINE      IN   46163
SGRO, FRANK P                 4205 S STATE AVE                                                                                         INDIANAPOLIS       IN   46227
SGRO, JAMES M                 11135 MOSHIE LN                                                                                          SAN ANTONIO        FL   33576‐7851
SGROI, ANTHONY V              104 LAIRD AVE                                                                                            BUFFALO            NY   14207‐1558
SGROI, JOSEPH R               9231 SPRING RUN BLVD APT 2104                                                                            BONITA SPRINGS     FL   34135‐3606
SGROI, LETTIE                 PO BOX 571                                                                                               GLOUCESTER POINT   VA   23062‐0571
SGROI, MICHAEL A              1236 HIGHLAND CIRCLE DR                                                                                  WENTZVILLE         MO   63385‐5540
SGROI, SALVATORE A            10758 CANOE CT                                                                                           INDIANAPOLIS       IN   46236‐8856
SGROMOLO, DAVID A             23227 TULANE AVE                                                                                         FARMINGTON HILLS   MI   48336‐3668
SGROMOLO, MERRILL S           110 FAIRVIEW RD                                                                                          FRENCHTOWN         NJ   08825‐3009
SGRULLONI, KATHLEEN P         10 MAGNOLIA AVE APT 9                                                                                    GLOUCESTER         MA   01930
SGS ‐ NORTH AMERICA INC       BOB GAPINSKI VICE PRESIDENT OF          650 NORTHLAND BLVD STE 600                                       CINCINNATI         OH   45240‐3249
                              BUSINESS DEVELOPMENT
SGS AUTOMOTIVE SERVICES       110 DE LA BARRE ST STE 222                                                      LONGUEUIL CANADA PQ
                                                                                                              J4K 1A3 CANADA
SGS AUTOMOTIVE SERVICES INC   201 STATE RT 17 FL 7                    292000 VASSAR ST STE 435                                         RUTHERFORD         NJ   07070‐2583
SGS AUTOMOTIVE SERVICES INC   29200 VASSAR ST STE 435                                                                                  LIVONIA            MI   48152‐2135
SGS AUTOMOTIVE SERVICES INC   650 NORTHLAND BLVD STE 600                                                                               CINCINNATI         OH   45240‐3249
SGS AUTOMOTIVE SVC            7600 GENERAL MOTORS BLVD                                                                                 SHREVEPORT         LA   71129‐9426
SGS BELGIUM NV                NOORDERLAAN 87                                                                  ANTWERP B‐2030 BELGIUM
SGS CANADA INC                PO BOX 4580                             DEPT 5 STATION A                        TORONTO CANADA ON
                                                                                                              M5W 4W2 CANADA
SGS CANADA INC                6275 NORTHAM DR UNIT 2                                                          MISSISSAUGA ON L4V 1Y8
                                                                                                              CANADA
SGS CANADA INC                PO BOX 4300                             LAKEFIELD,ON ,K0L 2H0                   CANADA
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SGS CONTROLL CO MBH              PO BOX 105480                                                            HAMBURG D‐20037
                                                                                                          GERMANY
SGS GERMANY GMBH                 AM NEUEN RHEINHAFEN 12 A                                                 SPEYER RP 67346
SGS NORTH AMERICA                LOCKED BAG 10                                                            BENTLEY WA 6983
                                                                                                          AUSTRALIA
SGS NORTH AMERICA INC            1200 CONRAD INDUSTRIAL DR                                                                         LUDINGTON          MI    49431‐2681
SGS NORTH AMERICA INC            1919 S HIGHLAND AVE STE 210B                                                                      LOMBARD            IL    60148‐6133
SGS SA                           29200 VASSAR ST STE 435                                                                           LIVONIA            MI    48152‐2135
SGS SA                           650 NORTHLAND BLVD STE 600                                                                        CINCINNATI         OH    45240‐3249
SGS SA                           BOB GAPINSKI VICE PRESIDENT OF   650 NORTHLAND BLVD STE 600                                       CINCINNATI         OH    45240‐3249
                                 BUSINESS DEVELOPMENT
SGS TESTCOM INC                  2911 STATE RTE 9                                                                                  BALLSTONPA          NY 12020
SGT 2000 INC                     3711 OATES RD STE C                                                                               HOUSTON             TX 77013‐4142
SGT FRANCES WATSON               39 HILL ST                                                                                        ROSWELL             GA 30075‐4536
SGV & CO                         6760 AVALA AVE                                                           MAKATI CITY 1229
                                                                                                          PHILIPPINES
SH AUTO REPAIR & BODY SHOP INC                                    8542 EDGEWORTH DR                                                                   MD    20743
SHA, ANNIE L                     16145 STONY RIDGE DR                                                                              NOBLESVILLE        IN    46060‐8769
SHA, GEORGE T                    16145 STONY RIDGE DR                                                                              NOBLESVILLE        IN    46060‐8769
SHA, JI‐XIN                      6330 ORCHARD WOODS DR                                                                             WEST BLOOMFIELD    MI    48324‐3287
SHAAI, KIMBERLY S                2127 W 22ND PL                                                                                    YUMA               AZ    85364
SHAAK, ETHELDA P                 1628 KINGSTON RD                                                                                  KOKOMO             IN    46901‐5279
SHAAN POWELL                     2240 S SCHREIBER RD                                                                               MIDLAND            MI    48640‐8516
SHAANA GORDON                    28362 HEATHER WAY                                                                                 ROMULUS            MI    48174‐2966
SHAAR JR., CAMILLE M             4147 MARINA DR                                                                                    SANTA BARBARA      CA    93110‐2429
SHAARDA, GARRETT J               6994 MAPLEWOOD RD                                                                                 PARMA HEIGHTS      OH    44130‐3720
SHAARDA, JOHN G                  5215 LAKE PINE CIR                                                                                BRUNSWICK          OH    44212‐1993
SHABANA, MOHSEN D                30802 KNIGHTON DR                                                                                 FARMINGTON HILLS   MI    48331‐5969
SHABANGU GLADYS                  ADERELE, ADEDOTUN                407 S DEARBORN ST STE 1550                                       CHICAGO            IL    60605‐1144
SHABANGU GLADYS                  ADERELE, ADEDOYIN                407 S DEARBORN ST STE 1550                                       CHICAGO            IL    60605‐1144
SHABANGU GLADYS                  ADERELE, GBOYEGA                 407 S DEARBORN ST STE 1550                                       CHICAGO            IL    60605‐1144
SHABANGU GLADYS                  ADERELE, JUMOKE                  407 S DEARBORN ST STE 1550                                       CHICAGO            IL    60605‐1144
SHABANGU GLADYS                  ADERELE, KEJI                    407 S DEARBORN ST STE 1550                                       CHICAGO            IL    60605‐1144
SHABANGU GLADYS                  BROBBEY, ANNA                    407 S DEARBORN ST STE 1550                                       CHICAGO            IL    60605‐1144
SHABANGU GLADYS                  BROBBEY, ENOCH                   407 S DEARBORN ST STE 1550                                       CHICAGO            IL    60605‐1144
SHABANGU GLADYS                  BROBBEY, ESTHER                  407 S DEARBORN ST STE 1550                                       CHICAGO            IL    60605‐1144
SHABANGU GLADYS                  BROBBEY, JOHN                    407 S DEARBORN ST STE 1550                                       CHICAGO            IL    60605‐1144
SHABANGU GLADYS                  NIPASSA, KODZOVI                 407 S DEARBORN ST STE 1550                                       CHICAGO            IL    60605‐1144
SHABANGU GLADYS                  SHABANGU, GLADYS                 407 S DEARBORN ST STE 1550                                       CHICAGO            IL    60605‐1144
SHABANGU, GLADYS                 AMU LANRE O                      407 S DEARBORN ST STE 1550                                       CHICAGO            IL    60605‐1144
SHABANGU, GLADYS N               930 FOX RUN LN                                                                                    ALGONQUIN          IL    60102
SHABARECK, FRANK
SHABAZ, DAVID J                  8379 APPLE BLOSSOM LN                                                                             FLUSHING           MI    48433‐1192
SHABAZZ, AAMIR                   1927 OX BOW LN                                                                                    SAINT LOUIS        MO    63138‐1529
SHABAZZ, ABDULLAH                2608 WINONA ST                                                                                    FLINT              MI    48504‐2763
SHABAZZ, CHARLES E               213 SNOW DOME AVE                                                                                 NORTH LAS VEGAS    NV    89031‐6825
SHABAZZ, ISA S                   APT 271                          850 WASHBURN AVENUE                                              LOUISVILLE         KY    40222‐7714
SHABAZZ, JANICE R                2244 MUIRWOOD DR                                                                                  COLUMBUS           OH    43232‐6507
SHABAZZ, JOYCE                   PO BOX 165768                                                                                     IRVING             TX    75016‐5768
SHABAZZ, JOYCE                   P.O. BOX 165768                                                                                   IRVING             TX    75016
SHABAZZ, KARRIEM F               24 WYNDMOOR AVE                                                                                   NEWARK             NJ    07112‐1217
SHABAZZ, MALIK A                 6144 NEFF RD                                                                                      MOUNT MORRIS       MI    48458‐2753
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SHABAZZ, RABB I                   600 E 8TH ST                                                                             MUNCIE              IN 47302‐3425
SHABAZZ, RAHIM F                  24 WYNDMOOR AVE                                                                          NEWARK              NJ 07112‐1217
SHABAZZ, RUTHIA                   18558 ADDISON                                                                            SOUTHFIELD          MI 48075‐2631
SHABAZZ, THERESA                  8 WINDING WOOD DR APT 3A                                                                 SAYREVILLE          NJ 08872
SHABAZZ, WAHAB                    24 WYNDMOOR AVE                                                                          NEWARK              NJ 07112‐1217
SHABBIR BHATTI                    1297 CHAFFER DR                                                                          ROCHESTER HILLS     MI 48306‐3714
SHABEEB, COLLEEN L                825 HOWSER RD                                                                            SMITHS GROVE        KY 42171‐6236
SHABEEB, DAVID V                  386 RIVERVIEW DR                                                                         PLAINWELL           MI 49080‐9718
SHABEL, GERTRUDE                  2930 W WALTON BLVD                                                                       WATERFORD           MI 48329‐2562
SHABLAK, JEFFREY B                6765 CAMPBELL CT                                                                         FRANKLIN            OH 45005‐5401
SHABLAK, SCOTT D                  2432 HILL AVE                                                                            MIDDLETOWN          OH 45044‐4732
SHABLUK, SAM J                    3926 MADISON ST                                                                          DEARBORN HEIGHTS    MI 48125‐2156
SHABOSKY, ANGELA M                429 CLARK ST                                                                             CLARKSBURG          WV 26301‐2065
SHABOWSKI, PAUL B                 384 BUNDRICK MOORE RD                                                                    WARWICK             GA 31796‐5614
SHACK KINCAID                     9165 CLOVERLAWN ST                                                                       DETROIT             MI 48204‐2730
SHACK WALKER                      185 BURNETT AVE                                                                          MAPLEWOOD           NJ 07040‐3207
SHACK, CLARENCE T                 33901 GATES ST                                                                           CLINTON TWP         MI 48035‐4240
SHACK, GEORGE                     20022 GRIGGS ST                                                                          DETROIT             MI 48221‐1063
SHACK, JACQUELINE M               9341 PENROD ST                                                                           DETROIT             MI 48228
SHACK, JOE L                      14563 NORTHLAWN ST                                                                       DETROIT             MI 48238‐1847
SHACK, LARRY D                    1931 KILBURN RD N                                                                        ROCHESTER HILLS     MI 48306‐3039
SHACK, LAWRENCE L                 PO BOX 80391                                                                             TOLEDO              OH 43608‐0391
SHACK, LENORA                     5641 15TH ST                                                                             DETROIT             MI 48208‐3003
SHACK, MICHAEL C                  8201 HUBBELL ST                                                                          DETROIT             MI 48228‐2413
SHACK, VICKI G                    403 RICHARDSON ST                                                                        GADSDEN             AL 35903‐2545
SHACK, WILLIAM                    165 EUCLID ST                                                                            MOUNT CLEMENS       MI 48043‐5708
SHACKELFORD JERRY                 2078 WEYMOUTH CIR W                                                                      JACKSONVILLE        FL 32246‐9411
SHACKELFORD JOHN                  245 N 56TH ST UNIT 202                                                                   MESA                AZ 85205‐8148
SHACKELFORD LLOYD A SR (454784)   SIMMONS FIRM                   PO BOX 559                                                WOOD RIVER           IL 62095‐0559
SHACKELFORD ROBERT M (494196)     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                 STREET, SUITE 600
SHACKELFORD WAYNE                 SHACKELFORD, WAYNE             44 BROAD ST NW STE 400                                    ATLANTA            GA   30303‐2328
SHACKELFORD, ALBERT L             16135 FAIRVIEW CRES                                                                      SOUTHFIELD         MI   48076‐1592
SHACKELFORD, ALMA                 19 E YOUNGS CT                                                                           MIDLAND            MI   48640‐8635
SHACKELFORD, ALMA                 19 E. YOUNGS CT.                                                                         MIDLAND            MI   48640
SHACKELFORD, ALVIN                THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD       SUITE 44                    CORAL GABLES       FL   33146
SHACKELFORD, ANNA                 PO BOX 254                                                                               FOREST PARK        IL   60130‐0254
SHACKELFORD, CASEY D              7001 NORTH RIDGE ROAD                                                                    LANSING            MI   48917‐9576
SHACKELFORD, CHRISTOPHER D        9402 SHONWAY CIR                                                                         SHREVEPORT         LA   71118‐3626
SHACKELFORD, DARNELL              1518 MARION ST SW                                                                        DECATUR            AL   35601‐2735
SHACKELFORD, DONALD E             97 JONES ST                                                                              MOUNT CLEMENS      MI   48043‐5736
SHACKELFORD, DOUGLAS R            54603 WHITE SPRUCE LN                                                                    SHELBY TWP         MI   48315‐1468
SHACKELFORD, EDWARD               743 WHITETAIL RUN DR                                                                     SOMERSET           KY   42503
SHACKELFORD, ERNEST L             19300 SUSSEX ST                                                                          DETROIT            MI   48235‐2049
SHACKELFORD, ESTHER R             3615 BRADFORD CT APT B                                                                   KOKOMO             IN   46902‐8446
SHACKELFORD, FRED                 PO BOX 774                                                                               FLINT              MI   48501‐0774
SHACKELFORD, GEORGE D             2783 BARCLAY MESSERLY RD                                                                 SOUTHINGTON        OH   44470‐9735
SHACKELFORD, GERTY                19101 EVERGREEN ROAD           APT. # 703                                                DETROIT            MI   48219
SHACKELFORD, GREGORY V            1902 BEY ST                                                                              BOSSIER CITY       LA   71112‐4102
SHACKELFORD, HAROLD E             1233 E MAIN ST                                                                           LURAY              VA   22835‐1625
SHACKELFORD, HAROLD E             1233 EAST MAIN STREET                                                                    LURAY              VA   22835‐1625
SHACKELFORD, HILDA                1387 MURDOCK RD                                                                          MARIETTA           GA   30062‐7603
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SHACKELFORD, JAMES R              2033 HIGHBURY DR                                                                        TROY               MI 48085‐3806
SHACKELFORD, JEREMY L             514 NE KNOX ST APT B                                                                    BLUE SPRINGS       MO 64014‐5960
SHACKELFORD, JOHN W               25030 MACOMB ST                                                                         ROSEVILLE          MI 48066‐4408
SHACKELFORD, JOHNNY L             12640 PRINCETON PIKE                                                                    PINE BLUFF         AR 71602‐8568
SHACKELFORD, JOHNNY R             71 3RD AVE E                                                                            DALLAS             GA 30157‐6375
SHACKELFORD, JR,LAWRENCE R        642 E CRESENT LN                                                                        FRANKLIN           OH 45005‐3338
SHACKELFORD, LARONDA              3205 BUICK ST APT 52                                                                    FLINT              MI 48505‐4294
SHACKELFORD, LARONDA              3205 BUICK STREET                                                                       FLINT              MI 48505
SHACKELFORD, LEESHA               460 LEWIS RD                                                                            MANSFIELD          OH 44903‐8606
SHACKELFORD, LEONARD              1919 OAK LEAF DR                                                                        ADRIAN             MI 49221‐1168
SHACKELFORD, LEONARD H            PO BOX 3                                                                                ST ELIZABETH       MO 65075‐0003
SHACKELFORD, LILLIAN              185 COUNTY ROAD 384                                                                     HILLSBORO          AL 35643‐4211
SHACKELFORD, LLOYD A              SIMMONS FIRM                  PO BOX 559                                                WOOD RIVER          IL 62095‐0559
SHACKELFORD, MAGGIE W             1479 COLLINS AVE., ARN2       NEW COTTAGE #27605                                        MARYSVILLE         OH 43040
SHACKELFORD, MARTHA S             220 WALL DR                                                                             CORTLAND           OH 44410‐1312
SHACKELFORD, MARY                 1835 12TH ST                                                                            MANISTEE           MI 49660‐8967
SHACKELFORD, PATRICIA A           3435 NORTH ANGUS STREET                                                                 FRESNO             CA 93726‐6617
SHACKELFORD, PATRICIA S           PO BOX 158                                                                              PICKWICK DAM       TN 38365‐0158
SHACKELFORD, PAUL                 1727 SOMERS GRATIS RD                                                                   CAMDEN             OH 45311‐8844
SHACKELFORD, PAUL                 1727 SOMERS‐GRATIS ROAD                                                                 CAMDEN             OH 45311‐8844
SHACKELFORD, RALPH S              1387 MURDOCK RD                                                                         MARIETTA           GA 30062‐7603
SHACKELFORD, ROBERT M             GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                STREET, SUITE 600
SHACKELFORD, RONNIE L             PO BOX 421274                                                                           MIDDLETOWN        OH   45042‐7724
SHACKELFORD, ROSCOE A             2720 E 1150 S                                                                           KOKOMO            IN   46901‐7567
SHACKELFORD, ROY G                264 HARTFORD SQ                                                                         HARTFORD          WI   53027‐1973
SHACKELFORD, ROY L                PO BOX 61371                                                                            DAYTON            OH   45406‐9371
SHACKELFORD, STEPHEN J            853 KENNETH ST                                                                          YOUNGSTOWN        OH   44505‐3818
SHACKELFORD, TIMOTHY              460 LEWIS RD                                                                            MANSFIELD         OH   44903‐8606
SHACKELFORD, WAYNE                KROHN & MOSS ‐ GA             44 BROAD ST NW STE 400                                    ATLANTA           GA   30303‐2328
SHACKELFORD, WILLIAM F            586 1ST ST                                                                              INWOOD            WV   25428‐4308
SHACKELTON, BETTY F               2083 SAINT JAMES DR                                                                     MEMPHIS           TN   38116‐7672
SHACKFORD, DIANE E                9418 WORTH RD                                                                           DAVISON           MI   48423‐9326
SHACKLEFERD, DELBERT W            PO BOX 175                                                                              WALLINS CREEK     KY   40873‐0175
SHACKLEFOR, WILLIE                545 HARRIET ST                                                                          DAYTON            OH   45408‐2025
SHACKLEFORD PHILLIPS WINELAND &   100 E CHURCH ST                                                                         EL DORADO         AR   71730‐4602
RATCLIFF PA
SHACKLEFORD, ARTIS L              6151 MAGNOLIA DR                                                                        MOUNT MORRIS      MI   48458‐2815
SHACKLEFORD, ARTIS LEE            6151 MAGNOLIA DR                                                                        MOUNT MORRIS      MI   48458‐2815
SHACKLEFORD, BERT E               310 MADISON AVE                                                                         TROTWOOD          OH   45426‐2804
SHACKLEFORD, DESSIE               450 NORTH ELM ST APT 205                                                                WEST CARROLLING   OH   45449‐1258
SHACKLEFORD, DESSIE               450 N ELM ST APT 205                                                                    WEST CARROLLTON   OH   45449‐1258
SHACKLEFORD, EARL W               7299 TONAWANDA CREEK RD                                                                 LOCKPORT          NY   14094
SHACKLEFORD, EDGAR                16800 MARK TWAIN ST                                                                     DETROIT           MI   48235‐4065
SHACKLEFORD, GEORGIA I            4467 STRAIGHT ARROW                                                                     DAYTON            OH   45430‐1520
SHACKLEFORD, HAROLD               440 MARATHON AVE                                                                        DAYTON            OH   45406‐4845
SHACKLEFORD, HELEN J              225 GREENHILL                                                                           WHITE LAKE        MI   48386
SHACKLEFORD, HELEN J              225 GREENHILL DR                                                                        WHITE LAKE        MI   48386‐1947
SHACKLEFORD, KEITH A              4411 LONGMEADOW LN                                                                      BEAVERCREEK       OH   45430‐1864
SHACKLEFORD, OTIS L               2859 BEAVER RD                                                                          UNION             KY   41091‐9038
SHACKLEFORD, RAYMOND              563 HEATHER DR #2 B                                                                     DAYTON            OH   45405
SHACKLEFORD, ROSETTA              3309 CONCORD ST                                                                         FLINT             MI   48504‐2925
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Name                        Address1                        Address2             Address3        Address4         City                 State Zip
SHACKLEFORD, SYLVIA P
SHACKLEFORD, THEOLA         3309 CONCORD                                                                          FLINT                MI    48504‐2925
SHACKLEFORD, THEOLA         3309 CONCORD ST                                                                       FLINT                MI    48504‐2925
SHACKLEFORD, THERESA A      1178 INWOOD RD                                                                        WILMINGTON           OH    45177
SHACKLEFORD, WALLACE        6017 PROTHROW ST                                                                      FORT WORTH           TX    76112‐7928
SHACKLEFORD, WILLIE E       6151 MAGNOLIA DR                                                                      MOUNT MORRIS         MI    48458
SHACKLES JAMES T (442215)   SIMMONS FIRM                    PO BOX 559                                            WOOD RIVER           IL    62095‐0559
SHACKLES, BRIAN S           36201 E GARDNER RD                                                                    OAK GROVE            MO    64075‐9619
SHACKLES, BRIAN SCOTT       36201 E GARDNER RD                                                                    OAK GROVE            MO    64075‐9619
SHACKLES, JAMES T           SIMMONS FIRM                    PO BOX 559                                            WOOD RIVER           IL    62095‐0559
SHACKLETT, LAWRENCE W       38025 CIRCLE DR                                                                       HARRISON TOWNSHIP    MI    48045‐2814
SHACKLEY, EDITH M           2201 26TH ST                                                                          BAY CITY             MI    48708‐8133
SHACKLEY, KATHARINE         32 CHURCH ST S 33                                                                     BRASHER FALLS        NY    13613
SHACKLEY, RICHARD A         230 CREWILLA DR NW                                                                    FORT WALTON BEACH    FL    32548‐3906
SHACKLOCK, ROY              82 LOPER ROAD                                                                         HADLEY               PA    16130‐2518
SHACKLOCK, SANDRA H         6810 FROGTOWN RD LOT 24                                                               HERMITAGE            PA    16148‐4821
SHACKS, KINMOST             PO BOX 1781                                                                           SAGINAW              MI    48605‐1781
SHACKS, WILLIE J            522 S WARREN AVE                                                                      SAGINAW              MI    48607
SHACONDA WARREN             4419 SEAWAY DR                                                                        LANSING              MI    48911‐2729
SHACONJULA A MATLOCK        3570 STONEHAVEN DR                                                                    FLORISSANT           MO    63033‐3945
SHACONJULA MCCARTHY         3570 STONEHAVEN DR                                                                    FLORISSANT           MO    63033‐3945
SHAD LAKO                   8265 CROFOOT RD                                                                       FOWLERVILLE          MI    48836‐9262
SHAD LEE                    1983 LARAMIE CIR                                                                      VIERA                FL    32940‐6361
SHAD, DEBORAH A             23221 LIBERTY ST                                                                      SAINT CLAIR SHORES   MI    48080‐1505
SHAD, DEBORAH A.            23221 LIBERTY ST                                                                      SAINT CLAIR SHORES   MI    48080‐1505
SHAD, SHARLENE J            74333 IRISH RIDGE RD                                                                  KIMBOLTON            OH    43749
SHADAKSHARAPPA GOWDARA      2919 MAC ARTHUR DR                                                                    SAINT CHARLES        MO    63301‐4067
SHADAKSHARAPPA, GOWDARA     2919 MAC ARTHUR DR                                                                    SAINT CHARLES        MO    63301‐4067
SHADARAM, HAMID             10208 SHADOWVIEW DR                                                                   OKLAHOMA CITY        OK    73159‐7568
SHADAWN BOSTON              14123 BOWSPRIT LN APT 305                                                             LAUREL               MD    20707
SHADBOLT, ROBERT L          1047 ALBANY ST                                                                        INDIANAPOLIS         IN    46203‐5202
SHADBURN RICKIE L           DBA RICKS SEPTIC SERVICE        313 O J EDMONDS RD                                    ALVATON              KY    42122‐9697
SHADD, JAMES L              6855 KEATS DR                                                                         DAYTON               OH    45414‐3260
SHADD, MINNIE D             546 SANDRALEE DR                                                                      TOLEDO               OH    43612‐3345
SHADDAY, AGNES              1124 GLENMORA GROVE WAY                                                               KNOXVILLE            TN    37923‐1555
SHADDAY, CURTIS E           5310 N ROAD 625 W                                                                     BARGERSVILLE         IN    46106‐9180
SHADDAY, DELORES M          426 N MAIN ST                                                                         TIPTON               IN    46072‐1316
SHADDAY, JERRY L            2891 W 200 N                                                                          TIPTON               IN    46072‐8433
SHADDAY, RICHARD E          5513 FRANCIS CT                                                                       INDIANAPOLIS         IN    46221‐3713
SHADDEN, JIMMY L            263 EMMANUEL RD                                                                       HARTSELLE            AL    35640
SHADDERS, BEVERLY A         16 TARRYTOWN DR                                                                       ROCHESTER            NY    14624‐3810
SHADDERS, GARY A            26 NORTHAMPTON CIR                                                                    ROCHESTER            NY    14612‐1428
SHADDERS, GARY A            PO BOX 458                                                                            LITTLE RIVER         SC    29566
SHADDERS, HELEN M           128 BRIGHT AUTUMN LANE                                                                ROCHESTER            NY    14626
SHADDERS, LINDA S           128 BRIGHT AUTUMN LN                                                                  ROCHESTER            NY    14626‐1279
SHADDERS, TERRENCE L        2 TYNEDALE WAY                                                                        NORTH CHILI          NY    14514‐9808
SHADDIX, MARGIE             173 HOLMES ‐ DRAKE RD                                                                 FALKVILLE            AL    35622
SHADDOCK, JAMES W           11269 SE STEVENS RD APT 105                                                           HAPPY VALLEY         OR    97086‐4518
SHADDOCK, JOHN P            11800 FRANCESCA CT                                                                    BRUCE TWP            MI    48065‐2630
SHADDOW, CHARITY A          254 EDGEBROOK RD                                                                      ROBBINSVILLE         NJ    08691‐3730
SHADDOW, MILTON G           39 COUNTRY LN                                                                         COLUMBUS             NJ    08022‐1136
SHADDOX, BOB D              3102 KIRK RD                                                                          SAN JOSE             CA    95124‐2442
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Name                   Address1                           Address2                        Address3   Address4         City              State Zip
SHADDUCK, J A          PO BOX 232                                                                                     DYER               NV 89010‐0232
SHADDUCK, JOSEPH E     354 KNIGHTS SHIELD WAY                                                                         NEKOOSA            WI 54457‐9001
SHADDUCK, MARYLYN J    6952 RAVENNA TRL                                                                               LANSING            MI 48917‐8857
SHADE BAILEY           3228 NEWTON‐BAILEY RD.S.W.                                                                     WARREN             OH 44481
SHADE EARL (447616)    BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                          PROFESSIONAL BLDG
SHADE H HACKNEY        4460 SWEETGUM PLACE                                                                            DAYTON            OH   45424‐5049
SHADE JR, EVERETT L    PO BOX 5243                                                                                    ASHEVILLE         NC   28813‐5243
SHADE JR, WILBUR H     PO BOX 704                                                                                     HASLETT           MI   48840‐0704
SHADE SHEPHERD         258 HIGHLAND PARK CIR                                                                          MC MINNVILLE      TN   37110‐6279
SHADE TREE GARAGE      171 WASHINGTON ST                                                                              MORRISTOWN        NJ   07960
SHADE VASSER JR        PO BOX 150321                                                                                  SAINT LOUIS       MO   63115‐8321
SHADE, ALLISON M       10826 MOUNTAIN SPRINGS D                                                                       CHARLOTTE         NC   28278
SHADE, BARBARA J.      1209 HASTINGS AVE                                                                              MIAMISBURG        OH   45342‐3525
SHADE, BOBBIE J        204 MAPLE ST RTE 3                                                                             LAKE ODESSA       MI   48849
SHADE, CRYSTAL K       301 TROY AVE                                                                                   MARTINSBURG       WV   25404‐5454
SHADE, DENNIS A        424 N COLUMBUS ST                                                                              CRESTLINE         OH   44827‐1418
SHADE, DENNIS K        1039 MEADOWRUN RD                                                                              ENGLEWOOD         OH   45322‐2261
SHADE, DONALD A        6984 SWAMP RD                                                                                  BYRON             NY   14422‐9745
SHADE, EARL            BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD        OH   44067
                                                          PROFESSIONAL BLDG
SHADE, ELLEN L         5664 PENN AVE                                                                                  KETTERING         OH   45432‐1727
SHADE, HENRY L         717 W BEAVER AVE                                                                               STATE COLLEGE     PA   16801‐3921
SHADE, JACK C          4321 FORESTVIEW CT                                                                             ENGLEWOOD         OH   45322‐2560
SHADE, JACK CLIFFORD   4321 FORESTVIEW CT                                                                             ENGLEWOOD         OH   45322‐2560
SHADE, JOY             85 WESLEY CT                                                                                   SPRINGBORO        OH   45066‐7460
SHADE, KIRK D          8295 ABERDEEN DR                                                                               LAMBERTVILLE      MI   48144‐9611
SHADE, LARRY R         23376 RT 34‐5                                                                                  STRYKER           OH   43557
SHADE, LOIS C          4321 FORESTVIEW CT                                                                             ENGLEWOOD         OH   45322‐2560
SHADE, MARVIN K        204 MAPLE ST RTE 3                                                                             LAKE ODESSA       MI   48849
SHADE, MARY E          APT 207                            5770 WEST CENTINELA AVENUE                                  LOS ANGELES       CA   90045‐8823
SHADE, MICHAEL L       357 RIO BRAVO DR                                                                               FAIRVIEW          TX   75069‐4193
SHADE, PEARL A         504 HARRIET AVE                                                                                LANSING           MI   48917‐2710
SHADE, PEARL A         504 HARRIET ST                                                                                 LANSING           MI   48917‐2710
SHADE, PHYLLIS J       2709 N KINGS ARMS CIR                                                                          CENTERVILLE       OH   45440‐2309
SHADE, RAYMOND W       1285 MONROE ORLEANS COUNTY LINE RD                                                             KENDALL           NY   14476‐9700

SHADE, RICHARD A       85 WESLEY CT                                                                                   SPRINGBORO        OH   45066‐7460
SHADE, RICHARD L       930 GOLDEN BEECH DR                                                                            BROOKVILLE        OH   45309‐8626
SHADE, RITA B          980 WILMINGTON AVE 1020                                                                        DAYTON            OH   45420‐1625
SHADE, ROBERT E        204 HAZELWOOD AVE SE                                                                           WARREN            OH   44483‐6136
SHADE, RODNEY A        55 GINGHAMSBURG RD                                                                             TIPP CITY         OH   45371‐9180
SHADE, RONALD E        13776 TIMBERVIEW DR                                                                            SHELBY TOWNSHIP   MI   48315‐2060
SHADE, RUBY A          55 GINGHAMSBURG ROAD                                                                           TIP CITY          OH   45371‐5371
SHADE, SHERYL L        2966 PEBBLESTONE DR                                                                            HUDSONVILLE       MI   49426‐8769
SHADE, SUSANNE L       PO BOX 294                                                                                     FLORENCE          TX   76527‐0294
SHADE, SUSANNE L       P.O BOX 294                                                                                    FLORENCE          TX   76527
SHADE, THELMA J        541 GREENLAWN AVE.                                                                             VERSAILLES        OH   45380
SHADE, VIVIAN E        3307 SHELLEY DR                                                                                MANSFIELD         OH   44903‐8605
SHADE, VIVIAN ELAINE   3307 SHELLEY DR                                                                                MANSFIELD         OH   44903‐8605
SHADEL, NETTIE         3059 STATE ROUTE 39                                                                            SHELBY            OH   44875‐9467
SHADEL, NETTIE         3059 ST. RT. 39                                                                                SHELBY            OH   44875‐9467
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Name                        Address1                       Address2                Address3              Address4         City           State Zip
SHADER RON                  140 WISTERIA DR                                                                               LONGWOOD        FL 32779‐4937
SHADER, CHRISTINE C         761 WOODBINE AVE SE                                                                           WARREN          OH 44484‐4264
SHADER, G C                 1222 NICHOL AVE                                                                               ANDERSON        IN 46016‐3352
SHADER, JULIA P             7441 PHILATELIC DR                                                                            SPRING HILL     FL 34606‐6720
SHADER, ROBERT A            10603 PARKHURST CT                                                                            LOUISVILLE      KY 40291‐5304
SHADER, STEPHEN V           1550 STEPNEY ST.                                                                              NILES           OH 44446‐3738
SHADER, THOMAS V            7441 PHILATELIC DR                                                                            SPRING HILL     FL 34606‐6720
SHADETREE AUTO REPAIR       US HIGHWAY 14 W                                                                               TYLER           MN 56178
SHADETREE AUTOMOTIVE        1635 N EL CAMINO REAL                                                                         SAN CLEMENTE    CA 92672‐4964
SHADI, JULIUS M             3553 FRANCIS BLVD                                                                             BRUNSWICK       OH 44212‐2278
SHADIK, KRISTY B            28218 HEATHER WAY                                                                             ROMULUS         MI 48174‐2966
SHADIX, CHARLES V           4172 RED OAK DR                                                                               WINSTON         GA 30187‐1011
SHADLAK, KENNETH P          54059 BARTRAM DR                                                                              MACOMB          MI 48042‐2203
SHADLAK, KENNETH PAUL       54059 BARTRAM DR                                                                              MACOMB          MI 48042‐2203
SHADLE, BEVERLY J           4527 UPPER SOUTH POINT DR                                                                     LOOGOOTEE       IN 47553‐5524
SHADLE, EUNICE M            1808 OLD MEADOW RD APT 1218                                                                   MC LEAN         VA 22102‐1833
SHADLE, GRACE               322 GLENDALE RD                                                                               MURRAY          KY 42071‐3081
SHADLE, GRACE               322 GLENDALE PL                                                                               MURRAY          KY 42071‐3081
SHADLE, KENNETH E           4820 MEDFIELD WAY APT K                                                                       COLUMBUS        OH 43228‐1287
SHADLER, DAVID J            8548 DRIFTWOOD DR                                                                             TEMPERANCE      MI 48182‐9414
SHADLEY, JAMES M            8337 RIDGE RD                                                                                 GOODRICH        MI 48438
SHADLEY, JAMES MICHAEL      0337 RIDGE RD.                                                                                GOODRICH        MI 48438‐9482
SHADLEY, JANET L            4509 LEWISBURG WESTERN RD                                                                     LEWISBURG       OH 45338‐9557
SHADLEY, MARY L             PO BOX 133                                                                                    WALDRON         IN 46182‐0133
SHADLEY, YUMIKO             501 NW 43RD TER                                                                               KANSAS CITY     MO 64116‐1603
SHADOAN, KENDRICK L         3319 W 31ST ST                                                                                MUNCIE          IN 47302‐6521
SHADOW PUBLIC RELATIONS     1123 BROADWAY STE 517                                                                         NEW YORK        NY 10010‐2091
SHADOW, JAMES K             PO BOX 176                                                                                    PAW PAW         MI 49079‐0176
SHADOWENS, BILLY R          21997 WENDELL ST                                                                              CLINTON TWP     MI 48036‐2652
SHADOWENS, BRIAN K          3545 HEATHWOOD DRIVE                                                                          TIPP CITY       OH 45371‐8824
SHADOWENS, DENNIS W         4557 LEE DR NW                                                                                CLEVELAND       TN 37312‐1642
SHADOWENS, JOSEPH C         PO BOX 457                                                                                    DE BERRY        TX 75639‐0457
SHADOWENS, ROBIN A          336 GRACELAND DR                                                                              W CARROLLTON    OH 45449‐1585
SHADOWENS, WILLIAM W        5612 HOLLYHOCK DR                                                                             W CARROLLTON    OH 45449‐2916
SHADRACH, BRUCE E           8 CARTWRIGHT PL                                                                               KETTERING       OH 45420‐2909
SHADRICK OVERSTREET         414 SAINT CHRISTOPHER DR                                                                      O FALLON        MO 63366‐2220
SHADRICK, CHARMAIN
SHADRICK, CLAUDE E          17180 GARDENIA ST                                                                             KILN           MS   39556‐8276
SHADRICK, DANIEL W          13629 W PARK DR                                                                               MAGALIA        CA   95954‐9502
SHADRICK, HAROLD E          PO BOX 353                                                                                    JACKSBORO      TN   37757‐0353
SHADRICK, JACK A            6228 S IVY LN                                                                                 BELOIT         WI   53511‐9439
SHADRICK, MICHAEL P         6105 N KENNEDY RD                                                                             MILTON         WI   53563
SHADRICK, MICHAEL R         1345 TURNPIKE RD                                                                              SUMMERTOWN     TN   38483‐7255
SHADRICKS I I I, ERNEST L   16872 PRINCETON ST                                                                            DETROIT        MI   48221‐3157
SHADRICKS III, ERNEST L     16872 PRINCETON ST                                                                            DETROIT        MI   48221‐3157
SHADWICK ELMER L            SHADWICK ELMER L               C/O EDWARD O MOODY PA   801 WEST 4TH STREET                    LITTLE ROCK    AR   72201
SHADWICK, DICKEY L          1244 ROMAN DR                                                                                 FLINT          MI   48507‐4016
SHADWICK, ELMER L           MOODY EDWARD O                 801 W 4TH ST                                                   LITTLE ROCK    AR   72201‐2107
SHADWICK, SCOTT L           1634 BEECH DR N                                                                               PLAINFIELD     IN   46168‐2129
SHADY CREEK TRUCKING INC    PO BOX 514                                                                                    GEORGETOWN     KY   40324‐0514
SHADY, SHIRLEY M            5200 TIMBER GREEN DR                                                                          ARLINGTON      TX   76016‐3324
SHADY‐KING, BECKETT J       504 ACACIA LN                                                                                 NOKOMIS        FL   34275‐1902
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Name                        Address1                       Address2                         Address3   Address4         City              State Zip
SHAEFER, MARIE C            7429 LAKE SHORE BLVD                                                                        MENTOR             OH 44060‐3556
SHAEFER, MARIE C            7429 LAKESHORE BLVD                                                                         MENTOR             OH 44060‐3556
SHAEFFER LEON E (486006)    BARON & BUDD                   3102 OAK LANE AVE , SUITE 1100                               DALLAS             TX 75219
SHAEFFER, BELINDA           1109 JACKSON AVE                                                                            ROCK RAPIDS         IA 51246‐7545
SHAEFFER, DIANE M           14844 CHATHAM DR                                                                            SHELBY TOWNSHIP    MI 48315‐1504
SHAEFFER, JUSTIN            5 PENNRIDGE AVE                                                                             MOUNTVILLE         PA 17554‐1045
SHAEFFER, LEON E            BARON & BUDD                   3102 OAK LANE AVE, SUITE 1100                                DALLAS             TX 75219
SHAEFFER, LLOYD E           165 COACH DR                                                                                TIPP CITY          OH 45371‐2211
SHAEFFER, MICHAEL E         1362 OAKROCK LN                                                                             ROCHESTER HILLS    MI 48309‐1727
SHAEFFER, PAUL F            1024 LEWISBURG‐WESTERN RD R2                                                                LEWISBURG          OH 45338
SHAEFFER, PAUL J            1024 LEWISBURG WESTERN RD                                                                   LEWISBURG          OH 45338‐9091
SHAEFFER, ROBERT T          207 TRENT ST                                                                                HOLLISTER          MO 65672
SHAEFFER, ROBERT T          6527 WALTON ST                                                                              INDIANAPOLIS       IN 46241‐1044
SHAEFFER, RONALD T          29046 THISTLE LN                                                                            HARRISON TWP       MI 48045‐6023
SHAENA V SHANER             1931 S HOYT AVE                                                                             MUNCIE             IN 47302‐3042
SHAFAF, REZA                321 SW ASCOT DR                                                                             LEES SUMMIT        MO 64082‐4421
SHAFEEK, BERIEL             4438 SATELLITE AVE                                                                          DAYTON             OH 45415‐1824
SHAFEEK, WILLIE M           3102 GARVIN RD                                                                              DAYTON             OH 45405‐2009
SHAFER DELBERT G            40735 STATE ROUTE 558                                                                       LEETONIA           OH 44431‐9629
SHAFER FRANK L (439496)     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                           STREET, SUITE 600
SHAFER JACK W (439497)      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510
                                                           STREET, SUITE 600
SHAFER JR, ARTHUR L         5681 S BANCROFT RD                                                                          DURAND            MI   48429‐9153
SHAFER JR, RICHARD E        250 SHORT ST                                                                                W JEFFERSON       OH   43162‐1354
SHAFER JR, RICHARD EUGENE   250 SHORT ST                                                                                W JEFFERSON       OH   43162‐1354
SHAFER LENA                 1441 CHAMBERRY CIRCLE                                                                       HAYMARKET         VA   20169
SHAFER NICHOLAS             SHAFER, NICHOLAS               709 MAPLE STREET                                             MOUNT VERNON      IL   62864
SHAFER SR., GERALD G        8807 MADISON AVE APT 204B                                                                   INDIANAPOLIS      IN   46227‐6426
SHAFER, ALICE J             6448 ORIOLE DR                                                                              FLINT             MI   48506‐1723
SHAFER, ALLEN L             20825 WILDCAT LN                                                                            SPRING HILL       KS   66083‐8509
SHAFER, ARRON BEAU          2300 CONNELL ST                                                                             BURTON            MI   48529‐1337
SHAFER, AUDREY J            450 STROUSE LN                                                                              SANDUSKY          OH   44870‐1419
SHAFER, BARBARA S           766 PERKINSWOOD N.E.                                                                        WARREN            OH   44483‐4412
SHAFER, BARRY J             2605 N BRENNAN RD                                                                           HEMLOCK           MI   48626‐9669
SHAFER, BERNARD L           994 N CHANNEL DR                                                                            HARSENS ISLAND    MI   48028‐9453
SHAFER, BETTY J             522 HEISS AVE                                                                               DAYTON            OH   45403‐3013
SHAFER, BETTY J             522 HEISS ST                                                                                DAYTON            OH   45403‐3013
SHAFER, BETTY M             1121 JAMES WAY                                                                              ANDERSON          IN   46011‐1093
SHAFER, BETTY Z             1081 COLLAR PRICE RD SE                                                                     BROOKFIELD        OH   44403‐9778
SHAFER, BOB R               1605 BEVERLY DR                                                                             SAINT CHARLES     MO   63303‐4007
SHAFER, BRIAN K             18494 ROAD 10                                                                               COLUMBUS GRV      OH   45830‐9503
SHAFER, CARL A              2827 ELMHURST AVE                                                                           ROYAL OAK         MI   48073‐3014
SHAFER, CAROLYN A           5861 BRENDA CT                                                                              GREENWOOD         IN   46143‐9183
SHAFER, CATHERINE           7445 E COLE RD                                                                              DURAND            MI   48429‐9426
SHAFER, CECIL V             PO BOX 1288                                                                                 CONGRESS          AZ   85332‐1288
SHAFER, CHRISTOPHER J       44 LYMAN AVE                                                                                CHEEKTOWAGA       NY   14225‐4539
SHAFER, CLAYTON H           304 N VICKERY LN                                                                            MARION            IN   46952‐3005
SHAFER, CLINT R             1101 S CALDWELL DR                                                                          MIDWEST CITY      OK   73130‐5420
SHAFER, CYNTHIA C           1600 CHATEAU LN                                                                             MANSFIELD         TX   76063‐6287
SHAFER, DANIEL E            10400                          SOUTH REED                                                   DURAND            MI   48429
SHAFER, DAVID J             11944 SHAFER LN                                                                             DOWLING           MI   49050‐8806
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Name                  Address1                       Address2                      Address3   Address4         City               State Zip
SHAFER, DAVID L       6375 W ALLAN RD                                                                          HENDERSON           MI 48841‐9744
SHAFER, DAVID L       432 ALEXANDER RD                                                                         EATON               OH 45320‐9253
SHAFER, DEAN A        5670 KLAM RD                                                                             COLUMBIAVILLE       MI 48421‐9342
SHAFER, DEAN ALLEN    5670 KLAM RD                                                                             COLUMBIAVILLE       MI 48421‐9342
SHAFER, DELBERT G     40735 STATE ROUTE 558                                                                    LEETONIA            OH 44431‐9629
SHAFER, DELBERT S     318 KENILWORTH S.E.                                                                      WARREN              OH 44483‐6016
SHAFER, DIANNA V      6111 RIDGEVIEW DR                                                                        ANDERSON            IN 46013‐9642
SHAFER, DONALD K      328 E MAIN ST APT 320                                                                    ROCHESTER           NY 14604
SHAFER, DONALD R      7845 WINDHAM RD                                                                          TIPP CITY           OH 45371‐9049
SHAFER, DONNA D       5205 CRAIG AVE NW                                                                        WARREN              OH 44483‐1237
SHAFER, DONNA D       5205 CRAIG NW                                                                            WARREN              OH 44483‐4483
SHAFER, ELIZABETH     1119TH 13 SOUTHRIDGEWAY        APT #4                                                    ALSIP                IL 60803
SHAFER, ELMER R       2520 MELODY LN                                                                           ANDERSON            IN 46012‐1941
SHAFER, ERIC V        24241 COUNTY RD I 22                                                                     CLOVERDALE          OH 45827
SHAFER, FRANK L       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                     STREET, SUITE 600
SHAFER, GARY L        484 S BALDWIN RD                                                                         OXFORD             MI   48371‐4110
SHAFER, GAYLE R       6112 MEADOWVIEW DR                                                                       CANTON             MI   48187‐4750
SHAFER, GLENDA J      3212 NILES CORTLAND RD NE                                                                CORTLAND           OH   44410‐1740
SHAFER, GLENN A       5000 PINE VALLEY DRIVE                                                                   ZANESVILLE         OH   43701‐6619
SHAFER, HARLESS P     4191 MANCHESTER RD                                                                       PERRY              OH   44081‐9647
SHAFER, HAROLD A      6114 N GALE RD                                                                           DAVISON            MI   48423‐8902
SHAFER, JACK W        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                     STREET, SUITE 600
SHAFER, JASON R       9886 HOLLOW TREE DRIVE                                                                   TIPP CITY          OH   45371‐9199
SHAFER, JEAN M        3053 CLARICE ST                                                                          BURTON             MI   48529‐1076
SHAFER, JESSICA A     7184 RUCKER ST                                                                           AZLE               TX   76020‐7136
SHAFER, JOHN J        12221 WILSON RD                                                                          MONTROSE           MI   48457‐9427
SHAFER, JON R         336 FEDERAL DR                                                                           CHESTERFIELD       IN   46017‐1528
SHAFER, JUDITH A      PO BOX 61                                                                                UNION HALL         VA   24176‐0061
SHAFER, KEITH L       3750 WEST BEAR LAKE ROAD                                                                 HILLSDALE          MI   49242‐9634
SHAFER, KEITH V       5861 BRENDA CT                                                                           GREENWOOD          IN   46143‐9183
SHAFER, LESLIE ERIN   2300 CONNELL ST                                                                          BURTON             MI   48529‐1337
SHAFER, LISA S.       24400 LAKEVIEW PLACE                                                                     PUNTA GORDA        FL   33980‐5235
SHAFER, LOUIS E       1576 TOMLINSON RD                                                                        MASON              MI   48854‐9257
SHAFER, LYLE E        4466 DOVE RD                                                                             PORT HURON         MI   48060‐7443
SHAFER, MARGARET L    320 ANN ST                                                                               MASON              MI   48854
SHAFER, MARGARET O    PO BOX 510339                                                                            PUNTA GORDA        FL   33951‐0339
SHAFER, MARION L      316 INDIAN AVE                                                                           ARGOS              IN   46501
SHAFER, MARION L      316 INDIANA AVE                                                                          ARGOS              IN   46501‐1016
SHAFER, MARK L        2374 WHITEFIELD DR                                                                       WOODBURY           MN   55125‐3530
SHAFER, MARK S        21975 LEYTE ST                                                                           FARMINGTON HILLS   MI   48336‐6040
SHAFER, MARTHA A      357 SYCAMORE GLEN DRIVE                                                                  MIAMISBURG         OH   45342‐5342
SHAFER, MARTIN W      4315 SW VIEW POINT TER                                                                   PORTLAND           OR   97239‐4023
SHAFER, MELISSA D     2781 LAKESIDE DR                                                                         MANSFIELD          OH   44904‐1440
SHAFER, MELONY J      546 N JAMES ST                                                                           EAST PALESTINE     OH   44413‐2204
SHAFER, MELVIN K      11924 BURTON ST                                                                          CLERMONT           FL   34711‐8853
SHAFER, MONIE R       7150 WEST JENNINGS ROAD                                                                  LAKE CITY          MI   49651‐9055
SHAFER, MONTY C       8665 S PARSONS AVE                                                                       NEWAYGO            MI   49337‐9708
SHAFER, NANCY G       12014 ELM DR                                                                             BLUE ISLAND        IL   60406‐1018
SHAFER, NEIL A        121 YOCKEY RD                                                                            MITCHELL           IN   47446‐6909
SHAFER, NEIL ALLEN    121 YOCKEY RD                                                                            MITCHELL           IN   47446‐6909
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Name                                   Address1                         Address2            Address3         Address4         City               State Zip
SHAFER, NICHOLAS                       709 MAPLE ST                                                                           MOUNT VERNON         IL 62864‐3617
SHAFER, NORMA L                        811 SE 6TH AVE                                                                         POMPANO BEACH       FL 33060‐8139
SHAFER, NORMAN E                       HC 81 BOX 280 N                                                                        LEWISBURG           WV 24901
SHAFER, PATRICIA J                     5517 SUGAR LOAF DR                                                                     GRAND BLANC         MI 48439‐9155
SHAFER, RALPH J                        5517 SUGARLOAF DR                                                                      GRAND BLANC         MI 48439‐9155
SHAFER, RANDALL L                      4624 BROOKMEADOW DR SE                                                                 GRAND RAPIDS        MI 49512‐5427
SHAFER, RAY F                          3604 SHERWOOD AVE                                                                      NIAGARA FALLS       NY 14301‐2718
SHAFER, RICHARD E                      8299 BISCAYNE CT                                                                       SALINE              MI 48176‐9255
SHAFER, RICHARD G                      PO BOX 2529                                                                            VENTURA             CA 93002‐2529
SHAFER, RICHARD J                      522 HEISS AVE                                                                          DAYTON              OH 45403‐3013
SHAFER, RICHARD L                      1516 W 8TH ST                                                                          MUNCIE              IN 47302‐2113
SHAFER, RICHARD L                      24 BROOKFIELD                                                                          SWARTZ CREEK        MI 48473‐1297
SHAFER, RICHARD LEE                    24 BROOKFIELD                                                                          SWARTZ CREEK        MI 48473‐1297
SHAFER, ROBERT                         7184 RUCKER ST                                                                         AZLE                TX 76020‐7136
SHAFER, ROBERT D                       1039 S DYE RD                                                                          FLINT               MI 48532‐3314
SHAFER, ROBERT L                       1009 RICHLAND ST                                                                       MAUMEE              OH 43537‐3233
SHAFER, ROBERT P                       5210 ARBOLES DR APT B1                                                                 HOUSTON             TX 77035‐2836
SHAFER, RONALD C                       1365 E GRAND RIVER AVE                                                                 IONIA               MI 48846‐9430
SHAFER, RONALD E                       27 CHIPPEWA DR                                                                         MILAN               OH 44846‐9762
SHAFER, RUBY C                         275 RHODES DR                                                                          MARIETTA            GA 30068‐3675
SHAFER, RUBY I                         27229 WALNUT DR                                                                        EAGLE ROCK          MO 65641
SHAFER, RUSSELL P                      5682 AUSTIN RD                                                                         SALINE              MI 48176‐9603
SHAFER, RUSSELL P                      5682 AUSTIN ROAD                                                                       SALINE              MI 48176‐9603
SHAFER, SADIE C                        4191 MANCHESTER RD                                                                     PERRY               OH 44081‐9647
SHAFER, SANDRA H                       1935 WESTWOOD DR NW                                                                    WARREN              OH 44485‐1443
SHAFER, SHIRLEY A                      23 WEST 14TH ST                                                                        TILTON               IL 61833‐7505
SHAFER, SHIRLEY A                      23 W 14TH ST                                                                           TILTON               IL 61833‐7505
SHAFER, SHIRLEY L                      2100 CHATFIELD LANE                                                                    LAPEER              MI 48446‐8041
SHAFER, SONDRA                         78 SHERBROOK RD                                                                        MANSFIELD           OH 44907‐2448
SHAFER, STEVEN L                       721 ARLETTA GLEN DR                                                                    GAS CITY            IN 46933‐1400
SHAFER, STEWART M                      760 N VAN DYKE RD                                                                      IMLAY CITY          MI 48444‐1107
SHAFER, STEWART MICHAEL                760 N VAN DYKE RD                                                                      IMLAY CITY          MI 48444‐1107
SHAFER, TERRY J                        1633 MIXER RD                                                                          HASTINGS            MI 49058‐8762
SHAFER, TERRY W                        517 ASH LN                                                                             GAS CITY            IN 46933‐1206
SHAFER, THOMAS E                       766 PERKINSWOOD N.E.                                                                   WARREN              OH 44483‐4412
SHAFER, THOMAS L                       16605 E PALISADES BLVD STE 110   PMB196                                                FOUNTAIN HILLS      AZ 85268‐3716
SHAFER, TIMOTHY                        235 WEST MAIN STREET                                                                   HALE                MI 48739‐9244
SHAFER, TREVA W                        805 WAYNE ST                                                                           GREENVILLE          OH 45331‐2264
SHAFER, VERONICA B                     205 MAIN ST                                                                            PARKVILLE           MO 64152‐3733
SHAFER, VERONICA BILLIE                205 MAIN ST                                                                            PARKVILLE           MO 64152‐3733
SHAFER, WILLIAM E                      HC 30 BOX 97                                                                           CALDWELL            WV 24925‐9708
SHAFER`S CLASSIC REPRODUCTIONS, INC.   PATRICIA M. SHAFER               5407 24TH AVE S                                       TAMPA               FL 33619‐5370

SHAFERLY, DAWN M                       4228 CRANBERRY LN                                                                      SYLVANIA           OH   43560‐4476
SHAFF, GENEVIEVE                       595 EL CAMINO REAL N SPC 139                                                           SALINAS            CA   93907‐1662
SHAFF, GENEVIEVE                       595 N EL CAMINO REAL SPACE 139                                                         SALINAS            CA   93907‐1630
SHAFF, JANE                            361 BAY FRONT LN N                                                                     ROCHESTER          NY   14622‐3302
SHAFF, ROBERT K                        1208 BUDDHA RD                                                                         BEDFORD            IN   47421‐7717
SHAFFEE AHMAD                          SANNASSEE ENTERPRISES INC
SHAFFEE AHMAD                          SHAFFEE, AHMAD
SHAFFER BOYD                           18292 SNOWDEN ST                                                                       DETROIT            MI 48235‐1461
SHAFFER BOYD                           29211 SUNRIDGE                                                                         FARMINGTON HILLS   MI 48334‐4012
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Name                                  Address1                       Address2                         Address3   Address4         City              State Zip
SHAFFER CARSON (459328)               GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                                     STREET, SUITE 600
SHAFFER CHARLES E                     2620 S DUCK CREEK RD                                                                        NORTH JACKSON     OH    44451
SHAFFER DAVID F (491696)              BARON & BUDD                   3102 OAK LANE AVE , SUITE 1100                               DALLAS            TX    75219
SHAFFER DISTRIBUTING COMPANY          PO BOX 12427                                                                                COLUMBUS          OH    43212‐0427
SHAFFER GMC TRUCK                     RTE 7 W                                                                                     KINGWOOD          WV    26537
SHAFFER HARRY                         SHAFFER, CHRISTINA             1735 LINCOLN WAY                                             WHITE OAK         PA    15131‐1715
SHAFFER HARRY                         SHAFFER, HARRY                 1735 LINCOLN WAY                                             WHITE OAK         PA    15131‐1715
SHAFFER HARRY                         SHAFFER, LAURA MINOR           1735 LINCOLN WAY                                             WHITE OAK         PA    15131‐1715
SHAFFER HARRY                         SHAFFER, SARAH MINOR           1735 LINCOLN WAY                                             WHITE OAK         PA    15131‐1715
SHAFFER HOPSON                        8825 ALLMAN RD                                                                              LENEXA            KS    66219‐2726
SHAFFER I I, RONALD L                 2701 W CHAPEL PIKE                                                                          MARION            IN    46952‐9275
SHAFFER II, RONALD L                  2701 W CHAPEL PIKE                                                                          MARION            IN    46952‐9275
SHAFFER JACK & REBECCA                557 OAK KNOLL AVE SE                                                                        WARREN            OH    44483‐6042
SHAFFER JACK A                        2620 S DUCK CREEK RD                                                                        NORTH JACKSON     OH    44451‐9681
SHAFFER JAMES & PHYLLIS               4128 RIVER CLIFF CHASE SE                                                                   MARIETTA          GA    30067‐4745
SHAFFER JANE                          1139 KINGS ROW                                                                              WATERLOO          NY    13165‐8793
SHAFFER JOSEPH A (495863)             ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                                     WILMINGTON        DE    19801‐1813
SHAFFER JR, GLENN W                   3525 HOOD LN                                                                                SOUTHSIDE         AL    35907‐7094
SHAFFER JR, HARRY C                   65690 GRAMER RD                                                                             LENOX             MI    48050‐1771
SHAFFER JR, HERBERT H                 30 OWL HOLLOW LN BOX 284                                                                    WOOLRICH          PA    17779
SHAFFER JR, JOSEPH B                  1895 OHLTOWN MCDONALD RD                                                                    MC DONALD         OH    44437‐1362
SHAFFER JR, ROBERT M                  2484 MARENGO AVENUE                                                                         ALTADENA          CA    91001‐2260
SHAFFER LARRY L & HELEN E             1725 SUNSET DRIVE NORTHEAST                                                                 WARREN            OH    44483‐5334
SHAFFER LINDA C                       618 EDISON AVE                                                                              JANESVILLE        WI    53546‐3121
SHAFFER MARVIN (447621)               BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD        OH    44067
                                                                     PROFESSIONAL BLDG
SHAFFER MARY LOU (433285) ‐ SHAFFER   YOUNG RILEY DUDLEY & DEBROTA   3815 RIVER CROSSING PARKWAY                                  INDIANAPOLIS       IN   46240
LEO
SHAFFER MATTHEW                       SHAFFER, MATTHEW               30928 FORD RD                                                GARDEN CITY       MI    48135‐1803
SHAFFER SHANAN                        SHAFFER, SHANAN                30 E BUTLER AVE                                              AMBLER            PA    19002‐4514
SHAFFER TODD                          755 LAURELWOOD CIR                                                                          BOWLING GREEN     KY    42103‐6008
SHAFFER TOYOTA, CHEVROLET             10355 MOUNT SAVAGE RD NW                                                                    CUMBERLAND        MD    21502‐4925
SHAFFER TRUCKING INC                  PO BOX 487                                                                                  DOVER             OH    44622‐0487
SHAFFER WILLIAM (447623)              BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD        OH    44067
                                                                     PROFESSIONAL BLDG
SHAFFER WILLIAM (449658)              KELLEY & FERRARO LLP           1300 EAST NINTH STREET , 1901                                CLEVELAND         OH 44114
                                                                     BOND COURT BUILDING
SHAFFER'S AUTO & DIESEL REPAIR LLC    7295 GREENWOOD RD                                                                           SHREVEPORT        LA    71119‐8102
SHAFFER, AEKYUNG                      278 HUNTERWOOD WAY                                                                          BOWLING GREEN     KY    42103‐7066
SHAFFER, ALICE M                      95 W 10TH ST                                                                                GREENVILLE        PA    16125‐8225
SHAFFER, ALLAN G                      1244 HOLLYWOOD ST NE                                                                        WARREN            OH    44483‐4150
SHAFFER, ALTON W                      14790 HOLLEY RD                                                                             ALBION            NY    14411‐9573
SHAFFER, ANDREW J                     2201 LINDALAN DR                                                                            MCKEESPORT        PA    15135‐3013
SHAFFER, ANN M                        7144 PENDALE CIR                                                                            NORTH TONAWANDA   NY    14120‐9713
SHAFFER, ANN MARIE                    7144 PENDALE CIR                                                                            NORTH TONAWANDA   NY    14120‐9713
SHAFFER, ANTOINETTE C                 1895 OLDTOWN‐MCDONALD RD                                                                    MC DONALD         OH    44437
SHAFFER, ARLENE M                     105 CHALLENGER AVE                                                                          DAVENPORT         FL    33897‐9602
SHAFFER, ARNOLD D                     5996 BARNES RD                                                                              MILLINGTON        MI    48746‐9436
SHAFFER, BARBARA                      27077 GLENSIDE LN                                                                           OLMSTED FALLS     OH    44138‐3170
SHAFFER, BARBARA J                    5750 TIMPSON AVE SE                                                                         ALTO              MI    49302‐9139
SHAFFER, BENNIE J                     12841 S ARAPAHO DR                                                                          OLATHE            KS    66062‐1427
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Name                     Address1                        Address2                        Address3   Address4         City               State Zip
SHAFFER, BERNICE M       11265 GEIB AVE NE               C/O JAMES SHAFFER                                           HARTVILLE           OH 44632‐8723
SHAFFER, BERNICE M       C/O JAMES SHAFFER               11265 GEIB AVENUE NE                                        HARTVILLE           OH 44632
SHAFFER, BETTIE J        18454 MONICA ST                                                                             DETROIT             MI 48221‐2128
SHAFFER, BETTY J         399W ‐ 400S                                                                                 LOGANSPORT          IN 46947
SHAFFER, BETTY L         6655 MAPLE CT N.E.                                                                          KINSMAN             OH 44428‐9568
SHAFFER, BETTY L         6655 MAPLE CT                                                                               KINSMAN             OH 44428‐9568
SHAFFER, BLANCHE ELSIE   2404 GREYTWIG DR                                                                            KOKOMO              IN 46902‐4519
SHAFFER, BOBBIE E        1706 15TH AVE SW                                                                            VERO BEACH          FL 32962‐6880
SHAFFER, BONNIE B        4840 BIG CREEK RD                                                                           HARTFORD            TN 37753‐2417
SHAFFER, BONNIE J        1937 N 73RD TERRACE APT 7                                                                   KANSAS CITY         KS 66112‐2363
SHAFFER, BRADLEY D       7144 PENDALE CIR                                                                            NORTH TONAWANDA     NY 14120‐9713
SHAFFER, BRIAN           4231 PARKS BRANCH LANE                                                                      KATY                TX 77494‐1054
SHAFFER, BRUCE M         1111 ALBRIGHT MCKAY RD NE                                                                   BROOKFIELD          OH 44403‐9771
SHAFFER, CARL J          1124 N CUMMINGS RD                                                                          DAVISON             MI 48423‐8122
SHAFFER, CARSON          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510‐2212
                                                         STREET, SUITE 600
SHAFFER, CARY            1695 S TURNER RD                                                                            AUSTINTOWN         OH   44515‐4342
SHAFFER, CATHERINE T     3616 BIG WOODS RD                                                                           KINGSTREE          SC   29556‐4858
SHAFFER, CHARLES         5355 ELMWOOD DR                                                                             PITTSBURGH         PA   15227‐3631
SHAFFER, CHARLES J       439 E WASHINGTON ST                                                                         BUNKER HILL        IN   46914‐9000
SHAFFER, CHARLES P       42187 ASPEN CT                                                                              CLINTON TOWNSHIP   MI   48038‐5261
SHAFFER, CHERYL A        1936 W PARKS RD                                                                             SAINT JOHNS        MI   48879‐9262
SHAFFER, CHRISTINA
SHAFFER, CHRISTOPHER F   2877 E BROAD ST.                APT B8                                                      BEXLEY             OH   43209‐3209
SHAFFER, CHRISTOPHER F   19301 SEWARD PLZ APT 217                                                                    ELKHORN            NE   58022‐6476
SHAFFER, CLARK M         515 PENNSYLVANIA AVE                                                                        MANSFIELD          OH   44905‐2162
SHAFFER, CLINTON J       5908 ANKNEYTOWN RD                                                                          BELLVILLE          OH   44813‐8953
SHAFFER, CLYDE M         5512 BLISS RD                                                                               SARANAC            MI   48881‐9600
SHAFFER, CYNTHIA M       1806 MAURNEE DR                                                                             DAFIANCE           OH   43512
SHAFFER, DANIEL          119 NAVAJO TRAIL                                                                            MONTPELIER         OH   43543
SHAFFER, DANIEL ‐        9374 DEF WILLIAMS CO LINE RD                                                                BRYAN              OH   43506
SHAFFER, DANIEL C        10885 CEDAR RD                                                                              CLARENCE CTR       NY   14032‐9218
SHAFFER, DANIEL L        220 SWAFFORD RD                                                                             BATESVILLE         AR   72501‐9203
SHAFFER, DANIEL R        5330 GOSHEN RD                  LOT 232                                                     FORT WAYNE         IN   46818‐9032
SHAFFER, DANIEL R        5330 GOSHEN RD LOT 232                                                                      FORT WAYNE         IN   46818‐9032
SHAFFER, DANNY N         21295 ROAD 82                                                                               OAKWOOD            OH   45873‐9403
SHAFFER, DANNY NOLAN     21295 ROAD 82                                                                               OAKWOOD            OH   45873‐9403
SHAFFER, DAVID A         2004 WIGEON ST                                                                              GRANBURY           TX   76049‐5569
SHAFFER, DAVID F         BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                               DALLAS             TX   75219
SHAFFER, DAVID G         919 BUFFALO TRL                                                                             GARDNER            KS   66030‐1575
SHAFFER, DAVID L         1240 STATE ROUTE 60 S                                                                       NEW LONDON         OH   44851‐9202
SHAFFER, DAVID L         1202 WOODLAND ST NE                                                                         WARREN             OH   44483‐5119
SHAFFER, DAVID M         201 FOREST DR                                                                               LONGS              SC   29568‐5804
SHAFFER, DAVID T         PO BOX 562                                                                                  LYNCHBURG          OH   45142‐0562
SHAFFER, DIANE E         12283 WOODSIDE DR APT 2                                                                     GRAND BLANC        MI   48439‐1647
SHAFFER, DIANE E         12283 WOODSIDE DR               APT 2                                                       GRAND BLANK        MI   48439
SHAFFER, DONALD E        12112 GREGG RD                                                                              BELLVILLE          OH   44813‐9668
SHAFFER, DONALD E        5105 BIGELOW DR                                                                             HILLIARD           OH   43026‐1704
SHAFFER, DONNA O         5765 CASSADY RD                                                                             HERMITAGE          PA   16148‐6419
SHAFFER, DORIS M         1335 N 31ST RD                                                                              HOLLYWOOD          FL   33021‐5008
SHAFFER, DORIS M         1335 NORTH 31ST RD.                                                                         HOLLYWOOD          FL   33021‐5008
SHAFFER, EARL D          428 NYU PLACE                                                                               MURFREESBORO       TN   37128‐2882
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Name                     Address1                     Address2              Address3       Address4         City            State Zip
SHAFFER, EDITH M         1712 RUSH RD                                                                       WICKLIFFE        OH 44092‐1129
SHAFFER, EDWARD E        714 BEACH ST                                                                       FLINT            MI 48502‐1105
SHAFFER, EDWARD I        2631 CAMINO PL E                                                                   KETTERING        OH 45420‐3903
SHAFFER, EDWIN S         3689 WINDING PINE DR                                                               METAMORA         MI 48455‐8904
SHAFFER, ELAINE T        434 AVIUM LANE                                                                     CANTON           MI 48187‐5334
SHAFFER, ELAINE T        434 AVIUM LN                                                                       CANTON           MI 48187‐5334
SHAFFER, ELIZABETH J     1224 WESTPORT RD                                                                   ANN ARBOR        MI 48103‐2572
SHAFFER, ELIZABETH O.    63 WILMINGTON AVE                                                                  TONAWANDA        NY 14150‐8721
SHAFFER, ELSIE K         11100 W STATE ROAD 32                                                              YORKTOWN         IN 47396‐9708
SHAFFER, EMMA L          HC 79 BOX 2455                                                                     PITTSBURG        MO 65724‐9738
SHAFFER, ERASMA          8044 S HERMITAGE AVE                                                               CHICAGO           IL 60620‐4518
SHAFFER, EUGENE          4840 BIG CREEK RD                                                                  HARTFORD         TN 37753‐2417
SHAFFER, FLOYD B         1155 W SAGINAW RD                                                                  VASSAR           MI 48768‐9485
SHAFFER, FRED N          304 EARL DR NW                                                                     WARREN           OH 44483‐1114
SHAFFER, FREDERICK W     12982 VENITO TRL                                                                   FISHERS          IN 46037‐7316
SHAFFER, GAYLE M         43 ROCKLEDGE DR                                                                    PELHAM           NY 10803‐3310
SHAFFER, GEORGE E        1475 DUNDEE DR                                                                     GLADWIN          MI 48624‐8627
SHAFFER, GEORGE E        327 REIMAN ST                                                                      BUFFALO          NY 14212‐2145
SHAFFER, GEORGE E        1475 DUNDEE DR.                                                                    GLADWIN          MI 48624‐8627
SHAFFER, GEORGE E        PO BOX 765                                                                         GRANTSVILLE      WV 26147‐0765
SHAFFER, GEORGIA L       210 4TH ST                                                                         WEST POINT       MS 39773‐2421
SHAFFER, GERALD A        5115 LARSON WEST RD                                                                W FARMINGTON     OH 44491‐9777
SHAFFER, GERALDINE       1252 PROSPECT ST                                                                   BARBERTON        OH 44203‐7448
SHAFFER, GERALDINE M     2206 PIONEER RD                                                                    JANESVILLE       WI 53546‐5647
SHAFFER, GLENDA M        4265 CANNON ST                                                                     BATON ROUGE      LA 70805‐1418
SHAFFER, GLENN W         6920 RIDGE RD                                                                      LOCKPORT         NY 14094‐9436
SHAFFER, GOLDIA J        1502 NOTTINGHAM RD                                                                 WARREN           OH 44485‐4485
SHAFFER, HARLEY G        PO BOX 30                                                                          ROSSVILLE        IN 46065‐0030
SHAFFER, HAROLD E        7038 US ROUTE 24                                                                   ANTWERP          OH 45813‐9520
SHAFFER, HAROLD W        6875 HUBBARD DR                                                                    DAYTON           OH 45424‐3561
SHAFFER, HAROLD W        930 BLACKWOOD AVE                                                                  TALLAHASSEE      FL 32303‐4650
SHAFFER, HARRY R         1085 PRENTICE RD NW                                                                WARREN           OH 44481‐9415
SHAFFER, HARVEY D        4583 BARRINGTON DR                                                                 AUSTINTOWN       OH 44515‐5233
SHAFFER, HERBERT L       1966 WOODLAND TRCE                                                                 YOUNGSTOWN       OH 44515‐4822
SHAFFER, JACK E          2517 TRENTWOOD DR. SE        C/O BARBARA DENGLER                                   WARREN           OH 44484‐4484
SHAFFER, JACOB ALLEN     7882 LINTON RD                                                                     SAINT JOHNS      MI 48879‐9135
SHAFFER, JAMES D         191 ACADIA AVE                                                                     FRANKLIN         TN 37064‐4848
SHAFFER, JAMES G         7151 SAFFRON DR                                                                    DAYTON           OH 45424‐2308
SHAFFER, JAMES L         PO BOX 253                                                                         MILTON            IL 62352‐0253
SHAFFER, JAMES R         13258 SPORTSMAN RIDGE                                                              GRASS LAKE       MI 49240‐9384
SHAFFER, JAMES RICHARD   13258 SPORTSMAN RIDGE                                                              GRASS LAKE       MI 49240‐9384
SHAFFER, JANICE E        5330 GOSHEN RD                                                                     FT WAYNE         IN 46818‐9640
SHAFFER, JANICE E        5330 GOSHEN RD               LOT 232                                               FORT WAYNE       IN 46818
SHAFFER, JASON A         8523 ROAD 263                                                                      CONTINENTAL      OH 45831‐8605
SHAFFER, JAY O           4336 ELM ST                                                                        DOWNERS GROVE     IL 60515‐2926
SHAFFER, JEAN ALLISON    32517 NW EAGLE CREST DR                                                            RIDGEFIELD       WA 98642‐9157
SHAFFER, JERRY L         3886 ROAD 193                                                                      GROVER HILL      OH 45849‐9650
SHAFFER, JIMMIE D        2048 GOOSE CREEK DR                                                                FRANKLIN         TN 37064‐5063
SHAFFER, JIMMY LEWIS     TRAILWOOD MOBILE HOME PARK   # 34                                                  AUSTELL          GA 30168
SHAFFER, JOANN K.        1267 HASLETT RD                                                                    HASLETT          MI 48840
SHAFFER, JOANN W         5124 SODOM‐HUTCHINGS                                                               FARMDALE         OH 44417‐9711
SHAFFER, JOANN W         5124 SODOM HUTCHINGS RD                                                            FARMDALE         OH 44417‐9711
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Name                    Address1                            Address2                      Address3   Address4         City               State Zip
SHAFFER, JOEL L         14790 S 1ST ST                                                                                SCHOOLCRAFT         MI 49087‐9726
SHAFFER, JOHN C         11100 W STATE ROAD 32                                                                         YORKTOWN            IN 47396‐9708
SHAFFER, JOHN E         3901 TIPTON HWY                                                                               ADRIAN              MI 49221‐9544
SHAFFER, JOHN M         11328 S 1100 W 90                                                                             MARION              IN 46952‐8838
SHAFFER, JOHN W         3041 BRISTOL CHAMPION TOWNLINE RD                                                             BRISTOLVILLE        OH 44402‐9666
                        NW
SHAFFER, JOSEPH         1425 W STEWART ST                                                                             DAYTON             OH   45408‐1817
SHAFFER, JOSEPH B       1500 ARBUTUS STREET                                                                           JANESVILLE         WI   53546‐6140
SHAFFER, JOSEPH R       24672 WESTPOINTE ST                                                                           BROWNSTOWN TWP     MI   48183‐3048
SHAFFER, JOSEPHINE C    4770 FURNEY ST                                                                                HOLT               MI   48842‐1002
SHAFFER, JOSEPHINE J    21 LIBERTY ST                                                                                 SMITHFIELD         PA   15478‐9704
SHAFFER, JOYCE M        304 EARL DR NW                                                                                WARREN             OH   44483‐1114
SHAFFER, JOYCE M        304 EARL DRIVE N.W.                                                                           WARREN             OH   44483‐1114
SHAFFER, JUANITA J      515 PENNSYLVANIA AVE.                                                                         MANSFIELD          OH   44905‐2162
SHAFFER, JUDITH L       279 W THORNRIDGE LN                                                                           MOUNT MORRIS       MI   48458‐9134
SHAFFER, JUDY ANN       2826 KOEHLER AVE                                                                              DAYTON             OH   45414‐4920
SHAFFER, JUDY I         16404 CO RD 149                                                                               DEFIANCE           OH   43512‐9314
SHAFFER, JUDY I         16404 COUNTY ROAD 149                                                                         DEFIANCE           OH   43512‐9314
SHAFFER, JUNIOR D       2670 LYDIA ST SW                                                                              WARREN             OH   44481‐9622
SHAFFER, K R            422 E 5TH AVE                                                                                 ROSELLE            NJ   07203‐1431
SHAFFER, KATHERINE E    6873 CREEKVIEW DR                                                                             LOCKPORT           NY   14094‐9555
SHAFFER, KATHRYN L      1111 ALBRIGHT MCKAY RD NE                                                                     BROOKFIELD         OH   44403‐9771
SHAFFER, KELLY J        245 EAST STREET                     ART #614                                                  HONEOYE FALLS      NY   14472
SHAFFER, KENNETH C      6425 STONEY RIDGE DR                                                                          AUSTINTOWN         OH   44515‐5581
SHAFFER, KENNETH V      491 CAPE ALAN DR                                                                              HENDERSON          NV   89052‐2666
SHAFFER, KITTY S        40351 FORDWICH DR                                                                             STERLING HEIGHTS   MI   48310‐6938
SHAFFER, LARRY L        1725 SUNSET DR NE                                                                             WARREN             OH   44483‐5334
SHAFFER, LARRY L        1936 W PARKS RD                                                                               SAINT JOHNS        MI   48879‐9262
SHAFFER, LAURA
SHAFFER, LEO            YOUNG RILEY DUDLEY & DEBROTA        3815 RIVER CROSSING PARKWAY                               INDIANAPOLIS       IN   46240
SHAFFER, LEO A          PAUL REICH & MYERS P C              1608 WALNUT ST STE 500                                    PHILADELPHIA       PA   19103‐5446
SHAFFER, LEONARD J      1615 ROBIN RD                                                                                 PANTEGO            TX   76013‐3274
SHAFFER, LEROY          9391 PIGEON ROOST RD                                                                          HILLSBORO          OH   45133‐8999
SHAFFER, LEROY J        3630 CLARK ST                                                                                 ANDERSON           IN   46013‐5343
SHAFFER, LINDA A        10885 CEDAR RD                                                                                CLARENCE CTR       NY   14032‐9218
SHAFFER, LINDA C        618 EDISON AVE                                                                                JANESVILLE         WI   53546‐3121
SHAFFER, LINDA D        191 ACADIA AVE                                                                                FRANKLIN           TN   37064‐4848
SHAFFER, LINDA K        2452 EIFERT RD                                                                                HOLT               MI   48842‐1030
SHAFFER, LINDA L        PO BOX 92                                                                                     W ALEXANDRIA       OH   45381‐0092
SHAFFER, LINDA L        BOX 92                                                                                        W ALEXANDRIA       OH   45381‐0092
SHAFFER, LINDA L.       4177 LARCH POINT CV                                                                           LAKELAND           TN   38002‐9329
SHAFFER, LORRAINE       1 LENOX DR                                                                                    HAINESPORT         NJ   08036‐6202
SHAFFER, MARC A         505 GREY HAWK LN                                                                              BLYTHEWOOD         SC   29016
SHAFFER, MARGARET
SHAFFER, MARGARET R     3901 TIPTON HWY                                                                               ADRIAN             MI   49221‐9544
SHAFFER, MARGUERITE E   725 E MATHIAS ST                                                                              LEIPSIC            OH   45856‐9225
SHAFFER, MARILYN M      702 BUSH ST                                                                                   LINDEN             MI   48451‐9047
SHAFFER, MARK D         8897 LESLEY LN                                                                                BROWNSBURG         IN   46112‐8852
SHAFFER, MARK S         1705 AURELIUS RD                                                                              HOLT               MI   48842‐1919
SHAFFER, MARNEY         6305 ROBERTSON DR                                                                             BOISE              ID   83709‐2174
SHAFFER, MARTIN M       1709 STURBRIDGE DR                                                                            SEWICKLEY          PA   15143‐8516
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Name                    Address1                      Address2                       Address3   Address4         City               State Zip
SHAFFER, MARVIN         BEVAN & ASSOCIATES            10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD          OH 44067
                                                      PROFESSIONAL BLDG
SHAFFER, MARY E         764 ZEHNDER DR                                                                           FRANKENMUTH        MI   48734‐9798
SHAFFER, MARY H         2034 BIRCHWOOD                                                                           TOLEDO             OH   43614‐3826
SHAFFER, MARY JANE      1530 FURNACE ST                                                                          MINERAL RIDGE      OH   44440‐9729
SHAFFER, MARY M         164 WESTGATE DR                                                                          NEWTON FALLS       OH   44444‐9713
SHAFFER, MELISSA        11860 WILSHIRE DR                                                                        NORTH HUNTINGDON   PA   15642‐9580
SHAFFER, MICHAEL A      14544 TURNER RD                                                                          DEWITT             MI   48820‐9025
SHAFFER, MICHAEL E      PO BOX 281                                                                               BYRON              NY   14422‐0281
SHAFFER, MICHAEL H      8525 EMERALD LN                                                                          ALMONT             MI   48003‐8127
SHAFFER, MICHAEL H.     8525 EMERALD LN                                                                          ALMONT             MI   48003‐8127
SHAFFER, MICHAEL J      PO BOX 272                                                                               SCHOOLCRAFT        MI   49087‐0272
SHAFFER, MICHAEL L      23 S 9TH ST                                                                              MIAMISBURG         OH   45342‐2457
SHAFFER, MICHAEL S      116 EMINENCE AVE                                                                         HARRODSBURG        KY   40330
SHAFFER, MICHAEL W      205 KETTENRING DR                                                                        DEFIANCE           OH   43512‐1751
SHAFFER, MICHELLE A     5676 BURRELL                                                                             WEST BLOOMFIELD    MI   48322‐1223
SHAFFER, MILES N        9901 BELSAY RD                                                                           MILLINGTON         MI   48746‐9721
SHAFFER, MORRIS W       300 W LOUELLA DR                                                                         HURST              TX   76054‐3531
SHAFFER, MYRON R        4355 LANTERMAN RD                                                                        YOUNGSTOWN         OH   44515‐1435
SHAFFER, NANCY J        1048 MEADOW VIEW LANE                                                                    ST AUGUSTINE       FL   32092‐1055
SHAFFER, NATHAN S       160 NW 1401ST RD                                                                         HOLDEN             MO   64040‐9444
SHAFFER, NATHAN SCOTT   160 NW 1401ST RD                                                                         HOLDEN             MO   64040‐9444
SHAFFER, NETTIE M       266 FRIENDSHIP COURT                                                                     ANDERSON           IN   46013‐1047
SHAFFER, NORMA J        18808 B ST E                                                                             SPANAWAY           WA   98387‐8390
SHAFFER, ORA V          903 SOUTH LAWNDALE                                                                       TILTON             IL   61833‐7967
SHAFFER, ORA V          903 LAWNDALE AVE                                                                         TILTON             IL   61833‐7967
SHAFFER, OTIS A         102 BOY SCOUT RD                                                                         MASONTOWN          PA   15461‐2564
SHAFFER, PATRICIA B     3128 WEST 12TH ST                                                                        ANDERSON           IN   46011‐2475
SHAFFER, PATRICIA B     3128 W 12TH ST                                                                           ANDERSON           IN   46011‐2475
SHAFFER, PATRICIA F     476 CHARLES AVE                                                                          CORTLAND           OH   44410‐1302
SHAFFER, PATRICIA F     476 CHARLES ST                                                                           CORTLAND           OH   44410‐4410
SHAFFER, PATRICIA J     2151 SHERER AVENUE                                                                       DAYTON             OH   45414‐4633
SHAFFER, PATRICIA L     2637 LEXINGTON AVE NW                                                                    WARREN             OH   44485‐1533
SHAFFER, PATRICK H      747 KENTUCKY DR                                                                          ROCHESTER HILLS    MI   48307‐3739
SHAFFER, PAUL C         4833 BLACKTHORNE AVE                                                                     LONG BEACH         CA   90808
SHAFFER, PAUL C         20565 VINING RD                                                                          NEW BOSTON         MI   48164‐9433
SHAFFER, PHILLIP E      100 S COLLEGE ST APT 212                                                                 CORDELL            OK   73632‐5233
SHAFFER, RAYMOND J      3613 STATE ROUTE 82                                                                      NEWTON FALLS       OH   44444‐9581
SHAFFER, RICHARD D      4645 NE KELSEY RD                                                                        KANSAS CITY        MO   64116‐2023
SHAFFER, RICHARD L      1806 MAUMEE DR                                                                           DEFIANCE           OH   43512‐2523
SHAFFER, RICHARD W      1413 HADLEY DR                                                                           ARLINGTON          TX   76011‐4713
SHAFFER, ROBERT B       PO BOX 741                    1367 COLLEGE RD                                            SYRACUSE           OH   45779‐0741
SHAFFER, ROBERT D       72861 IRISH RIDGE RD                                                                     KIMBOLTON          OH   43749‐9744
SHAFFER, ROBERT J       3325 WOODLAND TRL UNIT D                                                                 CORTLAND           OH   44410‐9269
SHAFFER, ROBERT K       12811 S OUTER BELT RD                                                                    LONE JACK          MO   64070‐8537
SHAFFER, ROBERT L       5108 ISLANDERS WAY                                                                       GLADWIN            MI   48624‐8505
SHAFFER, ROBERT L       684 PADDLE WHEEL CT W                                                                    MILLERSVILLE       MD   21108‐1519
SHAFFER, ROBERT L       52 WINDLESS DR                                                                           GRAVOIS MILLS      MO   65037‐6723
SHAFFER, ROBERT L       9808 WILLA BONN CT            C/O JODDIE VAN SICKLE                                      NOBLESVILLE        IN   46062‐8929
SHAFFER, ROGER D        10022 JACKSON ST                                                                         BELLEVILLE         MI   48111‐1458
SHAFFER, ROGER G        5886 N PARK AVE                                                                          BRISTOLVILLE       OH   44402‐9727
SHAFFER, ROGER G        5886 N. PARK EXT.                                                                        BRISTOLVILLE       OH   44402‐9727
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Name                      Address1                           Address2                       Address3   Address4         City            State Zip
SHAFFER, ROLAND F         2263 FRUITVALE RD                                                                             MONTAGUE         MI 49437‐8527
SHAFFER, RONALD E         3765 STATE ROUTE 82                                                                           NEWTON FALLS     OH 44444‐9581
SHAFFER, RONALD L         3667 MAHONING RD                                                                              LAKE MILTON      OH 44429‐9403
SHAFFER, RONALD L         1518 COMMONS DR                                                                               MIAMISBURG       OH 45342‐7805
SHAFFER, RUDY W           PO BOX 294                                                                                    CLARK            PA 16113‐0294
SHAFFER, RUTH             954 STANLEY AVE                                                                               PONTIAC          MI 48340‐2562
SHAFFER, RUTH             954 STANLEY                                                                                   PONTIAC          MI 48340‐2562
SHAFFER, RUTH E.          203 E HATFIELD ST                                                                             MASSENA          NY 13662‐3296
SHAFFER, RUTH E.          203 EAST HATFIELD STREET                                                                      MASSENA          NY 13662
SHAFFER, SALLY D          32840 OAKLEY ST                                                                               LIVONIA          MI 48154‐3588
SHAFFER, SANDRA G         1622 DENISON AVE NW                                                                           WARREN           OH 44485‐1715
SHAFFER, SARA H           82 NORA STREET                     P O BOX 294                                                CLARK            PA 16113
SHAFFER, SARAH
SHAFFER, SHANA A          702 BUSH ST                                                                                   LINDEN          MI   48451‐9047
SHAFFER, SHANA ANN        702 BUSH ST                                                                                   LINDEN          MI   48451‐9047
SHAFFER, SHIRLEY A        5035 LAPEER RD                                                                                BURTON          MI   48509‐2017
SHAFFER, SHIRLEY A        2401 SW 38TH TER                                                                              CAPE CORAL      FL   33914‐2411
SHAFFER, SHIRLEY ARLENE   5035 LAPEER RD                                                                                BURTON          MI   48509‐2017
SHAFFER, STACY L          PO BOX 885                                                                                    TROY            OH   45373‐0885
SHAFFER, STELLA S         6855 SR 45, N.W.                                                                              BRISTOLVILLE    OH   44402‐9778
SHAFFER, STELLA S         6855 STATE ROUTE 45                                                                           BRISTOLVILLE    OH   44402‐9778
SHAFFER, STEPHANIE M      26 ANGELA CT                                                                                  BEECH GROVE     IN   46107‐2613
SHAFFER, STEPHEN A        400 ANNISTON DR.                                                                              DAYTON          OH   45415‐3004
SHAFFER, STEVE H          1712 SMITH ST                                                                                 YPSILANTI       MI   48198‐6755
SHAFFER, STEVEN T         3273 BERENT ST                                                                                BURTON          MI   48529‐1430
SHAFFER, TERRY A          117 E KICKAPOO                                                                                HARTFORD CITY   IN   47348‐2134
SHAFFER, THOMAS W         3685 7 MILE RD NW                                                                             GRAND RAPIDS    MI   49544‐9735
SHAFFER, TIMOTHY G        212 CRANMER                                                                                   CHARLOTTE       MI   48813‐8427
SHAFFER, TIMOTHY W        866 DEAN RD                                                                                   NEW CASTLE      PA   16101‐8316
SHAFFER, TODD M           755 LAURELWOOD CIR                                                                            BOWLING GREEN   KY   42103‐6008
SHAFFER, TRAVIS JAMES     MARSHALL LAW FIRM                  108 S CHURCH AVE                                           BOZEMAN         MT   59715‐4720
SHAFFER, TROY J           633 E 1700 N                                                                                  SUMMITVILLE     IN   46070‐9159
SHAFFER, VERNON D         105 HARTLEY ST                                                                                LAPEER          MI   48446‐2548
SHAFFER, VICTOR G         1502 NOTTINGHAM ST NW                                                                         WARREN          OH   44485‐2022
SHAFFER, VIRGINIA         9036 WEST RIDGE RD                                                                            ELYRIA          OH   44035‐4525
SHAFFER, VIRGINIA L       225 RANDY ST                                                                                  WEST UNION      OH   45693‐9756
SHAFFER, WAYNE B          1500 ARBUTUS ST                                                                               JANESVILLE      WI   53546‐6140
SHAFFER, WAYNE C          200 WALNUT HILL AVE UNIT 87                                                                   HILLSBORO       TX   76645‐9528
SHAFFER, WELCOME B        240 LAWSON AVE                                                                                NEW LEBANON     OH   45345‐1441
SHAFFER, WELCOME B        240 LAWSON AVE.                                                                               NEW LEBANON     OH   45345‐1441
SHAFFER, WILLIAM          KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                               CLEVELAND       OH   44114
                                                             BOND COURT BUILDING
SHAFFER, WILLIAM          BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD      OH 44067
                                                             PROFESSIONAL BLDG
SHAFFER, WILLIAM G        32 MOYLE AVE                                                                                  TONAWANDA       NY   14150‐3714
SHAFFER, WILLIAM G        25517 CHERNICK ST                                                                             TAYLOR          MI   48180‐2001
SHAFFER, WILLIAM H        5700 CARTER CT                                                                                HOWELL          MI   48843‐8157
SHAFFER, WILLIAM J        2025 BONNIE BRAE AVE NE                                                                       WARREN          OH   44483‐3517
SHAFFER, WILLIAM R        1397 S IRISH RD                                                                               DAVISON         MI   48423‐8313
SHAFFER‐PLANT, MARTHA H   3601 US. RT. 422                                                                              SOUTHINGTON     OH   44470‐9578
SHAFFER‐PLANT, MARTHA H   3601 US ROUTE 422                                                                             SOUTHINGTON     OH   44470‐9578
SHAFFER‐SWEE, JOAN E      2018 NE 155TH CT                                                                              PORTLAND        OR   97230‐8266
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Name                                  Address1                           Address2                          Address3       Address4              City                  State Zip
SHAFFETT, LAWRENCE E                  2251 VIRGINIA LAKE WAY                                                                                    RENO                   NV 89509
SHAFFNER P, ELLA G                    EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                                    DETROIT                MI 48265‐2000

SHAFFNER, MARGARET R                  4100 E KENT RD                                                                                            FREELAND              MI 48623‐9408
SHAFFO, MARY I                        47 TWIN OAKS DR                                                                                           MILAN                 OH 44846‐9482
SHAFFS TRANSPORTATION                 DBA GOLDEN CONSTRUCTION &          TERRI REILLY ‐ OFFICE MANAGER     PO BOX 81318                         BAKERSFIELD           CA 93380
                                      EXCAVATION
SHAFFSTALL, BEVERLY R                 34 ALAVA LN                                                                                               HOT SPRINGS VILLAGE   AR    71909‐5112
SHAFFSTALL, JAMES L                   34 ALAVA LN                                                                                               HOT SPRINGS VILLAGE   AR    71909‐5112
SHAFFSTALL, RONALDA M                 624 FAYETTE CT                                                                                            THE VILLAGES          FL    32162‐6349
SHAFFSTALL, ROYCE L                   94 ROSE DRIVE                                                                                             MEAD                  OK    73449‐6750
SHAFFSTALL, ROYCE L                   94 ROSE DR                                                                                                MEAD                  OK    73449‐6750
SHAFFSTALL, WILLIAM L                 416 MINERVA ST                                                                                            EATON RAPIDS          MI    48827‐1052
SHAFI INC                             7517 RADCLIFFE                                                                                            BRIGHTON              MI    48114‐7483
SHAFIEE ADELEH (ESTATE OF) (513863)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD            OH    44067
                                                                         PROFESSIONAL BLDG
SHAFIEE, ADELEH                       BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                           NORTHFIELD            OH 44067
                                                                         PROFESSIONAL BLDG
SHAFIGHI CAMRAN                       SHAFIGHI, CAMRAN                   120 WEST MADISON STREET , 10TH                                         CHICAGO                IL   60602
                                                                         FLOOR
SHAFIGHI, CAMRAN                      KROHN & MOSS ‐ CA                  10474 SANTA MONICA BLVD STE 401                                        LOS ANGELES           CA 90025‐6932

SHAFIK GADDIS                         ARMBRUSTSTR. 11                                                                     20257 HAMBURG
SHAFIQ, NURU K                        22341 INNSBROOK DR                                                                                        NORTHVILLE            MI    48167‐9323
SHAFNER JR, DALE E                    1692 APACHE TRL                                                                                           XENIA                 OH    45385‐9378
SHAFNER JR, DALE E                    959 MCBEE RD                                                                                              BELLBROOK             OH    45305‐5305
SHAFNER, DENNIS B                     60620 E EAGLE HEIGHTS DR                                                                                  TUCSON                AZ    85739‐1976
SHAFNER, DOUGLAS C                    2997 SUNDERLAND RD                                                                                        LIMA                  OH    45806‐9302
SHAFNER, GINGER S                     959 MCBEE ROAD                                                                                            BELLBROOK             OH    45305‐5305
SHAFNER, GINGER S                     959 MCBEE RD                                                                                              BELLBROOK             OH    45305‐9718
SHAFOR, STEPHEN A                     4493 CARO RD                                                                                              VASSAR                MI    48768‐9726
SHAFOR, STEPHEN A                     309 W BALDWIN ST                                                                                          SAINT JOHNS           MI    48879‐1803
SHAFRIN MICHAEL                       SHAFRIN, MICHAEL                   PO BOX 24813                                                           CLEVELAND             OH    44124
SHAFT JR, HENRY L                     211 N HARRISON ST                                                                                         SAGINAW               MI    48602‐4230
SHAFT, ARTHUR ALBERT                  3519 SNOWY LN                                                                                             SAGINAW               MI    48601‐7054
SHAFT, CLAIRE L                       514 FREMONT ST                                                                                            FLINT                 MI    48504‐4508
SHAFT, GEORGIA A                      12490 RUPPERT RD                                                                                          PERRY                 MI    48872‐8527
SHAFT, JAMES R                        733 N SHELDON ST                                                                                          CHARLOTTE             MI    48813‐1230
SHAFT, NANCY                          5845 SWAN CREEK ROAD                                                                                      SAGINAW               MI    48609‐7072
SHAFT, TERI L                         PO BOX 705                                                                                                PERRY                 MI    48872‐0705
SHAFT, THOMAS A                       5985 W US HIGHWAY 223                                                                                     ADRIAN                MI    49221‐8433
SHAFTER BARGER JR                     1619 STATE ROUTE 133                                                                                      BETHEL                OH    45106‐9416
SHAFTIC, MARILYN N                    1481 STEPNEY ST                                                                                           NILES                 OH    44446‐3735
SHAFTIC, STEVE D                      29 BUENA VISTA WAY                                                                                        NEW CASTLE            PA    16105‐1201
SHAFTMAN FRED                         10 HIGHLAND VALLEY CT NW                                                                                  ATLANTA               GA    30327‐4880
SHAFTO, DOUGLAS A                     PO BOX 245                                                                                                LUTHER                MI    49656‐0245
SHAFTO, LINDA M                       55171 PARK PL                                                                                             NEW HUDSON            MI    48165‐9709
SHAFTO, ROBERT C                      938 BEACHWAY DR                                                                                           WHITE LAKE            MI    48383‐2904
SHAFTO, ROBERT D                      55171 PARK PL                                                                                             NEW HUDSON            MI    48165‐9709
SHAGANAPPI MOTORS (1976) INC
SHAGENA, CLAYTON R                    5778 WILDCAT RD                                                                                           CLYDE                 MI 48049‐1315
SHAGENA, DONALD R                     17 LINCOLN ST                                                                                             OXFORD                MI 48371‐3623
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Name                       Address1                           Address2                  Address3             Address4         City                 State Zip
SHAGENA, DONALD S          2607 SPIELMAN RD                                                                                   ADRIAN                MI 49221‐9224
SHAGENA, HAROLD P          7244 SCHOOLCRAFT DR                                                                                DAVISON               MI 48423‐2395
SHAGENA, JACK R            1701 RAY RD                                                                                        OXFORD                MI 48371‐2754
SHAGENA, JEFFREY M         3011 DUNLEER RD                                                                                    BALTIMORE             MD 21222‐5106
SHAGENA, JEFFREY MICHAEL   3011 DUNLEER RD                                                                                    BALTIMORE             MD 21222‐5106
SHAGENA, KYLE E            2607 SPIELMAN RD                                                                                   ADRIAN                MI 49221
SHAGENA, LEE C             25527 WEXFORD AVE                                                                                  WARREN                MI 48091‐6011
SHAGENA, RENAE L           62 W MANOR ST                                                                                      OXFORD                MI 48371‐6307
SHAGENA, WENCIL J          74 E MANOR ST                                                                                      OXFORD                MI 48371‐6308
SHAGENA, WENCIL J          1940 LAKEVILLE RD LOT 74                                                                           OXFORD                MI 48371‐5270
SHAGOTT, ROBERT P          6352 PATCHIN RD                                                                                    BOSTON                NY 14025‐9661
SHAGRA, CHRISTINA A        8110 CROOKED RD                                                                                    SEAMAN                OH 45679
SHAH                       44105 15TH ST W STE 207                                                                            LANCASTER             CA 93534‐4090
SHAH                       4800 S SAGINAW ST                  SUITE 1800                                                      FLINT                 MI 48507
SHAH ALLIANCE GROUP LLC    15135 HAMILTON                                                                                     HIGHLAND PARK         MI 48203
SHAH ALLIANCE GROUP LLC    ELMER JAFFKE                       6909 BRUNSWICK DR                                               TROY                  MI 48085‐1271
SHAH ALLIANCE GROUP LLC    6909 BRUNSWICK DR                                                                                  TROY                  MI 48085‐1271
SHAH ALPESH                REVOLUTIONARY SYSTEMS              50 CRAGWOOD RD STE 302                                          SOUTH PLAINFIELD      NJ 07080‐2434
SHAH ATUL C MD             2884 MANORWOOD DR                                                                                  TROY                  MI 48085‐1145
SHAH DIGANT                9442 BRITTA AVE                                                                                    FRANKLIN PARK          IL 60131‐2029
SHAH JAYSHREE              SHAH, JAYSHREE                     LAW OFFICES OF STUART M   30300 NORTHWESTERN                    FARMINGTON HILLS      MI 48334‐3255
                                                              FELDHEIM PC               HIGHWAY SUITE 108
SHAH JAYSHREE              SHAH, JAYSHREE
SHAH MD                    44215 15TH ST W STE 110                                                                            LANCASTER            CA   93534‐5503
SHAH PARESH                254 HENDRICKSON DR                                                                                 PRINCETON JUNCTION   NJ   08550‐1704
SHAH SAMIR                 C/O SARUCHI ANSAL                  PO BOX 2000                                                     WEST LAFAYETTE       IN   47996‐2000
SHAH, BHAVESH              2330 GOLFVIEW DR APT 205                                                                           TROY                 MI   48084‐3855
SHAH, BHUPENDRA            3400 EDMUNTON DR                                                                                   ROCHESTER HILLS      MI   48306‐2973
SHAH, BHUPENDRA            3678 GALAXY BLVD                                                                                   STERLING HEIGHTS     MI   48314‐3184
SHAH, BHUPENDRA V          3400 EDMUNTON DR                                                                                   ROCHESTER HILLS      MI   48306‐2973
SHAH, BRENDA               2657 LENOX ROAD                    BLD O UNIT 206                                                  ATLANTA              GA   30324
SHAH, BRENDA               2657 LENOX RD NE APT 206                                                                           ATLANTA              GA   30324
SHAH, CHANDRAKANT B        206 SAINT CLAIR CIR                APT I                                                           YORKTOWN             VA   23693‐4170
SHAH, CHANDRAKANT B        206 SAINT CLAIR CIR APT I                                                                          YORKTOWN             VA   23693‐4170
SHAH, CHIRAG V             39094 LADRONE AVE                                                                                  STERLING HEIGHTS     MI   48313‐5593
SHAH, CHONG‐AE             8890 RHODODENDRON CT                                                                               LORTON               VA   22079‐5689
SHAH, CHRIS                4760 WALNUT CREEK CIR                                                                              WEST BLOOMFIELD      MI   48322‐3493
SHAH, CYNTHIA A            30939 COPPER LN                                                                                    NOVI                 MI   48377‐4537
SHAH, DEEPAK G             3955 RAVEN CIR                                                                                     OKEMOS               MI   48864‐3813
SHAH, DHARMESH N           1874 TAWNEY LN                                                                                     AVON                 IN   46123‐9059
SHAH, DILIP G              10401 E COUNTY ROAD 450 S                                                                          SELMA                IN   47383‐9771
SHAH, GIRISH C             39857 BAROQUE BLVD                                                                                 CLINTON TWP          MI   48038‐2615
SHAH, HEMANG G             5045 RENSHAW DR                                                                                    TROY                 MI   48085‐4014
SHAH, HEMENDRA K           26298 WILDERNESS                                                                                   FARMINGTON HILLS     MI   48334‐4319
SHAH, IMRAN
SHAH, JAYSHREE             41479 MICHIGAN AVENUE                                                                              CANTON               MI   48188‐2670
SHAH, JAYSHREE             1580 SPRING GATE DR                UNIT 4206                                                       MCLEAN               VA   22102‐3445
SHAH, KETAN                PO BOX 9022                                                                                        WARREN               MI   48090‐9022
SHAH, KUMKUM N             13 WHITEHALL LN                                                                                    NEW HYDE PARK        NY   11040‐3421
SHAH, KUSH K               3748 BRIARBROOKE LN                                                                                OAKLAND TOWNSHIP     MI   48306‐4746
SHAH, MANISH P             31061 POINTE OF WOODS DR APT 23                                                                    FARMINGTON HILLS     MI   48334‐1273
SHAH, MD                   17 HOSPITAL DR STE 5                                                                               MASSENA              NY   13662‐1039
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Name                                 Address1                           Address2                        Address3   Address4         City                State Zip
SHAH, MEENAKSHI                      3400 EDMUNTON DR                                                                               ROCHESTER HILLS      MI 48306‐2973
SHAH, NAREN R                        5583 WHITFIELD DR                                                                              TROY                 MI 48098‐5105
SHAH, NEERAJ                         301 GLEN HOLW                                                                                  KELLER               TX 76248‐5375
SHAH, NIPA N                         39566 SQUIRE RD                                                                                NOVI                 MI 48375‐3765
SHAH, NISHA B                        1725 ORRINGTON AVE                 APT 601‐2                                                   EVANSTON              IL 60201
SHAH, NISHA B                        280 FELL ST APT 303                                                                            SAN FRANCISCO        CA 94102‐5171
SHAH, PANKTI                         2330 GOLFVIEW DR APT 105                                                                       TROY                 MI 48084‐3855
SHAH, PIYUSH R                       136 W. WOODRUFF‐NOSKER H           OUSE                                                        COLUMBUS             OH 43210
SHAH, PRADIP V                       1469 BURHAVEN DR                                                                               ROCHESTER HILLS      MI 48306‐3709
SHAH, PRITI L                        19060 STARLING CT                                                                              MACOMB               MI 48044‐1226
SHAH, RAJENDRA M                     35338 GLENGARY CIR                                                                             FARMINGTON HILLS     MI 48331‐2622
SHAH, RAMESH C                       40875 COVENTRY RD                                                                              NOVI                 MI 48375‐5219
SHAH, RAVI D                         22485 HAMPTON CT                                                                               FARMINGTON HILLS     MI 48335‐3921
SHAH, SAMIR H                        16218 MUIRFIELD DR                                                                             ODESSA               FL 33556‐2829
SHAH, SANDEEP J                      3748 S CLAYBRIDGE DR                                                                           BLOOMINGTON          IN 47401‐8565
SHAH, SANJAY M                       123 MILLSTONE DR                                                                               TROY                 MI 48084‐1738
SHAH, SHIRISH S                      4750 ROLLING RIDGE RD                                                                          W BLOOMFIELD         MI 48323‐3342
SHAH, SNEHA V                        514 S CLEVELAND AVE                                                                            ARLINGTON HEIGHTS     IL 60005‐2126
SHAH, SUDHIR R                       7481 OAKMONT DR                                                                                CANTON               MI 48187‐1267
SHAH, SUMIT D                        1446 PRELUDE DRIVE                                                                             SAN JOSE             CA 95131‐3330
SHAH, TEJAS D                        44245 PINE DR                                                                                  STERLING HEIGHTS     MI 48313‐1245
SHAH, UMESH S                        44858 DANBURY ROAD                                                                             CANTON               MI 48188‐1050
SHAH, VIJAY B                        1022 MINERS RUN                                                                                ROCHESTER            MI 48306‐4590
SHAHAB HANIF
SHAHAB KHAN                          53918 SUTHERLAND LN                                                                            SHELBY TOWNSHIP     MI 48316‐1215
SHAHAN BETH A                        8055 S VICTOR PIKE                                                                             BLOOMINGTON         IN 47403‐9760
SHAHAN HAROLD E (411033)             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                                        STREET, SUITE 600
SHAHAN HERMAN D (494197)             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                                        STREET, SUITE 600
SHAHAN JOHN (468747) ‐ SHAHAN JOHN   KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                               CLEVELAND           OH 44114
                                                                        BOND COURT BUILDING
SHAHAN, ALLEN R                      6272 ROOSEVELT                                                                                 BELLEVILLE          MI   48111‐2333
SHAHAN, ALLEN RAY                    6272 ROOSEVELT                                                                                 BELLEVILLE          MI   48111‐2333
SHAHAN, DAMON L                      2113 GEORGETOWN RD NW                                                                          CLEVELAND           TN   37311‐1214
SHAHAN, DAVID F                      87 BROWN TROUT RD                                                                              HACKER VALLEY       WV   26222‐802
SHAHAN, DAVID Q                      6240 HELLNER RD                                                                                ANN ARBOR           MI   48105‐9640
SHAHAN, DAVID QUAY                   6240 HELLNER RD                                                                                ANN ARBOR           MI   48105‐9640
SHAHAN, DOYLE W                      C/O JANET E SHAHAN                 3645 ST ROAD 49                                             ARCANUM             OH   45304
SHAHAN, GRACE C                      718 29TH ST NE                                                                                 CANTON              OH   44714‐1724
SHAHAN, GRACE C                      718 29TH STREET, N.E.                                                                          CANTON              OH   44714‐1724
SHAHAN, HAROLD E                     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA   23510‐2212
                                                                        STREET, SUITE 600
SHAHAN, HERMAN D                     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                                        STREET, SUITE 600
SHAHAN, JAMES F                      2260 PERKINS JONES CT NE                                                                       WARREN              OH 44483‐1859
SHAHAN, JOHN                         KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                CLEVELAND           OH 44114
                                                                        BOND COURT BUILDING
SHAHAN, LAURA D                      939 WINDY HILL CT                                                                              RUSSIAVILLE         IN   46979‐9300
SHAHAN, MILDRED                      30 WALNUT ST                                                                                   BELLBROOK           OH   45305‐5305
SHAHAN, PAUL E                       8185 OAK LEAF LN                                                                               WILLIAMSVILLE       NY   14221‐2858
SHAHAN, ROBERT N                     30280 JOY RD                                                                                   LIVONIA             MI   48150‐3969
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Name                                  Address1                            Address2                     Address3          Address4             City               State Zip
SHAHAN, RONALD B                      929 W LOCUST AVE                                                                                        LOMPOC              CA 93436‐7610
SHAHANE, NITIN                        2046 BARON                                                                                              ROCHESTER HLS       MI 48307‐4322
SHAHBAZI AHMED (ESTATE OF) (641992)   STE 163W                            1 RICHMOND SQUARE                                                   PROVIDENCE           RI 02906‐5172

SHAHBAZI, AHMED                     DEATON LAW FIRM                       1 RICHMOND SQ STE 134C                                              PROVIDENCE         RI   02906‐5166
SHAHBAZI, BRUCE                     1760 SANDSTONE DR                                                                                         FRISCO             TX   75034‐2634
SHAHEED K SALEEM                    315 MALDEN AVE                                                                                            DAYTON             OH   45427‐2907
SHAHEED SALAHUD DEEN                15244 MIDDLEBELT ROAD                                                                                     LIVONIA            MI   48154‐4035
SHAHEED SALEEM                      315 MALDEN AVE                                                                                            DAYTON             OH   45427‐2907
SHAHEED, NAEEM                      214 UCLID BLVD                                                                                            YOUNGSTOWN         OH   44505
SHAHEED, NAEEM                      214 EUCLID BLVD                                                                                           YOUNGSTOWN         OH   44505‐2016
SHAHEED, ROBERT A                   3541 HIALEAH LN                                                                                           SAGINAW            MI   48601‐5645
SHAHEEDA A SALEEM                   315 MALDEN AVE                                                                                            DAYTON             OH   45427‐2907
SHAHEEN AYUPE                       9 BARRY AVE                                                                                               TUPPER LAKE        NY   12986‐1510
SHAHEEN BUICK PONTIAC GMC TRUCK CAD 116 N MISSION ST                                                                                          MOUNT PLEASANT     MI   48858‐1820

SHAHEEN BUICK PONTIAC GMC TRUCK       116 N MISSION ST                                                                                        MOUNT PLEASANT      MI 48858‐1820
CADILLAC, INC.
SHAHEEN BUICK PONTIAC GMC TRUCK       RALPH SHAHEEN                       116 N MISSION ST                                                    MOUNT PLEASANT      MI 48858‐1820
CADILLAC, INC.
SHAHEEN CHEV/WHEELS                   3901‐4101 S LOGAN ST                                                                                    LANSING            MI   48910
SHAHEEN CHEVROLET, INC.               632 AMERICAN RD                                                                                         LANSING            MI   48911‐5980
SHAHEEN CHEVROLET, INC.               RALPH SHAHEEN                       632 AMERICAN RD                                                     LANSING            MI   48911‐5980
SHAHEEN CHEVROLET, INC.                                                                                                                       LANSING            MI   48911‐5980
SHAHEEN CHEVROLET, INC.               3901 S MARTIN LUTHER KING JR BLVD                                                                       LANSING            MI   48910‐4343
SHAHEEN SHAHEEN                       1206 WRECKENRIDGE RD                                                                                    FLINT              MI   48532‐3231
SHAHEEN T SHAHEEN                     1206 WRECKENRIDGE RD                                                                                    FLINT              MI   48532‐3231
SHAHEEN WILLIAM                       SHAHEEN, WILLIAM                    PO BOX 977                                                          DOVER              NH   03821‐0977
SHAHEEN, BESSIE P                     6328 E PIERSON RD                                                                                       FLINT              MI   48506‐2256
SHAHEEN, JUDITH A                     2375 CHELTINGHAM ST                                                                                     SYLVAN LAKE        MI   48320‐1612
SHAHEEN, MANSOUR A                    5387 WHITEHALL CT                                                                                       FLUSHING           MI   48433‐2452
SHAHEEN, PAULA J                      3115 EAST COMMERCE ROAD                                                                                 COMMERCE TWP       MI   48382‐1471
SHAHEEN, PAULA J                      2843 ALLISON LN                                                                                         HIGHLAND           MI   48357‐3162
SHAHEEN, ROBERT D                     3544 NOBB HILL DR                                                                                       HUDSONVILLE        MI   49426‐9078
SHAHEEN, SHAHEEN T                    1206 WRECKENRIDGE RD                                                                                    FLINT              MI   48532‐3231
SHAHEEN, SHAHEEN THOMAS               1206 WRECKENRIDGE RD                                                                                    FLINT              MI   48532‐3231
SHAHEEN, STACEY                       5387 WHITEHALL CT                                                                                       FLUSHING           MI   48433‐2452
SHAHEENA ZUBERI                       9441 BARSTOW DR UNIT 103                                                                                RANCHO CUCAMONGA   CA   91730‐2764
SHAHEER, OSCAR O                      737 CLIFTON BLVD                                                                                        TOLEDO             OH   43607‐2227
SHAHEER, OSCAR ONEAL                  737 CLIFTON BLVD                                                                                        TOLEDO             OH   43607‐2227
SHAHFIQ SAID                          MERRILL LYNCH INTERNATIONAL BANK    2 RAFFLES LINK               MARINA BAYFRONT   SINGAPORE 039392
SHAHID MIAN                           407 E 38TH ST APT 6                                                                                     ERIE               PA   16504‐1664
SHAHID SHARIF                         1441 RACCOON DR NE                                                                                      WARREN             OH   44484‐1431
SHAHID, KHALIL A                      9 NEW WAY CT                                                                                            WILLINGBORO        NJ   08046‐1359
SHAHID, NAIMAH K                      11528 W COTTONWOOD LN                                                                                   AVONDALE           AZ   85392‐4249
SHAHID, PAMELA                        4077 STURTEVANT ST                                                                                      DETROIT            MI   48204‐1541
SHAHID, UMAR S                        605 W PATERSON ST                                                                                       FLINT              MI   48503‐5161
SHAHIDI ALI                           SHAHIDI, ALI                        555 CALIFORNIA ST STE 3160                                          SAN FRANCISCO      CA   94104‐1534
SHAHIDI, ALI                          BOONE JOHN H LAW OFFICES            555 CALIFORNIA ST STE 3160                                          SAN FRANCISCO      CA   94104‐1534
SHAHIDI, BEHNAZ                       PO BOX 2044                                                                                             SUNNYVALE          CA   94087‐0044
SHAHIN, ANDREW H                      17158 FOREST HILLS DR                                                                                   VICTORVILLE        CA   92395‐4614
SHAHIRA ELAYAN                        20561 WILLIAMSBURG RD                                                                                   DEARBORN HTS       MI   48127‐2771
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Name                         Address1                           Address2           Address3         Address4         City               State Zip
SHAHIRA M ELAYAN             20561 WILLIAMSBURG RD                                                                   DEARBORN HTS        MI 48127‐2771
SHAHMEHRI, BAHRAM            3147 RIVER MEADOW CIR                                                                   CANTON              MI 48188‐2334
SHAHMURAD, BASSAM S          15508 BROOKSTONE DR                                                                     CLINTON TWP         MI 48035‐1060
SHAHRESTANI, FATEMEH N       17714 ROLLING WOODS CIR                                                                 NORTHVILLE          MI 48168‐1890
SHAHRESTANI, FATEMEH N.      17714 ROLLING WOODS CIR                                                                 NORTHVILLE          MI 48168‐1890
SHAHRESTANI, FRANK F         17714 ROLLING WOODS CIR                                                                 NORTHVILLE          MI 48168‐1890
SHAHRESTANI, FRANK FARROKH   17714 ROLLING WOODS CIR                                                                 NORTHVILLE          MI 48168‐1890
SHAHRIAR SHIDFAR             2330 SUNNY RIDGE DR                                                                     PINCKNEY            MI 48169‐9244
SHAHROKH ARYAN               40179 GULLIVER DR                                                                       STERLING HEIGHTS    MI 48310‐1730
SHAHZAD SYED                 1391 TULBERRY CIR                                                                       ROCHESTER           MI 48306‐4823
SHAIA, GRACE
SHAIK MOHAMMAD, JAVEED M     1651 HILLER RD                                                                          WEST BLOOMFIELD    MI   48324‐1128
SHAIK‐MOHAMMAD, IFFAT T      1651 HILLER RD                                                                          WEST BLOOMFIELD    MI   48324‐1128
SHAIKH, SOFIA                1007 2ND AVE APT 2R                                                                     NEW YORK           NY   10022‐4865
SHAILAJA FORD                809 DELAWARE ST                                                                         DETROIT            MI   48202‐2301
SHAILENDRA BINGI             44874 WEYMOUTH DR                                                                       CANTON             MI   48188‐3258
SHAILENDRA KAUSHIK           31263 HEATH CT                                                                          BEVERLY HILLS      MI   48025‐5309
SHAILESH JINDAL              34400 DEQUINDRE RD APT 126                                                              STERLING HEIGHTS   MI   48310‐5208
SHAILESH K. PATEL
SHAILESH LOPES               39356 VILLAGE GREEN BLVD APT 202                                                        FARMINGTON HLS     MI   48331‐5853
SHAILESH PARIKH              4904 RAMBLING DR                                                                        TROY               MI   48098‐6630
SHAILESH PATEL               2747 PEBBLE BEACH DR                                                                    OAKLAND            MI   48363‐2452
SHAILI RYAN                  7926 WILD ORCHARD LN                                                                    CINCINNATI         OH   45242‐4309
SHAILYN N BUGG               8776 TANGLEWOOD ROAD                                                                    TEMPERANCE         MI   48182‐9252
SHAIN GRENELL
SHAIN, JON C                 809 HICKORY RD                                                                          WOODSTOCK          IL   60098‐4310
SHAIN, RALPH N               12511 PIERCE RD                                                                         HAGERSTOWN         IN   47346‐9790
SHAIN, SUSAN M               827 PRINCETON RD                                                                        BERKLEY            MI   48072‐3068
SHAINA GEE                   4238 SEIDEL AVE                                                                         BALTIMORE          MD   21206
SHAININ LLC                  P O BOX 4500                       UNIT 20                                              PORTLAND           OR   97208
SHAININ LLC                  715 SEAFARERS WAY                                                                       ANACORTES          WA   98221
SHAININ LLC                  PO BOX 20977                                                                            CARSON CITY        NV   89721‐0977
SHAININ LLC                  715 SEAFARERS WAY                  PO BOX 220                                           ANACORTES          WA   98221
SHAININ LLC                  PO BOX 220                                                                              ANACORTES          WA   98221‐0220
SHAININ/ANACORTES            3115 T AVE                                                                              ANACORTES          WA   98221‐3495
SHAJIRA, MUSAID S            6227 KENDAL ST                                                                          DEARBORN           MI   48126‐2146
SHAK, A F                    17 TUDOR LN                                                                             COLONIA            NJ   07067‐1151
SHAKA MARTIN                 3640 RUE FORET APT 165                                                                  FLINT              MI   48532‐2850
SHAKAL, ANDREW J             15688 46TH ST                                                                           BLOOMER            WI   54724‐4242
SHAKALIS, ANNA V.            730 KENNEDY BLVD                                                                        BAYONNE            NJ   07002‐1838
SHAKARIAN, ALAN M            2909 BROOKSIDE APT 203                                                                  LAKE ORION         MI   48360‐2600
SHAKARIAN, ALAN MICHAEL      2909 BROOKSIDE APT 203                                                                  LAKE ORION         MI   48360‐2600
SHAKARIAN, DICK S            25640 W HILLS DR                                                                        DEARBORN HTS       MI   48125‐1055
SHAKARJIAN, JOHN J           8387 STONEY CREEK DR                                                                    SOUTH LYON         MI   48178‐9299
SHAKARJIAN, JOHN JR          8387 STONEY CREEK DR                                                                    SOUTH LYON         MI   48178‐9299
SHAKE PROOF/TROY             750 STEPHENSON HIGHWAY             SUITE 115                                            TROY               MI   48083
SHAKE SIMONIAN               1310 E. OCEAN BLVD., #1204                                                              LONG BEACH         CA   90802
SHAKE, ALBERT L              1004 S GRIFFIN ST                                                                       GRAND HAVEN        MI   49417‐2719
SHAKE, DELORES T             2910 W HORISON RIDGE               PARKWAY APT 106                                      HENDERSON          NV   89052
SHAKE, DELORES T             2910 W HORIZON RIDGE PKWY          PARKWAY APT 106                                      HENDERSON          NV   89052‐3986
SHAKEEB REHMAN               1423 FAWN CT                                                                            ROCHESTER HILLS    MI   48309‐2557
SHAKEELA BADER               30028 W 12 MILE RD UNIT 28                                                              FARMINGTON HILLS   MI   48334‐3917
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Name                                Address1                        Address2                        Address3   Address4            City               State Zip
SHAKEENA WILLIAMS                   674 PALMER DR                                                                                  PONTIAC             MI 48342‐1854
SHAKEMMA TAYLOR                     460 E 13 MILE RD APT 203                                                                       MADISON HEIGHTS     MI 48071‐2134
SHAKER AUTO HOSPITAL                16101 CHAGRIN BLVD                                                                             SHAKER HEIGHTS      OH 44120‐3707
SHAKER EISSA                        25191 FRONTIER CIR                                                                             FLAT ROCK           MI 48134‐1092
SHAKER GROUP INC                    862 ALBANY SHAKER RD                                                                           LATHAM              NY 12110‐1416
SHAKER PRODUCTS INC                 1400 E 286TH ST                                                                                WICKLIFFE           OH 44092‐2507
SHAKER, DANNY J                     320 MADISON COURT                                                                              FT MYERS BCH        FL 33931‐3642
SHAKER, DELORE P                    6142 EASTKNOLL DR APT 291                                                                      GRAND BLANC         MI 48439‐5075
SHAKER, DENISE M                    320 MADISON CT                                                                                 FORT MYERS BEACH    FL 33931‐3642
SHAKER, GARY                        11150 RIDGE VIEW TRL                                                                           FENTON              MI 48430‐4001
SHAKER, GREGORY W                   11388 SUNSET DR                                                                                CLIO                MI 48420‐1517
SHAKER, GREGORY WAYNE               11388 SUNSET DR                                                                                CLIO                MI 48420‐1517
SHAKER, HELEN C                     2390 STILLWAGON SE                                                                             WARREN              OH 44484‐3172
SHAKER, JOSEPH W                    1232 ROMAN DR                                                                                  FLINT               MI 48507‐4016
SHAKER, JULIA F                     2424 OAKWOOD DR                                                                                FLINT               MI 48504‐6509
SHAKER, MICHAEL                     68 VANDERBURGH AVE                                                                             RUTHERFORD          NJ 07070‐1040
SHAKER, MICHAEL D                   6075 KING ARTHUR DR                                                                            SWARTZ CREEK        MI 48473‐8808
SHAKER, MICHAEL DENNIS              6075 KING ARTHUR DR                                                                            SWARTZ CREEK        MI 48473‐8808
SHAKER, MICHELLE L                  5390 RAUBINGER RD                                                                              SWARTZ CREEK        MI 48473‐1619
SHAKER, PHILLIP                     1091 WASHINGTON DR                                                                             FLINT               MI 48507‐4236
SHAKER, PHILLIP J                   11700 WEINGARTZ E                                                                              UTICA               MI 48315‐5934
SHAKESHAFF, ANNE                    401 CHURCHILL DR                                                           WINNIPEG MANITOBA
                                                                                                               CANADA R3L‐1W2
SHAKESPEAR, COLETTE M               4214 SUNBURST AVE                                                                              WATERFORD          MI   48329‐2398
SHAKESPEAR, DANIEL                  3712 SENEY DR                                                                                  LAKE ORION         MI   48360‐2709
SHAKESPEAR, HORACIO                 126 OLD POST RD N               C/O GEORGE SHAKESPEAR                                          CROTON ON HUDSON   NY   10520‐1934
SHAKESPEARE                         6111 SHAKESPEARE RD                                                                            COLUMBIA           SC   29223‐7305
SHAKESPEARE COMPANY LLC             6111 SHAKESPEARE RD                                                                            COLUMBIA           SC   29223‐7305
SHAKESPEARE, FRED F                 160 TAR HOLLOW RD EXT                                                                          HANCOCK            NY   13783‐4160
SHAKESPEARE, JULIA M                7415 MARSLAND LANE                                                                             ARLINGTON          TX   76001‐7390
SHAKESPEARE, JULIA MARIE            7415 MARSLAND LANE                                                                             ARLINGTON          TX   76001‐7390
SHAKESPEARE, SARAH M                1408 E 42ND ST                                                                                 ODESSA             TX   79762‐7756
SHAKIL ANSARI                       1938 UPLAND DR                                                                                 ANN ARBOR          MI   48105‐2100
SHAKIL MOHSIN                       3225 MONUMENT                                                                                  ANN ARBOR          MI   48108‐2088
SHAKINIS, SIDNEY J                  110 N WALKER RD                                                                                MUSKEGON           MI   49442‐1543
SHAKINIS, SIDNEY J.                 110 N WALKER RD                                                                                MUSKEGON           MI   49442‐1543
SHAKIR AL                           SHAKIR, AL                      42 A FRANCIS STREET                                            ANSONIA            CT   06401
SHAKIR, AL                          42 FRANCIS ST # A                                                                              ANSONIA            CT   06401‐2245
SHAKIR, JAMES A                     717 MABEL ST                                                                                   KALAMAZOO          MI   49007‐2484
SHAKLEE                             2188 ALPINE WAY                                                                                HAYWARD            CA   94545‐1706
SHAKLEE CORPORATION                 2188 ALPINE WAY                                                                                HAYWARD            CA   94545‐1706
SHAKLEY, MARY F                     12776 CASWELL AVE APT 203                                                                      LOS ANGELES        CA   90066‐4742
SHAKO, MICHAEL G                    9151 W GREENWAY RD UNIT 274                                                                    PEORIA             AZ   85381‐3616
SHAKOCIUS, MARGARET A               306 CHANNEL RD                                                                                 ALBERT LEA         MN   56007‐1404
SHAKOOR GRUBBA & MILLER PLLC        615 GRISWOLD ST STE 1800                                                                       DETROIT            MI   48226‐3989
SHAKOOR, MUSTAFA A                  1014 MARTIN ST                                                                                 JACKSON            MI   49203‐3220
SHAKOOR, OLIVA                      16151 ST MARYS                                                                                 DETROIT            MI   48235‐3649
SHAKOOR, OLIVA                      16151 SAINT MARYS ST                                                                           DETROIT            MI   48235‐3649
SHAKOOR, THADDEUS M                 10291 LONGFORD DR                                                                              SOUTH LYON         MI   48178‐8505
SHAKOPEE CHEVROLET OLDS PONTIAC GEO DADY J MICHAEL                  LINQUIEST & VENNUM , 4200 IDS                                  MINNEAPOLIS        MN   55402
INC                                                                 CENTER
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Name                                Address1                            Address2                     Address3   Address4                 City                State Zip
SHAKOPEE CHEVROLET OLDS PONTIAC GEO SHAKOPEE CHEVROLET OLDS PONTIAC GEO 527 MARQUETTE AVE STE 2100                                       MINNEAPOLIS          MN 55402‐1308
INC ‐ 2D ACTION                     INC
SHAKOPEE CHEVROLET‐OLDSMOBILE‐      1206 1ST AVE E                                                                                       SHAKOPEE            MN 55379‐1611
PONTI
SHAKOPEE CHEVROLET‐OLDSMOBILE‐      1206 1ST AVE E                                                                                       SHAKOPEE            MN 55379‐1611
PONTIAC
SHAKOPEE CHEVROLET‐OLDSMOBILE‐      MARK SALITERMAN                     1206 1ST AVE E                                                   SHAKOPEE            MN 55379‐1611
PONTIAC‐GEO, INC.
SHAKTI TECH TRANSFER INC            84 BOWMAN STREET                                                            HAMILTON CANADA ON L8S
                                                                                                                2T6 CANADA
SHAKULA JOHN                        12801 BOULTER ST                                                                                     DRAPER              UT   84020‐9134
SHAKUNTALA MCCLAIN                  927 MARICOPA DR                                                                                      MURFREESBORO        TN   37128‐4198
SHAKUR, ANITA H                     5560 STATE HIGHWAY 43                                                                                JEFFERSON           TX   75657‐8513
SHAKUR, JAMAL H                     2545 NORTON AVE                                                                                      KANSAS CITY         MO   64127‐4436
SHALABY, SAMIR B                    2576 BRIGGS RD                                                                                       CENTERVILLE         OH   45459‐6644
SHALAKANY LAW OFFICE                12, MARASHLY ST                     ZAMALEK                                 CAIRO 11211 EGYPT
SHALANDRIA K MCGLOWN                640 DELAWARE ST APT 409                                                                              DETROIT             MI   48202‐4407
SHALAWN A LEWIS                     812 LOTHROP RD                                                                                       DETROIT             MI   48202‐2736
SHALAWYLO, WILLIAM L                44824 FERN CIR                                                                                       TEMECULA            CA   92592‐3406
SHALCO SYSTEMS                      3001 W MAIN ST                      PO BOX 40760                                                     LANSING             MI   48917‐4352
SHALEEN CLARK                       19136 DELAWARE AVE                                                                                   REDFORD             MI   48240‐2626
SHALEH A KELLY                      115 COUNTY ROAD 249                                                                                  FLORENCE            AL   35633‐5152
SHALEK, NORMAN J                    2409 PHILADELPHIA LAKE CT                                                                            GREENSBORO          NC   27408‐4300
SHALEN E WILLIAMS                   1541 WOODS DR                                                                                        BEAVERCREEK         OH   45432‐2122
SHALENE DOWNS                       11195 STATE ROUTE 56 WEST                                                                            MT STERLING         OH   43143‐9019
SHALER JR, JAMES J                  5700 3 MILE RD                                                                                       BAY CITY            MI   48706‐9031
SHALER, CLIFFORD                    2830 TATHAM RD                                                                                       SAGINAW             MI   48601‐7064
SHALER, DON D                       4440 SHERMAN RD                                                                                      SAGINAW             MI   48604‐1548
SHALER, SHIRLEY A                   4440 SHERMAN RD                                                                                      SAGINAW             MI   48604‐1548
SHALES, MARGARET A                  232 PRINCETON AVE                                                                                    HUBBARD             OH   44425‐1635
SHALES, MARTIN N                    2444 BAZETTA RD NE                                                                                   WARREN              OH   44481‐9303
SHALES, NANCY M                     2444 BAZETTA RD NE                                                                                   WARREN              OH   44481‐9303
SHALES, NORMAN H                    3794 WOODBINE AVE                                                                                    HUBBARD             OH   44425‐1862
SHALESA DARBY                       2519 W LINWAL LN                                                                                     MILWAUKEE           WI   53209‐5505
SHALESE P HENDERSON                 3745 OTTERBEIN AVE                                                                                   DAYTON              OH   45406‐3633
SHALEWITZ, RONALD F                 218 SUNSET LN                                                                                        HOWELL              NJ   07731‐1925
SHALIBANE PIC/ENGLAN                LAWRENCE WAY, YORKTOWN                                                      CAMBERLEY SURRE EN
                                                                                                                GU153DL ENGLAND
SHALIMAR MOORE                      11706 MAPLEFIELD DR                                                                                  BYRON               MI   48418‐9648
SHALIMARA A KUFCHAK                 339 SCHOONER LANE                                                                                    BERLIN              MD   21811
SHALIMARA KUFCHAK                   339 SCHOONER LN                                                                                      BERLIN              MD   21811‐2592
SHALIN GOHEL                        5424 PATTERSON DR                                                                                    TROY                MI   48085‐4068
SHALITA E STYLES                    107 W TENNYSON AVE                                                                                   PONTIAC             MI   48340‐2673
SHALKOWSKI JR, BERNARD W            263 PALMDALE DR                                                                                      WILLIAMSVILLE       NY   14221‐4042
SHALL, CHARLES R                    979 OLD MACKINAW RD                                                                                  CHEBOYGAN           MI   49721‐9301
SHALL, GABRIEL Z                    11355 OAK GROVE CT                                                                                   WASHINGTON          MI   48094‐3731
SHALLAL JOHN                        4405 DARLENE DR                                                                                      COMMERCE TOWNSHIP   MI   48382‐1477
SHALLAL, AMANDA                     4650 DOUGLAS FIR DR                                                                                  TROY                MI   48085‐3586
SHALLAL, JOHN P                     4405 DARLENE DR                                                                                      COMMERCE TWP        MI   48382‐1477
SHALLCROSS MORTGAGE CO              ATTN: JAY PIERCE SR                 410 CENTURY BLVD                                                 WILMINGTON          DE   19808‐6271
SHALLCROSS, DOROTHY L               12501 LEE HWY                                                                                        FAIRFAX             VA   22030‐6512
SHALLCROSS, ROBERT W                16651 IRISH RIDGE RD                                                                                 E LIVERPOOL         OH   43920‐4040
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Name                               Address1                        Address2                          Address3   Address4         City              State Zip
SHALLENBERGER, ELSIE M             1415 CORDOVA DR                                                                               HEMET              CA 92543‐2656
SHALLENBERGER, JULIA E             900 N HILLCREST CT                                                                            KOKOMO             IN 46901‐3441
SHALLENBERGER, ROGER W             900 N HILLCREST CT                                                                            KOKOMO             IN 46901‐3441
SHALLENBERGER, RONALD P            3085 N 900 W                                                                                  ANDERSON           IN 46011‐9155
SHALLENBERGER, SHARON L            8918 W HILLTOP LN                                                                             ELWOOD             IN 46036‐8868
SHALLENBERGER, TIMOTHY R           10401 E 40TH ST                                                                               KANSAS CITY        MO 64133
SHALLENBERGER, WILLARD L           1705 W 2ND ST                                                                                 MARION             IN 46952‐3363
SHALLING, PAUL J                   30303 ROSENBUSCH DR                                                                           WARREN             MI 48088‐5953
SHALLIS, MAURINE M                 1668 W GLENDALE AVE APT 419                                                                   PHOENIX            AZ 85021‐8939
SHALLIS, MAURINE M                 1668 WEST GLENDALE AVE          APT 419                                                       PHOENIX            AZ 85021‐5021
SHALLON GLOVER                     1600 CROSS LAKE BLVD                                                                          SHREVEPORT         LA 71109‐1919
SHALLON T GLOVER                   1600 CROSS LAKE BLVD                                                                          SHREVEPORT         LA 71109‐1919
SHALLOW, THOMAS
SHALLOW, THOMAS                    STEINHAFEL SMITH & ROWEN        15350 WEST CAPITOL DR ‐ STE 100                               BROOKFIELD        WI   53005
SHALLOWHORN, HENRY D               11625 TARRON AVE                                                                              HAWTHORNE         CA   90250‐1909
SHALLUS BEATTY                     395 HARDING STREET              ROOM 200                                                      DEFIANCE          OH   43512
SHALLWANI, INAYAT A                2426 STOUGHTON CIR                                                                            AURORA            IL   60502‐6480
SHALMIR LUKICH                     2810 GLEN HOLLOW DR                                                                           MCKINNEY          TX   75070‐4267
SHALONDA BRANTLEY                  1011 BUNCHE DR                                                                                DAYTON            OH   45408‐2417
SHALONDA PYLES                     2414 BASSETT PL                                                                               FLINT             MI   48504‐5102
SHALONDA TOLBERT                   5015 PEBBLE CRK E APT 8                                                                       SHELBY TOWNSHIP   MI   48317‐4897
SHALONDA WINSLEY                   116 HOARD CV                                                                                  BRANDON           MS   39042‐9554
SHALONDRA GREENLEE                 680 DELAWARE ST APT D9                                                                        DETROIT           MI   48202‐4452
SHALONGO, JOHN L                   100 KABOODLE RD                                                                               DANVILLE          PA   17821‐7754
SHALOV STONE BONNER & ROCCO LLP    485 SEVENTH AVE STE 1000                                                                      NEW YORK          NY   10018
SHALTER, REX A                     7225 ROAD 15C                                                                                 OTTAWA            OH   45875‐9627
SHALTER, REX ALAN                  7225 ROAD 15C                                                                                 OTTAWA            OH   45875‐9627
SHALTIS, MICHAEL D                 230 TINA MARIE LN                                                                             SMYRNA            DE   19977‐9677
SHALTOCHES, CHARLES S              7591 SEBRING DR                                                                               HUBER HEIGHTS     OH   45424‐2225
SHALTOCHES, CHARLES S              PO BOX 49                                                                                     THONOTOSASSA      FL   33592
SHALTON MICHAEL                    KRISTI PETERSON                 895 GLOUCESTER AVE                                            BRICK             NJ   08723‐5109
SHALTRY, THOMAS D                  PO BOX 1443                                                                                   GAYLORD           MI   49734‐5443
SHALTZ FLUID POWER INC             949 S TOWERLINE RD                                                                            SAGINAW           MI   48601‐9467
SHALTZ FLUID POWER INC             5163 COMMERCE RD                                                                              FLINT             MI   48507‐2945
SHALTZ, HILMA M                    958 E ROWLAND                                                                                 MADISON HEIGHTS   MI   48071‐4333
SHALTZ, KAREN P                    634 DORBERT DR                                                                                MUNITH            MI   49259‐9717
SHALVIS, JOHN R                    28367 GRATIOT AVE                                                                             ROSEVILLE         MI   48066‐4209
SHALYNDRA HARRELL                  27 HAZEL AVE APT 1                                                                            PONTIAC           MI   48341‐1909
SHALYNN L PAYTON                   2718 TRINITY BEND CIR APT 824                                                                 ARLINGTON         TX   76006‐3958
SHALYNN PAYTON                     2718 TRINITY BEND CIR APT 824                                                                 ARLINGTON         TX   76006‐3958
SHAM DEVIN                         3700 SKIPTON CIRCLE                                                                           YORK              PA   17402‐4427
SHAM KUNJUR ANANTHRAM              2421 BALTIMORE CT                                                                             COMMERCE TWP      MI   48382‐4880
SHAM P ENGLE                       342 S JERSEY ST                                                                               DAYTON            OH   45403
SHAM RAJAM                         3615 NORMANDY DR                                                                              ROCHESTER         MI   48306‐4743
SHAMA NAIK                         1242 HARTLAND DR                                                                              TROY              MI   48083‐5431
SHAMA REDDY                        1843 WYNGATE DR                                                                               TROY              MI   48098‐6546
SHAMALEY FAMILY PARTNERS LP        ATTN LJ SHAMALEY JR             11301 GATEWAY BLVD W                                          EL PASO           TX   79936‐6418
SHAMALEY PONTIAC‐BUICK‐GMC, L.P.   955 CROCKETT ST                                                                               EL PASO           TX   79922‐1363
SHAMALEY PONTIAC‐BUICK‐GMC, L.P.   LEE SHAMALEY                    955 CROCKETT ST                                               EL PASO           TX   79922‐1363
SHAMAN, RAMIZ N                    36857 ARLENE DRIVE                                                                            STERLING HTS      MI   48310‐4314
SHAMARA MCNAIR                     8227 CHATEAU LN                                                                               WESTERVILLE       OH   43082‐8565
SHAMAYA L PAYTON                   1214 DICKENS CT                                                                               ARLINGTON         TX   76015‐3508
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Name                             Address1                          Address2                 Address3    Address4         City              State Zip
SHAMAYEV, AGARON A               3168 EAGLE VALLEY DR                                                                    WOODBURY           MN 55129‐4268
SHAMBACH DAVID L                 4633 PRITCHARD OHLTOWN RD                                                               NEWTON FALLS       OH 44444‐9611
SHAMBACH, JULIA R                284 PINE ST                                                                             LOCKPORT           NY 14094‐4927
SHAMBAUGH & SON                  1455 W ALEXIS RD                                                                        TOLEDO             OH 43612‐4044
SHAMBAUGH & SON LP               7614 OPPORTUNITY DR               PO BOX 1287                                           FORT WAYNE         IN 46825‐3363
SHAMBAUGH & SON LP CONTRACTORS   PO BOX 1287                                                                             FORT WAYNE         IN 46801‐1287
ENGINEERS
SHAMBAUGH BAMBI                  HENRY BROWN BPG                   1550 E DRIVERS WAY                                    GILBERT           AZ   85297‐0402
SHAMBAUGH KAST BECK AND          WILLIAMS LLP                      229 W BERRY ST STE 400                                FORT WAYNE        IN   46802‐2200
SHAMBAUGH, MARY E                1387 SHIRLEY GROVE RD                                                                   CLARKESVILLE      GA   30523‐1927
SHAMBAUGH, ROBERT E              8457 CAPTAIN DR                                                                         AVON              IN   46123‐8744
SHAMBER, SAMUEL J                101 4TH AVE                                                                             WEST MIFFLIN      PA   15122‐1609
SHAMBLEAU, MONTGOMERY B          3604 MONROE ST                                                                          DEARBORN          MI   48124‐4605
SHAMBLEN JR, HUGO                112 MAYFAIR CIR W                                                                       PALM HARBOR       FL   34683‐5820
SHAMBLIN, BRAD A                 443 CHURCHILL RD                                                                        GIRARD            OH   44420‐1938
SHAMBLIN, BRUCE                  HC 68 BOX 56                                                                            BIG SPRINGS       WV   26137‐9605
SHAMBLIN, DOROTHY M              701 MARKET ST APT 112                                                                   OXFORD            MI   48371‐3572
SHAMBLIN, GEORGE                 23 DRAKE ST                                                                             OAKFIELD          NY   14125‐1120
SHAMBLIN, GLORIA
SHAMBLIN, ROBERT C               127 ERIE AVE                                                                            FAIRBORN          OH   45324‐4459
SHAMBLIN, ROSCO B                68 MOHICAN DR                                                                           GIRARD            OH   44420‐3651
SHAMBLOTT, JORDAN A              7208 MUIRFIELD LN                                                                       EDEN PRAIRIE      MN   55346‐3443
SHAMBO, ELIZABETH M              PO BOX 666                                                                              MARLBOROUGH       MA   01752‐0666
SHAMBO, RONALD J                 PO BOX 454                                                                              BRUSHTON          NY   12916‐0454
SHAMBREY L WASHINGTON            1731 SHERWOOD BLVD                                                                      EUCLID            OH   44117‐1976
SHAMBREY WASHINGTON              1731 SHERWOOD BLVD                                                                      EUCLID            OH   44117‐1976
SHAMBURGER, ALVIN                2101 HIGHLAND CT                                                                        MOBILE            AL   36605‐2315
SHAMEILA BROOKS                  146 E FLINT PARK BLVD                                                                   FLINT             MI   48505‐3440
SHAMEILA M BROOKS                146 E FLINT PARK BLVD                                                                   FLINT             MI   48505‐3440
SHAMEKA GRIFFIN                  34439 SANDPEBBLE DR                                                                     STERLING HTS      MI   48310
SHAMEKA OWENS                    9764 N LEWIS AVE                                                                        KANSAS CITY       MO   64157‐7802
SHAMEL MALLOIAN                  8761 LAKE MURRAY BLVD UNIT 1                                                            SAN DIEGO         CA   92119‐2754
SHAMEL, DONALD R                 PO BOX 90637                                                                            BURTON            MI   48509‐0637
SHAMEL, EVELYN R                 9235 BLUESTONE CIR.                                                                     INDIANAPOLIS      IN   46236‐8922
SHAMEL, HARRIET                  PO BOX 90637                                                                            BURTON            MI   48509‐0637
SHAMEL, KATHY A                  12114 SCHONBORN PLACE                                                                   CLIO              MI   48420‐2145
SHAMEL, LESLIE G                 6033 FREEDOM LN                                                                         FLINT             MI   48506
SHAMEL, LOWELL C                 9383 GOULD RD                                                                           LINDEN            MI   48451‐9488
SHAMEL, MARK J                   PO BOX 355                                                                              GRAND BLANC       MI   48480‐0355
SHAMEL, MARK J                   2174 E HILL RD APT 58                                                                   GRAND BLANC       MI   48439
SHAMEL, RALPH D                  8149 FAULKNER DR                                                                        DAVISON           MI   48423‐9534
SHAMEL, RALPH DENNIS             8149 FAULKNER DR                                                                        DAVISON           MI   48423‐9534
SHAMELL JONES                    1740 REDBUD LN                                                                          LANSING           MI   48917‐7635
SHAMHART, MICHAEL P              52 EAGLE POINT DR                                                                       NEWTON FALLS      OH   44444‐1289
SHAMHART, NICHOLAS M             640 EDGEWOOD RD                                                                         MANSFIELD         OH   44907‐1527
SHAMHART, NICHOLAS M             851 MCPHERSON ST                                                                        MANSFIELD         OH   44903‐7110
SHAMI, ALEX                      16140 MIDDLEBURY DR                                                                     DEARBORN          MI   48120‐1047
SHAMIAH SPECHT
SHAMIE POMEROY DEVELOPMENT CO    745 BARCLAY CIR STE 310                                                                 ROCHESTER HILLS   MI   48307‐4586
SHAMIE, CATHY M                  1530 S JOHN HIX ST                                                                      WESTLAND          MI   48186‐3770
SHAMIKA YOUNG                    50 LEE RD 620                                                                           AUBURN            AL   36832
SHAMIM, JAVED                    2717 FOREST VIEW CT                                                                     ROCHESTER HILLS   MI   48307‐5905
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Name                           Address1                        Address2                      Address3   Address4         City               State Zip
SHAMION, SCOTT S               W302N8635 WOODLAND DR                                                                     HARTLAND            WI 53029‐8419
SHAMIS, DMITRY A               2150 SUNNYBROOK RD                                                                        COMMERCE TWP        MI 48382‐2171
SHAMKA, RONALD J               15376 GARY LN                                                                             BATH                MI 48808‐8738
SHAMKA, RONALD JAMES           15376 GARY LN                                                                             BATH                MI 48808‐8738
SHAMLEY, REX M                 3872 RAINS CT NE                                                                          ATLANTA             GA 30319‐1605
SHAMLY, LUCILLE                PO BOX 311013                                                                             FLINT               MI 48531‐1013
SHAMMAS, CAESAR M              2365 TWIN LAKES DR APT 2B                                                                 YPSILANTI           MI 48197‐1472
SHAMMAS, OLGA                  1361 N DIXBORO RD                                                                         ANN ARBOR           MI 48105‐9724
SHAMON, MONTHER F              26607 FRANKLIN PTE                                                                        SOUTHFIELD          MI 48033
SHAMOO, ADEL E                 24844 BRACKEN LN                                                                          NEWHALL             CA 91381‐2236
SHAMORY, JIMMIE L              408 E 4TH ST                                                                              FAIRMOUNT           IN 46928‐1406
SHAMOUN JASON                  SHAMOUN, JASON                  30928 FORD RD                                             GARDEN CITY         MI 48135‐1803
SHAMOUN, CHRISTOPHER N         1855 DORCHESTER DR                                                                        COMMERCE TWP        MI 48390‐2987
SHAMOUN, CROSSILL J            12103 DIEGEL RD                                                                           WARREN              MI 48093‐3052
SHAMOUN, CROSSILL J.           12103 DIEGEL RD                                                                           WARREN              MI 48093‐3052
SHAMP, ALFRED E                6412 CURTIN RD                                                                            MORAVIA             NY 13118‐3216
SHAMP, ALFRED E                6412 CURTIN RD.                                                                           MORAVIA             NY 13118‐3216
SHAMP, MARY M                  905 NEWGARDEN AVENUE                                                                      SALEM               OH 44460‐3605
SHAMP, MICHAEL E               426 WHITE OAK TRL                                                                         SPRING HILL         TN 37174‐7539
SHAMPACK, NANCY C              28 FILBERT ST                                                                             SWOYERSVILLE        PA 18704‐2124
SHAMPACK, NANCY C              28 FILBERT STREET                                                                         SWOYERSVILLE        PA 18704‐2124
SHAMPACK, STEPHEN T            28 FILBERT ST                                                                             SWOYERSVILLE        PA 18704‐2124
SHAMPHAN WILLIAM A (356266)    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                               STREET, SUITE 600
SHAMPHAN, WILLIAM A            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                               STREET, SUITE 600
SHAMPINE, MITCHELL J           4354 SILVER LAKE RD                                                                       LINDEN             MI   48451‐9069
SHAMPINE, MITCHELL J.          4354 SILVER LAKE RD                                                                       LINDEN             MI   48451‐9069
SHAMPINE, PHYLLIS L            150 PARK ISLAND DR                                                                        LAKE ORION         MI   48362‐2760
SHAMPINE, RAYMOND W            3740 WOODPOINTE                                                                           ORTONVILLE         MI   48462
SHAMPINE, ROBERT R             10211 GRAHAM DR                                                                           CLARKSTON          MI   48348‐2425
SHAMPINE, TIMOTHY J            171 CHESTNUT CIR W                                                                        DAVISON            MI   48423‐9188
SHAMPINE, TIMOTHY JAY          171 CHESTNUT CIRCLE WEST                                                                  DAVISON            MI   48423‐9188
SHAMPO, PATRICIA ANN           913 STATE ROUTE 95                                                                        MOIRA              NY   12957‐1810
SHAMPO, PATRICIA ANN           913 ST RT 95                                                                              MOIRA              NY   12957‐1810
SHAMPTON, SCOTT N              2360 FERNDOWN DR                                                                          MIAMISBURG         OH   45342‐7435
SHAMROCK                       1330 W ALEXIS RD # 118                                                                    TOLEDO             OH   43612‐4289
SHAMROCK AUTO REPAIR SERVICE   821 WILLIS AVE                                                                            ALBERTSON          NY   11507‐1917
SHAMROCK CAB CO INC            30546 GRATIOT AVE                                                                         ROSEVILLE          MI   48066‐1728
SHAMROCK CHEVROLET             3907 AVENUE Q                                                                             LUBBOCK            TX   79412‐1638
SHAMROCK FAB/FENTON            3051 W THOMPSON RD                                                                        FENTON             MI   48430‐9705
SHAMROCK FABRICATING INC       2347 E BRISTOL RD                                                                         BURTON             MI   48529‐1304
SHAMROCK FASTENER TECH LLC     DIV OF RING SCREW TEXTRON       6125 18 MILE RD                                           STERLING HEIGHTS   MI   48314‐4205
SHAMROCK FASTENER TECH LLC     6125 18 MILE RD                                                                           STERLING HEIGHTS   MI   48314‐4205
SHAMROCK SPORTSFEST INC        2865 LYNNHAVEN DR STE C5                                                                  VIRGINIA BEACH     VA   23451‐1544
SHAMROCK TECHNOLOGIES INC      750 WALNUT AVE                                                                            CRANFORD           NJ   07016‐3372
SHAMROCK TIRE                  3001 S BROADWAY ST                                                                        WICHITA            KS   67216‐1017
SHAMROCK, JULIUS M             4471 HOAGLAND BLACKSTUB RD                                                                CORTLAND           OH   44410‐9573
SHAMROCK, PATTY M              812 COLERIDGE AVE. N.W.                                                                   WARREN             OH   44483‐2121
SHAMROCK, PAUL L               2615 GRIFFITH DR                                                                          CORTLAND           OH   44410‐9658
SHAMROCK, THOMAS J             29108 HOMER LN                                                                            MCLOUD             OK   74851‐8481
SHAMROCK/HARRISON              114 N SYCAMORE ST               P.O. BOX 1813                                             HARRISON           AR   72601‐4321
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Name                              Address1                         Address2                      Address3             Address4         City                State Zip
SHAMS IQBAL, INC                  3600 LIME ST STE 714                                                                                 RIVERSIDE            CA 92501‐2978
SHAMSUN NEHAR                     40 N PLAZA BLVD                                                                                      ROCHESTER HILLS      MI 48307‐3900
SHAMUS, MARGARET R                3101 FEDOR AVE                                                                                       LINDEN               NJ 07036‐3511
SHAMUS, MARGARET R                3101 FEDOR AVENUE                                                                                    LINDEN               NJ 07036‐3511
SHAN
SHAN INDUSTRIES LLC               1900 W IOLA ST                                                                                       BROKEN ARROW        OK 74012‐2329
SHAN MUGAN
SHAN SMITH                        1301 E MOON VISTA ST                                                                                 APACHE JCT          AZ   85219‐9631
SHAN, LIJUAN                      6788 TWICKENHAM                                                                                      SHELBY TWP          MI   48317‐6331
SHAN, ZHUOYING                    28053 HICKORY DR                                                                                     FARMINGTON HILLS    MI   48331‐2953
SHANA D SHAW                      86 NORTHWOOD DR                                                                                      O FALLON            MO   63366‐3323
SHANA DE WOLF                     3447 POND RIDGE DR                                                                                   HOLLY               MI   48442‐1184
SHANA EASTERN                     15503 EBBYNSIDE CT                                                                                   BOWIE               MD   20716‐2626
SHANA HURLEY
SHANA PACIOCCO                    42501 WOODBRIDGE DR                                                                                  CANTON              MI   48188‐1110
SHANA R HARRIS                    2201 LAKEVIEW AVE                                                                                    DAYTON              OH   45417
SHANA SHAW                        37927 TERRA MAR ST                                                                                   HARRISON TOWNSHIP   MI   48045‐2790
SHANA V STACY                     7145 MAUFORD DR                                                                                      HUBER HEIGHTS       OH   45424‐3154
SHANABARGER, FRANCIS X            2307 WILLOW SPRINGS RD                                                                               KOKOMO              IN   46902‐4591
SHANABARGER, SHIRLEY              273 E MAPLE ST                                                                                       WABASH              IN   46992‐2839
SHANAE E WEAVER                   5324 ROCKPORT AVE                                                                                    TROTWOOD            OH   45427
SHANAFELT MANUFACTURING CO        PO BOX 74047                                                                                         CLEVELAND           OH   44194‐4047
SHANAFELT MFG CO                  2633 WINFIELD WAY NE                                                                                 CANTON              OH   44705‐2069
SHANAFELT, CECIL L                7906 E 1000 S                                                                                        LA FONTAINE         IN   46940‐9206
SHANAFELT, CLINTON A              118 S MCKINLEY RD                                                                                    FLUSHING            MI   48433‐2038
SHANAFELT, CLINTON AUGUST         118 S MCKINLEY RD                                                                                    FLUSHING            MI   48433‐2038
SHANAFELT, DANIEL R               1126 KENSINGTON AVENUE                                                                               FLINT               MI   48503‐5314
SHANAFELT, DANIEL RICHARD         1126 KENSINGTON AVENUE                                                                               FLINT               MI   48503‐5314
SHANAFELT, FAY R                  9290 HENDERSON RD R#1                                                                                CORUNNA             MI   48817
SHANAFELT, REX E                  16823 S SCENIC DR                                                                                    BARBEAU             MI   49710‐9435
SHANAFELT, RICHARD A              4407 TORREY RD                                                                                       FLINT               MI   48507‐3458
SHANAFELT, RICHARD ALLEN          4407 TORREY RD                                                                                       FLINT               MI   48507‐3458
SHANAHAN MICHELLE                 SHANAHAN, MICHELLE               AMERICAN FAMILY INSURANCE     9510 MERIDIAN BLVD                    ENGLEWOOD           CO   80155
SHANAHAN PATRICK (459329)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA   23510
                                                                   STREET, SUITE 600
SHANAHAN TRANSPORTATION SYSTEMS   4305 CLAIRTON BLVD RTE 51                                                                            PITTSBURGH          PA 15236
INC
SHANAHAN'S ESPRESS INC            PO BOX C‐110                                                                                         CINNAMINSON         NJ   08077
SHANAHAN, ALICE J                 6935 STEINMEIER DR W                                                                                 INDIANAPOLIS        IN   46220‐3961
SHANAHAN, BARBARA                 11351 S.W. 76TH COURT                                                                                OCALA               FL   34476‐4125
SHANAHAN, BARBARA                 11351 SW 76TH CT                                                                                     OCALA               FL   34476‐4125
SHANAHAN, BETTIE G                1201 HICKORY HOLLOW ROAD                                                                             COX'S MILLS         WV   26342‐9738
SHANAHAN, DANIEL P.               5600 TRUSCOTT TERRACE                                                                                LAKEVIEW            NY   14085
SHANAHAN, DAYTON T                1030 CORTEZ DR                                                                                       WEIDMAN             MI   48893‐8838
SHANAHAN, DENNIS
SHANAHAN, FRANK P                 76 BOUCHELLE RD                                                                                      NORTH EAST          MD   21901‐2514
SHANAHAN, JACQUELYN M             1570 PASEO GRANDE APT 2049                                                                           BULLHEAD CITY       AZ   86442‐8531
SHANAHAN, KIMBERLY A              769 BIRCH TREE LN                                                                                    ROCHESTER HILLS     MI   48306‐3306
SHANAHAN, LOUIS F                 48722 FRENCH CREEK CT.                                                                               SHELBY TWP.         MI   48315‐4283
SHANAHAN, MICHAEL                 2580 HORSESHOE TRL                                                                                   HASTINGS            MI   49058‐8265
SHANAHAN, MICHELLE                AMERICAN FAMILY INSURANCE        9510 MERIDIAN BLVD                                                  ENGLEWOOD           CO   80155
SHANAHAN, MIRANDA
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Name                             Address1                        Address2                         Address3   Address4         City               State Zip
SHANAHAN, PATRICK                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA 23510
                                                                 STREET, SUITE 600
SHANAHAN, PATRICK B              2929 WOODSIDE DR                                                                             PLAINFIELD         IN   46168‐3003
SHANAHAN, PATRICK J              7100 CHERRY VALLEY AVE SE                                                                    CALEDONIA          MI   49316‐8223
SHANAHAN, PATRICK J              4053 MANNER DR                                                                               FLINT              MI   48506‐2064
SHANAHAN, PATRICK JOHN           4053 MANNER DR                                                                               FLINT              MI   48506‐2064
SHANAHAN, THOMAS D               PO BOX 285                                                                                   BIRCH RUN          MI   48415‐0285
SHANAN, JAMES D                  4603 SUCASA CIR                                                                              ENGLEWOOD          OH   45322‐2548
SHANANAQUET, LAWRENCE N          490 CLOVER RIDGE NW             45                                                           GRAND RAPIDS       MI   49504
SHANANAQUET, LAWRENCE N          APT 45                          490 CLOVER RIDGE AVE NORTHWEST                               GRAND RAPIDS       MI   49504‐8025

SHANANHAN, DENNIS
SHANAPHY, RICHARD J              614 MURRAY CIR                                                                               WARMINSTER         PA   18974‐2735
SHANAVER                         19135 ALLEN RD STE 100                                                                       BROWNSTOWN TWP     MI   48183‐6813
SHANAWAY, RICHARD T              2107 E MAIN ST                                                                               SHAWNEE            OK   74801‐7846
SHANCE, LARRY N                  1890 N WHEATON RD                                                                            CHARLOTTE          MI   48813‐8658
SHANCE, RANDY C                  300 NORTH EATON BOX 677                                                                      NASHVILLE          MI   49073
SHANCE, STEVEN W                 7117 N IONIA RD                                                                              VERMONTVILLE       MI   49096‐9768
SHAND, EDWARD H                  1388 MILTON RD                                                                               PERRY              MI   48872‐8516
SHAND, HELEN T                   1166 NILES CORTLAND RD NE                                                                    WARREN             OH   44484‐1007
SHAND, NATHANIEL J               1166 NILES CORTLAND N.E.                                                                     WARREN             OH   44484‐1007
SHANDA D MORGAN                  2531 JOHN STEVEN WAY                                                                         REYNOLDSBURG       OH   43068
SHANDA MILLSAP                   1109 EASTWICK DRIVE                                                                          ARLINGTON          TX   76002‐5557
SHANDA R JACKSON                 4238 NEVADA AVE                                                                              DAYTON             OH   45416
SHANDERSKY, JAMES T              921 N FAIRVILLE AVE                                                                          HARRISBURG         PA   17112‐9462
SHANDILIS, GEORGE                4873 KEITHDALE LN               C/O CHRISTINE A PETERSON                                     BLOOMFIELD HILLS   MI   48302‐2424
SHANDLEY, JOHN A                 16147 VALCREST DRIVE                                                                         LINDEN             MI   48451‐9094
SHANDRA, ROSS                    911 LAKE AVE                                                                                 CLARK              NJ   07066‐2839
SHANDREA BEASLEY                 609 LANCASTER LN                                                                             PONTIAC            MI   48342‐1853
SHANDS FLOYD (631290)            COON BRENT & ASSOCIATES         2010 S BIG BEND BLVD                                         SAINT LOUIS        MO   63117‐2404
SHANDS, DAVID W                  8215 MOORISH RD                                                                              BIRCH RUN          MI   48415‐8569
SHANDS, FLOYD                    COON BRENT & ASSOCIATES         2010 S BIG BEND BLVD                                         SAINT LOUIS        MO   63117‐2404
SHANDS, GLEN B                   9327 NORTH STATE ROAD                                                                        OTISVILLE          MI   48463‐9457
SHANDS, MARY H                   2672 WENDEE DR APT 2532                                                                      CINCINNATI         OH   45238‐2739
SHANDS, NANCY A                  8215 MOORISH RD                                                                              BIRCH RUN          MI   48415‐8569
SHANDS, PEGGY J                  1721 HIGHWAY 51                                                                              FISK               MO   63940‐8158
SHANDS, PEGGY J                  1721 HWY 51                                                                                  FISK               MO   63940‐8158
SHANDS, WAYNE A                  7254 PONDEROSA DR                                                                            SWARTZ CREEK       MI   48473‐9426
SHANDS, WAYNE ANTHONY            7254 PONDEROSA DR                                                                            SWARTZ CREEK       MI   48473‐9426
SHANDY, J L TRANSPORTATION INC   PO BOX 418                                                                                   CROWN POINT        IN   46308‐0418
SHANE
SHANE A HENSON                   1606 THUNDERBIRD LN             APT 60                                                       WEST CARROLLTON    OH   45449‐2575
SHANE A VANZANT                  PO BOX 284                                                                                   EATON              OH   45320‐0285
SHANE ANDERSON                   132 N EAST ST                                                                                PLAINFIELD         IN   46168‐1108
SHANE ANDERSON                   12200 SHADOW WOOD TRL                                                                        BURLESON           TX   76028‐7561
SHANE BAILEY
SHANE BALCER                     11295 GRAND OAK DR APT 3                                                                     GRAND BLANC        MI   48439‐1251
SHANE BREMER                     1059 E BOMBAY RD                                                                             HOPE               MI   48628‐9760
SHANE C WIGET                    1166 EAST ST ROUTE 73                                                                        SPRINGBORO         OH   45066
SHANE CARY                       710 E KEYSER ST                                                                              GARRETT            IN   46738‐1607
SHANE CHESNEY                    43 ROSECREEK LN                                                                              RENO               NV   89511
SHANE CHRISTOPHER                4121 HONEYBROOK AVE                                                                          DAYTON             OH   45415
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Name                    Address1                           Address2                    Address3         Address4              City              State Zip
SHANE CLARKE            19410 CORAL GABLES ST                                                                                 SOUTHFIELD         MI 48076‐4462
SHANE COLVARD           323 UPPER STONE AVE APT B                                                                             BOWLING GREEN      KY 42101‐9199
SHANE DAVIS             140 HAWTHORN DR                                                                                       PENDLETON          IN 46064‐8940
SHANE DAVIS             818 SKYVIEW DR                                                                                        WEST CARROLLTON    OH 45449‐1637
SHANE DAVIS             PO BOX 726                                                                                            WARREN             IN 46792‐0726
SHANE DAVOLL            11633 STATE ROUTE 120                                                                                 LYONS              OH 43533‐9645
SHANE DELONG            17096 LEGGETT RD                                                                                      MONTVILLE          OH 44064‐9721
SHANE DESMIER           23711 HICKORY GROVE LN                                                                                NOVI               MI 48375‐3161
SHANE E ALLEN           5711 YOUNGSTOWN KINGSVILLE RD                                                                         CORTLAND           OH 44410‐9717
SHANE E COLE            8155 E. NEW CARLISLE RD.                                                                              NEW CARLISLE       OH 45344
SHANE E CONN            138 W CORNELL AVE                                                                                     PONTIAC            MI 48340‐2720
SHANE E EGLESTON        181 OAK DR                                                                                            CARLISLE           OH 45005‐5810
SHANE E GROOMS          419 WASHINGTON ST                                                                                     XENIA              OH 45385‐5650
SHANE FREIGHT SYSTEMS   PO BOX 2718                                                                                           FRESNO             CA 93745
SHANE FRISBEY           2124 AQUEDUCT PL                                                                                      INDEPENDENCE       MO 64057‐1011
SHANE FYFE              C/O PAUL LEE & ASSOCIATES          ATTN: PAUL LEE              20 MAITLAND ST   TORONTO ONTARIO M4Y
                                                                                                        1C5
SHANE GAILEY            RONNIE L CROSBY, ESQUIRE           PETERS, MURDAUGH, PARKER,   PO BOX 457                             HAMPTON            SC   29924
                                                           ELTZROTH & DETRICK PA
SHANE GAILEY            RONNIE L. CROSBY, ESQUIRE          PETERS, MURDAUGH, PARKER,   PO BOX 457                             HAMPTON            SC   29924
                                                           ELTZROTH & DET
SHANE HALL              107 GARRETT LANE                                                                                      GREENSBURG        PA    15601
SHANE HERRIMAN          8585 DEVIN DR                                                                                         DAVISON           MI    48423‐2145
SHANE HILL              3002 MICHAEL AVE SW                                                                                   GRAND RAPIDS      MI    49509‐2760
SHANE ISENHOFF          37703 DEVOE ST                                                                                        CLINTON TWP       MI    48036‐2902
SHANE J ALBAUGH         1868 N VILLA CT                                                                                       ESSEXVILLE        MI    48732‐1830
SHANE JOHNSON           1947 SUNTREE CT                                                                                       ZEELAND           MI    49464‐8347
SHANE KEELY             6115 TREE LINE DR                                                                                     GRAND BLANC       MI    48439‐9789
SHANE L ENGLISH         3343 WALDECK PL                                                                                       DAYTON            OH    45405‐2050
SHANE L PALMER          1237 GUNTLE RD                                                                                        NEW LEBANON       OH    45345
SHANE L VAN‐DE‐CAR      629 DUBIE RD                                                                                          YPSILANTI         MI    48198‐8025
SHANE LAWSON MOREHEAD
SHANE LEACH             471 ROOKWOOD DR                                                                                       AMES              IA    50010‐9207
SHANE LINSON            4217 W CASTLE RD                                                                                      FOSTORIA          MI    48435‐9600
SHANE LITTLE            4400 HILTON AVE SE                                                                                    LOWELL            MI    49331‐8930
SHANE M CASKEY          2316 WIENBURG                                                                                         MORAINE           OH    45418
SHANE M FEDLER          2830 SANTA ROSA DR                                                                                    KETTERING         OH    45440‐1320
SHANE M LUNSFORD        107 HOLLY CT                                                                                          LAWRENCEBURG      KY    40342
SHANE M MADIGAN         429 CEDARWOOD TER                                                                                     ROCHESTER         NY    14609
SHANE M SMITH           6519 GOSHEN RD                                                                                        GOSHEN            OH    45122
SHANE M TAYLOR          1500 RIVERVIEW DR                                                                                     LIMA              OH    45805
SHANE MANN              2111 GOTTS HYDRO ROAD SOUTH                                                                           BOWLING GREEN     KY    42103‐9543
SHANE MC NARY           421 WARREN ST                                                                                         CHARLOTTE         MI    48813‐1968
SHANE MCBRIDE           410 NW PEBBLE LN                                                                                      ISSAQUAH          WA    98027‐5632
SHANE MCCUTCHEN         4510 MAPLETON DR                                                                                      HOWELL            MI    48843
SHANE MOLES             1498 CEDAR BEND                                                                                       SOUTHSIDE         AL    35907
SHANE MORRIS            1741 S. CLINTON TR                                                                                    EATON RAPIDS      MI    48827
SHANE MURRAY            10213 BEVERLY PL                                                                                      WAUWATOSA         WI    53226‐1628
SHANE MUSSEY            2205 MEADOWLARK DR                                                                                    JANESVILLE        WI    53546‐1177
SHANE O'ROURKE
SHANE OLSON             PO BOX 9022                        C/O SHANGHAI                                                       WARREN            MI 48090‐9022
SHANE OPENO             3182 OAKLAWN PARK                                                                                     SAGINAW           MI 48603‐6192
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Name                       Address1                       Address2            Address3         Address4         City                State Zip
SHANE P O'SHEA             4113 CURUNDU AVE                                                                     TROTWOOD             OH 45416
SHANE P WILSON             814 NE 68TH ST                                                                       GLADSTONE            MO 64118‐2610
SHANE PARKER               2388 EAST BERGIN AVENUE                                                              BURTON               MI 48529‐2304
SHANE POLLARD              2664 E 400 S                                                                         LEBANON              IN 46052‐9641
SHANE PRIOR                5869 OAKLAND VALLEY DR                                                               ROCHESTER            MI 48306‐2849
SHANE R BRIGANTI           17 ESSLA DR                                                                          ROCHESTER            NY 14612
SHANE R GRAY               711 W WENGER RD APT 142                                                              ENGLEWOOD            OH 45322‐1911
SHANE R WOODROW            24650 ROSEMONT DR                                                                    SOUTH LYON           MI 48178‐8022
SHANE REDDIN               2129 LEGOMA DR                                                                       FORT WAYNE           IN 46819‐2017
SHANE S BISTREK            836 ALVERNO AVE                                                                      DAYTON               OH 45410
SHANE S SHERMAN            1002 HUFFMAN AVE                                                                     DAYTON               OH 45403‐‐ 29
SHANE SCHERCH
SHANE SIDEBOTTOM           12350 NOONAN CT                                                                      UTICA               MI   48315‐5867
SHANE SMITH                2547 EMPIRE DR                                                                       WEST BLOOMFIELD     MI   48324‐1736
SHANE STALLARD             1121 LESLIE RD                                                                       HVRE DE GRACE       MD   21078‐1717
SHANE STEELE               5010 MIDDLETON PIKE                                                                  LUCKEY              OH   43443‐9701
SHANE STHEINER             7469 NEW HAMPSHIRE DR                                                                DAVISON             MI   48423‐9512
SHANE SWEENEY              1605 BEARANGER RD                                                                    ATTICA              MI   48412‐9284
SHANE T DONOVAN            310 N CLAY ST                                                                        NEW CARLISLE        OH   45344
SHANE T MUTERSPAN          2323 HITE RD                                                                         JAMESTOWN           OH   45335
SHANE T REED               2870 STOP EIGHT ROAD #1                                                              DAYTON              OH   45414
SHANE THURSTON             7070 DUTCH RD                                                                        SAGINAW             MI   48609‐9501
SHANE TODD                 215 SW SEASIDE SPARROW ST                                                            LEES SUMMIT         MO   64082‐4518
SHANE TRANSPORTATION INC   11251 VILLA GRANDE DRIVE                                                             N ROYALTON          OH   44133‐3258
SHANE VEST                 3513 OAK MEADOWS CT                                                                  COMMERCE TOWNSHIP   MI   48382‐1948
SHANE W CREMEANS           127 HARBOR WAY                                                                       ANN ARBOR           MI   48103‐6628
SHANE WATKINS              4811 MONTAUK AVE                                                                     CLEVELAND           OH   44134‐2123
SHANE WELLER               APT A6                         634 MORSE STREET                                      IONIA               MI   48846‐8611
SHANE WILKINS              9328 N WEBSTER RD                                                                    CLIO                MI   48420‐8545
SHANE WILLIAMS             605 PARK STREET                                                                      FENTON              MI   48430‐2072
SHANE WILSON               814 NE 68TH ST                                                                       GLADSTONE           MO   64118‐2610
SHANE WOODROW              24650 ROSEMONT DR                                                                    SOUTH LYON          MI   48178‐8022
SHANE, BRYAN M             105 NW 27TH ST                                                                       BLUE SPRINGS        MO   64015‐3346
SHANE, CHERYL A            PO BOX 32                                                                            SWAYZEE             IN   46986
SHANE, CHRISTOPHER S       1090 VIA PALERMO                                                                     NEWBURY PARK        CA   91320‐6722
SHANE, CURTIS W            98 HARDWOOD DR                                                                       INWOOD              WV   25428‐3630
SHANE, DOROTHY J           405 NORTH HILL STREET                                                                FAIRMOUNT           IN   46928‐1627
SHANE, DOROTHY J           405 N HILL ST                                                                        FAIRMOUNT           IN   46928‐1627
SHANE, EARL                1019 PADDOCK RD                                                                      SMYRNA              DE   19977‐9613
SHANE, EARL E              739 AVALON CT                                                                        GREENTOWN           IN   46936‐1601
SHANE, EMMA R              825 N MERIDIAN ST APT 703                                                            GREENTOWN           IN   46936‐1272
SHANE, GEORGE B            1591 APPALOOSA DR                                                                    GERMANTOWN          TN   38138‐5072
SHANE, JEFFREY B           PO BOX 81340                                                                         ROCHESTER           MI   48308‐1340
SHANE, JOSEPH              4112 WINDWARD DR                                                                     LANSING             MI   48911‐2505
SHANE, KAROL               4 STATE ST                                                                           OSSINING            NY   10562‐4608
SHANE, LELA P              11 2ND STREET                                                                        TROY                OH   45373‐1303
SHANE, LELA P              33 JOHN AVE                                                                          NEW CARLISLE        OH   45344‐9117
SHANE, LEO                 1011 HAPEMAN ST                                                                      LANSING             MI   48915‐1445
SHANE, MYRNA L             3290 QUEENSBURY DR                                                                   COLUMBUS            IN   47203‐2668
SHANE, PAUL T              3290 QUEENSBURY DR                                                                   COLUMBUS            IN   47203‐2668
SHANE, RUTH                PO BOX 543                                                                           SANDY SPRINGS       SC   29677‐0543
SHANE, WILLIAM             242 BRUNSWICK BLVD                                                                   BUFFALO             NY   14208‐1631
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Name                                  Address1                             Address2                        Address3                  Address4                  City            State Zip
SHANE, WILLIAM B                      1011 HAPEMAN ST                                                                                                          LANSING          MI 48915‐1445
SHANEFELT, EDITH V                    8850 RT 35 WEST                                                                                                          NEW LEBANON      OH 45345
SHANEFELT, RICHARD A                  39335 VINELAND ST SPC 150                                                                                                CHERRY VALLEY    CA 92223‐4446
SHANEL YOUNG                          2854 AUDRAS WAY S APT 1137                                                                                               FORT WORTH       TX 76115‐0759
SHANELL HENRY                         2919 PINTO CIR                                                                                                           LANSING          MI 48906‐8102
SHANELL SIMMONS                       PO BOX 535183                                                                                                            GRAND PRAIRIE    TX 75053‐5183
SHANELL WEATHERSPOON                  432 KUHN ST                                                                                                              PONTIAC          MI 48342‐1942
SHANEOUR, DEBORAH L                   2502 W ARBOR RD                                                                                                          ANN ARBOR        MI 48103‐9522
SHANEOUR, THEODORE E                  2502 W ARBOR RD                                                                                                          ANN ARBOR        MI 48103‐9522
SHANEQUA MILTON                       664 EMERSON AVE                                                                                                          PONTIAC          MI 48340‐3217
SHANEQUA PATE                         1137 AMOS ST                                                                                                             PONTIAC          MI 48342‐1883
SHANER ENERGY                                                              40 PENNSYLVANIA AVE                                                                                  PA 16652
SHANER JR, CHARLES S                  2476 S 75 W                                                                                                              FRANKLIN         IN 46131‐8439
SHANER JR, CHARLES S                  2476 SOUTH 75 WEST                                                                                                       FRANKLIN         IN 46131‐8439
SHANER JR, FRED C                     PO BOX 492                                                                                                               LONDON           OH 43140‐0492
SHANER MARNIE                         219 N 19TH ST                                                                                                            BOISE            ID 83702‐4933
SHANER, ALLEN R                       PO BOX 286                                                                                                               WEIDMAN          MI 48893‐0286
SHANER, BETTY A                       2462 TAMARINDO DR                                                                                                        THE VILLAGES     FL 32162‐0188
SHANER, CHARLES E                     4640 SUMMERFIELD RD                                                                                                      PETERSBURG       MI 49270‐9707
SHANER, DAVID M                       4974 LITTLE CRAB RD                                                                                                      JAMESTOWN        TN 38556‐6421
SHANER, EDNA M                        20 HERMITAGE HILLS BLVD                                                                                                  HERMITAGE        PA 16148‐5706
SHANER, EDNA M                        20 HERMITGE HILLS BLVD                                                                                                   HERMITAGE        PA 16148‐5706
SHANER, LEONARD                       3732 LANCASTER DR                                                                                                        STERLING HTS     MI 48310‐4405
SHANER, RAY K                         960 S HAGUE AVE                                                                                                          COLUMBUS         OH 43204‐2306
SHANER, SHIRLEY J                     2274 MULLINIX RD                                                                                                         GREENWOOD        IN 46143‐8618
SHANER, WANDA L                       2476 S 75 W                                                                                                              FRANKLIN         IN 46131‐8439
SHANES HOOIE                          327 VICTORIA PARK DR                                                                                                     HOWELL           MI 48843‐1263
SHANES RIB SHACK                      5770 PEACHTREE INDUSTRIAL BLVD STE                                                                                       NORCROSS         GA 30071‐1438
                                      111
SHANEY, ANNA M                        12533 GRACEWOOD DR                                                                                                       BALTIMORE       MD   21220‐1237
SHANEY, FRANKLIN P                    12533 GRACEWOOD DR                                                                                                       BALTIMORE       MD   21220‐1237
SHANEY, MEREDITH M                    2 GOLDENROD DR                                                                                                           GEORGETOWN      DE   19947‐1820
SHANEYBROOK WALTER T JR (ESTATE OF)   ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                                          BALTIMORE       MD   21202
(630134)                                                                   CHARLES CENTER 22ND FLOOR
SHANEYBROOK, WALTER T                 ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET, ONE                                                           BALTIMORE       MD 21202
                                                                           CHARLES CENTER 22ND FLOOR
SHANEYFELT, BILLY J                   1235 ANGELICA ST                                                                                                         BOWLING GREEN   KY   42104‐5540
SHANEYFELT, HELEN L                   C/O GWIN CARROLL                     1395 BOTTO DRIVE                                                                    XENIA           OH   45385‐5385
SHANEYFELT, HELEN L                   1395 BOTTO AVE                       C/O GWIN CARROLL                                                                    XENIA           OH   45385‐1601
SHANEYFELT, KAREN B                   1235 ANGELICA ST                                                                                                         BOWLING GREEN   KY   42104‐5540
SHANEYFELT, LESLIE H                  295 PETE DAVIS RD                                                                                                        NEWNAN          GA   30263‐5027
SHANEYFELT, RONALD D                  901 LAURELWOOD ROAD                                                                                                      KETTERING       OH   45419‐1228
SHANG‐TAE YEE                         1524 OAKCREST DR                                                                                                         TROY            MI   48083‐5336
SHANGAHAI GENERAL MOTORS              ATTN: GENERAL COUNSEL                1500 SHEN JIANG RD.                                       PU DONG SHANGHAI CHINA
CORPORATION LIMITED                                                                                                                  (PEOPLE'S REP)
SHANGAHI GENERAL MOTORS               MARK BERNHARD, FINANCE DEPARTMENT 1500 SHENJIANG ROAD                JINQIAO EXPORT PROCESSING PUDONG SHANGHAI
CORPORATION LIMITED                                                                                        ZONE                      201206 CHINA (PEOPLE'S
SHANGHAI AUTO/CHINA                   1493 S PUDONG (S) RD                                                                           SHANGHAI CB 200122
                                                                                                                                     CHINA
SHANGHAI AUTOMOBILE AIR‐              #1188 LIANXI RD                      BEICAI PUDONG SHANGHAI 201204                             BEICAI PUDONG, SHANGHAI
                                                                           PR                                                        PR 201204 CHINA
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Name                            Address1                             Address2                         Address3                    Address4              City             State Zip
SHANGHAI AUTOMOBILE AIR‐        NO 1188 LIANXI ROAD BEICAI TOWN      PUDONG NEW AREA                                              SHANGHAI 201204 CHINA
CONDITIONER                                                                                                                       (PEOPLE'S REP)
SHANGHAI AUTOMOBILE COMPANY     SACO INTERNATIONAL TRADE BLDG        2119 ZHANG YANG RD.                                          PUDONG SHANGHAI CHINA
LIMITED                                                                                                                           (PEOPLE'S REP)
SHANGHAI AUTOMOBILE I/E CORP    16A‐C TIMES SQUARE                   #500 ZHANG YANG RD.                                          SHANGHAI 200122 CHINA
SHANGHAI AUTOMOBILE IMP & EXP   KELLY GIAN                           SHANGHAI GEAR WORKS              25TH FL YANDANG BLDG 105    MONTERREY NL 65550
                                                                                                                                  MEXICO
SHANGHAI AUTOMOBILE IMPORT &    KELLY GIAN                           SHANGHAI GEAR WORKS              25TH FL YANDANG BLDG 105    SHANGHAI CHINA
EXPORT                                                                                                                            (PEOPLE'S REP)
SHANGHAI AUTOMOBILE IMPORT &    N0 2119 ZHANGYANG RD                                                                              SHANGHAI 200135 CHINA
EXPORT                                                                                                                            (PEOPLE'S REP)
SHANGHAI AUTOMOBILE IMPORT &    1493 S PUDONG (S) RD                                                                              SHANGHAI, CB 20012
EXPORT CO.                                                                                                                        CHINA
SHANGHAI AUTOMOBILE IMPORT &    2119 ZHANG YANG ROAD                                                                              PUDONG SHANGHAI CHINA
EXPORT CO., LTD                                                                                                                   (PEOPLE'S REP)
SHANGHAI AUTOMOBILE IMPORT &    2119 ZHANG YANG ROAD                                                                              PUDONG SHANGHAI CHINA
EXPORT CO., LTD.                                                                                                                  (PEOPLE'S REP)
SHANGHAI AUTOMOBILE IMPORT &    1301 W LONG LAKE RD STE 190          FRMLY SAIC USA INC                                                                 TROY              MI 48098‐6336
EXPORT PU DONG CO LTD
SHANGHAI AUTOMOTIVE             1301 W LONGLAKE ROAD                                                                                                        TROY          MI 48098
SHANGHAI AUTOMOTIVE CO LTD      NO 506 YECHENG RD JIADING DISTRICT                                                                SHANGHAI CN 201822
                                                                                                                                  CHINA (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE CO LTD      TOM SHEN‐274                         CHINA SPRING FACTORY             NO 291 YUN CHUAN ROAD       SHANGHAI CHINA
                                                                                                                                  (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE IMPORT &    ATTN: PRESIDENT                      25F YAN DANG BUILDING            107 YAN DANG RD.            SHANGHAI 200020 CHINA
EXPORT CORPORATION                                                                                                                (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE INDUSTRY    489 WEIHAI RD.                       ATTN: HU MAOYUAN, SHEN JIANHUA                               SHANGAHI 200041 CHINA
CORPORATION                                                                                                                       (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE INDUSTRY    489 WEI HAI RD                                                                                    SHANGHAI, CHINA
CORPORATION
SHANGHAI AUTOMOTIVE INDUSTRY    489 WEIHAI RD.                                                                                 SHANGAHI 200041 CHINA
CORPORATION                                                                                                                    (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE INDUSTRY    GM INVESTMENTS CO. LTD.              THERESE RYAN                     11TH FLOOR, JINMAO TOWER 88 CENTURY AVE CHINA
CORPORATION
SHANGHAI AUTOMOTIVE INDUSTRY    GENERAL MANAGER                      PUDONG SEDAN OPERATIONS          NO.4, LANE 1461, HUA SHAN   SHANGHAI 200052 CHINA
CORPORATION (GROUP)                                                                                   ROAD                        (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE INDUSTRY    SAIC MOTOR CORPORATION LIMITED       ZHANGJIANG HI TECH PARK          25 BIBO ROAD                SHANGHAI CHINA
CORPORATION (GROUP)
SHANGHAI AUTOMOTIVE INDUSTRY
CORPORATION (GROUP)
SHANGHAI AUTOMOTIVE INDUSTRY    390 WU KANG RD.                                                                                   SHANGHAI 200031 CHINA
CORPORTAION                                                                                                                       (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE INDUSTRY    HARRY POTVIN                         101 JACKSON OAKS                                                                       LAKE ORION    MI 48362
GROUP
SHANGHAI AUTOMOTIVE INDUSTRY                                         SHANGHAI AUTOMOTIVE INDUSTRY                                 SHANGHAI,CN,200041,CHIN
GROUP                                                                                                                             A (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE INDUSTRY    1493 S PUDONG SOUTH RD                                                                            SHANGHAI CN 200122
GROUP                                                                                                                             CHINA (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE INDUSTRY    18 HEXI RD                                                                                        LIUZHOU GUANGXI CN
GROUP                                                                                                                             545007 CHINA (PEOPLE'S
                                                                                                                                  REP)
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Name                                 Address1                             Address2                    Address3                  Address4                 City    State Zip
SHANGHAI AUTOMOTIVE INDUSTRY         DIRECTOR OF FINANCE                  NO. 18 HEXI ROAD LIUZHOU    GUANGXI ZHUANG            545007, CHINA
GROUP                                                                                                 AUTONOMOUS REGION
SHANGHAI AUTOMOTIVE INDUSTRY         FENG JIA JUN                         YANGPU DISTRICT             NO 40 LANE 2012 HUANGXING                          FLINT    MI 48507
GROUP                                                                                                 RD
SHANGHAI AUTOMOTIVE INDUSTRY         NO 251 WENSHUI RD                                                                          SHANGHAI CN 200072
GROUP                                                                                                                           CHINA (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE INDUSTRY         NO 291 YUN CHUAN RD                                                                        SHANGHAI 201901 CHINA
GROUP                                                                                                                           (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE INDUSTRY         NO 40 LANE 2012 HUANGXING RD                                                               SHANGHAI CN 200433
GROUP                                                                                                                           CHINA (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE INDUSTRY         NO 40 LANE 2012 HUANGXING RD         YANGPU DISTRICT                                       SHANGHAI 200433 CHINA
GROUP                                                                                                                           (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE INDUSTRY         NO 400 CAOXI NORTH RD                                                                      SHANGHAI CN 200030
GROUP                                                                                                                           CHINA (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE INDUSTRY         NO 400 CAOXI NORTH RD                XUHUI DISTRICT                                        SHANGHAI 200030 CHINA
GROUP                                                                                                                           (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE INDUSTRY         NO 506 YECHENG RD JIADING DISTRICT                                                         SHANGHAI CN 201822
GROUP                                                                                                                           CHINA (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE INDUSTRY         PRESIDENT                            NO. 18 HEXI ROAD LIUZHOU    GUANGXI ZHUANG            545007, CHINA
GROUP                                                                                                 AUTONOMOUS REGION
SHANGHAI AUTOMOTIVE INDUSTRY         TOM SHEN‐274                         CHINA SPRING FACTORY        NO 291 YUN CHUAN ROAD     SHANGHAI CHINA
GROUP                                                                                                                           (PEOPLE'S REP)
SHANGHAI AUTOMOTIVE INDUSTRY         SHANGHAI AUTOMOTIVE INDUSTRY                                                               SHANGHAI CN 200041
GROUP                                                                                                                           CHINA (PEOPLE'S REP)
SHANGHAI BAOLONG AUTOMOTIVE          71# MAOSHENG RD                                                                            DONGJIN 201619 CHINA
CORPORATION
SHANGHAI BAOLONG INDUSTRIES CO LTD   NO 116 MAOSHENG RD                                                                         DONJING SHANGHAI CN
                                                                                                                                201619 CHINA (PEOPLE'S
                                                                                                                                REP)
SHANGHAI BAOLONG INDUSTRIES CO LTD   NO 116 MAOSHENG RD                   ECONOMIC DEVELOPMENT ZONE                             DONJING SHANGHAI CN
                                                                                                                                201619 CHINA (PEOPLE'S
                                                                                                                                REP)
SHANGHAI BAOLONG INDUSTRIES CO LTD   NO 71 MAOSHENG RD DONGJING TOWN                                                            SHANGHAI CN 201619
                                                                                                                                CHINA (PEOPLE'S REP)
SHANGHAI BEHR THERMAL SYSTEMS CO LT NO 355 LONGQIAO RD PUDONG             SHANGHAI 20120                                        CHINA

SHANGHAI BRIGHT FOODS (GRP) CO LTD   NO 218 CHANGJIANG AVE                                                                      SHANGHAI CN 202178
                                                                                                                                CHINA (PEOPLE'S REP)
SHANGHAI BRIGHT FOODS (GRP) CO LTD   NO 218 CHANGJIANG AVE                CHONGMING COUNTY                                      SHANGHAI CN 202178
                                                                                                                                CHINA (PEOPLE'S REP)
SHANGHAI BRIGHT FOODS (GRP) CO LTD   NO 7 LN 263 HUASHAN RD                                                                     SHANGHAI 200031 CHINA
                                                                                                                                (PEOPLE'S REP)
SHANGHAI BUM‐AH AUTOMOBILE           2600 JIAHANG RD JIAHANG RD           HUATING                                               SHANGHAI 201816 CHINA
DECORATI                                                                                                                        (PEOPLE'S REP)
SHANGHAI COMMERCIAL BANK             CHAN WAI HANG ORLANDO AND LEE WAI
                                     YEE
SHANGHAI COMMERCIAL BANK LTD         12 QUEEN'S ROAD CENTRAL              ATTN MR MATTHEW LAW                                   HONG KONG
SHANGHAI DAIMAY AUTO INTERIOR CO     1299 LIANXI RD                       BEICAI INDUSTRIAL ZONE                                PUDONG DISTRICT,
LTD                                                                                                                             SHANGHAI CHINA
SHANGHAI DAIMAY AUTOMOTIVE INT       NO 1299 LIANXI RD BEICAI INDUS       PARK PUDONG NEW ZONE                                  SHANGAHI CN 201204
                                                                                                                                CHINA (PEOPLE'S REP)
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Name                                  Address1                            Address2                  Address3                  Address4                 City        State Zip
SHANGHAI DAIMAY AUTOMOTIVE            NO 1299 LIANXI RD BEICAI INDUSTRY                                                       SHANGAHI CN 201204
INTERIOR                                                                                                                      CHINA (PEOPLE'S REP)
SHANGHAI DAIMAY AUTOMOTIVE            NO 1299 LIANXI RD BEICAI INDUSTRY   PARK PUDONG NEW ZONE                                SHANGAHI 201204 CHINA
INTERIOR                                                                                                                      (PEOPLE'S REP)
SHANGHAI DAIMAY AUTOMOTIVE            324 AIRPORT INDUSTRIAL DRIVE                                                                                     YPSILANTI    MI 48198
INTERIOR
SHANGHAI DELCO ELECTRONICS & INSTRU   NO 218 CHANGJIANG AVE               CHONGMING COUNTY                                    SHANGHAI 202178 CHINA
                                                                                                                              (PEOPLE'S REP)
SHANGHAI DELCO ELECTRONICS & INSTRU NO 218 CHANGJIANG AVE                                                                     SHANGHAI, 20217 CHINA

SHANGHAI DELCO INTERNATIONAL          DAVID SEYBERT                       700‐800 KANGQIAO RD       DEVELOPMENT ZONE PUDONG STRATFORD ON CANADA

SHANGHAI DORIGHT FASHION CO. LTD.

SHANGHAI EATON ENGINE COMPONENTS      139 FANGHUA RD                                                                          SHANGHAI CN 201204
CO                                                                                                                            CHINA (PEOPLE'S REP)
SHANGHAI FAIRSUN ELECTRONIC CO        2760 BAOAN RD MALU ZHEN             JIADING DISTRICT                                    SHANGHAI CN 201801
                                                                                                                              CHINA (PEOPLE'S REP)
SHANGHAI FAIRSUN ELECTRONIC CO LTD    2760 BAOAN RD MALU ZHEN             JIADING DISTRICT                                    SHANGHAI CN 201801
                                                                                                                              CHINA (PEOPLE'S REP)
SHANGHAI FAIRSUN ELECTRONIC CO LTD    3190 PINE CONE CT.                                                                                               MILFORD      MI 48381

SHANGHAI GENERAL MOTORS               10TH FLOOR, JINMAO TOWER            88 CENTURY AVENUE                                   PUDONG, SHANGHAI
                                                                                                                              200121 CHINA (PEOPLE'S
                                                                                                                              REP)
SHANGHAI GENERAL MOTORS CO LTD        #1500 SHEN JIANG RD                 PU DONG                                             SHANGHAI 201206 CHINA
SHANGHAI GENERAL MOTORS CO LTD        1500 SHEN JIANG RD                  PU DONG                   SHANGHAI 201206           SHANGHAI CHINA
SHANGHAI GENERAL MOTORS               ATTN: GENERAL COUNSEL               1500 SHENJIANG RD.        JINQIAO EXPORT PROCESSING PUDONG NEW DISTRICT
COPRPORATION LIMITED                                                                                ZONE                      SHANGHAI MUNICPALITY
                                                                                                                              201206 CHINA (PEOPLE'S
                                                                                                                              REP)
SHANGHAI GENERAL MOTORS CORP L        NO 1500 SHENJIANG RD                                                                    SHANGHAI CN 201206
                                                                                                                              CHINA (PEOPLE'S REP)
SHANGHAI GENERAL MOTORS CORP          1500 SHENJIANG RD                   JIN OIAO                                            PUDONG, SHANGHAI PR
LIMITED                                                                                                                       201206 CHINA
SHANGHAI GENERAL MOTORS CORP LTD      NO 1500 SHENJIANG RD                                                                    SHANGHAI 201206 CHINA
                                                                                                                              (PEOPLE'S REP)
SHANGHAI GENERAL MOTORS CORP.LTD.     95 LIANG JI ROAD                                                                        SHANGHAI CHINA

SHANGHAI GENERAL MOTORS               ATTN: PRESIDENT                     1500 SHENIANG RD.         JINQIAO EXPORT PROCESSING PUDONG SHANGHAI
CORPORAITON LIMITED                                                                                 ZONE                      201206 CHINA (PEOPLE'S
SHANGHAI GENERAL MOTORS               95 LIANG JI ROAD                    JIN XIAO, PUDONG                                    SHANGHAI 200122 CHINA
CORPORATION                                                                                                                   (PEOPLE'S REP)
SHANGHAI GENERAL MOTORS               PRESIDENT                           SHANGHAI JINQIAO EXPORT   PUDONG NEW DISTRICT       SHANGHAI MUNICIPALITY
CORPORATION                                                               PROCESSING ZONE                                     CHINA (PEOPLE'S REP)
SHANGHAI GENERAL MOTORS               ATTN: PRESIDENT                     1500 SHENIANG RD.         JINQIAO EXPORT PROCESSING PUDONG SHANGHAI
CORPORATION                                                                                         ZONE                      201206 CHINA (PEOPLE'S
SHANGHAI GENERAL MOTORS               PAN ASIA TECHNICAL AUTOMOTIVE       GENERAL COUNSEL           1500 SHENJIANG ROAD,      PUDONG, SHANGHAI,CHINA
CORPORATION                           CENTER COMPANY LIMITED                                        JINQIAO EXPORT PROCESSING
                                                                                                    ZONE
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SHANGHAI GENERAL MOTORS         PRESIDENT                             1500 SHENJIANG ROAD, JINQIAO                                  PUDONG, SHANGHAI
CORPORATION                                                           EXPORT PROCESSING ZONE,                                       201206 CHINA (PEOPLE'S
                                                                                                                                    REP)
SHANGHAI GENERAL MOTORS         1500 SHENJIANG ROAD, JINQIAO EXPORT                                                                 PUDONG, SHANGHAI
CORPORATION                     PROCESSING ZONE,                                                                                    201206 CHINA (PEOPLE'S
                                                                                                                                    REP)
SHANGHAI GENERAL MOTORS         GENERAL COUNSEL                       1500 SHENJIANG ROAD, JINQIAO                                  SHANGHAI 201206, CHINA
CORPORATION                                                           EXPORT PROCESSING ZONE,
                                                                      PUDONG
SHANGHAI GENERAL MOTORS         MARK NEWMAN                           1500 SHENJIANG ROAD, JINQIAO                                  SHANGHAI 201206, CHINA
CORPORATION                                                           EXPORT PROCESSING ZONE,
                                                                      PUDONG
SHANGHAI GENERAL MOTORS         TECHNOLOGY COMPANY                    SGM: 1500 SHENJIANG ROAD,                                     SHANGHAI 201206, CHINA
CORPORATION GM DAEWOO AUTO &                                          JINQIAO EXPORT PROCESSING ZONE,
                                                                      PUDONG
SHANGHAI GENERAL MOTORS         TECHNOLOGY COMPANY                    1500 SHENJIANG ROAD, JINQIAO                                  PUDONG, SHANGHAI
CORPORATION GM DAEWOO AUTO &                                          EXPORT PROCESSING ZONE,                                       201206 CHINA (PEOPLE'S
                                                                                                                                    REP)
SHANGHAI GENERAL MOTORS         GLOBAL TOOLING SERVICES COMPANY       1500 SHENJIANG ROAD, JINQIAO                                  PUDONG, SHANGHAI
CORPORATION GM GLOBAL TOOLING   EUROPE LTD.                           EXPORT PROCESSING ZONE,                                       201206 CHINA (PEOPLE'S
COMPANY, INC.                                                                                                                       REP)
SHANGHAI GENERAL MOTORS         GLOBAL TOOLING SERVICES COMPANY       SGM: 1500 SHENJIANG ROAD,                                     SHANGHAI 201206, CHINA
CORPORATION GM GLOBAL TOOLING   EUROPE LTD.                           JINQIAO EXPORT PROCESSING ZONE,
COMPANY, INC.                                                         PUDONG
SHANGHAI GENERAL MOTORS         PRESIDEN                              JINQIAO EXPORT PROCESSING ZONE                                PUDONG NEW DISTRICT
CORPORATION LIMITED                                                                                                                 SHANGHAI CHINA
                                                                                                                                    (PEOPLE'S REP)
SHANGHAI GENERAL MOTORS         JINQIAO EXPORT PROCESSING ZONE                                                                      PUDONG NEW DISTRICT
CORPORATION LIMITED                                                                                                                 SHANGHAI CHINA
                                                                                                                                    (PEOPLE'S REP)
SHANGHAI GENERAL MOTORS         1500 SHENJIANG RD.                    JINQIAO EXPORT PROCESSING ZONE                                PUDONG SHANGHAI
CORPORATION LIMITED                                                                                                                 201206 CHINA (PEOPLE'S
SHANGHAI GENERAL MOTORS         SHANGHAI JINQIAO EXPORT PROCESSING                                                                  PUDONG NEW DISTRICT
CORPORATION LIMITED             ZONE                                                                                                SHANGHAI CHINA
                                                                                                                                    (PEOPLE'S REP)
SHANGHAI GENERAL MOTORS         1500 SHENJIANG ROAD                   SHANGHAI JIN QIAO EXPORT                                      PUDONG SHANGHAI
CORPORATION LIMITED                                                   PROCESSING ZONE                                               201206 CHINA (PEOPLE'S
SHANGHAI GENERAL MOTORS         PRESIDENT                             1500 SHENJIANG ROAD               JINQIAO EXPORT PROCESSING   PUDONG SHANGHAI
CORPORATION LIMITED                                                                                     ZONE                        201206 CHINA (PEOPLE'S
SHANGHAI GENERAL MOTORS         MARK BERNHARD                         1500 SHENJIANG RD.                JINQIAO EXPORT PROCESSING   PUDONG SHANGHAI
CORPORATION LIMITED                                                                                     ZON                         201206 CHINA (PEOPLE'S
SHANGHAI GENERAL MOTORS         MARK NEWMAN                           1500 SHENJIANG RD.                JINQIAO EXPORT PROCESSING   PUDONG SHANGHAI
CORPORATION LIMITED                                                                                     ZONE                        201206 CHINA (PEOPLE'S
SHANGHAI GENERAL MOTORS         ATTN: PRESIDENT                       1500 SHENJIANG RD.                JINQIAO EXPORT PROCESSING   PUDONG SHANGHAI
CORPORATION LIMITED                                                                                     ZONE                        201206 CHINA (PEOPLE'S
SHANGHAI GENERAL MOTORS         PRESIDENT                             NO.1500 SHENJIANG ROAD            JINQIAO EXPORT PROCESSING   PUDONG SHANGHAI
CORPORATION LIMITED                                                                                     ZONE                        201201 CHINA (PEOPLE'S
SHANGHAI GENERAL MOTORS         ATTN: PRESIDENT                       1500 SHENIANG RD.                 JINQIAO EXPORT PROCESSING   PUDONG SHANGHAI
CORPORATION LIMITED                                                                                     ZONE                        201206 CHINA (PEOPLE'S
SHANGHAI GENERAL MOTORS         LEGAL STAFF                           1500 SHENJIANG ROAD               JINQIAO EXPORT PROCESSING   PUDONG SHANGHAI
CORPORATION LIMITED                                                                                     ZONE                        201206 CHINA (PEOPLE'S
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Name                              Address1                             Address2                         Address3                  Address4               City   State Zip
SHANGHAI GENERAL MOTORS           1500 SHEN JIANG ROAD                                                                            JIN QIAO PU DONG
CORPORATION LIMITED                                                                                                               SHANGHAI 201206 CHINA
                                                                                                                                  (PEOPLE'S REP)
SHANGHAI GENERAL MOTORS           ATTN: LEGAL STAFF                    1500 SHENJIANG RD.               JINQIAO EXPORT PROCESSING PUDONG SHANGHAI
CORPORATION LIMITED                                                                                     ZONE                      201206 CHINA (PEOPLE'S
SHANGHAI GENERAL MOTORS           1500 SHENJIANG RD.                   JINQIAO EXPORTING PROCESSING                               PUDONG SHANGAHAI
CORPORATION LIMITED                                                    ZONE                                                       201206 CHINA (PEOPLE'S
                                                                                                                                  REP)
SHANGHAI GENERAL MOTORS           1500 SHENJIANG RD., JINQIAO EXPORT   PUDONG NEW DISTRICT                                        SHANGHAI MUNICIPALITY
CORPORATION LIMITED               PROCESSING ZONE                                                                                 201206 CHINA
SHANGHAI GENERAL MOTORS           1500 SHENJIANG RD, á                 GENERAL MANAGERá                                           PUDONG, SHANGHAI CHINA
CORPORATION LIMITED á                                                                                                             (PEOPLE'S REP)
SHANGHAI GENERAL MOTORS           GENERAL COUNSEL                   1500 SHENJIANG ROAD, JINQIAO        PUDONG, SHANGHAI,CHINA    CHINA (PEOPLE'S REP)
CORPORATION,                                                        EXPORT PROCESSING ZONE
SHANGHAI GENERAL MOTORS           AUTOMOTIVE CENTER COMPANY LIMITED SGM: GENERAL COUNSELPATAC:          SGM: 1500 SHENJIANG ROAD, SHANGHAI,CHINA
CORPORATION, PAN ASIA TECHNICAL                                     GENERAL COUNSEL                     JINQIAO EXPORT PROCESSING
                                                                                                        ZONE, PUDONG

SHANGHAI GENERAL MOTORS           1500 SHENJIANG ROAD                  JINQIAO EXPORT PROCESSING ZONE                           PUDONG SHANGHAI
CORPORATIONS LIMITED                                                                                                            201206 CHINA (PEOPLE'S
SHANGHAI GENERAL MOTORS           ATTN: GENERAL COUNSEL                1500 SHENJIANG RD.             JINQIAO EXPORT PROCESSING PUDONG NEW DISTRICT
CORPORTAION LIMITED                                                                                   ZONE                      SHANGHAI MUNICIPALITY
                                                                                                                                201206 CHINA (PEOPLE'S
                                                                                                                                REP)
SHANGHAI GENERAL MOTORS           ATTN: PRESIDENT                      JINQIAO EXPORT PROCESSING ZONE PUDONG NEW DISTRICT       SHANGHAI MUNICIPALITY
CORPORTAION LIMITED                                                                                                             CHINA (PEOPLE'S REP)
SHANGHAI GENERAL MOTORS LTD.      1500 SHENGJIANG ROAD, JIN QIAO,                                                               CHINA (PEOPLE'S REP)
                                  PUDONG, SHANGHAI 201206 CHINA
SHANGHAI GKN DRIVE SHAFT CO       MICHAEL CHMELKO                      KANG QIAO INDUSTRIAL ZONE                                  GUADALAJARA JA 45690
                                                                                                                                  MEXICO
SHANGHAI GKN DRIVE SHAFT CO LTD   MICHAEL CHMELKO                      KANG QIAO INDUSTRIAL ZONE                                  GUADALAJARA JA 45690
                                                                                                                                  MEXICO
SHANGHAI GKN DRIVE SHAFT CO LTD   SDS GKN DEPUTY GEN MGR COMM                                                                     SHANGHAI CHINA 201318
                                                                                                                                  CHINA
SHANGHAI GM (SHENGYANG) NORSOM    PRESIDENT OFFICE                     15 BEIDAYING STREET, DADONG                                LIAONING PROVINCE,
MOTORS CO., LTD.                                                       DISTRICT, SHENGYANG                                        110044, CHINA
SHANGHAI GM (SHENYANG) NORSOM     15 BEIDAYING ST.                     DADONG DISTRICT, SHENYANG                                  LIAONING PROVINCE,
MOTORS COMPANY LIMITED                                                                                                            110044 CHINA
SHANGHAI GM (SHENYANG) NORSOM     15 BEIDAYING ST., DADONG DISTRICT,                                                              LIAONING PROVINCE,
MOTORS COMPANY LIMITED            SHENYANG                                                                                        110044 CHINA
SHANGHAI GM DONG YUE MOTORS       118 CHANG JIANG RD                   YANTAI ECONOMIC AND                                        SHANDONG PROVINCE,
COMPANY LIMITED                                                        TECHNOLOGY DEVELOPMENT                                     264006 CHINA
                                                                       ZOPNE, YANTAI
SHANGHAI GM DONG YUE MOTORS       ATTN: PRESIDENT OFFICE               118 CHANG JIANG RD.              YANTAI ECONOMIC AND    YANTAI SHANGHAI
COMPANY LIMITED                                                                                         TECHNOLOGY DEVELOPMENT PROVINCE 264006 CHINA
                                                                                                        ZONE                   (PEOPLE'S REP)
SHANGHAI GM DONG YUE MOTORS       PRESIDENT OFFICE                     118 CHANG JING ROAD, YANTAI                             SHANDONG PROVINCE,
COMPANY LIMITED                                                        ECONOMIC AND TECHNOLOGY                                 264006, CHINA
                                                                       DEVELOPMENT ZONE,
SHANGHAI GM DONGYUE POWERTRAIN    #116 CHANG JIANG RD                  ETDZ                                                       YANTAI 264006 CHINA
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Name                              Address1                             Address2                         Address3                  Address4               City         State Zip
SHANGHAI GM DONGYUE POWERTRAIN CO NO 118 CHANGJIANG RD                                                                            YANTAI SHANDONG
L                                                                                                                                 264003 CHINA (PEOPLE'S
                                                                                                                                  REP)
SHANGHAI GM DONGYUE POWERTRAIN CO NO 118 CHANGJIANG RD                 ECONOMIC & TECHNOLOGY                                      YANTAI SHANDONG 264003
L                                                                      DEVLOPMENT ZO                                              CHINA (PEOPLE'S REP)
SHANGHAI GM DONGYUE POWERTRAINCO #116 CHANG JIANG RD                   ETDZ YANTAI SHANDONG                                       CHINA SWITZERLAND
LTD
SHANGHAI HAITAI AUTO PARTS CO LTD 139 XUANHUANG RD NANHUI INDUSTRIAL   PARK NANHUI DISTRICT                                       SHANGHAI 201314 CHINA
                                                                                                                                  (PEOPLE'S REP)
SHANGHAI HUA YI (GROUP) CORP          HUACANG MANSION NO 560                                                                      SHANGHAI 200025 CHINA
                                                                                                                                  (PEOPLE'S REP)
SHANGHAI HUATE AUTOMOBILE FITTINGS NO 618 MIQUAN SOUTH RD                                                                         SHANGHAI 201805 CHINA
                                                                                                                                  (PEOPLE'S REP)
SHANGHAI HUATE AUTOMOBILE FITTINGS NO 618 MIQUAN SOUTH RD              ANTING TOWN, JIADING DISTRICT                              SHANGHAI 201805 CHINA
                                                                                                                                  (PEOPLE'S REP)
SHANGHAI HUAXIANG LIGHT SOURCE CO L 685 HUAQING RD                     QINGPU INDUSTRIAL PARK                                     SHANGHAI CN 201700
                                                                                                                                  CHINA (PEOPLE'S REP)
SHANGHAI HUF‐LIYONG AUTOMOTIVE        NO 396 YUANTAI RD BAOSHAN CITY   INDUSTRIAL PARK                                            SHANGHAI CN 200444
LOCK                                                                                                                              CHINA (PEOPLE'S REP)
SHANGHAI HUIZHONG AUTOMOTIVE          MARK GONGOL                      1493 SOUTH PUDONG ROAD                                                              KENTWOOD    MI 49512
SHANGHAI HUIZHONG AUTOMOTIVE          SHANGHAI AUTOMOBILE IMPORT &     # 76 PUJIAN RD PUDONG SHANGHAI                             200127 CHINA CHINA

SHANGHAI HUIZHONG AUTOMOTIVE          1493 S PUDONG SOUTH RD           PUDONG NEW DISTRICT                                        SHANGHAI 200122 CHINA
MANUFA                                                                                                                            (PEOPLE'S REP)
SHANGHAI HUIZHONG AUTOMOTIVE          MARK GONGOL                      1493 SOUTH PUDONG ROAD                                     SHANGHAI, 200122 CHINA
MANUFA                                                                                                                            (PEOPLE'S REP)
SHANGHAI HUIZHONG AUTOMOTIVE          NO 251 WENSHUI RD                                                                           SHANGHAI CN 200072
MANUFA                                                                                                                            CHINA (PEOPLE'S REP)
SHANGHAI HUIZHONG AUTOMOTIVE          1493 S PUDONG SOUTH RD                                                                      SHANGHAI CN 200122
MANUFA                                                                                                                            CHINA (PEOPLE'S REP)
SHANGHAI HUIZHONG AUTOMOTIVE MFG      NO 251 WENSHUI RD                                                                           SHANGHAI CN 200072
CO                                                                                                                                CHINA (PEOPLE'S REP)
SHANGHAI INSTITUTE OF CERAMICS        1295 DINGXI ROAD                                                                            CHANGNING DISTRICT,
                                                                                                                                  SHANGHAI PR 200050
                                                                                                                                  CHINA
SHANGHAI INSTITUTE OF CERAMICS        NO 1295 DINGXI RD                                                                           SHANGHAI CN 200050
                                                                                                                                  CHINA (PEOPLE'S REP)
SHANGHAI ITW PLASTIC & METAL          JEREMY LEE                       ITW                              BLDG#2,66 TIAN YANG RD.   YONGKANG, ZHEJIANG
                                                                                                                                  CHINA (PEOPLE'S REP)
SHANGHAI ITW PLASTIC & METAL CO LTD   BUILDING #2 66 TIAN YING RD                                                                 SHANGHAI CN 201700
                                                                                                                                  CHINA (PEOPLE'S REP)
SHANGHAI ITW PLASTIC & METAL CO LTD   NO 327 CHUNDONG ROAD XINZHAUNG   INDUSTRIAL ZONE                                            SHANGHAI CN 201108
                                                                                                                                  CHINA (PEOPLE'S REP)
SHANGHAI ITW PLASTIC & METAL CO LTD   BUILDING #2 66 TIANYING RD       QINGPU SHANGHAI 201700                                     QINGPU, SHANGHAI PR
                                                                                                                                  201700 CHINA
SHANGHAI ITW PLASTIC & METAL CO LTD   BUILDING #2 66 TIAN YING RD      QINGPU INDUSTRIAL DEVELOPMENT                              SHANGHAI 201700 CHINA
                                                                       ZONE                                                       (PEOPLE'S REP)
SHANGHAI JIAO TONG UNIVERSITY         # 880 DONGCHUAN RD                                                                          MIN HANG, SHANGHAI PR
                                                                                                                                  200240 CHINA
SHANGHAI JIAO TONG UNIVERSITY         NO 1954 HUA SHAN RD                                                                         SHANGHAI CN 200030
                                                                                                                                  CHINA (PEOPLE'S REP)
SHANGHAI JIAO TONG UNIVERSITY         1954 HUASHAN ROAD                SHANGHAI 20003                                             CHINA
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Name                                Address1                          Address2                      Address3                    Address4                 City           State Zip
SHANGHAI JIAO YUN CITIC AUTO        CLAUDE W. PURCHES                 10 YONGNING RD JINQIAO PUDONG                                                      LIVONIA         MI 48150

SHANGHAI JIAO YUN CO LTD            CLAUDE W. PURCHES                 10 YONGNING RD JINQIAO PUDONG                                                      LIVONIA        MI 48150

SHANGHAI JIAOTONG UNIVERSITY        1954 HUASHAN ROAD                 SHANGHAI 200030 PR                                        SHANGHAI 200030 CHINA
SHANGHAI JIN MAO MING               INDUSTRY & TRADE CO LTD           RM 308 NAN TIAN BLDG #2         1310 DING XI ROAD         SHANGHAI CHINA
SHANGHAI JINTING AUTOMOBILE         HARNESS CO LTD                    168 SHANLIAN RD                 BAOSHAN URBAN INDUSTRY    SHANGHAI PR CHINA
                                                                                                      PARK
SHANGHAI JINTING AUTOMOBILE         WILLIAM LEE                       168 SHANLIAN LU                 CITY INDUSTRIAL ZONE      ZENGCHENG GUANGDONG
                                                                                                      BAOSHAN                   CHINA (PEOPLE'S REP)
SHANGHAI JINTING AUTOMOBILE         SUSANNA MONTELEONE                168 SHANLIAN LU                 CITY INDUSTRIAL ZONE      SHANGHAI CHINA
                                                                                                      BAOSHAN                   (PEOPLE'S REP)
SHANGHAI JINTING AUTOMOBILE HARNESS WILLIAM LEE                       168 SHANLIAN LU                 CITY INDUSTRIAL ZONE      ZENGCHENG GUANGDONG
                                                                                                      BAOSHAN                   CHINA (PEOPLE'S REP)
SHANGHAI JINTING AUTOMOBILE HARNESS 168 SHANLIAN RD                                                                             SHANGHAI 200444 CHINA
                                                                                                                                (PEOPLE'S REP)
SHANGHAI JINTING AUTOMOBILE HARNESS 168 SHANLIAN RD                   BAOSHAN CITY INDUSTRIAL PARK                              SHANGHAI 200444 CHINA
                                                                                                                                (PEOPLE'S REP)
SHANGHAI JIXIANG AUTOMOBILE ROOF TR GERMANY INDUSTRIAL PARK                                                                     PUDONG SHANGHAI CN
                                                                                                                                201319 CHINA (PEOPLE'S
                                                                                                                                REP)
SHANGHAI JIXIANG AUTOMOBILE ROOF TR GERMANY INDUSTRIAL PARK           KANGQIAO INDUSTRIAL ZONE                                  PUDONG SHANGHAI
                                                                                                                                201319 CHINA (PEOPLE'S
SHANGHAI KOITO                      JING (JEAN) SHEN                  C/O TNT                         1615 NEWBURG RD                                    PERRYSBURG     OH 43551
SHANGHAI KOITO AUTOMOTIVE LAMP      JING SHEN                         NANMEN JIADING DISTRICT         767 YE CHENG RD                                    EDEN PRAIRIE   MN 55344
SHANGHAI KOITO AUTOMOTIVE LAMP      767 YE CHENG RD                   NANMEN JIADING DISTRICT                                   SHANGHAI CN 201821
                                                                                                                                CHINA (PEOPLE'S REP)
SHANGHAI KOITO AUTOMOTIVE LAMP CO   767 YE CHENG RD                                                                             SHANGHAI CN 201821
                                                                                                                                CHINA (PEOPLE'S REP)
SHANGHAI KOITO AUTOMOTIVE LAMP CO   JING (JEAN) SHEN                  C/O TNT                         1615 NEWBURG RD                                    PERRYSBURG     OH 43551

SHANGHAI KOITO AUTOMOTIVE LAMP CO   JING SHEN                         NANMEN JIADING DISTRICT         767 YE CHENG RD                                    EDEN PRAIRIE   MN 55344

SHANGHAI KOITO AUTOMOTIVE LAMP CO   767 YE CHENG RD                   NANMEN JIADING DISTRICT                                   SHANGHAI 201821 CHINA
                                                                                                                                (PEOPLE'S REP)
SHANGHAI LIGHT ALLOY NET FORMING   ENGR RESEARCH CTR CO LTD           SHANGHAI SONGJIANG HI‐TECH PK                             SHANGHAI CHINA CHINA
NATIONAL
SHANGHAI MANN‐HUMMEL FILTER CO LTD 1558 YUELUO ROAD                   BAOSHAN DISTRICT                                          SHANGHAI CN 201908
                                                                                                                                CHINA (PEOPLE'S REP)
SHANGHAI NICEBOOK                   INTERNATIONAL TRADE CO LTD        ROOM 1407 BLVD I                123 GUIPING RD SHANGHAI   SHANGHAI 200043 CHINA
                                                                                                      200433
SHANGHAI POWDER METALLURGY          NO 800 LINGSHI LU RD                                                                        SHANGHAI 200072 CHINA
FACTORY                                                                                                                         (PEOPLE'S REP)
SHANGHAI REAL INDUSTRAIL CO LT      #625 MIQUAN ST RD                                                                           ANTING, JIADING,
                                                                                                                                SHANGHAI PR CHINA
SHANGHAI REAL INDUSTRIAL CO         DAVID PIZZURO                     NO 625 SOUTH MIQUAN ROAD                                                           SHEBOYGAN      WI
SHANGHAI REAL INDUSTRIAL CO LTD     DAVID PIZZURO                     NO 625 SOUTH MIQUAN ROAD                                                           SHEBOYGAN      WI
SHANGHAI REAL INDUSTRIAL CO LTD     NO 625 MIQUAN (S) RD                                                                        SHANGHAI 201805 CHINA
                                                                                                                                (PEOPLE'S REP)
SHANGHAI REALMOVE BUSINESS          CONSULTING LTD ‐ RM1322 #                                                                   WEST SHANGHAI 200235
                                    2025ZHONGSHAN RD                                                                            CHINA
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Name                              Address1                            Address2                         Address3                  Address4                  City          State Zip
SHANGHAI ROULUNDS RUBBER PRODUCTS 1785 HUYI RD MALU TOWN                                                                         SHANGHAI CN 201801
C                                                                                                                                CHINA (PEOPLE'S REP)
SHANGHAI SANDMANN FOUNDRY CO LTD NO 120 CHANGJI RD ANTING TOWN        JIADING DISTRICT                                           SHANGHAI CN 201805
                                                                                                                                 CHINA (PEOPLE'S REP)
SHANGHAI SANDMANN FOUNDRY CO LTD      NO 120 CHANGJI ROAD                                                                        ANTING JIADING DISTRICT
                                                                                                                                 SHANGHAI CHINA
SHANGHAI SHI FUNG LAW FIRM            PO BOX 051 120                                                                             SHANGHAI CHINA 200051
                                                                                                                                 CHINA
SHANGHAI SIIC TRANSPORTATION ELECTR   NO 400 CAOXI NORTH RD                                                                      SHANGHAI CN 200030
                                                                                                                                 CHINA (PEOPLE'S REP)
SHANGHAI SIIC TRANSPORTATION ELECTR   NO 400 CAOXI NORTH RD           XUHUI DISTRICT                                             SHANGHAI CN 200030
                                                                                                                                 CHINA (PEOPLE'S REP)
SHANGHAI SIM‐TEMIC ELECTRONICS CO     NO 1280 ZHAOXIAN RD                                                                        SHANGHAI CN 201821
                                                                                                                                 CHINA (PEOPLE'S REP)
SHANGHAI SONGJIANG LEAR            AUTO CARPET & ACOUSTICS CO LTD     279 YU SHU RD CANG QIAO IND      ZONE 2HANGHAI 201600      SHANGHAI CHINA
SHANGHAI SONGJIANG LEAR AUTOMOTIVE NO 279 YUSHU ROAD CANGQIAO         INDUSTRIAL ZONE SONGJIANG                                  SHANGHAI 201600 CHINA
                                                                      DISTRICT                                                   (PEOPLE'S REP)
SHANGHAI TAINAI BEARING CO LTD        RENBEN INDUSTRY PKY                                                                        SHANGHAI 201 411 CHINA
                                                                                                                                 (PEOPLE'S REP)
SHANGHAI TAIYE AUTOMOBILE SEATCOP     NO 688 CHUANSHA RD              PUDONG SHANGHAI                                            SHANGHAI CHINA
LTD
SHANGHAI TAIYE AUTOMOBILE SEATS CO    NO 688 CHUANSHA RD                                                                         PUDONG SHANGHAI CN
                                                                                                                                 201209 CHINA (PEOPLE'S
                                                                                                                                 REP)
SHANGHAI TRACTOR & INTERNAL           COMBUSTION ENGINE CO LTD        COMBUSTION ENGINE CO LTD         303 E GUO DING RD YANG PU SHANGHAI CHINA CHINA
                                                                                                       DIST
SHANGHAI TRACTOR & INTERNAL           FENG JIA JUN                    YANGPU DISTRICT                  NO 40 LANE 2012 HUANGXING                           FLINT          MI 48507
                                                                                                       RD
SHANGHAI TRACTOR & INTERNAL       NO 40 LANE 2012 HUANGXING RD                                                                   SHANGHAI CN 200433
COMBUST                                                                                                                          CHINA (PEOPLE'S REP)
SHANGHAI TRACTOR & INTERNAL       NO 40 LANE 2012 HUANGXING RD        YANGPU DISTRICT                                            SHANGHAI CN 200433
COMBUST                                                                                                                          CHINA (PEOPLE'S REP)
SHANGHAI VALEO AUTOMOTIVE         501 KEYUAN RD                       20103 PUDONG SHANGHAI PR                                   SHANGHAI CHINA
ELECTRICAL SYSTEMS CO LTD
SHANGHAI WANTAI AUTOMOBILE        NEIL ZOU +86                        6 NO 2 RD QINGPU LIANTANG                                                            EL PASO        TX   79936
SHANGHAI WANTAI AUTOMOBILE        NEIL ZOU +86                        6 NO 2 RD QINGPU LIANTANG                                  SHANGHAI, 201715 CHINA
COMPONEN                                                                                                                         (PEOPLE'S REP)
SHANGHAI YANFENG JOHNSON          CONTROLS SEATING CO LTD             669 KANG AN RD KANGQIAO          INDUSTRIAL ZONE PUDONG    SHANGHAI CHINA CHINA
SHANGHAI YANFENG JOHNSON CONTROLS 669 KANG AN RD                      PUNDONG KANGQIAO INDUSTRIAL                                SHANGHAI CN 201315
                                                                      ZONE                                                       CHINA (PEOPLE'S REP)
SHANGHAI YAOPI KANGQIAO AUTOGLASS     ANDY TANG                       NO 55 KANGLIU RD                 NANHUI DIST                                         SISSONVILLE   WV 25320

SHANGHAI YAOPI KANGQIAO AUTOGLASS     NO 55 KANGLIU RD                                                                           KANGQIAO SHANGHAI
                                                                                                                                 201315 CHINA (PEOPLE'S
                                                                                                                                 REP)
SHANGHAI YAOPI KANGQIAO GLASS         ANDY TANG                       NO 55 KANGLIU RD                 NANHUI DIST                                         SISSONVILLE   WV 25320
SHANGHAI YONGDA CAR RENTAL CO LTD     #1447 LUOSHAN ROAD              PUDONG NEW AREA                                            SHANGHAI CHINA

SHANGHAI ZHOUYOU                      RM 207 BLD 6 ZIJINHANGONG       NO 1035 NANQUAN RD N RD 200122                             SHANGHAI CHINA CHINA
INTERNATIONALTRADING CO LTD
SHANGHI DELPHI AUTO AIR COND          ZHANGMINHUA                     1768 HU NAN RD PUDONG NEW                                  CUAUTITLAN IZCALLI EM
                                                                      AREA                                                       57430 MEXICO
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Name                                   Address1                             Address2                       Address3         Address4         City            State Zip
SHANGLE JR, GEORGE W                   1938 CHIGGER RIDGE RD                                                                                 BLAIRSVILLE      GA 30512‐4126
SHANGLE, BETTY V                       5655 RAMSDELL DR NE                                                                                   ROCKFORD         MI 49341‐9009
SHANGLE, DANNY W                       967 DARLING ST                                                                                        FLINT            MI 48532‐5031
SHANGLE, JACQUELINE J                  1938 CHIGGER RIDGE RD                                                                                 BLAIRSVILLE      GA 30512‐4126
SHANGLE, MILDRED E                     3602 CLAIRMONT ST                                                                                     FLINT            MI 48532
SHANGLE, RODNEY J                      3203 WESTWOOD AVE                                                                                     LANSING          MI 48906‐2870
SHANGLE, ROSALIE                       8948 COUNTRY PARK DR.                                                                                 SPARTA           MI 49345‐9485
SHANGLE, SARAH                         1331 MIDLAND RD                                                                                       BAY CITY         MI 48706‐9473
SHANGRAW DANIEL                        DBA AUTOMATED SOFTWARE               2325 HARDING AVE               TECHNOLOGY LLC                    LANSING          MI 48910‐3560
SHANGRAW, GEORGE F                     1465 BECKWITH VIEW AVE NE                                                                             GRAND RAPIDS     MI 49505‐5815
SHANGY GROSS                           110 EMMIT RD                                                                                          FLORA            MS 39071‐9417
SHANHOLTZ JR, PAUL J                   13397 COVE LANDING RD                                                                                 BISHOPVILLE      MD 21813‐1103
SHANHOLTZ ROBERT (459330)              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510
                                                                            STREET, SUITE 600
SHANHOLTZ SR, KENNETH L                13928 GREEN MOUNTAIN DR                                                                               MAUGANSVILLE    MD   21767‐9710
SHANHOLTZ SR, NORRIS M                 3822 ANNADALE RD                                                                                      BALTIMORE       MD   21222‐2755
SHANHOLTZ, JANICE M                    745 ROCK CREEK FORD RD # A                                                                            GETTYSBURG      PA   17325‐8624
SHANHOLTZ, MARY J                      626 3RD ST                                                                                            MARTINSBURG     WV   25404‐4550
SHANHOLTZ, ROBERT                      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510‐2212
                                                                           STREET, SUITE 600
SHANHOLTZER, KENNETH B                 GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                      SAGINAW         MI 48604‐2602
                                                                           260
SHANICAIR LLC                          KIMMEL & SILVERMAN PC               1930 E MARLTON PIKE SUITE Q29                                     CHERRY HILL     NJ   08003
SHANIKA HURST                          9000 W WILDERNESS WAY APT 141                                                                         SHREVEPORT      LA   71106‐6842
SHANIKA R MOSES                        7325 WOODMONT AVE                                                                                     DETROIT         MI   48228‐3630
SHANIKA WORD                           2156 OBRIEN RD                                                                                        MOUNT MORRIS    MI   48458‐2640
SHANITA JOHNSON                        6427 3RD AVENUE                                                                                       LOS ANGELES     CA   90043
SHANITA MOON                           15 SPARKS ST                                                                                          TROTWOOD        OH   45426‐3014
SHANITA Y ANDREWS                      137 HORSESHOE CIRCLE                                                                                  JACKSON         MS   39203‐1451
SHANK COMMUNICATIONS CO                105 E PORTER ST                                                                                       JACKSON         MS   39201‐6159
SHANK COMMUNICATIONS CO INC            105 E PORTER ST                                                                                       JACKSON         MS   39201‐6159
SHANK DWANE A & ESTHER A               408 E KANSAS AVE                                                                                      GREENSBURG      KS   67054‐2223
SHANK ERNEST M (429787)                GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510
                                                                           STREET, SUITE 600
SHANK JOHN E (429788)                  GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA 23510
                                                                           STREET, SUITE 600
SHANK MILDRED E                        3878 ROSEMONT RD                                                                                      NORTH JACKSON   OH 44451‐9720
SHANK RICHARD W (ESTATE OF) (629833)   GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                        EDWARDSVILLE    IL 62025‐0959
                                       ANTOGNOLI
SHANK THOMAS W & ROBYN                 3472 NEWTON FALLS RD                                                                                  DIAMOND         OH   44412‐9630
SHANK WILLIAM                          7671 N JONES BLVD                                                                                     LAS VEGAS       NV   89131‐2120
SHANK, ANTOINETTE                      4321 FAY ROAD                                                                                         SYRACUSE        NY   13219‐3015
SHANK, ARLETTA M                       836 EAST THOMAS L PARK WAY                                                                            LANSING         MI   48917
SHANK, ARTHUR H                        10700 WILLIAMS RD                                                                                     DEWITT          MI   48820‐9774
SHANK, BARBARA J                       419 LETA AVE                                                                                          FLINT           MI   48507‐2729
SHANK, CHARLES B                       8029 LOWELL AVE                                                                                       OVERLAND PARK   KS   66204‐3428
SHANK, CLARK C                         860 LOCH LINNHE LN APT 114                                                                            DUNEDIN         FL   34698‐5903
SHANK, DARYL L                         3076 LINCOLNVIEW ST                                                                                   AUBURN HILLS    MI   48326‐3239
SHANK, DAVID L                         34485 ROSEHILL DR                                                                                     WEBSTER         FL   33597‐9506
SHANK, DOROTHA A                       100 RED OAK DRIVE                                                                                     LIMA            OH   45806‐9618
SHANK, DOROTHY J                       236 E WEAVER ST                                                                                       NEW LEBANON     OH   45345‐1238
SHANK, DOROTHY J                       236 WEAVER ST.                                                                                        NEW LEBANON     OH   45345‐1238
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Name                        Address1                          Address2                      Address3   Address4         City               State Zip
SHANK, ERNEST M             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                              STREET, SUITE 600
SHANK, HAROLD E             9049 SEAMAN RD                                                                              CURTICE            OH   43412‐9130
SHANK, HELEN                237 DOWNING STREET                                                                          ROANOKE            VA   24019‐8311
SHANK, ISIDORE I            1950 SNYDER RD                                                                              WILLARD            OH   44890‐9031
SHANK, JAMES R              6325 R1THORNAPPLE LK RD                                                                     NASHVILLE          MI   49073
SHANK, JANET                126 OAKDALE RD                                                                              N VERSAILLES       PA   15137‐1903
SHANK, JEFF L               544I CAROLINE AVENUE                                                                        HUBBARD            OH   44425‐1581
SHANK, JEFFREY R            503 MANCHESTER DR                                                                           DEWITT             MI   48820‐9529
SHANK, JOHN A               111 N WINTHROP RD                                                                           MUNCIE             IN   47304‐3993
SHANK, JOHN E               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                              STREET, SUITE 600
SHANK, JOHN F               811 ARLINGTON CT                                                                            ELYRIA             OH   44035‐1804
SHANK, KARL J               11285 W STATE ROAD 28                                                                       REDKEY             IN   47373‐9624
SHANK, KATHERN B            315 EUCLID AVE                                                                              PERU               IN   46970
SHANK, KIMBERLY J           1511 CARUM PL                                                                               WEST SALEM         OH   44287‐9144
SHANK, LAWRENCE L           785 LYNITA DR NE                  C/O LARRY SHANK                                           BROOKFIELD         OH   44403‐9605
SHANK, LLOYD A              860 E DEAN RD                                                                               TEMPERANCE         MI   48182‐9515
SHANK, M LOUISE             12070 KEMPS MILL ROAD                                                                       WILLIAMSPORT       MD   21795‐3142
SHANK, MICHAEL J            24337 HANOVER ST                                                                            DEARBORN HEIGHTS   MI   48125‐2043
SHANK, PATRICIA             PO BOX 1053                                                                                 GRAND BLANC        MI   48480‐4053
SHANK, PAULINE L            3631 SOMERSET DR                                                                            PRAIRIE VILLAGE    KS   66208‐5152
SHANK, RANDY L              313 N WOODBRIDGE ST                                                                         BAY CITY           MI   48706
SHANK, RAYMOND T            337 W US HIGHWAY 79                                                                         OAKWOOD            TX   75855‐4565
SHANK, REGINA B             5154 DAVAL DRIVE                                                                            SWARTZ CREEK       MI   48473‐1241
SHANK, REGINA B             5154 DAVAL DR                                                                               SWARTZ CREEK       MI   48473‐1241
SHANK, RICHARD E            170 CHANTILLY CT                                                                            HAGERSTOWN         MD   21740‐2013
SHANK, RICHARD W            GOLDENBERG, MILLER, HELLER &      PO BOX 959                                                EDWARDSVILLE       IL   62025‐0959
                            ANTOGNOLI
SHANK, RICHARD W            GORI JULIAN & ASSOCIATES P C      156 N MAIN ST                                             EDWARDSVILLE       IL   62025
SHANK, RONALD A             5200 COLUMBIAVILLE RD                                                                       COLUMBIAVILLE      MI   48421‐8930
SHANK, ROSE B               1255 ARTHUR DR NW                                                                           WARREN             OH   44485‐1852
SHANK, ROSE B               1255 ARTHUR DRIVE N W                                                                       WARREN             OH   44485‐1852
SHANK, STELLA I             101 CARLIN DRIVE                                                                            LOGAN              OH   43138
SHANK, STELLA I             101 CARLIN DR                                                                               LOGAN              OH   43138‐9272
SHANK, STEPHEN M            276 TECUMSEH ST                                                                             DUNDEE             MI   48131‐1064
SHANK, SUSAN F              236 WALKER AVENUE NORTH                                                                     WAYZATA            MN   55391‐1048
SHANK, THOMAS J             1301 PARK CIRCLE DR                                                                         ANDERSON           IN   46012‐4657
SHANK, TONYA M              818 HERITAGE LN                                                                             ANDERSON           IN   46013‐1421
SHANK, TRAVIS J             149 CONCORD DR # A                                                                          BOWLING GREEN      KY   42103‐8528
SHANK, TRAVIS JON           149 CONCORD DR # A                                                                          BOWLING GREEN      KY   42103‐8528
SHANK, WANDALEE F           3415 RIVER PARK DR                                                                          ANDERSON           IN   46012‐4641
SHANK, WANDALEE F           3415 RIVERPARK DRIVE                                                                        ANDERSON           IN   46012‐4641
SHANK, WILLIAM E            10500 HAVERMALE ROAD                                                                        NEW LEBANON        OH   45345‐5345
SHANK, WILLIAM EUGENE       10500 HAVERMALE RD                                                                          NEW LEBANON        OH   45345‐9334
SHANK‐ARBOGAST, DOLORES R   213 N MAIN ST                                                                               ALBANY             IN   47320‐1748
SHANK‐ARBOGAST, DOLORES R   213 NORTH MAIN ST                                                                           ALBANY             IN   47320‐1748
SHANKAR BALASUBRAMANIAN     163 CHERRY DR                                                                               TROY               MI   48083‐1608
SHANKAR PRAVEEN             3866 WEST CHICAGO STREET                                                                    CHANDLER           AZ   85226‐3869
SHANKAR, AJAI               14 LIVINGSTON CT                                                                            EAST BRUNSWICK     NJ   08816‐4081
SHANKAR, VISHNU             4618 SHOREVIEW DR                                                                           CANTON             MI   48188‐2391
SHANKEL, DOREEN             904 W ARLINGTON LN                                                                          CRETE              IL   60417‐4428
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Name                           Address1                        Address2                        Address3   Address4         City                  State Zip
SHANKIE, JAMES M               13668 CHARRINGTON DR                                                                        STERLING HEIGHTS       MI 48313‐3521
SHANKIE, KIRK R                415 MCKINLEY AVE                                                                            GROSSE POINTE FARMS    MI 48236‐3241
SHANKLAND, CHRISTOPHER W       319 MARIAN CT                                                                               SALINE                 MI 48176‐1118
SHANKLAND, CHRISTOPHER WAYNE   319 MARIAN CT                                                                               SALINE                 MI 48176‐1118
SHANKLAND, KIMBERLY J          6734 ROBISON LN                                                                             SALINE                 MI 48176‐9095
SHANKLAND, LOIS A              1901 BLACKBIRD CIRCLE                                                                       KEARNEY                MO 64060‐8753
SHANKLAND, MARY J              515 W OAKWOOD DR                                                                            EAST LANSING           MI 48823‐3036
SHANKLAND, PATRICK A           7264 PINE VISTA DR                                                                          BRIGHTON               MI 48116‐4737
SHANKLE LEONARD (447628)       BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD             OH 44067
                                                               PROFESSIONAL BLDG
SHANKLE, BILLY J               30342 WICKLOW RD                                                                            FARMINGTON HILLS      MI    48334‐4768
SHANKLE, DANA L                348 S MADISON ST                                                                            ADRIAN                MI    49221‐3151
SHANKLE, DANA LADELL           348 S MADISON ST                                                                            ADRIAN                MI    49221‐3151
SHANKLE, DELBERT L             237 FOREST GLEN RD SW                                                                       WARREN                OH    44481‐9679
SHANKLE, DELON A               22569 SHERWOOD RD                                                                           BELLEVILLE            MI    48111‐9349
SHANKLE, DELON ALLAN           22569 SHERWOOD RD                                                                           BELLEVILLE            MI    48111‐9349
SHANKLE, JEFFREY               26200 SAN JACINTO ST            APT C                                                       HEMET                 CA    92543‐5107
SHANKLE, KENNETH R             1205 FALLEN TIMBERS DRIVE                                                                   DEFIANCE              OH    43512‐1370
SHANKLE, RYAN LEE              19522 MARTINSVILLE RD                                                                       BELLEVILLE            MI    48111‐8732
SHANKLE, WENDELL R             1314 BRUCE ST SW APTA                                                                       DECATUR               AL    35601
SHANKLETON AMY                 MODERN COURT REPORTING          1877 OUTER LN DR                                            YPSILANTI             MI    48198‐9107
SHANKLETON, CARL R             441 MULHOLLEN DR                                                                            MONROE                MI    48161‐3544
SHANKLETON, DENNIS E           420 PICKARD RD                                                                              TEMPERANCE            MI    48182‐9389
SHANKLETON, DENNIS EVERETT     420 PICKARD ROAD                                                                            TEMPERANCE            MI    48182‐9389
SHANKLETON, LARRY A            794 WESTWOOD DR                                                                             MONROE                MI    48161‐1858
SHANKLETON, LARRY ALLAN        794 WESTWOOD DR                                                                             MONROE                MI    48161‐1858
SHANKLIN JR GEORGE R           PO BOX 81                                                                                   INDIANAPOLIS          IN    46206
SHANKLIN JR, GEORGE R          PO BOX 81                                                                                   INDIANAPOLIS          IN    46206‐0081
SHANKLIN, ANNA P               610D WEST 8TH STREET                                                                        NEW RICHMOND          WI    54017‐1659
SHANKLIN, ANNABELLE            1124 PARK RD                                                                                ANDERSON              IN    46011‐2318
SHANKLIN, ANNABELLE            1124 PARK                                                                                   ANDERSON              IN    46011‐2318
SHANKLIN, ELMER R              3521 FRIES BAY RD                                                                           LORIS                 SC    29569‐5528
SHANKLIN, FLOYD L              1224 N PERSHING AVE                                                                         INDIANAPOLIS          IN    46222‐3157
SHANKLIN, JEFFREY A            924 S JOHNSON RD                                                                            MOORESVILLE           IN    46158‐1748
SHANKLIN, JEFFREY A.           924 S JOHNSON RD                                                                            MOORESVILLE           IN    46158‐1748
SHANKLIN, ROBERT D             2504 SOMERSWORTH COURT                                                                      SHREVEPORT            LA    71118‐4545
SHANKLIN, ROBERT DARRELL       2504 SOMERSWORTH COURT                                                                      SHREVEPORT            LA    71118‐4545
SHANKLIN, ROBERT L             300 STEELHEAD ST                                                                            MOLALLA               OR    97038‐7635
SHANKLIN, ROBERT L             2812 STEVENSON ST                                                                           FLINT                 MI    48504‐7513
SHANKLIN, RONALD J             4400 PALETZ CT                                                                              HUBER HEIGHTS         OH    45424‐5825
SHANKLIN, SYLVIA J             7854 LILY TROTTER ST                                                                        NORTH LAS VEGAS       NV    89084‐2407
SHANKLIN, SYRESTER A           2641 N FOUNTAIN ST                                                                          WICHITA               KS    67220‐2541
SHANKLIN, THELMA L             4736 ERNIE PYLE CT                                                                          AVON                  IN    46123‐9073
SHANKMAN                       PO BOX 8190                                                                                 UTICA                 NY    13505‐8190
SHANKS JANET                   5500 VIA SEPULVEDA                                                                          YORBA LINDA           CA    92887‐2537
SHANKS JR, CHARLES T           111 ELK CT                                                                                  FAIRFIELD             OH    45014‐4685
SHANKS JR, WAYNE C             22 SCHOFIELD DR                                                                             NEWTON                MA    02460‐1127
SHANKS MAX D (361286)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA    23510
                                                               STREET, SUITE 600
SHANKS MYRON (459331)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA 23510
                                                               STREET, SUITE 600
SHANKS, ALICE A                1807 KING AVE                                                                               INDIANAPOLIS           IN   46222‐2855
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Name                       Address1                          Address2                      Address3   Address4         City              State Zip
SHANKS, ALVIN L            232 HEATHER HILL DR                                                                         SOUTHGATE          KY 41071‐3011
SHANKS, AMY L              2318 GROESBECK AVE                                                                          LANSING            MI 48912‐3451
SHANKS, BRENDA J           PO BOX 293                                                                                  ROGERSVILLE        TN 37857‐0293
SHANKS, BRENDA L           3105 E MOUNT MORRIS RD                                                                      MOUNT MORRIS       MI 48458‐8992
SHANKS, BRUCE G            803 FAIRWAY RIDGE DR                                                                        WEST JEFFERSON     NC 28694‐8102
SHANKS, BRYAN L            2079 CARRIER DR                                                                             MOUNT MORRIS       MI 48458‐1203
SHANKS, CAROL L            1251 PEACHWOOD DR                                                                           FLINT              MI 48507‐3770
SHANKS, CHARLES A          11416 E LIPPINCOTT BLVD                                                                     DAVISON            MI 48423‐9127
SHANKS, CHARLES E          2584 TREASURE CT                                                                            DECATUR            GA 30034‐2267
SHANKS, DELPHINE S         5198 ELMER ST                                                                               DETROIT            MI 48210‐2151
SHANKS, DELPHINE S         5198 ELMER                                                                                  DETROIT            MI 48210‐2151
SHANKS, DENNIS A           3204 SUNRISE SLOPE                                                                          INDEPENDENCE       MO 64052‐2866
SHANKS, DIANA K            2308 COBBLESTONE CT                                                                         BEAVERCREEK        OH 45431‐2505
SHANKS, DON K              422 MEADOWVIEW CT                                                                           VANDALIA           OH 45377‐1865
SHANKS, DONALD             140 BRITTAIN WAY                                                                            NEWNAN             GA 30263‐6932
SHANKS, DONALD L           5201 EAST CENTENNIAL AVENUE                                                                 MUNCIE             IN 47303‐9106
SHANKS, DOYLE A            PO BOX 2393                                                                                 ANDERSON           IN 46018‐2393
SHANKS, GARY E             8952 CROSLEY RD                                                                             SPRINGBORO         OH 45066‐5066
SHANKS, GENE L             4902 SEVILLE DR                                                                             INDIANAPOLIS       IN 46228‐2177
SHANKS, GRACE B            43 MAYLAN DR                                                                                DAYTON             OH 45405‐2737
SHANKS, HELEN E            3378 S OLD STATE ROAD 15                                                                    WABASH             IN 46992‐7979
SHANKS, HERBERT            2201 HALL LN                                                                                WIXOM              MI 48393‐4238
SHANKS, JANIS A            40333 TROTTER LANE                                                                          DADE CITY          FL 33525‐1486
SHANKS, JAYNEE C           1253 CALLAWAY CT                                                                            HOWELL             MI 48843‐5202
SHANKS, JO A               5830 S PRIVATE ROAD 487 E                                                                   MONTGOMERY         IN 47558‐5461
SHANKS, JOHN D             4025 LAHRING RD                                                                             LINDEN             MI 48451‐9471
SHANKS, JOHN DANIEL        4025 LAHRING RD                                                                             LINDEN             MI 48451‐9471
SHANKS, JOHN S             6791 WELLESLEY TER                                                                          CLARKSTON          MI 48346‐2769
SHANKS, JOHN W             1623 E LANSING RD                                                                           MORRICE            MI 48857‐9634
SHANKS, JOSEPH M           308 NORTH SYCAMORE                                                                          NORTH LEWISBURG    OH 43060
SHANKS, JOSEPHINE H        12020 ARCOLA                                                                                LIVONIA            MI 48150‐2346
SHANKS, JOSEPHINE H        12020 ARCOLA ST                                                                             LIVONIA            MI 48150‐2346
SHANKS, JOSIE B            33 N FRANCIS AVE                                                                            PONTIAC            MI 48342‐2722
SHANKS, JR.,SIMON          1016 BARBARA ANN DR                                                                         JACKSON            MS 39204‐5101
SHANKS, JUDITH A           PO BOX 8870CRB                                                                              TUCSON             AZ 85738‐0870
SHANKS, JULIAN C           3397 GAYHEART CT                                                                            CINCINNATI         OH 45239‐5222
SHANKS, KURT M             5601 WEMBLEY CT                                                                             CLARKSTON          MI 48346‐3062
SHANKS, LAWRENCE R         9166 NICHOLS RD                                                                             GAINES             MI 48436‐9790
SHANKS, LAWRENCE RAYMOND   9166 NICHOLS RD                                                                             GAINES             MI 48436‐9790
SHANKS, LISA N             PO BOX 390                                                                                  LITHIA SPGS        GA 30122‐0390
SHANKS, LYLE C             4159 JOAN DR                                                                                DORR               MI 49323‐9413
SHANKS, MARK E             44 CHEROKEE RD                                                                              PONTIAC            MI 48341‐1500
SHANKS, MAX D              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                             STREET, SUITE 600
SHANKS, MICHAEL W          650 W HAWTHORNE DR                                                                          ORLEANS           IN 47452‐9790
SHANKS, MYRON              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                             STREET, SUITE 600
SHANKS, NED S              15017 LA MESA STREET                                                                        SYLMAR            CA   91342‐2052
SHANKS, PATRICIA K         595 ROLFE RD                                                                                MASON             MI   48854‐9618
SHANKS, PAUL D             6016 HOLIDAY GARDENS DR                                                                     GRAND BLANC       MI   48439
SHANKS, RAYMOND H          665 SPRUCE ST                                                                               MOUNT MORRIS      MI   48458‐1980
SHANKS, RICHARD K          9302 SEYMOUR RD                                                                             MONTROSE          MI   48457‐9122
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Name                              Address1                         Address2                    Address3   Address4         City              State Zip
SHANKS, ROBERT                    106 STEDMAN LANE EAST                                                                    ELIZABETH CTY      NC 27909‐7968
SHANKS, ROBERT E                  RR #2 BOX 334                                                                            MONTGOMERY         IN 47558‐9552
SHANKS, ROBERT G                  142 WESTERN AVE                                                                          TRENTON            NJ 08618
SHANKS, ROBERT L                  4295 ROWLEY RD                                                                           WILLIAMSTON        MI 48895‐9539
SHANKS, ROGER M                   2494 S HIGHWAY W                                                                         FOLEY              MO 63347
SHANKS, SHARON                    PO BOX 115                                                                               CLEVELAND          NY 13042
SHANKS, SHARON                    1124 WARREN ST                                                                           JERSEYVILLE         IL 62052‐1056
SHANKS, THOMAS J                  PO BOX 400                                                                               KINGSTON           GA 30145‐0400
SHANKS, TYLER R                   4302 ANGELICO LN                                                                         ROUND ROCK         TX 78681‐1693
SHANKS, TYLER R.                  4302 ANGELICO LN                                                                         ROUND ROCK         TX 78684‐1693
SHANKS, VINCENT E                 682 NAPA LANE                                                                            SAINT CHARLES      MO 63304‐1442
SHANKSTER, JOSEPH A               7‐50 RR 1                                                                                EDON               OH 43518
SHANKSTER, RICHARD T              7274 CAMBRIA RD                                                                          HILLSDALE          MI 49242‐9161
SHANKSTER, THOMAS L               2611 ABINGTON CT                                                                         ROCHESTER HILLS    MI 48306‐3003
SHANKWILER, DOUGLAS A             800 BEAR PAW RDG                                                                         DAHLONEGA          GA 30533‐7127
SHANLEY FLEMING & ASSOCIATES      2 PARK PLZ STE 205                                                                       BOSTON             MA 02116‐3985
SHANLEY, ALICE V                  6802 ASHTON CIRCLE                                                                       FREDRICKSBURG      VA 22407‐5008
SHANLEY, EDWARD P                 4614 CAMP RD                                                                             HAMBURG            NY 14075‐2502
SHANLEY, FLEMING AND ASSOCIATES   F. JEFFREY FLEMING               2 PARK PLZ STE 205                                      BOSTON             MA 02116‐3985
SHANLEY, JAMES F                  100 BLACK HILLS RD                                                                       PITTSBURGH         PA 15239‐2434
SHANLEY, RICHARD M                202 CHURCH ST                                                                            LOCKPORT           NY 14094‐2217
SHANN, CAROLYN                    3208 HIDDEN RD                                                                           BAY CITY           MI 48706‐1207
SHANN, GERALD F                   11067 E MOUNT MORRIS RD LOT 7                                                            DAVISON            MI 48423‐9321
SHANN, GLORIA L                   8575 E 30 RD                                                                             CADILLAC           MI 49601
SHANN, JAMES L                    14071 WASHBURN RD                                                                        OTTER LAKE         MI 48464‐9108
SHANN, JAMES LEWIS                14071 WASHBURN RD                                                                        OTTER LAKE         MI 48464‐9108
SHANN, JERRY W                    3208 HIDDEN RD                                                                           BAY CITY           MI 48706‐1207
SHANN, KENNETH C                  11096 OLDS RD                                                                            OTISVILLE          MI 48463‐9744
SHANN, LORI K                     909 N BANGOR ST                                                                          BAY CITY           MI 48706‐3909
SHANN, PATRICK J                  179 RIVER TRAIL DR                                                                       BAY CITY           MI 48706‐1859
SHANN, ROBERT C                   6790 EASY ST                                                                             OCALA              FL 34472‐3236
SHANN, WILLIAM H                  5854 FALKENBURY RD                                                                       NORTH BRANCH       MI 48461‐9779
SHANNA ANDERSON                   5937 HILLCREST                                                                           DETROIT            MI 48236
SHANNA BUTZIN                     PO BOX 5596                                                                              SAGINAW            MI 48603‐0596
SHANNA C KEENER                   7765 SHALAMAR DRIVE                                                                      HUBER HEIGHTS      OH 45424‐2237
SHANNA ELSIGIAN                   18811 DALE AVE                                                                           ALLEN PARK         MI 48101‐1408
SHANNA HOWZE                      15716 SUSSEX ST                                                                          DETROIT            MI 48227‐2659
SHANNA RAE HADDOCK                ACCT OF MARK RUSSELL SUNDSTROM   6344 NORTH DELBERT AVENUE                               FRESNO             CA 93722‐2406
SHANNA SOLIDAY
SHANNAN A REED‐BRASHER            250 REBECCA DR                                                                           WEST ALEXANDRIA   OH   45381
SHANNAN L SPROAT                  589 YORKTOWN CT                                                                          FRANKLIN          OH   45005
SHANNEN BORNGESSER                16158 NATHAN DR                                                                          MACOMB            MI   48044‐4960
SHANNETTE BURNETT‐ABEL            PO BOX 29335                                                                             INDIANAPOLIS      IN   46229‐0335
SHANNIN G SHEPHERD                6112 LORIMER ST                                                                          DAYTON            OH   45427
SHANNIN N BARNHILL                5802 FISHER DR.                                                                          DAYTON            OH   45424
SHANNON & SONS WELDING            1218 E NEW YORK ST                                                                       AURORA            IL   60505‐3922
SHANNON A BARGER                  8980 S KETCHAM RD                                                                        BLOOMINGTON       IN   47403‐9675
SHANNON ALLEN                     1434 HESSEN RD                                                                           COLUMBUS          MI   48063‐2617
SHANNON BAER                      702 MILTON AVE                                                                           ANDERSON          IN   46012‐3332
SHANNON BAKER                     236 COSMOS DR                                                                            W CARROLLTON      OH   45449
SHANNON BARGER                    8980 S KETCHAM RD                                                                        BLOOMINGTON       IN   47403‐9675
SHANNON BELLANGER                 301 SMITH ST APT 25                                                                      CLIO              MI   48420‐2055
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Name                         Address1                         Address2                        Address3   Address4         City            State Zip
SHANNON BERNARD M (636605)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                              STREET, SUITE 600
SHANNON BISHOP
SHANNON BOB (447630)         BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                              PROFESSIONAL BLDG
SHANNON BOOTHE               7301 S PERRY AVE                                                                             CHICAGO         IL   60621‐3407
SHANNON BOWSHER              6339 E FRANCES RD                                                                            MOUNT MORRIS    MI   48458‐9770
SHANNON BRADSHAW             1066 LARCHWOOD RD                                                                            MANSFIELD       OH   44907‐2425
SHANNON BREWER               415 W 4TH ST                                                                                 ROCHESTER       MI   48307‐1921
SHANNON BUNCH                6699 SUSAN DR                                                                                LOVELAND        OH   45140‐6562
SHANNON BURKHAMER            132 WAVELAND RD                                                                              JANESVILLE      WI   53548‐3257
SHANNON BUTTERWORTH          2126 E FARRAND RD                                                                            CLIO            MI   48420‐9150
SHANNON C JOHNS              8143 OLD WHITE LAKE RD                                                                       WHITE LAKE      MI   48386‐1153
SHANNON CALLAHAN             410 WINDY HILL RD                                                                            HORSE CAVE      KY   42749‐1921
SHANNON CHERRY               4450 W 500 N                                                                                 COLUMBIA CITY   IN   46725‐8166
SHANNON CHRISTY              17688 RIVER RUN RD                                                                           SALINAS         CA   93908‐1419
SHANNON CLAY (464278)        BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH   44067
                                                              PROFESSIONAL BLDG
SHANNON COLE                 3550 N CANAL RD                                                                              DIMONDALE       MI   48821‐9714
SHANNON COOK                 169 ISLAND BRANCH RD                                                                         GOUVERNEUR      NY   13642‐3190
SHANNON CULBERSON            1705 COOLIDGE RD APT 2                                                                       EAST LANSING    MI   48823‐1735
SHANNON D BAKER              3504 POBST DR                                                                                DAYTON          OH   45420‐1044
SHANNON D COTTON             1305 BIG CREEK RD                                                                            RAYMOND         MS   39154
SHANNON D POLLOCK            P O 131                                                                                      SPRING VALLEY   OH   45370
SHANNON D REED               77 NORTH CIRCLE DR.                                                                          GERMANTOWN      OH   45327
SHANNON D STEPPS             3622 STONY HOLLOW RD                                                                         DAYTON          OH   45417
SHANNON D TAYLOR             509 N CANTON CLUB CIR                                                                        JACKSON         MS   39211‐3441
SHANNON D THOMAS             PO BOX 2213                                                                                  DETROIT         MI   48202‐0213
SHANNON D TINCH              7743 MIDDLETOWN‐GERMANTOWN RD                                                                MIDDLETOWN      OH   45042

SHANNON D WATKINS            412 DEVONSHIRE ST                                                                            YPSILANTI       MI   48198‐6023
SHANNON DANIEL (ESTATE OF)   SHANNON, DANIEL                  PO BOX 449                                                  LANCASTER       PA   17608‐0449
SHANNON DANIEL (ESTATE OF)   SHANNON, LORI E                  PO BOX 449                                                  LANCASTER       PA   17608‐0449
SHANNON DARGIE               1723 S HAMILTON ST                                                                           SAGINAW         MI   48602‐1319
SHANNON DAVID C (439498)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510
                                                              STREET, SUITE 600
SHANNON DIPIETRO             PO BOX 9022                      SHANGHAI                                                    WARREN          MI 48090‐9022
SHANNON DOCK JR (494198)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                              STREET, SUITE 600
SHANNON E WEEKS              995 UNITY CHURCH RD                                                                          ATTALLA         AL   35954
SHANNON EAVENSON
SHANNON EDITH (454045)       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                              PROFESSIONAL BLDG
SHANNON EDLINGER             39503 OLD DOMINION DRIVE                                                                     CLINTON TWP     MI 48038‐2650
SHANNON ELLIOTT
SHANNON EVINE                SHANNON, EVA                     3000 ATRIUM WAY STE 330                                     MOUNT LAUREL    NJ   08054‐3928
SHANNON EVINE                SHANNON, EVINE                   3000 ATRIUM WAY STE 330                                     MOUNT LAUREL    NJ   08054‐3928
SHANNON FABATZ               10555 RUNYAN LAKE PTE                                                                        FENTON          MI   48430
SHANNON FAHY                 15552 OAK HOLLOW DR                                                                          HOLLY           MI   48442‐9524
SHANNON FORD                 923 VERNITA DR                                                                               LAKE ORION      MI   48362‐2459
SHANNON FOUCH                10139 S GREEN ST                                                                             CHICAGO         IL   60643‐2216
SHANNON G PRESTON            4112 MARDELLA DRIVE                                                                          RALEIGH         NC   27613
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Name                                 Address1                           Address2                         Address3   Address4         City               State Zip
SHANNON GIBSON                       2128 OLD TRAIL DR                                                                               NORTHWOOD           OH 43619‐2432
SHANNON GRAY                         515 EAST CHURCH STREET                                                                          EATON               IN 47338‐9479
SHANNON H FEE                        PO BOX 2316                                                                                     WARREN              OH 44484
SHANNON H STONE                      3811 MATT SMITH RD                                                                              SOUTHSIDE           AL 35907‐6222
SHANNON HARNISH, INC.                SHANNON HARNISH                    555 SW GRADY WAY                                             RENTON              WA 98057‐2950
SHANNON HARPER                       PO BOX 431875                                                                                   PONTIAC             MI 48343‐1875
SHANNON HARRIS                       C/O WEITZ & LUXENBERG PC           700 BROADWAY                                                 NEW YORK CITY       NY 10003
SHANNON HENRY                        30259 LISCH ST                                                                                  GIBRALTAR           MI 48173‐9441
SHANNON HILL                         8626 N WATSON AVE                                                                               KANSAS CITY         MO 64153‐3660
SHANNON HILL                         5115 NW 66TH ST                                                                                 KANSAS CITY         MO 64151‐1948
SHANNON HOFFMAN                      624 CHARLES LN                                                                                  SPRING HILL         TN 37174‐7351
SHANNON HOLDER                       88 CHAMBERLAIN ST                                                                               PONTIAC             MI 48342‐1410
SHANNON HOWARD                       2300 N WAUGH ST                                                                                 KOKOMO              IN 46901‐1682
SHANNON HULL                         3291 N STATE ROAD 9                                                                             ANDERSON            IN 46012‐1235
SHANNON I BURKE                      4246 LYNDELL DRIVE                                                                              BEAVERCREEK         OH 45432‐1826
SHANNON II, CARLOS                   1955 UNION PL APT I145                                                                          COLUMBIA            TN 38401‐5909
SHANNON ILLIG                        33796 ADAMS ST                                                                                  NORTH RIDGEVILLE    OH 44039‐3204
SHANNON IV, WALTER                   PO BOX 2910                                                                                     YOUNGSTOWN          OH 44511‐0910
SHANNON IV, WALTER                   PO BOX 1126                                                                                     BUFFALO             NY 14215‐6125
SHANNON J MILLER                     2954 POWHATTAN PL.                                                                              KETTERING           OH 45420
SHANNON J STEELE                     2201 COLUMBUS AVE                                                                               SPRINGFIELD         OH 45503
SHANNON J STORMER                    7941 ANDERSONVILLE RD                                                                           CLARKSTON           MI 48346‐2515
SHANNON J THOMPSON                   666 W BETHUNE ST APT 603                                                                        DETROIT             MI 48202‐2745
SHANNON JAMES                        5333 NORTHAY DR                                                                                 SWARTZ CREEK        MI 48473‐8227
SHANNON JEREMY R                     PROGRESSIVE NORTHEASTERN INSURANCE 266 MAIN ST                                                  FARMINGDALE         NY 11735‐2618
                                     COMPANY
SHANNON JEREMY R                     SHANNON, JEREMY R                  266 MAIN ST                                                  FARMINGDALE        NY 11735‐2618
SHANNON JOHN R (494199)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                                        STREET, SUITE 600
SHANNON JOHNS                        8143 OLD WHITE LAKE RD                                                                          WHITE LAKE         MI   48386‐1153
SHANNON JONES                        2560 TAVISTOCK CT                                                                               STERLING HEIGHTS   MI   48310‐7111
SHANNON JONES                        10104 NOTESTINE RD                                                                              FORT WAYNE         IN   46835‐9760
SHANNON JOSEPH                       SHANNON, JOSEPH                    1790 WILMINGTON PIKE SUITE 200                               GLEN MILLS         PA   19342
                                                                        THE SPEAKMAN HOUSE
SHANNON JR MACK (460182) ‐ SHANNON   DUFFY & ASSOCS JOHN J              23823 LORAIN RD                                              NORTH OLMSTED      OH 44070
MACK
SHANNON JR, BERNARD A                14 LEXINGTON AVE                                                                                SOUTH RIVER        NJ   08882‐2037
SHANNON JR, CHARLIE                  PO BOX 765041                                                                                   DALLAS             TX   75376‐5041
SHANNON JR, EDDIE J                  705 HEZEKIAH WAY                                                                                ELLENWOOD          GA   30294‐4524
SHANNON JR, ROGER                    777 5TH ST E                                                                                    SAINT PAUL         MN   55106‐5116
SHANNON JR, WILLIAM W                2780 PAJARO PL                                                                                  RENO               NV   89502‐4955
SHANNON L BEACH                      525 S CLAYTON RD                                                                                NEW LEBANON        OH   45345
SHANNON L BOWENS                     637 CIRCLE RD                                                                                   DAYTON             OH   45417
SHANNON L CLINE                      8326 U.S. HWY. 11N                                                                              ATTALLA            AL   35954
SHANNON L COOK                       2112 MARKER AVE                                                                                 DAYTON             OH   45414
SHANNON L COTTON                     88 JANET AVE.                                                                                   CARLISLE           OH   45005‐5804
SHANNON L GRAHAM                     7542 MOUNT WHITNEY ST                                                                           DAYTON             OH   45424
SHANNON L GWINN                      1038 KINSMAN RD.                                                                                N. BLOOMFIELD      OH   44450
SHANNON L HERRON                     328 GLEN ROSE DR                                                                                JACKSON            MS   39209‐2813
SHANNON L JOSEPHSON                  46941 ECORSE RD                                                                                 BELLEVILLE         MI   48111‐5115
SHANNON L MENDOZA                    241 YOUNT RD                                                                                    WEST MILTON        OH   45383
SHANNON L PICKELMAN                  6135 TURNER RD                                                                                  FLUSHING           MI   48433‐9278
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Name                             Address1                       Address2                      Address3   Address4         City                  State Zip
SHANNON L SIMPSON                6058 C IVY LANE                                                                          W ALEXANDRIA           OH 45381
SHANNON L SWIFT                  317 E SYCAMORE ST                                                                        MIAMISBURG             OH 45342‐2329
SHANNON L TACKETT                932 COTTINGHAM DR                                                                        MOUNT PLEASANT         SC 29464
SHANNON LAMB                     6062 DELAND ROAD                                                                         FLUSHING               MI 48433‐1135
SHANNON LANGTON                  6305 WALDON WOODS DR                                                                     CLARKSTON              MI 48346‐2483
SHANNON LONGSTAFF                8941 ANCHOR BAY DR                                                                       CLAY                   MI 48001‐3515
SHANNON M BURNETTE               1342 KAPOK DRIVE                                                                         FAIRBORN               OH 45324
SHANNON M CURRY                  107 N 8TH STREET                                                                         GADSDEN                AL 35903‐1609
SHANNON M GRAY                   515 E CHURCH ST                                                                          EATON                  IN 47338‐9479
SHANNON M HANDWORK               6125 IMPERIAL HILLS DR.                                                                  DAYTON                 OH 45414
SHANNON M MCGUIRE                3562 ROBINSON VAIL RD                                                                    FRANKLIN               OH 45005
SHANNON M SOUTHARD               901 GREENWOOD CT                                                                         TRENTON                OH 45067
SHANNON M THOMPSON               9321 HOWLAND SPRINGS RD SE R                                                             WARREN                 OH 44484
SHANNON M YOUNG                  2046 WHEELER RD                                                                          AUBURN                 MI 48611‐8511
SHANNON MACEK                    7142 IRISH RD                                                                            OTISVILLE              MI 48463‐8428
SHANNON MASON                    537 S MAPLELEAF RD                                                                       LAPEER                 MI 48446‐3515
SHANNON MAYNES                   105 COUNTRY LN                                                                           EULESS                 TX 76039‐8019
SHANNON MCKAY                    4237 N LAPEER RD                                                                         LAPEER                 MI 48446‐8616
SHANNON MICHAEL                  220 CARY DR                                                                              AUBURN                 AL 36830‐3006
SHANNON MICHAEL (454736)         C/O GREITZER AND LOCKS         747 3RD AVE RM 3700                                       NEW YORK               NY 10017‐2812
SHANNON MILLER                   714 UNADILLA ST                                                                          SHREVEPORT             LA 71106‐1244
SHANNON MURRAY                   2078 RIDGEMONT RD                                                                        GROSSE POINTE WOODS    MI 48236‐1336
SHANNON N ADAMS                  344 DEEDS AVE                                                                            DAYTON                 OH 45404
SHANNON N BARKER                 5335 NAPLES DR                                                                           HUBER HEIGHTS          OH 45424
SHANNON N CARTER                 840 ALVERNO AVE.                                                                         DAYTON                 OH 45410‐3102
SHANNON N COUCH                  903 POWELL AV                                                                            MIAMISBURG             OH 45342
SHANNON N SULLIVAN               727 BEERY BLVD                                                                           UNION                  OH 45322‐2906
SHANNON NICHOLS                  PO BOX 211                                                                               LAMBERTVILLE           MI 48144‐0211
SHANNON NOLAND                   5005 SECRETARIAT DR                                                                      RICHMOND               KY 40475‐9103
SHANNON O'HARA                   12217 MARGARET DR                                                                        FENTON                 MI 48430‐8805
SHANNON PAEZ                     4720 S GRAHAM RD                                                                         SAINT CHARLES          MI 48655‐8549
SHANNON PARTLOW                  17612 PRAIRIE ST                                                                         DETROIT                MI 48221‐2697
SHANNON PETERS                   3334 SHILLELAGH DRIVE                                                                    FLINT                  MI 48506‐2221
SHANNON PICKELMAN                6135 TURNER RD                                                                           FLUSHING               MI 48433‐9278
SHANNON POIRIER                  295 KANSAS AVE                                                                           YPSILANTI              MI 48198‐6086
SHANNON PRE/LEOMA                2033 FALL RIVER RD                                                                       LEOMA                  TN 38468‐5041
SHANNON PRECISION FA             31600 STEPHENSON HWY                                                                     MADISON HEIGHTS        MI 48071‐1642
SHANNON PRECISION FASTENER LLC   31600 STEPHENSON HWY                                                                     MADISON HEIGHTS        MI 48071‐1642
SHANNON PRECISION FASTENER LLC
SHANNON PRECISION FASTENER LLC   ROBB THOMPSON                  44465 GRATIOT AVE                                         DETROIT               MI   48212
SHANNON PREMO                    502 W SHIAWASSEE AVE                                                                     FENTON                MI   48430‐2099
SHANNON R HENRY                  30259 LISCH ST                                                                           GIBRALTAR             MI   48173‐9441
SHANNON R KOERNER                309 QUITMAN ST APT A                                                                     DAYTON                OH   45410
SHANNON R PETERS                 3334 SHILLELAGH DR                                                                       FLINT                 MI   48506‐2221
SHANNON R PINSON                 2927 KNOLLDRIDGE DR            APT A                                                     DAYTON                OH   45449‐3436
SHANNON R WALKER                 1115 WHEATLEY AVE                                                                        DAYTON                OH   45405‐‐ 36
SHANNON R WILSON                 1040 POOL AVE                                                                            VANDALIA              OH   45377
SHANNON REEVES                   3019 PHEASANT RUN EAST D                                                                 WIXOM                 MI   48393
SHANNON REIGHTLEY                8004 N PINE RD                                                                           MILTON                WI   53563‐9184
SHANNON RICHARD J (429789)       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510
                                                                STREET, SUITE 600
SHANNON RICHARDSON               15130 BRIDGE VIEW DR                                                                     STERLING HEIGHTS      MI 48313‐1242
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Name                         Address1                        Address2                          Address3   Address4         City               State Zip
SHANNON ROACH                2119 E 16TH ST                                                                                MUNCIE              IN 47302‐4611
SHANNON ROBERT CPA           PO BOX 99524                                                                                  TROY                MI 48099‐9524
SHANNON ROBINS               1255 PICKETT ST SE                                                                            KENTWOOD            MI 49508‐4652
SHANNON ROEHL‐WICKINGSON     4909 N OLD ORCHARD DR                                                                         JANESVILLE          WI 53545‐9600
SHANNON ROSEANN              SHANNON, ROSEANN                30 EAST BUTLER PIKE , SUITE 310                               AMBLER              PA 19002
SHANNON S HALE               45 W BEVERLY AVE                                                                              PONTIAC             MI 48340‐2617
SHANNON S SUMMERS            7205 MOUNT JULIET DR                                                                          DAVISON             MI 48423‐2361
SHANNON SARBO                2112 CATALPA DR                                                                               BERKLEY             MI 48072‐1806
SHANNON SCARLETT             12280 S.E #113 TERR                                                                           BELLEVIEW           FL 34420
SHANNON SISK                 4115 ATWELL                                                                                   DRYDEN              MI 48428‐9700
SHANNON SLADE                1159 W OAKLAWN DR                                                                             TERRELL             TX 75160‐0873
SHANNON SR, HARVEY L         5714 GEORGIA AVE                                                                              KANSAS CITY         KS 66104‐2936
SHANNON SR, LEON             8 WESLAKE DR                                                                                  FAIRVIEW HEIGHTS     IL 62208‐1728
SHANNON STEFAN               C/O ANCHOR GENERAL INSURANCE    PO BOX 509020                                                 SAN DIEGO           CA 92150‐9020
                             COMPANY
SHANNON STEFAN               3247 LAURELHURST DR                                                                           RANCHO CORDOVA     CA   95670‐5831
SHANNON STEWART              8823 DOUGLAS AVE                                                                              KALAMAZOO          MI   49009‐5206
SHANNON STORMER              7941 ANDERSONVILLE RD                                                                         CLARKSTON          MI   48346‐2515
SHANNON SUMMERS              7205 MOUNT JULIET DRIVE                                                                       DAVISON            MI   48423‐2361
SHANNON SURLES               405 JENNIFER LN                                                                               ARLINGTON          TX   76002‐5401
SHANNON T GIBSON             2128 OLD TRAIL DR                                                                             NORTHWOOD          OH   43619‐2432
SHANNON TERRI                5971 HANGER RD                                                                                MITCHELL           SD   57301‐6270
SHANNON THOMPSON             PO BOX 841                                                                                    ROOSEVELTOWN       NY   13683‐0841
SHANNON TOWNSEND             2232 N OAK RD                                                                                 DAVISON            MI   48423‐8170
SHANNON VOIGHT               1022 ALPINE DR                                                                                SANDUSKY           OH   44870‐5017
SHANNON WALLACE              295 TIMBER TRL APT 102                                                                        AUBURN HILLS       MI   48326‐1189
SHANNON WALTERS              7190 SHARP RD                                                                                 SWARTZ CREEK       MI   48473‐9429
SHANNON WALTRIP              6076 W TUSCOLA RD                                                                             FRANKENMUTH        MI   48734‐9535
SHANNON WAYNE                SHANNON, WAYNE                  18595 US HWY 6 AND 19                                         SAEGER TOWN        PA   16433
SHANNON WILCHER              8051 RETREAT LN                                                                               INDIANAPOLIS       IN   46259‐7689
SHANNON WILLIAM P (352289)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510
                                                             STREET, SUITE 600
SHANNON WILLIAMS             2100 SHORELINE DR                                                                             LAPEER             MI   48446
SHANNON WILLIAMS             3303 MARIAN LN                                                                                ROSENBERG          TX   77471‐8609
SHANNON WOODS                393 YOCKEY RD                                                                                 MITCHELL           IN   47446‐6911
SHANNON WROBLEWSKI           13861 DIVERSION DR                                                                            STERLING HEIGHTS   MI   48313‐4203
SHANNON, ALANA L             31 REED ST                                                                                    LOCKPORT           NY   14094‐3901
SHANNON, ALISON NICOLE       7523 PARKWOOD CT                                                                              FENTON             MI   48430‐9320
SHANNON, ALLEN M             2957 S 380 E                                                                                  ANDERSON           IN   46017‐9720
SHANNON, ANNA M              106 PARK AVE                                                                                  WEST HELENA        AR   72390‐2925
SHANNON, ANNETTE M           1297 US 27 N RM 319                                                                           LAKE PLACID        FL   33852‐7907
SHANNON, ANNETTE M           1956 SAWGRASS TRL                                                                             SEBRING            FL   33872
SHANNON, ARDA B              5136 E EVERGREEN ST APT 1150                                                                  MESA               AZ   85205
SHANNON, ARGUSTA             1027 HUGHES LANE                                                                              WESSON             MS   39191‐9191
SHANNON, ARGUSTA             1027 HUGHES LN                                                                                WESSON             MS   39191‐9711
SHANNON, ARLENE R            G5009 W CARPENTER RD                                                                          FLINT              MI   48504
SHANNON, AUSTIN L
SHANNON, BARRY G             4344 N EVERGREEN DR                                                                           WHITE CLOUD        MI   49349‐8853
SHANNON, BARRY G             4344 NORTH EVERGREEN DRIVE                                                                    WHITE CLOUD        MI   49349‐8853
SHANNON, BENNIE H            27 HOLLIS JONES RD                                                                            TYLERTOWN          MS   39667‐5846
SHANNON, BERNARD M           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510
                                                             STREET, SUITE 600
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Name                          Address1                         Address2                       Address3   Address4         City            State Zip
SHANNON, BERNICE              45050 JUDD RD                                                                               BELLEVILLE       MI 48111‐9109
SHANNON, BETTY D              31W LOS REALES RD.               LOT 110                                                    TUCSON           AZ 85706
SHANNON, BETTY J              504 N DAVISON                                                                               DAVISON          MI 48423‐1420
SHANNON, BETTY J              504 N DAVISON ST                                                                            DAVISON          MI 48423‐1420
SHANNON, BETTY J              4233 N STATE RD                                                                             DAVISON          MI 48423‐8511
SHANNON, BETTY L              5935 JAMIESON AVE                                                                           SAINT LOUIS      MO 63109‐3326
SHANNON, BETTY L              222 LEONARD ST                                                                              MATTYDALE        NY 13211‐1451
SHANNON, BOB                  BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD       OH 44067
                                                               PROFESSIONAL BLDG
SHANNON, BOBBIE               3354 W OGDEN AVE                 APT 3                                                      CHICAGO         IL   60623‐2651
SHANNON, BOBBY J              891 GRANGE CT SE                                                                            ATLANTA         GA   30315‐6956
SHANNON, BRIAN J              5305 SUMMIT PEAK CT                                                                         ARLINGTON       TX   76017‐1913
SHANNON, BRIAN J              210 RAYMOND DR                                                                              DALTON          MA   01226‐1059
SHANNON, BRIAN S              841 RIVERCHASE DR                                                                           BRANDON         MS   39047‐8705
SHANNON, BRITTANY L
SHANNON, BRUCE E              9497 TIGER RUN TRL                                                                          DAVISON         MI   48423‐8431
SHANNON, CALVIN B             244 PHILLIPS ROAD 235                                                                       LEXA            AR   72355‐8852
SHANNON, CALVIN L             3030 WATER WHEEL RUN                                                                        FORT WAYNE      IN   46818‐8758
SHANNON, CATHERINE V          50 FORT HILL RD                                                                             HUNTINGTON      NY   11743‐2271
SHANNON, CHARLES L            4840 TEALTOWN RD                                                                            MILFORD         OH   45150‐9736
SHANNON, CHARLES W            940 SOUTHGATE TRL SE                                                                        BOGUE CHITTO    MS   39629‐4279
SHANNON, CHARLIE              PO BOX 238                                                                                  MT MORRIS       MI   48458‐0238
SHANNON, CHRISTOPHER H        2203 BRIGGS RD                                                                              MUNGER          MI   48747‐9749
SHANNON, CHRISTOPHER HARTEN   2203 BRIGGS RD                                                                              MUNGER          MI   48747‐9749
SHANNON, CINDY R              5131 TEETER RD                                                                              BELLVILLE       OH   44813‐9167
SHANNON, CLAY                 BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD      OH   44067
                                                               PROFESSIONAL BLDG
SHANNON, CONSTANCE M          625 W LAKE JASMINE CIR APT 108                                                              VERO BEACH      FL   32962‐8559
SHANNON, CURTIS               PO BOX 29178                                                                                SHREVEPORT      LA   71149‐9178
SHANNON, CYNTHIA A            38033 CONNAUGHT DR                                                                          NORTHVILLE      MI   48167‐9046
SHANNON, CYRSTAL Y            PO BOX 3714                                                                                 SHREVEPORT      LA   71133‐3714
SHANNON, DANIEL               51 S SOUDERSBURG RD                                                                         RONKS           PA   17572‐9504
SHANNON, DANIEL               ATLEE HALL & BROOKHART           PO BOX 449                                                 LANCASTER       PA   17608‐0449
SHANNON, DAVID C              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510
                                                               STREET, SUITE 600
SHANNON, DAVID C              PO BOX 851262                                                                               WESTLAND        MI   48185‐0366
SHANNON, DAVID C              PO BOX 366                                                                                  WENTZVILLE      MO   63385‐0366
SHANNON, DAVID C              2117 N IRISH RD                                                                             DAVISON         MI   48423‐9561
SHANNON, DAVID H              3876 BALL RD                                                                                CARO            MI   48723‐9622
SHANNON, DAVID L              2812 SW 109TH ST                                                                            OKLAHOMA CITY   OK   73170‐2462
SHANNON, DAVID S              1645 EMERSON RD                                                                             WALES           MI   48027‐2603
SHANNON, DAVID W              505 E APPLEWOOD DR                                                                          EDGERTON        WI   53534‐8913
SHANNON, DEBBIE               3333 EAST DALE                                                                              FLINT           MI   48506
SHANNON, DENNIS G             13144 N WEBSTER RD                                                                          CLIO            MI   48420‐8238
SHANNON, DENNIS GAN           13144 N WEBSTER RD                                                                          CLIO            MI   48420‐8238
SHANNON, DENNIS M             5958 BAY VISTA DR                                                                           PENSACOLA       FL   32507‐8467
SHANNON, DIANE A              17968 CIDER MILL ST                                                                         MACOMB          MI   48044
SHANNON, DOCK                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510‐2212
                                                               STREET, SUITE 600
SHANNON, DONALD J             4231 E 575 S                                                                                MARKLEVILLE     IN 46056‐9746
SHANNON, DONALD L             29248 MAGNOLIA DR                                                                           FLAT ROCK       MI 48134‐1338
SHANNON, DORIS                602 CEDAR CREST DR                                                                          CARNEYS POINT   NJ 08069‐9646
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Name                    Address1                         Address2                       Address3   Address4         City                  State Zip
SHANNON, DOROTHY A      C/O CAROLA ARLENE BRADLEY        2601 OAKS DRIVE                                            GRANBURY               TX 76049
SHANNON, DWANNA M       6865 N RAIDER RD                                                                            MIDDLETOWN             IN 47356‐9751
SHANNON, DWIGHT W       22265 MENOWA TRL                                                                            ATHENS                 AL 35613‐2857
SHANNON, EARL L         23 QUAIL MEADOWS CT                                                                         LAKE ST LOUIS          MO 63367‐2231
SHANNON, EARL L         1401 BROWN ST                                                                               SAGINAW                MI 48601‐2605
SHANNON, EARL L         520 OWEN ST #1                                                                              SAGINAW                MI 48607‐1149
SHANNON, EDITH          50615 GARFIELD RD RT 2                                                                      OBERLIN                OH 44074
SHANNON, EDITH          BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD             OH 44067
                                                         PROFESSIONAL BLDG
SHANNON, EDITH M        169 BRANDON RIDGE COURT                                                                     RIVERDALE             GA   30274
SHANNON, EDWARD A       20055 BIRWOOD ST                                                                            DETROIT               MI   48221‐1035
SHANNON, ELAINE         PO BOX 437                                                                                  REDAN                 GA   30074
SHANNON, ELDON B        PO BOX 1621                                                                                 NEW SMYRNA BEACH      FL   32170‐1621
SHANNON, ELIZABETH B    2400 ROCKCASTLE CREEK RD                                                                    LOUISA                KY   41230‐6115
SHANNON, ELMER L        7928 BROWN MOUNTAIN RD                                                                      JEWELL RIDGE          VA   24622‐8640
SHANNON, ELSIE A        1701 CEDAR POINT RD                                                                         GAUTIER               MS   39553‐7607
SHANNON, ERNEST E       438 STONE ST                                                                                JOHNSTOWN             PA   15906‐1667
SHANNON, EVELYN G       2057 WHISPERING COVE                                                                        LEWISVILLE            TX   75067‐6131
SHANNON, FRANK J        3195/ APMT 144 WOODFIELD BLVD                                                               SAULT SAINTE MARIE    MI   49783
SHANNON, FRIDOLINE R    908 BIG PINE WAY                                                                            FORT MYERS            FL   33907‐5930
SHANNON, GABRIELLE D
SHANNON, GEORGE         27 MICHIGAN ST                                                                              MOUNT CLEMENS         MI   48043‐5901
SHANNON, GERALD R       259 HAVERHORST DRIVE                                                                        FLINT                 MI   48507‐4248
SHANNON, GLADYS M       1355 OLD OAK TRL                                                                            PT CHARLOTTE          FL   33948‐2287
SHANNON, GLADYS M       12304 HERNANDO RD.                                                                          NORTH PORT            FL   34287
SHANNON, GLYNDER J      1301 E AVENUE I SPC 304                                                                     LANCASTER             CA   93535‐2152
SHANNON, GREGORY A      10465 BENTON RD                                                                             GRAND LEDGE           MI   48837‐9727
SHANNON, HELENE M       923 S DUCK LAKE RD APT 221                                                                  HIGHLAND              MI   48356‐3346
SHANNON, HENRY B        PO BOX 793                                                                                  MARS HILL             NC   28754‐0793
SHANNON, HERBERT H      5550 BIRD ISLAND DR                                                                         LADY LAKE             FL   32159‐4114
SHANNON, HESTER M       347 KERCHEVAL AVE                                                                           GROSSE POINTE FARMS   MI   48236‐3088
SHANNON, JACQUELINE O   5001 SW 20TH ST                  APT 309                                                    OCALA                 FL   34474
SHANNON, JAMES          1804 S HEMLOCK RD                                                                           MUNCIE                IN   47302‐1988
SHANNON, JAMES A        1804 S HEMLOCK RD                                                                           MUNCIE                IN   47302‐1988
SHANNON, JAMES D        2549 BINGHAM AVE                                                                            DAYTON                OH   45420‐3724
SHANNON, JAMES M        PO BOX 494                                                                                  BIG SANDY             TX   75755‐0494
SHANNON, JAMIE C        2493 BYERS RIDGE DR                                                                         MIAMISBURG            OH   45342‐6737
SHANNON, JANET R        271 CHANDLER ST                                                                             PONTIAC               MI   48342‐2805
SHANNON, JANET R        271 CHANDLER                                                                                PONTIAC               MI   48342‐2805
SHANNON, JANICE R       2659 WILLOW GLEN CIR                                                                        INDIANAPOLIS          IN   46229‐3660
SHANNON, JEAN M         14 METTEN RD                                                                                NEWARK                DE   19713‐1563
SHANNON, JENNIE C       27 HOLLIS JONES RD                                                                          TYLERTOWN             MS   39667
SHANNON, JEREMY
SHANNON, JEREMY R       JAMIC AMARASINGHE                266 MAIN ST                                                FARMINGDALE           NY 11735‐2618
SHANNON, JEROME H       1993 BELLEMEADE DR                                                                          ALTOONA               PA 16602‐7547
SHANNON, JERRY L
SHANNON, JO A           166 ENCHANTED DR                                                                            SOMERSET              KY   42503‐6247
SHANNON, JOHN E         7108 PORTER RD                                                                              GRAND BLANC           MI   48439‐8574
SHANNON, JOHN H         2727 E 92ND ST                                                                              CHICAGO               IL   60617‐4102
SHANNON, JOHN L         1948 HARRIS LN                                                                              XENIA                 OH   45385‐1177
SHANNON, JOHN R         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK               VA   23510‐2212
                                                         STREET, SUITE 600
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Name                       Address1                       Address2                      Address3   Address4         City               State Zip
SHANNON, JUNE ROSE         436 MISSION BAY DR                                                                       WILDWOOD            MO 63040‐1522
SHANNON, KARU R            3016 SCOTTSDALE DR                                                                       INDIANAPOLIS        IN 46234‐1771
SHANNON, KATHERINE D       APT 103                        2287 SOUTH CENTER ROAD                                    BURTON              MI 48519‐1137
SHANNON, KATHLEEN          8375 BRIDLE VIEW WAY                                                                     COLUMBUS            OH 43240‐2058
SHANNON, KATHY M           173 N NORTH SHORE DR APT A                                                               LAKE ORION          MI 48362‐3068
SHANNON, KENNETH J         118 EASTMAN RD                                                                           CHESTERFIELD        IN 46017‐1314
SHANNON, KIRK L            107 RONALD DR                                                                            LEWISBURG           OH 45338‐9312
SHANNON, KULADA L          4055 TRUXTON LN                                                                          LANSING             MI 48911‐4329
SHANNON, LAWRENCE G        4165 DEER CREEK DR                                                                       SHREVEPORT          LA 71119‐7513
SHANNON, LAWRENCE GEORGE   4165 DEER CREEK DR                                                                       SHREVEPORT          LA 71119‐7513
SHANNON, LEAMON S          316 SUMMERS HILL RD                                                                      SUNBRIGHT           TN 37872‐2816
SHANNON, LINDA C           6941 VERNSON DR                                                                          LANSING             MI 48911‐6556
SHANNON, LINDA S           1294 CYPRESS POINT DR                                                                    O FALLON            MO 63366‐5585
SHANNON, LISA B            1232 HOME AVE                                                                            ANDERSON            IN 46016‐1977
SHANNON, LISA C            1004 COVINGTON AVENUE                                                                    PIQUA               OH 45356‐3213
SHANNON, LOIS M            1200 WRIGHT AVE                                                                          ALMA                MI 48801‐1133
SHANNON, LORI E            ATLEE HALL & BROOKHART         PO BOX 449                                                LANCASTER           PA 17608‐0449
SHANNON, LOUIS G           6097 BEECHWOOD DR                                                                        HASLETT             MI 48840‐9719
SHANNON, MACK              DUFFY & ASSOCS JOHN J          23823 LORAIN RD                                           NORTH OLMSTED       OH 44070
SHANNON, MADELINE M        5550 BIRD ISLAND DR.                                                                     LADY LAKE           FL 32159‐4114
SHANNON, MARGARETE G       227 ARLINGTON DR                                                                         DANVILLE             IL 61832‐8412
SHANNON, MARY ANN          3440 ROYAL DR                                                                            COLUMBIAVILLE       MI 48421‐8944
SHANNON, MARY K            411 W ELIZABETH ST                                                                       FENTON              MI 48430
SHANNON, MATTHEW G         1818 STATE ROUTE 257 S                                                                   DELAWARE            OH 43015
SHANNON, MELVIN            2309 OLD ATLANTA HWY                                                                     FORSYTH             GA 31029‐2708
SHANNON, MELVIN C          142 JEFFERSON RD                                                                         WEST UNION          SC 29696‐2818
SHANNON, MERLIN W          104 W HURON ST                                                                           DURAND              MI 48429‐1204
SHANNON, MICHAEL           GREITZER AND LOCKS             120 WHITE PLAINS RD STE 310                               TARRYTOWN           NY 10591‐5538
SHANNON, MICHAEL D         G5009 W CARPENTER RD                                                                     FLINT               MI 48504
SHANNON, MICHAEL L         2305 LYNDHURST DR                                                                        SUN CITY CENTER     FL 33573‐4887
SHANNON, MICHAEL P         2308 MARCH DR                                                                            SPRING HILL         TN 37174‐7510
SHANNON, NANCY             2123 REDWOOD AVE.                                                                        COLUMBUS            MI 48063‐3245
SHANNON, NANCY C           10323 ELMS RD                                                                            MT ROSE             MI 48457‐9195
SHANNON, NAOMI             3030 ELMHURST                                                                            DETROIT             MI 48206‐1184
SHANNON, NAOMI             3030 ELMHURST ST                                                                         DETROIT             MI 48206‐1184
SHANNON, NORMAN E          210 QUAIL RIDGE RD                                                                       LAKE LURE           NC 28746‐9618
SHANNON, PATRICIA J        9240 EMILY DR                                                                            DAVISON             MI 48423‐2866
SHANNON, PHILLIP L         4679 CAMPBELL ST                                                                         DEARBORN HTS        MI 48125‐2724
SHANNON, RAYMOND           PO BOX 752                                                                               HAZELHURST          MS 39083‐0752
SHANNON, REBECCA L         741 BAY RD                                                                               BAY CITY            MI 48706‐1931
SHANNON, RICHARD D         9810 N POTTER AVE                                                                        KANSAS CITY         MO 64157‐7744
SHANNON, RICHARD G         4821 W COLUMBINE DR                                                                      GLENDALE            AZ 85304‐2225
SHANNON, RICHARD J         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                          STREET, SUITE 600
SHANNON, RICHARD O         504 N DAVISON ST                                                                         DAVISON            MI   48423‐1420
SHANNON, RICHARD T         3820 DANBRIDGE DR                                                                        LANSING            MI   48906‐9292
SHANNON, ROBERT            37 WEER CIR                    KLAIR ESTATES                                             WILMINGTON         DE   19808‐5700
SHANNON, ROBERT B          9825 W WALKER RD                                                                         SAINT JOHNS        MI   48879‐9533
SHANNON, ROBERT E          2850 ELMWOOD DR                                                                          ADRIAN             MI   49221‐4129
SHANNON, ROBERT G          2463 HUNTERS POND                                                                        BLOOMFIELD HILLS   MI   48304‐2309
SHANNON, ROBERT L          1914 W MCCLELLAN ST                                                                      FLINT              MI   48504‐2509
SHANNON, ROBERT L          PO BOX 154                                                                               SHARPSVILLE        PA   16150‐0154
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Name                    Address1                       Address2                      Address3   Address4         City               State Zip
SHANNON, ROBERT W       5331 W FARRAND RD                                                                        CLIO                MI 48420‐8249
SHANNON, RONALD E       2835 STRATHMORE DR                                                                       CUMMING             GA 30041‐7455
SHANNON, RONALD H       2341 E LAKE DR NE                                                                        CONYERS             GA 30012‐2507
SHANNON, RONALD L       602 CEDAR CREST DR                                                                       CARNEYS POINT       NJ 08069‐9646
SHANNON, ROSEMARY C     330 SUNSET BLVD                                                                          WYCKOFF             NJ 07481‐2418
SHANNON, RUTH V         1143 E CANAL ST                C/O REBECCA WEAVER                                        TROY                OH 45373‐3701
SHANNON, RUTH V         C/O REBECCA WEAVER             1143 E CANAL ST                                           TROY                OH 45373‐5373
SHANNON, SANDERS        PORTER & MALOUF PA             4670 MCWILLIE DR                                          JACKSON             MS 39206‐5621
SHANNON, SCOTT J        15204 THORNRIDGE DR                                                                      GRAND BLANC         MI 48439‐8897
SHANNON, SCOTT J        7523 PARKWOOD CT                                                                         FENTON              MI 48430‐9320
SHANNON, SHARON         2812 SW 109TH STREET                                                                     OKLAHOMA CITY       OK 73170‐2462
SHANNON, SHELLEY L      29316 LANCASTER DR APT 107                                                               SOUTHFIELD          MI 48034‐1448
SHANNON, SHERRY L       854 ALGER AVE                                                                            OWOSSO              MI 48867‐4606
SHANNON, STANLEY H      6865 N RAIDER RD                                                                         MIDDLETOWN          IN 47356‐9751
SHANNON, STEVEN D       20141 GARDENDALE ST                                                                      DETROIT             MI 48221‐1303
SHANNON, STEVEN T       1525 N CRANBROOK RD                                                                      BLOOMFIELD HILLS    MI 48301‐2315
SHANNON, TELLA          1401 BROWN ST                                                                            SAGINAW             MI 48601
SHANNON, TEMIEKA L      23 QUAIL MEADOWS CT                                                                      LAKE ST LOUIS       MO 63367‐2231
SHANNON, TENA A         2957 S 380 E                                                                             ANDERSON            IN 46017‐9720
SHANNON, TERRY D        13145 LARKSBURG DR             PO BOX 143                                                BURT                MI 48417
SHANNON, TESCHONE       4138 THOMAS AVE N                                                                        MINNEAPOLIS         MN 55412‐1518
SHANNON, THERESA K      3559 KAREN PKWY APT 304                                                                  WATERFORD           MI 48328‐4621
SHANNON, THOMAS         37602 FOUNTAIN PARK CIRCLE     APT 485 BLDG 22                                           WESTLAND            MI 48185
SHANNON, THOMAS A       16670 BROWNSFERRY RD                                                                     ATHENS              AL 35611‐7059
SHANNON, THOMAS E       5604 COACH GATE WYNDE                                                                    LOUISVILLE          KY 40207‐2271
SHANNON, THOMAS J       207 BRATTON AVE                                                                          LAFAYETTE           TN 37083‐1615
SHANNON, THOMAS J       100 DOGWOOD LN                                                                           FAIRVIEW HTS         IL 62208‐2473
SHANNON, THOMAS P       4124 PROVIDENCE DR                                                                       SAINT CHARLES       MO 63304‐5571
SHANNON, TILMAN J       795 FORREST CIR SE                                                                       ATLANTA             GA 30354‐2534
SHANNON, TIMOTHY L      2312 FAIR DR                                                                             KNOXVILLE           TN 37918‐2321
SHANNON, TIMOTHY M      7824 ELIZABETH AVE                                                                       KANSAS CITY         KS 66112‐2617
SHANNON, TONI LAVERNE   18697 GLASTONBURY RD                                                                     DETROIT             MI 48219‐2915
SHANNON, VERL G         429 RUMBACH AVE                                                                          JASPER              IN 47546‐8063
SHANNON, VICKI L        20 LORD ST                                                                               EDGERTON            WI 53534‐2014
SHANNON, VINCENT T      5 ELMSHADOW CT                                                                           CLAYTON             MO 63105
SHANNON, VIRGINIA D     16203 GREENVIEW #1                                                                       HOUSTON             TX 77032
SHANNON, VIVIAN J       6821 GREELEY AVE                                                                         KANSAS CITY         KS 66109‐2601
SHANNON, WARREN D       143 FISHER AVE                                                                           WHITE PLAINS        NY 10606
SHANNON, WAYNE          114 BRUCE ST 2                                                                           MC KEES ROCKS       PA 15136
SHANNON, WILLIAM E      6352 JASON LN                                                                            DAYTON              OH 45459‐2537
SHANNON, WILLIAM E      8352 JASON LN.                                                                           DAYTON              OH 43459‐2537
SHANNON, WILLIAM E      13182 DOVER COURT                                                                        BELLEVILLE          MI 48111‐2380
SHANNON, WILLIAM F      PO BOX 225                                                                               NAZARETH            MI 49074‐0225
SHANNON, WILLIAM J      12304 HERNANDO RD                                                                        NORTH PORT          FL 34287‐1148
SHANNON, WILLIAM J      3417 WOODVIEW PL                                                                         COLUMBUS            OH 43220‐2259
SHANNON, WILLIAM P      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                       STREET, SUITE 600
SHANNON, WILLIAM R      227 ARLINGTON DR                                                                         DANVILLE           IL   61832‐8412
SHANNON, WILLIAM R      2400 ROCKCASTLE CREEK RD                                                                 LOUISA             KY   41230‐6115
SHANNON, WILLIE E       902 W DANIELS ST                                                                         DERMOTT            AR   71638‐1906
SHANNON, WILLIE E       1226 WISCONSIN AVE                                                                       BELOIT             WI   53511‐4554
SHANNON, ZEBBIE         362 COLLEGE ST                                                                           BARBERTON          OH   44203‐4039
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Name                            Address1                          Address2                  Address3   Address4         City              State Zip
SHANNONDOAH STRANGE             11698 BARRETTA WAY                                                                      GRAND LEDGE        MI 48837‐9370
SHANO JOHN                      3430 CLAYTON AVE                                                                        WATERFORD          MI 48329‐3206
SHANO, JOHN G                   3430 CLAYTON AVE                                                                        WATERFORD          MI 48329‐3206
SHANON
SHANON CAUSLEY                  50325 CHERRY HILL RD                                                                    CANTON            MI   48188‐1007
SHANON COX                      912 MESQUITE DR                                                                         BURLESON          TX   76028‐7057
SHANON GRABER                   7905 ELAINE DR                                                                          KEITHVILLE        LA   71047‐8855
SHANON R PICKARD                154 W CORNELL AVE                                                                       PONTIAC           MI   48340‐2720
SHANON ZAMBON                   1340 AVALON AVE                                                                         EAGAN             MN   55121‐1340
SHANONN AIKENS                  1404 NEW YORK AVENUE                                                                    LANSING           MI   48906‐4538
SHANONN N AIKENS                1404 NEW YORK AVE                                                                       LANSING           MI   48906‐4538
SHANORRIS EVANS                 2225 HIGHWAY 20, LOT 64                                                                 DECATUR           AL   35601‐7560
SHANOVICH, CHARLES J            3253 SO 57TH ST                                                                         MILWAUKEE         WI   53219‐4446
SHANOVICH, CHARLES J            3253 S 57TH ST                                                                          MILWAUKEE         WI   53219‐4446
SHANQUETTA M HAYES              6178 DEEWOOD CT S                                                                       COLUMBUS          OH   43229
SHANS, ROBERT O                 341 BERGEDO DR                                                                          OAKLAND           CA   94603‐3511
SHANT SUNOCO                    462 BROAD AVE                                                                           RIDGEFIELD        NJ   07657‐2323
SHANTA CLIFTON                  3 CORBIN CT APT A                                                                       WILMINGTON        DE   19805‐1747
SHANTA L BARLOW                 1310 GROVE ST                                                                           MIDDLETOWN        OH   45044
SHANTA L KENDALL                2303 PRESCOTT AVE                                                                       SAGINAW           MI   48601‐3518
SHANTAE T THOMPSON              PO BOX 320171                                                                           FLINT             MI   48532‐0002
SHANTARAM EKHANDE               9105 BRADWAY BLVD                                                                       GRAND BLANC       MI   48439‐7309
SHANTE D TAYLOR                 1103 PINELANE RD                  APT 317G                                              COLUMBIA          SC   29223‐1992
SHANTE JOHNSON                  112 CHARLES LN                                                                          PONTIAC           MI   48341‐2927
SHANTE M ARMSTRONG              1906 REPUBLIC DRIVE                                                                     DAYTON            OH   45414‐3729
SHANTE RIDING                   13725 LOWELL AVE                                                                        GRANDVIEW         MO   64030‐3870
SHANTE' R POWDERS               769 HILLTOP ROAD                                                                        BEAVERCREEK       OH   45385‐9581
SHANTEAU, MATTHEW J             3333 NAPIER RD                                                                          YPSILANTI         MI   48198‐9435
SHANTEL DIPZINSKI               3020 GREENLY ST                                                                         FLINT             MI   48503‐5703
SHANTEL POWELL                  1151 BELRUE AVE                                                                         UNIVERSITY CITY   MO   63130‐2421
SHANTEL RUTH                    12100 N BRAY RD                                                                         CLIO              MI   48420‐9134
SHANTEL V POWELL                1151 BELRUE AVE                                                                         UNIVERSITY CITY   MO   63130‐2421
SHANTELE DENISE BROWN           112 STAR BLVD                                                                           MADISON           TN   37115
SHANTEZ HENDERSON               PO BOX 1519                                                                             WARREN            MI   48090‐1519
SHANTIL FULTON                  640 DELAWARE ST APT 204                                                                 DETROIT           MI   48202‐4401
SHANTINQ COLEMAN                1224 AMOS ST                                                                            PONTIAC           MI   48342‐1804
SHANTOU CITY CHENGHAI JINGWEI
INDUSTRIAL CO., LTD.
SHANTRICE MANN                  2906 FRANCISCAN DR APT 1725                                                             ARLINGTON         TX   76015‐2576
SHANTRY, DAISY                  6931 JAMES ST                                                                           CASEVILLE         MI   48725‐9539
SHANTRY, EDGAR G                6931 JAMES                                                                              CASEVILLE         MI   48725‐9539
SHANTRY, EDGAR G                6931 JAMES ST                                                                           CASEVILLE         MI   48725‐9539
SHANTZ CARTAGE INC              395 BAIRD ST                                                                            AKRON             OH   44311‐2445
SHANTZ SR, CRAIG D              54059 BIRCHFIELD DR W                                                                   SHELBY TWP        MI   48316‐1390
SHANTZ, JAMES E                 5911 MABLEY HILL RD                                                                     FENTON            MI   48430‐9418
SHANTZ, LINDA G                 9 SCOTTSDALE PL 5                                                                       DEARBORN          MI   48124
SHANTZ, MARY ANN                20650 CARLYSLE ST                                                                       DEARBORN          MI   48124‐3812
SHANTZ, RANDOLPH L              2359 S US HIGHWAY 17                                                                    CRESCENT CITY     FL   32112‐3933
SHANTZ, RICHARD L               937 4 MILE RD NE                                                                        GRAND RAPIDS      MI   49525‐2648
SHAO WEIYI                      255 S STONE FENCE RD                                                                    VERNON HILLS      IL   60061‐3129
SHAO‐CHAN SLOAN                 3516 N TULSA AVE                                                                        OKLAHOMA CITY     OK   73112‐3154
SHAOCHUN YE                     APT 3209                          30969 STONE RIDGE DRIVE                               WIXOM             MI   48393‐3875
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Name                               Address1                            Address2                  Address3   Address4               City                   State Zip
SHAOFEN YANG                       480 STEDFORD LANE                                                                               DULUTH                  GA 30097
SHAOHUA ZHANG                      6235 ORCHARD WOODS DR                                                                           WEST BLOOMFIELD         MI 48324‐3285
SHAOYAN YE                         1362 BURHAVEN DR                                                                                ROCHESTER HLS           MI 48306‐3706
SHAPACK MCCULLOUGH & KANTER PC     4190 TELEGRAPH RD STE 3000                                                                      BLOOMFIELD HILLS        MI 48302‐2082
SHAPARD JAMES                      3904 RESERVE LN                                                                                 JOLIET                   IL 60431‐4895
SHAPARDON, GEORGE S                2925 THOM ST                                                                                    FLINT                   MI 48506‐2455
SHAPARDON, GEORGE STEVEN           2925 THOM ST                                                                                    FLINT                   MI 48506‐2455
SHAPE                              RICK THOMPSON                       1900 HAYES ST                                               GRAND HAVEN             MI 49417‐8937
SHAPE CORP
SHAPE CORP                         1820 HAYES ST                                                                                   GRAND HAVEN            MI   49417‐9428
SHAPE CORP                         RICK THOMPSON                       1900 HAYES ST                                               GRAND HAVEN            MI   49417‐8937
SHAPE CORP                         ROSANNA BATKA                       1820 HAYES ST                                               GRAND HAVEN            MI   49417‐9428
SHAPE CORP                         ROSANNA BATKA                       1820 HAYES STREET                                           CADILLAC               MI
SHAPE CORP                         ROSANNA BATKA                       1835 HAYES STREET                                           STERLING HEIGHTS       MI   48310
SHAPE CORP                         ROSANNA BATKA                       1900 HAYES ROAD                                             CHELSEA                MI   48118
SHAPE CORP                         ROSANNA BATKA                       1900 HAYES ST                                               GRAND HAVEN            MI   49417‐8937
SHAPE CORP                         14600 172ND AVE                                                                                 GRAND HAVEN            MI   49417‐8904
SHAPE CORP                         1835 HAYES ST                                                                                   GRAND HAVEN            MI   49417‐9428
SHAPE CORP                         1900 HAYES ST                                                                                   GRAND HAVEN            MI   49417‐8937
SHAPE CORP.                        ATTN: BUDD BRINK                    1900 HAYES STREET                                           GRAND HAVEN            MI   49417
SHAPE CORPORATION                  ROSANNA BATKA                       1900 HAYES ST                                               GRAND HAVEN            MI   49417‐8937
SHAPE CORPORATION                  ROSANNA BATKA                       1900 HAYES ROAD                                             CHELSEA                MI   48118
SHAPE CORPORATION                  ROSANNA BATKA                       1820 HAYES ST                                               GRAND HAVEN            MI   49417‐9428
SHAPE CORPORATION                  ROSANNA BATKA                       1820 HAYES STREET                                           CADILLAC               MI
SHAPE CORPORATION                  ROSANNA BATKA                       1835 HAYES STREET                                           STERLING HEIGHTS       MI   48310
SHAPE‐MASTER TOOL CO               PO BOX 520                          801 W MAIN ST                                               KIRKLAND               IL   60146‐0520
SHAPE‐MASTER TOOL CO               801 W MAIN ST                                                                                   KIRKLAND               IL   60146
SHAPE/GRAND HAVEN                  1820 HAYES ST                                                                                   GRAND HAVEN            MI   49417‐9428
SHAPE/GRAND HAVEN                  1900 HAYES ST                                                                                   GRAND HAVEN            MI   49417‐8937
SHAPEGRABBER INC                   1900 CITY PARK DR STE 304                                                OTTAWA CANADA ON K1J
                                                                                                            1A3 CANADA
SHAPIRO EDNA                       1757 BROOKWOOD DR                                                                               AKRON                  OH   44313‐5057
SHAPIRO LESLIE                     407 S FAIRFAX AVE                                                                               LOS ANGELES            CA   90036‐3133
SHAPIRO MARK N                     34686 VALLEY FORGE DR                                                                           FARMINGTON HILLS       MI   48331‐3206
SHAPIRO MORRIS (463564)            DEARIE & ASSOCIATES JOHN C          515 MADISON AVE RM 1118                                     NEW YORK               NY   10022‐5456
SHAPIRO NEGOTIATIONS INSTITUTE     3600 CLIPPER MILL RD STE 401                                                                    BALTIMORE              MD   21211‐1956
SHAPIRO RONALD S                   SHAPIRO, RONALD S                   471 E BROAD ST STE 1200                                     COLUMBUS               OH   43215‐3806
SHAPIRO RONALD S                   STATE FARM MUTUAL AUTOMOBILE        471 E BROAD ST STE 1200                                     COLUMBUS               OH   43215‐3806
                                   INSURANCE COMPANY
SHAPIRO SHAPIRO & SHAPIRO CO LPA   4469 RENAISSANCE PKWY                                                                           WARRENSVILLE HEIGHTS   OH   44128‐5754
SHAPIRO, BORIS A                   396 FRENCH RD                                                                                   ROCHESTER              NY   14618‐4806
SHAPIRO, DAWN M                    6147 7 LAKES WEST                                                                               WEST END               NC   27376‐9320
SHAPIRO, DINA S                    40 CONCORD RD                                                                                   ARDSLEY                NY   10502‐1110
SHAPIRO, ETHEL J                   8617 RINGWOOD DR                                                                                COMMERCE TWP           MI   48382‐3472
SHAPIRO, GARY D                    3922 LA COLINA RD                                                                               SANTA BARBARA          CA   93110‐1505
SHAPIRO, M.D.                      1501 LINCOLN WAY                                                                                WHITE OAK              PA   15131
SHAPIRO, MARC O                    3806 W COUNTY ROAD A                                                                            JANESVILLE             WI   53548‐9003
SHAPIRO, MICHAEL R                 3638 AUTUMN TRAIL                                                                               WARSAW                 IN   46582‐6148
SHAPIRO, MORRIS                    DEARIE & ASSOCIATES JOHN C          515 MADISON AVE RM 1118                                     NEW YORK               NY   10022‐5456
SHAPIRO, PAUL W                    595 SHENANDOAH DR                                                                               CLAWSON                MI   48017‐1345
SHAPIRO, PHILIP M                  1392 N CASS LAKE RD                                                                             WATERFORD              MI   48328‐1316
SHAPIRO, ROBERT R                  165 GIBSON ST                                                                                   TONAWANDA              NY   14150‐3701
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Name                                     Address1                        Address2                  Address3   Address4         City        State Zip
SHAPIRO, RON                             ADDRESS NOT IN FILE
SHAPIRO, RONALD S                        ZEEHANDELAR, SABATINO & ASSOC   471 E BROAD ST STE 1200                               COLUMBUS    OH    43215‐3806
SHAPIRO, RUTH M                          1438 LODGEPOLE DRIVE                                                                  HENDERSON   NV    89014‐3022
SHAPLAND CHARLES                         2611 S NOTTINGHAM CT                                                                  CHAMPAIGN   IL    61821‐7014
SHAPLEIGH, GLORIA L                      1120 RIVER FOREST DR                                                                  SAGINAW     MI    48638‐5976
SHAPLEIGH, WILLIAM M                     530 SAINT ANDREWS RD UNIT 3                                                           SAGINAW     MI    48638‐5943
SHAPLEY LEON (453270)                    PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON     MS    39206‐5621
SHAPLEY LEON (453270) ‐ ABLES DANIEL     PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON     MS    39206‐5621

SHAPLEY LEON (453270) ‐ ACREMAN      PORTER & MALOUF PA                  4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621
EUGENE O
SHAPLEY LEON (453270) ‐ ADAMS EMMETT PORTER & MALOUF PA                  4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621

SHAPLEY LEON (453270) ‐ ADAMS GEORGE PORTER & MALOUF PA                  4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621

SHAPLEY LEON (453270) ‐ ALLEN JAMES   PORTER & MALOUF PA                 4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621
SHAPLEY LEON (453270) ‐ ANDERSON      PORTER & MALOUF PA                 4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621
MARY
SHAPLEY LEON (453270) ‐ ANDERSON RUBY PORTER & MALOUF PA                 4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621

SHAPLEY LEON (453270) ‐ ANDREWS JOHN PORTER & MALOUF PA                  4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621

SHAPLEY LEON (453270) ‐ ANDREWS       PORTER & MALOUF PA                 4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621
ROBERT
SHAPLEY LEON (453270) ‐ ARCHIE DONNIE PORTER & MALOUF PA                 4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621

SHAPLEY LEON (453270) ‐ ARNOLD DEXTER PORTER & MALOUF PA                 4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621

SHAPLEY LEON (453270) ‐ BAKER ABE        PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621
SHAPLEY LEON (453270) ‐ BALDWIN          PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621
JOHNNY
SHAPLEY LEON (453270) ‐ BALDWIN          PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621
ROBERT
SHAPLEY LEON (453270) ‐ BALLARD          PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621
EARNEST
SHAPLEY LEON (453270) ‐ BANKS RICHARD    PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621

SHAPLEY LEON (453270) ‐ BARNES WILEY     PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621

SHAPLEY LEON (453270) ‐ BARTON WILLIE    PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621

SHAPLEY LEON (453270) ‐ BASSON CHESTLY PORTER & MALOUF PA                4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621

SHAPLEY LEON (453270) ‐ BATTLE JAMES     PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621

SHAPLEY LEON (453270) ‐ BELL ANNIE       PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621
SHAPLEY LEON (453270) ‐ BELL EULA        PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621
SHAPLEY LEON (453270) ‐ BENNETT JESSIE   PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621

SHAPLEY LEON (453270) ‐ BENNETT          PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON     MS 39206‐5621
LUCILLE
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Name                                 Address1                        Address2            Address3         Address4         City      State Zip
SHAPLEY LEON (453270) ‐ BERRY THOMAS PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621

SHAPLEY LEON (453270) ‐ BLACKSTOCK      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
ROY
SHAPLEY LEON (453270) ‐ BLADES ROGER    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ BLAKELY         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
BERNARD
SHAPLEY LEON (453270) ‐ BLAKELY IRBY    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ BLAYLOCK        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
GLADYS
SHAPLEY LEON (453270) ‐ BONDS JOSEPH    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ BOONE BOBBY     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ BOUNDS          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
STEPHEN
SHAPLEY LEON (453270) ‐ BOYD ALFRED     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ BRADLEY WILLIE PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ BRAND CVESTER PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ BRANDON OTIS    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ BRASFIELD BILLY PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ BREITHAUPT    PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
WALTER
SHAPLEY LEON (453270) ‐ BREWER        PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
WEBBER
SHAPLEY LEON (453270) ‐ BRIGGS GERALD PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ BROWN           PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
DOUGLAS
SHAPLEY LEON (453270) ‐ BROWN EDDIE     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ BROWN           PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
HENDERSON
SHAPLEY LEON (453270) ‐ BROWN LAURA     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ BURRELL HARRY PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ BURTON          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
JUANITA
SHAPLEY LEON (453270) ‐ BUSH JOHN       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS   39206‐5621
SHAPLEY LEON (453270) ‐ BUTLER Q        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS   39206‐5621
SHAPLEY LEON (453270) ‐ BYRD JOHN       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS   39206‐5621
SHAPLEY LEON (453270) ‐ CARROLL JIMMY   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS   39206‐5621

SHAPLEY LEON (453270) ‐ CARSON LEE      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
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Name                                  Address1                       Address2            Address3         Address4         City      State Zip
SHAPLEY LEON (453270) ‐ CARSON OHYLER PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621

SHAPLEY LEON (453270) ‐ CAUSEY LLOYD    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ CESSNA ETHEL    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ CHAMBERS        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
CATHERINE
SHAPLEY LEON (453270) ‐ CHENEY LEE      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ CHILES EDWIN    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ CHOATE DORIS    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ CHRISTIAN       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
JAMES
SHAPLEY LEON (453270) ‐ CLAXTON         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
WILLIAM
SHAPLEY LEON (453270) ‐ CLIFTON EDDIE   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ COLBERT         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
GARLAND
SHAPLEY LEON (453270) ‐ COLE KENNETH    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ COLEMAN         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
PEGGY
SHAPLEY LEON (453270) ‐ COLLEY          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
CLIFFORD
SHAPLEY LEON (453270) ‐ COLLINS JERRY   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ CONN BARNEY     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ COOLEY EARLINE PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ COSBY ALEX      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ COWLEY          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
WILLIAM
SHAPLEY LEON (453270) ‐ CRAPE J T       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ CRAPE MINNIE    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ CRAWFORD       PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
JAMES
SHAPLEY LEON (453270) ‐ CROWLEY J      PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ CURRENCE LYDIA PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ CURRENCE     PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
MICHALE
SHAPLEY LEON (453270) ‐ DANCY MAGGIE PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ DANIELS JOHN    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ DAVIS JOHNNY    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
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Name                                 Address1                         Address2            Address3         Address4         City      State Zip
SHAPLEY LEON (453270) ‐ DAY NOBBY    PORTER & MALOUF PA               4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621
SHAPLEY LEON (453270) ‐ DEMENT JAMES PORTER & MALOUF PA               4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621

SHAPLEY LEON (453270) ‐ DENDY THOMAS PORTER & MALOUF PA               4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ DICKERSON        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
ELSON
SHAPLEY LEON (453270) ‐ DILLWORTH        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
JIMMY
SHAPLEY LEON (453270) ‐ DIXON HENRY      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ DIXON JAMES      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ DIXON WILLIE     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ DUNN MATHEW PORTER & MALOUF PA                4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ EALY ELONZO      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ EDMUNDSON        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
WALTER
SHAPLEY LEON (453270) ‐ EDWARDS BEN      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ ELDRIDGE WILLIE PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ ERB EDWARD       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ ETHRIDGE         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
EDWIN
SHAPLEY LEON (453270) ‐ EVANS JEAN       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ FARRIS           PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
MARGARETTE
SHAPLEY LEON (453270) ‐ FIELDS JUANITA   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ FLEMING BOBBY PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ FOSTER WILLIAM PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ FRANKLIN JESSIE PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ GARDNER        PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
ANDREW L
SHAPLEY LEON (453270) ‐ GARDNER JESSIE PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ GAVIN L.C.    PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ GIFFORD EDWIN PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ GILLESPIE     PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
EARLINE
SHAPLEY LEON (453270) ‐ GILMORE JAMES PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ GOINES ERNEST    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
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Name                                   Address1                     Address2            Address3         Address4         City      State Zip
SHAPLEY LEON (453270) ‐ GOINGS         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621
NEWTON
SHAPLEY LEON (453270) ‐ GONZALES       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
MOSES
SHAPLEY LEON (453270) ‐ GONZALEZ       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
ADAM
SHAPLEY LEON (453270) ‐ GORDON PEARL   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ GRAY JOE      PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ GRAY SAM      PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ GRAYER GEORGE PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ GREEN ALBERT   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ GREEN CHARLES PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ GREENHILL      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
COLIN
SHAPLEY LEON (453270) ‐ GREIF MARTIN   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ GRICE OSMAN    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ GRIFFIN EARL  PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ GRIFFITH      PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
EMMETT
SHAPLEY LEON (453270) ‐ GRISHAM JIMMY PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ GROVE PERRY    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HAIRSTON       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
ARTHUR
SHAPLEY LEON (453270) ‐ HALL JERRY     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS   39206‐5621
SHAPLEY LEON (453270) ‐ HALL LUCILLE   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS   39206‐5621
SHAPLEY LEON (453270) ‐ HALL RANDY     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS   39206‐5621
SHAPLEY LEON (453270) ‐ HAMILTON JIM   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS   39206‐5621

SHAPLEY LEON (453270) ‐ HANCOCK        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
MABLE
SHAPLEY LEON (453270) ‐ HANSFORD BILLY PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HANSON HIRAM PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HARALSON LEON PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HARBOR SHELBY PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HARDY          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
HAYWOOD
SHAPLEY LEON (453270) ‐ HARRIS AMMIE   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HARRIS JAMES   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
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Name                                    Address1                     Address2            Address3         Address4         City      State Zip
SHAPLEY LEON (453270) ‐ HARRIS JOHN     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621
SHAPLEY LEON (453270) ‐ HARRIS WILL     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621
SHAPLEY LEON (453270) ‐ HARRISON LILLIE PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621

SHAPLEY LEON (453270) ‐ HATHCOCK TOBY PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HAWKINS         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
JOHNNIE
SHAPLEY LEON (453270) ‐ HAWKINS         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
ROBERT
SHAPLEY LEON (453270) ‐ HAWKINS         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
UMBLE
SHAPLEY LEON (453270) ‐ HAYDEN MARY     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HERNANDEZ       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
ALVEZA
SHAPLEY LEON (453270) ‐ HESTER HARDY    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HESTER WILLIAM PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HEWITT JOHN     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HILL HENRY   PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ HOGAN THOMAS PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HOLIDAY MATTIE PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HOLLAND JOHN    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HOLLIDAY JOHN PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HOLMAN          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
THEODORE
SHAPLEY LEON (453270) ‐ HOLTON EDDIE    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HOOD HAROLD     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HOPKINS        PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
TOMMIE
SHAPLEY LEON (453270) ‐ HORN MARY      PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ HORTON PHILLIP PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HUGULEY RALPH PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ HUTSON          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
WENDELL
SHAPLEY LEON (453270) ‐ IVY GEORGE      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ JACKSON         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
GERALDINE
SHAPLEY LEON (453270) ‐ JACKSON HENRY   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
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Name                                    Address1                     Address2            Address3         Address4         City      State Zip
SHAPLEY LEON (453270) ‐ JACKSON NOEL    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621

SHAPLEY LEON (453270) ‐ JENKINS JOHN    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ JENKINS        PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
WILLIAM
SHAPLEY LEON (453270) ‐ JOHNSON DESSIE PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ JOHNSON FRANK PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ JONES MARY     PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ JONES NORVILLE PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ JONES NOTTON    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ JONES RUFUS     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ JONES TOMMY     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ JORDAN PERCY    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ JUDGE PETER    PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ KELLEY PRESTON PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ KILLEN EDWARD PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ KIRK CECIL    PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ KIRK JAMES    PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ KLEINMAN      PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
ALBERT
SHAPLEY LEON (453270) ‐ KOLB JOHN     PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ LANE MARSHALL PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ LANGFORD       PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
RAYMOND
SHAPLEY LEON (453270) ‐ LANIER CHARLES PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ LEE GEORGE     PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ LEFLORE JOHNNY PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ LEGGETT         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
CHARLES
SHAPLEY LEON (453270) ‐ LEWIS DEXTER    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ LIGGENS JIMMY PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ LINDLEY PAUL    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ LINLEY HARLIE   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ LODEN HUGH      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ LOTT TAYLOR     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ LOWE HENRY      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
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Name                                    Address1                     Address2            Address3         Address4         City      State Zip
SHAPLEY LEON (453270) ‐ LOWE ROBERT     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621

SHAPLEY LEON (453270) ‐ LOWE SYLVESTER PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ LUMBLEY EDWIN PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ LUMPKIN         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
HORACE
SHAPLEY LEON (453270) ‐ LYNN JAMES      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ MAHARREY        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
CURTIS
SHAPLEY LEON (453270) ‐ MARSHALL        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
JAMES
SHAPLEY LEON (453270) ‐ MARSHALL        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SELLOS
SHAPLEY LEON (453270) ‐ MARTIN WILLIE   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ MATLOCK BOBBY PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ MATTHEWS        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
GLENN
SHAPLEY LEON (453270) ‐ MAXEY ROBERT    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ MCCLAIN         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
GEORGE
SHAPLEY LEON (453270) ‐ MCCLAIN         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
KENNETH
SHAPLEY LEON (453270) ‐ MCCOMB          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
ROBERT
SHAPLEY LEON (453270) ‐ MCCOY DANIEL    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ MCCRAW JAMES PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ MCDANIEL SAM PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ MCDONALD      PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
WILLLIAM
SHAPLEY LEON (453270) ‐ MCGEE JOHN    PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ MCGONAGILL    PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
JAMES
SHAPLEY LEON (453270) ‐ MCKENZIE      PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
GERALD
SHAPLEY LEON (453270) ‐ MCMURTRY      PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
CLINTON
SHAPLEY LEON (453270) ‐ MILLER EDWARD PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ MILLER WILLIAM PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ MINOR EDWARD PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ MIRELES JOHN    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
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Name                                     Address1                     Address2            Address3         Address4         City      State Zip
SHAPLEY LEON (453270) ‐ MITCHEL FRED     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621

SHAPLEY LEON (453270) ‐ MONTGOMERY       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
WALTER
SHAPLEY LEON (453270) ‐ MOODY JOHN       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ MOORE EUGENE PORTER & MALOUF PA               4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ MOORE JESSIE     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ MOORE WILLIE     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ MOORIS LESLIE    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ MORROW           PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
CLARENCE
SHAPLEY LEON (453270) ‐ MUIRHEAD         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
GEORGE
SHAPLEY LEON (453270) ‐ MUNCHER          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
HAZEL
SHAPLEY LEON (453270) ‐ NAILOR JOE       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ NEAL JOHN        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ NICHOLS LARRY    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ NICHOLS LOUIS    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ NICHOLSON        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
JOHNNY
SHAPLEY LEON (453270) ‐ NORRIS JAMES     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ ODOM DON         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ ORMAN            PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
CHARLES
SHAPLEY LEON (453270) ‐ PARKER           PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
BEATRICE
SHAPLEY LEON (453270) ‐ PARSON RAY       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ PATTERSON        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
JAMES
SHAPLEY LEON (453270) ‐ PATTON           PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
JOHNNIE
SHAPLEY LEON (453270) ‐ PERKINS          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
CHARLES
SHAPLEY LEON (453270) ‐ PERKINS OLLIE    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ PERRY EULA       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ PERRY MIKE       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ PETTIES LITTLE   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ PETTY TOMMY      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ PITTMAN          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
HOWARD
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Name                                   Address1                       Address2            Address3         Address4         City      State Zip
SHAPLEY LEON (453270) ‐ PLAXICO ROBERT PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621

SHAPLEY LEON (453270) ‐ POIRIER JAMES    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ POLLARD ANNIE PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ POLLARD JAMES PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ PORTER ARLIS     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ POSLEY LEAMAN PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ POUNDS GUY       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ PRICE EVELYN     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ PRIMER J         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ PRUITT JIMMIE    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ PUCKETT PALL     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ PUCKETT          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
WANDA
SHAPLEY LEON (453270) ‐ PYLES H          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ RAGAN JAMES      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ RANKIN WILLIE    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ RANNER       PORTER & MALOUF PA               4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
DOROTHY
SHAPLEY LEON (453270) ‐ RANSOM HERSE PORTER & MALOUF PA               4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ RAY ROY       PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ REED MARY     PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ RICHARDS JOHN PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ RICKMAN VERNA PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ RILEY LEMORN     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ ROBERT           PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ ROBERTS JESSIE   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ ROBINSON         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
JOSEPH
SHAPLEY LEON (453270) ‐ ROBY RUTH        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ RODGERS          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHELLEY
SHAPLEY LEON (453270) ‐ ROGERS           PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
DOROTHY
SHAPLEY LEON (453270) ‐ ROPER JESSIE     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ ROSE THOMAS      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
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Name                                   Address1                     Address2            Address3         Address4         City      State Zip
SHAPLEY LEON (453270) ‐ ROSS HENRY     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621
SHAPLEY LEON (453270) ‐ ROYSTER        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621
COLUMBUS
SHAPLEY LEON (453270) ‐ RUSHCE CLIFTON PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ RUSHING DAVID PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ RUSSELL JOHNNY PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ RUTLEDGE      PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
HARRY
SHAPLEY LEON (453270) ‐ SANDERS JAMES PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ SCOTT RICHARD PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ SCOTT SAMUEL   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ SCRUGGS JIM    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ SEALS CLARDELL PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ SELVIE ELLA    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ SHANNON        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SANDERS
SHAPLEY LEON (453270) ‐ SHAW ARTHUR    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ SHELTON WILLIE PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ SHOOK THOMAS PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ SHOTWELL      PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
WALTER
SHAPLEY LEON (453270) ‐ SHY ROBERT    PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ SMITH CHALRES PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ SMITH EDWARD PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ SMITH PAUL     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ SNOW JERRY     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ SNOW TOMMY     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ SPENCER       PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
DWIGHT
SHAPLEY LEON (453270) ‐ SPIRES A. JR. PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ STANDIFER     PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
CHARLENE
SHAPLEY LEON (453270) ‐ STANFORD JOHN PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ STANFORD       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
LEOTIS
SHAPLEY LEON (453270) ‐ STATEN ALMA    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
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SHAPLEY LEON (453270) ‐ STATEN          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621
DURWARD
SHAPLEY LEON (453270) ‐ STATEN MAX      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ STATEN SILAS    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ STEELE JAMES    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ STEGALL       PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
CHARLIE
SHAPLEY LEON (453270) ‐ STEVENS       PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
WALTER
SHAPLEY LEON (453270) ‐ STEWART JAMES PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ STIFF WILLIAM   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ STINSON CLYDE   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ STONECIPHER   PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
LESTER
SHAPLEY LEON (453270) ‐ STRONG WALTER PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ SULLIVAN JAMES PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ SWEENEY         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
ROBERT
SHAPLEY LEON (453270) ‐ SWITCHER        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
AUTHER
SHAPLEY LEON (453270) ‐ SWOOPER         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
CHARLIE
SHAPLEY LEON (453270) ‐ TANNER          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
RAYFORD
SHAPLEY LEON (453270) ‐ TATE ANNIE      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ TATE OMEGA      PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ TEDDER SALLIE   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ THOMAS WILLIE PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ THOMPSON        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
BILLIE
SHAPLEY LEON (453270) ‐ THOMPSON        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
ROBERT
SHAPLEY LEON (453270) ‐ THOMPSON        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
WILLIE
SHAPLEY LEON (453270) ‐ TODD FREDDIE    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ TURMAN JOHN     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ TURNER CHARLIE PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ TURNER          PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
WILLIAM
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Name                                  Address1                      Address2            Address3         Address4         City      State Zip
SHAPLEY LEON (453270) ‐ VANCE LEONARD PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON    MS 39206‐5621

SHAPLEY LEON (453270) ‐ VAUGHN         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
JOHNNY
SHAPLEY LEON (453270) ‐ WAGUESPACK     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
RICHARD
SHAPLEY LEON (453270) ‐ WALES LOUIS    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ WALKER AMOS    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ WALKER I.C.   PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ WALTERS       PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
GEORGE
SHAPLEY LEON (453270) ‐ WARDLEY       PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
DONALD
SHAPLEY LEON (453270) ‐ WARTKINS JOHN PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ WATSON JAMES PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ WEST ARTHUR    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ WHITT JERRY    PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHAPLEY LEON (453270) ‐ WIGGINS        PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
ZENOBIA
SHAPLEY LEON (453270) ‐ WILDEE JAMES   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ WILLIAMS ANNIE PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ WILLIAMS       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
CLARENCE
SHAPLEY LEON (453270) ‐ WILLIAMS       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
JUANITA
SHAPLEY LEON (453270) ‐ WILLIAMS LEN   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ WILLIAMS       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
LONNIE
SHAPLEY LEON (453270) ‐ WILLIAMS OSSIE PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ WILLIAMS ROY   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ WILLIAMS RUTH PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621

SHAPLEY LEON (453270) ‐ WILLIAMS       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SAMUEL
SHAPLEY LEON (453270) ‐ WILLIAMS       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
SHIRLEY
SHAPLEY LEON (453270) ‐ WILLIAMS       PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
WILLIAM
SHAPLEY LEON (453270) ‐ WILSON         PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
CHARLES
SHAPLEY LEON (453270) ‐ WILSON FLOYD   PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON   MS 39206‐5621
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Name                                  Address1                        Address2            Address3         Address4         City               State Zip
SHAPLEY LEON (453270) ‐ WILSON GEORGE PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON             MS 39206‐5621

SHAPLEY LEON (453270) ‐ WILSON JAMES   PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621

SHAPLEY LEON (453270) ‐ WILSON         PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621
MARTHA
SHAPLEY LEON (453270) ‐ WILSON PERCY   PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621

SHAPLEY LEON (453270) ‐ WINCSLET       PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621
TOMMIE
SHAPLEY LEON (453270) ‐ WINDERS JOE    PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621

SHAPLEY LEON (453270) ‐ WINDFIELD      PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621
DOROTHY
SHAPLEY LEON (453270) ‐ WINTERS CARLEE PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621

SHAPLEY LEON (453270) ‐ WINTERS CURTIS PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621

SHAPLEY LEON (453270) ‐ WOODLAND      PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621
CHARLIE
SHAPLEY LEON (453270) ‐ WOODRUFF      PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621
CLARENCE
SHAPLEY LEON (453270) ‐ WRIGHT MARGIE PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621

SHAPLEY LEON (453270) ‐ WYATT JESSIE   PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621

SHAPLEY LEON (453270) ‐ YATES LLOYD    PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621
SHAPLEY LEON (453270) ‐ YOUNG ELLIS    PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621
SHAPLEY LEON (453270) ‐ YOUNG ERNEST   PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621

SHAPLEY, LEON                          PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON            MS   39206‐5621
SHAPLEY, ROBERT G                      7551 PORTLAND RD                                                                     SARANAC            MI   48881‐9783
SHAPOE, ALBERT                         6077 COTTONWOOD CT                                                                   CLARKSTON          MI   48346‐3188
SHAPOE, FRED                           PO BOX 162                                                                           HIGHLAND           MI   48357‐0162
SHAPOSKA, HARRY L                      2261 PINE RIDGE DR                                                                   WICKLIFFE          OH   44092‐1122
SHAPOSKA, JOHN                         2608 DEAN DR                                                                         WILMINGTON         DE   19808‐3316
SHAPOWALL, JOHN                        35588 ASHTON CT                                                                      CLINTON TOWNSHIP   MI   48035‐2174
SHAPPEE, KAREN                         6260 FORREST RD                                                                      BRIDGEPORT         MI   48722‐9510
SHAPPEE, MORLEY G                      6260 FOREST ST                                                                       BRIDGEPORT         MI   48722‐9510
SHAPPEE, THOMAS G                      3517 N GRAHAM RD                                                                     FREELAND           MI   48623‐9211
SHAPPELL, BRIAN R                      607 WELCH BLVD                                                                       FLINT              MI   48503‐5134
SHAPPELL, MARY A                       3562 W. JEFFERSON HWY                                                                GRAND LEDGE        MI   48837
SHAPPELL, RALPH B                      3562 JEFFERSON HWY                                                                   GRAND LEDGE        MI   48837‐9750
SHAPPIE, RUTH A                        STERLING HOUSE OF PIQUA        87 DRONFIELD RD                                       TROY               OH   45373
SHAPS RESTAURANT INC                   PO BOX 7205                                                                          FLINT              MI   48507‐0205
SHAPTER, GORDON R                      6405 LEGG RD                                                                         KINGSTON           MI   48741‐8702
SHAPURAS, ELEANOR J                    334 MOORE ST                                                                         WESTVILLE          IL   61883‐1212
SHAPURAS, ELEANOR J                    334 MOORE STREET                                                                     WESTVILLE          IL   61883
SHAPURAS, ROBERT                       520 OHIO AVE                                                                         WESTVILLE          IL   61883‐1742
SHAPURAS, STEVEN L                     9422 US HIGHWAY 50 W                                                                 MITCHELL           IN   47446‐5449
SHAQUANA DAVIS                         400 W HOPKINS AVE APT 204                                                            PONTIAC            MI   48340‐1773
SHAQUAY Y STRICKLAND                   1001 N BICKETT RD BOX #17                                                            WILBERFORCE        OH   45384
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Name                       Address1                          Address2                     Address3   Address4         City            State Zip
SHAR WELTER
SHAR, MICHAEL D            7356 FRAMPTON DR                                                                           WASHINGTON      MI    48095‐1276
SHARA FLUELLIN             6123 WATERTON WAY                                                                          LITHONIA        GA    30058‐3516
SHARA, GEORGE S            20405 SUSSEX DR                                                                            MACOMB          MI    48044‐6514
SHARA, ISSA C              32744 KATHLEEN DR                                                                          NEW BALTIMORE   MI    48047‐2744
SHARA, ISSA CHRISTOPHER    32744 KATHLEEN DR                                                                          CHESTERFIELD    MI    48047‐2744
SHARAD STUMP               7783 FOSTER RD                                                                             CLARKSTON       MI    48346‐1942
SHARAFIAN, EDWARD R        209 LIVE OAK DRIVE                                                                         ATWATER         CA    95301‐2276
SHARAK, EUGENE T           PO BOX 646                                                                                 WESSON          MS    39191‐0646
SHARAK, JAMES              707 E SANTA PAULA ST                                                                       SANTA PAULA     CA    93060‐2063
SHARAK, LEONA M            3289 RANDOLPH NW                                                                           WARREN          OH    44485‐2527
SHARAK, LEONA M            3289 RANDOLPH ST NW                                                                        WARREN          OH    44485‐2527
SHARAKO, FRED D            6429 MOUNT MARIA RD                                                                        HUBBARD LAKE    MI    49747‐9688
SHARAKO, KATIE C           5378 MOUNT MARIA RD                                                                        HUBBARD LAKE    MI    49747‐9409
SHARAKO, KATIE C           5378 MT MARIA RD                                                                           HUBBARD LAKE    MI    49747‐9409
SHARALYN GRIMSLEY          2809 DEVON ST                                                                              PARAGOULD       AR    72450‐2241
SHARAN KALWANI             1142 TERRA CT                                                                              ROCHESTER       MI    48306‐4816
SHARAN SINGH               DAVILA, ISABEL T                  1950 SAWTELLE BLVD STE 245                               LOS ANGELES     CA    90025‐7017
SHARAN SINGH               SHARAN, SINGH                     1950 SAWTELLE BLVD STE 245                               LOS ANGELES     CA    90025‐7017
SHARANJIT SINGH            PO BOX 9022                       C/O GM INDIA                                             WARREN          MI    48090‐9022
SHARAR, BILLY D            31 ROBINWOOD DR                                                                            BROWNSBURG      IN    46112‐1941
SHARAR, DONALD             4891 LEASIDE DR                                                                            SAGINAW         MI    48603‐2954
SHARAR, JAMES N            5163 COTTRELL RD                                                                           VASSAR          MI    48768‐9499
SHARAR, JANICE             31 ROBINWOOD DR                                                                            BROWNSBURG      IN    46112‐1941
SHARBER, JERRY
SHARBER, RYAN D            2171 SEYMOUR LAKE RD                                                                       ORTONVILLE       MI   48462‐9122
SHARBER, RYAN DEVINE       2171 SEYMOUR LAKE RD                                                                       ORTONVILLE       MI   48462‐9122
SHARBERNEE L BROWN         640 DELAWARE ST APT 404                                                                    DETROIT          MI   48202‐4406
SHARBONO, TERRI J          206 GRAYSON ST                                                                             WEST MONROE      LA   71292‐6232
SHARDA, MARTIN             2563 SCARLET OAK DR SE                                                                     GRAND RAPIDS     MI   49512‐9137
SHARDAN SANDOVAL
SHARE, GLENNA I            APT E111                          1 COUNTRY LANE                                           BROOKVILLE      OH    45309‐8257
SHARE, GLENNA I            1 COUNTRY LN APT E111                                                                      BROOKVILLE      OH    45309‐8257
SHARE, JAMES A             703 E 7TH AVE                                                                              BRODHEAD        WI    53520‐1257
SHARED MRI FACILITY,       PO BOX 44719                                                                               MADISON         WI    53744‐4719
SHARED TECHNOLOGIES INC.   LYNN THORPE                       1405 S BELTLINE RD                                       COPPELL         TX    75019
SHARED TECHNOLOGY          1405 S BELTLINE RD                                                                         COPPELL         TX    75019
SHAREE GARY                10 CHANDLER TRCE                                                                           COVINGTON       GA    30016‐0953
SHAREESE SCOTT             390 W WINDSOR CIR                                                                          BOWLING GREEN   KY    42101‐7340
SHAREF, HAITAMA            9277 BIG LAKE RD.                                                                          CLARKSTON       MI    48346‐1051
SHAREHOLDER DOT COM        ACCOUNTS RECEIVABLE               12 CLOCK TOWER PLACE                                     MAYNARD         MA    01754
SHAREHOLDER.COM            12 CLOCK TOWER PLACE                                                                       MAYNARD         MA    01754
SHAREK, EDWIN S            220 ONEIDA ST                                                                              LEWISTON        NY    14092‐1220
SHAREL L JOHNSON           640 DELAWARE ST APT 315                                                                    DETROIT         MI    48202‐4405
SHARELL BENTLEY            4041 OAKRIDGE DR                                                                           HARRISON        MI    48625‐9017
SHARELL MARTIN             7033 CEDAR LAKE RD                                                                         PINCKNEY        MI    48169‐8823
SHARELL S FORD             4038 KLEPINGER RD                                                                          DAYTON          OH    45416‐2139
SHARELL SAGEN              210 MOWE ST                       PO BOX 394                                               ORFORDVILLE     WI    53576‐9424
SHAREN ANDREWS             276 GEORGIA DR                                                                             LAPEER          MI    48446‐2754
SHAREN BROWN               2723 LEXINGTON CT                                                                          TRENTON         MI    48183‐4130
SHAREN ROESER              469 FRANCONIAN DR E                                                                        FRANKENMUTH     MI    48734‐1001
SHAREN WINTER              2527 PINE DR                                                                               WIXOM           MI    48393‐4537
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Name                    Address1                       Address2            Address3         Address4         City              State Zip
SHARENA GREGORY         49855 UPTOWN AVE UNIT 206                                                            CANTON             MI 48187‐5929
SHARESA LYNN DILLHOFF   1681 TIAMO LANE                                                                      W ALEXANDRIA       OH 45381
SHARESE WILLIAMS        6069 FOUNTAIN POINTE APT 7                                                           GRAND BLANC        MI 48439‐7610
SHARETHA N SMITH        PO BOX 320157                                                                        FLINT              MI 48532‐0003
SHARETTE, JERRY M       1266 WELLS RD                                                                        ALLEGAN            MI 49010‐9043
SHARF, SEMYON           2036 HYTHE BLDG. B                                                                   BOCA RATON         FL 33434
SHARFNER, RICHARD L     17868 MCDOUGALL ST                                                                   DETROIT            MI 48212‐1040
SHARGABIAN, KARL S      3124 KENWOOD DR                                                                      ROCHESTER HILLS    MI 48309‐2753
SHARGABIAN, SANDRA      3124 KENWOOD DR                                                                      ROCHESTER HILLS    MI 48309‐2753
SHARI ANDERSON‐FOX      5251 ROBERTS DR                                                                      FLINT              MI 48506‐1553
SHARI B CHESTNUT        1951 MALCOM DR                                                                       DAYTON             OH 45420
SHARI BEAUCHAMP         69200 WOLCOTT RD                                                                     ARMADA             MI 48005‐4140
SHARI C HUGHES          9481 W MIDNIGHT DR                                                                   PENDLETON          IN 46064‐7522
SHARI C KAREL           PO BOX 591                                                                           OAKS               PA 19456
SHARI DELOGE            5044 SUNSET DR                                                                       COLUMBIAVILLE      MI 48421‐8922
SHARI DOTSON            23556 ROAD H                                                                         CONTINENTAL        OH 45831‐8933
SHARI E BEAM            5130 BROCKPORT ROAD                                                                  SPENCERPORT        NY 14559‐9524
SHARI FREEMAN           1143 MULBERRY DR                                                                     TRAVERSE CITY      MI 49684‐5064
SHARI GLEICHER          PO BOX 20356                                                                         OAKLAND            CA 94620
SHARI HAYWOOD           2928 GAMMA LN                                                                        FLINT              MI 48506‐1834
SHARI HUGHES            9481 W MIDNIGHT DR                                                                   PENDLETON          IN 46064‐7522
SHARI KEITH             15114 TOCCOA CT                                                                      GAINESVILLE        VA 20155‐4880
SHARI KENDRICK          553 PHANTOM RIDER TRAIL                                                              SPRING BRANCH      TX 78070
SHARI KISSANE           12435 MADONNA DR                                                                     LANSING            MI 48917‐8617
SHARI L AMROU           1625 PRIMROSE AVE                                                                    TOLEDO             OH 43612‐4061
SHARI L ARMSTRONG       1857 TWIN LAKE DR                                                                    BEDFORD            VA 24523
SHARI L ROUTH           4125 WILLOW GLEN DR APT B                                                            BEECH GROVE        IN 46107‐2839
SHARI LAMANNA           605 YOUNG AVE                                                                        SYRACUSE           NY 13211‐1758
SHARI MARDLIN           4137 N LAPEER RD                                                                     LAPEER             MI 48446‐8748
SHARI MEGHREBLIAN       193 POLK PLACE DR                                                                    FRANKLIN           TN 37064‐5736
SHARI MILLER            1806 W MCCLELLAN ST                                                                  FLINT              MI 48504‐2511
SHARI NICKERSON         403 QUAIL MEADOWS LN                                                                 ARLINGTON          TX 76002‐3475
SHARI PETE              200 E SOUTH AVE                                                                      BELOIT             WI 53511‐1543
SHARI PITTS             1337 S CHIPMAN ST                                                                    OWOSSO             MI 48867‐4162
SHARI R STEINBECK       247 PLEASANT PARK CT N.W                                                             WARREN             OH 44481‐9442
SHARI RACH              1811 S HAWTHORNE PARK DR                                                             JANESVILLE         WI 53545‐2034
SHARI ROBERTSON         211 W CROSS ST                                                                       ANDERSON           IN 46012‐1627
SHARI ROUTH             4125 WILLOW GLEN DR APT B                                                            BEECH GROVE        IN 46107‐2839
SHARI ROWLAND           906 LOGGERS CIR                                                                      ROCHESTER          MI 48307‐6026
SHARI SPENCE            3167 ATLAS RD                                                                        DAVISON            MI 48423‐8606
SHARI STEINBECK         247 PLEASANT PARK CT NW                                                              WARREN             OH 44481‐9442
SHARI T ANDERSON        5251 ROBERTS DR                                                                      FLINT              MI 48506‐1553
SHARI T ANDERSON‐FOX    5251 ROBERTS DR                                                                      FLINT              MI 48506‐1553
SHARI WILBOURN          3880 RICHFIELD RD                                                                    FLINT              MI 48506
SHARI WILLIAMS          11328 MIRAMAR CV                                                                     ROANOKE            IN 46783‐8799
SHARI‐LYN OBERDORF      13351 NEAL RD                                                                        DAVISBURG          MI 48350‐3301
SHARIAR                 PO BOX 536                                                                           MOUNT VERNON       NY 10552‐0536
SHARIATI, MOHAMMAD A    UNIT 114                       13754 MANGO DRIVE                                     DEL MAR            CA 92014‐3433
SHARICK, JAMES K        5037 SUNNYSIDE DR NW                                                                 WARREN             OH 44483‐1545
SHARICK, JIM A          936 ELYWOOD DR                                                                       ELYRIA             OH 44035‐3601
SHARICK, JOHN J         3972 TYRELL RD                                                                       OWOSSO             MI 48867‐9281
SHARICK, JOHN JACOB     3972 TYRELL RD                                                                       OWOSSO             MI 48867‐9281
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Name                          Address1                         Address2                 Address3   Address4            City                State Zip
SHARICK, RAYMOND M            18820 CHAMBERLAIN RD                                                                     GRAFTON              OH 44044‐9630
SHARICK, VERNON L             802 W PARK ST                                                                            SAINT JOHNS          MI 48879‐1762
SHARIDA ROSARIS               59 SEWARD ST APT 622                                                                     DETROIT              MI 48202‐2431
SHARIE H MOHAN                3410 SELKIRK BUSH RD SW                                                                  WARREN               OH 44481‐9720
SHARIE MOHAN                  3410 SELKIRK BUSH RD SW                                                                  WARREN               OH 44481‐9720
SHARIE, DOROTHY               1611 CHICAGO AVE APT 506         NORTH SHORE RETIREMENT                                  EVANSTON              IL 60201‐4534
SHARIF AALIYAH                SHARIF, AALIYAH                  195 REBEL HILL ROAD                                     WEST CONSHOHOCKEN    PA 19428‐2562
SHARIF AHMED                  1811 CENTRAL ST                                                                          DETROIT              MI 48209‐1831
SHARIF AHMED                  7293 WHITTAKER ST                                                                        DETROIT              MI 48209‐1526
SHARIF REID                   107 ROYAL CT                                                                             SOMERSET             NJ 08873
SHARIF, AALIYAH               195 REBEL HILL RD                                                                        WEST CONSHOHOCKEN    PA 19428‐2562
SHARIF, LISA E                6521 POST OAK DR                                                                         WEST BLOOMFIELD      MI 48322‐3831
SHARIF, SHAHID B              1441 RACCOON DR NE                                                                       WARREN               OH 44484‐1431
SHARIF, YOUSEF H              15107 PINEHURST LANE                                                                     GRAND BLANC          MI 48439‐2641
SHARIF‐BAKHTIAR MEHRNAM       PO BOX 4120                                                                              PORTLAND             OR 97208‐4120
SHARIF‐BAKHTIAR, MEHRNAM      PO BOX 4120                                                                              PORTLAND             OR 41204‐5929
SHARIF‐BAKHTIAR, MEHRNAM      5418 YONGE ST                    APT# PH01                           TORONTO ON CANADA
                                                                                                   M2N6X4
SHARIFF, RASHE'D D            PO BOX 19623                                                                             SHREVEPORT          LA   71149‐0623
SHARIFF, SHERRY A.            1615 PEBBLE BEACH DR                                                                     PONTIAC             MI   48340‐1372
SHARIKA HENDRIX               2001 N CENTER RD APT 226                                                                 FLINT               MI   48506‐3166
SHARILYNN WILLETTE            5225 N ELMS RD                                                                           FLUSHING            MI   48433‐9063
SHARIN E ALEXANDER            5356 WYNNDYKE RD                                                                         JACKSON             MS   39209
SHARINE L CUZ                 1057 DOWAGIAC AVE                                                                        MOUNT MORRIS        MI   48458‐2513
SHARION HUCK                  PO BOX 267                                                                               COLUMBIA CITY       OR   97018‐0267
SHARIS T DAVIS                PO BOX 320541                                                                            FLINT               MI   48532‐0010
SHARISKY, MARTIN W            2366 BREEZEWOOD DR                                                                       YOUNGSTOWN          OH   44515‐5105
SHARITA HERRING               29 DURR TRAIL                                                                            PRENTISS            MS   39474
SHARITA R WEBB‐ROGERS         666 W BETHUNE ST APT 503                                                                 DETROIT             MI   48202‐2744
SHARK'S SERVICE CENTER        616A MARKET ST                                                                           BRIDGEVILLE         DE   19933
SHARK, TERRY W                6715 SHATTUCK RD                                                                         SAGINAW             MI   48603‐2620
SHARKEY JOHN                  2605 EASTWOOD DR                                                                         SANDUSKY            OH   44870‐5665
SHARKEY JR, CARLETON F        G3500 CLAIRMONT ST                                                                       FLINT               MI   48532‐4910
SHARKEY JR, FAY L             540 VILLAGE PL APT 304                                                                   LONGWOOD            FL   32779‐5979
SHARKEY THERESA               25937 VIANA AVE APT 14                                                                   LOMITA              CA   90717‐2837
SHARKEY TRANSPORTATION INC    PO BOX 3156                                                                              QUINCY              IL   62305‐3156
SHARKEY'S WEST SIDE SERVICE   820 W NOEL AVE                                                                           MADISONVILLE        KY   42431‐1136
SHARKEY, BENEDICT J           860 N MCQUEEN RD UNIT 1020                                                               CHANDLER            AZ   85225‐3998
SHARKEY, BERNARD              1201 E MAPLE ST                                                                          GLENDALE            CA   91205‐2603
SHARKEY, CAROL                TRLR 100                         1302 GIBSON ROAD                                        BENSALEM            PA   19020‐7416
SHARKEY, CAROL                1302 GIBSON RD TRLR 100G                                                                 BENSALEM            PA   19020‐7417
SHARKEY, CHARLES M            54 BARNSBORO RD                                                                          PARSIPPANY          NJ   07054‐2611
SHARKEY, CHERI L              MCPHILLIPS FITZGERALD & CULLUM   288 GLEN ST                                             GLENS FALLS         NY   12801‐3501
SHARKEY, DALE E               3552 MACK RD                                                                             SAGINAW             MI   48601‐7113
SHARKEY, DONALD L             212 SUNVIEW DR                                                                           SAINT CHARLES       MI   48655‐1014
SHARKEY, GERALD N             10020 OAK RD                                                                             MILLINGTON          MI   48746‐9334
SHARKEY, HARRIET              1454 DUNLAP NW                                                                           GRAND RAPIDS        MI   49504‐2765
SHARKEY, JAMES                5614 OAK VALLEY RD                                                                       KETTERING           OH   45440‐5440
SHARKEY, JOHN C               1800 SPRING BEAUTY DR                                                                    AVON                IN   46123‐8644
SHARKEY, JOHN J               7700 DEVAUL RD TRLR 101                                                                  KIRKVILLE           NY   13082‐9202
SHARKEY, JOSEPH P             403 BIRDSONG DR                                                                          VANDALIA            OH   45377
SHARKEY, JUNE MARGARET        1309 SCOTTSDALE DR UNIT G                                                                BEL AIR             MD   21015‐4991
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SHARKEY, JUNE MARGARET              1309 SCOTTSDALE DRIVE          UNIT G                                                              BELAIR              MD 21015
SHARKEY, KATHLEEN A                 322 NEWPORT RD                                                                                     WEST BRISTOL        PA 19007‐3007
SHARKEY, KEVIN M                    7441 OAK FOREST DR                                                                                 CLARKSTON           MI 48346‐1338
SHARKEY, LAWRENCE D                 370 KING ARTHUR DR                                                                                 FRANKLIN            IN 46131‐9063
SHARKEY, LINDA L                    6195 ROBERTS RD                                                                                    MECOSTA             MI 49332‐9667
SHARKEY, MICHAEL C                  44134 MICHIGAN AVE                                                                                 CANTON              MI 48188‐2521
SHARKEY, RICHARD J                  4519 WILDERNESS TRL                                                                                GRAYLING            MI 49738
SHARKEY, RUSSELL A                  PO BOX 80214                                                                                       LANSING             MI 48908‐0214
SHARKEY, SAUNDRA C                  10020 OAK RD                                                                                       MILLINGTON          MI 48746‐9334
SHARKEY, SCOTT W                    1826 NIGHTINGALE                                                                                   HOLT                MI 48842‐8696
SHARKEY, STEVEN A                   7379 JANEAN DR                                                                                     BROWNSBURG          IN 46112‐8589
SHARKEY, WILLIAM J                  11023 ROYALTON RD                                                                                  N ROYALTON          OH 44133‐4414
SHARKO, RONALD J                    5156 BROWN RD                                                                                      MILLINGTON          MI 48746‐9422
SHARKUS, JOHN M                     99 N ROCKY RIVER DR                                                                                BEREA               OH 44017‐1844
SHARKUS, REMONA G                   9525 TOBINE ST                                                                                     ROMULUS             MI 48174‐3366
SHARLA DANNELLEY                    11861 MARTHA ANN DR                                                                                ROSSMOOR            CA 90720‐4422
SHARLA E POWERS                     2052 PRINCETON RD                                                                                  HAMILTON            OH 45011
SHARLA M FLORA                      1916 PENNSYLVANIA DRIVE                                                                            XENIA               OH 45385‐4538
SHARLAND, LEWIS E                   9254 GALE RD                                                                                       GOODRICH            MI 48438‐9479
SHARLAND, ROBERT J                  246 ELM ST                                                                                         MALONE              NY 12953‐1513
SHARLAND, ROBERT JERRY              246 ELM ST                                                                                         MALONE              NY 12953‐1513
SHARLEEN DOW                        4459 HILLSIDE ST                                                                                   GLADWIN             MI 48624‐8733
SHARLEEN GLADYS CRAIG               ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD    PO BOX 521         EAST ALTON           IL 62024
                                                                   ANGELIDES & BARNERD LLC
SHARLEEN MOORE‐JOHNSON              35391 FARRAGUT ST                                                                                  WESTLAND           MI   48186‐4207
SHARLEEN SMITH                      2151 MELLWOOD AVE                                                                                  TOLEDO             OH   43613‐3554
SHARLEEN SMOOT                      441 E 90 N                                                                                         OREM               UT   84097‐5610
SHARLEEN STEVENS                    1852 US 27 SOUTH               LOT D 24                                                            AVON PARK          FL   33825
SHARLENE A VICKERY                  7500 E MCCORMICK PKWY #79                                                                          SCOTTSDALE         AZ   85258
SHARLENE ADAMS                      1529 W 26TH ST                                                                                     INDIANAPOLIS       IN   46208‐5223
SHARLENE BACON                      909 NORTH SYCAMORE STREET                                                                          LANSING            MI   48906‐5060
SHARLENE BROWN                      4359 FENTON RD                                                                                     BURTON             MI   48529
SHARLENE CHRISTENBERRY              5542 STATE ROAD 58 E                                                                               HELTONVILLE        IN   47436‐8695
SHARLENE CORNETT                    904 W MANOR DR                                                                                     MARION             IN   46952‐1940
SHARLENE HAMIEL                     833 STATE ROUTE 503 S                                                                              WEST ALEXANDRIA    OH   45381‐9534
SHARLENE HILLER                     295 TOWNSHIP ROAD 1600 # 1                                                                         JEROMESVILLE       OH   44840
SHARLENE KELLEY                     401 WASHINGTON ST APT A2                                                                           BALDWIN            MI   49304‐9512
SHARLENE KRAUSE                     1110 TRICK AVE                                                                                     FORT WAYNE         IN   46808‐1535
SHARLENE L COMPTON PERSONAL         SHARLENE L COMPTON             C/O BRAYTON PURCELL        222 RUSH LANDING RD                      NOVATO             CA   94948‐6169
REPRESENTATIVE FOR MARK A COMPTON

SHARLENE LARSON                     PO BOX 5474                                                                                        SAGINAW            MI   48603‐0474
SHARLENE M MCGRATH                  719 MATTY AVE                                                                                      SYRACUSE           NY   13211‐1309
SHARLENE MARWEDE                    2839 OAK TRAIL DR                                                                                  STERLING HEIGHTS   MI   48314‐3881
SHARLENE MORELAND                   2606 13TH ST                                                                                       EMMETSBURG         IA   50536‐1737
SHARLENE NELSON                     2304 MARSTON DR                                                                                    WATERFORD          MI   48327‐1144
SHARLENE OSBORN                     17763 SUMMIT ST                                                                                    BARRYTON           MI   49305‐9573
SHARLENE PRATHER                    148 REAVES AVE                                                                                     INTERLACHEN        FL   32148
SHARLENE RICHMOND                   5205 DEWEY ST                                                                                      WICHITA FALLS      TX   76306‐1337
SHARLENE RINGLEIN                   7331 CHAIN LAKE DR                                                                                 SOUTH BRANCH       MI   48761‐9601
SHARLENE ROBINS                     526 N LAKE ST LOT 73                                                                               BOYNE CITY         MI   49712‐1158
SHARLENE ROYSTON                    9745 VALLEY HWY                                                                                    VERMONTVILLE       MI   49096‐9509
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Name                               Address1                         Address2                        Address3              Address4                City               State Zip
SHARLENE RUFFIN                    1626 INVERNESS AVE                                                                                             LANSING             MI 48915‐1241
SHARLENE SHAD                      74333 IRISH RIDGE RD                                                                                           KIMBOLTON           OH 43749‐9106
SHARLENE SPIEGEL                   1746 W ORANGEWOOD PL                                                                                           AVON PARK           FL 33825‐7700
SHARLENE TRUEMAN                   749 BERTINA LN                                                                                                 TRAVERSE CITY       MI 49686‐8644
SHARLENE TRUSEL                    3309 GLENDALE ST                                                                                               DETROIT             MI 48238‐3351
SHARLENE VICKERY                   527 E BLUFF DR 79                                                                                              HARBOR SPRINGS      MI 49740
SHARLENE WHITE                     2180 N HUBBARD LAKE RD                                                                                         LINCOLN             MI 48742‐9208
SHARLENE WOZNIAK                   7402 E ROBERTSON RD                                                                                            TRAFALGAR           IN 46181‐9410
SHARLET ELLSWORTH                  2356 PRICE DR                                                                                                  ANDERSON            IN 46012‐9270
SHARLETTE KATE                     150 PARISH LN APT 313                                                                                          ROANOKE             TX 76262‐6666
SHARLEY J PORTER                   860 ELEANOR AVE.                                                                                               DELTONA             FL 32725‐7113
SHARLEY PORTER                     860 ELEANOR AVE                                                                                                DELTONA             FL 32725‐7113
SHARLIE A STUBBS                   2677 REXFORD RD                                                                                                YOUNGSTOWN          OH 44511‐2129
SHARLIE STUBBS                     2677 REXFORD RD                                                                                                YOUNGSTOWN          OH 44511‐2129
SHARLIMAR BROWN                    1528 W 8TH ST                                                                                                  ANDERSON            IN 46016‐2633
SHARLINE DAVIS‐ARCE PERSONAL       SHARLINE DAVIS                   C/O BRAYTON PURCELL             222 RUSH LANDING RD                           NOVATO              CA 94948‐6169
REPRESENTATIVE FOR BOBBY L DAVIS
SHARLON J REED                     2655 DUNSTAN DR NW                                                                                             WARREN             OH   44485
SHARLOT RICE                       305 JACKSON AVE                                                                                                PERU               IN   46970‐1120
SHARLOTTE D SEACATT                628 CARTHAGE DR                                                                                                BEAVERCREEK        OH   45434
SHARLOW JR, WILLIAM K              8559 STATE HIGHWAY 56                                                                                          NORFOLK            NY   13667‐3295
SHARLOW WILLIAM                    8559 STATE HIGHWAY 56                                                                                          NORFOLK            NY   13667‐3295
SHARLYN F BUGGS                    155 JEFFERSON ST                                                                                               YOUNGSTOWN         OH   44510
SHARLYN SMITH                      2000 CLIFF ALEX CT S UNIT A                                                                                    WAUKESHA           WI   53189‐2104
SHARLYNE D SKAROSI                 7354 DRAKE‐STATELINE, NE                                                                                       BURGHILL           OH   44404‐9718
SHARLYNE SKAROSI                   7354 DRAKE STATELINE RD NE                                                                                     BURGHILL           OH   44404‐9718
SHARMA ANSHUMAN                    52 CABOT AVENUE                                                                                                SANTA CLARA        CA   95051‐6665
SHARMA LALIT                       1631 BAYBERRY PARK CIR                                                                                         CANTON             MI   48188‐5248
SHARMA SAMIN                       20 CASTLE WALK                                                                                                 SCARSDALE          NY   10583‐3221
SHARMA VINOD                       DEPT OF ELECTRICAL COMM ENGR     INDIAN INSTUTE SCIENCE 560012                         BANGALORE INDIA INDIA
SHARMA, AJIT                       2121 CUMBERLAND RD                                                                                             ROCHESTER HLS      MI   48307‐3706
SHARMA, AJOY                       RM 3‐220 GM BLDG                 GM KOREA                                                                      DETROIT            MI   48202
SHARMA, AMIT                       1446 HARTLAND DR                                                                                               TROY               MI   48083‐5455
SHARMA, ARUN G                     14282 PALISADES DR                                                                                             POWAY              CA   92064‐6443
SHARMA, GAURAV                     253 CANDACE CT                                                                                                 TROY               MI   48098‐7100
SHARMA, HEERALAL                   2021 BEECHER ST                                                                                                ORLANDO            FL   32808‐5540
SHARMA, LALIT R                    1631 BAYBERRY PARK CIR                                                                                         CANTON             MI   48188‐5248
SHARMA, NEERU                      4150 PAISLEY                                                                                                   STERLING HEIGHTS   MI   48314‐1985
SHARMA, RAJIVA                     7901 STONERIDGE DR STE 390                                                                                     PLEASANTON         CA   94588
SHARMA, RAM A                      2951 HOMEWOOD DR                                                                                               TROY               MI   48098‐2389
SHARMA, RANJINI R                  2681 SANTIA CT                                                                                                 TROY               MI   48085‐3988
SHARMA, RAVI D                     13504 DERRY GLEN CT APT 203                                                                                    GERMANTOWN         MD   20874‐4627
SHARMA, RAVI D                     TOWER 100 RIVERFRONT DR          APT 1709                                                                      DETROIT            MI   48226
SHARMA, SAKSHI                     984 ECKFORD DRIVE                                                                                              TROY               MI   48085‐4859
SHARMA, SEETA D                    96 TIMBERHILL DR                                                                                               FRANKLIN PARK      NJ   08823
SHARMA, SHOBHIT S                  3511 PIPERS GLEN DR                                                                                            STERLING HEIGHTS   MI   48310‐1786
SHARMA, SUDHA                      267 WHITE OAK LN                                                                                               GRAND ISLAND       NY   14072‐3322
SHARMA, VISHNUPRIYA                6622 NW 70TH PL                                                                                                PARKLAND           FL   33067‐4722
SHARMAINE WELLONS                  22520 DOVER HL APT 204                                                                                         FARMINGTON HILLS   MI   48335‐3963
SHARMAN DOTTS                      3760 W 104TH ST                                                                                                CLEVELAND          OH   44111‐3819
SHARMAN, MARCELLA M.               5844 WEST ST                                                                                                   SANBORN            NY   14132‐9243
SHARMANE BICE                      8926 S DURAND RD                                                                                               DURAND             MI   48429‐9469
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Name                                  Address1                         Address2                        Address3              Address4         City            State Zip
SHARMAR ABERNATHY                     3342 HAMPSHIRE AVE                                                                                      FLINT            MI 48504‐1268
SHARMAR R ABERNATHY                   3342 HAMPSHIRE AVE                                                                                      FLINT            MI 48504‐1268
SHARMIANE DIXON                       5720 DEERING ST                                                                                         GARDEN CITY      MI 48135‐2903
SHARMIANE DIXON                       APT 2116                         1803 BLUE DANUBE STREET                                                ARLINGTON        TX 76015‐3321
SHARMON WILKINSON                     64 RUE GRAND DR                                                                                         LAKE ST LOUIS    MO 63367‐1717
SHARNOWSKI, DAVID J                   5300 S ELMS RD                                                                                          SWARTZ CREEK     MI 48473‐1627
SHARNOWSKI, LAWRENCE S                5538 HARTLEIN DR                                                                                        WARREN           MI 48092‐3149
SHARNSKY GEORGE A (447631)            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD       OH 44067
                                                                       PROFESSIONAL BLDG
SHARNSKY, GEORGE A                    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                           NORTHFIELD      OH 44067
                                                                       PROFESSIONAL BLDG
SHARO JR, MICHAEL S                   109 BENJAMIN ST                                                                                         CRANFORD        NJ   07016‐2623
SHARO, EDWARD                         167 CEDARHURST RD                                                                                       BRICK           NJ   08723‐5409
SHAROFF ROBERT                        2232 W GIDDINGS ST                                                                                      CHICAGO         IL   60625‐2002
SHAROL GEBHARDT FOSTER                3915 RIDGMAAR SQ                                                                                        ANN ARBOR       MI   48105‐3046
SHAROL HARBAUGH                       2823 S PARK RD                                                                                          KOKOMO          IN   46902‐3291
SHAROL HASKINS                        4816 WEST M‐21                                                                                          OWOSSO          MI   48867
SHAROL ROBIDEAU                       50 SOMERSET ST                                                                                          SWARTZ CREEK    MI   48473‐1150
SHAROLYN BALDWIN                      901 BRESTOL CT E                                                                                        BEDFORD         TX   76021‐2303
SHAROLYN BARNETT                      11716 CAPISTRANO DR                                                                                     INDIANAPOLIS    IN   46236‐8841
SHAROLYN GORMAN                       6561 HEATHER DR                                                                                         LOCKPORT        NY   14094‐1152
SHAROLYN L BALDWIN                    901 BRESTOL CT E                                                                                        BEDFORD         TX   76021‐2303
SHAROLYN PITNER                       8553 E COUNTY ROAD 275 S                                                                                PERU            IN   46970‐8824
SHAROLYN W BARNETT
SHARON
SHARON A BARMORE                      109 MAGNOLIA ST                                                                                         MANGHAM         LA 71259‐5019
SHARON A BIANCHI                      19 TANDOI DR                                                                                            ROCHESTER       NY 14624‐1412
SHARON A BISHOP TRUSTEE OF SHARON A   SHARON A BISHOP TRUSTEE OF THE   FAMILY TRUST DATED APRIL 22, 1997 1729 TROLLMAN AVE                    SAN MATEO       CA 94401‐1328
BISHOP 1997 FAMILY TRUST              SHARON A BISHOP 1997
SHARON A BULA                         507 BROOKSDALE DR                                                                                       WOODSTOCK       GA   30189‐2487
SHARON A CARLUCCI                     103 DEUMANT TER                                                                                         TONAWANDA       NY   14223‐2735
SHARON A CELLA                        1819 CARNEGIE N.                                                                                        NILES           OH   44446‐4127
SHARON A CHILDRESS                    PO BOX 468                                                                                              FLINT           MI   48501‐0468
SHARON A CONNOLLY                     358 FOREST DR                                                                                           BELLE VERNON    PA   15012‐9675
SHARON A COOPER                       6201 US HIGHWAY 41 N LOT 2051                                                                           PALMETTO        FL   34221‐9335
SHARON A CROSS                        91 NIMITZ DR                                                                                            RIVERSIDE       OH   45431‐‐ 13
SHARON A CUNNINGHAM                   13650 HOVEY AVE                                                                                         WARREN          MI   48089‐1456
SHARON A DOWNS                        23 RITZ ST                                                                                              ROCHESTER       NY   14605‐2336
SHARON A ELLISON                      64 CONSTANCEWAY EAST                                                                                    ROCHESTER       NY   14612‐2763
SHARON A ERNEST                       1225 ARROWWOOD LN                                                                                       GRAND BLANC     MI   48439‐4861
SHARON A FIELDER                      4225 CHERYL DR                                                                                          FLINT           MI   48506
SHARON A FORBES                       499 WALTON DR                                                                                           CHEEKTOWAGA     NY   14225‐1006
SHARON A FORD                         261 BEACHWOOD DR                                                                                        YOUNGSTOWN      OH   44505
SHARON A GILBERT                      229 S BARRON ST                                                                                         EATON           OH   45320
SHARON A GILBERT                      4781 W WESTGATE DR                                                                                      BAY CITY        MI   48706‐2643
SHARON A GRIFFITH                     PO BOX 287                                                                                              HADLEY          MI   48440‐0287
SHARON A GUIDRY                       PO BOX 375                                                                                              VERNON          MI   48476‐0375
SHARON A HILDRETH‐O'DELL              425 CLAIRPOINTE WOODS DR                                                                                DETROIT         MI   48215‐4118
SHARON A HILL                         1203 S HAMILTON ST APT 3                                                                                SAGINAW         MI   48602‐1457
SHARON A HOLWERDA                     6902 CLARK RD                                                                                           BATH            MI   48808‐8720
SHARON A HORTON                       122 MAXWELL AVE                                                                                         SYRACUSE        NY   13207‐2530
SHARON A KEADY‐HARTY                  890 MERTZ RD                                                                                            MIDDLESEX       NY   14507
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Name                               Address1                        Address2                      Address3                  Address4         City                 State Zip
SHARON A LEONES                    6467 WILSON DR                                                                                           WATERFORD             MI 48329‐3176
SHARON A MARLOWE                   15 ROWLEY DR                                                                                             ROCHESTER             NY 14624
SHARON A MARTIN                    738 TYSON AVE                                                                                            DAYTON                OH 45427‐3044
SHARON A MCCUTCHEON                1330 PARKWOOD AVE                                                                                        YPSILANTI             MI 48198‐5900
SHARON A MCGEE                     2068 E WILLIAMSON ST                                                                                     BURTON                MI 48529‐2442
SHARON A MCGILL                    4060 AMISTAD CT                                                                                          LAS VEGAS             NV 89115
SHARON A OSBORNE                   9984 BRAILE ST                                                                                           DETROIT               MI 48228‐1212
SHARON A PIERCE                    219 BELEY AVE                                                                                            SYRACUSE              NY 13211‐1527
SHARON A RIVERS                    106 THOMAS STREET                                                                                        ROCHESTER             NY 14621‐5740
SHARON A SHED                      7804 REGENCY LN                                                                                          FORT WORTH            TX 76134‐4610
SHARON A SHERMAN                   768 CHILI AVE                                                                                            ROCHESTER             NY 14611‐2829
SHARON A STEPHENSON                20508 EDGEWOOD RD                                                                                        ATHENS                AL 35614‐5500
SHARON A THOMPSON                  613 GLENDALE AVE                                                                                         TILTON                 IL 61833‐7939
SHARON A TOLLISON                  310 VICKIE DR                                                                                            DEL CITY              OK 73115‐3850
SHARON A WOODS                     5020 STROUPS HICKOX RD                                                                                   W FARMINGTON          OH 44491‐9757
SHARON AANE                        307 LABIAN DR                                                                                            FLUSHING              MI 48433‐1773
SHARON AARON                       4565 FITZGERALD AVE                                                                                      YOUNGSTOWN            OH 44515‐4428
SHARON AARON                       2317 E FARRAND RD                                                                                        CLIO                  MI 48420‐9138
SHARON ABBOTT                      4510 NW 49TH DR                                                                                          TAMARAC               FL 33319‐3777
SHARON ABCUMBY                     8264 HONEYTREE BLVD             BUILDING 54                                                              CANTON                MI 48187
SHARON ABELS                       2637 W ISABELLA RD                                                                                       MIDLAND               MI 48640‐9183
SHARON ABNEY                       895 FOX CT                                                                                               MORROW                OH 45152‐8456
SHARON ABU AITAH                   2433 GREEN ACRES DR                                                                                      GRAND BLANC           MI 48439‐8150
SHARON ADAMS                       9758 W 300 S                                                                                             RUSSIAVILLE           IN 46979‐9507
SHARON ADAMS                       2050 MICHELLE CT                                                                                         MIAMISBURG            OH 45342‐6440
SHARON ADAMS                       3213 GARY DR                                                                                             SAINT LOUIS           MO 63121‐5346
SHARON ADAMS                       1802 TYLER RD                                                                                            YPSILANTI             MI 48198‐6154
SHARON ADAMS                       22301 PROSPER DR                                                                                         SOUTHFIELD            MI 48033‐3926
SHARON AIKEN                       10562 HARTLAND RD                                                                                        FENTON                MI 48430‐8704
SHARON ALBAUGH                     3412 PATTERSON LAKE RD                                                                                   PINCKNEY              MI 48169‐8724
SHARON ALEXANDER                   510 SUNCREST DR                                                                                          FLINT                 MI 48504‐8114
SHARON ALEXANDER                   3241 S 400 E                                                                                             KOKOMO                IN 46902‐9359
SHARON ALEXANDER                   4787 SHORELINE BLVD                                                                                      WATERFORD             MI 48329‐1659
SHARON ALIFF                       232 W SHADBOLT ST                                                                                        LAKE ORION            MI 48362‐3069
SHARON ALLEN                       9945 LINDA DRIVE                #371                                                                     YPSILANTI             MI 48197
SHARON ALLEN                       3569 DYER PARKE LN SW                                                                                    MARIETTA              GA 30060‐7529
SHARON ALLEY INDIVIDUALLY AND AS   OF THE ESTATE OF THELMA OSTER   C/O THE FERRARO LAW FIRM PA   4000 PONCE DE LEON BLVD                    MIAMI                 FL 33146
PERSONAL REPRESENTATIVE                                                                          STE 700
SHARON ALLISON                     2204 HICKORY RD                                                                                          DANVILLE             IL   61834‐7037
SHARON ALTMAN                      3550 N WALDO RD                                                                                          MIDLAND              MI   48642‐9736
SHARON AMATO                       3944 LOCH DR                                                                                             HIGHLAND             MI   48357
SHARON ANDEL                       182 CUIVRE PARC                                                                                          TROY                 MO   63379‐5403
SHARON ANDERSON                    21450 RIDGEDALE ST                                                                                       OAK PARK             MI   48237‐2784
SHARON ANDERSON                    29073 ETON ST                                                                                            WESTLAND             MI   48186‐5154
SHARON ANDERSON                    5213 STAUGHTON DR                                                                                        INDIANAPOLIS         IN   46226‐2253
SHARON ANDERSON                    148 SCHWARTZ KOPH ST.                                                                                    BOWLING GREEN        KY   42104
SHARON ANGELLOTTI                  919 N CENTER ST                                                                                          ROYAL OAK            MI   48067‐1713
SHARON ANN DUNCAN                  2221 SW SISTERS                 WELCOME ROAD                                                             LAKE CITY            FL   32025
SHARON ANTONACCI                   1504 MOCK ORANGE CIR                                                                                     NASHVILLE            TN   37217‐3845
SHARON APFEL                       29722 MAPLEGROVE ST.                                                                                     SAINT CLAIR SHORES   MI   48082‐2801
SHARON ARMSTRONG                   13276 DARNELL AVE                                                                                        PT CHARLOTTE         FL   33981‐6124
SHARON ARMSTRONG                   8855 OAK HILL RD                                                                                         CLARKSTON            MI   48348‐1042
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Name                          Address1                         Address2                     Address3   Address4         City              State Zip
SHARON ARMSTRONG              2433 NORTHVILLE DR NE APT 11                                                              GRAND RAPIDS       MI 49525‐1866
SHARON ASHER                  553N CR 225 E                                                                             FILLMORE           IN 46128
SHARON ASHLEY                 PO BOX 675                                                                                WESSON             MS 39191‐0675
SHARON ASHLEY                 3830 WARM SPRINGS RD                                                                      WARM SPRINGS       AR 72478‐9116
SHARON AUSTIN                 313 PINE VALLEY DR                                                                        FELTON             PA 17322‐9239
SHARON BACKUS                 RR 1 BOX 1465                                                                             SPRINGVILLE        IN 47462‐9623
SHARON BADEAUX                3323 N. 48TH ST                                                                           FORT SMITH         AR 72904‐4421
SHARON BAER                   28250 KINGSBERRY ST                                                                       CHESTERFIELD       MI 48047‐5223
SHARON BAKER                  PO BOX 90                                                                                 GALVESTON          IN 46932‐0090
SHARON BAKER                  1626 HUGHES AVE                                                                           FLINT              MI 48503‐3405
SHARON BALDWIN                9371 MANSFIELD RD                APT 148                                                  SHREVEPORT         LA 71118‐3110
SHARON BALINSKI               31811 SANKUER DR                                                                          WARREN             MI 48093‐7634
SHARON BALL                   5019 CENTER ST                                                                            FAIRGROVE          MI 48733
SHARON BALLANCE               1228 SOUTH ST                                                                             MOUNT MORRIS       MI 48458‐2932
SHARON BARCELOW               1741 AUTUMN LN                                                                            LANSING            MI 48912‐4503
SHARON BARFIELD               382 PLANTATION XING                                                                       NICHOLSON          GA 30565‐1693
SHARON BARMORE                109 MAGNOLIA ST                                                                           MANGHAM            LA 71259‐5019
SHARON BARNES                 9941 DIXIE HWY                   APT 2                                                    CLARKSTON          MI 48348‐2466
SHARON BARRETT                1002 RIPPLESTONE AVE                                                                      NORTH LAS VEGAS    NV 89081‐3234
SHARON BARROW                 2172 LONE WOLF LN                                                                         CANTON             MI 48188‐2071
SHARON BARTOK                 BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH 44236
SHARON BASEL                  5938 PINECROFT DR                                                                         WEST BLOOMFIELD    MI 48322‐1668
SHARON BASIEWICZ              4884 DAVIS CT                                                                             TROY               MI 48085‐4984
SHARON BASINGER               3566 STATE RD                                                                             CUYAHOGA FALLS     OH 44223
SHARON BASSO                  211 GOLF DR                                                                               CORTLAND           OH 44410‐1180
SHARON BATES                  2352 W MOUNT MORRIS RD                                                                    MOUNT MORRIS       MI 48458‐8254
SHARON BATISTE                1509 CALHOUN ST.                                                                          GARY               IN 46406
SHARON BAUER                  8775 STONEBRIAR DR                                                                        CLARENCE CENTER    NY 14032‐9378
SHARON BEACH                  1777 MCCONNELL HWY                                                                        CHARLOTTE          MI 48813‐9788
SHARON BEAM                   321 S HIGH ST                                                                             YELLOW SPRINGS     OH 45387‐1715
SHARON BEAVERS                613 ELLSWORTH DR                                                                          TROTWOOD           OH 45426‐2513
SHARON BECK                   5290 BIRDLAND AVE                                                                         DAYTON             OH 45427
SHARON BECKOFF                3839 LUCILLE DR                                                                           LAMBERTVILLE       MI 48144‐9503
SHARON BEDFORD                3533 W LAKE RD                                                                            WILSON             NY 14172‐9732
SHARON BEDWELL                2604 RAIBLE AVENUE                                                                        ANDERSON           IN 46011‐4706
SHARON BEHRENS                15295 LIBRARY LN UNIT 102                                                                 NEW BERLIN         WI 53151‐5294
SHARON BELL                   1214 SAINT CLAIR ST                                                                       DETROIT            MI 48214‐3670
SHARON BELL                   2034 MARMOOR DR                                                                           SHELBY TWP         MI 48317‐2757
SHARON BELL                   645 QUARRY RD                                                                             SILEX              MO 63377‐3325
SHARON BELL                   702 BELEY AVE                                                                             SYRACUSE           NY 13211‐1510
SHARON BELTZ                  3154 TANYARD HOLLOW RD                                                                    CULLEOKA           TN 38451‐2336
SHARON BEMBRY                 1241 STEEPLE CHASE CIR APT 8B                                                             TOLEDO             OH 43615‐4384
SHARON BENITEZ                15 MIAMI RD                                                                               PONTIAC            MI 48341‐1553
SHARON BENSON                 4356 LOWER MOUNTAIN RD                                                                    LOCKPORT           NY 14094‐8820
SHARON BERESFORD‐RESHENBERG   565 PALM ST                                                                               MCKEESPORT         PA 15132‐7716
SHARON BERLIN                 8667 DUCK CREEK RD                                                                        BERLIN CENTER      OH 44401‐9625
SHARON BERMAN                 4538 IDE RD                                                                               WILSON             NY 14172‐9643
SHARON BERNELIS               604 WESTLAWN ST                                                                           BAY CITY           MI 48706‐3246
SHARON BERUBE                 323 HILLVIEW AVE                                                                          SYRACUSE           NY 13207‐1905
SHARON BICKLEY                4681 MAYER RD                                                                             CHINA              MI 48054‐3022
SHARON BIDDLE                 530 STEGALL DR                                                                            KOKOMO             IN 46901‐7070
SHARON BIDWELL                1284 TOWNLINE 17 ROAD                                                                     BENTLEY            MI 48613‐9658
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Name                    Address1                       Address2            Address3         Address4         City               State Zip
SHARON BIEBERSTEIN      W163N11464 WINDSOR CT                                                                GERMANTOWN          WI 53022‐3343
SHARON BIGGERSTAFF      1085 LOCUST DR                                                                       MARTINSVILLE        IN 46151‐8835
SHARON BILLOCK          7820 TIFFANY DR                                                                      ALMONT              MI 48003‐8637
SHARON BISHOP           3404 CALUMET RD                                                                      LUDLOW FALLS        OH 45339‐9702
SHARON BLACK            3313 SWANEE DR                                                                       LANSING             MI 48911‐3326
SHARON BLAKE COX        4005 GREENBROOK LN                                                                   FLINT               MI 48507‐2223
SHARON BLALOCK          609 EUGENE CT                                                                        MIDDLETOWN          DE 19709‐9411
SHARON BLANCO           609 AVALON CT                                                                        GREENTOWN           IN 46936‐1605
SHARON BLANKENSHIP      11222 HORTON RD                                                                      HOLLY               MI 48442‐9422
SHARON BLEWETT          31350 WENTWORTH ST                                                                   LIVONIA             MI 48154‐6216
SHARON BOAL             4170 N IRONWOOD DR                                                                   APACHE JUNCTION     AZ 85220‐9036
SHARON BODICK           219 LAKESHORE DR                                                                     COLDWATER           MI 49036‐8848
SHARON BOLD             PO BOX 112                                                                           BABCOCK             WI 54413‐0112
SHARON BOND             1608 KENSINGTON AVE                                                                  FLINT               MI 48503‐2775
SHARON BONKOWSKI        2123 WELCOME WAY                                                                     THE VILLAGES        FL 32162‐1246
SHARON BOON             18125 MANORWOOD CIR                                                                  CLINTON TOWNSHIP    MI 48038‐1276
SHARON BOONE            3031 GLENVIEW DR                                                                     ANDERSON            IN 46012‐9103
SHARON BORDERS          1818 W SCHANTZ AVE                                                                   DAYTON              OH 45409‐2124
SHARON BOROWICZ         18288 MANORWOOD S                                                                    CLINTON TOWNSHIP    MI 48038‐1238
SHARON BORTON           3397 DONLEY AVE                                                                      ROCHESTER HLS       MI 48309‐4104
SHARON BOSFORD          PO BOX 476                                                                           ROOSEVELTOWN        NY 13683‐0476
SHARON BOTSFORD         11666 LAKESHORE RD                                                                   LYNDONVILLE         NY 14098‐9647
SHARON BOULRIS          613 BOG RD                                                                           LIMESTONE           ME 04750‐6505
SHARON BOWMAN           2894 HILDA DRIVE SOUTHEAST                                                           WARREN              OH 44484‐3335
SHARON BOYD             69 POINTVIEW AVE                                                                     DAYTON              OH 45405
SHARON BOYER            1021 BELLOWS AVE                                                                     COLUMBUS            OH 43223‐1517
SHARON BOYSEN           334 N 1ST ST                                                                         KALAMAZOO           MI 49009‐9317
SHARON BRABANT          RT#1 BOX 160                                                                         BOMBAY              NY 12914
SHARON BRACKETT         6255 TELEGRAPH RD LOT 307                                                            ERIE                MI 48133‐8402
SHARON BRADFORD         11522 CO 171                                                                         PAULDING            OH 45879
SHARON BRADLEY          5001 RANCHO VERDE PKWY                                                               CROWLEY             TX 76036‐9441
SHARON BRADLEY          1445 ANDREW ST                                                                       SAGINAW             MI 48638‐6513
SHARON BRADLEY          339 BLACKBIRD STATION RD                                                             TOWNSEND            DE 19734‐9261
SHARON BRADLEY          911 BEECH AVE                                                                        PITTSBURGH          PA 15233‐1705
SHARON BRANCH           2661 FAIRWAY DR                                                                      BONIFAY             FL 32425‐7673
SHARON BRANTLEY
SHARON BREHM            9535 BEARD RD                                                                        LAINGSBURG         MI   48848‐9318
SHARON BREINER          110 PAULO DR NE                                                                      WARREN             OH   44483‐4662
SHARON BRETZ            28499 ROSSLYN AVE                                                                    GARDEN CITY        MI   48135‐2763
SHARON BRETZ            4133 RENEE DR                                                                        TROY               MI   48085‐4893
SHARON BROCK            9439 KROETZ DR                                                                       SHREVEPORT         LA   71118‐4042
SHARON BROOKS           2812 N 200 E                   RANGE LINE RD                                         ANDERSON           IN   46012‐9614
SHARON BROOKS‐JACKSON   30094 KINGSWAY DR                                                                    FARMINGTON HILLS   MI   48331‐1709
SHARON BROUGHTON        10885 CANTERBURY LN                                                                  GRAND LEDGE        MI   48837‐9478
SHARON BROWN            120 DEER TRAIL DR                                                                    EATON              OH   45320‐9355
SHARON BROWN            2363 FORDHAM ST                                                                      KEEGO HARBOR       MI   48320‐1411
SHARON BROWN            971 DESOTO AVE                                                                       YPSILANTI          MI   48198‐6174
SHARON BROWN            1070 17 MILE RD NE                                                                   CEDAR SPRINGS      MI   49319‐9432
SHARON BROWN            212 W 37TH ST                                                                        WILMINGTON         DE   19802‐2003
SHARON BROWN            903 JEFFERSON CIR                                                                    SHAWNEE            OK   74801‐4815
SHARON BROWN            801 GARDENVIEW DR APT 340                                                            FLINT              MI   48503‐1637
SHARON BROWN            808 TALLENT STORE RD                                                                 AMERICUS           GA   31719‐8497
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Name                Address1                         Address2                     Address3   Address4         City               State Zip
SHARON BROWN        7611 SHEPHERDESS DR                                                                       DAYTON              OH 45424‐2320
SHARON BRUBAKER     1692 HESS RD                                                                              APPLETON            NY 14008‐9692
SHARON BRUBAKER     750 WATKINS GLEN BLVD                                                                     MARYSVILLE          OH 43040‐8595
SHARON BRUBAKER     BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
SHARON BRUNELL      1125 CRYSTAL WOOD DR                                                                      DAVISON             MI 48423‐3416
SHARON BRUNK        728 N VAN DYKE RD                                                                         IMLAY CITY          MI 48444‐1107
SHARON BRYSON       343 CENTERFIELD DR                                                                        O FALLON            MO 63366‐4488
SHARON BUCKLER      2100 N A ST                                                                               ELWOOD              IN 46036‐1730
SHARON BUHL         655 JOSLYN RD                                                                             LAKE ORION          MI 48362‐2119
SHARON BULA         507 BROOKSDALE DR                                                                         WOODSTOCK           GA 30189‐2487
SHARON BURGESS      6020 COULSON CT                                                                           LANSING             MI 48911‐5024
SHARON BURNS        4196 BRISTOLWOOD DR                                                                       FLINT               MI 48507‐5535
SHARON BURNS        499 SUPERIOR CT                                                                           RIVER ROUGE         MI 48218‐1145
SHARON BURTON       1101 WICKLOW LN                                                                           GARLAND             TX 75044‐3443
SHARON BURTON       167 CAESAR BLVD                                                                           WILLIAMSVILLE       NY 14221‐5903
SHARON BURTON       711 JEB STUART DR                                                                         JONESBORO           GA 30238‐3424
SHARON BUSH         PO BOX 72                                                                                 GASPORT             NY 14067‐0072
SHARON BUSH         4715 RAINIER DR                                                                           DAYTON              OH 45432‐3317
SHARON BYERS        11840 CAPE COD ST                                                                         TAYLOR              MI 48180‐6205
SHARON BYERS        10523 PINE VALLEY PATH                                                                    INDIANAPOLIS        IN 46234‐3229
SHARON BYRD         910 EASTER DR                                                                             CARLISLE            OH 45005‐3716
SHARON BYRNS        8514 MOODY RD                                                                             LOUISVILLE          KY 40219‐4847
SHARON C ADAMS      2050 MICHELLE CT                                                                          MIAMISBURG          OH 45342‐6440
SHARON C CARROLL    21 BRIARWOOD DR EAST                                                                      WARREN              NJ 07059
SHARON C CHASE      34 COUNTY ROAD 47                                                                         EUFAULA             AL 36027‐5049
SHARON C GARGASZ    697 HADLEY RD                                                                             GREENVILLE          PA 16125‐9644
SHARON C PAGANO     1838 JOHNSTON PL                                                                          POLAND              OH 44514
SHARON C WALLER     1005 ARLINGTON WAY                                                                        WARRENTON           MO 63383‐1383
SHARON C WODKE      N39 W276 35 GLACIER RD                                                                    PEWAUKEE            WI 53072
SHARON CALADINO     52778 SAWMILL CREEK DR                                                                    MACOMB              MI 48042‐5680
SHARON CALDWELL     8680 LUDINGTON DR                                                                         LAKE                MI 48632‐9568
SHARON CALLAHAN     19 GRAYSTONE DR                                                                           TROY                MO 63379‐2815
SHARON CALVERT      2 MACKINAC CT                                                                             POOLER              GA 31322‐9423
SHARON CAMERON      PO BOX 23138                                                                              ROCHESTER           NY 14692‐3138
SHARON CAMPBELL     811 MACLAM DR                                                                             COLUMBUS            OH 43204‐1456
SHARON CAMPBELL     11292 BANCROFT CT                                                                         FENTON              MI 48430‐2485
SHARON CAMPBELL     228 RIVER OAKS DR                                                                         HELENA              AL 35080‐8621
SHARON CAMPBELL     418 E ERIE RD                                                                             TEMPERANCE          MI 48182
SHARON CANFIELD     801 BROOKSIDE DR APT 113                                                                  LANSING             MI 48917‐9299
SHARON CARENE       7064 WILLIAMS LAKE RD                                                                     WATERFORD           MI 48329‐2877
SHARON CARLISLE     22345 GORDON RD                                                                           ST CLAIR SHRS       MI 48081‐1676
SHARON CARLUCCI     103 DEUMANT TER                                                                           TONAWANDA           NY 14223‐2735
SHARON CARNEY       159 MCKINLEY AVENUE                                                                       MASSENA             NY 13662‐1200
SHARON CARPENTER    3270 LAKE OF THE PINES DR                                                                 LAKE                MI 48632‐8907
SHARON CARPENTER    456 E MAIN ST                                                                             EVANSVILLE          WI 53536‐1130
SHARON CARRICK      13139 HART AVE                                                                            HUNTINGTN WDS       MI 48070‐1010
SHARON CARRIER      1515 RIDGE RD LOT 148                                                                     YPSILANTI           MI 48198‐4261
SHARON CARROLL      103 A DR                                                                                  WEST MIFFLIN        PA 15122‐3391
SHARON CARTER       7240 CLEMENT RD                                                                           CLARKSTON           MI 48346‐2610
SHARON CARTER       5642 LOGGINGTRAIL DR                                                                      SEARS               MI 49679‐8013
SHARON CARTWRIGHT   5670 MOCKINGBIRD LANE                                                                     BLANCHARD           OK 73010‐7817
SHARON CARUSO       1444 EAGLE CT                                                                             GLENDALE HEIGHTS     IL 60139‐3615
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Name                     Address1                        Address2            Address3         Address4         City              State Zip
SHARON CARUSO            2229 SIBONEY CT                                                                       ROCHESTER HILLS    MI 48309‐3749
SHARON CELLA             1819 N CARNEGIE AVE                                                                   NILES              OH 44446‐4127
SHARON CHALMERS          368 PATTERSON RD                                                                      LAWRENCEVILLE      GA 30044‐5414
SHARON CHAND             5592 SAINT ANDREW DR                                                                  CLARKSTON          MI 48348‐4834
SHARON CHANDLER          102 SONGBIRD TRL                                                                      KEENE              TX 76059‐2449
SHARON CHANEY            470 BLAKE DR                                                                          TUSCUMBIA          AL 35674‐9228
SHARON CHANNELL          4875 SCOTT ST                                                                         NEWTON FALLS       OH 44444‐9410
SHARON CHAPMAN           505 ILLINOIS DR                                                                       TECUMSEH           MI 49286‐7545
SHARON CHASE             34 COUNTY ROAD 47                                                                     EUFAULA            AL 36027‐5049
SHARON CHEFFER           650 BELLE AIRE DR                                                                     VISTA              CA 92084
SHARON CHESHIRE          14121 UXBRIDGE ST                                                                     WESTMINSTER        CA 92683‐4135
SHARON CHEVROLET, INC.   SHARON FOX                      57 OSWEGO RD                                          PHOENIX            NY 13135
SHARON CHEVROLET, INC.   57 OSWEGO RD                                                                          PHOENIX            NY 13135
SHARON CHIE              46791 WEAR RD                                                                         BELLEVILLE         MI 48111‐9385
SHARON CHILDRESS         PO BOX 468                                                                            FLINT              MI 48501‐0468
SHARON CHISM             3659 W 300 S                                                                          MARION             IN 46953‐9728
SHARON CITUK             547 BROWDERS CHAPEL ROAD                                                              HILTONS            VA 24258‐6534
SHARON CLARK             23 DUANE LN                                                                           BURLINGTON         CT 06013‐1307
SHARON CLARK             7136 TOWNLINE RD                                                                      NORTH TONAWANDA    NY 14120‐1349
SHARON CLARK             3415 OAKDALE AVE                                                                      LORAIN             OH 44055‐1027
SHARON CLARK             3801 WILLIAMSBURG RD N                                                                CINCINNATI         OH 45215‐5126
SHARON CLARK             137 E MAIN ST APT 19                                                                  BEATTYVILLE        KY 41311‐9276
SHARON CLARK             158 LATTING ST BOX 493                                                                MONTROSE           MI 48457
SHARON CLARK             5 FOREST RD                                                                           MIDDLE RIVER       MD 21220
SHARON CLAYTON           5488 N SEYMOUR RD                                                                     FLUSHING           MI 48433‐1004
SHARON CLEGHORN          2057 ALLEN ST                                                                         ADRIAN             MI 49221‐4405
SHARON CLIFTON           2708 OVERLAND TRL                                                                     DICKINSON          TX 77539‐5992
SHARON CLODFELTER        4425 BOWERS RD                                                                        ATTICA             MI 48412‐9205
SHARON COBB              4678 MARLYN ST                                                                        VASSAR             MI 48768‐9265
SHARON COCHRAN           1752 S OGDEN ST                                                                       DENVER             CO 80210‐3243
SHARON COCKRELL          2804 SW 80TH ST                                                                       OKLAHOMA CITY      OK 73159‐4730
SHARON COGLEY            7190 GREEN VALLEY DR                                                                  GRAND BLANC        MI 48439‐8141
SHARON COLBERG           3243 N GENEVA RD                                                                      COLEMAN            MI 48618‐8901
SHARON COLE              9802 OAK POINT DR                                                                     HOUSTON            TX 77055‐4160
SHARON COLE              9300 SLEEPY HOLLOW DR                                                                 NEWALLA            OK 74857‐9096
SHARON COLEBANK          46985 ECORSE RD                                                                       BELLEVILLE         MI 48111‐5115
SHARON COLEMAN           8319 MARLEY ST                                                                        CINCINNATI         OH 45216‐1018
SHARON COLEMAN           348 RUSSELL ST                                                                        PONTIAC            MI 48342‐3348
SHARON COLLIER           3359 BLACKSTONE DR                                                                    TOLEDO             OH 43608‐1612
SHARON COLLINS           708 HENRY ST                                                                          SAINT CLAIR        MI 48079‐4970
SHARON CONNOLLY          358 FOREST DR                                                                         BELLE VERNON       PA 15012‐9675
SHARON CONRADSON         300 SUNSET DR                                                                         ENTERPRISE         AL 36330‐2335
SHARON COOK              601 N NORTH ST                                                                        LADOGA             IN 47954‐9439
SHARON COOPER            2302 GREYTWIG DR                                                                      KOKOMO             IN 46902‐4558
SHARON COOPER            6201 US HIGHWAY 41 N LOT 2051                                                         PALMETTO           FL 34221‐9335
SHARON COOPER            3369 W LAKE RD                                                                        CLIO               MI 48420‐8834
SHARON COOPER            921 HIGHLAND AVE                                                                      BUFFALO            NY 14223‐1753
SHARON COPPY             P.O. 42                                                                               GENESEE            MI 48437
SHARON CORDARY           151 PROSPECT AVE APT 7A                                                               HACKENSACK         NJ 07601‐2216
SHARON COSELMAN          3814 2ND ST W                                                                         LEHIGH ACRES       FL 33971‐1804
SHARON COSEY             555 PAGE ST                                                                           FLINT              MI 48505‐4701
SHARON COTE              6850 S WILLIAMS RD                                                                    SAINT JOHNS        MI 48879‐9127
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Name                                 Address1                         Address2                      Address3             Address4         City             State Zip
SHARON COURTNEY                      2396 COUNTY ROAD 1330                                                                                BLANCHARD         OK 73010‐3524
SHARON COX                           1242 FRANKTON RD                                                                                     ANDERSON          IN 46011
SHARON COX                           3230 CENTENNIAL RD LOT 19                                                                            SYLVANIA          OH 43560‐9560
SHARON COX                           1162 ELIZABETH ST                                                                                    LIBERTY           MO 64068‐2025
SHARON COX PERSONAL REPRESENTATIVE   C/O BRAYTON PURCELL              222 RUSH LANDING RD                                                 NOVATO            CA 94948‐6169
FOR WALTER COX
SHARON CRAGGS                        KELLER, FISHBACK & JACKSON LLP   18425 BURBANK BLVD, STE 610                                         TARZANA          CA 91356
SHARON CRANEY                        409 CREACH DR                                                                                        WARRENSBURG      MO 64093‐1971
SHARON CRAWFORD                      521 HURON HILLS DR                                                                                   EAST TAWAS       MI 48730‐9528
SHARON CRISP
SHARON CROLEY‐MUTLAQ                 23830 CARRBRIDGE DR                                                                                  EUCLID           OH   44143‐1617
SHARON CROSS                         91 NIMITZ DR                                                                                         DAYTON           OH   45431‐1311
SHARON CROTEAU                       333 WEIER LN                                                                                         SPRUCE           MI   48762‐9590
SHARON CROW                          PO BOX 66                                                                                            LAFFERTY         OH   43951‐0066
SHARON CRUM                          839 JOHN ST                                                                                          NILES            OH   44446‐1910
SHARON CRUM                          65 PLEASANT DR                                                                                       HUNTINGDON       TN   38344‐4619
SHARON CRUZ                          BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                          BOSTON HEIGHTS   OH   44236
SHARON CUNNINGHAM                    13650 HOVEY AVE                                                                                      WARREN           MI   48089‐1456
SHARON CUNNINGHAM                    1557 E NORTH UNION RD                                                                                BAY CITY         MI   48706‐9451
SHARON CUNNINGHAM                    929 SOUTHERN BLVD NW                                                                                 WARREN           OH   44485‐2266
SHARON CURRIE                        9730 61ST TERRACE                                                                                    SEBASTIAN        FL   32958‐5708
SHARON CURRY                         5067 GREEN ARBOR AVE                                                                                 GENESEE          MI   48437
SHARON CURRY                         6 RAGGI WAY                                                                                          WASHINGTON       PA   15301
SHARON CURRY TTEE                    U/A DTD 08/01/91                 LAWRENCE R LULL TRUST         1562 FOOTHILL BLVD                    N TUSTIN         CA   92705‐3049
SHARON CURTIS                        HC 31 BOX 14                                                                                         JASPER           AR   72641‐9401
SHARON D ARMSTRONG                   13276 DARNELL AVE                                                                                    PT CHARLOTTE     FL   33981‐6124
SHARON D BANKS                       515 DOYLE ST.                                                                                        GADSDEN          AL   35903‐1720
SHARON D BOOKER                      4496 CALKINS RD                                                                                      FLINT            MI   48532‐3517
SHARON D BROOKS                      4505 PRESCOTT AVENUE                                                                                 DAYTON           OH   45406
SHARON D CAVETT                      100 LEAF CIRCLE                                                                                      CLINTON          MS   39056
SHARON D DELYRIA                     6001 WEST 76TH STREET SOUTH                                                                          HAYSVILLE        KS   67060‐7128
SHARON D GIRDLER                     1327 CHIPPEWA DR                 PO BOX 1142                                                         GREENVILLE       OH   45331‐2712
SHARON D JAMISON                     1035 SHANNON RD                                                                                      GIRARD           OH   44420
SHARON D KEELS‐STONE                 2474 LINDSAY LN                                                                                      GRAND BLANC      MI   48439‐8080
SHARON D LEWIS                       1503 BENS TRL NE                                                                                     BROOKHAVEN       MS   39601‐9525
SHARON D LIRO                        231 SMITH AVE                                                                                        SHARON           PA   16146
SHARON D LOCKETT                     1557 W 1ST                                                                                           DAYTON           OH   45407
SHARON D OLIVER                      PO BOX 471966                                                                                        TULSA            OK   74147‐1966
SHARON D PATTON                      6359 CATTLEMAN CT                                                                                    JACKSONVILLE     FL   32218‐7370
SHARON D PERKINS                     62 SAMUEL WAY                                                                                        ROCHESTER        NY   14606
SHARON D RHODES                      1548 HARDING AVE                                                                                     MINERAL RIDGE    OH   44440‐9342
SHARON D SMITH                       1990 CHEVROLET ST                                                                                    YPSILANTI        MI   48198‐6261
SHARON D STEWART                     2468 EAST LAKE ROAD                                                                                  LIVONIA          NY   14487‐9525
SHARON D THORNTON                    PO BOX 720713                                                                                        NORMAN           OK   73070‐4545
SHARON D WELLS                       4407 BLUEBERRY AVE. APT. K                                                                           DAYTON           OH   45406‐3320
SHARON D WILKEN                      5887 HOMEDALE ST                                                                                     DAYTON           OH   45449‐2960
SHARON D WILLIAMS                    0‐6243 KENAWA SW APT #4                                                                              GRANDVILLE       MI   49418
SHARON D WILLIAMS                    6243 KENOWA AVE SW APT 4                                                                             GRANDVILLE       MI   49418‐9411
SHARON D YOUNG                       2028 AMWELL RD.                                                                                      SOMERSET         NJ   08873‐7227
SHARON DAENZER                       1368 FLETCHER ST                                                                                     NATIONAL CITY    MI   48748‐9666
SHARON DAISLEY                       5089 SHANKS PHALANX RD                                                                               NEWTON FALLS     OH   44444‐9572
SHARON DAMMEN                        1034 N CLAREMONT DR                                                                                  JANESVILLE       WI   53545‐1302
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Name                   Address1                         Address2         Address3         Address4         City                State Zip
SHARON DAMON           3409 OAKLAND DR                                                                     FLINT                MI 48507‐4566
SHARON DANE            4008 WAGNER RD                                                                      KETTERING            OH 45440‐1341
SHARON DAUNCE          128 TANGENT DR                                                                      STATESVILLE          NC 28625‐1890
SHARON DAVIDSON        507 CURTIS ST                                                                       CRAWFORDSVILLE       IN 47933‐3604
SHARON DAVIS           5378 MAXWELL ST                                                                     DETROIT              MI 48213‐2958
SHARON DAVIS           1331 BRADFORD ST NW                                                                 WARREN               OH 44485‐1963
SHARON DAVIS           1228 COMMONWEALTH CIR APT 0102                                                      NAPLES               FL 34116‐6657
SHARON DAVIS           529 W SYCAMORE ST                                                                   KOKOMO               IN 46901‐4425
SHARON DAVIS           130 HOPE DR                                                                         SUMMERVILLE          SC 29485‐7404
SHARON DAVIS           34119 BURTON FARM ROAD                                                              FRANFORD             DE 19945
SHARON DAWSON          595 MEADOWS DR APT 18                                                               GRAYLING             MI 49738‐2047
SHARON DAY             13122 LINDEN RD                                                                     LINDEN               MI 48451‐8609
SHARON DE PAULIS       19447 LAUREL DR                                                                     LIVONIA              MI 48152‐1134
SHARON DEAN            713 COUNTRY WALK DR                                                                 BROWNSBURG           IN 46112‐1771
SHARON DEASFERNANDES   11375 SAINT MARYS ST                                                                DETROIT              MI 48227‐1615
SHARON DEFELIPPO       129 MCINTOSH DR                                                                     LOCKPORT             NY 14094‐5140
SHARON DELISLE         1370 BADGER RD                                                                      BEAVERTON            MI 48612‐9462
SHARON DELISLE         8495 DUFFIELD RD                                                                    GAINES               MI 48436‐9795
SHARON DELYRIA         6001 WEST 76TH STREET SOUTH                                                         HAYSVILLE            KS 67060‐7128
SHARON DEMANKOWSKI     3539 VAN HORN RD                                                                    TRENTON              MI 48183‐4005
SHARON DEMING          3355 ALBIN FORD RD SE                                                               ELIZABETH            IN 47117‐7948
SHARON DENMAN          4608 MAYFIELD DR                                                                    KOKOMO               IN 46901‐3956
SHARON DERRYBERRY      127 DORSEY AVE                                                                      ORWELL               OH 44076‐9570
SHARON DESPAIN         435 SW 37TH ST                                                                      CAPE CORAL           FL 33914‐5867
SHARON DETIENNE        6427 N 800 W                                                                        CONVERSE             IN 46919
SHARON DEVARONA        2428 LAKESHORE DR                                                                   SPRING HILL          TN 37174‐2327
SHARON DICKERSON       4098 SQUIRE HILL DR                                                                 FLUSHING             MI 48433‐3105
SHARON DIEFENBACH      661 JIM TOWN RD                                                                     MOORESBURG           TN 37811‐2447
SHARON DIETRICH        1935 S CRISSEY RD                                                                   MONCLOVA             OH 43542‐9565
SHARON DIETZMAN        211 DOGWOOD ST                                                                      CARTHAGE             TN 37030‐1309
SHARON DILLARD         5244 N PARK AVE                                                                     INDIANAPOLIS         IN 46220‐3053
SHARON DITTMAN         12821 E 59TH TER                                                                    KANSAS CITY          MO 64133‐3681
SHARON DITTMER         7009 CHADWICK DR                                                                    CANTON               MI 48187‐1633
SHARON DODDS           66 CHURCH ST                                                                        BELLVILLE            OH 44813‐1147
SHARON DOLSON          6807 BAYBRIDGE DR                                                                   ARLINGTON            TX 76002‐3700
SHARON DOMBROWSKI      29023 THISTLE LN                                                                    HARRISON TOWNSHIP    MI 48045‐6023
SHARON DONAHOE         100 RICHARD LN                                                                      AZLE                 TX 76020‐4417
SHARON DONOVAN         9901 PENDLETON PIKE LOT 82                                                          INDIANAPOLIS         IN 46236‐2895
SHARON DOORNBOS        5286 WEST 1000 SOUTH                                                                WARREN               IN 46792‐9768
SHARON DOREY           8253 MIDLAND RD                                                                     FREELAND             MI 48623‐9002
SHARON DOUGLAS         2266 SALT SPRINGS RD                                                                WARREN               OH 44481‐9766
SHARON DOUGLAS         4892 BRAUN RD                                                                       SALINE               MI 48176‐9750
SHARON DOUGLAS         704 GERMANIA ST                                                                     BAY CITY             MI 48706‐5129
SHARON DRAGOO          5326 WOODLAWN DR                                                                    FLINT                MI 48506‐1189
SHARON DUBBER          15492 SARATOGA DR                                                                   BROOKSVILLE          FL 34604‐0726
SHARON DUCKWORTH       3110 VIA SERENA S UNIT D                                                            LAGUNA WOODS         CA 92637‐2707
SHARON DUDLEY‐PARHAM   PO BOX 3034                                                                         FARMINGTON HILLS     MI 48333‐3034
SHARON DUERR           11038 RALEIGH ST                                                                    WESTCHESTER           IL 60154‐4934
SHARON DUFF            2128 W LAKE RD                                                                      CLIO                 MI 48420‐8838
SHARON DUKES           PO BOX 124                                                                          FRENCH LICK          IN 47432‐0124
SHARON DUNBAR          PO BOX 21843                                                                        DETROIT              MI 48221‐0843
SHARON DUNCAN          1304 OLD MILL RD                                                                    MOORE                OK 73160‐6617
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Name                      Address1                          Address2         Address3         Address4               City            State Zip
SHARON DUNCAN             8061 KNOX ST APT 801                                                                       OVERLAND PARK    KS 66204‐1199
SHARON DUNLAP             13691 KENWOOD ST                                                                           OAK PARK         MI 48237‐2013
SHARON DUNLAVY            PO BOX 94                                                                                  MILTON           WI 53563‐0094
SHARON DURDEN             2138 N CENTER RD                                                                           BURTON           MI 48509‐1002
SHARON DURFEE             208 PRINCETON ST                                                                           PONTIAC          MI 48340
SHARON DURHAM             11409 E 62ND ST                                                                            RAYTOWN          MO 64133‐4409
SHARON DURISH             10001 E GOODALL RD UNIT A8                                                                 DURAND           MI 48429‐9747
SHARON E ABCUMBY          8264 HONEYTREE BLVD BUILDING 54                                                            CANTON           MI 48187
SHARON E ALEXANDER        4787 SHORELINE BLVD                                                                        WATERFORD        MI 48329‐1659
SHARON E ANDREWS          609 INGRAM AVENUE                                                                          DAYTON           OH 45408‐1133
SHARON E BREINER          110 PAULO DRIVE                                                                            WARREN           OH 44483
SHARON E BRITTON          503 BRENTWOOD ST                                                                           TILTON            IL 61833‐8004
SHARON E BRYANT           201 EAST ST                                                                                EDWARDS          MS 39066‐9189
SHARON E DUNN             65174 E BRASSIE DR                                                                         TUCSON           AZ 85739
SHARON E FERGUSON         9908 JULIE DR                                                                              YPSILANTI        MI 48197‐8291
SHARON E GALBRAITH        6 ELTON DR                                                                                 CARLISLE         PA 17015‐7001
SHARON E JORDAN           4952 FRANLOU AVE                                                                           DAYTON           OH 45432‐3120
SHARON E NEWMAN           6325 ORCHARD GROVE LN                                                                      OTTAWA LAKE      MI 49267‐9617
SHARON E REED             4824 TRAILSIDE COURT                                                                       DAYTON           OH 45424‐1937
SHARON E REISZ            3922 SOUTH MADISON                                                                         CINCINNATI       OH 45212
SHARON E SANKEY           318 BUNGALOW RD 318BU                                                                      DAYTON           OH 45417
SHARON E SCARBOROUGH      PO BOX 14293                                                                               OKLAHOMA CITY    OK 73113‐0293
SHARON E SPENCER          810 W MARTINDALE RD                                                                        ENGLEWOOD        OH 45322
SHARON E STILES           932 WALTON AVE                                                                             DAYTON           OH 45402‐5333
SHARON E THAMES           691 JULIA ST. APT 7                                                                        HUNTSVILLE       AL 35816‐3775
SHARON E. WILLIAMS
SHARON EADS               1064 MISTY MORN CIR                                                                        SPRING HILL     TN   37174‐7404
SHARON EARL               4427 REGENCY RD                                                                            SWARTZ CREEK    MI   48473‐8807
SHARON EARLY              28223 BUNERT RD                                                                            WARREN          MI   48088‐3816
SHARON EAST‐WILLIAMS      3507 GREENS MILL RD                                                                        SPRING HILL     TN   37174‐2126
SHARON EASTON             1198 TREMMA ST                                                                             GRAND BLANC     MI   48439‐9307
SHARON EAVES              403 REDBUD LN                                                                              MT PLEASANT     TX   75455‐5756
SHARON EBERWEIN           8590 E COUNTY ROAD 800 N                                                                   BAINBRIDGE      IN   46105‐9528
SHARON EBY                1163 E TYLER RD                                                                            ITHACA          MI   48847‐9706
SHARON EDELEN             7303 SPRING RUN DR                                                                         LOUISVILLE      KY   40291‐3565
SHARON EDEN               6515 N STATE ROAD 9                                                                        ALEXANDRIA      IN   46001‐9222
SHARON EDGE               820 GREENLAWN AVE                                                                          LIMA            OH   45804‐1230
SHARON EDGEMON            273 NATHAN THAXTON ROAD                                                                    JACKSON         GA   30233‐5850
SHARON EDGERTON           96 S HEATHER DR                                                                            NAMPA           ID   83651‐2409
SHARON EDWARDS            1628 N OAKLEY ST                                                                           SAGINAW         MI   48502‐5363
SHARON EGRESICS           9078 SE 120TH LOOP                                                                         SUMMERFIELD     FL   33491‐9468
SHARON EIKENBERRY         1487 N 1250 E                                                                              GREENTOWN       IN   46936‐8729
SHARON ELBE               FRANL‐L‐HOWLEY‐WEG 30                                               14167 BERLIN GERMANY
SHARON ELDRIDGE‐JOHNSON   3515 E 300 N                                                                               ANDERSON        IN   46012‐9784
SHARON ELKINS             6816 W GRAND RIVER RD                                                                      FOWLERVILLE     MI   48836‐8566
SHARON ELLERBE            51237 S ADELE CIR                                                                          CHESTERFIELD    MI   48047‐3088
SHARON ELLIS              5795 WOODFIELD PKWY                                                                        GRAND BLANC     MI   48439‐9426
SHARON ELLNOR             3903 CARD RD                                                                               DELEVAN         NV   14042‐9734
SHARON ELY                6070 SUNNYDALE RD                                                                          CLARKSTON       MI   48346‐2338
SHARON EMERICK            630 W PREDA DR                                                                             WATERFORD       MI   48328‐2030
SHARON EMERT              PO BOX 72                                                                                  MOSCOW MILLS    MO   63362‐0072
SHARON ENDICOTT           4825 W CEDAR LAKE RD                                                                       GREENBUSH       MI   48738‐9718
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Name                       Address1                        Address2          Address3         Address4         City              State Zip
SHARON ENOS                5690 M 55                                                                           WHITTEMORE         MI 48770‐9232
SHARON ENOTT               2445 S ORTONVILLE RD                                                                ORTONVILLE         MI 48462‐8643
SHARON ENTRICAN            1058 SOUTH LN                                                                       GRIMSLEY           TN 38565‐5207
SHARON EPLEY               3116 W KINSEL HWY                                                                   CHARLOTTE          MI 48813‐8870
SHARON EPPICH              15195 SMART COLE RD                                                                 OSTRANDER          OH 43061‐9319
SHARON ERICKSON            14 CLARMARC CT                                                                      FRANKENMUTH        MI 48734‐1272
SHARON ERNEST              1225 ARROWWOOD LN                                                                   GRAND BLANC        MI 48439‐4861
SHARON ERREGER             2179 S PETERS RD                                                                    CASNOVIA           MI 49318‐9607
SHARON ERWIN               1000 HENDERSON AVE                                                                  MENLO PARK         CA 94025‐2310
SHARON EVANS               777 ARVEE LANE                                                                      WEST UNION         SC 29696‐3813
SHARON EVANS               2498 NORMANDY DRIVE SOUTHEAST                                                       GRAND RAPIDS       MI 49506‐5435
SHARON EVOLA               2136 HANFORD AVE                                                                    LINCOLN PARK       MI 48146‐1382
SHARON F BAUGHMAN          4206 SNOW MASS                                                                      ARLINGTON          TX 76016‐5242
SHARON F CARTWRIGHT        5670 MOCKINGBIRD LN                                                                 BLANCHARD          OK 73010‐7817
SHARON F JENKINS           705 W SUNSET DR                                                                     BRANDON            MS 39042‐9193
SHARON F KIRCHOFF          1370 PARKWOOD AVE                                                                   YPSILANTI          MI 48198‐5900
SHARON F SHEFFIELD         10355 LAY SPRINGS RD                                                                GADSDEN            AL 35904
SHARON FANTUZZI            7450 N FARMINGTON RD                                                                WESTLAND           MI 48185‐6949
SHARON FARRELL             3070 BUCKNER RD                                                                     LAKE ORION         MI 48362‐2016
SHARON FEDIACHKO           47830 ANNA CT                                                                       SHELBY TWP         MI 48315‐4509
SHARON FENDERSON           95 SHIPHERD CIR                                                                     OBERLIN            OH 44074‐1312
SHARON FERGUSSON           124 MAXWELL LN                                                                      MC CORMICK         SC 29835‐5637
SHARON FESTERVAN           10108 FREEDOMS WAY                                                                  KEITHVILLE         LA 71047‐8990
SHARON FIELDER             4225 CHERYL DR                                                                      FLINT              MI 48506‐1405
SHARON FILAK               122 ALPINE DR                                                                       FINDLAY            OH 45840‐4180
SHARON FILLWOCK‐CREMEANS   1662 W HOWELL RD                                                                    MASON              MI 48854‐9308
SHARON FIRMAN              6225 WEIDNER RD                                                                     SPRINGBORO         OH 45066‐7417
SHARON FISHBURN            16503 WESTBROOK ST                                                                  DETROIT            MI 48219‐3824
SHARON FISHER              1810 DUNMERE RD                                                                     BALTIMORE          MD 21222‐3107
SHARON FISHER              1235 BIRCH CREEK DR                                                                 ORLANDO            FL 32828‐7223
SHARON FLEX                309 QUINLAN DR                                                                      PEWAUKEE           WI 53072‐2422
SHARON FLINT               835 KENTNER ST                                                                      DEFIANCE           OH 43512‐2053
SHARON FLORES              16080 WHITEHEAD DR                                                                  LINDEN             MI 48451‐8713
SHARON FLORY               14403 SHARON RD                                                                     CHESANING          MI 48616‐9407
SHARON FLOWER              123 MANITOBA LN                                                                     MOORESVILLE        NC 28117‐5822
SHARON FOLTS               6196 VAN VLEET RD                                                                   SWARTZ CREEK       MI 48473‐8598
SHARON FORBES              499 WALTON DR                                                                       CHEEKTOWAGA        NY 14225‐1006
SHARON FORD                34702 S FORD RD                                                                     ARCHIE             MO 64725‐8195
SHARON FORD                4521 REDWOOD DR                                                                     JACKSON            MS 39212
SHARON FORMAN              114 PAWNEE TRL                                                                      PRUDENVILLE        MI 48651‐9726
SHARON FORNALEWICZ         7421 FLORAL ST                                                                      WESTLAND           MI 48185‐2678
SHARON FOSS                109 HARDISON CT                                                                     COLUMBIA           TN 38401‐5532
SHARON FOSTER              5204 KNOLLWOOD LN                                                                   ANDERSON           IN 46011‐8789
SHARON FOSTER              PO BOX 392                                                                          UPLAND             IN 46989‐0392
SHARON FOSTER ‐ LEHMAN     161 BELMONT AVE                                                                     SMYRNA             DE 19977‐1704
SHARON FRANCE              223 CRESTWOOD DR                                                                    GRAYLING           MI 49738‐8786
SHARON FRANCIS             4660 GENEVA AVE                                                                     PORTAGE            MI 49024‐3028
SHARON FRANKS              11328 HUNZIKER RD                                                                   CENTERTOWN         MO 65023‐3113
SHARON FREDENDALL          2507 WINTHROP DR                                                                    JANESVILLE         WI 53546‐3441
SHARON FREY                1673 WARNER CT                                                                      MINERAL RIDGE      OH 44440‐9565
SHARON FREY                18536 ROSELAND                                                                      LATHRUP VILLAGE    MI 48021
SHARON FRIER               2720 1ST STREET NORTH                                                               VALDOSTA           GA 31602‐7003
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Name                       Address1                         Address2                      Address3   Address4         City               State Zip
SHARON FROST               RR 4 BOX 331AA                                                                             MONTICELLO          KY 42633‐9400
SHARON FRYJOFF             3616 S 15TH PL                                                                             MILWAUKEE           WI 53221‐1612
SHARON FULLER              6741 N PADDOCK PL                                                                          TUCSON              AZ 85743‐9591
SHARON FURGURSON           5073 W HARVARD AVE                                                                         CLARKSTON           MI 48348‐3111
SHARON FUTRELL             3175 MEYER PL                                                                              SAGINAW             MI 48603‐2323
SHARON G ASHLEY            PO BOX 675                                                                                 WESSON              MS 39191
SHARON G BACON             24 W FAIRMOUNT AVE                                                                         PONTIAC             MI 48340‐2732
SHARON G CARR              5950 JOHN R ST APT 2                                                                       DETROIT             MI 48202‐3574
SHARON G WHITLOCK          11857 NS 3540                                                                              SEMINOLE            OK 74868‐5416
SHARON GAETH               300 E PRINCETON AVE                                                                        PONTIAC             MI 48340‐1957
SHARON GAFFIN              475 GRACES RUN RD                                                                          WINCHESTER          OH 45697
SHARON GAIDOSH             2846 S 52ND ST                                                                             MILWAUKEE           WI 53219‐3325
SHARON GALA                3793 FINCASTLE DR                                                                          BEAVERCREEK         OH 45431‐2431
SHARON GALBREATH           207 SHORT ST                                                                               FRANKTON            IN 46044
SHARON GALLANT             KELLER, FISHBACK & JACKSON LLP   18425 BURBANK BLVD, STE 610                               TARZANA             CA 91356
SHARON GARBARZ             42559 BRADNER RD                                                                           NORTHVILLE          MI 48168‐3261
SHARON GARGASZ             697 HADLEY RD                                                                              GREENVILLE          PA 16125‐9644
SHARON GARY                3597 RILEY RD                                                                              GLADWIN             MI 48624‐8907
SHARON GAY                 4441 WINTERGREEN DR SE                                                                     KENTWOOD            MI 49512‐5371
SHARON GEISE               #A                               1314 LOUISA LANE                                          WILMINGTON          NC 28403‐7013
SHARON GEISELMAN           16715 OAK MANOR DR                                                                         WESTFIELD           IN 46074‐8523
SHARON GENOVESE            38657 LAURENWOOD ST                                                                        WAYNE               MI 48184‐1073
SHARON GEORGE              13927 LAUDER ST                                                                            DETROIT             MI 48227‐2558
SHARON GERNHARDT‐COMPTON   464 SILVER CT                                                                              WESTMINSTER         MD 21158‐9402
SHARON GIANNETTI           41365 KEVIN DR                                                                             CLINTON TOWNSHIP    MI 48038‐1983
SHARON GIARDINI            42 MEDBURY RD                                                                              NORTH ATTLEBORO     MA 02760‐4737
SHARON GIBSON              8910 5 POINTS RD                                                                           INDIANAPOLIS        IN 46259‐9778
SHARON GIDDENS             4024 MCKINLEY AVE                                                                          ANDERSON            IN 46013‐5051
SHARON GILBERT             9603 HAVEN FARM RD UNIT K                                                                  PERRY HALL          MD 21128‐9439
SHARON GILBERT             4781 W WESTGATE DR                                                                         BAY CITY            MI 48706‐2643
SHARON GILBERT             9603 HAVEN FARM RD               UNIT K                                                    PERRY HALL          MD 21128
SHARON GILLEM              PO BOX 542                                                                                 CONVERSE            IN 46919‐0542
SHARON GILMORE             1226 PENDLE HILL AVE                                                                       PENDLETON           IN 46064‐9124
SHARON GILMORE             5505 LAKEVIEW RD                                                                           CORTLAND            OH 44410‐9555
SHARON GILVIN              608 MAUMEE DR                                                                              KOKOMO              IN 46902‐5520
SHARON GIPSON              1753 DENISON AVE NW                                                                        WARREN              OH 44485‐1718
SHARON GIRDLER             PO BOX 1142                                                                                GREENVILLE          OH 45332‐3142
SHARON GLASSBURN           1503 HUTCHINS DR                                                                           KOKOMO              IN 46901‐1900
SHARON GLAZEBROOKS         1122 MALIBU DR                                                                             ANDERSON            IN 46016‐2772
SHARON GLEGHORN            1741 MEADOWLARK CT APT 103                                                                 KANSAS CITY         KS 66102‐1292
SHARON GLEICH              10202 WESTLAKE ST                                                                          TAYLOR              MI 48180‐3262
SHARON GLENDE              2731 ALEXANDRIA PL                                                                         JANESVILLE          WI 53548‐3315
SHARON GLENN               3397 SPREADING OAK DR SW                                                                   ATLANTA             GA 30311‐2931
SHARON GOBER               5099 DOGWOOD HILLS DR                                                                      SUGAR HILL          GA 30518‐4621
SHARON GODDARD             PO BOX 634                                                                                 KOKOMO              IN 46903‐0634
SHARON GOETSCHY            2106 ARMSTRONG RD                                                                          LANSING             MI 48917‐9722
SHARON GOLABEK             4334 CEDAR LAKE                                                                            HOWELL              MI 48843
SHARON GOLDEN              347 SOUTH MAIN STREET                                                                      PHILIPPI            WV 26416
SHARON GOODSON             2504 LAUREL CIR NW                                                                         ATLANTA             GA 30311‐1234
SHARON GORCZYCA            294 FAIRWAYS BLVD                                                                          WILLIAMSVILLE       NY 14221‐3168
SHARON GORDLEY             29735 STATE ROUTE 41                                                                       PEEBLES             OH 45660‐9568
SHARON GORDON              578 MAULBETSCH ST                                                                          YPSILANTI           MI 48197‐1816
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Name                         Address1                        Address2           Address3         Address4         City              State Zip
SHARON GOTTSCHALK            12240 DOLLAR LAKE DR                                                                 FENTON             MI 48430‐9731
SHARON GOURIEUX              358 CONSTITUTION ST                                                                  CANTON             MI 48188‐6600
SHARON GRACE KING            ACCT OF RONALD B CROWDER
SHARON GRAHAM                106 E LARRY RD                                                                       SHAWNEE           OK   74804‐1080
SHARON GRANDY                1752 LEWISBURG PIKE                                                                  FRANKLIN          TN   37064‐1103
SHARON GRAY                  W2389 HIGHWAY 70                                                                     SPOONER           WI   54801‐7304
SHARON GRAY                  14017 RIDGELEA AVE                                                                   CULPEPER          VA   22701‐5380
SHARON GREEN                 423 E 13TH ST                                                                        FAIRMOUNT         IN   46928‐1147
SHARON GREENE                7282 MUIRFIELD DR                                                                    YPSILANTI         MI   48197‐9528
SHARON GREENE SAFE DRIVING   2944 W WARDLOW RD                                                                    HIGHLAND          MI   48357‐4149
SHARON GRIFFITH              154 EASTON WAY APT 1                                                                 GALION            OH   44833‐3059
SHARON GRIFFITH              PO BOX 287                      3731 BRANDT LANE                                     HADLEY            MI   48440‐0287
SHARON GRIFFITH              49158 GOLDEN PARK DR                                                                 SHELBY TOWNSHIP   MI   48315‐4089
SHARON GRONOSTALSKI          PO BOX 186                                                                           ONEKAMA           MI   49675‐0186
SHARON GROSS                 7748 BAREBACK DR                                                                     SPARKS            NV   89436‐8671
SHARON GUERIN                10690 KING RD                                                                        DAVISBURG         MI   48350‐1912
SHARON GUIDRY                4338 MAPLE ST BO 375                                                                 VERNON            MI   48476
SHARON GUILD                 PO BOX 426                                                                           GRAND LEDGE       MI   48837‐0426
SHARON GUILE                 24038 MELODY RD                                                                      WARREN            MI   48089‐2105
SHARON GUILLEN               2466 OAKRIDGE DR                                                                     FLINT             MI   48507‐6211
SHARON GULLEY                1074 DOVER RD                                                                        PONTIAC           MI   48341‐2349
SHARON GUST                  2104 WILLOW SPRINGS RD                                                               KOKOMO            IN   46902‐7801
SHARON GUZA                  1465 HILLSIDE DR                                                                     FLINT             MI   48532‐2420
SHARON H HAYNIE              347 MORRISON AVE                                                                     NEWTON FALLS      OH   44444‐1430
SHARON HACKETT               APT 176                         3400 JOYCE LANE                                      DENTON            TX   76207‐7232
SHARON HADDIX                PO BOX 1404                                                                          SUMNER            WA   98390‐0290
SHARON HAEFNER               562 AMOSLAND RD                                                                      MORTON            PA   19070‐1302
SHARON HAIMBAUGH             3705 JOEL LN                                                                         FLINT             MI   48506‐2655
SHARON HAIRSTON              PO BOX 126                                                                           RAYMOND           MS   39154‐0126
SHARON HALE                  7200 S LAUREL LN                                                                     MUNCIE            IN   47302‐8737
SHARON HALFMANN              4990 LAKESIDE DR                                                                     PERRINTON         MI   48871‐9661
SHARON HALL                  496 ENON CHURCH RD                                                                   UNIONVILLE        TN   37180‐8555
SHARON HALL                  8203 WHITECLIFT LN                                                                   GRAND BLANC       MI   48439‐9561
SHARON HALL                  2003 LINCOLN AVE                                                                     WILMINGTON        DE   19808‐6111
SHARON HAMMEL                404 N MOHEE DR                                                                       HARTFORD CITY     IN   47348‐8601
SHARON HAMMOND               300 KENNELY RD APT 104                                                               SAGINAW           MI   48609‐7701
SHARON HAMMOND               8947 LIGHT ST                                                                        WILLIAMSPORT      MD   21795‐4122
SHARON HANDEL                4802 E 531 N                                                                         ROANOKE           IN   46783‐8862
SHARON HANLEY                102 COUNTY ROAD 470                                                                  POPLAR BLUFF      MO   63901‐9026
SHARON HANSFORD              738 HARRISON                                                                         FRANKLIN          OH   45005
SHARON HARDESTY              17909 GLEN OAK AVE                                                                   LANSING           IL   60438‐2127
SHARON HARMEYER              605 HILLTOP CIR                                                                      SEVIERVILLE       TN   37876‐1653
SHARON HARMON                4152 NORTH FORK ROAD                                                                 CHAPMANVILLE      WV   25508
SHARON HARRIS                PO BOX 102                                                                           LAGRANGE          GA   30241‐0002
SHARON HARRIS                451 RIVER RD                                                                         HATTIESBURG       MS   39401‐8128
SHARON HARRIS                8226 DONNA ST                                                                        WESTLAND          MI   48185‐1769
SHARON HARRIS                3103 HOLDEN CIR                                                                      MATTESON          IL   60443‐4430
SHARON HARRISON              521 S NEW LOTHROP RD                                                                 LENNON            MI   48449‐9648
SHARON HART                  1045 PASTURE RIDGE DR                                                                SAINT PETERS      MO   63304‐8555
SHARON HARTFORD              1993 HEATHERTON DR                                                                   HOLT              MI   48842‐1570
SHARON HARTWELL              11067 E MOUNT MORRIS RD LOT 4                                                        DAVISON           MI   48423‐9321
SHARON HASAN                 26054 CARLYSLE ST                                                                    INKSTER           MI   48141‐2605
                         09-50026-mg            Doc 7123-35 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                     Address1                       Address2            Address3         Address4         City              State Zip
SHARON HATCHETT          2697 MELCOMBE CIR PH 402                                                             TROY               MI 48084‐3456
SHARON HAYES             4175 PINEPORT RD                                                                     BRIDGEPORT         MI 48722‐9505
SHARON HAYES             27 JULIANA DR                                                                        DANVILLE            IL 61832‐8440
SHARON HAYES             8676 OLD ORCHARD RD SE                                                               WARREN             OH 44484‐3051
SHARON HAYNIE            347 MORRISON AVE                                                                     NEWTON FALLS       OH 44444‐1430
SHARON HAYS              4209 BARRET AVE                                                                      PLANT CITY         FL 33566‐9555
SHARON HEAD              24243 WEATHERVANE CT                                                                 NOVI               MI 48374‐3078
SHARON HEAD
SHARON HEATH             2536 EDGEBROOK DR                                                                    TOLEDO            OH   43613‐1213
SHARON HEBERT            PO BOX 7565                                                                          MACON             GA   31209‐7565
SHARON HEFFELMIRE        2388 SHERIDAN RD                                                                     NOBLESVILLE       IN   46062‐9727
SHARON HEILER            1708 DREXEL RD                                                                       LANSING           MI   48915‐1211
SHARON HELLMAN           2066 FORISTELL RD                                                                    FORISTELL         MO   63348‐1934
SHARON HELTSLEY          2922 SHAWNEE LN                                                                      WATERFORD         MI   48329‐4336
SHARON HERAVER
SHARON HERMAN            2823 CASS ST                                                                         UNIONVILLE        MI   48767‐9601
SHARON HERN              3726 CANUTE RD                                                                       COMMERCE TWP      MI   48382‐1844
SHARON HERNANDEZ         7009 HALL RD                                                                         DAVISBURG         MI   48350‐2527
SHARON HERRICK           3889 SIERRA HTS                                                                      HOLT              MI   48842‐7706
SHARON HEYMANN           PO BOX 140913                                                                        NASHVILLE         TN   37214‐0913
SHARON HICKS             1060 AARON DR                  APT 804                                               DEWITT            MI   48820
SHARON HIGH              1527 ALTER RD                                                                        DETROIT           MI   48215‐2867
SHARON HILDRETH‐O'DELL   425 CLAIRPOINTE WOODS DR                                                             DETROIT           MI   48215‐4118
SHARON HILL              6120 ATLAS VALLEY DR                                                                 GRAND BLANC       MI   48439‐7803
SHARON HILLMAN           2857 HOTTIS RD                                                                       WHITTEMORE        MI   48770‐9778
SHARON HODGE             926 SIMCOE AVE                                                                       FLINT             MI   48507‐1683
SHARON HOFFMAN           37 BAD DOG HL                                                                        EQUINUNK          PA   18417‐3051
SHARON HOFFMAN           251 INVERNESS LN                                                                     TEMPERANCE        MI   48182‐1177
SHARON HOISINGTON        PO BOX 527                     920 WEST ST                                           LAINGSBURG        MI   48848‐0527
SHARON HOLBROOK          4801 W GRAND RIVER AVE                                                               LANSING           MI   48906
SHARON HOLICKI           3535 KELLAR AVE                                                                      FLINT             MI   48504‐2147
SHARON HOLLAND           402 EDGEMONT CIR                                                                     VINTON            VA   24179‐1582
SHARON HOLWERDA          6902 CLARK RD                                                                        BATH              MI   48808‐8720
SHARON HONEA             4416 WHEATLAND DR                                                                    SWARTZ CREEK      MI   48473‐8256
SHARON HONTS             1606 SUNSHINE ST                                                                     GLEN BURNIE       MD   21061‐2117
SHARON HOOD              2302 HIGHLAND RD                                                                     ANDERSON          IN   46012‐1922
SHARON HOOVER            4220 W LEHMAN RD                                                                     DEWITT            MI   48820‐8011
SHARON HOPKO             1392 W WIELAND RD                                                                    LANSING           MI   48906‐6800
SHARON HORN              807 S CHANTILLY RD                                                                   MOSCOW MILLS      MO   63362‐3051
SHARON HORN              673 TENNYSON                                                                         ROCHESTER HILLS   MI   48307‐4250
SHARON HORTON            122 MAXWELL AVE                                                                      SYRACUSE          NY   13207‐2530
SHARON HORTON            1001 BARKSDALE RD                                                                    NEWARK            DE   19711‐3225
SHARON HOSKINS           354 N ROSLYN RD                                                                      WATERFORD         MI   48328‐3064
SHARON HOSTETLER         3617 WINTER ST                                                                       LAFAYETTE         IN   47909‐3837
SHARON HOUGH             1011 SHANNON CT                                                                      JANESVILLE        WI   53546‐3742
SHARON HOUSEMAN          1016 LOFTON DR                                                                       CLAYTON           OH   45315‐8741
SHARON HOUSLER           741 E SOUTH F ST                                                                     GAS CITY          IN   46933‐2050
SHARON HOWARD            3660 HATFIELD DR                                                                     WATERFORD         MI   48329‐1735
SHARON HOWELL            610 HYDE SHAFFER RD                                                                  BRISTOLVILLE      OH   44402‐9796
SHARON HOWITT            2400 S HICKORY RIDGE RD                                                              MILFORD           MI   48380‐1924
SHARON HUFF              9901 S TWILIGHT RD                                                                   DALEVILLE         IN   47334‐9454
SHARON HUNDLEY           3432 CRANDON DR                                                                      DAVISON           MI   48423‐8588
